                                              09-50026-mg                 Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                        Part 4 of 8 Pg 1 of 855
Name                                             Address1                               Address2                    Address3         Address4          City             State Zip

JENNIE M ARNOULD                                 C/O JENNIE TALLMADGE                   PO BOX 112                                                     RHODES           MI    48652‐0112
JENNIE M BONNICI                                 30095 CLUB HOUSE LANE                                                                                 FARMINGTON HILLS MI    48334‐2021

JENNIE M CALDWELL                                12728 S JUSTINE ST                                                                                    CALUMET PARK     IL    60827‐6310
JENNIE M GODZISZ & KATHLEEN MANDZIUK JT TEN      39198 AYNESLEY                                                                                        CLINTON TWP      MI    48038‐2718

JENNIE M GRASSO                                  C/O VERNA MULVENNA & BEN GRASSO &      JEANETTE GIORDANO           90 COONTOWN RD                     SWEDESBORO       NJ    08085
JENNIE M POPOVICH                                1006 S BROOKFIELD DR                                                                                  LECANTO          FL    34461
JENNIE M SCHMIDLI                                C/O KEITH W SCHMIDLI                   5165 LEWISTON RD                                               LEWISTON         NY    14092‐1930
JENNIE M TUMA & ROBERT F TUMA JT TEN             29437 VINEWOOD DRIVE                                                                                  WICKLIFFE        OH    44092‐2239
JENNIE MABEY                                     71 PASSAIC AVE                                                                                        WEST PATERSON    NJ    07424‐2518
JENNIE MALONEY                                   760 COTTONWOOD                                                                                        SOUTH SAN        CA    94080‐2525
                                                                                                                                                       FRANCISC
JENNIE MANCUSO                                   1150 WASHINGTON BLVD APT 234                                                                          ROBBINSVILLE     NJ    08691‐3156
JENNIE MAUNEY HINSHAW                            612 ROSLYN ROAD                                                                                       WINSTON SALEM    NC    27104‐2112
JENNIE MAY EVANS                                 134 GRAVES RD                                                                                         OXFORD           PA    19363
JENNIE MC CUTCHEN LAMMERT                        ATTN JENNIE L VAN SCHYNDEL             45 BRIGHTON                                                    SPRINGFIELD      IL    62702‐3361
JENNIE MOCUR TR MOCUR FAMILY TRUST UA 03/25/97   15509 HUFF                                                                                            LIVONIA          MI    48154‐1503

JENNIE MROSKO                                    1797 SHIPMAN BLVD                                                                                     BIRMINGHAM       MI    48009‐1934
JENNIE MROSKO                                    3765 STAUNTON                                                                                         YOUNGSTOWN       OH    44505‐1941
JENNIE NESSUNO                                   14 NORTH ORCHARD ST                                                                                   GIBBSTOWN        NJ    08027‐1110
JENNIE O HANNA                                   C/O D HAMMES                           5373 SAINT PAUL BOULEVARD                                      ROCHESTER        NY    14617‐1149
JENNIE ONEBY & RUDY BIEZE JT TEN                 14631 GLEN COVE DR                     UNIT 1604                                                      FT MYERS         FL    33919‐7444
JENNIE PALMIERI CUST CHRIS PALMIERI UGMA NY      92 S CHERRY VALLEY AVE                                                                                WEST HEMPSTEAD   NY    11552‐1942

JENNIE PALUMBO                                   4650 54TH AVE SIOUTH                   ROOM 421                                                       ST PETERSBERG    FL    33711‐4637
JENNIE PARKER                                    425 W FIFTH ST                                                                                        MANSFIELD        OH    44903‐1558
JENNIE PAUSEWANG                                 PO BOX 2878                                                                                           DELAND           FL    32721‐2878
JENNIE R AMOS                                    13932 MONTEVISTA                                                                                      DETROIT          MI    48238‐2230
JENNIE R COIA & DEBORAH A PAQUIN JT TEN          63 N WILLIAMS ST                                                                                      JOHNSTON         RI    02919‐5154
JENNIE RYDZESKI                                  6723 MAR PACIFICO CT                                                                                  FT PIERCE        FL    34951‐4428
JENNIE S EBER                                    2 CHURCH ST                                                                                           MAINE            NY    13802
JENNIE S EDEN                                    712 LINCOLN RD                                                                                        MARYVILLE        TN    37804‐2955
JENNIE S JOHNSON                                 6199 SPIRES DR                                                                                        LOVELAND         OH    45140‐3688
JENNIE S P KUWAYE                                2920 ALA ILIMA ST 1202                                                                                HONOLULU         HI    96818‐2568
JENNIE S WELLS                                   1555 OXFORD CT                                                                                        GALLATIN         TN    37066‐5718
JENNIE SOLOMON & RUTH ROSENFELD & BETTY          6157 ORCHARD LAKE RD                   APT 103                                                        W BLOOMFIELD     MI    48322
WAXMAN JT TEN
JENNIE STEMCZYNSKI                               26101 JEFFERSON AVE                    STE 3122                                                       ST CLR SHORES    MI    48081‐2353
JENNIE SZCZYGIEL                                 41281 FORTUNA DR                                                                                      CLINTON TOWNSHIP MI    48038‐2233

JENNIE T MILLER                                 1547 DODGE NW                                                                                          WARREN           OH    44485‐1820
JENNIE TAFILOWSKI                               524 BRENTWOOD RD                                                                                       FORKED RIVER     NJ    08731‐1521
JENNIE TRUBITT                                  PO BOX 2001                                                                                            BLOOMINGTON      IN    47402‐2001
JENNIE TRUBITT & ALEEN R TRUBITT JT TEN         PO BOX 2001                                                                                            BLOOMINGTON      IN    47402‐2001
JENNIE TRUBITT & HILLARD J TRUBITT JT TEN       PO BOX 2001                                                                                            BLOOMINGTON      IN    47402‐2001
JENNIE V STOVALL                                20331 HIGHWAY 20                                                                                       TRINITY          AL    35673‐6610
JENNIE W DILLI                                  UNIT 106                                431 73RD ST                                                    DOWNERS GROVE    IL    60516‐4113
JENNIE W FAULKNER                               BOX 207                                                                                                WINTERVILLE      NC    28590‐0207
JENNIE W HACKNEY                                602 PAGE CIR                                                                                           MOUNT JULIET     TN    37122‐3417
JENNIE WARD                                     734 LAVENDER                                                                                           MONROE           MI    48162‐2823
JENNIE YIT KEN CHAR TR JENNIE Y K CHAR TRUST UA 95‐1052 WEKIU STREET                                                                                   MILILANI         HI    96789‐3015
02/04/05
JENNIE ZACHARA                                  159 S 90TH ST                                                                                          MESA             AZ    85208‐1606
JENNIE ZILEMPE                                  2908 COUNTY LINE ROAD                                                                                  MIDDLEPORT       NY    14105‐9772
JENNIFER A BRANDT CUST AIDAN DAVID BRANDT UTMA 148 RAWSON RDG                                                                                          GRANTHAM         NH    03753‐3256
NY
JENNIFER A BROWN                                40 HORIZON DR                                                                                          BOISE            ID    83702‐4419
                                                09-50026-mg             Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 2 of 855
Name                                              Address1                            Address2                  Address3     Address4          City             State Zip

JENNIFER A CHESSER                                6020 TYREE RD                                                                                WINSTON          GA    30187‐1112
JENNIFER A CONTE                                  4139 CONTE RD                                                                                LOTHIAN          MD    20711‐9537
JENNIFER A DECKER                                 1941 YOUNGS DITCH RD                                                                         BAY CITY         MI    48708‐6968
JENNIFER A ELEAZAR                                220 OAK ST                                                                                   RIDGEWOOD        NJ    07450
JENNIFER A HANSON                                 112 COE HILL RD                                                                              CENTER HARBOR    NH    03226‐3602
JENNIFER A HOUSTON                                6121 CROWNE CREEK DR                APT 102                                                  MIDLOTHIAN       VA    23112‐8309
JENNIFER A HULL                                   1003 WEBSTER ST                                                                              TRAVERSE CITY    MI    49686‐2740
JENNIFER A IRONSIDE                               (MAIDENHEAD) P O BOX 9022                                                                    WARREN           MI    48090‐9022
JENNIFER A JENKINS                                25404 E 273RD ST                                                                             HARRISONVILLE    MO    64701‐3366
JENNIFER A KUHN                                   2876 PEASE DR APT 208                                                                        CLEVELAND        OH    44116‐3255
JENNIFER A LEUENBERGER                            1123 COTTONWOOD ST                                                                           LAKE ORION       MI    48360‐1463
JENNIFER A LEWIS                                  708 S GROVE ST                                                                               URBANA           IL    61801‐4306
JENNIFER A MACDONALD                              61 LAHAYE DRIVE                     WHITBY ON                              L1P 1L5 CANADA
JENNIFER A MACDONALD                              61 LAHAYE DRIVE                     WHITBY ON                              L1P 1L5 CANADA
JENNIFER A MANDARINO                              22 E CLINTON ST #405                                                                         JOLIET           IL    60432‐4104
JENNIFER A MENDELSOHN                             32 SEA COURT LN                                                                              PORT JEFFERSON   NY    11777‐2175
JENNIFER A METZLER MELLEN                         177 PEARLCROFT ROAD                                                                          CHERRY HILL      NJ    08034‐3342
JENNIFER A MYERS                                  PO BOX 691                                                                                   MANCHESTER       TN    37349‐0691
JENNIFER A OLSON                                  250 N 17TH AVE                                                                               HIAWATHA         IA    52233‐2357
JENNIFER A PILIBOSIAN                             3105 WOODPINE COURT                                                                          ROCHESTER        MI    48306
JENNIFER A RIORDAN & RICHARD J RIORDAN JT TEN     42554 KNOLLWOOD CT                                                                           NORTHVILLE       MI    48168‐2015

JENNIFER A RIORDAN CUST CALLIE S RIORDAN UTMA MI 42554 KNOLLWOOD CT                                                                            NORTHVILLE       MI    48168‐2015

JENNIFER A SCHMIDLI                               604 HAYLETT ST                                                                               NEENAH           WI    54956‐4106
JENNIFER A SHEHI                                  398 N MILTON AVE                                                                             CAMPBELL         CA    95008‐1025
JENNIFER A SIMONS                                 R D #4 BOX 134                                                                               MOUNDSVILLE      WV    26041‐9414
JENNIFER A SPAULDING                              424 LONG HILL RD                                                                             GURNEE           IL    60031‐5003
JENNIFER A TAYLOR                                 418 SPRINGWOOD DR                                                                            LITTLE ROCK      AR    72211
JENNIFER A TERAMANO                               4331 EAGLE AVE                                                                               STOW             OH    44224‐2380
JENNIFER A TOMCZAK                                1565 PEACHCREST DR                                                                           LAWRENCEVILLE    GA    30043‐2875
JENNIFER A WOODS                                  75 MAY COURT                                                                                 CHAGRIN FALLS    OH    44022‐3209
JENNIFER A YOUNG                                  14309 SILVER LAKES CIRCLE                                                                    PORT CHARLOTTE   FL    33953‐4653
JENNIFER A ZEPRALKA                               119 12TH ST SE                                                                               WASHINGTON       DC    20003‐1420
JENNIFER ALDERMAN WELLIVER                        16 LIBERTY ST                                                                                BERRYVILLE       VA    22611‐1124
JENNIFER ALLEN                                    1833 COMSTOCK AVENUE                                                                         LOS ANGELES      CA    90025‐5014
JENNIFER ALTUS                                    4418 EMERALD DR                                                                              CARROLLTON       TX    75010‐4514
JENNIFER ANDRADE                                  539 PLYMOUTH ST                                                                              MIDDLEBORO       MA    02346‐2530
JENNIFER ANN BAUER                                7660 WINDCREST DR                                                                            EL PASO          TX    79912‐1251
JENNIFER ANN CALLANAN‐BAILEY                      10685 SUNRISE RIDGE CIR                                                                      AUBURN           CA    95603‐6001
JENNIFER ANN HARTLEY                              15408 W 152ND ST                                                                             OLATHE           KS    66062‐3085
JENNIFER ANN KINGREY                              665 PRIMROSE LANE                                                                            TIPP CITY        OH    45371‐2753
JENNIFER ANN PRATTEN                              12/14 HIGH STREET WILLINGHAM        CAMBRIDGESHIRE CB4 5 ES                GREAT BRITAIN
JENNIFER ANN RITTMAN                              251 ROLLA MILL                                                                               VERONA           VA    24482
JENNIFER ANN WAECHTER                             2332 OAK RIDGE                                                                               TROY             MI    48098‐5321
JENNIFER ANN WAGNER                               820 N POLLARD ST                    APT 906                                                  ARLINGTON        VA    22203‐1779
JENNIFER ANNE CLAYPOOL                            1555 W MIDDLEFIELD RD APT 67                                                                 MOUNTAIN VIEW    CA    94043‐3054
JENNIFER ANNE WRIGHT                              1707 S SUNLIT SAND PL                                                                        TUCSON           AZ    85748‐7753
JENNIFER ARMENTROUT                               17 MILL ST                                                                                   NEW MILFORD      CT    06776‐3534
JENNIFER B BRIDGES                                8523 COLONY CLUB DR                                                                          ALPHARETTA       GA    30022‐5407
JENNIFER B FREEMAN                                137 EAST 94TH ST                                                                             NEW YORK         NY    10028‐1345
JENNIFER B SPRY                                   702 SOUTH LOCUST AVENUE                                                                      LAWRENCEBURG     TN    38464‐4019
JENNIFER B SPRY CUST BENJAMIN G SPRY UGMA TN      702 S LOCUST                                                                                 LAWRENCEBURG     TN    38464‐4019

JENNIFER B WEIR                                   103 FULTON PL                                                                                PORTLAND         TX    78374
JENNIFER BAILEY CUST JONATHAN THOMAS BAILEY       29 SPINNINGWHEEL LANE                                                                        DIX HILLS        NY    11746‐5009
UTMA NY
JENNIFER BELL MANGUS                              916 WESTBURY TER                                                                             YUKON            OK    73099‐7673
JENNIFER BETH HUSTON                              112 BUDDY EARGLE RD                                                                          CHAPIN           SC    29036‐9149
                                            09-50026-mg               Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 3 of 855
Name                                            Address1                            Address2                   Address3    Address4          City              State Zip

JENNIFER BIGGS WALTON CUST NICHOLAS CHARLES      4029 LOCUST AVE                                                                             LONG BEACH        CA    90807‐2603
WALTON UTMA CA
JENNIFER BIGGS WALTON CUST OLIVER JOHN WALTON 4029 LOCUST AVE                                                                                LONG BEACH        CA    90807‐2603
UTMA CA
JENNIFER BODENHOEFER CUST DAVID RYAN             24852 COSTEAU ST                                                                            LAGUNA HILLS      CA    92653‐4936
BODENHOEFER UTMA CA
JENNIFER BOWLING                                 5906 MONDOLET COURT                                                                         DAYTON            OH    45429
JENNIFER BOYER                                   1748 PINETREE RD                                                                            AUGUSTA           GA    30904‐5068
JENNIFER BROZOVICH                               15708 ECORIO DRIVE                                                                          AUSTIN            TX    78728
JENNIFER C DODGE                                 PO BOX 143                                                                                  HALLOWELL         ME    04347‐0143
JENNIFER C FOUGHT                                BOX 214                                                                                     EDMONDS           WA    98020‐0214
JENNIFER C SPAHR CUST JERRA C SPAHR UTMA TX      1422 SALEM COURT                                                                            COLLEGE STA       TX    77845
JENNIFER CALOIA & PATRICIA CALOIA JT TEN         55188 NILE WAY                                                                              MACOMB            MI    48042‐6194
JENNIFER CAPIZZI                                 1503 KINSGLEY CIRCLE NORTH                                                                  SANDUSKY          OH    44870‐6040
JENNIFER CAREY                                   297 E 5TH ST                                                                                BROOKLYN          NY    11218‐2405
JENNIFER CAROL HEPPE                             4717 BAYBROOK WAY                                                                           BAKERSFIELD       CA    93313‐4007
JENNIFER CHANTER                                 504 ELM ST                                                                                  HOLLY             MI    48442‐1420
JENNIFER CLARK MC DONNELL                        10 WILLIAMSBURG ESTATES DR                                                                  ST LOUIS          MO    63131‐1019
JENNIFER COLLETTI CUST HARLEY MAGDALENA COLLETTI 84 DEMAREST AVE #10                                                                         WEST NYACK        NY    10994
UTMANY
JENNIFER CONSTANCE WOLF                          7400 W 89TH ST                                                                              LOS ANGELES       CA    90045‐3419
JENNIFER COOK                                    6861 E WINDSOR AVE                                                                          SCOTTSDALE        AZ    85257‐1358
JENNIFER COOK‐ASHMAN                             12 KINGSTON CIRCLE                                                                          EXTON             PA    19341
JENNIFER D BRANSON                               465 E PIDGEON RD                                                                            SALEM             OH    44460‐4323
JENNIFER D GARNER                                4247 WILLOW OAK LN                                                                          SMITHTON          IL    62285‐3645
JENNIFER D RAIFORD‐METCALF                       136 BANK ST                                                                                 WAVERLY           VA    23890
JENNIFER D SPRINGER                              1510 N 40TH ST                                                                              ALLENTOWN         PA    18104‐2110
JENNIFER D WEAVER                                1820 N 1100 EAST                                                                            SHERIDAN          IN    46069‐9047
JENNIFER D WILLIAMS                              302 N VIEW TER                                                                              ALEXANDRIA        VA    22301‐2610
JENNIFER DE SILVA                                30 KOSER AVE                                                                                IOWA CITY         IA    52246‐1916
JENNIFER DEHUS                                   6879 PENTLAND WA 62                                                                         FORT MYERS        FL    33966‐7517
JENNIFER DI BENEDETTO                            5109 BELLAIRE AVE                                                                           VALLEY VLG        CA    91607
JENNIFER DIPOTA & SOPHIA DIPOTA JT TEN           1304 CHARLESGATE CIRCLE                                                                     EAST AMHERST      NY    14051
JENNIFER E ALLEN                                 172 TRAVEL LITE DR                                                                          RALEIGH           NC    27603‐7928
JENNIFER E BROSCH                                PO BOX 6293                                                                                 VAIL              CO    81658‐6293
JENNIFER E BURNS                                 808 HERITAGE DR                                                                             OAKLAND           MD    21550‐1700
JENNIFER E BUSFIELD                              17 CRAWFORD RD                                                                              MIDDLETOWN        NJ    07748‐3205
JENNIFER E COLE                                  573 SAWGRASS POINT                                                                          JUPITER           FL    33458
JENNIFER E COLLINS                               10340 AMBERWELL PARK                                                                        LOUISVILLE        KY    40241‐2184
JENNIFER E D'UVA & ELAINE L D'UVA JT TEN         25472 BILLETTE DRIVE                                                                        WARREN            MI    48091‐1318
JENNIFER E DUVAL                                 52 LORENA RD                                                                                WINCHESTER        MA    01890‐3125
JENNIFER E GERKE                                 521 LASALLE BLVD                                                                            LANSING           MI    48912‐4221
JENNIFER E GREEN                                 5898 ANDOVER DR                                                                             TROY              MI    48098‐2398
JENNIFER E JACKSON                               14902 WISCONSIN ST                                                                          DETROIT           MI    48238‐1753
JENNIFER E LUCENTE & CHRIS LUCENTE JT TEN        145 E ADAMS                                                                                 ELMURST           IL    60126‐4403
JENNIFER E RAGER                                 38950 LIANSE CREUSE                                                                         HARRISON          MI    48045‐2063
                                                                                                                                             TOWNSHIP
JENNIFER EILEEN BARTZ                           107 LAFAYETTE AVE                                                                            PARK RIDGE        NJ    07656
JENNIFER ELIZABETH NOEL                         PO BOX 2010                                                                                  KETCHUM           ID    83340‐2010
JENNIFER ELLEN CLAY                             2023 GRASMERE DR                    APT 2                                                    LOUISVILLE        KY    40205‐1542
JENNIFER EOLINE BIGBEE                          ATTN JENNIFER EOLINE STORCK         8333 E ARROYO HONDO ROAD                                 SCOTTSDALE        AZ    85262‐1004
JENNIFER F HARE                                 ATTN JENNIFER HOWELL                1 E HANNUM BLVD                                          SAGINAW           MI    48602‐1937
JENNIFER F HOLVOET                              1761 N LYNNHURST AVE                                                                         WICHITA           KS    67212‐1733
JENNIFER F HOUSER                               641 TURFWOOD DR                                                                              BALLWIN           MO    63021
JENNIFER FAYE FARBER & GENE FARBER JT TEN       5340 OLD POND WAY                                                                            WEST BLOOMFIELD   MI    48323‐2436

JENNIFER FISCHER                              31 SOUTHVIEW RD                                                                                NEWBURY           VT    05051
JENNIFER FRANCES MCKIMMEY & JAMES MCKIMMEY JT 75 LONGMEADOW PLACE                                                                            ROTONDA WEST      FL    33947‐1807
TEN
                                                  09-50026-mg            Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 4 of 855
Name                                                Address1                           Address2             Address3          Address4          City             State Zip

JENNIFER FRAWLEY                                    116 LAFAYETTE DR                                                                            WSHNGTN XING     PA    18977
JENNIFER FREEMAN                                    2508 RICHWOOD RD                                                                            DURHAM           NC    27705
JENNIFER FRENCH LUMLEY                              19319 AIRMONT RD                                                                            ROUND HILL       VA    20141‐2012
JENNIFER G MCFADDEN                                 PO BOX 5148                                                                                 FALLON           NV    89407‐5148
JENNIFER G NG                                       2382 WORKMAN AVE                                                                            SIMI VALLEY      CA    93063‐3080
JENNIFER G PRILESON                                 6295 N JOCHUMS DR                                                                           TUCSON           AZ    85718‐3800
JENNIFER G SCOTT                                    2019 FOX HILL DR APT 11                                                                     GRAND BLANC      MI    48439‐5206
JENNIFER G WIGDALE                                  ATTN JENNIFER W MAHONEY            8127 N GRAY LOG LN                                       MILWAUKEE        WI    53217‐2861
JENNIFER GAIL WHITED                                21 BROOKGREEN DR                                                                            HURRICANE        WV    25526‐9088
JENNIFER GALANG & SHAWN GALANG JT TEN               429 BEECHCROFT RD                                                                           WINCHESTER       VA    22601‐3407
JENNIFER GIGSBY                                     PO BOX 2277                                                                                 HAWTHORNE        CA    90251
JENNIFER GILBERT                                    50 OCTOBER LN                                                                               TRUMBULL         CT    06611‐1612
JENNIFER GILBERT                                    605 GREENWICH COURT                                                                         EAST WINDSOR     NJ    08520‐5612
JENNIFER GRACE KOZLOWSKI                            1751 RUSH RD                                                                                OAKLAND          MI    48363‐2439
JENNIFER GRACE MAMAYER                              7810 HALEY RD                                                                               WHITE LAKE       MI    48383‐2033
JENNIFER H FOLEY                                    94 SHAW ROAD                                                                                CHESTNUT HILL    MA    02467‐3122
JENNIFER H PEVERLY                                  256 RIDGE ROAD                                                                              NORTHWOOD        NH    03261‐3427
JENNIFER HAUGH BOWARD & LAWRENCE CARROLL            19519 SPRING VALLEY DR                                                                      HAGERSTOWN       MD    21742‐2411
HAUGH JT TEN
JENNIFER HELEN LASKOWSKI                            C/O CZYZEWSKI                      405 MOSHER                                               BAY CITY         MI    48706‐3757
JENNIFER HELEN RUGG ALT                             2867 MIDDLE SATTRE RD                                                                       DECORAH          IA    52101‐7649
JENNIFER HIEKEN                                     66 ANNS DRIVE                                                                               WEARE            NH    03281‐4702
JENNIFER HOPKINS                                    BOX 623                                                                                     NEWPORT          VT    05855‐0623
JENNIFER I CHAPMAN                                  2628 W LEONARD ST                                                                           MERIDIAN         ID    83642‐4312
JENNIFER INGLE                                      8 APPLE BLOSSOM LN                                                                          DANBURY          CT    06811‐4938
JENNIFER J BYLSKI                                   19104 NORTHRIDGE DRIVE                                                                      NORTHVILLE       MI    48167‐2268
JENNIFER J BYRD                                     2756 W AVON AVE                                                                             MARION           IN    46953‐9416
JENNIFER J FIEDLER                                  1070 PLATINUM CT                                                                            DELTONA          FL    32725‐4315
JENNIFER J FIRESTONE & DAVID B FIRESTONE JT TEN     1591 BOWMAN RD                                                                              SOUTH ROYALTON   VT    05068‐9551

JENNIFER J GOLDEN                                   PO BOX 322                                                                                  MARANA           AZ    85653‐0322
JENNIFER J HALL                                     9405 W HIGH ST                                                                              YORKTOWN         IN    47396‐1107
JENNIFER J JOHANSON                                 5622 S FLORENCE ST                                                                          ENGLEWOOD        CO    80111‐3713
JENNIFER J JOHNSON                                  1922 W CALLE DEL NORTE                                                                      CHANDLER         AZ    85224‐5120
JENNIFER J MURTAGH                                  3873 SULPHUR SPRING RD                                                                      TOLEDO           OH    43606‐2325
JENNIFER J NORTH                                    29988 HERITAGE PK 35B                                                                       WARREN           MI    48092‐4692
JENNIFER J SCOTT                                    BOX #2086                                                                                   ANDERSON         IN    46018‐2086
JENNIFER J STONEKING                                2699B GENEVA HWY                                                                            MANITOU BEACH    MI    49253‐9122
JENNIFER J WILSON                                   3830 NILES RD SE                                                                            WARREN           OH    44484‐3547
JENNIFER JAN SPARKS CUST JAMES PORTER SPARKS        PO BOX 509                                                                                  EDMONDTON        KY    42129‐0509
UTMA KY
JENNIFER JENKINS CUST DAVID JENKINS UTMA MD         513 CLARKS RUN RD                                                                           LA PLATA         MD    20646‐9514

JENNIFER JOHNS                                      20102 WINTHROP                                                                              DETROIT          MI    48235‐1813
JENNIFER JOY DE YOUNG                               1895 WOODFIELD TRAIL                                                                        WARSAW           IN    46580‐5827
JENNIFER JOY MILLER                                 2608 MOUNTAIN ROAD                                                                          JOPPA            MD    21085‐2324
JENNIFER K ALMERS                                   2853 WOFFORD RD                                                                             CHARLESTON       SC    29414
JENNIFER K HARRIS                                   171 RIVER RD                                                                                WEST NEWBURY     MA    01985‐1103
JENNIFER K SABIN                                    16581 NEENACH RD                                                                            APPLE VALLEY     CA    92307‐1965
JENNIFER K WILSON & JACK W WILSON II JT TEN         3246 WOODFIELD DRIVE                                                                        WALWORTH         NY    14568‐9442
JENNIFER K YOUNG                                    295 COTTON MILL DRIVE                                                                       HIRAM            GA    30141‐3936
JENNIFER KATZ                                       1052 BUTTERNUT LN                                                                           NORTHBROOK       IL    60062‐3511
JENNIFER KAY SHEETS                                 ATTN JENNIFER S AHONEN             10893 CANNONADE CT                                       INDIANAPOLIS     IN    46234‐9687
JENNIFER KELLY CUST KARL JAMES KELLY UTMA CA        811 LECAMINO RD                                                                             OJAI             CA    93023

JENNIFER KNIERIM                                    7065 PINECONE WAY                                                                           CUMMING          GA    30040‐8132
JENNIFER L ADKINS                                   35355 CURRIER ST                                                                            WAYNE            MI    48184‐2366
JENNIFER L ALVAREZ                                  920 BUCKLAND PL                                                                             BEL AIR          MD    21014‐6844
JENNIFER L ANG                                      6463 POWHATAM DR                                                                            HAYES            VA    23072‐3220
                                               09-50026-mg                 Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 5 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JENNIFER L BARKER                                  4400 UPTON AVE S                      APT 202                                                  MINNEAPOLIS       MN    55410
JENNIFER L BLONDALE                                61 EULER RD                                                                                    CHURCHVILLE       NY    14428
JENNIFER L BONHEUR                                 104‐60 QUEENS BLVD #1V                                                                         FOREST HILLS      NY    11375‐7349
JENNIFER L BOOTS                                   114 HARVEST LANE                                                                               FOMBELL           PA    16123‐2314
JENNIFER L BURNS CUST CHRISTOPHER PATRICK BURNS    700 AUGUSTA DR                                                                                 ROCHESTER HILLS   MI    48309‐1510
UGMA MI
JENNIFER L BURNS CUST SARAH E BURNS UGMA MI        700 AUGUSTA DR                                                                                 ROCHESTER HILLS   MI    48309‐1510

JENNIFER L BUTCHART                                2669 ELMWOOD DR                                                                                ADRIAN            MI    49221‐4177
JENNIFER L BUTLER EX EST ANNELLA H LANHAM          14869 LN                                                                     45176 CHAD
JENNIFER L CHILTON                                 2924 SOUTHCREEK DR                                                                             LINCOLN           CA    95648
JENNIFER L DAWKINS                                 120 GLEN MANOR DR                     UNIT 4               TORONTO ON        M4E 2X6 CANADA
JENNIFER L DAWKINS                                 120 GLEN MANOR DR UNIT 4              TORONTO ON                             M4E 2X6 CANADA
JENNIFER L DRINKARD & TODD B DRINKARD JT TEN       1827 HUNTERS CREEK RD                                                                          LAPEER            MI    48455‐8502

JENNIFER L DRINKARD CUST JACOB TODD DRINKARD       1869 HUNTERS CREEK RD                                                                          LAPEER            MI    48446
UTMA MI
JENNIFER L DRINKARD CUST NICHOLAS GEORGE           1869 HUNTERS CREEK RD                                                                          LAPEER            MI    48446
DRINKARD UTMA MI
JENNIFER L FRAUNFELTER                             700 SE 67TH LN                                                                                 OCALA             FL    34480‐6638
JENNIFER L GALLAGHER & CHARLES E NIKKILA JT TEN    29151 RACHID LN                                                                                CHESTERFIELD      MI    48047‐6033

JENNIFER L GRIMALDI CUST JESSICA L GRIMALDI UTMA   101 FOX RUN LANE                                                                               CARMEL            NY    10512‐2340
NY
JENNIFER L HANSON & TERRY L HANSON JT TEN          3330 PARKSIDE DR                                                                               FLINT             MI    48503‐4684
JENNIFER L HEALY                                   2811 WAYNE WOOD DRIVE                                                                          FT WAYNE          IN    46809‐2626
JENNIFER L HOLAN                                   3212 WORMER DR                                                                                 WATERFORD         MI    48329‐2566
JENNIFER L JONES                                   844 WINDY MEADOW DR                                                                            DESOTO            TX    75115‐7535
JENNIFER L KANAN                                   9317 ALHAMBRA                                                                                  PRAIRIE VILLAGE   KS    66207‐2700
JENNIFER L KENDAL DDS CUST KENDALL L YORK UTMA     3 HICKORY LN                                                                                   HUNTINGTON        WV    25705‐2157
WV
JENNIFER L LAVERENZ                                424 HARVARD                                                                                    BRUSH             CO    80723‐1617
JENNIFER L MARBLE                                  PO BOX 1553                                                                                    TAVERNIER         FL    33070‐1553
JENNIFER L MCDANIEL & DOUG L MCDANIEL JT TEN       15009 FRISCO RANCH DR                                                                          LITTLE ELM        TX    75068‐2715

JENNIFER L MCQUEEN                               41 MARKS RD                                                                                      LISLE             NY    13797‐1727
JENNIFER L MCVICAR                               5 WHIP O WILL LN                                                                                 MILFORD           MA    01757‐1557
JENNIFER L MOORE                                 520 HUNTWICK PL                                                                                  ROSWELL           GA    30075‐4300
JENNIFER L MORRIS                                1910 MAPLEWOOD SQUARE CT                                                                         LOWELL            MI    49331‐1572
JENNIFER L MURTY                                 113 COMMERCE ST                                                                                  DE FOREST         WI    53532‐1502
JENNIFER L RADCLIFF                              33 N MAIN ST                                                                                     CLARKSTON         MI    48346‐1515
JENNIFER L REYNOLDS CUST JACK M REYNOLDS UTMA IN 10347 STRONGBOW RD                                                                               FORTVILLE         IN    46040

JENNIFER L REYNOLDS CUST PRESTON C REYNOLDS        10347 STRONGBOW RD                                                                             FORTVILLE         IN    46040
UTMA IN
JENNIFER L ROCHON                                  64 W 15TH ST                          APT 2W                                                   NEW YORK          NY    10011‐6834
JENNIFER L RODRIGUEZ                               182 PIEDMONT SE DR                                                                             GRAND RAPIDS      MI    49548‐6893
JENNIFER L SCHAEFER                                7 OXHORN CRT W                                                                                 HOMOSASSA         FL    34446
JENNIFER L SCHNARS                                 19451 MASONIC BLVD                                                                             ROSEVILLE         MI    48066‐1271
JENNIFER L SCOTT                                   13535 LAVENDER MIST LANE                                                                       CENTREVILLE       VA    20120
JENNIFER L SEVIGNY                                 2255 BALD EAGLE LK RD                                                                          ORTONVILLE        MI    48462‐9047
JENNIFER L SPROUSE                                 180 W STRATHMORE                                                                               PONTIAC           MI    48340‐2776
JENNIFER L TAVERNA                                 41960 PON MEADOW                                                                               NORTHVILLE        MI    48168‐2239
JENNIFER L TOUSE                                   2425 WHISPER WIND DR                                                                           BEAUMONT          TX    77713‐8822
JENNIFER L TOWNSEND                                BOX 315                                                                                        LECANTO           FL    34460‐0315
JENNIFER L VALVOCUST PARKER D VALVO UNIF TRANS     12169 CREEKRIDGE RD                                                                            EAST AURORA       NY    14052‐9531
MIN ACT NY
JENNIFER L VANBAREN                                1530 40TH AV                                                                                   HUDSONVILLE       MI    49426‐9612
JENNIFER L WAGNER                                  PO BOX 4297                                                                                    HIDDEN VALLEY     PA    15502‐4297
                                              09-50026-mg               Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                      Part 4 of 8 Pg 6 of 855
Name                                             Address1                             Address2                         Address3       Address4          City               State Zip

JENNIFER L WALSH CUST TODD E WALSH               944 S REMINGTON                                                                                        COLUMBUS           OH    43209‐2459
JENNIFER L WILLIAMS                              7757 HOLMES                                                                                            DETROIT            MI    48210‐1509
JENNIFER L WILSON                                1614 W ORANGECREST AVE                                                                                 PALM HARBOR        FL    34683
JENNIFER L WRUCK                                 PO BOX 4164                                                                                            MERIDEN            CT    06450‐0896
JENNIFER L YESS                                  2511 BIRCH HARBOR LN                                                                                   WEST BLOOMFIELD    MI    48324‐1903

JENNIFER LADD VONCKX                             3001 CYCLE COURT SW                                                                                    SEATTLE          WA      98126
JENNIFER LAWSON                                  C/O JENNIFER BENCA                   PO BOX 2421                                                       LOGANVILLE       GA      30052‐1949
JENNIFER LEE FOLEY                               4727 BURNLEY                                                                                           BLOOMFIELD       MI      48304
JENNIFER LEE MANDY                               19 KUPSCH ST                                                                                           SAYREVILLE       NJ      08872‐1129
JENNIFER LEIGH MURRAY                            8144 10TH AVE S                                                                                        BIRMINGHAM       AL      35206‐4509
JENNIFER LEIGH SIMON                             40 TOLL DR                                                                                             SOUTHAMPTON      PA      18966‐3061
JENNIFER LEVIN                                   29021 RAMBLEWOOD DRIVE                                                                                 FARMINGTON HILLS MI      48334‐1755

JENNIFER LEWIS                                   15 CHANNEL CENTER                    APT 320                                                           BOSTON             MA    02210
JENNIFER LI                                      15816 LAKEVIEW CT                                                                                      GROSSE POINTE      MI    48230
JENNIFER LINTON                                  6081 PISGAH CHURCH ROAD                                                                                TALLAHASSEE        FL    32308‐8931
JENNIFER LOUISE GREGORY                          4113 MOUNDS RD                                                                                         ANDERSON           IN    46017‐1834
JENNIFER LUTZ CUST EVANA LUTZ UTMA FL            1716 PALM BEACH DRIVE                                                                                  APOPKA             FL    32712‐2472
JENNIFER LYN MOY DRINKARD & TODD BRANCH          1869 HUNTERS CREEK RD                                                                                  LAPEER             MI    48446
DRINKARD JT TEN
JENNIFER LYNN BOYLL                              ATTN JENNIFER LYNN DUNDON            13 THAYER ST                                                      MILFORD            MA    01757‐3107
JENNIFER LYNN DEAN                               501 AVENUE G                         APT 6                                                             REDONDO BEACH      CA    90277‐6009
JENNIFER LYNN GERTLEY                            24857 SE MIRRORMONT WAY                                                                                ISSAQUAH           WA    98027‐7314
JENNIFER LYNN LUKACSY                            101 S OLD COACHMAN RD                APT 606                                                           CLEARWATER         FL    33765‐4429
JENNIFER LYNN SIMON                              16 PALADIN DRIVE                                                                                       WILMINGTON         DE    19802
JENNIFER LYNN SMITH                              2420 US 75 HIGHWAY                                                                                     SABETHA            KS    66534‐9439
JENNIFER LYNN STAMPS                             PO BOX 10185                                                                                           JACKSON            TN    38308‐0103
JENNIFER LYNN SUKOLA                             307 PROSPECT AVE                     APT 14G                                                           HACKENSACK         NJ    07601‐2555
JENNIFER LYNN WEMP                               APT 1203                             73 WIDDICOMBE HILL BLVD          ETOBICOKE ON   M9R 4B3 CANADA
JENNIFER LYNNE DAVIES                            814 MENOMINEE ST                                                                                       PONTIAC            MI    48341‐1548
JENNIFER LYNNE HELM                              2860 ALISO DR                                                                                          HENDERSON          NV    89074
JENNIFER M FALVEY                                43433 BOCKLEY DRIVE                                                                                    STERLING HEIGHTS   MI    48313‐1709

JENNIFER M JONES                                 9520 LEAMINGTON AVE                                                                                    SKOKIE             IL    60077‐1227
JENNIFER M JONES                                 8435 N STEMMONS FW 6TH                                                                                 DALLAS             TX    75247‐3907
JENNIFER M KOWALCZYK                             913 LAFYETTE COURT                                                                                     ROCHESTER HILLS    MI    48307‐2920
JENNIFER M LEE                                   775 AUTUMN BRANCH RD                                                                                   WESTERVILLE        OH    43081‐3103
JENNIFER M LEWTON                                23144 CUSHING                                                                                          EAST POINTE        MI    48021‐4118
JENNIFER M MATTILA                               4631 SANDSTONE DR                                                                                      WILLIAMSTON        MI    48895
JENNIFER M MCEVER                                2010 S RIDGEWOOD AVE                                                                                   EDGEWATER          FL    32141‐4207
JENNIFER M OLSON & KEVIN L OLSON JT TEN          1818 PATTERSON ST                                                                                      KLAMATH FALLS      OR    97603‐5290
JENNIFER M OLSON CUST KAILA V OLSON UTMA OR      1818 PATTERSON ST                    UNDER THE OR UNIF TRAN MIN ACT                                    KLAMATH FALLS      OR    97603‐5290

JENNIFER M OSBORNE                               14687 SHENANDOAH                                                                                       RIVERVIEW          MI    48192‐7728
JENNIFER M PRESSON                               28474 FAIRFAX ST                                                                                       SOUTHFIELD         MI    48076‐3030
JENNIFER M RAVEY                                 1737 TAFT ST                                                                                           NILES              OH    44446‐4113
JENNIFER M SHEN                                  PO BOX 1608                                                                                            GIG HARBOR         WA    98332
JENNIFER M SMITH                                 3802 SYCAMORE DR                                                                                       BOISE              ID    83703‐4144
JENNIFER M SORENSEN                              15782 DURHAM WAY                                                                                       GRANGER            IN    46530‐6540
JENNIFER M STEEL                                 26 MAIN ST                                                                                             GERMANTOWN         OH    45327
JENNIFER M VANDEVELDE & ANDREA A VANDEVELDE JT   4089 CHAPMAN RD                                                                                        SHELBY TOWNSHIP    MI    48316‐1410
TEN
JENNIFER M WHITTAKER                             218 DEER RUN DR                                                                                        PLAINWELL          MI    49080‐9123
JENNIFER MANNING CUST ARIANA S STELLER UGMA OR   4475 DAISY ST SPC 8                                                                                    SPRINGFIELD        OR    97478‐6649

JENNIFER MARIE FREGOE A MINOR                    13 EMILY CT                                                                                            BERGEN             NY    14416‐9741
JENNIFER MARIE LILL                              245 BRANCH CREEK CT                                                                                    DAYTON             OH    45458‐3287
JENNIFER MARIE SHAPIRO                           4692 TRABUE WOODS CT                                                                                   COLUMBUS           OH    43228‐9119
                                             09-50026-mg                 Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                       Part 4 of 8 Pg 7 of 855
Name                                              Address1                             Address2                  Address3          Address4          City            State Zip

JENNIFER MAY HONG CUST ABIGAIL HOPE HONG UGMA 15207 REGAL OAK LANE                                                                                   FRISCO          TX    75035
TX
JENNIFER MAY HONG CUST CATHERINE RUTH HONG     15207 REGAL OAK LANE                                                                                  FRISCO          TX    75035
UGMA TX
JENNIFER MAY HONG CUST DANIEL ISACC HONG UGMA 15207 REGAL OAK LANE                                                                                   FRISCO          TX    75035
TX
JENNIFER MAY HONG CUST ELIJAH PAUL HONG UGMA 15207 REGAL OAK LANE                                                                                    FRISCO          TX    75035
TX
JENNIFER MAY HONG CUST EVA CLAIRE HONG UGMA TX 15207 REGAL OAK LANE                                                                                  FRISCO          TX    75035

JENNIFER MAY HONG CUST SAMUEL NOAH HONG        15207 REGAL OAK LANE                                                                                  FRISCO          TX    75035
UGMA TX
JENNIFER MCCONNELL                             23944 BRUCE ROAD                                                                                      BAY VILLAGE     OH    44140‐2930
JENNIFER MCKIMMEY CUST CAMERON CLARENCE COX 1915 WATERS FERRY DR                                                                                     LAWRENCEVILLE   GA    30043‐3174
UTMA GA UNIF TRAN MIN ACT
JENNIFER MCKIMMEY CUST JACKSON EDSEL COX UTMA 1915 WATERS FERRY DR                                                                                   LAWRENCEVILLE   GA    30043‐3174
GA UNIF TRAN MIN ACT
JENNIFER MCKIMMEY CUST MATTHEW TAYLOR COX      1915 WATERS FERRY DR                                                                                  LAWRENCEVILLE   GA    30043‐3174
UTMA GA UNIF TRAN MIN ACT
JENNIFER MENG KOBA                             9635 W RIDGE RD                                                                                       ELYRIA          OH    44035‐6822
JENNIFER MENKES                                ATTN JENNIFER CRAIG                     2831 CHARLEMAGNE AVE                                          LONG BEACH      CA    90815‐1036
JENNIFER MIGLINO SENISH                        9445 ARBOR LANE                                                                                       GOODRICH        MI    48438‐9285
JENNIFER MILLEA                                PO BOX 79                                                                                             HARTWICK        NY    13348‐0079
JENNIFER MO                                    1641 LA PRADERA DR                                                                                    CAMPBELL        CA    95008
JENNIFER MONROE TOM                            4291 VAN DYKE PL                                                                                      SAN DIEGO       CA    92116
JENNIFER MOTYKA                                5 NORTH LN                                                                                            HADLEY          MA    01035
JENNIFER MYNY                                  365 ROBERT STREET                       STRATHROY ON                                N7G 3M2 CANADA
JENNIFER N GRAM                                4007 KNIGHTWAY DR                                                                                     FORT WAYNE      IN    46815‐5029
JENNIFER N LEVIN                               8777 COLLING AVE APT 712                                                                              SURFSIDE        FL    33154‐3401
JENNIFER N RICHARDS                            247 RIDGEMONT ROAD                                                                                    GROSSE POINTE   MI    48236‐3131
JENNIFER NASH                                  23 SKYLINE RD                                                                                         SAN ANSELMO     CA    94960‐1513
JENNIFER NASH CUST ALEX NASH UTMA OH           10831 WINCHCOMBE DR                                                                                   DUBLIN          OH    43016‐9405
JENNIFER NEWGENT DELOZIER                      5906 KLAMATH FALLS COURT                                                                              HOUSTON         TX    77041‐5936
JENNIFER NOSER                                 30 KOSER AVE                                                                                          IOWA CITY       IA    52246‐1916
JENNIFER OCONNELL CUST BRENDAN COLLINS UTMA CA 10039 OSGOOD WAY                                                                                      SAN DIEGO       CA    92126‐5112

JENNIFER OINKOS CUST BEN PINKOS UTMA PA           838 AVE G                                                                                          ARDSLEY         PA    19038‐1822
JENNIFER P MASKIEL                                3411 IRWIN AVENUE                    APT 12‐D                                                      BRONX           NY    10463‐3734
JENNIFER P SMITH                                  306 SUGARBERRY CIRCLE                                                                              HOUSTON         TX    77024‐7248
JENNIFER PARENT                                   C/O BOBBETTE SCHLUSSEL               13807 SAN SEBASTIAN WAY   HUNTINGTON GATE                     POWAY           CA    92064‐6703
JENNIFER PEASE‐SHAW & LESTER SHAW JT TEN          3304 BAKER ST                                                                                      MUSKEGON        MI    49444
                                                                                                                                                     HEIGHTS
JENNIFER PERLMUTTER                               1628 CRAIG RD                                                                                      TOMS RIVER      NJ    08753
JENNIFER PETERSON                                 5022 HWY 71                                                                                        REMBRANT        IA    50576‐7538
JENNIFER PFAENDER                                 5000 18TH AVE S                                                                                    MINNEAPOLIS     MN    55417‐1220
JENNIFER PHILLIPS                                 387 FIELDING ST                                                                                    FERNDALE        MI    48220‐3231
JENNIFER PROSKO CUST ELLA CLAIRE PROSKO UTMA IL   734 W WILLOW                                                                                       CHICAGO         IL    60614‐5151

JENNIFER QUINN ROLAND & BRUCE THOMAS ROLAND       1100 BLOCK ISLAND RD                                                                               WELLINGTON      FL    33414‐5501
TEN COM
JENNIFER R BOROS CUST VICTORIA R BOROS UGMA MI    37040 ASPEN DR                                                                                     FARMINGTON HILLS MI   48335‐5482

JENNIFER R DUNN CUST CHARLES E DUNN III UTMA FL   119 TIMBERLINE DR                                                                                  JUPITER         FL    33458‐5542

JENNIFER R JACOBY                                 11622 N 12TH PL                                                                                    PHOENIX         AZ    85020‐1221
JENNIFER R ORR                                    9463 LAKE ROAD                                                                                     MONTROSE        MI    48457‐9715
JENNIFER R PIENKOSKI                              BOX 255                                                                                            HOLLYWOOD       CA    90078‐0255
JENNIFER R SIDLO                                  11 MAYHEW ST                                                                                       HOPKINTON       MA    01748
JENNIFER RAE NEAL                                 1121 HIDDEN SPRING DRIVE                                                                           NAPERVILLE      IL    60540
                                              09-50026-mg                   Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 8 of 855
Name                                               Address1                               Address2              Address3         Address4          City             State Zip

JENNIFER REEVES HASKELL                         1427 PORTO BELLO COURT                                                                             ARLINGTON        TX    76012‐2739
JENNIFER RENA FRANKEL CUST JASON ANDREW         679 WASHINGTON ST                                                                                  WEST HEMPSTEAD   NY    11552‐3527
FRANKEL UTMA PA
JENNIFER RICHARDSON MCGRAW CUST RILEY ELIZABETH 7702 FULMAR DR                                                                                     DUBLIN           OH    43017‐8241
MCGRAW UGMA MO
JENNIFER RICHARDSON MCGRAW CUST SHANE RYAN      7702 FULMAR DR                                                                                     DUBLIN           OH    43017‐8241
MCGRAW UTMA
JENNIFER ROZBRUCH                               420 EAST 72ND ST                                                                                   NEW YORK         NY    10021‐4650
JENNIFER S ARTHUR                               1640 FRANKLIN AVE                                                                                  KENT             OH    44240‐4383
JENNIFER S BYFIELD CUST TROY J BYFIELD UTMA MI  1536 AUGUSTA DR                                                                                    HARTLAND         MI    48353‐3750

JENNIFER S CORNELSSEN                              44 ABBOTT RD                                                                                    WELLESLEY HLS    MA    02481‐7519
JENNIFER S ENGLE & OLIVIA M HARTLEY JT TEN         28753 BANNOCKBURN                                                                               FARMINGTON HILLS MI    48334‐2703

JENNIFER S ENGLE HARTLEY & SEAN B HARTLEY JT TEN   28753 BANNOCKBURN                                                                               FARMINGTON HILLS MI    48334‐2703

JENNIFER S GRAY & RICHARD N GRAY JT TEN            5507 DALCROSS DR                                                                                COLUMBIA         MO    65203‐5133
JENNIFER S LE BRUN                                 347 CIMARRON E RD                                                                               LOMBARD          IL    60148‐1483
JENNIFER S LORELL                                  30 DUBLIN LANE                                                                                  CHERRY HILL      NJ    08003‐2504
JENNIFER S NOBLE                                   4 DELTA CRT                                                                                     FRANKLIN         MA    02038‐2468
JENNIFER S ZAZO & JACOB D ZAZO JT TEN              5375 CONSTANCE DR                                                                               SAGINAW          MI    48603‐1700
JENNIFER S ZAZO & JENNA R ZAZA JT TEN              5375 CONSTANCE DR                                                                               SAGINAW          MI    48603‐1700
JENNIFER S ZAZO & JOSEPH E ZAZO JT TEN             5375 CONSTANCE DR                                                                               SAGINAW          MI    48603‐1700
JENNIFER SEABOLT CARTER                            214 GLENKIRK LANE                                                                               LEXINGTON        SC    29072‐9434
JENNIFER SHERWOOD CUST TORI GABRIELE UTMA RI       2 SCHILKE DR                                                                                    WESTERLY         RI    02891

JENNIFER SMITH                                     306 SUGARBERRY CIRCLE                                                                           HOUSTON          TX    77024‐7248
JENNIFER SMITH                                     71 MORRIS AVE                                                                                   ATHENS           OH    45701‐1939
JENNIFER SMITH                                     1105 MINERS RUN                                                                                 ROCHESTER        MI    48306‐4599
JENNIFER SMITH                                     1105 MINERS RUN                                                                                 ROCHESTER        MI    48306‐4599
JENNIFER STEWART RODES                             541 MELISSA DRIVE                                                                               AMBLER           PA    19002‐5052
JENNIFER SUSAN LAWES                               8702 GLENHAVEN                                                                                  SHREVEPORT       LA    71106‐6222
JENNIFER T BEZEK                                   2899 EVERGREEN CT                                                                               BRENTWOOD        CA    94513‐5487
JENNIFER T MCCULLOUGH                              2 WENDOVER RD                                                                                   SUFFIELD         CT    06078‐1618
JENNIFER T MOYER                                   2 APPLE LN                                                                                      KENNEBUNK        ME    04043‐7424
JENNIFER THOMPSON & RICHARD LEVESQUE JT TEN        73 BRIDGEWOOD LN                                                                                WATERVLIET       NY    12189‐3450

JENNIFER THORSTEN OLSSON                           7147 BRIAR COVE DRIVE                                                                           DALLS            TX    75240‐2705
JENNIFER TRIPP                                     5 YATES COURT                          BELLEVILLE ON                          K8P 4V5 CANADA
JENNIFER TRITT                                     4493 JOHNSON GROVE ROAD                                                                         BELLS            TN    38006‐2246
JENNIFER TUERO MELIUS                              303 VINCENT AVE                                                                                 METAIRIE         LA    70005‐4419
JENNIFER V MCDOWELL CUST DANA JEAN MCDOWELL        5682 PADDOCK RD                                                                                 OCEANSIDE        CA    92057‐4811
UTMA CA
JENNIFER VACCARO GALLOIS                           213 HAWKS HILL RD                                                                               NEW CANAAN        CT   06840‐6549
JENNIFER VAN PERNIS                                5412 KEMPSVILLE STREET                                                                          NORTH SPRINGFIELD VA   22151‐3112

JENNIFER VENARD                                    7772 CORTE PROMENADE                                                                            CARLSBAD         CA    92009‐8940
JENNIFER VICTORIA HENRIKSSON                       45 FOREST RD                                                                                    TENAFLY          NJ    07670‐2231
JENNIFER VITULLO                                   ATTN JENNIFER MARTINELLI               3389 BRIARWOOD LANE                                      YOUNGSTOWN       OH    44511‐2506
JENNIFER W SMITH                                   10506 MOON VIEW WAY                                                                             ESCONDIDO        CA    92026‐6943
JENNIFER W THOMPSON                                44 BAKER ST                                                                                     MILFORD          CT    06461‐4008
JENNIFER WEGENER PHILLIPS                          664 CASEY LN                                                                                    WEST CHESTER     PA    19382‐8745
JENNIFER WEIS SYNNOTT CUST ALLISON K FOLEY UTMA    926 S/W 80TH TERR                                                                               GAINESVILLE      FL    32607‐3366
FL
JENNIFER WHITLEY                                   2401 RIDGECREST DRIVE                                                                           EL RENO          OK    73036‐5846
JENNIFER WOLOSZYK‐HOERT & DEVIN HOERT JT TEN       6902 GREENLAWN RD                                                                               LOUISVILLE       KY    40222

JENNIFER WRIGHT OVERTON                            5650 VALKEITH DR                                                                                HOUSTON          TX    77096‐3926
                                              09-50026-mg                  Doc 7123-46   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 9 of 855
Name                                                Address1                             Address2             Address3          Address4                 City              State Zip

JENNIFER Y LAWRENCE & ROBERT E LAWRENCE JT TEN      2691 GLEN VALLEY DR                                                                                  LEONARD           MI    48367‐3120

JENNIFER Y SKIBBE                                   2691 GLEN VALLEY DR                                                                                  LEONARD           MI    48367‐3120
JENNIFER YELLEN                                     1304 STRATFORD RD                                                                                    DEERFIELD         IL    60015‐2108
JENNIFER YUST                                       410 CLEAR RIDGE RD                                                                                   UNION BRIDGE      MD    21791‐9011
JENNIFFER GLASER CUST WILLIAM ALMA GLASER UTMA      784 ONE O'CLOCK DR                                                                                   TOOELE            UT    84074‐3244
UT
JENNIFFER T WATSON                                  801 DOMINICAN DRIVE                                                                                  NASHVILLE       TN      37228
JENNINGS E LANTZ                                    7173 OAK HILL DR                                                                                     WEST FARMINGTON OH      44491‐8708

JENNINGS E LANTZ & KAREN S LANTZ JT TEN             7173 OAK HILL DR                                                                                     WEST FARMINGTON OH      44491‐8708

JENNINGS LEE WOOTERS                                406 WASHINGTON ST                                                                                    SEAFORD           DE    19973‐1424
JENNINGS RAY WOOD                                   PO BOX 13                                                                                            SALLISAW          OK    74955‐0013
JENNINGS STEPHENS                                   1360 RIDGECRESTDRIVE                                                                                 MILFORD           OH    45150
JENNINGS W BENNETT                                  1017 WOODGLENN DR                                                                                    NEWTON FALLS      OH    44444‐9706
JENNY A FOGO                                        5625 36TH CT E                       UNIT 103                                                        ELLENTON          FL    34222‐8301
JENNY A FRASH TR JENNY A FRASH TRUST UA 08/14/97    12130 KELLY GREENS BLVD              APT 96                                                          FORT MYERS        FL    33908‐5928

JENNY A GILMORE & CODY GILMORE JT TEN               320 TRACY CREEK RD                                                                                   VESTAL            NY    13850‐1063
JENNY ANN AMOS                                      5878 AQUA BAY DR                                                                                     COLUMBUS          OH    43235‐7500
JENNY BICKLEY                                       8255 RITCHIE SCHOOL RD                                                                               HANOVERTON        OH    44423
JENNY BOLTINGHOUSE                                  4205 E LAWRENCE CIRCLE                                                                               INDIANAPOLIS      IN    46241
JENNY C MIDOCK                                      4045 N LINDEN RD                                                                                     FLINT             MI    48504‐1351
JENNY D GIBSON                                      3080 HIGH CLIFF DR                                                                                   GRAPEVINE         TX    76051‐6803
JENNY DOUGLAS                                       1139 CHESTNUT GROVE RD                                                                               BROWNSVILLE       TN    38012‐8213
JENNY GORBI                                         ATTN JENNY MILLNIK                   34 GOLD ST                                                      EDISON            NJ    08837‐3210
JENNY K KIMMEL TR UA 03/06/85 GARY A KIMMEL &       1130 DRURY LANE                                                                                      FLUSHING          MI    48433‐1422
JENNY K KIMMEL TRUST
JENNY K KIMMEL TR UA 03/06/85 M‐B GARY A KIMMEL     1130 DRURY LANE                                                                                      FLUSHING          MI    48433‐1422
& JENNY K KIMMEL
JENNY L BRINKMEYER                                  602 TANGLEWOOD                                                                                       SIKESTON          MO    63801‐4683
JENNY L BURR                                        6604 GRAYWOLF DR                                                                                     PLANO             TX    75024‐6045
JENNY L KRONK & ELIZABETH A KRONK JT TEN            1291 LA CHAUMIERE APT C‐103                                                                          PETOSKEY          MI    49770
JENNY L YARRINGTON                                  12258 WEST 70TH AVE                                                                                  ARVADA            CO    80004‐2332
JENNY LEE BOWDEN                                    1705 WILLIAMS                                                                                        BLOOMINGTON       IN    47401
JENNY LEIDELMEIJER                                  9564 GARDENIA AVE                                                                                    FOUNTAIN VALLEY   CA    92708‐2313

JENNY LEIDELMEIJER & JOHANNES H R LEIDELMEIJER JT   9564 GARDENIA AVE                                                                                    FOUNTAIN VALY     CA    92708‐2313
TEN
JENNY LIND BROWN                                    601 JOHNSON RIDGE RD #147                                                                            ELKIN             NC    28621‐2467
JENNY LOUISE BLANKENSHIP                            7334 S 575W                                                                                          MORGANTOWN        IN    46160‐8498
JENNY LU TROCCHIO                                   82 LOCUST AVE                                                                                        NEPTUNE CITY      NJ    07753‐6217
JENNY M BREEDEN                                     ATTN JENNY M HENDERSON               1151 RETOR CT                                                   INDIANAPOLIS      IN    46229
JENNY M ELLIS                                       1289 VALLEY VIEW DR                                                                                  BOARDMAN          OH    44512‐3745
JENNY M WALKER & RONNIE S WALKER JT TEN             153 STONEGATE DR                                                                                     MADISON           MS    39110‐8720
JENNY MARGARET KEYZOR                               3 TUDOR GARDENS                      STONY STRATFORD      MILTON KEYNES     MK11 1HX GREAT BRITAIN
JENNY MIAZGA TR JENNY MIAZGA REVOCABLE TRUST        1910 RAYMOND ST                                                                                      DEARBORN          MI    48124‐4340
UA 03/28/06
JENNY NOBLE                                         256 WINCHESTER ST                    WINNIPEG MB                            R3J 2E3 CANADA
JENNY R KOVALSKY                                    76 CLARENDON AVE                                                                                     AVONDALE ESTATES GA     30002‐1403

JENNY ROSENDORN                                     20 GLORIA LANE                                                                                       WILLINGBORO       NJ    08046‐3218
JENNY YADGIR                                        2451 BARBARY LANE                                                                                    NORTHBROOK        IL    60062‐7528
JENNY ZILEMPE                                       2908 COUNTRY LINE RD                                                                                 MIDDLEPORT        NY    14105‐9772
JENNYE BROWN                                        PO BOX 25                                                                                            BROWNSVILLE       TX    78522‐0025
JENNYNE I PROCIDA                                   827 ESSEX AVENUE                                                                                     HENDERSON         NV    89015‐4622
JENS HUDSON                                         1100 IRVINE BLVD                     # 534                                                           TUSTIN            CA    92780‐3529
JENS MERRITT                                        2501 GRAY GOOSE LOOP                                                                                 FAYETTEVILLE      NC    28306
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 10 of 855
Name                                               Address1                             Address2             Address3           Address4          City                State Zip

JENS PETER FOX MAULE & MRS LONE E H FOX MAULE JT HEGNSVEJ 78B                           2850 NAERUM                             DENMARK
TEN
JENS PETER GOLLER                                MOSELSTRASSE 30 A                      64521 GROSS GERAU                       GERMANY
JENSEN ELIZABETH CHAMBERLIN                      15205 10TH CONCESSION                  SCHOMBERG ON                            L0G 1T0 CANADA
JENTIEN G WEST                                   330 SPEZIA DR                                                                                    OXFORD              MI    48371‐4749
JEONGHO KIM                                      3529 W LLOYD ST                                                                                  MILWAUKEE           WI    53208‐1413
JER‐MERL INVESTMENT INC                          4233 W 25TH ST                                                                                   LA                  CA    90018‐1724
JERAL L RUSSELL                                  2299 JONES RD                                                                                    WATERFORD           MI    48327‐1231
JERALD A CATON & ROBERTA A CATON JT TEN          1016 ROSE CIRCLE                                                                                 COLLEGE STATION     TX    77840‐2309
JERALD A GEER                                    438 W LIBERTY                                                                                    SOUTH LYON          MI    48178‐1341
JERALD A HAMMANN                                 733 ACADEMY ST                                                                                   OWATONNA            MN    55060‐3105
JERALD A RATHKA                                  5191 CLINTONVILLE ROAD                                                                           CLARKSTON           MI    48346‐4222
JERALD A SEARFOSS                                3880 THREE RIVERS RD                                                                             GLADWIN             MI    48624‐8345
JERALD B GILLESPIE                               135 PARKVIEW DR                                                                                  WHITELAND           IN    46184‐1249
JERALD B MALTZMAN                                4744 WENDRICK DR                                                                                 WEST BLOOMFIELD     MI    48323‐3651

JERALD BARSKY                                      80 CHASEMOOR DR                                                                                LANGHORNE           PA    19053‐2400
JERALD BRINE ISBELL                                616 VALLEY DR                                                                                  ANDERSON            IN    46011‐2036
JERALD BROOKS                                      221 10TH ST                                                                                    IPSWICH             SD    57451
JERALD C PIKE                                      2410 MEDALLION COURT                                                                           INDIANAPOLIS        IN    46231‐2812
JERALD CARSON                                      215 E 79TH ST                        APT 11C                                                   NEW YORK            NY    10021‐0854
JERALD D MORSE                                     11276 BELFORE DR                                                                               BENTON              MI    48430
JERALD E ARCHAMBAULT                               2095 COUNTY RT 22                                                                              RICHFIELD SPRINGS   NY    13439

JERALD E MINER                                     3300 VIRGINIA DRIVE                                                                            COLUMBIAVILLE       MI    48421‐9305
JERALD E O'SHAUGHNESSEY                            10217 NORMANDY DR                                                                              PLYMOUTH            MI    48170‐3247
JERALD E RAIRIE                                    809 90TH ST                                                                                    NIAGARA FALLS       NY    14304‐3519
JERALD E STRAWHACKER                               1912 VERSAILLES ST                                                                             KOKOMO              IN    46902‐5996
JERALD EDWARD POWELL                               165 COX'S LANE                                                                                 TAYLORSVILLE        KY    40071‐7928
JERALD G HOVER                                     4305 S 100 W                                                                                   ANDERSON            IN    46013‐3633
JERALD G PITROWSKI                                 7019 W 74TH PL                                                                                 CHICAGO             IL    60638‐5928
JERALD G WHITCOMB                                  4950 POCATELLA AVE                                                                             NORTH PORT          FL    34287‐2356
JERALD GAY SMITH                                   13005 CORLISS AVENUE N                                                                         SEATTLE             WA    98133‐7826
JERALD J RACHFAL & JANICE W RACHFAL JT TEN         41 OLD FORGE LANE                                                                              PITTSFORD           NY    14534‐4133
JERALD K KAMIYA & DAWN C KAMIYA COMMUNITY          BOX 561                                                                                        SANTA MARIA         CA    93456‐0561
PROPERTY
JERALD K KEY                                       R R #2 BOX 244                                                                                 DEKALB              MS    39328‐9632
JERALD L FRANK                                     322 BATTLEFIELD DR                                                                             DANDRIDGE           TN    37725‐4319
JERALD LEE MULL                                    455 W ELLIS AVE                                                                                INGLEWOOD           CA    90302‐1108
JERALD LEON HALEY TR JERALD LEON HALEY LIVING      310 OAK RIDGE DR 13A                                                                           ROSEVILLE           CA    95661‐3420
TRUST UA 01/30/90
JERALD M BIRD                                      2649 GOLFVIEW DR 203                                                                           TROY                MI    48084‐3816
JERALD M BLANKENSHIP                               1602 PLATT                                                                                     RICHLAND            WA    99352‐2810
JERALD PREDIKA TR JERALD PREDIKA REVOCABLE TRUST   1536 MANSFIELD ST                                                                              SANTA CRUZ          CA    95062‐1720
UA 11/05/94
JERALD R DOSH                                      5146 E FRANCES RD                                                                              MT MORRIS           MI    48458‐9750
JERALD R FEIRER                                    3307 W EHRLINGER RD                                                                            JANESVILLE          WI    53546‐8994
JERALD R GILBERT & GEORGE F GILBERT JT TEN         425 W PHILLIPS AVE                                                                             ENID                OK    73701‐1844
JERALD R JOHNS                                     19364 WINTHROP ST                                                                              DETROIT             MI    48235‐2030
JERALD R ROSECRANS                                 7821 HIDDEN POND DR APT #1A                                                                    LANSING             MI    48917
JERALD R SUMNER                                    1938 ELMWOOD ROAD                                                                              LENNON              MI    48449‐9713
JERALD R WALKER                                    11711 W ST RD 28                                                                               REDKEY              IN    47373‐9617
JERALD RALPH WEENE                                 113 LINCOLN ST                                                                                 HUDSON              MA    01749‐1447
JERALD RAYMOND PRESTON                             3095 BOBBY DR                                                                                  RENO                NV    89502‐4991
JERALD S CLEMENS                                   537 LINDEN CIRCLE SO                                                                           MILWAUKEE           WI    53172‐1025
JERALD SCHNEIDER JR                                322 CHAUTAUQUA AVE                                                                             PORTSMOUTH          VA    23707‐1704
JERALD SCOTT SCHINDLER                             122 BERKLEY ST                                                                                 WEST NEWTON         MA    02465‐2619
JERALD SIMON                                       605 WASHINGTON ST                                                                              CUMBERLAND          MD    21502‐2710
JERALD T ORSER                                     10117 N OAK RD                                                                                 OTISVILLE           MI    48463‐9738
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 11 of 855
Name                                              Address1                             Address2             Address3           Address4          City            State Zip

JERALD TENBRINK & MARY TENBRINK JT TEN             3237 OLD COLONY ROAD                                                                          KALAMAZOO       MI    49008‐4915
JERALD V PALUMBO & KAREN M PALUMBO JT TEN          2701 GRAND AVE                                                                                NIAGRA FALLS    NY    14301‐2427
JERALD W REYNARD                                   10121 N REYNARD RD                                                                            ALBANY          IN    47320‐9107
JERALDINE P SETTER                                 1503 MURRAY AVE                     PO BOX 1948                                               DALTON          GA    30722‐1948
JERALDINE R BURKS                                  105 JESSAMINE TRL                                                                             LAWRENCEVILLE   GA    30046‐8867
JERALDYN A MARTIN                                  13520 CARLTON OAKS                                                                            SAN ANTONIO     TX    78232‐4969
JERALDYN POSPISIL                                  218 CRAFT LANE                                                                                BUCHANAN        NY    10511‐1507
JERALYN A CASSIDY                                  157 INDIAN CREEK ROAD                                                                         HOHENWALD       TN    38462‐2495
JERARD L ADAMS                                     722 VICTORIA PLACE                                                                            ATLANTA         GA    30310‐2765
JERARD M RIDDELL & NANCY N RIDDELL JT TEN          2476 RESERVOIR RD                                                                             SAUQUOIT        NY    13456‐3224
JERAUD BARBUT                                      5A RUE MONTEVIDEO                   MARSEILLE BDR                           13006 FRANCE
JERAULD D REGESTER                                 3056 UPPER MTN RD                                                                             SANBORN         NY    14132‐9429
JERDINE ROBERTS                                    26672 ISLEWORTH PT                                                                            SOUTHFIELD      MI    48034‐5670
JERE ALAN KRIEG                                    127 SANTEE WAY                                                                                LOUDON          TN    37774‐2122
JERE E HURLEY & KATHLEEN RUTH HURLEY JT TEN        1405 SAN FRANCISCO ST                                                                         REDDING         CA    96001‐1336
JERE J DIRKER                                      8820 SANDYCREST CT                                                                            WHITE LAKE      MI    48386‐2449
JERE L HYNOTE                                      2260 PIEDMONT FOREST DR                                                                       MARIETTA        GA    30062‐2510
JERE L MCBRIDE TR JERE L MCBRIDE TRUST UA 11/13/97 17111 EAST JEFFERSON AVE 36                                                                   GROSSE POINTE   MI    48230

JERE M BAZZELL CUST KELLY A NELSON UGMA FL        PO BOX 471                                                                                     HOTCH KISS      CO    81419‐0471
JERE M BAZZELL CUST TODD S NELSON UGMA FL         C/O J TODD NELSON                    PO BOX 116                                                ELBERT          CO    80106‐0116
JERE S MATTHEWS                                   350 MALVERN AVE                                                                                HOT SPRINGS     AR    71901‐5446
JERE' I THORNTON                                  2453‐1/2 S 135TH ST                                                                            SEATAC          WA    98168‐3870
JEREL D ROE                                       2130 CAMERON DR                                                                                KOKOMO          IN    46902‐7412
JEREL L FRANKLIN & GREGORY M FRANKLIN JT TEN      885 G ST                                                                                       FERNLEY         NV    89408‐8581

JEREMEY LEVIN                                     147 N VALLEY FORGE RD                                                                          DEVON           PA    19333‐1308
JEREMIAH A WARD                                   9 W CHESTNUT ST                                                                                FARMINGDALE     NY    11735‐3115
JEREMIAH BUSH                                     448 NEPTUNE AVE                      APT# 20R                                                  BROOKLYN        NY    11224
JEREMIAH F DONOVAN JR                             32 QUARRY RD                                                                                   W SPRINGFIELD   MA    01089‐4570
JEREMIAH H TANGEN & RACHEL B TANGEN JT TEN        3510 SAINT ALBANS ROAD                                                                         CLEVELAND HTS   OH    44121
JEREMIAH HARRIS                                   1802                                 ECKLEY AVE                                                FLINT           MI    48503‐4526
JEREMIAH J KOLB                                   903 LAKEVIEW DRIVE                                                                             BAY MINETTE     AL    36507
JEREMIAH JACKSON                                  2448 SUMMIT DRIVE                                                                              JANESVILLE      WI    53545‐0126
JEREMIAH JOHNSON                                  122 S BELL AVE                                                                                 CHICAGO         IL    60612‐2974
JEREMIAH KELLY                                    150 MOUNTAIN WAY                                                                               MORRIS PLAINS   NJ    07950‐2215
JEREMIAH PHILIP NOLAN                             17 BARBERRY LN                                                                                 CTR MORICHES    NY    11934‐1410
JEREMIAH T HAYES & VIRGINIA A HAYES JT TEN        705 TERRACE LAKE DRIVE                                                                         BREA            CA    92821‐2847
JEREMIAH W MAHONEY                                3124 W BROADMOOR                                                                               LANSING         MI    48906‐9025
JEREMIAH W MAHONEY & SALLY J MAHONEY JT TEN       3124 W BROADMOOR                                                                               LANSING         MI    48906‐9025

JEREMIAH W RANOW                                  1660 LAKE DOWNEY DR                                                                            ORLANDO          FL   32825‐5501
JEREMIAH WOOD IV                                  37 RIP VAN LANE                                                                                SARATOGA SPRINGS NY   12866‐9053

JEREMIAS V HOLANDAY                              7173 DEXTER RD                                                                                  DOWNERS GROVE   IL    60516‐3710
JEREMIAS V HOLANDAY & MRS DIONISIA C HOLANDAY JT 7173 DEXTER RD                                                                                  DOWNERS GROVE   IL    60516‐3710
TEN
JEREMY A GLASS & NICOLE M GLASS JT TEN           623 STINSON DR                                                                                  COLUMBUS        OH    43214‐2955
JEREMY ATTAMAN                                   5969 KINGFISHER LN                                                                              CLARKSTON       MI    48346‐2944
JEREMY B HETZLER                                 7875 CYPRESS POINTE                                                                             BAY CITY        MI    48706‐9306
JEREMY BENDER                                    2671 LEBANON RD                                                                                 LEBANON         OH    45036‐9221
JEREMY BOSS                                      8630 AMMERMAN DRIVE                                                                             COMSTOCK PARK   MI    49321
JEREMY C HARWIN                                  53 FERNWOOD RD                                                                                  LARCHMONT       NY    10538‐1705
JEREMY C MCCAMIC CUST JEREMY D MCCAMIC UTMA 24 WILLOW LANE                                                                                       BETHLEHEM       WV    26003‐4860
WV
JEREMY C NAMMACK                                 16989 SAUSALITO DR                                                                              WHITTIER        CA    90603‐1750
JEREMY CLARK                                     66 CARLISLE RD                                                                                  WESTFORD        MA    01886‐3610
JEREMY D HUNT & DAVID S WRIGHT & LEONA E WRIGHT 123 S BEECH ST                                                                                   FLUSHING        MI    48433‐2001
JT TEN
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 4 of 8 Pg 12 of 855
Name                                              Address1                            Address2                    Address3      Address4                 City             State Zip

JEREMY D MCCAMIC                                  24 WILLOW LANE                                                                                         WHEELING         WV    26003‐4860
JEREMY DAVID EADES & DEBORAH B EADES JT TEN       470 WATERFORD DR                                                                                       ZIONSVILLE       IN    46077‐1807
JEREMY DON COLBY                                  1519 CAMELOT DR                                                                                        NORMAN           OK    73069‐7428
JEREMY E CLOUGH                                   5807 PLEASANT HILL LN                                                                                  FORT COLLINS     CO    80526‐4372
JEREMY E DURHAM                                   16 HILLSIDE ST                                                                                         NORFOLK          CT    06058
JEREMY FADNESS                                    3848 E HAZELBRANCH LN                                                                                  OAK CREEK        WI    53154‐6636
JEREMY FISTER                                     900 JERLYNN AVE                                                                                        DES MOINES       IA    50313‐3719
JEREMY FROST                                      8625 KODY MARIE CT APT 421                                                                             CHARLOTTE        NC    28210
JEREMY H ACUFF                                    2825 WILLDWOOD RD                                                                                      MARYVILLE        TN    37804
JEREMY H HAYNER                                   4595 S LYNN ST                                                                                         ONAWAY           MI    49765
JEREMY H WISE                                     1018 WOODBINE WAY                                                                                      SAN JOSE         CA    95117‐2964
JEREMY HERNANDEZ                                  215 MAYHAW STREET                                                                                      BAYTOWN          TX    77520
JEREMY J BENDER                                   2671 LEBANON RD                                                                                        LEBANON          OH    45036‐9221
JEREMY J CARNES                                   C/O SYBIL DELAHOUSSAYE‐CARNES       23337 GOLDRUSH DR                                                  DIAMOND BAR      CA    91765‐2018
JEREMY J FRANKE                                   8881 S 6TH AVE                                                                                         OAK CREEK        WI    53154
JEREMY J MILES                                    SELE PRIORY                         CHURCH LANE UPPER BEEDING   WEST SUSSEX   BN44 3HP GREAT BRITAIN
JEREMY J SCHIECK                                  RTE 5 BOX 214                                                                                          AUSTIN           MN    55912‐9185
JEREMY J WELLING & SANDRA R WELLING JT TEN        23245 FLEMING ST                                                                                       FARMINGTON       MI    48335‐4133
JEREMY KEIFER                                     1459 KENT AVE                                                                                          ESCONDIDO        CA    92027
JEREMY MICHAEL NACHT                              2000 LINWOOD AVE                    APT 9E                                                             FORT LEE         NJ    07024‐3006
JEREMY N FRYE                                     PO BOX 3                                                                                               GLENGARY         WV    25421‐0003
JEREMY N STRANGE                                  6171 DOWNS RIDGE COURT                                                                                 ELKRIDGE         MD    21075‐6598
JEREMY NEIL LEVINE                                6564 MACDONALD                      HAMPSTEAD QC                              H3X 2X4 CANADA
JEREMY PRESS                                      2200 BERKLEY STREET                 APT #101 A                                                         BERKLEY          MI    48072
JEREMY RAKOWSKY                                   10540 TUDOR CIRCLE                                                                                     NORTH ROYALTON   OH    44133‐1973

JEREMY ROBERT JOHNSON                             770 S PALM AVE #1501                                                                                   SARASOTA         FL    34236‐8701
JEREMY S HOBAUGH                                  12906 NEW PARKLAND DR                                                                                  HERNDON          VA    20171‐2645
JEREMY SCOTT WOOD                                 10 PIGEON HILL RD                                                                                      WESTON           MA    02493‐1620
JEREMY T SHAW                                     4080 STINSON BLVD                                                                                      MINNEAPOLIS      MN    55421‐4104
JEREMY TAYLOR                                     810 N EVANS ST                      APT 1                                                              BLOOMINGTON      IL    61701
JEREMY TODD ELLIS U/GDNSHP OF MARIAN KAY ELLIS    7158 E CO RD 675 S                                                                                     PLAINFIELD       IN    46168‐7531

JEREMY TREADO                                     2712 W 1250 S                                                                                          KENTLAND         IN    47951‐8555
JEREMY W MORGAN                                   10710 SIKES PLACE                   SUITE 300                                                          CHARLOTTE        NC    28277
JERI A KENNEDY                                    11 NOYES CRT                                                                                           MATTOON          IL    61938‐2039
JERI K DIETZ                                      1151 SUNSET HILL                                                                                       LAKE ORION       MI    48360‐1412
JERI L HERSHMAN CUST KAITLIN I HERSHMAN UTMA NJ   3819 QUAIL COVEY DR                                                                                    VALPARAISO       IN    46383‐2272

JERI L HERSHMAN CUST ZACHARY ADAM HERSHMAN        3819 QUAIL COVEY DR                                                                                    VALPARAISO       IN    46383‐2272
UTMA NJ
JERI L JASTER                                     5698 SODOM HUTCHINGS RD                                                                                FARMDALE         OH    44417‐9712
JERI L PYSZ                                       61501 ROLLING ACRES                                                                                    SOUTH LYON       MI    48178‐9231
JERI L THORNTON                                   3 COLUMBIA PLACE                                                                                       PARLIN           NJ    08859‐1003
JERI LEE RAYNAL & ROBERT A RAYNAL JT TEN          17763 ROCCO DRIVE                                                                                      MACOMB           MI    48044‐1649
JERI LYNN RUSCELLO                                ATTN JERI LYNN THOMPSON             27220 N 46TH ST                                                    CAVE CREEK       AZ    85331‐6654
JERI LYNN SCHUCHERT                               1355 HOLLYWOOD                                                                                         DEARBORN         MI    48124‐4041
JERI M OJEDA                                      20653 CHESTNUT CIR                                                                                     LIVONIA          MI    48152‐2087
JERI M TERPSTRA                                   20653 CHESTNUT CIR                                                                                     LIVONIA          MI    48152‐2087
JERI MCKENNA & THOMAS MCKENNA JT TEN              211 LOTUS DRIVE                                                                                        SAFETY HARBOR    FL    34695‐4719
JERI P KRAUS                                      N86W31518 KILBOURNE RD                                                                                 HARTLAND         WI    53029‐9523
JERI S HOPKINS                                    2657 S CO RD 625 E                                                                                     PLAINFIELD       IN    46168‐8103
JERICE R CETROLI                                  3128 OWASSA CT                                                                                         KISSIMMEE        FL    34746‐4602
JERILYN C ULASEWICH                               8309 LAKEWOOD DRIVE                                                                                    RALEIGH          NC    27613‐1107
JERILYN J JACOBS                                  5903 BEECH COURT                                                                                       HUBER HEIGHTS    OH    45424‐2421
JERILYN LOBB & JAMES A LOBB JR JT TEN             1735 CARDWELL                                                                                          GARDEN CITY      MI    48135‐3010
JERILYN M PARKELL                                 1708 STEAMBOAT DR                                                                                      HENDERSON        NV    89014‐4085
JERILYN ROBERTSON                                 W314 S 8130 WHITMORE RD                                                                                MUKONAGO         WI    53149‐9233
                                               09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 13 of 855
Name                                                Address1                               Address2                   Address3     Address4          City             State Zip

JERILYN S SAUNDERS & ROBERT L SAUNDERS III JT TEN   455 PANTHER PL                                                                                   SEBRING          FL    33875‐6339

JERILYNN J BERGESON                                 2142 SHERIDAN HILLS ROAD                                                                         WAYZATA          MN    55391‐2353
JERILYNN J COOPER                                   ATTN JERILYNN BERGESON                 2142 SHERIDAN HILLS ROAD                                  WAYZATA          MN    55391‐2353
JERILYNN J FLEISCHER                                1171 SURREY POINT DR SE                                                                          WARREN           OH    44484‐2849
JERILYNN S WEGENER & GERHARD J WEGENER JT TEN       995 WATERS EDGE                                                                                  OXFORD           MI    48371‐3682

JERIMOND D HOLLAND                             1902 S WOODS ROAD                                                                                     ANDERSON         IN    46012‐2750
JERINE W HALL                                  1227 W 85TH PL                                                                                        CHICAGO          IL    60619‐6429
JERITA D HILL                                  32662 OLD HICKORY RD                                                                                  LAUREL           DE    19956‐4229
JERL V CAVENEE                                 2343 COUNTY RD 1217                                                                                   BLANCHARD        OK    73010‐2818
JERL W HOWARD                                  1198 E DEER CREEK DR                                                                                  CROSSVILLE       TN    38571‐3238
JERLANE J SCHUITEMA                            2534 E 128TH ST                                                                                       GRANT            MI    49327‐8866
JERLEAN D MORRIS                               3191 WEST HWY 5                                                                                       BOWDON           GA    30108‐3371
JERLEN ARNOLD                                  7700 S EBERHART                                                                                       CHICAGO          IL    60619‐2919
JERLEN ARNOLD & DELORES ANN COLLINS JT TEN     7700 SOUTH EBERHART AVE                                                                               CHICAGO          IL    60619‐2919
JERLENE M HAGEN                                26958 WEST RD                                                                                         FLAT ROCK        MI    48134‐9252
JERLENE M LAMBERT                              26958 WEST RD                                                                                         BROWNSTOWN       MI    48134‐9252
JERLINE JOHNSON                                26312 SUMMERDALE                                                                                      SOUTHFIELD       MI    48034‐2227
JERLINE PORTIS                                 23165 BELLWOOD DR                                                                                     SOUTHFIELD       MI    48034‐5154
JERLINE SIMMONS                                14585 GREENLAWN                                                                                       DETROIT          MI    48238‐1822
JERMIAH DALY CUST MICHAEL BREADAN DALY UGMA NY 649 60TH ST                                                                                           BROOKLYN         NY    11220‐4108

JEROD ELLIS                                         8506 SOUTH TRAILS DR                                                                             COLUMBIA         MO    65202‐8720
JEROL GAEDE & EILEEN GAEDE TR UA 02/21/2007         631 W DEVON                                                                                      CHICAGO          IL    60631
GAEDE FAMILY TRUST
JEROLD A BAUM CUST DAVID M BAUM U/THE OHIO          3740 LIBBEY RD                                                                                   PERRYSBURG       OH    43551‐9750
UNIFORM GIFTS TO MINORS ACT
JEROLD B VOLK & SHARON E VOLK JT TEN                8 LAKEVIEW DR                                                                                    WEST ORANGE      NJ    07052‐2017
JEROLD C ALLEN                                      4965 CR 214                                                                                      KEYSTONE HEIGHTS FL    32656‐9722

JEROLD D LEIBACHER                                  518 BARDWELL RD                                                                                  CASTALIA         OH    44824‐9740
JEROLD D WATERS                                     430 DORSEY STREET                                                                                ABERDEEN         MD    21001
JEROLD E CRUM SR                                    6906 STATE ROUTE 269 S                                                                           CASTALIA         OH    44824‐9772
JEROLD H ROBINSON                                   3430 31ST AVE W                                                                                  SEATTLE          WA    98199‐2742
JEROLD J FADEM CUST JEROLD J FADEM JR U/THE FLA     150 FAIRWAY DR                                                                                   RUTHERFORDTON    NC    28139‐3208
GIFTS TO MINORS ACT
JEROLD J GILMORE                                    187 NORTH AVE                                                                                    HILTON           NY    14468‐9502
JEROLD L BROCKER & HELEN E BROCKER JT TEN           10150 NORRIS ROAD                                                                                DE WITT          MI    48820‐9678
JEROLD POWER                                        13633 W ROANOKE AVE                                                                              GOODYEAR         AZ    85395‐2237
JEROLD S SHPARGEL                                   2432 CYPRESS DR                                                                                  GREENSBURG       PA    15601‐4906
JEROLD S YOUNG                                      3652 WINDING WOOD LN                                                                             LEXINGTON        KY    40515‐1283
JEROLD W BAIRD                                      8220 BOULDER CREEK RD                                                                            PENRYN           CA    95663‐9682
JEROLD W LANE                                       P0 BOX 2213                                                                                      LONGMONT         CO    80502
JEROLEE S MYERS                                     4340 W 250 S                                                                                     RUSSIAVILLE      IN    46979‐9454
JEROME A AULT & PATSY J AULT JT TEN                 19 KATY LN                                                                                       MYERSTOWN        PA    17067‐3141
JEROME A BADER                                      849 BLUESPRING LANE                                                                              ST LOUIS         MO    63131‐2614
JEROME A CALUS                                      9 TOPPER DR                                                                                      ROCHESTER        NY    14622‐1547
JEROME A CEVETELLO JR                               PO BOX 3062                                                                                      WEST END         NJ    07740‐3062
JEROME A DINGMAN                                    450 NEILS CR                                                                                     MORRISTOWN       TN    37814‐2122
JEROME A DUESING                                    3908 VINE VISTA PL                                                                               CINCINNATI       OH    45217‐1926
JEROME A GAJDA                                      6722 LEONARD                                                                                     DARIEN           IL    60561‐3845
JEROME A GREENLEAF                                  150 MADISON DR                                                                                   BRISTOL          CT    06010‐5313
JEROME A JASURA                                     719 RHODES ST                                                                                    PINCONNING       MI    48650‐9403
JEROME A KLEIMAN                                    23 YALE DR                                                                                       NEW CITY         NY    10956‐4034
JEROME A MAAG                                       913 E BOGART RD                                                                                  SANDUSKY         OH    44870‐6420
JEROME A MACOMBER                                   5133 SHORELINE BLVD                                                                              WATERFORD        MI    48329‐1669
JEROME A MOORE TR JEROME A MOORE REVOCABLE          810 S RENAUD                                                                                     GROSSE POINTE    MI    48236‐1734
TRUST UA 02/17/94                                                                                                                                    WOOD
                                                09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 14 of 855
Name                                                Address1                               Address2             Address3           Address4          City             State Zip

JEROME A ORTLIEB                                    870 TAYLOR BLAIR RD                                                                              W JEFFERSON      OH    43162‐9554
JEROME A ORTLIEB JR                                 1995 UPPER VALLEY DR                                                                             WEST JEFFERSON   OH    43162‐9542
JEROME A ROSSILLON                                  1150 W BLAINE ST #13                                                                             RIVERSIDE        CA    92507‐7600
JEROME A SCHLEPER                                   RRI BOX 152                                                                                      POCAHONTAS       IL    62275‐0152
JEROME A SHIPP                                      16941 ADDISON                                                                                    SOUTHFIELD       MI    48075‐2934
JEROME A SMITH                                      PO BOX 17752                                                                                     SAN DIEGO        CA    92177‐7752
JEROME A SMITH                                      382 HARSEN RD                                                                                    LAPEER           MI    48446‐2759
JEROME A SMITH                                      1840 SOUTH WINN ROAD                                                                             MOUNT PLEASANT   MI    48858‐9648

JEROME A TOBIAS                                     15233 MAGNOLIA BLVD #108                                                                         SHERMAN OAKS     CA    91403‐1142
JEROME A TYLICZKA & BARBARA E TYLICZKA JT TEN       647 PRINCETON ROAD                                                                               LINDEN           NJ    07036‐5905

JEROME A WAY                                        9505 SO 6TH STREET                                                                               ALMOND           WI    54909‐9130
JEROME A WERTHMANN                                  4523 N EL RANCHO DRIVE                                                                           DAVENPORT        IA    52806‐4833
JEROME A ZAKES                                      118 ARLINGTON PLACE                                                                              DEPEW            NY    14043‐1648
JEROME A ZELDES & HELEN IRENE ZELDES JT TEN         5101 BALBOA BLVD 129                                                                             ENCINO           CA    91316
JEROME A ZIMMERMAN                                  3932 CLINTONVILLE RD                                                                             WATERFORD        MI    48329‐2421
JEROME ARISTEI & MRS ELEANOR CLARK ARISTEI JT TEN   4010 OCEAN DR                                                                                    MANHATTAN        CA    90266‐3150
                                                                                                                                                     BEACH
JEROME B BAILEY                                     1057 WEST MARTIN STREET                                                                          E PALESTINE      OH    44413‐1343
JEROME B CHLEBUS                                    4169 E OAKLEY RD                                                                                 HARRISON         MI    48625‐8304
JEROME B DIXON                                      10258 YOSEMITE LANE                                                                              INDIANAPOLIS     IN    46234‐9821
JEROME B GERRIB & LINDA S GERRIB JT TEN             120 WASHINGTON                                                                                   WESTVILLE        IL    61883‐1468
JEROME B HERMAN & PHYLLIS R HERMAN JT TEN           2112 MCGREGOR CIR                                                                                OFALLON          MO    63366‐3781
JEROME B KRACHMAN                                   10335 DURHAM ST NW                                                                               ALBUQUERQUE      NM    87114‐5542
JEROME B SHEWMAKER                                  11471 E CARPENTER RD                                                                             DAVISON          MI    48423‐9360
JEROME B STUPP                                      22 FOREST BLVD                                                                                   ARDSLEY          NY    10502‐1004
JEROME BACKES TR UA 08/13/1997 BACKES FAMILY        87 JEFFERY LN                                                                                    DES PLAINES      IL    60018
REVOCABLE TRUST
JEROME BARBER                                       PO BOX 2271                                                                                      BUFFALO          NY    14240‐2271
JEROME BOGIL CUST ANDREW BOGIL UGMA NY              44 OLD BROOK ROAD                                                                                DIX HILLS        NY    11746‐6431
JEROME BOWENS                                       19498 MANOR                                                                                      DETROIT          MI    48221‐1406
JEROME BROWN                                        196 STAR DR                                                                                      JONESBORO        GA    30236‐3623
JEROME BROWN & MRS PHYLLIS K BROWN JT TEN           187 GARTH RD                                                                                     SCARSDALE        NY    10583‐3973
JEROME BUCKLEY                                      PO BOX 14270                                                                                     SAGINAW          MI    48601‐0270
JEROME BURNETT                                      1914 CASTLE LANE                                                                                 FLINT            MI    48504‐2012
JEROME C AMMERMAN & DORIS P AMMERMAN JT TEN         5135 DURWOOD DRIVE                                                                               SWARTZ CREEK     MI    48473‐1123

JEROME C BROOKS                                     3211 KNOBB HILL DRIVE                                                                            RACINE           WI    53406
JEROME C HARRIS                                     5011 DAYTON LIBERTY ROAD                                                                         DAYTON           OH    45418‐1947
JEROME C HELMERS JR & LIZBETH J HELMERS JT TEN      10 MEADOWOOD WAY                                                                                 HAMILTON         OH    45013‐4023

JEROME C HOLLAND                                    11190 BENTLEY CHASE DRIVE                                                                        DULUTH           GA    30097‐1728
JEROME C HORTON                                     12825 SANTA CLARA                                                                                DETROIT          MI    48235‐1431
JEROME C KING                                       5575 SUNNYCREST DR                                                                               ORCHARD LAKE     MI    48323‐3866
JEROME C LENART & MARY ANNE LENART JT TEN           11829 BELL BAY RD                                                                                PRESQUE ISLE     MI    49777‐8458
JEROME C MAY                                        3000 CLEVELAND STREET                                                                            COOPERSVILLE     MI    49404‐9445
JEROME C MUCINSKI                                   1624 RICHMOND N W                                                                                GRAND RAPIDS     MI    49504‐2604
JEROME C PARKER 2ND                                 629 LONGVIEW DRIVE                                                                               LONGBOAT KEY     FL    34228‐3004
JEROME C PESARTIC & MARY J PESARTIC JT TEN          13428 N 36TH DR                                                                                  PHOENIX          AZ    85029‐2130
JEROME C POSEY                                      466 S RACCOON RD #C39                                                                            AUSTINTOWN       OH    44515‐3661
JEROME C SIMS                                       14101 STATE ST                                                                                   RIVERDALE        IL    60827‐2235
JEROME C SOVA                                       5756 GRIGGS DR                                                                                   CLARKSTON        MI    48346‐3240
JEROME C TOMMARELLO CUST DOMINIC A                  5130 CURRY RD                                                                                    PITTSBURGH       PA    15236‐2542
TOMMARELLO UGMA PA
JEROME C WILLIAMS                                   8055 ADDISON RD                                                                                  MASURY           OH    44438‐1204
JEROME CELESTIN CAVANAGH                            1300 E LAFAYETTE APT 2501                                                                        DETROIT          MI    48207
JEROME CIESLINSKI                                   2785 SEMINOLE COURT                                                                              BAY CITY         MI    48708‐8465
JEROME COHEN                                        208‐11 ESTATES DRIVE                                                                             BAYSIDE          NY    11360‐1167
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 15 of 855
Name                                              Address1                             Address2             Address3           Address4          City              State Zip

JEROME COWART                                     1103 LORETTA AVE                                                                               COLUMBUS          OH    43211‐1366
JEROME D BECKER                                   355 EIGHTH AVE                       APT 20B                                                   NEW YORK          NY    10001‐4864
JEROME D GROSS                                    1220 WALNUT VALLEY LANE                                                                        CENTERVILLE       OH    45458‐9683
JEROME D HERRMANN                                 11025 KEYSTONE DR                                                                              LOWELL            MI    49331‐9786
JEROME D HUGHES                                   RR #1 BOX 1204                                                                                 GOULDSBORO        PA    18424‐9716
JEROME D JONES                                    15737 S CENTRAL ST                                                                             OLATHE            KS    66062‐5051
JEROME D LUCIANO                                  49 SPILLWAY COURT                                                                              MARTINSBURG       WV    25401‐6394
JEROME D O'NEAL                                   6403 JONQUIL LN                                                                                YPSILANTI         MI    48197‐9667
JEROME D SCHNEIDER                                415 WEST JEFFERSON                                                                             PEWAMO            MI    48873‐9782
JEROME D SCHNEIDER & MRS BETTY SCHNEIDER JT TEN   1224 MON COEUR                                                                                 CREVE COEUR       MO    63146‐5343

JEROME D SERZYNSKI                                4328 ILLINOISE                                                                                 WYOMING           MI    49509
JEROME D WARD                                     3565 MEANDER RESERVE CIR                                                                       CANFIELD          OH    44406‐8012
JEROME D WILCZAK                                  14300 SUNDANCE DRIVE                                                                           HUNTLEY           IL    60142
JEROME DAVID CHEATHAM                             909 LINES DR                                                                                   ALBANY            GA    31705‐1258
JEROME DI PONIO                                   827 PUEBLO                                                                                     MILFORD           MI    48381‐2974
JEROME DOUGLAS                                    3619 JOSEPH CAMPAU ST                                                                          DETROIT           MI    48207‐2238
JEROME E BRUNELL                                  PO BOX 1205                                                                                    MARICOPA          AZ    85239‐1205
JEROME E CHESTER                                  4118 FULLER LANE                                                                               BRIDGETON         MO    63044‐3429
JEROME E DAHLBERG & MARILYN D DAHLBERG JT TEN     8501 HOPEWOOD LANE                                                                             NEW HOPE          MN    55427‐1145

JEROME E DANIELS                                  9912 MASTIN DRIVE                                                                              OVERLAND PARK      KS   66212‐5412
JEROME E DANIELS & ANNA DANIELS JT TEN            9912 MASTIN DR                                                                                 OVERLAND PARK      KS   66212‐5412
JEROME E FORTE                                    1715 EAST 97TH TERR                                                                            KANSAS CITY        MO   64131‐3226
JEROME E GREYSON                                  23200 LIBERTY ST                                                                               SAINT CLAIR SHORES MI   48080‐1504

JEROME E GRIFFIN                                  142 CAMBRIA ST                                                                                 BUFFALO           NY    14206‐2341
JEROME E JENSEN                                   4325 E GALEANO ST                                                                              LONG BEACH        CA    90815‐2708
JEROME E JOHNSON                                  1511 VANCOUVER DR                                                                              DAYTON            OH    45406‐4749
JEROME E KOWALSKI                                 1110 WALNUT RIDGE CT                                                                           MILFORD           MI    48381‐2883
JEROME E KRULL & AUDREY L KRULL JT TEN            35339 HATHAWAY                                                                                 LIVONIA           MI    48150‐2513
JEROME E L TICHACEK JR & MARGARET E TICHACEK JT   4014‐A S GRAND                                                                                 ST LOUIS          MO    63118‐3408
TEN
JEROME E LOGAN                                    27527 DOVER                                                                                    WARREN            MI    48093‐4764
JEROME E MCCARTER                                 3242 PINTAIL STREET                                                                            KATY              TX    77493
JEROME E OSHESKY & DONNA L OSHESKY JT TEN         1429 WEST HOWELL RD                                                                            MASON             MI    48854‐9334
JEROME E PIERSON                                  5756 EARHART                                                                                   ANN ARBOR         MI    48105‐9417
JEROME E SCHWARTZ                                 47 FAIRWAY                                                                                     BLOOMFIELD        NJ    07003‐5515
JEROME E SIZICK                                   5535 FORT                                                                                      SAGINAW           MI    48601‐9300
JEROME E SOBIERAJ & ROBERTA M SOBIERAJ JT TEN     24365 MYLER ST                                                                                 TAYLOR            MI    48180‐2136

JEROME E YANCHO                                   14396 N MCKINLEY RD                                                                            MONTROSE          MI    48457‐9713
JEROME EDWARD & MARY LOU EDWARDS JT TEN           3743 BIRNWICK DR                                                                               ADRIAN            MI    49221‐9217
JEROME ERNAY                                      38 NUTMEG LA                                                                                   LEVITTOWN         PA    19054‐3412
JEROME F AARON                                    EAST LAKE RD                                                                                   CASTILE           NY    14427
JEROME F BOLLIG                                   14223 WINCHESTER COURT                                                                         ORLAND PARK       IL    60467‐1151
JEROME F BRETZ                                    1311 BEMBRIDGE DR                                                                              ROCHESTER HILLS   MI    48307‐5720
JEROME F BRIXNER & IRENE BRIXNER JT TEN           14 HARTOM RD                                                                                   ROCHESTER         NY    14624‐4008
JEROME F CHARLES                                  2754 GROVENBURG RD                                                                             LANSING           MI    48911‐6459
JEROME F DURKIN & K W DURKIN JT TEN               1607 WATT ST                                                                                   RENO              NV    89509‐3755
JEROME F ELKING                                   1825 PRIMROSE LN                                                                               FAIRBORN          OH    45324‐9796
JEROME F GILLES                                   6173 OAK PARK TRAIL                                                                            HASLETT           MI    48840‐8985
JEROME F HABIG TR UA 12/10/79 JEROME F HABIG      1513 NEWTON ST                                                                                 JASPER            IN    47546‐1622
REVOCABLE TRUST
JEROME F HAMMES                                   2012 CAYUGA LN                                                                                 MOUNT PROSPECT    IL    60056‐1722

JEROME F JUREK                                    30 DELLA DRIVE                                                                                 LACKAWANNA        NY    14218‐3205
JEROME F KASZYNSKI                                2627 STATEVIEW DRIVE                                                                           TOLEDO            OH    43609‐1517
JEROME F KILBANE & ANN C KILBANE JT TEN           3410 WOOSTER RD                      APT 519                                                   ROCKY RIVER       OH    44116
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 16 of 855
Name                                               Address1                              Address2                Address3        Address4          City            State Zip

JEROME F KRAUSS                                    2814 CREST AVE                                                                                  CHEVERLY        MD    20785‐2964
JEROME F MCBRIDE JR                                309 GRANDVIEW AVE                                                                               GLEN ELLYN      IL    60137‐5219
JEROME F NICHOLSON & MARGARET L NICHOLSON JT       425 SW 17TH ST                                                                                  RICHMOND        IN    47374‐5134
TEN
JEROME F RIES                                      7075 STONINGTON RD                                                                              CINCINNATI      OH    45230‐3841
JEROME F SZELC                                     20565 TIDEWATER CT                                                                              STERLING        VA    20165‐5101
JEROME F WILLIAMS                                  4323 SAINT CLAIR HWY                                                                            EAST CHINA      MI    48054‐2153
JEROME FARR                                        1549 JACOBS RD                                                                                  COLUMBIA        TN    38401‐1358
JEROME FRIEDMAN CUST DAVID LEE FRIEDMAN UGMA       15 GIFFORD WAY                                                                                  MELVILLE        NY    11747‐2310
NY
JEROME G GRANT                                     4617 JOE DAVIS DR                                                                               DECATUR         AL    35603‐4929
JEROME G KOEHLER                                   358 RIVA AVE                                                                                    MILLTOWN        NJ    08850‐2146
JEROME GAVIN                                       7127 N OVERHILL                                                                                 CHICAGO         IL    60631‐1059
JEROME GEORGE LAUER JR & SUSAN MARIE LAUER JT      3049 N ELENA MARIA                                                                              TUCSON          AZ    85750
TEN
JEROME GILLIAM                                     2540 EDMONDSON AVE                                                                              BALTIMORE        MD   21223‐1001
JEROME H FOX & LINDA J FOX JT TEN                  PO BOX 1233                                                                                     BILLINGS         MT   59103‐1233
JEROME H GILBRIDE                                  33359 BAINBRIDGE                                                                                NORTH RIDGEVILLE OH   44039‐4139

JEROME H GILBRIDE & VIRGINIA M GILBRIDE JT TEN     33359 BAINBRIDGE RD                                                                             NORTH RIDGEVILLE OH   44039‐4139

JEROME H HARTZELL                                 930 BAKER RD                                                                                     VERSAILLES      OH    45380‐9308
JEROME H LAMPE                                    215 N 7TH ST                                                                                     BREESE          IL    62230‐1239
JEROME H PINKNEY                                  1725 BRADDISH AVE                                                                                BALTIMORE       MD    21216‐3541
JEROME H WEBER                                    9419 KIMBALL                                                                                     PEWAMO          MI    48873‐9726
JEROME H WEBER                                    4255 23RD                                                                                        DORR            MI    49323‐9505
JEROME HARRIS                                     1905 S CHURCHMAN                                                                                 INDIANAPOLIS    IN    46203‐2902
JEROME HILL 4TH                                   C/O NIEVES C HILL                      9613 A NIGHTJAR DRIVE                                     AUSTIN          TX    78748‐5821
JEROME HOOG                                       1004 SOUTHGATE DR                      OSHAWA ON                               L1H 8A1 CANADA
JEROME HOOG                                       52 PENFOUND DR                         BOWMANVILLE ON                          L1C 3K1 CANADA
JEROME HOOG                                       52 PENFOLD DR                          BOWMANVILLE ON                          L1C 4C2 CANADA
JEROME HUNTER SOWERS                              1848 RIDGEVIEW RD NW                                                                             FLOYD           VA    24091‐3144
JEROME I FRANK                                    PO BOX 13935                                                                                     DETROIT         MI    48213‐0935
JEROME I LEVENTHAL CUST MARK ROBERT LEVENTHAL 1573 TRALEE DR                                                                                       DRESHER         PA    19025‐1229
UGMA PA
JEROME IRVING KRIEGER                             9792 ARBOR VIEW DR S                                                                             BOYNTON BEACH   FL    33437‐5930
JEROME J ALFORD                                   562 SOUTH 400 EAST                                                                               IVING           UT    84738‐5021
JEROME J BEDELL III CUST ANTHONY P BEDELL UGMA NJ 10 GANNIS AVE                                                                                    MORRIS PLAINS   NJ    07950‐2222

JEROME J CHALLENOR & SANDRA J CHALLENOR JT TEN     2562 SE MARIUS ST                                                                               PORT ST LUCIE   FL    34952‐7277

JEROME J CHRASTKA                                  PO BOX 5322                                                                                     WOODRIDGE       IL    60517‐0322
JEROME J FINNEY                                    2550 N RIVER RD                                                                                 SAGINAW         MI    48609‐9306
JEROME J FRANCO                                    1151 LINDBERGH AVE                                                                              FEASTERVILLE    PA    19053‐4163
JEROME J GRALEWSKI                                 114 TERENCE DRIVE                                                                               MANOR           PA    15665‐9707
JEROME J GRASSO                                    156 BANK                                                                                        BATAVIA         NY    14020‐2216
JEROME J HART                                      12305 SEYMOUR RD                                                                                BURT            MI    48417‐9704
JEROME J HOHN                                      717 LELAND ST                                                                                   FLINT           MI    48507‐2431
JEROME J JARZYNKA CUST THOMAS J BAUER UGMA PA      3885 BROOKSIDE DRIVE                  UNIT #103                                                 MURRYSVILLE     PA    15668‐1260

JEROME J KADELA                                    1070 WESTLAKE DRIVE                                                                             KANNAPOLIS      NC    28081‐8149
JEROME J KOLESAR                                   7709 SPRING PARK DR                                                                             BOARDMAN        OH    44512‐5345
JEROME J LENDZION                                  93 WEST COLGATE                                                                                 PONTIAC         MI    48340‐1142
JEROME J MARCINIAK                                 4320 COLUMBIA PIKE                                                                              FRANKLIN        TN    37068
JEROME J MC GARRY                                  5720 HUNTERS RIDGE RD                                                                           DAYTON          OH    45431‐2907
JEROME J MCGARRY & BRENDA K MCGARRY JT TEN         2075 MOHAVE DRIVE                                                                               DAYTON          OH    45431‐3014

JEROME J MCGARRY & BRENDA K MCGARRY JT TEN         2075 MOHAVE DR                                                                                  BEAVERCREEK     OH    45431‐3014
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 17 of 855
Name                                             Address1                             Address2                Address3        Address4          City              State Zip

JEROME J MILLER & MARY C MILLER JT TEN           24282 37TH ST                                                                                  GOBLES           MI     49055‐9631
JEROME J MOLESKI                                 19300 BRIARWOOD                                                                                MT CLEMENS       MI     48036‐2121
JEROME J PHILLIPS                                75 HICKORY WAY                                                                                 SOLVANG          CA     93463‐2835
JEROME J RATTAY                                  2407 MAPLE COURT                     SPRINGFIELD                                               PANAMA CITY      FL     32404
JEROME J RAWSKI                                  7740 S MOODY                                                                                   BURBANK          IL     60459‐1233
JEROME J ROSE                                    611 BROADWAY                                                                                   BAYONNE          NJ     07002‐3818
JEROME J ROSIECKI & NORMA J ROSIECKI JT TEN      38760 MONTEREY DR                                                                              STERLING HTS     MI     48312‐1352
JEROME J SABIAS                                  6517 S EUCLID                                                                                  BAY CITY         MI     48706‐9302
JEROME J SCHERR                                  400 PINE HILL LANE                                                                             PETOSKEY         MI     49770‐8960
JEROME J VASSALLO                                527 KYKER CIR                                                                                  SEYMOUR          TN     37865‐4925
JEROME JOHN SCOGNA                               225 W 3RD AV                                                                                   COLLEGEVILLE     PA     19426‐2211
JEROME JOHNSON                                   889 ELOISE DR                                                                                  CLEVELAND        OH     44112‐2310
JEROME JOONDEPH                                  4 OVERBROOK RD                                                                                 UPPER SADDLE     NJ     07458‐1913
                                                                                                                                                RIVER
JEROME K ACKERT                                  20015 S PINE HILL RD                                                                           FRANKFORT        IL     60423‐8377
JEROME K ERICKSON                                6 MARSHALL PLACE                                                                               JANESVILLE       WI     53545‐4031
JEROME K LAWRENCE                                5035 ROLLER RD                                                                                 MILLERS          MD     21102‐2246
JEROME K MAYHEW                                  15130 REO                                                                                      ALLEN PARK       MI     48101‐3535
JEROME K MAYHEW & MILDRED MAYHEW JT TEN          15130 REO                                                                                      ALLEN PARK       MI     48101‐3535
JEROME K OPPENHEIMER                             98 OLD POST RD NORTH                                                                           RED HOOK         NY     12571‐2221
JEROME K PETTUS                                  17195 WARRINGTON DR                                                                            DETROIT          MI     48221‐3031
JEROME K REEK                                    112 70TH ST NW                                                                                 BRADENTON        FL     34209‐2236
JEROME K STARZ CUST KIM S STARZ UGMA WI          4715 W BRADLEY RD                                                                              BROWN DEER       WI     53223‐3627
JEROME KUCZYNSKI & REGINA B KUCZYNSKI JT TEN     44418 VIRGINIA COURT                                                                           CLINTON TOWNSHIP MI     48038‐1068

JEROME L DUDA                                    15601 OAK HOLLOW LN                                                                            STRONGSVILLE      OH    44149‐8557
JEROME L FORTIN                                  10060 S LEER RD                                                                                POSEN             MI    49776‐9436
JEROME L JANKOWSKI                               1843 PLYMOUTH TERRACE S E                                                                      GRAND RAPIDS      MI    49506‐4148
JEROME L MC CON & JILL J MC CON JT TEN           PO BOX 554                                                                                     AMADO             AZ    85645‐0554
JEROME L PECK                                    1434 N BELSAY ROAD                                                                             BURTON            MI    48509‐1605
JEROME L SKELLY & MARGARET SKELLY JT TEN         9807 RED MAPLE DR                                                                              PLYMOUTH          MI    48170‐3283
JEROME L STOTSKY & ELINOR L STOTSKY JT TEN       7707 N BROOKLINE DR                  APT 228                                                   MADISON           WI    53719‐3526
JEROME L SWANN                                   101 THOMAS GUIDERA CIR                                                                         BALTIMORE         MD    21229‐3039
JEROME L WARREN                                  2728 SUNDANCE PL                                                                               MULBERRY          FL    33860‐6500
JEROME L ZERRER                                  2766 N HWY 61                                                                                  TROY              MO    63379‐4902
JEROME LARKIN                                    13567 RUTHERFORD ST                                                                            DETROIT           MI    48227‐1731
JEROME LEFLORE                                   8061 KENSINGTON BLVD #408                                                                      DAVISON           MI    48423‐2904
JEROME LENZ                                      900 OAKWOOD AVENUE                                                                             WILMETTE          IL    60091‐3320
JEROME LOWE                                      15517 OHIO                                                                                     DETROIT           MI    48238‐1107
JEROME LUNDER                                    C/O DER‐TEX CORP                     160 W CAMINO REAL 132                                     BOCA RATON        FL    33432
JEROME M DREAS                                   PO BOX 2460                                                                                    MOUNT VERNON      IL    62864‐0047
JEROME M GROULX                                  2288 N GARFIELD                                                                                PINCONNING        MI    48650‐9443
JEROME M JACKSON                                 5945 PECK RD                                                                                   BROWN CITY        MI    48416‐9000
JEROME M KATZ & MALCA L KATZ JT TEN              6951 ALDERLEY WAY                                                                              WEST BLOOMFIELD   MI    48322‐3856

JEROME M LITWICKI JR                             7363 N STATE ROAD                                                                              DAVISON           MI    48423‐9368
JEROME M MADALENA                                1433 BONALLACK CT                                                                              TRINITY           FL    34655‐4655
JEROME M MYSZAK                                  1810 DILL RD                                                                                   DEWITT            MI    48820‐8360
JEROME M SCHLECHTER                              4236 SE OAK ST                                                                                 PORTLAND          OR    97215‐1041
JEROME M SOBIESIENSKI                            6260 MORGAN RD                                                                                 RAVENNA           OH    44266‐1449
JEROME M TODARO                                  1522 OAK ST                                                                                    GREENSBURG        PA    15601‐5440
JEROME M TODARO & VIRGINIA TODARO JT TEN         1522 OAK ST                                                                                    SOUTH             PA    15601‐5440
                                                                                                                                                GREENSBURG
JEROME M WEAKLAND & MRS DORIS WEAKLAND JT TEN 452 UPPER HARMONY ROAD                                                                            EVANS CITY        PA    16033‐3814

JEROME M WEIKSNER                                PO BOX 1855                                                                                    NEW SMYRNA        FL    32170‐1855
JEROME MANGAS                                    5044 PINE VIEW DR                                                                              MOHNTON           PA    19540‐8734
JEROME MARTIN SCHULTZ                            88 TROY DRIVE                                                                                  SHORT HILLS       NJ    07078‐1366
JEROME MCKINNEY                                  8316 FIELDING ST                                                                               DETROIT           MI    48228‐2873
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                     Part 4 of 8 Pg 18 of 855
Name                                            Address1                             Address2                Address3                Address4          City              State Zip

JEROME MCNEMAR                                  RR 5 BOX 185                                                                                           MIFFLINTOWN       PA    17059‐9407
JEROME MIDDLEBROOKS                             173 ONEIDA ST                                                                                          PONTIAC           MI    48341‐1628
JEROME MITCHELL DAVID                           35246 WEIDEMAN ST                                                                                      CLINTON TWP       MI    48035
JEROME MODICA                                   222 PENNSYLVANIA                                                                                       BUFFALO           NY    14201‐1746
JEROME MOORE CUST JOHN ROBERT MOORE UTMA TN     6704 WALNUT HILLS DR                                                                                   BRENTWOOD         TN    37027‐7801

JEROME MOTALA TR THE STEPHANIE M KRUGER TRUST   212 REDWOOD DR                                                                                         NORTH SYRACUSE    NY    13212‐2613
UA 10/29/03
JEROME N THELEN                                 10960 PRICE RD                                                                                         FOWLER            MI    48835‐9221
JEROME NOBLE                                    4022 ROBINSON‐VAIL ROAD                                                                                FRANKLIN          OH    45005‐4749
JEROME O NEALON                                 114 BAMBI LN                                                                                           MADISON           AL    35758‐6808
JEROME O NRIAGU                                 1845 WILTSHIRE DR                                                                                      ANN ARBOR         MI    48103‐6036
JEROME O OUPER                                  6510 W FAIRFIELD AVE                                                                                   BERWYN            IL    60402‐3539
JEROME O OUPER & JULIA R OUPER JT TEN           6510 W FAIRFIELD AVE                                                                                   BERWYN            IL    60402‐3539
JEROME O SCHROEDER                              70119 MILL CREEK                                                                                       ROMEO             MI    48065‐4253
JEROME O'SULLIVAN                               2008 HAVERFORD COURT                                                                                   FREEHOLD          NJ    07728
JEROME OCONNOR & MAUREEN OCONNOR JT TEN         4 ELYSE DRIVE                                                                                          NEW CITY          NY    10956‐3308

JEROME ORLICK                                   739 SUBSTATION RD                                                                                      BRUNSWICK          OH   44212‐1901
JEROME P GRABOWSKI                              1843 KINGS HWY                                                                                         LINCOLN PARK       MI   48146‐3879
JEROME P KARLE                                  2609 WESTWOOD PKWY                                                                                     FLINT              MI   48503‐4667
JEROME P MADDEN                                 399 N HOSPITAL RD                                                                                      WATERFORD          MI   48327‐1573
JEROME P ROSELLE                                908 DAMIAN ST                                                                                          VANDALIA           OH   45377‐1116
JEROME P SHEA                                   6609 VILLA RD                                                                                          DALLAS             TX   75252‐2417
JEROME PONDER                                   ATTN DOROTHY LEE PONDER              SUCCESSOR CONSERVATOR   1125 BURLINGTON DRIVE                     FLINT              MI   48503‐2928
JEROME R BIALKE                                 3124 S WAVERLY RD                                                                                      EATON RAPIDS       MI   48827‐9738
JEROME R BOCKES                                 911 N MICHIGAN RD                                                                                      EATON RAPIDS       MI   48827‐9226
JEROME R CSIRE                                  5606 MERKLE AVE                                                                                        PARMA              OH   44129‐1511
JEROME R HARRIS                                 7637 CASTLETON PL                                                                                      CINCINNATI         OH   45237‐2635
JEROME R HNILO                                  4540 DOWS PRAIRIE RD                                                                                   MCKINLEYVILLE      CA   95519‐9490
JEROME R JANKOWIAK                              22501 HANSON COURT                                                                                     SAINT CLAIR SHORES MI   48080‐4024

JEROME R KELLEY                                 11 BAKER COURT                                                                                         TROTWOOD          OH    45426‐3001
JEROME R KOZLOWSKI & LUCYANN H KOZLOWSKI JT TEN 2726 BEBELL RD                                                                                         GRAND ISLAND      NY    14072‐1158

JEROME R PATTERSON JR                           424 JENNINGS ST                                                                                        BEVERLY           NJ    08010‐3540
JEROME R RUPP & MRS THERESA A RUPP JT TEN       212 DUNDAFF ST                                                                                         CARBONDALE        PA    18407‐1515
JEROME R SABBIA & MRS MADELINE H SABBIA TEN COM 552 WINDMERE CIRCLE                                                                                    PRESCOTT          AZ    86303‐5798

JEROME R SANTOS                                 PO BOX 516                                                                                             DORCHESTER        MA    02124‐0005
JEROME R SCHULTZ                                35854 WINDRIDGE DR                                                                                     NEW BALTIMORE     MI    48047‐5853
JEROME R STOCKING & SUZANNE P STOCKING JT TEN   1858 KENMORE                                                                                           GROSSE POINTE     MI    48236‐1982
                                                                                                                                                       WOOD
JEROME R STRATTON                               APT 546                              5820 S WINDERMERE ST                                              LITTLETON         CO    80120‐2152
JEROME R TICKNOR CUST TERRI LYNN TICKNOR UGMA   4383 CHAD COURT                                                                                        ANN ARBOR         MI    48103‐9478
MI
JEROME R VERSCHAEVE                             52171 SAWMILL CREEK DR                                                                                 MACOMB            MI    48042‐5690
JEROME R WILLIAMSON                             1417 SAINT ANTHONY PKWY                                                                                MINNEAPOLIS       MN    55418‐2266
JEROME REISS                                    2800 S OCEAN BLVD                    APT 23B                                                           BOCA RATON        FL    33432
JEROME ROSEN CUST JOSHUA ROSEN UTMA NY          58 COLGATE DR                                                                                          PLAINVIEW         NY    11803‐1804
JEROME S ALTMAN                                 4666 CHANDLER RD                                                                                       SHOREVIEW         MN    55126‐6025
JEROME S BYERS & SHIRLEY ANN BYERS TEN ENT      2 MAYFLOWER DR                                                                                         UNIONTOWN         PA    15401‐5224
JEROME S COLLINS                                2941 VAN AKEN BLVD                   APT 10                                                            CLEVELAND         OH    44120‐2242
JEROME S ENGEL & MRS GLORIA ENGEL JT TEN        27 CLIVE HILLS RD                                                                                      EDISON            NJ    08820‐3657
JEROME S HARRIS                                 21961 LYON TRAIL N                                                                                     S LYON            MI    48178
JEROME S OCHMANSKI                              6751 DEERHURST DR                                                                                      WESTLAND          MI    48185‐6976
JEROME S POST                                   3730 GAINESBOROUGH DR                                                                                  LAKE ORION        MI    48359‐1617
JEROME S SYTEK                                  12024 S ROGER RD                                                                                       POSEN             MI    49776‐9421
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 19 of 855
Name                                             Address1                              Address2              Address3          Address4          City            State Zip

JEROME S WALTER                                  228 HARRISON AVE                                                                                TN OF TONAWANDA NY    14223‐1609

JEROME SCHNALL                                   5420 CONNECTICUT AVE NW               APT 316                                                   WASHINGTON       DC   20015‐2813
JEROME SHEITELMAN                                62 DRYDEN RD                                                                                    BASKING RIDGE    NJ   07920‐1946
JEROME SMITH                                     156 MARYLAND DR                                                                                 O FALLON         MO   63366‐1161
JEROME SMITH                                     156 MARYLAND DR                                                                                 O FALLON         MO   63366‐1161
JEROME SPECTOR                                   33 BRIMSTONE MT RD                                                                              CHESTER          NY   10918
JEROME SPITZER                                   21 WAYNE DRIVE                                                                                  PLAINVIEW        NY   11803‐4817
JEROME STALLWORTH                                4258 S PRINCETON AVE 2ND FLR                                                                    CHICAGO          IL   60609‐2830
JEROME STANLEY CULIK                             2219 BUCK RUB DRIVE                                                                             NOTTINGHAM       PA   19362‐9107
JEROME STEPHEN MEHLER & MRS KAREN MEHLER JT      28888 APPLE BLOSSOM LANE                                                                        FARMINGTON HILLS MI   48331‐2413
TEN
JEROME T BALLARD                                 11095 STONEY BROOK DR                                                                           GRAND LEDGE     MI    48837‐9185
JEROME T CORR & CARMEN CORR JT TEN               11931 SE 91ST CIRCLE                                                                            SUMMERFIELD     FL    34491‐1616
JEROME T DELANEY                                 108 WARDLAW ST                                                                                  GREENVILLE      SC    29601‐2518
JEROME T FIELDS                                  1345 RANSOM RD                        APT 3                                                     GRAND ISLAND    NY    14072‐1438
JEROME T HOLDEREAD                               1622 W PARKVIEW DR                                                                              MARION          IN    46952‐1429
JEROME T LARSON                                  2210 FAWKS LANE                                                                                 ROANOKE         TX    76262‐9040
JEROME T NIEMCZEWSKI                             29840 NORMA DRIVE                                                                               WARREN          MI    48093‐3592
JEROME T NOARK                                   950 NANCY AVE                                                                                   NILES           OH    44446‐2732
JEROME V CROSSON                                 3468 BEDFORD                                                                                    DETROIT         MI    48224‐3615
JEROME V POYNTON                                 45 5TH AVE APT 3A                                                                               NEW YORK        NY    10003‐4321
JEROME V SWEENEY 2ND & MRS MARY S SWEENEY JT     171 MILK ST                                                                                     BOSTON          MA    02109‐4323
TEN
JEROME W BALLARD                                 10275 BENTON                                                                                    GRAND LEDGE     MI    48837‐9727
JEROME W BEATTIE                                 5732 EXETER COURT                                                                               ALTA LOMA       CA    91701‐1856
JEROME W BOLICK                                  BOX 307                                                                                         CONOVER         NC    28613‐0307
JEROME W GUERIN                                  224 E 18TH STREET                                                                               COSTA MESA      CA    92627‐3105
JEROME W JERSON                                  13012 KINGSTON WAY                                                                              N ROYALTON      OH    44133‐5971
JEROME W SERBEL                                  2318 BEARS DEN ROAD                                                                             YOUNGSTOWN      OH    44511‐1304
JEROME W WILLIAMS                                7506 S SANGAMON AVENUE                                                                          CHICAGO         IL    60620‐2848
JEROME W ZORACKI & JEROME J ZORACKI JT TEN       302 GRAFT ST                                                                                    EVERSON         PA    15631
JEROME WALTON                                    7916 ST PAUL                                                                                    DETROIT         MI    48214‐2446
JEROME WEISS                                     26 DIAMOND GATE                                                                                 ALISO VIEJO     CA    92656‐1910
JEROME WELLS                                     1750 SHILOH RD NW                     APT 1420                                                  KENNESAW        GA    30144‐6455
JEROME WHITEN                                    209 N JUNCTION                                                                                  DETROIT         MI    48209‐3158
JEROME WILLIAMS & TAMMY S WILLIAMS TEN COM       408 S MONTGOMERY AVE                                                                            DELAND          FL    32720

JEROME ZAHARA & MRS LILLIAN ZAHARA JT TEN        4501 N FORESTVIEW                                                                               CHICAGO         IL    60656‐4130
JEROME ZUBA                                      2375 N 147TH ST                                                                                 BROOKFIELD      WI    53005‐4501
JEROMETTA I BUTLER                               3800 BAYHAN                                                                                     INKSTER         MI    48141‐3243
JERON C DRAGER                                   RR #4 BOX 162                                                                                   CAMERON         MO    64429‐8970
JERONIMO L REYES                                 5417 SOUTH 74TH AVE                                                                             SUMMIT          IL    60501‐1016
JERRALD C ESTES                                  15288 DAYTON RD                                                                                 MONROE          MI    48161‐3730
JERRALD P WHITE                                  MARK WHITE                            2550 NORTH BEECH LN                                       GREENSBORO      NC    27455‐1276
JERRALYN W LUCKMANN                              103 CLAYTON WAY                                                                                 OAK RIDGE       TN    37830
JERRE L JOHNSON                                  1975 ST ANDREWS CIR                                                                             GILROY          CA    95020‐3009
JERRE MALONE                                     2509 JACQUELINE CIR                                                                             MOULRIE         GA    31768‐6739
JERREL D LAMPKIN                                 1400 MANCHESTER                                                                                 SHAWNEE         OK    74804‐2313
JERREL HARLAN MAST                               99 HIBBERT ST                                                                                   ARLINGTON       MA    02476
JERRELL D BROWN                                  1206 RIDGEWOOD CIRCLE                                                                           SOUTHLAKE       TX    76092‐9235
JERRELL MCRAE                                    47232 ASHELY CT                                                                                 CANTON          MI    48187‐1419
JERRI ECHO                                       N 2703 COUNTY RD O                                                                              HAGER CITY      WI    54014
JERRI L BURTON                                   3322 LADING CT                                                                                  WOODBRIDGE      VA    22193
JERRI L NEFF                                     9345 EASTBROOK DR                                                                               MIAMISBURG      OH    45342‐7864
JERRI L SMITH                                    408 N DEERFIELD                                                                                 LANSING         MI    48917‐2986
JERRI LEE STEELE SHUMAN                          1080 WHEATRIDGE RD                                                                              COLBY           KS    67701‐3528
JERRI SUOMINEN WOLDER TR UA 12/12/91 THE JERRI   PO BOX 1163                                                                                     W JORDAN        UT    84084‐7163
SUOMINEN WOLDER TRUST
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 20 of 855
Name                                               Address1                               Address2             Address3           Address4          City             State Zip

JERRIE J EAVES                                     1210 STATE 92 HWY                                                                                EXCLSOR SPRGS    MO    64024‐9711
JERRIE L SMITH & JONATHAN S SMITH JT TEN           4002 VILABELLA DR                                                                                SEBRING          FL    33872‐1554
JERRIET J WOODRUFF                                 1200 BAMFORD DR                                                                                  WATERFORD        MI    48328‐4712
JERRILEANE RHODES                                  3514 TECUMSEH RIVER RD                                                                           LANSING          MI    48906
JERRILYNN J ALLEN TR JERRILYNN J ALLEN TRUST UA    6101 ARDMORE PARK CIR                                                                            DEARBORN HTS     MI    48127‐3927
10/27/97
JERRLYN J JONES                                    4513 MOSS RIDGE LANE                                                                             INDIANAPOLIS     IN    46237‐2916
JERROD E WILLIAMS CUST KEYLEE R WILLIAMS UTMA FL   1528 MARTINEZ DR                                                                                 LADY LAKE        FL    32159

JERROD E WILLIAMS CUST KYLER C WILLIAMS UTMA FL    1528 MARTINEZ DR                                                                                 LADY LAKE        FL    32159

JERROL L MEREDITH                                  687 CONSOLIDATED RD                                                                              EATON            OH    45320
JERROLD D MILLER & BETH A MILLER JT TEN            12444 DANIELLE DR                                                                                SOUTH LYON       MI    48178‐8540
JERROLD D SALEL                                    7522 W VERNALIS RD                                                                               TRACY            CA    95376‐9365
JERROLD D WIERTH                                   PO BOX 1203                                                                                      HIGHLAND         MI    48357‐1203
JERROLD E BRECKO                                   28 TIMBERLANE DR                                                                                 PENNINGTON       NJ    08534‐1403
JERROLD E FERNALD                                  8748 LAKE DR                                                                                     SPRINGPORT       MI    49284
JERROLD E HARNACK                                  2126 S OAKHILL AVE                                                                               JANESVILLE       WI    53546‐9048
JERROLD F GOLDBERG                                 31 WAYNE AVE                                                                                     ATLANTIC BEACH   NY    11509‐1538
JERROLD FRIEDMAN CUST CAITLYN F FRIEDMAN UGMA      68 CHERRY RD                                                                                     ITHACA           NY    14850‐9758
NY
JERROLD GUY H YASHIRO                              46‐355 KUMOO LOOP                                                                                KANEOHE          HI    96744‐3532
JERROLD GUY H YASHIRO                              46‐355 KUMOO LOOP                                                                                KANEOHE          HI    96744‐3532
JERROLD H MAYSTER & JOYCE C MAYSTER JT TEN         2171 TENNYSON                                                                                    HIGHLAND PARK    IL    60035‐1637
JERROLD H SUMNER                                   5810 SAVOY                                                                                       WATERFORD        MI    48327‐2669
JERROLD HIRSCH CUST MURRAY HIRSCH UGMA NY          6201 NW 125TH AVE                                                                                POMPANO BEACH    FL    33076

JERROLD J SEVERT                                   6074 PHILLIPSBURG‐UNION ROAD                                                                     ENGLEWOOD        OH    45322‐9712
JERROLD K MONTGOMERY                               4325 TRAILGATE DR                                                                                INDIANAPOLIS     IN    46268‐1855
JERROLD K SCHNEIDER                                1829 STONEY HILL DR                                                                              HUDSON           OH    44236‐3843
JERROLD L ALBERTSON                                47731 SANDY RIDGE DR                                                                             MACOMB           MI    48044‐5915
JERROLD L ALBERTSON & ADELINE J ALBERTSON JT TEN   47731 SANDY RIDGE DR                                                                             MACOMB           MI    48044‐5915

JERROLD L ESTERLINE                                3445 RIVER SUMMIT TRAIL                                                                          DULUTH           GA    30097‐2273
JERROLD L JONES                                    3920 KELLER RD                                                                                   HOLT             MI    48842‐1824
JERROLD L OAKS & EVELYN L OAKS JT TEN              13112 ROCKDALE RD                                                                                CLEAR SPRING     MD    21722
JERROLD LEE GROSS                                  33 SUNFIELD AVE                                                                                  STATEN ISLAND    NY    10312‐1416
JERROLD M LADAR CUST JEFFREY B LADAR UGMA CA       1111 BAY STREET #206                                                                             SAN FRANCISCO    CA    94123‐2363

JERROLD MACH                                       4413 CANOGA DR                                                                                   WOODLAND HLS     CA    91364
JERROLD P FITZGIBBON & LYNDA J FITZGIBBON JT TEN   655 BARLETT HARBOR                                                                               BEACH            MI    48441‐1343

JERROLD PAUL AQUINO                                2753 PORTER CT                                                                                   GLENVIEW         IL    60025‐1039
JERROLD R WILLIAMS                                 1501 VALENCIA CT                                                                                 CARSON CITY      NV    89703‐2333
JERROLD REDFORD                                    16 GRANITE CT                                                                                    SAN CARLOS       CA    94070‐4306
JERROLD S POLANSKY                                 1656 WILLOW ST                                                                                   SAN DIEGO        CA    92106‐2127
JERROLD W TODD & BONNIE L TODD JT TEN              17700 W COLFAX AVE                                                                               GOLDEN           CO    80401‐5633
JERRY A ALLORE                                     2717 ROBIN DR                                                                                    SAGINAW          MI    48601
JERRY A APTHORPE                                   9342 HORN RD                                                                                     WINDHAM          OH    44288‐1450
JERRY A BADOUR                                     48701 CHERRY HILL ROAD                                                                           CANTON           MI    48188‐1004
JERRY A BARKER CUST KASIE MARIE BARKER UGMA IN     1272 E MARKLE RD                                                                                 HUNTINGTON       IN    46750‐9306

JERRY A BOZAAN                                     40203 VINCENZIA                                                                                  CLINTON TWP      MI    48038‐4085
JERRY A BROWN                                      1421E 600S                                                                                       JONESBORO        IN    46938
JERRY A BURGAN                                     4006 SASSAFRAS DR                                                                                GALION           OH    44833‐9615
JERRY A CALLAHAN                                   52 ALYSSA CT                                                                                     COURTLAND        OH    44410‐1679
JERRY A CARTER                                     519 ENCHANTED HOLLOW DR                                                                          SPRING           TX    77388‐6140
JERRY A CATER                                      1798 TURNER CHURCH ROAD                                                                          MC DONOUGH       GA    30252‐2858
JERRY A DE LAAT                                    7450 SANDY HILL DR                                                                               JENISON          MI    49428‐7774
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 21 of 855
Name                                            Address1                              Address2                   Address3     Address4          City              State Zip

JERRY A DE METRO                                1423 ELROND DR                                                                                  AMELIA            OH    45102‐1877
JERRY A DEHAVEN                                 11631 SOUTH 200 WEST                                                                            KOKOMO            IN    46901‐7523
JERRY A DOWDY JR                                3021 S SUBURBAN AVE                                                                             SPRINGFIELD       MO    65807‐8724
JERRY A ESTEP                                   701 CARNES                                                                                      FENTON            MI    48430‐2901
JERRY A FELTS                                   101 FREDRICK                                                                                    OXFORD            MI    48371‐4741
JERRY A FISHER                                  13094 SANBOURNE S                                                                               OLIVE BRANCH      MS    38654
JERRY A FOERMAN                                 6454 E 100N                                                                                     KOKOMO            IN    46901‐9553
JERRY A FOSTER                                  119 AURIGA                                                                                      LOMPOC            CA    93436‐1215
JERRY A FRANKS                                  3270 CROTON DR                                                                                  NEWAYGO           MI    49337‐9068
JERRY A GOODWIN                                 1607 IRVING                                                                                     SAGINAW           MI    48602‐5107
JERRY A GREENE                                  646 E STEWART                                                                                   FLINT             MI    48505‐5324
JERRY A GROLL & GLORIA J GROLL TEN ENT          5535 ADRIAN                                                                                     SAGINAW           MI    48603‐3660
JERRY A HAMILTON                                8972 TAFT POWELL RD                                                                             FRISCO            TX    75035‐7363
JERRY A HARDEY                                  2411 EVERGREEN RD                                                                               WESTLAKE          LA    70669‐7325
JERRY A HARRIS & MONA L HARRIS TEN ENT          5054 BOONE TRAIL                                                                                HILLSBORO         MO    63050‐3548
JERRY A HAYES                                   21605 S ORE RD                                                                                  PLEASANT HILL     MO    64080‐9172
JERRY A HELMS                                   5736 BLACKLEY LANE                                                                              INDIANPOLIS       IN    46254‐5199
JERRY A HELMS SR                                28863 REVELLS NECK RD                                                                           WESTOER           MD    21871‐3449
JERRY A HOWARD                                  986 EAST WHALEN RD                                                                              MORGANTOWN        KY    42261‐9318
JERRY A JENKINS & KATHRYN E JENKINS JT TEN      1643 SASHABAW RD                                                                                ORTONVILLE        MI    48462‐9163
JERRY A JURACEK                                 6374 RYGATE DR                                                                                  REYNOLDSBURG      OH    43068‐2343
JERRY A KNAPP CUST BRYAN C KNAPP UGMA MI        2325 PLAINFIELD N E                                                                             GRAND RAPIDS      MI    49505‐4250
JERRY A KOON                                    2457 E 50 N                                                                                     KOKOMO            IN    46901‐5721
JERRY A KUHR                                    6413 NORANDA DR                                                                                 DAYTON            OH    45415‐2028
JERRY A LANDERS JR                              4800 GLORE RD                                                                                   MABLETON          GA    30126‐5506
JERRY A LAWHON                                  1453 DESERT GOLD                                                                                BOERNE            TX    78006‐5816
JERRY A LAY                                     3267 US HIGHWAY 224 E                                                                           GREENWICH         OH    44837‐9560
JERRY A LEADABRAND & MRS ANKE B LEADABRAND JT   1440 S LAKE DR                                                                                  WATERTOWN         SD    57201‐5452
TEN
JERRY A LEWIS                                   PO BOX 194                                                                                      RDGVILLE CORS     OH    43555‐0194
JERRY A LONG                                    2338 LINCOLN MANOR DRIVE                                                                        FLINT             MI    48507‐4416
JERRY A LUKANC                                  2635 DELAWARE ST                                                                                WICKLIFFE         OH    44092‐1213
JERRY A LUKANC & NANCY K LUKANC JT TEN          2635 DELAWARE DRIVE                                                                             WICKLIFFE         OH    44092‐1213
JERRY A MC KEE & MRS JOYCE C MC KEE JT TEN      100 STERLING CT                       UNIT 14                                                   ROSEVILLE         CA    95661‐3753
JERRY A MC VEIGH                                504 ASH                                                                                         HOLLY             MI    48442‐1305
JERRY A MCVICKER                                862 COTTAGE AVE                                                                                 WABASH            IN    46992‐1909
JERRY A MUNDELL                                 9560E 600N                                                                                      FOREST            IN    46039‐0094
JERRY A MUSIC                                   1010 THOMPKINS DR                                                                               CEMENT CITY       MI    49233‐9706
JERRY A MYMAN                                   STE 2200                              11601 WILSHIRE BOULEVARD                                  LOS ANGELES       CA    90025‐1758
JERRY A OLGER                                   PO BOX 1294                                                                                     BRIGHTON          MI    48116‐2894
JERRY A PAGEL                                   300 S MILL ST                                                                                   ALBANY            WI    53502
JERRY A PARKS                                   978 STATE ROUTE 503 N                                                                           WEST ALEXANDRIA   OH    45381

JERRY A PECKHAM                                 130 BROOKLAWN DR                                                                                ROCHESTER         NY    14618‐2411
JERRY A POTTS                                   3001 ROCK CREEK CT                                                                              CROWLEY           TX    76036‐5306
JERRY A ROBERTS                                 PO BOX 5402                                                                                     GREENVILLE        SC    29606
JERRY A RYAN                                    13540 MARVIN                                                                                    TAYLOR            MI    48180‐4404
JERRY A SCHAMEL                                 2301 DELAWARE DR                                                                                SAINT CHARLES     MO    63303‐2942
JERRY A SCHULTZ                                 1789 HUNTINGTON RD                                                                              SAGINAW           MI    48601‐5152
JERRY A SIEBENBORN                              1626 W CHRISTINE AVE                                                                            PEORIA            IL    61614‐5732
JERRY A SIWINSKI                                3433 WEST 117TH ST                                                                              MERRIONETT PK     IL    60803
JERRY A SMITH                                   15141 BLACKHOCK DR                                                                              FORT MYERS        FL    33912
JERRY A SOLAK                                   9830 E BIRCH RUN RD                                                                             BIRCH RUN         MI    48415‐9609
JERRY A TIFFANY                                 90 SCHMEICHEL RD                                                                                HILLSDALE         NY    12529‐5523
JERRY A TRUSTY                                  910 WESTWIND SHORE DR                                                                           HOWELL            MI    48843‐6429
JERRY A VARNER                                  G‐4442 VAN SLYKE RD                                                                             FLINT             MI    48507‐3542
JERRY A VICK                                    33568 DUNCAN                                                                                    FRASER            MI    48026‐1961
JERRY A WALDRON                                 6971 CRYSTAL RD                                                                                 CARSON CITY       MI    48811‐9545
JERRY A WILLIAMS                                3269 HUNTERS WAY                                                                                BELLEVILLE        IL    62221‐3435
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 22 of 855
Name                                              Address1                              Address2             Address3           Address4          City            State Zip

JERRY A WITZKE                                    159 STATE PARK DR                                                                               BAY CITY        MI    48706‐2151
JERRY A YOUNT                                     10003 83RD                                                                                      PALOS HILLS     IL    60465
JERRY ALFARO                                      30040 FAIRFAX                                                                                   LIVONIA         MI    48152‐1919
JERRY ANDERSON                                    547 SOUTH CLAIRIDGE DRIVE                                                                       KETTERING       OH    45429‐1555
JERRY ANTL                                        260 ROUND HILL RD                                                                               BRISTOL         CT    06010‐2639
JERRY ARMENTROUT                                  10340 WOOSTER PIKE                                                                              CRESTON         OH    44217‐9514
JERRY B BRADLEY                                   2549 GOLDEN ROAD                                                                                BOWLING GREEN   KY    42104
JERRY B BRADLEY & MARGIE L BRADLEY JT TEN         2549 GOLDEN ROAD                                                                                BOWLING GREEN   KY    42104
JERRY B BURGESS                                   1107 DICKENS COURT                                                                              ARLINGTON       TX    76015‐3506
JERRY B CALLIS                                    2504 CALLIS RD                                                                                  LEBANON         TN    37090‐8220
JERRY B DENNY                                     1227 TONER DR                                                                                   ANDERSON        IN    46012‐1530
JERRY B DOZIER                                    PO BOX 2128                                                                                     ALVIN           TX    77512‐2128
JERRY B HARPER                                    21751 N HORSESHOE ROAD                                                                          EDMOND          OK    73003‐3201
JERRY B HAYNES                                    6047 JERRY LEE DR                                                                               MILFORD         OH    45150‐2212
JERRY B IMBODEN                                   4001 LAKEWOOD DR                                                                                WATERFORD       MI    48329‐3844
JERRY B JORDAN                                    205 ALBERT DR                                                                                   VERNON HILLS    IL    60061‐1601
JERRY B LANE & BELLAMIE MORROW JT TEN             BOX 4235                                                                                        CAMP VERDE      AZ    86322‐4235
JERRY B LEIBRING                                  3077 BIXLER ROAD                                                                                NEWFANE         NY    14108‐9730
JERRY B MCCULLOUGH                                PO BOX 1391                                                                                     EASTLAND        TX    76448‐1391
JERRY B PALMER                                    1385 BERINGER DRIVE                                                                             HOUSTON         GA    30548‐3449
JERRY B PEOPLES                                   298 RICHARD LINDER ROAD                                                                         CALHOUN         LA    71225‐8468
JERRY B ROTH                                      417 AUTUMNWIND DR                                                                               LEBANON         OH    45036‐7748
JERRY B SALMON                                    105 BROOKS BEND                                                                                 BROWNSBURG      IN    46112‐9251
JERRY B STOVER                                    5252 MCEVER RD                                                                                  OAKWOOD         GA    30566‐3112
JERRY B TAINTER CUST JEFFREY ALLEN TAINTER UTMA   39‐18TH ST                                                                                      HERMOSA BEACH   CA    90254‐3427
CA
JERRY B TERRELL                                   10955 PROVIDENCE PIKE                                                                           BROOKVILLE      OH    45309‐9331
JERRY B VANCONANT                                 8094 WEST R AVE                                                                                 KALAMAZOO       MI    49009‐8938
JERRY BAISDEN                                     6315 WILLOWDALE RD                                                                              SPRINGFIELD     OH    45502‐7507
JERRY BATIANIS                                    254 BERKSHIRE DRIVE                                                                             YOUNGSTOWN      OH    44512‐1250
JERRY BECRAFT                                     702 WEST CASINO ROAD                  APT. T201                                                 EVERETT         WA    98204
JERRY BENDER                                      2406 DRIFTWOOD DRIVE                                                                            WILMINGTON      DE    19810‐2849
JERRY BERNARD PORTNOY                             9550 KUHN ROAD                                                                                  JACKSONVILLE    FL    32257‐5631
JERRY BOB BOYDSON                                 2945 BONNEY BRIAR PLACE                                                                         BEAUMONT        TX    77707‐5132
JERRY BOWEN TR JERRY BOWEN LIVING REVOCABLE       11938 SE ESTHER CT                                                                              CLACKAMAS       OR    97015‐6716
TRUST UA 12/27/94
JERRY BROOKS                                      359 WYOMING AVE                                                                                 PAW PAW         IL    61353
JERRY BROWN                                       R#16 BOX 992                                                                                    BEDFORD         IN    47421‐9589
JERRY BURNS                                       295 E 10TH COURT                                                                                HIALEAH         FL    33010
JERRY BUTLER                                      323 HARMON AVE NW                                                                               WARREN          OH    44483‐4806
JERRY C A BERGER                                  671 GOOSE NECK DR                                                                               LITITZ          PA    17543‐8368
JERRY C CHAO                                      1645 BRITTANY OAKS DRIVE NE                                                                     WARREN          OH    44484‐3967
JERRY C COLLINS                                   18216 MILMORE AVE                                                                               CARSON          CA    90746‐1752
JERRY C DAVIS                                     3232 NE 69TH AVE                                                                                PORTLAND        OR    97213‐5228
JERRY C DEBOER                                    8659 PATTERSON                                                                                  CALEDONIA       MI    49316‐7926
JERRY C FARROW                                    10456 TOMKINSON DR                                                                              SCOTTS          MI    49088‐8765
JERRY C HAYES & DIANE MARIE HAYES JT TEN          1837 17TH ST                                                                                    WYANDOTTE       MI    48192‐3623
JERRY C LENHART                                   446 E BORTON RD                                                                                 ESSEXVILLE      MI    48732‐9745
JERRY C MEAD                                      1400 OLD COACH RD                                                                               NEWARK          DE    19711‐7611
JERRY C REEVES                                    3750 E DRAHNER                                                                                  OXFORD          MI    48370‐2514
JERRY C RUEHLE                                    4200 PRIMERO DR                                                                                 BULLHEAD CITY   AZ    86429‐7774
JERRY C SNURR                                     540 S 10TH AVENUE                                                                               BROKEN BOW      NE    68822‐2460
JERRY C WARREN                                    5229 N CLEAR CREEK RD                                                                           OLNEY           IL    62450‐3737
JERRY C WILLIAMS                                  7401 CHICHESTER                                                                                 CANTON TWP      MI    48187‐1440
JERRY C WRIGHT PER REP EST ROY M THOMPSON         3130 CHURCH HILL RD                                                                             AUBURN HILLS    MI    48326
JERRY CAPA                                        43 RED MILL RD                                                                                  BLOOMSBURG      PA    17815‐8320
JERRY CHARCHYSHYN & ANNA CHARCHYSHYN JT TEN       22 KATZMAN RD                                                                                   ELLENVILLE      NY    12428‐5801

JERRY CHARLES DEARTH                              12601 STATE ROUTE 534                                                                           SALEM           OH    44460‐9131
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 23 of 855
Name                                             Address1                              Address2             Address3           Address4          City            State Zip

JERRY CHIN & VERNA CHIN JT TEN                   5075 EL ROBLE COURT                                                                             SAN JOSE        CA    95118‐2321
JERRY CHOMIAK & MRS HAZEL CHOMIAK JT TEN         5609 SAILFISH DR                                                                                LUTZ            FL    33558‐5975
JERRY CINTRON                                    2515 CEDAR AVE                                                                                  WILMINGTON      DE    19808‐3203
JERRY CITRON & DASSI CITRON EST ROSE CITRON      15 BEACH ST                                                                                     MAPLEWOOD       NJ    07040
JERRY CLENDENIN CUST RYAN CLENDENIN UTMA KY      718 BRITTANY TRL                                                                                FLORENCE        KY    41042‐3185

JERRY CZYKALOWSKYJ                               39737 CRYSTAL DRIVE                                                                             STERLING HTS     MI   48310‐2308
JERRY D AVERY                                    1087 HIGHVIEW DR                                                                                LAPEER           MI   48446‐3363
JERRY D BIRKHEAD                                 7165 CAMBRIDGE                                                                                  ST LOUIS         MO   63130‐2303
JERRY D BOLING                                   11401 SEAGOVILLE RD                                                                             MESQUITE         TX   75180‐3215
JERRY D BOWMAN                                   779 LEBANON RD                                                                                  CLARKSVILLE      OH   45113‐9700
JERRY D BROCK                                    C/O MARTHA J BROCK                    BOX 96                                                    CONCORD          AR   72523‐0096
JERRY D BURNS                                    RR 1 BOX 551                                                                                    BUTLER           MO   64730‐9738
JERRY D BURTON                                   10123 E DODGE RD                                                                                OTISVILLE        MI   48463‐9765
JERRY D CARDER                                   3409 N GENESEE RD                                                                               FLINT            MI   48506‐2163
JERRY D CARPER                                   65 N KIRK E DR                                                                                  INDIANAPOLIS     IN   46234‐2738
JERRY D COURTER                                  901 N E 76TH ST                                                                                 GLADSTONE        MO   64118‐2003
JERRY D CRUMP                                    9129 LAKESIDE DR                                                                                PERRINTON        MI   48871‐9639
JERRY D DIETDERICH                               484 PARK DRIVE                                                                                  CLAWSON          MI   48017‐1218
JERRY D DIVINE                                   10207 GILLETTE                                                                                  LENEXA           KS   66215‐1755
JERRY D DUFFEY                                   8333 DANCE DR                                                                                   SHREVEPORT       LA   71129‐9705
JERRY D EGGLESTON                                5796 TREAT HIGHWAY                                                                              ARIAN            MI   49221‐9652
JERRY D ELLIS                                    11181 E LANSING RD                                                                              DURAND           MI   48429‐1824
JERRY D ELLIS                                    4424 DIXON DR                                                                                   SWARTZ CREEK     MI   48473‐8279
JERRY D FEAKES                                   2275 N CABLE RD 211                                                                             LIMA             OH   45807‐1778
JERRY D FEHER                                    4321 W PIUTE DR                                                                                 BEVERLY HILLS    FL   34465‐4814
JERRY D FENDERSON                                4013 VIA MIRADA                                                                                 SARASOTA         FL   34238‐2749
JERRY D FINE                                     2534 AVENUE A                         APT 12                                                    FORT MADISON     IA   52627‐2248
JERRY D FREDERICKSON                             1181 W SOLON RD                                                                                 DEWITT           MI   48820‐8655
JERRY D GARRETT                                  1807 W MADISON ST                                                                               KOKOMO           IN   46901‐1829
JERRY D GAYNOR                                   528 W 7TH ST                                                                                    CANNELTON        IN   47520
JERRY D GRAY                                     1611 W LAVENDER LANE                                                                            ARLINGTON        TX   76013‐4906
JERRY D GWYN                                     18714 SKYLINE ST                                                                                ROSEVILLE        MI   48066‐1321
JERRY D HEFLIN                                   23718 FAIRWAY DR WEST                                                                           WOODHAVEN        MI   48183‐3168
JERRY D HICKS                                    1629 N PARSELL CIRCLE                                                                           MESA             AZ   85203‐2698
JERRY D HOWARD                                   585 FOURTH ST                                                                                   PONTIAC          MI   48055
JERRY D HURD                                     1321 LARREL LN                                                                                  WEST MILTON      OH   45383‐1153
JERRY D HURLBUT                                  229 WOOD DUCK LOOP                                                                              MOORESVILLE      NC   28117‐8136
JERRY D HURLEY                                   26318 SIMS                                                                                      DEARBORN HEIGHTS MI   48127‐4123

JERRY D JACKSON                                  112 WEST LINE                                                                                   AZLE            TX    76020‐2354
JERRY D JACKSON                                  10782 NW VV HWY                                                                                 STEWARTSVILLE   MO    64490‐0165
JERRY D JOHNSON                                  4328 DOGWOOD TRACE                                                                              DECATUR         GA    30034‐6236
JERRY D JONES                                    543 MOUNT NEBO RD                                                                               FALKVILLE       AL    35622‐5319
JERRY D KAISER                                   PO BOX 491                                                                                      MANCHESTER      TN    37349‐0491
JERRY D KNOTTS                                   8117 SEYMOUR RD                                                                                 GAINES          MI    48436‐9798
JERRY D LAWSON                                   721 STERLING                                                                                    PONTIAC         MI    48340‐3173
JERRY D LEDFORD                                  121 CAMERON DR                                                                                  BATTLE CREEK    MI    49015‐2027
JERRY D LEMMER & LOLA M LEMMER JT TEN            10923 HACKETT RD                                                                                FREELAND        MI    48623‐9738
JERRY D LOHMEYER                                 845 WATERSHED DR                                                                                ANN ARBOR       MI    48105‐2574
JERRY D LOPOSSA                                  50 BAILLIERE DR                                                                                 MARTINSVILLE    IN    46151‐1303
JERRY D LOVELESS                                 7962 MIDDLETON‐GERMANTOWN RD                                                                    GERMANTOWN      OH    45327‐9610
JERRY D MAXSON                                   5111‐34 AV                                                                                      MOLINE          IL    61265
JERRY D MCELFRESH                                1537 HORLACHER                                                                                  KETTERING       OH    45420‐3232
JERRY D MEISSINGER                               1517 SHEARER CIRCLE                                                                             MOORE           OK    73160‐6137
JERRY D MORRIS JR                                2147 S ETHEL                                                                                    DETROIT         MI    48217‐1654
JERRY D NOYES                                    207 SOUTH ALLAN ST                                                                              BERNIE          MO    63822‐9418
JERRY D ORLUCK TOD SHARON L BLAQUIERE & MARK A   5049 LAKESHORE #11                                                                              LEXINGTON       MI    48450
ORLUCK
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 24 of 855
Name                                            Address1                              Address2             Address3           Address4          City            State Zip

JERRY D PARKER                                  6207 EVERETT                                                                                    KANSAS CITY     KS    66102‐1347
JERRY D PETERS                                  3681 KINSINGER RD                                                                               HAMILTON        OH    45013‐9711
JERRY D PETERS JR                               23 TRAPPER WAY                                                                                  BOWLING GREEN   KY    42103‐7035
JERRY D PHILLIPS                                4089 MILL LK RD                                                                                 LAKE ORION      MI    48360‐1542
JERRY D PITTMAN                                 5030 STONEHENGE DR                                                                              OAKLAND TWNSP   MI    48306‐2652
JERRY D POMEROY                                 445 QUAIL TRL                                                                                   INDIAN RIVER    MI    49749‐9566
JERRY D RANDOLPH                                2904 NEBRASKA AVE                                                                               TOLEDO          OH    43607‐3123
JERRY D RICH                                    2954 W FITCH AVE                                                                                CHICAGO         IL    60645‐2936
JERRY D ROBBINS                                 6259 EAST 91 NORTH                                                                              AVON            IN    46123
JERRY D ROSE                                    4880 RIVER ROAD                                                                                 HOUGHTON LAKE   MI    48629‐9675
JERRY D RUSOW                                   RR 2                                  BOX 175                                                   ADRIAN          MO    64720‐9565
JERRY D SCOTT                                   128 E S B                                                                                       GAS CITY        IN    46933‐1713
JERRY D SHRIEVES                                723 SHENANDOAH DR                                                                               COLUMBIA        TN    38401‐6120
JERRY D SIDES                                   7308 RIVIERA DR                                                                                 FORT WORTH      TX    76180‐8214
JERRY D SMITH                                   2330 E LAKE                                                                                     CLIO            MI    48420‐9147
JERRY D SNYDER                                  8670 OAKES RD                                                                                   ARCANUM         OH    45304‐9610
JERRY D SQUARE                                  4490 COUNTY RD O N                                                                              DELAVAN         WI    53115
JERRY D STACY                                   7003 MAPLE WOOD                                                                                 TEMPERANCE      MI    48182‐1328
JERRY D STEWART                                 39622 ROAD 612                                                                                  RAYMOND         CA    93653
JERRY D STRICKLAND                              1302 GARTH AVE SW                                                                               DECATUR         AL    35601‐3634
JERRY D THACKER                                 PO BOX 963                                                                                      MORIARTY        NM    87035‐0963
JERRY D THOMAS                                  3619 MAIN STREET                                                                                ANDERSON        IN    46013‐4247
JERRY D THOMPSON                                2491 BRONAIRE DR                                                                                MANSFIELD       OH    44905
JERRY D THRONE                                  3266 UPTON AVE                                                                                  TOLEDO          OH    43613‐5161
JERRY D TIBBETT                                 3711 S 280 W                                                                                    KINGMAN         IN    47952‐8098
JERRY D TURNER                                  2705 CHEYENNE WAY                                                                               NORMAN          OK    73071‐6826
JERRY D WEAVER JR                               8641 S COUNTY ROAD 825 E                                                                        PLAINFIELD      IN    46168‐9136
JERRY D WILLMON                                 7127 BACK FORTY COURT                                                                           GRANBURY        TX    76049‐6407
JERRY D WISE                                    1152 BARD ROAD                                                                                  GLADWIN         MI    48624
JERRY D WOODS JR                                PO BOX 28                                                                                       NOCONA          TX    76255‐0028
JERRY D WRIGHT                                  2209 ATWOOD DR                                                                                  ANDERSON        IN    46016‐2740
JERRY DALE ALFORD                               2147 S 380 EAST                                                                                 ANDERSON        IN    46017‐9727
JERRY DALE MC CLANAHAN & BRENDA MC CLANAHAN     8867 STEWARDS FERRY PIKE                                                                        MT JULIET       TN    37122‐7109
JT TEN
JERRY DALE WELLS                                650 HALL ST                                                                                     FLINT           MI    48503‐2681
JERRY DAVID GRAY                                1611 W LAVENDER LANE                                                                            ARLINGTON       TX    76013‐4906
JERRY DEBORD                                    PO BOX 276                                                                                      TIPP CITY       OH    45371‐0276
JERRY DEGLER                                    7254 ELDRED                                                                                     ROCKFORD        MI    49341‐8541
JERRY DENNIS DROBEK                             29216 NOTTINGHAM CIRCLE W                                                                       WARREN          MI    48092‐4228
JERRY DI PRIZIO CUST GERARD MICHAEL DI PRIZIO   48 HAMMERSMITH DR                                                                               SAUGUS          MA    01906
UGMA MA
JERRY DONALD BARNETT                            2907 W 133RD ST                                                                                 GARDENA         CA    90249‐1518
JERRY DONALD GILLUM                             330 W FORT MORGAN RD                  APT 5B                                                    GULF SHORES     AL    36542‐4430
JERRY DONELSON                                  3402 N COLUMBIA CIRCLE                                                                          SPOKANE         WA    99205‐3944
JERRY E ANDERSON                                8065 S COUNTY ROAD 100W                                                                         CLAYTON         IN    46118‐9241
JERRY E ANDERSON & DOLLYNE B ANDERSON JT TEN    2905 ATWOOD ROAD                                                                                WINSTON‐SALEM   NC    27103‐5475

JERRY E BATEMAN                                 7545 E 750 N                                                                                    HOWE            IN    46746‐9224
JERRY E BAUER                                   1142 PINE CT                                                                                    CHILLICOTHE     IL    61523‐1326
JERRY E BISHOP                                  3641 SUWANEE CREEK CT                                                                           SUWANEE         GA    30024‐3752
JERRY E BLAKE                                   13710 EAST U AVENUE                                                                             VICKSBURG       MI    49097‐9581
JERRY E BOGUE                                   1434W 900N                                                                                      ALEXANDRIA      IN    46001‐8360
JERRY E BRASIER                                 4625 SOUTHERN BLVD                                                                              DAYTON          OH    45429‐1119
JERRY E BROCK                                   587 ROOSEVELT AVE                                                                               MOUNT MORRIS    MI    48458‐1526
JERRY E CONNORS                                 3080 WHITE LAKE RD                                                                              HIGHLAND        MI    48356‐1406
JERRY E COOKSY                                  PO BOX 591                                                                                      DAVISON         MI    48423‐0591
JERRY E CRESAP                                  113 LOWE CIR                                                                                    CLINTON         MS    39056‐5714
JERRY E DAVIS & FLORINE M DAVIS JT TEN          8409 KATHERINE                                                                                  TAYLOR          MI    48180‐2813
JERRY E DURANT                                  4622 E 600 N                                                                                    ALEXANDRIA      IN    46001‐8700
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 25 of 855
Name                                             Address1                              Address2              Address3          Address4          City              State Zip

JERRY E ELLIS                                    5628 S MILL RD                                                                                  SPICELAND         IN    47385‐9753
JERRY E EVANS                                    2637 S UNION RD                                                                                 MEDWAY            OH    45341‐9750
JERRY E HOWARD                                   6381 HAVEN DR                                                                                   GRAND BLANC       MI    48439‐9718
JERRY E HULLINGER                                2205 GARFIELD                                                                                   KANSAS CITY       KS    66104‐4822
JERRY E HUTSON                                   305 CHURCH P O BOX 255                                                                          FRANKTON          IN    46044‐0255
JERRY E JESELINK                                 800 SPELL ST                          LOT 15                                                    WEST MONROE       LA    71292‐6267
JERRY E JOHNSON                                  PO BOX 8634                                                                                     TARRYTOWN         NY    10591‐8634
JERRY E KAY                                      1613 STIRLING                                                                                   LANSING           MI    48910‐1313
JERRY E KING                                     6603 PIMLICO DR                                                                                 DALLAS            TX    75214‐1653
JERRY E LAFNEAR                                  97 E STRATHMORE AVE                                                                             PONTIAC           MI    48340‐2767
JERRY E MACK                                     580 BLUE MEADOW DR                                                                              GREENWOOD         IN    46143‐7760
JERRY E MASSINGILL                               140 REDBUD DR                                                                                   SPRINGBORO        OH    45066‐1220
JERRY E MC NEELY                                 4901 DEMPSEY DR                                                                                 CHARLESTON        WV    25313‐2001
JERRY E MULLINS                                  14021 UNADILLA RD                                                                               GREGORY           MI    48137‐9715
JERRY E NELSON                                   612 S MCCANN ST                                                                                 KOKOMO            IN    46901‐6322
JERRY E NORTH                                    9917 VALLEY PINES DR                                                                            FOLSOM            CA    95630‐1935
JERRY E PECK                                     4106 ADA CREEK DR                                                                               GAINESVILLE       GA    30506‐2625
JERRY E POOR & SONYA POOR JT TEN                 1140 CAPRI COURT                                                                                POWDER SPRINGS    GA    30127‐1102

JERRY E POWELL                                   18701 S 4470 RD                                                                                 AFTON             OK    74331
JERRY E RAY                                      171 CLEAR CREEK RD NW                                                                           ADAIRSVILLE       GA    30103‐5929
JERRY E ROYSTON                                  R2                                                                                              VERMONTVILLE      MI    49096‐9802
JERRY E SALMON                                   516 MILLER CT                                                                                   JANESVILLE        WI    53545‐2709
JERRY E SANDERS                                  1742 PHARRS RD                                                                                  SNELLVILLE        GA    30078‐2142
JERRY E SCHIELTZ & DIANNA L SCHIELTZ JT TEN      229 TETBURY RD                                                                                  TROY              OH    45373‐2663
JERRY E SIMPSON                                  1410 ASHLAND                                                                                    DETROIT           MI    48215‐2857
JERRY E TEEPLES                                  3335 IVORY ROAD                                                                                 METAMORA          MI    48455‐9742
JERRY E TODD                                     2411 TWIN OAKS DR                                                                               HARRISONVILLE     MO    64701‐2900
JERRY E WHITE                                    3210 GAULT RD                                                                                   NORTH JACKSON     OH    44451‐9711
JERRY E WORLEY                                   PMB 3823                              3700 S WESTPORT AVE                                       SIOUX FALLS       SD    57106‐6360
JERRY ECONOMO                                    16577 MIDDLEBELT                                                                                LIVONIA           MI    48154‐3337
JERRY EDWARD RHEA                                118 JACKSON ST                                                                                  SPRING HILL       TN    37174‐2646
JERRY F BALES                                    PO BOX 115                                                                                      BLOOMINGTON       IN    47402‐0115
JERRY F CRIMMINS & PATRICK J CRIMMINS JT TEN     8009 SUMMERDALE                                                                                 CHICAGO           IL    60656
JERRY F FOSKEY                                   3 BALSAM ROAD                                                                                   WILMINGTON        DE    19804‐2642
JERRY F HARDY                                    7205 PEA RIDGE RD                                                                               GAINESVILLE       GA    30506‐6135
JERRY F HONEYSUCKLE                              14741 HIGHWAY 60                                                                                CABOOL            MO    65689‐9771
JERRY F JACKSON                                  7418 CAMPFIRE RUN                                                                               INDIANAPOLIS      IN    46236‐9260
JERRY F JACKSON & SHERRY K JACKSON JT TEN        7418 CAMPFIRE RUN                                                                               INDIANAPOLIS      IN    46236‐9260
JERRY F JURASEK & JERRY J JURASEK JT TEN         3628 SANDY CREEK DR                                                                             SHELBY TWP        MI    48316‐3960
JERRY F JURASEK JR                               3628 SANDY CREEK DR                                                                             SHELBY TWP        MI    48516‐3960
JERRY F MALONE                                   RT 1 BOX 4260                                                                                   BOSWELL           OK    74727‐9754
JERRY F MANGAS                                   28657 ST RT 281                                                                                 DEFIANCE          OH    43512‐6938
JERRY F NOLES                                    1051 PARSON'S GREEN DRIVE                                                                       POWDER SPRINGS    GA    30127

JERRY F PATTERSON                                PO BOX 42                             HUFFUM                                                    HUFFMAN           TX    77336
JERRY F RIGDON & MRS SHERIDA ANN RIGDON JT TEN   5221 90TH                                                                                       LUBBOCK           TX    79424‐4345

JERRY F STEHLIK                                  8220 W MAIN RD                                                                                  OVID              MI    48866
JERRY F WITZKE                                   1260 E HUGHES LAKE RD                                                                           ROSE CITY         MI    48654‐9622
JERRY FARMER                                     101‐31 222ND ST                                                                                 QUEENS VILLAG     NY    11429‐1661
JERRY FERRETTI TOD CHRISTINE F ABBATE            3718 TEESIDE DR                                                                                 NEW PORT RICHEY   FL    34655‐1967

JERRY FLOWERS                                    649 N AVANT LANE                                                                                MEMPHIS           TN    38105‐4903
JERRY FRANK KUKULIS                              15060 CORUNNA RD                                                                                CHESANING         MI    48616‐9491
JERRY FREGOSO                                    1010 SO 9TH ST                                                                                  SAN JOSE          CA    95112‐2472
JERRY FUESS & KATIE N FUESS JT TEN               2819 N FILLMORE ST                                                                              LITTLE ROCK       AR    72207‐2810
JERRY G BOETTCHER & BARBARA J BOETTCHER JT TEN   5215 HANSEN DR                                                                                  SWARTZ CREEK      MI    48473‐8221
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 26 of 855
Name                                              Address1                             Address2               Address3         Address4          City             State Zip

JERRY G BUCHHOLZ                                  8211 SINNING DR                                                                                MOUNTAIN GROVE MO      65711‐2390

JERRY G FERGUSON                                  9000 W 115TH TERRACE                                                                           OVERLAND PARK    KS    66210‐1743
JERRY G GELLING                                   2604 BRIANHOLLY DR                                                                             VALRICO          FL    33596‐5756
JERRY G HUGHES SR & LORETTA A HUGHES JT TEN       1106 16TH ST                                                                                   ORANGE           TX    77630‐3606
JERRY G JAMES                                     HB GRAHAM RD                                                                                   BOWLING GREEN    KY    42103
JERRY G LAWRENCE                                  2990 N LAKESHORE DR                                                                            PORT HOPE        MI    48468‐9368
JERRY G LONG                                      24474 COPELAND RD                                                                              ATHENS           AL    35613‐5324
JERRY G MARTIN & JEAN C MARTIN TR MARTIN FAMILY   4100 DOVER RD                                                                                  LA CANADA        CA    91011‐4005
TRUST UA 6/10/98
JERRY G MAZAT                                     2129 RIDGE                                                                                     WHITE LAKE       MI    48383‐1742
JERRY G MC GLAUGHLIN                              1218 NW 450TH RD                                                                               HOLDEN           MO    64040‐9383
JERRY G NELSON                                    57 W MURPHY LK RD                                                                              MAYVILLE         MI    48744‐9537
JERRY G OGG                                       311 E BARNES RD                                                                                FOSTORIA         MI    48435‐9654
JERRY G PERRY                                     872 POMP RD                                                                                    WEST LIBERTY     KY    41472‐9689
JERRY G PRUCHA                                    8565 ALBION RD                                                                                 N ROYALTON       OH    44133‐1728
JERRY G ROSE                                      2068 FALLON RD                                                                                 LEXINGTON        KY    40504‐3008
JERRY G STEWART                                   771 W 500N                                                                                     SHELBYVILLE      IN    46176‐9734
JERRY G WALLINGFORD                               14231 SANTA RITA                                                                               HELOTES          TX    78023
JERRY G WEIDE                                     103 WATERLY ST                                                                                 WATERFORD        MI    48328‐3951
JERRY G WERN                                      5357 SASHABAW RD                                                                               CLARKSTON        MI    48346‐3872
JERRY G WILLIAMS                                  6445 MAYFAIR                                                                                   TAYLOR           MI    48180‐1940
JERRY GARLAND                                     7987 PINCKNEY ROAD                                                                             PINCKNEY         MI    48169‐8552
JERRY GARLAND & KATHY L GARLAND JT TEN            7987 PINCKNEY RD                                                                               PINCKNEY         MI    48169‐8552
JERRY GERCZAK                                     4762 CECIL                                                                                     DETROIT          MI    48210‐2236
JERRY GLASSCO                                     124 ROCKWOOD DR                                                                                BEDFORD          IN    47421‐6415
JERRY GOLDBERG & MRS LORRAINE GOLDBERG JT TEN     APT 1846                             16400 COLLINS AVE                                         NORTH MIAMI      FL    33160‐4566
                                                                                                                                                 BEACH
JERRY GRANTLAND RICE                              6521 SE TAYLOR RD                                                                              BLUE SPRINGS     MO    64014‐6409
JERRY GRIFFITH                                    4580 ST RTE 97                                                                                 MAYFIELD         KY    42066
JERRY GUICE                                       507 CATALPA AVE                                                                                LIMA             OH    45804‐2023
JERRY H ADAMS                                     7513 CARLISLE WAY                                                                              GOLETA           CA    93117‐1941
JERRY H BLACKMON                                  12642 BAY TREE DR                                                                              FLORISSANT       MO    63033‐4740
JERRY H MEADOR                                    PO BOX 305                                                                                     FLATWOODS        WV    26621‐0305
JERRY H THOMAS SR                                 75 ELM RD                                                                                      EMPORIA          VA    23847‐7231
JERRY HAMMER                                      7402 E 64TH ST S                                                                               NEWTON           IA    50208
JERRY HARRIS                                      PO BOX 50152                                                                                   AMARILLO         TX    79159‐0152
JERRY HENSON                                      7158 SAGINAW DR                                                                                KALAMAZOO        MI    49048‐9546
JERRY HERBERT HOUCK                               3920 S 2900 E                                                                                  SALT LAKE CITY   UT    84124‐2051
JERRY HOVAS & MRS HELEN B HOVAS JT TEN            14331 HIGHWAY 82                                                                               GREENWOOD        MS    38930‐7062
JERRY HUBBS GUARDIAN FOR GLADYS C ALBERTS         C/O JERRY HUBBS                      1410 PARK MEADOW WAY                                      BEECH GROVE      IN    46107‐1970
JERRY HUBER                                       2563 JEFERSON RIVER RD                                                                         JEFFERSON        GA    30549‐3863
JERRY HULSEY                                      4208 JIM HOOD RD                                                                               GAINESVILLE      GA    30506‐2824
JERRY HUNTER                                      2777 EAST 126TH STREET                                                                         CLEVELAND        OH    44120‐2136
JERRY HUTTON                                      1189 YC RD LL 5                                                                                BURLINGTON       CO    80807
JERRY I ROBERSON                                  1016 TANNEV RD                                                                                 DANVILLE         AL    35619
JERRY J ALTENBERNT                                1923 ROLLING MEADOWS                                                                           PINCKNEY         MI    48169‐9126
JERRY J ANDREWS                                   86 SUNSET BLVD                                                                                 CRYSTAL          MI    48818‐9664
JERRY J BLAKE                                     133 PASSAIC AVE                      #A                                                        LOCKPORT         NY    14094‐2038
JERRY J BOETTCHER                                 26817 FOREST HILLS ST                                                                          LEESBURG         FL    34748‐7718
JERRY J BRCIK                                     13004 W RING ROAD                                                                              ST CHARLES       MI    48655‐9517
JERRY J BUKOSKI                                   1069 S IONIA RD                                                                                VERMONVILLE      MI    49096‐9519
JERRY J CLEMMONS                                  1623 COUNTY ROAD 533                                                                           ROGERSVILLE      AL    35652‐4042
JERRY J ESTRADA & JANE ESTRADA JT TEN             13200 CIRCLE N DR E                                                                            HELOTES          TX    78023‐4102
JERRY J ETHRIDGE                                  3526 ARLINGTON CT                                                                              LAPEER           MI    48446‐2801
JERRY J FOOTIT                                    953 W PECK ST                                                                                  WHITEWATER       WI    53190‐1723
JERRY J FRANKLIN                                  4140 BYRUM RD                                                                                  ONONDAGA         MI    49264‐9767
JERRY J FULLER                                    78 BROOKDALE AVE                                                                               ROCHESTER        NY    14619‐2208
JERRY J GOULDING                                  18415 TOLEDO BLADE BLVD NW                                                                     PORT CHARLOTTE   FL    33948‐3338
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 27 of 855
Name                                               Address1                           Address2             Address3           Address4          City             State Zip

JERRY J HART                                       801 VESTAL LANE                                                                              VESTAL           NY    13850‐1712
JERRY J HUGO                                       3114 ENGLUND DR                                                                              BAY CITY         MI    48706‐1262
JERRY J JENNETT                                    BOX 1165                                                                                     VALDOSTA         GA    31603
JERRY J KAISER                                     9163 W 1500 N                                                                                ELWOOD           IN    46036‐8721
JERRY J KALLUS                                     2842 NW S HWY 77                                                                             HALLETTSVILLE    TX    77964
JERRY J KOZDRON                                    16186 APPLEBY LN                                                                             NORTHVILLE TWP   MI    48167‐2320
JERRY J LANZALONE & MRS GLORIA R LANZALONE JT      111 CANTERBURY RD                                                                            MT LAUREL        NJ    08054‐1403
TEN
JERRY J LESAK                                      5804 GILBERT AVE                                                                             LA GRANGE        IL    60525‐3479
JERRY J LONG                                       201 N BROADWAY ST                                                                            HOUSTONIA        MO    65333‐1224
JERRY J MAGIER                                     17449 RAY AVE                                                                                ALLEN PARK       MI    48101‐3409
JERRY J MC ELROY                                   1713 BRIAROAKS DR                                                                            FLOWER MOUND     TX    75028‐3482
JERRY J MEMMER                                     5502 E 300 N                                                                                 FRANKLIN         IN    46131
JERRY J MILLER                                     1129 RED TAIL DR                                                                             VERONA           WI    53593‐7961
JERRY J MUNRO                                      1235 FLORENCE                                                                                WATERFORD        MI    48328‐1215
JERRY J OLIVO                                      40 W FOREST                                                                                  ROSELLE          IL    60172‐2914
JERRY J PALMER                                     3562 CHESTNUT PARK                                                                           CLEVES           OH    45002‐2377
JERRY J PARRISH                                    807 W 54TH ST                                                                                MARION           IN    46953‐5727
JERRY J ROUSSELLE                                  2315 MATTHEW CT                                                                              MONROE           GA    30655‐8466
JERRY J SCALICI                                    13 MIDLAND AVE                                                                               WHITE PLAINS     NY    10606‐2828
JERRY J SHELTON                                    10080 E 500 S                                                                                UPLAND           IN    46989‐9434
JERRY J SOLGAT                                     2292 MAPLE RD                                                                                SAGINAW          MI    48601‐9416
JERRY J STRAIGHT                                   203 VINEYARD DRIVE                                                                           ROCHESTER        NY    14616‐2009
JERRY J SUSTAKOVITCH                               694 WOODBRIER                                                                                SAUTEE           GA    30571‐5105
                                                                                                                                                NACOOCHEE
JERRY J TROUT                                      8668 W‐1600N                                                                                 ELWOOD           IN    46036‐9424
JERRY J WARD                                       10344 DAR LANE                                                                               GOODRICH         MI    48438‐9405
JERRY J ZELEZNOCK & MRS LYNDA R ZELEZNOCK JT TEN   31648 SADDLE LANE                                                                            WESLEY CHAPEL    FL    33543‐4773

JERRY JAGER JR                                     9 EDGEWATER PT                                                                               HATTIESBURG      MS    39402‐6606
JERRY JAMES                                        2226 WELCH BLVD                                                                              FLINT            MI    48504‐2919
JERRY JAMES                                        31026 JOHLKE RD                                                                              MAGNOLIA         TX    77355‐8026
JERRY JAMES WILPER                                 8129 WEST LAUREL LANE                                                                        PEORIA           AZ    85345‐5762
JERRY JOHNSON                                      12615 WADE                                                                                   DETROIT          MI    48213‐1866
JERRY JONES                                        49 OLYMPIC AVE                                                                               BUFFALO          NY    14215‐3215
JERRY JONES & BETTY JONES JT TEN                   16409 CUYAMA WAY                                                                             APPLE VALLEY     CA    92307‐1987
JERRY JOSEPH SMITH                                 1344 FLOTILLA DR                                                                             HOLIDAY          FL    34690‐6467
JERRY JUDY                                         311 GRANDVIEW DR                                                                             HARRISONBURG     VA    22802‐0164
JERRY K BERNER                                     7286 RIDGE ROAD                                                                              LOCKPORT         NY    14094‐9424
JERRY K BETTLE                                     1251 CALLE SERRANO                                                                           GREEN VALLEY     AZ    85614‐1141
JERRY K BLADES                                     418 E LINCOLN ST                                                                             MARION           IN    46952‐2856
JERRY K CARTER                                     61 PERRY ST                                                                                  NEW LEBANON      OH    45345‐1127
JERRY K CAVETTE                                    1609 LIBERTY ST                                                                              FLINT            MI    48503‐4035
JERRY K FRAZIER                                    9508 W LONE BEECH DR                                                                         MUNCIE           IN    47304‐8931
JERRY K GABEHART                                   205 SMITH STREET                                                                             WESTVILLE        IL    61883‐6080
JERRY K HUCKSTEP                                   7227 N LINDEN                                                                                MT MORRIS        MI    48458‐9343
JERRY K MCMULLEN                                   1639 E 17TH ST                                                                               ANDERSON         IN    46016‐2108
JERRY K NEELAND                                    2730 WOBURN ST                                                                               BELLINGHAM       WA    98226‐3820
JERRY K REED                                       7048 SHARP ROAD                                                                              SWARTZ CREEK     MI    48473‐9428
JERRY K SWILLING                                   7579 DEFOOR RD                                                                               TOCCOA           GA    30577‐9806
JERRY K TICE                                       41 M F L                                                                                     PRUDENVILLE      MI    48651
JERRY K WILLIAMS                                   6290 BELVEDERE GREEN BLVD                                                                    DUBLIN           OH    43016‐8582
JERRY KAHILL                                       890 BEVERLY CIRCLE                                                                           LENOIR           NC    28645‐3702
JERRY KALA                                         1523 JOHN PAUL CRT                                                                           OXFORD           MI    48371‐4469
JERRY KEITH WOODS JR & CAROL WOODS JT TEN          2002 PAISLEY DR                                                                              ARLINGTON        TX    76015‐2819
JERRY KORPAL                                       PO BOX 751                                                                                   AU GRES          MI    48703‐0751
JERRY L ALLEN                                      46 BLAIR RD                                                                                  GREENBRIER       AR    72058‐9708
JERRY L ATKISON                                    16703 CHESTNUT OVERLOOK                                                                      PURCELLVILLE     VA    20132‐2874
JERRY L BALES                                      4852 MORTAR CREEK RD                                                                         MONROE           MI    48161‐9538
                                                  09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 28 of 855
Name                                                Address1                            Address2             Address3           Address4          City             State Zip

JERRY L BALLARD                                     3200 SOUTH META                                                                               OKLAHOMA CITY    OK    73119‐1416
JERRY L BARBER                                      31986 N LARKSPUR DR                                                                           QUEEN CREEK      AZ    85243‐5822
JERRY L BARKER                                      3255 FERNWOOD AVE                                                                             ANN ARBOR        MI    48108‐2904
JERRY L BARNETT                                     PO BOX 22                                                                                     LACHINE          MI    49753‐0022
JERRY L BEASLEY                                     PO BOX 315                                                                                    DIMONDALE        MI    48821‐0315
JERRY L BEASLEY                                     4679 SOUTH ST                                                                                 NEWPORT          MI    48166‐9742
JERRY L BENNETT                                     1478 RIDGEWOOD PL                                                                             LAWRENCEVILLE    GA    30043‐3732
JERRY L BENNETT & BETTY F BENNETT JT TEN            199 DRAKESBOROUGH                                                                             BOWLING GREEN    KY    42103‐9746
JERRY L BERRY                                       1220 E JEFFERSON ST                                                                           FRANKLIN         IN    46131‐1920
JERRY L BLACKMAN                                    729 E 194TH ST                                                                                GLENWOOD         IL    60425‐2109
JERRY L BOLDT                                       120 BLAINE AVE                                                                                PONTIAC          MI    48342‐1173
JERRY L BRAMLETT                                    1508 NEW HOPE RD                                                                              LAWRENCEVILLE    GA    30045‐6550
JERRY L BRANSCOMB                                   PO BOX 127                                                                                    GREENFIELD       OH    45123‐0127
JERRY L BREEDLOVE                                   927 N GRANT ST                                                                                LEBANON          IN    46052‐1942
JERRY L BROWN                                       2143 TOWNLINE RD                                                                              TAWAS CITY       MI    48763‐9739
JERRY L BROWN                                       3500 BROWN ST                                                                                 ANDERSON         IN    46013‐4222
JERRY L BROWN                                       14043 PIERSON ST                                                                              DETROIT          MI    48223‐2772
JERRY L BROWN                                       4551 BIRMINGHAM RD                                                                            ALMA             MI    48801‐9682
JERRY L BRYANT                                      3131 S ADAMS ST                                                                               FORT WORTH       TX    76110‐6718
JERRY L BUCKEY                                      838 HAMILTON AVE                                                                              ROCKLEDGE        FL    32955‐3589
JERRY L BURDETTE                                    202 VICTORIA LN                                                                               CHARLESTON       WV    25302‐4400
JERRY L BURKHARD SR                                 1928 GAYHART ST                                                                               XENIA            OH    45385‐4825
JERRY L CALL                                        1309 TERRACE DR                                                                               DEFIANCE         OH    43512
JERRY L CAMPBELL                                    7353 HAVENCROFT DR                                                                            REYNOLDSBURG     OH    43068‐7079
JERRY L CAMPO                                       1696 TOWNSHIP ROAD                  1419 UNIT G                                               MANSFIELD        OH    44903‐9506
JERRY L CARPENTER                                                                                                                                 TAYLOR           MO    63471
JERRY L CASTOR TR UA 10/08/2007 JERRY L CASTOR      PO BOX 3084                                                                                   INVERNESS        FL    34451
TRUST
JERRY L CHAMBERS & CAROL S CHAMBERS JT TEN          293 CEDAR GLEN CLOSE                                                                          NELLYSFORD       VA    22958‐2350
JERRY L CLARK                                       7544 REYNOLDS RD                                                                              CAMBY            IN    46113‐9207
JERRY L CLARK                                       11254 DUFFIELD ROAD                                                                           MONTROSE         MI    48457‐9400
JERRY L CLARK                                       33 FLOYD SW                                                                                   WYOMING          MI    49548‐3119
JERRY L CLEM                                        10069 S 100 E                                                                                 LYNN             IN    47355‐9428
JERRY L CLYDE                                       415 LINCOLN AVE                                                                               PASADENA         CA    91103‐3638
JERRY L COLLIER                                     207 HUNTER COURT                                                                              HARTFORD         KY    42347‐1632
JERRY L COMSTOCK                                    8522 HUCKLEBERRY LANE                                                                         LANSING          MI    48917‐9636
JERRY L CONNER                                      1245 PINHOOK RD                                                                               BEDFORD          IN    47421‐8835
JERRY L COOPER                                      12710 BLOCK ST                                                                                BIRCH RUN        MI    48415‐9446
JERRY L COTNER                                      5687 N HERITAGE LANE                                                                          ALEXANDRIA       IN    46001‐8601
JERRY L COX                                         887 MARINER POINT RD                                                                          LA FOLLETTE      TN    37766‐5881
JERRY L CRAMER                                      4125 BOULDER POND DR                                                                          ANN ARBOR        MI    48108‐8627
JERRY L CRAVEN                                      5200 S DURAND RD                                                                              DURAND           MI    48429‐1281
JERRY L CSEH                                        411 VALLEY VIEW DR                                                                            ENGLEWOOD        OH    45322‐1313
JERRY L CULLITON                                    6171 BERT KOUNS INDUSTRIAL LOOP     APT C201                                                  SHREVEPORT       LA    71129‐5009
JERRY L CUPPLES                                     6735 US 27 S                                                                                  ST JOHNS         MI    48879‐9125
JERRY L DARST                                       7630 GERMANDER LN                                                                             INDIANAPOLIS     IN    46237‐3710
JERRY L DAVIS                                       1501 E GRAND AVE                    APT 6409                                                  ESCONDIDO        CA    92027‐3186
JERRY L DAW                                         6106 MURPHYS POND RD                                                                          CANAL WNCHSTR    OH    43110‐8482
JERRY L DEAN                                        6450 FISHBURG RD                                                                              DAYTON           OH    45424‐4113
JERRY L DEHEIDE                                     2284 MARK CT                                                                                  FRANKLIN         TN    37067‐5066
JERRY L DEWITT                                      604 WINDY RD                                                                                  MOUNT JULIET     TN    37122‐3801
JERRY L DIETER                                      9730 COLTON RD                                                                                WINDHAM          OH    44288‐9798
JERRY L DONELL                                      4866 LOVERS LANE                                                                              RAVENNA          OH    44266‐9181
JERRY L DUDLEY JR                                   51 DAISY LN                                                                                   BUFFALO          NY    14228‐1262
JERRY L EADY                                        110 HAMAKER                                                                                   DECATUR          AL    35603‐4809
JERRY L ECKARD                                      285 FAIRWAY DRIVEW                                                                            SOUTHERN PINES   NC    28387‐2711
JERRY L EPPERLY CUST JERRY L EPPERLY II UGMA TN     3427 NW 40TH TER                                                                              GAINESVILLE      FL    32606‐6165

JERRY L ERISMAN                                     7662 MUIRFIELD CIR                                                                            INDIANAPOLIS     IN    46237‐9694
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 29 of 855
Name                                             Address1                            Address2             Address3           Address4          City              State Zip

JERRY L EVANS                                    1063 FOREST AV                                                                                BURTON            MI    48509‐1901
JERRY L EVANS                                    1900 E COUNTY ROAD 800 N                                                                      EATON             IN    47338‐9237
JERRY L FEARNLEY                                 2424 CHERYLANN DR                                                                             BURTON            MI    48519‐1362
JERRY L FERGUSON                                 352 ROCK ISLAND ROAD                                                                          DIXON             IL    61021‐8512
JERRY L FEUTZ                                    RR 1 BOX 257                                                                                  QUINCY            IN    47456‐9517
JERRY L FLAKE                                    1484 S 700 E                                                                                  FRANKLIN          IN    46131‐8257
JERRY L GARLING                                  7791 E 133RD AVE                                                                              BRIGHTON          CO    80602‐8470
JERRY L GERKEN                                   14160 DOHONEY RD                                                                              DEFIANCE          OH    43512‐8983
JERRY L GILLIAM                                  110 S YELM                                                                                    KENNEWICK         WA    99336‐3256
JERRY L GOODRICH                                 2167 NORTH ORANGEOLIVE RD                                                                     ORANGE            CA    92865‐3328
JERRY L GREATHOUSE                               1017 COOPER AVE                                                                               LANSING           MI    48910
JERRY L GREGG                                    2727 BATON ROUGE DRIVE                                                                        SAN JOSE          CA    95133‐2050
JERRY L GRIFFIN                                  133 S CHILTON CRES                                                                            LA GRANGE         GA    30240‐1109
JERRY L GUSTIN                                   169 DUKE DR                                                                                   FLORISSANT        MO    63034‐1333
JERRY L HALL & ALICE A HALL JT TEN               238 S MILLER RD                                                                               SAGINAW           MI    48609‐5107
JERRY L HAMILTON                                 1062 WINDYWOOD                                                                                ST HELEN          MI    48656‐9531
JERRY L HARDESTY                                 1065 HILLCREST AVE                                                                            BRIGHTON          MI    48116‐1609
JERRY L HARDY                                    516 N MERIDIAN                                                                                GREENTOWN         IN    46936‐1228
JERRY L HARDY & PHYLIS C HARDY JT TEN            516 N MERIDIAN                                                                                GREENTOWN         IN    46936‐1228
JERRY L HARRELL                                  PO BOX 455                                                                                    GOODRICH          MI    48438‐0455
JERRY L HARRIMAN & KAREN M HARRIMAN JT TEN       2402 SW 15TH ST                                                                               BENTONVILLE       AR    72712‐9580
JERRY L HARRIS                                   637 GRAMONT AVE                                                                               DAYTON            OH    45407‐1440
JERRY L HARRIS                                   714 MARIGOLD DR                                                                               CEDAR HILL        TX    75104‐2110
JERRY L HARRISON                                 255 N MONROE STREET APT 4                                                                     JASONVILLE        IN    47438‐1201
JERRY L HART                                     6600 LINDALE AVENUE S #1407                                                                   RICHFIELD         MN    55423‐3396
JERRY L HASSELL                                  1650 PINE HOLLOW BLVD                                                                         SHARON            PA    16148‐1938
JERRY L HELMS CUST JERRY ALAN HELMS UGMA IN      121 OSPREY WAY                                                                                HARRIMAN          TN    37748‐5324

JERRY L HIGHFIELD & ROSE B HIGHFIELD JT TEN      11870 HIBNER                                                                                  HARTLAND          MI    48353‐1321
JERRY L HILDEBRAND                               3911 PRESERVE WAY                                                                             ESTERO            FL    33928‐3304
JERRY L HILDEBRAND & PATSY M HILDEBRAND JT TEN   3911 PRESERVE WAY                                                                             ESTERO            FL    33928‐3304

JERRY L HINDERS                                  PO BOX 422                                                                                    LAKEVIEW          OH    43331‐0422
JERRY L HIXENBAUGH                               1342 CENTER ST W                                                                              WARREN            OH    44481‐9456
JERRY L HODGES                                   815 MAPLEWOOD                                                                                 KOKOMO            IN    46902‐3359
JERRY L HODGES & JOYCE A HODGES JT TEN           815 MAPLEWOOD DR                                                                              KOKOMO            IN    46902‐3359
JERRY L HOPKINS                                  4007 TRIPLETT FORK RD                                                                         GASSAWAY          WV    26624‐6193
JERRY L HUDSON                                   326 ELLENHURST                                                                                ANDERSON          IN    46012‐3743
JERRY L JAMES                                    18475 MARLOWE                                                                                 DETROIT           MI    48235‐2765
JERRY L JOHNSON                                  4412 5TH ST S                                                                                 MOORHEAD          MN    56560
JERRY L JONES                                    6623 NEW WORLD DRIVE                                                                          KATY              TX    77449‐4253
JERRY L JONES                                    406 N FOXRIDGE DR                                                                             RAYMORE           MO    64083‐8300
JERRY L JONES                                    2414 MOUNTAIN AVE                                                                             FLINT             MI    48503‐2216
JERRY L JONESON                                  3104 PARKVIEW DR                                                                              PETOSKEY          MI    49770‐9708
JERRY L KAMINER                                  1222 S VASSAR RD                                                                              BURTON            MI    48509‐2301
JERRY L KAYLOR                                   RT 3                                                                                          HICKSVILLE        OH    43526‐9803
JERRY L KEEGSTRA                                 885 ANDOVER CT SE                                                                             KENTWOOD          MI    49508‐4767
JERRY L KELLEY                                   6025 WEST 89TH STREET                                                                         OVERLAND PARK     KS    66207‐2005
JERRY L KELLY & CLAUDE M KELLY JT TEN            158 RICHMOND ROAD                                                                             DUNNSVILLE        VA    22454‐2108
JERRY L KILGORE & BETTY J KILGORE JT TEN         #10 FAIRWAY DR                                                                                ALEXANDRIA        IN    46001‐2812
JERRY L KILMON                                   514 W MICHIGAN ST                                                                             CLAYTON           IN    46118‐9087
JERRY L KING                                     15 HEARTHSTONE DR                                                                             STOCKBRIDGE       GA    30281‐2801
JERRY L KING                                     9398 W SCHOOL SEC LAKE DR                                                                     MECOSTA           MI    49332
JERRY L KLEIS                                    4125 RADSTOCK DR                                                                              DORR              MI    49323‐9408
JERRY L KOSANOVICH                               PO BOX 1010                                                                                   ETON              GA    30724‐1010
JERRY L KRIKAVA                                  540 KALMIA PL N W                                                                             ISSAQUAH          WA    98027‐2617
JERRY L LANG                                     11401 BONITA BEACH RD SE            LOT 54                                                    BONITA SPGS       FL    34135‐5998
JERRY L LEOPOLD                                  8870 SESH ROAD                                                                                CLARENCE CENTER   NY    14032‐9692
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 30 of 855
Name                                             Address1                             Address2              Address3          Address4          City            State Zip

JERRY L LIKENS                                 5027 MT PLEASANT CENTER ST                                                                       GREENWOOD       IN    46142‐8917
JERRY L LILES                                  1501 EAST 2ND AVE                                                                                MESA            AZ    85204‐2305
JERRY L LOWERY                                 11326 DEAN ST                                                                                    SPRING HILL     FL    34608‐2235
JERRY L LYNCH                                  908 BLAIR                                                                                        FLINT           MI    48504‐4637
JERRY L MANIS                                  7215 W COUNTY ROAD 950N                                                                          MIDDLETOWN      IN    47356‐9373
JERRY L MARTIN                                 4420 FLORAL AVENUE                                                                               NORWOOD         OH    45212‐3221
JERRY L MC COLLOM & LENORA K MC COLLOM TEN COM 900 W SIERRA MADRE AVE                 APT 88                                                    AZUSA           CA    91702‐6008

JERRY L MCABEE                                   6079 EAST 300 SOUTH                                                                            FRANKLIN        IN    46131‐8046
JERRY L MCCOURY                                  693 GREY ROAD                                                                                  AUBURN HILLS    MI    48326‐3815
JERRY L MCDOLE                                   ROUTE 2 BOX 2111                                                                               PIEDMONT        MO    63957‐9602
JERRY L MCGILL                                   4304 SE BRIDLE COURT                                                                           LEE'S SUMMITT   MO    64082‐4920
JERRY L MCLAIN                                   516 N 3RD ST                                                                                   GAS CITY        IN    46933‐1109
JERRY L MEADE                                    4117 W 49TH ST                                                                                 CLEVELAND       OH    44144‐1947
JERRY L MITCHELL                                 13071 N ALLMAN EAST STREET                                                                     MOORSEVILLE     IN    46158‐6904
JERRY L MIXON                                    15711 TRACEY                                                                                   DETROIT         MI    48227‐3345
JERRY L MOLES                                    409 E PORTER ST                                                                                ALBION          MI    49224‐1807
JERRY L MOORE                                    1108 W MCKENZIE RD                                                                             GREENFIELD      IN    46140‐7939
JERRY L MOSS                                     63 LINDER DR                                                                                   HOMOSASSA       FL    34446‐3969
JERRY L MURPHY                                   C/O JACQUELINE D MURPHY              3655 FLINT RIVER RD                                       COLUMBIAVILLE   MI    48421‐9369
JERRY L NELSON                                   780 ANDERSON AVE                     APT 10                                                    AKRON           OH    44306‐3153
JERRY L NOFFEL & MRS MARTHA R NOFFEL JT TEN      5630 BOB WHITE TRAIL                                                                           MIMS            FL    32754‐5468
JERRY L NORTHOUSE                                6155 88TH AVE                                                                                  ZEELAND         MI    49464‐9535
JERRY L O'BRYANT                                 6867 SAGINAW HWY                                                                               SUNFIELD        MI    48890‐9735
JERRY L OLSEN                                    50 WELLESLEY DR 118                                                                            NEWPORT NEWS    VA    23606‐4047
JERRY L OVERHOLSER                               832 CAMP ST                                                                                    PIQUA           OH    45356‐1604
JERRY L PALMER                                   1705 BITTERSWEET DR                                                                            ANDERSON        IN    46011‐9202
JERRY L PATRICK                                  12075 9 MILE RD                                                                                PLAINWELL       MI    49080‐8831
JERRY L PAYNE                                    252 RAINBOW DR 15207                                                                           LIVINGSTON      TX    77399
JERRY L PERDUE                                   454 E PARK                                                                                     CLAYCOMO        MO    64119‐3363
JERRY L PERKINS                                  7519 DORR ST LOT 66                                                                            TOLEDO          OH    43615‐4183
JERRY L PETTIBONE                                3985 CRESTHAVEN DR                                                                             WATERFORD       MI    48328‐4020
JERRY L PICUCCI & MARCI L PICUCCI JT TEN         1201 E GRANT ST                                                                                IRON MOUNTAIN   MI    49801‐2116
JERRY L PORTER & CAROL L REDMOND JT TEN          8137 SO DAMEN AVE                                                                              CHICAGO         IL    60620‐5348
JERRY L PRATER & SARAH P PRATER JT TEN           PO BOX 878                                                                                     MOCKSVILLE      NC    27028‐0878
JERRY L QUINCE                                   756 SECOND                                                                                     PONTIAC         MI    48340‐2837
JERRY L RATHBUN                                  1118 CATSKILL                                                                                  RICHLAND        WA    99352‐2112
JERRY L REDMOND                                  9701 W VERA AVE                                                                                MILWAUKEE       WI    53224‐4661
JERRY L REMLINGER                                32755 WASHINGTON LOOP RD                                                                       PUNTA GORDA     FL    33982‐9677
JERRY L REYNOLDS                                 1755 VERONA CANEY RD                                                                           LEWISBURG       TN    37091‐6403
JERRY L REYNOLDS                                 10810 OLD CENTRALIA RD                                                                         CHESTER         VA    23831‐1223
JERRY L RIEMENSCHNEIDER                          4090 PLEASANTVILLE ROAD                                                                        PLEASANTVILLE   OH    43148‐9787
JERRY L ROBERTS                                  14046 HUBBELL                                                                                  DETROIT         MI    48227‐2847
JERRY L RODGERS                                  10422 S EMERALD AVE                                                                            CHICAGO         IL    60628‐2302
JERRY L ROSSELOT                                 247 VALENCIA RD                                                                                DEBARY          FL    32713‐3929
JERRY L RUFFIN                                   3775 CRESTON RD                                                                                INDIANAPOLIS    IN    46222‐5915
JERRY L SAMS                                     2827 CATERHAM                                                                                  WATERFORD       MI    48329‐2617
JERRY L SCHERER                                  29900 ALLEY RD                                                                                 LEES SUMMIT     MO    64086
JERRY L SCRUGGS CUST PHILLIP C SCRUGGS UTMA TN   5954 BRIERHEDGE AVENUE                                                                         MEMPHIS         TN    38120‐2328

JERRY L SEARS                                    2573 HIGHWOOD LN                                                                               CINCINNATI      OH    45239‐5643
JERRY L SEITER                                   4052 COVENTRY DR                                                                               AUBURN HILLS    MI    48326‐1898
JERRY L SHIELDS                                  3448 TURTLE SHELL DR                                                                           DAYTON          OH    45414‐1744
JERRY L SHOWALTER                                1945 S 925 E                                                                                   ZIONSVILLE      IN    46077‐9542
JERRY L SIMISON                                  711 W TYLER ST                                                                                 ALEXANDRIA      IN    46001‐8111
JERRY L SIMMONDS                                 10467 DODGE RD                                                                                 OTISVILLE       MI    48463‐9766
JERRY L SIMMONS                                  3012 W BONAIRE AVE                                                                             MUNCIE          IN    47302‐9551
JERRY L SIMS                                     349 DAKOTA                                                                                     YPSILANTI       MI    48198‐7814
JERRY L SMITH                                    5244 W 1300 N                                                                                  ELWOOD          IN    46036‐9222
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 31 of 855
Name                                              Address1                              Address2             Address3           Address4          City            State Zip

JERRY L SMITH                                     17476 COUNTY RD 19                                                                              NEW BAVARIA     OH    43548‐9601
JERRY L SMITH                                     6762 N 725 E                                                                                    WILKINSON       IN    46186‐9749
JERRY L SMITHEY                                   8536 CR 2580                                                                                    ROYCE CITY      TX    75189‐4689
JERRY L SNYDER                                    PO BOX 232                                                                                      LAPEL           IN    46051‐0232
JERRY L SODDERS & JANET E SODDERS JT TEN          1903 WOODHAVEN LANE                                                                             ALTAVISTA       VA    24517‐2025
JERRY L SPEARS                                    737 SHAFTSBURY RD                                                                               TROY            OH    45373‐6706
JERRY L SPICER                                    6292 LEAWOOD DR                                                                                 DAYTON          OH    45424‐3039
JERRY L SYMNS                                     PO BOX 349                                                                                      MABANK          TX    75147‐0349
JERRY L TENBRINK                                  8033 S GARDEN TRAIL                                                                             IDLEWILD        MI    49642‐9687
JERRY L TIMKO                                     32732 COMANCHE                                                                                  WESTLAND        MI    48185‐1423
JERRY L TIMMER                                    4048 CHESTER ST                                                                                 HUDSONVILLE     MI    49426‐9354
JERRY L TONEY                                     1302 NW 2ND ST                                                                                  MINERAL WELLS   TX    76067‐4896
JERRY L VANDIERENDONCK                            645 GLENWOOD CUTOFF                                                                             SANTA CRUZ      CA    95066‐2602
JERRY L VIETH                                     9609 CROOKED CREEK LN                                                                           OKLAHOMA CITY   OK    73160‐9186
JERRY L WATSON                                    6503 S HIGHWAY A1A 1A                                                                           MELBOURNE BEACH FL    32951‐3804

JERRY L WATSON                                    5726 FIRWOOD                                                                                    TROY            MI    48098‐2552
JERRY L WEIR                                      4649 WICKLOW DR                                                                                 MIDDLETOWN      OH    45042‐2967
JERRY L WHEELER                                   133 N LAWN AVE APT 6                                                                            KANSAS CITY     MO    64123‐1354
JERRY L WHITEHEAD                                 23507 NW CTY RD 235                                                                             LAKE BUTLER     FL    32054
JERRY L WILLIAMS                                  7927 E WALNUT CLARK CO RD                                                                       TROY            OH    45373
JERRY L WOLF                                      7071 ISLAND HWY                                                                                 EATON RAPIDS    MI    48827‐9350
JERRY L WOOLDRIDGE                                2813 CENTER RD                                                                                  KOKOMO          IN    46902‐9794
JERRY L WOUTERS                                   637 BAKEWAY CIRCLE                                                                              INDIANAPOLIS    IN    46231‐3114
JERRY L YOUNGBERG                                 8085 ORCHARD RD                                                                                 PAINESVILLE     OH    44077
JERRY LEE ANDREW                                  1921 KNAPKE CT                                                                                  CELINA          OH    45822‐8303
JERRY LEE BENNER                                  1106 50TH AVE                                                                                   GREELEY         CO    80634‐1901
JERRY LEE FARLEY                                  PO BOX 7150                                                                                     DIBERVILLE      MS    39540‐7101
JERRY LEE HARMON                                  1056 LINDEN AVE                                                                                 MEMPHIS         TN    38104
JERRY LEE WILLIAMS                                112 CARR ST                                                                                     TALLASSEE       AL    36078‐1922
JERRY LEON IRVIN                                  27354 LAWRENCE DR                                                                               DEARBORN HTS    MI    48127‐3346
JERRY LEROTIC                                     157 MCKINLEY AVENUE                                                                             WILLIAMSVILLE   NY    14221‐7116
JERRY LETT                                        9580 BRYDEN                                                                                     DETROIT         MI    48204‐2034
JERRY LIEGEY                                      104 KENILWOOD LN                                                                                LAKELAND        FL    33809
JERRY LINNEAR & VIRGINIA MOSLEY LINNEAR TEN COM   3325 STATES OIL CO RD                                                                           SHREVEPORT      LA    71119‐9617

JERRY LISZEWSKI                                   22147 HARSDALE DR                                                                               FARMINGTON HILLS MI   48335‐5439

JERRY M ANDERSON                                  4129 S MEADOWS RD                     APT 917                                                   SANTA FE        NM    87505
JERRY M BEAVER                                    1616 BERRY STREET                                                                               SIOUX CITY      IA    51103‐2258
JERRY M BRISTOL                                   215 CARMEL HILL ROAD                                                                            BETHLEHEM       CT    06751
JERRY M CONN                                      1800 PARKVIEW                                                                                   FREMONT         NE    68025‐4482
JERRY M DENEWETH                                  2784 WESTMINISTER BLVD                WINDSOR ON                              N8T 1Y7 CANADA
JERRY M DERANZO                                   1070 CLIFF WHITE RD                                                                             COLUMBIA        TN    38401‐6759
JERRY M FISCHER                                   12193 GRATIOT RD                                                                                SAGINAW         MI    48609‐9653
JERRY M FORD & DOROTHY D FORD TEN COM             610 BENTON                                                                                      MISSOULA        MT    59801‐8634
JERRY M FOY                                       9205 STATE ROUTE 303                                                                            MAYFIELD        KY    42066‐6218
JERRY M HAY                                       2326 S TURNER ROAD                                                                              AUSTINTOWN      OH    44515‐5523
JERRY M HAYES                                     1373 NUTWOOD DR                                                                                 CENTERVILLE     OH    45458‐5109
JERRY M HENDERSON                                 22572 COUNTY RD 82                                                                              WOODLAND        AL    36280‐6016
JERRY M HUGHES                                    2810 UNION ST #14                                                                               SAN DIEGO       CA    92103‐6058
JERRY M ITZIG                                     5707 WALNUT HILL LANE                                                                           DALLAS          TX    75230‐5009
JERRY M JACKSON                                   405 W DILL DR                                                                                   DE WITT         MI    48820‐7721
JERRY M JARMAN                                    1039 E 1100 N                                                                                   ALEXANDRIA      IN    46001‐9037
JERRY M JORDAL                                    301 ISLAND RD                                                                                   PHOENIX         NY    13135‐2141
JERRY M LESLIE                                    41 HIDDEN VLY                                                                                   CHAPMANVILLE    WV    25508‐9518
JERRY M LUCAS                                     9592 N CIINEY RD                                                                                MOORESVILLE     IN    46158
JERRY M MAI                                       2381 EDWARD ST                                                                                  GRAND BLANC     MI    48439‐5055
JERRY M MCNULTY                                   4240 SUNNYHILL DR                                                                               CARLSBAD        CA    92008‐3646
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 32 of 855
Name                                             Address1                          Address2             Address3           Address4          City             State Zip

JERRY M MEYERS & MARY E MEYERS JT TEN            11395 LALLY                                                                                 LOWELL           MI    49331‐9469
JERRY M MOORE                                    2363 SOUTH DYE RD                                                                           FLINT            MI    48532‐4129
JERRY M MORAN                                    8143 SYLMAR AVE                                                                             PANORAMA CITY    CA    91402‐5238
JERRY M POST                                     2375 W CLARK R4                                                                             LANSING          MI    48906‐9306
JERRY M RILEY                                    14107 C ST S                      APT 16                                                    TACOMA           WA    98444‐4501
JERRY M ROETHLISBERGER JR CUST ANDREW L          8300 S GERA                                                                                 BIRCH RUN        MI    48415‐9220
ROETHLISBERGER UGMA MI
JERRY M SHORT                                    57 ALPINERIDGE LANE                                                                         BENNINGTON       KS    67422‐9070
JERRY M SHORT & BARBARA J SHORT JT TEN           57 ALPINERIDGE LANE                                                                         BENNINGTON       KS    67422‐9070
JERRY M SHORT & RAPHAPA J SHORT JT TEN           57 ALPINERIDGE LANE                                                                         BENNINGTON       KS    67422‐9070
JERRY M TYMCZYSZYN                               56 BRANCH ST                                                                                ROCHESTER        NY    14621‐5525
JERRY M WHITE                                    52 BOWEN DR                                                                                 BELMONT          NC    28012‐9517
JERRY MARSICH                                    10902 GARRISON RD                                                                           DURAND           MI    48429
JERRY MATTINGLY & FLORA MATTINGLY JT TEN         PO BOX 403                                                                                  BURSON           CA    95225‐0403
JERRY MAYFIELD & LINDA MAYFIELD JT TEN           3717 STARSHINE TRAIL                                                                        BRIGHTON         MI    48114
JERRY MCKAY                                      594 W SR 38                                                                                 PENDLETON        IN    46064‐9585
JERRY MCMULLEN                                   PO BOX 5473                                                                                 DECATUR          AL    35601‐0473
JERRY MEDLIN                                     118 ELLIOT WOOD PL                                                                          FORT WAYNE       IN    46804‐6707
JERRY MELTON                                     PO BOX 1104                                                                                 BEDFORD          IN    47421‐1104
JERRY MOODY                                      78 SONNYS CV                                                                                RIPLEY           TN    38063‐3924
JERRY MOORHEAD                                   8300 E MCDOWELL RD                UNIT 3034                                                 SCOTTSDALE       AZ    85257‐3971
JERRY MORGAN                                     1955 DEL MORO ST                                                                            KLAMATH FALLS    OR    97601‐1804
JERRY MUCK                                       BOX 443                                                                                     BONDUEL          WI    54107‐0443
JERRY MULLINS                                    48527 HUNTER DRIVE                                                                          MACOMB           MI    48044‐5568
JERRY N DANFORTH & NANCY J DANFORTH JT TEN       200 MCKINSIE CT NE                                                                          CEDAR RAPIDS     IA    52402‐3365
JERRY N FREEMAN                                  PMB 3752                          137 RAINBOW DRIVE                                         LIVINGSTON       TX    77399‐1037
JERRY N HULETT                                   177 KELLER AVE                                                                              KENMORE          NY    14217
JERRY N SNELLINGS                                8539 OGDON LANDING RD                                                                       WEST PADUCAH     KY    42086
JERRY N VAN WAGNER                               4640 24TH ST                                                                                DORR             MI    49323‐9727
JERRY N WILLIAMS                                 518 W BISHOP ST                                                                             FLINT            MI    48505‐3228
JERRY N WILLIAMS                                 5772 WOODCLIFF RD                                                                           PORT ORANGE      FL    32127‐4710
JERRY NOBLE & MAUDE H NOBLE & JERRY D NOBLE JT   PO BOX 185                                                                                  LOST CREEK       KY    41348‐0185
TEN
JERRY O DE PRON                                  2010 W HARLOW                                                                               OKLAHOMA CITY    OK    73127‐2410
JERRY O DONALDSON                                6416 TRUDY DR                                                                               FLOWERY BRANCH   GA    30542‐2623

JERRY O HUGHES                                   PO BOX 873                                                                                  ROSS             OH    45061‐0873
JERRY O NOVAK                                    21102 LILY LAKE CT                                                                          CREST HILL       IL    60435‐0749
JERRY O THRASHER                                 1007 DANBURY LN SE                                                                          DECATUR          AL    35601‐3480
JERRY O WILLIAMS                                 5460 GAULEY TPKE                                                                            HEATERS          WV    26627‐7016
JERRY OMER COPELAND                              2176 REDWINGS RD                                                                            BISMARCK         AR    71929‐6648
JERRY OWENS                                      92 WOODWARD DR                                                                              SAGINAW          MI    48601‐5231
JERRY P AMRICH                                   13227 PINE VALLEY DR                                                                        CLIO             MI    48420‐9159
JERRY P BOVINE                                   12410 TELECOM DR                  #8                                                        MILAN            TN    38358‐5204
JERRY P CAMPEY                                   PO BOX 609                                                                                  E HELENA         MT    59635‐0609
JERRY P COLBAUGH                                 53 LAKHANI LN                                                                               CANFIELD         OH    44406‐9670
JERRY P LINDSAY                                  6633 HEMLOCK COURT                                                                          BRIGHTON         MI    48116‐9127
JERRY P MOSER                                    2833 MERRELL                                                                                ST LOUIS         MO    63125‐5109
JERRY P NEAL                                     9747 KENDRICKS RD                                                                           VIVIAN           LA    71082‐8509
JERRY P NICHOLS                                  1135 TEE CEE                                                                                WATERFORD        MI    48328‐2048
JERRY P PRICE                                    9015 PATTEN BLVD                                                                            ALEXANDRIA       VA    22309‐3333
JERRY P REDING                                   2313 CHATHAM PLACE                                                                          BLUE SPRINGS     MO    64015‐2906
JERRY P ROSS                                     6620 ANN'S LN                                                                               WEATHERFORD      TX    76086‐3701
JERRY P SHERE                                    1728 W RUGBY RD                                                                             JANESVILLE       WI    53545‐1920
JERRY P STARK                                    18327 SUGARBUSH COURT                                                                       MIDDLETOWN       CA    95461‐8431
JERRY P WALKER                                   1603 MAINE CT                                                                               FROSTPROOF       FL    33843‐8510
JERRY PALOMBO                                    15 ORCHARD RD                                                                               FLORHAM PARK     NJ    07932‐2538
JERRY PASCHAL                                    P0 BX 7387                                                                                  FT GORDON        GA    30905‐0387
JERRY PATRICK VARGO                              625 N THOMPSONVILLE HWY                                                                     BEULAH           MI    49617
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 33 of 855
Name                                             Address1                            Address2             Address3           Address4          City              State Zip

JERRY PAUL JUDSON                                937 DOUGLAS CT                                                                                ANOKA             MN    55303‐2064
JERRY PICCO & PATSY PICCO JT TEN                 15 COOPER ST                                                                                  WAVERLY           NY    14892‐1252
JERRY PRATER                                     1754 NINE MILE RIDGE RD                                                                       DUCK RIVER        TN    38454‐3400
JERRY R ARNOLD                                   6797 CHARLESGATE RD                                                                           HUBER HEIGHTS     OH    45424‐7078
JERRY R BEDINGHAUS & NANCY M BEDINGHAUS JT TEN   1483 MORMAN RD                                                                                HAMILTON          OH    45013‐4367

JERRY R BENNETT                                  1601 DIMMERS RD                                                                               READING           MI    49274‐9674
JERRY R CHESTNUT                                 117 MANCHESTER DR                                                                             DEWITT            MI    48820‐9512
JERRY R COLE                                     31 N MICHIGAN RD                                                                              EATON RAPIDS      MI    48827‐9226
JERRY R COOPER                                   186 N RACEWAY ROAD                                                                            INDIANAPOLIS      IN    46234‐9208
JERRY R CYPRET                                   676 THIRD ST                                                                                  PONTIAC           MI    48055
JERRY R ENSCOE                                   859 SCHNORF JONES ROAD                                                                        LAURA             OH    45337‐9605
JERRY R GERWE                                    5713 E DAY CIR                                                                                MILFORD           OH    45150‐2357
JERRY R GIBSON                                   7541 22ND AVE                                                                                 JENISON           MI    49428‐7759
JERRY R HAMMERSLEY                               5284 W CARPENTER RD                                                                           FLINT             MI    48504‐1029
JERRY R HANSHAW                                  PO BOX 752                                                                                    CLAY              WV    25043‐0752
JERRY R HASTING                                  10240 CURTIS                                                                                  WHITE LAKE        MI    48386‐3814
JERRY R HEADY                                    43110 JOY RD                                                                                  PLYMOUTH          MI    48170‐4135
JERRY R HICKS                                    1902 VISTA CREEK DR                                                                           ROSEVILLE         CA    95661‐5846
JERRY R HOLDEN                                   4816 BELLINGHAM DR                                                                            INDIANAPOLIS      IN    46221‐3702
JERRY R HORNUNG                                  455 W LIVINGSTON                                                                              HIGHLAND          MI    48357‐4626
JERRY R HORTON & MARIE T HORTON JT TEN           16 HILLCROFT AVE                                                                              WORCESTER         MA    01606‐2313
JERRY R HYATT                                    117 OAK ST                                                                                    BOWDON            GA    30108‐0117
JERRY R IRWIN                                    9492 GRAND BLANC RD                                                                           GAINES            MI    48436‐9793
JERRY R JOHNSON                                  1231 MCCART CIRCLE                                                                            JACKSON           GA    30233‐2823
JERRY R JOHNSON                                  4895 ORLAND RD                                                                                CINCINNATI        OH    45244‐1213
JERRY R JOHNSON                                  4402 WINTERBERRY CT                                                                           CONCORD           CA    94521‐4333
JERRY R KADLECHIK                                9330 HILDA LANE                                                                               FLUSHING          MI    48433‐9743
JERRY R KAMERLING                                981 HAMPTONS CT                     APT 1                                                     MUSKEGON          MI    49441‐6157
JERRY R KETCHUM                                  7855 MOUSE CREEK RD NW                                                                        CLEVELAND         TN    37312‐6307
JERRY R KING                                     5843 MCGRANDY                                                                                 BRIDGEPORT        MI    48722‐9779
JERRY R KRUTIL                                   111 HOLYHOCK DR                                                                               TROY              MO    63379
JERRY R LEE                                      6090 WALDON RD                                                                                CLARKSTON         MI    48346‐2235
JERRY R LEE                                      2206 S TUCSON WAY                                                                             AURORA            CO    80014‐5310
JERRY R LOCKE                                    1215 SEQUOYA TRAIL                                                                            COLUMBIA          TN    38401‐8410
JERRY R MAKOBEN & JUDITH K MAKOBEN JT TEN        2521 N HOWELL                                                                                 DAVENPORT         IA    52804‐2324
JERRY R MARTIN                                   3440 HEMMETER RD                                                                              SAGINAW           MI    48603
JERRY R MEYERS                                   112 MORGAN CT                                                                                 FRANKLIN          OH    45005‐1540
JERRY R MILLIAN                                  N7683 PINE KNOLLS DR                                                                          WHITEWATER        WI    53190‐4228
JERRY R NIX                                      PO BOX 2452                                                                                   LAGRANGE          GA    30241‐0051
JERRY R PALEK                                    5401 E RANGER RD                                                                              ASHLEY            MI    48806‐9708
JERRY R PARDUE                                   9780 MAD RIVER RD                                                                             NEW VIENNA        OH    45159‐9211
JERRY R PASCOE                                   2250 RIDGEMOOR CT                                                                             BURTON            MI    48509‐1391
JERRY R PASCOE & LORRIE M PASCOE JT TEN          2250 RIDGEMOOR CT                                                                             BURTON            MI    48509‐1391
JERRY R PERRINE                                  1742 RICHMOND AVE                                                                             YOUNGSTOWN        OH    44505‐4725
JERRY R PICCO & JOSEPH PICCO JT TEN              16 FREDERICK ST                                                                               WAVERLY           NY    14892‐1208
JERRY R RAMBO                                    50364 CARROLL RD                                                                              EAST LIVERPOO     OH    43920‐9515
JERRY R SCHWAN & MRS MARCIA E SCHWAN JT TEN      41 W CRYSTAL LAKE AVE                                                                         CRYSTAL LAKE      IL    60014‐6103

JERRY R SMITH                                    1224 PLEASANT BROOK ST                                                                        LAS VEGAS         NV    89142‐0135
JERRY R STEPHENS                                 114 CUMBERLAND CT                                                                             RUSSELL SPRINGS   KY    42642‐8632
JERRY R THORN                                    1613 UPTON PL                                                                                 IRVING            TX    75060‐6808
JERRY R VAN LEAR                                 68 FOXBERRY COURT                                                                             MT SIDNEY         VA    24467‐2506
JERRY R WAINWRIGHT                               629 FLAT HOLLOW RD                                                                            SPEEDWELL         TN    37870‐8114
JERRY R WRIGHT                                   2413 N 1000 W                                                                                 PARKER CITY       IN    47360‐9302
JERRY RAY MATTHEWS                               8001 N RICHARDT AVE                                                                           INDIANAPOLIS      IN    46256‐1619
JERRY RAY ROBERTS CUST JUSTIN GARNER ROBERTS     10328 SW 49TH LN                                                                              GAINESVILLLE      FL    32608‐7161
UGMA TX
JERRY RHOTON & JANE RHOTON JT TEN                1826 COUNTY ROAD                    800 NORTH                                                 PHILO             IL    61864
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 34 of 855
Name                                               Address1                              Address2             Address3           Address4          City           State Zip

JERRY RICHARD PALEK                                5401 RANGER RD                                                                                  ASHLEY         MI    48806‐9708
JERRY RIVERA                                       1912 NW 145TH CIR                                                                               VANCOUVER      WA    98685‐8004
JERRY ROBERT CRONGEYER                             17206 FAIRFIELD                                                                                 DETROIT        MI    48221‐3084
JERRY ROSLAWSKI                                    6827 S LOOMIS RD                                                                                WIND LAKE      WI    53185‐2137
JERRY RUSCH                                        1738 TIFFEN RD                                                                                  FREMONT        OH    43420‐3630
JERRY S ALLEN & MARILYN ALLEN JT TEN               310 FOREST LN                                                                                   HUNTSVILLE     TX    77340‐8923
JERRY S CRANE & MARIA A CRANE JT TEN               4618 FORESTVIEW                                                                                 MIDLAND        MI    48640
JERRY S EHRLICH CUST ROBIN A EHRLICH UGMA NJ       1021 ANNAPOLIS LANE                                                                             CHERRY HILL    NJ    08003‐2801

JERRY S EMETERIO                                   20242 LAKEMORE                                                                                  SAUGUS         CA    91351‐1057
JERRY S FRIEDMAN                                   137 HINE RD                                                                                     NEW MILFORD    CT    06776‐4809
JERRY S GRISSOM                                    4355 SATELLITE RD                                                                               DAYTON         OH    45415‐1822
JERRY S ISOM                                       6055 LANDCASTER DRIVE                                                                           FLINT          MI    48532‐3214
JERRY S JACOBS                                     17 MELROSE AVENUE                                                                               NEEDHAM        MA    02492‐3517
JERRY S KIRKPATRICK                                6035 S TRANSIT RD                                                                               LOCKPORT       NY    14094‐6321
JERRY S MILLER & MARCIA F MILLER JT TEN            8830 WINDBLUFF PT                                                                               DAYTON         OH    45458‐2855
JERRY S NINKE                                      1843 PARKAMO AVE                                                                                HAMILTON       OH    45011‐4656
JERRY S PALCOWSKI                                  6230 FISHER LANE                                                                                GREENDALE      WI    53129‐2126
JERRY S PATAKI                                     319 WALNUT                                                                                      WESTVILLE      IL    61883‐1665
JERRY S PODGORNIAK                                 11742 LUTZ DRIVE                                                                                WARREN         MI    48093‐1803
JERRY S POTTS                                      580 SANDRAE DR                                                                                  PITTSBURGH     PA    15243‐1733
JERRY S SANFORD                                    4545 LONGPOINT                                                                                  GENESCO        NY    14454‐9548
JERRY S STOWE                                      331 DE WILLIAMS RD                                                                              MORTON         MS    39117‐9554
JERRY S STRZEPEK                                   29 N LAUREL AVE                                                                                 ISELIN         NJ    08830‐1509
JERRY SARAVELAS TOD KATHERINE G SARAVELAS          24 SHADY HILL RD                                                                                WESTON         MA    02493‐1408
SUBLECT TO STA TOD RULES
JERRY SEXTON SEXTON CONSTRUCTION CORP              6121 HERITAGE PARK DR                 STE A100                                                  CHATTANOGA     TN    37416‐3660
JERRY SHERMAN STEPHENSON                           1947 E US HIGHWAY 36                                                                            MARKLEVILLE    IN    46056‐9446
JERRY SILVEY                                       4619 RD D O                                                                                     ORLANDO        CA    95963
JERRY SLATTON                                      7 KILDONAN LN                                                                                   BELLA VISTA    AR    72715
JERRY SMITH                                        14595 EAST ERIE                                                                                 ALBION         MI    49224‐9621
JERRY SUMMERS & CINDY SUMMERS JT TEN               1347 CR 4849                                                                                    TIMPSON        TX    75975‐2003
JERRY SWEENEY & JACQUELINE SWEENEY JT TEN          5175 RYBOLT RD                                                                                  CINCINNATI     OH    45248‐1016
JERRY T DEARY                                      2365 MIDLAND RD                                                                                 BAY CITY       MI    48706‐9402
JERRY T LOWMAN                                     3010 20TH AVE                                                                                   HALEYVILLE     AL    35565‐2226
JERRY T PETRI                                      3369 CAMINO DEL SOL DR                                                                          WILLIAMSTON    MI    48895‐9100
JERRY T RAMSEY                                     3683 EAST 103 STREET                                                                            CLEVELAND      OH    44105‐2449
JERRY T SMITH                                      3393 IVY HILL CIR UNIT B                                                                        CORTLAND       OH    44410‐9277
JERRY T THOMPSON                                   645 SEYE WAILO TRL                                                                              CLARKESVILLE   GA    30523‐2662
JERRY T WOODALL                                    3505 GILLELAND EXT                                                                              GAINESVILLE    GA    30507‐8650
JERRY TAKACS                                       16230 OLD COLONIAL RD                                                                           BLOOMINGTON    IL    61705
JERRY TATE JR                                      1329 FINDLEY ST                                                                                 SAGINAW        MI    48601‐1394
JERRY TAYLOR CUST JOHN MARK TAYLOR UGMA OK         511 CLUB HILL RD                                                                                JESSIEVILLE    AR    71949‐8523

JERRY TAYLOR JR                                    5901 WATERMAN                                                                                   ST LOUIS       MO    63112‐1517
JERRY TIMS                                         6442 WOOD ACRE CT                                                                               ENGLEWOOD      OH    45322‐3641
JERRY TRUMAN & DAWN A TRUMAN JT TEN                2567 BUTTON BUSH CIR                                                                            DERBY          KS    67037‐4201
JERRY TUJIAN & SETA TUJIAN JT TEN                  521 PITCAIRN DR                                                                                 FOSTER CITY    CA    94404‐3759
JERRY U AYRES                                      PO BOX 697                                                                                      SPRINGHILL     TN    37174‐0697
JERRY U BUSBEE                                     1246 E WALTON BL                      APT 222                                                   PONTIAC        MI    48340‐1581
JERRY UMPHRESS                                     1248 W POWERLINE RD                                                                             BEDFORD        IN    47421‐7701
JERRY V BISHOP                                     308 PARKER AVE                                                                                  KALAMAZOO      MI    49001‐5331
JERRY V CROFT                                      410 S 3RD ST                                                                                    BALDWYN        MS    38824‐2223
JERRY V KARR & LYNDA L KARR TR KARR FAM TRUST UA   7504 KIMBERLY AVE                                                                               BAKERSFIELD    CA    93308‐3701
07/21/88
JERRY V MCDOWELL                                   1624 N TELEGRAPH RD                                                                             PONTIAC        MI    48340
JERRY V PRESTON                                    5718 COUNTRY LANE                                                                               YPSILANTI      MI    48197‐9387
JERRY V RODDEWIG                                   724 MAPLEGROVE AVE                                                                              ROYAL OAK      MI    48067‐1648
JERRY V TALIAFERRO                                 1208 CRESTVIEW                                                                                  HURST          TX    76053‐6308
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 35 of 855
Name                                            Address1                              Address2             Address3           Address4          City            State Zip

JERRY V UNDERWOOD                               242 UNDERWOOD ROAD                                                                              WINNSBORO       LA    71295‐5864
JERRY V VANNORTWICK                             436 LAKE SENECA DR                                                                              MONTPELIER      OH    43543‐9212
JERRY V YELINEK                                 6190 BALLARD DR                                                                                 FLINT           MI    48505‐4800
JERRY VALENTINE                                 4017 W STANLEY RD                                                                               MT MORRIS       MI    48458‐9480
JERRY VARNEY                                    11589 MEADOWS CT                                                                                BELLEVILLE      MI    48111‐3190
JERRY W ACKERMAN                                105 N NEW BALLAS                                                                                CREVE COEUR     MO    63141‐7529
JERRY W ADAMS                                   51 CASS STATION DR NW                                                                           CARTERSVILLE    GA    30120‐4401
JERRY W AULER                                   711 W MONROE ST                                                                                 ALEXANDRIA      IN    46001‐1544
JERRY W BAIR                                    1328 BALL ST                          GAVELSTON                                                 GALVESTON       TX    77550
JERRY W BAKER                                   8080 NICHOLSON ROAD                                                                             CUMMING         GA    30040‐3041
JERRY W BALDWIN                                 2912 HEARTHSIDE DR                                                                              SPRING HILL     TN    37174‐9294
JERRY W BALL                                    P O BOX # 84                                                                                    STATE LINE      MS    39362
JERRY W BANKS                                   6126 BONETA RD                                                                                  MEDINA          OH    44256‐8762
JERRY W BAYLESS                                 1367 STEWART ST                                                                                 MINERAL RIDGE   OH    44440‐9501
JERRY W BEARD                                   313 NE CRAIG ST                                                                                 BURLESON        TX    76028‐2723
JERRY W BROWN                                   1852 LUNENBURG DR                                                                               SAINT PETERS    MO    63376‐8139
JERRY W BROWN CUST JEREMY T BROWN UTMA KY       RTE 2 BOX 284                                                                                   SEBREE          KY    42455‐9804

JERRY W BROWN CUST SHANE D BROWN UTMA KY        RTE 2 BOX 284                                                                                   SEBREE          KY    42455‐9804

JERRY W BROWN CUST SHAWN E BROWN UTMA KY        RTE 2 BOX 284                                                                                   SEBREE          KY    42455‐9804

JERRY W BURNS                                   PO BOX 1222                                                                                     GREENWOOD       IN    46142‐0398
JERRY W BYRAM                                   220 WHITE ST                                                                                    LEESBURG        AL    35983‐3650
JERRY W CALHOUN                                 555 VAUGHN RD                                                                                   LESLIE          MI    49251‐9313
JERRY W CALLAHAN                                7915 MAIN ST                                                                                    BIRCH RUN       MI    48415‐7718
JERRY W CHAPPELL                                5025 ELMS RD                                                                                    SWARTZ CREEK    MI    48473‐1601
JERRY W CLAXTON                                 8669 US ROUTE 127                                                                               CAMDEN          OH    45311‐9519
JERRY W COOPER                                  4013 TUDOR RD                                                                                   STILESVILLE     IN    46180‐9436
JERRY W COOPER                                  183 KEENELAND CT                                                                                BOWLING GREEN   KY    42104‐7592
JERRY W COX                                     3099 N OAK RD                                                                                   DAVISON         MI    48423
JERRY W DEAN                                    539 CREEKVIEW DRIVE                                                                             LAWRENCEVILLE   GA    30044‐3765
JERRY W DORRELL                                 6409 E TROTT RD                                                                                 BELTON          MO    64012‐8308
JERRY W DOWNS TR UA 07/31/00 JERRY W DOWNS      280 PIEDMONT AVE                                                                                PACIFICA        CA    94044‐3041
REVOCABLE TRUST
JERRY W EVANS                                   BOX 60 HERBERT RD                                                                               HARTSELLE       AL    35640‐0060
JERRY W FIELDS                                  34660 MOBILE COURT                                                                              FREMONT         CA    94555‐3275
JERRY W FISH                                    1211 S GENESEE DR                                                                               LANSING         MI    48915‐1919
JERRY W FISK                                    17616 CLEARVIEW ST                                                                              ATHENS          AL    35611‐0603
JERRY W FOSHEE CSTDN FOR EST OF CHRISTOPHER     2141 CROSSGATE ROAD                                                                             OKLAHOMA CITY   OK    73170‐3403
WALLACE FOSHEE
JERRY W GARDNER                                 2019 N B ST                                                                                     ELWOOD          IN    46036‐1747
JERRY W GAYLER                                  248 ROLLINGWOOD RD                                                                              ALVORD          TX    76225‐3327
JERRY W GRAFF                                   620 S LAUREL                                                                                    ROYAL OAK       MI    48067‐3104
JERRY W GRAMLING                                17 FRANCIS DR                                                                                   DALLAS          GA    30157‐7611
JERRY W GRAY                                    623 WEARLEY CREEK RD                                                                            LAWRENCEBURG    TN    38464‐6021
JERRY W GREEN                                   218 CHIMNEY LANE                                                                                HAUGHTON        LA    71037‐9208
JERRY W GRISSOM                                 4355 SATELLITE AVE                                                                              DAYTON          OH    45415‐1822
JERRY W HALL                                    2045 CRESTLINE RD                                                                               BURTON          MI    48509
JERRY W HARRINGTON                              6152 WALKER RD                                                                                  RIVERDALE       GA    30296‐3059
JERRY W HEATHERLY                               1269 TROY CT                                                                                    MASON           OH    45040‐1194
JERRY W HENDERSON                               3309 19TH STREET                                                                                MERIDIAN        MS    39301‐2839
JERRY W HORTON                                  14116 SALEM                                                                                     REDFORD         MI    48239‐2812
JERRY W HUTCHINSON                              255 BAY VIEW DRIVE                                                                              MADISON         MS    39110‐9178
JERRY W JEPSEN                                  01474 LARSON RD                                                                                 BOYNE CITY      MI    49712‐9163
JERRY W KUZEMCHAK                               909 QUEENSDALE AVE                    OSHAWA ON                               L1H 1M6 CANADA
JERRY W LATTIMORE                               14517 WISHING WIND WAY                                                                          CLERMONT        FL    34711‐6209
JERRY W LINDER                                  304 BOWMAN                                                                                      EAST ALTON      IL    62024‐1430
JERRY W MC MILLIN                               245 WARDWELL DR                                                                                 LENNON          MI    48449‐9602
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 36 of 855
Name                                             Address1                              Address2             Address3           Address4          City            State Zip

JERRY W MITCHELL                                 1298 JAMES ISLAND ST                                                                            THE VILLAGES    FL    32162‐2138
JERRY W MORGAN                                   1211 CHEROKEE AVE                                                                               ROYAL OAK       MI    48067‐3388
JERRY W MURRAY                                   BOX 369                                                                                         BROWN CITY      MI    48416‐0369
JERRY W MUSSULMAN                                13265 EAST G AVE                                                                                AUGUSTA         MI    49012‐8836
JERRY W NAMIE                                    2220 ANDERSON DRIVE SW                                                                          DECATUR         AL    35603‐1002
JERRY W NAPIER                                   2381 LASS                                                                                       KINGMAN         AZ    86401‐1352
JERRY W NUTT                                     14973 MONROE STREET                                                                             FLAT ROCK       MI    48134‐9645
JERRY W PACKARD                                  311 S 6TH AVE                                                                                   BEECH GROVE     IN    46107‐2013
JERRY W PEARSON                                  31 MANDI LN                                                                                     CARRIERE        MS    39426‐8400
JERRY W PERRY                                    11550 RAVENNA RD                                                                                TWINSBURG       OH    44087‐1037
JERRY W RHODES                                   4032 GLEN MEADOW DR                                                                             NORCROSS        GA    30092‐1938
JERRY W RHODES & LINDA H RHODES JT TEN           4032 GLEN MEADOW DR                                                                             NORCROSS        GA    30092‐1938
JERRY W RINGHISER                                1675 VICTOR AVE                                                                                 COLUMBUS        OH    43207‐4364
JERRY W SCARBOROUGH                              2964 LANE ST                                                                                    KANNAPOLIS      NC    28083‐9224
JERRY W SEDARS                                   75 BRIARSTONE COURT                                                                             MASON CITY      IA    50401‐4647
JERRY W SHATSWELL                                522 WESTWOOD DR                                                                                 INDEPENDENCE    MO    64050‐3241
JERRY W SIMMONS                                  42948 HAVEN DRIVE                                                                               ELYRIA          OH    44035‐2041
JERRY W SPRINKLE                                 2716 LINWOOD                                                                                    ROYAL OAK       MI    48073‐4609
JERRY W STALNAKER                                51 PAPER MILL ROAD                                                                              ELKTON          MD    21921‐3518
JERRY W STEVENS                                  1817 SANTA FE                                                                                   LEWISVILLE      TX    75077‐2741
JERRY W STRIEFF                                  25868 AUDREY                                                                                    WARREN          MI    48091‐3816
JERRY W STUCKEY                                  301 KINGS ROW DR                      APT 204                                                   LITTLE ROCK     AR    72207‐4168
JERRY W TIPPETT                                  15688 MILLIMAN RD                                                                               ROCKWOOD        MI    48173‐9614
JERRY W TODD                                     507 OAK ST                                                                                      CLIO            MI    48420‐1255
JERRY W TRAIL                                    9214 AVONDALE ROAD                                                                              BALTIMORE       MD    21234‐3226
JERRY W TRENT                                    35425 PHYLLIS                                                                                   WAYNE           MI    48184‐2909
JERRY W WEATHERFORD                              1487 CONNELL ST                                                                                 BURTON          MI    48529‐2204
JERRY W WEHRLEY & PATRICIA WEHRLEY JT TEN        3883 CROW ROAD                                                                                  TIPP CITY       OH    45371‐9611
JERRY W WELCH                                    4812 BALDWIN BLVD                                                                               FLINT           MI    48505‐3132
JERRY W WHEELER                                  3934 MANN VILLAGE ST                  UNIT 42                                                   INDIANAPOLIS    IN    46221‐2550
JERRY W WHEELER & JANET R WHEELER JT TEN         466 BRAKEL POINT DR                                                                             TRAVERSE CITY   MI    49684‐9341
JERRY W WHITEHEAD                                47 MARANDA LN                                                                                   SCOTTSVILLE     KY    42164
JERRY W WOMACK                                   1668 CAVAN DRIVE                                                                                MARIETTA        GA    30064‐2942
JERRY WATSON                                     19705 MURRAY HILL ST                                                                            DETROIT         MI    48235‐2458
JERRY WAYNE BAGGETT CUST RIDGE MCGREGOR          309 UNION SPRINGS RD                                                                            WHIGHAM         GA    39817
BAGGETT UTMA GA
JERRY WAYNE BRAUNER                              501 GROCE SUBDIVISION RD                                                                        ALBANY          KY    42602
JERRY WEIL & NANCY WEIL JT TEN                   7521 PLATEAU RD                                                                                 GREELEY         CO    80634‐9384
JERRY WELLS                                      2117 FAULKLAND RD                                                                               WILMINGTON      DE    19805‐1067
JERRY WELLS                                      2038 13TH ST                                                                                    BEDFORD         IN    47421‐2713
JERRY WIGGINS                                    819 ADDISON                                                                                     FLINT           MI    48505‐3912
JERRY WILLIAM TUTTLE TR DOROTHY E TUTTLE TRUST   3920 WREN AVE                                                                                   FORT WORTH      TX    76133‐2612
UA 03/05/85
JERRY WOJCIECHOWICZ                              4651 MARIAN                                                                                     WARREN          MI    48092‐2573
JERRY WOODRING                                   9337 BUFFALO AVE                                                                                NIAGARA FALLS   NY    14304‐4462
JERRY WOODS                                      6732 E NEVADA                                                                                   DETROIT         MI    48234‐2933
JERRY YANCEY                                     15349 PARKSIDE ST                                                                               DETROIT         MI    48238‐2115
JERRY YASHINSKY CUST JEFFREY YASHINSKY UGMA MI   120 OVERHILL PT                                                                                 ALPHARETTA      GA    30005‐8970

JERRY YASHINSKY CUST JOEL DAVID YASHINSKY UGMA   12417 FIELDMIST DRIVE                                                                           RALEIGH         NC    27614‐7505
MI
JERRYE L NASH                                    1118 MELOAN DRIVE                                                                               JACKSON         MS    39209‐7307
JERULD P WEILAND                                 2181 TRILLIUM WOODS DR                                                                          ANN ARBOR       MI    48105‐9354
JERVIS H LOYE                                    7554 COCONUT DRIVE                                                                              JENISON         MI    49428‐8764
JERVY D DONALDSON                                253 JOSEPHINE ST                                                                                ATLANTA         GA    30307‐2001
JERYL C MILLER                                   1411 EDGAR AVENUE                                                                               CHAMBERSBURG    PA    17201‐1307
JERYL E FISH CUST DASON J FISH UGMA MD           12608 QUOTING POET CT                                                                           BOWIE           MD    20720‐4314
JERYL E FISH CUST JERON E FISH UGMA MD           12608 QUOTING POET CT                                                                           BOWIE           MD    20720‐4314
JERYL GLASER                                     27 EVERGREEN CIR                                                                                MANHASSET       NY    11030‐3934
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 37 of 855
Name                                            Address1                           Address2               Address3         Address4          City            State Zip

JERYLE PETTERSON                                4266 BARCELLONA DR                                                                           FORT WORTH       TX   76133‐5408
JERZY B WARZECHA                                316 BRISTOL LN                                                                               CLARKSTON        MI   48348‐2316
JERZY LENDA                                     32034 W 10 MILE RD                                                                           FARMINGTON HILLS MI   48336‐2402

JERZY LOMPIERZ                                  103 MASON AVE                      FREDERICTON NB                          E3A 5T5 CANADA
JERZY S GRZELAK                                 43682 SWEETWOOD ST                                                                           STERLING HTS    MI    48314‐4507
JERZY SWIERC                                    686 ARNETT BLVD                                                                              ROCHESTER       NY    14619‐1426
JERZY T WYROBEK                                 8700 RIDGEWOOD AVE                 APT A302                                                  CPE CANAVERAL   FL    32920‐2029
JERZY Z BIALAS                                  48252 TILCH RD                                                                               MACOMB          MI    48044‐1994
JES PEL CO C/O LOUIS PLUNG & CO                 444 LIBERTY AVE STE 9TH FL                                                                   PITTSBURGH      PA    15222‐1207
JESS A BRUST                                    289 BRISTIE ST                                                                               PORTLAND        MI    48875‐1643
JESS A DILPORT                                  5422 MEADOW BROOK DRIVEE                                                                     FORT WAYNE      IN    46835
JESS B LEBOW JR & SHIRLEY A LEBOW JT TEN        2023 LANNEN ROAD                                                                             HOWELL          MI    48843‐9255
JESS B OCAMPO                                   6011 PENNYSYLVANIA AVE                                                                       ARLINGTON       TX    76017‐1931
JESS C TANKESLEY & MARK E TANKESLEY JT TEN      RR#4 BOX 352‐37                                                                              WARSAW          MO    65355‐9797
JESS CARRILLO                                   10957 LAUREL CYN BLVD                                                                        SAN FERNANDO    CA    91340‐4440
JESS ESPARZA                                    9465 WATSONVILLE ROAD                                                                        GILROY          CA    95020‐9428
JESS G GLOUSER CUST AARON W WELLS UTMA CA       PO BOX 164                                                                                   MARVEL          CO    81329‐0164
JESS G RODRIGUEZ                                14157 LARUE ST                                                                               SAN FERNANDO    CA    91340‐3836
JESS H DELK SR & GOLDIE L DELK JT TEN           404 YORKSHIRE DR                                                                             EULESS          TX    76040‐4113
JESS J ALU & VALERIA ALU JT TEN                 20136 GREAT OAKS CIR S                                                                       CLINTON TWP     MI    48036‐4403
JESS J SERRATO                                  1014 OTIS AVE                                                                                JOLIET          IL    60436‐2426
JESS J WEIMER                                   279 BERTRAND ST                                                                              LAFAYETTE       LA    70503‐3223
JESS JACKSON                                    1520 AUTUMNMIST DR                                                                           ALLEN           TX    75002‐4932
JESS L CUNNINGHAM                               1204 VIKING DRIVE                                                                            INDEPENDENCE    MO    64056‐1102
JESS L HOLLER CUST BLAKE P HOLLER UTMA IN       2909 E LYN‐LEA CT                                                                            TERRE HAUTE     IN    47805‐9784
JESS RAMSEY SR                                  C/O JUANITA WUELLER                304 WILLET DR                                             BUDA            TX    78610‐2636
JESS S ZAVALA                                   PO BOX 147                                                                                   PIRU            CA    93040‐0147
JESS SILVA                                      1112 1ST ST                        # 209                                                     CORONADO        CA    92118‐1407
JESS W CAMPBELL                                 1000 HUNTER                                                                                  YPSILANTI       MI    48198‐3186
JESS W FREDERICY                                C/O PATRICIA PAVLESCAK             37416 SUGAR CREEK LN                                      N RIDGEVILLE    OH    44039‐1244
JESS W JARED                                    740 NORTH HARRIS                                                                             YPSILANTI       MI    48198‐4123
JESS W NICHOLSON                                2821 TOMCAT TRAIL                                                                            LONDON          KY    40741‐8048
JESS W STORY                                    979 GREMEL ROAD                                                                              SEBEWAING       MI    48759‐9706
JESSAMINE A RICHARD                             5445 MELROSE BLVD                                                                            BATON ROUGE     LA    70806‐3523
JESSE A COLE                                    512 FLINT BLVD                                                                               FORTVILLE       IN    46040
JESSE A LEVANDUSKY JR                           11 SABRINA DR                                                                                TRENTON         NJ    08628‐1523
JESSE A PHIPPS                                  3811 KINGS LN 7                                                                              BURTON          MI    48529‐1183
JESSE A TAPP & NORMA N TAPP TEN COM             4301 HWY 283                                                                                 SEBREE          KY    42455‐9346
JESSE AUSTIN JR                                 14434 EAST CARROLL BLVD                                                                      UNIVERISTY      OH    44118‐4667
                                                                                                                                             HEIGHTS
JESSE B ADAMS JR                                6108 CLARENCE DR                                                                             JACKSON         MS    39206‐2336
JESSE B ADAMS JR & WILMA JEAN ADAMS JT TEN      6108 CLARENCE DR                                                                             JACKSON         MS    39206‐2336
JESSE B HARRIS                                  3631 EASTVIEW LN                                                                             SPENCER         IN    47460
JESSE B LOVE JR                                 5872 E MONROE RD                                                                             TECUMSEW        MI    49286‐9400
JESSE B MATA                                    576 SMALLEY AVE                    APT 9                                                     HAYWARD         CA    94541‐4950
JESSE B NORVIEL                                 90 LISA LANE DHR                                                                             OKEECHOBEE      FL    34974
JESSE B RUSH                                    23 COBBLESTONE BLVD                                                                          GAS CITY        IN    46933‐1651
JESSE BAJTKIEWICZ                               36900 AURORA ROAD                                                                            SOLON           OH    44139‐4656
JESSE BARSENAS                                  2923 COOPER                                                                                  SAGINAW         MI    48602‐3749
JESSE BASUEL                                    11784 AZALEA GARDEN WAY                                                                      RNCHO CORDOVA   CA    95742
JESSE BLAIR                                     32 ONTARIO ST                                                                                HUNTINGTON      NY    11743‐5537
JESSE BLAKEY                                    5925 BOETTCHER COURT                                                                         INDIANAPOLIS    IN    46228‐1224
JESSE BRADLEY MASSEY                            1663 COUNTY RD 20                                                                            OAKLAND         MS    38948‐2687
JESSE BRANDON JR                                39107 NOTTINGHAM DR                                                                          ROMULUS         MI    48174‐6326
JESSE BROWN JR                                  20262 MURRAY HILL                                                                            DETROIT         MI    48235‐2129
JESSE BRYANT                                    24322 NICOLE COURT                                                                           MORENO VALLEY   CA    92551‐3626
JESSE C CAPSHAW & CHAROLETTE C CAPSHAW JT TEN   459 MACEDONIA CHURCH RD                                                                      HEISKELL        TN    37754‐2211
                                          09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 38 of 855
Name                                            Address1                              Address2                 Address3       Address4          City               State Zip

JESSE C COOPER                                  504 W SEVENTH AVE                                                                               PETAL              MS    39465‐2010
JESSE C COWAN                                   14609 DALWOOD ST                                                                                NORWALK            CA    90650‐5620
JESSE C CREW                                    4547 COUNTY RD #200                                                                             CORINTH            MS    38834
JESSE C DIAMOND                                 2426 EAST CHRISTY DRIVE                                                                         PHOENIX            AZ    85028
JESSE C ELLER                                   19 BETHEL COURT ALTERSGATE                                                                      NEWARK             DE    19713‐1685
JESSE C FULLER                                  7301 N STATELINE RD PO 26                                                                       ORANGEVILLE        OH    44453‐0026
JESSE C HALFORD                                 17358 WESTHAMPTON                                                                               SOUTHFIELD         MI    48075‐4312
JESSE C KIRK                                    3010 MILLSFIELD HWY                                                                             DYERSBURG          TN    38024‐1010
JESSE C MCGOWAN                                 1033 CATALINA DR                                                                                W CARROLLTON       OH    45449‐1649
JESSE C NEVILLE                                 BOX 398                                                                                         WALHALLA           SC    29691‐0398
JESSE C ORTEGA                                  920 FRANK ST                                                                                    ADRIAN             MI    49221‐3021
JESSE C OSBORNE                                 130 BULLDOG HOLLOW                                                                              ELIZABETHTON       TN    37643‐6952
JESSE C THOMAS                                  142 E WICHITA ST                                                                                SHREVEPORT         LA    71101‐5031
JESSE CASARES                                   976 SINGING RIDGE RD                                                                            EL CAJON           CA    92019
JESSE CASPERSON                                 4125 PARCH ST                         LOT 25                                                    ST PETERSBURG      FL    33709
JESSE CHANDLER & DORA CHANDLER JT TEN           5008 3RD AVE                                                                                    TUSCALOOSA         AL    35405
JESSE COWART                                    1372 NW 56 ST                                                                                   MIAMI              FL    33142‐3142
JESSE D AGNEW JR                                2059 KATHERINE DR                                                                               GOODLETTSVILLE     TN    37072‐3110
JESSE D BLACK                                   PO BOX 682                                                                                      AURORA             MO    65605‐0682
JESSE D BRANDON                                 42 GENEVA ST                                                                                    HIGHLAND PARK      MI    48203‐2733
JESSE D DULANEY                                 4236 KELLAR                                                                                     FLINT              MI    48504‐2163
JESSE D EARLE                                   2416 ARAGON AVE SOUTH                                                                           KETTERING          OH    45420‐3506
JESSE D FINK                                    3825 SHOALS ST                                                                                  WATERFORD          MI    48329‐2267
JESSE D GILMORE                                 4508 VARSITY CIR                                                                                LEHIGH ACRES       FL    33971‐2060
JESSE D GRAY                                    5400 KRISTIN PL                                                                                 ANDERSON           IN    46017‐9659
JESSE D GRIMES                                  RR# 1 BOX 132                                                                                   BUTLER             MO    64730‐9749
JESSE D GUTIERREZ                               5072 ROSSWAY DR                                                                                 FLINT              MI    48506‐1528
JESSE D HICKLAND                                49 WEST BROADWAY                                                                                SALEM              NY    12865‐9718
JESSE D HUGHES                                  1290 DENISE DR                                                                                  KENT               OH    44240‐1680
JESSE D LAWSON                                  3709 ROBIN                                                                                      FLINT              MI    48505‐6604
JESSE D PITTARD                                 6696 US HIGHWAY 441 SE                                                                          OKEECHOBEE         FL    34974‐9505
JESSE D PRINCE                                  6846 STATE RT 316 W                                                                             CIRCLEVILLE        OH    43113‐9550
JESSE D STEWARD                                 3005 SLEAFORD DRIVE                                                                             WATERFORD          MI    48329‐3350
JESSE D YORK                                    ATTN LAURA G YORK                     1155 HORSE SHORE DRIVE                                    GREENCASTLE        IN    46135‐9446
JESSE DANIEL TOWNEND & SANDRA JEAN TOWNEND JT   3609 LEMANS                                                                                     ARLINGTON          TX    76016‐2937
TEN
JESSE DAVILA                                    3215 TAFT AVE SW                                                                                WYOMING            MI    49509‐3355
JESSE DUBOSE JR                                 18112 FENMORE                                                                                   DETROIT            MI    48235‐3224
JESSE E ANDERSON                                6310 CROSSWINDS DR                                                                              LAKE WYLIE         SC    29710‐7527
JESSE E ANDERSON                                6969 ARNO ALLISONA RD                                                                           COLLEGE GROVE      TN    37046‐9217
JESSE E AVERY                                   607 JAMES AVE                                                                                   COLONIAL HEIGHTS   VA    23834‐2811

JESSE E BRIDGEWATER                             20213 MARK TWAIN STREET                                                                         DETROIT            MI    48235‐1689
JESSE E CARROLL                                 1112 PARADISE DR                                                                                GREENBRIER         TN    37073‐5913
JESSE E COOPER                                  106 MORNINGSTAR LN                                                                              PALATKA            FL    32177‐8642
JESSE E FRANKLIN                                7591 E LANDERSDALE RD                                                                           CAMBY              IN    46113‐8512
JESSE E GLOSTER                                 3219 MILBURN ST                                                                                 HOUSTON            TX    77021‐1128
JESSE E GREEN                                   347 MAGNOLIA AVE                                                                                DAYTON             TN    37321‐6785
JESSE E HOOVER                                  307 NORTH JENNINGS RD                                                                           INDEPENDENCE       MO    64056‐1605
JESSE E HORTON JR                               1423 FLAT ROCK ROAD                                                                             CAMDEN             SC    29020‐8276
JESSE E HUSTON                                  2320 ASPEN CT                                                                                   ANDERSON           IN    46011‐2805
JESSE E JACKSON                                 6920 S MICHIGAN                                                                                 CHICAGO            IL    60637‐4527
JESSE E KELLY                                   2105 BUCKLAND AVE                                                                               FREMONT            OH    43420‐3144
JESSE E NASH                                    RT #1                                                                                           ONLY               TN    37140‐9801
JESSE E RILEY                                   51 BLOOMFIELD AVENUE                                                                            TOLEDO             OH    43607‐2403
JESSE E ROLLINS                                 HC 62 BOX 845                                                                                   SAWYER             OK    74756
JESSE E STEPHENS                                1954 COUNTY RD 900 N                                                                            GREENUP            IL    62428‐3127
JESSE E TOLERSON III                            PO BOX 6699                                                                                     KOKOMO             IN    46904‐6699
JESSE E TURNER III                              6331 SEVEN PINES DR                                                                             W CARROLLTON       OH    45449‐3063
                                                 09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 39 of 855
Name                                               Address1                               Address2             Address3           Address4          City              State Zip

JESSE E YOUNG JR                                   PO BOX 12394                                                                                     KANSAS CITY       MO    64116‐0394
JESSE EUGENE MCLENDON                              C/O TAMARA MC LENDON                   11054 FALK TRACE                                          CONYERS           GA    30094‐5568
JESSE F BROWN                                      7984 RODMAN CT                                                                                   GLEN BURNIE       MD    21061‐6245
JESSE F LOVE & MASIE M LOVE JT TEN                 9041 STONEWALL JACKSON HWY                                                                       FRONT ROYAL       VA    22630‐5040
JESSE F MILLER JR                                  14116 RUTLAND                                                                                    DETROIT           MI    48227‐1316
JESSE F STINECIPHER JR                             4334 CRESTVIEW DR                                                                                CHATTANOOGA       TN    37415‐2804
JESSE F WHITE                                      6716 E NATIONAL RD                                                                               S CHARLESTON      OH    45368‐9722
JESSE FISHER JR & MAURICE DONALD FISHER JT TEN     5237 S SUNRAY DR                                                                                 MEMPHIS           TN    38118‐8036

JESSE G BELL                                       20204 HUBBELL                                                                                    DETROIT           MI    48235‐1686
JESSE G JONES & LORETTA K JONES JT TEN             22560 LANGE ST                                                                                   ST CLAIR SHRS     MI    48080‐2874
JESSE G KING                                       618 CONGRESS COURT                                                                               DAYTON            OH    45415‐2641
JESSE G MURPHY                                     431 W OSAGE ST                                                                                   GREENFIELD        IN    46140‐2200
JESSE G TURNBOW                                    101 TYRONE ROAD                                                                                  COMMERCE          GA    30530‐7058
JESSE GUITERREZ                                    5405 DARLA DR                                                                                    OKLAHOMA CITY     OK    73135‐4335
JESSE H BURKEY                                     125 SUNRISE TERRACE                                                                              LIVERPOOL         NY    13088‐6643
JESSE H BUTLER                                     19501 EAST 18TH TERRACE SOUTH                                                                    INDEPENDENCE      MO    64057‐1799
JESSE H EVANS                                      69 EVANS TRAIL                                                                                   DAWSONVILLE       GA    30534‐5930
JESSE H JONES                                      4001 HUMPHREY                                                                                    DETROIT           MI    48204‐1619
JESSE H PHILLIPS                                   41 RAESTA DR                                                                                     MOORESVILLE       IN    46158‐1273
JESSE H PORTILLO                                   413 GROSS STREET                                                                                 MILPITAS          CA    95035‐2642
JESSE HAID COUGHLIN                                512 S DICKINSON ST                                                                               MADISON           WI    53703‐3715
JESSE HOBBS                                        1149 WAGO DRIVE                                                                                  PUEBLO            CO    81006‐9630
JESSE IRA WALKER JR                                12611 GORES MILL RD                                                                              REISTERSTOWN      MD    21136‐5126
JESSE J ANDERSON                                   PO BOX 932                                                                                       MONTICELLO        MS    39654‐0932
JESSE J BLOODSAW                                   1833 DUNLAP DR                                                                                   STREETSBORO       OH    44241‐5185
JESSE J BRYANT                                     1334 MONTREAT AVE SW                                                                             ATLANTA           GA    30310‐3204
JESSE J CLINE                                      2187 VAN OSS DR                                                                                  DAYTON            OH    45431‐3325
JESSE J DAVIS                                      158 E STEWART AVE                                                                                FLINT             MI    48505‐3418
JESSE J DICKERSON                                  1010 WOLFE ST APT 720                                                                            LITTLE ROCK       AR    72202‐4644
JESSE J DIEHL & DOROTHEA M RICCO JT TEN            PO BOX 185                                                                                       GRAWN             MI    49637‐0185
JESSE J DOMINGUEZ                                  656 WOOD ST                                                                                      POWELL            WY    82435‐1730
JESSE J DURAN & JUANITA M DURAN JT TEN             401 WALCOTT LANE                                                                                 BATAVIA           IL    60510‐2834
JESSE J GELSOMINI & VERA M GELSOMINI JT TEN        238 ALLISTON ROAD                                                                                SPRINGFIELD       PA    19064‐3112
JESSE J GONZALES                                   RT 2                                   413 E HIGH                                                NAPOLEON          OH    43545‐9206
JESSE J HAYMER                                     11505 LATONKA TRAIL                                                                              FLORISSANT        MO    63033‐7520
JESSE J MARK JR                                    400 W NOTTINGHAM RD                                                                              DAYTON            OH    45405‐5250
JESSE J MARTIN SR                                  482 THORS ST                                                                                     PONTIAC           MI    48342‐1967
JESSE J MICHAUD                                    48 COLES RD                                                                                      MIDDLETOWN        CT    06457
JESSE J MILEWSKI                                   2122 LORI DRIVE                                                                                  WILMINGTON        DE    19808‐4706
JESSE J MILEWSKI & DOROTHY M MILEWSKI JT TEN       2122 LORI DRIVE                                                                                  WILMINGTON        DE    19808‐4706

JESSE J NAGY                                       2770 EAST GREENWOOD ROAD                                                                         PRESCOTT          MI    48756
JESSE J NIETO                                      39332 DRAKE WAY                                                                                  FREMONT           CA    94538‐1234
JESSE J PORTWOOD & MRS LANA J PORTWOOD JT TEN      4167 BRIAN                                                                                       BRIGHTON          MI    48114‐9209

JESSE J PORTWOOD JR                                4167 BRIAN                                                                                       BRIGHTON          MI    48114‐9209
JESSE J SANTFANT                                   128 EVERGREEN CT                                                                                 MOUNT STERLING    KY    40353‐8203
JESSE J SCROGGINS                                  1077 EASTWAY DRIVE                     APT 9                                                     YOUNGSTOWN        OH    44505‐4679
JESSE J WADE & VERNA L WADE JT TEN                 909 CANDY APPLE AVENUE                 MT AIRY                                                   MOUNT AIRY        MD    21771
JESSE J WILKERSON                                  17 BEAUVOIR CIRCLE                                                                               ANDERSON          IN    46011‐1906
JESSE J ZARUDSKI                                   3638 SARAZEN DR                                                                                  NEW PORT RICHEY   FL    34655‐2034

JESSE JACOBS                                       311 N BROOM ST                                                                                   WILMINGON       DE      19805‐3516
JESSE JAMES THOMPSON & TAMMY L THOMPSON JT         5623 BELLA VILLA DRIVE                                                                           ALMONT TOWNSHIP MI      48003‐9728
TEN
JESSE JORDAN                                       3702 EAST 149 ST                                                                                 CLEVELAND         OH    44120‐4932
JESSE K HARRIS                                     5683 AUTUMN WAY                                                                                  GRAYLING          MI    49738‐8521
JESSE KIRKSEY JR                                   422 W BALTIMORE STREET                                                                           FLINT             MI    48505‐6319
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 40 of 855
Name                                              Address1                              Address2             Address3           Address4          City            State Zip

JESSE L AARON                                     5016 BALDWIN BLVD                                                                               FLINT           MI    48505‐3134
JESSE L BROOKS                                    4 RAMPART STREET                                                                                FORT MITCHELL   AL    36856‐4316
JESSE L BURGER                                    1639 BEAVERBROOK DRIVE                                                                          DAYTON          OH    45432‐2103
JESSE L BURTON                                    17544 SANTA BARBARA                                                                             DETROIT         MI    48221‐2529
JESSE L COCKREL                                   19361 STRATHCONA DR                                                                             DETROIT         MI    48203‐1495
JESSE L DAVIS                                     20022 N 31ST AV                                                                                 PHOENIX         AZ    85027‐3900
JESSE L FORTENBERRY                               2618 CAMINO GRANDE ST                                                                           GAUTIER         MS    39553‐6857
JESSE L FOWLER                                    2441 S 21ST AVE                                                                                 BROADVIEW       IL    60153‐3864
JESSE L HALL                                      PO BOX 5222                                                                                     DETROIT         MI    48205‐0222
JESSE L HANEY                                     3192 SHORELAND DR                                                                               BUFORD          GA    30518‐1555
JESSE L HARRIS                                    714 OXFORD                                                                                      YOUNGSTOWN      OH    44510‐1455
JESSE L LEAVELL JR                                21967 E PRINCTON DR                                                                             AURORA          CO    80018‐3121
JESSE L RAMSEY                                    9300 BRITTANY POINT DR                                                                          LITTLE ROCK     AR    72206‐4239
JESSE L SHARP                                     12644 BEAVERLAND                                                                                DETROIT         MI    48223‐3002
JESSE L THOMAS                                    14909 LINDSAY                                                                                   DETROIT         MI    48227‐4401
JESSE L WAMER                                     3519 ST RT #45                                                                                  SALEM           OH    44460‐9457
JESSE L WARE                                      16814 LILAC STREET                                                                              DETROIT         MI    48221‐2938
JESSE L WARREN                                    C/O ELOISE WARREN                     509 E 71ST STREET                                         CHICAGO         IL    60619‐1106
JESSE L WHITLEY                                   6210 COLLEGE                                                                                    KANSAS CITY     MO    64130‐3961
JESSE LEE VERGARA                                 1785 S FRANKLIN RD                                                                              GREENWOOD       IN    46143‐9718
JESSE LEON STUCKEY                                PO BOX 224                                                                                      HEDGESVILLE     WV    25427‐0224
JESSE LEWIS GIBNEY TR UA 08/15/91 JESSE LEWIS     14254 BREEZEWAY PLACE                                                                           SAN DIEGO       CA    92128‐4273
GIBNEY TRUST
JESSE M BANKS                                     19 NORTH ST                                                                                     NEWTON CTR      MA    02159‐1737
JESSE M BROWN                                     2300 WALBASH DRIVE                                                                              MONTGOMERY      AL    36116‐2207
JESSE M COKER                                     FOREST GROVE                          21221 CHARINA CIR                                         CHANDLER        TX    75758‐8203
JESSE M HARRIS JR                                 1415 S 53RD ST                                                                                  KANSAS CITY     KS    66106‐1603
JESSE M HUBBLE                                    441 HAWLEY DR                                                                                   DANVILLE        IN    46122‐1153
JESSE M ROOKS                                     11118 EAST NC 97                                                                                ROCKY MOUNT     NC    27803
JESSE M ROOKS & MRS FRANCES B ROOKS JT TEN        11118 EAST NC 97                                                                                ROCKY MOUNT     NC    27803
JESSE M WARD                                      4967 STONINGTON RD                                                                              WINSTON SALEM   NC    27103‐5238
JESSE M WARD & VON B WARD JT TEN                  4967 STONINGTON RD                                                                              WINSTON SALEM   NC    27103‐5238
JESSE M WARD & YVONNE B WARD JT TEN               4967 STONINGTON RD                                                                              WINSTON SALEM   NC    27103‐5238
JESSE MADDEN JR                                   2536 KILDARE AVENUE                                                                             DAYTON          OH    45414‐3227
JESSE MALDONADO                                   2646 MASSASOIT LN                                                                               LAFAYETTE       IN    47909‐8230
JESSE MANGHAM                                     17316 18TH AVE W                                                                                LYNNWOOD        WA    98037‐4050
JESSE MARTIN PRIMM                                4062 E M‐55                                                                                     PRESCOTT        MI    48756‐9333
JESSE MARTINEZ                                    2847 DONNER WY                                                                                  RIVERSIDE       CA    92509‐1941
JESSE MARTINEZ                                    1735 KEEGAN CT SW                                                                               WYOMING         MI    49519
JESSE MEDLOCK                                     PO BOX 49016                                                                                    SARASOTA        FL    34230
JESSE MUMFORD                                     787 E 90TH ST                                                                                   CLEVELAND       OH    44108‐1230
JESSE NATALE                                      34978 WINSONG LN                                                                                RICHMOND        MI    48062‐4316
JESSE NORMAN BRADLEY JR                           207 EUSTIS AVENUE S E                                                                           HUNTSVILLE      AL    35801‐4234
JESSE O BARNES                                    7804 N FAIRWAY PL                                                                               MILWAUKEE       WI    53223‐4222
JESSE O DODGE JR                                  PO BOX 90206                                                                                    BURTON          MI    48509‐0206
JESSE O PETTYJOHN                                 8 RYERS LN                                                                                      MATAWAN         NJ    07747
JESSE ORTIZ                                       7412 CANOGA CIR                                                                                 FT WORTH        TX    76137‐1368
JESSE ORTIZ                                       10011 ORTONVILLE RD                                                                             CLARKSTON       MI    48348‐1939
JESSE P HESS                                      138 CLAYBROOK DR                                                                                E PALESTINE     OH    44413‐1099
JESSE P VIERTEL JR                                1804 LORI DR                                                                                    BOONVILLE       MO    65233‐1885
JESSE PUGH                                        19671 OTTAWA ROAD                                                                               APPLE VALLEY    CA    92308‐3717
JESSE PULIDO                                      2137 WEST CUYLER                                                                                CHICAGO         IL    60618‐3013
JESSE R AMOS                                      PO BOX 4185                                                                                     SAGINAW         MI    48606‐4185
JESSE R ARCHER                                    1602 COOLIDGE RD                                                                                EAST LANSING    MI    48823‐1710
JESSE R BALL & CLARA H BALL JT TEN                10113 E 71ST TERR                                                                               RAYTOWN         MO    64133‐6622
JESSE R HOOKS                                     261 BRADEN FLATS LN                                                                             BRICEVILLE      TN    37710‐2204
JESSE R JOHNSON                                   4809 S WALNUT ST                                                                                MUNCIE          IN    47302‐8533
JESSE R MYERS                                     249 BIDWELL TERR                                                                                ROCHESTER       NY    14613‐1340
JESSE R WALSH JR                                  1520 CAMBRON CT                                                                                 VANDALIA        OH    45377‐9754
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 41 of 855
Name                                               Address1                            Address2             Address3           Address4          City               State Zip

JESSE RIOS                                         13432 LAKE HILL DR                                                                            FORT WAYNE         IN    46845‐2330
JESSE ROWETT                                       RR 1 BOX 158E                                                                                 SPRINGVILLE        PA    18844‐9775
JESSE RUFF                                         3238 S OAK RD                                                                                 DAVISON            MI    48423‐9141
JESSE S GRUNDER                                    1360 STATE ROUTE 534 SW                                                                       NEWTON FALLS       OH    44444‐9520
JESSE S HUDDLESTON                                 10974 HWY 1 N                                                                                 WRENS              GA    30833‐9382
JESSE S SAAHIR                                     5566 JONATHAN DR                                                                              NEWARK             CA    94560‐2508
JESSE SCHWARTZ & DOLORES SCHWARTZ JT TEN           APT 9D                              450 SHORE RD                                              LONG BEACH         NY    11561‐5336
JESSE STEVENSON JR                                 3186 OAKCLIFF RD NW                                                                           ATLANTA            GA    30311‐1021
JESSE TURNER JR                                    2461 ORANGE AVE                                                                               DAYTON             OH    45439‐2839
JESSE V CARROLL                                    4134 EVANS STREET                                                                             MURFREESBORO       TN    37129‐1959
JESSE V GOODING                                    40599 BYTHEFIELD LANE                                                                         CANTON             MI    48188
JESSE V GOODING & THELMA H GOODING JT TEN          40599 BYTHEFIELD LANE                                                                         CANTON             MI    48188
JESSE V MONTOYA                                    2349 LARRY DR                                                                                 DALLAS             TX    75228‐3823
JESSE V TURTURICE                                  7870 RD#5 LUSK LOCK LANE                                                                      LISBON             OH    44432‐9342
JESSE W ASHWORTH                                   820 E JUNCTION ST                                                                             APACHE JCT         AZ    85219
JESSE W CAMPBELL                                   13333 RENE CIR                                                                                SANTA FE           TX    77510‐9101
JESSE W CARTILLAR                                  11726 SILVERGATE DR                                                                           DUBLIN             CA    94568‐2210
JESSE W CLAYTON                                    11380 POTASI LAKE RD                                                                          MINERAL POINT      MO    63660‐9406
JESSE W DILLON                                     39 N GLADSTON                                                                                 INDIANAPOLIS       IN    46201‐3601
JESSE W DOWNEY & KAREN S GRAY JT TEN               14183 TRAILS END DR                                                                           MONTPELIER         VA    23192‐2740
JESSE W HARTMAN JR                                 BOX 14                                                                                        NEW HOPE           VA    24469‐0014
JESSE W HERNANDEZ                                  155 BOYKEN                                                                                    ROCHESTER HILLS    MI    48307‐3807
JESSE W HILL                                       6005 CLEVELAND DR                                                                             PUNTA GORDA        FL    33982‐2011
JESSE W HOWELL                                     8350 FOREST DRIVE                                                                             PASADENA           MD    21122‐4748
JESSE W LONG                                       1152 EASY ROAD                                                                                CARLISLE           PA    17013‐8911
JESSE W NORTHINGTON                                307 ALEXANDER CREEK CT                                                                        RAYMORE            MO    64083‐7109
JESSE W OTTERSTATTER JR                            602 CRAWFORD ST                                                                               LAFAYETTE          LA    70506‐6175
JESSE W TEMPLIN                                    38 IRENE STREET                                                                               BUFFALO            NY    14207‐1010
JESSE W WALKER                                     779 GRANVILLE DRIVE                                                                           HOUSTON            TX    77091‐2517
JESSE WILKS                                        8468 HIGHLAND GLENN DR                                                                        CHARLOTTE          NC    28269‐6110
JESSE WILSON                                       105 BARKLEY DRIVE                                                                             MONROE             LA    71203‐2405
JESSE ZDZISLAW NAGORKA                             320 CRESENT DRIVE                                                                             DEARBORN           MI    48124‐1208
JESSEE J FURTADO                                   97 MIDWOOD DR                                                                                 SWANSEA            MA    02777‐3512
JESSI D MARTIN                                     192 HARVARD OVAL                                                                              FREEHOLD           NJ    07728
JESSI S JUSTEMENT                                  11721 GLEN MILL RD                                                                            ROCKVILLE          MD    20854‐1916
JESSICA A BRANDON                                  16845 GRIGGS                                                                                  DETROIT            MI    48221‐2809
JESSICA A GLENN                                    23728 W 87TH TER                                                                              LENEXA             KS    66227‐7210
JESSICA A LEAR TOD MICHAEL J LEAR SUBJECT TO STA   6610 LAKE AVE                                                                                 ELYRIA             OH    44035
TOD RULES
JESSICA A MARTENS                                  79‐7199 MAMALAHOA HWY               APT C322                                                  HOLUALOA           HI    96725‐9707
JESSICA A SNYDER                                   6361 MUD MILL RD                                                                              BREWERTON          NY    13029‐9648
JESSICA ANN RYS & SHARON RYS JT TEN                14615 JONAS AVE                                                                               ALLEN PARK         MI    48101‐1848
JESSICA ANNA TONARELY                              605 KANUGA DR                                                                                 WEST PALM BCH      FL    33401‐7219
JESSICA ANNE ROHR                                  147 46 70TH AVE                                                                               FLUSHING           NY    11367
JESSICA ANNE SCALLY                                17609 STONE VALLEY DR                                                                         HAGERSTOWN         MD    21740‐7750
JESSICA ANNE SOVIK                                 183 CLAREMONT AV                                                                              BUFFALO            NY    14223‐2920
JESSICA B KELLEY                                   108 LOWER TER                                                                                 SAN FRANCISCO      CA    94114‐1413
JESSICA B MCAULIFFE                                21 GRANTLAND RD                                                                               WELLESLEY HILLS    MA    02481‐7607
JESSICA BURGHOLZER                                 81 OLNEY DRIVE                                                                                AMHERST            NY    14226‐3344
JESSICA C BRYSON                                   73 CHURCHILL RD                                                                               WEST SPRINGFIELD   MA    01089‐3011

JESSICA CAROL‐ANN ENTWISTLE                        515 SHACKLETON POINT RD                                                                       BRIDGEPORT         NY    13030‐9749
JESSICA D ALLEN                                    18401 FAUST AVENUE                                                                            DETROIT            MI    48219‐2925
JESSICA D PAZ                                      PSC 473 BOX 864                                                                               FPO                AP    96349‐5555
JESSICA DEE KUHL                                   203 S 19TH ST                                                                                 BRIGANTINE         NJ    08203‐2023
JESSICA DOTY LYNN                                  383 CARLTON AVE                     APT 7W                                                    BROOKLYN           NY    11238‐1020
JESSICA E KOPPERL                                  42 MAPLE ST                                                                                   CTR BARNSTEAD      NH    03225‐3602
JESSICA ELLEN BURY                                 7112 HENDERSON LOOP                                                                           ANCHORAGE          AK    99507‐2543
JESSICA H HARDIE & JEAN M LYNCH JT TEN             1256 ROBERT DICKEY PKWY                                                                       KETTERING          OH    45409‐2119
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 42 of 855
Name                                            Address1                            Address2                 Address3       Address4          City                State Zip

JESSICA HOCUM                                   3676 E 128TH ST                                                                               GRANT               MI    49327‐8878
JESSICA HUGGINS                                 10930 WADE PARK AVE                                                                           CLEVELAND           OH    44106‐1818
JESSICA HUGGINS                                 10930 WADE PARK AVENUE                                                                        CLEVELAND           OH    44106‐1818
JESSICA JOY NUCKOLLS                            4950 SHECKLER RD                                                                              FALLON              NV    89406‐7250
JESSICA L BROWN CUST KEITH ALEX COMPTON UTMA    2269 LOUIE DR                                                                                 ARNOLD              MO    63010‐1849
MO
JESSICA L HARRISON                              403 HOWARD AVE                                                                                FRANKLIN SQUARE     NY    11010‐3342

JESSICA L ZANGHI                                1287 MASTER ST                                                                                N TONAWANDA         NY    14120
JESSICA LAUREN MILLSAP                          1016 BON AIR DR                                                                               AUGUSTA             GA    30907
JESSICA LEBLANC                                 12690 ELDORADO CT NE                                                                          BLAINE              MN    55449
JESSICA LEWIS ROSS                              931 N SELFRIDGE BLVD                                                                          CLAWSON             MI    48017‐1032
JESSICA LINEBERGER                              1711 ASPEN LN                                                                                 SHARPSVILLE         PA    16150‐9643
JESSICA LYN ROBBINS                             25015 WOODRIDGE TRIANGLE                                                                      FARMINGTN HLS       MI    48335‐2053
JESSICA LYNN MATTHEWS                           8506 GLEN COURT                                                                               SAN ANTONIO         TX    78239‐3023
JESSICA LYNN WITHERELL                          32 GLEN MARY RD                                                                               BAR HARBOR          ME    04609‐1320
JESSICA M PLATT                                 3400 OLD BAINBRIDGE RD              APT 303                                                   TALLAHASSEE         FL    32303‐2678
JESSICA MATERSON                                3431 BROOKVIEW CT                                                                             HUDSONVILLE         MI    49426‐1619
JESSICA MIDOCK & CAROLE A MIDOCK JT TEN         2105 21ST WAY                                                                                 WEST PALM BEACH     FL    33407‐6639

JESSICA MOHAW CAPPIO CUST PETER VAUGHAN CAPPIO 5 LYONS ROAD                                                                                   ARMONK              NY    10504‐2225
UGMA NY
JESSICA MURPHY                                 128 MCKINLEY AVE                                                                               BUFFALO             NY    14217‐2461
JESSICA OERTEL                                 80‐10 GRAND CENTRAL PARKWAY                                                                    JACKSON HEIGHTS     NY    11370‐1638

JESSICA P PAPPAS                                29 WINDCROFT LANE                                                                             LANCASTER           NY    14086‐9463
JESSICA PIPPIN GATY                             8214 N BUENA VISTA DR                                                                         CASA GRANDE         AZ    85294
JESSICA PRYCE                                   47 SUNRISE DR                                                                                 MIDDLETOWN          NY    10940‐2729
JESSICA R GO & TERESITO R GO JT TEN             340 5TH ST                                                                                    RIDGEFIELD PK       NJ    07660‐1056
JESSICA R SCHNEIDER                             7804 TRENT DRIVE                    KINGS POINT IN TAMARAC                                    TAMARAC             FL    33321‐8867
JESSICA R SNITKO                                326 S STREET                                                                                  DAVISON             MI    48423‐1620
JESSICA RAE FRIEDMAN                            3852 LEEVIEW COURT                                                                            COLVER CITY         CA    90232‐3007
JESSICA REGINE WOLFF TR UA 01/30/86             8624 CARACAS AVENUE                                                                           ORLANDO             FL    32825‐7906
JESSICA REIFSNYDER                              2000 W PACIFIC AVE APT M2                                                                     WEST COVINA         CA    91790‐2024
JESSICA RIEGLE                                  58 BOXWOOD LANE                                                                               FAIRPORT            NY    14450‐3753
JESSICA RUCKER DANN CUST HUNTER FULTON DANN     178 WOODCREST DR                                                                              ELKTON              MD    21921‐7817
UTMA MD
JESSICA RUCKER DANN CUST LINDSEY FRANCES DANN   178 WOODCREST DR                                                                              ELKTON              MD    21921‐7817
UTMA MD
JESSICA RUNYAN                                  4165 S ROSLYN ST                                                                              DENVER              CO    80237‐2114
JESSICA S FINNITY                               5044 CLEMENS PL                                                                               INDIANAPOLIS        IN    46239‐7965
JESSICA S VAVRUS CUST HANNAH V SASSE UTMA WA    1119 YEW AVENUE NE                                                                            OLYMPIA             WA    98506‐4070

JESSICA THAMAN                                  115 E LYNN ST                       BOX 306                                                   BOTKINS             OH    45306‐0306
JESSICA THOLE                                   79 STUART AVE                                                                                 AMITYVILLE          NY    11701‐4225
JESSICA WACKERMAN                               570 WATBORO HILL DR                                                                           ALPHARETTA          GA    30004‐6981
JESSICA WACKERMAN                               570 WATBORO HILL DR                                                                           ALPHARETTA          GA    30004
JESSICA WACKERMAN                               270 STEPPING STONE DR                                                                         ALPHARETTA          GA    30004‐4007
JESSICA WACKERMAN                               791 WYLIE ST SE                     APT 913                                                   ATLANTA             GA    30316
JESSICA WINIFRED CASEY                          51 LEMON TWIST LN                                                                             PORT ORANGE         FL    32119‐3644
JESSICA WOLFE                                   2454 WOODSDALE RD                                                                             SALEM               OH    44460‐9595
JESSIE A BADAGLIACCA                            2678 BALLIET ST                                                                               COPLAY              PA    18037‐2115
JESSIE A BIELSKI                                37 LOWTHER ROAD                                                                               FRAMINGHAM          MA    01701‐4130
JESSIE A BURKE                                  3732 CALUMET RD                                                                               DECATUR             GA    30034‐2130
JESSIE A LADACH & JEAN A SCHORNICK JT TEN       36029 SMITHFIELD RD                                                                           FARMINGTON          MI    48335‐3151
JESSIE A PULLIAM                                12655 SOUTH NEW GARDEN ROAD                                                                   EXCELSIOR SPRINGS   MO    64024‐6252

JESSIE A WEBER                                  7327 DEVONSHIRE AVE                                                                           GREENDALE           WI    53129‐2210
JESSIE ALEMAN JR                                4030 RACE                                                                                     FLINT               MI    48504‐2227
                                                 09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 43 of 855
Name                                               Address1                          Address2               Address3         Address4          City            State Zip

JESSIE ANNE PRICE                                  PO BOX 271                                                                                  LURAY           VA    22835‐0271
JESSIE B BROWN                                     3208 W JOLLY RD                                                                             LANSING         MI    48911‐3348
JESSIE B CLOMAN                                    5126 NORTH JENNINGS RD                                                                      FLINT           MI    48504‐1114
JESSIE B DAWKINS JR                                46 SAWMIL CREEK TRAIL                                                                       SAGINAW         MI    48603‐8626
JESSIE B DISHMAN                                   ATTN MARY K DISHMAN               450 FALLING WATER RD                                      COOKEVILLE      TN    38506‐6827
JESSIE B FLEMING                                   BOX 966                                                                                     GLENNS FERRY    ID    83623‐0966
JESSIE B KLEMANN                                   6055 TONAWANDA CREEK ROAD                                                                   LOCKPORT        NY    14094‐9525
JESSIE BEASLEY                                     2712 WEISSER PARK                                                                           FT WAYNE        IN    46806‐3785
JESSIE BROOKE PEWITT                               855 N DOBSON RD                   APT 1017                                                  CHANDLER        AZ    85224‐6903
JESSIE BROWN                                       2500 VANESS ST                                                                              PORT HURON      MI    48060‐6877
JESSIE C BAGWELL                                   22 FUNDERBURK RD                                                                            MURFREESBORO    AR    71958‐8853
JESSIE C CLARK                                     315 17TH ST                                                                                 BEDFORD         IN    47421‐4305
JESSIE C HUTCHERSON                                38417 WABASH                                                                                ROMULUS         MI    48174‐1139
JESSIE C JENT                                      PO BOX 429                                                                                  ALEXANDRIA      IN    46001‐0429
JESSIE C LISK & DOUGLAS C LISK JT TEN              34 MEETING HOUSE LN                                                                         SPRINGFIELD     PA    19064‐1206
JESSIE C LISK & LLOYD L LISK JR JT TEN             34 MEETING HOUSE LN                                                                         SPRINGFIELD     PA    19064‐1206
JESSIE C RICHARDSON                                193 FULTON                                                                                  PONTIAC         MI    48341‐2758
JESSIE C ROTHERT TR ROTHERT TRUST A UA 10/9/91     2372 BRANNER DR                                                                             MENLO PARK      CA    94025‐6304

JESSIE C SIMMONS                                   220 VARNETT RD                                                                              ROGERSVILLE     AL    35652
JESSIE C VANHORN SR & PHYLLIS J VANHORN JT TEN     1975 3RD OAK ST                                                                             PRESCOTT        MI    48756‐9673

JESSIE C WASHINGTON                              1014 E HOLBROOK AVE                                                                           FLINT           MI    48505‐2241
JESSIE COHEN                                     326 MOCKINGBIRD DR                                                                            MONROE TWP      NJ    08831
JESSIE D DUNBAR                                  2289 WILLOW AVE                                                                               PITTSBURG       CA    94565‐4310
JESSIE D MYLES                                   20036 GREENVIEW AVE                                                                           DETROIT         MI    48219‐1545
JESSIE DAVIES TR JESSIE DAVIES LIVING TRUST UA   69 HANDY RD                                                                                   GROSSE POINTE   MI    48236‐3808
10/06/98                                                                                                                                       FARM
JESSIE E COOPER CUST JESSICA KENDALL COOPER UTMA 20963 TIMBER RIDGE TER APT 304                                                                ASHBURN         VA    20147‐7726
VA
JESSIE E COOPER CUST JONATHAN REESE COOPER UTMA 19118 CHARTIER DR                                                                              LEESBURG        VA    20176‐1274
WV
JESSIE E FITZGERALD                              PO BOX 50292                                                                                  BOWLING GREEN   KY    42102‐2892
JESSIE E KIRK                                    2839 GEORGIA CROSSING RD                                                                      WINCHESTER      TN    37398‐2709
JESSIE E MC FADDEN                               3834 MOHAWK ST                                                                                DETROIT         MI    48208‐1810
JESSIE E SCOTT                                   705 N PARK AVENUE                                                                             ALEXANDRIA      IN    46001‐2300
JESSIE ELIZABETH COOPER CUST JONATHAN REESE      19118 CHARTIER DR                                                                             LEESBURG        VA    20176‐1274
COOPER UTMA VA
JESSIE ELLEN THOMAS                              572 N THOMAS LN                                                                               SMYRNA          GA    30082‐3369
JESSIE ENGLERT                                   50 CONLON ST                                                                                  BRISTOL         CT    06010‐4103
JESSIE F DEARMOND                                2424 ONEIDA DR                                                                                DAYTON          OH    45414‐5121
JESSIE F ECTOR                                   3 AUGUSTA AVE                                                                                 BUFFALO         NY    14226‐2204
JESSIE F SIMPSON JR                              6146 WESTDALE                                                                                 GRAND BLANC     MI    48439‐8512
JESSIE F WILSON                                  1920 UPTON AVE                                                                                TOLEDO          OH    43607‐1683
JESSIE G FULTON                                  10060 MICHAEL RD                                                                              COULTERVILLE    IL    62237‐1806
JESSIE G WARD                                    804 THEDFORD                                                                                  SEAGOVILLE      TX    75159‐1626
JESSIE GEE & DONALD GEE JT TEN                   13912 ALBAIN RD                                                                               PETERSBURG      MI    49270‐9392
JESSIE GREEN                                     692 COUNTY ROAD 18                                                                            FORKLAND        AL    36740‐3437
JESSIE H ADLER                                   262 TWIN CREEKS DR                                                                            CHAGRIN FALLS   OH    44023‐6702
JESSIE H REGISTER & LYDIA F REGISTER JT TEN      310 VERA ROAD                                                                                 BRISTOL         CT    06010
JESSIE H SANTOS                                  G123 COUNTY ROAD 17                                                                           HOLGATE         OH    43527
JESSIE H TROUTEN ROSS S TROUTEN & DOUGLAS J      4326 APACHE DR                                                                                BURTON          MI    48509‐1414
TROUTEN JT TEN
JESSIE HAYES & MINNETTE GOLDEN JT TEN            553 MANISTEE                                                                                  CALUMET CITY    IL    60409‐3312
JESSIE HAYLIK                                    50777 HANFORD RD                                                                              CANTON          MI    48187‐4618
JESSIE HENDERSON HUBBARD                         430 MASSACHUSETTS AVE               APT 606                                                   INDIANAPOLIS    IN    46204‐1530
JESSIE I GAULT & MARY A MC DONALD JT TEN         5078 FLUSHING RD                                                                              FLUSHING        MI    48433‐2522
JESSIE I HOLT                                    3808 LAKE DRIVE                                                                               TAYLORVILLE     IL    62568
JESSIE I RAY                                     2242 PARKWAY DR                                                                               DEERFIELD       OH    44411‐9765
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 44 of 855
Name                                              Address1                             Address2             Address3           Address4          City             State Zip

JESSIE I SPEARS                                   712 N JENISON AVE                                                                              LANSING          MI    48915‐1309
JESSIE J BALLARD & DOROTHY A BALLARD TEN ENT      2901 S LEISURE WORLD BLVD            APT 112                                                   SILVER SPRING    MD    20906

JESSIE J BENNETT                                   194 W WILSON                                                                                  PONTIAC          MI    48341‐2862
JESSIE J GARRETT                                   347 PINKNEY ST                                                                                WINDER           GA    30680‐2241
JESSIE J GREGORY                                   222 FLOURNOY                                                                                  OAK PARK         IL    60304‐1511
JESSIE J HUDSON & DEANDRE C HUDSON JT TEN          8407 SOUTH MUSKEGON                                                                           CHICAGO          IL    60617
JESSIE J HUNTER JR                                 510 ACADEMY                                                                                   FERNDALE         MI    48220‐3315
JESSIE J MATTHEWS                                  6356 WEST GOWAN RD                                                                            LAS VEGAS        NV    89108‐4945
JESSIE J TIDWELL                                   411 KIRK ST                                                                                   LAWRENCEBURG     TN    38464‐2308
JESSIE J YARBROUGH                                 4255 SHAY LAKE RD                                                                             SILVERWOOD       MI    48760‐9713
JESSIE JAMES BUCHANAN                              20200 PATTON                                                                                  DETROIT          MI    48219‐1445
JESSIE JANE MATTHEWS                               7222 TRAVELLA BLVD                                                                            PITTSBURGH       PA    15235‐1158
JESSIE JAY WILLIAMS                                100 PRICE CI                                                                                  FRISCO           TX    75034‐9147
JESSIE L BRENT TOD GARY S BRENT SUBJECT TO STA TOD 3430 HOPKINS RD                                                                               YOUNGSTOWN       OH    44511‐3053
RULES
JESSIE L COLLINS                                   622 E RIDGE WAY AVE                                                                           FLINT            MI    48505‐2964
JESSIE L CUMBIE                                    410 A LEE MADDOX RD                                                                           JACKSON          GA    30233‐5791
JESSIE L CURTIS                                    PO BOX 46810                                                                                  LOS ANGELES      CA    90046‐0810
JESSIE L GARNER                                    503 SOUTH OUTER DRIVE                                                                         SAGINAW          MI    48601‐6404
JESSIE L GILLAM                                    1601 LINDENWOOD LANE                                                                          KOKOMO           IN    46902‐5813
JESSIE L GRAYER                                    2894 NORGATE LANE                                                                             DECATUR          GA    30034‐2853
JESSIE L JONES                                     PO BOX 523                                                                                    LAKEMONT         GA    30552‐0009
JESSIE L JONES                                     3161 LIBERTY ELLERTON RD                                                                      DAYTON           OH    45418‐1314
JESSIE L MANESS                                    228 W CORNELL                                                                                 PONTIAC          MI    48340‐2724
JESSIE L MICHEL                                    3169 PALMER ROAD                                                                              RANSOMVILLE      NY    14131‐9621
JESSIE L MOSELEY                                   566 SUNNY ACRES DR                                                                            BEDFORD          IN    47421‐7818
JESSIE L NASH                                      5622 INDIANA                                                                                  KANSAS CITY      MO    64130‐4048
JESSIE L WILSON                                    7740 BUNTON RD                                                                                YPSILANTI        MI    48197‐9742
JESSIE LAVERNE SCUDDER                             239 ADAMS ST                                                                                  PENDLETON        IN    46064‐1111
JESSIE LEE CONLEY                                  N‐15699 TOWNSHIP                    LIVE ROAD G                                               POWERS           MI    49874
JESSIE LEE WILLIAMS                                1429 HICKORY HOLLOW DR                                                                        FLINT            MI    48532‐2057
JESSIE M ADAMS                                     830 E 6TH ST                                                                                  FLINT            MI    48503‐2772
JESSIE M BEEKMAN                                   14 LONGVIEW DR                                                                                POWDER SPRINGS   GA    30127‐8710

JESSIE M BRYANT                                    5157 SOUTH TOD                                                                                WARREN           OH    44481‐9744
JESSIE M CUMMINGS                                  3002 WISNER                                                                                   FLINT            MI    48504‐2542
JESSIE M DENCH TR UA 02/04/2008 JESSIE M DENCH REV 614 CLIFF ST                                                                                  HO HO KUS        NJ    07423
TRUST
JESSIE M DRAPER                                    70 LOCUST AVE                       APT B606                                                  NEW ROCHELLE     NY    10801‐7347
JESSIE M FARLEY & SHARRON HAYES JT TEN             3014 E LAFAYETTE                                                                              DETROIT          MI    48207‐3898
JESSIE M FORD                                      7 FREDRICKSBURG TOWNE ST                                                                      SOUTHFIELD       MI    48075‐3462
JESSIE M HORN                                      180 MEADOW DRIVE                                                                              ELYRIA           OH    44035‐1838
JESSIE M JONES                                     209 MARSH LANE                                                                                WILMINGTON       DE    19804‐2332
JESSIE M JONES TR JESSIE MARIE JONES TRUST UA      209 MARSH LANE                                                                                WILMINGTON       DE    19804‐2332
03/09/05
JESSIE M KENYON                                    PO BOX 126                                                                                    GILBERT          PA    18331‐0126
JESSIE M MOORE                                     15900 HAZEL                                                                                   E CLEVELAND      OH    44112‐2911
JESSIE M OWENS                                     4019 ASHBOURNE LN                                                                             INDIANAPOLIS     IN    46226‐3018
JESSIE M OWENS                                     2440 12 HUNTER AVENUE                                                                         BRONX            NY    10475
JESSIE M SHERRILL                                  409 W MCCLELLAN                                                                               FLINT            MI    48505‐4074
JESSIE M SMITH                                     1101 DUDLEY                                                                                   PONTIAC          MI    48342‐1930
JESSIE M SPARKS                                    4118 BUCKINGHAM RD                  APT B                                                     LOS ANGELES      CA    90008‐3341
JESSIE M TOBIN                                     2124 E STATE ST EXT                                                                           HUNTINGTON       IN    46750‐3034
JESSIE M TYLER                                     786 MCCABE RD                                                                                 LANDISBURG       PA    17040‐8049
JESSIE M WHITE                                     1134 WOODBRIDGE DR                                                                            MONTGOMERY       AL    36116‐3518
JESSIE M WILLIAMS                                  PO BOX 356                                                                                    MANSON           NC    27553‐0356
JESSIE M WRIGHT                                    4053 N IRISH RD                                                                               DAVISON          MI    48423‐8945
JESSIE MAE DELANEY                                 419 BROWNELL RD                                                                               BALTIMORE        MD    21220‐3011
                                           09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                               Part 4 of 8 Pg 45 of 855
Name                                         Address1                          Address2             Address3           Address4          City            State Zip

JESSIE MAE SEWARD                            1011 LAUREL SPRINGS LN                                                                      MARIETTA        GA    30064‐3965
JESSIE MAE WOODS                             PO BOX 524                                                                                  CHOUDRANT       LA    71227‐0524
JESSIE MAXINE RUBIN                          133 WEST BAKER STREET                                                                       FLINT           MI    48505‐4137
JESSIE MC DOWELL KEY                         3369 OVERBROOK RD                                                                           BIRMINGHAM      AL    35213‐3929
JESSIE MCDANIEL                              15741 STANSBURY STREET                                                                      DETROIT         MI    48227‐3324
JESSIE MENDOZA JR                            ROUTE 1 BOX 138                                                                             OAKWOOD         OH    45873‐9801
JESSIE MILLARD DOUGLAS                       1590 OLD MIDDLEBORO HWY                                                                     LA FOLLETTE     TN    37766‐5127
JESSIE MOBLEY                                6415 BELFAST ST                                                                             DETROIT         MI    48210‐1071
JESSIE N BARBER                              1290 LEDGEWOOD LN                                                                           AVON            IN    46123‐8506
JESSIE NELL YOUNG                            PO BOX 38                                                                                   ALLENSVILLE     KY    42204‐0038
JESSIE NOLAN JR                              14782 WOODMONT AVE                                                                          DETROIT         MI    48227‐1454
JESSIE O SIMPSON                             2519 STARLITE                                                                               SAGINAW         MI    48603‐2550
JESSIE P HOELSCHER                           3021 S CLAREMONT AVE                                                                        INDEPENDENCE    MO    64052‐3043
JESSIE P SMITH                               837 LAIRD RD                      C/O WANDA H SMITH                                         LAKE ORION      MI    48035
JESSIE PERKINS JR                            35 RESERVOIR ST                                                                             BROCKTON        MA    02301‐1112
JESSIE PICONE & MICHELLE PUPICH JT TEN       3101 WOODROW ST                                                                             MCKEESPORT      PA    15133‐2417
JESSIE R ALLGOOD                             162 S LAKE DRIVE                                                                            HIRAM           GA    30141‐4032
JESSIE R BARNES                              1022 WEST FIRST STREET                                                                      DAYTON          OH    45407‐2601
JESSIE R BOOKER                              1001 EUSTIS DR                                                                              INDIANAPOLIS    IN    46229‐2312
JESSIE R WILSON                              165 OPDYKE 8                      AURBURN HILLS                                             AUBURN HILLS    MI    48326
JESSIE RODRIGUEZ                             3819 FRANKLIN ST                                                                            FREMONT         CA    94538‐5517
JESSIE RODRIGUEZ                             39 HUBBARD RUN DR                                                                           GLASTONBURY     CT    06033‐2335
JESSIE S GOULD                               1914 MONTEITH                                                                               FLINT           MI    48504‐5200
JESSIE SUE PATTERSON                         4725 W 165TH ST                                                                             LAWNDALE        CA    90260‐2826
JESSIE T BRATCHER                            152 AUDUBON CT                                                                              WINTER HAVEN    FL    33884‐2501
JESSIE T GOODMAN                             220 WELCOME WAY BLVD W            APT 102A                                                  INDIANAPOLIS    IN    46214‐2954
JESSIE T MURRAY & JOSEPH P MURRAY JT TEN     40 EDGECUMB RD                                                                              WEST MILFORD    NJ    07480‐2220
JESSIE T PERROTTO                            831 JOHN ST                                                                                 PEEKSKILL       NY    10566‐2135
JESSIE TAYLOR                                5451 SIGNAL HILL DR                                                                         DUBLIN          CA    94568‐1186
JESSIE V JAMES                               PO BOX 223                                                                                  JACKSON         GA    30233‐0006
JESSIE W BAXLEY                              995 BLANTON MILL RD                                                                         GRIFFIN         GA    30224‐6904
JESSIE W KINCADE                             924 WEST 54TH PLACE                                                                         CHICAGO         IL    60609‐6101
JESSIE W KULIESIS & CAROLE A WEST JT TEN     PO BOX 267                                                                                  WHITMAN         MA    02382‐0267
JESSIE W PHILPOT                             144 AUGSBUGER AVE                                                                           HAMITLON        OH    45011
JESSIE W RUSH                                109 ALPINE CT                                                                               BOWLING GREEN   KY    42104‐5301
JESSIE W WADDELL                             1065 DOVER                                                                                  PONTIAC         MI    48341‐2350
JESSIE W YANCEY                              C/O ANN YANCEY AIF                820 CROSSHILL ROAD                                        COLUMBIA        SC    29205
JESSIE WAPPEL                                17613 GREENFIELD CT                                                                         ORLAND PARK     IL    60467‐8519
JESSIE WEYAND                                05305 ASPEN DR                                                                              CHARLEVOIX      MI    49720‐9115
JESSIE WILSON ADAMS                          7204 SHAKER RD                                                                              FRANKLIN        OH    45005‐2549
JESSIE Y ITO                                 2220 HOO HAI STREET                                                                         PEARL CITY      HI    96782‐1757
JESSIE Y ITO & LANCE A ITO JT TEN            2220 HOOHAI ST                                                                              PEARL CITY      HI    96782‐1757
JESSIE Y JEMISON                             4008 OLD LEEDS CIRCLE                                                                       BIRMINGHAM      AL    35213‐3204
JESSIE Y PARSONS                             13875 SHAVEY ROAD                                                                           DE WITT         MI    48820‐9009
JESSIE Y WELLS                               2200 KILARNEY ROAD                                                                          DECATUR         GA    30032‐7127
JESUIT RETREAT HOUSE                         ATTN RICHARD BUHLER               BOX 185                                                   SEDALIA         CO    80135‐0185
JESUS A AYBAR                                10303 NEWINGTON DR                                                                          ORLANDO         FL    32836‐3745
JESUS A HERNANDEZ                            2021 MT OSO WAY                                                                             MODESTO         CA    95358‐6314
JESUS A LARA                                 6652 AVENEDA VALENCIA                                                                       RIVERSIDE       CA    92509‐5625
JESUS A RIOS                                 5616 BENNINGTON DR                                                                          LANSING         MI    48917‐4808
JESUS A SANTANA                              326 W IRIS STREET                                                                           OXNARD          CA    93033‐3518
JESUS B CARRILLO                             PO BOX 405                                                                                  QUESTA          NM    87556‐0405
JESUS C ARROYO                               754 SHELDON ST                                                                              EL SEGUNDO      CA    90245‐2407
JESUS C CADENA                               2933 MIDLAND RD                                                                             BAY CITY        MI    48706‐9267
JESUS C GRAHAM                               208 N 9TH ST 1602                                                                           SAINT LOUIS     MO    63101‐1443
JESUS C MAYA                                 7746 CARTILLA AVE                                                                           FONTANA         CA    92335
JESUS C ORTEGA                               116 STEVEN COURT                                                                            COLUMBIA        TN    38401‐5566
JESUS C VELO                                 PO BOX 124                                                                                  PICO RIVERA     CA    90660‐0124
JESUS CHEDA                                  400 E 57TH ST APT 5C                                                                        NEW YORK        NY    10022‐3021
                                                09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 46 of 855
Name                                              Address1                           Address2             Address3           Address4          City              State Zip

JESUS DELAPENA                                    13703 JUDITH STREET                                                                          LA PUENTE         CA    91746
JESUS E ARROYO                                    13315 BRASS RING LN                                                                          CORONA            CA    92880‐3491
JESUS E BENAVIDES                                 7124 W LAFAYETTE                                                                             DETROIT           MI    48209‐2282
JESUS E CAMPBELL                                  7161 S STONY LAKE RD                                                                         JACKSON           MI    49201‐7202
JESUS FLORES                                      3628 FORT DR                                                                                 WATERFORD         MI    48328‐1331
JESUS FLORES                                      1020 BANNACK DR                                                                              ARLINGTON         TX    76001‐6109
JESUS G AGUILAR                                   1271 S DYE RD                                                                                FLINT             MI    48532‐3317
JESUS G CONTRERAS                                 8122 N 5TH STREET                                                                            FRESNO            CA    93720‐2183
JESUS G MARINEZ                                   1920 W MAPLE                                                                                 LANSING           MI    48915‐1454
JESUS G SANCHEZ                                   APT 111                            144‐67 41ST AVE                                           FLUSHING          NY    11355‐1400
JESUS H MENDEZ                                    5572 ANGELUS AVE                                                                             SAN GABRIEL       CA    91776‐1602
JESUS H SAGREDO                                   6125 VAN DYKE RD                                                                             BROWN CITY        MI    48416‐9674
JESUS HERNANDEZ                                   10031 STANFORD AVE                                                                           SOUTH GATE        CA    90280‐5517
JESUS HERNANDEZ                                   7605 DOVER DRIVE                                                                             YPSILANTI         MI    48197‐9457
JESUS J SANCHEZ                                   415 VARRON ST                                                                                VINSENVILLE       IL    60101‐2133
JESUS JIMENEZ                                     116 CONTINENTAL RD                                                                           WEST MILFORD      NJ    07480‐1802
JESUS L CASTILLON                                 14982 RYAN ST                                                                                SYLMAR            CA    91342‐3815
JESUS L CRUZ                                      14431 REX STREET                                                                             SYLMAR            CA    91342‐2830
JESUS LOPEZ                                       9009 SHAVER DR                                                                               EL PASO           TX    79925
JESUS M BURCIAGA                                  2898 QUINTO WAY                                                                              SAN JOSE          CA    95124‐1842
JESUS M HERNANDEZ                                 17105 ABLE DRIVE                                                                             EDINBURG          TX    78539‐1610
JESUS M MONTEZ                                    6010 S SPRINGBROOK DRIVE                                                                     TUCSON            AZ    85746‐3148
JESUS M ORTIS                                     10202 ELIZABETH CT                                                                           SAN ANTONIO       TX    78240‐3599
JESUS M PEREZ                                     PO BOX 752                                                                                   GREENWOOD         LA    71033‐0752
JESUS M SALINAS                                   2216 W 24TH                                                                                  CHICAGO           IL    60608‐3906
JESUS M SANCHEZ                                   2237 THOMAS ST                                                                               LOS ANGELES       CA    90031‐2907
JESUS MANUEL GUTIERREZ                            1215 FERDINAND STREET                                                                        DETROIT           MI    48209‐2447
JESUS MARIA GARCIA                                812 KENNEDY STREET                                                                           ALICE             TX    78332‐3632
JESUS MARTINEZ                                    16711 CLUB DRIVE                                                                             SOUTHGATE         MI    48195‐6509
JESUS MARTINEZ & SANDRA J MARTINEZ JT TEN         16711 CLUB DRIVE                                                                             SOUTHGATE         MI    48195‐6509
JESUS MONTANO                                     6715 FAUST STREET                                                                            DETROIT           MI    48228‐3432
JESUS O SAUCILLO                                  4881 WIOTA ST                                                                                EAGLE ROCK        CA    90041‐2452
JESUS P HERNANDEZ                                 33557 10TH ST                                                                                UNION CITY        CA    94587‐2338
JESUS PEREZ                                       2436 PALMETTO ST                                                                             NORFOLK           VA    23513‐4451
JESUS PEREZ                                       920 S WINTER ST                                                                              ADRIAN            MI    49221‐3853
JESUS PLATA                                       3805 FOSTER AVE                                                                              BALDWIN PARK      CA    91706‐3912
JESUS R AVILA                                     6830 AGNES AVE                                                                               NO HOLLYWOOD      CA    91605‐5901
JESUS R CERVANTEZ JR                              182 HIGH ST                                                                                  PONTIAC           MI    48342‐1119
JESUS R MORALES                                   185 DEVIN DR                                                                                 GARNER            NC    27529
JESUS REYES                                       3230 PLAZA CIRCLE                                                                            EDINBURG          TX    78539‐6476
JESUS ROBLES                                      2756 CLARK RD                                                                                LAPEER            MI    48446‐9482
JESUS RODRIGUEZ                                   758 BARRY AVE                                                                                PERTH AMBOY       NJ    08861‐1610
JESUS RODRIGUEZ                                   3035 S CENTRAL PARK                                                                          CHICAGO           IL    60623‐4649
JESUS RUIZ                                        4934 CENTER ST                                                                               FAIRGROVE         MI    48733
JESUS S HINOJOSA                                  810 BELMORE ST                                                                               LEIPSIC           OH    45856‐9239
JESUS S MOSQUEDA                                  3915 W 62ND STREET                                                                           CHICAGO           IL    60629‐4620
JESUS T MENDEZ                                    1130 BOTTLEBRUSH PL                                                                          OXNARD            CA    93030‐5246
JESUS T PAREDES                                   561 REYNOLDS AVE                                                                             AKRON             OH    44313‐6655
JESUS TREVINO                                     1611 NORA DR                                                                                 EDINBURG          TX    78539‐6613
JESUS V ESCALANTE                                 43841 27TH ST E                                                                              LANCASTER         CA    93535‐5816
JESUS V MARTINEZ                                  1581 STATE ROAD 54 W                                                                         SPRINGVILLE       IN    47462‐5251
JESUS VASQUEZ                                     389 S WINDING DR                                                                             PONTIAC           MI    48328‐3568
JESUS VASQUEZ                                     2794 DEARBORN DRIVE                                                                          ROCHESTER HILLS   MI    48309‐3834
JESUS WILLARS                                     4521 ORCHID LANE                                                                             CORPUS CHRISTI    TX    78416‐1101
JESUSA H VARANA                                   9535 WORMER AVENUE                                                                           REDFORD           MI    48239‐1680
                                                                                                                                               TOWNSHIP
JESUSA HERNANDEZ                                  227 N JOHN DALY                                                                              DEARBORN HGTS     MI    48127‐3702
JET L BIERONSKI CUST JOHN D BIERONSKI UTMA IL     5727 RAINTREE LANE                                                                           WESTMONT          IL    60559‐2123
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 47 of 855
Name                                            Address1                               Address2             Address3           Address4          City              State Zip

JETA PUDISTS MCKILLIP                            308 WEST NEBRASKA AVENUE                                                                        SPOKANE           WA    99205‐6250
JETHELLA D NOLAN                                 11418 S VINCENNES AVE                                                                           CHICAGO           IL    60643‐4316
JETHRO F SELLS                                   2703 E EPLER AVENUE                                                                             INDIANAPOLIS      IN    46227‐4556
JETTA R COURTNEY                                 1918 E 45TH ST                                                                                  ANDERSON          IN    46013‐2528
JETTE G RIFFEL                                   4125 PINE PARK DR                                                                               BATON ROUGE       LA    70809‐2385
JETTIE B ADAMS                                   601 E GRACLAWN AVE                                                                              FLINT             MI    48505‐5253
JEURIO D GARCIA                                  2615 SEDGWICK AVE                                                                               BRONX             NY    10468‐3801
JEVON BIRTHA                                     33 WOODROW PL                                                                                   BUFFALO           NY    14225‐3105
JEWEL A BROWN                                    2136 MEENCH DR                                                                                  OKLAHOMA CITY     OK    73170‐7494
JEWEL ADY & ABBE GOSSWEILER & STEPHEN ADY JT TEN 2602 EVE ANN DRIVE                                                                              PRT JEFF STA      NY    11776

JEWEL BUSHMAN                                   9 FOREST AVE                                                                                     HIGHLAND HTS      KY    41076‐1017
JEWEL C WELLS & HAROLD T WELLS JT TEN           1549 PINE NEEDLES LANE                                                                           LEXINGTON         KY    40513‐1503
JEWEL D CROMWELL                                417 ROBINSON ST                                                                                  BAY               AR    72411‐9414
JEWEL D SLESNICK                                212 TREASURE PL                                                                                  JUPITER           FL    33469
JEWEL DERRYBERRY                                1429 NORTHRIDGE                                                                                  PLANO             TX    75075‐8710
JEWEL E PARKER                                  4210 ANOKA ST IDGE RD                                                                            SPRINGFIELD       OH    45583
JEWEL HENRY                                     774 MC JESTER ROAD                                                                               PANGBURN          AR    72121‐9516
JEWEL HILL                                      PO BOX 2471                                                                                      ALLIANCE          OH    44601‐0471
JEWEL J GRANGER & CHARLENE G SORENSEN JT TEN    7239 LIGHT HOUSE RD                                                                              PORT HOPE         MI    48468‐9759

JEWEL JULIEN                                    275 WORTHINGTON ST S #119                                                                        SPRING VALLEY     CA    91977‐6344
JEWEL K TURNER                                  RR 1                                                                                             BRONSON           TX    75930‐9801
JEWEL L BROWN                                   200 21ST ST                                                                                      BAY CITY          MI    48708‐7016
JEWEL L SHORT                                   2119 CALUMET DR                                                                                  INDEPENDENCE      MO    64057‐1030
JEWEL S ALEXANDER                               4256 N 75TH ST                                                                                   MILWAUKEE         WI    53216‐1002
JEWEL S ROYCRAFT TR JEWEL S ROYCRAFT TRUST UA   22231 ORCHARD WAY                                                                                BINGHAM FARMS     MI    48025‐3554
05/29/96
JEWEL T ANDERSON                                2164 PALMYRA RD                                                                                  WARREN            OH    44481‐9101
JEWEL T PHILLIPS                                806 VALLEY DR                                                                                    ANDERSON          IN    46011‐2040
JEWEL TOBIAS                                    10339 S SANGMON ST                                                                               CHICAGO           IL    60643‐3009
JEWEL Y WILLIAMS                                16585 MARLOWE                                                                                    DETROIT           MI    48235‐4041
JEWELANNE ZUDELL                                1137 JENNA DR                                                                                    DAVISON           MI    48423‐3605
JEWELDINE GUNTER                                515 S CHURCH ST                                                                                  NEW LEBANON       OH    45345
JEWELL A HARTSHORN                              783 ASPEN DR                                                                                     TIPP CITY         OH    45371‐2785
JEWELL A HARTSHORN                              783 ASPEN DR                                                                                     TIPP CITY         OH    45371‐2785
JEWELL C SCOTT                                  PO BOX 863                                                                                       DURANT            FL    33530‐0863
JEWELL COX                                      2244 TWIN CREEK RD                                                                               WEST ALEXANDRIA   OH    45381‐9524

JEWELL D FLAKE                                  1484 S 700 E                                                                                     FRANKLIN          IN    46131‐8257
JEWELL D HACKNEY                                6647 HATCHERY                                                                                    WATERFORD         MI    48327‐1127
JEWELL D HURT                                   8543 W MCCLURE RD                                                                                MONROVIA          IN    46157‐9224
JEWELL D SWEARINGEN JR                          1207 SPANISH TRL DR                                                                              GRANBURY          TX    76048‐1714
JEWELL D WIMBERLY                               ROUTE 1                                                                                          ROSEBUD           TX    76570‐9801
JEWELL E ANDREWS                                260 BRIARWOOD ROAD                                                                               TYRONE            GA    30290‐1901
JEWELL HALL JR                                  6951 GILLS LANE                                                                                  HANOVERTON        OH    44423‐9727
JEWELL JENKINS JR                               6915 LAUGHLIN DR                                                                                 MISSOURI CITY     TX    77489‐3410
JEWELL JUSTICE                                  3627 GUILFORD                                                                                    DETROIT           MI    48224‐2239
JEWELL K PITTS                                  1293 ARNICA DR                                                                                   DAYTON            OH    45432‐2801
JEWELL L MC IVER & ELAINE A MC IVER JT TEN      BOX 154                                                                                          JACKSON           SC    29831‐0154
JEWELL L PUTERBAUGH                             6539 HOLLANSBURG‐SAMPSON RD                                                                      ARCANUM           OH    45304‐9021
JEWELL M BEST & JOHN P BEST JT TEN              1341 N GOLDENEYE WAY                                                                             GREEN VALLEY      AZ    85614‐6006
JEWELL M CORNELL RICH                           35 W COLONIAL RD                                                                                 WILBRAHAM         MA    01095‐2117
JEWELL M GILBERT                                1870 STATEHOUSE CT                                                                               BELLBROOK         OH    45305‐1234
JEWELL M RICHARDSON & GRANT K HANNERS & SUSAN   810 STATE RD                                                                                     FENTON            MI    48430‐2223
E WELCH JT TEN
JEWELL PICKENS                                  15930 CHALFONTE                                                                                  DETROIT           MI    48227‐4102
JEWELL R RICHARDS                               216 WALLACE                                                                                      WILLIAMSTON       MI    48895‐1632
JEWELL RUSSELL                                  3993 HAMILTON MASON RD                                                                           HAMILTON          OH    45011‐5411
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 48 of 855
Name                                                 Address1                            Address2             Address3           Address4          City              State Zip

JEWELL V CHADWELL                                17900 HIGHLAND DR                                                                                 MC KENZIE         TN    38201‐1631
JEWELL W GRACE & JUDITH M GRACE JT TEN           331 ALYSE                                                                                         ROANOKE           TX    76262‐6159
JEWELL W HORNING JR & CHRISTINE K HORNING JT TEN 630 WILLOW VALLEY SQ APT G‐303                                                                    LANCASTER         PA    17602‐4868

JEWELLE H ALLEN                                      1495 LYNTON AVE                                                                               FLINT             MI    48507‐3245
JEWELLENE SANDERS                                    19134 GREENLAWN                                                                               DETROIT           MI    48221‐1636
JHON MURPHY                                          4519 WARREN SHARON ROAD                                                                       VIENNA            OH    44473‐9642
JHON WHITESIDE                                       11238 S HOMESTEAD RD                                                                          SAULT S MARIE     MI    49783
JIA S HARDIMON                                       4028 SPRINGMILL DRIVE                                                                         KOKOMO            IN    46902‐5166
JIANPING DAI & YONG HU JT TEN                        569 KELL CMN                                                                                  FREMONT           CA    94539‐5768
JIAXI YANG                                           107 LONG                                                                                      CHARLOTTESVILLE   VA    22904

JIGGS COMPANY                                        PO BOX 9999                                                                                   AUSTIN            TX    78766
JIGGS SWEETIN                                        2210 SCARLET LN                                                                               GRAND PRAIRIE     TX    75050‐2139
JIGISH SHAH                                          1682 N ROCKY RD                                                                               UPLAND            CA    91784‐2501
JIH MING WANG & LUAN S WANG JT TEN                   1660 OVERHILL ROAD                                                                            COLUMBIA          SC    29223‐3661
JIL C BENEFIEL & BRUCE R BENEFIEL JT TEN             1702 DORA DRIVE SOUTH                                                                         TWIN FALLS        ID    83301‐4253
JIL J DUFFIELD & GRANT W DUFFIELD JT TEN             206 SWAMP FOX DR                                                                              FORT MILL         SC    29715‐6700
JIL L LEVICK                                         11724 LE HAVRE DR                                                                             POTOMAC           MD    20854‐3174
JILANN NIKOLOFF                                      11415 TEFT RD                                                                                 ST CHARLES        MI    48655‐9560
JILDA S THOMPSON                                     6579 KENVIEW DRIVE                                                                            CINCINNATI        OH    45243‐2323
JILES A FARLEY                                       3777 LYTLE RD                                                                                 WAYNESVILLE       OH    45068‐9482
JILES DANIELS                                        1640 MACK ROAD                                                                                SAGINAW           MI    48601‐6832
JILES JACK WEBB                                      3000 CLARKS BRIDGE RD               LOT 29                                                    GAINESVILLE       GA    30501‐1457
JILES JOHNSON JR                                     23803 HAIG ST                                                                                 TAYLOR            MI    48180‐3421
JILES N HALE JR                                      3992 FRYTOWN ROAD                                                                             DAYTON            OH    45418‐2306
JILIAN H TURK                                        PO BOX 243                                                                                    HADDOCK           GA    31033‐0243
JILL A ANDERSON                                      300 EDGEBROOK DR                                                                              DAYTON            OH    45459‐2146
JILL A BRONKAN                                       1901 LOURDES CT                                                                               LANSING           MI    48910‐0618
JILL A CARROLL                                       7312 S SAINT PATRICK ST                                                                       TAMPA             FL    33616‐1822
JILL A DAVIS                                         7105 JEFFERSON HW A                                                                           NEW ORLEANS       LA    70123‐4937
JILL A EDWARDS                                       10672 RED BERRY CT                                                                            FISHERS           IN    46038‐9425
JILL A ENGLISH                                       7215 S SEVEN OAKS                                                                             CANBY             OR    97013‐9531
JILL A GIVEN                                         9241 PEET RD                                                                                  CHESANING         MI    48616‐9758
JILL A GOSMA                                         ATTN JILL G HERSBERGER              2901 OSAGE DRIVE                                          KOKOMO            IN    46902‐3243
JILL A HARVEY                                        3921 HAWKS NEST DR                                                                            CASTLE HAYNE      NC    28429‐5809
JILL A MIRON                                         9399 APPLE BLOSSOM CT                                                                         DAVISON           MI    48423‐1197
JILL A NEUMAYER                                      9242 W 100TH CIRLE                                                                            BROOMFIELD        CO    80021
JILL A SCHROCK                                       8725 NORTH SHORE BLVD                                                                         MARBLEHEAD        OH    43440‐1133
JILL A SCRUGGS                                       15 SUMMIT CT                                                                                  MANSFIELD         OH    44906‐3735
JILL A SHAW                                          20 BLAKE AV                                                                                   SOMERSET          NJ    08873‐2003
JILL A SOLSCHEID TR JAS REVOCABLE TRUST UA 8/10/01   210 BRAMPTON LANE                                                                             LAKE FOREST       IL    60045

JILL A UNGAR                                   ATTN JILL A L KORR                        84 N ROCKLEDGE DR                                         LIVINGSTON        NJ    07039‐1112
JILL ALMETA SIMMONS GRAFF                      1717 DEERFIELD                                                                                      AUSTIN            TX    78741‐3704
JILL ANN CLAUSEN GOLOMB & SHERRILL A MANGANARO 15249 ROUTE 322                                                                                     BROOKVILLE        PA    15825‐7069
JT TEN
JILL ANN LOCK                                  18599 RIDGEDALE                                                                                     MADERA            CA    93638‐0151
JILL ANN PERRY                                 4722 MOSS CREEK TER                                                                                 INDIANAPOLIS      IN    46237‐2931
JILL ANN WONG                                  1608 N WEBSTER ST                                                                                   KOKOMO            IN    46901‐2106
JILL ANNE FLINN                                PO BOX 4                                                                                            GLASGOW           MO    65254‐0004
JILL ANNE HENDERSON                            2910 S STATE RD                                                                                     CORUNNA           MI    48817‐9500
JILL ANNE MCATEE                               10395 MOUNT JACKSON LN                                                                              AURORA            IN    47001‐2287
JILL ANNETTE BURNHAM                           2069 MEADOWSIDE LN                                                                                  CENTERVILLE       OH    45458‐2817
JILL ANNETTE WILDER                            711 CORONET ST                                                                                      SAN ANTONIO       TX    78216‐5212
JILL ARDEL SIMPSON                             2757 HARTLEY GATE COURT                                                                             PLEASANTON        CA    94566‐4571
JILL ASCH LEVENSON                             610 MT PARAN RD                                                                                     ATLANTA           GA    30327‐4502
JILL ATTAMAN                                   213 DEDHAM AVE                                                                                      NEEDHAM           MA    02492‐3036
JILL B BINIEWSKI                               1550 E PARK RD                                                                                      GRAND ISLAND      NY    14072‐2334
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 49 of 855
Name                                             Address1                              Address2               Address3         Address4          City               State Zip

JILL B HENES                                     2928 QUAIL ST                                                                                   DAVIS              CA    95616‐5711
JILL B MARCOTTE                                  7067 SOUTH LN                                                                                   WILLOUGHBY         OH    44094
JILL B MC CABE                                   17 GRANDVIEW DR                                                                                 IVYLAND            PA    18974
JILL BRANDLE NAU                                 52 BALTUSROL DR                                                                                 CHARLES TOWN       WV    25414‐3884
JILL BUTLER SHAVE                                1151 NW 162 AVE                                                                                 PEMBROKE PINES     FL    33028‐1229
JILL C BORON                                     486 MOUNT PARAN NW RD                                                                           ATLANTA            GA    30327‐3500
JILL C HOCKENBERRY                               534 W MAIN ST                                                                                   GRAND LEDGE        MI    48837‐1042
JILL C HOGLUND                                   206 ARROWHEAD TRAIL                                                                             CEDAR PARK         TX    78613
JILL C KENNEDY                                   719 FIELDSTONE AVE                                                                              PORT ORANGE        FL    32119‐3606
JILL C KENNEY                                    C/O JILL C HOKENBERRY                 534 W MAIN ST                                             GRAND LEDGE        MI    48837‐1042
JILL C SIEFFERT                                  1090 SUNNY SLOPE DR                                                                             MOUNTAINSIDE       NJ    07092‐2136
JILL CAROL ARRINGTON                             C/O JILL CAROL A COPELAND             8751 MARTZ PAULIN RD                                      CARLISLE           OH    45005‐4025
JILL D BIRTWELL                                  8 HARTZEL CT                                                                                    MOUNT LAUREL       NJ    08054‐3368
JILL D FENWICK                                   3205 TIMOTHY CIR                                                                                SHREVEPORT         LA    71119‐5329
JILL D JOHNSTON                                  11420 MARINE VIEW DR S W                                                                        SEATTLE            WA    98146‐1822
JILL DESANTIS                                    29 SANDRA RD                                                                                    PEABODY            MA    01960‐5142
JILL DIANE HAGY                                  ATTN JILL HAGY JOHNSON                2618 COLPEPPER RD                                         ABINGDON           MD    21009‐1505
JILL DUDEK                                       17975 LOST CANYON RD 88                                                                         CANYON COUNTRY     CA    91387‐8319

JILL E BENCHECK                                  1124 GAGE RD                                                                                    HOLLY              MI    48442‐8334
JILL E FELDMAN                                   4527 VIA CLARICE                                                                                SANTA BARBARA      CA    93111‐1322
JILL E GRAVES                                    4075 HOLT RD LOT #45                                                                            HOLT               MI    48842‐6013
JILL E HURNI                                     4052 BENSON RD                                                                                  CADILLAC           MI    49601‐9306
JILL E KAMMERER                                  PO BOX 1100                                                                                     AVON               CO    81620‐1100
JILL E LEADER                                    1935 RAYNALE                                                                                    BIRMINGHAM         MI    48009‐1168
JILL E MCWILLIAMS                                RR2 BOX 22305                                                                                   THAYER             MO    65791
JILL E SONGER & WILLIAM A SONGER JT TEN          129 ONEIDA DR                                                                                   HOUGHTON LAKE      MI    48629‐9333
JILL E WELDON & WILLIAM B WELDON JT TEN          240 E MOUND ST                                                                                  CIRCLEVILLE        OH    43113‐1704
JILL EILEEN KRAUS                                707 W AUSTIN                                                                                    FREDERICKSBURG     TX    78624‐2501
JILL ELISABETH BLUM                              ATTN JILL BLUM MILLIS                 70 STERLING STREET                                        NEWTON             MA    02465‐2635
JILL ELISE RUSS                                  69 BULLITT PARK PL                                                                              BEXLEY             OH    43209‐1713
JILL ELIZABETH CRYDER                            1518 PRESIDENTIAL DR                                                                            COLUMBUS           OH    43212‐4208
JILL ELLISON CUST COLTON ELLISON UTMA MA         745 MAIN ST                                                                                     HARWICH            MA    02645‐2756
JILL ELLISON CUST LANDON ELLISON UTMA MA         745 MAIN ST                                                                                     HARWICH            MA    02645‐2756
JILL ELLISON CUST TANNER ELLISON UTMA MA         745 MAIN ST                                                                                     HARWICH            MA    02645‐2756
JILL FLORANCE                                    5 HIGHLAND RD                                                                                   OAK RIDGE          NJ    07438‐9549
JILL G HERSBERGER & ROBERT S HERSBERGER JT TEN   2901 OSAGE DRIVE                                                                                KOKOMO             IN    46902‐3243

JILL H MCGOWAN                                   5056 S LEAMINGTON                                                                               CHICAGO            IL    60638
JILL H RODICH                                    6170 EAGLE POINT CIR                                                                            BIRMINGHAM         AL    35242‐6966
JILL HADLEY                                      646 REDBUDLN                                                                                    PLAINFIELD         IN    46168‐1259
JILL HARAKE                                      18739 CHAPEL LANE                                                                               HUNTINGTON         CA    92646‐1808
                                                                                                                                                 BEACH
JILL HARRIS                                      1359 ROBIN HOOD LN                                                                              WEBSTER            NY    14580‐9715
JILL HELENA & CARL FREDRIC MUELLER JT TEN        3662 HERD RD                                                                                    METAMORA           MI    48455‐9640
JILL HOLMES                                      3167 W ADIRONDACK CT                                                                            WESTLAKE VILLAGE   CA    91362‐3504

JILL HYLAND                                      11 CONIFER LN                                                                                   BRUNSWICK          ME    04011‐7170
JILL I CLARK & CRAIG R CLARK JT TEN              117 TOLLGATE TRAIL                                                                              LONGWOOD           FL    32750‐3857
JILL JENKINSON HOVIS                             7716 BLUFFRIDGE DR                                                                              RALEIGH            NC    27615‐4504
JILL K BINKLEY                                   220 CRESTLAWN DR                                                                                WHITMORE LAKE      MI    48189‐9477
JILL K DOEBLER                                   1406 MADRONA AVE                                                                                EVERETT            WA    98203‐1726
JILL K JOHNSEN                                   377 RED RYDER DR                                                                                PLYMOUTH           MI    48170‐2160
JILL K LORD CUST CARLEY S LORD UGMA DE           34115 N HERON DR                                                                                LEWES              DE    19958‐5369
JILL K LORD CUST SHANNON D LORD UGMA DE          34115 N HERON DR                                                                                LEWES              DE    19958‐5369
JILL K TELLOCK & JAMES L TELLOCK JT TEN          298 BOROS DR                                                                                    N FT MYERS         FL    33903‐2688
JILL KABEL                                       ATTN JILL K LEVIN                     65 NORTHBROOK DR                                          WEST HARTFORD      CT    06117‐1522
JILL KALISTA                                     16978 BEAR CREEK LANE                                                                           STRONGSVILLE       OH    44136‐6206
JILL KAREN LEWIS                                 10329 N 65TH DRIVE                                                                              GLENDALE           AZ    85302‐1063
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 50 of 855
Name                                                Address1                              Address2             Address3           Address4          City             State Zip

JILL KIRSHNER                                       24895 PIONEER WAY NW                                                                            POULSBO          WA    98370‐9507
JILL L BORDEN                                       3710 ARAPAHO                                                                                    GRANDVILLE       MI    49418
JILL L DOWD                                         1048 CORYDON DR                                                                                 MOUNT MORRIS     MI    48458‐1630
JILL L HEIPLE                                       713 WEST SPRUCE STREET APT 149                                                                  DEMING           NM    88030
JILL L STEBBINS                                     7818 LASATA CT                                                                                  HARRISON         TN    37341‐9613
JILL LORETITSCH                                     474 E GARFIELD RD                                                                               AURORA           OH    44087‐1249
JILL LORI ADAMS & WILLIAM JAMES ADAMS JT TEN        2798 STRANG BLVD                                                                                YORKTOWN         NY    10598‐2912
                                                                                                                                                    HEIGHTS
JILL LYNN SPRIGGS & DAVID WILLIAM SPRIGGS JT TEN    1431 SPRINGHAVEN CIR                                                                            MASSILLON        OH    44646‐2564

JILL M CALL EX UW FRANCISCO GUGLIUZZA               6304 SHIMER DR                                                                                  LOCKPORT         NY    14094‐6406
JILL M DAY & RICHARD L DAY JT TEN                   6570 FORSYTHIA STREET                                                                           SPRINGFIELD      VA    22150‐1100
JILL M FEDEWA                                       PO BOX 1956                                                                                     TROY             MI    48099‐1956
JILL M FREDRICKSON                                  13709 N E 93 RD ST                                                                              REDMOND          WA    98052‐6419
JILL M HARRIS                                       1359 ROBIN HOOD LN                                                                              WEBSTER          NY    14580‐9715
JILL M HAWLEY                                       6218 ROSEDALE RD                                                                                LANSING          MI    48911‐5615
JILL M HEFFERNAN                                    9924 HAMILTON DR                                                                                DOUGLASVILLE     GA    30135‐7637
JILL M ISSELHARD CUST SLONE PATRICIA ISSELHARD      420 EAST OHIO APT 9D                                                                            CHICAGO          IL    60611‐4647
UGMA IL
JILL M KATZENBERG ADM EST WILLIAM KATZENBERG        2591 QUEENSTON RD                                                                               CLEVELAND HTS    OH    44118‐4351

JILL M NELSON                                       489 HEATHERWOOD SE CT                                                                           BOLIVIA          NC    28422‐8211
JILL M NELSON & MARIANNE NELSON JT TEN              614 LEYLAND COURT                                                                               LAKE ORION       MI    48362‐2154
JILL M NICHOLS                                      40 KIRBY TRAIL                                                                                  FAIRPORT         NY    14450‐4130
JILL M OMAND                                        1213 N PLEASANT                                                                                 ROYAL OAK        MI    48067‐1233
JILL M PHILLIPS                                     1009 KAOUN RD                                                                                   KENNETT SQUARE   PA    19348
JILL M POSEY                                        15303 ‐ 35 DALLAS PKY #800                                                                      ADDISON          TX    75001‐4600
JILL M STRAIN                                       10 CUSHMANS LNDG                                                                                PLYMPTON         MA    02367
JILL M TAYLOR CUST JACK R TAYLOR UTMA NY            29 WINDCROFT LANE                                                                               LANCASTER        NY    14086‐9463
JILL M TAYLOR CUST NICHOLAS A TAYLOR UTMA NY        29 WINDCROFT LANE                                                                               LANCASTER        NY    14086‐9463

JILL M WATSON                                       2704 CALICO CREEK DRIVE                                                                         NO LITTLE ROCK   AR    72116‐7639
JILL M WATSON                                       70 GUINEVERE CT                                                                                 LAFAYETTE        IN    47905‐9692
JILL MACCORMICK KELSALL                             PO BOX 759                                                                                      AVON             CO    81620‐0759
JILL MACDONALD KELLY CUST JAMES LAFLIN KELLY III    7923 ST DENNIS DRIVE                                                                            SPRINGFIELD      VA    22153‐2711
UTMA VA
JILL MARIE GLASS                                    1194 ARNER ROAD                                                                                 CHESTER          WV    26034‐1871
JILL MARIE PETERS AUSTEN & STEVEN C AUSTEN JT TEN   9625 WATERFORD PL                     APT 101                                                   LOVELAND         OH    45140‐6230

JILL MARILYN TARNOFF                                420 SAYBROOK RD                                                                                 VILLANOVA        PA    19085‐1720
JILL MARSHA STERN                                   11562 AMIDSHIP LN UNIT 130                                                                      WINDERMERE       FL    34786‐5552
JILL MARTIN & RUTH LEEBRON TR SELIGMAN LIVING       C/O JILL MARTIN                       3900 CORBIN AVE                                           TARZANA          CA    91356‐5619
TRUSTUA 02/04/91
JILL MAYRE TEMPEST                                  3605 SPRING LEAF LN                                                                             ACWORTH          GA    30101
JILL MCGRADY PERSHING                               5250 HEATHWOOD DR                                                                               INDIANAPOLIS     IN    46237‐9752
JILL MERZON                                         39 N STRATHMORE STREET                                                                          VALLEY STREAM    NY    11581‐2840
JILL MOIR SORRENTINO                                69‐27 66TH RD                                                                                   MIDDLE VILLAGE   NY    11379‐1711
JILL MORIARITY CUST CAMRON MORIARITY UTMA           35766 EVERGREEN AVE                                                                             NORTH BRANCH     MN    55056
JILL NEUDORFER                                      PO BOX 386                                                                                      BARRE            VT    05641‐0386
JILL O'CONNELL                                      28 MARLBOROUGH ST UNIT 4                                                                        BOSTON           MA    02116
JILL PAULA VIOLA                                    3323 TILBURY CT                                                                                 CHARLOTTE        NC    28212‐5736
JILL PROBE                                          876 SOUTH HURD ROAD                                                                             OXFORD           MI    48371‐2838
JILL R BARR & ROBERT D BARR JT TEN                  2468 EDGERTONRD                                                                                 UNIVERSITY HTS   OH    44118‐4411
JILL R HALEY                                        5898 SLATE                                                                                      TROY             MI    48085‐3834
JILL R JOHNSON                                      14963 WHITCOMB ST                                                                               DETROIT          MI    48227‐2280
JILL R LU                                           APT 1209                              2040 FRANKLIN ST                                          SAN FRANCISCO    CA    94109‐2983
JILL R SEARFOSS                                     1104 CHARLES ST                                                                                 LOUISVILLE       KY    40204‐2408
JILL R WEBSTER                                      28 SHENANDOAH DR                                                                                NEWARK           DE    19711‐3767
JILL RAE WOLFRAM                                    15150 GOLDEN POINT LN                                                                           WELLINGTON       FL    33414‐7111
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 51 of 855
Name                                              Address1                              Address2               Address3         Address4          City               State Zip

JILL RESNICK                                      1907 SPRUCE                                                                                     HIGHLAND PARK      IL    60035‐2152
JILL ROBIN BERLIN                                 26912 CARRANZA DR                                                                               MISSION VIEJO      CA    92691‐5002
JILL ROCHACEWICZ                                  7 JUNIPER DR                                                                                    CEDAR KNOLLS       NJ    07927‐1208
JILL RUTH MOIR                                    69‐27 66TH RD                                                                                   MIDDLE VILLAGE     NY    11379‐1711
JILL S BEATTIE CUST MICHAEL T BEATTIE UGMA MI     23310 SAWGRASS COURT SOUTH                                                                      SOUTH LYON         MI    48178‐9479
JILL S TOWELL                                     2312 NASH ST                                                                                    CLEARWATER         FL    33765‐4225
JILL SAWYER                                       2418 CHETWOOD CIRCLE #101                                                                       TIMONIUM           MD    21093‐2570
JILL SEELY BROCCHUS                               1101 SOUTH BYPASS                                                                               KENNETT            MO    63857‐3704
JILL SIAS                                         C/O COOK                              10401 W GRANDVIEW DR                                      COLUMBUS           IN    47201‐8699
JILL SLEZAK                                       212 TEMONA DR                                                                                   PITTSBURGH         PA    15236‐4222
JILL STEEN‐HILL CUST WILLIAM HILL III UGMA MI     1520 STRATHCONA                                                                                 DETROIT            MI    48203
JILL STONE                                        11454 OCULTO RD                                                                                 SAN DIEGO          CA    92127
JILL TUTHILL                                      926 SOUND SHORE RD                                                                              RIVERHEAD          NY    11901‐5315
JILL V SEGAL                                      1344 BRIARWOOD DR                                                                               ATLANTA            GA    30306
JILL VAUGHAN                                      5‐1 TIMBERVIEW WAY                    NEPEAN ON                               K2H 9M7 CANADA
JILL VOORHEES                                     17 BRADWAY AVE                                                                                  TRENTON            NJ    08618‐2607
JILL W CLAIR CUST ELIZABETH ANN CLAIR UGMA MI     3857 FAR HILL                                                                                   BLOOMFIELD HILLS   MI    48304‐3113

JILL W MIXON CUST BRADLEY W MIXON UTMA MS         33135 RAINY OAKS PARK                                                                           MAGNOLIA           TX    77354‐6102

JILL W PERKINS                                    23 BELLS BROOK ROAD                                                                             LAKEVILLE          MA    02347‐2203
JILL WALKOWSKI CUST SKYLER WM WALKOWSKI UTMA      4666 GRAND VIEW TER                                                                             EAGLE RIVER        WI    54521‐9646
WI
JILL WOLFORD HALL                                 14714 DEERLAKE CT                                                                               CENTREVILLE        VA    20120‐2975
JILL ZAGER RUSS                                   69 BULLITT PARK PL                                                                              BEXLEY             OH    43209‐1713
JILL‐ANN DEUTSCH                                  5299 NW 84TH WAY                                                                                POMPANO BEACH      FL    33067‐2838
JILLENE E LUEDTKE                                 972 ALLEN RD                                                                                    NEW LISBON         WI    53950‐1415
JILLIAN A JAMIESON & CLAUDIA J JAMIESON JT TEN    1029 LINCOLN                                                                                    MARQUETTE          MI    49855‐2620

JILLIAN DAWN ADLER                                4802 SE NORTHWOOD WAY                                                                           HILLSBORO          OR    97123
JILLIAN PLOSKONKA                                 PO BOX 128                                                                                      ISELIN             NJ    08830‐0128
JILLY CAPLAN                                      6855 CROIS KORCZAK                    COTE SAINT‐LUC QC                       H4W 2V3 CANADA
JIM A EITELMAN & JENOYCE D EITELMAN JT TEN        1514 GLEN VALLEY DRIVE                                                                          IRVING           TX      75061
JIM A STANFILL                                    1720 MONACO                                                                                     ARLINGTON        TX      76010‐4716
JIM A SULIKOWSKI                                  35700 HUNTER AVE                      APT 122                                                   WESTLAND         MI      48185‐6666
JIM ALLEN STEVENSON                               925 KERLEREC ST                                                                                 NEW ORLEANS      LA      70116‐1928
JIM ANTHONY VARGAS                                7920 FOX TROT DR                                                                                COLORADO SPRINGS CO      80920‐5237

JIM B BOCK & DOROTHY E BOCK JT TEN                13422 BEACH HAVEN CIR                                                                           NEWBURG            MD    20664‐2315
JIM B BOCK JR                                     PO BOX 22394                                                                                    ALEXANDRIA         VA    22304‐9239
JIM B LOGAN                                       1487 STATE ROUTE 81 N                                                                           CALHOUN            KY    42327‐9307
JIM B PARKER                                      4479 S DYE RD                                                                                   SWARTZ CREEK       MI    48473‐8258
JIM B SAMMONS                                     140 SCHOONER BEND AVE                                                                           SUMMERVILLE        SC    29483‐5385
JIM BARTON & ALICE JO BARTON JT TEN               9855 N 2280 RD                                                                                  ARAPAHO            OK    73620‐2165
JIM BETHANIS & JOAN BETHANIS TEN COM              255 CANYON SHADOWS DR                                                                           SEDONA             AZ    86336‐3446
JIM BROWN                                         362 TIGER VALLEY RD                                                                             WASHINGTON         VA    22747
JIM BRULL                                         11011 W 48TH ST                                                                                 SHAWNEE            KS    66203‐1180
JIM C TARWATER                                    RR 2 BOX 41                                                                                     HUMANSVILLE        MO    65674‐9601
JIM COMBS                                         ROUTE 2 STRANGE RD                                                                              GRAND LEDGE        MI    48837‐9802
JIM COWDEN                                        4774 JENNYS ROAD                                                                                INDIANAPOLIS       IN    46228‐2837
JIM D LOWERY                                      6768 TAYLORSVILLE RD                                                                            DAYTON             OH    45424‐3166
JIM D STIDHAM                                     20535 S RIDGEVIEW RD                                                                            SPRING HILL        KS    66083‐8781
JIM DALZELL                                       60635 GOSNEY RD                                                                                 BEND               OR    97702
JIM DENNIS WILLIAMS                               830 EDMUND ST                                                                                   FLINT              MI    48505‐3925
JIM E BOND                                        1930 FAWNWOOD                                                                                   KENTWOOD           MI    49508‐6514
JIM E BONNER & MRS PATRICIA T BONNER JT TEN       1036 NASHVILLE AVE                                                                              NEW ORLEANS        LA    70130‐5749
JIM E BURKE                                       14816 PRESILLA DR                                                                               JAMUL              CA    91935‐4006
JIM E CANTRELL                                    1321 N CHAMBER ESTATES DR                                                                       DELPHI             IN    46923‐8148
JIM E HARTLEY                                     4200 4TH ST N                                                                                   ST PETERSBURG      FL    33703‐4735
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 52 of 855
Name                                             Address1                             Address2                   Address3     Address4          City              State Zip

JIM E HARTLEY                                    4200 4TH ST N STE 3                                                                            ST PETERSBURG     FL    33703‐4735
JIM E PATTON                                     1082 HONEY LOCUST LN                                                                           SPENCER           IN    47460‐5479
JIM ELIZABETH SOUTHERN                           518 LAUREL SPRINGS CHURCH RD                                                                   MOUNT AIRY        NC    27030
JIM F BIRKHEAD                                   903 S EDGEFIELD AVE                                                                            DALLAS            TX    75208‐7221
JIM F BOSS & DARLENE F BOSS JT TEN               501 NO 11TH ST                                                                                 MARYSVILLE        KS    66508‐1404
JIM F GUERRE                                     1204 S PURDUM                                                                                  KOKOMO            IN    46902‐1757
JIM F MORRISON                                   1453 MINTOLA ST                                                                                FLINT             MI    48532‐4046
JIM F WOOD                                       RT 1 BOX 4230                                                                                  BOSWELL           OK    74727‐9776
JIM FALIK CUST BRIAN FALIK UGMA TX               303 INDIAN BAYOU                                                                               HOUSTON           TX    77057‐1323
JIM FREEMAN & YUK CHING FREEMAN JT TEN           606 S AMBOY ST                                                                                 ANAHEIM           CA    92802
JIM FUSCO                                        51 MAJESTIC CT                                                                                 CANFIELD          OH    44406‐1669
JIM G CARLSON                                    5036 OVERTON RIDGE CIR APT 1618                                                                FORT WORTH        TX    76132‐1924
JIM G FENNELL                                    719 E CASSVILLE DR                                                                             KOKOMO            IN    46901‐5905
JIM G KOUKOUDIAN & MRS JULIETTE KOUKOUDIAN JT    20869 KENMORE DR                                                                               HARPER WOODS      MI    48225‐1722
TEN
JIM G STANLEY                                    16539 E HWY 175                                                                                KEMP              TX    75143‐4391
JIM GRIDA                                        37880 LAKESHORE BLVD                                                                           EASTLAKE          OH    44095‐1078
JIM H CROUCH                                     4265 CURLISS LANE                                                                              BATAVIA           OH    45103‐3249
JIM H HAYS                                       1215 S SHELBY AVE                                                                              ALEXANDRIA        IN    46001‐2546
JIM HAMILTON                                     701 ATHENS ST                                                                                  SAGINAW           MI    48601‐1433
JIM HARB                                         1125 CRESTHILL DR                                                                              LOUISVILLE        TN    37777‐5529
JIM HAVALACK                                     33 EAST ST                                                                                     PITTSFORD         NY    14534
JIM HAYES                                        56 GRANVILLE RD                                                                                EAST HARTLAND     CT    06027‐1200
JIM HERRING JR                                   4413 CAMPBELL LANE                                                                             BIRMINGHAM        AL    35207‐1709
JIM HUNTER JR                                    6326 HELEN                                                                                     DETROIT           MI    48211‐2416
JIM ISELY                                        PO BOX 2904                                                                                    REDMOND           WA    98073‐2904
JIM J KUCHARSKY                                  8618 TIMBER PARK DR                                                                            DAYTON            OH    45458‐2068
JIM J OKONIEWSKI                                 PO BOX 405                                                                                     OTISVILLE         MI    48463‐0405
JIM J ORR                                        ATTN MELVIN R ORR                    197 HOLLOW TREE RIDGE RD                                  DARIEN            CT    06820‐4022
JIM JOSEPH DEX & IRENE MARY DEX JT TEN           51076 FORSTER LANE                                                                             SHELBY TOWNSHIP   MI    48316‐3869

JIM JUHAS                                        4532 N ALGER RD                                                                                ALMA              MI    48801‐9641
JIM KAWANO                                       330 LAUREL GREEN WY AVE                                                                        ALPHARETTA        GA    30022‐6648
JIM KIRKLAND                                     RT 6 BOX 87K                                                                                   MCALESTER         OK    74501
JIM L EICHHORN                                   2922 W COLISEUM BLVD                                                                           FT WAYNE          IN    46808‐1019
JIM L HALEY & DOROTHY L HALEY JT TEN             1650 HAMPTON OAKS BND                                                                          MARIETTA          GA    30066‐4451
JIM L HARTZFELD                                  34041 S 524 PL                                                                                 JAY               OK    74346
JIM L MCCALL & PAT S MCCALL JT TEN               6238 SW 23RD ST                                                                                TOPEKA            KS    66614‐4212
JIM L OLIVER                                     8728 HWY 79                                                                                    LOUISIANA         MO    63353‐3211
JIM LEWIS JR                                     12036 KENNEBEC                                                                                 DETROIT           MI    48205‐3252
JIM LINDSEY JR                                   4747 E ELIOT ROAD                    #29‐472                                                   PHOENIX           AZ    85044‐1627
JIM M CADDELL                                    3120 TALLY HO DR                                                                               KOKOMO            IN    46902‐3959
JIM M CAVE                                       1415 E THIRD STREET #27                                                                        BLOOMINGTON       IN    47401‐3745
JIM M FARHAT                                     419 S STOLL ROAD                                                                               LANSING           MI    48917‐3420
JIM M GREENLEE & ANN V GREENLEE JT TEN           210 ST ANDREWS CIR                                                                             OXFORD            MS    38655‐2520
JIM M MAURER                                     526 E PARK ST                                                                                  HARRISON          MI    48625‐9222
JIM M SABO                                       5618 WESTLAKE AVE                                                                              PARMA             OH    44129‐2342
JIM MAGILL CUST JAMES PATRICK MAGILL UTMA FL     417 SHANTILLY CT                                                                               TALLAHASSEE       FL    32312

JIM MATAICH                                      308 E 280TH ST                                                                                 CLEVELAND         OH    44132‐1310
JIM MCDONALD                                     8210 CRESTWOOD HEIGHTS DR            APT 125                                                   MC LEAN           VA    22102‐3144
JIM MCDONNELL                                    132 EBY CRESCENT                     NEW HAMBURG ON                          N3A 1Z2 CANADA
JIM MCELROY                                      2241 LAFAYETTE                                                                                 KANSAS CITY       KS    66104‐4632
JIM MILFORD                                      6672 COPPERWOOD CIRCLE                                                                         SAN JOSE          CA    95120
JIM NEISSER PER REP EST JAMES A PAULICK          807 9TH STREET                                                                                 RL FALLS          MN    56750
JIM O LAUGHLIN                                   BOX 400                                                                                        SUNOL             CA    94586‐0400
JIM OSBORNE                                      439 S 1000 E                                                                                   OREM              UT    84097‐4716
JIM OZELLA CUST CUST RYAN OZELLA UGMA TX         27240 ELIAS AVE                                                                                SAUGUS            CA    91350‐2133
JIM P ZOIS                                       5400 RED COACH ROAD                                                                            DAYTON            OH    45429‐6114
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 53 of 855
Name                                             Address1                              Address2             Address3           Address4          City              State Zip

JIM PAULSEN NEHS                                 2029 N PARKER                                                                                   JANESVILLE        WI    53545‐0759
JIM PIRKL CUST ADDISON A PIRKL UTMA IA           1017 CORY CT                                                                                    NORTH LIBERTY     IA    52317
JIM R LEGAL                                      6267 E MOUNT HOPE                                                                               GRAND LEDGE       MI    48837‐9411
JIM R MATTOX                                     4725 MERCER RD                                                                                  STONE MOUNTAIN    GA    30083‐5535

JIM R PHILLIPS                                   1604 PRIMROSE LANE                                                                              KOKOMO            IN    46901‐2521
JIM S BRISCOE                                    1942 U S HWY 78 S W                                                                             MONROE            GA    30655‐5218
JIM SIMMONS                                      621 S 28TH                                                                                      SAGINAW           MI    48601‐6547
JIM STAFF                                        110 MAKENZIE DR                                                                                 ATMORE            AL    36502‐1111
JIM T HOLLAND & MRS DOROTHY SUE HOLLAND JT TEN   1706 WINDSOR DR                                                                                 DUNCAN            OK    73533

JIM VANDERVEER CUST MATTHEW VANDERVEER UTMA      72 FISHER DR                                                                                    HILLSBOROUGH      NJ    08844
NJ
JIM W ARBOGAST                                   520 PINECREST DR                                                                                FERNDALE          MI    48220‐2332
JIM W BYROM                                      1603 NANCY LN                                                                                   RIVER OAKS        TX    76114‐2012
JIM W CARTER                                     BOX 447                                                                                         OKARCHE           OK    73762‐0447
JIM W TAYLOR & PATRICIA L TAYLOR JT TEN          9980 SIX MILE RD                                                                                ROCKFORD          MI    49341‐9015
JIM WALKER                                       PO BOX 6326                                                                                     FOLSOM            CA    95763‐6326
JIM WILSON                                       PO BOX 18675                                                                                    FOUNTAIN HLS      AZ    85269‐8675
JIM WRIGHT                                       BOX 23                                KEARNEY ON                              P0A 1M0 CANADA
JIM Y KHOURY                                     17434 LEAFDALE CT                                                                               MACOMB            MI    48044‐5565
JIM Y MORIKAWA                                   21345 HAWTHORNE BLVD                  UNIT 126                                                  TORRANCE          CA    90503
JIM‐ED RAY FLOYD                                 724 S STATE RD                        APT 91                                                    DAVISON           MI    48423‐2814
JIMBO ROBINSON JR                                1531 N JENISON                                                                                  LANSING           MI    48915‐1524
JIMETTE K BAKER                                  6815 E CALLE DE PLATA                                                                           TUCSON            AZ    85715‐4811
JIMIE G CHAPMAN                                  6992 S SR 109                                                                                   KNIGHTSTOWN       IN    46148‐9567
JIMMIE A OVERTON                                 3016 ENGLEWOOD DRIVE                                                                            KINSTON           NC    28504‐1338
JIMMIE ASKIN                                     20479 ARDMORE                                                                                   DETROIT           MI    48235‐1510
JIMMIE B GASHO                                   PO BOX 414                                                                                      TIPTON            IN    46072‐0414
JIMMIE B LETTENMAIER                             8 RIVER CHASE TER                                                                               PALM BEACH        FL    33418‐6817
                                                                                                                                                 GARDENS
JIMMIE BELL                                      PO BOX 11111                                                                                    SPRINGFIELD       MO    65808‐1111
JIMMIE BENFORD                                   19930 NORTHBROOK DR                                                                             SOUTHFIELD        MI    48076‐5052
JIMMIE BLACKMAN                                  1920 WEAVER ST                                                                                  DAYTON            OH    45408‐2562
JIMMIE C BARFIELD                                4028 NORTH ST                                                                                   FLINT             MI    48505‐3904
JIMMIE C BROCK                                   5601 GERARD CHAPEL RD                                                                           POLAND            IN    47868‐7171
JIMMIE C DECKER                                  424 VELMA DR                                                                                    WEST MONROE       LA    71292‐2352
JIMMIE C STAMPS JR                               PO BOX 88172                                                                                    GRAND RAPIDS      MI    49518‐0172
JIMMIE C WEESE                                   2058 WIND TRACE RD SQ                                                                           NAVARRE           FL    32566‐3011
JIMMIE C WILLIAMS                                5683 OLIVE TREE DRIVE                                                                           DAYTON            OH    45426‐1312
JIMMIE C WILSON                                  15131 BURTON                                                                                    OAK PARK          MI    48237‐1584
JIMMIE CAPELTON & SUZANNE H CAPELTON JT TEN      13109 FIRTREE CT                                                                                SAINT LOUIS       MO    63146‐1811

JIMMIE D BARRETT                                 4437 SUNSET BLVD                                                                                GRAND BLANC       MI    48439‐9055
JIMMIE D BATES                                   16 MULBERRY CIR                                                                                 HUNTSVILLE        TX    77320‐1983
JIMMIE D BRUMLEY                                 447 GREENSWARD DR                                                                               TIPP CITY         OH    45371‐7306
JIMMIE D BUNCH                                   9906 CRESTWATER CIR                                                                             MAGNOLIA          TX    77354‐3201
JIMMIE D DANIEL                                  1910 E PALM AVE                       APT 8207                                                  TAMPA             FL    33605‐3833
JIMMIE D HENRY                                   6 GRIESENAUER CT                                                                                O'FALLON          MO    63366‐8027
JIMMIE D HOOVER                                  2004 S YORK RD                                                                                  YORKTOWN          IN    47396‐1057
JIMMIE D KAYLOR                                  3464 BOOT JACK CORNER RD                                                                        WILLIAMSBURG      OH    45176‐9731
JIMMIE D MARSHALL                                17912 THORNBURG WAY                                                                             MISSOULA          MT    59808‐8419
JIMMIE D PERKS                                   1755 CLARK RD                                                                                   LAPEER            MI    48446‐9431
JIMMIE D RICHMOND                                5829 BERKLEY                                                                                    WATERFORD         MI    48327‐2609
JIMMIE D SHAFFER                                 2048 GOOSE CREEK DR                                                                             FRANKLIN          TN    37064‐5063
JIMMIE D THOMPSON                                4816 GLENSHADE AVE                                                                              CINCINNATI        OH    45227‐2420
JIMMIE D WOLF                                    13117 MEADOW LANE                                                                               LEAWOOD           KS    66209‐1942
JIMMIE D WOOD                                    8029 MONITOR DR L                                                                               NEW PORT RICHEY   FL    34653‐2353
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 54 of 855
Name                                            Address1                              Address2              Address3          Address4          City             State Zip

JIMMIE DALE TATE                                2237 MORRIS AVENUE                                                                              BURTON           MI    48529‐2177
JIMMIE DALLAS JR                                1119 IRVING WAY                                                                                 ANDERSON         IN    46016‐2762
JIMMIE DAVIS JR                                 44 PENNOCK PLACE                                                                                CHEEKTOWAGA      NY    14225‐3941
JIMMIE DAWKINS                                  1708 VILA VISTA WAY                                                                             LAS VEGAS        NV    89128‐3266
JIMMIE E BROWN                                  4694 S 450 W                                                                                    RUSSIAVILLE      IN    46979‐9461
JIMMIE E EATON                                  12755 BUECHE RD                                                                                 BURT             MI    48417‐9620
JIMMIE E FULMER                                 1055 COUNTY ROAD 4110                                                                           DE KALB          TX    75559‐3516
JIMMIE E HURST                                  1254 HWY 36 E                                                                                   JACKSON          GA    30233‐3900
JIMMIE E MORRISON TR JIMMIE E MORRISON 2003     18700 BURBANK BLVD                                                                              TARZANA          CA    91356
LIVING TRUST UA 1/6/03
JIMMIE E PEEPLES                                C/O JOHN J CAHILL                     PUBLIC ADMINSTRATOR   515 SHADOW LANE                     LAS VEGAS        NV    89106‐4102
JIMMIE E RICHARDSON                             400 S PINEHURST LN                                                                              YORKTOWN         IN    47396‐9341
JIMMIE E WHITAKER                               5039 E VIENNA RD                                                                                CLIO             MI    48420‐9726
JIMMIE F HAMRICK                                PO BOX 553                                                                                      CABOT            AR    72023‐0553
JIMMIE FAYE LOCKMAN                             3817 HAMILL ROAD                                                                                HIXSON           TN    37343‐3422
JIMMIE GADSON                                   3465 TILLMAN RD                                                                                 RIDGELAND        SC    29936‐6152
JIMMIE H BUNTON & GAIL Y BUNTON JT TEN          8099 DERRYMORE DR                                                                               DAVISON          MI    48423‐9570
JIMMIE H NEISES & LEOLA L NEISES JT TEN         409 N ROCK ROAD                                                                                 BELLE PLAINE     KS    67013‐8274
JIMMIE HAYES                                    992 BRANHAM LANE                                                                                SAN JOSE         CA    95136‐1732
JIMMIE ILER                                     1637 OLD COLUMBUS RD                                                                            BOWDEN           GA    30108‐3305
JIMMIE J BOSLEY                                 2680 POWDERHORN RIDGE RD                                                                        ROCHESTER        MI    48309‐1338
JIMMIE J FITCH JR & JANIE Y FITCH JT TEN        4551 E ADA AVE                                                                                  NORTH            SC    29405‐7202
                                                                                                                                                CHARLESTON
JIMMIE J THOMAS                                 348 COUNTY ROAD 413                                                                             LAFE             AR    72436‐9134
JIMMIE J WILLIAMS                               111 N OXFORD                                                                                    INDEPENDENCE     MO    64053‐1220
JIMMIE KENDRICK JR                              9931 SHALE AVE                                                                                  CLEVELAND        OH    44104‐3605
JIMMIE L ASKINS & DEBBIE L ASKINS JT TEN        1665 PHELPS LAKE RD                                                                             MAYVILLE         MI    48744‐9629
JIMMIE L BARBEE                                 19970 ROGGE ST                                                                                  DETROIT          MI    48234‐3031
JIMMIE L BARTLETT                               10858 RUSSELLVILLE RD                                                                           ROCKFIELD        KY    42274‐9765
JIMMIE L BENFORD                                9364 OTSEGO                                                                                     DETROIT          MI    48204‐4510
JIMMIE L BLACKWELL                              3737 VAN NESS LN                                                                                DALLAS           TX    75220‐3635
JIMMIE L BOYLES                                 211 ARGONNE ST                                                                                  JEFFERSON CITY   MO    65109‐1218
JIMMIE L BRASFIELD                              16925 SHERMAN RD                                                                                MILAN            MI    48160‐9219
JIMMIE L BREWER                                 721 E GRANET                                                                                    HAZEL PARK       MI    48030‐2007
JIMMIE L BROSSETTE                              309 ELLERBE RIDGE DR                                                                            SHREVEPORT       LA    71106‐7618
JIMMIE L CARTER                                 4834 BALDWIN                                                                                    DETROIT          MI    48214‐1071
JIMMIE L CATRON                                 PO BOX 124                                                                                      SOMERVILLE       OH    45064‐0124
JIMMIE L CHANDLER                               15829 HUBBELL                                                                                   DETROIT          MI    48227‐2950
JIMMIE L DALMAN                                 5197 FAWN VALLEY                                                                                BATH             MI    48808‐9403
JIMMIE L DIXON                                  16 HITCHING POST                                                                                UNION            OH    45322‐3137
JIMMIE L DIXON                                  94 PARK                                                                                         MOUNT CLEMENS    MI    48043‐5761
JIMMIE L ELMS                                   PO BOX 677                                                                                      STAPHAN          GA    30666‐0677
JIMMIE L FLEMING                                484 E 123RD STREET                                                                              CLEVELAND        OH    44108‐1870
JIMMIE L GANTER                                 170 WEST BARCLAY                                                                                LONG BEACH       CA    90805‐2108
JIMMIE L GARCIA                                 PO BOX 661                                                                                      ADRIAN           MI    49221‐0661
JIMMIE L GIBSON                                 834 CHESTERSHIRE ROAD                                                                           COLUMBUS         OH    43204‐2326
JIMMIE L GLOVER                                 1640 NORTH 42 ST                                                                                E ST LOUIS       IL    62204‐1802
JIMMIE L GRIFFIN                                18 GIRARD PL                                                                                    BUFFALO          NY    14211‐1216
JIMMIE L GRIGGS                                 9440 OHIO                                                                                       DETROIT          MI    48204‐2794
JIMMIE L HALLFORD & JANICE E BRADY & MICHAEL C  6 TAMARAC TERRACE                                                                               HENDERSONVILLE   NC    28739
HALLFORD JT TEN
JIMMIE L HAMILL                                 413 NORTH CHEROKEE                                                                              MCCOOK           NE    69001‐2801
JIMMIE L HARDY & ELIZABETH A HARDY JT TEN       802 MARY ANN DR                                                                                 HOLLY            MI    48442‐1241
JIMMIE L HARRIS                                 6022 WAVERLY DR                                                                                 JACKSON          MS    39206‐2536
JIMMIE L HARRIS                                 1281 BASSETT                                                                                    DETROIT          MI    48217‐1601
JIMMIE L HARRISON                               291 N HULIN AVE                                                                                 TIGNALL          GA    30668‐2507
JIMMIE L HART TR UA 01/16/1998 MAUDIE MAE MARSH 829 PINEHURST                                                                                   FARMINGTON       MO    63640
TRUST
JIMMIE L HOOD                                   14552 LANNETTE ST                                                                               DETROIT          MI    48213‐1528
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 55 of 855
Name                                            Address1                           Address2             Address3           Address4          City            State Zip

JIMMIE L JONES                                  6106 DAVIDBURGER ST                                                                          MT MORRIS       MI    48458‐2710
JIMMIE L JOYNER                                 1558 NORTHWEST 6TH AVE                                                                       POMPANO BEACH   FL    33060‐5350
JIMMIE L JUSTICE                                6789 WINONA AVE                                                                              ALLEN PARK      MI    48101‐2325
JIMMIE L KEE                                    16709 TARKINGTON AVE                                                                         CLEVELAND       OH    44128‐3751
JIMMIE L KEE & GLADYS H KEE JT TEN              16709 TARKINGTON AVENUE                                                                      CLEVELAND       OH    44128‐3751
JIMMIE L KETTLE                                 423 MALIBU CANYON DR                                                                         COLUMBIA        TN    38401‐6803
JIMMIE L KNOP                                   1002 BEVERLY STREET NE                                                                       HARTSELLE       AL    35640‐1620
JIMMIE L LOZIER                                 7052 W REID RD                                                                               SWARTZ CREEK    MI    48473‐9422
JIMMIE L MEANS                                  924 MEL AVE                                                                                  LANSING         MI    48911‐3616
JIMMIE L NORRICK                                2316 MEADOW WY                                                                               ANDERSON        IN    46012‐9450
JIMMIE L PACE & EUBON C PACE JT TEN             9491 CENTER RD                                                                               FOSTORIA        MI    48435‐9785
JIMMIE L PEARSON                                1501 LOCHWOOD RD                                                                             BALTIMORE       MD    21218‐1603
JIMMIE L PROVOST                                31455 C R 352                                                                                LAWTON          MI    49065‐9431
JIMMIE L PUTHOFF                                4789 BAYSHORE DRIVE                                                                          BLAINE          WA    98230
JIMMIE L REDIC                                  4705 SYLVAN DR                                                                               DAYTON          OH    45417‐1247
JIMMIE L SIMMONS & WANDA N SIMMONS JT TEN       744 BECKY LANE                                                                               WAXAHACHIE      TX    75165‐9667

JIMMIE L SPALL                                  6758 S 200 E                                                                                 MARKLEVILLE     IN    46056‐9704
JIMMIE L SYKES                                  1464 SHERIDAN DR                                                                             ST LOUIS        MO    63132‐2640
JIMMIE L TALISON                                19343 SUNSET                                                                                 DETROIT         MI    48234‐2049
JIMMIE L TURNER                                 3264 TIMBERVIEW ST                                                                           FLINT           MI    48532‐3755
JIMMIE L WILKERSON                              230 N FRANKLIN STREET                                                                        WILMINGTON      DE    19805‐3665
JIMMIE L WILLIAMS                               77 W BROADWAY ST                                                                             ECORSE          MI    48229‐1565
JIMMIE L WILLIAMS                               835 CLARKSON AVE                                                                             DAYTON          OH    45407‐1212
JIMMIE L WOODSON                                9001 VINTON                                                                                  DETROIT         MI    48213‐2286
JIMMIE LAWS                                     8615 DOWNING RD                                                                              BIRCH RUN       MI    48415‐9201
JIMMIE LEE                                      1116 ECKART ST                                                                               FORT WAYNE      IN    46806‐3720
JIMMIE LEE COLSTON                              383 SETTLEMENT ROAD                                                                          CARROLLTON      AL    35447‐3366
JIMMIE LEE MC MAHAN                             1239 FOXWOOD DRIVE                                                                           SEVIERVILLE     TN    37862‐6003
JIMMIE LEE ROWLAND                              19 WYOMING AVE                                                                               BUFFALO         NY    14215‐4021
JIMMIE LESTER PILCHER                           493 GRIDER ST                                                                                BUFFALO         NY    14215‐3022
JIMMIE LEWIS                                    C/O FLORA J LEWIS                  5989 CRANE                                                DETROIT         MI    48213‐2617
JIMMIE LONG                                     4921 GLENN AVE                                                                               FLINT           MI    48505‐3159
JIMMIE LOUISE TOWNSEND                          20 MARTHA AVE                                                                                BUFFALO         NY    14215‐2843
JIMMIE LOW & MONA LUM LOW JT TEN                1211 N LINCOLN                                                                               DINUBA          CA    93618‐3135
JIMMIE M OVERBEY                                10175 WILDFIRE RD                                                                            CADET           MO    63630‐8305
JIMMIE MC FARLANE EDWARDS                       1010 EAST IKARD                                                                              HENRIETTA       TX    76365‐3015
JIMMIE MORTON                                   6595 STATE ROUTE 132                                                                         GOSHEN          OH    45122‐9270
JIMMIE MOSLEY                                   3613 DONNELY                                                                                 FLINT           MI    48504‐3528
JIMMIE N BAXTER                                 144 CHEWALLA CIR                                                                             EUFAULA         AL    36027‐9556
JIMMIE N EVANS                                  644 ADAMS RD                                                                                 WALLAND         TN    37886‐2150
JIMMIE O NEEDLES                                223 W MORGAN                       PO BOX 431                                                GREEN SPRINGS   OH    44836‐0431
JIMMIE P HORTON                                 4359 SHADY BEND                                                                              DALLAS          TX    75244‐7448
JIMMIE PETERSON                                 6850 DAYTON LIBERTY RD                                                                       DAYTON          OH    45418‐1437
JIMMIE PRINCE                                   9551 US HIGHWAY 50 W                                                                         MITCHELL        IN    47446‐5450
JIMMIE R BALLARD                                814 NO EAST ST                                                                               TIPTON          IN    46072‐1025
JIMMIE R BALLARD & MARILYN J BALLARD JT TEN     814 NO EAST ST                                                                               TIPTON          IN    46072‐1025
JIMMIE R BOATRIGHT                              6771 STROMENGER LANE                                                                         LOVELAND        OH    45140‐9732
JIMMIE R BURNER                                 9513 S MORRISH ROAD                                                                          SWARTZ CREEK    MI    48473‐9126
JIMMIE R EDWARDS                                15512 DOMINIC DR                                                                             CLINTON TWP     MI    48038‐1849
JIMMIE R HAMBY                                  1640 PIEDMONT LN                                                                             CUMMING         GA    30040‐9316
JIMMIE R KERR                                   1355 EASTLAND AVE S E                                                                        WARREN          OH    44484‐4547
JIMMIE R MELTON                                 112 JORDAN LN                                                                                HOHENWALD       TN    38462‐5369
JIMMIE R SOUTHERN                               3601 WESTMINISTER CT                                                                         HOLIDAY         FL    34691‐3647
JIMMIE R TERRY                                  6815 WOODSIDE AVE                                                                            KC              MO    64133‐8003
JIMMIE R THACKER                                306 MAXWELL RD                                                                               INDIANAPOLIS    IN    46217‐3438
JIMMIE R WALRAVEN                               203 MYSTIC FALLS DRIVE                                                                       APOLLO BEACH    FL    33572‐3131
JIMMIE REECE                                    44 PUTNAM SW                                                                                 GRAND RAPID     MI    49507‐1043
JIMMIE RIDDLE                                   8133 SW 108TH LOOP                                                                           OCALA           FL    34481‐5700
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 56 of 855
Name                                            Address1                           Address2             Address3           Address4          City            State Zip

JIMMIE ROGERS JR                                2684 PINGREE                                                                                 DETROIT         MI    48206‐2120
JIMMIE S BOONE                                  1427 CHESANING ROAD                                                                          MONTROSE        MI    48457‐9323
JIMMIE S HARRINGTON & DEBRA A ARNETT JT TEN     34024 PEMBROKE AVE                                                                           LIVONIA         MI    48152‐1203
JIMMIE S STOREY III                             349 TURKEY FARM ROAD                                                                         BLYTHEWOOD      SC    29016
JIMMIE SIMMONS                                  527 E BLVD N                                                                                 PONTIAC         MI    48342‐1718
JIMMIE T ALCORN                                 3556 TAN YARD ROAD                                                                           CULLEOKA        TN    38451‐2339
JIMMIE T GAY                                    525 TANAGER RD                                                                               N AUGUSTA       SC    29841‐3128
JIMMIE THOMAS MAXWELL                           11742 CHRISTOPHER AVE                                                                        INGLEWOOD       CA    90303‐3036
JIMMIE THOMPKINS                                PO BOX 3207                                                                                  ANAHEIM         CA    92803‐3207
JIMMIE THOMPKINS                                PO BOX 3207                                                                                  ANAHEIM         CA    92803‐3207
JIMMIE V SPENCE                                 2065 FORREST HILL AVE                                                                        GRAND RAPIDS    MI    49546‐6261
JIMMIE VINES                                    6455 RUSTIC RIDGE TRL                                                                        GRAND BLANC     MI    48439‐4950
JIMMIE W CHAMBERLAIN                            9868 ONSTED                                                                                  ONSTED          MI    49265‐9707
JIMMIE W HENDRIX                                7086 WEST COOK RD                                                                            SWARTZ CREEK    MI    48473‐9103
JIMMIE W HUTTON                                 210 GREENWOOD CUT‐OFF ROAD                                                                   WEATHERFORD     TX    76088‐8346
JIMMIE W JONES‐BEY                              16157 GLYNN RD                                                                               E CLEVELAND     OH    44112‐3536
JIMMIE W SHELTON                                PO BOX 7655                                                                                  SURPRISE        AZ    85374‐0110
JIMMIE W STEWART                                605 MEADOWLANE DR                                                                            CAVE CITY       KY    42127‐8849
JIMMIE WILBORN                                  914 BELMONT                                                                                  FLINT           MI    48503‐2742
JIMMIE WILLIAMS                                 9503 WOODBREEZE BLVD                                                                         WINDERMERE      FL    34786‐8834
JIMMIE YOUNG & MARGARET W YOUNG JT TEN          BOX 2502                                                                                     RANCHO PALOS    CA    90274‐8502
                                                                                                                                             VERDE
JIMMY A BRANDOW                                 2400 CRESTVIEW                                                                               WYOMING         MI    49509‐4214
JIMMY A HECKERT                                 39545 ROCKSPRINGS RD                                                                         POMEROY         OH    45769‐9739
JIMMY A KLINGER                                 10770 PLAINS HWY                                                                             EATON RAPIDS    MI    48827‐9705
JIMMY A PAPE                                    11287 ARMSTRONG DR S                                                                         SAGINAW         MI    48609‐9621
JIMMY A ROWLAND                                 BOX 615                                                                                      MOUNT VERNON    TX    75457‐0615
JIMMY A SANDOW                                  920 STONE MOUNTAIN‐LITHONIA RD                                                               LITHONIA        GA    30058‐6275
JIMMY A SCHEFFLER & ROXANN S SCHEFFLER JT TEN   6269 HUMPHREY RD                                                                             HALE            MI    48739‐9044

JIMMY A WALDROP                                 704 MUNDY ST                                                                                 ROCKMART        GA    30153‐1758
JIMMY ALLEN AUSBORN                             102 HIGHLAND DR                                                                              FLORENCE        MS    39073‐8977
JIMMY B GARMON                                  1235 DEMAREE RD                                                                              GREENWOOD       IN    46143‐9518
JIMMY B HITE                                    2227 SHELLY DR                                                                               ROCKFORD        IL    61101‐5254
JIMMY B MANER                                   1120 SANDERS ROAD                                                                            KNOXVILLE       TN    37923‐2035
JIMMY B STEPHENSON                              3717 N TERM ST                                                                               FLINT           MI    48506‐2679
JIMMY BOLLINGER                                 10286 CALKINS ROAD                                                                           SWARTZ CREEK    MI    48473‐9725
JIMMY C ALTMAN                                  405 LINDA LANE                                                                               CABOT           AR    72023
JIMMY C COWELL                                  PO BOX 427                                                                                   CLARKTON        MO    63837‐0427
JIMMY C ELSON                                   326 EAST G ST                                                                                ONTARIO         CA    91764‐3728
JIMMY C GREEN                                   4512 S 750 E                                                                                 KOKOMO          IN    46902‐9203
JIMMY C HARDISON                                486 TRAILS RIDGE RD                                                                          RICHMOND        MO    64085‐2515
JIMMY C HILL                                    2297 TELEGRAPH ROAD                                                                          RISING SUN      MD    21911‐1771
JIMMY CHUN CUST HENRY G CHUN UGMA CA            1354 SACRAMENTO ST SUITE A                                                                   SAN FRANCISCO   CA    94109‐4254
JIMMY CONNER                                    5691 SEVEN ISLAND RD                                                                         MADISON         GA    30650‐5565
JIMMY COOK                                      570 LAKE ROAD                                                                                COVINGTON       GA    30014‐6134
JIMMY D BARBER                                  C/O BEATRICE BARBER                2229 ALMON WAY SW                                         DECATUR         AL    35603‐1109
JIMMY D BICKERS                                 3226 MACLAND RD                                                                              DALLAS          GA    30157‐9322
JIMMY D BROUSSARD                               423 BENDWOOD DR                                                                              HOUSTON         TX    77024‐8811
JIMMY D CANFIELD                                20868 ST HWY 24                                                                              PURCELL         OK    73080
JIMMY D DAVIS                                   7782 GREENE FARM DR                                                                          YPSILANTI       MI    48197‐9466
JIMMY D DUNN                                    1809 CORONADO STREET                                                                         ARLINGTON       TX    76014‐1524
JIMMY D EGGLESTON                               4750 LAKEBORN                                                                                WHITE LAKE      MI    48383‐1543
JIMMY D ELLIOTT                                 462 COUNTY ROAD 234                                                                          GANADO          TX    77962‐8503
JIMMY D FOSKETT                                 9764 HART LAKE RD                                                                            OTTER LAKE      MI    48464‐9405
JIMMY D INGLE & MRS PATSY S INGLE JT TEN        12018 PARK SO                                                                                INDEPENDENCE    MO    64050
JIMMY D LOONEY                                  BOX 564                                                                                      HARRISONVILLE   MO    64701‐0564
JIMMY D MARAYAG & GEMMA M MEDLEY JT TEN         835 PARK RD                                                                                  MORRIS PLAINS   NJ    07950‐2848
JIMMY D PAYNE                                   256 COUNTY ROAD 304                                                                          CARTHAGE        TX    75633‐4188
                                             09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 4 of 8 Pg 57 of 855
Name                                           Address1                          Address2             Address3           Address4          City            State Zip

JIMMY D PONDER SR                              588 ODEN DR                                                                                 WASKOM          TX    75692‐4032
JIMMY D PYRTLE                                 2520 W 43RD AVE                                                                             KANSAS CITY     KS    66103‐3121
JIMMY D SHAW                                   502 E 9TH ST                                                                                TUSCUMBIA       AL    35674‐2614
JIMMY D SMITHEY & JANE G SMITHEY JT TEN        3916 SILKWOOD                                                                               ARLINGTON       TX    76016‐3840
JIMMY D TAYLOR                                 5012 HARTFORD AV                                                                            SANDUSKY        OH    44870‐5822
JIMMY D THRASHER                               5235 E S AVE                                                                                VICKSBURG       MI    49097‐9422
JIMMY D WEDMORE                                4701 S HOYT AVE                                                                             MUNCIE          IN    47302‐8812
JIMMY D WEEMS                                  1249 MOONLIGHT DRIVE                                                                        ARNOLD          MO    63010‐3012
JIMMY D WILES                                  04719 ROSEDALE RD                                                                           HICKSVILLE      OH    43526‐9786
JIMMY D WILLIAMS                               3343 NINA V LN                                                                              DAYTON          OH    45424‐6232
JIMMY DAVIS                                    1438 S MILLARD AVE                                                                          CHICAGO         IL    60623
JIMMY DEE BRADLEY                              2938 WOODLAND DR                                                                            LAMAR           CO    81052
JIMMY E BELL                                   2015 W 950 S                                                                                PENDLETON       IN    46064‐9365
JIMMY E BREWER                                 BOX 442                                                                                     RISON           AR    71665‐0442
JIMMY E BROWN                                  PO BOX 12                                                                                   KEITHVILLE      LA    71047‐0012
JIMMY E CROSS                                  9639 S STATE RD 3                                                                           WABASH          IN    46992
JIMMY E EDWARDS                                205 N 74TH STREET #102                                                                      MESA            AZ    85207‐7403
JIMMY E GRANT                                  5048 FLORENCE ST                                                                            OAKWOOD         GA    30566‐2645
JIMMY E MAXWELL                                18639 E VIA DE PALMAS                                                                       QUEEN CREEK     AZ    85242‐4042
JIMMY E PARKER                                 1569 BOWIE LANE                                                                             FRISCO          TX    75034‐7333
JIMMY E WHITE                                  4216 FOREST HILLS BLVD                                                                      PARMA           OH    44134‐4519
JIMMY F HICKS                                  23 RIDGEFIELD DR SE                                                                         SILVER CREEK    GA    30173‐2348
JIMMY FEDDECK                                  238 RESERVE AVE                                                                             OBERLIN         OH    44074
JIMMY G BROWN                                  16110 PAINTER                                                                               DEFIANCE        OH    43512‐8814
JIMMY G COBB                                   442 BROOK HIGHLAND                                                                          MURFREESBORO    TN    37128
JIMMY G MCCLANAHAN                             PO BOX 5011                                                                                 MAYFIELD        KY    42066‐0042
JIMMY G WEST                                   10324 QUIET WAY                                                                             INDIANAPOLIS    IN    46239‐9439
JIMMY GREENE                                   1611 LARMON CT                                                                              CINCINNATI      OH    45224‐3115
JIMMY H ALLEN                                  4592 TONI DRIVE                                                                             DAYTON          OH    45418‐2436
JIMMY H COLLINS                                5609 LANDS END ST                                                                           AUSTIN          TX    78734‐1515
JIMMY H GILREATH                               118 DORSEY RD                                                                               AUSTIN          KY    42123‐9734
JIMMY HANSON                                   PO BOX 434                                                                                  INKSTER         MI    48141‐0434
JIMMY HARTWELL                                 2238 N WESTWOOD AVE                                                                         SANTA ANA       CA    92706‐1926
JIMMY J BONNER                                 194 SIMS ROAD SW                                                                            DECATUR         AL    35603‐4412
JIMMY J BRITT                                  PO BOX 83                                                                                   KINGSTON        MI    48741‐0083
JIMMY J ELLISON                                7256 S EAGLES NEST CIR                                                                      LITTLETON       CO    80127‐3210
JIMMY J OSBORNE                                3214 SOUTH BELSAY RD                                                                        BURTON          MI    48519‐1622
JIMMY J RANDOLPH                               233 PIPER                                                                                   DETROIT         MI    48215‐3035
JIMMY J ZIELONKO                               928 LAKESIDE ROAD                                                                           WATERPORT       NY    14571‐9715
JIMMY L ANDERSON                               3868 COUNTY ROAD 214                                                                        HILLSBORO       AL    35643‐3233
JIMMY L BAKER                                  306 TARRANT CT                                                                              GADSDEN         AL    35901‐3128
JIMMY L BOND                                   PO BOX 433                                                                                  BLANCHARD       OK    73010‐0433
JIMMY L BURKES                                 4869 WAYLAND CIR                                                                            ACWORTH         GA    30101‐5173
JIMMY L CAMPBELL                               G6337 E COLDWATER RD                                                                        FLINT           MI    48506
JIMMY L CARTER & JUDY L CARTER JT TEN          1359 BENTREE DR SE                                                                          KENTWOOD        MI    49508‐7397
JIMMY L CHEEK                                  217 COUNTY ROAD 4860                                                                        AZLE            TX    76020‐8895
JIMMY L COLLINS                                1246 BELL AVE                                                                               EAST POINT      GA    30344‐4324
JIMMY L COVIEO                                 1900 N WALDO RD                                                                             MIDLAND         MI    48642‐8832
JIMMY L DILLION                                425 CLAUDE AVE                                                                              SOUTH LEBANON   OH    45065‐1362
JIMMY L FEEMSTER                               409 EAST LEE ST                                                                             WEATHERFORD     TX    76086‐5450
JIMMY L GLOVIER                                409 CRISFIELD ROAD                                                                          BALTIMORE       MD    21220‐3005
JIMMY L GLOVIER & JOYCE ANN GLOVIER JT TEN     409 CRISFIELD ROAD                                                                          BALTIMORE       MD    21220‐3005
JIMMY L GREEN                                  6757 WEST FAYETTEVILLE                                                                      RIVERDALE       GA    30296‐2526
JIMMY L GREEN JR                               155 WHITTEMORE                                                                              PONTIAC         MI    48342‐3065
JIMMY L GREER & MARIE GREER JT TEN             477 E 200 N                                                                                 HEBER CITY      UT    84032‐1712
JIMMY L HELTON                                 2272 N SHALLOWFORD RD                                                                       CHAMBLEE        GA    30341‐1644
JIMMY L HENSON                                 6262 GERMANTOWN LIBERTY ROAD                                                                GERMANTOWN      OH    45327‐9523
JIMMY L HINTON                                 PO BOX 689                                                                                  DACULA          GA    30019‐0689
JIMMY L JORDAN                                 630 NO 21ST ST                                                                              ELWOOD          IN    46036‐1325
                                        09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                            Part 4 of 8 Pg 58 of 855
Name                                      Address1                          Address2             Address3           Address4          City            State Zip

JIMMY L LUFFMAN                           70 LOCKER RD                                                                                SUMMERTOWN      TN    38483‐7200
JIMMY L MASSEY                            38591 PARKVIEW DR                                                                           WAYNE           MI    48184‐1082
JIMMY L MILLER                            401 BATISTE LANE                                                                            JONESBORO       GA    30236‐4920
JIMMY L MILLER                            4703 BURNS CIR                                                                              ORANGE          TX    77630‐2800
JIMMY L MOORE                             38607 E PARRENT RD                                                                          OAK GROVE       MO    64075‐9097
JIMMY L MURPHREE                          251 WEST LINCOLN AVE                                                                        ESCONDITO       CA    92026‐3718
JIMMY L PLAIR                             2832 RANDOM RD                                                                              KALAMAZOO       MI    49004‐1842
JIMMY L REDDING                           PO BOX 640                                                                                  BOGATA          TX    75417‐0640
JIMMY L SAYLES                            1217 TERRY CT                                                                               LINCOLN HGTS    OH    45215‐1834
JIMMY L SISCO                             815 PEBBLE SPRINGS RD                                                                       BOLIVAR         TN    38008‐2737
JIMMY L SMITH                             PO BOX 625                                                                                  SPRINGFIELD     OH    45501‐0625
JIMMY L TAYLOR                            PO BOX 447                                                                                  FLIPPIN         AR    72634‐0447
JIMMY L TOLESTON                          5505 LAKE PLACID DR                                                                         DALLAS          TX    75232‐1955
JIMMY L VERNON                            389 BOYD VERNON RD                                                                          ARCADIA         LA    71001‐5261
JIMMY LEE HANIK SR                        17359 RAY                                                                                   ALLEN PARK      MI    48101‐1456
JIMMY LEE RANDOLPH                        2485 N KNOLL DR                                                                             BEAVERCREEK     OH    45431‐2479
JIMMY LEON MITCHELL                       4244 MELLEN DR                                                                              ANDERSON        IN    46013‐5049
JIMMY LOPEZ                               5535 AUDUBON ST                                                                             DETROIT         MI    48224‐2662
JIMMY LYNN                                7862 GREENLAND PL                                                                           CINCINNATI      OH    45237‐1006
JIMMY M COPELAND                          2939 KNOB CREEK RD                                                                          COLUMBIA        TN    38401‐1438
JIMMY M LAMBERT                           8 FOXCHASE                                                                                  DOTHAN          AL    36305‐1147
JIMMY M O'BYRNE                           6806 BLOOMSBURY LN                                                                          SPOTSYLVANIA    VA    22553‐1918
JIMMY MILLER                              RR #1 BOX 448                                                                               BONE CAVE       TN    38581‐9622
JIMMY MOSS                                3101 AVON DRIVE                                                                             ARLINGTON       TX    76015‐2002
JIMMY N MCELWEE                           946 LANCE AVE                                                                               BALTO           MD    21221‐5220
JIMMY P TURNER                            20 KY RT #1101                                                                              DRIFT           KY    41619‐9002
JIMMY PAUL BRIGHT                         8959 N MARK DR                                                                              ALEXANDRIA      IN    46001‐8371
JIMMY R BOLTON                            4425 MORGAN RD                                                                              LAKE ORION      MI    48359‐1921
JIMMY R DAVIS                             602 S MAIN ST                                                                               GAINESVILLE     FL    32601‐6718
JIMMY R EHN                               1328 E AVE J5                                                                               LANCASTER       CA    93535‐4361
JIMMY R GORDON II                         10373 E MOUNT MORRIS RD                                                                     DAVISON         MI    48423‐9347
JIMMY R HAYNES                            PO BOX 35456                                                                                CLEVELAND       OH    44135‐0456
JIMMY R HEAVENER                          50 TIMBER RIDGE DR                                                                          ALMO            KY    42020‐9256
JIMMY R HIGGINBOTHAM                      16545 PHILIPS RD                                                                            ATHENS          AL    35613‐6835
JIMMY R HOLLIS                            PO BOX 173                                                                                  PENDERGRASS     GA    30567‐0173
JIMMY R HUDGINS                           4636 STRICKLAND RD                                                                          FLOWERY BRANC   GA    30542‐3631
JIMMY R ISAACS                            7330 N 600 W                                                                                FRANKTON        IN    46044‐9567
JIMMY R MARSHALL                          7597 #9 ROAD                                                                                BROOKVILLE      OH    45309
JIMMY R MASSEY                            PO BOX 90251                                                                                FLINT           MI    48509‐0251
JIMMY R MAYES                             PO BOX 2092                                                                                 ANDERSON        IN    46018‐2092
JIMMY R MYERS                             35 HORSESHOE LN                                                                             MC LOUD         OK    74851‐8413
JIMMY R PETERS                            1757 FULS ROAD                                                                              NEW LEBANON     OH    45345‐9734
JIMMY R PRITCHETT                         1005 COUNTY ROAD 487                                                                        CENTRE          AL    35960‐6242
JIMMY R QUEEN                             259 GEORGIA HIGHWAY 11                                                                      SOCIAL CIRCLE   GA    30025
JIMMY R SORRELLS                          3307 SAWDUST TRAIL                                                                          BAUXITE         AR    72011
JIMMY R SPRAGUE                           841 SE 801 RD                                                                               DEEPWATER       MO    64740‐9691
JIMMY R WHISNANT                          37554 SCHOOLCRAFT RD                                                                        LIVONIA         MI    48150‐1010
JIMMY RAY ADKINS                          305 N CLAYPOOL RD                                                                           MUNCIE          IN    47303
JIMMY RAY BEARD                           7082 EDGEWATER DRIVE                                                                        RIDGE LAND      MS    39157‐1011
JIMMY RAY WHITNER                         411 E WARREN                                                                                FLINT           MI    48505‐4307
JIMMY RHOADES                             320 ASH                                                                                     CHOCTAW         OK    73020‐7604
JIMMY S BENCE                             110 QUAIL ST                                                                                LEESBURG        GA    31763‐4309
JIMMY S BRISCOE                           2215 NUNALLY FARM RD                                                                        MONROE          GA    30655‐5554
JIMMY S LEPPER                            41781 RIGGS RD                                                                              BELLEVILLE      MI    48111‐3081
JIMMY SIT                                 6678 AMERSHAM DR                                                                            MEMPHIS         TN    38119
JIMMY SIZEMORE                            BOX 34                                                                                      WINDFALL        IN    46076‐0034
JIMMY SOVIA & MARGARET M SOVIA JT TEN     4206 COBBS WAY                                                                              NAGSHEAD        NC    27959‐9515
JIMMY STONE                               911 WOLCOTT                                                                                 FLINT           MI    48504‐4721
JIMMY SUDDUTH                             11483 MOORE                                                                                 ROMULUS         MI    48174‐3822
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                   Part 4 of 8 Pg 59 of 855
Name                                            Address1                           Address2                     Address3    Address4          City            State Zip

JIMMY T AUSTIN                                  3206 MONTANA AVE                                                                              FLINT            MI   48506‐2557
JIMMY T GIBSON                                  4929 SUNNY RIDGE CT                                                                           FLOWERY BR       GA   30542
JIMMY T SMITH                                   5249 W WINONA                                                                                 CHICAGO          IL   60630‐2238
JIMMY TURNER JR                                 208 CAMELOT DR                                                                                COLLEGE PARK     GA   30349‐6504
JIMMY W BEDINGFIELD                             487 FRIENDSHIP RD                                                                             SOMERVILLE       AL   35670‐3716
JIMMY W BENNETT & LEONA M BENNETT JT TEN        1942 JACKSON 1                                                                                BRADFORD         AR   72020‐9154
JIMMY W BUNCH                                   23801 MARSHALL                                                                                DEARBORN         MI   48124‐1434
JIMMY W COLLINS                                 PO BOX 560                                                                                    HARRIGATE        TN   37752‐0560
JIMMY W DAVIS                                   3969 RIVER GLEN DRIVE                                                                         LWEISBURG        TN   37091‐5618
JIMMY W DEVEREAUX                               50838 NATURE DR                                                                               CHESTFIELD       MI   48047‐4606
JIMMY W HOWELL                                  1472 N GENESEE RD                                                                             BURTON           MI   48509‐1441
JIMMY W JACKSON                                 PO BOX 192                                                                                    SPRUCE PINE      AL   35585‐0192
JIMMY W SANDERS & R LA VERNE SANDERS JT TEN     618 LAURELWOOD AVE                                                                            SIKESTON         MO   63801‐4620
JIMMY W SHERRILL                                28360 LOCKDALE #206                                                                           SOUTHFIELD       MI   48034‐1924
JIMMY W SHEWBART                                3357 PETTY LN                                                                                 COLUMBIA         TN   38401‐7320
JIMMY W WOODBURY                                2342 WESTON RD                                                                                SAN JOSE         CA   95130‐2070
JIMMY WAYNE CLEMENTS                            600 GLASGOW ST                                                                                CHESAPEAKE       VA   23322‐5887
JIMMY WHITE                                     2432 CO RD 72                                                                                 DANVILLE         AL   35619‐8429
JIMMY WILLIAMS                                  PO BOX 50342                                                                                  ALBANY           GA   31703‐0342
JIMMYE A KING                                   2925 SHADYWOOD LN                                                                             PLANO            TX   75023‐3465
JIMS BURNER SERVICE INC                         277 SWAN LAKE AVE                                                                             BELFAST          ME   04915‐7037
JIN NUNG LEE & MRS MEE HOR LEE JT TEN           11589 MASONIC BLVD                                                                            WARREN           MI   48093‐1118
JIN YOUNG LEE                                   4472 W HILL AVE                                                                               WAUKEGAN         IL   60085‐8662
JIN ZHANG                                       5899 KILLARNEY CIR                                                                            SAN JOSE         CA   95138‐2347
JING LING DAI                                   909 LUCILE AVE                                                                                LOS ANGELES      CA   90026‐1511
JINK J BLY                                      114 RESSEAU CIR                                                                               EATONTON         GA   31024‐8015
JINN K CHEN                                     6707 PORT ORCHARD DR                                                                          COLUMBIA         MO   65203‐8412
JINNY K MIRABELLI                               506 KENMORE SE                                                                                WARREN           OH   44483‐6153
JINNY T DAUGHERTY                               3001 RAVEN CREEK DRIVE                                                                        LEXINGTON        KY   40515‐9546
JINYANN PADILLA                                 211 S OCEAN DR                     APT 403                                                    HOLLYWOOD        FL   33019‐1706
JIP FOO CHUN                                    315 E 65TH ST                      APT 7A                                                     NEW YORK         NY   10065
JIP FOO CHUN & MRS ALICE LEE CHUN JT TEN        138‐27 HOOVER AVE                                                                             JAMAICA          NY   11435‐1131
JIRONG ZHANG                                    1384 28TH AVE                                                                                 SAN FRANCISCO    CA   94122
JIT INC                                         ATTN JEFFREY TOMPKINS              2975 BROADMOOR VALLEY ROAD   SUITE 101                     COLORADO SPRINGS CO   80906‐4466

JITEN K BHALGAT & ARCHANA J BHALGAT JT TEN      3 DENVER RD                                                                                   MARLTON         NJ    08053‐3835
JITENDRA R PATEL                                6524 SHAMEL DR                                                                                INDIANAPOLIS    IN    46278‐1178
JITENDRA SINGH & ANDREA J CURTIS JT TEN         16 DEPOT ROAD                                                                                 BOXBOROUGH      MA    01719
JIVCO ERDELEAN & DUSHKA ERDELEAN JT TEN         51260 ORO DR                                                                                  SHELBY TWP      MI    48315‐2926
JMAES DAVID WEBB                                1612 LAKELAND CIRCLE                                                                          MORROW          GA    30260‐3821
JNOTHAN D WARD                                  707 SPRING ST                                                                                 SAINT JOHNS     MI    48879‐1362
JNOTHAN P WARD                                  2043 HAMILTON                                                                                 HOLT            MI    48842‐1336
JO A ALTMAN                                     1120 PLEASANT VALLEY RD                                                                       MANSFIELD       OH    44903‐7356
JO A BROWN                                      PO BOX 2432                                                                                   FLORENCE        AL    35630‐0004
JO A CRAFTS                                     8371 CAPPY LN                                                                                 SWARTZ CREEK    MI    48473‐1201
JO A EWALD                                      3740 OCEAN BEACH BLVD              APT 706                                                    COCOA BEACH     FL    32931
JO A FEDYSKI                                    3101 DURST CLAGG RD                                                                           WARREN          OH    44481‐9359
JO A MC BROOM                                   3321 N 74TH ST                                                                                KANSAS CITY     KS    66109‐1230
JO A SELB                                       3940 BRAMBLEWOOD LANE                                                                         TITUSVILLE      FL    32780‐5958
JO A SOBKOW                                     1552 MARINER DR                                                                               WALLED LAKE     MI    48390‐3655
JO A TAYLOR                                     25123 W 10 MILE RD                                                                            SOUTHFIELD      MI    48034‐2978
JO A THOMAS                                     4101 HEATH                                                                                    MUNCIE          IN    47304‐6110
JO A THOMAS & LARRY E THOMAS JT TEN             4101 HEATH                                                                                    MUNCIE          IN    47304‐6110
JO A WRIGHT                                     417 W WITHERBEE                                                                               FLINT           MI    48503‐1083
JO AL T REKAIS & ANTHONY M REKASIS JT TEN       12115 ANN STREET                                                                              BLUE ISLAND     IL    60406‐1039
JO ALICE NASTAL                                 6815 BOARDWALK DR                                                                             ROSEVILLE       CA    95746‐9245
JO AN H FRIES‐OGLE                              1726 GRAND AVE                                                                                KEOKUK          IA    52632‐2925
JO ANN ADAMS                                    #215                               3201 ST CHARLES AVE                                        NEW ORLEANS     LA    70115‐4503
JO ANN B HAGER                                  6030 HEMINGWAY RD                                                                             HUBER HEIGHTS   OH    45424‐3525
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 60 of 855
Name                                             Address1                            Address2                 Address3       Address4          City              State Zip

JO ANN B KING                                    BOX 216                                                                                       HOMER             LA    71040‐0216
JO ANN B SCOTT                                   35637 MERIDIA AVE                                                                             PALM DESERT       CA    92211
JO ANN BEAL WHITFIELD                            1545 LYDIA PERRY RD                                                                           BEAR CREEK        NC    27207‐9663
JO ANN BOOKER                                    20970 KRANSBURG RIDGE DR                                                                      PORTER            TX    77365‐3584
JO ANN BOOKER PERS REP EST BERTHA R WIDNEY       6 INDIGO POINT DRIVE                                                                          CHARLESTON        SC    29407‐7917
JO ANN BRAY CUST MICHAEL B BRAY UGMA MA          40 CLIFTON DR                                                                                 KINGSTON          MA    02364‐1331
JO ANN BROOKS                                    8054 NORWICH AVE                                                                              VAN NUYS          CA    91402‐5616
JO ANN C GOLDBERG                                350 N MAIN ST                       UNIT 819                                                  ROYAL OAK         MI    48067‐4126
JO ANN CAREY                                     PO BOX 14754                        EAST JEFFERSON STATION                                    DETROIT           MI    48214‐0754
JO ANN CASEY                                     1133 BALTIMORE DR                                                                             EL PASO           TX    79902‐2118
JO ANN CL MILLER & STANLEY A MILLER JT TEN       PO BOX 111                          W12311 WEST BEACH                                         NAUBINWAY         MI    49762‐0111
JO ANN DOBBIE                                    10004 NW 74TH ST                                                                              WEATHERLY LAKE    MO    64152‐1706
JO ANN DOBSON TAYLOR                             1420 E CAMBRIDGE LN                                                                           SPOKANE           WA    99203‐3967
JO ANN E VANDENBERG                              401 42ND AVE                                                                                  SAN FRANCISCO     CA    94121‐1513
JO ANN EDDLEMON                                  3878 PEAVINE FIRETOWER RD                                                                     CROSSVILLE        TN    38558‐0929
JO ANN ELLIOTT MILLER                            876 ROSEWOOD AVE                                                                              CAMARILLO         CA    93010‐2846
JO ANN FAERBER CUST MARK E FAERBER UGMA MI       905 BRIARS BEND                                                                               ALPHARETTA        GA    30004‐1180

JO ANN FENN CUST MELANIE FENN UGMA OH            BOX 24                                                                                        MONTROSE          IA    52639‐0024
JO ANN FLANNIGAN & WAYNE J FLANNIGAN JT TEN      402 E MAIN ST                                                                                 MONTICELLO        IL    61856‐2056

JO ANN FRIEDMAN                                   C/O JOANN FRIEDMAN                 4116 E CAMELBACK ROAD                                     PHOENIX           AZ    85018‐2717
JO ANN FRYBACK                                    3263 STATE RD 13S                                                                            LAPEL             IN    46051‐9618
JO ANN GRAY & ZACHERY GRAY JT TEN                 2110 EDWARD ST                                                                               BETHEL PARK       PA    15102‐2148
JO ANN H HILL & GILBERT F HILL JT TEN             422 TYBURN DR                                                                                WEXFORD           PA    15090‐7466
JO ANN HARRIS & JAMES A HILL JT TEN               4514 JENNINGS STA RD                                                                         ST LOUIS          MO    63121‐3333
JO ANN HEITMEYER                                  3550 W WALTON                                                                                WATERFORD         MI    48329‐4263
JO ANN HORD                                       118 TULIP TREE LANE                                                                          BATTLE CREEK      MI    49037
JO ANN HUGHES & BUFORD HUGHES JT TEN              1320 BOYER                                                                                   RICHMOND          IN    47374‐1802
JO ANN JACOBI                                     W1126 SPLEAS SKONEY RD                                                                       E TROY            WI    53120‐2321
JO ANN JAMESON                                    5203 WOODGATE DR                                                                             TEXARKANA         TX    75503‐0423
JO ANN JOHNSTON                                   #820                               8787 BRAE ACRES                                           HOUSTON           TX    77074‐4135
JO ANN K ZIMMERMAN                                488 SALEM CHURCH RD                                                                          WINDSOR           PA    17366‐8461
JO ANN KOZLOWSKI                                  44 MC COLLUM DR                                                                              CLARK             NJ    07066‐2218
JO ANN KUCK                                       853 DOROTHY LN                                                                               BROOKVILLE        OH    45309‐8689
JO ANN KUSTER                                     310 W RIVERBEND DR                                                                           PLYMOUTH          WI    53073‐2160
JO ANN L BLANKENSHIP & DAVID L BLANKENSHIP JT TEN 8 COOLIDGE PARK                                                                              WAKEFIELD         MA    01880‐2001

JO ANN L NOBLE                                   3509 S LEISURE WORLD BLVD           # 29                                                      SILVER SPRING     MD    20906‐1708
JO ANN LIGHTBODY                                 410 NASH                                                                                      CRYSTAL LAKE      IL    60014‐7136
JO ANN LOUISE JOHNSTON                           2481 PARKWOOD                                                                                 ANN ARBOR         MI    48104‐5347
JO ANN M CAMP                                    10349 HOWARD CTY RD                                                                           VESTABURG         MI    48891‐9760
JO ANN M CREERY                                  308 1ST STREET                                                                                GARNAVILLO        IA    52049‐8254
JO ANN M FEHRMANN                                404 VIA COCHES                                                                                SAN LORENZO       CA    94580‐3112
JO ANN M HINES & JOSEPH A DYLYN JT TEN           25840 RUSTIC LANE                                                                             WESTLAKE          OH    44145
JO ANN M PARNAS                                  1684 RIDGEVIEW CIRCLE DR                                                                      BALDWIN           MO    63021‐7805
JO ANN M ROBERTS                                 636 LAKEVIEW DRIVE                                                                            FAIRFIELD GLADE   TN    38558‐8328
JO ANN MARY CREERY CUST TROY ERIC CREERY UGMA IA 227 CORDOBA AVE                                                                               CEDAR FALLS       IA    50613‐6313

JO ANN MC EACHERN ROGERS                         2737 J B DENTON RD                                                                            LANCASTER         SC    29720‐9186
JO ANN MCCROSKEY                                 704 MEMORIAL BLVD                                                                             NARROWS           VA    24124‐2109
JO ANN MINTON                                    6895 E ROSS RD                                                                                NEW CARLISLE      OH    45344‐9670
JO ANN NADEAU                                    12909 BRIAR DR                                                                                TRAVERSE CITY     MI    49684‐5304
JO ANN NORMAN                                    C/O JO ANN BURT                     305 KANSAS DR                                             GOSHEN            IN    46526‐1423
JO ANN P HOLMAN                                  PO BOX 698                                                                                    VERO BEACH        FL    32961‐0698
JO ANN PALFI                                     445 LASALLE DR                                                                                WINCHESTER        KY    40391‐9256
JO ANN PANSING                                   115 COUSINS DR                                                                                FRANKLIN          OH    45005‐6218
JO ANN PICKETT                                   1950 VERSAILLES RD                                                                            CHULA VISTA       CA    91913‐3130
JO ANN PIERCE                                    2812 N RICHMOND                                                                               MUNCIE            IN    47304‐2158
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 61 of 855
Name                                               Address1                              Address2                 Address3       Address4          City            State Zip

JO ANN POWERS                                      216 DRAWYERS DR                                                                                 MIDDLETOWN      DE    19709
JO ANN RACZ                                        PO BOX 23                                                                                       COOKEVILLE      TN    38503‐0023
JO ANN RADFORD                                     5008 HAZELRIDGE RD NW                                                                           ROANOKE         VA    24012‐1512
JO ANN REICHLING                                   584 CHAPELVIEW COURT                                                                            CINCINNATI      OH    45233‐4707
JO ANN REID SLAUGHTER                              921 SYCAMORE COURT                                                                              FAIRVIEW        TX    75069
JO ANN RILEY CUST DE WITT A RILEY III UGMA CT      75 BIRCH HILL DRIVE                                                                             NEW BRITAIN     CT    06052‐1803
JO ANN ROSENOW & DAVID ROSENOW JT TEN              4113 5 MILE RD                                                                                  RACINE          WI    53402‐9509
JO ANN SATTLER                                     616 GABLES BLVD S                                                                               WHEATON         IL    60187‐4728
JO ANN SHAHIN HAWKINS                              504 W CHAPEL LN                                                                                 MIDLAND         MI    48640‐7328
JO ANN TEMPLETON MC DONALD HODGES                  7921 CASE DR                                                                                    PLANO           TX    75025‐6002
JO ANN TERRIQUEZ CUST TRENT H TERRIQUEZ UGMA       862 PENSTEMON RD                                                                                DILLON          CO    80435‐8380
MN
JO ANN THOMAS TR UA 08/09/07 JO ANN THOMAS         6340 GROVE POINTE DR SE                                                                         WINTER HAVEN    FL    33884‐2724
TRUST
JO ANN V BROOKS                                    10311 WINDBKUFF DRIVE                                                                           RICHMOND        VA    23233‐3617
JO ANN W MANN                                      1500 HALL S E                                                                                   GRAND RAPIDS    MI    49506‐3962
JO ANN WEBER                                       4341 REVILLO DRIVE                                                                              SAN DIEGO       CA    92115‐5937
JO ANN WELSH                                       3395 NE 78TH AVE                                                                                ANKENY          IA    50021‐9317
JO ANNA J COOKSEY & ROBERT F JACKSON & MIRIAM F    501 NEWTON DR                                                                                   ADEL            GA    31620‐1641
JACKSON JT TEN
JO ANNE BREEDY                                     518 HAIN AVE                                                                                    READING         PA    19605‐2135
JO ANNE GARDNER                                    2457 S IRISH ROAD                                                                               DAVISON         MI    48423‐8362
JO ANNE KAY MILLARD                                27112 HAMPDEN                                                                                   MADISON HEIGHTS MI    48071‐3137

JO ANNE M PALMER                                 3325A VIA CARRIZO                                                                                 LAGUNA WOODS    CA    92653‐0618
JO ANNE MC KENNEY                                PO BOX 2969                                                                                       MCKINLEYVILLE   CA    95519‐2969
JO ANNE RANKIN                                   374 N PERRY HWY LOT 4                                                                             MERCER          PA    16137‐5058
JO ANNE SEVERINO                                 13971 ENCANTARDO CIRCLE                 SPANISH LAKES FAIRWAYS                                    FORT PIERCE     FL    34951‐4206
JO ANNE SICKLER                                  579 WATSONS MILL RD                                                                               WOODSTOWN       NJ    08098‐2057
JO ANNE SLEPSKI                                  9815 SIL                                                                                          TAYLOR          MI    48180‐3088
JO ANNE SNIDER                                   11765 LOGAN STREET                                                                                NORTHGLENN      CO    80233‐1901
JO ANNE STEBBINS                                 PO BOX 12356                                                                                      GREEN BAY       WI    54307‐2356
JO ANNE WEBER                                    5430 W OVERLOOK CIRCLE                                                                            WEST BEND       WI    53095‐8712
JO ANNE WILLIAMS                                 2555 PRIMROSE LANE                                                                                TUPELO          MS    38801‐8199
JO BELLE WEYFORTH                                10983 INSPIRATION POINT PL                                                                        MANASSAS        VA    20112‐5865
JO C RICHARDSON                                  1405 MEADOWVIEW                                                                                   RICHARDSON      TX    75080‐4035
JO CARROLL MURRAY                                606 E BEVERLY                                                                                     PONTIAC         MI    48340‐2908
JO D DONNENWIRTH                                 298 VENNUM AVE                                                                                    MANSFIELD       OH    44903‐2131
JO D ORBITS & DAVID A ORBITS JT TEN              17028 NE 139TH ST                                                                                 REDMOND         WA    98052‐1719
JO E HUXTABLE TOD ELIZABETH ANNE MOREHEAD        118 S COACH HOUSE RD                                                                              WICHITA         KS    67235‐1454
SUBJECT TO STA TOD RULES
JO E HUXTABLE TOD JEFFERY ALAN MICHAELS SUBJECT 1124 WADDINGTON                                                                                    WICHITA         KS    67212‐4011
TO STA TOD RULES
JO E HUXTABLE TOD THOMAS LESLIE HUXTABLE SUBJECT 118 S COACH HOUSE RD                                                                              WICHITA         KS    67235‐1454
TO STA TOD RULES
JO E JACKSON                                     916 ALAMEDA AVE                                                                                   YOUNGSTOWN       OH   44510‐1202
JO E SHARP                                       309 N LAUREL CIR                                                                                  COLUMBIA         TN   38401‐2025
JO E WRIGHT                                      1649 INDIANA AVENUE                                                                               FLINT            MI   48506‐3521
JO ELAINE COLQUITT                               34240 COMMONS RD                                                                                  FARMINGTON HILLS MI   48331‐1411

JO ELAINE STURGEON                                 4120 S 100 E                                                                                    CHALMERS        IN    47929‐8003
JO ELLA SCHNEIDER                                  3815 N RIDGEVIEW RD                                                                             ARLINGTON       VA    22207‐4511
JO ELLEN CHAPPELL                                  1765 POMELO DRIVE                                                                               VENICE          FL    34293
JO ELLEN LANG PER REP EST HELEN M KLUGE            622 W WASHINGTON AVE                                                                            ALPENA          MI    49707
JO ELLEN S QUIGLEY WENDY JO QUIGLEY & KIMBERLY G   26 BROADLEAF DRIVE                                                                              NEWARK          DE    19702‐3509
QUIGLEY JT TEN
JO ELLEN STEELE KRAUS                              1049 YOSEMENTO AVE                                                                              HAYS            KS    67601‐9201
JO ELLYN A LEWIS                                   ATTN J L MC CRORY                     2408 NEW HOPE DR                                          CHAPEL HILL     NC    27514‐9569
JO FJELSTAD                                        PO BOX 213                                                                                      MORRISTOWN      TN    37815‐0213
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 62 of 855
Name                                               Address1                            Address2             Address3           Address4          City             State Zip

JO HANNAH JONES                                    15 WINDERMERE AVE                                                                             ARLINGTON        MA    02476‐6423
JO HARPER                                          18939 TEPPERT ST                                                                              DETROIT          MI    48234‐3730
JO IDA HANSEN                                      75 EAST RIVER RD                                                                              MINNEAPOLIS      MN    55455‐0280
JO JON HYLVA                                       PO BOX 176                          6TH ST                                                    GRAPEVILLE       PA    15634‐0176
JO L AARON                                         5152 BEWICK ST                                                                                DETROIT          MI    48213‐3361
JO L CARR                                          800 N CLINTON                                                                                 OLATHE           KS    66061‐2410
JO L WENDLING                                      1204 S LANSING ST                                                                             ST JOHNS         MI    48879‐2152
JO LEE MELFI                                       21269 N 79TH DR                                                                               PEORIA           AZ    85382‐4451
JO LYNN NORFLEET                                   1883 HARRODSBURG RD                                                                           LEXINGTON        KY    40504‐3603
JO M KRISS                                         RD #2 BOX 134B                                                                                DU BOIS          PA    15801‐9114
JO M SWORD                                         10006 ROXBURY POINT                                                                           KNOXVILLE        TN    37922‐5729
JO MARIE WHITWORTH                                 4 MEREDITH LYNN RD                                                                            FAYETTEVILLE     TN    37334‐7084
JO MATTHES                                         C/O DR R K MATTHES                  1051 REED RD                                              STARKVILLE       MS    39759‐9308
JO MCDONALD                                        710 STATE ST CRT                                                                              ROSEWELL         GA    30075‐2894
JO MORRIS BROWN                                    44 LONGMEADOW                                                                                 PINE BLUFF       AR    71603‐6312
JO NELL LYNCH CUST KYLE LYNCH UTMA TX              1300 SHROP SHIRE COURT                                                                        KELLER           TX    76248‐8707
JO S BERNER                                        3419 BROOKSIDE WAY                                                                            CARMICHAEL       CA    95608‐3425
JO SANDRA MILBURN & MARGUERITE A JOHNSON JT        1022 QUAIL RUN                                                                                WYOMING          DE    19934‐9509
TEN
JO SMITH WILLIAMS                                  151 FRANKLIN LANE                                                                             HENDERSON        NC    27537‐5068
JO‐ANN AGNES CURNAN                                5338 GARNETFIELD LN                                                                           KATY             TX    77494
JO‐ANN H WHITEHEAD                                 6123 LYNBROOK DR                                                                              HOUSTON          TX    77057‐1138
JO‐ANN K KENNEDY                                   PO BOX 2207                                                                                   BATESBURG‐       SC    29070‐0207
                                                                                                                                                 LEESVILL
JO‐ANN POMARO & SANDRA POMARO & JOSEPH A           216 REGINA ST                                                                                 ISELIN           NJ    08830‐2438
POMARO JT TEN
JO‐ANN S FOLLBAUM & GARY D FOLLBAUM JT TEN         2950 S CUSTER                                                                                 MONROE           MI    48161
JO‐ANNE SWANSON                                    2800 NORHT A 1 A                    UNIT 603             NORTH                                HUTCHINSON ISL   FL    34949
JO‐CYNTHIA KEELS                                   1418 AVONDALE ST                                                                              SANDUSKY         OH    44870‐4268
JO‐HANNA YOUNGS GOOTH                              89 HEGEMANS LANE                                                                              OLD BROOKVILLE   NY    11545‐2705
JOACHIM J NAUSEDA                                  5939 MEADOWVIEW                                                                               YPSILANTI        MI    48197‐7116
JOACHIM L BROTZEN                                  3418 HAROLD ST                                                                                OCEANSIDE        NY    11572‐4745
JOACHIM M SCHORR                                   117‐01 PARK LANE SOUTH              APT D‐4L                                                  KEW GARDENS      NY    11418‐1014
JOAN A ALEXANDER                                   8943 GARRETT ST                                                                               LEWIS CENTER     OH    43035‐8444
JOAN A BALLOU                                      1212 FOSTER ST                                                                                RIVER FALLS      WI    54022‐2910
JOAN A BAUER                                       1706 MANOR DR                                                                                 LEBANON          IN    46052‐3321
JOAN A BECTWITH CUST TESS E BECKWITH UTMA MA       27 LAKE ST                                                                                    PLYMPTON         MA    02367‐1308

JOAN A BEVIVINO                                    11 HILLCREST RD                                                                               PLAINVILLE       CT    06062‐2111
JOAN A BUETEFISH                                   714 STATE ROUTE 17K                                                                           MONTGOMERY       NY    12549‐2715
JOAN A BURLEY                                      2261 N UNION ST                                                                               SPENCERPORT      NY    14559‐1242
JOAN A CARROLL                                     194‐10G 64 CIRCLE                                                                             FRESH MEADOWS    NY    11365
JOAN A CHENEY                                      3671 HOAGLAND BLACKSTUB RD #B                                                                 CORTLAND         OH    44410‐9316
JOAN A CLAY                                        1592 LANCASTER GREEN                                                                          ANNAPOLIS        MD    21401‐6465
JOAN A CZICH                                       7540 HARDING                                                                                  TAYLOR           MI    48180‐2536
JOAN A DOMME                                       2262 HILL CREEK WY                                                                            MARIETTA         GA    30062‐6391
JOAN A FEDKEW                                      1069 FAWN WOOD DR                                                                             WEBSTER          NY    14580‐9614
JOAN A GEARHART                                    519 E 3RD ST                                                                                  NESCOPECK        PA    18635
JOAN A GILCHRIST PER REP EST RICHARD C GILCHRIST   3061 E M134                                                                                   CEDARVILLE       MI    49719

JOAN A GOOD                                      99 MAIN ST                                                                                      LEBANON          NJ    08833‐2132
JOAN A GRASCHBERGER                              1230 13TH AVE                                                                                   GREEN BAY        WI    54304‐2540
JOAN A GRESSER & KIMBERLY V HAY & MARK R GRESSER 20420 FRAZHO                                                                                    ST CLAIR SHRS    MI    48081‐1729
JT TEN
JOAN A HALDERMAN                                 6460 S PETERS RD                                                                                TIPP CITY        OH    45371‐2039
JOAN A HOFFMAN                                   2803 GOLDMAN AVE                                                                                MIDDLETOWN       OH    45044
JOAN A KENNEDY                                   3816 SOUTH GRAND TRAVERSE                                                                       FLINT            MI    48507‐2401
JOAN A KEYES                                     155 CHERRY BLOSSOM DR                                                                           CHURCHVILLE      PA    18966‐1018
JOAN A KING & RICHARD J KING JT TEN              BOX 327                                                                                         AQUEBOGUE        NY    11931‐0327
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 63 of 855
Name                                            Address1                            Address2             Address3           Address4          City            State Zip

JOAN A KRAWCZUK                                2383 TOPAZ DR                                                                                  TROY            MI    48098‐3836
JOAN A LANG                                    750 WASHINGTON RD #805                                                                         PITTSBURGH      PA    15228‐2027
JOAN A LANGAN                                  3025 HIGH WOODS DR                                                                             ASTON           PA    19014‐1629
JOAN A LAWLESS                                 729 TEMPLECLIFF ROAD                                                                           BALTIMORE       MD    21208‐4626
JOAN A LEBLANC                                 168 BARTHEL AVE                                                                                GARDNER         MA    01440‐2893
JOAN A MATTHEWS                                1703 W NEWPORT PIKE                                                                            WILMINGTON      DE    19804‐3527
JOAN A MC GUIRE                                13 VIRGINIA COURT                                                                              LOCKPORT        NY    14094‐5723
JOAN A MC LEAN & EARL J MC LEAN JT TEN         1620 S 138TH ST                                                                                OMAHA           NE    68144‐1135
JOAN A MCKEON                                  153 NORTH DIVISION AVE                                                                         HOLLAND         MI    49424‐6457
JOAN A MEALEY                                  PO BOX 543                                                                                     VALLEY FORGE    PA    19481‐0543
JOAN A MURTHA                                  2911 NE 39TH ST                                                                                LIGHTHOUSE PT   FL    33064
JOAN A MYCEK                                   300 PHALANX RD                                                                                 COLTS NECK      NJ    07722‐1314
JOAN A NOOTBAAR TR UA 12/05/86 JOAN A NOOTBAAR 1632 GATEWICK PL                                                                               KESWICK         VA    22947‐9119
TRUST
JOAN A OFF                                     221 GREEN SPRINGS DR                                                                           COLUMBUS        OH    43235‐4646
JOAN A PACIFICI                                4246 GOODSON CT                                                                                BELCAMP         MD    21017‐1437
JOAN A PENDLETON                               413 BAYLOR ROAD                                                                                GLEN BURNIE     MD    21061‐4603
JOAN A PERULLO                                 13 LOCUST AVE                                                                                  EDISON          NJ    08817‐4711
JOAN A REIGHARD                                3547 WOODBINE AVENUE                                                                           HUBBARD         OH    44425‐1849
JOAN A RUHL CUST ROBERT R RUHL UGMA NY         16 LAURELCREST DR                                                                              SPENCERPORT     NY    14559‐2302
JOAN A RYZNER                                  23831 PLAINSMAN CIRCLE                                                                         PLAINFIELD      IL    60544‐8626
JOAN A S AEBIG                                 4501 DABNEY DRIVE                                                                              ROCKVILLE       MD    20853
JOAN A TRACY RICHARD C TRACY DAVID P TRACY &   21901 EDGEWOOD ST                                                                              ST CLR SHORES   MI    48080‐2001
MARILEE A STREITZ JT TEN
JOAN A URAI                                    61 DORBETH ROAD                                                                                ROCHESTER       NY    14621‐3213
JOAN A WARD                                    9720 SHADOW OAK DRIVE                                                                          GAITHERSBURG    MD    20886‐1124
JOAN A WARSZAWSKI TR UA 01/15/2007 WARCZAWSKI 1326 MIDLAND RD                                                                                 BAY CITY        MI    48706
FAMILY TRUST
JOAN A WILSON                                  14307 FOX CHASE CT                                                                             GRANGER         IN    46530‐4952
JOAN A WINDNAGEL & RICHARD R WINDNAGEL JT TEN 9465 MENTOR RD                                                                                  CHARDON         OH    44024‐8606

JOAN A WOOTON                                   1675 WELCOME AVE                                                                              NATIONAL CITY   MI    48748‐9436
JOAN ADAMS & THOMAS F ADAMS JT TEN              4467 COLONY CT                                                                                SWARTZ CREEK    MI    48473‐1482
JOAN ALLEN                                      7411 57TH STREET SOUTH                                                                        MUSCATINE       IA    52761‐1100
JOAN ALLEN                                      51 ELMVIEW CT                                                                                 SAGINAW         MI    48602‐3655
JOAN ALLEN CONOVER                              590 LONGBRANCH RD                                                                             SIMI VALLEY     CA    93065‐5338
JOAN ALLISON BAILEY                             3466 SAGECREST                                                                                FORT WORTH      TX    76109‐2555
JOAN ANN BELL & GARY LEE BELL JT TEN            1243 EVERGLADES AVE                                                                           CLEARWATER      FL    33764‐4915
JOAN ANN BUDILOVSKY                             1305 ASH STREET                                                                               SAINT CHARLES   IL    60174
JOAN ANN BUDILOVSKY TR UA 08/22/1997 JOAN ANN   1305 ASH ST                                                                                   SAINT CHARLES   IL    60174
BUDILOVSKY TRUST
JOAN ANN CROSS                                  312 BERKSHIRE AVE                                                                             NEW MILFORD    NJ     07646‐2502
JOAN ANN DOUGHERTY                              3306 ST DAVID'S RD                                                                            NEWTOWN SQUARE PA     19073‐1805

JOAN ANN KEPPLER & JOHN KEPPLER JT TEN       14704 STATE RD DD                                                                                FESTUS          MO    63028‐4991
JOAN ANN WENDELL                             2252 CINNAMON TEAL LANE                                                                          LINCOLN         CA    95648‐8762
JOAN ANN WILCOX                              2970 TRACY LANE                                                                                  STOUGHTON       WI    53589‐3257
JOAN ANN WILCOX CUST ANDREW J WILCOX UGMA MN 1212 ONEILL PSGE                                                                                 WAUNAKEE        WI    53597‐2652

JOAN ANNE HUNTER                                27 KENNEDY ST                                                                                 WHEATLAND       PA    16161
JOAN ANNE RUSIN                                 17129 OAKWOOD                                                                                 LANSING         IL    60438‐1224
JOAN ASBURY                                     92 WAIKIKI DR                                                                                 MADISON         OH    44057‐2735
JOAN ASHLEY GARTEN                              520 E BRYAN ST                                                                                SAVANNAH        GA    31401‐2803
JOAN B ALDRIDGE                                 3797 FAIRWAY DR                                                                               WOODBURY        MN    55125‐5019
JOAN B ALLEN                                    25321 POTOMAC DRIVE                                                                           SOUTH LYON      MI    48178‐1081
JOAN B BARTLES                                  128 ACCESS DR                                                                                 MARTINSBURG     WV    25404‐0570
JOAN B BEERS & VICKIE L ELLIOTT JT TEN          818 RICHARD DR                                                                                HOLLY           MI    48442‐1285
JOAN B BERKOWITZ                                1940 35TH ST N W                                                                              WASHINGTON      DC    20007‐2213
JOAN B BRYANT                                   48631 MANHATTAN CIR                                                                           CANTON          MI    48188‐1499
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 64 of 855
Name                                            Address1                             Address2             Address3           Address4          City              State Zip

JOAN B CAMP                                     17703 ROUTE 301 S                                                                              LA GRANGE         OH    44050‐9745
JOAN B COLEMAN & ROBERT N COLEMAN JT TEN        1 MAPLE LANE                                                                                   DOVER             MA    02030‐2037
JOAN B CORRELL                                  13213 REEDLEY ST                                                                               ARLETA            CA    91331‐4939
JOAN B CURTIN                                   78 APPLE HILL                                                                                  WETHERSFIELD      CT    06109‐3502
JOAN B FISHER                                   18 DEERFIELD DR                                                                                OWEGO             NY    13827‐1104
JOAN B GOSSNER                                  6 MILL POND RD                                                                                 STONY BROOK       NY    11790‐1816
JOAN B HANLEY                                   4539 ROSLYN DR                                                                                 WILMINGTON        DE    19804‐4016
JOAN B HENDEL                                   23905 CALLE ALONSO                                                                             MISSION VIEJO     CA    92692‐2110
JOAN B HOFFMEYER & MARVIN W HOFFMEYER JT TEN    20766 H C L JACKSON DRIVE                                                                      GROSSE ILE        MI    48138

JOAN B KACZOROWSKI                               8163 DEERWOOD RD                                                                              CLARKSTON         MI    48348‐4529
JOAN B LASTIC                                    4538 SW 6TH PL #104                                                                           CAPE CORAL        FL    33914‐6418
JOAN B LIPSON                                    10420 GATEWOOD TER                                                                            SILVER SPRING     MD    20903‐1508
JOAN B MC MURRAY                                 B S 4313 EARL DRIVE                                                                           STEUBENVILLE      OH    43952
JOAN B PEDERSEN BOLTON & PETER JEFFERY BOLTON JT 1305 HULL STREET                                                                              BALTIMORE         MD    21230‐5243
TEN
JOAN B RAMSEY                                    3214 SOMERSET ST SW                                                                           ROANOKE           VA    24014‐3136
JOAN B REDFORD AS SEPARATE PROPERTY              1560 GRANADA AVE                                                                              SAN MARINO        CA    91108‐2326
JOAN B RITTER                                    4 LOREN DR                                                                                    POUGHKEEPSIE      NY    12603‐4007
JOAN B SCHAENGOLD TR UA 04/18/91 JOAN B          2444 MADISON RD                     UNIT 1602                                                 CINCINNATI        OH    45208‐1272
SCHAENGOLD TRUST
JOAN B SCHRAUBEN                                 4700 N CHANDLER RD                                                                            ST JOHNS          MI    48879‐9332
JOAN B SMITH                                     26 FLINTLOCK DRIVE                                                                            LONG VALLEY       NJ    07853‐3022
JOAN B SWEENEY                                   3 NEW HAMPSHIRE CT                                                                            LAKE HIAWATHA     NJ    07034‐2010
JOAN B THOMSEN                                   283 WEST BEACH ROAD                                                                           CHARLESTOWN       RI    02813‐1506
JOAN B VAN CUREN                                 64 MOUNTAIN AVE                                                                               MIDDLETOWN        NY    10940‐6246
JOAN B WAMPLER                                   4246 PARKS RD                                                                                 LEXINGTON         NC    27292‐8263
JOAN B WEIGLE                                    1322 STERLING DRIVE                                                                           CORTLAND          OH    44410‐9222
JOAN B WELCH                                     PO BOX 116                                                                                    MARION            AR    72364‐0116
JOAN B WOOD                                      339 7TH ST                                                                                    ACTON             ME    04001‐4604
JOAN BALDWIN CHAPMAN                             425 E MITCHELL AVE                                                                            CHESHIRE          CT    06410‐4130
JOAN BARBARA DOOLAN                              52 AMBLE RD                                                                                   CHELMSFORD        MA    01824‐1934
JOAN BARBARA FROMM                               3531 25TH AVE SO                                                                              MINNEAPOLIS       MN    55406‐2535
JOAN BARDALLIS                                   619 OAKGROVE DRIVE                                                                            LAKE ORION        MI    48362‐1881
JOAN BARNETT RUGG                                PO BOX 617                                                                                    ATHENA            OR    97813‐0617
JOAN BATES & EDWARD J STACH JT TEN               1397 PADDLE WHEEL DR                                                                          ROCHESTER HILLS   MI    48306‐4241
JOAN BATES TRIPP                                 HEMPSTEAD ST                        PO BOX 1974                                               SAG HARBOR        NY    11963‐0067
JOAN BAUCUS                                      1511 SW PARK AVE #1307                                                                        PORTLAND          OR    97201‐7806
JOAN BAUER                                       951 HYLAN BLVD                                                                                SI                NY    10305‐2080
JOAN BECHARD                                     90 CHESTNUT ST                                                                                BRISTOL           CT    06010
JOAN BERGRUN RYAN                                5255 MOUNTCREST LANE                                                                          RENO              NV    89523‐1806
JOAN BERNICE DEACON                              1405 LABADIE ST                     WINDSOR ON                              N8Y 4H2 CANADA
JOAN BERNSDORF                                   26‐25 UNION ST APT 4‐F                                                                        FLUSHING          NY    11354‐1731
JOAN BERYL SCHOFIELD                             PO BOX 48                                                                                     GRAY              ME    04039‐0048
JOAN BLOOM RETSINAS                              344 TABER AVE                                                                                 PROVIDENCE        RI    02906‐3345
JOAN BOHLS                                       PO BOX R                                                                                      BASTROP           TX    78602‐1991
JOAN BOUCHHARD                                   18950 NIXON                                                                                   WEST LINN         OR    97068‐1627
JOAN BOYD TOD DAWN M BOYD SUBJECT TO STA TOD 34309 ROSSLYN                                                                                     WESTLAND          MI    48185‐3661
RULES
JOAN BOYD TOD KIM M FRIEND SUBJECT TO STA TOD    34309 ROSSLYN                                                                                 WESTLAND          MI    48185‐3661
RULES
JOAN BREIDENBACH                                 BOX 25348                                                                                     SAN MATEO         CA    94402‐5348
JOAN BRENDA MATTILA                              1592 ROSLYN ROAD                                                                              GROSSE POINTE     MI    48236‐1011
                                                                                                                                               WOOD
JOAN BRIDWELL & MARIANNE BRIDWELL JT TEN        15 LAGOON RD                                                                                   SAN RAFAEL        CA    94901‐1522
JOAN BROWN                                      831 RIVERVIEW DR                                                                               SOUTH HOLLAND     IL    60473‐1645
JOAN BROWN                                      309 ALDER ST                                                                                   LIVERPOOL         NY    13088‐5058
JOAN BRUDENELL                                  618 PARADISE LANE                                                                              LIBERTYVILLE      IL    60048‐1734
JOAN BRYAN WAMPLER PARKS                        4246 PARKS ROAD                                                                                LEXINGTON         NC    27292
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 65 of 855
Name                                               Address1                             Address2             Address3           Address4          City             State Zip

JOAN BURNS CUST ELIZABETH D BURNS UTMA NY          5 RYE RD                                                                                       PORT CHESTER     NY    10573
JOAN BURNS MANCUSO                                 872 BELLEMEADE BLVD                                                                            GRETNA           LA    70056‐7634
JOAN C ADKINS                                      1600 BALTIMORE AVE                                                                             DELTONA          FL    32725‐4516
JOAN C ANDERSON                                    128 BERTHA ST                                                                                  PITTSBURGH       PA    15211‐1520
JOAN C BERTINO                                     133 WINDERMERE RD                                                                              LOCKPORT         NY    14094‐3425
JOAN C BETTS                                       10537 W LOMA LANE                                                                              PEORIA           AZ    85345
JOAN C BLAKE                                       416 TALBOTT AVE                                                                                LUTHERVILLE      MD    21093‐4944
JOAN C BLUE TR JOAN C BLUE UA 10/24/93             12198 SW TORCH LAKE DR.                                                                        RAPID CITY       MI    49676
JOAN C CHARDON                                     4247 LOCUST ST                       APT 103                                                   PHILADELPHIA     PA    19104‐5256
JOAN C CORAPI TR JOAN C CORAPI TRUST UA 3/25/99    7160 NE 8TH DR                                                                                 BOCA RATON       FL    33487‐2419

JOAN C CRISTANTELLO                                139 3RD STREET                                                                                 RIDGEFIELD PK    NJ    07660‐1022
JOAN C CROSS                                       213 COLWYN TERRACE                                                                             WEST CHESTER     PA    19380‐1183
JOAN C DEAS TR LIVING TRUST 05/26/82 U‐A DOUGLAS   35627 OLD HOMESTEAD DR                                                                         FARMINGTON HILLS MI    48335‐2032
DEAS
JOAN C DEL GAUDIO                                  43992 FREEWAY DR                     APT 92                                                    STERLING HTS     MI    48313‐1665
JOAN C DOUGLASS & JASON P DOUGLASS JT TEN          6509 WINONA AVE                                                                                ALLEN PARK       MI    48101
JOAN C FREDERICK                                   6340 STONEBROOK DR                                                                             FAIRVIEW         PA    16415
JOAN C FURSON & GREGG FURSON JT TEN                319 DELAWARE AVE                                                                               UNION            NJ    07083‐9203
JOAN C FUSON                                       103 CHIPPING WAY                     APT 1                                                     LOUISVILLE       KY    40222‐5127
JOAN C GOLD                                        643 ARBOR LANE 106                                                                             THOUSAND OAKS    CA    91360
JOAN C GRINEWSKY                                   11308 KNOXVILLE LANE                                                                           FRISCO           TX    75035‐7921
JOAN C HALPERN                                     636 BIRCHWOOD PARK DR                                                                          MIDDLE ISLAND    NY    11953‐2623
JOAN C HESCHELES                                   740 PINEVIEW CT                                                                                EUGENE           OR    97405‐4953
JOAN C HIGGINS & JEREMIAH H HIGGINS JT TEN         2871 GREEN BASS RD                                                                             RHINELANDER      WI    54501‐9198
JOAN C HINDS                                       LAKE SHORE DR                                                                                  WEST FRANKLIN    NH    03235
JOAN C HIXON                                       3824 TWILIGHT DR SOUTH                                                                         FORT WORTH       TX    76116‐7646
JOAN C HIXON & IVAN M HIXON JT TEN                 3824 TWILIGHT DR SOUTH                                                                         FORT WORTH       TX    76116‐7646
JOAN C HOLLIS                                      7960 BUCKTHORN                                                                                 MENTOR           OH    44060‐7445
JOAN C HOPPER                                      271 MORSETOWN RD                                                                               WEST MILFORD     NJ    07480‐3103
JOAN C KULKA                                       617 HAWK'S BRIDGE RD                                                                           CARNEY'S POINT   NJ    08069‐2983
JOAN C LANAHAN                                     33 HINTZ DR                                                                                    WALLINGFORD      CT    06492‐2001
JOAN C LOUGH BRAMMER & DAVID E BRAMMER JT TEN      1324 RIVERINE WAY                                                                              ANDERSON         IN    46012‐9712

JOAN C MANTAS & NICHOLAS T MANTAS JR JT TEN        2237 BLACK HORSE DR                                                                            WARRINGTON       PA    18976‐2157
JOAN C MCCARGISH                                   3183 PINE MANOR BLVD                                                                           GROVE CITY       OH    43123‐4842
JOAN C MCPHEE                                      PO BOX 357                                                                                     BROWNSVILLE      KY    42210‐0357
JOAN C MONICO                                      1 TUFTS RD                                                                                     BELFAST          ME    04915‐7513
JOAN C NOLDE                                       13397 POMONA                                                                                   FENTON           MI    48430‐1223
JOAN C OWENS                                       43 CONCORD AVE                                                                                 MERCERVILLE      NJ    08619‐2401
JOAN C PIESTER                                     12292 ARBOR DRIVE                                                                              PONTE VEDRA      FL    32082‐2100
                                                                                                                                                  BEACH
JOAN C REAUME                                      716 MAPLEGROVE                                                                                 ROYAL OAK        MI    48067‐1648
JOAN C RHODES                                      145 10TH AVE NE                                                                                ST PETERSBURG    FL    33701‐1819
JOAN C RODEN & BRIAN H RODEN JT TEN                10164 TENNYSON                                                                                 PLYMOUTH         MI    48170‐3650
JOAN C ROWE TR JOAN C ROWE LIVING TRUST 2/28/96    6044 INDIAN TRAIL                                                                              SYLVANIA         OH    43560‐2232

JOAN C SAXE                                        12 KIRKBRIDE TER                                                                               TOWACO           NJ    07082‐1009
JOAN C SEELIG TR UA 09/29/93 THE SEELIG TRUST      1129 HAMPTON MEADOWS DR              O'FALLON                                                  O FALLON         MO    63368
JOAN C SHOOP                                       1973 CENTRALIA AVE                                                                             FAIRBORN         OH    45324‐2807
JOAN C SMOLTZ & DONALD J SMOLTZ JT TEN             174 TERRI DR                                                                                   DEARBORN HGTS    MI    48127‐1977
JOAN C SOLOMONSON                                  PO BOX 7062                                                                                    GAITHERSBURG     MD    20898‐7062
JOAN C SPOONER & KEVIN D SPOONER & JULIE L         2244 PIONEER DR                                                                                BELOIT           WI    53511
SPOONER JT TEN
JOAN C SPOSITO                                     6538 HEATHER DRIVE                                                                             LOCKPORT         NY    14094‐1153
JOAN C STERN                                       3871 BENNETTES COR                                                                             HOLLEY           NY    14470‐9702
JOAN C TAGLAIRINO                                  111 VILLANOVA DR                                                                               TRENTON          NJ    08648‐4430
JOAN C VALERIANI CUST KIMBERLEE VALERIANI UTMA     2563 COLLIER RD                                                                                MANASQUAN        NJ    08736‐2209
NJ
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 66 of 855
Name                                              Address1                            Address2             Address3           Address4          City            State Zip

JOAN C WHITE                                     6538 HEATHER DR                                                                                LOCKPORT        NY    14094‐1153
JOAN C WOODCOCK                                  ATTN JOAN C WOODCOCK NESTLER         49 CORTLAND CIR                                           BANGOR          ME    04401‐2958
JOAN C WOODS                                     970 TERRANCE BLVD                                                                              TRENTON         NJ    08618‐1902
JOAN CAREW CUST KELLY CAREW UNIF GIFS MIN ACT NY 10051 NW 56TH CT                                                                               CORAL SPRINGS   FL    33076‐2586

JOAN CATHERINE RASMUSSEN                          PO BOX 532                                                                                    SAN FIDEL       NM    87049‐0532
JOAN CHARLES                                      2958 CAROL AVE                                                                                GROVE CITY      OH    43123‐2306
JOAN CHEN FONG & RONNIE LEE FONG JT TEN           39536 PLATERO PL                                                                              FREMONT         CA    94539‐3043
JOAN CHIROPOLOS                                   156 N 3RD AVE                                                                                 DES PLAINES     IL    60016‐2331
JOAN CHRISTENSEN                                  BOX 3289                                                                                      WINTER PARK     CO    80482‐3289
JOAN CHRISTIAN                                    2579 N WEST ST                                                                                RIVER GROVE     IL    60171‐1625
JOAN CIPOLLA & JOHN CIPOLLA JT TEN                2013 WILDWOOD CIR                                                                             HIGHLAND        IN    46322‐5509
JOAN CLEVELAND                                    2399 ROLANDALE                                                                                W BLOOMFIELD    MI    48324‐3671
JOAN COLVIN                                       615 CLEVELAND AVE                                                                             LINDEN          NJ    07036‐2507
JOAN CONWAY BROWN                                 835 GOLFVIEW                                                                                  ALGONAC         MI    48001‐1018
JOAN COOK TR JOAN COOK LIVING TRUST UA 07/27/98   877 COMMERCE                                                                                  COMMERCE TWP    MI    48382

JOAN CORCIONE                                     460 NW 72ND ST                                                                                BOCA RATON      FL    33487‐2361
JOAN CRAWFORD MOODY TR UW LEWIS ORR               C/O JEAN MOODY                      1632 BEVERLY DR                                           CHARLOTTE       NC    28207‐2512
CRAWFORD JR
JOAN CRAWFORD PRICE                               18931 RAINBOW COURT                                                                           SOUTHFIELD      MI    48076
JOAN CUTINELLO                                    305 W LINCOLN AVE                                                                             ROSELLE PARK    NJ    07204‐1105
JOAN D ARAMA                                      5069 KITSON LN                                                                                WEST BLOOMFIELD MI    48324‐2223

JOAN D ASHBURN                                   5801 WOODMORE DRIVE                                                                            DAYTON          OH    45414‐3011
JOAN D CAMERON                                   44 MAPLE AVE #204                                                                              HYDE PARK       MA    02136‐2733
JOAN D CARR                                      5419 COLLINGWOOD COVE                                                                          MEMPHIS         TN    38120‐2214
JOAN D COHEE                                     3307 MILLS ACRES                                                                               FLINT           MI    48506‐2132
JOAN D CORLESS                                   1479 BEAUSHIRE CIR                                                                             DAYTON          OH    45459‐3326
JOAN D CRANE                                     502 HARVARD CT                                                                                 AMSTERDAM       NY    12010‐1400
JOAN D CRAWFORD                                  167 BRANCH RD                                                                                  BELLE           WV    25015‐9709
JOAN D DERRICK                                   1145 CHERRYSTONE CT SUITE B                                                                    NAPLES          FL    34102‐0528
JOAN D DEVINE & RAYMOND J DEVINE JT TEN          600 HARBOR BLVD                      UNIT 979                                                  WEEHAWKEN       NJ    07086‐6766
JOAN D DRIVER                                    11272 BROOKBRIDGE DR                                                                           CINCINNATI      OH    45249‐2201
JOAN D DRIVER & EDWARD L DRIVER JT TEN           11272 BROOKBRIDGE DR                                                                           CINCINNATI      OH    45249‐2201
JOAN D DUDLEY TR JOAN D DUDLEY TRUST UA 02/21/06 3124 N MISTWOOD CT                                                                             WHITE LAKE      MI    48383‐3962

JOAN D FLYNN                                      5533 F E LAKE DR                                                                              LISLE           IL    60532‐2673
JOAN D GARBER & GARES GARBER JR JT TEN            1203 HIGH ROCK                                                                                SAN ANTONIO     TX    78232‐3428
JOAN D GOODALL TR UA 11/09/2006 JOAN D GOODALL    166 BRISCO RD                                                                                 ARROYO GRANDE   CA    93420
2006 REVOCABLE TRUST
JOAN D GREGORY                                    BOX 330                                                                                       BEAR BREEK      PA    18602‐0330
JOAN D HOLWICK & DAVID E HOLWICK JT TEN           9401 CARRINGTON CT                                                                            FORT SMITH      AR    72903‐5694
JOAN D JOHNSON                                    1620 W MISSION LN                                                                             PHOENIX         AZ    85021‐2970
JOAN D KANE                                       167 MAPLE STREET                                                                              GORDONVILLE     PA    17529‐9546
JOAN D KAUFMAN TOD LAURA L KAUFMAN SUJBECT TO     21 VAN WART PATH                                                                              NEWTON          MA    02459‐3720
STA TOD RULES
JOAN D KLINE                                      37 LOIS LANE                                                                                  MONROE          NY    10950‐4164
JOAN D KUNSELMAN                                  52 SAWMILL ROAD                                                                               STOW            MA    01775
JOAN D LEWIS                                      1201 MORNINGSIDE DR                                                                           SILVER SPRING   MD    20904‐3150
JOAN D LINVILLE                                   PO‐208                                                                                        FELICITY        OH    45120
JOAN D MACEAU                                     523 E ROANOKE #B                                                                              PHOENIX         AZ    85004‐1016
JOAN D MONSON                                     55 KENTUCKY AVE SO                                                                            GOLDEN VALLEY   MN    55426‐1531
JOAN D RAINERI & CHARLES RAINERI JT TEN           77‐54 AUSTIN STREET                                                                           FOREST HILLS    NY    11375‐6940
JOAN D SKOLNIK & PETER SKOLNIK EX EST PETER       805 SCARBORO LN                                                                               NORTHAMPTON     PA    18067
DELAURENTIS
JOAN D STONE                                      1200 GABRIEL LANE                                                                             FORT WORTH      TX    76116‐1636
JOAN D THOMPSON                                   127 W BENSON ST                                                                               DECATUR         GA    30030‐4309
JOAN D TIMMS                                      508 HAWKINS RD                                                                                SELDEN          NY    11784‐1942
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 67 of 855
Name                                             Address1                             Address2             Address3           Address4          City               State Zip

JOAN D TOMICKI & COREYJ TOMICKI JT TEN           80 ST JOAN LN                                                                                  CHEEKTOWAGA        NY    14227‐3445
JOAN DEFLAVIS                                    3180 OLD YORKTOWN RD                                                                           YORKTOWN HTS       NY    10598‐2322
JOAN DEMARMELS & DAVID DEMARMELS JT TEN          132 STATE HWY 235                                                                              HARPURSVILLE       NY    13787‐1836
JOAN DENLER EX EST WILLIAM N DENLER JR           277 AMHERSTON DRIVE                                                                            WILLIAMSVILLE      NY    14221
JOAN DI LAURO                                    2434 QUEENSTON RD                                                                              CLEVELAND          OH    44118‐4316
                                                                                                                                                HEIGHTS
JOAN DICKERSON LEWIS                             1201 MORNINGSIDE DRIVE                                                                         SILVER SPRING      MD    20904‐3150
JOAN DIVER MC COY                                305 WATER STREET                     APT C‐4                                                   KERRVILLE          TX    78028‐5221
JOAN DOBBS                                       320 N FOSTER AVE                                                                               ALBANY             IN    47320‐1313
JOAN DOMASCHK AXTELL                             ATTN JOAN JOESTING                   415 RUTGERS AVENUE                                        MELBOURNE          FL    32901‐7738
JOAN DONADIO                                     14 HIGH ST                                                                                     ANDOVER            NJ    07821‐4500
JOAN DOUGLASS                                    1749 ARROWHEAD BLVD                                                                            MARYVILLE          TN    37801‐3651
JOAN E ADAMS                                     981 FISH AND FIDDLE RD                                                                         MOUNTAIN HOME      AR    72653‐8423

JOAN E ANCIC & SAMUEL JOHN ANCIC JT TEN           6183 GREENVIEW DR                                                                             BURTON             MI    48509‐1314
JOAN E ANDREWS                                    413 S LOMBARD DR                                                                              MUNCIE             IN    47304‐4435
JOAN E BELOUS                                     113 LITTLEFIELD ROAD                                                                          MONTEREY           CA    93940‐4917
JOAN E BERGER & ROBERT J BERGER JT TEN            2929 MINUTEMAN LANE                                                                           BRANDON            FL    33511‐7598
JOAN E BOEHM TR BOEHM TRUST UA 10/12/94           8115 W LAKESHORE DRIVE                                                                        BURLINGTON         WI    53105‐8126
JOAN E BRADWAY                                    PO BOX 950                                                                                    SALEM              NJ    08079‐0950
JOAN E BROOKS                                     W6710 CREEK ROAD                                                                              WAUSAUKEE          WI    54177‐8960
JOAN E BURT                                       3026 54TH ST 207                                                                              LUBBOCK            TX    79413‐4235
JOAN E CHISLER                                    120 N KERRWOOD DR                                                                             HERMITAGE          PA    16148‐5204
JOAN E COLEMAN                                    1624 PENCE PL                                                                                 DAYTON             OH    45432‐3316
JOAN E DESHIELDS                                  168 VALERIE LN                                                                                BEAR               DE    19701‐2570
JOAN E DROWN                                      PO BOX 94                                                                                     ADEL               IA    50003
JOAN E EASTERWOOD                                 3218 S LAKEVIEW CIR                 APT 103                                                   FORT PIERCE        FL    34949‐8826
JOAN E ECKARD & PATRICIA A MCCORMICK JT TEN       1031 MORRELL                                                                                  DETROIT            MI    48209‐2434
JOAN E FARRELL                                    245 AVE C                                                                                     NEW YORK           NY    10009‐2515
JOAN E FLETCHER                                   31555 EASTLADY                                                                                BIRMINGHAM         MI    48025‐3726
JOAN E FOLEY                                      230 CRESCENT AVE                                                                              WYEKOFF            NJ    07481‐2847
JOAN E FREY                                       806 E COLUMBIA ST                                                                             FLORA              IN    46929‐1411
JOAN E GLENN                                      109 BROOKSIDE DRIVE                                                                           SCOTT DEPOT        WV    25560‐9736
JOAN E GREENE                                     260 WASHINGTON ST                                                                             NORWICH            CT    06360‐2919
JOAN E HARDY                                      C/O JOAN E DONAHUE                  111 HILLTOP DRIVE                                         WALPOLE            MA    02081‐4408
JOAN E HAYDEN TR UA 04/03/93 JOAN E HAYDEN LIVING 1405 COLBY LANE                                                                               SCHAUMBURG         IL    60193‐3608
TRUST
JOAN E HELLER                                     3356 GOLF COURSE RD                                                                           ALLENTOWN          PA    18104‐8830
JOAN E HERTELY                                    2945 COSTA MESA RD                                                                            WATERFORD          MI    48329‐2442
JOAN E HOFFMAN                                    8 PARIS PL                                                                                    PARSIPPANY         NJ    07054‐4821
JOAN E HOHNCKE                                    8712 THOMAS AVENUE SOUTH                                                                      BLOOMINGTON        MN    55431‐1946
JOAN E HOLLOMAN                                   21600 NICHOLAS AVE                                                                            CLEVELAND          OH    44123‐3066
JOAN E HOORNAERT                                  500 LEELAND HEIGHTS BLVD E                                                                    LEHIGH ACRES       FL    33936‐6720
JOAN E JULIEN                                     1 EMPIRE CIR                                                                                  RENSSELAER         NY    12144‐9315
JOAN E KAJOR TR JOAN E KAJOR TRUST UA 08/01/00    2007 CAMEL DR                                                                                 STERLING HEIGHTS   MI    48310‐5216

JOAN E KLIMSAK                                   2030 LA SALLE PL                                                                               CHULA VISTA        CA    91913‐3118
JOAN E KUUSELA                                   PO BOX 146                                                                                     TEANECK            NJ    07666‐0146
JOAN E LANE CUST AMY ELIZABETH LANE UGMA NY      120 E 81ST ST                                                                                  NEW YORK           NY    10028‐1428

JOAN E LANGWORTHY                               610 GUNSTON LN                                                                                  WILMINGTON         NC    28405‐5317
JOAN E LAUBE & LINDA K GRAHAM & KAREN L HEIMANN 5761 STEUTERMANN RD                                                                             WASHINGTON         MO    63090‐5254
JT TEN
JOAN E LEARY CUST RICHARD LEARY UGMA MA         72 SMITH DR                                                                                     WESTWOOD           MA    02090‐1913
JOAN E LEVY CUST LESLIE ANN LEVY UGMA IL        717 PEACHTREE TRL                                                                               COLLINSVILLE       IL    62234‐5233
JOAN E MAJOR                                    20 CARVER STREET                                                                                GRANBY             MA    01033‐9527
JOAN E MATTIE                                   18910 MIDDLETOWN RD                                                                             PARKTON            MD    21120‐9084
JOAN E MAYSTRICK & KENT A MAYSTRICK JT TEN      PO BOX 2123                                                                                     SILVER THORNE      CO    80498‐2123
JOAN E MILEWSKI                                 11103 W COVE CIR                      UNIT 3D                                                   PALOS HILLS        IL    60465
                                              09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 68 of 855
Name                                                 Address1                              Address2             Address3           Address4          City               State Zip

JOAN E MONTGOMERY                                    326 S GRACE                                                                                     LANSING          MI      48917‐3819
JOAN E MORSE                                         68116 AU ST                                                                                     WAIALUA          HI      96791‐9438
JOAN E MURPHY                                        51237 ELLY                                                                                      CHESTERFIELD TWP MI      48051‐1965

JOAN E NAWROT                                        12013 E 2600 N RD                                                                               CORNELL            IL    61319
JOAN E OSTERNDORF                                    48 S SAINT ANDREWS DR                                                                           ORMOND BEACH       FL    32174‐3843
JOAN E PALCZYK                                       256 OLDE HARBOUR TR                                                                             ROCHESTER          NY    14612‐2928
JOAN E PAYNE                                         3508 CALHOUN ST                                                                                 DAYTON             OH    45417‐1715
JOAN E PINKERTON                                     5411 WILSON LANE                                                                                BETHESDA           MD    20814‐1315
JOAN E PRINCE & RONALD PRINCE JT TEN                 ROUTE 2‐5555                          LEHMAN RD                                                 DEWITT             MI    48820‐9802
JOAN E PURDY                                         2504 WINTHROP DR                                                                                JANESVILLE         WI    53546‐3433
JOAN E QUILL TR UA 03/07/94 THE JOAN E QUILL TRUST   6406 NORTH 46TH DRIVE                                                                           GLENDALE           AZ    85301‐4809

JOAN E RICHARDSON                                    2091 PARK DR                                                                                    LOXLEY             AL    36551‐4475
JOAN E ROACH                                         6241 EMERALD PINES CIR                                                                          FORT MYERS         FL    33912‐8324
JOAN E SCHLOTTKE                                     828 GLENRUSH ST                       OSHAWA ON                               L1J 5E6 CANADA
JOAN E SHARP                                         3010 HILL ST                                                                                    ROUND ROCK         TX    78664
JOAN E SMITH                                         7368 IVY RD                                                                                     LEXINGTON          MI    48450‐8950
JOAN E SMITH TR JOAN E SMITH REV TRUST UA 8/28/96    3370 OYSTER BED COVE SW                                                                         SUPPLY             NC    28462

JOAN E STONE                                   1A KILLICOAT ST                             UNLEY 5061           SOUTH AUSTRALIA    AUSTRALIA
JOAN E STROUD                                  10019 WINDING RIDGE DR                                                                                SHREVEPORT         LA    71106‐7685
JOAN E SYPNIEWSKI                              8567 MC KINLEY                                                                                        CENTER LINE        MI    48015‐1611
JOAN E TIBBITTS                                8660                                        GRANGE HILL ROAD                                          SAUQUOIT           NY    13456‐2012
JOAN E TOWNSEND                                27‐1318 HIGHBURY AVE                        LONDON ON                               N5Y 5E5 CANADA
JOAN E TOWNSEND                                27‐1318 HIGHBURY AVE                        LONDON ON                               N5Y 5E5 CANADA
JOAN E TOWNSEND                                1318 HIGHBURY AVE                           APT 27               LONDON ON          N5Y 5E5 CANADA
JOAN E TUCKER                                  5800 FREDERICK RD                                                                                     DAYTON             OH    45414‐2927
JOAN E UNDERWOOD FALLON                        W7088 WILDBERRY HILL RD                                                                               PLYMOUTH           WI    53073‐3748
JOAN E WACHTEL                                 PO BOX 370                                                                                            PAULLINA           IA    51046‐0370
JOAN E WEST                                    1066 EVERGREEN COURT                                                                                  NEW MILFORD        NJ    07646‐2509
JOAN E WITUCKE                                 9245 W COUNTY LINE RD                                                                                 VESTABURG          MI    48891
JOAN ECK BRUZZONE                              899 HOPE LANE                                                                                         LAFAYETTE          CA    94549‐5131
JOAN ELDER & DAN TREMBATH JT TEN               231 ANTHONY WAYNE TERRACE                                                                             BADEN              PA    15005‐2003
JOAN ELIZABETH HART                            1255 SAXONY CIR                             UNIT 4202                                                 PUNTA GORDA        FL    33983‐6381
JOAN ELIZABETH JACOBSON WOLF CUST LARA HEATHER 3727 CANADA GOOSE XING                                                                                RACINE             WI    53403‐4506
JACOBSON UGMA IL
JOAN ELIZABETH NUNEZ                           5904 BRIDGET STREET                                                                                   METAIRIE           LA    70003‐2108
JOAN ELIZABETH PATILLO                         9151 WHITCOMB                                                                                         DETROIT            MI    48228‐2215
JOAN ELLEN DOENGES                             417 ASBURY NE                                                                                         RIO RANCHO         NM    87124‐5631
JOAN ELSTON                                    PO BOX 5270                                                                                           BROOKFIELD         CT    06804‐5270
JOAN ENDRIS                                    ATTN JOAN ENDRIS EDWARDS                    262 BUTTERFLY LN                                          BEDFORD            IN    47421‐8421
JOAN EVELYN MOORE                              142 MEIRS RD                                                                                          CREAMRIDGE         NJ    08514‐1611
JOAN F ASHBY & JERRY LEROY ASHBY JT TEN        765 GRACE ST                                                                                          NORTHVILLE         MI    48167‐2743
JOAN F BODNER                                  16321 GLENMORE                                                                                        REDFORD            MI    48240‐2416
JOAN F BOGLIOLI                                160 NEWELL AVE                                                                                        TONAWANDA          NY    14150‐6208
JOAN F CHEATHAM                                10149 E CHEVELON STREET                                                                               TUCSON             AZ    85748‐1808
JOAN F GINTY & JOHN R GINTY JT TEN             169 BRADLEY RD                                                                                        SCARSDALE          NY    10583‐6344
JOAN F GRAM                                    287 BOSTON POST ROAD                                                                                  MADISON            CT    06443‐2938
JOAN F HILL & JAMES D HILL JT TEN              40 EDGEWOOD VISTA                                                                                     NEWNAN             GA    30265‐3135
JOAN F INGRAM                                  10660 OLD SAINT AUGUSTINE RD                APT 105                                                   JACKSONVILLE       FL    32257‐1056
JOAN F KUNNATH                                 4738 N CHIPPING GLEN                                                                                  BLOOMFIELD HILLS   MI    48302‐2390

JOAN F LA FAVE TR JOAN F LA FAVE REVOCABLE TRUST     200 VILLAGE DR                        APT 510                                                   DOWNERS GROVE      IL    60516
UA 02/24/99
JOAN F MAC DONALD                                    C/O JOAN F MULLER                     32 BROOKSIDE DR                                           FALMOUTH           ME    04105‐2437
JOAN F MANOWSKE                                      609 W DIVISION ST                                                                               FOND DU LAC        WI    54935‐3026
JOAN F MAYWOOD                                       2770 ATHENA DR                                                                                  TROY               MI    48083
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 69 of 855
Name                                             Address1                               Address2              Address3          Address4          City             State Zip

JOAN F MCGRAW & JEFFERIES P MCGRAW TR JOHN J     1026 WILD JUNES CIRCLE                                                                           WILMINGTON       NC    28411
MCGRAW TRUST UA 12/20/89
JOAN F MENKES CUST SARA E MENKES UGMA VA         1607 HELMSDALE DRIVE                                                                             RICHMOND         VA    23233‐4723
JOAN F RACE                                      806 LITHUANICA LANE                                                                              WEBSTER          NY    14580‐9115
JOAN F RING                                      72 N VILLAGE AVE                       STE 1                                                     ROCKVILLE CTR    NY    11570‐4600
JOAN F ROACH                                     35S STOCKTON DR                                                                                  NEW CASTLE       DE    19720‐4356
JOAN F SCHAEFER                                  3133 S ILLINOIS                                                                                  BELLEVILLE       IL    62220‐5109
JOAN F SCHARNBERG                                116 DELFORD AVE                                                                                  SILVER SPRING    MD    20904‐3402
JOAN F SHIELDS                                   8331 EAST INDIANOLA                                                                              SCOTTSDALE       AZ    85251‐4801
JOAN F VAN ZEE                                   3989 CRYSTAL WATERS LN NE                                                                        GRAND RAPIDS     MI    49525‐9467
JOAN FALLON & ROBERT FALLON JT TEN               W7088 WILDBERRY HILL RD                                                                          PLYMOUTH         WI    53073‐3748
JOAN FAWCETT BARKER                              4390 GLENMAWR AVENUE                                                                             COLUMBUS         OH    43224‐1955
JOAN FAWCETT CARAVETTA                           ATTN JOAN F JOLLY                      3152 FRENCH HILL DR                                       POWHATTAN        VA    23139‐4527
JOAN FERGUSON                                    1195 RTE 9P                                                                                      SARATOGA SPRINGS NY    12866‐7215

JOAN FERRON FISHER                               407 DABNEY RD                                                                                    HENDERSON        NC    27536‐7048
JOAN FICARRA                                     19915 THOUSAND OAKS                                                                              CLINTON TWP      MI    48036‐1893
JOAN FINLAY VINCENT                              1005 BORGERT AVE                                                                                 ST CLOUD         MN    56303‐2523
JOAN FIORE                                       1215 WARD STREET                                                                                 BERKELEY         CA    94702‐2235
JOAN FISCHER CUST MICHAEL J DURINO UGMA PA       1014 EHLER ST                                                                                    STROUDSBURG      PA    18360‐1123

JOAN FISCHER CUST TRAVIS A DURINO UGMA PA        1014 EHLER ST                                                                                    STROUDSBURG      PA    18360‐1123
JOAN FISHEL MICHALS                              2202 ACACIA PARK DR #2601                                                                        LYNDHURST        OH    44124
JOAN FLES                                        PO BOX 134                             63 LAKE SHORE DR                                          SOUTH SALEM      NY    10590‐1311
JOAN FLYNN                                       5533 F EASTLAKE DR                                                                               LISLE            IL    60532‐2673
JOAN FOGLER                                      3605 N ROCHESTER RD                                                                              ROCHESTER        MI    48306‐1049
JOAN FOSTER KOENIG TR JOAN FOSTER KOENIG TRUST   PO BOX 10432                                                                                     CASA GRANDE      AZ    85130‐0059
UA 04/14/88
JOAN FOSTER TWIGG                                6061 TODD POINT RD                                                                               CAMBRIDGE        MD    21613‐3240
JOAN FREESE GRANT                                881 LINCOLN                                                                                      ST PAUL          MN    55105‐3147
JOAN FULLER                                      5045 SANTA RITA RD                                                                               EL SOBRANTE      CA    94803‐3235
JOAN G CZASONIS                                  27 SECOND ST                                                                                     BRISTOL          CT    06010‐5358
JOAN G GASKILL                                   339 PHEASANT DRIVE                                                                               MIDDLETOWN       DE    19709‐9203
JOAN G HAUCK                                     5101 YUMA ST NW                                                                                  WASHINGTON       DC    20016‐4336
JOAN G HUNTER                                    WACHOVIA BANK                          950 POST ROAD                                             DARIEN           CT    06820‐4507
JOAN G KING TR JOAN G KING LIVING TRUST UA       109 WILDERNESS DR APT 114                                                                        NAPLES           FL    34105‐2621
06/23/95
JOAN G KRAMER                                    13849 PAINSVILLE WARREN RD                                                                       PAINSVILLE       OH    44077‐9736
JOAN G LEWIS                                     42122 RICHMOND DR                                                                                BELLEVILLE       MI    48111‐2345
JOAN G NESTOR                                    2795 KIPPS COLONY DR #304                                                                        GULFPORT         FL    33707‐3973
JOAN G PEKULIK                                   930 VIGO AVE                                                                                     WEAVER           AL    36277‐3545
JOAN G PEPPER                                    3605 TRIESTE DR                                                                                  CARLSBAD         CA    92010‐2842
JOAN G PINE CUST NORA M BURNS UTMA NY            720 MILTON RD APT K8                                                                             RYE              NY    10580‐3235
JOAN G RUBIN                                     6 WOODCHESTER DR                                                                                 CHESTNUT HILL    MA    02467‐1031
JOAN G SHOPE                                     BOX 325                                                                                          BOTSFORD         CT    06404‐0325
JOAN G STACK                                     36 STONEHOUSE LN C                                                                               KEENE            NH    03431
JOAN GABY REAGIN                                 2740 BRIARLAKE WOODS WAY                                                                         ATLANTA          GA    30345‐3908
JOAN GALIOTO                                     7878 BUCCANEER DR SW                                                                             FT MYERS BEACH   FL    33931‐5004
JOAN GAMBLIN                                     PO BOX 549                                                                                       WELAKA           FL    32193‐0549
JOAN GELMAN                                      2 DEVOW CT                                                                                       HADDONFIELD      NJ    08033‐2811
JOAN GIBBON                                      925 BREWSTER                                                                                     BELOIT           WI    53511‐5621
JOAN GINEST & AUBREY NEIL GINEST JT TEN          6602 WARREN CIRCLE                                                                               WICHITA          KS    67212‐7204
JOAN GIOVANNONI & KARON GIOVANNONI JT TEN        42858 SARATOGA PK                                                                                FREMONT          CA    94538‐3987

JOAN GLASER VIVIANO                              23468 W MALLARD CT                                                                               BARRINGTON       IL    60010‐2958
JOAN GLUTH                                       2200 PELHAM AVE                                                                                  BALTIMORE        MD    21213‐1033
JOAN GOBERVILLE                                  3804 NORTH JANNEY AVE                                                                            MUNCIE           IN    47304‐1837
JOAN GORDON                                      169 HARPER AVE #4                                                                                IRVINGTON        NJ    07111‐1788
JOAN GRABSKI                                     1045 COYOTE TRL                                                                                  NEW LENOX        IL    60451‐3142
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 70 of 855
Name                                             Address1                               Address2             Address3           Address4          City              State Zip

JOAN GRAHAM                                      5324 SLEIGHT RD                                                                                  BATH              MI    48808‐9480
JOAN GREEN                                       3579 ATHERSTONE RD                                                                               CLEVELAND         OH    44121‐1355
JOAN GUENTHER                                    380 LINDEN RD                                                                                    BIRMINGHAM        MI    48009‐3723
JOAN GUINESS TR UA 01/18/90 JOAN GUINESS TRUST   52 COTTONWOOD COURT                                                                              PALM COAST        FL    32137‐4308

JOAN H ASHMEN                                    14 TAYLOR WAY                                                                                    WASHINGTON       PA     18977‐1046
                                                                                                                                                  CROSSIN
JOAN H BECKER & CHARLES W BECKER JT TEN          6620 NORBORNE                                                                                    DEARBORN HEIGHTS MI     48127‐2077

JOAN H ELLIOT                                    4027 W 220TH ST                                                                                  FAIRVIEW PK       OH    44126‐1164
JOAN H FOSTER                                    430 ALLOWAY‐WOODSTOWN RD                                                                         WOODSTOWN         NJ    08098‐2019
JOAN H FUGILL                                    1832 TWAIN AVE                                                                                   FORT WORTH        TX    76120‐5061
JOAN H LANGLEY                                   24566 SUTTON LANE                                                                                LNGUNA NIGUEL     CA    92677‐2166
JOAN H LUKAS                                     36592 CHASKEY ST                                                                                 RICHMOND          MI    48062‐5912
JOAN H LYNCH                                     29 MICHIGAN RD                                                                                   PENNSVILLE        NJ    08070‐3040
JOAN H MADDEN                                    136 S GLENROY AVE                                                                                LA                CA    90049‐3110
JOAN H ORTIZ                                     41565 JONES DR                                                                                   PALM DESERT       CA    92211
JOAN H PARK                                      32 BEAVER DAM RD                                                                                 COATESVILLE       PA    19320‐4919
JOAN H PITT CUST CRAIG R PITT UTMA MI            1585 LEDBURY DR                                                                                  BLOOMFIELD HILL   MI    48304‐1244

JOAN H PITT CUST ROBERT J PITT UTMA MI           1585 LEDBURY DR                                                                                  BLOOMFIELD HILL   MI    48304‐1244

JOAN H PORTERFIELD                               1303 SUMMIT ST                                                                                   HAMPSTEAD         MD    21074‐2219
JOAN H STOUT TR JOAN H STOUT TRUST UA 12/09/93   470 FISHER RD                                                                                    GROSSE POINTE     MI    48230‐1281

JOAN H VAN HANEGHAN & JAMES P VAN HANEGHAN JT    88 RIPPLEBROOK LANE                                                                              MINOA             NY    13116
TEN
JOAN H WOLCOTT                                   1 SINCLAIR DR                          APT 215                                                   PITTSFORD         NY    14534‐1737
JOAN HALL                                        242 LEE AVE                                                                                      YONKERS           NY    10705‐2717
JOAN HALL                                        5408 W HEARN RD                                                                                  GLENDALE          AZ    85306‐4721
JOAN HARGIS                                      1800 JEFFREY RD                                                                                  JONESVILLE        MI    49250‐9621
JOAN HELLER                                      1092 SEAGULL PARK RD S                                                                           WEST PALM BCH     FL    33411‐1875
JOAN HELLMER CUST TRAVIS B DEL POUDE UTMA WI     N2783 COUNTRY SOUTH                                                                              CASCODE           WI    53011‐1209

JOAN HENNESSEY                                   3462 TOTHILL RD                                                                                  TROY              MI    48084‐1247
JOAN HENSHAW                                     1000 SOUTHERN ARTERY APT 815                                                                     QUINCY            MA    02169‐8505
JOAN HEROUVIM RUBIS & VASILIA TORRE JT TEN       5020 43 STREET                                                                                   WOODSIDE          NY    11377‐7346
JOAN HESS                                        C/O MRS JOAN H WARKER                  1416 ALLEN AVE                                            VINELAND          NJ    08360‐6406
JOAN HIGGINS & JEREMIAH HIGGINS JT TEN           2871 GREEN BASS RD                                                                               RHINELANDER       WI    54501‐9198
JOAN HILEMAN                                     373 CO RD1302                                                                                    POLK              OH    44866‐9745
JOAN HILLIKER & SCOTT R IJAMES JT TEN            5601 DUNCAN RD                         #8                                                        PUNTA GORDA       FL    33982‐4729
JOAN HOEFKE & FREDERICK HOEFKE JT TEN            8231 SOUTH 82ND COURT                                                                            JUSTICE           IL    60458‐2215
JOAN HOLLY                                       18 CLINTON ST                                                                                    BELLEVILLE        NJ    07109‐2414
JOAN HOPKINS COUGHLIN                            PO BOX 3115                                                                                      WELLFLEET         MA    02667‐3115
JOAN HORTON                                      590 E ELMWOOD AVE                      APT 304                                                   CLAWSON           MI    48017‐1654
JOAN HUDASKI                                     8433 CONNOR ST                         UNIT 15                                                   CENTERLINE        MI    48015‐1727
JOAN HUGUET                                      1243 MOCKINGBIRD DR                                                                              OCONOMOWOC        WI    53066‐2389
JOAN HUME KAMMIRE                                19 OLD FARM ROAD                                                                                 CHARLOTTESVILLE   VA    22903‐4725

JOAN HYDE CUST SAMANTHA HYDE UTMA MA             467 BEACON ST 4                                                                                  BOSTON            MA    02115‐1305
JOAN I GRAEFF                                    232 OAK DR                                                                                       MIDDLETOWN        DE    19709‐9510
JOAN I JAHR                                      PO BOX 674                                                                                       SEBEWAING         MI    48759‐0674
JOAN I RICHARD                                   714 BUGLE LANE                                                                                   MISHAWAKA         IN    46544‐5603
JOAN I SAVAS                                     11 WILLIAM ST                                                                                    MALVERNE          NY    11565‐2008
JOAN I SKEFF                                     2974 S HERMAN ST                                                                                 MILWAUKEE         WI    53207‐2472
JOAN I WRIGHT                                    5751 ELDRIDGE                                                                                    WATERFORD         MI    48327‐2629
JOAN IMPENS                                      8366 JASONVILLE CT SE                                                                            CALEDONIA         MI    49316‐8149
JOAN IPEARSON                                    180 REXWAY DRIVE                       GEORGETOWN ON                           L7G 1S3 CANADA
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 71 of 855
Name                                              Address1                              Address2              Address3          Address4          City               State Zip

JOAN J HEROUVIM & MARIE CONSTANCE COLE JT TEN     50‐20 43RD ST                                                                                   WOODSIDE           NY    11377‐7346

JOAN J HEROUVIM & VASILIA TORRE JT TEN            50‐20 43RD ST                                                                                   WOODSIDE           NY    11377‐7346
JOAN J HUMPHREY                                   5471 WEEPING WILLOW                                                                             HUDSON             OH    44236‐4427
JOAN J HUMPHREY & RONALD C HUMPHREY JT TEN        5471 WEEPING WILLOW                                                                             HUDSON             OH    44236‐4427

JOAN J MAHER TR REVOCABLE TRUST 05/06/92 U‐A      6 SUNDERLAND CT                                                                                 SAINT CHARLES      MO    63303‐5455
JOAN J MAHER
JOAN J MERRIFIELD                                 1123 BLAINE AVE                                                                                 JANESVILLE         WI    53545‐1885
JOAN J PACIERO & FRANK PACIERO JT TEN             35133 LEON                                                                                      LIVONIA            MI    48150‐2667
JOAN J PONIATOWSKI                                42129 GLADWIN                                                                                   NORTHVILLE         MI    48167‐2403
JOAN J RUOFF                                      1008 DAVID LANE                                                                                 JEANNETTE          PA    15644
JOAN J STRECKER                                   540 MAPLE AVE                                                                                   BRISTOL            CT    06010‐2697
JOAN JACKSON                                      237 CHURCH ST                                                                                   MOULTON            AL    35650‐1349
JOAN JACKSON                                      9005 W 89TH STREET                                                                              HICKORY HILLS      IL    60457‐1206
JOAN JOHNSEN                                      105 SPORTSMAN ST                                                                                CENTRAL ISLIP      NY    11722
JOAN JOHNSTON MULKERN                             1633 1ST ST N                                                                                   FARGO              ND    58102‐2320
JOAN K BROWN                                      766 E VALLEY CHASE RD                                                                           BLOOMFIELD HILLS   MI    48304‐3166

JOAN K HARRIS                                     2308 IDAHO                                                                                      JACKSON            MS    39213‐5426
JOAN K HARRIS & LYNN C HARRIS JT TEN              PO BOX 746                                                                                      ARNOLDS PARK       IA    51331‐0746
JOAN K HUTZLER                                    22 PELHAM ROAD                                                                                  SAVANNAH           GA    31411‐2519
JOAN K HYLAND & RICHARD G HYLAND JT TEN           5351 HANOVER DR                                                                                 WESCOSVILLE        PA    18106‐9452
JOAN K HYLAND & ROBERT A HYLAND JT TEN            5351 HANOVER DRIVE                                                                              WESCOSVILLE        PA    18106‐9452
JOAN K HYLAND & THOMAS W HYLAND JR JT TEN         5351 HANOVER DRIVE                                                                              WESCOSVILLE        PA    18106‐9452
JOAN K MIEGEL                                     PO BOX 8144                                                                                     WILMINGTON         DE    19803
JOAN K MULLINS                                    693 N TRIMBLE RD                                                                                MANSFIELD          OH    44906‐2003
JOAN K ROSSITER ULLERY                            C/O OWENS                             4012 N SEMINOLE AVE                                       TAMPA              FL    33603‐3844
JOAN K SHAMES                                     5125 5TH AVE APT 3D                                                                             PITTSBURGH         PA    15232‐3104
JOAN K SHROPSHIRE                                 2041 RARITAN RD                                                                                 SCOTCH PLAINS      NJ    07076‐4711
JOAN K SPICER                                     8474 E SENECA TRPK                                                                              MANLOUS            NY    13104
JOAN K TYMICK                                     1234 ARDEN AVENUE                                                                               ORANGE PARK        FL    32073‐5201
JOAN K WILBRICHT & THOMAS E WILBRICHT JT TEN      1300 MARTINE COURT                                                                              VIRIGINIA BEACH    VA    23454‐2023

JOAN KARPELES                                     1659 BELLE ISLE CIRCLE                                                                          ATLANTA            GA    30329‐2525
JOAN KATHERINE FORD                               1613 VERNON                                                                                     TRENTON            MI    48183‐1926
JOAN KELICHNER                                    125 SYCAMORE                                                                                    SEDONA             AZ    86351‐7760
JOAN KETCHUM SELNER                               6640 E COLORADO DR                                                                              DENVER             CO    80224‐2204
JOAN KICZENSKI                                    8153 ALGER RD                                                                                   ALGER              MI    48610‐9723
JOAN KING                                         6036 HAVENWOOD COURT                                                                            HAMILTON           OH    45011
JOAN KLINE CASARELLA                              740 WHITE PINE TREE RD #108                                                                     UENICE             FL    34285‐4210
JOAN KOPP TR UA 02/27/08 STANLEY S SWIERKOS TRUST 3774 BROWN OWL COURT                                                                            MARIETTA           GA    30062
FBO JAMES V SWIERKOS
JOAN KUNNATH LYON                                 4738 N CHIPPING GLEN                                                                            BLOOMFIELD HILLS   MI    48302‐2390

JOAN KUREK & BERNARD W KUREK JT TEN               3 HERON COURT                                                                                   MEDFORD            NJ    08055‐8822
JOAN KURTZ                                        5503 MACRANTHA COURT                                                                            SPRING             TX    77379‐7929
JOAN L ACKERLY                                    10729 FIGTREE CT                                                                                LEHIGH ACRES       FL    33936‐7332
JOAN L ANDERSON                                   3000 SWIFT AVE                        APT 107                                                   KANSAS CITY        MO    64116‐2944
JOAN L BAUER                                      53 MAPLE CENTER RD                                                                              HILTON             NY    14468
JOAN L BROWN                                      107 KENWOOD DR                                                                                  CROSSVILLE         TN    38558
JOAN L CANAN                                      10 CARRIAGE CROSSING WAY                                                                        TROY               OH    45373
JOAN L CAVETT                                     30 CHASMARS POND RD                                                                             DARIEN             CT    06820‐4913
JOAN L DECENZO                                    208 VICTOR PKWY APT E                                                                           ANNAPOLIS          MD    21403‐5762
JOAN L FELLOWS                                    G‐4099 CORBIN DR                                                                                FLINT              MI    48532
JOAN L GIBSON                                     568 HALCOR LANE                                                                                 CINCINNATI         OH    45255‐5010
JOAN L GONNER                                     1053 MAHLON DR                                                                                  LEESPORT           PA    19533‐9007
JOAN L GRANT & HAROLD J GRANT SR JT TEN           2020 CRESTAS AVE                                                                                NO VERSAILLES      PA    15137‐1305
JOAN L HARPER                                     49 BROOKWOOD DRIVE                                                                              WAYNE              NJ    07470
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 72 of 855
Name                                             Address1                              Address2             Address3           Address4          City              State Zip

JOAN L HARROD                                    3420 WILLIAMSON RD                                                                              SAGINAW           MI    48601‐5663
JOAN L HAYES                                     9321 PIERCE RD                                                                                  GARRETTSVILLE     OH    44231‐9478
JOAN L HEDRICK                                   9097 PEQUAYWAN LK ROAD                                                                          DULUTH            MN    55803‐9774
JOAN L HOFFMAN TR JOAN L HOFFMAN REVOCABLE       33066 SUMMERS                                                                                   LIVONIA           MI    48154‐4184
TRUST 04/07/03
JOAN L JENNINGS                                  38 FONTENAY COURT APT 904             TORONTO ON                              M9A 5H5 CANADA
JOAN L JONES                                     4242 BRYANT IRVIN RD APT 208                                                                    FORT WORTH        TX    76109
JOAN L KEATING                                   41 PINEWOOD DR SW                                                                               CAROLINA SHORES   NC    28467‐2317

JOAN L KEMP & EDGAR L KEMP JT TEN                1850 SCHUST RD                                                                                  SAGINAW           MI    48604‐1614
JOAN L KLENK                                     2320 WEST 113TH PLACE APT 4315                                                                  CHICAGO           IL    60643
JOAN L LAFOND TR JOAN L LAFOND REVOCABLE TRUST   31 ROSE CIRCLE                                                                                  PEABODY           MA    01960‐5209
UA 05/31/00
JOAN L LAUERMAN                                  N2708 SHORE DR                                                                                  MARINETTE         WI    54143‐9566
JOAN L MERCHANT                                  22 COLONIAL RD APT 5                                                                            MILFORD           MA    01757‐1928
JOAN L MEYER                                     1555 MEADOW CIR                                                                                 CARPINTERIA       CA    93013‐1760
JOAN L NESOM                                     9141 48TH AVE SE                                                                                NOBLE             OK    73068‐5422
JOAN L RIFFE                                     6620 WAREHAM CT                                                                                 DAYTON            OH    45459
JOAN L ROBERTS                                   5105 OVERHILL DR                                                                                COLLEYVILLE       TX    76034‐5161
JOAN L ROSENBERG & RANDY L ROSENBERG JT TEN      324 KEY PLACE                                                                                   JERICHO           NY    11753‐1627

JOAN L SAWCHUK                                   2990 ROYAL                                                                                      BERKLEY           MI    48072‐1330
JOAN L SAXER                                     C/O JOAN L SAXER MUELLER              8730 WOOD DUCK WAY                                        BLAINE            WA    98230‐5703
JOAN L SCHLEICHER                                RURAL ROUTE NO 1                                                                                CAMBRIA           CA    93428‐9801
JOAN L SCHNIEDWIND                               918 SENECA RD                                                                                   WILMETTE          IL    60091‐1225
JOAN L SCHWARTZ                                  1689 SEIGNIOUS DR                                                                               CHARLESTON        SC    29407‐8232
JOAN L SCOTT                                     3247 PRIMROSE DR                                                                                ROCHESTER HILLS   MI    48307‐5242
JOAN L SHEALY                                    201 S MAIN ST                                                                                   SALUDA            SC    29138
JOAN L SHOOP                                     1664 SHALLOW CREEK TRAIL                                                                        WEBSTER           NY    14580‐9644
JOAN L SOUTHARD                                  8416 WALSHAM ST                                                                                 NORTH             SC    29420‐8424
                                                                                                                                                 CHARLESTON
JOAN L STEVENS                                   170 AVONDALE DR                       COURTICE ON                             L1E 3A6 CANADA
JOAN L STEVENS                                   170 AVONDALE DR                       COURTICE ON                             L1E 3A6 CANADA
JOAN L STEVENSON                                 703 N WHITFORD RD                                                                               EXTON            PA     19341
JOAN L TUCKER & WILLIAM E TUCKER JT TEN          3400 N OCEAN DR                       APT 1702                                                  WEST PALM BCH    FL     33404‐3246
JOAN L WADSWORTH                                 115 ELM ST                                                                                      DUXBURY          MA     02332‐4903
JOAN L WALLACE                                   1006 MURRAY                                                                                     TECUMSEH         MI     49286‐1746
JOAN L WRONSKY                                   2270 CLUB DRIVE                                                                                 AIKEN            SC     29803
JOAN L WUGGAZER                                  20041 OLD HOMESTEAD                                                                             HARPER WOODS     MI     48225‐2051
JOAN LAIGLE                                      14970 PRISTINE DR                                                                               COLORADO SPRINGS CO     80921‐3545

JOAN LANG                                        3 BLACKSMITH LANE                                                                               EAST NORTHPORT    NY    11731‐6330
JOAN LANIGAN                                     2896 WEST CROWN POINTE BLVD                                                                     NAPLES            FL    34112‐2303
JOAN LAPSA                                       302 EAST AVENUE                                                                                 GREENVILLE        PA    16125‐1710
JOAN LARKINS                                     805 CHANDLER AVE                                                                                LINDEN            NJ    07036‐2030
JOAN LEANORA FOWLE                               BUSHY PARK                            SANDYS                                  BERMUDA
JOAN LEE GROTON                                  PO BOX 262                                                                                      LAUREL            DE    19956‐0262
JOAN LEILA STILLWELL                             1164 FORD AVE                                                                                   WOODBURY          NJ    08096‐1155
JOAN LEOPOLD                                     5876 MANOR DR                                                                                   MAYVILLE          NY    14757‐9614
JOAN LILJEGREN                                   25 COLTON CIRCLE                                                                                WEST ORANGE       NJ    07052‐1116
JOAN LINDA GARVIN                                34 NICHOLSON DR                                                                                 CHATHAM           NJ    07928‐1171
JOAN LINDA LUCA                                  58 OVERLOOK DR                                                                                  WOODCLIFF LAKE    NJ    07675‐8124
JOAN LOIS MOSELEY CUST DAVID MOSELEY UGMA CA     649 LA LOMA RD                                                                                  PASADENA          CA    91105‐2429

JOAN LONG WINDETT                                7 EAGLE POINT CIR                                                                               HOCKESSIN       DE      19707‐1422
JOAN LORENZEN                                    155 ISLAND WAY                                                                                  WEST PALM BEACH FL      33413‐2025

JOAN LORING LEARY                                2400 BOARDWALK DR                                                                               MESQUITE          TX    75181‐2540
JOAN LOUISE MC NAMARA                            12780 W CHERRYTREE LN                                                                           NEW BERLIN        WI    53151‐7647
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 73 of 855
Name                                              Address1                              Address2              Address3          Address4          City              State Zip

JOAN LOUISE MEYER                                 1555 MEADOW CIR                                                                                 CARPINTERIA       CA    93013‐1760
JOAN LOWENHEIM                                    10 LILLIAN LANE                                                                                 PLAINVIEW         NY    11803‐5613
JOAN LUKE & WILLIAM H LUKE JR JT TEN              4716 TRUMBULL S E                                                                               ALBUQUERQUE       NM    87108‐3551
JOAN LUTESKI                                      4A FORTUNE LANE                                                                                 ROCHESTER         NY    14626‐1842
JOAN M ADAMS                                      1 OAKDALE DR APT 4M                                                                             MIDDLETOWN        NJ    07748‐2122
JOAN M ANDERSEN                                   524 S BORDER RD                                                                                 WINCHESTER        MA    01890‐3162
JOAN M ANDERSON                                   524 S BRODER RD                                                                                 WINCHESTER        MA    01890‐3162
JOAN M ARMOUR & TERRENCE L ARMOUR JT TEN          5045 LAHRING RD                                                                                 LINDEN            MI    48451‐9499
JOAN M BARBERIC                                   6164 NEWBERRY CT                                                                                CLARENCE CENTER   NY    14032‐9700

JOAN M BELL                                       29400 OAK HILL CT                                                                               GILBRALTER        MI    48173‐1271
JOAN M BIEBER                                     ATTN JOAN M BIEBER VANHAM             2537 WILLOWRIDGE DR                                       JENISON           MI    49428‐9259
JOAN M BLASI                                      6 VOLK RD                                                                                       DEDHAM            MA    02026‐1508
JOAN M BORCHERS                                   5920 MENTANA ST                                                                                 HYATTSVILLE       MD    20784‐3507
JOAN M BORSKE                                     2834 EAST BOOTH ROAD                                                                            AU GRES           MI    48703‐9533
JOAN M BOWERSOX                                   661 STRAWBERRY VALLEY AVE NW                                                                    COMSTOCK PARK     MI    49321‐9595
JOAN M BRAY                                       3372 SPRUCE RIDGE RD                                                                            DAVISON           MI    48423‐8454
JOAN M BREECE                                     655A WOODFORD LN                                                                                YARDLEY           PA    19067‐6325
JOAN M BRESCIAMI                                  6527 COPPER CREEK DR                                                                            WASHINGTON        MI    48094‐2815
JOAN M BROWN                                      16 HAMPTON CT                                                                                   BRISTOL           CT    06010‐4738
JOAN M CAPALDI                                    47 HAIGH ST                                                                                     SENECA FALLS      NY    13148‐1832
JOAN M CARONNA                                    2150 MOUNTAIN VISTA                                                                             ENCINITAS         CA    92024‐3140
JOAN M CATALDO                                    10 KNOWLES WAY                                                                                  NARRAGANSETT      RI    02882‐5457
JOAN M CLARK TR JOAN MCLEOD CLARK TRUST UA        1035 SCOTT DR                         APT 134                                                   PRESCOTT          AZ    86301
01/24/06
JOAN M COMETTO                                    23577 NEWELL CIRCLE W                                                                           FARMINGTON HILLS MI     48336‐3065

JOAN M CONLIN                                     16 E VIRGINIA AVE                                                                               HAMPTON           VA    23663‐1618
JOAN M CRAIG                                      6506 CABIN RIDGE RD                                                                             HURLOCK           MD    21643‐3278
JOAN M CROOKS                                     1270 THOMPSON ROAD                                                                              COTTONWOOD        AZ    86326‐5611
JOAN M CUDDY                                      2255 HUNTINGTON TPK                                                                             TRUMBALL          CT    06611‐5059
JOAN M DAHL                                       904 ALLEN STREET                                                                                ATHENS            WI    54411‐9540
JOAN M DAME                                       1215 N 10TH ST                        APT 102                                                   BLAIR             NE    68008‐2736
JOAN M DASKY                                      1038 TONI DR                                                                                    DAVISON           MI    48423
JOAN M DOUMA                                      3229 ARROWHEAD ARMS CT                                                                          GRANDVILLE        MI    49418‐1482
JOAN M DUVALL                                     4430 DURHAM CT                                                                                  RAVENNA           OH    44266‐7724
JOAN M EBBERT                                     ATTN JOAN M WILLIAMS                  11822 LAKEGROVE CT                                        TOMBALL           TX    77375‐8510
JOAN M FERRIS                                     8919 SUNSET CT                                                                                  BROWNSBURG        IN    46112‐8470
JOAN M FITZGERALD                                 C/O J HARRIGAN                        2238 PALMER AVE                                           NEW ROCHELLE      NY    10801‐3033
JOAN M FLEUREN                                    322 OLNEYS RD                                                                                   PETERSBURGH       NY    12138‐3306
JOAN M FOY                                        84 BOXWOOD TERR                                                                                 RED BANK          NJ    07701‐6708
JOAN M GIBSON                                     1225 BURTON ST 7                                                                                BELOIT            WI    53511‐2881
JOAN M GIDEON                                     1621 S LEWIS AVENUE                                                                             TULSA             OK    74104‐4921
JOAN M GIPPRICH TR THE GIPPRICH FAMILY TRUST UA   6220 E BROADWAY RD                    APT 134                                                   MESA              AZ    85206‐6051
03/19/98
JOAN M GOLOMBISKY & LEE F GOLOMBISKY JT TEN       9339 14 MILE ROAD                                                                               EVART             MI    49631‐8331

JOAN M GROSINSKE                                  1019 WEST FLORENCE ST                                                                           WHITEWATER        WI    53190‐1305
JOAN M GUDAS                                      101C BAHAMA DRIVE                                                                               NORWOOD           MA    02062‐3801
JOAN M HANSARD                                    857 ATTICA ST                                                                                   VANDALIA          OH    45377‐1849
JOAN M HARROLD                                    36 POND DRIVE EAST                                                                              RHINEBECK         NY    12572‐1914
JOAN M HARTMAN                                    66 TAPPEN COURT                                                                                 STATEN ISLAND     NY    10304‐4909
JOAN M HARVEY                                     4 HIAWATHA DRIVE                                                                                WESTFIELD         NJ    07090‐2912
JOAN M HAYNES                                     ATTN JOAN M THORNE                    9065 POST OAK LN                                          MEMPHIS           TN    38125‐4400
JOAN M HEISER                                     ATTN JOAN M HEROLD TEUSCHER           79 WILPARK DR                                             AKRON             OH    44312
JOAN M HELVEY                                     409 S SHELLMAN                                                                                  SAN DIMAS         CA    91773‐3236
JOAN M HERRING & ABBOTT M HERRING JT TEN          11600 ARROWWOOD CIR                                                                             HOUSTON           TX    77063‐1402
JOAN M HOFFMAN                                    3118 W DEL MONTE DR                                                                             ANAHEIM           CA    92804‐1602
JOAN M HOLTZAPPLE                                 PO BOX 667                                                                                      RED LION          PA    17356‐0667
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 74 of 855
Name                                            Address1                               Address2                   Address3     Address4          City            State Zip

JOAN M HOYING & ALVIN J HOYING JT TEN           9 CIRCLE DR                                                                                      NEW BREMEN      OH    45869‐1005
JOAN M HURLEY                                   5‐4 TAMARON DR                                                                                   WALDWICK        NJ    07463‐1148
JOAN M INGRAM                                   5710 HUBBARDSTON RD                                                                              HUBBARDSTON     MI    48845‐9703
JOAN M IVES & PATRICIA A MCCLANAHAN JT TEN      12071 LENNON RD                                                                                  LENNON          MI    48449‐9725
JOAN M JENKINS                                  2515 ROCK SPRINGS ROAD                                                                           BUFORD          GA    30519‐5144
JOAN M JENKOSKI & MICHAEL J JENKOSKI JT TEN     WOODLAND TER                                                                                     BOUND BROOK     NJ    08805
JOAN M JOHNSON                                  628 WOODLAND AVE                                                                                 NORTHVALE       NJ    07647‐1114
JOAN M JOHNSON                                  1752 BALDWIN DR                                                                                  MILLERSVILLE    MD    21108‐2248
JOAN M JOSLIN                                   19 MAPLE RD                                                                                      VOORHEESVILLE   NY    12186‐9501
JOAN M KENT                                     528 BEDFORD ROAD                                                                                 NORTH           NY    10591‐1201
                                                                                                                                                 TARRYTOWN
JOAN M KEOGH                                    29 FIRST ST                                                                                      RUMSON          NJ    07760‐1327
JOAN M KIMBER                                   9601 BRAY ROAD                                                                                   MILLINGTON      MI    48746‐9561
JOAN M KINCAID                                  1101 MAGNOLIA                                                                                    UVALDE          TX    78801‐3951
JOAN M KIRBY                                    10 COLONIAL DR                                                                                   MONTPELIER      VT    05602‐3306
JOAN M KRAUS                                    6258 CREEKSIDE DR #5                                                                             CUDAHY          WI    53110‐3435
JOAN M KRIPKE                                   6059 N MENARD                                                                                    CHICAGO         IL    60646‐3918
JOAN M LAPLANT                                  493 MENLO PARK RD                                                                                GREEN BAY       WI    54302‐4832
JOAN M LENNON                                   163 HASBROUCK RD                                                                                 GOSHEN          NY    10924‐5104
JOAN M LITTLE                                   4201 WINDSOR PLACE                                                                               RALEIGH         NC    27609‐5965
JOAN M LOSEE                                    25 LINNARD RD                                                                                    WEST HARTFORD   CT    06107‐1231
JOAN M LUNTSFORD                                2616 S LAYTON RD                                                                                 ANDERSON        IN    46011‐4534
JOAN M MARSH                                    8819 BRIDGE HWY                                                                                  DIMONDALE       MI    48821‐9726
JOAN M MATA TR JOAN M MATA TRUST UA 07/14/95    509 CHESTNUT LN                                                                                  DARIEN          IL    60561‐3835

JOAN M MATHIS & BRYCE C MATHIS JT TEN           3984 WEST ROSE CITY RD                                                                           WEST BRANCH     MI    48661‐8430
JOAN M MC CARTHY                                CASA DEL RIO                           12751 PLAZA DEL RIO BLVD                                  PEORIA          AZ    85381‐5193
JOAN M MC LAUGHLIN‐GREENWOOD                    13 GASKILL ST                                                                                    MENDON          MA    01756‐1136
JOAN M MCCREADY                                 4094 N IRISH RD                                                                                  DAVISON         MI    48423‐8945
JOAN M MCFARLAND TR JOAN M MCFARLAND REV        1824 NW 56TH TERRACE                                                                             OKLAHOMA CITY   OK    73118
TRUST UA 06/18/02
JOAN M MCKAY & CARL H MCKAY JT TEN              2177 W 15 MILE ROAD                                                                              BITELY          MI    49309‐9653
JOAN M MCKEOWN                                  13 MERRY HILL ROAD                                                                               POUGHKEEPSIE    NY    12603‐3213
JOAN M MCLAUGHLIN                               45 REDGATE RD                                                                                    BOSTON          MA    02132‐3438
JOAN M MEADOWS                                  1105 BROAD AVE NW                                                                                CANTON          OH    44708
JOAN M MEYERS                                   1364 MC EWEN ST                                                                                  BURTON          MI    48509‐2129
JOAN M MILLER                                   15735 CLIFTON BLVD                                                                               LAKEWOOD        OH    44107‐2446
JOAN M MONAHAN                                  16850 QUAKERTOWN LN                                                                              LIVONIA         MI    48154‐1162
JOAN M MORLAN                                   1122 PEACH BLOSSOM CIRCLE                                                                        BURTON          MI    48509‐2398
JOAN M MORLAN & OLIVE R BEAULIEU JT TEN         1122 PEACH BLOSOM CIRCLE                                                                         BURTON          MI    48509‐2398
JOAN M MURPHY                                   553 FRONT RIDGE DR                                                                               CARY            NC    27519
JOAN M MURPHY TR JOAN M MURPHY TRUST UA         193 SOUTH MARTHA                                                                                 LOMBARD         IL    60148‐2613
07/02/96
JOAN M MYERS                                    9026 W GIBBS LAKE RD                                                                             EDGERTON        WI    53534‐8840
JOAN M NOON & CATHERINE NOON JT TEN             271 VINELAND AVE                                                                                 STATEN ISLAND   NY    10312‐2923
JOAN M NORTON                                   9704 PLEASANT RUN WAY                                                                            TAMPA           FL    33647
JOAN M OKEY                                     28 TOBEY WOODS                                                                                   PITTSFORD       NY    14534‐1824
JOAN M PAGE                                     1 ORCHID LN                                                                                      ASHEVILLE       NC    28803
JOAN M PAJEROWSKI CUST THOMAS J YEATMAN UTMA    156 LYNNBURY WOODS RD                                                                            DOVER           DE    19904
DE
JOAN M PALMER                                   5834 HARDSCRABBLE CIRCLE                                                                         MINNETRISTA     MN    55364‐9008
JOAN M PFEIFFER                                 C/O PFEIFFER & PFEIFFER P C            70 NIAGARA STREET          STE 500                        BUFFALO         NY    14202
JOAN M PLOTZKE                                  52203 FISH CREEK                                                                                 MACOMB          MI    48042‐5692
JOAN M PROULX                                   ATTN MRS J P TORRIBIO                  516 S BAY FRONT                                           BALBOA ISLAND   CA    92662‐1040
JOAN M QUEENEY                                  155 WESTBROOK DR                                                                                 EPHRATA         PA    17522‐9510
JOAN M READY                                    803 S MAIN                                                                                       COLUMBIOVA      OH    44408‐1648
JOAN M REHRIG & SCOTT T REHRIG JT TEN           425 S 8TH ST                                                                                     LEHIGHTON       PA    18235
JOAN M REICHENBACH & GEORGE J REICHENBACH JT    1318 ALICIA COURT                                                                                ROYAL OAK       MI    48073‐3948
TEN
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 75 of 855
Name                                             Address1                              Address2             Address3           Address4          City              State Zip

JOAN M RENNELLS                                322 W CHURCH RD                                                                                   MORRICE           MI    48857‐8754
JOAN M RETCHO & ROBERT A RETCHO JT TEN         209 KINGSTON DR #PH                                                                               RIDGE             NY    11961‐2014
JOAN M ROOKE & NORBERT J ROOKE TR JOAN M ROOKE 123 JACKSON                                                                                       ELK RAPIDS        MI    49629‐9765
TRUST UA 04/14/98
JOAN M RUSSO                                   111 E WOODSIDE AVE                                                                                PATCHOGUE         NY    11772‐1441
JOAN M SANDLIN ADAMS                           2309 GREENWOOD DR SE                                                                              DECATUR           AL    35601‐6162
JOAN M SANDSTROM                               PO BOX 351                                                                                        BOOTHBAY          ME    04537‐0351
JOAN M SAUNDERS                                9136 BEECH DALY ROAD                                                                              DETROIT           MI    48239‐1706
JOAN M SCAFE                                   44 S HURON DR                                                                                     JANESVILLE        WI    53545‐2260
JOAN M SCHIMPF                                 21 SHADOW PINES DR                                                                                PENFIELD          NY    14526‐1060
JOAN M SCHMITZ                                 2600 W WHITAKER                                                                                   MILWAUKEE         WI    53221‐2264
JOAN M SCHOEN                                  1818 FAIRFIELD                                                                                    SAGINAW           MI    48602‐3224
JOAN M SCHORR                                  1041 E 29TH ST                                                                                    BROOKLYN          NY    11210‐3743
JOAN M SHEA & JANETTE A MCMANUS & JULIE A SHEA 737 OCEAN BLVD                                                                                    HAMPTON           NH    03842‐4301
JT TEN
JOAN M SIKORA                                  4730 NE 28TH AVE                                                                                  FORT LAUDERDALE   FL    33308‐4823

JOAN M SMITH                                     213 LAKE HURON DR                                                                               MULBERRY          FL    33860‐8551
JOAN M SMITH & MARVIN M SMITH JR JT TEN          213 LAKE HURON DR                                                                               MULBERRY          FL    33860‐8551
JOAN M SPAULDING & EDWARD L SPAULDING JT TEN     1982 BROOKWAY CRES                                                                              ONTARIO           NY    14519‐9630

JOAN M STEGNER                                    215 8TH STREET                                                                                 HONESDALE         PA    18431‐1813
JOAN M STEVENS                                    ATT JOAN M WINTERS                   RTE 4 BOX 1084                                            HEATHSVILLE       VA    22473‐9804
JOAN M STOCKMAN                                   4241 HARBOR VIEW AVE                                                                           OAKLAND           CA    94619‐2209
JOAN M STOPINSKI                                  19420 WOODMONT                                                                                 HARPER WOODS      MI    48225‐1326
JOAN M SUMMERS TR JOAN M SUMMERS LIVING TRUST 36812 HIBISCUS COURT                                                                               ZEPHRYHILLS       FL    33542‐5129
UA 5/4/04
JOAN M TIMMONS                                    1621 WINDY RIDGE RD                                                                            CHARLOTTE         NC    28270
JOAN M TREIBLEY                                   2701 PALMER AVE                                                                                BRISTOL           PA    19007‐5804
JOAN M ULRICH & PETER M ULRICH & PAMELA E ULRICH‐ 1412 INDIANA AVE                                                                               LA PORTE          IN    46350‐5104
MROSS JT TEN
JOAN M VAN ORDER                                  51 JUSTICE DRIVE                                                                               AMHERST           MA    01002‐3118
JOAN M VOSS                                       87‐10 51ST AVE                                                                                 ELMHURST          NY    11373‐3908
JOAN M WALSH TOD JOHN C YOUNG SUBJECT TO STA      371 HARRISON STREET                                                                            PARAMUS           NJ    07652‐4646
TOD RULES
JOAN M WASILEWSKI                                 52584 TURNBURY CT                                                                              SHELBY TOWNSHIP   MI    48315‐2440

JOAN M WEBB                                      PO BOX 156                                                                                      AUBURN            ME    04212‐0156
JOAN M WESTERBERG                                8 FOSTER ROAD                                                                                   LEXINGTON         MA    02421
JOAN M WETTERMARK                                139 WEST POPLAR ST                                                                              FLORAL PARK       NY    11001
JOAN M YUHAS                                     723 FORD BLVD                                                                                   LINCOLN PARK      MI    48146‐4398
JOAN MACALI                                      300 MAPLE AVE                                                                                   NILES             OH    44446‐1723
JOAN MAGUIRE & JAMES A MAGUIRE JT TEN            1400 E COOLSPRING AVE                 APT 118                                                   MICHIGAN CITY     IN    46360‐7185
JOAN MANN MARTINSON CUST JAMES COLIN KIM         981 CATER COURT                                                                                 KEIZER            OR    97303‐7829
MARTINSON UTMA OR
JOAN MANN MARTINSON CUST LAURA SHIZUY CHAE       981 CATER COURT                                                                                 KEIZER            OR    97303‐7829
MARTINSON
JOAN MANNING                                     7300 BROWNELL                                                                                   MENTOR            OH    44060‐5119
JOAN MANNING CUST SHANE MANNING UTMA NE          1805 RD I                                                                                       FAIRMONT          NE    68354
JOAN MARGARET BUELL                              1305 BIRCH AVE                                                                                  WANAMASSA         NJ    07712‐4514
                                                                                                                                                 OCEAN
JOAN MARGARET ROBERT                             1506 WOODBINE ST                                                                                ARLINGTON         TX    76012‐4245
JOAN MARIE BENNETT                               PO BOX 82460                                                                                    TAMPA             FL    33682‐2460
JOAN MARIE BISHOP                                9524 SE CUVE POINT ST                                                                           TEQVESTA          FL    33469
JOAN MARIE KISIEL & RICHARD A KISIEL JT TEN      13213 CALLENDER                                                                                 SOUTHGATE         MI    48195‐1044
JOAN MARIE MARRAH                                6127 WOODLEDGE DRIVE                                                                            OREFIELD          PA    18069
JOAN MARIE NILES                                 6985 GLAZIER BEACH DR                                                                           CEDAR             MI    49621
JOAN MARIE REGIER                                RURAL ROUTE 3                         ZURICH ON                               N0M 2T0 CANADA
JOAN MARIE RHODES                                1547 OLD MOUNTAIN AVE                                                                           SAN JACINTO       CA    92583‐5500
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 76 of 855
Name                                             Address1                              Address2             Address3           Address4          City             State Zip

JOAN MARIE ROBERTS CUST JOHN EDWARD ROBERTS      366 LEWIS AVE                                                                                   YORKTOWN         NY    10598‐1709
UGMA NY                                                                                                                                          HEIGHTS
JOAN MARIE SCHIAVINO                             1 GRACE DR                                                                                      SOUTH AMBOY      NJ    08879‐1315
JOAN MARIE SCHWARZ                               3415 RED BARN DR                                                                                WONDER LAKE      IL    60097‐8189
JOAN MARIE STROUP                                1218 CRESTVIEW DR                                                                               VERMILLION       SD    57069‐3614
JOAN MARIE TUBERTY                               1107 17TH AVENUE                                                                                CORALVILLE       IA    52241‐1336
JOAN MARY MEYERS                                 1364 MC EWEN ST                                                                                 BURTON           MI    48509‐2129
JOAN MASON                                       2809 ANZA AVE                                                                                   DAVIS            CA    95616‐0257
JOAN MASTERSON CUST MICHAEL PAUL MASTERSON       395 BORDEN RD                                                                                   WEST SENECA      NY    14224‐1714
UGMA NY
JOAN MATHIS                                      2524 LANCELOT DR                                                                                BIRMINGHAM       AL    35214‐1124
JOAN MAY ENGLAND                                 100 GRAND BLVD #104                                                                             TARPON SPRINGS   FL    34689‐3265
JOAN MC ALLISTER EX EST EDWARD T TUREK           100 DEHAVEN DR #101                                                                             YONKERS          NY    10703
JOAN MC DANIEL                                   1512 SUNVALE TERR                                                                               OLATHE           KS    66062‐2105
JOAN MC DERMOTT                                  355 8TH AVENUE                        APT 2E                                                    NEW YORK         NY    10001‐4839
JOAN MC GINLEY                                   1458 STANBRIDGE ST                                                                              NORRISTOWN       PA    19401‐5310
JOAN MC GUIRE                                    21465 LEJEUNE DR                                                                                RIVERSIDE        CA    92518‐2900
JOAN MC KAY YOUNG                                1101 S NEGLEY AVENUE                                                                            PITTSBURGH       PA    15217‐1047
JOAN MCCOY OWENS & GEORGE W OWENS JT TEN         328 NICHOLS AVENUE                    MCDANIEL HGTS                                             TALLEYVILLE      DE    19803‐2599

JOAN MCDONALD                                    1514 DELAWARE ST                                                                                DUNMORE          PA    18509‐2024
JOAN MCHUGH TR UA 08/16/99                       40386 NEWPORT DR                                                                                PLYMOUTH         MI    48170‐4736
JOAN MCINTYRE                                    1484 VIA CAMERON                                                                                JUPITER          FL    33477‐7277
JOAN MEIRICK                                     BOX 298                                                                                         FRISCO           CO    80443‐0298
JOAN MEISEL                                      25750 RIVER RD                                                                                  CLOVEDALE        CA    95425‐4337
JOAN MICHAELSON                                  2313 FORBES ST                                                                                  JACKSONVILLE     FL    32204‐4311
JOAN MILLER                                      27012 MALIBU COVE COLONY RD                                                                     MALIBU           CA    90265‐4322
JOAN MILLER                                      281 CHEST NUT ST                                                                                FREDONIA         NY    14063‐1603
JOAN MILLER & IRVING MILLER JT TEN               2921 ACORN LANE                                                                                 NORTHBROOK       IL    60062‐3333
JOAN MITCHELL                                    5 SAND BANK RD                                                                                  ERIN             NY    14838‐9720
JOAN MONOSTORY                                   8614 LUJAN CREST CT                                                                             ELK GROVE        CA    95624‐2845
JOAN MOUNTS                                      5306 S E 00 W                                                                                   MARION           IN    46953‐9356
JOAN MUELLER                                     42609 JASON CT                                                                                  STERLING HTS     MI    48313‐2632
JOAN MUELLER                                     3830 SECTION RD                                                                                 CINCINNATI       OH    45236‐3838
JOAN MUELLER & KATHLEEN MUELLER JT TEN           3830 SECTION ROAD                                                                               CINCINNATI       OH    45236‐3838
JOAN MULCAHY                                     42 SEMINOLE DRIVE                                                                               COMMACK          NY    11725‐4626
JOAN MURDOCK REEVE                               96 PARK AVE                                                                                     WAKEFIELD        MA    01880‐2137
JOAN MURPHY                                      280 W MAIN STREET                     C‐9                                                       NASHVILLE        IN    47448‐9740
JOAN MURRAY                                      416 VINEYARD LN                                                                                 DOWNINGTOWN      PA    19335‐4858
JOAN N WILLIAMS & HAROLD G WILLIAMS JR TEN ENT   104 CALVIN WAY                                                                                  HUNTINGDON       PA    16652‐2708

JOAN NANCOZ TR JOAN BUTKOVICH LIVING TRUST UA    4319 AUDLEY GREEN TER                                                                           WILLIAMSBURG     VA    23188
01/27/93
JOAN NEREDA LAWRENCE                             1475 S MOUNT TOM RD                                                                             MIO              MI    48647‐9518
JOAN NIERMANN                                    5939 ENSENADA RD                                                                                JACKSONVILLE     FL    32244‐1753
JOAN NOVER CUST MARK NOVER UGMA TX               4316 MULLIGAN AVE                                                                               MANSFIELD        TX    76063‐3475
JOAN O COYE                                      232 B 18TH ST                                                                                   MANHATTAN BCH    CA    90266‐5761
JOAN O GRANT                                     395 GRACELAND AVE                     APT 208                                                   BES PLAINES      IL    60016‐7833
JOAN O HANKE                                     124 SYLVAN LAKE BLVD                                                                            BAYVILLE         NJ    08721‐1970
JOAN O MORRISON                                  1613 PELHAM ST                        FONTHILL ON                             L0S 1E3 CANADA
JOAN O REGISTER TR UW ALFRED W OLIVER            1150 FIELDSTONE RD                                                                              WATKINSVILLE     GA    30677‐1573
JOAN O'GORMAN                                    248 JUDSON ST                                                                                   WEBSTER          NY    14580‐3443
JOAN OLSON                                       27 CHESTNUT ST                                                                                  REHOBOTH         MA    02769‐2333
JOAN OLSZEWSKI                                   C/O LYNN MARTOIA                      30977 BOBRICH                                             LIVONIA          MI    48152‐3409
JOAN OMALLEY                                     1129 HOMESTEAD RD UNIT 1D                                                                       LA GRANGE PARK   IL    60526‐5413
JOAN ONEILL                                      160 S DURKIN DRIVE #4                                                                           SPRINGFIELD      IL    62704‐1152
JOAN OREILLY                                     1540 RATTLESNAKE BRIDGE RD                                                                      BEDMINSTER       NJ    07921‐2940
JOAN ORNDORFF & PAUL ORNDORFF JT TEN             509 PRINCETON AVENUE                                                                            ELYRIA           OH    44035‐6445
JOAN OSBOURN                                     11711 MEMORIAL DR #625                                                                          HOUSTON          TX    77024‐7263
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 77 of 855
Name                                             Address1                              Address2             Address3           Address4          City            State Zip

JOAN OWENS                                       1018 SLEEPY HOLLOW RD                                                                           CLARKS SUMMIT   PA    18411‐2710
JOAN OWENS                                       2415 WESTLAKE DR                                                                                KELSEYVILLE     CA    95451‐7056
JOAN P BARTLETT TR UA 04/16/08 JOAN P BARTLETT   11100 SANDTRAP DR                                                                               PORT RICHEY     FL    34668
REVOCABLE LIVING TRUST
JOAN P BECHARD                                   211 W WILL WHITE RD                                                                             KEMP            TX    75143‐8735
JOAN P BOLTON & PETER S BOLTON TEN ENT           1305 HULL ST                                                                                    BALTIMORE       MD    21230‐5243
JOAN P BOYTZ                                     12924 PARKMAN RD                                                                                GARRETTSVILLE   OH    44231‐9618
JOAN P DE HOVITZ                                 45 EVERGREEN DRIVE                                                                              KENTFIELD       CA    94904‐2825
JOAN P DOUGLAS                                   14 GOLD ST                                                                                      GREEN BROOK     NJ    08812‐2510
JOAN P GILLMAN & NICHOLAS J KOSTICK JT TEN       528 E SALZBURG RD                                                                               BAY CITY        MI    48706‐9713
JOAN P HANCOCK                                   2066 COLE ROAD                                                                                  LAKE ORION      MI    48362‐2104
JOAN P JENNINGS                                  22 SAVOY RD                                                                                     SALEM           MA    01970‐5317
JOAN P JONES                                     7937 SO STATE ST                                                                                CHICAGO         IL    60619‐3512
JOAN P MARTIN CUST R MICHAEL MARTIN UGMA CT      25 G AMATO DR                                                                                   SOUTH WINDSOR   CT    06074‐3656

JOAN P MC KENNA                                  702 GALLOPING HILL RD                                                                           ROSELLE PARK    NJ    07204‐1723
JOAN P MOHNEY                                    36BENTON AVE                                                                                    AUSTINTOWN      OH    44515‐1722
JOAN P OCHS                                      245 KENT RD                                                                                     WYNNEWOOD       PA    19096‐1820
JOAN P PATTERSON TR JOAN P PATTERSON TRUST UA    34208 WOOD DR                                                                                   LIVONIA         MI    48154‐2536
4/15/98
JOAN P PREZIOSO                                  51 NORWOOD ROAD                                                                                 YONKERS         NY    10710‐1415
JOAN P ROSS                                      101 ARBOR RUN DR                      APT 209C                                                  LINCOLNTON      NC    28092‐6402
JOAN P SKAL                                      6723 S ANTHONY BLVD                   APT E124                                                  FORT WAYNE      IN    46816‐2046
JOAN P SLOAN TR JOAN P SLOAN TRUST UA 09/19/90   1900 CORLEONE DRIVE                                                                             SPARKS          NV    89434‐2075

JOAN P WIZBICKY                                  7‐17 157TH ST                                                                                   BEECHHURST      NY    11357‐1319
JOAN PAGE WOOD                                   5228 CRYSTAL CREEK DR                                                                           PACE            FL    32571
JOAN PALL CUST TRACI PALL UTMA CA                9710 WENDOVER DR                                                                                BEVERLY HILLS   CA    90210‐1228
JOAN PAMELA COLEMAN                              45234 ELMBROOK DR                                                                               CALIFORNIA      MD    20619‐4204
JOAN PARKER                                      40094 PARSONS RD                                                                                LAGRANGE        OH    44050‐9708
JOAN PELLY                                       1914 OAKHURST DR                                                                                ALLISON PARK    PA    15101‐2800
JOAN PENDLEY                                     957 MARGARET DR                                                                                 ALCOA           TN    37701‐1629
JOAN PERSON                                      375 OAKLAND DR                                                                                  HIGHLAND PARK   IL    60035
JOAN PETRILL & JOHN PETRILL JT TEN               701 FREMONT ST                                                                                  FLINT           MI    48504‐4543
JOAN PEVINE                                      14 DUFFY STREET                                                                                 FRANKLIN        NH    03235‐1453
JOAN PFAHLER                                     506 W MAIN ST                                                                                   LEIPSIC         OH    45856‐1138
JOAN PHILPOT                                     712 SOUTH FULS ROAD                                                                             NEW LEBANON     OH    45345‐9114
JOAN PHYLLIS BRANKER                             14 CAMBRIDGE COURT                                                                              PRINCETON       NJ    08540‐7928
JOAN PICCOLO                                     1342 WINDY HILL RD                                                                              MC LEAN         VA    22102‐2809
JOAN PILPEL                                      18 PARK EAST                                                                                    NEW HYDE PK     NY    11040‐3502
JOAN POPE CUST ANNALIESE M POPE UGMA MI          3869 LOTON DRIVE                                                                                PORT HURON      MI    48059‐4211
JOAN POWELL                                      8846 S RACINE AVE                                                                               CHICAGO         IL    60620‐3425
JOAN POWELL                                      248 BELMONT CT EAST                                                                             NORTH           NY    14120‐4864
                                                                                                                                                 TONAWANDA
JOAN PRICE BERRY                                 901 SPRINGHARBOR RIDGE                                                                          WOODSTOCK       GA    30188‐5726
JOAN PRUETT                                      13316 TALL GRASS CT                                                                             FORT MYERS      FL    33912‐3820
JOAN PUTTRE                                      42 THAYER RD                                                                                    MANHASSET       NY    11030‐2432
JOAN Q HOGAN                                     640 OAK AVENUE                                                                                  DAVIS           CA    95616‐3627
JOAN QUINN                                       828 E CYPRESS AVE                                                                               BURBANK         CA    91501‐1306
JOAN R BANFIELD                                  53 WATER ST                                                                                     SHELBURNE FLS   MA    01370‐1126
JOAN R BIANCO TR 09/18/03 JOAN R BIANCO LIVING   52 COLONY DR                                                                                    HOLBROOK        NY    11741‐2811
TRUST
JOAN R CONNER                                    PO BOX 412                                                                                      WARREN          IN    46792‐0412
JOAN R DECK                                      3828 DAYTONA DRIVE                                                                              YOUNGSTOWN      OH    44515‐3315
JOAN R HALE & ROGER V HALE JT TEN                381 SWEET BRIAR RIDGE                                                                           LINDEN          MI    48451
JOAN R HEARN                                     400 WILSON ROAD                       PO BOX 1187                                               CUTCHOGUE       NY    11935‐0878
JOAN R LASZLO                                    4480 CANDLEBERRY AVE                                                                            SEAL BEACH      CA    90740
JOAN R LORENTZEN                                 1843 E MONARCH BAY DR                                                                           GILBERT         AZ    85234‐2713
JOAN R MARTIN                                    PO BOX 2826                                                                                     YOUNGSTOWN      OH    44511‐0826
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 78 of 855
Name                                             Address1                              Address2              Address3          Address4          City              State Zip

JOAN R MCEWEN                                   1053 PINEWOOD CT                                                                                 BOWLING GREEN     OH    43402‐2173
JOAN R MOORE                                    BOX 274                                2862 CREST TERRACE                                        WORCESTER         PA    19490‐0274
JOAN R NELSON TOD DAVID G NELSON SUBJECT TO TOD 17100 VAN AKEN BLVD                    #113                                                      SHAKER HTS        OH    44120‐3606
STA RULES
JOAN R RICHARDS                                 5216 GRANTHAM ST                                                                                 SPRINGFIELD       VA    22151‐1124
JOAN R SCHMIDT                                  432 MAIN STREET                                                                                  NORTHPORT         NY    11768‐1715
JOAN RAMEY                                      2391 S LONG LAKE RD                                                                              FENTON            MI    48430‐1459
JOAN RECORD                                     3309 PRAIRIE                                                                                     MATTOON           IL    61938‐2120
JOAN REILLY                                     5541 ROCKLEDGE DR                                                                                BUENA PARK        CA    90621‐1624
JOAN RITA PACKER CUST KEVIN JAMES PACKER UGMA   663 JOSEPH DR                                                                                    WAYNE             PA    19087‐1018
PA
JOAN ROBERTS                                    26873 NORFOLK                                                                                    INKSTER           MI    48141‐2303
JOAN ROBERTS POLINSKY CUST DREW ROBERTS         900 COTTRELL WAY                                                                                 STANFORD          CA    94305‐1012
POLINSKY UTMA CA
JOAN ROCHELLE KARTER                            55 VENDOLA DR                                                                                    SAN RAFAEL        CA    94903‐2949
JOAN ROW & SAMUEL EARL ROW & KESTELL MARIE      1712 JENNETTE NW                                                                                 GRAND RAPIDS      MI    49504‐2841
ROW JT TEN
JOAN RYS                                        39493 EDGEWATER DR                                                                               NORTHVILLE     MI       48167‐4317
JOAN S ARBITER                                  374 FIRST AVE                                                                                    MASSAPEQUAPARK NY       11762‐1649

JOAN S BANDEEN                                   12 BRINKWOOD RD                                                                                 BROOKEVILLE       MD    20833‐2303
JOAN S BOLTON                                    30300 HWY 24                                                                                    RUSSELLVILLE      AL    35654‐8433
JOAN S BURTON                                    180 WAYSIDE RD                                                                                  HARWICH           MA    02645‐1442
JOAN S CHAPMAN                                   2168 MCKINLEY AVE                                                                               BEULAH            MI    49617‐9601
JOAN S COMPTON                                   110 PARKEDGE AVE                                                                                TOWN OF           NY    14150‐7730
                                                                                                                                                 TONAWANDA
JOAN S CROOKS                                    1807 UTICA PIKE                                                                                 JEFFERSONVILLE    IN    47130‐4818
JOAN S DEARDORF                                  109 EDGEWATER DR                                                                                NOBLESVILLE       IN    46062‐9190
JOAN S DICKER                                    3849 COUNTRY CLUB RD                                                                            EASTON            PA    18045‐2960
JOAN S DICKSON                                   519 HIGHLAND AVE                                                                                UPPER MONTCLAIR   NJ    07043‐1203

JOAN S ECKFELD                                   13393 IDLE HILLS RD                                                                             BROOKLYN          MI    49230‐8516
JOAN S GINTER & PAUL A GINTER JT TEN             119 KEATES PL                                                                                   CHERRY HILL       NJ    08003‐3546
JOAN S GREENBERG                                 20 TRUMAN RD                                                                                    NEWTON CENTRE     MA    02459‐2641
JOAN S HAIT                                      656 12TH ST N E                                                                                 WASHINGTON        DC    20002‐5320
JOAN S HUEBERT                                   WOODLAND VILLAGE                      2808 51ST AVE W                                           BRADENTON         FL    34207‐2217
JOAN S HUEY                                      7160 ELDORA STREET                                                                              LAS VEGAS         NV    89117‐3016
JOAN S LARKIN                                    23 PARK BLVD                                                                                    WANAMASSA         NJ    07712‐4273
JOAN S LUBY CUST CYNTHIA HOPE LUBY UGMA NY       41 SHERWOOD GATE                                                                                OYSTER BAY        NY    11771‐3805
JOAN S MANSOUR                                   106 BEACON ST                                                                                   LAWRENCE          MA    01843‐3110
JOAN S MC KENNA & PHILLIP F AMBROSE JT TEN       2310 SHELBURNE AVE SW                                                                           DECATUR           AL    35603‐1842
JOAN S MCVEY                                     6321 N CO RD 250 E                                                                              PITTSBORO         IN    46167‐9338
JOAN S NEAL TR JOAN S NEAL TRUST UA 09/29/95     6831 CLOUDSCAPE WAY                                                                             MAINEVILLE        OH    45039‐5052
JOAN S NOVAK & ALICE M NOVAK JT TEN              12 HUDSON ST                                                                                    EAST HAMPTON      MA    01027‐1609
JOAN S OLIVER TR JOAN S OLIVER LIVING TRUST UA   536 N VINE STREET                                                                               HINSDALE          IL    60521‐3324
07/24/91
JOAN S PACIERO                                   35133 LEON                                                                                      LIVONIA           MI    48150‐2667
JOAN S QUINLAN CUST KELLY ROBERTS QUINLAN UTMA   PO BOX 68086                                                                                    TUCSON            AZ    85737‐8086
IL
JOAN S RALFE                                     82 THOMAS DRIVE                       FENELON FALLS ON                        ZZZZ CANADA
JOAN S RICHARDSON                                353 SOUTH 3RD STREET                                                                            SURF CITY         NJ    08008‐4738
JOAN S SCHMITT                                   ATTN JOAN S KYCKELHAHN                2382 S WINONA COURT                                       DENVER            CO    80219‐5195
JOAN S SEWELL                                    C/O JOAN CROFFDALE                    6 DAWN HAVEN DR                                           ROCHESTER         NY    14624‐1651
JOAN S SITES                                     860 FAIRFIELD RD NW                                                                             ATLANTA           GA    30327‐3226
JOAN S SOMERVILLE                                82 THOMAS DRIVE                       FENELON FALLS ON                        K0M 1N0 CANADA
JOAN S SOMERVILLE                                82 THOMAS DRIVE                       FENELON FALLS ON                        K0M 1N0 CANADA
JOAN S THAYER                                    3905 FLEETWOOD DR                                                                               WEST MIFFLIN      PA    15122‐2759
JOAN S THOMAS                                    PO BOX 857                                                                                      MC LOUD           OK    74851‐0857
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 79 of 855
Name                                           Address1                              Address2                  Address3      Address4                 City             State Zip

JOAN S WATERS & ROGER D WATERS & STEVEN S        2110 BETTY ANN DR                                                                                    AUBURNDALE       FL    33823‐4701
WATERS JT TEN
JOAN S WESTRICK & ROBERT J WESTRICK JT TEN       4174 CHARTIER                                                                                        MARINE CITY      MI    48039‐2272
JOAN SACHS                                       3530 HENRY HUDSON HWY               # 15N                                                            RIVERDALE        NY    10463‐1323
JOAN SANANDRES                                   46796 TRAILWOOD PL                                                                                   STERLING         VA    20165‐7513
JOAN SCHERER                                     PO BOX 276                                                                                           CROZET           VA    22932‐0276
JOAN SCHROEDER TR IRREVOCABLE TRUST 06/18/91 U‐A 252 ROYAL COACH AVE                                                                                  POMONA           CA    91767‐2323
ESTHER A SCHLUETER
JOAN SELTZER                                     2719 FONTANA                                                                                         HOUSTON          TX    77043‐1716
JOAN SHIRLEY                                     951 MICKLETON CRT                                                                                    WOODSTOWN        NJ    08098‐1065
JOAN SHIRLEY HILBISH                             11308 MYRTLE LN                                                                                      RESTON           VA    20191‐3914
JOAN SIEMER GUMP                                 1212 RIVERGLEN ROW #104                                                                              SAN DIEGO        CA    92111‐7426
JOAN SIMS CUST EMILY L SIMS UTMA NY              24 BEACON PLACE                                                                                      STATEN ISLAND    NY    10306‐5769
JOAN SINCLAIR & JOHN SINCLAIR JT TEN             1636 HENDERSON DR                                                                                    KALAMAZOO        MI    49006‐4424
JOAN SMITH HILLYER                               309 ST JAMES ST                                                                                      PHILLIPSBURG     NJ    08865‐3816
JOAN SOUTHWOOD                                   7911 CHEVIOT RD APT 22                                                                               CINCINNATI       OH    45247‐4002
JOAN SPENCER TR JOAN SPENCER REVOCABLE TRUST UA 20086 QUESADA AVE                                                                                     PORT CHARLOTTE   FL    33952‐1126
06/26/97
JOAN SPICER                                      516 S ROSEWOOD                                                                                       JACKSON          MI    49201‐8461
JOAN SPITZER                                     230 WEST END AVE                                                                                     NEW YORK         NY    10023‐3661
JOAN STAMPER                                     HARCLA HOUSE CULGAITH               PENRITH CUMBRIA ENGLAND                 CA10 1QN GREAT BRITAIN
JOAN STEELE                                      517 ROLLING VIEW DR                                                                                  TEMPLE TERRACE   FL    33617‐3854
JOAN STURMAN LEIFESTE                            PO BOX 807                                                                                           BRADY            TX    76825‐0807
JOAN SWENSON‐HITZ                                5000 EAST GRANT ROAD                UNIT 120                                                         TUCSON           AZ    85712‐2742
JOAN T BEDDOW                                    701 KING FARM BLVD                  APT 634                                                          ROCKVILLE        MD    20850
JOAN T BOWLEY                                    33 WILDEMERE                                                                                         RCHO STA MARG    CA    92688‐5526
JOAN T BRIDDLE                                   PO BOX 99                                                                                            GEORGETOWN       CO    80444‐0099
JOAN T COMBS                                     PO BOX 115                                                                                           CHESAPEAKE       OH    45619‐0115
JOAN T DENNEN                                    198 PICNIC STREET                                                                                    BOXBOROUGH       MA    01719‐1105
JOAN T DERRICK                                   25 WESLEYAN RD                                                                                       COMMACK          NY    11725‐2518
JOAN T EHAS TR JOAN T EHAS TRUST UA 4/5/99       1951 MOHICAN TRAIL                                                                                   MAITLAND         FL    32751‐3729
JOAN T FEDORKOWICZ                               10 1ST STREET                                                                                        ANNAPOLIS        MD    21401‐6901
JOAN T HALTER                                    83 HOLLY DR                                                                                          TRAPPE           PA    19426‐2119
JOAN T MAHON                                     8 DORSET RD                                                                                          MANCHESTER       NJ    08759‐6806
JOAN T MONAHAN                                   11401 N W 117TH COURT                                                                                YUKON            OK    73099
JOAN T PERRY                                     3434 BONITA RD                      # 125                                                            CHULA VISTA      CA    91910‐3209
JOAN T RAGAN TR JOAN T RAGAN REVOCABLE TRUST UA 1121 N MCDONALD AVE                                                                                   DELAND           FL    32724‐2582
6/02/00
JOAN T RYAN TR UA 08/07/98 MICHAEL G RYAN FAMILY 5605 S WARRENDALE COURT                                                                              WILMINGTON       NC    28409
TRUST
JOAN T STREZELECKI & JOHN R BENSON JT TEN        2816 SHERBROOKE LANE #A                                                                              PALM HARBOR      FL    34684
JOAN T STREZELECKI & JUDITH M ALTO JT TEN        2816 SHERBROOKE LANE #A                                                                              PALM HARBOR      FL    34684
JOAN T STREZELECKI & THOMAS J BENSON JT TEN      2816 SHERBROOKE LANE #A                                                                              PALM HARBOR      FL    34684
JOAN T WILKINSON & ALBERT J WILKINSON JT TEN     PO BOX 331                          77 HIGH MEADOW LANE                                              JAMESPORT        NY    11947‐0331

JOAN TABIT BURT & FRED H BURT JT TEN           5416 GLENHAVEN CRES                                                                                    NORFOLK          VA    23508
JOAN TARZIERS                                  3436 POBST DR                                                                                          KETTERING        OH    45420‐1042
JOAN THOMAS                                    2270 PALOMA ST                                                                                         PASADENA         CA    91104‐4923
JOAN TRAFFORD CUST WENDY ANN TRAFFORD UGMA     141 W WASHINGTON ST                                                                                    FORESTVILLE      CT    06010‐5445
CT
JOAN TRAPP                                     702 GALLOPING HILL RD                                                                                  ROSELLE PARK     NJ    07204‐1723
JOAN TREVILLIAN                                517 W 4TH ST                                                                                           SHAWANO          WI    54166‐2120
JOAN TRUMAN                                    313 HOMECREST ROAD                                                                                     JACKSON          MI    49201‐1114
JOAN TURNER & ANGUS M TURNER III JT TEN        9510 PARALLEL                                                                                          KANSAS CITY      KS    66109‐4330
JOAN UNDERWOOD                                 1051 DOOLEY DR                                                                                         CHARLOTTE        NC    28227‐8142
JOAN URQUHART & RICHARD URQUHART JT TEN        15479 WINTER PARK DR                                                                                   MACOMB           MI    48044‐3875
JOAN V BEDNARSKI                               4051 MAPLE HILL DR                                                                                     SEVEN HILLS      OH    44131
JOAN V CALHOUN                                 108 CHEROKEE TRL                                                                                       GILBERTSVILLE    KY    42044‐8563
JOAN V COYLE                                   2954 ASBURY CT                                                                                         MIAMISBURG       OH    45342‐4433
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 80 of 855
Name                                             Address1                           Address2               Address3         Address4          City            State Zip

JOAN V KALSO                                     11620 HENDERSON RD                                                                           MONTAGUE        MI    49437‐9524
JOAN V PRITCHETT                                 11465 BUCKHORN LAKE ROAD                                                                     HOLLY           MI    48442‐8509
JOAN VALENTINE                                   27296 VIANA                                                                                  MISSION VIEJO   CA    92692‐3208
JOAN VAN RAALTE                                  89 BAYSWATER ST                    WOODSTOCK ON                            N4S 5K4 CANADA
JOAN VAN RAALTE & DAWSON VAN RAALTE JT TEN       89 BAYSWATER ST                    WOODSTOCK ON                            N4S 5K4 CANADA
JOAN VASILE                                      17 SHANBROOK DR                                                                              ROCHESTER       NY    14612‐3068
JOAN VAUGHN THRAN                                PO BOX 412                                                                                   MINDEN          NV    89423‐0412
JOAN VAUPEL                                      512 ELKHORN TRL                                                                              IOWA CITY       IA    52240‐9208
JOAN W BOOTHBY                                   19 DE COU AVE                                                                                W TRENTON       NJ    08628‐2908
JOAN W BOZE                                      8242 TRAPPERS CREEK TRAIL                                                                    CHESTERFIELD    VA    23832‐7637
JOAN W BRAXTON                                   56 VAN NESS TER                                                                              MAPLEWOOD       NJ    07040‐3342
JOAN W BULLOSS                                   4700 DOLPHIN LANE                                                                            ALEXANDRIA      VA    22309‐3159
JOAN W CHALKER                                   PO BOX 5094                        1250 BALTIMORE PK                                         SPRINGFIELD     PA    19064‐5094
JOAN W FIX                                       580 NIAGARA FALLS BLVD                                                                       BUFFALO         NY    14223‐2232
JOAN W FREDERICKS                                49 GOLF CLUB CROSSOVER                                                                       CROSSVILLE      TN    38571
JOAN W HUGHLEY                                   6995 BEAVER TRAIL                                                                            RIVERDALE       GA    30296‐1929
JOAN W HULL                                      351 ALTAMONT AVE                                                                             SCHNECTADY      NY    12303‐1035
JOAN W MC KENNA                                  5200 KELSEY PEAK WAY                                                                         ANTIOCH         CA    94531‐7449
JOAN W MOORE                                     4749 ERICSON AVENUE                                                                          DAYTON          OH    45418‐1909
JOAN W PLATT                                     8 PALOMAS DRIVE                                                                              RANCHO MIRAGE   CA    92270‐4747
JOAN W STRICKRODT                                BOX 254 TWIN LAKES RD                                                                        SOUTH SALEM     NY    10590‐0254
JOAN W VAUPEL                                    512 ELKHORN TRAIL                                                                            IOWA CITY       IA    52240‐9208
JOAN W VAUPEL                                    512 ELKHORN TRL                                                                              IOWA CITY       IA    52240‐9208
JOAN WALLACE                                     100 WHITE HAMPTON LN               APT 319                                                   PITTSBURGH      PA    15236‐1565
JOAN WARD CUST MARIANNE WARD UGMA NJ             372 CENTRAL PARK W APT 20M                                                                   NEW YORK        NY    10025‐8213
JOAN WATERS MILLER                               823 CUYPRESS DR                                                                              BOULDER         CO    80303‐2819
JOAN WEBER                                       30 CABLE LN                                                                                  HICKSVILLE      NY    11801‐6103
JOAN WERNER MANNIX                               899 S PLYMOUTH CT                  APT 7                                                     CHICAGO         IL    60605‐2058
JOAN WESTFALL TR UA 12/11/2007 JANET VAN LAW     FBO JOAN WESTFALL                  3216 NE 111TH CIRCLE                                      VANCOUVER       WA    98686
EXEMPT TRUST
JOAN WHITE                                       833 INDIAN TRAIL                                                                             TRAVERSE CITY   MI    49686‐3653
JOAN WININGS TR UA 10/28/92 THE WININGS LIVING   13 KESTREE DR                                                                                LONDONDERRY     NH    03053‐4009
TRUST
JOAN WINKLER BENATTI                             333 1ST ST                                                                                   MINEOLA         NY    11501‐2338
JOAN WINTERS PETERS                              805 S BUCHANAN ST                  APT 101                                                   FREMONT         OH    43420‐4993
JOAN WOLFE                                       1445 INDIANA                                                                                 FLINT           MI    48506‐3517
JOAN WOOD VAN TILBURG                            4323 RIVERPORT RD                                                                            RALEIGH         NC    27616‐6815
JOAN Y COCKERTON                                 5504 HOWE RD                                                                                 GRAND BLANC     MI    48439‐7911
JOAN Y ELLISON                                   3006 MATTHEW DR D                                                                            KOKOMO          IN    46902‐4061
JOAN Y NESBITT                                   #16                                10 BASSETT BLVD        WHITBY ON        L1N 9C3 CANADA
JOAN Y RAY & ANTHONY R RAY JT TEN                45 SPENCER ST                                                                                WEST WARWICK    RI    02893‐4445
JOAN YUNG                                        371 REGIS FALLS AVE                                                                          WILMINGTON      DE    19808
JOAN‐ANNE WELTER                                 216 SCHRAALENBURGH RD                                                                        HAWORTH         NJ    07641‐1227
JOANA J PIERCE                                   1444 KENSINGTON DRIVE                                                                        FULLERTON       CA    92831‐2026
JOANDEL MIDDLETON & DONALD O MIDDLETON JT TEN    720 BELVILLE BLVD                                                                            NAPLES          FL    34104

JOANE FOGGIN                                     610 55TH ST                                                                                  VIENNA          WV    26105
JOANN A WOODWORTH                                7214 HAWTHORNE CIRCLE                                                                        GOODRICH        MI    48438‐9239
JOANN AINSLIE & LINDA FOX JT TEN                 157 S WETHERLY DR                                                                            BEVERLY HILLS   CA    90211‐2513
JOANN ALT & FREDERICK H ALT JT TEN               3190 INDIANVIEW DR                                                                           WATERFORD       MI    48329‐4313
JOANN ANDERSON                                   5310 BAILEYTON RD                                                                            GREENEVILLE     TN    37745
JOANN ARMSTRONG                                  3215 W MOUNT HOPE AVE              APT 305                                                   LANSING         MI    48911‐1282
JOANN ARNOLD                                     6221 S APPLECROSS RD                                                                         HIGHLAND HTS    OH    44143
JOANN B SPARKS                                   109 S PRINCETON AVE                                                                          WENONAH         NJ    08090‐1938
JOANN BARFIELS                                   6052 VANDERBILT DR                 UNIT H                                                    MOUNT MORRIS    MI    48458‐2678
JOANN BARKER & RONALD A BRONSTEITTER JT TEN      11551 VARNER RD                                                                              ODESSA          MO    64076

JOANN BARRETT                                    251 ROUND HILL RD                                                                            BRISTOL         CT    06010‐2648
JOANN BERENBACH                                  1562 NW RANDALL CT                                                                           ROSEBURG        OR    97471‐1869
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 81 of 855
Name                                             Address1                             Address2                 Address3       Address4          City            State Zip

JOANN BISTI                                   6 BEDFORD TERR                                                                                    MANTUA          NJ    08051‐1741
JOANN BOMZE CUST ELIZABETH JANE BOMZE UTMA PA 1451 MEADOWBROOK RD                                                                               RYDAL           PA    19046‐1008

JOANN BRADLEY                                    510 WHISPERWOOD DR                                                                             GREENEVILLE     TN    37743
JOANN BUCK                                       4649 US HIGHWAY 111                                                                            BRAWLEY         CA    92227‐9619
JOANN BURKE LILLER                               PO BOX 206                                                                                     W WARDSBORO     VT    05360
JOANN C BUZZARD & SHIRLEY A BUZZARD JT TEN       11107 DELPHINIUM DR                                                                            FENTON          MI    48430
JOANN C COOK & DEBORAH ANN MUNROW JT TEN         9214 13TH AVE SW                                                                               SEATTLE         WA    98106‐2910

JOANN C FISHER                                   17930 SETTLERS POND WAY UNIT 1D                                                                ORLAND PARK     IL    60467‐5229
JOANN C HASTON & KIMBERLY A HARLESS & TIMOTHY    424 RIDGEWAY DR                                                                                CROSSVILLE      TN    38555‐8458
M HASTON JT TEN
JOANN C KUEHN & ERNEST W KUEHN JT TEN            11335 S CIENEGA PARK PL                                                                        VAIL            AZ    85641‐9074
JOANN C KUNKLER                                  5631 CARTHAGENA RD                                                                             SAINT HENRY     OH    45883‐9794
JOANN C LONG                                     2205 BROOKSHIRE PLACE                                                                          BIRMINGHAM      AL    35213‐3644
JOANN C MACK                                     1854 FLAMINGO LN                                                                               NAVARRE         FL    32566‐8311
JOANN C MODA                                     37 HUBBARD DRIVE                                                                               NORTH CHILI     NY    14514‐1003
JOANN C PIASCIK                                  136 MOHICAN TRL                                                                                LEXINGTON       OH    44904
JOANN C PUCILLO                                  30 JACOB ST                                                                                    BLOOMFIELD      NJ    07003‐3125
JOANN C REGETS & ROBERT T REGETS JT TEN          36 UNION ST                                                                                    AUBURN          NY    13021‐1723
JOANN C ROBERTS                                  152 MILLER RD                                                                                  LEESBURG        GA    31763‐3000
JOANN C RUMBAUGH                                 PO BOX 2732                                                                                    FULLERTON       CA    92837‐0732
JOANN C STREY                                    7556 S 74TH ST                                                                                 FRANKLIN        WI    53132‐9756
JOANN C WHITT                                    2300 PEACHFORD RD                    APT 3106                                                  ATLANTA         GA    30338‐7148
JOANN C WINOVICH                                 16495 HEATHER LANE APT 102                                                                     MIDDLEBURG      OH    44130‐8344
                                                                                                                                                HEIGHTS
JOANN CARRENDER                                  9890 E HARBOR RD                                                                               LAKESIDE        OH    43440‐1734
JOANN CASTLE                                     112 COUNTY RD 700                                                                              WEST SALEM      OH    44287‐9116
JOANN CERRITO & LORETTA GIROUX JT TEN            31 FAIRWOOD                                                                                    PLEASANT RDG    MI    48069
JOANN CHMIELEWSKI                                6845 S APACHE ST                                                                               LITTLETON       CO    80120‐3876
JOANN CICCHETTI AS CONSERVATOR FOR MICHAEL       13 ELIZABETH                                                                                   RIVER ROUGE     MI    48218‐1203
EDWARD CICCHETTI
JOANN CLARK                                      5337 60TH ST N                                                                                 KENNETH CITY    FL    33709
JOANN CLARK & JACK H CLARK JT TEN                2418 MAPLELAWN DRIVE                                                                           BURTON          MI    48519‐1361
JOANN COLGAN TR COLGAN TRUST UA 6/17/05          647 SOLAR RD NW                                                                                ALBUQUERQUE     NM    87107‐5743
JOANN CONANT                                     5342 MONTE VERDE DR                                                                            SANTA ROSA      CA    95409
JOANN COOPER & JUDI LYNN CZYZEWSKI JT TEN        34522 SPRING VALLEY                                                                            WESTLAND        MI    48185‐9456
JOANN CORLETT                                    241 HUNTERS' TRAIL                                                                             MADISON         CT    06443‐2420
JOANN CRAIG‐KINGERY                              5989 GLENNON DR                                                                                GALLOWAY        OH    43119‐9752
JOANN DAVIS                                      15501 PIEDMONT ST                                                                              DETROIT         MI    48223‐1716
JOANN DEJAEGER LESTER W & JOANN DEJAEGER TRUST   17439 BEDFORD                                                                                  RIVERVIEW       MI    48192‐7556
UA 12/12/83
JOANN DERWENSKUS                                 8080 INAGUA LN                                                                                 WELLINGTON      FL    33414‐3434
JOANN DOBLE                                      1150 BARR RD                                                                                   OXFORD          MI    48370‐2935
JOANN DUNKER                                     2506 ORIOLE LN                                                                                 HOLLAND         MI    49424‐2673
JOANN E BRENNAN                                  9 LAMONT AVE                         APT 404                                                   TRENTON         NJ    08619‐3122
JOANN E KALLIO                                   10458 HART                                                                                     HUNTINGTN WDS   MI    48070‐1128
JOANN E KANIA                                    C/O MRS J PATTERSON                  3706 ANDREWS LAKE ROAD                                    FREDERICA       DE    19946‐2003
JOANN E MASON                                    2611 WALNUT DR                                                                                 IONIA           MI    48846‐8701
JOANN E VANDENBERG                               12905 S ELM AVENUE                                                                             SAND LAKE       MI    49343‐9629
JOANN EARLE                                      618 W DRYDEN RD                                                                                FREEVILLE       NY    13068‐9746
JOANN F BROCK & EWANIE F BROCK JT TEN            1150 W WINTON AVE                    SPC 111                                                   HAYWARD         CA    94545‐1426
JOANN F MEYER                                    2390 E CHOCTAW RD                                                                              BULLHEAD CITY   AZ    86426‐9117
JOANN F WILLIAMS                                 1768 FAYETTEVILLE COURT                                                                        ATLANTA         GA    30316‐2909
JOANN FERRIER                                    2141 RONSARD RD                                                                                RANCHO PALOS    CA    90275‐1623
                                                                                                                                                VERDE
JOANN FLORENCE                                   203 MOUND AVE                        APT 210                                                   MILFORD         OH    45150‐1080
JOANN FONTANESI                                  8668 N CHRISTINE                                                                               BRIGHTON        MI    48114‐8933
JOANN FRACSA                                     174 COUNTRY CLUB DR                                                                            ADDISON         IL    60101
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 82 of 855
Name                                             Address1                            Address2             Address3           Address4          City              State Zip

JOANN FRARY CUST AMANDA JO FRARY UTMA IL         40190 NORTH COSTA DEL SOL                                                                     QUEEN CREEK       AZ    85242
JOANN FRARY CUST CHRISTINE E FRARY UTMA IL       7932 E MILAGRO AVE                                                                            MESA              AZ    85209‐6185
JOANN G RENO                                     16 CANTERBURY COURT                                                                           MARLTON           NJ    08053‐2802
JOANN GOLEBLEWSKI                                61 VICTORIA WAY                                                                               SEWAREN           NJ    07077
JOANN H EASTMAN                                  3127 SCHOOL HOUSE DR                                                                          WATERFORD         MI    48329‐4328
JOANN H JOPLIN & CRAIG M JOPLIN JT TEN           11607 NE 43RD AVE                                                                             VANCOUVER         WA    98686‐4470
JOANN H KUJAWA                                   9824 N MILAN LANE                                                                             ASHLEY            IL    62808‐3407
JOANN H SQUIER TOD ELIZABETH A CROWLEY SUBJECT   3171 WESLEY RD                                                                                BLOOMFIELD        NY    14469
TO STA TOD RULES
JOANN H WEIST                                    5729 TANAGER ST                                                                               SCHERERVILLE     IN     46375‐5304
JOANN HAMMOND                                    15311 PINE ORCHARD DR 2F                                                                      SILVER SPRING    MD     20906‐1333
JOANN HANNA & DONALD L HANNA JT TEN              310 CHAPEL CREEK DR                                                                           SANTEE           SC     29142‐9473
JOANN HARTSOOK                                   2191 TURNBULL RD                                                                              BEAVER CREEK     OH     45431‐3228
JOANN HEBERT                                     15406 MEYER AVE                                                                               ALLEN PARK       MI     48101‐2683
JOANN HINTON                                     23626 TUCK ROAD                                                                               FARMINGTON HILLS MI     48336‐2764

JOANN I HURLEY                                   299 N ATLANTIC AVE APT 101                                                                    COCOA BEACH       FL    32931
JOANN J SAUNDERS                                 4175 RICHFIELD ROAD                                                                           FLINT             MI    48506‐2027
JOANN J TRUSS                                    4059 SOWELL HOLLOW RD                                                                         COLUMBIA          TN    38401‐8406
JOANN J ZALENSKI                                 34160 CONROY COURT                                                                            FARMINGTON        MI    48335‐4122
JOANN JAENICKE & DARWIN L JAENICKE JT TEN        1232 S WILSON AVE                                                                             KANKAKEE          IL    60901‐4664
JOANN JAHON CUST MAZDAK KHAVAJIAN UGMA MI        2931 WOODLAND RIDGE                                                                           WEST BLOOMFIELD   MI    48323‐3561

JOANN JAMES                                      636 WEST ST                                                                                   NILES             OH    44446‐2654
JOANN JOHNSTON MC KOANE                          7556 FAIRWAY WOODS DRIVE                                                                      SARASOTA          FL    34238‐2858
JOANN JONES                                      2101 VAL VISTA CT                                                                             DAYTON            OH    45406‐2210
JOANN K CARPENTER                                1514 COMANCHE GLEN                                                                            MADISON           WI    53704‐1012
JOANN K CARPENTER CUST PATRICK DICKHOFF          1514 COMANCHE GLEN                                                                            MADISON           WI    53704‐1012
CARPENTER UTMA WI
JOANN K DICKHOFF                                 1514 COMANCHE GLN                                                                             MADISON           WI    53704‐1012
JOANN K DICKHOFF CARPENTER                       1514 COMANCHE GLEN                                                                            MADISON           WI    53704‐1012
JOANN KAREN HARTMAN                              4555 LORRAINE AVE                                                                             SAGINAW           MI    48604‐1039
JOANN KITCHEN                                    PO BOX 473                                                                                    LAKE ORION        MI    48361‐0473
JOANN KUELSKE                                    9805 W ARTESIA BEACH RD                                                                       ST HELEN          MI    48656‐9524
JOANN L ARRIGHI & PATRICIA R ARRIGHI JT TEN      4950 WOODSIDE                                                                                 KANSAS CITY       MO    64133‐2515
JOANN L BALIS                                    179 N COON ISLAND RD                                                                          JANESVILLE        WI    53545‐9805
JOANN L DEUEL                                    4927 APPLEWOOD DR                                                                             LANSING           MI    48917‐1568
JOANN L FRANKLIN                                 561 STANTON AVE                                                                               NILES             OH    44446‐1461
JOANN L GIRVIN                                   1046 CLUBHOUSE DR                                                                             LAKE ISABELLA     MI    48893‐9339
JOANN L MAAS                                     19090 LOS HERMANOS RANCH ROAD                                                                 VALLEY CENTER     CA    92082‐6800
JOANN L PRICE                                    4220 VALLEY LAKE TERR                                                                         COLLEGE PARK      GA    30349‐1843
JOANN L RAGLE                                    7913 PEPPERTREE DR                                                                            STOCKTON          CA    95207‐1453
JOANN L TAYLOR                                   4236 KENTRIDGE S E                                                                            GRAND RAPIDS      MI    49508‐3708
JOANN L WEBB                                     2598 JULIE DR                                                                                 COLUMBIAVILLE     MI    48421‐8911
JOANN L WHITE                                    7492 S GALLUP WAY                                                                             LITTLETON         CO    80120‐4130
JOANN LAFAYETTE‐MORENO                           2006 ADAMS BLVD                                                                               SAGINAW           MI    48602‐3005
JOANN LAY                                        17 CITATION TRAIL                                                                             CORBIN            KY    40701‐8574
JOANN LE SUEUR                                   340 RANCH RD                                                                                  JOSHUA            TX    76058‐5555
JOANN LOCKE & BRENDA JO HYMAN JT TEN             1608 SOUTH YORK RD                                                                            YORKTOWN          IN    47396‐6805
JOANN LOCKE & SCOTT ALAN LOCKE JT TEN            1608 SOUTH YORK ROAD                                                                          YORKTOWN          IN    47396‐6805
JOANN LOCKE & WILLIAM NORMAN LOCKE JT TEN        1608 SOUTH YORK ROAD                                                                          YORKTOWN          IN    47396‐6805
JOANN LOGGINS                                    52680 BASE ST                                                                                 NEW BALTIMORE     MI    48047‐4167
JOANN LORRAINE PIELS                             502 SUNSET BLVD                     NEWCASTLE ON                            L1B 1C9 CANADA
JOANN LOVALLO                                    41 TAMARACK AVE                     APT 124                                                   DANBURY           CT    06811‐4979
JOANN LYNN PARM TOD SHANE MICHAEL PARM           4248 MILAN SW                                                                                 WYOMING           MI    49509‐4425
SUBJECT TO STA TOD RULES
JOANN M ADAMS                                    1018 WEST SECOND ST                                                                           DAYTON            OH    45407‐2820
JOANN M ALONZI                                   1371 DUNDEE                                                                                   WATERFORD         MI    48327‐2005
JOANN M BERTHIAUME                               800 JANE                                                                                      PINCONNING        MI    48650‐9404
                                           09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 83 of 855
Name                                              Address1                               Address2             Address3           Address4               City               State Zip

JOANN M BYRNE CUST JOSEPH MICHAEL BYRNE UGMA      34053 SIX MILE                                                                                        LIVONIA            MI    48152‐3131
MI
JOANN M BYRNE CUST VINCENT JAMES BYRNE UGMA       34053 SIX MILE                                                                                        LIVONIA            MI    48152‐3131
MI
JOANN M CARROLL                                   6680 BONNIEVIEW RD                                                                                    CLEVELAND          OH    44143‐3507
JOANN M CASTELLO                                  257 RARITAN STREET                                                                                    SOUTH AMBOY        NJ    08879
JOANN M CHEGAN                                    720 N GRAYTOWN RD                                                                                     GRAYTOWN           OH    43432‐9705
JOANN M CRUZ                                      ATTN JOANN M BYRNE                     34053 SIX MILE                                                 LIVONIA            MI    48152‐3131
JOANN M DONAHOE                                   67 ROWE PL                                                                                            BRISTOL            CT    06010‐6715
JOANN M GALLOWAY                                  1201 VINCENT ST                                                                                       FLINT              MI    48503‐1229
JOANN M GONDOS                                    4010 WESLEY AVE                                                                                       STICKNEY           IL    60402
JOANN M HAAS                                      7550 TWIN OAKS                                                                                        MIDDLETOWN         OH    45042‐1055
JOANN M HADDAD                                    26552 HUNTERS DRIVE                                                                                   CHESTERFIELD       MI    48051
JOANN M HARDEN TOD                                3122 LACLEDE ST 1                                                                                     LINCOLN PARK       MI    48146‐3116
JOANN M HUMPHREY                                  11511 MASON ROAD                                                                                      CASTALIA           OH    44824‐9393
JOANN M HUMPHREY & DONALD D HUMPHREY JT TEN       11511 MASON ROAD                                                                                      CASTALIA           OH    44824‐9393

JOANN M LEHMAN                                    BOX 78                                                                                                WESTPHALIA         MI    48894‐0078
JOANN M MEYERS & DEBBIE A COOP & KEITH A MEYERS   1364 MC EWEN                                                                                          BURTON             MI    48509‐2129
JT TEN
JOANN M MILLER & SHAD MILLER JT TEN               10310 CHAIN OF ROCK ST                                                                                EAGLE RIVER        AK    99577‐8184
JOANN M MILLS                                     748 RILEY CENTER RD                                                                                   RILEY              MI    48041‐3507
JOANN M MONTENARO                                 116 MAINSAIL COURT                                                                                    PORT HUENEME       CA    93041
JOANN M NOVAK                                     5148 VIRBURNUM DR                                                                                     SAGINAW            MI    48603‐1172
JOANN M OSTROWSKI                                 8 PINEHURST CT                                                                                        TRENTON            NJ    08690‐1360
JOANN M PAYNE                                     596 TANVIEW DRIVE                                                                                     OXFORD             MI    48371‐4762
JOANN M SCHWARTZ                                  9316 SASHABAW ROAD                                                                                    CLARKSTON          MI    48348‐2024
JOANN M SHORE                                     E777 MORTIMER RD                                                                                      WONEWOC            WI    53968‐9661
JOANN M STONE                                     3076 MEADOW LANE N E                                                                                  WARREN             OH    44483‐2632
JOANN M STUART                                    288 RYERSONCRES                        OSHAWA ON                               L1H 8B7 CANADA
JOANN M URAM                                      5456 CASPER ST                                                                                        DETROIT            MI    48210‐2205
JOANN M VANDRO                                    33401 SHELLEY LYNNE                                                                                   STERLING HEIGHTS   MI    48312‐6047

JOANN M WHITTLE                                   160 KIBBEE ROAD                                                                                       MCDONOUGH          GA    30252‐3916
JOANN M WOODARD                                   1669 HAMPTON                                                                                          MOUNT CLEMENS      MI    48043‐3038
JOANN MARIE DILLON                                720 SOUTH ELDORADO STREET                                                                             SAN MATEO          CA    94402
JOANN MARIE FRIELINK                              8 BRAID CRESCENT                       EDINBURGH EH                            I0 6AU GREAT BRITAIN
JOANN MEAKIN                                      7542 STATE ROUTE 305                                                                                  BURGHILL           OH    44404‐9738
JOANN MENCONI & PETER MENCONI JT TEN              7015 N CALDWELL AVE                                                                                   CHICAGO            IL    60646‐1011
JOANN MENHENNICK                                  PO BOX 161                                                                                            MARQUETTE          MI    49855‐0161
JOANN MERSDORF & MARCIE MERSDORF JT TEN           909 S WEBSTER                                                                                         SAGINAW            MI    48602‐1618
JOANN METHVIN                                     815 STAFFORD AVE 14B                                                                                  BRISTOL            CT    06010‐3852
JOANN MILLER                                      3594 N PROSPECT                                                                                       YPSILANTI          MI    48198‐9482
JOANN MONTANARO                                   ATTN JOANN MONTANARO MAIER             1132 GRIMLEY LN                                                SAN JOSE           CA    95120‐4221
JOANN MOORE                                       121 WILDWOOD DR                                                                                       NEW BERN           NC    28562‐9560
JOANN MORRIS BRADY                                406 COVINGTON RD                                                                                      HAYERTOWN          PA    19083‐5526
JOANN N ALLEN                                     680 PINYAN LN                                                                                         CANTON             GA    30115‐6541
JOANN NOVAK TR UA 08/19/88 JOANN NOVAK TRUST      2650 E ELMWOOD                                                                                        MESA               AZ    85213‐6039

JOANN OLLIVER                                     15 HELEN AVE                                                                                          PEDRICKTOWN        NJ    08067‐3516
JOANN P GRONSETH                                  2617 N WASHINGTON                                                                                     SPOKANE            WA    99205‐3170
JOANN P MATHIS                                    108 SHAMROCK DR                                                                                       WALTERBORO         SC    29488‐3642
JOANN PANE                                        933 SWAN ST                                                                                           DUNKIRK            NY    14048‐3449
JOANN PONTZIOUS                                   4996 ROSY DR                                                                                          LEONARD            MI    48367‐1749
JOANN POTTER                                      402 TIDEWATER LN                                                                                      MIDDLE RIVER       MD    21220‐2382
JOANN POWELL                                      PO BOX 464                                                                                            BOLTON             MS    39041‐0464
JOANN PULVEN & PETER P PULVEN JT TEN              3933 ARTHUR AVE                                                                                       BROOKFIELD         IL    60513‐1926
JOANN PURDY                                       5820 LARKSPUR LN                                                                                      ALLENDALE          MI    49401‐9546
JOANN R ANDERSON                                  8007 COMANCHE TRL                                                                                     TEMPERANCE         MI    48182‐9217
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 84 of 855
Name                                             Address1                              Address2             Address3           Address4          City              State Zip

JOANN R CUDNIK                                   10533 PRESTON RD                                                                                BRITTON           MI    49229‐9538
JOANN R HENRY                                    5064 ST CLAIR                                                                                   DETROIT           MI    48213‐3347
JOANN R MINOR                                    2245 S RIVER RD                                                                                 SAGINAW           MI    48609‐5385
JOANN R THEYS                                    1337 NILES CORTLAND                                                                             WARREN            OH    44484
JOANN RICCA                                      2900 BAY DRIVE                                                                                  MERRICK           NY    11566‐4604
JOANN ROSENOW                                    4113 5 MILE RD                                                                                  RACINE            WI    53402‐9509
JOANN S BROWN                                    3460 TRAIL ON RD                                                                                DAYTON            OH    45439‐1148
JOANN S DUNCAN TR JOANN S DUNCAN TRUST UA        32 CROSS COUNTRY LANE                                                                           SHELBY            OH    44875‐9308
12/17/02
JOANN S FERRIS                                   7732 PARAGON COMMON CIR                                                                         DAYTON            OH    45459‐4031
JOANN S ORTEGA                                   6601 BLUEWATER RD                                                                               OKLAHOMA CITY     OK    73165
JOANN SALA                                       44 WOODLAKE DR E                                                                                WOODBURY          NY    11797‐2316
JOANN SCHMIDT                                    1911 73RD CT                                                                                    ELMWOOD PARK      IL    60707‐3724
JOANN SCOTT TR UA 06/12/86 JOANN SCOTT TRUST     7929 KILMORY CIRCLE                                                                             PORTAGE           MI    49024‐4876

JOANN SCUDDER                                    10234 LOG CABIN COURT                                                                           BRECKSVILLE       OH    44141‐3622
JOANN SHEAFFER                                   706 SHI LN                                                                                      STEVENSVILLE      MD    21666‐2414
JOANN SHELTON TR UA 03/11/2010 LOIE E SCARBRO    343 MANLY ST                                                                                    PT CHARLOTTE      FL    33953
REVOCABLE LIVING TRUST
JOANN SHERRY                                     6788 E 26TH PL                                                                                  TULSA             OK    74129‐6214
JOANN SHUTACK                                    PO BOX 31431                                                                                    MESA              AZ    85275‐1431
JOANN SKOP                                       5 WICKFORD WY                                                                                   FAIRPORT          NY    14450‐3131
JOANN SOWDERS                                    1417 ROYAL ARCHER DR                                                                            WEST CARROLLTON   OH    45449‐2331

JOANN SPERRY                                     4695 ROCKVALLEY DR NE                                                                           GRAND RAPIDS      MI    49525‐1377
JOANN STEPHENS                                   28952 OAKWOOD                                                                                   INKSTER           MI    48141‐1666
JOANN STEPHENS BATEY                             3983 DOBBINS PIKE                                                                               PORTLAND          TN    37148‐5448
JOANN SULLIVAN WILLIAMSON                        2856 36 AVE W                                                                                   SEATTLE           WA    98199‐3102
JOANN T AUGUSTINE                                8118 LONG ISLAND COURT                                                                          FAIR HAVEN        MI    48023‐2457
JOANN TADRICK                                    1128 MOODY RD                                                                                   N FT MYERS        FL    33903‐4316
JOANN TAYLOR                                     5574 DONEGAL DR                                                                                 SHOREVIEW         MN    55126‐4718
JOANN THERESA LINGARDO MENZIE                    137 WASHINGTON AVENUE                                                                           WHITE PLAINS      NY    10603‐1605
JOANN THOMAS                                     ATTN JOANN ABRAMOW                    8101 WELSHIRE BLVD                                        FORT WAYNE        IN    46815‐8731
JOANN TIFFANY                                    13887 KEIBER RD                                                                                 GREENVILLE        MI    48838‐8322
JOANN V MILES                                    6901 CLIFFWOOD PLACE                                                                            HUBER HEIGHTS     OH    45424‐2928
JOANN V TIMKEY                                   41 OLD N HILL                                                                                   ROCHESTER         NY    14617‐3228
JOANN VISLOCKY                                   143 PERSHING AVE                                                                                RIDGEWOOD         NJ    07450‐3504
JOANN W RUEGER                                   1584 ROCKLEIGH RD                                                                               CENTERVILLE       OH    45458
JOANN W SYKES                                    567 DRIVING PARK AVE                                                                            ROCHESTER         NY    14613‐1535
JOANN WALL TR UA 10/23/2006 JOANN WALL           3177 PATTERSON LAKE ROAD                                                                        PINCKNEY          MI    48169
REVOCABLE LIVING TRUST
JOANN WALLS                                      244 BASSETT AVENUE                                                                              NEW CASTLE        DE    19720
JOANN WALTERS                                    4541 KINGS HWY                                                                                  DAYTON            OH    45406‐3346
JOANN WARMAN                                     2500 MANN RD LOT #49                                                                            CLARKSTON         MI    48346‐4263
JOANN WATKINS                                    6839 PARC CHATEAU W                                                                             LITHONIA          GA    30058‐4602
JOANN WILKINS & DONALD AUSTIN WILKINS JT TEN     1501 PINETREE                                                                                   TRENTON           MI    48183‐1710

JOANN WISDOM                                     1915 SOUTH 29TH COURT                                                                           KANSAS CITY       KS    66106‐2909
JOANN WOODS                                      5660 PRAY STREET                                                                                BONITA            CA    91902‐2116
JOANN YOUNG                                      1209 43RD                                                                                       DES MOINES        IA    50311‐2501
JOANN ZBOCH                                      8997 GLASGOW DR                                                                                 WHITE LAKE        MI    48386‐3316
JOANN ZVOCH                                      7220 FAUSSETT RD                                                                                FENTON            MI    48430‐8931
JOANNA B KIELA                                   4731 84TH AVE SE                                                                                MERCER ISLAND     WA    98040‐4322
JOANNA BADINELLI                                 14913 MCKISSON CT APT E                                                                         SILVER SPRING     MD    20906‐6162
JOANNA BETH AHERONI                              314 RIVERVIEW WAY                                                                               OCEANSIDE         CA    92057‐5832
JOANNA BOHAN                                     218 TANGLEWOOD DR                                                                               LEWES             DE    19958‐9545
JOANNA BONNER                                    15300 STRICKER AVE                                                                              EASTPOINTE        MI    48021‐3615
JOANNA CATHERINE LERNER                          8370B LIBERTY RD                                                                                FREDERICK         MD    21701‐3263
JOANNA CRONIN                                    2287 MAJOR CIR                                                                                  DAVISON           MI    48423‐2047
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 85 of 855
Name                                            Address1                             Address2             Address3           Address4                City             State Zip

JOANNA DELOS FRYER & CHRISTOPHER FRYER &        20 ST JOHN'S VILLAS                  FRIERN BARNET RD     LONDON             N11 3BU GREAT BRITAIN
FRANCESCA FRYER JT TEN
JOANNA E FRIEDMAN                               811 BERKSHIRE RD                                                                                     ANN ARBOR        MI    48104‐2630
JOANNA E GIDDINGS                               21 MAPLE DR                                                                                          OLD GREENWICH    CT    06870‐1410
JOANNA EPPS                                     430 FISK DR                                                                                          DETROIT          MI    48214‐2947
JOANNA FRIEDMAN CUST REBECCA A FRIEDMAN UTMA    811 BERKSHIRE RD                                                                                     ANN ARBOR        MI    48104‐2630
FL
JOANNA HARRIS ROSS                              7152 FOREST RUN CT                                                                                   DUBLIN           OH    43017‐1015
JOANNA I TAYLOR TOD SHERMAN TAYLOR SUBJECT TO   907 STELLA ST                                                                                        MONTGOMERY CY    MO    63361‐1113
STA TOD RULES
JOANNA IRISH MCCARTY                            258 SOUTH CHURCH STREET                                                                              BOWLING GREEN    OH    43402
JOANNA J JAROS                                  18378 DAY RD                                                                                         DUNDEE           MI    48131‐9631
JOANNA K GUILLETTE                              24 SECOND ST                                                                                         BARRE            VT    05641‐2411
JOANNA K PRYDE                                  28 MORNING DR                                                                                        CENTEREACH       NY    11720
JOANNA L SAMPLES                                72 CAMP CREEK RD                                                                                     PROCIOUS         WV    25164‐9624
JOANNA L STUDER                                 1385 COUNTY RD F                                                                                     SWANTON          OH    43558‐9021
JOANNA L WYPYSZINSKI                            16 ARROWHEAD AVE                                                                                     NORTHBRIDGE      MA    01534‐1219
JOANNA M JONES                                  214 TUMBLEBROOK RD                                                                                   MERIDEN          CT    06450‐4760
JOANNA M MONTGOMERY                             850 VOLUNTEER LANDING LN             NUMBER 301                                                      KNOXVILLE        TN    37915‐2525
JOANNA M POST                                   9 SERRA LN                                                                                           MASSENA          NY    13662‐1640
JOANNA M SERWANSKI                              8747 GOLDEN ROSE DR                                                                                  ORLAND PARK      IL    60462‐5693
JOANNA MACKLE                                   C/O M A EVE                          PO BX 658                                                       NEW LONDON       NH    03257‐0658
JOANNA MARIE GAGAN                              37910 WESTWOOD CIRCLE #205                                                                           WESTLAND         MI    48185
JOANNA MAYHEW & EDWIN J MAYHEW JT TEN           4470 N HILLCREST CIRCLE                                                                              FLINT            MI    48506‐1400
JOANNA N TUZZEO                                 2 CHESHIRE LANE                                                                                      ROCHESTER        NY    14624‐2957
JOANNA NICHOLS                                  3999 EAST 41ST STREET                                                                                CLEVELAND        OH    44105‐3168
JOANNA NORMAN                                   1708 ROYAL OAK ST                                                                                    WYOMING          MI    49509‐3350
JOANNA P MIHALIS                                2039 SCOTLAND DR                                                                                     CLEARWATER       FL    33763‐1338
JOANNA POLK                                     4681 CHALMERS ST                                                                                     DETROIT          MI    48215‐2164
JOANNA R DE TROIA                               C/O J MORRELL                        1238 EAGLE CT                                                   TOMS RIVER       NJ    08755‐2207
JOANNA R GERRIB                                 509 MACK ST                                                                                          WESTVILLE        IL    61883
JOANNA R MCDONALD & STEVEN N JOHNSON HEIRS AT   3122 EMERALD BLVD                                                                                    KOKOMO           IN    46902‐4795
LAW
JOANNA REED SHELTON                             11275 SCHOOLHOUSE LN                                                                                 MOIESE           MT    59824‐9419
JOANNA S SHULL                                  249 RI AVE                                                                                           MASSAPEQUA       NY    11758‐4241
JOANNA S STOKES                                 29 MELROSE PLACE                                                                                     MONTCLAIR        NJ    07042‐2531
JOANNA SALINSKI                                 306 CANVASBACK RD                                                                                    MIDDLETOWN       DE    19709‐9147
JOANNA SASSO MILLER SUCCESSOR TR UW VIOLA E     215 ANSTICE STREET                                                                                   OYSTER BAY       NY    11771‐3512
WINKLER
JOANNA SCHICK                                   17 LA COSTA DR                                                                                       HOLIDAY ISLAND   AR    72631
JOANNA T BIEGALSKI                              29465 BARTON                                                                                         GARDEN CITY      MI    48135‐2651
JOANNE A GEIS                                   1572 GLACIER RD                                                                                      OCEANSIDE        CA    92056‐1828
JOANNE A PARSONS CUST SUSAN E PARSONS UTMA NJ   470 HUNTER ROAD                                                                                      RIDGEWOOD        NJ    07450‐5516

JOANNE A WALKER CLAYTON                         721 E BENSON STREET                                                                                  HERRIN           IL    62948
JOANNE A WEAVER                                 33 BOURBON RED DR                                                                                    MECHANICSBURG    PA    17050‐7952
JOANNE ADLER SLEEPER                            108 FROST HILL RD                                                                                    PORTLAND         ME    04103‐2255
JOANNE ALICE BARFETT                            133 BRIDGE PATH                      STRATAROY ON                            N7G 4K2 CANADA
JOANNE ALICE PUELO & RICHARD PULEO JT TEN       419 CONCORD ST                                                                                       EL SEGUNDO       CA    90245‐3723
JOANNE ANDREWS CUST JACOB ANDREWS UTMA MA       58 BOWEN ST                                                                                          NEWTON           MA    02459‐1820

JOANNE ATHEY                                 RT #1 BOX 74‐A                                                                                          MINERAL WELLS    WV    26150‐9328
JOANNE B ARENA & LOUIS A ARENA JT TEN        4652 DARTMOOR DR                                                                                        WILMINGTON       DE    19803‐4808
JOANNE B COLE                                14103 JACKSON                                                                                           TAYLOR           MI    48180‐5391
JOANNE B DILLON & HARRY E DILLON JT TEN      1071 CATALINA DR W                                                                                      NEW PALESTINE    IN    46163‐9676
JOANNE B HAGEN                               2723 SHIPLEY RD                         APT 106                                                         WILMINGTON       DE    19810‐3296
JOANNE B MCKENNA                             785 HYDE PARK DR                                                                                        DAYTON           OH    45429‐5837
JOANNE B MORGANDALE & DONALD J MORGANDALE JT 26 WEST WATER ST                                                                                        WELLSBORO        PA    16901‐1015
TEN
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 86 of 855
Name                                             Address1                            Address2             Address3           Address4          City               State Zip

JOANNE B NAVARRO                                 2616 GUYNN AVE                                                                                CHICO              CA    95973‐8775
JOANNE B PARENTI                                 150 SCHILLER AVE                                                                              ELMHURST           IL    60126‐2859
JOANNE B PIKE                                    W 4541 ELEANORE LN                                                                            FOND DU LAC        WI    54935‐9654
JOANNE B SKIDMORE                                4245 WAYLAND RD                                                                               DIAMOND            OH    44412‐9707
JOANNE B STEVENS                                 APT 711                             10 W 15 ST                                                NEW YORK           NY    10011‐6822
JOANNE B WOOD                                    PO BOX 1193                                                                                   DARIEN             GA    31305‐1193
JOANNE BARNES                                    402 REDWOOD CT                                                                                KOKOMO             IN    46902‐3694
JOANNE BENZONI                                   BOX 26                              224 COUNTY RD                                             TENAFLY            NJ    07670
JOANNE BLISS & JAMES BLISS JT TEN                14327 SOLBERG RD SE                                                                           YELM               WA    98597‐9178
JOANNE BOJESKI & GERALD BOJESKI JT TEN           12820 W PHEASANT COURT                                                                        LOCKPORT           IL    60441‐9085
JOANNE BOSTON                                    1704 KINGSLEY                                                                                 ANDERSON           IN    46011‐1014
JOANNE BOUROUE                                   18 MILNE ST                         ESSEX ON                                N8M 1K9 CANADA
JOANNE BUMSTEAD                                  3558 W COYOTE XING                                                                            DOUGLAS            AZ    85607
JOANNE BUTTERBRODT                               505 FNICH DR                                                                                  EDGEWATER          FL    32141‐4129
JOANNE C AGOSTINO & JOHN C AGOSTINO JT TEN       31 ANDERSEN ROAD                                                                              BRAINTREE          MA    02184‐5316
JOANNE C BARNS                                   2 LEE DRIVE                                                                                   POLAND             OH    44514‐1963
JOANNE C BELLENGER                               2436 E NORTHSIDE DRIVE                                                                        JACKSON            MS    39211‐4924
JOANNE C BRICKER                                 3843 BARRINGTON APT 142 K                                                                     SAN ANTONIO        TX    78217‐4109
JOANNE C BROWN                                   6163 S ORANGE BLOSSOM TRL                                                                     ORLANDO            FL    32809‐4609
JOANNE C CLIFFORD                                2822 MARCUS DR                                                                                TROY               MI    48083‐2434
JOANNE C DABERKOW TR JOANNE C DABERKOW LIVING    33116 GLENWOOD COURT                                                                          NORTH RIDGEVILLE   OH    44039‐4380
TRUST UA 01/04/94
JOANNE C HOOVER                                  2420 BALBOA TER                                                                               NELTONA            FL    32738‐5108
JOANNE C LONG                                    10359 PENINSULA DRIVE                                                                         STANWOOD           MI    49346
JOANNE C MCDONALD                                C/O JOANNE SCHLUETER                420 PHILLIPS AVE                                          GLEN ELLYN         IL    60137‐4912
JOANNE C MCGILL                                  5259 MEADOW WOOD BLVD                                                                         CLEVELAND          OH    44124‐3725
JOANNE C MUNOZ                                   6815 BROOKFIELD                                                                               SAN ANTONIO        TX    78238‐3006
JOANNE C POWELL                                  518 BOWERS CT                                                                                 CIRCLEVILLE        OH    43113‐1175
JOANNE C PRESTON & RICHARD A PRESTON JR JT TEN   9730 N RIVER RD                                                                               FREELAND           MI    48623‐9528

JOANNE C ROBERTSON & COLL E ROBERTSON JT TEN     8165 NEW PORT RD                                                                              JACKSONVILLE       FL    32244‐1218

JOANNE C SCHARF                                  184 ARIZONA AV                                                                                ROCHESTER HILLS    MI    48309‐1558
JOANNE C SMITH                                   19328 BURGESS                                                                                 DETROIT            MI    48219‐1887
JOANNE C STANISLAWSKI                            6219 W 124TH PL                                                                               PALOS HEIGHTS      IL    60463‐1863
JOANNE C SWONK                                   10481 SKEMAN RD                                                                               BRIGHTON           MI    48114‐8634
JOANNE C THUROW                                  32801 US HIGHWAY 441 N              LOT 49                                                    OKEECHOBEE         FL    34972‐0281
JOANNE CANDELA                                   43194 HILLSBORO                                                                               CLINTON TWP        MI    48038
JOANNE CARLSON & J RICHARD CARLSON JT TEN        1262 ASHOVER                                                                                  BLOOMFIELD HILLS   MI    48304

JOANNE CAROLYN SWANSON                           3184 LOVEROCK AVE                                                                             STEGER             IL    60475
JOANNE CASEY RAY TR UA 11/20/2008 JOANNE CASEY   2326 E ALDEN AVE                                                                              ANAHEIM            CA    92806
RAY REVOCABLE TRUST
JOANNE CHAZEN                                    4815 HARLEM RD                                                                                AMHERST            NY    14226‐3812
JOANNE CHRISTFIELD DESIEN                        4686 N LAKE DRIVE                                                                             WHITEFISH BAY      WI    53211‐1254
JOANNE CLARK                                     3986 WOODVALLEY CT                                                                            AIKEN              SC    29803‐9292
JOANNE CLYNE CUST DAVID ALLEN CLYNE UGMA IL      5910 WOODRIDGE OAKS                                                                           SAN ANTONIO        TX    78249‐3324

JOANNE CLYNE CUST JENNIFER ANNE CLYNE UGMA IL    5910 WOODRIDGE OAKS                                                                           SAN ANTONIO        TX    78249‐3324

JOANNE CONNER                                    160 AMHERST DR                                                                                BAYVILLE           NJ    08721‐1503
JOANNE COOPER & BARRY UNGER JT TEN               14 PETAL POINTE                     BRAMPTON ON                             L6S 5E6 CANADA
JOANNE COSBY ASHBY                               1236 E STATE ST                                                                               OAKLAND            MD    21550‐1923
JOANNE D CASE                                    5018 ESCARPMENT DR                                                                            LOCKPORT           NY    14094‐9748
JOANNE D CONNOLLY                                17505 SW 84TH AVE                                                                             PALMETTO BAY       FL    33157
JOANNE D CURRY                                   658 HILLCREST BLVD                                                                            PHILLISPBURG       NJ    08865‐1411
JOANNE D GOLDFARB TOD ILENE R GOLDFARB SUBJECT   2370 TRAYMORE ROAD                                                                            UNIVERSITY HT      OH    44118
TO STA TOD RULES
JOANNE D IAGULLI                                 5185 OAKCREST AVE                                                                             AUSTINTOWN         OH    44515‐3943
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 87 of 855
Name                                             Address1                               Address2                Address3        Address4          City               State Zip

JOANNE D NISBETT                                 2968 CALDWELL LN                                                                                 GENEVA             IL    60134‐4486
JOANNE D SCHEUERMAN                              C/O JOANNNE D AMATO                    103 EDGEBROOK EST CIR                                     FRANKFORT          NY    13340‐3620
JOANNE D TALBOTT                                 15240 W AMELIA DR                                                                                GOODYEAR           AZ    85338‐8812
JOANNE D WRIGHT & MICHAEL C WRIGHT JT TEN        1195 LEMPI DR                                                                                    DAVISON            MI    48423‐2880
JOANNE D WRIGHT & MICHAEL C WRIGHT JT TEN        1195 LEMPI DR                                                                                    DAVISON            MI    48423‐2880
JOANNE DALE ARFT                                 3624 NOBLE DR                                                                                    DEXTER             MI    48130‐9202
JOANNE DARR CUST CHARLES E DARR UGMA MI          8668 N CHRISTINE                                                                                 BRIGHTON           MI    48114‐8933
JOANNE DARR CUST JENNIFER C DARR UGMA MI         8668 N CHRISTINE                                                                                 BRIGHTON           MI    48114‐8933
JOANNE DE CECCHIS                                127 W MAIN ST                          UNIT 305                                                  TARRYTOWN          NY    10591‐7503
JOANNE DEMPSEY                                   25 S MUNROE TERR                                                                                 DORCHESTER         MA    02122‐2520
JOANNE DENNEY                                    4334 MCWHINNEY BLVD                    UNIT 518                                                  LOVELAND           CO    80538‐8751
JOANNE DIAMANTIS                                 1126 EARL AVE                                                                                    SCHENECTADY        NY    12309‐5622
JOANNE DMOCH & THOMAS DMOCH JT TEN               15 AMBOY LN                                                                                      LAKE GROVE         NY    11755‐2526
JOANNE DURCAN                                    21 JUDY LN                                                                                       MANSFIELD          MA    02048‐2755
JOANNE E BOZZI CUST JEFFREY J BOZZI UGMA PA      650 MERION SQ RD                                                                                 GLADWYNE           PA    19035‐1504
JOANNE E BROWN                                   BOX 692                                MORRISBURG ON                           K0C 1X0 CANADA
JOANNE E CARLE                                   19722 QUIET BAY LN                                                                               HUNTINGTON         CA    92648‐2616
                                                                                                                                                  BEACH
JOANNE E CARSON                                  315 LINCOLN AVENUE                                                                               WILLIAMSPORT       PA    17701‐2331
JOANNE E CONROY                                  87 WHITMAN ROAD                                                                                  YONKERS            NY    10710‐1713
JOANNE E GRADY                                   2630 STONEHENGE COURT                                                                            ALTANTA            GA    30360‐1946
JOANNE E GRIMSLEY                                1421 BUCKNELL RD                                                                                 WILMINGTON         DE    19803‐5113
JOANNE E HEARRELL                                4045 SENOUR ROAD                                                                                 INDIANAPOLIS       IN    46239‐9344
JOANNE E JONES CUST CHRISTIANA M JONES UTMA WA   BOX 3736                                                                                         SEATTLE            WA    98124‐3736

JOANNE E JONES CUST JENNIFER E JONES UTMA WA     BOX 3736                                                                                         SEATTLE            WA    98124‐3736

JOANNE E KELLER                                  3120 DAKOTA AVE                                                                                  FLINT              MI    48506‐3026
JOANNE E MCKAY                                   650 E VISTA RIDGE MALL DR              APT 836                                                   LEWISVILLE         TX    75067‐4063
JOANNE E MEISTER & KENNETH W MEISTER JT TEN      8811 NORWICH                                                                                     LIVONIA            MI    48150‐3618
JOANNE E NOTMAN                                  BOX 692                                MORRISBURG ON                           K0C 1X0 CANADA
JOANNE E O'BRIEN                                 21 LEONARD CIRCLE                                                                                MEDFORD            MA    02155‐1823
JOANNE E PARPART                                 642 S CADILLAC CIR                                                                               ROMEOVILLE         IL    60446‐5231
JOANNE E PRIEUR                                  31424 COUSINO DR                                                                                 WARREN             MI    48092‐1796
JOANNE E RASKOPF                                 C/O JOANNE E HORN                      PO BOX 128                                                OLCOTT             NY    14126‐0128
JOANNE E ROZEK                                   2208 S VAN BUREN                                                                                 REESE              MI    48757‐9230
JOANNE E SNELL CUST CHRISTINE MARIE SNELL UGMA   401 AUGUSTA DR                                                                                   LEADVILLE          CO    80461‐9456
NY
JOANNE E SPANGLER                                524 KELLY LAKE RD                                                                                ONSTED             MI    49265‐9780
JOANNE E SYKES                                   PO BOX 156                                                                                       BETHANY            WV    26032‐0156
JOANNE E THORNBER                                10 E WINDSOR HILLS CIR                                                                           THE WOODLANDS      TX    77384‐4693
JOANNE E WENGLER                                 BOX 182                                                                                          NEW MILFORD        CT    06776‐0182
JOANNE EASTRIDGE                                 HC65 BOX 50                                                                                      FOREST HILL        WV    24935
JOANNE ELAINE PLACIDO                            8401 EIGHTEEN MILE                     APT D‐61                                                  STERLING HEIGHTS   MI    48313‐3038

JOANNE F BECKLEY & MICHAEL G BECKLEY JT TEN      2302 E TOBIAS RD                                                                                 CLIO             MI      48420‐7904
JOANNE F CARR                                    PO BOX 957                                                                                       HARVARD          MA      01451‐0957
JOANNE F CLYNE                                   5910 WOODRIDGE OAKS                                                                              SAN ANTONIO      TX      78249‐3324
JOANNE F FUCCI                                   429 N DRAKE ST                                                                                   TITUSVILLE       PA      16354‐1814
JOANNE F ROSS                                    PO BOX 51664                                                                                     NEW ORLEANS      LA      70151‐1664
JOANNE F SMITH                                   5808 FACULTY                                                                                     LAKEWOOD         CA      90712‐1206
JOANNE F VANCOR                                  199 WOODCLIFF RD                                                                                 NEWTON           MA      02461‐1842
JOANNE FAITH KORN ROWE                           28665 APPLE BLOSSOM LANE                                                                         FARMINGTON HILLS MI      48331‐2403

JOANNE FARLEY                                    131 MCCUTCHEON AVENUE                                                                            SAYREVILLE         NJ    08872‐1052
JOANNE FERRANTE CUST MARK V FERRANTE UGMA IL     1811 W ROSCOE                                                                                    CHICAGO            IL    60657‐1027

JOANNE FLORENCE CLYNE                            5910 WOODRIDGE OAKS                                                                              SAN ANTONIO        TX    78249‐3324
JOANNE FRATTEROLO                                67 BARBERRY DRIVE                                                                                OCEAN              NJ    07712‐8553
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 88 of 855
Name                                            Address1                                Address2               Address3         Address4          City              State Zip

JOANNE G HALL & DONALD E HALL JT TEN            922 RT 63                                                                                         WESTMORELAND      NH    03467‐4227
JOANNE G JEZOWSKI                               2804 DANAK DR                                                                                     BAY CITY          MI    48708‐8427
JOANNE G PETERSEN                               C/O J G RUDOLPH                         3105 S 53RD ST                                            MILWAUKEE         WI    53219‐4521
JOANNE G STAMBAUGH                              34 LITTLE KNOLL DR                                                                                HANOVER           PA    17331‐9277
JOANNE GALUSHA                                  113 CREIGHTON LN                                                                                  ROCHESTER         NY    14612‐2203
JOANNE GRACE BLAHA EMRICK                       1520 N EVERY RD                                                                                   MASON             MI    48854‐9468
JOANNE GREAR                                    170 COLORADO                                                                                      HIGHLAND PARK     MI    48203‐3304
JOANNE H AMBROSE                                2658 CHURCHILL DRIVE                                                                              THOMPSONS         TN    37179‐5219
                                                                                                                                                  STATION
JOANNE H CARDALL                                5809 MEADOWOOD DR                                                                                 MADISON           WI    53711‐4209
JOANNE H CHEASLEY & GAIL S MALLARY JT TEN       111 CHAPEL HILL DR                                                                                NEWARK            DE    19711‐3841
JOANNE H JESKEY                                 4050 BEACH DR                                                                                     ORCHARD LAKE      MI    48326
JOANNE H KEENAN                                 1429 CHEROKEE CIRCLE                                                                              SEVIERVILLE       TN    37862‐5120
JOANNE H MERONEY                                12270 CORTE SABIO                       UNIT 6206                                                 SANDIEGO          CA    92128‐4589
JOANNE H MORSE & JUDSON L MORSE II JT TEN       1415 FIFTH STREET                                                                                 BAY CITY          MI    48708‐6139
JOANNE H MURPHY CUST ERIN MARIE MURPHY UGMA     612 KENTUCKY                                                                                      ROCHESTER HILLS   MI    48307‐3732
MI
JOANNE H MURPHY CUST SHANNON E MURPHY UGMA      612 KENTUCKY                                                                                      ROCHESTER HILLS   MI    48307‐3732
MI
JOANNE H NOACK                                  4647 N THOMAS RD                                                                                  FREELAND          MI    48623‐8855
JOANNE H RANDOLPH                               233 WEBSTER RD                                                                                    WEBSTER           NY    14580‐9590
JOANNE H STANCEL                                1611 VAN WAGONER DR                                                                               SAGINAW           MI    48603‐4488
JOANNE H STROUP                                 148 MAPLE STREET                                                                                  CORTLAND          OH    44410‐1223
JOANNE HAMBURGER                                6537 BOTICELLI DR                                                                                 LAKE WORTH        FL    33467‐7037
JOANNE HOLLINGSHEAD CUST KEITH R HOLLINGSHEAD   840 SHORE ROAD                                                                                    LONG BEACH        NY    11561‐5405
UGMA NY
JOANNE HORTON HARDY                             800 PIPPIN HOLLOW RD                                                                              ERWIN             TN    37650‐4153
JOANNE HUBBARD RYNSKI                           7452 TWIN LAKES RD                                                                                PERRYSBURG        OH    43551‐4585
JOANNE I GACE                                   27738 ROAN                                                                                        WARREN            MI    48093‐4660
JOANNE I HENRY                                  6307 LAURENTIAN CT                                                                                FLINT             MI    48532‐2039
JOANNE I KIPP & MELVIN KIPP JT TEN              13337 LAKE SHORE DR                                                                               FENTON            MI    48430‐1021
JOANNE J HOM                                    308 MARIETTA DRIVE                                                                                SAN FRANCISCO     CA    94127‐1846
JOANNE J HUNTINGTON                             405 FOREST                                                                                        EATON RAPIDS      MI    48827‐1519
JOANNE J JOHNSON                                2403 HWY 169                                                                                      ALGONA            IA    50511‐7158
JOANNE J NARESKI TR JOANNE J NARESKI TRUST UA   4648 23RD ST                                                                                      WYANDOTTE         MI    48192‐6909
11/28/94
JOANNE J RONGO                                  PO BOX 40793                                                                                      PROVIDENCE        RI    02940‐0793
JOANNE J WADE                                   150 LILBURNE                                                                                      YOUNGSTOWN        OH    44505‐4858
JOANNE JACOBS                                   204 TENNYSON                                                                                      HIGHLAND PARK     MI    48203‐3572
JOANNE JENCSON                                  6812 GLENELLA DRIVE                                                                               SEVEN HILLS       OH    44131‐3635
JOANNE JONES CUST CHRISTIANA M JONES UTMA OR    4538 FERNCROFT RD                                                                                 MERCER ISLAND     WA    98040‐3820

JOANNE JONES CUST JENNIFER E JONES UTMA OR      4538 FERNCROFT RD                                                                                 MERCER ISLAND     WA    98040‐3820
JOANNE K B GILLEASE                             15 MCMULLEN FARM LN                                                                               WEST CHESTER      PA    19382‐7091
JOANNE K BERRY & HOWARD C BERRY JT TEN          805 HIGHFIELD DR                                                                                  NEWARK            DE    19713‐1103
JOANNE K DANKERT                                1185 EVERGREEN TRL                                                                                ADRIAN            MI    49221‐8454
JOANNE K FEHR                                   C/O JOANNE F RANSON                     1219 PINE GROVE ROAD                                      MORRISVILLE       PA    19067‐3307
JOANNE K FIGGE                                  13011 DUVAL DR                                                                                    FISHERS           IN    46037‐8169
JOANNE K GEAKE CUST ERIC JON GEAKE UGMA MA      PO BOX 607                                                                                        EAST SANDWICH     MA    02537‐0607

JOANNE K LADIO                                  215 W SUMMIT ST                                                                                   CHELSEA           MI    48118‐1243
JOANNE K MORSE                                  626 S 5TH STREET                                                                                  COLUMBUS          OH    43206‐1269
JOANNE K MULLEN                                 9 HAMPTON RD                                                                                      DARIEN            CT    06820‐5121
JOANNE K PEARSON                                7117 E 69TH                                                                                       TULSA             OK    74133‐7704
JOANNE K SNYDER                                 175 RIVERSIDE DR APT 8G                                                                           NEW YORK          NY    10024‐1616
JOANNE KABASIN                                  229 BELMORE WAY                                                                                   ROCHESTER         NY    14612‐2372
JOANNE KAISER CUST TROY J PODEVELS UTMA WI      N16489 CARDINAL AVE                                                                               OWEN              WI    54460‐9177
JOANNE KALTSAS                                  14344 HERITAGE ST                                                                                 WYANDOTTE         MI    48192‐7816
JOANNE KEEFER                                   280 RAYMOND ST                                                                                    WARREN            OH    44483‐1154
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 89 of 855
Name                                           Address1                               Address2                     Address3   Address4          City               State Zip

JOANNE KENNEDY                                 102 WESTCHESTER                                                                                  LUFKIN           TX      75901‐7322
JOANNE KROK DUNHAM & DAVID DUNHAM TEN ENT      110 EAST CLARENDON ST                                                                            PROSPECT HEIGHTS IL      60070‐1536

JOANNE L AUSTIN                                309 WOODCLIFF RD                                                                                 RALEIGH          NC      27609‐7029
JOANNE L B FINNEY                              163 EAST 81ST STREET                                                                             NEW YORK         NY      10028‐1806
JOANNE L CLARK                                 ATTN JOANNE L COWAN                    416 E CHURCH STREET                                       ORFORDVILLE      WI      53576‐9634
JOANNE L COLLINS                               33462 FOREST CT                                                                                  WESTLAND         MI      48185‐2822
JOANNE L COOK                                  7501 NED CT                                                                                      FRANKLIN         OH      45005‐4139
JOANNE L DAMICO                                135 SPOONBILL HOLLOW CIRCLE                                                                      BAYVILLE         NJ      08721‐1393
JOANNE L DAVIDSON                              4429 CARMANWOOD DRIVE                                                                            FLINT            MI      48507‐5652
JOANNE L DOTY                                  28 UTICA                                                                                         PONTIAC          MI      48341‐1171
JOANNE L EASON                                 236 HANDING DRIVE                                                                                SOUTH ORANGE     NJ      07079‐1337
JOANNE L GALUPPO                               105 WILLRY ST                                                                                    WOODBRIDGE       NJ      07095‐2440
JOANNE L GOLDSWORTHY                           800 LUDLOW                                                                                       ROCHESTER        MI      48307‐1309
JOANNE L JAMROZ & ERMA P JAMROZ JT TEN         38135 SADDLE LANE                                                                                CLINTON TOWNSHIP MI      48036‐1778

JOANNE L JOYNER                                156 SOUTH GENESEE                                                                                PONTIAC          MI      48341‐1907
JOANNE L MAJOR                                 6076 AVON BELDEN ROAD                                                                            NORTH RIDGEVILLE OH      44039‐1363

JOANNE L MARTIN                                  C/O JOANNE L KROODSMA                6123 BITTERSWEET DRIVE N E                                BELMONT            MI    49306‐9652
JOANNE L MCMILLAN                                2216 BRADY AVE                                                                                 BURTON             MI    48529‐2427
JOANNE L NEIL TR UA 07/01/94 ERMA P JAMROZ TRUST 38135 SADDLE LN                                                                                CLINTON TWP        MI    48036

JOANNE L PHILLIPS                              628 WINDWARD DR                                                                                  BEACHWOOD          NJ    08722‐4736
JOANNE L RANVILLE                              1102 DEER CREEK TRAIL                                                                            GRAND BLANC        MI    48439‐9262
JOANNE L ROCHEVOT                              705 SANDRA LN                          APT 270                                                   N TONAWANDA        NY    14120‐6496
JOANNE L SIEVEWRIGHT                           1088 RIVERS TERRACE RD                                                                           GLADWIN            MI    48624‐8054
JOANNE L SPISAK & FRANCIS SPISAK JT TEN        10711 FINCHERIE DR                                                                               CHARDON TWP        OH    44024‐8731
JOANNE L TOMASZEWSKI & THOMAS A TOMASZEWSKI    11514 LUMPKIN                                                                                    HAMTRAMCK          MI    48212‐2908
JT TEN
JOANNE L WRIGHT                                1875 W KAVANAGH AVE                                                                              TRACY              CA    95376‐0747
JOANNE LATTA                                   56 DIANA DR                                                                                      BLACK MOUNTAIN     NC    28711

JOANNE LAUDERDALE                              #2 CROWN PLACE                                                                                   RICHARDSON       TX      75080‐1603
JOANNE LEDTE HUCKABY                           298 SCRIBNER HILL RD                                                                             OTISFIELD        ME      04270‐6202
JOANNE LIBERTI                                 197 RUTGERS AVE                                                                                  MANAHAWKIN       NJ      08050‐2947
JOANNE LOFSTROM                                ATTN JOANNE LOFSTROM FARMER            3429 LOGGERWOOD CT                                        DAYTON           OH      45414
JOANNE LOUISE WALTON                           7331 WOODSHIRE AVE                                                                               CHESAPEAKE BEACH MD      20732‐3125

JOANNE LYNN DUNCAN                           60440 ELEVEN MILE RD                                                                               S LYON             MI    48178‐8911
JOANNE M AUSSEM CUST CHRISTOPHER AUSSEM UTMA 1609 SAN JOSE FOREST DR                                                                            ST AUGUSTINE       FL    32084‐5425
FL
JOANNE M BALLAS                              2336 RAILROAD ST                                                                                   NEWTON FALLS       OH    44444‐1869
JOANNE M BANGERT & JESSICA M BANGERT JT TEN  8801 VALLEYFIELD RD                                                                                TIMONIUM           MD    21093‐4022

JOANNE M BARNARD                               115 NORTH MAIN ST                                                                                WET BOYLSTON       MA    01583‐1131
JOANNE M BLAKE CUST JAMES P BLAKE UTMA MA      21 OLDE MEADOW RD                                                                                MARION             MA    02738
JOANNE M BOMMARITO                             C/O JOANNE M SOKOL                     32952 SUMMERS                                             LIVONIA            MI    48154‐4142
JOANNE M BORSCHEL                              72 DIANE DR                                                                                      WEST SENECA        NY    14224‐1511
JOANNE M BROMLEY                               66 CONTINENTAL AVE                                                                               LOCKPORT           NY    14094‐5204
JOANNE M CASSIDY                               63 SOUTH ST                                                                                      S YARMOUTH         MA    02664
JOANNE M CASTIGLIA                             ATTN JOANNE M MURRAY                   1078 LINDEN ST                                            CLERMONT           FL    34711‐2841
JOANNE M CONNOLLY                              3028 FIELDCREST LANE                                                                             TOMS               NJ    08755‐2559
JOANNE M CRAWFORD TR JOANNE M CRAWFORD         9235 N TIMBER LN                                                                                 PEORIA             IL    61615‐1415
TRUST UA 03/05/99
JOANNE M CULP                                  3867 UNION ST                                                                                    NORTH CHILI        NY    14514
JOANNE M DOSH                                  5146 E FRANCES RD                                                                                MT MORRIS          MI    48458‐9750
JOANNE M DUNN & MARY L GADIOLI JT TEN          14345 BROOKING                                                                                   STERLING HEIGHTS   MI    48313‐5416
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 90 of 855
Name                                              Address1                            Address2             Address3           Address4          City               State Zip

JOANNE M ELLIS                                    4825 THOMPSON RD                                                                              CLARENCE           NY    14031‐1489
JOANNE M ERSKINE & ROBERT A ERSKINE JR JT TEN     43 BLOOD RD                                                                                   METAMORA           MI    48455‐9371

JOANNE M ESTEY & KENNETH B ESTEY JT TEN           PO BOX 493                                                                                    HANCOCK            ME    04640‐0493
JOANNE M EYSSEN                                   30045 SEQUOIA TRAIL                                                                           WEST LAKE          OH    44145‐5157
JOANNE M FALKE & MEGAN L FALKE JT TEN             2668 DONNA DR                                                                                 WILLIAMSTON        MI    48895‐9575
JOANNE M FENSKE                                   11032 N HIGHVIEW DR 1 E                                                                       MEQUON             WI    53092‐5806
JOANNE M FERGUSON                                 28638 CROMWELL                                                                                NEW BALTIMORE      MI    48047‐3728
JOANNE M FERNANDES                                2509 FOXX CREEK                                                                               RUSTON             LA    71270‐2512
JOANNE M FONT                                     17601 ROAD 168                                                                                PAULDING           OH    45879‐9040
JOANNE M FRAWLEY                                  7 DUNWATSON DRIVE                   TORONTO ON                              M1C 3L8 CANADA
JOANNE M FRAWLEY                                  7 DUNWATSON DR                      TORONTO ON                              M1C 3L8 CANADA
JOANNE M GADIOLI & MARY L GADIOLI JT TEN          14345 BROOKINGS                                                                               STERLING HEIGHTS   MI    48313‐5416

JOANNE M GARVEY                               16 KENSINGTON CT                                                                                  KENSINGTON         CA    94707‐1010
JOANNE M GRAY TOD CHRISTOPHER A GRAY          541 1/2 EAST AVE                                                                                  TALLMADGE          OH    44278
JOANNE M GRAY TOD DAWN M GRAY                 541 1/2 EAST AVE                                                                                  TALLMADGE          OH    44278
JOANNE M GRAY TOD TAMARA L GRAY               541 1/2 EAST AVE                                                                                  TALLMADGE          OH    44278
JOANNE M HADDAD                               9108 CASTLEBAR WAY                                                                                SACRAMENTO         CA    95826
JOANNE M HALAPIN                              15221 WINDEMERE STREET                                                                            SOUTHGATE          MI    48195‐3820
JOANNE M HARTE                                6144 NORTHRIDGE HILLS DR                                                                          BRIGHTON           MI    48116‐3754
JOANNE M HAUS                                 195 MOUNT LEBANON BLVD                  APT 105                                                   MOUNT LEBANON      PA    15228‐1840
JOANNE M HOEY                                 33 E CENTENNIAL DR                                                                                MEDFORD            NJ    08055‐8138
JOANNE M JENSEN                               1103 BEATRICE                                                                                     FLUSHING           MI    48433‐1720
JOANNE M JONES                                937 PHILELLENA ST                                                                                 PHILADELPHIA       PA    19150‐3605
JOANNE M KAUFMAN                              215 LOUVAINE DR                                                                                   KENMORE            NY    14223‐2757
JOANNE M KELLER                               3729 BEEBE ROAD                                                                                   NEWFANE            NY    14108‐9660
JOANNE M KOPECKY                              13079 MEADOWLARK AVE                                                                              GRANADA HILLS      CA    91344‐1230
JOANNE M KOWAL                                15801 BRIDAL PATH CT                                                                              CLINTON TWP        MI    48035‐1006
JOANNE M KRIEGE CUST BENJAMIN KRANNER UTMA WI 7679 GREENWOOD RD                                                                                 VERONA             WI    53593‐9576

JOANNE M KURBIS                                   2829 NORDIC AV                                                                                KALAMAZOO          MI    49004‐2160
JOANNE M LAKOSIL TR UA 02/06/2008 JOANNE M        20721 CRESTMONT                                                                               DEARBORN HTS       MI    48127
LAKOSIL LIVING TRUST
JOANNE M LANE                                     13751 NW 23RD ST                                                                              PEMBROKE PINES     FL    33028‐2624
JOANNE M LANGLEY TR HELEN B PERRY TRUST UA        1505 NE 82ND TERR                                                                             KANSAS CITY        MO    64118‐8252
01/22/91
JOANNE M MAGDA                                    PO BOX 31‐0318                                                                                DETROIT            MI    48231‐0318
JOANNE M MAGDA & JOHN J MAGDA JT TEN              PO BOX 31‐0318                                                                                DETROIT            MI    48231‐0318
JOANNE M MARSH CUST KRISTOPHER P MARSH UGMA       1551 PINECREST RD                                                                             FORT MYERS         FL    33919‐6429
TN
JOANNE M MARSH CUST SHANNON J MARSH UGMA TN       1551 PINECREST RD                                                                             FORT MYERS         FL    33919‐6429

JOANNE M MARSH CUST SHANNON J MARSH UTMA TN 1551 PINECREST RD                                                                                   FORT MYERS         FL    33919‐6429

JOANNE M MC NULTY                                 406 ELLEN RD                                                                                  MARSHALL           MI    49068
JOANNE M MOORE                                    57 CEDAR STREET                                                                               HOLLISTON          MA    01746‐1230
JOANNE M O'FARRELL & MICHAEL O'FARRELL JT TEN     1605 KELLY RD                                                                                 WHITTEMORE         MI    48770

JOANNE M PELTON                                   44124 WINTHROP DR                                                                             NOVI               MI    48375‐3255
JOANNE M PIEPOL TOD DIANE M PIEPOL SUBJECT TO     123 FLORENCE AVE                                                                              ARLINGTON          MA    02476‐7231
STA TOD RULES
JOANNE M PURO                                     5335 SO SYCAMORE                                                                              BURTON             MI    48509‐1352
JOANNE M RIES                                     418 GATEWAY DR                                                                                WATERFORD          MI    48328
JOANNE M SCHMARGEN                                105 WEST WINDRIDGE RD                                                                         GREENVILLE         PA    16125‐1213
JOANNE M SCHNAARS                                 318 OAK PARK DR                                                                               PERRY              MI    48872‐9182
JOANNE M SIKICH                                   38120 TAMARAC BLVD APT 114                                                                    WILLOUGHBY         OH    44094‐3496
JOANNE M SWEENEY & NEAL P SWEENEY JT TEN          5220 OLDE SHAWBORO                                                                            GRAND BLANC        MI    48439‐8729
JOANNE M TOWNSEND                                 810 SHERMAN AVENUE                                                                            ROME               NY    13440‐4421
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 91 of 855
Name                                              Address1                               Address2             Address3           Address4          City               State Zip

JOANNE M UBER                                     PO BOX 223                                                                                       GREENBELT          MD    20768‐0223
JOANNE M VON DUNGEN                               95 BUTTONWOOD COURT                                                                              EAST AMHERST       NY    14051
JOANNE M WEST                                     R R 4 14 ROSELAWN AVE                                                                            BROWNSBURG         IN    46112‐1926
JOANNE M WORLEY                                   1507 PARK RD                                                                                     ANDERSON           IN    46011‐3130
JOANNE M YORK                                     ATTN JOANNE YORK‐WHITWORTH             4365 ANGUS CIRCLE                                         DOYLESTOWN         PA    18901‐1769
JOANNE MAC LEAN                                   PO BOX 59                                                                                        CHESTERFIELD       NH    03443‐0059
JOANNE MACGREGOR CUST GEORGE RADA UGMA NJ         1000 SUFFOLK DR                                                                                  LA PLATA           MD    20646‐3506

JOANNE MACK                                       APT 909                                2401 BAYSHORE BLVD                                        TAMPA              FL    33629‐7306
JOANNE MADAFFER                                   32211 SHIAWASSEE                                                                                 FARMINGTON         MI    48336‐2475
JOANNE MADELINE                                   322 WARD AVE                                                                                     SOUTH AMBOY        NJ    08879‐1557
JOANNE MALINO                                     PO BOX 104                                                                                       DELHI              NY    13753‐0104
JOANNE MARGARET MALLET & ROBERT ALLEN MALLET      14358 CHESTERFIELD RD                                                                            ROCKVILLE          MD    20853‐1923
JT TEN
JOANNE MARIE VAN DYKE CUST AMANDA K VAN DYKE      3076 EAGLE CT NE                                                                                 SALEM              OR    97305‐2913
UTMA OR
JOANNE MARIE ZURI                                 1715 WORCESTER DR                                                                                PITTSBURGH         PA    15243‐1535
JOANNE MAY                                        6512 NORTH NEWGARD                                                                               CHICAGO            IL    60626‐5010
JOANNE MCCLURE JOSEPH                             470 VANDERBILT RD                                                                                CONNELLSVILLE      PA    15425
JOANNE MELBY                                      38963 LAKESHORE                                                                                  MT CLEMENS         MI    48045‐2876
JOANNE MILLER                                     14013 REED AVE                                                                                   SAN LEANDRO        CA    94578‐2725
JOANNE MORRIS O'BRIEN                             32865 FAIRCREST                                                                                  BEVERLY HILLS      MI    48025‐2937
JOANNE MULQUEENY & SEAN P MULQUEENY JT TEN        7320 HUNTINGTON DR                                                                               SAINT LOUIS        MO    63121‐2530

JOANNE MUMMA                                      13905 ROVER MILL RD                                                                              WEST FRIENDSHIP    MD    21794‐9729

JOANNE N HEITZENRODER                             PO BOX 308                                                                                       HOCKESSIN          DE    19707‐0308
JOANNE N HEITZENRODER & JOHN HEITZENRODER JR JT   PO BOX 308                                                                                       HOCKESSIN          DE    19707‐0308
TEN
JOANNE NELSON                                     7 ALLERTON RD                                                                                    LEBANON            NJ    08833‐3211
JOANNE O BERTOLDI                                 1197 ROSEWOOD TRL                                                                                MOUNT JULIET       TN    37122‐5018
JOANNE OLEWILER                                   1030 WOODRIDGE RD                                                                                RED LION           PA    17356‐9605
JOANNE OSLIZLO                                    142 SEA PINES CIRCLE                                                                             DAYTONA BEACH      FL    32114‐1135
JOANNE P BARNA                                    35834 MANILA                                                                                     WESTLAND           MI    48186‐4219
JOANNE P FERRARO                                  124 SHERBROOKE ST                                                                                BRISTOL            CT    06010‐7250
JOANNE P LOCH                                     1841 VERNON ST                                                                                   TRENTON            MI    48183
JOANNE P ROBINSON BLACKSHEAR PERDUE               11078 HIGHWAY 43 N                                                                               AXIS               AL    36505‐4331
JOANNE P SMITH                                    1077 LAKE PARK CIRCLE                                                                            GRAND BLANC        MI    48439‐8039
JOANNE P ZIEJEWSKI                                6 DRUMMOND DR                                                                                    WILMINGTON         DE    19808‐1313
JOANNE PANEPINTO & LUCILLE KARP JT TEN            276 FIRST AV                           APT 8B                                                    NEW YORK           NY    10009‐1824
JOANNE PATTENAUDE                                 1319 POPLAR ST                                                                                   WYANDOTTE          MI    48192‐4442
JOANNE PHILLIPS ESTES                             8659 HETHERIDGE LN                                                                               CINCINNATI         OH    45249‐3408
JOANNE PILLOW                                     2943 OVERLOOK RD                                                                                 SILVER LAKE        OH    44224‐3015
JOANNE PITCHON                                    8 HOPKINSON CT                                                                                   MARLBORO           NJ    07746
JOANNE PRUNTY & THOMAS J PRUNTY JT TEN            7 LYDIA DRIVE                                                                                    WAPPINGERS FALLS   NY    12590‐4938

JOANNE PUSKAS                                    212 CLEVELAND AVE                                                                                 RAYLAND            OH    43943‐9736
JOANNE R BENSHOFF                                11 MEADOWLARK DR                                                                                  MIDDLEBORO         MA    02346‐5401
JOANNE R DAVIS & WALTER T DAVIS JT TEN           3514 LIBERTY AVE SE                                                                               HUBBARD            OH    44425‐2533
JOANNE R DREGALLA                                16594 CRAIGMERE DR                                                                                CLEVELAND          OH    44130‐6421
JOANNE R GOUDIE TR UA 05/17/93 JOANNE R GOUDIE 691 JEFFERSON STREET                                                                                GALESBURG          IL    61401‐2607
DECLARATION OF TRUST
JOANNE R HAYNES                                  1117 ELYSIAN FIELD DR                   # 4B                                                      LAFAYETTE          CO    80026‐3529
JOANNE R HERTZ                                   3314 LINDA VISTA SE                                                                               ALBUQUERQUE        NM    87106‐1514
JOANNE R MICALLEF TR JOANNE R MICALLEF LVG TRUST 145 VICTORIA FALLS LANE                                                                           WILMINGTON         DE    19808‐1657
UA 7/19/96
JOANNE R MONSON GREEN TR JOANNE MONSON           3155 ANTELO ROAD                                                                                  LOS ANGELES        CA    90077‐1603
GREEN LIVING TRUSTUA 05/22/87
JOANNE R WHEELER                                 RR #1 BOX 417                                                                                     HANCOCK            ME    04640‐9670
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 92 of 855
Name                                             Address1                             Address2             Address3           Address4          City            State Zip

JOANNE RAKOTZ & DUANE C RAKOTZ JT TEN            403 JOLINA WAY                                                                                 ENCINITAS       CA    92024‐2404
JOANNE RAY BOURLAND CUST TRISHA MARIE            103 MARVIN DRIVE                                                                               PLEASANT HILL   CA    94523‐4113
BOURLAND UTMA CA
JOANNE RIDGWAY                                   8034 AKRON ROAD                                                                                LOCKPORT        NY    14094‐9314
JOANNE ROBERTS                                   8526 E GOSPEL ISLAND ROAD                                                                      IVERNESS        FL    34450‐2727
JOANNE ROFFI                                     46 MAX COURT                                                                                   ISLANDIA        NY    11749‐1569
JOANNE S CAMPBELL                                816 GONDOLA PLACE                                                                              EL PASO         TX    79912‐1509
JOANNE S FORD                                    38 NORY LN                                                                                     ROCHESTER       NY    14606‐3506
JOANNE S GRAASKAMP                               4314 S POINTE CT                                                                               EAU CLAIRE      WI    54701‐3009
JOANNE SANTONE HOLMES                            14 ACKLAND STREET                    HAMILTON ON                             L8J 1H7 CANADA
JOANNE SCHILLING                                 12063 SUMMER MEADOW LN                                                                         RESTON           VA   20194‐2740
JOANNE SCHMIDT                                   43778 COLUMBIA                                                                                 MOUNT CLEMENS MI      48038‐1322
JOANNE SCHMIDT & JAMES D SCHMIDT JT TEN          43778 COLUMBIA                                                                                 CLINTON TOWNSHIP MI   48038‐1322

JOANNE SEBOLD                                 295 INWOOD BLVD                                                                                   AVON LAKE       OH    44012‐1553
JOANNE SEBOLD CUST BRENT SEBOLD UGMA OH       295 INWOOD BLVD                                                                                   AVON LAKE       OH    44012‐1553
JOANNE SEBOLD CUST RENEE SEBOLD UTMA OH       295 INWOOD BLVD                                                                                   AVON LAKE       OH    44012‐1553
JOANNE SEBOLD TR IRENE W WESTERFELD TRUST UA  1266 CAHOON RD                                                                                    WESTLAKE        OH    44145‐1235
03/03/93
JOANNE SEPULVEDA CUST JOANNE G SEPULVEDA UGMA 5406 CORAL RIDGE RD                                                                               HOUSTON         TX    77069‐3345
TX
JOANNE SMITH                                  PO BOX 3723                                                                                       PINEHURST       NC    28374‐3723
JOANNE SMITH CUST DANIELLE M SMITH UTMA NY    11 WALKER PL                                                                                      STATEN ISLAND   NY    10312‐2601

JOANNE SPEECE TR UA 02/17/2000 JOANNE SPEECE REV 5764 TURNER ROAD                                                                               CANFIELD        OH    44406
LIVING TRUST
JOANNE SPEGAL                                    1002 S LINDEN AVE                                                                              MIAMISBURG      OH    45342‐3446
JOANNE STIDHAM                                   709 MARTINDALE RD                                                                              UNION           OH    45322‐2922
JOANNE STROOPE                                   13140 BELSAY RD N                                                                              MILLINGTON      MI    48746‐9226
JOANNE SVARNEY                                   2415 SURREY LN SE                                                                              DECATUR         AL    35601
JOANNE SYMONDS                                   PO BOX 44                                                                                      VANDALIA        OH    45377‐0044
JOANNE T ALIG                                    C/O JOANNE T SIMPSON                 5626 MONTADALE ST                                         MADISON         WI    53711‐5490
JOANNE T BURNS                                   1637 NEWCASTLE RD                                                                              GROSSE POINTE   MI    48236‐1936
                                                                                                                                                WOOD
JOANNE T GONZALEZ                                71 CIRCLE CREEK WAY                                                                            ORMOND BEACH    FL    32174‐1822
JOANNE T O'DONNELL                               19135 MONTE VISTA                                                                              SARATOGA        CA    95070‐6217
JOANNE T SNELL                                   31 WILLOWBROOK RD                                                                              GLENVILLE       NY    12302‐5118
JOANNE T SWANTICK & EUGENE J SWANTICK JT TEN     3347 WILD RIVER DR                                                                             CROSWELL        MI    48422‐9457

JOANNE TAGLIENTI & GENE S TAGLIENTI JT TEN    18184 SENCILLO DRIVE                                                                              SAN DIEGO       CA    92128‐1325
JOANNE THOMPSON                               45 RAMBLING RD                                                                                    SUDBURY         MA    01776‐3477
JOANNE THOMPSON                               4684 MILDRED DR                                                                                   DAYTON          OH    45415‐3514
JOANNE TUCKWILLER                             RR 2 BOX 147                                                                                      LEWISBURG       WV    24901
JOANNE V KISSINGER                            300 GREENWOOD AVE                                                                                 GREENCASTLE     IN    46135‐1335
JOANNE V WARNER                               3865 W FENNER RD                                                                                  TROY            OH    45373‐8400
JOANNE VAN TASSEL                             2726 SATURN                                                                                       LAKE ORION      MI    48360‐1737
JOANNE W BOYCE                                410 CLEVELAND AVE                       WESTVIEW                                                  WILMINGTON      DE    19804‐3066
JOANNE W GEMBORYS CUST CHRISTOPHER M          8463 FOSTER ROAD                                                                                  CLARKSTON       MI    48346‐1958
GEMBORYS UTMA MI
JOANNE W GEMBORYS CUST COLLEEN P GEMBORYS     8463 FOSTER ROAD                                                                                  CLARKSTON       MI    48346‐1958
UTMA MI
JOANNE W GEMBORYS CUST EILEEN K GEMBORYS UTMA 8463 FOSTER ROAD                                                                                  CLARKSTON       MI    48346‐1958
MI
JOANNE W LATTA                                24 GREYSTONE RD                                                                                   MARBLEHEAD       MA   01945‐2848
JOANNE W PLESKA                               HAMILTON HOUSE SUITE 402                200 CHATHAM WAY                                           MAYFIELD HTS     OH   44124‐2051
JOANNE W PLESKA                               200 CHATHAM WAY APT 402                                                                           MAYFIELD HEIGHTS OH   44124‐2079

JOANNE W WOODS                                   910 WALSH ST SE                                                                                GRAND RAPIDS    MI    49507‐3631
JOANNE WALLAM                                    2201 TENTH ST S W                    CALGARY AB                              T2T 3G6 CANADA
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                    Part 4 of 8 Pg 93 of 855
Name                                            Address1                            Address2              Address3           Address4          City              State Zip

JOANNE WALTER                                   ATTN JOANNE M MALITO                10329 S SPRINGFIELD                                        CHICAGO           IL    60655‐3711
JOANNE WENDY GORDON                             53‐46 FRANCIS LEWIS BLVD                                                                       FLUSHING          NY    11364‐1633
JOANNE WESONIG SMITH                            13451 ST. ANDREWS DR                124B                                                       SEAL BEACH        CA    90740
JOANNE WILCOX                                   4429 WAYMIRE AVE                                                                               DATON             OH    45406‐2416
JOANNE WILSON                                   10769 HOOSIER RD                                                                               FISHERS           IN    46038‐9768
JOANNE YOUNG                                    6325 AUTUMNVIEW WAY                                                                            ACWORTH           GA    30101‐7666
JOANNE YVANEK GARB CUST ANNA A GARB UTMA CA     8357 SAUSALITO AVE                                                                             WEST HILLS        CA    91304‐3342

JOANNE YVANEK GARB CUST DANIEL J GARB UTMA CA   8357 SAUSALITO AVE                                                                             WEST HILLS        CA    91304‐3342

JOANNE YVANEK GARB CUST JACOB A GARB UTMA CA    8357 SAUSALITO AVE                                                                             WEST HILLS        CA    91304‐3342

JOANNE YVANEK GARB CUST LENA R GARB UTMA CA     8357 SAUSALITO AVE                                                                             WEST HILLS        CA    91304‐3342

JOANNE YVANEK GARB CUST MELISSA A GARB UTMA CA 8357 SAUSALITO AVE                                                                              WEST HILLS        CA    91304‐3342

JOANNE ZEPPETELLA                               46 ADELA CIR                                                                                   ROCHESTER         NY    14624‐4752
JOANNE ZYONTZ                                   510 E 20 ST                         APT 4B                                                     NEW YORK          NY    10009‐8305
JOANNES G WUBBOLTS                              52097 ASH CT                                                                                   CHESTERFIELD      MI    48047‐4568
JOANTHA MEEHAN                                  2311 CROSS AVE                                                                                 SANTA ROSA        CA    95401‐6727
JOAO A FONTES                                   17 UNION ST                                                                                    MILFORD           MA    01757‐2309
JOAO A VENTURA                                  29 HOWLAND AV                                                                                  EAST PROVIDENCE   RI    02914‐3126

JOAO CARLOS FEICHTNER                           ATTN M BREITSPRECHER                TREPTOWER WEG 6       53340 MECKENHEIM   GERMANY
JOAO DE AQUINO ROTTA                            JOAO ROTTA C/O BRAZIL               PO BOX 9022                                                WARREN            MI    48090‐9022
JOAO M RUIVINHO                                 10 FOREST STREET                                                                               MILFORD           MA    01757‐3327
JOAO P LUCAS                                    12 JENCKS RD                                                                                   MILFORD           MA    01757‐3676
JOAO R ALVES                                    2095 PERRIN SPRINGS DR                                                                         LAWRENCEVILLE     GA    30043‐2552
JOAO T SAMPAIO                                  21 S WASHINGTON ST                                                                             TARRYTOWN         NY    10591‐3906
JOAO VIDA                                       350 HATCHER ST                                                                                 PALM BAY          FL    32909‐3659
JOAQUIM BARROS                                  492 S RACCOON RD #22                                                                           AUSTINTOWN        OH    44515‐3682
JOAQUIM CALICO                                  762 UNION STREET                                                                               RAHWAY            NJ    07065‐3551
JOAQUIM G DACRUZ                                38 WEST WALNUT ST                                                                              MILFORD           MA    01757‐2446
JOAQUIM GOMES                                   93 KEMPTON ST                                                                                  MILLVILLE         MA    01529‐1519
JOAQUIM J DA GRACA                              328 MINUTE ARMS ROAD                                                                           UNION             NJ    07083‐9126
JOAQUIM M ALEXANDRE                             656 MAPLE AVE                                                                                  ELIZABETH         NJ    07202‐2608
JOAQUIM M ANDRE                                 48 ABERDEEN WAY                     STONY PLAIN AB                           T7Z 1K2 CANADA
JOAQUIM M FLORES                                211 ARNETT BLVD                                                                                ROCHESTER         NY    14619‐1123
JOAQUIM M GREGORIO                              299 N RIVERSIDE DRIVE               APT 1004                                                   POMPANO BEACH     FL    33062‐5059
JOAQUIM M MARTINS                               84 BORMAN AVE                                                                                  AVENEL            NJ    07001‐2109
JOAQUIM MOLEANO                                 20 SUMMERFIELD STREET                                                                          YONKERS           NY    10701‐6415
JOAQUIM S ALBUQUERQUE                           250 MARY LOU AVENUE                                                                            YONKERS           NY    10703‐1904
JOAQUIM SAMPAIO                                 62 STORM ST                                                                                    TARRYTOWN         NY    10591‐3321
JOAQUIM SILVERIO                                40 BROOKSIDE TER                                                                               CLARK             NJ    07066‐2815
JOAQUIN B COMADURAN                             16239 W MORELAND ST                                                                            GOODYEAR          AZ    85338‐2736
JOAQUIN BELTRAN                                 2221 60TH COURT                                                                                CICERO            IL    60804‐2010
JOAQUIN DIAZ                                    403 TYLER PO 502                                                                               CARROLLTON        MI    48724‐0502
JOAQUIN F BACARDI                               1205 MARIPOSA AVE 328                                                                          CORAL GABLES      FL    33146‐3202
JOAQUIN ORTIZ JR                                2100 PARK WILLOW LN                 APT A                                                      ARLINGTON         TX    76011‐3239
JOAQUINA VILLA ADM EST ELADIO VILLA             1211 SUNNYFIELD DR                                                                             LINDEN            NJ    07036‐5509
JOBE E PENNINGTON                               461 SWAN POND CIRCLE                                                                           HARRIMAN          TN    37748‐5311
JOCE GILSTRAP CROOK WORLEY                      2019 POSSUM CREEK COURT                                                                        HOUSTON           TX    77017‐6709
JOCELYN C KNOWLES                               89 SOUTH RD                                                                                    FREMONT           NH    03044
JOCELYN CENNA                                   6026 SIGNAL FLAME CRT                                                                          CLARKSVILLE       MD    21029
JOCELYN GARIBAY                                 221 WILLOW LN                                                                                  BLOOMINGDALE      IL    60108
JOCELYN J LARGE                                 48430 HARBOR DRIVE                                                                             CHESTERFIELD      MI    48047‐3469
JOCELYN KWIENCIEN                               1065 CASWELL DRIVE                                                                             ROSEVILLE         CA    95747
JOCELYN L LAPUSHANSKY                           8992 NEW ROAD                                                                                  NORTH JACKSON     OH    44451‐9772
                                                  09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 94 of 855
Name                                                Address1                            Address2             Address3           Address4          City               State Zip

JOCELYN LOVETTE FRYE CUST SHYKIA ELISABETH      415 MADISON ST NW                                                                                 WASHINGTON         DC    20011‐2140
ANDERSON UTMA DC
JOCELYN M HOPKINS TR JOCELYN M HOPKINS TRUST UA 44159 COTTISFORD                                                                                  NORTHVILLE         MI    48167‐8923
4/3/03
JOCELYN MILLER                                  876 WHALEHEAD DR                                                                                  COROLLA            NC    27927
JOCELYN O BURTON                                8604 DEERGATE DR                                                                                  DAYTON             OH    45424‐7094
JOCELYN R PARDI                                 73 SADDLE BACK DR                                                                                 SOUTH WINDSOR      CT    06074‐1367
JOCELYN SMITH                                   2902 E PALM BEACH DR                                                                              CHANDLER           AZ    85249‐5051
JOCELYN W APPLEWHITE                            7211 GRANBY ST                          # 103                                                     NORFOLK            VA    23505‐4001
JOCELYNE M BASQUE                               358 RIVERHILL DR                        ST JOHN NB                              E2M 4T7 CANADA
JOCELYNNE D STRACHAN                            278 HANCOCK ST                                                                                    BROOKLYN           NY    11216‐2201
JOCHEN BENDER                                   BERZALLEE 78                            D‐64569 NAUHEIM                         GERMANY
JOCHEN GENSCHEL                                 7913 BROAD ST                                                                                     RALEIGH            NC    27613
JOCHEN OHSE                                     LINDENSTRASSE 37                        D‐65468 TREBUR                          GERMANY
JOCHEN W SCHWARZ                                2391 KING                                                                                         LAPEER             MI    48446‐8390
JOCILE HEISTER HEATH & /CR C JAMES HEATH JT TEN 2001 PEARSON DR                                                                                   MIDWEST CITY       OK    73110‐4706

JOCK H WATKINS & BETH B WATKINS JT TEN              86 WESTOVER AVENUE                                                                            WEST CALDWELL      NJ    07006‐7723
JODEE M MILES                                       4300 CONNIE DR                                                                                STERLING HEIGHTS   MI    48310‐3836

JODEE M WELCH                                       9050 HUNTER BAY DR                                                                            BRIGHTON           MI    48114‐4933
JODEE PAUL RICH                                     14215 PECAN PARK LANE #9                                                                      EL CAJON           CA    92021‐2706
JODI A HOOKSTEAD                                    9027 BOWERS LAKE RD                                                                           MILTON             WI    53563‐9029
JODI B PRIEFER                                      10700 GULF BEACH HWY                                                                          PENSACOLA          FL    32507‐9121
JODI BRACHMAN CUST SAMANTHA NICOLE BRACHMAN         1820 CHALADAY LANE                                                                            EAST MEADOW        NY    11554‐4926
UGMA NY
JODI E CORSINI                                      9329 HALLSTON CT                                                                              FAIRFAX STATION    VA    22039‐3150
JODI H BAIR                                         1383 LINCOLN RD                                                                               COLUMBUS           OH    43212‐3209
JODI JEAN HOWELL                                    1141 SPRINGHILL DR                  MISSISSAUGA ON                          L5H 1N4 CANADA
JODI L MC SWINEY                                    1817 NUGGET COURT                                                                             BEAVERCREEK        OH    45432‐1832
JODI L T JARECKE                                    433 NORTHSTAR DR                                                                              HARRISBURG         PA    17112
JODI LEE ROSS                                       10702 HORLEY AVE                                                                              DOWNEY             CA    90241‐2108
JODI LYN ODLUM                                      3036 CRUISER DR                                                                               STAFFORD           VA    22554‐2711
JODI LYNN GANSLER                                   73 OXFORD PLACE                                                                               HILLSBOROUGH       NJ    08844‐2613
JODI MICKLER                                        5828 COURTLAND                                                                                OCONOMOWOC         WI    53066
JODI QUANDT                                         N 167 W 20970 REYNOLDS AVE                                                                    JACKSON            WI    53037‐9631
JODI R SENING CUST JACK R SENSING UTMA TN           104 DOMINION DRIVE                                                                            BURNS              TN    37029‐9001
JODI R SENSING CUST MAX C SENSING UTMA TN           104 DOMINION DRIVE                                                                            BURNS              TN    37029‐9001
JODI RIGGINS                                        169 MCKELLAR APT A                  GLENCOE ON                              N0L 1M0 CANADA
JODI S MOSELEY                                      1008 WOTAN RD                                                                                 COLUMBIA           SC    29229‐6548
JODI SLOANE                                         13184 LAKEVIEW CT                                                                             POUND              WI    54161‐8818
JODI SNAPP                                          22 LOUDEN RD                                                                                  WILLIAMSBURG       KY    40769‐7258
JODI STOUDT CUST LINDSI STOUDT UGMA PA              1442 PRINCETON COURT                                                                          ALLENTOWN          PA    18104‐2247
JODI T WONDERLEE                                    1752 E PINTO DRIVE                                                                            GILBERT            AZ    85296‐3229
JODI TODD WONDERLEE                                 1752 E PINTO DR                                                                               GILBERT            AZ    85296‐3229
JODIE A MCCARTNEY                                   2210B NEW HOPE RD                                                                             HENDERSONVILLE     TN    37075‐8431
JODIE C CANNON                                      5813 SHARON DRIVE                                                                             NORCROSS           GA    30071‐3428
JODIE C JENKINS                                     5015 ABBOT RUN                                                                                HAMILTON           OH    45011‐8657
JODIE D WOOLARD III                                 PO BOX 3129                                                                                   ATLANTIC BCH       NC    28512
JODIE DELAROSA                                      20323 LORNE ST                                                                                WINNETKA           CA    91306‐1823
JODIE DONAHUE‐ENGLAND                               6680 GUINEVERE DR                                                                             COLUMBUS           OH    43229‐7024
JODIE ELIZABETH KIEWEG                              2032 PALM DALE DR SW                                                                          WYOMING            MI    49519‐9677
JODIE H SANCHEZ                                     2011 KINSLEY ST                                                                               SANTA CRUZ         CA    95062‐3001
JODIE H WILLIAMS & PATRICIA A WILLIAMS JT TEN       5312 PILGRIM RD                                                                               SAGINAW            MI    48601‐5756

JODIE J JORDAN                                      127 STONYRIDGE DR                   APT 205                                                   SANDUSKY           OH    44870‐6610
JODIE KREMPEL                                       5324 35TH AVE N                                                                               CRYSTAL            MN    55422‐2828
JODIE L HILBRICH & MICHAEL M HILBRICH JR JT TEN     402 NEVADA DR                                                                                 ERIE               PA    16505‐2132
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 95 of 855
Name                                             Address1                              Address2               Address3         Address4          City              State Zip

JODIE L MARSHALL                                  1704 TUSCARORA DR                                                                              GROVE CITY        OH    43123
JODIE LENGYEL & KELLY ANNE LENGYEL & KYLE LENGYEL 3672 DURHAM ROAD                                                                               NORTON            OH    44203‐6353
JT TEN
JODIE M ZIMMERMAN                                 14502 FIRETHORNE PATH                                                                          FORT WAYNE        IN    46804‐8910
JODILYN MAZAREK                                   4860 MAHONING AVE                                                                              WARREN            OH    44483‐1404
JODINE M STOCKMAN                                 PO BOX 423                                                                                     ORFORDVILLE       WI    53511
JODY A HIGGS                                      537 JIM DWIRE RD                                                                               BRISTOL           VT    05443‐5335
JODY A JAMIESON & CLAUDIA J JAMIESON JT TEN       1029 LINCOLN                                                                                   MARQUETTE         MI    49855‐2620
JODY ANN BRIGGS                                   ATTN JODY ANN CURIGLIANO             1691 BROADHEAD RD                                         MOON TOWNSHIP     PA    15108‐3879

JODY ANN EVESLAGE CUST ADELAIDE ANN EVESLAGE     734 PARROTT DRIVE                                                                               SAN MATEO         CA    94402‐3224
UTMA CA
JODY ANN GORDON                                  ATTN JODY GORDON MARKUS               29 GRAYMOOR LN                                            OLYMPIA FIELDS    IL    60461‐1217
JODY ANN NAYLOR & TODD G NAYLOR JT TEN           800 JONES ST                                                                                    GRAND LEDGE       MI    48837‐1333
JODY D BASS                                      3526 CHARLENE DR                                                                                BEAVERCREEK       OH    45432‐2202
JODY D GRABER                                    12 CANDLELIGHT DRIVE                                                                            MONTVALE          NJ    07645‐1040
JODY DAVISON                                     4211 AUTUMN LAKE DR                                                                             BUFORD            GA    30519‐3966
JODY E HILL                                      157 BRASSINGTON DRIVE                                                                           DEBARY            FL    32713‐2129
JODY E LEARNED                                   352 UNDERWOOD AVENUE                                                                            ELMIRA            NY    14905
JODY FLORES                                      1239 NORTHHILL ST                                                                               SELMA             CA    93662‐4336
JODY G SHEPARD                                   109 GOODMAN CIR                                                                                 CONCORD           NC    28025‐2859
JODY G STOLTMAN                                  2230 S 66 STREET                                                                                WEST ALLIS        WI    53219‐2062
JODY J FISHER CUST CAITLYN JOY FISHER UTMA MI    6186 CRANE RD                                                                                   YPSILANTI         MI    48197‐9029
JODY J FISHER CUST NICHOLAS ALEXANDER FISHER     6186 CRANE RD                                                                                   YPSILANTI         MI    48197‐9029
UTMA MI
JODY J WOENKER & JACKIE S WOENKER JT TEN         6429 COUNTY RD 327                                                                              GARRETT           IN    46738‐9751
JODY JACKSON & JAMI TEI JACKSON JT TEN           ATTN JODY DUHAIME                     17886 MISSION POINTE                                      NORTHVILLE        MI    48167‐8487
JODY L BERMAN CUST BRENT E BERMAN UTMA IL        1437 ALMADEN LN                                                                                 GURNEE            IL    60031‐5625
JODY L FLYNN & PHILIP K FLYNN JT TEN             209 LOCUST GROVE WAY                                                                            VERSAILLES        KY    40383‐8806
JODY L LEWIS                                     52 TYNEMOUTH DR                                                                                 MOUNT HOLLY       NJ    08060‐5801
JODY L LEWIS                                     428 CHATTAN WAY                                                                                 SAINT JOHNS       FL    32259‐5930
JODY L SCHLOSSER                                 12830 MORENCI RD                                                                                MORENCI           MI    49256‐9707
JODY LEVIN                                       545 COLUMBIA RD                                                                                 SOUTHOLD          NY    11971‐3714
JODY LYNN DUKE                                   1995 BRIARFIELD ST                                                                              CANTON            MI    48188‐1814
JODY LYNN MCFALLS                                32775 ARMADA RIDGE RD                                                                           RICHMOND          MI    48062‐5303
JODY LYNN WOOD                                   152 BROADLANDS BLVD                   NORTH YORK ON                           M3A 1K3 CANADA
JODY M CHAN                                      59 DAMONTE RANCH PKWY                 #B‐140                                                    RENO              NV    89521
JODY M HEMMICK                                   4424 TEGES DRIVE                                                                                FORT WAYNE        IN    46825‐6902
JODY M MAHER                                     918 PAUL VISTA DRIVE                                                                            LOVELAND          OH    45140‐6731
JODY MARCUS                                      154 LAKESHORE BLVD                    KINGSTON ON                             K7M 6R5 CANADA
JODY N GILLISPIE                                 6232 S 79TH CIR                                                                                 RALSTONN         NE     68127‐4270
JODY P HOTCHKISS                                 1227 WHITTIER ST                                                                                WATERFORD        MI     48327‐1639
JODY P WESLEY                                    146 MONTGOMERY ST                                                                               SANTA ROSA BEACH FL     32459‐6356

JODY POMPEY CUST MICHAEL A VANINETTI UTMA CA     2443 SW MONTGOMERY DR                                                                           PORTLAND          OR    97201‐1729

JODY R BRANUM                                    19 IRVINGTON ST                                                                                 WABAN             MA    02468‐1905
JODY R MERRICK                                   139 S SEVENTH ST                                                                                SHARPSVILLE       PA    16150‐2030
JODY R SWANSON                                   8537 10TH AVE                                                                                   JENISON           MI    49428‐9503
JODY RAY CRAWFORD                                3409 LAKEWOOD CT                                                                                HAMILTON          OH    45011‐7187
JODY S GLEASON                                   25 MEIRS RD                                                                                     CREAMRIDGE        NJ    08514‐1905
JODY SEIDMAN CUST DANIEL SEIDMAN UGMA MI         6566 BRISTOL DR                                                                                 WEST BLOOMFIELD   MI    48322‐3240

JODY SMITH EX U/W AUBREY SMITH                   1417 TRAMMEL DR                                                                                 FORT WORTH        TX    76126‐3826
JODY W GRANT                                     20311 BEACONSFIELD ST                 APT 4                                                     HARPER WOODS      MI    48225‐1365
JOE A ABERNATHY                                  6476 FISH LAKE RD                                                                               NORTH BRANCH      MI    48461‐9400
JOE A AGUIRRE                                    6136 FLOYD                                                                                      OVERLAND PARK     KS    66202‐3114
JOE A BARNARD                                    4952 RAMSEY RD                                                                                  OXFORD            MI    48371‐3908
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 96 of 855
Name                                            Address1                           Address2             Address3           Address4          City             State Zip

JOE A EVAN                                      20135 CANYON VIEW DRIVE                                                                      CANYON COUNTRY   CA    91351‐5731

JOE A GARCIA                                    PO BOX 1341                                                                                  FULTON           TX    78358‐1341
JOE A GIBSON                                    1968 HIDDEN HILLS DR                                                                         PULASKI          TN    38478‐8815
JOE A HUNT                                      2221 LURAY ROAD                                                                              MARSHALLTOWN     IA    50158‐9867
JOE A KAMER                                     540 BUTLER AVE                                                                               COLUMBUS         OH    43223‐1721
JOE A MC GRAW                                   23315 W GRINTON DR                                                                           PLAINFIELD       IL    60544‐9071
JOE A MCCARROLL                                 349 GARDEN DR                                                                                BRANDON          MS    39042‐4212
JOE A MEDINA                                    6105 FARMINGDALE DR                                                                          ARLINGTON        TX    76001
JOE A MORGAN                                    26 DUCLAIR CT                                                                                LITTLE ROCK      AR    72223‐9570
JOE A MORGAN & JUDY MORGAN JT TEN               26 DUCLAIR CT                                                                                LITTLE ROCK      AR    72223‐9570
JOE A POWELL                                    1614 E 82 ST                                                                                 KANSAS CITY      MO    64131‐2305
JOE A STRATTON                                  1011 LIEBECK RD                                                                              CHELSEA          MI    48118‐9776
JOE A SZAKAL                                    2530 LYONS RD                                                                                OWOSSO           MI    48867‐9770
JOE A TRAVARCA & CLARA TRAVARCA JT TEN          19200 KILDEER AVE                                                                            CLEVELAND        OH    44119‐2764
JOE A WILLIS                                    830 WHITE DOVE DR                                                                            MCDONOUGH        GA    30253
JOE ADLER & MRS JOSEPHINE ADLER JT TEN          C/O PUBLIC ADM                     5201 A RUFFIN ROAD                                        SAN DIEGO        CA    92123‐1699
JOE ALLEN STORNELLO                             2549 RUSHBROOK DR                                                                            FLUSHING         MI    48433‐2563
JOE ANN A WILLIAMS                              16000 TERRACE RD APT 205                                                                     CLEVELAND        OH    44112
JOE ANN CAMPBELL                                3046 W CASS AVE                                                                              FLINT            MI    48504‐1206
JOE ANN CARBONARO                               131 W MAIN ST                                                                                LAKE HELEN       FL    32744‐2925
JOE ANN H NATHAN                                608 SELF MOUNTAIN RD                                                                         BLAIRSVILLE      GA    30512‐6868
JOE ANN JACKSON & MARLINE A JACKSON JT TEN      1109 LINCOLN COURT AVE NE                                                                    ATLANTA          GA    30329‐1823
JOE ANN WILLIAMS                                8609 WOODLAWN                                                                                DETROIT          MI    48213‐1132
JOE ANN WILLIAMS & ROSIE LEE LOGAN JT TEN       8609 WOODLAWN                                                                                DETROIT          MI    48213‐1132
JOE ANNE JACKSON & MARLINE A JACKSON JT TEN     1109 LINCOLN COURT AVE NE                                                                    ATLANTA          GA    30329‐1823
JOE ARTHER JR                                   301 E PIERSON RD                                                                             FLINT            MI    48505‐3311
JOE AUDIA                                       4163 BRADEN                                                                                  BYRON            MI    48418‐9720
JOE AYUEN                                       3372 COVENT CRESCENT               MISSISAUGA ON                           L5M 7K6 CANADA
JOE B ARRINGTON                                 466 S RAYS RD                                                                                STONE MOUNTAIN   GA    30083‐4647

JOE B BLOSSER                                   18470 BUCKSKIN ROAD                                                                          DEFIANCE         OH    43512‐9716
JOE B HAMM                                      3044 WEST 116 ST                                                                             CLEVELAND        OH    44111‐1853
JOE B JERNIGAN                                  2909 KINGFISH DR                                                                             SHEVEPORT        LA    71119‐3419
JOE B MARTIN                                    13995 E 100 N34                                                                              SWAYZEE          IN    46986‐9736
JOE B MC CARTER                                 709 MORNINGSIDE ROAD                                                                         TOPEKA           KS    66606‐2317
JOE B MORRIS                                    242 SPRINGER RD                                                                              WHITEBURG        GA    30185‐9741
JOE B MORTON JR & PATRICIA G MORTON JT TEN      4520 GRATTAN PRICE DR              UNIT #4                                                   HARRISONBURG     VA    22801‐2356
JOE B PETTY & MRS JOAN PETTY JT TEN             172 HARRISON ST                                                                              BLOOMFIELD       NJ    07003‐6015
JOE B QUINN & ANNETTA B QUINN JT TEN            2307 WEST 40TH AVE                                                                           PINE BLUFF       AR    71603‐6223
JOE B TAUNTON                                   783 DEER LN                                                                                  GLADWIN          MI    48624‐8368
JOE B WATSON                                    3401 BENT WOOD CV                                                                            ANTIOCH          TN    37013‐7318
JOE BALDINELLI                                  5749 MACPHERSON CRESCENT           NIAGARA FALLS ON                        L2J 1Z9 CANADA
JOE BALDINELLI                                  5749 MACPHERSON CRES               NIAGARA FALLS ON                        L2J 1Z9 CANADA
JOE BARNES HARRISON JR                          4140 CLAIRMONT RD                                                                            ATLANTA          GA    30341‐3237
JOE BARNS FREDLOCK                              33 CACHE CAY DR                                                                              VERO BEACH       FL    32963‐1211
JOE BAUER & JANET BAUER JT TEN                  2270 IVY AVE                                                                                 WEST CHESTER     IA    52359‐9729
JOE BEN HOLLAND                                 159 REHOBOTH CHURCH RD                                                                       NEWBERN          TN    38059‐4431
JOE BENNY TORREZ                                P O BOX532                                                                                   CARROLLTON       MI    48724‐0532
JOE BENSON JR                                   1901 E BROWN ST                                                                              LUBBOCK          TX    79403‐4031
JOE BERKOWITZ                                   3361 SEAWANE DR                                                                              MERRICK          NY    11566‐5545
JOE BIVINS                                      625 ROCKY RIDGE CIRCLE                                                                       LA VERGNE        TN    37013
JOE BOONE                                       RT 1                                                                                         MACOMB           OK    74852‐9801
JOE BRANAMAN                                    255 STATE RD 458                                                                             BEDFORD          IN    47421‐7540
JOE BRANYON                                     1145 HERRINGTON LN                                                                           PONTIAC          MI    48342‐1837
JOE BRICE COCHRAN II                            1660 CENTRAL AVE                                                                             HARRISONBURG     VA    22801‐2758
JOE BROWN                                       2095 9TH ST                                                                                  CUMBERLAND       WI    54829
JOE C CARPENTER                                 326 MALERO ST                                                                                GRAND PRAIRIE    TX    75051‐4934
JOE C CAVANDER                                  731 EVANS BRIDGE RD                                                                          HEFLIN           AL    36264‐2152
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 97 of 855
Name                                               Address1                              Address2             Address3           Address4                 City              State Zip

JOE C COOK                                         158 WRIGHT AVE                                                                                         DE QUEEN          AR    71832‐2975
JOE C COX CUST WADE C COX UTMA MS                  BOX 213                                                                                                BROOKHAVEN        MS    39602‐0213
JOE C HARRIS                                       3107 WESTADOR CT                                                                                       ARLINGTON         TX    76015‐2318
JOE C JOHNSON                                      1776 SHAKER ROAD                                                                                       FRANKLIN          OH    45005‐9610
JOE C THOMAS                                       11390 HUBBELL                                                                                          DETROIT           MI    48227‐2723
JOE C TRENT                                        3370 WEST                             300 SOUTH                                                        KOKOMO            IN    46902
JOE C WALLACE                                      1700 BRIAR ROSE                                                                                        COLLEGE STATION   TX    77845‐5552
JOE C WEISSMILLER                                  3955 E 3RD ST                                                                                          LONG BEACH        CA    90814‐2832
JOE C YELDER                                       20267 GREYDALE AVE                                                                                     DETROIT           MI    48219‐1228
JOE C YOUNT                                        5324 NAPLES AVE                                                                                        DAYTON            OH    45424‐6102
JOE CARMICHAEL                                     1345 MEREDITH DR                                                                                       CINCINNATI        OH    45231‐3253
JOE CASAS                                          1042 FALCON WAY                                                                                        FILLMORE          CA    93015‐1142
JOE CHAPA                                          32670 BUCKS LAKE LN                                                                                    FREMONT           CA    94555‐1011
JOE CHASTANG CUST PATRICK BRIAN CHASTANG UGMA      183 WATERFRONT DR                                                                                      MONTGOMERY        TX    77356‐2375
TX
JOE CHEN & MRS CHIYEKO CHEN JT TEN                 15733 E CANDELERIA CT                                                                                  WHITTIER          CA    90603‐1002
JOE CLARK SPARKS JR & PAULA DENISE SPARKS JT TEN   35204 VERA RD                                                                                          MAPLE HILL        KS    66507

JOE CLYDE HIGDAY CUST PAUL THOMAS HIGDAY UGMA 3216 BIRCHILL CT                                                                                            GLEN ALLEN        VA    23059‐5128
KS
JOE COCOMELLO                                  50 WINDERMERE DRIVE                                                                                        YONKERS           NY    10710‐2416
JOE COHEN CUST MAX COHEN A MINOR U/THE LAWS OF 4700 CHAMBLEE DUMWOODY RD                                                                                  CHAMBLEE          GA    30338‐6054
GEORGIA
JOE COPES                                      PO BOX 6710                                                                                                SAN PABLO         CA    94806‐0710
JOE COREY & HELEN COREY JT TEN                 17 WOOLSLEY AVE                                                                                            TRUMBULL          CT    06611‐4423
JOE CROMLEY                                    THE CHEQUERS UPPER ST                     GISSING NORFOLK                         IP22 5UN GREAT BRITAIN
JOE CROUSE                                     23385 HOOVER                                                                                               HAZEL PARK        MI    48030‐1522
JOE CZAJA                                      33 GIRARD AVE                                                                                              SICKLERVILLE      NJ    08081
JOE D DAVIS                                    BOX 98                                                                                                     SWEETSER          IN    46987‐0098
JOE D DENNY                                    PO BOX 8132                                                                                                CARLISLE          OH    45005‐8132
JOE D DOUGHTY & MARY E DOUGHTY JT TEN          3577 STATE RTE 994                                                                                         BOAZ              KY    42027
JOE D GOODE                                    2718 NW 20TH ST                                                                                            OKLAHOMA CITY     OK    73107‐3234
JOE D HALL                                     11733 S PENROSE ST                                                                                         OLATHE            KS    66061‐6630
JOE D HARRIS                                   PO BOX 1807                                                                                                WHITNEY           TX    76692‐1807
JOE D JEFFERSON                                5954 LAUREL HALL DR                                                                                        INDIANAPOLIS      IN    46226‐2309
JOE D JOHNSON                                  417 W JACKSON ST                                                                                           FLINT             MI    48505‐4053
JOE D KLEPACKI JR                              7 USHER AVENUE                                                                                             PLAINVILLE        CT    06062‐1222
JOE D LOOFBOURROW                              7804 NW 105TH TERR                                                                                         OKLAHOMA CITY     OK    73162‐4313
JOE D MONTANO                                  1202 LE BORGNE AVE                                                                                         LA PUENTE         CA    91746‐1004
JOE D NOLL                                     19782 WOODSIDE DRIVE                                                                                       HARPER WOODS      MI    48225‐2266
JOE D PENNINGTON                               8 SLIPSTREAM COURT                                                                                         BALTIMORE         MD    21220‐2428
JOE D QUALLS                                   22493 UPPER FORT HAMPTON RD                                                                                EKLMONT           AL    35620‐4545
JOE D RAWLS                                    1825 ELDORN EAST                                                                                           COLUMBUS          OH    43207‐1516
JOE D RIVAS                                    6325 TURNSTONE ST                         APT 204                                                          VENTURA           CA    93003‐0283
JOE D TUROCZY                                  6878 MADISON                                                                                               HUBBARD LAKE      MI    49747‐9616
JOE D WARD                                     1507 S PATERSON                                                                                            CAMPBELL          TX    75422‐5177
JOE D WARRINGTON & MRS PEGGY J WARRINGTON TEN 505 MURPHREE RD                                                                                             BATESVILLE        MS    38606‐7228
COM
JOE DACOSTA                                    4216 PRESTON TRAIL                        MISSISSAUGA ON                          L4W 4H8 CANADA
JOE DAVID STAGGS JR                            1504 OAK KNOLLS CIRCLE                                                                                     FORT SMITH        AR    72903‐2761
JOE DELEON                                     4213 KNOXVILLE AVE                                                                                         LAKEWOOD          CA    90713‐3223
JOE DEMANDEL                                   308 TRAMMEL LANE                                                                                           FALLING WATERS    WV    25419‐6929
JOE DITMAR                                     5032 GREEN MEADOW DRIVE                                                                                    KALAMAZOO         MI    49009‐1254
JOE E ALUIA                                    41186 KENSINGTON AVE                                                                                       CLINTON TWP       MI    48038‐4648
JOE E CALL                                     433 AUGLAIZE                                                                                               DEFIANCE          OH    43512‐2204
JOE E COMPTON                                  2314 BLUE WATER LANE                                                                                       HOUSTON           TX    77018‐1013
JOE E CORLISS & MRS SHIRLEY L CORLISS JT TEN   2110 CHANNEL RD                                                                                            SUMNER            WA    98390‐6473
JOE E EATON                                    345 WOODLAND ST                                                                                            CHURCH HILL       TN    37642‐3839
JOE E FAULKNER                                 6920 COLLINSWOOD DRIVE                                                                                     NASHVILLE         TN    37221‐3959
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 98 of 855
Name                                            Address1                           Address2             Address3           Address4          City            State Zip

JOE E FRANKLIN                                  2911 E BLUERIDGE RD                                                                          SHELBYVILLE     IN    46176‐9254
JOE E HARRINGTON                                146 COURT ST                                                                                 MT CLEMENS      MI    48043‐5821
JOE E HETZ                                      28537 LEACH RD                                                                               DEFIANCE        OH    43512‐9186
JOE E KAYS                                      2267 LEE RD 197                                                                              PHENIX CITY     AL    36870‐8284
JOE E KRASKO                                    4609 SPRINGHILL RD                                                                           REMBERT         SC    29128‐8596
JOE E LEIGH                                     4954 HAM‐SCIPIO                                                                              HAMILTON        OH    45013‐8901
JOE E LEWIS                                     2124 LARKSPUR ST                                                                             FLOWERMOUND     TX    75028‐7214
JOE E LEWIS                                     2009 N HIGH                                                                                  MUNCIE          IN    47303‐1859
JOE E LOBRAICO II                               7390 EDGEWATER                                                                               INDIANAPOLIS    IN    46240‐3071
JOE E LOVELL                                    611 LESTER RD                                                                                FAYETTEVILLE    GA    30215‐5249
JOE E MORROW                                    295 SARANAC AVENUE                                                                           BUFFALO         NY    14216‐1931
JOE E PARKER                                    4491 HOMINY RIDGE RD                                                                         SPRINGFIELD     OH    45502‐8029
JOE E PARKS JR                                  230 LEILA CT                                                                                 LAWRENCEVILLE   GA    30045‐4782
JOE E PERRY                                     11695 KENN RD                                                                                CINCINNATI      OH    45240‐1945
JOE E VAUGHN                                    2131 E 38TH ST                                                                               ANDERSON        IN    46013‐2116
JOE EARL COYNER & ALICE JUNE COYNER JT TEN      2196 BROOKHAVEN DR                                                                           FLINT           MI    48507‐4657
JOE EDDIE KING                                  243 PIERCE RD                                                                                FLORENCE        MS    39073‐8216
JOE EMERSON HALL                                7800 MOCKINGBIRD LANE LOT 140                                                                N RICHLND HLS   TX    76180
JOE F BROWN                                     C/O JOANNE LEE HICKMAN             3894 SILVER BIRCH                                         HITE LAKE       MI    48383‐1066
JOE F GONZALES                                  2101 N MARLBOROUGH DR                                                                        MUNCIE          IN    47304‐8844
JOE F KREITZER                                  18579 ROAD 1027                                                                              DEFIANCE        OH    43512
JOE F LYES                                      PO BOX 48621                                                                                 TULSA           OK    74148‐0621
JOE F MC ADAMS & KATHY R MC ADAMS JT TEN        14018 DAVANA TER                                                                             SHERMAN OAKS    CA    91423‐4220
JOE F MONTROSE & SUSAN G MAHOLICK JT TEN        4142 LAKE STISON COURT                                                                       WHITE LAKE      MI    48383‐3806
JOE F MORENO                                    617 JACKSON AVE                                                                              DEFIANCE        OH    43512‐2715
                                                                                                                                             JUNCTION
JOE F OLIVERIO                                  6821 FRANKE RD                                                                               MIDDLEBURG HT   OH    44130‐2641
JOE F PATTERSON                                 4116 W 200 N                                                                                 KOKOMO          IN    46901‐8370
JOE F PITTMAN JR                                318 E SAMFORD AVE                                                                            AUBURN          AL    36830‐7420
JOE F ROBERTS                                   PO BOX 1052                                                                                  WARSAW          KY    41095‐1052
JOE F SPEIGHT JR                                PO BOX 619                                                                                   LOCKPORT        NY    14095‐0619
JOE F SPEIGHT JR & SYLVIA J SPEIGHT JT TEN      PO BOX 619                                                                                   LOCKPORT        NY    14095‐0619
JOE F WATSON                                    2816 KIRKWOOD DR                                                                             WEST COLUMBIA   SC    29170‐3212
JOE FAISON & MARGARET FAISON JT TEN             2130 W 38TH PLACE                                                                            DAVENPORT       IA    52806‐5312
JOE FERNANDEZ                                   6400 MCCLERRY RD                                                                             BALTIMORE       OH    43105‐9358
JOE FLOYD SKAGGS                                1928 PRESTON DRIVE                                                                           KENNETT         MO    63857‐4028
JOE G AYRES TR UA 11/15/86 JOE G AYRES          25 W 640 INDIAN HILL WOODS                                                                   NAPERVILLE      IL    60563‐1468
JOE G BURNS & MRS BESS F BURNS JT TEN           13416 SAND ROCK CT                                                                           CHANTILLY       VA    20151‐2472
JOE G HANSES                                    5406 S GRANGE RD R2                                                                          FOWLER          MI    48835‐8207
JOE G KIRKPATRICK                               453 DOKE COHRAN RD                                                                           DALLAS          GA    30157‐6090
JOE G LOREDO                                    2201 HAMPSHIRE DR                                                                            DISCOVERY BAY   CA    94514‐1825
JOE G RAMIREZ                                   5155 WEST TROPICANA BLVD           #1030                                                     LAS VEGAS       NV    89103‐7057
JOE G ROSENBACH                                 2202 AVALON CT                                                                               KOKOMO          IN    46902‐3102
JOE G WOOD                                      27648 SHERIDAN STREET                                                                        GARDEN CITY     MI    48135‐3173
JOE G WRIGHT                                    114 SHERWOOD DR                                                                              HILLSBORO       OH    45133‐8272
JOE GALEMMO                                     1207 ARVIN RD                                                                                DEXTER          MO    63841
JOE GEORGIANA                                   6495 SOUTHGROVE RD                                                                           MENTOR          OH    44060‐3447
JOE GONZALEZ                                    1107 N MAPLE                                                                                 ROYAL OAK       MI    48067‐4311
JOE H BARRAGAN & VIRGINIA C BARRAGAN JT TEN     2024 FOURTH ST                                                                               SAN FERNANDO    CA    91340‐1913
JOE H BARRAGAN & VIRGINIA C BARRAGAN JT TEN     2024 4TH ST                                                                                  SAN FERNANDO    CA    91340‐1913
JOE H CADE JR & BARBARA A CADE JT TEN           120 S COLLEGE                                                                                TYLER           TX    75702‐7215
JOE H CANADA                                    1217 GLYNN                                                                                   DETROIT         MI    48202‐1426
JOE H DILLON                                    15891 SCHOOL HOUSE RD                                                                        BROOKVILLE      OH    45309‐9716
JOE H DIXON                                     5289 ROBERTS DR                                                                              FLINT           MI    48506‐1553
JOE H FLOWERS                                   11401 PREST                                                                                  DETROIT         MI    48227‐2082
JOE H GOFF                                      10335 GOFF RIDGE RD                                                                          BAXTER          TN    38544‐6910
JOE H HAGEDORN                                  1233 GREYSTONE PARC DR                                                                       BIRMINGHAM      AL    35242‐7285
JOE H HORTON                                    0763 LEITH ST                                                                                FLINT           MI    48505‐4421
JOE H HUTCHISON                                 2054 OSTRUM                                                                                  WATERFORD       MI    48328‐1821
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                                                       Part 4 of 8 Pg 99 of 855
Name                                             Address1                              Address2                      Address3                   Address4           City              State Zip

JOE H JOHNSON JR                                 1269 GATEWOOD DR                                                                                                  LAWRENCEVILLE   GA      30043‐3806
JOE H JONES                                      1655 FAIRFIELD CIR                                                                                                GREENFIELD      IN      46140‐8096
JOE H KNIGHT                                     15814 SOUTHFIELD FWY                                                                                              DETROIT         MI      48223‐1362
JOE H RAY                                        118 SPOKANE                                                                                                       PONTIAC         MI      48341‐1163
JOE H ROSE                                       301 W AVE                                                                                                         NEW CASTLE      DE      19720‐5951
JOE H SMITH                                      20020 SORRENTO                                                                                                    DETROIT         MI      48235‐1193
JOE H TATE                                       238 CR 7040                                                                                                       BOONEVILLE      MS      38829‐9527
JOE H THOMAS & MRS KATHLYN E THOMAS JT TEN       43030 SACHS DR                                                                                                    LANCASTER       CA      93536
JOE H WILSON                                     ATTN JAMES O PHILLIPS III &           WILLIAM E PHILLIPS CO‐EXECS   CITIZENS UNION BANK BLDG   210 EAST MAIN ST   ROGERSVILLE     TN      37857‐3312
JOE HADDIX                                       1615 BURCHWOOD PLACE                                                                                              FAIRBORN        OH      45324‐4011
JOE HILL CUST CLINTON HILL UTMA DE               1820 HARTLY ROAD                                                                                                  HARTLY          DE      19953‐2727
JOE HILL HALL                                    6410 OLD FORSYTH RD                                                                                               MACON           GA      31210‐1465
JOE HILL JR                                      1382 PHILADELPHIA DR                                                                                              DAYTON          OH      45406‐4644
JOE HILLE                                        16177 LESURE ST                                                                                                   DETROIT         MI      48235‐4008
JOE HOWARD JR                                    2805 DUNKIRK                                                                                                      SAGINAW         MI      48603‐3137
JOE HUBBARD                                      4092 MCWHORTER RD                                                                                                 LONDON          KY      40741‐7713
JOE I RAYFORD                                    1515 HENDRICKS ST                                                                                                 ANDERSON        IN      46016‐3430
JOE IGLESIAS                                     108 FOREST DR                                                                                                     NORTH HALEDON   NJ      07508‐2794
JOE J BRAND                                      1458 CLARK COURT                                                                                                  VISTA           CA      92083‐8719
JOE J EPPERSON                                   2014 NEWPORT                                                                                                      TOLEDO          OH      43613
JOE J GINDI CUST DAVID J GINDI UGMA NY           1754 E 4TH ST                                                                                                     BROOKLYN        NY      11223‐1933
JOE J GINDI CUST JACK J GINDI UGMA NY            816 AVENUE K                                                                                                      BROOKLYN        NY      11230
JOE J KILBURN                                    310 TRAVIS DR                                                                                                     DAYTON          OH      45431‐2245
JOE J LYONS                                      12406 SEYMOUR RD                                                                                                  GAINES          MI      48436‐9731
JOE J PRICE                                      141 CORNER ST                                                                                                     ACKERMAN        MS      39735
JOE J ROSALES                                    10834 OLCESE RD                                                                                                   BAKERSFIELD     CA      93308‐9608
JOE J SHEPHERD                                   1409 EATON AVE #3                                                                                                 HAMILTON        OH      45013‐1476
JOE J WOOD & MRS DOLORES B WOOD JT TEN           3610 PINELAND                                                                                                     GLADWIN         MI      48624‐7941
JOE JACK BOWLING                                 417 EDGE WATER DR                                                                                                 IRVINE          KY      40336‐1297
JOE JARAMILLO                                    PO BOX 408                                                                                                        LYONS           IL      60534‐0408
JOE JELLOTS                                      911 POPLAR RD                                                                                                     STARKVILLE      MS      39759‐3620
JOE JOSEPH                                       720 FOXTAIL CT                                                                                                    NEW SMYRA BEACH FL      32168‐6168

JOE K BLAIR                                      308 12TH ST                                                                                                       GLEN DALE         WV    26038‐1722
JOE K CARTER                                     22 COTESWORTH PLACE                                                                                               HILTON HEAD       SC    29926‐2272
                                                                                                                                                                   ISLAND
JOE K EMERT                                      121 PHEASANT RUN                                                                                                  LAPEER            MI    48446‐4104
JOE K STEPHENSON                                 1080 HWY 114                                                                                                      SUMMERVILLE       GA    30747‐1550
JOE K WRIGHT                                     4633 COLUMBUS AVE                                                                                                 ANDERSON          IN    46013‐5127
JOE KAYE                                         1819 WHITEWATER DR                                                                                                ROCHESTER HILLS   MI    48309‐3224
JOE KEITH MOORE                                  6306 HAMPTON                                                                                                      AMARILLO          TX    79109‐6522
JOE KEITH MOORE & ANA M MOORE JT TEN             6306 HAMPTON                                                                                                      AMARILLO          TX    79109‐6522
JOE KRAS & MRS MILDRED M KRAS JT TEN             816 W MT HOPE                                                                                                     LANSING           MI    48910‐9065
JOE L ALEXANDER                                  121 GRANADA ST                                                                                                    MABANK            TX    75147‐9158
JOE L ALLEN JR                                   330 SHACKLEFORD DRIVE                                                                                             GREENVILLE        MS    38703‐3343
JOE L BLAYLOCK                                   16559 AVON                                                                                                        DETROIT           MI    48219‐4118
JOE L BRICKNER                                   9780 E BLANCHARD                                                                                                  SHEPHERD          MI    48883‐9370
JOE L BROOKMAN                                   688 OLD WHITEHILL RD                                                                                              STUARTS DRAFT     VA    24477
JOE L BROWN TR BROWN FAMILY TRUST B UA 1/17/78   2048 VISTA CAJON                                                                                                  NEWPORT BEACH     CA    92660

JOE L COLLINS                                    23100 LAURA                                                                                                       SOUTHFIELD        MI    48075‐3355
JOE L COULTER                                    8300 CREEKDALE                                                                                                    SHREVEPORT        LA    71107‐9580
JOE L CREECY                                     1374 CR 153A                                                                                                      KAUFMAN           TX    75142
JOE L DAVIS                                      2515 KEMPER RD                        APT 503                                                                     CLEVELAND         OH    44120‐1272
JOE L FIELDS                                     709 LANELL                                                                                                        DEER PARK         TX    77536‐4920
JOE L GOLDSMITH                                  19649 RYAN                                                                                                        DETROIT           MI    48234‐1923
JOE L GUZMAN                                     15817 HAYLAND ST                                                                                                  VALIHDA           CA    91744‐2134
JOE L HORNE                                      5432 FAIRVIEW                                                                                                     GRAND BLANC       MI    48439‐5150
JOE L HUFF                                       18 W 40TH                                                                                                         ANDERSON          IN    46013‐4302
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 100 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

JOE L JONES                                       6641 GARDEN DRIVE                                                                             MT MORRIS       MI    48458‐2328
JOE L JONES JR                                    4921 CRESTVIEW                                                                                CLARKSTON       MI    48348‐3951
JOE L LIGGINS                                     7521 APPLETON AVE                                                                             RAYTOWN         MO    64138‐2307
JOE L MARTIN                                      21270 LORAIN RD                                                                               CLEVELAND       OH    44126‐2121
JOE L MARTIN SR                                   1535 N MICHIGAN ST LOT 229                                                                    PLYMOUTH        IN    46563‐1057
JOE L MASON                                       6405 HWY 59                                                                                   SOMERVILLE      TN    38068‐5001
JOE L MENGER                                      5455 RIDGE LANE                                                                               SOLON           OH    44139‐1637
JOE L MILLER                                      350 WOODLAND DRIVE                                                                            DOTHAN          AL    36301‐1348
JOE L OLIVER                                      1064 SHERMAN S E                                                                              GRAND RAPIDS    MI    49506‐2610
JOE L PHELPS                                      12020 HOGAN HWY                                                                               CLINTON         MI    49236
JOE L PHILLIPS                                    2809 BROOKWOOD LN N                                                                           SAGINAW         MI    48601‐7605
JOE L PHILPOT                                     4554 EAST 126 ST                                                                              GARFIELD HTS    OH    44105‐6906
JOE L REED                                        18003 SCHENELY AVE                   LOWR                                                     CLEVELAND       OH    44119‐2044
JOE L RILEY                                       760 BROWN ST                                                                                  AKRON           OH    44311‐1854
JOE L RIVERS                                      55 STEVENSON STREET                                                                           LOCKPORT        NY    14094‐4229
JOE L ROBINSON                                    5208 WHALEY DR                                                                                DAYTON          OH    45427‐2131
JOE L SCEARCE                                     5705 BROOKSIDE DRIVE                                                                          CHEVY CHASE     MD    20815‐6666
JOE L SCREWS                                      9 LEROY RD                                                                                    PITTSVIEW       AL    36871‐2908
JOE L SHACK                                       14563 NORTHLAWN ST                                                                            DETROIT         MI    48238
JOE L SMITH                                       524 GILES DR                                                                                  MADISON         MS    39110‐8690
JOE L TACKETT                                     RR 1 BOX 550                                                                                  FORT GAY        WV    25514‐9784
JOE L TAYLOR                                      5349 PENNSYLVANIA                                                                             DETROIT         MI    48213‐3143
JOE L TODD                                        18240 MARLOWE ST                                                                              DETROIT         MI    48235‐2762
JOE L VIGIL                                       2774 BONA ST                                                                                  OAKLAND         CA    94601‐2000
JOE L WATSON                                      5322 LAURENE                                                                                  FLINT           MI    48505‐2508
JOE L WESLEY                                      1515 N EXETER ST                                                                              INDIANAPOLIS    IN    46222‐2922
JOE L WILSON                                      3718 N E 28TH ST                                                                              FORT WORTH      TX    76111‐5152
JOE L YUNG & KAM S YUNG TR YUNG FAMILY TRUST UA   918 W GARVEY AVE #205                                                                         MONTEREY PARK   CA    91754‐2603
08/20/01
JOE LAMBERT SLEDGE                                305 DEMOPOLIS ST                                                                              GREENSBORO      AL    36744‐1909
JOE LEAMON MOULTRIE                               1521 DILLON                                                                                   SAGINAW         MI    48601‐1329
JOE LISBON                                        351 WEST 42ND STREET                 APT 1612                                                 NEW YORK        NY    10036‐6936
JOE LOUIS LOWE                                    4147 WISNER                                                                                   SAGINAW         MI    48601‐4251
JOE LUNA                                          1850 SUDBURY ST                                                                               HOLLAND         OH    43528‐8524
JOE M ANDERSON & MRS LOIS ANDERSON JT TEN         6175 MINERAI POINT RD                TABUR OAKS #321                                          MADISON         WI    53705
JOE M CRIOLLOS                                    2441 S MERIDIAN ROAD                                                                          MIDLAND         MI    48640‐9579
JOE M DANIEL                                      257 S POPLAR ST                                                                               ATHENS          GA    30601‐3021
JOE M DISKIN                                      40805 NEWPORT DR #234                                                                         PLYMOUTH        MI    48170‐4741
JOE M FINKEL                                      2113 CLOUD CROFT CIRCLE                                                                       BIRMINGHAM      AL    35216‐3003
JOE M GARCIA                                      23 CANTERBURY SW                                                                              WYOMING         MI    49548‐1116
JOE M GREEN                                       2726 FRANK ST                                                                                 LANSING         MI    48911‐6403
JOE M GUTIERREZ                                   1001 NW 25TH ST                                                                               MOORE           OK    73160‐1125
JOE M HAAS                                        1123 CHALLENGER                                                                               AUSTIN          TX    78734‐3801
JOE M HALVORSEN                                   PO BOX 1611                                                                                   MALTA           MT    59538‐1611
JOE M HERRON                                      335 DARBY DR                                                                                  GALLOWAY        OH    43119‐9167
JOE M MAYA                                        5242 KINGSLEY ST                                                                              MONTCLAIR       CA    91763‐3857
JOE M MC GEE                                      7006 ORANGE LANE                     APT 633                                                  FLINT           MI    48505‐1928
JOE M SERRADAS                                    3370 PARSONS RUN                                                                              SUWANEE         GA    30024‐1095
JOE M STEWART                                     3521 W ASH AVE                                                                                FULLERTON       CA    92833‐3105
JOE M SUBLETT                                     1366 NORTHSIDE RD                                                                             NEWPORT         VA    24128‐4269
JOE M THORNTON                                    15342 WOODRING ST                                                                             LIVONIA         MI    48154‐3030
JOE M WHITTEN                                     36175 WESTFIELD DR                                                                            N RIDGEVILLE    OH    44039‐3837
JOE MAMONE & INDERA M MAMONE JT TEN               5 ARGONNE CR                         TORONTO ON                             M2K 2P6 CANADA
JOE MANIFESTO                                     5344 WILLOW GLEN PL                                                                           CASTRO VALLEY   CA    94546‐1500
JOE MARTINEZ                                      18590 FARALLON RD                                                                             MADERA          CA    93638‐0309
JOE MASON CASHION                                 2015 ROWE GAP RD                                                                              WINCHESTER      TN    37398
JOE MC KEE                                        8246 PREST                                                                                    DETROIT         MI    48228‐2229
JOE MILLER                                        615 S LUCERNE DR                                                                              SALEM           UT    84653‐9483
JOE MINERVINO                                     10740 OXFORD AVE                                                                              CHICAGO RIDGE   IL    60415‐2152
                                     09-50026-mg          Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                        Part 4 of 8 Pg 101 of 855
Name                                   Address1                          Address2             Address3          Address4          City            State Zip

JOE MORENO                             2015 E BULTER ST                                                                           CHANDLER        AZ    85225‐5831
JOE N ANDREWS                          11522 CORLYN DR                                                                            ST LOUIS        MO    63138‐1114
JOE N BENSON JR                        1438 W DONOVAN ST                                                                          HOUSTON         TX    77091‐5416
JOE N BOWEN JR                         2401 ROBINWOOD ST                                                                          SAGINAW         MI    48601‐3524
JOE N FERRELL                          1510 NANTUCKET CT                                                                          LOUISVILLE      KY    40211‐1811
JOE N GILLILAND                        #10 LEANNA DR NE                                                                           ROME            GA    30165‐9024
JOE N JACKSON                          2345 GAINES MILL RD                                                                        GAINESVILLE     GA    30507‐7473
JOE N LAWS                             20161 CAROL                                                                                DETROIT         MI    48235‐1656
JOE N LEWIS                            11134 S INDIANA                                                                            CHICAGO         IL    60628‐4315
JOE N LYLES                            409 E BALTIMORE                                                                            FLINT           MI    48505‐3375
JOE N MC CULLOUGH                      6156 FARROW AVE APT C                                                                      KANSAS CITY     KS    66104‐1383
JOE N OGLETREE                         780 HARGROVE WAY                                                                           CINCINNATI      OH    45240‐1940
JOE N PALMER                           8650 CONNAUGHT GARDEN DR                                                                   HOUSTON         TX    77083‐6031
JOE N PERRY                            PO BOX 1903                                                                                WARREN          OH    44482‐1903
JOE N QUINCE JR                        PO BOX 263                                                                                 SO BELOIT       IL    61080‐0263
JOE N SMITH                            3370 CORTEZ DR                                                                             DAYTON          OH    45415‐2722
JOE N STEWART                          1646 S TRUMBULL AVE                                                                        CHICAGO         IL    60623‐2521
JOE N SWILLEY                          3347 OAKWOOD AVE                                                                           SAGINAW         MI    48601‐4449
JOE N TAYLOR                           1970 LITCHFIELD AVENUE                                                                     DAYTON          OH    45406‐3810
JOE N THOMPSON                         714 BIRTHSTONE AVE                                                                         MEMPHIS         TN    38109‐6398
JOE N WALKER                           48 MILION AVE                                                                              AIKEN           SC    29803‐8339
JOE NATHAN WILLIAMS                    18500 SANTA ROSA                                                                           DETROIT         MI    48221‐4201
JOE NAVA & MARIA T NAVA TEN ENT        456 S 22ND ST                                                                              SAGINAW         MI    48601‐1537
JOE NOWOWEISKI                         517 MERCER RD                     ARMADALE             VICTORIA          3143 AUSTRALIA
JOE NUNNERI                            8448 CASABA AVE                                                                            CANOGA PARK     CA    91306‐1305
JOE O GAMBLE                           291 RED OAK DR                                                                             COOPERSVILLE    MI    49404‐2403
JOE O PRICE JR                         6101 HILLSBORO RD                                                                          NASHVILLE       TN    37215‐5005
JOE OWEN                               126 RIVERVIEW DR                                                                           SUWANEE         GA    30024‐4290
JOE P CLEMENT                          1166 RISECLIFF DR                                                                          GRAND BLANC     MI    48439‐8940
JOE P DELGADO                          7571 W KRALL ST                                                                            GLENDALE        AZ    85303‐2959
JOE P HERNANDEZ                        1039 HOLTSTADER                                                                            FLINT           MI    48505‐1622
JOE P LARICCIA                         115 HICKORY LN                                                                             CLINTON         MS    39056‐5412
JOE P MAGNESS                          19418 DAVIS FORD AVE                                                                       SPRINGDALE      AR    72764‐9403
JOE P MARTINEZ                         26147 EVERGREEN ST                                                                         HAYWARD         CA    94544‐2737
JOE P SPENCER                          37570 DALE DRIVE APT 204                                                                   WESTLAND        MI    48185‐1090
JOE P STUBBLEFIELD                     5544 W COLUMBIA RD                                                                         MASON           MI    48854‐9556
JOE P THOMAS JR                        1 COUNTRY CLUB LN                                                                          MCALLEN         TX    78503‐3118
JOE PEREIRA                            22 HALSTEAD STREET                                                                         KEARNY          NJ    07032‐2046
JOE PHELPS                             752 LINWOOD                                                                                OWOSSO          MI    48867‐3862
JOE R ALMAREZ                          4508 WELLESLEY                                                                             FORT WORTH      TX    76107
JOE R BAILEY                           17551 ALA HWY 251                                                                          ATHENS          AL    35613‐4608
JOE R BAIRD                            9 ROTH CT                                                                                  METAMORA        IL    61548‐9216
JOE R BOWEN                            559 BEN GAY RD                                                                             GARFIELD        GA    30425‐3849
JOE R BRADSHAW                         1835 E CMINO ALTO                                                                          SPRINGFIELD     MO    65804‐4340
JOE R BUCKLEY                          505 WESTBROOK RD                                                                           DAYTON          OH    45415‐2247
JOE R CERVANTES                        211 N BELMORE ST                                                                           LEIPSIC         OH    45856‐1204
JOE R CHRISTOPHER                      820 CHARLOTTE                                                                              STEPHENVILLE    TX    76401‐2811
JOE R CLARK                            1784 PCR 800                                                                               PERRYVILLE      MO    63775‐7170
JOE R DURAN                            5516 VICTOR STREET                                                                         DALLAS          TX    75214‐5055
JOE R EDEN                             3314 W ALTO RD                                                                             KOKOMO          IN    46902‐4689
JOE R FANT SR                          908 ROBINHOOD TRAIL                                                                        AIKEN           SC    29803‐6171
JOE R GREENE                           25037 COLGATE                                                                              DEARBORN HTS    MI    48125‐1609
JOE R HALL                             PO BOX 323                                                                                 RADCLIFF        KY    40159‐0323
JOE R HIPP & LUCILLE J HIPP JT TEN     295 GROVER JOHNSON RD                                                                      VILAS           NC    28692‐9348
JOE R MARTINEZ                         6850 V V JONES RD                                                                          VENUS           TX    76084‐4636
JOE R MCKERVEY                         1908 IVY COURT                                                                             COLUMBIA        TN    38401‐1389
JOE R MELTON                           6672 E STATE RD 26                                                                         HARTFORD CITY   IN    47348‐8903
JOE R MORRISH                          5556 FLUSHING RD                                                                           FLUSHING        MI    48433‐2532
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 4 of 8 Pg 102 of 855
Name                                               Address1                             Address2                     Address3     Address4          City            State Zip

JOE R MYERS & IRENE K MEYERS TR MYERS FAM TRUST    131 MINORCA WAY                                                                                  MILLBRAE        CA    94030‐2910
UA 08/31/94
JOE R RAMOS                                        1213 KANE ST                                                                                     WACO            TX    76705‐2551
JOE R RENDON                                       1788 CARDINAL DRIVE                                                                              PLACERVILLE     CA    95667‐5002
JOE R RIGGS                                        520 CLARION ST                                                                                   CLIO            MI    48420‐1260
JOE R RUTLEDGE                                     884 ATLANTA HWY                                                                                  AUBURN GA       GA    30011‐3527
JOE R SERNA                                        222 KIM SUE LN                                                                                   BUELLTON        CA    93427‐9756
JOE R VAREL ELIZABETH T VAREL & J B VAREL JT TEN   3 CEDAR FORK COURT                                                                               DEFIANCE        MO    63341‐1319

JOE R VASQUEZ                                      124 N CATHERINE ST                                                                               LANSING         MI    48917‐2928
JOE R WILLIAMS                                     13383 N FOREST DR                                                                                CAMBY           IN    46113‐8675
JOE R WRIGHT & SARA F WRIGHT JT TEN                393 CALLE COLINA                                                                                 SANTA FE        NM    87501‐1017
JOE RAY                                            7724 N MOE RD                                                                                    MIDDLEVILLE     MI    49333‐8819
JOE RAYSIK                                         RR 3                                 25409 MILTON THOMPSOM                                       LEE'S SUMMIT    MO    64086‐9598
JOE ROBERT SAMS                                    7225 23RD AVE                                                                                    JENISON         MI    49428‐8749
JOE ROBINSON                                       18644 BIRWOOD                                                                                    DETROIT         MI    48221‐1906
JOE ROBINSON                                       1931 GOLDEN GATE AVE                                                                             SAN FRANCISCO   CA    94115‐4312
JOE ROBINSON                                       5143 MAXWELL                                                                                     DETROIT         MI    48213‐2989
JOE S CHIDESTER & BARBARA R LAMBERT JT TEN         2248 MUSSON                                                                                      HOWELL          MI    48843‐9082
JOE S EDWARDS JR                                   2626 SHORELINE DR                                                                                LIMA            OH    45805‐3658
JOE S GORDON                                       ATTN IDA MAE GORDON EXEC FOR         THE ESTATE OF JOE S GORDON   421 S 23RD                     SAGINAW         MI    48601‐1543
JOE S HARRELL                                      5580 MORNING CREEK CIRCLE                                                                        COLLLEGE PARK   GA    30349‐3501
JOE S JOHNSON                                      3262 LINCOLN ROAD                                                                                YORK            SC    29745‐6301
JOE S MARCRUM                                      PO BOX 37                                                                                        HIGH RIDGE      MO    63049‐0037
JOE S PONCE & LYDIA C PONCE JT TEN                 10119 WOODALE                                                                                    ARLETA          CA    91331‐5046
JOE SANDERS & BARBARA A SANDERS JT TEN             5865 CLEARVIEW DRIVE                                                                             TROY            MI    48098‐2453
JOE SCOTT                                          6560 KAISER AVE                                                                                  FONTANA         CA    92334
JOE SEIBERS                                        PO BOX 62                                                                                        MORENCI         MI    49256‐0062
JOE SHEARRER                                       6879 EAST 724 RD                                                                                 EL DORADO       MO    64744‐7371
                                                                                                                                                    SPRINGS
JOE SIGURANI                                       PO BOX 781                                                                                       SALEM           OH    44460‐0781
JOE SINGLETON JR                                   1161 E MAIN ST                                                                                   DAYTON          OH    45426‐2409
JOE SMITH                                          7543 PARTRIDGE RD                                                                                INDIANAPOLIS    IN    46227‐7974
JOE SMITH                                          287 MANGUS VALLEY RANCH                                                                          SILVER CITY     NM    88061‐9261
JOE SMITH JR                                       1439 LITTLE AVE                                                                                  COLUMBUS        OH    43223‐3014
JOE SOUCEK                                         45 CHEYENNE DR                                                                                   RITTMAN         OH    44270‐1289
JOE T BIGGS                                        PO BOX 184                                                                                       CARENESVILLE    GA    30521‐0184
JOE T BUCHANAN                                     1634 PETTIBONE                                                                                   FLINT           MI    48507‐1516
JOE T BUCHANAN JR                                  G 7441 BEECHER ROAD                                                                              FLINT           MI    48532
JOE T FARRAR                                       PO BOX 231                                                                                       WHITE PINE      TN    37890‐0231
JOE T GLENN                                        20497 AUDREY                                                                                     DETROIT         MI    48235‐1631
JOE T LYONS                                        2708 JOE REEVES RD                                                                               LEWISBURG       TN    37091‐9114
JOE T OKELLEY                                      827 WALTON ROAD                                                                                  MONROE          GA    30656‐1596
JOE T ROSE                                         4455 OLYMPIC DR                                                                                  COCOA           FL    32927‐3537
JOE T TREADWAY                                     4086 NICHOLS RD                                                                                  SWARTZ CREEK    MI    48473‐8511
JOE T WIMS                                         272 S MARSHALL                                                                                   PONTIAC         MI    48342‐3243
JOE T YADON                                        14253 DYER ST                                                                                    SYLMAR          CA    91342‐4134
JOE TAPLEY                                         3532 ALEC DR                                                                                     FAIRFIELD       OH    45014‐8562
JOE THOMAS LEHMAN                                  6407 LAUREL VALLEY RD                                                                            DALLAS          TX    75248‐3904
JOE THRASHER                                       515 BERKSHIRE                                                                                    LONGVIEW        TX    75605‐3704
JOE TILLMAN JR                                     513 CRONK AVE                                                                                    SAGINAW         MI    48602‐5811
JOE TOM COX                                        15020 GAILLARDIA DR                                                                              OKLAHOMA CITY   OK    73172
JOE TOM WHITE CUST JILL ELAINE WHITE UGMA TX       1 MERRYHILL CIR                                                                                  WICHITA FALLS   TX    76309‐4922

JOE TOM WHITE CUST JODY ANN WHITE UGMA TX          1 MERRYHILL CIR                                                                                  WICHITA FALLS   TX    76309‐4922
JOE TYSON                                          16100 TEMPLAR CIR                                                                                SOUTHFIELD      MI    48075‐6933
JOE U ROBINSON                                     8614 ROSELAWN                                                                                    DETROIT         MI    48204‐5509
JOE U ROBINSON & BESSIE M ROBINSON JT TEN          8614 ROSELAWN                                                                                    DETROIT         MI    48204‐5509
JOE W ARCHIBALD                                    6062 CONNERY DR                                                                                  SHINGLE SPGS    CA    95682‐7690
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 103 of 855
Name                                              Address1                            Address2             Address3          Address4          City              State Zip

JOE W ASHFORD                                     5873 KENNERLY                                                                                ST LOUIS          MO    63112‐3821
JOE W BAILEY                                      3417 CLIPPERT ST                    #2                                                       DETROIT           MI    48210‐2839
JOE W BOOKER                                      6719 ORANGE LN                                                                               FLINT             MI    48505‐5424
JOE W BUSH                                        4615 MANCHESTER RD                                                                           MIDDLETOWN        OH    45042‐3817
JOE W CARTWRIGHT                                  1317 SMITH LOOP                                                                              GRAFORD           TX    76449‐1907
JOE W COX JR                                      29742 FAIRWAY VISTA                                                                          FAIR OAKS RANCH   TX    78015‐4929
JOE W DELGADO III                                 1830 COLLEGE AVENUE                                                                          LINCOLN PARK      MI    48146‐1313
JOE W DODSON                                      231 BOARDMAN BLVD                                                                            YOUNGSTOWN        OH    44512‐6045
JOE W DOOM                                        PO BOX 611                                                                                   UPPER LAKE        CA    95485‐0611
JOE W DOWNEY                                      294 SAVANNAH PARK                                                                            MARYVILLE         TN    37803‐8873
JOE W EDMISTON                                    210 MILLER ST                                                                                RISING STAR       TX    76471
JOE W FOLEY                                       306 ALLISON                                                                                  BARBOURVILLE      KY    40906‐1602
JOE W GIBBONS                                     PO BOX 1174                                                                                  RED OAK           GA    30272‐1174
JOE W GRAVES                                      4260 WYNDHAM PK DR                                                                           DECATUR           GA    30034‐5427
JOE W HENRY JR                                    119 SOUTH FIRST ST                                                                           PULASKI           TN    38478‐3215
JOE W HUDSON                                      10720 TWO NOTCH RD                                                                           ELGIN             SC    29045‐9307
JOE W LANGLEY                                     9824 HAM CLEVES PK R R                                                                       HARRISON          OH    45030
JOE W LEECH                                       705 NORTH LUMPKIN                                                                            TUPELO            MS    38801‐2439
JOE W MALONE                                      7062 HIGHWAY BB                                                                              CEDAR HILL        MO    63016‐2301
JOE W MANDRELL                                    55 NORTH 8TH ST                                                                              BEECH GROVE       IN    46107‐1503
JOE W MOYERS                                      15115 FREDRICH RD                   RTE 144                                                  WOODBINE          MD    21797‐8605
JOE W PILLOW                                      7695 HALLENBECK HWY                                                                          MANITOU BEACH     MI    49253‐9507
JOE W REDDEN                                      703 VERONA RD                                                                                DAYTON            OH    45417‐1234
JOE W SHERRON                                     12009 MACKINAW TRL                                                                           LEROY             MI    49655‐8589
JOE W STEWART                                     1080 GRANADA AVE                                                                             CASPER            WY    82601‐5931
JOE WATKINS                                       4825 FORESTDALE DRIVE                                                                        GARFIELD HGTS     OH    44125‐1834
JOE WATSON                                        103 KENTUCKY ST                                                                              ENTERPRISE        AL    36330‐2869
JOE WATTIE MAYBERRY                               625 SHOOP AVE                                                                                DAYTON            OH    45407‐1407
JOE WHITENER & JOE S WHITENER JT TEN              1910 JOHN CARROL DR                                                                          PENSACOLA         FL    32504‐8115
JOE YOUNG                                         15812 CARSE AV                                                                               HARVEY            IL    60426‐5108
JOE YOUNG                                         9570 BEACHDALE                      WINDSOR ON                             N8R 1R9 CANADA
JOEANN BOGGS                                      C/O JOEANN MILLER JACOBS            PO BOX 21081                                             WINSTON SALEM     NC    27120‐1081
JOEANN ETHEL WYLIE & JAMES PATRICK WYLIE JT TEN   1195 PINCONNING RD                                                                           BEAVERTON         MI    48612‐8840

JOEANN GIBSON                                  6312 CLEVELAND                                                                                  KANSAS CITY       KS    66104‐2738
JOEANN HUTSKO                                  6914 LAKEVIEW DR                                                                                HUBBARD LAKE      MI    49747‐9629
JOEANN KRAUSS                                  5762 STATE ROUTE 416 W                                                                          ROBARDS           KY    42452
JOEANN L DEWATERS                              2704 S PERKEY                                                                                   CHARLOTTE         MI    48813‐9368
JOEANN WESTBROOK                               6501 CORKLEY RD                                                                                 ROSEDALE          MD    21237‐1733
JOEANN WESTBROOK                               6501 CORKLEY RD                                                                                 ROSEDALE          MD    21237‐1733
JOEANNE P CONNOLLY                             279 LAUREL HOLLOW DR                                                                            NOKOMIS           FL    34275‐4026
JOEDNA M SMYTH                                 1265 CHEROKEE LN                                                                                BEAUMONT          TX    77702‐1106
JOEELLA PRICE                                  PO BOX 1295                                                                                     MONTICELLO        MS    39654‐1295
JOEL A ALEXANDER                               33 DAVIS LAKE RD                                                                                LAPEER            MI    48446‐1470
JOEL A AZURE & ANTHONY L AZURE JT TEN          328 SPRUCE ST                                                                                   KETCHIKAN         AK    99901‐5554
JOEL A BROOKS JR                               8867 MARICOPA TRAIL                                                                             KALAMAZOO         MI    49009‐4936
JOEL A CLARK                                   31 ELKS TR                                                                                      NEW CASTLE        DE    19720‐3856
JOEL A MICHAUD                                 415 HART STREET                                                                                 BRISTOL           CT    06010
JOEL A PACE                                    2426 DELWOOD                                                                                    CLIO              MI    48420‐9112
JOEL A PIERCE                                  78 1ST ST                                                                                       PLAINWELL         MI    49080‐9127
JOEL A SCHNEIDER CUST MATTHEW T SCHNEIDER UGMA 6 THOMPSON CT                                                                                   MORRISTOWN        NJ    07960‐6326
NY
JOEL A WILEY                                   604 ROSWELL LEE RD                                                                              GRANTVILLE        GA    30220
JOEL ALAN CUBAN                                206 MAGNOLIS ST                                                                                 WHITAKER          PA    15120‐2332
JOEL B DILDAY                                  8158 CHANDLER RD                                                                                ST JOHNS          MI    48879‐9157
JOEL B HALL                                    13652 JENET CIR                                                                                 SANTA ANA         CA    92705‐2807
JOEL B HUSTED                                  PO BOX 454                                                                                      TOMKINS COVE      NY    10986‐0454
JOEL B NICHOLS                                 370 WOODSIDE CT                        APT 37                                                   ROCHESTER HLS     MI    48307‐4176
JOEL B ONSTAD                                  7918 N 10TH ST                                                                                  TACOMA            WA    98406‐1088
                                                09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 104 of 855
Name                                                Address1                                Address2             Address3          Address4          City            State Zip

JOEL B YANCEY                                       301 STANFORD RD                                                                                  WINSTON‐SALEM   NC    27104‐1519
JOEL BRAVERMAN                                      12 GILBERT PL                                                                                    WEST ORANGE     NJ    07052‐3910
JOEL C BERLINGHIERI & SUSAN E BERLINGHIERI JT TEN   1820 CHEROKEE ROSE CIR                                                                           MT PLEASANT     SC    29466‐8003

JOEL C DE CLOUX CUST DENNIS BRADFORD DE CLOUX       2914 C R 143                                                                                     INTERLAKEN      NY    14847‐9740
UGMA CT
JOEL C DE CLOUX CUST KELSEY DE CLOUX UGMA NY        2914 C R 143                                                                                     INTERLAKEN      NY    14847‐9740

JOEL C DECLOUX                                      2914 C R 143                                                                                     INTERLAKEN      NY    14847
JOEL C DURAN CUST BENJAMIN J DURAN UTMA CO          263 SOUTH TAFT HILL RD                                                                           FORT COLLINS    CO    80521‐2229

JOEL C EDDY                                         4242 CORNELL RD                                                                                  OKEMOS          MI    48864‐3404
JOEL C HOLLAND TR 09/13/04 JOEL CLYDE HOLLAND       3395 PESHTIGO DR SW                                                                              GRANDVILLE      MI    49418
TRUST
JOEL C MELTON                                       2960 TWIN CREEK LANE                                                                             NEW CASTLE      OK    73065‐6484
JOEL C MICHAEL                                      202 SELDEN RD                                                                                    NEWPORT NEWS    VA    23606‐3656
JOEL CHRISTOPHER SUGG                               BOX 5069                                                                                         SAN ANGELO      TX    76902‐5069
JOEL CLARK ATELLA                                   128 N WHITCOMB                                                                                   FORT COLLINS    CO    80521‐2658
JOEL CLINTON REESE                                  RT 1 BX 155                             C/O BOB HICKS                                            HEREFORD        TX    79045‐9709
JOEL COHEN                                          1025 KANE CONCOURSE SUITE 215                                                                    BAY HARBOR      FL    33154‐2118
                                                                                                                                                     ISLANDS
JOEL D DAVIES & WANDA C DAVIES JT TEN           12147 COUNTRY DAY CIR                                                                                FORT MYERS      FL    33913‐7621
JOEL D GALINIS                                  2089 S 9TH ST                                                                                        KALAMAZOO       MI    49009‐9405
JOEL D GATES                                    21855 ROOSEVELT RD                                                                                   SOUTH BEND      IN    46614‐9680
JOEL D MELGOZA                                  37157 ALEXANDER ST                                                                                   FREMONT         CA    94536‐6501
JOEL D PAULITZ                                  558 EDGEWOOD DR                                                                                      SHARON          PA    16146‐2638
JOEL D ROYER                                    1424 MARELEN DR                                                                                      FULLERTON       CA    92835‐3710
JOEL D RUBIN                                    837 W OAKDALE AVE                                                                                    CHICAGO         IL    60657
JOEL D WILLIAMS                                 248 ROUNDS AVE                                                                                       BUFFALO         NY    14215‐1220
JOEL D WILLIAMSON                               941 PLEASANT CROSS RD                                                                                ASHEBORO        NC    27203‐8380
JOEL DAMES                                      15307 15TH AVE NE #7                                                                                 SHORELINE       WA    98155‐7147
JOEL DAVID CAMDEN                               1608 TRAILS END                                                                                      GREENVILLE      NC    27858‐8073
JOEL DAVID SEGEL                                1206 EARLINGTON RD                                                                                   HAVERTOWN       PA    19083‐3929
JOEL DEFEHR                                     6316 N HARVARD                                                                                       OKLAHOMA CITY   OK    73122‐7629
JOEL DENNY STIDHAM CUST BRANDON CHASE STIDHAM 2236 SOUTHBRIDGE LN                                                                                    NORTHBROOK      IL    60062‐6622
UTMA IL
JOEL DENNY STIDHAM CUST BRITTANY SUSANNE        2236 SOUTHBRIDGE LN                                                                                  NORTHBROOK      IL    60062‐6622
STIDHAM UTMA IL
JOEL DENNY STIDHAM CUST MALLORY KAITLIN STIDHAM 2236 SOUTHBRIDGE LN                                                                                  NORTHBROOK      IL    60062‐6622
UTMA IL
JOEL DENNY STIDHAM CUST RYAN FREDRICK STIDHAM 15237 WEST 153 ST                                                                                      OLATHE          KS    66062‐3739
UTMA IL
JOEL DENNY STIDHAM CUST SARA KAMERAN STIDHAM 2236 SOUTHBRIDGE LANE                                                                                   NORTHBROOK      IL    60062‐6622
UTMA IL
JOEL DONALD DANIELS                             7‐16 CEDAR ST                                                                                        FAIRLAWN         NJ   07410‐1546
JOEL E CARSON                                   3954 BRADWOOD DR                                                                                     DAYTON           OH   45405‐2001
JOEL E COCHRAN                                  15270 S THOMPSON RD                                                                                  ALPHARETTA       GA   30004‐3109
JOEL E COPENHAVER                               668 E PREDA DR                                                                                       WATERFORD        MI   48328‐2025
JOEL E ESCOBAR                                  1306 OAK PATH                                                                                        SAN ANTONIO      TX   78258‐1935
JOEL E MOHR                                     9 STERLING                                                                                           ADRIAN           MI   49221‐4262
JOEL E POTTER                                   356 JACKSON AVE                                                                                      NEW WINDSOR      NY   12553‐8913
JOEL E SEVILLA                                  1219 29TH ST                                                                                         SAN DIEGO        CA   92102‐2207
JOEL E WESTMAAS                                 7209 MEADOWVIEW SE ST                                                                                ADA              MI   49301‐7540
JOEL EDDIE                                      6306 CAMBRIDGE DR                                                                                    HARRISBURG       NC   28075
JOEL F KELLER                                   RD 7 BOX 350                                                                                         LEBANON          PA   17042‐9794
JOEL F WEDNIG                                   9035 LOUISE                                                                                          LIVONIA          MI   48150‐4017
JOEL F WHITE                                    8052 WHISPERING PINES DR                                                                             MORGANTOWN       IN   46160
JOEL FORMAN & LINDA S FORMAN JT TEN             31258 STONEGATE CT                                                                                   FARMINGTON HILLS MI   48331‐1458
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 105 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

JOEL G BUSSELL & JOAN M BUSSELL JT TEN           6265 WALNUT LAKE RD                                                                            WEST BLOOMFIELD MI       48323‐2251

JOEL G GROSCH & MRS JUANITA E GROSCH JT TEN      10 REEVE CT                                                                                    ST HELENA ISLAND   SC    29920‐3018

JOEL G HUNT                                      105 DEBORAH DR                                                                                 BRANDON            MS    39042‐3611
JOEL G KAUFMAN                                   9060 DELLA SCALA CIR                                                                           ORLANDO            FL    32836‐5401
JOEL G LEE CUST ELIZABETH JORDAN LEE UTMA MD     3627 ROBIN RD                                                                                  NASHVILLE          TN    37204‐3824

JOEL G LEE CUST NATHAN JOEL LEE UTMA MD          3627 ROBIN RD                                                                                  NASHVILLE          TN    37204‐3824
JOEL G LOPEZ                                     52275 CLARENDON HILLS DRIVE                                                                    GRANGER            IN    46530‐7854
JOEL G SMITH                                     1729 HARROGATE CT                                                                              GRAYSON            GA    30017‐1094
JOEL GLAUSER                                     4753 STREET RD                                                                                 TREVOSE            PA    19053
JOEL GRANDY                                      504 E PINE                                                                                     EDMORE             MI    48829
JOEL H BRENNER & ARLENE BRENNER JT TEN           2765 WEST 5TH ST APT 3D                                                                        BROOKLYN           NY    11224
JOEL H CLEMONS                                   4874 EAST HAMPTON BLVD                                                                         MORRISTOWN         TN    37814
JOEL H DAVIS                                     1849 S OCEAN DR                       PH 2                 PLAZA TOWER S                       HALLANDALE         FL    33009
JOEL H FARBER & HARRIETT FARBER JT TEN           PO BOX 64321                                                                                   CHICAGO            IL    60664‐0321
JOEL H FARBER & MRS MOLLY FARBER & HARRY N       PO BOX 64321                                                                                   CHICAGO            IL    60664‐0321
FARBER JT TEN
JOEL H HARRIS                                    1659 WOODLAWN PARK DR                                                                          FLINT              MI    48503‐2786
JOEL H HEATH                                     8138 N MALTESE DR                                                                              CITRUS SPRINGS     FL    34433‐5811
JOEL H IDE                                       3579 CASTLE RD                                                                                 FOSTORIA           MI    48435‐9738
JOEL H KAUFMAN                                   BOX 2759                                                                                       SOUTHFIELD         MI    48037‐2759
JOEL H TURNER                                    1251 CRESTVIEW DR                                                                              ELBERTON           GA    30635‐1301
JOEL H WALKER CUST MICHAEL W WALKER UTMA OH      585 COUNTRYSIDE DR S                                                                           TROY               OH    45373‐4545

JOEL HANDLER CUST BENJAMIN L HANDLER UGMA CA     253 GOLDENSPUR WAY                                                                             ORANGE             CA    92869‐4429

JOEL HANDLER CUST MARISSA S HANDLER UGMA CA      253 GOLDENSPUR WAY                                                                             ORANGE             CA    92869‐4429

JOEL HANSEN                                      7916 ROCK CREEK CIRCLE                                                                         OMAHA              NE    68138‐3345
JOEL HAYNES                                      312 TERRY PLZ                                                                                  MALAKOFF           TX    75148‐9642
JOEL HERNANDEZ                                   216 PEARL ST                                                                                   REDONDO BEACH      CA    90277‐3742
JOEL HOROWITZ                                    305 YORK SE                                                                                    OLEAN              NY    14760‐3929
JOEL HOWARD CYPRUS                               2306 COUNTRY CLUB BLVD                                                                         SUGARLAND          TX    77478‐3645
JOEL HUFF                                        476 MEECE AVE                                                                                  NANCY              KY    42544‐9622
JOEL I MANSBACH                                  553 GRUMAN CT                                                                                  RIVER VALE         NJ    07675‐6421
JOEL I NATHANSON                                 14 EMERALD RIDGE COURT                                                                         BALTIMORE          MD    21209‐1560
JOEL I VARNICK                                   5 SALLY SWEET'S WAY                   APT 130                                                  SALEM              NH    03079‐3359
JOEL J DUPREE                                    700 COUNTY ROUTE 42                                                                            MASSENA            NY    13662‐4200
JOEL J GOLDMAN                                   21 BLUEBILL AVE                       APT 1005                                                 NAPLES             FL    34108‐1765
JOEL J MILLER                                    551 E OAKEY BLVD                                                                               LAS VEGAS          NV    89104‐1441
JOEL J PARRIS                                    23 WALKER CIR                                                                                  GIRARD             OH    44420‐1274
JOEL J POWERS                                    9237 GARRETT TRAIL DR                                                                          NEWPORT            MI    48166‐9575
JOEL J WHITCOMB                                  11 LOW ROAD                                                                                    NEW HOPE           PA    18938‐1131
JOEL J WHITMORE                                  49000 WHITTLESEY RD                                                                            AMHERST            OH    44001‐9668
JOEL JACOBSON CUST SHAINA GWEN ENANO UTMA CA     34218 COLLEEN TER                                                                              FREMONT            CA    94555‐3841

JOEL JOHN BUTTS                                  803 N WASHINGTON ST                                                                            OWOSSO             MI    48867‐1762
JOEL JOHNSON                                     148 SANDDRIDGE TRL                                                                             SUN PRAIRIE        WI    53590‐1246
JOEL JONES                                       18405 GREENWALD                                                                                SOUTHFIELD         MI    48075‐5864
JOEL K KAGELS                                    3057 BROWN ROAD                                                                                NEWFANE            NY    14108‐9714
JOEL KAPLAN                                      577 VIA DI PARIONE CT                                                                          HENDERSON          NV    89015‐0811
JOEL KARIN CUST DANIEL KARIN U/THE TEXAS UNIFORM 5455 LA SIERRA DR                     APT 308                                                  DALLAS             TX    75231‐4181
GIFTS TO MINORS ACT
JOEL KATZ CUST ROBIN N KATZ U/THE NEW YORK       6651 PASEO NOCHE                                                                               CAMARILLO          CA    93012‐8807
UNIFORM GIFTS TO MINORS ACT
JOEL KEVIN THOMAS                                6552 DRAKE SETTLEMENT RD                                                                       APPLETON           NY    14008‐9640
                                                09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 106 of 855
Name                                                Address1                                Address2             Address3          Address4          City               State Zip

JOEL KWON ESPANO CUST ROBBY JORDAN BAIRAN           111 S ALMOND ST                                                                                  OCILLA             GA    31774‐1760
ESPANO UTMA FL
JOEL L BOSRON                                       454 GREENSBORO DR                                                                                DAYTON             OH    45459‐2963
JOEL L DUNN & MRS SHERRY A DUNN JT TEN              1944 KILBURN                                                                                     ROCHESTER HILLS    MI    48306‐3038
JOEL L HANKS                                        6403 ATWOOD ST                                                                                   DISTRICT HIEGHTS   MD    20747‐1345

JOEL L HOFMAN                                       3421 YELLOWSTONE DR                                                                              ANN ARBOR        MI      48105‐1524
JOEL L JACKSON                                      4551 N LAVERGNE AV                                                                               CHICAGO          IL      60630‐3921
JOEL L SMITH                                        21 CHARLOTTE ST                                                                                  DORCHESTER       MA      02121‐4001
JOEL L SMITH                                        10050 HOLLISTER RD                                                                               LAINGSBURG       MI      48848‐9248
JOEL L THIEBAUT & ROSEMARY K THIEBAUT JT TEN        2292 ATLAS RD                                                                                    DAVISON          MI      48423‐8300
JOEL LANDRETH                                       315 LYNNWOOD DRIVE                                                                               ODENVILLE        AL      35120
JOEL LIEBERMAN CUST MICHAEL BRIAN LIEBERMAN         35305 VALLEY FORGE                                                                               FARMINGTON HILLS MI      48331‐3216
UGMA MI
JOEL LOUISE ERVIN TOD DALE A ERVIN SUBJECT TO STA   31 JESTER ST                                                                                     BEAR               DE    19701‐4816
TOD RULES
JOEL LOUISE ERVIN TOD DANA S ERVIN SUBJECT TO STA   31 JESTER ST                                                                                     BEAR               DE    19701‐4816
TOD RULES
JOEL M ALTSMAN & DEBORAH L ALTSMAN JT TEN           8120 HENDRICKS DR                                                                                AUSTIN             TX    78729‐4901
JOEL M MC DOWELL                                    254 E IDO AVE                                                                                    AKRON              OH    44301‐2064
JOEL MC CURRY                                       1821 TRASK RD                                                                                    CENTREVILLE        MS    39631
JOEL MCCARROLL                                      61266 BROOKSIDE LOOP                                                                             BEND               OR    97702‐1930
JOEL MEYER KUPFERBERG                               7 ESSEX RD                                                                                       GREAT NECK         NY    11023‐2225
JOEL MOEHLMANN                                      PO BOX 160                                                                                       RICHLAND           PA    17087‐0160
JOEL N LASOCKI                                      610 S OAK PARK CT                                                                                MILWAUKEE          WI    53214‐1928
JOEL NASS CUST JOSHUASETH NASS UGMA MI              3411 FOX WOODS CT                                                                                WEST BLOOMFIELD    MI    48324‐3266

JOEL NORMAN JR                                      2040 RIDGEHILL                                                                                   CLEVELAND          OH    44121‐1035
JOEL ORINGER                                        1600 NW 92ND AVE                                                                                 PLANTATION         FL    33322‐4322
JOEL P BUNN                                         PO BOX 54                                                                                        WEDOWEE            AL    36278‐0054
JOEL P CHOATE & BARBARA E CHOATE JT TEN             8119 S LINDEN RD                                                                                 SWARTZ CREEK       MI    48473‐9151
JOEL P FOSTER                                       PO BOX 1591                                                                                      SHREVEPORT         LA    71165‐1591
JOEL P SHREVE                                       11300 BURT ROAD                                                                                  DETROIT            MI    48228‐1258
JOEL PAHL DARDIS TR JOEL PAHL DARDIS TRUST UA       524 W WALNUT ST                                                                                  STOCKTON           CA    95204‐5626
05/15/96
JOEL PARTON                                         419 S MAIN ST                                                                                    NEW CARLISLE       OH    45344‐1931
JOEL PEGRISH                                        8 HYDE CT                                                                                        LAWRENCE TWP       NJ    08648‐1312
JOEL PHILIP SODANO CUST MATTHEW THOMAS              1020 RIM ROCK RIDGE ST                                                                           MESQUITE           NV    89034‐1109
SODANO UGMA CA
JOEL PHILLIPS                                       2527 HEYOAK CT                                                                                   MARIETTA           GA    30066‐4933
JOEL POLLAK & PATRICIA POLLAK JT TEN                111 SWAN LANE                                                                                    POUGHKEEPSIA       NY    12603‐3534
JOEL R BENDER                                       47970 RAVELLO COURT                                                                              NORTHVILLE         MI    48167‐9821
JOEL R LICHTY                                       407 ORCHARD ST                                                                                   EAST LANSING       MI    48823‐3545
JOEL R MILLER                                       8439 N SR 109                                                                                    WILKINSON          IN    46186‐9613
JOEL R MYERS                                        2 SOUTH END AVENUE APT 9G                                                                        NEW YORK           NY    10280‐1089
JOEL R SMITH                                        2508 N 59                                                                                        KANSAS CITY        KS    66104
JOEL RAYNES                                         705 LAVERGNE AVE                                                                                 WILMETTE           IL    60091‐2027
JOEL ROBERT KAINES                                  2649 CHARLESTON WAY                                                                              FORT COLLINS       CO    80526‐6700
JOEL ROBERT ROGERS                                  10913 W LOMA BLANCA DR                                                                           SUN CITY           AZ    85351‐1069
JOEL RODRIGUEZ                                      1410 MICHIGAN AVE                                                                                SAN ANTONIO        TX    78201‐5253
JOEL ROTH CUST NEIL STUART ROTH UGMA NY             45 OGDEN RD                                                                                      SCARSDALE          NY    10583‐3024
JOEL ROYSMAN                                        96 SOUTHERN PKWY                                                                                 PLAINVIEW          NY    11803‐3747
JOEL S KRASOMIL                                     10231 RUSSETT AVE                                                                                SUNLAND            CA    91040‐1823
JOEL S MAGRAM & MRS JEAN M MAGRAM TEN ENT           3610 MAJESTIC LANE                                                                               BOWIE              MD    20715‐1605

JOEL S PITTS                                        202 SKYWAY DR                                                                                    GRANTS PASS        OR    97527‐5359
JOEL S RAPPAPORT                                    123 OLD BELDEN HILL RD #34                                                                       NORWALK            CT    06850‐1361
JOEL S WHITCOMB                                     2707 GRACEWOOD RD                                                                                TOLEDO             OH    43613
JOEL SCHWARZBART & TI‐LIEN HSIA JT TEN              3971 BANYAN STREET                                                                               IRVINE             CA    92606‐2630
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 107 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

JOEL SHEPHERD                                    1625 WILLOW WAY                                                                                 WOODSTOCK       GA    30188‐4649
JOEL SHORE                                       7 BLACKTHORN DR                                                                                 SOUTHBOROUGH    MA    01772‐1402
JOEL SKIPPER                                     300 KILLIAN GREEN DR                                                                            COLUMBIA        SC    29229
JOEL SPALSBURY & SAUNDRA A SPALSBURY JT TEN      7526 YORKTOWN RD                                                                                LANSING         MI    48917‐9688

JOEL T FAITH                                     100 WILLIAM DR                                                                                  CORAOPOLIS      PA    15108‐3428
JOEL T HANSON                                    1229 KING ST                                                                                    JANESVILLE      WI    53546‐6025
JOEL T LEACH                                     10151 LARWIN AVE UNIT 4                                                                         CHATSWORTH      CA    91311‐7809
JOEL T LIBOFF & SHARON E LIBOFF JT TEN           37 RAVINE AVENUE                                                                                CALDWELL        NJ    07006‐4827
JOEL T ROBERTSON                                 1301 FOXHOLLOW                                                                                  DENTON          TX    76205‐5143
JOEL T SAWYER                                    15906 OAK DR                                                                                    LIVONIA         MI    48154‐3448
JOEL T SPALSBURY & SAUNDRA A SPALSBURY JT TEN    7526 YORKTOWN DR                                                                                LANSING         MI    48917‐9688

JOEL T WALLACE                                   18893 MARTINSVILLE RD                                                                           BELLEVILLE      MI    48111‐8702
JOEL TAIT MC ARTHUR                              RR #4                                  BAY MEADOWS          CAMPBELLFORD ON   K0L 1L0 CANADA
JOEL TEJADA                                      422 49TH STREET                                                                                 OAKLAND          CA   94609‐2102
JOEL V SCOTT                                     241 RHODE ISLAND ST                                                                             HIGHLAND PARK    MI   48203‐3360
JOEL W BLACKMON                                  12668 CO RD 87                                                                                  WOODLAND         AL   36280‐6502
JOEL W BRIGHTWELL                                28432 VENICE CIRCLE                                                                             FARMINGTON HILLS MI   48334‐4144

JOEL W BRIGHTWELL & MRS BONNIE E BRIGHTWELL JT   28432 VENICE CIR                                                                                FARMINGTON HILLS MI   48334‐4144
TEN
JOEL W CAMPBELL & NANCY A CAMPBELL JT TEN        12900 RIDGEVIEW DRIVE                                                                           ANCHORAGE       AK    99516‐3106
JOEL W FRAZIER                                   1648 ELMWOOD DR                                                                                 ASHTABULA       OH    44004‐9037
JOEL W HURLIMAN                                  102 LANE ST                                                                                     SHELTON         CT    06484‐5226
JOEL WEISKOPF                                    2425 GRIMMERSBOROUGH LN                                                                         CHARLOTTE       NC    28270‐3714
JOEL WHITE CUST KARLEIGH WHITE UTMA CA           10179 HILLINGTON CT                                                                             VIENNA          VA    22182‐2909
JOEL WHITE CUST KATELYNN WHITE UTMA CA           10179 HILLINGTON CT                                                                             VIENNA          VA    22182‐2909
JOEL WINAWER                                     25 SUTTON PL S                         APT 9F                                                   NEW YORK        NY    10022‐2462
JOEL WOLOWELSKY                                  1174 E 9TH ST                                                                                   BROOKLYN        NY    11230‐4704
JOELETTA JONES                                   1505 STAFFORD                                                                                   FT WORTH        TX    76134‐1730
JOELLA BREDWELL                                  17100 S PARKSIDE AVE                                                                            TINLEY PARK     IL    60477‐3039
JOELLE M PORTERA                                 1657 MILROY PLACE                                                                               SAN JOSE        CA    95124‐4723
JOELLE MOWRY                                     10516 CRAINS CREEK RD                                                                           MIAMISBURG      OH    45342‐0840
JOELLE TAYLOR SMITH                              6401 DOVER RD                                                                                   INDIANAPOLIS    IN    46220‐4553
JOELLEN DEFOE                                    457 STONEHAVEN CT                                                                               MILAN           MI    48160‐1656
JOELLEN GADDIS                                   2600 HOSPTIAL RD                                                                                SAGINAW         MI    48603
JOELLEN MCLEOD BROOKS                            9217 HONEY HILL CT                                                                              WINDERMERE      FL    34786‐8120
JOELLYN C NAGY                                   7668 WYNDHAM HILLS PKWY                                                                         FRANKLIN        WI    53132‐8219
JOELLYN M WASHBURN                               2011 SCENIC DR                                                                                  TRENTON         NJ    08628‐2220
JOEN KALETTA                                     6028 MICHAEL DR                                                                                 BROOK PARK      OH    44142‐3071
JOERG FRANKE                                     CALBERLAHER DAMM 106                   D‐3170 GIFHORN                         GERMANY
JOESEPHINE PELLICANE                             834 E MEADOW DR                                                                                 BOUND BROOK     NJ    08805‐1443
JOETTA DEIBEL                                    PO BOX 26                                                                                       MARIONVILLE     VA    23408‐0026
JOETTA ISHMIEL                                   7985 NORTH 400 WEST                                                                             BOSWELL         IN    47921‐8025
JOETTA JOHNSON                                   28172 W 10 MILE ROAD                                                                            FARMINGTON      MI    48336‐3000
JOETTA L ALEXANDER                               4109 CARMELITA BLVD                                                                             KOKOMO          IN    46902‐4630
JOETTA L BRADY                                   3152 STRATFORD STREET                                                                           FLINT           MI    48504‐4226
JOETTA PYLES‐ZALEWSKI                            16185 WHITEHEAD DR                                                                              LINDEN          MI    48451‐8773
JOETTE ANDREA BROWN                              2952 ENCHANTING CIR                                                                             VIRGINIA BCH    VA    23456‐6780
JOETTE M DOWNER                                  931 MARY DR                                                                                     LAPEER          MI    48446‐3422
JOEY A POLZIN                                    2110 W MEMORIAL                                                                                 JANESVILLE      WI    53545‐1423
JOEY D MCMAHAN                                   PO BOX 2610                                                                                     STREETSBORO     OH    44241‐0610
JOEY DVORAK                                      403 AUDUBON ROAD                                                                                RIVERSIDE       IL    60546‐1727
JOEY E JOHNSON                                   2366 HILLSIDE TRCE                                                                              MONROE          GA    30655‐5880
JOEY FORGIONE                                    5 THE OVAL                                                                                      CORTLANDT       NY    10567‐1512
                                                                                                                                                 MANOR
JOEY L CATO                                      3240 MATLOCK RD                                                                                 BOWLING GREEN   KY    42104‐8734
JOEY MICHAEL COPLEY                              1709 N COLSON DR                                                                                MUNCIE          IN    47304‐2637
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 108 of 855
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

JOEY R TUCKER & ELIZABETH D TUCKER JT TEN      4469 SMITH RD                                                                                   FLOYDS KNOBS      IN    47119‐9240
JOEY V MUNOZ                                   1010 JUNCTION DR                                                                                MANTECA           CA    95337‐9429
JOEY V PARR                                    16954 STATE HIGHWAY 33                                                                          ONTARIO           WI    54651‐7014
JOHAN A VANSTEMPVOORT                          7330 CHURCH RD                                                                                  IMLAY CITY        MI    48444‐9444
JOHAN E DE SCHRIJVER                           ST. MARTINUSBAAN 53                    B‐1860 MEISE                           BELGIUM
JOHAN E DE SCHRIJVER                           POSTBUS 9 B‐2030                       ANTWERPEN                              BELGIUM
JOHAN FORMGREN                                 SAAB AUTOMOBILE AB                     TROLLHATTAN                            SWEDEN
JOHANA LYNCH                                   6 TENNEY'S COURT                                                                                NEWBURYPORT       MA    01951‐1705
JOHANN ARMANNSSON                              1644 SETTLEMENT RD                                                                              NORWALK           OH    44857‐9761
JOHANN E ALLISON                               5718 CASMERE                                                                                    WARREN            MI    48092‐3154
JOHANN E ALLISON & PAUL M ALLISON JT TEN       5718 CASMERE                                                                                    WARREN            MI    48092‐3154
JOHANN H AUFOCHS                               BOX CB‐10974                           NASSAU                                 BAHAMAS
JOHANN J KUCHLBAUER                            3465 BIRD RD                                                                                    OROTONVILLE       MI    48462‐9084
JOHANN P GRIESSHAMMER                          6075 OLD POST ROAD                                                                              KALAMAZOO         MI    49009‐9137
JOHANN WITTMANN                                6 RATHAUSGASSE                         83646 BAD TOELZ                        GERMANY
JOHANNA A DANGELO                              3150 SOFT BREEZES DR APT 1025                                                                   LAS VEGAS         NV    89128‐7224
JOHANNA A KEESBURY                             558 WOOD CREE CT                       # 558                                                    DEFIANCE          OH    43512‐3356
JOHANNA A O'RORK                               1417 WAYNE ST                                                                                   SANDUSKY          OH    44870‐3532
JOHANNA BRUINSMA                               29 MORVILLE DR                                                                                  ROCHESTER         NY    14615‐2157
JOHANNA C HUTMACHER & NANCY E JEWELL JT TEN    1856 WOODROW CT                                                                                 WICHITA           KS    67203‐2958

JOHANNA EGAN TR JOHANNA EGAN TRUST UA 04/16/98 4840 THUNDERBIRD DR #386                                                                        BOULDER           CO    80303‐3830

JOHANNA F CYBAK                                5400 LINDEN CT                                                                                  COLLEYVILLE       TX    76034‐5031
JOHANNA F HAYES                                585 SKY HARBOR DR #213                                                                          CLEARWATER        FL    33759‐3948
JOHANNA FEELY & JOHN M FEELY & MAUREEN A       5539 HEATHER BLUFF CT                                                                           ST LOUIS          MO    63128‐4130
MADDOCK JT TEN
JOHANNA H O'BRIEN                              250 MENDON IONIA ROAD                                                                           MENDON            NY    14506
JOHANNA JANNACK                                MERANER STRASSE 14                     44229 DORTMUND                         GERMANY
JOHANNA KULKE & WILFRED KULKE JT TEN           16195 BELL                                                                                      EAST DETROIT      MI    48021‐4804
JOHANNA L KIRKWOOD                             5 VAN BUREN ROAD                                                                                PITTSFORD         NY    14534‐3122
JOHANNA L TERRY                                1803 PANAMA AVE                                                                                 MIDDLETOWN        OH    45042‐2347
JOHANNA L WIGLEY                               314 SPINDRIFT WAY                                                                               VACAVILLE         CA    95687‐4719
JOHANNA M ANDRUS                               4187 MARIANNE DR                                                                                FLUSHING          MI    48433‐2391
JOHANNA M ANDRUS & BENJAMIN D ANDRUS JT TEN    4187 MARIANNE DR                                                                                FLUSHING          MI    48433‐2391

JOHANNA M HENDGES TR JOHANNA M HENDGES REV     29473 ALVIN                                                                                     GARDEN CITY       MI    48135‐2602
LIV TRUST UA 04/26/99
JOHANNA M KELLY                                15165 E PETTENGILL RD                  APT 1                                                    EMPIRE            MI    49630‐9737
JOHANNA M NALLY                                163 SARATOGA ROAD                                                                               SCOTIA            NY    12302
JOHANNA M SAIZAN PAYNE                         BOX 8198                                                                                        ASPEN             CO    81612‐8198
JOHANNA P LARSON                               137 WOODSTOCK AVE                                                                               CLARENDON HILLS   IL    60514‐1132

JOHANNA PANKOW                                 11 DEEPWOOD ROAD                                                                                EASTON            CT    06612‐1440
JOHANNA R KIRKCALDY                            5136 EDGEWATER DR                                                                               SHEFFIELD LAKE    OH    44054‐1704
JOHANNA ROSE                                   5628 N KARLOV                                                                                   CHICAGO           IL    60646‐6705
JOHANNA S ZARANEK                              3101 W SPRAGUE RD                                                                               N ROYALTON        OH    44133‐2202
JOHANNA STREICHER CORKERY                      6203 MENGER                                                                                     DALLAS            TX    75227‐6231
JOHANNA T DWYER                                31 LAKEVILLE ROAD                      APT 1                                                    JAMAICA PLAIN     MA    02130‐2010
JOHANNA T O'BRIEN                              20 SUSANNA LANE                                                                                 STATEN ISLAND     NY    10312
JOHANNA V SIMON                                1815 MAGNOLIA DR                       APT A                                                    LAKE HAVASU       AZ    86403‐6655
JOHANNA W DANTZLER CONS EST WILLIAM Q WOODS    26 STILLWOOD DR                                                                                 GREENVILLE        SC    29607‐3352

JOHANNA W LUCAS                                5504 S HARPER AVE                                                                               CHICAGO           IL    60637
JOHANNA YATES CUST KAREN YATES UGMA PA         146 BROWN ST                                                                                    ASHLEY            PA    18706‐1610
JOHANNE A IRISH                                27 GARFIELD LANE                                                                                BRATENAHL         OH    44108‐1038
JOHANNE BROOKS                                 4196 ACRES                             PIERRE FONDS QC                        H9H 2T7 CANADA
JOHANNE M HARRIGAN PA                          66 LASALLE AVE                         OSHAWA ON                              L1H 5Y2 CANADA
JOHANNE OLIVERI                                34 HANCOCK                                                                                      MILFORD           MA    01757‐2214
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 109 of 855
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JOHANNE P RADDE                                    82 MERCURY DRIVE                                                                                ROCHESTER         NY    14624‐2408
JOHANNE PARADIS                                    902 DE BRISSOE                         LOCHENARE QC                           J6W 5P9 CANADA
JOHANNES G JACOBS                                  10104 S SMYTHE SCHOOL RD                                                                        BELOIT            WI    53511‐9646
JOHANNES KANIS                                     15 PANNONIA AVE                                                                                 EDISON            NJ    08817‐3647
JOHANNES L AGELINK                                 36 DEVONSHIRE                                                                                   PLEASANT RDG      MI    48069‐1211
JOHANNES M HAURI & HANNES M HAURI TEN COM          IM CHRATZ 58                           8158 REGENSBERG                        SWITZERLAND

JOHANNES NAUMANN                                   6938 HIGH OAKS DR                                                                               TROY             MI     48098‐1753
JOHANNES P VOGELAAR                                14520 CORUNNA RD RT 3                                                                           CHESANING        MI     48616‐9402
JOHANNES S GUIDOTTI                                43187 HEYDENREICH                                                                               CLINTON TOWNSHIP MI     48038‐2426

JOHANNES SCHENK & RENATE I SCHENK JT TEN           1607 NORTH SUMAC DRIVE                                                                          JANESVILLE        WI    53545‐1266
JOHANNES WILLIBRORDUS WILMINK & KATY WILMINK       1703 N GARDEN AVE                                                                               ROSWELL           NM    88201
JT TEN
JOHARI E GUEST                                     1132 CARRIER CREEK BLVD NE                                                                      GRAND RAPIDS      MI    49503‐1215
JOHLENE HOENERT CUST KYLE HOENERT UTMA IN          1400 DUTCHMAN ROAD                                                                              WADESVILLE        IN    47638‐9606
JOHN & ELAINE FERNANDES TR FERNANDES LIVING        1810 VOLUNTEER DR                                                                               SURFSIDE BEACH    SC    29575‐4840
TRUST UA 08/08/96
JOHN A ABBETT JR TR ABBETT FAM TRUST UA 03/31/97   265 WASHINGTON                                                                                  AUGUSTA           MO    63332‐1066

JOHN A ACS                                         12924 WESLEY                                                                                    SOUTHGATE         MI    48195‐1031
JOHN A ADAIR                                       1831 W EASTBAY PKWY                    APT 11                                                   ESSEXVILLE        MI    48732‐1849
JOHN A ALLEN                                       3094E PRIVATE RD 125N                                                                           LOGANSPORT        IN    46947‐6878
JOHN A ALLEN                                       1025 HILLVIEW WY                                                                                MEDINA            OH    44256‐1559
JOHN A ALLISON                                     822 W 2ND ST                                                                                    ANDERSON          IN    46016‐2310
JOHN A ALTERMATT & DARLENE A ALTERMATT JT TEN      16470 25 MILE RD                                                                                MACOMB            MI    48042‐1655

JOHN A AMARILIOS                                   BOX 28                                                                                          NEW CANAAN        CT    06840‐0028
JOHN A ANDERSON                                    162 SOUTHWOOD DR                                                                                BUFFALO           NY    14223‐1055
JOHN A ANDERSON & SHIRLEE J ANDERSON JT TEN        1538 HIDDEN VALLEY LANE                                                                         ROCHESTER         MI    48306‐4227

JOHN A ANDRUSKIW                                   710 JASMINE CRES                       OSHAWA ON                              L1G 3C3 CANADA
JOHN A ANUCI                                       465 EAST MAIN ST                                                                                NEW LEBANON       OH    45345‐1230
JOHN A ARMSTRONG                                   3591 POSSUM RUN RD                                                                              MANSFIELD         OH    44903‐9061
JOHN A ATTEL                                       204 LOMONT                                                                                      EL PASO           TX    79912
JOHN A AUSTIN                                      1504 BEDWORTH RD                                                                                LUTHERVILLE       MD    21093‐5846
JOHN A BABINGTON                                   558 GIBBONS ST                         OSHAWA ON                              L1J 4Z5 CANADA
JOHN A BACCHETTI & SHIREEN M BACCHETTI JT TEN      4120 JOE WILLIE DRIVE                                                                           NAPERVILLE        IL    60564‐7146

JOHN A BACON JR                                15 HORNE ST                                                                                         ST CHARLES        IL    60174‐4145
JOHN A BAKER JR & HELEN V BAKER JT TEN         3617 DOGWOOD DR                                                                                     ANDERSON          IN    46011‐3013
JOHN A BARBOZA                                 301 OVERLOOK PL                                                                                     COLUMBIA          TN    38401‐4957
JOHN A BARGER                                  4180 NICHOLS RD                                                                                     OXFORD            OH    45056‐9175
JOHN A BARICEVIC TR JOHN A BARICEVIC TRUST UA  4643 CECIL PLACE                                                                                    ST LOUIS          MO    63116‐1121
08/06/03
JOHN A BARLAGE CUST COLLIN JOSEPH BARLAGE UGMA 2275 CHALET                                                                                         ROCHESTER HILLS   MI    48309‐2050
MI
JOHN A BARLAGE CUST EVAN RICHARD BARLAGE UGMA 2275 CHALET                                                                                          ROCHESTER HILLS   MI    48309‐2050
MI
JOHN A BARNES JR                               2010 LA CLEDE AVE                                                                                   ODIN              IL    62870‐2416
JOHN A BARNES JR & MARGIE BARNES JR JT TEN     2010 LACLEDE AVE                                                                                    ODIN              IL    62870‐2416
JOHN A BARNUM                                  PO BOX 155                                                                                          BURT              MI    48417‐0155
JOHN A BARTEL                                  1511 N HARVARD AVE                                                                                  ARLINGTON HTS     IL    60004‐3625
JOHN A BASS                                    4008 AFFIRMED DR                                                                                    ST LOUIS          MO    63034‐3414
JOHN A BATISTA                                 241 SEAMES DRIVE                                                                                    MANCHESTER        NH    03103‐3945
JOHN A BATTISTA JR                             8609 BUTTERCUP DR                                                                                   EAST AMHERST      NY    14051
JOHN A BECK                                    9141 W O AVE                                                                                        KALAMAZOO         MI    49009‐9640
JOHN A BECKER                                  134CONCORD ST                                                                                       BRISTOL           CT    06010‐3611
JOHN A BEGOVICH                                5401 HADLEY RD                                                                                      GOODRICH          MI    48438‐9640
                                                09-50026-mg              Doc 7123-46     Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 110 of 855
Name                                              Address1                               Address2               Address3        Address4          City             State Zip

JOHN A BEHM                                       6439 HAMM ROAD                                                                                  LOCKPORT         NY    14094‐6537
JOHN A BERGANTINO                                 147 OLD CONN PATH                                                                               FRAMINGHAM       MA    01701‐7840
JOHN A BETTI TR U‐A WITH JOHN A BETTI 1/29/72     11964 LOST TREE WAY                                                                             N PALM BEACH     FL    33408‐2917
JOHN A BIANCHETTI                                 BOX 23                                                                                          AFTON            WI    53501‐0023
JOHN A BILLMYER                                   PO BOX 54                                                                                       SHEPHERDSTOWN    WV    25443‐0054

JOHN A BILYK                                      2 GIBRALTAR CT                                                                                  BARNEGAT         NJ    08005‐2518
JOHN A BIRDZELL                                   1023 N MANDAN STREET                                                                            BISMARCK         ND    58501‐3509
JOHN A BISCHOFF & JEAN M BISCHOFF JT TEN          1767 ALINE                                                                                      GROSSE POINTE    MI    48236‐1059
                                                                                                                                                  WOOD
JOHN A BIVENS                                   12 RIDGEVIEW DRIVE                                                                                OSSINING         NY    10562‐4007
JOHN A BLOMSTER & DEBRA J BLOMSTER JT TEN       PO BOX 194                                                                                        BUFFALO CENTER   IA    50424‐0194
JOHN A BLUMBERG & AMY J BLUMBERG TR THE         16 CHAUCER COURT                                                                                  GRAY             TN    37615‐3208
BLUMBERG 1 TRUST UA 03/28/01
JOHN A BOBROWSKI                                100 ETHEL RD                                                                                      EDISON           NJ    08817‐2210
JOHN A BOGGS                                    1056 ROAD 24                                                                                      CONTINENTAL      OH    45831‐9432
JOHN A BOLINSKY                                 600 GREEN MTN RD                                                                                  ZION GROVE       PA    17985‐9548
JOHN A BOLTON                                   RFD                                      4900 N MERIDIAN ROAD                                     WILLIAMSTON      MI    48895‐9659
JOHN A BONALDI                                  172 CLEARWATER CIR                                                                                ROCHESTER        NY    14612‐3081
JOHN A BOND                                     232 WILDEAN RD                                                                                    SPRINGFIELD      VT    05156‐9304
JOHN A BONNEMA TR JOHN A BONNEMA TRUST UA       135 MACOMA CT                                                                                     FORT MYERS       FL    33908‐1630
07/01/98
JOHN A BOOK & CAROL A BOOK TR JOHN A BOOK TRUST 01219 OLD STATE RD                                                                                BOYNE CITY       MI    49712‐9188
UA 03/14/00
JOHN A BOURNE                                   5330 CLOISTERS DR                                                                                 CANFIELD         OH    44406‐9594
JOHN A BOWERS                                   6186 BIXLER RD                                                                                    NEWFANE          NY    14108‐9784
JOHN A BOWLES                                   21271 SARATOGA HILLS ROAD                                                                         SARATOGA         CA    95070‐5375
JOHN A BRADLEY                                  2 WAYS RUN                                                                                        LANDENBURG       PA    19350‐1240
JOHN A BRANDT & ELIZABETH J BRANDT TR BRANDT    2032 FLORIANUS CT                                                                                 FENTON           MO    63026‐2209
FAM TRUST UA 01/17/96
JOHN A BRASFIELD                                1708 WEST BOULEVARD                                                                               LOS ANGELES      CA    90019‐5811
JOHN A BRAZA                                    114 SWAN AVE                                                                                      LUDLOW           MA    01056‐2334
JOHN A BRENKUS & MARYANNE BRENKUS JT TEN        8 DELL DR                                                                                         IRWIN            PA    15642‐4506
JOHN A BRENNEMAN                                551 BRENNEMAN DR                                                                                  LEWISBERRY       PA    17339‐9552
JOHN A BRITTON & NANCY W BRITTON JT TEN         1375 PERSHING BLVD                       UNIT D10                                                 READING          PA    19607‐1457
JOHN A BRITTON JR CUST MATTHEW C BRITTON UTMA 1375 PERSHING BLVD                         UNIT 10D                                                 READING          PA    19607‐1457
FL
JOHN A BRITTON JR CUST TAYLOR D BRITTON UTMA FL 1375 PERSHING BLVD                       UNIT 10D                                                 READING          PA    19607‐1457

JOHN A BRODBERG                                   4007 CHICKORY LANE                                                                              LANSING          MI    48910‐4875
JOHN A BRODE III                                  11432 LAKE CIRCLE DRIVE                                                                         SAGINAW          MI    48603
JOHN A BRODIE                                     1250 SOUTH PINELLAS AVENUE UNIT 109                                                             TARPON SPGS      FL    34689
JOHN A BROPHY                                     152 BRIDGE CREEK DRIVE                                                                          GOOSE CREEK      SC    29445‐5213
JOHN A BROTHERTON                                 ATTN KELLY BROTHERTON                  R ROUTE #1             BOX 192                           PATTON           MO    63662‐9801
JOHN A BROWN                                      12238 E D AVE                                                                                   RICHLAND         MI    49083‐9642
JOHN A BROWN                                      PO BOX 412                                                                                      OLD TOWN         FL    32680‐0412
JOHN A BRUNETTE & JULIE A BRUNETTE JT TEN         8799 VAN BUSSUM ROAD                                                                            EAGLE RIVER      WI    54521‐8536
JOHN A BRUNSKILL                                  30 ELIOT RD                                                                                     CRANSTON         RI    02910‐4821
JOHN A BULLOCK                                    217 FAWN LANE                                                                                   FLORESVILLE      TX    78114‐6279
JOHN A BURGESS & BETTYE G BURGESS JT TEN          7124 WINDHAVEN RD                                                                               N RICHLND HLS    TX    76180‐3325
JOHN A BURPEAU                                    7710 DASHWOOD DR                                                                                HOUSTON          TX    77036‐4938
JOHN A BUZZELLI                                   46 SUMMERBERRY LANE                                                                             NILES            OH    44446‐2134
JOHN A BUZZELLI                                   46 SUMMERBERRY LANE                                                                             NILES            OH    44446‐2134
JOHN A BYSKO                                      4‐1 LANTERN LANE                                                                                OLD LYME         CT    06371‐2838
JOHN A C ALONZO                                   6553 HIDDEN BEACH CIRCLE                                                                        ORLANDO          FL    32819‐7576
JOHN A CALABRESE                                  1021 PORTSMERE CT                                                                               NORTHVILLE       MI    48167‐1073
JOHN A CALKINS                                    PO BOX 24                                                                                       MONTAGUE         MI    49437‐0024
JOHN A CALL                                       326 HUNTER                                                                                      SAGINAW          MI    48602‐3230
JOHN A CAMARDO                                    154 BROOKSIDE TERR                                                                              TONAWANDA        NY    14150‐5932
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 111 of 855
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

JOHN A CAMERON                                   11886 OAK BROOKE                                                                                 SHELBY TOWNSHIP   MI    48315‐1775

JOHN A CAMODECA JR                               9400 BAY HILL DR NE                                                                              WARREN            OH    44484‐6706
JOHN A CAMPBELL                                  14 GREENWICH ROAD                                                                                EDISON            NJ    08820‐2222
JOHN A CAMPBELL                                  1833 S CAMPBELL DR                                                                               VEVAY             IN    47043‐9477
JOHN A CAMPBELL                                  9910 FROST RD                                                                                    SAGINAW           MI    48609‐9312
JOHN A CAPUA                                     1 INDIAN VALLEY ROAD                                                                             EAST SETAUKET     NY    11733
JOHN A CARDONI                                   11107 LANCASTER                                                                                  WESTCHESTER       IL    60154‐4913
JOHN A CAREY                                     6057 27TH ST N                                                                                   ARLINGTON         VA    22207‐1264
JOHN A CARLTON                                   206 RELLIS                                                                                       SAGINAW           MI    48601‐4845
JOHN A CAROSA                                    834 S MERIDIAN RD                       LOT 91                                                   APACHE JCT        AZ    85120‐8482
JOHN A CARRAN JR & MRS DIANN C CARRAN JT TEN     235 CEDAR LANE                                                                                   SHERRARD          IL    61281‐9318

JOHN A CARROLL SUTTON RETIREMENT CENTER INC      4258 HIGHWAY 13 NORTH                                                                            GOLDSBORO         NC    27534

JOHN A CARUANA                                 2055 WABASH                                                                                        DETROIT           MI    48216‐1563
JOHN A CAUCHI                                  27409 NE 155TH AVE                                                                                 BATTLE GROUND     WA    98604‐6726
JOHN A CENCARIK                                1116 BARONE DR                                                                                     WEIRTON           WV    26062‐5131
JOHN A CERVINI & JOAN K CERVINI JT TEN         65 ARDELLA ST                                                                                      ROCHESTER         NY    14606‐5301
JOHN A CHAMBERLAIN TR JOHN A CHAMBERLAIN TRUST PO BOX 141                                                                                         HARSENS IS        MI    48028‐0141
UA 6/14/00
JOHN A CHAMBERS                                C/O FLORENCE C ASMUND                     562 SUMMIT DR                                            POINT PLEASANT    NJ    08742‐2781
JOHN A CHAN                                    146 LONDON ST                                                                                      SAN FRANCISCO     CA    94112‐2053
JOHN A CHANDLER                                PO BOX 503                                                                                         FORT BELVOIR      VA    22060‐0503
JOHN A CHAPDELAINE                             1380 TAYLOR RD                                                                                     PONTIAC           MI    48326‐1555
JOHN A CHEBRA                                  150 SAINT ANDREWS DR                                                                               EGG HARBOR TWP    NJ    08234‐7724

JOHN A CHEBRA & CAROL M CHEBRA JT TEN            150 SAINT ANDREWS DR                                                                             EGG HARBOR TWP    NJ    08234‐7724

JOHN A CHEDRICK JR                               3101 JENNINGS RD                                                                                 WHITMORE LAKE     MI    48189‐9510
JOHN A CHEKAN                                    3518 STATE ROUTE 5 N E                                                                           CORTLAND          OH    44410‐1631
JOHN A CHIARENZO & LEONA M CHIARENZO JT TEN      8048 SVL BOX                                                                                     VICTORVILLE       CA    92395

JOHN A CHINTYAN                                  1382 AMY ST                                                                                      BURTON           MI     48509‐1802
JOHN A CHMAJ                                     830 INDUS RD                                                                                     VENICE           FL     34293‐5438
JOHN A CICATELLO                                 119 KAMM AVE                                                                                     SOUTH RIVER      NJ     08882‐2309
JOHN A CLARK                                     21110 PARK PLACE LANE                                                                            CLINTON TOWNSHIP MI     48036‐3835

JOHN A CLARK & GERTRUDE M CLARK JT TEN           35 FAIRVIEW TER                                                                                  GT BARRINGTON     MA    01230
JOHN A COGHLAN & DOROTHY E COGHLAN JT TEN        SUNRISE APT 225                         2215 SHIPLEY RD                                          WILMINGTON        DE    19803
JOHN A COLE TR UA 03/22/88 REVOCABLE TRUST JOHN 2 TARN CIRCLE                                                                                     OROVILLE          CA    95966‐3829
A COLE
JOHN A COLLINS CUST CLAYTON GENE COLLINS UTMA KY 618 N BROADWAY                                                                                   LEXINGTON         KY    40508‐1436

JOHN A COLUMBO TR JOHN A COLUMBO REVOCABLE       98 HENRY DRIVE                                                                                   MOUNTAINTOP       PA    18707‐9530
LIVING TRUST UA 7/22/05
JOHN A CONKLE                                    1515 GEORGINA AVE                                                                                SANTA MONICA      CA    90402‐2227
JOHN A COPENHAGEN                                315 WARING RD                                                                                    ROCHESTER         NY    14609‐2522
JOHN A CORRION                                   484 CHICAGO DRIVE                                                                                HOWELL            MI    48843‐1724
JOHN A COSBY                                     4973 CEDAR BROOKE COURT                                                                          LIBERTY TWP       OH    45011
JOHN A COTTINGHAM                                210 W 8TH ST                                                                                     ANTIOCH           CA    94509‐1730
JOHN A COTTON                                    218 EARLY RD                                                                                     YOUNGSTOWN        OH    44505‐3947
JOHN A COX                                       415 WILLIAMSON BRANCH RD                                                                         HINKLE            KY    40953‐5827
JOHN A COYNE & BLANCHE M COYNE JT TEN            61 PILLON RD                                                                                     MILTON            MA    02186‐4239
JOHN A CRAVOTTA                                  523 FOSTER ST                                                                                    GREENSBURG        PA    15601‐4062
JOHN A CRAWFORD                                  111 LOWER MINE ROAD                                                                              BREWSTER          NY    10509‐2219
JOHN A CROSS                                     16420 LOCKE DRIVE                                                                                LINDEN            MI    48451‐9728
JOHN A CROUCH JR & SHIRLEY M CROUCH JT TEN       400 HILLTOP RD                                                                                   ELKTON            MD    21921‐2412
JOHN A CROUD JR                                  31105 SHAW DRIVE                                                                                 WARREN            MI    48093‐1736
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 112 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

JOHN A CROW JR                                   3282 ELLENDA AVE                                                                                LOS ANGELES      CA    90034‐4403
JOHN A CUMMINGS                                  3372 W DAYTON ST                                                                                FLINT            MI    48504‐2480
JOHN A CURTIS JR                                 90 AIRDRIE RD                          TORONTO ON                             M4G 1M3 CANADA
JOHN A CZECH                                     111 COLESBERY DR PENN ACRES                                                                     NEW CASTLE       DE    19720‐3203
JOHN A DAHLSTROM CUST DEREK DAHLSTROM UGMA       4516 MATHEWS WAY                                                                                SALT LAKE CITY   UT    84124‐4026
UT
JOHN A DALY                                      347 81ST ST                                                                                     BROOKLYN         NY    11209‐3837
JOHN A DANIELL                                   365 WEDGEFIELD DRIVE                                                                            MCDONOUGH        GA    30252‐4006
JOHN A DANSO                                     3906 HIGHLAND AVE S W                                                                           WARREN           OH    44481‐9641
JOHN A DAVIS                                     1005 VELTRE CIRCLE SW                                                                           ATLANTA          GA    30311‐3125
JOHN A DAVIS                                     1207 HARDING RD                                                                                 ESSEXVILLE       MI    48732‐1763
JOHN A DAWBER CUST NICOLE DAWBER UTMA MA         115 PINE GROVE ST                                                                               NEEDHAM          MA    02494‐1716

JOHN A DAWBER CUST TATIANA DAWBER UTMA MA        115 PINE GROVE ST                                                                               NEEDHAM          MA    02494‐1716

JOHN A DAWSON & MRS MARGARET M DAWSON JT TEN 17 CORNELL ROAD                                                                                     BALA CYNWYD      PA    19004‐2104

JOHN A DE MARCO                                  1051 WHISPERING PINES                                                                           LAKE ORION       MI    48360‐1425
JOHN A DEFILIPPO                                 1440 50TH AVE E                                                                                 TUSCALOOSA       AL    35404‐4570
JOHN A DELMASTRO & MARY P DELMASTRO JT TEN       61425 N RIDGE TRAIL                                                                             WASHINGTON       MI    48094

JOHN A DELOGE CUST ALANA DELOGE UGMA MD           957 WASHINGTON STREET                                                                          HOLLISTON        MA    01746‐1666
JOHN A DELUCIA JR                                 92 PINEHURST AVE APT 3K                                                                        NEW YORK         NY    10033‐1709
JOHN A DEMARTINI                                  PO BOX 1797                                                                                    DANVILLE         CA    94526‐6797
JOHN A DEPAULIS                                   13561 WINDEMERE                                                                                SOUTHGATE        MI    48195‐2426
JOHN A DI MATTEO & NICOLE T DI MATTEO JT TEN      21 SURREY ROAD                                                                                 BARRINGTON       RI    02806‐4509
JOHN A DICKENS II                                 6006 N LAKE DR                                                                                 MILWAUKEE        WI    53217‐4646
JOHN A DICKEY                                     9701 CHATHAM                                                                                   ALLEN PARK       MI    48101‐1360
JOHN A DIETZ                                      112 MONROE ST                                                                                  HONEOYE FALLS    NY    14472‐9745
JOHN A DIFFILY                                    6070 BEIRUT PLACE                                                                              DULLES           VA    20189‐6070
JOHN A DIGANCI & JOSEPHINE DIGANCI JT TEN         8711 PARK LN                                                                                   NILES            IL    60714‐1814
JOHN A DIMOND                                     622 PLEASANT STREET                                                                            CHARLOTTE        MI    48813‐1943
JOHN A DODSON                                     4621 PARDEE RD                                                                                 WEBBERVILLE      MI    48892‐8714
JOHN A DRIELTS                                    2819 PADDOCK DRIVE                                                                             PALM HARBOR      FL    34684‐3242
JOHN A DRISCOLL                                   25 ESSEX ST                                                                                    BELLEVILLE       NJ    07109‐2603
JOHN A DRODGE                                     6411 ALP COURT                                                                                 DAYTON           OH    45424‐3404
JOHN A DUARTE                                     139 WOODBURY RD                                                                                EDISON           NJ    08820‐2973
JOHN A DYESS & HELEN R DYESS JT TEN               1000 MORNINGSIDE CRT                                                                           MESQUITE         TX    75150
JOHN A EGAN                                       5405 N MARATHON RD                                                                             COLUMBIAVILLE    MI    48421‐9381
JOHN A ELLIS                                      1118 W CROSS ST                       APT 102                                                  ANDERSON         IN    46011‐9532
JOHN A ENOS                                       13045 DEMPSEY RD                                                                               ST CHARLES       MI    48655‐9703
JOHN A EVANS                                      7024 PARK VISTA RD                                                                             ENGLEWOOD        OH    45322‐2544
JOHN A FAASS                                      305 N 4TH STREET                                                                               BOONVILLE        IN    47601‐1401
JOHN A FADELY                                     27168 HARBOR DR                                                                                BONITA SPRINGS   FL    34135‐4327
JOHN A FARAGE                                     226 YOUELL AVE S E                                                                             GRAND RAPIDS     MI    49506‐1728
JOHN A FARKAS                                     1206 GREENFIELD DRIVE                                                                          ERIE             PA    16509‐2909
JOHN A FARMER                                     323 COUNTY ROAD 3269                                                                           MINEOLA          TX    75773‐3821
JOHN A FELLOWS JR                                 4778 PINESPAR TRAIL                                                                            TRAVERSE CITY    MI    49684‐7915
JOHN A FERRERA & ROSE FERRERA JT TEN              47 TOBEY ROAD                                                                                  BELMONT          MA    02478‐4223
JOHN A FERRIS                                     1523 E JAMISON AVE                                                                             LITTLETON        CO    80122‐3006
JOHN A FIELD                                      644 W HILL RD                                                                                  PUTNEY           VT    05346‐8984
JOHN A FIORE                                      1011 SHERWOOD CT                                                                               DEPEW            NY    14043‐2135
JOHN A FIRMENT CUST AMY A FIRMENT UTMA NC         1160 N MAIN ST                                                                                 WAKE FOREST      NC    27587‐8238
JOHN A FITCH                                      7685 DACOSTA                                                                                   DETROIT          MI    48239‐1006
JOHN A FLANAGAN                                   25 BRUCEVILLE RD                                                                               HIGH FALLS       NY    12440‐5115
JOHN A FLASMAN                                    309 LIVE OAK LN                                                                                FLOWER MOUND     TX    75022‐4132
JOHN A FOLEY & DARLENE K FOLEY TR FOLEY FAM TRUST 2310 WORTH AVE                                                                                 LAHABRA          CA    90631‐4361
UA 05/31/01
JOHN A FORSTER                                    4397 W 63RD ST                                                                                 CLEVELAND        OH    44144‐2839
                                                  09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 113 of 855
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

JOHN A FORTIN SR & JACQUELYN M FORTIN TR FORTIN     79 JARED SPARKS RD                                                                              WILLINGTON        CT    06279‐1503
LIV TRUST UA 03/28/00
JOHN A FOWLER                                       62 FOWLER ROAD                                                                                  GALETON           PA    16922‐9420
JOHN A FOWLER                                       244 CLIFTON                                                                                     WARREN            OH    44484‐1804
JOHN A FRANCISCO                                    47256 NOLA                                                                                      MACOMB            MI    48044‐2683
                                                                                                                                                    TOWNSHIP
JOHN A FRANTA                                       2234 S CLARENCE AVE                                                                             BERWYN            IL    60402‐2447
JOHN A FREEMAN JR                                   20520 ASBURY PARK                                                                               DETROIT           MI    48235‐2106
JOHN A FRYE & MRS ANNE H FRYE JT TEN                9001 VERNON VIEW DR                                                                             ALEXANDRIA        VA    22308‐2844
JOHN A FUDURIC                                      12927 S PRINCETON                                                                               HUNTSBURG         OH    44046‐9796
JOHN A FUERST                                       2038 WILLIAM ST                        VANCOUVER BC                           V5L 2X6 CANADA
JOHN A FULLER                                       96 SHORE VISTA                                                                                  ROCHESTER         NY    14612‐1214
JOHN A FULLERTON                                    2725 S UNION ST                        #3                                                       SPENCERPORT       NY    14559‐2239
JOHN A GAINES                                       PO BOX 215                                                                                      VOORHEES          NJ    08043‐0215
JOHN A GANDEE                                       6615 QUARTERS RD                                                                                WOODFORD          VA    22580‐2133
JOHN A GANN III                                     2453 FARM ROAD 71 W                                                                             SULPHUR SPRINGS   TX    75482‐0132

JOHN A GARR II                                      3705 N 1350 E 34                                                                                CONVERSE          IN    46919‐9614
JOHN A GARRA                                        188 KIRSHON AVE                                                                                 SI                NY    10314‐2734
JOHN A GARTNER                                      6591 BUSHNELL CAMPBELL RD                                                                       KINSMAN           OH    44428‐9777
JOHN A GASPERS & ALICE GASPERS JT TEN               8675 36TH AVE                                                                                   COLUMBUS          NE    68601‐8013
JOHN A GEIDEL                                       588 ROUTE 302                                                                                   PINE BUSH         NY    12566‐6719
JOHN A GELORMINO                                    8855 COGSWELL                                                                                   ROMULUS           MI    48174‐1379
JOHN A GERRISH                                      6109 TREE LINE DR                                                                               GRAND BLANC       MI    48439‐9789
JOHN A GESSLER JR                                   9211 SE 130 TH LOOP                    ECHO GLEN                                                SUMMERFIELD       FL    34491
JOHN A GHAZOUL                                      643 HASBROCK RD                                                                                 NORWALK           OH    44857‐8933
JOHN A GIANNOTTI JR                                 511 PAUL ROAD                                                                                   DE FUNIAC SPRINGS FL    32433‐7168

JOHN A GIBBS                                        265 GRINDSTONE DR                                                                               CLARKESVILLE      GA    30523
JOHN A GILBERT                                      7459 MILLER RD                                                                                  SWARTZ CREEK      MI    48473‐1429
JOHN A GILLENGERTEN JR                              3010 HAGADORN                                                                                   MASON             MI    48854‐9423
JOHN A GILLESPIE & CATHERINE S GILLESPIE JT TEN     190 BRYANT ST                                                                                   BUFFALO           NY    14222‐2005

JOHN A GIVEN                                        1336 WEST 25TH STREET                                                                           LORAIN            OH    44052‐4527
JOHN A GOERLITZ                                     1941 WILLOW BAY DR                                                                              DEFIANCE          OH    43512‐3712
JOHN A GORDY JR                                     3114 HARBOR POINTE DR                                                                           ROWLETTE          TX    75088‐2403
JOHN A GOSNELL                                      PSC 833                                BOX 21               FPO                                 APO               AE    09624
JOHN A GOULART & NANCY J GOULART JT TEN             631 GRAY TERRACE                       PO BOX 464                                               NORTH DIGHTON     MA    02764‐0464
JOHN A GRADY                                        450 E LOCKWOOD #107                                                                             WEBSTER GROVES    MO    63119‐3158
JOHN A GRAHAM                                       33060 PARKHILL ST                      APT 101                                                  WAYNE             MI    48184‐1351
JOHN A GRANT & JOANN GRANT TR UA 04/18/95           2920 ALT 19N LOT 157                                                                            DUNEDIN           FL    34698‐1501
JOHN A GRAZIANO CUST BRENT F SCAFANI UGMA CA        617 MATSONIA                                                                                    FOSTER CITY       CA    94404‐1305

JOHN A GREENE                                       134 LAUREL CT                                                                                   WHEELING          IL    60090‐4619
JOHN A GREGG & NORMA J GREGG JT TEN                 1009 OSPREY CT                                                                                  DUNEDIN           FL    34698‐8219
JOHN A GRIFFIN JR                                   30512 AVON PLACE                                                                                WESTLAND          MI    48185‐2480
JOHN A GRIFFIN JR & GRACE C GRIFFIN JT TEN          30512 AVON PL                                                                                   WESTLAND          MI    48185‐2480
JOHN A GRIMES                                       5171 OAKVIEW DR                                                                                 SWARTZ CREEK      MI    48473‐1251
JOHN A GROSTEFON                                    226 W LOCUST STREET                                                                             CLEONA            PA    17042‐3246
JOHN A GRZYWACK                                     2218 E FARNUM                                                                                   ROYAL OAK         MI    48067‐2104
JOHN A GURSKI                                       3728 IRISH RD                                                                                   WILSON            NY    14172‐9711
JOHN A GURSKI JR                                    3710 IRISH ROAD                                                                                 WILSON            NY    14172‐9711
JOHN A GUZMAN                                       24837 SAINT PAUL BL                                                                             HARRISON          MI    48045‐1934
                                                                                                                                                    TOWNSHIP
JOHN A GYENES                                       5817 ROCKINGHAM DR                                                                              DAYTON            OH    45429‐6129
JOHN A HAGE                                         1697 EASTSHORE CT                                                                               HUDSONVILLE       MI    49426
JOHN A HALL & LOUISE M HALL JT TEN                  6 BRANDON PL                                                                                    ROCKY RIVER       OH    44116‐1067
JOHN A HAMILTON                                     8180 S 58TH STREET                                                                              FRANKLIN          WI    53132‐9237
JOHN A HAMILTON                                     PO BOX 2429                                                                                     HARKER HEIGHTS    TX    76548‐0429
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 114 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

JOHN A HAMPTON                                    1445 W BROOKS ST SUITE J                                                                       ONTARIO            CA    91762
JOHN A HANSON                                     130 SHADE STREET                      NEW HAMBURG ON                         N3A 4J2 CANADA
JOHN A HANSON                                     13823 JUDAH AVE                                                                                HAWTHORNE          CA    90250
JOHN A HART                                       71 PAYSON AVE                                                                                  NEW YORK           NY    10034‐2767
JOHN A HARTMUS III                                1074 LAKE VALLEY DR                                                                            FENTON             MI    48430‐1227
JOHN A HAYS III                                   1969 LIVE OAK TRAIL                                                                            WILLIAMSTON        MI    48895‐9344
JOHN A HEARN                                      321 KINGSTON RD                                                                                KOKOMO             IN    46901‐5223
JOHN A HEARN & JO ANN HEARN JT TEN                321 KINGSTON ROAD                                                                              KOKOMO             IN    46901‐5223
JOHN A HEBERT JR                                  1706 LARKSPUR DRIVE                                                                            ARLINGTON          TX    76013‐3572
JOHN A HENDRICKS                                  511 E NORTH ST                                                                                 HARTFORD CITY      IN    47348‐1804
JOHN A HENDRICKS & ELIZABETH A HENDRICKS JT TEN   511 E NORTH ST                                                                                 HARTFORD CITY      IN    47348‐1804

JOHN A HENEGAN                                    421 TORRY AVENUE                                                                               BRONX              NY    10473‐1616
JOHN A HERNDON                                    1055 W JOPPA RD                       UNIT 726                                                 TOWSON             MD    21204‐3749
JOHN A HEROLD III                                 3175 BRIDGESTONE COURT                                                                         CINCINNATI         OH    45248‐4007
JOHN A HIGGINS                                    5427 LITTLE RIVER CIR                                                                          GAINESVILLE        GA    30506‐3191
JOHN A HILLGREN                                   2021 S PHILLIPS AVE                                                                            SIOUX FALLS        SD    57105‐2939
JOHN A HILLWIG                                    3395 GALAXY WAY                                                                                N FT MYERS         FL    33903
JOHN A HLAUDY                                     2357 STILLWAGON S E                                                                            WARREN             OH    44484‐3173
JOHN A HOBSON                                     30037 BOCK ST                                                                                  GARDEN CITY        MI    48135‐2306
JOHN A HOFFMANN                                   8 ARROW HEAD TRAIL                                                                             OCEAN VIEW         NJ    08230‐1175
JOHN A HOFMANN                                    521 WALTON ROAD                                                                                HUNTINGTOWN        MD    20639‐9418
JOHN A HOFMANN & PATRICIA P HOFMANN JT TEN        521 WALTON RD                                                                                  HUNTINGTON         MD    20639‐9418

JOHN A HOLLICKER                                  7806 CHADWICK DR                                                                               MURFREESBORO       TN    37129‐8011
JOHN A HOLMAN                                     2200 N RIVERSIDE DR                                                                            POMPANO BEACH      FL    33062‐1228
JOHN A HOLZERLAND                                 505 ROCKY FLATS RD                                                                             COSBY              TN    37722‐3805
JOHN A HOOVER                                     15375 MCCLELLAN                                                                                SPRINGPORT         MI    49284‐9755
JOHN A HORAN                                      403 DARWIN DR                                                                                  SNYDER             NY    14226‐4804
JOHN A HOTOPP                                     1575 CLARK RD                                                                                  CHARLESTON         WV    25314‐2336
JOHN A HOWARD                                     18690 FREELAND                                                                                 DETROIT            MI    48235‐2540
JOHN A HUBLER CUST JERI L HUBLER UGMA NJ          352 TAVISTOCK DR                                                                               MEDFORD            NJ    08055‐9264
JOHN A HUCKS                                      25 KNIGHT BOXX RD                     APT 2102                                                 ORANGE PARK        FL    32065‐8031
JOHN A HUDAK CUST AURELIA R HUDAK UTMA IN         23696 NORTH SHORE DRIVE                                                                        EDWARDSBURG        MI    49112
JOHN A HUDAK CUST JOHN A HUDAK UTMA IN            23696 NORTH SHORE DR                                                                           EDWARDSBURG        MI    49112
JOHN A HUGHES                                     3365 BROWN RD                                                                                  CALEDONIA          NY    14423‐9753
JOHN A HUGHES & MICHAEL D HUGHES JT TEN           PO BOX 1827                                                                                    ST GEORGE          UT    84771‐1827
JOHN A HULL                                       715 CRESCENT HILLS DRIVE                                                                       LAKELAND           FL    33813‐4670
JOHN A HUMMEL                                     3704 S W 11TH ST                                                                               BLUESPRINGS        MO    64015‐6279
JOHN A HUNSANGER                                  4339 MARYWOOD DR                                                                               TROY               MI    48085‐3682
JOHN A HUNT & JANE C HUNT TR HUNT FAM TRUST UA    27342 LARIAT AVE                                                                               MACON              MO    63552‐3526
12/20/94
JOHN A JAKUBOWSKI                                 25141 RICHARD                                                                                  TAYLOR             MI    48180‐4520
JOHN A JESSUP                                     90 571 81ST AVE                                                                                THERMAL            CA    92274‐9649
JOHN A JEWELL                                     8332 TWIN BRIDGE RD                                                                            GRAYLING           MI    49738‐9232
JOHN A JOHNSTON                                   20225 PURLINGBROOK                                                                             LIVONIA            MI    48152‐1848
JOHN A JONES                                      183 GREENHILL CIRCLE                                                                           MILTON             WI    53563‐1418
JOHN A JONES                                      9204 E 84TH STREET                                                                             RAYTOWN            MO    64138‐3221
JOHN A JONES                                      13O81 ROUND UP AVE                                                                             SAN DIEGO          CA    92129
JOHN A JONES                                      2212 JEFFERSON AVE                    APT 3                                                    CINCINNATI         OH    45212‐3244
JOHN A JONES & RACHEL JONES JT TEN                13081 ROUND UP AVE                                                                             SAN DIEGO          CA    92129
JOHN A JORDAN                                     2885 HILLCREST LN                                                                              NORTHBROOK         IL    60062‐5140
JOHN A JOYCE & CATHERINE G JOYCE JT TEN           10205 SAND TRAP CT                                                                             ELLICOTT CITY      MD    21042‐2157
JOHN A JUDD                                       5228 SPINNING WHEEL DR                                                                         GRAND BLANC        MI    48439‐4230
JOHN A JURIGA CUST STEPHANIE MARIE JURIGA UTMA    232 CHARING CROSS CT                                                                           BLOOMFIELD HILLS   MI    48304‐3506
MI
JOHN A JUSSILA                                    9207 MILL STATION RD                                                                           SEBASTOPOL         CA    95472‐8600
JOHN A JUSSILA & LINDA B JUSSILA JT TEN           9207 MILL STATION RD                                                                           SEBASTOPOL         CA    95472‐8600
JOHN A K HARKIN                                   4479 45TH ST S                                                                                 ST PETERSBURG      FL    33711‐4435
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 115 of 855
Name                                                Address1                             Address2                Address3       Address4          City               State Zip

JOHN A KADLUBOSKI                                   203 WEST BLANCKE STRE                                                                         LINDEN             NJ    07036‐5039
JOHN A KALAMAN JR                                   210 SNOW HILL AVENUE                                                                          KETTERING          OH    45429‐1708
JOHN A KAMMER                                       2804 PONCA CT                                                                                 KETTERING          OH    45420‐3843
JOHN A KARMILOVICH                                  988 DALTON AVE                                                                                BALTIMORE          MD    21224‐3315
JOHN A KARSCHNA JR                                  45434 PRIVATE SHORE DR                                                                        CHESTERFIELD TWP   MI    48047‐5371

JOHN A KEHOE & VIRGINIA A KEHOE JT TEN              133 VOORHIS                                                                                   RIVEREDGE          NJ    07661‐1233
JOHN A KEITH                                        13308 WESTWOOD LN                                                                             FISHERS            IN    46038‐5833
JOHN A KEMPF JR                                     5137 OAK GROVE RD                                                                             KANSAS CITY        KS    66106‐3327
JOHN A KERZMAN                                      8070 W RIDGE DR                                                                               BROADVIEW          OH    44147‐1029
                                                                                                                                                  HEIGHTS
JOHN A KINSEY & COLLEEN KINSEY JT TEN               1226 BEDFORD ROAD                                                                             MASURY             OH    44438‐1403
JOHN A KLINE & MELANIE KLINE JT TEN                 120 W WHEATON                                                                                 CLARE              MI    48617‐1247
JOHN A KLOSS                                        28176 COTTON RD                                                                               CHESTERFIELD       MI    48047‐6417
                                                                                                                                                  TNSHP
JOHN A KOEPPLINGER                                  13008 RING ROAD                                                                               SAINT CHARLES      MI    48655‐9517
JOHN A KOLVEREID                                    834 OLD STATE ROAD                                                                            BERWYN             PA    19312‐1443
JOHN A KOMAR                                        35 LOFTHOUSE DR                      WHITBY ON                              L1R 1V7 CANADA
JOHN A KOTOSKI                                      85 RED MILLS RD                                                                               MAHOPAC         NY       10541‐2756
JOHN A KOTOSKI & BARBARA J KOTOSKI JT TEN           85 RED MILLS RD                                                                               MAHOPAC         NY       10541‐2756
JOHN A KOTSIS                                       38815 BELLINGHAM DR                                                                           HARRISON TWNSHP MI       48045

JOHN A KOWALESKI JR                                 49 COALKILN RD                                                                                PRINCETON          MA    01541‐1502
JOHN A KREUZ                                        8407 NETHERLAND PL                                                                            COLUMBUS           OH    43235‐1156
JOHN A KRISTA                                       672 SHEDBORNE AVE                                                                             DAYTON             OH    45403‐3143
JOHN A KRUEGER & MRS GLORIA A KRUEGER JT TEN        APT 21                               38234 ANN ARBOR TRAIL                                    LIVONIA            MI    48150‐2471

JOHN A KRUMM                                        5104 W 65TH TERR                                                                              PRAIRIE VILLAGE    KS    66208‐1367
JOHN A KRZEMINSKI & DOLORES A KRZEMINSKI JT TEN     14514 CUTLER ROAD                                                                             PORTLAND           MI    48875‐9351

JOHN A KUCHAR                                       8630 WINTERGREEN                                                                              LANSING            MI    48917‐8801
JOHN A LAFALCE & JOYCE B LAFALCE JT TEN             8188 MANCHESTER DR                                                                            GRAND BLANC        MI    48439‐9584
JOHN A LAFLEUR & JEAN F LAFLEUR JT TEN              16237 GOOSE LAKE DR                                                                           CREST HILL         IL    60403‐1518
JOHN A LAITALA CUST ERIC JOHN LAITALA UGMA MI       7905 SOUTH DUNE HIGHWAY                                                                       EMPIRE             MI    49630‐9705

JOHN A LAITALA CUST MEGAN ELIZABETH LAITALA         7905 SOUTH DUNE HIGHWAY                                                                       EMPIRE             MI    49630‐9705
UGMA MI
JOHN A LAMB                                         74 PILOT PT RD                                                                                WARREN             ME    04864‐4532
JOHN A LANGSTON                                     5203 JOY RD                                                                                   DETROIT            MI    48204‐2152
JOHN A LARSON                                       PO BOX 129                                                                                    LEESBURG           IN    46538‐0129
JOHN A LASKO                                        106 ASHLEY ROAD                                                                               CHESAPEAKE         VA    23322‐4143
JOHN A LATTY                                        6607 HART RD                                                                                  SAGINAW            MI    48609
JOHN A LAUERER                                      C/O KATHLEEN D LAUERER               248 COVE LN                                              HUDSON             WI    54016‐8029
JOHN A LAVERTY & JEANNIE L LAVERTY JT TEN           5641 FIRETHORNE DR                                                                            BAY CITY           MI    48706‐5633
JOHN A LAWLOR                                       11 RED MAPLE RUN                                                                              N DARTMOUTH        MA    02747‐1522
JOHN A LEACH & MARJORIE S LEACH JT TEN              21261 WOODHILL DR                                                                             NORTHVILLE         MI    48167‐9767
JOHN A LEACH CUST J SCOTT LEACH UGMA MI             21261 WOODHILL DR                                                                             NORTHVILLE         MI    48167‐9767
JOHN A LEACH TR UA 10/28/1993 JOHN A LEACH TRUST    21261 WOODHILL DR                                                                             NORTHVILLE         MI    48167

JOHN A LEOPOLD                                      33 ARROWHEAD POINT ROAD                                                                       BROOKFIELD         CT    06804‐1533
JOHN A LEPLEY                                       PO BOX 4341                                                                                   PALM SPRINGS       CA    92263‐4341
JOHN A LEWIS & MRS CATHERINE LEWIS JT TEN           5923 BRAMBLETREE ST                                                                           SAN ANTONIO        TX    78247‐1329
JOHN A LIJEK & VENCESLAUS M LIJEK JT TEN            5423 TRIPP RD                                                                                 TIPTON             MI    49287‐9620
JOHN A LINDAUER EX EST MILLARD R LINDAUER           4907 BRIARWOOS LANE                                                                           MANLIUS            NY    13104
JOHN A LITCH & JANE I LITCH TR UA 06/23/93 JOHN A   49556 SABLE CREEK DR                                                                          MACOMB             MI    48042‐4648
LITCH & JANE I LITCH
JOHN A LIVY CUST CHRISTOPHER A LIVY UTMA CA         515 MARIN ST                         # 209                                                    THOUSAND OAKS      CA    91360‐4259
JOHN A LIVY CUST CHRISTOPHER A LIVY UTMA GA         12531 PRESERVATION POINTE DR                                                                  CHARLOTTE          NC    28216‐6735
JOHN A LIVY CUST JASON M LIVY UGMA GA               515 MARIN ST                         # 209                                                    THOUSAND OAKS      CA    91360‐4259
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 116 of 855
Name                                              Address1                              Address2              Address3         Address4          City              State Zip

JOHN A LIVY CUST JASON M LIVY UTMA CA            515 MARIN ST                           # 209                                                    THOUSAND OAKS     CA    91360‐4259
JOHN A LIVY CUST JASON M LIVY UTMA GA            515 MARIN ST                           # 209                                                    THOUSAND OAKS     CA    91360‐4259
JOHN A LOBBAN                                    62 CHUDLEIGH ST                        WATERDOWN ON                           L0R 2H6 CANADA
JOHN A LODGE                                     1184 SUNNY LN                                                                                   SAGINAW           MI    48603‐5643
JOHN A LOEFFLER & RHONDA K LOEFFLER JT TEN       PO BOX 1224                                                                                     BROWNSBURG        IN    46112‐5224
JOHN A LOKASH                                    1856 ROBIN CT                                                                                   NILES             OH    44446‐4140
JOHN A LONG                                      6784 MCPHERSON CLAY RD                                                                          LIBERTY           NC    27298‐9314
JOHN A LOPETRONE                                 51256 S ADELE CIR                                                                               CHESTERFIELD      MI    48047‐3087
JOHN A LUDLOW TOD JENNIFER D RODGERS SUBJECT TO 335 7TH AVENUE SOUTH                                                                             SAFETY HARBOR     FL    34695‐3947
STA TOD RULES
JOHN A LUMPKIN                                   4882 US 40                                                                                      CENTERVILLE       IN    47330‐9754
JOHN A LUMPKIN                                   410 MAPLENUT DR                                                                                 CENTERVILLE       IN    47330‐1121
JOHN A LUPSE                                     4987 E BERLIN RD                                                                                THOMASVILLE       PA    17364
JOHN A MACKAY                                    3295 WHITFIELD DR                                                                               WATERFORD         MI    48329‐2778
JOHN A MAJOR                                     177 POST AVE                                                                                    HILTON            NY    14468‐8904
JOHN A MALOOF JR                                 3215 KARL DALY RD                                                                               BIRMINGHAM        AL    35210‐4273
JOHN A MARINUCCI                                 4713 LONGSHORE AVE                                                                              PHILADELPHIA      PA    19135‐2309
JOHN A MARKEL JR                                 PO BOX 98                                                                                       MUNGER            MI    48747‐0098
JOHN A MARSH                                     9560 WARWICK                                                                                    DETROIT           MI    48228‐1323
JOHN A MARTIN                                    435 EAST MAIN ST                                                                                MURFREESBORO      TN    37130‐3857
JOHN A MARTIN                                    208 CENTRAL AVE                                                                                 WESTERNPORT       MD    21562‐1701
JOHN A MARTIN                                    2434 W UNION ST                                                                                 ALLENTOWN         PA    18104‐6237
JOHN A MARTINO                                   3301 LINCOLN                                                                                    DEARBORN          MI    48124‐3507
JOHN A MASON                                     14264 VIEW DR                                                                                   CAMDEN            MI    49232‐9539
JOHN A MASON JR                                  PO BOX 611                                                                                      CHATHAM           MA    02633
JOHN A MATHEWS                                   418 BUCKEYE LANE WEST                                                                           NILES             OH    44446‐2846
JOHN A MATIYA                                    13630 ST RD 17                                                                                  CULVER            IN    46511‐9031
JOHN A MATTHEWS                                  345 ALPLAUS AVE                                                                                 ALPLAUS           NY    12008‐1017
JOHN A MC CLELLAND & SALLY T MC CLELLAND TEN ENT 1913 ROBINWOOD ROAD                                                                             BALTIMORE         MD    21222‐4646

JOHN A MC GURTY JR & KATHLEEN A MC GURTY JT TEN   ST MARYS CONVENT                      JOHN ST                                                  PEEKSKILL         NY    10566

JOHN A MCDONNELL                                  10 JACKSON AVE                                                                                 PARLIN            NJ    08859‐1501
JOHN A MCGEEVER & GLORIA M MCGEEVER JT TEN        339 RIMMON HILL                                                                                BEACON FALLS      CT    06403‐1553

JOHN A MCGINNITY                                  14 E GOLDEN LAKE RD                                                                            CIRCLE PINE       MN    55014‐1725
JOHN A MCGURTY JR                                 ST MARY'S CONVENT                     JOHN ST                                                  PEEKSKILL         NY    10566
JOHN A MCINTYRE & FANNY MCINTYRE JT TEN           2125 RIVIERA PKWY                                                                              PT PLEASANT       NJ    08742‐4922
JOHN A MEGAREGEE III & BARBARA MEGARGEE JT TEN    30 BAXTER ST                                                                                   DENNISPORT        MA    02639‐1325

JOHN A MEISLIN                                    2841 GOLF CIR                                                                                  EMMAUS            PA    18049‐1736
JOHN A MELCHIORI CUST LIZA M MELCHIORI UTMA MI    592 PENTOGA TRL                                                                                CRYSTAL FALLS     MI    49920‐9528

JOHN A MEMMER & BONNIE J MEMMER JT TEN            939 PRESTWICK PL APT A                                                                         INDIANAPOLIS      IN    46214‐3679
JOHN A METZGER                                    9661 OLDE GEORGETOWN WAY                                                                       CENTERVILLE       OH    45458‐6095
JOHN A MEYER                                      12220 N 22ND PLACE                                                                             PHOENIX           AZ    85022‐5810
JOHN A MICHELINI & MRS MARIE C MICHELINI JT TEN   2833 CHARD                                                                                     WARREN            MI    48092‐2802

JOHN A MIKLIK                                     2424 OAK STREET #5                                                                             SANTA MONICA      CA    90405‐5117
JOHN A MIKO                                       2039 SHERWOOD FOREST                                                                           MIAMISBURG        OH    45342‐6200
JOHN A MILES                                      APT 10C                               375 RIVERSIDE DRIVE                                      NEW YORK          NY    10025‐2148
JOHN A MILLER                                     PO BOX 0042                                                                                    ST CLAIR SHORES   MI    48080‐0042
JOHN A MILLER                                     129 DISTL AVENUE                                                                               MANSFIELD         OH    44902‐2111
JOHN A MILLER                                     4707 TOWN HALL RD                                                                              JANESVILLE        WI    53546
JOHN A MILLER JR                                  67 BEACHFRONT CT                                                                               HOLLAND           OH    43528‐7850
JOHN A MILLIGAN                                   1279 FM 123                                                                                    CARTHAGE          TX    75633‐4398
JOHN A MILLS                                      19365 BILTONEN ROAD                   L ANSE                                                   LANSE             MI    49946
JOHN A MINER & BETTY J MINER JT TEN               10923 BOWER AVE                                                                                HAGERSTOWN        MD    21740‐7627
                                                09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 117 of 855
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

JOHN A MISCIKOSKI & LORETTA MISCIKOSKI JT TEN     340 MIGEON AVE                                                                               TORRINGTON      CT    06790‐4821

JOHN A MITCHELL                                   194 WEST 500 NORTH                                                                           ANDERSON        IN    46012‐9500
JOHN A MITCHELL                                   4403 DONCASTER DR                                                                            ELLICOTT CITY   MD    21043‐6798
JOHN A MITCHELL                                   623 CALLE EMBOCADURA                                                                         SAN CLEMENTE    CA    92673‐3030
JOHN A MOLINELLI                                  3238 SE QUAY ST                                                                              PORT ST LUCIE   FL    34984‐6517
JOHN A MONTGOMERY                                 7920 DRESDEN AVENUE                                                                          PARMA           OH    44129‐2810
JOHN A MOORE                                      5339 DON SHENK DR                                                                            SWARTZ CREEK    MI    48473‐1103
JOHN A MORBY & BEVERLY J MORBY JT TEN             12 GREENCREST DR                                                                             FARMINGTON      CT    06032‐3150
JOHN A MORGAN                                     85 ANDOVER SPARTA RD                                                                         NEWTON          NJ    07860‐9755
JOHN A MORRISON                                   1937 WINTON AVE                                                                              SPEEDWAY        IN    46224‐5625
JOHN A MORRISSEY                                  22 BRIARWOOD SOUTH                                                                           OAK BROOK       IL    60523‐8702
JOHN A MOSES                                      9254 QUANDT                                                                                  ALLEN PARK      MI    48101‐1531
JOHN A MOSES JR                                   PO BOX 55                                                                                    GROSSE ILE      MI    48138‐0055
JOHN A MOSLEY                                     4215 E PAGE BLVD                                                                             ST LOUIS        MO    63113‐3103
JOHN A MOWAT                                      456 CARNEGIE BEACH ROAD             RURAL ROUTE # 5      PORT PERRY ON     L9L 1B6 CANADA
JOHN A MROCZKOWSKI                                2924 FRANKLIN                                                                                HIGHLAND        IN    46322‐1636
JOHN A MUICH                                      10120 MULLALLY DR                                                                            ST LOUIS        MO    63123‐7320
JOHN A MURA                                       35 W 53RD ST                                                                                 KC              MO    64112‐2814
JOHN A MURPHY                                     16 FREDERICK AVE                    BOWMANVILLE ON                         L1C 2B9 CANADA
JOHN A MURPHY & ELIZABETH D MURPHY JT TEN         9321 HOBART COURT                                                                            FAIRFAX         VA    22032‐2139
JOHN A NATOLI                                     1010 HAWKS LANDING DR                                                                        LAKE ST LOUIS   MO    63367‐1833
JOHN A NEEDHAM                                    PO BOX 765                                                                                   MARSHALL        VA    20116‐0765
JOHN A NEFF                                       3930 LANTERN DRIVE                                                                           SILVER SPRING   MD    20902‐2321
JOHN A NELLES                                     95 E FINDLAY                                                                                 TONAWANDA       NY    14150‐8515
JOHN A NEMECZKY & MRS KAREN A NEMECZKY JT TEN     28 BARNSDALE RD                                                                              WEST NATICK     MA    01760‐3333

JOHN A NEWFANG & MRS MELISSA ANN HILL NEWFANG 601 1ST ST UNIT 3                                                                                HERMOSA BEACH   CA    90254‐5205
JT TEN
JOHN A NIELSON                                2338 CASCADE                                                                                     FLINT           MI    48504‐6512
JOHN A NIESE                                  RFD #3                                  2704 ROAD 12A                                            LEIPSIC         OH    45856‐9289
JOHN A NOBILE & SUSAN J NOBILE JT TEN         5740 HORTON LANE                                                                                 SOUTHOLD        NY    11971‐2405
JOHN A NYQUIST                                2103 SALINE RIVER RD                                                                             DUNDEE          MI    48131‐9740
JOHN A OBRINGER                               5233 GLENMINA DR                                                                                 CENTERVILLE     OH    45440‐2209
JOHN A OCONNOR                                19 PEACHTREE LN                                                                                  HICKSVILLE      NY    11801‐1649
JOHN A OFLYNN                                 615 TARRINGTON RD                                                                                ROCHESTER       NY    14609‐5753
JOHN A OLAY                                   2000 HILLSDALE                                                                                   DAVISON         MI    48423‐2330
JOHN A OLEK JR                                443 MILL RD                                                                                      ANDALUSIA       PA    19020‐6338
JOHN A OLENDERSKI                             767 SALEM CHURCH RD                                                                              NEWARK          DE    19702‐3612
JOHN A OLSEN                                  21540 LUJON DRIVE                                                                                NORTHVILLE      MI    48167‐9080
JOHN A OROLIM                                 1275 LOCKHAVEN ROAD                                                                              WATERFORD       MI    48327
JOHN A ORR                                    935 PRINCE                                                                                       MILFORD         MI    48381‐1773
JOHN A ORSO                                   3 WEST STREET                                                                                    GEORGETOWN      MA    01833‐1324
JOHN A OSBO                                   223 N MAIN ST                           APT 244                                                  EATON RAPIDS    MI    48827‐1282
JOHN A OTERO                                  8 ST GEORGE PLACE                                                                                HASKELL         NJ    07420‐1434
JOHN A PANITZ                                 513 FROST RD                                                                                     SANDIA PARK     NM    87047‐9414
JOHN A PATINO                                 973 COUNTY RD 375                                                                                SAN ANTONIO     TX    78253‐6813
JOHN A PATTON & BILLY J PATTON JT TEN         2215 E 68TH TERR                                                                                 KANSAS CITY     MO    64132‐2923
JOHN A PAYTON                                 PO BOX 475                                                                                       PLAINFIELD      IN    46168‐0475
JOHN A PELLONI & MARGARET A PELLONI JT TEN    816 SUNSET BLVD                                                                                  ELLWOOD CITY    PA    16117‐1458
JOHN A PERKINS                                1424 RUNNYMEADE WAY                                                                              XENIA           OH    45385
JOHN A PERRY                                  5035 SLEIGHT ROAD                                                                                BATH            MI    48808‐9481
JOHN A PHILLIPS                               16 CRESTFIELD RD                                                                                 WILMINGTON      DE    19810‐1402
JOHN A PHILLIPS & REBECCA L PHILLIPS JT TEN   18697 SUSANNA DRIVE                                                                              LIVONIA         MI    48152‐2673
JOHN A PIERCE                                 1054 HILLCREST DRIVE                                                                             OXFORD          MI    48371‐6016
JOHN A PIERCE                                 14709 W BURNSVILLE PKWY LOT 212                                                                  BURNSVILLE      MN    55306‐4887
JOHN A PILKEY                                 254 LANDINGS DR                                                                                  BUFFALO         NY    14228‐3708
JOHN A PLUNKETT JR                            432C BROMLEY PL                                                                                  WYCKOFF         NJ    07481‐1572
JOHN A PORTER                                 2748 APPLERIDGE                                                                                  YPSILANTI       MI    48198‐3311
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 118 of 855
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

JOHN A POTTS                                     572 WILLOW DR                                                                                   COLDWATER       MI      49036‐7520
JOHN A PRACKI                                    APT 310                                13630 WYANDOTTE                                          VAN NUYS        CA      91405‐2807
JOHN A PRATT JR                                  50 MILLARD AVE                                                                                  BRONXVILLE      NY      10708‐2722
JOHN A PRESTON                                   7661 YALE RD                                                                                    AVOCA           MI      48006‐1520
JOHN A PRIMEAU                                   2133 BELLECHASSE DR                                                                             DAVISON         MI      48423‐2117
JOHN A PROBEN TOD MATTHEW J MORAN                4908 ONYX STREET                                                                                TORRANCE        CA      90503‐2834
JOHN A PRUSE & M KATHERINE PRUSE JT TEN          2106 WOODLAND AVE                                                                               ROYAL OAK       MI      48073‐3875
JOHN A PUCKETT                                   RR 2 BOX 235A                                                                                   LUDOWICI        GA      31316‐9405
JOHN A PYKE                                      6841 MAPLEGROVE RD                                                                              VASSAR          MI      48768‐9107
JOHN A RABY & JOAN V RABY JT TEN                 5337 PIONEER DR                                                                                 CROSS LANES     WV      25313‐1225
JOHN A RACHECK                                   3330 COUNTY LINE RD                                                                             WEST FARMINGTON OH      44491‐9772

JOHN A RADICH                                    1867 HICKORY HILL DR                                                                            COLUMBUS          OH    43228‐9715
JOHN A RAGAN & IDA L RAGAN TR UA RAGAN FAMILY    10228 HEMLOCK                                                                                   OVERLAND PARK     KS    66212‐3453
TRUST 04/26/91
JOHN A RAGAN & IDA RAGAN TR RAGAN FAMILY TRUST   10228 HEMLOCK                                                                                   OVERLAND PARK     KS    66212‐3453
04/26/91
JOHN A RAJCZI & SHARON A RAJCZI JT TEN           955 INDIANA                                                                                     MARYSVILLE        MI    48040‐1525
JOHN A RAMSEY                                    R D #2 BOX 123                                                                                  WEST MIDDLESE     PA    16159‐9802
JOHN A RANDINELLI                                701 E 9TH ST                                                                                    AUBURN            IN    46706‐2425
JOHN A RAYNOR                                    398 ADAM ST                                                                                     TONAWANDA         NY    14150‐1904
JOHN A REARDON                                   145 PONAKIN RD                                                                                  LANCASTER         MA    01523‐2427
JOHN A RENDER & BETTY RENDER JT TEN              3731 WOODMAN DR                                                                                 TROY              MI    48084‐1113
JOHN A REPPART                                   703 PARK ST                                                                                     WILLARD           OH    44890‐1352
JOHN A RHODES & SUSAN H RHODES JT TEN            233 CYPRESS CREEK DR                                                                            SPARTANBURG       SC    29307‐2607
JOHN A RICCI                                     3563 ORCHARD HILL DR                                                                            CANFIELD          OH    44406‐9267
JOHN A RICHARDS                                  25191 HAYES                                                                                     TAYLOR            MI    48180‐2003
JOHN A RIZER                                     10615 WASHINGTON HOLLOW RD                                                                      FROSTBURG         MD    21532‐3443
JOHN A ROBBINS SR                                100 TANGELO DR                                                                                  JEFFERSON HILLS   PA    15025‐3415
JOHN A ROCK                                      19 VALLEY VIEW DRIVE                                                                            PENFIELD          NY    14526‐2531
JOHN A RODEGHIERO                                550 SENECA ST                                                                                   BUFFALO           NY    14204‐1925
JOHN A ROEBER                                    3027 WINDING TRAILS                                                                             FT MITCHELL       KY    41017‐9652
JOHN A ROHRMAN                                   8214 ANCHOR DR                         APT 141                                                  PORT ARTHUR       TX    77642
JOHN A RONCA                                     16 HUBBARD PL                                                                                   WETHERSFIELD      CT    06109‐2333
JOHN A ROSENSTANGEL                              6212 CEDAR DR                                                                                   CASS CITY         MI    48726‐9307
JOHN A ROSZKA                                    4208 ROSEWOLD                                                                                   ROYAL OAK         MI    48073‐1921
JOHN A ROYALL TR WILLIAM F ROYALL REVOCABLE      PO BOX 257                                                                                      MILLBROOK         NY    12545‐0257
TRUSTUA 5/22/94
JOHN A RUFFINI                                   90 SE NELSONS PT                                                                                KEYSTONE HGTS     FL    32656‐9682
JOHN A RUSH                                      24 KIAMENSI ROAD                                                                                WILMINGTON        DE    19804‐2908
JOHN A RUSH                                      PO BOX 8004                                                                                     NAPLES            FL    34101
JOHN A RUSSELL                                   134 DUBONNET STREET                                                                             DEPEW             NY    14043‐4779
JOHN A RUSSELL                                   959 LAKE GEORGE RD                                                                              ATTICA            MI    48412
JOHN A SABAKA & BARBARA JARES SABAKA JT TEN      1724 JANIE LANE                                                                                 BELOIT            WI    53511‐3122
JOHN A SADLER                                    2860 TALL PINES WAY                                                                             COMMERCE TWP      MI    48382‐2182
JOHN A SALZBERGER CUST MELISSA LYNN SALZBERGER   12 MILLSTREAM LANE                                                                              STONY BROOK       NY    11790‐2917
UGMA NY
JOHN A SANFORD                                   73 INDIAN WIND DR                                                                               SCITUATE          MA    02066‐3025
JOHN A SAUER                                     7766 EAST M‐78                                                                                  EAST LANSING      MI    48823‐9601
JOHN A SAVAGE                                    4358 EAGLE LN                                                                                   BURTON            MI    48519
JOHN A SCAMMACCA                                 11110 CARAVEL CR                       APT 202                                                  FORT MYERS        FL    33908‐3979
JOHN A SCHETROMPF                                119 VIRGIL CROWELL RD                                                                           SHELBYVILLE       TN    37160‐6006
JOHN A SCHLOTTER                                 3051 NE 48 ST #307                                                                              FT LAUDERDALE     FL    33308‐4916
JOHN A SCHMIDLIN                                 14463 TUBSPRING                                                                                 ALLENTON          MI    48002‐2614
JOHN A SCHMITT                                   12021 RENAISSANCE                                                                               BRIDGETON         MO    63043‐1145
JOHN A SCHRENKER                                 9 ELMONT AVE                                                                                    BALTIMORE         MD    21206‐1323
JOHN A SCHRUM                                    23574 W CENTRAL AVE                                                                             LAKE VILLA        IL    60046‐7241
JOHN A SCHWEIGEL & MRS MARION A SCHWEIGEL JT     32300 BYWOOD LANE                                                                               FRASER            MI    48026‐3138
TEN
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit E
                                                                                        Part 4 of 8 Pg 119 of 855
Name                                              Address1                               Address2                      Address3             Address4          City              State Zip

JOHN A SCULLA JR                                  414 CRISFIELD ROAD                                                                                          BALTIMORE         MD    21220‐3006
JOHN A SEBASTIAN                                  7867 WISE CT                                                                                                WEST CHESTER      OH    45069‐3409
JOHN A SESNIE                                     31274 LEOTA                                                                                                 FRASER            MI    48026‐2704
JOHN A SHARPE                                     508 SCOTT ST                                                                                                SANDUSKY          OH    44870‐3735
JOHN A SHAUGHNESSY                                13 DOUGLAS DR                                                                                               RUSHVILLE         NY    14544‐9757
JOHN A SHAUGHNESSY & IRENE SHAUGHNESSY JT TEN     10801 LA GRANGE AVE 4                                                                                       LA                CA    90025‐4620

JOHN A SHAY                                       629 CONGRESS COURT                                                                                          DAYTON            OH    45415‐2641
JOHN A SHAYLOR                                    1201 LYTTLETON ST                                                                                           CAMDEN            SC    29020‐3615
JOHN A SIEWIERSKI                                 2698 FOXMEADOW RD.                     PETERBOROUGH ON                                    K9L 0A8 CANADA
JOHN A SILOVSKY & ROXANNE V SILOVSKY JT TEN       1431 NE 74TH ST                                                                                             MERIDEN           KS    66512
JOHN A SIMMONS JR                                 23 LEO DR                                                                                                   FAIRVIEW HEIG     IL    62208‐1908
JOHN A SIMPSON                                    3635 WISH AVE                                                                                               INDIANAPOLIS      IN    46268‐3691
JOHN A SINSHACK                                   14363 KNIGHTSBRIDGE                                                                                         SHELBY TOWNSHIP   MI    48315‐2821

JOHN A SKERL                                    4278 CORRIGAN DR                                                                                              FREMONT           CA    94536‐5907
JOHN A SLATTER TR JOHN A SLATTER TRUST UA       70 BEECH ST                                                                                                   ESSEX JUNCTION    VT    05452‐4388
11/15/96
JOHN A SMITH                                    3905 DICKSON AVE                                                                                              CINCINNATI        OH    45229‐1339
JOHN A SMITH                                    430 WINTERS ST                                                                                                DAYTON            OH    45417‐2429
JOHN A SMITH                                    285 PINEY CREEK DR                                                                                            BLACKLICK         OH    43004‐7072
JOHN A SPRUEL                                   987 GLASGOW DR                                                                                                CINCINNATI        OH    45240‐2349
JOHN A SPRUILL & JOAN B SPRUILL JT TEN          JOHN A SPRUILL                           PATRICIA L RICHARDS‐SPRUILL   1138 WOODS PARKWAY                     SUFFOLK           VA    23434‐2549
JOHN A STANDEFER EXEC U‐W OF ESTHER M STANDEFER 1306 CARR ST                                                                                                  HILLSBORO         TX    76645‐2606

JOHN A STANLEY                                  15978 POWER DAM RD                                                                                            DEFIANCE          OH    43512‐7049
JOHN A STASZEWSKI & MRS MARGUERITE A STASZEWSKI 3340 READING CREST AVE                                                                                        READING           PA    19605‐1623
JT TEN
JOHN A STEWART                                  4478 ELEANOR                             PO BOX 567                                                           LINDEN            MI    48451‐0567
JOHN A STONE                                    307 VANESSA DR                                                                                                W ALEXANDRIA      OH    45381‐9382
JOHN A STONE                                    214 HARRIMAN DR APT 3053                                                                                      GOSHEN            NY    10924‐2427
JOHN A STORY CUST ROBERT D STORY U/THE NEW YORK 7674 STATE ROUTE 12                                                                                           BARNEVELD         NY    13304‐1837
U‐G‐M‐A
JOHN A STUART                                   5508 W AUTUMN SPRINGS CT                                                                                      MUNCIE           IN     47304‐6709
JOHN A SUTHERLAND                               10645 N 10TH PL                                                                                               PHOENIX          AZ     85020‐1174
JOHN A SVISCO                                   303 OVERPROOK AVE                                                                                             TANAWANDA        NY     14050
JOHN A SWALES JR & MERRILY SWALES JT TEN        13701 LAKESIDE AVE                                                                                            BEAR LAKE        MI     49614‐9615
JOHN A SWEIGART                                 206 HOLLY LANE                                                                                                NEW CASTLE       IN     47362‐1101
JOHN A SWINGLEY                                 8 S SCATTERFIELD RD                                                                                           ANDERSON         IN     46012‐3103
JOHN A SZYMANSKI                                BOX 16 HCR 1                                                                                                  SENEY            MI     49883‐9701
JOHN A TADRICK & MRS JOANN TADRICK JT TEN       1128 MOODY RD                                                                                                 NORTH FORT MYERS FL     33903‐4316

JOHN A TAUNT                                      1200 WRIGHT AVE                                                                                             ALMA              MI    48801‐1133
JOHN A TAYLOR                                     11802 MC PHERSON LNDG RD                                                                                    TUSCALOOSA        AL    35405‐7504
JOHN A TAYLOR                                     261 SW DEGOUVEA TER                                                                                         PORT ST LUCIE     FL    34984
JOHN A TERRY                                      72 QUAIL RIDGE DR                                                                                           MONROE            LA    71203‐9622
JOHN A TERRY                                      1364 MULBERRY GROVE ROAD                                                                                    MULBERRY GROVE    IL    62262‐3300

JOHN A TERRY & NETA F TERRY & ROBERT W TERRY JT   ROUTE 1                                                                                                     MULBERRY GROVE    IL    62262‐9801
TEN
JOHN A THOMPSON                                   12 CHESTNUT HILL CT                                                                                         WILLIAMSVILLE     NY    14221‐2601
JOHN A TIERNEY                                    500 WOODLAND BVD                                                                                            OWOSSO            MI    48867‐9083
JOHN A TIERNEY                                    2384 MORRISH RD                                                                                             FLUSHING          MI    48433‐9410
JOHN A TILTON                                     268 NONSUCH LANE                                                                                            MERRITT           NC    28556‐9742
JOHN A TIMMONS                                    1817 KILLEN PLACE                                                                                           COMPTON           CA    90221‐1314
JOHN A TOMASZEWSKI                                452 SPRUCE                                                                                                  WYANDOTTE         MI    48192‐4040
JOHN A TOMLINSON & JULIETTE SHELL TOMLINSON JT    191 CHERRY LN                                                                                               DOYLESTOWN        PA    18901‐3136
TEN
JOHN A TORKA                                      1202 HINE                                                                                                   BAY CITY          MI    48708‐8437
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 120 of 855
Name                                                 Address1                              Address2             Address3          Address4          City            State Zip

JOHN A TORRANCE                                      35 NORTH CHAPEL ST                                                                             GOWANDA         NY    14070‐1112
JOHN A TRELA                                         1047 RED LICK NUMBER 2 RD                                                                      BEREA           KY    40403‐8642
JOHN A TRIESSL JR                                    26 AMBROSE AVE                                                                                 MALVERNE        NY    11565‐1319
JOHN A TRUMP                                         PO BOX 1010                                                                                    CAMBY           IN    46113‐1010
JOHN A TUCKER                                        550 WESTFORD ROAD                                                                              JAMESTOWN       PA    16134‐8614
JOHN A TURNER                                        755 HODGE RD                                                                                   BEAN STATION    TN    37708‐6405
JOHN A TURSON                                        111 PLYMOUTH EAST RD                                                                           PLYMOUTH        OH    44865‐9774
JOHN A TUTTLE & JANICE D TUTTLE JT TEN               52 OLD ANDOVER RD                                                                              HEBRON          CT    06248‐1323
JOHN A TVELIA TR BAILEY & BAILEY PA PROFIT SHARING   BOX 507                                                                                        COLLEGE PARK    MD    20741‐0507
TRUST UA 10/27/75
JOHN A UTECHT & LINDA J UTECHT JT TEN                727 LONG LAKE AVE                                                                              ALPENA          MI    49707‐1852
JOHN A VAIR                                          903 N MAIN ST                                                                                  NEWARK          NY    14513‐1029
JOHN A VALENTE                                       28147 GILBERT                                                                                  WARREN          MI    48093‐2606
JOHN A VALENTI                                       7699 CHESTNUT RIDGE                                                                            LOCKPORT        NY    14094‐3509
JOHN A VALENTINE                                     10 BAYBERRY ST                                                                                 BLUFFTON        SC    29909‐6056
JOHN A VANDERSLICE III                               7159 BOBHIRD DRIVE                                                                             SAN DIEGO       CA    92119‐1403
JOHN A VESPER                                        57 STONE RIDGE DR                                                                              NEW FREEDOM     PA    17349‐9694
JOHN A VIGGIANO                                      5645 CLINGAN ROAD 25B                                                                          STRUTHERS       OH    44471
JOHN A VINCENZI                                      994 ASHEBROOKE WAY                                                                             MARIETTA        GA    30068‐5306
JOHN A VOIGT & GERALDINE VOIGT JT TEN                711 ELLEN AVE                                                                                  ROYAL OAK       MI    48073‐3228
JOHN A VONVOIGT                                      1014 WEDGEWOOD DRIVE                                                                           COLUMBUS        OH    43228‐3141
JOHN A VOORHEES                                      137 BOW LAKE ESTATES RD                                                                        STRAFFORD       NH    03884‐6705
JOHN A WACKERMAN CUST JEANINE WACKERMAN              270 STEPPING STONE DR                                                                          ALPHARETTA      GA    30004‐4007
UTMA GA
JOHN A WAFLE                                         11121 E PIONEER RD                                                                             WHITEWATER      WI    53190‐3349
JOHN A WAGNER                                        503 N OHIO                                                                                     SALEM           IL    62881‐1250
JOHN A WALDMAN                                       399 DEERFIELD RD                                                                               COLUMBUS        OH    43228‐1246
JOHN A WALEWSKI                                      4514 AVENUE B                                                                                  AUSTIN          TX    78751‐3022
JOHN A WALLACE                                       7101 BRISTOL RD EAST                                                                           DAVISON         MI    48423‐2419
JOHN A WALTERBUSCH                                   6875 ADAMWALD COURT                                                                            DAYTON          OH    45459‐1350
JOHN A WANNER                                        1538 SUMMIT STREET                                                                             LINWOOD         PA    19061‐4339
JOHN A WARD                                          8820 SASHABAW                                                                                  CLARKSTON       MI    48348‐2922
JOHN A WARD & KAREN M WARD JT TEN                    9331 S 74TH EAST AVE                                                                           TULSA           OK    74133‐5459
JOHN A WARREN                                        702 SALZBURG                                                                                   AUBURN          MI    48611‐8508
JOHN A WASHINGTON                                    PO BOX 651                                                                                     SAN LEANDRO     CA    94577‐0065
JOHN A WASHINGTON                                    105 SOUTH BROAD ST                                                                             PENNSGROVE      NJ    08069‐1947
JOHN A WASOWICZ & ROBIN T HERRON JT TEN              3005 WESSYNTON WAY                                                                             ALEXANDRIA      VA    22309‐2222
JOHN A WEEDA                                         10170 TERRACE CT                                                                               CLEVELAND       OH    44130‐6019
JOHN A WEGENER                                       7410 HARMONY RD                                                                                PRESTON         MD    21655‐1923
JOHN A WELLS                                         304 OAKRIDGE ST                                                                                ABBEVILLE       SC    29620‐4210
JOHN A WENDLER                                       621 E PARK AVE                                                                                 MONTICELLO      WI    53570‐9638
JOHN A WHEELER                                       BOX 511                                                                                        THROCKMORTON    TX    76483‐0511
JOHN A WHEELER                                       1616 WOOD ST                                                                                   LANSING         MI    48912‐3411
JOHN A WHITE                                         1752 JASMINE AVE                                                                               NEW HYDE PARK   NY    11040‐4027
JOHN A WHITE                                         4280 BANGOR                                                                                    DETROIT         MI    48210‐3173
JOHN A WHITE                                         PO BOX 394                                                                                     RYE             NY    10580‐0394
JOHN A WIEBER                                        105 PINNACLE DR                                                                                LAKE MILLS      WI    53551‐2000
JOHN A WILBUR                                        737 E MAIN                                                                                     IONIA           MI    48846‐1848
JOHN A WILHELMI                                      3105 FOX HILL RD                                                                               AURORA          IL    60504‐5919
JOHN A WILLIAMS                                      38425 JUDD RD                                                                                  BELLEVILLE      MI    48111‐9614
JOHN A WILLIG                                        3327 AYLERBURY CT                                                                              ROSWELL         GA    30075‐3119
JOHN A WILSON JR & LOIS A WILSON TR UA 07/10/2008    7603 18 AVE                                                                                    KENOSHA         WI    53143
WILSON FAMILY TRUST
JOHN A WIMPEY                                        2109 LAVISTA CIR                                                                               HAPEVILLE       GA    30354‐1503
JOHN A WING                                          3704 LAWNDALE DR                                                                               MIDLAND         MI    48642‐6640
JOHN A WITHERSPOON                                   PO BOX 201                                                                                     COVINGTON       OH    45318‐0201
JOHN A WOJCIK                                        2555 CHEYENNE TRAIL                                                                            LAPEER          MI    48446‐8771
JOHN A WOLF & INGE M WOLF JT TEN                     925 CORNELL RD                                                                                 KOKOMO          IN    46901‐1571
JOHN A WOOLERY                                       3282 SCHEYING ROAD                                                                             LEWISBURG       OH    45338‐9554
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 121 of 855
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JOHN A WRAY                                        P O BOX 417                                                                                     TULLAHOMA         TN    37388
JOHN A WRIGHT                                      207 EUCLID AVE                                                                                  ALBANY            NY    12208‐1431
JOHN A YERKOVICH                                   13842 W ROCK BLUFF WAY                                                                          LOCKPORT          IL    60441‐7583
JOHN A ZAHNER                                      109 YALE DRIVE                                                                                  LAKEWOOD          NJ    08701‐5637
JOHN A ZALUSKI & IRENE V ZALUSKI JT TEN            1342 SLEEPY HOLLOW RD                                                                           GLENVIEW          IL    60025‐3015
JOHN A ZAMPATTI                                    441 KENEC DR                                                                                    MIDDLETOWN        OH    45042‐3946
JOHN A ZAREMBSKI                                   18501 SAWYER                                                                                    DETROIT           MI    48228‐3406
JOHN A ZIELINSKI                                   81 FRANCIS ST                                                                                   BUFFALO           NY    14212‐2323
JOHN A ZIEMBA & VICTORIA I ZIEMBA JT TEN           847 DOLORES DR                                                                                  BENSENVILLE       IL    60106‐3425
JOHN A ZOFKO JR                                    13064 GOLFSIDE CT                                                                               CLIO              MI    48420‐8281
JOHN A ZOTTER & MRS THANH HUONG ZOTTER JT TEN      10518 CONTINENTAL DR                                                                            TAYLOR            MI    48180‐3128

JOHN ABBOTT FREI                             10 N IRVING ST                                                                                        RIDGEWOOD         NJ    07450‐3319
JOHN ADAM TENNIS                             311 1/2 W STATE ST                                                                                    JOHNSTOWN         NY    12095‐1603
JOHN ADAM WEYRAUCH IV                        12756 BAIR RD                                                                                         ORRVILLE          OH    44667‐9633
JOHN ADAMOVICH & THEODORA M ADAMOVICH JT TEN 113 LINDEN TREE LANE                                                                                  NEWARK            DE    19711‐7201

JOHN ADAMS                                         1919 MCKINSTRY ST                                                                               DETROIT           MI    48209‐1608
JOHN ADAMS APPLETON 3RD                            557 STAGECOACH RD                                                                               WAITSFIELD        VT    05673‐7337
JOHN AKIN DUBOIS JR                                1602 E WAID AVE                                                                                 MUNCIE            IN    47303‐2375
JOHN ALAN BAILEY JR                                3631 SUNRISE DR W                                                                               MINNETONKA        MN    55345‐2200
JOHN ALAN COOK                                     12300 CLOVER RD                                                                                 PACOIMA           CA    91331‐1474
JOHN ALAN IPPOLITO TR UA 8/31/89 IPPOLITO FAMILY   5527 VISTA TERRACE LN                                                                           SPARKS            NV    89436‐7690
TRUST
JOHN ALAN SHULMISTRAS                              POST OFFICE BOX 796                                                                             WORTH             IL    60482
JOHN ALARIMO JR                                    BOX 1446                                                                                        STUDIO CITY       CA    91614‐0446
JOHN ALBERT                                        11308 CANTERBURY DR                                                                             STERLING HTS      MI    48312‐2902
JOHN ALBERT BOVIE                                  208 MILFORD ROAD                                                                                NEPTUNE           NJ    07753‐5836
JOHN ALBERT HALL                                   G2279 W COLDWATER RD                                                                            FLINT             MI    48505
JOHN ALBERT RITT                                   NORTH STAR BANK                        4661 HW 61                                               WHITE BEAR LAKE   MN    55110‐3402
JOHN ALBERT STOSSEL                                PO BOX 313 MAIN ST                                                                              TWIN ROCKS        PA    15960‐0313
JOHN ALCOCK                                        705 E LOYOLA DR                                                                                 TEMPE             AZ    85282‐3836
JOHN ALCOCK CUST JOHN ALCOCK JR UGMA AZ            ARIZ STATE UNIV DEPT OF                ZOOLOGY                                                  TEMPE             AZ    85282
JOHN ALDEN MILLER                                  114 REEF DRIVE                         OCEAN REEF CLUB                                          OCEAN CITY        NJ    08226‐2151
JOHN ALDEN MILLER & JEAN H MILLER JT TEN           114 REEF DRIVE                         OCEAN REEF CLUB                                          OCEAN CITY        NJ    08226‐2151
JOHN ALEXANDER CUST COLLINS ALEXANDER UTMA AL      BOX 633                                                                                         MONTROSE          AL    36559‐0633

JOHN ALEXANDER CUST JOHN ALEXANDER JR UTMA AL      BOX 633                                                                                         MONTROSE          AL    36559‐0633

JOHN ALEXANDER CUST KATIE ALEXANDER UTMA AL        BOX 633                                                                                         MONTROSE          AL    36559‐0633

JOHN ALLAN MORRIS                                  2927 W REDBUD CIR                                                                               GREENFIELD        IN    46140‐9686
JOHN ALLEN                                         378 MAEDER AVE                                                                                  DAYTON            OH    45427‐1921
JOHN ALLEN                                         3172 S DYE RD                                                                                   FLINT             MI    48507‐1004
JOHN ALLEN BURKE & KATHRYN ANN BURKE JT TEN        15 APPLE HILL DR                                                                                LITITZ            PA    17543‐8212

JOHN ALLEN COLLAMORE                               1773 NORTHAMPTON ST                                                                             HOLYOKE           MA    01040‐1945
JOHN ALLEN GILLESPIE                               216 SENECA BLVD                                                                                 BARNEGAT          NJ    08005‐2801
JOHN ALLEN GORECKI EST JOHN GORECKI                5325 MOUNTAIN                                                                                   BRIGHTON          MI    48116
JOHN ALLEN HUBER                                   24 CURTIS AVE                                                                                   WALLINGFORD       CT    06492‐3708
JOHN ALLEN LOFTIN                                  9842 W BIGHORN DR                                                                               POCATELLO         ID    83204‐7222
JOHN ALLEN MIKULCIK                                113 E WALNUT ST                                                                                 SAINT CHARLES     MI    48655‐1311
JOHN ALLEN NESVADBA                                PO BOX 804                                                                                      COLUMBUS          TX    78934‐0804
JOHN ALLEN ROBB                                    313 BALSAM ST                                                                                   RIDGECREST        CA    93555‐3624
JOHN ALLEN ROBERTS                                 62‐71 81ST ST                                                                                   MIDDLE VILLAGE    NY    11379‐1405
JOHN ALMEIDA                                       1332 57TH ST                                                                                    SACRAMENTO        CA    95819‐4242
JOHN ALOI                                          2588 DOUBLE TREE PLACE                                                                          OVIEDO            FL    32766
JOHN AMIL & CAROL PURDY JT TEN                     PO BOX 16729                                                                                    WEST PALM BEACH   FL    33416‐6729
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 122 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JOHN ANADIOTIS CUST SERAFIM J ANADIOTIS UTMA OH 310 DEEPWOOD LN                                                                                    AMHERST           OH    44001‐1915

JOHN ANCINEC JR                                   7350 INKSTER ROAD #112                                                                           DEARBORN HEIGHTS MI     48127‐1631

JOHN ANDERSON                                     6723 DUPONT RD                                                                                   WASHINGTON        WV    26181
JOHN ANDERSON MACLAREN                            PO BOX 2046                             SARNIA ON                              N7T 7L1 CANADA
JOHN ANDREAS ENGLER II                            10067 S SYLVESTOR RD                                                                             HGHLNDS RANCH     CO    80129
JOHN ANDREW CHARLES LACEY                         3747 WALDORF DR                                                                                  DALLAS            TX    75229‐3937
JOHN ANDREW DUGE                                  22 BRUCE PARK AV                                                                                 GREENWICH         CT    06830‐6314
JOHN ANDREW INTRAVIA                              445 MAIN ST                                                                                      OLDSAYBROOK       CT    06475‐2519
JOHN ANDREW RYAN & JOAN RYAN JT TEN               233 CATOR AVE                                                                                    JERSEY CITY       NJ    07305‐2738
JOHN ANDREW TURNER                                3713 CHESAPEAKE ST N W                                                                           WASHINGTON        DC    20016‐1813
JOHN ANDREW WATKINS                               236 MAPLEVIEW DR                                                                                 TONAWANDA         NY    14150‐7804
JOHN ANGELOPOULOS                                 21‐45 76TH STREET                                                                                FLUSHING          NY    11370‐1202
JOHN ANGERMAN JR                                  42 GARDEN AVE                                                                                    BERLIN            NJ    08009
JOHN ANTHONY BIEWER JR                            420 N EVERGREEN ST                                                                               CHANDLER          AZ    85225‐6933
JOHN ANTHONY CESTONE                              46 EMERSON AVE                                                                                   CROTON            NY    10520‐2617
JOHN ANTHONY GUARASCIO                            801 HIGHLAND AVE NE                                                                              LARGO             FL    33770
JOHN ANTHONY KACZALA & JAN ALOIS KACZALA JT TEN   3204 BETHEL BLVD                                                                                 ZION              IL    60099‐3629

JOHN ANTHONY MCCOWAN & JENNIFER JOANN          21845 HUNTER CIR N                                                                                  TAYLOR            MI    48180
SOMMERVILLE JT TEN
JOHN ANTHONY OINOS                             18750 HOLLAND RD                                                                                    BROOK PARK        OH    44142‐1407
JOHN ANTHONY SCHRAUBEN                         326 PLEASANT ST                                                                                     PORTLAND          MI    48875‐1141
JOHN ANTHONY SEBREE                            325 CATHERINE ST                                                                                    BEL AIR           MD    21014‐3611
JOHN ANTHONY VELTRI                            10 VELTRI DR                                                                                        WASHINGTON        PA    15301‐1449
JOHN APRAHAMIAN                                7928 WEST 79TH ST                                                                                   PLAYA DEL REY     CA    90293‐7958
JOHN ARAMBAGES TR STEVE ARAMBAGES LIVING TRUST 193 NUGENT STREET                                                                                   STATEN ISLAND     NY    10306
UA 03/08/01
JOHN ARCHBOLD HUFTY                            1152 LAKE CLARKE DRIVE                                                                              WEST PALM BCH     FL    33406‐5329
JOHN ARDISTER                                  1720 CAMPERDOWN CIRCLE                                                                              DECATUR           GA    30035‐1345
JOHN ARMAND BADIA                              1506 BIRD RD                                                                                        CORAL GABLES      FL    33146‐1059
JOHN ARMISTEAD EIKE                            1889 CAPEWAY RD                                                                                     POWHATAN          VA    23139‐7326
JOHN ARMSTRONG WILLIAMS                        2506 HEARTHSIDE DR                                                                                  YPSILANTI         MI    48198‐9286
JOHN ARNE                                      1028 WINDBOURNE DR                                                                                  MACHESNEY PK      IL    61115
JOHN ARNESON                                   1641 W CANAL CIR # 712                                                                              LITTLETON         CO    80120‐4552
JOHN ARTHUR ANDREWS                            149 RIDGE RD                                                                                        NUTLEY            NJ    07110‐2138
JOHN ARTHUR ANREP DEACON EST NADINE A H DEACON 2300 YONGE ST #2900                        TORONTO ON                             M4P 1E4 CANADA

JOHN ARTHUR GUTHMANN & MARCIE A COBBLE JT TEN 130 ANTHONY FORD RD                                                                                  PENHOOK           VA    24137

JOHN ARTHUR LLOYD III                             15316 GULF BLVD UNIT 1003                                                                        MADEIRA BEACH     FL    33708‐1830
JOHN ARTHUR MORRISON                              765 CENTRAL PARK BLVD N                 OSHAWA ON                              L1G 6B2 CANADA
JOHN ARTHUR R BEEVOR                              512 CANONBERRY CRT                      APT 231              OSHAWA ON         L1G 2Z5 CANADA
JOHN ARTHUR TERRY                                 BOX 1573                                                                                         MANOMET           MA    02345‐1573
JOHN ARTHUR VANDERPOOL                            40206 SANDPOINTE WAY                                                                             NOVI              MI    48375
JOHN ARTHUR WESLEY                                4812 W CARDINAL                                                                                  MUNCIE            IN    47304‐3503
JOHN ARTHUR WILSON & JANICE H BOBB JT TEN         2075 BERRY RD                                                                                    GREENWOOD         IN    46143‐8223
JOHN ATEN & LISA ANN ATEN JT TEN                  6352 DENISON BLVD                                                                                PARMA HEIGHTS     OH    44130‐3260
JOHN ATEN & RICHARD JAMES ATEN JT TEN             25200 TREADWELL AVE                                                                              EUCLID            OH    44117‐1232
JOHN AUGUST                                       1151 CLOVER ST                                                                                   ROCHESTER         NY    14610‐3367
JOHN AUGUST FORTWENGLER                           5527 N STATE ROAD 9                                                                              ANDERSON          IN    46012‐9789
JOHN AURAN                                        7310 N EUCALYPTUS DRIVE                                                                          PARADISE VALLEY   AZ    85253‐3340
JOHN AVOLIO                                       24817 STAR VALLEY                                                                                ST CLAIR SHRS     MI    48080‐3182
JOHN AYERS                                        15458 29 MILE ROAD                                                                               ALBION            MI    49224‐9425
JOHN B ADAMS JR                                   303 WESTHAM PARKWAY                                                                              RICHMOND          VA    23229‐7432
JOHN B ANDERSON & MRS EDITH G ANDERSON JT TEN     5225 GRANDVIEW SQ                       APT 211                                                  MINNEAPOLIS       MN    55436‐1723

JOHN B ANDERTON                                   PO BOX 47073                                                                                     KANSAS CITY       MO    64188‐7073
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 123 of 855
Name                                              Address1                               Address2              Address3         Address4          City              State Zip

JOHN B BACKES CUST EDWARD BENNETT BACKES II       1 WHITEWOOD DR                                                                                  BRANFORD          CT    06405‐3356
UGMA CT
JOHN B BACKES CUST JOHN CHRISTOPHER BACKES        PO BOX 254                                                                                      EAST HADDAM       CT    06423‐0254
UGMA CT
JOHN B BARE                                       C/O DR R H BARE                        2935 SW 99TH AVENUE                                      PORTLAND          OR    97225‐4202
JOHN B BATY                                       3218 MILBOURNE                                                                                  FLINT             MI    48504‐2642
JOHN B BEARDSLEY CUST DAVID EMERY BEARDSLEY       256 JUSTICE HILL RD                                                                             STERLING          MA    01564
U/THE CONN U‐G‐M‐A
JOHN B BERNACKI & LOTTIE W BERNACKI JT TEN        500 COLUMBIA AVE                                                                                DEPEW             NY    14043‐2531
JOHN B BERTRAND                                   2610 KERWICK RD                                                                                 UNIVERSITY HTS    OH    44118‐4530
JOHN B BEVINS                                     1300 N BARD ROAD                                                                                GLADWIN           MI    48624‐9693
JOHN B BLACKMON                                   1314 HAGOOD AVE                                                                                 COLUMBIA          SC    29205‐1325
JOHN B BONACQUISTI                                854 DAKOTA                                                                                      ROCHESTER HILLS   MI    48307‐2878
JOHN B BOWEN                                      2943 BEWICK                                                                                     DETROIT           MI    48214‐2121
JOHN B BRENNAN & MRS EILEEN M BRENNAN JT TEN      446 YORK DR                                                                                     BENICIA           CA    94510‐1425

JOHN B BRIGGS                                     7095 POCKET ROAD                                                                                SACRAMENTO        CA    95831‐2901
JOHN B BROWN                                      5305 N BELSAY RD                                                                                FLINT             MI    48506‐1251
JOHN B BRUNOT                                     712 E SOUTH B ST                                                                                GAS CITY          IN    46933‐2101
JOHN B BUTLER                                     6815 S W 14TH AVENUE                                                                            PORTLAND          OR    97219‐2019
JOHN B CALDWELL                                   #2C                                    225 E MOSHOLU PKY N                                      BRONX             NY    10467‐3654
JOHN B CALEMME                                    215 NORTH 19TH STREET                                                                           KENILWORTH        NJ    07033‐1234
JOHN B CANTER                                     516 TRUMBULL AVE                                                                                GIRARD            OH    44420‐3439
JOHN B CARBONE & MRS STELLA C CARBONE JT TEN      134 VAN BUREN RD                                                                                SCOTIA            NY    12302‐3942

JOHN B CARDINALI                                  32128 BEACON LANE                                                                               FRASER            MI    48026‐2107
JOHN B CAREY                                      124 ORCHARD ST                                                                                  BELMONT           MA    02478‐2940
JOHN B CASEY                                      110 KATE'S PATH                                                                                 YARMOUTHPORT      MA    02675‐1449
JOHN B CHICARELLO & MRS LANDA M CHICARELLO JT     78 SALISBURY ST                                                                                 WINCHESTER        MA    01890‐2334
TEN
JOHN B CIAVATTA CUST DOMINIC J CIAVATTA UGMA PA   WESTWIND BOX 515                                                                                UNIONVILLE        PA    19375‐0515

JOHN B CLARK                                      PO BOX 1158                                                                                     BELLAIRE         TX     77402‐1158
JOHN B COLBY JR                                   1031 CONGRESS VALLEY ROAD                                                                       NAPA             CA     94558‐5305
JOHN B CORNUTT                                    847 WIND BLUFF PT                                                                               SPRINGBORO       OH     45066‐9014
JOHN B CORRIN & NORA CORRIN JT TEN                2186 HASTINGS DRIVE                                                                             MECHANICSBURG PA        17055‐9315
JOHN B COVER                                      108 BROOK ST                                                                                    DUNSTABLE        MA     01827‐1714
JOHN B COYNE JR                                   3111 FRANTZ RD                                                                                  MEDINA           OH     44256‐9023
JOHN B CREECH                                     11260 JACQUELINE DRIVE                                                                          STERLING HTS     MI     48313
JOHN B DANIEL                                     1119 POST AVE                                                                                   HOLLAND          MI     49424‐2546
JOHN B DANIELS                                    2950 CULLEOKA HWY                                                                               CULLEOKA         TN     38451‐2752
JOHN B DAUGHERTY                                  141 S HARBINE AVE                                                                               DAYTON           OH     45403
JOHN B DAVISON                                    1722 AIRPORT RD                                                                                 BINGHAMTON       NY     13905‐6100
JOHN B DE NAULT TR UW LAURA G DE NAULT            PO BOX 930                                                                                      BOULDER CREEK    CA     95006‐0930
JOHN B DEMPSEY                                    1985 W MILLER RD                                                                                MORRICE          MI     48857‐9658
JOHN B DEVANEY & DIANE E DEVANEY JT TEN           20 KINNEY DR                                                                                    EWING            NJ     08618‐2532
JOHN B DEWEY                                      349 GREENBRIAR LN                                                                               WEST GROVE       PA     19390‐9490
JOHN B DEWEY & MARILYN A DEWEY JT TEN             349 GREENBRIAR LN                                                                               WEST GROVE       PA     19390‐9490
JOHN B DONOVALL                                   14543 JALISCO RD                                                                                LA MIRADA        CA     90638‐4422
JOHN B DORMAN                                     PO BOX 705                                                                                      ORTONVILLE       MI     48462‐0705
JOHN B EAKINS JR                                  70 CLARK RD                                                                                     SUSSEX           NJ     07461‐3112
JOHN B EARLEY & ROSEMARIE EARLEY JT TEN           115 BEAR HILL RD                                                                                BETHANY          CT     06524‐3210
JOHN B EVANS III                                  1603 DEBRA DRIVE                                                                                ARLINGTON        TX     76010‐4915
JOHN B FARRINGTON                                 50 FIRE STATION RD                                                                              OSTERVILLE       MA     02655‐2007
JOHN B FELCH                                      1404 NICOLET PLACE                                                                              DETROIT          MI     48207‐2804
JOHN B FIELD & MARY A FIELD JT TEN                11750 S HOMAN AVENUE LOT 205           LANE 7                                                   MERRIONETTE PARK IL     60803‐4554

JOHN B FINDLING JR CUST MARY E FINDLING UGMA IN   4871 W STATE ROAD 28                                                                            TIPTON            IN    46072‐9111
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 124 of 855
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

JOHN B FINNEGAN                                   42064 GLORIA DR                                                                                 CANTON          MI    48187‐3832
JOHN B FISHER III                                 BOX 7006                                                                                        WACO            TX    76714‐7006
JOHN B FLEEGER                                    2000 HILLTOP LN                        OFC                                                      CLAREMORE       OK    74017‐8557
JOHN B FRANCK                                     1943 BETTY LOU COURT                                                                            WENTZVILLE      MO    63385‐2755
JOHN B FRATANGELI                                 31 LIMMAR                                                                                       ALIQUIPPA       PA    15001‐2656
JOHN B FULLER                                     261 LA SERENA AVENUE                                                                            ALAMO           CA    94507‐2122
JOHN B FULLER                                     29 BLUE RIDGE RD                                                                                KENSINGTON      CT    06037‐2801
JOHN B GADDY III & SHARON G GADDY JT TEN          108 BUCK HILL ROAD                                                                              MONROE          NC    28112‐2406
JOHN B GANTT                                      3230 N ABINGDON ST                                                                              ARLINGTON       VA    22207‐4214
JOHN B GARRISON                                   2214 KY 459                                                                                     BARBOURVILLE    KY    40906‐7474
JOHN B GATES & JANE H HALEY JT TEN                38 BUENA VISTA RD                                                                               CLAREMONT       NH    03743
JOHN B GEORGE III                                 3932 MORGAN ROAD                                                                                INTERLAKEN      NY    14847‐9645
JOHN B GERLACH JR                                 8489 DUNSINANE DRIVE                                                                            DUBLIN          OH    43017‐8755
JOHN B GILLETTE JR                                59 WESTWOOD AVE                                                                                 ELLENVILLE      NY    12428‐1817
JOHN B GOETZ JR                                   15583 EISENHOWER RD                                                                             LEAVENWORTH     KS    66048‐7597
JOHN B GOSTICH                                    5223 KOVEN ISLE DR                                                                              WILLOUGHBY      OH    44094
JOHN B GRAHAM                                     253 GREENWOOD DRIVE                                                                             HILTON HEAD     SC    29928‐4512
JOHN B GROCE                                      306 FALCON CREST DR                                                                             OAKWOOD         IL    61858‐9582
JOHN B HABERKORN JR                               1293 S CLEVELAND AVE                                                                            ST PAUL         MN    55116‐2602
JOHN B HAMMOND & JEAN I HAMMOND JT TEN            PASSWORD                               7 ROYAL COURT                                            SHELTON         CT    06484‐2936
JOHN B HART                                       5371 COPLEY SQ RD                                                                               GRAND BLANC     MI    48439‐8741
JOHN B HART & CAROL A HART JT TEN                 5371 COPLEY SQ RD                                                                               GRAND BLANC     MI    48439‐8741
JOHN B HAWKES                                     4171 WICKS ROAD                                                                                 LOCKPORT        NY    14094‐9449
JOHN B HENDRA                                     1653 WALNUT RIDGE CIR                                                                           CANTON          MI    48187‐3743
JOHN B HERZOG                                     79 FALLEN OAK LN                                                                                CHAPEL HILL     NC    27516‐4985
JOHN B HEWETT JR                                  3791 MOOSE LANE                                                                                 PETERSBURG      PA    16669‐2633
JOHN B HILLER                                     3904 LEE S SUMMIT RD                                                                            INDEPENDENCE    MO    64055‐4003
JOHN B HOPKINS                                    11491 W SNOWS LK RD                                                                             GREENVILLE      MI    48838‐9419
JOHN B HUFFAKER                                   251 MONTGOMERY AVE                     UNIT 7                                                   HAVERFORD       PA    19041‐1863
JOHN B HULL                                       R D #2 BOX 173‐H                                                                                ULSTER          PA    18850‐9634
JOHN B IDE CUST JONATHAN HOWARD IDE UGMA MA       5274 62ND ST                                                                                    MASPETH         NY    11378‐1338

JOHN B IDE CUST KATHLEEN L IDE UGMA MA            86 SYCAMORE STREET FL 2                                                                         ALBANY          NY    12208
JOHN B IDE CUST KIMBERLY JANE IDE UGMA RI         52‐74 62 ST                                                                                     MASPETH         NY    11378‐1338
JOHN B IRWIN                                      PO BOX 218                                                                                      FENTON          MI    48430‐0218
JOHN B JAMERSON                                   3633 COLUMBUS AVENUE                                                                            ANDERSON        IN    46013‐5362
JOHN B JENNINGS & SHEILA K JENNINGS JT TEN        5751 BAYBERRY FARMS DR SW                                                                       WYOMING         MI    49418‐9374
JOHN B JONES                                      3800 SW BLVD                                                                                    FORT WORTH      TX    76116
JOHN B JOYCE                                      78 TIMBER DRIVE                                                                                 EAST            MA    01028‐1316
                                                                                                                                                  LONGMEADOW
JOHN B JUDD                                       11420 EAST SHORE DRIVE                                                                          WHITMORE LAKE   MI    48189‐9327
JOHN B KAPLAN                                     8322 TAMARACK DR                                                                                FLORENCE        KY    41042‐9272
JOHN B KEMERLY & JERI P KEMERLY JT TEN            5035 W ARLINGTON PK BLVD                                                                        FORT WAYNE      IN    46835‐4315
JOHN B KERR JR                                    14142 SW 8TH AVE                                                                                OCALA           FL    34473‐8359
JOHN B KERR JR & SHIRLEY A KERR JT TEN            14142 SW 8TH AVE                                                                                OCALA           FL    34473‐8359
JOHN B KETCHAM JR                                 1501 KENAN N W                                                                                  GRAND RAPIDS    MI    49504‐2932
JOHN B KETELSEN CUST ASHLEY A KETELSEN UTMA IL    7516 W WINONA ST                                                                                HARWOOD HTS     IL    60706

JOHN B KETELSEN CUST JAMES J KETELSEN UTMA IL     5481 N AUSTIN AVE                                                                               CHICAGO         IL    60630‐1100

JOHN B KETELSEN CUST RICHARD J KETELSEN UTMA IL   7516 W WINONA ST                                                                                HARWOOD HTS     IL    60706

JOHN B KING                                       8881 W DEADFALL RD                     LOT 34                                                   HILLSBORO       OH    45133‐6670
JOHN B KLAIBER                                    33‐29 60TH ST                                                                                   WOODSIDE        NY    11377‐2219
JOHN B KNIES                                      6129 CHICKERING COURT                                                                           NASHVILLE       TN    37215
JOHN B KRUPKA CUST ANNA MARIA KRUPKA UTMA WI      2808 N 71ST STREET                                                                              MILWAUKEE       WI    53210‐1157

JOHN B LABELLE                                    509 FLORENCE AVE                                                                                FT WAYNE        IN    46808‐2457
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 125 of 855
Name                                              Address1                                Address2             Address3          Address4                 City             State Zip

JOHN B LABOSKY TR JOHN B LABOSKY TRUST UA         768 ORPHEUS AVE                                                                                         LEUCADIA         CA    92024‐2155
05/21/97
JOHN B LACKO                                      5 CIECKO COURT                                                                                          SAYREVILLE       NJ    08872‐1013
JOHN B LADD                                       CHEQUERMATE                             DUNSMORE WENDOVER    BUCKS             HP22 6QH GREAT BRITAIN
JOHN B LAFRONZ & MARY LAFRONZ JT TEN              5809 IRIS AVE                                                                                           LAS VEGAS        NV    89107‐1402
JOHN B LAGOMARSINO JR & MRS GLORIA J              55 KENNEDY ROAD                                                                                         CRESSKILL        NJ    07626‐1714
LAGOMARSINO JT TEN
JOHN B LATTERNER JR                               11311 SHARPVIEW                                                                                         HOUSTON         TX     77072‐2909
JOHN B LAWRENCE                                   1616 ELIDA ST                                                                                           JANESVILLE      WI     53545‐1934
JOHN B LEFEVER                                    1014 ANTOINE                                                                                            WYANDOTTE       MI     48192‐3338
JOHN B LETSON                                     4620 HOSPITAL RD                                                                                        SAGINAW         MI     48603‐9625
JOHN B LINDSAY                                    1927 EVANS ST                                                                                           NEWBERRY        SC     29108‐2615
JOHN B LONG                                       1380 KEARNEY DRIVE                                                                                      NORTH BRUNSWICK NJ     08902‐3130

JOHN B LOVETT                                       1292 CLARK ST                                                                                         RAHWAY           NJ    07065
JOHN B LUNNEY & LAURA A LUNNEY JT TEN               1907 WYOMING AVE                                                                                      BILLINGS         MT    59102‐4007
JOHN B MACCIO & MARILYN A MACCIO JT TEN             115 JOSEPH LANE                                                                                       DIX HILLS        NY    11746‐5634
JOHN B MACK                                         14001 RIDGE RD W                                                                                      ALBION           NY    14411‐9179
JOHN B MADDEN                                       1534 CLEOPHUS PKWY                                                                                    LINCOLN PARK     MI    48146‐2304
JOHN B MADDEN III                                   3 DEBBIE MARIE CT                                                                                     SCHENECTADY      NY    12309‐1948
JOHN B MADDEN JR                                    157 ELMGROVE AVE                                                                                      TROY             NY    12180‐5236
JOHN B MADDEN JR & SOPHIA M MADDEN JT TEN           157 ELMGROVE AVE                                                                                      TROY             NY    12180‐5236
JOHN B MAGNESS                                      121 BRETT DR                                                                                          GUNBARREL CITY   TX    75147‐4262
JOHN B MAHONEY                                      8141 WOODLEAF DRIVE                                                                                   FAIR OAKS        CA    95628‐5104
JOHN B MALCOLM JR                                   430 LAMP POST LANE                                                                                    CAMP HILL        PA    17011‐1457
JOHN B MANGUAL                                      547 BOSTON POST RD E                  LOT 110                                                         MARLBOROUGH      MA    01752‐3719
JOHN B MARCIANO                                     BOX 216                                                                                               THREE BRIDGES    NJ    08887‐0216
JOHN B MARNON                                       20483 KINLOCH                                                                                         REDFORD TWP      MI    48240‐1116
JOHN B MARTIN                                       20138 WHIPPLE DRIVE                                                                                   NORTHVILLE       MI    48167
JOHN B MAST III OR PATRICIA L MAST TR UA 03/30/2009 201 E MILITRAY RD                                                                                     ZANESVILLE       OH    43701
MAST FAMILY TRUST
JOHN B MASTERS                                      2624 MIDVALE PLACE                                                                                    DAYTON           OH    45420‐3532
JOHN B MASTERS & LUCY A MASTERS JT TEN              2624 MIDVALE AVE                                                                                      DAYTON           OH    45420‐3532
JOHN B MC CLAIN & JACQUELINE MC CLAIN JT TEN        692 PENINSULA DR                                                                                      PROSPERITY       SC    29127‐9366

JOHN B MCGRAW                                     5413 IRON WOOD LANE                                                                                     RALEIGH          NC    27613‐4501
JOHN B MCGUIRE & CAROL E MCGUIRE JT TEN           13465 BLAKE DRIVE                                                                                       PORT CHARLOTTE   FL    33981‐2909
JOHN B MCKEEN                                     107 NORTH FOREST PARK DR                                                                                PAYSON           AZ    85541‐4362
JOHN B MELUZIO CUST LAUREN M TOBIN UGMA NY        47 THEODORE ROOSEVELT DR                                                                                BLAUVET          NY    10913‐1721

JOHN B MERRILL                                    8505 FORD ROAD                                                                                          JACKSON          MI    49201‐9444
JOHN B MEYERS & KATHERINE M MEYERS JT TEN         3770 CLUB HOUSE LANE                                                                                    CONYERS          GA    30094‐3720
JOHN B MIDDLEBROOK                                4319 BLYTHEWOOD DR                                                                                      FLORISSANT       MO    63033‐4252
JOHN B MOELMANN                                   PO BOX 25165                                                                                            SCOTT A F B      IL    62225‐0165
JOHN B MOORE JR                                   5561 OAK VALLEY RD                                                                                      DAYTON           OH    45440‐2332
JOHN B MOORE JR & MRS ELOISE ANN MOORE JT TEN     5561 OAK VALLEY RD W                                                                                    DAYTON           OH    45440‐2332

JOHN B MURRAY                                     1725 WALLACE ST                                                                                         STROUDSBURG      PA    18360‐2726
JOHN B NEWCOMB                                    500 BAY AVE                             303 S                                                           OCEAN CITY       NJ    08226‐3979
JOHN B NEWHALL                                    ATTN NUTTER MC CLENNEN & FISH           16 SMITH POINT RD                                               MANCHESTER       MA    01944‐1448
JOHN B NEWMAN                                     435 W WATER ST                          APT 201                                                         FLINT            MI    48503‐5640
JOHN B NIBECKER                                   PO BOX 128                                                                                              SHADY SIDE       MD    20764‐0128
JOHN B NICHOL                                     10843 COURAGEOUS DRIVE                                                                                  INDIANAPOLIS     IN    46236‐8717
JOHN B NIXON                                      921 HUNTINGTON CIRCLE                                                                                   NASHVILLE        TN    37215‐6114
JOHN B O'BRIEN                                    16753 WESTMORLAND                                                                                       DETROIT          MI    48219
JOHN B OAKES & MARY LOU OAKES JT TEN              7625 CHAFFINCH ST                                                                                       N LAS VEGAS      NV    89084‐3793
JOHN B OLSON & MARCIA W OLSON JT TEN              3440 RANCH ROAD                                                                                         MARIETTA         GA    30066‐4510
JOHN B OSBORNE JR                                 7184 PERIWINKLE CT                                                                                      BROOKSVILLE      FL    34602‐7712
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 126 of 855
Name                                                 Address1                            Address2               Address3        Address4                 City             State Zip

JOHN B OSBORNE JR & GRETCHEN H OSBORNE JT TEN        7184 PERIWINKLE CT                                                                                  BROOKSVILLE      FL    34602‐7712

JOHN B OSTERHOUT                                     26400 WICK RD                                                                                       TAYLOR           MI    48180‐3013
JOHN B PARKER & MARILYN J PARKER JT TEN              99 SPRING GARDEN CT                                                                                 BOARDMAN         OH    44512‐6526
JOHN B PARSONS & RUTH M PARSONS JT TEN               72 W STATE RD 350                                                                                   OSGOOD           IN    47037‐8961
JOHN B PATTINSON                                     2718 HEMMETER RD                                                                                    SAGINAW          MI    48603‐3020
JOHN B PAULUS & LISA C PAULUS JT TEN                 8830 SHADOWLAKE WAY                                                                                 SPRINGFIELD      VA    22153‐2120
JOHN B PAXTON                                        1841 GODDARD ST S E                                                                                 ATLANTA          GA    30315‐6907
JOHN B PAYNE                                         217 WEST ALLEN STREET                                                                               WINEOSKI         VT    05404‐2105
JOHN B PETTYPOOL                                     6594 LYONS RD                                                                                       IMLAY CITY       MI    48444‐8821
JOHN B PICKFORD                                      1546 N ORLEANS ST                   APT 908                                                         CHICAGO          IL    60610‐2490
JOHN B PIGGOTT                                       5 THORPE CLOSE                      BIDDENHAM BEDFORD                      MK40 4RA GREAT BRITAIN
JOHN B POLHILL                                       7608 OLD ORCHARD CIRCLE                                                                             LOUISVILLE       KY    40222‐4024
JOHN B PORTER                                        8807 WESTPOINT CT                                                                                   EDWARDS          IL    61528‐7514
JOHN B POTTER & FRANCES ROSE POTTER JT TEN           6238 M65 SOUTH                                                                                      LACHINE          MI    49753
JOHN B PRINCE 3RD                                    PO BOX 128                                                                                          TIFTON           GA    31793‐0128
JOHN B RATAJCZAK                                     1927 E KINDE RD                                                                                     KINDE            MI    48445‐9326
JOHN B RAWLINGS                                      104 HEMLOCK DR                                                                                      LEXINGTON        NC    27292‐4856
JOHN B RAYSON                                        PO BOX 629                                                                                          KNOXVILLE        TN    37901‐0629
JOHN B REAL                                          1902 EKIN AVENUE                                                                                    NEW ALBANY       IN    47150‐1750
JOHN B REER                                          624 CHELSEA ST                                                                                      FORKED RIVER     NJ    08731‐2116
JOHN B RIGGINS                                       318 N 22ND ST                                                                                       SAGINAW          MI    48601‐1360
JOHN B ROBERSON                                      904 LEBANON RD                                                                                      EUPORA           MS    39744‐5703
JOHN B ROBINSON                                      607 DOVER BLUFF CIR                                                                                 MANAKIN SABOT    VA    23103‐3042
JOHN B ROSA & BARBARA A ROSA JT TEN                  5402 DECATUR ST                                                                                     HYATTSVILLE      MD    20781‐2637
JOHN B ROSS                                          3901 ACADIA DR                                                                                      LAKE ORION       MI    48360‐2727
JOHN B SALERNO                                       9147 MORENCI RD                                                                                     MORENCI          MI    49256‐9705
JOHN B SAUDER & THELMA B SAUDER TEN ENT              147 W MAIN ST                                                                                       WAYNESBORO       PA    17268‐1519
JOHN B SAYLOR                                        7451 W MERCADA WAY                                                                                  DELRAY BEACH     FL    33446‐3794
JOHN B SCHLAFFER JR                                  11609 STATE ROUTE 3                 LOT 62                                                          ADAMS            NY    13605
JOHN B SEBASTIAN                                     758 SOUTHWIND DR                                                                                    FAIRFIELD        OH    45014‐2754
JOHN B SEPENOSKI JR                                  BOX 120                                                                                             PECONIC          NY    11958‐0120
JOHN B SHAFFER                                       4770 FURNEY ST                                                                                      HOLT             MI    48842‐1002
JOHN B SHAW                                          13291 SW 99 ST                                                                                      MIAMI            FL    33186‐2223
JOHN B SHAW                                          2329 RANCH DR                                                                                       DENVER           CO    80234‐2647
JOHN B SIMONI                                        2046 MAPLE AVE                                                                                      CHARLTON         NY    12019
JOHN B SKINNER                                       527 MOUNT PARK DR                                                                                   POWDER SPRINGS   GA    30127‐6465

JOHN B SMALL                                         134 GREENWAY E                                                                                      NEW HYDE PARK    NY    11040‐2223
JOHN B SMIGIELSKI & MRS ARLENE J SMIGIELSKI JT TEN   2081 MAIN ST                                                                                        UBLY             MI    48475‐9726

JOHN B SOMMERVILLE                                   11 O 95 HIDDEN POND DR NE                                                                           ROCKFORD         MI    49341
JOHN B SOPKOWICZ                                     17428 GOLFVIEW                                                                                      LIVONIA          MI    48152‐2935
JOHN B SOWERS                                        1402 CHAMBERS RDG                                                                                   YORK             PA    17402‐8824
JOHN B STEART                                        19815 LANARK LANE                                                                                   SARATOGO         CA    95070‐5023
JOHN B STEFFES                                       4426 LAKESHORE ROAD                                                                                 SHEBOYGAN        WI    53083‐2127
JOHN B STODDARD                                      12032 TORREY RD                                                                                     FENTON           MI    48430‐9702
JOHN B STROUD & FRANCES C STROUD TR UA               6 RUEDO LN                                                                                          HOT SPRINGS      AR    71909
12/03/2008 STROUD FAMILY TRUST
JOHN B SULLIVAN                                      878 DEER LANE EXT                                                                                   ROCHESTER        PA    15074‐1009
JOHN B SULLIVAN & MARIE G SULLIVAN JT TEN            2507 LINDELL ROAD GRENDON           FARMS                                                           WILMINGTON       DE    19808‐4003
JOHN B SYLTE                                         807 COVE ST                                                                                         LOCKPORT         IL    60441‐2247
JOHN B THOMAS                                        8609 BRISTOL                                                                                        KANSAS CITY      MO    64138‐2839
JOHN B THOMAS                                        3824 MARQUETTE ST                                                                                   HOUSTON          TX    77005
JOHN B THOMPSON                                      1758 DOGWOOD COURT                                                                                  BROOMFIELD       CO    80020‐1159
JOHN B TIMMER & DIANE E TIMMER JT TEN                1883 AMY JO DR                                                                                      OSHKOSH          WI    54904‐8863
JOHN B TRAINO JR & MARIE Y TRAINO JT TEN             110 LYNTHWAITE FARM LN              VILLAGE OF ROCKY RUN                                            WILMINGTON       DE    19803
JOHN B VANSCOYK                                      994 SHANTS RD                                                                                       JORDAN           NY    13080‐9728
JOHN B VAUGHAN                                       2447 NORBERT ST                                                                                     FLINT            MI    48504‐4682
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 127 of 855
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

JOHN B VERCELLINO & MRS SARA S VERCELLINO JT TEN   3743 WILDWOOD RIDGE                                                                            KINGWOOD           TX    77339‐2663

JOHN B VERCELLINO JR                            3743 WILDWOOD RIDGE                                                                               KINGWOOD           TX    77339‐2663
JOHN B WADDELL JR                               55 GREEN BAY DR 3                                                                                 YOUNGSTOWN         OH    44512‐6233
JOHN B WALKER                                   4808 LOWCROFT ST                                                                                  LANSING            MI    48910‐5359
JOHN B WATSON                                   8660 FELSVIEW DRIVE                                                                               LAUREL             MD    20723‐1230
JOHN B WEHRLE JR                                3388 WOODSIDE CIR                                                                                 LEXINGTON          KY    40502‐3342
JOHN B WELP & DONNA R WELP JT TEN               2589 E 550S                                                                                       HUNTINGBURG        IN    47542‐9129
JOHN B WENDERS                                  BOX 115                                                                                           WHITE MILLS        PA    18473‐0115
JOHN B WERT                                     3609 RIVIERE DU CHIEN RD                                                                          MOBILE             AL    36693‐5443
JOHN B WHEATLEY JR                              107 WILDWOOD LANE                                                                                 LOUISVILLE         KY    40223‐2818
JOHN B WHEELER                                  36 DUDLEY RD                                                                                      BERLIN             MA    01503‐1322
JOHN B WHITLOCK                                 222 O CONNOR                                                                                      LAKE ORION         MI    48362‐2753
JOHN B WHITTON                                  10462 EAST BELLA VISTA DRIVE                                                                      SCOTTSDALE         AZ    85258‐5760
JOHN B WILLIAMSON TOD JANICE P WILLIAMSON       10524 CROSSINGS DRIVE                                                                             REMINDERVILLE      OH    44202
SUBJECT TO STA TOD RULES
JOHN B WISNER                                   19838 KIRKWOOD SHOP RD                                                                            WHITE HALL         MD    21161‐9195
JOHN B WITBRODT                                 602 WOODSIDE                                                                                      ESSEXVILLE         MI    48732‐1231
JOHN B WOJCIECHOWSKI                            634 HARVEY AVE                                                                                    GREENSBURG         PA    15601
JOHN B WOJCIECHOWSKI & DOROTHY J                634 HARVEY AVE                                                                                    GREENSBURG         PA    15601
WOJCIECHOWSKI JT TEN
JOHN B WOOLEY & COLLEEN L WOOLEY JT TEN         7837 PAGENT LN                                                                                    WICHITA            KS    67206‐2153
JOHN B WOOLEY & COLLEEN LEE WOOLEY TR WOOLEY 7837 PAGENT LANE                                                                                     WICHITA            KS    67206‐2153
REV LIV TRUST UA 08/02/04
JOHN B WRIGHT                                   9190 CENTER ST                                                                                    HOLLAND            NY    14080‐9690
JOHN B YANCHO                                   9703 OAKLEY ROAD                                                                                  ZEBULON            NC    27597‐7976
JOHN B ZIMMERMAN                                RT 1227 STATE HWY 69                                                                              BELLEVILLE         WI    53508‐9801
JOHN BAESEMAN CEMETERY ASSOCIATION OF RIB FALLS PO BOX 1686                                                                                       WAUSAU             WI    54402‐1686

JOHN BAILEY                                        2908 SUNLAND DR                                                                                ALAMOGORDO         NM    88310
JOHN BALBO                                         4614 STAGECOACH TRL                                                                            TEMPLE             TX    76502‐3841
JOHN BALL BURROUGHS JR                             2 ST ANDREWS GARTH                                                                             SEVERNA PARK       MD    21146‐1520
JOHN BANICKI & KATHERINE BANICKI JT TEN            1130 BURNHAM                                                                                   BLOOMFIELD HILLS   MI    48304‐2975

JOHN BANISTER                                      589 AUGUSTA DRIVE                                                                              MORAGA             CA    94556‐3004
JOHN BAPTIST NOBILETTI                             1006 CALVIN DR                                                                                 JOHNSTOWN          PA    15905‐1501
JOHN BARAN & JANET R BARAN JT TEN                  8116 EUCLID                                                                                    MUNSTER            IN    46321‐1706
JOHN BARBATA                                       5412 BEN AVE                                                                                   NO HOLLYWOOD       CA    91607‐2111
JOHN BARGER                                        PO BOX 3657                                                                                    PUEBLO             CO    81005‐0657
JOHN BARONETT CUST MARY LYNN BARONETT UGMA         5690 JANET DR                                                                                  PITTSBURGH         PA    15236‐3320
PA
JOHN BARRETTA                                      61 BELMOHR ST                                                                                  BELLEVILLE         NJ    07109‐2249
JOHN BARRIER RICE                                  1172 CAMP ST                                                                                   NEW ORLEANS        LA    70130‐4202
JOHN BARRON TAYLOR                                 569 S ANGEL                                                                                    KAYSVILLE          UT    84037‐9754
JOHN BARSICH                                       3835 LENNA DR                                                                                  SNELLVILLE         GA    30039‐5109
JOHN BARTELL                                       9711 CANEY PL                                                                                  SILVERSPRING       MD    20910‐1108
JOHN BARTIS & SALLY D BARTIS JT TEN                3260 JANTON LN                                                                                 SAINT CHARLES      MO    63301‐0324
JOHN BARTKIW                                       G3340 E CARPENTER RD                                                                           FLINT              MI    48506
JOHN BARTON                                        3627 KANTER AVE                                                                                DETROIT            MI    48211
JOHN BASARICH                                      53 SHIVELY RD                                                                                  LADERA RANCH       CA    92694‐0812
JOHN BASIL WONG                                    459 16TH AVE                                                                                   SAN FRANCISCO      CA    94118‐2811
JOHN BASILE                                        739 MILLBROOK RD                                                                               BRICK              NJ    08724‐1024
JOHN BAXTER HENRY CUST JEFFERY COLE HENRY UTMA     308 MESA VERDE CT                                                                              ALTUS              OK    73521‐1192
OK
JOHN BAXTER HENRY CUST JOHN BLAKE HENRY UTMA       308 MESA VERDE CT                                                                              ALTUS              OK    73521‐1192
OK
JOHN BAXTER JAMES JR                               5307 DIXON DR                                                                                  RALEIGH            NC    27509‐4237
JOHN BAXTER URIST                                  15 PLUNKETT PLACE                                                                              WESTPORT           CT    06880‐2732
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 128 of 855
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

JOHN BAYLOCK CUST MEGHAN T BAYLOCK UTMA NJ       930 COURT HOUSE SO DENNIS RD                                                                    CAPE MAY CRT      NJ    08210‐1363
                                                                                                                                                 HOUSE
JOHN BEEBE                                       4410 COLLEGE HEIGHTS CIR                                                                        MINNEAPOLIS       MN    55437‐2119
JOHN BEGANSKY                                    2850 MELLGREN DR                                                                                WARREN            OH    44481‐9166
JOHN BELLANCA                                    297 BRIDGEWOOD DR                                                                               ROCHESTER         NY    14612‐3705
JOHN BELO                                        437 MUNROE CIRCLE                                                                               DES PLAINES       IL    60016‐5909
JOHN BENEDICT ROTH                               4815 FALSTONE AVE                                                                               CHEVY CHASE       MD    20815‐5541
JOHN BENITEZ JR                                  344 W ROWLAND AVE                                                                               MADISON HEIGHTS   MI    48071‐3934

JOHN BENJAMIN RUSSO                              4381 RT 94                                                                                      GOSHEN            NY    10924‐5615
JOHN BENNETT ROBINSON                            322 GREEN BANK LANE                                                                             ROSEMONT          PA    19010‐1619
JOHN BEREZNIAK & ETHALIA BEREZNIAK JT TEN        600 HAZEL AVE                                                                                   ELLWOOD CITY      PA    16117‐1013
JOHN BERNARD SCHACHTEL                           PO BOX 193                                                                                      HASBROUCK HTS     NJ    07604‐0193
JOHN BERTRAM JOHNSON                             349 CYPRESS LANDING                                                                             LONGWOOD          FL    32779‐2616
JOHN BETLEIEWSKI                                 738‐4TH ST                                                                                      LYNDHURST         NJ    07071‐3204
JOHN BIAFORA                                     13839 BROUGHAM DR                                                                               STERLING HTS      MI    48312‐4301
JOHN BIANCHI                                     1311 SUFFIELD LN                                                                                BAKERSFIELD       CA    93312‐4681
JOHN BIELIS                                      172 SHAGBARK DR                                                                                 ROCHESTER HILLS   MI    48309‐1815
JOHN BIENIEK                                     35 WELLESLEY                                                                                    PLEASANT RIDG     MI    48069‐1241
JOHN BILACIC CUST KARYN ANN BILACIC UGMA NY      350 BRYANT AVE                                                                                  WORTHINGTON       OH    43085‐3081

JOHN BILACIC CUST KIMBERLY ANN BILACIC UGMA NY   350 BRYANT AVE                                                                                  WORTHINGTON       OH    43085‐3081

JOHN BILACIC CUST KIRSTEN ANN BILACIC UGMA NY    350 BRYANT AVE                                                                                  WORTHINGTON       OH    43085‐3081

JOHN BILBEY                                      26 BELLMORE LN                                                                                  PONTIAC           MI    48340‐1202
JOHN BILINSKY                                    608 NINTH ST                                                                                    PITCAIRN          PA    15140‐1232
JOHN BINGLE                                      C/O JOHN BINGLE HEATING                6170 CR 11                                               RISING SUN        OH    43457‐9608
JOHN BINNER & MRS ETHEL M BINNER JT TEN          428 N TENTH ST                                                                                  LEBANON           PA    17046‐4625
JOHN BIRKHOFER & SHIRLEY BIRKHOFER JT TEN        188 MOUNTAIN AVE                                                                                SUMMIT            NJ    07901‐3236
JOHN BISHOP & EILEEN BISHOP JT TEN               1219 TURKEY RUN                                                                                 ROLLA             MO    65401‐3861
JOHN BITTMAN                                     21 STEPHEN ST                                                                                   DERBY             CT    06448
JOHN BLAINE & LILLIAN J BLAINE JT TEN            4820 WAVEWOOD                                                                                   COMMERCE TWP      MI    48382‐1360
JOHN BLAIR FIELD                                 6914 PENNY CT                                                                                   HOUSTON           TX    77069‐1108
JOHN BLANFORD                                    256 CRISPIN DRIVE                                                                               S BURLINGTON      VT    05403
JOHN BLEIER                                      12 HOLLYWOOD AVE                                                                                EMERSON           NJ    07630‐1710
JOHN BLYSKAL                                     12 GIBBS LN                                                                                     NEWARK            DE    19711‐2960
JOHN BOARDMAN & MRS MARIA BOARDMAN JT TEN        4 CARTHAY CIR                                                                                   NEWTON            MA    02461‐1106
                                                                                                                                                 HIGHLANDS
JOHN BOBAK CUST JOHN J BOBAK UGMA PA             304 RIVER AVE                                                                                   MASONTOWN         PA    15461‐1551
JOHN BODEN                                       5707 45TH ST E                         LOT 203                                                  BRADENTON         FL    34203‐6506
JOHN BODNAR                                      1648 NORTH GREENWOOD STREET                                                                     PARKRIDGE         IL    60068‐1215
JOHN BOFINGER                                    38 OAKLEY DR                                                                                    HUNTINGTON        NY    11746‐3116
                                                                                                                                                 STATION
JOHN BOGDAN                                      33 NORTHERN PARKWAY                                                                             CHEEKTOWAGA       NY    14225‐3009
JOHN BOGOS TR JOHN BOGOS LIVING TRUST UA         6930 SE LILLIAN CT                                                                              STUART            FL    34997‐2289
10/25/99
JOHN BOLAS & JOYCE BOLAS JT TEN                  6020 SHORE BLVD S                                                                               GULFPORT          FL    33707‐5801
JOHN BONHAGE                                     74 SUMMER PL                                                                                    HUNTINGDON VY     PA    19006‐1525
JOHN BONORIS                                     1726 ELM STREET                                                                                 DES PLAINES       IL    60018‐2216
JOHN BOOKSIN & RUTH BOOKSIN JT TEN               1000 SQUIRREL CREK PL                                                                           AUBURN            CA    95602
JOHN BOOTHE                                      103 MAPLES TRAIL                                                                                MABANK            TX    75156
JOHN BORBASH                                     748 HILLVILLE DRIVE                                                                             PORT ORANGE       FL    32127‐5980
JOHN BORDIN                                      2856 ROUNDTREE DR                                                                               TROY              MI    48083‐2344
JOHN BOSKO JR                                    103 CURTIS PLACE                                                                                MANASQUAN         NJ    08736‐2811
JOHN BOSSCHAERT & DIANE L BOSSCHAERT JT TEN      340 GULF OF MEXICO DR                  APT 132                                                  LONGBOAT KEY      FL    34228‐4027

JOHN BOSWICK & KATHLEEN BOSWICK JT TEN           205 HILLCREST AVE                                                                               WYCHOFF           NJ    07481‐3211
JOHN BOUDEMAN                                    1859 STONEBRIDGE DRIVE N                                                                        ANN ARBOR         MI    48108‐8533
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                       Part 4 of 8 Pg 129 of 855
Name                                              Address1                              Address2                  Address3         Address4          City              State Zip

JOHN BOW & JEAN BOW TR UA 11/30/94                1425 OAK RIM DR                                                                                    HILLSBOROUGH      CA    94010‐7335
JOHN BOWERS & ARLENE BOWERS JT TEN                1289 MCCONNELL RD                                                                                  BLAIRSVILLE       PA    15717‐4448
JOHN BOYD CHAMBERLAIN & DIXIE MORAN               632 W VALLEY VIEW DR                                                                               FULLERTON         CA    92835‐4065
CHAMBERLAIN JT TEN
JOHN BOYKO                                        16632 20 MILE RD                                                                                   MARENGO TWP       MI    49068‐8410
JOHN BRADFORD SIMONS                              13512 HEATHROW LN                                                                                  CENTREVILLE       VA    20120‐6408
JOHN BRADLEY KECK                                 3833 N ALTA VISTA TER                                                                              CHICAGO           IL    60613
JOHN BRAILEY                                      1315 ROAD 203                                                                                      CLOVERDALE        OH    45827‐9162
JOHN BRANDES                                      629 2ND ST N E                                                                                     MINNEAPOLIS       MN    55413‐1905
JOHN BRCICH                                       602 JACKSON AVENUE                                                                                 WILMINGTON        DE    19804‐2218
JOHN BREGIN                                       7914 APACHE LANE                                                                                   WOODRIDGE         IL    60517‐3525
JOHN BREMER                                       PO BOX 5191                                                                                        SOMERSET          NJ    08875‐5191
JOHN BRENNAN                                      14712 V PLAZA                                                                                      OMAHA             NE    68137‐2517
JOHN BRENTWOOD LYONS                              1008 NW 3RD AVE                                                                                    CAPE CORAL        FL    33993‐1319
JOHN BREWER JR                                    3927 N OAK ST                                                                                      METAMORA          MI    48455‐9769
JOHN BRIGGS                                       145 BUCKINGHAM AVE                                                                                 SYRACUSE          NY    13210‐3021
JOHN BRINGER                                      9626 FROST RD                                                                                      SAGINAW           MI    48609‐9310
JOHN BRODBECK & MARILEE BRODBECK JT TEN           7125 COYOTE CROSSING AVE                                                                           SPRINGDALE        AR    72762‐0873
JOHN BROERSE                                      PO BOX 18                             VIRGIL ON                                  L0S 1T0 CANADA
JOHN BROERSE                                      PO BOX 18                             VIRGIL ON                                  L0S 1T0 CANADA
JOHN BROGNARD                                     8087 GEASLIN DRIVE                                                                                 MIDDLETOWN        MD    21769‐8434
JOHN BROOKS JR                                    12544 BURLINGAME DR                                                                                DEWITT            MI    48820‐7905
JOHN BROWN                                        9240 VAUGHAN ST                                                                                    DETROIT           MI    48228‐1666
JOHN BROWN DANIELS                                PO BOX 1533                                                                                        NOUNT DORA        FL    32757‐1533
JOHN BRYAN PRIOR                                  2076 SAN SEBASTIAN WAY N                                                                           CLEARWATER        FL    33763‐4137
JOHN BUDZINSKI                                    121 BROOKSIDE TERRACE                                                                              TONAWANDA         NY    14150‐5905
JOHN BUFFINGTON MAGUIRE JR                        BOX 2433                                                                                           PAMPA             TX    79066‐2433
JOHN BUKOWSKI & ERNA BUKOWSKI JT TEN              14800 FRANKLIN DR                                                                                  BROOKFIELD        WI    53005‐4106
JOHN BUKOWSKI & MRS ERNA BUKOWSKI JT TEN          14800 FRANKLIN DR                                                                                  BROOKFIELD        WI    53005‐4106
JOHN BULONE                                       2124 75TH ST                                                                                       EAST ELMHURST     NY    11370‐1110
JOHN BUNCH CUST ANDREW JOHN BUNCH UGMA VA         2589 HANOVER RD                                                                                    ROCKVILLE         VA    23146‐2006

JOHN BUNCH CUST WILLIAM CARTER SHELTON UTMA       1537 HERRITAGE HILL CIRCLE                                                                         RICHMOND          VA    23238‐4318
VA
JOHN BURGESS HAGEN                                163 TURNBERRY LN                                                                                   MOORESVILLE       NC    28117‐9733
JOHN BURGUIERES JR                                2855 PINECREEK DR                     APT D421                                                     COSTA MESA        CA    92626‐7427
JOHN BURKE                                        1 WOODBURY CT                                                                                      S BARRINGTON      IL    60010‐5305
JOHN BURKHARDT                                    419 LAKE SHORE DR                                                                                  ATOKA             TN    38004
JOHN BURNS JR                                     2078 WOODROW WILSON BLVD                                                                           WEST BLOOMFIELD   MI    48324‐1772

JOHN BURNS JR TR UA 09/09/2009 JOHN BURNS JR      2100 N HAMMOND LAKE RD                                                                             W BLOOMFIELD      MI    48324
REVOC TRUST
JOHN BURTON                                       VAUXHALL MTRS HOOTON HOUSE            NORTH RD ELLESMERE PORT   SOUTH WIRRAL C   GREAT BRITAIN
JOHN BURTON MITCHELL                              488 CRYSTAL BROOK DRIVE                                                                            FENTON            MI    48430‐3106
JOHN BUSBY CUST BRIAN PATRICK BUSBY UGMA WI       1004 E OGDEN AVE                                                                                   MILWAUKEE         WI    53202‐2891

JOHN BUTTIKOFER & JOYCE BUTTIKOFER JT TEN         19 WOLFPIT RD                                                                                      BETHEL            CT    06801‐2917
JOHN BYBEL & LORRAINE BYBEL JT TEN                25 STANDISH DR                                                                                     MT SINAI          NY    11766‐2621
JOHN BYE ROSS                                     2 PINE HILL DR                                                                                     PITTSFORD         NY    14534‐3920
JOHN BYRON CORBETT & DELORES KAY CORBETT JT TEN   PO BOX 887                            107 EASTVIEW AVE                                             BARDSTOWN         KY    40004‐2214

JOHN BYRON ELDER                                1017 PARKWOOD DR                                                                                     GRAND BLANC       MI    48439‐7321
JOHN BYRON WARD                                 529 S FLAGLER DR                        APT 23H                                                      WEST PALM BCH     FL    33401‐5926
JOHN C ADAMS                                    6245 SIERRA CIR                                                                                      ROCKFORD          TN    37853‐3339
JOHN C ALLEN JR CUST BARBARA JOAN ALLEN UGMA PA 1623 HARBOURTON ROCKTOWN RD                                                                          LAMBERTVILLE      NJ    08530‐3005

JOHN C ALLEN JR CUST JOHN C ALLEN III UGMA PA     PO BOX 322                                                                                         TINNIE            NM    88351

JOHN C ALMLI                                      4547 LENTZ RD                                                                                      STANDISH          MI    48658‐9758
                                              09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 130 of 855
Name                                                Address1                                Address2             Address3          Address4                 City            State Zip

JOHN C ANDERSON                                     419 SECRETARIAT CR                                                                                      KOKOMO          IN    46901‐3773
JOHN C ANDRADE                                      1221 BUNTS RD                                                                                           LAKEWOOD        OH    44107‐2611
JOHN C ATWOOD & MARY S ATWOODTR JOHN C              40 KNIGHTWOOD LANE                                                                                      HILLSBOROUGH    CA    94010‐6132
ATWOOD TRUST UA 07/11/02
JOHN C AUSTIN & KATHERINE M AUSTIN JT TEN           35 WALNUT AVE                                                                                           MASSENA         NY    13662‐2024
JOHN C AYERS & SANDRA C AYERS JT TEN                PO BOX 295                                                                                              FOLLY BEACH     SC    29439‐0295
JOHN C BACHELDER & BARBARA J BACHELDER JT TEN       3618 CAMBREY DRIVE                                                                                      LANSING         MI    48906‐3515

JOHN C BACHMANN                                     47 WICHITA ROAD                                                                                         BUFFALO         NY    14224‐2605
JOHN C BACKER                                       38115 S MOUNTAIN SITE                                                                                   TUCSON          AZ    85739‐3020
JOHN C BAKER                                        124 WEST GRAND                                                                                          HIGHLAND PK     MI    48203‐3645
JOHN C BARBER                                       46 THE BURY                             PAVENHAM BEDFORD     ENGL              MK43 7PY GREAT BRITAIN
JOHN C BARPOULIS CUST MEGAN J BARPOULIS UTMA        9828 WILDEN LANE                                                                                        POTOMAC         MD    20854‐2055
MD
JOHN C BARR                                         10028 CEDAR POINT DRIVE                                                                                 CARMEL          IN    46032‐9581
JOHN C BARSH SR                                     22320 W 36TH ST                                                                                         SAND SPRINGS    OK    74063‐4976
JOHN C BARTOSZ                                      613 BRYANT AVE                                                                                          MANISTEE        MI    49660‐2805
JOHN C BATCHELLER TR UA 12/18/97 RUTH E             9303 NANCY ST                                                                                           MANASSAS PARK   VA    20111
BATCHELLER TRUST
JOHN C BAUERLE                                      1337 ANDRE ST                                                                                           BALTIMORE       MD    21230‐5303
JOHN C BEALL                                        8108 RIVER RD                                                                                           RICHMOND        VA    23229‐8417
JOHN C BEARD TR UA 07/24/92 SURVIVORS TRUST         2810 BELDEN DR                                                                                          LOS ANGELES     CA    90068‐1902
UNDER J&R BEARD
JOHN C BEAVER                                       4705 PAVALION CT                                                                                        KOKOMO          IN    46901‐3659
JOHN C BEHNCKE                                      5245 W BROWN PL                                                                                         DENVER          CO    80227‐4137
JOHN C BENION                                       114 ELLINGTON ST                                                                                        DORCHESTER      MA    02121‐3706
JOHN C BENNETT                                      5066 MAHONING AVE NW                                                                                    WARREN          OH    44483‐1408
JOHN C BENNETT TR UA 02/06/92 JOHN C BENNETT        22594 ARDMORE PARK                                                                                      ST CLAIR SHRS   MI    48081‐2011
TRUST
JOHN C BENSON                                       204 N TAMMYE LN                                                                                         MADISONVILLE    TX    77864‐3008
JOHN C BENTZ & IRENE H BENTZ JT TEN                 237 LOUISE DR                                                                                           MORRISVILLE     PA    19067‐4829
JOHN C BERTRAN                                      1263 US HIGHWAY 87 N                                                                                    ROUNDUP         MT    59072
JOHN C BIEHL                                        12 CARLISLE AVE LINCOLN PARK                                                                            READING         PA    19609‐2419
JOHN C BIRCHFIELD                                   102 GRAY FOX CT                                                                                         STEVENVILLE     MD    21666‐3710
JOHN C BIRDSALL                                     10969 TANGLEWOOD CT                                                                                     TRAVERSE CITY   MI    49684
JOHN C BISHOP TR UA 07/03/08 JOHN C BISHOP LIVING   610 VISTA LANE                                                                                          CHEYENNE        WY    82009‐3332
TRUST
JOHN C BLAIR                                        3333 E FLORIDA AVE #46                                                                                  DENVER          CO    80210‐2518
JOHN C BLAIR JR                                     3763 EAST PRICE RD                                                                                      ST JOHNS        MI    48879‐9187
JOHN C BLASS                                        1624 EAGLE NEST CIR                                                                                     WINTER SPGS     FL    32708‐5919
JOHN C BOONE                                        1108 BRIARCLIFF RD                                                                                      WARNER ROBINS   GA    31088‐4060
JOHN C BORDERS                                      5195 PARIS ROAD                                                                                         WINCHESTER      KY    40391‐9660
JOHN C BOSMAN & MARJORIE A BOSMAN JT TEN            102 MOREWOOD DR                                                                                         MANCHESTER      MO    63011‐3909
JOHN C BOUGINE                                      8495 ODOWLING                                                                                           ONSTED          MI    49265‐9491
JOHN C BOULDEN                                      3144 OLD COUNTY RD                                                                                      NEWARK          DE    19702‐4512
JOHN C BOWMAN                                       1772 ARCOLA                                                                                             GARDEN CITY     MI    48135‐3001
JOHN C BRABBS                                       2062 WOODLAND PASS                                                                                      BURTON          MI    48519‐1324
JOHN C BRANCHEAU                                    1617 ADDINGTON LN                                                                                       ANN ARBOR       MI    48108‐8956
JOHN C BRISCOE JR                                   4618 N HOLMES                                                                                           KANSAS CITY     MO    64116‐1849
JOHN C BROSAM                                       PO BOX 7707                                                                                             INDEPENDENCE    MO    64054‐0707
JOHN C BROWN                                        45 PRINCESS DR                                                                                          ROCHESTER       NY    14623‐4645
JOHN C BRUCKMANN 3RD                                9840 MONTGOMERY RD                      APT 2202                                                        CINCINNATI      OH    45242‐6258
JOHN C BRUNDAGE                                     4700 N TWP RD 169                                                                                       TIFFIN          OH    44883‐9684
JOHN C BRUNJES                                      35 JONATHAN DR                                                                                          TINTON FALLS    NJ    07753‐7925
JOHN C BUCHANAN III                                 6108 YORKSHIRE DR                                                                                       COLUMBIA        SC    29209‐1830
JOHN C BURGESS                                      125 LYNWOOD DR                                                                                          NICHOLASVILLE   KY    40356‐2165
JOHN C BURKHARDT                                    529 PARKER AVE SOUTH                                                                                    MERIDEN         CT    06450‐5941
JOHN C BURKS                                        2519 HARTFORD RD                                                                                        AUSTIN          TX    78703‐2428
JOHN C BURNETTE JR                                  5319 CARTHAGE AVE                                                                                       NORWOOD         OH    45212‐1528
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 131 of 855
Name                                             Address1                              Address2              Address3         Address4          City              State Zip

JOHN C BURNS                                     1111 ANGLESEA ST                                                                               BALTIMORE         MD    21224‐5402
JOHN C BURTON                                    1035 HACKETT ST                                                                                BELOIT            WI    53511‐5132
JOHN C BUSBY                                     1004 E OGDEN AVE                                                                               MILWAUKEE         WI    53202‐2891
JOHN C BUTLER                                    11210 THOMLAR DRIVE                                                                            FAIRFAX STATION   VA    22039‐2307
JOHN C BYRD                                      PO BOX 54                                                                                      CRISFIELD         MD    21817‐0054
JOHN C BYRD & RUBY E BYRD JT TEN                 PO BOX 54                                                                                      CRISFIELD         MD    21817‐0054
JOHN C CABRAL                                    7 CHADWICK RD                                                                                  HUDSON            MA    01749‐3720
JOHN C CAMILLERI                                 4068 ARABY CT                                                                                  HIGHLAND          MI    48356‐1102
JOHN C CAMPBELL JR                               600 STEAM BOAT CT                                                                              ARLINGTON         TX    76006‐3706
JOHN C CANNELL                                   4751 UNITY LINE RD 1                                                                           NEW WATERFORD     OH    44445‐9703

JOHN C CAPE                                      1003 BRISTOL CAHMP TL RD                                                                       BRISTOLVILLE    OH      44402
JOHN C CARLSON                                   4246 S KIMBROUGH AVE                                                                           SPRINGFIELD     MO      65810‐1824
JOHN C CAVANAUGH                                 2908 ECKLEY BLVD                                                                               DAYTON          OH      45449‐3375
JOHN C CAVICCHIO                                 7907 FLEET                                                                                     CANTON TOWNSHIP MI      48187‐2314

JOHN C CECE                                      245 WESTCOTT RD                                                                                NORTH SCITUATE    RI    02857‐1753
JOHN C CHALKER                                   4811 NW 27 PL                                                                                  GAINESVILLE       FL    32606‐6095
JOHN C CHAMPY                                    101 PARKWOOD DRIVE                                                                             WILLISTON         SC    29853‐1903
JOHN C CHAPPELL                                  PO BOX 453                                                                                     SENOIA            GA    30276‐0453
JOHN C CHEEK                                     64 WILJOY CIR                                                                                  LACEYS SPRING     AL    35754‐3528
JOHN C CHROBAK                                   134 E MUNSELL AVE                                                                              LINDEN            NJ    07036‐3118
JOHN C CHROBAK                                   3140 DUPONT DRIVE                                                                              JANESVILLE        WI    53545‐9024
JOHN C CINI III                                  325 HURON AVE #2                                                                               CAMBRIDGE         MA    02138‐6829
JOHN C CLARK                                     1212 DAN GOULD DR                                                                              ARLINGTON         TX    76001‐7109
JOHN C CLEMENTS                                  6974 SUN ST                                                                                    SAN DIEGO         CA    92111‐5610
JOHN C COBB                                      PO BOX 1937                                                                                    CEDARTOWN         GA    30125‐1937
JOHN C COGDILL                                   917 MOCKINGBIRD LANE                                                                           AIKEN             SC    29803‐6148
JOHN C CONNORS                                   PO BOX 301                                                                                     TOWNSEND          DE    19734‐0301
JOHN C COOPER JR                                 257 CLYDE AVE                                                                                  BALTIMORE         MD    21227‐3016
JOHN C CORBETS                                   3153 GLENGROVE                                                                                 ROCHESTER HILLS   MI    48309‐2736
JOHN C COULTER                                   8176 E COLDWATER                                                                               DAVISON           MI    48423‐8938
JOHN C COVA CUST DAWN MARIE COVA UGMA MI         2381 CURDY                                                                                     HOWELL            MI    48843‐9772
JOHN C COVINGTON                                 4501 MONTCLAIR AVE TRINITY            WOODS                                                    CHARLOTTE         NC    28211‐2903
JOHN C CRAIG CUST CATHERINE L CRAIG UGMA IN      ATTN CATHERINE L DONAHUE              528 SHEFFIELD DRIVE                                      RICHARDSON        TX    75081‐5610
JOHN C CRAWFORD & KRISTEN L CRAWFORD JT TEN      5771 OSPREY WAY                                                                                CARMEL            IN    46033‐8935

JOHN C CRAWFORD & LAURIE L CRAWFORD JT TEN       710 WILKSHIRE CT                                                                               GRAND BLANC       MI    48439‐1500

JOHN C CRINNION CUST MONICA C CRINION UTMA IL    731 61ST ST DOWNERS GROVE                                                                      DOWNERS GROVE     IL    60516‐1936

JOHN C CULLEN                                     4418 ASHLAWN DR                                                                               FLINT             MI    48507‐5656
JOHN C CUNARD                                     PO BOX 486                                                                                    DESTREHAN         LA    70047‐0486
JOHN C CUSICK TR UA 02/01/91 LAURA K CUSICK TRUST 4615 FERNDALE COURT SE                                                                        OLYMPIA           WA    98501‐4911

JOHN C DALY                                      225 MOUNT HERMON RD SPC 53                                                                     SCOTTS VALLEY     CA    95066‐4013
JOHN C DARING                                    1424 GOLF STREET                                                                               DAYTON            OH    45432‐3804
JOHN C DAVID                                     84 MAPLE AVE                                                                                   GRANVILLE         PA    17029‐9704
JOHN C DAVIES                                    3598 CARPENTERS CREEK DR                                                                       CINCINNATI        OH    45241‐3819
JOHN C DAVIS                                     536 RANDOLPH ST                                                                                OWOSSO            MI    48867‐2454
JOHN C DAVIS                                     1933 HWY 35 275                                                                                WALL              NJ    07719
JOHN C DAVIS & BETTY J DAVIS JT TEN              536 RANDOLPH                                                                                   OWOSSO            MI    48867‐2454
JOHN C DAVISON                                   PO BOX 1435                                                                                    HARRISBURG        NC    28075‐1435
JOHN C DAVISON                                   4309 GARDNER‐BARCLAY RD                                                                        FARMDALE          OH    44417‐9735
JOHN C DAVISON                                   1825 SEAVY HIGHTS RD                                                                           COLUMBIA          TN    38401‐8210
JOHN C DEEMS                                     7535 N RILEY RD                                                                                EDGERTON          WI    53545
JOHN C DENNIS                                    7526 AUBREY RIDGE DR                                                                           FAIRVIEW          TN    37062‐8927
JOHN C DICKSON                                   1010 ISLAND FORD RD                                                                            BUFORD            GA    30518‐5507
JOHN C DIEGEL                                    16854 ROUGEWAY                                                                                 LIVONIA           MI    48154‐3425
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 132 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

JOHN C DIEHL JR                                  245 N HOOK RD                                                                                 PENNSVILLE      NJ    08070‐1901
JOHN C DIFRANCESCO                               409 NEW RD IST FLOOR APT                                                                      WILMINGTON      DE    19805‐5120
JOHN C DILL                                      UNIT 402                             5788 BIRNEY AVE      VANCOUVER BC      V6S 0A2 CANADA
JOHN C DONALD                                    6490 SOMERSET CT                                                                              HOLLY           MI    48442‐8443
JOHN C DRENNAN & SARA BONDE DRENNAN JT TEN       DRAWER 69                                                                                     BARAGA          MI    49908‐0069

JOHN C DUFFY                                       435 SOUTH ST                                                                                NEPTUNE BEACH   FL    32266‐4955
JOHN C DUGAN                                       3903 JEANETTE SE                                                                            WARREN          OH    44484‐2774
JOHN C DUNCAN                                      1045 WEST 146TH ST                                                                          CARMEL          IN    46032‐1118
JOHN C DUNHAM                                      1602 BLAKELY AVE                                                                            JACKSON         MI    49202‐2509
JOHN C DUNNING JR                                  2329 N BALLAS                                                                               ST LOUIS        MO    63131‐3032
JOHN C EARP & DORIS J EARP JT TEN                  11538 LEE POINT RD                                                                          OZARK           AR    72949
JOHN C EDMOND JR                                   100 3RD ST                                                                                  EDISON          NJ    08837‐2634
JOHN C EGOVILLE                                    324 VALLEY RD                                                                               ORELAND         PA    19075‐1122
JOHN C EHLERS II                                   8485 MISSION HILLS LN                                                                       CHANHASSEN      MN    55317‐7712
JOHN C ELDRED                                      3413 ROYAL MEADOW LN                                                                        SAN JOSE        CA    95135‐1642
JOHN C ENGEL JR                                    552 S CHESTER RD                                                                            CHARLOTTE       MI    48813‐9544
JOHN C ERNSKE                                      493 S WILHELM ST                                                                            HOLGATE         OH    43527‐9746
JOHN C ESTES                                       9145 E OUTER DR                                                                             DETROIT         MI    48213‐2279
JOHN C ETTER                                       3905 GOLDEN HILLS DRIVE                                                                     ST PETERS       MO    63376‐6709
JOHN C EVANS JR                                    539 NW 82ND                                                                                 TOPEKA          KS    66617‐1905
JOHN C EWING                                       16765 HUNTINGTON                                                                            DETROIT         MI    48219‐4007
JOHN C FAIRBANK                                    308 OHINA PL                                                                                KIHEI           HI    96753‐8555
JOHN C FAYNE JR                                    4720 NUTMEG WAT SW                                                                          LILBURN         GA    30047
JOHN C FERGUS II CUST CORWIN ROBERT FERGUS UTMA 5220 PRESTON CT                                                                                POWELL          OH    43065‐8656
OH
JOHN C FISCHER                                     203 BEECH ST                                                                                EASTCHESTER     NY    10707‐3801
JOHN C FISCHER                                     2307 GILBERT                                                                                MISSOULA        MT    59802‐3502
JOHN C FLEMING                                     4701 CAMBRIDGE WAY                                                                          ANCHORAGE       AK    99503‐7011
JOHN C FRANCE                                      5229 W MICHIGAN AVE LOT 329                                                                 YPSILANTI       MI    48197‐9169
JOHN C FRAZIER & THELMA H FRAZIER JT TEN           5502 AMPERE DR                                                                              CHARLESTON      WV    25313‐1302
JOHN C FREDENBERGER TR ABBIE L BROWN TRUST UA 109 AVE HENRI MARTIN                    PARIS                                  75116 FRANCE
01/16/96
JOHN C FREEMAN                                     2701 FERNHURST LANE                                                                         RALEIGH         NC    27604‐4073
JOHN C FRENCH                                      320 BROXTON RD                                                                              BALTIMORE       MD    21212‐3531
JOHN C FROSCHAUER SR                               11600 CASSEL ROAD                                                                           VANDALIA        OH    45377‐9436
JOHN C FUHS                                        6126 BURTON S E                                                                             GRAND RAPIDS    MI    49546‐6716
JOHN C FULLER JR                                   5375 HASELL DR                                                                              ROCKVALE        TN    37153‐4439
JOHN C GANO & EDNA B GANO JT TEN                   2602 GRENDON DRIVE HERITAGE        PARK                                                     WILMINGTON      DE    19808‐3806
JOHN C GEORGE                                      1115 COUNTRY TERR RD               APT I                                                    BALTIMORE       MD    21221‐4514
JOHN C GILLETTE TR 06/06/06 JOHN C GILLETTE LIVING 3636 MEDINA LINE RD                                                                         WADSWORTH       OH    44281‐8757
TRUST
JOHN C GILLIES & REBECCA J GILLIES JT TEN          2761 BLUE BIRD LN                                                                           COLUMBUS        MI    48063‐4211
JOHN C GILMAN & MARGARET M GILMAN JT TEN           2024 MOHAWK DR                                                                              PLEASANT HILL   CA    94523‐3128
JOHN C GLOSSZA                                     6005 77TH ST                                                                                MIDDLE VLG      NY    11379‐5248
JOHN C GORDE                                       38 BETTSWOOD RD                                                                             NORWALK         CT    06851‐5125
JOHN C GORNEY                                      540 SO HEMLOCK RD                                                                           HEMLOCK         MI    48626‐9413
JOHN C GORNEY & PATRICIA A GORNEY JT TEN           540 S HEMLOCK RD                                                                            HEMLOCK         MI    48626‐9413
JOHN C GOYETTE                                     10145 IRISH RD                                                                              OTISVILLE       MI    48463‐9454
JOHN C GRACE                                       116 S MERCER AVE                                                                            SHARPSVILLE     PA    16150‐1249
JOHN C GRANT                                       38 CHERRY ST                                                                                QUINCY          MA    02169‐5807
JOHN C GRANT & MRS ANNE L GRANT JT TEN             38 CHERRY ST                                                                                QUINCY          MA    02169‐5807
JOHN C GREENBERG                                   6625 HARDY                                                                                  RAYTOWN         MO    64133‐5235
JOHN C GRIGGS & SUSAN L GRIGGS JT TEN              502 TIARA DR                                                                                GRAND JCT       CO    81507
JOHN C GROBE                                       5980 UNIVERSITY AVE                                                                         INDIANAPOLIS    IN    46219‐7227
JOHN C GROCE & ANNE R GROCE TR UA 07/31/76         3850 N STATE ROUTE 89              UNIT 105                                                 PRESCOTT        AZ    86301‐8434
GROCE FAMILY TRUST
JOHN C GRYGLEWICZ                                  587 KING CASTLE DRIVE                                                                       ORANGE CITY     FL    32763‐6354
JOHN C GUERRERO                                    2040 FAIRBANKS STREET                                                                       SAN LEANDRO     CA    94577‐3123
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 133 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

JOHN C GWINN JR & DIANNA N GWINN JT TEN          PO BOX 393                                                                                     GHENT             WV    25843
JOHN C HAGEN                                     7935 CALINDRA CT                                                                               TRINITY           FL    34655‐5141
JOHN C HAHN                                      6823 SAGEBRUSH CIRCLE                                                                          SARASOTA          FL    34243
JOHN C HAHN CUST JOHN M HAHN UGMA NJ             12 STIRRUP CUP COURT                                                                           SAINT CHARLES     IL    60174‐1432
JOHN C HAMZIK                                    4186 BAYMAR DR                                                                                 YOUNGSTOWN        OH    44511‐3333
JOHN C HARAF                                     6385 SEYMOUR ROAD                                                                              SWARTZ CREEK      MI    48473‐7607
JOHN C HARENCHAR                                 2378 WEST WILSON RD                                                                            CLIO              MI    48420‐1692
JOHN C HARGRAVE                                  3275 STRATTON LANE                                                                             DACULA            GA    30019‐1266
JOHN C HARRIS                                    110 FLOWERWOOD DRIVE                                                                           CHATTAHOOCHEE     FL    32324‐1100
JOHN C HARRIS                                    33665 HIGHWAY 28 EAST                                                                          BELLE             MO    65013‐2227
JOHN C HARRIS & CHARLYNN M HARRIS JT TEN         4084 CAGNEY LANE                                                                               HOWELL            MI    48843
JOHN C HARRIS & GLADYS M HARRIS JT TEN           PO BOX 235                                                                                     HOWELL            MI    48844‐0235
JOHN C HARSCH & JEFFREY L HARSCH JT TEN          60 EAST 226TH STREET                                                                           EUCLID            OH    44123
JOHN C HARTMAN                                   8185 VANDEN DR                                                                                 WHITE LAKE        MI    48386‐2549
JOHN C HARWOOD CUST DOUGLAS N HARWOOD UGMA 5300 12TH AVE N                                                                                      ST PETERSBURG     FL    33710
MI
JOHN C HATALA                                    1489 ROCKWAY AVE                                                                               LAKEWOOD          OH    44107‐3418
JOHN C HATTERY                                   4565 FRANKLIN CHURCH RD                                                                        SHILOH            OH    44878‐8868
JOHN C HAUFE SR TR ROSEMARY K HAUFE BYPASS TRUST 300 CANTERBURY DR                                                                              DAYTON            OH    45429
UA 06/01/1999
JOHN C HENDERSHOTT                               13800 SW 40TH CIR                                                                              OCALA             FL    34473‐2126
JOHN C HENDERSHOTT & MARION L HENDERSHOTT JT 13800 SW 40TH CIR                                                                                  OCALA             FL    34473‐2126
TEN
JOHN C HENDERSON                                 11810 BASILE RD                                                                                PHILADELPHIA      PA    19154‐2523
JOHN C HENDRY & EARL HENDRY PERS REP EST HANNAH 2945 EDEBDERRY DR                                                                               TALLAHASSEE       FL    32308
B HENDRY
JOHN C HILL                                      11604 THORNEWOOD                                                                               CLEVELAND         OH    44108‐3808
JOHN C HINTZ                                     3328 SILVERSIDE ROAD                                                                           WILMINGTON        DE    19810‐3307
JOHN C HOFFMAN                                   5725 S WHEELOCK RD                                                                             W MILTON          OH    45383‐8773
JOHN C HOLLADAY JR                               1433 HUNTINGTON CRESCENT                                                                       NORFOLK           VA    23509‐1214
JOHN C HOLLAN JR                                 4722 STONEBRIAR CIRLCE                                                                         COLLEGE STATION   TX    77845‐8987
JOHN C HOLLIMAN                                  11919 BOURGEOIS FOREST DR                                                                      HOUSTON           TX    77066‐3209
JOHN C HOLMES                                    1620 FRIENDLY                                                                                  KALAMAZOO         MI    49002‐1652
JOHN C HOOD JR                                   13440 E 6 CORNERS RD                                                                           WHITEWATER        WI    53190‐3500
JOHN C HOUCK & ELEANOR M HOUCK JT TEN            7105 SOCIETY DR                                                                                CLAYMONT          DE    19703‐1773
JOHN C HOWARD TR UA 11/12/09 JOHN C HOWARD       3931 CODY RD                                                                                   SHERMAN OAKS      CA    91403
LIVING TRUST
JOHN C HOYO 5203 BLANCO RD                                                                                                                      SAN ANTONIO       TX    78216‐7018
JOHN C HUGHES                                    11104 PINE NEEDLE DR                                                                           BRIGHTON          MI    48114‐9093
JOHN C INK                                       716 ETHERIDGE RD                                                                               CHESEPEAKE        VA    23322‐3432
JOHN C JACOBS                                    4033 CANEBRAKE DRIVE                                                                           BATON ROUGE       LA    70817
JOHN C JACOBSON & MRS CAROL J JACOBSON JT TEN    505 TOPAZ LANE                                                                                 MADISON           WI    53714‐3225

JOHN C JAMESON & JANICE E JAMESON JT TEN        631 NATALIE LN                                                                                  NORTHVILLE        MI    48167
JOHN C JETER & LOUISE M JETER JT TEN            313 FLINT AVE EXT                                                                               CORNING           NY    14830
JOHN C JOHNSON                                  2927 DELMAR AVE                                                                                 ATLANTA           GA    30311‐1114
JOHN C JOHNSON                                  1516 ROYAL PALM SQUARE BLVD                                                                     FORT MYERS        FL    33919‐1051
JOHN C JOORFETZ                                 266 HIGHLAND PLACE DR                                                                           JACKSON           MS    39211‐5909
JOHN C KAMINSKI                                 PO BOX 1708                                                                                     CARNELIAN BAY     CA    96140‐1708
JOHN C KARR & REBECCA S KARR JT TEN             1613 DIANE DR                                                                                   OSSIAN            IN    46777
JOHN C KASSATKIN & MAXINE KASSATKIN JT TEN      465 U S HIGHWAY 46                                                                              GREAT MEADOWS     NJ    07838‐2028
JOHN C KAUFMANN                                 10194 N MEADOW WOOD LN                                                                          ELWOOD            IN    46036‐8864
JOHN C KELLEY                                   12227 LENNON RD                                                                                 LENNON            MI    48449‐9707
JOHN C KEMLER TR JOHN & MARY KEMLER FAMILY      3750 WOODMAN DR                                                                                 TROY              MI    48084‐1114
TRUST UA 01/17/98
JOHN C KENNY                                    6877 PITTSFORD                                                                                  CANTON            MI    48187‐2727
JOHN C KIMMEL                                   211 GARDENGROVE WAY                                                                             ENGLEWOOD         OH    45322‐2349
JOHN C KING                                     8665 E 61ST ST APT 01                                                                           TULSA             OK    74133‐1335
JOHN C KIPPE & MRS JOAN J KIPPE JT TEN          6205 ANAVISTA DR                                                                                FLINT             MI    48507‐3882
                                               09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 134 of 855
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

JOHN C KLINE                                     2135 COMMON RIDINGS WAY                                                                      INVERNESS       IL    60010
JOHN C KLUS TR KLUS FAMILY TRUST UA 10/03/94     11847 POLARIS DR                                                                             GRASS VALLEY    CA    95949‐7612

JOHN C KNOWLES                                   785 WESTFORD RD                                                                              ASHFORD         CT    06278‐2421
JOHN C KOEGEL                                    3400 W BRISTOL RD                                                                            FLINT           MI    48507‐3112
JOHN C KOLB                                      4800 SEVILLE DR                                                                              ENGLEWOOD       OH    45322‐3529
JOHN C KOTSIS                                    933 MOLLOY DR                                                                                O FALLON        MO    63366‐3228
JOHN C KOWALSKI & MYRTLE M KOWALSKI JT TEN       179 MAPLE DR                                                                                 LA BELLE        FL    33935‐9421

JOHN C KREBBS JR                                 2626 MILTON DR                                                                               BLOOMINGTON     IN    47403‐4328
JOHN C KREITZER                                  6727 CHESTER BROOK                                                                           SAN ANTONIO     TX    78239‐2312
JOHN C KROHN & MRS GLORIA L KROHN JT TEN         4667 APPLEBY CT                                                                              GLADWIN         MI    48624‐8228
JOHN C LATSKO & ROSEANNE LATSKO JT TEN           44 HOMER PL                                                                                  METUCHEN        NJ    08840‐2007
JOHN C LAUGAVITZ                                 4051 BARKER DR                                                                               CLIO            MI    48420‐9435
JOHN C LAWSON                                    3440 GRANGE HALL RD                                                                          HOLLY           MI    48442‐8227
JOHN C LEAHEY JR                                 7168 BAPTIST RD                                                                              BETHEL PARK     PA    15102
JOHN C LEHMAN                                    429 GUITMAN ST                                                                               DAYTON          OH    45410‐1653
JOHN C LENDMAN                                   2199 S W WATERVIEW PL                                                                        PLAM CITY       FL    34990‐7724
JOHN C LEWIS                                     7813 W CO RD 700 N                                                                           MIDDLETOWN      IN    47356‐9446
JOHN C LEWIS                                     220 FORRESTER CREEK WAY                                                                      GREENVILLE      SC    29607‐5807
JOHN C LINK                                      3139 RAYMOND AV                                                                              KILL DEVIL HL   NC    27948
JOHN C LINN & THERESE LINN JT TEN                1860 EVERGREEN DRAW                                                                          WOODBURY        MN    55125‐2306
JOHN C LLOYD & JUDY L LLOYD JT TEN               35992 MURANO ST                                                                              MURRIETA        CA    92562
JOHN C LOCKHART                                  6316 S BROADWAY AVE                                                                          OKLAHOMA CITY   OK    73139‐7131
JOHN C LONG & CATHARINE H LONG JT TEN            BOX 1173                                                                                     BAY MINETTE     AL    36507
JOHN C LOOMIS                                    723 ARAMIS DR                                                                                ST LOUIS        MO    63141‐7308
JOHN C LOWERY JR                                 1556 CENTERVILLE RD                                                                          SOSO            MS    39480‐5151
JOHN C LUARK                                     7140 KESSLING ST                                                                             DAVISON         MI    48423‐2446
JOHN C LUCIUS                                    5262 MAYVILLE RD                                                                             SILVERWOOD      MI    48760‐9407
JOHN C LUCY                                      855 WARDS CORNER RD                                                                          LOVELAND        OH    45140‐5926
JOHN C LYLE                                      7 VIA ALCALDE                                                                                SANDIA PARK     NM    87047‐9690
JOHN C MADDOX                                    279 MARINA DRIVE                                                                             PORT ARANSAS    TX    78373‐4924
JOHN C MANGAS                                    2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643
JOHN C MANGAS                                    2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643
JOHN C MANGAS CUST COREY R MANGAS UTMA CA        2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643

JOHN C MANGAS CUST COREY R MANGAS UTMA LA        2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643

JOHN C MANGAS CUST COURTNEY M MANGAS UTMA        2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643
CA
JOHN C MANGAS CUST COURTNEY MARIE MANGAS         2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643
UTMA LA
JOHN C MANGAS CUST DILLON S MANGAS UTMA CA       2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643

JOHN C MANGAS CUST DILLON S MANGAS UTMA LA       2732 EMORY OAK CT                                                                            BRENTWOOD       CA    94513‐5643

JOHN C MARCUM & DEBRA J MARCUM JT TEN            PO BOX 27152                                                                                 PANAMA CITY     FL    32411‐7152
                                                                                                                                              BEACH
JOHN C MARKEY                                   726 CENTER RIDGE RD                                                                           BRYAN           OH    43506‐2308
JOHN C MARSHALL & MRS MARTHA ANN MARSHALL       4632 IVANHOE ST                                                                               HOUSTON         TX    77027
TEN COM
JOHN C MARTIN                                   4197 S BELSAY RD                                                                              BURTON          MI    48519‐1730
JOHN C MC CONNELL & CATHERINE MC CONNELL JT TEN 1N591 AUGUSTA COURT                                                                           WINFIELD        IL    60190‐2361

JOHN C MC DONALD                                 7935 S E MARKET ST                                                                           PORTLAND        OR    97215‐3655
JOHN C MC GEE                                    737 TIMBER LANE                                                                              COOKEVILLE      TN    38501‐2818
JOHN C MC INTYRE & CAROL R MC INTYRE JT TEN      96 COUNTRYSIDE DR                                                                            HACKETTSTOWN    NJ    07840‐1511
JOHN C MC QUEARY                                 14632 PEARL                                                                                  SOUTHGATE       MI    48195‐1964
JOHN C MC SWEENEY                                247 DWIGHT ST                                                                                TRENTON         MI    48183‐2125
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 135 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

JOHN C MCCLOY & GRACE L MCCLOY JT TEN           5112 4TH ST EAST                                                                                BRADENTON         FL    34203‐4504
JOHN C MCCRANDALL                               508 44TH AVE E LOT T5                                                                           BRADENTON         FL    34203
JOHN C MCNAMARA & PHYLLIS B MCNAMARA JT TEN     BOX 3135 RD 1                                                                                   BRACKNEY          PA    18812‐9757

JOHN C MCQUEEN                                   12063 LUMPKIN                                                                                  HAMTRAMCK         MI    48212‐2614
JOHN C MCWILLIAM                                 115 SUNNINGDALE ROAD EAST             LONDON ON                              N5X 3Y9 CANADA
JOHN C MEALEY                                    430 CANFIELD RD                                                                                PITTSFORD         NY    14534‐9713
JOHN C MEEHLEDER                                 5325 SHERMAN                                                                                   SAGINAW           MI    48604‐1169
JOHN C MENDOZA                                   1902 PORTSMOUTH AVE                                                                            WESTSCHESTER      IL    60154‐4458
JOHN C MESSINEO                                  2 LARK LANE                                                                                    OAKRIDGE          NJ    07438‐9170
JOHN C MEYER & KATHLEEN G MEYER JT TEN           2079 LOST DAUPHIN RD                                                                           DE PERE           WI    54115‐1605
JOHN C MICKS                                     PO BOX 324                                                                                     DUBOIS            PA    15801‐0324
JOHN C MILAZZO                                   331 FAIRWOODS DR                                                                               COLLIERVILLE      TN    38017‐3542
JOHN C MILLS                                     14760 WOODMONT AVE                                                                             DETROIT           MI    48227‐1454
JOHN C MILNE JR                                  2498 MAPLELEAF CT                                                                              SPRING HILL       FL    34606‐7400
JOHN C MIMS                                      2008 CLEARY RD                                                                                 FLORENCE          MS    39073‐9224
JOHN C MITCHELL                                  1750 RED ROCK CT                                                                               WESTLAKE VLG      CA    91362‐5412
JOHN C MITCHELL                                  7268 CARPENTER RD                                                                              FLUSHING          MI    48433‐9040
JOHN C MOLGAARD CUST PETER FOLMER MOLGAARD       706 SPRUCE ST                                                                                  ATLANTIC          IA    50022‐1853
UGMA NC
JOHN C MONROE                                    5394 GROUSE CT                                                                                 BEAVERTON         MI    48612‐8533
JOHN C MONTGOMERY JR & JOHN C MONTGOMERY SR 2020 GLENDALE RD                                                                                    IOWA CITY         IA    52245‐3215
JT TEN
JOHN C MOOREHEAD                                 1835 ROYAL DR                                                                                  CONWAY            AR    72032‐7348
JOHN C MOWRER & IMOGENE C MOWRER JT TEN          105 NATALIE LN                                                                                 HATTIESBURG       MS    39402‐3080
JOHN C MOYER                                     7 WOODLAWN TERRACE                                                                             CEDAR GROVE       NJ    07009
JOHN C MULLALY                                   7107 WILLIAM JOHN CT                                                                           SWARTZ CREEK      MI    48473‐9735
JOHN C MURPHY                                    9688 W ARBELA RD                                                                               MILLINGTON        MI    48746‐9580
JOHN C MURRAY & SHEILA C CONNOLLY TEN ENT        310 MOROSS RD                                                                                  GROSSE POINTE     MI    48236‐2912
JOHN C NAPIER                                    4925 EMERALD LN                                                                                BRUNSWICK         OH    44212‐1158
JOHN C NASHAR                                    4401 CHISHOLM TRL                                                                              BLOOMFIELD        MI    48301‐3748
JOHN C NAYADLEY                                  333 NASSAU PL                                                                                  HAMPTON           VA    23666
JOHN C NEDEN                                     6253 OLD NIAGRA RD                                                                             LOCKPORT          NY    14094‐1423
JOHN C NEFF                                      5801 JASSAMINE DR                                                                              DAYTON            OH    45449‐2942
JOHN C NELSON TR JOHN C NELSON TRUST UA 03/23/95 2406 CLINTON RD                                                                                ROCKFORD          IL    61103‐4111

JOHN C NEUMANN & MERLINE NEUMANN JT TEN         2612 PIENGROVE DR                                                                               DAYTON            OH    45449‐3347
JOHN C NEWSOME                                  525 S SYCAMORE                                                                                  GENOA             IL    60135‐1156
JOHN C NORRIS CUST MATTHEW C NORRIS UTMA NY     7705 COLONIAL RD                                                                                BROOKLYN          NY    11209‐2909

JOHN C NOYES                                    2918 BRIDLEWOOD LN                                                                              CARMEL            IN    46033‐9068
JOHN C NYE                                      229 IPSWICH RD                                                                                  BOXFORD           MA    01921‐1620
JOHN C O'BRIEN JR                               27 ELM STREET                                                                                   CHARLESTOWN       MA    02129‐2445
JOHN C O'DONNELL & SUSAN M O'DONNELL JT TEN     17904 JOSHUA DR                                                                                 YORBA LINDA       CA    92886‐3325

JOHN C ONEILL                                   165 WILSON AVE                                                                                  RUMFORD           RI    02916‐2717
JOHN C OPENSHAW                                 10862 NICHOLS BLVD                     APT 30‐8                                                 OLIVE BRANCH      MS    38654‐4277
JOHN C ORLICH                                   441 NE 56 TERR                                                                                  GLADSTONE         MO    64118‐5202
JOHN C ORLOSKI                                  6613 PENNY LANE                                                                                 BARTLESVILLE      OK    74006‐9040
JOHN C OVERMAN                                  3874 VAN LANEN ROAD                                                                             GREEN BAY         WI    54311‐9703
JOHN C PANKOWSKI                                7283 MAR LN                                                                                     CLARKSVILLE       MI    48815‐9664
JOHN C PARKER                                   RR 1 BOX 565                                                                                    FORT COBB         OK    73038‐9654
JOHN C PARSONS JR                               1740 CONNORS RD                                                                                 BALDWINSVILLE     NY    13027‐8723
JOHN C PATRICK III                              4516 HIGHWAY 20 EAST                   APT 207                                                  NICEVILLE         FL    32578
JOHN C PAWELEK                                  8601 KINLOCH ST                                                                                 DEARBORN HTS      MI    48127‐1182
JOHN C PENDLETON                                1446 E 1850 RD                                                                                  LAWRENCE          KS    66046‐9298
JOHN C PERRY                                    8457 W 1000 S                                                                                   FORTEVILLE        IN    46040‐9225
JOHN C PETERS & LOIS M PETERS JT TEN            4205 ARUNDEL CT                                                                                 COLLEGE STATION   TX    77845
JOHN C PETERSEN                                 5248 DEE ALVA DRIVE                                                                             FAIRFIELD         OH    45014‐1543
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 4 of 8 Pg 136 of 855
Name                                              Address1                              Address2                      Address3   Address4          City              State Zip

JOHN C PETERSON & ELAINE J PETERSON JT TEN        110 HIDDEN HOLLOW LN                                                                             MILLWOOD          NY    10546‐1009
JOHN C PHELAN JR CUST JOHN C PHELAN III UTMA IL   904 PRAIRIE RIDGE CT                                                                             BURR RIDGE        IL    60527‐7183

JOHN C PIERONI                                    8940 OAK RIDGE LANE                                                                              PLAIN CITY        OH    43064‐8626
JOHN C PIERONI & SUE ANNE PIERONI JT TEN          8940 OAK RIDGE LN                                                                                PLAIN CITY        OH    43064‐8626
JOHN C PILGRIM                                    24325 W 55TH ST                                                                                  SHAWNEE           KS    66226‐2924
JOHN C PLUMMER                                    2225 SALT SPRINGS RD                                                                             MC DONALD         OH    44437‐1115
JOHN C PORTER                                     7755 ELLIS RD                                                                                    MILLINGTON        MI    48746‐9484
JOHN C PRESCOTT TR JOHN C PRESCOTT LIVING TRUST   4 VICKSBURG ST                                                                                   SAN FRANCISCO     CA    94114‐3325
UA 07/01/94
JOHN C PRICE                                      127 MAPLEFIELD                                                                                   PLEASANT RIDGE    MI    48069‐1023
JOHN C PRICE & CATHERINE F PRICE TEN ENT          608 MINOOKA AVE                                                                                  MOOSIC            PA    18507‐1050
JOHN C PRICE & JOAN L PRICE JT TEN                127 MAPLEFIELD                                                                                   PLEASANT RIDGE    MI    48069‐1023
JOHN C PRICE & LOUISE A PRICE JT TEN              821 THOMAS ST                                                                                    STROUDSBURG       PA    18360‐1701
JOHN C PRUEHS                                     806 SHANAHAN CT                                                                                  NAPERVILLE        IL    60540‐8219
JOHN C PRZYPYSZNY                                 6723 N HIAWATHA                                                                                  CHICAGO           IL    60646‐1417
JOHN C PUZIO                                      649 COUNTY ROUTE 19                   UNIT 21                                                    ELIZAVILLE        NY    12523‐1133
JOHN C QUERRO                                     1193 CLEARWATER BLVD                                                                             WHITE LAKE        MI    48386‐3926
JOHN C RANDOLPH & LESLIE RANDOLPHJT TEN COM       C/O JONES FOSTER JOHNSTON &           STUBBS                        BOX 3475                     WEST PALM BEACH   FL    33402‐3475

JOHN C RATHFON CUST HAL M RATHFON U/THE         111 LONGFIELDS WAY                                                                                 DOWNINGTOWN       PA    19335‐4487
DELAWARE U‐G‐M‐A
JOHN C RATHFON CUST KIM E RATHFON U/THE         111 LONGFIELDS WAY                                                                                 DOWNINGTOWN       PA    19335‐4487
DELAWARE U‐G‐M‐A
JOHN C RAUT                                     1945 MIDLAND RD                                                                                    BALTIMORE         MD    21222‐4643
JOHN C REED                                     ATTN MRS JOHN C REED                    615 W HIGH ST APT 102                                      LIBERTY           IN    47353‐8500
JOHN C REID JR                                  49 SHARP ST                                                                                        HAVERSTRAW        NY    10927‐1510
JOHN C ROBERTSON                                861 E MICHIGAN AVE APT 417                                                                         MARSHALL          MI    49068‐2007
JOHN C RODDY                                    PO BOX 859                                                                                         MELBOURNE         AR    72556‐0859
JOHN C ROEMER                                   PO BOX 33                                                                                          FALLS CITY        TX    78113‐0033
JOHN C ROPER                                    527 GLENDALYN AVE                                                                                  SPARTANBURG       SC    29302‐2010
JOHN C ROTH & JOHN C ROTH JR JT TEN             2326 BAY RIDGE DRIVE                                                                               AUGRES            MI    48703‐9483
JOHN C ROTH JR                                  12748 S BASELL                                                                                     HEMLOCK           MI    48626‐7402
JOHN C ROTH JR & DENISE L ROTH JT TEN           12748 S BASELL                                                                                     HEMLOCK           MI    48626‐7402
JOHN C ROWAN                                    337 1/2 S FLORIDA ST                                                                               BUCKHANNON        WV    26201‐2454
JOHN C RYAN                                     1453 W LAMPLIGHTER LANE                                                                            NORTH WALES       PA    19454
JOHN C RYAN                                     306 WEST BAKER ROAD                                                                                HOPE              MI    48628‐9746
JOHN C SAPP                                     2976 PEARSONS COR RD                                                                               DOVER             DE    19904‐5124
JOHN C SCHMITZER & MARY ELEANOR SCHMITZER JT    3870 SAILER ROAD                                                                                   MOUNT VERNON      IN    47620‐7133
TEN
JOHN C SCHOONOVER                               4576 LAKE SUPERIOR DR                                                                              STANDISH          MI    48658‐9752
JOHN C SCHOTT                                   116 PUTNEY LANE                                                                                    MALVERN           PA    19355‐3208
JOHN C SCHULIEN                                 14 WILLARD PL                                                                                      MORRISTOWN        NJ    07960‐2948
JOHN C SCHULZ                                   200 ARCH ST                                                                                        BURLINGTON        IA    52601‐5009
JOHN C SEAGRAVE                                 97 CHESTNUT ST                                                                                     MIDDLETOWN        CT    06457‐3801
JOHN C SEBENOLER                                8023 CO ROAD 58                                                                                    UPPER SANDUSKY    OH    43351‐9453
JOHN C SEIFERT                                  10120 BAHAMAS CIR                                                                                  FISHERS           IN    46037‐9739
JOHN C SEXTON                                   242 SW 44TH TERRACE                                                                                CAPE CORAL        FL    33914‐5904
JOHN C SEXTON & MILDRED P SEXTON JT TEN         242 SW 44TH TERRACE                                                                                CAPE CORAL        FL    33914‐5904
JOHN C SHANAFELT                                3916 SCOTT RD                           BOX 129                                                    HUBBARD LAKE      MI    49747‐0129
JOHN C SHAW                                     703 ROCKY BRANCH LANE                                                                              EVANS             GA    30809‐5601
JOHN C SHAW & LOUISE M SHAW TR UA 02/05/07 JOHN 29211 QUINN ROAD                                                                                   NORTH LIBERTY     IN    46554
C SHAW LIVING TRUST
JOHN C SHEPHERD                                 2554 SPAULDING RD                                                                                  LUM               MI    48412‐9314
JOHN C SHOVER & ELAINE SHOVER JT TEN            BOX 156                                                                                            BARRY             IL    62312‐0156
JOHN C SIEMIENSKI                               8 DENNIS RD                                                                                        WILMINGTON        DE    19808‐5402
JOHN C SIMONDS JR                               PO BOX 105                                                                                         CHARLESTON        SC    29402‐0105
JOHN C SIMPKINS                                 8834 BREWER RD                                                                                     MILLINGTON        MI    48746‐9523
JOHN C SINCLAIR                                 20 RUE DE TOURVILLE                     78100 SAINT GERMAIN‐EN‐LAYE              FRANCE
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 137 of 855
Name                                            Address1                               Address2             Address3          Address4          City             State Zip

JOHN C SINGLETON                                9191 ROUNDTOP RD                                                                                CINCINNATI       OH    45251
JOHN C SKAIN                                    PO BOX 119                             604 MUSNTER                                              GERMANTOWN       IL    62245‐0119
JOHN C SKELLEY                                  2275 WHITE LAKE ROAD                                                                            HIGHLAND         MI    48356‐1335
JOHN C SKRIDULIS                                1370 LARKMOOR BLVD                                                                              BERKLEY          MI    48072‐1908
JOHN C SMITH                                    10 IROQUOIS ST E                                                                                MASSAPEQUA       NY    11758‐7624
JOHN C SMITH                                    19744 INDIAN                                                                                    REDFORD          MI    48240‐1632
JOHN C SNAPP                                    87 OLD FARM RD                                                                                  DANVILLE         IN    46122‐1434
JOHN C SORENSON & PEGGY A SORENSON JT TEN       16115 YORK MINSTER DRIVE                                                                        SPRING           TX    77379‐7664
JOHN C SOWA                                     152 ROYAL OAK DR                       APT 106                                                  MCKEESPORT       PA    15131‐2010
JOHN C STACEY TR UA 09/28/1998 JOHN C STACEY    29 HOMESTEAD ROAD                                                                               LEDYARD          CT    06339
REVOCABLE TRUST
JOHN C STAFFORD                                 6580 MATCHETTE RD                      WINDSOR ON                             N9J 2J9 CANADA
JOHN C STAFFORD                                 6580 MATCHETTE RD                      WINDSOR ON                             N9J 2J9 CANADA
JOHN C STANFIELD                                2314 MAXWELL                                                                                    MIDLAND          TX    79705‐4910
JOHN C STARLING A MINOR U/GDNSHP OF ALAN C      1592 W IVANHOE BLVD                                                                             ORLANDO          FL    32804‐5808
STARLING
JOHN C STEEPLES & CYNTHIA C STEEPLES JT TEN     RR 1                                                                                            ZURICH           KS    67663‐9801
JOHN C STEMPEK                                  1502 SEVEN MILE                                                                                 KAWKAWLIN        MI    48631‐9738
JOHN C STENEHJEM                                5122 N MONTANA                                                                                  PORTLAND         OR    97217‐3737
JOHN C STEPHENS                                 821 S 14TH ST                                                                                   PALATKA          FL    32177‐5019
JOHN C STEVENSON                                6470 SPRING MILL ROAD                                                                           INDIANAPOLIS     IN    46260‐4244
JOHN C STEVENSON JR                             601 MAPLE AVENUE                                                                                RICHMOND         VA    23226
JOHN C STEWART                                  9243 LOUISIANA STREET                                                                           LIVONIA          MI    48150‐3724
JOHN C STEWART                                  5121 KENORA ST                                                                                  SAGINAW          MI    48604‐9471
JOHN C STICKLEY                                 1459 PORCH ROCK RD                                                                              PIKEVILLE        TN    37367
JOHN C STIFF & PATRICIA ANN STIFF JT TEN        3016 W ELLSWORTH RD                                                                             PERRY            MI    48872‐9512
JOHN C STILL 3RD                                PO BOX 311                                                                                      DOVER            DE    19903‐0311
JOHN C STRINGER TR JOHN C STRINGER REVOCABLE    PO BOX 107                                                                                      LENOXDALE        MA    01242‐0107
TRUST UA 10/29/01
JOHN C STUBBS                                   1101 ROANOKE ST E                                                                               BLACKSBURG       VA    24060‐5049
JOHN C SULLIVAN & JAMES C SULLIVAN JR JT TEN    2 KING STREET EXT                                                                               WILMINGTON       MA    01887‐1831
JOHN C SUTHERLAND & BETSY M SUTHERLAND JT TEN   2788 N WADING RD                                                                                WADING RIVER     NY    11792‐9400

JOHN C SUTTON                                   138 N VINE                                                                                      COLUMBIANA       OH    44408‐1131
JOHN C SWEETMAN                                 PO BOX 9191                                                                                     PAWTUCKET        RI    02862‐1124
JOHN C TALPOS & BEATRICE M TALPOS JT TEN        20 OAKLAND PARK                                                                                 PLEASANT RIDGE   MI    48069‐1109
JOHN C TANIS III                                816 MAIN STREET                                                                                 MOOSIC           PA    18507‐1026
JOHN C TAYLOR                                   5540 TIMBERLANE ST                                                                              EAST LANSING     MI    48823‐3789
JOHN C TEAFORD                                  270 LITTLETON ST #452                                                                           WEST LAFAYETTE   IN    47906‐6320
JOHN C THEDE                                    359 S CENTER                                                                                    SEBEWAING        MI    48759‐1410
JOHN C THEDE                                    18530 MACK AVE                         #226                                                     GROSSE POINTE    MI    48236‐3254
                                                                                                                                                FARM
JOHN C THORSTAD                                 7318 LONGMEADOW RD                                                                              MADISON          WI    53717‐1065
JOHN C TIMM                                     1515 TAYLOR RD                                                                                  CLINTON          MI    49236‐9716
JOHN C TITTER JR                                10288 FERNCREST ST                                                                              FIRESTONE        CO    80504‐3501
JOHN C TOLZMAN                                  8608 FLUTTERING LEAF TRAIL             403                                                      ODENTON          MD    21113
JOHN C TOOILL                                   2853 GUSS AVE                                                                                   YOUNGSTOWN       OH    44505‐4226
JOHN C TOOLES JR                                3618 FOREST GARDEN AVE                                                                          BALTIMORE        MD    21207‐6307
JOHN C TREZZA                                   64 BEACON HILL DR                      APT 4B4                                                  DOBBS SERRY      NY    10522‐2413
JOHN C TUBBS TR UA 09/17/90 TUBBS FAM TRUST     9830 COLDWATER CIR                                                                              DALLAS           TX    75228

JOHN C TURNER                                   2420 RITCHIE                                                                                    OAKLAND          CA    94605‐3246
JOHN C VAN MORRELGEM                            604 HAZELWOOD TERRACE                                                                           ROCHESTER        NY    14609‐5304
JOHN C VERVILLE                                 6640 WOONSOCKET DRIVE                                                                           CANTON           MI    48187‐2746
JOHN C W CAMPBELL JR                            278 STONEBRIDGE BLVD                                                                            SAINT PAUL       MN    55105‐1228
JOHN C WAHR                                     1570 BLUE SAGE CT                                                                               BOULDER          CO    80305‐6819
JOHN C WALDRIP                                  26320 CUBBERNESS ST                                                                             ST CLR SHORES    MI    48081‐3310
JOHN C WALLACE                                  4894 MEADOWBROOK CIR                                                                            SUWANEE          GA    30024‐1957
JOHN C WATKINS                                  1025 MARKET ST                                                                                  FRANKLIN         TN    37067‐8519
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 138 of 855
Name                                             Address1                             Address2              Address3         Address4          City               State Zip

JOHN C WAYSON                                    717 BUCKINGHAM CIRCLE                                                                         SALISBURY          MD    21804
JOHN C WEBSTER                                   2756 RIVIERA COURT                                                                            DECATUR            GA    30033‐1033
JOHN C WEBSTER & JANE S WEBSTER JT TEN           2756 RIVIERA COURT                                                                            DECATUR            GA    30033‐1033
JOHN C WENDLING & JERIANN WENDLING JT TEN        5312 FERDEN RD                                                                                CHESANING          MI    48616
JOHN C WESTALL & CAROL H WESTALL JT TEN          604 N SCHOOL ST                                                                               NORMAL             IL    61761‐1619
JOHN C WESTLEY                                   4422 ARDEN VIEW COURT                                                                         ARDEN HILLS        MN    55112‐1945
JOHN C WHEELER                                   2701 MOHICAN AVENUE                                                                           KETTERING          OH    45429‐3736
JOHN C WHIDDEN                                   6112 COBBLESTONE DR F10                                                                       CICERO             NY    13039‐8005
JOHN C WHITEHEAD                                 3282 WASMUND AVE                                                                              WARREN             MI    48091‐4279
JOHN C WILEY                                     1219 MARKHAM ST                                                                               FLINT              MI    48507‐2307
JOHN C WILSON & PATSY S WILSON JT TEN            170 STURBRIDGE DRIVE                                                                          FRANKLIN           TN    37064‐3298
JOHN C WISE                                      943 S CORNERSTONE DR                                                                          FRANKLIN           IN    46131‐2580
JOHN C WOOD                                      310 CIVIC AVE                                                                                 SALISBURY          MD    21804‐5230
JOHN C WOODS                                     3575 MARTHAS LN                                                                               VERO BEACH         FL    32967‐5693
JOHN C WOODWARD                                  610 HAZELWOOD DR                                                                              LINCOLN            NE    68510‐4324
JOHN C WORTHY                                    724 SWANSON ST                                                                                DELAWARE           OH    43015‐6207
JOHN C WRIGHT                                    193 CHESTNUT RIDGE RD                                                                         KINGSTON           TN    37763
JOHN C WRIGHT                                    9701 BERRY RD                                                                                 BONNE TERRE        MO    63628‐3818
JOHN C WYCHUNAS JR                               290 FRIEDEN MANOR                                                                             SCHUYLKILL HAVEN   PA    17972‐9581

JOHN C YAHR                                      4107 N VASSAR                                                                                 FLINT              MI    48506‐1774
JOHN C YATES & NANCY C YATES TR YATES FAMILY     721 ESTRELLA AVENUE                                                                           ARCADIA            CA    91007‐8160
TRUST OF 1966 US 04/18/66
JOHN C YOUNG JR                                  PO BOX 2913                                                                                   ASHEVILLE          NC    28802‐2913
JOHN C ZAMBOTTI                                  13351 MELANIE DR                                                                              STERLING HTS       MI    48313‐3433
JOHN C ZIEBA                                     1345 HIGHWAY 61                                                                               BLAINE             TN    37709‐3028
JOHN C ZINK                                      6111 E 107TH ST                                                                               TULSA              OK    74137‐7011
JOHN CABELL                                      17 WINTHROP AVE                                                                               NEW ROCHELLE       NY    10801‐3406
JOHN CADZOW                                      963 N DAVENPORT LAKE ROAD                                                                     WILLIAMS           AZ    86046‐8414
JOHN CAFFERY JONES                               2101 FOUNTAINVIEW #G7                                                                         HOUSTON            TX    77057‐3633
JOHN CAFFREY                                     PO BOX 6575 P M C                    2432 INNSBRUCK CT                                        PMC                CA    93222‐6575
JOHN CALNAN                                      72 KING ST                           TORONTO ON                             M9N 1L3 CANADA
JOHN CALVIN PRESBYTERIAN CHURCH                  BOX 103                              50 WARD HILL RD                                          HENRIETTA          NY    14467‐9762
JOHN CAMERON                                     7 KING ST EAST SUITE 908             TORONTO ON                             M5C 3C5 CANADA
JOHN CAMERON HOWITT                              260 CHENE ST                         TECUMSEH ON                            N8N 3H6 CANADA
JOHN CAMMERANO                                   48 MILL RD                                                                                    LAMBERTVILLE       NJ    08530‐3201
JOHN CAMPBELL & ANNETTE M CAMPBELL JT TEN        153 VIOLET AVE                                                                                FLORAL PARK        NY    11001‐3022
JOHN CANNING III                                 220 NOMINI BAY DR                                                                             MONTROSS           VA    22520‐3517
JOHN CAPALBO                                     183 NOTT ST                                                                                   WETHERSFIELD       CT    06109‐1719
JOHN CAPO                                        22 WEISS DR                                                                                   TOWACO             NJ    07082‐1513
JOHN CAPPELLO                                    31 NANCYCREST LANE                                                                            BUFFALO            NY    14224‐3831
JOHN CARANGELO                                   143 BRIARWOOD DR                                                                              MANCHESTER         CT    06040‐6925
JOHN CARBOY                                      PINE ST                                                                                       BUTLER             NJ    07405
JOHN CARDOSO                                     69 CAROLYN AVENUE                                                                             COLONIA            NJ    07067‐1806
JOHN CARDUCK                                     11588 ARDEN                                                                                   WARREN             MI    48093‐1106
JOHN CARDUCK JR & VIRGINIA CARDUCK JT TEN        11588 ARDEN                                                                                   WARREN             MI    48093‐1106
JOHN CAREY                                       9301 S NORMANDIE                                                                              LOS ANGELES        CA    90044‐1902
JOHN CARL BERT & EVA JO BERT JT TEN              11150 GLENBROOK LA                                                                            INDIANHEAD PARK    IL    60525‐6988

JOHN CARL BOEKER                                 4486 ETTENMOOR LANE SW                                                                        ROCHESTER          MN    55902‐8741
JOHN CARL KELLEY & BETH ANN KELLEY JT TEN        1023 S WARMAN AVE                                                                             INDIANAPOLIS       IN    46221‐1068
JOHN CARL LEVEY & LINDA MARIE LEVEY JT TEN       6816 W 116TH ST                                                                               WORTH              IL    60482‐2355
JOHN CARLETON RIDDICK                            1321 HIGHLAND AVE                                                                             LOUISVILLE         KY    40204‐2026
JOHN CARLYLE SMITH                               2670 CENTENNIAL CT                                                                            ALEXANDRIA         VA    22311‐1304
JOHN CARR                                        C/O CARR'S HEATING                   7017 LAKESHORE ROAD                                      CLAY               NY    13039‐9746
JOHN CARR & CAROLYN CARR JT TEN                  615 N ROSEVERE                                                                                DEARBORN           MI    48128‐1739
JOHN CARROLL CUST CHRISTINE M CARROLL UGMA MA    11 WETHERSFIELD ROAD                                                                          NATICK             MA    01760‐1733
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                          Part 4 of 8 Pg 139 of 855
Name                                               Address1                                Address2             Address3          Address4            City              State Zip

JOHN CARROLL PARKER & PATRICIA SUE PARKER JT TEN 1203 PIKE LANE                                                                                       OCEANO            CA    93445‐9403

JOHN CARTER                                        2255 E LARNED                                                                                      DETROIT           MI    48207‐3967
JOHN CARTER BAILEY CUST MARY LOWE BAILEY UTMA      135 LAKEVIEW AVE NE                                                                                ATLANTA           GA    30305‐3724
GA
JOHN CARTER BAILEY JR CUST JOSEPH WILLIAM BAILEY   135 LAKEVIEW AVE NE                                                                                ATLANTA           GA    30305‐3724
UTMA GA
JOHN CARTER BAILEY JR CUST KINMAN JAMES BAILEY     135 LAKEVIEW AVE NE                                                                                ATLANTA           GA    30305‐3724
UTMA GA
JOHN CARTER CUST ZACH CARTER UTMA OH               1301 CO RD 1356                                                                                    ASHLAND           OH    44805‐9702
JOHN CARTER III                                    13 PROSPECT ST                                                                                     MENDHAM           NJ    07945‐1209
JOHN CASALE                                        52 FOMER RD                                                                                        SOUTHAMPTON       MA    01073‐9503
JOHN CASAZZA                                       BOX 987                                                                                            HUGHSON           CA    95326‐0987
JOHN CASCONE                                       44 PUTNAM AVE                                                                                      TARRYTOWN         NY    10591‐3809
JOHN CASH                                          284 US 158 BYPASS                                                                                  HENDERSON         NC    27536
JOHN CAST CUST BENJAMIN M CAST UTMA IL             506 WEBSTER                             PO BOX 673                                                 CATLIN            IL    61817‐0673
JOHN CATERINO & MRS VICTORIA CATERINO JT TEN       54 DOROTHY AVE                                                                                     EDISON            NJ    08837‐3421

JOHN CAVANAGH & CLAUDIA CAVANAGH JT TEN            770 NORMAN DRIVE                                                                                   RIDGEWOOD         NJ    07450‐1017
JOHN CAVANAUGH                                     1715 KRAGEL RD                                                                                     RICHMOND          OH    43944
JOHN CECIL SWAIN                                   233 GULLANE RD                                                                                     CHARLESTON        SC    29414‐6836
JOHN CECIL SWAIN                                   233 GULLANE RD                                                                                     CHARLESTON        SC    29414‐6836
JOHN CERRATO                                       16 BROAD ST                                                                                        MERIDEN           CT    06450‐6531
JOHN CHADWELL JR                                   1633 STONLICK OLIVE                                                                                BATAVIA           OH    45103
JOHN CHADWICK GRIFFITH                             29‐10‐703 SAKJRAGAOKA‐CHO               SHIBUYA‐KU TOKYO                       JAPAN
JOHN CHALKO JR                                     2550 COVE RD                                                                                       TWIN LAKE         MI    49457‐9355
JOHN CHAMULAK                                      8275 ROYAL RIDGE DRIVE                                                                             PARMA             OH    44129
JOHN CHARIN SOMBERG                                PO BOX 869                                                                                         LAKE FOREST       IL    60045‐0869
JOHN CHARLES BOGGS                                 1212 CHERRY ST                                                                                     JACKSON           KY    41339‐1006
JOHN CHARLES CHUMBLEY                              421 MESSINGER ST                                                                                   BANGOR            PA    18013‐2025
JOHN CHARLES FRENTZ                                2367 CHATHAM RD                                                                                    AKRON             OH    44313‐4345
JOHN CHARLES MC GEE & LESLEY CAROL MCGEE JT TEN    813 BODEGA WAY                                                                                     RODEO             CA    94572

JOHN CHARLES MENAPACE                              1204 ROOSEVELT DRIVE                                                                               CHAPEL HILL       NC    27514‐3311
JOHN CHARLES PFEIFFER                              800 GREENSPUR LN                                                                                   LOUISVILLE        KY    40207‐1309
JOHN CHARLES RAZOR                                 36                                      3793 W STATE RD                                            MIDDLETOWN        IN    47356
JOHN CHARLES SECCO                                 PO BOX 371                                                                                         STODDARD          NH    03464‐0371
JOHN CHARLES SMITH & EARLEEN SMITH JT TEN          15520 OLIVE BRANCH DR                                                                              LA MIRADA         CA    90638‐2429
JOHN CHARLES WATSON                                1711 37TH ST                                                                                       PARKERSBURG       WV    26104‐1935
JOHN CHARLES YOST                                  437 VIRGINIA TERR                                                                                  MADISON           WI    53705‐5345
JOHN CHESNEY CUST TODD D CHESNEY UTMA IL           3913 GRAND AVE                                                                                     WESTERN SPRINGS   IL    60558‐1134

JOHN CHEVERIE                                      5 BONNIE BRIER PARK                                                                                PEMBROKE         MA     02359
JOHN CHICKENSKY JR                                 32100 FRUEHAUF                                                                                     FRASER           MI     48026‐2367
JOHN CHMIEL                                        8 WORTHINGTON DRIVE                                                                                TRENTON          NJ     08638‐1529
JOHN CHRIS ZAENGER                                 5875 CONSEAR RD                                                                                    OTTAWA LAKE      MI     49267‐9772
JOHN CHRIST & APHRO CHRIST JT TEN                  657 E 240 ST                                                                                       BRONX            NY     10470‐1524
JOHN CHRISTENSEN                                   130 OAKDALE ST APT 96                                                                              ATTLEBORO        MA     02703
JOHN CHRISTOPHER CAFFERTY                          31 SOUTHERN RED ROAD                                                                               BLUFFTON         SC     29909
JOHN CHRISTOPHER WORD                              3325 LOS OLIVOS LANE                                                                               GLENDALE         CA     91214‐1240
JOHN CHUR TSAO & WAN‐QI TING JT TEN                14209 PLATINUM DR                                                                                  GAITHERSBURG     MD     20878‐4341
JOHN CICERONE                                      16046 VERGI CT                                                                                     CLINTON TOWNSHIP MI     48038‐4181

JOHN CIESLA & PATRICIA CIESLA JT TEN               HILLSIDE ROAD                                                                                      SOUTH DEERFIELD   MA    01373

JOHN CIMMINO                                       266 LANES MILL RD                                                                                  HOWELL            NJ    07731‐2524
JOHN CIOLAN                                        29550 ORVYLLE DR                                                                                   WARREN            MI    48092‐4237
JOHN CLARK                                         610 E ANGELA BLVD                                                                                  SOUTH BEND        IN    46617
JOHN CLARK MADDOX                                  547 APPLE PIE RIDGE RD                                                                             WINCHESTER        VA    22603‐4313
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                      Part 4 of 8 Pg 140 of 855
Name                                             Address1                              Address2               Address3         Address4          City              State Zip

JOHN CLARK ROBINSON                              8367 S VANDALIA                                                                                 TULSA            OK     74137‐1911
JOHN CLARKE                                      1240 POPES VALLEY DR                                                                            COLORADO SPRINGS CO     80919

JOHN CLAUS                                      106 EASTVIEW AVE                       WOODSTOCK ON CAN ON                     N4T 1C1 CANADA
JOHN CLAUS                                      106 EASTVIEW AVE                       WOODSTOCK ON CAN ON                     N4T 1C1 CANADA
JOHN CLAYBURGH JR                               3659 VALLEY MEADOW RD                                                                            SHERMAN OAKS      CA    91403‐4842
JOHN CLEARY                                     84 SHERWOOD RD                                                                                   DUMONT            NJ    07628‐1817
JOHN CLEMENT BERTOLONE                          5040 ACKERMAN BLVD                                                                               KETTERING         OH    45429‐5648
JOHN CLEMENTE                                   1001 STUART PL                                                                                   LINDEN            NJ    07036‐6136
JOHN CLIFFORD CAMERON & EILEEN D CAMERON JT TEN 1410 CHURCH RD                                                                                   MALVERN           PA    19355‐9714

JOHN CLIFFORD OILAR                              4075 SO NIAGARA WAY                                                                             DENVER            CO    80237‐2004
JOHN CLIFTON RIEDEL JR                           400 AMANDA COURT                                                                                SHEPHERDSVILLE    KY    40165‐8981
JOHN CLINTON MATTHEWS                            LA BERGERIE                           24 RUE DE LA DAMETTE   F 69540 IRIGNY   FRANCE
JOHN CLINTON SULLIVAN                            2038 BAYPOINTE DR                                                                               NEWPORT BEACH     CA    92660‐8527
JOHN CLYDE KESSELRING                            102 LINCOLN ST                                                                                  CALAIS            ME    04619‐1441
JOHN COCHRAN CUST PETER J COCHRAN U/THE PA       875 CATTELL ST                                                                                  EASTON            PA    18042‐1524
UNIFORM GIFTS TO MINORS ACT
JOHN COLAVOLPE & MADELYN COLAVOLPE JT TEN        1841 HERING AVE                                                                                 BRONX             NY    10461‐1801

JOHN COLE & PEGGY COLE JT TEN                    1190 SH 75 N                                                                                    HUNTSVILLE        TX    77320
JOHN COLEMAN & MARGARET COLEMAN JT TEN           9330 WINCHESTER                                                                                 CHICAGO           IL    60620‐5648
JOHN COLLINS                                     80 CURTIS STREET                                                                                SOMERVILLE        MA    02144‐1203
JOHN COLLINS                                     6623 FIRWOOD                                                                                    DETROIT           MI    48210‐1361
JOHN COLLINS                                     6623 FIRWOOD                                                                                    DETROIT           MI    48210‐1361
JOHN COMBS                                       526 SANDERS DR                                                                                  HAMILTON          OH    45013‐1425
JOHN COMLEY                                      1608 FOUR MILE RD                                                                               RICHMOND          KY    40475‐9229
JOHN CONAWAY                                     3551 BEE ST APT 4                                                                               MINERAL RIDGE     OH    44440‐9724
JOHN CONLIN                                      1914 LAUREL DR                                                                                  HARLINGEN         TX    78550‐8082
JOHN CONLON & DONA A CONLON JT TEN               PO BOX 128                                                                                      ASHBURNHAM        MA    01430‐0128
JOHN CONN SCHULTE                                610 BEN HOGAN DRIVE                                                                             MISSOULA          MT    59803‐2464
JOHN CONSTANCIO                                  2324 RYAN WAY                                                                                   BULLHEAD CITY     AZ    86442‐8699
JOHN CONWAY MILLER & SUSAN K MILLER TEN COM      928 KENILWORTH PKWY                                                                             BATON ROUGE       LA    70808‐5719

JOHN COOK                                        PO BOX 374                                                                                      BURLINGTON        NJ    08016‐0374
JOHN COOPER                                      665 ELIZABETH WAY                                                                               HAYWARD           CA    94544‐7736
JOHN COOPER FEIST                                2482 FIELDSTONE CURVE                                                                           WOODBURY          MN    55129
JOHN CORA                                        6540 STODDARD HAYES RD                                                                          FARMDALE          OH    44417‐9775
JOHN CORBITT STOUT                               PO BOX 13128                                                                                    MONROE            LA    71213‐3128
JOHN CORCORAN                                    16334 BLUE TEAL TRL                                                                             HEMLOCK           MI    48626‐8780
JOHN CORCORAN & KAREN M CORCORAN JT TEN          16334 BLUE TEAL TRL                                                                             HEMLOCK           MI    48626‐8780
JOHN CORNELIUS MAULL & MARGARET MC KINSTRY       167 ROCK MEADOW ROAD                                                                            UXBRIDGE          MA    01569‐1474
MAULL JT TEN
JOHN CORVINO                                     83 STONE RD                                                                                     WEST HURLEY       NY    12491‐5013
JOHN COTARLA                                     3015 W KILBURN ROAD                                                                             ROCHESTER HILLS   MI    48306‐2915
JOHN COX CUST JANICE K COX UGMA VA               6308 N 24TH ST                                                                                  ARLINGTON         VA    22207‐1014
JOHN COYLE & MRS PATRICIA COYLE JT TEN           14 MILLERS LANE                                                                                 WINGDALE          NY    12594‐1125
JOHN CRAIG                                       6870 WARREN RD                                                                                  MILTON            FL    32583‐9046
JOHN CRAIG CANNON                                2430 LOGAN AVE                                                                                  DES MOINES        IA    50317‐2253
JOHN CRAIG DAVIS                                 813 HIGHLAND AVE                                                                                CARROLLTON        KY    41008‐1037
JOHN CRAIG HAGGERTY                              53 SUGARLOAF AVE                                                                                CONYNGHAM         PA    18219
JOHN CRAIG JACKSON & GRETCHEN S JACKSON JT TEN   1562 MICHIGAN AVE                                                                               SALT LAKE CITY    UT    84105‐1710

JOHN CRAWFORD                                    513 PARK AVE                                                                                    LOCKPORT          NY    14094‐1918
JOHN CRAWFORD                                    2956 W 140 ST                                                                                   BLUE ISLAND       IL    60406‐3348
JOHN CREEL ASHER                                 13220 SILLAMON RD                                                                               GOLDVERN          VA    22720‐1918
JOHN CROSBY                                      9091 ERNEST RD                                                                                  MIDDLEPORT        NY    14105‐9619
JOHN CROSBY                                      3885 DUTCHER RD                                                                                 GLADWIN           MI    48624‐8915
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 141 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JOHN CROWLEY                                     442 BEACH 124 STREET                                                                           ROCKAWAY BEACH    NY    11694‐1844

JOHN CURIS                                       35034 ANDREA CT                                                                                LIVONIA           MI    48154‐1950
JOHN CURWEN DEARDEN                              223 GROTON RD                                                                                  NORTH             MA    01863‐1208
                                                                                                                                                CHELMSFORD
JOHN CUSMANIC                                    272 GRACE ROAD                        TECUMSEH ON                            N8N 2G7 CANADA
JOHN CZERNESKI                                   4860 BELL OAK RD                                                                               WEBBERVILLE      MI     48892‐9754
JOHN D ABBITT 3RD                                2351 NW 31ST DR                                                                                GAINESVILLE      FL     32605
JOHN D ABBOTT                                    11140 JOHNSON DR                                                                               PARMA            OH     44130‐7353
JOHN D AGULIA                                    33 CASSANDRA CIR                                                                               CHURCHVILLE      NY     14428‐9776
JOHN D ALEXANDER & JULIE V ALEXANDER JT TEN      10 RIVER GLEN CIR                                                                              LITTLE ROCK      AR     72202‐1424
JOHN D ALLEN                                     5323 OAKVIEW DR                                                                                SWARTZ CREEK     MI     48473‐1151
JOHN D ALLEN                                     6762 LYTLE ROAD                                                                                CORUNNA          MI     48817‐9556
JOHN D ARLINGTON                                 7182 ROCHESTER ROAD                                                                            LOCKPORT         NY     14094‐1641
JOHN D ASKEW                                     H C ROUTE 63 BOX 79A                                                                           BELLEVIEW        MO     63623‐9801
JOHN D ASSELIN                                   11321 KATRINE DR                                                                               FENTON           MI     48430
JOHN D ATKINSON                                  1315 CHESACO AVE                      APT 133                                                  ROSEDALE         MD     21237‐1550
JOHN D BALDWIN                                   PO BOX 64 MAIN ST                                                                              CECIL            OH     45821‐0064
JOHN D BARRETT                                   5205 WILDFLOWER RD                                                                             ORLANDO          FL     32821‐8713
JOHN D BARROW JR                                 3318 SUFFOLK RD                                                                                RICHMOND         VA     23227‐4725
JOHN D BARTLE                                    8057 CAMPBELL AVE                                                                              HALE             MI     48739‐8722
JOHN D BARTLE & SHARON K BARTLE JT TEN           8057 CAMPBELL AVE                                                                              HALE             MI     48739‐8722
JOHN D BASTON JR                                 BOX 993                                                                                        THOMSON          GA     30824‐0993
JOHN D BATKOSKI                                  3190 MYSYLVIA ST                                                                               SAGINAW          MI     48601‐6929
JOHN D BEKKALA & SARAH L BEKKALA JT TEN          45450 COTTAGE ROW                                                                              CHASSELL         MI     49916‐9120
JOHN D BENAVIDEZ JR                              PO BOX 25762                                                                                   ALBUQUERQUE      NM     87125‐0762
JOHN D BENDER                                    2615 SAN PABLO AVE                                                                             PINOLE           CA     94564‐1310
JOHN D BENKO                                     3809 HAYES AVE                                                                                 SANDUSKY         OH     44870‐5361
JOHN D BENNETT                                   601 WEST SMITH                                                                                 IOWA PARK        TX     76367‐1907
JOHN D BERENDT                                   40772 REHSE DR                                                                                 CLINTON TOWNSHIP MI     48038‐4139

JOHN D BERGER III                                37 WILLOWBROOK RD                                                                              ASHEVILLE         NC    28805‐1430
JOHN D BEVERLY                                   8504 TIMBERWOOD LANE                                                                           HAUGHTON          LA    71037‐9322
JOHN D BICKEL                                    15716 CUSTER TRL                                                                               FRISCO            TX    75035‐6610
JOHN D BIEGAS                                    6496 CLINTON ST RD                                                                             BERGEN            NY    14416‐9760
JOHN D BIELLO                                    144 WALNUT ST                                                                                  JENKINTOWN        PA    19046‐3126
JOHN D BLOUNT                                    207 ROCKSPRING DR                                                                              THOMASVILLE       NC    27360‐2639
JOHN D BODERMANN & MAX O BODERMANN JT TEN        110 W 3RD PLACE BOX 14                                                                         GRIMES            IA    50111‐0014

JOHN D BOFF                                      7418 DAUVIN CT                                                                                 PORT RICHEY       FL    34668‐1669
JOHN D BOWEN                                     2723 FREEMAN MILL RD                                                                           DACULA            GA    30019‐1339
JOHN D BOWERS                                    5154 SO CO RD 800 E                                                                            SELMA             IN    47383‐9307
JOHN D BRINKMAN                                  3011 TROY RD                                                                                   SPRINGFIELD       OH    45504‐4331
JOHN D BUCKLEW                                   124 GLENWOOD BOULEVARD                                                                         MANSFIELD         OH    44906‐3210
JOHN D BUCKLEY                                   34748 HIGHLAND DR                                                                              N RIDGEVILLE      OH    44039‐1724
JOHN D BURKE & KATHLEEN L BURKE JT TEN           1393 S ELEVEN MILE                                                                             AUBURN            MI    48611‐9729
JOHN D BURNS & BLANCA V BURNS JT TEN             4600 JOHNSON AVE                                                                               WESTERN SPRINGS   IL    60558‐1539

JOHN D BURTON                                    1334 HILLVIEW FOREST RD                                                                        EAST GULL LAKE    MN    56401‐3096
JOHN D CAMPANELLA                                5150 S DANUBE ST                                                                               AURORA            CO    80015‐4873
JOHN D CARLSON                                   6731 S LAKESHORE DR                                                                            TEMPE             AZ    85283‐4101
JOHN D CARPENTER & JANICE M CARPENTER JT TEN     5 LUMBERMEN WAY                                                                                SAGINAW           MI    48603

JOHN D CARROLL JR                                401 DEEPWOOD DR                                                                                GREER             SC    29651‐6866
JOHN D CENTURIONE                                160 UTICA                                                                                      TONAWANDA         NY    14150‐5432
JOHN D CHILCOTT                                  900 E MARKET ST                                                                                LOCKPORT          NY    14094‐2557
JOHN D CIROCCO & THERESA M CIROCCO JT TEN        11919 CHASE BLVD                                                                               LIVONIA           MI    48150‐5039
JOHN D CLAXON                                    971 W CABRIOLET                                                                                PENDLETON         IN    46064‐8832
JOHN D CLUTTER                                   15002 E 49TH ST                                                                                KANSAS CITY       MO    64136‐1334
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 142 of 855
Name                                              Address1                              Address2                Address3       Address4          City              State Zip

JOHN D COGNATELLO                               9 REGINA PL                                                                                      YONKERS           NY    10703
JOHN D COLE                                     125 PLAINVIEW DRIVE                                                                              AVON              IN    46123‐8909
JOHN D COLE                                     PO BOX 130                                                                                       HALIFAX           VA    24558‐0130
JOHN D COLER TR THE JOHN TRUST UW FRANCES BAGOT 420 S ALEXANDERIA 25                                                                             LOS ANGELES       CA    90020‐2744
COLE
JOHN D CONCANNON                                7050 EDGEWORTH DR                                                                                ORLANDO           FL    32819‐4729
JOHN D CONE                                     P O BOX 46                                                                                       NORWICH           VT    05055
JOHN D CONNER                                   374 PRIVATE RD 2014                                                                              WEST PLAINS       MO    65775
JOHN D CONTRERAZ                                14344 FOOTHILL BLVD #907                                                                         SYLMAR            CA    91342‐8037
JOHN D COOLMAN JR                               11235 FARRAND RD                                                                                 OTISVILLE         MI    48463‐9753
JOHN D COWAN                                    275 STEELE RD                           APT A406                                                 WEST HARTFORD     CT    06117‐2753
JOHN D CRABTREE                                 2423 PEPPERIDGE TRL                                                                              BRIGHTON          MI    48114‐8956
JOHN D CRAWFORD SR CUST ANDREW M CRAWFORD       4779 ANNESDALE DR                                                                                OLIVE BRANCH      MS    38654‐6139
UGMA PA
JOHN D CROCKER & SUSAN M CROCKER JT TEN         20 WINDWOOD DR                                                                                   JACKSON           TN    38305‐8835
JOHN D CROSS                                    3071 N HENDERSON RD                                                                              DAVISON           MI    48423‐8113
JOHN D CROUCH                                   4308 SHERMAN DRIVE                                                                               MARSHALL          TX    75672‐2544
JOHN D CROUCH                                   3842 S CREEK DR                                                                                  ROCHESTER HILLS   MI    48306‐1480
JOHN D CROZIER & RITA CROZIER JT TEN            2807 DANBURY LN                                                                                  TOMS RIVER        NJ    08755‐2574
JOHN D CUNNINGHAM & ELIZABETH CUNNINGHAM JT 105 39TH ST                                                                                          AVALON            NJ    08202‐1646
TEN
JOHN D CURRAN CUST KEVIN J CURRAN UGMA CT       9508 FREEPORT DR                                                                                 DENTON            TX    76207‐5689
JOHN D CURTIN & MRS JANE M CURTIN JT TEN        1030 CRESTWOOD RD                                                                                WOODMERE          NY    11598‐1634
JOHN D DANKO CUST DANIEL JOSEPH DANKO UTMA MD 3209 REGENTS ROW                                                                                   W FRIENDSHIP      MD    21794‐9205

JOHN D DAVIS                                      14344 ASBURY PARK                                                                              DETROIT           MI    48227‐1369
JOHN D DAVIS & NORMAN M DAVIS JT TEN              245 COUNTY ROAD 1301 3                                                                         CULLMAN           AL    35058‐0492
JOHN D DAVIS JR                                   11355 TRINKLE RD                                                                               DEXTER            MI    48130‐9444
JOHN D DEAN                                       8 BROMLEY DR                                                                                   WEST ORANGE       NJ    07052‐2910
JOHN D DEAN & CHARLOTTE A DEAN JT TEN             UNIT 227                              434 WEST 223RD STREET                                    CARSON            CA    90745‐3647
JOHN D DEDISCHEW                                  431 MOUNTAIN RD                                                                                LAGUNA BEACH      CA    92651‐3139
JOHN D DEHAVEN & TERESA M DEHAVEN JT TEN          319 CALUMET CT                                                                                 BOWLING GREEN     KY    42104‐8508
JOHN D DEVONSHIRE                                 102 LINCOLN PARK                                                                               LONGMEADOW        MA    01106‐2662
JOHN D DEWATERS                                   9379 SOUTH 36TH ST                                                                             SCOTTS            MI    49088‐9757
JOHN D DITTMER & M DARLENE DITTMER JT TEN                                                                                                        ELKADER           IA    52043
JOHN D DODSON & MRS PAULINE DODSON JT TEN         401 BURWASH AVE                       APT 210                                                  SAVOY             IL    61874‐9574

JOHN D DOHERTY                                    11002 RIVENDELL CV                                                                             ROANOKE           IN    46783
JOHN D DONALDSON                                  279 CALEDONIA STREET                                                                           LOCKPORT          NY    14094‐2003
JOHN D DONALDSON                                  3658 VILLAGE SPRINGS DRIVE                                                                     HIGH POINT        NC    27265
JOHN D DOYKA                                      41 KING AVE                                                                                    DEPEW             NY    14043‐2108
JOHN D DRABIK                                     1716 TERRACE STREET                                                                            N BRADDOCK        PA    15104‐3049
JOHN D DUKE                                       3376 EAST STATE ROAD 60                                                                        SALEM             IN    47167
JOHN D DUSELL & DONNA M DUSELL TR DUSELL FAMILY   780 BOLSA CHICA                                                                                GOLETA            CA    93117‐1756
TRUST UA 9/02/05
JOHN D DWYER TR JOHN D DWYER LIVING TRUST UA      14525 CLAYTON RD APT 103                                                                       BALLWIN           MO    63011‐2762
06/03/99
JOHN D DYCK                                       6502 RENWOOD DR                                                                                PARMA             OH    44129‐4039
JOHN D EARLE                                      1309 S DREXEL WAY                                                                              LAKEWOOD          CO    80232‐2003
JOHN D EDEL                                       8321 WASHBURN ROAD                                                                             BLISS             NY    14024‐9600
JOHN D EGGENBERGER                                19428 2 2800 EAST RD                                                                           SAUNEMIN          IL    61769‐9703
JOHN D EHLHARDT                                   33 SHARON DR                                                                                   SAINT CHARLES     MO    63303‐3903
JOHN D ELLIOTT                                    2547 CARIBE DR                                                                                 LADY LAKE         FL    32162‐0207
JOHN D ELLIS & ELIZABETH T ELLIS JT TEN           3717 DELVERNE RD                                                                               BALTIMORE         MD    21218‐2126
JOHN D ELLIS & MRS TULA ELLIS JT TEN              219 BURGESS RD                                                                                 GENEVA            IL    60134‐1926
JOHN D ELMY                                       140 HOUCHIN BLVD                                                                               LA VETA           CO    81055‐9638
JOHN D ELSER                                      1119 EASTBROOK LN                                                                              SAINT LOUIS       MO    63119‐4821
JOHN D ELTRINGHAM SR                              8109 LONGPOINT RD                                                                              BALTIMORE         MD    21222
JOHN D EMEOTT                                     9620 MIDLAND RD                                                                                FREELAND          MI    48623‐9762
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 143 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

JOHN D ERB                                      1 GANNET DRIVE                                                                                  MONTAUK         NY    11954‐5109
JOHN D ERMANNI                                  17308 LORRAINE DR                                                                               MACOMB          MI    48044‐5548
JOHN D ESTES                                    11073 AVIS ST                                                                                   SPRING HILL     FL    34608‐1906
JOHN D ESTES & TERESA A ESTES JT TEN            6841 BATON DR                                                                                   SHAWNEE         KS    66203
JOHN D ETCHISON & D JOANN ETCHISON JT TEN       1048E 1500N RD                                                                                  ONARGA          IL    60955‐7508
JOHN D EVANS                                    1344 MAPLECREST                        APT 3                                                    AUSTINTOWN      OH    44515
JOHN D EVANS & ANNETTE A EVANS JT TEN           170 ROLLING MEADOW TRAIL                                                                        FAYETTEVILLE    GA    30215‐2320
JOHN D FANELLA                                  5116 CHANDELLE DRIVE                                                                            PENSACOLA       FL    32507‐8134
JOHN D FARRELL                                  1099 FARNSWORTH STREET                                                                          NO TONAWANDA    NY    14120‐2981
JOHN D FEDORKO                                  PO BOX 648                                                                                      AGUILAR         CO    81020‐0648
JOHN D FIELDS & MARY G FIELDS JT TEN            895 E LAKE RD                                                                                   MCDONOUGH       GA    30252
JOHN D FLENNOY                                  7221 S YALE AVENUE                                                                              CHICAGO         IL    60621‐3540
JOHN D FORMAN & SUSAN A F GONZALES TR JOHN D    14 WALLING AVE                                                                                  ONEONTA         NY    13820‐1916
FORMAN TRUST UA 2/5/99
JOHN D FOSTER                                   6040 EAST HILL ROAD                                                                             GRAND BLANC     MI    48439‐9102
JOHN D FREEMAN                                  912 BEDFORD PL                                                                                  COLUMBIA        TN    38401‐6700
JOHN D FREEMAN                                  5546 WEST OHIO STREET                                                                           INDIANAPOLIS    IN    46224‐8720
JOHN D FRIES                                    1509 MELON ST                                                                                   PHILADELPHIA    PA    19130‐2911
JOHN D FURMAN                                   3832 VINYARD TRACE                                                                              MARIETTA        GA    30062‐5228
JOHN D GALLEGOS                                 3354 TAYLORWOOD LN                                                                              SPRING HILL     TN    37174‐7527
JOHN D GARLAND                                  2754 LEVANTE ST                                                                                 CARLSBAD        CA    92009‐8120
JOHN D GIGNAC                                   620 TIMBERVIEW DR                                                                               KERNERSVILLE    NC    27284‐9353
JOHN D GILLESPIE JR                             4013 RADTKA DR SW                                                                               WARREN          OH    44481‐9207
JOHN D GODDARD                                  3395 GODDARD DR                                                                                 CLIO            MI    48420
JOHN D GOODWIN                                  102 ANGELA DR                                                                                   NASHVILLE       IL    62263‐5117
JOHN D GORDON CUST SHANE G BOURKE UTMA IL       17630 HIGHLAND AVE                                                                              TINLEY PARK     IL    60477‐4334

JOHN D GRASSEL                                  PO BOX 2213                                                                                     MONROE          MI    48161‐7213
JOHN D GREEN                                    1830 SO 13TH AVE                                                                                BROADVIEW       IL    60155‐3182
JOHN D GREEN                                    1747 WEST 64TH STREET                                                                           INDIANAPOLIS    IN    46260‐4416
JOHN D GRIFFITH                                 352 N MERIDIAN ST                                                                               GREENWOOD       IN    46143‐1251
JOHN D GRILL                                    625 FORCE                                                                                       ATTICA          MI    48412
JOHN D GRINNELL                                 1247 HEMINGWAY RD                                                                               LAKE ORION      MI    48360‐1231
JOHN D GROCE                                    PO BOX 187                                                                                      INDIANOLA       IL    61850‐0187
JOHN D GROMER                                   2653 LEACH RD                                                                                   AUBURN HEIGHT   MI    48309‐3558
JOHN D GROUNDS                                  PO BOX 1167                                                                                     BEDFORD         IN    47421‐1167
JOHN D GRUBBS                                   1469 CULLEOKA HWY                                                                               CULLEOKA        TN    38451‐2711
JOHN D GRYN                                     37764 CHARTER OAKS BLVD                                                                         CLINTON TWP     MI    48036‐4434
JOHN D GUSTAFSON & DIANE L GUSTAFSON JT TEN     2570 E 259TH ROAD                                                                               PERU            IL    61354‐9408

JOHN D HACKER                                 6830 TOWN HARBOUR BLVD                   APT 3524                                                 BOCA RATON      FL    33433‐5004
JOHN D HALBERT                                339 N OKEMOS ST                                                                                   MASON           MI    48854‐1269
JOHN D HAMILTON                               2554 STURTEVANT                                                                                   DETROIT         MI    48206‐3610
JOHN D HARGRAVES & BETH ANN HARGRAVES TEN COM 4200 DABISH DR                                                                                    LAKE ORION      MI    48362‐1022

JOHN D HARTFORD                                 9645 SW 192ND COURT RD                                                                          DUNNELLON       FL    34432‐4235
JOHN D HEFLIN JR                                609 SUNNYSIDE SCHOOL RD NE                                                                      BLUE SPRINGS    MO    64014‐2960
JOHN D HELTON                                   6445 ST RT 132                                                                                  GOSHEN          OH    45122‐9225
JOHN D HEMPEL                                   28720 GALLOWAY                                                                                  ROSEVILLE       MI    48066‐4258
JOHN D HENDRICKS                                11650 RED ROCK RD                                                                               GLOUSTER        OH    45732‐9025
JOHN D HENRY                                    1752 ELLEN DR                                                                                   INDIANAPOLIS    IN    46224‐5519
JOHN D HETRICK                                  2084 RANDON DRIVE                                                                               MANSFIELD       OH    44904‐1660
JOHN D HICKMAN                                  821 ELIZABETH                                                                                   LIBERTY         MO    64068‐2066
JOHN D HILL                                     THE GARDENS                            115 ELMWOOD CIRCLE                                       SEMINOLE        FL    33777‐4831
JOHN D HILL & ALVARITA S HILL JT TEN            6350 N 78TH ST                         UNIT 269                                                 SCOTTSDALE      AZ    85250‐4783
JOHN D HILLOCK & PATRICIA HILLOCK JT TEN        9494 E MT MORRIS RD                                                                             DAVISON         MI    48423‐9371
JOHN D HITCHCOCK                                109 MARION DR                                                                                   ROCKPORT        TX    78382‐6805
JOHN D HOLLIDAY & MARTHA L HOLLIDAY JT TEN      RR1 BOX 40                                                                                      LIBERTY         KS    67351‐9114
JOHN D HOLLIDAY & MARTHA L HOLLIDAY JT TEN      3021 CR 5100                                                                                    LIBERTY         KS    67351
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 144 of 855
Name                                            Address1                             Address2             Address3          Address4          City               State Zip

JOHN D HONTO                                    9201 LYON                                                                                     DETROIT            MI    48209‐3602
JOHN D HOPKINS & JEAN W HOPKINS JT TEN          208 PLYMOUTH DRIVE                   PO BOX 366                                               CHARLOTTE          MI    48813‐0366
JOHN D HOUSE                                    3349 TRUELOVE ROAD                                                                            GAINESVILLE        GA    30507‐8568
JOHN D HOWARD                                   13324 TELEGRAPH RD                                                                            FLATROCK           MI    48134‐9652
JOHN D HOWLETT                                  7752 GENTRY AVENUE                                                                            NO HOLLYWOOD       CA    91605‐2855
JOHN D HUDSPETH                                 6203 CALLA STREET                                                                             TOLEDO             OH    43615‐4346
JOHN D HUFFMAN                                  21325 GOLDEN RD                                                                               LINWOOD            KS    66052‐4014
JOHN D HUGHES                                   437 SHREWSBURY ST                                                                             HOLDEN             MA    01520‐2151
JOHN D HURLOCK                                  1016 STORRINGTON DR                                                                           FREDERICK          MD    21702‐5140
JOHN D HYLTON                                   1350 RENEE DRIVE                                                                              PLAINFIELD         IN    46168‐9293
JOHN D IRBY                                     2005 42ND AVE                                                                                 MERIDIAN           MS    39301‐3013
JOHN D JACKSON                                  154 WESTGATE DRIVE                                                                            MANSFIELD          OH    44906‐2844
JOHN D JEZUSEK                                  40742 MATLOCK                                                                                 STERLING HEIGHTS   MI    48310‐6919

JOHN D JOHNSON                                  8746 W NEWBURG RD                                                                             CARLETON           MI    48117‐9491
JOHN D JOHNSON                                  191 DOGWOOD PATH LN                                                                           HENDERSONVILLE     NC    28739‐6259
JOHN D JOHNSON CUST DAVID LEE JOHNSON UTMA KY   7534 PIMLICO DR                                                                               LOUISVILLE         KY    40214‐4068

JOHN D JONES                                    3221 RAYNELL ST                                                                               LANSING            MI    48911‐2862
JOHN D JUSTICE                                  6435 SPRINGDALE                                                                               GRAND BLANC        MI    48439‐8551
JOHN D KARLE                                    1065 LEXINGTON AVE                                                                            NEW YORK           NY    10021‐3274
JOHN D KELLIHER                                 5 MCKINLEY AVE                                                                                YARDLEY            PA    19067‐1309
JOHN D KERKAU                                   507 SO SHERMAN                                                                                BAY CITY           MI    48708‐7481
JOHN D KERNS & MARIE E KERNS JT TEN             6715 DEER RUN TRAIL                                                                           SAGINAW            MI    48603‐8623
JOHN D KILLION                                  12585 GRANDEZZA CIR                                                                           ESTERO             FL    33928‐7737
JOHN D KING                                     5461 E 1ST ST                                                                                 AU GRES            MI    48703‐9575
JOHN D KING                                     206 MENNONITE CAMP RD                                                                         MT PLEASANT        PA    15666‐0151
JOHN D KLUTTS                                   3104 S CENTER ROAD                                                                            BURTON             MI    48519‐1462
JOHN D KOLLER                                   34 DENNIS DR                                                                                  LEOMINSTER         MA    01453‐7014
JOHN D KOOB                                     PO BOX 444                                                                                    DANVERS            MA    01923‐0744
JOHN D KORMANIK CUST KRISTEN L KORMANIK UGMA    5527 CARA COURT                                                                               DUBLIN             OH    43016‐8700
CT
JOHN D KOSHA                                    1856 DALEY DR                                                                                 REESE              MI    48757‐9231
JOHN D KOVACH                                   4853 UPPER MT RD                                                                              LOCKPORT           NY    14094
JOHN D KREGER TR UA 11/17/93 JOHN D KREGER      2014 GLENWOOD DR                                                                              STERLING HEIGHTS   MI    48310‐1752
REVOCABLE LIVING TRUST
JOHN D KRUEGER                                  BOX 344                                                                                       OSSINING           NY    10562‐0344
JOHN D KRUEGER                                  1652 MORNINGVIEW DRIVE                                                                        YORKTOWN           NY    10598‐5511
                                                                                                                                              HEIGHTS
JOHN D KURTZ IV                                 2325 W 16TH ST                                                                                WILMINGTON         DE    19806‐1306
JOHN D LAFERTY JR                               490 SMITH RD                                                                                  COLUMBUS           OH    43228‐1144
JOHN D LAGADINOS                                540 N W HILLERY                                                                               BURLESON           TX    76028‐3537
JOHN D LANSBERRY                                48535 SIDNEY DR                                                                               MACOMB             MI    48044‐5621
JOHN D LASHLEY                                  RR #9                                CHUCKERY HILL RD     PICTON ON         K0K 2T0 CANADA
JOHN D LAUN & MRS ANNE M LAUN JT TEN            PO BOX 748                                                                                    SHEPHERDSVILLE     KY    40165‐0748
JOHN D LEE & MRS ROBERTA L LEE JT TEN           2800 FIELD CREST DR                                                                           PONCA CITY         OK    74604‐3208
JOHN D LEMOS                                    149 TITUS ST                                                                                  CUMBERLAND         RI    02864‐8224
JOHN D LENT II                                  180 PELHAMDALE AVENUE                                                                         PELHAM             NY    10803‐2213
JOHN D LEWIS                                    14538 MORRISH RD                                                                              MONTROSE           MI    48457‐9723
JOHN D LONG                                     2584 ALVESTON DR                                                                              BLOOMFIELD HILLS   MI    48304‐1800

JOHN D LOVE CUST TOBAE FRANCES LOVE UGMA SC     BOX 2144                                                                                      CAYCE              SC    29171‐2144

JOHN D LUCAS                                     676 MIDWAY STREET                                                                            LEWISBURG          TN    37091‐4123
JOHN D LUCZKA TR JOHN D LUCZKA TRUST UA 07/12/99 3450 S RUSSELL RD                                                                            NEW BERLIN         WI    53151‐4651

JOHN D LUOMA & JANET C LUOMA JT TEN             66 BELLEVUE AVE                                                                               UPPER MONTCLAIR NJ       07043‐2430
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 145 of 855
Name                                            Address1                                Address2             Address3          Address4          City            State Zip

JOHN D LYNHAM & THELMA W LYNHAM JT TEN          24 BIRNIE AVENUE                                                                                 WEST SPRINGFIELD MA   01089‐4402

JOHN D MAC GILLIS                               1444 SUMMERLAND AVE                                                                              LEESVILLE       SC    29070‐7984
JOHN D MAC INNIS                                30 LOYAL HILL CRESCENT                  OTTAWA ON                              K2M 2C8 CANADA
JOHN D MACEACHEN                                1640 N RANDOLPH ST                                                                               ARLINGTON        VA   22207‐3025
JOHN D MACK TR JOHN D MACK TRUST UA 2/24/89     1625 COLGATE DR                                                                                  COLORADO SPRINGS CO   80918‐8107

JOHN D MADDIN                                   2411 HICKORY GLEN LN                                                                             BURLINGTON      KY    41005‐7814
JOHN D MADOLE                                   609 SHADY LANE                                                                                   NASHVILLE       TN    37206‐1837
JOHN D MAGEE & LILLIAN M MAGEE JT TEN           PO BOX 277                                                                                       HARVEY          ND    58341‐0277
JOHN D MAJOROS                                  11635 GALLEGHER                                                                                  HAMTRAMCK       MI    48212‐3151
JOHN D MALLORY JR                               13640 E STATE FAIR ST                                                                            DETROIT         MI    48205‐1863
JOHN D MANN                                     9033 S 250 E                                                                                     HAMLET          IN    46532
JOHN D MANNING                                  449 JULIANA DRIVE                       OSHAWA ON                              L1G 2E9 CANADA
JOHN D MARKO                                    611 S ADAMS                                                                                      SAGINAW          MI   48604‐1404
JOHN D MARSHALL                                 4411 SO ST RD 109                                                                                ANDERSON         IN   46013‐3445
JOHN D MARTIN                                   8327 TORREY RD                                                                                   GRAND BLANC      MI   48439‐9331
JOHN D MARTINEK                                 796 PRENTICE RD                                                                                  WARREN           OH   44481‐9472
JOHN D MC BRIDE                                 1716 KILRUSS DR                                                                                  VENICE           FL   34292‐4312
JOHN D MC CLARY                                 3431 ARROWVALE                                                                                   ORCHARD LAKE     MI   48324‐1505
JOHN D MC CONNELL                               627 HUDSON STREET                                                                                BURLINGTON       KS   66839‐1617
JOHN D MC DANIELS                               3138 ELMMEDE RD                                                                                  ELLICOTT CITY    MD   21042‐2320
JOHN D MC KILLIP                                9006 MCILVAIN DR                                                                                 INDIANAPOLIS     IN   46256‐2244
JOHN D MC LAUGHLIN                              1643 S 8 MILE ROAD                                                                               BRECKENRIDGE     MI   48615‐9619
JOHN D MC MINN                                  1290 W SWEET RAIN DR                                                                             COLLIERVILLE     TN   38017‐3846
JOHN D MC SPADDEN                               30172 SPRAY DR                                                                                   CANYON LAKE      CA   92587‐7436
JOHN D MCCOMBS                                  836 WELLMON ST                                                                                   BEDFORD          OH   44146‐3854
JOHN D MCCUTCHEON                               42822 RAVENSBOURNE PARK ST                                                                       FREMONT          CA   94538‐3984
JOHN D MEYER & CATHERINE MEYER JT TEN           466 SANDY HOOK ROAD                                                                              TREASURE ISLAND FL    33706‐1211
JOHN D MICK                                     771 GOLF VILLA DR                                                                                OXFORD           MI   48371
JOHN D MILLER                                   4162 N CLARENDON #3                                                                              CHICAGO          IL   60613‐2297
JOHN D MITCHELL                                 5300 N OSCEOLA AVE                                                                               CHICAGO          IL   60656‐1720
JOHN D MITCHELL                                 6727 FOUNTAIN LN N                                                                               OSSEO            MN   55311
JOHN D MIXSELL JR                               104 ORCHARD DR                                                                                   DENVER           IA   50622‐9704
JOHN D MONTGOMERY                               620 MANATAWNY ST                        APT 56                                                   POTTSTOWN        PA   19464‐5192
JOHN D MOORE                                    1351 CURLEW AVE                         APT 102                                                  NAPLES           FL   34102‐3482
JOHN D MOORE                                    6499 GLENMONT DR                                                                                 HAMILTON         OH   45011‐5016
JOHN D MOORE                                    1351 CURLEW AVE                         APT 102                                                  NAPLES           FL   34102‐3482
JOHN D MORRISON                                 1968 MENDOCINO BLVD                                                                              SAN DIEGO        CA   92107‐2304
JOHN D MORROW                                   2145 E BUDER                                                                                     BURTON           MI   48529‐1733
JOHN D MORROW                                   65 HOWARD AVE                                                                                    ROCHELLE PARK    NJ   07662‐3522
JOHN D MOSCRIP                                  589 DALE ST                                                                                      MARTINSVILLE     IN   46151‐3114
JOHN D MULHOLLAND                               2608 WEST MASON RD                                                                               OWOSSO           MI   48867‐9376
JOHN D MULLEN                                   5640 RED LION‐FIVE POINTS                                                                        SPRINGBORO       OH   45066‐7707
JOHN D MULLINS                                  127 KISER LN                                                                                     SELMER           TN   38375‐1933
JOHN D MURATORE                                 PO BOX 82                                                                                        CASTALIA         OH   44824‐0082
JOHN D MYERS                                    28303 FORESTBROOK                                                                                FARMINGTON HILLS MI   48334‐5214

JOHN D MYERS                                    185 MICHAEL RD                                                                                   LAPEER          MI    48446‐9406
JOHN D NEGREA                                   22 ARNOKIE LN                                                                                    PULASKI         PA    16143‐1332
JOHN D NELSON                                   PO BOX 25                                                                                        COLUMBIA        IL    62236‐0025
JOHN D NEUMAN JR                                656 MEEK ST                                                                                      CARO            MI    48723‐1628
JOHN D NIEDERHAUSER                             8425 ELMHURST CIR                       APT 3                                                    BIRCH RUN       MI    48415‐9285
JOHN D NOVAK & JULEY A NOVAK JT TEN             19477 WALTHAM                                                                                    BIRMINGHAM      MI    48025‐5124
JOHN D NUGENT                                   7 DEER RUN                                                                                       EXETER          NH    03833‐4517
JOHN D O'BOYLE                                  3203 BRISTOL DRIVE                                                                               WILMINGTON      DE    19808‐2415
JOHN D OBERHAUSEN                               667 BUCKSVILLE ROAD                                                                              AUBURN          KY    42206‐9024
JOHN D ODNEAL                                   187 N ADAMS                                                                                      BIRMINGHAM      MI    48009‐5988
JOHN D ODNEAL & MRS M MAYE ODNEAL JT TEN        187 N ADAMS                                                                                      BIRMINGHAM      MI    48009‐5988
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 146 of 855
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

JOHN D ODONNELL                                  7015 RUSHMORE WAY                                                                                CONCORD            OH    44077‐2301
JOHN D OHAROLD                                   1642 S STATE ROUTE 123                                                                           LEBANON            OH    45036‐8925
JOHN D OLES & JOAN D OLES JT TEN                 2112 COUNTY LINE ROAD                                                                            ALDEN              NY    14004‐9712
JOHN D OLESON & CAROL A OLESON JT TEN            2401 BURLINGTON DR                                                                               MIDLAND            MI    48642‐3885
JOHN D OLSEN                                     27667 26 MILE RD                                                                                 NEW HAVEN          MI    48048‐2432
JOHN D OSHABEN                                   4824 JODY LYNN DR                                                                                MENTOR             OH    44060‐1313
JOHN D OTTEMILLER                                313A SHERWOOD DRIVE                                                                              YORK               PA    17403‐4332
JOHN D OWENS                                     4062 CUMBERLAND DRIVE                                                                            SALT LAKE CITY     UT    84124‐1761
JOHN D OWENS                                     1024 OCEANBREEZE CT                                                                              ORLANDO            FL    32828‐8626
JOHN D PADILLA                                   6938 E QUAIL TRACK DR                                                                            SCOTTSDALE         AZ    85266‐8866
JOHN D PARKER                                    746 CARRIAGEWAY COURT                                                                            PALATINE           IL    60067‐7143
JOHN D PARKER                                    4238 W 21ST ST                                                                                   CHICAGO            IL    60623‐2754
JOHN D PARKER TR UA 06/06/86 EDWARD CLARK        13626 DURANGO DRIVE                                                                              DEL MAR            CA    92014‐3421
PARKER TRUST
JOHN D PATTON JR                                 16160 CHERRYLAWN ST                                                                              DETROIT            MI    48221‐2931
JOHN D PIGGOTT                                   9591 EAST TOWNLINE RD                                                                            FRANKENMUTH        MI    48734‐9556
JOHN D PIROSKO & REGINA PIROSKO JT TEN           2397 S ATHEY                                                                                     CLARE              MI    48617‐9776
JOHN D PLUMMER                                   1101 SOUTH CR 625 EAST                                                                           SELMA              IN    47383‐9650
JOHN D POLING & VIRGINIA A POLING JT TEN         5 PILGRIM CT                                                                                     CONVENT STATION    NJ    07960‐5737

JOHN D POLK 2ND                                  5035 S 195TH EAST PLACE                                                                          BROKENARROW        OK    74014‐8072
JOHN D POMAVILLE                                 41037 HARVEST LN                                                                                 CLINTON TWP        MI    48038‐4992
JOHN D POPOVICH                                  2830 W 102ND ST                                                                                  EVERGREEN PK       IL    60805‐3551
JOHN D POST                                      7857 CASTLE ROCK DR NE                                                                           WARREN             OH    44484‐1410
JOHN D POTTER                                    402 WELLER ST                                                                                    YORKTOWN           IN    47396
JOHN D PRICE                                     PO BOX 286                                                                                       COLUMBIANA         OH    44408‐0286
JOHN D PRIVETTE & PATRICIA M PRIVETTE JT TEN     7441 BLOOMFIELD PL                                                                               DUBLIN             OH    43016‐9170
JOHN D PROVITZ                                   42621 SCHIENLE LN                                                                                CLINTON TWP        MI    48038‐5012
JOHN D PUCKETT                                   5246 BELFAST RD RR #3                                                                            BATAVIA            OH    45103‐9671
JOHN D QUINN                                     PO BOX 63                                                                                        SPRUCE PINE        AL    35585‐0063
JOHN D RANSOM                                    17286 FARMINGTON RD                                                                              LIVONIA            MI    48152‐3151
JOHN D RATKOVICH                                 1 RATKOVICH LN                                                                                   BEDFORD            IN    47421‐8546
JOHN D RAUGHLEY                                  5 DAVIES ROAD                                                                                    NEWARK             DE    19713‐1803
JOHN D REAGAN & ARIS M REAGAN JT TEN             2092 THOMAS                                                                                      BERKLEY            MI    48072‐1033
JOHN D REDDICK & SOYNA ALLEN JT TEN              465 SW COLLEGE PARK RD                                                                           PORT SAINT LUCIE   FL    34953‐6224
JOHN D REICHERT                                  3343 WALTAN ROAD                                                                                 VASSAR             MI    48768
JOHN D REID                                      5931 THE KNOLLS                                                                                  LINCOLN            NE    68512‐1944
JOHN D RICKMAN                                   9828 GODFREY RD                                                                                  BANCROFT           MI    48414‐9757
JOHN D RINEHART & JUDITH A RINEHART JT TEN       1102 BONANZA DR                                                                                  OKEMOS             MI    48864‐4068
JOHN D RING                                      20631 HGWY 266                                                                                   ROCKY FORD         CO    81067
JOHN D RITTER & CAROL S RITTER JT TEN            2605 FORGE DRIVE                        BRANDYWINE FORGE                                         WILMINGTON         DE    19810‐1043
JOHN D ROBBINS                                   76 AVIS MILL ROAD                                                                                PILESGROVE         NJ    08098‐3001
JOHN D ROBERTS                                   9215 OAK SPRINGS CT                                                                              RICHMOND           VA    23229‐4067
JOHN D ROBERTS                                   C/O GENEVA ROBERTS                      2033 WARNER AVE                                          FLINT              MI    48503‐4072
JOHN D ROBERTS & JENNIFER M ROBERTS JT TEN       778 BARKER RD                                                                                    FREMONT            OH    43420‐3178
JOHN D ROBERTSON                                 1160 ROLLING ACRES DR                                                                            DELAND             FL    32720‐2336
JOHN D ROBINSON JR                               11806 EAST PARKVIEW LN                                                                           SCOTTSDALE         AZ    85255‐5937
JOHN D ROCK                                      13558 GARFIELD                                                                                   REDFORD            MI    48239‐4513
JOHN D ROESER                                    PO BOX 1583                                                                                      GYPSUM             CO    81637‐1583
JOHN D ROGERS JR                                 9000 INVERNESS DR NE                                                                             SEATTLE            WA    98115‐3980
JOHN D ROMEO                                     61 WESTCOTT BLVD                                                                                 STATEN ISLAND      NY    10314
JOHN D ROOT JR                                   180 PINE VISTA DRIVE                                                                             PINEHURST          NC    28374‐9200
JOHN D ROOT JR & BONNIE J ROOT JT TEN            180 PINE VISTA DRIVE                                                                             PINEHURST          NC    28374‐9200
JOHN D ROOT JR CUST JOHN D ROOT III UGMA NY      312 S FRENCH STREET                     PO BOX 5725                                              BRECKENRIDGE       CO    80424‐5725
JOHN D ROSS                                      11412 HARTEL RD                                                                                  GRAND LEDGE        MI    48837
JOHN D ROYER                                     4115 OLD DOMINION RD                                                                             ORLANDO            FL    32812‐7929
JOHN D RUDICK JR                                 5385 ERNEST ROAD                                                                                 LOCKPORT           NY    14094‐5406
JOHN D RYAN                                      537 PENN MANOR DRIVE                                                                             NEWARK             DE    19711‐2464
JOHN D RYNARD                                    11021 LAKEVIEW DR                                                                                CARMEL             IN    46033‐3939
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 147 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

JOHN D SABINI                                    35‐20 73RD ST                                                                                  JACKSON HEIGHTS    NY    11372‐4149

JOHN D SAMUELS                                   10 CARLYLE PLACE                                                                               THE WOODLANDS      TX    77382‐2589
JOHN D SANBORN                                   4345 MEIGS AVE                        STE A1                                                   WATERFORD          MI    48329‐1877
JOHN D SANGSTER JR                               4743 PETIBONE                                                                                  SAGINAW            MI    48601‐6653
JOHN D SANZONE                                   1504 EASTOVER PLACE                                                                            OLD HICKORY        TN    37138‐1989
JOHN D SAWLE                                     PO BOX 1204                                                                                    FLINT              MI    48501‐1204
JOHN D SCHAFER & KAREN C SCHAFER JT TEN          PO BOX 237                                                                                     NORTH TURNER       ME    04266‐0237
JOHN D SCHEFFLER                                 PO BOX 7                                                                                       BIRCH RUN          MI    48415
JOHN D SCHUTZ                                    17 SCHLENKER AVE                                                                               CHEEKTOWAGA        NY    14225‐5103
JOHN D SCULLY & MRS MARY B SCULLY JT TEN         204 CHAMPLAIN DR                                                                               PLATTSBURGH        NY    12901‐4201
JOHN D SERES                                     8208 GLENWOOD AVE                                                                              YOUNGSTOWN         OH    44512‐5810
JOHN D SHAW JR CUST ELIZABETH A SHAW UGMA NY     PO BOX 236                                                                                     CEDAR‐KNOLLS       NJ    07927‐0236

JOHN D SHEARER                                   407 ALDRICH ST                                                                                 LINDEN             MI    48451
JOHN D SHULL                                     5544 WINCHESTER RD                                                                             FORT WAYNE         MI    48619‐1130
JOHN D SHULTHEIS                                 3350 SALT LAKE RD                                                                              INDPLS             IN    46214‐1421
JOHN D SHUTTS                                    6611 WESTFALL RD                                                                               GREENVILLE         OH    45331
JOHN D SIKORSKI & LAWRENCE J SIKORSKI JT TEN     28366 ALINE DR                                                                                 WARREN             MI    48093‐2658
JOHN D SIMCHOCK                                  870 BROADWAY                                                                                   BRENTWOOD          NY    11717‐7531
JOHN D SLAY SR                                   3800 SW BLVD                                                                                   FORT WORTH         TX    76116
JOHN D SLIFKA                                    23 WOODLAND DR                                                                                 N MIDDLETOWN       OH    44442‐9412
JOHN D SMALSTIG                                  1531 ROBERTSON DR                                                                              PITTSBURGH         PA    15237‐1652
JOHN D SMIROS                                    13816 EBY                                                                                      OVERLAND PARK      KS    66221‐2002
JOHN D SMITH                                     8966 WEST 783 NORTH                                                                            HUNTINGTON         IN    46750‐8830
JOHN D SNAKENBERG                                3214 WETHER BYRNE RD                                                                           KENNESAW           GA    30144‐3036
JOHN D SNODGRASS                                 11198 ROLSTON RD                                                                               BYRON              MI    48418‐9018
JOHN D SNYDER                                    1500 6TH AVE S                                                                                 CLINTON            IA    52732‐5343
JOHN D SNYDER                                    2819 WHITE OAK DR                                                                              DAYTON             OH    45420‐2249
JOHN D SOLTAU                                    2348 DEERFIELD CT                                                                              GREENWOOD          IN    46143‐9107
JOHN D SPARKS                                    817 SQUIRE HILL DR                                                                             CRESCENT SPRINGS   KY    41017‐1335

JOHN D SPARKS II                                 5936 FAIRHAM AVENUE                                                                            HAMILTON           OH    45011‐2037
JOHN D SPULLER                                   8821 HUDSON CT NE                                                                              BAINBRIDGE IS      WA    98110‐3682
JOHN D ST CLAIR                                  217 SANFORD ST                                                                                 RAVENNA            OH    44266‐3315
JOHN D STAFFORD                                  2354 STANDING PEACHTREE CT NW                                                                  KENNESAW           GA    30152‐5845
JOHN D STAHL JR                                  8718 CAMBRIDGE DR                                                                              VERSAILLES         OH    45380‐9569
JOHN D STEDMAN                                   PO BOX 1257                                                                                    LOCKHART           TX    78644‐1257
JOHN D STINSON & RONALD R STINSON JT TEN         3388 COSEYBURN RD                                                                              WATERFORD          MI    48329‐4300
JOHN D STOCKTON                                  PO BOX 3                                                                                       RINGWOOD           IL    60072‐0003
JOHN D STOWE & MRS LINDA STOWE JT TEN            7895 BITTERSWEET CT                                                                            ATHENS             OH    45701‐9712
JOHN D STRANGE                                   28285 BLUM ST                                                                                  ROSEVILLE          MI    48066‐4755
JOHN D STRICKLAND                                7901 N CORTARO RD APT 11105                                                                    TUCSON             AZ    85743
JOHN D STROHL                                    #252                                  19820 N 13TH AVE                                         PHOENIX            AZ    85027‐4316
JOHN D STUCKLESS                                 28 HUDSON                                                                                      PONTIAC            MI    48342‐1243
JOHN D SULLIVAN                                  25 HILLCREST RD                                                                                MILTON             MA    02186‐4852
JOHN D SUTTERLIN                                 12 WHITEBRIDGE                                                                                 FRANKFORT          KY    40601‐3864
JOHN D SWAN JR                                   6250 SW 16TH CT                                                                                POMPANO BEACH      FL    33068
JOHN D SWIFT                                     750 LANGDON RD                                                                                 ERIE               PA    16509‐6706
JOHN D SWIFT & KATHLEEN G SWIFT JT TEN           12015 BROOKFIELD CLUB DR                                                                       ROSWELL            GA    30075‐1260
JOHN D TACKNEY                                   34 CATHERINE DR                       WHITBY ON                              L1R 1L7 CANADA
JOHN D TALLENT                                   RT 4 BOX 683                                                                                   ALBANY             KY    42602‐9348
JOHN D TALLEY                                    3814 BOWERS AVE                                                                                BALTIMORE          MD    21207‐7005
JOHN D TAYLOR                                    8849 RIDGE HILL DR                                                                             INDIANAPOLIS       IN    46217‐4643
JOHN D TEEGARDEN                                 1827 S SWEETBRIAR LN                                                                           SPRINGFIELD        OH    45505‐4333
JOHN D THEEUWEN                                  2119 BLACKTHORN DR                                                                             BURTON             MI    48509‐1201
JOHN D THOMSON                                   11841 OLD SCUGOG RD                   BLACKSTOCK ON                          L0B 1B0 CANADA
JOHN D THORNE                                    3203 RIVER BLUFF                                                                               BEDFORD            IN    47421‐9145
JOHN D THORNHILL                                 1800 W HWY 287 BYPASS                                                                          WAXAHACHIE         TX    75167‐5088
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 148 of 855
Name                                          Address1                               Address2                Address3       Address4          City              State Zip

JOHN D THYEN & SANDRA M THYEN JT TEN          1012 CLAREMONT DRIVE                                                                            COLUMBIA          TN    38401‐6207
JOHN D TICE                                   1170 W MAIN ST                         FRNT                                                     STROUDSBURG       PA    18360‐1324
JOHN D TOOLE & ELEANOR D TOOLE JT TEN         304 FORMAN AVE                                                                                  PT PLEASANT BEACH NJ    08742‐3239

JOHN D TREGEMBO                               11333 ASPEN DRIVE                                                                               PLYMOUTH          MI    48170‐4526
JOHN D TREGEMBO & BETTY M TREGEMBO JT TEN     11333 ASPEN DR                                                                                  PLYMOUTH          MI    48170‐4526
JOHN D TUCK                                   93 OAKRIDGE CRESCENT                   PORT COLBORNE ONTARIO   CANANDA        L3K 2T5 CANADA
JOHN D TUCKFIELD                              1195 WHITETAIL TRAIL                                                                            MT PLEASANT       MI    48858
JOHN D UBER                                   821 FINE STREET                                                                                 FILLMORE          CA    93015‐1347
JOHN D VANOVER                                35689 VICKSBURG RD                                                                              FARMINGTON HL     MI    48018
JOHN D VIARS                                  484 ELK FOREST RD                                                                               ELKTON            MD    21921‐8215
JOHN D VICHICH                                122 CROSSING RIDGE TRAIL                                                                        CRANBERRY TWP     PA    16066
JOHN D VICHICH & ROBERT D VICHICH JT TEN      122 CROSSING RIDGE TRAIL                                                                        CRANBERRY         PA    16066‐6508
                                                                                                                                              TOWNSHIP
JOHN D VINCENT                                PO BOX 577                                                                                      ORGAN             NM    88052‐0577
JOHN D VOGELMAN                               46 N SHORE DR                                                                                   BUFFALO           NY    14219
JOHN D VOGT JR CUST ANDREW NICHOLAS VOGT UTMA PO BOX 2087                                                                                     ORTING            WA    98360
WA
JOHN D VOGT JR CUST DANIEL JACKSON VOGT UTMA  PO BOX 2087                                                                                     ORTING            WA    98360
WA
JOHN D W REILEY                               1928 MAHANTONGO ST                                                                              POTTSVILLE        PA    17901‐3205
JOHN D WADE                                   2509 FRANKLIN AV                                                                                LOUISVILLE        KY    40216‐2923
JOHN D WAGERS                                 1779 WHITE OAK LN                                                                               MARTINSVILLE      IN    46151‐8706
JOHN D WAITE                                  11615 E VIA CANADA                                                                              YUMA              AZ    85367‐7249
JOHN D WARTENBERG                             115 S OAKLEY ST                                                                                 SAGINAW           MI    48602‐2353
JOHN D WEATHERLY                              1721 S 5TH AVE                                                                                  MAYWOOD           IL    60153‐2134
JOHN D WEIDNER GERALDINE WEIDNER TR WEIDNER   80 FRONT ST                            APT 205                                                  SANTA CRUZ        CA    95060‐5085
FAM TRUST UA 06/01/99
JOHN D WEILAND                                11019 TIMOTHY LN                                                                                ROANOKE           IN    46783‐9618
JOHN D WERKMEISTER                            1333 W 120TH AVE                       SUITE 210                                                WESTMINSTER       CO    80234
JOHN D WHITE                                  7812 W MONTEBELLO AVE                                                                           GLENDALE          AZ    85303‐4610
JOHN D WHITE                                  8109 ORCHARDVIEW DR                                                                             ROMEO             MI    48095‐1345
JOHN D WILKINSON                              1287 WEST EFLAND LANE                                                                           CITRUS SPRINGS    FL    34434‐6651
JOHN D WILLEFORD                              401 W CHARLOTTE DR                                                                              OKLAHOMA CITY     OK    73139‐8709
JOHN D WILSON                                 BOX 270                                                                                         AUBURN            IN    46706‐0270
JOHN D WILSON & RONDA BARRAGREE WILSON JT TEN 1529 TULEY ST                                                                                   CEDAR HILL        TX    75104‐4913

JOHN D WILSON SR & ERICA M WILSON JT TEN      1423 CHESTNUT ST                       # 201                                                    KENOVA            WV    25530‐1235
JOHN D WINTERS                                C/O J W SHELTON                        RR #1 BOX 23‐D                                           PERU              IN    46970‐9711
JOHN D WOLFGANG                               9560 BIG LAKE ROAD                                                                              CLARKSTON         MI    48346‐1056
JOHN D WOLFGANG & DEBRA A WOLFGANG JT TEN     9560 BIG LAKE RD                                                                                CLARKSTON         MI    48346‐1056

JOHN D WOLFGANG CUST DONOVAN A WOLFGANG       9560 BIG LAKE ROAD                                                                              CLARKSTON         MI    48346‐1056
UTMA MI
JOHN D WOLFGANG CUST MAXIMILIAN V WOLFGANG    9560 BIG LAKE ROAD                                                                              CLARKSTON         MI    48346‐1056
UTMA MI
JOHN D WOLFGANG CUST VICTORIA R WOLFGANG      9560 BIG LAKE ROAD                                                                              CLARKSTON         MI    48346‐1056
UTMA MI
JOHN D WOOD                                   RFD1                                                                                            SWOOPE            VA    24479‐9801
JOHN D WOOD                                   10532 N CARTHAGE PIKE                                                                           CARTHAGE          IN    46115‐9793
JOHN D WOODRUFF                               PO BOX 115                                                                                      MOUNT VERNON      NY    10552‐0115
JOHN D WOODWORTH JR                           2210 S M52                                                                                      OWOSSO            MI    48867‐9206
JOHN D WRIGHT                                 19 UNION ST                                                                                     TAUNTON           MA    02780‐3340
JOHN D WYDNER                                 8267 DANVILLE RD                                                                                DANVILLE          AL    35619‐6412
JOHN D WYSONG                                 PO BOX 5                                                                                        WEST ALEXANDRIA   OH    45381‐0005

JOHN D YARDLEY                                404 WEST LN                                                                                     NORTH MUSKEGON MI       49445‐2740

JOHN D YEAZEL SR & JANICE K YEAZEL JT TEN     4865 BITTERSWEET WAY                                                                            SPRINGFIELD       MO    65809
                                          09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 149 of 855
Name                                            Address1                               Address2             Address3          Address4          City             State Zip

JOHN D YOUNG                                    7463 WOODBRIAR LN                                                                               W BLOOMFIELD    MI     48322‐2887
JOHN D YOUNG                                    7463 WOODBRIAR LANE                                                                             WEST BLOOMFIELD MI     48322‐2887

JOHN D ZACKER                                   241 WOLF ROAD                                                                                   MANSFIELD        OH    44903‐9659
JOHN D ZERBE JR                                 205 DORADO DRIVE                                                                                CHERRY HILL      NJ    08034‐2908
JOHN D ZERKA                                    2331 N EAST DR                                                                                  TAWAS CITY       MI    48763‐8702
JOHN D'URSO CUST NICHOLAS D'URSO UGMA NY        25 S CRANFORD RD                                                                                BARDONIA         NY    10954‐2024
JOHN DALE LEA                                   826 OLD LANDING ROAD                                                                            COVINGTON        LA    70433
JOHN DALE PAETZEL & LARRY L PAETZEL JT TEN      10251 N 350 E                                                                                   COLUMBUS         IN    47203‐9721
JOHN DALEDA II                                  112 CAROPINE DR                                                                                 SURFSIDE BEACH   SC    29575‐4714
JOHN DALEY & DOROTHY DALEY JT TEN               7310 N 39TH TER                                                                                 OMAHA            NE    68112‐2539
JOHN DANCU JR                                   8807 EDGE WOOD PARK DR                                                                          COMMERCE TWP     MI    48382‐4444
JOHN DANIEL LOVE                                6921 TOURAINE DR                                                                                FLINT            MI    48505‐2473
JOHN DANIEL SCOTT II                            5377 GALBERRY LANE                                                                              GOLF BREEZE      FL    32563‐9588
JOHN DARRELL JONES                              43303 S INTERSTATE 94 SERVICE DR                                                                BELLEVILLE       MI    48111‐4809
JOHN DAVID                                      9692 N BARRY                                                                                    WHEELER          MI    48662‐9733
JOHN DAVID ARMSTRONG                            18802 N 96TH LANE                                                                               PEORIA           AZ    85382‐2604
JOHN DAVID BALL                                 700 FRONT ST #2203                                                                              SAN DIEGO        CA    92101‐6097
JOHN DAVID BUCK                                 423 S ROLLING RD                                                                                CATONSVILLE      MD    21228‐5721
JOHN DAVID COLE & FREDA E COLE JT TEN           1548 BROWN                                                                                      OSAWATOMIE       KS    66064‐1671
JOHN DAVID DENT                                 36 WILLIAMSTOWNE CT                    APT 8                                                    BUFFALO          NY    14227‐2067
JOHN DAVID DUFFY                                800 ERIE ST                                                                                     FLINT            MI    48507‐1615
JOHN DAVID GRANELL                              714 S KASPAR AVE                                                                                ARLINGTON HTS    IL    60005‐2322
JOHN DAVID HOPKINS                              3422 RUSHING ROAD                                                                               AUGUSTA          GA    30906‐4880
JOHN DAVID HORTON CUST CINDY LOU HORTON UTMA    6309 ST JOHNS AVE                                                                               EDINA            MN    55424‐1857
MN
JOHN DAVID LAMBERT II                           221 STEEPLECHASE LANE                                                                           MONROE FALLS     OH    44262‐1767
JOHN DAVID LANGE                                PO BOX 1746                                                                                     DULUTH           GA    30096
JOHN DAVID LUBELL                               426 BOLSOVER RD                                                                                 WYNNEWOOD        PA    19096‐1302
JOHN DAVID MARION                               14 CASTLE ACRE LN                                                                               BELLA VISTA      AR    72715‐7907
JOHN DAVID MCCOLLOM                             16754 GARFIELD                                                                                  DETROIT          MI    48240
JOHN DAVID MEISSNER                             1140 N SUNNYSLOPE DR UNIT# 207                                                                  RACINE           WI    53406‐6354
JOHN DAVID MENGEL                               1509 LAKESHORE DR                                                                               MICHIGAN CITY    IN    46360‐2038
JOHN DAVID MERRELL                              422 RICHARDS RD                                                                                 COLUMBUS         OH    43214‐3742
JOHN DAVID MURPHY                               N52W34321 GEITZEN RD                                                                            OKAUCHEE         WI    53069‐9714
JOHN DAVID MYERS TR JOHN DAVID MYERS 2002       1371 DEBBIE LANE                                                                                YUBA CITY        CA    95993‐1738
REVOCABLE TRUST UA 12/18/00
JOHN DAVID PADGETT                              3019 KLINE STREET                                                                               COLUMBIA         SC    29205‐1306
JOHN DAVID POWELL                               56 VOORHEESVILLE AVE                                                                            VOORHEESVILLE    NY    12186
JOHN DAVID REYNARD CUST JOHN MICHAEL REYNARD    1240 W BROAD ST                                                                                 EMMAUS           PA    18049‐3415
UGMA DE
JOHN DAVID SCHMIDT CUST JOHN DAVID SCHMIDT JR   324 E 6TH ST                                                                                    LITCHFIELD       MN    55355‐1809
UGMA MN
JOHN DAVID SEMPLE                               6457 BOBBY JONES LANE                                                                           WOODRIDGE        IL    60517‐5404
JOHN DAVID SMYTHE JR                            BOX 157                                                                                         PIPERSVILLE      PA    18947‐0157
JOHN DAVID VOGT                                 20 SPLIT ROCK DRIVE                                                                             ELDRED           NY    12732
JOHN DAVID WILLEY                               4320 GEORGETOWN DR                                                                              LOVELAND         CO    80538
JOHN DAVID WILLEY                               G‐7167 LEWIS ROAD                                                                               MT MORRIS        MI    48458
JOHN DAVID WRIGHT                               11191 E V AVE                                                                                   VICKSBURG        MI    49097‐9516
JOHN DAVID ZELE                                 1321 DARNALL DR                                                                                 MC LEAN          VA    22101
JOHN DAVIDSON                                   162 HILL TOP DR                                                                                 BEDFORD          IN    47421‐6955
JOHN DAVIDSON                                   49 AUTUMN LN                                                                                    GILBERTSVILLE    KY    42044‐8832
JOHN DAVIDSON HIGHFILL                          523 HERMITAGE COURT                                                                             CHARLOTTE        NC    28207‐1413
JOHN DAVIS                                      2706 N ASHBROOK DR                                                                              FAYETTEVILLE     AR    72703‐4329
JOHN DAVIS & BARBARA DAVIS JT TEN               139 ELMWOOD AVE                                                                                 FEASTERVILLE     PA    19053‐4253
JOHN DAVIS SMALL II                             3327 E 7TH RD                                                                                   UTICA            IL    61373‐9696
JOHN DAYKIN LIFE TENANT U‐W‐O ADA DAYKIN        4213 S BRANDON                                                                                  SEATTLE          WA    98118‐2338
JOHN DE FOREST COSTLOW                          201 ANN ST                                                                                      BEAUFORT         NC    28516‐2103
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 150 of 855
Name                                               Address1                              Address2               Address3        Address4          City              State Zip

JOHN DE MARCO & MRS MARGARET D DE MARCO JT         P O BOX 155                                                                                    SOUTHWICK         MA    01077
TEN
JOHN DE PILLIS CUST GRETCHEN DE PILLIS UGMA CA     DEPT MATH UCR                                                                                  RIVERSIDE         CA    92502

JOHN DE WITT FURRH 3RD                             BOX 46                                                                                         ELYSIAN FIELDS    TX    75642‐0046
JOHN DEACON & MRS RITA DEACON JT TEN               35496 MORLEY PL                                                                                FREMONT           CA    94536‐3325
JOHN DEAN ALBAUGH & PAUL DAVID ALBAUGH JT TEN      9740 KINNEVILLE                                                                                EATON RAPIDS      MI    48827‐9504

JOHN DEAN DELUCA                                   241 WYCLIFFE AVE                      WOODBRIDGE ON                          L4L 3N7 CANADA
JOHN DEBOER                                        1933 7TH ST                                                                                    GRAND RAPIDS      MI    49504‐4803
JOHN DEGNAN & RUTH V DEGNAN JT TEN                 413 CANDLEWOOD RD                                                                              BROOMALL          PA    19008‐1733
JOHN DELAZZER & EVALENA DELAZZER JT TEN            17329 LAHEY ST                                                                                 GRANADA HILLS     CA    91344‐3423
JOHN DELLA ZANNA                                   13606 ALLAMANDA CIR                                                                            PORT CHARLOTTE    FL    33981‐3901
JOHN DELONG & DORIS DELONG JT TEN                  2325 HUNTINGDON ROAD                                                                           HUNTINGDON        PA    19006‐4309
                                                                                                                                                  VALLEY
JOHN DELOREY & LINDA DELOREY JT TEN                1715 SONORA ST                                                                                 LADY LAKE         FL    32159‐9240
JOHN DEMARCO JR                                    2596 THORMAN PLACE                                                                             TUSTIN            CA    92782
JOHN DEMATTEO JR                                   1004 FLORAL AVE                                                                                SCHENECTADY       NY    12306‐3717
JOHN DENISON EMMER & MURIEL EMMER JT TEN           14574 DUNN RD                                                                                  HASLETT           MI    48840‐9232
JOHN DENNIS MOODHARD                               BOX 18372                                                                                      PENSACOLA         FL    32523‐8372
JOHN DENNIS PAYNE                                  1887 MEADOW RIDGE DR                                                                           HUMMELSTOWN       PA    17036‐7004
JOHN DESILVA & ANTONETTE DESILVA JT TEN            15 ALLENDALE RD                                                                                STATEN ISLAND     NY    10305‐2601
JOHN DI GREGORIO                                   14 STUMPY LN                                                                                   CARNEY'S POINT    NJ    08069
JOHN DI VITO & DIOLIDO DI VITO JT TEN              929 CREEK RD EXT                                                                               LEWISTON          NY    14092‐1805
JOHN DICKY                                         1112 RUIE RD                                                                                   NORTH             NY    14120‐2222
                                                                                                                                                  TONAWANDA
JOHN DIEHL & GRACE DIEHL TEN ENT                   2110 OAKLYN DR                                                                                 FALLSTON          MD    21047‐2006
JOHN DIJAMES                                       23 QUEENSBORO ROAD                                                                             ROCHESTER         NY    14609‐4408
JOHN DILEONE                                       495 QUINTARD LANE                                                                              ORANGE            CT    06477‐2512
JOHN DIMEGLIO & HILDE J DIMEGLIO JT TEN            687 MOUNT RD                                                                                   ASTON             PA    19014‐1134
JOHN DIMMIE                                        2045 CUMBERLAND RD                                                                             FARMVILLE         VA    23901‐4234
JOHN DIONIAN                                       71 HOLLINS LN                                                                                  EAST ISLIP        NY    11730‐3006
JOHN DIVITO                                        929 CREEK ROAD EXT                                                                             LEWISTON          NY    14092‐1805
JOHN DIXON                                         59 HILLSIDE DRIVE                                                                              MT VERNON         NY    10553‐1332
JOHN DLUSKI                                        8827 GEORGIA                                                                                   LIVONIA           MI    48150‐3740
JOHN DLUSKI & DOROTHY DLUSKI JT TEN                8827 GEORGIA                                                                                   LIVONIA           MI    48150‐3740
JOHN DOHNEFF                                       5065 HARTWELL                                                                                  DEARBORN          MI    48126‐3506
JOHN DONALD CROZIER                                2807 DANBURY LANE                                                                              TOMS RIVER        NJ    08755‐2574
JOHN DONALD WEATHERUP                              1030 E OCEAN BLVD                     UNIT 202                                                 LONG BEACH        CA    90802‐5535
JOHN DORN HULL                                     5851 MEADOWBROOK LANE                                                                          LINCOLN           NE    68510‐4026
JOHN DOUGLAS HANSON                                309 SCARLET TANAGER CT                                                                         ARDEN             NC    28704‐9107
JOHN DOUGLAS HART                                  1207 W 9TH ST                                                                                  SPENCER           IA    51301‐3039
JOHN DOUGLAS HART & SANDRA HART JT TEN             1207 W 9TH ST                                                                                  SPENCER           IA    51301‐3039
JOHN DOUGLAS HART CUST ADAM DOUGLAS HART           210 S PRAIRIE VIEW DR 414                                                                      WDM               IA    50266
UGMA IA
JOHN DOUGLAS HOLTZ                                 PO BOX 20340                                                                                   ROCHESTER         NY    14602‐0340
JOHN DOUGLAS MELICK                                PO BOX 4634                                                                                    PINEHURST         NC    28374‐4634
JOHN DOUGLAS MORGAN                                PO BOX 185                            BANCROFT ON                            K0L 1C0 CANADA
JOHN DOUGLAS PHILLIPS & DENISE L PHILLIPS JT TEN   933 E MODOC TRL                                                                                GREENSBURG        IN    47240‐6808

JOHN DOUGLAS SPEAK                                 4508 CLOUDVIEW ROAD                                                                            FORT WORTH        TX    76109‐3322
JOHN DOUGLAS STOVER                                22566 ARDMORE PARK                                                                             ST CLAIR SHORES   MI    48081‐2011
JOHN DOUGLASS RUFF                                 APT 2009‐N                            5500 FRIENDSHIP BLVD                                     CHEVY CHASE       MD    20815‐7212
JOHN DRABIK JR                                     15 AVON PL                            APT 2ND                                                  NORTH ARLINGTON   NJ    07031‐6701

JOHN DRAKEFORD                                     474 E THIRD STREET                                                                             MT VERNON         NY    10553‐1600
JOHN DROB                                          1126 BALFOUR DR                                                                                DELTONA           FL    32725‐5817
JOHN DROSSOS                                       1571 PARKER BLVD                                                                               TONAWANDA         NY    14150‐8729
JOHN DRUCKER                                       2216 32ND AVE S                                                                                MINNEAPOLIS       MN    55406‐1425
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                      Part 4 of 8 Pg 151 of 855
Name                                            Address1                               Address2                 Address3       Address4                City            State Zip

JOHN DUBOIS & JEAN DUBOIS JT TEN                144 GLOVER ROAD                                                                                        MULLICA HILL    NJ    08062‐2408
JOHN DUDIK                                      137MARY AVE                                                                                            FORDS           NJ    08863‐1545
JOHN DUDLEY ARTZ                                1308 13TH AVE                                                                                          GREELEY         CO    80631‐4707
JOHN DUDUM                                      15 ROSEBANK AVE                                                                                        KENTFIELD       CA    94904‐1629
JOHN DUFFY                                      760 ELDERBERRY DRIVE                   OSHAWA ON                               L1K 2J3 CANADA
JOHN DUFFY                                      7 JEAN MCLEAN PL W/SDE GDS             BISHOPBRIGGS GLASGO SC                  G64 3BJ GREAT BRITAIN
JOHN DUMA                                       1553 ENGLISHTOWN ROAD                                                                                  OLD BRIDGE      NJ    08857‐3910
JOHN DUNCAN BURKE                               715 VIEWCREST DR                                                                                       VENTURA         CA    93003‐1113
JOHN DUNCAN CUST AUSTIN DUNCAN UTMA OH          10030 N JOHNSON ROAD                                                                                   NORTH BENTON    OH    44449
JOHN DUNN                                       2613 GRENDON DRIVE                     HERITAGE PARK                                                   WILMINGTON      DE    19808‐3827
JOHN DUNN LAPORTE & CONNER DUNN LAPORTE JT      5106 W COMBE                                                                                           W BLOOMFIELD    MI    48324‐2261
TEN
JOHN DUNNEBACK                                  4943 STAGE AVE NW                                                                                      GRAND RAPIDS    MI    49544‐9717
JOHN DURGAVICH TOD AGNES DURGAVICH SUBJECT TO   5100 BRADFORD DRIVE                                                                                    ANNANDALE       VA    22003
STA TOD RULES
JOHN DYDA                                       41705 HILLVIEW DRIVE                                                                                   STERLING HTS    MI    48314‐4133
JOHN E ABSHIRE                                  RR 1 BOX 1207                                                                                          FRENCH LICK     IN    47432‐9801
JOHN E ADAMS                                    14401 WELLESLEY                                                                                        DEARBORN        MI    48126‐3422
JOHN E ADAMS                                    6409 DOVE LANE                                                                                         LITTLE ROCK     AR    72206‐2703
JOHN E ALBERS                                   122 CHOTA LANDING DR                                                                                   LOUDON          TN    37774
JOHN E ALEXANDER                                1311 PASCO DE VACA                                                                                     SAN ANGELO      TX    76901‐4650
JOHN E ALIBRIO                                  3 CHIPPING NORTON LN                                                                                   BEDFORD         NH    03110‐6066
JOHN E ALLIGOOD                                 648 CANNON DRIVE                                                                                       SOCIAL CIRCLE   GA    30025‐9695
JOHN E AMBROSE & SUE D AMBROSE JT TEN           147 SUNSET COVE LANE                                                                                   REEDVILLE       VA    22539‐3310
JOHN E ANDERSON                                 333 FERN HILL DR                                                                                       GRANVILLE       OH    43023‐9103
JOHN E ARCHER JR                                3827 THOMPSON                                                                                          KANSAS CITY     MO    64124‐2046
JOHN E ARNOLD                                   3039 W LAKESIDE DR                                                                                     W BRANCH        MI    48661‐9636
JOHN E BAKER & LUELLA S BAKER JT TEN            79 MOCKINGBIRD IN                                                                                      STAFFORD        VA    22554‐3529
JOHN E BALL                                     3900 W 68TH STREET                                                                                     CHICAGO         IL    60629‐4106
JOHN E BALLARD JR                               2008 GARDANNE                                                                                          CARROLLTON      TX    75007‐2207
JOHN E BANHAM & STEPHANIE BANHAM JT TEN         169 27 24 RD                                                                                           WHITESTONE      NY    11357
JOHN E BARLOW                                   GMHA                                   10 WILLS STREET          KEW VICTORIA   3101 AUSTRALIA
JOHN E BARNO & LILLIAN T BARNO JT TEN           1500 THREE LAKE DR                                                                                     TROY            MI    48098‐1430
JOHN E BARON                                    4500 EAGLE HARBOR RD                                                                                   ALBION          NY    14411‐9214
JOHN E BAXTER                                   6720 ECHO HILL DR                                                                                      WATAUGA         TX    76148‐2015
JOHN E BECKER CUST GEORGE D BECKER UGMA NY      23 STATE ST                                                                                            SENECA FALLS    NY    13148‐1474

JOHN E BECNEL                                   111 ASH ST                                                                                             THIBODAUX       LA    70301‐2021
JOHN E BEHL & JANE E BEHL JT TEN                229 TAMARIX                                                                                            KALAMAZOO       MI    49002‐0433
JOHN E BEIGLE & MRS LOIS L BEIGLE JT TEN        3285 PEACE LNLAKES CT                                                                                  SUWANEE         GA    30024
JOHN E BELCHER                                  2741 FIGSBORO RD                                                                                       MARTINSVILLE    VA    24112‐8271
JOHN E BENNETT                                  10351 SKEMAN RD RTE 2                                                                                  BRIGHTON        MI    48114‐7503
JOHN E BENNETT                                  3690 WILLIS RD                                                                                         MARLETTE        MI    48453‐9323
JOHN E BERES                                    28703 HOLLYWOOD                                                                                        ROSEVILLE       MI    48066‐2424
JOHN E BERES & ELAINE J BERES JT TEN            28703 HOLLYWOOD                                                                                        ROSEVILLE       MI    48066‐2424
JOHN E BERKOWITZ                                262 BENSON RD                                                                                          NORTHBRIDGE     MA    01534‐1150
JOHN E BERRY                                    1770 BUCK DANIELS RD                                                                                   CULLEOKA        TN    38451‐2703
JOHN E BERTZFIELD                               PO BOX 222                                                                                             LINCOLNTON      GA    30817‐0222
JOHN E BEST                                     547 BRIARCLIFF DR                                                                                      GARLAND         TX    75043‐5663
JOHN E BICE                                     33 COLDWATER LN                                                                                        HENDERSONVLLE   NC    28739‐3927
JOHN E BICE JR                                  33 COLDWATER LN                                                                                        HENDERSONVLLE   NC    28739‐3927
JOHN E BINIKOS                                  1641 BONNIE BRAE NE                                                                                    WARREN          OH    44483‐3932
JOHN E BLAKER                                   34 LEDGE LN                                                                                            STAMFORD        CT    06905
JOHN E BLEWETT                                  PO BOX 61275                                                                                           BOULDER CITY    NV    89006‐1275
JOHN E BLIGH                                    1907 GLENWOOD DRIVE                                                                                    OCEAN CITY      NJ    08226‐2610
JOHN E BLOCK                                    1870 KINMOUNT DR                                                                                       ORION           MI    48359‐1638
JOHN E BOILLAT                                  14474 S VERNON RD                                                                                      BYRON           MI    48418‐9712
JOHN E BOKONE                                   1440 SARKIES DR NE                                                                                     WARREN          OH    44483‐4260
JOHN E BOLIEK                                   3 LAWLOR COURT                         R D #3                                                          HOCKESSIN       DE    19707‐9803
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 152 of 855
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

JOHN E BOLLINGER                                 9740 SHEEHAN RD                                                                                CENTERVILLE     OH    45458‐4112
JOHN E BONINE SR                                 6812 DEER RUN RD                                                                               DITTMER         MO    63023‐1015
JOHN E BOWER                                     5024 BRECKENRIDGE DR                                                                           YPSILANTI       MI    48197‐1042
JOHN E BOWMAN JR                                 10 STILL ST                                                                                    BROOKLINE       MA    02446‐3444
JOHN E BOYLE & JEAN M BOYLE TR UA BOYLE FAMILY   25335 FRANKLIN TERRACE                                                                         SOUTH LYON      MI    48178‐1030
TRUST 05/05/92
JOHN E BRAMHALL                                  4 BISCAYNE DR                                                                                  EDWARDSVILLE    IL    62025‐2451
JOHN E BRANDI                                    1656 COOLIDGE ST                                                                               SAGINAW         MI    48603‐4726
JOHN E BRANSON                                   2278 NORTH 600 EAST                                                                            SHELBYVILLE     IN    46176‐9113
JOHN E BRASH & GRACE M BRASH JT TEN              PO BOX 879                                                                                     OAK HILL        WV    25901‐0879
JOHN E BRASINGTON                                9309 N W 14TH PLACE                                                                            GAINESVILLE     FL    32606‐5579
JOHN E BRECHTING                                 2736 VALLEY N W                                                                                WALKER          MI    49544‐1755
JOHN E BREZNITSKY                                3 CHESTERFIELD DRIVE                                                                           NEW CASTLE      DE    19720‐1248
JOHN E BRINK                                     15098 ROCK CREEK RD                                                                            CHARDON         OH    44024‐9198
JOHN E BRITTON                                   5400 WALLACE BLVD                                                                              NORTH RIDGEVL   OH    44039‐1934
JOHN E BRUNE                                     5160 SHEPPER RD                                                                                STOCKRIDGE      MI    49285‐9455
JOHN E BUDRYK & PAMELA A BUDRYK JT TEN           546 FAIRMONT RD                                                                                WYCKOFF         NJ    07481
JOHN E BURCHELL JR                               209 RIVERS BEND CIR                                                                            CHESTER         VA    23836‐2555
JOHN E BURGAR & MRS RUBY D BURGAR JT TEN         1633 PLUMERIA DRIVE                                                                            EL CAJON        CA    92021‐1138
JOHN E BURGE                                     25151 PALOMINO AVE                                                                             WARREN          MI    48089‐4565
JOHN E BURKHARDT                                 7041 AUBURN RD                                                                                 PAINESVILLE     OH    44077‐9544
JOHN E BURLAGE JR                                6223 WINDY RIDGE RD                                                                            BALDWIN         MD    21013
JOHN E BURLAGE JR & BARBARA ELAINE BURLAGE JT    6223 WINDY RIDGE RD                                                                            BALDWIN         MD    21013
TEN
JOHN E BURNS                                     84 5TH ST                                                                                      BANGOR          ME    04401‐6044
JOHN E BURNS JR                                  19467 BOULDER RD                                                                               SHATTUA         IL    62231‐8511
JOHN E BUSEY                                     59 MILLER ST                                                                                   ZANESVILLE      OH    43701‐6138
JOHN E BUTLER                                    2103 EAST 81ST PLACE                                                                           CLEVELAND       OH    44103‐5055
JOHN E BYLANDER                                  311 S COLLEGE ST                                                                               CARLISLE        PA    17013‐3708
JOHN E CALVETTI                                  235 COLLEGE AVE NE.                                                                            GRAND RAPIDS    MI    49503
JOHN E CAMPBELL                                  7042 WEST ALEXANDRIA RD                                                                        MIDDLETOWN      OH    45042‐9280
JOHN E CAPEN                                     PO BOX 400                                                                                     STONE RIDGE     NY    12484‐0400
JOHN E CAPEZZUTO                                 71 BLUE BIRCH DRIVE                                                                            ROCHESTER       NY    14612‐6001
JOHN E CAROTHERS                                 4093 S ANCHOR CT                                                                               DISCOVERY BAY   CA    94514‐1731
JOHN E CARR                                      7812 LASCALA BLVD                                                                              INDIANAPOLIS    IN    46237‐8612
JOHN E CARUTHERS                                 308 S LAFAYETTE ST                                                                             LAFAYETTE       AL    36862‐2048
JOHN E CASPERS                                   1271 PINE                                                                                      ESSEXVILLE      MI    48732‐1439
JOHN E CASTIGLIA & THOMAS MCTIGUE AS COTTEES     C/O THOMAS MCTIGUE                    6 CRAWFORD DRIVE                                         TUCKAHOE        NY    10707‐3720
U/W BARBARA M CASTIGLIA
JOHN E CHAPLIN JR                                707 S CROSSWAY DR                                                                              MARION           IN   46952‐4252
JOHN E CHISMAR                                   7088 W SR 132                                                                                  LAPEL            IN   46051‐9716
JOHN E CHMURA                                    42 SMITH ST                                                                                    SAYREVILLE       NJ   08872‐1546
JOHN E CHRISTIANSEN JR                           5041 POLEN DR                                                                                  KETTERING        OH   45440‐2445
JOHN E CHRISTY                                   5719 KIRK ROAD                                                                                 CANFIELD         OH   44406‐8662
JOHN E CLAYDON                                   1290 EAST FOX CHASE DRIVE                                                                      ROUND LAKE BEACH IL   60073‐4158

JOHN E CLINE & CAROL CLARK JT TEN                29494 HOOVER RD                                                                                WARREN          MI    48093‐3458
JOHN E COLBERT                                   2900 N APPERSON WAY LOT 5                                                                      KOKOMO          IN    46901‐1477
JOHN E COLEMAN TR JOHN E COLEMAN TRUST UA        2225 EASTERN AVE                                                                               TRAVERSE CITY   MI    49686‐2847
09/17/99
JOHN E CONNOLLY & ANTOINETTE K CONNOLLY JT TEN   370 TEMPLE AV                                                                                  HIGHLAND PARK   IL    60035‐1435

JOHN E COOK & RUTH E COOK JT TEN                 1924 LORA ST                                                                                   ANDERSON        IN    46013‐2746
JOHN E COOKSON                                   PO BOX 4                                                                                       POWNAL CENTER   ME    04069‐0004
JOHN E COPPA & ELINOR L COPPA JT TEN             138 WOOD ST                                                                                    TORRINGTON      CT    06790‐5727
JOHN E COULTER                                   902 ONEIDA ST                                                                                  LEWISTON        NY    14092‐1421
JOHN E CRAMER IV                                 7 WILLOW OAK LN                                                                                SAINT LOUIS     MO    63122‐4713
JOHN E CRIE                                      3236 BAYSIDE WALK                                                                              SAN DIEGO       CA    92109‐7759
JOHN E CROWELL                                   110 CLYDE AVE                                                                                  CHESWICK        PA    15024‐1002
                                                  09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 153 of 855
Name                                                Address1                             Address2             Address3          Address4          City             State Zip

JOHN E CULLEN                                       540 NORTH AVE                                                                                 NEW ROCHELLE     NY    10801‐2612
JOHN E CULLEN                                       6698 MINNICK RD                                                                               LOCKPORT         NY    14094‐7973
JOHN E CULVER & KATHERINE A CULVER JT TEN           722 HARVEY ST                                                                                 LA CROSSE        WI    54603‐2852
JOHN E CUNNINGHAM                                   16469 MARSHA                                                                                  LIVONIA          MI    48154‐1200
JOHN E CZAJA                                        1424 WEAVER PKWY                                                                              N TONAWANDA      NY    14120‐2532
JOHN E DALTON                                       4596 WEST 57 ST                                                                               CLEVELAND        OH    44144‐3561
JOHN E DAMIC                                        9823 OAKLEY RD                                                                                SAINT CHARLES    MI    48655‐9527
JOHN E DANKS                                        6950 E CURTIS                                                                                 BRIDGEPORT       MI    48722‐9726
JOHN E DAUBENSPECK                                  1047 TWP RD 1104                                                                              ASHLAND          OH    44805‐9472
JOHN E DAVIDEK CUST COURTNEY A DAVIDEK UTMA MI      11194 POTTER RD                                                                               FLUSHING         MI    48433‐9788

JOHN E DAVIDEK CUST KRISTEN M DAVIDEK UTMA MI       11194 POTTER RD                                                                               FLUSHING         MI    48433‐9788

JOHN E DAVIDSON                                  211 MAIN ST                                                                                      BROCKTON         PA    17925
JOHN E DAVIS                                     5042 GREENSBORO COURT                                                                            COLUMBUS         OH    43220‐2409
JOHN E DAVIS                                     21641 BIRCH AVE                                                                                  WOODHAVEN        MI    48183‐1547
JOHN E DAVIS                                     29 CROWN POINT LN                                                                                BUFFALO          NY    14221‐1817
JOHN E DAWSON                                    502 LUDLOW                                                                                       LAWRENCEBURG     IN    47025‐1535
JOHN E DAWSON JR                                 6814 18TH AVE W                                                                                  BRADENTON        FL    34209
JOHN E DAWSON JR & NORMA B DAWSON JT TEN         6814 18TH AVE W                                                                                  BRADENTON        FL    34209
JOHN E DAY                                       1420 S LUCERNE ST                                                                                INDIANAPOLIS     IN    46241‐2806
JOHN E DE BONO                                   21321 KNUDSEN DR                                                                                 GROSSE ILE       MI    48138‐1156
JOHN E DEANS                                     4201 FORSYTHE DRIVE                                                                              LEXINGTON        KY    40514‐4013
JOHN E DEAR                                      5414 BROOKWOOD DR                                                                                BURTON           MI    48509‐1332
JOHN E DEBRULER JR                               5376 CHURCHILL RD                                                                                LESLIE           MI    49251‐9731
JOHN E DECHANT JR & ANNA M DECHANT JT TEN        1177 WOODLAWN                                                                                    GIRARD           OH    44420‐2062
JOHN E DEEGAN TR UA 03/20/00 JOHN E DEEGAN TRUST 162 UPLAND CIRCLE                                                                                BREWSTER         MA    02631
OF 2000
JOHN E DELONG                                    6617 CUT OFF ROAD                                                                                AFTON            MI    49705
JOHN E DEMMER                                    2106 TECUMSEH                                                                                    LANSING          MI    48906
JOHN E DEMONG CUST JEFFERY ERIC DEMONG UGMA      28 GULF BRIDGE RD                                                                                WEST MONROE      NY    13167‐3209
NY
JOHN E DEVANEY & JEAN E DEVANEY JT TEN           328 PARK ST                                                                                      RIDLEY PARK      PA    19078‐3112
JOHN E DEXTER                                    PO BOX 2661                                                                                      GILROY           CA    95021
JOHN E DICK JR                                   7300 E MAPLE AVE                                                                                 GRAND BLANC      MI    48439‐9620
JOHN E DICKERMAN & VIVIAN J DICKERMAN JT TEN     1296 N 2400TH AV                                                                                 MENDON           IL    62351

JOHN E DICKINSON                                    PO BOX 1299                                                                                   BRIGHTON         MI    48116‐2899
JOHN E DICUS                                        104 STARGAZE RDG                                                                              CANTON           GA    30114‐5148
JOHN E DIEHL                                        678 PORTAGE RD                                                                                SHELTON          WA    98584‐9421
JOHN E DIRNBERGER                                   1077 S RIVERSIDE DR                                                                           PALM SPRINGS     CA    92264‐8154
JOHN E DOEPPEL & MRS RUTH B DOEPPEL JT TEN          129 QUAIL RUN RD                                                                              HENDERSON        NV    89014‐2129
JOHN E DONNELLY                                     228 CLOVER PL                        LOWR                                                     BUFFALO          NY    14225‐3362
JOHN E DOOLEY                                       14460 ABINGTON                                                                                DETROIT          MI    48227‐1385
JOHN E DOWLING                                      8700 JESSUP                                                                                   ONSTED           MI    49265‐9706
JOHN E DOWLING & BARBARA A DOWLING JT TEN           12139 CORLEY DR                                                                               WHITTIER         CA    90604‐2927
JOHN E DREW III                                     1112 W BETHANY HOME RD                                                                        PHOENIX          AZ    85013‐1618
JOHN E DRISCOLL                                     1514 MACATERA ST                                                                              HAYWARD          CA    94544‐6235
JOHN E DRISCOLL                                     66 GORHAM AVE                                                                                 PEMBROKE         MA    02359‐2914
JOHN E DUJARDIN & PAMELA SUE DUJARDIN JT TEN        5 WOODRUFF LAKE WAY                                                                           SIMPSONVILLE     SC    29681‐5172

JOHN E DUNGAN & JUDITH A DUNGAN JT TEN              11145 E STARKEY AVE                                                                           MESA             AZ    85212‐5209
JOHN E DUNN & MARY L DUNN JT TEN                    119 LAKESHORE DR                                                                              MADISON          AL    35758‐7909
JOHN E DUTTON JR                                    5680 47TH AVENUE N                                                                            KENNETH CITY     FL    33709‐3608
JOHN E EARLEY                                       5990 BYAM RD                                                                                  BANCROFT         MI    48414‐9714
JOHN E EBERLE                                       401 CEDARVIEW DR                                                                              DICKSON          TN    37055‐1515
JOHN E ELLIS TR JOHN L ELLIS REVOCABLE TRUST UA     504 GLENEAGLE DR                                                                              VIRGINIA BEACH   VA    23462‐4511
09/22/97
JOHN E ERDMAN                                       2 COUNTRY HILL LANE                                                                           BELLEVILLE       IL    62221‐2507
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 154 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

JOHN E ESBORN TR UA 02/01/94 JOHN E ESBORN TRUST 2180 BUENA VISTA DR                                                                           WICKLIFFE       OH    44092‐2005

JOHN E EXPOSITO                                  109 BRADLEY DRIVE                                                                             JACKSON         MI    49201‐8637
JOHN E FARINA                                    3078 CLAIRMONT RD NE                 APT 7111                                                 ATLANTA         GA    30329‐4428
JOHN E FARLEY                                    PO BOX 904                                                                                    CARSON CITY     NV    89702‐0904
JOHN E FARLEY & JANET D FARLEY JT TEN            PO BOX 143                                                                                    MOULTON         AL    35650‐0143
JOHN E FARRELL                                   6439 STILLMEADOW WAY                                                                          WILLIAMSON      NY    14589‐9021
JOHN E FEENEY                                    766 VIVIAN LN                                                                                 OXFORD          MI    48371‐1447
JOHN E FENELON CUST EVELYN ARMOUR UTMA IL        1441 S 61ST AVE                                                                               CICERO          IL    60804‐1014
JOHN E FENELON CUST MORGAN K ROWLAND UTMA IL     1441 S 61ST AVE                                                                               CICERO          IL    60804‐1014

JOHN E FENELON CUST TAYLOR M SMITH UTMA IL       1441 S 61ST AVE                                                                               CICERO          IL    60804‐1014
JOHN E FENELON CUST WILLIAM ARMOUR UTMA IL       1441 S 61ST AVE                                                                               CICERO          IL    60804‐1014

JOHN E FIESER                                      10017 DELTA DR                                                                              ST ANN          MO    63074‐3629
JOHN E FIREBAUGH                                   210 39TH                                                                                    MISSOULA        MT    59803‐2213
JOHN E FIX TR UA 09/24/91 JOHN E FIX TRUST         122 MOORINGS PARK DR #502                                                                   NAPLES          FL    34105‐2115
JOHN E FOLCIK                                      650 BURRITT ST                                                                              PLANTSVILLE     CT    06479‐1431
JOHN E FOLEY                                       24 COLONIAL DRIVE                                                                           ARLINGTON       MA    02474‐8261
JOHN E FORD & ELSIE O FORD JT TEN                  54 SUNCOOK ST                                                                               SEABROOK        NH    03874‐4729
JOHN E FORD & MRS SHIRLEY FORD JT TEN              1576 SHADY OAK DRIVE                                                                        KISSIMMEE       FL    34744‐6654
JOHN E FORREST                                     1003 GIP ANNIE RD                                                                           HARRISON        AR    72601‐4948
JOHN E FRANTZ                                      229 BUCKEYE RD                                                                              AMHERST         NY    14226‐2311
JOHN E FREEMAN                                     115 OHLLSSON AVE                                                                            MUSCLE SHOALS   AL    35661‐2011
JOHN E FREENY II                                   15405 E 114TH ST N                                                                          OWASSO          OK    74055‐5259
JOHN E FROSSARD                                    1807 FLETCHER ST                                                                            ANDERSON        IN    46016‐2007
JOHN E FROSSARD & GLADYS FROSSARD JT TEN           1807 FLETCHER                                                                               ANDERSON        IN    46016‐2007
JOHN E FUGATE                                      9518 ESSEX ST                                                                               ROMULUS         MI    48174‐1534
JOHN E GALLAGHER                                   23533 OLD ORCHARD TRL                                                                       BINGHAM FARMS   MI    48025‐3442
JOHN E GALLANT                                     10266 W TIHABAWASSEE                                                                        FREELAND        MI    48623
JOHN E GANTZHORN JR                                39 KINGS GRANT RD                                                                           HOCKESSIN       DE    19707
JOHN E GARBER                                      10413 POPKINS CT                                                                            WOODSTOCK       MD    21163‐1316
JOHN E GAREFFA CUST JOHN ANTHONY GAREFFA UTMA 26 LIBERTY COURT                                                                                 FAIRFIELD       NJ    07004‐1588
NJ
JOHN E GATES JR & WILLIAM H GATES JT TEN           30276 SOUTHFIELD RD APT 116                                                                 SOUTHFIELD      MI    48076‐1323
JOHN E GAWLE                                       305 E 18TH ST                                                                               LOCKPORT        IL    60441‐4306
JOHN E GEARHART                                    454 JERUSELUM SCHOOL RD            MT WOLF                                                  MOUNT WOLF      PA    17347‐9753
JOHN E GERALDS                                     6657 EATON‐LEWISBURG RD                                                                     LEWISBURG       OH    45338
JOHN E GIBSON                                      25 NORTH GRANDVIEW BEACH RD                                                                 INDIAN RIVER    MI    49749‐9114
JOHN E GIDNEY                                      41 EMERSON PL                      LOWR                                                     BUFFALO         NY    14209‐1737
JOHN E GILL JR                                     320 PINECREST COURT                                                                         AURORA          IL    60502
JOHN E GILLMAN CUST ALEX GILLMAN UTMA OH           772 RED BUD AVE                                                                             CINCINNATI      OH    45229‐1521
JOHN E GLASPIE                                     2267 HARTEL RD                                                                              CHARLOTTE       MI    48813‐9332
JOHN E GLASSTETTER                                 3415 WALLINGFORD CT                                                                         GRAND BLANC     MI    48439‐7932
JOHN E GLOOR JR                                    PO BOX 133                                                                                  WEST NEWBURY    MA    01985‐0133
JOHN E GLOVER                                      1218 WOODWARD AVE                                                                           KALAMAZOO       MI    49007‐2366
JOHN E GMITTER                                     342 LOS PRADOS DR                                                                           SAFETY HARBOR   FL    34695‐3339
JOHN E GOTTSCHALK JR                               5080 O‐AW‐WEN‐SA DR                                                                         CLARKSTON       MI    48348‐3340
JOHN E GOULD                                       7694 W COUNTY LINE                                                                          HOWARD CITY     MI    49329‐9718
JOHN E GOW                                         1/2 CHESTER ST                     GLEN IRIS            VICTORIA          3146 AUSTRALIA
JOHN E GRAVELY JR                                  102 BELLTOWN TERRACE                                                                        BEAR            DE    19701‐1065
JOHN E GRAY                                        1331 SURREY RD                                                                              VANDALIA        OH    45377‐1646
JOHN E GREEN                                       18645 BRITTAN DR                                                                            DETROIT         MI    48223
JOHN E GREEN                                       113 EX MOORE ST                                                                             WATERFORD       MI    48328‐3413
JOHN E GREGG                                       1276 SCHEFFER AVE                                                                           SAINT PAUL      MN    55116‐1715
JOHN E GREGORY                                     3122 HUDSON AVE                                                                             YOUNGSTOWN      OH    44511
JOHN E GRIER TR JOHN E GRIER REV TRUST UA 04/10/91 4413 STATE ROUTE 123                                                                        FRANKLIN        OH    45005

JOHN E GRIGGS                                    2641 COUNTRY CLUB WAY                                                                         ALBION          MI    49224‐9593
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 155 of 855
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

JOHN E GRIZZEL                                     4656 GALAXY LN                                                                                   CINCINNATI      OH    45244‐1410
JOHN E GRIZZELL                                    39 MEL LAWN DR                                                                                   FT THOMAS       KY    41075‐1000
JOHN E GROSS                                       11948 DUNN RD                                                                                    RILEY           MI    48041‐1321
JOHN E GUERS                                       114 SWATARA ROAD                                                                                 SHENANDOAH      PA    17976‐1201
JOHN E HACKLEMAN & MRS FRANCES E HACKLEMAN JT      1200 HARWOOD APT 115                    WATERFORD                                                FARGO           ND    58104‐6299
TEN
JOHN E HAKE                                        146 E POTTLE                                                                                     ST LOUIS        MO    63129‐3764
JOHN E HALL                                        6845 JEFFERS ROAD                                                                                WHITEHOUSE      OH    43571‐9818
JOHN E HAMPTON                                     PO BOX 583                                                                                       CLAREMONT       CA    91711
JOHN E HANCHETT & SHIRLEY A HANCHETT JT TEN        PO BOX 10041                                                                                     FAIRBANKS       AK    99710‐0041
JOHN E HARBAUGH                                    4102 OXFORD DR                                                                                   BRUNSWICK       OH    44212‐3527
JOHN E HARDING                                     508 PINE ST                                                                                      CHESANING       MI    48616‐1258
JOHN E HARLOW                                      1727 TAYLOR AVE                                                                                  FT WASHINGTON   MD    20744
JOHN E HARMAN                                      625 GAP ST                                                                                       HEGINS          PA    17938‐9041
JOHN E HARMON                                      2320 HASTING LAKE RD                                                                             JONESVILLE      MI    49250
JOHN E HART                                        6117 CRABTREE LANE                                                                               BURTON          MI    48519‐1303
JOHN E HART CUST ALYSSA HART UGMA VA               3101 LOCKPORT PLACE                                                                              RICHMOND        VA    23233‐7723
JOHN E HAUSNER                                     63 SPARROW TRAIL                                                                                 BERKELEY SPGS   WV    25411‐6474
JOHN E HAWARDEN                                    3114 ANGELUS DR                                                                                  WATERFORD       MI    48329‐2510
JOHN E HAYES III                                   6035 CROCKED CREEK DR                                                                            INDIANAPOLIS    IN    46228
JOHN E HEADDEN                                     231 STATE STREET                                                                                 UNION BEACH     NJ    07735‐2713
JOHN E HEARN                                       1300 PEMBROOK ST                                                                                 UNIONDALE       NY    11553‐1328
JOHN E HELTER & KATHLEEN C HELTER JT TEN           712 EVERGREEN ST                                                                                 DENVER          PA    17517‐1526
JOHN E HEMSLEY                                     409 W WASHINGTON                                                                                 WHAT CHEER      IA    50268‐1063
JOHN E HEMSLEY & CONNIE J HEMSLEY JT TEN           409 W WASHINGTON                                                                                 WHAT CHEER      IA    50268‐1063
JOHN E HERFI                                       1286 MATTOX RD                          APT 47                                                   HAYWARD         CA    94541‐1200
JOHN E HERMAN                                      1411 CELERBRATION AVE UNIT 210                                                                   KISSIMMEE       FL    34747‐4081
JOHN E HEWITT                                      427 MARINE DR #120                                                                               ANDERSON        IN    46016‐5942
JOHN E HEYN                                        1518 GULLY RD                                                                                    WALL TWP        NJ    07719‐4443
JOHN E HIGGINS & EVA HIGGINS TR HIGGINS FAMILY     8731 W 450 N                                                                                     SHARPSVILLE     IN    46068‐9370
TRUST UA 10/04/02
JOHN E HIGHTOWER                                   5092 HOLCOMB                                                                                     DETROIT         MI    48213‐3019
JOHN E HILL & JOAN R HILL JT TEN                   16599 LENORE                                                                                     DETROIT         MI    48219‐3645
JOHN E HIPPENSTEEL & MRS AGATHA K HIPPENSTEEL JT   400 W 7TH ST                                                                                     NORTH           IN    46962‐1199
TEN                                                                                                                                                 MANCHESTER
JOHN E HODGE                                       3006 TIOGA PARKWAY                                                                               BALTIMORE       MD    21215‐7923
JOHN E HOGG                                        42519 LAKELAND CT                                                                                PLYMOUTH        MI    48170‐2518
JOHN E HOKKANEN                                    7980 DEBORA DRIVE                                                                                BRIGHTON        MI    48114‐9478
JOHN E HOLDEN                                      68 SABER LN                                                                                      CLAYTON         GA    30525‐5069
JOHN E HOLLAND JR & JEANNETTE M HOLLAND JT TEN     4350 WEST BEAL CITY RD                                                                           WEIDMAN         MI    48893

JOHN E HOLLETT                                     8987 DUNSMUIR DR                                                                                 INDIANAPOLIS    IN    46260‐1790
JOHN E HOLSTINE                                    7322 LAWRENCE ST                                                                                 GRAND BLANC     MI    48439‐9341
JOHN E HORINE                                      10860 EAST 1000 SOUTH                                                                            UPLAND          IN    46989‐9754
JOHN E HORTON                                      918 CHARLES                                                                                      PLAINWELL       MI    49080‐1810
JOHN E HOUK                                        245 CHRIS DRIVE                                                                                  ENGLEWOOD       OH    45322‐1120
JOHN E HOWE & MARY A HOWE JT TEN                   256 N MARTHA ST                                                                                  LOMBARD         IL    60148‐2015
JOHN E HUGHES                                      46445 HARRIS ROAD                                                                                BELLEVILLE      MI    48111‐8979
JOHN E HULL                                        3286 EAST S R 236                                                                                ANDERSON        IN    46017
JOHN E HUNTWORK & RENEE L HUNTWORK JT TEN          4055 ROSEMOUND                                                                                   WATERFORD       MI    48329‐4142

JOHN E HURLEY                                      692 VINE ST                                                                                      BROOKVILLE      OH    45309‐1914
JOHN E HURST                                       6410 ELMER DRIVE                                                                                 TOLEDO          OH    43615‐1708
JOHN E IAFRET & ANNA M IAFRET JT TEN               519 BOUTELL DR                                                                                   GRAND BLANC     MI    48439‐1582
JOHN E IRVINE & MARIE L IRVINE JT TEN              3201 1ST ST NE                                                                                   ST PETERSBURG   FL    33704
JOHN E IZARD                                       185 N FRENCH RD                                                                                  BUFFALO         NY    14228‐2006
JOHN E JACKSON JR                                  434 CATAMOUNT ROAD                                                                               OXFORD          PA    19363‐1048
JOHN E JALOWIEC & LANELLE MILLER JALOWIEC JT TEN   PO BOX 1081                                                                                      QUECHEE         VT    05059‐1081
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 156 of 855
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

JOHN E JAMES                                      38 MEADOWCREST DR                                                                              PARKERSBURG       WV    26104‐9394
JOHN E JEFFERSON SR                               1292 PUNKIN CENTER RD                                                                          CASTOR            LA    71016‐4249
JOHN E JENNINGS                                   34289 HARROW HILL RD                                                                           WILDOMAR          CA    92595‐9364
JOHN E JETT                                       60863 GRAND TARGHEE DR                                                                         BEND              OR    97702‐8115
JOHN E JOHNS & JEAN B JOHNS JT TEN                3435 GOLDEN AVE                       UNIT 301                                                 CINCINNATI        OH    45226‐2013
JOHN E JOHNSON                                    656 S 4TH ST                                                                                   SAGINAW           MI    48601‐2127
JOHN E JOHNSON                                    14022 LISA DR                                                                                  MAPLE HEIGHTS     OH    44137‐4169
JOHN E JONES                                      RR 2 BOX 664                                                                                   JERSEY SHORE      PA    17740‐9521
JOHN E JONES                                      28 BARBARA LN                                                                                  PLANTSVILLE       CT    06479‐1654
JOHN E JORDAN                                     419 HILLVIEW CT                                                                                LEMONT            IL    60439‐4330
JOHN E JORDAN JR TR JOHN E JORDAN JR TRUST UA     FIRST ADVISORS                        P O BOX 258                                              BAR HARBOR        ME    04609
2/05/98
JOHN E JORGENSEN                                  120 WOODLANE CT                                                                                GLASSBORO        NJ     08028‐2710
JOHN E JUTILA                                     7531 CHESAPEAKE AVE                                                                            BALTIMORE        MD     21219‐1338
JOHN E KANDRA                                     709 VALLEY SPRINGS                                                                             ARLINGTON        TX     76018‐2377
JOHN E KANE JR                                    24 BRADFORD CT                                                                                 PHILLIPSBURG     NJ     08865‐2009
JOHN E KAUFMAN                                    2169 E WILLARD RD                                                                              CLIO             MI     48420‐7702
JOHN E KEELING & SARAH H KEELING JT TEN           303 MAYERS AVE                                                                                 SPRINGFIELD      KY     40069‐1419
JOHN E KEEVER                                     2115 FLETCHER AVE                                                                              BRIGHTON         CO     80603‐5888
JOHN E KELLEY                                     307 17TH ST                                                                                    GROTTOES         VA     24441‐2209
JOHN E KELLY                                      3805 COVERT RD                                                                                 WATERFORD        MI     48328‐1324
JOHN E KEMPSKI                                    600 WALNUT ST                         BESTFIELD                                                WILMINGTON       DE     19804‐2624
JOHN E KENERSON                                   371 E 324TH ST                                                                                 WILLOWICK        OH     44095‐3321
JOHN E KERBER                                     726 FRENCH DRIVE                                                                               COLUMBUS         OH     43228‐2979
JOHN E KERBER & EVELYN E KERBER JT TEN            726 FRENCH DRIVE                                                                               COLUMBUS         OH     43228‐2979
JOHN E KERCHOFER                                  727 DUTCHMAN CT                                                                                GREER            SC     29651‐9000
JOHN E KEY                                        3984 S TROPICAL TRL                                                                            MERRITT ISLAND   FL     32952‐6220
JOHN E KING                                       G9490 CORUNNA ROAD                                                                             SWARTZ CREEK     MI     48473
JOHN E KIRBY                                      7660 TELEPHONE RD                                                                              LEROY            NY     14482‐8908
JOHN E KIRVAN                                     53250 KATHRYN RD                                                                               PAW PAW          MI     49079‐9502
JOHN E KLUMP                                      9736 N DEARBORN ROAD                                                                           GUILFORD         IN     47022‐9789
JOHN E KNAPP                                      33 HOMESTEAD DRIVE                                                                             YARDLEY          PA     19067
JOHN E KNICKERBOCKER                              11366 E DODGE RD                                                                               OTISVILLE        MI     48463‐9739
JOHN E KNIFFIN                                    316 WEATHERSTONE LN                                                                            SIMPSONVILLE     SC     29680‐7259
JOHN E KOELLA                                     85 COURT STREET                                                                                SARATOGA SPRINGS NY     12866‐3325

JOHN E KOLAKOWSKI                                 4024 LANARK                                                                                    WATERFORD         MI    48328‐1225
JOHN E KORTE                                      10605 BRIDGES DR N                                                                             DAPHNE            AL    36526‐8218
JOHN E KOSSMAN & MARIE J KOSSMAN JT TEN           9 ELTON DRIVE                                                                                  E NORTHPORT       NY    11731‐6007
JOHN E KOVACH                                     1554 YARDLEY‐NEWTOWN RD                                                                        YARDLEY           PA    19067‐4041
JOHN E KRAFT                                      5679 SAINT MARYS RD                                                                            FLOYDS KNOBS      IN    47119‐9116
JOHN E KRAMER                                     PO BOX 605                                                                                     ELLICOTTVILLE     NY    14731‐0605
JOHN E KRASKEWICZ                                 1145 COUNTY RD 620                                                                             ASHLAND           OH    44805‐9345
JOHN E KRINER                                     608 RICHARDSON DR                                                                              MIDDLETOWN        OH    45042‐3326
JOHN E KROLL JR                                   6909 FIELDSTONE FARMS DR                                                                       O FALLON          MO    63366‐8096
JOHN E KUJAWA                                     2145 WASHINGTON AVE                                                                            WILMETTE          IL    60091‐2372
JOHN E KUJAWSKI                                   155 CROCKER                                                                                    MT CLEMENS        MI    48043‐2546
JOHN E KUZILA                                     5242 LORIN DR                                                                                  SHELBY TOWNSHIP   MI    48316‐2322

JOHN E KUZILA & BARBARA JILL KUZILA JT TEN        5242 LORIN CT                                                                                  SHELBY TOWNSHIP   MI    48316‐2322

JOHN E KWIECIEN                                   7727 CHICHESTER                                                                                CANTON            MI    48187‐1474
JOHN E KWIECIEN & MARJORIE A KWIECIEN JT TEN      7727 CHICHESTER                                                                                CANTON            MI    48187‐1474

JOHN E LA BELLE & BEVERLY C LA BELLE JT TEN       5825 KINYDON DR                                                                                BRIGHTON          MI    48116‐9578
JOHN E LAFERTY                                    19 DUNWICH RD                                                                                  LUTHERVILLE       MD    21093‐5713
JOHN E LAMPKIN                                    1051 MEADOWBROOK S E                                                                           WARREN            OH    44484‐4559
JOHN E LAWRENCE & SHIRLEY M LAWRENCE JT TEN       1123 SHALIN DR                                                                                 DAVISON           MI    48423‐2844
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 157 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

JOHN E LEACH                                    183 PHILADELPHIA AVE                                                                          LAKE ORION       MI   48362‐2851
JOHN E LEGREID                                  726 N GARFIELD AVE                                                                            JANESVILLE       WI   53545‐2515
JOHN E LELKO JR                                 452 SHEARER AVE                                                                               UNION            NJ   07083‐7744
JOHN E LEWIS JR                                 8010 STATE ROUTE 722                                                                          ARCANUM          OH   45304‐9409
JOHN E LIMBERT & DONNA M LIMBERT JT TEN         590 FLANDERS AVE                                                                              BROOKVILLE       OH   45309‐1340
JOHN E LINDE                                    3701 INGLEWOOD AVE #250                                                                       REDONDO BEACH    CA   90278‐1190
JOHN E LIPTAK                                   3100 PARADISE                                                                                 CANFIELD         OH   44406‐8115
JOHN E LIVENGOOD & NINA L LIVENGOOD JT TEN      1415 CLOVERFIELD AVE                                                                          DAYTON           OH   45429‐4913
JOHN E LOCKEY                                   1717 DOUGLAS AVE                                                                              KISSIMMEE        FL   34758‐2310
JOHN E LOVELY & ESTELLE LOVELY JT TEN           5284 ST PAUL BLVD                                                                             ROCHESTER        NY   14617‐1125
JOHN E LUCADAM                                  701 SUMMERWOOD DR                                                                             GOLDEN           CO   80401‐9277
JOHN E LUDWIG                                   177 CHARLOTTE PLACE                                                                           ENGLEWOOD CLIFFS NJ   07632‐1616

JOHN E LUEBRECHT                                6610 NEW SAPULPA RD                                                                           TULSA           OK    74131‐2223
JOHN E LUPOMECH                                 12838 CHAMBERLAIN                                                                             HOUSTON         TX    77077‐3729
JOHN E LYONS                                    6207 E 150 ST                                                                                 GRANDVIEW       MO    64030‐4503
JOHN E LYONS                                    1045 WESTWOOD DR                                                                              FARIBAULT       MN    55021
JOHN E MACKEY                                   4096 AMELIA DRIVE                                                                             SAGINAW         MI    48601‐5001
JOHN E MADER                                    6341 MARBURN DRIVE                                                                            INDIANAPOLIS    IN    46227‐7619
JOHN E MADSEN                                   14631 HICKORY AVE                                                                             LEMONT          IL    60439‐7908
JOHN E MADSEN & SANDRA R MADSEN JT TEN          14631 HICKORY AVE                                                                             LEMONT          IL    60439‐7908
JOHN E MAHONEY JR                               4451 CORBIN COURT                                                                             TALLAHASSEE     FL    32308‐2287
JOHN E MAIR                                     627 E 66TH ST TERR                                                                            KANSAS CITY     MO    64131‐1142
JOHN E MANGAN                                   8937 CRESCENT BEACH RD                                                                        PIGEON          MI    48755‐9618
JOHN E MANNERS                                  170 INAGEHI WAY                                                                               LOUDON          TN    37774‐6804
JOHN E MANTYCK & MRS JULIE S MANTYCK JT TEN     423 WATER TOWER CIRCLE                                                                        BRIGHTON        MI    48116‐2920
JOHN E MARICH                                   11922 CLEARVIEW ROAD                                                                          CHESTERLAND     OH    44026‐1822
JOHN E MARLETT                                  82 GALLATIN                                                                                   BUFFALO         NY    14207‐2126
JOHN E MARSHALL                                 7205 OAK AVE                                                                                  MELROSE PARK    PA    19027‐3222
JOHN E MARTIN                                   118 PINE ST                                                                                   WELLSVILLE      NY    14895‐1433
JOHN E MARTINEZ                                 9720 N W OVERHILL DR                                                                          PARKVILLE       MO    64152‐2654
JOHN E MARTINKO & GREGORY J MARTINKO JT TEN     50883 VAN DYKE AVE                                                                            SHELBY TWP      MI    48317‐1368

JOHN E MASON                                    115 PENINSULA POINT RD                                                                        STARR           SC    29684‐9239
JOHN E MASON & SYLVIA S MASON JT TEN            115 PENINSULA POINT RD                                                                        STARR           SC    29684‐9239
JOHN E MASSEY                                   13505 W BOLERO DR                                                                             SUN CITY WEST   AZ    85375‐4707
JOHN E MATHEWS                                  2709 S OUTER DR                                                                               SAGINAW         MI    48601‐6651
JOHN E MATOUSEK                                 301 EDA CT                                                                                    ESSEXVILLE      MI    48732‐1125
JOHN E MATTHEWS JR                              11006 NEW ENGLAND DRIVE                                                                       CLINTON         MD    20735‐9344
JOHN E MAYASICH & CAROL A MAYASICH JT TEN       PO BOX 605                                                                                    GILBERT         MN    55741
JOHN E MAYNARD                                  4627 MANKATO AVE                                                                              ROYAL OAK       MI    48073‐1629
JOHN E MC EVOY & VIRGINIA R MC EVOY JT TEN      1917 VICTOR AVE                                                                               LANSING         MI    48910‐8749
JOHN E MC GRORY & JUL ANN MC GRORY JT TEN       1460 MARCY LN                                                                                 WHEELING        IL    60090‐4424
JOHN E MC ROBERTS                               430 W ASPEN DRIVE                    APT 4                                                    OAK CREEK       WI    53154‐4480
JOHN E MCARDLE JR                               4449 NORTH 106TH STREET                                                                       WAUWATOSA       WI    53225
JOHN E MCAULEY                                  14765 BAINBRIDGE                                                                              LIVONIA         MI    48154‐3645
JOHN E MCCONNELL                                1439 W TALCOTT RD                                                                             PARK RIDGE      IL    60068‐4472
JOHN E MCCOY                                    596 FULMER DRIVE                                                                              DAYTON          OH    45403‐3213
JOHN E MCDONOUGH                                1133 LANCASTER AVENUE                                                                         PITTSBURGH      PA    15218‐1012
JOHN E MCGINNIS & MARGARET C MCGINNIS JT TEN    1261 BUTLER ROAD                                                                              WORTHINGTON     PA    16262

JOHN E MCGONIGLE CPA                            110 MARTER AVE SUITE 103                                                                      MORRESTOWN      NJ    08057‐3124
JOHN E MCKEE & SHELLY L MCKEE JT TEN            21849 BLACK ROCK LANE                                                                         HALERSTOWN      MD    21740‐1823
JOHN E MCKIDDY                                  5639 HOLLYHOCK                                                                                WEST CARROLLT   OH    45449‐2915
JOHN E MCKINLEY                                 84 HOLLAND AVE                                                                                ELMONT          NY    11003‐1633
JOHN E MCNAMARA                                 4175 APPALOOSA LANE                                                                           MIDDLETOWN      MD    21769‐6602
JOHN E MECZYNSKI                                23 PHEASANT RUN RD                                                                            AMHERST         NY    14228‐1839
JOHN E MELVIN                                   6 BAYPOINT RD                                                                                 MILLSBORO       DE    19966‐9682
JOHN E MERRITT                                  8765 PRINCE AVE                                                                               LOS ANGELES     CA    90002‐1257
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 158 of 855
Name                                           Address1                               Address2                   Address3    Address4          City             State Zip

JOHN E MEYER                                    16417 E RENO AVE                                                                               CHOCTAW          OK    73020‐7418
JOHN E MIHALIS                                  50099 RT 303                                                                                   WELLINGTON       OH    44090‐9739
JOHN E MILAS & FLORENCE MILAS JT TEN            1530 BOEGER AVE                                                                                WESTCHESTER      IL    60154‐3408
JOHN E MILES                                    3330 FEE FEE                                                                                   BRIDGETON        MO    63044‐3225
JOHN E MILLER                                   405 SECOND AVE                                                                                 NEWTOWN SQ       PA    19073‐4531
JOHN E MILLER III                               1815 N POLK                                                                                    LITTLE ROCK      AR    72207‐4631
JOHN E MITCHELTREE                              9486 VIEWCREST DRIVE                                                                           ALLISON PARK     PA    15101
JOHN E MOCNY                                    710 N ELLSWORTH ST                                                                             NAPERVILLE       IL    60563‐3149
JOHN E MOFFETT                                  152 WILSON DR                                                                                  E SYRACUSE       NY    13057‐2707
JOHN E MOORE                                    5516 W 70 TERRACE                                                                              PRAIRIE VILLI    KS    66208‐2360
JOHN E MOORE                                    5332 SEVILLE CIRCLE                                                                            LA PALMA         CA    90623‐1101
JOHN E MOORE & JOHN P MOORE JT TEN              34135 SIDE HILL RD                    RTE 1 BOX 205                                            RUTLAND          OH    45775‐9666
JOHN E MOORE & MARGARET MOORE JT TEN            1017 E 178TH ST                                                                                CLEVELAND        OH    44119‐2969
JOHN E MORAR                                    18475 PROSPECT RD                                                                              STRONGSVILLE     OH    44149‐6727
JOHN E MORRIS                                   54 STEUBEN STREET                                                                              ADDISON          NY    14801‐1214
JOHN E MORRIS & DOROTHY I MORRIS TR UA 05/22/06 198 IRONWOOD ST                                                                                VACAVILLE        CA    95688
MORRIS FAMILY TRUST
JOHN E MORRISON                                 8803 W MANSLICK RD                                                                             VALLEY STATION   KY    40272‐2228
JOHN E MULGREW                                  76 W 21ST STREET                                                                               AVALON           NJ    08202‐2015
JOHN E MULLINS                                  PO BOX 124                            CARDIGAN PRINCE PE                     C0A 1G0 CANADA
JOHN E MURRAY & HIDEKO MURRAY JT TEN            1512 THURSO RD                                                                                 LYNN HAVEN       FL    32444‐8336
JOHN E NELSON                                   90 GOLDNER AVE                                                                                 WATERFORD        MI    48328‐2849
JOHN E NELSON & SHIRLEY A MORRELL JT TEN        PO BOX 249                                                                                     BROWNSVILLE      OR    97327‐0249
JOHN E NICHOLS                                  136 N WOOD ST                                                                                  WILMINGTON       OH    45177‐1235
JOHN E NOAKES & WENDY B NOAKES JT TEN           4295 BARNETT SHOALS ROAD                                                                       ATHENS           GA    30605‐4721
JOHN E NOEL JR                                  25800 MILFORD ROAD                                                                             SOUTH LYON       MI    48178‐8950
JOHN E NOLAN                                    2547 SANDY CREEK DR                                                                            SHELBY TWP       MI    48316‐3854
JOHN E NORTHRUP JR                              2218 GARY DRIVE                                                                                MANSFIELD        OH    44903‐8845
JOHN E NOVAK                                    12 MARY STREET                                                                                 TAPPAN           NY    10983‐1721
JOHN E NOWAK                                    2035 KENNETH DR                                                                                BAY CITY         MI    48706‐9735
JOHN E NUGENT & WILLIAM A NUGENT & MARIAN E     4705 MAPLE AVENUE                                                                              LA MESA          CA    91941
CALLAHAN TR UA 12‐16‐92
JOHN E NUNAMAKER                                8107 IVANDALE DRIVE                                                                            PARMA            OH    44129‐4311
JOHN E O'HORA CUST ROBERT RIDGEWAY HILL JR UTMA 10901 WORRELL RD                                                                               KIRTLAND         OH    44094‐9414
OH
JOHN E OCONNOR                                  3937 CURTIS RD                                                                                 BIRCH RUN        MI    48415‐9083
JOHN E OCZEPEK                                  1762 LIBERTY RD                                                                                SAGINAW          MI    48604‐9261
JOHN E ODLE JR                                  1015 FARNUM AVE                                                                                FLINT            MI    48503‐3122
JOHN E OLINGER                                  1422 BENTON ROAD                                                                               SALEM            OH    44460‐9680
JOHN E OLSON                                    4255 VICKERS LN                                                                                CLINTON          WA    98236‐8918
JOHN E OLSON                                    PO BOX 952                                                                                     RAPID CITY       SD    57709‐0952
JOHN E ONEAL                                    34217 OAKVIEW ST                                                                               CLINTON TOWNSHIP MI    48035‐3721

JOHN E ORTH & THELMA W ORTH JT TEN            442 FAST LANDING RD                                                                              DOVER            DE    19901‐2705
JOHN E ORVIS                                  C/O ALICE H ORVIS                       290 PARADISE BLVD APT 58                                 INDIALANTIC      FL    32903‐2459
JOHN E OSBORNE CUST RUSSELL W OSBORNE UTMA CO 8949 APACHE PLUME DR                                                                             PARKER           CO    80134‐8923

JOHN E OSBURN                                  10702 NW 58TH ST                                                                                KANSAS CITY      MO    64152‐3312
JOHN E OSIPUK                                  4 KINGS CT                                                                                      PARSIPPANY       NJ    07054‐4813
JOHN E OWENS                                   38299 AVONDALE                                                                                  WESTLAND         MI    48186‐3829
JOHN E PANEK CUST JOHN G PANEK UGMA NY         1320 VIRGINIA WAY                                                                               LA JOLLA         CA    92037‐5232
JOHN E PARKER                                  2131 CHAPARRAL                                                                                  KALAMAZOO        MI    49006‐1382
JOHN E PARKS                                   PO BOX 421                                                                                      ATLANTA          MI    49709‐0421
JOHN E PARKS & MARY L PARKS JT TEN             302 S KEELER                                                                                    OLATHE           KS    66061‐4720
JOHN E PARMETER                                16 HEPBURN STREET                                                                               NORFOLK          NY    13667‐3103
JOHN E PASCHE                                  1111 CRESTHAVEN DRIVE                                                                           CEDARHILL        TX    75104
JOHN E PATTERSON                               15824 WASHBURN                                                                                  DETROIT          MI    48238‐1066
JOHN E PEARSON                                 2101 S OUTER                                                                                    SAGINAW          MI    48601‐6641
JOHN E PEARSON                                 6323 COHOCTAH RD                                                                                FENTON           MI    48430‐8951
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 159 of 855
Name                                             Address1                               Address2             Address3          Address4             City              State Zip

JOHN E PENTALERI                                 108 RIDGELAND DR                                                                                   GREENVILLE        SC    29601‐3017
JOHN E PENTY                                     5805 SPINDLE PALM CT                   #D                                                          DELRAY BEACH      FL    33484‐2037
JOHN E PERKINS                                   31 LANGNER LANE                                                                                    WESTON            CT    06883‐1218
JOHN E PERKINS III                               3112 WINCHESTER ACRES RD                                                                           LOUISVILLE        KY    40245‐1652
JOHN E PEROTTI                                   560 ACACCIA AVE                                                                                    SAN BRUNO         CA    94066‐4222
JOHN E PETERSON                                  3848 N WEST TORCH LAKE DR                                                                          REWADIN           MI    49648‐9047
JOHN E PITTAWAY                                  PO BOX 22127                                                                                       INDIANAPOLIS      IN    46222‐0127
JOHN E PLESIOTIS                                 150 AMBLESIDE RD                                                                                   DESPLAINES        IL    60016‐2653
JOHN E PLEVA                                     10860 SHARON DR                                                                                    PARMA             OH    44130‐1428
JOHN E PLEVA                                     500 NORDBERG NW                                                                                    GRAND RAPIDS      MI    49504‐4730
JOHN E PLEVA JR                                  10860 SHARON DRIVE                                                                                 PARMA             OH    44130‐1428
JOHN E POWELL                                    905 HILLCREST ST                                                                                   PLEASANT HILL     MO    64080‐1571
JOHN E POWERS III                                343 ALUMN HILL RD                                                                                  ASHLEY FALLS      MA    01222
JOHN E POZNANSKI                                 145 ORCHARD TERRACE                                                                                CLARK             NJ    07066
JOHN E PRATT                                     PO BOX 6560 ARAMCO                     DHAHRAN                                31311 SAUDI ARABIA
JOHN E PRINCE                                    7485 CLEARMEADOW DR                                                                                SPRING HILL       FL    34606‐7265
JOHN E PRUETT                                    5978 NEW BETHANY RD                                                                                BUFORD            GA    30518‐1434
JOHN E QUINN                                     32 DRYDEN ROAD                                                                                     BASKING RIDGE     NJ    07920‐1925
JOHN E QUINZY                                    11621 RAWSONVILLE RD                                                                               BELLEVILLE        MI    48111‐9373
JOHN E RAMSEY                                    601 HAWTHORNE N W                                                                                  WARREN            OH    44483‐2237
JOHN E RANKIN JR                                 1045 S STATE RTE 53                                                                                LOMBARD           IL    60148‐3226
JOHN E RASMUSSEN                                 PO BOX 208                                                                                         MADDOCK           ND    58348‐0208
JOHN E RAY                                       2355 PRIMROSE ST                                                                                   BEAUMONT          TX    77703‐3323
JOHN E RAYMOND SR                                PO BOX 2185                                                                                        MARSHALL          TX    75672
JOHN E REDEFER JR                                20 COVENTRY RD                                                                                     REHOBOTH BEACH    DE    19971‐1430

JOHN E REYNOLDS JR & BEVERLY J REYNOLDS JT TEN   9105 N STATE RD 267                                                                                BROWNSBURG        IN    46112‐8278

JOHN E RIALS                                     1974 E LINCOLN RD SE                                                                               BROOKHAVEN        MS    39601‐8784
JOHN E RIDER                                     7 CRAFTSMAN CIR                                                                                    ASHEVILLE         NC    28805
JOHN E RITZ                                      26 WEST JEFFERSON RD                                                                               PITTSFORD         NY    14534‐1902
JOHN E RITZ & MRS MARY H RITZ JT TEN             26 WEST JEFFERSON RD                                                                               PITTSFORD         NY    14534‐1902
JOHN E RITZERT                                   7314 FLAMINGO ST                                                                                   ALGONAC           MI    48001‐4132
JOHN E ROBERSON                                  C/O TERRY R ROBERSON                   1110 GOODMAN AVE                                            HAMILTON          OH    45013
JOHN E RODWELL                                   68 LINDSLEY AVE                                                                                    IRVINGTON         NJ    07111‐1748
JOHN E ROGOWSKI                                  103 TAYLOR AVE                                                                                     ROSSCOMMON        MI    48653‐9528
JOHN E ROHRBAUGH                                 262 AVONDALE RD                                                                                    ROCHESTER         NY    14622‐1963
JOHN E ROLFE & KATHRYN J ROLFE JT TEN            11365 MILSHIRE PL                                                                                  GRAND BLANC       MI    48439‐1229
JOHN E ROMAS CUST JOHN JOSEPH ROMAS UGMA MI      7144 OAKWOOD DR                                                                                    WEST BLOOMFIELD   MI    48322‐2736

JOHN E ROMAS CUST KARLIE BRETT ROMAS UGMA MI     7144 OAKWOOD DR                                                                                    WEST BLOOMFIELD MI      48322‐2736

JOHN E ROSE & JANET L ROSE JT TEN                PO BOX 853                                                                                         PLEASANT GROVE    UT    84062‐0853
JOHN E ROSEBRUGH JR                              5025 N 2 MILE RD                                                                                   PINCONNING        MI    48650‐9720
JOHN E ROSLUND                                   32 CLINTON AVE                                                                                     WESTPORT          CT    06880‐1208
JOHN E ROSSMAN                                   18635 N 41ST PLACE                                                                                 PHOENIX           AZ    85050‐3759
JOHN E ROSTINE                                   15534 BREST ST                                                                                     SOUTHGATE         MI    48195‐2207
JOHN E RUBEL & EVELYN M RUBEL TR THE RUBEL       11075 SOUTH LINDEN RD                                                                              LINDEN            MI    48451‐9465
FAMILY TRUST UA 06/13/02
JOHN E RUGGLES TR UA 11/20/2007 RUGGLES FAMILY   PO BOX 8179                                                                                        NEW BEDFORD       MA    02742
REVOCABLE TRUST
JOHN E RUMSEY                                    540 SPRING LN                                                                                      FLUSHING          MI    48433‐1902
JOHN E RUNYAN JR                                 2435 F CYPRESS POINT                                                                               FAIRBORN          OH    45324‐7505
JOHN E RUPP                                      1721 E COUNTY ROAD 1100 S                                                                          COAL CITY         IN    47427‐8920
JOHN E RUSSELL                                   PO BOX 945                                                                                         MCCALL            ID    83638
JOHN E RYALL                                     16102 MICKLEHAM DR                                                                                 SPRING            TX    77379‐5700
JOHN E SAKAS & MARY J SAKAS JT TEN               3911 N PRICETOWN RD                                                                                NEWTON FALLS      OH    44444‐9449
JOHN E SALADIN                                   3697 S LAKOLA RD                                                                                   REED CITY         MI    49677‐9563
JOHN E SALADIN & KATHERINE I SALADIN JT TEN      3697 S LAKOLA RD                                                                                   REED CITY         MI    49677‐9563
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 160 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JOHN E SAUTKULIS                                  20 ORCHARD ST                                                                                    PORT WASHINGTON NY      11050‐2464

JOHN E SAWYER                                     PO BOX4877                                                                                       SEMINOLE          FL    33775‐4877
JOHN E SAYRE                                      17 ROOSEVELT DRIVE                                                                               BEDFORD HILLS     NY    10507‐1003
JOHN E SCARLATA                                   PO BOX 797                                                                                       VALLE CRUCIS      NC    28691‐0797
JOHN E SCHAEKEL                                   10726 STABLE DRIVE                                                                               INDIANAPOLIS      IN    46239‐8844
JOHN E SCHAUFELBERGER                             14704 SE 46TH STREET                                                                             BELLEVUE          WA    98006‐2443
JOHN E SCHIFFERDECKER                             411 N CHEROKEE ST                                                                                GIRARD            KS    66743‐1111
JOHN E SCHIFFERDECKER & CAROLE A SCHIFFERDECKER   411 N CHEROKEE ST                                                                                GIRARD            KS    66743‐1111
JT TEN
JOHN E SCHULENBERG                                445 SOUTH FOURTH AVE                                                                             ANN ARBOR         MI    48104‐2301
JOHN E SCHULER                                    138 W FLAGSTONE DR                                                                               NEWARK            DE    19702‐3647
JOHN E SCHWARTZ                                   89 LINDA ISLE DR                                                                                 NEWPORT BEACH     CA    92660‐7209
JOHN E SCOTT                                      75 TWIN SPRINGS FARM LN                                                                          FOLEY             MO    63347‐2537
JOHN E SCOTT                                      1850 CASTLEWOOD DRIVE                                                                            MADISON HEIGHTS   MI    48071‐2260

JOHN E SERVIS                                     944 LAWRENCEVILLE RD                                                                             PRINCETON         NJ    08540‐4320
JOHN E SHAPPELL                                   3825 CENTRE STREET #19                                                                           SAN DIEGO         CA    92103‐3620
JOHN E SHEPARD                                    106 ROSE CORAL DRIVE                                                                             PANAMA CITY       FL    32408‐5108
                                                                                                                                                   BEACH
JOHN E SHIELDS CUST MASON SHIELDS UTMA KY           715 KENTUCKY AVE                                                                               LOUISVILLE        KY    40222
JOHN E SHIVER                                       17033 LAURELMONT COURT                                                                         FT MILL           SC    29715
JOHN E SIBRAVA                                      250 CHASSE CIR                                                                                 SAINT CHARLES     IL    60174‐1418
JOHN E SIEBER                                       5835 CAMBRIDGE AVENUE                                                                          CINCINNATI        OH    45230‐1713
JOHN E SIEGRIST JR                                  1015 DELRAY DR                                                                                 INDIANAPOLIS      IN    46241‐1773
JOHN E SIMON                                        5277 CEDONIA AVE                                                                               BALTIMORE         MD    21206‐4003
JOHN E SINTAS                                       930 SOUTH PINE ST                                                                              GRAPEVINE         TX    76051‐5567
JOHN E SKINNER                                      PO BOX 151ROUTE 841                                                                            LEWISVILLE        PA    19351
JOHN E SLAGG                                        301 PARK LN                                                                                    EDGERTON          WI    53534‐1406
JOHN E SLIVA                                        3866 N CENTER RD                                                                               SAGINAW           MI    48603‐1916
JOHN E SMIGIEL                                      9449 BRISTOL RD                                                                                SWARTZ CREEK      MI    48473‐8592
JOHN E SMITH                                        11845 BRAILE STREET                                                                            DETROIT           MI    48228‐1094
JOHN E SMITH                                        23515 OLIVER CT                                                                                SOUTHFIELD        MI    48034‐3107
JOHN E SMITH                                        24412 JULIET DRIVE                                                                             CENTER LINE       MI    48015‐1056
JOHN E SMITH & ELAINE M SMITH JT TEN                2017 EVERETT ROAD                                                                              EAST FREEDOM      PA    16637
JOHN E SOLIGO                                       11222 NE 131ST ST                                                                              LIBERTY           MO    64068‐8243
JOHN E SORRELLS                                     827 SILVERGATE DR                                                                              HOUSTON           TX    77079‐5046
JOHN E SOWERS JR                                    1197 BROADMOOR CT                                                                              HAMPSTEAD         MD    21074‐1638
JOHN E SPEHAR                                       3827 PERCY KING COURT                                                                          WATERFORD         MI    48329‐1356
JOHN E SPENCE                                       2614 S LINVILLE ST                                                                             WESTLAND          MI    48186‐4216
JOHN E SPRINGER                                     181 BIRCH HTS                                                                                  WINDSOR           VT    05089‐9477
JOHN E SPRINGMAN                                    5445 W 900 N                                                                                   CARTHAGE          IN    46115‐9533
JOHN E STARK                                        6078 EAST AVE                                                                                  NEWFANE           NY    14108‐1304
JOHN E STEELE TR UA 06/28/2007 JOHN E STEELE LIVING 19051 MERRIMAN                                                                                 LIVONIA           MI    48152
TRUST
JOHN E STEPHAN                                      APT 1‐1703                            203 YOAKUM PARKWAY                                       ALEXANDRIA       VA     22304‐3753
JOHN E STEPLETON & EUGENIA L STEPLETON JT TEN       9171 DEERFIELD DR                     PO BOX 604                                               WESTFIELD CENTER OH     44251‐0604

JOHN E STEVENS                                    5977 WHITEWATER ELDORADO RD                                                                      NEW PARIS         OH    45347‐9260
JOHN E STEWART SR                                 5100 CONGRESS PKWY                                                                               CHICAGO           IL    60644‐4818
JOHN E STINSON                                    7087 ABBEY LANE                                                                                  SWARTZ CREEK      MI    48473‐1568
JOHN E STRADER & ROSE S STRADER JT TEN            8665 GERA RD                                                                                     BIRCH RUN         MI    48415‐9717
JOHN E STREETER & MRS BARBARA R STREETER JT TEN   1609 RIVER RIDGE                                                                                 WILLIAMSBURG      VA    23185‐7546

JOHN E STRICKLAND                                 1328 GLENHAVEN DR                                                                                COLUMBIA          SC    29205‐4924
JOHN E SULLIVAN                                   1231 PLEASANTVIEW DR D                                                                           FLUSHING          MI    48433‐2802
JOHN E SUMMERS                                    PO BOX 246                                                                                       GREENBUSH         MI    48738‐0246
JOHN E SUMMERS & LEONA E SUMMERS JT TEN           PO BOX 246                                                                                       GREENBUSH         MI    48738‐0246
JOHN E SVEC                                       42007 EDENBROOKE                                                                                 CANTON            MI    48187‐3947
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 161 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

JOHN E SWENSON & SARA H SWENSON JT TEN           2 POOR RICHARDS DR                                                                            CONCORD         NH    03304‐3505
JOHN E SZPYTMAN                                  440 BEECHMONT                                                                                 DEARBORN        MI    48124‐1350
JOHN E TAMALONIS                                 7 COLE RD                                                                                     HAYDENVILLE     MA    01039‐9728
JOHN E TANKARD JR                                PO BOX 976                                                                                    NASSAWADOX      VA    23413‐0976
JOHN E TAYLOR                                    732 LOGGERS CIRCLE                                                                            ROCHESTER       MI    48307‐6022
JOHN E THOMAS                                    312 CRESTVIEW COURT                                                                           CHESTERFIELD    IN    46017‐1418
JOHN E THOMAS                                    3130 ARNOLD TENBROOK RD                                                                       ARNOLD          MO    63010‐4732
JOHN E THOMPSON                                  1200 N TIPPECANOE                                                                             ALEXANDRIA      IN    46001‐1157
JOHN E THOMPSON & EVA C THOMPSON JT TEN          35998 QUACKERTOWN LANE                                                                        FARMINGTON      MI    48024
JOHN E TOLONEN                                   8726 RIVERSIDE DR                                                                             BRIGHTON        MI    48116‐8236
JOHN E TRANBARGER                                463 CO RD 3450                                                                                MOUNTAIN VIEW   MO    65548‐7345
JOHN E TRAVIS                                    4908 NW 3RD AVE                                                                               POMPANO BEACH   FL    33064‐2424
JOHN E TRIPP CUST AUTUMN R TRIPP UGMA MI         10164 LAKE RD                                                                                 OTISVILLE       MI    48463‐9714
JOHN E TRIPP CUST BRANDON D TRIPP UGMA MI        10164 LAKE RD                                                                                 OTISVILLE       MI    48463‐9714
JOHN E TURNER                                    834 LANSDOWNE BLVD                                                                            YOUNGSTOWN      OH    44505‐3413
JOHN E TURNER                                    101 SKYFLOWER CIR                                                                             DAYTONA BEACH   FL    32117‐7125
JOHN E TWEEDY & MARGARET B TWEEDY JT TEN         BOX 893                                                                                       CUT BANK        MT    59427‐0893
JOHN E VAN GORDER & ELAINE M VAN GORDER JT TEN   638 PORTERSVILLE RD                                                                           ELLWOOD CITY    PA    16117‐2719

JOHN E VANCE SR                                  3455 FINESSE DR                                                                               DECATUR         GA    30032‐7213
JOHN E VOEGELI                                   BOX 66                                                                                        MONTICELLO      WI    53570‐0066
JOHN E WALENCIK                                  2510 NORTH VERONA ROAD                                                                        MORRIS          IL    60450‐8146
JOHN E WALKER                                    3435 LEATHERWOOD FORD ROAD                                                                    JAMESTOWN       TN    38556‐5863
JOHN E WALKER                                    1516 HIPOINT 303                                                                              LOS ANGELES     CA    90035‐1539
JOHN E WALTON                                    32975 LEDGE HILL DRIVE                                                                        SOLON           OH    44139‐1918
JOHN E WARD                                      7208 ANNA ST                                                                                  GRAND BLANC     MI    48439‐8547
JOHN E WARD                                      2712 CHKER TAVRN RD                                                                           APPLETON        NY    14008
JOHN E WARNER                                    1603 LYON NE                                                                                  GRAND RAPIDS    MI    49503‐3715
JOHN E WATSELL & GEORGIANNA G WATSELL JT TEN     6414 THREE PINES RD                                                                           BARE LAKE       MI    49614‐9217

JOHN E WAYLAND                                   4360 CHEESEMAN AVE                                                                            WATERFORD       MI    48329‐4006
JOHN E WEAVER                                    6090 HARTWICK DR                                                                              LANSING         MI    48906‐9350
JOHN E WEGERT                                    W6940 RUBIDELL RD                                                                             WATERTOWN       WI    53094‐9116
JOHN E WELSH                                     3470 ROHO                                                                                     PECK            MI    48466‐9626
JOHN E WELSH & GAIL WELSH JT TEN                 5470 ROHO                                                                                     PECK            MI    48466‐9626
JOHN E WESLEY                                    19 W CORD 1150 S                                                                              CLOVERDALE      IN    46120
JOHN E WHITE                                     8693 SCENIC HILLS                                                                             PENSACOLA       FL    32514‐5644
JOHN E WILLIAMS                                  208 CLANCY ST                                                                                 SALISBURY       NC    28147‐1106
JOHN E WILLIAMS & DARLENE S WILLIAMS JT TEN      5231 DELTA RIVER DR                                                                           LANSING         MI    48906‐9012
JOHN E WILLIAMS JR & LANA E WILLIAMS JT TEN      715 COX NECK RD                                                                               NEW CASTLE      DE    19720
JOHN E WILSON                                    1695 GROVENBURG RD                                                                            HOLT            MI    48842‐9647
JOHN E WILSON & SUANNE WILSON JT TEN             375 LISA ST                                                                                   CHUBBUCK        ID    83202‐2159
JOHN E WISE                                      3105 FELT                                                                                     LANSING         MI    48906‐3002
JOHN E WISNIEWSKI                                6407 DORA BLVD                                                                                INDEPENDENCE    OH    44131‐4936
JOHN E WOODSIDE & MRS BETTY DELORES WOODSIDE     121 ST CHRISTOPHER                                                                            CAHOKIA         IL    62206‐2439
JT TEN
JOHN E WURTELE JR & TRUNNETTE Y WURTELE JT TEN   1225 J G LANE                                                                                 TALLAHASSEE     FL    32301‐5768

JOHN E YANDURA                                   1017 AMELIA                                                                                   ROYAL OAK       MI    48073‐2704
JOHN E ZIMMERMAN                                 2231 S ST RD 135                                                                              GREENWOOD       IN    46143‐9443
JOHN EAGAN & KATHLEEN EAGAN JT TEN               45 KENNEDY DR                                                                                 W HAVERSTRAW    NY    10993‐1025
JOHN EARL FRAZIER II                             36 MORGAN AVE                                                                                 WASHINGTON      PA    15301‐3533
JOHN EARL MCBRIDE                                9910 N SORRELL RD                                                                             CASTLE ROCK     CO    80104‐9117
JOHN EARL MYERS JR                               5197 OLD COLONY DRIVE                                                                         WARREN          OH    44481‐9154
JOHN EARLY & TETYANA EARLY JT TEN                2732 GREEN MEADOW DR                                                                          BLACKSBURG      VA    24060
JOHN EBERHARD                                    314 MIAMI LAKES DRIVE                                                                         MILFORO         OH    45150
JOHN EDINGER                                     105 ALTON ST                                                                                  SYRACUSE        NY    13215‐1501
JOHN EDMOND HEER                                 PO BOX 3546                                                                                   SHAWNEE         OK    74802‐3546
JOHN EDMUND JOSLIN                               1704 CRESTGATE DR                                                                             WAXHAW          NC    28173‐6730
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 162 of 855
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

JOHN EDMUND WHATLEY SR                           HC 68 BOX 2553W                                                                              MIMBRES         NM    88049‐9300
JOHN EDWARD ANDERSON                             1144 VANDEMAN STREET                                                                         INDIANAPOLIS    IN    46203‐2252
JOHN EDWARD BARRIE                               237 COUNTY RTE 14                                                                            FULTON          NY    13069‐4337
JOHN EDWARD BARTEL                               5103 LAUREL PARK DRIVE                                                                       CAMARILLO       CA    93012‐5338
JOHN EDWARD BEARISH JR                           1823 WHITEHALL ST                                                                            ALLENTOWN       PA    18104‐4147
JOHN EDWARD COLEMAN                              306 MULBERRY ST                                                                              BUFFALO         NY    14204‐1030
JOHN EDWARD COOK                                 329 LOCUST ST                                                                                EDGEWOOD        PA    15218‐1424
JOHN EDWARD CORMAN                               201 E FRONT ST                                                                               DANVILLE        PA    17821‐1929
JOHN EDWARD CUTCLIFFE                            1350 N ORANGE GROVE AVE                                                                      LOS ANGELES     CA    90046‐4711
JOHN EDWARD DAHLBERG                             1335 ASH HOLLOW PL                                                                           CASTLE ROCK     CO    80104‐9685
JOHN EDWARD FORSYTHE                             PO BOX 11                                                                                    WINONA          MS    38967‐0011
JOHN EDWARD FRENCH                               5503 LACREEK LN                                                                              SPRING          TX    77379‐7917
JOHN EDWARD GILBERT                              1424 S WABASH STREET                                                                         KOKOMO          IN    46902‐6254
JOHN EDWARD GREEN                                13025 DUFFIELD RD                                                                            BYRON           MI    48418
JOHN EDWARD HEMPHILL                             PO BOX 544                                                                                   SAUTEE          GA    30571‐0544
                                                                                                                                              NACOOCHEE
JOHN EDWARD HEPPE                                607 WOODLEAVE ROAD                                                                           BRYN MAWR       PA    19010‐2920
JOHN EDWARD HETTERICK                            1003 HILLTOP LANE                                                                            FELICITY        OH    45120
JOHN EDWARD HOLT                                 5037 LOUNSBURY DR                                                                            DAYTON          OH    45417‐6040
JOHN EDWARD KERN                                 85 E 3RD ST D‐2                                                                              NEW YORK        NY    10003‐9040
JOHN EDWARD OBRIEN                               108 GREENRIDGE DR                                                                            MOORE           SC    29369‐9731
JOHN EDWARD RADVANSKY                            325 NANCY CIRCLE                                                                             BRUNSWICK       OH    44212‐1452
JOHN EDWARD TUCKER                               92 HENDRICKS ISLE                   APT 5                                                    FT LAUDERDALE   FL    33301‐3723
JOHN EDWARD WALSH JR & LYDIA WALSH JT TEN        2424 FAIRMOUNT AVE                                                                           LA CRESCENTA    CA    91214‐3121
JOHN EDWARD WRIGHT & GLYNN FAYE WRIGHT JT TEN    9440 CROCKETT RD                                                                             BRENTWOOD       TN    37027‐8401

JOHN EDWARD WURTELE                              10047 TEPA PL                                                                                FT MILL         SC    29715‐9330
JOHN EDWARDSEN KNIFFIN                           316 WEATHERSTONE LN                                                                          SIMPSONVILLE    SC    29680‐7259
JOHN EDWARDYORK                                  4380 PEBBLEBEACH                                                                             CANFIELD        OH    44406‐9045
JOHN EICHER TOD DALE EICHER                      5551A IVY CT                                                                                 WILLOUGHBY      OH    44094‐3249
JOHN ELDON MCROBERTS                             2304 DENHAN DR                                                                               ARLINGTON       TX    76001‐8413
JOHN ELEFTHERIADES                               1021 WHITESTONE EXPY                                                                         WHITESTONE      NY    11357‐1054
JOHN ELEX WINELAND                               43 CYPRESS COURT                                                                             LABELLE         FL    33935‐9430
JOHN ELIAS                                       8280 SANDPINE CIRCLE                                                                         PORT ST LUCI    FL    34952‐2615
JOHN ELLIOTT                                     C/O DITTA WILLIAMS                  4663 CYRUS WAY                                           OCEANSIDE       CA    92056
JOHN ELMORE MARTIN                               605 TANGLEWOOD LANE                                                                          KERRVILLE       TX    78028‐2939
JOHN ELSWORTH                                    HOLDEN LTD 261 SALMON ST            PORT MELBOURNE       VICTORIA          AUSTRALIA
JOHN ELWOOD FASH                                 7 LAWDRY RD                                                                                  SOMERSET        NJ    08873
JOHN ELZA                                        7301 MAIN ST                                                                                 DOWNERS GROVE   IL    60516‐3802
JOHN EMERSON EMERY                               2242 CEDAR RUN RD                                                                            MIO             MI    48647‐8721
JOHN ENGLISH BAGBY                               124 LAGOON LN                                                                                ATLANTIC BCH    NC    28512‐6305
JOHN ENOKIAN & MISS VIRGINIA ENOKIAN JT TEN      1800 N LAFAYETTE                                                                             DEARBORN        MI    48128‐1165
JOHN EPPS                                        1241 S MAIN ST 21                                                                            WAKE FOREST     NC    27587‐9494
JOHN ERIC HARPER JR                              1746 CALLE LINDERO                                                                           LOMPOC          CA    93436‐1705
JOHN ERIC HESTER CUST CLAIRE M HESTER UGMA MI    690 MCMUNN                                                                                   SOUTH LYON      MI    48178‐1332

JOHN ERIC HESTER CUST HEATHER E HESTER UGMA MI   690 MCMUNN                                                                                   SOUTH LYON      MI    48178‐1332

JOHN ERIC HESTER CUST JOHN C HESTER UGMA MI      690 MCMUNN                                                                                   SOUTH LYON      MI    48178‐1332

JOHN ERICSSON SOCIETY INC                        ATTN RAGNA E LAVAGNINO              PO BOX 317           CANDLEWOOD ISLE                     NEW FAIRFIELD   CT    06812‐0317
JOHN ERIK THORSTEN OLSSON                        809 EAST 31ST STREET                                                                         AUSTIN          TX    78705‐3205
JOHN ERNEST PENA                                 337 HIGH HOPE RD                                                                             SULPHUR         LA    70663‐0237
JOHN ERNEST SIMPSON                              226 E CUCAMONGA                                                                              CLAREMONT       CA    91711‐5015
JOHN ERNEST SMITH & WILLIAM L SMITH JT TEN       355 BOYLSTON ST                                                                              BOSTON          MA    02116
JOHN ERVING WELCH & JOHN CARLEN WELCH JT TEN     6974 70E HIGHWAY                                                                             COOKEVILLE      TN    38506

JOHN ERWIN ARCHER                                552 DUNLEITH                                                                                 GREENVILLE      MS    38701‐7711
JOHN ESLEY                                       9271 RIDGE PATH                                                                              SAN ANTONIO     TX    78250
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 163 of 855
Name                                            Address1                               Address2             Address3          Address4                    City               State Zip

JOHN ESPINOZA                                   C/O JUAN ESPINOZA                      34229 MARQUETTE                                                    WESTLAND           MI    48185‐3565
JOHN ESPOSITO                                   149 CENTRAL AVE                                                                                           JOHNSON            RI    02919‐5523
JOHN EUGENE HAYNES                              539 PHEASANT RUN DRIVE                                                                                    ARNOLD             MO    63010‐2313
JOHN EVAN GRANT                                 6370 CYPRESS ST                        VANCOUVER BC                           V6M 3S5 CANADA
JOHN EVANS LAIRD IV                             90 EDISON RD                                                                                              DOYLESTOWN       PA      18901‐2851
JOHN EVERETT CIESLIK                            6385 SHELDON RD                                                                                           ROCHESTER        MI      48306‐3542
JOHN EZBIANSKY                                  PO BOX 116                                                                                                MACUNGIE         PA      18062‐0116
JOHN F ABBOTT IV                                1104 BLUEBIRD DRIVE                                                                                       VIRGINIA BEACH   VA      23451‐5214
JOHN F ABEL                                     140 PROSPECT ST                                                                                           EAST STROUDSBURG PA      18301‐2525

JOHN F ADAMS                                    280 PARMA CENTER RD                                                                                       HILTON             NY    14468‐9351
JOHN F ADKINS                                   131 MARBROOK DR                                                                                           DAYTON             OH    45429‐5436
JOHN F ALLEGER                                  480 GREENWOOD RD                                                                                          KENNETT SQUARE     PA    19348‐2529
JOHN F ALLEN                                    604 N COLLEGE ST                                                                                          GADSDEN            AL    35905‐1207
JOHN F ALVARADO                                 1910 W 1ST ST                                                                                             MARION             IN    46952‐3258
JOHN F AMBRECHT                                 3866 HEMLOCK ST                                                                                           OXNARD             CA    93035‐2932
JOHN F ANDERSON                                 214 ROCK CREEK DR                                                                                         GREENVILLE         SC    29605‐1128
JOHN F ARMIENTI                                 6837 SW 10 STREET                                                                                         PEMBROKE PINE      FL    33023‐1632
JOHN F ARNAUT                                   503 WENDEMERE DRIVE                                                                                       HUBBARD            OH    44425‐2623
JOHN F ATEN & JOHN F ATEN III JT TEN            25200 TREADWELL AVE                                                                                       EUCLID             OH    44117‐1232
JOHN F BABINSKI & KAREN K BABINSKI JT TEN       11815 DICE RD RT‐3                                                                                        FREELAND           MI    48623‐9281
JOHN F BAILEY                                   12422 WILSON RD                                                                                           OTISVILLE          MI    48463‐9763
JOHN F BAMMEL                                   9486 GOLFSHORE DR #301                                                                                    NAPLES             FL    34108
JOHN F BARRON                                   PO BOX 9829                                                                                               PANAMA CITY BCH    FL    32417‐0229

JOHN F BARRY                                    624 15TH ST                                                                                               MANHATTAN          CA    90266‐4805
                                                                                                                                                          BEACH
JOHN F BARTZ                                    41510 HAGGERTY WOODS CT                                                                                   CANTON             MI    48187‐3781
JOHN F BAUM JR                                  3311 SANDY CREEK DR                                                                                       SHELBY TWP         MI    48316‐3957
JOHN F BAUMILLER                                2998 BUSHNELL CAMPBELL RD                                                                                 FOWLER             OH    44418‐9728
JOHN F BAYLOCK                                  7 LANSBURY CIR                                                                                            HAINESPORT         NJ    08036‐6253
JOHN F BAYNES                                   7730 W ARMITAGE AVE                                                                                       ELMWOOD PARK       IL    60707‐3600
JOHN F BAZZONI & GARY E BAZZONI JT TEN          11143 INDIAN WOOD DRIVE                                                                                   INDIAN HEAD PARK   IL    60525‐4985

JOHN F BEATTY                                   37640 VINTAGE DR                                                                                          PALMDALE           CA    93550‐7038
JOHN F BEATTY JR                                4623 TARRAGON AVE                                                                                         MIDDLEBURG         FL    32068‐6123
JOHN F BEATTY JR & MARJORIE E BEATTY JT TEN     7198 E CARPENTER RD                                                                                       DAVISON            MI    48423‐8958
JOHN F BECK                                     8339 AVIGNON DR                                                                                           RICHMOND           VA    23235‐4205
JOHN F BECKWITH SR & MINNIE M BECKWITH JT TEN   6343 CORUNNA RD                        PO BOX 7794                                                        FLINT              MI    48507‐1934

JOHN F BENDER                                   1416 COLUMBIA ST NW                                                                                       WASHINGTON         DC    20001
JOHN F BENDER & MARGARET H BENDER JT TEN        6150 FARVER RD                                                                                            MCLEAN             VA    22101‐3223
JOHN F BENNETT                                  3 HERBERT HOOVER DR                                                                                       NEW WINDSOR        NY    12553‐6408
JOHN F BENNETT                                  41 DEER RUN LANE                                                                                          HILTON HEAD        SC    29928‐4119
                                                                                                                                                          ISLAND
JOHN F BERGSTROM                                PO BOX 777                                                                                                NEENAH             WI    54957‐0777
JOHN F BERTORELLI                               PIZZAAMORE 9718 EST THOM               ST THOMAS VI                           802 VIRGIN ISLANDS OF THE
                                                                                                                              USA
JOHN F BERTSCH                                  2303 ARMSTRONG AVE                                                                                        SIDNEY             OH    45365‐1517
JOHN F BETSCH                                   2325 NORTH SEA DRIVE                                                                                      SOUTHOLD           NY    11971
JOHN F BLAKE                                    799 WARD ROAD                                                                                             WILMINGTON         OH    45177‐9213
JOHN F BLUM                                     27420 PALOMINO                                                                                            WARREN             MI    48093‐8323
JOHN F BOBROWICZ                                1165 INVERNESS LANE                                                                                       STOW               OH    44224‐2268
JOHN F BODNER & ANNA J BODNER JT TEN            103 GEORGETOWN LN                                                                                         EXPORT             PA    15632‐1521
JOHN F BOES TR BOES TRUST UA 09/10/98           1954 HUNTERS RIDGE DR                                                                                     BLOOMFIELD HILLS   MI    48304‐1036

JOHN F BOONE                                    306 WEST MAPLE STREET                                                                                     CLARKTON           MO    63837‐9114
JOHN F BOURLAND                                 1822 LAKE LANSING RD                                                                                      HASLETT            MI    48840‐8201
JOHN F BOWEN                                    18 QUAKER ST                                                                                              NORTHBRIDGE        MA    01534‐1316
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 164 of 855
Name                                               Address1                             Address2             Address3          Address4          City              State Zip

JOHN F BOZICH TR JOHN F BOZICH TRUST UA 04/23/97   2609 SW PARK PL                                                                               PORTLAND          OR    97205‐5850

JOHN F BRACHULIS & SOPHIE R BRACHULIS JT TEN       875 W AVON RD                        APT 322                                                  ROCHESTER HLS     MI    48307‐2758

JOHN F BRAUNER                                     PO BOX 43                                                                                     ADAMS             WI    53910‐0043
JOHN F BREEN CUST JOHN F BREEN JR UGMA MI          1121 N MICHIGAN                                                                               SAGINAW           MI    48602‐4762
JOHN F BREEN CUST KATHLEEN BREEN UGMA MI           1121 NORTH MICHIGAN                                                                           SAGINAW           MI    48602‐4762
JOHN F BREEN CUST MARGARET BREEN UGMA MI           1121 N MICHIGAN                                                                               SAGINAW           MI    48602‐4762
JOHN F BRENNER III                                 380 OAKWOOD AVE                                                                               WEST ISLIP        NY    11795‐2913
JOHN F BRUSKI                                      3 PAONIA                                                                                      LITTLETON         CO    80127‐4300
JOHN F BULAKOWSKI                                  S‐4689 LAKESHORE                                                                              HAMBURG           NY    14075‐3307
JOHN F BULLARD JR                                  2805 BAYOU BLVD                                                                               PENSACOLA         FL    32503‐4205
JOHN F BURNS                                       138 S MEADOW DR                                                                               GLEN BURNIE       MD    21060‐7227
JOHN F BURNS                                       646 RED BUD LANE                                                                              PLAINFIELD        IN    46168‐1259
JOHN F BUSH                                        3659 WILLIAMSON                                                                               SAGINAW           MI    48601‐5669
JOHN F CALLAHAN JR                                 1036 E TABOR ST                                                                               INDIANAPOLIS      IN    46203‐4240
JOHN F CAMPBELL                                    5256 MERIMONT CT                                                                              ORLANDO           FL    32808‐1732
JOHN F CAMPBELL                                    150 SENECA DR                                                                                 MONTPELIER        OH    43543‐9436
JOHN F CANTERBURY & MAMIE M CANTERBURY JT TEN      8167 SANPIPER ST                                                                              CANTON            MI    48187‐1737

JOHN F CANTRELL                                    167 MOHAWK RD                                                                                 PONTIAC           MI    48341‐1126
JOHN F CARE & WENDY L CARE JT TEN                  160 BERG CROSSING DR                                                                          AUGUSTA           MO    63332‐1541
JOHN F CARMODY                                     295 PARK CIRCLE                                                                               GOLDEN            CO    80401‐9440
JOHN F CARTER                                      3 CIDER COURT                                                                                 ELSMERE           KY    41018‐2743
JOHN F CASEY JR                                    207 ALLEN DR                                                                                  EXTON             PA    19341‐1770
JOHN F CASSIDY JR                                  205 STONEBRIDGE WAY                                                                           CULLOWHEE         NC    28723‐6200
JOHN F CASSIDY JR & PAULINA C CASSIDY JT TEN       205 STONEBRIDGE WAY                                                                           CULLOWHEE         NC    28723
JOHN F CIANCIOLO                                   52 RAY ST                                                                                     WATERBURY         CT    06708‐2010
JOHN F CIMINO                                      337 SERPENTS TRAIL DRIVE                                                                      GRAND JUNCTION    CO    81503‐9543

JOHN F CITAK JR & DOROTHY J CITAK JT TEN           2534 PARKER BLVD                                                                              TONAWANDA         NY    14150‐4530
JOHN F CLARK                                       1360 SUMME DR                                                                                 CINCINNATI        OH    45231‐3224
JOHN F CLARK                                       410 EDEN DR                                                                                   MONROEVILLE       PA    15146‐1514
JOHN F CLYNE                                       3040 SCENIC PL                                                                                BRONX             NY    10463‐1017
JOHN F COLOMBO                                     714 HIGH STREET                                                                               CHARLOTTE         MI    48813‐1250
JOHN F COMBS                                       3018 ARROWHEAD DR                                                                             SUGAR LAND        TX    77479‐1511
JOHN F CONNOR                                      103 YALE ROAD LATTIMER ESTATE                                                                 WILMINGTON        DE    19805‐4625
JOHN F CONNORS                                     26 WINNISIMETTE AVE                                                                           WAKEFIELD         MA    01880‐1038
JOHN F CONTRUCCI                                   442 IVY AVENUE                                                                                HAWORTH           NJ    07641‐1706
JOHN F COSTELLO                                    12 BAY IN THE WOOD                                                                            DAYTONA BEACH     FL    32119‐2302
JOHN F COTTER JR & MRS IRENE B COTTER JT TEN       2001 83RD AVE N                      LOT 4075                                                 ST PETERSBURG     FL    33702
JOHN F COWELL III                                  12 EAST 86TH STREET                  APT 1120                                                 NEW YORK          NY    10028
JOHN F COX JR                                      2080 E 250 N                                                                                  LAYTON            UT    84040‐3122
JOHN F CRAMER                                      12200 CHURCH ST                                                                               BIRCH RUN         MI    48415‐9288
JOHN F CROCKETT                                    7701 WOODSHADE CT                                                                             FX STATION        VA    22039‐2979
JOHN F CULVER                                      6111 STRAUSS RD                      APT L                                                    LOCKPORT          NY    14094
JOHN F CUNNINGHAM                                  7427 OTTENBROOK TERRACE                                                                       DERWOOD           MD    20855‐1990
JOHN F CURRIE                                      PO BOX 258                           8527 EAST AVE                                            GASPORT           NY    14067‐9230
JOHN F CURRINGTON                                  PO BOX 325                                                                                    ELMER             NJ    08318‐0325
JOHN F CURTIS                                      408 KEM RD                                                                                    MARION            IN    46952‐2056
JOHN F CWIK                                        59 SKI VALLEY CRESCENT               LONDON ON                              N6K 3H2 CANADA
JOHN F DAEHLIN                                     N997 HADDINGER RD                                                                             MONROE            WI    53566‐9788
JOHN F DAILY                                       1043 BLUEBELL LN                                                                              DAVISON           MI    48423‐7906
JOHN F DALEY                                       1240 SWITZER                                                                                  ST LOUIS          MO    63147‐1840
JOHN F DANIELS                                     2585 LAKEVILLE RD                                                                             OXFORD            MI    48370‐2426
JOHN F DAVIS                                       1222 FAIRVIEW DR                                                                              LACANADA          CA    91011‐2221
JOHN F DE WYSE                                     1344 WELLS STREET                                                                             BURTON            MI    48527
JOHN F DEADMAN & JAMES F DEADMAN JT TEN            151 DALTON DR                                                                                 ROCHESTER HILLS   MI    48307‐2830
JOHN F DEANGELO                                    9615 HICKORYHURST DR                                                                          NOTTINGHAM        MD    21236‐4707
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 165 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

JOHN F DEGHETTO                                   24620 STANFORD                                                                                 DEARBORN HGTS      MI    48125‐1615
JOHN F DELANEY & JUDITH E DELANEY JT TEN          6001 NW WOLVERINE RD                                                                           PORT ST LUCIE      FL    34986‐3705
JOHN F DERY SR CUST JOHN F DERY JR UGMA MI        1251 PEBBLE POINTE DRIVE                                                                       ROCHESTER          MI    48307‐1768
JOHN F DEVINE JR                                  7 HARDLEY DR                                                                                   CRANBURY           NJ    08512‐2703
JOHN F DEVLIN & MARY C DEVLIN JT TEN              53 PARK HILL ROAD                                                                              NORTHAMPTON        MA    01062‐9721
JOHN F DEVNEY                                     6 WHEATON CIR                                                                                  FAIRPORT           NY    14450‐8781
JOHN F DEXTER V                                   19733 E NAVARRO PLACE                                                                          AURORA             CO    80013‐4563
JOHN F DICHELLO JR                                114 E MAIN ST                                                                                  WALLINGFORD        CT    06492‐3944
JOHN F DIETZ                                      181 SOUTH PROSPECT ST                                                                          SPENCERPORT        NY    14559‐1831
JOHN F DIXON                                      20 RICHMAN PLAZA APT 20E                                                                       BRONX              NY    10453‐6522
JOHN F DODD                                       5445 CROSSINGS LAKE CIR                                                                        BIRMINGHAM         AL    35242‐4536
JOHN F DOOLEY                                     3 WAVERLY ROAD                                                                                 HAVERTOWN          PA    19083‐4531
JOHN F DOVE                                       165 ALWINE COURT                                                                               HIAWATHA           IA    52233‐7901
JOHN F DOVE II                                    1340 EAST MEADOW DRIVE                                                                         OREGON             OH    43616‐4036
JOHN F DOWNING                                    15 LAWRENCE AVE                                                                                NORTH              NY    10591‐2307
                                                                                                                                                 TARRYTOWN
JOHN F DUFFY & ESTRELITA P DUFFY JT TEN           101 CHARLANN CIRCLE                                                                            CHERRY HILL        NJ    08003‐2906
JOHN F DUFFY CUST JOHN P DUFFY U/THE CONN         44 PELLOM PLACE                                                                                STAMFORD           CT    06905‐4823
UNIFORM GIFTS TO MINORS ACT
JOHN F DUGAN                                      13003 CRYSTAL                                                                                  GRANDVIEW          MO    64030‐2735
JOHN F DUPART                                     8633 HARBORTOWNE                                                                               CLARKSTON          MI    48348‐2435
JOHN F DUTIL                                      1700 CEDARWOOD DR                     APT 107                                                  FLUSHING           MI    48433‐3600
JOHN F EDDY                                       5236 CAMBRIA ROAD                                                                              SANBORN            NY    14132
JOHN F EDWARDS JR                                 9245 OAKES ROAD                                                                                ARCANUM            OH    45304‐8919
JOHN F ELLIS                                      6910 ECHO LANE                                                                                 INDIANAPOLIS       IN    46278‐1920
JOHN F EMERSON                                    5468 SCANDIA DR                       PO BOX 634                                               BEMUS PT           NY    14712‐0634
JOHN F ESTOCK JR                                  103 ROUIE 39 SOUTH                                                                             SHERMAN            CT    06784‐2317
JOHN F ESTRADA                                    13211 GLENOAKS BLVD                                                                            SYLMAR             CA    91342‐3928
JOHN F EVANS JR                                   115 BOB WILSON RD                                                                              NEWNAN             GA    30263‐4902
JOHN F FAHRNER                                    9593 GRIST MILL RUN                                                                            OLMSTEAD           OH    44138‐2897
                                                                                                                                                 TOWNSHIP
JOHN F FALKE & MARGARET M FALKE JT TEN            3906 ORCHARD HILL DR                                                                           ARLINGTON          TX    76016‐3710
JOHN F FEAR                                       679 SE CLIFTON LN                                                                              PORT SAINT LUCIE   FL    34983‐2125
JOHN F FENDER                                     3751 CERTIER ROAD                                                                              LYNCHBURG          OH    45142‐9726
JOHN F FENTON                                     12 HYDE RD                                                                                     BLOOMFIELD         NJ    07003‐3019
JOHN F FERGUSON & DIANA FERGUSON JT TEN           1435 TOWNSEND RD                                                                               PETOSKEY           MI    49770‐9743
JOHN F FERRANTI                                   52 DODGE RD                                                                                    BENNINGTON         NH    03442‐4102
JOHN F FIELDS                                     6808 RED OAK COURT                                                                             CANADIAN LAKE      MI    49346
JOHN F FINK                                       C/O ATTORNEY SHIA SHAPIRO             155 BROOKSHORE DR                                        CHIPPEWA LAKE      OH    44215‐9708
JOHN F FINNEY JR                                  404 N SPAIN ST                                                                                 LETONA             AR    72085
JOHN F FISHER CUST ANGELA FISHER UGMA MI          3738 BYRON CNTR AVE SW                                                                         WYOMING            MI    49509‐3682
JOHN F FITZGERALD                                 9517 LOCHFIELD DR                                                                              PIKE ROAD          AL    36064‐2257
JOHN F FLANAGAN                                   2540 BROOKWOOD DR                                                                              FLOSSMOOR          IL    60422‐1828
JOHN F FLANNIGAN                                  166 E 2ND ST                                                                                   NEW CASTLE         DE    19720‐4806
JOHN F FLETCHER                                   8881 GARDENIA CT                                                                               NOBLESVILLE        IN    46060‐4746
JOHN F FLYNN & KAREN A FLYNN JT TEN               19 NOTTINGHAM ROAD                                                                             SPARROWBUSH        NY    12780‐5508
JOHN F FORRESTER & BARBARA G FORRESTER JT TEN     2245 LOCH LOMOND DR                                                                            VIENNA             VA    22181‐3238

JOHN F FOTIOU                                     8900 PARLO ROAD                                                                                BALTIMORE          MD    21236‐2146
JOHN F FRATRICH                                   BOX 204                                                                                        FAIRBANK           PA    15435‐0204
JOHN F FRAWLEY                                    211 BROAD ST                                                                                   MARLBORO           MA    01752‐4019
JOHN F FRENCH                                     141 BURBANK CRESCENT                  ORANGEVILLE ON                         L9W 3H7 CANADA
JOHN F GABRIEL                                    3712 HOLLOW RD                                                                                 NEW CASTLE         PA    16101‐6514
JOHN F GABRIELE                                   40 FAWN RIDGE                                                                                  MILLWOOD           NY    10546‐1119
JOHN F GAGE                                       335 E COLUMBIA AVE                                                                             BELLEVILLE         MI    48111‐3915
JOHN F GANN & NANCY J GANN JT TEN                 RT 3 BOX 66                                                                                    MARSHALL           MO    65340‐9322
JOHN F GARRITSEN & MRS LUCILLE GARRITSEN JT TEN   522 ELM DRIVE                                                                                  STILLWATER         MN    55082‐4416

JOHN F GEER                                       151 CENTRAL PARK W                                                                             NY                 NY    10023‐1514
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 166 of 855
Name                                             Address1                              Address2                   Address3    Address4          City             State Zip

JOHN F GEERS                                     19395 GLACIER PKWY                                                                             BROOKFIELD       WI    53045‐5125
JOHN F GEIER                                     2052 W FARGO AVENUE #2D                                                                        CHICAGO          IL    60645‐2218
JOHN F GERKEN                                    8427 BRAMBLERIDGE DR                                                                           CASTLE ROCK      CO    80108‐3644
JOHN F GIBSON                                    PO BOX 252                                                                                     FAWN GROVE       PA    17321‐0252
JOHN F GILHOOL                                   4259 ST ANDREWS                                                                                HOWELL           MI    48843‐9478
JOHN F GLOSSOP                                   9152 C AVENUE                         SPACE # 89                                               HESPERIA         CA    92345‐6072
JOHN F GLUTZ                                     806 E FLAG LN                                                                                  POINCIANA        FL    34759‐3321
JOHN F GOGGIN                                    46 FOREST RIDGE RD                                                                             WATERBURY        CT    06708
JOHN F GONZALEZ                                  5100 S LOREL AV 6                                                                              CHICAGO          IL    60638‐1604
JOHN F GORDON                                    66 W ENCANTO BLVD                                                                              PHOENIX          AZ    85003‐1109
JOHN F GORDON                                    322 JARVIS STREET                     FORT ERIE ON                           L2A 2S8 CANADA
JOHN F GRAVES                                    48655 GYDE RD                                                                                  CANTON TOWNSHIP MI     48187‐1217

JOHN F GROSZEK JR                                5404 JANET COURT                                                                               OAK FOREST       IL    60452‐3725
JOHN F GRUBB                                     8366 LAGOON ST                                                                                 COMMERCE         MI    48382‐4752
                                                                                                                                                TOWNSHIP
JOHN F GUILES                                    4561 SEYMOUR RD                                                                                FLUSHING         MI    48433‐1540
JOHN F GUINAN JR                                 290 HARVARD STREET                                                                             WOLLASTON        MA    02170‐2519
JOHN F GUMPPER                                   1204 HOL‐HI DRIVE                                                                              KALAMAZOO        MI    49008‐2910
JOHN F HAARER                                    4078 CLEARVIEW NE                                                                              GRAND RAPIDS     MI    49546‐1301
JOHN F HAGY                                      2567 HIGHWAY 54                                                                                FORT SCOTT       KS    66701‐8123
JOHN F HAGY II                                   2567 HIGHWAY 54                                                                                FORT SCOTT       KS    66701‐8123
JOHN F HANAUER SR                                11683 PETERS PIKE                                                                              TIPP CITY        OH    45371‐9508
JOHN F HANNING                                   6333 TIMBERMAN PLACE                                                                           SHREVEPORT       LA    71119‐7230
JOHN F HARING                                    22 LORRIC LN                                                                                   SPENCERPORT      NY    14559‐9755
JOHN F HARRINGTON                                25 FLORAL PARK BLVD                                                                            PAWTUCKET        RI    02861‐3820
JOHN F HARRIS                                    1814 NW ROSEWOOD DR                                                                            GRAIN VALLEY     MO    64029‐7211
JOHN F HART                                      1894 CHATHAM DRIVE                                                                             TROY             MI    48084‐1414
JOHN F HART                                      1458 MEDINAL LN                                                                                MURRELLS INLET   SC    29576‐8640
JOHN F HART                                      13421 BENNINGTON AVE                                                                           CLEVELAND        OH    44135‐5061
JOHN F HARTMAN & ELVA M HARTMAN JT TEN           2630 CLEVELAND                                                                                 GRANITE CITY     IL    62040‐3436
JOHN F HARTRANFT                                 7505 NUTWOOD COURT                                                                             ROCKVILLE        MD    20855‐2232
JOHN F HASINGER & ALICE M HASINGER TEN ENT       1720 MORNINGSIDE AVE                                                                           PITTSBURGH       PA    15206‐1152
JOHN F HASKELL                                   1306 W ARGYLE ST                      APT 3                                                    CHICAGO          IL    60640
JOHN F HASLANGER                                 116 WINDING RIDGE DR                                                                           DAYTON           OH    45415‐2819
JOHN F HAYES                                     232 ACADEMY LN                                                                                 MIDDLETOWN       DE    19709‐3069
JOHN F HEAD & LORETTA M HEAD JT TEN              928 PRESCOTT LN                                                                                FT MYERS BEACH   FL    33931‐2216
JOHN F HEBERLE                                   64 SHELL EDGE DRIVE                                                                            ROCHESTER        NY    14623‐4354
JOHN F HEIL                                      438 DALHART AVE                                                                                ROMEOVILLE       IL    60446‐1318
JOHN F HEILMAN                                   4995 DEEPWOOD CT                                                                               ST LOUIS         MO    63128‐3810
JOHN F HELM JR                                   5195 NW 92HWY                                                                                  SMITHVILLE       MO    64089‐9396
JOHN F HENRY 3RD                                 149 VERONICA LANE                                                                              CHARLES TOWN     WV    25414
JOHN F HERSCHBERGER JR & PATRICIA HERSCHBERGER   RR1/BOX 127‐D                                                                                  WASHINGTON       WI    54246‐9738
JT TEN                                                                                                                                          ISLAND
JOHN F HICKEY JR                                 7858 S CATHAY ST                                                                               CENTENNIAL       CO    80016‐1942
JOHN F HOFFSTETTER                               44 MORGAN ROAD                                                                                 BUFFALO          NY    14220‐2305
JOHN F HOLM                                      HOLM BROS PLUMBING & HEATING                                                                   ATWATER          MN    56209
JOHN F HOLOCHER                                  942 S BRINKER AVE                                                                              COLUMBUS         OH    43204‐1724
JOHN F HORNER                                    4809 FOXCROFT                                                                                  TROY             MI    48098‐3568
JOHN F HUMBEL & ELISABETH B HUMBEL JT TEN        3100 DAKOTA NE                                                                                 ALBUQUERQUE      NM    87110‐2611
JOHN F HUSFELT SR & DEBRA MALOLL JT TEN          527 LAKE DR                           MEADOWBROOK FARM S                                       MIDDLETOWN       DE    19709‐9685
JOHN F HUSFELT SR & JOHN F HUSFELT JR JT TEN     527 LAKE DR                           MEADOWBROOK FARM S                                       MIDDLETON        DE    19709‐9685
JOHN F HUTCHISON                                 6850 DAY FOREST RD                                                                             EMPIRE           MI    49630
JOHN F HUTSON                                    ATTN GM CORPORATION                   3‐220 GM BLDG LUXEMBOURG                                 DETROIT          MI    48202
JOHN F HYDE & FLORENCE D HYDE JT TEN             1538 TIBBITS AVE                                                                               TROY             NY    12180‐3632
JOHN F IRELAND                                   394 S BROAD ST                                                                                 DUNKIRK          IN    47336‐9440
JOHN F JARVIS                                    30 FACTEAU AVE                                                                                 PLATTSBURGH      NY    12901‐6422
JOHN F JONES                                     379 MELROSE AVE                                                                                BOARDMAN         OH    44512‐2358
JOHN F JOY & MARY ELLEN JOY JT TEN               533 RIVERSIDE DR                                                                               SLEEPY HOLLOW    NY    10591‐1326
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 167 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

JOHN F KANIA                                      745 MORRELL ST                        REAR                                                     DETROIT            MI    48209‐3131
JOHN F KANNIARD                                   7708 VANCE ROAD                                                                                KERNERSVILLE       NC    27285
JOHN F KARMANOWSKI                                8560 ANCHOR BAY DR                                                                             ALGONAC            MI    48001‐3507
JOHN F KARNAI                                     724 W LAKE AVE                                                                                 RAHWAY             NJ    07065‐2335
JOHN F KARNAI JR                                  724 WEST LAKE AVE                                                                              RAHWAY             NJ    07065‐2335
JOHN F KARNAL & MRS MARGARET KARNAL JT TEN        724 W LAKE AVE                                                                                 RAHWAY             NJ    07065‐2335

JOHN F KEENAN                                     3734 OLD MILITARY RD                                                                           CROSS PLAINS       WI    53528‐9132
JOHN F KELLER                                     186 DOGWOOD DR                                                                                 HIGHLAND HGTS      KY    41076‐3791
JOHN F KELLEY                                     6 HATHAWAY DRIVE                                                                               PRINCETON          NJ    08550‐1606
                                                                                                                                                 JUNCTION
JOHN F KELLY CUST MATTHEW T MCKENNA UTMA MD       26 FILBERT RD                                                                                  ELKTON             MD    21921‐4841

JOHN F KEMP                                      12961 BROOKWOOD DR                                                                              HUNTLEY            IL    60142‐7626
JOHN F KIKTA                                     38 LARK LN                                                                                      BRICK              NJ    08724‐7052
JOHN F KIRK JR                                   549 FOUR SEASONS DR                                                                             RUCKERSVILLE       VA    22968‐3092
JOHN F KISIL                                     45138 N SPRING DR                                                                               CANTON             MI    48187‐2542
JOHN F KLEE                                      9416 SE 132ND LOOP                                                                              SUMMERFIELD        FL    34491‐9360
JOHN F KNAUS JR & ROBERT W KNAUS TR JEFFREY      PO BOX 534                                                                                      ROSS               CA    94957‐0534
KNAUS U‐W PAULINE R KNAUS
JOHN F KOLASINSKI CUST JOHN M KOLASINSKI UTMA OH 5214 PAGELAND DR                                                                                TOLEDO             OH    43611‐1532

JOHN F KOPP                                       343 GREENACRES DRIVE                                                                           XENIA              OH    45385‐1445
JOHN F KOSTIC                                     2663 BRISTOL RD                                                                                COLUMBUS           OH    43221‐1103
JOHN F KRAFT SR                                   7378 E COUNTY ROAD 100 S                                                                       AVON               IN    46123‐7538
JOHN F KRAMB                                      1585 HUNTERS RIDGE                                                                             BLOOMFIELD HILLS   MI    48304‐1029

JOHN F KRAMER                                     429 STATE ROUTE 104B                                                                           MEXICO             NY    13114‐3126
JOHN F KREBS                                      35105 LAUREN LN                                                                                RICHMOND           MI    48062‐4839
JOHN F KRUPKA JR & KATHRYN M KRUPKA JT TEN        1780 GREENFIELD DR                                                                             STEVENS POINT      WI    54481‐8918
JOHN F KRZYWY & LUCY KRZYWY JT TEN                139 ROSE CIR                                                                                   MIDDLETOWN         CT    06457‐6462
JOHN F KUNTZ JR                                   300 MECHANIC STREET                                                                            HORTON             MI    49246‐9584
JOHN F LA FLEUR                                   959 CREEKSIDE CIR                                                                              NAPERVILLE         IL    60563‐2417
JOHN F LAMAN                                      6721 PINE WAY DRIVE                                                                            TROY               MI    48098‐2095
JOHN F LAMB III & LINDA M LAMB JT TEN             14325 SWANEE BEACH                                                                             FENTON             MI    48430‐1463
JOHN F LANE                                       512 HANOVER ROAD                                                                               WILMINGTON         DE    19809‐2815
JOHN F LANE & NORMA A LANE JT TEN                 829 ORLANDO SE                                                                                 GRAND RAPIDS       MI    49546‐2332
JOHN F LANGSTON JR & JANICE B LANGSTON JT TEN     BOX 30367                                                                                      SAVANNAH           GA    31410‐0367

JOHN F LATTIN                                     10284 ROCK HOLLLOW LANE                                                                        DIMONDALE          MI    48821
JOHN F LEARN                                      706 W FULTON ST                                                                                EDGERTON           WI    53534‐1706
JOHN F LECZNAR                                    1001 BRENTHAVEN DR                                                                             BLOOMFIELD HILLS   MI    48304‐1406

JOHN F LEWIS & ANNA D LEWIS JT TEN                706 RUTH DR                                                                                    NEPTUNE            NJ    07753‐2816
JOHN F LONG                                       3917 STACY LN                                                                                  SANTA BARBARA      CA    93110‐1516
JOHN F LONG & JAMES LONG JT TEN                   3917 STACY LN                                                                                  SANTA BARBARA      CA    93110‐1516
JOHN F LONG & KAREN N KITAZAKI JT TEN             3917 STACY LN                                                                                  SANTA BARBARA      CA    93110‐1516
JOHN F LOUNSBURY                                  5 APPLEGATE LANE                      ST THOMAS ON                           N5P 3S8 CANADA
JOHN F LOUNSBURY                                  5 APPLEGATE LANE                      ST THOMAS ON                           N5P 3S8 CANADA
JOHN F LUCAS                                      7214 E 46TH ST                                                                                 INDIANAPOLIS       IN    46226‐3806
JOHN F LYDON                                      413 PROSPECT ST                                                                                NORWOOD            MA    02062‐1301
JOHN F LYLE JR                                    BOX 87                                                                                         STATHAM            GA    30666‐0087
JOHN F M SISSON                                   4452 30 ST                            EDMONTON AB                            T6T 1H1 CANADA
JOHN F MACDONALD                                  56654 LAURIUM ST                                                                               CALUMET            MI    49913‐1929
JOHN F MACKEY                                     9972 IMLAY CITY RD                                                                             AVOCA              MI    48006‐3413
JOHN F MAGIERA                                    RT3 MURRAY PO BOX 23                                                                           CARO               MI    48723‐9803
JOHN F MAIMONE                                    130 RIVER DRIVE                                                                                EAST PALATKA       FL    32131
JOHN F MAIN                                       3580 E 200 S                                                                                   DANVILLE           IN    46122
JOHN F MALLOY                                     213 SUNSET ST                                                                                  MCKEESPORT         PA    15131‐1933
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 168 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JOHN F MALLOY                                      11435 SPERRY RD                                                                                CHESTERLAND       OH    44026‐1625
JOHN F MARGESON                                    622 E MAUDE                                                                                    ARLINGTON         IL    60004‐4046
                                                                                                                                                  HEIGHTS
JOHN F MARSHALL JR                                 38636 PINEBROOK                                                                                STERLING HTS      MI    48310‐2911
JOHN F MARTINEZ                                    15222 MONTE ST                                                                                 SYLMAR            CA    91342‐1349
JOHN F MAURER                                      306 GLEN BERNE DRIVE                                                                           WILMINGTON        DE    19804‐3412
JOHN F MC ANERNEY                                  602 S OAK BOX 544                                                                              WELLSVILLE        KS    66092‐0544
JOHN F MC CLOSKEY & ISABELLA E MC CLOSKEY JT TEN   100 FAIRLAWN AVE                                                                               NILES             OH    44446‐2042

JOHN F MC CORMICK & BERTHA MC CORMICK JT TEN       140 HIGHLAND LAKE RD                                                                           HIGHLAND LAKE     NY    12743

JOHN F MC COWAN & VIRGINIA B MC COWAN JT TEN       223 HICKORY ST                                                                                 NORTHBROOK        IL    60062‐1305

JOHN F MC GUIRK                                    6 BARRY COURT                                                                                  LOUDONVILLE       NY    12211‐1708
JOHN F MC KAY                                      424 GRACE AVE                                                                                  NEWARK            NY    14513‐2164
JOHN F MC KEE & MARY V MC KEE & EL MATADOR JT      324 N CENTRAL AVE                                                                              CONNERSVILLE      IN    47331‐1925
TEN
JOHN F MC KENNA                                    304 HEATHCOTE RD                                                                               SCARSDALE         NY    10583‐7106
JOHN F MC KIM                                      3710 DE‐SOTO BLVD                                                                              PALM HARBOR       FL    34683
JOHN F MC REYNOLDS                                 13305 ASTOR AVE                                                                                CLEVELAND         OH    44135‐5007
JOHN F MCCLOSKEY                                   100 FAIRLAWN AVE                                                                               NILES             OH    44446‐2042
JOHN F MCELHATTAN TR U‐T NO 82‐0502M 05/10/82      1861 HUNTERS POINT LANE                                                                        WESTLAKE          OH    44145‐3651
JOHN F MCELHATTAN
JOHN F MCELHINNEY III                              1900 SO OCEAN DR APT 1207                                                                      FT LAUDERDALE     FL    33316‐3718
JOHN F MCGOWAN                                     3501 AUGUSTA DR                                                                                COLUMBIA          MO    65203‐0989
JOHN F MCINTOSH                                    513 S OLD BETSY RD                    APT 113                                                  KEENE             TX    76059‐1400
JOHN F MCKENNA                                     6861 S WEST BAY SHORE DR                                                                       TRAVERSE CITY     MI    49684‐9203
JOHN F MERKER                                      801 ROCKCREEK DR                                                                               CENTERVILLE       OH    45458‐2116
JOHN F MEYERS                                      14583 STOLTZ RD                                                                                DIAMOND           OH    44412‐9611
JOHN F MIHALKO                                     103 SOMERSET CT                                                                                PRINCETON         NJ    08540‐9472
JOHN F MILBERG                                     7838 PARK AVE                                                                                  ALLEN PARK        MI    48101
JOHN F MILLER                                      929 MAITLAND DRIVE                                                                             LOCKPORT          IL    60441
JOHN F MILLER                                      612 MAIN ST                           PO BOX 222                                               NEW MATAMORAS     OH    45767‐0222

JOHN F MILLER & MRS JEAN R MILLER JT TEN           929 MAITLAND DRIVE                                                                             LOCKPORT          IL    60441
JOHN F MINICLIER & MARGARET C MINICLIER JT TEN     210 STONERIDGE AVE                                                                             MOUNT DORA        FL    32757‐2860

JOHN F MITCHELL                                 PO BOX 74                                                                                         SHANNON        IL       61078‐0074
JOHN F MORRALL III CUST JAMES F MORRALL UGMA DC 3511 RODMAN ST                                                                                    N W WASHINGTON DC       20008‐3118

JOHN F MORRALL III CUST JOHN F MORRALL IV UGMA     3511 RODMAN ST NW                                                                              WASH              DC    20008‐3118
DC
JOHN F MORRISH                                     2440 CAMBRIDGE RD                                                                              TRENTON           MI    48183‐2635
JOHN F MORSE                                       5516 KURT DR                                                                                   LANSING           MI    48911‐3769
JOHN F MOTTO                                       557 BEECHNUT DR                                                                                MANHEIM           PA    17545‐9460
JOHN F MUELLER                                     203 GATEWAY RD                                                                                 RIDGEWOOD         NJ    07450‐2901
JOHN F MUELLER                                     425 LAKE FOREST                                                                                ROCHESTER HILLS   MI    48309‐2237
JOHN F MUELLER & CAROL P MUELLER JT TEN            425 LAKE FOREST                                                                                ROCHESTER         MI    48309‐2237
JOHN F MULLINS JR                                  1482 NASH ROAD                                                                                 N TONAWANDA       NY    14120‐1812
JOHN F MURTAGH & JOAN CULHANE TR ANN G             1055 LANSING ST                                                                                AURORA            CO    80010‐4121
MURTAGH TRUST UA 11/28/88
JOHN F NASH                                        104 SAN MARCOS                                                                                 REDLANDS          CA    92374‐2324
JOHN F NELSON                                      COUNTRYSIDE SOUTH                     1405 82ND AVE #155                                       VERO BEACH        FL    32966‐6933
JOHN F NEVINS                                      7021 N ELM ST                                                                                  LIBERTY           MO    64068‐9572
JOHN F NEWMAN & RUBY PETERSEN NEWMAN JT TEN        9905 ESCANABA AVE                                                                              CHICAGO           IL    60617‐5467

JOHN F NOSS & KAY M NOSS JT TEN                    ROUTE 1 BOX 82C                                                                                ALBRIGHT          WV    26519‐9717
JOHN F O'CONNOR                                    205 PALMER DR                                                                                  FAYETTEVILLE      NY    13066
JOHN F OBRIEN                                      82 SUNRISE DR                                                                                  GILLETTE          NJ    07933‐1940
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 169 of 855
Name                                             Address1                              Address2                 Address3      Address4          City             State Zip

JOHN F OBRIEN & JANET L OBRIEN JT TEN            32516 W BOWMAN KNOLL DRIVE                                                                     WEST LAKE VILLAGE CA   91361‐5520

JOHN F OCHS & LANI D OCHS JT TEN                 301 BRIDGE ST                                                                                  CHARLEVOIX       MI    49720‐1414
JOHN F OCONNELL & MRS MARY C OCONNELL JT TEN     365 MEETINGHOUSE RD                                                                            JENKINTOWN       PA    19046‐2908

JOHN F ODONNELL JR                                9603 AMBERLEIGH LN                   APT G                                                    PERRY HALL       MD    21128‐9599
JOHN F OLCOTT                                     210 DORCHESTER DR                                                                             SELLLERSVILLE    PA    18960‐2893
JOHN F ORSAG                                      8080 BLACKLEAF CT                                                                             CENTERVILLE      OH    45458‐2910
JOHN F OSTERNDORF                                 128 FREEPORT AVE                     PO BOX 837                                               POINT LOOKOUT    NY    11569‐0837
JOHN F OTTER                                      10272 LEHRING ROAD                                                                            BYRON            MI    48418‐9109
JOHN F OTTO                                       PARADISE POINT                       38 LAKEVIEW DR BOX A‐5                                   LAKEVILLE        PA    18438
JOHN F PAGLIUCA                                   104 BENSON ROAD                                                                               STOUGHTON        MA    02072‐3307
JOHN F PARKER                                     230 WATERWAY CRT                                                                              LAPEER           MI    48446‐3298
JOHN F PARKER & VICTORIA PARKER JT TEN            5674 STONERIDGE DR #207                                                                       PLEASANTON       CA    94588‐8500
JOHN F PARKER JR                                  908 C AVENUE                                                                                  WEST COLUMBIA    SC    29169‐6760
JOHN F PAUMIER                                    36361 PERRY GRANGE RD                                                                         SALEM            OH    44460‐9460
JOHN F PAWLY                                      58 CHARLES ST                        PORT HOPE ON                           L1A 1S5 CANADA
JOHN F PAWLY                                      58 CHARLES ST                        PORT HOPE ON                           L1A 1S5 CANADA
JOHN F PERMENTER                                  25031 OAK DR                                                                                  DAMASCUS         MD    20872‐1801
JOHN F PETKO                                      905 CHESNUT ST                                                                                COLLEGEVILLE     PA    19426‐2463
JOHN F PEW & CLAUDIA E PEW TR UA 10/09/06 PEW LIV 3814 N W 63RD TERR                                                                            KANSAS CITY      MO    64151
TRUST
JOHN F PILLES JR                                  212 CREST RD                                                                                  MARLTON          NJ    08053‐7131
JOHN F PINO                                       1 CAMERON CIRCLE                                                                              LAUREL SPRINGS   NJ    08021‐4860
JOHN F POBUDA & GERALDINE A POBUDA JT TEN         12631 BLUE BONNET DR                                                                          SUN CITY WEST    AZ    85375‐2514
JOHN F PODSADLO                                   7841 TOMAHAWK TR                                                                              LAMBERTVILLE     MI    48144‐9630
JOHN F POLLOW                                     4308 CHURCH RD                                                                                LOCKPORT         NY    14094‐9769
JOHN F POULOS                                     31 CHESTNUT ST                                                                                KEARNY           NJ    07032‐2317
JOHN F RALSTON                                    9305 SHADY LAKE DR                   APT 105                                                  STREETSBORO      OH    44241‐4529
JOHN F RAPIN                                      7905 46TH AVE W                                                                               MUKILTEO         WA    98275‐2707
JOHN F RAWSON                                     3460 N GALE RD                                                                                DAVISON          MI    48423‐8520
JOHN F READY                                      30 DAY ST                                                                                     ANSONIA          CT    06401‐2154
JOHN F REAMES II                                  1436 LUCKNOW RD                                                                               BISHOPVILLE      SC    29010‐8673
JOHN F REBER                                      122 SMITH AVE                                                                                 MT KISCO         NY    10549‐2816
JOHN F REDISKE                                    27 MERRYMOUNT RD                                                                              BALTIMORE        MD    21210‐1908
JOHN F REDMOND                                    2151 JAMIESON AVE UNIT 1011                                                                   ALEXANDRIA       VA    22314‐5727
JOHN F REGAN JR                                   113 N MAIN                                                                                    DECATUR          IL    62523‐1206
JOHN F REID                                       491 HIGHLAND AVE                                                                              SALEM            OH    44460‐1801
JOHN F REIMANN                                    260 CAYUGA RD                                                                                 LAKE ORION       MI    48362
JOHN F REMMERS                                    97 OUTPOST LN                                                                                 CENTERVILLE      MA    02632‐1529
JOHN F RHEE                                       5107 KANAWHA AVE SE                                                                           CHARLESTON       WV    25304
JOHN F RICUPERO                                   14‐85 166 STREET                                                                              BEECHHURST       NY    11357‐2948
JOHN F RIEGER & BETTY J REIGER JT TEN             517 SPITZ DR                                                                                  FENTON           MO    63026‐6035
JOHN F RILEY TR JOHN F RILEY LIVING TRUST UA      320 PEARL ST                                                                                  BLISSFIELD       MI    49228‐1217
09/30/97
JOHN F RIVERS                                     62757 CONSTANTINE RD                                                                          CONSTANTINE      MI    49042‐9774
JOHN F ROBINSON JR                                708 VANCEBURG DR                                                                              INDIANAPOLIS     IN    46241‐1757
JOHN F RODENBO                                    5298 E SANILAC RD                                                                             KINGSTON         MI    48741‐9513
JOHN F ROE                                        19 IROQUOIS ROAD                                                                              OSSINING         NY    10562‐3825
JOHN F ROE & MARIE C ROE JT TEN                   19 IROQUOIS RD                                                                                OSSINING         NY    10562‐3825
JOHN F RONAN                                      500 HIGH POINT DRIVE                 PENTHOUSE #9                                             HARTSDALE        NY    10530‐1142
JOHN F ROOS                                       3197 23RD ST                                                                                  WYANDOTTE        MI    48192‐5310
JOHN F ROY & KAREN M THOMPSON JT TEN              6 JAMESON PL                                                                                  FLANDERS         NJ    07836‐9316
JOHN F RUGGERI                                    202 E VIRGINIA AVE                                                                            WEST CHESTER     PA    19380‐2347
JOHN F RUSSELL                                    5366 CHAPEL HILL DR E                                                                         WARREN           OH    44483‐1293
JOHN F SACKRIDER SR                               2842 E FOX ST                                                                                 MESA             AZ    85213‐5439
JOHN F SANKER                                     7022 W COUNTRY CLUB N DR                                                                      SARASOTA         FL    34243‐3513
JOHN F SARNECKY & ELVIRA A SARNECKY JT TEN        413 BECKER AVE                                                                                WILMINGTON       DE    19804‐2101
JOHN F SAUNDERS                                   117 EDWIN LANE                                                                                STROUDSBURG      PA    18360‐8476
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 170 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

JOHN F SCHALLER                                  31 CRABAPPLE CT                        ORCHID PARK                                              ORCHARD PARK     NY    14127‐1663
JOHN F SCHAMING JR & DARLENE M SCHAMING JT TEN   33 BERLIN RD                                                                                    JEANNETTE        PA    15644‐1065

JOHN F SCHIMMEL                                  29‐1 HONEYWELL LANE                                                                             HYDE PARK         NY   12538‐2607
JOHN F SCHMITTINGER                              136 S FORECASTLE DR                                                                             LTL EGG HBR       NJ   08087‐1552
JOHN F SCHNEIDER                                 1711 SANDPIPER CT                                                                               YREKA             CA   96097‐9629
JOHN F SCHNEIDER                                 92 EAST JEFFREY PLACE                                                                           COLUMBUS          OH   43214‐1702
JOHN F SCHRINER                                  68 NORTHVIEW AVE                                                                                WYNANTSKILL       NY   12198‐8169
JOHN F SCHUBERT                                  44 FAIRWAY VIEW DR                                                                              BRISTOL           CT   06010‐2802
JOHN F SCHULTHEISS                               106 WOODHALL                                                                                    VICTORIA          TX   77904‐1151
JOHN F SCHUSTER                                  959 E 22ND ST                                                                                   EUGENE            OR   97405‐3015
JOHN F SEMAN                                     32743 MAC KENZIE                                                                                WESTLAND          MI   48185‐1551
JOHN F SEVERT                                    R D #2 BANCROFT RD                                                                              GARRETTSVILLE     OH   44231‐9802
JOHN F SHAW                                      366 CECILTON S                                                                                  LAUREL            MD   20724‐2455
JOHN F SHIVOK & THERESA M SHIVOK JT TEN          3432 RUTGERS DR                                                                                 BETHLEHEM         PA   18020‐2060
JOHN F SHOUP                                     3364 ARLINGTON PL                                                                               DAYTON            OH   45434‐7316
JOHN F SHOWALTER                                 2925 HAZELWOOD AVE                                                                              KETTERING         OH   45419‐1945
JOHN F SHUEY & SUZANNE S SHUEY JT TEN            2020 MILLTOWN RD                                                                                CAMP HILL         PA   17011‐7433
JOHN F SIGLER                                    7512 ROLLING RD                                                                                 SPRINGFIELD       VA   22153‐2334
JOHN F SIMON                                     BOX 774                                                                                         ELKINS            WV   26241‐0774
JOHN F SIMPSON                                   2510 GLOUCESTER DRIVE                                                                           BLACKSBURG        VA   24060‐8266
JOHN F SIMPSON                                   524 VALLEYVIEW DR                                                                               ALBEMARLE         NC   28001‐9560
JOHN F SKOBBEKO                                  108 SYLVAN LAKE BLVD                                                                            BAYVILLE          NJ   08721
JOHN F SKOSNIK & CAROL A SKOSNIK JT TEN          4359 BURSSENS DRIVE                                                                             WARREN            MI   48092‐5870
JOHN F SMAGALA                                   7 WEST GREEN WING DR                                                                            TEAL POINT MILTON DE   19968‐9558

JOHN F SMITH                                     9969 PENNEY MIX RD                                                                              CAMDEN           NY    13316‐4601
JOHN F SPECKHALS                                 505 BLAKELEY ROAD                                                                               WALLINGFORD      PA    19086‐7208
JOHN F SPIES                                     302 LAKESHORE DRIVE                                                                             EMMETSBURG       IA    50536‐1427
JOHN F SROCK                                     49337 GLASCO CT                                                                                 UTICA            MI    48315‐3929
JOHN F STACK                                     PO BOX 2134                                                                                     PAHRUMP          NV    89041‐2134
JOHN F STACK & MARILYN P STACK JT TEN            PO BOX 2134                                                                                     PAHRUMP          NV    89041‐2134
JOHN F STAFSTROM                                 19 CYPRESS CIR                                                                                  BERLIN           CT    06037‐4082
JOHN F STAKEL & MARY JEAN STAKEL TEN COM         9015 SALTSBURG RD                                                                               PITTSBURGH       PA    15239‐2049
JOHN F STANFORD                                  527 RIVERDALE AVE                                                                               YONKERS          NY    10705‐3568
JOHN F STANLEY                                   1517 DUTCHESS AVE                                                                               KETTERING        OH    45420‐1335
JOHN F STEFEK                                    6520 LAKE AVE                                                                                   ELYRIA TWSP      OH    44035‐1141
JOHN F STEFFEN                                   1532 TURNBERRY VILLAGE DR                                                                       CENTERVILLE      OH    45458‐3130
JOHN F STOCKI                                    10FALLS BROOK RD                                                                                BRISTOL          CT    06010‐2659
JOHN F STRAIN & GEORGIA C STRAIN JT TEN          17120 RAINBOW TER                                                                               ODESSA           FL    33556‐2107
JOHN F STURGES                                   17274 WOODHILL ST                                                                               FONTANA          CA    92336‐1558
JOHN F SYLVESTER                                 7490 JAGUAR DRIVE                                                                               YOUNGSTOWN       OH    44512‐5302
JOHN F TETZLAFF                                  802 GLENVIEW DR                                                                                 PLAINWELL        MI    49080‐1364
JOHN F TIERNAN                                   589 CO RT 44                                                                                    CHASE MILLS      NY    13621‐3112
JOHN F TIMNEY                                    2795 NORTH LAKE DRIVE                                                                           WATERFORD        MI    48329‐2548
JOHN F TOTH                                      39 STONEHILL DR                                                                                 ROCHESTER        NY    14615‐1435
JOHN F TROHA                                     8131 N STODDARD AVE                                                                             KANSAS CITY      MO    64152‐2027
JOHN F TUMA                                      PO BOX 70                                                                                       EDGEWOOD         TX    75117‐0070
JOHN F TURNER                                    PO BOX 2109                                                                                     WESTMINSTER      MD    21158‐7109
JOHN F TURPIN                                    4720 E 78TH                                                                                     INDPLS           IN    46250‐2234
JOHN F URBANSKI & NANCY A URBANSKI JT TEN        4332 FIERY RUN RD                                                                               LINDEN           VA    22642‐1816
JOHN F URBANSKI CUST JOHN F URBANSKI UTMA VA     4332 FIERY RUN RD                                                                               LINDEN           VA    22642‐1816

JOHN F URBANSKI CUST MILLICENT A URBANSKI UTMA   4332 FIERY RUN RD                                                                               LINDEN           VA    22642‐1816
VA
JOHN F VAN GILDER                                4214 MORRICE RD                                                                                 WEBBERVILLE      MI    48892‐8703
JOHN F VAN RIPER                                 7 CRAGGY ROCK ST                                                                                SPRING           TX    77381
JOHN F VERKERKE & LEONA C VERKERKE TR VERKERKE   15440 WINDMILL DR                                                                               MACOMB TWP       MI    48044‐4930
FAM TRUST UA 04/07/92
                                                09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 171 of 855
Name                                                 Address1                               Address2             Address3          Address4          City             State Zip

JOHN F VOELPEL                                       8160 TONE STREET                                                                                LAS VEGAS        NV    89123
JOHN F VOLK                                          3201 BENEVA RD                         APT 103                                                  SARASOTA         FL    34232‐4513
JOHN F WADEWITZ                                      50 PLEASANT ST                                                                                  HOLLISTON        MA    01746‐2607
JOHN F WAGEMANN                                      3030 DORSET RD                                                                                  RICHMOND         VA    23234‐1945
JOHN F WALDRON                                       6230 BRAEBURN CIRCLE                                                                            EDINA            MN    55439‐2548
JOHN F WALKER CUST BRENT JACKSON WALKER UGMA         105 HAWKSTONE WAY                                                                               ALPHARETTA       GA    30022‐5383
NC
JOHN F WARD                                          15606 CHADRON AVE                                                                               GARDENA          CA    90249‐4424
JOHN F WARD                                          109 N CEDAR ST                                                                                  MCDONOUGH        GA    30253‐2318
JOHN F WASHBURN CUST MAX BROWN UGMA TX               310 LEISUREWOODS DR                                                                             BUDA             TX    78610‐2418
JOHN F WASHKO & FLORENCE K WASHKO JT TEN             126 HEDGEROW DR                                                                                 MORRISVILLE      PA    19067‐4831
JOHN F WATKINS                                       3449 ERIN AVENUE                                                                                CLEVELAND        OH    44113‐4918
JOHN F WATSON JR                                     2100 BAY COLONY DRIVE                                                                           PEKIN            IL    61554‐9301
JOHN F WEBB CUST JOHN R WEBB UGMA DC                 504 WINGATE ROAD                                                                                BALTIMORE        MD    21210‐2848
JOHN F WELCH                                         30 JORDAN ROAD                                                                                  PLYMOUTH         MA    02360‐3005
JOHN F WERKOWITZ                                     1802 GRANVILLE LN                                                                               SUN CITY CTR     FL    33573‐6411
JOHN F WERLE                                         809 COMMONWEALTH                                                                                FLINT            MI    48503‐2207
JOHN F WHELAN & WINIFRED A WHELAN JT TEN             4935 E 37TH PL                                                                                  TULSA            OK    74135‐5586
JOHN F WIENERT                                       1802 STENTON PATH                                                                               CHESTERFIELD     MO    63005‐4734
JOHN F WOOD                                          5557 GUM RUN RD                                                                                 CLEVES           OH    45002‐9019
JOHN F WOODRICH                                      19335 UPLAND COURT                                                                              NORTHVILLE       MI    48167‐1912
JOHN F WOODRICH & ROBERT B WOODRICH JT TEN           19335 UPLAND CT                                                                                 NORTHVILLE       MI    48167‐1912

JOHN F WORTHINGTON                                   4954 E SR236                                                                                    MIDDLETOWN       IN    47356‐9207
JOHN F WRIGHT                                        19230 FORD RD                          APT 714                                                  DEARBORN         MI    48128‐2011
JOHN F WRIGHT                                        40 GROVE ST                                                                                     LINDENHURST      NY    11757‐5720
JOHN F YOUNG                                         613 BOSWORTH                           COQUITLAM BC                           V3J 3V3 CANADA
JOHN F YOUNGBLOOD                                    7640 S POWER RD                        APT 1080                                                 GILBERT          AZ    85297‐9221
JOHN F YURTINUS                                      1341 SANTA CRUZ                                                                                 MINDEN           NV    89423‐7521
JOHN F ZACHAREK                                      11443 FLEMING                                                                                   HAMTRAMCK        MI    48212‐2903
JOHN F ZAJAC                                         20 MORTON ST                                                                                    GARNERVILLE      NY    10923‐1418
JOHN F ZAVATSKY CUST BRIAN J ZAVATSKY UGMA MI        4218 OXFORD WAY                                                                                 NORMAN           OK    73072‐3155

JOHN F ZAVATSKY CUST BRUCE E ZAVATSKY UGMA MI        4218 OXFORD WAY                                                                                 NORMAN           OK    73072‐3155

JOHN F ZAVATSKY CUST GERALYNN ZAVATSKY UGMA MI 4218 OXFORD WAY                                                                                       NORMAN           OK    73072‐3155

JOHN F ZAVATSKY CUST JOHN T ZAVATSKY UGMA MI         4218 OXFORD WAY                                                                                 NORMAN           OK    73072‐3155

JOHN F ZAVATSKY CUST PATRICIA ZAVATSKY UGMA MI       4218 OXFORD WAY                                                                                 NORMAN           OK    73072‐3155

JOHN F ZEIGLER JR                                    1369 ALOHA ST                                                                                   DAVISON          MI    48423‐1361
JOHN F ZENS & BETTY J ZENS & DANIEL S REID JT TEN    234 EDGEWATER                                                                                   ALGONAC          MI    48001‐1840

JOHN F ZENS & BETTY J ZENS & JAMES M REID JT TEN     234 EDGEWATER                                                                                   ALGONAC          MI    48001‐1840

JOHN F ZENS & BETTY J ZENS & JOHN F ZENS IV JT TEN   234 EDGEWATER                                                                                   ALGONAC          MI    48001‐1840

JOHN F ZIMMERMAN                                     W 7643 U S HIGHWAY #10                                                                          NEILLSVILLE      WI    54456‐7839
JOHN F ZOLINSKI                                      1756 E MAROBA                                                                                   LINWOOD          MI    48634‐9405
JOHN F ZWENG                                         1072 VENOY                                                                                      WESTLAND         MI    48186‐4836
JOHN FAIR                                            504 E HIGH ST                                                                                   MOUNT VERNON     OH    43050
JOHN FALK                                            PO BOX 10447                                                                                    MIAMI            FL    33101‐0447
JOHN FANNING & THERESA A FANNING TEN ENT             530 LOUISE RD                                                                                   GLENSIDE         PA    19038‐5430
JOHN FARKAS & VERA FARKAS JT TEN                     443 POWELL AVE                                                                                  NEWBURGH         NY    12550‐3417
JOHN FASOLINO & BARBARA FASOLINO JT TEN              230 LAVENDER OAISIS                                                                             PEACHTREE CITY   GA    30269‐3040
JOHN FASSERO JR                                      2199 STAUNTON RD                                                                                GILLESPIE        IL    62033‐3001
JOHN FASSERO JR CUST BEN A FASSERO UTMA IL           2199 STAUNTON ROAD                                                                              GILLESPIE        IL    62033‐3001
JOHN FASSL                                           14014 SADDLE RIVER DR                                                                           NORTH POTOMAC    MD    20878‐4248
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                     Part 4 of 8 Pg 172 of 855
Name                                              Address1                            Address2                       Address3   Address4          City            State Zip

JOHN FAULKNER                                   C/O JOSEPH FAULKNER                   321 SO WEST END BLVD                                        QUAKERTOWN      PA    18951
JOHN FAUSKE                                     77 SEA GATE RD                                                                                    STATEN ISLAND   NY    10305‐3932
JOHN FEJER                                      65129 HELEN LN                                                                                    NORTHOME        MN    56661‐1809
JOHN FELIKS‐JR                                  149 AUTH AVE                                                                                      ISELIN          NJ    08830‐1808
JOHN FENNEL                                     5505 SEMINARY RD UNIT 1201‐N                                                                      FALLS CHURCH    VA    22041‐3538
JOHN FERBER TOD LINDA MULLER                    9811 DALE ST                                                                                      HUDSON          FL    34669‐3857
JOHN FERGUS DOHERTY                             1155 CHARTER OAKS DR                                                                              BARTLETT        IL    60103‐1719
JOHN FERGUSON                                   16 SANDYFIELDS LN                                                                                 STONY POINT     NY    10980
JOHN FERRERI & BERNARD M FERRERI & NICHOLAS C   10656 S AVE C                                                                                     CHICAGO         IL    60617‐6309
FERRERI JT TEN
JOHN FERRIS SMITH & MRS MARY GRACE MILLER SMITH 10 TAYLOR FARM ROAD                                                                               WELLFLEET       MA    02667‐3704
JT TEN
JOHN FETA & LINDA A FETA JT TEN                 6492 DILLON                                                                                       GARDEN CITY     MI    48135‐2001
JOHN FETA JR & LINDA A FETA JT TEN              6492 DILLON                                                                                       GARDEN CITY     MI    48135‐2001
JOHN FIELDS                                     2629 RETFORD DR                                                                                   CINCINNATI      OH    45231‐1061
JOHN FINK MOZENA & SUSAN DO MOZENA JT TEN       274 LEWISTON RD                                                                                   GROSSE POINTE   MI    48236‐3449
                                                                                                                                                  FARM
JOHN FINN                                         447 MAIN ST                                                                                     HUDSON          MA    01749‐1817
JOHN FINN                                         63‐95 AUSTIN STREET APT 2 K                                                                     REGO PARK       NY    11374‐3021
JOHN FINNEY & PAULA L ESCHTRUTH JT TEN            3950 BETHEL HEIGHTS ROAD NW                                                                     SALEM           OR    97304‐9700
JOHN FINOCCHIARO & MRS BETTY FINOCCHIARO JT TEN   PO BOX 6006                                                                                     ATASCADERO      CA    93423‐6006

JOHN FISCHER                                      1545 HARBOUR BLVD                   APT 193                                                     TRENTON         MI    48183‐2163
JOHN FISICO                                       53 ATHLONE RD                       TORONTO ON                                M4J 4H3 CANADA
JOHN FITCH ARNOLD                                 2 GEORGE HOLBROOK WAY                                                                           HARWICH         MA    02645‐1521
JOHN FITE III                                     C/O COOK COUNTY PUBLIC GUARDIAN     69 WEST WASHINGTON 7TH FLOOR                                CHICAGO         IL    60602
JOHN FITZGERALD SOMMER                            2851 S RANDOLPH ST                                                                              PHILADELPHIA    PA    19148
JOHN FLEISCHER                                    3541 BAZETTA ROAD                                                                               CORTLAND        OH    44410‐9398
JOHN FLIER & DOROTHY FLIER JT TEN                 4037 NASH ROAD                                                                                  LOWELL          MI    49331
JOHN FLOYD SKOSNIK                                4359 BURSSENS DR                                                                                WARREN          MI    48092‐5870
JOHN FLYNN                                        1237 PASSOLT                                                                                    SAGINAW         MI    48603‐4790
JOHN FOGELSON                                     314 BIRCHWOOD LN                                                                                VIROQUA         WI    54665‐1547
JOHN FORD III                                     BOX 96                                                                                          WAVERLY         PA    18471‐0096
JOHN FORRESTER                                    3105 HWY 91 N                                                                                   MOUNTAIN CITY   TN    37683
JOHN FOSTER & JOANNE FOSTER JT TEN                740 PEBBLE AVE                                                                                  PALM BAY        FL    32907‐1590
JOHN FRANCIS DE RIENZO                            47 KILLDEER PLACE                                                                               HACKETTSTOWN    NJ    07840‐3030
JOHN FRANCIS DILLON                               120 ELDERBERRY ST                                                                               GEORGETOWN      TX    78628‐4728
JOHN FRANCIS FAZZOLARI                            96 CRAIG AVE                                                                                    SOUTHINGTON     CT    06489‐4211
JOHN FRANCIS GENEROUS                             3370 E DUTCHES RD                                                                               CARO            MI    48723‐9395
JOHN FRANCIS HEANEY                               20‐08 150 ST                                                                                    WHITESTONE      NY    11357‐3626
JOHN FRANCIS HESS                                 PO BOX 1465                                                                                     CUMBERLAND      MD    21501‐1465
JOHN FRANCIS MCCOY                                144 MARLBOROUGH ST                  APT 3                                                       BOSTON          MA    02116‐1923
JOHN FRANCIS WASSONG                              PO BOX 24                                                                                       WASHINGTON      DC    20044‐0024
JOHN FRANCIS ZAVELL                               5104 SHADYWOOD CT                                                                               SYLVANIA        OH    43560‐4610
JOHN FRANGAKIS & DESPINA FRANGAKIS JT TEN         2701 ORCHARD LANE                                                                               MT PENN         PA    19606‐2217
JOHN FRANK BALLA                                  C/O MARLENE H JOHNSON               2236 W WILSON RD                                            CLIO            MI    48420‐1643
JOHN FRANK KUCZERA                                4360 VAN VLEET ROAD                                                                             SWARTZ CREEK    MI    48473‐8594
JOHN FRANK ZUCHOWSKI                              151 9TH AVE                                                                                     NO TONAWANDA    NY    14120‐6702
JOHN FRANKLIN CONLEY                              2145 29TH ST                                                                                    ASHLAND         KY    41101‐4081
JOHN FRANKLIN FERNATT                             2203 S BILTMORE AV                                                                              MUNCIE          IN    47302‐4767
JOHN FRANKLIN LIST JR                             723 ELKTON ROAD                                                                                 NEWARK          DE    19711‐4919
JOHN FRANKLIN SAXTON                              14166 WEIR RD                                                                                   CLIO            MI    48420‐8853
JOHN FRANOVIC EX UW MARY ACQUARO                  411 BUHLER AV                                                                                   PINE BEACH      NJ    08741‐1118
JOHN FRANZBLAU                                    3611 DELILAH ST                                                                                 SIMI VALLEY     CA    93063‐2722
JOHN FRATANGELO                                   284 BARRETT HILL RD                                                                             MAHOPAC         NY    10541‐2501
JOHN FREDERICK ANGEL                              3434 ASHTON COURT                                                                               PALO ALTO       CA    94306‐3612
JOHN FREDERICK ARENS                              1180 GREENDALE AVE                                                                              NEEDHAM         MA    02492‐4706
JOHN FREDERICK BOWIS                              11601 LUVIE CT                                                                                  POTOMAC         MD    20854‐1136
JOHN FREDERICK DEPPEN                             416 EAGLE RIDGE DRIVE                                                                           SAINT PETERS    MO    63376‐4710
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 173 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JOHN FREDERICK GLUTZ & JACQUELINE CARME DEFAZIO 806 E FLAG LN                                                                                    POINCIANA          FL    34759‐3321
TEN COM
JOHN FREDERICK MC KNIGHT III                    740 WILLOW GLEN ROAD                                                                             SANTA BARBARA      CA    93105‐2440
JOHN FREDERICK MORGAN                           17569 W TERRACE OAKS DR                                                                          WALLER             TX    77484‐4077
JOHN FREUDENRICH                                800 SHADYSIDE DR                                                                                 WEST MIFFLIN       PA    15122‐3233
JOHN FREUDENRICH JR                             2235 HEWITT GIFFORD ROAD                                                                         LORDSTOWN          OH    44481‐9117
JOHN FRIZIELLE TOD SANDRA ANDRITSIS SUBJECT TO  4393 KEMPF STREET                                                                                WATERFORD          MI    48329‐1801
STA TOD RULES
JOHN FUERESZ & MRS LUCY M FUERESZ JT TEN        8203 SE 38TH PLACE                                                                               MERCER ISLAND      WA    98040‐3543
JOHN FURTADO                                    132 SHERATON AVE                                                                                 SOMERSET           MA    02725‐1149
JOHN FYFE CHENAULT & CATHERINE FYFE CHENAULT JT 1323 CHAUCER PL                                                                                  MAINEVILLE         OH    45039‐9136
TEN
JOHN G ANDERSON & ANNE JEAN ANDERSON JT TEN     101 E KEYSTONE AVE                                                                               WILMINGTON         DE    19804‐2025

JOHN G ARSCOTT                                   PO BOX 65410                                                                                    PORT LUDLOW        WA    98365‐0410
JOHN G ATHERTON                                  904 SHERWOOD WAY                                                                                EMPORIA            KS    66801‐5582
JOHN G ATWOOD                                    8585 BAY HARBOR RD                                                                              ELBERTA            AL    36530‐5057
JOHN G AVRIL                                     BOX 32066                                                                                       CINCINNATI         OH    45232‐0066
JOHN G BABIUCH                                   406 NORTON AVE                                                                                  KANSAS CITY        MO    64124‐2025
JOHN G BAENZIGER                                 975 PINE NEEDLE TRAIL                                                                           ROCHESTER          MI    48306‐1035
JOHN G BAKER                                     3060 WATERCHASE WAY SW                 APT 107                                                  WYOMING            MI    49519‐5956
JOHN G BANKHEAD & TRACEY B BANKHEAD JT TEN       5958 MILLSTONE RUN                                                                              STONE MOUNTAIN     GA    30087‐1829

JOHN G BARRETT                                   207 SOUTH MAIN STREET                                                                           BERLIN             MD    21811‐1403
JOHN G BARRICKMAN                                91 W OLD SOUTH STREET                                                                           BARGERSVILLE       IN    46106
JOHN G BEACH JR                                  1380 BUSH CREEK DR                                                                              GRAND BLANC        MI    48439‐2300
JOHN G BEESON                                    PO BOX 1080                                                                                     LINCOLN CITY       OR    97367‐7080
JOHN G BELCZAK                                   19042 FAIRWAY                                                                                   LIVONIA            MI    48152‐4700
JOHN G BENDICK & JACQUELINE M BENDICK JT TEN     PO BOX 733                                                                                      CUTCHOGUE          NY    11935‐0733

JOHN G BENEDIKT                                  4052 FERN AVE                                                                                   LYONS              IL    60534‐1023
JOHN G BENJAMIN                                  57 WILLOW PLACE                                                                                 ALBERTSON          NY    11507‐1435
JOHN G BILLETTE CUST MOLLY M BILLETTE UGMA MI    2440 ARBUTUS HILL RD                                                                            TREVERSE CITY      MI    49686‐8210

JOHN G BIRD JR                                   272 OAKLEDGE RD                                                                                 HARPSWELL          ME    04079
JOHN G BLANKENSHIP & MARGARET E BLANKENSHIP JT   PO BOX 313                                                                                      ASHEVILLE          NC    28802‐0313
TEN
JOHN G BOARD                                     5 HAYNES RD                                                                                     LITTLE HOCKING     OH    45742‐5245
JOHN G BORATEN                                   3932 DAUPHIN PARKWAY                                                                            ERIE               PA    16506‐4003
JOHN G BORGER                                    118 CUMBERLAND AVE                                                                              SHIPPENSBURG       PA    17257‐1604
JOHN G BORGER II                                 6608 EDGEBROOK RD                                                                               OKLAHOMA CITY      OK    73132‐6227
JOHN G BORISENKO                                 21670 STATE ROUTE B                                                                             STE GENEVIEVE      MO    63670‐9225
JOHN G BOWER                                     176 MARJORIE ST                                                                                 BATTLE CREEK       MI    49014‐5130
JOHN G BRADLEY & MRS JUDITH A BRADLEY JT TEN     269 PENNINGTON HARBOURTON RD                                                                    PENNINGTON         NJ    08534‐4006

JOHN G BRELAND JR                                2817 BRANCHDALE HWY                                                                             HOLLY HILL       SC      29059‐8958
JOHN G BRIAN 3RD                                 10350 N HADLEY COURT                                                                            WHITE BEARK LAKE MN      55110‐1208

JOHN G BRIAN JR                                  240 VILLAGE CT                                                                                  BURLINGTON         NC    27215‐3691
JOHN G BRONG                                     717 DOAGES DRIVE                                                                                MILLERSVILLE       MD    21108
JOHN G BUCKLEY                                   394 BARTLETT DR                                                                                 MADISON            CT    06443‐1785
JOHN G BUEHLER & MARY JANE BUEHLER JT TEN        805 S TUSCARAWAS AVENUE                                                                         DOVER              OH    44622‐2349
JOHN G BURFORD                                   525 25TH N AV                                                                                   SAINT PETERSBURG   FL    33704‐2823

JOHN G BURNSIDE                                  7793 N KITCHEN RD                                                                               MOORESVILLE        IN    46158‐6552
JOHN G C SMITH & MARY SMITH JT TEN               599 E CEDAR ST                                                                                  AVON PARK          FL    33825‐2801
JOHN G CAGE                                      1354 CENTER ST W                                                                                WARREN             OH    44481‐9456
JOHN G CAMERON JR CUST CLARA K CAMERON UGMA      55 CAMPAU CIR NW                                                                                GRAND RAPIDS       MI    49503‐2658
MI
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 174 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JOHN G CARNEY JR & PATRICIA S CARNEY JT TEN      15637 BROOKFIELD ST                                                                             LIVONIA            MI    48154‐3085
JOHN G CELI                                      64 BROOK ST                                                                                     WELLESLEY          MA    02482‐6619
JOHN G CELLA CUST ANNABELLE H CELLA UTMA MO      705 OLIVE ST STE 804                                                                            SAINT LOUIS        MO    63101‐2210

JOHN G CELLA CUST KATHARINE L CELLA UTMA MO      705 OLIVE ST STE 804                                                                            SAINT LOUIS        MO    63101‐2210

JOHN G CERVENAK                                  1850 HICKORY BARK LANE                                                                          BLOOMFIELD HILLS   MI    48304‐1116

JOHN G CHIN                                      PO BOX 1705                                                                                     DEARBORN           MI    48121
JOHN G CLEERE                                    3363 N CREST ST                                                                                 FLAGSTAFF          AZ    86001‐0937
JOHN G COLE                                      280 EDEN ST                                                                                     KINGSLEY           MI    49649‐9229
JOHN G COMBS                                     RR1 BOX 117                                                                                     GASTON             IN    47342‐8993
JOHN G COOK                                      501 N JEFFERSON ST                                                                              KEARNEY            MO    64060‐8381
JOHN G CRAWFORD JR CUST JOHN G CRAWFORD V        2866 NW SHENANDOAH TERR                                                                         PORTLAND           OR    97210‐2814
UTMA OR
JOHN G CRAWFORD JR CUST KATHRYN S CRAWFORD       2866 NW SHENANDOAH TERR                                                                         PORTLAND           OR    97210‐2814
UTMA OR
JOHN G CREEL & ANITA B CREEL JT TEN              3406 DUNNINGTON PL                                                                              AUGUSTA         GA       30909‐2771
JOHN G CRUMB                                     8136 E WESLEY LN                                                                                N WEBSTER       IN       46555‐9712
JOHN G CURTAN                                    4253 MALLARD COVE                                                                               AVON            OH       44011‐3225
JOHN G CUTTS                                     613 S EMERSON ST                                                                                MT PROSPECT     IL       60056‐3837
JOHN G DAINUS                                    1034 ORANGE                                                                                     WYANDOTTE       MI       48192‐5629
JOHN G DALY                                      410 S UVALDA CIR                                                                                AURORA          CO       80012‐2415
JOHN G DAVIES                                    737 RIVARD BLVD                                                                                 GROSSE POINTE   MI       48230‐1254
JOHN G DAVIS                                     14 CC ALLEN RD                                                                                  BURNSVILLE      NC       28714‐6875
JOHN G DAVIS JR                                  4 STONEY DR 306                                                                                 DOVER           DE       19904‐9704
JOHN G DECKER                                    1313 DOLLEY MADISON BLVD               SUITE 204                                                MC LEAN         VA       22101‐3926
JOHN G DECOSTA                                   45499 MUIRFIELD DR                                                                              CANTON TOWNSHIP MI       48188‐1098

JOHN G DELLA                                     2629 CANTERBURY RD                                                                              PARKVILLE          MD    21234‐7139
JOHN G DENNEY                                    5352 INDIAN HILL ROAD                                                                           DUBLIN             OH    43017‐8538
JOHN G DESTEESE & HEIKE S DESTEESE JT TEN        3323 W CANAL DR                                                                                 KENNEWICK          WA    99336‐2435
JOHN G DILLARD                                   106 QUINTER FARM RD                                                                             ENGLEWOOD          OH    45322‐9705
JOHN G DONNELLY                                  6012 N FLORA                                                                                    KANSAS CITY        MO    64118‐4820
JOHN G DOWLING                                   2823 HEMLOCK AVE                                                                                BALTIMORE          MD    21214‐1246
JOHN G DUPONT                                    8060 RICKS RD                                                                                   HORNELL            NY    14843‐9230
JOHN G EAKIN                                     101 CLIFF ROAD                                                                                  BADEN              PA    15005‐2701
JOHN G ECKENROTH & LINDA A ECKENROTH JT TEN      6281 BROWNS ROAD                                                                                HARLEN             GA    30814‐5326

JOHN G ECKOFF TR JOHN G ECKOFF REVOCABLE TRUST   17170 SE 41ST ST LEE AVE                                                                        THE VILLAGES       FL    32162
UA 01/31/94
JOHN G ELLIOTT                                   15 ALTON RD                                                                                     TRENTON            NJ    08619‐1507
JOHN G ERMLER                                    30025 WAGNER                                                                                    WARREN             MI    48093‐3036
JOHN G ERNST                                     3939 WEBSTER RD                                                                                 ELMIRA             MI    49730‐9702
JOHN G ESCAMILLA                                 1900 E MILE 2 RD                                                                                MISSION            TX    78574‐2081
JOHN G FAGAN JR                                  9 JENNY HILL LN                                                                                 NASHUA             NH    03062‐1008
JOHN G FALZON                                    14210 KATIE LN                                                                                  LIVONIA            MI    48154‐5296
JOHN G FAULL                                     3541 N OLIVE RD                                                                                 TUSCON             AZ    85719‐1830
JOHN G FELLMAN                                   2102 KATHERINE ST                                                                               PORT HURON         MI    48060‐4965
JOHN G FISCHER                                   6240 WASHBURN RD                                                                                GOODRICH           MI    48438‐8824
JOHN G FISHER                                    PO BOX 672                                                                                      NEW SUFFOLK        NY    11956‐0672
JOHN G FLETCHER CUST ASHLEY C FLETCHER UTMA VA   108 CRANDOL DRIVE                                                                               YORKTOWN           VA    23693‐3305

JOHN G FOGG                                      PO BOX 1226                                                                                     BEAVER ISLAND      MI    49782‐1226
JOHN G FORBES                                    536 HARBOR DRIVE N                                                                              INDIAN ROCKS       FL    33785‐3117
                                                                                                                                                 BEACH
JOHN G FOREMAN                                   811 DOVER WAY                                                                                   SHOREWOOD          IL    60431‐0554
JOHN G FRICK JR                                  5445 GOVERNMENT ST                     APT 248                                                  BATON ROUGE        LA    70806‐6073
JOHN G FULTZ                                     500 FULTZ CI                                                                                    TAZEWELL           TN    37879‐4814
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 175 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JOHN G GARBARINO                                  270 REMINGTON AVE                                                                              GALLATIN        TN    37066
JOHN G GAVEL                                      56524 SUMMIT DR                                                                                SHELBY TWP      MI    48316‐5857
JOHN G GAWEL STANLEY GAWEL & NANCY L GAWEL JT     605 ELLINGTON DR                                                                               FRANKLIN        TN    37064‐5024
TEN
JOHN G GEURTSE JR                                 149 WILSON AVE                                                                                 PORT MONMOUTH NJ      07758‐1423

JOHN G GLENN                                     3009 IDIE HILLS                                                                                 BROOKLYN        MI    49230‐8518
JOHN G GLORE                                     11432 OLD ST CHARLES                                                                            BRIDGETON       MO    63044‐3018
JOHN G GRIGGS                                    12 TROY LANE                                                                                    FAIRMONT        WV    26554‐1465
JOHN G GRUPPEN                                   5635 84TH ST ROUTE #2                                                                           ZEELAND         MI    49464‐9552
JOHN G GUTHRIE                                   PO BOX 333                                                                                      BALL GROUND     GA    30107‐0333
JOHN G HAGERSTROM                                1110 FARMINGTON RD                                                                              STRONG          ME    04983‐3135
JOHN G HALLER JR                                 3154 CYMAR DR                                                                                   BEAVERCREEK     OH    45434‐6370
JOHN G HALLOCK JR & MRS BARBARA H HALLOCK JT TEN 5621 CEDAR FALLS ROAD                                                                           HAZELHURST      WI    54531‐9786

JOHN G HANSEN                                     37320 22ND ST                                                                                  KALAMAZOO       MI    49009‐9229
JOHN G HANSON                                     3432 FOX WOODS COURT                                                                           WEST BLOOMFIELD MI    48324‐3265

JOHN G HARRIS                                     144 OLD HAMMETT ROAD                                                                           HOGANSVILLE      GA   30230‐2504
JOHN G HENRY                                      964 MC KNIGHT RD                                                                               INDIANA          PA   15701‐3355
JOHN G HEWITT                                     5581 E ESMOND RD                                                                               HALE             MI   48739‐9031
JOHN G HIXSON                                     27 BRANDY BROOK LN                                                                             ROCHESTER        NY   14612‐3061
JOHN G HORNING                                    9603 HIGHSTREAM CT                                                                             CHARLOTTE        NC   28269‐0406
JOHN G HOUSLEY                                    C/O WILMA L HOUSLEY                   404 ONONDIO CIR SE                                       VIENNA           VA   22180‐5927
JOHN G HOUSTON CUST ELAINE KATE HUSTON UGMA       PO BOX 3275                                                                                    FARMINGTON HILLS MI   48333‐3275
MI
JOHN G HUDSON III                                 720 EAST BASIN ROAD                                                                            NEW CASTLE      DE    19720‐4203
JOHN G JESSUP                                     1114 SATIN WOOD DR                                                                             GREENSBORO      NC    27410‐4165
JOHN G KALSON                                     13017 COYS DR SE                                                                               HUNTSVILLE      AL    35803‐2405
JOHN G KARCH                                      887 BELLIS PKWY                                                                                ORADELL         NJ    07649‐1944
JOHN G KAUFMAN                                    1805 FERDINAND ST                                                                              CORAL GABLES    FL    33134‐2150
JOHN G KAVANAGH                                   11SURREY RUN PLACE                                                                             THE WOODLANS    TX    77384‐4786
JOHN G KEANE                                      1727 WEST NORTH SHORE DRIVE                                                                    SOUTH BEND      IN    46617‐1065
JOHN G KIDWELL                                    7150 EAGLE TRACE WAY                                                                           INDIANAPOLIS    IN    46237‐8638
JOHN G KLEJMENT                                   325 LAURELTON RD                                                                               ROCHESTER       NY    14609‐4317
JOHN G KLEKOTKA                                   3610 GRAPE AVE NE                                                                              GRAND RAPIDS    MI    49525‐2413
JOHN G KOLMETZ & JOAN C KOLMETZ JT TEN            24506 AUDREY                                                                                   WARREN          MI    48091‐1778
JOHN G KOLMETZ CUST MARK A KOLMETZ UGMA MI        24506 AUDREY                                                                                   WARREN          MI    48091‐1778

JOHN G KONRAD                                     2871 CHARLESTON DR                                                                             MADISON         WI    53711‐6501
JOHN G KOPACZ                                     21207 SEVERN                                                                                   HARPER WDS      MI    48225‐2319
JOHN G KOSTKO                                     6851 GRANT DR PO BOX 421                                                                       WESTFIELD CTR   OH    44251‐0421
JOHN G KOTENKO                                    10479 WEALE RD BOX 37 RT 1                                                                     BAY PORT        MI    48720‐9705
JOHN G KRAUSE & JOANN KRAUSE JT TEN               4949 N RAUCHOLZ RD                                                                             HEMLOCK         MI    48626‐9691
JOHN G KRAUSE & JOANN KRAUSE TEN ENT              4949 N RAUCHOLZ                                                                                HEMLOCK         MI    48626‐9691
JOHN G KREMMEL & JANET L KREMMEL JT TEN           9000 E NEWFIELD DRIVE                                                                          HESPERIA        MI    49421
JOHN G KROL JR                                    5367 EAGLE CREEK                                                                               LEAVITTSBURG    OH    44430‐9415
JOHN G KRUCHINSKY                                 4 CRESCENT ROAD                                                                                EDISON          NJ    08817‐4125
JOHN G KUBECK                                     2113 SEMINARY RD                                                                               MILAN           OH    44846‐9474
JOHN G KUBISCH                                    5952 W MAJESTIC WOODS DR                                                                       BLOOMINGTON     IN    47404‐9106
JOHN G KULHAVI TR UA 04/10/74 BY JOHN G KULHAVI   1715 RIDGE RD                                                                                  WHITE LAKE      MI    48383‐1787

JOHN G LAFAVE                                     49 WEST STOCKWELL                                                                              HARRISON        MI    48625‐9735
JOHN G LINZNER                                    1871 W DICKERSON RD                                                                            UNIONVILLE      MI    48767‐9743
JOHN G LITTLE                                     87 HUNT ST                                                                                     NORCROSS        GA    30071‐3981
JOHN G LOCKLIN & MRS SHIRLEY J LOCKLIN JT TEN     PO BOX 1109                                                                                    AUMSVILLE       OR    97325‐1109

JOHN G LOVELL & PATRICIA S LOVELL JT TEN          6531 W CANNONDALE DR                                                                           CRYSTAL RIVER   FL    34429
JOHN G LYNCH                                      81160 CHURCH                                                                                   MEMPHIS         MI    48041‐4430
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                       Part 4 of 8 Pg 176 of 855
Name                                             Address1                               Address2                Address3           Address4             City               State Zip

JOHN G MANNA                                     376 N TRANSIT ST                                                                                       LOCKPORT           NY    14094‐2141
JOHN G MARTIN JR & ROSANNE L MARTIN JT TEN       302 CARRAIGE HOUSE LANE                                                                                RIVERTON           NJ    08077‐1122
JOHN G MARVEL                                    492 VALLEY DR                                                                                          MARTINSVILLE       IN    46151‐1273
JOHN G MC CULLOUGH                               303 BRITON PARK CT                                                                                     DULUTH             GA    30097‐5983
JOHN G MC DANIEL & KATHLEEN F MC DANIEL JT TEN   2068 SINGERLY RD                                                                                       ELKTON             MD    21921‐3641

JOHN G MCCORMACK                                 2920 YALE PLACE                        APT 1902                                                        OWENSBORO          KY    42301‐6182
JOHN G MELOON                                    187 CORINTHIA STREET                                                                                   LOCKPORT           NY    14094‐2009
JOHN G MERSELIS III                              111 SLOAN RD                                                                                           WILLIAMSTOWN       MA    01267‐3050
JOHN G METCALF                                   PO BOX 568                                                                                             CLINTON            WI    53525
JOHN G MISKO                                     29236 JOAN                                                                                             ST CLAIR SH        MI    48081‐3241
JOHN G MOLOCI & SUSAN R MOLOCI JT TEN            3861 SANWOOD COURT                                                                                     GROVE CITY         OH    43123‐9555
JOHN G MOMBACH & ANNA M MOMBACH TEN COM          114 OLD FARM RD N                                                                                      NEW HYDE PARK      NY    11040‐3335

JOHN G MORAN & KATHLEEN M MORAN JT TEN           100 DEHAVEN DR                         APT 203                                                         YONKERS            NY    10703‐1206
JOHN G MORAN JR                                  57 ROCKLAND ST                                                                                         SWAMPSCOTT         MA    01907‐2540
JOHN G MORAVEC                                   605 LOCH CHALET COURT                                                                                  ARLINGTON          TX    76012
JOHN G MORFCHAK                                  7610 LAFAYETTE RD                                                                                      LODI               OH    44254‐9607
JOHN G MORRISON                                  27 EASTWOODS DR                                                                                        COLD SPG HBR       NY    11724‐2304
JOHN G MOUSSOT                                   155 VIOLA STREET                                                                                       WALLKILL           NY    12589‐4414
JOHN G MULIETT & PATRICIA B MULIETT JT TEN       20660 FAIRWAY LANE                                                                                     GROSSE POINTE      MI    48236‐1668
                                                                                                                                                        WOOD
JOHN G NELSON JR                                 1192 S W ANDREWS RD                                                                                    LAKE OSWEGO        OR    97034‐1718
JOHN G NEWVILLE                                  8128 HELEN                                                                                             CENTER LINE        MI    48015‐1564
JOHN G NICKOVICH                                 200 DILL ROAD                                                                                          DE WITT            MI    48820‐9372
JOHN G O'HARA JR                                 PO BOX 8075                            AL JUBAIL                                  31951 SAUDI ARABIA
JOHN G OLES                                      14440 LEFFINGWELL RD                                                                                   BERLIN CENTER      OH    44401‐9643
JOHN G OSTROOT                                   14403 TRACETON CIRCLE                                                                                  CYPRESS            TX    77429‐5305
JOHN G PADDOCK                                   8127 WATTERSON TRAIL                                                                                   JEFFERSONTOW       KY    40299‐1053
JOHN G PETRUCCI                                  133 STONEBRIDGE BLVD                                                                                   NEW CASTLE         DE    19720‐6707
JOHN G PEW JR                                    901 MAIN ST STE 6000                                                                                   DALLAS             TX    75202
JOHN G PITTELLI                                  300 CORLISS AVE                                                                                        JOHNSON CITY       NY    13790‐1920
JOHN G PRZYGODA                                  4 ABBOTT COURT                                                                                         PARLIN             NJ    08859‐1623
JOHN G PURCELL & BEVERLY A PURCELL JT TEN        14984 NORTH WHITEFISH POINT RD                                                                         PARADISE           MI    49768
JOHN G REALE JR                                  65 CRIKKI LN                                                                                           NANUET             NY    10954‐5223
JOHN G REMBECKI                                  22 KURTZ AVE                                                                                           LANCASTER          NY    14086‐2419
JOHN G REYNOLDS                                  1369 HUNTER                                                                                            BRIGHTON           MI    48114‐8726
JOHN G RINERE                                    PO BOX 40                                                                                              LE ROY             NY    14482‐0040
JOHN G ROBINSON JR                               APT E                                  KENILWORTH APARTMENTS   2117 TOWNHILL RD                        BALTIMORE          MD    21234‐2537
JOHN G ROEDER                                    16015 FISH LAKE RD                                                                                     HOLLY              MI    48442‐8346
JOHN G ROSENBERG                                 322 DOUGLAS                                                                                            BLOOMFIELD HILLS   MI    48304‐1733

JOHN G SCHEIBER                                  4252 N RANGELINE RD                                                                                    HUNTINGTON         IN    46750
JOHN G SCHMIDT                                   11295 LAKEHAVEN DR                                                                                     WHITE LAKE         MI    48386‐3647
JOHN G SCHOENENBERGER                            1213 BLACKBRIDGE RD                                                                                    JANESVILLE         WI    53545‐0858
JOHN G SCHUHMANN JR                              129 HYACINTH                                                                                           LAKE JACKSON       TX    77566‐4613
JOHN G SEAMAN JR                                 721 MEADOWBROOK DR                                                                                     CORPUS CHRISTI     TX    78412‐3020
JOHN G SEARIGHT                                  6583 PLUMB DR                                                                                          CLARKSTON          MI    48016
JOHN G SESSOMS                                   421 CAROLINA LANE                                                                                      PALO ALTO          CA    94306‐4124
JOHN G SIZICK & JANETTE M KOSTICK JT TEN         APT F3                                 120 CAMELOT DR                                                  SAGINAW            MI    48603‐6408
JOHN G SLOCOMB                                   P O BOX 1481                                                                                           LIVINGSTON         TX    77351
JOHN G SLOVISKY                                  2209 BEVINGTON LANE                                                                                    HAMILTON           OH    45013‐9350
JOHN G SLOVISKY & MRS JOANNE M SLOVISKY JT TEN   2209 BEVINGTON LANE                                                                                    HAMILTON           OH    45013‐9350

JOHN G SMITH                                     104 HEATHER GLEN DR                                                                                    RED LION           PA    17356‐9118
JOHN G SMITH                                     1451 BROOKSIDE AVENUE                                                                                  LINWOOD            PA    19061‐4135
JOHN G SMITH                                     1393 HILLSDALE DR                                                                                      DAVISON            MI    48423‐2323
JOHN G SOLEK CUST ALEXANDER LAUREN SOLEK UGMA    32223 CALLE BALAREZA                                                                                   TEMECULA           CA    92592‐3975
NY
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 177 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JOHN G SPEED                                      9059 NORTHSWAN CIRCLE                                                                          ST LOUIS        MO    63144‐1142
JOHN G SPERA                                      4901 NW 13TH AVE                                                                               POMPANO BCH     FL    33064‐1060
JOHN G STANGER & CAROL STANGER JT TEN             727 S GUNDERSON AVE                                                                            OAK PARK        IL    60304‐1423
JOHN G STEPHENSON                                 2903 CRSE 4250                                                                                 MOUNT VERNON    TX    75457
JOHN G STRUTH & HARRIET HELEN STRUTH JT TEN TOD   2002 MATTISON DRIVE NE                                                                         PALM BAY        FL    32905‐3940
WILLIAM J STRUTH
JOHN G SUNDIN JR CUST JARROD G SUNDIN UGMA PA     1003 SUMMER RIDGE DR                                                                           MURRYSVILLE     PA    15668‐8511

JOHN G SUNDIN JR CUST KIRSTEN L SUNDIN UGMA PA    1003 SUMMER RIDGE DR                                                                           MURRYSVILLE     PA    15668‐8511

JOHN G THOMPSON & ALICE A THOMPSON JT TEN    34 CHILHOWIE DR                                                                                     KINNELON        NJ    07405‐3202
JOHN G THOMPSON & JANET A THOMPSON & ANNETTE 141 S FINN RD                                                                                       MUNGER          MI    48747‐9720
GELLISE JT TEN
JOHN G THOMPSON & JANET A THOMPSON JT TEN    141 S FENN RD                                                                                       MUNGER          MI    48747‐9720

JOHN G TOMPARY TR UA 4/29/92 THE JOHN G TOMPARY 2648 W WINNEMAC                                                                                  CHICAGO         IL    60625‐2712
TRUST
JOHN G TOMPKINS                                 68 FIELDWOOD DR                                                                                  ROCHESTER       NY    14609‐2231
JOHN G TRIPP                                    7 RONNIE LANE                                                                                    N CHILI         NY    14514‐1108
JOHN G TRUMPOWER                                526 OCEAN PARKWAY                                                                                BERLIN          MD    21811‐1550
JOHN G TUREK                                    10612 BLUEJACKET ST                                                                              OVERLAND PARK   KS    66214‐3033
JOHN G UPHAM                                    38 PARK STREET                                                                                   NORWOOD         NY    13668
JOHN G VALDEZ                                   9220 MADISON AVE                        15129 LAVERDA                                            MORENO VALLEY   CA    92551‐4062
JOHN G VALDEZ                                   15129 LAVERDA LANE                                                                               MORENO VALLEY   CA    92551‐4062
JOHN G VANDERPOORTE & DONNA J VAN DONGEN JT     5286 HICKORY WALK TER                                                                            CONYERS         GA    30094‐4757
TEN
JOHN G VANSACH                                  405 COLLAR PRICE 405                                                                             BROOKFIELD      OH    44403‐9708
JOHN G VAUGHN                                   30825 LONGNECKER RD                                                                              LEONIDAS        MI    49066‐9427
JOHN G WALINSKE & LOIS H WALINSKE JT TEN        30600 NORTH RIVER RD                                                                             MT CLEMENS      MI    48045‐1453
JOHN G WALSH CUST J GREGORY WALSH UGMA NY       14 MACAFFER DR                                                                                   MENANDS         NY    12204‐1208

JOHN G WEBB JR                                    219 SOUTH PRINCETON CIRCLE                                                                     LYNCHBURG       VA    24503‐2643
JOHN G WELLS                                      1406 COTTONWOOD DRIVE                                                                          ANDERSON        IN    46012
JOHN G WELLS & LORENE H WELLS JT TEN              1406 COTTONWOOD DRIVE                                                                          ANDERSON        IN    46012
JOHN G WEST                                       7165 W 550 N                                                                                   SHARPSVILLE     IN    46068‐9375
JOHN G WHITAKER                                   19718 S CHAPIN RD                                                                              ELSIE           MI    48831‐9202
JOHN G WHITNALL                                   5732 COPELAND RD                                                                               PARADISE        CA    95969‐4807
JOHN G WILCOX                                     2275 CLARKSVILLE HWY                                                                           PORTLAND        MI    48875‐9738
JOHN G YAMASHITA                                  5561 SPICEBUSH DRIVE                                                                           INDIANAPOLIS    IN    46254‐9632
JOHN GACH & ELINOR M GACH JT TEN                  1238 W BRISTOL RD                                                                              FLINT           MI    48507‐5520
JOHN GAFFNEY & MARIA B GAFFNEY JT TEN             1470 TAYLOR AVE APT 10                                                                         BRONX           NY    10460‐3706
JOHN GALE & MRS MARGARET GALE JT TEN              120‐21 CASALS PL                                                                               BRONX           NY    10475‐3102
JOHN GALIK                                        37 CARYL AVE                                                                                   YONKERS         NY    10705‐3924
JOHN GALIK & MARCIA A GALIK JT TEN                6898 GATEWOOD CT                                                                               CINCINNATI      OH    45241‐1095
JOHN GALLAGHER                                    39 KIERST ST                                                                                   PARLIN          NJ    08859‐1751
JOHN GANCEE WU & MRS MAY WU JT TEN                130 FOREST HILL DR                                                                             KINGSTON        NY    12401‐7461
JOHN GARDETTO & MARGARET GARDETTO & CHARLES       547 WALNUT ST                                                                                  VANDERGRIFT     PA    15690‐1435
GARDETTO JT TEN
JOHN GARDNER                                      15852 NORMANDY ST                                                                              DETROIT         MI    48238‐1411
JOHN GARDOCKI                                     3410 DEVONSHIRE                                                                                STERLING HTS    MI    48310‐3719
JOHN GAROFALI                                     13855 MONTERY                                                                                  SOUTHGATE       MI    48195‐3003
JOHN GARRETT SMITH                                HWY 27 SOUTH BOX 21                                                                            ROOPVILLE       GA    30170‐0021
JOHN GARRITY & EILEEN A SUMINSKI JT TEN           10 DOUGLAS DR                                                                                  LONG VALLEY     NJ    07853
JOHN GARVIN CUST CHRISTIAN GARVIN UTMA CA         PO BOX 91442                                                                                   SANTA BARBARA   CA    93190‐1442
JOHN GARY SMYTH                                   2897 EAGLE DRIVE                                                                               ROCHESTER HLS   MI    48309‐2852
JOHN GATTLE KENTNER                               174 CAMELLIA DR                                                                                LEESBURG        FL    34788‐2605
JOHN GAUGHAN                                      90 GELSTON AVE                                                                                 BROOKLYN        NY    11209‐6008
JOHN GAUNT                                        2422 ROCK SPRINGS RD                                                                           BUFORD          GA    30519‐5141
JOHN GAUNT & LEEANN M GAUNT JT TEN                2422 ROCK SPRINGS ROAD                                                                         BUFORD          GA    30519‐5141
                                          09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 178 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

JOHN GAVIN STUART                             255 VALLEY RD                          CHATHAM ON                             N7L 5K9 CANADA
JOHN GAYLORD BUNNER                           718 MELS DR                                                                                     EVANSVILLE      IN    47712‐9632
JOHN GEHMAN                                   12755 EMERSON RD                                                                                APPLE CREEK     OH    44606‐9370
JOHN GENECKI                                  14 SALEM HILL RD                                                                                HOWELL          NJ    07731‐1830
JOHN GENGARELLI                               23 WOODLAND ST                                                                                  MILLBURY        MA    01527‐3155
JOHN GEORGE ATTAK                             5831 W GUNNISON                                                                                 CHICAGO         IL    60630‐3224
JOHN GEORGE CURRIER                           64 WALL ST                                                                                      TONAWANDA       NY    14150‐3912
JOHN GEORGE HEISEL                            925 KENWOOD AVE                        APT 3136                                                 DULUTH          MN    55811‐2119
JOHN GEORGE MERLINO                           13242 STURBRIDGHT RD                                                                            WOODBRIDGE      VA    22192‐0319
JOHN GEORGE PASTORELLA                        64 WESTGATE DR                                                                                  ROCHESTER       NY    14617‐4111
JOHN GEORGE RUTH                              4869 MT OLIVE GREENCAMP RD                                                                      MARION          OH    43302‐8833
JOHN GEORGE THOMAS                            5154 JORDAN RD                                                                                  BAXTER          MN    56425
JOHN GEORGE TREEN                             427 SILVER SANDS WAY                                                                            BRICK           NJ    08723‐5728
JOHN GEORGE VOLLMER                           6011 SHARONWOODS BLVD                                                                           COLUMBUS        OH    43229‐2646
JOHN GEORGIOS LIOSIS                          NATIONAL BANK OF GREECE                POROS TRIZINIA                         GREECE
JOHN GERALD LYTLE IV                          4193 APULIA RD                                                                                  JAMESVILLE      NY    13078‐9605
JOHN GERARD                                   391 PLAZA ROAD NORTH                                                                            FAIR LAWN       NJ    07410‐3619
JOHN GERARD HUGHES                            6530 MIDHURST RD                                                                                DOWNERS GROVE   IL    60516‐2523
JOHN GERSHEY SR                               231 BOWMAN ST                                                                                   DICKSON CITY    PA    18519‐1711
JOHN GERSTHEIMER                              4846 CAYUGA                                                                                     ST LOUIS        MO    63123‐5706
JOHN GIACCOTTO                                1630 N OCEAN BLVE APT 1112                                                                      POMPANO BEACH   FL    33062
JOHN GIBBINS                                  1204 ROSEMOUNT AVENUE                  WINNIPEG MB                            R3T 0V8 CANADA
JOHN GIBSON WORSHAM & MARGARET C WORSHAM TR 3601 BROOK RD                                                                                     RICHMOND        VA    23227‐4529
UW JULIA P WORSHAM
JOHN GIGLIO & ANGELA GIGLIO JT TEN            186 WHITEHALL RD SOUTH                                                                          GARDEN CITY     NY    11530‐5619
JOHN GILBERT                                  25 DEMING RD                                                                                    ROCKY HILL      CT    06067
JOHN GILBERT MARTIN                           5123S 400 E                                                                                     WALTON          IN    46994‐9730
JOHN GILBERT SNUGGS                           BOX 1262                                                                                        MONROE          NC    28111‐1262
JOHN GILCHRIST & STEVEN P GILCHRIST JT TEN    61 JANE STREET                         APT 18D                                                  NEW YORK        NY    10014
JOHN GILCHRIST RUHL II                        112 FOREST ROAD                                                                                 DAVENPORT       IA    52803‐3611
JOHN GILLETTE MILNER                          UNIT 102                               2330 DUANE STREET                                        LOS ANGELES     CA    90039‐3179
JOHN GILLEY                                   18620 M52                                                                                       CHELSEA         MI    48118‐9132
JOHN GILMORE                                  205 E SHERIDAN ST                                                                               MANITO          IL    61546‐9042
JOHN GILROY & MARCIA K GILROY JT TEN          6058 MISSION DR                                                                                 W BLOOMFIELD    MI    48324‐3311
JOHN GJERLOV                                  SOMMERDALEN 4                          DK‐2670 GREVE                          DENMARK
JOHN GJERLOV                                  SOMMERDALEN 4                          DK‐2670 GREVE                          DENMARK
JOHN GLASS                                    944 CELESTINE CIRCLE                                                                            VACAVILLE       CA    95687‐7853
JOHN GLENN MATTHEWS JR                        36 SWAP FOX DRIVE                                                                               CALABASH        NC    28467‐9820
JOHN GLYN POU                                 91 KNOB HILL                                                                                    COLDSPRING      TX    77331‐9622
JOHN GLYNN                                    305 FORTUNA DRIVE                                                                               HATFIELD        PA    19440‐3351
JOHN GO & NORA GO JT TEN                      67 ZODIAC ST                           BEL AIR IV MAKATI    RIZAL D‐708       PHILIPPINES
JOHN GOBESKI                                  1215 N HURON RD                                                                                 LINWOOD         MI    48634‐9412
JOHN GOITZ & MRS FRANCES GOITZ JT TEN         22636 WILDWOOD ST                                                                               ST CLR SHORES   MI    48081‐3903
JOHN GOJMERAC & JEANNE J GOJMERAC JT TEN      260 ROGERS AVE                                                                                  TONAWANDA       NY    14150‐5273
JOHN GOPLERUD                                 23826 US 71                                                                                     PARK RAPIDS     MN    56470‐4521
JOHN GORALSKI                                 8133 SAWYER RD                                                                                  DARIEN          IL    60561‐5228
JOHN GORDON ROACH JR & MRS MARY FORD ROACH JT BOX 506                                                                                         MC COMB         MS    39649‐0506
TEN
JOHN GOSTOMSKI JR                             307 KATI ST                                                                                     PIKEVILLE       KY    41501‐9336
JOHN GOULASARIAN & LOUISA GOULASARIAN JT TEN  8018 PARK                                                                                       ALLEN PARK      MI    48101‐1718

JOHN GOULD                                      18834 WEST BALDWIN ROAD                                                                       CHESANING       MI    48616‐9530
JOHN GRACZYK                                    76 W FALLS RD                                                                                 WEST FALLS      NY    14170‐9715
JOHN GRAMIGA JR                                 1979 E MAIN STREET                                                                            BRIDGEPORT      CT    06610‐1901
JOHN GRANT WARD & EUGENE BLANC JR TR U‐A WITH   106 BROOKVIEW AVE                                                                             FAIRFIELD       CT    06825
CAMILLA WARD 11/19/57
JOHN GRANT WARD & LYDIA WARD TR UW WILLIAM      106 BROOKVIEW AVE                                                                             FAIRFIELD       CT    06825
GRANT
JOHN GRAY & MICHELLE GRAY JT TEN                327 SOUTH FIRST AVE                                                                           HIGHLAND PARK   NJ    08904‐2119
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 4 of 8 Pg 179 of 855
Name                                              Address1                             Address2                  Address3         Address4          City            State Zip

JOHN GREENWALD                                    1521 MARTINGALE CT                                                                                CARLSBAD        CA    92009‐4034
JOHN GREENWALD & ZAIDA GREENWALD JT TEN           1521 MARTINGALE CT                                                                                CARLSBAD        CA    92009‐4034
JOHN GREGOR PAUL CUST CHRISTOPHER B PAUL UGMA     413 BELMONT DR                                                                                    CHERRY HILL     NJ    08002‐1905
NJ
JOHN GREGORY & THOMAS C GREGORY TR RIVET TR UA    159 COUNTRY CLUB RD                                                                               AVON            CT    06001‐2613
7/15/80
JOHN GREGORY BROWN                                11905 S 93RD AVE                                                                                  PALOS PARK      IL    60464‐1116
JOHN GREGORY COPENHEFER                           405 BELGRAVIA CT                                                                                  LOUISVILLE      KY    40208‐2120
JOHN GREGORY TOTH                                 2360 ST JAMES WOODS BLVD                                                                          TOLEDO          OH    43617‐1228
JOHN GREGORY TR THE RIVET TRUST UA 07/15/80       159 COUNTRY CLUB RD                                                                               AVON            CT    06001‐2613
JOHN GRUMME                                       BOX 206                                                                                           GLENFORD        NY    12433‐0206
JOHN GUGLIELMO MONICA GUGLIELMO & ANNE            5403 63RD ST                                                                                      MASPETH         NY    11378‐1211
STANCANELLI JT TEN
JOHN GUITERAS                                     822 LAUREL WOODS LN                                                                               HANOVER         PA    17331‐6867
JOHN GUNTER & BILLIE F GUNTER TEN COM             1500 SHERMAN                                                                                      ARLINGTON       TX    76012‐4646
JOHN GURLEY JR                                    18307 MORRISSON AVENUE                                                                            PT CHARLOTTE    FL    33948
JOHN GUSHUE & CATHY GUSHUE JT TEN                 104 KENNEDY DR                                                                                    HORSEHEADS      NY    14845
JOHN GUTAWESSKY                                   25009 DONALD                                                                                      REDFORD         MI    48239‐3329
JOHN H ADAMS                                      15408 HWY 106                                                                                     CARNESVILLE     GA    30521‐2203
JOHN H ADAMS                                      5218 SHREEVES                                                                                     FAIRGROVE       MI    48733‐9563
JOHN H ALEXANDER                                  822 ELIZA ST                                                                                      HOUTZDALE       PA    16651‐1221
JOHN H ALLEN                                      4348 BEECHWOOD LAKE DRIVE                                                                         NAPLES          FL    34112‐6102
JOHN H ALLEN                                      18435 BRADY                                                                                       REDFORD         MI    48240‐1704
JOHN H ANDERSON                                   382 E KELLY RD                                                                                    BELLINGHAM      WA    98226‐9779
JOHN H ANKRAPP                                    2020 HOT OAK RIDGE ST                                                                             LAS VEGAS       NV    89134‐5516
JOHN H ANKRAPP & JUDITH K ANKRAPP JT TEN          2020 HOT OAK RIDGE ST                                                                             LAS VEGAS       NV    89134‐5516
JOHN H APRAHAMIAN                                 3308 VIA GIOVANNI CIR                                                                             CORONA          CA    92881‐0764
JOHN H ARENDSEN                                   29 S ZEELAND PARKWAY                                                                              ZEELAND         MI    49464‐2004
JOHN H ARIAN TR ARIAN FAMILY TRUST UA 06/03/96    1101 LAVENDER LANE                                                                                LA CANADA       CA    91011‐2340

JOHN H ARMITAGE                                   APT 206                              1300 BLOOR ST SUITE 206   MISSISSAUGA ON   L4Y 3Z2 CANADA
JOHN H ATWELL & KENNA E ATWELL JT TEN             9567 E BLUE RIDGE MOUNTAIN ST                                                                     TUCSON          AZ    85748‐6648
JOHN H ATWELL & KENNA E ATWELL TR UA 11/28/2006   9567 E BLUE RIDGE MOUNTAIN ST                                                                     TUCSON          AZ    85748‐6648
ATWELL FAMILY TRUST
JOHN H BAIN                                       4200 OXFORD DR                                                                                    COLUMBUS        OH    43220‐4555
JOHN H BAKER                                      2710 TANGLEWOOD TRAIL                                                                             EAST POINT      GA    30344‐6631
JOHN H BAKER                                      469 SPRINGFIELD RD                                                                                COLUMBIANA      OH    44408‐9495
JOHN H BAKER                                      2928 HARDING                                                                                      DETROIT         MI    48214‐2108
JOHN H BAKER                                      6485 SANDY LN                        # 13                                                         HOUSE SPRINGS   MO    63051‐1275
JOHN H BARNES                                     3942 BROXTON BRIDGE HW                                                                            EHRHARDT        SC    29081
JOHN H BAUCHENS                                   PO BOX 3765                                                                                       LACEY           WA    98509‐3765
JOHN H BEDER                                      2002 CLAUDIO LN                                                                                   LADY LAKE       FL    32159‐9512
JOHN H BENNETT                                    6105 EBENEZER RD                                                                                  WHITE MARSH     MD    21162‐1929
JOHN H BERG & CLAIRE E BERG JT TEN                #11                                  2093 VICTOR AVE                                              REDDING         CA    96002‐0401
JOHN H BERRY III                                  20092 RODEO COURT                                                                                 SOUTHFIELD      MI    48075‐1283
JOHN H BESS                                       11427 W RHOBY RD                                                                                  MANTON          MI    49663‐9002
JOHN H BICKEL                                     333 SCHOCK RD                                                                                     HARBOR BEACH    MI    48441‐9703
JOHN H BISACK II & MRS EVELYNE BISACK JT TEN      340 HALF MILE RD                                                                                  SOUTHPORT       CT    06490‐1068
JOHN H BJUR                                       31340 HARTFORD                                                                                    WARREN          MI    48093‐2055
JOHN H BLAKEMORE                                  6383 BLUE JAY DR                                                                                  FLINT           MI    48506‐1778
JOHN H BOGGS                                      3608 PLUM STREET                                                                                  PARKERSBURG     WV    26104‐1902
JOHN H BOMKAMP                                    3502 E CREEK RD                                                                                   BELOIT          WI    53511‐7903
JOHN H BONDS                                      12077 KILBRIDE DR                                                                                 CINCINNATI      OH    45251‐1279
JOHN H BOSWELL                                    1247 RIPPLE CREEK DR                                                                              HOUSTON         TX    77057‐1764
JOHN H BOWERS                                     C/O JOHN BOWERS BUICK                726 BAY TREE CT                                              NAPLES          FL    34108‐3429
JOHN H BOWLES                                     2000 N FOREST AVE                                                                                 MUNCIE          IN    47304‐2520
JOHN H BOWMAN & JAMES C BOWMAN JT TEN             4121 BROWNS LN UNIT C24                                                                           LOUISVILLE      KY    40220‐1559
JOHN H BRADEN                                     PO BOX 277                                                                                        WATSEKA         IL    60970‐0277
JOHN H BRADSHAW                                   13326 N MURPHY RD                                                                                 BRAZIL          IN    47834‐6857
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 4 of 8 Pg 180 of 855
Name                                              Address1                              Address2                      Address3   Address4          City              State Zip

JOHN H BRADSHAW & MRS DONENE K BRADSHAW JT        7061 DEAN FARM RD                                                                                NEW ALBANY        OH    43054‐9252
TEN
JOHN H BRICE                                      7125 SUGARBIN ST                                                                                 ORLANDO           FL    32822‐5812
JOHN H BRIDGEFORTH                                PO BOX 297                                                                                       TANNER            AL    35671‐0297
JOHN H BRIGHT                                     7721 S MILLER                                                                                    OKLAHOMA CITY     OK    73159‐4619
JOHN H BROWN                                      2292 N RIVER ROAD                                                                                WARREN            OH    44483
JOHN H BROWNING                                   10400 TIREMAN                                                                                    DETROIT           MI    48204‐3148
JOHN H BRUNGARDT                                  8618 CRESCENT                                                                                    RAYTOWN           MO    64138‐3343
JOHN H BRYAN                                      455 N CITYFRONT PLAZA                 NBC TOWER SUITE 1400                                       CHICAGO           IL    60611‐5503
JOHN H BURDICK                                    18755 LEXINGTON                                                                                  REDFORD TWP       MI    48240‐1942
JOHN H BURT                                       1065 COUNTY RD 1343                                                                              VINEMONT          AL    35179‐6195
JOHN H BUTTS JR & EMILY R BUTTS JT TEN            5890 THREE MILE RD                                                                               BAY CITY          MI    48706‐9032
JOHN H CALLEBS                                    25006 LORETTA                                                                                    WARREN            MI    48091‐1405
JOHN H CANNON                                     9800 HUTTON RD                                                                                   KANSAS CITY       KS    66109‐4017
JOHN H CANOLE & SHIRLEY R CANOLE JT TEN           824 LAUREL AVE                                                                                   LIBERTY           MO    64068‐1306
JOHN H CARDINAL                                   6182 CALKINS RD                                                                                  FLINT             MI    48532‐3204
JOHN H CARPENTER                                  34 ACORN CIR                                                                                     CHAMBERSBURG      PA    17201‐3102
JOHN H CARR IV                                    9230 TROPICO DR                                                                                  LA MESA           CA    91941‐6737
JOHN H CHEENEY                                    114 EAST STURGIS STREET                                                                          ST JOHNS          MI    48879‐2258
JOHN H CHICASE                                    1753 GARDEN ST                                                                                   LOWELLVILLE       OH    44436‐9756
JOHN H CHRISTY                                    4400 DALLAS AVE                                                                                  SPARTA            WI    54656‐4634
JOHN H CLAIBORNE IV                               130 HILL VIEW LN APT A                                                                           JACKBORO          TN    37757
JOHN H CLARK                                      3618 CREEKWOOD DR                                                                                SAGINAW           MI    48601‐5603
JOHN H CLARK & JOANN CLARK TR UA 10/21/91 CLARK   537 W PALO VERDE ST                                                                              GILBERT           AZ    85233‐5834
FAMILY TRUST
JOHN H COFFEE                                     10256 MILE RD                                                                                    NEW LEBANON       OH    45345‐9664
JOHN H COLEMAN                                    4594 BLACKMORE RD                                                                                LESLIE            MI    49251‐9789
JOHN H COLGIN                                     P O BOX123                                                                                       MOORINGSPORT      LA    71060‐0123
JOHN H COLLINS                                    74 OXFORD ST                                                                                     WINCHESTER        MA    01890‐2312
JOHN H COOKE                                      131 EDWARD ST E                       NEWCASTLE ON                             L1B 1M4 CANADA
JOHN H COOMER                                     42121 CHASE LAKE RD                                                                              DEER RIVER        MN    56636‐3170
JOHN H COON                                       11377 LEWIS ROAD                                                                                 CLIO              MI    48420‐7919
JOHN H COOPER                                     C/O CONNIE C MORRILL                  12000 CAPRI CIRCLE SOUTH #4                                TREASURE ISLAND   FL    33706‐4942
JOHN H COPE                                       PO BOX 114                                                                                       STEVINSON         CA    95374‐0114
JOHN H CORNWALL 3RD                                                                                                                                BERLIN            NY    12022
JOHN H COWLES SR                                  500 STAFFORD AV                       APT 15C                                                    BRISTOL           CT    06010‐4627
JOHN H CRAWFORD                                   58000 WERDERMAN                                                                                  NEW HAVEN         MI    48048‐2417
JOHN H CRIST CUST DAVID J CHRIST UGMA MI          5 WEST CORRAL DR                                                                                 SAGINAW           MI    48603‐5815
JOHN H CROCKER                                    2311 WOODRUFF ST                                                                                 LANSING           MI    48912‐3335
JOHN H CUNEO                                      7871 WATSON WAY                                                                                  CITRUS HEIGHTS    CA    95610‐2330
JOHN H CUNEO JR & BARBARA CUNEO JT TEN            7871 WATSON WAY                                                                                  CITRUS HEIGHTS    CA    95610‐2330
JOHN H CURREN & ELIZABETH A CURREN TR JOHN H      278 STONEYKIRK DR                                                                                BELLA VISTA       AR    72715‐3814
CURREN TRUST UA 4/7/97
JOHN H DANIELS                                    3066 LAKEVIEW RD                                                                                 SHREVEPORT        LA    71107‐5614
JOHN H DANLEY                                     W161N10515 BROOK HOLLOW DR                                                                       GERMANTOWN        WI    53022‐5707
JOHN H DAVIS                                      13022 HELEN                                                                                      SOUTHGATE         MI    48195‐2438
JOHN H DAVIS                                      33842 PICCIOLA DR                                                                                FRUITLAND PK      FL    34731‐6127
JOHN H DAVIS                                      1223 W DOWNEY AVE                                                                                FLINT             MI    48505‐1432
JOHN H DAVIS                                      605 W HOLBROOK AVE                                                                               FLINT             MI    48505‐2057
JOHN H DE MEULES                                  PARK PLAZA                            124 NW 7TH APT 511                                         CORVALLIS         OR    97330‐6345
JOHN H DEAN                                       95 BAILEY ST                                                                                     KALAMAZOO         MI    49001‐9566
JOHN H DELAND                                     8623 CANTER POST RD                                                                              CHARLOTTE         NC    28216‐9694
JOHN H DELANEY & PATRICIA A DELANEY JT TEN        140 SOUTH ROAD                                                                                   SCOTTSVILLE       NY    14546‐9706
JOHN H DELL                                       15489 SR18                                                                                       SHERWOOD          OH    43556‐9776
JOHN H DELL & MARY R DELL JT TEN                  15489 ST RT 18                                                                                   SHERWOOD          OH    43556‐9776
JOHN H DELONEY                                    2365 W FRANCES RD                                                                                MT MORRIS         MI    48458‐8249
JOHN H DEVINE & CAROL A DEVINE JT TEN             4 PETER ROAD                                                                                     HICKVILLE         NY    11801‐5628
JOHN H DOBSON                                     100 MAPLE STREET                                                                                 SPENCER           MA    01562‐2720
JOHN H DOSTER                                     420 WILDOAK                                                                                      PERRY             MI    48872‐9187
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 181 of 855
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

JOHN H DOUGLAS                                   1721 W HOLMES RD                                                                                 LANSING         MI    48910‐4332
JOHN H DOWELL                                    1406 MANN AVE                                                                                    FLINT           MI    48503‐6700
JOHN H DUBOSE IV                                 3442 ALISON DR                                                                                   DORAVILLE       GA    30340‐1904
JOHN H DUNN                                      3615 BRANNON DR                                                                                  WACO            TX    76710‐1344
JOHN H DWORAK                                    4130 RANSOM ROAD                                                                                 CLARENCE        NY    14031‐2330
JOHN H EBEL                                      22 CHAUCER CT                                                                                    MANCHESTER      NJ    08759‐6152
JOHN H EGGERS                                    430 CLUNNY DR                                                                                    MT MORRIS       MI    48458‐8873
JOHN H ELILS                                     3540 LIGGETT DR                                                                                  SAN DIEGO       CA    92106‐2153
JOHN H ELLISON                                   808 NORTH UNIVERSITY                                                                             TOLEDO          OH    43607‐3538
JOHN H ENG & GINGER H ENG JT TEN                 11221 CLIFFWOOD DR                                                                               HOUSTON         TX    77035‐6039
JOHN H ENGHOLM & CLARA J ENGHOLM JT TEN          3952 SAGINAW TRAIL                                                                               DRAYTON PLNS    MI    48020
JOHN H ERNST                                     106 E LINCOLN ST                                                                                 ST JOHNS        MI    48879‐1320
JOHN H ETZEL & DARLENE A ETZEL JT TEN            2312 25TH ST                                                                                     ROCK ISLAND     IL    61201
JOHN H FAUSER                                    2783 BASELINE RD                                                                                 LESLIE          MI    49251‐9605
JOHN H FECHTER & BONNIE I FECHTER TR FECHTER FAM 1607 ASTORIA DR                                                                                  FAIRFIELD       CA    94533‐3355
TRUST UA 02/15/86
JOHN H FERGUSON JR                               518 SMALLWOOD RD                                                                                 DAYTON           OH   45427‐2242
JOHN H FEY                                       7114 SANSUE DRIVE                                                                                BETHEL PARK      PA   15102‐3746
JOHN H FINLEY                                    2171 WESTMINSTER ROAD                                                                            CLEVELAND        OH   44118‐2821
                                                                                                                                                  HEIGHTS
JOHN H FIRMENT & MARTHA B FIRMENT TR FIRMENT      28308 GREEN WILLOW                                                                              FARMINGTON HILLS MI   48331‐2783
LIVING TRUST UA 11/24/98
JOHN H FISH 3RD                                   16922 MUNTZ CT                                                                                  DUBUQUE         IA    52001‐0124
JOHN H FITZPATRICK TR UA 10/13/88 JOHN H          2001 83RD AVE N                        LOT 1233                                                 ST PETERSBURG   FL    33702‐3974
FITZPATRICK TRUST
JOHN H FORD                                       5755 VALLEY RIDGE AVE                                                                           LOS ANGELES     CA    90043‐2232
JOHN H FOUTS                                      3181 WARRINGHAM                                                                                 WATERFORD       MI    48329‐3164
JOHN H FRANK                                      48841 DENTON RD                        APT 27 BLDG 3                                            BELLVILLE       MI    48111‐2046
JOHN H FREDERICK                                  7037 FREDERICK LANE                                                                             ORANGE          TX    77632‐9226
JOHN H FREIMUTH & MRS KARIN FREIMUTH JT TEN       344 E SPRUCE ST                                                                                 NEW HOLLAND     PA    17557

JOHN H FRISCHKORN                                 1814 GRAEFIELD                                                                                  BIRMINGHAM      MI    48009‐7543
JOHN H FULCHER                                    67 WOODBURY DRIVE                                                                               LOCKPORT        NY    14094‐5934
JOHN H GANNETT                                    1801 SE 24TH RD                                                                                 OCALA           FL    34471‐6073
JOHN H GANSEL & DIXIE T GANSEL TR UA 12/08/88     709 SEA CLIFF DR W                                                                              APTOS           CA    95003‐3574
FAMILY TRUST
JOHN H GARRETT                                    155 COKER HILL DR                                                                               HAYESVILLE       NC   28904‐7236
JOHN H GIBSON                                     1032 LA RODA                                                                                    ONTARIO          CA   91762‐6105
JOHN H GILLILAND                                  20 WALDEN CT                                                                                    YORK             PA   17404‐9730
JOHN H GLASCOCK                                   1 BIRCH DR                                                                                      E BRUNSWICK      NJ   08816‐2403
JOHN H GLASSER                                    6766 PARKWAY CIRCLE                                                                             DEARBORN HEIGHTS MI   48127‐2369

JOHN H GLASSER & RONALD D GLASSER JT TEN          6766 PARKWAY CIRCLE                                                                             DEARBORN HTS     MI   48127‐2369
JOHN H GOELZ                                      1359 BEACH AVE                                                                                  ATLANTIC BCH     FL   32233‐5731
JOHN H GORRELL                                    352 N BUCKEYE AVE                                                                               MANSFIELD        OH   44906‐1953
JOHN H GORRELL & MARIAN E GORRELL JT TEN          352 N BUCKEYE AVE                                                                               MANSFIELD        OH   44906‐1953
JOHN H GRIFFIN                                    631 SETH LN                                                                                     LONGS            SC   29568‐7225
JOHN H GRIFFIN                                    9690 HENDERSON                                                                                  CORUNNA          MI   48817‐9793
JOHN H GRIFFITH                                   3440 ALLEN RD                                                                                   HALE             MI   48739‐9306
JOHN H GRISSOM                                    1526 25TH STREET                                                                                BEDFORD          IN   47421‐5002
JOHN H HACKER                                     158 EDGELAKE DRIVE                                                                              WATERFORD        MI   48327‐3721
JOHN H HAILS                                      37133 FOX CHASE                                                                                 FARMINGTON HILLS MI   48331‐4310

JOHN H HALL                                       49110 MAURICE DRIVE                                                                             CHESTERFIELD    MI    48047‐1731
JOHN H HALLETT                                    1090 5TH ST                                                                                     PLAINWELL       MI    49080‐9568
JOHN H HALTINNER JR                               38132 ELSIE ST                                                                                  LIVONIA         MI    48154‐4802
JOHN H HAMBY                                      1024 HURON STREET                                                                               FLINT           MI    48507‐2326
JOHN H HARDEN                                     1568 LORETTA                                                                                    COLUMBUS        OH    43211‐1508
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 182 of 855
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

JOHN H HARDING III CUST CONNOR W HARDING UTMA     92 POPLAR STREET                                                                              MANCHESTER       NH    03104‐2110
NH
JOHN H HARRIS                                     206 HOUSTON AVE N E                                                                           ROANOKE          VA    24012‐2510
JOHN H HARRIS                                     5438 HAMMOND RD                                                                               LAPEER           MI    48446‐2783
JOHN H HAVRILLA                                   3420 EISENHOWER COURT                                                                         MC KEESPORT      PA    15131‐2210
JOHN H HAVRILLA & IRENE C HAVRILLA JT TEN         3420 EISENHOWER CT                                                                            MC KEESPORT      PA    15131‐2210
JOHN H HAWTHORNE                                  115 EDWIN                                                                                     FLINT            MI    48505‐3741
JOHN H HAYS JR TOD ROSEMARY HAYS SUBJECT TO STA   18641 FM RD 1252                                                                              WINONA           TX    75792‐6421
TOD RULES
JOHN H HEMBREE                                    17 GOLF VILLA DR                                                                              PORT ORANGE      FL    32128‐7262
JOHN H HEMBREE TR JOHN H HEMBREE LIVING TRUST     17 GOLF VILLA DR                                                                              PORT ORANGE      FL    32128‐7262
UA 09/09/98
JOHN H HENES                                      48 RIDGE RD                                                                                   SPARTA           NJ    07871‐2602
JOHN H HERRON                                     2842 COLERIDGE                                                                                LOS ALAMITOS     CA    90720‐4013
JOHN H HERRON                                     9816 DAPHNE CT                                                                                EL PASO          TX    79925‐4614
JOHN H HERRON SR & JOANN W HERRON JT TEN          HAWKS RD                                                                                      SHELBURNE        MA    01370
JOHN H HESTER JR                                  4 DONAZETTE ST                                                                                WELLESLEY        MA    02482‐4814
JOHN H HICKS                                      4364 CAROLINA ST                                                                              GRAND PRAIRIE    TX    75052‐3401
JOHN H HICKS & BARBARA J HICKS JT TEN             4364 CAROLINA ST                                                                              GRAND PRAIRIE    TX    75052‐3401
JOHN H HICKS & MARILYN J HICKS JT TEN             1345 MENDAVIA AVE                                                                             CORAL GABLES     FL    33146‐1103
JOHN H HIMMER                                     503 FAIR MEADOW DR                                                                            WASHINGTON       PA    15301
JOHN H HINDS                                      5649 MARTIN ROAD                                                                              WARREN           MI    48092‐2634
JOHN H HINDS & ELLA M HASKINS JT TEN              5649 MARTIN RD                                                                                WARREN           MI    48092‐2634
JOHN H HLADKY CUST MARK PAUL HLADKY UGMA OH       1633 RIVER BIRCH DR                                                                           FLOWER MOUND     TX    75028‐3628

JOHN H HOENMEYER II & MARK J HOENMEYER JT TEN     15922 DAWSON RIDGE DR                                                                         TAMPA            FL    33647‐1324

JOHN H HORN JR                                    423 MARYLAND AVENUE                                                                           BALTIMORE        MD    21221‐6706
JOHN H HOWARD 3RD                                 194 JEFFREY LANE                                                                              BOLINGBROOK      IL    60440‐1328
JOHN H HUBER                                      810 ECKFORD DR                                                                                TROY             MI    48098‐4848
JOHN H HULL TR RICHARD C HULL TRUST UA 1/26/02    3554 EDGEVALE RD                                                                              OTTAWA HILLS     OH    43606‐2637

JOHN H HUMENIUK                                  1727 SQUAW CREEK DRIVE                                                                         GIRARD           OH    44420‐3639
JOHN H HUNLEY                                    224 UNION ST                                                                                   LOVELAND         OH    45140‐2962
JOHN H HUNTER                                    13150 RAWSONVILLE RD                                                                           BELLEVILLE       MI    48111‐9672
JOHN H HUTCHINSON                                1082 FIREWOOD DRIVE                                                                            DAYTON           OH    45430‐1210
JOHN H HUTH                                      103 NIXON HOLLOW N LN                                                                          PLEASANT SHADE   TN    37145‐3415
JOHN H IANNUCCI                                  2425 GIANT OAKS DR                                                                             PITTSBURGH       PA    15241‐2809
JOHN H INGRAHAM                                  1399 BLUE HILL AVE                    APT D108                                                 MILTON           MA    02186‐2364
JOHN H IPSON III & GLORIA A IPSON JT TEN         190 ADDISON CIRCLE                                                                             FOWLERVILLE      MI    48816‐9711
JOHN H IVY & CAROLINE IVY JT TEN                 4749 BRAINARD RD                                                                               ORANGE VILLAGE   OH    44022‐1507
JOHN H JACKSON                                   415 SALEM HANCOCK BR RD                                                                        SALEM            NJ    08079‐9418
JOHN H JACKSON & ELIZABETH E JACKSON JT TEN      620 NORTHBROOK DRIVE                                                                           MICHIGAN CITY    IN    46360‐1931
JOHN H JACKSON & ELLICE S JACKSON JT TEN         140 FIRE TOWER RD                                                                              PORT DEPOSIT     MD    21904‐1322
JOHN H JANSSEN                                   45182 WEST PARK DR APT 6                                                                       NOVI             MI    48377‐1301
JOHN H JARRETT                                   8832 BECKFORD DR                                                                               INDIANAPOLIS     IN    46234‐2208
JOHN H JENKINS                                   250 BEACH ST                                                                                   BELOIT           WI    53511‐3406
JOHN H JOBES & EDWARD B HEYD TR SUSAN D OGDEN U‐ 1310 AVENUE CORUNA                                                                             CORAL GABLES     FL    33156
W BENJAMIN J DARLING
JOHN H JOHNSON                                   N3489 SPRINGFIELD RD                                                                           LAKE GENEVA      WI    53147
JOHN H JOHNSON                                   PO BOX 78                                                                                      GERMANTOWN       IL    62245‐0078
JOHN H JOHNSON CUST JESSICA JOHNSON UTMA VA      3620 WILLOW GLEN                                                                               HERNDON          VA    22071

JOHN H JOHNSON CUST MARK JOHNSON UTMA VA          3620 WILLOW GLEN                                                                              HERNDON          VA    22071

JOHN H JOHNSON CUST MATHEW JOHNSON UTMA VA        3620 WILLOW GLEN                                                                              HERNDON          VA    22071

JOHN H JONES                                      294 ILLINOIS DRIVE                                                                            RANTOUL          IL    61866‐1823
JOHN H JONES                                      18469 MELROSE AVE                                                                             SOUTHFIELD       MI    48075‐4112
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 183 of 855
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

JOHN H JORDAN                                     20538 HUNTINGTON                                                                              DETROIT           MI    48219‐1440
JOHN H KAEDING                                    FIDDLEHEAD FARM                                                                               WORCESTER         VT    05682
JOHN H KAMETZ                                     2158 MARHOFER AVE                                                                             STOW              OH    44224‐4144
JOHN H KELLNER JR                                 216 OLD OAK DR                                                                                CORTLAND          OH    44410‐1122
JOHN H KELLY                                      8745 S ESSEX                                                                                  CHICAGO           IL    60617‐2338
JOHN H KENNERLY                                   119 WELLSGROVE LN                                                                             ORANGEBURG        SC    29115‐3393
JOHN H KERN CUST SUSAN LYNN KERN UGMA CA          166 STEWART DR                                                                                TIBURON           CA    94920‐1338
JOHN H KERR                                       503 TALLWOOD LANE                                                                             GREEN BROOK       NJ    08812‐2149
JOHN H KLOEKER                                    531 SOUTHEAST 33RD ST                                                                         CAPE CORAL        FL    33904
JOHN H KLUG CUST RACHEL LYNN KLUG UTMA WI         N12647 WARREN RD                                                                              WAUSAUKEE         WI    54177‐9511
JOHN H KLUG CUST SETH JOHN KLUG UTMA WI           N12641 WARREN ROAD                                                                            WAUSAUKEE         WI    54177‐9511
JOHN H KNODE JR & GERALDINE C KNODE JT TEN        428 MILLER ST                                                                                 WINCHESTER        VA    22601‐3218
JOHN H KNOTT                                      6159 BROWN ROAD                                                                               OREGON            OH    43618‐9758
JOHN H KNUDTSON & LINDA F KNUDTSON JT TEN         3097 SOUTH QUINTERO ST                                                                        AURORA            CO    80013‐2265
JOHN H KOCH                                       7019 N RIVER RD                                                                               WATERVILLE        OH    43566‐9746
JOHN H KOLOJACO                                   6401 BUCK CREEK RD                                                                            OSKALOOSA         KS    66066‐4096
JOHN H KOTCHER                                    23291 DOREMUS                                                                                 ST CLAIR SHORES   MI    48080‐2782
JOHN H KREHAN & MRS LIESEL KREHAN JT TEN          107 TUDOR DR                                                                                  CLARK             NJ    07066‐2127
JOHN H LABAHA                                     390 BUNKER HILL AVE                                                                           WATERBURY         CT    06708‐1939
JOHN H LAFELDT                                    613 W BAY ST                                                                                  DAVISON           MI    48423‐1046
JOHN H LAKE                                       PO BOX 488                                                                                    WARE SHOALS       SC    29692‐0488
JOHN H LANDRY                                     10257 FENTON RD                                                                               FENTON            MI    48430‐9787
JOHN H LAROSCH & JUDY A LAROSCH JT TEN            2221 GLASGOW AVE                                                                              NEWARK            DE    19702‐3901
JOHN H LEATHERBEE JR                              86 ROTARY DR                                                                                  SUMMIT            NJ    07901‐3132
JOHN H LEDFORD                                    1708 GLYNN OAKS                                                                               ARLINGTON         TX    76010‐5952
JOHN H LEE                                        601 E MONROE                                                                                  KIRKWOOD          MO    63122‐6319
JOHN H LEGG                                       2901 BRIDGE                                                                                   TRENTON           MI    48183‐3508
JOHN H LELO & KEVIN H LELO JT TEN                 1762 N JONES RD                                                                               ESSEXVILLE        MI    48732‐9708
JOHN H LEMOND                                     3940 BRYN MAWR APT 308                                                                        CHICAGO           IL    60659‐3144
JOHN H LEMOND III                                 5909 N MAPLEWOOD AVE                                                                          CHICAGO           IL    60659‐5005
JOHN H LEWIS                                      1705 WESTVIEW AVE                                                                             DANVILLE          IL    61832‐1944
JOHN H LEWIS JR                                   2390 EIFFEL CT                                                                                DECATUR           GA    30032
JOHN H LITZENBERG                                 207 W MAIN ST                                                                                 ELKTON            MD    21921‐5211
JOHN H LIWACZ & MRS VIRGINIA B LIWACZ JT TEN      22 FAIRWAY COURT                                                                              LAWRENCEVILLE     NJ    08648‐1466

JOHN H LOSSING MD                                  3924 BALTIMORE ST                                                                            KENSINGTON        MD    20895‐3906
JOHN H LOVE JR TR JOHN H LOVE JR TRUST UA 02/05/99 2335 BRETTON DRIVE                                                                           CINCINNATI        OH    45244‐3729

JOHN H LUFT                                       5909 BITTERWOOD CT                                                                            TAMPA             FL    33625‐5656
JOHN H MACAULEY                                   1663 ALGONQUIN                                                                                DES PLAINES       IL    60016‐6631
JOHN H MACHAMER                                   4665 TEMPLETON                                                                                WARREN            OH    44481‐9182
JOHN H MACLEOD                                    8100 TASKER RD                                                                                BELLEVUE          MI    49021‐9203
JOHN H MAGER & SOPHIE L MAGER JT TEN              6703 SUNDERLAND DR                                                                            PARMA             OH    44129‐4525
JOHN H MARKUSON JR & CONSTANCE W MARKUSON JT      1333 CLYBORNE ST                                                                              BATAVIA           IL    60510‐7614
TEN
JOHN H MARR                                       3715 STRUBLE RD                                                                               ENDWELL           NY    13760‐1125
JOHN H MARTIN JR CUST JOHN R MARTIN UGMA NY       6714 WILLIAMS RD                                                                              ROME              NY    13440‐2026

JOHN H MATHIS                                    109 HOOVER AVE                                                                                 KENMORE           NY    14217‐2517
JOHN H MATTHEWS                                  232 S CHESTNUT                                                                                 REED CITY         MI    49677‐1206
JOHN H MC ADAMS                                  2942 SHAWNEE LN                                                                                WATERFORD         MI    48329‐4336
JOHN H MC KEEVER                                 1112 WALNUT DR                                                                                 DANIELSVILLE      PA    18038‐9721
JOHN H MCCANN                                    127 ALFRED DROWNE RD                                                                           BARRINGTON        RI    02806‐1931
JOHN H MCCORMICK                                 11671 PINEHURST                                                                                DETROIT           MI    48204‐1959
JOHN H MCPHEE                                    21380 PRATT RD                                                                                 ARMADA            MI    48005‐1328
JOHN H MCQUILLEN                                 1440 RESTHAVEN DRIVE                                                                           MANSFIELD         OH    44903‐8843
JOHN H MEDVESEK & JOAN M MEDVESEK JT TEN         19651 MONTEREY AVE                                                                             EUCLID            OH    44119‐1508
JOHN H MIKASA TR JOHN H MIKASA TRUST UA 02/09/88 98‐292 HALE MOMI PL                                                                            AIEA              HI    96701‐4410
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 184 of 855
Name                                              Address1                                Address2              Address3         Address4          City              State Zip

JOHN H MILBECK                                    5809 E RS AVE                                                                                    SCOTTS            MI    49088‐9728
JOHN H MILLER                                     1135 KENTUCKY AVE                                                                                WINFIELD          IA    52659‐9614
JOHN H MILLER                                     806 BORDEN RD                                                                                    CHEEKTOWAGA       NY    14227‐2635
JOHN H MILLWOOD                                   9360 FLEETWOOD TER                                                                               GAINESVILLE       GA    30506‐3988
JOHN H MILLWOOD                                   9360 FLEETWOOD TER                                                                               GAINESVILLE       GA    30506‐3988
JOHN H MINNICK                                    1115 S CEDAR                                                                                     OTTAWA            KS    66067‐3510
JOHN H MITCHELL II                                12935 S MAIN ST                                                                                  HOUSTON           TX    77035
JOHN H MITCHELSON & BEVERLY A MITCHELSON JT TEN   BOX 610                                                                                          PITTSBURG         KS    66762‐0610

JOHN H MIXON                                      289 SHADYWOOD DRIVE                                                                              DAYTON            OH    45415‐1237
JOHN H MODE                                       3003 REX RD                                                                                      REX               GA    30273‐1048
JOHN H MOODY                                      2009 BARKS ST                                                                                    FLINT             MI    48503‐4305
JOHN H MOORE                                      354 COUNTY ROAD 2928                    APT 2928                                                 SHELBYVILLE       TX    75973‐4034
JOHN H MOORE III                                  SUITE 208                               2015 RANDOLPH ROAD                                       CHARLOTTE         NC    28207‐1200
JOHN H MOSLEY                                     4808 CLOVERLAWN                                                                                  FLINT             MI    48504‐2092
JOHN H MROSKO                                     2967 LAFAYETTE                                                                                   LINCOLN PARK      MI    48146‐3380
JOHN H MULLIN                                     8249 N CORNWELL AVE                                                                              HARRISON          MI    48625‐8854
JOHN H MUNSON                                     1239 HOOVER LA                                                                                   INDIANAPOLIS      IN    46260‐2829
JOHN H MURPHY                                     3417 N AUDUBON ROAD                                                                              INDIANAPOLIS      IN    46218‐1829
JOHN H MYERS                                      9305 W RIVER ROAD                                                                                YORKTOWN          IN    47396‐9665
JOHN H NEAL                                       PO BOX 2                                                                                         LOCKESBURG        AR    71846‐0002
JOHN H NELSON & MRS ELAINE E NELSON JT TEN        5546 GRAND TRAVERSE LANE                                                                         PORTAGE           MI    49024
JOHN H NEWELL CUST SENATRA J NEWELL UGMA VA       4817 KENTBURY COURT                                                                              WOODRIDGE         VA    22193‐4818

JOHN H NEWTON                                     3906 SOUTH HURDS CORNER ROAD                                                                     MAYVILLE          MI    48744‐9720
JOHN H NICHOLSON & BETTY H NICHOLSON JT TEN       39 COTTAGE ST                                                                                    BRANFORD          CT    06405‐5053

JOHN H NICKLE JR                                  205 JEFFERSON ST                                                                                 DELAWARE CITY     DE    19706
JOHN H NIELSEN                                    3906 CURRY LN                                                                                    JANESVILLE        WI    53546‐3492
JOHN H NIERGARTH                                  1259 HORIZON DR                                                                                  LAPEER            MI    48446‐8665
JOHN H NOBLES                                     ATTN ROTHIE N PARKER                    2515 ELLIHAM AVENUE                                      RICHMOND          VA    23237‐1529
JOHN H NOLEN JR                                   4350 SEDBERRY HILL COURT                                                                         ATLANTA           GA    30339‐5355
JOHN H OBERRY                                     307 PINEFIELD DR                                                                                 GREENVILLE        SC    29605‐3517
JOHN H ODONNELL                                   135 EAGLESFIELD WAY                                                                              FAIRPORT          NY    14450‐4406
JOHN H OSTERBERGER                                3300 BROOKSIDE DR                                                                                ROSWELL           GA    30076‐5540
JOHN H OWENS & JOAN M OWENS JT TEN                3061 W. CORTE OLIVIA                                                                             TUCSON            AZ    85741
JOHN H PACKARD                                    1170 LATHRUP AVE                                                                                 SAGINAW           MI    48638‐4785
JOHN H PARKER                                     3211 CANDACE DR                                                                                  ATLANTA           GA    30316‐4933
JOHN H PELTON & BERTA PELTON JT TEN               106 LORD RD                                                                                      NINEVEH           NY    13813‐1619
JOHN H PENNINGTON JR                              1030 W DAWSON ROAD                                                                               MILFORD           MI    48381‐2722
JOHN H PERKINS & JANE PERKINS JT TEN              7517 MAYAPPLE DRIVE                     APT 5                                                    CORDOVA           TN    38016‐5065
JOHN H PESONEN                                    1926 OXFORD                                                                                      BERKLEY           MI    48072‐1736
JOHN H PETERS                                     1017 WOODLAND                                                                                    INDEPENDENCE      MO    64050‐4239
JOHN H PETERS & BARBARA SUE PETERS JT TEN         749 DYER LAKE RD                                                                                 TRAVERSE CIT      MI    49684‐8007
JOHN H PETERSON & CHARLENE A PETERSON JT TEN      18725 EMERALD CIRCLE UNIT M                                                                      BROOKFIELD        WI    53045‐3692

JOHN H PFEIFFER                                   5470 BROADWAY                                                                                    LANCASTER      NY       14086‐2133
JOHN H PINSON                                     6525 PARKDALE PLAZA                                                                              MARTINEZ       CA       94553‐6024
JOHN H PITOCCHELLI                                916 HUNT RD                                                                                      NEWTOWN SQUARE PA       19073‐4332

JOHN H PITTMAN                                    2562 WILLOW LAKES EAST BLVD                                                                      GREENWOOD         IN    46143‐8393
JOHN H POTH JR                                    155 ELM                                                                                          ELMHURST          IL    60126‐2606
JOHN H POWELL CUST CHARLES ANDREW POWELL          72 FAIRCREST RD                                                                                  MONTOURSVILLE     PA    17754‐8442
UGMA PA
JOHN H PRESTON                                    2811 OLD FRANKLIN TPKE                                                                           ROCKY MOUNT       VA    24151‐5685
JOHN H QUICK                                      1437 9TH ST                                                                                      ALAMEDA           CA    94501‐3402
JOHN H RADFORD                                    6340 S 425 W                                                                                     PENDLETON         IN    46064‐8758
JOHN H RANDALL                                    129 GREENBRIAR LOOP                                                                              FAIRFIELD GLADE   TN    38558‐7711
JOHN H REDDINGTON                                 15282 KAMPEN CIR                                                                                 CARMEL            IN    46033‐0002
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 185 of 855
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JOHN H REDING                                      3915 OGEMA AVE                                                                                  FLINT             MI    48507‐2759
JOHN H REEVES                                      6624 RUE BEAUMONDE                                                                              MEMPHIS           TN    38120‐3300
JOHN H REICHEL                                     31246 FRANK DRIVE                                                                               WARREN            MI    48093‐1609
JOHN H RHODEN                                      BOX 114                                                                                         JACKSON           SC    29831‐0114
JOHN H RICE                                        631 WAYSIDE DRIVE                                                                               LAKE HAVASU CIT   AZ    86403‐3864
JOHN H RIGGS                                       416 EWINGVILLE ROAD                                                                             TRENTON           NJ    08638‐1539
JOHN H RININGER JR                                 22653 INVERNESS WAY                                                                             FOLEY             AL    36535‐9349
JOHN H RININGER JR & NORMA R RININGER JT TEN       22653 INVERNESS WAY                                                                             FOLEY             AL    36535‐9349

JOHN H RITSEMA                                     366 S HIGHLAND ST                      APT 707                                                  MEMPHIS           TN    38111‐4430
JOHN H ROBINS TR ZELDA S ROBINS MARITAL TRUST UA   587 S 50 W                                                                                      KAYSVILLE         UT    84037‐2505
12/11/04
JOHN H ROBINSON                                    146 TRUX ST                                                                                     PLYMOUTH          OH    44865‐1053
JOHN H ROHRS                                       25 AQUA LN                                                                                      PUTNAM VALLEY     NY    10579‐2129
JOHN H ROSE JR                                     3500 EDNOR RD 219                                                                               BALTIMORE         MD    21218‐3034
JOHN H ROSS JR                                     6475 LITTLEWOOD DRIVE                                                                           KERNERSVILLE      NC    27284‐7006
JOHN H ROWLAND & MARGARET K ROWLAND JT TEN         3254 ROYAL BERKSHIRE LN                                                                         OAKLAND           MI    48363‐2354

JOHN H RUSSELL                                     47W PRINCETON                                                                                   PONTIAC           MI    48340‐1837
JOHN H RUSSOMANNO & CAROL S RUSSOMANNO JT          52 FARMINGTON RIDGE DR                                                                          FARMINGTON        CT    06032‐2456
TEN
JOHN H RYAN & MARJORIE H RYAN JT TEN               15 HARDING DRIVE                                                                                SEARCY            AR    72143‐5704
JOHN H SALYER                                      227 REDBUD LANE                                                                                 BLOUNTVILLE       TN    37617‐4035
JOHN H SANDLIN & REBECCA L SANDLIN JT TEN          803 N GRAHAM AVENUE                                                                             INDIANAPOLIS      IN    46219‐4522
JOHN H SCHEICH                                     25095 NORMANDY                                                                                  ROSEVILLE         MI    48066‐5700
JOHN H SCHLEPPHORST & MARY T SCHLEPPHORST JT       24 KELLWOOD DR                                                                                  KIRKSVILLE        MO    63501‐2755
TEN
JOHN H SCHMIDT JR & JOHN H SCHMIDT SR JT TEN       1086 W BERGEN AVE                                                                               FLINT             MI    48507‐3602

JOHN H SCHOENKY                                    4299 NW TAMOSHANTER WAY                                                                         PORTLAND          OR    97229‐8716
JOHN H SCHROEDER                                   60 8TH STREET                                                                                   CLINTONVILLE      WI    54929
JOHN H SCHWEITZER                                  3671 LOS COYOTES DIAGONAL                                                                       LONG BEACH        CA    90808‐2407
JOHN H SCHWERZLER                                  321 WESTWOOD DR                                                                                 WEST DEPTFORD     NJ    08096‐3127
JOHN H SCHWERZLER & MRS CLAIRE A SCHWERZLER JT     321 WESTWOOD DR                                                                                 WEST DEPTFORD     NJ    08096
TEN
JOHN H SELBY                                       19 N TENTH ST                                                                                   MIAMISBURG        OH    45342‐2521
JOHN H SEWELL                                      13691 LINNHURST                                                                                 DETROIT           MI    48205
JOHN H SHAW                                        PO BOX 1312                                                                                     JACKSON           TN    38302‐1312
JOHN H SHEALEY                                     3510 APEX COURT                                                                                 BAKERSFIELD       CA    93312‐6523
JOHN H SHIELDS 2ND                                 604 GREENE STREET                                                                               HUNTSVILLE        AL    35801‐4229
JOHN H SHIVELY III                                 14041 92ND PLACE NE                                                                             BOTHELL           WA    98011‐5144
JOHN H SIBBISON JR CUST JOHN H SIBBISON III UGMA   2658 CLARELLEN STREET                                                                           TORRANCE          CA    90505‐7056
OH
JOHN H SIEMINSKI                                   8310 NW EASTSIDE DR                                                                             WEATHERISY LAKE   MO    64152‐1669

JOHN H SIGRIST                                     99 SHOREHAM DRIVE                                                                               ROCHESTER         NY    14618‐4107
JOHN H SINNIGEN                                    3037 N CALVERT ST B‐5                                                                           BALTIMORE         MD    21218‐3915
JOHN H SIZEMORE                                    2486 KETZLER DR                                                                                 FLINT             MI    48507‐1036
JOHN H SLEET CUST KENNEDY N SLEET UGMA TX          5732 TROWBRIDGE WAY                                                                             SAN JOSE          CA    95138‐2361
JOHN H SLEET CUST KOURTNEY K SLEET UGMA TX         5732 TROWBRIDGE WAY                                                                             SAN JOSE          CA    95138‐2361
JOHN H SMALLWOOD                                   1444 ENOTA AVE NW                                                                               GAINESVILLE       GA    30501‐2271
JOHN H SMITH                                       18 S EDITH                                                                                      PONTIAC           MI    48342‐2937
JOHN H SMITH                                       5832 OBERLIES WAY                                                                               PLAINFIELD        IN    46168‐7300
JOHN H SMITH                                       7409 CLEMENT AV                                                                                 CLEVELAND         OH    44105‐5038
JOHN H SMITH                                       30342 AUTUMN LN                                                                                 WARREN            MI    48093‐3294
JOHN H SMITH                                       1003 JEFFERSON ST SE                                                                            GRAND RAPIDS      MI    49507‐1197
JOHN H STANTON & MRS CYNTHIA A STANTON JT TEN      44 HILANOA DRIVE                                                                                METROPOLIS        IL    62960‐2534

JOHN H STAPLES                                     181 N BALSAMINA WAY                                                                             PORTOLA VALLEY    CA    94028‐7515
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 186 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

JOHN H STARNES                                    5101 WEST PRAIRIEWOOD DR                                                                      MUNCIE          IN    47304‐3487
JOHN H STEPHENS                                   259 S CYPRESS AVENUE                                                                          COLUMBUS        OH    43223‐1407
JOHN H STETSON                                    63 LEDGEWOOD DRIVE                                                                            FALMOUTH        ME    04105‐1811
JOHN H STOCK & ANN STOCK JT TEN                   20836 WATERSCAPE WAY                                                                          NOBLESVILLE     IN    46062
JOHN H STOLL JR                                   27 SHADY OAKS CT                                                                              EAST AMHERST    NY    14051‐2419
JOHN H STRINGER                                   24391 PHLOX AVE                                                                               EASTPOINTE      MI    48021‐1121
JOHN H STURGIS                                    9672 W LAKE CT                                                                                BOCA RATON      FL    33434‐3966
JOHN H SUTTON                                     2224 SUTTON TER                                                                               THE VILLAGES    FL    32162‐2417
JOHN H SWIFT                                      514 W MARENGO                                                                                 FLINT           MI    48505‐3263
JOHN H SZMANIA                                    191 ROGERS AVENUE                                                                             TONAWANDA       NY    14150‐5267
JOHN H TAYBORN & JOYCE C TAYBORN JT TEN           11421 S FOREST                                                                                CHICAGO         IL    60628‐5041
JOHN H TAYLOR                                     136 EGYPT RD                                                                                  MANGHAM         LA    71259‐5034
JOHN H TAYLOR                                     4091 BEE CREEK RD                                                                             CORBIN          KY    40701‐8817
JOHN H TAYLOR                                     3401 MAYAPPLE LN                     APT 12                                                   JACKSON         MI    49201‐8055
JOHN H TAYLOR                                     3165 CHAMBLEE TUCKER ROAD                                                                     CHAMBLEE        GA    30341‐4227
JOHN H TAYLOR                                     4277 ELDORADO SPRINGS RD                                                                      BOULDER         CO    80303‐9610
JOHN H TERRELL & MARY ANNE TERRELL TEN ENT        5432 E NITHSDALE DR                                                                           SALISBURY       MD    21801‐2461
JOHN H TESCH                                      170 BELCODA ROAD                                                                              SCOTTSVILLE     NY    14546‐9720
JOHN H THELEN                                     PO BOX 76                                                                                     WESTPHALIA      MI    48894‐0076
JOHN H THOMAS                                     24830 BROADMORE AVE                                                                           HAYWARD         CA    94544‐1722
JOHN H THOMPSON                                   220 CLEARVIEW LN                                                                              LINCOLN UNIV    PA    19352‐8926
JOHN H TIMBRELL JR                                560 WILDCAT HILL RD                                                                           HARWINTON       CT    06791‐2613
JOHN H TIMMONS CUST DREW G TIMMONS UTMA ID        12635 BRAZOS BEND TRL                                                                         HUMBLE          TX    77346‐3085

JOHN H TOWNSEND JR & RUBY L TOWNSEND JT TEN       2321 NE 68TH ST                                                                               GLADSTONE       MO    64118‐3688

JOHN H TREDER                                   2804 WESTVIEW AVE                                                                               DODGE CITY      KS    67801‐2022
JOHN H TROLINGER & CONSTANCE A TROLINGER JT TEN HCR 1 BOX 1655                                                                                  SILVA           MO    63964‐9761

JOHN H TURKOWSKI                                  378 FAIRWAY                                                                                   MILTON          WI    53563‐1367
JOHN H TURNER                                     17508 NAUSET                                                                                  CARSON          CA    90746‐1640
JOHN H TURNER & MARIA TURNER JT TEN               4201 34TH ST                                                                                  MOUNT RAINIER   MD    20712‐1737
JOHN H UNDERHILL & DIANA UNDERHILL JT TEN         1809 FRIEZE                                                                                   ANN ARBOR       MI    48104‐4762
JOHN H VAN DER MEID & NANCY VAN DER MEID JT TEN   13 SHELLY ROAD PO BOX 39                                                                      LIVONIA         NY    14487

JOHN H VANBODEN                                37 FACTORY STREET                                                                                CLEVELAND       NY    13042‐3146
JOHN H VANCE                                   65 EAST COLGATE                                                                                  PONTIAC         MI    48340‐1222
JOHN H VANCIL                                  3095 SEARS RD                                                                                    SPRING VALLEY   OH    45370‐9728
JOHN H VAUGHAN                                 3348 YELLOWSTONE DR                                                                              ANN ARBOR       MI    48105‐1523
JOHN H VENHORST                                6155 FORREST GROVE DR                                                                            BETTENDORF      IA    52722‐5983
JOHN H VENTURA JR                              8107 NOLAND RD                                                                                   LENEXA          KS    66215‐2532
JOHN H VILLAREAL                               PO BOX 14432                                                                                     SAGINAW         MI    48601‐0432
JOHN H VINCENT & JUDITH J VINCENT JT TEN       5197 SURFWOOD DR                                                                                 COMMERCE TWP    MI    48382‐1372
JOHN H VON THUN & KATHLEEN A QUIGLEY & DOLORES 7621 N W 23RD ST                                                                                 MARGATE         FL    33063‐7950
C BASAK JT TEN
JOHN H WALKER JR                               13802 TAYLOR CREST RD                                                                            HOUSTON         TX    77079‐5815
JOHN H WARD                                    4444 STATE HIGHWAY 43                                                                            SPENCER         IN    47460‐5930
JOHN H WELLS                                   PO BOX 18106                            MONTEVIDEO                             URUGUAY
JOHN H WERNER                                  5563 LYTLE RD                                                                                    WAYNESVILLE     OH    45068‐9485
JOHN H WESCHE                                  1578 ORCHARD RD                                                                                  NEW HAVEN       MO    63068
JOHN H WESTENKIRCHNER                          3248 SOUTHERN BLVD                                                                               DAYTON          OH    45409‐1238
JOHN H WHALEY                                  204 SE 31ST TER                                                                                  CAPE CORAL      FL    33904‐3442
JOHN H WHITE JR                                PO BOX 2042                                                                                      EAST ORANGE     NJ    07019‐2042
JOHN H WIDAU                                   10380 WATKINS DR                                                                                 INDIANAPOLIS    IN    46234‐8529
JOHN H WIGTON                                  1822 GILPIN AVE                                                                                  WILMINGTON      DE    19806
JOHN H WILLIAMS                                9542 PATTON ST                                                                                   DETROIT         MI    48228‐1515
JOHN H WILLIAMS                                8999 MISTY CREEK DR                                                                              SARASOTA        FL    34241‐9569
JOHN H WILLSON                                 337 WITMER ROAD                                                                                  NORTH           NY    14120‐1642
                                                                                                                                                TONAWANDA
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 187 of 855
Name                                              Address1                              Address2             Address3          Address4                 City             State Zip

JOHN H WISNIEWSKI                                 531 N SCRANTON ST #N                                                                                  RAVENNA          OH    44266‐1429
JOHN H WISNIEWSKI & GENEVIEVE WISNIEWSKI JT TEN   531 N SCRANTON ST                                                                                     RAVENNA          OH    44266‐1429

JOHN H WITT                                       PO BOX 512                                                                                            AULANDER         NC    27805‐0512
JOHN H WITTE TR JOHN H WITTE TRUST UA 12/18/97    7905 LOTUS                                                                                            MORTON GROVE     IL    60053‐3628

JOHN H WOLBERT                                    233 KIRKWAY LN                                                                                        LAKE ORION       MI    48362‐2278
JOHN H WOLF JR                                    1410 HUNTINGDON RD                                                                                    ABINGTON         PA    19001‐2104
JOHN H WOOD                                       506 RIDGEWOOD RD                                                                                      FRANKLIN         TN    37064‐5236
JOHN H WOOD                                       3364 WASHINGTON                                                                                       SNOVER           MI    48472‐9728
JOHN H WOOD JR                                    PO BOX 709                                                                                            OWINGS MILLS     MD    21117‐0709
JOHN H WOOLDRAGE & MRS BARBARA L WOOLDRAGE        3726 W BIRCHWOOD AVE                                                                                  MILWAUKEE        WI    53221‐3930
JT TEN
JOHN H WRIGHT                                     2981 TOWN CENTER RD                   # 9A                                                            BALDWINSVILLE    NY    13027‐8120
JOHN H WRIGHT                                     PO BOX 7152                                                                                           DES MOINES       IA    50309‐7152
JOHN H WRIGHT                                     5657 N TULLIS                                                                                         KANSAS CITY      MO    64119‐4139
JOHN H YARDLEY                                    505 EDGEVALE RD                                                                                       BALT             MD    21210‐1901
JOHN H YATES                                      11760 COUNTY RD O                                                                                     NAPOLEON         OH    43545‐6227
JOHN H YEUTTER                                    17360 HIGHLAND CENTER ROAD                                                                            DEFIANCE         OH    43512‐8924
JOHN H YOUNG                                      520 JUANA AVE #2                                                                                      SAN LEANDRO      CA    94577‐5047
JOHN H ZANDER                                     9300 RATTALEE LK RD                                                                                   CLARKSTON        MI    48348‐1640
JOHN H ZANDER & IRENE W ZANDER JT TEN             9300 RATTALEE LK RD                                                                                   CLARKSTON        MI    48348‐1640
JOHN H ZARFOSS                                    685 N HOLLY STREET                                                                                    ELIZABETHTOWN    PA    17022‐1316
JOHN HABOIAN                                      12513 RIVER MILL DR                                                                                   BAYONET POINT    FL    34667‐2537
JOHN HADEN SR                                     927 E 217TH ST                                                                                        BRONX            NY    10469‐1002
JOHN HADIDON & CATHERINE A HADIDON TR HADIDON     709 W DEWEY RD                                                                                        OWOSSO           MI    48867‐8962
FAM TRUST UA 10/03/96
JOHN HAESSLER CUST MICHELE HAESSLER UGMA NE       6400 ROGERS CIRCLE                                                                                    LINCOLN          NE    68506‐1561

JOHN HAGER                                     P O BOX 146                                                                                              TURTLE CREEK     WV    25203
JOHN HAGGARD                                   1410 S CLINTON                                                                                           BERWYN           IL    60402‐1232
JOHN HALLO                                     6859 BRANDYWINE RD                                                                                       PARMA HTS        OH    44130‐4607
JOHN HALSTED LOUGHRIDGE                        3108 QUARRY LN                                                                                           LAFAYETTE HILL   PA    19444‐2006
JOHN HAMILL                                    PO BOX 15285                                                                                             SARASOTA         FL    34277‐1285
JOHN HAMPSHIRE JR                              1038                                     19766 RD                                                        OAKWOOD          OH    45873‐9074
JOHN HAMPTON STENNIS                           PO BOX 427                                                                                               JACKSON          MS    39205‐0427
JOHN HAMPTON TRIBBLE                           3001 PAMELA WAY                          APT 5                                                           LOUISVILLE       KY    40220‐2280
JOHN HANCOCK                                   14 PENISTONE STREET                      IBSTOCK LEICESTER                      LE67 6NU GREAT BRITAIN
JOHN HANCOCK SIGNATURE SERVICE TR RUTHANN      5925 JESSUP DR                                                                                           ZEPHRYHILLS      FL    33540‐7594
BRYSON
JOHN HANCOCK TR YVONNE S LINDSAY               3582 STATE RR #5 NE                                                                                      CORTLAND         OH    44410‐1631
JOHN HANEY                                     830 WOODLYN DR S                                                                                         CINCINNATI       OH    45230‐4432
JOHN HANGEN                                    4 SUMMERFIELD DR                                                                                         ARCANUM          OH    45304‐1498
JOHN HANIKA & BECKY HANIKA JT TEN              4417 99TH ST                                                                                             DES MOINES       IA    50322‐8401
JOHN HANNAN                                    12102 COVERT RD                                                                                          PHILADELPHIA     PA    19154‐2715
JOHN HANNUM RILEY CUST JOHN HARTLEY RILEY UGMA 4514 ALEXANDER PINES DR                                                                                  CLARKSTON        MI    48346‐4135
MI
JOHN HANNUM RILEY CUST TREVOR S RILEY UGMA MI 1491 GUSTAVO ST UNIT A                                                                                    EL CAJON         CA    92019‐3248

JOHN HANSEN                                       2270 ST FRANCIS                                                                                       PALO ALTO        CA    94303
JOHN HANSON                                       18844 BRETTON                                                                                         DETROIT          MI    48223‐1367
JOHN HARDY BOLLING                                8469 MONTLIEU ST                                                                                      DETRIOT          MI    48234‐4060
JOHN HARDY CAWLEY                                 7637 EAST SABINO VISTA DRIVE                                                                          TUCSON           AZ    85750‐2714
JOHN HAROLD WHITCOMB                              586 RIVIERA DR                                                                                        TAMPA            FL    33606‐3808
JOHN HARRIS JONES                                 6500 TRINITY DR                                                                                       PINE BLUFF       AR    71603‐7838
JOHN HARRIS JR                                    446 HARVEY AV                                                                                         PONTIAC          MI    48341‐2822
JOHN HARRISON                                     10820 WEST HAMPTON AVE                                                                                MILWAUKEE        WI    53225‐3837
JOHN HARRISON HULL                                3554 EDGEVALE                                                                                         TOLEDO           OH    43606‐2637
JOHN HARRISON IV                                  402 PENN OAK ROAD                                                                                     FLOURTOWN        PA    19031‐2228
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 188 of 855
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

JOHN HARRISON WILLIS III                       305 COLLEGE PARK DR                                                                           LYNCHBURG        VA     24502‐2407
JOHN HARRY CROWE III                           5755 KUGLER MILL ROAD                                                                         CINCINNATI       OH     45236‐2039
JOHN HARSHMAN                                  4119 LOMAR TR                                                                                 MT AIRY          MD     21771‐3949
JOHN HARTLEY CUST NICOLE HARTLEY UTMA MA       7 INMAN LN                                                                                    FOXBOROUGH       MA     02035‐5209
JOHN HARTLEY RILEY                             4514 ALEXANDER PINES DRIVE                                                                    CLARKSTON        MI     48346‐4135
JOHN HARTMAN & RUTH HARTMAN JT TEN             322 FRONT ST                                                                                  OWEGO            NY     13827‐1604
JOHN HARVIE                                    11264 COPLEY CT                                                                               SPRING HILL      FL     34609‐9603
JOHN HASLET HENDERSON FERRILL                  4213 SEVILLA STREET                                                                           TAMPA            FL     33629‐8401
JOHN HASTEN BLANKENSHIP                        3100 DEVONSHIRE                                                                               BOWLING GREEN    KY     42104‐4593
JOHN HASTON                                    19967 HAIDA RD                                                                                APPLE VALLEY     CA     92307‐5566
JOHN HAUMANN                                   4117 LAKE CONWAY WOODS BLVD                                                                   ORLANDO          FL     32812‐7917
JOHN HAUTER & JANET HAUTER JT TEN              4 LOCH LN                                                                                     S BARRINGTON     IL     60010‐9532
JOHN HAYDEN DONOIAN                            26005 JOY ROAD                                                                                DEARBORN HEIGHTS MI     48127‐1100

JOHN HAYNES WEIS                               4498 S GILEAD WAY                                                                             SALT LAKE CITY    UT    84124‐4016
JOHN HEFFERNAN                                 6001 NEWPORT LANE                                                                             FREDERICK         MD    21701
JOHN HEFFNER                                   11264 ROAD 83                                                                                 PAULDING          OH    45879‐8704
JOHN HEIDEL & VERA M HEIDEL JT TEN             600 CAMPBELL BLVD                                                                             GETZVILLE         NY    14068‐1004
JOHN HEISLER                                   160 RED HORSE RD                     APT 302                                                  POTTSVILLE        PA    17901‐4218
JOHN HENDERSON                                 1524 BLAKE ST                                                                                 BERKELEY          CA    94703‐1806
JOHN HENKEN & MRS JUNIA HENKEN JT TEN          C/O HEIDI HENKEN                     PO BOX 712                                               BELLINGHAM        WA    98227‐0712
JOHN HENRY                                     85 8TH AVE                                                                                    HUNTINGTON        NY    11746‐2212
                                                                                                                                             STATION
JOHN HENRY & ELIZABETH HENRY JT TEN           15 CANTERBURY ROAD                                                                             WINCHESTER        MA    01890‐3812
JOHN HENRY BAREY & DORIS MARIE BAREY TR BAREY 4114 NEWLAND DRIVE E                                                                           WEST BLOOMFIELD   MI    48323‐3054
FAMILY TRUST UA 7/17/97
JOHN HENRY HARRIS                             750 E LYNDON                                                                                   FLINT             MI    48505‐2954
JOHN HENRY HARRIS                             1933 W DUNBARTON CT                   APT A                                                    INDIANAPOLIS      IN    46260‐5837
JOHN HENRY HILL                               258 PINE STREET                                                                                BUFFALO           NY    14204‐1462
JOHN HENRY MAXWELL & EMMA JEAN MAXWELL JT TEN 6901 PARKBELT DR                                                                               FLINT             MI    48505‐1912

JOHN HENRY MORGAN                              2325 REVERDY FARM ROAD                                                                        INDIAN HEAD       MD    20640‐3618
JOHN HENRY PILARSKI                            141 N WATER ST #34                                                                            MILWAUKEE         WI    53202‐6093
JOHN HENRY REISERT                             7121 COVERED BRIDGE RD                                                                        PROSPECT          KY    40059‐9642
JOHN HENRY SCHAALE                             313 N ADDISON ST                                                                              ALPENA            MI    49707‐3221
JOHN HENRY SHORT                               RT 5 BOX 9638                                                                                 MONTICELLO        KY    42633‐2917
JOHN HENRY TEDDER                              349 SW OAK GLENN                                                                              FORT WHITE        FL    32038‐2187
JOHN HERBERT LONG                              10601 ROEPKE RD                                                                               CHELSEA           MI    48118‐9432
JOHN HERBERT WILDER                            4965 CORLISS DR                                                                               LYNDHURST         OH    44124‐1130
JOHN HERSHEY                                   30 MONTGOMERY ST                                                                              HAMILTON          NY    13346‐1007
JOHN HIGGINS CUST JOHN DAVID HIGGINS UGMA NY   25 WATERS AVE                                                                                 STATEN ISLAND     NY    10314‐3109

JOHN HILDEBRAND CUST ARLEEN HILDEBRAND UGMA    3606 AVE R                                                                                    BROOKLYN          NY    11234‐4418
NY
JOHN HILDIN                                    4 PENN COURT                                                                                  TINTON FALLS      NJ    07724‐9767
JOHN HILDREN MORRIS                            PO BOX 284                                                                                    FLINT             MI    48501‐0284
JOHN HILL                                      714 S KASPAR AVE                                                                              ARLINGTON         IL    60005‐2322
                                                                                                                                             HEIGHTS
JOHN HILL III                                  540 POOL RD                                                                                   BIDDEFORD         ME    04005‐9503
JOHN HILTZHEIMER                               332 RIVER OAK DR                                                                              DANVILLE          VA    24541
JOHN HIMMELMAN                                 REGENCY ESTATES                      5 KING CT                                                MANALAPAN         NJ    07726‐8645
JOHN HIRATSUKA                                 9871 N SPANISH HEAD TRAIL                                                                     TUCSON            AZ    85742‐5307
JOHN HIRST                                     8265 VAN DRIVE                                                                                POLAND            OH    44514‐2946
JOHN HITCHCOCK                                 3278 CRESTVIEW AVE                                                                            LEBANON           OH    45036‐2437
JOHN HLYWA                                     1101 WILD GINGER LN                                                                           ORANGE PARK       FL    32003
JOHN HOEFMAN                                   PO BOX 268                           CAMPBELLFORD ON                        K0L 1L0 CANADA
JOHN HOFFNER                                   323 STATE ST                                                                                  EDWARDSVILLE      IL    62025‐1243
JOHN HOLTON                                    8405 COURT AVE                                                                                HAMLIN            WV    25523‐1317
JOHN HOLTYN JR                                 34 MCKENZIE CT                                                                                CHEEKTOWAGA       NY    14227‐3237
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 189 of 855
Name                                                Address1                               Address2              Address3         Address4          City              State Zip

JOHN HOOD JR                                        3182 CATES AVE NE                                                                               ATLANTA           GA    30319‐2306
JOHN HOOVER THACHER JR                              154 BEAUMONT RD                                                                                 DEVON             PA    19333‐1849
JOHN HOPPE                                          8309 JAKE LN                                                                                    CANOGA PARK       CA    91304‐3869
JOHN HORISZNY TR REVOCABLE TRUST 03/05/85 U‐A       1058 ARDEN LANE                                                                                 BIRMINGHAM        MI    48009‐2961
JOHN HORISZNY
JOHN HORVATH                                        117 LOOP DR                                                                                     SAYVILLE          NY    11782‐1516
JOHN HORVATH & ANNA HORVATH JT TEN                  196‐39 45TH ROAD                                                                                FLUSHING          NY    11358‐3511
JOHN HOUSTON                                        3900 DIAMOND RIDGE ST                                                                           LAS VEGAS         NV    89129‐7058
JOHN HOWARD                                         430 SW SADWICK AVE                                                                              PORT ST LUCIE     FL    34953‐3864
JOHN HOWARD & MAUREEN HOWARD JT TEN                 135 HASSLER SPUR                                                                                BYRDSTOWN         TN    38549
JOHN HOWARD BARNES KNOWLTON                         BOX 5591 CONN COLL                                                                              NEW LONDON        CT    06320
JOHN HOWARD WILEMAN                                 5206 BALTIMORE AVE                                                                              BETHESDA          MD    20816‐3001
JOHN HOWE                                           24170 W 121ST ST                                                                                OLATHE            KS    66061‐6222
JOHN HOYT                                           823 SE 12TH AVE                                                                                 DEERFIELD BEACH   FL    33441‐5866
JOHN HRETZ & ELAINE B HRETZ JT TEN                  18157 REDWOOD                                                                                   LATRUP VILLAGE    MI    48076‐2624
JOHN HRINEVICH JR                                   5152 SUNLYN                                                                                     GRAND BLANC       MI    48439‐9505
JOHN HRINEVICH JR & MARY ALICE HRINEVICH JT TEN     5152 SUNLYN STREET                                                                              GRAND BLANC       MI    48439‐9505

JOHN HUBBARD                                   721 CLINTON ST                                                                                       FLINT             MI    48507‐2540
JOHN HUBERT REAM & ELIZABETH MARSH REAM JT TEN RR 002 BOX 392                                                                                       HOLLIDAYSBURG     PA    16648‐9200

JOHN HUDDY                                          C/O V M HUDDY                          171 JACKSON RD                                           PITTSBURGH        PA    15239‐1411
JOHN HUDON                                          1430 ST JOE RIVER DR                                                                            FORT WAYNE        IN    46805‐1422
JOHN HUFFMAN                                        10441 W PROVIDENCE RD                                                                           RICHMOND          VA    23236‐1863
JOHN HUGH GERHARD                                   816 JUDIE LANE                                                                                  AMBLER            PA    19002‐2619
JOHN HUGH LENKIN                                    6300 LENOX ROAD                                                                                 BETHESDA          MD    20817‐6024
JOHN HUGHES                                         1635 N COURTLAND DR                                                                             ARLINGTON         IL    60004‐4373
                                                                                                                                                    HEIGHTS
JOHN HUNT                                           PO BOX 682                                                                                      WAYNE             MI    48184‐0682
JOHN HUTCHINSON                                     1141 NORTH HUBER ST                                                                             INIANAPOLIS       IN    46219‐3809
JOHN HUYLER MOYER                                   224 BEECH DR S                                                                                  RIVER EDGE        NJ    07661‐1131
JOHN HYLIN & VALIA HYLIN TR FAMILY TRUST 06/22/89   PO BOX 6323                                                                                     INCLINE VILLAGE   NV    89450‐6323
U‐A JOHN HYLIN &
JOHN HYSLOP                                         2236 HILLVIEW DR                       BETHANY ON                             L0A 1A0 CANADA
JOHN I BAILEY JR                                    50 N MONTEREY ST                                                                                MOBILE          AL      36604
JOHN I BROWN                                        604 CHERRY LANE NE                                                                              LEESBURG        VA      20176‐4534
JOHN I EBERT                                        9487 SEVEN COURTS DR                                                                            BALTIMORE       MD      21236‐4713
JOHN I GILLIS                                       16106 LANCASTER WAY                                                                             HOLLY           MI      48442‐9635
JOHN I HAWK                                         1960 8TH STREET                                                                                 NORTH BRUNSWICK NJ      08902‐4533

JOHN I JOHNSON                                      12 HILLTOP PLACE                                                                                EDGEMONT          IL    62203‐2126
JOHN I KENNEDY & DORIS F KENNEDY JT TEN             1749 SUNRISE DR                                                                                 GREENBUSH         MI    48738‐9660
JOHN I KIRBY JR                                     1066 WILLOW LN                                                                                  MASON             OH    45040‐1498
JOHN I LUTZ                                         57121 NIGHTINGALE WAY                                                                           FORT MILL         SC    29707‐5922
JOHN I LUTZ & JUANITA Y LUTZ JT TEN                 43 STRATFORD VILLAGE WAY                                                                        BLUFFTON          SC    29909‐5059
JOHN I MARSHALL III                                 916 W CULLOM                                                                                    CHICAGO           IL    60613‐1619
JOHN I MC CLAIN                                     506 BUTLER DR                                                                                   KENNETT           MO    63857
JOHN I MILLER                                       1260 E DODGE RD                                                                                 MT MORRIS         MI    48458‐9127
JOHN I MYLONAS                                      26 BADSTRASSE                          GUESSING BURGENLAND                    7540 AUSTRIA
JOHN I MYLONAS                                      26 BADSTRASSE                          GUESSING BURGENLAND                    7540 AUSTRIA
JOHN I NEWTON                                       2683 S CARLSEN ROAD                                                                             SIDNEY            MI    48885‐9750
JOHN I NORRIS JR                                    4804 CARY ST RD                                                                                 RICHMOND          VA    23226‐1618
JOHN I PATTEE III                                   1221 N WILLIAMS                                                                                 BAY CITY          MI    48706‐3666
JOHN I RAY & NANCY A RAY JT TEN                     7631 BLACKMAR CIR                                                                               PORTAGE           MI    49024‐4089
JOHN I SNODGRASS                                    500 PALM VALLEY DRIVE E                                                                         HARLINGEN         TX    78552‐8941
JOHN I STIPLOSEK                                    26301 JOY ROAD                                                                                  DEARBORN HGTS     MI    48127‐1176
JOHN I TAYLOR                                       341 WALKER RD                                                                                   MURPHY            NC    28906‐6307
JOHN I TISSOT                                       455 W 43RD ST #2A                                                                               NEW YORK          NY    10036‐5317
JOHN I TUTCHINGS                                    3889 WORTHMOR DR                                                                                SEAFORD           NY    11783
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 190 of 855
Name                                              Address1                              Address2               Address3        Address4          City             State Zip

JOHN I WATERS                                     511 AURORA AVE # 604                                                                           NAPERVILLE       IL    60540‐6292
JOHN I WATKINS                                    237 LEMYRA SE                                                                                  GRAND RAPIDS     MI    49548‐1245
JOHN I WILLIAMS & VERNETTA T WILLIAMS JT TEN      1055 ALYSSA CIARA COURT                                                                        LAS VEGAS        NV    89123‐0455
JOHN I WILLOUGHBY                                 3750 WOOD DUCK DR                                                                              MIMS             FL    32754‐5260
JOHN I ZINK                                       3553 E ROBSON                                                                                  INDIANAPOLIS     IN    46201‐3442
JOHN IACOBUCCI                                    7014 NILE CT                                                                                   ARVADA           CO    80007‐7048
JOHN IACONO & AGNES D IACONO JT TEN               1524 HUDDELL ST                                                                                LINWOOD          PA    19061‐4121
JOHN IDONAS                                       3643 E BULLDOG LN                                                                              INVERNESS        FL    34453‐0734
JOHN INGLE III & ALICE W INGLE JT TEN             1024 CHEROKEE DR                                                                               TALLAHASSEE      FL    32301‐5612
JOHN ISAILA                                       1866 WOODLAWN                                                                                  YOUNGSTOWN       OH    44514‐1376
JOHN ISENBARGER                                   7941 N KITCHEN RD                                                                              MOORESVILLE      IN    46158‐7023
JOHN ISGETT                                       PO BOX 279                                                                                     LAKE CITY        SC    29560‐0279
JOHN IVANY MARSHALL                               9206 ESSEX BAY COURT                                                                           BATON ROUGE      LA    70809
JOHN J & LILA E KRISTOLA TRUST UA 06/30/2003      11751 HIBNER                                                                                   HARTLAND         MI    48353
JOHN J ALEXANDER JR                               3030 ASH GROVE RD                     LOT 15                                                   NICHOLASVILLE    KY    40356‐9220
JOHN J ALIOTO CUST MARILYN ALIOTO UGMA IL         1007 FRANKLIN ST                                                                               RIVER FOREST     IL    60305‐1339
JOHN J AMPULSKI & CHARLOTTE M AMPULSKI JT TEN     2497 WALKER WOODS CT NW                                                                        GRAND RAPIDS     MI    49544‐1489

JOHN J ANDERSON                                   RR3                                   10415 WEST CUTLER RD                                     LAINGSBURG       MI    48848‐9250
JOHN J ANDREWS                                    819 91ST ST                                                                                    NIAGARA FALLS    NY    14304‐3531
JOHN J ANNASENZ & ELVIRA R ANNASENZ JT TEN        759 WHITEHORSE RD                                                                              TRENTON          NJ    08610‐1406
JOHN J ANTON                                      2021 DAUGHARITY RD                                                                             CHAPEL HILL      TN    37034‐2016
JOHN J ARABUCKI                                   9560 ANDERSONVILLE RD                                                                          CLARKSTON        MI    48346‐1700
JOHN J ARIAL                                      5473 NW VENETIAN DRIVE                                                                         KANSAS CITYE     MO    64151‐3439
JOHN J BADI CUST MANDY A BADI UTMA NY             2 SEYMOUR DR                                                                                   NEW CITY         NY    10956‐5820
JOHN J BAILEY JR                                  233 MEADOWBROOK AVENUE                                                                         WILMINGTON       DE    19804‐2829
JOHN J BALACO CUST KELLY M BALACO UTMA IL         1320 EILLEN ST                                                                                 COLLINSVILLE     IL    62234
JOHN J BANNON                                     35E PRICE STREET                                                                               LINDEN           NJ    07036‐3015
JOHN J BARAN TR JOHN J BARAN FAM TRUST UA         2420 FRANKLIN ST SE                                                                            OLYMPIA          WA    98501‐2955
03/09/98
JOHN J BARANWAY                                   7097 SAINT VRAIN ROAD                                                                          LONGMONT         CO    80503‐9067
JOHN J BARBOUR                                    29250 W 10 MILE RD APT 91                                                                      FARMINGTON       MI    48336
JOHN J BAROUYRIAN                                 4505 YUMA ST N W                                                                               WASHINGTON       DC    20016‐2043
JOHN J BARRY                                      1471 LONG POND RD                     APT 320                                                  ROCHESTER        NY    14626‐4132
JOHN J BARTLETT                                   2206 COURT ST                                                                                  SYRACUSE         NY    13208‐1954
JOHN J BARTON                                     121 6TH AVE                                                                                    BROOKLYN         NY    11217‐3522
JOHN J BATTAGLIA                                  2650 RHAPSODY DR                                                                               DAYTON           OH    45449‐3359
JOHN J BATTISTA                                   97 WHISPERING PINES CIR                                                                        ROCHESTER        NY    14612‐2767
JOHN J BECK                                       16350 IDA WEST RD                                                                              PETERSBURG       MI    49270‐9542
JOHN J BEDDICK                                    851 S 800 W                                                                                    SALT LAKE CTY    UT    84104‐1447
JOHN J BEHRNS                                     10221 ROAD I9 ROUTE 2                                                                          OTTAWA           OH    45875‐8615
JOHN J BEJSTER                                    2940 WEST POINT                                                                                DEARBORN         MI    48124‐3219
JOHN J BELITZA                                    133 SOUTH DUPONT ROAD                                                                          CARNEYS POINT    NJ    08069‐2501
JOHN J BELLETETE & SHERRIE L BELLETETE JT TEN     3211 VINEY LANE                                                                                BLOOMINGTON      IL    61704‐2708
JOHN J BELLOLI JR                                 8663 NORBORNE                                                                                  DEARBORN HEIGHTS MI    48127‐1190

JOHN J BENNETT                                    5 FLETCHER COURT                                                                               PALM COAST       FL    32137‐8308
JOHN J BERGIN                                     408 KENLI LN                                                                                   BRIELLE          NJ    08730‐1616
JOHN J BERNDTSON                                  1200 N OXFORD RD                                                                               GROSSE POINTE    MI    48236‐1854
                                                                                                                                                 WOOD
JOHN J BERNE                                      PO BOX 141                                                                                     CROSBY           PA    16724
JOHN J BIALAS                                     30208 AUSTIN DRIVE                                                                             WARREN           MI    48092‐1898
JOHN J BIALAS & GERALDINE G BIALAS JT TEN         30208 AUSTIN DRIVE                                                                             WARREN           MI    48092‐1898
JOHN J BIANCHI                                    14563 EUREKA RD                                                                                COLUMBIANA       OH    44408‐9784
JOHN J BIANGE                                     4212 MARKET ROAD                                                                               MECHANICSVILLE   VA    23111‐6829
JOHN J BISCOVICH JR                               1760 E CODY ESLEY RD                                                                           PINCONNING       MI    48650
JOHN J BLAIES                                     1421 WOODLAND DR                                                                               LEWISTON         MI    49756‐8113
JOHN J BOES                                       10615 SLOUGH RD                                                                                DEFIANCE         OH    43512‐9760
JOHN J BOLAND                                     445 PARK BLVD                                                                                  GLEN ELLYN       IL    60137‐6863
                                                09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 191 of 855
Name                                              Address1                            Address2             Address3          Address4          City              State Zip

JOHN J BOMMARITO & JUDITH A BOMMARITO JT TEN      56649 ST JAMES DR                                                                            SHELBY TOWNSHIP   MI    48316‐4845

JOHN J BOND ELIZABETH B BOND DAVID L BOND &       443 GRAND BLVD                                                                               BOONE             NC    28607‐3621
VICTORIA C BOND TEN COM
JOHN J BONNELL SR & MARY ANN BONNELL JT TEN       3109 GEHRING DRIVE                                                                           FLINT             MI    48506‐2233

JOHN J BONNER                                     1606 BRENTWOOD DRIVE                                                                         FALSTON           MD    21047‐1607
JOHN J BOPP                                       7548 LINDSAY AVE                                                                             INDIANAPOLIS      IN    46214‐2660
JOHN J BOURASSA III                               2938 ARIZONA                                                                                 FLINT             MI    48506‐2440
JOHN J BOUWKAMP                                   222 TIMBER KNOLL DRIVE                                                                       BEAR              DE    19701‐1438
JOHN J BOYER                                      1044 OWOSSO DRIVE                                                                            EAST TAWAS        MI    48730‐9765
JOHN J BREHM                                      2770 HAMPTON CIRCLE EAST                                                                     DELRAY BEACH      FL    33445‐7123
JOHN J BRENNAN                                    74 SECONA PL 1‐A                                                                             BROOKLYN          NY    11231
JOHN J BRENNAN & HELEN M BRENNAN JT TEN           1340 MORRIS RD                                                                               WYNNEWOOD         PA    19096‐2342
JOHN J BRENNEMAN                                  PO BOX 245                                                                                   ACCIDENT          MD    21520‐0245
JOHN J BRESLIN & MRS ELIZABETH BRESLIN JT TEN     61 AVALON CIR                                                                                SMITHTOWN         NY    11787‐3865
JOHN J BRONIK                                     3091 ARNS COURT                                                                              OAKLAND           MI    48363‐2701
JOHN J BRONSON                                    252 HOWARD ST                                                                                BANGOR            ME    04401‐4134
JOHN J BRUEMMER                                   5762 OXFORD DR                                                                               GREENDALE         WI    53129‐2561
JOHN J BRUNO                                      18 WOODHOLLOW RD                                                                             GREAT RIVER       NY    11739‐1216
JOHN J BRUNO & MARGARET J BRUNO JT TEN            18 WOODHOLLOW RD                                                                             GREAT RIVER       NY    11739‐1216
JOHN J BRUNY                                      9629 ARCOLA AVE                                                                              LIVONIA           MI    48150‐3258
JOHN J BRUSCHI & ANTOINETTE BRUSCHI JT TEN        410 REEEVES RD                                                                               NEW HAMPTON       NY    10958
JOHN J BRYLA                                      27221 W HENRY LANE                                                                           BARRINGTON        IL    60010‐5944
JOHN J BRZEZINSKI                                 18888 BAYBERRY WA                                                                            NORTHVILLE        MI    48168‐6815
JOHN J BUBON & MRS CONSTANCE F BUBON JT TEN       4656 BRADDOCK GREEN COURT                                                                    FAIRFAX           VA    22032‐1743

JOHN J BUE & ELIZABETH B BUE JT TEN               1201 WOODLAWN AVE                                                                            WILM               DE   19805‐2633
JOHN J BURBANK                                    PSC 77                                                                                       APO                AE   09721‐9998
JOHN J BURKE & DAVID JOHN BURKE JT TEN            24812 IRONWOOD CT                                                                            PLAINFIELD         IL   60585‐5695
JOHN J BURKE III                                  7978 CAMINO TRANQUILO                                                                        SAN DIEGO          CA   92122‐1732
JOHN J BURSIK                                     145 SPICER CREEK RUN                                                                         GRAND ISLAND       NY   14072‐2188
JOHN J BUSHAW                                     27915 MANHATTAN ST                                                                           SAINT CLAIR SHORES MI   48081‐3516

JOHN J BUTH                                       8893 FISK ROAD                                                                               AKRON             NY    14001‐9024
JOHN J BYRON                                      3361 WILLIAMS                                                                                DEARBORN          MI    48124‐3747
JOHN J CAHILL                                     289 PARKEDGE AVE                                                                             TONAWANDA         NY    14150‐7820
JOHN J CAHILL PUBLIC ADM EST FALANCO BUCKHART     515 SHADOW LANE                                                                              LAS VEGAS         NV    89106

JOHN J CALIGIURI & ANGELA M CALIGIURI JT TEN      60 GREENBRANCH RD                                                                            WEST SENECA       NY    14224‐4117
JOHN J CAMERON CUST CASEY A CAMERON UTMA CA       26818 ESTVALE RD                                                                             PALOS VERDES      CA    90274

JOHN J CAMPIGOTTO                                 1149 GENEVA RD                                                                               XENIA             OH    45434‐6315
JOHN J CANNIFF                                    40 POWDER HOUSE BLVD                                                                         SOMERVILLE        MA    02144‐1306
JOHN J CAPRIA                                     19 GOVAN DR                                                                                  STONY POINT       NY    10980‐2432
JOHN J CAPTOR JR                                  58458 CAPTOR DR                                                                              RAYLAND           OH    43943‐7891
JOHN J CARAGLIANO                                 106 JUNIPER LANE                                                                             BERLIN            CT    06037‐2413
JOHN J CARROLL                                    43 TARPON DRIVE                                                                              SEA GIRT          NJ    08750‐2213
JOHN J CARROLL                                    1309 WASHINGTON AVE #1004                                                                    ST LOUIS          MO    63103‐1918
JOHN J CASEY                                      3782 COVERT RD                                                                               WATERFORD         MI    48328‐1325
JOHN J CASSIDY & CAROL L CASSIDY JT TEN           427 COLONIAL PARK DRIVE                                                                      SPRINGFIELD       PA    19064‐3404
JOHN J CASTEN                                     2244 MADISON ST #3                                                                           HOLLYWOOD         FL    33020‐5365
JOHN J CASTRICHINI                                1‐A                                 100 S BECKMAN DR                                         ALTOONA           PA    16602‐2900
JOHN J CASTRO                                     35 TAURUS DRIVE                                                                              NOVATO            CA    94947
JOHN J CASTRO JR & ANITA CASTRO JT TEN            35 DYER ST                                                                                   WARREN            RI    02885‐3632
JOHN J CASTRO JR TR ANITA CASTRO 2005 TRUST UA    35 DYER STREET                                                                               WARREN            RI    02885‐3632
02/16/05
JOHN J CAUZILLO                                   4711 ARLINE DRIVE                                                                            WEST BLOOMFIELD MI      48323‐2507
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 192 of 855
Name                                              Address1                              Address2             Address3          Address4          City                State Zip

JOHN J CAVANAUGH                                  60 NORCROSS CIR                                                                                SO CHATHAM          MA    02659‐1572
JOHN J CAZAUX TR JOHN J CAZAUX LIVING TRUST UA    1404 RIVERVIEW                                                                                 FESTUS              MO    63028‐1166
12/02/96
JOHN J CHAPPELL & RUTH R CHAPPELL JT TEN          5168 SHENSTONE DR                                                                              VIRGINIA BEACH      VA    23455‐3218
JOHN J CHIARELLA & DONNA CHIARELLA JT TEN         57 HARBOR HILL RD                                                                              SUNAPEE             NH    03782‐2624
JOHN J CHRISTOFF & DIANA R CHRISTOFF JT TEN       7669 W PARKSIDE DR                                                                             BOARDMAN            OH    44512‐5320
JOHN J CIAMARICONE                                1144 TWIN C LANE                                                                               NEWARK              DE    19713‐2110
JOHN J CIANCIOLO                                  N 24 W 26321 WILDERNESS WAY                                                                    PEWAUKEE            WI    53072‐4568
JOHN J CIARAMICOLI                                48 HIGHLAND ST                                                                                 MILFORD             MA    01757‐2334
JOHN J CIAVATTONE & MRS JULIA LEE CIAVATTONE JT   50 OAKTREE LANE                                                                                MANHASSET           NY    11030‐1705
TEN
JOHN J CIELMA                                     6944 E CURTIS RD                                                                               BRIDGEPORT        MI      48722‐9726
JOHN J CIPOLLONE & SUSAN M CIPOLLONE JT TEN       5202 BAY ST                                                                                    ROCKLIN           CA      95765‐5513
JOHN J CIRELLI & MRS LOUISA V CIRELLI JT TEN      8 MARION AVE                                                                                   SOUTH GLENS FALLS NY      12803‐4807

JOHN J CITUK                                      12530 ULRICH AVENUE                                                                            BALTIMORE           MD    21220‐1241
JOHN J CIULLA                                     2808 MONTEBELLO RD                    UNIT 5                                                   AUSTIN              TX    78746‐6802
JOHN J CLARKE & MRS RUTH F CLARKE JT TEN          406 CEDARWOOD DRIVE                                                                            CLARKS SUMMIT       PA    18411‐1343
JOHN J COLLINS                                    2419 ANDRE AVE                                                                                 JANESVILLE          WI    53545‐2294
JOHN J COLLINS & MARY M COLLINS JT TEN            65‐25 160TH STREET                                                                             FLUSHING            NY    11365‐2567
JOHN J CONNAUGHTON & ALICE M CONNAUGHTON JT       32421 LYNDON ST                                                                                LIVONIA             MI    48154‐4101
TEN
JOHN J CONNAUGHTON TR JOHN J CONNAUGHTON          32421 LYNDON                                                                                   LIVONIA             MI    48154‐4101
TRUST UA 01/08/96
JOHN J CONSIDINE & MAUREEN CONSIDINE JT TEN       13074 AUTUMN WILLOW DR                                                                         FAIRFAX             VA    22030‐8200

JOHN J CONWAY                                     12 FAIRWOOD CT                                                                                 ROCKVILLE           MD    20850‐3005
JOHN J CONWAY III                                 5601 33RD ST NW                                                                                WASHINGTON          DC    20015‐1630
JOHN J COOK & MARY ANN COOK JT TEN                307 WILTON                                                                                     TROY                MI    48098‐5538
JOHN J COPE                                       22 LINDA VISTA AVE                                                                             BEL TIBURON         CA    94920‐1980
JOHN J CORRION                                    465 E HAMPTON ROAD                                                                             ESSEXVILLE          MI    48732‐8703
JOHN J COSTELLO & FLORENCE A COSTELLO JT TEN      1724 BRIDGETOWN PIKE APT 5                                                                     FEASTERVILLE TREV   PA    19053‐2379

JOHN J COUNTS                                     2202 JOLIET STREET                                                                             FLINT               MI    48504‐4650
JOHN J COX                                        69 STONEYBROOK DRIVE                                                                           GREENWOOD           IN    46142‐2107
JOHN J CROVA & SHARON R CROVA JT TEN              37014 GRANT RD                                                                                 ROMULUS             MI    48174‐1133
JOHN J CULLINA                                    310 BLUE WATER COURT                  APT 103                                                  GLEN BURNIE         MD    21060‐2370
JOHN J CURTIS                                     694 MARION AVE                                                                                 PEEKSKILL           NY    10566‐2221
JOHN J CUSIC                                      4368 WEST 202 STREET                                                                           FAIRVIEW PARK       OH    44126‐1525
JOHN J CVACH                                      PO BOX 659                                                                                     CENTREVILLE         MD    21617
JOHN J CYR JR                                     310 GREENE ST                         APT 318                                                  NORTH ANDOVER       MA    01845‐3953
JOHN J DALTON                                     20 JOHN ST STE #307                   GRIMSBY ON                             L3M 1X5 CANADA
JOHN J DALY & MRS EILEEN E DALY JT TEN            5 GREYROCK TERRACE                                                                             IRVINGTON           NY    10533
JOHN J DALY JR                                    34 MEADOW ROAD                                                                                 BURLINGTON          CT    06013‐2306
JOHN J DANCIK                                     400 HOBRON LANE                       APT 3201                                                 HONOLULU            HI    96815‐1208
JOHN J DAUKSTS                                    1462 FAIRVIEW                                                                                  JENISON             MI    49428‐8930
JOHN J DAVIDEK TR UA 08/27/85 JOHN J DAVIDEK TR   3509 CHICAGO                                                                                   FLINT               MI    48503‐6606

JOHN J DAVIS                                      PO BOX 678                                                                                     NEENAH              WI    54957‐0678
JOHN J DE BOER                                    12620 IROQUOIS DR                                                                              GRANDE LEDGE        MI    48837‐8910
JOHN J DE BRINCAT & NANCY DE BRINCAT JT TEN       4871 CIDER HILL DR                                                                             ROCHESTER           MI    48306‐1609
JOHN J DE SALVO JR                                846 S EUCLID AVE                                                                               VILLA PARK          IL    60181‐3327
JOHN J DEGANUTTI                                  3739 S AUSTIN BLVD                                                                             CICERO              IL    60804‐4153
JOHN J DEGNAN & RUTH D DEGNAN JT TEN              413 CANDLEWOOD RD                                                                              BROOMALL            PA    19008‐1733
JOHN J DEL SOLE                                   120 ORCHARD ST #A‐8                                                                            EAST RUTHERFORD     NJ    07073‐2012

JOHN J DEMIJOHN                                   1501 VAN WORMER RT 5                                                                           SAGINAW             MI    48603
JOHN J DEMIJOHN & KATHLEEN E DEMIJOHN TR UA       1501 VAN WORMER ROAD                                                                           SAGINAW             MI    48609‐9560
06/02/94 DEMIJOHN TRUST
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                          Part 4 of 8 Pg 193 of 855
Name                                                 Address1                              Address2                         Address3   Address4          City            State Zip

JOHN J DIAMOND JR                                    5820 POST CORNERS TRAIL J                                                                           CENTREVILLE     VA    20120
JOHN J DIAS                                          85 BIGELOW RD                                                                                       WEST NEWTON     MA    02465‐3005
JOHN J DIVO & CAROL C DIVO JT TEN                    658 JONES RD                                                                                        ESSEXVILLE      MI    48732‐9687
JOHN J DOMBKOWSKI                                    13728 SE 88TH AVE                                                                                   SUMMERFIELD     FL    34491‐9605
JOHN J DOMBKOWSKI & ANN E DOMBKOWSKI JT TEN          13728 SE 88TH AVE                                                                                   SUMMERFIELD     FL    34491‐9605

JOHN J DOMEN JR                                      8126 RUSSELL LN                                                                                     CLEVELAND       OH    44144‐1130
JOHN J DONLEY                                        619 BLACK GATES ROAD                  EDENRIDGE                                                     WILMINGTON      DE    19803‐2239
JOHN J DONOVAN 3RD                                   107 NEWBURY WAY                                                                                     GIBSONIA        PA    15044‐9325
JOHN J DORLEY                                        534 EHRET RD                                                                                        FAIRLESS HILL   PA    19030‐3612
JOHN J DRANE                                         4105 SHANNON DR                                                                                     BALTIMORE       MD    21213‐2104
JOHN J DUANE                                         66 FISHER RD                                                                                        ARLINGTON       MA    02476‐7644
JOHN J DUFF                                          PO BOX 923                                                                                          MIDDLE ISLAND   NY    11953‐0923
JOHN J DUHAN                                         1700 BRONSON WA 10                                                                                  KALAMAZOO       MI    49009‐1095
JOHN J DUMAS                                         20 BRIDGE ST                                                                                        SALEM           MA    01970‐4125
JOHN J DUNCAN                                        PO BOX 211                                                                                          RAYMONDVILLE    NY    13678‐0211
JOHN J DUNCAN & CAROLE B DUNCAN JT TEN               PO BOX 211                                                                                          RAYMONDVILLE    NY    13678‐0211
JOHN J DUNFORD SR                                    26919 STRATFORD                                                                                     HIGHLAND        CA    92346‐3005
JOHN J DUSAK                                         3036 RUSHLAND DR                                                                                    DAYTON          OH    45419‐2138
JOHN J DUTTON                                        6460 WAVELAND DRIVE                                                                                 CUMMING         GA    30040‐1222
JOHN J EARLEY                                        3025 OAKTREE LNDG NE                                                                                MARIETTA        GA    30066‐2382
JOHN J ECKMAN                                        50 E MCDANIELS LN                                                                                   SPRINGBORO      OH    45066‐8573
JOHN J EGAN CUST DIANE MCKEDY EGAN UTMA MA           PO BOX 732                                                                                          MARLBOROUGH     MA    01752

JOHN J EGAN CUST LIAM R EGAN UGMA PA                 107 CHERRY LN                                                                                       FOLSOM           PA   19033‐1035
JOHN J EMERY                                         41 QUEEN ANNE LN                                                                                    WAPPINGERS FALLS NY   12590‐6013

JOHN J ENGLISH JR                                    63639 CR 652 RT#2                                                                                   MATTAWAN        MI    49071‐9802
JOHN J ENKLER                                        649 VAN WAGNER RD                                                                                   POUGHKEEPSIE    NY    12603‐1136
JOHN J EPPS                                          5341 ASHBOURNE LN                                                                                   INDIANAPOLIS    IN    46226‐3230
JOHN J ERB                                           511 RAWLINS DRIVE                                                                                   WAUKESHA        WI    53188‐4647
JOHN J ERLA JR & MARY JAIN ERLA JT TEN               19360 SWEETWATER SPRINGS RD                                                                         GUERNEVILLE     CA    95446
JOHN J ESKEITZ                                       ATTN ANN MANCHUR                      552 PITTSTOWN RD                                              PITTSTOWN       NJ    08867‐4004
JOHN J ETZLE                                         C/O JOHN J ETZLE JR                   2977 RINCON‐STILLWELL RD                                      RINCON          GA    31326‐6268
JOHN J EVANS & ELIZABETH A EVANS JT TEN              10 UNION ST                                                                                         MATAWAN         NJ    07747‐2812
JOHN J FARRELL                                       9184 N PICTURE RIDGE RD                                                                             PEORIA          IL    61615‐1745
JOHN J FEELEY & MRS JOSEPHINE M FEELEY JT TEN        75 REGENT DR                                                                                        LIDO BEACH      NY    11561‐4922
JOHN J FELICIANO                                     26891 E BRIARWOOD CIR                                                                               CENTENNIAL      CO    80016‐7506
JOHN J FERRARA                                       1 HIGH POINT RD                                                                                     WESTPORT        CT    06880‐3905
JOHN J FIGORE & SHARON A FIGORE JT TEN               47642 ASHFORD DR S                                                                                  CANTON          MI    48188‐6267
JOHN J FINK                                          2603 YEAGER ST                                                                                      PORT HURON      MI    48060‐7335
JOHN J FINNER                                        900 WEST ST                                                                                         EATON RAPIDS    MI    48827‐1704
JOHN J FISHER                                        4618 NORTHFORK DRIVE                                                                                PEARLAND        TX    77584‐8607
JOHN J FITEK                                         1051 WINDSOR STREET                                                                                 FLINT           MI    48507
JOHN J FITZHARRIS                                    33 CORDELE ROAD                                                                                     NEWARK          DE    19711‐5613
JOHN J FITZHARRIS & ANTOINETTE T FITZHARRIS JT TEN   33 CORDELE ROAD                                                                                     NEWARK          DE    19711‐5613

JOHN J FLAHARTY & MARY LOUISE FLAHARTY JT TEN        6639 BLUE SPRUCE CT                                                                                 W BLOOMFIELD    MI    48324‐3715

JOHN J FLAHERTY                                      67 HOUSTON ST                                                                                       WATERBURY       CT    06704‐2520
JOHN J FOERST                                        104 THORNRIDGE DR                                                                                   LEVITTOWN       PA    19054‐2311
JOHN J FONTAINE                                      4539 RIVER RD                                                                                       FAIRFIELD       OH    45014‐1014
JOHN J FONTANA                                       124 MARLBORO ST                                                                                     WOLLASTON       MA    02170‐2915
JOHN J FORBES                                        45 S PAUL DR                          PO BOX 27                                                     SIBLEY          MO    64088‐0027
JOHN J FORITANO TR JOHN J FORITANO REVOCABLE         79 W WARNER ROAD                                                                                    AKRON           OH    44319‐1771
LIVING TRUST UA 12/16/04
JOHN J FORTUNA                                       585 HAWKS RIDGE RD                                                                                  BROOKFIELD      WI    53045‐6322
JOHN J FOSTER                                        116 CURLEY HALL                       CATHOLIC UNIVERSITY OF AMERICA                                WASHINGTON      DC    20064
JOHN J FOWLER                                        42 ALEXANDER AV                                                                                     MEDFORD         MA    02155‐6204
                                                09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 194 of 855
Name                                               Address1                                Address2             Address3          Address4          City               State Zip

JOHN J FRANSSEN                                    365 BIGELOW ST                          PORT PERRY ON                          L9L 1N2 CANADA
JOHN J FRANSSEN                                    365 BIGELOW ST                          PORT BERRY ON                          L9L 1N2 CANADA
JOHN J FRANSSEN                                    365 BIGELOW ST                          PORT PERRY ON                          L9L 1N2 CANADA
JOHN J FREEMAN                                     2611 LAKE ROAD                                                                                   RANSOMVILLE        NY    14131‐9656
JOHN J FRIER & MRS GERTRUDE ANN FRIER JT TEN       1900 PLEASANT ST                                                                                 HANNIBAL           MO    63401‐2651
JOHN J FRUGOLI & EVELYN B FRUGOLI JT TEN           5417 WESLEYAN DR APT 104                                                                         VIRGINIA BCH       VA    23455‐6922
JOHN J FULLAN                                      21470 PRATT RD                                                                                   ARMADA             MI    48005‐1337
JOHN J FULTON & AMPARO M FULTON JT TEN             3711 WINFORD DR                                                                                  TARZANA            CA    91356‐5810
JOHN J GABER                                       20126 ANITA                                                                                      MT CLEMENS         MI    48036‐1800
JOHN J GAGER                                       2009 VERDIN                                                                                      MCALLEN            TX    78504‐5605
JOHN J GALLANT JR & VERA F GALLANT JT TEN          1965 MANTA BAY ST                                                                                MERRITT IS         FL    32952‐2878
JOHN J GARKOWSKI JR                                111‐50 115TH ST                                                                                  S OZONE PARK       NY    11420‐1115
JOHN J GARRISON                                    618 S 4TH ST                                                                                     HOOPESTON          IL    60942‐1810
JOHN J GAVIN JR                                    309 CEDAR ST                                                                                     GARWOOD            NJ    07027‐1108
JOHN J GAWRORISKI                                  61 POPLAR STREET                                                                                 FORDS              NJ    08863‐1838
JOHN J GEER III                                    423 HAMBAUGH AV                                                                                  HOMEWOOD           AL    35209‐5107
JOHN J GEER JR & ANN GEER JT TEN                   1300 S OCEAN BLVD                       APT 901                                                  POMPANO BEACH      FL    33062‐6917
JOHN J GENTILE                                     PO BOX 206                                                                                       BRASELTON          GA    30517‐0004
JOHN J GERLACH                                     PO BOX 632                                                                                       PALATINE           IL    60078‐0632
JOHN J GIBBS                                       508 E 11TH ST                                                                                    UHRICHSVILLE       OH    44683‐1520
JOHN J GIBBS CUST CARRIE ANN GIBBS UGMA OH         508 E ELEVENTH ST                                                                                UHRICHSVILLE       OH    44683‐1520
JOHN J GILBERT JR TR UW JOHN J GILBERT             PO BOX 598                                                                                       PORTSMOUTH         NH    03802‐0598
JOHN J GILKEY & RONA G GILKEY JT TEN               1728 HAWKINS DR                                                                                  LOS ALTOS          CA    94024‐5800
JOHN J GILMORE                                     4743 EAST ARCADIA LANE                                                                           PHOENIX            AZ    85018‐2851
JOHN J GLATTHAAR                                   2 OVERLOOK RD APT 1 D6                                                                           WHITE PLAINS       NY    10605‐2455
JOHN J GLEASON                                     604 LELAND ST                                                                                    FLUSHING           MI    48433‐1347
JOHN J GOLDFINE                                    6063 S PIKE LAKE RD                                                                              DULUTH             MN    55811‐9629
JOHN J GOODMAN                                     105 CENTRAL AVE                                                                                  POINT              NJ    08742‐3221
                                                                                                                                                    PLEASABEACH
JOHN J GORMAN                                     98 COLEMAN RD                                                                                     HAMILTON           NJ    08690‐3958
JOHN J GORMLEY                                    338 ROUTE 40                                                                                      ELMER              NJ    08318‐2538
JOHN J GOSSAGE TR JOHN J GOSSAGE TRUST UA 10/1/99 8705 CLYDESDALE RD                                                                                SPRINGFIELD        VA    22151‐1429

JOHN J GOSSICK                                     14 TREE LN                                                                                       ELKTON             MD    21921‐4405
JOHN J GOTTLEIB JR                                 7140 RACE RD                                                                                     HANOVER            MD    21076‐1313
JOHN J GRAHAM & KATHLEEN A GRAHAM JT TEN           8325 KNOLLWOOD DR                                                                                ST LOUIS           MO    63121‐4512
JOHN J GRAY                                        C/O MARY A GRAY                         2334 E 2ND ST                                            ANDERSON           IN    46012‐3130
JOHN J GREEN                                       1207 37TH ST W                                                                                   BRADENTON          FL    34205‐1632
JOHN J GREEN                                       5749 STADIUM DR                         APT 112                                                  KALAMAZOO          MI    49009‐1957
JOHN J GRIECO & JANE P GRIECO JT TEN               8720 W BLACKTHORNE WAY                                                                           FRANKFORT          IL    60425‐1292
JOHN J GRIFFIN & MRS MARY JANE GRIFFIN JT TEN      8 PATRICIA DR                                                                                    NEW CITY           NY    10956‐2005

JOHN J GROLL & MARGARET M GROLL JT TEN             916 MAIN ST                                                                                      FENTON             MI    48430‐2176
JOHN J GROSSO & IRENE A GROSSO JT TEN              1070 TREMONT DRIVE                                                                               GLENOLDEN          PA    19036‐1521
JOHN J GUERRA                                      123 MILL ST                                                                                      HOPEDALE           MA    01747‐2004
JOHN J GUIREY                                      421 KALAMAZOO                                                                                    PETOSKEY           MI    49770‐2639
JOHN J GULA                                        2710 MC CLEARY‐JACOBY RD                                                                         CORTLAND           OH    44410‐1710
JOHN J GUNSAULIS                                   18906 SUSQUEHANNA RDG                                                                            INDEPENDENCE       MO    64056‐2104
JOHN J GUTTEK                                      16100 BEVERLY CIRCLE                                                                             ROSEVILLE          MI    48066‐5610
JOHN J GWIZDAK                                     45177 RECTOR DRIVE                                                                               CANTON             MI    48188‐1641
JOHN J HAMM II                                     153 PLYMOUTH ST                                                                                  MIDDLEBORO         MA    02346‐1205
JOHN J HANCHARICK & PATRICIA A HANCHARICK JT TEN   35195 GREENWICH AVE                                                                              NORTH RIDGEVILLE   OH    44039‐4507

JOHN J HANNON                                      7673 SW COLLINS STREET                                                                           ARCADIA            FL    34269‐3400
JOHN J HARRY IV                                    PO BOX 2072                                                                                      JACKSON            MS    39225‐2072
JOHN J HATEM CUST JOHN J HATEM II UGMA CA          885 CREST VISTA DR                                                                               MONTEREY PARK      CA    91754‐3749
JOHN J HATEM CUST RICHARD B HATEM UGMA CA          885 CREST VISTA DR                                                                               MONTEREY PARK      CA    91754‐3749
JOHN J HAYES                                       2557 CHEYENNE LN                                                                                 CROWLEY            TX    76036‐5325
JOHN J HAYES                                       12201 HYTHE ST                                                                                   MORENO VALLEY      CA    92557‐6984
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 195 of 855
Name                                            Address1                             Address2             Address3          Address4          City               State Zip

JOHN J HAYES & MARGARET M HAYES JT TEN          41 BART RD                                                                                    MONROE             CT    06468‐1109
JOHN J HEFFNER & MARY J HEFFNER TR HEFFNER      3700 JOY ROAD                                                                                 METAMORA           MI    48455‐9315
FAMILY TRUST UA 10/09/02
JOHN J HEGARTY                                  15 IROQUOIS ST                                                                                BOSTON             MA    02120
JOHN J HEIDI                                    506 HEMINGWAY DR                                                                              COLUMBIA           TN    38401‐5310
JOHN J HIGGINS                                  513 80TH ST                          #1                                                       BROOKLYN           NY    11209‐4009
JOHN J HIGHTOWER                                51 LILBURNE DR                                                                                YOUNGSTOWN         OH    44505‐4825
JOHN J HILDIN                                   4 PENN COURT                                                                                  TINTON FALLS       NJ    07724‐9767
JOHN J HIMELRIGHT                               57 E CHELTON RD                                                                               PARKSIDE           PA    19015‐3311
JOHN J HINDERER                                 263 E 500 N                                                                                   ANDERSON           IN    46012‐9501
JOHN J HINZ                                     1601 LAKE JAMES DR                                                                            PRUDENVILLE        MI    48651‐9420
JOHN J HOAGLAND JR                              524 FRANCIS AVE                                                                               WOODBRIDGE         NJ    07095‐2231
JOHN J HODOR                                    920 CAPETOWN AVE                                                                              LEHIGH ACRES       FL    33974‐2635
JOHN J HOESZLE                                  12130 PALMER RD                                                                               MAYBEE             MI    48159‐9788
JOHN J HOGARTY                                  23 DOBSON RD                                                                                  OLD BRIDGE         NJ    08857‐1542
JOHN J HOLMBERG                                 4513 SAINT RITA DR                                                                            LOUISVILLE         KY    40219‐3933
JOHN J HOOD                                     9 SKUNK HILL RD                                                                               EXETER             RI    02822‐1313
JOHN J HOOD CUST BESTY A HOOD UGMA NC           15400 OVERLEA CT                                                                              ACCOKEEK           MD    20607‐2035
JOHN J HORAK JR                                 16501 HILAND TRAIL                                                                            LINDEN             MI    48451‐9089
JOHN J HORAY                                    11145 SPRAGUE RD                                                                              N ROYALTON         OH    44133‐1264
JOHN J HOWLEY                                   682 RAMBLING DR                                                                               SAGINAW            MI    48609‐4958
JOHN J HUDAK & ADELINE DECKER JT TEN            40728 BUTTERNUT RIDGE RD                                                                      ELYRIA             OH    44035
JOHN J HUDDY & VARIA M HUDDY JT TEN             C/O V M HUDDY                        171 JACKSON RD                                           PITTSBURGH         PA    15239‐1411
JOHN J HUDSON                                   1948 HOUT RD                                                                                  MANSFIELD          OH    44905‐1823
JOHN J HUDSON                                   10239 GWYNNBROOK RD                                                                           RICHMOND           VA    23235‐2224
JOHN J HUGHES                                   390 HOLLY ST                                                                                  DENVER             CO    80220‐5828
JOHN J JAHELKA JR                               4217 DREXEL DR                                                                                VESTAL             NY    13850‐4018
JOHN J JANCA JR                                 6940 LEFFINGWELL RD                                                                           CANFIELD           OH    44406‐9189
JOHN J JANIK III                                3699 SHADY BEACH BLVD                                                                         ORCHARD LAKE       MI    48324‐3060
JOHN J JARDOT                                   223 DUTTON STREET                                                                             EATON RAPIDS       MI    48827‐1507
JOHN J JASINSKI                                 4591 SINGH DR                                                                                 STERLING HEIGHTS   MI    48310‐5197

JOHN J JASKULA                                  18 GLENWOOD TERR                                                                              CLARK              NJ    07066‐1911
JOHN J JECKEWICZ                                32759 AVONDALE ST                                                                             WESTLAND           MI    48186‐8905
JOHN J JONES JR                                 14 SIOUX TRAIL                                                                                GIRARD             OH    44420‐3630
JOHN J JORDAN                                   18315 W 116TH ST                                                                              OLATHE             KS    66061‐6553
JOHN J JOY                                      PO BOX 65                                                                                     MARKELVILLE        IN    46056‐0065
JOHN J JUFER                                    RR 1 BOX 1130                                                                                 GOLDEN             MO    65658‐9707
JOHN J JUNEMANN & MARY JANE JUNEMANN JT TEN     509 S FRANKLIN ST                                                                             SAGINAW            MI    48604‐1430

JOHN J JURONOC                                  36596 CAPPER DR                                                                               CLINTON TOWNSHIP MI      48035‐1429

JOHN J JURY JR                                  241 KUNKLE RD                                                                                 IRWIN              PA    15642‐4985
JOHN J KADTKE                                   1445 SPRUCE AVE                      OAK HILL                                                 WILMINGTON         DE    19805‐1337
JOHN J KALINOWSKI                               13430 7 MILE RD                                                                               BELDING            MI    48809
JOHN J KANE JR                                  630 MONARDA TRAIL                                                                             MULLICA HILL       NJ    08062‐2034
JOHN J KANNEGIESER & SUZANNE D KANNEGIESER JT   93 ANNABESSACOOK DR                                                                           WINTHROP           ME    04364‐3884
TEN
JOHN J KANTOROWSKI                              2670 HOLTMAN DR NE                                                                            GRAND RAPIDS       MI    49525
JOHN J KAPP                                     20005 US HIGHWAY 27                                                                           CLERMONT           FL    34715‐9009
JOHN J KARDINE & DEBORAH KARDINE JT TEN         51 ABALIA LANE                                                                                NEWARK             DE    19711‐3415
JOHN J KARDINE & DEBORAH KARDINE TEN ENT        51 ABALIA LANE                                                                                NEWARK             DE    19711‐3415
JOHN J KASMER JR                                BOX 91                                                                                        ELBA               NY    14058‐0091
JOHN J KASTNER                                  3735 ADRIATIC WAY                                                                             SANTA CLARA        CA    95051‐3229
JOHN J KAZLAS                                   903 FOREST DR                                                                                 KOKOMO             IN    46901‐1861
JOHN J KEANE                                    205 HAZARD AVE                                                                                ENFIELD            CT    06082‐4522
JOHN J KELLEHER                                 113 CHERRINGTON DR                                                                            CRANBERRY          PA    16066‐3159
                                                                                                                                              TOWNSHIP
JOHN J KELLY JR & JOAN A KELLY JT TEN           732 HITCHCOCK                                                                                 LISLE              IL    60532‐2408
                                               09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 4 of 8 Pg 196 of 855
Name                                                Address1                                 Address2             Address3          Address4          City               State Zip

JOHN J KEMO                                         72 STONEY BROOK RD                                                                                HOPEWELL           NJ    08525‐2710
JOHN J KENDALL                                      266 HAWKS NEST CIRCLE                                                                             ROCHESTER          NY    14626‐4864
JOHN J KENNEDY                                      4227 MONTEZUMA COORSE                                                                             LIVERPOOL          NY    13090‐6853
JOHN J KIESEWETTER & FRANCES J KIESEWETTER JT TEN   1938 W LA BONTE CIR                                                                               BEVERLY HILLS      FL    34465‐2318

JOHN J KILROE JR                                    541 BRIARWOOD DR NW                                                                               CALABASH           NC    28467‐1711
JOHN J KINSEY                                       3349 HADLEY RD                                                                                    METAMORA           MI    48455‐9716
JOHN J KLARICH & MRS ARDELL KLARICH JT TEN          9916 S CLIFTON PARK                                                                               EVERGREEN PARK     IL    60805‐3329
JOHN J KLEEMAN                                      1821 QUAIL RIDGE DR                                                                               KLAMATH FALLS      OR    97601‐1591
JOHN J KNAPP & BETTY B KNAPP JT TEN                 5446 LANDIS AVE                                                                                   DAYTONA BEACH      FL    32127‐5526
JOHN J KNITTLE                                      11821 F MONTVIEW BLVD                                                                             AURORA             CO    80010‐1605
JOHN J KOBYLUS                                      38 CHARNWOOD RD                                                                                   NEW PROVIDENCE     NJ    07974‐1767

JOHN J KOFFLER                                      281 NORTH FORK DRIVE                                                                              PENDERGRASS      GA      30567
JOHN J KONDRATOWICZ                                 8516 LOCHDALE                                                                                     DEARBORN HEIGHTS MI      48127‐1267

JOHN J KOPY                                         60443 TREBOR                                                                                      SOUTH LYON         MI    48178‐9442
JOHN J KORY                                         39 STARLITE AVE                                                                                   CHEEKTOWAGA        NY    14227‐1235
JOHN J KRALIK                                       28453 SUN CITY BLVD                                                                               SUN CITY           CA    92586‐2023
JOHN J KREUTZTRAGER                                 604 HOLIDAY AVE                                                                                   HAZELWOOD          MO    63042‐3302
JOHN J KROBOCK & ORA RAE KROBOCK JT TEN             38543 RIVER PARK DR                                                                               STERLING HEIGHTS   MI    48313

JOHN J KROTH                                        2034 BRIGGS RD                                                                                    LEXINGTON          NC    27292‐7431
JOHN J KUJIK SR & JOHN J KUJIK JT TEN               1860 W LONGMEADOW                                                                                 TRENTON            MI    48183‐1781
JOHN J KUREK & LORRAINE G KUREK JT TEN              7411 MEADOW LANE                                                                                  PARMA              OH    44134
JOHN J KURISKO                                      45838 KENSINGTON                                                                                  UTICA              MI    48317‐5957
JOHN J KUROLVECH                                    2375 E TROPICANA AV 8‐379                                                                         LAS VEGAS          NV    89119‐6564
JOHN J LA FEAR                                      11256 E COLDWATER RD                                                                              DAVISON            MI    48423‐8509
JOHN J LA MANTIA                                    1920‐TUSCARORA RD                                                                                 NIAGARA FALLS      NY    14304‐1898
JOHN J LAGOTTA                                      564 MARCY AVE                                                                                     STATEN ISLAND      NY    10309
JOHN J LAMMERDING & JANE A LAMMERDING JT TEN        9664 WHITTINGTON DR                                                                               JACKSONVILLE       FL    32257‐5447

JOHN J LANE                                         665 LINDEN DRIVE                                                                                  ENGLEWOOD          FL    34223‐7128
JOHN J LANGAN III                                   2719 W GUNNISON                          APT 2                                                    CHICAGO            IL    60625‐2866
JOHN J LE NOBLE                                     12601 E NAVAJO DR                                                                                 PALOS HEIGHTS      IL    60463‐1742
JOHN J LE NOBLE & MRS PATRICIA B LE NOBLE JT TEN    12601 E NAVAJO DR                                                                                 PALOS HEIGHTS      IL    60463‐1742

JOHN J LEAHY & MARY S LEAHY JT TEN                  425 CAVERSHAM RD                                                                                  BRYN MAWR          PA    19010‐2901
JOHN J LEAHY & MARY S LEAHY TEN ENT                 425 CAVERSHAM RD                                                                                  BRYN MAWR          PA    19010‐2901
JOHN J LENDRUM III                                  534 RAMBLEWOOD RD                                                                                 HOUSTON            TX    77079‐6903
JOHN J LENHART                                      12 MAGNOLIA AVE                                                                                   GLEN BURNIE        MD    21061‐1952
JOHN J LEONARD & DONNA M LEONARD JT TEN             300 N STATE ST APT 5323                                                                           CHICAGO            IL    60610‐4896
JOHN J LETTERLY                                     39990 PARSONS RD                                                                                  GRAFTON            OH    44044‐9151
JOHN J LETTIERI                                     11201 VIVAN DR                                                                                    HUNTSVILLE         AL    35810‐1214
JOHN J LEYH SR                                      6 WOLF TRAP CIR                                                                                   HOCKESSIN          DE    19707
JOHN J LINNEHAN CUST SEANA LINNEHAN UGMA MA         25 KENOZA AVE                                                                                     HAVERHILL          MA    01830‐4103

JOHN J LITTLE                                       4201 WINDSOR PLACE                                                                                RALEIGH            NC    27609‐5965
JOHN J LIVECCHI                                     PO BOX 544                                                                                        NEWARK             NY    14513‐0544
JOHN J LIVECCHI & JANET A LIVECCHI JT TEN           258 WAHL RD                                                                                       ROCHESTER          NY    14609‐1865
JOHN J LOBA                                         4857 SUNDALE DRIVE                                                                                CLARKSTON          MI    48346‐3692
JOHN J LOBIANCO CUST JOHN JOSEPH LOBIANCO III       19 BENTWOOD DR                                                                                    BORDEN TOWN        NJ    08505‐3173
UTMA NJ
JOHN J LOBIANCO CUST NICHOLAS ALLEN LOBIANCO        19 BENTWOOD DR                                                                                    BORDEN TOWN        NJ    08505‐3173
UTMA NJ
JOHN J LOBRUTTO                                     2883 ROBERTS AVE                                                                                  BRONX              NY    10461‐4842
JOHN J LOFTUS                                       4104 JOHNSON RD                                                                                   MIDDLEVILLE        MI    49333‐9471
JOHN J LOFTUS & BRIDGET R LOFTUS JT TEN             4104 JOHNSON RD                                                                                   MIDDLEVILLE        MI    49333‐9471
JOHN J LOFTUS & MARGARET M LOFTUS JT TEN            4104 N JOHNSON RD RT 6                                                                            MIDDLEVILLE        MI    49333‐9802
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 197 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

JOHN J LOGAN                                      430 E WARREN AVE                        APT 1007                                                 DETROIT            MI    48201‐1483
JOHN J LOGAN JR                                   3126 NORMANDY ROAD                                                                               INDIANAPOLIS       IN    46222‐1375
JOHN J LONKO JR                                   2789 BASELINE RD                                                                                 GRAND ISLAND       NY    14072‐1308
JOHN J LUCA                                       13347 MONTEGO DR                                                                                 STERLING HEIGHTS   MI    48312‐3356

JOHN J LUCHT                                      W11386 BOAT LANDING 7 RD                                                                         ATHELSTANE        WI     54104‐9608
JOHN J LUCHT & DARLENE N LUCHT JT TEN             W11386 BOATLANDING 7 RD                                                                          ATHELSTANE        WI     54104‐9608
JOHN J LUMINARI & DOROTHY L LUMINARI TR UA        649 59TH AVE                                                                                     ST PETERSBURG BCH FL     33706‐2217
09/26/83 M/B F‐B‐O BOTH
JOHN J LYNCH                                      165 HIBISCUS DR                                                                                  ROCHESTER          NY    14618‐4437
JOHN J LYONS                                      7823 HAROLD RD                                                                                   BALTIMORE          MD    21222‐3302
JOHN J MACDONALD & ROSE MARIE FISCHER JT TEN      27144 SHELBOURNE                                                                                 WARREN             MI    48088

JOHN J MACKOWSKI                                  5931 FELSKE DR                                                                                   BRIGHTON           MI    48116‐9514
JOHN J MADDEN                                     1906 N HODGES LANE                                                                               GREENACRES         WA    99016‐8586
JOHN J MAGRINI                                    BOX 3182                                                                                         BOARDMAN           OH    44513‐3182
JOHN J MAKOWKA                                    PO BOX 802                                                                                       MATAWAN            NJ    07747‐0802
JOHN J MAKRIES                                    14194 JEFF RD APT A                                                                              LARGO              FL    33774‐2037
JOHN J MAKRIES & RUTH M MAKRIES JT TEN            14194 JEFF RD #A                                                                                 LARGO              FL    33774‐2037
JOHN J MALESKI                                    45 WOODRIDGE DR                                                                                  CARNEGIE           PA    15106‐3030
JOHN J MALIKOWSKI                                 PO BOX 342                                                                                       SWAYZEE            IN    46986‐0342
JOHN J MALONEY                                    187 MENDON ST                                                                                    BLACKSTONE         MA    01504‐1208
JOHN J MANCE TR JOHN J MANCE TRUST UA 05/20/87    10524 BORGMAN                                                                                    HUNTINGTON         MI    48070‐1147
                                                                                                                                                   WOODS
JOHN J MANGANO                                    715 COMMERCE ST                                                                                  HAVRE DE GRACE     MD    21078‐3630
JOHN J MANNION & ELIZABETH F MANNION JT TEN       85 NORTH LAKE DRIVE                                                                              HAMDEN             CT    06517‐2415

JOHN J MARCHANT                                   55 PICKERING ST                                                                                  DANVERS            MA    01923‐2048
JOHN J MARCHESE                                   199 PILGRIM RD                                                                                   TONAWANDA          NY    14150‐8608
JOHN J MARCIN                                     25 S NESCOPEC ST                                                                                 TAMAQUA            PA    18252‐1909
JOHN J MARES & MARION MARES JT TEN                3S452 GLEN DR                                                                                    WARRENVILLE        IL    60555‐3504
JOHN J MARKO JR                                   4938 PARK MANOR EAST                    APT 3314                                                 SHELBY TOWNSHIP    MI    48316‐4941

JOHN J MARKO JR & VIRGINIA J MARKO JT TEN         4938 PARK MANOR EAST                    APT 3314                                                 SHELBY TOWNSHIP    MI    48316‐4941

JOHN J MARKOVICH                                  3808 MARSHALL COURT                                                                              INDEPENDENCE       MO    64055‐6798
JOHN J MARSHALL JR                                33 BONNIE BROOK DR                                                                               CUMBERLAND         RI    02864‐2903
JOHN J MARTONE                                    2 PEARL ST                                                                                       GLEN COVE          NY    11542‐4122
JOHN J MARTY JR & RAMONA J MARTY TR MARTY         8322 N 37TH ST                                                                                   OMAHA              NE    68112‐2014
REVOCABLE TRUST UA 08/01/97
JOHN J MASLANIK CUST ELIZABETH R MASLANIK UTMA    187 PHOENIX AVE                                                                                  MANTUA             NJ    08051‐1311
NJ
JOHN J MASSARO                                    20 NANCY LANE                                                                                    PHOENIXVILLE       PA    19460‐4789
JOHN J MATOOLE & JOAN V MATOOLE JT TEN            1215 N 101ST CIRCLE                                                                              OMAHA              NE    68114‐2116
JOHN J MATTERNAS                                  PO BOX 350                              100 EAST MAIN ST                                         SCHAEFFERSTWN      PA    17088
JOHN J MAXIM                                      60 RUSSO DR                                                                                      CANFIELD           OH    44406‐9664
JOHN J MAXSON                                     3946 N STANDISH ROAD                                                                             RHODES             MI    48652‐9514
JOHN J MAY & DEANNA MAY JT TEN                    12259 OAKVIEW WAY                                                                                SAN DIEGO          CA    92128‐6301
JOHN J MAZIARZ                                    1615 LIBERTY RD                                                                                  SAGINAW            MI    48604‐9745
JOHN J MC ALLISTER JR                             PO BOX 2506                                                                                      LEONARDTOWN        MD    20650‐8506
JOHN J MC CAMBRIDGE                               9200 FALLS RUN ROAD                                                                              MC LEAN            VA    22102‐1028
JOHN J MC CARTNEY JR & MARION MC CARTNEY JT TEN   821 ROBERT E LEE DRIVE                                                                           WILMINGTON         NC    28412‐7137

JOHN J MC CLOSKEY & IRENE F MC CLOSKEY JT TEN     3604 FULTON ST E                        APT 234                                                  GRAND RAPIDS       MI    49546‐1397

JOHN J MC COURY                                   2576 VERNOR ROAD                                                                                 LAPEER             MI    48446‐8329
JOHN J MC GLYNN & MRS CAROL F MC GLYNN JT TEN     242 S PERSHING AVE                                                                               BETH PAGE          NY    11714‐4344

JOHN J MC GOVERN JR                               968 RANKINE RD                                                                                   NIAGARA FALLS      NY    14305‐1124
                                               09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit E
                                                                                            Part 4 of 8 Pg 198 of 855
Name                                                  Address1                               Address2             Address3                      Address4          City               State Zip

JOHN J MC GRAIL JR                                    42339 JENNINGS COURT                                                                                        CANTON             MI    48188‐1124
JOHN J MC KENNA                                       5498 BROOKLAWN LN                                                                                           LITTLETON          CO    80130‐6632
JOHN J MC KENNA                                       9007 BRIAR FOREST DR                                                                                        HOUSTON            TX    77024‐7214
JOHN J MCCARTHY                                       6728 NOTRE DAME                        ORLEANS ON                                         K1C 1H3 CANADA
JOHN J MCCLOSKEY                                      3713 IRONGATE LANE                                                                                          BOWIE              MD    20715‐1417
JOHN J MCDERMOTT & CARLA MCDERMOTT JT TEN             20 FALLON DR                                                                                                WESTPORT           MA    02790‐1209

JOHN J MCDONOUGH & DOLORES E MCDONOUGH JT     9850 SAPPINGTON RD                                                                                                  ST LOUIS           MO    63128‐1242
TEN
JOHN J MCGRAIL JR & CHERYL C MCGRAIL JT TEN   42339 JENNINGS COURT                                                                                                CANTON             MI    48188‐1124
JOHN J MCKEON & KAREN MCKEON JT TEN           2501 AIRPORT                                                                                                        ADRIAN             MI    49221‐3605
JOHN J MCKULKA                                3334 CHOPTANK AVE                                                                                                   BALTIMORE          MD    21220‐4328
JOHN J MCLAUGHLIN & MARY C MCLAUGHLIN TEN COM 24 MASON DR                                                                                                         MANHASSET          NY    11030‐2008

JOHN J MCMAHON                                        9 LAVERDURE CIR                                                                                             FRAMINGHAM         MA    01701‐4043
JOHN J MCQUAID JR                                     3900 DALECREST DR                      APT 1082                                                             LAS VEGAS          NV    89129
JOHN J MCTIGUE                                        124 DURIE AVE                                                                                               CLOSTER            NJ    07624‐1613
JOHN J MEAD TR JOHN JAY MEAD REV LVG TRUST            109 HIGHLANDS LAKE DR                                                                                       CARY               NC    27511‐9133
12/28/99
JOHN J MEEHAN                                         4 COAST OAK WAY                                                                                             SAN RAFAEL         CA    94903‐1708
JOHN J MEHOLIC TR JOHN J MEHOLIC LIVING TRUST UA      1603 JOLSON CRT                                                                                             MERRITT ISLAND     FL    32953‐2514
02/18/02
JOHN J MEISINGER                                      7 MANO LANE                                                                                                 BRISTOL            CT    06010‐2267
JOHN J MEISTER JR & DOROTHY MEISTER JT TEN            988 SIPP AVE                                                                                                MEDFORD            NY    11763‐4024
JOHN J MELANSON                                       87 NEWLAND AVE BOX 158                                                                                      BELLINGHAM         MA    02019‐1934
JOHN J METIVIER                                       9236 FENTON ROAD                                                                                            GRAND BLANC        MI    48439‐8379
JOHN J METIVIER & ZELDA J METIVIER JT TEN             9236 FENTON ROAD                                                                                            GRAND BLANC        MI    48439‐8379
JOHN J MEYER                                          3051 S STATE                                                                                                INDIANAPOLIS       IN    46237‐1023
JOHN J MEYER TOD NABIL C CHEHADE SUBJECT TO STA       JOHN J MEYER                           C/O NABIL CHEHADE    445 WEST 23RD STREET APT 8E                     NEW YORK           NY    10011
TOD RULES
JOHN J MICHALSKI                                      48084 TILCH                                                                                                 MACOMB             MI    48044‐1989
JOHN J MIESZKOWSKI                                    25838 JEANETTE CT                                                                                           ROSEVILLE          MI    48066‐3812
JOHN J MIHALIK                                        #202                                   15777 BOLESTA RD                                                     CLEARWATER         FL    33760‐3449
JOHN J MIKOSZ & IRENE A MIKOSZ JT TEN                 39 CENTRAL AVE                                                                                              NORTH VERSAILLES   PA    15137‐1101

JOHN J MILLER & ELOISE C MILLER TR MILLER LIV TRUST   73 STATE ST                                                                                                 SENECA FALLS       NY    13148‐1420
UA 03/27/00
JOHN J MILLIGAN                                       1011 PARTRIDGE DR                                                                                           PALATINE           IL    60067‐7044
JOHN J MITCHELL                                       9508 FREDERICK RD                                                                                           ELLICOTT CITY      MD    21042‐3710
JOHN J MITCHELL                                       2139 LONGWOOD                                                                                               DALLAS             TX    75228‐5313
JOHN J MIZLA JR                                       512 N HILLCREST DR                                                                                          LAKESIDE           OH    43440‐1218
JOHN J MODERSKI & DOROTHY MODERSKI TEN ENT            5 SPRINGFIELD CIR                                                                                           SEWELL             NJ    08080‐2029

JOHN J MOHR                                           748 CHIPPEWA DR                                                                                             DEFIANCE           OH    43512‐3368
JOHN J MOLESPHINI CUST ALYSSA KAYE MOLESPHINI         111 INDIGO RUN CV                                                                                           AUSTIN             TX    78738‐1759
UGMA MI
JOHN J MOLESPHINI CUST JOHN ANTHONY MOLESPHINI        111 INDIGO RUN CV                                                                                           AUSTIN             TX    78738‐1759
UGMA MI
JOHN J MOLINATTO                                      113 WILLOW DR                                                                                               MONESSEN           PA    15062
JOHN J MOLLOY                                         948 MAIN ST                                                                                                 WEST SENECA        NY    14224‐3130
JOHN J MONTGOMERY                                     3771 BRAUER                                                                                                 OXFORD             MI    48371‐1044
JOHN J MOORE                                          408 WOODLAND AVENUE                                                                                         BLOOMINGTON        IL    61701‐5672
JOHN J MORAN                                          3 WELSHIRE DR                                                                                               EGG HBR TWP        NJ    08234‐7112
JOHN J MORAN & GENEVIEVE THOMPSON JT TEN              3 WELSHIRE DR                                                                                               EGG HBR TWP        NJ    08234‐7112
JOHN J MORAN & PATRICIA THOMPSON JT TEN               3 WELSHIRE DR                                                                                               EGG HBR TWP        NJ    08234‐7112
JOHN J MORENO                                         17804 IVANHOE ST                                                                                            ROSEVILLE          MI    48066‐4851
JOHN J MORLEY                                         37 KNOWLTON AVENUE                                                                                          SHREWSBURY         MA    01545‐2907
JOHN J MORRIS & EILEEN MORRIS JT TEN                  507 HOWARD RD                                                                                               CHERRY HILL        NJ    08034‐1827
                                                  09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 199 of 855
Name                                                Address1                                Address2             Address3          Address4          City              State Zip

JOHN J MORRISSEY III & MRS MARY M MORRISSEY JT      1889 NH RT118                                                                                    DORCHESTER        NH    03266‐6426
TEN
JOHN J MOTOSKO                                      8239 CAMELLA DR                                                                                  POLAND            OH    44514‐2753
JOHN J MOYNIHAN JR & JOANNE V MOYNIHAN JT TEN       48 FIELDSTONE CIRCLE                                                                             BRIDGEWATER       MA    02324

JOHN J MUEHLHOF & FRANCES M MUEHLHOF JT TEN         383 DISTILLERY HILL RD                                                                           BENTON            PA    17814‐9050

JOHN J MULHOLLAND & MICHELE O MULHOLLAND JT  3440 STANFORD AVE                                                                                       DALLAS            TX    75225‐7618
TEN
JOHN J MULLANEY                              375 GREAT WESTERN RD                                                                                    HARWICH           MA    02645‐2419
JOHN J MURPHY                                5730 W FALL CREEK DR                                                                                    PENDLETON         IN    46064‐8933
JOHN J MURPHY                                8 REVERE DR                                                                                             ROCHESTER         NY    14624‐4221
JOHN J MURPHY CUST MICHAEL CONOR MURPHY UGMA 84 WEDGEWOOD DR                                                                                         SEEKONK           MA    02771‐3431
CT
JOHN J MURRAY                                6 HALLRON ST                                                                                            HYDE PARK         MA    02136‐1312
JOHN J MURRAY                                5431 WINETAVERN LN                                                                                      DUBLIN            OH    43017‐2409
JOHN J MUSZYNSKI                             29125 HILLVIEW                                                                                          ROSEVILLE         MI    48066‐2016
JOHN J NAPERKOSKI                            2456 WORTHAM DR                                                                                         ROCHESTER HILLS   MI    48307‐4670
JOHN J NARKIEWICZ                            10 SAINT ANDREW DRIVE                                                                                   FARMINGTON        CT    06032
JOHN J NEDHAM                                1207 CARR ST                                                                                            SANDUSKY          OH    44870‐3171
JOHN J NEE                                   43 APPLETON AVENUE                                                                                      LEONARDO          NJ    07737‐1231
JOHN J NEITZKE                               22380 NUTMEG TRAIL                                                                                      KIRKSVILLE        MO    63501‐8506
JOHN J NESSLER                               605 BENITA DR EAST                                                                                      MINGO JUNCTION    OH    43938‐1362

JOHN J NICOL JR                                     2018 WILLOW BEACH                                                                                KEEGO HARBOR      MI    48320‐1210
JOHN J NICOL JR & ESTHER M NICOL JT TEN             2018 WILLOW BEACH                                                                                KEEGO HARBOR      MI    48320‐1210
JOHN J NIERADKA & MARIA M NIERADKA JT TEN           19 GALSTON DRIVE                                                                                 WEST WINDSOR      NJ    08550
JOHN J NOVAK TR JOHN J NOVAK LIVING TRUST UA        534 EAST PARK VALLEY DR                                                                          HOPKINS           MN    55343‐7735
05/12/99
JOHN J NUGENT & LYNDA A NUGENT JT TEN               129 BLANCHETTE DR                                                                                MARLBOROUGH       MA    01752‐5601
JOHN J O LONE                                       PO BOX 385                                                                                       MT PROSPECT       IL    60056‐0385
JOHN J O'BRIEN                                      577 SOUTH ST                                                                                     ROSLINDALE        MA    02131‐1117
JOHN J O'MALLEY III                                 827 ASHLAND AVE                                                                                  WILMETTE          IL    60091‐1735
JOHN J O'NEILL                                      1525 ROCKY CREEK RD                                                                              WICHITA           KS    67230
JOHN J O'NEILL JR                                   101 ELMWOOD PARK W                                                                               TONAWANDA         NY    14150‐3316
JOHN J OBRIEN                                       RR1 BOX 87F                                                                                      SUSQUEHANNA       PA    18847‐9766
JOHN J OBRIEN JR                                    726 MERION SQUARE RD                                                                             GLADWYNE          PA    19035‐1506
JOHN J OCONNELL                                     4509 TROON TRAIL                                                                                 DAYTON            OH    45429‐1858
JOHN J OLAF                                         7816 FLETCHER RD                                                                                 AKRON             NY    14001‐9727
JOHN J OLIVO                                        1214 OAKRIDGE DR                                                                                 LAPEER            MI    48446‐3705
JOHN J OLSZEWSKI                                    12863 CROFTSHIRE DR                                                                              GRAND BLANC       MI    48439‐1543
JOHN J OMELIAN                                      2900 W 900 S                                                                                     S WHITLEY         IN    46787‐9713
JOHN J ORAVETS                                      1338 CAVALCADE DR                                                                                YOUNGSTOWN        OH    44515‐3844
JOHN J OROURKE                                      444 E 86TH ST APT 24G                                                                            NEW YORK          NY    10028‐6462
JOHN J PADLO II                                     PO BOX 1164                                                                                      RIO LINDA         CA    95673‐9264
JOHN J PALKO                                        1572 NESHAMINY VALLEY DR                                                                         BENSALEM          PA    19020‐1226
JOHN J PAONESSA & MRS D MICKEY PAONESSA JT TEN      3258 ONTARIO AVE                                                                                 NIAGARA FALLS     NY    14305‐3318

JOHN J PAPPAS                                       9441 N 128TH WAY                                                                                 SCOTTSDALE        AZ    85259‐6235
JOHN J PARKER & SANDRA E PARKER JT TEN              53 BEACH ST                                                                                      MILFORD           MA    01757‐3409
JOHN J PARLAPIANO CUST JEFFREY MICHAEL MC           678 N BROAD ST APT B4                                                                            ELIZABETH         NJ    07208‐3448
ANDREW UGMA NJ
JOHN J PARRISH                                      ROUTE 1                                                                                          HART              MI    49420‐9801
JOHN J PASIONEK JR & PATRICIA A PASIONEK JT TEN     37 PINE ST                                                                                       NORWOOD           MA    02062‐1521

JOHN J PASKVAN                                      956 DANIELSON CT                                                                                 GURNEE            IL    60031‐4108
JOHN J PASTERNAK JR                                 5043 CLINTONVILLE PINES DR                                                                       CLARKSTON         MI    48346‐4170
JOHN J PATTENAUDE JR & GLORIA C PATTENAUDE JT       PO BOX 314                                                                                       MONSON            MA    01057‐0314
TEN
                                                09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 200 of 855
Name                                                Address1                                Address2             Address3          Address4          City             State Zip

JOHN J PATTON                                       14 MORGAN DRIVE                                                                                  EDISON           NJ    08817‐3520
JOHN J PEACOCK & VALORIE J PEACOCK JT TEN           14712 E COLGATE DR                                                                               AURORA           CO    80014‐3806
JOHN J PEILA                                        5474 PARKER BRANCH RD                                                                            FRANKLIN         TN    37064‐4402
JOHN J PELCHER                                      7471 S FITZHUGH ST                                                                               SODUS POINT      NY    14555
JOHN J PENDERGAST                                   14 PLEASANT CREEK CT                                                                             FAIRFIELD        OH    45014‐4863
JOHN J PERKINS JR & CONNIE H PERKINS JT TEN         101 HIGHPOINT ANCHORAGE                                                                          HENDERSONVILLE   TN    37075
JOHN J PERRY                                        1823 S HUBBARD RD                                                                                LOWELLVILLE      OH    44436‐9524
JOHN J PERUKA                                       BOX 423                                                                                          SCRANTON         PA    18501‐0423
JOHN J PETELKA                                      1132 ELLIS RD                                                                                    YPSILANTI        MI    48197‐8946
JOHN J PETERSAL                                     2330 ST RT 534 NW                                                                                SOUTHINGTON      OH    44470‐9573
JOHN J PETRAITS                                     2019 HAVEN TRAIL                                                                                 MARTINSVILLE     IN    46151
JOHN J PHELAN                                       323 NORTH RIVER ST                                                                               GUILFORD         CT    06437
JOHN J PHELAN & CAPITOLA E PHELAN JT TEN            12629 SAFETY TURN                                                                                BOWIE            MD    20715‐1918
JOHN J PHILBIN JR & CECELIA PHILBIN JT TEN          685 PINE ST                                                                                      EMMAUS           PA    18049‐2139
JOHN J PHILLIPS                                     2400 N CANAL                                                                                     LANSING          MI    48917‐8652
JOHN J PINTARELLI & MARY PINTARELLI JT TEN          103 MICHIGAN AVE                                                                                 CRYSTAL FALLS    MI    49920
JOHN J PISO                                         9120 W HIGHLAND PARK AVE                APT 313                                                  FRANKLIN         WI    53132‐8003
JOHN J PLACEK                                       707 S KASPAR                                                                                     ARLINGTON        IL    60005‐2321
                                                                                                                                                     HEIGHTS
JOHN J PLANTHABER                                   507 WILDER AVE                                                                                   HURON            OH    44839‐2533
JOHN J POBOCIK                                      4014 S DUFFIELD ROAD                                                                             LENNON           MI    48449‐9419
JOHN J POLOISKY                                     5 SAVOY ST                                                                                       COLONIA          NJ    07067‐1816
JOHN J POLOISKY & ELIZABETH POLOISKY JT TEN         5 SAVOY STREET                                                                                   COLONIA          NJ    07067‐1816
JOHN J POTOCKI                                      723 JOHNSTON AVE                                                                                 TRENTON          NJ    08629‐1117
JOHN J POTOCKY & JOAN POTOCKY JT TEN                1634 HEATHER DRIVE                                                                               MUNSTER          IN    46321‐3906
JOHN J PRESTON & MRS BARBARA L PRESTON JT TEN       44 STANHOPE RD                                                                                   SPARTA           NJ    07871‐2231

JOHN J PRINCE                                       87 ROSEGLEN RD                          PORT HOPE ON                           L1A 3V6 CANADA
JOHN J PUK                                          UNITED STATES                           1520 SALOMON LANE                                        WAYNE            PA    19087‐1103
JOHN J PURCELL                                      8808 SIGNATURE LN                                                                                CRESTWOOD        MO    63126‐2134
JOHN J QUINN                                        2333 FIELD STONE CURV                                                                            SAINT PAUL       MN    55129‐6218
JOHN J RAFAY                                        18800 WESTWOOD DR                       APT 222                                                  STRONGSVILLE     OH    44136‐3437
JOHN J RANKIN JR & MARIE P RANKIN JT TEN            208 W ALBEMARLE AVE                                                                              LANSDOWNE        PA    19050‐1127
JOHN J RAPHAEL                                      269 BEACH 140TH ST                                                                               BELLE HARBOR     NY    11694‐1221
JOHN J RAU                                          4210 E HUNTERS CREEK                                                                             METAMORA         MI    48455‐9223
JOHN J RAVELO                                       13285 SW 44 ST                                                                                   DAVIE            FL    33330‐4712
JOHN J RAVELO & TERESA C RAVELO JT TEN              13285 SW 44 STREET                                                                               DAVIE            FL    33330‐4712
JOHN J REEVES                                       1412 COVINGTON DR                                                                                DESOTO           TX    75115‐7704
JOHN J REGIS                                        14702 MANN RD                                                                                    HICKORY CORNE    MI    49060‐9746
JOHN J RESS                                         6712 N LAWNDALE                                                                                  LINCOLNWOOD      IL    60712‐3712
JOHN J RESSLAR                                      19824 GALLAHAD DR                                                                                MACOMB           MI    48044‐1755
JOHN J RICHARD                                      231 WEST GREYSTONE RD                                                                            OLD BRIDGE       NJ    08857‐3423
JOHN J RIKER                                        12 COLLINSON DR                                                                                  MIDDLETOWN       NJ    07748‐1560
JOHN J RILEY                                        85 CEDAR ST                                                                                      WELLESLEY        MA    02481‐3523
JOHN J RINALDO & PATRICIA RINALDO JT TEN            2639 SE TROPICAL EAST CIR                                                                        PORT ST LUCIE    FL    34952‐7233
JOHN J RITCHEY                                      RT 1 BOX 90                                                                                      ALVARADO         TX    76009‐9801
JOHN J RIVERA                                       102 HIALEAH CT                                                                                   SUMMERVILLE      SC    29483‐8241
JOHN J ROACH                                        226 CARVEL RD                                                                                    PASADENA         MD    21122‐3110
JOHN J ROBIADEK                                     5134 FORREST VW                                                                                  CLARKSTON        MI    48346‐4133
JOHN J ROBINSON JR & BRIGID ROBINSON JT TEN         1231 GRAYTON                                                                                     GROSSE POINTE    MI    48230‐1163
                                                                                                                                                     PARK
JOHN J ROCHETTE                                     5300 W 96TH ST                                                                                   INDIANAPOLIS     IN    46268‐3905
JOHN J ROCHETTE & ELIZABETH J ROCHETTE JT TEN       5300 W 96TH ST                                                                                   INDIANAPOLIS     IN    46268‐3905

JOHN J RODRIGUEZ                                    254 RIVERSIDE DR                                                                                 EDGERTON         OH    43517‐9661
JOHN J ROLETTER                                     1873 KENTWOOD ST                                                                                 PHILADELPHIA     PA    19116‐3835
JOHN J ROTE & RUTH I ROTE TR ROTE FAMILY TRUST UA   1240 TELEGRAPH ST # 95                                                                           WASHINGTON       UT    84780‐8843
12/05/97
JOHN J RUBEY                                        8189 KEARSLEY CREEK DR                                                                           DAVISON          MI    48423‐3410
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 201 of 855
Name                                               Address1                               Address2             Address3          Address4                 City            State Zip

JOHN J RUDNYAI                                     PO BOX 17                                                                                              GOSHEN          CT    06756‐0017
JOHN J RUDZINSKI & DAVID J RUDZINSKI JT TEN        34 BAXTER AVE                                                                                          KENSINGTON      CT    06037‐2202
JOHN J RUSSELL & ROSELL V RUSSELL JT TEN           58 BEVERLY ROAD                                                                                        ORADELL         NJ    07649‐2638
JOHN J RYAN CUST MISS KATHLEEN RYAN UGMA NY        7 MEADOW WAY                                                                                           EAST HAMPTON    NY    11937‐3264

JOHN J RYAN TR JOHN J RYAN 1998 REVOCABLE TRUST 39 OAKLAND AVE                                                                                            NEEDHAM         MA    02492‐3112
UA 09/02/98
JOHN J SACEK                                     3240 LAKE OSBORNE DRIVE #4‐109                                                                           LAKE WORTH      FL    33461‐5971
JOHN J SALAZAR                                   4355 9TH ST                                                                                              ECORSE          MI    48229‐1131
JOHN J SALMON                                    40 WELL STREET                           BURY ST EDMUNDS      SUFFOLK           IP33 1EQ GREAT BRITAIN
JOHN J SALVALZO                                  2177 BEDELL RD                           APT D                                                           GRAND ISLAND    NY    14072‐1626
JOHN J SAMALIK                                   2213 W PINE RIVER RD                                                                                     BRECKENRIDGE    MI    48615‐9611
JOHN J SAVAGE JR                                 PO BOX 262                                                                                               CHESHIRE        CT    06410‐0262
JOHN J SAVISKI                                   1180 PYNCHON HALL                                                                                        WEST CHESTER    PA    19382‐7281
JOHN J SCANLON & JUNE SCANLON JT TEN             15 HANCOCK PL                                                                                            SOMERSET        NJ    08873‐7404
JOHN J SCASSO                                    PO BOX D                                 RTE 2                                                           MILLERTON       NY    12546‐9802
JOHN J SCHEIBLING                                715 GREEN                                                                                                GRAND LEDGE     MI    48837‐1832
JOHN J SCHELLENBERGER CUST JILL M SCHELLENBERGER 8301 PEKIN RD                                                                                            GREENVILLE      IN    47124‐9403
UTMA IN
JOHN J SCHENDEN & KATHRYN LEE SCHENDEN JT TEN    9 GLENMOOR CIR                                                                                           ENGLEWOOD       CO    80110‐7121

JOHN J SCHEURER JR                                 204 SAPPINGTON DR                                                                                      COLUMBIA        MO    65203‐1649
JOHN J SCHLAGEL                                    2539 LOGGING TRAIL #1                                                                                  WEST BRANCH     MI    48661‐9440
JOHN J SCHLAGEL & SHARON L SCHLAGEL JT TEN         2539 LOGGING TRAIL #1                                                                                  WEST BRANCH     MI    48661‐9440
JOHN J SCHLESSER                                   21136 SERENE LAKE WAY                                                                                  CREST HILL      IL    60403‐0813
JOHN J SCHULTE & WILMA H SCHULTE JT TEN            3315 E 8TH STREET                                                                                      ANDERSON        IN    46012‐4601
JOHN J SCHWARZ & MRS JOAN B SCHWARZ TEN ENT        158 BUNNELL POND RD                                                                                    HONESDALE       PA    18431‐3215

JOHN J SCORZA                                      1270 ITASCA RD                                                                                         ADDISON         IL    60101‐1100
JOHN J SEHR & EMILY E SEHR TR SEHR FAMILY TRUST UA 316 N CECIL                                                                                            INDIANAPOLIS    IN    46219‐5301
10/21/04
JOHN J SELLMAN & BARBARA N SELLMAN JT TEN          94 MOHAWK                                                                                              PONTIAC         MI    48341‐1123
JOHN J SEMON TR SEMON LIVING TRUST UA 08/14/98 2556 LAND PARK DR                                                                                          SACRAMENTO      CA    95818‐2244

JOHN J SEVEGNEY CUST DEBORAH M SEVEGNEY U/THE      ATTN DEBORAH M HESTER                  3610 KINGSWAY DR                                                HIGHLAND        MI    48356‐1844
MICHIGAN U‐G‐M‐A
JOHN J SHANSHALA                                   78 HIGHLAND AVE                                                                                        YOUNGSVILLE     PA    16371‐1136
JOHN J SHARKEY                                     312 PEBBLEBEACH DR                                                                                     GOLETA          CA    93117
JOHN J SHEEHAN                                     56 HARMONY WAY                                                                                         NEWTOWN         PA    18940‐1261
JOHN J SHEERINS                                    4 BERKSHIRE ROAD                                                                                       PARK RIDGE      NJ    07656‐2502
JOHN J SHELLEM                                     1313 JERICHO RD                                                                                        ABINGTON        PA    19001‐3312
JOHN J SHERIDAN                                    350 N 8TH STREET                                                                                       MIDDLETOWN      IN    47356‐1024
JOHN J SHIMSHOCK                                   178 FULTON STREET                                                                                      NEW BRUNSWICK   NJ    08901‐3427
JOHN J SIDDOCK                                     1525 HIAWATHA DRIVE                                                                                    OWOSSO          MI    48867‐1461
JOHN J SIECZKARSKI                                 57 PALMER AVENUE                                                                                       KENMORE         NY    14217‐1909
JOHN J SIENKIEWICZ & KALYNN R SIENKIEWICZ JT TEN   2415 CORRELL DR                                                                                        LAKE ORION      MI    48360‐2259

JOHN J SILOGY JR                                   74 MCARTHUR DR                                                                                         EDISON          NJ    08837‐2828
JOHN J SIMONCELLI                                  1085 N BRANDON AVE                                                                                     SIMI VALLEY     CA    93065‐4913
JOHN J SIMPSON                                     7450 AMHERST                                                                                           SAINT LOUIS     MO    63130‐2933
JOHN J SINGER                                      22800 60TH AVE                                                                                         BARRYTON        MI    49305‐9739
JOHN J SINGER III                                  4630 BITTERSWEET LN                                                                                    GOODRICH        MI    48438‐9626
JOHN J SKOLNIK JR                                  5505 ANTOINETTE DRIVE                                                                                  GRAND BLANC     MI    48439‐4383
JOHN J SKOLNIK JR TR JOHN J SKOLNIK JR TRUST UA    5505 ANTOINETTE DR                                                                                     GRAND BLANC     MI    48439‐4383
06/08/06
JOHN J SKUTNIK                                     101 HARRISON PLACE                                                                                     PARLIN          NJ    08859‐1632
JOHN J SLAYNE & MRS MARY A SLAYNE JT TEN           148 E WASHINGTON AVE                                                                                   PEARL RIVER     NY    10965‐2541
JOHN J SMIALKOWSKI SR & DOROTHY M SMIALKOWSKI      130 GREENMEADOW DR                                                                                     TIMONIUM        MD    21093‐3407
JT TEN
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 202 of 855
Name                                             Address1                             Address2             Address3          Address4          City               State Zip

JOHN J SMITH & LOUISE M SMITH JT TEN             7 IRIS LANE                          MONARCH PLACE                                            BRISTOL          VA      24201‐3139
JOHN J SNIEZEK                                   6147 ROCKLAND                                                                                 DEARBORN HEIGHTS MI      48127‐2990

JOHN J SNYDER                                    33 CR 7922                                                                                    BROOKLAND          AR    72417
JOHN J SNYDER JR                                 PO BOX 40                                                                                     WASHINGTON         PA    17582‐0040
                                                                                                                                               BOROUGH
JOHN J SOBIESIAK                                 12215 HILL RD                                                                                 RILEY              MI    48041‐1813
JOHN J SOBOL                                     364 WABASH AVE                                                                                KENMORE            NY    14217‐2206
JOHN J SOKOLOWSKI                                223PELLO RD                                                                                   BRICK              NJ    08724‐2517
JOHN J SPERDUTI JR                               4195 COLUMBIA PIKE                                                                            FRANKLIN           TN    37064‐7420
JOHN J SPODNICK                                  PO BOX 180                                                                                    WESTFIELD          OH    44251‐0180
JOHN J SPOHN JR                                  131 E GATES ST                                                                                COLUMBUS           OH    43206‐3623
JOHN J SPORER & ANNE M SPORER JT TEN             356 SOUTH 20TH STREET                                                                         TERRE HAUTE        IN    47803‐2106
JOHN J SPORIK JR & AARON J SPORIK JT TEN         2509 EAST AVE                                                                                 SPARROWS PT        MD    21219
JOHN J SPRADA                                    12659 WEST ROSEWOOD LANE                                                                      PEORIA             AZ    85383
JOHN J SPRAGUE                                   44 BARKWOOD LANE                                                                              SPENCERPORT        NY    14559‐2253
JOHN J SPUHLER                                   5133 ENGLISH OAK LANE                                                                         BESSEMER           AL    35022
JOHN J STANTON III                               66 EUCLID AVE                                                                                 STANFORD           CT    06902‐6234
JOHN J STANZAK                                   1075 CORWIN AVE                                                                               HAMILTON           OH    45015‐1838
JOHN J STEFFENS                                  2801 RESERVOIR RD                                                                             NEW WOODSTOCK      NY    13122‐9711

JOHN J STEGER                                    143 BROOKLEA DR                                                                               ROCHESTER          NY    14624‐2707
JOHN J STENGEL                                   501 TIDE WATER LN                                                                             BALTIMORE          MD    21220
JOHN J STEPHAN                                   746 E FOX HILLS DR                                                                            BLOOMFIELD HILLS   MI    48304‐1361

JOHN J STEPHENS & JANIS C STEPHENS JT TEN        6350 MAHOGANY DR                                                                              GALENA             OH    43021
JOHN J STILWELL                                  1874 PINEVIEW DR                                                                              YORK               PA    17404‐1470
JOHN J STOLBA JR                                 9011 CHESAPEAKE AVE                                                                           BALTIMORE          MD    21219‐1629
JOHN J STRAVERS                                  26612 S DIGSWELL CT                                                                           SUN LAKES          AZ    85248‐7110
JOHN J SUESS                                     3409 PIERCE DR                                                                                ELLICOTT CITY      MD    21042‐3639
JOHN J SUHADOLNIK                                17805 SUSAN AVE                                                                               CLEVELAND          OH    44111‐4148
JOHN J SULLIVAN                                  9606 53RD DR E                                                                                BRADENTON          FL    34211‐3764
JOHN J SZELA                                     4201 VASSAR                                                                                   TROY               MI    48098‐3774
JOHN J TARDIO & FELICIA C TARDIO JT TEN          11 CRAIGHEAD STREET                                                                           PITTSBURGH         PA    15211‐2103
JOHN J TARTIS & CAROL A TARTIS JT TEN            320 OLD FARM RD                                                                               GLEN GARDNER       NJ    08826‐3243
JOHN J TAYLOR                                    5110 SEVEN MILE                                                                               BAY CITY           MI    48706‐9774
JOHN J TAYLOR & LOUISE CATHERINE TAYLOR JT TEN   7817 CAYUGA AVE                                                                               BETHESDA           MD    20817‐4820

JOHN J TERKOWITSCH                               136 EAST DIVISION ST                                                                          VILLA PARK         IL    60181‐2204
JOHN J TESELSKY                                  13150 ITHACA RD                                                                               SAINT CHARLES      MI    48655‐9529
JOHN J TESLUK                                    705 HOWELL RD                                                                                 ALLENTON           MI    48002‐3618
JOHN J TESORIERO                                 1408 SUNDIAL CT                                                                               FORT MYERS         FL    33908‐1617
JOHN J TESTA                                     123 NAUTICAL DRIVE                                                                            VENICE             FL    34287‐6523
JOHN J THIERINGER                                3653 KLEMER RD                                                                                NO TONAWANDA       NY    14120‐1217
JOHN J THOM & PATSY J THOM JT TEN                3481 N GLAE RD                                                                                DAVISON            MI    48423‐8520
JOHN J THOMAS                                    116 WOODGREEN ROAD                                                                            CLAYMONT           DE    19703‐1316
JOHN J THOMAS                                    385 NORTHDALE RD                                                                              LAWRENCEVILLE      GA    30046‐4527
JOHN J THOMAS                                    10435 WHITNEYVILLE AVEN                                                                       ALTO               MI    49302‐9629
JOHN J TITCH                                     5515 KANLOW DR                                                                                NAPERVILLE         IL    60564‐4963
JOHN J TRACY                                     1042 MAPLE ST                                                                                 ALBION             MI    49224‐1184
JOHN J TRAVIS & OLIVIA E OLIU JT TEN             6021 SANDHILL RIDGE DR                                                                        LITHIA             FL    33547‐3884
JOHN J TROOST                                    5473 GREENBORO DR SE                                                                          KENTWOOD           MI    49508‐6043
JOHN J TUBA                                      36696 BRITTANY HILL                                                                           FARMINGTON         MI    48335
JOHN J TULL                                      2623 RIVER RD                                                                                 ATCHISON           KS    66002‐5132
JOHN J TURPENING                                 3998 LIPPINCOTT BLVD                                                                          LAPEER             MI    48446‐9752
JOHN J TUSKEY                                    26748 COMPSON STREET                                                                          ROSEVILLE          MI    48066‐7105
JOHN J TUTKO                                     65 BIRCH LANE                                                                                 WILMINGTON         IL    60481‐8762
JOHN J ULANOWSKI                                 11368 MCDOUGALL                                                                               HAMTRAMCK          MI    48212‐3029
JOHN J VALLE                                     2908 FOX DEN DRIVE                                                                            MONROE             NC    28110
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 203 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JOHN J VANATOR & MRS WILLODEAN E VANATOR JT TEN 730 E MYRTLE                                                                                     PHOENIX         AZ    85020‐5035

JOHN J VENDER JR                                  9 BEDFORD DRIVE                                                                                TRENTON         NJ    08628‐1902
JOHN J VENDITTI & MAUREEN M VENDITTI JT TEN       3325 SHEFFIELD AVE                                                                             PHILADELPHIA    PA    19136‐3514
JOHN J VINCKE                                     4302 NORTH VASSAR ROAD                                                                         FLINT           MI    48506‐1741
JOHN J VLAHAKIS CUST BARBARA L VLAHAKIS UGMA MI   1750 HITCHING POST                                                                             E LANSING       MI    48823‐2144

JOHN J VLAHAKIS CUST PAUL JOHN VLAHAKIS UGMA MI 4900 MONTROSE AVE                       STE 100                                                  OKEMOS          MI    48864‐1665

JOHN J VOURLIOTIS                                 11560 SOMERSET DR                     APT 211                                                  N ROYALTON      OH    44133‐2673
JOHN J WADLEY JR                                  103 HELEN CIRCLE                                                                               SEDALIA         MO    65301‐2220
JOHN J WADLEY JR & SHARON V WADLEY JT TEN         103 HELEN CIRCLE                                                                               SEDALIA         MO    65301‐2220
JOHN J WAHL                                       1530 HEMMETER                                                                                  SAGINAW         MI    48603‐4628
JOHN J WAHL                                       4962 YATES CIR                                                                                 BROOKFIELD      CO    80020‐5759
JOHN J WAHL JR                                    221 LOGAN ST                                                                                   ROCKFORD        IL    61103‐6364
JOHN J WAINRIGHT                                  10554 E ESTATES DR                                                                             CUPERTINO       CA    95014‐4508
JOHN J WALKER                                     3010 PLEASANT AVE                                                                              SANDUSKY        OH    44870‐5417
JOHN J WALSH                                      7301 EDENVILLE DR                                                                              SARASOTA        FL    34243‐1716
JOHN J WALSH                                      428 BRAFORD CIR                                                                                COLUMBIA        TN    38401‐5092
JOHN J WALSH & CATHLEEN ANN WALSH & MARY          7737 N SAGUARD DRIVE                                                                           PARADISE VLY    AZ    85253
WALSH FINLEY TR UA 04/03/1989
JOHN J WALTON SR                                  36 JOHN GREEN LANE                                                                             GEORGETOWN      SC    29440‐6999
JOHN J WARDEN & ELIZABETH B WARDEN JT TEN         608 SOUTH MARGARET COURT                                                                       WEST PALM BEACH FL    33413‐3439

JOHN J WASHNOCK                                   1041 BELDEN AVE                                                                                AKRON           OH    44310‐1713
JOHN J WATSON                                     481 OAK HILL SCHOOL RD                                                                         TOWNSEND        DE    19734‐9207
JOHN J WEBER                                      3424 E TILLMAN RD                                                                              FT WAYNE        IN    46816‐4206
JOHN J WEBER JR                                   255 FIRST STREET BOX 23                                                                        CLAY CENTER     OH    43408‐0023
JOHN J WEISS                                      109 STANLEY DR                                                                                 BAY CITY        MI    48708‐9118
JOHN J WENCK                                      5371 CANNAS DR                                                                                 CINCINNATI      OH    45238‐5257
JOHN J WENTE                                      393 NUTWOOD ST                                                                                 BREA            CA    92821‐2121
JOHN J WENZKE & ANNABELLE S WENZKE JT TEN         2121 E PHILADELPHIA STREET                                                                     YORK            PA    17402‐2328
JOHN J WENZKE & ANNABELLE S WENZKE JT TEN         2121 E PHILADELPHIA STREET                                                                     YORK            PA    17402‐2328
JOHN J WERNERT & KATHRYN A WERNERT JT TEN         14 ELIZABETH ST                                                                                PITTSBURGH      PA    15223‐1832
JOHN J WHALEN & SARA M WHALEN JT TEN              5302 MAYWOOD RD                                                                                MONONA          WI    53716‐3012
JOHN J WHEELER                                    37317 BENNETT ST                                                                               LIVONIA         MI    48152‐5101
JOHN J WIECZORECK                                 5 EAST HIGHLAND AVENUE                                                                         ATLANTIC HGLN   NJ    07716‐1228
JOHN J WIGLEY                                     166 DEER HUNTERS LANE                                                                          POWDER SPRING   GA    30127‐6593
JOHN J WIKLE                                      104 WYNONA DR                                                                                  EATON           OH    45320‐2226
JOHN J WIKLE & ROSINA T WIKLE JT TEN              104 WYNONA DR                                                                                  EATON           OH    45320‐2226
JOHN J WINN                                       11 CEDAR DR                                                                                    NEW BOSTON      NH    03070‐5130
JOHN J WISNIEWSKI                                 12 LOXLEY ROAD                                                                                 BUFFALO         NY    14225‐2929
JOHN J WOLFE                                      2229 HEDGE AVE                                                                                 WATERFORD       MI    48327‐1139
JOHN J WORDEN                                     1966 E STEVENSON LAKE RD                                                                       CLARE           MI    48617‐9162
JOHN J WORST                                      2239 TROY AVE                                                                                  BROOKLYN        NY    11234‐3642
JOHN J WROBEL                                     943 PAWNEE DR                                                                                  CROWN POINT     IN    46307‐4515
JOHN J WURTS & JEANNE D WURTS JT TEN              201 TINLEY DRIVE                                                                               LANSING         MI    48911‐5054
JOHN J YANOVIAK & MARY ANN YANOVIAK JT TEN        8752 NW 76TH DR                                                                                TAMARAC         FL    33321‐2453
JOHN J YAVOR & MRS NANCY YAVOR JT TEN             2 SINGLETON ST                                                                                 SOUTH AMBOY     NJ    08879‐2020
JOHN J YOUNG                                      20180 KLINGER                                                                                  DETROIT         MI    48234‐1744
JOHN J YUCKA                                      39552 ROBERT LANE                                                                              ELYRIA          OH    44035‐8176
JOHN J ZAHNER                                     4204 DILLINGHAM DR                                                                             TECUMSEH        MI    49286‐9690
JOHN J ZALEWSKI & JENNIE ZALEWSKI JT TEN          6630 PLAINFIELD                                                                                DEARBORN HTS    MI    48127‐3945
JOHN J ZEMKO                                      2635 LA SALLE BLVD                                                                             LANSING         MI    48912‐4249
JOHN J ZIEMBA                                     3251 HANOVER CT                                                                                MILFORD         MI    48380‐3234
JOHN J ZINGER                                     102 LAKE FIFTEEN RD                                                                            IRON RIVER      MI    49935‐8446
JOHN J ZOLLER                                     553 GARDEN ST                         PO BOX 635                                               LITTLE FALLS    NY    13365‐0635
JOHN J ZOLLER                                     26 DIAMOND ST                                                                                  LITTLE FALLS    NY    13365‐1208
JOHN J ZOVKO & KAREN A ZOVKO JT TEN               3427 S MARSHFIELD AVE                                                                          CHICAGO         IL    60608‐6209
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 204 of 855
Name                                              Address1                              Address2             Address3          Address4            City              State Zip

JOHN J ZUCCA                                      618 MANZANITA WAY                                                                                WOODSIDE          CA    94062
JOHN JACKSON                                      11481 ENGLESIDE                                                                                  DETROIT           MI    48205‐3211
JOHN JACKSON                                      1512 PINE AVE                                                                                    BIRMINGHAM        AL    35211‐5056
JOHN JACKSON JR                                   15 COLFAX AVENUE                                                                                 BUFFALO           NY    14215‐2601
JOHN JACOB JIBOTIAN & LINDA RAE JIBOTIAN JT TEN   1422 SPRINGHAVEN CIR                                                                             MASSILLON         OH    44646

JOHN JACOB MENTINK                                5663 LAKEWOOD CIRCLE                                                                             WASHINGTON        WV    26181‐9517
JOHN JACOB MEYERS IV                              2383 E LANSDOWNE PL                                                                              HGHLNDS RANCH     CO    80126
JOHN JACOB SIDDALL                                4108 N WOLCOTT                        APT 1                                                      CHICAGO           IL    60613
JOHN JACOB SR                                     1056 HEREFORD RD                                                                                 CLEVELAND         OH    44112‐3638
                                                                                                                                                   HEIGHTS
JOHN JACOB VANDER ZEE                             16 MONTGOMERY AVE                                                                                MONTVILLE         NJ    07045‐9632
JOHN JAMES                                        1912 HANCOCK ST                                                                                  BELLEVUE          NE    68005
JOHN JAMES BENEDETTI                              13 BONNER DR                                                                                     QUEENBURY         NY    12804‐1000
JOHN JAMES BUTLER                                 17213 BLOSSOM VIEW DR                                                                            OLNEY             MD    20832‐2405
JOHN JAMES COLVIN                                 7 ALDEN COURT                                                                                    MALVERNE          NY    11565‐2104
JOHN JAMES CORAZZINI                              446 6TH ST                                                                                       GREENPORT         NY    11944‐1855
JOHN JAMES KELLY                                  99 GREEN GROVE AVENUE #77A                                                                       KEYPORT           NJ    07735‐1956
JOHN JAMES MC CORT                                2654 E WATERFORD AVE                                                                             FRESNO            CA    93720‐4642
JOHN JAMES MORGAN & MARGARET MORGAN JT TEN        15734 PORTIS RD                                                                                  NORTHVILLE        MI    48167‐2033

JOHN JAMES WALLACE                                101 BOCAGE CIR                                                                                   LAFAYETTE         LA    70503‐4354
JOHN JAMES WRIGHT                                 2712 CRESTON RD                                                                                  BALTIMORE         MD    21222‐2207
JOHN JANAVS                                       11739 LAURELCREST DR                                                                             STUDIO CITY       CA    91604‐3816
JOHN JANDOVITZ & GLORIA JANDOVITZ JT TEN          4401 LAKEWOOD AVE                     # 146                                                      BRADENTON         FL    34208‐8025
JOHN JANUSCH & ELEANOR JANUSCH JT TEN             7 BROOKE DRIVE                                                                                   NOVATO            CA    94947‐3711
JOHN JAROS                                        429 JULEP AVE N                                                                                  LAKE ELMO         MN    55042‐9305
JOHN JASINSKI & DENISE JASINSKI JT TEN            421 W THOMPSON                                                                                   MARYVILLE         MO    64468‐2459
JOHN JASPER CUST MATTHEW CLETUS JASPER UGMA IL    281 COLUMBINE DR                                                                                 CLARENDON HILLS   IL    60514‐1007

JOHN JAUCH                                     953 MALONE AVE                                                                                      DAYTON            OH    45429‐5517
JOHN JAY ANDERSEN CUST DUSTIN ANDERSEN UTMA UT 8253 VARDON LN                           APT 301                                                    CORDOVA           TN    38016‐4103

JOHN JEFFERS & SHARON JEFFERS JT TEN              63 STONY BROOK RD                                                                                HOPEWELL          NJ    08525‐2806
JOHN JEFFERSON JR                                 5418 BLAINE SE                                                                                   KENTWOOD          MI    49508‐6033
JOHN JENKINS                                      840 PARKWOOD                                                                                     PONTIAC           MI    48340‐3027
JOHN JENNINGS & MRS KATHLEEN JENNINGS JT TEN      8 LOCUST LANE                                                                                    GLEN HEAD         NY    11545‐2802

JOHN JEREMIAH POWERS                              8 ELIZABETH LANE                                                                                 PAXTON            MA    01612‐1339
JOHN JERRY CHARBONEAU                             876 LAPARELL RD                                                                                  CHEBOYGAN         MI    49721‐9799
JOHN JEWETT EARLE JR                              440 CENTRAL PARK PLACE                                                                           BRENTWOOD         CA    94513‐6031
JOHN JIBOTIAN                                     1422 SPRINGHAVEN CIR NE                                                                          MASSILLON         OH    44646‐2565
JOHN JIMERSON COOK                                301 ROCKLEDGE DR                                                                                 BAY VILLAGE       OH    44140‐2712
JOHN JOFKO CUST MICHAEL J JOFKO UGMA VA           3434 W RIDGE CIR SW                                                                              ROANOKE           VA    24014‐4239
JOHN JOHNSON CUST JAKE JOHNSON UTMA CA            4234 SHEPHERDS LN                                                                                LA CANADA FLT     CA    91011
JOHN JONES JR                                     1028 DON MIGUEL ST                                                                               MADERA            CA    93638‐4861
JOHN JORDAN                                       910 EAST 48TH STREET                                                                             BROOKLYN          NY    11203‐6604
JOHN JORDAN JR                                    1219 N WELLS ST                       #2                                                         FORT WAYNE        IN    46808‐2791
JOHN JOSEPH ANASIEWICZ                            2017 BIRCHWOOD DR                                                                                NORRISTOWN        PA    19401‐2016
JOHN JOSEPH ASHING                                111 ROTHWELL RD                                                                                  WILMINGTON        DE    19805‐1052
JOHN JOSEPH BARBERA                               7084 SPARLING DR                                                                                 SHELBY TOWNSHIP   MI    48316‐5316

JOHN JOSEPH BOYLE                                 BROWNSGROVE HOUSE                     BROWNSGROVE          TUAM              CO GALWAY IRELAND
JOHN JOSEPH BRYANT                                10402‐3 N 10TH ST                                                                                PHOENIX           AZ    85020
JOHN JOSEPH CZWALGA                               1834 OAK ROAD                                                                                    NORTH BRUNSWI     NJ    08902‐2535
JOHN JOSEPH DERING                                3982 N HIGH ST                                                                                   COLUMBUS          OH    43214
JOHN JOSEPH HAMEL                                 35905 HUNTER                                                                                     WESTLAND          MI    48185‐6664
JOHN JOSEPH HATCH MORROW                          2164 MYRTLE BEACH LN                                                                             DANVILLE          CA    94526‐6214
JOHN JOSEPH HUTCHINS                              11455 RIDDLE DR                                                                                  SPRING HILL       FL    34609‐3446
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 205 of 855
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

JOHN JOSEPH JOYCE                                 7000 SY RD                                                                                      NIAGARA FALLS      NY    14304
JOHN JOSEPH MANCUSO & MARY JANE MANCUSO JT        23‐72 25TH ST                                                                                   ASTORIA            NY    11105‐3108
TEN
JOHN JOSEPH MORRISSEY & MARYANN MORRISSEY JT      106 S ACTON RD                                                                                  STOW               MA    01775‐2107
TEN
JOHN JOSEPH NICKERSON                             114 WEST WATER STREET                                                                           ROCKLAND           MA    02370‐2447
JOHN JOSEPH ODONNELL                              4015 ARBOL DR                                                                                   PALO ALTO          CA    94306
JOHN JOSEPH OKEEFE                                1116 W LONG LAKE RD                                                                             BLOOMFIELD         MI    48302‐1963
JOHN JOSEPH REIDY & BRIDGET REIDY JT TEN          33‐65 14TH ST                          APT 8‐D                                                  LONG ISLAND CITY   NY    11106‐4650

JOHN JOSEPH SHEA III                              3508 BAINBRIDGE LN                                                                              FLOWER MOUND       TX    75022‐2889
JOHN JOSEPH SIEROTNIK                             106 FELDSPAR DRIVE                                                                              SYRACUSE           NY    13219‐3402
JOHN JOSEPH SISLER                                619 ANCHORAGE LANE                                                                              HOUSTON            TX    77079‐2535
JOHN JOSEPH STEWART                               46831 AMBERWOOD DRIVE                                                                           UTICA              MI    48317‐4102
JOHN JOSEPH SZELES                                273 CAVALIER AVE                                                                                SPRING HILL        FL    34606‐6510
JOHN JOSEPH TIERNAN & ROSEMARY S TIERNAN JT TEN   7916 QUARRY RIDGE WAY                                                                           BETHESDA           MD    20817‐6955

JOHN JOSEPH UPMAN JR & BETTY ELLEN UPMAN JT TEN 1915 LISMORE LANE                                                                                 BALTIMORE          MD    21228‐4845

JOHN JOSWICK                                      91895                                  1050 BIG JOE RD                                          MONTICELLO         FL    32344
JOHN JUI‐TEH YEH                                  7510 FREMLIN ST                        VANCOUVER BC                           V6P 3W6 CANADA
JOHN JUNIOR CLOYD                                 4948 BUFFALO RD                                                                                 ONEIDA             TN    37841‐7452
JOHN JURATOVAC JR                                 3933 EVELYN DR                                                                                  NO OLMSTED         OH    44070‐2136
JOHN JURCZYSZYN                                   8365 RIVERLAND                                                                                  STERLING HIEGHTS   MI    48314‐2467

JOHN JURZYSTA                                     432 BARTELL LN                                                                                  WEBSTER            NY    14580‐1753
JOHN JUSKOW                                       10 HOLLONQUIST DR STE#331 MB                                                  R2Y 2M5 CANADA
JOHN K ADAMS & LORI L ADAMS TEN ENT               2032 GOLD LEAF PARKWAY                                                                          CANTON             GA    30114‐9702
JOHN K ANDERSON                                   845 ST ANDREWS RD                                                                               SAGINAW            MI    48603‐5939
JOHN K ASHFORD                                    3320 PIKE CT                                                                                    CARLSBAD           NM    88220‐6014
JOHN K BACHMAN                                    130 MOUNTAIN ROAD                                                                               LENHARTSVILLE      PA    19534‐9420
JOHN K BAILEY                                     3331 4TH ST                                                                                     WAYLAND            MI    49348‐9419
JOHN K BATTERSHILL JR                             217 COUNTY RD 179                      PO BOX 82                                                WESTCLIFFE         CO    81252‐0082
JOHN K BELL                                       458 BEARDSLEY AVE                                                                               BLOOMFIELD         NJ    07003‐5662
JOHN K BIVER                                      3885 LAWNDALE                                                                                   SAGINAW            MI    48603‐1630
JOHN K BIVER & HELEN M BIVER JT TEN               3885 LAWNDALE                                                                                   SAGINAW            MI    48603‐1630
JOHN K BLANCHARD                                  2885 PLYMOUTH DR                                                                                SHELBY TWP         MI    48316‐4890
JOHN K BOLAND II                                  129 SPRINGFIELD WAY                                                                             DOVER              DE    19904‐9118
JOHN K BOYLE JR                                   632 WINLAWN DR                                                                                  COLLIERVILLE       TN    38017‐1118
JOHN K BRUS                                       13 VERMEER DR                          APT 11                                                   SOUTH AMBOY        NJ    08879‐2346
JOHN K CHANEY                                     7602 PINEWALK DR S                                                                              MARGATE            FL    33063‐8122
JOHN K CHAPMAN                                    11 SOUTH SECOND AVE                                                                             BROADALBIN         NY    12025‐2137
JOHN K CHISM                                      PO BOX 1234                                                                                     NEWCASTLE          OK    73065‐1234
JOHN K COFFEY                                     4128 HARVEY DR UNIT 92                                                                          WOOSTER            OH    44691
JOHN K CONGDON                                    3 MESSINGER ST                                                                                  RANDOLPH           NY    14772
JOHN K CREAGH CUST JOHN K CREAGH JR UGMA WI       3709 MICHIGAN AVE                                                                               MANITOWOC          WI    54220‐3024

JOHN K CUNNINGHAM & MARY P CUNNINGHAM JT TEN 95 DEEPDALE DR                                                                                       MANHASSET          NY    11030‐3319

JOHN K DAGG                                       7309 NEEDLE POINTE DR                                                                           SHELBY             MI    48316‐5345
JOHN K DANNA CUST MEGHAN CALDWELL DANNA           9415 GOLDFIELD LN                                                                               BURKE              VA    22015‐4213
UTMA VA
JOHN K DEBONO                                     6183 TRUMAN DRIVE                                                                               BELLEVILLE         MI    48111‐4209
JOHN K DELAY JR                                   7434 OVERDALE DR                                                                                DALLAS             TX    75240‐2743
JOHN K DIEHL & KAREN L DIEHL JT TEN               23730 BLACK OAK TRAIL                                                                           ATLANTA            MI    49709‐9773
JOHN K DONALD JR                                  256 BOARDMAN BLVD                                                                               YOUNGSTOWN         OH    44512‐6046
JOHN K DORSEY                                     108 W CONGRESS ST                                                                               CHARLES TOWN       WV    25414‐1622
JOHN K EMRICK                                     3132 HASSLER ST                                                                                 DAYTON             OH    45420‐1940
JOHN K FALON                                      APT 13                                 157 CHELSEA ST                                           EVERETT            MA    02149‐4637
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                    Part 4 of 8 Pg 206 of 855
Name                                            Address1                             Address2             Address3             Address4               City              State Zip

JOHN K FELBINGER                                1035 DALLET RD                                                                                        PITTSBURGH        PA    15227‐1347
JOHN K FRANKISH                                 4 VIOLET'S CLOSE                     NORTH CRAWLEY        NEWPORT PAGNELL MK   I6 9LG GREAT BRITAIN
JOHN K FREDERIKSEN                              175 GREGORY STREET                                                                                    ROCHESTER         NY    14620‐1331
JOHN K GALM & MRS BARBARA C GALM JT TEN         623 MARINE ST                                                                                         BOULDER           CO    80302‐5924
JOHN K GERARD                                   604 RAINBOW CT                                                                                        ANDERSON          IN    46013‐1165
JOHN K GIESBRECHT                               72 5TH AVE                           GIMLI MB                                  R0C 1B0 CANADA
JOHN K GRANT                                    3258 BRIARWOOD BLVD                                                                                   EAST POINT        GA    30344‐5312
JOHN K GREEN                                    1317 CHEROKEE RD                                                                                      LOUISVILLE        KY    40204‐2218
JOHN K GREENLEAF                                1537 BURESH AVE                                                                                       IOWA CITY         IA    52245‐5603
JOHN K GUSLER & KEVIN S GUSLER JT TEN           11848 E HILLS DR                                                                                      PLYMOUTH          MI    48170
JOHN K HARRIS                                   1260 THRUSH                                                                                           FLORISSANT        MO    63031‐3657
JOHN K HOPSON                                   112 HILLCREST CIRCLE                                                                                  CLARKSVILLE       TN    37043‐4901
JOHN K HOWDEN                                   RR 8                                 WATFORD ON                                N0M 2S0 CANADA
JOHN K JARMAN                                   2741 CHILO CEMETERY RD                                                                                FELICITY          OH    45120‐9737
JOHN K JONES                                    VILLA F 7 DONG HU LU                 XUHUI SHANGHAI       PR CHINA2            CHINA (PEOPLE'S REP)
JOHN K KARREN                                   1715 HUSTED AVE                                                                                       SAN JOSE          CA    95124‐1927
JOHN K KENNEDY CUST JACOB JOSEPH KENNEDY UTMA   400 ASBRY RUN DR                                                                                      WINSTON SALEM     NC    27106‐8744
NC
JOHN K KING                                     34 CHESTER RD                                                                                         DERRY             NH    03038‐1600
JOHN K LADAS CUST ERIKA LADAS UGMA MI           14551 IMLAY CITY RD                                                                                   CAPAC             MI    48014‐2507
JOHN K LANE                                     2616 RINGO RD                                                                                         INDEPENDENCE      MO    64057‐1411
JOHN K LEPPERT CUST JOHN K LEPPERT JR UGMA NY   27 SHADY LANE                                                                                         HUNTINGTON        NY    11743‐4523

JOHN K LEWIS                                    11615 BECK LANE                                                                                       BUMPASS           VA    23024‐8861
JOHN K MASON                                    2199 DOVE ST                                                                                          NEWTON            NC    28658‐8432
JOHN K MAYER                                    10 BLYMYER AVE                       APT 501                                                          MANSFIELD         OH    44903‐2349
JOHN K MAZZELL III                              20135 HANGAR ACCESS DR                                                                                FORT DRUM         NY    13602
JOHN K MC GUIRK                                 17719 SHARP ROAD                                                                                      SIDNEY            OH    45365‐8571
JOHN K MCDOUGALL                                5160 TOWNLINE                                                                                         BIRCH RUN         MI    48415‐9053
JOHN K MILLER                                   5173 E MEAD ROAD                                                                                      ELSIE             MI    48831‐9773
JOHN K MILLER                                   1499 WILDCAT CIR                                                                                      WACO              TX    76705
JOHN K MORIARTY JR                              2557 RIVER ROAD                                                                                       READING           PA    19605‐2840
JOHN K MORROW SR                                5841 EAST 43RD ST                                                                                     INDIANAPOLIS      IN    46226‐3301
JOHN K NEAST & BARBARA K NEAST TEN ENT          1006 CENTER AVE                                                                                       JIM THORPE        PA    18229‐1016
JOHN K NIEMAN                                   RFD #1 ALLEN RD                                                                                       BANNISTER         MI    48807‐9801
JOHN K NORTON                                   4777 SYCAMORE DRIVE                                                                                   YPSILANTI         MI    48197‐8234
JOHN K OERTHER                                  8159 GRAFTON ROAD                                                                                     NEWPORT           MI    48166‐9436
JOHN K PARKER                                   PO BOX 764                                                                                            DOUCETTE          TX    75942‐0764
JOHN K PATTON III                               9145 CALKINS RD                                                                                       FLINT             MI    48532‐5529
JOHN K PATTON JR                                641 E BALTIMORE BLVD                                                                                  FLINT             MI    48505‐6404
JOHN K PORTER CUST EVELYN Y PORTER A MINOR      5330 MOUNT VERNON NW PK                                                                               ATLANTA           GA    30327‐4736
U/LAWS OF GA
JOHN K QUINN III                                BOX 749 THEIMA DR                                                                                     HOPE VALLEY       RI    02832‐0749
JOHN K RAMMING                                  7974 CHESTNUT RIDGE RD                                                                                GASPORT           NY    14067‐9277
JOHN K READ JR                                  215 RAIN LILY TRL                                                                                     CHAPEL HILL       NC    27516‐0830
JOHN K REDMOND                                  2351 MARLETTE RD                                                                                      MARLETTE          MI    48453‐8944
JOHN K RENKE III                                10924 LIVINGSTON DR                                                                                   NEW PORT RICHEY   FL    34654‐6031

JOHN K REYNOLDS                                 53 E BARNES RD                                                                                        FOSTORIA          MI    48435‐9652
JOHN K RICE                                     1313 ROSER DR                                                                                         CARMI             IL    62821‐2253
JOHN K RILEY                                    3673 PLEASANT AVE                                                                                     HAMBURG           NY    14075‐4601
JOHN K ROBERTS JR                               4627 N LAKEWOOD DR                                                                                    PANAMA CITY       FL    32404‐6618
JOHN K SCHWARTZ JR                              1871 EASTERN PKWY                                                                                     SCHENECTADY       NY    12309‐6103
JOHN K SMITH                                    17260 REVERE                                                                                          SOUTHFIELD        MI    48076‐7722
JOHN K STENSON                                  4631 W 21ST ST                                                                                        CICERO            IL    60804‐2517
JOHN K STEWART                                  4013 N E CHANNEL DR                                                                                   LEES SUMMIT       MO    64064‐1530
JOHN K STILL                                    3501 MOINA MICHAELS RD                                                                                GOOD HOPE         GA    30641‐2113
JOHN K TABOR & MRS DOROTHY JEAN TABOR JT TEN    509 BLUFFVIEW DR                                                                                      BELLEAIR BLUFFS   FL    33770‐1310
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 207 of 855
Name                                           Address1                               Address2             Address3          Address4          City               State Zip

JOHN K TAKTIKOS                                351 ORCHARD LANE                                                                                CORTLAND         OH      44410‐1233
JOHN K VITTITOW                                4314 WOODGATE LANE                                                                              LOUISVILLE       KY      40220‐3065
JOHN K WALLESVERD                              539 CO RD NN                                                                                    WILSON           WI      54027‐2433
JOHN K WASENKO                                 4699 CHAREST AVE                                                                                WATERFORD        MI      48327‐3405
JOHN K WEBER                                   721 LAPWING RD                                                                                  EDMOND           OK      73003‐4820
JOHN K WILLIAMS                                14199 ST RD 38 E                                                                                NOBLESVILLE      IN      46060‐9360
JOHN K WILSON                                  H C R #1                               4380 KNOX AVE                                            ROSAMOND         CA      93560‐6427
JOHN K WILSON & ANITA B WILSON JT TEN          1100 CONRAD INDUSTRIAL DR                                                                       LUDINGTON        MI      49431‐2679
JOHN K WOODBURN                                2704 FAIRMOUNT LANE                                                                             SANDUSKY         OH      44870‐5970
JOHN K WRIGHT                                  5672 W LAKE SHORE DR                                                                            WEIDMAN          MI      48893‐9283
JOHN K WYKE                                    3348 MAGNOLIA DR                                                                                MARKHAM          IL      60426‐2789
JOHN K ZALENSKI                                10755 RONALD DR                                                                                 PARMA            OH      44130‐7206
JOHN KALAMAN & MRS PAULA KALAMAN JT TEN        210 SNOW HILL AVE                                                                               KETTERING        OH      45429‐1708
JOHN KALINICH                                  9100 SUMNER GROVE DR                                                                            LAUREL           MD      20708‐3540
JOHN KALINSKI                                  8056 FISHER                                                                                     WARREN           MI      48089‐2908
JOHN KAMITS                                    2716 LOUISE AVE                                                                                 BALTIMORE        MD      21214‐1212
JOHN KANE                                      48 HITCHING POST LN                                                                             BEDFORD          NH      03110‐4925
JOHN KAPCOE JR                                 25638 TIREMAN                                                                                   DEARBORN HGTS    MI      48127‐1130
JOHN KAPRALES                                  22W157 TEMPLE DR                                                                                MEDINAH          IL      60157‐9503
JOHN KASZA                                     4658 ROSALIE                                                                                    DEARBORN         MI      48126‐4108
JOHN KATKO JR                                  15 SE 9TH AVE                                                                                   DEERFIELD BCH    FL      33441‐4034
JOHN KAYANEK                                   G11081 POTTER RD                                                                                FLUSHING         MI      48433
JOHN KAZARIAN                                  34958 WHITE PINE TRAIL                                                                          FARMINGTON HILLS MI      48335‐4640

JOHN KEECH & BRENDA FISK KEECH JT TEN          923 W WASHINGTON                                                                                JONESBORO          AR    72401‐2674
JOHN KEITH BURT                                1708 RD 7                                                                                       GRAFTON            NE    68365‐3009
JOHN KEITH VINYARD                             BOX 1156                                                                                        MT PLEASANT        TX    75456‐1156
JOHN KEKI                                      1590 N COMPASS AVE                                                                              PORT CLINTON       OH    43452‐3699
JOHN KELLER                                    818 ALLSTON DR                                                                                  ROCHESTER HILLS    MI    48309‐1658
JOHN KELLEY & NANCY KELLEY JT TEN              401 VILLAGE RD                                                                                  PORT HUENEME       CA    93041‐3032
JOHN KENDALL MORGAN                            1657 WILLIAMSBURG COURT                UNIT B                                                   WHEATON            IL    60187‐8281
JOHN KENNEBREW                                 2024 S 19TH AVE                                                                                 BROADVIEW          IL    60153‐2942
JOHN KENNEDY                                   1336 ROOSEVELT AVE                                                                              SALT LAKE CTY      UT    84105‐2614
JOHN KERNISKY & LINDA A KERNISKY JT TEN        6805 BOB WHITE LN                                                                               SPOTSYLVANIA       VA    22553‐7743
JOHN KESTER                                    3231 PORTER CENTER RD                                                                           YOUNGSTOWN         NY    14174‐9734
JOHN KEVAN                                     60 TALL TIMBERS DR                                                                              FARMINGTON         CT    06032‐3171
JOHN KEVIN MC COTTER                           239 ROCKLYN AVE                                                                                 LYNBROOK           NY    11563‐3745
JOHN KEY                                       34700 JACLYN DR                                                                                 SOLON              OH    44139
JOHN KICI                                      7780 TIPSICO LAKE RD                                                                            HOLLY              MI    48442‐9132
JOHN KILLIAN NELSON & YVONNE GOMEZ NELSON JT   3665 COLONIAL AVENUE                                                                            LOS ANGELES        CA    90066‐2729
TEN
JOHN KILMER IV                                 22891 WALNUT LN                                                                                 GENOA              OH    43430‐1133
JOHN KIM                                       5560 HOLYOKE LANE                                                                               CHARLOTTE          NC    28226
JOHN KING SUNDE                                1737 W WARWICK LANE                                                                             SCHAUMBURG         IL    60193‐1176
JOHN KING TEAHEN JR                            2449 MULBERRY SQ                                                                                BLOOMFIELD HILLS   MI    48302‐0664

JOHN KIRBY                                     6 VISTA DRIVE                                                                                   BOONTON            NJ    07005‐9538
JOHN KIRKEBY                                   1702 MENSHA CT                                                                                  DIAMOND BAR        CA    91765‐2917
JOHN KISH                                      811 SHEILA DR                                                                                   JOLIET             IL    60435‐3023
JOHN KISS                                      430 LEON AVE                                                                                    PERTH AMBOY        NJ    08861‐2141
JOHN KISSANE                                   70 QUEEN ANN DR                                                                                 BASKING RIDGE      NJ    07920‐2331
JOHN KISSANE                                   18B ASHINGTON CLUB RD                                                                           FAR HILLS          NJ    07931
JOHN KISTER                                    3170 S CROLL RD                                                                                 BEAVERTON          MI    48612‐9479
JOHN KLAMO                                     8 HARVEST LANE                                                                                  MEDFORD            NJ    08055‐8450
JOHN KLEMAN                                    13 SUNSET DRIVE                                                                                 SHELBY             OH    44875‐9416
JOHN KLEPASKI                                  PO BOX 80                                                                                       PINCKNEY           MI    48169‐0080
JOHN KLIKNA                                    25 SYLVIA CT                                                                                    PLANTSVILLE        CT    06479‐1322
JOHN KLIMEK                                    10 JOHN ST                                                                                      GARFIELD           NJ    07026‐3626
JOHN KLINGNER & ANNE KLINGNER JT TEN           2374 ALBANY POST RD                                                                             WALDEN             NY    12586‐2246
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 208 of 855
Name                                          Address1                              Address2                    Address3   Address4          City              State Zip

JOHN KLOIAN JR                                2360 LERWICK LN                                                                                MILFORD           MI    48381‐1302
JOHN KOBACH                                   817 BROWN SQUIRREL LN                                                                          GOLDEN            CO    80401‐0903
JOHN KOBILCA & MRS ANNA KOBILCA JT TEN        2 AUDREY AVENUE APT 3                                                                          OYSTER BAY        NY    11771‐1583
JOHN KOCHISARLI                               2 WAGAMON DT                                                                                   WOODBURY          NY    11797‐1008
JOHN KOCISKY & LYNNE KOCISKY JT TEN           1349 N M‐13                                                                                    LINWOOD           MI    48634‐9412
JOHN KOH                                      204 BURWOOD AVE                                                                                ANN ARBOR         MI    48103
JOHN KOJIAN                                   1219 E DALLAS                                                                                  MADISON HEIGHTS   MI    48071‐4162

JOHN KOLY                                     1696 SOMMERSET SHIRE                                                                           FLORISSANT        MO    63031‐1563
JOHN KONCOS & GREGORY J KONCOS & SARAH E      7444 N OSCEOLA AVE                                                                             CHICAGO           IL    60631‐4433
KONCOS JT TEN
JOHN KONEFAL & DAWN KONEFAL JT TEN            13 BLAKSLEE PL                        BOX 33                                                   HILLBURN          NY    10931‐0033
JOHN KONSEZ                                   8274 ILENE DR                                                                                  CLIO              MI    48420‐8517
JOHN KOSTUN                                   649 CHENANGO ST                                                                                BINGHAMTON        NY    13901
JOHN KOWAL                                    24600 DUNNING                                                                                  DEARBORN          MI    48124‐3110
JOHN KOWALIK JR                               27 LAKE DRIVE                                                                                  FREEHOLD          NJ    07728‐1361
JOHN KOWALSKI                                 43 CHATHAM ST                                                                                  CHICOPEE          MA    01013
JOHN KRAEMER                                  785 LINDEN ROAD                                                                                TOMS RIVER        NJ    08753‐7811
JOHN KRAMER CUST STEPHEN KRAMER UGMA PA       145 HERITAGE GREEN DR                                                                          MONROE            OH    45050‐2317
JOHN KREBS                                    4105 DIANE DR                                                                                  FAIRVIEW PARK     OH    44126‐1711
JOHN KREMS JR                                 5441 CANNAS DRIVE                                                                              CINCINNATI        OH    45238‐5149
JOHN KRICH                                    178 GLENVIEW RD                                                                                SOUTH ORANGE      NJ    07079‐1135
JOHN KRILL                                    5424 DEERBROOKE CREEK CIR             APT 8                                                    TAMPA             FL    33624‐2813
JOHN KRUGER & RANDI KRUGER JT TEN             5 EVERGREEN CT                                                                                 TOWACO            NJ    07082‐1459
JOHN KRYSTAN                                  61 GATES‐GREECE T L ROA                                                                        ROCHESTER         NY    14606‐3441
JOHN KUNEN & MRS HENRIETTA J KUNEN JT TEN     2430 FLORAL DR                                                                                 ZEELAND           MI    49464‐9103
JOHN KUNST JR                                 281 HEBERLE RD                                                                                 ROCHESTER         NY    14609‐1802
JOHN KURAS                                    690 ALDRICH RD                                                                                 HOWELL            NJ    07731‐1934
JOHN KUSNER & MRS JULIA KUSNER JT TEN         212 SHERRY ST                                                                                  WOODBRIDGE        NJ    07095‐1719
JOHN KUTYBA                                   PO BOX 7250                                                                                    CHICAGO           IL    60680‐7250
JOHN KUZMOVICH                                247 MAIN ST                                                                                    ERNEST            PA    15739
JOHN KYPRIANOS                                16441 WATERMAN                                                                                 ROSEVILLE         MI    48066‐3750
JOHN L ADAMS                                  598 COLLIER RD                                                                                 PONTIAC           MI    48340‐1309
JOHN L ADKINS                                 1326 ELDORADO DR                                                                               FLINT             MI    48504‐3220
JOHN L AITKENS                                ROUTE 3                               BOX 301                                                  NEWPORT           AR    72112‐9803
JOHN L ANDERSON                               368 CLEARLAKE DRIVE WEST                                                                       NASHVILLE         TN    37217‐4521
JOHN L ANDREWS & LILLIAN E ANDREWS JT TEN     20 WAYTE ROAD                                                                                  BEDFORD           MA    01730‐1630
JOHN L ANTONAS                                95 CHAUCER CRT                                                                                 LAKEWOOD          NJ    08701
JOHN L ARNOTT                                 PO BOX 135                                                                                     ROSE CITY         MI    48654‐0135
JOHN L ASHBY                                  COUNTRY LIVING ‐ ROOM 11              1127 N LAKE PLEASANT ROAD                                HILLSDALE         MI    49242
JOHN L ASHELFORD                              15 TOWER LANE                                                                                  HUNTINGTON        CT    06484‐3552
JOHN L AUER                                   4 8TH DR                                                                                       DECATUR           IL    62521‐5407
JOHN L AVERY                                  3761 GOGGIN RD                                                                                 ALVA              FL    33920‐3703
JOHN L AYDENT                                 664 W RAMBLER CT                                                                               CASA GRANDE       AZ    85222‐6672
JOHN L AYDENT JR                              664 W RAMBLER CT                                                                               CASA GRANDE       AZ    85222‐6672
JOHN L AYRES                                  4 GREENWAY                            APT 11                                                   MANORVILLE        NY    11949‐3407
JOHN L BACHMAN                                151 N MAIN ST                         PO BOX 195                                               BRISTOL           CT    06011‐0195
JOHN L BAKLE                                  481 SWEETWATER WAY                                                                             HAINES CITY       FL    33844‐6361
JOHN L BALL                                   350 CHAPEL LOOP                                                                                MANDEVILLE        LA    70471‐2515
JOHN L BALOGH                                 8904 QUANDT                                                                                    ALLEN PARK        MI    48101‐1529
JOHN L BANACK                                 84 BROOKVIEW DR                                                                                WALLINGFORD       CT    06492‐2824
JOHN L BARBATO                                880 STILLWELL CT                                                                               WHEATON           IL    60187‐8400
JOHN L BARNETT                                2113 CANNIFF ST                                                                                FLINT             MI    48504‐2009
JOHN L BART                                   1133 LIVERNOIS AVE                                                                             DETROIT           MI    48209‐2360
JOHN L BASKIN                                 385 S BLVD W                                                                                   PONTIAC           MI    48341‐2464
JOHN L BATCHELDER                             500 N BRYAN RD                        UNIT M13                                                 MISSION           TX    78572‐8889
JOHN L BECK                                   2610 MARION AVE                                                                                LANSING           MI    48910‐2514
JOHN L BERG & MRS LOUISE O BERG JT TEN        71 HORSESHOE LANE NORTH                                                                        COLUMBUS          NJ    08022‐1057
JOHN L BEVERIDGE                              4 RIDGE TRAIL                                                                                  ORMOND BEACH      FL    32174‐4938
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 209 of 855
Name                                               Address1                            Address2              Address3         Address4          City              State Zip

JOHN L BIRO                                        435 AMBER DR SE                                                                              WARREN            OH    44484‐5809
JOHN L BISHOP                                      1951 PATTON DRIVE                                                                            INDIANAPOLIS      IN    46224‐5354
JOHN L BLACKBURN                                   14847 HEYDEN                                                                                 DETROIT           MI    48223‐2106
JOHN L BLAIR 3RD                                   826 E 8TH AVE                                                                                NEW SMYRNA        FL    32169‐3204
                                                                                                                                                BEACH
JOHN L BLAKKAN                                     03362 SPRINGWATER BEACH                                                                      BOYNE CITY        MI    49712‐9215
JOHN L BLAKKAN & RENA J BLAKKAN JT TEN             03362 SPRINGWATER BEACH                                                                      BOYNE CITY        MI    49712‐9215
JOHN L BLAZETIC                                    10820 MEADOWGRASS RD                                                                         STRONGSVILLE      OH    44149‐2117
JOHN L BLUE                                        516 E 12TH ST                                                                                BARTLESVILLE      OK    74003‐5013
JOHN L BOLAND                                      3275 HIDEAWAY BEACH DR                                                                       BRIGHTON          MI    48114‐4915
JOHN L BOLTER                                      8070 LAKE RD                                                                                 MONTROSE          MI    48457‐9718
JOHN L BOOK                                        11785 E LANSING RD                  LOT 18                                                   DURAND            MI    48429‐9746
JOHN L BOOMER                                      552 HIDDEN HARBOR DR                                                                         FAIRPORT HBR      OH    44077‐5590
JOHN L BOOZE & DORIS F BOOZE JT TEN                3900 SALDALE DR                                                                              RICHMOND          VA    23237‐1410
JOHN L BOWERS                                      520 RHODES DR                                                                                PALO ALTO         CA    94303
JOHN L BRACKEN                                     3503 SENATE COURT                                                                            VALENCIA          PA    16059
JOHN L BRADFORD                                    13324 CRENNELL AVE                                                                           CLEVELAND         OH    44105‐4706
JOHN L BRANDEIS CUST RENA S BRANDEIS UTMA NJ       991 W ALMONT PLACE                                                                           CITRUS SPRINGS    FL    34434‐4102

JOHN L BRANDON                                     505 S EUCLID                                                                                 DAYTON            OH    45407‐3106
JOHN L BRICE                                       1076 NORTHLAWN                                                                               BIRMINGHAM        MI    48009‐5008
JOHN L BRIDENTHAL                                  6689 SR 514                                                                                  BIG PRAIRIE       OH    44611‐9634
JOHN L BROWN                                       209 ROPER MOUNTAIN RD EXT                                                                    GREENVILLE        SC    29615‐4826
JOHN L BRUCH JR                                    521 SOUTH MAIN ST                                                                            MUNCY             PA    17756‐1723
JOHN L BRZEZNIAK                                   452 8TH ST                          APT B                                                    SAINT ALBANS      WV    25177‐2979
JOHN L BUCCHARE JR                                 11735 RIDGE                                                                                  PINCKNEY          MI    48169‐9532
JOHN L BUCHANAN                                    25168 GODDARD                                                                                TAYLOR            MI    48180‐3908
JOHN L BURKE                                       5100 W 57TH ST                                                                               SHAWNEE MISSION   KS    66205‐2831

JOHN L BURKHARDT                                   1408 MOSSWOOD LN                                                                             MODESTO           CA    95355‐1556
JOHN L BYRNS JR                                    7664 MERIDIAN LINE RD                                                                        JOHANNESBURG      MI    49751‐9430
JOHN L CAMERON                                     3526 TOBE ROBERTSON RD                                                                       COLUMBIA          TN    38401‐7502
JOHN L CAPORALE                                    15 TOWN LINE DR                                                                              CARMEL            NY    10512‐3974
JOHN L CARFI                                       5 WHALING DR                                                                                 WATERFORD         CT    06385‐3319
JOHN L CASTO                                       390 GIUANS LANE                                                                              EASTVIEW          KY    42732
JOHN L CAUGHEY CUST JOHN D CAUGHEY UNDER THE       10 GEORGETOWN WOODS DR                                                                       YOUNGSVILLE       NC    27596‐7613
OKLAHOMA U‐G‐M‐A
JOHN L CELEDONIA                                   1831 CLEMMENS AVE NW                                                                         WARREN            OH    44485‐2111
JOHN L CHIPNER                                     422 E MAIN ST                                                                                LOUDONVILLE       OH    44842‐1360
JOHN L CITKO & KATHERINE J CITKO JT TEN            32443 ROSSLYN                                                                                GARDEN CITY       MI    48135‐1282
JOHN L CLARK                                       5201 DESOTA RD                      SARSOTA                                                  SARASOTA          FL    34235
JOHN L CLARK                                       5085 TIOHERO                                                                                 CLARKSTON         MI    48348‐3388
JOHN L CLARK & EVELYN D CLARK JT TEN               5085 TIOHERO                                                                                 CLARKSTON         MI    48348‐3388
JOHN L CLOWER                                      3171 BUSHNELL CAMPBELL RD                                                                    FOWLER            OH    44418‐9762
JOHN L COCKING & JANET R COCKING JT TEN            2501 FLINTRIDGE                                                                              ORION             MI    48359‐1532
JOHN L COLBURN                                     8203 AMBER COVE DR                                                                           HUMBLE            TX    77346‐1654
JOHN L COLSON                                      178 LONGVIEW DR                                                                              W WEBSTER         NY    14580‐1410
JOHN L COOK & LILIA ANN COOK JT TEN                5310 ELK                                                                                     PECK              MI    48466
JOHN L COONEY                                      1919 KYNWYD ROAD                    NORTH GRAYLYN CREST                                      WILMINGTON        DE    19810‐3841
JOHN L COONEY & DORIS E COONEY /HIS WIFE TEN ENT   1919 KYNWYD ROAD                    NORTH GRAYLYN CREST                                      WILMINGTON        DE    19810‐3841

JOHN L COOPER                                      2205 N JANNEY AVE                                                                            MUNCIE            IN    47304‐2336
JOHN L COOPER                                      720 N GETTYSBURG AVE                                                                         DAYTON            OH    45417‐1612
JOHN L COPAS                                       105 MC KITTERICK AVENUE                                                                      JACKSON           OH    45640‐1021
JOHN L CORNEAL                                     2390 ARCERIO COURT                                                                           HOWELL            MI    48855
JOHN L CORNELIUS                                   766 THORNHILL DRIVE                                                                          CLEVELAND         OH    44108‐2313
JOHN L CORNELL                                     150 THELMA BURGE RD                                                                          DERIDDER          LA    70634‐7416
JOHN L CORRIVEAU                                   7475 HENDRICKS RD                                                                            BLISSFIELD        MI    49228
JOHN L COURTLEY                                    2150 TESSMER RD                                                                              ANN ARBOR         MI    48103‐8987
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 210 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JOHN L COX JR                                     44970 BEMIS RD                                                                                   BELLEVILLE        MI    48111‐9171
JOHN L COX JR & PEGGY A COX JT TEN                44970 BEMIS ROAD                                                                                 BELLEVILLE        MI    48111‐9171
JOHN L CRAFTON                                    1032 MOUNTAIN ROAD 5                                                                             MARTINSVILLE      VA    24112
JOHN L CRAIG                                      1222 COCHRAN AVE                                                                                 BALTIMORE         MD    21239‐3301
JOHN L CRAWFORD                                   1290 JOAN DR                                                                                     HAMILTON          OH    45013‐9616
JOHN L CRISWELL                                   9109 WHITCOMB                                                                                    DETROIT           MI    48228‐2215
JOHN L CRIVEA                                     207 ASHFORD AVE                                                                                  GREENVILLE        SC    29609‐4908
JOHN L CROWLEY                                    2571 BAY VISTA                                                                                   HIGHLAND          MI    48357‐4971
JOHN L CURL                                       1205 GROVE ST                                                                                    DEFIANCE          OH    43512‐2910
JOHN L CURREY                                     219 LITTLE POND DR                                                                               GREENVILLE        SC    29607‐5481
JOHN L CURREY & JOAN F CURREY JT TEN              2506 WALLACE PATE DR                                                                             GEORGETOWN        SC    29440‐7076
JOHN L DARDEN                                     118 STRAUSS ST                                                                                   BUFFALO           NY    14212‐1250
JOHN L DAVIES                                     3620 DEVONSHIRE                                                                                  STERLING HTS      MI    48310‐3721
JOHN L DAVIS                                      106 PARKS CIR                                                                                    WOODSTOCK         GA    30188‐4135
JOHN L DAVIS                                      1925 GROVER STREET                                                                               SHREVEPORT        LA    71101‐2238
JOHN L DAY                                        56 GRAY SQUARE DRIVE                                                                             ANDREWS           NC    28901‐9206
JOHN L DE ZERGA CUST RANDALL J DE ZERGA UGMA NJ   285 CHESTNUT RIDGE ROAD                                                                          WOODCLIFF LAKE    NJ    07677‐7738

JOHN L DEGOOD                                     510 PINE ST                                                                                      CORUNNA           MI    48817‐1034
JOHN L DELP JR                                    72 MICHIGAN DR                                                                                   SINKING SPG       PA    19608‐1359
JOHN L DEMARCO JR & PATRICIA A DEMARCO JT TEN     9303 GREENTREE DR                                                                                GRAND BLANC       MI    48439‐9504

JOHN L DEMASTUS                                   1973 IRISH PATH                                                                                  HARRISONBURG      VA    22802‐1202
JOHN L DESALVIO                                   1467 POWELLS TAVERN                                                                              HERNDON           VA    20170‐2881
JOHN L DESANTIS                                   8 HARBOUR POINTE CMN                                                                             BUFFALO           NY    14202‐4305
JOHN L DESHIELDS                                  1009 COOKS LN                                                                                    BALTIMORE         MD    21229‐1231
JOHN L DETER                                      1135 AGNES AVE                                                                                   JOHNSTOWN         PA    15905‐4607
JOHN L DICKINSON                                  10039 HARTWELL                                                                                   DETROIT           MI    48227‐3424
JOHN L DOEPKER                                    130 COTTAGE DR                                                                                   PRUDENVILLE       MI    48651‐9319
JOHN L DONALD                                     5502 TRACY DR                                                                                    YOUNGSTOWN        OH    44512‐3825
JOHN L DOSS                                       682 CORA ST                                                                                      WYANDOTTE         MI    48192‐2642
JOHN L DOUGLAS                                    4285 N 210 E                                                                                     MARION            IN    46952‐6634
JOHN L DOWNHOUR                                   10634 W 500 N                                                                                    KOKOMO            IN    46901‐8789
JOHN L DRISCOLL                                   400 S W MARION LANE                                                                              LEE'S SUMMIT      MO    64081‐2316
JOHN L DUELL                                      6554 ST JAMES DR                                                                                 INDIANAPOLIS      IN    46217‐3902
JOHN L DUELL & BARBARA ANN DUELL JT TEN           6554 ST JAMES DR                                                                                 INDIANAPOLIS      IN    46217‐3902
JOHN L DUNK                                       612 SW PRAIRIE ST                                                                                LAKE CITY         FL    32024
JOHN L DUNN                                       371 EAST 2ND ST                                                                                  COUDERSPORT       PA    16915‐9407
JOHN L DURST                                      1 COUNTRY LN                            RM L104                                                  BROOKVILLE        OH    45309‐7208
JOHN L DUVA                                       2632 MEADOWLARK DR                                                                               SIERRA VISTA      AZ    85635‐3462
JOHN L DWYER                                      828 GARY DR                                                                                      PLAINFIELD        IN    46168‐2210
JOHN L EBELL                                      312 SEVERN AVE                          APT E311                                                 ANNAPOLIS         MD    21403‐2573
JOHN L EDWARDS                                    176 LIBERTY                                                                                      PONTIAC           MI    48341‐1206
JOHN L EICHENSEHR                                 13725 SW ELECTRIC ST N                                                                           BEAVERTON         OR    97005‐2428
JOHN L ELLIOTT                                    692 HENRIETTA ST                                                                                 BIRMINGHAM        MI    48009
JOHN L ELLIS                                      1108 NE 59TH                                                                                     OKLAHOMA CITY     OK    73111‐7402
JOHN L ELLISON                                    3775 OAK HILL RD                                                                                 DOUGLASVILLE      GA    30135‐5019
JOHN L EMPIE & DEBORAH A EMPIE TR EMPIE LIVING    5890 SOUTH ST ROAD                                                                               AUBURN            NY    13021‐5655
TRUST UA 9/23/04
JOHN L ESPER                                      10388 E FARRAND ROAD                                                                             OTISVILLE         MI    48463‐9771
JOHN L ETCHEBARNE                                 38 MAGNOLIA DR                                                                                   CALISTOGA         CA    94515‐9788
JOHN L EVANS                                      1637 MILNER DR                                                                                   BEAVERCREEK       OH    45432‐2129
JOHN L FARMER                                     341 HICKORY FOREST                                                                               CHOCTAW           OK    73020‐7464
JOHN L FARRELL & JOYCE R FARRELL JT TEN           45514 SEAFORD DR                                                                                 MACOMB            MI    48044‐3555
JOHN L FARRIS CUST JOHN M FARRIS UTMA NC          1621 NOTTINGHAM DR                                                                               GASTONIA          NC    28054
JOHN L FAVA                                       34‐13 80TH ST APT 41                                                                             JACKSON HEIGHTS   NY    11372‐2702

JOHN L FEDDER                                     10049 M‐52                                                                                       ST CHARLES        MI    48655‐9591
JOHN L FERGUSON                                   16475 SE BLUFF RD                                                                                SANDY             OR    97055‐6530
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 211 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

JOHN L FESMIRE                                  36 BARKWOOD LN                                                                                  PALM COAST      FL    32137‐8834
JOHN L FIERST                                   5619 RUSSELL                                                                                    MISSION         KS    66202‐2508
JOHN L FONTES                                   3273 CLAN ALPINE DR                                                                             SPARKS          NV    89434‐1712
JOHN L FORYS                                    10292 POTTER RD                                                                                 DAVISON         MI    48423‐8110
JOHN L FOX                                      4011 LUVS CREEK DR                                                                              HOWELL          MI    48843‐9667
JOHN L FRANCIS                                  428 MADERA AVE #7                                                                               SUNNYVALE       CA    94086‐7422
JOHN L FRYE JR                                  1928 HUNTERS LN                        ORION TOWNSHIP                                           LAKE ORION      MI    48360
JOHN L FURGURSON                                310 HOMESTEAD DR                                                                                SEYMOUR         TN    37865‐5166
JOHN L GASSEL                                   4218 MT MORRIS RD                                                                               COLUMBIAVILLE   MI    48421‐9373
JOHN L GERAGHTY                                 24‐A AUDUBON ST                                                                                 ROCHESTER       NY    14610‐1502
JOHN L GERENCER                                 276 SOUTH OAK STREET                                                                            WHITE CLOUD     MI    49349‐9541
JOHN L GILBERT                                  17156 ILENE                                                                                     DETROIT         MI    48221‐2433
JOHN L GILBERT                                  PO BOX 1002                                                                                     ORMOND BEACH    FL    32175‐1002
JOHN L GIVENS                                   1392 CONSTANCE DRIVE                                                                            PONTIAC         MI    48340‐1377
JOHN L GOLDEN                                   2778 VAN WORMER                                                                                 SAGINAW         MI    48609‐9788
JOHN L GOLDEN                                   4042 BEECHWOOD DR                                                                               BELLBROOK       OH    45305‐1642
JOHN L GRAMMER                                  2705 CENTENNIAL DR                                                                              WOODLAND        CA    95776‐5308
JOHN L GREEN                                    5924 SUNCHASE CIRCLE                                                                            LANSING         MI    48917‐1273
JOHN L GUZOSKI                                  115 COOPER DRIVE                                                                                WATERBURY       CT    06704‐1620
JOHN L HAGOPIAN                                 39350 ROLAND DRIVE                                                                              STERLING HGTS   MI    48310‐2769
JOHN L HALEY                                    POBOX 7                                                                                         MINOT           ME    04258
JOHN L HALSEY                                   757 MECOX RD                                                                                    WATER MILL      NY    11976‐3608
JOHN L HAMELS                                   63 GREENFIELD ST                                                                                BUFFALO         NY    14214‐1916
JOHN L HAMILTON                                 4707 N MERIDIAN RD                                                                              LESLIE          MI    49251
JOHN L HAMLIN                                   12446 STATE ROUTE 55                                                                            ST PARIS        OH    43072‐9645
JOHN L HAMMOND JR                               425 RIVERSIDE DRIVE                    APT# 7H                                                  NY              NY    10025‐7737
JOHN L HANTHORNE                                6079 W CURTICE RD                                                                               EATON RAPIDS    MI    48827‐9102
JOHN L HARDY                                    118 HAMILTON STREET                                                                             ELYRIA          OH    44035‐3915
JOHN L HARNDEN JR                               908 OAK ST APT 3                                                                                VALLEY FALLS    KS    66088
JOHN L HARP                                     3007 S CENTRAL WAY                                                                              ANDERSON        IN    46011‐4530
JOHN L HARRIS                                   190 JERSEY ST                                                                                   SOUTH AMBOY     NJ    08879‐2141
JOHN L HARRIS & ELIZABETH E HARRIS JT TEN       4641 BARRINGTON DRIVE                                                                           YOUNGSTOWN      OH    44515
JOHN L HARRISON & KATHLEEN M HARRISON JT TEN    714 CENTRAL PARK BLVD                                                                           PORT ORANGE     FL    32127‐7553

JOHN L HASSLER                                  PO BOX 91                                                                                       ELMHURST        IL    60126‐0091
JOHN L HAZEN                                    6500 ELK RUN CT                                                                                 CLARKSTON       MI    48348‐2812
JOHN L HEDLUND                                  BOX B                                                                                           TONASKET        WA    98855‐0370
JOHN L HEMPSALL & CAROL J HEMPSALL JT TEN       4278 LATIFEE CT                                                                                 SWARTZ CREEK    MI    48473
JOHN L HENTHORNE & SHIRLEY A HENTHORNE JT TEN   1436 E GILBERT                                                                                  INDIANAPOLIS    IN    46227‐4665

JOHN L HERRING                                  2882 TUPRLO DR                                                                                  PANAMA CITY     FL    32405‐2035
JOHN L HESS                                     1079 HOLMDEN AVE                                                                                CLEVELAND       OH    44109‐1835
JOHN L HICKEY                                   PO BOX 11                                                                                       MANASQUAN       NJ    08736‐0011
JOHN L HILL                                     9560 FIELDING                                                                                   DETROIT         MI    48228‐1536
JOHN L HILLARD                                  312 VANCE LANE                                                                                  DANVILLE        IL    61832‐2839
JOHN L HILLIS                                   21228 POWERS RD                                                                                 DEFIANCE        OH    43512‐9069
                                                                                                                                                JUNCTION
JOHN L HILLIS                                   604 SHERWOOD DR                                                                                 DUBLIN          GA    31021‐5644
JOHN L HINDS & CAROLE J HINDS JT TEN            362 RIVERWOODS DRIVE                                                                            FLUSHING        MI    48433‐2100
JOHN L HITCH                                    17 COLEFAX CT                                                                                   WILMINGTON      DE    19804‐2949
JOHN L HITCHINGS                                1443 WEST 100TH PLACE                                                                           DENVER          CO    80260‐6209
JOHN L HOBSON                                   921 BURLINGTON DR                                                                               FLINT           MI    48503‐2922
JOHN L HOFER                                    1625 SE ST LUCIE BLVD                                                                           STUART          FL    34996
JOHN L HOFF                                     3612 INDIANA ST                                                                                 SAN DIEGO       CA    92103
JOHN L HOFFMAN                                  420 EAST 23RD ST                                                                                NEW YORK        NY    10010‐5033
JOHN L HOLMAN & DOROTHY HOLMAN TR REVOCABLE     23019 BENNER CT                                                                                 TORRANCE        CA    90505‐2822
TRUST 03/10/89 U‐A J L&
JOHN L HOLMES                                   20427 CHAREST                                                                                   DETROIT         MI    48234‐1653
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 212 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

JOHN L HOMOLA TR JOHN L HOMOLA REVOCABLE TRUST 2618 COVE CAY DR #403                                                                          CLEARWATER      FL    33776
UA 08/08/05
JOHN L HOOVER                                    3893 ANOKA                                                                                   WATERFORD       MI    48329‐2101
JOHN L HORSTMAN                                  BOX 248                                                                                      CONTINENTAL     OH    45831‐0248
JOHN L HOTCHKISS TR UA 08/07/2007 JOHN L         323 E 1000 N                                                                                 OGDEN           UT    84404
HOTCHKISS LIVING TRUST
JOHN L HOWDESHELL                                705 KENT DR                                                                                  WENTZVILLE      MO    63385‐1028
JOHN L HOYES                                     6216 W RAY RD                                                                                SWARTZ CREEK    MI    48473‐9122
JOHN L HUDSON                                    4922 SW HUDSON ST                                                                            SEATTLE         WA    98116‐4348
JOHN L HUFSTEDLER                                11560 BUTLER RD                                                                              WILLIS          MI    48191‐9728
JOHN L HURRY                                     1757 BOMAN RD                                                                                ALGER           MI    48610‐9597
JOHN L HURTH                                     W3823 EVERGREEN RD                                                                           FREDONIA        WI    53021‐9767
JOHN L INMAN & DAVID L INMAN JT TEN              PO BOX 2168                                                                                  CEDAR PARK      TX    78630
JOHN L JACKSON                                   324 E CLAYTON AVE                                                                            CLAYTON         NJ    08312‐1926
JOHN L JACKSON                                   99 DETROIT ST                                                                                DURAND          MI    48429‐1439
JOHN L JEFFERIES                                 325 LEATHER LEAF LANE                                                                        LEBANON         OH    45036
JOHN L JEFFERSON                                 18651 LAMONT                                                                                 DETROIT         MI    48234‐2230
JOHN L JOHNSON                                   345 SENECA RD                                                                                HORNELL         NY    14843‐1033
JOHN L JOHNSON                                   15909 GRANT AVENUE                                                                           MAPLE HEIGHTS   OH    44137‐2805
JOHN L JOHNSON & BRENDA A JOHNSON JT TEN         7600 FOREST KNOLL DR                                                                         DUBLIN          OH    43017‐8247
JOHN L JONES                                     2554 CARIBE DRIVE                                                                            LADY LAKE       FL    32159
JOHN L JORDAN                                    1285 DOEBLER DRIVE                  NO TONAWANDA                                             N TONAWANDA     NY    14120‐2205
JOHN L KANOUSE & CAROLYN S KANOUSE JT TEN        7825 FARINA WAY                                                                              INDIANAPOLIS    IN    46259‐6795
JOHN L KAPPLER                                   25 HOLLAND AVE                      PO BOX 247                                               PEAPACK         NJ    07977‐0247
JOHN L KATES                                     4709 BLUFF CIR                                                                               OAK GROVE       MO    64075‐8555
JOHN L KEAVENEY                                  44 WASHINGTON ST                                                                             RUMSON          NJ    07760‐1431
JOHN L KECK & MARIE E KECK JT TEN                6400 HIGHLAND RD                                                                             HOWELL          MI    48843‐9020
JOHN L KEEFE                                     1 SANDY VALLEY DR                                                                            WALPOLE         MA    02081‐2601
JOHN L KENNEDY                                   1710 COUNTRY CLUB DRIVE                                                                      MANSFIELD       TX    76063‐2621
JOHN L KENNEDY                                   1825 SOUTH BLVD                                                                              TROY            MI    48098‐1703
JOHN L KENNEY                                    PO BOX 697                                                                                   OWOSSO          MI    48867‐0697
JOHN L KETTMAN TR JOHN L KETTMAN LIVING TRUST UA 4209 33RD AVE                                                                                MOLINE          IL    61265‐5500
03/24/98
JOHN L KEY                                       2666 TORRANCE BLVD                                                                           TORRANCE        CA    90503‐5255
JOHN L KIEFER                                    515 POWERS ST                                                                                CADILLAC        MI    49601‐1464
JOHN L KIMMERLING                                9373 NORTH BAY FIELD DR             MCCORDSVILLE                                             MC CORDSVILLE   IN    46055
JOHN L KIRKLAND                                  5154 SUGAR CAMP ROAD                                                                         MILFORD         OH    45150‐9674
JOHN L KLETT                                     1320 ASHEBURY LN                    APT 316                                                  HOWELL          MI    48843‐1684
JOHN L KNIGHT                                    3329 E HIGH ST                                                                               SPRINGFIELD     OH    45505‐1638
JOHN L KNOCHEL                                   7104 E 550 N                                                                                 LAFAYETTE       IN    47905‐9759
JOHN L KOWALSKI                                  1257 SCRANTON ST SW                                                                          PALM BAY        FL    32908‐7565
JOHN L KRISAN                                    32838 GRINSELL                                                                               WARREN          MI    48092‐3153
JOHN L KVOCHAK                                   711 FOXDALE RD                                                                               WILM            DE    19803‐1603
JOHN L LATERRA JR                                18 CROWLEY DRIVE                                                                             OLD SAYBROOK    CT    06475‐2239
JOHN L LAUDERMILK                                5130 OLD 138 HWY                                                                             LOGANVILLE      GA    30249
JOHN L LAWSON                                    1785 EAST NINE MILE                                                                          DAFTER          MI    49724‐9513
JOHN L LEAVY                                     5040 CYPRESS DR                                                                              MURRYSVILLE     PA    15668‐8006
JOHN L LEAVY & BETTY A LEAVY JT TEN              5040 CYPRESS DR                                                                              MURRYSVILLE     PA    15668‐8006
JOHN L LEWIS                                     2440 SE TIBBETTS ST                                                                          PORTLAND        OR    97202‐2152
JOHN L LINEBAUGH & SHARON L LINEBAUGH JT TEN     2743 S TAMARAC DRIVE                                                                         LUDINGTON       MI    49431‐9474

JOHN L LISHER                                   5725 HUNTERGLEN ROAD                                                                          INDIANAPOLIS    IN    46226‐1019
JOHN L LISHER & MARY K LISHER JT TEN            5725 HUNTERGLEN ROAD                                                                          INDPLS          IN    46226‐1019
JOHN L LOCKWOOD                                 11836 TALL TREE DR                                                                            PLYMOUTH        MI    48170‐3724
JOHN L LONDICK & DOROTHY E LONDICK JT TEN       2956 OTSEGO                                                                                   WATERFORD       MI    48328‐3251
JOHN L LONG                                     825 MALCOLM PLACE                                                                             LINDEN          NJ    07036‐1634
JOHN L LONGER                                   2167 CEDAR POINT RD                                                                           SANDUSKY        OH    44870‐5252
JOHN L LOWE III                                 1600 RIDGE RD                                                                                 NORTH HAVEN     CT    06473‐2938
JOHN L LOWRY                                    266 MOUNT ZION CHURCH RD                                                                      RED SPRINGS     NC    28377‐9792
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 213 of 855
Name                                             Address1                                Address2             Address3          Address4          City                State Zip

JOHN L LUCIER                                    9403 W GAYLANTA LAKE RD                                                                          ATLANTA             MI    49709‐9156
JOHN L LYTLE                                     665 DARCY LANE                                                                                   MONONGAHELA         PA    15063‐4203
JOHN L MAHAN                                     7953 GERMANTOWN PIKE                                                                             GERMANTOWN          OH    45327‐9636
JOHN L MAHAN JR                                  476 DOGOOD RD                                                                                    TUNNEL HILL         GA    30755‐7608
JOHN L MAINS JR                                  P.O BOX 787                                                                                      MAYSVILLE           KY    41056‐1137
JOHN L MALEK                                     2491 E AVERY RD                                                                                  ST JOHNS            MI    48879‐9047
JOHN L MANKER                                    5913 SUBURBAN DRIVE                                                                              INDIANAPOLIS        IN    46224‐1358
JOHN L MARSHALL                                  PO BOX 337                                                                                       DAYTON              OH    45401
JOHN L MARTIN                                    11 OAK PARK PL                                                                                   SAVANNAH            GA    31405‐1018
JOHN L MARTIN                                    107 STERLING ST                                                                                  GREENVILLE          SC    29601‐3944
JOHN L MATHIEU                                   95 SANDALWOOD DR                                                                                 MADISON             CT    06443‐2256
JOHN L MATNEY CUST DONALD G MATNEY UTMA VA       12528 WARWICK BLVD                                                                               NEWPORT NEWS        VA    23606‐2676

JOHN L MATNEY CUST JOHN LEE MATNEY UTMA VA       12528 WARWICK BLVD                                                                               NEWPORT NEWS        VA    23606‐2676

JOHN L MATTHEWS                                  11 COBBLERIDGE COURT                                                                             DURHAM              NC    27713‐9493
JOHN L MAUK                                      3434 S BRONCO LN                                                                                 APACHE JUNCTION     AZ    85219‐3399

JOHN L MAURER                                    145 ELMRIDGE RD                                                                                  MANSFIELD           OH    44907‐2422
JOHN L MC CORMACK                                2805 APPLACHEE WAY                                                                               JACKSONVILLE        FL    32259‐2128
JOHN L MC TAGGART JR                             236 HIGH STREET                                                                                  BELFAST             ME    04915
JOHN L MCCOY                                     8203 E 1050TH AVE                                                                                ROBINSON            IL    62454‐4815
JOHN L MCLAUGHLIN                                3871 HURON                                                                                       NORTH BRANCH        MI    48461‐9767
JOHN L MEADOWS                                   25 DOVE RD                                                                                       ASHEVILLE           NC    28806‐9004
JOHN L MEHRENS                                   1546 RESERVATION RD SE                                                                           OLYMPIA             WA    98513‐9415
JOHN L MENCHACA                                  14632 BRAND BLVD                                                                                 SAN FERNANDO        CA    91345‐1707
JOHN L MESSER                                    115 HUNT STREET                                                                                  TOWANDA             IL    61776‐7568
JOHN L MIKESKA CUST JOHN ALLAN MIKESKA UGMA TX   265 BERKSHIRE LANE                                                                               BEAUMONT            TX    77707‐2301

JOHN L MIKESKA CUST MISS WANDA ANN MIKESKA       265 BERKSHIRE LANE                                                                               BEAUMONT            TX    77707‐2301
UGMA TX
JOHN L MILLER                                    1161 HOLLACE CHASTAIN RD                                                                         MITCHELL            IN    47446‐5968
JOHN L MILLER                                    115 HALIFAX DR                                                                                   VANDALIA            OH    45377‐2907
JOHN L MINGEE                                    6490 SANDFIELD DR                                                                                BROOKPARK           OH    44142‐3752
JOHN L MITCHELL                                  18 BLACKSMYTHE LANE                                                                              NEWPORT NEWS        VA    23602‐7465
JOHN L MITCHELL JR                               723 RAVENEL RD                                                                                   AUGUSTA             GA    30909‐1835
JOHN L MOLINARO & CATHY J MOLINARO JT TEN        1839 HILLCREST LANE                                                                              WOODRIDGE           IL    60517‐7612
JOHN L MONASMITH                                 3072 EDMOND RD                                                                                   LOOKOUT             WV    25868‐6272
JOHN L MORRIS                                    181 WILLIAM WHITLEY RD                                                                           STANFORD            KY    40484
JOHN L MORRIS                                    6130 PATTON WAY                                                                                  BUENA PARK          CA    90620‐1441
JOHN L MORRISON                                  507 WOODSIDE DR                                                                                  MOUNT MORRIS        MI    48458‐3009
JOHN L MORRISON                                  56 PINE RIDGE RD                                                                                 ARLINGTON           MA    02476‐7522
JOHN L MORRISON                                  13 DUNDAS PLACE                         ALBERT PARK          MELBOURNE VIC     3206 AUSTRALIA
JOHN L MORTON                                    7197 ANNA ST                                                                                     GRAND BLANC         MI    48439‐8573
JOHN L MURRAY                                    1572 HATHAWAY                                                                                    BELLVILLE           OH    44813
JOHN L MURTAGH                                   141 QUADRANT ROAD                                                                                MANA HAWKIN         NJ    08050‐1611
JOHN L MYERS                                     5506 SW 19TH ST                                                                                  TOPEKA              KS    66604‐3610
JOHN L NANCE                                     2 CARRINGTON WAY NE                                                                              ATLANTA             GA    30328‐1651
JOHN L NARVELL                                   1928 PLEASANTVIEW AVE                                                                            LINWOOD             PA    19061‐4043
JOHN L NAYLOR                                    200 PERSIMMON DR                                                                                 EXCELSIOR SPRINGS   MO    64024‐1328

JOHN L NELLIS                                    111 VERSTREET DR                                                                                 ROCHESTER           NY    14616‐4103
JOHN L NEWMAN JR                                 1553 MERRILL AVE                                                                                 LINCOLN PARK        MI    48146‐3529
JOHN L NICHOLS CUST ERIN L NICHOLS UTMA IN       1246 MAPLE AVE                                                                                   TERRE HAUTE         IN    47804‐3026
JOHN L NIESEL & BARBARA A NIESEL JT TEN          3101 E PERSHING AVE                                                                              PHOENIX             AZ    85032‐6531
JOHN L NOBLE JR                                  3179 N STATE RD 13                                                                               PIERCETON           IN    46562‐9189
JOHN L OFLAHRITY                                 4028 BORDEAUX DR                                                                                 JANESVILLE          WI    53546‐1782
JOHN L OFSANKO                                   314 KIM LN                                                                                       WINDBER             PA    15963‐8721
JOHN L OFSANKO & NATALIE OFSANKO JT TEN          314 KIM LN                                                                                       WINDBER             PA    15963‐8721
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 214 of 855
Name                                             Address1                               Address2                 Address3      Address4          City             State Zip

JOHN L OLNEY                                     350 SE 37TH CT                                                                                  OKEECHOBEE       FL    34974‐7544
JOHN L ORTMAN                                    87 MILLFIELD AVE                                                                                WESTERVILLE      OH    43081
JOHN L OSWALT                                    2713 TWP RD 937                                                                                 PERRYSVILLE      OH    44864‐9705
JOHN L OVERMAN                                   4739 EAST ROAD 200 S                                                                            AVON             IN    46123
JOHN L P PEDICONE                                708 BALTIMORE AVE                                                                               WILMINGTON       DE    19805‐2526
JOHN L PAGACICH & JACQUELINE L TALLEY JT TEN     2094 CRESCENT LAKE ROAD                                                                         WATERFORD        MI    48329‐3729
JOHN L PARKER                                    2463 ETHEL S                                                                                    DETROIT          MI    48217‐1656
JOHN L PARSONS                                   398 MOORE MOUNTAIN RD                                                                           PITTSBORO        NC    27312‐8494
JOHN L PASS                                      4180 MC BRAYER RD                                                                               OADWOOD          GA    30566‐3521
JOHN L PEARCE                                    1106 BRAEVIEW                                                                                   HOWELL           MI    48843‐2010
JOHN L PERRINE                                   4173 BRISTOLWOOD                                                                                FLINT            MI    48507‐5534
JOHN L PERRY                                     PO BOX 65                              540 S ALBANY RD                                          S BETHLEHEM      NY    12161‐0065
JOHN L PERSON                                    19043 NADOL DR                                                                                  SOUTHFIELD       MI    48075‐5818
JOHN L PICCININI & JOHN L PICCININI JR JT TEN    6609 DELANDINGS DR                                                                              ORLANDO          FL    32812‐1635
JOHN L PIERCE                                    31 LOUISIANA DR                                                                                 PALM COAST       FL    32137‐9706
JOHN L PIERCE                                    2485 ALTON RD                                                                                   DELTONA          FL    32738‐4118
JOHN L POLKA                                     PO BOX 1313                                                                                     CORTEZ           CO    81321‐1313
JOHN L PUTNAM                                    6625 SWALLOW DR                                                                                 HARRISON         MI    48625‐9049
JOHN L R PALLETT                                 BOX 5341 STATION B                     VICTORIA BC                            V8R 6S4 CANADA
JOHN L RADFORD                                   19160 INDIAN WELLS CT #33‐P                                                                     N FT MYERS       FL    33903
JOHN L RAINES                                    PO BOX #42                                                                                      CHIPPEWA LK      MI    49320‐0042
JOHN L RAK                                       17324 S CAYUGA CT                                                                               LOCKPORT         IL    60441‐4396
JOHN L REDDING                                   2614 E CR 400 S                                                                                 CLAYTON          IN    46118‐9433
JOHN L REIDER                                    1 LIONEL STREET                                                                                 CLARK            NJ    07066‐2521
JOHN L RENG                                      308 UCLID AVE                                                                                   LOCH ARBOUR      NJ    07712
JOHN L REYNERTSON CUST RONALD JOSEPH             627 WEST PATTERSON                     # 2E                                                     CHICAGO          IL    60613‐4470
REYNERTSON UGMA IL
JOHN L RICHARDS                                  941 N SACRAMENTO AVE                                                                            ONTARIO          CA    91764‐3124
JOHN L RICHARDS                                  2151 BERKLEY ST                                                                                 SALT LAKE CITY   UT    84109‐1112
JOHN L RICHART                                   RD1                                    1736 BRACKENVILLE ROAD                                   HOCKESSIN        DE    19707‐9529
JOHN L ROBBINS                                   1050 LAKE DR                                                                                    SNELLVILLE       GA    30039‐5720
JOHN L ROBERTS                                   1107 LANTERN LANE                                                                               NILES            OH    44446‐3524
JOHN L ROBERTS SR CUST SARAH B ROBERTS UTMA LA   10775 BROWN RD                                                                                  DENHAM SPRINGS   LA    70726‐6014

JOHN L ROBINSON                                  3310 STARMOUNT DR                                                                               GREENSBORO      NC     27403‐1037
JOHN L ROEHSLER                                  2644 SHEILA LN                                                                                  MARIETTA        GA     30062‐4939
JOHN L ROELANDT                                  65725 CAMPGROUND                                                                                WASHINGTON      MI     48095‐1813
JOHN L ROELANDT & GLORIA M ROELANDT JT TEN       65725 CAMPGROUND                                                                                WASHINGTON      MI     48095‐1813
JOHN L ROSS                                      301 ASHBROOK DR                                                                                 BELLFNTN        OH     43311‐2741
JOHN L ROSS                                      3005 MALLERY ST                                                                                 FLINT           MI     48504‐2927
JOHN L ROSSI & KATHERINE ROSSI JT TEN            BOX 734                                                                                         WATERBURY       CT     06720‐0734
JOHN L RURY & VIRGINIA RURY JT TEN               6 MASSACHUSETTS ST                                                                              PLATTSBURGH     NY     12903
JOHN L RUSNAK                                    64 BRINTON ST                                                                                   BUFFALO         NY     14214‐1175
JOHN L RUSS JR                                   390 EAST MAIN STREET                                                                            THOMASTON       CT     06787‐1613
JOHN L RUSSELL                                   9224 TORREY RD                                                                                  GRAND BLANC     MI     48439‐9324
JOHN L SALOMONE                                  325 LAUREL RIDGE LANE                                                                           NORTH KINGSTOWN RI     02852‐4155

JOHN L SAMMONS                                   141 W WILMONT AVE                                                                               SOMERS POINT     NJ    08244‐2162
JOHN L SANDERS JR                                C/O ANNIE SANDERS                      20022 WASHBURN                                           DETROIT          MI    48221‐1020
JOHN L SANKS                                     17201 COVENTRY LANE                                                                             COUNTRY CLUB     IL    60478‐4632
JOHN L SCHERER JR                                4900 18TH AVE S                                                                                 MINNEAPOLIS      MN    55417‐1218
JOHN L SCHLICHT                                  3712 S VASSAR RD                                                                                VASSAR           MI    48768‐9779
JOHN L SCOZZARI                                  25 OLD KENTUCKEY STOCK RD                                                                       CROSSVILLE       TN    38571
JOHN L SEELEY                                    NELSON BLVD                                                                                     BREWSTER         NY    10509
JOHN L SERA                                      3400 DATE PALM LN                                                                               ESTERO           FL    33928‐2808
JOHN L SHALONGO                                  100 KABOODLE RD                                                                                 DANVILLE         PA    17821‐7754
JOHN L SHELDON III                               349 MAIN ST                                                                                     WAKEFIELD        RI    02879‐7403
JOHN L SHOCKEY                                   3885 STONE ROAD                                                                                 IONIA            MI    48846‐9743
JOHN L SHORE                                     4308 MASTERSON CIRCLE                  LONDON ON                              N6P 1T4 CANADA
                                               09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 215 of 855
Name                                                Address1                                Address2             Address3          Address4          City            State Zip

JOHN L SIMPSON JR CUST DEBORAH JANE SIMPSON         8580 KOLUDER CT                                                                                  LORTON          VA    22079‐3073
UGMA MI
JOHN L SINCLAIR SR TR JOHN L SINCLAIR SR TRUST UA   1636 HENDERSON DRIVE                                                                             KALAMAZOO       MI    49006‐4424
02/22/95
JOHN L SLAIGHT                                      102 BENEFIT STREET                                                                               PROVIDENCE      RI    02903
JOHN L SMALLEY SR                                   316 PALMER WY                                                                                    WILMINGTON      NC    28412‐3386
JOHN L SMALLWOOD                                    902 KELLER                                                                                       FORT WORTH      TX    76126‐3617
JOHN L SMIDDY & DEBRA J SMIDDY JT TEN               420 WALNUT STREET                                                                                DEFIANCE        OH    43512‐1649
JOHN L SMITHERMAN                                   286 S WYMORE RD APT 104                                                                          ALTAMONTE       FL    32714‐4247
                                                                                                                                                     SPRINGS
JOHN L SORVILLO                                     49 FIELDSTONE                                                                                    POLAND          OH    44514‐4207
JOHN L SPAETH                                       7388 RAUCHOLZ RD                                                                                 ST CHARLES      MI    48655‐8707
JOHN L SPARKS                                       2826 MARGATE CIRCLE                                                                              FLINT           MI    48506‐1319
JOHN L SPEISER                                      1940 LANGLAN DR                                                                                  DEFIANCE        OH    43512‐3737
JOHN L STACK                                        3278 POTOMAC                                                                                     WARREN          MI    48091‐3964
JOHN L STAFFORD                                     3205 CALLOWAY CT                                                                                 COOKEVILLE      TN    38501‐7998
JOHN L STCLAIR                                      60 LEE DR                                                                                        RINGGOLD        GA    30736‐5535
JOHN L STEEN JR                                     9 CURTIS AVENUE                                                                                  WILMINGTON      DE    19804‐1909
JOHN L STEFFENS                                     5645 4TH ST NE                                                                                   MINNEAPOLIS     MN    55432‐5504
JOHN L STEMMLER                                     238 FAIRVIEW RIDGES DR                                                                           AFTON           TN    37616
JOHN L STERLING CUST CHRISTIAN STERLING UGMA IL     3415 W 127TH ST                                                                                  BLUE ISLAND     IL    60406‐1833

JOHN L STEVENS                                      3250 CHRISTY WAY N                                                                               SAGINAW         MI    48603‐2234
JOHN L STEWART                                      67 EAGLE LAKE RD                                                                                 BAR HARBOR      ME    04609‐1040
JOHN L STEWART & SARAH P STEWART JT TEN             14848 GARY LANE                                                                                  LIVIONIA        MI    48154‐7104
JOHN L STIER                                        3785 MEADOWBROOK                                                                                 TROY            MI    48084‐1709
JOHN L STIGLER                                      3215 COLLEGE                                                                                     KANSAS CITY     MO    64128‐2024
JOHN L STILL                                        8382 W FRANCES RD                                                                                FLUSHING        MI    48433‐8810
JOHN L STIMAC & BETTY J STIMAC TEN COM              104 DON DEE DR                                                                                   WEST MONROE     LA    71291‐7541
JOHN L STONHOUSE                                    17928 RAYFORD SHUMOCK ROAD                                                                       MOSS POINT      MS    39562
JOHN L STRANGE                                      7155 DRAKE STATE LINE                                                                            BURGHILL        OH    44404‐9716
JOHN L STRASBERGER II                               2651 BIDDLE AVE APT 710                                                                          WYANDOTTE       MI    48192‐5228
JOHN L STROMAN                                      1152 VICKSBURG STREET                                                                            DELTONA         FL    32725‐2842
JOHN L STRZESZYNSKI                                 316 SO MADISON ST                                                                                BAY CITY        MI    48708‐7249
JOHN L STUMP                                        14 AUDUBON PLACE                                                                                 FAIRHOPE        AL    36532‐3002
JOHN L SUBOCH                                       5784 BERWYN                                                                                      DEARBORN HGTS   MI    48127‐2927
JOHN L SULLIVAN                                     5692 JENNIFER DRIVE EAST                                                                         LOCKPORT        NY    14094‐6008
JOHN L SUTTON                                       169 HANOVER ST                                                                                   HAMILTON        OH    45011‐3111
JOHN L SUTTON                                       1908 S SHERMAN                                                                                   BAY CITY        MI    48708‐8193
JOHN L SWEET & MONICA K SWEET JT TEN                10 RIDGEVIEW DR                                                                                  UNIONTOWN       PA    15401‐5230
JOHN L TABACCHI TR UA 10/06/1997 JOHN L TABACCHI    123 BROADVIEW DR                                                                                 CADIZ           OH    43907
REVOCABLE TRUST
JOHN L TAYLOR                                       3746 S DEACON                                                                                    DETROIT         MI    48217‐1530
JOHN L THOMAS                                       15807 FRONTIER RD                                                                                MAGNOLIA        TX    77355‐3340
JOHN L THOMAS JR                                    20244 N LARKMOOR DRIVE                                                                           SOUTHFIELD      MI    48076‐2472
JOHN L THOMAS JR & MARILYN C THOMAS JT TEN          20244 N LARKMOOR DRIVE                                                                           SOUTHFIELD      MI    48076‐2472
JOHN L THOMASON                                     3872 KENNETH ST                                                                                  RIVERSIDE       CA    92509‐2739
JOHN L THORSNESS & LORETTO B THORSNESS JT TEN       1801 GERVAIS AVE                        APT 347                                                  MAPLEWOOD       MN    55109

JOHN L TOMPKINS                                     3431 E 100 N                                                                                     HUNTINGTON      IN    46750‐9312
JOHN L TORMEY                                       16220 SW 109TH AVE                                                                               MIAMI           FL    33157‐2812
JOHN L TREADWAY                                     1205 S LINCOLN ST                                                                                BLOOMINGTON     IN    47401‐5849
JOHN L TREMAINE & VIRGINIA TREMAINE JT TEN          PO BOX 79                                                                                        TUMACACORI      AZ    85640‐0079
JOHN L TROISI                                       417 WINDING CT                                                                                   BRICKTOWN       NJ    08723‐4954
JOHN L TROUP                                        1843 DENHAM CT                                                                                   SIMI VALLEY     CA    93065‐2206
JOHN L TUTTLE                                       1251 JAVA PL                                                                                     OGDEN           IA    50212‐7401
JOHN L TYE                                          303 HIGH DR                                                                                      ODESSA          MO    64076‐1530
JOHN L URCHEK                                       100 LECKRONE WAY                                                                                 CORTLAND        OH    44410‐1371
JOHN L VANDERKUUR III                               G 8166 BARDEN RD                                                                                 DAVISON         MI    48423
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 216 of 855
Name                                            Address1                            Address2             Address3          Address4          City             State Zip

JOHN L VANDIVER                                 2140 DUDLER DRIVE                                                                            ARNOLD           MO    63010‐1523
JOHN L VANGENDEREN                              203 AMELIA AVE                                                                               ROYAL OAK        MI    48073‐2659
JOHN L VIGO JR                                  910 SOUTH CARROLTON AVENUE          APT B                                                    NEW ORLEANS      LA    70118‐1101
JOHN L VINCENT CUST JANET KAY VINCENT UGMA CA   3719 WEST TONOPAH DRIVE                                                                      GLENDALE         AZ    85308‐2282

JOHN L VITATOE                                  3200 W 1000S                                                                                 PENDLETON        IN    46064‐9523
JOHN L VOLLRATH                                 2 LA SINFONIA                                                                                RANCHO SANTA     CA    92688‐3200
                                                                                                                                             MARGA
JOHN L VUKMANICH                                7255 PEARSON RD                                                                              VIRGINIA         MN    55792‐8078
JOHN L WAGERER & DIANE WAGERER JT TEN           PO BOX 2253                                                                                  LAKE CITY        FL    32056‐2253
JOHN L WAINSCOTT                                1 FAWN DR                                                                                    BUTLER           MO    64730‐1800
JOHN L WATKINS                                  3762 THACHER RD                                                                              OJAI             CA    93023‐9337
JOHN L WEBER                                    18 WALDEN MILL WAY                                                                           CATONSVILLE      MD    21228‐2846
JOHN L WESTHOFF TR JOHN L WESTHOFF TRUST UA     1863 KENTUCKY                                                                                QUINCY           IL    62301‐4229
10/18/96
JOHN L WHITE CUST LESLIE M WHITE UGMA DE        524 DOUGFIELD DR                                                                             NEWARK           DE    19713‐2706
JOHN L WILEY                                    2393 COLUMBUS DR W                                                                           HAMILTON         OH    45013‐4239
JOHN L WILKI                                    1511 SPRING LANE                                                                             WILMINGTON       DE    19809‐2240
JOHN L WILLIAMS                                 238 JULIAN POND LN                                                                           KERNERSVILLE     NC    27284‐2461
JOHN L WILLIS JR                                39453 CHAMPION COURT                                                                         NORTHVILLE       MI    48168‐4320
JOHN L WILTSHIRE                                321 BOWENTOWN RD                                                                             BRIDGETON        NJ    08302‐2302
JOHN L WINDOM                                   1333 ESSLING                                                                                 SAGINAW          MI    48601‐1333
JOHN L WINSCOTT                                 13001 E 41ST TER S                                                                           INDEPENDENCE     MO    64055‐4517
JOHN L WOLFE                                    BOX 36953                                                                                    BIRMINGHAM       AL    35236‐6953
JOHN L WOODS JR                                 1439 WEAVER ST                                                                               DAYTON           OH    45408‐1853
JOHN L WRIGHT & LANA J WRIGHT JT TEN            13720 TUSCARORA COURT                                                                        GAINESVILLE      VA    20155‐1351
JOHN L YEE                                      26 TERRACE DRIVE                                                                             MARIN CITY       CA    94965‐4002
JOHN L YOUNG                                    2569 UNION AVE SE                                                                            GRAND RAPIDS     MI    49507‐3526
JOHN L YOUNG & HELEN M YOUNG JT TEN             2569 UNION AVE SE                                                                            GRAND RAPIDS     MI    49507‐3526
JOHN L ZIMMER                                   730 WEST HIGHLAND AVE                                                                        ELGIN            IL    60123‐5310
JOHN L ZIMMERMAN                                2038 COLUMBUS AVE                                                                            SANDUSKY         OH    44870‐4822
JOHN L ZYSKI                                    308 AVEDON COURT                                                                             JOPPA            MD    21085‐4716
JOHN LAATSCH                                    309 RUTH DR                                                                                  JEFFERSON        WI    53549
JOHN LADD                                       72 TABER AVE                                                                                 PROVIDENCE       RI    02906‐4130
JOHN LAFOND                                     53 GROVE ST                                                                                  NORFOLK          MA    02056
JOHN LAFOUNTAIN                                 620 E PARISH RD                                                                              KAWKAWLIN        MI    48631‐9747
JOHN LAGRAND                                    10345 S DOGPATCH LN                                                                          CADET            MO    63630
JOHN LAMBIE                                     2040 SUMMIT DR                                                                               PASO ROBLES      CA    93446‐1814
JOHN LAMBREGTSE                                 576 GREGORVILLE ROAD                                                                         WAYLAND          MI    49348‐9525
JOHN LAMNECK & MRS ROSE LAMNECK JT TEN          36 WILLARD AVE                                                                               FARMINGDALE      NY    11735‐5117
JOHN LAMPLE                                     6711 BURNBRIDGE HUNT CT                                                                      ELKRIDGE         MD    21075‐5553
JOHN LANDON & NANCY LANDON JT TEN               8213 RAYMOND LANE                                                                            POTOMAC          MD    20854‐3728
JOHN LANDY CUST MIKAYLA LANDY UTMA (NM)         1174 SCARBOROUGH LANE                                                                        WOODBERRY        MN    55125‐8826
JOHN LANE WILLSON                               3604 TALLWOOD TERR                                                                           FALLS CHURCH     VA    22041‐1118
JOHN LANSDOWN JR                                9164 SUNCREST DR                                                                             FLINT            MI    48504‐8141
JOHN LANSER CUST LYNDSEY LANSER UGMA MI         1507 WOODCROFT                                                                               FLINT            MI    48503‐3587
JOHN LAPPAS                                     C/O PRIMROSE FLORIST                1225 3RD AVE                                             NEW YORK         NY    10021‐5105
JOHN LARKO                                      346 ANDERSON AVE                                                                             INDIANA          PA    15701‐2023
JOHN LARRY WHITTINGTON                          4357 SUNRISE VISTA CIR                                                                       FORT MOHAVE      AZ    86426‐8871
JOHN LARSON & DIANA LARSON JT TEN               1075 LINDA GLEN DR                                                                           PASADENA         CA    91105‐1117
JOHN LASTAVICA                                  BOX 1443                                                                                     MANCHESTER       MA    01944‐0853
JOHN LATVYS                                     848 FARNHAM LN                                                                               WHEATON          IL    60187‐7574
JOHN LAURENCE KELLIHER                          98 COACH RD                                                                                  NEW HAVEN        VT    05472‐2054
JOHN LAVECCHIA                                  7 EVELYN TERR                                                                                S AMBOY          NJ    08879‐1953
JOHN LAWRENCE BARRY                             201 S CAROLINE AVE                                                                           BELLFLOWER       MO    63333‐1605
JOHN LAWRENCE MC LAUGHLIN 2ND                   1150 RIFLE RANGE RD                                                                          MOUNT PLEASANT   SC    29464‐4250

JOHN LAWRENCE MC NULTY CUST JULIA ANN MC NULTY 8 BYRON LANE                                                                                  YARDLEY          PA    19067‐3240
UGMA PA
                                                 09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 217 of 855
Name                                               Address1                              Address2               Address3        Address4          City           State Zip

JOHN LAWRENCE SULLIVAN                             30568 ELMWOOD                                                                                  GARDEN CITY    MI    48135‐1923
JOHN LAWSON CUST CONNOR LAWSON UTMA CT             95 APPLEWOOD LANE                                                                              NAUGATUCK      CT    06770‐3177
JOHN LAYTON                                        3625 PRATHER RD                                                                                KANSAS CITY    MO    64116‐2833
JOHN LAZARCZYK                                     10 GALLAVAN WAY                                                                                TRENTON        NJ    08619‐2702
JOHN LEACH                                         3227 D HUTCHISON                                                                               JOLIET         IL    60431‐1617
JOHN LEASK LUMLEY                                  743 SNYDER HILL ROAD                                                                           ITHACA         NY    14850‐8708
JOHN LEE BAUGHMAN                                  10015 CHERRY CREEK LANE                                                                        PORT RICHEY    FL    34668‐3708
JOHN LEE MIDDLETON JR                              BOX 333                                                                                        ENGLEWOOD      TN    37329‐0333
JOHN LEE SOUTHALL                                  3500 OAK CT                                                                                    BALTIMORE      MD    21207‐6223
JOHN LEE STURGILL                                  1651 GARSTLAND DR NW                                                                           ROANOKE        VA    24017‐2227
JOHN LEE TERRY                                     2128 NEEPER ST                                                                                 GRAND BLANC    MI    48439‐8520
JOHN LEE WILLIAMS                                  102 S COURT SQ                                                                                 WAVERLY        TN    37185‐2113
JOHN LEFLER                                        PO BOX 358                                                                                     TOLUCA         IL    61369‐0358
JOHN LEITNER                                       PO BOX 152                                                                                     COOLIDGE       AZ    85228‐0152
JOHN LEMAN MCILROY                                 4096 RICHFIELD ROAD                                                                            FLINT          MI    48506‐2009
JOHN LENGJAK JOHN LENGJAK TRUST UA 02/10/06        3148 RIVERSIDE DR                                                                              BELOIT         WI    53511‐1529

JOHN LENGYEL                                       16711 GLENMORE                                                                                 REDFORD        MI    48240‐2419
JOHN LEO HEULER                                    17205 BROOKLYN AVE                                                                             YORBA LINDA    CA    92886‐1763
JOHN LEO RICE JR                                   326 CALIFORNIA ST                                                                              GOODING        ID    83330‐1038
JOHN LEONARD KACHINSKI                             325 SKILLEN                                                                                    BUFFALO        NY    14207‐1350
JOHN LEPO & ROSE LEPO TEN ENT                      417 TIMOTHY TERR                                                                               SEWELL         NJ    08080‐9456
JOHN LESKO & MARY LESKO JT TEN                     624 JUDIE DR                                                                                   CLEVELAND      OH    44109‐3714
JOHN LESLIE CHAMBERLAIN                            316 MYRTLE AVE                                                                                 CHELTENHAM     PA    19012‐2036
JOHN LESLIE FOLSE & CONSTANCE JOY FOLSE JT TEN     1615 BRIGHTON                                                                                  CARROLLTON     TX    75007‐2912

JOHN LESLIE HUNZIKER                               20147 DOROTHY ST                                                                               CANYON CNTRY   CA    91351‐3805
JOHN LESLIE WATSON & JOSEPHINE S WATSON JT TEN     2704 HALCYON DOWNS LOOP                                                                        MONTGOMERY     AL    36117‐7712

JOHN LEWIS DAVIS                                   1925 GROVER ST                                                                                 SHREVEPORT     LA    71101‐2238
JOHN LEWIS KARKLIN                                 142 HASBROUCK AVENUE                                                                           HASBROUCK      NJ    07604‐2704
                                                                                                                                                  HEIGHTS
JOHN LEWIS OVERMAN                                 4008 MARTINA DR                                                                                ROCKFORD       IL    61145‐2961
JOHN LEWIS TIMLIN                                  309 N PIEDMONT ST                     APT 1                                                    ARLINGTON      VA    22203‐3440
JOHN LEWIS TISCHENKEL                              C/O SUSAN TISCHENKEL                  1088 NW 81ST TERRACE                                     PLANTATION     FL    33322‐5748
JOHN LICINIO JR                                    15032 E LEE RD                                                                                 ALBION         NY    14411‐9546
JOHN LIGUS                                         3585 EAST DRYDEN RD                                                                            METAMORA       MI    48455‐9258
JOHN LINCOLN                                       302 HAROLDS DR                                                                                 GLENWOOD       IA    51534
JOHN LISTON                                        332 JOHNSON AV                                                                                 LOS GATOS      CA    95030‐6220
JOHN LIZZA                                         208 JEROME AVE                                                                                 CARLE PLACE    NY    11514‐1132
JOHN LOECHLI & JANNA D LOECHLI JT TEN              8915 TALLADAY RD                                                                               WILLIS         MI    48191‐9708
JOHN LOFARO                                        29 PINE CLOSE                                                                                  NO TARRYTOWN   NY    10591‐1710
JOHN LOGRASSO & MARY LOGRASSO JT TEN               909 STONEY CT                                                                                  ANTIOCH        CA    94509‐6940
JOHN LOMBARDI                                      5073 WILLIAMSON ST                                                                             DEARBORN       MI    48126‐5004
JOHN LOSINSKI JR                                   31416 BLAIR DRIVE                                                                              WARREN         MI    48092‐1406
JOHN LOTTERER                                      1200 LEWIS ROAD                                                                                MANSFIELD      OH    44903‐8948
JOHN LOUBRIEL & MRS JEAN LOUBRIEL JT TEN           90 HOLLAND AVE                                                                                 DEMAREST       NJ    07627‐2714
JOHN LOUGHLIN & HELENA LOUGHLIN JT TEN             11 ARBOR ST                                                                                    GREAT NECK     NY    11021‐3848
JOHN LOUIS                                         247 CIRCLE LANE                                                                                LAKE FOREST    IL    60045‐3305
JOHN LOUIS FIORILLO                                103 HARDWOOD CT                                                                                CHALFONT       PA    18914‐2035
JOHN LOUIS GALLATY                                 9353 MEREDITH GRADE RD                                                                         HARRISON       MI    48625
JOHN LOUIS KALNA                                   4521 STILLWOOD LN                                                                              LAKE CHARLES   LA    70605‐5439
JOHN LOUIS RAUSCHL                                 PO BOX 144                                                                                     RUMELY         MI    49826
JOHN LUNDY & RENEE LUNDY JT TEN                    119 S COLUMBIA ST                                                                              NAPERVILLE     IL    60540‐4916
JOHN LUTHER BRANCH                                 64 ROBYN WAY                                                                                   MARIETTA       GA    30062‐5174
JOHN LUTHER BRANCH JR                              64 ROBYN WAY                                                                                   MARIETTA       GA    30062‐5174
JOHN LUTHER LANE                                   4283 THOMSON DRIVE                                                                             DAYTON         OH    45416‐2220
JOHN LYNN LADD                                     1340 RIVERVIEW CIR                                                                             FORT LAWN      SC    29714‐8720
JOHN LYSZCZEK & ANNE LYSZCZEK JT TEN               96 E CRESCENT AVE                                                                              RAMSEY         NJ    07446‐2639
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 218 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

JOHN LYTLE BOGDANOR & MRS JANET CAROL             2204 ROUNTREE DR                                                                               ST LOUIS           MO    63136‐6137
BOGDANOR JT TEN
JOHN LYTWYNCHUK                                   10 KRESIA LN                          COURTICE ON                            L1E 2G8 CANADA
JOHN M ABRAMCZYK                                  32166 DOVER                                                                                    WARREN             MI    48093‐6901
JOHN M ABRINKO & LINDA T TURNER JT TEN            59332 MOUNTAIN ASH CT                                                                          WASHINGTON         MI    48094‐3755
JOHN M ADAMS                                      871 ELMWOOD DR                                                                                 WICKLIFFE          OH    44092‐2115
JOHN M ALDERSON 4TH                               PO BOX 678                                                                                     ALDERSON           WV    24910‐0678
JOHN M ALGER                                      1841 PIERCE DR                                                                                 LAKE WORTH         FL    33460‐6039
JOHN M AMBROSE JR                                 2155 FOREST HOME AVE                                                                           DAYTON             OH    45404‐2511
JOHN M AMOS                                       7160 OAK HILL DR                                                                               SYLVANIA           OH    43560‐1305
JOHN M ANDERSON                                   526 OAKWOOD DR                                                                                 INDIANAPOLIS       IN    46260‐2305
JOHN M ANDERSON                                   25258 WESTFIELD STREET                                                                         REDFORD            MI    48239‐1513
JOHN M ANDRES                                     4 LUMBERMEN WAY                                                                                SAGINAW            MI    48603‐8627
JOHN M ANKER & BEVERLY H ANKER JT TEN             4755 CHAMPIONS WAY                                                                             COLUMBUS           GA    31909‐2075
JOHN M ASHBAUGH & KATHRYN S ASHBAUGH JT TEN       236 WOODLAWN                                                                                   ROYAL OAK          MI    48073‐2682

JOHN M AVERY                                      6018 CANADICE HILL RD                                                                          SPRINGWATER        NY    14560‐9643
JOHN M AVERY                                      4773 GAMBER                                                                                    TROY               MI    48098‐5013
JOHN M BAKER                                      5500 WINGET DR                                                                                 EAU CLAIRE         WI    54703‐9707
JOHN M BARNES II                                  PO BOX 3201                                                                                    SAINT AUGUSTINE    FL    32085‐3201
JOHN M BARRICK                                    1040 SOUTH JOSSMAN                                                                             ORTONVILLE         MI    48462‐9072
JOHN M BATCH                                      16473 LONCHAR DR                                                                               CLIMAX             MI    49034
JOHN M BAULDRY                                    4874 WHITE TAIL CT                                                                             COMMERCE TWP       MI    48382‐5403
JOHN M BEARDMORE                                  7000 N FISHER RD                                                                               HOWELL             MI    48843‐9254
JOHN M BEARDMORE & JILL L BEARDMORE JT TEN        7000 NORTH FISHER ROAD                                                                         HOWELL             MI    48843‐9254
JOHN M BECK                                       205 E WEST ST 7                                                                                GEORGETOWN         IL    61846‐1755
JOHN M BENDER                                     574 MAIN ST APT 4                                                                              VANDLING           PA    18421
JOHN M BERG                                       1009 TROWBRIDGE COURT                                                                          KELLER             TX    76248
JOHN M BERGER                                     #21 DUNHAM PLACE                                                                               ST CHARLES         IL    60174‐5795
JOHN M BINION                                     219 WESTGATE DR                                                                                MANSFIELD          OH    44906‐2940
JOHN M BIRKELAND                                  2703 S RIVIERA DR                                                                              WHITE BEAR LAKE    MN    55110‐4959
JOHN M BOLTON                                     49401 HEATH PLACE CT                                                                           CHESTERFIELD TWP   MI    48047‐3780

JOHN M BOLTON & BERTHA M BOLTON JT TEN            49401 HEATH PL CT                                                                              CHESTERFIELD TWP MI      48047‐3780

JOHN M BONFIGLIO                                  2 TUDOR CIR                                                                                    YORKTOWN HTS       NY    10598‐1033
JOHN M BONNEL                                     8745 PARKVIEW DR                                                                               GREGORY            MI    48137‐9628
JOHN M BORDAS                                     10730 LIMA CENTER RD                                                                           MANCHESTER         MI    48158‐9553
JOHN M BOURKE JR                                  14281 BLARNEY CIR                                                                              CEMENT CITY        MI    49233‐9729
JOHN M BOURKE JR & BONITA J BOURKE JT TEN         14281 BLARNEY CIRCLE                                                                           SOMERSET           MI    49281
JOHN M BOWEN JR                                   17 CHURCHTOWN ROAD                                                                             PENNSVILLE         NJ    08070‐1301
JOHN M BOWER                                      6216 HICKORYWOOD DR                                                                            SPEEDWAY           IN    46224‐3206
JOHN M BOWYER                                     10866 S 300 W                                                                                  PENDLETON          IN    46064‐9519
JOHN M BRADSHAW                                   PO BOX 935                                                                                     STERLING           AK    99672‐0935
JOHN M BRAUN & ERNA H BRAUN JT TEN                PO BOX 1952                                                                                    SAGINAW            MI    48605‐1952
JOHN M BROPHY III                                 184 PEBBLEVIEW DR                                                                              ROCHESTER          NY    14612‐4119
JOHN M BROWN                                      135 RIO ROBLES E                      UNIT 462                                                 SAN JOSE           CA    95134‐1683
JOHN M BROWN                                      28 S ROSELAWN                                                                                  PONTIAC            MI    48342‐2838
JOHN M BRUBAKER                                   PO BOX 272                                                                                     WATKINS GLEN       NY    14891‐0272
JOHN M BRYANT                                     3258 TOTH RD                                                                                   SAGINAW            MI    48601‐5766
JOHN M BRYDEN                                     3615 BOAT DOCK DR                                                                              FALLS CHURCH       VA    22041‐1413
JOHN M BUCKNER                                    7290 CROCKER ROAD                                                                              VALLEY CITY        OH    44280‐9548
JOHN M BUGLIONE                                   1768 PRUIT DR                                                                                  HIGHLAND           MI    48356‐2519
JOHN M BUHAGER                                    55 NORMANDY ROAD                                                                               EVESHAM            NJ    08053‐5527
JOHN M BUIE                                       110 OLD HIGHWAY 49 S                  LOT 102                                                  RICHLAND           MS    39218
JOHN M BULLIGAN JR & BEVERLY A BULLIGAN TEN COM   56 SCHILL                                                                                      KENNER             LA    70065‐3353

JOHN M BUNGENSTOCK & KATHY A BUNGENSTOCK JT       225 ALEXANDER CT                                                                               FESTUS             MO    63028‐1070
TEN
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 219 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

JOHN M BURFORD                                     918 JEFFERY ST                                                                                  BOCA RATON         FL    33487‐4178
JOHN M BURGE JR                                    150 RUSTIC LANE                                                                                 MANSFIELD          OH    44907‐1620
JOHN M BURGETT                                     3 TALL OAK LANE                                                                                 WEST LAFAYETTE     IN    47906‐8803
JOHN M BURGETT & MRS SHARON M BURGETT JT TEN       3 TALL OAK LN                                                                                   WEST LAFAYETTE     IN    47906‐8803

JOHN M BURKE                                       65 ROCKWOOD LN                                                                                  GREENWICH          CT    06830‐3814
JOHN M BURNS & B ANNETTE BURNS JT TEN              701 WESTWOOD AVE                                                                                COLUMBIA           MO    65203‐2815
JOHN M BYRAM                                       805 NELSON AVENUE                                                                               CAHOKIA            IL    62206‐2031
JOHN M BYRD                                        2829 SW 128TH ST                                                                                OKLAHOMA CITY      OK    73170
JOHN M BYRNE JR                                    614 LOVEVILLE RD                       UNIT D 4 C                                               HOCKESSIN          DE    19707‐1614
JOHN M CAEL JR                                     108 ADMIRAL DR                         GLEN BERNE                                               WILMINGTON         DE    19804‐3402
JOHN M CAEL JR & CLEMENTINE T CAEL JT TEN          108 ADMIRAL DRIVE                                                                               WILMINGTON         DE    19804‐3402
JOHN M CAINE                                       5196 E STANLEY ROAD                                                                             FLINT              MI    48506‐1188
JOHN M CALANGELO JR                                2255 S CENTER                                                                                   SAGINAW            MI    48609‐7012
JOHN M CALLAGHAN                                   13104 WHITE OAKS                                                                                GAINES             MI    48436‐9652
JOHN M CALLAGY                                     ALTHEA LANE                                                                                     DARIEN             CT    06820
JOHN M CANNON                                      57 SHORE RD                                                                                     EAST SETAUKET      NY    11733‐3931
JOHN M CAPITO                                      511 KENILWORTH SE                                                                               WARREN             OH    44483‐6019
JOHN M CARABOTT                                    14843 PARADIGM CT                                                                               FORT MYERS         FL    33919‐8484
JOHN M CARLSON                                     6998 SUNSET LANE                                                                                BOSTON             NY    14025‐9770
JOHN M CARROLL                                     1930‐A N JAMESON LANE                                                                           MONTECITO          CA    93108‐2917
JOHN M CARROLL                                     2 UNION HILL LANE                                                                               HAZLET             NJ    07730‐2404
JOHN M CAUGHLIN TR JOHN M CAUGHLIN TRUST UA        2616 THOMAS                                                                                     FLINT              MI    48504‐4528
06/14/89
JOHN M CAYLOR & DEBRA A CAYLOR JT TEN              2875 32ND AVE N                                                                                 ST PETERSBURG      FL    33713
JOHN M CERANSKI                                    606 CHANDLER                                                                                    FLINT              MI    48503‐6904
JOHN M CHASE JR                                    645 GRISWOLD ST                        SUITE 3180                                               DETROIT            MI    48226
JOHN M CHODNICKI                                   11757 DANFORTH                                                                                  STERLING HEIGHTS   MI    48312‐2126

JOHN M CHOPE                                     5368 E COLLETT DR E                                                                               CAMBY              IN    46113‐8420
JOHN M CHRISTENSEN & MRS CARLENE CHRISTENSEN JT 118 ROSSWAY AVE                                                                                    ROSSFORD           OH    43460‐1348
TEN
JOHN M CHUPAK & GRACE G CHUPAK JT TEN            16 HOGUE DR                                                                                       WEST MIDDLESEX     PA    16159‐2510
JOHN M CIANCI                                    1 LAKEVIEW DR E                                                                                   MONTAGUE           NJ    07827‐3201
JOHN M CIZMAR                                    PO BOX 804                                                                                        CANFIELD           OH    44406‐0804
JOHN M CLARK JR                                  330 S BROADWAY                           #D8                                                      TARRYTOWN          NY    10591‐5606
JOHN M CLARKE                                    81 YEW RD                                                                                         ESSEX              MD    21221‐3285
JOHN M CLASSER                                   6133 BROADWAY                                                                                     LANCASTER          NY    14086‐9528
JOHN M CLINE TR UA 08/24/1987 SMITH LIVING TRUST 3154 LA MESA DR                                                                                   SAN CARLOS         CA    94070

JOHN M COALE                                       1034 HARTER BLVD                                                                                ANDERSON           IN    46011‐2560
JOHN M COBB                                        3002 SPYGLASS DR                       UNIT B                                                   SPRING HILL        TN    37174‐2955
JOHN M COLBY CUST JOHN SCOTT COLBY UGMA NY         1781 LENOX AVE                                                                                  EAST MEADOW        NY    11554‐4013

JOHN M COLE                                        46922 BEN FRANKLIN                                                                              SHELBY TOWNSHIP    MI    48315‐5222

JOHN M COLE & KATHERYN O COLE JT TEN               112 JENNINGS ROAD                                                                               MANAHAWKIN         NJ    08050‐4608
JOHN M COLELLA                                     248 FRONT ST                                                                                    OWEGO              NY    13827‐1602
JOHN M COLLINS                                     3558 TREMONTE CIR N                                                                             ROCHESTER          MI    48306
JOHN M COLLINS                                     136 FIRST STREET                                                                                NORTHEAST          MD    21901‐5601
JOHN M COMELLA & CARMEN COMELLA JT TEN             6901 OLD YORK RD                       APT A 316                                                PHILADELPHIA       PA    19126‐2207
JOHN M COMPAGNONI                                  5147 DRAYTON RD                                                                                 CLARKSTON          MI    48346‐3707
JOHN M COOK                                        1605 TYLER                                                                                      EULESS             TX    76040‐4823
JOHN M COONEY                                      2726 LANCASTER DRIVE                                                                            WAUKESHA           WI    53188‐1344
JOHN M COOPER                                      142 MARYLAND N E                                                                                WARREN             OH    44483‐3415
JOHN M CORBIN                                      3984 FAIRVIEW RD                                                                                COLUMBIA           TN    38401‐1354
JOHN M CORSE II TR CORSE FAMILY TRUST UA 8/28/01   200 DEER VALLEY RD APT 2C                                                                       SAN RAFAEL         CA    94903‐5513

JOHN M COURTLEY                                    212 GREEN VALLEY                                                                                FRANKLIN           TN    37064‐5278
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 220 of 855
Name                                           Address1                              Address2             Address3          Address4          City            State Zip

JOHN M CRAIG TR JOHN M CRAIG REVOCABLE INTER   1521 VIRGINIA ST E                                                                             CHARLESTON      WV    25311‐2411
VIVOS TRUST UA 05/10/02
JOHN M CRANE                                   342 N MAIN ST                                                                                  PORT CHESTER    NY    10573‐3307
JOHN M CRAYCRAFT                               800 CATHERINE ST                                                                               RIPLEY          OH    45167‐1318
JOHN M CRISAFULLI                              245 WILGUS COURT                                                                               MIDDLETOWN      DE    19709‐8309
JOHN M CROUD CUST BRANDON CROUD UGMA MI        30612 BIRCH TREE DR                                                                            WARREN          MI    48093‐3068

JOHN M CROUD CUST SHELLEY CROUD UGMA MI         30612 BIRCH TREE DR                                                                           WARREN          MI    48093‐3068
JOHN M DAIDONE                                  5835 HEGEL RD                                                                                 GOODRICH        MI    48438‐9619
JOHN M DAILEY                                   PO BOX 145                                                                                    HUBBARDSTON     MI    48845‐0145
JOHN M DALE & LELA R DALE JT TEN                4154 S STATE RD 13                                                                            WABASH          IN    46992‐8880
JOHN M DANIELS                                  224 SILENT MEADOW DRIVE                                                                       LAKE ST LOUIS   MO    63367‐2620
JOHN M DAVENPORT                                3501 EXECUTIVE PKWY                  APT 725                                                  TOLEDO          OH    43606‐5522
JOHN M DAVIS                                    1074 WILLOW GROVE COURT                                                                       ROCHESTER       MI    48307‐2547
JOHN M DAVIS JR                                 7 SWAN                                                                                        NEW ORLEANS     LA    70124‐4405
JOHN M DAVIS TR JOHN W DAVIS QTIP TRUST UA      4 SOUTHBOURNE COURT                                                                           GREENVILLE      SC    29607‐3626
02/10/01
JOHN M DAWSEY                                   26 SUTTON FARMS RD                                                                            SRAVERTOWN      PA    18708‐9537
JOHN M DELANEY TR UA 9/24/99 THE JOHN M DELANEY 4516 MANN ROAD                                                                                INDIANAPOLIS    IN    46221‐3304
REV TRUST
JOHN M DELTORO                                  19530 CHERYL GRV                                                                              PEYTON          CO    80831‐9708
JOHN M DEMKO                                    919 COMSTOCK NW                                                                               WARREN          OH    44483‐3107
JOHN M DEWEY                                    759 LAFAYETTE DR                                                                              AKRON           OH    44303‐1720
JOHN M DIDION                                   2965 OAKHURST COURT                                                                           FULLERTON       CA    92835
JOHN M DINN                                     45 JULIA ST                                                                                   FRANKLIN        IN    46131‐2237
JOHN M DODD                                     3033 BROOKHILL DR                                                                             BIRMINGHAM      AL    35242‐3701
JOHN M DONAHUE                                  2519 WEST WALNUT STREET                                                                       MURPHYSBORO     IL    62966‐3021
JOHN M DONOVAN                                  188 MONTCALM DRIVE                                                                            ROCHESTER       NY    14617‐1732
JOHN M DORRIS                                   18452 GUITREAU LANE                                                                           PORT VINCENT    LA    70726‐8040
JOHN M DRAPER                                   4669 CHRISTOPHER AVE                                                                          DAYTON          OH    45406‐1317
JOHN M DRESSER TR DRESSER FAMILY TRUST C/O      8106 HIGHWOOD DR                     APT Y209                                                 MINNEAPOLIS     MN    55438‐1053
MERTON DRESSER UA 04/16/86
JOHN M DRESSER TR DRESSER FAMILY TRUST UA       C/O MERTON DRESSER                   7510 MARINER DR                                          OSSEO           MN    55311‐2613
04/16/86
JOHN M DROLETT                                  2386 ANCHOR COURT                                                                             HOLT            MI    48842‐8714
JOHN M DUGAN & SYLVIA A DUGAN JT TEN            179 BRAHMA AVE                                                                                BRIDGEWATER     NJ    08807‐2757
JOHN M DUNCAN JR                                830 E HOMESTEAD LN                                                                            EASTON          PA    18042‐7093
JOHN M DUNLAP                                   6370 LAPEER RD                                                                                BURTON          MI    48509‐2450
JOHN M DUNLAP & PATRICIA E DUNLAP JT TEN        HC 3                                 BOX 3400                                                 GREENVILLE      MO    63944‐9616
JOHN M DUNN & PHYLLIS B DUNN TEN ENT            PO BOX 65                                                                                     PLEASANTVILLE   PA    16341‐0065
JOHN M DVORSKY & ROBERT J DVORSKY JT TEN        8180 VAN TINE ROAD                                                                            GOODRICH        MI    48438‐9422
JOHN M EBY                                      4061 LAHRING ROAD                                                                             LINDEN          MI    48451‐9471
JOHN M EGAN                                     45 CRESCENT RD                                                                                MADISON         NJ    07940‐2519
JOHN M EGAN                                     10222 S OAKLEY                                                                                CHICAGO         IL    60643‐1916
JOHN M ELLIS                                    143 HOWARD HUMAN RD                                                                           LANCING         TN    37770
JOHN M ELYARD                                   248 BRYARLY RD                                                                                WINCHESTER      VA    22603‐4101
JOHN M ERVIN                                    2269 VALLEY VISTA DRIVE                                                                       DAVISON         MI    48423‐8369
JOHN M ETUE                                     G5222 E CARPENTER RD                                                                          FLINT           MI    48506
JOHN M EVANS                                    22245 YORKSHIRE DR                                                                            ATHENS          AL    35613‐2405
JOHN M EVANS & JEANIENE EVANS JT TEN            418 E COOMBS                                                                                  ALVIN           TX    77511‐3505
JOHN M EVANS JR                                 101 W WASHINGTON ST                  PO BOX 379                                               PRINCETON       KY    42445‐0379
JOHN M FARRELL                                  10 AGASSIZ ST APT 14                                                                          CAMBRIDGE       MA    02140‐2823
JOHN M FEETER                                   3646 CHECKER TAVERN RD                                                                        LOCKPORT        NY    14094‐9421
JOHN M FISHBAUGH                                11140 DAVISBURG RD                                                                            DAVISBURG       MI    48350‐2615
JOHN M FISHER                                   6300 A1A S B5‐1TH                                                                             ST AUGUSTINE    FL    32080
JOHN M FLEMAL & JENNIFER L FLEMAL JT TEN        739 S MAIN ST                                                                                 SEYMOUR         WI    54165‐1640
JOHN M FLETCHER JR & ANNE MARIE FLETCHER JT TEN 932 LOCKSLEY LANE                                                                             WOODBURY        NJ    08096‐3115

JOHN M FLOWERS                                 680 PINEY WOODS ROAD                                                                           GALAX           VA    24333
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 221 of 855
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

JOHN M FLYNN                                    4308 PIEDMONT CT                                                                               FLOWER MOUND    TX    75022‐5163
JOHN M FRASSA                                   37 PALISADE AVE                                                                                GARFIELD        NJ    07026‐3107
JOHN M FRAZIER                                  2478 SCENIC HIGHWAY SOUTH                                                                      SNELLVILLE      GA    30078‐5710
JOHN M FRENCH                                   7511 JAGUAR DR                                                                                 BOARDMAN        OH    44512‐5307
JOHN M G GIBSON JR                              116 RED BARN ROAD                                                                              LANDRUM         SC    29356‐9730
JOHN M GABRYSH                                  1134 KINGSBURY                                                                                 DEARBORN        MI    48128‐1134
JOHN M GALEHOUSE                                6118 FRY RD                                                                                    BROOKPARK       OH    44142‐2702
JOHN M GALLAGHER                                1167 WALNUT ST                                                                                 SAN CARLOS      CA    94070‐4909
JOHN M GALLAGHER                                278 E LYONS ST                                                                                 SONORA          CA    95370‐5708
JOHN M GANTT CUST JOHN M GANTT JR A MINOR       118 PALM BLVD                                                                                  ISLE OF PALMS   SC    29451‐2141
U/THE LAWS OF SOUTH CAROLINA
JOHN M GARSTECK                                 6445 W FRANCES RD                                                                              CLIO            MI    48420‐8549
JOHN M GATEWOOD & HERBERT M GATEWOOD &          16343 COUNTYLINE CHURCH ROAD                                                                   RUTHER GLEN     VA    22546‐2021
DEBRA B GATEWOOD JT TEN
JOHN M GAUGHAN                                  6845 S KINGERY ROAD                                                                            WILLOWBROOK      IL   60527
JOHN M GEORGE                                   5130 N 70TH PL                                                                                 SCOTTSDALE       AZ   85253‐7021
JOHN M GERTY                                    211 DEACON HAYNES RD                                                                           CONCORD          MA   01742‐4757
JOHN M GERTY JR                                 7431 KEELER AVE                                                                                SKOKIE           IL   60076‐3805
JOHN M GERULA                                   1406 SE 20TH ST                                                                                CAPE CORAL       FL   33990‐5506
JOHN M GILLESPIE                                7691 RANETT AVE                                                                                HUDSON           OH   44236‐1465
JOHN M GIUFFRE & CHRISTINE A GIUFFRE JT TEN     1080 CRAIG DR                                                                                  LOMPOC           CA   93436‐2381
JOHN M GNAP                                     26517 ANN ARBOR TR 2                                                                           DEARBORN HEIGHTS MI   48127‐1170

JOHN M GOINS                                    534 RONKONKOMA AVE                                                                             W HEMPSTEAD     NY    11552‐4319
JOHN M GONDA                                    8663 MURPHY LAKE RD                                                                            VASSAR          MI    48768‐9631
JOHN M GORDON                                   C/O ELAINE JOHNSON                    RT 2 W ST BOX 252                                        CALEDONIA       OH    43314‐9802
JOHN M GRAY CUST DANIEL THOMAS GRAY UGMA IL     14 NORTON AVE                                                                                  LEMONT          IL    60439‐3945

JOHN M GREEN                                    51 MIDDLE COVE RD                     MIDDLE COVE NL                         A1K 2A6 CANADA
JOHN M GREGORY                                  30119 RAINBOW CREST DR                                                                         AGOURA HILLS    CA    91301‐4030
JOHN M GRISWOLD                                 2419 CHILHAM PL                                                                                POTOMAC         MD    20854‐6214
JOHN M GRUNDAS                                  5772 OLD ORCHARD CT                                                                            PRUDENVILLE     MI    48651‐9311
JOHN M GUERREIRO                                16200 VERMONT AVE                     APT C 207                                                PARAMOUNT       CA    90723‐5070
JOHN M GUSEMAN & JUDITH GUSEMAN TEN ENT         69 UNION ST                                                                                    UNIONTOWN       PA    15401‐4245
JOHN M GUSTY CUST DENNIS M GUSTY UGMA MI        1010 BARNES CIR                                                                                KINGSTON SPGS   TN    37082‐9044
JOHN M GUSTY CUST JAMES E GUSTY UGMA MI         14307 E WILLIAMS FIELD RD                                                                      GILBERT         AZ    85296‐5325
JOHN M HABAZIN                                  FILLMORE STREET                                                                                ALIQUIPPA       PA    15001
JOHN M HABAZIN CUST TIMOTHY A HABAZIN UGMA PA   1716 FILLMORE ST                                                                               ALIQUIPPA       PA    15001‐2048

JOHN M HANKEY                                   169 PINE RUN CHURCH RD                                                                         APOLLO          PA    15613
JOHN M HANNAHAN                                 9036 HEADLY                                                                                    STERLING HTS    MI    48314‐2659
JOHN M HAWKINS                                  1571 BENTRIDGE DR                                                                              LAWRENCEVILLE   GA    30043‐6510
JOHN M HEADING & SUSAN E HEADING JT TEN         3625 CRICKET LN                                                                                BRIDGEWATER     VA    22812‐9420
JOHN M HELFT & JEANNE M HELFT JT TEN            49 COTTRELL LANE                                                                               HOOSICK FALLS   NY    12090‐4510
JOHN M HERBST                                   6886 JERSEY MILL RD                                                                            ALEXANDRIA      OH    43001‐9703
JOHN M HERNANDEZ                                2701 OARFISH LANE                                                                              OXNARD          CA    93035
JOHN M HICKS                                    BOX 231                                                                                        ROCHESTER       TX    79544‐0231
JOHN M HITCHCOCK                                1856 PALMAS                                                                                    SAN MARINO      CA    91108‐2549
JOHN M HITT                                     14207 ERWIN RD                                                                                 COPEMISH        MI    49625‐9734
JOHN M HORRIGAN                                 PO BOX 82                                                                                      NOVELTY         OH    44072‐0082
JOHN M HOWARD                                   311 LAURA                                                                                      FARMINGTON      MO    63640‐2313
JOHN M HOWARD                                   2003 VANBIBBER LAKE EST K1                                                                     GREENCASTLE     IN    46135‐8903
JOHN M HOWARD                                   4872 CARRINGTON DR                                                                             ROCHESTER       MI    48306‐1497
JOHN M HRIT CUST KEVIN ANDREW HRIT UGMA MI      21853 PICADALLY                                                                                NOVI            MI    48375‐4793

JOHN M HUBER                                    9360 BRAY ROAD                                                                                 MILLINGTON      MI    48746‐9559
JOHN M HUNTER                                   13018 MEEKER BLVD                                                                              SUN CITY WEST   AZ    85375‐3803
JOHN M ISHIDA                                   5449 N CLARK ST                                                                                CHICAGO         IL    60640‐1220
JOHN M JAMES                                    3560 NW LAKEVIEW DRIVE                                                                         SEBRING         FL    33870‐7913
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 222 of 855
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

JOHN M JARVIS JR                                 782 MEMORIAL PKWY                                                                              AKRON            OH    44303‐1642
JOHN M JEFFREY                                   604 SIENNA CT                                                                                  MCKINNEY         TX    75070‐5382
JOHN M JENSEN                                    2081 I OLIVERA RD                                                                              CONCORD          CA    94520
JOHN M JERINA                                    111 NORTH ASPEN CT                    BLDG #3 UNIT #4                                          WARREN           OH    44484‐1076
JOHN M JOHNSON                                   507 W EVERGREEN AVE                                                                            YOUNGSTOWN       OH    44511‐1538
JOHN M JOHNSON                                   625 S SUTTON RD                                                                                JACKSON          MI    49203‐2433
JOHN M JONES                                     181 NOVATO ST                                                                                  SAN RAFAEL       CA    94901‐4696
JOHN M JUNKIN                                    690 NW 90TH PL                                                                                 PORTLAND         OR    97229‐6500
JOHN M KAELIN JR                                 6604 E 50 N                                                                                    GREENTOWN        IN    46936‐9417
JOHN M KAYANEK                                   11081 POTTER RD                                                                                FLUSHING         MI    48433‐9737
JOHN M KEITH                                     127 RIDGEVIEW ST                                                                               CLYDE            OH    43410‐1551
JOHN M KELLER                                    PO BOX 2617                                                                                    SARASOTA         FL    34230‐2617
JOHN M KEMPER TR JOHN KEMPER DEED OF TRUST UA    13511 CRISPIN WAY                                                                              ROCKVILLE        MD    20853‐2944
01/10/94
JOHN M KENNEDY                                   853 WRIGHT AVE                                                                                 SCHENECTADY      NY    12309‐6056
JOHN M KILROY                                    2633 N JANNEY ST                                                                               PHILADELPHIA     PA    19125‐1810
JOHN M KING                                      349 E PHILADELPHIA                                                                             FLINT            MI    48505‐3361
JOHN M KING                                      215 GOODE ST                                                                                   BURNT HILLS      NY    12027‐9735
JOHN M KINZIE                                    9380 GRATIOT AVE                                                                               COLUMBUS         MI    48063‐3610
JOHN M KITZMILLER                                11715 WICKHOLLOW                                                                               HOUSTON          TX    77043‐4533
JOHN M KITZMILLER & NANCY R KITZMILLER TEN ENT   11715 WICKHOLLOW                                                                               HOUSTON          TX    77043‐4533

JOHN M KLOSS                                     11418 NE 21ST STREET                                                                           BELLEVUE         WA    98004‐3027
JOHN M KOESSLER                                  8748 JEFFERSON                                                                                 MUNSTER          IN    46321‐2423
JOHN M KOHLER                                    12417 PIPO RD                                                                                  SAN DIEGO        CA    92128‐3032
JOHN M KOLAR                                     41233 DUNBOYNE CIR                                                                             CLINTON TOWNSHIP MI    48038‐1856

JOHN M KOLESAR                                   21 CROWLEY AVE                                                                                 BUFFALO          NY    14207‐1022
JOHN M KOSCIAK                                   PO BOX 337                                                                                     MILFORD          MA    01757‐0337
JOHN M KOSTKA                                    4090 N ASH ROAD                                                                                LINCOLN          MI    48742‐9660
JOHN M KRAMPE                                    7311 APPLE CROSS CIR                                                                           AVON             IN    46123‐7711
JOHN M KRAUSE                                    2484 LAWSON BLVD                                                                               GURNEE           IL    60031‐6087
JOHN M KRONE & JACQUELINE E KRONE JT TEN         20 LEDGEWOOD RD                                                                                DEDHAM           MA    02026‐6225
JOHN M KUHN                                      2158 S STATE ROAD 13                                                                           LAPEL            IN    46051‐9778
JOHN M KUNKEL                                    6031 GREYSTONE DR                                                                              MATTHEWS         NC    28104‐7766
JOHN M KUNST & PATRICIA G KUNST JT TEN           6206 SPYGLASSRIDGE DRIVE                                                                       CINCINNATI       OH    45230‐3773
JOHN M KUNZ                                      411 AQUEDUCT                                                                                   AKRON            OH    44303‐1510
JOHN M KUPRYCH                                   PO BOX 471                                                                                     GOSHEN           NY    10924‐0471
JOHN M KUTZLER & PATRICIA KUTZLER JT TEN         1715 8TH ST                                                                                    WAUKEGAN         IL    60085‐7209
JOHN M LAGAMBA & MRS MADELINE T LAGAMBA JT       25 BEECHWOOD AVE                                                                               TORRINGTON       CT    06790‐5122
TEN
JOHN M LAING                                     1662 FUERTE KNOLLS LN                                                                          EL CAJON         CA    92020‐8324
JOHN M LANE                                      997 E RIVER ST                                                                                 ELYRIA           OH    44035‐6023
JOHN M LANGIN                                    6940 LAKE PARK CIRCLE                                                                          SAINT LOUIS      MO    63123‐1600
JOHN M LANGSTON                                  1122 S KEMMAN AVE                                                                              LA GRANGE PARK   IL    60526‐1209
JOHN M LE FEVRE JR                               4734 WALNUT GROVE LN N                                                                         MINNEAPOLIS      MN    55446‐2911
JOHN M LEIGH JR                                  2300 VANDERBILT CIRCLE                                                                         AUSTIN           TX    78723‐1542
JOHN M LEMPENAU                                  8869 LAKE RD                                                                                   CORFU            NY    14036‐9573
JOHN M LEONE                                     106 JACOBSTOWN                        NEW EGYPT RD                                             WRIGHTSTOWN      NJ    08562‐2231
JOHN M LEWIS                                     189 LEATHERWOOD LAKE RD                                                                        STEWART          TN    37175‐4073
JOHN M LIPPERT                                   1836 W CORNELIA AVE                                                                            CHICAGO          IL    60657‐1020
JOHN M LIPSCOMB                                  1165 LEE ROAD 174                                                                              OPELIKA          AL    36801‐9524
JOHN M LISHMAN                                   1257 DALEVIEW DR                                                                               MCCLEAN          VA    22102‐1538
JOHN M LO PRESTI                                 4482 S MANNING RD                                                                              HOLLEY           NY    14470‐9067
JOHN M LOCKWOOD                                  16 WEST END AVE                                                                                LITTLE FALLS     NJ    07424‐1231
JOHN M LORENZ                                    203 MORNING GROVE LN                                                                           VALENCIA         PA    16059‐1639
JOHN M LOVE                                      350 2ND ST N                          APT 2                                                    ST PETERSBURG    FL    33701‐2984
JOHN M LOVELACE JR                               1202 TUPELO PL                                                                                 BALTIMORE        MD    21220‐5528
                                           09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 223 of 855
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

JOHN M LYONS TR JOHN M LYONS REVOCABLE TRUST     1321 UPPER 11TH ST                                                                               VINCENNES          IN    47591‐3337
UA 10/14/98
JOHN M MAC BRAYNE III                            31 TIDE WATCH DR                                                                                 ORLAND             ME    04472‐3610
JOHN M MACCAUSLAND & RUTH P MACCAUSLAND TEN      14 PLYMOUTH DRIVE                                                                                CHERRY HILL        NJ    08034‐3643
COM
JOHN M MACSHANE                                  2408 ACADEMY ROAD                                                                                HOLLY              MI    48442‐7900
JOHN M MAIDLOW                                   15074 AIRPORT RD                                                                                 LANSING            MI    48906‐9103
JOHN M MAIER JR                                  804 N EVERY RD                                                                                   MASON              MI    48854‐9306
JOHN M MALLOW JR                                 22 LAKE STREET                                                                                   MARLINTON          WV    24954‐1459
JOHN M MALLOY                                    6291 EAST SHADY GROVE RD                                                                         MEMPHIS            TN    38120
JOHN M MANEY                                     13480 WENTWORTH LN                      UNIT 125C                                                SEAL BEACH         CA    90740‐4651
JOHN M MANGINO                                   1513 DANUBE LN                                                                                   PLANO              TX    75075
JOHN M MANIER                                    7481 VAN VLEET                                                                                   SWARTZ CREEK       MI    48473‐8605
JOHN M MARALDO                                   12779 CATALPA ST                                                                                 SOUTHGATE          MI    48195‐1207
JOHN M MARINO                                    21851 NEWLAND ST SPC 149                                                                         HUNTINGTON         CA    92646‐7630
                                                                                                                                                  BEACH
JOHN M MARONIC                                   6135 BELMONT                                                                                     DOWNERS GROVE      IL    60516‐1641
JOHN M MARRO & JOSEPH V MARRO JT TEN             40462 AVINGER                                                                                    STERLING HEIGHTS   MI    48313‐5402

JOHN M MARTIN & CLAIRE ANN MARTIN JT TEN         308 OONOGA CIR                                                                                   LOUDON             TN    37774‐3020
JOHN M MASSEY JR                                 4428 WILDWOOD                                                                                    GLADSTONE          MO    64116‐4602
JOHN M MASSEY JR & KAREN D MASSEY JT TEN         4428 WILDWOOD DRIVE                                                                              GLADSTONE          MO    64116‐4602
JOHN M MASTERSON                                 7230 4TH ST N LOT 1201                                                                           ST PETERSBURG      FL    33702‐5849
JOHN M MATTHEWS                                  38700 YALE CT                                                                                    NORTHVILLE         MI    48167‐9067
JOHN M MC CLELLAND & MRS VALERIE C MC CLELLAND   49 GARNET RIDGE DR                                                                               TOLLAND            CT    06084‐3302
JT TEN
JOHN M MC GOWAN                                  11 OAKLYN TER                                                                                    ELMER              NJ    08318‐3834
JOHN M MC HUGH                                   9 MOUNTAIN CREST DR                                                                              CHESHIRE           CT    06410‐3554
JOHN M MC LAREN                                  844 A FM230                                                                                      TRINITY            TX    75862‐9600
JOHN M MC QUILLEN                                203 S JACKSON                                                                                    KANSAS CITY        MO    64123‐1860
JOHN M MCALINDON                                 3726 OAK CREEK COURT                                                                             GRAND RAPIDS       MI    49546‐9212
JOHN M MCCARROLL                                 5657 PYLES RD                                                                                    COLUMBIAVILLE      MI    48421‐8933
JOHN M MCGREGOR TR JOHN MCGREGOR TRUST UA        2785 W MAPLE RD                                                                                  TROY               MI    48084
06/14/88
JOHN M MCNEIL                                    184 WEST GATES                                                                                   ROMEO              MI    48065‐4457
JOHN M MEADE                                     1802 WESTLEIGH DR                                                                                GLENVIEW           IL    60025‐7619
JOHN M MECLER                                    7353 HUGHES AVE                                                                                  BALTIMORE          MD    21219‐2013
JOHN M MEDAGLIA                                  1768 MORGAN LANE                                                                                 COLLEGEVILLE       PA    19426
JOHN M MELIA CUST BETH A MELIA UGMA CT           1508 VERA CRUZ DR                                                                                PLANO              TX    75074‐7930
JOHN M MELLBERG                                  5709 ELECTION OAK DR                                                                             HIGH POINT         NC    27265‐3270
JOHN M MELNIK                                    1013 CENTER ST E                                                                                 WARREN             OH    44481‐9356
JOHN M MIGONE                                    500 S BERLIN AVE                                                                                 EGG HARBOR CY      NJ    08215‐3166
JOHN M MILLER                                    6533 CLARK LAKE RD                                                                               JACKSON            MI    49201‐9205
JOHN M MILLER                                    16035 HEISER RD                                                                                  BERLIN CENTER      OH    44401‐9721
JOHN M MILLER                                    2300 HENNA AVE N                                                                                 OAKDALE            MN    55128
JOHN M MILLERTON JR                              3024 MARLAY RD                                                                                   DAYTON             OH    45405‐2021
JOHN M MINARD & MARY GRACE MINARD JT TEN         209 E FOURTH ST                                                                                  EMPORIUM           PA    15834‐1446
JOHN M MINEAR                                    640 GROVE AVE SW #212                                                                            CLEVELAND          TN    37311‐5759
JOHN M MIRAMONTES JR                             33349 9TH                                                                                        UNION CITY         CA    94587‐2139
JOHN M MISITI & LISA MISITI JT TEN               10878 RYAN RD                                                                                    MEDINA             NY    14103‐9529
JOHN M MONER                                     345 VALLEYBROOK OVAL                                                                             HINCKLEY           OH    44233‐9641
JOHN M MONTILLI                                  60 BRICK LNDG                                                                                    ROCHESTER          NY    14626‐4739
JOHN M MOORE                                     260 NORTH BALDWIN RESORT RD                                                                      EAST TAWAS         MI    48730‐9438
JOHN M MOORE & ISABELITA M MOORE JT TEN          260 NORTH BALDWIN RESORT RD                                                                      EAST TAWAS         MI    48730‐9438
JOHN M MOORE JR                                  395 WYOMING AVE                                                                                  KINGSTON           PA    18704‐3618
JOHN M MOSLEY                                    2 BEVERLY DR                                                                                     LAUREL             MS    39443‐9409
JOHN M MUENCH                                    467 EAST HIAWATHA TRAIL                                                                          WOOD DALE          IL    60191‐2112
JOHN M MUNSON                                    12689 GUILFORD CIRCLE                                                                            WELLINGTON         FL    33414‐5504
JOHN M MURPHY                                    615 MOUNT LEBANON RD                                                                             WILMINGTON         DE    19803‐1707
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                         Part 4 of 8 Pg 224 of 855
Name                                                 Address1                             Address2                      Address3   Address4          City             State Zip

JOHN M NARDONE                                       5032 HELENE                                                                                     UTICA            MI    48316‐4236
JOHN M NOBLE JR                                      771 PAULA ST                                                                                    VANDALIA         OH    45377‐1134
JOHN M NOONAN                                        8 TRAILWOOD CIRCLE                                                                              ROCHESTER        NY    14618‐4812
JOHN M NORTON                                        2135 COUNTRY CLUB DRIVE                                                                         HUNTINGTON       PA    19006‐5605
                                                                                                                                                     VALLEY
JOHN M O'GORMAN                                      10 OAK BLUFF                                                                                    LARCHMONT        NY    10538‐4011
JOHN M OAKLEY & SUSAN M OAKLEY JT TEN                50501 LAGAE                                                                                     NEW BALTIMORE    MI    48047‐4234
JOHN M ODELL                                         106 STRATFORD DRIVE                                                                             GOOSE CREEK      SC    29445‐5502
JOHN M OLAUGHLIN JR                                  110 BETSEY ANNE CT                                                                              BOWLING GREEN    KY    42103‐8424
JOHN M PACHUTA                                       238 FAIRGROUND BLVD                                                                             CANFIELD         OH    44406‐1619
JOHN M PALERMO                                       163 SANNITA DR                                                                                  ROCHESTER        NY    14626‐3613
JOHN M PANZA                                         963 COLEMAN AVE                                                                                 FAIRMONT         WV    26554‐3535
JOHN M PAPPAS                                        2895 YGST KINGSVILLE RD                                                                         CORTLAND         OH    44410
JOHN M PARKER & MRS RUTH K PARKER JT TEN             100 TEMPLE ST                                                                                   FITCHBURG        MA    01420‐3751
JOHN M PARRETT                                       223 SAVANNAH RIDGE                                                                              MURFREESBORO     TN    37127
JOHN M PARRISH JR                                    PO BOX 65768                                                                                    SALT LAKE CITY   UT    84165‐0768
JOHN M PARTYKA                                       77410 OAK CREEK CT                                                                              BRUCE TWP        MI    48065
JOHN M PATE                                          R D #1                                                                                          CASTORLAND       NY    13620‐9801
JOHN M PATTYN                                        244 CORROTTOMAN CT                                                                              INDIANAPOLIS     IN    46123‐4051
JOHN M PAULY                                         67 CALVIN COURT NORTH                                                                           TONAWANDA        NY    14150‐8901
JOHN M PAULY & DONNA L PAULY JT TEN                  67 CALVIN CT NORTH                                                                              TONAWANDA        NY    14150‐8901
JOHN M PEETS                                         R R 11 BOX 505                                                                                  BEDFORD          IN    47421‐9740
JOHN M PENA                                          PO BOX 286                                                                                      SUNOL            CA    94586‐0286
JOHN M PERCHAK                                       208 BRUAW DR                                                                                    YORK             PA    17406‐6540
JOHN M PESEK III & BARBARA M PESEK TR PESEK LIVING   4631 MAYFIELD                                                                                   FREMONT          CA    94536‐6729
TRUST 12/06/91
JOHN M PETERFI JR                                    G3294 MENOMINEE                                                                                 BURTON           MI    48529
JOHN M PETERSON                                      5980 W WOODCREST DR                                                                             NEW PALESTINE    IN    46163‐9520
JOHN M PETERSON & MRS FRANCES R B PETERSON JT        C/O JOHN M SOLBACH                   700 MASSACHUSETTS SUITE 203                                LAWRENCE         KS    66044
TEN
JOHN M PETRO                                         5815 OXLEY                           WINDSOR ON                               N9H 1N6 CANADA
JOHN M PHELAN                                        5 HIGH HILL CIRCLE                                                                              SIMSBURY         CT    06089‐9728
JOHN M PHELAN CUST SEAN L PHELAN UGMA PA             1040 SENTRY LN                                                                                  GLADWYNE         PA    19035‐1009
JOHN M PHILLIPS                                      5827 WESTWOOD DR                                                                                GRAND BLANC      MI    48439‐9459
JOHN M PILAT                                         9734 S MINNICK                                                                                  OAK LAWN         IL    60453‐2914
JOHN M PITTMAN & CAROLYN H PITTMAN JT TEN            30424 BANDY RD                                                                                  LITTLE ROCK      AR    72223
JOHN M POGUE                                         5204 KENWOOD AVE                                                                                CHEVY CHASE      MD    20815‐6604
JOHN M POHL                                          901 C EAST WINDFIELD PLACE                                                                      APPLETON         WI    54911
JOHN M POOTHULLIL                                    244 SW BIRDSHILL ROAD                                                                           PORTLAND         OR    97219
JOHN M POPOVICH                                      23 TROLLEYVIEW DR                                                                               OLMSTED TWP      OH    44138‐3007
JOHN M PRINCE                                        287 RUSSELL AVE                                                                                 CORTLAND         OH    44410‐1241
JOHN M QUANDT & YVONNE A QUANDT TR UA                57460 SCHOENHERR                                                                                WASHINGTON       MI    48094
03/08/01 QUANDT LIVING TRUST
JOHN M RACKOFF                                       450 E WATERSIDE DR                   UNIT 202                                                   CHICAGO          IL    60601‐4703
JOHN M RAITER                                        18497 BENNETT RD                                                                                N ROYALTON       OH    44133‐6044
JOHN M RAU JR                                        3901 E LA PALMA AVE                                                                             ANAHEIM          CA    92807‐1714
JOHN M REAZER                                        1901 ELGIN AVE                       APT 402                                                    BALTIMORE        MD    21217‐1351
JOHN M REDMOND CUST THOMAS JOHN REDMOND              210 S WASHINGTON ST                                                                             LAKE CITY        MN    55041‐1036
UGMA MN
JOHN M REED JR                                       PO BOX 6784                                                                                     HOUSTON          TX    77005
JOHN M REICHERT                                      PO BOX 100                                                                                      CRYSTAL LAKE     IL    60039‐0100
JOHN M REICHERT                                      PO BOX 100                                                                                      CRYSTAL LAKE     IL    60039‐0100
JOHN M RELOVSKY                                      904 LEWIS ST                                                                                    BROWNSVILLE      PA    15417‐2208
JOHN M RICE                                          22125 N 80TH AVE                                                                                PEORIA           AZ    85383‐2163
JOHN M RICHARDSON                                    7637 WINDSOR DR NO                                                                              N SYRACUSE       NY    13212‐1016
JOHN M RICHMOND                                      1656 SOUTH CHRISTIANSEN STREET                                                                  SAINT DAVID      AZ    85630
JOHN M RIEKER                                        32 SUNSET AVE                                                                                   KINDERHOOK       NY    12106‐2317
JOHN M RIGBY                                         1223 NEW STREET                                                                                 WILMINGTON       DE    19808‐5819
JOHN M RIORDAN                                       27 BRANDON CIRCLE                                                                               ROCHESTER        NY    14612‐3055
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 225 of 855
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

JOHN M RISSER                                     600 HIGHLAWN AVE                                                                               ELIZABETHTOWN     PA    17022‐1307
JOHN M ROBERTS                                    48 BLAKE AVE                                                                                   CRANFORD          NJ    07016‐2905
JOHN M ROBERTS                                    4302 LOST SPRING COURT                                                                         LOUISVILLE        KY    40241
JOHN M ROCHE & MRS MAUREEN C ROCHE JT TEN         1934 IMPERIAL GOLF COURSE BLVD                                                                 NAPLES            FL    34110‐1079
JOHN M ROCKWOOD                                   36 RIDGE COURT                                                                                 AUBURN            NH    03032‐3705
JOHN M RODGERS                                    148 WALLACE AVE                                                                                EAST PITTSBURGH   PA    15112‐1614
JOHN M RODRIGUEZ                                  3759 BALDWIN PARK BLVD                                                                         BALDWIN PARK      CA    91706‐4105
JOHN M ROSENSTEEL                                 2377 CRESTON RD                                                                                CROSSVILLE        TN    38571
JOHN M ROSSI ADM EST CHARLES I SWARTZ             151 E MARKET ST                                                                                WARREN            OH    44481
JOHN M ROTHFUSS                                   11273 NORTH DR                                                                                 BROOKLYN          MI    49230‐8916
JOHN M ROUZZO                                     432 BELLA VISTA                                                                                EDGEWATER         FL    32141‐7911
JOHN M ROWIN                                      2227 HAVEN LANE                                                                                MONROE            WI    53566‐1298
JOHN M ROZSA                                      7 SHIPMASTER DRIVE                                                                             BRIGENTINE        NJ    08203‐1321
JOHN M RUSBACKY JR                                PO BOX 143                                                                                     MASURY            OH    44438‐0143
JOHN M RYAN & LOIS A RYAN JT TEN                  44705 ASPEN RIDGE DR                                                                           NORTHVILLE        MI    48167‐4434
JOHN M RYBSKI                                     2319 W 47TH PL                                                                                 CHICAGO           IL    60638
JOHN M SADLER                                     4095 DREAM ACRES DR                                                                            NORTH BRANCH      MI    48461‐8923
JOHN M SAKUMA & MRS MABEL T SAKUMA JT TEN         611 PIO DR                                                                                     WAILUKU           HI    96793‐2622
JOHN M SALIBA & CARRIE SALIBA JT TEN              45184 INDIAN CREEK                                                                             CANTON            MI    48187‐2514
JOHN M SALYER CUST JOHN M SALYER JR UGMA TN       617 PICCADILLY RO                                                                              ANTIOCH           TN    37013‐1726

JOHN M SANDOVAL                                   105 LARIAT CT                                                                                  AZLE              TX    76020‐1572
JOHN M SANDY                                      26981 E TRAP POND RD                                                                           GEORGETOWN        DE    19947‐5717
JOHN M SANTORO                                    46268 WILLIS RD                                                                                BELLEVILLE        MI    48111‐8972
JOHN M SARDONE & LINDA J SARDONE JT TEN           576 LINCOLN AVE                                                                                WEST HEMPSTEAD    NY    11552‐3306

JOHN M SCATCHELL                                  5875 N LINCOLN AVE STE 251                                                                     CHICAGO           IL    60659
JOHN M SCHECHTMAN & ROSE ANN SCHECHTMAN JT        832 E UNION ST                                                                                 MANCHESTER        IA    52057‐1443
TEN
JOHN M SCHEMMEL                                   19110 FLORENCE                                                                                 ROSEVILLE         MI    48066‐2616
JOHN M SCHERR & RUTH SCHERR JT TEN                542 N CHURCH ST                                                                                CHARLOTTE         NC    28202‐2208
JOHN M SCHOENER                                   10659 MOUNTAIN LAUREL WAY                                                                      UNION             KY    41091‐7629
JOHN M SCHWANTES                                  PO BOX 250                                                                                     PITTSVILLE        WI    54466‐0250
JOHN M SHARKUS                                    99 N ROCKY RIVER                                                                               BEREA             OH    44017‐1844
JOHN M SHARP JR                                   3606 BROWNWOOD DRIVE                                                                           AUSTIN            TX    78759‐8912
JOHN M SHAW JR                                    5 BENTLEY RD BRANTHAM                                                                          WEST GROVE        PA    19390‐9713
JOHN M SHEERAN CUST MISS ANN E SHEERAN U/THE      ATTN ANN E SHEERAN DEMORY             815 KITSAP ST                                            PT ORCHARD        WA    98366‐5231
MINN U‐G‐M‐A
JOHN M SHEETS II                                  3234 BEVERLY STREET                                                                            TOLEDO            OH    43614‐4101
JOHN M SHELLHORSE JR                              1603 LILLIAN                                                                                   ARLINGTON         TX    76013‐3254
JOHN M SHELTON                                    52208 COUNTY ROAD 1                                                                            GRANGER           IN    46530‐5028
JOHN M SHERIDAN & DELPHINE M SHERIDAN JT TEN      5594 OLD CARRIAGE LN                                                                           W BLOOMFIELD      MI    48322‐1650

JOHN M SHIRLEY CUST CARTER LEE SHIRLEY UTMA VA    3048 N RIVERSIDE DR                                                                            LANEXA            VA    23089‐9403

JOHN M SHIRLEY JR CUST TREVOR JON SHIRLEY UTMA    3048 N RIVERSIDE DR                                                                            LANEXA            VA    23089‐9403
VA
JOHN M SHREFFLER                                  2521 AUTUMN LAKE DR                                                                            ANDERSON          IN    46017‐9606
JOHN M SILKAUSKAS & BARBARA L SILKAUSKAS JT TEN   7260 CANDLEWYCK CT                                                                             DAYTON            OH    45459‐5001

JOHN M SIMKANIN                              9770 S W 27TH AVENUE                                                                                OCALA             FL    34476‐7518
JOHN M SINKS                                 412 MEADOW DRIVE                                                                                    MORENCI           MI    49256‐1525
JOHN M SISLER                                BOX 373                                                                                             MORGANTOWN        WV    26507‐0373
JOHN M SISSON                                189 OXFORD AVENUE                                                                                   PENDLETON         IN    46064‐8724
JOHN M SLEZIAK JR & ANNA SLEZIAK JT TEN      38231 S JULIAN                                                                                      CLINTON TWSP      MI    48036‐2143
JOHN M SMAIL                                 8031 MALTBY RD                                                                                      BRIGHTON          MI    48116‐6225
JOHN M SMALLWOOD                             8 THURSTON AVE                                                                                      TRENTON           NJ    08618
JOHN M SMALLWOOD & JUDITH M SMALLWOOD JT TEN 8 THURSTON AVE                                                                                      TRENTON           NJ    08618
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 226 of 855
Name                                               Address1                            Address2             Address3          Address4          City               State Zip

JOHN M SMITH                                       5601 CASMERE ST                                                                              DETROIT            MI    48212‐2802
JOHN M SMITH                                       11760 ELM RD                                                                                 BIRCH RUN          MI    48415‐8489
JOHN M SMITH                                       1401 E SCOTTWOOD                                                                             BURTON             MI    48529‐1623
JOHN M SMYCZYNSKI                                  272 CAMINO VIEJO ST                                                                          HENDERSON          NV    89012‐4818
JOHN M SOLTESZ                                     PO BOX 775                                                                                   SHIRLEY            MA    01464‐0775
JOHN M SOLTIS                                      278 CASTLE RD                                                                                PITTSBURGH         PA    15234‐2309
JOHN M SOTER                                       1216 ALEX RD                                                                                 DAYTON             OH    45449‐2114
JOHN M SOUDERS                                     301 LAVERN DR                                                                                FENTON             MO    63026‐4417
JOHN M STAHL                                       2612 LAGUNA DR                                                                               ENDICOTT           NY    13760‐7213
JOHN M STANSBERRY                                  137 WILL COMBS HOLLOW RD                                                                     VILAS              NC    28692‐8367
JOHN M STANTON                                     22 DUNBAR RD                                                                                 HILTON             NY    14468‐9104
JOHN M STELLANO SR                                 936 HEDGECOXE                                                                                PLANO              TX    75025‐2554
JOHN M STOEHR                                      383 SOUTHWAY CT                                                                              BARGERSVILLE       IN    46106‐8459
JOHN M SULLIVAN                                    PO BOX 218                                                                                   NORTH HAMPTON      MA    01060

JOHN M SULLIVAN                                    7513 PELBROOK FARM DRIVE                                                                     CENTERVILLE        OH    45459‐5015
JOHN M SULLIVAN & SUSAN L SULLIVAN JT TEN          5190 CONNORS LN                                                                              HIGHLAND           MI    48356‐1514
JOHN M SWAIN                                       773 JOSEPHINE AVENUE                                                                         COLUMBUS           OH    43204‐1016
JOHN M SWOPE                                       7209 ROCHESTER DR                                                                            EL PASO            TX    79912‐1523
JOHN M TAKASH                                      8 CAROUSEL CT                                                                                WILMINGTON         DE    19808‐2901
JOHN M TAYLOR                                      2873 AIRPORT RD                                                                              WATERFORD          MI    48329‐3307
JOHN M THACKSTON & LINNEA D THACSTON JT TEN        3130 OLD LYNCHBURG RD                                                                        NORTH GARDEN       VA    22959

JOHN M THALER                                      820 SIMCOE STREET N                 OSHAWA ON                              L1G 4V8 CANADA
JOHN M THATCHER & GAYLE R THATCHER JT TEN          5518 MAUDINE AVE                                                                             WEST VALLEY CITY   UT    84120‐2718
JOHN M THOMPSON                                    601 CHERRY BLOSSOM WAY                                                                       BRIDGEVILLE        PA    15017‐1178
JOHN M THORP                                       2382 W SHERDAN RD                                                                            PETOSKEY           MI    49770‐9703
JOHN M TICE & BODIL S TICE TR UA 07/28/93 JOHN M   753 N MESA RD                                                                                MILLERSVILLE       MD    21108‐2043
TICE & BODIL S TICE
JOHN M TOPPER                                      131 HICKORY LN                                                                               MEDFORD            NJ    08055‐8716
JOHN M TOWNSEND                                    1256 ROYAL AVE                                                                               LOUISVILLE         KY    40204‐2444
JOHN M TRIPLETT & MARY M TRIPLETT JT TEN           914 MC KINLEY ROAD                                                                           TACOMA             WA    98404‐3234
JOHN M TRIPLETT & MRS MARY M TRIPLETT TEN COM      810 8TH AVE NW                                                                               PUYALLUP           WA    98371

JOHN M TUBBS JR                                    5607 HAROLD                                                                                  DETROIT            MI    48212‐3188
JOHN M TURNEY & SHEILA W TURNEY JT TEN             210 CENTRAL AVE                                                                              RYE                NY    10580‐1627
JOHN M TURNEY CUST PHILIP S TURNEY UTMA NY         210 CENTRAL AVE                                                                              RYE                NY    10580‐1627
JOHN M TURNEY CUST SARAH C TURNEY UTMA NY          210 CENTRAL AVE                                                                              RYE                NY    10580‐1627
JOHN M TURNEY CUST SEAN C TURNEY UTMA NY           210 CENTRAL AVE                                                                              REY                NY    10580‐1627
JOHN M UBBES                                       4970 ROSS DRIVE                                                                              WATERFORD          MI    48328‐1046
JOHN M URQUHART & BERNICE URQUHART JT TEN          5747 ROUND UP ST                                                                             BOISE              ID    83709‐6463

JOHN M VAN DOORN                                   250 DANFORTH                                                                                 COOPERSVILLE       MI    49404‐1205
JOHN M VASSALLO & CHARLES L VASSALLO JT TEN        5946 IVY LEAGUE DR                                                                           CATONSVILLE        MD    21228‐5783
JOHN M VEKICH                                      202 S 63RD AVE W                                                                             DULUTH             MN    55807‐2263
JOHN M VENTIMIGLIA                                 12130 E 10 MILE RD                                                                           WARREN             MI    48089‐2036
JOHN M VERGUSON                                    6776 E HIGH STREET                                                                           LOCHPORT           NY    14094‐5307
JOHN M VINCENT III                                 PO BOX 1339                                                                                  NORTHVILLE         NY    12134‐1339
JOHN M WALDECK                                     HC36 BOX 25A                                                                                 CEDARVILLE         WV    26611‐9501
JOHN M WALKER                                      7640 S POTTAWATOMIE RD                                                                       NEWALLA            OK    74857‐8457
JOHN M WALSH                                       21 HILLSIDE ROAD                                                                             SOUTHAMPTON        NY    11968‐3731
JOHN M WALTERS                                     46 B HARMON ARNOLD RD                                                                        BRADFORD           TN    38316‐8754
JOHN M WALTON JR                                   721 HILLCREST ROAD                                                                           MAYSVILLE          KY    41056‐9172
JOHN M WALZER                                      115 BRIGHT AUTUMN LN                                                                         ROCHESTER          NY    14626‐1278
JOHN M WARANIAK                                    2725 HUNTER HEIGHTS DRIVE                                                                    W BLOOMFIELD       MI    48324‐2132
JOHN M WARCHAL                                     6401 W 85TH PL                                                                               BURBANK            IL    60459‐2314
JOHN M WARCHAL & MARY A WARCHAL JT TEN             6401 W 85TH PL                                                                               BURBANK            IL    60459‐2314
JOHN M WARNER                                      5278 E COUNTY ROAD 600 S                                                                     WALTON             IN    46994‐9373
JOHN M WATKINS                                     8021 W HUSTIS CT                                                                             MILWAUKEE          WI    53223‐4921
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 227 of 855
Name                                            Address1                             Address2                  Address3     Address4                 City              State Zip

JOHN M WAYLAND                                  1903 GRANDVIEW ROAD                                                                                  LAKE MILTON       OH    44429‐9754
JOHN M WETHERBEE & NANCY R WETHERBEE JT TEN     3202 AMSTERDAM                                                                                       CLIO              MI    48420‐2319

JOHN M WHITE & VIRGINIA M WHITE TR UA 03/27/92   4230 BERRYWICK TERRACE                                                                              ST LOUIS          MO    63128‐1906
THE WHITE LIVING TRUST
JOHN M WHITT                                     7844 ST RT 123                                                                                      BLANCHESTER       OH    45107
JOHN M WIEDMAN                                   1011 PEARCE                                                                                         OWOSSO            MI    48867‐4341
JOHN M WIESHEIER TR UA 01/30/92 JOHN M WIESHEIER PO BOX 806                                                                                          BORING            OR    97009‐0806
TRUST
JOHN M WIRTHMAN                                  130 S REMINGTON                                                                                     BEXLEY            OH    43209‐1868
JOHN M WITOSZYNSKI & DENISE S WITOSZYNSKI JT TEN 20070 CORYELL DR                                                                                    BIRMINGHAM        MI    48025‐5002

JOHN M WORLEY                                 41 S ELMA ST                                                                                           ANDERSON          IN    46012‐3139
JOHN M WRIGHT                                 5250 INDIAN HILL ROAD                                                                                  DUBLIN            OH    43017‐8208
JOHN M YOSHIDA                                6373 FORTUNE DR                                                                                        WATERFORD         MI    48329‐3133
JOHN M ZIATS                                  7242 N STATE ROAD 39                                                                                   LIZTON            IN    46149‐9540
JOHN M ZWEIGART                               PO BOX 336                                                                                             ABERDEEN          OH    45101‐0336
JOHN MABARY                                   1130 WATERLOO LAKE DR                                                                                  DENISON           TX    75020‐5404
JOHN MAC DONOUGH                              36 TEMPLEMORE ROAD                     OXTON WIRRAL MERSEYSIDE                CH43 2HB GREAT BRITAIN
JOHN MAC DONOUGH                              36 TEMPLEMORE ROAD                     OXTON WIRRAL MERSEUSIDE                CH43 2HB GREAT BRITAIN
JOHN MAC DONOUGH                              36 TEMPLEMORE RD                       OXTON WIRRAL MERSEYSIDE                CH43 2HB GREAT BRITAIN
JOHN MACDONALD HEALY CUST BENJAMIN HOFF HEALY 2524 NORTH EDGE WATER DR                                                                               FAYETTEVILLE      NC    28303‐5240
UTMA NC
JOHN MACDONALD HEALY CUST JENNIFER MACDONALD 2524 N EDGEWATER DR                                                                                     FAYETTEVILLE      NC    28303‐5240
HEALY UTMA NC
JOHN MADISON JR                               10101 FOLK AVE                                                                                         CLEVELAND         OH    44108‐2212
JOHN MADURAS & JOHN S MADURAS JT TEN          190 SOUTH BEDFORD ROAD                                                                                 CHAPPAGUA         NY    10514‐3451
JOHN MAGNANO                                  179 EXETER ROAD                                                                                        AMHERST           NY    14221‐3346
JOHN MAGUIRE                                  48 HANSEN AVE                                                                                          NEW CITY          NY    10956‐3133
JOHN MAHON                                    3119 5TH AVE                           APT 1                                                           SAN DIEGO         CA    92103‐5842
JOHN MAJOCKA                                  7 GARDENIA DR                                                                                          DARTMOUTH         MA    02747‐3585
JOHN MAKSYM & NANCY R MAKSYM JT TEN           57284 SYCAMORE DR                                                                                      WASHINGTON        MI    48094‐3396
JOHN MAKUTA & DIANA F MAKUTA JT TEN           9600 GIRARD LANE                                                                                       EDMUNDSON         MO    63134
JOHN MALCOLM CAINE & FRANCES L CAINE JT TEN   5196 E STANLEY RD                                                                                      FLINT             MI    48506‐1188

JOHN MALDREE COBB                             421 W FARMINGTON RD                                                                                    VIRGINIA BCH      VA    23454‐4021
JOHN MALETTA & MRS ANTOINETTE MALETTA TEN ENT MINOCK MEADOWS                         26600 SCHOOL CREST RD     APT 228                               REDFORD           MI    48239

JOHN MALLOY JR                                  8124 HAWKSHEAD RD                                                                                    WAKE FOREST       NC    27587‐6679
JOHN MANDEL & MRS ANNETTE MANDEL JT TEN         10336 S LA CROSSE                                                                                    OAK LAWN          IL    60453‐4737
JOHN MANGEL                                     160 MEADOWVIEW ROAD                                                                                  ATHENS            GA    30606‐4224
JOHN MANGLIERS                                  53910 BUCKINGHAM LN                                                                                  SHELBY TOWNSHIP   MI    48316‐2022

JOHN MANTALOS                                6836 N KEELER                                                                                           LINCOLNWOOD       IL    60646‐2618
JOHN MANTINEO CUST GIOVANNI MANTINEO UTMA NJ 15 WOODWARD AVE                                                                                         BLOOMINGDALE      NJ    07403‐1503

JOHN MARCHAK                                    34368 COASTAL DR                                                                                     STERLING HTS     MI     48310‐5568
JOHN MARCIANO                                   9121 FOREST DR SW                                                                                    CALABASH         NC     28467‐3023
JOHN MARCKS                                     140 EXMOOR                                                                                           WATERFORD        MI     48328‐3412
JOHN MARCO                                      804 WYLIE AVE                                                                                        JEANNETTE        PA     15644‐2653
JOHN MARIANI & JOAN MARIANI JT TEN              7783 TRAPANI LANE                                                                                    BOYNTON BEACH    FL     33472‐7391
JOHN MARION HUFFER                              1300 W 53RD STREET                                                                                   ANDERSON         IN     46013‐1309
JOHN MARK WITHAM                                95 HIDDEN VALLEY RD                                                                                  CARROLLTON       GA     30116‐8951
JOHN MARKOW                                     1006 W CACTUS WREN DR                                                                                PHOENIX          AZ     85021‐8628
JOHN MAROK & NANCY A MAROK JT TEN               3348 E HARVARD AVENUE                                                                                GILBERT          AZ     85234‐2153
JOHN MARRS CUST DAVID MARRS UGMA IN             5401 US HWY 150                                                                                      WEST TERRE HAUTE IN     47885‐9496

JOHN MARSHALL FURLOW                            PO BOX 31743                                                                                         CHARLESTON        SC    29417‐1743
JOHN MARSHALL JONES III                         117 RIDGEFIELD ROAD                                                                                  LUTHERVILLE       MD    21093
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 228 of 855
Name                                            Address1                               Address2             Address3          Address4                 City             State Zip

JOHN MARTIN                                     50 RD 261                                                                                              GLEN             MS    38846
JOHN MARTIN & DOROTHY MARTIN JT TEN             8 WILLOW DRIVE                                                                                         EASTON           PA    18045
JOHN MARTIN KOSSEL                              57 BRIDLEPATH DR                                                                                       LINDENHURST      IL    60046‐4936
JOHN MARTIN THOMAS II                           4 CURTIS DRIVE                                                                                         FLEMINGTON       NJ    08822‐2600
JOHN MARTINEZ                                   2133 SUNSET LN                                                                                         SAGINAW          MI    48604‐2443
JOHN MARTINO                                    9916 GLENKINCHIE DR                                                                                    HUNTERSVILLE     NC    28078‐0616
JOHN MARTINSON & IRIS MARTINSON JT TEN          456 OAKDALE ST                                                                                         SI               NY    10312‐5045
JOHN MARTONE & MRS ANGELA MARTONE JT TEN        119 SCOTCH PINE COURT                                                                                  AIKEN            SC    29803‐1600
JOHN MASANO                                     815 LANCASTER AVE                                                                                      READING          PA    19607‐1636
JOHN MATHEWS                                    4701 KEPPLER PL                                                                                        TEMPLE HILLS     MD    20748‐2100
JOHN MATTHEWS                                   26 MAPLE AVE                                                                                           THOMASTON        CT    06787‐1901
JOHN MATTIUZ                                    2997 BYNG ROAD                         WINDSOR ON                             N8W 3G6 CANADA
JOHN MAURICE HOULDER                            59 WARWICK SQUARE                      LONDON                                 SW1V 2AL GREAT BRITAIN
JOHN MAX ZEMKE & DEBORAH ESTHER ZEMKE JT TEN    513 WESTWOOD AVE                                                                                       COLUMBIA         MO    65203‐2865

JOHN MAXWELL SMITH & JEANNETTE K SMITH JT TEN   2537 LYONS RD                                                                                          OWOSSO           MI    48867‐9770

JOHN MAXWELL STERLING JR                        44 HARVEST CT                                                                                          GREENVILLE       SC    29601‐4409
JOHN MAY                                        617 NORWOOD LN                                                                                         SCHAUMBURG       IL    60193‐2639
JOHN MAY JR                                     612 SAN MARTIN APT 10E                 TANDIL BA                              7000 ARGENTINA
JOHN MAYER                                      1641 GRAGG ST                                                                                          CENTRALIA        IL    62801
JOHN MAYNARD HACKETT JR                         1221 ALLDAYS AV                                                                                        TOLEDO           OH    43607‐3412
JOHN MAZURKIEWICZ                               #3125 GLEN FLORA WAY                                                                                   FORT SMITH       AR    72908‐9309
JOHN MAZZONE & PATRICIA MAZZONE JT TEN          123 BIRCHWOOD TER                                                                                      WAYNE            NJ    07470‐3836
JOHN MC ALPINE                                  1610 DOROTHEA RD                                                                                       BERKLEY          MI    48072‐2110
JOHN MC CALLUM                                  PO BOX 233                                                                                             BRISTOL          TN    37621‐0233
JOHN MC CLAIN CUST KATHRYN MC CLAIN UGMA MI     3030 PAINT CREEK                                                                                       OAKLAND          MI    48363‐2722

JOHN MC CLAIN CUST MARY E MC CLAIN UGMA MI      3030 PAINT CREEK                                                                                       OAKLAND          MI    48363‐2722

JOHN MC CLEVE & EDNA G MC CLEVE TR MC CLEVE FAM 4560 2ND ST                                                                                            CALEDONIA        MI    49316‐9627
TRUST UA 01/29/96
JOHN MC CULLOUGH GIBSON                         1719 FERN GLEN DR                                                                                      DRUMORE          PA    17518‐9711
JOHN MC DERMOTT                                 1702 MC MINN ST                                                                                        ALIQUIPPA        PA    15001‐3057
JOHN MC LACHLAN                                 2801 N HALIFAX AVE                     APT 141                                                         DAYTONA BEACH    FL    32118‐3140
JOHN MC LEAN CUST JOHN ALLAN MC LEAN UGMA OH 2408 HAVERFORD RD                                                                                         COLUMBUS         OH    43220‐4322

JOHN MC LEAN CUST SCOTT H MC LEAN UGMA OH       2408 HAVERFORD RD                                                                                      COLUMBUS        OH     43220‐4322
JOHN MC LEAN SAVELAND                           1113 FALLSMEAD WAY                                                                                     POTOMAC         MD     20854‐5531
JOHN MC MORROW CUST HEIDI A MC MORROW UGMA      1411 OSTERVILLE RD                                                                                     WEST BARNSTABLE MA     02668‐1705
OH
JOHN MC NEIL                                    860 WILDER AVE                                                                                         ELYRIA           OH    44035‐3020
JOHN MCCARTY JR                                 9590 COLONEL PT DR                                                                                     CRYSTAL          MI    48818‐9637
JOHN MCDERMID                                   38809 WILLOWDALE DRIVE                                                                                 WILLOUGHBY       OH    44094‐7945
JOHN MCDONALD                                   2704 MEMORIAL DR                                                                                       NORTH MUSKEGON   MI    49445‐2210

JOHN MCDONALD PILE                              472 GRAMATAN AVE                       APT B5                                                          MOUNT VERNON     NY    10552‐2936
JOHN MCGOLDRICK                                 99 3RD AVE                                                                                             ATLANTIC HLDS    NJ    07716‐1231
JOHN MCINNES IV                                 7 LANTERN LANE                                                                                         CUMBERLAND       ME    04110‐1410
                                                                                                                                                       FORESDE
JOHN MCIVER ANDREWS                             2248 ISEMAN ROAD                                                                                       DARLINGTON       SC    29532
JOHN MCKEE                                      1492 REGAL CT                                                                                          KISSIMMEE        FL    34744
JOHN MCKENZIE                                   PO BOX 9727                                                                                            PANAMA CITY      FL    32417‐0127
                                                                                                                                                       BEACH
JOHN MCKINLEY                                   84 HOLLAND AVENUE                                                                                      ELMONT           NY    11003‐1633
JOHN MCLAUREN BURNS                             3409 CHARLESON STREET                                                                                  ANNANDALE        VA    22003‐1609
JOHN MCMAHAN                                    233 MEADOW CREST DRIVE                                                                                 WEST COLUMBIA    SC    29172
JOHN MCMILLAN CUST SCOTT MCMILLAN UTMA OH       351 LAKE OF THE WOODS                                                                                  AKRON            OH    44333‐2788
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                     Part 4 of 8 Pg 229 of 855
Name                                           Address1                               Address2                        Address3   Address4          City              State Zip

JOHN MCNAMARA                                  515 RIVERVIEW RD                                                                                    COLONIAL HGTS     VA    23834
JOHN MEAGHER III & NANCY R MEAGHER JT TEN      1913 CARRWAY ST                                                                                     BIRMINGHAM        AL    35235
JOHN MEIBAUM                                   100 HUNTERS TRACE DRIVE                                                                             RIPLEY            TN    38063‐1159
JOHN MELENCHEN & ELSIE MELENCHEN TEN ENT       702 7TH ST                                                                                          NORTH CHARLEROI   PA    15022‐2267

JOHN MELENCHEN & ELSIE V MELENCHEN JT TEN      702 7TH ST                                                                                          N CHARLEROI    PA       15022‐2267
JOHN MELLODGE                                  528 GREENWAY AVE                                                                                    TRENTON        NJ       08618‐2433
JOHN MELNYK                                    10421 S CAROLINA ST                                                                                 OSCODA         MI       48750‐1911
JOHN MELVIN BOWEN                              406 NORTH SMITH WICK ST                                                                             WILLIAMSTON    NC       27892‐2048
JOHN MENDICK                                   166 LARKSPUR LANE                                                                                   ROCHESTER      NY       14622‐1744
JOHN MERCIERI                                  104 JOHNNYCAKE MT RD                                                                                BURLINGTON     CT       06013
JOHN MERIDITH TABOR JR                         PO BOX 1002                                                                                         OXFORD         MS       38655
JOHN MERKUN & TILLIE B MERKUN JT TEN           32650 LAKESHORE BLVD                                                                                EASTLAKE       OH       44095‐3213
JOHN MERLINO & THERESA P MERLINO JT TEN        529 1ST AVENUE                                                                                      SUTERSVILLE    PA       15083‐1213
JOHN MERRILL                                   3872 SAN AUGUSTINE DR                                                                               GLENDALE       CA       91206‐1203
JOHN MERVILLE WEED III                         209‐37 18TH AVE                                                                                     BAYSIDE        NY       11360‐1444
JOHN MERWIN                                    149 CANDACE LANE                                                                                    CHATHAM        NJ       07928‐1116
JOHN METZGER                                   2000 W 525 N                                                                                        LEBANON        IN       46052‐9530
JOHN MICHAEL BAXTER                            APT D‐5                                3209 WEST CHESTER PIKE                                       NEWTOWN SQUARE PA       19073‐4260

JOHN MICHAEL BURNS                             PO BOX 367                                                                                          MASSENA         NY      13662‐0367
JOHN MICHAEL CUNNINGHAM                        325 LESTER RD                                                                                       DOUGLASVILLE    GA      30134‐6633
JOHN MICHAEL DAVIS                             315 UNION AVE                                                                                       STEUBENVILLE    OH      43952‐2559
JOHN MICHAEL DEPOY                             6141 NORTH KILBOURN                                                                                 CHICAGO         IL      60646‐5019
JOHN MICHAEL DEVIS                             2832 44TH ST SOUTHWEST                                                                              NAPLES          FL      34116‐7924
JOHN MICHAEL EVANS                             17060 SYCAMORE RD                                                                                   GRAND RAPIDS    OH      43522‐9469
JOHN MICHAEL FITZSIMMONS                       38476 QUAIL RIDGE DR                                                                                MURRIETA        CA      92562
JOHN MICHAEL FRANK                             404 SHOFT SHADOW LANE                                                                               DE BARY         FL      32713‐2324
JOHN MICHAEL GABLE                             19145 HOBART RD                                                                                     WEST FARMINGTON OH      44491‐9610

JOHN MICHAEL GUTTMANN                          3 SADORE LANE APT 1A                                                                                YONKERS           NY    10710‐4749
JOHN MICHAEL HERATY                            1428 VAN VLECK ST                                                                                   YUBA CITY         CA    95993‐9130
JOHN MICHAEL JESSOP                            9484 CHAREST ST                                                                                     HAMTRAMCK         MI    48212
JOHN MICHAEL L MESSINA                         13 PAXWOOD ROAD                                                                                     DELMAR            NY    12054‐2917
JOHN MICHAEL LAMWERSIEK                        213 ORCHARD AVENUE                                                                                  WINCHESTER        MO    63021‐5231
JOHN MICHAEL LEE                               16636 KELSLOAN                                                                                      VAN NUYS          CA    91406‐2823
JOHN MICHAEL LIPONOGA                          2236 QUIET VALLEY TRAIL                                                                             BRIGHTON          MI    48114‐8966
JOHN MICHAEL LYLE                              PO BOX 1653                                                                                         FRASER            CO    80442‐1653
JOHN MICHAEL MINOR JR                          C/O BEIRNE MINOR HARDING               5436 COURTNEY‐HUNTSVILLE ROAD                                YADKINVILLE       NC    27055‐8637
JOHN MICHAEL MURRAY                            2007 W MINNEZONA AVE                   #7                                                           PHOENIX           AZ    85015‐4157
JOHN MICHAEL POKRYFKY                          9215 FLORIDA                                                                                        LIVONIA           MI    48150‐3801
JOHN MICHAEL RYAN                              2604 RIVER OAKS DR                                                                                  MONROE            LA    71201‐2022
JOHN MICHAEL SCONYERS                          182 MARLBORO RD                                                                                     SUDBURY           MA    01776‐1350
JOHN MICHAEL YEDINAK                           FOUR ROD RD                                                                                         ALDEN             NY    14004
JOHN MICHAJLYSZYN                              24863 RAVEN                                                                                         EAST DETROIT      MI    48021‐1452
JOHN MICHEAL MARTINICK                         159 BRUSH CREEK RD                                                                                  AMHERST           NY    14221‐2742
JOHN MIERS                                     5228 SOUTH 7TH ST                                                                                   MILWAUKEE         WI    53221‐3620
JOHN MIGGINS & SHIRLEY MIGGINS JT TEN          15430 WOOD ST                                                                                       HARVEY            IL    60426
JOHN MIKITA & ANNE MIKITA JT TEN               95 OAK ST                                                                                           CLIFTON           NJ    07014‐1703
JOHN MIKORYAK & VEDA LA JUNE MIKORYAK JT TEN   6435 WINONA                                                                                         ALLEN PARK        MI    48101‐2321

JOHN MIKSITS                                   29 SECOND ST                                                                                        CLIFTON           NJ    07011‐3339
JOHN MIKULAY CUST ROGER D MIKULAY UGMA IN      9426 SOUTHMOOR DR                                                                                   HIGHLAND          IN    46322‐2401

JOHN MILLER                                    BOX 79                                                                                              S CHATHAM         MA    02659‐0079
JOHN MILLER                                    4901 DUCK LAKE ROAD                                                                                 MILFORD           MI    48381‐2130
JOHN MILLIGAN JR                               416 VAIL VALLEY DRIVE                                                                               VAIL              CO    81657‐4553
JOHN MILTON ANDERSEN CUST NATHAN JOHN          12015 FIELDWOOD                                                                                     DALLAS            TX    75244‐7722
ANDERSEN UGMA TX
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 230 of 855
Name                                            Address1                             Address2                 Address3      Address4          City              State Zip

JOHN MILTON HILL                                STEWARD OBSERVATORY                                                                           TUCSON            AZ    85721‐0001
JOHN MISTOVICH                                  6221 DENISE DR                                                                                N RIDGEVILLE      OH    44039‐1809
JOHN MITCHELL                                   271 RT #539                                                                                   CREAMRIDGE        NJ    08514‐1519
JOHN MITCHELL                                   5971 S HIMALAYA CT                                                                            CENTENNIAL        CO    80016‐3818
JOHN MITCHELL COOPER & MARY ELLEN COOPER JT TEN 6101 SW 61ST ST                                                                               TOPEKA            KS    66610

JOHN MITCHELL SORROW JR                         BOX 2431                                                                                      CHAPEL HILL       NC    27515‐2431
JOHN MOHME                                      8942 BURTON WAY                                                                               BEVERLY HILLS     CA    90211‐1631
JOHN MOIRANO                                    27 LEONARD DLRIVE                                                                             MASSAPEQUA        NY    11758‐7919
JOHN MOLINARI                                   7718 E. CHAPERRAL RD.                                                                         SCOTTSDALE        AZ    85250
JOHN MOLLE & ANNA MOLLE JT TEN                  302 W 124TH STREET                                                                            KANSAS CITY       MO    64145‐1184
JOHN MOLNAR                                     380 MT OLIVE CEMT RD                                                                          LYNNVILLE         TN    38472‐5536
JOHN MONTALVO                                   1157 HIGHLEY STREET                                                                           TOLEDO            OH    43612‐2326
JOHN MONTANA CUST ANDREW JON MONTANA UGMA 7 WOODFIELD LANE                                                                                    SADDLE RIVER      NJ    07458‐3219
NJ
JOHN MONTES                                     2024 SOUTH THIRD AVENUE                                                                       MAYWOOD           IL    60153‐3318
JOHN MONTES & MAXINE MONTES JT TEN              2024 S 3RD AVE                                                                                MAYWOOD           IL    60153‐3318
JOHN MOORE & CHRISTINA MOORE JT TEN             14687 HILL RD                                                                                 HUMBALDT          IL    61931‐7916
JOHN MORGAN                                     1808 E PINE                                                                                   COMPTON           CA    90221‐1353
JOHN MORGAN CALLAGY JR                          230 POND ST                                                                                   JAMAICA PLAIN     MA    02130‐2429
JOHN MORIARTY                                   3724 CHAMPIONSHIP DR                                                                          GLENWOOD          MD    21738‐9311
JOHN MORRALL CUST ALANA BRODER MORRALL UGMA 3511 RODMAN ST NW                                                                                 WASHINGTON        DC    20008‐3118
WA
JOHN MORRELL MC GREGOR                          6701 FM 1954                                                                                  WICHITA FALLS     TX    76310‐8330
JOHN MORRIS BRAAM                               6137 COOK RD                         R R #33                  LONDON ON     N6P 1P3 CANADA
JOHN MORRIS SHIMER III & MAUREEN SHIMER TEN COM 6725 CHEVY CHASE                                                                              DALLAS            TX    75225‐2504

JOHN MORROW                                     2635 HUMBOLDT AVE S                  # 101                                                    MINNEAPOLIS       MN    55408‐1023
JOHN MORSE CUST ACF CHRISTINA ANN MORSE UTMA    9291 17 MILE RD                                                                               MARSHALL          MI    49068‐9755
FL
JOHN MORSE PER REP EST DONALD L MORSE           5516 KURT DR                                                                                  LANSING           MI    48911
JOHN MOSTICH                                    540 GRIER AVE                                                                                 ELIZABETH         NJ    07202‐3105
JOHN MOTICKA                                    11049 HILL RD                                                                                 SWARTZ CREEK      MI    48473‐8523
JOHN MOYLES JR CUST DANIEL MOYLES UTMA PA       102 TUDY LN                                                                                   OLYPHANT          PA    18447‐1763
JOHN MUCHOW JR                                  6244 CROSBY RD                                                                                LOCKPORT          NY    14094‐7950
JOHN MULLER                                     22467 BRITTANY AVE                                                                            EASTPOINTE        MI    48021‐2507
JOHN MULLER & EVA MULLER JT TEN                 22467 BRITTANY AVE                                                                            EASTPOINTE        MI    48021‐2507
JOHN MULLINS JR                                 251 W DE KALB PIKE E‐607                                                                      KING OF PRUSSIA   PA    19406‐2421
JOHN MUNIZ JR                                   6853 AINTREE DR                                                                               SAN JOSE          CA    95119‐1802
JOHN MURIELLA                                   27758 SANTA MARGARITA PKWY #102                                                               MISSION VIEJO     CA    92691‐6709
JOHN MURMAN                                     10 DEER RUN RD                                                                                WAPPINGER FALLS   NY    12590‐4502

JOHN MURPHY                                     8 HAVEN LN                                                                                    TROY              NY    12182‐1009
JOHN MURPHY                                     MORAHIN AWGHADOWN                    SKIBBEREEN COUNTY CORK                 IRELAND
JOHN MURRAY                                     3040 WATERCHASE WAY SW               APT 106                                                  WYOMING           MI    49519‐5910
JOHN MURRAY ARMSTRONG                           205 CHURCH STREET                                                                             SOMERVILLE        TN    38068‐1505
JOHN MURRAY ARMSTRONG CUST JACK BRENCE          205 CHURCH STREET                                                                             SOMERVILLE        TN    38068‐1505
ARMSTRONG UGMA TN
JOHN MURRAY TATE                                34 LYNWOOD LANE                                                                               LEXINGTON         TN    38351‐1316
JOHN MURTAGH                                    2005 WINDEMERE DR                                                                             GREENCASTLE       IN    46135‐9225
JOHN MUTTER                                     195 HIGHLAND WOODS CT                                                                         DENVER            NC    28037‐8058
JOHN MUYSKENS CUST ALISON MUYSKENS UGMA NY      106 HAMPSHIRE ST                                                                              CAMBRIDGE         MA    02139‐1506

JOHN MYER RIESEN                                113 SAINT JAMES RD                                                                            IRVING            TX    75063‐4818
JOHN MYERS & MARY MYERS JT TEN                  43087 BRADLEY DR                                                                              BELLEVILLE        MI    48111‐5376
JOHN MYRON HULYK                                42726 WINBLETON WAY                                                                           NOVI              MI    48877
JOHN N AGNOS & NICKIE B AGNOS JT TEN            3816 WINTERSET DR                                                                             ANNANDALE         VA    22003‐2240
JOHN N ANKER                                    2951 ISLAND PT DR                                                                             METAMORA          MI    48455‐9625
JOHN N BICKNELL & MARILYN V BICKNELL JT TEN     2253 E DELHI RD                                                                               ANN ARBOR         MI    48103‐9406
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 231 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

JOHN N BOOMER                                    21 VIA MARIA DR                                                                                 GLENVILLE        NY    12302‐5726
JOHN N BROOKS                                    PO BOX 155                                                                                      SILVER GROVE     KY    41085‐0155
JOHN N BRUGGER JR & JOHN N BRUGGER SR JT TEN     132 ROBERTA                                                                                     TAWAS CITY       MI    48763‐9207

JOHN N BURLESON                                  3683 S 2200 W APT 75                                                                            SALT LAKE CITY   UT    84119‐6814
JOHN N BURLING                                   103 BAINBRIDGE WAY                                                                              BLUFFTON         SC    29910
JOHN N BURNS                                     839 BENNIE RD                                                                                   CORTLAND         NY    13045
JOHN N CAPELLA                                   340 WESTMINSTER DR                                                                              NOBLESVILLE      IN    46060‐4244
JOHN N CAPELLA & PATRICIA A CAPELLA JT TEN       340 WESTMINSTER DR                                                                              NOBLESVILLE      IN    46060‐4244
JOHN N CARPENTER & ELFRIEDA R CARPENTER JT TEN   PO BOX 329                                                                                      WEST YARMOUTH    MA    02673

JOHN N COLON                                     2614 SUTHERLAND AVE                                                                             INDIANAPOLIS     IN    46205‐4271
JOHN N COYNE & ROSEMARY F COYNE JT TEN           4264 SOUTHVIEW LANE                                                                             DOYLESTOWN       PA    18901‐1533
JOHN N DE SANTIS                                 200 STONECROP RD                                                                                WILMINGTON       DE    19810‐1320
JOHN N DIEHL                                     2110 OAKLYN DR                                                                                  FALLSTON         MD    21047‐2006
JOHN N DIEHL & GRACE J DIEHL JT TEN              2110 OAKLYN DRIVE                                                                               FALLSTON         MD    21047‐2006
JOHN N DISHON                                    8749 MONTICELLO DR                                                                              WEST CHESTER     OH    45069‐3224
JOHN N DUDASH                                    RD #1 BOX 41                                                                                    STARRUCCA        PA    18462‐9801
JOHN N ECHTERNACH                                22 CHELSEA POINTE                                                                               DANA POINT       CA    92629
JOHN N ESPOSITO                                  29 STRATFORD TERR                                                                               CRANFORD         NJ    07016‐3051
JOHN N FARETTA                                   4010 S HANNA DR                                                                                 TEMPE            AZ    85282‐6136
JOHN N GARRISON                                  17725 GEORGE WASHINGTON DRIVE                                                                   SOUTHFIELD       MI    48075‐2780
JOHN N GAYTAN                                    4315 MURWICK                                                                                    ARLINGTON        TX    76016‐6207
JOHN N GAYTAN & ALICIA R GAYTAN JT TEN           4315 MURWICK DR                                                                                 ARLINGTON        TX    76016‐6207
JOHN N GEORGOPOLIS                               PO BOX 1873                                                                                     JACKSON          MI    49204‐1873
JOHN N GOBIS & ELEANOR GOBIS JT TEN              54 PROSPECT HILL ST                                                                             NEWPORT          RI    02840‐3116
JOHN N GULICK JR                                 369 BROADWAY                                                                                    SAN FRANCISCO    CA    94133‐4512
JOHN N GUZMAN                                    341 CLAUDIA ST                                                                                  ARLINGTON        TX    76010‐2015
JOHN N HARTMAN                                   1807 SPRUCE ST                                                                                  HAMILTON         NJ    08610‐2234
JOHN N HATSOPOULOS CUST ALEXANDER JOHN           WOODCOCK LANE                                                                                   LINCOLN          MA    01773
HATSOPOULOS UGMA MA
JOHN N HEASTY                                    PO BOX 405                                                                                      LAKE CITY        MI    49651‐0405
JOHN N HLAVATI JR                                8351 GRASS LAKE ROAD                                                                            HILLSDALE        MI    49242‐9522
JOHN N HLAVATI JR & YOLANDA R HLAVATI JT TEN     8351 GRASS LAKE ROAD                                                                            HILLSDALE        MI    49242‐9522
JOHN N HOFFMAN JR                                87 POUND HOLLOW RD                                                                              GLEN HEAD        NY    11545‐2211
JOHN N HRYNIW                                    19638 E SONOQUI CIR                                                                             QUEEN CREEK      AZ    85142‐7449
JOHN N HYDAR & DEANNA M HYDAR JT TEN             59648 GLACIER RIDGE S                                                                           WASHINGTON       MI    48094‐2232
                                                                                                                                                 TWNSHIP
JOHN N JAMESON                                   BOX 453 CANTERBURY FOREST                                                                       PLAISTOW         NH    03865‐0453
JOHN N JONES                                     1914 VALLEY DR                                                                                  YPSILANTI        MI    48197‐4443
JOHN N KOROMPILAS                                120 DUNSTABLE WAY                                                                               FOLSOM           CA    95630‐6841
JOHN N KYLE & DOROTHY E KYLE JT TEN              1263 PROSPECT ROAD                                                                              PITTSBURGH       PA    15227‐1407
JOHN N LANDON                                    4226 N BELSAY RD                                                                                FLINT            MI    48506‐1663
JOHN N LECHMAN                                   15300 CARDINAL DR                                                                               EFFINGHAM        IL    62401‐7663
JOHN N LIADIS                                    2757 COUNTRYSIDE BLVD APT 106                                                                   CLEARWATER       FL    33761‐3640
JOHN N LIEBERMAN                                 RD 4 BOX 140‐C                                                                                  GREENSBURG       PA    15601‐9448
JOHN N MACDONALD                                 11350 GRAND OAK DRIVE                                                                           GRAND BLANC      MI    48439‐1219
JOHN N MANSON                                    3727 GREGGORY WAY UNIT 5                                                                        SANTA BARBARA    CA    93105‐4063
JOHN N MATHEWS                                   1000N                                  9595 E COUNTY RD                                         BROWNSBURG       IN    46112‐9638
JOHN N MATZER                                    9560 MCLENNAN AVE                                                                               SEPULVEDA        CA    91343‐2531
JOHN N MC COMBS & MRS MARY M MC COMBS JT TEN     1068 VIA ALTA                                                                                   LAFAYETTE        CA    94549‐2916

JOHN N MCVAUGH CUST JOHN N MCVAUGH JR UGMA       314 FOXRIDGE DR SW                                                                              LEESBURG         VA    20175‐2510
PA
JOHN N MEYER                                     64 DELRAY DR                                                                                    BUFFALO          NY    14225‐1653
JOHN N MILLER II                                 6908 M C 8060                                                                                   YELLVILLE        AR    72687
JOHN N MOELLER III & JAMES T MOELLER JT TEN      6927 AITKEN RD                                                                                  LEXINGTON        MI    48450‐9318
JOHN N MORRIS                                    523 SOUTH 7TH STREET                                                                            MITCHELL         IN    47446‐2011
JOHN N MOTLEY JR                                 1152 REX AVE                                                                                    FLINT            MI    48505‐1639
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 232 of 855
Name                                           Address1                              Address2                Address3       Address4          City               State Zip

JOHN N MURPHY                                  38 W YALE                                                                                      PONTIAC            MI    48340‐1856
JOHN N NESTOR                                  5388 SOLDIERS HOME RD                                                                          MIAMISBURG         OH    45342‐1459
JOHN N NESTOR & LENORE F NESTOR JT TEN         8 MOUND AVE                                                                                    MIAMISBURG         OH    45342‐2916
JOHN N NEWCOMER CUST AMANDA DAWN NEWCOMER 10 WHITTLERS RIDGE                                                                                  PITTSFORD          NY    14534‐4522
UGMA NY
JOHN N NEWCOMER CUST CHRISTOPHER SCOTT         10 WHITTLERS RIDGE                                                                             PITTSFORD          NY    14534‐4522
NEWCOMER UGMA NY
JOHN N NEWCOMER CUST MARK CARTER NEWCOMER 10 WHITTLERS RIDGE                                                                                  PITTSFORD          NY    14534‐4522
UGMA NY
JOHN N NEWCOMER CUST TAMSEN ANNE NEWCOMER 10 WHITTLERS RIDGE                                                                                  PITTSFORD          NY    14534‐4522
UGMA NY
JOHN N NICHOLS & JILL S NICHOLS JT TEN         30815 GRANDVIEW                                                                                WESTLAND           MI    48186‐5060
JOHN N O'MALLEY CUST DANIEL K O'MALLEY UTMA NJ 1200 MAGNOLIA AVE SEAGIRT ESTATE                                                               SEA GIRT           NJ    08750

JOHN N PALAZZOLO                               504 S HAWTHORN                                                                                 WESTLAND           MI    48186‐4514
JOHN N PANNULLO & HELEN PANNULLO JT TEN        522 PRESERVE POINT                                                                             OCEAN ISLE BEACH   NC    28469‐5613

JOHN N PASQUALE                                13 ALFRED AVE                                                                                  ELSMERE         DE       19805‐2027
JOHN N PLATKO                                  459 WINTHOP LANE                                                                               SAGINAW         MI       48638‐6260
JOHN N PRICE & JOYCE W PRICE JT TEN            4351 PROVIDENCE PT PL SE                                                                       ISSAQUAH        WA       98029‐6270
JOHN N PRUITT                                  3745 TYLER ST                                                                                  DETROIT         MI       48238‐3219
JOHN N RASZEJA                                 66 LAKESIDE DRIVE                                                                              WEST SENECA     NY       14224‐1014
JOHN N ROHATSCH                                2205 E STRATFORD CT                                                                            MILWAUKEE       WI       53211‐2629
JOHN N SAGAL                                   16829 MAIN MARKET RD                                                                           WEST FARMINGTON OH       44491‐9608

JOHN N SIAS                                    43 N PEPPERELL RD                                                                              HOLLIS           NH      03049‐6432
JOHN N SLAWIENSKI                              11384 SUEMARTOM CT                                                                             MARILLA          NY      14102‐9707
JOHN N SNIDER                                  BOX NO 144                                                                                     BATH             MI      48808
JOHN N SNIDER & MARY ALICE SNIDER JT TEN       13778 MAIN ST BOX 144                                                                          BATH             MI      48808‐9701
JOHN N SNYDER                                  7707 BLUE GRASS ROAD                                                                           BALTIMORE        MD      21237‐1412
JOHN N STADWICK                                PO BOX 9022                                                                                    WARREN           MI      48090‐9022
JOHN N STADWICK                                (MEXICO CITY) P O BOX 9022                                                                     WARREN           MI      48090‐9022
JOHN N STIRLING JR                             1199 WEAVER FARM LN                                                                            SPRING HILL      TN      37174‐2186
JOHN N TASOPOLOS                               1120 7TH ST N                                                                                  ST PETERSBURG    FL      33701‐1506
JOHN N VALLEY                                  8028 LIPPINCOTT                                                                                DAVISON          MI      48423‐8301
JOHN N VRADENBURG JR                           4330 E SAN MIGUEL ST                                                                           COLORADO SPRINGS CO      80915‐2713

JOHN N WALKER                                  755 HAMBURG RD                                                                                 NEW CASTLE         DE    19720‐5101
JOHN N WHITE JR                                400 NORTH MAIN STREET                                                                          ELMER              NJ    08318‐2109
JOHN N WHITEHEAD                               4474 JONES RD                                                                                  NORTH BRANCH       MI    48461‐8986
JOHN N WILSON JR                               4602 ROBINWOOD                                                                                 ROYAL OAK          MI    48073
JOHN N YARRINGTON                              155 DARETOWN RD                                                                                ELMER              NJ    08318‐2716
JOHN N ZAJAROS                                 2494 CANDLEWOOD DR                                                                             AVON               OH    44011‐2800
JOHN N ZUPPAS                                  7436 PHAROAH DR                                                                                DUBLIN             OH    43016‐9307
JOHN NACARATO                                  4951 11 MILE RD NE UNIT 6                                                                      ROCKFORD           MI    49341
JOHN NAGELY JR                                 5117 PARTRIDGE ROAD                                                                            FORT WORTH         TX    76132‐2023
JOHN NALLY CUST DANIEL PATRICK NALLY UGMA MA   102 PARTRIDGE DR                                                                               WESTWOOD           MA    02090‐2166

JOHN NAPOLI & ANNE NAPOLI JT TEN               6460 VOSBURGH RD                                                                               ALTAMONT           NY    12009‐3802
JOHN NARDI CUST MARC NARDI UTMA OH             3398 TYLER DR                                                                                  BRUNSWICK          OH    44212‐3726
JOHN NAVARRO                                   456 WAYNE AVE                                                                                  SPRINGFIELD        PA    19064‐3313
JOHN NEACE                                     823 BARKINS AVENUE                                                                             ENGLEWOOD          OH    45322‐1726
JOHN NEAL PRICE                                12654 BRISTOW RD                                                                               NOKESVILLE         VA    20181‐3348
JOHN NEAL SUBLETT                              509 SOUTH GATEWAY AVE                                                                          ROCKWOOD           TN    37854
JOHN NEDZELSKI                                 1224 STEWART RD RD 3                                                                           SALEM              OH    44460‐4166
JOHN NEGRO                                     1117 VANCAR DR                                                                                 BETHEL PARK        PA    15102‐2625
JOHN NELS KLOSTER                              9292 EDGEWATER CI                                                                              PEQUOT LAKES       MN    56472‐3230
JOHN NELSON                                    C/O ROSE SWAIN                        2800 OLIVE ST APT 14G                                    ST LOUIS           MO    63103‐1433
JOHN NELSON                                    8472 MELROSE PL                                                                                W HOLLYWOOD        CA    90069‐5308
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 233 of 855
Name                                               Address1                               Address2             Address3          Address4          City            State Zip

JOHN NELSON ARMOR & CONSTANCE BERNICE ARMOR        1608 BARKWOOD DR                                                                                OREFIELD        PA    18069‐8923
JT TEN
JOHN NESSMAN                                       118 AKIN DR                                                                                     OKLAHOMA CITY   OK    73149
JOHN NEWLAND                                       1430 TRUMAN LN                                                                                  RACINE          WI    53406‐4321
JOHN NEWMAN                                        8 PATRICIA DR                                                                                   COMMACK         NY    11725‐3308
JOHN NEWMAN CUST BRUCE S NEWMAN UNDER THE          C/O BRUCE S NEWMAN                     344 E 85TH STREET                                        NEW YORK        NY    10028‐4515
NEW YORK U‐G‐M‐A
JOHN NEWMAN WALTERS JR & JULIA LYNN WALTERS        116 JENNA ST                                                                                    CENTREVILLE     MD    21617‐2683
TEN ENT
JOHN NICHOLAS BENESCH                              7455 BRADSHAW RD                                                                                KINGSVILLE      MD    21087‐1652
JOHN NICHOLAS FITZSIMMONS                          673 BURGUNDY ST                        UNIT C                                                   LITTLETON       CO    80129‐2555
JOHN NICHOLAS RICCARDO & MRS NANCY G RICCARDO      806 HAPPY CREEK LANE                                                                            WEST CHESTER    PA    19380‐1838
TEN ENT
JOHN NICOLELLA                                     1749 HATHAWAY LANE                                                                              PITTSBURGH      PA    15241‐2705
JOHN NICOLOSI                                      8417 CHARLESTON DR                                                                              WEEKI WACHEE    FL    34613‐3429
JOHN NICOLSON & MRS WANDA NICOLSON JT TEN          27 KILLEN RD                                                                                    WALLINGFORD     CT    06492‐2693

JOHN NIELSEN KITE                                  PO BOX 154                                                                                      KENO            OR    97627‐0154
JOHN NIKITAS                                       150 BLACKTHORN LANE                                                                             LAKE FOREST     IL    60045‐2813
JOHN NIXON                                         11795 E GRAND RIVER                                                                             BRIGHTON        MI    48116‐8534
JOHN NIZIOLEK & JENNIFER L NIZIOLEK JT TEN         370 WOODSTOCK ST                                                                                CRYSTAL LAKE    IL    60014
JOHN NIZOLEK JR                                    46 WINDSWEPT DRIVE                                                                              HAMILTON SQUARE NJ    08690‐1127

JOHN NOGRADY & HELEN NOGRADY JT TEN                57 HUMBOLDT ST                                                                                  WOODRIDGE       NJ    07075‐2344
JOHN NORMAN REMBISZ                                152 LOUCKS ST                                                                                   YORK            PA    17403‐9692
JOHN NOTTINGHAM                                    5957 SLATE                                                                                      TROY            MI    48098‐3884
JOHN O ALEXANDER                                   2100 FAIRWAY ACRES DR                                                                           ARGYLE          TX    76226‐2549
JOHN O BARBER                                      4503 W MAPLE AVE                                                                                FLINT           MI    48507‐3129
JOHN O BENSCHOTER                                  1035 ROBINS RD                                                                                  LANSING         MI    48917‐2024
JOHN O BIEBERITZ & MRS KARLYN R BIEBERITZ JT TEN   453 LEANORE CT                                                                                  PEWAUKEE        WI    53072‐3600

JOHN O BOSSART                                     2701 EASTWOOD DR                                                                                SANDUSKY        OH    44870‐5630
JOHN O BRIEN & ESTHER O BRIEN JT TEN               53 HALLENBECK AVE                                                                               GENEVA          NY    14456
JOHN O BULLENS                                     3632 KEALING COURT                                                                              INDIANAPOLIS    IN    46227‐7057
JOHN O CANDELARIA                                  4493 PARK PAXTON PL                                                                             SAN JOSE        CA    95136‐2527
JOHN O CARD                                        12709 BROOKLAWN AVENUE                                                                          CLEVELAND       OH    44111‐5029
JOHN O CARTER                                      4714 BARNHART AVE                                                                               DAYTON          OH    45432‐3304
JOHN O CATALDO                                     2610 PRAIRIE AVE                                                                                SOUTH BEND      IN    46614‐4227
JOHN O CROUCH                                      3585 FOXWORTH TRAIL                                                                             BUFORD          GA    30519‐4498
JOHN O CUNNINGHAM                                  140 FOREST ST                                                                                   ROCKWELL        NC    28138‐9732
JOHN O DESBY JR                                    44‐C GRECIAN GDNS                                                                               ROCHESTER       NY    14626‐2641
JOHN O DOHERTY                                     5522 ROBBINS DR                                                                                 RALEIGH         NC    27610‐1593
JOHN O FALB                                        C/O JOHN FALB CO                                                                                WEST UNION      IA    52175
JOHN O FEEHAN JR                                   548 LILLARD DR                                                                                  FRONT ROYAL     VA    22630‐2321
JOHN O FORBUS                                      695 RABBITT BRANCH RD                                                                           SHELBYVILLE     TN    37160‐6954
JOHN O GAIGE                                       409 LAKE ST                                                                                     CULVER          IN    46511‐1314
JOHN O GRADE                                       BALSAM ROW RD N6968                                                                             SHAWANO         WI    54166‐4219
JOHN O GRAHAM                                      215 COBOURG ST                         GODERICH ON                            N7A 4C8 CANADA
JOHN O GRAHAM                                      8022 KRAFT S E                                                                                  CALEDONIA       MI    49316‐9403
JOHN O GRAHAM                                      6385 THORNAPPLE RIVER DR                                                                        ALTO            MI    49302‐9765
JOHN O GUERNSEY                                    871 W FOREST BROOK RD                                                                           MAITLAND        FL    32751‐5103
JOHN O HAMER                                       411 GENTIAN                                                                                     SAVOY           IL    61874‐8515
JOHN O HANSON & CAROLYN N VREDEVELT JT TEN         6849 BIRDSONG AVE                                                                               KALAMAZOO       MI    49009‐8226
JOHN O HARDMAN                                     5219 KUSZMAUL AVE N W                                                                           WARREN          OH    44483‐1258
JOHN O HAWKINS                                     53 INDIAN TRAIL NE                                                                              MARIETTA        GA    30068‐3316
JOHN O HAYTER JR & MARJORIE M HAYTER TEN COM       165 MAXIMILIAN LANE                                                                             SHREVEPORT      LA    71105‐3352

JOHN O HELLAND                                     4604 MIDMOOR RD                                                                                 MONONA          WI    53716‐2044
JOHN O HELLING                                     809 ATHENAEUM STREET                                                                            COLUMBIA        TN    38401‐3155
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 234 of 855
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

JOHN O HERBERT 3RD                                PO BOX 2620                                                                                      CHESTERFIELD    VA    23832‐9124
JOHN O HOTCHKISS                                  2481 PRAY ROAD                                                                                   CHARLOTTE       MI    48813‐8308
JOHN O HURST                                      131 S JUNE ST                                                                                    DAYTON          OH    45403‐2321
JOHN O ISENHATH JR TR ISENHATH FAM TRUST UA       5920 HODGMAN DR                                                                                  PARMA HEIGHTS   OH    44130‐2151
02/26/92
JOHN O JACK HUDSON CUST JESSICA E HUDSON UTMA     5839 E BLOOMFIELD RD                                                                             SCOTTSDALE      AZ    85254‐4337
AZ
JOHN O JACK HUDSON CUST TRAVIS N HUDSON UTMA      5839 E BLOOMFIELD RD                                                                             SCOTTSDALE      AZ    85254‐4337
AZ
JOHN O JACOX                                      5434 N PENNSYLVANIS ST                                                                           INDIANAPOLIS    IN    46220‐3022
JOHN O JUDD                                       3820 HILAND STREET                                                                               SAGINAW         MI    48601‐4157
JOHN O KILPATRICK                                 14883 STAHELIN AVE                                                                               DETROIT         MI    48223‐2218
JOHN O LAUGHLIN                                   190 BLACKBURN DR                                                                                 BRISTOL         TN    37620‐3215
JOHN O LAWLESS TR DECLARATION OF TRUST 08/17/89   18 W 140 SUFFIELD CT                                                                             WESTMONT        IL    60559‐3052

JOHN O LEA                                        BAKKAVN 15                              4100 JOERPELAND                        NORWAY
JOHN O MASON                                      1609 SPRINGLAKE RD                                                                               WICHITA FALLS   TX    76305‐5155
JOHN O MASON                                      9709 E 79TH TERR                                                                                 RAYTOWN         MO    64138‐1915
JOHN O MC CARTER                                  6680 SEVEN MILE RD                                                                               SOUTH LYON      MI    48178‐7003
JOHN O NICKLAW                                    59706 NAVAJO RD                                                                                  BEND            OR    97702‐8988
JOHN O ROBERTS                                    1836 LAKEWOOD VLLG DR                                                                            ANTIOCH         TN    37013‐1529
JOHN O ROBERTS III                                3402 MACKIN RD                                                                                   FLINT           MI    48504‐3278
JOHN O ROBERTS III & EMMA J ROBERTS JT TEN        3402 MACKIN ROAD                                                                                 FLINT           MI    48504‐3278
JOHN O SANDEL III                                 606 OLD BARNWELL RD                                                                              WEST COLUMBIA   SC    29170‐2451
JOHN O SCHAIRER                                   4046 WOODMAN AVENUE                                                                              SHERMAN OAKS    CA    91423‐4739
JOHN O SCHIAVONI                                  7301 GRANBY DR                                                                                   HUDSON          OH    44236‐1755
JOHN O SPEIGHT JR                                 1724 S LAKESIDE CT                                                                               VENICE          FL    34293‐1928
JOHN O SPIGHT                                     2214 FOSS                                                                                        ST LOUIS        MO    63136‐4403
JOHN O TABACCHI                                   145 S MAIN ST                           PO BOX 284                                               CADIZ           OH    43907
JOHN O TABACCHI CUST AMELIA ANN TABACCHI UGMA     123 BROADVIEW DRIVE                                                                              CADIZ           OH    43907
WI
JOHN O TENUTA TR UA 7/9/92 AS AMENDED             2680 E WALTON                                                                                    AUBURN HILLS    MI    48326‐1960
JOHN O VOGT                                       10 VERONICA LN                                                                                   FALMOUTH        ME    04105‐1959
JOHN O YERIAN                                     643 E MCNEIL                                                                                     CORUNNA         MI    48817‐1756
JOHN O YOUNG                                      855 ALEXANDER ST SE #1                                                                           GRAND RAPIDS    MI    49507‐1450
JOHN O'HARA & KATHRYN ROSE O'HARA JT TEN          51630 MEADOW POND DR                                                                             GRANGER         IN    46530‐6109
JOHN OBERST                                       4705 N 850 E                                                                                     FREMONT         IN    46737‐9528
JOHN OBRIEN                                       1815 POWELL ST                                                                                   NORRISTOWN      PA    19401‐3025
JOHN OBRIEN & ROSEMARY OBRIEN JT TEN              77 SKYLINE DRIVE                                                                                 SALEM           CT    06420‐4108
JOHN OKUN                                         5622 WALTHER DR                                                                                  FAIRFIELD       OH    45014‐3951
JOHN OLA BUSSIE                                   2256 N ASTER PL                                                                                  ROUND LK BCH    IL    60073‐4045
JOHN OLCSVAY                                      1419 OSAGE ROAD                                                                                  NORTH BRUNSWICK NJ    08902‐1517

JOHN OLIN MORTENSEN                               1585 ASHBURY LANE                                                                                RENO            NV    89523‐1235
JOHN OLIVER DE VRIES                              208 N TYRONE RD                                                                                  BALT            MD    21212‐1123
JOHN OLIVIERI SR & MRS ANGELA OLIVIERI JT TEN     101 PECK RD                                                                                      HILTON          NY    14468‐9354
JOHN OLSON                                        8361 E RIVER RD NW                                                                               MINNEAPOLIS     MN    55433‐6006
JOHN OMALLEY                                      3N 481 WILSON                                                                                    ELMHURST        IL    60126‐1360
JOHN OMAR RICE                                    376 RIDGELAND CIRCLE                                                                             HOWARD          OH    43028‐8301
JOHN OMARA & CAROL ANNE OMARA JT TEN              3258 LAKESHORE RD                                                                                DECKERVILLE     MI    48427‐9630
JOHN ORCHANIAN                                    4265 KISSENNA BLVD                      APT 614                                                  FLUSHING        NY    11355
JOHN ORLICK                                       5021 FOX HAVEN DR                                                                                MEDINA          OH    44256‐6708
JOHN ORLICK                                       5021 FOX HAVEN DR                                                                                MEDINA          OH    44256‐6708
JOHN ORTIZ                                        390 ASHWOOD TERR                                                                                 STRATFORD       CT    06614
JOHN OSIPOWICZ                                    163 WILSON AVE                                                                                   ABERDEEN        NJ    07747
JOHN OSTUNO & GLORIA OSTUNO JT TEN                650 OAK AVE                                                                                      CHESHIRE        CT    06410‐3058
JOHN OSULLIVAN                                    464 UNION AVE                                                                                    ELIZABETH       NJ    07208‐3256
JOHN OSULLIVAN                                    6479 CARRIAGE HILL                                                                               GRAND BLANC     MI    48439‐9536
JOHN OTIS & NANCY A OTIS JT TEN                   520 N PINE ST                                                                                    GENEVA          IL    60134‐1171
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                     Part 4 of 8 Pg 235 of 855
Name                                             Address1                             Address2             Address3               Address4          City            State Zip

JOHN OTOCKI                                      3361 BREWER RD                                                                                     DARIEN          IL    60561‐1751
JOHN OTT                                         225 CARRIES COVE LANE                                                                              CLARKESVILLE    GA    30523‐2351
JOHN OTTMAN JR                                   N 1286 BLUE HERON WAY                                                                              KESHENA         WI    54135‐9304
JOHN OUTING JR                                   1203 RIVERFOREST DR #1227                                                                          FLINT           MI    48532‐2879
JOHN OVERBAY                                     1934 NE THIRD                                                                                      BEND            OR    97701‐3854
JOHN OVERBERG                                    2 THOMAS RD                                                                                        BEVERLY         MA    01915‐2022
JOHN OVERHEIM                                    601 JULIE DRIVE                                                                                    GALLUP          NM    87301‐4818
JOHN OWEN POLLARD                                PO BOX 577                                                                                         SAINT MARIES    ID    83861‐0577
JOHN OZEHOSKY                                    189 KENSETT RD                                                                                     MANHASSET       NY    11030‐2140
JOHN OZGA                                        8538 MEADOWS EDGE TRL                                                                              TINLEY PARK     IL    60477‐7069
JOHN P AIRINGTON & PATRICIA A AIRINGTON JT TEN   1237 KIERRE LOOP                                                                                   N LITTLE ROCK   AR    72116‐3726

JOHN P ALCOCK                                   705 E LOYOLA DR                                                                                     TEMPE           AZ    85282‐3836
JOHN P ALEXANDER                                523 MONTGOMERY ST                                                                                   SHELBYVILLE     IN    46176‐1910
JOHN P ALVAREZ                                  11200 OAKLEY RD                                                                                     ST CHARLES      MI    48655‐9515
JOHN P ANDREW                                   C/O MONROE HOUSE                      SUITE 236            46555 HARRY BYRD HWY                     STERLING        VA    20164‐3568
JOHN P ANDREWS                                  247 E CHESTNUT ST                     APT 1104                                                      CHICAGO         IL    60611‐2478
JOHN P ANTHONY                                  308 SUNRISE DR                                                                                      WEIRTON         WV    26062‐5025
JOHN P ANTHONY & IRENE A ANTHONY JT TEN         4007 GREEN POND ROAD                  BLDG 3 APT217                                                 BETHLEHEM       PA    18020
JOHN P ARAKELIAN & ALICIA ARAKELIAN JT TEN      2758 NORTH 91ST STREET                                                                              MILWAUKEE       WI    53222‐4641
JOHN P ARGOTT                                   9338 DORRINGTON                                                                                     ARLETA          CA    91331
JOHN P AYRES & HILDA S AYRES JT TEN             10630 ASSATEAGUE RD                                                                                 BERLIN          MD    21811‐2405
JOHN P BACKUS                                   10260 MILFORD RD                                                                                    HOLLY           MI    48442‐8950
JOHN P BAKER                                    6402 CRESCENT AVE APT 23                                                                            BUENA PARK      CA    90620‐4719
JOHN P BARLOW                                   8019 THISTLEWOOD DR                                                                                 WEST CHESTER    OH    45069‐2010
JOHN P BARON                                    3012 EBBTIDE DRIVE                                                                                  EDGEWOOD        MD    21040‐2902
JOHN P BASSIGNANI                               76 JORDAN RD                                                                                        FRANKLIN        MA    02038‐1219
JOHN P BENCH                                    137 MOUNT VERNON ST                                                                                 WEST ROXBURY    MA    02132‐2808
JOHN P BENEDICT JR                              2507 FOUNDERS BRIDGE RD                                                                             MIDLOTHIAN      VA    23113
JOHN P BENNETT                                  263 PLEASANT STREET                                                                                 TEWKSBURY       MA    01876‐2747
JOHN P BENO                                     19100 VERMONT ST                                                                                    GRAFTON         OH    44044‐9627
JOHN P BENTLEY JOHN B BENTLEY & SARAH A MEAGHER 2631 CHESTER LANE                                                                                   BAKERSFIELD     CA    93304‐1832
TR UW ANNE B BENTLEY
JOHN P BERAN & SUSAN BERAN JT TEN               63 LEAWOOD ST                                                                                       APTOS           CA    95003‐5907
JOHN P BERINGER                                 PO BOX 7555                                                                                         WARNER ROBINS   GA    31095‐7555
JOHN P BOGERT                                   40 WOODSLEY RD                                                                                      LONGMEADOW      MA    01106‐2517
JOHN P BOGOSOFF                                 44 POPLAR                                                                                           BATTLE CREEK    MI    49017‐4810
JOHN P BOKA                                     7057 SOHN ROAD                                                                                      VASSAR          MI    48768‐9405
JOHN P BREEN & JEAN B BREEN TR BREEN FAM LIVING 97 LONG MEADOW HILL RD                                                                              BROOKFIELD      CT    06804‐1340
TRUST UA 08/27/98
JOHN P BRELSFORD & PAMELA E GAIBLE JT TEN       6270 TURPIN HILLS DR                                                                                CINCINNATI      OH    45244‐3557
JOHN P BRIDE                                    409 WAYSIDE LN                                                                                      HENDERSONVLLE   NC    28792‐5748
JOHN P BRINKMANN                                PO BOX 47                                                                                           CASSVILLE       WI    53806‐0047
JOHN P BROGAN                                   6255 CANDLER                                                                                        SHELBY TWNSHP   MI    48316‐3227
JOHN P BROWN & JOYCE RAY BROWN JT TEN           1405 PECK LN                                                                                        CENTERVILLE     OH    45459‐5430
JOHN P BURKE                                    83 S IRWINWOOD DRIVE                                                                                LANCASTER       NY    14086‐2821
JOHN P BURNETTE                                 1919 VIRGIL H GOODE HWY                                                                             ROCKY MOUNT     VA    24151‐3560
JOHN P BURNETTE JR                              1236 HAMMOND ST                                                                                     ROCKY MOUNT     NC    27803‐1912
JOHN P BURNHAM JR                               18 BATES ROAD                                                                                       NORTH WINDHAM   CT    06256‐2500

JOHN P BUSH                                      23329 IRVING ST                                                                                    TAYLOR          MI    48180‐2350
JOHN P BUTLER                                    716 ASH ST                                                                                         SCRANTON        PA    18510‐1005
JOHN P CADEMARTORI                               373 PINE LANE                                                                                      LOS ALTOS       CA    94022
JOHN P CANNING                                   360 BRANDON MILL CIR                                                                               FAYETTEVILLE    GA    30214‐1257
JOHN P CARROLL                                   9302 SITKA SPRUCE CT                                                                               CLARENCE CTR    NY    14032‐9132
JOHN P CASSILLO & FRANCINE L CASSILLO JT TEN     7 KNOLLCREST AVE                                                                                   FARMINGVILLE    NY    11738‐1908
JOHN P CERNI CUST JOSEPH A CERNI UGMA OH         695 E WESTERN RESERVE RD             UNIT 1804                                                     YOUNGSTOWN      OH    44514‐4328
JOHN P CHASE                                     5319 TUSCARAWAS ROAD                                                                               BETHESDA        MD    20816‐3123
                                             09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 236 of 855
Name                                                Address1                                Address2              Address3         Address4          City            State Zip

JOHN P CHRISTENSEN & VERA C CHRISTENSEN JT TEN      PO BOX 580                                                                                       FIELDALE        VA    24089‐0580

JOHN P CHRISTIANSEN                                 2748 CANOE CIRCLE DRIVE                                                                          LAKE ORTON      MI    48360‐1891
JOHN P CIANCHETTI                                   2849 YOUNGSTOWN‐WILSON RD                                                                        RANSOMVILLE     NY    14131‐9619
JOHN P CLANCEY                                      10125 KELLER RD                                                                                  CLARENCE CTR    NY    14032‐9228
JOHN P CLARK                                        54 BRADFORD RD                                                                                   FRAMINGHAM      MA    01701‐3384
JOHN P COCCHIARA                                    613 LABARRE DR                                                                                   METAIRIE        LA    70001‐5442
JOHN P COFFEY & JEANNE E COFFEY JT TEN              21053 HAZELNUT                                                                                   PLAIN FIELD     IL    60544‐9343
JOHN P COLEMAN                                      422 HILLVIEW CT                                                                                  LEMONT          IL    60439‐4330
JOHN P CONTI                                        4266 JOUSHA WAY NW                                                                               KENNESAW        GA    30144‐5167
JOHN P CRIGLER & FRANCES B CRIGLER TR UA 01/10/92   207 S LINDA DR                                                                                   SHELBYVILLE     TN    37160‐4334
CRIGLER LIVING TRUST
JOHN P CROTTEAU                                     3090 GOLFSIDE DRIVE                                                                              YPSILANTI       MI    48197‐3770
JOHN P CROUSE JR                                    3022 AZALEA TERRACE                                                                              PLYMOUTH        PA    19462‐7106
                                                                                                                                                     MEETING
JOHN P CUMMINGS & KATHLEEN LANI CUMMINGS JT         9508 YUKON AVE S                                                                                 BLOOMINGTON     MN    55438
TEN
JOHN P CUSTODIO                                     124 OLIVER AVE                                                                                   YONKERS         NY    10701‐6127
JOHN P DAMBERGER                                    6893 WEATHERBY DRIVE                                                                             MENTOR          OH    44060‐8409
JOHN P DAVIS                                        1107 E SHERMAN ST                                                                                MARION          IN    46952‐3013
JOHN P DE SEYN                                      340 WILKINSON ROAD                                                                               MACEDON         NY    14502‐9503
JOHN P DEMING III                                   3822 CREEK HILL DR                                                                               BETTENDORF      IA    52722
JOHN P DENARO                                       64 FOX RIDGE DR                                                                                  COLCHESTER      CT    06415
JOHN P DENNEHY                                      11121 FOUNTAIN HILL RD                                                                           ORLAND PARK     IL    60467‐5680
JOHN P DETERDING                                    1111 W TUSCOLA ST                                                                                FRANKENMUTH     MI    48734‐9202
JOHN P DEWING                                       2446 SAN PIETRO CIR                                                                              PALM BCH GDNS   FL    33410‐2970
JOHN P DIAMOND CUST BRUCE W DIAMOND UGMA CT         164 TANGLEWOOD DR                                                                                HAMDEN          CT    06518‐2728

JOHN P DIETER                                       12009 TANGLE BRIAR TRAIL                                                                         AUSTIN          TX    78750‐1908
JOHN P DINEEN                                       1526 VINSETTA BLVD                                                                               ROYAL OAK       MI    48067‐1031
JOHN P DOELMAN                                      123 HATCHERY RD                                                                                  GREAT           MA    01230‐2104
                                                                                                                                                     BARRINGTON
JOHN P DOHERTY & MRS MARY J DOHERTY JT TEN          280 TREMONT ST                                                                                   NEWTON          MA    02458‐2143
JOHN P DOMKE                                        809 PRYOR ST                                                                                     MAYFIELD        KY    42066‐2837
JOHN P DONAHOU                                      4407 SHERIDAN RD                                                                                 SAGINAW         MI    48601‐5729
JOHN P DONOVAN III                                  8114 MULLINS                                                                                     HOUSTON         TX    77081‐7416
JOHN P DORE                                         2216 4 MILE RD                                                                                   KAWKAWLIN       MI    48631‐9414
JOHN P DORE                                         7 MARGARET ST                           CANTERBURY VICTORIA                    3126 AUSTRALIA
JOHN P DORN                                         104 SHOSHONE ST                                                                                  BUFFALO         NY    14214‐1020
JOHN P DOUGHERTY III                                328 RED PUMP RD                                                                                  NOTTINGHAM      PA    19362‐9153
JOHN P DOWNES & MARCELLA T LIOTTA JT TEN            48‐36‐44TH STREET                                                                                WOODSIDE        NY    11377‐6946
JOHN P DOYLE                                        1228 PONCE DE LEON BLVD                                                                          CLEARWATER      FL    33756‐7232
JOHN P DOYLE                                        651B DUNSTABLE CT                                                                                MANCHESTER      NJ    08759‐7005
JOHN P DOYLE                                        222 SHANGRI‐LA ROAD                                                                              CENTERTOWN      MO    65023‐1029
JOHN P DRAKE                                        10300 E 39                                                                                       KANSAS CITY     MO    64133
JOHN P DRAPER                                       31 DORSET ST                                                                                     NORWOOD         MA    02062‐1210
JOHN P DRIVER                                       269 HAVANA                                                                                       COMMERCE TWP    MI    48382‐3259
JOHN P DROPIK                                       1718 DAYTON ST                                                                                   MAYVILLE        WI    53050‐1095
JOHN P DULL                                         15230 BRIGHTFIELD MANOR DRIVE                                                                    CHESTERFIELD    MO    63017‐2486
JOHN P DUNNING                                      111 W PATTY LN                                                                                   MONROEVILLE     PA    15146‐3657
JOHN P DUVALL                                       1102 NW VIVION RD                                                                                KANSAS CITY     MO    64118‐4528
JOHN P ELLISON JR                                   19870 EDGECLIFF DRIVE                                                                            EUCLID          OH    44119‐1020
JOHN P EMMENDORFER                                  12206 NICHOLS RD                                                                                 BURT            MI    48417‐2389
JOHN P ENGDAHL                                      41 BLAINE AVE                                                                                    WORCESTER       MA    01603‐1402
JOHN P ENGELHARDT TR THE ENGELHARDT LIVING          4 HERBERT DR                                                                                     E BRUNSWICK     NJ    08816‐2217
TRUST UA 04/08/97
JOHN P ENNY                                         5 N BRANCH CT                                                                                    CHERRY HILL     NJ    08003‐1417
JOHN P ERNST & WILLIAM JAMES ERNST JT TEN           9552 N MCQUITTY LN                                                                               HARRISBURG      MO    65256‐9742
JOHN P EVANS                                        836 DORSET DR                                                                                    WHEATON         IL    60187‐8020
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 237 of 855
Name                                            Address1                               Address2                 Address3      Address4          City             State Zip

JOHN P FARKAS                                  443 POWELL AVE                                                                                   NEWBURGH         NY    12550‐3417
JOHN P FARMER                                  257 WELCOME FALLS RD                                                                             EVA              AL    35621‐8518
JOHN P FARR                                    211 BROWNTOWN RD                                                                                 CHATTANOOGA      TN    37415
JOHN P FARRELL                                 18889 BRASILIA DR                                                                                NORTHRIDGE       CA    91326‐1919
JOHN P FARRELL & JOSEPHINE A FARRELL JT TEN    5342 LAKE DRIVE                                                                                  CELINA           OH    45822‐9108
JOHN P FAULKNER                                RD 1                                                                                             CLYMER           NY    14724
JOHN P FAVREAU                                 158 WEST ST                                                                                      CLINTON          MA    01510‐1725
JOHN P FELDMAN & GAIL P FELDMAN JT TEN         4901 BROOKEWAY DR                                                                                BETHESDA         MD    20816‐1909
JOHN P FERET TOD JOANNA M FERET SUBJECT TO STA 2331 NISKAYUNA DR                       APT 3                                                    SCHENECTADY      NY    12309‐4033
TOD RULES
JOHN P FIDERAK & MRS JEAN FIDERAK JT TEN       72 LAFAYETTE AV                                                                                  TAMAQUA          PA    18252‐4618
JOHN P FINOCCHIARO                             107 GORDON RD                                                                                    ESSEX FELLS      NJ    07021‐1619
JOHN P FLANAGAN CUST AARON Z FRIEDMAN UTMA CA 31911 BENCHLEY CT                                                                                 WESTLAKE VILLAGE CA    91361‐4105

JOHN P FLEMING                                  610 BAILEY WOODS RD                                                                             DACULA           GA    30019‐1236
JOHN P FLEMING                                  6633 E 10TH ST                                                                                  INDPLS           IN    46219‐3415
JOHN P FORD                                     6271 PENNELL ST                                                                                 ENGLEWOD         FL    34224‐8383
JOHN P FORTE TR JOHN P FORTE 1998 TRUST UA      C/O KATHARINE S FORTE                  1018 LIBERTY SQUARE RD                                   BOXBOROUGH       MA    01719‐1115
09/14/98
JOHN P FRANCIS                                  1813 REESE MANOR DR                                                                             FINKSBURG        MD    21048‐1312
JOHN P FRYDRYCHOWSKI                            2962 SENECA STREET                                                                              W SEMECA         NY    14224‐1949
JOHN P FURRY                                    53159 GREGORY DR                                                                                MACOMB           MI    48042‐5707
JOHN P FUSERO                                   3371 E MAPLE AVE                                                                                BURTON           MI    48529‐1815
JOHN P GAPCYNSKI                                201 ARTILLERY RD                                                                                YORKTOWN         VA    23692‐4225
JOHN P GARIN                                    251 EAST 210TH STREET                                                                           EUCLID           OH    44123‐1832
JOHN P GAYDOS & REBECCA H GAYDOS JT TEN         426 W 2ND ST                                                                                    ROCHESTER        MI    48307‐1904
JOHN P GERTNER                                  5142 NEWLAND                                                                                    CHICAGO          IL    60656‐3709
JOHN P GIBBONS                                  1912 PRAIRIE SQUARE APT 30                                                                      SCHAUMBURG       IL    60173‐4100
JOHN P GILLES                                   225 15TH ST S                                                                                   LA CROSSE        WI    54601‐4275
JOHN P GORE                                     1018 OAK DR                                                                                     WESTMINSTER      MD    21158‐3651
JOHN P GRENNAN JR & JILL P WENSKY JT TEN        9 BROWNING ROAD                                                                                 SHREWSBURY       MA    01545‐1403
JOHN P GRIEGO & BETTY GRIEGO JT TEN             12405 GRAND AVE NE                                                                              ALBUQUERQUE      NM    87123‐1534
JOHN P GRIGGER                                  1105 EVANS RD                                                                                   AMBLER           PA    19002‐1701
JOHN P GROTH                                    44 WINDSOR DRIVE                                                                                OAK BROOK        IL    60523‐2365
JOHN P GRUNDEN JR TR JOHN P GRUNDEN JR          227 LAFITTE RD                                                                                  LTL TORCH KEY    FL    33042‐5524
REVOCABLE TRUST UA 03/03/97
JOHN P GUTSCHLAG TR UA 8/26/77                  6946 LEBANON RD                                                                                 FRISCO           TX    75034
JOHN P HAGGERTY                                 33 EDGEWOOD DR                                                                                  RHINEBECK        NY    12572‐1006
JOHN P HAMPTON                                  37 JOYMAR DR                           STREETSVILLE ON                        L5M 1G1 CANADA
JOHN P HARLEY JR                                1016 BELLREIVE DR                                                                               AIKEN            SC    29803
JOHN P HARLLEE 3RD                              202 OLD MAIN ST                                                                                 BRADENTON        FL    34205
JOHN P HARMAN & STEPHANIE B HARMAN JT TEN       607 RIAL LANE                                                                                   GREENSBURG       PA    15601‐4636
JOHN P HARRIS                                   169 MARLENE ST                                                                                  MILFORD          MI    48381‐2263
JOHN P HARRIS III                               1733 BEVERLY DR                                                                                 FREDERICKSBURG   VA    22401‐5264
JOHN P HARUSKA                                  1594 TINA LN                                                                                    CHARLOTTE        MI    48813‐8398
JOHN P HELMICK JR                               4700 SOUTHSIDE BLVD                                                                             JACKSONVILLE     FL    32216‐6359
JOHN P HERFURTH                                 8211 RICHFIELD ROAD                                                                             DAVISON          MI    48423‐8582
JOHN P HERMON                                   5898A FRANKLIN RD                                                                               RUSSELLVILLE     KY    42276‐9432
JOHN P HINES                                    489 GRIDER POND RD                                                                              BOWLING GREEN    KY    42104‐0818
JOHN P HIPSKIND & DELORES J HIPSKIND JT TEN     P O BOX 6914                                                                                    CHAMPAIGN        IL    61826‐6914
JOHN P HOAR CUST EILEEN T HOAR U/THE MASS       2 BUCKTHORN RD                                                                                  PLAISTOW         NH    03865
UNIFORM GIFTS TO MINORS ACT
JOHN P HOGAN                                    25 REAMER AVE                          BELLEMOOR                                                WILMINGTON       DE    19804‐1715
JOHN P HOGAN                                    6814 VIENNA WOODS TRAIL                                                                         DAYTON           OH    45459
JOHN P HOLBROOK                                 186 MARKLE RD                                                                                   BELLE VERNON     PA    15012‐3119
JOHN P HOLDEN                                   23900 13 MILE RD                                                                                BELLEVUE         MI    49021‐9530
JOHN P HORNER                                   2225 S 1100 E                                                                                   GREENTOWN        IN    46936‐8792
JOHN P HOWE                                     29 EAST MOUNTAIN STREET                                                                         WORCESTER        MA    01606
JOHN P HUDSON                                   2873 W 30TH STREET                                                                              INDIANAPOLIS     IN    46222‐2230
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 238 of 855
Name                                           Address1                              Address2             Address3          Address4          City             State Zip

JOHN P HUDSON                                  4703 PINEYWOOD DR SW                                                                           DECATUR          AL    35603
JOHN P HUGHES CUST DAVID P HUGHES UGMA NY      9560 THE MAPLES                                                                                CLARENCE         NY    14031‐1561

JOHN P HUGHES CUST GREGORY O HUGHES UGMA NY    6780 CINNAMON DR                                                                               SPARKS           NV    89436‐6476

JOHN P HULT                                     27800 FAIRMOUNT BLVD                                                                          PEPPER PIKE      OH    44124‐4618
JOHN P HUNTSINGER                               4385 GINA ST                                                                                  FREMONT          CA    94538‐2857
JOHN P HYLTON                                   440 EMERSON AVE NW                                                                            NORTH CANTON     OH    44720‐2308
JOHN P IKEDA                                    3449 PATY DR                                                                                  HONOLULU         HI    96822
JOHN P JONES                                    4724 STONEHEDGE STREET                                                                        TROTWOOD         OH    45426‐2106
JOHN P JONES                                    14285 PROVIDENCE LANE                                                                         BROOKFIELD       WI    53005‐7932
JOHN P KACANI                                   5‐49TH AVE S                         BOIS DES FILION QC                     J6Z 2N2 CANADA
JOHN P KACANI                                   5‐49TH AVE S                         BOIS DES FILION QC                     J6Z 2N2 CANADA
JOHN P KELLEHER                                 PMB 151                              235 CAMDEN ST        STE 32                              ROCKLAND         ME    04841‐2563
JOHN P KELLY CUST CHRISTOPHER THOMAS KELLY UGMA 1337 WOOD TRL                                                                                 OXFORD           MI    48371‐6065
MI
JOHN P KENT                                     9820 RIVER ROAD                                                                               HURON           OH     44839‐9366
JOHN P KESHOCK                                  4455 SILVER OAK DR                                                                            AVON            OH     44011‐3737
JOHN P KIMMEY & ANNE SCHMIDT KIMMEY JT TEN      1700 EMBASSY DR 108                                                                           WEST PALM BEACH FL     33401‐1961

JOHN P KINZIE                                  2100 N ATLANTIC AVE #110                                                                       COCOA BEACH      FL    32931
JOHN P KIRBY JR & ELIZABETH M KIRBY JT TEN     155 DANBURY COURT                                                                              LAKE FOREST      IL    60045
JOHN P KLINGLER                                1173 WOODBRIDGE LN                                                                             WEBSTER          NY    14580‐8749
JOHN P KLOTZBACH                               13557 WEST AVE                                                                                 ALBION           NY    14411‐9339
JOHN P KOSKOWSKI                               161 LEXINGTON STREET                                                                           BRISTOL          CT    06010‐3649
JOHN P KOVALCIK & JO ANN KOVALCIK JT TEN       2049 CHURCH AVE                                                                                SCOTCH PLAINS    NJ    07076‐1836
JOHN P KRISOR                                  7749 W OLIVE ST                                                                                CHICAGO          IL    60631‐3327
JOHN P KRISOR & GRETCHEN A KRISOR JT TEN       7749 OLIVE AVE                                                                                 CHICAGO          IL    60631‐3327
JOHN P KRIVAN                                  1601 E MARKET ST                                                                               WARREN           OH    44483‐6617
JOHN P KUCINSKY                                3523 ELIOT LN                                                                                  NAPERVILLE       IL    60564‐4143
JOHN P KUELKER                                 813 MILITARY RD                                                                                ST LOUIS         MO    63125‐1613
JOHN P KUHARENKO & MEREDITH KUHARENKO JT TEN   949 COURTLAND DR                                                                               APPLE VALLEY     MN    55124

JOHN P KUMPF                                  230 S BROADWAY ST                                                                               LAKE ORION       MI    48362‐2737
JOHN P LAMB                                   #2 PRAIRIE COURT                                                                                TUSCOLA          IL    61953‐1110
JOHN P LAMBERT & BARBARA T LAMBERT JT TEN     62 SHADY LANE                                                                                   COLCHESTER       VT    05446‐6750
JOHN P LANGFORD                               9455 STANSBERRY AV                                                                              SAINT LOUIS      MO    63134‐3951
JOHN P LARSON                                 8506 RUPP FARM DR                                                                               WEST CHESTER     OH    45069‐4525
JOHN P LAYDEN                                 136 NOBLE ST                                                                                    BROOKLYN         NY    11222‐2534
JOHN P LEARNED                                BOX 737                                                                                         CNTR HARBOR      NH    03226‐0737
JOHN P LEMERE & WENDY K LEMERE JT TEN         14304 91ST AVENUE NORTH                                                                         SEMINOLE         FL    33776
JOHN P LEONOWICZ                              9259 TAN BAY                                                                                    COMMERCE TWP     MI    48382‐4362
JOHN P LEWIS                                  708 YORK AVE                                                                                    CHARLESTON       WV    25312‐1417
JOHN P LEWIS                                  806 MONTCLAIR DRIVE                                                                             KISSIMMEE        FL    34744‐5813
JOHN P LIZZA & KRISTIINA LIZZA JT TEN         1462 LONG HILL RD                                                                               MILLINGTON       NJ    07946‐1812
JOHN P LUCKY & ANNETTE LUCKY JT TEN           11014 POTTER RD                                                                                 FLUSHING         MI    48433‐9737
JOHN P LUKASIEWICZ CUST JOSEPH A LUKASIEWICZ  5 LIBERTY LN                                                                                    ENGLISHTOWN      NJ    07726‐8177
UGMA NJ
JOHN P LYNCH                                  S 4211 PITTSBURG                                                                                SPOKANE          WA    99203‐4340
JOHN P MACK                                   PO BOX 9022                                                                                     WARREN           MI    48090‐9022
JOHN P MACKIN & RITA M MACKIN TEN ENT         4714 LAFAYETTE AVE                                                                              PENNSAUKEN       NJ    08109‐1617
JOHN P MAKINEN                                PO BOX 154                                                                                      KALEVA           MI    49645‐0154
JOHN P MALONEY & THERESA R MALONEY TR MALONEY 9 SAN MATEO WAY                                                                                 CORONA DEL MAR   CA    92625‐1034
TRUST UA 04/21/82
JOHN P MANEL                                  11014 CANTERBURY                                                                                STERLING HGTS    MI    48312‐2800
JOHN P MANN                                   906 S 200 EAST                                                                                  DANVILLE         IN    46122
JOHN P MARKUNAS                               505 ANDALUSIAN RD                                                                               SCHWENKSVILLE    PA    19473‐1882
JOHN P MARSHALL & ANNE MARSHALL JT TEN        5841B DARLING ST                                                                                HOUSTON          TX    77007‐1003
JOHN P MARTIN                                 496 C DARTMOOR WAY                                                                              MANCHESTER       NJ    08759‐5512
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit E
                                                                                        Part 4 of 8 Pg 239 of 855
Name                                              Address1                               Address2                  Address3                          Address4                     City            State Zip

JOHN P MASER                                      874 N LEROY                                                                                                                     FENTON          MI    48430‐2740
JOHN P MC CANN                                    1897 BRANT RD                                                                                                                   NORTH COLLINS   NY    14111‐9601
JOHN P MC DERMOTT & MRS TERESA M MC DERMOTT       5412 BAKER DR BOX 83904                                                                                                         LEWISVILLE      TX    75056‐1810
JT TEN
JOHN P MC KAY JR                                  537 CABOT DRIVE                                                                                                                 HOCKESSIN       DE    19707‐1134
JOHN P MC MULLIN                                  1397 TENNYSON                                                                                                                   TROY            MI    48083‐5354
JOHN P MC NEELY JR                                1305 W 55TH PL                                                                                                                  COUNTRYSIDE     IL    60525‐3412
JOHN P MC PIKE                                    C/O MARY E MENDITTO                    460 CRESTWOOD AVE                                                                        HACKENSACK      NJ    07601‐1445
JOHN P MC QUADE & FLORENCE B MC QUADE JT TEN      1868 AYNSLEY WAY 1                                                                                                              VERO BEACH      FL    32966‐8088

JOHN P MC SHEA EX UW MARY WHELAN SWEENEY          667 FERNFIELD CIRCLE                                                                                                            STRAFFORD       PA    19087‐2002

JOHN P MCCARTHY                                   92 BRADFORD COMMONS LANE                                                                                                        BRAINTREE       MA    02184‐8258
JOHN P MCDERMOTT                                  3708 CANDLISH HARBOR LN                                                                                                         OSHKOSH         WI    54902‐7305
JOHN P MCDONAGH III                               502 UMATILLA WAY                                                                                                                VANCOUVER       WA    98661‐5941
JOHN P MCEWEN                                     C/O RUSSELL Z BARON                    TICKTIN BARRON & CO LPA   1621 EUCLID AVE 1770 KEITH BLDG                                CLEVELAND       OH    44115‐2114

JOHN P MCFADDEN                                   735 BERKSHIRE COURT                                                                                                             DOWNERS GROVE   IL    60516
JOHN P MCGILL                                     1050 PEPPERTREE PLACE                                                                                                           LIVERMORE       CA    94550‐5738
JOHN P MCGLYNN                                    35 CRANFORD LN                                                                                                                  GROSSE POINTE   MI    48230‐1514
JOHN P MCGREGOR                                   3900 HUNT CLUB CT                                                                                                               SHELBY TWP      MI    48316‐4822
JOHN P MEDEIROS & ARLEEN B STRYSHAK JT TEN        169 SHEFFIELD HILL RD                                                                                                           EXETER          RI    02822‐2913
JOHN P MEECE                                      578 RACHEL DRIVE                                                                                                                HAMILTON        OH    45013
JOHN P MEYER                                      PO BOX 1212                                                                                                                     N TONAWANDA     NY    14120‐9212
JOHN P MEYERS                                     17 WOODLAWN AVE                                                                                                                 BRIDGETON       NJ    08302‐3929
JOHN P MIKOLAY                                    50 SPRING ST                                                                                                                    TARRYTOWN       NY    10591‐5020
JOHN P MILLER                                     302 ANTLER DR                                                                                                                   SAN ANTONIO     TX    78213‐3303
JOHN P MILLER                                     4419 PARK AVE W R 12                                                                                                            MANSFIELD       OH    44903‐8612
JOHN P MOORE                                      4604 INISHEER DR                                                                                                                TALLAHASSEE     FL    32309
JOHN P MOORHOUSE                                  80 OLD LEONARD FARM ROAD                                                                                                        SWANZEY         NH    03446‐3309
JOHN P MORRISSEY                                  1110‐T50 BRINTON PLACE                                                                                                          WEST CHESTER    PA    19380
JOHN P MULVIHILL III                              110 RUSTIC TERR                                                                                                                 FAIR HAVEN      NJ    07704‐3646
JOHN P MURPHY                                     28 CENTRAL AVENUE                                                                                                               TARRYTOWN       NY    10591‐3336
JOHN P MURPHY                                     119 CEDAR RIDGE DR                     APT S309                                                                                 WEST BEND       WI    53095‐3671
JOHN P MURPHY                                     905 ELMIRA ST                                                                                                                   WHITE HAVEN     PA    18661‐1205
JOHN P MYRICK & SUE D MYRICK JT TEN               925 DUNDONNELL PLACE                                                                                                            NASHVILLE       TN    37220‐2348
JOHN P NALLY JR                                   202 WILSONIA ROAD                                                                                                               ROCHESTER       NY    14609‐6725
JOHN P NEEDHAM                                    151 KENTUCKY STREET                                                                                                             BUFFALO         NY    14204‐2723
JOHN P NELSON                                     7061 ARMSTRONG ROAD                                                                                                             GOLETA          CA    93117‐4035
JOHN P NELSON & DONNA M NELSON JT TEN             7061 ARMSTRONG ROAD                                                                                                             GOLETA          CA    93117‐4035
JOHN P NICHOLS & MRS IRENE K NICHOLS JT TEN       808 IVYDALE AVE                                                                                                                 REISTERSTOWN    MD    21136‐2411
JOHN P NOVAK                                      120 ST PATRICK ST #908                 TORONTO ON                                                  M5T 2X7 CANADA
JOHN P NOVAK JR                                   24 PALMER TERR                                                                                                                  SAG HARBOR      NY    11963‐4405
JOHN P NURENBERG                                  11310 E GOODWIN RD                                                                                                              WESTPHALIA      MI    48894
JOHN P O'KEEFE & JUNE S O'KEEFE JT TEN            6 SUMMIT AVE                                                                                                                    BINGHAMTON      NY    13904‐1723
JOHN P O'SULLIVAN & JOAN O'SULLIVAN & JOAN MARY   6479 CARRIAGE HILL                                                                                                              GRAND BLANC     MI    48439‐9536
O'SULLIVAN JT TEN
JOHN P OBRIEN                                     132 HILLSIDE AVE                                                                                                                NORWOOD         MA    02062‐4770
JOHN P OBRIEN                                     3930 RIVER RD UNIT 47                  EAST                                                        48054 CHINA (PEOPLE'S REP)

JOHN P OCONNOR                                    1275 W 4000 S                                                                                                                   VICTOR          ID    83455
JOHN P OHANLEY                                    1800 SE ST LUCIE BLVD                  VII‐307                                                                                  STUART          FL    34996
JOHN P OLIVER                                     3605 RANDLEMAN ROAD                                                                                                             GREENSBORO      NC    27406‐9101
JOHN P OMURA                                      77 STRATHCONA AVE                      OTTAWA ON                                                   K1S 1X5 CANADA
JOHN P OROURKE & MRS JANET A OROURKE JT TEN       1915 LAKE TERRACE DR                                                                                                            DANVILLE        IL    61832‐2217

JOHN P ORTT                                       1350 NIAGARA AVE                                                                                                                NIAGARA FALLS   NY    14305‐2746
JOHN P PACKARD                                    137 WESTBORO RD                                                                                                                 NORTH GRAFTON   MA    01536‐1809
JOHN P PAFFORD                                    6260 PEARL RD                          APT 620                                                                                  CLEVELAND       OH    44130‐3040
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 240 of 855
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

JOHN P PAGLIARULO                              8604 28TH AVE E                                                                                  PALMETTO          FL    34221‐8646
JOHN P PALICKI                                 354 VALLEYWOOD                                                                                   TOLEDO            OH    43605‐1728
JOHN P PALLER                                  48318 TELEGRAPH RD                                                                               AMHERST           OH    44001‐9712
JOHN P PALMENTERA                              13720 BELFAIR DR                                                                                 CLEVELAND         OH    44130‐2709
JOHN P PANARETOS TR JOHN P PANARETOS REVOCABLE 10311 TOPHILL DRIVE                                                                              HARTLAND          MI    48353‐2541
TRUSTUA 08/14/00
JOHN P PAPA CUST JOHN MICHAEL PAPA UGMA CT     29 PHILIP DR                                                                                     HUNTINGTON        CT    06484‐5130

JOHN P PAPINEAU                                   PO BOX 1799                                                                                   DUNDEE            FL    33838‐1799
JOHN P PEERA                                      8371 SHERWOOD DR                                                                              GRAND BLANC       MI    48439‐8391
JOHN P PESOTA & JOANNE M PESOTA JT TEN            109 CRAIG RD                                                                                  DICKSON CITY      PA    18519‐1183
JOHN P PIRC                                       978 RT 35                                                                                     CROSS RIVER       NY    10518‐1106
JOHN P POORMAN                                    2007 HULIT RD                                                                                 MANSFIELD         OH    44903‐9758
JOHN P POWELL & MRS SALLIE F POWELL JT TEN        40 GREEN SPRINGS AVE SW                                                                       BIRMINGHAM        AL    35211‐3912
JOHN P PYLES                                      1001 JACKSON LANE                                                                             CRYSTAL SPRINGS   MS    39059‐9362
JOHN P QUADERER                                   PO BOX 342                                                                                    OTISVILLE         MI    48463‐0342
JOHN P QUINN & ALICE M QUINN JT TEN               394 WILSON AVE                                                                                MIDDLETOWN        NJ    07748‐1547
JOHN P RAB                                        232 COURT STREET                                                                              KEENE             NH    03431
JOHN P RAINEY & JANE B RAINEY JT TEN              20516 WOODLAND ROAD                                                                           SUTHERLAND        VA    23885‐9380
JOHN P RAU                                        G‐1195 ARROWHEAD DR                                                                           BURTON            MI    48509
JOHN P RAUGHTER                                   2900 OVERLOOK DR                                                                              ASTON TWP         PA    19014‐1623
JOHN P REGAN                                      501 NORTH OAKWOOD                                                                             LAKE FOREST       IL    60045‐1964
JOHN P REYNOLDS                                   27509 EDEN FIELD DR                                                                           WESLEY CHAPEL     FL    33543‐7761
JOHN P REYNOLDS                                   2870 UGLY CREEK RD                                                                            DUCK RIVER        TN    38454‐3748
JOHN P RICHARDSON                                 205 NAVAHO                                                                                    LOVELAND          OH    45140‐2420
JOHN P RIVERA                                     24555 BORDERHILL                                                                              NOVI              MI    48375‐2944
JOHN P RODRIGUEZ                                  5114 WEST CORTLAND AVE                                                                        FRESNO            CA    93722‐9774
JOHN P ROUGHEN JR                                 C/O HOWARD J ROUGHEN                 609 BERKSHIRE DR                                         PITTSBURGH        PA    15215‐1514
JOHN P RUTHERFORD                                 181 FRISBEE HILL RD                                                                           HILTON            NY    14468‐8962
JOHN P RYDZIK                                     236 S JEFFERSON ST                                                                            WATERFORD         WI    53185‐4128
JOHN P SANDERS                                    255 SALES LANDING CIRCLE                                                                      CAMDEN            TN    38320‐8602
JOHN P SANO & NANCY M SANO JT TEN                 11 GLENMORE DRIVE                                                                             SCHENACTADY       NY    12309‐1945
JOHN P SANTOS                                     21657 MARYDEE CT                                                                              HAYWARD           CA    94541‐2466
JOHN P SCHANZ                                     3302 W LAKE RD                       APT 211                                                  ERIE              PA    16505‐3679
JOHN P SCHENKEL & ROSE SCHENKEL JT TEN            503 WINN STREET                                                                               SUMTER            SC    29150‐4027
JOHN P SCHMIDLIN                                  728 DONGAN AVENUE                                                                             SCHENECTADY       NY    12302
JOHN P SCREMPOS                                   PO BOX 204                                                                                    MORGAN HILL       CA    95038‐0204
JOHN P SEFCOVIC                                   17230 CATALPA DR                                                                              SOUTHFIELD        MI    48076‐3550
JOHN P SEIBEL & MRS MARION I SEIBEL JT TEN        173 21ST STREET APT 1E                                                                        POND DU LAC       WI    54935‐5800
JOHN P SEMIEN                                     535 SCOTTS HL                                                                                 MILFORD           MI    48381‐3429
JOHN P SHADDOCK                                   11800 FRANCESCA CT                                                                            ROMEO             MI    48065‐2630
JOHN P SHADRON                                    811 MEADOW BRANCH                                                                             CONVERSE          TX    78109‐1626
JOHN P SHANLEY & MRS BERNICE J SHANLEY JT TEN     1675 37TH AVE                                                                                 SF                CA    94122‐3127

JOHN P SHARPE CUST RACHEL SHARPE UGMA MI          14046 SQUAW LAKE DRIVE                                                                        LINDEN            MI    48451‐9451
JOHN P SHAW                                       3500 EMBER ST NE                                                                              MARIETTA          GA    30066‐3966
JOHN P SHEA TR FAMILY TRUST 02/18/91 U‐A JOHN P   1530 S WESTERN                                                                                SAN PEDRO         CA    90732‐3602
SHEA
JOHN P SHIELDS CUST ALYSSA M SHIELDS UTMA PA      7386 POPPY DR                                                                                 MACUNGIE          PA    18062‐8916

JOHN P SHIELDS CUST NICHOLAS J SHIELDS UTMA PA    7386 POPPY DR                                                                                 MACUNGIE          PA    18062‐8916

JOHN P SILVONEN                                   19799 WAKENDEN                                                                                REDFORD           MI    48240‐1341
JOHN P SIMPSON & MRS PATRICIA C SIMPSON JT TEN    9290 E THOMPSON PEAK PKWY            UNIT 123                                                 SCOTTSDALE        AZ    85255‐4524

JOHN P SINDEL                                     25046 WATSON RD                                                                               DEFIANCE          OH    43512‐6898
JOHN P SKOP                                       444 S CHURCH ST APT 616                                                                       PRINCETON         IL    61356‐2156
JOHN P SMITH                                      938 ETHAN ALLEN ROAD                                                                          BERWYN            PA    19312‐2208
JOHN P SMITH                                      5810 LINGLESTOWN RD                                                                           HARRISBURG        PA    17112‐1127
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 241 of 855
Name                                                 Address1                             Address2             Address3          Address4          City               State Zip

JOHN P SMURLA                                        25 CANTERBURY WAY                                                                             FARMINGDALE        NJ    07727‐3869
JOHN P SNYDER                                        52745 WESTCREEK DR                                                                            MACOMB             MI    48042‐2971
JOHN P SNYDER SR                                     3009 CIRCLE DRIVE                                                                             FLINT              MI    48507‐1813
JOHN P SOBUSH                                        21579 LUNDY                                                                                   FARMINGTON         MI    48336‐4636
JOHN P SOJKA JR                                      26000 SPRINGBROOK AVENUE 202                                                                  SAUGUS             CA    91350
JOHN P SOLBERG                                       59280 ROMEO PLANK RD                                                                          RAY                MI    48096‐3521
JOHN P SORGINI                                       5 WESTERN AVE                                                                                 LYNN               MA    01904‐2105
JOHN P SOURIALL                                      16212 RICHVALE DR                                                                             WHITTIER           CA    90604‐3630
JOHN P SOWLE & SHIRLEY SOWLE TEN ENT                 20944 US HGWY 6 & 19                                                                          SAEGERTOWN         PA    16433‐2920
JOHN P STAPLETON                                     8491 GLENEAGLE WAY                                                                            NAPLES             FL    34120‐1673
JOHN P STEFANO                                       1126 RIALTO DR                                                                                BOYNTON BEACH      FL    33436‐7198
JOHN P STERKEL                                       1426 SIOUX LN                                                                                 BURKBURNETT        TX    76354‐2832
JOHN P STOCK                                         2808 CLAREMONT BLVD                                                                           BERKELEY           CA    94705‐1408
JOHN P STRAINOVICI                                   23319 MIDDLESEX                                                                               SAINT CLAIR SHORES MI    48080‐2526

JOHN P STREGL                                        5729 S MASSASOIT                                                                              CHICAGO            IL    60638‐3725
JOHN P STULTZ                                        428 BEAR STORY BLVD                                                                           GREENFIELD         IN    46140‐3129
JOHN P SUFFOLETTA                                    184 TUDOR BLVD                                                                                BUFFALO            NY    14220‐2868
JOHN P SWARTZ                                        2650 JOHNSON RD                                                                               STANDISH           MI    48658‐9100
JOHN P SYLVIA & MARY LOU SYLVIA JT TEN               2230 N E 44 ST                                                                                LIGHTHOUSE POINT   FL    33064‐7340

JOHN P TABONE                                        6956 LAKE AVE                                                                                 WILLIAMSON         NY    14589‐9506
JOHN P TALLIEU                                       4422 CROSS CREEK                                                                              BURTON             MI    48509
JOHN P TEIXEIRA III CUST ANTHONY JOSEPH UGMA NY      3029 EAST LAKE RD                                                                             SKANEATELES        NY    13152‐9414

JOHN P TEIXEIRA III CUST JOHN P TEIXEIRA IV UGMA NY 3029 EAST LAKE ROAD                                                                            SKANEATELES        NY    13152‐9414

JOHN P TEIXEIRA III CUST RACHEL E TEIXEIRA UGMA NY   3029 EAST LAKE ROAD                                                                           SKANEATELES        NY    13152‐9414

JOHN P TERLESKY                                      4391 NORTHINGTON DR                                                                           ADRIAN             MI    49221‐9318
JOHN P THOMPSON                                      117 FAIRWAY LANE                                                                              WHEATON            IL    60187‐6431
JOHN P TOMASEK                                       11749 E LOVEJOY RD                                                                            BYRON              MI    48418‐9612
JOHN P TOUPIN                                        3651 LEXINGTON DRIVE                 JOHN P TOUPIN                                            AUBURN HILLS       MI    48326
JOHN P TYREE                                         515 MOHERMAN AVE                                                                              YOUNGSTOWN         OH    44509‐1847
JOHN P VAIL                                          9014 PEBBLE BEACH LANE                                                                        ORLAND PARK        IL    60462‐1515
JOHN P VALANCIUS                                     83 JUNIPER RD                                                                                 DELTA              PA    17314‐8616
JOHN P VEERLING JR                                   115 HAYS FARM CRT                                                                             GRAY               TN    37615‐4567
JOHN P VETICA JR                                     211 LYTTON RD                                                                                 CORAOPOLIS         PA    15108‐1012
JOHN P VILCEK                                        500 DORSET CIR                                                                                GRAND BLANC        MI    48439‐1549
JOHN P VORELL                                        18088 BOSTON RD                                                                               STRONGSVILLE       OH    44136‐8638
JOHN P VREELAND                                      5101 VILLAGE CT                                                                               LAKE WALES         FL    33898
JOHN P W BROWN 3RD                                   104 DEXTER ROAD                                                                               WILMINGTON         DE    19803‐2964
JOHN P WAGNER                                        1132 EVILO ST                                                                                 EL CAJON           CA    92021‐6325
JOHN P WALLACE                                       1411 CLERMONT RD                                                                              HOLT               MI    48842‐9687
JOHN P WALSH                                         7539 JAGUAR DRIVE                                                                             BOARDMAN           OH    44512‐5307
JOHN P WALSH                                         720 GREENLEAF VILLAGE DR                                                                      SPRINGBORO         OH    45066‐9585
JOHN P WALSH                                         441 2ND ST APT 2R                                                                             BROOKLYN           NY    11215
JOHN P WALSH JR & GAIL K WALSH JT TEN                7539 JAGUAR DR                                                                                BOARDMAN           OH    44512‐5307
JOHN P WALTERS                                       525 S WEBIK                                                                                   CLAWSON            MI    48017‐1841
JOHN P WATSON                                        PO BOX 27                                                                                     LILLIAN            TX    76061‐0027
JOHN P WECKLE & JOETTA WECKLE JT TEN                 65 E PRINCETON AVE                                                                            PONTIAC            MI    48340‐1950
JOHN P WHITLEY                                       3916 RIVERSIDE DR                                                                             BETHANY            OK    73008‐3053
JOHN P WILCZAK & JEAN H WILCZAK JT TEN               138 MORNINGSTAR COURT                                                                         WILLIAMSVILLE      NY    14221‐4957
JOHN P WILLIAMS                                      620 EVERETT DRIVE                                                                             LANSING            MI    48915‐1110
JOHN P WIMBERLY                                      9885 MARDAN DR                                                                                DIMONDALE          MI    48821‐9558
JOHN P WINNER & EUGENIA ATKINS WINNER JT TEN         11269 KESSLER PL                                                                              MANASSAS           VA    20109‐7779

JOHN P WISCHMEYER                                    373 S 325 E                                                                                   SHELBYVILLE        IN    46176‐9260
JOHN P WOLFRUM                                       222 SANDHURST DR                                                                              LAPEER             MI    48446‐8718
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                        Part 4 of 8 Pg 242 of 855
Name                                              Address1                               Address2                     Address3     Address4            City             State Zip

JOHN P WOOTON                                     507 MACKINAW ST                                                                                      DURAND           MI    48429‐1327
JOHN P WRIGHT                                     1009 ARBORLEY CT                                                                                     WESTAMPTON       NJ    08060‐5710
JOHN P ZACHMAN                                    1295 E 106TH ST                                                                                      INDIANAPOLIS     IN    46280‐1461
JOHN PACHAN                                       4801 RTE 353                                                                                         SALAMANCA        NY    14779‐9709
JOHN PACKER JR                                    2157 BOTT ST                                                                                         YOUNGSTOWN       OH    44505‐3806
JOHN PAGAN                                        AVE A 2104 BA OBRERO                   SANTURCE                                  915 PUERTO RICO
JOHN PAGE BENNINK                                 405 WHITE LANE                                                                                       BRISTOL          VT    05443
JOHN PALETTA                                      5732 EUCLID ST                                                                                       CHEVERLY         MD    20785‐2940
JOHN PALKA JR                                     640 SPROUT BRK RD                                                                                    PUTNAM VALLEY    NY    10579‐1811
JOHN PALMER ESSER                                 5448 OKEMOS RD                                                                                       EAST LANSING     MI    48823
JOHN PANNILL BAILEY                               45651 PADDINGTON STATION TER                                                                         STERLING         VA    20166‐9266
JOHN PANNULLO                                     36 BAYVIEW DR                                                                                        BRICK            NJ    08723‐7461
JOHN PANYKO                                       323 E ROMANA ST                                                                                      PENSACOLA        FL    32502
JOHN PAPPAS                                       4 MONTVALE RD                                                                                        NEWARK           DE    19713‐3731
JOHN PARENTE                                      54 GORHAM ST                                                                                         REHOBOTH         MA    02769‐2506
JOHN PARIDIS                                      490 CHURCHILL ROAD                                                                                   TEANECK          NJ    07666‐2903
JOHN PARKER                                       414 MEADOWLARK WY                                                                                    LODI             CA    95240‐7880
JOHN PARKINSON III                                7662 TOWNSHIP HWY 120                                                                                ADENA            OH    43901‐7914
JOHN PARKOLAP & JOHN J PARKOLAP JR JT TEN         6530 W 26TH PLACE                                                                                    BERWYN           IL    60402‐2789
JOHN PARRAN                                       67 LAGRANDE AVE                                                                                      FANWOOD          NJ    07023
JOHN PARTIN                                       1185 KAILYN CT                                                                                       HAMILTON         OH    45013‐4192
JOHN PASCUCCI                                     248R JOHNSON LN                                                                                      DURHAM           CT    06422‐1807
JOHN PASHKEVICH                                   4518 BEAR LAKE CT                                                                                    CLEARWATER       FL    33762‐5201
JOHN PASSADIS                                     CHEVROLET ITALIA S.P.A                 PIAZZALE DELL INDUSTRIA 40   00144 ROMA   ITALY
JOHN PASTIER & ANITA PASTIER JT TEN               8486 GLADE DR                                                                                        MILFORD          DE    19963‐4801
JOHN PATAKI                                       101 LOCUST DR                                                                                        WESTVILLE        IL    61883‐1205
JOHN PATAKY                                       7050 WOODSONG DR                                                                                     MYRTLE BEACH     SC    29579‐1840
JOHN PATRICK ANTHONY & ELEANOR JOSEPHINE          1822 SW 12 AVE                                                                                       MIAMI            FL    33129‐2611
ANTHONY JT TEN
JOHN PATRICK BARRY                                46 EAST MILL ST                                                                                      NESQUEHONING     PA    18240
JOHN PATRICK CARROLL                              6038 HEMINGWAY                                                                                       DAYTON           OH    45424‐3525
JOHN PATRICK CRIPPEN                              10219 CHERRY TREE TER                                                                                CENTERVILLE      OH    45458‐9431
JOHN PATRICK HORNE & SYLVIA MARIE HORNE JT TEN    107 SUNSET DR                                                                                        ELKINS           WV    26241‐3235

JOHN PATRICK KEARNEY                            60 WHIRLAWAY DR                                                                                        STAFFORD         VA    22556‐6605
JOHN PATRICK MANLEY 3RD                         15 NELSON RIDGE S                                                                                      WASHINGTON       ME    04574‐3617
JOHN PATRICK O'BRIEN                            26C WEED HILL AVE                                                                                      STAMFORD         CT    06907‐1536
JOHN PATRICK OREILLY                            U P O BOX 4444                                                                                         KINGSTON         NY    12402‐4444
JOHN PATRICK OSELETTE                           2402 CALADIUM DR NE                                                                                    ATLANTA          GA    30345‐2008
JOHN PATRICK PERRY                              310 ORAN WAY                                                                                           JESUP            GA    31545‐0119
JOHN PATRICK PETERS                             2351 BAY FARM PLACE                                                                                    NEWPORT BEACH    CA    92660‐0704
JOHN PATRICK TR UA 11/16/06 JOHN PATRICK        640 LETA AVE                                                                                           FLINT            MI    48507
REVOCABLE TRUST
JOHN PATTEN                                     3005 WATKINS RD                          # A 110                                                       HORSEHEADS       NY    14845
JOHN PAUL BARNETT & MARY LOUISE BARNETT TEN ENT                                                                                                        OSCEOLA MILLS    PA    16666

JOHN PAUL BINGHAM                                 12937 MEADOW LANE                                                                                    PLAINFIELD       IL    60585
JOHN PAUL DEAN                                    2905 LAKEVIEW PT                                                                                     FORT SMITH       AR    72903‐5475
JOHN PAUL DEMEO                                   60 ROSARIA LN                                                                                        HANOVER CENTER   MA    02339‐1326
JOHN PAUL DOGGETT                                 2121 W LUNT AV                                                                                       CHICAGO          IL    60645‐4815
JOHN PAUL ENGELBRECHT                             22356 OLD HWY 169                                                                                    FORT DODGE       IA    50501‐8471
JOHN PAUL GALLAGHER                               31 W MARKET ST                                                                                       WILKES‐BARRE     PA    18701‐1304
JOHN PAUL GAPCYNSKI & FERNE DRIVER GAPCYNSKI JT   201 ARTILLERY RD                                                                                     YORKTOWN         VA    23692‐4225
TEN
JOHN PAUL J CHOLAK                                1229 HILLTOP DR                                                                                      SAN MARCOS      TX     78666
JOHN PAUL KAPLAN                                  310 CYNWYD RD                                                                                        BALA CYNWYD     PA     19004‐2634
JOHN PAUL KENT                                    1605 ROSEDALE                                                                                        WEST BLOOMFIELD MI     48324‐1277

JOHN PAUL LASWELL                                 1740 E 18TH ST                                                                                       ANDERSON         IN    46016‐2125
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 243 of 855
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

JOHN PAUL LUKES                               14 VILLAGE OF STONEY RUN                APT F                                                    MAPLE SHADE       NJ    08052‐2114
JOHN PAUL MILCETICH                           21641 BELHAVEN WAY                                                                               ESTERO            FL    33928
JOHN PAUL MROZEK                              1523 RUSTIC OAK LANE                                                                             SEABROOK          TX    77586
JOHN PAUL NORTON & DONNA SWAYZE NORTON JT TEN 4 LIME KILN RD                                                                                   COLUMBIA          NJ    07832‐2111

JOHN PAUL ROULEAU II                            8605 VELVET ANTLER WAY                                                                         PEYTON            CO    80831‐6973
JOHN PAUL RYAN                                  20 EDGELAWN AVE                                                                                WHEELING          WV    26003‐6035
JOHN PAVLIK & MRS FRANCES M PAVLIK JT TEN       PO BOX 3171                                                                                    MCKEE SPORT       PA    15134‐3171
JOHN PEARSON                                    16 FAIRVIEW AVE                                                                                FALMOUTH          MA    02540‐3112
JOHN PEART                                      1645 HOLIDAY PL                                                                                NEW ORLEANS       LA    70114‐1848
JOHN PEDERSON                                   603 E CONGRESS ST                                                                              NORA SPRINGS      IA    50458‐8634
JOHN PELLERITO                                  22436 PROVINCIAL                                                                               WOODHAVEN         MI    48183‐3704
JOHN PENA                                       26040 CLANCY STREET                                                                            ROSEVILLE         MI    48066‐3105
JOHN PEREZ                                      12640 HOLLY RD                        APT C304                                                 GRAND BLANC       MI    48439‐1861
JOHN PERRETT & PEGGY PERRETT JT TEN             1410 MEMORIAL DRIVE                                                                            BOYLE             MS    38730‐9750
JOHN PERRONE                                    104 TILLER LN                                                                                  BRICK TOWN        NJ    08723‐6775
JOHN PERRY GRIER & FRANCES J GRIER JT TEN       217 S COLLEGE                                                                                  GENESEO           IL    61254‐1405
JOHN PETER DEVANEY                              704 CENTENNIAL AVE                                                                             MEDLA             PA    19063‐2416
JOHN PETER FAUERBACH                            236 WINE ST                                                                                    CHARLOTTESVILLE   VA    22902‐4633

JOHN PETER SCHNITKER                            9006 MONTGOMERY AVE                                                                            CHEVY CHASE       MD    20815‐5602
JOHN PETO & PATRICIA J WARTELLA JT TEN          4339 BEECHWOOD AVE                                                                             BURTON            MI    48509‐1101
JOHN PETO JR                                    4339 BEECHWOOD AVE                                                                             BURTON            MI    48509‐1101
JOHN PETRA                                      49 GROVE ST APT 5C                                                                             NEW YORK          NY    10014
JOHN PETRUT                                     11888 ROBINSHIRE ST                                                                            TEMPERANCE        MI    48182‐9610
JOHN PETSKO & MARY S PETSKO JT TEN              122 WILSON RD                                                                                  BLACKWOOD         NJ    08012‐1475
JOHN PHILIP BONARIGO                            1102 N RODNEY STREET                                                                           WILMINGTON        DE    19806‐4320
JOHN PHILIP MCEACHERN                           129 WEIR POINT DR                                                                              MANTEO            NC    27954‐9382
JOHN PHILIP PARKE & BONNIE GAIL PARKE JT TEN    19180 MARYLAND                                                                                 ROSEVILLE         MI    48066‐1373
JOHN PHILIP PITSCHI                             72 CANDEE AVE                                                                                  SAYVILLE          NY    11782‐3008
JOHN PHILIP SCHOONHOVEN                         6636 N PONCHARTRAIN BLVD                                                                       CHICAGO           IL    60646‐1428
JOHN PHILLIP WAGGONER 3RD                       6420 RIGGS PL                                                                                  LOS ANGELES       CA    90045‐1242
JOHN PHILLIPS & LINDA PHILLIPS JT TEN           6301 MACKENZIE CIRCLE                                                                          FLINT             MI    48507‐3867
JOHN PHINISEE                                   2007 CROOKED LN                                                                                FLINT             MI    48503‐4673
JOHN PIAZZA                                     117 SYLVAN TER                                                                                 SHOHALA           PA    18458‐2828
JOHN PICARIELLO                                 33 W 28TH ST                                                                                   BAYONNE           NJ    07002‐3807
JOHN PIERCE                                     3 RIDGE DR                                                                                     NEW CASTLE        DE    19720‐2303
JOHN PIIRTO & NANCY PIIRTO COMMUNITY PROPERTY   841 CLAIRVIEW LANE                                                                             IDAHO FALLS       ID    83402‐2626

JOHN PILGRIM                                    74 MAPCHEDASH ST S                    ORILLIA ON                             L3V 4W5 CANADA
JOHN PILLAR                                     111 DOUGLAS AVE                                                                                SOMERSET          NJ    08873‐3228
JOHN PINO CUST CHRISTOPHER JOHN PINO UGMA PA    1 CAMERON CIRCLE                                                                               LAUREL SPRINGS    NJ    08021‐4860

JOHN PIRICH                                     PO BOX 524                                                                                     KINGSLEY          MI    49649‐0524
JOHN PITTA JR                                   HC 1 BOX 98D                                                                                   THORNHURST        PA    18424‐9308
JOHN PIZZURRO & MRS ANN MARIE PIZZURRO JT TEN   517 MECHWART PLACE                                                                             GAHANNA           OH    43230‐4560

JOHN POCZONTEK                                  2759 WEXFORD                                                                                   STOW              OH    44224‐2866
JOHN POEHLING                                   40 PARK AVE APT 14‐D                                                                           NEW YORK          NY    10016
JOHN POEHLING SR                                5708 PEMBROKE DRIVE                                                                            MADISON           WI    53711
JOHN POLIMENI JR                                3629 EAST RIDGE RUN                                                                            CANANDAIGUA       NY    14424
JOHN POLLICK                                    2336 FIR ST                                                                                    GLENVIEW          IL    60025‐2704
JOHN POLLINA JR                                 415 MAYFLOWER AVE                                                                              BRENTWOOD         NY    11717‐8103
JOHN POLONEY                                    1517 ESCOTT AVE NW                                                                             GRAND RAPIDS      MI    49504‐3015
JOHN POLT JR                                    5128 WEST 151 ST                                                                               CLEVELAND         OH    44142‐1741
JOHN PORTER                                     1219 LINDBERG RD                                                                               ANDERSON          IN    46012‐2635
JOHN POSPY                                      24719 AUDREY                                                                                   WARREN            MI    48091‐1781
JOHN POST                                       12351 HILL RD                                                                                  SWARTZ CREEK      MI    48473‐8581
JOHN POSTAVA                                    851 E PALM VALLEY DR                                                                           OVIEDO            FL    32765‐6949
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 244 of 855
Name                                                Address1                              Address2             Address3          Address4          City               State Zip

JOHN POTACH                                         121 DOGWOOD DR                                                                                 LEVITTOWN          PA    19055‐1728
JOHN POWELL                                         24871 MIDDLEBELT                                                                               NEW BOSTON         MI    48164‐9717
JOHN POWELL RUTHERGLEN & SHEILA IRENE               17494 PARKER ROAD                                                                              CASTRO VALLEY      CA    94546‐1224
RUTHERGLEN JT TEN
JOHN POWERS & MRS DORIS POWERS JT TEN               1257 MARYWOOD LN APT 209                                                                       RICHMOND           VA    23229‐6060
JOHN PREIKSCHAT                                     BOX 310 STATION MAIN                  WHITE CITY SK                          S4G 5B1 CANADA
JOHN PRESSEL JR                                     9760 MINTWOOD DRIVE                                                                            DAYTON             OH    45459
JOHN PRESSEL JR & HELEN PRESSEL JT TEN              9760 MINTWOOD ROAD                                                                             DAYTON             OH    45458‐5122
JOHN PRIOLO & MRS MARGARET PRIOLO JT TEN            12008 SOUTHALL CT                                                                              RICHMOND           VA    23233‐1681
JOHN PROKOPCHUK                                     5658 MOCHICAN DR                                                                               STEVENSVILLE       MI    49127‐9643
JOHN PSAROS                                         7389 MC GUIRE ROAD                                                                             FENTON             MI    48430‐8974
JOHN PSAROS & CAROL JOYCE PSAROS JT TEN             7389 MC GUIRE ROAD                                                                             FENTON             MI    48430‐8974
JOHN PULIAFICO                                      PO BOX 214                                                                                     HEWITT             NJ    07421‐0214
JOHN PUTNAM MILLER                                  6325 WEST IVANHOE STREET                                                                       CHANDLER           AZ    85226
JOHN Q MILUSKI & MRS BEVERLY MILUSKI JT TEN         75 REGENCY DR                                                                                  GRAND ISLAND       NY    14072‐3203
JOHN Q POWE                                         19501 WOODINGHAM                                                                               DETROIT            MI    48221‐1654
JOHN QUATTROCIOC                                    788 CARUSO DRIVE                      WINDSOR ON                             N9G 2M7 CANADA
JOHN QUINN & MADELINE QUINN JT TEN                  9 ADAMS LANE                                                                                   SUFFERN            NY    10901‐7114
JOHN QUINTANA                                       10326 FARMINGTON AVE                                                                           SUNLAND            CA    91040‐1842
JOHN R ABBEY                                        706 DENTON ROAD                                                                                WINTER PARK        FL    32792‐2742
JOHN R ABBOTT JR                                    8748 HIPP CT                                                                                   TAYLOR             MI    48181
JOHN R ACKLEY CUST DYLAN JOHN ACKLEY UTMA MI        2370 CARRIAGE                                                                                  GALESBURG          MI    49053‐9629

JOHN R ADAMS                                        1620 CHELSEA RD                                                                                PALOS VERDES EST   CA    90274‐1823

JOHN R AGNEW & KATHRYN AGNEW JT TEN                 119 E MARYLAND AVE                                                                             ROYAL OAK          MI    48067‐3722
JOHN R ALDRICH                                      11560 SHAFTSBURG RD                                                                            LAINGSBURG         MI    48848‐9732
JOHN R ALEXANDER                                    821 HOLLEY RD                                                                                  ELMIRA             NY    14905‐1212
JOHN R ALEXANDER                                    3274 NORTH RD                                                                                  NEWFANE            NY    14108‐9609
JOHN R ALLEN                                        5049 LEEDALE DR                                                                                DAYTON             OH    45418‐2007
JOHN R ALLEN                                        3821 HIGHWAY 255 SOUTH                                                                         CLEVELAND          GA    30528‐3237
JOHN R AMATO & JOAN M AMATO JT TEN                  477 THE FENWAY                                                                                 RIVER EDGE         NJ    07661‐1840
JOHN R AMEER                                        345 FRANKLIN TPKE                                                                              RIDGEWOOD          NJ    07450‐1907
JOHN R ANDERSON 2ND                                 187 W LINCOLN AVE                                                                              DELAWARE           OH    43015‐1626
JOHN R ANDERSON TR JOHN R ANDERSON TRUST UA         555 DORSET COURT                                                                               NAPERVILLE         IL    60540‐6904
04/05/96
JOHN R ANDREWS JR                                   6209 E MCPHILIPS RD LOT 294                                                                    MESA               AZ    85215
JOHN R ANGIOLINI & MARY LOU ANGIOLINI JT TEN        UNIT 6                                97 W MAIN ST                                             NIANTIC            CT    06357‐1730

JOHN R ANTAL                                        27741 MACKENZIE                                                                                WESTLAND           MI    48185‐1849
JOHN R ARGIRO JR                                    114 HILLCREST ACRES                                                                            NEW CASTLE         PA    16102‐3110
JOHN R ARMSTRONG                                    1000‐82ND AVE N                                                                                BROOKLYN PARK      MN    55444‐1709
JOHN R ARNOLD                                       1240 PERIWINKLE ST                                                                             DARLINGTON         SC    29532‐4966
JOHN R ASHBURN JR & DOROTHY D ASHBURN JT TEN        215 DEEP WATER WY                                                                              CARROLLTON         VA    23314‐2238

JOHN R ASHFORD                                      408 SHERYL LANE                                                                                DENISON            TX    75021‐3154
JOHN R ASP                                          2801 S DORT HWY                       LOT A7                                                   FLINT              MI    48507‐5243
JOHN R AULD                                         473 RICETOWN ROAD                                                                              COOPERSTOWN        NY    13326‐4446
JOHN R AUSTIN                                       1325 NORTON ST                                                                                 BURTON             MI    48529‐1214
JOHN R AUVENSHINE                                   8044 S CLINTON TR                                                                              EATON RAPIDS       MI    48827‐9519
JOHN R AVERILL JR                                   616 17TH ST                                                                                    BOULDER            CO    80302‐7637
JOHN R AVIS & ELIZABETH S AVIS TR THE AVIS FAMILY   644 CARLETON RD                                                                                WESTFIELD          NJ    07090‐2504
TRUST UA 07/01/98
JOHN R BACCARELLA                                   53 WINCREST LN                                                                                 TINTON FALLS       NJ    07753‐7421
JOHN R BALDWIN                                      5650 SHERWOOD RD                                                                               OXFORD             MI    48371‐3430
JOHN R BALOG                                        165 FOREST STREET                                                                              AMHERST            OH    44001‐1605
JOHN R BARANOWSKI                                   728 CAMPBELL ST                                                                                SOUTH AMBOY        NJ    08879‐1450
JOHN R BARBER                                       89 PENARROW DR                                                                                 TONAWANDA          NY    14150‐4226
JOHN R BARGIEL                                      4853 GAMBER DRIVE                                                                              TROY               MI    48098‐5063
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 245 of 855
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

JOHN R BARKLEY                                    10349 VALLEY ROAD                                                                             INDIANAPOLIS     IN    46280‐1553
JOHN R BARLAGE                                    4190 RD 15                                                                                    LEIPSIC          OH    45856‐9470
JOHN R BARNETT                                    1632 W ATERTON RD                                                                             FLINT            MI    48507‐5348
JOHN R BASS                                       8880 W 1050S                                                                                  FORTVILLE        IN    46040‐9218
JOHN R BATCHELDER                                 6327 OLD BROOK DRIVE                                                                          FORT WAYNE       IN    46835‐2441
JOHN R BATES JR                                   105 MONTEVALLO LANE                                                                           BIRMINGHAM       AL    35213‐4405
JOHN R BEHRENS                                    3482 HWY NN                                                                                   WEST BEND        WI    53095‐8722
JOHN R BELL & CHARLENE M BELL JT TEN              3234 PIGNATELLI CRESCENT                                                                      MOUNT PLEASANT   SC    29466‐8060

JOHN R BELL & DORTHY I BELL JT TEN                BOX 325                              4297 MAIN ST                                             BROWN CITY       MI    48416‐0325
JOHN R BENDER                                     3370 PINERIDGE                                                                                BRIGHTON         MI    48116‐9429
JOHN R BERCHOK                                    1026 DALE RD                                                                                  FINLEYVILLE      PA    15332
JOHN R BERCHOK & EMMA D BERCHOK JT TEN            1026 DALE RD                                                                                  FINLEYVILLE      PA    15332
JOHN R BERGMAN                                    1603 CHESTNUT GROVE ROAD                                                                      SALEM            OH    44460‐4276
JOHN R BESANT                                     7075 US 28 HWY                                                                                OSCODA           MI    48750
JOHN R BIROS & KAY F BIROS JT TEN                 10949 GARY PLAYER DR                                                                          EL PASO          TX    79935‐3909
JOHN R BISHOP                                     2372 WOODFIELD CIRCLE                                                                         LEXINGTON        KY    40515‐1202
JOHN R BLAESEL                                    PSC 1280 BOX 24                                                                               APO              AE    09880‐9998
JOHN R BLESSING                                   125 PAPAYA DR                                                                                 ORMOND BEACH     FL    32174‐6196
JOHN R BLUMBERG                                   PO BOX 541                                                                                    HIGHLAND         MI    48357‐0541
JOHN R BOLHUIS & KRISTINE M BOLHUIS JT TEN        10104 OLD KENT LN                                                                             CLARKSTON        MI    48348‐1612
JOHN R BOLON                                      6456 WOODVILLE DR                                                                             DATON            OH    45414‐2850
JOHN R BONGORT                                    27361 SPRING ARBOR DR                                                                         SOUTHFIELD       MI    48076‐3543
JOHN R BOOKSHAR                                   6517 HIDDEN TREE LANE                                                                         AMHERST          OH    44001‐1923
JOHN R BOOKSHAR & ROSALIE A BOOKSHAR JT TEN       6517 HIDDEN TREE LANE                                                                         AMHERST          OH    44001‐1923

JOHN R BOOSE                                      2213 LAKEFIELD DR                                                                             HURON            OH    44839‐2070
JOHN R BORING                                     1628 ABBOTT RD                                                                                ROSE CITY        MI    48654‐9619
JOHN R BOSS                                       23 HARRIS LN                                                                                  LAFAYETTE        GA    30728‐5052
JOHN R BOUSTANI                                   124 WALNUT GROVE CT                                                                           ALVATON          KY    42122‐9583
JOHN R BOWDEN                                     2400 SPAULDING RD                                                                             ATTICA           MI    48412‐9314
JOHN R BRADSHAW                                   PO BOX 22023                                                                                  LANSING          MI    48909‐2023
JOHN R BRADY                                      1464 HARDISON RD                                                                              COLUMBIA         TN    38401‐1351
JOHN R BRANDENBURG                                20 N WACKER DRIVE STE 1660                                                                    CHICAGO          IL    60606
JOHN R BRANTINGHAM CUST JENNIFER R                10634 OAKFORD                                                                                 WHITE LAKE       MI    48386‐3760
BRANTINGHAM UGMA MI
JOHN R BRATT                                      127 SENTRY RDG                                                                                SMITHSBURG     MD      21783‐1589
JOHN R BRETHOUR                                   3801 E HARDY DR                                                                               TUCSON         AZ      85716‐1471
JOHN R BRETT JR                                   33 HILTON DR                                                                                  SOUTH WEYMOUTH MA      02190‐2518

JOHN R BRITTAIN                                   65 KENWOOD DR NO                                                                              LEVITTOWN        PA    19055‐2445
JOHN R BROOKY                                     241 E WEBSTER                                                                                 FERNDALE         MI    48220‐2537
JOHN R BROPHY                                     3215 GALLOWAY ROAD                                                                            SANDUSKY         OH    44870‐5947
JOHN R BROWER & ANNE MARIE BROWER JT TEN          2973 SECKEL ST                                                                                MEDFORD          OR    97504‐8171
JOHN R BROWN                                      11105 W PARNELL AVE                                                                           HALES CORNERS    WI    53130‐1832
JOHN R BROWN                                      7031 ACADEMY LANE                                                                             LOCKPORT         NY    14094‐5356
JOHN R BRYAN                                      2115 RAUCHOLZ RD                                                                              HEMLOCK          MI    48626‐8465
JOHN R BRYANT                                     5157 S TOD                                                                                    WARREN           OH    44481‐9744
JOHN R BRYANT & ANDRE D BRYANT JT TEN             5157 TOD AVE SW                                                                               WARREN           OH    44481‐9744
JOHN R BUFFINGTON                                 MCGEES MILLS RD                      RR1 BOX 447                                              MAHAFFEY         PA    15757‐9646
JOHN R BUFFUM                                     6510 ARTHUR ST                                                                                HOLLYWOOD        FL    33024‐5832
JOHN R BURDETTE CUST LISA GAIL BURDETTE UGMA MI   5513 CHATHAM LANE                                                                             GRAND BLANC      MI    48439‐9742

JOHN R BURKHART SR                                808 SUMMIT PL                                                                                 INDIANOLA        IA    50125
JOHN R BURLESON & GAIL A BURLESON JT TEN          519 PLYMOUTH DRIVE                                                                            DAVISON          MI    48423‐1729
JOHN R BURNHAM                                    PO BOX 424                           633 CENTER WAY                                           FRAZIER PARK     CA    93225‐0424
JOHN R BURTON                                     14194 COON HOLLOW ROAD                                                                        THREE RIVERS     MI    49093‐8534
JOHN R BUSCH & LEONE J BUSCH JT TEN               442 STOCKBRIDGE                                                                               KALAMAZOO        MI    49001‐2842
JOHN R BUSH                                       7203 CENTERHILL DRIVE                                                                         LAKELAND         FL    33809‐6628
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 246 of 855
Name                                               Address1                               Address2             Address3          Address4                 City             State Zip

JOHN R BUSKA                                       1601 DILL AVE APT 809                                                                                  LINDEN           NJ    07036‐1773
JOHN R BUTLER & DORIS BUTLER TEN ENT               215 HATTON PLACE                                                                                       GLEN MILLS       PA    19342
JOHN R BUTLER & MRS DORIS BUTLER JT TEN            215 HATTON PLACE                                                                                       GLEN MILLS       PA    19342
JOHN R C WOODLAN                                   13092 CLEVELAND AVE                                                                                    BUCHANAN         MI    49107‐9338
JOHN R CAIN                                        21530 KELLY RD                         APT 106                                                         EASTPOINTE       MI    48021‐3242
JOHN R CALIANNO JR                                 8281 SHAW ROAD                                                                                         IMLAY CITY       MI    48444‐9436
JOHN R CALLAHAN                                    101 E WARD AVE                                                                                         RIDLEY PARK      PA    19078‐3010
JOHN R CALLERY                                     3621 BOND STREET                                                                                       RALEIGH          NC    27604‐3801
JOHN R CAMILLER                                    APT 7                                  14654 GIBRALTAR RD                                              GIBRALTAR        MI    48173
JOHN R CAMPANALE                                   18 BROAD ST                                                                                            CHERRY VALLEY    MA    01611‐3321
JOHN R CAMPBELL                                    10335 ORO VISTA                                                                                        SUNLAND          CA    91040‐3042
JOHN R CARDWELL JR                                 1210 STANHOPE AVENUE                                                                                   RICHMOND         VA    23227‐3730
JOHN R CARNES                                      267 HARVEST LANE                                                                                       FRANKENMUTH      MI    48734‐1213
JOHN R CARNEY                                      806 LAREDO AVE                                                                                         LEHIGH ACRES     FL    33936‐6842
JOHN R CARRIER                                     3201 MC CLURE                                                                                          FLINT            MI    48506‐2537
JOHN R CARROLL                                     1037 TABOR AVE                                                                                         DAYTON           OH    45420‐1423
JOHN R CARROLL                                     5217 MAPLETON ROAD                                                                                     LOCKPORT         NY    14094‐9293
JOHN R CARROLL                                     125 GALLOPING HILL RD                                                                                  LINCOLN          PA    19352‐1312
                                                                                                                                                          UNIVERSITY
JOHN R CARSON                                      7457 E SAGINAW HIGHWAY                                                                                 GRAND LEDGE      MI    48837‐9173
JOHN R CASH                                        20 OAKRIDGE AVE                                                                                        BUFFALO          NY    14217‐1119
JOHN R CASSONE & MRS EVELYN CASSONE JT TEN         312 7TH AVE                                                                                            PELHAM           NY    10803‐1314
JOHN R CEFALO                                      52 WINDSOR RD                                                                                          MEDFORD          MA    02155‐5920
JOHN R CEVAER                                      3 STACEY DR                                                                                            RANSOMVILLE      NY    14131‐9515
JOHN R CHAFFIN & MARYLEE E CHAFFIN TR UA CHAFFIN   PO BOX 17                                                                                              SANDHILL         MS    39161‐0017
FAMILY TRUST 01/30/91
JOHN R CHALMERS                                    4 JANMEAD                              HUTTON BRENTWOOD     ESSEX             CM13 2PU GREAT BRITAIN
JOHN R CHAPMAN                                     1256 S ROCK HILL ROAD                                                                                  WEBSTER GROVES   MO    63119‐4602
JOHN R CHASE                                       16 N 16TH AVE                                                                                          MANVILLE         NJ    08835‐1524
JOHN R CHATTEN                                     272 PICKETTS WAY                                                                                       ACWORTH          GA    30101‐8612
JOHN R CHEPLEY JR                                  21950 ROBERT AVENUE                                                                                    ROCKY RIVER      OH    44116‐3850
JOHN R CHIANTIS                                    7140 SAN BENITO DRIVE                                                                                  SYLVANIA         OH    43560‐1128
JOHN R CHILVER & MARY K CHILVER JT TEN             1129 HORN TOAD DR                                                                                      HASLET           TX    76052‐2897
JOHN R CHRISTIAN                                   7271 CARPENTER ROAD                                                                                    DAVISON          MI    48423‐8959
JOHN R CIPOLLETTI                                  19 DICKINSON AVE                                                                                       TOMS RIVER       NJ    08753‐6772
JOHN R CLARK                                       7915 HATTERAS LANE                                                                                     SPRINGFIELD      VA    22151‐2410
JOHN R CLARK CUST JOHN R CLARK III UTMA IL         125 SADDLE BROOK DR #21                                                                                OAK BROOK        IL    60523‐2621
JOHN R CLARK CUST JOHN ROBERT CLARK III UTMA IL    125 SADDLEBROOK DR                                                                                     OAK BROOK        IL    60521‐2621

JOHN R CLAUS                                       9970 ELMWOOD                                                                                           FREELAND         MI    48623‐9024
JOHN R COINER                                      3751 EASTWAY RD                                                                                        SOUTH EUCLID     OH    44118‐2307
JOHN R COLE                                        3317 GALTS RD                                                                                          ACWORTH          GA    30102‐1131
JOHN R COLGAN                                      630 ROSEWOOD COURT                                                                                     LOTHIAN          MD    20711
JOHN R COLLINS                                     3427 MILVERTON RD                                                                                      SHAKER HEIGHTS   OH    44120‐4219
JOHN R COLLINS                                     5615 KIZER LN                                                                                          SPRINGFIELD      OH    45502‐7526
JOHN R COLLINS & NAOMI H COLLINS JT TEN            3427 MILVERTON RD                                                                                      SHAKER HTS       OH    44120‐4219
JOHN R CONDON & SUSAN J CONDON JT TEN              32 FRONTIER DR                                                                                         ATTLEBORO        MA    02703‐1234
JOHN R CONIBER                                     117 MEADOW LANE                                                                                        NORTH SYRACUSE   NY    13212‐2161
JOHN R CONKLIN                                     204 RAMBLIN ROSE LN                                                                                    MARTINSBURG      WV    25401‐7002
JOHN R CONNELLY                                    15 ARN TERR                                                                                            SECAUCUS         NJ    07094‐3804
JOHN R CONNELLY                                    4658 EBENEZER RD                                                                                       CINCINNATI       OH    45248‐1523
JOHN R CONNOLLY                                    PO BOX 1948                                                                                            PAYSON           AZ    85547
JOHN R CONRY JR CUST CHRISTOPHER J CONRY UGMA      8265 SURREYWOOD DR                                                                                     RICHMOND         VA    23235‐5745
OH
JOHN R COOKE                                       3 TERRY DRIVE                                                                                          TERRYVILLE       CT    06786‐4624
JOHN R COOPER                                      629 BRAESIDE NORTH DR                                                                                  INDIANAPOLIS     IN    46260‐1732
JOHN R CORBET & BARBARA L CORBET JT TEN            1261 TERRINGTON WAY                                                                                    MIAMISBURG       OH    45342‐6202
JOHN R COVENTRY                                    7202 45TH ST                                                                                           CHEVY CHASE      MD    20815‐6033
JOHN R CREECH                                      BOX 119                                                                                                MOSCOW MILLS     MO    63362‐0119
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 247 of 855
Name                                             Address1                             Address2             Address3          Address4          City               State Zip

JOHN R CRIPPEN                                   APT 1                                307 WAVERLEY ST                                          MENLO PARK         CA    94025‐3537
JOHN R CRONE & MRS SHIRLEY M CRONE JT TEN        605 MADISON AVE                                                                               WARREN             PA    16365‐2940
JOHN R CROSSLAND & PRISCILLA CROSSLAND JT TEN    834 CAUSEZ AVE                                                                                CLAYMONT           DE    19703

JOHN R CROWE                                 47‐55 187TH STREET                                                                                FLUSHING           NY    11358‐3807
JOHN R CROWE CUST WILLIAM MC F CROWE UGMA NY PO BOX 737                                                                                        EDENTON            NC    27932‐0737

JOHN R CUNNINGHAM                                4019 ANCHOR WAY                                                                               ORLANDO            FL    32804‐2824
JOHN R CURRY                                     1941 RED OAK DR                                                                               FRANKLIN           IN    46131‐8553
JOHN R CVENGROS                                  728 WEST JACKSON BLVD                APT 605                                                  CHICAGO            IL    60661‐5306
JOHN R CZARNECKI                                 107 MAPLEGROVE AVE                                                                            TONAWANDA          NY    14150‐9148
JOHN R DABELS                                    15022 BALLANTYNE COUNTRY CLUB DR                                                              CHARLOTTE          NC    28277‐2719
JOHN R DAHL                                      1409 TYLER ST                                                                                 JANESVILLE         WI    53545‐4938
JOHN R DALTON                                    452 MANNING DR                                                                                WATERFORD          MI    48327‐2638
JOHN R DALTON                                    6200 SILVER CREEK RD                                                                          NEW MIDDLETWN      OH    44442‐9723

JOHN R DALTON                                    212 BURTON RIDGE                                                                              GLASGOW            KY    42141‐9612
JOHN R DANNECKER JR                              142 SMITH RD                                                                                  EAST HADDAM        CT    06423‐1252
JOHN R DAVIDSON                                  149 W BEVERLY AVE                                                                             PONTIAC            MI    48340‐2621
JOHN R DAVIS                                     PO BOX 64531                                                                                  UNIVERSITY PLACE   WA    98467

JOHN R DAVIS                                     6611 HILLCREST #213                                                                           DALLAS             TX    75205‐1301
JOHN R DAVIS                                     1709 RIDGEVIEW LN                                                                             NEWCASTLE          OK    73065‐5759
JOHN R DAVIS & KATHA S DAVIS JT TEN              PO BOX 551                                                                                    CAPE MAY           NJ    08204‐0551
JOHN R DAWSON                                    3939 SW DOSCH RD                                                                              PORTLAND           OR    97201‐1350
JOHN R DE CLERCQ                                 6299 KIEV ST                                                                                  W BLOOMFIELD       MI    48324‐1382
JOHN R DE GRANDE                                 38023 SEAWAY CT                                                                               HARRISON TWP       MI    48045
JOHN R DEAN                                      1002 PRINCETON DR                                                                             CLERMONT           FL    34711
JOHN R DEBONO                                    9309 WOODSIDE TRL                                                                             SWARTZ CREEK       MI    48473‐8534
JOHN R DELLORSO                                  6112 WESTKNOLL BLDG 26 #336                                                                   GRAND BLANC        MI    48439‐5309
JOHN R DELOACHE & BETSEY DELOACHE JT TEN         29666 LAKEVIEW PL                                                                             PIERRE             SD    57501
JOHN R DENNIS TR JOHN R DENNIS REVOCABLE TRUST   87 WOODROW AVE                                                                                BEDFORD            OH    44146‐3662
UA 06/22/94
JOHN R DEPEW & MRS ELINOR D DEPEW JT TEN         521 CAMELBACK RD                                                                              PLEASANT HILL      CA    94523‐1373
JOHN R DEVLIN & PATRICIA S DEVLIN JT TEN         10961 LONGWOOD DR                                                                             WAYNESBORO         PA    17268
JOHN R DEYOUNG                                   7473 VALHALLA DR                                                                              HUDSONVILLE        MI    49426‐7551
JOHN R DHARTE & CRYSTAL DHARTE JT TEN            2040 W SPINNINGWHEEL LN                                                                       BLOOMFIELD HILLS   MI    48304‐1068

JOHN R DICK                                      3 CARRIAGE BROOK RD                                                                           CHERRY HL VLG      CO    80121‐2046
JOHN R DIGGS                                     3247 N 156TH DR                                                                               GOODYEAR           AZ    85338‐8154
JOHN R DILL                                      2525 N 400 W                                                                                  ANDERSON           IN    46011‐8758
JOHN R DILLON JR                                 135 WOODVIEW AVENUE                                                                           CORTLAND           OH    44410‐1247
JOHN R DIORIO                                    902 WOODLAND AVE                                                                              WILMINGTON         DE    19808‐5754
JOHN R DIPPMAN & CRYSTAL DIPPMAN JT TEN          10479 COY RD                                                                                  SHERWOOD           OH    43556‐9717
JOHN R DOLLAR                                    609 GRIGNON ST                                                                                GREEN BAY          WI    54301‐3011
JOHN R DOMER                                     695 ANDOVER RD                                                                                MANSFIELD          OH    44907‐1509
JOHN R DONKER                                    7129 EDGEWOOD DR                                                                              JENISON            MI    49428‐8935
JOHN R DOUGLASS                                  LERCHENHALDE 20                      8703 ERLENBACH                         SWITZERLAND
JOHN R DOWLING                                   PO BOX 1393                                                                                   ANDOVER            OH    44003‐1393
JOHN R DREWNOSKI                                 599 WALNUT ST                                                                                 LEETONIA           OH    44431‐9704
JOHN R DROST & LEONITA J DROST JT TEN            409 OLD MILL DR                                                                               FLUSHING           MI    48433‐2133
JOHN R DUDAS                                     8300 THORNRIDGE DR                                                                            N RICHLND HLS      TX    76180‐1641
JOHN R DUDEK MTR                                 8350 SHERIDAN DRIVE                                                                           BUFFALO            NY    14221‐4136
JOHN R DUNCAN                                    5114 MAPLE AVE                                                                                SWARTZ CREEK       MI    48473‐8204
JOHN R DUTCHESS JR                               9379 LAFAYETTE                                                                                ANGOLA             NY    14006‐9263
JOHN R DYE                                       3378 N BISCAYNE DR                                                                            NORTHPORT          FL    34286‐7014
JOHN R EARLY                                     776 23 1/2 RD                                                                                 GRAND JCT          CO    81505‐9690
JOHN R EATON                                     10197 OSSINEKE RD                                                                             OSSINEKE           MI    49766‐9629
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                         Part 4 of 8 Pg 248 of 855
Name                                               Address1                               Address2             Address3            Address4          City               State Zip

JOHN R EDWARDS CUST KATHERINE T EDWARDS UTMA       754 ETHAN ALLE HWY                                                                                CHARLOTTE          VT    05445‐9563
SC
JOHN R EHRLICH                                     1 APPLE TREE CLOSE                                                                                CHAPPAQUA          NY    10514‐1701
JOHN R ELLIS                                       701 S GUTHRIE                          P O BOX 327                                                RANKIN             IL    60960
JOHN R ENAS                                        5427 PINEHURST DRIVE                                                                              ERIE               PA    16509‐3619
JOHN R ENTSMISIGER                                 17140 WINDING CREEK DRIVE                                                                         ORLAND PARK        IL    60467‐6004
JOHN R ESTES                                       1135 OAKCREST RD                                                                                  HOWELL             MI    48843‐8429
JOHN R EVANS                                       3808 EVERGREEN PARKWAY COURT                                                                      FLINT              MI    48503‐4534
JOHN R EVANS CUST KATE JON EVANS UTMA KS           BOX 67                                                                                            LEBO               KS    66856‐0067
JOHN R EVANS CUST MEGAN ANNA EVANS UTMA KS         BOX 67                                                                                            LEBO               KS    66856‐0067

JOHN R EVILSIZER                                   1862 UPPER CAMAS RD                                                                               CAMAS VALLEY    OR       97416‐9725
JOHN R EYBS JR                                     2205 HOPI COURT                                                                                   WESTMINSTER     MD       21157‐7822
JOHN R FACEMYER                                    6830 BERRY BLOSSOM DR                                                                             CANFIELD        OH       44406‐9636
JOHN R FAGAN                                       W140N 7470 LILLY RD                                                                               MENOMONEE FALLS WI       53051‐4608

JOHN R FATICA                                      29414 SAYLE DRIVE                                                                                 WILOUGHBY HLS      OH    44092
JOHN R FEDERINKO                                   240 MORRIS ST                                                                                     CLYMER             PA    15728‐1259
JOHN R FEENEY & JUDI T FEENEY JT TEN               249 WILLIAMSBURG DRIVE                 AZALEA FARMS                                               SHREWBURY          NJ    07702‐4564
JOHN R FEHLBERG                                    4805 FISHER ESTATE                                                                                ROMEO              MI    48065‐1719
JOHN R FEJEDELEM                                   604 WALNUT ST                                                                                     MOUNT MORRIS       MI    48458‐1955
JOHN R FILLIS & MERCEDES ROMERO DE FILLIS JT TEN   2634 SE MAIN ST                                                                                   PORTLAND           OR    97214‐2950

JOHN R FINK                                        1869 W MACAW DR                                                                                   CHANDLER           AZ    85286‐7410
JOHN R FINLAY                                      25565 KOONTZ ST                                                                                   ROSEVILLE          MI    48066‐3843
JOHN R FISHER                                      405 E LILY DR                                                                                     OAK CREEK          WI    53154‐3030
JOHN R FISHER                                      4970 VENICE CIR                                                                                   NORTHVILLE         MI    48167‐8708
JOHN R FITZGIBBON & LYNDA J FITZGIBBON JT TEN      6523 E HOLLY RD                                                                                   HOLLY              MI    48442‐9614

JOHN R FLAKER                                      7 MEADOWVIEW TERR                                                                                 FAIR LAWN          NJ    07410‐5930
JOHN R FLINN                                       1109 BERKSHIRE COURT                                                                              BLOOMINGTON        IN    47401‐8153
JOHN R FLYNN                                       69 HUNTER AVE                                                                                     HUDSON             MA    01749‐3043
JOHN R FOLDEN                                      3580 BROOKSIDE DRIVE                                                                              BLOOMFIELD HILLS   MI    48302‐1500

JOHN R FORD                                        1460 GLENSIDE DR                                                                                  HARRISONBURG       VA    22801‐2387
JOHN R FOTENAKES                                   8394 WESLEY DR                                                                                    FLUSHING           MI    48433‐2914
JOHN R FREEMAN & SUMANTHI RAMASWAMY JT TEN         DEPT OF HISTORY                        DUKE UNIVERSITY      226 CARR BUILDING                     DURHAM             NC    27708‐0719

JOHN R FRIES                                       3344 THELMA                                                                                       TOLEDO             OH    43613‐1051
JOHN R GAFFNEY                                     311 BLAIREMORE BLVD                                                                               ORANGE PARK        FL    32073
JOHN R GAFNEY                                      2460 TEVIS ANN CT                                                                                 DUBLIN             OH    43016‐9194
JOHN R GAHRS                                       708 NOVAK LN                                                                                      BIG RAPIDS         MI    49307‐2534
JOHN R GALE TOD JESSIE M GALE                      422 CHRISTOPHER DR                                                                                CENTERVILLE        OH    45458‐4976
JOHN R GARNER JR                                   4832 TENSHAW DR                                                                                   DAYTON             OH    45418‐1932
JOHN R GEE                                         7763 ARHTUR ST                                                                                    MASURY             OH    44438‐1509
JOHN R GERLACH & RUBY A GERLACH & RAYMOND J        40511 SANTONI DR                                                                                  CLINTON TWP        MI    48038‐4159
GERLACH JT TEN
JOHN R GIBBEL                                      BOX 16                                                                                            LITITZ             PA    17543‐0016
JOHN R GIBSON                                      628 AIRPORT ROAD                                                                                  WARREN             OH    44481‐9484
JOHN R GIBSON JR                                   11990 CHICKEN BRISTLE RD                                                                          FARMERSVILLE       OH    45325‐9231
JOHN R GIGLIO                                      2279 COUNTRY CLUB DR                                                                              ALTADENA           CA    91001‐3201
JOHN R GILMAN                                      1705 HILLBROOKE DR                                                                                WALLA WALLA        WA    99362‐4237
JOHN R GLASS                                       5339 WOODFIELD DR N                                                                               CARMEL             IN    46033‐9155
JOHN R GLASSFORD                                   38 S STONE AVE                                                                                    ELMSFORD           NY    10523‐3608
JOHN R GOOD                                        10200 W COUNTY ROAD 500 S                                                                         DALEVILLE          IN    47334‐9746
JOHN R GOODNOUGH                                   2256 SEXTON RD                                                                                    HOWELL             MI    48843‐8984
JOHN R GOODWIN & MRS JUDI J GOODWIN JT TEN         5461 7 B AVE                           DELTA BC                                 V4M 1S7 CANADA

JOHN R GORDON & ESTHER C GORDON JT TEN             340 PAUL ST                                                                                       HARRISONBURG       VA    22801‐3227
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 249 of 855
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

JOHN R GOTASKIE JR                               623 CASCADE RD                                                                                 FOREST HILLS     PA    15221‐4603
JOHN R GOZDZIALSKI                               11437 FARMINGTON RD                                                                            LIVONIA          MI    48150‐2772
JOHN R GRAHAM TR UA 08/14/1987 JBG REVOCABLE     11 MONTICELLO DR                                                                               ALBUQUERQUE      NM    87104
TRUST
JOHN R GREGG CUST MOLLY ANN GREGG UGMA NJ        BOX 452                                                                                        VALLEY FORGE     PA    19481‐0452

JOHN R GRIFFIN                                   PO BOX 399                                                                                     MOORHEAD         MS    38761‐0399
JOHN R GRIMM & MATILDA GRIMM JT TEN              1039 S EMERSON ST                                                                              DENVER           CO    80209‐4331
JOHN R GUCWA                                     200 COLVIN AVENUE                                                                              BUFFALO          NY    14216‐2711
JOHN R GUTHRIDGE                                 2821 POINCIANA CT                                                                              PUNTA GORDA      FL    33950‐6872
JOHN R HACKETT                                   185 STILSON RD                                                                                 HUNT             NY    14846
JOHN R HAEFFNER                                  823 VIVIAN ST                                                                                  COLLINSVILLE     IL    62234‐3775
JOHN R HAHN                                      2454 WEST 16TH ST                                                                              WILMINGTON       DE    19806‐1320
JOHN R HAHN & PETER J HAHN JT TEN                2454 W 16TH ST                                                                                 WILMINGTON       DE    19806‐1320
JOHN R HALBERT                                   338 WASHINGTON AVE                                                                             GLENCOE          IL    60022
JOHN R HALES                                     7 PINECREST COURT                                                                              STAFFORD         VA    22554‐3932
JOHN R HALL                                      9837 KENTSDALE DRIVE                                                                           POTOMAC          MD    20854‐4455
JOHN R HALL & RITA A HALL JT TEN                 257 ROCK ST                                                                                    LYNDON STATION   WI    53944‐9574
JOHN R HALPER                                    602 NORTH MAIN ST                                                                              MOUNT PROSPECT   IL    60056‐2113

JOHN R HAMILTON JR                               2700 RACHEL DRIVE SW                                                                           WARREN           OH    44481‐9660
JOHN R HAMMOND & VENEIA C HAMMOND JT TEN         PO BOX 562                            OKANAGAN FALLS BC                      V0H 1R0 CANADA

JOHN R HANDLER                                   246 WEST BROAD ST                                                                              TAMAQUA          PA    18252‐1819
JOHN R HANEY                                     PMB 1104                              713 W SPRUCE ST                                          DEMING           NM    88030‐3548
JOHN R HANRAHAN & MARY ELLEN HANRAHAN JT TEN     15810 NEWTON RIDGE DR                                                                          CHESTERFIELD     MO    63017‐8727

JOHN R HARBERT                                   12851 S DURKEE ROAD                                                                            GRAFTON          OH    44044‐1117
JOHN R HARGREAVES                                6643 MORROW DR                                                                                 DAYTON           OH    45415‐1535
JOHN R HARKEY                                    801 WORDEN RD                                                                                  WICKLIFFE        OH    44092‐1738
JOHN R HARRISON                                  222 KENNEDY                                                                                    SAN ANTONIO      TX    78209‐5248
JOHN R HARROW                                    11378 GLENMARK TRL                                                                             MONTROSE         MI    48457‐9759
JOHN R HART                                      3587 WEIR ROAD                                                                                 LAPEER           MI    48446‐8739
JOHN R HART JR                                   230 SHATTUCK RD                                                                                SAGINAW          MI    48604‐2324
JOHN R HARTING                                   PO BOX 1049                                                                                    MANCOS           CO    81328‐1049
JOHN R HARVIE                                    11161 DAISY LN                                                                                 SAGINAW          MI    48609‐9442
JOHN R HAWKEN JR                                 560 NW NORTH SHORE DR                                                                          KANSAS CITY      MO    64151‐1452
JOHN R HAWKINS JR                                7031 CANNON RD                                                                                 BRIDGEVILLE      DE    19973
JOHN R HAWKINS SR                                7031 CANNON RD                                                                                 BRIDGEVILLE      DE    19973
JOHN R HAYES                                     25899 MULBERRY LANE                                                                            NOVI             MI    48374‐2350
JOHN R HAYES                                     9852 MARKLEY RD 131                                                                            LAURA            OH    45337‐8725
JOHN R HAYES & JOHN ROBERT HAYES JT TEN          25899 MULBERRY LANE                                                                            NOVI             MI    48374‐2350
JOHN R HEDDELL                                   7000 TOMVIEW CT                                                                                OAKVILLE         MO    63129‐6420
JOHN R HEDGES                                    104 BRAND AVE SE                                                                               FARIBAULT        MN    55021‐6414
JOHN R HELDT                                     300 THE WOODS                                                                                  BEDFORD          IN    47421‐9378
JOHN R HELDT & PATRICIA L HELDT JT TEN           300 WOODS                                                                                      BEDFORD          IN    47421
JOHN R HENDERSON                                 1835 S ARLINGTON AVE                                                                           INDIANAPOLIS     IN    46203‐2618
JOHN R HENDLER                                   5100 BALDWIN RD                                                                                METAMORA         MI    48455‐8992
JOHN R HENDRICKSON                               3848 N IRVINGTON AVE                                                                           INDIANAPOLIS     IN    46226‐4767
JOHN R HERB                                      5765 THOMPSON ROAD                                                                             CLARENCE CTR     NY    14032‐9724
JOHN R HERNDON                                   119 WILDWOOD AVE                                                                               LEWISBURG        WV    24901‐8925
JOHN R HERRING                                   9790 WEST Y AVE                                                                                SCHOOLCRAFT      MI    49087‐9105
JOHN R HERSH                                     1462 HOLLOW TREE DR                                                                            FINDLAY          OH    45840‐7929
JOHN R HETTEBERG                                 4169 ROWANNE RD                                                                                COLUMBUS         OH    43214‐2939
JOHN R HIBBARD                                   301 N ADAMS ST                                                                                 NEW CARLISLE     OH    45344‐1806
JOHN R HILDEBRAND & MRS THELMA S HILDEBRAND JT   630 DOGWOOD DR                                                                                 SALEM            VA    24153‐2740
TEN
JOHN R HOBBS                                     48190 FOUR SEASONS BLVD                                                                        NORTHVILLE       MI    48168‐8556
JOHN R HOELLEN                                   1324 CORBIN PLACE NE                                                                           WASHINGTON       DC    20002‐6444
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 250 of 855
Name                                             Address1                               Address2               Address3        Address4                  City            State Zip

JOHN R HOFFMAN                                   336 7TH AVENUE                                                                                          THREE RIVERS    MI    49093‐1162
JOHN R HOFFMAN & KATHERYNE J HOFFMAN JT TEN      BOX 158                                                                                                 VICTOR          WV    25398

JOHN R HOLMAN                                    PO BOX 137                                                                                              CASH            AR    72421‐0137
JOHN R HOLOMAN & JOSEPHINE A HOLOMAN JT TEN      110 WEST ELIZABETH ST                                                                                   NEW CASTLE      PA    16105‐2856

JOHN R HOPKINS JR                                461 LOCKRIDGE LN                                                                                        LAWRENCEVILLE   GA    30045‐6136
JOHN R HOSBROOK                                  PO BOX 41604                                                                                            MESA            AZ    85274‐1604
JOHN R HOTCHKIN                                  525 CREEKSIDE DR                                                                                        ALDEN           NY    14004‐8600
JOHN R HOUGHTON                                  10 OAK STREET                          SAINT THOMAS ON                        N5R 1R4 CANADA
JOHN R HOUSE                                     C/O ZADROW HOUSE                       8500 NE 46TH TERRACE                                             SPENCER         OK    73084
JOHN R HOWE                                      3520 DARBY RD                                                                                           HAVERFORD       PA    19041‐1018
JOHN R HULL                                      4406 DEPOT ROAD                                                                                         SALEM           OH    44460‐9482
JOHN R HUNTLEY                                   12640 HOLLY RD APT 8307                                                                                 GRAND BLANC     MI    48439‐1863
JOHN R HURFF & NANCY S HURFF JT TEN              561 BARNSBORO RD                                                                                        SEWELL          NJ    08080‐4509
JOHN R HURT                                      1196 MONEY LANE                                                                                         DANVILLE        IN    46122
JOHN R INMAN CUST CATHERINE C INMAN A MINOR      2742 LANSDOWNE LANE                                                                                     ATLANTA         GA    30339‐4617
UNDER THE LAWS OF GEORGIA
JOHN R JACKSON                                   G 7432 ELMCREST AVE                                                                                     MT MORRIS       MI    48458
JOHN R JACKSON                                   14098 LANDINGS WAY                                                                                      FENTON          MI    48430‐1314
JOHN R JACOBS                                    5817 HERONS BLVD                       UNIT B                                                           YOUNGSTOWN      OH    44515‐5830
JOHN R JANZEN                                    3677 GLEN RD                           JORDAN ON                              L0R 1S0 CANADA
JOHN R JARDINE                                   1610 NE OAK TREE DR                                                                                     LEES SUMMIT     MO    64086‐3391
JOHN R JEFFERSON                                 611 NORTH ST                                                                                            DECORAH         IA    52101
JOHN R JOHNSON                                   107 KERRY STREET                                                                                        EATON RAPIDS    MI    48827‐1380
JOHN R JOHNSON & VIVIAN J JOHNSON JT TEN         1709 OAKSHINE RD                                                                                        MARION          IL    62959‐6060
JOHN R JONES                                     30 WOODWARD PLACE                      LOUGHTON LODGE         MILTON KEYNES   BUCKINGSHARE MK8 9LG
                                                                                                                               GREAT BRITAIN
JOHN R JONES                                     529 TRINITY CHURCH ROAD                                                                                 NORTH EAST      MD    21901‐1013
JOHN R JONES                                     30 WOODWARD PLACE                      LOUGHTON LODGE         MILTON KEYNES   MK 8 9LG GREAT BRITAIN
JOHN R JONES                                     30 WOODWARD PLACE                      LOUGHTON LODGE         MILTON KEYNES   BUCKINGHAMSHIRE MK8 9LG
                                                                                                                               GREAT BRITAIN
JOHN R JUDS                                      13830 W LINFIELD DR                                                                                     NEW BERLIN      WI    53151‐6238
JOHN R K MC KENZIE                               PO BOX 704                             KEEWATIN POST OFFICE   KENORA ON       P0X 1C0 CANADA
JOHN R KASMER                                    258 SAGEWOOD TERRACE                                                                                    WILLIAMSVILLE   NY    14221‐4743
JOHN R KAUFMAN                                   432 EVERGREEN AVE                                                                                       NEW CASTLE      PA    16105‐1408
JOHN R KEANE                                     28 LYONS RD                                                                                             SCARSDALE       NY    10583‐5724
JOHN R KEATING & SUSAN M KEATING JT TEN          30 E WYSSMAN RD                                                                                         ORANGEVILLE     IL    61060‐9748
JOHN R KEENER                                    1444 ARLINGWOOD AVE                                                                                     JACKSONVILLE    FL    32211‐6385
JOHN R KEENER & MARY J KEENER JT TEN             1444 ARLINGWOOD AVENUE                                                                                  JACKSONVILLE    FL    32211‐6385
JOHN R KELLY                                     42609 MEDLEYS NECK RD                                                                                   LEONARDTOWN     MD    20650‐5753
JOHN R KENNEDY                                   2512 SEBASTIAN DRIVE                                                                                    GRAND BLANC     MI    48439‐8159
JOHN R KENNEDY                                   PO BOX 697                                                                                              EDGEWOOD        MD    21040‐0697
JOHN R KENNEDY & LISA L KENNEDY JT TEN           2512 SEBASTIAN DR                                                                                       GRAND BLANC     MI    48439‐8159
JOHN R KENT                                      19778 NORTHCLIFF DR                                                                                     SANTA CLARITA   CA    91351‐5706
JOHN R KEY                                       1356 COUNTY RD 1447                                                                                     FALKVILLE       AL    35622‐3655
JOHN R KEY & MONTEZ L KEY JT TEN                 1356 COUNTY RD 1447                                                                                     FALKVILLE       AL    35622‐3655
JOHN R KIRWAN TR UW ODANAH R KIRWAN              214 W TEXAS AVE                        STE 701                                                          MIDLAND         TX    79701‐4663
JOHN R KNIGHT                                    215 N CLEAR LAKE AVE                                                                                    MILTON          WI    53563‐1007
JOHN R KNIGHT & GEORGIANNE KNIGHT JT TEN         2932 SPRINGBURN WAY                                                                                     EL DORADO HLS   CA    95762‐5305
JOHN R KNORR                                     219 CENTRAL ST                                                                                          BOYLSTON        MA    01505‐1424
JOHN R KOBE & VIRGINIA M KOBE JT TEN             4228 SHORELINE DR                                                                                       ROBBINSDALE     MN    55422‐1583
JOHN R KOENIG                                    72‐35 METROPOLITAN AVE                 UNIT BE                                                          MIDDLE VLG      NY    11379‐2137
JOHN R KOERWER & DOLORES C KOERWER JT TEN        6 HAUSER ST                                                                                             MIDDLETOWN      NJ    07748‐1741
JOHN R KOLB                                      7170 CRESTMORE                                                                                          W BLOOMFIELD    MI    48323‐1309
JOHN R KOLINSKI                                  2810 NO ORR RD                                                                                          HEMLOCK         MI    48626‐8407
JOHN R KONGS & GLADYS M KONGS TR UA 05/05/2008   306 WALNUT                                                                                              SENECA          KS    66538
KONGS FAMILY TRUST
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 251 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

JOHN R KOSTISHION & MRS MARJORIE T KOSTISHION JT 1532 HILLTOWN PIKE                                                                             HILLTOWN          PA    18927‐9708
TEN
JOHN R KRAIL TR REVOCABLE LIVING TRUST 04/26/91 U‐ 2400 INDIAN CREEK BLV WEST          APT E 119                                                VERO BEACH        FL    32966‐2410
A JOHN R KRAIL
JOHN R KRAWECKI                                    10 MARCO TERR                                                                                LITTLE FALLS      NY    13365‐1824
JOHN R KREILEY                                     26 ARVINE HEIGHTS                                                                            ROCHESTER         NY    14611‐4114
JOHN R KRISTOFIK                                   246 E BAIRD AVE                                                                              BARBERTON         OH    44203‐3216
JOHN R KUNCE                                       PO BOX 273                                                                                   RICHMOND          KY    40476‐0273
JOHN R KURAS                                       335 NORTH PARK AVE                                                                           BUFFALO           NY    14216‐1937
JOHN R KURGAN                                      7268 SHOREWOOD VAN ETTAN LAKE                                                                OSCODA            MI    48750
JOHN R KUSNIR                                      1968 S W LEAFY ROAD                                                                          PORT ST LUCY      FL    34953‐1357
JOHN R LAIRD & MARGARET L LAIRD JT TEN             3150 HUNTING VALLEY                                                                          ANN ARBOR         MI    48104‐2845
JOHN R LAKE SR & KAREN K LAKE JT TEN               3220 WEST JEFFERSON                                                                          ALMA              MI    48801‐9772
JOHN R LANCARIC                                    246‐27 CAMBRIA AVE                                                                           LITTLE NECK       NY    11362‐1227
JOHN R LAPE                                        12035 COOPERWOOD LN                                                                          CINCINNATI        OH    45242‐6321
JOHN R LAPINSKI JR                                 846 WHITMOOR DR                                                                              ST CHARLES        MO    63304‐0503
JOHN R LAPP                                        255 MAYER RD                        APT 363                                                  FRANKENMUTH       MI    48734‐1345
JOHN R LASSITER                                    520 UPPER AVE                                                                                NEWBURGH          NY    12550‐1642
JOHN R LAUBACH                                     216 S MARLYN AVE                                                                             BALTIMORE         MD    21221‐5027
JOHN R LAWHON                                      2009 GRANTHAM GREENS DR                                                                      SUN CITY CTR      FL    33573‐7215
JOHN R LAWYER                                      1785 OHLTOWN‐MCDONALD RD                                                                     NILES             OH    44446‐1361
JOHN R LAZAR                                       6059 STARK AVE                                                                               BROOKPARK         OH    44142‐3049
JOHN R LEES                                        1663 TOWNPOINT RD                                                                            CHESAPEAKE CITY   MD    21915‐1723
JOHN R LEHN                                        3301 MILLER RD                                                                               PENNSBURG         PA    18073‐2218
JOHN R LEMNA & ELIZABETH J LEMNA JT TEN            4555 QUAIL ROOST RD                                                                          SAINT CLOUD       FL    34772‐7630
JOHN R LIEBERMAN                                   1037 ROSEWOOD TER                                                                            LIBERTYVILLE      IL    60048‐3551
JOHN R LILES                                       6368 LOSS CR ROAD                                                                            TIRO              OH    44887‐9747
JOHN R LINTON                                      670 LINCREST DR                                                                              NORTH             PA    15642‐3122
                                                                                                                                                HUNTINGDON
JOHN R LIVELY                                   201 MAIN STREET                        SUITE 1260                                               FORT WORTH        TX    76102
JOHN R LONGENECKER TOD LYNDA M LONGENECKER &    9201 LOUISVILLE ST NE                                                                           LOUISVILLE        OH    44641‐9501
MARK A LONGENECKER
JOHN R LUBERT                                   2150 GLENN DRIVE N E                                                                            WARREN            OH    44483‐4318
JOHN R LUBERT & ROSE A LUBERT JT TEN            2150 GLENN DRIVE N E                                                                            WARREN            OH    44483‐4318
JOHN R LUDWICK                                  430 N LOMBARD AVE                                                                               OAK PARK          IL    60302‐2412
JOHN R LUSH                                     10 HAKEA DRIVE                         MONTROSE VICTORIA                      3765 AUSTRALIA
JOHN R LYNCH & HELEN E LYNCH JT TEN             28 COUNTRY CLUB SHORES W                                                                        OGDEN             NY    13669‐5254
JOHN R MACCORMACK                               85 SPINNAKER DR APT 509                HALIFAX NS                             B3N 3W3 CANADA
JOHN R MACDONALD                                1002 LOCKHEAD                                                                                   FLINT           MI      48507‐2848
JOHN R MALONEY                                  1694 SE VIRGINIA ROAD                                                                           BEND            OR      97702‐1504
JOHN R MARCACCIO                                POJAC POINT                                                                                     NORTH KINGSTOWN RI      02852

JOHN R MARCUM                                   630 BIRCH DR                                                                                    EUCLID            OH    44132‐2106
JOHN R MARIANO & CHRISTINE M DRUKE JT TEN       DEER HILL RD                           BOX 106                                                  SOUTH NEWFANE     VT    05351‐0106
JOHN R MARKUSON CUST KYLE J MARKASON UTMA IL    574 CANNON DR                                                                                   GENEVA            IL    60134‐5007

JOHN R MARRY                                    5380 S MERIDIAN RD                                                                              HUDSON            MI    49247‐8237
JOHN R MARTEN                                   1167 BROWN RD                                                                                   ORION             MI    48359‐2265
JOHN R MARTIN                                   2619 STARFORD DR                                                                                DUBLIN            OH    43016‐9097
JOHN R MARTIN & JOHN K MARTIN JT TEN            2619 STARFORD DR                                                                                DUBLIN            OH    43016‐9097
JOHN R MARTIN & MRS PEGGY A MARTIN JT TEN       2191 SUTTON TER                                                                                 THE VILLAGES      FL    32162‐2417
JOHN R MARTINEZ & MAGALI C MARTINEZ JT TEN      7 CHERYL LN                                                                                     MONROE TWNSHP     NJ    08831‐3742

JOHN R MARTZELL                                 C/O MAX NATHAN JR EXECUTOR             201 STCHARLES AVE    SUITE 3500                          NEW ORLEANS       LA    70170
JOHN R MATTHEWS                                 102 MAIN ST                                                                                     JOHNSTOWN         PA    15901‐1507
JOHN R MAY                                      1908 KIMBERLY CIRCLE                                                                            SPRINGFIELD       OH    45503‐6411
JOHN R MAYER JR                                 146 W SHADOWPOINT CIR                                                                           THE WOODLANDS     TX    77381‐5102
JOHN R MC CANTS                                 828 BRADFORD CIR                                                                                SELMA             AL    36701‐7303
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 252 of 855
Name                                                Address1                              Address2             Address3          Address4          City            State Zip

JOHN R MC CORMICK                                   724 SAINT ANDREWS CIRCLE                                                                       NEW SMYRNA      FL    32168‐7982
                                                                                                                                                   BEACH
JOHN R MC CORMICK & MRS JEAN EDNA MC CORMICK        724 SAINT ANDREWS CIRCLE                                                                       NEW SMYRNA      FL    32168‐7982
JT TEN                                                                                                                                             BEACH
JOHN R MC GUIRE & MRS SHIRLEY G MC GUIRE JT TEN     58 MISTY COVE LANE                                                                             HILTON HEAD     SC    29928‐7544
                                                                                                                                                   ISLAND
JOHN R MC KENNA                                     658 CHESAPEAKE DR                     WATERLOO ON                            N2K 4N5 CANADA
JOHN R MC PHEE JR                                   5730 ANTELOPE CT                                                                               WEED            CA    96094‐9601
JOHN R MCCALLISTER & EDYTHE L MCCALLISTER JT TEN    BOX 172                                                                                        HOTCHKISS       CO    81419‐0172

JOHN R MCCARTHY                                     2215 WEST FORK ROAD                                                                            LAPEER          MI    48446‐8039
JOHN R MCCARTHY & BERNADINE J MCCARTHY JT TEN       2215 W FORK RD                                                                                 LAPEER          MI    48446‐8039

JOHN R MCDONALD & SANDRA A MCDONALD JT TEN          12563 CARA CARA LOOP                                                                           BRADENTON       FL    34212‐2949

JOHN R MCELROY & JOYCE G MCELROY JT TEN             5416 E BRISTOL                                                                                 BURTON          MI    48519‐1510
JOHN R MCKEE & SUE A MCKEE TR MCKEE FAMILY          4131 EAGLES NEST DR                                                                            WATERFORD       MI    48329‐1625
LIVING TRUST UA 10/13/95
JOHN R MCRAE                                        538 WEAVER DR                                                                                  DOVER           DE    19901‐1384
JOHN R MELTON                                       PO BOX 33862                                                                                   CHARLOTTE       NC    28233‐3862
JOHN R MENA                                         224 DOWITCHER DR                                                                               PATTERSON       CA    95363‐9074
JOHN R MERRICK                                      117 S BROAD ST                                                                                 KENNETT SQ      PA    19348‐3101
JOHN R MESSER                                       5283 GROSBEAK GLEN                                                                             ORIENT          OH    43146‐9233
JOHN R MESSINEO JR & GAIL LISS MESSINEO JT TEN      7233 MOJAVE ST                                                                                 DUBLIN          OH    43017‐2894

JOHN R MESTRINELLI & MRS DELORES F MESTRINELLI JT   1350 SW 72ND AVE                                                                               MIAMI           FL    33144‐5445
TEN
JOHN R METZNER JR                                   2425 RIDGECREST RD                                                                             FT COLLINS      CO    80524‐1547
JOHN R MEYERS                                       305 SOUTH WALNUT ST                                                                            BAY CITY        MI    48706‐4924
JOHN R MICHALS                                      7963 PLANTATION LK DR                                                                          PORT ST LUCIE   FL    34986‐3060
JOHN R MIDDLEBROOK                                  200 GRAMONT AVE                                                                                DAYTON          OH    45417‐2324
JOHN R MIEHM                                        4424 REGENCY RD                                                                                SWARTZ CREEK    MI    48473‐8807
JOHN R MILLER                                       3181 STAGECOACH RD                    OSGOODE ON                             K0A 2W0 CANADA
JOHN R MILLER & LAURA J MILLER JT TEN               9005 HILLVIEW LANE                                                                             JACKSON         MI    49201‐8150
JOHN R MILLS                                        2940 HAZELWOOD                                                                                 DETROIT         MI    48206‐2133
JOHN R MINER & DENNIS C MINER JT TEN                8350 W HILL ROAD                                                                               SWARTZ CREEK    MI    48473‐7603
JOHN R MITCHELL                                     8814 2ND AVE                                                                                   INGLEWOOD       CA    90305‐2822
JOHN R MONAHAN                                      237 N EAST TORCH LAKE DR                                                                       CENTRAL LAKE    MI    49622‐9706
JOHN R MOORE                                        305 JEFFREY LN                                                                                 PENDLETON       IN    46064‐8806
JOHN R MOORE                                        17901 SADDLE HORN RD                                                                           WILDWOOD        MO    63038‐1342
JOHN R MOORE & LEIHLA J MOORE JT TEN                305 JEFFREY LN                                                                                 PENDLETON       IN    46064‐8806
JOHN R MOORE 2ND                                    709 WORTHINGTON MILL RD                                                                        NEWTOWN         PA    18940‐9649
JOHN R MORGAN & DOLORES S MORGAN TR MORGAN          9207 HIDDEN FARM RD                                                                            ALTA LOMA       CA    91737‐1535
FAMILY TRUST UA 09/05/00
JOHN R MORIARITY                                    HC 4 BOX 43044                                                                                 ALTURAS         CA    96101‐9506
JOHN R MORRIS                                       167 EAST MAIN ST                                                                               LEXINGTON       OH    44904‐1226
JOHN R MORRIS                                       347 CRESTWOOD DR                                                                               OXFORD          MI    48371‐6178
JOHN R MORRISON                                     116 TANGLEWOOD TRAIL                                                                           LOUISVILLE      KY    40223‐2816
JOHN R MOSLANDER                                    3021 HWY P                                                                                     WENTZVILLE      MO    63385‐2311
JOHN R MULLIS                                       5191 ANTIETAM AVE                                                                              LOS ALAMITOS    CA    90720‐2704
JOHN R MURDY                                        BOX 24                                                                                         AGENCY          IA    52530‐0024
JOHN R MURLICK                                      121 WILSON                            HIGGINS LAKE                                             ROSCOMMON       MI    48653‐8824
JOHN R MURPHY                                       46550 DOGWOOD CIR                                                                              NEW WATERFORD   OH    44445‐9607

JOHN R MURPHY & ZEITA I MURPHY JT TEN               26 FIDDLER'S DR                                                                                O'FALLON        MO    63366‐5551
JOHN R MURRAY & TONI P MURRAY JT TEN                221 MELROSE ST                                                                                 ROCHESTER       NY    14619‐1805
JOHN R MURTAGH                                      601 S OAK PARK AVE                                                                             OAK PARK        IL    60304
JOHN R MYERS & DIANE L MYERS JT TEN                 22045 ROUTE 65                                                                                 GRAND RAPIDS    OH    43522‐9703
JOHN R NAUM                                         1724 BIG LAKE LN                                                                               HIXSON          TN    37343‐3401
                                          09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 4 of 8 Pg 253 of 855
Name                                         Address1                             Address2             Address3          Address4          City              State Zip

JOHN R NEFF JR                               6515 WHEATON RD                                                                               CHARLOTTE         MI    48813‐8611
JOHN R NELLIS & ROBERT J NELLIS JT TEN       223 ROMEO RD                                                                                  ROCHESTER         MI    48307‐1559
JOHN R NELSON                                4132 W WINEGRAS ROAD                                                                          GLADWIN           MI    48624‐9409
JOHN R NELSON                                3093 OAKRIDGE CT                                                                              LAKE ORION        MI    48360‐1732
JOHN R NEUBAUER                              2201 TORREY PINES CIRCLE                                                                      TUCSON            AZ    85710‐7947
JOHN R NEUMANN                               6114 VAN VLEET RD                                                                             SWARTZ CREEK      MI    48473‐8598
JOHN R NEW                                   3114 SELLERS COURT                                                                            CHRISTIANA        TN    37037‐6611
JOHN R NEWELL JR                             16516 WELLINGTON LAKES CIR                                                                    FT MYERS          FL    33908‐7620
JOHN R NICKELL & MARJORIE J NICKELL JT TEN   6647 SNOW HILL ROAD                                                                           SNOW HILL         MD    21863‐3303
JOHN R NIEMIEC                               48 COTTAGE ST                                                                                 AUBURN            NY    13021‐1802
JOHN R NOELL                                 14227 PEDDICORD ROAD                                                                          MOUNT AIRY        MD    21771‐8441
JOHN R NORRIS                                105 JOHNSON DRIVE                                                                             BUCKNER           MO    64016‐9741
JOHN R O'KEEFE JR                            3175 CAUBY ST APT 107                                                                         SAN DIEGO         CA    92110‐4620
JOHN R OKERLIN                               3573 CAMBRIA CIR                                                                              THE VILLAGES      FL    32162‐6606
JOHN R OLDENCAMP                             1694 UNIVERSITY                                                                               FERNDALE          MI    48220‐2845
JOHN R OLIVER JR                             8759 OLIVET                                                                                   DETROIT           MI    48209‐1749
JOHN R OLSON & SOLVEIG L OLSON JT TEN        1177 CEDARVIEW DR                                                                             MINNEAPOLIS       MN    55405‐2110
JOHN R ONG & FLORENCE A ONG JT TEN           C/O LINDA PETERSEN                   3239 7TH AVE SOUTH                                       GREAT FALLS       MT    59405‐3404
JOHN R ORMAND CUST ASHLEY M ADAMS UGMA PA    1705 RESERVE DR                                                                               COLLEGEVILLE      PA    19426‐3259

JOHN R OVERCASH                              20967 E VIA DEL PALO                                                                          QUEEN CREEK       AZ    85142‐6942
JOHN R PALMER                                79 LITCHFIELD RD                                                                              WATERTOWN         CT    06795‐1910
JOHN R PANCURAK                              4400 ELIZABETH ST                                                                             ALIQUIPPA         PA    15001‐5154
JOHN R PARR                                  51 LAKESIDE DRIVE                                                                             STANTON           MI    48888‐9121
JOHN R PATRICK                               400 NORTH DRIVE                                                                               ROCHESTER         NY    14612‐1210
JOHN R PATTERSON                             3361 S VASSAR RD                                                                              DAVISON           MI    48423‐2425
JOHN R PATTERSON                             5720 RIVERWOOD DR                                                                             ATLANTA           GA    30328‐3727
JOHN R PEER                                  225 BRUSH CREEK DRIVE                                                                         ROCHESTER         NY    14612‐2269
JOHN R PELLETT                               P O BOX 852                                                                                   BOULDER JCT       WI    54512
JOHN R PETRAS                                W 327 N 4171 PORTSIDE DRIVE                                                                   NASHOTAH          WI    53058‐9518
JOHN R PEZZONE                               1823 JOHNSTON PLACE                                                                           POLAND            OH    44514‐1414
JOHN R PHILLIPS                              1588 INDIANWOOD CT                                                                            BLOOMFIELD        MI    48302
JOHN R PHILLIPS                              15954 KINGS WAY DR                                                                            MACOMB            MI    48044
JOHN R PIGG II                               14110 MARTIN CREEK ROAD                                                                       GRANVILLE         TN    38564‐7000
JOHN R PIKUR                                 764 SPARTON                                                                                   ROCHESTER HILLS   MI    48309‐2527
JOHN R PIKUR & BILLIE E PIKUR JT TEN         764 SPARTAN                                                                                   ROCHESTER HILLS   MI    48309‐2527
JOHN R PILGER                                10022 LONG BEACH BLVD #M                                                                      LYNWOOD           CA    90262‐1501
JOHN R PLUM                                  22763 RED BAY LN                                                                              MILTON            DE    19968‐4510
JOHN R POCZONTEK                             3919 MILLER DR                                                                                BRUNSWICK         OH    44212‐2732
JOHN R POOR                                  2004 MCANALLY RD                                                                              MT PLEASANT       TN    38474‐3112
JOHN R PORTER                                3741 SUNRISE OAKS DR                                                                          PORT ORANGE       FL    32119‐8651
JOHN R PORTER & ROSALIE P PORTER JT TEN      7 ROCKFORD RD                        UNIT B26 B26 B26                                         WILMINGTON        DE    19806
JOHN R PORTER JR                             111 GLENDALE CT                                                                               KISSIMMEE         FL    34759‐3606
JOHN R POTBURY                               3360 N ELMS RD                                                                                FLUSHING          MI    48433‐1859
JOHN R POTTS                                 213 PINEWOOD DRIVE                                                                            SCHENECTADY       NY    12303‐5615
JOHN R POWELL JR                             600 ST LUKES RD                                                                               FRUITLAND         MD    21826‐2206
JOHN R POWER & BARBARA M POWER JT TEN        17 PHEASANT HILL RD                                                                           WALPOLE           MA    02081‐2221
JOHN R PRESCOTT JR                           8 WARREN TER                                                                                  WOLLASTON         MA    02170‐2626
JOHN R PRIESTER                              6781 WISE RD                                                                                  WEST MIDDLESEX    PA    16159‐3829
JOHN R PRINKEY                               PO BOX 473                                                                                    LEAVITTSBURG      OH    44430‐0473
JOHN R PROFFITT JR                           PO BOX 729                                                                                    DALTON            GA    30722‐0729
JOHN R PUGSLEY                               12100 W CO RD 700 S                                                                           DALEVILLE         IN    47334‐9488
JOHN R PURCELL & DIANE L PURCELL JT TEN      2662 FIR                                                                                      LONGVIEW          WA    98632‐2021
JOHN R PUZEY & JUDITH A PUZEY JT TEN         10562 CATLIN INDIANOLA RD                                                                     CATLIN            IL    61817‐9114
JOHN R RADER & ELIZABETH L RADER JT TEN      311 W GRANITE ST                                                                              BUTTE             MT    59701‐9142
JOHN R RAMA                                  PO BOX 1379                                                                                   WARREN            MI    48090‐1379
JOHN R RAMSEY                                PO BOX 427                                                                                    MEXICO            NY    13114‐0427
JOHN R RANDOLPH                              517 W REDBANK AVE                                                                             WOODBURY          NJ    08096‐1453
JOHN R RATLIFF & DORIS F RATLIFF JT TEN      643 COTTAGE LN                                                                                GREENWOOD         IN    46143‐8439
                                               09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                            Part 4 of 8 Pg 254 of 855
Name                                                 Address1                                Address2                     Address3   Address4          City              State Zip

JOHN R RAU                                           2209 ENGLISH OAK CT                                                                               MIAMISBURG        OH    45342‐4548
JOHN R RAUM JR                                       591 S MAIN ST APT 324                                                                             CAPE MAY CH       NJ    08210
JOHN R RAUM JR & ELEANOR P RAUM JT TEN               591 SOUTH MAIN ST APT 324               CAPE MAY COURT HSE                                        CAPE MAY CH       NJ    08210
JOHN R RAY & LINNIE RAY TEN COM                      9111 SERENE CREEK                                                                                 SAN ANTONIO       TX    78230‐4035
JOHN R READER CUST RICHARD D READER U/THE            405 MILL TOWN ROAD COOPERS              FARM                                                      WILMINGTON        DE    19808‐2222
DELAWARE U‐G‐M‐A
JOHN R REES                                          5066 JAMESTOWN RD                                                                                 COLUMBUS          OH    43220‐2524
JOHN R REESE                                         14502 PENICK                                                                                      WALLER            TX    77484‐4959
JOHN R REGAN                                         287 ROCKINGSTONE AVE                                                                              LARCHMOND         NY    10538‐1219
JOHN R REHFUSS                                       10846 MODENA DR                                                                                   PHILADELPHIA      PA    19154‐3916
JOHN R RICE                                          1484 LITTLELICK FORK                                                                              EAST POINT        KY    41216‐8834
JOHN R RICHARDSON                                    5895 CO RD 47                                                                                     FLORENCE          AL    35634‐3312
JOHN R RIDDELL                                       375 COUNTY ROAD PAJ                                                                               ISHPEMING         MI    49849‐8728
JOHN R ROACH                                         222 MT PLEASANT                                                                                   BEDFORD           IN    47421‐9665
JOHN R ROADCAP                                       29 NEILLIAN WAY                                                                                   BEDFORD           MA    01730‐2305
JOHN R ROBINSON                                      821 BEECHWOOD LN                                                                                  MC KINNEY         TX    75069‐1503
JOHN R RODGERS                                       C/O ATTORNEY JOSEPH F MULCAHY JR        248 CHILDS AVE                                            DREXEL HILL       PA    19026‐3425
JOHN R ROGERS                                        2795 SPAIN DR                                                                                     EASTPOINT         GA    30344‐3944
JOHN R ROHNER                                        7078 LEAF CIRCLE                                                                                  MT MORRIS         MI    48458‐9474
JOHN R ROONEY                                        2669 WOODBOURNE DRIVE                                                                             WATERFORD         MI    48329‐2479
JOHN R ROSSETTI & LINDA E ROSSETTI JT TEN            9635 STIRLING BRIDGE DR                                                                           COLUMBIA          MD    21046‐1936
JOHN R ROVESTI                                       1125 CRESTWOOD DRIVE                                                                              NORTH             PA    15642‐2605
                                                                                                                                                       HUNTINGDON
JOHN R ROWBOTHAM                                     4599 LOBDELL RD                                                                                   MAYVILLE          MI    48744‐9627
JOHN R RULO                                          1360 S OCEAN BLVD #804                                                                            POMPANO BEACH     FL    33062‐7155
JOHN R RYAN & CLYLE Y RYAN JT TEN                    1812 LAKE CYPRESS DR                                                                              SAFETY HARBOR     FL    34695‐4510
JOHN R SABO                                          1011 VININGS FOREST LN SE                                                                         SMYRNA            GA    30080‐3957
JOHN R SAGER                                         8347 CHAPEL PINES DR                                                                              INDIANAPOLIS      IN    46234‐2166
JOHN R SAMARA                                        12600 N ROCKWELL AVE                    UNIT 37                                                   OKLAHOMA CITY     OK    73142‐2706
JOHN R SAMMON                                        580 POND VIEW HTS                       APT 3                                                     ROCHESTER         NY    14612‐1317
JOHN R SANDERSON                                     508 DEWAR DR                                                                                      ROCK SPRINGS      WY    82901‐5907
JOHN R SARKEES                                       4802 WYOMING WAY                                                                                  CRYSTAL LAKE      IL    60012‐2037
JOHN R SAUTNER                                       40 EDGEWOLD ROAD                                                                                  WHITE PLAINS      NY    10607‐1010
JOHN R SAVAGE                                        3032 CHARLWOOD DR                                                                                 ROCHESTER HILLS   MI    48306‐3610
JOHN R SAVAGE                                        3032 CHARLWOOD DR                                                                                 ROCHESTER HILLS   MI    48306‐3610
JOHN R SAYLES                                        1155G PARADISE CT                                                                                 GREENWOOD         IN    46143‐2111
JOHN R SCHAUB                                        86 MISTY TRCE                                                                                     OTTO              NC    28763‐8142
JOHN R SCHILLIN CUST DAVID BRICE SCHILLING UGMA      ATTN JOHN R SCHILLING APC               4675 MACARTHUR COURT # 590                                NEWPORT BEACH     CA    92660‐8800
CA
JOHN R SCHRIEFFER                                    560 W FULTON ST                         APT 306                                                   CHICAGO           IL    60661‐1165
JOHN R SCHROEDER JR                                  2325 S SHORE DR                                                                                   DELAVAN           WI    53115‐3610
JOHN R SCHRUP                                        6894 YELLOWSTONE DR                                                                               RIVERSIDE         CA    92506‐3924
JOHN R SCHUCHMANN                                    21 CEDAR RD                                                                                       BETHANY           CT    06524‐3340
JOHN R SCHULTES                                      5000 NORTH OCEAN BLVD CORDOVA L 11                                                                BRINY BREEZES     FL    33435
JOHN R SCOTT                                         PO DWR 3430                                                                                       BIG SPRING        TX    79721‐3430
JOHN R SEGREST CUST MARY MARGARET SEGREST            ATTN MARY S MILLER                      106 WELLINGTON DR                                         MADISON           AL    35758‐8486
UNDER THE ALABAMA U‐G‐M‐A
JOHN R SEIFERT & MITZI D SEIFERT TR SEIFERT FAMILY   6313 SKYTRAILS                          PO BOX 355                                                WATERS            MI    49797‐0355
TR 11/13/92
JOHN R SELF                                          6445 FAR HILLS AVE                                                                                DAYTON            OH    45459‐2725
JOHN R SELLARS & SHERRY L SELLARS JT TEN             600 SUNDANCE WAY                                                                                  DACONO            CO    80514‐9321
JOHN R SERLEY                                        1327 LIPSCOMB DR                                                                                  BRENTWOOD         TN    37027‐7008
JOHN R SEXTON                                        1717 SOUTH CARLSON                                                                                WESTLAND          MI    48186‐4054
JOHN R SHADDY & JOAN I SHADDY TR SHADDY FAMILY       13201 OLYMPIA WAY                                                                                 SANTA ANA         CA    92705‐2028
TRUST UA 08/22/02
JOHN R SHADONIX CUST COLINS SHADONIX UTMA AZ         2102 S CALLE CORDOVA                                                                              TUCSON            AZ    85710‐5728

JOHN R SHAW                                          502 SPRINGFIELD CIRCLE                                                                            BOSSIER CITY      LA    71112
JOHN R SHAW                                          605 PITTSBURGH ST                                                                                 SPRINGDALE        PA    15144‐1502
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 255 of 855
Name                                                 Address1                             Address2              Address3         Address4          City               State Zip

JOHN R SHEER                                        90 AMBERWOOD DRIVE                                                                             GRAND ISLAND       NY    14072‐1301
JOHN R SHEPPARD                                     6719 COUNTRY SWAN                                                                              SAN ANTONIO        TX    78240‐4425
JOHN R SHIELS                                       30 LA SALLE DRIVE                     SAINT CATHARINES ON                    L2M 2E4 CANADA
JOHN R SHIPLEY                                      2036 N WALTON                                                                                  WESTLAND           MI    48185‐7732
JOHN R SIEBERT CUST JESSICA L SIEBERT UTMA NJ UNTIL 4 PIRATE COVE                                                                                  LITTLE SILVER      NJ    07739‐1623

JOHN R SIEFKEN                                       2786 WALKER DRIVE                                                                             EXPORT             PA    15632‐9307
JOHN R SILK & ELSIE L SILK JT TEN                    23 ALGONQUIN RD                                                                               NORWALK            CT    06851‐1809
JOHN R SIMON                                         8721 POND CREEK RD                                                                            PORTSMOUTH         OH    45663
JOHN R SKOBEL                                        7864 BLACKLICK VIEW DR                                                                        BLACKLICK          OH    43004
JOHN R SKRBINA & CATHERINE M SKRBINA JT TEN          18386 HEATHERLEA DR                                                                           LIVONIA            MI    48152‐4074
JOHN R SLAYTON                                       1765 RIVERGLEN DR                                                                             SUWANEE            GA    30024‐1864
JOHN R SMART III                                     259 HALCOMB DR                                                                                SOMERSET           KY    42501‐5878
JOHN R SMERLINSKI                                    W5669 PUCKAWAY RD                                                                             MARKESAN           WI    53946‐7905
JOHN R SMITH                                         3851 LAZY FOREST TRAIL                                                                        INTERLOCHEN        MI    49643
JOHN R SMITH                                         186 COURT ST                                                                                  PONTIAC            MI    48342‐2510
JOHN R SNYDER                                        5534 FOREST HILL                                                                              ST JOHNS           MI    48879
JOHN R SNYDER & BETTY LOU SNYDER JT TEN              5534 FOREST HILL                                                                              ST JOHNS           MI    48879
JOHN R SOMMERS                                       8731 S COUNTRY DR APT 101                                                                     OAK CREEK          WI    53154‐3881
JOHN R SOPKO                                         168 COUNTRY GREEN                                                                             AUSTINTOWN         OH    44515‐2215
JOHN R SPENCER                                       1002 WASHINGTON                                                                               LEAVENWORTH        KS    66048‐2951
JOHN R SPICER                                        1148 S R 503 NORTH                                                                            WEST ALEXANDR      OH    45381‐9701
JOHN R SRUBAS                                        3912 WELLESLEY DR NE                                                                          ALBUQUERQUE        NM    87107‐4522
JOHN R STANKAVAGE & ARLENE T STANKAVAGE JT TEN       2720 STATE ROUTE 79                                                                           HARPURSVILLE       NY    13787‐2218

JOHN R STEELE                                        416 SCHOTTS RD                                                                                BALTIMORE          MD    21221‐1630
JOHN R STEMNISKI & MRS DOROTHY B STEMNISKI JT        19 WALNUT ROAD                                                                                SWAMPSCOTT         MA    01907‐2217
TEN
JOHN R STENCEL                                       14570 BLUE SKIES                                                                              LIVONIA            MI    48154‐4966
JOHN R STENCH                                        1545 GLORIA                                                                                   WESTLAND           MI    48186‐8925
JOHN R STEPHENS                                      232 DEERFIELD LN                                                                              LAWRENCE           KS    66049‐1816
JOHN R STIVERS                                       1078 HAYES AVE                                                                                HAMILTON           OH    45015‐2022
JOHN R STOUFFER                                      206 BUSH CT                                                                                   MC CORMICK         SC    29835‐2737
JOHN R STOZENSKI                                     412 HOMESTEAD CIR                                                                             WARRINGTON         PA    18976‐3600
JOHN R STRAEBEL & SUZANNE M STRAEBEL JT TEN          6491 CRYSTAL BEACH RD NW                                                                      RAPID CITY         MI    49676‐9499
JOHN R STREU & BETTY M STREAU JT TEN                 144 ALLEN AVE                                                                                 GREEN BAY          WI    54302‐4402
JOHN R STREU & MRS JUDITH A STREU JT TEN             532 LANCELOT CT                                                                               LIBERTY            MO    64068‐1020
JOHN R STRICKLAND                                    754 DEXTERVILLE OAK RIDGE RD                                                                  MORGANTOWN         KY    42261‐9182
JOHN R STROTHER JR                                   P O BOX 648                                                                                   MURRAYVILLE        GA    30564‐0648
JOHN R STRUTZ & MARGARET STRUTZ JT TEN               11660 W 156 TERR                                                                              OVERLAND PARK      KS    66221‐2626
JOHN R SUDIMACK & TREVA L SUDIMACK JT TEN            7606 KITTANSETT LANE                                                                          PICKERINGTON       OH    43147‐9081
JOHN R SUNDERLAND & ILENE P SUNDERLAND TEN ENT       415 TWIN OAKS ROAD                                                                            LINTHICUM          MD    21090‐1207

JOHN R SURIANO                                       295 CHERRYLAND ST                                                                             AUBURN HILLLS      MI    48326‐3350
JOHN R SUTER                                         1510 MARK WEST SPRINGS RD                                                                     SANTA ROSA         CA    95404‐9605
JOHN R SUTHERLAND                                    15790 LUXEMBURG                                                                               FRASER             MI    48026‐2309
JOHN R TAULBEE                                       R6                                                                                            MANSFIELD          OH    44903‐9806
JOHN R TAVALIERI                                     21515 MAPLE                                                                                   ST CLAIR SHR       MI    48081‐2242
JOHN R TAYLOR                                        115 ROGER AVE                                                                                 WESTFIELD          NJ    07090‐1773
JOHN R TAYLOR & MARY ANN TAYLOR JT TEN               820 ROYAL TER                                                                                 HURST              TX    76053‐4222
JOHN R TEDFORD                                       27 RIDGEMONT DR                                                                               PONTIAC            MI    48340‐3042
JOHN R TELFORD                                       3821 SELMAVILLE RD                                                                            SALEM              IL    62881
JOHN R THOMAS                                        50 PARKSIDE CUR UNIT 3                                                                        CANFIELD           OH    44406‐1674
JOHN R THOMPSON                                      101 SUNDOWN TRL                                                                               BUFFALO            NY    14221‐2220
JOHN R THOMPSON                                      521 BOHEMIAN HWY                                                                              FREESTONE          CA    95472
JOHN R TIMKO                                         920 SASSAFRAS CIR                                                                             WEST CHESTER       PA    19382‐7589
JOHN R TITLOW II                                     1323 CAROL LANE                                                                               NAPERVILLE         IL    60565‐1233
JOHN R TOBIN JR TR JOHN R TOBIN JR TRUST UA 9/9/98   1466 SODON CT                                                                                 BLOOMFIELD HILLS   MI    48302‐2353
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 256 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

JOHN R TOMASIAK                                    8640 WARWICK                                                                                    WARREN             OH    44484‐3059
JOHN R TOMASZEWSKI                                 503 CHESTNUT RIDGE                                                                              WOODSTOCK          GA    30189
JOHN R TOUSE                                       66636 KLETT RD                                                                                  CONSTANTINE        MI    49042‐9620
JOHN R TRAPP                                       9415 MEMORY LN                                                                                  BROOKVILLE         IN    47012‐9186
JOHN R TRIMARCO & ARLENE E TRIMARCO JT TEN         81 SUNSET AVE                                                                                   GLEN ELLYN         IL    60137‐5635
JOHN R TRYCHON                                     36 PROSPECT HEIGHTS                                                                             ASHLAND            MA    01721‐2214
JOHN R TUCKER                                      9816 DEEP WOODS DR                                                                              SHREVEPORT         LA    71118‐5037
JOHN R TURNER JR                                   5690 E CENTER VILLAGE DR                                                                        TUSCON             AZ    85750‐1730
JOHN R TURTURA                                     2672 N POSEY LAKE HWY                                                                           HUDSON             MI    49247‐9750
JOHN R ULMER                                       3682 DEMORY RD                                                                                  LAFOLLETTE         TN    37766‐5966
JOHN R UREK                                        15431 MCLAIN                                                                                    ALLEN PARK         MI    48101‐2076
JOHN R UTTERBACK & EMILY A UTTERBACK & SHELLY A    616 SOUTH WALNUT                                                                                CAMERON            MO    64429‐2226
UTTERBACK JT TEN
JOHN R VALLINO                                     864 LAKE ACCESS ROAD                                                                            MURPHYSBORO        IL    62966‐4745
JOHN R VASBINDER                                   156 BRENTVIEW DR                                                                                GRAFTON            OH    44044‐1502
JOHN R VASOLD & MARY JEAN VASOLD JT TEN            7005 N RIVER RD                                                                                 FREELAND           MI    48623‐9201
JOHN R VELLA & BARBARA ANN VELLA JT TEN            6843 REDFORD CIRCLE                                                                             TROY               MI    48085
JOHN R VENNEMAN                                    534 GOLF VIEW DRIVE                                                                             CHILLICOTHE        OH    45601‐8398
JOHN R VERBANAC & MARDELL L VERBANAC JT TEN        7955 FAIRCHILD AVE NE                                                                           MOUNDS VIEW        MN    55112‐5801

JOHN R VINCENT                                     15151 FORD RD                          APT 118                                                  DEARBORN           MI    48126‐5025
JOHN R VITCUSKY                                    27 MILLWRIGHT DR                                                                                NEWARK             DE    19711‐8023
JOHN R WALDORF                                     2125 W GARFIELD ROAD                                                                            COLUMBIANA         OH    44408‐9786
JOHN R WALLACE                                     3114 NORTHWAY DRIVE                                                                             SANBORN            NY    14132‐9483
JOHN R WALLACE & MAUREEN A WALLACE JT TEN          50‐08 48TH ST                                                                                   WOODSIDE           NY    11377
JOHN R WALZ                                        11441 CHARLESTON PKY                                                                            FISHERS            IN    46038‐1954
JOHN R WARD JR                                     428 SLOCUM                                                                                      AUBURN HGHTS       MI    48057
JOHN R WATKINS                                     5 MIDBROOK LN                                                                                   DARIEN             CT    06820‐3421
JOHN R WATKINS                                     7817 ROGAN DRIVE                                                                                N RICHLAND HILLS   TX    76180‐7309

JOHN R WATTS                                       320 FAIRLANE DR                                                                                 SPARTANBURG        SC    29302
JOHN R WEATHERFORD                                 BOX 384                                                                                         CUSHMAN            AR    72526‐0384
JOHN R WEAVER JR PERS REP EST IO JANE THOMPSON     831 N TATNALL ST SUITE 200                                                                      NEW CASTLE         DE    19801‐1717

JOHN R WEBER                                       8015 NW 28TH PLACE                     APT A 221                                                GAINESVILLE        FL    32606‐6275
JOHN R WEBER                                       2611 NE 4TH ST                                                                                  POMPANO BEACH      FL    33062‐4918
JOHN R WEESE                                       3124 WINDSOR DRIVE                                                                              LANDISVILLE        PA    17538‐1341
JOHN R WEIS & DIANE D WEIS JT TEN                  16 FOXWOOD CT                                                                                   LEWES              DE    19958‐9110
JOHN R WELCH JR                                    5372 POLEN CIRCLE                                                                               DAYTON             OH    45440‐2826
JOHN R WENDELN JR                                  2048 BRAINARD DRIVE                                                                             KITTERING          OH    45440‐2824
JOHN R WESOLICH                                    9218 LARAMIE                                                                                    CRESTWOOD          MO    63126‐2710
JOHN R WESOLICH & DONNA L WESOLICH JT TEN          9218 LARAMIE DR                                                                                 CRESTWOOD          MO    63126‐2710
JOHN R WETHY                                       7275 HAWTHORNE CI                                                                               GOODRICH           MI    48438‐9239
JOHN R WETHY & DONA M WETHY JT TEN                 7275 HAWTHORNE CIRCLE                                                                           GOODRICH           MI    48438
JOHN R WHITCOMB                                    19465 SOUTH WALTHAM ROAD                                                                        BEVERLY HILLS      MI    48025‐5124
JOHN R WIENOLD                                     1 N CONSTITUTION DR                    STE 1                                                    AURORA             IL    60506‐3208
JOHN R WIENOLD & MARGARET V WIENOLD JT TEN         1 N CONSTITUTION DR FL 1                                                                        AURORA             IL    60506

JOHN R WILLIAMS                                    1498 EASTERN AVE                                                                                MONGANTOWN         WV    26505‐2312
JOHN R WILLIAMS                                    697 SANDPIPER DR                                                                                VONORE             TN    37885‐2041
JOHN R WILLIAMS                                    741 RANDALL DR                                                                                  TROY               MI    48085‐4819
JOHN R WILLIAMS & FLORENCE K WILLIAMS JT TEN       2 CONISTON DR                                                                                   WEST CHESTER       PA    19382‐6937

JOHN R WILLIAMS JR                                 2904 BENTE WAY                                                                                  VIRGINIA BEACH     VA    23451‐1239
JOHN R WILSON                                      806 LELAND ST                                                                                   FLINT              MI    48507‐2434
JOHN R WILSON TR FIRST TRUST 09/07/77 U‐A JOHN R   1 OLD FORT LN                                                                                   HILTON HEAD        SC    29926‐2696
WILSON JR                                                                                                                                          ISLAND
JOHN R WIND                                        2700 PINERIDGE DR NW                   APT D                                                    GRAND RAPIDS       MI    49544‐7528
JOHN R WINFREE                                     2951 LESLIE                                                                                     DETROIT            MI    48238‐3305
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 257 of 855
Name                                              Address1                              Address2             Address3          Address4          City                State Zip

JOHN R WINKELMANN                                 135 W BROADWAY                                                                                 GETTYSBURG          PA    17325‐1206
JOHN R WITGEN                                     542 COOK RD                                                                                    PEWAMO              MI    48873‐9740
JOHN R WITHEROW                                   14004 PLACID COVE                                                                              STRONGSVILLE        OH    44136‐5129
JOHN R WITSCHI                                    5901 RENIE RD                                                                                  BELLVILLE           OH    44813
JOHN R WOOD                                       813 FRUITDALE RD                                                                               MORGANTOWN          IN    46160‐8658
JOHN R WOOD                                       1961 CANNON ST SW                                                                              WYOMING             MI    49519‐4208
JOHN R WOODRUFF                                   9122 LAKE GERALD DR NE                                                                         SPARTA              MI    49345‐8399
JOHN R WOODRUFF                                   10269 WEST REID ROAD                                                                           SWARTZ CREEK        MI    48473‐8518
JOHN R YAEGER                                     2104 BEDELL ROAD                                                                               GRAND ISLAND        NY    14072‐1652
JOHN R YAROS                                      202 DELAWARE AVE GWINHURST                                                                     WILMINGTON          DE    19809
JOHN R YASENCHAK                                  3837 DAWNING AVE                                                                               CLEVELAND           OH    44109‐4847
JOHN R YEOMANS                                    9702 NORTH LAKE RD                                                                             OTTER LAKE          MI    48464‐9401
JOHN R YOST                                       30366 ROCK CREEK                                                                               SOUTHFIELD          MI    48076‐1043
JOHN R YOUNG                                      5924 DEWEY AVE                                                                                 INDIANAPOLIS        IN    46219‐7209
JOHN R ZACCARINI                                  82 CROYDON RD                                                                                  YONKERS             NY    10710‐1026
JOHN R ZDUNCZYK & DIANE E ZDUNCZYK JT TEN         2503 20TH ST                                                                                   WYANDOTTE           MI    48192‐4425
JOHN R ZISMER                                     33012 WEST 128TH ST                                                                            EXCELSIOR SPRINGS   MO    64024‐6228

JOHN R ZORICH                                     8406 REYNOLDS DR                                                                               BAYONET POINT       FL    34667‐6921
JOHN RACANELLI                                    25 S TAYLOR ST                                                                                 BERGENFIELD         NJ    07621‐2436
JOHN RADLER JR                                    22 BRENWALL AVE                                                                                TRENTON             NJ    08618‐1741
JOHN RADON                                        1191 MARKS RD                                                                                  VALLEY CITY         OH    44280‐9728
JOHN RALPH DENT                                   C/O JOHN R DENT LAW OFFICE            332 DENVER AVE                                           FT LUPTON           CO    80621‐1822
JOHN RAMILLER                                     10506 HILL RD                                                                                  GOODRICH            MI    48438‐9769
JOHN RAMIREZ JR                                   8704 VIRGINIA PINE CT                                                                          FREDERICKSBURG      VA    22407‐8733
JOHN RANDALL ROUSE CLARKE                         7 HAY BARRICK RD                                                                               WHITE HSE STA       NJ    08889‐3258
JOHN RANDOLPH JOUETT                              3489 FOOTHILL RD                                                                               SANTA BARBARA       CA    93105‐1902
JOHN RANIOLO & SALVATRICE RANIOLO JT TEN          131 REMSEN RD                                                                                  YONKERS             NY    10710‐1429
JOHN RAPEZZI CUST MARISA NICOLE RAPEZZI UGMA MI   2091 ADRENNE                                                                                   TROY                MI    48085

JOHN RAPPA & CAROLYN S RAPPA JT TEN               98 N DU POINT RD                                                                               CARNEY'S POINT      NJ    08069‐2253
JOHN RATIGAN                                      24 STONEHENGE LANE                    APT 21 B                                                 ALBANY              NY    12203
JOHN RAWLS SAECKER                                BOX 268                                                                                        ACCOMAC             VA    23301‐0268
JOHN RAYMOND EGBERT                               116 ROSE CREEK CT                                                                              COLUMBIA            SC    29229‐8844
JOHN RAYMOND GAFNEY & LEONIE T GAFNEY JT TEN      2460 TEVIS ANN CT                                                                              DUBLIN              OH    43018‐9194

JOHN RAYMOND HARAMUT                              117 CREEK CROSSING WAY                                                                         GREER               SC    29651‐5577
JOHN RAYMOND KENEFICK                             PO BOX 3824                                                                                    SEMINOLE            FL    33775
JOHN RAYMOND MINNICK                              905 NE 1ST AVE                                                                                 GRAND RAPIDS        MN    55744
JOHN RAYMOND SAYLES & ESTER E SAYLES JT TEN       1155G PARADISE CT                                                                              GREENWOOD           IN    46143‐2111
JOHN RAYMOND VITHA & RANA MARY VITHA JT TEN       2000 S OCEAN BLVD                     APT 306                                                  DELRAY BEACH        FL    33483‐6407

JOHN RECCY & PAULA RECCY JT TEN                   PO BOX 147                                                                                     YONKERS             NY    10710‐0147
JOHN REGAS                                        16929 STEEPLECHASE PKWY                                                                        ORLANDO PARK        IL    60467‐8769
JOHN REID                                         2158 COLT ST                                                                                   ST HELEN            MI    48656‐9614
JOHN REID HILL                                    194 THOMAS ST                                                                                  GLEN RIDGE          NJ    07028‐2215
JOHN REILLY CUST ELIZABETH ANN REILLY UGMA NY     195 QUAKER HILL ROAD                                                                           PAWLING             NY    12564‐1820

JOHN REIS MACLEAN                                 1372 WOODBROOK LN                                                                              SOUTHLAKE           TX    76092‐4840
JOHN RENDALL                                      PO BOX 126                                                                                     LONE ROCK           WI    53556‐0126
JOHN REYNOLDS                                     212 CHURCH RD                                                                                  SCOTIA              NY    12302
JOHN REYNOLDS SHAW CUST JOHN RYAN SHAW UGMA       1904 W MUIRHEAD LOOP                                                                           TUCSON              AZ    85737‐7040
TX
JOHN RHODES                                       1716 STEPHENSON ROAD                                                                           LITHONIA            GA    30058‐5941
JOHN RICHARD ALLAN                                10208 MILL POND RD                                                                             SPOTSYLVANIA        VA    22553‐3542
JOHN RICHARD BOLIN JR                             1940 KENTUCKY ST                                                                               LAWRENCE            KS    66046‐2934
JOHN RICHARD BURDSALL                             801 SOUTHFORD AVENUE                                                                           DAYTON              OH    45429‐2053
JOHN RICHARD DARDEN                               500 S NEOSHO BLVD                                                                              NEOSHO              MO    64850‐2048
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 258 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JOHN RICHARD HART TR UA 04/26/94 JOHN RICHARD    242 MCKENDRY DRIVE                                                                              MENLO PARK         CA    94025‐2918
HART LIVING TRUST
JOHN RICHARD HOWELL                              25019 PRARIE MOUNTAIN                                                                           SAN ANTONIO        TX    78255‐2065
JOHN RICHARD JARNIS                              2811 PARKWOOD LN                                                                                DULUTH             MN    55811‐5829
JOHN RICHARD JONES                               5074 THORNHILL LANE                                                                             DUBLIN             OH    43017‐4339
JOHN RICHARD KATELEY JR                          6407 W REYNOLDS ROAD                                                                            HASLETT            MI    48840‐8907
JOHN RICHARD LUCAS JR                            3804 VIA PALOMINO                                                                               PALOS VERDES EST   CA    90274‐1451

JOHN RICHARD LUKEMAN JR                          1316 W STATE                                                                                    JACKSONVILLE       IL    62650‐1849
JOHN RICHARD RAMSHAW                             68014 LOFLAND RD                                                                                CAMBRIDGE          OH    43725‐9598
JOHN RICHARD REED TR JOHN RICHARD REED LIVING    2700 NW 99TH AVE                       APT 120A                                                 CORAL SPRINGS      FL    33065‐4853
TRUST UA 04/30/96
JOHN RICHARD REISS                               PO BOX 596                                                                                      ELM GROVE          WI    53122‐0596
JOHN RICHARD SHIRLEY                             PO BOX 45                                                                                       ORANGEBURG         SC    29116‐0045
JOHN RICHARD TUCKER                              6753 CARTERS VALLEY RD 20                                                                       CHURCH HILL        TN    37642‐6348
JOHN RICHARD WHEELER & ALICE FITZWATER WHEELER   608 1/2 RIDGEWOOD AVE                                                                           CUMBULD            MD    21502‐3764
JT TEN
JOHN RICHARD WHITE                               PO BOX 495                                                                                      GILBERT            WV    25621‐0495
JOHN RICHE ETTINGER                              45 EAST END AVE                                                                                 NY                 NY    10028‐7953
JOHN RICHMOND                                    5864 MCALPINE RD                                                                                GAGETOWN           MI    48735‐9510
JOHN RIEG CUST JACOB RIEG UTMA PA                266 ROUPE RD                                                                                    EIGHTY FOUR        PA    15330‐2480
JOHN RIESS JR                                    8771 ESSEN DR                                                                                   STERLING HTS       MI    48314‐1650
JOHN RIHORKEWICZ                                 263 N WASHINGTON                                                                                SLEEPY HOLLOW      NY    10591‐2314
JOHN RIHORKEWICZ & FLORENCE E RIHORKEWICZ JT     263 N WASHINGTON ST                                                                             NORTH              NY    10591‐2314
TEN                                                                                                                                              TARRYTOWN
JOHN RISTICH                                     28 LEXINGTON PKWY                                                                               ROCHESTER          NY    14624‐4246
JOHN RIZZO                                       18 SPRUCE PL                                                                                    DEMAREST           NJ    07627
JOHN ROBBINS                                     BOX 404                                                                                         BRANDON            MS    39043‐0404
JOHN ROBERT ARKESTEYN                            2121 LINNER ROAD                                                                                WAYZATA            MN    55391‐2221
JOHN ROBERT BALINT III                           1436 GREEN RD                                                                                   ANN ARBOR          MI    48105‐2808
JOHN ROBERT BOSCO & DIANE E BOSCO JT TEN         126 ASHBROOK CIRCLE                                                                             WEBSTER            NY    14580
JOHN ROBERT BRITT                                173 WATKINS RD                                                                                  FORTSON            GA    31808‐4865
JOHN ROBERT BURGOYNE                             PO BOX 27                                                                                       HAMPTON            CT    06247‐0027
JOHN ROBERT CARSON                               119 RIVER LAKE COURT                                                                            EATONTON           GA    31024‐5306
JOHN ROBERT GAFNER                               1510 JACQUELINE DRIVE                                                                           HOLT               MI    48842‐2075
JOHN ROBERT GOOD                                 PO BOX 4401                                                                                     INCLINE VILLAGE    NV    89450‐4401
JOHN ROBERT GUERCIO                              PO BOX 43                                                                                       E VANDERGRIFT      PA    15629‐0043
JOHN ROBERT HARRIS                               69 SCENIC DR                                                                                    LEWISTOWN          PA    17044‐8128
JOHN ROBERT HARRIS & CHRISTINA L HARRIS JT TEN   8818 WINDHAVEN DR                                                                               OOLTEWAH           TN    37363‐6515

JOHN ROBERT HILL                                 277 THRIFT ST                                                                                   MOBILE             AL    36609‐2412
JOHN ROBERT ISRAEL JR                            7421 MEYERS RD                                                                                  MIDDLETOWN         OH    45042‐1143
JOHN ROBERT KEIFER                               256 ROAD 2900                                                                                   GUIDE ROCK         NE    68942‐8060
JOHN ROBERT KUERS                                4244 VICTORY DRIVE                                                                              FRISCO             TX    75034
JOHN ROBERT KULKA                                2512 SLEEPY HOLLOW RD                                                                           STATE COLLEGE      PA    16801
JOHN ROBERT LOWE                                 3610 FOREST TER                                                                                 ANDERSON           IN    46013‐5260
JOHN ROBERT MC GEE JR                            391 GIFFORD DR                         ENNISMORE ON                           K0L 1T0 CANADA
JOHN ROBERT MCDUFFEE                             1907 S WINDING WAY                                                                              ANDERSON           IN    46011‐3862
JOHN ROBERT MOHAN                                1800 ETHELRED CT                                                                                MIDLOTHIAN         VA    23113‐3400
JOHN ROBERT MOSLEY                               220 E LAKEVIEW                                                                                  FLINT              MI    48503‐4164
JOHN ROBERT MOUTHAAN & EVELYN M MOUTHAAN JT      13733 POPLAR AVE                                                                                GRANT              MI    49327‐9352
TEN
JOHN ROBERT MURPHY                               51237 ELLY                                                                                      CHESTERFIELD TWP MI      48051‐1965

JOHN ROBERT SPAGNOLO                             3744 RUTHERFORD ST                                                                              HARRUSBURG         PA    17111‐1940
JOHN ROBERT SPIESS                               332 CAMINO DE LAS HUERTAS                                                                       PLACITAS           NM    87043
JOHN ROBERT TELFORD JR                           3821 SELMAVILLE RD                                                                              SALEM              IL    62881‐5809
JOHN ROBERT WILSON                               500 OLD OAK LANE                                                                                COLLIERVILLE       TN    38017‐1720
JOHN ROBERTS                                     115 CEDAR CRT                                                                                   SOUTH POINT        OH    45680
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 259 of 855
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

JOHN ROBERTSON                                     3980 DONNER TRAIL                                                                               PLACERVILLE      CA    95667
JOHN ROBERTSON & MRS NANCY ROBERTSON JT TEN        6208 CASTLE HAVEN ROAD                                                                          CAMBRIDGE        MD    21613‐3335

JOHN ROCHE                                         5200 LEAFY TRAIL                                                                                FORT WORTH       TX    76123‐1912
JOHN ROCHE & MAURA ROCHE JT TEN                    202 VOSS AVE                                                                                    YONKERS          NY    10703‐2509
JOHN ROCHE CUST JIMMY ROCHE UGMA IL                283 PASCAL ST S                        ST PAUL                                                  SAINT PAUL       MN    55105
JOHN ROEHRICK & MARIANN ROEHRICK JT TEN            464 W GREEN                                                                                     WHEELING         IL    60090‐4714
JOHN ROEHRICK CUST JOHN L ROEHRICK III UTMA IL     464 W GREEN                                                                                     WHEELING         IL    60090‐4714

JOHN ROEHRICK CUST TRACY ROEHRICK UTMA IL          464 W GREEN                                                                                     WHEELING         IL    60090‐4714
JOHN ROGERS                                        1622 GROVE ST                                                                                   SAN DIEGO        CA    92102
JOHN ROGERS                                        662 SCALES RD                                                                                   SUWANEE          GA    30024‐1835
JOHN ROGERS                                        21231 REIMANVILLE                                                                               FERNDALE         MI    48220‐2231
JOHN ROGERS III                                    84 RIDGE RD                                                                                     PHOENIXVILLE     PA    19460
JOHN RONALD KANDAL                                 1514 PATTY CR                                                                                   ROWLETT          TX    75089‐3263
JOHN RONDINELLI                                    4628 DRIFTWOOD LANE                                                                             YOUNGSTOWN       OH    44515‐4831
JOHN ROSE                                          1201 HORSHAM RD                                                                                 AMBLER           PA    19002‐1007
JOHN ROSS BOGUCKI                                  2053 WEST LIBERTY STREET                                                                        ALLENTOWN        PA    18104‐5043
JOHN ROUNSEVILLE KIRWAN                            214 W TEXAS AVE                        STE 701                                                  MIDLAND          TX    79701‐4663
JOHN RUBCEWICH & HELEN RUBCEWICH JT TEN            21 WYOMING DRIVE                                                                                HUNTINGTON       NY    11746‐2653
                                                                                                                                                   STATION
JOHN RUBENFELD                                     332 SKANDER LN                                                                                  PLEASANT HILL    CA    94523‐1728
JOHN RUBIN JR                                      2921 DUPONT ST                                                                                  FLINT            MI    48504‐2818
JOHN RUFFRAGE                                      13 D THE MEADOWS                                                                                NEW HARTFORD     NY    13413
JOHN RUSKIN BELL                                   435 ROLLINGWOOD                                                                                 BAYTOWN          TX    77520‐1116
JOHN RUSSELL                                       18 HARRIETT AVENUE                                                                              BUFFALO          NY    14215‐3508
JOHN RUSSELL MARTIN                                6714 WILLIANS RD                                                                                ROME             NY    13440‐2026
JOHN RUSSELL PETERSON                              2729 SAN FELIPE DR                                                                              COLLGE STATION   TX    77845‐6417
JOHN RUSZCZYK                                      13660 DULUTH DR                                                                                 APPLE VALLEY     MN    55124‐8669
JOHN RUZICH                                        132 7TH AVE                                                                                     LA GRANGE        IL    60525‐6404
JOHN RYAN & ANN P RYAN JT TEN                      261 HARVEST AVE                                                                                 STATEN ISLAND    NY    10310‐2817
JOHN RYBA                                          18888 PROSPECT RD                                                                               STRONGSVILLE     OH    44149
JOHN RZESZUTKO                                     15091 BUSWELL AVE                                                                               PT CHARLOTTE     FL    33953‐2006
JOHN S ALAMOVICH & INNICE M ALAMOVICH JT TEN       444 MAPLETON AVE                                                                                MOUNT LEBANON    PA    15228‐1220

JOHN S ALCARESE                                   2619 CHESLEY AVE                                                                                 BALTIMORE        MD    21234‐7507
JOHN S ALLEN                                      8318 DONNAHA RD                                                                                  TOBACCOVILLE     NC    27050‐9743
JOHN S ALLEN TOD BRUCE D ALLEN SUBJECT TO STA TOD 8690 GALE RD                                                                                     WHITE LAKE       MI    48386‐1406
RULES
JOHN S ALLEN TOD CRAIG S ALLEN SUBJECT TO STA TOD 8690 GALE RD                                                                                     WHITE LAKE       MI    48386‐1406
RULES
JOHN S ALLEN TOD DAVID W ALLEN SUBJECT TO STA     8690 GALE RD                                                                                     WHITE LAKE       MI    48386‐1406
TOD RULES
JOHN S ALLEN TOD JOHN R ALLEN SUBJECT TO STA TOD 8690 GALE RD                                                                                      WHITE LAKE       MI    48386‐1406
RULES
JOHN S ANDERSON                                   1216 NANTUCKET                                                                                   HOUSTON          TX    77057‐1906
JOHN S ANDERSON                                   9332 CASTLE KNOLL BLVD                                                                           INDIANAPOLIS     IN    46250‐3488
JOHN S ARENDAS & HILDA M ARENDAS JT TEN           116 WHITE HERON DR                                                                               DAYTONA BEACH    FL    32119
JOHN S AUGERI                                     93 RESEVOIR ROAD                                                                                 MIDDLETOWN       CT    06457‐4840
JOHN S AYCOCK                                     49958 BRONSON RD                                                                                 WELLINGTON       OH    44090‐9711
JOHN S BACHELDER JR                               LOT 1                                   15019 W AHARA RD                                         EVANSVILLE       WI    53536‐8504
JOHN S BACON                                      107 OXFORD ROAD                                                                                  WILLIAMSBURG     VA    23185‐3227
JOHN S BAILEY II                                  PO BOX 246                                                                                       WILLIAMSTOWN     WV    26187‐0246
JOHN S BALLARD                                    1502 MARWOOD SE                                                                                  KENTWOOD         MI    49508‐4858
JOHN S BARLOGA                                    1916 W FLETCHER ST                      APT 1                                                    CHICAGO          IL    60657‐6726
JOHN S BARRON                                     14870 HAUBBARD ST                                                                                SYLMAR           CA    91342
JOHN S BART                                       37 LINCOLN RD                                                                                    AMHERST          NY    14226‐4458
JOHN S BAXTER                                     9575 BRIAN DR                                                                                    BATTLE CREEK     MI    49017‐9735
JOHN S BEATO                                      77 FERRIS PL                                                                                     OSSINING         NY    10562‐3534
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 260 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JOHN S BECK                                       2501 CALVERT ST NW                      #305                                                     WASHINGTON        DC    20008‐2604
JOHN S BECKER                                     309 TAYLOR SCHOOL RD                                                                             HAMILTON          OH    45013‐9658
JOHN S BECKHAM JR                                 1912 VALLEYWOOD RD                                                                               MC LEAN           VA    22101‐4930
JOHN S BENJAMIN                                   29475 QUAIL RUN DRIVE                                                                            AGOURA HILLS      CA    91301‐1518
JOHN S BERG TR UA 10/15/87 JOHN S BERG TRUST      712 COUNTRY CLUB LN                                                                              ONALASKA          WI    54650‐7701

JOHN S BLANKENAU & BLONDIA M BLANKENAU JT TEN     4225 NORTH 129TH AVENUE CIRCLE                                                                   OMAHA             NE    68164‐1818

JOHN S BOVEN                                      4085 MAPLEVIEW CT E #92                                                                          BROWN CITY        MI    48416‐8607
JOHN S BOWERS JR                                  3373 WHITE BEAR AVE                                                                              WHITE BEAR LAKE   MN    55110‐5406
JOHN S BOWERS JR & PATSY J BOWERS JT TEN          3373 WHITE BEAR AVE                                                                              WHITE BEAR LAKE   MN    55110‐5406
JOHN S BRITTAIN                                   1701 MARKET ST                                                                                   PHILADELPHIA      PA    19103‐2903
JOHN S BRODELLA                                   7326 SUNSET DR                                                                                   LANSING           MI    48917‐9619
JOHN S BROOKS                                     771 GLENNS FARM WAY                                                                              GRAYSON           GA    30017‐4923
JOHN S BUCKINGHAM                                 2637 LIBERTY PARKWAY                                                                             BALTIMORE         MD    21222‐4412
JOHN S BURK                                       458 OAK RIDGE ROAD                                                                               CLARK             NJ    07066‐2843
JOHN S BURKE & MRS HELEN J BURKE JT TEN           1700 VOORHEES AVE                                                                                MANHATTAN         CA    90266‐7046
                                                                                                                                                   BEACH
JOHN S BURTON                                     1877 LIDDESDALE                                                                                  DETROIT           MI    48217‐1145
JOHN S BUXTON CUST SARA LILIAN PREOT BUXTON       716 PETE DONNELLY LN                                                                             AWENDAW           SC    29429‐6156
UGMA SC
JOHN S CANO & SALLY CANO JT TEN                   789 AVOCADO AVE                                                                                  CORONA DL MAR     CA    92625‐1939
JOHN S CAROTHERS                                  2127 LONDONDERRY DRIVE                                                                           MURFREESBORO      TN    37129‐1310
JOHN S CARPENTER & DELORES CARPENTER JT TEN       15660 OAKHILL                                                                                    EAST CLEVELAND    OH    44112‐2917

JOHN S CASTAGNINI                                 458 CAVOOR STREET                                                                                OAKLAND           CA    94618‐1077
JOHN S CHAPERON                                   2825 NE 35 CT                                                                                    FT LAUDERDALE     FL    33308‐5815
JOHN S CHARNETSKY                                 PO BOX 2194                                                                                      LK HAVASU CTY     AZ    86405‐2194
JOHN S CHILD & BEATRICE L CHILD TEN ENT           8221 SEMINOLE AVE                                                                                PHILA             PA    19118‐3929
JOHN S CHILDERS CUST AMY S CHILDERS UTMA NC       1375 WATERLILY RD                                                                                COINJOCK          NC    27923‐9740

JOHN S CIANCIO                                    1014 DOVER AVE                                                                                   WILMINGTON        DE    19805‐2508
JOHN S CLARK                                      622 BAILEY DR                                                                                    BATAVIA           IL    60510‐8690
JOHN S CLUGSTON                                   4025 BURBANK DR                                                                                  CONCORD           CA    94521‐1023
JOHN S COBB TR JOHN S COBB REVOCABLE TRUST UA     34 HASTINGS ROAD                                                                                 WOODSVILLE        NH    03785‐4907
02/09/99
JOHN S COLE                                       5600 WESLEY AV                                                                                   BALTIMORE         MD    21207‐6827
JOHN S COLEMAN                                    PO BOX 621                                                                                       GREENVILLE        IL    62246‐0621
JOHN S COLEMAN JR                                 5 AUGUSTA DR                                                                                     SOUTHERN PINES    NC    28387‐2969
JOHN S COLLA                                      750 MCCLAY RD                                                                                    NOVATO            CA    94947‐3874
JOHN S COOK & MARY A COOK JT TEN                  23692 BROADMOOR PARK LN                                                                          NOVI              MI    48374
JOHN S COOK & MRS MAXINE COOK JT TEN              116 S MARKET                                                                                     MEMPHIS           MO    63555‐1444
JOHN S COOMER                                     42121 CHASE LAKE ROAD                                                                            DEER RIVER        MN    56636‐3170
JOHN S COWAN                                      1106 W CHISUM AV                                                                                 ARTESIA           NM    88210‐1819
JOHN S COWAN JR                                   1106 CHISUM                                                                                      ARTESIA           NM    88210‐1819
JOHN S CRIDER                                     42635 COLLING DR                                                                                 CANTON            MI    48188‐1172
JOHN S CROOK JR                                   417 GROVEWOOD DR                                                                                 BEECH GROVE       IN    46107‐2441
JOHN S CRYDERMAN                                  2120 SAVOY AVE                                                                                   BURTON            MI    48529‐2174
JOHN S CURREN                                     288 SUNNY ACRE DRIVE                                                                             BEDFORD           IN    47421‐7815
JOHN S D'APPOLONIA & CHRISTINA J D'APPOLONIA JT   8401 CONNECTICUT AVE                                                                             CHEVY CHASE       MD    20815
TEN
JOHN S DALZIEL                                    21994 CRICKET LANE                                                                               STRONGSVILLE      OH    44136‐1127
JOHN S DATTOLI                                    567 OLD WARREN ROAD                                                                              SWANSEA           MA    02777‐4217
JOHN S DAVIS III & DEBORAH S DAVIS JT TEN         26480 MILLER BAY RD NE                                                                           KINGSTON          WA    98346‐9404
JOHN S DEJOVINE & TINA M KECK JT TEN              5468 CLINTON LANE                                                                                HIGHLAND HTS      OH    44143‐1959
JOHN S DELLASVETURA TR JOHN S DELLASVETURA        7 CONANT RD UNIT 56                                                                              WINCHESTER        MA    01890‐1163
TRUST UA 04/24/97
JOHN S DICE                                       18401 CARTER RD                                                                                  ATLANTA           MI    49709‐8981
JOHN S DILLARD                                    764 E 219TH STREET #2                                                                            BRONX             NY    10467‐5306
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 261 of 855
Name                                             Address1                                Address2              Address3         Address4          City               State Zip

JOHN S DIPASQUALE                                394 WEST 10TH STREET                                                                             SALEM              OH    44460‐1518
JOHN S DOBRILOVIC                                2140 S DUCK CREEK                                                                                NORTH JACKSON      OH    44451‐9626
JOHN S DOMBROWSKI                                1235 GLEN LEVEN ROAD                                                                             ANN ARBOR          MI    48103‐5713
JOHN S DONOVAN & MIRIAM A DONOVAN JT TEN         3116 GRACEFIELD RD APT 106                                                                       SILVER SPRING      MD    20904
JOHN S DOOLEY                                    14646 CEDARGROVE                                                                                 DETROIT            MI    48205‐3610
JOHN S DOOLEY JR                                 14646 CEDARGROVE                                                                                 DETROIT            MI    48205‐3610
JOHN S DUNLOP                                    1527 LAKESIDE ST                        OSHAWA ON                              L1J 3Y4 CANADA
JOHN S DURA                                      15937 BRADFORD DR                                                                                CLINTON TOWNSHIP MI      48038‐1000

JOHN S EDWARDS                                   1108 W CLEARVIEW DR                                                                              GLEN ROCK          PA    17327‐7923
JOHN S ERRERA & CONSUELO ERRERA JT TEN           1833 W LUNT AVE                                                                                  CHICAGO            IL    60626
JOHN S ESTANICH & CATHERINE J ESTANICH TEN ENT   12508 WOLFE DEN CT                                                                               MONROVIA           MD    21770‐9134

JOHN S ESTERLY                                   936 E 55TH ST                                                                                    CHICAGO            IL    60615‐5016
JOHN S F MACLEAN                                 3928 ORMOND RD                                                                                   LOUISVILLE         KY    40207‐2069
JOHN S FANKO                                     13844 RUPPERT RD                                                                                 PERRY              MI    48872‐9576
JOHN S FORBES                                    50 SETTLERS CT SE                                                                                MARIETTA           GA    30067‐4232
JOHN S FRANCO                                    RUA DR VASEO ROCHA 54                   3840 VAGOS                             PORTUGAL
JOHN S FRATANGELO & SUSAN B FRATANGELO JT TEN    44 GENESEE STREET                                                                                CLYDE              NY    14433

JOHN S FREDRICKS                                 88 HILES AVE                                                                                     SALEM              NJ    08079‐1253
JOHN S FREDRICKS & JANE A FREDRICKS JT TEN       88 HILES AVE                                                                                     SALEM              NJ    08079‐1253
JOHN S GARDINER                                  38729 COVINGTON DR                                                                               STERLING HEIGHTS   MI    48312‐1313

JOHN S GERZSENY                                  376 N JACK PINE CIR                                                                              FLINT           MI       48506‐4566
JOHN S GILL                                      APT 305                                 773 EAST JEFFERY ST                                      BOCA RATON      FL       33487‐4174
JOHN S GORDINIER                                 2190 NE 68TH ST                         APT 528                                                  FT LAUDERDALE   FL       33308
JOHN S GOTTLIEB                                  760 N BEVERLY GLEN BLVD                                                                          LOS ANGELES     CA       90077‐3102
JOHN S GRAY                                      2425 DEXTER RD                                                                                   PONTIAC         MI       48326‐2311
JOHN S GRECH                                     28200 27 MILE ROAD                                                                               NEW HAVEN       MI       48048‐1701
JOHN S GRIFFIN                                   8351 JEFFERSON ROAD                                                                              CLIFFORD        MI       48727‐9713
JOHN S GUTTMANN                                  409 HOLLY LN                                                                                     CEDAR GROVE     NJ       07009‐3204
JOHN S HAGNER                                    10609 MARRIOTTSVILLE RD #A                                                                       RANDALLSTOWN    MD       21133‐1309
JOHN S HAINES & JANET L HAINES JT TEN            028 FAIRWAY LN                                                                                   GLENWOOD SPRING CO       81601‐9515

JOHN S HAMILTON                                  555 RIO VISTA                                                                                    WEEMS              VA    22576‐2006
JOHN S HANSON & ELIZABETH M HANSON JT TEN        29 BUFFALO ST                                                                                    CLARKSTON          MI    48346‐2101
JOHN S HARDING                                   902 JACKSONVILLE RD                                                                              BURLINGTON         NJ    08016‐3814
JOHN S HARON                                     1159 W BROADWAY                                                                                  ALEXANDRIA         IN    46001‐8158
JOHN S HARTMANN                                  22845 MURRAY ST                                                                                  EXCELSIOR          MN    55331‐3121
JOHN S HARTSOG & MRS MAMIE E HARTSOG JT TEN      51 OAK KNOLL RD                                                                                  WILMINGTON         DE    19808‐3113

JOHN S HAYWORTH                                  328 NORTH IRVINGTON                                                                              INDIANAPOLIS       IN    46219‐5718
JOHN S HEANEY                                    1251 HAWTHORNE                                                                                   YPSILANTI          MI    48198‐5943
JOHN S HERSEY                                    PO BOX 5098                                                                                      VICTORIA           TX    77903‐5098
JOHN S HIBBERD                                   611 AUXERRE CIRCLE                                                                               SEFFNER            FL    33584‐7612
JOHN S HILL                                      5424 BUCKNECK RD                                                                                 BRADFORD           OH    45308
JOHN S HILL & MRS PATSY A HILL JT TEN            5424 BUCKNECK RD                                                                                 BRADFORD           OH    45308
JOHN S HOLMAN TR JOSHUA R HOLMAN TRUST UA        6255 TERRACINA AVE                                                                               ALTA LOMA          CA    91737‐6919
05/30/00
JOHN S HOLMES                                    1021 NE MAIN STREET                                                                              PAOLI              IN    47454‐9233
JOHN S HOUSTON                                   6507 GOLDEN RING RD                                                                              BALTIMORE          MD    21237‐2047
JOHN S HRIBERNIK                                 8343 E HADLEY ROAD                                                                               CAMBY              IN    46113‐8699
JOHN S HUBBARD                                   6102 DUPONT ST                                                                                   FLINT              MI    48505‐2684
JOHN S INGHAM                                    28 BIRCH LN                                                                                      CUMB FORESIDE      ME    04110‐1202
JOHN S JAKUBOWICZ                                25137 LYNDON                                                                                     DETROIT            MI    48239‐3313
JOHN S JARDIN CUST JOHN PETER JARDIN UGMA MA     2324 TRAVIS ROBERT AVE                                                                           VALRICO            FL    33594‐4631
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 262 of 855
Name                                              Address1                            Address2             Address3          Address4          City             State Zip

JOHN S JARONIK TR JOHN S JARONIK TR UA 04/30/81   868 HIGHVIEW TER                                                                             LAKE FOREST      IL    60045‐3231

JOHN S JESENSKY JR                                32670 BRIDGESTONE DRIVE                                                                      NORTH RIDGEVILLE OH    44039‐4396

JOHN S JIMOS                                       117 W DARTMOUTH                                                                             FLINT            MI    48505‐4029
JOHN S JUSTICE                                     35 FALLS RD                                                                                 ROXBURY          CT    06783‐2013
JOHN S KALT                                        BOX 143                            6900 TUBSPRING                                           ALMONT           MI    48003‐8327
JOHN S KALT & CATHLEEN E KALT JT TEN               PO BOX 143                                                                                  ALMONT           MI    48003‐0143
JOHN S KARHOFF & JOANNA R KARHOFF JT TEN           6194 BALLS MILL ROAD                                                                        MIDLAND          VA    22728‐1909
JOHN S KAYE                                        11318 JENNINGS RD                                                                           LINDEN           MI    48451‐9432
JOHN S KEHOE                                       1561 INDIAN CREEK ROAD                                                                      TEMPERANCE       MI    48182‐9244
JOHN S KERR                                        639 GASTEIGER RD                                                                            MEADVILLE        PA    16335‐4901
JOHN S KILMER III TOD KATHLEEN KILMER              22891 WALNUT LANE                                                                           GENOA            OH    43430‐1133
JOHN S KILMER III TOD KATHLEEN KILMER SUBJECT TO 22891 WALNUT LN                                                                               GENOA            OH    43430‐1133
STA TOD RULES
JOHN S KILMER IV                                   22891 WALNUT LANE                                                                           GENOA            OH    43430‐1133
JOHN S KINCZEL                                     226 BUCKS MEADOW LANE                                                                       NEWTOWN          PA    18940‐1410
JOHN S KLIMEK                                      11357 LUMPKIN ST                                                                            HAMTRAMCK        MI    48212‐2905
JOHN S KOBIEROWSKI                                 13368 W CYPRESS ST                                                                          GOODYEAR         AZ    85338‐3120
JOHN S KOBOSKO                                     108 FOGG WAY                                                                                HINGHAM          MA    02043‐1628
JOHN S KOENIG & KATHLEEN H KOENIG JT TEN           8272 ORHAN AVE                                                                              CANTON           MI    48187‐4223
JOHN S KOLOSKI TR UA 04/12/90 JOHN S KOLOSKI TRUST 2217 OTHELLO COVE                                                                           FORT WAYNE       IN    46818‐9152

JOHN S KOOKOGEY                                 322 S MARTIN ST                       APT 122                                                  TITUSVILLE       PA    16354‐1882
JOHN S KUTA                                     9046 HERNANDO WAY                     THE HEATHER                                              BROOKSVILLE      FL    34613‐7469
JOHN S LARSEN                                   908 SHADY TREE LN                                                                              PAPILLION        NE    68046‐6188
JOHN S LARSON                                   23899 STANFORD ROAD                                                                            CLEVELAND        OH    44122‐2676
JOHN S LAUVE                                    622 SUNNINGDALE                                                                                GROSSE POINTE    MI    48236‐1628
JOHN S LEE JR                                   23 WINDSWEPT RD                                                                                E FALMOUTH       MA    02536‐5218
JOHN S LINDSAY                                  200 IRON BRIDGE ROAD                                                                           FREEPORT         PA    16229‐1718
JOHN S LINKER & KATHLEEN M LINKER JT TEN        7474 WEST COLDWATER                                                                            FLUSHING         MI    48433‐1120
JOHN S LITTLE                                   300S                                  7519 E COUNTY RD                                         DUNKIRK          IN    47336
JOHN S LITZENBERGER & BARBARA H LITZENBERGER JT 141 ALTADENA DRIVE                                                                             PITTSBURGH       PA    15228‐1003
TEN
JOHN S LONG                                     PO BOX 71                                                                                      BRUNI            TX    78344‐0071
JOHN S LONG TR U‐W‐O JOHN E LONG                PO BOX 71                                                                                      BRUNI            TX    78344‐0071
JOHN S MADURAS & MARY PETRISHIN MADURAS JT TEN 190 SOUTH BEDFORD ROAD                                                                          CHAPPAGUA        NY    10514‐3451

JOHN S MAHONEY & RUTH M MAHONEY JT TEN            100 FORREST HILLS CIR                                                                        DICKSON          TN    37055‐1518
JOHN S MAJEWSKI                                   2377 KENNELY ROAD                                                                            SAGINAW          MI    48609‐9315
JOHN S MALCOMSON                                  104 S NAVARRE                                                                                AUSTINTOWN       OH    44515‐3208
JOHN S MALICKI                                    115 SHAWNEE DR                                                                               NATRONA          PA    15065‐2337
JOHN S MARKHAM                                    7790 MORGAN RD                                                                               WEST JEFFERSON   OH    43162‐9505
JOHN S MATEJEWSKI                                 708 KINGSWOOD ST                                                                             DURAND           MI    48429‐1736
JOHN S MC CORMICK                                 213 KERMIT WARREN RD                                                                         MOUNT OLIVE      NC    28365‐6947
JOHN S MC CUTCHEN                                 3866 SPRING HILL ROAD                                                                        REMBERT          SC    29128
JOHN S MCFADDEN                                   18830 RIVERCLIFF DR                                                                          FAIRVIEW PARK    OH    44126‐1746
JOHN S MCVICAR                                    5 WHIP O WILL LN                                                                             MILFORD          MA    01757‐1557
JOHN S MEANY JR                                   9200 S WINCHESTER AVENUE                                                                     CHICAGO          IL    60620‐5607
JOHN S MEIMARIDIS                                 45371 HARMONY LANE                                                                           BELLEVILE        MI    48111‐2413
JOHN S MERTEN                                     72 FRANKLIN RD                                                                               DENVILLE         NJ    07834
JOHN S MEYERS                                     1620 N HURD                                                                                  ORTONVILLE       MI    48462‐9402
JOHN S MILLARD                                    5012 HWY 304                                                                                 ROBINSONVILLE    MS    38664‐9702
JOHN S MILLET & WANDA L MILLET JT TEN             1002 NORTHWICK DRIVE                                                                         PEARLAND         TX    77584‐8146
JOHN S MISURACA                                   12256 KALISPELL ST                                                                           BRIGHTON         CO    80603‐6918
JOHN S MONROE & LINDA G MONROE JT TEN             6725 MARION ST                                                                               GROVE CITY       FL    34224‐8790
JOHN S MONTELEONE                                 19 JENNINGS LANE                                                                             WOODBURY         NY    11797‐3024
JOHN S MONTROIS                                   96 WILDMERE RD                                                                               ROCHESTER        NY    14617‐2318
JOHN S MORGAN                                     603 ANTIETAM DR                                                                              STONE MTN        GA    30087‐5267
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 263 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JOHN S MYERS                                      206 PINEAPPLE ST                                                                               BRADENTON       FL    34207
JOHN S NAGY                                       11779 SW DALLAS S DR                                                                           LAKE SUZY       FL    34269‐8993
JOHN S NEILL                                      5534 LIBERTY BOULEVARD PL                                                                      INDIANAPOLIS    IN    46220‐3491
JOHN S NEWKIRK                                    540 GRALAN DR                                                                                  LANCASTER       PA    17601‐5512
JOHN S NG                                         11203‐32ND AVENUE                     EDMONTON AB                            T6J 3X7 CANADA
JOHN S NOECKER & MARTHA NOECKER JT TEN            91 GRAHAM AVE                                                                                  HUDSON          NY    12534‐2609
JOHN S NOWACZYK                                   6257 PARAKEET RD                                                                               ENGLEWOOD       FL    34224‐8374
JOHN S O'DONNELL CUST CAITLIN M O'DONNELL UGMA    5 ANCIENT RUBBLY WAY                                                                           BEVERLY         MA    01915‐1566
MA
JOHN S O'DONNELL CUST PATRICK S O'DONNELL UGMA    5 ANCIENT RUBBLY WAY                                                                           BEVERLY         MA    01915‐1566
MA
JOHN S OCONNELL JR                                79 HIGH RD                                                                                     NEWBURY         MA    01951‐1725
JOHN S PASUIT                                     815 2ND AVE                                                                                    FREEDOM         PA    15042‐2703
JOHN S PATTERSON JR                               26611 BECKER PINES LN                                                                          KATY            TX    77494‐5105
JOHN S PATTON                                     2507 E US HIGHWAY 136                                                                          HILLSBORO       IN    47949‐8072
JOHN S PATTON                                     1801 EAST 22ND ST                                                                              MUNCIE          IN    47302‐5465
JOHN S PAVLOV                                     2538 S CANFIELD‐NILES RD                                                                       YOUNGSTOWN      OH    44515‐5009
JOHN S PERHACS                                    10565 WALLER RD                                                                                LAUREL          DE    19956
JOHN S PIERCE                                     12344 BRADFORD LANDING WAY                                                                     GLEN ALLEN      VA    23059‐7133
JOHN S PIERCE JR                                  1900 LAUDERDALE DR                    APT C‐105                                                HENRICO         VA    23238‐3917
JOHN S PLESKO                                     495 RIATA RD                                                                                   TULAROSA        NM    88352‐9674
JOHN S PODRASKY                                   14198 GARFIELD                                                                                 REDFORD         MI    48239‐2835
JOHN S POLLOCK JR                                 78 GLEN MAWR DR                                                                                TRENTON         NJ    08618‐2027
JOHN S POPP                                       2823 DONJOY DR                                                                                 HEBRON          KY    41048‐8109
JOHN S PRENDERGAST & ELIZABETH L PRENDERGAST JT   626 FAY‐ANN DRIVE                                                                              BLACKWOOD       NJ    08012‐2826
TEN
JOHN S PRIEST JR                                  404 BAY ROAD                          BOX 1579                                                 SOUTH DUXBURY   MA    02331‐1579
JOHN S RASMUSSEN & CAROLE A RASMUSSEN JT TEN      4458 HICKORY WOOD DRIVE                                                                        OKEMOS          MI    48864‐3076

JOHN S RAYMOND                                    198 CR 3405                                                                                    JOAQUIN         TX    75954‐5740
JOHN S REID & WILMA M REID JT TEN                 158 NORTH KENNILWORTH                                                                          GLEN ELLYN      IL    60137‐5385
JOHN S REVELT                                     2214 W MINERS DR                                                                               DUNLAP          IL    61525‐9046
JOHN S RIEDMAIER                                  911COLUMBIA AVE                                                                                PORT CLINTON    OH    43452‐2203
JOHN S RITTENHOUSE                                26 MANCHESTER CT                                                                               BERWYN          PA    19312‐1863
JOHN S RIVES II                                   1424 ROWAN CT                                                                                  MARIETTA        GA    30066‐2752
JOHN S ROBINSON                                   510 E MARENGO                                                                                  FLINT           MI    48505‐3306
JOHN S ROSEN & MARY E ROSEN JT TEN                12258 RAELYN HILLS DRIVE                                                                       PERRY           MI    48872‐9168
JOHN S ROSEN JR                                   65 FORESTGLEN CIRCLE                                                                           WILLIAMSVILLE   NY    14221‐1360
JOHN S ROSS                                       12982 W PEACOCK ROAD                                                                           ZION            IL    60099‐9432
JOHN S RUSSELL                                    1391 PARKER BLVD                                                                               TONAWANDA       NY    14223
JOHN S RUSSELL JR                                 2 LINDA VISTA ST                                                                               WORCESTER       MA    01603‐1713
JOHN S RYDZEWSKI                                  24632 VENICE                                                                                   NOVI            MI    48374‐2985
JOHN S SCHEIBE                                    2307 BUENA VISTA                                                                               BELMONT         CA    94002‐1525
JOHN S SCHMITT                                    6028 PINEGROVE RD                                                                              CICERO          NY    13039‐9370
JOHN S SCHNABEL                                   45 ROSE AVENUE                                                                                 WESTBURY        NY    11590‐1027
JOHN S SCHROEDER                                  211 KENNEDY ST                                                                                 OTTAWA          OH    45875‐9409
JOHN S SENICK                                     4896 E CLARK RD                                                                                HARRISVILLE     MI    48740‐9796
JOHN S SHALLCROSS SR                              1109 S VERMONT ST                                                                              SMITHFIELD      NC    27577‐3729
JOHN S SHARP                                      3300 SHARP RD                                                                                  ADRIAN          MI    49221‐8631
JOHN S SHERMAN                                    416 FAITH DR                                                                                   GIBSONVILLE     NC    27249‐2675
JOHN S SILOY                                      7142 PITTS BLVD                                                                                N RIDGEVILLE    OH    44039‐3130
JOHN S SKOTKO                                     639 BONNEYBROOK LN                                                                             BRUNSWICK       OH    44212‐1943
JOHN S SOLOMON                                    329 TIMBERRIDGE LN                                                                             AUBURN          GA    30011‐3031
JOHN S STEPANCHAK                                 4159 JASMINE PLACE                                                                             MOUNT JOY       PA    17552‐9232
JOHN S STEWART                                    821 GALVASTON                                                                                  LIBERTY         MO    64068‐9131
JOHN S STOLARSKI & KIM STOLARSKI JT TEN           4465 MAJOR                                                                                     WATERFORD       MI    48329‐1939
JOHN S STROBEL JR                                 BOX 1208                                                                                       EL CENTRO       CA    92244‐1208
JOHN S SULO                                       PO BOX 99                                                                                      NAPLES          NC    28760‐0099
JOHN S SULO & VIOLA I SULO JT TEN                 POST OFFICE BOX 99                                                                             NAPLES          NC    28760‐0099
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 264 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JOHN S SWAJESKI                                   1302 NEWCOMB ROAD                      GREEN ACRES                                              WILMINGTON        DE    19803‐5108
JOHN S SWANTON                                    7212 CRINSTEAD CT                                                                               CINCINNATI        OH    45243‐1202
JOHN S THEISS                                     49 DWINELL CT                                                                                   FRANKLIN          OH    45005‐2015
JOHN S THOMAS                                     288 CREEKWOOD DR                                                                                SUNNYVALE         TX    75182‐2618
JOHN S TICICH                                     2165 CLAIRMONT DR                                                                               UPPER ST CLAIR    PA    15241‐3241
JOHN S TOSH SR & JOHN S TOSH JR TR UW JOHN L TOSH PO BOX 525                                                                                      RISING SUN        MD    21911‐0525

JOHN S TOTH TR STEPHEN J TOTH LIVING TRUST UA     317 BENDER AVE                                                                                  AKRON             OH    44312‐1209
07/24/92
JOHN S TOWLER & MAUREEN A TOWLER JT TEN           10 FRANKLIN AVE                                                                                 CROTON‐ON‐        NY    10520‐3051
                                                                                                                                                  HUDSON
JOHN S TREESE                                     C/O MACDONALD                          PO BOX 617                                               NORTH EASTHAM     MA    02651‐0617
JOHN S TRUITT SR & MILDRED V TRUITT TEN ENT       1621 MILLINGTON RD                                                                              SUDLERSVILLE      MD    21668‐1427
JOHN S TUCKER                                     5140 WEST OUTER DRIVE                                                                           DETROIT           MI    48235‐1357
JOHN S VANDENBERG                                 1065 11TH ST                                                                                    PLAINWELL         MI    49080‐9561
JOHN S VIERLING                                   864 EAST HENDRICKS DRIVE                                                                        ALEXANDRIA        IN    46001‐8901
JOHN S WAGGETT                                    315 SEQUOIA LN                                                                                  LEONARD           MI    48367‐4281
JOHN S WAKEFIELD                                  5429 OAK HARBOR COURT                                                                           INDIANAPOLIS      IN    46237
JOHN S WALKER                                     227 E MANSION                                                                                   JACKSON           MI    49203‐4332
JOHN S WALSH CUST JOHN COLLINS WALSH U/THE FLA    11212 BRADY OAKS CT                                                                             FORT WORTH        TX    76135‐9049
GIFTS TO MINORS ACT
JOHN S WALUSZ                                     123 CORTORET STREET                                                                             LINDEN            NJ    07036‐1108
JOHN S WASHINGTON                                 15479 WALNUT CREEK                                                                              STRONGSVILLE      OH    44136‐5632
JOHN S WATSON                                     1227 PIN OAK DR                        APT L5                                                   FLOWOOD           MS    39232‐9726
JOHN S WATSON II & ALICE W CRULL EX EST ALICE     4820 JAMES DR                                                                                   METAIRIE          LA    70003‐1124
WATSON
JOHN S WEISERT                                    1460 LANCASTER LN                                                                               ZIONSVILLE        IN    46077‐3800
JOHN S WELSHER & MARIE WELSHER JT TEN             3333 N MICHAEL WA 1057                                                                          LAS VEGAS         NV    89108‐4667
JOHN S WESLEY                                     4750 SOUTH COOK ROAD                                                                            OWOSSO            MI    48867‐8918
JOHN S WESOLOWSKI                                 2807 MC GREGOR RD                                                                               LINCOLN           MI    48742‐9765
JOHN S WIERZBICKI                                 26 SHEPHERD WAY                                                                                 KENDALL PARK      NJ    08824‐1464
JOHN S WILLIAMS                                   341 62 VICTOR DRIVE                                                                             EAST LAKE         OH    44095‐2111
JOHN S WILSON                                     GME ZURICH PO 9022                                                                              WARREN            MI    48090‐9022
JOHN S WROBLESKI & JANET M WROBLESKI JT TEN       1408 CARMELITA CT                                                                               CONCORD           CA    94520‐2819

JOHN S YUILLE                                     13620 NORTH 109TH AVE                                                                           SUN CITY          AZ    85351‐2579
JOHN S ZOLINSKI                                   2435 HAYES                                                                                      MARNE             MI    49435‐9751
JOHN SABOL TR UA 03/09/93 THE JOHN SABOL TRUST    4733 ROADOAN RD                                                                                 BROOKLYN          OH    44144‐3106

JOHN SACHASCHIK                                   5404 W 137TH PL                                                                                 CRESTWOOD         IL    60445‐1526
JOHN SAGAL                                        52144 CHARLESTON LANE                                                                           NEW BALTIMORE     MI    48047
JOHN SAHAJDACK JR                                 10965 HILLMAN RD                                                                                LAKEVIEW          MI    48850‐9125
JOHN SALAMAK JR                                   154 BELLEVUE AVENUE                                                                             PENNDEL           PA    19047‐5256
JOHN SALAME                                       18909 HUNTINGTON                                                                                HARPER WOODS      MI    48225‐2044
JOHN SALATKA                                      28058 HOOVER RD                        APT 4                                                    WARREN            MI    48093‐4162
JOHN SALVAGGI                                     555 THE ESPLANADE                                                                               VENICE            FL    34285‐1550
JOHN SALVINO & ROSE SALVINO JT TEN                1835 PORTSHIP RD                                                                                BALTIMORE         MD    21222‐3026
JOHN SALZER                                       3993 CTY RTE 5                                                                                  BURDETT           NY    14818
JOHN SAMUEL JACKSON                               22470 SUZIE LN                                                                                  FOUNTAIN          FL    32438‐6110
JOHN SANDMEYER                                    8806 MONARD DR                                                                                  SILVER SPRING     MD    20910‐1815
JOHN SANTOPIETRO                                  138 NICHOLS RD                                                                                  WOLCOTT           CT    06716‐2719
JOHN SARACENI JR                                  324 MILTONIA ST                                                                                 LINDEN            NJ    07036‐5064
JOHN SARANTOPOULOS                                6729 W 63RD STREET                                                                              CHICAGO           IL    60638‐4003
JOHN SARRATT FANT                                 648 BATSON AVE                                                                                  FORT SILL         OK    73503‐1204
JOHN SATRIALE SR CUST JOHN SATRIALE UGMA NY       4 CADDY LN                                                                                      SUFFERN           NY    10901

JOHN SATTERFIELD                                  320 BLUE MOUNTIAN LAKE                                                                          EAST STRUBSBURG   PA    18301
                                                 09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 265 of 855
Name                                               Address1                                Address2             Address3          Address4          City               State Zip

JOHN SAUCHAK & NINA SAUCHAK JT TEN                 8162 ARNOLD                                                                                      DEARBORN HEIGHTS MI      48127‐1217

JOHN SAUSNOCK                                  241 ORVILLE RD                                                                                       BALTIMORE          MD    21221‐1311
JOHN SAVAS                                     1407 HAWKINS WOOD CIR                                                                                MIDLOTHIAAN        VA    23114‐4252
JOHN SBIEGAY CUST SHAWN ROBERT SBIEGAY UGMA MI 253 MINI RANCH RD                                                                                    SEBRING            FL    33870‐9471

JOHN SCALZA & DEBORAH SCALZA JT TEN                65 HAGAMAN ST                                                                                    CARTERET         NJ      07008‐1916
JOHN SCARNE GAMES INC                              2581 COUNTRYSIDE BLVD #312                                                                       CLEARWATER       FL      33761‐3521
JOHN SCHAVE JR                                     5800 BRINING RD                         PO BOX 121                                               PORT HOPE        MI      48468‐0121
JOHN SCHEIFELE                                     392 AVENIDA CASTILLA UNIT #A                                                                     LAGUNA HILLS     CA      92653‐3755
JOHN SCHERBA                                       9264 COUNTRY CLUB LANE                                                                           DAVISON          MI      48423‐8357
JOHN SCHLEETER                                     17071 OLYMPUS BLVD                                                                               NOBLESVILLE      IN      46062‐6965
JOHN SCHLUCKEBIER                                  4326 BOBBITT                                                                                     DALLAS           TX      75229‐4137
JOHN SCHMIDT                                       2306 BUCKINGHAM                                                                                  WESTCHESTER      IL      60154‐5144
JOHN SCHMIDT & EVA SCHMIDT JT TEN                  59 JOANNE LANE                                                                                   BUFFALO          NY      14227‐1345
JOHN SCHNEIDER & ELIZABETH SCHNEIDER JT TEN        6913 ALGONQUIN AVE                                                                               CHICAGO          IL      60646‐1505
JOHN SCHNITTGRUND                                  7605 S DATURA CIRCLE                                                                             LITTLETON        CO      80120
JOHN SCHODER & HENRY SCHODER JT TEN                7825 E 7TH AVE                                                                                   DENVER           CO      80230
JOHN SCHULENBERG                                   181 LA REATA ROAD                                                                                KERRVILLE        TX      78028‐7533
JOHN SCHUPP                                        15116 W 82ND TER                                                                                 LENEXA           KS      66219
JOHN SCHWARTZ                                      PO BOX 832                                                                                       NEW CANAAN       CT      06840‐0832
JOHN SCHWARZ                                       83 HIGHWOOD TERRACE                                                                              WEEHAWKEN        NJ      07086
JOHN SCIBERRAS & MARY SCIBERRAS JT TEN             4642 PARKER                                                                                      DEARBORN HEIGHTS MI      48125‐2239

JOHN SCOTT                                         5145 N POINT PARK CT                                                                             MONTICELLO         IN    47960‐7315
JOHN SCOTT ALEXANDER                               1135 COTTONWOOD ST                                                                               LAKE ORION         MI    48360‐1463
JOHN SCOTT COOPER                                  8224 FIVE‐POINT HWY                                                                              EATON RAPIDS       MI    48827‐9060
JOHN SCOTT CROWE                                   401 SUTTER GATE LANE                                                                             MORRISVILLE        NC    27560
JOHN SCOTT EDELMAN                                 411 OLD BETHEL RD                                                                                EDINBURG           VA    22824‐3176
JOHN SCOTT HILL & KATHERINE H HILL JT TEN          121 KING ANTHONY WAY                                                                             GETZVILLE          NY    14068‐1415
JOHN SCOTT KEARNS                                  71 BROADLAWN AVENUE                                                                              COLUMBUS           OH    43228
JOHN SCOTT MAC DOUGALL                             2323 N CENTRAL AVE                      STE 1201                                                 PHOENIX            AZ    85004‐1327
JOHN SCOTT PARRISH                                 5306 BURDOCK CREEK                                                                               ACWORTH            GA    30101‐7873
JOHN SEIDLITZ                                      3705 S 13 ST                                                                                     SHEBOYGAN          WI    53081‐7282
JOHN SEKERAK                                       1766 LEXINGTON ST N W                                                                            WARREN             OH    44485‐1723
JOHN SELIG                                         3225 TURTLE CREEK BLVD                  APT 501                                                  DALLAS             TX    75219‐5429
JOHN SELL JR TR JOHN SELL JR TRUST UA 08/30/95     13456 SIMPSON RD                                                                                 BLISSFIELD         MI    49228‐9514

JOHN SELLERS JR & VIVIAN SELLERS JT TEN            1350 DREXEL                                                                                      DETROIT            MI    48215‐2795
JOHN SENITCH                                       98 CHERRY TREE FARM RD                                                                           MIDDLETOWN         NJ    07748‐1644
JOHN SENKOWSKI JR                                  1107 ORCHARD RD                                                                                  ESSEXVILLE         MI    48732‐1912
JOHN SEPS                                          1096 MEADOWBROOK                                                                                 INKSTER            MI    48141‐1929
JOHN SERINO TR UA 07/31/87 ELSURIN TRUST           DAVIS MALM & D'AGOSTINE                 ONE BOSTON PLACE                                         BOSTON             MA    02108‐4407
JOHN SEVALLA                                       1855 DITMARS BLVD                                                                                LONG ISLAND CITY   NY    11105‐3908

JOHN SEXTON JR                                     PO BOX 69                                                                                        METAMORA           MI    48455‐0069
JOHN SHALVIS                                       28367 GRATIOT AVE                                                                                ROSEVILLE          MI    48066‐4209
JOHN SHANLEY                                       126 GALL LN                                                                                      NEW LENOX          IL    60451‐1433
JOHN SHARKEY                                       39 SUNSET DR                                                                                     HOWELL             NJ    07731‐2766
JOHN SHARP                                         364 WAVERLY ST N                        OSHAWA ON                              L1J 5W2 CANADA
JOHN SHARP & MARY SHARP TR SHARP LOVING TRUST      1596 FISHER RD                                                                                   ROSEBURG           OR    97470‐8211
UA 11/10/05
JOHN SHARPLESS MC INTYRE JR                        PO BOX 14087                                                                                     JACKSON            MS    39236‐4087
JOHN SHARPLESS WALKER JR                           431 ARMFIELD STREET                                                                              STATESVILLE        NC    28677‐5701
JOHN SHAW                                          PO BOX 236                                                                                       CEDAR KNOLLS       NJ    07927‐0236
JOHN SHEEHAN                                       275 GORDON DRIVE                                                                                 PARAMUS            NJ    07652‐3323
JOHN SHOUP                                         PO BOX 14                                                                                        MIDDLEBURY         IN    46540‐0014
JOHN SHREVE                                        66 IVORY CT                             BOWMANVILLE ON                         L1C 5C1 CANADA
JOHN SHULEVA & ANN E SHULEVA JT TEN                1369 BUNTS RD APT 304                                                                            LAKEWOOD           OH    44107
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 266 of 855
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

JOHN SIDORENKO                                   655 HIGHLAND DRIVE                                                                             COLUMBUS         OH    43214‐3405
JOHN SIEDLECKI                                   3310 W 157TH                                                                                   CLEVELAND        OH    44111‐2018
JOHN SIEMSEN                                     109 SCARLET OAK CT                                                                             ELIZABETHTOWN    KY    42701‐5545
JOHN SIMKANIN                                    3836 DEXTER ROAD                                                                               ANN ARBOR        MI    48103
JOHN SIMMONS                                     10101 GOVERNOR WARFIELD PKWY          UNIT 161                                                 COLUMBIA         MD    21044‐3321
JOHN SIMON & MRS JEAN M SIMON JT TEN             10310 N W 7 STREET                                                                             PLANTATION       FL    33324‐1007
JOHN SINCLAIRE III                               323 WILD HORSE LANE                                                                            MOUNT PLEASANT   SC    29464‐6270

JOHN SISCO & MRS ANNA SISCO JT TEN               5916 WOODSTCK AVE                                                                              LINCOLN          NE    68512‐1839
JOHN SKOVRAN & MRS ALBERTA I SKOVRAN JT TEN      53 BARBARA ROAD                                                                                BRISTOL          CT    06010‐3806

JOHN SLAIM & CHERY A SLAIM JT TEN                35347 REGENCY LANE                                                                             FARMINGTON HILLS MI    48331‐1453

JOHN SLEZAK & HELEN B SLEZAK TR SLEZAK FAMILY REV 4223 6 MILE RD                                                                                SOUTH LYON       MI    48178‐9635
LVG TRUST UA 7/3/98
JOHN SLIMBARSKI                                   201 COLUMBIA RD                                                                               VALLEY CITY      OH    44280‐9706
JOHN SLIMKO                                       553 MIDDLESEX BLVD                                                                            GROSSE POINTE    MI    48230‐1737
                                                                                                                                                PARK
JOHN SLOAN BROWN                                 24 ASH ST                                                                                      DENVER           CO    80220‐5617
JOHN SLOT                                        15200 SILVER PKWY                     APT 306                                                  FENTON           MI    48430‐3483
JOHN SMITH                                       419 W 8TH                                                                                      LAUREL           MT    59044‐2006
JOHN SMITH HOWARD                                1931 MIAMI ST                         PO BOX 515                                               KINGS MILLS      OH    45034‐0151
JOHN SNIDERMAN CUST ADAM SNIDERMAN UGMA NJ       133 E PALISADE AVENUE APT H                                                                    ENGLEWOOD        NJ    07631‐2249

JOHN SNOW PRINCE                                 2500 BAYBERRY LANE                                                                             VESTAL           NY    13850‐2902
JOHN SOCACIU                                     6413 N 84TH LN                                                                                 GLENDALE         AZ    85305
JOHN SOPHOCLES GAKOS                             12 GRANDVIEW AVE                                                                               NORTH CALDWELL   NJ    07006‐4703

JOHN SOUKARIS                                    29 SESAME ST                          TORONTO ON                             M1W 2R3 CANADA
JOHN SPARACINO                                   66 SUMMER ST APT 5F                                                                            BUFFALO          NY    14209‐2251
JOHN ST JOHN & FRANCES ST JOHN JT TEN            191 MABIE CT                                                                                   MAHWAH           NJ    07430‐2968
JOHN ST PREUX                                    10901 S ARTESIAN                                                                               CHICAGO          IL    60655
JOHN STAATS                                      12090 E ARIZONA AVE                                                                            AURORA           CO    80012‐4243
JOHN STABILE                                     118 TIMBERLANE CT                                                                              YORKSTOWN        NY    10598‐1821
                                                                                                                                                HEIGHTS
JOHN STACEY                                      4247 MIDDLE RUN ROAD                                                                           SPRING VALLEY    OH    45370‐9726
JOHN STAIF                                       28818 COLERIDGE AVE                                                                            HARRISON TWP     MI    48045
JOHN STAJNINGER                                  28570 ANCHOR DRIVE                                                                             NEW BALTIMORE    MI    48047‐5303
JOHN STALLONE CUST ADRIENNE STALLONE UGMA NY     97 DOUGLAS RD                                                                                  STATEN ISLAND    NY    10304‐1504

JOHN STALLONE CUST JOHN CHARLES STALLONE UGMA 97 DOUGLAS RD                                                                                     STATEN ISLAND    NY    10304‐1504
NY
JOHN STALLONE CUST STEVEN STALLONE UGMA NY    97 DOUGLAS RD                                                                                     STATEN ISLAND    NY    10304‐1504

JOHN STALZER                                     16 DANTE PL                                                                                    WALDWICK         NJ    07463‐1208
JOHN STAMPFER & ELIZABETH STAMPFER JT TEN        14306 JOYCE DR                                                                                 WARREN           MI    48088‐6088
JOHN STEEL                                       140 VINEWOOD DR                                                                                SAFETY HARBOR    FL    34695‐4687
JOHN STELLANDER & KATHRYN L STELLANDER JT TEN    210B BLAIR MILL EAST                                                                           HORSHAM          PA    19044‐3052

JOHN STEPHEN                                     173 CHEROVAN DR SW                    CALGARY AB                             T2V 2P4 CANADA
JOHN STEPHEN REILLY                              17 PAYNE CT                                                                                    CLIFTON PARK     NY    12065‐4921
JOHN STEPHEN SUKOLA IV                           4939 HATHAWAY RD                                                                               LEBANON          OH    45036‐9026
JOHN STEPHEN WILSON                              R #1 BOX 254                                                                                   LOOGOOTEE        IN    47553‐9709
JOHN STETZ & DOUGLAS J STETZ JT TEN              3375 N LINDEN RD                      APT 118                                                  FLINT            MI    48504‐5720
JOHN STETZ & JULIA A STETZ JT TEN                3375 N LINDEN RD                      APT 118                                                  FLINT            MI    48504‐5720
JOHN STEVE VARGO JR                              625 N THOMPSONVILLE HWY                                                                        BEULAH           MI    49617
JOHN STILLITTANO                                 78 KNEELAND AVE                                                                                BINGHAMTON       NY    13905‐4142
JOHN STOLLERY & DEBRA STOLLERY JT TEN            328 MCKOWN DR                                                                                  FALLING WTRS     WV    25419
JOHN STOLZ                                       4212 OLD LOCK RD                                                                               WILLIAMSBURG     VA    23188‐7289
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 267 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JOHN STOUTJESDYK & PAULINE STOUTJESDYK JT TEN     2105 RAYBROOK SE ST 3043                                                                        GRAND RAPIDS      MI    49546‐7729

JOHN STRAUB & NICHOLETA STRAUB JT TEN             13106 WILTON OAKS DR                                                                            SILVER SPRING     MD    20906‐3238
JOHN STRAUGHN                                     11070 LEBANON AVE                                                                               CINCINNATI        OH    45242‐1962
JOHN STREPPONE                                    442 WEST 57TH ST                       APT 5A                                                   NEW YORK          NY    10019‐3042
JOHN STRINGER JR                                  2726 PINGREE                                                                                    DETROIT           MI    48206‐2189
JOHN STRUSOWSKI & ANN STRUSOWSKI JT TEN           2604 STEPHENSON DRIVE                                                                           WILMINGTON        DE    19808
JOHN STUART                                       5383 BEAMAN OLD CREEK RD                                                                        WALSTONBURG       NC    27888‐1971
JOHN STUART SHAVER                                9719 HULBERT ROAD                                                                               SEVILLE           OH    44273‐9563
JOHN STUART THOMSEN                               339 WEST SYCAMORE CANE                                                                          LOUISVILLE        CO    80027‐2237
JOHN STUREY & SUSAN E PAPE JT TEN                 12608 EPPING RD                                                                                 SILVER SPRING     MD    20906
JOHN STURTZ                                       2855 MEDFORD DR                                                                                 TOLEDO            OH    43614‐5454
JOHN SUDIK                                        4629 W ORCHID LANE                                                                              GLENDALE          AZ    85302‐5208
JOHN SULLIVAN                                     611 POPLAR                                                                                      ROYAL OAK         MI    48073‐3239
JOHN SUPER                                        4244 WASHINGTON                                                                                 DOWNERS GROVE     IL    60515‐2121
JOHN SUTTER & MARY JO SUTTER JT TEN               307 QUENTIN DR                                                                                  SAN ANTONIO       TX    78201‐3733
JOHN SUTTON & MRS CAROLINE SUTTON JT TEN          835 PENNSYLVANIA AVE                                                                            BRIDGEPORT        WV    26330‐1238
JOHN SVIZZERO                                     59 GURNET ROAD                                                                                  DUXBURY           MA    02332‐4013
JOHN SWEETERMAN                                   816 HILLERMAN LN                                                                                KETTERING         OH    45429‐5431
JOHN SWEEZER                                      329 CORTLAND ST                                                                                 HIGHLAND PARK     MI    48203‐3434
JOHN SWIECILO                                     8721 KENNEDY CIR APT 3                                                                          WARREN            MI    48093‐2248
JOHN SYDOR                                        494 TIMBERLEA DR                       APT 109                                                  ROCHESTER HLS     MI    48309‐2671
JOHN SYMCHECK                                     18 MOWERY LN                                                                                    FREDERICKTOWN     PA    15333‐2316
JOHN SZAFRANSKI & MARY ANN SZAFRANSKI JT TEN      319 YALE AVE                                                                                    POINT PLEASANT    NJ    08742‐3136
                                                                                                                                                  BCH
JOHN SZARKO                                       97 MOSLE ROAD                                                                                   FAR HILLS         NJ    07931‐2235
JOHN T ALFIREVIC TR UA 11/14/96 THE JOHN T        2311 S 3RD AVE                                                                                  N RIVERSIDE       IL    60546‐1203
ALFIREVIC REV TRUST
JOHN T ALSGAARD                                   4925 SPANISH OAKS CIR                                                                           FERNANDINA        FL    32034‐5679
JOHN T AMICK                                      110 MARQUETTE ST                                                                                BAY CITY          MI    48706‐4845
JOHN T ANDERSON                                   5925 TRUMAN DRIVE                                                                               FORT WORTH        TX    76112‐7935
JOHN T ANDERSON                                   5021 WAPLE LN                                                                                   ALEXANDRIA        VA    22304‐7727
JOHN T ANDREWS JR                                 56 FARMERSVILLE RD                                                                              CALIFON           NJ    07830‐3303
JOHN T ANIPEN JR                                  299 VALLEY VIEW RD                                                                              LA FOLLETTE       TN    37766‐5464
JOHN T APPLETON & NANCY J APPLETON JT TEN         662 HOPKINS HILL ROAD                                                                           WEST GREENWICH    RI    02817‐2562

JOHN T ARGENZIANO & ELMA C ARGENZIANO JT TEN      224 TUPELO DR                                                                                   NAPERVILLE        IL    60540‐7929

JOHN T ARMS                                       1013 EISENHOWER AVE                                                                             JANESVILLE        WI    53545‐1781
JOHN T ATKINSON                                   4649 THANKSGIVING LANE                                                                          PLANO             TX    75024
JOHN T ATWOOD                                     9701 RIVER RD                                                                                   NEWPORT NEWS      VA    23601‐4247
JOHN T AUBLE & ELLEN C AUBLE & MARY ELLEN DAVEY   41 CHINKAPIN CIR                                                                                HOMOSASSA         FL    34446‐5217
JT TEN
JOHN T AUBLE & ELLEN C AUBLE JT TEN               41 CHINKAPIN CIR SMW                                                                            HOMOSASSA         FL    34446
JOHN T AYRES PERSONAL REPRESENTATIVE OF THE       9405 N 42ND ST                                                                                  HICKORY CORNERS   MI    49060‐9510
ESTATE OF MARION H AYRES
JOHN T BAIN SR                                    10413 NORTH ROOKER RD                                                                           MOORESVILLE       IN    46158
JOHN T BAKER & MICHAELINE B BAKER JT TEN          206 CONHOCKEN CT                                                                                MURFREESBORO      TN    37128‐4782
JOHN T BALLA                                      28919 HIDDEN TRL                                                                                FARMINGTN HLS     MI    48331‐2902
JOHN T BANDZUH & IRENE M BANDZUH JT TEN           294 PLANE RD                                                                                    PORTAGE           PA    15946‐6704
JOHN T BANN                                       217 CLARK ST                                                                                    WESTVILLE         IL    61883‐1307
JOHN T BARTON                                     315 NE 28TH AVE 102                                                                             PORTLAND          OR    97232‐3163
JOHN T BARTUSEK & SHIRLEY A BARTUSEK JT TEN       91 S MAPLE AVE                                                                                  LE CENTER         MN    56057‐1115
JOHN T BERGER                                     76 SAND HILL RD                                                                                 WEATOGUE          CT    06089‐9701
JOHN T BERKHEISER                                 1669 CORNERSVILLE HWY                                                                           LEWISBURG         TN    37091‐5108
JOHN T BERTHET                                    2628 OGDEN DR                                                                                   ORCHARD LAKE      MI    48323‐3244
JOHN T BEST                                       249 EAST 77TH ST                                                                                ANDERSON          IN    46013‐3906
JOHN T BIGGERS                                    2995 EAST TROY AVENUE                                                                           BEECH GROVE       IN    46107‐1451
JOHN T BLACK                                      5286 OLD FRANKLIN                                                                               GRAND BLANC       MI    48439‐8752
                                               09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 268 of 855
Name                                             Address1                           Address2             Address3          Address4          City             State Zip

JOHN T BLAZEY                                    3708 NIBAWAUKA BCH                                                                          CANANDAIGUA      NY    14424‐9725
JOHN T BLUHM JR                                  675 MANSTON DR                                                                              MELBOURNE        FL    32901‐2824
JOHN T BODE                                      130 WEST WISCONSIN AVENUE          #26                                                      PEWAUKEE         WI    53072‐3461
JOHN T BOGART                                    2062 ROSELYN DRIVE                                                                          FEASTERVILLE     PA    19053‐2429
JOHN T BRASINGTON                                9309 NW 14 PL                                                                               GAINESVILLE      FL    32606‐5579
JOHN T BRATCHER JR                               PO BOX 115                                                                                  ROCKVALE         TN    37153‐0115
JOHN T BREHM                                     895 W DOUGLAS AVE                                                                           NASHVILLE        TN    37206‐3304
JOHN T BRIDGERS                                  61 ARMSTRONG CIRCLE                                                                         BRAINTREE        MA    02184‐6820
JOHN T BROWN                                     BOX 2541                                                                                    CAMDEN           NJ    08101‐2541
JOHN T BROWN & JEAN M BROWN JT TEN               52130 SPERRY RD                                                                             VERMILION        OH    44089‐9405
JOHN T BROZ JR CUST ALEX JOHN BROZ UTMA IL       16517 COURTSIDE DR                                                                          LOCKPORT         IL    60441‐7015
JOHN T BROZ JR CUST JAKE ANDREW BROZ UTMA IL     16517 COURTSIDE DRIVE                                                                       LOCKPORT         IL    60441‐7015

JOHN T BUNETTA                                   41312 GREENBRIAR                                                                            PLYMOUTH         MI    48170‐2624
JOHN T BURDA JR                                  2335 ELDERBERRY LN                                                                          REISTERSTOWN     MD    21136‐4032
JOHN T BUTLER                                    2630 CLARENCE ODUM RD NW                                                                    MONROE           GA    30656‐3917
JOHN T BUTLER                                    166 HIGH VIEW DR                                                                            STRATFORD        CT    06614
JOHN T BYLICA & MRS AMELIA S BYLICA JT TEN       325 S JACKSON                                                                               BEVERLY HILLS    FL    34465‐4072
JOHN T BYRNE                                     4801A STURBRIDGE LN                                                                         LOCKPORT         NY    14094‐3459
JOHN T CAFFERTY & ELIZABETH CAFFERTY JT TEN      31 SOUTHERN RED ROAD                                                                        BLUFFTON         SC    29909
JOHN T CALLEN & SUSAN G CALLEN JT TEN            PO BOX 3272                                                                                 OMAK             WA    98841‐3272
JOHN T CAMPBELL                                  334 KROLIK AVE                                                                              BELLE VERNON     PA    15012‐2418
JOHN T CANAVAN                                   1222 FOLEY ROAD                                                                             CROSBY           TX    77532
JOHN T CASTILLEJA                                1225 NE 81ST TER                                                                            KANSAS CITY      MO    64118‐1322
JOHN T CAVACIUTI                                 1575 N ORWELL RD                                                                            SHOREHAM         VT    05770‐9562
JOHN T CHANEY                                    106 AVE C                                                                                   CARROLLTON       GA    30117‐2808
JOHN T CHEGAR                                    328SAWMILL DR                                                                               CORTLAND         OH    44410‐1625
JOHN T CHRISMAN                                  6407 CAMINO VIVIENTE                                                                        GOLETA           CA    93117‐1523
JOHN T COMPTON & LISA M COMPTON JT TEN           21 EXCHANGE ST                                                                              LE ROY           NY    14482‐1522
JOHN T CONRAD                                    24 SPRINGDALE DR                   KITCHENER ON                           N2K 1P9 CANADA
JOHN T COTTER & RITA COTTER TR LIVING TRUST      11835 MEADOW DR                                                                             PORT RICHEY      FL    34668‐1162
03/23/88 U‐A F‐B‐O JOHN T
JOHN T COURTNEY                                  625 THOMAS ST                                                                               JANESVILLE       WI    53545‐2451
JOHN T CRAUN                                     465 SOUTH CENTER ROAD                                                                       SAGINAW          MI    48603‐6116
JOHN T CRAWFORD 2ND                              21212 WALLACE                                                                               SOUTHFIELD       MI    48075‐3872
JOHN T CROWE                                     ROUTE 1                            BOX 174                                                  MULKEYTOWN       IL    62865‐9779
JOHN T CROWELL                                   116 PROSPECT HILL RD               PO BOX 71                                                HANCOCK          NH    03449‐0071
JOHN T CROWLEY                                   418 W 17TH ST                                                                               NY               NY    10011‐5812
JOHN T CZERNIAK & LENORA M CZERNIAK JT TEN       606 TRAM ROAD                                                                               MT PLEASANT      PA    15666‐8847
JOHN T DAWSON                                    254 TILDEN                                                                                  PONTIAC          MI    48341‐1863
JOHN T DE COURCY II                              2127 ROBINSON AVE                                                                           KINGMAN          AZ    86401‐4749
JOHN T DE SIMONE                                 133 SARATOGA RD                    BUILDING C APT 11                                        SCOTIA           NY    12302
JOHN T DOLAN JR                                  8800 CREEK RUN DR                                                                           BONITA SPRINGS   FL    34135‐9500
JOHN T DOREMUS                                   3612 PARHAM DRIVE                                                                           CHATTANOOGA      TN    37412‐1833
JOHN T DOWNS EX UW HULDA DOWNS                   5129 WEBBER ROAD                                                                            KNOXVILLE        TN    37920‐3826
JOHN T DRAKE                                     7155 ACHILL DRIVE                                                                           DUBLIN           OH    43017‐2634
JOHN T DUBERG JR                                 G8422 FENTON RD                                                                             GRAND BLANC      MI    48439
JOHN T DURALIA JR                                10867 LINN ROAD                                                                             ESPYVILLE        PA    16424‐4154
JOHN T DYE                                       509 N BROAD ST                                                                              LANCASTER        OH    43130‐3032
JOHN T EAVES                                     3667 N HWY 113                                                                              TEMPLE           GA    30179‐2569
JOHN T EMMI                                      12342 BROCK AVE                                                                             DOWNEY           CA    90242‐3504
JOHN T FAHEY                                     3006 FALLEN OAK RD                                                                          MORGANTOWN       WV    26508
JOHN T FARON & MRS MARY F FARON JT TEN           3349 HYDE WAY                                                                               VISALIA          CA    93291‐4234
JOHN T FARON & MRS MARY R FARON JT TEN           3349 HYDE WAY                                                                               VISALIA          CA    93291‐4234
JOHN T FEIT                                      613 S MARLYN AVE                                                                            BALTIMORE        MD    21221‐5235
JOHN T FERGUSON                                  4023 N 26TH ST                                                                              ARLINGTON        VA    0ZZZZ
JOHN T FERGUSON JR                               4790 FINLAY ST                                                                              RICHMOND         VA    23231‐2754
JOHN T FICZERI                                   38946 GARDENSIDE DR                                                                         WILLOUGHBY       OH    44094‐7908
JOHN T FINLEY                                    835 LYNN                                                                                    VIDOR            TX    77662‐6428
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 269 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

JOHN T FINLEY                                    2491 STILLWAGON RD SE                                                                           WARREN          OH    44484‐3175
JOHN T FINUCAN                                   10142 N EDGEWOOD SHORES RD                                                                      EDGERTON        WI    53534‐8936
JOHN T FISHER & MELVA J FISHER JT TEN            PO BOX 211                                                                                      INWOOD          WV    25428‐0211
JOHN T FLEMING                                   1116 SANDRA ST SW                                                                               DECATUR         AL    35601‐5456
JOHN T FONTELLO                                  1026 11TH AVENUE                                                                                WILMINGTON      DE    19808‐4969
JOHN T FORD                                      2692 ABINGTON DRIVE                                                                             SNELLVILLE      GA    30078‐3493
JOHN T FORTON                                    131 STRATFORD DR                                                                                WHITMORE LAKE   MI    48189‐9023
JOHN T FOTOVICH JR                               4841 N 107TH STREET                                                                             KANSAS CITY     KS    66109‐4179
JOHN T FOWNES                                    904 RED OAK DR                                                                                  PITTSBURGH      PA    15238‐1309
JOHN T FRED JR                                   20074 HERZOG DRIVE                                                                              ROCKWOOD        MI    48173‐8626
JOHN T FREEMAN III                               501 EDWARDS RD #13                                                                              GREENVILLE      SC    29615‐1271
JOHN T GALLAGHER JR                              PO BOX 1257                                                                                     LINCOLN         NH    03251‐1257
JOHN T GATES                                     1409 E ZELL RD                                                                                  SUMMITVILLE     IN    46070‐9001
JOHN T GILLIO                                    87‐36 111TH ST                                                                                  RICHMOND HILL   NY    11418‐2313
JOHN T GILMORE III                               4300 MT SCOTT                                                                                   WICHITA FALLS   TX    76310‐2474
JOHN T GLYNN & MRS SANDRA L GLYNN JT TEN         17036 WAHOO LANE                                                                                SUMMRLND KEY    FL    33042‐3627
JOHN T GODWIN                                    529 SISKIN CIRCLE                                                                               NORTH AUGUSTA   SC    29841‐3124
JOHN T GRAHAM                                    19487 WARWICK                                                                                   DETROIT         MI    48219‐2140
JOHN T GRALTON                                   W227 S 8075 GUTHRIE DR                                                                          BIG BEND        WI    53103‐9624
JOHN T GRAVES                                    2780 ASHWELL LN                                                                                 SAN RAMON       CA    94582‐2904
JOHN T GREGORY                                   PO BOX 812                                                                                      MADISONVILLE    KY    42431‐0017
JOHN T GREXA                                     8156 THOMPSON SHARPSVILLE                                                                       MASURY          OH    44438‐8718
JOHN T GUNN                                      556 E 91ST PLACE                                                                                CHICAGO         IL    60619‐7432
JOHN T GUSTAFSON                                 N 5045 CANFIELD LANE                                                                            ST AGNUS        MI    49781‐9348
JOHN T HABRAT JR                                 2805 RALPH AVE                                                                                  CLEVELAND       OH    44109‐5415
JOHN T HABRAT JR CUST MICHELLE MARIE HABRAT      2805 RALPH AVE                                                                                  CLEVELAND       OH    44109‐5415
UGMA OH
JOHN T HABRAT JR CUST SUZANNE MARIE HABRAT       2805 RALPH AVE                                                                                  CLEVELAND       OH    44109‐5415
UGMA OH
JOHN T HADLEY & JOANNE K HADLEY JT TEN           836 FOREST DRIVE                                                                                ANDERSON        IN    46011‐1234
JOHN T HALL                                      1950 BOLOCK HWY                                                                                 CHARLOTTE       MI    48813‐8650
JOHN T HALL III                                  3108 PALMER                                                                                     LANSING         MI    48910‐5901
JOHN T HANASACK                                  24916 WINONA ST                                                                                 DEARBORN        MI    48124‐1590
JOHN T HARR                                      7727 ADAIR RD                                                                                   CASCO           MI    48064‐1530
JOHN T HARRIS                                    2732 N BALTIMORE AVE                                                                            INDIANAPOLIS    IN    46218‐2632
JOHN T HARTIN & MAUREEN R HARTIN TR HARTIN FAM   1032 INVERLOCHY DR                                                                              FALLBROOK       CA    92028‐5410
TRUST UA 09/07/89
JOHN T HARVEY                                    1902 KENT ST                                                                                    FLINT           MI    48503‐4316
JOHN T HATHAWAY                                  PO BOX 67                                                                                       DUGGER          IN    47848
JOHN T HAWKINS                                   PO BOX 2232                                                                                     BETHAL ISLAND   CA    94511‐3232
JOHN T HAYES                                     4108 SIMMENTAL LANE                                                                             LUTTS           TN    38471‐5335
JOHN T HAZARD & MARION B HAZARD JT TEN           20008 THURMAN BEND RD                                                                           SPICEWOOD       TX    78669‐1750
JOHN T HEITMANN                                  62199 E IRON CREST DR                                                                           TUCSON          AZ    85739‐1759
JOHN T HERRIDGE & MRS MYRTLE ANN HERRIDGE JT     2104 CHARDON RD                                                                                 COLUMBUS        OH    43220‐4461
TEN
JOHN T HESCH                                     543 BREEZY OAK WAY                                                                              APOPKA          FL    32712‐3317
JOHN T HICKEY & RUTH M HICKEY JT TEN             689 NEW BRITAIN AVE                                                                             FARMINGTON      CT    06032‐2109
JOHN T HITE                                      PO BOX 1232                                                                                     DELTA JCT       AK    99737‐1232
JOHN T HIXSON                                    8837 FREEMARK WAY                                                                               ELK GROVE       CA    95624‐3071
JOHN T HOLDERBAUM                                755 LOCKWOOD RD                                                                                 ORTONVILLE      MI    48462‐9144
JOHN T HOOKER JR                                 2712 INDIANAPOLIS AVE                                                                           INDIANAPOLIS    IN    46208‐5162
JOHN T HOWERY                                    1420 SW LOGOS DR                                                                                LEES SUMMIT     MO    64081
JOHN T HRUBY & CYNTHIA HRUBY JT TEN              5805 W 24TH                                                                                     FREMONT         MI    49412‐9638
JOHN T HRUBY CUST ANDREW J HRUBY UGMA TX         5805 W 24TH                                                                                     FREMONT         MI    49412‐9638
JOHN T HRUBY CUST BENJAMIN T HRUBY UGMA TX       5805 W 24TH                                                                                     FREMONT         MI    49412‐9638

JOHN T HUBBARD                                   2464 MEADOWCROFT                                                                                BURTON          MI    48519‐1270
JOHN T HUGHES JR                                 PO BOX 1827                                                                                     JANESVILLE      WI    53547‐1827
JOHN T HUTCHISON                                 3903 BEATTY DR                                                                                  DAYTON          OH    45416‐2203
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 270 of 855
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

JOHN T HUTSKO                                     2322 PANTHER PL                                                                               NORTH LAS LEGAS   NV    89031
JOHN T HUTSKO & LYNN M WRIGHT JT TEN              2322 PANTHER PLACE                                                                            NORTH LAS VEGAS   NV    89031‐0696

JOHN T JAMES                                      107 WILD GEESE WAY                                                                            TRAVELERS RST     SC    29690‐8349
JOHN T JOHNSON                                    14985 RIVER VIEW CT                                                                           STERLINGS HEIGHTS MI    48313‐5772

JOHN T JOHNSON                                    14974 OLD OAK DR                                                                              STRONGSVILLE      OH    44149‐4873
JOHN T JOHNSON III                                2422 VAIL AVE.                                                                                CHARLOTTE         NC    28207
JOHN T JONES                                      203 BITTERSWEET                                                                               OFALLON           MO    63366‐1618
JOHN T JOUVER & MARGARET M JOUVER JT TEN          1611 IDLEWOOD ROAD                                                                            GLENDALE          CA    91202‐1027
JOHN T KALB JR                                    4920 ASBURY CIRCLE                                                                            DUBUQUE           IA    52002‐0424
JOHN T KAPUSTA                                    4225 WEST 224TH                                                                               FAIRVIEW PARK     OH    44126‐1822
JOHN T KELLER                                     6 SUNWICH RD                                                                                  NORWALK           CT    06853‐1636
JOHN T KENNEDY                                    1202 FIELDSTONE DR                                                                            PONTIAC           MI    48340‐1489
JOHN T KERRIGAN JR                                58 SEVEN OAKS LANE                                                                            BREWSTER          NY    10509‐1610
JOHN T KILIAN                                     1584 WESTBROOK                                                                                MADISON HEIGHTS   MI    48071‐3045

JOHN T KITZEL                                  1187 LYELL AVE                                                                                   ROCHESTER         NY    14606‐2042
JOHN T KOESTER & MARY A KOESTER JT TEN         3 TREELINE DR APT 202                                                                            ROCHESTER         NY    14612‐3449
JOHN T KOOPER                                  10181 OLD GEORGETOWN ROAD               MCCLELLANVILLE                                           MCCLELLANVLE      SC    29458
JOHN T KOSTU                                   29 GRANT AVE                                                                                     CARTERET          NJ    07008‐3105
JOHN T KOVATCH CUST DANIEL JOSEPH KOVATCH UGMA 2241 HY 1                                                                                        GRAFTON           WI    53024‐9433
WI
JOHN T KRUKENBERG & BETTY L KRUKENBERG JT TEN  3075 S SUNDERLAND ROAD                                                                           LIMA              OH    45806‐9302

JOHN T KRYZA                                      11736 JUNIPER DRIVE                                                                           BELLEVILLE        MI    48111‐3100
JOHN T KUKRAL                                     510 WESLEY AVE                                                                                NATIONAL PARK     NJ    08063‐1228
JOHN T LAUR                                       1800 34TH ST                                                                                  BAY CITY          MI    48708‐8150
JOHN T LAUTNER EX EST SABINA LAUTNER              C/O CHARLES SCHWAB OPERATIONS CTR    BOX 52114                                                PHOENIX           AZ    85072
JOHN T LAWRY                                      9521 GLORY AVE                                                                                TUJUNGA           CA    91042‐3241
JOHN T LESNIEWSKI                                 1741 FRANKLIN DR                                                                              FURLONG           PA    18925‐1453
JOHN T LEWIS                                      39 HUGHES PL                                                                                  LITTLE FALLS      NJ    07424‐1017
JOHN T LINDQUIST                                  1189 MADONNA ROAD                                                                             SAN LUIS OBISPO   CA    93405‐6511
JOHN T LOPEZ                                      38036 VALLEJO ST                                                                              FREMONT           CA    94536‐1746
JOHN T LOWERY                                     700 LAKESHORE DR                                                                              CUBA              MO    65453‐9611
JOHN T LUKOWSKI                                   RT 1 BOX 108                                                                                  HANCOCK           MI    49930‐9707
JOHN T LUTTRELL                                   246 H PRITCHETT RD                                                                            ELLI JAY          GA    30540‐9311
JOHN T LYLES & YOLANDA PATTERSON LYLES JT TEN     395 TALLOW RD                                                                                 RIDGEWAY          SC    29130‐7745

JOHN T LYONS                                      4261 HACKER DR                                                                                WEST BEND       WI      53095‐9203
JOHN T MACDONALD                                  PO BOX 968                                                                                    WOLFEBORO FALLS NH      03896‐0968

JOHN T MACMANUS                                   118 RINGWOOD RD                                                                               ROSEMONT          PA    19010‐2714
JOHN T MADZIK                                     41336 N BELFAIR WAY                                                                           ANTHEM            AZ    85086‐1231
JOHN T MAGIN & BONNIE L MAGIN JT TEN              64 MCGUIRE RD                                                                                 ROCHESTER         NY    14616‐2329
JOHN T MAHER JR                                   117‐01 PARK LANE S                   BUILDING D APT 2J                                        KEW GARDENS       NY    11418‐1014
JOHN T MAHONEY                                    5780 S LELAND RD                                                                              LAINGSBURG        MI    48848‐9655
JOHN T MALONE CUST JENNIFER LYNN MALONE UGMA      910 S GRANT ST                                                                                HINSDALE          IL    60521‐4545
IL
JOHN T MALONE CUST MEGAN LORRAINE MALONE          910 S GRANT ST                                                                                HINSDALE          IL    60521‐4545
UGMA IL
JOHN T MATTHEWS TOD JERRY R MATTHEWS SUBJECT      4833 COLUMBUS AVE                                                                             ANDERSON          IN    46013‐5131
TO STA TOD RULES
JOHN T MC KEON                                    8101 STALEY ROAD                                                                              EAST AMHERST      NY    14051‐2337
JOHN T MC LAUGHLIN                                1933 SPEEDWELL RD                                                                             LANCASTER         PA    17601‐4530
JOHN T MC LAUGHLIN JR                             1933 SPEEDWELL RD                                                                             LANCASTER         PA    17601‐4530
JOHN T MCDERMOTT                                  815 E STOVER AVE                                                                              INDIANAPOLIS      IN    46227‐1558
JOHN T MCHENRY CUST SEAN P MCHENRY UGMA NY        23 OLD OREGON ROAD                                                                            PEEKSKILL         NY    10567‐1044
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 271 of 855
Name                                             Address1                                 Address2             Address3          Address4          City              State Zip

JOHN T MCINTYRE                                  1327 NORTHFIELD DR                                                                                MINERAL RIDGE     OH    44440‐9407
JOHN T MCLEAN TOD PATRICIA M POTTER SUBJECT TO   303 N FOREST BLVD                                                                                 LAKE MARY         FL    32746
STA TOD RULES
JOHN T MCMAHON JR                                1340 BIELBY                                                                                       WATERFORD         MI    48328‐1306
JOHN T MENZIE                                    12311 VIRGINIA HILLS CT                                                                           FORT WAYNE        IN    46845‐1964
JOHN T MERCER                                    111 SAVORY LANE                                                                                   NORTH WALES       PA    19454‐1636
JOHN T MILLER                                    1391 BEECHDALE DR                                                                                 MANSFIELD         OH    44907‐2801
JOHN T MILLER                                    5280 OTTER LAKE RD                                                                                SAINT PAUL        MN    55110‐5839
JOHN T MILLS JR                                  RR #1 BOX 71B                                                                                     NEW BETHLEHEM     PA    16242‐9801
JOHN T MINKER & MARY L MINKER JT TEN             106 CAMERON DR                                                                                    HOCKESSIN         DE    19707
JOHN T MOORE                                     BOX 983                                                                                           HAGERSTOWN        MD    21741‐0983
JOHN T MOORE & MRS GRACE MOORE JT TEN            10 SCHOOL ST                                                                                      EAST WILLISTON    NY    11596‐2029
JOHN T MOREN & MRS REMA M MOREN JT TEN           856 ASHFORD LANE                                                                                  FT COLLINS        CO    80526‐3923
JOHN T MORGAN & MRS JUDY C MORGAN JT TEN         2305 MEADOW LARK LN                                                                               COLUMBIA          MO    65201‐6275
JOHN T MULCAHY JR & DEBRA J MULCAHY JT TEN       10 MONROE ST                                                                                      GLENS FALLS       NY    12801‐2909
JOHN T MULLIGAN                                  20732 SYDENHAM RD                                                                                 CLEVELAND         OH    44122‐2924
JOHN T MURRAY                                    35 JACOBSON ST                           ST CATHARINES ON                       L2T 2Z8 CANADA
JOHN T NEWMAN                                    26 ASHLEY DR                                                                                      BALLSTON LAKE     NY    12019‐1538
JOHN T NEWSOME & ELIZABETH A NEWSOME JT TEN      201 NORTHWIND DR                                                                                  BRANDON           MS    39047‐8683

JOHN T OBRIEN & GERALDINE T OBRIEN JT TEN        PO BOX 2146                                                                                       BORREGO SPRINGS   CA    92004‐2146

JOHN T OFCHAR                                    10921 WOODEN ROAD                                                                                 HANOVER           MI    49241‐9770
JOHN T OLSSON                                    656 DUCKPOND RD                                                                                   WESTBROOK         ME    04092‐2510
JOHN T OLSZEWSKI                                 6740 HARLEY AVENUE                                                                                PHILADELPHIA      PA    19142‐3301
JOHN T ORLEY                                     8979 PQ AVE                                                                                       MATTAWAN          MI    49071‐9425
JOHN T ORMAN                                     102 MEADOW POINTE CV                                                                              BRANDON           MS    39042‐5013
JOHN T PARHAM                                    1401 W GARY ROAD                                                                                  MONTROSE          MI    48457‐9324
JOHN T PASEK & CATHERINE V PASEK JT TEN          17754 FAIRWAY STREET                                                                              LIVONIA           MI    48152‐2966
JOHN T PATTON SR & ROBERTA J PATTON TR PATTON    3160 SW 95TH PLACE                                                                                OCALA             FL    34476‐7456
FAMILY TRUST 06/28/93
JOHN T PELTON                                    PO BOX 111                                                                                        WILLIAMSTON       MI    48895‐0111
JOHN T PENNINGTON                                1426 W 10TH ST                                                                                    MUNCIE            IN    47302‐2169
JOHN T PERRY                                     344 PENNINGTON AVE                                                                                TRENTON           NJ    08618‐3609
JOHN T PETERSON & ELSIE H PETERSON JT TEN        PO BOX 564                                                                                        NEWELL            SD    57760‐0564
JOHN T PLEDGER                                   1467 TAYLOR                                                                                       DETROIT           MI    48206‐2029
JOHN T POLACOK & JOANNE G POLACOK JT TEN         198 CHERRY LANE                                                                                   AVON LAKE         OH    44012‐1704
JOHN T POULOS JR                                 4724 EAST QUAILBRUSH ROAD                                                                         CAVE CREEK        AZ    85331‐4711
JOHN T PRITCHARD                                 PO BOX 85                                                                                         DICKSON           TN    37056‐0085
JOHN T PSENAK JR                                 738 LADERA DR                                                                                     FORT WORTH        TX    76108‐9285
JOHN T PURNELL CUST THOMAS RODNEY PURNELL 3RD    224 WATERFORD DR                                                                                  LEWES             DE    19958‐6040
UGMA DE
JOHN T RAKOWICZ                                  30850 GREENLAND ST                                                                                LIVONIA           MI    48154‐3230
JOHN T RAMSEY JR                                 221 CRESCENT BCH                                                                                  BURLINGTON        VT    05401‐2611
JOHN T RATCLIFF                                  4 LORI‐LEE DR                                                                                     LAFAYETTE         IN    47905‐4725
JOHN T RHODES & FAITH ANN RHODES JT TEN          1667 SMITH RD                                                                                     LAPEER            MI    48446‐7643
JOHN T RICHARDS JR                               8945 ROUND LAKE RD                                                                                LAINGSBURG        MI    48848‐9403
JOHN T RICHARDSON JR                             177 IVY STREET                                                                                    NEWARK            NJ    07106
JOHN T ROBINSON                                  195 WILDWOOD AVE                                                                                  MADISON           CT    06443‐1902
JOHN T ROBINSON JR                               1877 WEDGEWOOD DRIVE                                                                              STONE MOUNTAIN    GA    30088‐3934

JOHN T ROSS                                      4817 TIMBER CREEK LN                                                                              MARTINSVILLE      IN    46151‐6592
JOHN T ROWE & SANDRA M ROWE JT TEN               140 SOUTH 200 EAST                                                                                PROVO             UT    84606‐4606
JOHN T RUPPRECHT                                 619 PADDOCK DR                                                                                    S HAMPTON         PA    18966‐3516
JOHN T SABOL                                     4429 SHERATON DRIVE                                                                               PARMA             OH    44134‐2841
JOHN T SABOL & AGNES G SABOL JT TEN              4429 SHERATON DR                                                                                  PARMA             OH    44134‐2841
JOHN T SATRIALE                                  1 FIELDSTONE CT                                                                                   NEW CITY          NY    10956‐6859
JOHN T SAVAGE                                    4468 CARMANWOOD DRIVE                                                                             FLINT             MI    48507‐5653
JOHN T SCHELL III                                1157 COLONIAL RD                                                                                  MC LEAN           VA    22101
                                               09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 272 of 855
Name                                             Address1                            Address2             Address3          Address4          City              State Zip

JOHN T SCHMITT                                   10 AVENEL CT.                                                                                SIMPSONVILLE      SC    29681
JOHN T SELETOS                                   17946 INDEX ST                                                                               GRANADA HILLS     CA    91344‐4017
JOHN T SHELTON                                   1834 16TH ST                                                                                 WYANDOTTE         MI    48192‐3631
JOHN T SHELTON & B JEANETTE SHELTON JT TEN       1834 16TH ST                                                                                 WYANDOTTE         MI    48192‐3631
JOHN T SHIVERS                                   1939 PARKWOOD                                                                                SAGINAW           MI    48601‐3508
JOHN T SHULAS                                    BOX 501                                                                                      WEST POINT        OH    44492‐0501
JOHN T SIMPSON CUST JOSHUA T SIMPSON UGMA MI     4229 W 44TH ST                                                                               MINNEAPOLIS       MN    55424‐1038

JOHN T SLADEK                                    38056 MERIDIAN AVE                                                                           DADE CITY         FL    33525‐3811
JOHN T SMITH                                     135 DOUBLOON DR                                                                              N FT MYERS        FL    33917‐2927
JOHN T SMITH PER REP EST DOLORES A SMITH         3610 W WALTON BLVD                  APT 9                                                    WATERFORD         MI    48329‐4275
JOHN T SNYDER                                    3000 GREYSTONE DR                                                                            PACE              FL    32571‐8452
JOHN T SPENCER                                   5307 CRANSTON DR                                                                             COLUMBUS          GA    31907‐2839
JOHN T SPERLA                                    5334 FERN AVE                                                                                GRAND BLANC       MI    48439‐4327
JOHN T SPERLA & AUDREY I SPERLA JT TEN           5334 FERN ST                                                                                 GRAND BLANC       MI    48439‐4327
JOHN T SPRADLIN CUST SHANE M NIELSEN UTMA IL     106 N 7TH ST #1                                                                              OREGON            IL    61061‐1330

JOHN T SPRADLIN CUST SHAWN M NIELSON UTMA IL     106 N 7TH ST                        APT 1                                                    OREGON            IL    61061‐1330

JOHN T SQUIRE                                  PO BOX 397                                                                                     LA VERNIA         TX    78121‐0397
JOHN T STARTZEL                                PO BOX 268                                                                                     CHERRY VALLEY     IL    61016‐0268
JOHN T STEELE & MRS NARIKO H STEELE JT TEN     6611 ELDER AVE                                                                                 SPRINGFIELD       VA    22150‐1404
JOHN T STEVENS                                 2 ONYX CT                                                                                      WILMINGTON        DE    19810‐2227
JOHN T STOLTER                                 2660 IRMA STREET                                                                               WARREN            MI    48092‐3729
JOHN T STRUGALA                                2754 SOUTH LAKE LEELANAU DRIVE                                                                 LAKE LEELANAU     MI    49653‐9762
JOHN T SULLIVAN                                3441 BROWN AVE                                                                                 FT WORTH          TX    76111‐4603
JOHN T SZURLEJ                                 48 DAISY LN                                                                                    AMHERST           NY    14228‐1263
JOHN T TAFOYA SR TR JOHN J TAFOYA SR REVOCABLE 192 GLEN COVE                                                                                  CHESTERFIELD      MO    63017‐2708
TRUSTUA 10/27/97
JOHN T TAYLOR                                  5107 DONFIELD S E                                                                              KENTWOOD          MI    49508
JOHN T TINMAN & SANDRA TINMAN JT TEN           4792 SYLVAN DRIVE                                                                              NORTHAMPTON       PA    18067‐8965
JOHN T TORAIN                                  2189 N TAYLOR ROAD                                                                             CLEVELAND HTS     OH    44112‐3051
JOHN T TORRES                                  2553 DAVID LANE                                                                                LAPEER            MI    48446‐8330
JOHN T TUPA                                    7500 BRISTOL LANE                                                                              BRECKSVILLE       OH    44141‐3183
JOHN T VAN LANNINGHAM                          200 BEECH ST                                                                                   EDINBORO          PA    16412‐2006
JOHN T VAUGHAN                                 8958 BURTON AVE                                                                                OVERLAND          MO    63114‐4824
JOHN T VISOCKI                                 2950 E 12 MILE RD                     APT 206                                                  WARREN            MI    48092‐5673
JOHN T VON LUHRTE CUST ANNE M VON LUHRTE UGMA 1276 LINWOOD AVE SW                                                                             NORTH CANTON      OH    44720‐3473
OH
JOHN T VON LUHRTE CUST SUZANNE H VON LUHRTE    1402 MIDDLEBURY DR                                                                             ALEXANDRIA        VA    22307
UGMA OH
JOHN T WALLACE                                 4801 MAPLEWOOD AVE                                                                             MUNCIE            IN    47304‐1155
JOHN T WARREN                                  283 SQUAW DR                                                                                   BRYANT            AR    72022‐6000
JOHN T WAY & LAURENE C WAY JT TEN              17825 W 69TH ST                                                                                SHAWNEE           KS    66217‐9571
JOHN T WELKER                                  2232 HOWLAND‐WILSON RD                                                                         CORTLAND          OH    44410‐9418
JOHN T WELLS                                   240 LITTLEBROCK LANE                                                                           GREENEVILLE       TN    37743
JOHN T WESCOTT TR JOHN T WESCOTT TRUST UA      523 LONG POINT DR                                                                              HOUGHTON LAKE     MI    48629‐9449
4/15/97
JOHN T WESLEY                                  6228 ELMWOOD AVE                                                                               CINCINNATI        OH    45216‐2433
JOHN T WHALE                                   5484 E ARTHUR                                                                                  INVERNESS         FL    34452‐7805
JOHN T WHELAN JR                               311 E 7TH AVE                                                                                  COLLEGEVILLE      PA    19426‐1933
JOHN T WHITE                                   15774 CHERRYLAWN ST                                                                            DETROIT           MI    48238‐1143
JOHN T WHITTHORNE                              3182 EAST 119 ST                                                                               CLEVELAND         OH    44120‐3823
JOHN T WILLIAMS                                3674 GEIGER HOLLOW RD                                                                          ALLEGANY          NY    14706‐9718
JOHN T WITNERBOTTOM                            7612 ABBOTT COURT                                                                              NEW PORT RICHEY   FL    34654‐5800

JOHN T WOMACK JR                                 3839 IRIS DR                                                                                 WATERFORD         MI    48329‐1171
JOHN T WORLEY JR                                 46 APPLEBY ROAD                                                                              NEW CASTLE        DE    19720‐3748
JOHN T WRAZEN                                    64 BRIDLE PATH                                                                               BUFFALO           NY    14221
                                                 09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 273 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JOHN T YEAGER                                      2116 MARTIN AVE                                                                                FREMONT           OH    43420‐3165
JOHN T ZABRISKIE & MISS JUNE C VREELAND JT TEN     3105 MASTERCRAFT AVE                                                                           NORTH LAS VEGAS   NV    89031‐0584

JOHN T ZOHLEN & MRS MARY C ZOHLEN JT TEN           3 WILELINOR DRIVE                                                                              EDGEWATER         MD    21037‐1006
JOHN T ZYDZIK                                      702 DONALD DR N                                                                                BRIDGEWATER       NJ    08807‐1621
JOHN TAKACS                                        202 DEVONSHIRE DRIVE                                                                           ELMIRA HEIGHTS    NY    14903‐1403
JOHN TALLITSCH & LEILA E TALLITSCH JT TEN          725 PARKSIDE DRIVE                                                                             SYCAMORE          IL    60178‐2320
JOHN TAPLER                                        6512 ODESSA                                                                                    WICHITA           KS    67226‐1413
JOHN TAYLOR                                        879 PINEWOOD                                                                                   LEONARD           MI    48367‐4241
JOHN TAYLOR FOUST                                  3583 E HOLLY GROVE RD                                                                          LEXINGTON         NC    27292‐9635
JOHN TAYLOR HALCOTT                                3 PHILLY WAY                                                                                   BURLINGTON        NJ    08016‐3041
JOHN TENGOWSKI                                     720 LAKE BARNEGAT DRIVE                                                                        LANOKA HARBOR     NJ    08734‐2102
JOHN TERDIK                                        15 KAY RD                                                                                      TRENTON           NJ    08620‐1640
JOHN TERINGO III                                   4339 IHLES ROAD                                                                                LAKE CHARLES      LA    70605‐3961
JOHN TERLESKI                                      271 HIGHLAND AVE                                                                               WALLINGFORD       CT    06492‐2137
JOHN TERRY                                         247 GREENWOOD TE                                                                               HILLSIDE          NJ    07205‐3103
JOHN THARP CUST DIANA M THARP UGMA PA              101 FLINTLOCK CIRCLE                                                                           LANSDALE          PA    19446‐6312
JOHN THARP CUST RACHAEL K THARP UGMA PA            101 FLINTLOCK CIRCLE                                                                           LANSDALE          PA    19446‐6312
JOHN THINGSTAD                                     326 W KALAMAZOO AVENUE                APT 214                                                  KALAMAZOO         MI    49007
JOHN THOMAS                                        920 BURLEIGH AVE                                                                               DAYTON            OH    45407‐1207
JOHN THOMAS AKOURIS INVT LTD                       1606 COLONIAL PARKWAY                                                                          INVERNESS         IL    60067‐4725
JOHN THOMAS ALTLAND                                1122 N LESLIE AVE                                                                              SHERMAN           TX    75092‐5133
JOHN THOMAS BACKE                                  12138 W IDA LN                                                                                 LITTLETON         CO    80127‐3106
JOHN THOMAS BATSON                                 1901 PAMELA CIRCLE                                                                             SEVIERVILLE       TN    37862‐8524
JOHN THOMAS DETIENNE                               1438 E 60TH ST APT 13                                                                          ANDERSON          IN    46013‐3073
JOHN THOMAS HAMILTON                               BOX 54                                                                                         SARDIS            GA    30456‐0054
JOHN THOMAS HUGHES                                 161 OAK ST                                                                                     MONROEVILLE       PA    15146
JOHN THOMAS JONES SR                               1160 LYNNEBROOKE DR                                                                            CINCINNATI        OH    45224
JOHN THOMAS KLEBBA & PATRICIA KLEBBA JT TEN        9113 HENRY CLAY DR                                                                             LOUISVILLE        KY    40242‐3321

JOHN THOMAS KUNZ                                   300 BOWIE ST APT 2003                                                                          AUSTIN            TX    78703‐4671
JOHN THOMAS LEE & MRS BEVERLY A LEE JT TEN         2413 STARLIGHT DR                                                                              ANDERSON          IN    46012‐1947
JOHN THOMAS LITTLE                                 77 E SUMMERSET LANE                                                                            AMHERST           NY    14228‐1612
JOHN THOMAS MORRIS                                 319 EXPOSITION BLVD                                                                            NEW ORLEANS       LA    70118‐5718
JOHN THOMAS PITTS                                  211 HUCKLEBERRY LANE 821                                                                       HARPERS FERRY     WV    25425
JOHN THOMAS PROCTOR                                2222 JOY RD                                                                                    OCCIDENTAL        CA    95465‐9258
JOHN THOMAS RASLAWSKI & BRIAN THOMAS               53 CHESHIRE DR                                                                                 BELLEVILLE        IL    62223‐3413
RASLAWSKI JT TEN
JOHN THOMAS ROLAND                                 PO BOX 373                                                                                     DALEVILLE         IN    47334‐0373
JOHN THOMAS ROLLINSON                              BOX 70                                                                                         CLORIS            NM    88102‐0070
JOHN THOMAS SHEEHAN JR                             520 HARLOWE LANE                                                                               NAPERVILLE        IL    60565‐2004
JOHN THOMAS SIFFORD & DEBRA C SIFFORD JT TEN       2974 JEFFERSON DR                                                                              PLAINFIELD        IN    46168‐9691

JOHN THOMAS STOFER                            118‐R SOUTH 26TH ST                                                                                 OLEAN             NY    14760‐1804
JOHN THOMAS TVRDY                             506 OLD S ROUTE 52                                                                                  NEW RICHMOND      OH    45157
JOHN THOMPSON                                 4801 STALLCUP DR                                                                                    MESQUITE          TX    75150‐1143
JOHN TIANEN                                   444 W RAVINE BAYE RD                                                                                MILWAUKEE         WI    53217‐1337
JOHN TICINO JR                                25 COE ST                                                                                           MERIDEN           CT    06451‐2032
JOHN TIHEY JR                                 856 FIRST ST                                                                                        VERONA            PA    15147‐1441
JOHN TILLMANN                                 4047 HALFMOON BAY DR                                                                                LAS VEGAS         NV    89115‐1288
JOHN TIMMERKAMP                               7130 E 77TH N RR 2                                                                                  VALLEY CENTER     KS    67147‐8846
JOHN TIMOTHY MCCARTHY TR MCCARTHY FAMILY 1996 17040 ARNOLD DR                            ALU 32                                                   RIVERSIDE         CA    92518‐2813
TRUST UA 07/25/96
JOHN TIMOTHY WHITE                            412 SOUTH GARFIELD STREET                                                                           ARLINGTON         VA    22204‐2052
JOHN TINCHER                                  1475 E CO RD 550N                                                                                   ORLEANS           IN    47452‐9113
JOHN TITGEMEYER                               1863 FOLKWAY DR                            MISSISSAUGA ON                         L5L 2X1 CANADA
JOHN TOBIAS                                   10‐011 ROAD Y                                                                                       HAMLER            OH    43524
JOHN TOBIN                                    1483 SAMUAL DR                                                                                      WALL              NJ    07719‐9010
JOHN TODD KEMERLY                             1198 BETSY ROSS PL                                                                                  BOLINGBROOK       IL    60490‐2101
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 274 of 855
Name                                           Address1                                Address2                Address3       Address4          City               State Zip

JOHN TODD LLEWELLYN                            1880 FACULTY DR                                                                                  WINSTON SALEM      NC    27106‐5217
JOHN TOLES JR                                  16814 LANGLY AVE                                                                                 CLEVELAND          OH    44128‐3608
JOHN TOMSIK                                    5043 E MT MORRIS RD                                                                              MT MORRIS          MI    48458‐9713
JOHN TOPPING                                   BOX 147                                 31200 MARTINDALE ROAD                                    NEW HUDSON         MI    48165‐9518
JOHN TORELLA                                   42365 APPLESWAY                                                                                  LEETONIA           OH    44431‐9684
JOHN TORKILDSEN                                5 ROSS LANE                                                                                      NEW CITY           NY    10956‐6003
JOHN TOTH                                      32225 W WARREN                                                                                   GARDEN CITY        MI    48135‐1725
JOHN TRAYLOR                                   BOX 1516                                                                                         LONE STAR          TX    75668‐1516
JOHN TREUTING                                  1318 WILLS BRK                                                                                   WESTLAKE VILLAGE   CA    91361‐1425

JOHN TREVISAN                                  14093 STANLEY DR                                                                                 WARREN             MI    48093‐4331
JOHN TROISI & ROSEMARIE TROISI JT TEN          417 WINDING CT                                                                                   BRICK              NJ    08723‐4954
JOHN TROUT                                     111 W WASHINGTON                                                                                 PALATINE           IL    60067‐6145
JOHN TRUITT PURNELL JR                         224 WATERFORD DR                                                                                 LEWES              DE    19958‐6040
JOHN TUBBS JR                                  5 HAMRICK TER                                                                                    HOUSTON            MO    65483‐1929
JOHN TYLER FRY                                 1533 KEENLAND WAY                                                                                SCHERERVILLE       IN    46375‐3037
JOHN U MONRO                                   C/O JANET M DREYER                      1816 ANTIOCH RD                                          CLAREMONT          CA    91711‐2713
JOHN U WILSON                                  800 S 28TH ST                                                                                    MIDDLESBORO        KY    40965‐1499
JOHN URBANI                                    2435 LITTLETELL AVENUE                                                                           WEST BLOOMFIELD    MI    48324‐1747

JOHN URBANSKI                                  C/O BARBARA URBANSKI                    300 AVENUE B                                             BAYONNE          NJ      07002‐2203
JOHN V ALGER & MRS PHYLLIS M ALGER JT TEN      22245 RIVER RIDGE TRL                                                                            FARMINGTON HILLS MI      48335‐4672

JOHN V ARGENTO                                 373 WOOD ROAD                                                                                    ROCHESTER          NY    14626‐3238
JOHN V BALIAN & ANNETTE T BALIAN JT TEN        7015 GREENTREE DR                                                                                NAPLES             FL    34108‐7527
JOHN V BATCHA JR                               37616 DARTMOUTH DR                                                                               STERLING HTS       MI    48310‐4046
JOHN V BELL                                    2166 BUSH ROAD                                                                                   GRAND ISLAND       NY    14072‐2553
JOHN V BELLAND                                 84 BINDON DR                                                                                     NORTH BRANCH       MI    48461‐9726
JOHN V BIRD                                    3475 TWO MILE RD                                                                                 BAY CITY           MI    48706‐9222
JOHN V BRANDO CUST CHRISTINE ELAINE BRANDO     164‐50 87TH ST                                                                                   HOWARD BEACH       NY    11414‐3620
UGMA NY
JOHN V BRANDO CUST LISA MARIE BRANDO UGMA NY   164‐50 87TH ST                                                                                   HOWARD BEACH       NY    11414‐3620

JOHN V BRANSCOME                               232 BORTON DRIVE                                                                                 WOODSTOWN          NJ    08098‐1243
JOHN V CALECA                                  4820 HANNIBAL WAY                                                                                LAS VEGAS          NV    89130‐0155
JOHN V CAWTHON JR                              209 4TH                                                                                          FARMERSVILE        IL    62533‐9786
JOHN V CESTARO                                 22 FAR HORIZONS DR                                                                               NEWBURGH           NY    12550‐1045
JOHN V CONWAY                                  2080 WINDSONG WAY                                                                                MONROE             GA    30656‐3391
JOHN V COULTER & NELL M COULTER JT TEN         435 DANBURY RD                                                                                   WILTON             CT    06897‐2031
JOHN V CREIDY CUST ALIA CREIDY UGMA NY         4617 6TH AVE                                                                                     BROOKLYN           NY    11220‐1316
JOHN V DASHNER JR                              6363 FLUSHING RD                                                                                 FLUSHING           MI    48433‐2548
JOHN V DASHNER JR & JOANN K DASHNER JT TEN     6363 FLUSHING RD                                                                                 FLUSHING           MI    48433‐2548
JOHN V DINAN JR & CAROL F DINAN JT TEN         232 SEA COAST LANE                                                                               PONTE VEDRA        FL    32082‐4706
                                                                                                                                                BEACH
JOHN V DORKA                                   10990 MAYFIELD RD                                                                                CHARDON            OH    44024‐9325
JOHN V DOW                                     394 SW LEGACY GL                                                                                 LAKE CITY          FL    32025‐2918
JOHN V EIDSON JR & LILLIAN S EIDSON JT TEN     1701 BUTLER ST                                                                                   WINSTON‐SALEM      NC    27107‐1509
JOHN V ELLUL                                   2325 S DORT HWY                         SUITE A                                                  FLINT              MI    48507
JOHN V FARRAR                                  7 SALERNO CT                                                                                     TOMS RIVER         NJ    08757‐4105
JOHN V FREYMANN                                19 S CASS AVE                                                                                    WESTMONT           IL    60559‐1850
JOHN V GADD                                    4850 G PORTAGE EASTERLY                                                                          W FARMINGTON       OH    44491
JOHN V GARNER                                  1500 INDIAN SPRINGS DR                                                                           FRANKLIN           TN    37064‐9618
JOHN V GLEASON                                 9450 STEFFNER DR                                                                                 STREETSBORO        OH    44241‐5471
JOHN V GREEN III                               73 INWOOD AVE                                                                                    UPPER MONTCLAIR    NJ    07043‐2539

JOHN V GROULX                                  PO BOX 120                                                                                       BALDWIN            MI    49304
JOHN V GWOZDEK & MARY LOU GWOZDEK JT TEN       10041 S WESTMINSTER RD                                                                           GUTHRIE            OK    73044‐9195
JOHN V HARRISON                                2393 GOLDEN SHORE DR                                                                             FENTON             MI    48430‐1057
JOHN V HEID                                    633 CAULEY PLACE                                                                                 DAYTON             OH    45431‐2701
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 275 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

JOHN V HERZOG & DORIS H HERZOG JT TEN TOD      4213 PASEO DE LAS TORTUGAS                                                                       TORRANCE        CA    90505
VINCENT J BOSSE
JOHN V HIGHFILL & BARBARA B HIGHFILL JT TEN    523 HERMITAGE CT                                                                                 CHARLOTTE       NC    28207‐1413
JOHN V JASKOLSKI                               N59W24415 EAGLE CT                                                                               SUSSEX          WI    53089‐3694
JOHN V KACZOR                                  2620 DAVID DR                                                                                    NIAGARA FALLS   NY    14304‐4619
JOHN V KEITH & PERPETUA KEITH JT TEN           127 SCOTTSDALE BOULEVARD                                                                         LOUISVILLE      KY    40214‐4740
JOHN V KETCHAM                                 PO BOX 156                                                                                       NEW CANAAN      CT    06840‐0156
JOHN V KOCAB                                   1319 TUXEDO AVE                                                                                  PARMA           OH    44134‐1731
JOHN V LACOMBE                                 7 GRANT HILL RD                                                                                  BLOOMFIELD      CT    06002‐2252
JOHN V LAUDERDALE                              8965 BRISTOL OAKS LN                    APT 106                                                  MEMPHIS         TN    38133‐4178
JOHN V LEWIS & SHIRLEY LEWIS JT TEN            954 HUDSON RD                                                                                    CAMBRIDGE       MD    21613‐3230
JOHN V LEWIS JR & SHIRLEY FAYE LEWIS JT TEN    954 HUDSON RD                                                                                    CAMBRIDGE       MD    21613‐3230
JOHN V MARENZANA & MRS MARY J MARENZANA JT     400 CHAMBERS STREET                     APARTMENT 6‐R                                            NEW YORK        NY    10282
TEN
JOHN V MARTINEK                                4535 STANLEY AVE                                                                                 DOWNERS GROVE   IL    60515‐2904
JOHN V MC CALL                                 98 OAKLAND AVE                                                                                   GLOVERSVILLE    NY    12078‐3433
JOHN V MC CULLOCH & MRS MARCELLA S MC CULLOCH 1885 VISTA LAKES DRIVE                                                                            FLEMING ISLE    FL    32003‐7309
JT TEN
JOHN V MICKLUS TOD THOMAS P MICKLUS SUBJECT TO 734 SUTHERLAND AVE                                                                               JANESVILLE      WI    53545‐1628
STA TOD RULES
JOHN V MLINAR                                  335 HUDSON ST                           UNIT 2                                                   FOREST CITY     PA    18421‐1438
JOHN V MURPHY                                  PO BOX 1406                                                                                      NORTH EASTHAM   MA    02651‐1406
JOHN V MUSCOLINO                               C/O CONCETTINA MUSCOLINO                488 LANDING AVE                                          SMITHTOWN       NY    11787
JOHN V NEHEMIAS & BETTY MASON NEHEMIAS TEN ENT BOX 874                                                                                          FLAGLER BEACH   FL    32136‐0874

JOHN V PATTINSON                                  79 HENRY AVE                                                                                  WARMINSTER      PA    18974‐4111
JOHN V PAVAL & JANE IRENE PAVAL JT TEN            18645 FLORAL                                                                                  LIVONIA         MI    48152‐3774
JOHN V RAPEZZI CUST NINA OLIVIA RAPEZZI UGMA MI   2091 ADRIENNE DR                                                                              TROY            MI    48085

JOHN V ROMAGNOLA                                  2417 WESTSIDE DRIVE                                                                           NORTH CHILI     NY    14514‐1011
JOHN V ROSETTI & ANNA PETRILLI JT TEN             1914 JACKSON ST                                                                               PHILADELPHIA    PA    19145‐3617
JOHN V ROUSELL                                    5173 BELVIDERE                                                                                DETROIT         MI    48213‐3071
JOHN V RUSIN TR UA 05/14/92 ALINDA A MICHAEL      3930 N PINEGROVE # 2303                                                                       CHICAGO         IL    60613‐3363
TRUST
JOHN V SABEL                                      2512 MINTON DR                                                                                MOON TOWNSHIP   PA    15108‐9207

JOHN V SCHUESSLER                                 8503 HEDGEWAY DR                                                                              SHELBY TWP     MI     48317
JOHN V SHERIDAN                                   3625 S WINTER CANYON ROAD                                                                     MALIBU         CA     90265‐4834
JOHN V SKINNER                                    3755 10 MILE RD                                                                               EVART          MI     49631‐8123
JOHN V STAUFFACHER                                528 20TH AVE                                                                                  MONROE         WI     53566‐1558
JOHN V STROUD                                     322 TIGITSI WAY                                                                               LOUDON         TN     37774‐2507
JOHN V SUHY                                       1210 MIFFLIN RD                                                                               PITTSBURGH     PA     15207‐2212
JOHN V TRABUE & MARILYN J TRABUE JT TEN           122 JACK NICKLAUS LN                                                                          DAVENPORT      FL     33837‐5038
JOHN V VENDETTI                                   PO BOX 373                                                                                    MORRIS         CT     06763‐0373
JOHN V WAGNER                                     13476 HARBOUR RIDGE BLVD                                                                      PALM CITY      FL     34990‐4814
JOHN V WASHINGTON                                 8030 S BLACKSTONE AV 2                                                                        CHICAGO        IL     60619‐4615
JOHN V WILLIAMS                                   9924 EAST MYRTLE VIEW COURT                                                                   BATON ROUGE    LA     70810
JOHN V WOJNAR                                     1809 ROBINHOOD RD                                                                             ALBANY         GA     31707‐3123
JOHN V'SOSKE                                      5 FOX RUN LN                                                                                  NEWTOWN SQUARE PA     19073‐1004

JOHN VACCARO                                      220 MADISON AVE APT 15R                                                                       NEW YORK        NY    10016‐3416
JOHN VALENTINE                                    11000 NEW FALCON WAY                 UNIT 251                                                 CERRITOS        CA    90703‐1561
JOHN VAMOSSY                                      307 EAST SHIAWASSEE                                                                           FENTON          MI    48430‐2372
JOHN VAN CANNEYT                                  33 MCCOY RD                                                                                   ST HELENA IS    SC    29920‐6618
JOHN VAN HORN                                     10527 VIA LUGANO                     CLAIREMONT                                               CLERMONT        FL    34711
JOHN VAN LARE & MRS SHARON H VAN LARE JT TEN      104 PASSING CREEK DRIVE                                                                       WEBSTER         NY    14580‐9302

JOHN VAN LIESHOUT JR CUST JASON VAN LIESHOUT      424 PONY WAY                                                                                  ROEBUCK         SC    29376‐2616
UGMA IL
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 276 of 855
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

JOHN VANDENBERG                                  401 42ND AVE                                                                                     SAN FRANCISCO    CA    94121‐1513
JOHN VANOOSTENDORP IV                            5305 CHRISTIE SE                                                                                 KENTWOOD         MI    49508‐6162
JOHN VARISTO & AMY LEE VARISTO JT TEN            8517 CENTRALIA                                                                                   DEARBORN HGTS    MI    48127‐1186
JOHN VARNEY                                      12970 RAWSONVILLE RD                                                                             BELLEVILLE       MI    48111
JOHN VASSIL & EKATERINI VASSIL JT TEN            809 MAPLE ST                                                                                     NEW SMYRNA       FL    32169‐2815
JOHN VAUGHN                                      5918 78TH ST COURT E                                                                             PUYALLUP         WA    98371
JOHN VEDOURAS & MRS EMILY VEDOURAS JT TEN        4110 PINE FOREST DR                                                                              PARMA            OH    44134‐5883
JOHN VENEZIANO                                   RD 1 BOX 293                                                                                     MORRISDALE       PA    16858‐9502
JOHN VERGA & CLAUDIA VERGA JT TEN                76 FORREST DALE RD                                                                               ROCKVILLE CENTER NY    11570‐2106

JOHN VERNER ROBERTSON                            13 THE DOWNS                                                                                     TUSCALOOSA       AL    35401‐5843
JOHN VERSTEEG                                    16 SOMERSET PLACE                                                                                WILMINGTON       MA    01887‐2124
JOHN VETRANO                                     C/O SCHRODE                             5142 STONEHENGE DR                                       ROCHESTER        MI    48306‐2655
JOHN VIDA JR                                     350 HATCHER ST S E                                                                               PALM BAY         FL    32909‐3659
JOHN VILLANI CUST JOHN PETER VILLANI UGMA NJ     113 MT HOREB RD                                                                                  WARREN           NJ    07059‐5546

JOHN VINCENT CALLANAN JR                         9 ABRUZZINI COURT                                                                                NAPA             CA    94558‐7219
JOHN VINCENT DI LIBERTI                          5306 N KENWOOD AVE                                                                               INDIANAPOLIS     IN    46208‐2646
JOHN VINCENT GORMAN                              700 BELAIR                                                                                       SAGINAW          MI    48603‐5807
JOHN VINCENT HEISER                              77 HIGHLAND AVE                                                                                  GLEN RIDGE       NJ    07028‐1420
JOHN VINCENT MOONEY & MRS NINA MARIA MOONEY      67 PARKWAY CIR                                                                                   SCARSDALE        NY    10583‐5419
JT TEN
JOHN VITKOVSKY & SHARON VITKOVSKY JT TEN         180 HILLCREST AVE                                                                                WOODRIDGE        NJ    07075‐1604
JOHN VLAHOS                                      451 QUARRY LN N E                                                                                WARREN           OH    44483‐4532
JOHN VOGEL                                       211 VALLEY COURT                                                                                 HAWORTH          NJ    07641‐1215
JOHN VOGT PERS REP EST MARY VOGT                 7115 NORTHLEDGE DR                                                                               LOCKPORT         NY    14094‐1633
JOHN VRAZO                                       42525 LEONARDOS WAY                                                                              CLINTON TOWNSHIP MI    48038‐1682

JOHN W A BAKER                                   72 OAK VILLAGE BLVD SO                                                                           HOMOSASSA        FL    34446‐5945
JOHN W ABBOTT TR JOHN W ABBOTT TRUST UA          1 SLATESTONE                                                                                     SAGINAW          MI    48603
06/14/95
JOHN W ADAMS                                     12638 ROYCE CT                                                                                   CARMEL           IN    46033‐2477
JOHN W ADAMS                                     5425 HEATHER LN                                                                                  DEARBORN HEIGHTS MI    48125‐2344

JOHN W ADAMS & NANCY S ADAMS JT TEN              12638 ROYCE CT                                                                                   CARMEL           IN    46033‐2477
JOHN W ALLEN                                     1633 N GRAND TRAVERSE ST                                                                         FLINT            MI    48503‐1158
JOHN W ALLISON                                   1435 CHICKASAW DR                                                                                LONDON           OH    43140‐8755
JOHN W ANDERSON                                  26955 FLORESTA                                                                                   MISSION VIEJO    CA    92691‐5201
JOHN W ANDERSON                                  2230 ARNETTE                                                                                     SAGINAW          MI    48601‐4000
JOHN W ANDERSON                                  44 GAYNOR STREET                                                                                 STATEN ISLAND    NY    10309‐2723
JOHN W ANDERSON                                  2282 N 100TH RD                                                                                  WELLSVILLE       KS    66092‐4021
JOHN W ANDREE                                    5760 SANFORD BEACH DRI                                                                           SANFORD          MI    48657‐9349
JOHN W ANDREWS                                   173 WILLIAM PENN DRIVE                                                                           NORRISTOWN       PA    19403‐5205
JOHN W ANDREWS                                   2250 ST JAMES DR                                                                                 WILMINGTON       DE    19808‐5219
JOHN W ARNOLD                                    24752 ALICIA                                                                                     FLAT ROCK        MI    48134‐9544
JOHN W ARNOLD                                    PO BOX 102                                                                                       SCHAEFFERSTOWN   PA    17088‐0102

JOHN W ARNOLD & LEILA K ARNOLD JT TEN            2507 MONTCLAIR AVENUE                                                                            MURFREESBORO     TN    37129
JOHN W ARNTZ                                     4015 N REASNER                                                                                   ROSE CITY        MI    48654‐9761
JOHN W ATKINSON                                  WINDING CREEK VLG                       24 VALLEY RD                                             MILLSBORO        DE    19966‐8729
JOHN W ATKINSON & ROSALIE M ATKINSON JT TEN      WINDING CREEK VLG                       24 VALLEY RD                                             MILLSBORO        DE    19966‐8729

JOHN W ATKINSON TR JOHN W ATKINSON LIVING TRUST 2055 RANDOM DR                                                                                    MANSFIELD        OH    44904‐1643
UA 03/12/99
JOHN W AUGUST                                   9322 COAL RIVER RD                                                                                STICKNEY         WV    25140‐9402
JOHN W AUGUSTINE & TAMMY H AUGUSTINE JT TEN     304 SANRUE DR                                                                                     JOHNSTOWN        PA    15904

JOHN W BACON JR                                  10 PENNY LANE                                                                                    LITITZ           PA    17543‐7919
JOHN W BAILEY                                    8499 S LINDEN RD                                                                                 SWARTZ CREEK     MI    48473‐9112
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                     Part 4 of 8 Pg 277 of 855
Name                                             Address1                             Address2                      Address3   Address4          City              State Zip

JOHN W BAILEY                                    7144 N 300 W 5                                                                                  MARION            IN    46952‐6827
JOHN W BAILEY                                    901‐9 WEST PORT DR #907                                                                         N MYRTLE BEACH    SC    29582
JOHN W BAKER                                     311 ROSEHILL DR                                                                                 GOODLETTSVILLE    TN    37072‐1612
JOHN W BAKER                                     807 NORTH 5TH AVE                                                                               MAYWOOD           IL    60153‐1035
JOHN W BALLARD III CUST DARCEY LAWSON BALLARD    950 BANTON LN                                                                                   GLADSTONE         VA    24553‐3177
UGMA VA
JOHN W BALLARD III CUST JOHN W BALLARD IV UGMA   950 BANTON LN                                                                                   GLADSTONE         VA    24553‐3177
VA
JOHN W BANKS                                     225 CR 836                                                                                      BLACK OAK         AR    72414‐9618
JOHN W BARCY                                     1709 WESTAIRE                                                                                   PEORIA            IL    61614‐6809
JOHN W BARGER                                    3835 ROHR RD                                                                                    ORION             MI    48359‐1440
JOHN W BARNES                                    5887 UPPER RIVER RD                                                                             MIAMISBURG        OH    45342‐1402
JOHN W BARNES                                    14108 TURNBERRY PL                                                                              LITHONIA          GA    30038‐6107
JOHN W BARNETTE                                  16 ROSEBROOK DRIVE                                                                              FLORISSANT        MO    63031‐8632
JOHN W BARR TR UA 02/07/2008 BARR FAMILY TRUST   844 STATE RT 58                                                                                 ASHLAND           OH    44805

JOHN W BARRETT                                   PO BOX 987                                                                                      LEXINGTON         MS    39095‐0987
JOHN W BARTMAN JR & ANNA BARTMAN JT TEN          1116 CAROB CT                                                                                   HEMET             CA    92545‐7826
JOHN W BAYLY                                     720 MARKET ST                                                                                   ALGONAC           MI    48001‐1521
JOHN W BAYNES TR UA 08/17/90 JOHN W BAYNES       9270 WARWICK DRIVE                                                                              DESERT HOT        CA    92240‐1322
TRUST                                                                                                                                            SPRINGS
JOHN W BAYSINGER                                 215 E 55TH ST                                                                                   ANDERSON          IN    46013‐1743
JOHN W BEARDMORE                                 114 WASHINGTON ST                    PO BOX 676                                                 CLINTON           MI    49236‐0676
JOHN W BEDAN SR & GLENDA A BEDAN JT TEN          4015 N DR CEDAR HILLS                                                                           GREENWOOD         IN    46143
JOHN W BELLOMY                                   5972 ROME SOUTH RD                                                                              SHILOH            OH    44878‐8845
JOHN W BERGMAN                                   5930 VIA LUGANO APT 105                                                                         NAPLES            FL    34108‐8143
JOHN W BILLINGSLY                                3381 SPRING VALLEY RD                                                                           DECATUR           GA    30032‐6819
JOHN W BINGHAM & MARY BETH BINGHAM JT TEN        1887 WEST 4960 SOUTH                                                                            SLC               UT    84118‐1161

JOHN W BIRD                                      2317 TOMAHAWK                                                                                   LAPEER            MI    48446‐8071
JOHN W BISHOP                                    2021 HOBBY SCHOOL RD                                                                            ASHBURN           GA    31714‐4422
JOHN W BLACKMORE                                 826 MOHAWK DRIVE                                                                                HURON             OH    44839‐1826
JOHN W BLAKE                                     5977 STATE ROUTE 121 S                                                                          MURRAY            KY    42071‐5962
JOHN W BLAKE JR                                  9431 HICKORY LIMB                                                                               COLUMBIA          MD    21045‐5200
JOHN W BLALOCK                                   30202 LAKE RD                                                                                   SHAWNEE           OK    74801‐3422
JOHN W BLOOM                                     7419 WATERMARK DR                                                                               ALLENDALE         MI    49401
JOHN W BOCK                                      3944 LAWRENCE DR SE                                                                             LOS LUNAS         NM    87031‐6727
JOHN W BOLDEN & MRS WILMA A BOLDEN JT TEN        411 KIEFFER AVE                                                                                 MOUNT CARMEL      IL    62863‐2834
JOHN W BONNAU JR                                 4210 MALONEY RD                                                                                 PINCONNING        MI    48650‐9729
JOHN W BORGMANN JR                               PO BOX 7192                                                                                     LOUISVILLE        KY    40257‐0192
JOHN W BOUCHELLE                                 11 CEMETERY RD                                                                                  NORTHEAST         MD    21901‐4017
JOHN W BOUGHNER                                  39674 WALES                                                                                     CANTON            MI    48188‐1559
JOHN W BOW                                       4665 COVINGTON COURT                                                                            ROCHESTER         MI    48306‐1481
JOHN W BOWMAN                                    940 NIAGARASTONE RD                  NIAGARA ON THE LAKE ONTARIO              L0S 1J0 CANADA
JOHN W BOWMAN                                    102‐19 MANCHESTER AVE                ST CATHARINES ON                         L2R 1N9 CANADA
JOHN W BOWMAN                                    940 NIAGARA STONE RD                 NIAGARA ON THE LAKE ONTARIO              L0S 1J0 CANADA
JOHN W BOYD JR                                   2431 SHEPHERD CIRCLE WEST                                                                       NORTHFIELD        NJ    08225‐1434
JOHN W BOYD JR & DINELLA M BOYD JT TEN           29577 PINE RIDGE CIR                                                                            FARMINGTON HILL   MI    48331‐1852

JOHN W BRAGG                                     6‐1133 E DOWNEY AVE                                                                             FLINT             MI    48505
JOHN W BRAZIER & JOANN R BRAZIER JT TEN          11085 WYCHWOOD DR                                                                               MECHANICSVILLE    VA    23116‐3145
JOHN W BROOKS & MRS MARY LOUISE BROOKS JT TEN    10133 COLDWATER ROAD                                                                            DAVISON           MI    48423‐8598

JOHN W BROOMES                                   3737 N 127TH ST E                                                                               WICHITA           KS    67226‐8365
JOHN W BROWN                                     2115 WEBSTER PARK PARDEE LAKE                                                                   HOWELL            MI    48843‐9472
JOHN W BROWNE JR & SUSAN V BROWNE JT TEN         481 MARINERS WATCH LANE                                                                         KILMARNOCK        VA    22482‐3725
JOHN W BROWNING                                  1972 WARSAW                                                                                     DETROIT           MI    48207‐1151
JOHN W BRUNNER                                   328 N 26TH ST                                                                                   ALLENTOWN         PA    18104‐4924
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 278 of 855
Name                                            Address1                                Address2             Address3          Address4          City              State Zip

JOHN W BRUNNER & MRS INGRID BRUNNER JT TEN      328 N 26TH ST                                                                                    ALLENTOWN         PA    18104‐4924

JOHN W BRUNNING                                 32607 WARNER                                                                                     WARREN            MI    48092‐3241
JOHN W BRYANT                                   602 W SWANEE                                                                                     FITZGERALD        GA    31750‐2043
JOHN W BRYANT                                   4509 3D ST SE                                                                                    WASHINGTON        DC    20032
JOHN W BULLACH JR                               6819 WILLIAMSBURG BLVD                                                                           ARLINGTON         VA    22213‐1521
JOHN W BURCHAM                                  4765 CHERRYWOOD PARK                                                                             WEST BLOOMFIELD   MI    48323‐2089

JOHN W BURKET                                   RD 1 BOX 407                                                                                     TYRONE            PA    16686‐9212
JOHN W BURNSIDE TR THE JOHN W BURNSIDE TRUST UA 1823 LINDBERG LANE                                                                               DAYTONA BEACH     FL    32124‐6759
12/18/90
JOHN W BURRIS                                   875 S DWYER AVE                                                                                  ARLINGTON HTS     IL    60005
JOHN W BURTON                                   6848 N MONTGOMERY CO LINE RD                                                                     UNION             OH    45322‐9748
JOHN W BUTLER                                   1014 SOUTHGATE CIR                                                                               CARL JUNCTION     MO    64834‐9779
JOHN W BUTTRAM & MRS ANGELICA P BUTTRAM JT TEN 5431 LARIMORE                                                                                     DALLAS            TX    75236‐2119

JOHN W BYRD                                   7180 TWIN BRANCH RD NE                                                                             ATLANTA           GA    30328‐1744
JOHN W CAMMARN                                2710 NORTHVIEW ROAD                                                                                ROCKY RIVER       OH    44116‐3521
JOHN W CAMPBELL & JANICE L CAMPBELL JT TEN    1040 GLEN LEA LN                                                                                   HARRISONBURG      VA    22801‐2396
JOHN W CAMPBELL JR                            106 WILLOW DRIVE                                                                                   N CAPE MAY        NJ    08204‐3441
JOHN W CANNON                                 15830 HESSEL                                                                                       DETROIT           MI    48235‐1884
JOHN W CANNON & SHARON J TERRELL JT TEN       #C‐4                                      15830 HESSEL                                             DETROIT           MI    48235‐1864
JOHN W CAPAN & MRS HELEN CAPAN JT TEN         4 MECHANIC ST                                                                                      AKRON             NY    14001‐1204
JOHN W CAPELLA                                2518 POINCIANA DR                                                                                  WESTON            FL    33327‐1415
JOHN W CARADONNA & MARILYN L CARADONNA JT TEN 8928 GITTENS                                                                                       COMMERCE TWP      MI    48382‐3744

JOHN W CARLSON                                  1570 SW VICTORY ST                                                                               OAK HARBOR        WA    98277‐8879
JOHN W CARMICHAEL                               398 CAMERON                                                                                      PONTIAC           MI    48342‐1806
JOHN W CARROLL CUST KELLY A CARROLL UGMA PA     701 INDIANA AVE                                                                                  LEMOYNE           PA    17043‐1566

JOHN W CARROLL CUST MATTHEW C CARROLL UGMA PA 701 INDIANA AVE                                                                                    LEMOYNE           PA    17043‐1566

JOHN W CASASSA                                  135 THOMPSON CIRCLE                                                                              LANDENBERG        PA    19350‐1520
JOHN W CASPER                                   331 FAIRWAY RD                                                                                   LAKE ZURICH       IL    60047‐2137
JOHN W CASTLE                                   P O BOX 483                                                                                      TAWAS CITY        MI    48764
JOHN W CELESNIK                                 1094 BRYCE AVE                                                                                   AURORA            OH    44202‐9593
JOHN W CHAFIN                                   13194 ST RT 18                                                                                   SHERWOOD          OH    43556‐9773
JOHN W CHALK                                    37 JEFFREY WAYNE DRIVE                                                                           SAINT PETERS      MO    63376‐1957
JOHN W CHILDE III                               74971 LIVE OAK ST                                                                                INDIAN WELLS      CA    92210‐7234
JOHN W CHIN                                     487 MORGAN CT                                                                                    SOUTHAMPTON       PA    18966‐2787
JOHN W CHRISTIANO                               8242 GARDEN GROVE                                                                                RESEDA            CA    91335‐1440
JOHN W CHURCHILL                                9230 PARQUE STREET                                                                               NEW PORT RICHEY   FL    34655‐5258

JOHN W CLARK                                    2323 ALPINE WAY                                                                                  DAYTON            OH    45406‐2102
JOHN W CLARK                                    888 BETHANY RD                                                                                   REIDSVILLE        NC    27320‐7469
JOHN W CLARK                                    5812 RIDGWAY AVE                                                                                 ROCKVILLE         MD    20851‐1928
JOHN W CLARKE                                   7959 S CRANDON                                                                                   CHICAGO           IL    60617‐1147
JOHN W CLEAR                                    1607 JENNIFER DR                                                                                 COLUMBIA          TN    38401‐5431
JOHN W CLEARY                                   2537 S CANAL EXT                                                                                 NEWTON FALLS      OH    44444‐9461
JOHN W CLEMONS                                  2702 MOSHER STREET                                                                               BALTIMORE         MD    21216‐4314
JOHN W CLIFFORD & MARCIA D CLIFFORD JT TEN      7677 HIGHLAND DR                                                                                 GASPORT           NY    14067‐9265
JOHN W CLOW                                     1545 EL RODEO RD # 144                                                                           FORT MOHAVE       AZ    86426
JOHN W COCHRAN                                  5813 MEROLD DR                                                                                   EDINA             MN    55436‐2258
JOHN W COLAHAN                                  120 LINDEN AVE                                                                                   RED LION          PA    17356‐1922
JOHN W COLLINS                                  1525 WEST ROLSTON ROAD                                                                           LINDEN            MI    48451‐9769
JOHN W COLLINS & JULIA M COLLINS JT TEN         12001 E 41ST ST S                                                                                INDEPENDENCE      MO    64052
JOHN W COMPTON                                  1370 BROADNAX MILL RD                                                                            LOGANVILLE        GA    30052‐4568
JOHN W CONNELL & GEORGIA ANN CONNELL JT TEN     422 INVERNESS                                                                                    HOWELL            MI    48843‐1150
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 279 of 855
Name                                           Address1                                Address2             Address3          Address4          City            State Zip

JOHN W COOKSEY                                 713 LOCUST                                                                                       PLATTSBURG      MO    64477‐1131
JOHN W COOLEY                                  1628 MILNER DRIVE                                                                                DAYTON          OH    45432‐2130
JOHN W COPENY                                  534 W STEWART AVE                                                                                FLINT           MI    48505‐3208
JOHN W CORCORAN                                112 SPRING MEADOWS DR                                                                            SUMMERVILLE     SC    29485‐8792
JOHN W CORDES                                  225 CAESAR BLVD                                                                                  BUFFALO         NY    14221‐5905
JOHN W COVEYOU                                 1478 BETHANY COMMONS TRL                                                                         DAYTON          OH    45458‐5900
JOHN W COVEYOU & PATRICIA A COVEYOU JT TEN     1478 BEPHANY COMMONS TRAIL                                                                       CENTERVILLE     OH    45458
JOHN W COWARD                                  1906 KOEHNE ST                                                                                   INDIANAPOLIS    IN    46202‐1040
JOHN W COX                                     5149 STANLEY RD                                                                                  COLUMBIAVILLE   MI    48421‐8963
JOHN W COX                                     N4101 LAKE DR                                                                                    BRODHEAD        WI    53520‐8613
JOHN W CRONIN                                  150 BURLINGAME                                                                                   DETROIT         MI    48202‐1000
JOHN W CROSSMAN                                1118 WHEELER ST                                                                                  JANESVILLE      WI    53545‐4949
JOHN W CROWE                                   PO BOX 99                                                                                        CLARKSVILLE     OH    45113‐0099
JOHN W CRUMLEY                                 1300 S UNIVERSITY DR                    STE 501                                                  FORT WORTH      TX    76107‐5756
JOHN W CURLEY EX UW LILLA E CURLEY‐DONAGHY     12 CROSS NECK RD                                                                                 MARION          MA    02738‐1255

JOHN W CURTIS II                               PO BOX 993                                                                                       JACKSON         SC    29831
JOHN W CUTLER JR                               64 POCHOHANTAS RD                                                                                REDDING         CT    06896‐1614
JOHN W DANIELS                                 9485 BAY VISTA WEST DR                                                                           INDIANAPOLIS    IN    46250‐1457
JOHN W DAQUILA JR                              276 OAKVILLE RD                                                                                  BEAVER FALLS    PA    15010‐1210
JOHN W DASPIT                                  180 SANDHURST RD                                                                                 COLUMBLA        SC    29210‐4149
JOHN W DAVIES CUST MATTHEW S DAVIES UGMA NE    PO BOX 314                                                                                       PILGER          NE    68768‐0314

JOHN W DAVIS                                   214 GLENWOOD ST                                                                                  ELYRIA          OH    44035‐5141
JOHN W DAVIS                                   5400 HIGHWAY A1A APT C20                                                                         VERO BEACH      FL    32963‐1084
JOHN W DAVIS II                                111 WEST WADE HAMPTON BLVD                                                                       CREER           SC    29650‐1651
JOHN W DAVIS JR                                PO BOX 1089                                                                                      CLAYTON         DE    19938‐1089
JOHN W DAY                                     1100 CARMEL CRT                                                                                  COLLEGE STA     TX    77845‐6432
JOHN W DE HART JR                              69 8TH ST                                                                                        SALEM           NJ    08079‐1032
JOHN W DE RIEUX                                5405 LODESTONE DR                                                                                OOLTEWAH        TN    37363‐6802
JOHN W DEVLIN                                  345 MARQUETTE                                                                                    PARK FOREST     IL    60466‐1913
JOHN W DINGMAN                                 5141 BERNEDA DR                                                                                  FLINT           MI    48506‐1589
JOHN W DOHERTY                                 904 DEERFIELD CIR                                                                                PERKASIE        PA    18944‐2453
JOHN W DOLAN                                   1018 GRANDVIEW DR                                                                                CLINTON         IA    52732‐6250
JOHN W DONAGHY                                 PO BOX 156                                                                                       NEWFOUNDLAND    PA    18445‐0156
JOHN W DOUGHERTY                               BOX 141                                                                                          LEWISVILLE      PA    19351‐0141
JOHN W DOWD & MARY M DOWD JT TEN               325 RHINECLIFF DRIVE                                                                             ROCHESTER       NY    14618‐1620
JOHN W DOWNING JR                              17 MILLER AVE                                                                                    CAMBRIDGE       MA    02140‐1319
JOHN W DRAKE JR                                2706 SPRING LAKE DRIVE                                                                           RICHARDSON      TX    75082‐4238
JOHN W DRIES                                   238 W ST CHARLES ROAD                                                                            ELMHURST        IL    60126‐3340
JOHN W DUBY                                    7405 COLUMBINE ST                                                                                MIDLAND         MI    48642‐7724
JOHN W DUNCAN                                  4806 THORNAPPLE LANE                                                                             LANSING         MI    48917‐4433
JOHN W DUNFORD                                 3399 ARGUS GREEN CT                                                                              COLUMBUS        OH    43227‐2268
JOHN W DYER                                    1309 W IRVINE DRIVE                                                                              EDMOND          OK    73003‐2661
JOHN W E HARVEY & CAROL S HARVEY JT TEN        972 RT 864 HIGHWAY                                                                               MONTOURSVILLE   PA    17754‐9436
JOHN W EARHART                                 14‐101 SUMMIT VIEW ST                                                                            FAIRFAX         VT    05454
JOHN W EARLY JR & INGRID R EARLY JT TEN        8217 FAIRWAY HOLLOW                     LAKES OF THE NORTH                                       MANCELONA       MI    49659‐8923
JOHN W EASLEY                                  2525 LAKE DRIVE                                                                                  LOVELAND        CO    80538‐3134
JOHN W EATON                                   10404 CHAMPIONS CIR                                                                              GRAND BLANC     MI    48439‐9442
JOHN W ECKART & LAURIE B ECKART JT TEN         104 HOLLY STREET                                                                                 EL DORADO       AR    71730‐3673
JOHN W EDMOND                                  4148 RIVERSHELL LN                                                                               LANSING         MI    48911‐1907
JOHN W EDWARDS                                 10043 RUTHELEN ST                                                                                LOS ANGELES     CA    90047‐4137
JOHN W ELLIOTT                                 11 HOLLY LN                                                                                      WILMINGTON      DE    19807‐1205
JOHN W ELLIS                                   11401 HILL RD                                                                                    SWARTZ CREEK    MI    48473‐8577
JOHN W ESCHENLOHR                              PO BOX 7055                                                                                      AVON            CO    81620‐7055
JOHN W ESTERLINE III                           4250 N MARINE DR                        APT 2310                                                 CHICAGO         IL    60613‐1734
JOHN W EVANS                                   301 SALEM AVE                                                                                    FRONT ROYAL     VA    22630‐2541
JOHN W EVANS                                   98 WHITLOCK AVE NW                      APT 3521                                                 MARIETTA        GA    30064‐2373
JOHN W EVERETT JR                              282 CONCORD TER                                                                                  MCDONOUGH       GA    30253‐3956
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 280 of 855
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

JOHN W EWING                                 5125 WEST 12TH ST                                                                                SPEEDWAY         IN    46224‐6917
JOHN W F RANDOLPH                            22 PARISH LANE                                                                                   NEW CANAAN       CT    06840‐4422
JOHN W FALLAIZE                              684 TAUNTON RD E                        AJAX ON                                L1S 4S7 CANADA
JOHN W FARMER                                4360 KENSINGTON RD                                                                               MILFORD          MI    48380‐3006
JOHN W FINCH III                             408 BRENTWOOD CIRCLE                                                                             WILSON           NC    27893‐1708
JOHN W FISHER                                UNIT 86                                 155 GLOVERS ROAD     OSHAWA ON         L1G 7A4 CANADA
JOHN W FISSEL II                             718 CHAMPLAIN DR                                                                                 KNG OF PRUSSA    PA    19406‐1559
JOHN W FITZGERALD                            11850 S LAKES                                                                                    RESTON           VA    20191
JOHN W FLAUGHER                              345 BUNKER HILL ROAD                                                                             BELLEVILLE       IL    62221‐5765
JOHN W FLETCHER                              555 N BROAD ST APT 417B                                                                          DOYLESTOWN       PA    18901‐3441
JOHN W FLYNN & MICHAEL W FLYNN JT TEN        13657 SEVEN OAKS DR                                                                              FISHERS          IN    46038‐5457
JOHN W FOGLESONG JR                          650 N PINE RIVER ROAD                                                                            SMITHS CREEK     MI    48074‐3602
JOHN W FOLGER                                PO BOX 216                                                                                       DAHLONEGA        GA    30533‐0004
JOHN W FOLLIN & MRS DIBRELL F FOLLIN JT TEN  2214 WESTMORELAND ST                                                                             FALLS CHURCH     VA    22043‐1750
JOHN W FORMAN                                23616 LONDON CT                         APT 1616                                                 SOUTHFIELD       MI    48033‐3320
JOHN W FOX & MABELL M FOX JT TEN             5147 WILLISTON RD                                                                                MINNETONKA       MN    55345‐4731
JOHN W FRANKLIN                              4403 HOFFMAN FARM DR                                                                             HILLIARD         OH    43026‐7074
JOHN W FRANKS                                6313 OHIO ST                                                                                     ZEPHYRHILLS      FL    33542‐2753
JOHN W FRASER CUST JOHN W FRASER II UTMA FL  108 ISLAND HAMMOCK WAY                                                                           ST AUGUSTINE     FL    32080‐7987
JOHN W FRAZIER                               721 W 1ST ST                                                                                     MARION           IN    46952‐3762
JOHN W FREESTON & JANET M FREESTON JT TEN    1107 DOGWOOD DR                                                                                  READING          PA    19609‐1119
JOHN W FRYE & JANET B FRYE JT TEN            2321 KENSINGTON RD                                                                               LANSING          MI    48910‐2852
JOHN W FURA                                  401 NORTH ADAM STREET                                                                            LOCKPORT         NY    14094‐1455
JOHN W GABBARD                               1115 W STATE HIGHWAY 250                                                                         DEPUTY           IN    47230‐9319
JOHN W GAIN                                  4 KENO LANE                                                                                      WEST GROVE       PA    19390‐9421
JOHN W GAIN CUST LISA K GAIN UGMA PA         4 KENO LANE                                                                                      WEST GROVE       PA    19390‐9421
JOHN W GAIN CUST MATTHEW A GAIN UGMA PA      4 KENO LANE                                                                                      WEST GROVE       PA    19390‐9421
JOHN W GALLAGHER                             411 S ELM RD                                                                                     LAKELAND         FL    33801
JOHN W GALLOWAY & AVILEE GALLOWAY JT TEN     1078 BURRVILLE RD                                                                                SUNBRIGHT        TN    37872‐2112
JOHN W GAUL                                  2008 HAWTHORNE                                                                                   GROSSE PT WDS    MI    48236‐1432
JOHN W GEMMELL & WENDY S GEMMELL JT TEN      64 CASTLEWOOD DRIVE                                                                              KENSINGTON       CT    06037‐2908
JOHN W GEORGE JR & MARILYN J GEORGE JT TEN   BOX 905                                                                                          LITTLE FALLS     NY    13365‐0905
JOHN W GERHEIM CUST JORDON W GERHEIM UGMA TX 58 HALLMARK PL                                                                                   DAHLONEGA        GA    30533‐9602

JOHN W GERHEIM JR CUST LINDSEY J GERHEIM A MINOR 58 HALLMARK PL                                                                               DAHLONEGA        GA    30533‐9602
UNDER THE LAWS OF GA
JOHN W GEROW TR JOHN WESLEY GEROW SR TRUST UA 527 BETHANY VILLAGE CIRCLE                                                                      LEHIGH ACRES     FL    33936‐7625
12/08/04
JOHN W GETZAN & CYNTHIA FORD GETZAN JT TEN       2619 PEBBLE BEACH DR                                                                         OAKLAND          MI    48363‐2450
JOHN W GILBERT                                   14565 INNERARITY POINT RD                                                                    PENSACOLA        FL    32507‐8448
JOHN W GILCHRIST                                 4646 BOBBITT DR                                                                              DALLAS           TX    75229‐4241
JOHN W GLADDEN TR LIVING TRUST 06/21/90 U‐A JOHN 704 JACKSON ST                                                                               KINGS MOUNTAIN   NC    28086‐2236
W GLADDEN
JOHN W GLYNN                                     170 OAK GLEN                                                                                 DAVISON          MI    48423‐9191
JOHN W GOEKE                                     1 LAKE ST                                                                                    COVINGTON        KY    41011‐3644
JOHN W GOODMAN & LINDA S GOODMAN JT TEN          11804 OAK POINT COURT                                                                        RICHMOND         VA    23233‐8708
JOHN W GORBEL                                    7356 OAKWOOD DR                                                                              BROOKFIELD       OH    44403‐9724
JOHN W GRAY                                      9609 RD 11                                                                                   PAYNE            OH    45880‐9129
JOHN W GREENWALD                                 22 FAIRVIEW AVE                                                                              WEST HAVEN       CT    06516‐6433
JOHN W GREGG                                     1243 HWY 69 S                                                                                GRAND RIDGE      FL    32442‐3411
JOHN W GREGORY                                   5624 BENTWOOD LANE                                                                           GREENDALE        WI    53129‐1805
JOHN W GRIFFITH                                  8576 ST RT 124                                                                               HILLSBORO        OH    45133‐9304
JOHN W GRIMES                                    3392 KILDARE RD                                                                              CLEVELAND HTS    OH    44118‐2963
JOHN W GROTH & MILDRED MAE GROTH TR GROTH        1516 SHIELDS AVE                                                                             CEDAR HILL       TX    75104‐1404
FAMILY TRUST UA 06/17/05
JOHN W GUMBERT                                   2854 WALCOT ROAD                                                                             JACKSON          MI    49201‐8212
JOHN W GUNST                                     10410 E SUNSHINE DRIVE                                                                       SELMA            IN    47383
JOHN W GUSSBERRY                                 8773 ROLLING HILLS LANE                                                                      HARRISBURG       AR    72432‐8741
JOHN W GUTHRIE                                   196 WINDEMERE CT                                                                             MELBOURNE        FL    32934‐8027
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 281 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JOHN W HACKWORTH                                 8940 CEDAR CREEK                                                                               DESOTO            KS    66018‐9404
JOHN W HAINES & RUBY L HAINES JT TEN             4303 LAKEWOOD DR                                                                               WATERFORD         MI    48329
JOHN W HALE & CHARLOTTE E HALE JT TEN            14200 ROYAL HARBOUR CT                UNIT 405                                                 FORT MYERS        FL    33908‐6506
JOHN W HALL                                      22999 VALLEY VIEW                                                                              SOUTHFIELD        MI    48034‐3126
JOHN W HALUSKA                                   10712 S KOLMAR                                                                                 OAK LAWN          IL    60453‐5349
JOHN W HALUSKA & JEANETTE M HALUSKA JT TEN       10712 SO KOLMAR                                                                                OAK LAWN          IL    60453‐5349
JOHN W HAMILTON                                  PO BOX 348                                                                                     DAYTONA BEACH     FL    32115‐0348
JOHN W HAMMEL                                    2992 HEMLOCK FARMS                                                                             HAWLEY            PA    18428‐9088
JOHN W HARDY                                     2829 MILLER ROAD                                                                               LINCOLN           MI    48742‐9217
JOHN W HARRIS                                    1146 N EXETER AV                                                                               INDIANAPOLIS      IN    46222‐2915
JOHN W HARRIS                                    410 N SUNSET DR                                                                                PIQUA             OH    45356‐4434
JOHN W HARRIS                                    2992 UPTO RD E                                                                                 COLUMBUS          OH    43232‐5240
JOHN W HARRIS                                    7605 AUGUSTA AVE                                                                               SAINT LOUIS       MO    63121
JOHN W HART                                      3020 STONEHENGE ROAD                                                                           FREMONT           CA    94555‐1456
JOHN W HATHAWAY                                  1145 FM 2199 S                                                                                 MARSHALL          TX    75672‐3358
JOHN W HAWSON & JEAN M HAWSON TR UA 10/22/93     29081 US 19 NORTH # 368                                                                        CLEARWATER        FL    33761‐2460
THE HAWSON FAMILY TRUST
JOHN W HAYES                                     8865 S 100 E                                                                                   MARKLEVILLE       IN    46056‐9717
JOHN W HAYNES                                    21814 SO EMBASSY AVE                                                                           LONG BEACH        CA    90810
JOHN W HECKLER                                   800 HELENDALE RD                                                                               ROCHESTER         NY    14609‐2910
JOHN W HEIMAN                                    7654 MEADOW RIDGE DR                                                                           FISHERS           IN    46038‐2219
JOHN W HELTON                                    34009 CASEVILLE CT                                                                             WESTLAND          MI    48186‐5410
JOHN W HEMPEL                                    3619 SUNRIDGE DR                                                                               FLINT             MI    48506‐2547
JOHN W HENRY & KATHLEEN V HENRY JT TEN           2584 MEADOW RUN                                                                                GERMANTOWN        TN    38138‐6254
JOHN W HENRY CUST MEGAN M HENRY UGMA MI          2584 MEADOW RUN                                                                                GERMANTOWN        TN    38138‐6254
JOHN W HERMES                                    4022 TIPTON WOODS DR                                                                           ADRIAN            MI    49221‐9543
JOHN W HERSHBERGER II PER REP EST ELIZABETH K    4809 VICKY RD                                                                                  BALTIMORE         MD    21236
VONASEK
JOHN W HERZBERG                                  1291 KUEHN RD                                                                                  STERLING          MI    48659‐9707
JOHN W HEWITT                                    4387 THORNAPPLE CIRCLE                                                                         BURTON            MI    48509‐1220
JOHN W HEYDON & LUCILLE M HEYDON JT TEN          9149 PINE BLUFF DR                                                                             FLUSHING          MI    48433‐1207
JOHN W HICKEY                                    100 2ND FLOOR                                                                                  CAMP GROVE        IL    61424
JOHN W HICKEY TR JOHN W HICKEY LIVING TRUST UA   100 2ND ST                                                                                     CAMP GROVE        IL    61424
07/22/96
JOHN W HIGGINS & SANDRA D HIGGINS JT TEN         1108 HILLTOP RD                                                                                CHARLOTTESVILLE   VA    22903‐1221

JOHN W HILL                                     9387 MENDOTA                                                                                    DETROIT           MI    48204‐2650
JOHN W HILL JR                                  505 RYDER RD APT 709                                                                            LANSING           MI    48917
JOHN W HINNERS                                  3132 S 200 E                                                                                    ANDERSON          IN    46017‐9563
JOHN W HODGE JR                                 1590 BUNK NEWELL RD                                                                             MERIDIAN          MS    39301‐8191
JOHN W HODGSON                                  306 LOMBARDY LANE                                                                               OSWEGO            IL    60543‐9724
JOHN W HOHMANN                                  11329 E PRAIRIE AVE                                                                             MESA              AZ    85212‐1975
JOHN W HOLMES & MRS CAROL J HOLMES JT TEN       2713 PINETREE                                                                                   TRENTON           MI    48183‐2233
JOHN W HOLTZAPPLE & MARY G C HOLTZAPPLE TEN ENT 2571 RALEIGH DRIVE                                                                              YORK              PA    17402‐3914

JOHN W HOLZER                                    914 COLLEGE AVENUE                                                                             RICHMOND        IN      47374‐5227
JOHN W HONKALA                                   2785 ELIZABETH LANE                                                                            WEST BLOOMFIELD MI      48324‐2186

JOHN W HOOS                                      9 DEERFIELD DR                                                                                 BIG FLATS         NY    14814‐7920
JOHN W HOPKINS                                   690 CHEESMAN                                                                                   SAINT LOUIS       MI    48880‐9497
JOHN W HOUGH TR RESIDUARY TR U‐W H H HARRIS TR   30 SOUTH WACKER DR SUITE 2300         SUITE 1200                                               CHICAGO           IL    60602

JOHN W HOUSER TR JOHN W HOUSER TRUST 01/31/02    6137 BOROWY DR                                                                                 COMMERCE TWP      MI    48382‐3612

JOHN W HOWELL                                    11838 CHASE WELLESLEY DR #418                                                                  RICHMOND          VA    23233‐7755
JOHN W HOWELL & REE C HOWELL JT TEN              916 LESLIE AVE                                                                                 HELENA            MT    59601‐2522
JOHN W HUDSON                                    18695 CHERRYLAWN                                                                               DETROIT           MI    48221‐2045
JOHN W HUGHES JR                                 170 BAY ROAD                                                                                   OCEAN CITY        NJ    08226‐4442
JOHN W HULBERT                                   417 SAN CARLOS RD                                                                              MINOOKA           IL    60447‐9344
                                             09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 282 of 855
Name                                           Address1                            Address2             Address3          Address4          City               State Zip

JOHN W HULL                                    580 E WALNUT ST                                                                              WESTERVILLE        OH    43081‐2466
JOHN W HUNT & ALICE HUNT JT TEN                8704 GOOSE POND CV                                                                           WAXHAW             NC    28173
JOHN W HUNTER                                  54568 MARISSA CT                                                                             SHELBY TOWNSHIP    MI    48316‐1291

JOHN W HUNTER & MAXINE A HUNTER JT TEN         54568 MARISSA CT                                                                             SHELBY TOWNSHIP    MI    48316‐1291

JOHN W INGRODY & JANE P INGRODY JT TEN         30725 SHERIDAN ST                                                                            GARDEN CITY        MI    48135‐1320
JOHN W JACKSON                                 3940 YORKSHIRE RD                                                                            DETROIT            MI    48224‐2326
JOHN W JACKSON                                 37 S GREENWOOD FOREST DR                                                                     ETOWAH             NC    28729‐9732
JOHN W JACKSON                                 4807 SAN ANTONE                                                                              BOSSIER CITY       LA    71111‐2626
JOHN W JACKSON                                 627 CATALPA                                                                                  LIMA               OH    45804‐2025
JOHN W JACOBS & MARGARET S JACOBS JT TEN       452 S SIXTH                                                                                  INDIANA            PA    15701‐3163
JOHN W JACQUES                                 1853 INDIANWOOD TR                                                                           WEST BRANCH        MI    48661‐9731
JOHN W JAGELSKI                                3039 EBBTIDE DR                                                                              EDGEWOOD           MD    21040
JOHN W JARRELL                                 2217 CENTERVILLE RD                                                                          WILMINGTON         DE    19808‐3337
JOHN W JENKINS                                 5606 MCEVER RD                                                                               FLOWERY BRANC      GA    30542‐2737
JOHN W JOHNSON                                 11637 ILENE                                                                                  DETROIT            MI    48204‐1938
JOHN W JOHNSON                                 16834 MARLOWE                                                                                DETROIT            MI    48235‐4074
JOHN W JOHNSON                                 1250 CHOUTEAU AVE                   APT 333                                                  SAINT LOUIS        MO    63103‐3133
JOHN W JOHNSON                                 1268 COUNTRY LN DR N E                                                                       CONYERS            GA    30012‐2202
JOHN W JOHNSON                                 2778 WABUM                                                                                   WHITE LAKE         MI    48386‐1575
JOHN W JOHNSTON                                606 5TH ST N                                                                                 SPRINGVILLE        IA    52336‐9611
JOHN W JOHNSTON                                508 MADISON ST                                                                               HOWELL             MI    48843‐1626
JOHN W JONES & SHIRLEY A JONES JT TEN          1013 RANGE RD                                                                                WANA               WV    26509
JOHN W JORDAN                                  2715 DELL ZELL DR                                                                            INDIANAPOLIS       IN    46220‐5840
JOHN W JUDSON JR & DORINDA M JUDSON JT TEN     6 E PINE ST                                                                                  PLAISTOW           NH    03865‐2620

JOHN W JURIGA                                  3090 COLLINS ROAD                                                                            OAKLAND            MI    48363‐3034
JOHN W KANG                                    4446 TANBARK ST                                                                              BLOOMFIELD HILLS   MI    48302‐1651

JOHN W KARNS                                   7432 NEW YORK WAY                                                                            DAYTON             OH    45414‐2490
JOHN W KASSEK                                  363 BOCA CIEGA POINT BLVD NORTH                                                              ST PETERSBURGE     FL    33708‐2735
JOHN W KATCHAN                                 11202 PFEFFERS ROAD                                                                          BRADSHAW           MD    21087‐1835
JOHN W KEARNEY                                 3420 S ARROWHEAD CT                                                                          INDEPENDENCE       MO    64057‐1276
JOHN W KEKEL                                   9045 BRISTOL ROAD                                                                            SWARTZ CREEK       MI    48473‐8502
JOHN W KELLY                                   170 CLARD MEADOWS                                                                            CANANDAIGUA        NY    14424
JOHN W KELLY TR UW TEKLA M HANSEN              493A PAWNEE LN                                                                               STRATFORD          CT    06614‐8275
JOHN W KENNEDY                                 1806 NEW HOPE & CRIMORA RD                                                                   CRIMORA            VA    24431‐2200
JOHN W KERNODLE                                438 LOWERY ST                                                                                JAMESTOWN          IN    46147‐9106
JOHN W KETZ                                    9572 BERYL ST                                                                                CANAL FULTON       OH    44614‐9349
JOHN W KILPATRICK                              22812 SAINT JOAN ST                                                                          ST CLR SHORES      MI    48080‐2491
JOHN W KILROY CUST TIMOTHY MARK KILROY UGMA OH PO BOX 15234                                                                                 PITTSBURGH         PA    15237‐0234

JOHN W KIMBLE                                  29 STABILIZER DR                                                                             BALTIMORE          MD    21220‐4539
JOHN W KIMBLE                                  6117 OXFORDSHIRE CT                                                                          RALEIGH            NC    27606‐9035
JOHN W KING                                    3125 BEELER AVE                                                                              INDIANAPOLIS       IN    46224‐2549
JOHN W KINGERY                                 1237 W PARK AVE                                                                              BRAZIL             IN    47834‐7544
JOHN W KIRKMAN & RUTHANN KIRKMAN JT TEN        1839 SKYLINE DR                                                                              GREENWOOD          IN    46143
JOHN W KISER                                   219 E 63RD ST                                                                                KANSAS CITY        MO    64113‐2224
JOHN W KLESCH                                  34490 RIDGE RD                      # B217                                                   WILLOUGHBY         OH    44094‐3030
JOHN W KNAUS                                   1159 KENILWORTH                                                                              CLAWSON            MI    48017‐2905
JOHN W KNIGHT                                  135 HAWTHORN DR                                                                              NEW CONCORD        OH    43762‐9202
JOHN W KORAL JR                                30438 GLENWOOD CIRCLE                                                                        WARREN             MI    48093‐3332
JOHN W KOSSOWAN & MRS CAROLYN S KOSSOWAN JT    175 WOLFS LN                                                                                 PELHAM             NY    10803‐1814
TEN
JOHN W KOWALESKI                               5763 ADA DR SE                                                                               ADA                MI    49301
JOHN W KUDALSKI JR                             11848 RIVER RD                                                                               BRETHREN           MI    49619‐9740
JOHN W KUELSKE & FRANCES A KUELSKE JT TEN      1010 NORTH THOMAS                                                                            SAGINAW            MI    48609‐9590
JOHN W KUYKENDALL                              PO BOX 1768                                                                                  DAVIDSON           NC    28036‐1768
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 283 of 855
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

JOHN W LA TOUR                                  5205 AMHERST DRIVE                                                                             CHANDLER          TX    75758
JOHN W LABARGE                                  16 W MAIN ST BOX 23                                                                            NORFOLK           NY    13667‐0023
JOHN W LANDERS JR                               BOX 884                                                                                        LAKE PLACID       FL    33862‐0884
JOHN W LANG                                     3435 23RD AVE                                                                                  MERIDIAN          MS    39305‐3838
JOHN W LARCOM                                   704 FIR ST                                                                                     GARDEN CITY       MO    64747‐9100
JOHN W LARMOND                                  7 HUNT ST R R #1                      AYR ON                                 N0B 1E0 CANADA
JOHN W LARSON                                   1062 E MANDEVILLE ST                                                                           BURTON            MI    48529‐1125
JOHN W LAURSEN JR                               3842 PLYMOUTH CHURCH RD                                                                        BELOIT            WI    53511‐9324
JOHN W LAYTON & SHIRLEY R LAYTON JT TEN         PO BOX 856                                                                                     FOWLERVILLE       MI    48836‐0856
JOHN W LEE                                      736 BIRCHWOOD DR                                                                               FLUSHING          MI    48433‐1357
JOHN W LEE                                      2546 CLEVELAND WAY                                                                             CANTON            MI    48188‐6250
JOHN W LEE & MARISA LEE JT TEN                  90 INWOOD AVE                                                                                  POUGHKEEPSIE      NY    12601‐1242
JOHN W LENER & ROSE MARY LENER JT TEN           1030 SKYLINE CIR                                                                               NORRISTOWN        PA    19403‐1838
JOHN W LENNON                                   27 RUBY LN                                                                                     HARRISON          ME    04040‐3532
JOHN W LEPP                                     29 S ALLEN AVE                        APT 103                                                  PASADENA          CA    91106‐2853
JOHN W LETNER                                   801 W GORDON PIKE                                                                              BLOOMINGTON       IN    47403‐4331
JOHN W LEWIS                                    RR 2 BOX 1C                                                                                    TEMPLETON         PA    16259‐9301
JOHN W LEWIS IV                                 40 W KESSLER BLVD W DR                                                                         INDIANAPOLIS      IN    46208‐1551
JOHN W LEZENBY JR                               265 WASHINGTON DR                                                                              PENNSVILLE        NJ    08070‐1313
JOHN W LILLEY                                   6356 CLINTON TINNIN RD                                                                         JACKSON           MS    39209
JOHN W LITTLE                                   2407 WAYNESVILLE‐JAMESTOWN RD                                                                  XENIA             OH    45385‐9631
JOHN W LLOYD                                    3318 N 3100 E                                                                                  TWIN FALLS        ID    83301‐0336
JOHN W LOCKE                                    4744 KEITHDALE LN                                                                              BLOOMFIELD        MI    48302‐2403
JOHN W LOEFFLER                                 4273 PROJECT RD                                                                                LUEBBERING        MO    63061‐1206
JOHN W LOEFFLER & JOHN W LOEFFLER JT TEN        4273 PROJECT RD                                                                                LUEBERING         MO    63060‐3206
JOHN W LOGSDON                                  8891 STATE HWY 19                                                                              EDGEWOOD          TX    75117‐5406
JOHN W LONG                                     3 MARTIN RD                                                                                    OSSINING          NY    10562‐5602
JOHN W LOWRIE                                   1961 E WINEGAR RD                                                                              MORRICE           MI    48857‐9749
JOHN W LUCAS & CANDEE L LUCAS JT TEN            117 N MARGARET DR                                                                              LAKESIDE          OH    43440‐1036
JOHN W LUCHENBILL                               1300 SOUTH STREET                                                                              OWOSSO            MI    48867
JOHN W LUCKETT                                  14838 GRIGGS                                                                                   DETROIT           MI    48238‐1669
JOHN W LYTER III & JOHN R LYTER JT TEN          724 W LOUTHER ST                                                                               CARLISLE          PA    17013‐2216
JOHN W MAC DOWELL JR                            1086 WOODRIDGE TRL                                                                             SANFORD           NC    27332‐8035
JOHN W MAC NABB JR                              PO BOX 383                                                                                     JORDAN            NY    13080‐0383
JOHN W MAHER JR                                 96 FORT MEADOW DR                                                                              HUDSON            MA    01749‐3140
JOHN W MAHONEY & MRS RITA JEAN MAHONEY JT TEN   623 N MARTIN                                                                                   WAUKEGAN          IL    60085‐3435

JOHN W MAIER                                    1113 EAST 240 NORTH                                                                            ANDERSON          IN    46012‐9638
JOHN W MALCOLM                                  RUPERT HILL RD                                                                                 PAWLET            VT    05761
JOHN W MALRAY                                   105 MAPLE ST                                                                                   HOMER             LA    71040‐3707
JOHN W MANN                                     239 SEA OATS TRL                                                                               SOUTHERN SHORES   NC    27949‐3310

JOHN W MANN                                     225 N MAIN STREET                                                                              GERMANTOWN        OH    45327‐1007
JOHN W MARA CUST MATTHEW P MARA UGMA TX         17414 SPRING CREEK FOREST DR                                                                   SPRING            TX    77379‐4819

JOHN W MAREK JR                                 2023 N ATLANTIC AVE # 242                                                                      COCOA BEACH       FL    32931
JOHN W MARQUETTE                                126 N NEW ST                                                                                   STANTON           MI    48888‐9527
JOHN W MARSHALL                                 1200 W CHEYENNE AVE                   APT 1022                                                 N LAS VEGAS       NV    89030‐7830
JOHN W MARTIN                                   369 E KELLER HILL RD                                                                           MOORESVILLE       IN    46158‐7271
JOHN W MARTIN                                   1146 COUNTY ROAD 118                                                                           TOWN CREEK        AL    35672‐7158
JOHN W MATOSKY JR                               5071 LITTLE RICHMOND RD                                                                        TROTWOOD          OH    45426‐3207
JOHN W MATTHEWS                                 3343 W WILSON RD                                                                               CLIO              MI    48420‐1929
JOHN W MC CALL                                  205 WOODLAND DR                                                                                ENGLEWOOD         FL    34223‐4657
JOHN W MC CRAY                                  552 BERGEN AVENUE                                                                              JERSEY CITY       NJ    07304‐2527
JOHN W MC KEON                                  310 SOUTH IRVING STREET                                                                        RIDGEWOOD         NJ    07450‐5130
JOHN W MC LAIN                                  46 RIVER FOREST                                                                                ANDERSON          IN    46011‐1919
JOHN W MC NAMEE                                 1258 LOUISE DR                                                                                 XENIA             OH    45385‐1733
JOHN W MC PHAIL                                 1 COLONY POINT DR #16C                                                                         PUNTA GORDA       FL    33950‐5063
                                          09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 284 of 855
Name                                           Address1                              Address2                 Address3      Address4          City              State Zip

JOHN W MC WILLIAMS & NANCY J MC WILLIAMS JT TEN 18563 CHATHAM                                                                                 RIVERVIEW         MI    48192‐7704

JOHN W MCCAW JR                                3850 RIO ROAD 89                                                                               CARMEL            CA    93923
JOHN W MCCREIGHT                               375 EAST BEAU ST                                                                               WASHINGTON        PA    15301‐3639
JOHN W MCGINLEY                                117 LLANGOLLEN BLVD                                                                            NEW CASTLE        DE    19720‐4709
JOHN W MCGINNIS & JACQUELINE POORE JT TEN      801 19TH STREET                                                                                AMBRIDGE          PA    15003‐1808
JOHN W MCGRATH                                 119 MESSIAH CIR                                                                                MECHANICSBURG     PA    17055‐8609
JOHN W MCKEE                                   4331‐A WILD TURKEY ROAD                                                                        ANDERSON          IN    46013‐1241
JOHN W MCNULTY TR JOHN W MCNULTY TRUST UA      1243 E MADISON PARK                                                                            CHICAGO           IL    60615‐2914
10/23/96
JOHN W MCNULTY TR UA 04/29/99 JOHN W MCNULTY   5321 VALLEY TRL                                                                                RACINE            WI    53402
REV TRUST
JOHN W MCPHERSON JR TR UA 9/12/2005 JOHN W     415 PERSHING AVENUE                                                                            INDIANOLA         MS    38751
MCPHERSON FAM TRUST
JOHN W MELZER                                  1648 MANOR RD                                                                                  BALTIMORE         MD    21222‐2051
JOHN W MERCER & SONJA A MERCER JT TEN          12095 CAVE CREEK COURT                                                                         NOBLESVILLE       IN    46060‐4146
JOHN W MEREDITH                                5337 GOODMAN LN                                                                                OVERLAND PARK     KS    66202‐1110
JOHN W MERRIFIELD                              10616 KETCHUM ROAD                                                                             NORTH COLLINS     NY    14111‐9778
JOHN W MEYER & MRS CLARA E MEYER JT TEN        242 HOWES DRIVE                                                                                LOS GATOS         CA    95032‐4037
JOHN W MICHAEL                                 221 ANTIETAM RD                                                                                BALTIMORE         MD    21221‐1503
JOHN W MICHALEK                                43525 CLAY RD                                                                                  BELLEVILLE        MI    48111‐9114
JOHN W MIKESELL                                513 NORTH MCKINLEY RD                                                                          FLUSING           MI    48433‐1352
JOHN W MILLS                                   327 WAVERLEY AVE                                                                               ROYAL OAK         MI    48067‐1338
JOHN W MINTO                                   10 FIFTH STREET                                                                                ELIZABETH         NJ    07206‐1102
JOHN W MISCH                                   18 JEFFERSON DR                                                                                LOCKPORT          NY    14094‐5521
JOHN W MITCHELL                                PO BOX 1228                                                                                    STUART            VA    24171‐1228
JOHN W MITCHELL                                6421 F 41                                                                                      SPRUCE            MI    48762‐9720
JOHN W MITCHELL                                2613 SW WINTERVALLEY CIR                                                                       LEES SUMMIT       MO    64081‐2590
JOHN W MITCHELL                                320 N NORTH CURTICE RD                                                                         OREGON            OH    43618‐9608
JOHN W MOEHLE                                  C/O ELIZABETH MOEHLE JOHNSON          1224 W ANN ARBOR TRAIL                                   PLYMOUTH          MI    48170‐1559
JOHN W MOORE                                   575 GLOROSE                                                                                    ST LOUIS          MO    63137‐3420
JOHN W MOORE                                   624 S 25TH ST                                                                                  SAGINAW           MI    48601‐6518
JOHN W MOORE                                   16265 GEDDES RD                                                                                HEMLOCK           MI    48626‐9604
JOHN W MOORE                                   67 WAGON WHEEL LN                                                                              COLUMBUS          NJ    08022
JOHN W MOORE & PATRICIA A MOORE TR MOORE       6375 TWP RD 29                                                                                 MANSFIELD         OH    44904‐9380
FAMILY TRUST UA 09/29/05
JOHN W MORANT                                  PO BOX 3512                                                                                    GREENSBORO        NC    27402‐3512
JOHN W MORRISON                                4501 SE RHODESA ST                                                                             MILWAUKIE         OR    97222‐5162
JOHN W MORRISON & MARY K MORRISON JT TEN       2171 TEAL CT SE                                                                                GRAND RAPIDS      MI    49546‐7940
JOHN W MOSS                                    277 MICHIGAN                                                                                   PONTIAC           MI    48342‐2535
JOHN W MURDOCK                                 8210 ABINGDON CT                                                                               UNIVERSITY PK     FL    34201
JOHN W MURPHY & MARIE B MURPHY JT TEN          22 LEAMINGHOUSE CT                                                                             IRMO              SC    29063‐7956
JOHN W MUTSCHLER                               6645 PRADERA AVE                                                                               SN BERNRDNO       CA    92404‐5753
JOHN W MYERS & PATRICIA M EGAN JT TEN          7 MAXWELL DRIVE                                                                                ROCKY HILL        CT    06067
JOHN W NESBITT                                 1010 KELSEY ROSE CT                                                                            LEBANON           IN    46052‐8011
JOHN W NEWCOMBE                                2610 COSTA MESA                                                                                WATERFORD         MI    48329‐2431
JOHN W NEWSOM                                  605 NEAL RD                                                                                    DUNLAP            TN    37327‐4707
JOHN W NIBERT & ELEANOR L NIBERT JT TEN        2077 ALBERTA ST                                                                                WESTLAND          MI    48186‐4677
JOHN W NILAND                                  6 OSPREY DRIVE                                                                                 GALES FERRY       CT    06335‐2016
JOHN W NORWOOD                                 5340 OAKMAN BLVD                                                                               DETROIT           MI    48204‐4909
JOHN W NOYES                                   1661 N LONGFELLOW ST                                                                           ARLINGTON         VA    22205‐2835
JOHN W O LEARY                                 2030 CHARTER AVE                                                                               PORTAGE           MI    49024‐4944
JOHN W O'GRADY                                 PO BOX 93                                                                                      WHITE OWL         SD    57792‐0093
JOHN W O'KEEFE                                 16540 IRWINTON CIR                                                                             LAKEVILLE         MN    55044‐4587
JOHN W OHSNER                                  7720 SCARFF RD                                                                                 NEW CARLISLE      OH    45344‐8684
JOHN W OPRIAN                                  2022 S PLAZA DRIVE                                                                             AKRON             OH    44319‐1316
JOHN W ORTIZ                                   1439 F ST                                                                                      UNION CITY        CA    94587‐2227
JOHN W ORTIZ TR JOHN W ORTIZ LIVING TRUST UA   2231 NE 56TH PL                                                                                FORT LAUDERDALE   FL    33308‐2604
12/18/95
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                     Part 4 of 8 Pg 285 of 855
Name                                          Address1                                Address2             Address3                Address4          City              State Zip

JOHN W OSTER & CATHERINE A OSTER JT TEN       1561 DIANDA DR                                                                                         CONCORD           CA    94521‐1949
JOHN W OTTEN                                  756 E BROAD ST                                                                                         GIBBSTOWN         NJ    08027‐1116
JOHN W PARK & REGINA F FOSTER‐PARK JT TEN     10214 W BOLIVAR DR                                                                                     SUN CITY          AZ    85351
JOHN W PARRISH JR                             419 NORTH MAIN ST                                                                                      UNION             OH    45322‐9719
JOHN W PARSONS                                420 MCCRILLIS CORNER RD                                                                                WILTON            ME    04294
JOHN W PARSONS JR                             2904 LONGSTREET SW                                                                                     WYOMING           MI    49509‐2924
JOHN W PATTERSON                              8098 SE 21ST AVE                                                                                       OCALA             FL    34480‐7256
JOHN W PAUGH                                  30 SPRING CREEK DR                                                                                     CORTLAND          OH    44410‐1674
JOHN W PAUL                                   5222 BOTSFORD                                                                                          STERLING HTS      MI    48310‐5711
JOHN W PEEK                                   3048 BLUEBELL LANE                                                                                     INDIANAPOLIS      IN    46224‐2013
JOHN W PETHERS                                4066 WELCOME DR                                                                                        FLINT             MI    48506‐2060
JOHN W PHILLIPS                               208 HARPERS WAY                                                                                        LANSING           MI    48917‐9610
JOHN W PIDGEON                                1259 PEACHWOOD                                                                                         FLINT             MI    48507‐3770
JOHN W PINSON                                 665 E 117TH ST                                                                                         CLEVELAND         OH    44108‐4204
JOHN W PINSON                                 2227 ADAMS AVE                                                                                         FLINT             MI    48505‐5009
JOHN W PLEVELICH                              322 ROYAL OAK BLVD                                                                                     CLEVELAND         OH    44143‐1708
JOHN W POCHRON & ELIZABETH POCHRON JT TEN     BOX 8                                                                                                  RICES LANDING     PA    15357‐0008

JOHN W PODBELSKI                              37 BURCHFIELD AVE                                                                                      CRANFORD          NJ    07016‐3103
JOHN W POTTER                                 911 TURNER ASHBY RD                                                                                    MARTINSVILLE      VA    24112‐0650
JOHN W POWELL                                 20771 PORTER RANCH RD                                                                                  TRABUCOCANYON     CA    92679‐3370

JOHN W POWELL                                 5166 BLACKFOOT DR                                                                                      LITHONIA          GA    30038‐1102
JOHN W POWELL JR                              18629 BILTMORE ST                                                                                      DETROIT           MI    48235‐3030
JOHN W PRIOR & MARJORIE H PRIOR JT TEN        531 E 40TH AVE                                                                                         EUGENE            OR    97405‐3918
JOHN W PURDY                                  661 MINOR ST                                                                                           EMMAUS            PA    18049‐3711
JOHN W QUASNEY                                PO BOX 264                                                                                             GEORGETOWN        MD    21930‐0264
JOHN W RAINNEY & KAREN L RAINNEY JT TEN       JOHN W RAINNEY & KAREN L                RAINNEY JT TEN       5601 DUNCAN RD LOT 29                     PUNTA GORDA       FL    33982‐4736
JOHN W RAITHEL                                25038 HAZELNUT CT                                                                                      GROSSE ILE        MI    48138‐2314
JOHN W RALSTON                                606 1/2 OHIO STREET                                                                                    GEORGETOWN        OH    45121‐1138
JOHN W RAUB                                   513 SUDBURY CT                                                                                         INDIANAPOLIS      IN    46234‐2252
JOHN W RAUB & MARGARET E RAUB JT TEN          513 SUDBURY CT                                                                                         INDIANAPOLIS      IN    46234‐2252
JOHN W RAY                                    1320 E OAKLAND                                                                                         LANSING           MI    48906‐5542
JOHN W REAGAN                                 5899 PADDINGTON RD                                                                                     CENTERVILLE       OH    45459‐1750
JOHN W RECK                                   431 BRIDLE LN NORTH                                                                                    WEST CAROLLTON    OH    45449‐2119

JOHN W REED                                   PO BOX 61                                                                                              FAIRMOUNT         IL    61841‐0061
JOHN W REEVES & SHANNON S REEVES JT TEN       411 W 25TH                                                                                             SPOKANE           WA    99203‐1807
JOHN W REGISH                                 1095 HIGHLAND                                                                                          LINCOLN PARK      MI    48146‐4203
JOHN W REILLY                                 4250 K ST                                                                                              PHILADELPHIA      PA    19124‐4817
JOHN W REYNOLDS                               426 S 3RD ST                                                                                           LINDENHURST       NY    11757‐4836
JOHN W RHYNE EX UW JAMES H RHYNE              103 TRAIL LAKE DR                                                                                      LAFAYETTE         GA    30728‐2127
JOHN W RICHARDSON                             317 IVANHILL RD                                                                                        TOLEDO            OH    43615‐5241
JOHN W RICHMOND                               5123 EL RANCHO CT                                                                                      ARLINGTON         TX    76017‐2008
JOHN W RIESS                                  8771 ESSEN                                                                                             STERLING HGTS     MI    48314‐1650
JOHN W RILEY                                  PO BOX 9424                                                                                            ELIZABETH         NJ    07202‐0424
JOHN W RIMASSA                                2737 WINDING CREEK CIR                                                                                 NORMAN            OK    73071‐7040
JOHN W RINGO                                  2022 BARKS                                                                                             FLINT             MI    48503‐4306
JOHN W RISTER                                 5698 KINGSBORO DR                                                                                      COLORADO SPGS     CO    80911‐3852
JOHN W RITCHIE                                1305 NEW STREET                                                                                        WILMINGTON        DE    19808‐5821
JOHN W RITCHIE & WAYNE A RITCHIE JT TEN       1305 NEW ST                                                                                            WILMINGTON        DE    19808‐5821
JOHN W ROAN & LINDA M ROAN JT TEN             284 DEIBLER RD                                                                                         PA FURNACK        PA    16865‐9508
JOHN W ROBERTSON                              BOX 35                                                                                                 FOREST            IN    46039‐0035
JOHN W ROBINSON                               BOX 47                                                                                                 GOLIAD            TX    77963‐0047
JOHN W ROBINSON JR                            3277 CANTERBURY DR                                                                                     BAY CITY          MI    48706‐2005
JOHN W ROBINSON JR                            326 SO 31ST ST                          PO BOX 14925                                                   SAGINAW           MI    48601‐0925
JOHN W ROBINSON JR                            103 MELVIN DRIVE                                                                                       HARRIMAN          TN    37748‐8102
JOHN W ROCKENBACH                             17 NORTH PENN STREET                                                                                   CLIFTON HEIGHTS   PA    19018‐1616
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 286 of 855
Name                                            Address1                                 Address2             Address3          Address4          City              State Zip

JOHN W ROCKENBACH & ELIZABETH T ROCKENBACH JT   17 N PENN ST                                                                                      CLIFTON HEIGHTS   PA    19018‐1616
TEN
JOHN W RODGERS                                  294 BIG BUCK TRAIL                                                                                JACKSON           GA    30233‐6628
JOHN W ROHRER                                   493 EMPIRE ST                                                                                     LEETONIA          OH    44431‐9643
JOHN W ROSE                                     5702 E DESERT VISTA TRL                                                                           CAVE CREEK        AZ    85331‐6401
JOHN W ROSS                                     5875 RHODES AVE                                                                                   NEW ORLEANS       LA    70131‐3925
JOHN W ROWLAND JR                               8128 NECK ROAD                                                                                    WILLIAMSPORT      MD    21795‐2125
JOHN W ROYER                                    3002 W C R 100 S                                                                                  GREENFIELD        IN    46140
JOHN W RUDER & KAREN RUDER JT TEN               23117 59TH PL S                                                                                   KENT              WA    98032‐6495
JOHN W RUMLEY CUST KRISTEN HANLON UGMA CT       PO BOX 94                                                                                         WESTPORT          CT    06881‐0094

JOHN W RYAN SR                                  6721 NORTH LAPEER RD                                                                              FOSTORIA          MI    48435‐9684
JOHN W SAGER                                    8023 SOUTH ASTERWOOD COURT                                                                        MIDDLEVILLE       MI    49333‐8906
JOHN W SALZMANN & MRS JEAN BERNICE SALZMANN     515 BLOOMFIELD AVE                                                                                DREXEL HILL       PA    19026‐5209
TEN ENT
JOHN W SCHMIDLEY                                1523 WOODRIDGE DR                                                                                 CHIPPEWA FLS      WI    54729‐2053
JOHN W SCHNEIDER                                13453 AMMAN RD                                                                                    CHESANING         MI    48616‐9454
JOHN W SCHULTZ JR & IRENE J SCHULTZ JT TEN      2079 MAPLERIDGE RD                                                                                ROCHESTER HILLS   MI    48309‐4503
JOHN W SCOTT                                    505 HOWLAND WILSON ROAD                                                                           WARREN            OH    44484
JOHN W SCOTT                                    104 WOODLAND TRCE                                                                                 CORTLAND          OH    44410‐1903
JOHN W SCOTT                                    4259 CARMANWOOD AVE                                                                               FLINT             MI    48507‐5505
JOHN W SEARS                                    9609 W CR 1000 S                                                                                  LOSANTVILLE       IN    47354‐9707
JOHN W SEBEKOS                                  2 EDWARD DRIVE                                                                                    FRANKLIN PARK     NJ    08823‐1664
JOHN W SEDDON JR                                22 FABER AVE                                                                    512 SINGAPORE
JOHN W SELEY & DORIS I SELEY TEN ENT            2600 BERNE ROAD                                                                                   ELKTON            MI    48731‐9790
JOHN W SELLERS                                  1107 BUTTERNUT                                                                                    ROYAL OAK         MI    48073‐3281
JOHN W SENN                                     6 IRVING ROAD                                                                                     SCOTIA            NY    12302‐2402
JOHN W SEXTON                                   4113 FLINTVILLE ROAD RD 2                                                                         DARLINGTON        MD    21034‐1138
JOHN W SHADLE 3RD & MRS NANCY SHADLE JT TEN     8535 TALL PINE ROAD                                                                               BRITT             MN    55710‐8039

JOHN W SHAFFER                                  3041 BRISTOL CHAMPION                                                                             BRISTOLVILLE      OH    44402‐9666
JOHN W SHAFFRAN                                 756 WHITE PINE TREE RD                   APT 101                                                  VENICE            FL    34285‐4227
JOHN W SHANER                                   24727 MAGNOLIA FLS                                                                                SAN ANTONIO       TX    78261‐2475
JOHN W SHARROCK                                 3225 WEST RD                                                                                      E LANSING         MI    48823‐7306
JOHN W SHEALY                                   1215 LAKE AVE                                                                                     NORTH AUGUSTA     SC    29841‐3346
JOHN W SHERMAN & SHIRLEY J ALEXANDER JT TEN     603 SEFFNER VALRICO RD                                                                            VAIRICO           FL    33594‐2964

JOHN W SHIVERS                                  4109 BELLE AVE                                                                                    BALTIMORE         MD    21215‐4917
JOHN W SHULTZ                                   909 AETNA ST                                                                                      CONNELLSVILLE     PA    15425‐4419
JOHN W SIMMONS                                  7220 S ATLANTA PLACE                                                                              TULSA             OK    74136
JOHN W SIMMONS & SHIRLEY SIMMONS JT TEN         1260 EAST 6TH ST                                                                                  ST PAUL           MN    55106‐4703
JOHN W SINGELTON                                3818 PEACH ST                                                                                     SAGINAW           MI    48601‐5554
JOHN W SKINNER                                  15225 S E 73RD                                                                                    CHOCTAW           OK    73020‐5009
JOHN W SKINNER                                  PO BOX 142                               ROSSEAU NB                             E0C 1J0 CANADA
JOHN W SMITH                                    431 EAST 126TH ST                                                                                 CARMEL            IN    46032‐2680
JOHN W SMITH                                    52 CONNIE                                                                                         ST CHARLES        MO    63301‐3111
JOHN W SNIDER                                   502 UNION STREET                                                                                  GENEVA            IL    60134‐1370
JOHN W SOUTHWARD                                365 SOUTH RD                                                                                      NEW HARTFORD      CT    06057‐3636
JOHN W SPARK                                    7267 LANCELOT DRIVE                                                                               PARMA             OH    44134‐5713
JOHN W SPENSER                                  BOX 109                                  11421 LOCKWOOD DR                                        SILVER SPRING     MD    20904‐2610
JOHN W SPIEGL & ROBERT SPIEGL JT TEN            7209 BLAIR LN                                                                                     FOX LAKE          IL    60020‐1026
JOHN W ST AMANT                                 4410 WOODISDE DR                                                                                  BATON ROUGE       LA    70808
JOHN W STANULIS                                 17070 SWAN CREEK                                                                                  HEMLOCK           MI    48626‐8768
JOHN W STARNES                                  6079 LENNON RD                                                                                    SWARTZ CREEK      MI    48473‐7904
JOHN W STARRY JR CUST SIMONE STARRY UGMA TX     6103 STEFANI DR                                                                                   DALLAS            TX    75225‐1924

JOHN W STEPHENS                                 5232 SW BANCROFT ST                                                                               PORTLAND          OR    97221‐2040
JOHN W STERLING III                             237 W BROADWAY                                                                                    JIM THORPE        PA    18229‐1905
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 287 of 855
Name                                             Address1                              Address2              Address3         Address4          City            State Zip

JOHN W STEVENS & MRS BERTHA M STEVENS JT TEN     7520 N WILLIAMS RD                                                                             ST JOHNS        MI    48879‐9479

JOHN W STEWART                                   ATTN MRS JOHN W STEWART               2011 COLLINSWOOD DR                                      SNELLVILLE       GA   30078‐2508
JOHN W STEWART                                   140 NORTH 200 WEST                    PO BOX 184                                               MENDON           UT   84325‐0184
JOHN W STEWART                                   265 SUN DRIVE                                                                                  JACKSON          MS   39211‐4340
JOHN W STEWART & REBECCA C STEWART JT TEN        265 SUN DRIVE                                                                                  JACKSON          MS   39211‐4340
JOHN W STILES                                    1377 HILTON PARMA RD                                                                           HILTON           NY   14468‐9342
JOHN W STODDARD                                  1234 REYNOLDS RD #97                                                                           LAKELAND         FL   33801‐6448
JOHN W STONE                                     1005 W HIGHLAND AVE                                                                            KINSTON          NC   28501‐2757
JOHN W STONE & MRS MARILYN L STONE JT TEN        1307 DEERFIELD LANE                                                                            LADY LAKE        FL   32162‐7146
JOHN W STRZEMPEK                                 29206 GRANT ST                                                                                 ST CLR SHORES    MI   48081‐3211
JOHN W STURM                                     2122 BEDFORD RD                                                                                LOWELLVILLE      OH   44436‐9753
JOHN W SUBLETT                                   7090 COVENANT WOODS DR                APT H301                                                 MECHANICSVLLE    VA   23111‐7049
JOHN W SUH                                       25383 LIBERTY LN                                                                               FARMINGTON HILLS MI   48335‐1239

JOHN W SUMNER                                    2208 SINCLAIR                                                                                  MIDLAND         TX    79705‐8649
JOHN W SUSTARICH TR U‐A JOHN W SUSTARICH TRUST   BOX 234                                                                                        SEBASTOPOL      CA    95473‐0234
1989 12/27/89
JOHN W SWANSON                                   7238 OJIBWA RD NO                                                                              BRAINERD        MN    56401‐8526
JOHN W SWEITZER & ROBERT E SWEITZER JT TEN       2938 NORWOOD                                                                                   TRENTON         MI    48183‐3545
JOHN W SWINEFORD II                              11100 RIVER RD                                                                                 CHESTERFIELD    VA    23838‐4127
JOHN W SYMINGTON                                 1173 N 68TH AVE                                                                                HART            MI    49420‐8387
JOHN W SYX                                       1369 IRONWOOD DR                                                                               FAIRBORN        OH    45324‐3503
JOHN W TAYLOR                                    5420 HWY 258 S                                                                                 DEEP RUN        NC    28525‐9613
JOHN W TAYLOR                                    31050 WEST THOMPSON LANE                                                                       HARTLAND        WI    53029‐9705
JOHN W TAYLOR JR                                 21 LOWELL DRIVE                                                                                MARLTON         NJ    08053‐5591
JOHN W THOMAS                                    11930 ELGIN DR                                                                                 ORIENT          OH    43146‐9130
JOHN W THOMASON JR                               4263 MINER DRIVE                                                                               BRUNSWICK       OH    44212‐2742
JOHN W THROWER                                   409 SAXONBURG BOULEVARD                                                                        SAXONBURG       PA    16056‐9451
JOHN W THROWER JR                                108 ALBIN ROAD                                                                                 SAXONBURG       PA    16056‐2302
JOHN W TOMPKINS                                  2239 E MT MORRIS RD                                                                            MT MORRIS       MI    48458‐8801
JOHN W TRACY                                     1001 WEST HWY N                                                                                WENTZVILLE      MO    63385‐5312
JOHN W TRAPP JR                                  4372 PIPER ST                                                                                  SAN DIEGO       CA    92117‐6153
JOHN W TRENT & MRS BESSIE P TRENT JT TEN         3280 LAKE OSBORNE DRIVE                                                                        LAKE WORTH      FL    33461‐5951
JOHN W TUREL                                     31454 JOY RD                                                                                   LIVONIA         MI    48150‐3836
JOHN W UBER & SHERRIE E UBER JT TEN              515 TYSON CIRCLE                                                                               ROSEWELL        GA    30076‐2212
JOHN W UGO                                       3696 NORBERT                                                                                   WARREN          MI    48091‐1607
JOHN W URBANCE                                   1605 HIGHLAND PLACE                                                                            STREATOR        IL    61364‐1715
JOHN W VALENTINE                                 2214 CRIDER R 11 BX 358                                                                        MANSFIELD       OH    44903‐6920
JOHN W VALENTINE                                 8170 E US HIGHWAY 24                                                                           MONTICELLO      IN    47960‐7490
JOHN W VALENTINO                                 4023 HOLIDAY PARK DR                                                                           MURRYSVILLE     PA    15668‐8532
JOHN W VAN BLARCOM                               256 W MOUNTAIN RD                                                                              RIDGEFIELD      CT    06877‐2917
JOHN W VANALST CUST JOHN W VANALST JR UTMA NC    1221 GRAYLAND ST                                                                               GREENSBORO      NC    27408‐7418

JOHN W VANCE                                     1248 DELTA AVE                                                                                 CINCINNATI      OH    45208‐3004
JOHN W VANSICKLE                                 3414 PARSONS AVE                                                                               COLUMBUS        OH    43207‐3857
JOHN W VARGO & JANET D VARGO JT TEN              51 BARILOCHE DRIVE                                                                             PUNTA GORDA     FL    33983‐5331
JOHN W VARIN                                     68 SABER LANE                                                                                  AMHERST         NY    14221‐4808
JOHN W VARN                                      229 HARLECH WAY                                                                                CHARLESTON      SC    29414‐6875
JOHN W VAUGHN                                    1384 ST RD 38 W                                                                                PENDLETON       IN    46064‐9584
JOHN W VAUGHN                                    PO BOX 644                                                                                     SELIGMAN        AZ    86337‐0644
JOHN W VAUGHN & JUNE F VAUGHN JT TEN             1384 W ST RD 38                                                                                PENDLETON       IN    46064‐9584
JOHN W VLOSICH                                   1876 MEADOWLARK LN                                                                             NILES           OH    44446‐4133
JOHN W WAGNER                                    1955 SUE CREEK DR                                                                              BALTIMORE       MD    21221‐1929
JOHN W WAKEFIELD JR                              PO BOX 5250                                                                                    SPARTANBURG     SC    29304‐5250
JOHN W WALKER                                    25616 LAKE SHORE DR                                                                            INGLESIDE       IL    60041‐9195
JOHN W WALKER                                    528 ROSE HILL AVE #1                                                                           CINCINNATI      OH    45217‐1422
JOHN W WALLER                                    828 SANGRIA CT                                                                                 LAWRENCEVILLE   GA    30043‐3426
JOHN W WALTER                                    4445 W MAPLE AVE                                                                               FLINT           MI    48507‐3127
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 288 of 855
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

JOHN W WALTON                                    9350 APPOLINE                                                                                  DETROIT          MI    48228‐2661
JOHN W WARD JR                                   122 WOODLAND ROAD                                                                              KENTFIELD        CA    94904‐2630
JOHN W WARNER & COLLEEN J WARNER JT TEN          48 W STATE AVE                                                                                 PHOENIX          AZ    85021‐8752
JOHN W WATSON                                    1175 ALEPPO RD                        BOX 62                                                   ALEPPO           PA    15310‐0062
JOHN W WAYNE                                     4900 BRADFORD PL                                                                               ROCKLIN          CA    95765‐5288
JOHN W WEIMMER                                   3100 RIDGEWAY BLVD                                                                             LAKEHURST        NJ    08733‐1337
JOHN W WESTWICK & BARBARA B WESTWICK TEN COM     285 ECHO PL                                                                                    BOULDER          CO    80302‐8034

JOHN W WHALEY                                    PO BOX 323                                                                                     NEW CARLISLE     OH    45344‐0323
JOHN W WHITAKER                                  10092 BUFFTON DR                                                                               AFFTON           MO    63123‐5204
JOHN W WHITE                                     2087 WESTMINSTER                                                                               FLINT            MI    48507‐3528
JOHN W WHITE JR                                  N WILLOW PARK                         2525 BREWSTER RD                                         INDIANAPOLIS     IN    46268‐1356
JOHN W WHITELEATHER JR TR UA 01/01/90 SIDNEY O   PO BOX 807                                                                                     COLUMBIA CITY    IN    46725‐0807
SMOCK TRUST
JOHN W WIESNER JR                                P O DRAWER 2348                                                                                CONROE           TX    77305‐2348
JOHN W WIETECHA                                  37314 SO WOODSMENS TR                                                                          DETOUR VLG       MI    49725‐9544
JOHN W WIGGINS JR                                709 WILLOW DRIVE                                                                               CINNAMINSON      NJ    08077
JOHN W WILES                                     6962 PENNYWHISTLE                                                                              CONCORD          OH    44077‐2141
JOHN W WILEY & PATRICIA A WILEY JT TEN           1404 PATTERSON AVE                                                                             LEVITTOWN        PA    19057‐5022
JOHN W WILLIAMS                                  1926 RIVEDGE DRIVE                                                                             TARPON SPRINGS   FL    34689‐4304
JOHN W WILLIAMS                                  908 E KENNELWORTH                                                                              FLINT            MI    48503‐2719
JOHN W WILLIAMS & ANDREA H WILLIAMS JT TEN       555 CRESCENT DR                                                                                IRWIN            PA    15642

JOHN W WILLIAMSON JR                             411 W ALDINE                                                                                   IOWA PARK        TX    76367‐1301
JOHN W WILSON                                    51292 NORTHVIEW                                                                                PLYMOUTH         MI    48170‐5170
JOHN W WILTSHIRE                                 300 S WATTERS RD                      APT 512                                                  ALLEN            TX    75013‐6512
JOHN W WOLFORD                                   PO BOX 461                                                                                     GALLOWAY         OH    43119‐0461
JOHN W WOOD                                      1157 ROSELAND DR                                                                               COLUMBIA         TN    38401‐7700
JOHN W WOODBRIDGE                                615 BUTTERNUT AVE                                                                              ROYAL OAKS       MI    48073‐3201
JOHN W WOODMAN & JUDITH A WOODMAN JT TEN         505 CRAWLEY RUN                       APT 104                                                  DAYTON           OH    45458‐7325

JOHN W WORKS                                     3052 KINGSTON CIRCLE                                                                           AKRON            OH    44224‐3114
JOHN W WORKS CUST MARGARET E WORKS UGMA MI       BOX 111                                                                                        BEAVER ISLAND    MI    49782‐0111

JOHN W WORKS JR                                  BOX 111                                                                                        BEAVER ISLAND    MI    49782‐0111
JOHN W WOZNIAK & JANET R WOZNIAK JT TEN          1385 THUNDER GULCH PASS                                                                        SUWANEE          GA    30024
JOHN W WYLIE                                     1512 E LANTRIP                                                                                 KILGORE          TX    75662‐6108
JOHN W WYNDER                                    3301 FAIRVIEW AVE                                                                              BALTIMORE        MD    21216‐1449
JOHN W YAPPEL                                    6116 CAMPBELL RD                                                                               MENTOR           OH    44060‐3026
JOHN W YARBROUGH JR                              121 HARRIETT CR                                                                                MILLEDGEVILLE    GA    31061
JOHN W YATES                                     106A KITTOE DRIVE                                                                              MT VIEW          CA    94043‐3915
JOHN W YOUNG                                     110 PONY CIR                                                                                   THOMASVILLE      GA    31792‐7486
JOHN W YOUNG                                     7301 BELDING RD                                                                                ROCKFORD         MI    49341‐9627
JOHN W ZIEGLER & PATRICIA L CAPPAWANA JT TEN     3537 PLEASANT CREEK DR                                                                         ROCKLIN          CA    95765

JOHN WADE JR                                     2001 CHURCH ST                                                                                 FLINT            MI    48503‐3941
JOHN WADE MEARS                                  1269 LESTER                                                                                    YPSILANTI        MI    48198‐6471
JOHN WAGENBACH                                   2416 SOUTHWAY DR                                                                               COLUMBUS         OH    43221‐3724
JOHN WAGNER CUST PAMELA JEAN WAGNER UGMA NJ      23 LAUREL CT                                                                                   MAHWAH           NJ    07430‐1446

JOHN WALLACE LUM CUST JONATHAN J LUM UGMA CA 2956 DOLORES WAY                                                                                   BURLINGAME       CA    94010‐5719

JOHN WALLACE SHORB                               5303 SHERRILL AVE                                                                              CHEVY CHASE      MD    20815‐3718
JOHN WALTER PETERMAN CUST JOHN MOFFATT           1801 IRVING AVE S                                                                              MINNEAPOLIS      MN    55403‐2822
PETERMAN UGMA MD
JOHN WALTER SEIGAL & MRS DOROTHY DUVAL SEIGAL    PO BOX 1131                                                                                    SLOUGHOUSE       CA    95683‐1131
JT TEN
JOHN WALTERS & MARGARET WALTERS TEN ENT          4105 GRANITE AVENUE                                                                            BALTIMORE        MD    21206‐2533
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 289 of 855
Name                                             Address1                             Address2              Address3         Address4          City            State Zip

JOHN WARD CUST MARY CATHERINE WARD UGMA CA       19002 GORDON LANE                                                                             YORBA LINDA     CA    92886‐4214

JOHN WARNER JR & W T HAMPTON EX UW GLEN        308 W CHURCH ST                                                                                 UNION CITY      TN    38261‐3710
RINEHART
JOHN WASILEWSKI CUST JOSHUA WASILEWSKI UGMA VT PO BOX 127                                                                                      BELMONT         VT    05730

JOHN WATERS                                 234 COBBLECREEK LN                                                                                 GRAYSON         GA    30017
JOHN WAYNE TEASLEY                          1642 J P HENNESSEY DR                                                                              LA VERGNE       TN    37086‐3523
JOHN WAYNE WELLS                            9373 GREENSPORT RD                                                                                 ASHVILLE        AL    35953‐4454
JOHN WEBB                                   33410 NANCY                                                                                        LIVONIA         MI    48150‐2666
JOHN WEISS                                  15 BUCKINGHAM RD                                                                                   MERRICK         NY    11566‐3713
JOHN WEISS JR                               630 BERLIN ROAD                                                                                    VOORHEED        NJ    08043‐1493
JOHN WEISSERT                               5402 W UNIVERSITY BLVD                                                                             DALLAS          TX    75209‐5016
JOHN WEITZ & PATRICIA R WEITZ JT TEN        142 KUAILIMA DR                                                                                    KAILUA          HI    96734‐3221
JOHN WEIX                                   8344 S HOWELL AVENUE                                                                               OAK CREEK       WI    53154‐2925
JOHN WELCH WETHERALD                        763 E CONFEDERATE AVE SE                                                                           ATLANTA         GA    30312‐3712
JOHN WELDON JR                              14160 E TYLER DRIVE                                                                                PLYMOUTH        MI    48170‐2374
JOHN WELGE CUST LOGAN MATTHEW WELGE UGMA TX #1 RIDGETOP DR                                                                                     ST LOUIS        MO    63117‐1021

JOHN WELLS BOYD                                  1405 W 52ND ST                                                                                INDIANAPOLIS    IN    46228‐2316
JOHN WELLS CUST JAMES WELLS U/THE ILLINOIS       15888 NW CACHE ROAD                                                                           CACHE           OK    73527
UNIFORM GIFTS TO MINORS ACT
JOHN WENDELL PLEASANT                            1420 HAYS PARK AVE                                                                            KALAMAZOO       MI    49001‐3920
JOHN WENDORFF & DONNA WENDORFF TEN COM           409 NATCHEZ TRACE                                                                             SPRINGFIELD     IL    62707‐8030

JOHN WESLEY BLANKENSHIP JR                       142 MEREDITH LANE                                                                             TAZEWELL        VA    24651‐9689
JOHN WESLEY BROWN                                3717 PLUMCREST                                                                                ALBANY          GA    31705‐6317
JOHN WESLEY FISKE                                95 PRAIRIE ST                                                                                 WEST CONCORD    MA    01742‐2955
JOHN WESLEY GLASS                                21 PROSPECT ST UNIT 2                PARRY SOUND ON                         P2A 2B5 CANADA
JOHN WESLEY LARRIS                               1267 SW 115TH WAY                                                                             DAVIE           FL    33325‐4550
JOHN WESLEY MAURER                               49511 COOKE AVE                                                                               PLYMOUTH        MI    48170‐2883
JOHN WESLEY REAM JR                              53811 FRANKLIN DR                                                                             SHELBY TWP      MI    48316‐2311
JOHN WESLEY TODD IV                              1015 CARRIAGE DR                                                                              HARRISBURG      VA    22801‐9688
JOHN WESLEY WHITTLESEY                           PO BOX 562                                                                                    WINNETKA        IL    60093‐0562
JOHN WEST JR                                     3912 W METAIRIE AVE                                                                           METAIRIE        LA    70001‐4956
JOHN WEY                                         119 COUNTY LINE RD                                                                            HARWINGTON      CT    06791‐1519
JOHN WHALEN                                      5941 CARMAN STREET                   NIAGARA FALLS ON                       L2J 1S2 CANADA
JOHN WHALEN                                      756 S ROBERTS ST                                                                              JACKSON         MI    49203‐2131
JOHN WHITNEY BOSWELL                             5207 WINTERS CHAPEL ROAD                                                                      ATLANTA         GA    30360‐1447
JOHN WHITNEY NIXON JR                            1370 POND VIEW LN                                                                             NEWTON SQUARE   PA    19073‐2716
JOHN WIBLYI                                      205 FALLS BROOK ROAD                                                                          BRISTOL         CT    06010‐2663
JOHN WIEGAND JR                                  6490 KING ROAD ROUTE #1                                                                       BRIDGEPORT      MI    48722‐9612
JOHN WILCHOWYJ                                   12676 GALLAGHER                                                                               DETROIT         MI    48212‐2300
JOHN WILDER                                      BOX 8                                                                                         MENDOCINO       CA    95460‐0008
JOHN WILFORD COX                                 1633 W 20TH ST                                                                                ANDERSON        IN    46016‐3818
JOHN WILLARD MCCRADY                             910 N TAWAS LAKE RD                                                                           EAST TAWAS      MI    48730‐9772
JOHN WILLIAM BECKER                              123 MADISON ST                                                                                VASSAR          MI    48768‐1217
JOHN WILLIAM BURGESS                             2447 TWIN OAKS DRIVE                                                                          CLEVELAND       TN    37323‐7161
JOHN WILLIAM CARR JR                             5470 SECOR RD                                                                                 IDA             MI    48140‐9721
JOHN WILLIAM CHAPEL                              ATTN BRIAN CHAPEL                    56604 GREENLAWN AVE                                      OSCEOLA         IN    46561‐9307
JOHN WILLIAM DALTON III                          1100 SNEED RD                                                                                 FRANKLIN        TN    37069‐6938
JOHN WILLIAM DICKSON                             305 DEEP WILLOW DR                                                                            EXTON           PA    19341‐3034
JOHN WILLIAM FRAZER & RUTH STAGG FRAZER JT TEN   14485 ST ANDREWS LN                                                                           ASHLAND         VA    23005‐3175

JOHN WILLIAM FROST                               220 RAVINE RIDGE DR                                                                           POWELL          OH    43065‐9351
JOHN WILLIAM GARBER                              15300 GAMECOCK ROAD                                                                           MIDLOTHIAN      VA    23112‐5314
JOHN WILLIAM GLACE                               524 W BRECKENRIDGE                                                                            FERNDALE        MI    48220‐2910
JOHN WILLIAM GUSTWILLER                          21295 KAMMEYER                                                                                DEFIANCE        OH    43512
JOHN WILLIAM LEWIS                               1900 CANFIELD RD                                                                              YOUNGSTOWN      OH    44511‐3027
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 290 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

JOHN WILLIAM MAGLEY                              2103 SHADY BREEZE LANE                                                                         LEAGUE CITY        TX    77573‐5321
JOHN WILLIAM MC CLEAN                            602 STACY CT                                                                                   TOWSON             MD    21286‐2939
JOHN WILLIAM NEWMAN                              1313 E LEE ST                                                                                  DAWSON             GA    31742‐1846
JOHN WILLIAM PETERSON                            6374 TWIN OAKS LANE                                                                            VILLAGE OF LISLE   IL    60532‐3250
JOHN WILLIAM ROXBOROUGH                          680 ASPEN RD                          PICKERING ON                           L1V 3Z1 CANADA
JOHN WILLIAM THIERS                              7 WATCH WATER CLOSE                                                                            PLYMOUTH           VA    23703‐2276
JOHN WILLIAM THOMAS                              107 U LITTLE RIVER DR SW                                                                       EATONTON           GA    31024‐7273
JOHN WILLIAM WARREN                              1816 MALLARD DRIVE                                                                             LONDON             KY    40741‐9748
JOHN WILLIAMS                                    133 URBAN ST                                                                                   BUFFALO            NY    14211‐1360
JOHN WILLIAMS                                    7424 POSSUM HILL RD                                                                            WORDEN             IL    62097‐2114
JOHN WILLIAMS JADUS & KATHERINE L JADUS JT TEN   67761 TULANE RD                                                                                ST CLAIRSVILLE     OH    43950‐9734

JOHN WILLIAMSON                                  1511 WELLINGTON ST                                                                             OAKLAND            CA    94602‐1751
JOHN WILLIE GRAY                                 6156 TITAN DR                                                                                  MT MORRIS          MI    48458‐2616
JOHN WILLIE PAYNE                                PO BOX 509                                                                                     IRWINTON           GA    31042‐0509
JOHN WILMARTH HUNTER & NEVA J HUNTER JT TEN      2270 CLEAR CREEK RD                                                                            MARION             NC    28752‐6436

JOHN WILSON                                    1805 WINFORD RD                                                                                  BALTIMORE          MD    21239‐3733
JOHN WILSON                                    11202 N IRISH RD                                                                                 OTISVILLE          MI    48463‐9451
JOHN WILSON CUST MARY E WILSON U/THE WISCONSIN C/O M W SKWIERAWSKI                     124 N KANE                                               BURLINGTON         WI    53105‐1842
U‐G‐M‐A
JOHN WILSON CUST TABOR WILSON UTMA VT          2138 GERMAN FLATS RD                                                                             FAYSTON            VT    05673
JOHN WILSON SMITH                              201 INSPIRATION BLVD                    APT 402                                                  READING            PA    19607‐9561
JOHN WILTSHIRE SNYDER                          BOX 190                                                                                          HAGERSTOWN         MD    21741‐0190
JOHN WINIARSKI JR                              185PARK DRIVE                                                                                    KENSINGTON         CT    06037‐3814
JOHN WINNICKI & CASSIE E WINNICKI JT TEN       1807 BUTLER AVE                         PO BOX 1079                                              TYBEE ISLAND       GA    31328‐1079
JOHN WINSLOW                                   435 E 85TH ST 3K                                                                                 NEW YORK           NY    10028‐6379
JOHN WISEMAN                                   374 DANSWORTH RD                                                                                 YOUNGSTOWN         NY    14174‐1319
JOHN WM PATRICK                                4352 SHIRLEY LANE                                                                                SALT LAKE CITY     UT    84124‐3742
JOHN WM PATRICK TR CATHERINE P ADAMSON U/W     4352 SHIRLEY LANE                                                                                SALT LAKE CITY     UT    84124‐3742
WILLIAM C PATRICK
JOHN WOLFSON & LOIS WOLFSON JT TEN             3232 MAPLE LEAF DR                                                                               GLENVIEW           IL    60025‐1125
JOHN WOLLENBURG                                11935 RILEY DR                          UNIT 4                                                   ZIONSVILLE         IN    46077‐8194
JOHN WOODHAMS                                  #1001                                   8171 BAY COLONY DR                                       NAPLES             FL    34108‐7564
JOHN WOODS                                     3490 HELL FOR CERTAIN RD                                                                         HYDEN              KY    41749‐8190
JOHN WOOTEN & SUZANNE MACKSOUD WOOTEN JT       143 MARKET ST                                                                                    ANNAPOLIS          MD    21401‐2628
TEN
JOHN WRIGHT & DOROTHY WRIGHT JT TEN            16 COMSTOCK BRIDGE                                                                               COLCHESTER         CT    06415‐2621
JOHN WRIGHT CRAWFORD                           30833 PRIMROSE                                                                                   WARREN             MI    48088‐5945
JOHN WYRICK                                    5963 TOWNSEND                                                                                    DETROIT            MI    48213‐2472
JOHN Y KENNEDY                                 3808 JAMES DRIVE                                                                                 METAIRIE           LA    70003‐1410
JOHN Y TENG                                    780 HOGHLAND AVE                                                                                 PIEDMONT           CA    94611‐3807
JOHN Y VAN BIBBER                              107 BLANKENBAKER LANE                                                                            LOUISVILLE         KY    40207‐1725
JOHN Y W SETO                                  13410 LA CRESTA DR                                                                               LOS ALTOS          CA    94022‐1905
JOHN YAKIMOW & IRENE YAKIMOW JT TEN            330 SWANSON RD                                                                                   SYCAMORE           IL    60178‐1122
JOHN YAKIMOW CUST SCOTT EDWARD YAKIMOW A       607 N KALAMAZOO                                                                                  MARSHALL           MI    49068‐1076
UGMA MI
JOHN YANKOWSKI                                 8 GLENN RD                                                                                       FLEMINGTON       NJ      08822‐3322
JOHN YAROS JR                                  46 ORCHARD LANE                                                                                  PENNINGTON       NJ      08534‐5212
JOHN YASCHEN                                   347 WALNUT DR                                                                                    E CHINA TOWNSHIP MI      48054‐4193

JOHN YATES & JEAN LOIS YATES JT TEN              701 MEADOWLANDS CRT                                                                            MONROE             MI    48161
JOHN YATKAUSKAS                                  APT 128                               1101 MIDLAND AVE                                         YONKERS            NY    10708‐6313
JOHN YAVORSKY                                    5522 SOUTHERN BLVD                                                                             YOUNGSTOWN         OH    44512‐2609
JOHN YOUNG & DANA YOUNG JT TEN                   830 N DOWELL RD                                                                                AMARILLO           TX    79124‐3617
JOHN Z PILIPIAK                                  1840 GREGORY AVE                                                                               GLENDALE HTS       IL    60139‐2117
JOHN Z SZAFRANSKI                                1958 HARTLAND RD                                                                               APPLETON           NY    14008‐9621
JOHN Z VARGAS                                    38843 SUTTON DR                                                                                STERLING HTS       MI    48310‐2878
JOHN ZABLOCKI                                    69785 SUNNY ADDITION RD                                                                        ST CLAIRSVLE       OH    43950‐8722
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 291 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JOHN ZAISER                                      PO BOX 389                                                                                      LAKE WALES         FL    33859‐0389
JOHN ZAKRIN JR & GEORGINA ZAKRIN JT TEN          16660 COUNTRY RIDGE LN                                                                          MACOMB             MI    48044‐5207
JOHN ZALESKI CUST JANICE ZALESKI UGMA NJ         174 LANES POND RD                                                                               HOWELL             NJ    07731‐8949
JOHN ZASADNI                                     13175 HATHAWAY RD                                                                               GARFIELD HTS       OH    44125‐5213
JOHN ZEBLEY                                      4100 SW FREEWAY #214                                                                            HOUSTON            TX    77027
JOHN ZELMANSKI                                   32380 BRISTOL CT                                                                                FRASER             MI    48026‐2328
JOHN ZEMBO JR                                    2116 WASCANA AVE                                                                                LAKEWOOD           OH    44107‐6149
JOHN ZEMON & JOHN A ZEMON JT TEN                 16630 CRAIGMERE DR                                                                              MIDDLEBURG         OH    44130‐6423
                                                                                                                                                 HEIGHTS
JOHN ZENTS                                       49 W 36TH AVE APT 16                                                                            SAN MATEO          CA    94403
JOHN ZETTNER JR & HELEN E ZETTNER JT TEN         8900 HOUGHTON                                                                                   STERLING HEIGHTS   MI    48314‐3524

JOHN ZIAN JR                                     1138 LAKEVIEW                                                                                   WATERFORD          MI    48328‐3821
JOHN ZIETEK                                      56 PEMBRICK RD                                                                                  GREENWICH          CT    06831‐5043
JOHN ZIMBRICK                                    1601 W BELTLINE HWY                                                                             MADISON            WI    53713‐2329
JOHN ZIOBROWSKI                                  7070 SCHULTZ RD                                                                                 N TONAWANDA        NY    14120‐9501
JOHN ZIPPERT                                     PO BOX 82                                                                                       EUTAW              AL    35462‐0082
JOHN‐BRIAN VYNCENT                               17648 FOXWOOD WAY                                                                               BOCA RATON         FL    33487
JOHNA SUE MASON                                  7447 SWAN POINT WAY                                                                             COLUMBIA           MD    21045‐5056
JOHNATHAN B HARDING                              1862 SHERMAN AVE                                                                                EVANSTON           IL    60201‐3756
JOHNATHAN EDWIN GASKINS                          12822 US 82 E                                                                                   ALAPAHA            GA    31622
JOHNATHAN F HATCHEL                              12187 N GENESEE RD                                                                              CLIO               MI    48420‐9130
JOHNATHAN G MAIER CUST JACOB C MAIER UTMA OH     5907 WILBER AVE                                                                                 PARMA              OH    44129‐3346

JOHNATHAN G MAIER CUST WILLIAM J MAIER UTMA OH 5907 WILBER AVE                                                                                   PARMA              OH    44129‐3346

JOHNATHAN GOLDBERG                               627 KATHLEEN PL                                                                                 WESTBURY           NY    11590‐5915
JOHNATHAN H GREENE & FRANCES A GREENE JT TEN     6038 RICKETTS WALK                                                                              ALEXANDRIA         VA    22312

JOHNATHAN L FOXWORTH                             200 GRANBY WAY                         UNIT C                                                   AURORA             CO    80011‐9159
JOHNATHAN R TELFER                               10692 NORTHAHMPTON                                                                              FISHERS            IN    46038
JOHNATHAN W EACH                                 1114 ASPEN VALLEY AVENUE                                                                        LAS VEGAS          NV    89123‐3190
JOHNATHAN YOUNGLESS                              10402 GRIDLEY RD                                                                                SANTA FE SPRINGS   CA    90670‐4104

JOHNATHON A MEIER                                3918 KNOBWOOD OVERLOOK                                                                          INDIANAPOLIS       IN    46234
JOHNATHON M GIBB                                 792 WEST ST                            APT E204                                                 MANSFIELD          MA    02048‐4111
JOHNATON TODD PORGES                             11234 TOWN WALK DR                                                                              HAMDEN             CT    06518‐3723
JOHNCEE H WILKINSON TR UA 03/14/00 JOHNCEE H     29659 LONGHORN DR                                                                               CANYON LAKE        CA    92587
WILKINSON
JOHNE C BROWN                                    PO BOX 53                                                                                       SILVERWOOD         MI    48760‐0053
JOHNELL A FOUTS                                  14434 PINE CONE TRAIL                                                                           CLERMONT           FL    34711‐7153
JOHNELLA M BELL                                  916 GOLFVIEW AVE                                                                                DAYTON             OH    45406‐1942
JOHNELLE K CLOUSE & EUGENE C CLOUSE JT TEN       7158 WOODLEA RD                                                                                 OSCODA             MI    48750‐9722
JOHNENE MARIE TUNGL & JOHN L TUNGL JT TEN        1712 OGDEN ST                                                                                   DENVER             CO    80218‐1018
JOHNET PHILLIPS                                  1704 S OAKHILL                                                                                  JANESVILLE         WI    53545
JOHNETTA KENDALL                                 925 N KING AVE                                                                                  INDIANAPOLIS       IN    46222‐3720
JOHNETTE M ALESSI                                54340 ARROWHEAD                                                                                 SHELBY TOWNSHIP    MI    48315‐1206

JOHNEY A BRIDGES                                 11795 DAVISBURG RD                                                                              DAVISBURG          MI    48350‐2630
JOHNEY BOOKER                                    407 S 20TH ST                                                                                   SAGINAW            MI    48601‐1528
JOHNF FEDERICI                                   847 SHACKAMAXON DR                                                                              WESTFIELD          NJ    07090‐3462
JOHNIE A DOYLE JR                                RR 2                                   BOX 103                                                  SUMMITVILLE        IN    46070‐9432
JOHNIE A LITTLE                                  628 KALAMAZOO AVE                                                                               KALAMAZOO          MI    49007‐3308
JOHNIE A SWEETIN                                 10430 NICHOLS RD                                                                                GAINES             MI    48436‐8914
JOHNIE BUXTON                                    14313 JOSEPH CLARK RD                                                                           CHARLOTTE          NC    28273
JOHNIE C AGUIRRE                                 8035 MIDLOTHIAN WAY                                                                             INDIANAPOLIS       IN    46214‐2267
JOHNIE C COFFMAN                                 5231 ONEALL ROAD                                                                                WAYNESVILLE        OH    45068‐9451
JOHNIE C GLASS                                   275 HICKORY DALE                                                                                ST CHARLES         MO    63304‐7018
JOHNIE DOYLE MASTERS                             307 TIMBER LANE                                                                                 ANDERSON           IN    46017‐9693
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 292 of 855
Name                                             Address1                             Address2                 Address3      Address4          City             State Zip

JOHNIE E APPLE                                   721 LAKESHORE PT                                                                              OLD HICKORY      TN    37138‐2584
JOHNIE FRAZIER                                   121 S 11TH ST                                                                                 SAGINAW          MI    48601‐1810
JOHNIE L BAILEY                                  2112 GILMARTIN                                                                                FLINT            MI    48503‐4470
JOHNIE L BURKE                                   4700 N SUSSEX RD                     APT 2                                                    MUNCIE           IN    47304‐1084
JOHNIE L HOLIDAY                                 8832 S RACINE                                                                                 CHICAGO          IL    60620‐3425
JOHNIE L ROBERTSON                               2882 BLUEWOOD WAY                                                                             PLAINFIELD       IN    46168‐4805
JOHNIE L STEWART                                 27269 GROVELAND ST                                                                            ROSEVILLE        MI    48066‐4321
JOHNIE L TIMBS                                   3120 VINELAND AVE                                                                             BURTON           MI    48519‐1667
JOHNIE M SMITH                                   9308 E 80TH TERR                                                                              RAYTOWN          MO    64138‐1930
JOHNIE P ASKERNEESE                              5625 WARWICK DR                                                                               JACKSON          MS    39211‐2634
JOHNIE Q SMITH                                   515 EAST END AVE APT 300                                                                      CALUMET CITY     IL    60409‐2810
JOHNIE R MC GLAUGHLIN                            7080 N OLD STATE AVE                                                                          HARRISON         MI    48625‐7627
JOHNIE W LATHON                                  3207 MACKIN ROAD                                                                              FLINT            MI    48504‐3295
JOHNIE W LATHON & GERTRUDE LATHON JT TEN         3207 MACKIN RD                                                                                FLINT            MI    48504‐3295
JOHNIE W LATHON JR                               3207 MACKIN ROAD                                                                              FLINT            MI    48504‐3295
JOHNIE WATKINS                                   345 E CARSON ST                                                                               CARSON           CA    90745‐2709
JOHNITA L STARNS                                 RR 5 32C                                                                                      SEMINOLE         OK    74868‐8938
JOHNNA D JONES                                   PO BOX 57733                                                                                  OKLAHOMA CITY    OK    73157‐7733
JOHNNA HARMS                                     1475 W 13TH AVE APT 7                                                                         EUGENE           OR    97402‐3987
JOHNNA MCWEENY                                   4515 RIVER ROAD                                                                               TOLEDO           OH    43614‐5537
JOHNNA S RODDY                                   4104 SE 42ND ST                                                                               DEL CITY         OK    73115‐2843
JOHNNA WILLS WILLIAMS                            ATTN JOHNNA LOU WILLS                9750 NORTH 96TH STREET   #131                            SCOTTSDALE       AZ    85258‐5223
JOHNNE F JONES & SHIRLEY M JONES JT TEN          22781 N 91ST WAY                                                                              SCOTTSDALE       AZ    85255‐4395
JOHNNEY L BOSTON                                 20254 WEXFORD ST                                                                              DETROIT          MI    48234‐1866
JOHNNIE A DALE                                   127 WARREN ST                                                                                 ANNA             IL    62906‐1641
JOHNNIE A EDWARDS                                7135 AUSTRIAN WAY                                                                             REYNOLDSBURG     OH    43068‐5626
JOHNNIE A HENDERSON & HELEN HENDERSON JT TEN     218 S PARK AVE                                                                                DOTHAN           AL    36301‐1334

JOHNNIE A MOORE                                  C/O LORENE MOORE                     1113 NIAGARA AVE                                         NIAGARA FALLS   NY     14305
JOHNNIE A SMITH                                  907 N HIENCKE RD                                                                              WEST CARROLLTON OH     45449‐1536

JOHNNIE ALEXANDER                                242 W SMITH FERRY RD                                                                          SONTAG           MS    39665‐5410
JOHNNIE B DUSEK                                  803 PAMPA                                                                                     PASADENA         TX    77504‐1534
JOHNNIE B JACKSON                                20 CANDLELIGHT LANE SW                                                                        ATLANTA          GA    30331‐3908
JOHNNIE B ONEY                                   1009 FRANCIS AVENUE                                                                           BALTIMORE        MD    21227‐4202
JOHNNIE B PRIEST                                 963 POPLAR RD                                                                                 NEWNAN           GA    30265‐1621
JOHNNIE B RICHMOND                               1737 W 38TH PLACE                                                                             LOS ANGELES      CA    90062‐1008
JOHNNIE B ROBERSON JR                            3409 WILCOX                                                                                   BELLWOOD         IL    60104‐2172
JOHNNIE B TATE                                   3055 YELLOW PINE TER                                                                          MCDONOUGH        GA    30252‐1002
JOHNNIE BASLEY JR                                7763 BRACE                                                                                    DETROIT          MI    48228‐3473
JOHNNIE BELLE HUGHES                             1921 WOODLANE                                                                                 FLINT            MI    48503‐4512
JOHNNIE BENSON                                   269 CAIRO ROAD                                                                                OAKLAND          CA    94603‐1007
JOHNNIE BOLDEN                                   1469 WHITNEY ISLES DR                                                                         WINDERMERE       FL    34786‐6067
JOHNNIE BOLDEN & BLANCHE M BOLDEN JT TEN         1469 WHITNEY ISLES DR                                                                         WINDERMERE       FL    34786‐6067
JOHNNIE BOLDEN CUST BRIAN JAMES BOLDEN UTMA FL   1000 WINDGROVE TRL                                                                            MAITLAND         FL    32751‐5416

JOHNNIE BROWN & MARY DEANE BROWN JT TEN          18534 VAN AKEN BLVD                                                                           SHAKER HEIGHTS   OH    44122‐4830
JOHNNIE BURNETT                                  2409 PECAN ST                                                                                 JOLIET           IL    60435‐1134
JOHNNIE C ADAMS                                  2219 SKP WAY                                                                                  WAUCHULA         FL    33873‐4870
JOHNNIE C ADAMS                                  9091 CLOVER DRIVE                                                                             MILAN            MI    48160‐9759
JOHNNIE C BICKLEY                                PO BOX 60042                                                                                  DAYTON           OH    45406‐0042
JOHNNIE C BUSH                                   15410 LAUDER                                                                                  DETROIT          MI    48227‐2629
JOHNNIE C DUNN                                   C/O FRANCES DUNN                     1225 EAST DOROTHY LANE                                   KETTERING        OH    45419‐2112
JOHNNIE C GIBBS                                  321 EAST GRACELAWN AVENUE                                                                     FLINT            MI    48504‐5724
JOHNNIE CARTER JR                                912 KENNELWORTH                                                                               FLINT            MI    48503‐2719
JOHNNIE CHARLES SHEFFIELD                        12567 LONGVIEW                                                                                DETROIT          MI    48213‐1846
JOHNNIE CUONG TAN DINH                           103 COLLINS CT                                                                                DAYTON           OH    45418‐2900
JOHNNIE D CORBIN                                 2222 N ARENDELL WAY                                                                           TALLAHASSEE      FL    32308‐6004
JOHNNIE D EATON                                  C/O JOHNNIE D EATON JR               2500 ROYAL CARRIGE DR                                    MOBILE           AL    36695‐3754
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 293 of 855
Name                                           Address1                               Address2             Address3          Address4          City               State Zip

JOHNNIE D MAYNARD                              219 PRESSLEY RD                                                                                 VONORE             TN    37885‐2119
JOHNNIE D MAYNARD & BERNICE E MAYNARD JT TEN   219 PRESSLEY RD                                                                                 VONORE             TN    37885‐2119

JOHNNIE D PLAYER                              646 W FOSS                                                                                       FLINT              MI    48505
JOHNNIE D ROBINS                              404 GRAYMONT AVE NORTH                                                                           BIRMINGHAM         AL    35204‐4223
JOHNNIE D SMITH CUST JOSEPH MORGAN SMITH UGMA 10445 E MOUNT MORRIS ROAD                                                                        DAVISON            MI    48423‐9000
MI
JOHNNIE DEAN THOMPSON                         4032 PROCEEDS DR                                                                                 PINCKNEY           MI    48169‐8251
JOHNNIE DEBARDELABEN                          1130 HOWARD ST                                                                                   SAGINAW            MI    48601‐2734
JOHNNIE DUNN & JOYCE DUNN JT TEN              2630 PROCTOR                                                                                     FLINT              MI    48504‐2859
JOHNNIE E ALLEN                               13819 N 108TH DR                                                                                 SUN CITY           AZ    85351‐2660
JOHNNIE E MALONE                              2515 BEATRICE                                                                                    DETROIT            MI    48217‐2315
JOHNNIE E MOORE                               13 YOSEMITE DR                                                                                   CHEROKEE VILLAGE   AR    72529‐5219

JOHNNIE E RYANS                                9542 BRAILE ST                                                                                  DETROIT          MI      48228
JOHNNIE E SMITH                                644 AMBERWOOD WAY                                                                               LIVERMOORE       CA      94550‐7515
JOHNNIE EDWARDS                                1409 WOODLAND ST NE                                                                             WARREN           OH      44483‐5232
JOHNNIE EVANS                                  4023 SUNNYSIDE SCHOOL ROAD                                                                      FAYETTEVILLE     NC      28301
JOHNNIE F BARDEN                               46 MT VERNON PLACE                                                                              NEWARK           NJ      07106‐3510
JOHNNIE F MILLER                               193 BRAMEL DR                                                                                   ABERDEEN         OH      45101‐9535
JOHNNIE F MORRIS                               29889 HARROW DR                                                                                 FARMINGTON HILLS MI      48331

JOHNNIE F VITAS                                725 E 315TH ST                                                                                  WILLOWICK          OH    44095‐4220
JOHNNIE FLETCHER                               1525 NORTHBOURNE RD                                                                             BALTIMORE          MD    21239‐3541
JOHNNIE GREEN                                  P O BOX 161                                                                                     REPTON             AL    36475
JOHNNIE H BURKETT                              7348 FAIRVIEW ROAD                                                                              BATESBURG          SC    29006‐9780
JOHNNIE H MCFARLAND                            6000 PIQUA RD                                                                                   ELIDA              OH    45807‐9465
JOHNNIE H TAYLOR & ROBERT J TAYLOR JT TEN      PO BOX 2318                                                                                     BEAVER             UT    84713‐2318
JOHNNIE HILBURN                                5605 WINNER RD                                                                                  KANSAS CITY        MO    64127‐1833
JOHNNIE HORTON                                 739 SOUTHAMPTON RD                                                                              AUBURN HTS         MI    48057
JOHNNIE J JOHNSON                              4229 GRAY                                                                                       DETROIT            MI    48215‐2245
JOHNNIE J LOWE                                 1692 BROOKLYNN                                                                                  DAYTON             OH    45432‐1906
JOHNNIE J SACKMAN                              432 INDIAN RIDGE TR                                                                             ROSSFORD           OH    43460‐1356
JOHNNIE J TURNBILL                             1212 FOREST HIL DR                                                                              HARRIMAN           TN    37748‐5038
JOHNNIE JACOBS JR                              2132 N FAIRFIELD DR                                                                             MARION             IN    46953‐1269
JOHNNIE JOHNSON                                2203 BROCKWAY                                                                                   UNIV HTS           OH    44118‐3029
JOHNNIE K ZIMMERMAN                            1111 DICKENS CT                                                                                 ARLINGTON          TX    76015‐3506
JOHNNIE KNIGHT                                 1250 W PIONEER PKWY                    APT 2509                                                 ARLINGTON          TX    76013‐8207
JOHNNIE L ARTIS & WILLIE V ARTIS JT TEN        3500 SEAWAY DR                                                                                  LANSING            MI    48911‐1909
JOHNNIE L BARKER                               8045 S WASHTENAW                                                                                CHICAGO            IL    60652‐2813
JOHNNIE L BREWER                               1901 GOODNIGHT CT                                                                               GRANBURY           TX    76049‐1855
JOHNNIE L BUMPER                               2504 RHOADS AVE                                                                                 COLUMBUS           OH    43203‐1036
JOHNNIE L DUNN                                 2630 PROCTOR ST                                                                                 FLINT              MI    48504‐2859
JOHNNIE L FAIRFAX                              7535 17TH ST NW                                                                                 WASHINGTON         DC    20012‐1101
JOHNNIE L GALBRAITH                            #1240                                  701 JACKSON                                              NEW PR             AR    72112‐8530
JOHNNIE L GRIFFITH                             2019 W 13TH ST                                                                                  JACKSONVILLE       FL    32209‐4734
JOHNNIE L HOLLIE                               16250 PREVOST                                                                                   DETROIT            MI    48235‐3612
JOHNNIE L JOYCE                                13834 12TH ST                                                                                   DADE CITY          FL    33525‐4805
JOHNNIE L LACY                                 PO BOX 4219                                                                                     FLINT              MI    48504‐0219
JOHNNIE L MC NABB                              PO BOX 152                                                                                      EXETER             MO    65647‐0152
JOHNNIE L PATRICK                              3006 RIDGE CLIFFE #6                                                                            FLINT              MI    48532‐3730
JOHNNIE L PICKARD                              PO BOX 62                                                                                       LEETON             MO    64761‐0062
JOHNNIE L ROBERTSON                            PO BOX 4314                                                                                     AUBURN HILLS       MI    48057
JOHNNIE L SUTTON                               13800 PASADENA                                                                                  OAK PARK           MI    48237‐2780
JOHNNIE L TAYLOR                               5108 TURNER                                                                                     FT WORTH           TX    76105‐5137
JOHNNIE M ANDERSON                             5089 TIN TOP RD                                                                                 WEATHERFORD        TX    76087‐8079
JOHNNIE M BEAUFORD                             126 DORIAN LA                                                                                   ROCHESTER          NY    14626‐1908
JOHNNIE M BENION                               18900 STOUT                                                                                     DETROIT            MI    48219‐3443
JOHNNIE M BURNS                                109 N HALLOWAY STREET                                                                           DAYTON             OH    45417‐1718
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 294 of 855
Name                                            Address1                            Address2             Address3          Address4          City            State Zip

JOHNNIE M CAMPBELL & BRENDA C GREENE JT TEN     18040 S SACRAMENTO                                                                           HOMEWOOD        IL    60430‐1420

JOHNNIE M CLAXTON                               9226 FAIRGREEN CT                                                                            JONESBORO       GA    30236‐5282
JOHNNIE M DEGREGORIO                            24011 ROSEWOOD STREET                                                                        OAK PARK        MI    48237‐2270
JOHNNIE M GREEN                                 PO BOX 3164                                                                                  COLUMBIA        SC    29230‐3164
JOHNNIE M JOHNSON                               1608 N NEW JERSEY ST                                                                         INDIANAPOLIS    IN    46202‐1613
JOHNNIE M MOORE                                 1695 S ETHEL                                                                                 DETROIT         MI    48217‐1671
JOHNNIE M PHILLIPS                              1377 ABERFORD DR                                                                             SAN JOSE        CA    95131‐2863
JOHNNIE M ROMINE                                8045 AARWOOD TRL NW                                                                          RAPID CITY      MI    49676‐9708
JOHNNIE M SIMPSON                               PO BOX 43                                                                                    VANDALIA        MI    49095‐0043
JOHNNIE M WALKER                                1227 W HOME AVENUE                                                                           FLINT           MI    48505‐2553
JOHNNIE M WOODS                                 1743 EDISON                                                                                  DETROIT         MI    48206‐2073
JOHNNIE MAE ALLISON                             8622 S THROOP ST                                                                             CHICAGO         IL    60620‐4053
JOHNNIE MAE ANSLEY                              11964 MOENART                                                                                DETROIT         MI    48212‐2841
JOHNNIE MAE TALLEY                              4 RAMPART ST                                                                                 PORT MITCHELL   AL    36856‐4316
JOHNNIE MCCREAR                                 1126 ZELLMARK LN                                                                             BIRMINGHAM      AL    35235
JOHNNIE MOORE                                   3619 SHANNON RD                                                                              CLEVELAND HTS   OH    44118‐1928
JOHNNIE NELSON                                  3510 SEQUOIA AVE                                                                             BALTIMORE       MD    21215‐7257
JOHNNIE P DEATHERAGE                            911 SO BEECHGROVE ROAD                                                                       WILMINGTON      OH    45177‐9118
JOHNNIE POOLE JR                                2115 S 13TH AVE                                                                              MAYWOOD         IL    60153
JOHNNIE Q EDWARDS                               728 HUMBOLDT                                                                                 BUFFALO         NY    14211‐1116
JOHNNIE R BATTS                                 6224 PAINTED YELLOW GATE                                                                     COLUMBIA        MD    21045‐7409
JOHNNIE R BRIGGS                                1038 N MARION AVENUE                                                                         JANESVILLE      WI    53545‐2335
JOHNNIE R FLAUGHER                              7832 LONGWOOD AVE                                                                            KANSAS CITY     KS    66109‐1637
JOHNNIE R GOODE                                 5727 E OUTER DR                                                                              DETROIT         MI    48234‐3889
JOHNNIE R KILLINS                               2527 BRIAR VALLEY WA                                                                         DACULA          GA    30019
JOHNNIE R KIMMONS                               34521 RIVALS RD                                                                              WILMINGTON      IL    60481‐9793
JOHNNIE R RIDGEWAY                              2188 NORTH AV                                                                                NIAGARA FALLS   NY    14305‐3070
JOHNNIE R SCROGGS                               4189 TERRACE DR                                                                              ACWORTH         GA    30101‐5057
JOHNNIE R STAYTON                               5377 GROVELAND                                                                               HOLLY           MI    48442‐9468
JOHNNIE S HAMBLIN                               703 OLD CORBIN                                                                               WILLIAMSBURG    KY    40769
JOHNNIE S WESTERFIELD                           621 LOWE CIRCLE                                                                              RICHLAND        MS    39218‐9711
JOHNNIE SMITH & HATTIE B SMITH JT TEN           3033 WILSON CT                                                                               DENVER          CO    80205‐4945
JOHNNIE T DUTTON                                508 N MADISON ST                                                                             ATHENS          AL    35611‐1750
JOHNNIE TUCKER                                  1926 WHITTLESEY ST                                                                           FLINT           MI    48503‐4347
JOHNNIE VANCE EX UW FAIRY L CARODINE            708 PERTH DRIVE                                                                              MONROE          NC    28110
JOHNNIE VILLARREAL                              PO BOX 13063                                                                                 FLINT           MI    48501‐3063
JOHNNIE W BOOKER                                410 N WESTMINISTER                                                                           MIDWEST CITY    OK    73140
JOHNNIE W BRIZE                                 21 LINDEN DR                                                                                 CHAMPAIGN       IL    61820‐2316
JOHNNIE W BURFORD                               7931 PAYNE                                                                                   DEARBORN        MI    48126‐1036
JOHNNIE W FULGHAM                               2423 TUSCOLA ST                                                                              FLINT           MI    48503‐2135
JOHNNIE W HARRIS                                1246 E WALTON BLVD                  APT 223                                                  PONTIAC         MI    48340‐1581
JOHNNIE W HOWARD                                6602 GERMANTOWN PK                                                                           MIAMISBURG      OH    45342‐1104
JOHNNIE W JACKSON                               323 HOLFORD                                                                                  RIVER ROUGE     MI    48218‐1127
JOHNNIE W PHILLIPS                              4855 WINDSOR DOWNS DR                                                                        DECATUR         GA    30035‐3529
JOHNNIE W SIMMONS                               3301 W PHILADELPHIA                                                                          DETROIT         MI    48206‐3724
JOHNNIE Z ROLLINS                               14200 ST MARYS                                                                               DETROIT         MI    48227‐4913
JOHNNY A MONTFORD                               129 CEDAR BROOK                                                                              SOUTH PLAINFI   NJ    07080‐4608
JOHNNY A PRITCHARD                              2028 KELLY BRIDGE ROAD                                                                       DAWSONVILLE     GA    30534‐5110
JOHNNY ANDREI                                   6935 KIRK RD                                                                                 CANFIELD        OH    44406‐9647
JOHNNY AVALON CAMPBELL                          3613 RICHMOND ST APT 4                                                                       LANSING         MI    48911‐2414
JOHNNY B BURTON                                 4702 LILLIE                                                                                  FORT WAYNE      IN    46806‐4818
JOHNNY B BUSH                                   RT 1 BOX 24                                                                                  MT HOPE         AL    35651‐9801
JOHNNY B COX                                    6845 COUNTY ROAD 527                                                                         BURLESON        TX    76028‐1305
JOHNNY B JOHNSON                                25745 PEPPERTREE LN                                                                          WARREN          MI    48091‐1387
JOHNNY B MOLES                                  409 EAST PORTER ST                                                                           ALBION          MI    49224‐1807
JOHNNY B MYLES                                  6190 FENTON RD                                                                               FLINT           MI    48507‐4757
JOHNNY B RAKESTRAW                              PO BOX 337                                                                                   JEFFERSON       GA    30549‐0337
JOHNNY B SIMMONS                                458 FILDEW AVE                                                                               PONTIAC         MI    48341‐2627
                                     09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                           Part 4 of 8 Pg 295 of 855
Name                                   Address1                             Address2             Address3          Address4          City            State Zip

JOHNNY B SMITH                         51 HERON LANDING PL                                                                           RICHMOND        KY    40475‐9531
JOHNNY B SMITH                         52 KILEY DR                                                                                   HOSCHTON        GA    30548‐6176
JOHNNY B WEBB                          3378 TOOLE DRIVE                                                                              MACON           GA    31204‐4354
JOHNNY B YARBROUGH                     1622 CRAWFORD RD                                                                              CLEVELAND       OH    44106‐1512
JOHNNY BALLARD                         3390 LAPEER ST                                                                                SAGINAW         MI    48601‐6370
JOHNNY BENNETT                         5309 BONNIE HILL RD                                                                           CHATTAHOOCHEE   FL    32324‐3020
JOHNNY BURKHART                        4434 S FOLTZ                                                                                  INDIANAPOLIS    IN    46221‐3400
JOHNNY BURNS                           ATTN JOAN BURNS                      PO BOX 738                                               MARSHALL        AR    72650‐0738
JOHNNY BURTON MILLER                   1215 W HOME ST                                                                                FLINT           MI    48505‐2553
JOHNNY C BOWMAN                        4005 REDBIRD LN                                                                               JOSHUA          TX    76058‐5508
JOHNNY C BROOME                        272 CLAY RD                                                                                   FITZGERALD      GA    31750‐8408
JOHNNY C COOK                          2154 CHAMBERS ROAD                                                                            MC DONOUGH      GA    30253‐5207
JOHNNY C GEORGE                        RR 2 BOX 462C2                                                                                LAKE BUTLER     FL    32054‐9502
JOHNNY C GRINSTAD                      1923 N TURNER ST                                                                              MUNCIE          IN    47303‐2450
JOHNNY C HALL                          5581 BRANDON RD                                                                               SHREVEPORT      LA    71107‐8201
JOHNNY C MITCHELL                      7207 BEAUFORT WAY                                                                             SHREVEPORT      LA    71129‐3412
JOHNNY C PONDER                        3800 KINGS HWY                                                                                DOUGLASVILLE    GA    30135‐3318
JOHNNY C SIMMONS                       6201 SIERRA CT                                                                                ARLINGTON       TX    76016‐5251
JOHNNY C VIERS                         ROUTE 2                              BOX 648                                                  HAYSI           VA    24256‐9618
JOHNNY C WILLS                         872 SCOTTSWOOD RD                                                                             DAYTON          OH    45427‐2238
JOHNNY CARTER                          26 JORDEN DR                                                                                  LAWRENCEVILLE   GA    30044‐4442
JOHNNY CASTILLO                        12141 COUNTRY RUN DR                                                                          BIRCH RUN       MI    48415‐8535
JOHNNY CHOO & MRS LYNN CHOO JT TEN     5120 SKY LAKE DR                                                                              PLANO           TX    75093‐7539
JOHNNY D FERRELL                       113 BROOKLYN CIR                                                                              SHELBYVILLE     TN    37160
JOHNNY D GILMORE                       PO BOX 1758                                                                                   GORDONSVILLE    VA    22942‐1758
JOHNNY D HEWITT                        22421 COLUMBIA ST                                                                             DEARBORN        MI    48124‐3433
JOHNNY DAVIS                           444 HEBRARD ROAD                                                                              NORWAY          SC    29113‐9409
JOHNNY DURAN                           549 MISSIONARY RIDGE                                                                          DE SOTO         TX    75115‐5235
JOHNNY E ALLIGOOD                      648 CANNON DR                                                                                 SOCIAL CIRCLE   GA    30025‐4663
JOHNNY E BURCHETT                      11442 S EMERALD                                                                               CHICAGO         IL    60628‐5216
JOHNNY E COLE                          1505 SOUTH VAN BUREN                                                                          SAN ANGELO      TX    76901‐4357
JOHNNY E GOMEZ                         530 W BONAVENTURE AVE                                                                         TRACY           CA    95391‐1223
JOHNNY E HUTCHINS                      2501 BOSTON BRANCH CIR                                                                        SIGNAL MTN      TN    37377
JOHNNY E JOHNSON                       4934 W RACE                                                                                   CHICAGO         IL    60644‐1748
JOHNNY E MINTON                        1524 AMY ST                                                                                   BURTON          MI    48509‐1802
JOHNNY E SEARLS                        977 UNION BLVD                                                                                CLAYTON         OH    45315
JOHNNY E THOMAS                        3889 14TH STREET                                                                              ECORSE          MI    48229‐1327
JOHNNY EDMONDS                         7261 7 1/2 MILE RD                                                                            CERESCO         MI    49033‐9740
JOHNNY F ASHCRAFT                      6679 DICK PRICE ROAD                                                                          MANSFIELD       TX    76063‐5243
JOHNNY F CHILDERS                      205 BOB WHITE                                                                                 BURLESON        TX    76028‐9052
JOHNNY F EVANS                         14328 WHITCOMB                                                                                DETROIT         MI    48227‐2207
JOHNNY F S YEE & SUSAN YEE JT TEN      2457 CRANBROOK ROAD                                                                           CANTON          MI    48188‐1678
JOHNNY F VINSON                        1837 BRANDY LN                                                                                CONYERS         GA    30013‐3077
JOHNNY FLOWERS                         344 JOSLYN                                                                                    PONTIAC         MI    48342‐1517
JOHNNY FREIL & SUE FREIL JT TEN        3901 PINEWOOD DR                                                                              ADAMSVILLE      AL    35005‐2254
JOHNNY G BOX & BETTY BOX JT TEN        2963 JEFFERSON ST                                                                             PADUCAH         KY    42001‐4112
JOHNNY G DAVIS                         353 WEST LORETTA                                                                              LEMAY           MO    63125‐2041
JOHNNY G DENNISON                      8600 E CRANBERRY LAKE RD                                                                      HARRISON        MI    48625
JOHNNY G JONES                         614 N E ST                                                                                    MCALESTER       OK    74501‐4022
JOHNNY G POPE                          587 KILLIAN FARM RD                                                                           STANLEY         NC    28164‐8751
JOHNNY G SAUCEDA                       1202 PEREZ                                                                                    SAN ANTONIO     TX    78207‐2219
JOHNNY GIBBS                           108 BARKLEY DR                                                                                ATMORE          AL    36502‐6630
JOHNNY GIVAND                          949 KENTLAND DRIVE                                                                            MANSFIELD       OH    44906‐2905
JOHNNY H ALLISON                       44965 PARTRIDGE DRIVE                                                                         PLYMOUTH        MI    48170‐3718
                                                                                                                                     TOWNSHIP
JOHNNY H BARNES                        210 MORGAN ST                                                                                 ROCKMART        GA    30153‐2726
JOHNNY H BOTTOMS                       1715 DOC BRAMBLETT RD                                                                         CUMMING         GA    30040
JOHNNY H BURKS                         2680 TRAMMEL LN                                                                               LEBANON         TN    37090
JOHNNY H COLLINS                       7031 KESSLING RD                                                                              DAVISON         MI    48423‐2443
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 296 of 855
Name                                            Address1                               Address2              Address3         Address4          City               State Zip

JOHNNY H COOPER                                 PO BOX 745                                                                                      BRASELTON          GA    30517‐0013
JOHNNY H TIPTON                                 581 OAK KNOLL RD                                                                                LINN CREEK         MO    65052‐2085
JOHNNY HOLLINGSWORTH                            10467 CLEAR CREEK RD                                                                            RICHWOODS          MO    63071‐2500
JOHNNY HONTO                                    9201 LYON ST                                                                                    DETROIT            MI    48209‐3602
JOHNNY I SILVEY                                 2911 PROVIDENCE DR SW                                                                           DECATUR            AL    35603‐1187
JOHNNY J FIELDS                                 1268 S SAGE LAKE RD                                                                             HALE               MI    48739‐9113
JOHNNY J HUNT                                   2217 N GENESEE RD                                                                               BURTON             MI    48509‐1251
JOHNNY J HUNT                                   999 CHELSTON ROAD                                                                               SOUTH EUCLID       OH    44121‐3433
JOHNNY J HUNT & DOROTHY M HUNT JT TEN           999 CHELSTON ROAD                                                                               SOUTH EUCLID       OH    44121‐3433
JOHNNY J IRWIN                                  226 MARY JO RD                                                                                  HARRISON           MI    48625‐9274
JOHNNY J MORALES                                1904 GULF BLVD UNIT L                                                                           INDIAN ROCKS BE    FL    33785
JOHNNY J MORGAN                                 3021 AZALEA HILLS DR                                                                            CHARLOTTE          NC    28262‐2459
JOHNNY J RITCHIE                                235 W LONGFELLOW                                                                                PONTIAC            MI    48340‐1835
JOHNNY J SIMMS                                  12933 MULBERRY RD                                                                               NEOSHO             MO    64850‐7855
JOHNNY J WILLIAMS                               4845 VINEWOOD ST                                                                                DETROIT            MI    48208‐1815
JOHNNY J WILLIAMSON                             2464 OCONEE CIR                                                                                 GAINESVILLE        GA    30507‐7834
JOHNNY JIMENEZ                                  1688 DAKOTA PL                                                                                  DEFIANCE           OH    43512‐4020
JOHNNY JOE & MADELYN JOE JT TEN                 P O BOX 22074                                                                                   SAN FRANCISCO      CA    94122
JOHNNY JUSTICE                                  13683 BELLBROOK DR                                                                              BROOK PARK         OH    44142‐2618
JOHNNY JUUHL                                    1106 KINGS COVE LANE                                                                            ROCHESTER HILLS    MI    48306‐4228
JOHNNY JUUHL                                    1106 KINGS COVE LANE                                                                            ROCHERSTER HILLS   MI    48306‐4228

JOHNNY L ALLEN                                  9634 APPOLINE                                                                                   DETROIT            MI    48227‐3714
JOHNNY L BYRD                                   15617 MADISON                                                                                   DOLTON             IL    60419‐3027
JOHNNY L CARROLL                                660 ST RT 503                                                                                   ARCANUM            OH    45304‐9411
JOHNNY L COLEMAN                                15245 FORRER                                                                                    DETROIT            MI    48227‐2312
JOHNNY L COPELAND                               2 TWIN LAKES LN                                                                                 COULTERVILLE       IL    62237‐2642
JOHNNY L CRUMLEY                                172 UNCLE AB RD                                                                                 DAHLONEGA          GA    30533‐3025
JOHNNY L DAVIS                                  18121 RUSSELL                                                                                   DETROIT            MI    48203‐2498
JOHNNY L DORSEY                                 1670 SASSAFRAS CIRCLE                                                                           MANSFIELD          OH    44905‐2354
JOHNNY L ELLISON                                13243 MARK TWAIN                                                                                DETROIT            MI    48227‐2809
JOHNNY L EVANS                                  9016 SO ESSEX AV                                                                                CHICAGO            IL    60617‐4051
JOHNNY L FREELEN                                700 VZ CR 1315                                                                                  CANTON             TX    75103
JOHNNY L FREELEN & JOHNNIE V FREELEN JT TEN     700 VZ CR 1315                                                                                  CANTON             TX    75103‐9790
JOHNNY L HAYES                                  DIXIE MHP                              BOX 3675 TITSHAW RD   LOT A21                            GAINESVILLE        GA    30504
JOHNNY L HENRY                                  415 RED HAW RD                                                                                  DAYTON             OH    45405‐3952
JOHNNY L HOLSEY                                 871 PEARSON RD                                                                                  SYLVESTER          GA    31791
JOHNNY L HUKILL JR                              7980 BRIAR ROAD                                                                                 AZLE               TX    76020‐8888
JOHNNY L JOHNSON                                6151 LEBEAU ST                                                                                  MOUNT MORRIS       MI    48458‐2725
JOHNNY L JOHNSON                                5756 MACLAND ROAD                                                                               POWDER SPRING      GA    30127‐4127
JOHNNY L JONES                                  7421 SE SHOSHONE DR                                                                             HOLT               MO    64048‐9249
JOHNNY L JONES JR                               PO BOX 1012                            474 WEST MD                                              FORSXTH            GA    31029‐1012
JOHNNY L KITTS                                  12169 HIGHWAY 131                                                                               WASHBURN           TN    37888‐4540
JOHNNY L LEDINGTON                              3625 BROWNE AVE                                                                                 GUTHRIE            OK    73044‐9464
JOHNNY L LUSAIN                                 11333 LARIMORE RD                                                                               ST LOUIS           MO    63138‐2046
JOHNNY L MATLOCK                                206 TIMBERCREEK DR                                                                              TUTTLE             OK    73089‐8516
JOHNNY L MILLER                                 635 WATERFORD LN                                                                                CALERA             AL    35040‐7627
JOHNNY L MOORE                                  1822 GREENBRIAR DR                                                                              PORTAGE            MI    49024‐5786
JOHNNY L QUESENBERRY                            2785 ST RT 50                                                                                   BATAVIA            OH    45103‐8514
JOHNNY L RAY & BARBARA J RAY JT TEN             6644 ROYAL PALM BEACH BLVD                                                                      WEST PALM BCH      FL    33412‐1812
JOHNNY L ROSE                                   929 MAPLEWOOD                                                                                   YPSILANTI          MI    48198‐5829
JOHNNY L SCARBER JR                             16910 CRUSE                                                                                     DETROIT            MI    48235‐4097
JOHNNY L SIMMONS                                58 S ROSELAWN ST                                                                                PONTIAC            MI    48342‐2842
JOHNNY L SPRINGFIELD                            1159 E RIVER                                                                                    ELYRIA             OH    44035‐6057
JOHNNY L SULLIVAN                               501 EAST WEST ST                                                                                MINDEN             LA    71055‐5905
JOHNNY L TOASTER                                19692 HANNA                                                                                     DETROIT            MI    48203‐1327
JOHNNY LANE JONES                               3326 KINGS LANE                                                                                 BURTON             MI    48529
JOHNNY LEE COX                                  3108 NIGHTHAWK LN                                                                               MOORE              OK    73160
JOHNNY LEE CURINGTON                            1871 RIDGE RD                                                                                   YPSILANTI          MI    48198‐3395
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 297 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JOHNNY LIVINGSTON                                 2431 GREENWAY DRIVE                                                                            DECATUR         GA    30035‐3312
JOHNNY LOUIS RICHARDSON                           135 HURON ST                                                                                   DAYTON          OH    45417‐1732
JOHNNY LOVELL SHACKELFORD                         12640 PRICETON PIKE                                                                            PINE BLUFF      AR    71602‐8568
JOHNNY LYNN WILSON                                42 HEMLOCK DR                                                                                  BELLEVILLE      IL    62221‐4353
JOHNNY M DAVIS                                    RT 1 BOX 143                                                                                   MINOR HILL      TN    38473‐9801
JOHNNY M GRIFFIN & ARA H GRIFFIN JT TEN           2609 ROSEDALE DR                                                                               MORROW          GA    30260‐1523
JOHNNY M HAYES                                    2284 ALCOVY STATION RD                                                                         COVINGTON       GA    30014‐0736
JOHNNY M OVERTON                                  1403 E MADISON                                                                                 KOKOMO          IN    46901‐3108
JOHNNY M SANFORD JR                               23632 LAKE RAVINAS DRIVE                                                                       SOUTHFIELD      MI    48034‐6535
JOHNNY M STAHL & GLORIA L STAHL JT TEN            PO BOX 189                                                                                     WASKOM          TX    75692‐0189
JOHNNY MANCHA                                     CESARIO MANCHA                        11797 SPRUCE AVE                                         GRANT           MI    49327‐9342
JOHNNY MARVIN BOLLINGER                           104 OAKWOOD LANE                                                                               COLUMBUS        NC    28722‐9723
JOHNNY MAYFIELD JR                                6129 PLAINFIELD RD                                                                             CINCINNATI      OH    45213‐2377
JOHNNY MC ALPHINE                                 3932 W VAN BUREN ST                                                                            CHICAGO         IL    60624‐3144
JOHNNY MIZE                                       4255 N COUNTRY RD 1025E                                                                        INDIANAPOLIS    IN    46234
JOHNNY MONTEJANO JR                               1802 W MAGNOLIA                                                                                SAN ANTONIO     TX    78201‐4950
JOHNNY N HAYES & YEE MOY LAU IRENE HAYES JT TEN   1645 LOTUS AVE SE                                                                              GRAND RAPIDS    MI    49506‐4403

JOHNNY P GREGORY                                  1101 NORTHPINE DRIVE                                                                           CONROE          TX    77301‐1131
JOHNNY P HARGRAVE                                 11323 LENNON ROAD                                                                              SWARTZ CREEK    MI    48473‐8575
JOHNNY P HOLLOMON & EVELYN S HOLLOMON TEN         BOX 1551                                                                                       DOTHAN          AL    36302‐1551
COM
JOHNNY P PROVENZA                                 9640 KINGSTON ROAD                                                                             SHREVEPORT      LA    71118‐4907
JOHNNY PARKER                                     14278 WILSHIRE                                                                                 DETROIT         MI    48213‐1954
JOHNNY PAUL LAW & MARY KAY LAW JT TEN             BOX 125                                                                                        CULDESAC        ID    83524‐0125
JOHNNY POY LEE & HELEN W LEE JT TEN               1439 W FOSTER AVE                                                                              CHICAGO         IL    60640‐2105
JOHNNY PUCKETT                                    391 FERGUSON ROAD                                                                              DELHI           LA    71232‐6583
JOHNNY Q LOCKAMY                                  3734 NORWOOD DR                                                                                FLINT           MI    48503‐2326
JOHNNY R BATES & MILDRED THERESA BATES JT TEN     2913 W PAGET CT                                                                                MEQUON          WI    53092‐2320

JOHNNY R BRUBAKER                                 415 EAST KEEGAN ST                                                                             DEERFIELD       MI    49238‐9735
JOHNNY R BURCHETT                                 RR 4 BOX 622                                                                                   ALBANY          KY    42602‐9345
JOHNNY R BURT                                     STAR RT BOX 184                                                                                DAWSONVILLE     GA    30534
JOHNNY R CARGILE                                  39160 GARY ST                                                                                  CLINTON TWP     MI    48036‐1533
JOHNNY R ESKRIDGE                                 1730 DANDRIDGE                                                                                 BARNHART        MO    63012‐1439
JOHNNY R ESKRIDGE & DENNIS ESKRIDGE & GLENDA      1730 DANDRIDGE                                                                                 BARNHART        MO    63012‐1439
SMITH & KATHIE FRANCIS &
JOHNNY R HERNANDEZ                                8941 VALLEY VIEW AVE                                                                           WHITTIER        CA    90605‐1721
JOHNNY R JACO                                     7710 STIVER RD                                                                                 GERMANTOWN      OH    45327‐8558
JOHNNY R JOYNER                                   379 CLETUS HALL RD                                                                             SANFROD         NC    27330‐3188
JOHNNY R MARTIN                                   2410 REDBUD MEADOW LN                                                                          DOUGLASVILLE    GA    30135
JOHNNY R MONTGOMERY & AMY MONTGOMERY JT           327 CORY LN                                                                                    BUTLER          KY    41006‐8965
TEN
JOHNNY R MOORE                                    1818 SCHOOLHOUSE ROAD                                                                          LANSING         MI    48917‐1457
JOHNNY R RELIFORD                                 1433 B SHAW AVE                                                                                NILES           OH    44446‐3544
JOHNNY R ROBERTS                                  4430 ARDALE ST                                                                                 SARASOTA        FL    34232‐4016
JOHNNY R SPENCE                                   1088 BAY COLONY DR                                                                             RICHMOND        KY    40475
JOHNNY R SWINNEY                                  14003 FM 717 S                                                                                 RANGER          TX    76470‐4920
JOHNNY ROBINSON                                   7710 EAST 117 PLACE                                                                            KANSAS CITY     MO    64134‐3974
JOHNNY ROTH                                       12748 S BASELL DR                                                                              HEMLOCK         MI    48626‐7402
JOHNNY S FRYZEL                                   4341 N 7 MILE RD                                                                               PINCONNING      MI    48650‐8914
JOHNNY S RANDAZZO                                 20335 MARTIN RD                                                                                ST CLR SHORES   MI    48081‐1044
JOHNNY SPANISH III                                11149 ARISTIDES WAY                                                                            JACKSONVILLE    FL    32218‐6217
JOHNNY SPARKS                                     3635 HANSBERRY DRIVE                                                                           COLLEGE PARK    GA    30349‐7930
JOHNNY SPARKS & MABLE J SPARKS JT TEN             3635 HANSBERRY DRIVE                                                                           COLLEGE PARK    GA    30349‐7930
JOHNNY T BARTON                                   1551 LIPSCOMB RD                                                                               SOCIAL CIRCLE   GA    30025‐3634
JOHNNY T EDWARDS                                  4107 MITCHELL MILL RD                                                                          RALEIGH         NC    27616‐8810
JOHNNY T REECE                                    216 EAST NAPERVILLE ROAD                                                                       WESTMONT        IL    60559‐1533
JOHNNY T WALKER                                   6979 BERRY BLOSSOM DR                                                                          CANFIELD        OH    44406‐8503
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 298 of 855
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

JOHNNY TAYLOR                                    1106 PATRICA                                                                                     DETROIT         MI    48217‐1230
JOHNNY TUNG                                      40640 HIGH STREET #708                                                                           FREMONT         CA    94538
JOHNNY W BURNETT                                 953 THOMAS J DR                                                                                  FLINT           MI    48506‐5244
JOHNNY W DUKES                                   26024 STANFORD                                                                                   INKSTER         MI    48141‐3286
JOHNNY W GRIFFIN                                 19715 BUFFALO                                                                                    DETROIT         MI    48234‐2432
JOHNNY W LITTLE                                  1175 OREGON BLVD                                                                                 WATERFORD       MI    48327‐3365
JOHNNY W WINFREY                                 3817 BUTTERNUT DR                                                                                DECATUR         GA    30034‐4543
JOHNNY WAYNE SMITH                               329 JAMES ST                                                                                     SPRINGDALE      PA    15144‐1223
JOHNNY WONG                                      1925 COLLEGE VIEW DR                                                                             MONTEREY PARK   CA    91754‐4437
JOHNS RICHARDS III                               36 CENTER ST                                                                                     WESTPORT        CT    06880‐5309
JOHNSON L WILLIAMS                               19622 NACORA STREET                                                                              ROWLAND HGTS    CA    91748‐3135
JOHNSON OSORO                                    53 E EMERSON ST                                                                                  CLIFTON         NJ    07013‐1331
JOHNSON SINGLETON                                12289 WADE                                                                                       DETROIT         MI    48213‐1721
JOHNSON WHITE SR & CLARA M WHITE JT TEN          6114 BIRCHER                                                                                     SAINT LOUIS     MO    63120‐1314
JOHNSTON ALBERT MITCHELL                         2146 NE 8TH AVE                                                                                  PORTLAND        OR    97212‐3801
JOHNSTON N BOYDEN                                43 SPINNAKER LANE                                                                                SHELBURNE       VT    05482‐7102
JOHNSTONE WHITLEY RANDALL KEITH & GAY KEITH JT   3939 WALNUT #330                                                                                 CARMICHAEL      CA    95608‐7329
TEN
JOHNY F GILREATH                                 RR #1 BOX 85‐B OAK STREET                                                                        BYRDSTOWN       TN    38549‐9541
JOHNY R CRAMER & KATHLEEN I CRAMER TEN COM       1170 NE OTTER RD                                                                                 COWGILL         MO    64637‐9661

JOHRONE B GOOCH                                  22 SHELBY S W                                                                                    GRAND RAPIDA    MI    49507‐1047
JOI BROOKS MCINTYRE                              3186 STRIPED MAPLE COVE                                                                          BUFORD          GA    30519
JOICE A MURDOCK                                  704 W ROSELAWN ST                                                                                DANVILLE        IL    61832‐2263
JOICE MAE HOWARD                                 4234 TRUMBULL AVE APT 5                                                                          FLINT           MI    48504
JOICHI MURAMATSU & TOSHIE MURAMATSU JT TEN       3831 CLAUDINE ST                                                                                 HONOLULU        HI    96816‐4332

JOIE D BUELL                                     21445 POWERS RD                                                                                  DEFIANCE        OH    43512‐9069
JOIE J LIONTI                                    102 BEN JONES LOOP                                                                               WILLIAMSBURG    KY    40769‐9746
JOIE L TEDESCO & JASON M TEDESCO JT TEN          10 HIDDEN BROOK LANE                                                                             SIGNAL MOUNTAIN TN    37377‐2061

JOJO LAGERSTROM & RONALD LAGERSTROM JT TEN       22524 SUNNYSIDE                                                                                  ST CLAIR SHR    MI    48080‐3875

JOLAIN MCKINNON                                  134 POCONO MTN LK EST                                                                            BUSHKILL        PA    18324‐9801
JOLAINE H BATTEY                                 527 MAGNOLIA AVE                                                                                 ST SIMONS IS    GA    31522
JOLANTHE SACKS                                   290 JACKSON ST                                                                                   DENVER          CO    80206‐5525
JOLEEN C GRACEMYER                               9907 E BAY SHORE RD                                                                              MARBLEHEAD      OH    43440‐2427
JOLEEN J NELSON                                  209 OAK RIDGE DR                                                                                 MT VERNON       IA    52314‐1585
JOLEEN K GREENWOOD                               125 ALLEN AVE                                                                                    ALMA            MI    48801‐2403
JOLEEN S GUAY                                    5735 STONE RD                                                                                    LOCKPORT        NY    14094‐1213
JOLEEN TWACHTMANN                                2830 WINCHESTER DR                                                                               MARION          IA    52302‐6165
JOLENE B COOK                                    1791 BERRY RD                                                                                    LAFAYETTE       NY    13084‐9412
JOLENE D BLASI                                   133 GERLOFF RD                                                                                   SCHWENKSVILLE   PA    19473‐1719
JOLENE J JANSSEN                                 8 ROSCREA CLOSE                         WATERFORD WESTERN                      6152 AUSTRALIA
JOLENE L NAUGLE CUST JORDAN J LAIDLAW UTMA PA    1103 MECHLING RD                                                                                 GREENSBURG      PA    15601

JOLENE L NAUGLE CUST RACHEL M LAIDLAW UTMA PA    1103 MECHLING ROAD                                                                               GREENSBURG      PA    15601

JOLENE L WALKER & MIKE S WALKER JT TEN           8620 N 52ND ST                                                                                   PARADISE VLY    AZ    85253
JOLENE M ALOISIO                                 162 LEGACY PARK CIR                                                                              DEARBORN HTS    MI    48127‐3485
JOLENE M KUENZLI                                 BOX 487                                                                                          WELLS           NV    89835‐0487
JOLENE M MASTRAMICO & THOMAS J MASTRAMICO JT     7950 GLENWOOD AVE                                                                                BOARDMAN        OH    44512‐5827
TEN
JOLENE TANGHERLINI                               11 FARM HILLS LN                                                                                 HINGHAM         MA    02043‐3811
JOLENE TIPPETT                                   6108 VIA CASITAS                                                                                 CARMICHAEL      CA    95608‐0228
JOLENEE K HEITMANN                               12968 SW 5TH                                                                                     BEAVERTON       OR    97005‐2725
JOLI TAPP                                        10232 WATERBROOK LANE                                                                            CHARLOTTE       NC    28277‐9558
JOLINE M ECKER                                   210 ADAMS RD                                                                                     SAGINAW         MI    48609‐6867
JOLLY S WALTON                                   2010 SUNSET DR                                                                                   DOUGLASVILLE    GA    30135‐1028
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 299 of 855
Name                                              Address1                                 Address2             Address3          Address4          City              State Zip

JOLYNE A LEE                                      2020 FOREST VIEW RD                      APT 202                                                  ROCKFORD          IL    61108‐7967
JOLYNNE C PIERCE                                  1900 E GIRARD PL #1207                                                                            ENGLEWOOD         CO    80110‐3114
JOLYNNE WALZ                                      841 NE BARNES AVENUE                                                                              KANSAS CITY       MO    64118‐5213
JON A CARNET                                      9722 MCPHERSON RD                                                                                 MILLINGTON        MI    48746‐9481
JON A GOLDSBERRY 3657 RIVIERA DRIVE                                                                                                                 SAN               CA    92109‐6641
JON A HABERSTROH TR JON A HABERSTROH TRUST UA     7890 HICKORY HILL LN                                                                              CINCINNATI        OH    45241‐1304
10/05/00
JON A HERB                                        C/O HERBCO                               6000 GARLANDS LANE   SUITE 120                           BARRINGTON        IL    60010‐6027
JON A KLINE                                       2150 EVERGREEN                                                                                    PERRY             OH    44081‐8703
JON A KRAMP                                       919 SIOUX DR                                                                                      ELGIN             IL    60120‐2352
JON A KRUTSCH & SYLVIA K KRUTSCH JT TEN           10809 47TH ST E                                                                                   PUYALLUP          WA    98372‐2204
JON A LEVOS                                       30223 BUCKINGHAM                                                                                  LIVONIA           MI    48154‐4474
JON A MCKEE & ROSEY MCKEE TEN COM                 750 NEW YEARS CREEK LANE                                                                          BRENHAM           TX    77833
JON A MCQUILKIN CUST COLLIN S MCQUILKIN UTMA IL   17397 E MARKLEY RD                                                                                FAIRVIEW          IL    61432

JON A MILLER & VICKI MILLER JT TEN                59 RUTH ANN DR                                                                                    GODFREY           IL    62035‐3404
JON A NELSON                                      3255 9TH AVE                                                                                      WISCONSIN DELLS   WI    53965‐8801

JON A ROOSENRAAD                                  1401 NW 31ST DR                                                                                   GAINESVILLE       FL    32605‐5019
JON A TRAHMS                                      BOX 396                                                                                           JANESVILLE        MN    56048‐0396
JON A WOOLUM                                      5549 CHATEAU WAY                                                                                  FAIRFIELD         OH    45014‐3215
JON ARLAND JAGER                                  33 OCTOBER LN                                                                                     TRUMBULL          CT    06611‐1649
JON ATANASOFF                                     9338 EDGEFIELD                                                                                    ROSCOE            IL    61073‐7244
JON B ALBERT                                      4995 MALIBU DR                                                                                    BLOOMFIELD        MI    48302‐2254
JON B BARKMAN                                     8806 W STATE RD 42                                                                                MONROVIA          IN    46157‐9352
JON B LOVE                                        609 W MAPLE AVE                          PO BOX 324                                               BANCROFT          MI    48414‐0324
JON B MUNGER PER REP EST WILLIAM KRAMER           7152 GATEWAY PARK DR                                                                              CLARKSTON         MI    48346
JON B SUNKEES & MRS JANET C SUNKEES JT TEN        125 S PINON DR                                                                                    VERNAL            UT    84078‐2319
JON B WILLIAMS & SUSAN M WILLIAMS JT TEN          651 SUNBELT RD                                                                                    SEGUIN            TX    78155‐1206
JON BARTH REGAS                                   2580 N WILLOW WAY                                                                                 INDIANAPOLIS      IN    46268‐4249
JON BOWERBANK                                     PO BOX 0244                                                                                       CEDAR BLUFF       VA    24609‐0244
JON BROOKS                                        1004 9TH AVE N                                                                                    PRINCETON         MN    55371‐1121
JON BUCHANAN CUST CHRISTOPHER A BUCHANAN          725 MAPLEWOOD AVE                                                                                 SHEFFIELD LK      OH    44054‐1322
UGMA OH
JON C BAUER                                       51 WOODLAND PARK                                                                                  PINE CITY         NY    14871‐9007
JON C PROSSER                                     1920 DEARWALK COURT                                                                               AVON              IN    46123‐7347
JON C SAWYER & SUSAN E VIERGEVER JT TEN           3711 HARRIET AVE                                                                                  MINNEAPOLIS       MN    55409‐1122
JON C SHEARER                                     561 FIRST ST                                                                                      PONTIAC           MI    48340‐2806
JON C UTT                                         516 HAVNER RD                                                                                     NORFORK           AR    72658‐8481
JON C VOSS                                        1929 ROYAL PALM DR                                                                                EDGEWATER         FL    32141
JON CASSISTA & MELODY A CASSISTA JT TEN           124 N BENNETT ST                                                                                  GENEVA            IL    60134‐2209
JON CHRISTOPHER COOPER                            2053 E LIVE OAK DRIVE                                                                             LOS ANGELES       CA    90068‐3636
JON D BISSETT                                     5725 SW 20TH DR                                                                                   BUSHNELL          FL    33513‐4435
JON D BRODSKY & MRS CAROL L BRODSKY JT TEN        4 WYNNRIDGE RD                                                                                    FAYETTEVILLE      NY    13066‐2532
JON D CUNNINGHAM                                  5086 W 200 N                                                                                      ANDERSON          IN    46011‐9147
JON D DEAN                                        PO BOX 8                                                                                          BROCKPORT         PA    15823‐0008
JON D FRENCH & MRS JANE L FRENCH JT TEN           170 HICKORY POINT CT                                                                              FORSYTH           IL    62535‐9705
JON D GEORGE                                      71 N JOHNSON                                                                                      PONTIAC           MI    48341‐1325
JON D MACGIBBON                                   470 REAGAN RD                                                                                     DAWSONVILLE       GA    30534‐1623
JON D MOOR                                        2357 DREW VALLEY RD                                                                               ATLANTA           GA    30319
JON D NELSON                                      3011 S 159TH AVE CIRCLE                                                                           OMAHA             NE    68130‐1969
JON D OREN                                        PMB 190                                  2131 WOODRUFF RD     SUIT 2100                           GREENVILLE        SC    29607‐5959
JON D REYNOLDS                                    6820 HIBISCUS CT                                                                                  SPARKS            NV    89436‐9074
JON D STANLEY                                     112 HERITAGE DR                                                                                   TEWKSBURY         MA    01876‐2765
JON D WOODSON & PAMELA S WOODSON JT TEN           7266 WOODY RD                                                                                     GLOUCESTER        VA    23061‐4306
JON DAVID DIEWALD                                 1786 GRAEFIELD                                                                                    BIRMINGHAM        MI    48009‐5846
JON DAVID PARKINSON                               39 OAKVIEW DR                                                                                     N LITTLE ROCK     AR    72118‐2522
JON DILORENZO & THERESA DILORENZO JT TEN          95‐10 157TH AVE                                                                                   HOWARD BEACH      NY    11414‐2838
JON DUDEK                                         433 E JULIAN DR                                                                                   GILBERT           AZ    85296‐6651
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 300 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JON DUPLESSIS                                     18597 NORWICH RD                                                                                 LIVONIA           MI    48152‐3009
JON E BEAM                                        6617 SWEET POTATO RIDGE RD                                                                       ENGLEWOOD         OH    45322‐9729
JON E BELLOMY & JUDY A BELLOMY JT TEN             2530 4TH AVE NW                                                                                  OWATONNA          MN    55060‐1214
JON E BOWMAN                                      8262 CANYON RD SE                                                                                HEBRON            OH    43025
JON E CORCORAN                                    506 LAUREL AVE                                                                                   BLACK MOUNTAIN    NC    28711‐2922

JON E DAVIS                                       324 CARDINAL SW DR 33                                                                            DECATUR           AL    35601‐5869
JON E GERKE                                       PO BOX 4022                                                                                      GILLETTE          WY    82717‐4022
JON E JONES                                       840 N POMPANO AVE                                                                                SARASOTA          FL    34237‐3616
JON E KAPLAN                                      149 KENSINGTON CT                                                                                BROADVIEW HTS     OH    44147‐4510
JON E KRUTULIS                                    869 WILDERNESS LN                                                                                GREENWOOD         IN    46142‐2064
JON E MAXFIELD SR                                 1077 LES BROWN RD                                                                                BETHPAGE          TN    37022
JON E MONTELIUS                                   3 LINCOLN AVE                                                                                    BRANFORD          CT    06405‐3014
JON E MORRIS CUST HEATHER L MORRIS UTMA FL        1600 PINE PL                                                                                     CLEARWATER        FL    33755‐1352
JON E MORRIS CUST HEATHER L MORRIS UTMA PA        1600 PINE PLACE                                                                                  CLEARWATER        FL    33755‐1352
JON E RUNQUIST & BRENDA C RUNQUIST JT TEN         13735 BECKWITH DR NE                                                                             LOWELL            MI    49331‐9366
JON E S M LLOYD & MRS DORIS K LLOYD COMMUNITY     E 12108 21ST AVE                                                                                 SPOKANE           WA    99206‐5766
PROPERTY
JON E STEPLETON & DEBRA L STEPLETON JT TEN        BOX 689                                                                                          WESTFIELD CENTER OH     44251‐0689

JON E TANSEY                                      459 E SAGINAW HWY                                                                                GRAND LEDGE       MI    48837‐2127
JON EDWARD KHACHATURIAN                           5427 SUTTON PL                                                                                   NEW ORLEANS       LA    70131‐5412
JON ERIC ANDERSON                                 85025 BABCOCK CT                                                                                 FERNANDINA        FL    32034‐9063
JON F LA FAVER & MRS JANEEN S LA FAVER JT TEN     120 CAROL ST                                                                                     NEW CUMBERLAND    PA    17070‐1133

JON F SWAGART                                     707 SPRING ST                                                                                    ST JOHNS          MI    48879‐1362
JON F WADSWORTH                                   2810 DELTA RIVER DR                                                                              LANSING           MI    48906‐3637
JON G BOGLE                                       2921 MAYFAIR                                                                                     LANSING           MI    48912‐5145
JON G WALGREN                                     213 BAY COLONY DR                                                                                NAPERVILLE        IL    60565‐1259
JON G WILCOX                                      2292 HILLER RD                                                                                   WEST BLOOMFIELD   MI    48324‐1422

JON GEOFFREY PIEBENGA                             641 ROYALL AVE                                                                                   MT PLEASANT       SC    29464
JON GILL MONTGOMERY EX EST ROBERT GILL            800 THERESA AVE                                                                                  AUSTIN            TX    78703‐4734
MONTGOMERY
JON GOOSSEN                                       26 ROSSMERE CRES                        WINNIPEG MB                            R2K 0E9 CANADA
JON H BANGO                                       12 GREENVIEW DR                                                                                  PARKERSBURG       WV    26104‐1531
JON H COX                                         14645 E 246 ST                                                                                   ARCADIA           IN    46030‐9403
JON H FRIEDL                                      9124 LAKE RD                                                                                     MONTROSE          MI    48457‐9715
JON H MARTIN                                      592 MARTIN RD                                                                                    BIG MOOSE         NY    13331
JON H MAYER & BETTY A MAYER JT TEN                5530 TURTLE LAKE RD                                                                              SHOREVIEW         MN    55126‐4767
JON H MOORES                                      2306 BROOKSIDE DR SE                                                                             DECATUR           AL    35601‐6616
JON H WAITZ & PATRICIA J WAITZ JT TEN             2336 BASEVIEW DR                                                                                 PINCKNEY          MI    48169‐9516
JON HALSTEAD                                      2110 HANOVER AVE                                                                                 RICHMOND          VA    23220‐3428
JON HARRISON                                      108 SHERMAN                                                                                      GRAND HAVEN       MI    49417‐1730
JON HENNING                                       8561 VOGEL AVE                                                                                   WESTMINSTER       CA    92683‐7636
JON HENRY BICKNELL                                692 PILGRIM DRIVE EAST                                                                           SAGINAW           MI    48603‐7129
JON J GATTA                                       4659 NORWOOD DRIVE                                                                               WILMINGTON        DE    19803‐4811
JON J GATTA JR                                    162 WILDFOWER DRIVE                                                                              PLYMOUTH          PA    19462‐1522
                                                                                                                                                   MEETING
JON J LAMBREGTSE                                  3709‐12TH STREET                                                                                 WAYLAND           MI    49348‐9551
JON J MARESH                                      1115 N HILLOCK DR                                                                                RACINE            WI    53406
JON JEFFREY BERNIER                               3755 REDCOAT WAY                                                                                 ALPHARETTA        GA    30022‐7111
JON K DIXON                                       4463 KOSSUTH AVE                                                                                 ST LOUIS          MO    63115‐2726
JON K LINDSAY                                     2916 PENDLETON LANE SW                                                                           MARIETTA          GA    30064‐4093
JON KIRK PEARSON                                  4302 PECAN VALLEY DR                                                                             CORPUS CHRISTI    TX    78413‐2510
JON KWONG & LILLY S POON JT TEN                   2107 LARKIN 8                                                                                    SAN FRANCISCO     CA    94109‐1946
JON L ALLANSON                                    8739 GUNPOWDER DR                                                                                INDIANAPOLIS      IN    46256‐1361
JON L BARTEL                                      4313 E APOLLO LN                                                                                 JANESVILLE        WI    53546‐8873
JON L BRATZKE                                     453 N PALM STREET                                                                                JANESVILLE        WI    53545‐3552
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 301 of 855
Name                                             Address1                                 Address2             Address3          Address4          City            State Zip

JON L FESSLER                                  811 MAIN                                   PO BOX 314                                               FOSSIL          OR    97830‐0314
JON L GIDDINGS                                 8420 LAKEVIEW BLVD                                                                                  RODNEY          MI    49342‐9753
JON L KALLS                                    459 PINE ST                                                                                         LOCKPORT        NY    14094‐5503
JON L LINCICOME                                1667 TOMLINSON RD                                                                                   MASON           MI    48854‐9257
JON L POMRINKE JR                              14 BURNDALE AVE                                                                                     DALLAS          PA    18612‐1502
JON LOWELL ALTHEIDE                            36301 RIVER POINT DR                                                                                ASTORIA         OR    97103
JON M ANDERSON & MRS CHERRIE H ANDERSON JT TEN 5312 N COMMERCIAL ST                                                                                TACOMA          WA    98407‐3112

JON M BLOOM                                      105 MIDDEN WA                                                                                     HOLLY SPRINGS    NC   27540‐6821
JON M BURNHAM                                    201 KNOLLRIDGE CIR                                                                                HUNTSVILLE       AL   35801‐1955
JON M CLAREY                                     2436 N 65TH ST                                                                                    WAUWATOSA        WI   53213‐1429
JON M CORBA                                      9685 SERGENT RD                                                                                   BIRCH RUN        MI   48415‐9604
JON M FAYNOR                                     3983 MERIDIAN RD                                                                                  LAINGSBURG       MI   48848‐9694
JON M HEBERLING                                  20906 SKYLER DR                                                                                   NORTH FORT MYERS FL   33917‐7778

JON M JINKS                                      2210 MEADOWBROOK RD S E                                                                           DECATUR         AL    35601‐6628
JON M PARSHALL                                   115 WORCESTER RD                                                                                  ROCHESTER       NY    14616‐3925
JON M RICE & CYNTHIA K RICE JT TEN               1401 MARWOOD SE                                                                                   KENTWOOD        MI    49508‐4855
JON M SONSTROEM                                  1600 WAPITI CIRCLE UNIT 19                                                                        ESTES PARK      CO    80517‐5410
JON M WEAVER                                     2511 BRADFORD DR                                                                                  KOKOMO          IN    46902‐3365
JON N JONSON                                     1804 W WENLOCK DR                                                                                 MARION          IN    46952‐2402
JON N PALLEY & MRS ADRIENNE B PALLEY JT TEN      155 GREENBRIAR RD                                                                                 MERIDEN         CT    06450‐6819
JON NAGEL & LINDA NAGEL JT TEN                   5651 ELDER CIRCLE                                                                                 LIVERMORE       CA    94550
JON NASH                                         903 ORANGE DR                                                                                     SILVER SPRING   MD    20901‐1005
JON O GEE                                        548 S OAKLAND AVE                                                                                 SHARON          PA    16146‐4040
JON O VANDERWEELE                                59 EAST ST                                                                                        NORTH EAST      PA    16428‐1550
JON OAK & KATHLEEN OAK JT TEN                    2536 RAVINESIDE N                                                                                 HOWELL          MI    48843‐6759
JON OLIVO                                        3713 LEE ST                                                                                       FLINT           MI    48506‐4135
JON P CRAWFORD                                   1556 N #400 E                                                                                     GREENFIELD      IN    46140‐9462
JON P KRAUS & MARY S KRAUS JT TEN                416 WINDSOR DR                                                                                    YUBA CITY       CA    95991‐6253
JON P KRUSE                                      1894 MAJON                                                                                        HIGHLAND        MI    48356‐1757
JON P LECKERLING & NANCY R LECKERLING JT TEN     19 GROVE AVE                                                                                      MADISON         CT    06443‐3257

JON P MC COY JR                                  119 W HARVEY                                                                                      MC ALLEN        TX    78501‐9443
JON P MCNATT                                     1309 CRAIG DR                                                                                     LIBERTY         MO    64068‐1307
JON PAUL BRADRICK                                824 CARRIAGE PARK OVAL                                                                            WESTLAKE        OH    44145‐1436
JON PETERS CUST ELIZABETH ERIN PETERS UGMA NY    4B                                       704 WASHINGTON ST                                        NEW YORK        NY    10014‐2334

JON PINION                                       3915 CANTON HWY                                                                                   CUMMING         GA    30040‐4336
JON PRICE                                        6957 CHERRY HILLS NE LO                                                                           ALBUQUERQUE     NM    87111‐1068
JON R ANDERSON CUST AMY L ANDERSON UGMA OH       7791 NOLENSVILLE RD                                                                               NOLENSVILLE     TN    37135‐9466

JON R BOERTMAN & DALANNA G BOERTMAN JT TEN       3553 WHISPER LANE                                                                                 SAGINAW         MI    48603‐7253

JON R CHADDOCK                                   3293 W MAIN ST RD                                                                                 BATAVIA         NY    14020‐9109
JON R FERRELL                                    PO BOX 267                                                                                        CHURUBUSCO      IN    46723‐0267
JON R FORSBERG                                   BOX 1073                                 N FARRAGUT RD                                            MONTAUK         NY    11954‐0800
JON R FOURNIER                                   3 MILLER AVE                                                                                      YORKTOWN        NY    10598‐6605
                                                                                                                                                   HEIGHTS
JON R FRANKLIN                                   6244 EASTKNOLL DR                        APT 97                                                   GRAND BLANC     MI    48439‐5089
JON R GOODWIN                                    65 WARNER STREET                                                                                  BRISTOL         CT    06010‐3100
JON R GROH                                       6343 DUSTYWIND LN                                                                                 LOVELAND        OH    45140‐8061
JON R HALL                                       691 N ROCKY CREEK WEST                                                                            BEDFORD         IN    47421
JON R HORKEY & SHEILA M HORKEY JT TEN            1920 KELLY DR                                                                                     MINNEAPOLIS     MN    55427‐3514
JON R MURRAY & DIANNE MURRAY JT TEN              324 EAST 11000 SOUTH                                                                              SANDY           UT    84070‐5206
JON R PRENTICE                                   411 WALNUT ST                            PMB #520                                                 GREEN COVE      FL    32043‐3443
                                                                                                                                                   SPRINGS
JON R QUILLARD                                   578 MAPLE ST                                                                                      CARLISLE        MA    01741‐1633
JON R SCHUSTER                                   11432 STERLING VIEW CT                                                                            CLERMONT        FL    34711‐6866
                                             09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 302 of 855
Name                                           Address1                            Address2                   Address3    Address4          City               State Zip

JON R SHANEYFELT                               145 W KESSLER‐COWLESVILLE RD                                                                 TIPP CITY          OH    45371‐8831
JON R SHELTON                                  329 ROWAN DR                                                                                 BEREA              OH    44017‐1062
JON RANDALL GREEN                              PO BOX 609                                                                                   LOVINGSTON         VA    22949‐0609
JON RANDEL MC FARLAND                          2436 COUNTRY CLUB LANE                                                                       SELMA              CA    93662‐3236
JON ROBERT HENSHAW                             8339 SW 112TH ST                                                                             MIAMI              FL    33156‐4318
JON ROBERT SNAVELY                             9840 GRINDSTONE HILL RD                                                                      GREENCASTLE        PA    17225‐9538
JON ROOSENRAAD & MRS MARGARET ROOSENRAAD JT    1401 NW 31ST DR                                                                              GAINESVILLE        FL    32605‐5019
TEN
JON S ANTHONY                                  118 WARREN ST                       #1                                                       MEDFORD            MA    02155‐2261
JON S MANISCALCO                               2781 DELLRIDGE DR                                                                            HOLT               MI    48842‐9718
JON S RUNDQUIST                                8123 REDSTONE DR                                                                             FORT WAYNE         IN    46835‐4254
JON S WEBER                                    200 NE 26TH DR                                                                               WILTON MANORS      FL    33334‐2012
JON S WRIGHT                                   840 CARDOZA DR                                                                               CRYSTAL            MI    48818‐9677
JON SCHWADERER                                 741 E 9TH                                                                                    ALLIANCE           NE    69301‐2736
JON SCOTT HIGGS                                588 FOREST RD                                                                                WAYNE              PA    19087‐2322
JON SCOTT TOMSON                               PO BOX 72                                                                                    IMLAYSTOWN         NJ    08526‐0072
JON SEIRO SUZUKI                               3739 MUIRFIELD RD                                                                            LOS ANGELES        CA    90016‐5719
JON SHREVE                                     2377 ROSE AVENUE                                                                             HOWELL             MI    48843‐8460
JON SMITH                                      PO BOX 2002                                                                                  HUNTINGTN BCH      CA    92647‐0002
JON T BROUWER                                  47590 BURTON                                                                                 UTICA              MI    48317‐3108
JON T FIELD                                    2231 W 10 ST                                                                                 ASHTABULA          OH    44004‐2529
JON T FLANAGIN                                 404 COTTAGE AVE                                                                              VERMILLION         SD    57069‐2120
JON T KEIM                                     PO BOX 363                                                                                   GROSSE ILE         MI    48138‐0363
JON T SCHOCKE                                  410 WOODHULL ST                                                                              LAINGSBURG         MI    48848‐9333
JON T SEIGHMAN                                 6903 LEXINGTON PARK BLVD                                                                     MASON              OH    45040‐2478
JON T TRASKY                                   6040 ROOSEVELT STREET                                                                        COOPERSVILLE       MI    49404‐9409
JON THOMAS BLACK                               10660 S CO RD 800 W                                                                          DALEVILLE          IN    47334‐9713
JON TOBEY                                      1581 S DELANO                                                                                ST CLAIR           MI    48079‐5270
JON V SLAUGHTERBACK                            1269 N COUNTY ROAD 475 E                                                                     AVON               IN    46123‐8673
JON VAN LOON                                   59 COMMODORE AVE                                                                             WARWICK DOWNS      RI    02888‐5015

JON VERR                                       47‐39 168TH STREET                                                                           FLUSHING           NY    11358‐3715
JON W BALL                                     5702 JESTER DRIVE                                                                            GARLAND            TX    75044‐8128
JON W DAMME                                    11210 SEWARD PLZ                    APT 2201                                                 OMAHA              NE    68154‐4831
JON W INMAN                                    3010 VICTORIA AVE                                                                            CINCINNATI         OH    45208‐1506
JON W KRAINOCK                                 3275 W ASHLAN AVE #3343                                                                      FRESNO             CA    93722‐4402
JON W PARMELEE & SHIRLEY M PARMELEE JT TEN     411 HICKORY DR                                                                               GREENFIELD         IN    46140
JON W PETERS                                   1874 RIDGE AVE                      APT 5                                                    MONTGOMERY         AL    36106‐1866
JON W SIX                                      1091 W RIVER RD                                                                              ELYRIA             OH    44035‐2811
JON WAGNER CUST LANCE GIBSON UTMA FL           4665 CALLE VENTOSO                                                                           PENSACOLA          FL    32514‐7929
JONAH L COLEY JR                               ATTN CHEVROLET                      2325 PROVIDENCE CREEK LN                                 CHARLOTTE          NC    28270‐0779
JONAH S HOWARD & EVELYN M HOWARD JT TEN        316 B OLEANDER DR                                                                            EDEN               NC    27288
JONAH SMITH                                    6400 VAN BUREN                                                                               DETROIT            MI    48204‐4417
JONAS A RAMONAITIS                             11311 ARDEN ST                                                                               LIVONIA            MI    48150‐2838
JONAS B YUTZY                                  903 SANTA DOROTEA CIR                                                                        ROHNERT PARK       CA    94928‐2216
JONAS BEREISA                                  1196 COPPERWOOD DR                                                                           BLOOMFIELD HILLS   MI    48302‐1928

JONAS C WALKER III                             1683 MUSSULA RD                                                                              BALTIMORE          MD    21286‐2344
JONAS D WORTHEN                                953 MERCER RD                                                                                MERCER             ME    04957
JONAS E BENDER                                 1410 BIRCH ST                       PO BOX 173                                               YELLOW SPGS        OH    45387‐0173
JONAS E PUIDOKAS                               22313 MYLLS                                                                                  ST CLAIR SHRS      MI    48081‐1342
JONAS G KUCINSKAS                              KALVARIJU 323‐88                    VILNIUS 08420              LITHUANIA   LITHUANIA
JONAS LAITUSIS                                 2829 ALLEN AVE                                                                               UNION              NJ    07083‐4135
JONAS MARSHALL                                 2966 ALGONQUIN                                                                               DETROIT            MI    48215‐2435
JONAS P DONMOYER & MAUDE E DONMOYER JT TEN     PO BOX 17077                                                                                 ONO                PA    17077

JONAS SAMUELSON                                130 DRURY LANE                                                                               BLOOMFIELD         MI    48301‐2469
JONAS VILIUNAS                                 3413 BRITTANY DR                                                                             JOLIET             IL    60435‐8750
JONATHAN A CLEMENS                             PO BOX 1143                                                                                  PORT TOWNSEND      WA    98368‐0943
                                           09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 303 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JONATHAN A HARRIS                                 378 BUNN HILL RD                                                                                 VESTAL            NY    13850‐5913
JONATHAN A JACOBS                                 25360 DEVON                                                                                      FRANKLIN          MI    48025‐1284
JONATHAN A MARVE                                  PO BOX 1105                                                                                      FLINT             MI    48501
JONATHAN A MEIER                                  3918 KNOBWOOD OVERLOOK                                                                           INDIANAPOLIS      IN    46234
JONATHAN A TOWNSLEY                               186 PAUAHILANI PL                                                                                KAILUA            HI    96734‐3147
JONATHAN ALLARD MATTLAGE                          227 MILL CREEK CT                                                                                ACWORTH           GA    30101‐4740
JONATHAN ANDREW FREED                             4975 WATERVIEW DR                                                                                MIDLAND           GA    31820‐3451
JONATHAN AYALA                                    7847 BLANDWOOD                                                                                   DOWNEY            CA    90240‐2115
JONATHAN B GRIFFITHS                              65 NESTINGROCK LANE                                                                              LEVITTOWN         PA    19054‐3809
JONATHAN B HARSHMAN                               6820 MAGNUM DR                                                                                   PLANO             TX    75024‐6332
JONATHAN B HUNT                                   107 ESSEX ST                                                                                     BANGOR            ME    04401‐5301
JONATHAN B KNEHANS                                6003 LAKETREE LANE                      UNIT F                                                   TAMPA             FL    33617‐1672
JONATHAN B LARSON                                 5785 LADUES END COURT                                                                            FAIRFAX           VA    22030
JONATHAN B WEAVER                                 306 N WEST ST                                                                                    ARCANUM           OH    45304‐1034
JONATHAN BARRINGTON                               1520 FAIRVILLE RD                                                                                CHADDS FORD       PA    19317‐9339
JONATHAN BENNETT GELBER                           1415 IHILOA LOOP                                                                                 HONOLULU          HI    96821‐1315
JONATHAN BIELE                                    1012 WESTBROOKE WAY #5                                                                           HOPKINS           MN    55343‐8054
JONATHAN BOUDMER                                  281 RIVERSIDE DR                        PO BOX 415                                               FACTORYVILLE      PA    18419
JONATHAN BOZBECKIAN                               10 DENESLEY RD                          BOX 51851                                                INDIAN ORCHARD    MA    01151‐5851
JONATHAN BOZBECKIAN                               BOX 51851                                                                                        INDIAN ORCHARD    MA    01151‐5851
JONATHAN BRELSFORD                                679 S MAIN ST APT 1                                                                              SEYMOUR           CT    06483
JONATHAN BROWN                                    PO BOX 22062                                                                                     LANSING           MI    48909‐2062
JONATHAN C BROOKSHIRE                             1105 INDIAN TRAIL                                                                                RALEIGH           NC    27609‐5437
JONATHAN C CHUMLEY                                2130 N TALBOTT ST                                                                                INDIANAPOLIS      IN    46202‐1572
JONATHAN C GILMAN                                 95 CLAFLIN ST                                                                                    BELMONT           MA    02478‐3249
JONATHAN C GILMAN TR UA 12/05/90 MARY D GILMAN    95 CLAFLIN ST                                                                                    BELMONT           MA    02478‐3249
TRUST
JONATHAN C GRIFFITH & FRANCES C GRIFFITH JT TEN   418 REID RD                             LOT 84                                                   OWENSBORO         KY    42303‐0708

JONATHAN C GUY                                    C/O GALLUS INC                          2800 BLACK LAKE PL                                       PHILADELPHIA      PA    19154‐1024
JONATHAN C JABLONS                                53 CIRCLE DR                                                                                     ROSLYN HEIGHTS    NY    11577‐2201
JONATHAN C MARKOVICH                              10126 PARK RIDGE DR                                                                              INDIANAPOLIS      IN    46229‐4108
JONATHAN C MARTEL                                 4839 EAST 216TH STREET                                                                           NOBLESVILLE       IN    46060‐8490
JONATHAN C PASCUA                                 292 FALLING BROOK DR                                                                             TROY              MI    48098‐4694
JONATHAN C PICK                                   124 CARMEL ST                                                                                    SAN FRANCISCO     CA    94117‐4335
JONATHAN C REESE                                  1124 CARLYLE CT                                                                                  ARLINGTON HTS     IL    60004‐5044
JONATHAN C REESE & NANCY L REESE JT TEN           1124 CARLYLE CT                                                                                  ARLTINGTON HTS    IL    60004‐5044
JONATHAN C SKIDMORE                               8 LOGAN PL                                                                                       NORWALK           CT    06853‐1403
JONATHAN C STAATS                                 917 N MADISON                                                                                    BLOOMINGTON       IL    61701‐2929
JONATHAN CHERNOW                                  1102 CONURE CT                                                                                   OCEANSIDE         CA    92057‐1951
JONATHAN COWLES DAVIS                             4935 CLARA MAE WALK                                                                              DULUTH            GA    30096‐6080
JONATHAN CRAIG HIGH                               4416 MALDEN DR                                                                                   CHARLESTON        WV    25306‐6446
JONATHAN D EARNSHAW                               300 MCCOOL AVE                                                                                   EAST SYRACUSE     NY    13057‐2306
JONATHAN D EWALD & ROSE E EWALD JT TEN            PO BOX 10                                                                                        FRENCHTOWN        NJ    08825‐0010
JONATHAN D FARRAR                                 3200 HAVANA PL                                                                                   DULLES            VA    20189‐3200
JONATHAN D GRAY                                   4505 E COLORADO ST                                                                               LONG BEACH        CA    90814‐3024
JONATHAN D LOWE TR JONATHAN D LOWE REV TRUST      5095 LAKE BLUFF RD                                                                               WEST BLOOMFIELD   MI    48323‐2430
UA 05/31/88
JONATHAN D MCPIKE                                 17565 N BRAEBURN CT                                                                              PLATTE CITY       MO    64079‐7941
JONATHAN D POND                                   16 MARCIA RD                                                                                     WATERTOWN         MA    02472‐4920
JONATHAN D POND & MRS MARY ANN POND JT TEN        16 MARCIA RD                                                                                     WATERTOWN         MA    02472‐4920

JONATHAN D TYSON                                  1530 COLLINGWOOD DR                                                                              INDIANAPOLIS      IN    46228‐1927
JONATHAN DAVID BAGWELL                            3982 N HIGH ST                                                                                   COLUMBUS          OH    43214
JONATHAN E CUNNINGHAM                             13475 SW 9 ST                           APT 107                                                  PEMBROKE PINES    FL    33027‐1805
JONATHAN E ELDER                                  4539 COOLIDGE                                                                                    WAYNE             MI    48184‐2252
JONATHAN E GRAY                                   5038 HULMAN DR                                                                                   DAYTON            OH    45406‐1227
JONATHAN E KLARFELD                               2576 LARCHMONT RD                                                                                BEACHWOOD         OH    44122‐1516
JONATHAN E MIERAS                                 411 CHERRY ST                                                                                    STURGIS           MI    49091‐2200
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 304 of 855
Name                                           Address1                             Address2             Address3          Address4                City            State Zip

JONATHAN E THARP                               3370 N STATE ROAD 19                                                                                TIPTON          IN    46072
JONATHAN F LAMAR                               7338 OVERLAND PARK CT                                                                               WEST CHESTER    OH    45069‐5560
JONATHAN F SHETTLER                            11699 BENNINGTON RD                                                                                 DURAND          MI    48429‐9750
JONATHAN F WOLFINGER                           40 HUBBELL PARK                                                                                     ROCHESTER       NY    14608‐2428
JONATHAN FIELD                                 4321 COLFAX AVE                      APT 23                                                         STUDIO CITY     CA    91604‐2899
JONATHAN FINCH                                 PO BOX 867                                                                                          VERPLANCK       NY    10596‐0867
JONATHAN FINK                                  PO BOX 118                                                                                          CASANOVA        VA    20139‐0118
JONATHAN G EASTERLING                          6285 SOUTH GRAHAM RD                                                                                ST CHARLES      MI    48655‐9536
JONATHAN G SEYMOUR JR                          10 CLACTON ROAD                      LONDON                                 E17 8AR GREAT BRITAIN
JONATHAN G SEYMOUR TR JONATHAN G SEYMOUR       4501 SILVERBERRY CT                                                                                 JACKSONVILLE    FL    32224‐6838
LIVING TR UA 03/05/04
JONATHAN G TRUSLOW                             11 BELMORE TERRACE                                                                                  JAMAICA PLAIN   MA    02130
JONATHAN GARO KOOMEY & MELISSA GRIGORIEFF JT   6441 REGENT ST                                                                                      OAKLAND         CA    94618‐1313
TEN
JONATHAN GERSON                                440 HAVERFORD RD                                                                                    WYNNEWOOD       PA    19096‐2632
JONATHAN GOH                                   4280 FRIST CENTER                                                                                   PRINCETON       NJ    08544
JONATHAN GOLDBERG                              627 KATHLEEN PL                                                                                     WESTBURY        NY    11590‐5915
JONATHAN GREEN                                 563 DERBY DR EAST                                                                                   OCEANSIDE       NY    11572‐2611
JONATHAN GREEN & SANDRA GREEN JT TEN           237 TILBURY RD                                                                                      BLOOMFIELD      MI    48301‐2738
JONATHAN H BOYD                                4312 MAPLE MANOR                                                                                    MUNCIE          IN    47302‐9283
JONATHAN H HOLLAND                             2677 PRESTWICK VILLAGE CIR                                                                          SPRINGFIELD     OH    45503‐7118
JONATHAN H PETERS                              40 SHADY CREST RD                                                                                   MERIDEN         CT    06450‐2547
JONATHAN H SMART                               4100 VINCENT AVE SO                                                                                 MINNEAPOLIS     MN    55410‐1140
JONATHAN H TOTZKE                              329 W CHESTNUT                                                                                      HAZEL PARK      MI    48030‐1325
JONATHAN H ZIEGLER                             PO BOX 40322                                                                                        SANTA BARBARA   CA    93140‐0322
JONATHAN HAZE                                  3636 WOODHILL CANYON RD                                                                             STUDIO CITY     CA    91604‐3658
JONATHAN HELLYER                               392 PLANTATION DR                                                                                   SANDERSVILLE    GA    31082‐7402
JONATHAN HODGES                                32 OVERLOOK AVE                                                                                     PATERSON        NJ    07504‐1045
JONATHAN J ARMSTRONG JR                        717 E BROW RD                                                                                       LOOKOUT         TN    37350‐1007
                                                                                                                                                   MOUNTAIN
JONATHAN J HYLAN CUST BRETT COMMONS HYLAN      #136                                 245 UNQUOWA RD                                                 FAIRFIELD       CT    06430‐5029
UGMA CT
JONATHAN J KOEHLER                             1212 N. LAKE SHORE DR.               UNIT 29AS                                                      CHICAGO         IL    60610
JONATHAN J NUGENT                              90 NORTHOAK CRT                                                                                     DANVILLE        CA    94506‐1328
JONATHAN J O'BRIEN                             2847 DANELAND ST                                                                                    LAKEWOOD        CA    90712‐2131
JONATHAN JAMES KISSEL                          18321 VENTURA #800                                                                                  TARZANA         CA    91356‐4250
JONATHAN JAVITCH                               11 LYNCROFT RD                                                                                      NEW ROCHELLE    NY    10804‐4101
JONATHAN JOSEPH                                PO BOX 74                                                                                           LEHIGH ACRES    FL    33970‐0074
JONATHAN K BROKAW                              1210 N CUMMINGS RD                                                                                  DAVISON         MI    48423‐8122
JONATHAN K COOPERMAN                           43‐10 KISSENA BLVD                                                                                  FLUSHING        NY    11355‐2922
JONATHAN K FREDERICK                           14 CHARLES RIVER ROAD                                                                               MEDWAY          MA    02053‐1256
JONATHAN K HAUSE                               12204 91ST WAY                                                                                      LARGO           FL    33773‐2600
JONATHAN K OCKO                                5033 QUAIL HOLLOW DR                                                                                RALEIGH         NC    27609‐5452
JONATHAN KAMINSKI                              4902 GLENN SUMMIT                                                                                   PERRY HALL      MD    21128‐9429
JONATHAN KELLER                                PO BOX 2445                                                                                         LA HABRA        CA    90632
JONATHAN KRAMPNER                              3322 ROWENA AVENUE #C                                                                               LOS ANGELES     CA    90027‐2937
JONATHAN L BLACKWELL                           PO BOX 158                                                                                          SPRINGVALE      ME    04083‐0158
JONATHAN L GILSON                              216 WOOD ST                                                                                         WOODVILLE       MA    01784
JONATHAN L GREENE                              180 DOGWOOD DR                                                                                      DELAWARE        OH    43015‐2785
JONATHAN L HERNANDEZ                           8802 BRABURN                                                                                        SAN ANTONIO     TX    78221
JONATHAN L KEACH                               902 AUDUBON DRIVE                                                                                   VALPARAISO      IN    46383‐7809
JONATHAN L KEACH & CHERYL L KEACH JT TEN       902 AUDOBON DR                                                                                      VALPARAISO      IN    46383
JONATHAN L LAMSON                              109 EAST ST PO BOX 233                                                                              LINDEN          MI    48451‐0233
JONATHAN L MUNIER                              3700 N MAIN STREET                                                                                  HOUSTON         TX    77009‐5428
JONATHAN L SCHLEE                              6450 CANYON CREST DR                                                                                SALT LAKE CTY   UT    84121‐6304
JONATHAN LOPEZ                                 6617 MARINA POINTE VILLAGE CT        APT 101                                                        TAMPA           FL    33635‐9052
JONATHAN M FOSTER                              4328 TOWLE AVE                                                                                      HAMMOND         IN    46327‐1376
JONATHAN M JOHNSON                             1205 PEPPER MILL CT                                                                                 LEWISVILLE      NC    27023‐9433
JONATHAN M KAUFMAN                             626 N VALLEY HILL RD                                                                                WOODSTOCK       IL    60098‐7844
                                          09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                  Part 4 of 8 Pg 305 of 855
Name                                           Address1                            Address2                  Address3         Address4          City               State Zip

JONATHAN M PALMER                           6319 HAPTON PLACE                                                                                   ELKRIDGE           MD    21075‐6184
JONATHAN M SCHULTZ                          10345 RATTALEE LAKE ROAD                                                                            DAVISBURG          MI    48350‐1323
JONATHAN M WAHL                             915 EMORY DR                                                                                        CHAPEL HILL        NC    27514‐3414
JONATHAN M WOLF                             7265 VIEW AVE                                                                                       EL CERRITO         CA    94530‐1813
JONATHAN MARCHETTI                          76 BROWNSTONE DR                                                                                    SOUTHINGTON        CT    06489
JONATHAN MARK WELLNER CUST SAMANTHA WELLNER 1520 KNOX RD                                                                                        WYNNEWOOD          PA    19096‐2516
UTMA PA
JONATHAN MARSH                              204 N PENNSYLVANIA                                                                                  CASPER             WY    82609
JONATHAN MARTIN LEHRER                      3 HARBOR COURT WEST                                                                                 ROSLYN HARBOR      NY    11576‐2436
JONATHAN MC CUE                             3004 SIXTH AVENUE                      NUMBER 8                                                     SAN DIEGO          CA    92103‐5825
JONATHAN MEARS                              651 MONTEREY AVE                       VICTORIA BC                                V8S 4T8 CANADA
JONATHAN MICHAEL ROTHMAN                    1608 E LK GENEVA RD NE                                                                              ALEXANDRIA         MN    56308‐7964
JONATHAN MICHAEL UNOWSKY                    4124 SANTA TERRASA PLACE                                                                            LAS VEGAS          NV    89121
JONATHAN MILLER                             421 CHESTNUT ST                        APT 303                                                      PHILADELPHIA       PA    19106‐2423
JONATHAN MINSKY                             5 TULLAMORE DR                         NORTH YORK ON                              M2L 2E9 CANADA
JONATHAN MITCHELL SWEAT                     200 DOMINICAN DR                                                                                    MADISON            MS    39110‐8630
JONATHAN NASH                               WHITE LEE 1 PLOWDEN PARK               ASTON ROWANT WATLINGTON   OXFORDSHIRE OX   GREAT BRITAIN
JONATHAN NEIL HOLLINGER                     100 FOUR SEASONS DRIVE                 NEPEAN ON                                  K2E 7S1 CANADA
JONATHAN NORRIS KLING                       200 CLINTON DR                                                                                      RUTHER GLEN        VA    22546‐5117
JONATHAN O SIMPSON                          9280 HUNTINGTON SQ                                                                                  N RICHLAND HILLS   TX    76180‐4366

JONATHAN O SPEERS                              PO BOX 353                                                                                       OGONQUIT        ME       03907‐0353
JONATHAN OTIS KERLIN                           1457 10TH AVE                                                                                    SAN FRANCISCO   CA       94122‐3602
JONATHAN P CURO & MARTHA J CURO JT TEN         27716 BRUSH                                                                                      MADISON HEIGHTS MI       48071‐3302

JONATHAN P ERICKSON CUST RYAN JOHN ERICKSON    6952 APACHE TRL                                                                                  WESTLAND           MI    48185‐2802
UTMA MI
JONATHAN P FERGUSON                            PO BOX 777                                                                                       PARKMAN            OH    44080‐0777
JONATHAN P KALUPA                              18485 W EVERGREEN PL                                                                             NEW BERLIN         WI    53151
JONATHAN P MAYS                                412 NORTH LOCKSLEY DRIVE                                                                         LAFAYETTE          LA    70508‐4024
JONATHAN P NORRIS CUST ADAM DANIEL NORRIS UTMA 1175 CHESTNUT ST #22                                                                             NEWTON             MA    02464‐1341
MA
JONATHAN PATRICK GOODRICH                      6715 S JENTILLY LANE                                                                             TEMPE              AZ    85283‐4010
JONATHAN Q C HALL                              16853 SHERBROOKE ROAD                                                                            LEWES              DE    19958‐3878
JONATHAN R ALLEN                               32100 KNOLLWOOD                                                                                  WARREN             MI    48092‐3814
JONATHAN R ALLEN & CYNTHIA L ALLEN JT TEN      32100 KNOLLWOOD                                                                                  WARREN             MI    48092‐3814
JONATHAN R BURNS                               5025 ELMER LN                                                                                    MANITOWOC          WI    54220‐1082
JONATHAN R CRANE                               493 RIDGEWOOD                                                                                    ROCHESTER          MI    48306‐2644
JONATHAN R EHLERT                              133 LIBHART                                                                                      LYONS              MI    48851‐9627
JONATHAN R FINGER                              4 HENRY STREET                                                                                   ARLINGTON          MA    02474‐1320
JONATHAN R FREEMAN                             365 FRENCHTOWN RD                                                                                EAST GREENWICH     RI    02818‐1817
JONATHAN R FRONK                               1315 RIGGS TRL                                                                                   WILMINGTON         NC    28412‐7615
JONATHAN R HUISH                               200 TRAILBLAZER DR                                                                               BASTROP            TX    78602‐3542
JONATHAN R JACKSON                             501 LAND DRIVE                                                                                   DAYTON             OH    45440‐3701
JONATHAN R LYONS II & DONNA LYONS JT TEN       9096 CHELMSFORD DR                                                                               SWARTZ CREEK       MI    48473‐1170
JONATHAN R ROD                                 42 LINCOLN AVE                                                                                   RYE BROOK          NY    10573‐1353
JONATHAN R SMITH                               C/O EFFECTIVE AIR INC               105 PARK DRIVE                                               GLENVIEW           IL    60025‐2722
JONATHAN R THODOROFF                           648 WINTERS EVE                                                                                  FLUSHING           MI    48433‐1947
JONATHAN RICH                                  42383 LYNDA DRIVE                                                                                CLINTON TWP        MI    48038
JONATHAN RICHEY BONILLA                        5049 MOUTRIE                                                                                     CORPUS CHRISTI     TX    78413‐2707
JONATHAN RIEB                                  1011 MAPLE ST                                                                                    GREENWOOD          IN    46142‐3828
JONATHAN RUIZ                                  8942 GARDEN GROVE                                                                                NORTHRIDGE         CA    91325‐2724
JONATHAN S FISHER                              5437 FLORENCE AVE                                                                                DOWNERS GROVE      IL    60515
JONATHAN S GLASCOE                             2620 N SAWYER AVE                   #1                                                           CHICAGO            IL    60647‐1612
JONATHAN S ROSEN & MRS VICTORIA A ROSEN JT TEN 1200 GULF BLVD #1506                                                                             CLEARWATER         FL    33767‐3701

JONATHAN S WASKO                               7533 GRAYMORE RD                                                                                 PITTSBURGH         PA    15221‐3115
JONATHAN S WILLIAMS                            811 NORTH GEORGE STREET                                                                          ROME               NY    13440‐3409
JONATHAN SCHILLER SERVISS                      22536 NAPA ST                                                                                    CANOGA PARK        CA    91304‐2244
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit E
                                                                                   Part 4 of 8 Pg 306 of 855
Name                                           Address1                             Address2                      Address3             Address4          City            State Zip

JONATHAN SCOTT WINFIELD                        3001 EASTVIEW ROAD                                                                                        BETHEL PARK     PA    15102
JONATHAN SCROBE                                1506 MANCHESTER COURT                                                                                     EDGEWATER PRK   NJ    08010
JONATHAN SELZER                                17 FAIRFIELD PL                                                                                           YONKERS         NY    10705‐1706
JONATHAN SENNE                                 1000 HUNTER                                                                                               LOMBARD         IL    60148
JONATHAN SLASS                                 26 STRAWBERRY LN                                                                                          WARREN          NJ    07059
JONATHAN SPENCER                               4637 GANN WAY SW                                                                                          SMYRNA          GA    30082‐4474
JONATHAN STARR WATSON                          121 SLADE ST                                                                                              BELMONT         MA    02478‐2226
JONATHAN STUART POLSKY                         225 PARK PL                          APT 4A                                                               BROOKLYN        NY    11238‐4310
JONATHAN T HOWE                                425 SEA SPRAY LN                                                                                          PONTE VEDRA     FL    32082‐4705
JONATHAN T HUGHES                              4495 HAROLD DRIVE                                                                                         TROY            MI    48085‐4907
JONATHAN T SCHOLZ U/GDNSHIP OF ROBERT W SCHOLZ 501 LOVER'S LANE                                                                                          COLFAX          WA    99111‐9795

JONATHAN TAYLOR TR JONATHAN TAYLOR TRUST UA   5205 CROFTON AVE                                                                                           SOLON           OH    44139‐1278
09/05/00
JONATHAN THOMAS                               769 STONE HILL DR                                                                                          WALNUTPORT      PA    18088
JONATHAN TOLBERT                              1801E WOODBROOK CIR                                                                                        ALABASTER       AL    35007‐7029
JONATHAN TORRENCE BLOOD & HELEN M TORRENCE JT 2543 DUNKEITH DR NW                                                                                        CANTON          OH    44708‐1327
TEN
JONATHAN TORRENCE BLOOD & SAMUEL TORRENCE JT 2543 DUNKEITH DR NW                                                                                         CANTON          OH    44708‐1327
TEN
JONATHAN VON HOFFMANN                         612                                   1500 W EL CAMINO AVE STE 13                                          SACRAMENTO      CA    95833‐1945
JONATHAN W DAVIS                              433 FORT MOTT RD                                                                                           PENNSVILLE      NJ    08070‐9640
JONATHAN W HATCH                              426 CARO LN                                                                                                CHAPIN          SC    29036‐7988
JONATHAN W HERSHEY & LINDSAY S GATES JT TEN   8129 M 36                                                                                                  WHITMORE LAKE   MI    48189‐9707
JONATHAN W MARK                               2451 W JARVIS AVE                                                                                          CHICAGO         IL    60645‐1615
JONATHAN W RIKERT                             303 WINTHROP DR                                                                                            ITHACA          NY    14850‐1736
JONATHAN W SHADRICK                           2805 WADE HAMPTON BLVD                LOT 40                                                               TAYLORS         SC    29687‐2750
JONATHAN W STORCK                             203 E MCCLELLAN AVE                                                                                        LIVINGSTON      NJ    07039‐1415
JONATHAN W SUMMERS                            RR2 BOX 10                                                                                                 HARRISVILLE     WV    26362‐9602
JONATHAN W WHITMAN                            1125 OAK RD                                                                                                DAVISON         MI    48423
JONATHAN WEBB                                 1842 ECKLEY AVE                                                                                            FLINT           MI    48503‐4526
JONATHAN WINTHROP HANSEN                      4432 BURNING TREE DRIVE                                                                                    TOLEDO          OH    43623‐3186
JONATHAN Z TORSHEN                            ATTN J H TORSHEN                      SUITE 3200                    105 W ADAMS STREET                     CHICAGO         IL    60603‐4109
JONATHAN ZEICHNER CUST JOSHUA ADAM ZEICHNER   440 E 23RD ST                                                                                              NY              NY    10010‐5002
UGMA NY
JONATHON B PALMQUIST                          4117 BECKETT RD                                                                                            TALLAHASSEE      FL   32311‐3696
JONATHON J OSANI                              205 MCCAULEY RD                                                                                            CONOWINGO        MD   21918‐1624
JONATHON L GOODRICH                           131 KEENAN LN                                                                                              SHELBYVILLE      TN   37160‐4349
JONATHON L TOPE                               3273 GRAFTON                                                                                               ORION            MI   48359‐1123
JONATHON L WAGNER                             8815 GRAMEL ST                                                                                             NORFOLK          VA   23503‐4813
JONATHON PITTS                                3500 E CALIFORNIA BLVD                                                                                     PASADENA         CA   91107‐5653
JONATHON THOMAS PADUCHOWSKI                   40836 REHSE DR                                                                                             CLINTON TOWNSHIP MI   48038‐4140

JONDA C SCHWASS                                1594 MARZINSKI RD                                                                                         MANISTEE        MI    49660‐9486
JONEL A SMITH ADM EST L A WARREN SMITH         4837 CAROLINA BEACH ROAD #207                                                                             WILMINGTON      NC    28412
JONELLE P DUNN                                 PO BOX 350                                                                                                ARCHBOLD        OH    43502‐0350
JONES B BLACKWELL                              6326 N NORMANDIE ST                                                                                       SPOKANE         WA    99208‐3952
JONES BLAKESLEE MINTON BURTON & FITZGERALD     ATT ROY Q MINTON                     1100 GUADALUPE                                                       AUSTIN          TX    78701‐2116

JONES CHAN                                     214 CANAL ST                         APT 2                                                                NEW YORK        NY    10013‐4150
JONES FOUNDATION INCORPORATED                  BOX 101                                                                                                   WHITEFORD       MD    21160‐0101
JONES INVESTMENT CO INC                        PO BOX 276                                                                                                GRACEVILLE      FL    32440‐0276
JONES STEVEDORING CO                           ATTN CLAYTON R JONES III             BOX 3736                                                             SEATTLE         WA    98124‐3736
JONES STEVEDORING COMPANY                      BOX 3736                                                                                                  SEATTLE         WA    98214
JONETTE B GREGORY                              17 WYNNEWOOD DR                                                                                           COLLEGEVILLE    PA    19426‐1772
JONG T CHUN                                    3965 MOORE ST                        # 101                                                                LOS ANGELES     CA    90066‐4163
JONG T KIM                                     28220 ACACIA                                                                                              LIVONIA         MI    48154‐4602
JONI A TERRY CUST KRISTINA M TERRY UGMA MI     6266 HIDDEN HOLLOW DR                                                                                     HAMILTON        OH    45011
JONI J MCCALL                                  7836 SOUTH LOGAN STREET                                                                                   LITTLETON       CO    80122‐2811
                                          09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                   Part 4 of 8 Pg 307 of 855
Name                                           Address1                             Address2             Address3           Address4               City             State Zip

JONI JAYE JASKIEWICZ                           8515 IVANHOE                                                                                        INDIANAPOLIS     IN    46219
JONI JILL CARPENTER                            C/O JONI JILL C TOBROCKE             23 ERIN AVENUE                                                 PLATTSBURGH      NY    12901‐2405
JONI KOOS                                      2156 MONTAIR AVE                                                                                    LONG BEACH       CA    90815
JONI L JOHNSON                                 3071 CHESTNUT WAY                                                                                   ANGELS CAMP      CA    95222‐9530
JONI L STINGER                                 3906 ST MICHAELS COURT                                                                              SUGAR LAND       TX    77479‐2928
JONI L VANDENBOS                               955 LEE ST                                                                                          MARTIN           MI    49070
JONI M TAYLOR                                  4506 DON ST                                                                                         HOLT             MI    48842‐1108
JONI PRATHER CUNNINGHAM                        PO BOX 288                                                                                          DAYTON           TN    37321‐0288
JONI R JACKSON                                 8166 LOGANS RIDGE DRIVE                                                                             WEST CHESTER     OH    45069
JONI WILLOUGHBY                                C/O JONI STAAB                       126 9TH N GOWER ST                                             LOS ANGELOS      CA    90004
JONIE B DAVIS                                  7824 HUMMINGBIRD LN                                                                                 CHARLOTTE        NC    28212‐7647
JONITA M SHUMAN                                325 SADDLE CREEK CIRCLE                                                                             ROSWELL          GA    30076‐1029
JONITA MARIE RANKART SHUMAN                    325 SADDLE CREEK CIRCLE                                                                             ROSWELL          GA    30076‐1029
JONN H WALINSKE                                11221 CANTERBURY LANE                                                                               WARREN           MI    48093‐1778
JONNA D WALKER                                 2475 BRIARKNOLL RD                                                                                  LITHONIA         GA    30058‐8396
JONNETTE HERR HOWELL                           3205 79TH ST                                                                                        LUBBOCK          TX    79423‐1825
JONNIE B ROBERTS                               3557 WILSON AVE                                                                                     CINCINNATI       OH    45229‐2424
JONNIE M JONES                                 23753 MAPLE LEAF COURT                                                                              VALENCIA         CA    91354‐1879
JONNIE P HERR                                  556 TUXEDO DR                                                                                       COMMERCE         GA    30530‐8234
JONNY A ROSS                                   1200 BARBIE DRIVE                                                                                   BOARDMAN         OH    44512‐3701
JONNY F EICKENBERG                             14751 STATE RT 111                                                                                  DEFIANCE         OH    43512‐8615
JONNY L MCCOON                                 4375 TOMMY ARMOUR DR                                                                                FLINT            MI    48506‐1466
JONTHON EHRMAN & JANEL EHRMAN JT TEN           7892 SHIRE LN                                                                                       YPSILANTI        MI    48197‐1860
JORDAN A BRESLOW                               2600 CENTRE AVE                                                                                     BELLMORE         NY    11710‐3452
JORDAN A BRYANT                                9227 LONGWOOD                                                                                       CHICAGO          IL    60620‐5544
JORDAN A STERN                                 30 HEATHER DR                                                                                       ROSLYN           NY    11576‐2211
JORDAN BENNETT                                 34 SUNNYHILL ROAD                                                                                   DOVER            NJ    07801‐3729
JORDAN DOUGLAS CHURCH                          8931 WINDWOOD CIRCLE                                                                                INDIANAPOLIS     IN    46256‐4339
JORDAN FELDMAN                                 448 MEADOW HILL LANE                                                                                ROUND LK BCH     IL    60073
JORDAN FOGEL CUST BRIANNA FOGEL UGMA NY        2782 JUDITH DR                                                                                      BELLMORE         NY    11710‐5307
JORDAN HAMILTON                                85 ROBERTSON                                                                                        MT CLEMENS       MI    48043‐2329
JORDAN HOLLIS FARIS                            2315 SCHAEFFER HILLS DR                                                                             HENDERSON        NV    89052‐7080
JORDAN J SOULERIN                              17731 W 130 ST                                                                                      NORTH ROYALTON   OH    44133‐5982

JORDAN J SPERKOSKI                             21302 AMOROA                                                                                        MISSION VIEJO    CA    92692‐4931
JORDAN LANE                                    14586 LORAIN AVE APT 103                                                                            CLEVELAND        OH    44111‐3159
JORDAN NEAL CONNOR CUST STEPHANIE L CONNOR     166 COVENTRY CT                                                                                     OWINGS           MD    20736‐3338
UTMA MD
JORDAN P LEBOEUF                               1201 CENTRAL AVE                                                                                    ALAMEDA          CA    94501‐2309
JORDAN PERRY TOWNE CUST MADELINE BELLE TOWNE   4058 JACKSON AVE                                                                                    CULVER CITY      CA    90232‐3232
UTMA CA
JORDAN PHILLIPS                                115 N ELM ST                         #1                                                             WESTFIELD        MA    01085‐1631
JORDAN R FLEMING                               200 LYNN AVE                                                                                        ORELAND          PA    19075
JORDAN RAY                                     814 WOODLAND DR                                                                                     NEW ELLENTON     SC    29809‐2806
JORDAN SCOTT MEIER                             7545 BROADLEAF LANE                                                                                 FISHERS          IN    46038‐1854
JORDAN SHAPIRO                                 C/O R SHAPIRO                        APT 16F              525 EAST 86TH ST                          NEW YORK         NY    10028‐7515
JORDAN V SPUMA & MARY SPUMA JT TEN             51 WEST 6TH ST                                                                                      BAYONNE          NJ    07002‐2450
JORDAN WEBER SARIEGO                           295 ELLEN PL                                                                                        JERICHO          NY    11753‐1823
JORDAN WELLS                                   2419 ARMSTRONG                                                                                      ORION            MI    48360
JORDAN WILCOXEN                                331 W BEACH ROAD                                                                                    ENGADINE         MI    49627
JORDANA D FRIEDMAN                             45 CLEVELAND SQUARE                  FLAT 3               LONDON             W2 6DA GREAT BRITAIN
JORDIN EBERHARD                                1274 MAPLECREST CT                                                                                  AMELIA         OH      45102‐1634
JORDIS C HUTCHINS                              2734 PATRICIA                                                                                       NORTH MUSKEGON MI      49445‐3240

JORDON C CROPPER                                 17000 NW MEADOW GRASS DR                                                                          BEAVERTON        OR    97006‐4730
JORDON SMELTZER                                  1239 N DAMEN AVE                                                                                  CHICAGO          IL    60622‐3143
JORDYN NICOLE JACOBS CUST WILLIAM JACOBS UTMA IL 1305 WESTCHESTER RD                                                                               BUFFALO GROVE    IL    60089‐6863

JORGE A BRIONES                                1201 MILLARD AVE                                                                                    ROYAL OAK        MI    48073
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
                                                                                         Part 4 of 8 Pg 308 of 855
Name                                              Address1                                Address2                   Address3                Address4                 City           State Zip

JORGE A BROGGIO                                   5825 RAMBLEWOOD CT                                                                                                  BRIGHTON       MI    48116‐9734
JORGE A BROGGIO                                   5825 RAMBLEWOOD CT                                                                                                  BRIGHTON       MI    48116‐9734
JORGE A LAGE                                      99 BEAVER ST                                                                                                        FRAMINGHAM     MA    01702‐7017
JORGE A LECEA & MARY A LECEA JT TEN               2305 LOST CREEK DR                                                                                                  FLUSHING       MI    48433‐9433
JORGE A LOPEZ                                     5491 WEST 6TH COURT                                                                                                 HIALEAH        FL    33012‐2543
JORGE A MARSANO                                   3395 S JONES BLVD #150                                                                                              LAS VEGAS      NV    89146‐6729
JORGE ATAN                                        1981 SCOTTEN                                                                                                        DETROIT        MI    48209‐1647
JORGE B PAXTIAN                                   PO BOX 26602                            BARRIGADA                                          96912 GUAM
JORGE BARRERA                                     COLMOTORES S A                          APARTADO AEREO 7329        BOGOTA D C COLUM        COLOMBIA
JORGE BARRERA                                     GM COLMOTORES AV BOYACA                 CALLE 56 A SUR N 36 A 03   BOGOTA S                COLOMBIA
JORGE BERENGUER                                   75 NORTH WASINGTON ST APT 1                                                                                         TARRYTOWN      NY    10591
JORGE CARBONELL                                   15830 SW 102ND LN                                                                                                   MIAMI          FL    33196‐5413
JORGE CARDENAS JR                                 28587 W 9 MILE RD                                                                                                   FARMINGTON     MI    48336
JORGE CARLOS GALBIS CUST ISABELLA SOFIA GALBIS    750 SAN JUAN DR                                                                                                     CORAL GABLES   FL    33143
UTMA FL
JORGE CHANSUOLME JR                               657 FOREST                                                                                                          WYANDOTTE      MI    48192‐6822
JORGE E CIFUENTES                                 349 HONEY PL                                                                                                        LATHROP        CA    95330‐9573
JORGE E GONZALEZ                                  1523 BOSTON BLVD                                                                                                    LANSING        MI    48910‐1133
JORGE E LUHAN & MRS LUCIA A LUHAN JT TEN          34321 AMBER LANTERN                                                                                                 DANA POINT     CA    92629‐3011
JORGE ESPIC DONOSO                                PASEO VALLE #348                        VINA DEL MAR                                       CHILE
JORGE G ENDERLE                                   552 HYDE PARK DR                                                                                                    SAN JOSE       CA    95136‐2836
JORGE G LOPEZ                                     5962 CHESTNUT HILLS DR                                                                                              CLEVELAND      OH    44129‐3522
JORGE GUTIERREZ                                   2625 JOSEPH COX CT                                                                                                  COLUMBUS       IN    47203‐2109
JORGE L CASTRO                                    609 NARDELLO DR                                                                                                     DELTONA        FL    32725‐8210
JORGE L CONTRERAS                                 3601 JERREE ST                                                                                                      LANSING        MI    48911‐2635
JORGE L PADILLA                                   7415 W 62ND PL                                                                                                      SUMMIT         IL    60501‐1707
JORGE L TORRES                                    HC 1 5559                                                                                                           JUANA DIAZ     PR    00795‐9719
JORGE L VAZQUEZ                                   42774 SALTZ                                                                                                         CANTON         MI    48187‐3464
JORGE M CALDERON                                  24327 RIVARD CT                                                                                                     GROSSE ILE     MI    48138‐2214
JORGE MAISTO                                      AVENIDA 3G                              ENTRE CALLE 68Y70          EEDIF KILLAVEA PH 'A'   MARACAIBO ESTADO ZULIA
                                                                                                                                             4001 VENEZUELA
JORGE MARINAS & ANTONIA MARINAS JT TEN            ZUFRIATEGUI 637 3RD FLR APT B           VICENTE LOPEZ              BEUNOS AIRES            1638 ARGENTINA
JORGE P OLIVEIRA                                  642 CLARK AVE                                                                                                       PERTH AMBOY    NJ    08861‐1800
JORGE R FLORES                                    209 WILDWOOD DR                                                                                                     DE SOTO        TX    75115‐7554
JORGE R ROMANIUK                                  MONROE 2532 8‐A                         1428 CAPITAL                                       ARGENTINA
JORGEN BURNERT                                    STAMKULLEVAGEN 125                      TROLLHATTAN                                        SWEDEN
JORGEN ERIK MEYER & ELLEN JOHANNE MEYER JT TEN    34229 WHITTAKER                                                                                                     CLINTON TWP    MI    48035‐3379

JORGEN JESSEN                                     125 BLUE HERON DR                       OSHAWA ON                                          L1G 6X6 CANADA
JORGEN NILSSON                                    JAGERSBORGSVAGEN 308                    S‐28023 HASTVEDA                                   SWEDEN
JORI L MAC GIRR                                   9022 NEFF ROAD                                                                                                      MOUNT MORRIS   MI    48458‐1036
JORIE LP                                          C/O AL KOPLIN                           21 SPINNING WHEEL ROAD                                                      HINSDALE       IL    60521‐2930
JORIE LP A DELAWARE LIMITED PARTNERSHIP           7035 BIG SPRINGS COURT                                                                                              LAS VEGAS      NV    89113‐1361
JOS C BROWN                                       3711 SAN FELIPE ST                      UNIT 11G                                                                    HOUSTON        TX    77027‐4040
JOSAPHA FARMER                                    3648 GREEN COVE CT                                                                                                  DAYTON         OH    45430‐1413
JOSE A ALMONTE                                    310 E BRINKERHOFF AVE                                                                                               PALISADES PK   NJ    07650‐2023
JOSE A AREIZAGA                                   111 WIDMER STREET                                                                                                   DEFIANCE       OH    43512‐1843
JOSE A AVILA                                      3445 RIDGELINE CT 8                                                                                                 ANN ARBOR      MI    48105‐2500
JOSE A BORRANI                                    32 FAIRFIELD RD                                                                                                     YONKERS        NY    10705‐1707
JOSE A BUSTILLOS                                  1019 LINCOLN AVE                                                                                                    ALAMEDA        CA    94501‐2322
JOSE A CABRAL                                     4 RAYMOND RD                                                                                                        HUDSON         MA    01749‐1036
JOSE A CARDENAS                                   PO BOX 1655                                                                                                         ELSA           TX    78543‐1655
JOSE A CARDENAS                                   3438 W 76TH PL                                                                                                      CHICAGO        IL    60652‐1408
JOSE A CUBAS                                      COMPUTERSHARE                           LEGAL/COMPLIANCE/OFAC 3A   250 ROYALL ST           CANTON MA 2021 CUBA
JOSE A DELGADO                                    36 MCLELLAND                                                                                                        BROWNSVILLE    TX    78520‐7422
JOSE A DELGADO & JOANNE M DELGADO TR UA           621 OCEANSIDE BLVD                                                                                                  INDIALANTIC    FL    32903
10/15/08 DELGADO FAMILY TRUST
JOSE A ESTELLA & MRS DARLENE L ESTELLA JT TEN     94 BELLEVUE AVE                                                                                                     BRISTOL        CT    06010‐5816
JOSE A FLORES                                     PO BOX 681                                                                                                          JOURDANTON     TX    78026‐0681
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                      Part 4 of 8 Pg 309 of 855
Name                                              Address1                             Address2             Address3             Address4             City            State Zip

JOSE A GARCIA                                     1043 NW 136TH CT                                                                                    MIAMI           FL    33182‐2611
JOSE A GODINHO                                    6 MAPLE ST                                                                                          HUDSON          MA    01749‐2006
JOSE A GOMES                                      49 RADFORD ST                                                                                       YONKERS         NY    10705‐3317
JOSE A GONZALEZ                                   4377 NORTON AVE                                                                                     OAKLAND         CA    94602‐3540
JOSE A GONZALEZ                                   3791 W 135 ST                                                                                       CLEVELAND       OH    44111‐4427
JOSE A GONZALEZ                                   33 GARDNER STREET                                                                                   WORCESTER       MA    01610‐2537
JOSE A MALDONADO                                  139 PACIFIC CT                                                                                      VALLEJO         CA    94589‐2174
JOSE A MARCANO                                    313 CLIFTON AVENUE                                                                                  NEWARK          NJ    07104‐1203
JOSE A MARTINEZ                                   5021 N KOLMAR AVE                                                                                   CHICAGO         IL    60630
JOSE A MARTINEZ                                   17175 HARMAN                                                                                        MELVINDALE      MI    48122‐1008
JOSE A MARTINS                                    930 SPOFFORD AVE                                                                                    ELIZABETH       NJ    07202‐3120
JOSE A MEDRANO                                    85‐09 25TH AVENUE                                                                                   JACKSON HTS     NY    11370‐1661
JOSE A MIRELES                                    1840 COOLIDGE RD                                                                                    EAST LANSING    MI    48823‐1714
JOSE A MIRKIN                                     1720 TREYBORNE CIR                                                                                  COMMERCE TWP    MI    48390‐2838
JOSE A NAREZO                                     6230 KINNEVILLE RD                                                                                  EATON RAPIDS    MI    48827‐9693
JOSE A NEGRON                                     3407 ROCKY RIVER DR                                                                                 CLEVELAND       OH    44111‐2938
JOSE A OLIVO                                      620 BARSTON LANE                                                                                    ALPHARETTA      GA    30022‐7550
JOSE A PENA                                       2650 W KALAMO HWY                                                                                   CHARLOTTE       MI    48813‐9597
JOSE A PUENTE                                     10414 BRAEMAR ST                                                                                    CROSBY          TX    77532‐7009
JOSE A REQUENA                                    PO BOX 50252                                                                                        LOS ANGELES     CA    90050‐0201
JOSE A SANTIAGO                                   2455 BATSON AVE                                                                                     ROWLAND HTS     CA    91748‐4513
JOSE A SANTOS                                     1393 CARAVELLE STREET                                                                               NIAGARA FALLS   NY    14304‐2725
JOSE A SILVA                                      104 RICE AVE                                                                                        SLEEPY HOLLOW   NY    10591‐1947
JOSE A TAMAYO                                     413 FIRST AE                                                                                        ELIZABETH       NJ    07206‐1108
JOSE A VALADEZ                                    2831 CARTERS CREEK STATION ROAD                                                                     COLUMBIA        TN    38401‐7307
JOSE A VASQUEZ                                    470 ROBERT COURT                                                                                    AUBURN HILLS    MI    48326‐2959
JOSE A VELA                                       25050 MARIE ST                                                                                      PERRIS          CA    92570‐9661
JOSE A VELAZQUEZ                                  13406 PIERCE STREET                                                                                 PACOIMA         CA    91331‐3129
JOSE A VELEZ II                                   4300 MARSH ROAD                                                                                     KINGSLEY        MI    49649‐9614
JOSE A VIERA & ELBA L VIERA JT TEN                12443 SW 119 PLACE                                                                                  MIAMI           FL    33186‐5179
JOSE A YRABIEN                                    108 SAXON COURT                                                                                     COLUMBIA        TN    38401‐8896
JOSE A ZAPATA                                     16504 DOUBLEGROVE ST                                                                                VALINDA         CA    91744‐1407
JOSE ALONSO GARZA                                 3616 MAPLE                                                                                          MELVINDALE      MI    48122‐1176
JOSE ARCA                                         469 CLARK PL                                                                                        UNION           NJ    07083‐7415
JOSE B CRESPO TR MONIQUE RENEE HAMZE TR UA        79 NAVAHO AVE SUITE 11                                                                              MANKATO         MN    56001‐4831
10/10/90
JOSE B CRESPO TR UA 10/10/90 NICOLE MARIE HAMZE   79 NAVAHO AVE                                                                                       MANKATO         MN    56001‐4831
TRUST
JOSE B GONCALVES                                  239 CONGRESS                         ST                                                             MILFORD         MA    01757‐1405
JOSE B MORENO                                     24964 POWERS                                                                                        DEARBORN HTS    MI    48125‐1860
JOSE BARRERA JR                                   Q‐657 STATE ROUTE 65                                                                                NAPOLEON        OH    43545‐7718
JOSE BECERRIL                                     896 E CARNATION DR                                                                                  SANDY           UT    84094‐4534
JOSE BENITO MARTINEZ JR & ADRIANA MARTINEZ JT     23500 ADAMSBORO DRIVE                                                                               SANTA CLARITA   CA    91321‐3702
TEN
JOSE BERGARA                                      1360 ENCHANTE WAY                                                                                   OCEANSIDE       CA    92056‐5672
JOSE BRAZA                                        189 HIGHLAND ST                                                                                     MILFORD         MA    01757‐3901
JOSE C ACOSTA                                     622 HEWITT ST                                                                                       SAN FERNANDO    CA    91340‐4015
JOSE C ARELLANO                                   850 FELIPE PL                                                                                       HEMET           CA    92543‐7060
JOSE C BRAGA                                      12309 E 185TH ST                                                                                    ARTESIA         CA    90703‐8424
JOSE C CORTEZ                                     9865 COLEMAN RD                                                                                     HASLETT         MI    48840
JOSE C GACAYAN                                    691 SCIROCCO DR                                                                                     YUBA CITY       CA    95991‐7574
JOSE C GOMEZ                                      250 HOMER LN                                                                                        COOPERSVILLE    MI    49404‐1148
JOSE C GONZALEZ                                   110 S LEIVETT RD                                                                                    AMHERST         OH    44001‐1726
JOSE C INGOJO TR JOSE C INGOJO 1994 TRUST UA      140 TARAVAL ST                                                                                      SAN FRANCISCO   CA    94116‐1933
09/06/94
JOSE C JULIANI                                    RUA ADOLFO BASIOS 1124 AP 21         SANTO ANDRE          SAO PAULO BRASIL09   BRAZIL
JOSE C LIZAMA                                     4332 DETROIT AVENUE                                                                                 OAKLAND         CA    94619‐1604
JOSE C LORANCA                                    1816 N NARRAGANSETT AVE                                                                             CHICAGO         IL    60639‐3828
JOSE C MONTEIRO                                   79 TOWER ST                                                                                         HUDSON          MA    01749‐1739
                                          09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                Part 4 of 8 Pg 310 of 855
Name                                        Address1                             Address2                 Address3           Address4             City            State Zip

JOSE C OLGUIN                               3535 GREENS MILL RD                                                                                   SPRING HILL     TN    37174‐2126
JOSE C RODRIGUEZ                            23508 ROUND MOUNTAIN CIR                                                                              LEANDER         TX    78641‐8525
JOSE C VILLARRUEL                           1519 ALDEA DR                                                                                         MONTEBELLO      CA    90640‐3214
JOSE CARDOSO                                77 HOUGHTON STREET                                                                                    HUDSON          MA    01749‐2514
JOSE CARLOS EIRAS                           2536 GOLF VIEW DR                                                                                     WESTON          FL    33327
JOSE CASTILLO                               2444 POLK ST UNIT 109                                                                                 HOLLYWOOD       FL    33020
JOSE CASTILLON                              10601 TAMARACK AVE                                                                                    PACOIMA         CA    91331‐3046
JOSE CONTRERAS                              3922 RED ARROW                                                                                        FLINT           MI    48507‐5437
JOSE CORONA                                 60‐18 WETHEROLE STREET APT 2                                                                          ELMHURST        NY    11373‐5528
JOSE D ALMARAZ                              2827 WEST 21ST STREET                                                                                 CHICAGO         IL    60623‐3505
JOSE D CALDERON                             9976 VENA                                                                                             ARLETA          CA    91331‐4547
JOSE D CALVILLO                             921 W REDBUD DR                                                                                       HURST           TX    76053‐6333
JOSE D DIAZ                                 8245 S W 42ND ST                                                                                      MIAMI           FL    33155‐4209
JOSE D GUEVARA                              346 BERRY AV                                                                                          HAYWARD         CA    94544‐2325
JOSE D GUZMAN                               16 SEAGULL DR                                                                                         LTL EGG HBR     NJ    08087‐1636
JOSE D LOPEZ                                3307 TALL GRASS DR                                                                                    NAPERVILLE      IL    60564‐8256
JOSE D VEGA                                 269 SILZER ST                                                                                         PERTH AMBOY     NJ    08861‐3810
JOSE DIAZ JR                                1443 EDSEL DRIVE                                                                                      MILPITAS        CA    95035‐5916
JOSE E ARANDA                               8438 S KOLIN ST                                                                                       CHICAGO         IL    60652‐3132
JOSE E CAMPOS                               PO BOX 683                                                                                            MILFORD         MI    48381‐0683
JOSE E FEBRES                               PO BOX 785                                                                                            SLEEPY HOLLOW   NY    10591‐0785
JOSE E FERNANDEZ                            5658 MARBURY                                                                                          FT WORTH        TX    76133‐2966
JOSE E FREITAS                              2015 SPENCERPORT RD                                                                                   ROCHESTER       NY    14606‐3221
JOSE E MANCHA                               101 EAST BRADY STREET                                                                                 PHARR           TX    78577‐1830
JOSE E MARTINEZ JR                          516 ISBELL STREET                                                                                     LANSING         MI    48910‐1718
JOSE E OJITO                                8 REDWAY RD                                                                                           OSSINING        NY    10562‐2118
JOSE E PINHEIRO                             RUA RUI BARBOSA #255 APT 51          VILA GILDA SANTO ANDRE   SAO PAULO BRAZIL   BRAZIL
JOSE E SOUSA                                794 NORTH BROADWAY                                                                                    YONKERS         NY    10701‐1207
JOSE E TORRES                               158 DAYTON ST                        APT 2‐L                                                          NEWARK          NJ    07114‐1184
JOSE E VERANO                               7935 YEAGER ST                                                                                        CHINO           CA    91710‐7612
JOSE EMILIO SALINAS                         704 LUCILLE STREET                                                                                    HEBBRONVILLE    TX    78361‐3035
JOSE ENCISO & SALLY ENCISO JT TEN           4042 S PORTSMOUTH RD                                                                                  BRIDGEPORT      MI    48722‐9583
JOSE F CABRERA                              48 PRESIDENT ST                                                                                       EAST NEWARK     NJ    07029‐2804
JOSE F CORTEZ                               3152 MARVIN DR                                                                                        ADRIAN          MI    49221‐9289
JOSE F HENARES                              1006 FERDINAND ST                                                                                     CORAL GABLES    FL    33134‐2135
JOSE F HENARES & ZAIDA M HENARES JT TEN     1006 FERDINAND ST                                                                                     CORAL GABLES    FL    33134‐2135
JOSE F LOPEZ VELA                           SENORA SERGIA NO 11                  TORRELODONES             MADRID             SPAIN
JOSE F MENENDEZ                             4724 MICHAEL CT UNIT 122                                                                              TAMPA           FL    33614‐7240
JOSE F ROSADO                               6811 SW 159 PL                                                                                        MIAMI           FL    33193‐3631
JOSE F SAGREDO                              1028 UNION ST                                                                                         PORT HURON      MI    48060‐5834
JOSE FERNANDO ALVAREZ                       204 S ARTHUR DR                                                                                       SINKING SPG     PA    19608
JOSE FERREIRA                               39 LEWIS ST                                                                                           YONKERS         NY    10703‐1610
JOSE FIGUEROA                               PO BOX 1418                          COAMO PR                                    769 PUERTO RICO
JOSE FRANCISCO HERRERA                      13319 E WALBURG ST                                                                                    WHITTIER        CA    90605‐2855
JOSE FRANCISCO LOPEZ VELA                   PESEO                                CASTELLANA 91            28046 MADRIDE      SPAIN
JOSE G CERVANTES                            14213 SUNBURST ST                                                                                     PANORAMA CITY   CA    91402‐1907
JOSE G ENRIQUEZ                             4344 WINDEMERE DR                                                                                     SAGINAW         MI    48603‐1267
JOSE G LOPEZ                                5241 NW 174TH DRIVE                                                                                   OPA LOCKA       FL    33055‐3531
JOSE G MOYA                                 304 WILDWOOD AVENUE                                                                                   BATTLE CREEK    MI    49014‐6054
JOSE G MUNOZ                                318 GRISWOLD ST                                                                                       SAN FERNANDO    CA    91340‐3012
JOSE G PARRA‐RIVERA                         2901 EVENING STAR CT                                                                                  NORMAN          OK    73071‐4141
JOSE G PEREZ                                13077 RELIANCE ST                                                                                     ARLETA          CA    91331‐4801
JOSE G SALINAS                              32 W CHICAGO                                                                                          PONTIAC         MI    48340‐1129
JOSE G TIJERINA                             198 N LINCOLN ST                                                                                      ARCHBOLD        OH    43502‐1239
JOSE G URBINA                               207 EAST ST                                                                                           DEFIANCE        OH    43512‐2208
JOSE G VALDES                               475 SIGSBEE RD                                                                                        ORANGE PARK     FL    32073‐3410
JOSE G VELA                                 1222 WELLINGTON                                                                                       BAY CITY        MI    48706‐4167
JOSE GARCIA                                 35971 MERIWETHER WAY                                                                                  MURRIETA        CA    92562‐6725
JOSE GARCIA                                 11652 CLAIR PL                                                                                        CLERMONT        FL    34711‐7334
                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                   Part 4 of 8 Pg 311 of 855
Name                          Address1                              Address2             Address3             Address4             City            State Zip

JOSE GOMEZ SR                 505 FREMONT                                                                                          BAY CITY        MI    48708‐7721
JOSE GONZALEZ                 24 SUMMER S T                                                                                        MERIDEN         CT    06451
JOSE GONZALEZ                 351 HENRY ST                                                                                         ORANGE          NJ    07050
JOSE GRASSO                   18 COLONIAL CLUB DR                   APT 104                                                        BOYNTON BEACH   FL    33435‐8424
JOSE GUTIERREZ                11121 W 76TH TER                      APT 7                                                          OVERLAND PARK   KS    66214‐2929
JOSE H FLORES                 115 SUMAC DR                                                                                         PRUDENVILLE     MI    48651‐9505
JOSE H MOLINA                 3470 GRAND LEDGE HWY                                                                                 MULLIKEN        MI    48861‐8707
JOSE H SIERRA                 #200                                  4190 RED BIRD LN                                               FLINT           MI    48506‐1756
JOSE I BARRERA                6691 N WEST BAY SHORE DR                                                                             NORTHPORT       MI    49670‐9425
JOSE I MENDEZ                 3 LAFAYETTE BLVD                      WHITBY ON                                 L1P 1T1 CANADA
JOSE I PENALVA ABRISQUETA     GM ESPANA SA                          APARTADO 375         50080 ZARAGOZA SP    SPAIN
JOSE I POPOCA                 2845 S KEELER AVE                                                                                    CHICAGO         IL    60623‐4331
JOSE I QUINTANA               C/O EDWARD QUINTANA & ANTONIO A       REYES                1224 BROWN STREET                         SAGINAW         MI    48601‐2663
JOSE I SOLANO                 19418 SANDY SPRINGS CIRCLE                                                                           LUTZ            FL    33558‐9735
JOSE I TREVINO                626 COLUMBUS AVE                                                                                     DEFIANCE        OH    43512‐3162
JOSE IBARRA                   506 EVANS ST                                                                                         UVALDE          TX    78801‐5848
JOSE IGNAC SABAU              FERNANDEZ DE LOS RIOS 86 2 1          MADRID                                    SPAIN
JOSE J ESTEBAN                11 SERGENT COURT                                                                                     BERGENFIELD     NJ    07621‐1227
JOSE J NAVAL‐SOLANAS          EDIFICIO CRISTAL                      SECTOR BARICENTRO    BARBERA DEL VALLES   8210 SPAIN
JOSE J PELAYO                 1629 MELODY LN                                                                                       SAN JOSE        CA    95133‐1629
JOSE J RAMIREZ                4435 CORINTH AVE                                                                                     CULVER CITY     CA    90230‐5169
JOSE J ROMERO                 4959 WILDWOOD ROAD                                                                                   ALGER           MI    48610‐9534
JOSE J SANTOS                 63 JAMES DR                                                                                          NANUET          NY    10954‐1944
JOSE J VEGA                   6976 MURRAY HILL                                                                                     BELFAST         NY    14711
JOSE JAMES                    4040 NW 46 TERR                                                                                      LAND LKS        FL    33319‐4769
JOSE JANEIRA                  1321 MOOSEHEAD ST                                                                                    FORKED RIVER    NJ    08731‐4112
JOSE KAN                      68 GARDEN ROAD                                                                                       ALAMEDA         CA    94502‐6720
JOSE L ARANDA                 1230 BRIGHTON DR                                                                                     HULLISTER       CA    95023‐8020
JOSE L CAVAZOS                24 YUKON CT                                                                                          BOLINGBROOK     IL    60490‐4577
JOSE L CONTRERAS              82 OAK VALLEY DR                                                                                     SPRING HILL     TN    37174‐2596
JOSE L FLORES                 9394 WOODSIDES TRAIL                                                                                 SWARTZ CREEK    MI    48473‐8534
JOSE L FLORES JR              5621 LOCKPORT RD                                                                                     NIAGARA FALLS   NY    14305‐3529
JOSE L GAMBARELLI             9900 SOUTH YOUNGS LANE                                                                               OKLAHOMA CITY   OK    73159‐7433
JOSE L GARCIA                 2822 S KEELEY                                                                                        CHICAGO         IL    60608‐5622
JOSE L GOMEZ                  PO BOX 130                                                                                           HOLT            MI    48842‐0130
JOSE L MARTINS                AV GOIAS 2769                         SAO CAETANO DO SUP   SAO PAULO CEP BR     BRAZIL
JOSE L MONTANO                738 BEACON AVE                                                                                       LOS ANGELES      CA   90017‐2112
JOSE L ORTIZ                  9057 N MARTINDALE                                                                                    DETROIT          MI   48204‐2393
JOSE L POSADA                 41247 N PARK ST                                                                                      PAW PAW          MI   49079‐8740
JOSE L RODRIGUEZ              10710 GLORIA GREER LANE                                                                              HOLLY            MI   48442‐8606
JOSE L RODRIGUEZ              2323 HAZELWOOD                                                                                       SAGINAW          MI   48601‐3628
JOSE L SALAZAR                6857 W MAPLE GROVE RD                                                                                HUNTINGTON       IN   46750‐8926
JOSE L SANCHEZ                4348 S HERMITAGE                                                                                     CHICAGO          IL   60609‐3122
JOSE L TORRES                 520 FALCONRIDGE WAY                                                                                  BOLINGBROOK      IL   60440‐2245
JOSE L VAZQUEZ                300 1/2 OLIVER STREET                                                                                NEWARK           NJ   07105‐2517
JOSE L VILLANUEVA             2734 SOUTH HAMLIN                                                                                    CHICAGO          IL   60623‐4515
JOSE LARANJEIRA               66 YALE AVE                                                                                          OSSINING         NY   10562‐3422
JOSE LIRA                     1744 S MICHIGAN RD                                                                                   EATON RAPIDS     MI   48827‐9264
JOSE LOPEZ                    755 PORTER AVE                                                                                       CAMPBELL         OH   44405
JOSE LORENZO                  5 WOOD ACRE DRIVE                                                                                    EDISON           NJ   08820‐2303
JOSE LUIS                     198 ASH STREET                                                                                       HOPKINTON        MA   01748‐2616
JOSE LUIS AROCHO              30223 FOX RUN                                                                                        BIRMINGHAM       MI   48025‐4724
JOSE LUIS C BARAJAS           33905 NINE MILE                                                                                      FARMINGTON HILLS MI   48335‐4713

JOSE LUIS CORRALES            4625 SW 128TH AVE                                                                                    MIAMI           FL    33175‐4643
JOSE M ALEMANY JR             118 GALLATIN AVE                                                                                     BUFFALO         NY    14207‐2126
JOSE M ALONSO                 7544 W 61ST PL                                                                                       ARGO            IL    60501‐1618
JOSE M AMAYA                  1433 FONTAINBLEU AVE                                                                                 MILPITAS        CA    95035‐3101
JOSE M BARROS                 29 JODY LANE                                                                                         YONKERS         NY    10701‐1908
                                           09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                                                  Part 4 of 8 Pg 312 of 855
Name                                         Address1                              Address2             Address3                        Address4                 City             State Zip

JOSE M BLANCO                                7860 SW 134 TER                                                                                                     PINECREST        FL    33156‐6759
JOSE M CANTU                                 PO BOX 76                                                                                                           FALCON HEIGHTS   TX    78545‐0076
JOSE M CARDOSO                               13823 LOUVRE                                                                                                        PACOIMA          CA    91331‐3538
JOSE M CASTILLO                              21699 HAVILAND AVE                                                                                                  HAYWARD          CA    94541‐2448
JOSE M CRUZ & CELESTE C CRUZ JT TEN          5161 DIXON RD                                                                                                       VASSAR           MI    48768‐9717
JOSE M DUENAS & MARGARET DUENAS & YOLANDA    2145 BRIDGEPORT LOOP                                                                                                DISCOVERY BAY    CA    94505
BOBADILLA JT TEN
JOSE M FERRER 3RD                            173 RIVERSIDE DR                      APT 14C                                                                       NEW YORK         NY    10024‐1615
JOSE M GOMEZ                                 1801 GUATEMEZIN                                                                                                     LAREDO           TX    78043‐3914
JOSE M GONZALEZ                              13613 LANCELOT AVE                                                                                                  NORWALK          CA    90650‐4442
JOSE M GONZALEZ                              1012 STINSFORD RD                                                                                                   NEWARK           DE    19713‐3357
JOSE M LOPES                                 181 WALL ST                                                                                                         METUCHEN         NJ    08840‐2859
JOSE M MEZA                                  C/O SERGIO FRANCO                     11137 RISNER LN                                                               EATON RAPIDS     MI    48827‐8247
JOSE M NARCISO                               31 CLIFFORD ST                                                                                                      TAUNTON          MA    02780‐2931
JOSE M PENICHE                               16505 MAIN ST EAST                                                                                                  LA PUENTE        CA    91744‐4824
JOSE M QUIROZ                                36584 LEONE ST                                                                                                      NEWARK           CA    94560‐3023
JOSE M RUIZ FERNANDEZ DE                     ILLUECA #4 50D                        ZARAGOZA                                             SPAIN
JOSE M TREVINO                               LOT 57 SORRELL ROLLING MEADOWS                                                                                      O'FALLON         MO    63366
JOSE M VARGAS                                1508 PINETAIL STREET                                                                                                LAREDO           TX    78045‐8247
JOSE M VAZQUEZ                               PO BOX 1648                                                                                                         BOWLING GREEN    KY    42102‐1648
JOSE M VELA                                  1312 4TH AVE                                                                                                        LAKE ODESSA      MI    48849‐1304
JOSE M VILLARINO                             31 SHADY LN                                                                                                         BOUND BROOK      NJ    08805‐1305
JOSE M VILLARREAL                            7734 BONITO PARK DR                                                                                                 SAN ANTONIO      TX    78249‐4432
JOSE M VILLEGAS                              3913 YELLOW FINCH LN                                                                                                LUTZ             FL    33549‐2706
JOSE M ZAMORA                                7100 SIR GAWAIN DR                                                                                                  AUSTIN           TX    78745‐5537
JOSE MARIA PROUS                             GMAC HOUSE                            CASTLE STREET        HIGH WYCOMBE BUCKS              HP13 6RN GREAT BRITAIN
JOSE MAYA SEVILLA GDN SOPHIE MAYA GUINDI     BLVD CLUB DE GOLF LOMAS               MUMERO 18 CASA 5     HUIXQUILUCAN ESTADO DE MEXICO   52787 MEXICO

JOSE MC GILL                                 3921 KIMBELL DR                                                                                                     KELLER          TX     76248‐7664
JOSE MEJIA                                   2216 COMMERCIAL NE                                                                                                  ALBUQUERQUE     NM     87102‐1116
JOSE MONSIVAIS                               6624 PASEO REDONDO                                                                                                  EL PASO         TX     79912
JOSE MONTANEZ CUST RENE MONTANEZ UTMA WI     W178 N8825 QUEENSWAY                                                                                                MENOMONEE FALLS WI     53051‐1979

JOSE MORALES                                 1158 INDIANA ST                                                                                                     HAMMOND          IN    46320‐1321
JOSE MUNOZ                                   16344 WINDING CREEK RD                                                                                              PLAINFIELD       IL    60544‐9607
JOSE N CARRANZA JR                           1007 KETTERING                                                                                                      PONTIAC          MI    48340‐3260
JOSE NARCIO                                  400 SPRINGVIEW DRIVE                                                                                                FRANKLIN         TN    37064‐5281
JOSE O CONCEICAO                             616 MARSHALL ST                                                                                                     ELIZABETH        NJ    07206‐1215
JOSE O COTARELO                              25 CHESTNUT ST                                                                                                      N TARRYTOWN      NY    10591‐2619
JOSE O CUELLAR                               1123 AUGUSTA ST E                                                                                                   LEHIGH ACRES     FL    33974‐4719
JOSE O POLANCO & MIRIAM L POLANCO JT TEN     12 TRINITY PL                                                                                                       SPRING VALLEY    NY    10977‐2336
JOSE OVIEDO                                  5213 SUNROSE AVE                                                                                                    LANSING          MI    48911‐3750
JOSE P JOSON & OFELIA L JOSON JT TEN         817 S VERONA ST                                                                                                     ANAHEIM          CA    92804‐4034
JOSE P MENDOZA                               6108 FIRST ST                         PO BOX 306                                                                    ELMIRA           CA    95625
JOSE P RODRIGUEZ                             5312 W 35TH STREET #10                                                                                              CICERO           IL    60804‐4407
JOSE PEIXOTO                                 453 PARK AVENUE                                                                                                     YONKERS          NY    10703‐2121
JOSE PEREIRA                                 40 DELL ST                                                                                                          N TARRYTOWN      NY    10591‐1906
JOSE PEREZ                                   25202 BAYWICK DR                                                                                                    SPRING           TX    77389‐3324
JOSE R FAVARIN                               GENERAL MOTORS (BRAZIL)               PO BOX 9022                                                                   WARREN           MI    48089
JOSE R FUNES                                 4820 MONITOR ST                                                                                                     CRP CHRISTI      TX    78415‐2625
JOSE R GARZA                                 PO BOX 19534                                                                                                        SHREVEPORT       LA    71149
JOSE R GOMEZ                                 7933 CORAL POINT AVE                                                                                                LAS VEGAS        NV    89128‐6756
JOSE R GONZALEZ                              201 S 12TH                                                                                                          SAGINAW          MI    48601
JOSE R GONZALEZ & MARIA GONZALEZ JT TEN      8407 NW 4TH PL                                                                                                      GAINESVILLE      FL    32607
JOSE R IMBERS                                90 ASHRIDGE DRIVE                     SCARBOROUGH ON                                       M1V 1P2 CANADA
JOSE R MARTINEZ                              8918 BRAE VISTA                                                                                                     SAN ANTONIO      TX    78249‐4151
JOSE R MATA                                  11125 CHEYENNE TRAIL                  APT 101                                                                       CLEVELAND        OH    44130‐9030
JOSE R MIER                                  PO BOX 1296                                                                                                         EDISON           NJ    08818‐1296
JOSE R PENA                                  8619 S 78TH COURT                                                                                                   JUSTICE          IL    60458‐2337
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                     Part 4 of 8 Pg 313 of 855
Name                                              Address1                            Address2                  Address3            Address4            City              State Zip

JOSE R PEREZ JR                                   7000 SW 109TH COURT                                                                                   MIAMI             FL    33173‐2119
JOSE R REYES PASALACQUA                           CHALETS DEL BULEVAR #18             PONCE                                         PUERTO RICO
JOSE R REYES PASSALACQUA & LINDA H REYES JT TEN   CHALETS DEL BULGVAR #18             PONCE                                         PUERTO RICO

JOSE R RIVERA                                     396 SPRING ST                                                                                         STRUTHERS         OH    44471‐1218
JOSE R RUIZ                                       1212 VERMONT                                                                                          LANSING           MI    48906‐4955
JOSE R VELA                                       3621 POLK                                                                                             DEARBORNRK        MI    48124‐3870
JOSE R VILLARREAL                                 3201 N 22ND ST                                                                                        MCALLEN           TX    78501‐6016
JOSE RAMA                                         20‐17 49TH ST                                                                                         ASTORIA           NY    11105
JOSE RAMIREZ                                      836 DORCHESTER SW                                                                                     GRAND RAPIDS      MI    49503‐4804
JOSE REYNA                                        13427 MARY LEE CT                                                                                     PLAINFIELD        IL    60544‐6735
JOSE RIVERA                                       8333 WHITESBURG WAY #1602                                                                             HUNTSVILLE        AL    35802
JOSE ROBERTO PEREZ                                10008 LEMONA AVE                                                                                      MISSION HILLS     CA    91345‐3004
JOSE ROCHA                                        4946 S LA CROSSE                                                                                      CHICAGO           IL    60638‐2121
JOSE RODRIGUES                                    177 DORSET DR                                                                                         CLARK             NJ    07066‐3026
JOSE ROEL GONZALES                                12 CONQUISTADOR RD                                                                                    RIO GRANDE CITY   TX    78582‐5660
JOSE ROMERO                                       3631 FALLON CIRCLE                                                                                    SAN DIEGO         CA    92130‐1871
JOSE ROMERO                                       3068 CUDAHY ST                                                                                        HUNTINGTON PARK   CA    90255‐6831

JOSE S GARCIA                                   2110 CHURCHILL DOWNS DR                                                                                 ARLINGTON         TX    76017‐4532
JOSE S GONZALEZ                                 121 MILLER                                                                                              MT CLEMENS        MI    48043‐2231
JOSE S HERNANDEZ                                6737 N WAYNE RD                       APT 141                                                           WESTLAND          MI    48185‐2761
JOSE S LOPES                                    15 VALLEY FORGE DR                                                                                      SWEDESBORO        NJ    08085‐4233
JOSE S MARTINEZ                                 2400 LEXINGTON DRIVE                                                                                    ARLINGTON         TX    76014‐1325
JOSE S TORRES                                   1729 RUSHING WA                                                                                         WYLIE             TX    75098‐8141
JOSE SAMPEDRO                                   1123 CHESACO AVE                                                                                        BALTO             MD    21237‐2704
JOSE SANCHEZ                                    632 SO 14TH ST                                                                                          SAGINAW           MI    48601‐1921
JOSE SANCHEZ DE LEON LO                         C/JARAMA 12                           MAJADAHONDA               MADRID              SPAIN
JOSE SANCHEZ DE LEON LOPE                       PASEO DE LA CASTELLANA                # 91 SECOND FL            28046 MADRIDE       SPAIN
JOSE SANDOR                                     PO BOX 266                                                                                              ROMEO             MI    48065‐0266
JOSE SANTIAGO                                   15 MELVILLE RD                                                                                          EDISON            NJ    08817‐4633
JOSE SERMENO                                    1102 WILSON PL                                                                                          FREDERICK         MD    21702
JOSE SIMOES                                     14 FOREST VIEW COURT                                                                                    VALLEY COTTGE     NY    10989‐1434
JOSE T ALVAREZ                                  8457 S UPHAM WAY                                                                                        LITTLETON         CO    80128‐6350
JOSE T MCGILL                                   5918 LIBERTY GLADE COURT                                                                                FORT WAYNE        IN    46804‐4217
JOSE TORRES                                     56 SHOREHAVEN TRAILER PARK                                                                              HAZLET            NJ    07730‐2422
JOSE TORRES                                     7 W FARMS SQ PLAZA                                                                                      BRONX             NY    10460‐2960
JOSE TRACHTENBERG                               LOS PESAMIENTOS                       NO 2150 1ER PISO DPTO 1   PROVIDENCIA         SANTIAGO CHILE
JOSE TREVINO                                    4583 WINTERGREEN DRIVE SOUTH                                                                            SAGINAW           MI    48603‐1947
JOSE V LOPEZ                                    3833 ORANGE ST                                                                                          SAGINAW           MI    48601‐5553
JOSE V OLMEDA & JOYCE M OLMEDA TR OLMEDA LIV TR 3492 MEADOHILL CIRCLE                                                                                   HOLLY             MI    48442
UA 7/6/99
JOSE VALDEZ JR                                  2204 SWEETBRIAR                                                                                         CREST HILLS       IL    60435‐1750
JOSE VALLEJO                                    13542 BLODGETT AVE                                                                                      DOWNEY            CA    90242‐5205
JOSE VARGAS                                     159 8TH STREET                                                                                          PISCATA WAY       NJ    08854‐1963
JOSE VEIZAGA‐MENDEZ TR JOSE E VEIZAGA‐MENDEZ MD 131 S HIGH ST PO BOX 103                                                                                FOXBORO           MA    02035‐0103
PA MP
JOSE W CHAVEZ                                   8104 OAKDALE AVE                                                                                        CANOGA PARK       CA    91306‐1935
JOSE YGLISIAS & MAGENTA C YGLISIAS JT TEN       PO BOX 596                            27162 OXFORD ROAD                                                 OXFORD            MD    21654‐1623
JOSE ZAVALA JR                                  606 38TH                                                                                                BAY CITY          MI    48708‐8414
JOSE‐MARIA PARELLADA BALCELLS                   AVDA REYES CATOLICOS NO 20            20‐A                      ALCALA DE HENARES   MADRID SPAIN
JOSEF A WOESTE                                  517 COTTONWOOD CIRCLE                                                                                   BOLINGBROOK       IL    60440‐2641
JOSEF DEMBO & GOLDIE DEMBO JT TEN               2245 SUSSEX LANE                                                                                        NORTHBROOK        IL    60062
JOSEF EDLINGER                                  ADAM OPEL AG                          IPC 84‐99 D‐65423         RUSSELSHEIM         GERMANY
JOSEF GANTNER                                   16116 SECRETARIAT AVE                                                                                   ROSEVILLE         MI    48066‐2339
JOSEF GUTEK                                     12031 FLEMMING                                                                                          HAMTRAMCK         MI    48212‐2612
JOSEF GUTTMANN & HERMINE GUTTMANN JT TEN        12428 N BAYSHORE DR                                                                                     NORTH MIAMI       FL    33181‐2431
JOSEF JOFFE                                     1916 SAN LU RAE S E                                                                                     GRAND RAPIDS      MI    49506‐3458
JOSEF MACKIEWICZ                                30651 AUSTIN DRIVE                                                                                      WARREN            MI    48092‐1891
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 314 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

JOSEF RADISEK                                      24690 HAWTHORNE DRIVE                                                                           EUCLID             OH    44117‐1909
JOSEF ROZSENICH                                    493 HARBOR VIEW LN                                                                              PETOSKEY           MI    49770‐8615
JOSEF SEMREN                                       8307 BRITTANY HILL CT                                                                           GRAND BLANC        MI    48439‐1938
JOSEF SMETANKA & DOREEN SMETANKA JT TEN            3410 42ND AVE S                                                                                 MINNEAPOLIS        MN    55406‐2811
JOSEFA B RIGAIL                                    16884 RENWICK ST                                                                                LIVONIA            MI    48154‐1609
JOSEFA GARCIA                                      1416 NIGHTINGALE                                                                                MC ALLEN           TX    78504‐3334
JOSEFA HERNANDEZ                                   27 WEBEER CR                                                                                    ROCHESTER          NY    14626‐4014
JOSEFA N LIPNICKI                                  616 LIGHTHOUSE LANDING LN                                                                       ANNAPOLIS          MD    21409‐6598
JOSEFA SKJERDAL TR UA 07/20/90 JOSEFA SKJERDAL     8003 5TH AVE                                                                                    BROOKLYN           NY    11209‐4003

JOSEFINA ANG                                       448 E 20TH ST #4B                                                                               NEW YORK           NY    10022
JOSEFINA ASSA                                      CHAMPLAIN TOWER NORTH                  8877 COLLINS AVE     APT 1210                            SURFSIDE           FL    33154‐3521
JOSEFINA G HERNANDEZ                               C/O IMELDA SCHAEFER                    103 FORESIDE RD                                          CUMBERLAND         ME    04110‐1419
JOSEFINA GUTIERREZ                                 1718 AGNES AVE                                                                                  DORR               MI    49323‐9056
JOSEFINA MARTINEZ                                  3536 JERREE STREET                                                                              LANSING            MI    48911‐2632
JOSEFINA MURRAY                                    608 WINDSOR LN                                                                                  COFFEYVILLE        KS    67337‐2726
JOSEFINA R MANGIBIN                                63 LA BONNE VIE DR                     APT A                                                    E PATCHOGUE        NY    11772
JOSEFINA R SANCHEZ                                 638 INWOOD DRIVE                                                                                SANTA BARBARA      CA    93111‐2829
JOSENA TIFT                                        10328 TURKEY OAK DRIVE                                                                          NEW PORT RICHEY    FL    34654‐5840

JOSEPH A & SHELLEY J BEEK TR BEEK FAMILY 1998 TRUST 128 DELACOSTA AVE                                                                              SANTA CRUZ         CA    95060
UA 09/25/98
JOSEPH A ALEXANDER                                  61 N FRANCIS AVE                                                                               PONTIAC            MI    48342‐2724
JOSEPH A ALLEN JR                                   2264 MAYFIELD ROAD                                                                             SAGINAW            MI    48602‐3522
JOSEPH A ALVARADO                                   5287 PINTAIL LN                                                                                NORTHWOOD          OH    43619
JOSEPH A AMATO JR & ROSE M AMATO JT TEN             6568 WESTMINSTER DRIVE                                                                         PARMA              OH    44129‐5321
JOSEPH A ANTHAN                                     11270 HEATH ROAD                                                                               CHESTERLAND        OH    44026‐1636
JOSEPH A ARABIA                                     201 EAGLE                                                                                      NORTH ADAMS        MA    01247‐2621
JOSEPH A ARD                                        315 ARLENE CT                                                                                  NEW RICHMOND       WI    54017‐2527
JOSEPH A ARENA JR & CHARLOTTE B ARENA JT TEN        8 DANCERS IMAGE LANE                                                                           NORTH HAMPTON      NH    03862‐2246

JOSEPH A ARONE & NATALIE M ARONE JT TEN            10 HARKIM ROAD                                                                                  GREENWICH          CT    06831‐3624
JOSEPH A AUKUDAVICH & ROSE AUKUDAVICH JT TEN       12286 PAGELS DR                                                                                 GRAND BLANC        MI    48439‐2425

JOSEPH A BAKER                                     2754 BRIER ST SE                                                                                WARREN             OH    44484‐5207
JOSEPH A BALCH II CUST KARA ELIZABETH BALCH UGMA   425 BREAKWATER RIDGE                                                                            ATLANTA            GA    30328‐1807
CT
JOSEPH A BARBER JR                                 114 SOUTH CATALINA ST                                                                           GILBERT            AZ    85233‐5904
JOSEPH A BATTAGLIA & MARY R BATTAGLIA JT TEN       PO BOX 92                                                                                       KOPPEL             PA    16136‐0092
JOSEPH A BAY & RUTH M BAY JT TEN                   13 FOLLINS BAY ROAD S                                                                           SOUTH DENNIS       MA    02660‐3115
JOSEPH A BEAR                                      4026 NAVAJO AVE                                                                                 DAYTON             OH    45424‐2827
JOSEPH A BEAULNE                                   34154 PRESTON                                                                                   STERLING HEIGHTS   MI    48312‐5653

JOSEPH A BEAUVAIS & MARILYN T BEAUVAIS JT TEN      17518 HERRICK AVE                                                                               ALLEN PARK         MI    48101‐3425

JOSEPH A BENO                                      1597 ALAMEDA                                                                                    LAKEWOOD           OH    44107‐4942
JOSEPH A BERTUCCI                                  27550 OLD COLONY ST                                                                             FARMINGTN HLS      MI    48334‐3235
JOSEPH A BISHOP                                    PO BOX 135                                                                                      MENDON             MA    01756‐0135
JOSEPH A BOJUES                                    1000 VANCOUVER AVE                                                                              BURLINGAME         CA    94010‐5607
JOSEPH A BONNER                                    16210 NINEMILE RD                                                                               SOUTHFIELD         MI    48075
JOSEPH A BOWEN III                                 2730 BROXTON MILL CT                                                                            SNELLVILLE         GA    30039‐4437
JOSEPH A BRITT                                     20 TIMBERIDGE DRIVE                                                                             NORTH QUGUSTA      SC    29860‐9724
JOSEPH A BRUGGER & MRS JOSEPHINE B BRUGGER JT      732 E GOEPP ST                         APT 212                                                  BETHLEHEM          PA    18018‐4448
TEN
JOSEPH A BURGHART & MRS GLORIA LEE BURGHART        146 BROOKSIDE RD                                                                                NEWTOWN SQUARE PA        19073‐3807
TEN ENT
JOSEPH A BURNS JR                                  PO BOX 4656                                                                                     SAN LUIS OBISPO    CA    93403‐4656
JOSEPH A BURTSCHER                                 8102 SKYLINE DR                                                                                 BRECKSVILLE        OH    44147‐1524
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 315 of 855
Name                                                Address1                             Address2             Address3          Address4          City              State Zip

JOSEPH A BYRNE & RITA K BYRNE TR BYRNE TRUST UA     4 LODGE RD                                                                                    NATICK            MA    01760‐3319
11/21/91
JOSEPH A CAMPO & ELIZABETH CAMPO JT TEN             1253 COOK ST                                                                                  DENVER            CO    80206
JOSEPH A CAMPODONICO                                PO BOX 1475                                                                                   EUGENE            OR    97440‐1475
JOSEPH A CANADA                                     7 SCHOOL DRIVE                                                                                IRWIN             PA    15642‐4517
JOSEPH A CAPPELLETTI JR & SUSAN R CAPPELLETTI TEN   PO BOX 187                                                                                    WEST FRIENDSHIP   MD    21794‐0187
ENT
JOSEPH A CAPPELLETTI SR & ROSARIA M CAPPELLETTI     11875 FREDERICK RD                                                                            ELLICOTT CITY     MD    21042‐1033
TEN ENT
JOSEPH A CARAVEO                                    11034 LULL ST                                                                                 SUN VALLEY        CA    91352‐4716
JOSEPH A CARBONARO                                  4109 PINOT DR                                                                                 NAPA              CA    94558‐2523
JOSEPH A CARREGAL & AUREA B CARREGAL JT TEN         1628 LOIS LANE                                                                                BETHLEHEM         PA    18018‐1743
JOSEPH A CASTELLANO                                 708 RARITAN RD                                                                                CLARK             NJ    07066‐2207
JOSEPH A CASTELLI                                   617 SUNTIDE DR                                                                                SAINT LOUIS       MO    63125
JOSEPH A CAUSLEY                                    1291 E MIDLAND RD                                                                             BAY CITY          MI    48706‐9473
JOSEPH A CHAPLIN                                    1840 W 11TH ST                                                                                MARION            IN    46953‐1443
JOSEPH A CHERMANSKY                                 2259 PERKINS JONES CT NE                                                                      WARREN            OH    44483‐1860
JOSEPH A CHOMAS                                     13517 W 22ND PL                                                                               GOLDEN            CO    80401‐6800
JOSEPH A CHOVAN & ELEANOR V CHOVAN JT TEN           1206 SURREY POINTE SE                                                                         WARREN            OH    44484‐2851
JOSEPH A CIMINO                                     100 MOON DR                                                                                   LANGHORNE         PA    19047‐1741
JOSEPH A CIMINO & MRS RITA E CIMINO JT TEN          100 MOON DR                                                                                   LANGHORNE         PA    19047‐1741
JOSEPH A CLOVIS                                     PO BOX 698                                                                                    RIALTO            CA    92377‐0698
JOSEPH A COADY                                      9610 E NEWBURG                                                                                DURAND            MI    48429‐1755
JOSEPH A COLON                                      369 HENSLEY DR                                                                                SHEPHERDSVILLE    KY    40165‐9006
JOSEPH A COLOSIMO                                   324 EVERGREEN DRIVE                                                                           TONAWANDA         NY    14150‐6436
JOSEPH A CONTI                                      2591 MILLER GRABER RD                                                                         NEWTON FALLS      OH    44444‐9724
JOSEPH A CORREIA JR                                 46 WILLIAM STREET                                                                             DARTMOUTH         MA    02748‐3703
JOSEPH A COSTANZO                                   7067 BERESFORD AVE                                                                            PARMA HTS         OH    44130‐5051
JOSEPH A COSTANZO II                                13879 EDGEWATER DR                                                                            LAKEWOOD          OH    44107‐1413
JOSEPH A COVERT & MRS MYRTLE J COVERT JT TEN        3283 E DODGE RD                                                                               CLIO              MI    48420‐9702

JOSEPH A CREA                                       163 NEW HOPE CIR                                                                              FAYETTEVILLE      GA    30214‐3726
JOSEPH A CRITELLI                                   700 COLUMBUS CIR                                                                              PERTH AMBOY       NJ    08861‐2310
JOSEPH A CUOZZO & MARIE T CUOZZO JT TEN             PO BOX 129                                                                                    ORIENT POINT      NY    11957‐0129
JOSEPH A DAMS                                       7788 PETTYSVILLE RD                                                                           PINCKNEY          MI    48169‐9125
JOSEPH A DATTILO                                    1645 23RD ST                                                                                  MANHATTAN         CA    90266‐4046
                                                                                                                                                  BEACH
JOSEPH A DE ANGELIS                                 813 QUINTON AVENUE                                                                            TRENTON           NJ    08629‐2403
JOSEPH A DE MARCO                                   175 MURRAY AVE                                                                                YONKERS           NY    10704‐1169
JOSEPH A DEATHERAGE SR                              216 VILLA DR                                                                                  LAKE ST LOUIS     MO    63367‐1354
JOSEPH A DEROCHOWSKI                                902 E APPLETREE LN                                                                            ARLINGTON HTS     IL    60004‐2614
JOSEPH A DEROSA                                     4 SORRENTO DR                                                                                 WEBSTER           NY    14580
JOSEPH A DEROSA & JOYCE E DEROSA JT TEN             737 SUGAR CREEK TRAIL                                                                         WEST WEBSTER      NY    14580‐2444
JOSEPH A DEROSSI                                    6 BROOKWOOD LN                                                                                NEW CITY          NY    10956‐2204
JOSEPH A DESANTIS                                   1125 PACIFICA PL                                                                              ENCINITAS         CA    92024‐1343
JOSEPH A DETOMMASO                                  1190 LUNA LILO HOME ROAD                                                                      HONOLULU          HI    96825‐3203
JOSEPH A DI GIROLAMO                                149 HUNTINGTON CT                                                                             ROCKWALL          TX    75032‐6014
JOSEPH A DIETSCH & MARGARET A DIETSCH JT TEN        114 BEECHWOOD DR                                                                              HUNTINGDON VY     PA    19006‐1203

JOSEPH A DIETZ                                      34 JOSS WAY                                                                                   MILLINGTON        NJ    07946‐1228
JOSEPH A DIPIETRO                                   5815 GREENHURST DR                                                                            N LITTLE ROCK     AR    72116‐6310
JOSEPH A DIQUINZIO & DORIS D DIQUINZIO JT TEN       26506 ADONIS DR                                                                               SAN ANTONIO       TX    78260‐5556

JOSEPH A DITZHAZY                                   3684 BEE LN                                                                                   BELOIT            WI    53511‐1906
JOSEPH A DOMAGALA                                   228 GORTON ST                                                                                 BUFFALO           NY    14207‐2610
JOSEPH A DROUIN                                     19707 EDMUNTON                                                                                ST CLAIR SHOR     MI    48080‐1634
JOSEPH A DUBYAK & KRISTEN P DUBYAK JT TEN           4139 LANDER RD                                                                                ORANGE            OH    44022‐1332
JOSEPH A DUDEK                                      2875 EAST CURTIS                                                                              BIRCH RUN         MI    48415‐8912
JOSEPH A EIKENBERG JR                               4411 FIELD GREEN RD                                                                           BALTIMORE         MD    21236‐1816
                                                 09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 316 of 855
Name                                               Address1                             Address2             Address3          Address4          City            State Zip

JOSEPH A ESCHENBACHER                              5941 BRADBURY COURT                                                                           INVER GROOVE HTS MN   55076‐1597

JOSEPH A EZAR TR UA 05/15/92 JOSEPH A EZAR TRUST   32833 MERRITT DR                                                                              WESTLAND        MI    48185‐1558

JOSEPH A FAGGION II                                12247 ONONDAGA RD                                                                             ONONDAGA        MI    49264‐9605
JOSEPH A FERENCZ & DONNA M FERENCZ JT TEN          6817 COWELL RD                                                                                BRIGHTON        MI    48116‐5114
JOSEPH A FERRANTI & PATRICIA A FERRANTI JT TEN     405 GATEFORD DR                                                                               BALLWIN         MO    63021‐8344

JOSEPH A FIORE                                     105 HATFIELD ST                                                                               CALDWELL        NJ    07006‐5215
JOSEPH A FITZGERALD                                111 EVERGREEN AVENUE                                                                          OSCODA          MI    48750‐1705
JOSEPH A FOLIO                                     202 E MAIN ST                                                                                 CLARKSBURG      WV    26301‐2126
JOSEPH A FORD                                      2127 NORTH CHIPMAN RD                                                                         OWOSSO          MI    48867‐4816
JOSEPH A FRATES & PATRICIA M FRATES JT TEN         BOX 85                                                                                        MARCO ISLAND    FL    34146‐0085
JOSEPH A FREEMAN                                   4216 WALNUT AVE                                                                               LYNWOOD         CA    90262‐3823
JOSEPH A FRESCINO                                  42 BLACKMON RD                                                                                GRAND ISLAND    NY    14072‐2220
JOSEPH A FRIESS                                    43 WALLACE RD                                                                                 NORFOLK         NY    13667‐3275
JOSEPH A FULLER                                    2637 WHITMAN DR                                                                               WILMINGTON      DE    19808‐3736
JOSEPH A FURLAN                                    860 E 207 ST                                                                                  EUCLID          OH    44119‐2402
JOSEPH A FURLAN & DOLORES FURLAN JT TEN            860 E 207 ST                                                                                  EUCLID          OH    44119‐2402
JOSEPH A GANT                                      3143 BERKLEY                                                                                  FLINT           MI    48504‐3205
JOSEPH A GARCIA & ARTHUR L GARCIA JT TEN           2789 ERVING BLVD                                                                              DALLAS          TX    75207
JOSEPH A GATTO                                     22 ADAMS DR                                                                                   RANDOLPH        MA    02368‐3102
JOSEPH A GENOVESE                                  1232 FOXRIDGE PL                                                                              MELBOURNE       FL    32940‐6428
JOSEPH A GEORGE                                    3435 LAMOR RD                                                                                 HERMITAGE       PA    16148‐3050
JOSEPH A GERMANN                                   976 LIVINGSTON AVE                                                                            SAINT PAUL      MN    55118
JOSEPH A GERTNER                                   5142 NEWLAND                                                                                  CHICAGO         IL    60656‐3709
JOSEPH A GIARDINA                                  502 GRAND BLVD                                                                                GREENWOOD       MS    38930‐3023
JOSEPH A GILLESPIE                                 PO BOX 373                                                                                    MINERAL RIDGE   OH    44440‐0373
JOSEPH A GIULIAN                                   886 TRAVAILLE WAY                                                                             RIPON           CA    95366‐9570
JOSEPH A GODBEY                                    14218 BANBURY WAY                                                                             TAMPA           FL    33624‐2619
JOSEPH A GOLKOSKY                                  463 ASHFORD LANE                                                                              GRAYSLAKE       IL    60030‐4114
JOSEPH A GRANARA TR UA 02/06/94 GRANARA LIVING     17 SOUTH MONTILLA                                                                             SAN CLEMENTE    CA    92672
TRUST
JOSEPH A GRAZIANO                                  22 GLENVIEW AVE                                                                               BERLIN          NJ    08009
JOSEPH A GRECO                                     11114 CROSSTREE CT                                                                            FT WAYNE        IN    46814
JOSEPH A GREENWALD                                 3024 SEIGNEURY DR                                                                             WINDERMERE      FL    34786‐8353
JOSEPH A GREGUS                                    4272 WARREN RD                                                                                FRANKLIN        TN    37067‐4045
JOSEPH A GROSS CUST ANDREW GROSS UTMA OH           5569 GINGER TREE LANE                                                                         TOLEDO          OH    43623‐1093
JOSEPH A GROSS CUST EMILY GROSS UTMA OH            5569 GINGER TREE LANE                                                                         TOLEDO          OH    43623‐1093
JOSEPH A GUERRIERI                                 9687 WASHINGTONVILLE RD                                                                       CANFIELD        OH    44406‐9401
JOSEPH A GUTHRIE                                   2272 KILBOURNE AVE                                                                            COLUMBUS        OH    43229‐5318
JOSEPH A HAGGERTY                                  14 PETRO DRIVE                                                                                WILMINGTON      DE    19804‐3717
JOSEPH A HAINDL                                    255 S COUNTY RD 442                                                                           COOKS           MI    49817‐9703
JOSEPH A HALL                                      12116 GREEN BEAVER RD                                                                         SALEM           OH    44460‐9275
JOSEPH A HALLOCK                                   29 PEASE AVE                                                                                  VERONA          NJ    07044‐1404
JOSEPH A HANS                                      6749 BESSEMER AVE                                                                             BALTIMORE       MD    21222‐1126
JOSEPH A HARDY                                     19348 INDIAN                                                                                  DETROIT         MI    48240‐1672
JOSEPH A HASCALL                                   24 W TURNER ST                                                                                MAYVILLE        MI    48744‐9153
JOSEPH A HAWLEY                                    10835 BURBANK DR                                                                              POTOMAC         MD    20854‐1557
JOSEPH A HEJL JR                                   48398 NEWCASTLE                                                                               SHELBY TWP      MI    48315‐4287
JOSEPH A HILL                                      43970 TRENT DR                                                                                CLINTON TWP     MI    48038‐5304
JOSEPH A HILLMAN                                   2460 W CR 650 N                                                                               MIDDLETOWN      IN    47356‐9471
JOSEPH A HINES                                     4965 CRESTVIEW                                                                                CLARKSTON       MI    48348‐3951
JOSEPH A HODACK                                    6450 BUCK RD                                                                                  ELSIE           MI    48831‐9442
JOSEPH A HOLMES                                    10511 HALE HWY                                                                                EATON RAPIDS    MI    48827‐9726
JOSEPH A HOPKINS                                   34 DALE PL                                                                                    STAMFORD        CT    06906‐1004
JOSEPH A HORNE                                     14 BUTTERCUP LANE                                                                             MEDWAY          MA    02053‐2313
JOSEPH A HORNE & JOYCE M HORNE JT TEN              14 BUTTERCUP LANE                                                                             MEDWAY          MA    02053‐2313
JOSEPH A HOVANEC                                   16140 MUSKINGUM BLVD                                                                          BROOKPARK       OH    44142‐2238
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 317 of 855
Name                                              Address1                                 Address2             Address3          Address4          City               State Zip

JOSEPH A HOWLAND                                  710 LOOKOUT DR                                                                                    COLUMBIA           TN    38401‐6140
JOSEPH A HUBER                                    10092 HICKORY RIDGE                                                                               BRECKSVILLE        OH    44141‐3641
JOSEPH A INGELFINGER                              55 BROOKSDALE RD                                                                                  BRIGHTON           MA    02135‐1857
JOSEPH A INSANA                                   28771 CLARK DR                                                                                    WICKLIFFE          OH    44092‐2647
JOSEPH A ISAACS                                   PO BOX 1502                                                                                       WASKOM             TX    75692‐1502
JOSEPH A JAMBOR                                   613 VERMONT AVE                                                                                   GLASSPORT          PA    15045‐1508
JOSEPH A JAMES JR                                 1143 MARGARET DR                                                                                  FLORENCE           SC    29501‐5641
JOSEPH A JARDINA                                  4523 WESTWAY AVE                                                                                  RACINE             WI    53405‐1955
JOSEPH A JASKOWSKI                                39848 CLINTONVIEW                                                                                 HARRISON TWP       MI    48045
JOSEPH A JOHNSON                                  1355 HISTORIC OLD ROUTE 66                                                                        STAUNTON           IL    62088‐4333
JOSEPH A JOHNSTON                                 320 LINCOLN AVE                                                                                   CARROLLTON         OH    44615‐1022
JOSEPH A JORDAN CUST MICHAEL A JORDAN UGMA VT     3 OLD ACADEMY ROAD                                                                                FAIRFAX            VT    05454

JOSEPH A KAISER JR CUST JOSEPH A KAISER III UTMA CT 18 DARNLEY GRN                                                                                  DELMAR             NY    12054‐9707

JOSEPH A KARCZEWSKI                               707 LARKSPUR N W                                                                                  GRAND RAPIDS       MI    49504‐4849
JOSEPH A KEIPP                                    10026 ROYAL GRAND                                                                                 DETROIT            MI    48239‐2071
JOSEPH A KELSO                                    PO BOX 232                                                                                        SAINT IGNAS        MI    49781‐0232
JOSEPH A KINZEL III                               G 6013 MAPLE AVE E                                                                                GRAND BLANC        MI    48439
JOSEPH A KNAPKE                                   2066 PALOUSE DRIVE                                                                                LONDON             OH    43140‐9019
JOSEPH A KOSKULITZ JR                             411 DANBURY AVE                                                                                   RARITAN            NJ    08869‐1305
JOSEPH A KOWALCZYK & LESA A KOWALCZYK JT TEN      9124 KOPPING LN                                                                                   HICKORY HILLS      IL    60457‐1676

JOSEPH A KOWALSKI JR                              29225 BESTE                                                                                       ST CLAIR SHRS      MI    48081‐1090
JOSEPH A KRAUSE                                   4800 S ALMA SCHOOL RD APT 1026                                                                    CHANDLER           AZ    85248‐5550
JOSEPH A KRAWS                                    3196 MAINE AVE                                                                                    PERRY              OH    44081‐9558
JOSEPH A KRUPSKI                                  1602 PRAIRIEVIEW DRIVE                                                                            EDWARDSVILLE       IL    62025
JOSEPH A KUBINSKI                                 33707 ARROWHEAD TRAIL                                                                             WESTLAND           MI    48185‐2716
JOSEPH A KUCIA JR                                 38 HILLSIDE AVE                                                                                   PLYMOUTH           CT    06782‐2324
JOSEPH A KUCINSKAS                                14155 OLIN LAKES DRIVE                                                                            CEDAR SPRINGS      MI    49319‐9433
JOSEPH A KUCINSKAS & ELAINE M KUCINSKAS JT TEN    14155 OLIN LAKES DRIVE                                                                            CEDAR SPRINGS      MI    49319‐9433

JOSEPH A KUFTA                                      5109 CERROMAR DR                                                                                NAPLES             FL    34112‐7924
JOSEPH A KUFTA & MRS JUNE M KUFTA JT TEN            5109 CERROMAR DR                                                                                NAPLES             FL    34112‐7924
JOSEPH A KUMAR                                      5713 KIPPEN DR                                                                                  EAST AMHERST       NY    14051‐1971
JOSEPH A LANDRY                                     PO BOX 1462                                                                                     LEOMINSTER         MA    01453‐8462
JOSEPH A LAURICELLA                                 120 HUETTER AVE APT 3                                                                           BUFFALO            NY    14207‐1057
JOSEPH A LAURINO JR                                 4503 WHITEWELD TER                                                                              WILMINGTON         NC    28412‐5201
JOSEPH A LAVACHIA                                   11 STAFFORD RD                                                                                  REHOBOTH BCH       DE    19971‐1452
JOSEPH A LAZARONY                                   34 CHASEWOOD LANE                                                                               E AMHERST          NY    14051‐1813
JOSEPH A LAZZARO                                    7502 OLD BATTLE GROVE                                                                           BALTO              MD    21222‐3505
JOSEPH A LE TARTE JR & MRS ALICE K LE TARTE TEN COM 5 MOUNTAINVIEW RD                                                                               PATTERSON          NY    12563

JOSEPH A LESINSKY                                  10910 WINDHAM DR                                                                                 PARMA              OH    44130‐1575
JOSEPH A LESTINGI & MRS JOAN MARIE LESTINGI JT TEN 21 PHEASANT DR                                                                                   ARMONK             NY    10504‐1321

JOSEPH A LEVINE                                 5 MANOR LANE                                                                                        STONY BRO          NY    11790‐2817
JOSEPH A LEYANNA                                2183 NOBLE AVENUE                                                                                   FLINT              MI    48532‐3917
JOSEPH A LOEFFLER                               1895 E BROOKS RD                                                                                    MIDLAND            MI    48640‐9591
JOSEPH A LOIACONO & ROSEMARIE M LOIACONO JT TEN 1794 79TH STREET                                                                                    BROOKLYN           NY    11214‐1614

JOSEPH A LOMBARDO                                 259 HIGHLAND RD                                                                                   NORTH HALEDON      NJ    07508‐3029
JOSEPH A LONG                                     10672 FREEDOM STREET                                                                              GARRETTSVILLE      OH    44231‐1049
JOSEPH A LOPETRONE & LINDA M LOPETRONE JT TEN     36370 WEBER DR                                                                                    STERLING HEIGHTS   MI    48310‐4652

JOSEPH A LUCAS                                    954 RIVER PARK DR                                                                                 WAUKESHA           WI    53189‐7781
JOSEPH A LUMINELLO JR & ROSE P LUMINELLO JT TEN   5995 HERONS BLVD                                                                                  YOUNGSTOWN         OH    44515‐5815

JOSEPH A LUSCHIN & BETSY L LUSCHIN JT TEN         1512 GEDDES AVE NW                                                                                WALKER             MI    49534
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 318 of 855
Name                                            Address1                              Address2             Address3          Address4          City             State Zip

JOSEPH A MACKLIN                                2971 EDGEHILL RD                                                                               CLEVELAND HT    OH     44118‐2064
JOSEPH A MACRI                                  5805 E 98TH ST                                                                                 TULSA           OK     74137‐5017
JOSEPH A MAFFONGELLI                            20 GLENWOOD RD                                                                                 UPPER MONTCLAIR NJ     07043‐1941

JOSEPH A MAFFONGELLI JR                         20 GLENWOOD RD                                                                                 UPPER MONTCLAIRE NJ    07043‐1941

JOSEPH A MALAHOSKY & BETTY JANE MALAHOSKY JT    359 OHIO ST                                                                                    LOCKPORT         NY    14094‐4217
TEN
JOSEPH A MALKOWSKI                              18904 MAPLE HEIGHTS BOULEVARD                                                                  MAPLE HEIGHTS    OH    44137‐2218
JOSEPH A MALONE & CHARLEEN C MALONE JT TEN      2936 THUNDERBIRD DR                                                                            POLAND           OH    44514‐2709

JOSEPH A MANAGO JR CUST CHRISTOPHER JOSEPH     710 W RIVERSIDE AVE                                                                             MERRILL          WI    54452‐3340
MANAGO UTMA WI
JOSEPH A MANAGO JR CUST MEGAN SARA MANAGO      710 W RIVERSIDE AVE                                                                             MERRILL          WI    54452‐3340
UTMA WI
JOSEPH A MANCUSO & VINCENZA STABILE‐MANCUSO JT 56 KAREN COURT                                                                                  STATEN ISLAND    NY    10310‐2624
TEN
JOSEPH A MARANDO & MARILYN J MARANDO JT TEN    5739 EMERSON                                                                                    WARREN           OH    44483‐1119

JOSEPH A MARCEWICZ & MARILYN E MARCEWICZ JT TEN 18 HIGH ST                                                                                     ACTON            MA    01720‐4214

JOSEPH A MARIANO                                147 DEPOT ROAD                                                                                 WESTFORD         MA    01886‐1340
JOSEPH A MARRERO JR                             76 RACETRACK RD                                                                                E BRUNSWICK      NJ    08816‐3719
JOSEPH A MARTIN & DIANE E MARTIN JT TEN         6095 PALOMINO DRIVE                                                                            ALLENTOWN        PA    18106‐3617
JOSEPH A MARTINEZ JR                            113 HUDSON RD                                                                                  ETHRIDGE         TN    38456
JOSEPH A MARTNICK                               1921 LIBERTY AVE                                                                               LINCOLN PARK     MI    48146
JOSEPH A MASO                                   120 BEAR CLAW DR                                                                               WENTZVILLE       MO    63385‐3526
JOSEPH A MATULA                                 50 ALDEN AVENUE                                                                                YONKERS          NY    10710‐3635
JOSEPH A MATUSINEC                              3759 E LUNHAM AVE                                                                              CUDAHY           WI    53110‐1141
JOSEPH A MATUSKA                                9 CAMELOT DR                                                                                   ANDOVER          NJ    07821‐3539
JOSEPH A MAZAR                                  111MINNA AVE                                                                                   AVENEL           NJ    07001‐1206
JOSEPH A MEHAN CUST JOSEPH MEHAN UGMA TX        6253 ST ALBANS DRIVE                                                                           DALLAS           TX    75214‐2318
JOSEPH A MELE                                   2217 WYNCOTE DR                                                                                WILMINGTON       DE    19808‐4954
JOSEPH A MELVIN                                 642 JENNIFER LN                                                                                ABERDEEN         MD    21001‐1718
JOSEPH A MERCER                                 6775 E STATE RD 218                                                                            LAFONTAINE       IN    46940‐9227
JOSEPH A MEYERS & DOLLAND J MEYERS JT TEN       BOX 214                                                                                        GREEN VALLEY     IL    61534‐0214
JOSEPH A MILLER                                 110 RIDGEFIELD AVE                                                                             STEPHENS CITY    VA    22655‐2940
JOSEPH A MINUTILLO                              15 BONN PL                                                                                     WEEHAWKEN        NJ    07086
JOSEPH A MOCERI                                 2317 BONNIE VIEW DR                                                                            ORMOND BEACH     FL    32176‐2813
JOSEPH A MOKOS                                  236 WEST 108TH ST                                                                              CHICAGO          IL    60628‐3334
JOSEPH A MOORE JR                               PO BOX 544                                                                                     AVON             NC    27915
JOSEPH A MOTTOLA & MRS MARION MOTTOLA JT TEN    SCHOOL HOUSE ROAD                     BOX 105                                                  TUXEDO PARK      NY    10987‐0105

JOSEPH A MURPHY                                 719 SHERWOOD CT                                                                                NAPERVILLE       IL    60565‐5345
JOSEPH A NATT                                   9276 MUELLER                                                                                   TAYLOR           MI    48180‐3513
JOSEPH A NAZZARO & ROSALYN A NAZZARO JT TEN     1 DUNHAM STREET                                                                                WINCHESTER       MA    01890‐2106

JOSEPH A NEFF                                   8748 STATE ROUTE 121                                                                           GREENVILLE       OH    45331‐9227
JOSEPH A NELSON                                 666 ARNETT BLVD                                                                                ROCHESTER        NY    14619‐1426
JOSEPH A NICHOLS                                32805 BI‐STATE BLVD                                                                            LAUREL           DE    19956‐4534
JOSEPH A NICKLES                                4147 JOHNSON RD                                                                                LOCKPORT         NY    14094‐1252
JOSEPH A NODGE                                  5077 E MEADOW LN                                                                               PORT CLINTON     OH    43452‐9740
JOSEPH A NODGE & MARGARET R NODGE JT TEN        5077 E MEADOW LN                                                                               PORT CLINTON     OH    43452‐9740
JOSEPH A NOWACZYK                               3363 ELM ST                                                                                    SAGINAW          MI    48604‐2263
JOSEPH A NUNES CUST DONALD J NUNES UGMA HI      92‐356 AKAULA ST                                                                               KAPOLEI          HI    96707‐1137

JOSEPH A NYSEWANDER                             7745 S 600 E                                                                                   MOORESVILLE      IN    46158
JOSEPH A OBETTS                                 1976 SHINING TREE DR NE                                                                        BELMONT          MI    49306‐8833
JOSEPH A OLIVEIRA                               57 LEPES RD                                                                                    TIVERTON         RI    02878‐1301
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 319 of 855
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

JOSEPH A OLIVER                                    13709 BEAUWICK CT                                                                              SILVER SPRING    MD    20906‐3005
JOSEPH A ONOFREY                                   2028 WATERBURY AVE                                                                             LAKEWOOD         OH    44107‐6213
JOSEPH A PALKA & SUSAN M PALKA JT TEN              214 MASSBURY ST                                                                                GAITHERSBURG     MD    20878‐5625
JOSEPH A PANCERELLA & MARIANNE G PANCERELLA JT     21 LOVELL LN                                                                                   GLENMOORE        PA    19343‐1821
TEN
JOSEPH A PANETTA                                   35166 DRAKE HEIGHTS DR                                                                         FARMINGTON HILLS MI    48335‐3304

JOSEPH A PANGELLO JR                               1792 LEALAND AVE                                                                               POLAND           OH    44514‐1415
JOSEPH A PANOZZO JR                                19935 LAKEVIEW WAY                                                                             MOKENA           IL    60448‐7781
JOSEPH A PASCENTE                                  38 APPIAN DR                                                                                   ROCHESTER        NY    14606‐4721
JOSEPH A PAVLICA                                   303 GALE ST                                                                                    MORRICE          MI    48857
JOSEPH A PECK IV                                   26172 S WINDLAKE RD                                                                            WINDLAKE         WI    53185‐2248
JOSEPH A PENNACCHIO                                51 NARBERTH WAY                                                                                TOMS RIVER       NJ    08757‐6537
JOSEPH A PEPPE & CLAUDIA R PEPPE JT TEN            RR 3 COLONIAL ACRES                                                                            PITTSFIELD       MA    01201‐9819
JOSEPH A PETERS & MRS ETHEL M PETERS JT TEN        824 7TH ST                                                                                     FULLERTON        PA    18052‐5820
JOSEPH A PETROSKY & CLARA T PETROSKY JT TEN        11059 PORT ROYALE COURT                                                                        APPLE VALLEY     CA    92308
JOSEPH A PICHETTE                                  406 W MCGREGOR RD                                                                              INDIANAPOLIS     IN    46217‐4138
JOSEPH A PIKULSKI JR                               784 EGAN HIGHWAY                                                                               BROOKLYN         MI    49230‐8432
JOSEPH A PINENO & ROSALIE M PINENO JT TEN          17 RAINTREE DR                                                                                 WEST CREEK       NJ    08092
JOSEPH A PLOTAR                                    4028 BEEBE RD                                                                                  NEWFANE          NY    14108‐9663
JOSEPH A POCIASK & SHARON M POCIASK JT TEN         8 EAST EUREKA ST                                                                               LEMONT           IL    60439
JOSEPH A POCIASK JR                                8 EAST EUREKA ST                                                                               LEMONT           IL    60439
JOSEPH A PONTZER & SANDRA PONTZER JT TEN           122 W CONDOT RD                                                                                ST MARYS         PA    15857‐3543
JOSEPH A POWERS                                    7197 LARME                                                                                     ALLEN PARK       MI    48101‐2468
JOSEPH A PRATER                                    39250 DILLINGHAM                                                                               WESTLAND         MI    48186‐3726
JOSEPH A RADICH & MRS CAROLYN B RADICH JT TEN      554 PAT HAVEN DR                                                                               PITTSBURGH       PA    15243‐1739

JOSEPH A RAMUNO                                    37 BETHANY RD                                                                                  FRAMINGHAM       MA    01702‐8501
JOSEPH A RAY JR & OLIVIA H RAY JT TEN              4199 WILDWOOD DR                                                                               AYDEN            NC    28513‐7072
JOSEPH A RAY JR & OLIVIA M RAY JT TEN              4199 WILDWOOD DRIVE                                                                            AYDEN            NC    28513
JOSEPH A RAYMOND                                   6417 ROYAL OAKS DR                                                                             FREDERICKSBURG   VA    22407‐6349
JOSEPH A RAYMOND & JENNIE L RAYMOND JT TEN         1327 E HURD ROAD                                                                               CLIO             MI    48420‐7926
JOSEPH A RICE & AMANDA J RICE JT TEN               7910 EAST STATE ROAD 28                                                                        ELWOOD           IN    46036‐8449
JOSEPH A RICHARD                                   72 CLYDESDALE ST                                                                               MOUNT MORRIS     MI    48458‐8885
JOSEPH A RIESS                                     2853 SPRINGBORO WEST                                                                           DATON            OH    45439‐1711
JOSEPH A RINALDI                                   61 LIVINGSTON ST                                                                               RHINEBECK        NY    12572‐1530
JOSEPH A ROBERT                                    1351 KINGSWAY DR                                                                               HIGHLAND         MI    48356‐1165
JOSEPH A ROCCO & MRS MARY ANN ROCCO JT TEN         2302 33RD ST                                                                                   ASTORIA          NY    11105‐2417

JOSEPH A ROCHE & LUCILLE M ROCHE JT TEN            1701 GATEHOUSE COURT                                                                           BEL AIR          MD    21014‐5663
JOSEPH A RODRIGUES                                 BOX 53 LEXINGTON AVE                                                                           MOHEGAN LAKE     NY    10547‐0053
JOSEPH A ROGERS                                    318 LAKESIDE DRIVE                                                                             WESTERVILLE      OH    43081‐3044
JOSEPH A ROGERS                                    3120 STRATFORD                                                                                 FLINT            MI    48504‐4226
JOSEPH A RUFFINO                                   6490 TAYLOR RD                        LOT 18                                                   HAMBURG          NY    14075‐6565
JOSEPH A RUNYAN & MARJORY J RUNYAN JT TEN          1555 S CENTER ST                                                                               PLAINFIELD       IN    46168‐8949
JOSEPH A RYSZTAK                                   34138 TONQUISH TRAIL                                                                           WESTLAND         MI    48185‐2745
JOSEPH A SALVALZO                                  121 MEADOWBROOK                                                                                LACKAWANNA       NY    14218‐2034
JOSEPH A SALVATERRA                                137 BENTWILLOW DR                                                                              NILES            OH    44446‐2026
JOSEPH A SATTERFIELD & MARY L SATTERFIELD JT TEN   4122 SECRETARIAT DR                                                                            NEWBURGH         IN    47630‐2593

JOSEPH A SAVAGE                                    5903 E 3050TH RD                                                                               STRESTOR         IL    61364
JOSEPH A SCHAEFER JR                               6545 W RICHARDSON RD                                                                           PIGEON           MI    48755‐9507
JOSEPH A SCHETTINI                                 23168 DEER RUN CT                                                                              DENTON           MD    21629‐2232
JOSEPH A SCHIAPPA                                  93 HILLCREST AVE                                                                               WATERBURY        CT    06705‐2910
JOSEPH A SCHMIDT                                   726 PRIMROSE LN                                                                                SCHAUMBURG       IL    60194‐2626
JOSEPH A SCHMIDT                                   16 ROCHELLE DR                                                                                 CHURCHVILLE      NY    14428‐9780
JOSEPH A SCHUBIN & ESTHER SCHUBIN JT TEN           61 WESLEY CHAPEL RD                                                                            SUFFERN          NY    10901‐2603
JOSEPH A SCHULTE                                   817 W 1ST ST                                                                                   MUNCIE           IN    47305‐2279
JOSEPH A SCIORE                                    1144 HOOVERVIEW DR                                                                             WESTERVILLE      OH    43082‐7438
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 320 of 855
Name                                            Address1                            Address2             Address3          Address4          City               State Zip

JOSEPH A SCULLY                                 47 MIDFIELD ROAD                                                                             NEW CASTLE         DE    19720‐3566
JOSEPH A SERGEANT & BARBARA SERGEANT JT TEN     47 PARK ROAD                                                                                 NORTH HAVEN        CT    06473‐1438

JOSEPH A SHABEL                                  2930 W WALTON BLVD                                                                          WATERFORD          MI    48329‐2562
JOSEPH A SHAVER & VICKI L SHAVER JT TEN          4010 GREENWOOD COURT                                                                        SHEBOYGAN          WI    53081‐7427
JOSEPH A SHELDON                                 6714 LAYSAN TEAL CV                                                                         FORT WAYNE         IN    46845‐9168
JOSEPH A SHERRY                                  415 AMADEI ROAD                                                                             EBENSBURG          PA    15931‐6606
JOSEPH A SHEVOCK                                 9495 QUAIL RIDGE RUN                                                                        BRIGHTON           MI    48114‐7538
JOSEPH A SHOEMAKER                               145 S TAYLOR AVE                                                                            ZIONSVILLE         IN    46077‐9774
JOSEPH A SIMSACK                                 8521 N HUBBARD STREET                                                                       WESTLAND           MI    48185‐1533
JOSEPH A SLENZAK                                 28649 LOS OLAS DRIVE                                                                        WARREN             MI    48093‐2704
JOSEPH A SMITH & MARY E SMITH JT TEN             551 KIOWA TRL                                                                               MONTPELIER         OH    43543‐9349
JOSEPH A SOCKALOSKY                              9220 KNOLLWOOD N DR                                                                         STILLWATER         MN    55082‐7401
JOSEPH A SOLOMAYER TR JOSEPH A SOLOMAYER TRUST 2 BRATENAHL PLACE                                                                             BRATENAHL          OH    44108‐1183
UA 5/12/00
JOSEPH A SRODA TR JOSEPH A SRODA LIVING TRUST UA 22218 LOVE AVE                                                                              ST CLAIR SHORES    MI    48082‐2475
07/24/01
JOSEPH A STARZYNSKI                              142 LEE ST                                                                                  DEPEW              NY    14043‐1042
JOSEPH A STEVE JR & MRS JUDY B STEVE JT TEN      18933 LECOMPTON RD                                                                          LEAVENWORTH        KS    66048‐7642
JOSEPH A SUHY                                    804 GREENMOUNT BLVD                                                                         DAYTON             OH    45419‐2840
JOSEPH A SWIFT CUST ADAM G SWIFT UGMA PA         750 LANGDON RD                                                                              ERIE               PA    16509‐6706
JOSEPH A SWIFT CUST RYAN J SWIFT UGMA PA         750 LANGDON RD                                                                              ERIE               PA    16509‐6706
JOSEPH A SYCHTERZ & HARRIET K SYCHTERZ JT TEN    14546 POTANOW TRL                                                                           ORLANDO            FL    32837‐7203

JOSEPH A SYSLO JR                               9530 GARFIELD                                                                                BROOKFIELD       IL      60513‐1120
JOSEPH A TALOCCO & CHARLOTTE M TALOCCO TR UA    24496 WISTARIA DR                                                                            FARMINGTON HILLS MI      48336‐2167
11/10/89
JOSEPH A TAYLOR                                 1440 E PUETZ RD                                                                              OAK CREEK          WI    53154‐3314
JOSEPH A TEDESCO                                6 AQUEDUCT PL                                                                                ELMSFORD           NY    10523‐2002
JOSEPH A TEJKL                                  7308 JUDDVILLE RD                                                                            ELSIE              MI    48831‐9418
JOSEPH A THOMAS & CHARLENE A THOMAS JT TEN      6605 W IMLAY                                                                                 CHICAGO            IL    60631‐1709

JOSEPH A TILOT                                 15277 CAMPBELL RD                                                                             DEFIANCE           OH    43512‐8833
JOSEPH A TITHOF                                202 HALL ST                                                                                   ESSEXVILLE         MI    48732‐1150
JOSEPH A TODD                                  31866 AL HIGHWAY 99                                                                           ANDERSON           AL    35610‐3051
JOSEPH A TORRE & MARY V TORRE JT TEN           2953 BRITTANY BLUFF DR                                                                        ORANGE PARK        FL    32073‐1630
JOSEPH A TORRES                                5218 LOCKHAVEN AVE                                                                            LOS ANGELES        CA    90041‐1031
JOSEPH A TOTH                                  36260 LAKE SHORE BLVD #303                                                                    EASTLAKE           OH    44095‐1447
JOSEPH A TRIPODI                               1485 BUTTERFIELD CIR                                                                          NILES              OH    44446‐3577
JOSEPH A TRUNEK                                293 LONGFORD AVE                                                                              ELYRIA             OH    44035‐4035
JOSEPH A ULANOWSKI                             52 DEXTER STREET                                                                              TONAWANDA          NY    14150‐3914
JOSEPH A VALASEK                               4625 RITA ST                                                                                  YOUNGSTOWN         OH    44515‐3831
JOSEPH A VALIS JR                              48 EAST ST                                                                                    UPTON              MA    01568‐1118
JOSEPH A VITAI                                 19558 HENRY                                                                                   MELVINDALE         MI    48122‐1627
JOSEPH A VOLKERT CUST KARA CROSTHWAITE UTMA OH 11435 CAPTIVA KAY DRIVE                                                                       RIVERVIEW          FL    33569

JOSEPH A VOYNAR                                 5947 SOUTHWARD AVE                                                                           WATERFORD          MI    48329‐1580
JOSEPH A WAGNER                                 PO BOX 57                                                                                    LAKEVIEW           OR    97630
JOSEPH A WALKER III                             110 OAK MANOR CRESCENT                                                                       PITTSFORD          NY    14534‐1412
JOSEPH A WEBB                                   10457 E RICHFIELD RD                                                                         DAVISON            MI    48423‐8405
JOSEPH A WEHRY                                  2520 SE PENNY LN                                                                             STUART             FL    34994‐4712
JOSEPH A WEIGEL & JULIETTE L WEIGEL JT TEN      1101 OVER DOWNS DR                                                                           PLANO              TX    75023‐4936
JOSEPH A WESTRICK                               813 INVERNESS DR                                                                             DEFIANCE           OH    43512‐9190
JOSEPH A WHALEN JR & REGINA M WHALEN JT TEN     2248 STEWART DR                                                                              HATFIELD           PA    19440‐2249

JOSEPH A WIGGETMAN                              101 GOVERNOR TRUMBULL WAY                                                                    TRUMBULL           CT    06611‐5604
JOSEPH A WIKLE                                  7136 E PIERSON RD                                                                            DAVISON            MI    48423
JOSEPH A WOLNY JR                               42711 GAINSLEY                                                                               STERLING HEIGHTS   MI    48313‐2448
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 321 of 855
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

JOSEPH A WOODS                                   2903 MARILYN DR                                                                               JOLIET            IL    60432‐9618
JOSEPH A WYTRWAL                                 5695 LUMLEY                                                                                   DETROIT           MI    48210‐1858
JOSEPH A YANNELLO & MRS RENE D YANNELLO JT TEN   7842 AGATE DR SW                                                                              TACOMA            WA    98498‐6230

JOSEPH A YOUNG                                   4214 STANLEY ROAD                                                                             COLUMBIAVILLE     MI    48421‐9361
JOSEPH A ZACK                                    19856 CRYSTAL RIDGE LANE                                                                      NORTHRIDGE        CA    91326‐3856
JOSEPH A ZACK & MARIA ZACK JT TEN                19856 CRYSTAL RIDGE LANE                                                                      NORTH RIDGE       CA    91326‐3856
JOSEPH A ZAMORA                                  6600 MORRICE RD                                                                               OWOSSO            MI    48867‐9722
JOSEPH A ZAWADZKI                                8406 BRIAR LEAF COURT                                                                         PORT RICHEY       FL    34668‐6928
JOSEPH A ZAYAC                                   1518 MONTERAY                                                                                 FLINT             MI    48503‐3570
JOSEPH A ZDILLA                                  923 ALICE ST                                                                                  BELLE VERNON      PA    15012‐2327
JOSEPH A ZEBLEY JR                               153 RIVERVIEW DR                                                                              NEW CASTLE        DE    19720‐2721
JOSEPH A ZEBLEY JR & CLAIRE ZEBLEY JT TEN        153 RIVERVIEW DRIVE COLLINS          PARK                                                     NEW CASTLE        DE    19720‐2721
JOSEPH A ZEBROWSKI                               6902 SEBASTIAN RD                                                                             FORT PIERCE       FL    34951‐2046
JOSEPH A ZICARO                                  392 SPOTSWOOD GRAVEL HILL RD                                                                  MONROE TWP        NJ    08831‐4015
JOSEPH A ZIDZIK                                  32804 NORWOOD DRIVE                                                                           WARREN            MI    48092‐3278
JOSEPH A ZIELINSKI                               66 UNION VALLEY RD                                                                            MONROE TWP        NJ    08831‐5956
JOSEPH A ZINNER & C JACQUELINE ZINNER JT TEN     4108 GLEN PARK RD                                                                             BALTIMORE         MD    21236‐1015
JOSEPH A ZUKOVICH & CAROL M ZUKOVICH JT TEN      1221 SE 216TH ST                                                                              LATHROP           MO    64465‐9353

JOSEPH ABRAMOFF CUST DANIEL ABRAMOFF UTMA NY 4101 PINE TREE DR                                                                                 MIAMI BEACH       FL    33140‐3628

JOSEPH ABUCHI OKOLO                              287 GOODALE ST                                                                                WEST BOYLSTON    MA     01583‐1003
JOSEPH ACCARDO                                   4038 N HEMLOCK LN                                                                             MOUNT MORRIS     MI     48458‐9308
JOSEPH ACKLEN                                    18071 WOODINGHAM                                                                              DETROIT          MI     48221‐2560
JOSEPH ADAM SWIACKI                              7489 AMBOY                                                                                    DEARBORN HEIGHTS MI     48127‐1609

JOSEPH ADAMOVITZ                                 11923 S RIDGEWAY AVE                 APT 6                                                    ALSIP             IL    60803‐1130
JOSEPH ADAMS & MRS MATTIE E ADAMS JT TEN         5725 RODMAN STREET                                                                            PHILADELPHIA      PA    19143‐1941
JOSEPH ADAMSON JR & MRS DAPHENA S ADAMSON JT     1000 WILLIAM FEATHER DR                                                                       VOORHEES          NJ    08043‐2934
TEN
JOSEPH ADOMAITIS                                 26 RIDGE ST                                                                                   BROCKTON          MA    02302‐1823
JOSEPH AGOSTA                                    5505 HAMPDEN AVE                                                                              ROCKVALE          TN    37153‐4435
JOSEPH AGOSTINO                                  98 APPLETREE LN                                                                               PORTLAND          CT    06480‐1072
JOSEPH AIGNER                                    PO BOX 8995                                                                                   MESA              AZ    85214‐8995
JOSEPH ALAN STARKEY                              3032 BROWNING TRAIL                                                                           BILLINGS          MT    59106
JOSEPH ALBA                                      84 RIVER ST                                                                                   PITTSTON          PA    18640‐1126
JOSEPH ALBANESE                                  1286 LANGDON ST                                                                               ELMONT            NY    11003
JOSEPH ALBANO & JOAN E ALBANO JT TEN             150 MAYFAIR AVE                                                                               FLORAL PARK       NY    11001‐2349
JOSEPH ALBERT & MRS JUNE ALBERT JT TEN           417 HARBOR LIGHTS                    SEABROOK VILLAGE                                         TINTON FALLS      NJ    07753‐7723
JOSEPH ALBRYCHT                                  810 LINDBERG AVE                                                                              NATCHEZ           MS    39120‐4880
JOSEPH ALCOCER                                   PO BOX 88                                                                                     PIRU              CA    93040‐0088
JOSEPH ALCORN & HUENAH ALCORN JT TEN             34 LOVE CREEK DR                                                                              LEWES             DE    19958
JOSEPH ALEXANDER                                 22950 VALLEY VIEW DRIVE                                                                       HAYWARD           CA    94541‐3543
JOSEPH ALEXANDER TR ALEXANDER EXEMPITION TRUST   6627 DREXEL AVE                                                                               LOS ANGELES       CA    90048‐4208
UA 06/16/92
JOSEPH ALLEN                                     3336 PEARSALL AVENUE                                                                          BRONX             NY    10469‐2922
JOSEPH ALLEN COHEN                               106 DICKERSON AVE                                                                             NEWBURY PARK      CA    91320
JOSEPH ALTIERI                                   112 GALLUP ST                                                                                 NORTH ADAMS       MA    01247‐3539
JOSEPH ALTON NELSON JR                           SHINNOMAN DR EXT                                                                              LAVALE            MD    21502
JOSEPH AMATO                                     749 PAMELA WOOD STREET                                                                        THOUSAND OAKS     CA    91320
JOSEPH AMORMINO & ANN M AMORMINO JT TEN          49127 CONWAY CT                                                                               SHELBY TOWNSHIP   MI    48315‐3916

JOSEPH ANDERKO                                   7756 WINONA                                                                                   ALLEN PARK        MI    48101‐2275
JOSEPH ANDERSEN                                  409 JACOB CT                                                                                  NAZARETH          PA    18064‐8112
JOSEPH ANDERSON                                  930 WASHINGTON AVENUE                                                                         NEW CASTLE        DE    19720‐6001
JOSEPH ANDOLINA                                  935 JOYLENE DR                                                                                WEBSTER           NY    14580‐8931
JOSEPH ANDRADE                                   31 FELTON STREET                                                                              PEABODY           MA    01960‐1428
JOSEPH ANDREW WILLOUGHBY                         419 ROBERTS ST                                                                                FRANKLIN          TN    37064‐3125
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 322 of 855
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

JOSEPH ANDREWS                                    127 ST BONIFACE RD                                                                            CHEEKTOWAGA      NY    14225‐4631
JOSEPH ANDREWS                                    2785 E FRED MUMMEY RD NE                                                                      MCCONNELSVLE     OH    43756‐9143
JOSEPH ANDRIES                                    1421 CANTON AVE                                                                               MILTON           MA    02186‐2432
JOSEPH ANDRUSAITIS                                808 BRADLEY RD                                                                                PT PLEASAWT      NJ    08742‐2323
JOSEPH ANSELMI JR                                 6255 LAKEWOOD CT                                                                              MENTOR           OH    44060‐2117
JOSEPH ANTENUCCI                                  135 LEXINGTON BLVD                                                                            CLARK            NJ    07066‐1428
JOSEPH ANTHONY BABICH                             5675 STC BLVD #250                                                                            ENGLEWOOD        CO    80111
JOSEPH ANTHONY GABLE                              4923 LASKEY RD                                                                                HARTSGROVE       OH    44085‐9556
JOSEPH ANTHONY HARRIS                             C/O MISS H NAVOY                     4162 ROCHESTER RD                                        SAN DIEGO        CA    92116‐2124
JOSEPH ANTHONY LO BONO                            144 WEBSTER RD                                                                                SCARSDALE        NY    10583‐5817
JOSEPH ANTHONY MENTER                             1031 STONY POINT ROAD                                                                         GRAND ISLAND     NY    14072‐2708
JOSEPH ANTHONY TRZCINSKI                          32358 RIVER ROAD                                                                              MILLSBORO        DE    19966‐2550
JOSEPH ANTKU JR                                   8620 BLUE TEAL DR                                                                             CLAYTON          OH    45315‐9637
JOSEPH ANTYPAS & ELEN ANTYPAS JT TEN              6940 DAKOTA DR                                                                                TROY             MI    48098‐7202
JOSEPH ANTYPAS & ELLEN ANTYPAS JT TEN             6940 DAKOTA DR                                                                                TROY             MI    48098‐7202
JOSEPH ARAIZA                                     1146 GINA WAY                                                                                 OAKDALE          CA    95361‐4500
JOSEPH ARMSTRONG JR                               6110 MEADOW AVE                                                                               BALTIMORE        MD    21207‐5232
JOSEPH ARNOLD                                     4074 STONE POST RD                                                                            NEWPORT          MI    48166‐7829
JOSEPH ARNOLD JR                                  417 MILKY WAY                                                                                 STOCKBRIDGE      GA    30281‐5903
JOSEPH ARSENAULT CUST CHRISTINE M ARSENAULT       193 MASSAPOAG AVE                                                                             N EASTON         MA    02356‐2616
UGMA MA
JOSEPH ARSENAULT CUST JOSEPH ARSENAULT UTMA       193 MASSAPOAG AVENUE                                                                          NORTH EASTON     MA    02356‐2616
MA
JOSEPH ARTHUR CAVALIER                            1005 NILE DR                                                                                  CORPUS CHRISTI   TX    78412‐3815
JOSEPH ASTERI JR & KATHLEEN M ASTERI JT TEN       5349 S SARATOGA AVE                                                                           YOUNGSTOWN       OH    44515‐4073
JOSEPH AUSTIN                                     315 RUTLAND RD                                                                                FREEPORT         NY    11520‐1749
JOSEPH AUSTIN & MRS MARILYN AUSTIN JT TEN         315 RUTLAND RD                                                                                FREEPORT         NY    11520‐1749
JOSEPH AYLESWORTH JR                              PO BOX 299                                                                                    NICHOLSON        PA    18446‐0299
JOSEPH AZZARETTO CUST JOSEPH AZZARETTO JR UGMA    511 HAWTHORNE PLACE                                                                           MORGANVILLE      NJ    07751
NY
JOSEPH B ALLEN & SARAH W ALLEN JT TEN             9 DANA PL                                                                                     WAPPINGERS FALLS NY    12590‐2003

JOSEPH B ALSPAUGH                                 484 CHESAPEAKE AVE                                                                            FOSTER CITY      CA    94404‐3516
JOSEPH B ANDRADE                                  6 MACKIN ST                                                                                   HUDSON           MA    01749‐1816
JOSEPH B BALBIRONA                                15306 66TH AVE NW                                                                             GIG HARBOR       WA    98332‐8727
JOSEPH B BALBIRONA & J K BALBIRONA JT TEN         15306 66TH AVE NW                                                                             GIG HARBOR       WA    98332‐8727
JOSEPH B BAUERS & JOY L BAUERS TR UA 07/13/88     6141 WALNUT ST                                                                                KANSAS CITY      MO    64113‐2235

JOSEPH B BOEHMER                                  6035 COACHSHIRE COURT                                                                         CENTERVILLE      OH    45459‐2221
JOSEPH B BURKE                                    BOX 160                                                                                       WILSON           WY    83014‐0160
JOSEPH B CARNEY                                   4285 HONEYSUCKLE LN                                                                           ZIONSVILLE       IN    46077
JOSEPH B COBB                                     9303 FARMINGTON DRIVE                                                                         RICHMOND         VA    23229‐5335
JOSEPH B CRONE                                    40 N SHAMROCK RD                                                                              HARTFORD CITY    IN    47348‐9747
JOSEPH B DAVIS JR                                 847 CLIFF DR                                                                                  PORTLAND         TX    78374‐3001
JOSEPH B DEODATI JR                               6058 COPPERFIELD DR #937                                                                      FORT WORTH       TX    76132‐2689
JOSEPH B DOYLE                                    5667 W STINEMEYER RD                                                                          NEW PALESTINE    IN    46163‐9522
JOSEPH B ECKMAN                                   8372 LYTLE FERRY RD                                                                           WAYNESVILLE      OH    45068‐9521
JOSEPH B EWING                                    3409 NE 60TH ST                                                                               SEATTLE          WA    98115‐7320
JOSEPH B FANNING JR                               1037 KILKENNY DR                                                                              WHEATON          IL    60187‐6183
JOSEPH B GARBARAVAGE                              29205 OLD MILL ROAD EAST                                                                      TAVARES          FL    32778‐9342
JOSEPH B GLATTHAAR & MRS KATHLEEN M GLATTHAAR     67 LINDA AVE                                                                                  WHITE PLAINS     NY    10605‐1605
JT TEN
JOSEPH B GLENN                                    116 STEEPLECHASE                                                                              BELTON           SC    29627‐7700
JOSEPH B GOMMER                                   24280 WESTHAMPTON ST                                                                          OAK PARK         MI    48237‐1697
JOSEPH B GOSS                                     3014 CONGRESS AVE                                                                             SAGINAW          MI    48602‐3631
JOSEPH B GREIGG                                   663 MONTGOMERY WOODS DRIVE                                                                    HOCKESSIN        DE    19707‐9323
JOSEPH B HARING                                   401 BIG BEND CT                                                                               WENTZVILLE       MO    63385‐3478
JOSEPH B HAYES                                    1500 POPHAM DR                       UNIT B‐11                                                FORT MYERS       FL    33919‐7009
JOSEPH B HAYES & ELIZABETH A HAYES JT TEN         3415 GELDING LANE                                                                             RICHFIELD        OH    44286‐9706
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 323 of 855
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

JOSEPH B HORNER                                   509 SWAN CT                                                                                  FORTVILLE       IN    46040‐1458
JOSEPH B HUEGY                                    106 ED SIMMONS CT                                                                            CARY            NC    27511‐3941
JOSEPH B HUGHES & EDITH J HUGHES JT TEN           415 MILMAR ROAD MIDDLEBORO          MANOR                                                    WILMINGTON      DE    19804‐1129
JOSEPH B KABALA                                   2159 W FREDERICK DR #B                                                                       MARION          IN    46952‐2357
JOSEPH B KELLY                                    5881 BEARCREEK DR BLDG #4                                                                    BEDFORD HTS     OH    44146‐2959
JOSEPH B KLAUMANN                                 116 KAITLYN LN                                                                               NEW BERN        NC    28562‐7383
JOSEPH B LAKE                                     1101 ELMWOOD AVE                                                                             ASHLAND         KY    41101‐3722
JOSEPH B LANCZAK                                  30 STELLA ST                                                                                 BURGETTSTOWN    PA    15021‐1034
JOSEPH B LANCZAK & CLARA LANCZAK JT TEN           30 STELLA ST                                                                                 BURGETTSTOWN    PA    15021‐1034
JOSEPH B LANCZAK & CLARA LANCZAK TEN ENT          30 STELLA ST                                                                                 BURGETTSTOWN    PA    15021‐1034
JOSEPH B LANGE III & LINDA L LANGE JT TEN         2113 SILVERSIDE ROAD                                                                         WILMINGTON      DE    19810‐4120
JOSEPH B MCCLURE                                  663 CARTERS CREEK PIKE                                                                       COLUMBIA        TN    38401‐7247
JOSEPH B MECHOLSKY                                3 FINNS LN                                                                                   PENNSVILLE      NJ    08070‐3403
JOSEPH B MEEKER                                   111 RAVENNA ST                                                                               HUDSON          OH    44236‐3466
JOSEPH B MINELLA II                               1709 DUBLIN CT                                                                               SPRING HILL     TN    37174‐9506
JOSEPH B MONAHAN                                  301 PEIRSON AVE                                                                              NEWARK          NY    14513‐2016
JOSEPH B MOORE                                    315 6TH ST                                                                                   ELIZABETH       PA    15037‐1439
JOSEPH B MOORE & MARLENE R MOORE JT TEN           315 6TH ST                                                                                   ELIZABETH       PA    15037‐1439
JOSEPH B NELSON JR                                PO BOX 190                                                                                   WORCESTER       NY    12197‐0190
JOSEPH B NEWBURN                                  6197 MICHAEL                                                                                 TAYLOR          MI    48180‐1205
JOSEPH B OWEN                                     8200 MAY ST                                                                                  DALEVILLE       IN    47334
JOSEPH B PATELLA & SUSAN PATELLA JT TEN           356 ESSEX AVE                                                                                BLOOMFIELD      NJ    07003‐2813
JOSEPH B PLATZKE                                  771 RED OAK LN                                                                               SKIPWITH        VA    23968‐1831
JOSEPH B RUDOLPH JR                               33 LARGE MOUTH CT                                                                            DEFIANCE        MO    63341‐1647
JOSEPH B RUSSO & KATHRYN M RUSSO JT TEN           BOX 575                                                                                      EAST MORICHES   NY    11940‐0575
JOSEPH B SAUNDERS                                 39 LAFLIN RD                                                                                 LAFLIN          PA    18702‐7213
JOSEPH B SAUNDERS & GERTRUDE SAUNDERS JT TEN      39 LAFLIN ROAD                                                                               LAFLIN          PA    18072

JOSEPH B SCHMITT JR                            8430 TIO DIEGO PLACE                                                                            LA MESA         CA    91941‐8457
JOSEPH B SELDEN CUST BRIAN GLEN SELDEN UGMA OH 656 PALM AVE                                                                                    LOS ALTOS       CA    94022‐3954

JOSEPH B SEROCK                                   526 QUAIL COURT                                                                              LONGS           SC    29568‐8638
JOSEPH B SHAW JR                                  1408 PUSHAW RD                                                                               GLENBURN        ME    04401‐1443
JOSEPH B SKUTA JR                                 312 BRIGHTON RD                                                                              SEBRING         FL    33870‐1401
JOSEPH B SPITZ & MRS MILDRED B SPITZ JT TEN       609 MILES AVE                                                                                OLYPHANT        PA    18447‐1307
JOSEPH B STANTON                                  116 FELTUS ST                                                                                SOUTH AMBOY     NJ    08879
JOSEPH B STEUER CUST SALLY BEATRICE STEUER UGMA   475 N HIGHLANDS ST APT 12M                                                                   MEMPHIS         TN    38122‐4546
TN
JOSEPH B TAYLOR                                   4046 CHALFONTE DR                                                                            DAYTON          OH    45440‐3219
JOSEPH B ZSIDI                                    5090 S 9 MILE ROAD                                                                           AUBURN          MI    48611‐9572
JOSEPH BAGUZIS                                    4044 LINWOOD DRIVE                                                                           SUNNY HILLS     FL    32428‐3046
JOSEPH BAKER III & ROSEMARY E BAKER JT TEN        13516 VERONICA                                                                               SOUTHGATE       MI    48195‐1242
JOSEPH BAKITA                                     1167 WYATT ST                                                                                CLEARWATER      FL    33756‐1105
JOSEPH BAKUNAS                                    14 MITCHELL ROAD                                                                             PARSIPPANY      NJ    07054
JOSEPH BALAYLA & AMY BALAYLA JT TEN               1021 WESTOVER ROAD                                                                           STAMFORD        CT    06902‐1032
JOSEPH BALOGH JR                                  36 RENEE DRIVE                                                                               STRUTHERS       OH    44471‐1516
JOSEPH BALTZ CUST BRIAN BALTZ UTMA IL             705 RAVINIA                                                                                  SHOREWOOD       IL    60431‐9122
JOSEPH BALTZ CUST MARCIE BALTZ UTMA IL            705 RAVINIA                                                                                  SHOREWOOD       IL    60431‐9122
JOSEPH BALTZ CUST MEGAN BALTZ UTMA IL             705 RAVINIA                                                                                  SHOREWOOD       IL    60431‐9122
JOSEPH BANCHANSKY                                 C/O BARBARA D MCCUTCHEON            5 SO TAMARACK DR                                         BRIELLE         NJ    08730
JOSEPH BANEK                                      245 W GRANT AVENUE                                                                           EDISON          NJ    08820‐1220
JOSEPH BARBARA & PAULA BARBARA JT TEN             855 WEST EDMUNDSON                                                                           MORGAN HILL     CA    95037‐5310
JOSEPH BARBIERI                                   928 SW GRAND RESERVE BLVD                                                                    PORT ST LUCIE   FL    34986‐2343
JOSEPH BARICH                                     4403 ELMHURST                                                                                ROYAL OAK       MI    48073‐1736
JOSEPH BARNA                                      1026 LOVELL PL                                                                               NORTH BRUNSWICK NJ    08902‐3233

JOSEPH BARNA & CAROL BARNA JT TEN                 1026 LOVELL PL                                                                               NORTH BRUNSWICK NJ    08902‐3233

JOSEPH BARRON LEEDS                               1 MACARTHUR BLVD                    APT 311                                                  HADDON TWP      NJ    08108‐3627
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 324 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JOSEPH BATTAGLIA                                 74 RED MAPLE DR                                                                                WEAVERVILLE       NC    28787‐9273
JOSEPH BAVARO                                    4725 HIGHGATE                                                                                  KETTERING         OH    45429‐5534
JOSEPH BECK                                      1550 NE OCEAN BLVD                    APT F 301                                                STUART            FL    34996
JOSEPH BECKER JR                                 320 HALLSBOROUGH DR                                                                            PITTSBURGH        PA    15238‐1604
JOSEPH BEDNARIK                                  2871 GRETCHEN DRIVE N E                                                                        WARREN            OH    44483‐2925
JOSEPH BELINSKY & KATHLEEN BELINSKY JT TEN       8108 LINDEN AVE                                                                                MUNSTER           IN    46321‐1817
JOSEPH BELL                                      2742 MORAN POST RD                                                                             CAMDEN            NY    13316‐4811
JOSEPH BELLAN                                    30 DEERFIELD RD                                                                                PARLIN            NJ    08859‐1029
JOSEPH BELLAVIA CUST LAUREN MURRAY UTMA FL       8101 NASHUA DR                                                                                 PALM BEACH        FL    33418‐6043
                                                                                                                                                GARDENS
JOSEPH BENIK JR                                  25 OAKCREST DR                                                                                 HUNTINGTON        NY    11746‐3920
                                                                                                                                                STATION
JOSEPH BENJAMIN MILLER & CAROLYN E MILLER JT TEN 1705 PALMYRA DR                                                                                LEXINGTON         KY    40505‐1417

JOSEPH BENSON                                    6138 W GIDDINGS                                                                                CHICAGO           IL    60630‐2930
JOSEPH BENTIVEGNA                                209 SCARLET                                                                                    IRVINE            CA    92603‐0679
JOSEPH BENZONI                                   PO BOX 26                             224 COUNTY RD                                            TENAFLY           NJ    07670
JOSEPH BENZONI                                   PO BOX 26                             224 COUNTY RD                                            TENAFLY           NJ    07670
JOSEPH BERNARD POELL & JOSEPH H POELL JT TEN     5220 W 102ND ST                       APT 215                                                  MINNEAPOLIS       MN    55437‐2538

JOSEPH BERNARDO                                  PO BOX 1302                                                                                    WHITE PLAINS      NY    10602‐1302
JOSEPH BERNOT                                    60 ELMWOOD AVE                                                                                 UNION             NJ    07083‐6911
JOSEPH BICA                                      36856 RHEA CT                                                                                  STERLING HTS      MI    48310‐4371
JOSEPH BIVONE                                    462 NYS RT 41                                                                                  DEPOSIT           NY    13754
JOSEPH BLACKWELL                                 2349 DOMBEY RD                                                                                 PORTAGE           IN    46368‐1444
JOSEPH BLANKENSHIP                               600 BLANKENSHIP LANE                                                                           ERWIN             TN    37650‐4251
JOSEPH BLASUCCI                                  56 FLORENCE DR                                                                                 MANCHESTER        NJ    08759‐6092
JOSEPH BODANZA                                   28 ST PAUL ST                                                                                  FITCHBURG         MA    01420‐6241
JOSEPH BOFFARDI CUST ALYSSA A BOFFARDI UTMA NJ   263 SUNNYBROOK RD                                                                              JACKSON           NJ    08527‐4617

JOSEPH BOFFARDI CUST JOSEPH BEN BOFFARDI UTMA    263 SUNNYBROOK RD                                                                              JACKSON           NJ    08527‐4617
NJ
JOSEPH BOGDAN                                    5339 OWENS ST                                                                                  ARVADA            CO    80002‐4940
JOSEPH BOHANNON                                  116 LONGVIEW AVENUE                                                                            BUFFALO           NY    14211‐1055
JOSEPH BONGIOVANNI & ROSE BONGIOVANNI JT TEN     1300 BROOK LN                                                                                  ROCHESTER HILLS   MI    48306‐4209

JOSEPH BONICI                                    701 RIVER RD                                                                                   NEWBURGH          NY    12550‐1351
JOSEPH BOROWSKI                                  PO BOX 53                                                                                      ANNANDALE         NJ    08801‐0053
JOSEPH BOSY & REGINA BOSY JT TEN                 11671 SHAFFER                                                                                  DAVISBURG         MI    48350‐3838
JOSEPH BOWBLIS JR                                18 EDGEWOOD PARKWAY                                                                            UNION             NJ    07083‐8006
JOSEPH BOYD JR & LAURA BOYD JT TEN               417 OAKLEIGH HILL                                                                              NASHVILLE         TN    37215‐5802
JOSEPH BRADLEY PIKE                              6009 ERIN TER                                                                                  EDINA             MN    55439‐1737
JOSEPH BRAUN                                     2718 GENEVA ST                                                                                 RACINE            WI    53402‐4120
JOSEPH BRAUN                                     1599 JEROME ST                                                                                 HOLLAND           MI    49423‐6703
JOSEPH BRAWNER                                   119 LARIAT DR                                                                                  GEORGETOWN        TX    78628
JOSEPH BRESTER                                   4909 N ST RD 135                                                                               NASHVILLE         IN    47448‐8471
JOSEPH BRIAN ADAMS                               640 STATE STREET                                                                               LANCASTER         PA    17603‐2641
JOSEPH BRODT & SARAH D BRODT JT TEN              1561 E 7 ST                                                                                    BROOKLYN          NY    11230‐6407
JOSEPH BROWN                                     11132 RICH MEADOW DRIVE                                                                        GREAT FALLS       VA    22066‐1417
JOSEPH BRYANT                                    2220 OUTWOOD ROAD                                                                              FULTONDALE        AL    35068‐1107
JOSEPH BUD WEISER                                13520 COURTYARD PLACE                                                                          KEYSTONE          SD    57751‐6635
JOSEPH BUDZINSKI                                 73 COLONY COURT                                                                                BUFFALO           NY    14226‐3507
JOSEPH BUFFA II                                  12763 GRACE CT                                                                                 GRAND BLANC       MI    48439‐1522
JOSEPH BUKEVICZ                                  17 LEXINGTON DR                                                                                MANALAPAN         NJ    07726‐3503
JOSEPH BULLOCK                                   4 PINELEA COURT                                                                                PIKESVILLE        MD    21208‐2340
JOSEPH BULVID                                    2 EAGLE HILL ROAD                                                                              HOLMDEL           NJ    07733‐1913
JOSEPH BUONOCORE                                 19205 PEARL RD                                                                                 STRONGVILLE       OH    44136‐6901
JOSEPH BURDIS JR & BLANCHE E BURDIS JT TEN       2105 BEVERLY CT                                                                                HAMPTSTED         MD    21074‐2545
JOSEPH BURGHOLZER                                81 OLNEY DRIVE                                                                                 AMHERST           NY    14226‐3344
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 325 of 855
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH BUTSCHLI JR                                N 106 W 16331 FIELDSTONE PASS                                                                   GERMANTOWN       WI    53022‐4172
JOSEPH BYERS JR                                   3849 1/4 W 27TH ST                                                                              LOS ANGELES      CA    90018
JOSEPH BYRNE & TERRI L BYRNE JT TEN               7540 10 MILE RD                                                                                 ROCKFORD         MI    49341‐8303
JOSEPH BYRON DUNN                                 3101 STONE GAP CT                                                                               RALEIGH          NC    27612
JOSEPH C ABELL JR & MINNIE LEA ABELL JT TEN       1606 GEORGE WASHINGTON DR                                                                       DAYTON           OH    45432‐2512
JOSEPH C AMATO & PAT N AMATO JT TEN               396 DARTMOUTH TRAIL                                                                             SAGAMORE HILLS   OH    44067‐3415
JOSEPH C ANTOINE & CATHERINE W ANTOINE JT TEN     31635 TARA BOULEVARD                                                                            SPANISH FORT     AL    36527‐5133

JOSEPH C ASCIOTI                                  1417 MILTON AVE                                                                                 SOLVAY           NY    13209‐1619
JOSEPH C ATKINS & KATHLEEN L ATKINS JT TEN        SUCHVILLE 13                           BAYAMON                                619 PUERTO RICO
JOSEPH C BALICH                                   4165 MAPLE AVE                                                                                  BROOKFIELD       IL    60513
JOSEPH C BIGGS                                    316 LINSEY AVE PO 391                                                                           CHESAPKE CITY    MD    21915‐0391
JOSEPH C BIXBY                                    5081 ROOSVELT RD                                                                                DEXTER           KY    42036‐9418
JOSEPH C BLAKE                                    4469 GRAND OAKS DR                                                                              WILLIS           TX    77378‐3533
JOSEPH C BOLSTAD                                  30992 LEXINGTON WAY                                                                             WESTLAKE VLG     CA    91361‐4625
JOSEPH C BONGIORNO & SYLVIA BONGIORNO JT TEN      523 SHELL CREEK ST                                                                              KISSIMMEE        FL    34759‐3218

JOSEPH C BOREK                                    4617 ELDER AVE                                                                                  SEAL BEACH       CA    90740‐3053
JOSEPH C BOREK & ANNA R BOREK JT TEN              4617 ELDER AVE                                                                                  SEAL BEACH       CA    90740‐3053
JOSEPH C BOYD & MRS PATRICIA J BOYD JT TEN        122 MELVILLE AVE                                                                                DORCHESTER       MA    02124‐2129
JOSEPH C BRADEN                                   12419 OLD OAKS DRIVE                                                                            HOUSTON          TX    77024‐4911
JOSEPH C BRINCAT                                  29300 ELDON                                                                                     FARMINGTON HILLS MI    48336‐2830

JOSEPH C BROSKI JR                            1421 GLENWOOD                                                                                       TROY             MI    48083‐5366
JOSEPH C BROTHMAN                             10456 STANSFIELD RD                                                                                 LAUREL           MD    20723‐1279
JOSEPH C BUCKLEY CUST DARON M BUCKLEY UTMA OH 196 EVERGREEN                                                                                       ELMHURST         IL    60126‐2613

JOSEPH C BUZZELLI                                 1957 CLOVERBROOK DR                                                                             MINERAL RIDGE    OH    44440‐9519
JOSEPH C CABANISS JR                              PO BOX 93                                                                                       MOUNT MORRIS     MI    48458‐0093
JOSEPH C CAFFARELLA                               21C                                    401 FIRST AVE                                            NEW YORK         NY    10010‐4056
JOSEPH C CARDELLA & BETTY J CARDELLA JT TEN       5353 N ROGERS HWY                                                                               TECUMSEH         MI    49286‐9535
JOSEPH C CARROLL                                  508 PIPING ROCK DR                                                                              SILVER SPRING    MD    20905
JOSEPH C CHAMBERS                                 659 VILLAGE BLVD                                                                                FROSTPROOF       FL    33843‐8374
JOSEPH C CLARK                                    2156 VAN VLEET RD                                                                               SWARTZ CREEK     MI    48473‐9748
JOSEPH C CLAY                                     121 CAMPBELL CT                                                                                 TROY             MO    63379‐1801
JOSEPH C CLINGERMAN                               7819NCR 800 W                                                                                   MIDDLETOWN       IN    47356
JOSEPH C COCCIOLONE & CAROL A COCCIOLONE JT TEN   3814 MILFLORES DR                      VILLA D'ESTE                                             RUSKIN           FL    33573‐6619

JOSEPH C CONTE                                    4132 CONTE RD                                                                                   LOTHIAN          MD    20711‐9538
JOSEPH C COOLICK                                  7258 SOUTH FORK DR                                                                              SWARTZ CREEK     MI    48473‐9759
JOSEPH C COQUIGNE                                 PO BOX 38                                                                                       SWARTZ CREEK     MI    48473‐0038
JOSEPH C CRITES                                   2740 COMANCHE MOON                                                                              FT WORTH         TX    76179‐5543
JOSEPH C DEHOYOS                                  7418 NW 76TH TER                                                                                KANSAS CITY      MO    64152‐2219
JOSEPH C DEMARCO                                  1500 LINDBERGH DR                                                                               LANSING          MI    48910‐1819
JOSEPH C DIFEO                                    39 PACIFICO DR                                                                                  ASHEVILLE        NC    28806‐8203
JOSEPH C DILTS                                    1 GUMWOOD DR                                                                                    WILMINGTON       DE    19803‐4001
JOSEPH C DONOHUE & ROBERTA L DONOHUE JT TEN       ROUTE 1                                                                                         GREELEY          KS    66033‐9801

JOSEPH C DUFRESNE                                 404 W SMITH ST                                                                                  BAY CITY         MI    48706‐3600
JOSEPH C DUSZA                                    62 SHERRY DR                                                                                    DEPEW            NY    14043‐4761
JOSEPH C ELLISON                                  4214 WIDHOFF                                                                                    CINTI            OH    45236‐1811
JOSEPH C ESHELMAN JR                              9456 GREYSTONE PKWY                                                                             BRECKSVILLE      OH    44141‐2941
JOSEPH C FAVATA                                   9296 S E 128 STREET                                                                             SUMMERFIELD      FL    34491
JOSEPH C FENECH & MRS MARIAN C FENECH JT TEN      10706 GULLEY RD                                                                                 TAYLOR           MI    48180‐3225

JOSEPH C FIEDLER                                  124 HOLLY CR                                                                                    BALTIMORE        MD    21221‐1909
JOSEPH C FISCHER                                  124 PARKWAY DRIVE                                                                               SYRACUSE         NY    13207‐1836
JOSEPH C FORD                                     1614 MCALPINE DR                                                                                MOUNT MORRIS     MI    48458‐2357
JOSEPH C FRYE                                     17251 HANOVER                                                                                   ALLEN PARK       MI    48101‐2834
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 326 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JOSEPH C GARCIA & RUTH E GARCIA JT TEN            BOX 241                                                                                          EAST AURORA       NY    14052‐0241
JOSEPH C GELADINO                                 23 KORY LN                                                                                       BRISTOL           CT    06010‐7180
JOSEPH C GIBSON                                   4198 PALMYRA RD SW                                                                               WARREN            OH    44481‐9709
JOSEPH C GOODWIN JR                               2340 VERMONT                                                                                     TROY              MI    48083‐2564
JOSEPH C GRABOWSKI                                4315 NORTH BAILEY AVENUE                                                                         AMHERST           NY    14226‐2134
JOSEPH C GRAY                                     6204 VIA REGLA                                                                                   SAN DIEGO         CA    92122‐3921
JOSEPH C GRAY & MARY J GRAY JT TEN                19594 MAHON STREET                                                                               SOUTHFIELD        MI    48075‐3940
JOSEPH C GREENE & SUSAN C GREENE JT TEN           PO BOX 1306                                                                                      CRYSTAL BAY       NV    89402‐1306
JOSEPH C GRIDER                                   315 MALLARD LN                                                                                   SANDWICH          IL    60548‐9553
JOSEPH C GRIMALDI                                 PO BOX 2485                                                                                      SPRINGFIELD       MA    01101‐2485
JOSEPH C GRUBER                                   1297 E MUNGER ROAD                                                                               TECUMSEH          MI    49286‐8714
JOSEPH C GUGEL                                    3 WENDT LN                                                                                       WAYNE             NJ    07470‐6439
JOSEPH C GULL                                     2507 RIVER ROAD                                                                                  NIAGARA FALLS     NY    14304‐3739
JOSEPH C HAZELL                                   7103 SHAWNEE RD                                                                                  RICHMOND          VA    23225‐1719
JOSEPH C HENCZEL                                  27 W 147 JEWEL ROAD                                                                              WINFIELD          IL    60190‐1348
JOSEPH C HOHL                                     1272 DEERFIELD CIRCLE                                                                            UPLAND            CA    91784‐1751
JOSEPH C HUBER JR                                 278 HUNTER PARKWAY                                                                               CUYAHOGA FALLS    OH    44223‐3797
JOSEPH C IAROCCI                                  16 GREAT HILL DR                                                                                 TOPSFIELD         MA    01983‐1436
JOSEPH C JACOBS & JOAN M JACOBS JT TEN            71 BIRD ROAD                                                                                     NORWOOD           MA    02062‐1505
JOSEPH C KAHL                                     687 DALE DRIVE                                                                                   SLIDELL           LA    70458‐2051
JOSEPH C KAMALAY                                  12371 WOODLINE DR                                                                                CREVE COUER       MO    63141‐7435
JOSEPH C KAZDA                                    4007 BORDEAUX DR                                                                                 JANESVILLE        WI    53546‐1783
JOSEPH C KIBLINGER & DONNA M KIBLINGER JT TEN     106 ALLYSON LN                                                                                   FRANKLIN          TN    37064‐6766

JOSEPH C KIGER & JEAN M KIGER JT TEN              BOX 431                                                                                          UNIVERSITY        MS    38677‐0431
JOSEPH C KIRLEY & CHRISTINE L KIRLEY JT TEN       3550 TRIPP RD                                                                                    WOODSIDE          CA    94062‐3636
JOSEPH C KITCHEN                                  10108 MARALDO PL                                                                                 ST LOUIS          MO    63137‐2925
JOSEPH C KLAUSNER                                 4 LEIB‐YAFFE                            TALPIOT              JERUSALEM         93390 ISRAEL
JOSEPH C KOTLINSKI & LINDA MICHALEK & CYNTHIA     6578 WHITEFIELD                                                                                  DEARBORN HTS      MI    48127‐2048
BOGUSLASKI JT TEN
JOSEPH C KOUDELIK & MARIE L KOUDELIK JT TEN       415 NAPERVILLE RD                                                                                CLARENDON HILLS   IL    60514‐2804

JOSEPH C LANDA                                    3049 ROSETTA BLVD                                                                                NEWTON FALLS     OH     44444‐8732
JOSEPH C LAWRENCE                                 8198 DEERWOOD RD                                                                                 CLARKSTON        MI     48348‐4531
JOSEPH C LELLO                                    35 E SUNRISE DR                                                                                  PITTSTON         PA     18640‐1545
JOSEPH C LILL III & PATRICIA A LILL JT TEN        4070 ROLLING TRAILS                                                                              GREENWOOD        IN     46142‐7328
JOSEPH C LILL IV                                  1500 ELM BROOK TRAIL                                                                             CENTERVILLE      OH     45458
JOSEPH C LINDNER                                  110 FARLEY AVE                                                                                   FANWOOD          NJ     07023‐1005
JOSEPH C LITTLE JR                                4112 TIMBER RUN                                                                                  RAVENNA          OH     44226
                                                                                                                                                   TOWNSHIP
JOSEPH C LUDWIG                                   7486 KINGSBURY BLVD                                                                              UNIVERSITY CITY  MO     63130‐4015
JOSEPH C LUSSIER                                  5324 BUTTERFIELD DRIVE                                                                           FLINT            MI     48506‐1535
JOSEPH C MAIHOS                                   9400 STRAKA RD                                                                                   OKLAHOMA CITY    OK     73165‐9629
JOSEPH C MALEK                                    2755 E CLEVELAND RD                                                                              ASHLEY           MI     48806‐9737
JOSEPH C MAZZOCCO                                 1766 ROSELAWN DR                                                                                 MAYFIELD HTS     OH     44124‐3339
JOSEPH C MEDISCH                                  325 BANGOR DRIVE                                                                                 INDIANAPOLIS     IN     46227‐2423
JOSEPH C MELLETT SR                               83 COLONIAL DR                                                                                   DEDHAM           MA     02026‐2246
JOSEPH C MENDOZA                                  3031 INDIANWOOD                                                                                  LAKE ORION       MI     48362‐1116
JOSEPH C MERLE                                    PO BOX 812                                                                                       TROY             OH     45373‐0812
JOSEPH C METZLER                                  621 JOINER HOLLOW RD                                                                             ROCKWOOD         TN     37854‐5009
JOSEPH C MEYER JR                                 511 W BRANCH RD                                                                                  STATE COLLEGE    PA     16801‐7642
JOSEPH C MILLER JR                                12 CONGRESSIONAL CT                                                                              CHASE            MD     21220‐1244
JOSEPH C MIZER                                    408 W HIGH AVE                                                                                   NEW PHILADELPHIA OH     44663‐3622

JOSEPH C MYNAR                                    5117 EUGENE AVE                                                                                  BALTIMORE         MD    21206‐5014
JOSEPH C NAPOLI                                   221 CEDER ST                                                                                     ENGLEWOOD         NJ    07631‐3130
JOSEPH C OCONNELL                                 1749 E M21 RFD 6                                                                                 ST JOHNS          MI    48879‐9001
JOSEPH C OCONNELL                                 8060 HIDDEN SHORES DR                                                                            PENTON            MI    48430‐9074
JOSEPH C ORTEL JR                                 840 PIMLICO DR                          APT 2D                                                   DAYTON            OH    45459‐8250
                                               09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 327 of 855
Name                                                Address1                                Address2             Address3          Address4          City              State Zip

JOSEPH C OWENS                                      65 DUGANTOWN ESTATES                                                                             GLASGOW           KY    42141‐9505
JOSEPH C PAGLIUCA & ANNA M PAGLIUCA JT TEN          141 LUCKY HOLLOW DR                                                                              PARAMUS           NJ    07652‐5309
JOSEPH C PALMISANO                                  24789 ANTLER DRIVE                                                                               NORTH OLMSTED     OH    44070‐1202
JOSEPH C PARISI                                     5804 DUMFRIES DR                                                                                 RALEIGH           NC    27609‐4008
JOSEPH C PAWLAK & NANCY PAWLAK TEN ENT              6016 MAPLERIDGE RD                                                                               ALGER             MI    48610‐9706
JOSEPH C PECHARICH & JASPER C PECHARICH JT TEN      15926 LOS REYES                                                                                  FOUNTAIN VALLEY   CA    92708‐1124

JOSEPH C PEPER                                      8831 MORRISON                                                                                    PLYMOUTH          MI    48170‐4180
JOSEPH C PETERS & CAROL A PETERS JT TEN             1415 PRICE STREET                                                                                SCRANTON          PA    18504
JOSEPH C PIROSKO                                    5474 HODGSON AVE                        NIAGARA FALLS ON                       L2H 1N3 CANADA
JOSEPH C POOL                                       8419 STONEWALL DR                                                                                INDIANAPOLIS    IN      46251‐2558
JOSEPH C POPE                                       101 BLUE HEN ROAD                                                                                NEW CASTLE      DE      19720‐2707
JOSEPH C PRECOUR                                    346 CRESCENT AVE                                                                                 HIGHLAND        NY      12528
JOSEPH C PROVENZALE                                 31 HILLSIDE TERRACE                                                                              WAYNE           NJ      07470‐4347
JOSEPH C RADEMACHER                                 611 HIGHWAY 8                                                                                    ARMSTRONG CREEK WI      54103‐9701

JOSEPH C REED                                       1108 ARTWIN ROAD                        CHATHAM                                                  WILMINGTON        DE    19803‐2702
JOSEPH C RILEY                                      2145 PHILLIPI RD                                                                                 MOHAWK            TN    37810‐4110
JOSEPH C ROBBINS                                    4 THE DOGWOODS                                                                                   ROSLYN ESTATES    NY    11576‐1807
JOSEPH C ROBERTS                                    14455 MIDDLE FAIRWAY DR                                                                          SPRING HILL       FL    34609‐0352
JOSEPH C RODRIGUEZ                                  19052 N 37TH PL                                                                                  PHOENIX           AZ    85050‐2698
JOSEPH C RUELL                                      4471 N HINKLEY RD                                                                                LAKE CITY         MI    49651‐9412
JOSEPH C RZUCIDLO                                   350 EGYPT RUN RD                                                                                 LANDENBERG        PA    19350‐9332
JOSEPH C SACCO                                      5822 6TH AVENUE                                                                                  BROOKLYN          NY    11220‐3806
JOSEPH C SCADUTO                                    14920 CAMARILLO ST                                                                               SHERMAN OAKS      CA    91403‐2003
JOSEPH C SCHIM                                      9099 CAMBRIDGE DR                                                                                SALINE            MI    48176‐9438
JOSEPH C SCHNEIDER                                  249 WENCHRIS DR                                                                                  CINCINNATI        OH    45215‐3507
JOSEPH C SEIF & ROCHELLE SEIF JT TEN                110 HARDS LANE                                                                                   LAWRENCE          NY    11559‐1315
JOSEPH C SHEPHERD                                   UNIT 6                                  1241 HAMILTON RD     LONDON ON         N5W 6B3 CANADA
JOSEPH C SHOEMAKER JR                               223 MINCHES CORNER RD                                                                            BRIDGETON       NJ      08302‐5683
JOSEPH C SIERO                                      30766 WOODMONT                                                                                   MADISON HEIGHTS MI      48071‐5236

JOSEPH C SLOANE & ALICE D SLOANE JT TEN             20561 BROOKLAWN DRIVE                                                                            DEARBORN          MI    48127‐2678
JOSEPH C SMITH                                      2326 DAVIS BL                                                                                    FORT MYERS        FL    33905‐4855
JOSEPH C SMITH & MARY C SMITH JT TEN                1739 FLINT DRIVE                                                                                 AUBURNDALE        FL    33823‐9678
JOSEPH C STUHLMUELLER                               6934 BEAGLE DR                                                                                   HAMILTON          OH    45011‐6507
JOSEPH C SUCHY JR                                   2167 UNION RD                                                                                    BAY CITY          MI    48706
JOSEPH C SWARTZ JR                                  3272 FRAMPTON RD                                                                                 WEST MIDDLESEX    PA    16159‐3108
JOSEPH C SWAYZE                                     322 BELLEAIRE DR                                                                                 CHAMPLIN          MN    55316
JOSEPH C TIFFANY II & DAWN MARIE TIFFANY & JOSEPH   6802 SW 113TH PL                                                                                 OCALA             FL    34476‐3983
C TIFFANY III JT TEN
JOSEPH C TOMLINSON                                  211 NIBLICK ST                                                                                   POINT PLEASANT    NJ    08742‐3117
                                                                                                                                                     BCH
JOSEPH C VAN DEVERE                                 ATTN VAN DEVERE OLDS                    300 W MARKET ST                                          AKRON             OH    44303‐2142
JOSEPH C WALDROP                                    2423 LOST VALLEY TRAIL                                                                           CONYERS           GA    30094‐2440
JOSEPH C WALIER & MRS JUDITH M WALIER JT TEN        56 SKYLINE DR                                                                                    KEENE             NH    03431‐5258

JOSEPH C WALIER 111 CUST JONATHAN C WALIER          36 WINDSOR CT                                                                                    KEENE             NH    03431‐1731
JOSEPH C WALKOWSKI                                  ROUTE 1                                                                                          DECKER            MI    48426‐9801
JOSEPH C WEBER                                      3603 HEWN LANE                          UNIT 641                                                 WILMINGTON        DE    19808‐1734
JOSEPH C WILSON                                     PO BOX 165                                                                                       ORTONVILLE        MI    48462‐0165
JOSEPH C WISMONT                                    7610 TERRI ST                                                                                    WESTLAND          MI    48185‐1455
JOSEPH C WOOFTER                                    1806 WASHINGTON AVE                                                                              PARKERSBURG       WV    26101‐3520
JOSEPH C WUKOVITS CUST JOSEPH A WUKOVITS UGMA       39‐80 52ND STREET                                                                                WOODSIDE          NY    11377‐3257
NY
JOSEPH C YACONO JR                                  10 HENRY CIR                                                                                     ROCHESTER         NY    14624‐3307
JOSEPH C ZERN                                       4801 PONY CHASE                                                                                  AUSTIN            TX    78727‐6716
JOSEPH C ZULLO                                      7 WIRT ST                                                                                        NEW BRUNSWICK     NJ    08901‐1765
JOSEPH CALABRIA & FRANCES CALABRIA JT TEN           16 HERBERT DRIVE                                                                                 ENGLISHTOWN       NJ    07726‐3803
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 328 of 855
Name                                            Address1                             Address2             Address3          Address4          City           State Zip

JOSEPH CALDERA & MRS MARIE CALDERA JT TEN       8 DERBY LANE                                                                                  DUMONT         NJ    07628‐1513
JOSEPH CALI CUST CARMEN CALI U/THE OHIO UNIFORM 5429 GUADELOUPE WAY                                                                           NAPLE          FL    34119‐9580
GIFTS TO MINORS ACT
JOSEPH CALVIN SMITH                             1739 FLINT DRIVE                                                                              AUBURNDALE     FL    33823‐9678
JOSEPH CALVIN WILSON                            4346 JAN WAY                                                                                  SAN JOSE       CA    95124‐4604
JOSEPH CAMINITI                                 7 WILLOUGHBY ST                                                                               BRISTOL        CT    06010‐3551
JOSEPH CAMPAGNA                                 522 N HYDE PARK AVE                                                                           SCRANTON       PA    18504‐1844
JOSEPH CANDELA JR                               10242 OAK RD                                                                                  MILLINGTON     MI    48746‐9332
JOSEPH CAPANNA & MRS RITA CAPANNA JT TEN        RIVER ROAD                                                                                    ROME           NY    13440
JOSEPH CAPILUPI & MRS MARY CAPILUPI JT TEN      185 STERLING AVE                                                                              YONKERS        NY    10704‐3621
JOSEPH CAPOGRECO                                862 LAWRENCE AVE                                                                              GIRARD         OH    44420‐1908
JOSEPH CAPUTO CUST ANTHONY CAPUTO UTMA NJ       10 RUMSON RD                                                                                  LIVINGSTON     NJ    07039

JOSEPH CAPUTO CUST THOMAS CAPUTO UTMA NJ         10 RUMSON RD                                                                                 LIVINGSTON     NJ    07039
JOSEPH CARL HOFFMAN                              PO BOX 173                                                                                   GENESEE        MI    48437‐0173
JOSEPH CARL PRATT JR & CAROL S PRATT JT TEN      104 PARK CT                                                                                  MARTINSVILLE   VA    24112‐5324
JOSEPH CARPENTER                                 605 WALTON AVE                                                                               DAYTON         OH    45417‐1526
JOSEPH CARRASCO                                  14800 KING RD #130                                                                           RIVERVIEW      MI    48193‐7957
JOSEPH CARRIL JR                                 10117 7 MILE ROAD                                                                            CALEDONIA      WI    53108‐9677
JOSEPH CARUSO & MRS DOLORES CARUSO JT TEN        243 THOMPSON ST                                                                              SHELTON        CT    06484‐5141
JOSEPH CASALE                                    7956 CHERRY HILL DR                                                                          WARREN         OH    44484‐1557
JOSEPH CATANESE                                  1062 ORCHARD ST                                                                              NO BRUNSWICK   NJ    08902‐4144
JOSEPH CHARGO                                    6224 N LINDEN RD                                                                             MT MORRIS      MI    48458‐9453
JOSEPH CHARLES GUARDALIBENE                      1107 WOODBERRY CT                                                                            ROSEVILLE      CA    95661‐4740
JOSEPH CHARLES IGNASIAK JR                       2340 RIDGEFIELD DR                                                                           GRAND RAPIDS   MI    49505‐5712
JOSEPH CHARLES STRACUZZI                         3201 SE COURT DR                                                                             STUART         FL    34997‐6009
JOSEPH CHARLES THOMAS                            6605 W IMLAY                                                                                 CHICAGO        IL    60631‐1709
JOSEPH CHARLIER & LINDA CHARLIER TR CHARLIER     3116 BAY SETTLEMENT RD                                                                       GREEN BAY      WI    54311‐9791
LIVING TRUST UA 06/25/99
JOSEPH CHASE                                     2362 RIDGE DR                                                                                BROOMFIELD     CO    80020‐1078
JOSEPH CHATTEN SUMNER 3RD                        2703 PARADISE                                                                                VERNON         TX    76384‐5228
JOSEPH CHICKY & CONNIE J CHICKY JT TEN           41875 WOODBROOK DR                                                                           CANTON         MI    48188‐2622
JOSEPH CHODKIEWICZ & MRS JULIA CHODKIEWICZ JT    275 AVE A                                                                                    BAYONNE        NJ    07002‐1306
TEN
JOSEPH CHRISTIAN SNAVELY III                     953 NELSON ST                                                                                CHAMBERSBURG   PA    17201‐1742
JOSEPH CIGAS                                     28 WELLWATER DR                                                                              PALM COAST     FL    32164‐7837
JOSEPH CIOCE                                     31 KRENKEL COURT                                                                             FLEMINGTON     NJ    08822‐2057
JOSEPH CLARK BURNHAM                             18 EAST ROAD                                                                                 PLAISTOW       NH    03865‐3113
JOSEPH CLAXTON WALKER & MICHELLE GOULET          609 MAID MARION RD                                                                           ANNAPOLIS      MD    21405‐2027
WALKER JT TEN
JOSEPH CLYDE COLE                                941 W 7TH ST                                                                                 GREENFIELD     IN    46140‐1710
JOSEPH COFER                                     16825 MANOR                                                                                  DETROIT        MI    48221‐2827
JOSEPH COLEMAN                                   138 CARR                                                                                     PONTIAC        MI    48342‐1767
JOSEPH COLONNA                                   2527 APACHE ST                                                                               SARASOTA       FL    34231‐5009
JOSEPH CONROY                                    8815 OAK GLEN CT                                                                             CLARKSTON      MI    48348‐2887
JOSEPH COOLEY                                    1605 WOODBINE DR                                                                             ANDERSON       IN    46011‐2826
JOSEPH CORCORAN                                  14 ZINNIA CT                                                                                 COMMACK        NY    11725‐3617
JOSEPH CRISAFULLI                                114 W BROADWAY                      APT 3                                                    FULTON         NY    13069‐2200
JOSEPH CROSBY                                    2401 N ABRAM 223                                                                             MISSION        TX    78572
JOSEPH CROSBY & IRMA J CROSBY JT TEN             2401 NORTH ABRAM RD                 #223                                                     MISSION        TX    78572‐8905
JOSEPH CSATARI CUST DAVID JOSEPH CSATARI UGMA MI 1321 N VERNON ST                                                                             DEARBORN       MI    48128‐2509

JOSEPH CUCCIA                                 105 KILBUCK DR                                                                                  MONROEVILLE    PA    15146‐4905
JOSEPH CULBERG CUST AMY GRETCHEN CULBERG UGMA 400 SOUTH BL                           APT D                                                    EVANSTON       IL    60202‐4649
IL
JOSEPH CULBERG CUST KATHERINE CULBERG UGMA IL 1109 MOUND ST                                                                                   ALAMEDA        CA    94501‐5430

JOSEPH CURRAN                                   222 BROOK AVE                                                                                 N PLAINFIELD   NJ    07060‐4359
JOSEPH CUTLER                                   2269 LUCADO WAY                                                                               KNOXVILLE      TN    37909‐4708
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 329 of 855
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH CYGLER                                     61 DICKINSON RD                                                                                 BASKING RIDGE    NJ    07920‐4905
JOSEPH CYRUS                                      4576 DRY RUN RD                                                                                 CHILLICOTHE      OH    45601
JOSEPH CZERKAWSKI JR CUST EMILY ANNE CZERKAWSKI   321 9TH ST                                                                                      ATLANTIC BCH     FL    32233‐5437
UTMA FL
JOSEPH D ABATE                                    4712 ELDER LANE                                                                                 SAGINAW          MI    48604‐9535
JOSEPH D BALABAN                                  13481 ZAGAISKI AVE                                                                              WARREN           MI    48089‐4585
JOSEPH D BARATTA                                  21340 MULHOLLAND DRIVE                                                                          WOODLAND HILLS   CA    91364‐5934

JOSEPH D BEACH                                    7528 OLD TIMBER CT                                                                              NEW LOTHROP      MI    48460‐9751
JOSEPH D BIELECKI                                 2456 NORTHVIEW DR                                                                               CORTLAND         OH    44410‐1744
JOSEPH D BRUCE                                    PO BOX 129                                                                                      W ALEXANDRIA     OH    45381‐0129
JOSEPH D BURDAK                                   PO BOX 5035                                                                                     WARREN           MI    48090‐5035
JOSEPH D CABRAL                                   39338 IDE CT                                                                                    FREMONT          CA    94538‐1208
JOSEPH D CAMMALLERI                               1311 CLINTON STREET                                                                             SANDUSKY         OH    44870‐3015
JOSEPH D CHIDESTER & REGINNA M CHIDESTER JT TEN   2250 EADS PL                                                                                    HOWELL           MI    48843‐6402

JOSEPH D CHRISTY                               983 RUPLEY DRIVE N E                                                                               ATLANTA          GA    30306‐3818
JOSEPH D CONNOLLY                              48697 BRADFORD DR                                                                                  MACOMB           MI    48044‐1862
JOSEPH D CONNOLLY & MARGARET P CONNOLLY JT TEN 19955 THOUSAND OAKS                                                                                CLINTON TWSP     MI    48036‐1893

JOSEPH D COOPER                                   3045 STROUP RD                                                                                  ATWATER          OH    44201‐9105
JOSEPH D COOPER & ANNE M COOPER JT TEN            3045 STROUP RD                                                                                  ATWATER          OH    44201‐9105
JOSEPH D COULTER                                  1501 WOOD GROVE CIRCLE                                                                          RICHMOND         VA    23233‐3952
JOSEPH D COYNE & MARIE P COYNE JT TEN             33 ROCKCROFT ROAD                                                                               WEYMOUTH         MA    02188‐1803
JOSEPH D CUCCI                                    523 S MCCLURE ST                                                                                INDIANAPOLIS     IN    46241‐1507
JOSEPH D CUMMINGS                                 5182 E STANLEY                                                                                  FLINT            MI    48506‐1188
JOSEPH D CUMMINGS & VICKIE A CUMMINGS JT TEN      5182 E STANLEY RD                                                                               FLINT            MI    48506‐1188

JOSEPH D CURLEE & ANNE M CURLEE JT TEN            5131 DAGGETT AVE                                                                                ST LOUIS         MO    63110‐3009
JOSEPH D DAVIS                                    11311 MANOR                                                                                     DETROIT          MI    48204‐1965
JOSEPH D DEBLOIS                                  7637 PINEHURST                                                                                  DEARBORN         MI    48126‐1254
JOSEPH D DECICCO                                  36 PARK PL                                                                                      SOUTH ORANGE     NJ    07079‐2303
JOSEPH D DEGRAZIA III                             233 SHADY LN                                                                                    HUNTINGTON       PA    19006‐8744
                                                                                                                                                  VALLEY
JOSEPH D DEGUIRE & YVONNE T DEGUIRE JT TEN        28539 PANAMA                                                                                    WARREN           MI    48092‐2363
JOSEPH D EDWARDS                                  127 EVERGREEN WAY                                                                               FLOWOOD          MS    39232‐7506
JOSEPH D FEDYSZEN                                 3399 COLUMBUS DR                                                                                FRISCO           TX    75034‐6685
JOSEPH D FOX & CHRISTINE D FOX JT TEN             4590 MOCCOSIN PL                                                                                GREENWOOD        IN    46142
JOSEPH D FREDERICK JR                             4828 GREENLAWN DR                                                                               FLINT            MI    48504‐2048
JOSEPH D FRITZ                                    405 ENCHANTED DR                                                                                ANDERSON         IN    46013‐1074
JOSEPH D GRANDINE & FLORENCE A GRANDINE JT TEN    25 UNION ST                                                                                     LYME             NH    03768‐3221

JOSEPH D GREER II                                 4268 BRIDLEWOOD                                                                                 TRAVERSE CITY    MI    49684‐8236
JOSEPH D HAAG SR & SHARON L HAAG JT TEN           17870 JOLIET ROAD                                                                               SHERIDAN         IN    46069‐9118
JOSEPH D HIGGINS & MARY C HIGGINS JT TEN          1233 MULBERRY RD                                                                                MARTINSVILLE     VA    24112‐5509
JOSEPH D HILLEGEER                                4977 CANADICE HILL RD                                                                           HEMLOCK          NY    14466‐9648
JOSEPH D HODGSON                                  145 DEAVER ROAD                                                                                 ELKTON           MD    21921‐4402
JOSEPH D HOPGOOD                                  2236 HALFORD ST                                                                                 ANDERSON         IN    46016‐3733
JOSEPH D HRUSKA & MARY LOUISE HRUSKA JT TEN       2230 COLUMBIA AVE                                                                               PITTSBURGH       PA    15218‐1937

JOSEPH D JEAKLE                                   490 LAKE GEORGE RD                                                                              ATTICA           MI    48412
JOSEPH D JONES                                    8268 CENTER STAGE AVE                                                                           LAS VEGAS        NV    89129‐1825
JOSEPH D KINTNER                                  6165 W MOBERLY RD NW                                                                            DEPAUW           IN    47115‐8872
JOSEPH D KOHLER                                   4374 MAYA DR                                                                                    SWARTZ CREEK     MI    48473‐1593
JOSEPH D KOVACS                                   274 HILLIARD RD                                                                                 ELYRIA           OH    44035‐3631
JOSEPH D KROUT III                                1291 BEAR PATH                                                                                  ORANGE           TX    77632‐1866
JOSEPH D KRUTULIS                                 2850 ASHLAND ST                                                                                 W LAFAYETTE      IN    47906‐1510
JOSEPH D LAFAY                                    RR 2 BOX 103                           103 ARGUSVILLE RD                                        SHARON SPRINGS   NY    13459‐9555
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 330 of 855
Name                                             Address1                                Address2               Address3        Address4          City            State Zip

JOSEPH D LIDDLE INC PENSION & PROFIT SHARING     120 N CENTER                                                                                     AMERICAN FORK   UT    84003‐1628
TRUST DTD 11‐02‐79
JOSEPH D LINCOLN                                 R2                                                                                               N MANCHESTER    IN    46962‐9802
JOSEPH D LOVAS                                   409 SOUTHWOOD DR                                                                                 KENMORE         NY    14223‐1113
JOSEPH D LYNCH                                   35 RENNER PL                                                                                     NORTH ARLINGTON NJ    07031‐6709

JOSEPH D MANCINI                                 309 2ND ST                                                                                       ELLWOOD CITY    PA    16117‐2153
JOSEPH D MANCINI CUST JODY MARIE MANCINI UTMA    309 2ND ST                                                                                       ELLWOOD CITY    PA    16117‐2153
PA
JOSEPH D MARTINEZ                                6835 CHURCH ST                                                                                   RIVERDALE        GA   30274‐2307
JOSEPH D MCCLEARY                                40111 PALLAZO                                                                                    CLINTON TOWNSHIP MI   48038‐4046

JOSEPH D MCDEARMON                               508 ST JOSEPH AVE                                                                                OFALLON         MO    63366‐1718
JOSEPH D MCKAY                                   75 HIGHLAND AVE                         OSHAWA ON                              L1H 6A4 CANADA
JOSEPH D MHOON                                   401 W OAKBROOK DR APT 143                                                                        ANN ARBOR       MI    48103
JOSEPH D MILLER                                  2634 GENES DR                                                                                    AUBURN HILLS    MI    48326‐1902
JOSEPH D MORAN                                   16300 PINE RIDGE RD #Y‐22                                                                        FT MYERS        FL    33908‐3515
JOSEPH D MUSCOLINO                               CHASE RD                                                                                         FULTON          NY    13069
JOSEPH D NIEDZWIECKI                             6507 W BALDWIN RD                                                                                SWARTZ CREEK    MI    48473‐9104
JOSEPH D NORTHERN                                450 W BYBERRY ROAD #H83                                                                          PHILADELPHIA    PA    19116‐4018
JOSEPH D PARKS                                   1954 FERRY DR                                                                                    MARIETTA        GA    30066‐6251
JOSEPH D PATRICK                                 4536 AUDREY CT                                                                                   MIDDLETOWN      OH    45042
JOSEPH D PERITANO                                9583 DELAWARE RD                                                                                 ANGOLA          NY    14006‐9379
JOSEPH D PESCARA                                 3201 BROWN RD                                                                                    ALBION          NY    14411‐9613
JOSEPH D POTTS                                   2263 WILSON‐SHARPSVILLE RD                                                                       CORTLAND        OH    44410‐9304
JOSEPH D PRATHER                                 3098 W BLOSSOM DR                                                                                BEVERLY HILLS   FL    34465‐4514
JOSEPH D PUHAR                                   CO DELEGEANE                            7115 MARLBOROUGH TER                                     BERKLEY         CA    94705‐1736
JOSEPH D PURCELL                                 11915 WISNER                                                                                     GRANT           MI    49327‐9620
JOSEPH D RAMIREZ                                 348 CORNELL                                                                                      ELYRIA          OH    44035‐6645
JOSEPH D REDENOUR & MRS JEAN REDENOUR JT TEN     1339 GRAND CHAIN RD                                                                              GRAND CHAIN     IL    62941‐2017

JOSEPH D RIGNEY                                  5807 NEEDLELEAF DRIVE                                                                            MILFORD         OH    45150‐6550
JOSEPH D ROSSI                                   4893 N SEDGEWICK                                                                                 LYNDHURST       OH    44124‐1101
JOSEPH D ROYAK                                   505 ST CLAIR AVE                                                                                 CLAIRTON        PA    15025‐1434
JOSEPH D RUSHINSKI                               18 BOWNE STATION RD                                                                              STOCKTON        NJ    08559‐1522
JOSEPH D SACCOMAN & MARGUERITE P SACCOMAN JT     154 MARIUS ST                                                                                    KINGSTON        NY    12401‐5304
TEN
JOSEPH D SANSALONE CUST JOSEPH M SANSALONE       11225 JASMINE HILL CIR                                                                           BOCA RATON      FL    33498
UTMA FL (21)
JOSEPH D SARGENT & NANCY SARGENT JT TEN          1913 WARNER CT                                                                                   TOPEKA          KS    66604‐3266
JOSEPH D SIMPSON                                 26075 COLERIDGE                                                                                  HARRISON        MI    48045‐5509
                                                                                                                                                  TOWNSHIP
JOSEPH D SMITH & SALLY R SMITH JT TEN            15410 WHITE AVE                                                                                  ALLEN PARK      MI    48101
JOSEPH D SPENCER                                 3307 GRANGE HALL RD                     APT 2                                                    HOLLY           MI    48442‐2018
JOSEPH D STRICKLAND                              3514 KNOLLVIEW CT                                                                                DECATUR         GA    30034‐3206
JOSEPH D SWEETKO                                 753 PORTER AV                                                                                    CAMPBELL        OH    44405‐1418
JOSEPH D SZCZEPANSKI                             1097 NOVAK ROAD                                                                                  GRAFTON         OH    44044‐1225
JOSEPH D SZCZEPANSKI                             1589 MIDLAND RD                                                                                  BAY CITY        MI    48706‐9419
JOSEPH D TALBERT                                 PO BOX 292                                                                                       MORRISTOWN      IN    46161‐0292
JOSEPH D TAYLOR                                  23 SAN GABRIEL LN                                                                                PALM COAST      FL    32137‐2293
JOSEPH D TEAFF                                   1937 MITTEN ST                                                                                   DOVER           DE    19901‐6224
JOSEPH D TOBIAS CUST JENNIFER L ULMER UGMA MI    2191 PAINTED POST                                                                                FLUSHING        MI    48433‐2579

JOSEPH D TOBIAS CUST JODI M GRANTHAM UGMA MI     932 LYON                                                                                         FLINT           MI    48503‐1304

JOSEPH D TOBIAS CUST TOBIAS JOS GRANTHAM UGMA    932 LYON                                                                                         FLINT           MI    48503‐1304
MI
JOSEPH D TOLLIVER                                596 SITTON SHOALS ROAD                                                                           SENECA          SC    29678‐5129
JOSEPH D TONKIN JR & PATRICIA A TONKIN JT TEN    602 WINHALL WAY                                                                                  SILVER SPRING   MD    20904‐2069
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 331 of 855
Name                                             Address1                              Address2              Address3         Address4          City            State Zip

JOSEPH D TROILO                                  106 HEATHERLY LANE                                                                             AVONDALE        PA    19311‐9706
JOSEPH D TYREE                                   165 CHEROKEE DR                                                                                MOORESVILLE     NC    28117‐9031
JOSEPH D WARNING & LAURA J WARNING JT TEN        59 SHADY DELL RD                                                                               MILLBROOK       NY    12545‐5561
JOSEPH D WILLIAMS                                PO BOX 484                                                                                     GARDEN CITY     MI    48136‐0484
JOSEPH D WINTER                                  4680 SHERMAN                                                                                   SAGINAW         MI    48604‐1552
JOSEPH D WORLAND                                 473 CALLE DE ORO                                                                               GREEN VALLEY    AZ    85614‐3206
JOSEPH D WORMAN                                  251 N HAMILTON RD                                                                              GAHANNA         OH    43230‐2605
JOSEPH D YUBETA & KIM J YUBETA JT TEN            PO BOX 1471                                                                                    TUBAC           AZ    85646
JOSEPH D ZAREMBSKI                               8481 KENNEDY CIRCLE                   APT U1                                                   WARREN          MI    48093‐2228
JOSEPH DACOSTA                                   4216 PRESTON TRAIL                    MISSISSAUGA ON                         L4W 4H8 CANADA
JOSEPH DALE PINKELTON                            363 TRAILRIDGE                                                                                 MAYFIELD        KY    42066
JOSEPH DAMICO & MARY JANE DAMICO JT TEN          7 PINEWOOD KNOLL                                                                               ROCHESTER       NY    14624‐4755
JOSEPH DANA BRACKINS                             592 ATLANTIC ROAD                                                                              NEW MARKET      TN    37820‐4630
JOSEPH DANGELO CUST TARA JANE DANGELO UGMA NJ    80 COTTAGE PLACE                                                                               RIVERDALE       NJ    07457‐1622

JOSEPH DANIEL MASHECK                            80 LA SALLE ST 2H                                                                              NEW YORK        NY    10027‐4712
JOSEPH DAPONTE                                   19 COOKE ST                                                                                    BRISTOL         RI    02809
JOSEPH DAVID CHRISTIE                            24 ALEXANDER DR                                                                                DANVILLE        KY    40422‐2247
JOSEPH DAVID HOROWITZ                            401 S POINT CT                                                                                 MC DONALD       PA    15057‐2631
JOSEPH DAVID RAIZER                              159‐21 71ST AVE                                                                                FLUSHING        NY    11365‐3062
JOSEPH DAVID SILVAROLI                           916 RIDGE RD                                                                                   LEWISTON        NY    14092‐9703
JOSEPH DAVIS                                     237 N MEYLER ST APT A                                                                          SAN PEDRO       CA    90731‐1967
JOSEPH DAVIS                                     5180 GRANGE HALL RD                                                                            HOLLY           MI    48442‐8708
JOSEPH DE BLASI                                  3 JEFFERSON AVE                                                                                NEW BRUNSWICK   NJ    08901‐1709
JOSEPH DE CARLO                                  35 OHIO AVE                                                                                    GLASSPORT       PA    15045‐1320
JOSEPH DE FEDE                                   65 CLARKSVILLE ST                                                                              GREENVILLE      PA    16125‐2377
JOSEPH DE FILIPPIS                               2785 SOUTHGRIMSBY RD #18 RR #1        SMITHVILLE ON                          L0R 2A0 CANADA
JOSEPH DE LAURENTIS JR                           251 SUMMER HILL RD                                                                             MADISON         CT    06443‐1850
JOSEPH DE LORENZO                                31 ROSS ST                                                                                     CLARK           NJ    07066‐2635
JOSEPH DE MARCO                                  6068 LOCKLIE LN                                                                                CLEVELAND       OH    44143‐1549
JOSEPH DE MARCO & PATRICIA A DE MARCO JT TEN     1220 N RAISINVILLE RD                                                                          MONROE          MI    48162‐9664

JOSEPH DE MARK                                   7236 N SERENOA DR                                                                              SARASOTA        FL    34241‐9272
JOSEPH DEBOARD                                   PO BOX 236                                                                                     CORNELL         IL    61319‐0236
JOSEPH DEFALCO                                   XX CHESTNUTHILL RD                                                                             MAHOPAC         NY    10541
JOSEPH DEFILIPPIS                                1151 MAPLE RD                                                                                  BUFFALO         NY    14221‐3441
JOSEPH DEGIULIO                                  1015 ELLIOTT DR                                                                                LEWISTON        NY    14092‐2057
JOSEPH DEMYERS                                   3809 JERREE ST                                                                                 LANSING         MI    48911‐2639
JOSEPH DENGLER & BONNIE DENGLER TEN ENT          12600 SAGAMORE FOREST LANE                                                                     REISTERSTOWN    MD    21136‐1808
JOSEPH DENNIS                                    1913 BERKLEY AVE                                                                               CINCINNATI      OH    45237‐6117
JOSEPH DENNIS BRACEY CUST JOSEPH DENNIS BRACEY   255 HOWELAND CIR                                                                               DANVILLE        VA    24541‐3765
JR UGMA VA
JOSEPH DERUBEIS                                  20 LEWIS ST                                                                                    LINCOLN          MA   01773‐3816
JOSEPH DI ANGELO                                 22450 BEACH STREET                                                                             ST CLAIR SHRS    MI   48081‐2301
JOSEPH DI LAURO                                  5959 WILSON MILLS RD                                                                           HIGHLAND HEIGHTS OH   44143‐3211

JOSEPH DI PIETRO                                 6 DON LN                                                                                       SELDEN          NY    11784‐1804
JOSEPH DI ZENZO                                  6 MITCHELL PLACE                                                                               PORT CHESTER    NY    10573‐1805
JOSEPH DIETZ                                     859 ALAN DR                                                                                    LAKE ORION      MI    48362‐2805
JOSEPH DIIORIO                                   55 MASSACHUSETTS AVE                                                                           CONGERS         NY    10920‐2411
JOSEPH DINGUS BRYANT                             BOX 550                                                                                        WALLACE         NC    28466‐0550
JOSEPH DITTRICH JR                               18305 INKSTER ROAD                                                                             ROMULUS         MI    48174‐9253
JOSEPH DOMINELLI                                 204 SIR TEDDY WAY                                                                              BEAR            DE    19701‐4902
JOSEPH DOUGLAS KELLIHER                          5 CARDIFF RD                                                                                   NASHUA          NH    03062‐2027
JOSEPH DUFFY                                     143 MATHWAN ROAD                                                                               LAURENCE HRBR   NJ    08879‐2619
JOSEPH DURKEE & ANNA DURKEE JT TEN               1140 ADELINE ST                                                                                TRENTON         NJ    08610‐6407
JOSEPH DWORAK                                    8304 JEFFERSON                                                                                 MUNSTER         IN    46321‐1623
JOSEPH E ACKER JR                                PO BOX 1075                                                                                    STUART          FL    34995‐1075
JOSEPH E ADAMS                                   C/O DORA C ADAMS                      48878 PARK PLACE DR                                      MACOMB          MI    48044‐2241
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 332 of 855
Name                                            Address1                               Address2                Address3       Address4          City            State Zip

JOSEPH E ANDRESKI                               9198 BRISTOL RD                                                                                 DAVISON          MI   48423‐8718
JOSEPH E ASHYK & KATHLEEN R COBB JT TEN         PO BOX 496                                                                                      WANCHESE         NC   27981
JOSEPH E BAKAITIS JR                            7891 ELM                                                                                        TAYLOR           MI   48180‐2263
JOSEPH E BAUMAN                                 320 PARMA CTR ROAD                                                                              HILTON           NY   14468‐9314
JOSEPH E BELL II & ANN D BELL TEN ENT           BOX 362                                                                                         LEONARDTOWN      MD   20650‐0362
JOSEPH E BENDER                                 264 N BROAD ST                                                                                  CANFIELD         OH   44406‐1250
JOSEPH E BENNETT                                9844 EAST SHORE DRIVE                                                                           PORTAGE          MI   49002‐7477
JOSEPH E BENULIS                                60 WATER ST                                                                                     NEW PHILADELPHIA PA   17959‐1041

JOSEPH E BERNARD                                 1522 CONNECTICUT AVE                                                                           MARYSVILLE      MI    48040‐1721
JOSEPH E BORER                                   PO BOX 541                                                                                     EAST AURORA     NY    14052‐0541
JOSEPH E BOURGEOIS                               CARE ONE AT EVESHANE ASSISTED         LIVING 874 EAST RT 70   RM 224                           MARLTON         NJ    08053
JOSEPH E BOVE                                    42 WILLIAM ST                                                                                  SOUTH RIVER     NJ    08882‐1067
JOSEPH E BRADLEY                                 27 BEAVERDALE LN                                                                               WILLINGBORO     NJ    08046‐1611
JOSEPH E BRADY                                   ROUTE 1                                                                                        MASSENA         NY    13662‐9801
JOSEPH E BROCKMAN                                136 TALL PINES RD                                                                              LADSON          SC    29456
JOSEPH E BROWN                                   1‐14109‐10‐3                                                                                   LYONS           OH    43533
JOSEPH E BROWN                                   RTE #1 BOX 1500M                                                                               PINEVILLE       MO    64856‐9734
JOSEPH E CALITRI                                 C/O ANNA D CALITRI                    53 EAST WALNUT ST                                        MILFORD         MA    01757‐3549
JOSEPH E CANTWELL                                28 OAKWOOD PLACE                                                                               DELMAR          NY    12054‐2021
JOSEPH E CARDULLA                                1089 S CREEK DR                                                                                WEBSTER         NY    14580‐9646
JOSEPH E CARNAHAN & MRS PAULINE CARNAHAN JT      1677N‐320TH ST                                                                                 SHERRARD        IL    61281‐8503
TEN
JOSEPH E CATENACCI & MRS PATRICIA CATENACCI JT   6227 WOODBRIDGE                                                                                WASHINGTON      MI    48094‐2217
TEN
JOSEPH E CHAWNER                                 7366 MAPLELEAF BLVD                                                                            COLUMBUS        OH    43235‐4220
JOSEPH E CHUMLEY                                 4726 VALLEY HILL COURT                                                                         LAKELAND        FL    33813‐2279
JOSEPH E CILUFFO & WANDA I CILUFFO JT TEN        862 MARKDALE ST                                                                                LAKE ORION      MI    48362‐3418
JOSEPH E COLEMAN                                 605 SOUTH SIXTH AVENUE                                                                         MT VERNON       NY    10550‐4801
JOSEPH E COMUNALE                                68839 APPLEVIEW DRIVE                                                                          WASHINGTON      MI    48095‐1327
JOSEPH E CONN SR                                 139 RIVERSIDE RD                                                                               ESSEX           MD    21221‐6628
JOSEPH E COUSINEAU                               9610 T PAT RD                                                                                  SPOTSYLVANIA    VA    22553‐5352
JOSEPH E CURLEY                                  45 N UNION ST 2                                                                                SPENCERPORT     NY    14559‐1253
JOSEPH E CUSH JR & MARIAN T CUSH JT TEN          4240 BLEIGH ST                                                                                 PHILADELPHIA    PA    19136‐3913
JOSEPH E DAVIS                                   1932 MCDOUGALL AVE                                                                             EVERETT         WA    98201‐2459
JOSEPH E DAVIS                                   5568 LEWIS AVE                                                                                 BREWERTON       NY    13029‐9675
JOSEPH E DAVIS                                   2680 GLENBAR CT                                                                                COLUMBUS        OH    43219‐3307
JOSEPH E DAY & ROSE U DAY JT TEN                 1917 WELCH                                                                                     HOUSTON         TX    77019‐6197
JOSEPH E DE LISLE & MARY L DE LISLE JT TEN       74 WINDMILL LANE                                                                               ARLINGTON       MA    02474‐1909
JOSEPH E DECASSE                                 91 SEATTLE SLEW DR                                                                             HOWELL          NJ    07731‐3107
JOSEPH E DESTAFNEY                               841 BENGE RD RD2                                                                               HOCKESSIN       DE    19707‐8505
JOSEPH E DIEDRICK                                11636 INDIAN HOLLOW RD                                                                         GRAFTON         OH    44044‐9142
JOSEPH E DILIBERTO & RITA R DILIBERTO JT TEN     328 N OCEAN BLVD                      APT 305                                                  POMPANO BEACH   FL    33062‐5115
JOSEPH E DOUSTOU JR                              617 S SUNSET LN                                                                                RAYMORE         MO    64083‐8499
JOSEPH E DREW                                    20929 STAHELIN                                                                                 SOUTHFIELD      MI    48075‐7155
JOSEPH E DUNN                                    PO BOX 57                                                                                      RED OAK         NC    27868‐0057
JOSEPH E EHRMANN                                 9858 MANDON                                                                                    WHITE LAKE      MI    48386‐2951
JOSEPH E FIGO & EDITH S FIGO JT TEN              6039 MARLOW                                                                                    PORTAGE         MI    49024‐2611
JOSEPH E FINEMAN                                 5601 COACH GATE WYNDE UNIT 21                                                                  LOUISVILLE      KY    40207
JOSEPH E FISCH                                   3310 LITTLE COUNTRY RD                                                                         PARISH          FL    34219‐9010
JOSEPH E FLAHERTY                                16 ROCKWOOD DR                                                                                 WATERFORD       CT    06385‐2114
JOSEPH E FORSYTHE                                1290 FAIR ST SW                                                                                ATLANTA         GA    30314‐2635
JOSEPH E FORT                                    5121 LAVISTA RD                                                                                TUCKER          GA    30084‐3602
JOSEPH E FOSTER                                  891 RIDGEMONT                                                                                  COMMERCE TWP    MI    48382‐3864
JOSEPH E FOSTER & JO ANN FOSTER TR FOSTER JOINT  42236 MENDEL DR                                                                                STERLING HTS    MI    48313‐2582
TRUST UA 04/07/00
JOSEPH E FOX                                     1242 THELMA                                                                                    MT MORRIS       MI    48458‐1724
JOSEPH E FRANKOWSKI & VIOLET A FRANKOWSKI JT TEN 305 LAKE ERIE DRIVE                                                                            MULBERRY        FL    33860‐8552
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 333 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

JOSEPH E FRIDAY                                   2550 JACOB RD                                                                                    CARO               MI    48723
JOSEPH E GANGI                                    97 NORTH TERRACE PLACE                                                                           VALLEY STREAM      NY    11580‐3717
JOSEPH E GLYNN & JEANNE L GLYNN JT TEN            3060 N ATLANTIC AVE #307                                                                         COCOA BEACH        FL    32931‐5046
JOSEPH E GOLDEN                                   6007 TOWNSEND                                                                                    DETROIT            MI    48213‐2472
JOSEPH E GOUIN & GERMAINE M GOUIN JT TEN          91 S BEAR LAKE RD                                                                                MUSKEGON           MI    49445‐2315
JOSEPH E GRAY                                     26308 PIKE 232                                                                                   CLARKSVILLE        MO    63336‐2628
JOSEPH E GREEN                                    233 PLYMOUTH RD                                                                                  WILMINGTON         DE    19803‐3116
JOSEPH E HAMMOND                                  16215 LAPPANS RD                                                                                 WILLIAMSPORT       MD    21795‐4051
JOSEPH E HANYOK                                   10375 AUBURN ROAD                                                                                CHARDON            OH    44024‐8620
JOSEPH E HARTER                                   RURAL ROUTE 1                                                                                    AKRON              IN    46910‐9801
JOSEPH E HATCH                                    38 DOGWOOD                                                                                       WARRENTON          MO    63383‐3216
JOSEPH E HENDRICKSON                              4217 WEXFORD RD                                                                                  INDIANAPOLIS       IN    46226‐3259
JOSEPH E HERRONEN                                 503 MAPLE ST                                                                                     HOLLY              MI    48442‐1638
JOSEPH E HOLMES                                   6506 S KERR ROAD                                                                                 SCOTT              AR    72142‐9035
JOSEPH E HOLTZMAN                                 6813 PRICETOWN RD                                                                                BERLIN CENTER      OH    44401‐9601
JOSEPH E HORNER                                   204 N EUCLID AVE                                                                                 PARKERY            PA    16049‐8744
JOSEPH E HRUSOVSKY                                7494 OHIO STREET                                                                                 MENTOR             OH    44060‐4719
JOSEPH E HUGHES                                   2133 WILLOW BEACH                                                                                KEEGO HARBOR       MI    48320‐1214
JOSEPH E IGNACE & ELLEN JANE IGNACE JT TEN        6049 FREEDOM LANE                                                                                FLINT              MI    48506‐1611
JOSEPH E ISIDORE                                  3406 W 120TH ST                                                                                  CLEVELAND          OH    44111‐3536
JOSEPH E JABLONSKI                                3452 PIPERS GLEN DRIVE                                                                           STERLING HEIGHTS   MI    48310‐1783

JOSEPH E JABLONSKI                                69 RITA ST                                                                                       DAYTON             OH    45404‐2055
JOSEPH E JOYCE & JANET F JOYCE JT TEN             2330 INGLESIDE DRIVE                                                                             GRAND PRAIRIE      TX    75050‐1710
JOSEPH E JURAS                                    1690 W BROOKSIDE DR                                                                              W BRANCH           MI    48661‐9502
JOSEPH E JURKIEWICZ                               2225 GEORGE                                                                                      YPSILANTI          MI    48198‐6677
JOSEPH E KABOT                                    1834 ST CLAIR RIVER DR                                                                           ALGONAC            MI    48001‐1376
JOSEPH E KANSLER & MRS ALICE M KANSLER JT TEN     817 LAPORTE AVE                                                                                  FORT COLLINS       CO    80521‐2520

JOSEPH E KARLICK                                  10141 E 1100 N                                                                                   MARKLEVILLE        IN    46056‐9614
JOSEPH E KARVETSKI                                2555 TITUS AVENUE                                                                                ROCHESTER          NY    14622‐2267
JOSEPH E KECK                                     3595 HOPKINS RD                                                                                  KRUM               TX    76249‐6028
JOSEPH E KELLY & ALICE R KELLY JT TEN             208 ELMWOOD AVENUE                      LINCOLN PARK                                             READING            PA    19609‐2469
JOSEPH E KING                                     29686 SPOON                                                                                      MADISON HEIGHTS    MI    48071‐4437

JOSEPH E KING                                     PO BOX 182                                                                                       STANDARD           IL    61363‐0182
JOSEPH E KINKADE                                  16 FERNWOOD HEIGHTS                                                                              PINEVILLE          KY    40977‐9753
JOSEPH E KIRBY                                    4502 KANAWHA AVE SE                                                                              CHARLESTON         WV    25304
JOSEPH E KIRBY                                    4374 40TH STREET                                                                                 GRANDVILLE         MI    49418‐1712
JOSEPH E KLAUSNER TR UA 02/11/93 JOSEPH E         4676 COLIMA CT                                                                                   ST LOUIS           MO    63128‐2309
KLAUSNER REVOCABLE TRUST
JOSEPH E KOLAR                                    8305 LILLIAN                                                                                     CENTERLINE         MI    48015‐1636
JOSEPH E KOMINDO                                  7420 DONNA                                                                                       WESTLAND           MI    48185‐2419
JOSEPH E KOTULICH                                 110 ROBERTS RD                                                                                   STEWARTSVILLE      NJ    08886‐2401
JOSEPH E KOVACH JR                                1950 GLENWOOD                                                                                    GLENDALE           CA    91201‐1348
JOSEPH E KRASUSKI                                 99 SENECA CREEK RD                                                                               BUFFALO            NY    14224‐2247
JOSEPH E KUBACKA JR                               633 MONACO N                                                                                     DELRAY BEACH       FL    33446‐1954
JOSEPH E KUCHARSKI                                2563 S W GREENWICH WAY                                                                           PAL CITY           FL    34990‐7506
JOSEPH E KURILLA                                  260 STAHL AVE                                                                                    CORTLAND           OH    44410‐1138
JOSEPH E KWOKA                                    123 COOPERS KILL RD                                                                              DELRAN             NJ    08075‐2007
JOSEPH E LA DUKE                                  27146 CAROL LN                                                                                   NEW BOSTON         MI    48164‐9636
JOSEPH E LAFATA                                   2875 OAKWOOD RD                                                                                  ORTONVILLE         MI    48462‐9763
JOSEPH E LAFOREST                                 717 ASH                                                                                          ESSEXVILLE         MI    48732‐1538
JOSEPH E LAURENZO                                 14078 W 130TH PL                                                                                 OLATHE             KS    66062‐6242
JOSEPH E LAVEQUE JR TR UA 12/22/97 JOSEPH E       5861 OLYMPIC PKWY                                                                                WATERFORD          MI    48329‐1546
LAVEQUE JR TRUST
JOSEPH E LAWSON                                   9554 SEAMAN ROAD                                                                                 CURTICE            OH    43412‐9710
JOSEPH E LEGARE                                   21925 MAPLEWOOD                                                                                  SOUTHFIELD         MI    48034‐5943
JOSEPH E LIPSCOMBE III                            9309 GREYWOOD DR                                                                                 MECHANICSVILLE     VA    23116‐6510
                                               09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 334 of 855
Name                                                Address1                                Address2             Address3          Address4          City               State Zip

JOSEPH E LIPSCOMBE III & LINDA S LIPSCOMBE JT TEN   9309 GREYWOOD DR                                                                                 MECHANICSVILLE     VA    23116‐6510

JOSEPH E LUCKETT                                    109 W BRIARCLIFF RD                                                                              BOLINGBROOK        IL    60440‐2813
JOSEPH E LUCKI & JOYCE K LUCKI JT TEN               30 SHERWOOD AVE                                                                                  WHEELING           WV    26003‐5045
JOSEPH E LYDSTON                                    6035 S TRANSIT RD                       LOT 91                                                   LOCKPORT           NY    14094‐6322
JOSEPH E LYNCH                                      2 MAPLE ST                                                                                       MEDFIELD           MA    02052‐2442
JOSEPH E MACAY                                      262 NORLYNN DR                                                                                   HOWELL             MI    48843
JOSEPH E MADDOX JR                                  299 THWAITE LANE                                                                                 WINCHESTER         VA    22603‐3960
JOSEPH E MALCZAN                                    1855 CHESTNUT AVE                                                                                TRENTON            NJ    08611‐2701
JOSEPH E MARKULICZ & ALPHONSE MARKULICZ JT TEN      31919 WINDSOR ST                                                                                 GARDEN CITY        MI    48135‐1765

JOSEPH E MARKULICZ & ANNA MARKULICZ JT TEN      31919 WINDSOR ST                                                                                     GARDEN CITY        MI    48135‐1765
JOSEPH E MARKULICZ & DEBORAH ANN CHESSOR JT TEN 31919 WINDSOR ST                                                                                     GARDEN CITY        MI    48135‐1765

JOSEPH E MARKULICZ & JENNIE I KOSA JT TEN           31919 WINDSOR ST                                                                                 GARDEN CITY        MI    48135‐1765
JOSEPH E MARTIN & TRACY L MARTIN JT TEN             19 WHARTON DR                                                                                    PARKERSBURG        WV    26104
JOSEPH E MATALONE                                   117 EAST COLUMBUS AVE                                                                            NESQUEHONING       PA    18240‐1103
JOSEPH E MATTHEWS                                   3319 22ND ST SE                                                                                  WASHHINGTON        DC    20020‐2002
JOSEPH E MC GURN                                    69 HORNE AVE                                                                                     MEDFORD            MA    02155‐1350
JOSEPH E MC MAHON                                   30 RIDGE PLACE LIONSHEAD LAKE                                                                    WAYNE              NJ    07472
JOSEPH E MERCADO & LINDA J MERCADO JT TEN           985 TILLSON DR                                                                                   ZIONSVILLE         IN    46077‐9472
JOSEPH E MILES & CAROL K MILES JT TEN               4150 VINEWOOD AVE                                                                                INDIANAPOLIS       IN    46254‐2833
JOSEPH E MILLEA & PATRICIA A MILLEA JT TEN          3950 GLEN LILY RD                                                                                BOWLING GREEN      KY    42101‐7827
JOSEPH E MILLER                                     6231 DENHILL AVE                                                                                 BURTON             MI    48519‐1335
JOSEPH E MILLER                                     148 VERONA‐PITTSBURG ROAD                                                                        ARCANUM            OH    45304‐9478
JOSEPH E MILLS                                      5 NEW HILLCREST AVE                                                                              TRENTON            NJ    08638‐3519
JOSEPH E MOORE                                      2517 SELROSE LANE                                                                                SANTA BARBARA      CA    93109‐1862
JOSEPH E MOORE                                      319 S MAIN STREET                                                                                BERLIN             MD    21811
JOSEPH E MORESHEAD JR                               232 WELCH ROAD                                                                                   SOUTHINGTON        CT    06489‐1013
JOSEPH E MORLOCK                                    124 KAPOK CRESCENT                                                                               WEST PALM BCH      FL    33411
JOSEPH E MOSKWA III & NANCY A MOSKWA JT TEN         6955 DRYDEN RD                                                                                   ALMONT             MI    48003‐7901

JOSEPH E MURPHY                                     6727 W BARIVISTA DRIVE                                                                           VERONA             PA    15147‐1954
JOSEPH E MURPHY & ANNA MARIE MURPHY JT TEN          6727 W BARIVISTA DR                                                                              VERONA             PA    15147

JOSEPH E MURZYN                                     115 W CHEVALIER CT                                                                               EIGHTY FOUR        PA    15330‐2693
JOSEPH E NADRATOWSKI                                4663 32ND ST                                                                                     DETROIT            MI    48210‐2540
JOSEPH E NEAL                                       20201 STOUT                                                                                      DETROIT            MI    48219‐1427
JOSEPH E NELSON & ELAINE G NELSON JT TEN            405 MANCHESTER RD                                                                                RIDGEWOOD          NJ    07450‐1212
JOSEPH E O'DONNELL                                  7500 MIKE COURT                                                                                  FT WORTH           TX    76180‐6742
JOSEPH E OLEYAR                                     3253 DUFFIELD RD                                                                                 FLUSHING           MI    48433‐9709
JOSEPH E OLTERZEWSKI                                40 KING ST                                                                                       CLARK              NJ    07066‐1519
JOSEPH E OZUNA                                      3074 CALLE QUEBRACHO                                                                             THOUSAND OAKS      CA    91360‐4514
JOSEPH E PANDL                                      81 S LINWOOD AVE                                                                                 PITTSBURGH         PA    15205‐4526
JOSEPH E PAPELIAN                                   1749 TIMSON LANE                                                                                 BLOOMFIELD HILLS   MI    48302‐2273

JOSEPH E PARKS                                      387 N RIVER RD                                                                                   SAGINAW            MI    48609‐6819
JOSEPH E PATTON                                     40 JAMES AVENUE                                                                                  OLD BRIDGE         NJ    08857‐1241
JOSEPH E PAYTON                                     1712 E 600S                                                                                      JONESBORO          IN    46938‐1539
JOSEPH E PICHARELLA & NANCY A PICHARELLA JT TEN     C/O THE ADVOCACY ALLIANCE               PO BOX 1368                                              SCRANTON           PA    18501‐1368

JOSEPH E PISARSKI                                   1641 ALLEY MILL RD                                                                               CLAYTON            DE    19938‐9739
JOSEPH E PITLUCK                                    7306 W 115TH ST                                                                                  WORTH              IL    60482‐1735
JOSEPH E POST                                       1826 N JEFFERSON ST                                                                              HASTINGS           MI    49058‐3015
JOSEPH E PRICE                                      427 LAKEMONT DR                                                                                  MOORESBURG         TN    37811‐2509
JOSEPH E PRINCE II                                  29 LOST VALLEY DR                                                                                ORINDA             CA    94563‐3909
JOSEPH E REDENBAUGH                                 3249 S 380 E                                                                                     ANDERSON           IN    46017‐9712
JOSEPH E REZNY                                      6159 S NARRAGANSETT                                                                              CHICAGO            IL    60638‐4211
JOSEPH E RIOPELLE                                   4488 ROSETHORN CIRCLE                                                                            BURTON             MI    48509‐1217
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 335 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JOSEPH E RIOPELLE CUST ROBERT P RIOPELLE UGMA MI 3340 CHEYENNE AVENUE                                                                           BURTON            MI    48529‐1409

JOSEPH E RITCHIE & E PHYLLIS RITCHIE JT TEN      400 BARRE ST                                                                                   OGDENSBURG        NY    13669‐1904
JOSEPH E ROBINSON                                1610 CARROLL RD                                                                                PARAGOULD         AR    72450‐6012
JOSEPH E ROH                                     5118 PARK ST                                                                                   JACKSONVILLE      FL    32205‐7220
JOSEPH E ROOT                                    2550 DUNHILL PL                                                                                DAYTON            OH    45420‐3739
JOSEPH E ROSS                                    12795 WELLS LAKE DR                                                                            LE ROY            MI    49655‐8047
JOSEPH E RYAN                                    APT NO 4E                             161 EAST 88TH ST                                         NEW YORK          NY    10028‐1323
JOSEPH E SADLER                                  1741 WEST 26 STREET                                                                            ERIE              PA    16508‐1256
JOSEPH E SANDS                                   110 WATER ST                          #A                                                       SEVILLE           OH    44273‐9787
JOSEPH E SCHAFFER                                11201 N EL MIRAGE RD                  APT 454                                                  EL MIRAGE         AZ    85335‐3104
JOSEPH E SCHRAMM & PATRICIA A SCHRAMM JT TEN     6054 PENNWOOD CT                                                                               BETHEL PARK       PA    15102‐1350

JOSEPH E SCHRAUB & JEAN SCHRAUB JT TEN           455 F D ROOSEVELT DRIVE                                                                        NEW YORK          NY    10002
JOSEPH E SCHROMOFSKY                             122 LOST CREEK DR                                                                              BOARDMAN          OH    44512‐6571
JOSEPH E SEMRAU                                  29528 EIFFEL                                                                                   WARREN            MI    48088‐3639
JOSEPH E SHAW                                    137 WATERMAN ST                                                                                LOCKPORT          NY    14094‐4923
JOSEPH E SKOLNIK                                 9865 VAN BUREN                                                                                 BELLEVILLE        MI    48111‐1443
JOSEPH E SMEGO                                   1555 HOPKINS AVE                                                                               LAKEWOOD          OH    44107‐5038
JOSEPH E SMITH                                   222 E FRANKLIN TURNPIKE                                                                        HO‐HO‐KUS         NJ    07423‐1555
JOSEPH E SPICER JR                               1822 N REDWOOD DR                                                                              INDEPENDENCE      MO    64058‐1570
JOSEPH E SPICER JR & D LAVONNE SPICER JT TEN     1822 N REDWOOD DR                                                                              INDEPENDENCE      MO    64058‐1570
JOSEPH E STAPLETON                               ONE STANDISH CIRCLE                                                                            LITCHFIELD        NH    03052‐2526
JOSEPH E STOERKEL                                111 AVON CT                                                                                    RAVENNA           OH    44266‐2101
JOSEPH E STROUP                                  135 E MERIDAN ST                                                                               ATLANTA           IN    46031‐9208
JOSEPH E SWITRAS                                 307 CENTRAL AVE                                                                                METUCHEN          NJ    08840‐1228
JOSEPH E SZATYNSKI                               9110 CAYUGA DR                                                                                 NIAGRA FALLS      NY    14304‐2690
JOSEPH E TAMASKA                                 4308 BURCHDALE ROAD                                                                            DAYTON            OH    45440‐1433
JOSEPH E THOMAS & DORIS A THOMAS JT TEN          7225 WICKFORD DR                                                                               ALEXANDRIA        VA    22315‐4212
JOSEPH E THOMPSON                                19300 CHAREST                                                                                  DETROIT           MI    48234‐1646
JOSEPH E THOMPSON                                12190 WINDCLIFF RD LEDGEWOOD                                                                   STRONGSVILLE      OH    44136‐3556
JOSEPH E TIPTON JR                               3610 W 8TH ST RD                                                                               ANDERSON          IN    46011‐9171
JOSEPH E TOMAN & MRS NANCY L TOMAN JT TEN        3720 WATAUGA DR                                                                                GREENSBORO        NC    27410‐4622
JOSEPH E TOMCZAK                                 PO BOX 64                             411 BENJAMIN                                             LINWOOD           MI    48634‐0064
JOSEPH E TRAMMELL JR                             PO BOX 773                                                                                     PINE KNOT         KY    42635‐0773
JOSEPH E TREGONING                               3122 GRAND VIEW BLVD                                                                           MADISON           WI    53713‐3438
JOSEPH E TROTZ                                   1127 E DOMINICK ST                                                                             ROME              NY    13440‐6109
JOSEPH E TURPIN                                  APT 7                                 11 MEADOW LANE                                           BRIDGEWATER       MA    02324‐1886
JOSEPH E TUSCHER                                 1418 KETTERING AVE                                                                             BURTON            MI    48509‐2406
JOSEPH E TYRRELL CUST PATRICK JOSEPH TYRRELL     4269 GREENLAKE RD                                                                              WEST BLOOMFIELD   MI    48323‐1140
UGMA MI
JOSEPH E USHER                                   PO BOX 542                                                                                     MIDDLEFIELD       OH    44062‐0542
JOSEPH E VALLI & MARGARET COLLEEN VALLI JT TEN   1224 BUCK                                                                                      RICHMOND HTS      MO    63117‐1323

JOSEPH E VEDERA                                  294 EAST ROAD                                                                                  BRISTOL           CT    06010‐6838
JOSEPH E VEDERA & GRACE D VEDERA JT TEN          294 EAST RD                                                                                    BRISTOL           CT    06010‐6838
JOSEPH E VERTOLLI JR                             2034 WHEATON AVE                                                                               MILLUILLE         NJ    08332‐1424
JOSEPH E VIROSTEK                                3925 NEWTON FALLS RD                                                                           DIAMOND           OH    44412‐9624
JOSEPH E VITRANO                                 3630 HWY 431                                                                                   COLUMBIA          TN    38401‐7536
JOSEPH E VOLKERT CUST KYLE CROSTHWAITE UTMA OH   11435 CAPTIVA KAY DRIVE                                                                        RIVERVIEW         FL    33569

JOSEPH E WADLEIGH JR                             28 TANGLEWOOD DRIVE                                                                            NEWTON            NH    03858‐3616
JOSEPH E WAILES                                  5682 S ESTES WAY                                                                               LITTLETON         CO    80123‐2321
JOSEPH E WALLS                                   4824 RICHARDSON ROAD                                                                           HOWELL            MI    48843‐7412
JOSEPH E WALSH                                   346 OAKDALE DR                                                                                 ROCHESTER         NY    14618‐1130
JOSEPH E WHETSEL JR                              544 S SOMERSET AVE                                                                             INDIANAPOLIS      IN    46241‐1616
JOSEPH E WHITE III                               111 MEADOWBROOK                                                                                PALESTINE         TX    75803‐8581
JOSEPH E WIDECAN                                 1535 E 294 ST                                                                                  WICKLIFFE         OH    44092‐1918
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 336 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JOSEPH E WINTERS & ANGELA IRENE WINTERS JT TEN    1308 PINE                                                                                       ESSEXVILLE        MI    48732‐1442

JOSEPH E WOLL & MRS GLORIA T WOLL TEN COM         4909 CASTAING                                                                                   METAIRIE          LA    70006‐1018
JOSEPH E WYLIE                                    12143 N MAGNETIC ACRES ST                                                                       MOORESVILLE       IN    46158‐6580
JOSEPH E YAKICH                                   2441 ROYALWOOD RD                                                                               BROADVIEW HTS     OH    44147‐1752
JOSEPH E YOUREK                                   2700 MITCHELL DR                                                                                WOODRIDGE         IL    60517‐1557
JOSEPH E YOUREK & MRS LORETTA R YOUREK JT TEN     2700 MITCHELL DR                                                                                WOODRIDGE         IL    60517‐1557

JOSEPH E ZIEMBA & DOROTHY A ZIEMBA JT TEN         1200 TULIP LN                                                                                   MUNSTER           IN    46321‐3025
JOSEPH E ZIMMERMANN                               6024 W MELROSE STREET                                                                           CHICAGO           IL    60634‐4205
JOSEPH E ZYSEK                                    11KENT ST                                                                                       PLAINVILLE        CT    06062‐2314
JOSEPH EARL OTTO II                               7595 SHEILA DR                                                                                  BROWNSBURG        IN    46112‐8414
JOSEPH ECKL                                       45 DOCK LANE                                                                                    WANTAGH           NY    11793‐1813
JOSEPH ECKL & ROSEMARIE T ECKL JT TEN             5010 HILLSIDE RD                                                                                INDEPENDENCE      OH    44131‐4609
JOSEPH EDWARD BLANDINO                            15132 ZILLA ST NW                                                                               ANDOVER           MN    55304‐8475
JOSEPH EDWARD CARBONELL IV                        BOX 3926                                                                                        GREENVILLE        DE    19807‐0926
JOSEPH EDWARD LASHOMB                             822 MORRIS ST                                                                                   OGDENSBURG        NY    13669‐3445
JOSEPH EDWARD LEONE                               611 WESTON DR                                                                                   TOMS RIVER        NJ    08755‐3249
JOSEPH EDWARD MURPHY                              2763 ODELL HWY                                                                                  HOOD RIVER        OR    97031‐9449
JOSEPH EDWARDS                                    C/O MS BEVERLY MAYO                    GUARDIAN ROUTE 30    PO BOX 304                          BOMOSEEN          VT    05732‐0304
JOSEPH EDWIN ASHLEY                               6709 E HICKORY LN                                                                               MUNCIE            IN    47303‐4584
JOSEPH ELEBESUNU                                  7227 CEDAR FOREST DR                                                                            DOUGLASVILLE      GA    30134‐1065
JOSEPH ELIAS GUTMAN                               BOX 807                                                                                         SANTA MONICA      CA    90406‐0807
JOSEPH ELLSWORTH SWITRAS & ANN ELIZABETH          828 ALBION AVE                                                                                  FAIRMONT          MN    56031‐3001
SWITRAS JT TEN
JOSEPH ELSINGER                                   2535 MANITOU ISLAND                                                                             WHITE BEAR LAKE   MN    55110‐3901
JOSEPH ELYKO                                      8620 WARD NORTH RD                                                                              KINSMAN           OH    44428‐9536
JOSEPH ENLOW                                      5727 MISTY RIDGE DR                                                                             INDIANAPOLIS      IN    46237‐2741
JOSEPH ENOMOTO & MRS FLORENCE ENOMOTO JT TEN      13516 MOORE ST                                                                                  CERRITOS          CA    90703‐2309

JOSEPH ETTENBERG                                 41077 VILLAGE 41                                                                                 CAMARILLO         CA    93012‐5684
JOSEPH EUGENE GAULTNEY                           4252 MEADOW LARK DR                                                                              FLINT             MI    48532‐4341
JOSEPH EUGENE KLEES                              2810 S SHORE DR                                                                                  CRYSTAL           MI    48818‐9722
JOSEPH EUGENE MACIEJEWSKI                        850 CREEKSIDE DR                                                                                 TONAWANDA         NY    14150‐1310
JOSEPH EVANS                                     535 GILMORE STAGE RD                                                                             ORANGE CITY       FL    32763‐6645
JOSEPH EVANS & EILEEN C EVANS JT TEN             19614 RUNNYMEDE ST                                                                               RESEDA            CA    91335‐2440
JOSEPH EVANS & EILEEN C EVANS TR EVANS FAM TRUST 19614 RUNNYMEDE ST                                                                               RESEDA            CA    91335‐2440
UA 06/12/91
JOSEPH F ABELY & ANN T ABELY JT TEN              35 CRAWMORE RD                                                                                   WELLESLEY HILLS   MA    02481‐1312
JOSEPH F ANGORA                                  5255 ELGIN CIR                                                                                   LAS VEGAS         NV    89122‐7139
JOSEPH F BADER                                   1103 SILVERLEAF OAK CT                                                                           PALM BCH GDNS     FL    33410‐4480
JOSEPH F BAILOR JR                               3453 LOGAN VIEW DR                                                                               BALTIMORE         MD    21222‐5950
JOSEPH F BALDACCHINO & SARAH E BALDACCHINO JT    600 E MAIN ST EXT                                                                                EMITSBURG         MD    21727‐9165
TEN
JOSEPH F BARTOUL                                 10663 STAPLETON DR                                                                               STRONGSVILLE      OH    44136‐8800
JOSEPH F BASIL JR CUST DAVID EDWARD BASIL UGMA   8851 FEDDICK RD                                                                                  HAMBURG           NY    14075‐7042
NY
JOSEPH F BASIL JR CUST KATHERINE R BASIL UGMA NY 8851 FEDDICK RD                                                                                  HAMBURG           NY    14075‐7042

JOSEPH F BASIL JR CUST LAURA BETH BASIL UGMA NY   8851 FEDDICK RD                                                                                 HAMBURG           NY    14075‐7042

JOSEPH F BELMONTI                                 7254 RAY RD                                                                                     SWARTZ CREEK      MI    48473‐9123
JOSEPH F BENEDETTI JR                             700 LA PENINSULA BLVD                  APT 405                                                  NAPLES            FL    34113‐4040
JOSEPH F BENJAMIN                                 4310 ADELINE ST                                                                                 EMERYVILLE        CA    94608‐3305
JOSEPH F BERDAR SR & MRS ANGELA R BERDAR JT TEN   10 CONESTOGA DRIVE                                                                              SLINGERLAND       NY    12159‐9429

JOSEPH F BLADEK                                   345 BURLINGTON CRESCENT                LONDON ON                              N5Z 3G8 CANADA
JOSEPH F BLUM                                     34900 MEADOWLARK LANE                                                                           RICHMOND          MI    48062‐1841
JOSEPH F BRADFORD JR                              113 E 6TH STREET                                                                                MATTHEWS          IN    46957
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 337 of 855
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH F BROWN & JAMES R BROWN JT TEN             1843 NORTH STILES STREET                                                                        LINDEN           NJ    07036‐5430
JOSEPH F BULLOCK                                  3912 HUNTINGTON AVE                                                                             LATONIA          KY    41015‐1646
JOSEPH F BURNS                                    6 SCOTT CRESCENT DR                                                                             SCOTTSVILLE      NY    14546‐1209
JOSEPH F BUSSARD                                  36650 ROMULUS AVENUE                                                                            ROMULUS          MI    48174‐3912
JOSEPH F BUTLER                                   3645 VERNON AVE                                                                                 BROOKFIELD       IL    60513‐1613
JOSEPH F C DOWNEY                                 5337 E EVANS DR                                                                                 SCOTTSDALE       AZ    85254‐2909
JOSEPH F CAFFREY TR JOSEPH F CAFFREY TRUST UA     14 PARKHURST DR                                                                                 NASHUA           NH    03062‐1366
11/28/94
JOSEPH F CASEY                                    1 KINGS WAY                                                                                     SCITUATE         MA    02066‐2609
JOSEPH F CASSIN                                   150 N LYNNWOOD AVE                                                                              GLENSIDE         PA    19038‐4102
JOSEPH F CAVANAUGH III                            PO BOX 2506                                                                                     MASHPEE          MA    02649‐8491
JOSEPH F CHABICA JR                               5625 5TH ST CT W                                                                                BRADENTON        FL    34207‐3852
JOSEPH F CIOFFI                                   30 SYLVAN AVE                                                                                   ENGLEWOOD CLIFFS NJ    07632

JOSEPH F CISOWSKI                                 16 CAROL LN                                                                                     QUARRYVILLE      PA    17566‐9318
JOSEPH F COLLINS                                  2311 SILVAN LA RR 3                                                                             MILTON           WI    53563‐9469
JOSEPH F CONOLLY TR CONNOLLY FAM TRUST C UA       BOX 1030                                                                                        ST HELENA        CA    94574‐0530
10/13/83
JOSEPH F CONOLLY TR UA CONOLLY FAMILY TRUST B     PO BOX 1030                                                                                     SAINT HELENA     CA    94574‐0530
10/13/83
JOSEPH F COURY & MRS DOROTHY W COURY JT TEN       10475 QUINCE RD                                                                                 PLYMOUTH         IN    46563‐9459

JOSEPH F CROWLEY                                  76 W RUTLAND SQ APT 304                                                                         BOSTON           MA    02118
JOSEPH F CUNNEEN & ALICE E CUNNEEN JT TEN         116 BEACH 221ST ST                                                                              ROCKAWAY POINT   NY    11697‐1524

JOSEPH F DAVIS                                    PO BOX 270                                                                                      EDMONTON         KY    42129‐0270
JOSEPH F DAVIS & LUCINDA B DAVIS JT TEN           8330 MEADOW RD                                                                                  WARRENTON        VA    20186‐7425
JOSEPH F DE MARCO                                 112 INN CIRCLE                                                                                  FOUNTAIN INN     SC    29644‐1923
JOSEPH F DEPOWSKI & ELEANOR R DEPOWSKI JT TEN     7492 MEMORIAL                                                                                   DETROIT          MI    48228‐3521

JOSEPH F DI TROLIO                                516 N EAGLE ROAD                                                                                HAVERTOWN        PA    19083‐2025
JOSEPH F DION JR                                  29 DARTMOUTH RD                                                                                 WALPOLE          MA    02081‐1727
JOSEPH F DION JR & EDITH A DION JT TEN            29 DARTMOUTH RD                                                                                 WALPOLE          MA    02081‐1727
JOSEPH F DUBLIN                                   10277 FAXON CT                                                                                  CINCINNATI       OH    45215‐1006
JOSEPH F DUNNABECK JR                             21900 DUNNABECK CT                                                                              NOVI             MI    48374‐3883
JOSEPH F ELIAS                                    5725 CURTICE RD                                                                                 MASON            MI    48854‐9734
JOSEPH F ERDELY                                   15 TRACY DR                                                                                     SKANEATELES      NY    13152‐8918
JOSEPH F ETHERIDGE                                11085 LYTLE ROAD                                                                                LENNON           MI    48449‐9620
JOSEPH F EVERETT SR CUST JOSEPH F EVERETT JR UGMA 1835 W LOLA DR                                                                                  MARION           IN    46952‐8659
IN
JOSEPH F FABIAN                                   1754 OLD FORGE RD                                                                               NILES            OH    44446‐3222
JOSEPH F FARKAS & PHYLLIS K FARKAS TEN COM        14375 E 638 HWY                                                                                 PRESQUE ISLE     MI    49777
JOSEPH F FESSLER & TAMMY FESSLER JT TEN           390 RIVERWAY COURT                                                                              VERO BEACH       FL    32963
JOSEPH F FIKTARZ                                  10761 MAGNOLIA AV 103                                                                           ANAHEIM          CA    92804‐6264
JOSEPH F FLINTER 3RD                              416 CENTRAL AVE                                                                                 SCARSDALE        NY    10583‐1017
JOSEPH F FLISAK                                   14 JAMES AVE                                                                                    CLARK            NJ    07066‐1213
JOSEPH F FLITT                                    37 HUNT                                                                                         BUFFALO          NY    14207‐2142
JOSEPH F FONTANA                                  75 STOUGHTON RD                                                                                 DEDHAM           MA    02026‐5231
JOSEPH F FRANCO & RONALD J FRANCO JT TEN          610 26TH ST                                                                                     SANTA MONICA     CA    90402
JOSEPH F GALAMBOS                                 325 SOUTHEAST AVE                                                                               TALLMADGE        OH    44278‐2333
JOSEPH F GALGOCZY CUST MICHAEL PLONSKI UTMA OH 14613 BEICHWOOD AVE                                                                                CLEVELAND        OH    44111‐1317

JOSEPH F GENOVARIO                                421 COLUMBUS AVE                                                                                TRENTON          NJ    08629‐2706
JOSEPH F GERKE                                    2420 GRISTMILL ROAD                                                                             LITTLE ROCK      AR    72227
JOSEPH F GERVAIS                                  8534 W 132ND PLACE                                                                              PALOS PARK       IL    60464
JOSEPH F GIOVANNETTONE                            PO BOX 132                                                                                      FLORENCE         SD    57235
JOSEPH F GIUNTO                                   1359‐86TH STREET                                                                                BROOKLYN         NY    11228‐3313
JOSEPH F GIUNTO & THERESA J GIUNTO JT TEN         1359 86TH ST                                                                                    BROOKLYN         NY    11228‐3313
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 338 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JOSEPH F GIUNTO CUST FRANK JOHN JOSEPH GIUNTO     1359 86TH ST                                                                                    BROOKLYN          NY    11228‐3313
UGMA NY
JOSEPH F GOODNER & BETTY L GOODNER JT TEN         4019 BELVOIR PINES                                                                              EAST RIDGE        TN    37412‐2019
JOSEPH F GUNNELLS JR                              1486 JUNIPER CREEK RD                                                                           OLAR              SC    29843‐9752
JOSEPH F HAGERTY                                  735 SABALO DRIVE                                                                                ATLANTIC BEACH    FL    32233‐3908
JOSEPH F HAMERNIK                                 6035 NEBRASKA AVENUE                                                                            TOLEDO            OH    43615‐4915
JOSEPH F HANLEY JR                                5112 MANTLE COURT                                                                               GLEN ALLEN        VA    23060‐6285
JOSEPH F HICKS CUST CHARLES J HICKS UTMA‐OH       19124 W DARBY RD                                                                                MARYSVILLE        OH    43040‐8821
JOSEPH F HILL                                     204 ROBIN HILL ROAD                                                                             WILLIAMSVILLE     NY    14221‐1546
JOSEPH F HOFF                                     2543 POLE LANE RD                                                                               MARION            OH    43302‐8564
JOSEPH F JAKUB                                    800 MEMORIAL CIRCLE                                                                             BOWLING GREEN     KY    42104‐6506
JOSEPH F JEANNETTE                                168 STEPHENS ROAD                                                                               GROSSE POINT      MI    48236‐3540
                                                                                                                                                  FARMS
JOSEPH F KAHMANN                                  2888 MCBRYDE AVE                                                                                RICHMOND          CA    94804‐1247
JOSEPH F KAVESKY                                  3687 NEWTON‐TOMLINSON RD                                                                        WARREN            OH    44481‐9217
JOSEPH F KEATING                                  70 PERRY PL                                                                                     BRONXVILLE        NY    10708‐1114
JOSEPH F KEATING CUST RACHEL MARIE D'AMBROSIO     115 GRANDVIEW BLVD                                                                              YONKERS           NY    10710‐2528

JOSEPH F KINSLEY & KATHERINE C KINSLEY JT TEN     13810 MARINE DR                                                                                 ORLANDO           FL    32832‐6506
JOSEPH F KOBULSKY                                 1032 CONWAY COURT                                                                               WARWICK           PA    18974‐6167
JOSEPH F KOTEY SR TR KOTEY FAMILY TRUST B UA      LAKEVIEW ESTATES                       786 TIMBERVIEW DR                                        FINDLAY           OH    45840‐8634
2/27/99
JOSEPH F KRUGER                                   6433 E SENECA TPKE                                                                              JAMESVILLE        NY    13078‐9506
JOSEPH F KRUYER                                   10413 BENTTREE LN                      FT WAYNE                                                 FORT WAYNE        IN    46804
JOSEPH F KULCZYNSKI & SHARON L KULCZYSKI JT TEN   5823 LYTLE RD                                                                                   WHITE MARSH       MD    21162

JOSEPH F KULESZA SR                               28863 IRONWOOD DR                                                                               WARREN            MI    48093‐2669
JOSEPH F LARKIN                                   4300 TRENTON LANE N #313                                                                        PLYMOUTH          MN    55442‐2842
JOSEPH F LEMANSKI                                 4005 FOREST DR                                                                                  ALIQUIPPA         PA    15001‐4743
JOSEPH F M PARKERMEGE                             33 BLANCHARD RD                                                                                 EASTON            CT    06612‐1903
JOSEPH F MAGGIONCALDA                             31437 BALMORAL AVE                                                                              GARDEN CITY       MI    48135‐1702
JOSEPH F MALISZEWSKI                              4210 N MICHIGAN                                                                                 SAGINAW           MI    48604‐1647
JOSEPH F MANZA                                    204 WOOD CREEK CT                                                                               NAPERVILLE        IL    60565‐4149
JOSEPH F MARCELLINO JR & HILDA F MARCELLINO JT    136 QUAIL RUN                                                                                   SMITHFIELD        NC    27577‐9406
TEN
JOSEPH F MARTIN JR                                1938 WAREHAM RD                                                                                 BALTIMORE         MD    21222‐4626
JOSEPH F MAURIELLO                                8 HARRINGTON TER                                                                                WEST ORANGE       NJ    07052‐3513
JOSEPH F MC DONOUGH                               1000 W SADDLE RIVER RD                                                                          HO HO KUS         NJ    07423‐1210
JOSEPH F MCBRIDE JR                               966 SCOTCHTOWN COLLABAR RD                                                                      MIDDLETOWN        NY    10941‐5012
JOSEPH F MCCARTHY                                 1029 S THOMPSON                                                                                 JACKSON           MI    49203‐2848
JOSEPH F MCGUIN                                   7325 NORTHWAY DR                                                                                HANOVER PARK      IL    60133‐2736
JOSEPH F MCHUGH JR                                255 MITCHELL RD                                                                                 CAPE ELIZABETH    ME    04107‐1253
JOSEPH F MEYERS                                   8920 ROLL ROAD                                                                                  CLARENCE CENTER   NY    14032‐9142

JOSEPH F MICHAEL                                  4725 PREEMPTION RD                                                                              ROCK STREAM       NY    14878‐9653
JOSEPH F MIGNONE & HILDA L MIGNONE JT TEN         30385 CHANNEL WAY DR                                                                            CANYON LAKE       CA    92587‐7987
JOSEPH F MIGNONE CUST KRISTEN M MIGNONE UGMA      30385 CHANNEL WAY DR                                                                            CANYON LAKE       CA    92587‐7987
CA
JOSEPH F MIGNONE CUST PAUL J MIGNONE UGMA CA      30385 CHANNEL WAY DR                                                                            CANYON LAKE       CA    92587‐7987

JOSEPH F MORELLA                               422 GOLF VIEW DRIVE                                                                                LTL EGG HBR       NJ    08087
JOSEPH F MYER                                  6 FAIRWAY DRIVE                                                                                    ALEXANDRIA        IN    46001‐2812
JOSEPH F NOLAN & HELEN T NOLAN JT TEN          5722 34TH NE                                                                                       SEATTLE           WA    98105‐2323
JOSEPH F NORTHROP                              8400 LAGOS DECAMPO BLVD BLDG 1            108                                                      TAMARAC           FL    33321‐3701
JOSEPH F NOTHHELFER                            170 WESTDALE DR                                                                                    HOWELL            MI    48843‐8607
JOSEPH F O'NEILL & IRENE A O'NEILL JT TEN      702 SEAHORSE RD                                                                                    FRIPP ISLAND      SC    29920‐7370
JOSEPH F OCONNOR TR JOSEPH F OCONNOR REVOCABLE 1 NORTH WACKER DRIVE                      SUITE 4600                                               CHICAGO           IL    60606‐2807
TRUSTUA 10/15/01
JOSEPH F ONEILL                                9035 DUNMORE                                                                                       DALLAS            TX    75231‐4007
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 339 of 855
Name                                               Address1                               Address2                   Address3    Address4          City             State Zip

JOSEPH F OSTER                                     33 HUXLEY WAY                                                                                   FAIRPORT         NY    14450‐3335
JOSEPH F PAYEZ                                     302 ARBOR BLUFF COVE                                                                            SUFFOLK          VA    23434‐1529
JOSEPH F PECK                                      4712 BALI DR                                                                                    AKRON            OH    44319‐4404
JOSEPH F PELON                                     2110 EAST CURTIS                                                                                BIRCH RUN        MI    48415‐8905
JOSEPH F PEMBROKE JR                               46801 N VALLEY DRIVE                                                                            NORTHVILLE       MI    48167‐1792
JOSEPH F PEMBROKE JR & MARY PEMBROKE JT TEN        46801 NORTH VALLEY DR                                                                           NORTHVILLE       MI    48167‐1792

JOSEPH F PIERSEN                                   1343 KNOLLWOOD RD                                                                               DEERFIELD        IL    60015‐2330
JOSEPH F PINARCHICK                                PO BOX 701                                                                                      LITTLETON        CO    80160‐0701
JOSEPH F PLISH                                     9223 MORRISON                                                                                   PLYMOUTH         MI    48170‐4125
JOSEPH F PLUMMER                                   230 E MARKET ST                                                                                 LAUREL           DE    19956‐1535
JOSEPH F PLUMMER SR                                7766N CO RD 500E                                                                                PITTSBORO        IN    46167‐9236
JOSEPH F PRALL TR UA 12/22/92 THE JOSEPH F PRALL   20 CLEVERLY ST                         APT A4                                                   ABINGTON         MA    02351‐1752
LIVING TRUST
JOSEPH F RAWLEY & MRS BERNADETTE M RAWLEY JT       108 REGINA AVE RD‐1                                                                             STANHOPE         NJ    07874‐2256
TEN
JOSEPH F REBER                                     223 E 2ND ST                                                                                    FOND DU LAC      WI    54935‐4442
JOSEPH F REHIEL                                    P O 19503                                                                                       PHILADELPHIA     PA    19124‐0003
JOSEPH F REHILL                                    8 CURVE ST                                                                                      NATICK           MA    01760
JOSEPH F ROACH                                     142 WINDY HILL LN                      KEARNEYSVILLE W VIRGINIA                                 KEARNEYSVILLE    WV    25430
JOSEPH F ROBERTS & ANITA F ROBERTS JT TEN          18 BELAIR DR                                                                                    SLOVAN           PA    15078
JOSEPH F ROBERTS & MRS ANITA F ROBERTS TEN ENT     18 BLAIR DRIVE                                                                                  SLOVAN           PA    15078

JOSEPH F ROGERS                                    3328 CEDAR CHURCH RD                                                                            DARLINGTON        MD   21034‐1304
JOSEPH F SARBELL                                   PO BOX 385                                                                                      SEAMAN            OH   45679‐0385
JOSEPH F SCHLENDER CUST ELIZABETH A SCHLENDER      1021 FLORIDA LANE                                                                               ELK GROVE VILLAGE IL   60007‐2927
UTMA IL
JOSEPH F SEDLAR JR                                 1001 VOLKMER RD                                                                                 CHESANING        MI    48616‐8450
JOSEPH F SERRA & MRS VERONICA M SERRA JT TEN       2217 WINDING WAY DRIVE                                                                          DAVISON          MI    48423‐2042

JOSEPH F SHANNON JR & LINDA SHANNON JT TEN         1873 GRANT 56                                                                                   SHERIDAN         AR    72150‐8329
JOSEPH F SHERIDAN & SHANNON PSOMAS SHEIDAN JT 834 LOADSTONE COURT                                                                                  ROHNERT PARK     CA    94928
TEN
JOSEPH F SHILLAIR                                  972 S FARLEY RD                                                                                 MUNGER           MI    48747‐9712
JOSEPH F SHURYAN JR TR JOSEPH F SHURYAN JR REV LIV PO BOX 2724                                                                                     HELENDALE        CA    92342‐2724
TRUST UA 11/02/01
JOSEPH F SICKLER                                   1103 ASPEN DR                                                                                   PLAINSBORO       NJ    08536‐3610
JOSEPH F SKRAITZ & NORMA B SKRAITZ JT TEN          652 SUNSET AVE                                                                                  BELLE VERNON     PA    15012‐4702
JOSEPH F SMITH                                     4322 N RITTER AVENUE                                                                            INDIANAPOLIS     IN    46226‐3364
JOSEPH F SOUZA                                     20 WARWICK ST                                                                                   SOMERVILLE       MA    02145‐3510
JOSEPH F SOVIS                                     3295 E WILKINSON RD                                                                             OWOSSO           MI    48867‐9623
JOSEPH F STEFANS & JOAN M STEFANS TEN COM          144 MOUNTAIN AVE                                                                                SUMMIT           NJ    07901‐3454
JOSEPH F STERK                                     396 DIVOT DR                                                                                    WILLOWICK        OH    44095‐4704
JOSEPH F STEURI                                    3927 COUNTY ROAD T                                                                              BRODHEAD         WI    53520‐9703
JOSEPH F STOPA                                     9340 FAIRHOPE AVE                                                                               FAIRHOPE         AL    36532‐4208
JOSEPH F STRAUSS                                   410 S SHIAWASSEE                                                                                CORUNNA          MI    48817‐1644
JOSEPH F STRUNA                                    19515 MOHAWK                                                                                    CLEVELAND        OH    44119‐2205
JOSEPH F SULLIVAN & JACQUELINE T SULLIVAN JT TEN   11 PINEWOOD AVE                                                                                 CARNEYS POINT    NJ    08069‐2816

JOSEPH F SUMPERER JR                               5029 PHEASANT DR                                                                                THOMSON          IL    61285‐7612
JOSEPH F SURRA                                     WESTCHESTER PARK APARTMENTS            55 RALSTON AVE.            APT 403                       KENMORE          NY    14217
JOSEPH F SURRA & MARY JANE SURRA JT TEN            APT 4                                  1990 DELAWARE AVENUE                                     BUFFALO          NY    14216‐3532
JOSEPH F SWEENEY                                   789 BRUSH HILL RD                                                                               MILTON           MA    02186‐1206
JOSEPH F SZABELSKI                                 46247 COMMUNITY CTR DR                                                                          CHESTERFIELD     MI    48047‐5201
JOSEPH F TATTERSALL                                2431 OCEANIC DRIVE                                                                              FAIRFIELD        CA    94533‐1641
JOSEPH F THIEL                                     20059 ARCADIA BLD 637                                                                           CLINTON TWP      MI    48036‐4421
JOSEPH F THOMAS                                    10 EVERGREEN DR                                                                                 SYOSSET          NY    11791‐4203
JOSEPH F THOMPSON & SHIRLEY THOMPSON JT TEN        8300 CANYON FERRY RD                                                                            HELENA           MT    59602‐8521
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 340 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

JOSEPH F TORTORICI                                965 BRIDGESTONE                                                                                ROCHESTER HILLS    MI    48309‐1621
JOSEPH F TOTH                                     1091 CRESTWOOD DR                                                                              MANSFIELD          OH    44905‐1625
JOSEPH F TOTH & BRIAN F TOTH JT TEN               33500 GERTRUDE                                                                                 WAYNE              MI    48184‐1827
JOSEPH F VALERIO JR                               620 JAMIE CIR                                                                                  KNG OF PRUSSA      PA    19406‐1976
JOSEPH F WALLACE                                  PO BOX 685                                                                                     WEST COVINA        CA    91793‐0685
JOSEPH F WALSH                                    10140 PENNY MIX ROAD                                                                           CAMDEN             NY    13316‐4616
JOSEPH F WARD                                     2927 KENSINGTON AVE                                                                            WESCHESTER         IL    60154‐5134
JOSEPH F WEIGMAN SR                               3722 GREENVALE ROAD                                                                            BALTIMORE          MD    21229‐5146
JOSEPH F WESBECHER                                2500 N KUTHER RD                      APT 317                                                  SIDNEY             OH    45365‐9335
JOSEPH F WIERZBA & THERESA H WIERZBA JT TEN       207 WILLETT STREET                                                                             BUFFALO            NY    14206‐3545
JOSEPH F WINTER JR                                55 NORTH 7TH ST                                                                                BREESE             IL    62230‐1243
JOSEPH F YABLONSKI                                19500 HARMON                                                                                   MELVINDALE         MI    48122‐1608
JOSEPH F YOVICH & SHARON G YOVICH JT TEN          1609 BEAUFORT ST                                                                               LARAMIE            WY    82072‐1932
JOSEPH F ZEITLER CUST RICHARD A ZEITLER UGMA NY   3709 MORRIS RD                                                                                 SHERMAN            NY    14781‐9769

JOSEPH F ZOLTANSKI                                1102 DEUTZ AVE                                                                                 TRENTON            NJ    08611‐3240
JOSEPH F ZWILLING & SHIRLEY M ZWILLING JT TEN     5282 E 117 ST                                                                                  GARFIELD HTS       OH    44125‐2805

JOSEPH FAHEY                                      6100 W STATE ST                       APT 413                                                  MILWAUKEE          WI    53213‐2994
JOSEPH FANCERA & MRS MARIE FANCERA JT TEN         829 TILLER DR                                                                                  FORKED RIVER       NJ    08731‐3013
JOSEPH FANCERA JR                                 46 GRIDLEY CIRCLE                                                                              MILLFORD           NJ    08848‐1609
JOSEPH FANELLE                                    331 FIFTH AVE                                                                                  BELLMAWR           NJ    08031‐1324
JOSEPH FARINA & NICHOLE FARINA & MICHAEL FARINA   1 LESLIE ANN CT                                                                                DENVILLE           NJ    07834‐3806
JT TEN
JOSEPH FARRELL                                    62701 GEORGETOWN                                                                               CAMBRIDGE          OH    43725‐8634
JOSEPH FASKA CUST DAVID FASKA UGMA NY             140‐26 69TH AVE                                                                                FLUSHING           NY    11367‐1637
JOSEPH FECHIK                                     4165 MAPLEWOOD MEADOWS AVE                                                                     GRAND BLANC        MI    48439‐3501
JOSEPH FEDOR                                      555 PEPPERWOOD DR                                                                              BRUNSWICK          OH    44212‐2021
JOSEPH FEGO & ELAINE FEGO JT TEN                  22 TRENTON ST                                                                                  JERSEY CITY        NJ    07306‐1417
JOSEPH FEIST                                      1161 E COOPER DR                                                                               EDGERTON           WI    53534‐9023
JOSEPH FERRAIUOLO                                 13414 ROSEDALE                                                                                 SOUTHGATE          MI    48195‐1733
JOSEPH FERRAIUOLO & BERNICE E FERRAIUOLO JT TEN   13414 ROSEDALE                                                                                 SOUTHGATE          MI    48195‐1733

JOSEPH FETTER                                     4771 W WICKFORD                                                                                BLOOMFIELD HILLS   MI    48302‐2382

JOSEPH FILAN‐JR                                   7736 WESTOVER DRIVE                                                                            PORT RICHEY        FL    34668‐4141
JOSEPH FINN                                       30272 WARREN RD                                                                                WESTLAND           MI    48185‐2968
JOSEPH FIORITA                                    10 MAPLECREST DR                                                                               DANBURY            CT    06810
JOSEPH FISHKIN & MRS ZONA FISHKIN JT TEN          19 BEVERLY COURT                                                                               METUCHEN           NJ    08840‐1502
JOSEPH FITZGERALD CUST BRIAN J FITZGERALD UGMA    11 HEATHWOOD AVE                                                                               JACKSON            NJ    08527‐4226
NJ
JOSEPH FLEISCHER                                  5160 FENN RD                                                                                   MEDINA             OH    44256‐7042
JOSEPH FLORES TOD ESTELLE A CLAUSEN SUBJECT TO    36500 MARQUETTE ST                    APT 725                                                  WESTLAND           MI    48185‐3246
STA TOD RULES
JOSEPH FOGARTY                                    180 SUNSET AVE                                                                                 NORTH ARLINGTON NJ       07031

JOSEPH FORNAROLO                                  104 BROCK CRESCENT                    POINTE CLAIRE QC                       H9R 3B8 CANADA
JOSEPH FRAGOMELE                                  101 EASTSIDE DRIVE                                                                             REHOBOTH BCH       DE    19971
JOSEPH FRANCELLO                                  1686 SE LAKE LEGACY WAY                                                                        STUART             FL    34997
JOSEPH FRANCIS BOWEN DUFFY                        116 STIRRUP PL                                                                                 BURR RIDGE         IL    60521‐5775
JOSEPH FRANCIS CAVANAUGH                          387 WADDINGTON                                                                                 BLOOMFIELD         MI    48301‐2642
                                                                                                                                                 VILLAGE
JOSEPH FRANCIS NAGANASHE                          284 PIPERS LANE                                                                                MT MORRIS          MI    48458‐8703
JOSEPH FRANK KOLOCK                               212 OAKRIDGE AVE                                                                               KENMORE            NY    14217‐1165
JOSEPH FRANK MASLANKA                             120 NORTH AVE                                                                                  AVON               NY    14414‐1014
JOSEPH FRANK MATE                                 2067 W WILSON RD                                                                               CLIO               MI    48420‐1603
JOSEPH FRANK NECHVIL                              124 N LINE ST                                                                                  CHESANING          MI    48616‐1238
JOSEPH FRANK TROTSKY                              10702 EAST AVE                        DEL CAMPO                                                TUCSON             AZ    85748
JOSEPH FRATTALI                                   2 BRIGHTVIEW CT                                                                                MAHOPAC            NY    10541‐3308
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 341 of 855
Name                                            Address1                               Address2                 Address3      Address4          City             State Zip

JOSEPH FUSCALDO & MRS BARBARA FUSCALDO JT TEN   278 JAMAICA BLVD                                                                                TOMS RIVER       NJ    08757‐6027

JOSEPH FUSCO & MRS LORETTA FUSCO JT TEN         43 FARM RD N                                                                                    WADING RIVER     NY    11792‐1711
JOSEPH G ACKERMAN                               33 WARREN DRIVE                                                                                 TONAWANDA        NY    14150‐5132
JOSEPH G AMOROSE                                103 MATTIER DRIVE                                                                               PITTSBURGH       PA    15238‐2716
JOSEPH G BARANZANO JR & CAROLYN A BARANZANO JT 425 THORNBROOK RD                                                                                ROSEMONT         PA    19010‐1638
TEN
JOSEPH G BARANZANO JR & MRS CAROLYN A           425 THORNBROOK RD                                                                               ROSEMONT         PA    19010‐1638
BARANZANO JT TEN
JOSEPH G BENNETT                                4256 LAREDO PL                                                                                  BILLINGS         MT    59106‐1382
JOSEPH G BENSAVAGE                              732 ELM ST APT 111                                                                              KEARNY           NJ    07032‐3823
JOSEPH G BODAK                                  BOX 145                                                                                         BURNT HILLS      NY    12027‐0145
JOSEPH G BORING                                 5146 E BRISTOL RD                                                                               FLINT            MI    48519‐1504
JOSEPH G CANAVAN                                14 DAPPLEFIELDS COURT                                                                           LAKEWOOD         NJ    08701‐7527
JOSEPH G CENTOLA                                83 CULVERTON DR                                                                                 ROCHESTER        NY    14609‐2748
JOSEPH G COMEAU & MRS PIERRETTE D COMEAU JT TEN 4269 MALLARD LANDING                                                                            HIGHLAND         MI    48357‐2646

JOSEPH G CONDOLFF                               31 BURT AVE                                                                                     NORTHPORT        NY    11768‐2042
JOSEPH G CORCORAN & MILDRED C CORCORAN JT TEN   112 S GRAY AVE                                                                                  WILMINGTON       DE    19805‐5217

JOSEPH G DEMBECK                                18860 ALSIE                                                                                     MACOMB TWP       MI    48044‐1246
JOSEPH G DINGA                                  20315 HICKORY LANE                                                                              LIVONIA          MI    48152‐1045
JOSEPH G DION                                   22555 PALACE CT                        APT 103                                                  NOVI             MI    48375‐4576
JOSEPH G DOBBINS JR                             20343 CHEROKEE                                                                                  DETROIT          MI    48219‐1154
JOSEPH G EDWARDS & MARJORIE E EDWARDS JT TEN    126 GRAMPIAN WAY                                                                                BOSTON           MA    02125‐1036

JOSEPH G ENGELHARD                              2823 N LAKE SHORE DR                                                                            HARBOR SPRINGS   MI    49740‐9121
JOSEPH G FERGUSON                               PO BOX 911                                                                                      POINT CLEAR      AL    36564‐0911
JOSEPH G FLEENOR                                RR 2 BOX 25502                                                                                  MITCHELL         IN    47446‐9690
JOSEPH G FOLSOM                                 2817 BETHUNE HWY                                                                                BISHOPVILLE      SC    29010‐8238
JOSEPH G FORTUNA                                50 CHARLOTTE DRIVE                                                                              BRIDGEWATER      NJ    08807‐2501
JOSEPH G FOTI                                   90 WISNER AVE                                                                                   NEWBURGH         NY    12550‐4052
JOSEPH G FUSCI                                  5 ANDERSON RD                                                                                   NORWALK          CT    06851‐2402
JOSEPH G GASSER                                 17982 STATE ROUTE 634                                                                           FORT JENNINGS    OH    45844‐9588
JOSEPH G GRECO JR                               571 E CENTER ST                                                                                 NESQUEHONING     PA    18240‐1711
JOSEPH G GULICS                                 44 CLYDE AVE                                                                                    PERTH AMBOY      NJ    08861‐1519
JOSEPH G HAMILTON                               8227 MORNING DEW CT SW                                                                          BYRON CENTER     MI    49315‐8105
JOSEPH G HAMMOND                                520 COLLINS                                                                                     YOUNGSTOWN       OH    44515‐3307
JOSEPH G HERNANDEZ                              30657 JOY ROAD                                                                                  WESTLAND         MI    48185‐1778
JOSEPH G INSKEEP                                49 ELMHURST RD                                                                                  NEWTON           MA    02458‐2232
JOSEPH G JEAN & JANICE M LA CLAIR JT TEN        25410 DEERCREEK DR                                                                              FLAT ROCK        MI    48134‐2800
JOSEPH G KAMINSKI                               591 S MARKET ST                                                                                 ELYSBURG         PA    17824
JOSEPH G KIELY & GENE P KIELY JT TEN            107 HARVARD AVE                                                                                 MERIDEN          CT    06451‐3807
JOSEPH G KRSUL                                  PO BOX 381                             NIAGARA‐ON‐THE‐LAKE ON                 L0S 1J0 CANADA
JOSEPH G KUKUCH III                             2101 CASTLE DR                                                                                  LEAGUE CITY      TX    77573
JOSEPH G LAMPMAN JR                             437W SPRING ST                                                                                  MARQUETTE        MI    49855‐4531
JOSEPH G LEHMAN                                 2624 PHIPPS ROAD                                                                                APPLEGATE        MI    48401‐9795
JOSEPH G MACCIO                                 15 PIER ST                                                                                      YONKERS          NY    10705‐1858
JOSEPH G MARKS                                  6938 TAWNEY ROAD                                                                                NIAGARA FALLS    NY    14304‐3024
JOSEPH G MASICH                                 941 ERIE AVENUE                                                                                 NORTH            NY    14120‐3502
                                                                                                                                                TONAWANDA
JOSEPH G MAYO & MRS MARY C MAYO JT TEN          30 MOUNTAIN BROOK DR                                                                            CHESHIRE         CT    06410‐3545
JOSEPH G MICHAELS & RUTH G MICHAELS JT TEN      24108 SE 93RD ST                                                                                ISSAQUAH         WA    98027‐4716
JOSEPH G MIGA                                   8 FRAN LANE                                                                                     COLCHESTER       CT    06415‐1856
JOSEPH G MONTEMAYOR                             286 N SAGINAW ST                                                                                PONTIAC          MI    48342‐2098
JOSEPH G MOON                                   29 SOUTHGATE DR                                                                                 SOUTH            CT    06073‐2102
                                                                                                                                                GLASTONBURY
JOSEPH G MOORE                                  10643 BUCK RD                                                                                   FREELAND         MI    48623‐9753
JOSEPH G MOORE & JUDITH C MOORE JT TEN          10643 BUCK RD                                                                                   FREELAND         MI    48623‐9753
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 342 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JOSEPH G MULLEN                                    54895 STARLITE DRIVE                                                                           SHELBY TWP        MI    48316‐1556
JOSEPH G NERO                                      207 CLOVER DR                                                                                  ELIZABETH         PA    15037‐2335
JOSEPH G NICKOLA                                   5095 ROCKWOOD DR                                                                               GRAND BLANC       MI    48439
JOSEPH G NOVAK JR                                  7474 PINE CREEK TRL                                                                            WATERFORD         MI    48327‐4521
JOSEPH G NOWLAND & MRS GRACE M NOWLAND JT          82 BEAUFORT AVE                                                                                NEEDHAM           MA    02492‐3804
TEN
JOSEPH G OBRIEN                                    712 W ANDERSON ST                                                                              STILLWATER        MN    55082‐5728
JOSEPH G PAGANO & LYNNE M PAGANO JT TEN            630 COUNTY ROUTE 4                                                                             OGDENSBURG        NY    13669
JOSEPH G PANIK                                     5485 REYNOLDS RD                                                                               CHEBOYGAN         MI    49721‐9549
JOSEPH G PAUL                                      924 WEST END AVENUE #T3                                                                        NEW YORK          NY    10025‐3543
JOSEPH G PETER                                     GMAP HQ SHANGHAI CHINA                PO BOX 9022                                              WARREN            MI    48090‐9022
JOSEPH G PIAZZON                                   53660 WASHINGTON RD                                                                            NEW BALTIMORE     MI    48047‐1004
JOSEPH G POLSON                                    611 S HIGBIE PL                                                                                GROSSE POINTE     MI    48236‐2417
                                                                                                                                                  WOOD
JOSEPH G PRIMBS TR EVA E PRIMBS TESTAMENTAY        1131 N LINCOLN                                                                                 POCATELLO         ID    83204‐4116
TRUST UA 03/28/78
JOSEPH G RALPH                                     114 S HOWELL ST                                                                                OWOSSO            MI    48867‐2651
JOSEPH G RANGER                                    27744 LATHRUP BLVD                                                                             LATHRUP VILL      MI    48076‐3573
JOSEPH G RAZZE                                     MAIN & LAKE ST                                                                                 EWAN              NJ    08025
JOSEPH G RITCH JR & MRS CONSTANCE B RITCH JT TEN   12072 94TH ST                                                                                  LARGO             FL    33773‐4303

JOSEPH G ROBERTSON                                 2377 SOUTH 400 WEST                                                                            BOUNTIFUL         UT    84010‐7609
JOSEPH G SABATO                                    3210 APPLE ORCHARD LN                                                                          CINCINNATI        OH    45248‐2877
JOSEPH G SALADNA                                   105 W LIBERTY ST                                                                               MEDINA            OH    44256‐2215
JOSEPH G SASSLER & KIMBERLY S SASSLER JT TEN       7 GRAYSTONE ESTATES                                                                            ELKVIEW           WV    25071‐9400
JOSEPH G SCHEFFER                                  728 RIVERSIDE DR                                                                               LINDEN            MI    48451‐8957
JOSEPH G SCHNEIDER                                 6240 ADAMSON                                                                                   WATERFORD         MI    48329‐3000
JOSEPH G SCHUSTER JR                               11480 N LEWIS RD                                                                               CLIO              MI    48420‐7919
JOSEPH G SCRIMA & GAIL E FIELDER JT TEN            737 FITZNER DRIVE                                                                              DAVISON           MI    48423‐1953
JOSEPH G SCRIMA & GAIL E FIELDER JT TEN            137 FITZNER DRIVE                                                                              DAVISON           MI    48423
JOSEPH G SEAMAN                                    701 W HIGH ST                                                                                  EBENSBURG         PA    15931‐1514
JOSEPH G SIMONETTI JR                              1600 RUSTIC RUN RD SW                                                                          WARREN            OH    44481‐9756
JOSEPH G SMITH                                     447 DOUGLAS CO                                                                                 IOWA CITY         IA    52240
JOSEPH G SMITH                                     10258 WILLOWBRIDGE CT                                                                          HIGHLANDS RANCH   CO    80126‐7872

JOSEPH G SOCKOLOSKY JR                             6339 SUDLERSVILLE ROAD                                                                         MARYDEL           MD    21649‐1247
JOSEPH G SOMERS                                    PO BOX 436                                                                                     CHEPACHET         RI    02814‐0436
JOSEPH G SQUIRES                                   2540 WHITEWOOD AV                                                                              SPRING HILL       FL    34609‐4364
JOSEPH G STILLWAGON                                16 SABAL DRIVE                                                                                 PUNTA GORDA       FL    33950‐5048
JOSEPH G SWINNING                                  PO BOX 1074                                                                                    MANSFIELD         OH    44901‐1074
JOSEPH G SZABO & BEVERLY A SZABO JT TEN            5233 BIRCH CREST DR                                                                            SWARTZ CREEK      MI    48473
JOSEPH G TARANTO                                   26 LONG SPRINGS RD                                                                             SOUTHAMPTON       NY    11968‐2503
JOSEPH G TAYLOR                                    630 FOREST DR                                                                                  FENTON            MI    48430‐1837
JOSEPH G TENNEY                                    4430 VANDEMARK RD                                                                              LITCHFIELD        OH    44253‐9794
JOSEPH G VALLEE                                    1006 WEST SAINT MARY                                                                           ABBEVILLE         LA    70510‐3418
JOSEPH G VALLEE                                    1006 WEST ST MARY                                                                              ABBEVILLE         LA    70510‐3418
JOSEPH G VARANO CUST JOSEPH A VARANO UTMA PA       208 FERNON STREET                                                                              PHILADELPHIA      PA    19148

JOSEPH G VITO                                      6504 BLUEJAY DR                                                                                FLINT             MI    48506‐1768
JOSEPH G YOUNGBLOOD                                4355 GEORGETOWN SQ APT 425                                                                     ATLANTA           GA    30338‐6250
JOSEPH GADBERRY                                    9808 W 101ST ST                                                                                OVERLAND PARK     KS    66212‐5343
JOSEPH GAIER CUST DANNIELLE GAIER UTMA NJ          306 BOLZ ST                                                                                    ENGLEWD CLFS      NJ    07632‐1639
JOSEPH GALIASTRO                                   536 LORILLARD AVENUE                                                                           UNION BEACH       NJ    07735‐3114
JOSEPH GALINIS                                     3857 YORKLAND DR APT 3                                                                         COMSTOCK PARK     MI    49321‐8834
JOSEPH GALLAGHER                                   252 WHITE ROCK RD                                                                              KIRKWOOD          PA    17536‐9766
JOSEPH GALLIANO                                    50 HILL ST                                                                                     LAKE ARIEL        PA    18436‐3302
JOSEPH GALLUCCI                                    14 LAKEVIEW DR                                                                                 PUTNAM VALLEY     NY    10579‐1925
JOSEPH GALLUCCIO CUST KATHRYN WEIR UTMA NY         151 GRAND ST                                                                                   GOSHEN            NY    10924‐1832
                                                 09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 343 of 855
Name                                                  Address1                              Address2              Address3         Address4          City              State Zip

JOSEPH GARCIA                                         PO BOX 554                                                                                     CLIO              MI    48420‐0554
JOSEPH GARDNER JR                                     16480 CARLISLE ST                                                                              DETROIT           MI    48205‐1502
JOSEPH GAREFFA JR                                     26 LIBERTY CT                                                                                  FAIRFIELD         NJ    07004‐1588
JOSEPH GARNICK                                        6015 BLUE BAY DR                                                                               DALLAS            TX    75248‐2818
JOSEPH GAYNOR & ELAINE GAYNOR TR GAYNOR FAM           108 LA BREA ST                                                                                 OXNARD            CA    93035‐3928
TRUST UA 07/13/92
JOSEPH GEORGE LORNE HUE                               20 ANDREA LORI DR                     MIDDLE SACKVILLE NS                    B4E 3B6 CANADA
JOSEPH GEORGE SCHNEIDER                               16513 GASPER RD RT 1                                                                           CHESANING         MI    48616‐9753
JOSEPH GERLOVEN                                       45 KEW GARDENS RD                     APT 4‐0                                                  KEW GARDENS       NY    11415‐1166
JOSEPH GESSINESS & HELEN GESSINESS JT TEN             4530 NW 21ST DRIVE                                                                             GAINESVILLE       FL    32605‐1338
JOSEPH GIANFRANCESCO                                  633 FORESTRIDGE DR                                                                             YOUNGSTOWN        OH    44512‐3512
JOSEPH GIANNINI & MARISA GIANNINI & CATHERINE L       11700 W 95TH PL                                                                                SAINT JOHN        IN    46373‐9145
GIANNINI JT TEN
JOSEPH GILBERT & ROSALIE D GILBERT JT TEN             10804 TENBROOK DR                                                                              SILVER SPRING     MD    20901‐1034
JOSEPH GILBERT JR                                     19 HUNTINGWOOD DR                                                                              E AMHERST         NY    14051‐2160
JOSEPH GILMORE JR                                     175 PERSHING AV                                                                                BUFFALO           NY    14208‐2400
JOSEPH GIORDANO & ELINOR GIORDANO JT TEN              224 EDGEWOOD AVE                                                                               YONKERS           NY    10704‐2213
JOSEPH GNIZAK                                         10802 PINEVIEW COURT                                                                           LOUISVILLE        KY    40299
JOSEPH GODLEWSKI                                      11145 9‐MILE RD                                                                                SOUTH LYON        MI    48178‐9342
JOSEPH GOENAGA                                        3114 W GRACE ST                                                                                RICHMOND          VA    23221‐1413
JOSEPH GOETTER                                        10837 ARNETT                                                                                   ST LOUIS          MO    63123‐7113
JOSEPH GONZALES                                       975 MCKAY CI                                                                                   GRAYSLAKE         IL    60030‐2651
JOSEPH GORDON JR                                      942 OAK ST                                                                                     ROSELLE           NJ    07203
JOSEPH GORNIK                                         375 VOORHEES AVE                                                                               BUFFALO           NY    14216‐2115
JOSEPH GRACE                                          2703 NARLOCH ST                                                                                SAGINAW           MI    48601‐1341
JOSEPH GRANT                                          5642 PARK LANE                                                                                 ST LOUIS          MO    63136‐4920
JOSEPH GRASSO & SONIA GRASSO JT TEN                   124 COONTOWN ROAD                                                                              LOGAN TOWNSHIP    NJ    08085‐9751

JOSEPH GRECO                                          28ANDRE AVENUE                                                                                 EDISON            NJ    08817‐3216
JOSEPH GREG HUGGINS                                   2144 NICHOLS HWY                                                                               NICHOLS           SC    29581
JOSEPH GREGORY MASSARO                                7 WHITNEY LANE                                                                                 GRAND ISLAND      NY    14072‐2639
JOSEPH GRESKO                                         5015 CARAMAE LANE                                                                              HOWELL            MI    48855‐6775
JOSEPH GREZAFFI III TR JOSEPH GREZAFFI III TRUST UA   5100 SMITHFIELD RD                                                                             MELBOURNE         FL    32934
01/15/03
JOSEPH GRILLO                                         C/O SUZANNE GRILLO ALLEN              PO BOX 822                                               BROOKSHIRE        TX    77423‐0822
JOSEPH GRILLO & MARIA ANGELA GRILLO JT TEN            2022 HENDRICKS AVE                                                                             BELLMORE          NY    11710‐3009
JOSEPH GRONAS JR                                      7280 DIXON DR                                                                                  HAMILTON          OH    45011‐5429
JOSEPH GUCCIARDO                                      141 PAULDING AVE                                                                               STATEN ISLAND     NY    10314‐3232
JOSEPH GUDEL                                          679 UNIT 4 SECOND ST                                                                           FAIRPORT HARBOR   OH    44077

JOSEPH GUERRA & MRS MARTHA GUERRA JT TEN              27 HOFFMAN AVE                                                                                 GENEVA            NY    14456‐2514
JOSEPH GUILLEAN                                       284 BREWSTER RD                                                                                ROCHESTER HLS     MI    48309‐1507
JOSEPH GULA JR                                        144 MAHAR AVENUE                                                                               SO PLAINFIELD     NJ    07080‐2214
JOSEPH GULLI                                          23311 WILLOW WOOD ST                                                                           TOMBALL           TX    77375‐5483
JOSEPH H AIDIF                                        2485 CRANE RD                                                                                  FENTON            MI    48430‐1055
JOSEPH H ANDERSON                                     81 WESTPORT DR                                                                                 TOMS RIVER        NJ    08757‐6385
JOSEPH H BALL & SANDRA L BALL & ROBERT A BALL &       1175 HOLLOW ROAD                                                                               NARBERTH          PA    19072‐1155
YELANE BALL
JOSEPH H BEAUDRY                                      3941 GREENMAN POINT RD                                                                         CHEBOYGAN         MI    49721‐9627
JOSEPH H BETHEA JR                                    349 JOHNSON AVE                                                                                TRENTON           NJ    08648‐3430
JOSEPH H BRADY JR                                     2433 OLD COUNTRY RD                                                                            NEWARK            DE    19702‐4701
JOSEPH H BRAUN                                        432 HILLSIDE AVE                                                                               HILLSIDE          IL    60162‐1216
JOSEPH H BRODAK                                       2413 RICHWOOD RD                                                                               AUBURN HILLS      MI    48326‐2533
JOSEPH H BROOKS JR                                    46 FROST RD                                                                                    DOVR FOXCROFT     ME    04426‐3122
JOSEPH H BUCKLEY & LUCILLE E BUCKLEY JT TEN           32439 PARKER CIRCLE                                                                            WARREN            MI    48088‐2974
JOSEPH H BURGER                                       3432 ROWENA DR                                                                                 LOS ALAMITOS      CA    90720‐4846
JOSEPH H BUTLER                                       2535 HIGHLND GOLF COURSE CR                                                                    CONYERS           GA    30013‐1976
JOSEPH H CARSON                                       8837 SAIL BAY DR                                                                               LAS VEGAS         NV    89117‐2281
JOSEPH H CARSUO & ADELE CARUSO JT TEN                 41485 CLINTON GROVE DRIVE                                                                      CLINTON TWP       MI    48038
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 344 of 855
Name                                           Address1                              Address2             Address3          Address4          City              State Zip

JOSEPH H CHANCE                                PO BOX 89                                                                                      MEARS             MI    49436
JOSEPH H CHUN & MRS JOAN H CHUN JT TEN         309 S ALMANSOR ST                                                                              ALHAMBRA          CA    91801‐4232
JOSEPH H CLECKLEY                              RT 1 BOX 592                                                                                   SAN AUGUSTINE     TX    75972‐9735
JOSEPH H CLECKLEY & WILMA I CLECKLEY JT TEN    RR 1 BOX 592                                                                                   SAN AUGUSTINE     TX    75972‐9735
JOSEPH H COHEN JR                              24 ASH CIR                                                                                     HOLDEN            MA    01520‐1161
JOSEPH H CONNELL                               7114 DEL NORTE DR                                                                              GOLETA            CA    93117‐1330
JOSEPH H COPLEY                                5002 BIRCHWOOD RD                                                                              SANTA BARBARA     CA    93111‐1941
JOSEPH H COVINGTON                             17418 SANTA ROSA                                                                               DETROIT           MI    48221‐2660
JOSEPH H DAMOUR                                4370 CHARING WAY                                                                               BLOOMFIELD        MI    48304
JOSEPH H DELISLE II                            2118 NORTH GERRARD                                                                             SPEEDWAY          IN    46224‐5038
JOSEPH H DEVINE                                126 COPPERFIELD DR                                                                             LAWRENCEVILLE     NJ    08648‐2583
JOSEPH H DISANTO & GLORIA R DISANTO JT TEN     18 CROSBY RD                                                                                   CARMEL            NY    10512‐2204
JOSEPH H DOLAN CUST THERESA DOLAN U/THE PA     1807 MARION ST                                                                                 SCRANTON          PA    18509‐2519
UNIFORM GIFTS TO MINORS ACT
JOSEPH H DURANT & NANCY A DURANT JT TEN        121 HUNT CLUB LN                                                                               NEWTOWN SQ        PA    19073‐3411
JOSEPH H ELY                                   398 BUCKINGHAM ROAD                                                                            WINSTON‐SALEM     NC    27104‐4027
JOSEPH H EPPINGER & HELEN M EPPINGER JT TEN    1225 E WARNER ROAD UNIT 9                                                                      TEMPE             AZ    85284‐3244
JOSEPH H ESKEW                                 113 W MAIN ST                                                                                  MALDEN            MO    63863‐2162
JOSEPH H GIRARD                                139 PINE AVE                                                                                   STURBRIDGE        MA    01566‐1433
JOSEPH H GOLDENHERSH                           C/O JERALD H GOLDENHERSH              9700 WEST MAIN ST                                        BELLEVILLE        IL    62223‐1402
JOSEPH H GOODMAN                               11305 STONYBROOK DRIVE                                                                         GRAND BLANC       MI    48439‐1009
JOSEPH H GOODMAN & DOROTHY GOODMAN JT TEN      11305 STONYBROOK DR                                                                            GRAND BLANC       MI    48439‐1009

JOSEPH H GRAHAM CUST JOSEPH S GRAHAM UTMA IA   775 W HELLER DR                                                                                EAST DUBUQUE      IL    61025‐9587

JOSEPH H GREEN                                 318 ROBERTS AVENUE                                                                             SEASIDE PARK      NJ    08752‐2041
JOSEPH H HARKINS                               1344 BIRCH DR                                                                                  FOLSOM            LA    70437‐3233
JOSEPH H HARRIS                                214 HOLMES ST                                                                                  DURAND            MI    48429‐1526
JOSEPH H HECHT                                 456 HATITON CT                                                                                 NORFOLK           VA    23505
JOSEPH H HICKS & SHARON R HICKS JT TEN         344 SIGLERVILLE MILLHEIM PIKE                                                                  SPRING MILLS      PA    16875‐8447
JOSEPH H HIGGINS & DEBRA M HIGGINS JT TEN      120 BURRELL ST                                                                                 ODON              IN    47562
JOSEPH H HILL                                  34508 N 99TH WAY                                                                               SCOTTSDALE        AZ    85262‐1472
JOSEPH H HILL III                              1927 COPEMAN BLVD                                                                              FLINT             MI    48504‐3005
JOSEPH H HOPKINS III                           4531 34TH AVE S                                                                                SEATTLE           WA    98118
JOSEPH H HUBER & MARYANN HUBER JT TEN          215 COOLIDGE ST                                                                                SILVERTON         OR    97381‐2009
JOSEPH H HUMBERSTON                            17566 KENMORE ROAD                                                                             LAKE MILTON       OH    44429‐9704
JOSEPH H HUNTER                                556 TWIN OAKS DR                                                                               CARMEL            IN    46032‐9719
JOSEPH H JAJEY                                 9455 W MT MORRIS RD                                                                            FLUSHING          MI    48433‐9216
JOSEPH H JOHNS                                 PO BOX 15                                                                                      SMOAKS            SC    29481‐0015
JOSEPH H JONES                                 APT 2                                 224 S 9TH ST                                             SAGINAW           MI    48601‐1803
JOSEPH H JONES JR                              749 OELLA AVENUE                                                                               ELLICOTT CITY     MD    21043‐4727
JOSEPH H JUNGLAS                               1178 WHITTIER                                                                                  WATERFORD         MI    48327‐1642
JOSEPH H KEAST                                 2445 N LABADIE                                                                                 MILFORD           MI    48380‐4243
JOSEPH H KEITH                                 611 SUN LAKE DR                                                                                SAINT CHARLES     MO    63301‐3027
JOSEPH H KINGERY JR                            2840 WINBURN AVE                                                                               DAYTON            OH    45420‐2260
JOSEPH H KLIMA                                 3433 S HOME                                                                                    BERWYN            IL    60402‐3329
JOSEPH H KRESS                                 4339 E BROOKWOOD CT                                                                            PHOENIX           AZ    85048‐8816
JOSEPH H KREUSEL & RUTH P KREUSEL JT TEN       7140 SHEA RD                                                                                   MARINE CITY       MI    48039‐2412
JOSEPH H LAFAVE                                21721 DOWNING ST                                                                               ST CLAIR SHORES   MI    48080‐3912
JOSEPH H LAWRENCE JR                           129 IMPERATO COURT                                                                             TOMS RIVER        NJ    08753‐5304
JOSEPH H LI CUST ALEXANDER LI UGMA TX          16203 BROOKFORD CT                                                                             HOUSTON           TX    77059‐4701
JOSEPH H LI CUST NOLAN LI UGMA TX              16203 BROOKFORD CT                                                                             HOUSTON           TX    77059‐4701
JOSEPH H LI CUST ROXANNE LI UGMA TX            16203 BROOKFORD CT                                                                             HOUSTON           TX    77059‐4701
JOSEPH H LOFTON                                11952 HITCHCOCK DR                                                                             CINCINNATI        OH    45240‐1724
JOSEPH H LOGUE                                 1275 SW KALEVALA DR                                                                            PORT ST LUCIE     FL    34953‐6812
JOSEPH H LONES JR & HANNAH K LONES JT TEN      1881 COUNTY RD 348                                                                             LA VERNIA         TX    78121‐4027
JOSEPH H LONG                                  10104 HAWLEY DR                                                                                NORTH ROYALTON    OH    44133‐1420

JOSEPH H MAGER                                 9410 S AIRPORT RD                                                                              ATLANTA           MI    49709‐9005
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 345 of 855
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

JOSEPH H MANHERTZ                                  1 WHEATFIELD CIRCLE                                                                              FAIRPORT         NY   14450‐9320
JOSEPH H MANN III                                  1 LAKEVIEW PL                                                                                    AVONDALE ESTATES GA   30002‐1479

JOSEPH H MANN JR                                   BEVERWYCK                               1 HICKORY DRIVE                                          SLINGERLANDS    NY    12159‐9350
JOSEPH H MANWELL                                   1284 ATKINSON AVE                                                                                BLOOMFIELD      MI    48302
JOSEPH H MARKERT                                   7291 W 320 S                                                                                     RUSSIAVILLE     IN    46979‐9715
JOSEPH H MCCARTHY                                  PO BOX 35                                                                                        PICKFORD        MI    49774‐0035
JOSEPH H MCKOAN IV                                 9558 SEAWAY DR                                                                                   CLAY            MI    48001‐4379
JOSEPH H MEREDITH                                  572 COLLIER RD                                                                                   UNIONTOWN       PA    15401‐6876
JOSEPH H MEYER & MRS EARLEEN G MEYER JT TEN        142 WESTGATE DR                                                                                  ST PETERS       MO    63376‐4266
JOSEPH H MICHALSKI                                 2165 ROBIN DR                                                                                    WARRINGTON      PA    18976‐1567
JOSEPH H MICHELS                                   5906 LOCH LEVEN                                                                                  WATERFORD       MI    48327‐1843
JOSEPH H MILKOWSKI                                 58 SIMSBURY LANDING                                                                              SIMSBURY        CT    06070
JOSEPH H MILLER                                    200 DOMINICAN DR #1301                                                                           MADISON         MS    39110‐8630
JOSEPH H MILLER                                    8509 ARBORWOOD RD                                                                                BALT            MD    21208‐1503
JOSEPH H MILLER & RITA D MILLER JT TEN             200 DOMENICAN DR                        APT 1301                                                 MADISON         MS    39110‐8630
JOSEPH H MILLS                                     10 WOODS LANE                                                                                    CHATHAM         NJ    07928‐1760
JOSEPH H MORRIS                                    245 S COVE TER DR                                                                                PANAMA CITY     FL    32401‐4038
JOSEPH H MORRIS III                                7 CLUB DR                                                                                        NEWNAN          GA    30263‐3363
JOSEPH H MORRIS JR                                 7 CLUB DR                                                                                        NEWNAN          GA    30263‐3363
JOSEPH H NIKOLAUS                                  135 NORTH 13TH STREET                                                                            COLUMBIA        PA    17512‐1346
JOSEPH H OZWALDA                                   382 ELMWOOD DR                                                                                   CORUNNA         MI    48817‐1133
JOSEPH H PHIBBS JR                                 4411 ARDONNA LANE                                                                                DAYTON          OH    45432‐1809
JOSEPH H PLOCHOCKI                                 5010 LAREHVIEW DRIVE                                                                             HUBER HEIGHTS   OH    45424‐2401
JOSEPH H POPE                                      930 HAMPTON HILL RD                                                                              COLUMBIA        SC    29209‐1010
JOSEPH H ROBERTS                                   317 OLD STATE ROAD 37 N                                                                          BEDFORD         IN    47421‐8067
JOSEPH H ROBERTS TR UA 05/09/1992 JOSEPH D GITRE   400 W MAPLE                             APT 200                                                  BIRMINGHAM      MI    48009
TRUST
JOSEPH H ROSENBAUM                                 1308 CASTLE COURT                                                                                HOUSTON         TX    77006‐5702
JOSEPH H SCHAEFER TR JOSEPH H SCHAEFER             829 FREEMONT AVE                                                                                 MORRIS          IL    60450‐1719
IRREVOCABLE TRUST UA 01/13/00
JOSEPH H SCHLAUD                                   1803 QUEEN ANNE SQ                                                                               BEL AIR         MD    21015‐5786
JOSEPH H SCHLOTTERER                               C/O ELIZABETH SCHLOTTERER               3327 N APOLLO DR                                         CHANDLER        AZ    85224‐1220
JOSEPH H SCHNEIDER TR THE JOSEPH H SCHNEIDER       24160 NORMANDY DR                                                                                OLMSTED FALLS   OH    44138‐2822
LIVING TRUST UA 12/01/94
JOSEPH H SMITH JR                                  5157 WELLFLEET                                                                                   DAYTON          OH    45426‐1419
JOSEPH H STALEY                                    3262 SETON HILL DR                                                                               BELLBROOK       OH    45305‐8829
JOSEPH H STEIMEL                                   84 PALM HARBOR DRIVE                                                                             NORTH PORT      FL    34287‐6534
JOSEPH H STEPHENSON 3RD & SHIRLEY ANN              3404 SPRINGBROOK LANE                                                                            LANSING         MI    48917‐1795
STEPHENSON JT TEN
JOSEPH H STOWERS III                               2012 RAVENS CREST DR E                                                                           PLAINSBORO      NJ    08536‐2462
JOSEPH H SULLIVAN CUST CAITLIN E TITTA UTMA MA     5 HILTON AVE                                                                                     WORCESTER       MA    01604‐2327

JOSEPH H SULLIVAN CUST DANIEL J SULLIVAN UTMA MA 5 HILTON AVE                                                                                       WORCESTER       MA    01604‐2327

JOSEPH H TAUSCHEK                                  1384 SAWYER RD                                                                                   KENT            NY    14477‐9761
JOSEPH H TERRITO                                   620 CHAMBERS ST                                                                                  SPENCERPORT     NY    14559‐9766
JOSEPH H THOMPSON                                  9616 QUAIL RIDGE                                                                                 URBANDALE       IA    50322‐1398
JOSEPH H VRANCKEN                                  43 BRIAR WOOD LN                                                                                 ROCHESTER       NY    14626‐2729
JOSEPH H WILLIAMS                                  ROUTE 2                                 BOX 1628                                                 WHEATLAND       MO    65779‐9706
JOSEPH H WILLIS                                    201 LONGMEADOW DR NW                                                                             ROME            GA    30165‐1247
JOSEPH H WISE                                      277 FOREST AVE                                                                                   GLEN ELLYN      IL    60137‐5301
JOSEPH H WOLLETT                                   125 NOB HILL DR S                                                                                GAHANNA         OH    43230
JOSEPH H WOOD                                      7802 PINES RD                                                                                    SHREVEPORT      LA    71129‐4402
JOSEPH H WYLIE                                     16 OVINGTON DRIVE                                                                                TRENTON         NJ    08620‐1510
JOSEPH H YAO & MRS JESSIE L YAO JT TEN             204 SIENA DR                                                                                     GREENVILLE      SC    29609‐3070
JOSEPH H YOUNG III                                 940 FAIR OAKS DR                                                                                 BETHEL PARK     PA    15102‐2219
JOSEPH H ZITZELBERGER                              753 WILEY RD                                                                                     CHILLICOTHE     OH    45601‐9461
JOSEPH HAAS                                        PO BOX 115                                                                                       WEVERTOWN       NY    12886‐0115
                                                 09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit E
                                                                                        Part 4 of 8 Pg 346 of 855
Name                                               Address1                              Address2              Address3                   Address4              City             State Zip

JOSEPH HAAS                                        1230 SUNSET ROAD                                                                                             WINNETKA         IL    60093‐3628
JOSEPH HADDAD                                      111 NORTH WABASH AVE                  SUITE 820                                                              CHICAGO          IL    60602‐1935
JOSEPH HAGEN                                       15030 BELMONT                                                                                                ALLEN PARK       MI    48101‐1606
JOSEPH HAGENMAYER                                  180 WATERFORD RD                                                                                             HAMMONTON        NJ    08037‐9537
JOSEPH HAKIM                                       20020 WOODMONT                                                                                               HARPER WOODS     MI    48225‐1866
JOSEPH HALL SCHLOSSER                              401 BAR HARBOUR RD                                                                                           STRATFORD        CT    06614‐8816
JOSEPH HALMO                                       3215 NEWHALL                                                                                                 MILWAUKEE        WI    53211
JOSEPH HAMILTON ANSELL UND GUARDIANSHIP OF         PO OBX 1659                                                                                                  CLIFTON          CO    81520
CONNIE LEE MARTIN
JOSEPH HAMPTON HAZARD                              784 MEMORIAL DR                                                                                              CAMBRIDGE        MA    02139‐4613
JOSEPH HAROLD HESTER III                           16614 SE 50TH PL                                                                                             BELLEVUE         WA    98006‐5513
JOSEPH HAROLD HOEFKER                              268 KIOWA ST                                                                                                 MONTEVALLO       AL    35115‐3628
JOSEPH HARRY CYCON                                 80 WESTON AVE                                                                                                BUFFALO          NY    14215‐3333
JOSEPH HARTINGER                                   1114 SOUTH ELK RIDGE                                                                                         PAYSON           AZ    85541
JOSEPH HARTINGER & URSULA HARTINGER JT TEN         1114 SOUTH ELK RIDGE                                                                                         PAYSON           AZ    85541
JOSEPH HARVEY STARNES                              386 HENSON LN                                                                                                BRISTOL          TN    37620‐9412
JOSEPH HAVERILLA                                   26 ROOSEVELT ST                                                                                              YONKERS          NY    10701‐5824
JOSEPH HAYES WALSH                                 28 STATE STREET 23RD FLOOR                                                                                   BOSTON           MA    02109
JOSEPH HEAP CUST ALEXIS TAYLOR HEAP UTMA NJ        15 N LONGVIEW RD                                                                                             HOWELL           NJ    07731‐1701

JOSEPH HEGEDUS JR                                  C/O STEVEN HEGEDUS                    709 EATON ST                                                           JACKSON          MI    49202‐3105
JOSEPH HEMME                                       1481 JANET ST                                                                                                KAUKAUNA         WI    54130‐1071
JOSEPH HENEL                                       234 LITTLEWORTH RD                                                                                           MADBURY          NH    03823‐7527
JOSEPH HENRY WILLIS                                201 LONGMEADOW DR NW                                                                                         ROME             GA    30165‐1247
JOSEPH HERNDON                                     6201 OXLEY DR                                                                                                FLINT            MI    48504‐1670
JOSEPH HERRIOTT                                    267 COLLEGE AVE                                                                                              MCCLELLANDSTOW   PA    15458‐1407
                                                                                                                                                                N
JOSEPH HILL                                        34508 N 99TH WAY                                                                                             SCOTTSDALE       AZ    85262‐1472
JOSEPH HIRSHFIELD & MOLLIE R HIRSHFIELD JT TEN     3921 PINKNEY ROAD                                                                                            BALTIMORE        MD    21215

JOSEPH HOBAN                                       1908 SYMPHONY LANE                                                                                           MIDWEST CITY     OK    73130‐6336
JOSEPH HOCHMAN TR JOSEPH HOCHMAN REVOCABLE         7321 AMBERLY LANE #104                                                                                       DELRAY BEACH     FL    33446‐2993
TRUST 03/29/93
JOSEPH HOLDINGS INC                                5605 FOUNTAINS DR S                                                                                          LAKE WORTH       FL    33467‐5776
JOSEPH HOLMES                                      4331 GEORGETOWN DRIVE                                                                                        ORLANDO          FL    32808‐6409
JOSEPH HOMOLA                                      39716 76TH AVE                                                                                               PAW PAW          MI    49079‐9705
JOSEPH HOO                                         FLAT 37                               BULLINGHAM MANSIONS   KENSINGTON CHURCH STREET   LONDON W8 4BE GREAT
                                                                                                                                          BRITAIN
JOSEPH HOPEN CUST STUART HOPEN U/THE FLORIDA       3831 N 43RD AVE                                                                                              HOLLYWOOD        FL    33021
GIFTS TO MINORS ACT
JOSEPH HORVATH                                     4985 TRUMAN MT RD                                                                                            GAINESVILLE      GA    30506
JOSEPH HORVATH                                     655 WALNUT DRIVE                                                                                             MELBOURNE        FL    32935‐5056
JOSEPH HOWARD BROWN                                1130 W RIVER DR                                                                                              WAWAKA           IN    46794‐9793
JOSEPH HOZIAN                                      303 DEERPATH DR                                                                                              MINOOKA          IL    60447‐8716
JOSEPH HRUDKAJ                                     C/O AGNES HRUDKAJ                     2625 MCLEMORE RD                                                       FRANKLIN         TN    37064
JOSEPH HUGH KELLY                                  3 BROWNSTONE BLVD                                                                                            VOORHEES         NJ    08043‐3452
JOSEPH HUNTER                                      120 SUNNY GLEN DR                                                                                            VALLEJO          CA    94591‐7503
JOSEPH HURD JR & PATRICIA HURD JT TEN              1803 FAIRVIEW AVE                                                                                            EASTON           PA    18042‐3974
JOSEPH I BIZZOTTO & CAROLINE BIZZOTTO JT TEN       31302 MC NAMEE ST                                                                                            FRASER           MI    48026‐2791
JOSEPH I BRENON JR                                 349 WRIGHT ROAD                                                                                              AKRON            NY    14001
JOSEPH I BROWN & BARBARA L BROWN JT TEN            16 GARFIELD DR                                                                                               NEWPORT NEWS     VA    23608‐2606
JOSEPH I BUSSEY                                    961 BEAVER RUN                                                                                               TAVARES          FL    32778‐5628
JOSEPH I DIEGO                                     8445 DIXIE LN                                                                                                DEARBORN HTS     MI    48127
JOSEPH I GILLIGAN & MARGARET GILLIGAN JT TEN       2615 PACIFIC AVE                                                                                             MANHATTAN        CA    90266‐2337
                                                                                                                                                                BEACH
JOSEPH I LADUE                                     11 MAPLE STREET                       PO BOX 731                                                             WADDINGTON       NY    13694‐0731
JOSEPH I MARTIN                                    51 MELROSE ST                         APT 2A                                                                 MELROSE          MA    02176‐2225
JOSEPH I ROSENBERGER                               463 AUGUSTA FARMS RD                                                                                         WAYNESBORO       VA    22980‐9259
JOSEPH I SCANGA                                    32917 HAMPSHIRE                                                                                              WESTLAND         MI    48185‐2839
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 347 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JOSEPH I SZALWINSKI                               1063 PRATT ST                                                                                   PHILADELPHIA      PA    19124‐1839
JOSEPH I THAKKOLKARAN                             3917 MOUNTAIN LAUREL BLVD                                                                       OAKLAND           MI    48363‐2638
JOSEPH I WARDA                                    10473 GERA RD                                                                                   BIRCH RUN         MI    48415‐9753
JOSEPH IGNATZ                                     2705 N MOBILE AVE                                                                               CHICAGO           IL    60639‐1021
JOSEPH INGRAM                                     1722 SILVER WAY                                                                                 LITHIA SPRINGS    GA    30122‐3956
JOSEPH ISRAEL                                     17069 NEWPORT CLUB DR                                                                           BOCA RATON        FL    33496‐3008
JOSEPH J ADKINS                                   8990 E GORMAN RD                                                                                BLISSFIELD        MI    49228‐9605
JOSEPH J AIELLO JR                                16 PAUL HOLLY DRIVE                                                                             LOUDONVILLE       NY    12211‐1706
JOSEPH J ALGIERE                                  46 ROBIN RD                                                                                     FARMINGTON        CT    06032‐2511
JOSEPH J ALLEN                                    3016 SAINT JOSEPH RIVER DR                                                                      BENTON HARBOR     MI    49022
JOSEPH J ANDRES                                   295 MAIN ST                            RM 821                                                   BUFFALO           NY    14203‐2508
JOSEPH J ANTICOLLI                                2615 PRICE ST                                                                                   SCRANTON          PA    18504‐1326
JOSEPH J BAFFY                                    44841 ERIN DR                                                                                   PLYMOUTH          MI    48170‐3808
JOSEPH J BALMAIN                                  47 EVERETT ST                                                                                   TAUNTON           MA    02780‐4614
JOSEPH J BATCHELOR                                2401 CARPENTER ROAD                                                                             BAD AXE           MI    48413‐9127
JOSEPH J BATINA                                   4405 TOD AVENUE                                                                                 LORDSTOWN         OH    44481‐9749
JOSEPH J BATTISTI                                 53 EAGLE POINT DR                                                                               NEWTON FALLS      OH    44444‐1262
JOSEPH J BAZYLEWICZ                               4706 NW 41 AVE                                                                                  TAMARAC           FL    33319‐5812
JOSEPH J BELLANTONIO & ANTOINETTE R BELLANTONIO   102 FURMAN STREET                                                                               SCHENECTADY       NY    12304‐1114
NEMET JT TEN
JOSEPH J BENNETT                                  17641 GREENRIDGE RD                                                                             HIDDEN VL LK      CA    95467‐8275
JOSEPH J BERG JR                                  32650 HASTINGS DRIVE                                                                            LAUREL            DE    19956‐1917
JOSEPH J BERKEY                                   5043 BOYD DR                                                                                    PICKNEY           MI    48169‐9369
JOSEPH J BETTS JR                                 5653 BABBITT ST                                                                                 HASLETT           MI    48840‐8414
JOSEPH J BEVAN JR & DORIS A BEVAN JT TEN          45 MARTIN AVE                                                                                   WALLINGFORD       CT    06492‐3811
JOSEPH J BIEDA                                    11223 IRVINGTON DRIVE                                                                           WARREN            MI    48093‐4939
JOSEPH J BIEDA & JOAN BARBARA BIEDA JT TEN        11223 IRVINGSON                                                                                 WARREN            MI    48093‐4939
JOSEPH J BIESIADA JR                              9 VAN DUYN DRIVE                                                                                TRENTON           NJ    08618‐1017
JOSEPH J BILKA                                    6147 SR 61 NORTH                                                                                SHELBY            OH    44873
JOSEPH J BIRES                                    22519 ST CLAIR DRIVE                                                                            ST CLAIR SHORES   MI    48081‐2082
JOSEPH J BISKUP                                   2000 S LINCOLN                                                                                  BAY CITY          MI    48708‐8171
JOSEPH J BLAZEK                                   734 UNION AVE                                                                                   ROMEOVILLE        IL    60446‐1432
JOSEPH J BOLASH                                   3047 GRAFTON RD                                                                                 GRAFTON           OH    44044‐1045
JOSEPH J BONNER & MERRY LEIGH BONNER JT TEN       8511 BUCKTHORN DR                                                                               GERMANTOWN        TN    38139‐5201

JOSEPH J BORZYMOWSKI                              6 BROOK FARM CT                        UNIT C                                                   PERRY HALL        MD    21128‐9069
JOSEPH J BRANDMAIR                                282 W DECKERVILLE RD                                                                            CARO              MI    48723‐9775
JOSEPH J BRAUN                                    2908 PEASE LANE                                                                                 SANDUSKY          OH    44870‐5927
JOSEPH J BREGIN                                   2712 RAVINIA LANE                                                                               WOODRIDGE         IL    60517‐2214
JOSEPH J BRODZINSKI & ELIZABETH A BRODZINSKI JT   3030 BAKER RD                                                                                   ORCHARD PARK      NY    14127‐1433
TEN
JOSEPH J BROWN & DOYLE O BROWN JT TEN             10354 OXLEY RD                                                                                  MINERAL POINT     MO    63660‐9639
JOSEPH J BUTZKO                                   657 PENN ST                                                                                     PERTH AMBOY       NJ    08861‐2750
JOSEPH J BUYARSKI                                 88 MOBILE DRIVE                                                                                 PENNSVILLE        NJ    08070‐1039
JOSEPH J CAMPBELL                                 128 E ALLEN RIDGE RD                                                                            SPRINGFIELD       MA    01118‐2318
JOSEPH J CANTON                                   3442 SURREY RD                                                                                  WARREN            OH    44484‐2841
JOSEPH J CAPETOLA                                 93 OLD QUEENS BLVD                                                                              ENGLISHTOWN       NJ    07726‐3538
JOSEPH J CARAM                                    459 S MARSHALL ST                                                                               PONTIAC           MI    48342‐3435
JOSEPH J CARDINALE                                445 LIBERTY ST                                                                                  RAVENNA           OH    44266‐3439
JOSEPH J CARDINALE & CAROL R CARDINALE JT TEN     445 LIBERTY STREET                                                                              RAVENNA           OH    44266‐3439

JOSEPH J CARUSOTTI                                6086 DANA SHORES DR                                                                             HONEOYE          NY     14471‐9700
JOSEPH J CASAROLL                                 35144 KNOLLWOOD LN                                                                              FARMINGTON HILLS MI     48335‐4696

JOSEPH J CELLINI JR                               332 N QUAIL DRIVE                                                                               MARMORA           NJ    08223‐1260
JOSEPH J CENTOFANTI                               633 N UNION AVE                                                                                 SALEM             OH    44460‐1705
JOSEPH J CERBONE                                  PO BOX 449                             84 SMITH AVENUE                                          MOUNT KISCO       NY    10549‐2816
JOSEPH J CERMAK                                   11633 W WAHL RD RT 2                                                                            ST CHARLES        MI    48655‐9574
                                                09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 348 of 855
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

JOSEPH J CHECHOWITZ JR & MAGALI F CHECHOWITZ JT   9792 RED CEDAR CIR                                                                           SACRAMENTO      CA    95827‐2815
TEN
JOSEPH J CHIARA                                   9006 ROEDEAN                                                                                 PARMA           OH    44129‐1747
JOSEPH J CHIARELLA & DONA M CHIARELLA JT TEN      57 HARBOR HILL RD                                                                            SUNAPEE         NH    03782‐2624

JOSEPH J CHOBOT                                     6640 BARRETT DRIVE                                                                         DOWNERS GROVE   IL    60516‐2724
JOSEPH J CHOBOT & ELLEN E CHOBOT JT TEN             6640 BARRETT DR                                                                            DOWNERS GROVE   IL    60515
JOSEPH J CLARK                                      6 KEENAN STREET                                                                            PARLIN          NJ    08859‐1000
JOSEPH J COADY                                      G4463 S SAGINAW ST                                                                         BURTON          MI    48529‐2004
JOSEPH J COLOSIMO                                   1480 TOWN LINE RD                                                                          LANCASTER       NY    14086‐9774
JOSEPH J CONNOR                                     422 GOLDEN MEADOWS CIRCLE                                                                  SUWANEE         GA    30024‐2268
JOSEPH J CORNACCHIA                                 123 S INMAN AVE                                                                            AVENEL          NJ    07001‐1509
JOSEPH J CREGIER                                    627 PIER DR                                                                                EDGEWOOD        MD    21040‐2910
JOSEPH J CRUGNALE                                   5722 KENSINGTON WAY N                                                                      PLAINFIELD      IN    46168‐7548
JOSEPH J DANIELS & MARILYN DANIELS TR DANIELS       32707 WESTWOOD LOOP                                                                        LEESBURG        FL    34748‐8119
TRUST UA 08/25/97
JOSEPH J DANZA                                      8413 IRONSIDE AVE NE                                                                       ALBUQUERQUE     NM    87109‐5047
JOSEPH J DAVIS JR                                   2935 AUTEN                                                                                 ORTENVILLE      MI    48462‐8841
JOSEPH J DE FRANCESCO                               847 NE 44TH AVE                                                                            PORTLAND        OR    97213‐1657
JOSEPH J DEMAIO                                     66 N READ AVENUE                                                                           RUNNEMEDE       NJ    08078‐1648
JOSEPH J DESIMINI TR JOSEPH J DESIMINI REV TRUST UA 327 CLINTON ST                                                                             LOWELL          IN    46356‐2494
3/3/00
JOSEPH J DEWEESE                                    4557 ISLAND HWY                                                                            CHARLOTTE       MI    48813‐9318
JOSEPH J DI CARMINE & M ROSARIO CALDERON DI         49 HEYDEN ROAD                                                                             TROY            NY    12180‐5733
CARMINE JT TEN
JOSEPH J DI LIBERTO JR                              5189 CRIBBINS RD                                                                           AVOCA           MI    48006‐3310
JOSEPH J DIPASQUALE                                 235 SCHOOL RD                                                                              KENMORE         NY    14217‐1170
JOSEPH J DOMBROSKY                                  342 RUSSELL DR                                                                             CORTLAND        OH    44410‐1244
JOSEPH J DONDERO                                    12 ELY RD                                                                                  HOLMDEL         NJ    07733‐2304
JOSEPH J DONDERO                                    174 AIRPORT RD                                                                             NEW CASTLE      DE    19720‐2302
JOSEPH J DONOVAN & MRS JOAN P DONOVAN JT TEN        PO BOX 433                                                                                 SOUTH HARWICH   MA    02661‐0433

JOSEPH J DOUGLASS                                 802 FALCONER RD                                                                              JOPPA           MD    21085‐4424
JOSEPH J DUNFORD JR                               3343 INFIRMARY RD                                                                            DAYTON          OH    45418‐1849
JOSEPH J DURENBECK JR                             44 MIDDLESEX ROAD                                                                            ORCHARD PARK    NY    14127‐4239
JOSEPH J DYMORA                                   1366 CHESANING RD                                                                            MONTROSE        MI    48457‐9323
JOSEPH J ERNST II                                 6711 AMITCHELL AVE                                                                           ST LOUIS        MO    63139
JOSEPH J FABUS JR                                 7274 SHEPARDSVILLE RD                                                                        ELSIE           MI    48831‐9765
JOSEPH J FALEY & CHERI A POREMBA FALEY JT TEN     18548 SANDPIPER PL                                                                           LEESBURG        VA    20176‐3913
JOSEPH J FAY                                      4105 GRAND AVE                                                                               MIDDLETOWN      OH    45044‐6127
JOSEPH J FIALKO                                   15 BAKER TERRACE                                                                             TONAWANDA       NY    14150‐5105
JOSEPH J FISCHER                                  1117 LEONARD RD                                                                              LEONARD         MI    48367
JOSEPH J FITZSIMMONS                              389 BLUE OAK LANE                                                                            CLAYTON         CA    94517‐2020
JOSEPH J FITZSIMMONS JR                           8201 ROLLING MEADOWS DR                                                                      CANTON          MI    48187‐5451
JOSEPH J FOLEY JR & HELEN M FOLEY TEN COM         219 SYLVANIA AVE                                                                             GLENSIDE        PA    19038‐4112
JOSEPH J FOLEY JR & MRS HELEN M FOLEY JT TEN      219 SYLVANIA AVE                                                                             GLENSIDE        PA    19038‐4112
JOSEPH J FORRO                                    3458 MAXWELL RD                                                                              OWENDALE        MI    48754‐9737
JOSEPH J FRYZEL & MARGARET I FRYZEL JT TEN        2114 CASS AVENUE                                                                             BAY CITY        MI    48708‐9121
JOSEPH J GALKOWSKI                                5514 BOHLANDER AVE                                                                           BERKELEY        IL    60163‐1403
JOSEPH J GALLO                                    5123 CRABAPPLE CT                                                                            LEWIS CENTER    OH    43035‐9026
JOSEPH J GAVLAK                                   RR1 BOX699                                                                                   HOUTZDALE       PA    16651‐9692
JOSEPH J GEORGE JR                                21506 ARROWHEAD                                                                              ST CLAIR SHR    MI    48082‐1218
JOSEPH J GIAMMONA SR                              3821 ANNADALE RD                                                                             BALTIMORE       MD    21222‐2717
JOSEPH J GIES III                                 2571 TIVERTON DR                                                                             STERLING HGTS   MI    48310‐6967
JOSEPH J GIULIETTI & REBECCA & JOSEPH JR &        9799 NW 19TH ST 19                                                                           CORAL SPRINGS   FL    33065‐5814
CHRISTOPHER &
JOSEPH J GOLICK & LEONA M GOLICK JT TEN           420 CHARLESTOWN DRIVE                                                                        BOLINGBROOK     IL    60440‐1210
JOSEPH J GORZELSKI                                3921 LANCASTER DR                                                                            STERLING HTS    MI    48310‐4410
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 349 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

JOSEPH J GOULD & DOROTHY S GOULD TR UA 09/03/93   354 S ARDEN BLVD                                                                                 LOS ANGELES        CA    90020‐4734
GOULD FAMILY TRUST
JOSEPH J HAVERTY                                  15 UPLAND RD                                                                                     MELROSE            MA    02176‐1710
JOSEPH J HLAVATY                                  10193 DELSY DR                                                                                   N ROYALTON         OH    44133‐1407
JOSEPH J HNILO JR                                 3480 SKYVIEW ST                                                                                  KALAMAZOO          MI    49048‐9439
JOSEPH J HOLLAND                                  597 CRANBURY CROSS RD                   #B                                                       N BRUNSWICK        NJ    08902‐2827
JOSEPH J HOLLOWAY                                 48 PLEASANT ST                                                                                   SPENCER            MA    01562‐1626
JOSEPH J HORNE                                    907 DEL SOL DR                                                                                   BOULDER CITY       NV    89005‐2322
JOSEPH J HORVATH & ANNE HORVATH JT TEN            3833 RETREAT DR                                                                                  MEDINA             OH    44256‐8161
JOSEPH J HUBER                                    15706 CLARION CT                                                                                 MACOMB             MI    48042‐5701
JOSEPH J IGNATOWSKI & KAREN D IGNATOWSKI JT TEN   16463 W DOS AMIGOS CT                                                                            SURPRISE           AZ    85374‐6212

JOSEPH J INGEMI                                   30 W CENTRAL ST                                                                                  NATICK          MA       01760‐4504
JOSEPH J JACKOVIC                                 118 OVERLOOK DR                                                                                  MC MURRAY       PA       15317‐2631
JOSEPH J JACUZZI                                  PO BOX 9022                                                                                      WARREN          MI       48090‐9022
JOSEPH J JADWICK                                  14800 SOUTH 88 TH AVENUE                                                                         ORLAND PARK     IL       60462‐3409
JOSEPH J JANECZEK                                 714 INDEPENDENCE AVE                                                                             TRENTON         NJ       08610‐4204
JOSEPH J JANOS                                    33647 FLORENCE                                                                                   GARDEN CITY     MI       48135‐1097
JOSEPH J JARENT                                   215 LINDBERGH ST                                                                                 MASSAPEQUA PARK NY       11762‐2239

JOSEPH J JEAKLE                                   8810 CHERRYLAWN                                                                                  STERLING HEIGHTS   MI    48313‐4829

JOSEPH J JENNEMAN                                  19378 CENTRALIA                                                                                 DETROIT            MI    48240‐1409
JOSEPH J JERSEVIC                                  4435 FORSYTHE                                                                                   SAGINAW            MI    48603‐5683
JOSEPH J JERSEVIC & GLORIA A JERSEVIC JT TEN       4435 FORSYTHE                                                                                   SAGINAW            MI    48603‐5683
JOSEPH J KATULIC JR                                1811 BALDWIN                                                                                    ANN ARBOR          MI    48104‐4446
JOSEPH J KELLY                                     5 DE HALVE MAEN DR                                                                              STONY POINT        NY    10980‐2602
JOSEPH J KENDRA & NANCY E KENDRA JT TEN            10 PRINCE AVE                                                                                   NEW CASTLE         DE    19720‐2029
JOSEPH J KIZINSKI                                  835 JOHNSON RD                                                                                  CHURCHVILLE        NY    14428
JOSEPH J KNAPIK                                    311 E WATER DR                                                                                  HUBBARD            OH    44425
JOSEPH J KNIFIC TOD DAVID J KNIFIC SUBJECT TO STA  4527 SCOTTHOLLOW RD                                                                             CULLEOKA           TN    38451‐3112
TOD RULES
JOSEPH J KOBUS                                     5047 HARP STREET                                                                                JACKSONVILLE       FL    32258‐2266
JOSEPH J KOCIK                                     108 ELEVENTH ST                                                                                 PORT CLINTON       OH    43452‐2442
JOSEPH J KONCEWICZ                                 3218 SKYLANE DRIVE #102                                                                         CARROLLTON         TX    75006‐2509
JOSEPH J KORONCEY & MARGARET E KORONCEY TR         676 SHREWSBURY DR                                                                               CLARKSTON          MI    48348‐3674
KORONCEY TRUST UA 10/08/86
JOSEPH J KOTVA TR JOSEPH J KOTVA TRUST UA 08/31/94 763 WELLMON ST                                                                                  BEDFORD            OH    44146‐3873

JOSEPH J KOZLOWSKI                                6815 SPRING ST                                                                                   NORTH BRANCH       MI    48461‐9384
JOSEPH J KRAUS JR                                 1252 JACKSON ST                                                                                  OSHKOSH            WI    54901‐3752
JOSEPH J KREPTOWSKI JR                            2863 10TH ST                                                                                     CUYAHOGA FALLS     OH    44221‐2049
JOSEPH J KUCHARSKY JR                             5 WHISPERING DRIVE                                                                               TROTWOOD           OH    45426‐3026
JOSEPH J KUSECK & ROSE MARIE KUSECK JT TEN        116 NARRAGANSETT DR                                                                              MC KEESPORT        PA    15135‐3317
JOSEPH J KUSNYER                                  63 WEST CLIFF DR                                                                                 WEST SENECA        NY    14224‐2837
JOSEPH J KUTI                                     1270 MT HOREB ROAD                                                                               MARTINSVILLE       NJ    08836‐2034
JOSEPH J LAGRASTA                                 17532 HAMLIN ST                                                                                  VAN NUYS           CA    91406‐5311
JOSEPH J LAGRASTA & MARY L LAGRASTA JT TEN        17532 HAMLIN ST                                                                                  VAN NUYS           CA    91406‐5311
JOSEPH J LARUSSO                                  1516 HILLSIDE DRIVE                                                                              CHERRY HILL        NJ    08003‐3504
JOSEPH J LASPADA                                  170 N GRAVEL ROAD                                                                                MEDINA             NY    14103‐1251
JOSEPH J LEONARD JR                               1033 COOLIDGE RD                                                                                 ELIZABETH          NJ    07208‐1003
JOSEPH J LIPTOCK                                  1111 N FLORES ST APT 7                                                                           WEST HOLLYWOOD     CA    90069‐2927

JOSEPH J LITTLE                                   207 UTEG UNIT 201                                                                                CRYSTAL LAKE       IL    60014‐7248
JOSEPH J LITWIN                                   30 LAKE VIEW CT                                                                                  BLUFFTON           SC    29910‐5318
JOSEPH J LOPEZ                                    223 MIRACLE DR                                                                                   TROY               MI    48084‐1713
JOSEPH J LYNCH                                    201 PARKERS GLEN                                                                                 SHOHOLA            PA    18458‐4207
JOSEPH J MACKAVICH                                580 GRIXDALE                                                                                     PONTIAC            MI    48054
                                                  09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 350 of 855
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

JOSEPH J MACKEY JR CUST JOSEPH J MACKEY III UGMA    61 FOLEY RD                                                                                     WARWICK            NY    10990‐2823
NY
JOSEPH J MAIETTA & MRS CORINNE B MAIETTA JT TEN     175 EUPHRATES CIR                                                                               PALM BCH GDNS      FL    33410‐2185

JOSEPH J MALSKI                                     919 WYNN CIRCLE                                                                                 LIVERMORE          CA    94550‐3779
JOSEPH J MARCHESI                                   7686 LEONORD ST                                                                                 COOPERSVILLE       MI    49404‐9729
JOSEPH J MARRA                                      2436 BELL RD                                                                                    MONTGOMERY         AL    36117
JOSEPH J MARS & ROBIN P ROSS JT TEN                 1206 AMBER GLADES LN                                                                            KNOXVILLE          TN    37922
JOSEPH J MARSIGLIO                                  957 WHITEGATE DRIVE                                                                             NORTHVILLE         MI    48167‐1075
JOSEPH J MATURI                                     247 PARK ST                                                                                     STATEN ISLAND      NY    10306‐1811
JOSEPH J MAYNARD                                    18 PROVIDENCE RD 1                                                                              SUTTON             MA    01590‐3813
JOSEPH J MC CALLUM                                  878 DOLLAR BAY DR                                                                               LAKE ORION         MI    48362‐2510
JOSEPH J MC QUAIDE & CATHERINE R MC QUAIDE JT       2413 WINTER ST                                                                                  SAINT ALBANS       WV    25177‐3311
TEN
JOSEPH J MENDOZA                                    6444 STEADMAN                                                                                   DEARBORN           MI    48126‐2057
JOSEPH J MENENDEZ                                   130 OAK ST                                                                                      FLORAL PARK        NY    11001‐3434
JOSEPH J MENTALEWICZ JR                             15919 LEONARD RD                                                                                SPRING LAKE        MI    49456‐2143
JOSEPH J METZE & JOAN L METZE JT TEN                717 WOODYHILL DR                                                                                CINCINNATI         OH    45238‐4735
JOSEPH J MEYERS                                     9584 N TUTTLE RD                                                                                FREE SOIL          MI    49411‐9629
JOSEPH J MIHALJEVICH                                11209 FIRST ST                                                                                  MOKENA             IL    60448‐1329
JOSEPH J MILLER & ELEANOR E MILLER TEN ENT          811 E MAIN ST                                                                                   WAYNESBORO         PA    17268‐2343
JOSEPH J MIRASOLO                                   12230 DIXIE HWY                                                                                 HOLLY              MI    48442‐9484
JOSEPH J MOCIK                                      106 CENTER AVENUE                                                                               LEONARDO           NJ    07737‐1116
JOSEPH J MOCNIAK                                    4211 LINCOLN AVE                                                                                CLEVELAND          OH    44134‐1811
JOSEPH J MONEK JR & JOYCE LYNN MONEK JT TEN         1274 SPRING VALLEY RD                                                                           BETHLEHEM          PA    18015‐5743
JOSEPH J MONJU SR                                   75548 HIGHWAY 437                                                                               COVINGTON          LA    70435‐7705
JOSEPH J MONVILLE                                   1749 W ANDERSON RD                                                                              LINWOOD            MI    48634‐9744
JOSEPH J MORGAN & MELISSA A MORGAN JT TEN           1283 HEDY LYNN DRIVE                                                                            NORTH              PA    15642‐1756
                                                                                                                                                    HUNTINGDON
JOSEPH J MUIC & HATTIE T MUIC JT TEN                21384 OUTER DR                                                                                  DEARBORN           MI    48124‐3040
JOSEPH J MUOIO                                      15807 HOLLEY RD                                                                                 HOLLEY             NY    14470‐9315
JOSEPH J MURTHA JR                                  1745 FRIES MILL RD                                                                              WILLIAMSTOWN       NJ    08094‐8727
JOSEPH J MYTYS                                      6605 WESTMORELAND DR                                                                            WOODRIDGE          IL    60517‐1615
JOSEPH J NAMEY JR                                   3539 EASTVIEW DR N E                                                                            GRAND RAPIDS       MI    49525‐3360
JOSEPH J NASADOS                                    970 VIRGINIA ST                        APT 302                                                  DUNEDIN            FL    34698‐6839
JOSEPH J NEMECEK                                    PO BOX 334                                                                                      CAPAC              MI    48014‐0334
JOSEPH J NEVEADOMI                                  37 LINDSAY RD                                                                                   MUNROE FALLS       OH    44262‐1117
JOSEPH J NEVEADOMI & BERTHA F NEVEADOMI JT TEN      37 LINDSEY RD                                                                                   MUNROE FALLS       OH    44262‐1117

JOSEPH J NIGRO                                      2 MASON PLACE                                                                                   MONTVILLE          NJ    07045‐8926
JOSEPH J NOVAK                                      11403 S TURNER RD                                                                               ST CHARLES         MI    48655‐9609
JOSEPH J ORLANDO & BARBARA L ORLANDO JT TEN         7416 S MICHIGAN AVE                                                                             ROTHBURY           MI    49452‐8001

JOSEPH J ORLOWSKI & DORIS M ORLOWSKI JT TEN         232 KELLS AVE                                                                                   NEWARK             DE    19711‐5110

JOSEPH J OSTACH                                     14807 PARK                                                                                      LIVONIA            MI    48154‐5156
JOSEPH J PAGLIA                                     614 RIVULETT COURT                                                                              LAWRENCEVILLE      GA    30043‐8402
JOSEPH J PAPKE                                      40461 M 43                                                                                      PAW PAW            MI    49079‐9637
JOSEPH J PARADISE JR                                20 STEARNS RD                                                                                   EAST BRUNSWICK     NJ    08816‐4129
JOSEPH J PARADISE JR & EILEEN J PARADISE JT TEN     20 STEARNS RD                                                                                   EAST BRUNSWICK     NJ    08816‐4129

JOSEPH J PARAMBO                                    15260 MERION CT                                                                                 NORTHVILLE         MI    48167‐8491
JOSEPH J PARKER                                     204 WOOBINE AVE                                                                                 STATEN ISLAND      NY    10314‐1836
JOSEPH J PAWLAK                                     1205 MAPLE ROAD                                                                                 ELMA               NY    14059‐9574
JOSEPH J PAWLAK & ANNA G PAWLAK JT TEN              1205 MAPLE RD                                                                                   ELMA               NY    14059‐9574
JOSEPH J PENN & LISA MARIE DURLOCK JT TEN           PO BOX 561                                                                                      HIGGINS LAKE       MI    48627‐0561
JOSEPH J PERO                                       4097 WATERWHEEL LANE                                                                            BLOOMFIELD HILLS   MI    48302‐1871

JOSEPH J PETE                                       3301 STEVENS RD                                                                                 ASHTABULA          OH    44004‐4738
                                                  09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 351 of 855
Name                                                Address1                              Address2             Address3          Address4          City               State Zip

JOSEPH J PETROCIK                                   222 CENTRAL PARK S                                                                             NEW YORK           NY    10019‐1408
JOSEPH J PIETRUSZA                                  469 DONNA ST                                                                                   SPARTA             MI    49345
JOSEPH J POGVARA                                    11120 WEST GERMAN CHURCH ROAD                                                                  LAGRANGE           IL    60525‐5265
JOSEPH J POLTRONE                                   2744 PARKER BLVD                                                                               TONAWANDA          NY    14150‐4528
JOSEPH J POWER JR                                   3260 TIERNEY PL                                                                                BRONX              NY    10465‐4024
JOSEPH J POWERS                                     46027 REX CT                                                                                   CHESTERFIELD       MI    48051‐3236
JOSEPH J PRUSAK                                     16624 S PARLIAMENT AVE                                                                         TINLEY PARK        IL    60477‐2466
JOSEPH J PRYBYS                                     34131 PRESTON DR                                                                               STERLING HEIGHTS   MI    48312‐5654

JOSEPH J PTAK                                       29207 OHMER                                                                                    WARREN             MI    48092‐4234
JOSEPH J QUARTANA                                   3906 MONROE ST                                                                                 MANDEVILLE         LA    70448‐4629
JOSEPH J RADTKA                                     665 W HURON RIVER DR                                                                           BELLEVILLE         MI    48111‐2613
JOSEPH J RADZIEWICZ                                 61 MILLAY ROAD                                                                                 MORGANVILLE        NJ    07751‐1414
JOSEPH J RADZIEWICZ & ALICE J RADZIEWICZ JT TEN     61 MILLAY ROAD                                                                                 MORGANVILLE        NJ    07751‐1414

JOSEPH J REEDY                                      620 WARNER RD                                                                                  BROOKFIELD         OH    44403‐9704
JOSEPH J REIHART                                    5778 FRY RD                                                                                    BROOKPARK          OH    44142‐2228
JOSEPH J REILLY                                     351 CHERRY ST                                                                                  ELIZABETH          NJ    07208‐3152
JOSEPH J RITCEY                                     403 LITCHFIELD                                                                                 BAY CITY           MI    48706‐4836
JOSEPH J RIVA                                       534 SQUAW BROOK RD                                                                             NORTH HALEDON      NJ    07508‐2941
JOSEPH J ROCK                                       49 LEVINSON AVE                                                                                SOUTH RIVER        NJ    08882‐1724
JOSEPH J ROONEY & IRENE M ROONEY JT TEN             5705 ROBINWOOD LANE                                                                            FALLS CHURCH       VA    22041‐2605
JOSEPH J RYLKO                                      3659 N PIONEER                                                                                 CHICAGO            IL    60634‐2027
JOSEPH J SALATINO & JUDY A SALATINO JT TEN          1408 HALF MILE POST SOUTH                                                                      BOOTHWYN           PA    19061‐1054
JOSEPH J SALERNO                                    5377 HALLFORD CIR                                                                              CLEVELAND          OH    44124‐3701
JOSEPH J SALOKA & ELEANOR SALOKA JT TEN             25673 WISEMAN ST                                                                               ROSEVILLE          MI    48066‐3631
JOSEPH J SALVESTRINI                                900 NORTHPOINT PLACE                                                                           LOMPOC             CA    93436‐3220
JOSEPH J SAUER                                      2473 WOODTHRUSH PLACE                 QUAIL RUN                                                MELBOURNE          FL    32904‐8023
JOSEPH J SAUM                                       322 W LORAIN STREET                                                                            MONROE             MI    48162‐2738
JOSEPH J SCHAEFFER                                  919 LINDEN LANE                                                                                UNION              NJ    07083‐8719
JOSEPH J SCHUSTER                                   10562 SOUTH FM 157                                                                             VENUS              TX    76084‐5102
JOSEPH J SEITZ & MRS DOLORES A SEITZ JT TEN         1001 SUMMIT DR                                                                                 YARDLEY            PA    19067‐5832
JOSEPH J SHEREDA                                    2810 S TOWNLINE RD                                                                             HOUGHTON LAKE      MI    48629‐8290
JOSEPH J SHEREDA & MARGARET A SHEREDA JT TEN        2810 S TOWNLINE RD                                                                             HOUGHTON LAKE      MI    48629‐8290

JOSEPH J SHERRY                                     1373 EAST COMMERCE RD                                                                          COMMERCE           MI    48382‐1240
                                                                                                                                                   TOWNSHIP
JOSEPH J SHRUGA                                     7812 N W SEYMOUR CT                                                                            KANSAS CITY        MO    64152‐4212
JOSEPH J SIELSKI                                    1930 GRAVES ROAD                                                                               HOCKESSIN          DE    19707‐9714
JOSEPH J SIKORA                                     834 RIVERSIDE DR                                                                               HILLSBOROUGH       NJ    08844‐3323
JOSEPH J SILVAROLI                                  916 RIDGE RD                                                                                   LEWISTON           NY    14092‐9703
JOSEPH J SLIFKO                                     1889 E ACTON CT                                                                                SIMI VALLEY        CA    93065‐2205
JOSEPH J SMITH                                      339 CAROLYN DRIVE                                                                              PORTLAND           MI    48875‐1603
JOSEPH J SOKOL                                      7 LOCKWOOD AVE                                                                                 FARMINGDALE        NY    11735‐4504
JOSEPH J SOPKO                                      2719 WICKLOW RD                                                                                CLEVELAND          OH    44120‐1335
JOSEPH J SOSNOWSKI                                  27731 WAGNER                                                                                   WARREN             MI    48093‐8356
JOSEPH J SOWA                                       6103 VENICE ST                                                                                 COMMERCE           MI    48382‐3663
                                                                                                                                                   TOWNSHIP
JOSEPH J STEGMEYER                                  908 PARK LN                                                                                    NASHVILLE          TN    37221‐4368
JOSEPH J STELLA                                     811 N SCHEURMANN RD APT 329                                                                    ESSEXVILLE         MI    48732‐2204
JOSEPH J STERK JR                                   108 S ACADEMY ST                                                                               JANESVILLE         WI    53545‐3766
JOSEPH J STEWART & PATRICIA H STEWART JT TEN        4515 SILVERTHORN DRIVE                                                                         MESQUITE           TX    75150‐2924
JOSEPH J STOSHAK                                    4240 LEAVITT DR N W                                                                            WARREN             OH    44485‐1105
JOSEPH J SUAREZ                                     50 REED AVE                                                                                    TRENTON            NJ    08610‐6306
JOSEPH J SUSKI                                      11078 RICHFIELD RD                                                                             DAVISON            MI    48423
JOSEPH J SUSZCYNSKI & PAMELA J SUSZCYNSKI JT TEN    3420 CALVANO DR                                                                                GRAND ISLAND       NY    14072‐1047

JOSEPH J TARKANICK                                  7200 LEE ROAD                                                                                  BROOKFIELD         OH    44403‐9674
JOSEPH J TOBIN JR                                   FISH HILL ROAD R D 1                                                                           FRANKLINVILLE      NY    14737
                                                  09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 352 of 855
Name                                                Address1                              Address2             Address3          Address4          City               State Zip

JOSEPH J TODOR                                      8495 S SHARON DRIVE                                                                            OAK CREEK          WI    53154‐3477
JOSEPH J TOMASZEWICZ                                13 JUNE ST                                                                                     SOUTH RIVER        NJ    08882‐1028
JOSEPH J TREVIS JR                                  104 LAKESHORE DRIVE                                                                            STRUTHERS          OH    44471‐1454
JOSEPH J TURNER & CATHERINE TURNER JT TEN           118‐50 197TH ST                                                                                ST ALBANS          NY    11412‐3456
JOSEPH J TYLUTKI                                    4525 SHABBONA LN                                                                               LISLE              IL    60532‐1060
JOSEPH J TYLUTKI CUST JOSEPH P TYLUTKI A UGMA MI    30W732 WOODEWIND DR                                                                            NAPERVILLE         IL    60563‐1053

JOSEPH J VAVRICKA                                   2035 HUNTINGTON AVE                                                                            FLINT              MI    48507‐3516
JOSEPH J VELTRI                                     BOX 56 MILLER ST                                                                               NEWELL             PA    15466‐0056
JOSEPH J VELTRI & LOIS M VELTRI TEN ENT             BOX 56                                                                                         NEWELL             PA    15466‐0056
JOSEPH J VENTIMIGLIA                                31310 BRODERICK DR                                                                             CHESTERFIELD TWP   MI    48051‐1809

JOSEPH J VITALI & BARBARA J VITALI TR UA VITALI     28 COULT LANE                                                                                  OLD LYME           CT    06371‐1104
FAMILY TRUST 01/21/92
JOSEPH J VOGT                                       1299 FLYNN RD                                                                                  ROCHESTER          NY    14612‐2919
JOSEPH J VOLY                                       931 TRELLIS LN                                                                                 WEST CHESTER       PA    19382‐7532
JOSEPH J VUKOVICH                                   652 MEADOWLAND DR                                                                              HUBBARD            OH    44425‐2615
JOSEPH J VULLO                                      5185 MAPLETON RD                                                                               LOCKPORT           NY    14094‐9217
JOSEPH J WEGLARZ                                    33700 MULVEY                                                                                   FRASER             MI    48026‐3593
JOSEPH J WEIR                                       7914 WYNBROOK RD                                                                               BALTIMORE          MD    21224‐2023
JOSEPH J WEISHAAR                                   5244 SW 16TH PL                                                                                CAPE CORAL         FL    33914‐6801
JOSEPH J WEISS CUST DAVID S WEISS UGMA MI           4485 CHIPPEWA CT                                                                               BLOOMFIELD         MI    48301‐1551
JOSEPH J WENDLING                                   15567 LINCOLN RD                                                                               CHESANING          MI    48616‐9773
JOSEPH J WESTMORE & MARIE R ZULKEY JT TEN           7736 E REGINA CIR                                                                              MESA               AZ    85207‐1174
JOSEPH J WHITE                                      20 SEVERNDALE RD                                                                               SEVERNA PARK       MD    21146‐2722
JOSEPH J WHITFORD                                   21080 WENDELL                                                                                  MT CLEMENS         MI    48036‐3723
JOSEPH J WILLIAMS & SHARON L WILLIAMS JT TEN        219 LAKEMOORE ST                                                                               BROWNSBURG         IN    46112‐2408

JOSEPH J WOLK                                       1650 E LAUREL CIRCLE                  PO BOX 197                                               NORVELT            PA    15674‐0197
JOSEPH J WYSMIERSKI                                 3237 S MANOR DR #314                                                                           LANSING            IL    60438‐3620
JOSEPH J YANALAITIS & JACQUELINE I YANALAITIS TEN   5597 BANBRIDGE DR                                                                              HARRISBURG         PA    17112‐2263
ENT
JOSEPH J YARBOROUGH III                             241 DIMATTEO DR                                                                                N TONAWANDA        NY    14120‐6477
JOSEPH J YEAGER                                     17 MATTEI LANE                                                                                 NEWARK             DE    19713‐2638
JOSEPH J YOUNG                                      6333 CROSBY RD                                                                                 LOCKPORT           NY    14094‐7951
JOSEPH J YURCHAK                                    69 W ELM ST                                                                                    FAIRCHANCE         PA    15436‐1048
JOSEPH J ZACHAR                                     2147 BREWER RD                                                                                 OWOSSO             MI    48867‐9726
JOSEPH J ZADER                                      357 WETMORE ROAD                                                                               TULLY              NY    13159‐2482
JOSEPH J ZARACHOWICZ                                7004 FAIT AVE                                                                                  BALTIMORE          MD    21224‐3123
JOSEPH J ZARACHOWICZ & JOANNE H ZARACHOWICZ JT      7004 FAIT AVE                                                                                  BALTIMORE          MD    21224‐3123
TEN
JOSEPH J ZASSADNEY                                  29889 BROWN CT                                                                                 GARDEN CITY        MI    48135‐2325
JOSEPH J ZEIGLER                                    3726 RISEDORPH ST                                                                              FLINT              MI    48506‐3128
JOSEPH J ZIELINSKI                                  5186 E CARPENTER RD                                                                            FLINT              MI    48506‐4530
JOSEPH JACARUSO TR JOSEPH JACARUSO PRIMARY          PO BOX 501                                                                                     EDWARDS            CO    81632‐0501
TRUST UA 07/08/94
JOSEPH JACKSON                                      8133 STARLING CT                                                                               YPSILANTI          MI    48197‐6194
JOSEPH JAKUNSKAS                                    5157 JACKSON RD                                                                                TRENTON            MI    48183‐4598
JOSEPH JAMES ALLOGIO                                86 WINDING HILL RD                                                                             SUSSEX             NJ    07461‐4701
JOSEPH JAMES BAIRD                                  1475 GOLDEN PLACE                     VICTORIA BC                            V8P 2E9 CANADA
JOSEPH JAMES BROWN                                  85 SOUTHAMPTON ST                                                                              BUFFALO            NY    14209
JOSEPH JAMES BRUNHUBER                              331 CRESTWOOD DR                                                                               MULBERRY           FL    33860‐9389
JOSEPH JAMES KORONA                                 7401 LAMPHERE                                                                                  DETROIT            MI    48239‐1071
JOSEPH JAMES SLINKOSKY                              PO BOX 39                                                                                      COALPORT           PA    16627‐0039
JOSEPH JAMES THERRIAN                               1436 LASALLE ST                                                                                BURTON             MI    48509‐2408
JOSEPH JAY BEAL                                     607 S HURD AVE                                                                                 ROSALIA            WA    99170‐9573
JOSEPH JESSE                                        1908 MARY LN                                                                                   TOMS RIVER         NJ    08753‐8213
JOSEPH JOHN BEVELACQUA & TERRY SANDERS              343 ADAIR DRIVE                                                                                RICHLAND           WA    99352‐8563
BEVELACQUA JT TEN
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 353 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JOSEPH JOHN CHIARELLA JR                         57 HARBOR HILL RD                                                                               SUNAPEE            NH    03782‐2624
JOSEPH JOHN DELAURO                              5959 WILSON MILLS RD                                                                            HIGHLAND HTS       OH    44143‐3211
JOSEPH JOHN GILLIO                               139 ROLLING HILLS RD                                                                            CLIFTON            NJ    07013‐4125
JOSEPH JOHN GOLONKA                              36726 WALTHAM                                                                                   STERLING HEIGHTS   MI    48310‐4513

JOSEPH JOHN KUTLIK                               503 FRALICKS BEACH RD                  PORT PERRY ON                          L9L 1B6 CANADA
JOSEPH JOHN LE MAIRE II                          2208 BANNER DR S W                                                                              WYOMING            MI    49509‐1926
JOSEPH JOHN MCQUAIDE                             2413 WINTER ST                                                                                  SAINT ALBANS       WV    25177‐3311
JOSEPH JOHN SKUPEN                               5022 SUNDANCE CT                                                                                DOYLESTOWN         PA    18902‐1279
JOSEPH JOHN SLEZAK                               24 LODGE STREET                                                                                 AMSTERDAM          NY    12010‐5114
JOSEPH JOHNSON                                   6433 SHERIDAN                                                                                   DETROIT            MI    48213‐2413
JOSEPH JOHNSON III                               2309 BARTH ST                                                                                   FLINT              MI    48504‐3198
JOSEPH JONES                                     62 EVERGREEN DR                                                                                 ROCHESTER          NY    14624‐3647
JOSEPH JUTT & ANNE JUTT JT TEN                   47 BATES RD                                                                                     WESTFIELD          MA    01085‐2543
JOSEPH K BURNS TR JOSEPH L BURNS TRUST UA        PO BOX 588                                                                                      ELLICOTT CITY      MD    21041‐0588
08/17/85
JOSEPH K BURNS TR UA 08/17/1985 JOSEPH L BURNS   PO BOX 588                                                                                      ELLICOTT CITY      MD    21041
TRUST
JOSEPH K CMEJREK JR & PHYLLIS M CMEJREK JT TEN   12202 JEFFERS LANE                                                                              FENTON             MI    48430‐2463

JOSEPH K DELANEY                                 8180 NORTH PORT                                                                                 GRAND BLANC        MI    48439‐8062
JOSEPH K HARVEY                                  187 GLADE DR                                                                                    LONG POND          PA    18334‐9795
JOSEPH K HOWZE                                   33755 WALTER ST                                                                                 CLINTON TWP        MI    48035
JOSEPH K JACKSON                                 837 LINTON RD                                                                                   MERIDIAN           MS    39301‐8340
JOSEPH K JEFFRIES                                RR 1 BOX 30                                                                                     NEW ROSS           IN    47968‐9710
JOSEPH K KELLEY & DOROTHY L KELLEY JT TEN        223 ARROWHEAD CIRCLE                                                                            SPARTANBURG        SC    29301‐2865
JOSEPH K KENDALL                                 2891 HORIZON HILLS                                                                              PRESCOTT           AZ    86305‐7110
JOSEPH K KENDALL & PAMELA K KENDALL JT TEN       2891 HORIZON HILLS DR                                                                           PRESCOTT           AZ    86305‐7110
JOSEPH K KOLASA                                  37261 ROSEBUSH                                                                                  STERLING HTS       MI    48310‐3808
JOSEPH K KRZEMINSKI                              10451 SCHAEFFER ROAD                                                                            MUIR               MI    48860‐9717
JOSEPH K LOGSDON & BETTY J LOGSDON JT TEN        423 N SPALDING AVE                                                                              LEBANON            KY    40033‐1522
JOSEPH K LOJEWSKI                                5085 CRIMSON KING COURT                                                                         MEDINA             OH    44256‐8384
JOSEPH K LOOMIS                                  43 BARBERRY CT                                                                                  LAWRENCE TWP       NJ    08648‐4820
JOSEPH K LUBLINSKI                               570 BACKNINE DR                                                                                 MONETA             VA    24121‐2508
JOSEPH K MC CAMMON IV                            3545 NEWARK RD                                                                                  LINCOLN UNIV       PA    19352
JOSEPH K MENDEL                                  BOX 370                                                                                         WELLSBURG          WV    26070‐0370
JOSEPH K MORROW JR                               19 COUNTRY LIFE                                                                                 OFALLON            MO    63366‐2709
JOSEPH K SCHULTZ                                 74 JANICE COURT #222                                                                            ESSEXVILLE         MI    48732‐9403
JOSEPH K TOOR                                    4756 SHERSTONE CT                                                                               CANTON             MI    48188‐2396
JOSEPH K VAN DEVENTER JR                         12645 PALMYRA ROAD                                                                              NORTH JACKSON      OH    44451‐9727
JOSEPH K VANKOS                                  920 GHENT RIDGE RD                                                                              AKRON              OH    44333‐1414
JOSEPH K WRIGHT                                  7230 TWIN BRANCH RD                                                                             ATLANTA            GA    30328‐1746
JOSEPH KADLUBOSKIE & DEBORAH A PRIDE JT TEN      29 SLATTERY DR                                                                                  WILKES BARRE       PA    18705‐3725

JOSEPH KALAFUT                                   8725 WILLOW DR                                                                                  JUSTICE          IL      60458‐1127
JOSEPH KALINOWSKI                                153 THOMPSON DR                                                                                 TORRINGTON       CT      06790
JOSEPH KAMARA‐KENNEDY                            PO BOX 2305                                                                                     PORTLAND         OR      97208‐2305
JOSEPH KARKOSKI SR & EVA M KARKOSKI JT TEN       7225 PELICAN BAY BLVD # 904                                                                     NAPPLES          FL      34108‐5523
JOSEPH KATCHMERIC                                5718 HERITAGE CT                                                                                DEARBORN HEIGHTS MI      48127‐2706

JOSEPH KATO & AMELIA KATO JT TEN                 154 VIA MADONNA                                                                                 ENGLEWOOD          FL    34224‐5125
JOSEPH KAVON & HERBERT KAVON & DAVID KAVON JT    147‐15 NORTHERN BLVD                   APT 4H                                                   FLUSHING           NY    11354
TEN
JOSEPH KAWECKI & MRS JOSEPHINE KAWECKI JT TEN    28277 NEW CASTLE ROAD                                                                           FARMINGTON HILLS MI      48331‐3336

JOSEPH KEDRON                                    6985 PEPPER TREE COURT                                                                          LOCKPORT           NY    14094‐9667
JOSEPH KELLY                                     29662 HOOVER RD                                                                                 WARREN             MI    48093‐3424
JOSEPH KENAR & JEAN KENAR JT TEN                 2617 KAUPAKALUA RD                                                                              HAIKU              HI    96708‐6027
JOSEPH KENEBREW                                  C/O DARKUS GALLOWAY                    RT 2 BOX 244G                                            NEWTON             TX    75966‐9538
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 354 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH KENNETH CRIQUI TR JOSEPH KENNETH CRIQUI   BOX 484                                                                                         CARROLLTON       MO    64633‐0484
REV TRUST UA 05/19/00
JOSEPH KEOUGH                                    8601 NW 57TH COURT                                                                              TAMARAC          FL    33321
JOSEPH KHAJAGOUNI                                214 SHIRLWOOD DR                                                                                SCHENECTADY      NY    12306‐3418
JOSEPH KICHAVEN                                  160 N ALMONT DRIVE                                                                              BEVERLY HILLS    CA    90211‐1807
JOSEPH KILLINSKI & MYRTLE KILLINSKI JT TEN       49 JOHNSON ST                                                                                   N WILKES BARRE   PA    18705‐1729
JOSEPH KINDNERSKI JR                             52 REDWOOD DR                                                                                   BRICK            NJ    08723‐3324
JOSEPH KING & MRS PINKIE KING JT TEN             2685 OAKMAN BLVD                                                                                DETROIT          MI    48238‐2529
JOSEPH KIRK BARTOLACCI                           1042 N CRANDALL                                                                                 CHARLOTTE        MI    48813‐8721
JOSEPH KLCO JR                                   802 RYAN                                                                                        OWOSSO           MI    48867‐3436
JOSEPH KLING CUST JEFFREY KLING UGMA NY          PO BOX 1                                                                                        CORNWALL         CT    06753‐0001
JOSEPH KOBULYAR                                  1284 HENRY AVE                                                                                  SPRING HILL      FL    34608‐7400
JOSEPH KOBYLSKI & MARJORIE K KOBYLSKI JT TEN     685 TIMBER LN                                                                                   PORT CLINTON     OH    43452‐3868
JOSEPH KOBYLSKI & MARJORIE K KOBYLSKI JT TEN     685 S TIMBERLANE                                                                                PORT CLINTON     OH    43452‐3868
JOSEPH KOJALI JR                                 230 BEECHWOOD LANE                                                                              PALM COAST       FL    32137‐8625
JOSEPH KOLET                                     22395 INDEPENDENCE                                                                              WOODHAVEN        MI    48183‐3739
JOSEPH KOLON                                     C/O KOLONKOWSKI                        675 WATER ST #11I                                        NEW YORK         NY    10002‐8113
JOSEPH KOPELMAN                                  7 OVERHILL RD                                                                                   NATICK           MA    01760‐2720
JOSEPH KOUSSA                                    1537 BEAVERCREEK LANE                                                                           KETTERING        OH    45429‐3705
JOSEPH KOVACS                                    2164 BRIAR LANE                                                                                 BURTON           MI    48509‐1233
JOSEPH KOVACS & IRMGARD KOVACS TEN ENT           14211 LOWE                                                                                      WARREN           MI    48093‐5737
JOSEPH KOWALCZYK                                 117 EAST DRIVE                                                                                  MASSAPEQUA       NY    11758‐1609
JOSEPH KOWALSKI                                  5731 LOBDELL RD                                                                                 MAYVILLE         MI    48744‐9631
JOSEPH KOZAN                                     5115 JANES RD                                                                                   SAGINAW          MI    48601‐9607
JOSEPH KOZIOL                                    13639 EDMORE DRIVE                                                                              DETROIT          MI    48205‐1116
JOSEPH KRASCELL                                  318 NORTH DR                                                                                    MOUNT MORRIS     MI    48458‐3004
JOSEPH KRASNAHILL                                RD2 BOX 33E                                                                                     WAPWALLOPEN      PA    18660‐9618
JOSEPH KRAWCZYK                                  2 FREDRO ST                                                                                     BUFFALO          NY    14206‐3511
JOSEPH KRIVAK & EMILY KRIVAK JT TEN              3289 SO CR 210                                                                                  KNOX             IN    46534‐7962
JOSEPH KROL                                      E‐7270 OAK CREST DR                                                                             REEDSBURG        WI    53959‐9462
JOSEPH KROL                                      E‐7270 OAK CREST DRIVE                                                                          REEDSBURG        WI    53959‐9462
JOSEPH KROPINSKI                                 1004 BLACK RD                                                                                   JOLIET           IL    60435‐5946
JOSEPH KUBACKI                                   404 KELLY PLANTATION DR                UNIT 1607                                                DESTIN           FL    32541‐8471
JOSEPH KULICK                                    720 10TH ST APT 211                                                                             NIAGRA FALLS     NY    14301‐1837
JOSEPH KURDYLA                                   74 SABO ST                                                                                      CARTERET         NJ    07008‐1230
JOSEPH KURICA                                    15372 N BLUE POINT TRL                                                                          EFFINGHAM        IL    62401‐7693
JOSEPH KURPOWIC & MRS CATHERINE KURPOWIC JT      1608 WOODMERE                                                                                   DETROIT          MI    48209‐1722
TEN
JOSEPH L ABBAMONDI                               441 LAKESIDE AVE                                                                                WOODBURY         NJ    08096
JOSEPH L ALLOY & PATRICIA E ALLOY JT TEN         9 ALPINE DR                                                                                     WAYNE            NJ    07470‐4201
JOSEPH L ANDERSON & GLENNIS F ANDERSON JT TEN    1222 MARIE ANN BOULEVARD                                                                        PANAMA CITY      FL    32401‐2040

JOSEPH L ARATA                                   29 SQUIRE TERR                                                                                  COLTS NECK       NJ    07722‐1021
JOSEPH L AULETTA                                 31 GLEN MAWR DR                                                                                 TRENTON          NJ    08618‐2006
JOSEPH L BALSIMO                                 140 WASHINGTON AVE                                                                              PLAINVIEW        NY    11803‐4020
JOSEPH L BAYTOS                                  5184 WILLOWCREST                                                                                YOUNGSTOWN       OH    44515‐3954
JOSEPH L BERNIGER PENSION PLAN UA 01/01/87       100 EXECUTIVE DR STE 340                                                                        W ORANGE         NJ    07052‐3309
JOSEPH L BEYERS                                  RR 11 BOX 660                                                                                   BEDFORD          IN    47421‐9701
JOSEPH L BLAIR                                   3771 SANDY SHOALS LN                                                                            DECATUR          GA    30034‐4729
JOSEPH L BOUCHARD                                148 ERIE ST                                                                                     LOCKPORT         NY    14094‐4628
JOSEPH L BOWLES CUST JOSEPH V BOWLES UGMA MI     5460 RIVERWALK TRL                                                                              COMMERCE TWP     MI    48382‐2844

JOSEPH L BRITTON                                 1575 MILTON SHARPE RD                                                                           RUSSELLVILLE     KY    42276‐7226
JOSEPH L BROCKMAN                                BOX 308                                                                                         JERSEYVILLE      IL    62052‐0308
JOSEPH L BROWN                                   12537 ROLLING ROCK CT                                                                           CHARLOTTE        NC    28215‐5025
JOSEPH L BRUBAKER & JOYCE F BRUBAKER JT TEN      2310 N DIXON RD                                                                                 KOKOMO           IN    46901‐1784
JOSEPH L BUHAGIAR                                6179 LAKEVIEW PARK DR                                                                           LINDEN           MI    48451‐9098
JOSEPH L BURNS                                   6819 KILBURN RD                                                                                 GRANT TWP        MI    48032
JOSEPH L CAIN JR                                 PO BOX 258                                                                                      ALMONT           MI    48003‐0258
                                              09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 355 of 855
Name                                                Address1                                Address2                 Address3      Address4          City              State Zip

JOSEPH L CATRI                                      528 BERLIN RD                                                                                    HURON             OH    44839‐1904
JOSEPH L CATRON                                     16045 HUMMEL RD                                                                                  BROOK PARK        OH    44142‐1960
JOSEPH L CHAO                                       4951 CRESTONE WAY                                                                                ROCHESTER         MI    48306‐1682
JOSEPH L CHIASSON                                   5 GRANT ST                                                                                       MAYNARD           MA    01754‐1813
JOSEPH L CIGNETTI CUST JODIE LYNN CIGNETTI UGMA     920 ROSE HILL DR                                                                                 ALTOONA           PA    16602‐6704
PA
JOSEPH L COELHO                                     136 WEST ST                                                                                      MILFORD           MA    01757
JOSEPH L COLEMAN                                    3613 KEYES STREET                                                                                FLINT             MI    48504‐3542
JOSEPH L CORCORAN                                   112 S GRAY AVE                                                                                   WILMINGTON        DE    19805‐5217
JOSEPH L CORDEIRO                                   2895 LA CRESTA CIR                                                                               MINDEN            NV    89423‐7855
JOSEPH L CREMER                                     2549 LITER RD                                                                                    ORION             MI    48359‐1546
JOSEPH L CURRERI & MRS DOMENICA V CURRERI JT TEN    7 EISENHOWER DRIVE                                                                               YONKERS           NY    10710‐1209

JOSEPH L DAGOSTINO & MRS ISABEL DAGOSTINO JT TEN 518 UNDERHILL AVE                                                                                   BRONX             NY    10473‐2924

JOSEPH L DANGELO CUST JENNIFER ANN MANNOCCHI        196 AVALON GARDENS DRIVE                                                                         NANUET            NY    10954‐7426
UGMA NY
JOSEPH L DARLING                                    2235 MALLARD DR                                                                                  REESE             MI    48757‐9465
JOSEPH L DEL SIGNORE & JODY J DEL SIGNORE JT TEN    5762 SCOTLAND ROAD                                                                               PENSACOLA         FL    32526‐3365

JOSEPH L DELAVERN                                   2310 GIBSON ST                                                                                   FLINT             MI    48503‐3164
JOSEPH L DEOLA                                      104 S BURGEE DRIVE                                                                               LITTLE EGG HARBOR NJ    08087‐1558

JOSEPH L DESROCHERS II & LOIS E DESROCHERS JT TEN   18825 DORIS                                                                                      LIVONIA           MI    48152‐1921

JOSEPH L DEVER JR                                   5317 TRIPLE CROWN CT                                                                             COLUMBUS        OH      43221‐5619
JOSEPH L DI BELLA                                   1330 HASSELL RD                                                                                  HOFFMAN ESTATES IL      60195‐2607

JOSEPH L DINGLE                                     1088 FLORAN ST                                                                                   MANNING           SC    29102‐5479
JOSEPH L DOBIAS                                     1319 OGDEN AVE                                                                                   WESTERN SPGS      IL    60558‐1027
JOSEPH L DORA                                       3736 LYONS RD                                                                                    LYONS             MI    48851‐9774
JOSEPH L DOUGLAS JR                                 50 MELLOR AVE                                                                                    CATONSVILLE       MD    21228‐5104
JOSEPH L DROUIN                                     3787 COACHWOOD LN                                                                                ROCHESTER HLS     MI    48309‐1064
JOSEPH L DUHR JR                                    26 ROSE LN                                                                                       CONWAY            AR    72032‐9701
JOSEPH L EMMEL                                      503 S WOLFE                                                                                      SANDWICH          IL    60548‐2362
JOSEPH L EVANS                                      PO BOX 434                                                                                       MONTICELLO        MS    39654
JOSEPH L FALIK                                      1865 HARVEST LN                                                                                  BLOOMFIELD        MI    48302‐1227
JOSEPH L FARRELL JR                                 A‐419 ARLINGTON HOUSE                   RIDDLE VILLAGE                                           MEDIA             PA    19063
JOSEPH L GALBRAITH                                  11437 HASKELL AVENUE                                                                             GRANADA HILLS     CA    91344‐3960
JOSEPH L GAUSE SR                                   PO BOX 1391                                                                                      NEW HAVEN         CT    06505‐1391
JOSEPH L GAY & ANITA E GAY TR GAY TRUST UA          2707 1/2 WEST AVENUE 32                                                                          LOS ANGELES       CA    90065‐2115
06/15/94
JOSEPH L GAY & ANITA GAY TR UA 06/15/94 GAY TRUST   2707 1/2 W AVE 32                                                                                LOS ANGELES       CA    0ZZZZ

JOSEPH L GOUTY                                      812 TREVOR WAY                                                                                   ARLINGTON         TX    76001‐7505
JOSEPH L GRAMER JR                                  PO BOX 175                                                                                       AMAZONIA          MO    64421‐0175
JOSEPH L GRECO                                      8 CANAL STREET                                                                                   LYONS             NY    14489‐1249
JOSEPH L GRESHAM                                    PO BOX 262                                                                                       SENOIA            GA    30276‐0262
JOSEPH L GRIFFITTS                                  323 ST RTE 224                                                                                   SULLIVAN          OH    44880
JOSEPH L HATTY                                      4361 SANDY CREEK DRIVE                                                                           SHELBY            MI    48316‐3081
JOSEPH L HEADRICK                                   2546 E STATE ROUTE 73                                                                            WAYNESVILLE       OH    45068‐9510
JOSEPH L HEALY & KATHERINE P HEALY JT TEN           36 WINDEMERE ROAD                                                                                WELLESLEY HILLS   MA    02481‐4821
JOSEPH L HIGHTOWER & JOANN HIGHTOWER JT TEN         2123 TILEBETTS WICK RD                                                                           GIRARD            OH    44420

JOSEPH L HOFFER                                     C/O BARBARA H HOFFER                    909 PLEASANT VALLEY DR                                   APOLLO            PA    15613‐9622
JOSEPH L HOLLAND                                    5540 HOLLISTER DRIVE                                                                             SPEEDWAY          IN    46224‐3322
JOSEPH L HOLLAND & EMILY E HOLLAND JT TEN           5540 HOLLISTER DR                                                                                INDIANAPOLIS      IN    46224‐3322
JOSEPH L HOROWITZ                                   10607 STONEYHILL CT                                                                              SILVER SPRING     MD    20901‐1540
JOSEPH L HOUNTZ                                     11906 STATE RD 46                                                                                SUNMAN            IN    47041‐8549
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 356 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

JOSEPH L HUTCHISON                                64 N CEDAR CREST DR                                                                           GREEN VALLEY       AZ    85614
JOSEPH L JACKSON & JOSEPH C JACKSON JT TEN        7485 SIVER FOX RUN                                                                            SWARTZ CREEK       MI    48473‐8923
JOSEPH L JOBE                                     1170 RUBY WAY                                                                                 BOGART             GA    30622‐1979
JOSEPH L KAHN                                     2360 LONE TREE ROAD                                                                           MILFORD            MI    48380‐2114
JOSEPH L KAUFMAN                                  27603 VALLEY RUN DR                                                                           WILMINGTON         DE    19810‐1953
JOSEPH L KEY                                      2009 CASTLE LN                                                                                FLINT              MI    48504‐5415
JOSEPH L KILGORE                                  108 SW 13TH ST                                                                                MOORE              OK    73160‐5319
JOSEPH L KRAMER                                   2015 GARDENIA LANDINGS LANE                                                                   SUN CITY CENTER    FL    33573‐4831
JOSEPH L LATOZAS                                  2800 WALMSLEY CIR                                                                             LAKE ORION         MI    48360‐1638
JOSEPH L LEFEBVRE                                 173 W WEST HILL RD                                                                            BARKHAMSTED        CT    06063‐3226
JOSEPH L LELLI CUST JOSEPH L LELLI JR UGMA MI     2041 HUNTERS CREEK DR                                                                         YPSILANTI          MI    48198‐9610
JOSEPH L LUDOVICI                                 84 RODGERS ROAD                                                                               CHESTER            WV    26034
JOSEPH L LYLE III CUST CATHERINE BARNES LYLE UTMA 303 ADAMS ST                                                                                  DECATUR            GA    30030‐5205
GA
JOSEPH L MAAS & CHERYL L MAAS JT TEN              4521 YACKLEY AVE                                                                              LISLE              IL    60532‐1551
JOSEPH L MANN & JUSTINA L MANN JT TEN             3535 RIDGE RD W                                                                               ROCHESTER          NY    14626‐3452
JOSEPH L MARTIN                                   19139 WOODSIDE ST                                                                             HARPER WOODS       MI    48225‐2119
JOSEPH L MAYO                                     3004 POUSKA RD                                                                                ABINGTON           MD    21009‐2717
JOSEPH L MELI & MRS PRISCILLA A MELI JT TEN       PO BOX 2427                                                                                   SETAUKET           NY    11733
JOSEPH L MERTZ JR                                 11414 REPUBLIC                                                                                WARREN             MI    48089‐3970
JOSEPH L MESTICHELLI                              417 HOFFMAN STATION RD                                                                        MONROE TWP         NJ    08831‐3505
JOSEPH L MESTICHELLI & VIRGINIA M MESTICHELLI JT  417 HOFFMAN STATION RD                                                                        MONROE TWP         NJ    08831‐3505
TEN
JOSEPH L MILLER                                   4727 GULL DRIVE #36‐D                                                                         LANSING            MI    48917‐4145
JOSEPH L MILLERY                                  48 N ASTOR STREET                                                                             PONTIAC            MI    48342‐2916
JOSEPH L MITCHELL                                 3849 PROVENCAL DR                                                                             EATON RAPIDS       MI    48827‐8705
JOSEPH L MORAN JR TR UA 12/02/92 JOSEPH L MORAN 1 WALSH LANE                                                                                    CINCINNATI         OH    45208‐3435
SR TRUST
JOSEPH L MORRIS                                   147 HWY 124                                                                                   PANGBURN           AR    72121‐9598
JOSEPH L MURRAY                                   76 UNIVERSITY AVE                                                                             NEW CASTLE         DE    19720‐4347
JOSEPH L MUSCARELLE JR & SHARON MUSCARELLE TR 9 WAREWOODS RD                                                                                    SADDLE RIVER       NJ    07458‐2712
ROBM TRUST UA 11/01/84
JOSEPH L NEMETH                                   236 GLENHURST RD                                                                              TONAWANDA          NY    14150‐8424
JOSEPH L NICPON                                   538 PROSPECT AVENUE                                                                           NO TONAWANDA       NY    14120‐4218
JOSEPH L OMICHAEL                                 703 SWINGING SPEAR                                                                            ROSWELL            NM    88201‐7822
JOSEPH L OWENS III                                953 CHAMPNEY                                                                                  ST SIMONS ISLAND   GA    31522‐5467

JOSEPH L OWENS JR                                156 HAMPTON POINT DR                                                                           ST SIMONS ISLAND   GA    31522‐5426

JOSEPH L PARKER                                  2401 BULL RUN ROAD                                                                             FOWLERVILLE        MI    48836‐9266
JOSEPH L PARRISH JR & GRACE W PARRISH JT TEN     2500 BARTON CREEK BLVD                APT 1602                                                 AUSTIN             TX    78735‐1623
JOSEPH L PATRICK                                 35510 STEPHANIE MM 202                                                                         ROMULUS            MI    48174‐4513
JOSEPH L PETO                                    326 NORTH DR                                                                                   DAVISON            MI    48423‐1627
JOSEPH L PETRY JR & MARTHA JO PETRY JT TEN       14 WEXFORD CIR NW                                                                              CARTERSVILLE       GA    30121‐4760
JOSEPH L PILLER & MRS HELEN E PILLER JT TEN      3851 FM 1829                                                                                   GATESVILLE         TX    76528‐4043
JOSEPH L PORCELLI                                5944 GONYER RD SW                                                                              FIFE LAKE          MI    49633‐9478
JOSEPH L POWERS                                  5537 EUGENE DR                                                                                 DIMONDALE          MI    48821‐9724
JOSEPH L POZZI                                   3341 W CARPENTER RD                                                                            FLINT              MI    48504‐1276
JOSEPH L PRYOR                                   412 THORS STREET                                                                               PONTIAC            MI    48342‐1967
JOSEPH L RAMER                                   34461 CHERRY HILL                                                                              WESTLAND           MI    48186‐4307
JOSEPH L RAND                                    3500 WINDSOR DR                                                                                CHARLOTTE          NC    28209‐3358
JOSEPH L RANDALL                                 5999 N COUNTYLINE ROAD                                                                         COLEMAN            MI    48618‐9204
JOSEPH L REEVES                                  1160 E TELEGRAPH ST 31                                                                         WASHINGTON         UT    84780‐1870
JOSEPH L RICHARDSON                              6626 TERRY LANE                                                                                HALES              MI    48739‐9098
JOSEPH L RODIER                                  R #1                                                                                           FREEMAN            MO    64746‐9801
JOSEPH L ROGERS                                  7560 NEFF RD                                                                                   MEDINA             OH    44256‐9498
JOSEPH L ROYSDON                                 253 WITT RD                                                                                    BOWLING GREEN      KY    42101‐9635
JOSEPH L SALONE                                  7610 CAMERON RD APT 2023                                                                       AUSTIN             TX    78752
JOSEPH L SAVAGE JR                               PO BOX 8348                                                                                    FREDERICKSBURG     VA    22404‐8348
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 4 of 8 Pg 357 of 855
Name                                               Address1                             Address2             Address3            Address4          City             State Zip

JOSEPH L SCHEIDELER                             124 FOXCHASE DR                                                                                    DELRAN           NJ    08075‐2321
JOSEPH L SCHLOSSER                              2485 WOODLAND TRAIL                                                                                FLINT            MI    48507‐5907
JOSEPH L SCHMIDT                                2221 MICHELE CT                                                                                    TROY             MI    48098‐3826
JOSEPH L SCHMITZ                                ROUTE 1                                                                                            MT HOPE          WI    53816‐9801
JOSEPH L SCHOLTISEK                             1647 W CREEK RD                                                                                    BURT             NY    14028‐9601
JOSEPH L SEIFERT                                1545 FRUITLAND AVE                                                                                 CLEVELAND        OH    44124‐3401
JOSEPH L SELDEN III                             13 JACKADDER AVE                        HAMMOND PARK         WESTERN AUSTRALIA   6164 AUSTRALIA
JOSEPH L SHANKS                                 43 MAYLAN DR                                                                                       DAYTON           OH    45405‐2737
JOSEPH L SHEFFIECK                              2975 CEDAR RIDGE DR                                                                                TROY             MI    48084‐2613
JOSEPH L SHERRICK                               1126 S THIRTEENTH ST                                                                               SAINT CHARLES    IL    60174‐3717
JOSEPH L SIMO                                   3301 IRISH CIRCLE                                                                                  SHREVEPORT       LA    71119‐3506
JOSEPH L SIMONETTA                              37033 CHADDWYCK LN                                                                                 ELYRIA           OH    44035‐8745
JOSEPH L SINKA                                  7295 MOWERSON RD                                                                                   MELVIN           MI    48454‐9711
JOSEPH L SKWIRSK                                160 W CAPAC ROAD                                                                                   IMLAY CITY       MI    48444‐1063
JOSEPH L SMITH                                  5600 AZLE AVE                           APT 102                                                    FORT WORTH       TX    76106‐2624
JOSEPH L SPRINKLE                               9037 S 300 E                                                                                       WALTON           IN    46994‐9752
JOSEPH L STEMPLE                                103 SYMES DRIVE                                                                                    WARNER ROBINS    GA    31093‐3138
JOSEPH L STEMPLE & LORETTA G STEMPLE JT TEN     103 SYMES DRIVE                                                                                    WARNER ROBINS    GA    31093‐3138
JOSEPH L STEWART                                5511 E COUNTY ROAD 350 S                                                                           PLAINFIELD       IN    46168‐8341
JOSEPH L STONE                                  100 BENT ARROW DRIVE                                                                               STOCKBRIDGE      GA    30281‐4839
JOSEPH L STRICKLAND                             19440 AFTON RD                                                                                     DETROIT          MI    48203
JOSEPH L SWIECICKI                              4485 ELEVEN MILE ROAD                                                                              AUBURN           MI    48611‐9599
JOSEPH L SWIENCICKI                             4485 ELEVEN MILE RD RT 2                                                                           AUBURN           MI    48611‐9599
JOSEPH L SWISHER                                1288 HENRI STREET                                                                                  NEW PORT         MI    48166‐9474
JOSEPH L TALLMAN                                2324 MONTCLAIR AVE NW                                                                              GRAND RAPIDS     MI    49544‐1422
JOSEPH L TEALE                                  8800 SUMMER WIND CIR                                                                               WOODBURY         MN    55125
JOSEPH L TENGOWSKI                              10125 PEOPLES LOOP                                                                                 PORT RICHEY      FL    34668
JOSEPH L TENGOWSKI & DOROTHY A TENGOWSKI JT TEN 10125 PEOPLES LOOP                                                                                 PORT RICHEY      FL    34668

JOSEPH L TRACEY                                      7748 TIMBERCREST DR                                                                           HUBER HEIGHTS    OH    45424‐1936
JOSEPH L UHRICH                                      2114 N GERRARD AVE                                                                            SPEEDWAY         IN    46224‐5038
JOSEPH L VARADY                                      1151 CHAFFER DR                                                                               ROCHESTER HLS    MI    48306‐3711
JOSEPH L VISINTIN & MARY VISINTIN TR VISINTIN LIVING 4663 SOUTH PRIMROSE DR                                                                        GOLD CANYON      AZ    85218‐1999
TRUST UA 05/03/06
JOSEPH L WAGLEY JR TR JOSEPH L WAGLEY JR TRUST UA 1940 AZALEA DR                                                                                   ADRIAN           MI    49221‐1101
11/12/96
JOSEPH L WANAMAKER                                   1001 RIVER ACRES DR                                                                           TECUMSEH         MI    49286‐1138
JOSEPH L WARD CUST MARY DAWN WARD UGMA TX            14358 CHADBOURNE                                                                              HOUSTON          TX    77079‐6600

JOSEPH L WARD JR                                   327 SHIRLEY CT                                                                                  BILOXI           MS    39531‐3440
JOSEPH L WEBER JR                                  6720 EVERGREEN TRL                                                                              LAKE             MI    48632‐9248
JOSEPH L WELLS                                     1984 E ST JOSEPH HIGHWAY                                                                        GRANDLEDGE       MI    48837‐9783
JOSEPH L WHITE JR                                  201 ARROWHEAD DR                                                                                CARTERSVILLE     GA    30120‐4002
JOSEPH L WILLIAMS                                  132 WHITTEMORE                                                                                  PONTIAC          MI    48342‐3064
JOSEPH L WYATT JR                                  1119 ARMADA DR                                                                                  PASADENA         CA    91103‐2805
JOSEPH L YOUNG                                     529 W SYCAMORE                                                                                  KOKOMO           IN    46901‐4425
JOSEPH L ZANGARA CUST LOUIS WILLIAM ZANGARA        23792 SW STONEHAVEN ST                                                                          SHERWOOD         OR    97140‐7078
UGMA NJ
JOSEPH L ZINGALE                                   16219 S 16TH AVE                                                                                PHOENIX          AZ    85045‐1732
JOSEPH L ZINGALE & VICKI M ZINGALE JT TEN          16219 SOUTH 16TH AVE                                                                            PHOENIX          AZ    85045‐1732
JOSEPH LA BARBARA                                  129 OAK ST                                                                                      YONKERS          NY    10701‐4326
JOSEPH LACINA & MRS DORIS B LACINA JT TEN          C/O J LACINA                         1322 HILL ST                                               ANN ARBOR        MI    48104
JOSEPH LADINA                                      9324 SALEM                                                                                      DETROIT          MI    48239‐1580
JOSEPH LAIOSA & KATHLEEN LAIOSA JT TEN             3062 QUEENSBERRY DR                                                                             HUNTINGTOWN      MD    20639‐2306
JOSEPH LAMBERT                                     1651 SAINT GEORGE AV E5                                                                         ROSELLE          NJ    07203‐2851
JOSEPH LAMIA                                       211 KUYPER DRIVE                                                                                UPPER NYACK      NY    10960‐1016
JOSEPH LANCIONI                                    1920 LOCKWOOD                                                                                   LIBERTYVILLE     IL    60048‐1537
JOSEPH LANGHAUSER JR                               2669 HEATHFIELD                                                                                 BLOOMFIELD TWP   MI    48301‐3412
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 358 of 855
Name                                                 Address1                              Address2                 Address3      Address4          City               State Zip

JOSEPH LAROCCA                                       24648 MELODY RD                                                                                WARREN             MI    48089‐4748
JOSEPH LAROCHE                                       23261 JULES AVE                                                                                PT CHARLOTTE       FL    33980‐4820
JOSEPH LASALA & ROSA A LASALA JT TEN                 30118 GLORIA ST                                                                                ST CLAIR SHORES    MI    48082‐1684
JOSEPH LASKOWSKI                                     17 RANSOM HALL RD                                                                              WOLCOTT            CT    06716‐2515
JOSEPH LAWRENCE                                      2489 COUNTY ST                                                                                 DIGHTON            MA    02715‐1520
JOSEPH LAWRENCE & JULIA LAWRENCE JT TEN              27 INDIAN MOUND DR                                                                             WHITESBORO         NY    13492‐2234
JOSEPH LEHN & ANGELINE LEHN JT TEN                   3434 HERITAGE DR                      APT 305                                                  MINNEAPOLIS        MN    55435‐2225
JOSEPH LEMARBE                                       2400 HUMMER LAKE RD                                                                            ORTONVILLE         MI    48462‐9444
JOSEPH LENORD QUESADA                                2149 BRADFORD PL                                                                               HARVEY             LA    70058‐1422
JOSEPH LEO PILINKO                                   860 ELK RUN                                                                                    JACKSONVILLE       FL    32259‐8318
JOSEPH LEO SKROBACZ                                  33 MADALINE LANE                                                                               DEPEW              NY    14043
JOSEPH LEONARD MAZUREK & DEBORAH JOY MAZUREK         14349 KERNER DRIVE                                                                             STERLING HEIGHTS   MI    48313‐2134
JT TEN
JOSEPH LESICA & GRACE LESICIA TR JOSEPH LESICA REV   1285 LAKE ROGERS CIR                                                                           OVIEDO             FL    32765‐7211
TRUST UA 02/19/93
JOSEPH LEWIS FABIAN                                  8 ROCKLAND AVE                                                                                 CLARENCE           NY    14031
JOSEPH LICATA                                        110 MARLI WY                                                                                   SPENCERPORT        NY    14559‐2072
JOSEPH LICWINKO                                      53 NORTH 11TH STREET                                                                           KENILWORTH         NJ    07033‐1519
JOSEPH LIEBERMAN & SUZANNE LIEBERMAN JT TEN          65 ELLENDALE ST                                                                                SPRINGFIELD        MA    01128‐1140

JOSEPH LIPTOCK                                       C/O JOSEPH J LIPTOCK                  1111 N FLORES ST APT 7                                   WEST HOLLYWOOD CA        90069‐2927

JOSEPH LIWAK & ELIZABETH LIWAK JT TEN       430 HOLLAND RD                                                                                          FLUSHING           MI    48433‐2131
JOSEPH LOJEWSKI                             1900 E NEWARK RD                                                                                        LAPEER             MI    48446‐9418
JOSEPH LOMBARDO CUST ADRIENNE LOMBARDO UGMA 3 FLORAL ST                                                                                             WINDHAM            NH    03087‐1574
MA
JOSEPH LONGO                                15 JANET LANE                                                                                           ROCHESTER          NY    14606‐4631
JOSEPH LOPEZ                                424 SO 9TH ST                                                                                           SAGINAW            MI    48601‐1941
JOSEPH LOPEZ                                3649 N PAGE AVE                                                                                         CHICAGO            IL    60634‐2016
JOSEPH LOPICCOLO                            56089 SCHOENHERR                                                                                        SHELBY TOWNSHIP    MI    48315‐6410

JOSEPH LOTURCO JR                                    4901 ROOSEVELT                                                                                 DEARBORN HTS       MI    48125‐2538
JOSEPH LOUIS HORVATH                                 30444 BAERYL PLACE                                                                             CASTAIC            CA    91384‐4717
JOSEPH LUBERA                                        74 WEST 17TH STREET                                                                            BAYONNE            NJ    07002‐2604
JOSEPH LUGARA                                        27 NORTH 19TH ST                                                                               KENILWORTH         NJ    07033‐1659
JOSEPH LYNCH                                         118 BRANDEMERE COURT                                                                           ELYRIA             OH    44035‐3665
JOSEPH LYNCH & ELEANOR V LYNCH JT TEN                118 BRANDMERE CT                                                                               ELYRIA             OH    44035‐3665
JOSEPH M A NELABOVIGE & MARGARET J NELABOVIGE        60 PADDOCK DR                                                                                  BERNVILLE          PA    19506‐9111
JT TEN
JOSEPH M ADUBATO                                     14 LEEDS CT                                                                                    BRICK            NJ      08724‐4011
JOSEPH M AIELLO                                      17375 TOWER DR                                                                                 MCCOMB           MI      48044‐5599
                                                                                                                                                    TOWNSHIP
JOSEPH M ALA                                         21031 MICHAEL CT                                                                               ST CLAIR SHORES  MI      48081
JOSEPH M ANDERSON                                    2601 COLUMBUS WAY SOUTH                                                                        ST PETERSBURG    FL      33712‐3906
JOSEPH M BALOGA & ROSEMARY BALOGA TR BALOGA          35575 COURT RIDGE CT                                                                           FARMINGTON HILLS MI      48335‐5814
FAM TRUST UA 01/19/01
JOSEPH M BANIA JR                                    5435 LANCE RD                                                                                  MEDINA             OH    44256‐7503
JOSEPH M BANIA JR & LYNN A BANIA JT TEN              5435 LANCE RD                                                                                  MEDINA             OH    44256‐7503
JOSEPH M BANISH                                      1702 CRANBERRY LANE APT 160                                                                    WARREN             OH    44483‐3631
JOSEPH M BARBARA                                     104 E LINCOLN AVE                                                                              MADISON HTS        MI    48071‐4085
JOSEPH M BARNES                                      107 ELAINE ST                                                                                  TRINITY            NC    27370‐9476
JOSEPH M BARONE III                                  455 COUNTRYSIDE DR                                                                             LEBANON            OH    45036‐7882
JOSEPH M BAUM                                        1929 CEDAR AVE                                                                                 HUNTINGTON         IN    46750‐8420
JOSEPH M BAVARO                                      225 SOUTHBROOK DR                                                                              DAYTON             OH    45459‐2847
JOSEPH M BEGEN                                       148 FIRST ST                                                                                   HOLBROOK           NY    11741‐3202
JOSEPH M BERAK                                       1928 ROYAL CRESCENT                   LONDON ON                              N5V 1N7 CANADA
JOSEPH M BERNERT                                     763 NOTRE DAME ST                                                                              GROSS POINT        MI    48230‐1239
JOSEPH M BEST                                        106 SADDLE COVE                                                                                MADISON            MS    39110‐7289
JOSEPH M BIEDA                                       13650 PALMYRA RD                                                                               NORTH JACKSON      OH    44451‐9777
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 359 of 855
Name                                             Address1                              Address2             Address3          Address4                    City              State Zip

JOSEPH M BIGLIN JR                               40587 MERION COURT                                                                                       LEONARDTOWN       MD    20650‐2340
JOSEPH M BLAIS                                   1128 BOSTON                                                                                              WATERFORD         MI    48328
JOSEPH M BOOTH                                   3135 WILDWOOD DR                                                                                         MC DONALD         OH    44437‐1354
JOSEPH M BORACKI                                 1827 FLEET ST                                                                                            BALTO             MD    21231‐3007
JOSEPH M BOURKE                                  947 BROADWAY                          # 947                                                              AMITYVILLE        NY    11701‐2238
JOSEPH M BROWN                                   521 IMPALA DRIVE                                                                                         MANSFIELD         OH    44903‐8728
JOSEPH M BUERCKE & MARY T BUERCKE JT TEN         26 SOUTHVIEW TERRACE SOUTH                                                                               MIDDLETOWN        NJ    07748‐2415
JOSEPH M BUSH                                    PO BOX 41974                                                                                             FREDERICKSBURG    VA    22404‐1974
JOSEPH M CALCAGNO                                4185 LEITH ST                                                                                            BURTON            MI    48509‐1032
JOSEPH M CALEMME                                 10475 LA SALLE ST                                                                                        HUNTINGTON        MI    48070‐1119
                                                                                                                                                          WOODS
JOSEPH M CALLAGHAN & JANET CALLAGHAN JT TEN      1303 CARDINAL DR                                                                                         WARSAW            IN    46580‐2005

JOSEPH M CALLAHAN & MARGARET C CALLAHAN JT TEN 47 CREST DR                                                                                                TARRYTOWN         NY    10591‐4305

JOSEPH M CARMACK                                  25647 JOANNE SMITH DR                                                                                   WARREN            MI    48091‐6511
JOSEPH M CARUSO                                   35 COUNTRY WALK BL                                                                                      MANCHESTER        NJ    08759‐5176
JOSEPH M CASEY                                    1838 BAYTHORN WAY                                                                                       BRUNSWICK         OH    44212‐6801
JOSEPH M CASEY                                    18019 GREEN KN                                                                                          SAN ANTONIO       TX    78258‐3414
JOSEPH M CAVERLY & MARY A CAVERLY TEN COM         41 STAR RIDGE WAY                    BOX 263                                                            PETERSBERG        NY    12138‐0263
JOSEPH M CECCHINI 22220 GROVE PTE                                                                                                                         ST CLAIR SHORES   MI    48081‐1653
JOSEPH M CERMELE & JEAN C CERMELE JT TEN          528 DREXEL AVE                                                                                          LAWRENCEVILLE     NJ    08648‐3845
JOSEPH M CESTA & BETH L CESTA JT TEN              2494 MANISTIQUE LAKES DR                                                                                LEBANON           OH    45036‐8981
JOSEPH M CHOATE & VICTORIA D CHOATE JT TEN        8907 OAK VALLEY RD                                                                                      HOLLAND           OH    43528
JOSEPH M CHOATE TOD 06/04/02                      8907 OAK VALLEY RD                                                                                      HOLLAND           OH    43528
JOSEPH M CHRISTOFF JR                             100 ROCKWAY AVE                                                                                         ROCKAWAY          NJ    07866‐3920
JOSEPH M CIMBALA III                              300 ROYAL OAKS BLVD APT 206                                                                             FRANKLIN          TN    37067‐4413
JOSEPH M CIMBORA JR                               2918 GREENWAY TRL                                                                                       MADISON           WI    53719‐1416
JOSEPH M CIOSEK TOD JAMES M CIOSEK SUBJECT TO STA 9466 PARKWOOD BLVD                                                                                      DAVISON           MI    48423‐2848
TOD RULES
JOSEPH M CLOPMAN                                  BOX 208                                                                                                 MASSENA           NY    13662‐0208
JOSEPH M COELHO                                   622 WOODMAN ST                       # 2W                                                               FALL RIVER        MA    02724‐1800
JOSEPH M CONBOY JR & ELLEN G CONBOY & JOSEPH M 2989 BRADFORD CIRCLE                                                                                       PALM HARBOR       FL    34685
CONBOY III JT TEN
JOSEPH M CONREY                                   658 SALEM AVE                                                                                           NEWFIELD          NJ    08344‐9006
JOSEPH M CONWAY                                   337 EDENBERRY WAY                                                                                       EASLEY            SC    29642
JOSEPH M COOK                                     3570 S WALTERS RD                                                                                       BELOIT            WI    53511‐8811
JOSEPH M COONEY                                   325 HENRY ST                                                                                            HASBROUCK         NJ    07604‐1711
                                                                                                                                                          HEIGHTS
JOSEPH M CORDEIRO                                39634 SIERRA DR                                                                                          ZEPHYRHILLS       FL    33540‐2916
JOSEPH M COUGHLIN                                UNIT 15                               4415 MAIN ST                                                       AMHERST           NY    14226‐4442
JOSEPH M CRISCIONE                               301 FIFTH AVE #4R                                                                                        BROOKLYN          NY    11215‐2436
JOSEPH M CROW                                    6807 OAKCREST WAY                                                                                        ZEPHYRHILLS       FL    33542
JOSEPH M CUMMINGS                                4 RUSSELL LANE                                                                                           SIMSBURY          CT    06070‐1614
JOSEPH M D ANTONI                                1149 HOLLY SPRING LN                                                                                     GRAND BLANC       MI    48439‐8955
JOSEPH M DAVIS                                   2509 BUENA VISTA CIR                                                                                     VALDOSTA          GA    31602‐2158
JOSEPH M DENEHY & MARIE L DENEHY JT TEN          101 GRAY ROAD                                                                                            GORHAM            ME    04038‐1110
JOSEPH M DENEHY III CUST CULLEN J DENEHY UTMA ME 27 GARFIELD ST                                                                                           WESTBROOK         ME    04092

JOSEPH M DIGEL                                   1705 O'CONNOR RD                                                                                         FOREST HILLS      MD    21050‐2101
JOSEPH M DZAGULONES                              21336 HILDEBRANDT DR                                                                                     FLAT ROCK         MI    48134‐9037
JOSEPH M EZZEDINE                                23 BP 576                             ABIDJAN 23           IVORY COAST       WEST AFRICA CÔTE D'IVOIRE
                                                                                                                              (REP)
JOSEPH M FABIAN                                  2623 HARTLEY ST                                                                                          VIRGINIA BEACH    VA    23456‐6549
JOSEPH M FAGAN                                   47 HICKORY LN                                                                                            MAYS LANDING      NJ    08330‐8902
JOSEPH M FAHRION                                 10 DOUGLAS ROAD                                                                                          FREEHOLD          NJ    07728‐1808
JOSEPH M FARINELLA                               26477 CARRINGTON BLVD                                                                                    PERRYSBURG        OH    43551‐9547
JOSEPH M FELLIN                                  15 MICHAEL TERRACE                                                                                       WOLCOTT           CT    06716
JOSEPH M FERRARA                                 566 HILLDALE CIR                                                                                         MILFORD           MI    48381‐2330
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 360 of 855
Name                                            Address1                            Address2             Address3          Address4          City               State Zip

JOSEPH M FERREIRA                            6 RIVER BEND LN                                                                                 PELHAM             NH    03076‐2240
JOSEPH M FISHER & MARY C FISHER JT TEN       1212 N GREENBRIAR RD                                                                            MUNCIE             IN    47304‐2933
JOSEPH M FOL                                 1054 SEWARD AVE                                                                                 WESTFIELD          NJ    07090‐3514
JOSEPH M FOSTER                              7008 PERSIMMON PLACE                                                                            SARASOTA           FL    34243‐1226
JOSEPH M FREESE                              440 RAVENSWOOD AVE                     APT 2                                                    MENLO PARK         CA    94025‐3430
JOSEPH M FRIEDMAN                            8 VAN SAUN DR                                                                                   TRENTON            NJ    08628‐1534
JOSEPH M FURTADO                             PO BOX 384                                                                                      PORTSMOUTH         RI    02871‐0384
JOSEPH M GALINIS                             75 TOBY DRIVE                                                                                   SUCCASUNNA         NJ    07876‐1847
JOSEPH M GARCIA                              10829 S WASHTENAW AVE                                                                           CHICAGO            IL    60655‐1730
JOSEPH M GENARO                              542 BEVERLY DRIVE                                                                               TALLMADGE          OH    44278‐1414
JOSEPH M GEORGE                              202 MONROE ST                                                                                   DURAND             MI    48429
JOSEPH M GERAGHTY                            441 CHOWNING CIR                                                                                DAYTON             OH    45429‐1628
JOSEPH M GINEVRA                             40 GUINEVERE DR                                                                                 ROCHESTER          NY    14626‐4309
JOSEPH M GLOWACKI JR                         8540 S STREAMWOOD DR                                                                            BEECHER            IL    60401
JOSEPH M GOLDBERG                            250 E 87TH ST                                                                                   NY                 NY    10028‐1320
JOSEPH M GONZALEZ                            92 CORTLAND CIRCLE                                                                              AMHERST            OH    44001‐1358
JOSEPH M GORSKI                              23 W 35TH ST                                                                                    STEGER             IL    60475‐1605
JOSEPH M GRAHAM                              303 IRVING WY                                                                                   PENDLETON          IN    46064‐9051
JOSEPH M GRASS                               PO BOX 311                                                                                      LUZERNE            MI    48636‐0311
JOSEPH M GRESH                               PO BOX 582                                                                                      WINDSOR            CA    95492‐0582
JOSEPH M GROVE & PATRICIA D GROVE JT TEN     36 GRAYS PEAK TRAIL                                                                             DILLON             CO    80435
JOSEPH M GWIZDALA                            1405 S MONROE                                                                                   BAY CITY           MI    48708‐8073
JOSEPH M HAAS                                6983 KIRK ROAD                                                                                  CANFIELD           OH    44406‐8663
JOSEPH M HALLIGAN                            BOX 66373                                                                                       BATON ROUGE        LA    70896‐6373
JOSEPH M HARDMAN & MARGARET A HARDMAN JT TEN BOX 95                                                                                          KILL DEVIL HILLS   NC    27948‐0095

JOSEPH M HART                                   249 SECRET WAY                                                                               CASSELBERRY        FL    32707‐3364
JOSEPH M HENKE & JEREMY J HENKE TEN COM         7555 BUCKS DR                                                                                GRNAD BLANC        MI    48439‐8544
JOSEPH M HIATT                                  5415 CONNECTICUT AVE NW APT 735                                                              WASHINGTON         DC    20015
JOSEPH M HUNTZ                                  11714 BROWN SCHOOLHOUSE RD                                                                   FREEDOM            NY    14065‐9790
JOSEPH M JACOBOVITZ JR                          15124 ARBOR HOLLOW DR                                                                        ODESSA             FL    33556‐3143
JOSEPH M JOHNSON                                1295 N SCHEURMANN                                                                            ESSEXVILLE         MI    48732‐1723
JOSEPH M KACZMAREK                              3544 TIMBER CREEK LN                                                                         ATTICA             MI    48412‐9223
JOSEPH M KATRINIC                               5677 RIDGE RD                                                                                BLACK RIVER        MI    48721‐9755
JOSEPH M KELLY                                  841 IFIELD RD                                                                                ST AUGUSTINE       FL    32095
JOSEPH M KENDRICK                               1318 OVERLOOK DR                                                                             CLEARFIELD         PA    16830‐1124
JOSEPH M KINCER                                 15371 PAYNE COURT                                                                            DEARBORN           MI    48126‐3030
JOSEPH M KISZKA & MARY ANN KISZKA JT TEN        G‐6190 W PIERSON ROAD                                                                        FLUSHING           MI    48433
JOSEPH M KNIFFIN & KAREN L KNIFFIN JT TEN       1195 ELM AV                                                                                  SONOMA             CA    95476‐5224
JOSEPH M KOBILOINSKY                            5305 STONINGTON DR                                                                           MEDINA             OH    44256‐7053
JOSEPH M KOCHAMBA                               8040 CLIFFVIEW DR                                                                            YOUNGSTOWN         OH    44514‐2760
JOSEPH M KOLODY                                 15 PRESTWICK CT                                                                              HILTON HEAD        SC    29926‐2600
JOSEPH M KOTZAN                                 10299 WHIPPLE TREE LN                                                                        CLARKSTON          MI    48348‐2059
JOSEPH M KOTZAN & DONNA M KOTZAN JT TEN         10299 WHIPPLE TREE LN                                                                        CLARKSTON          MI    48348‐2059
JOSEPH M KRAMMER                                3758 CHERRY CT                                                                               STEWARTSTOWN       PA    17363‐7567
JOSEPH M KROSOFF                                331 BROAD AVE                                                                                BELLE VERNON       PA    15012
JOSEPH M KUCERA                                 450 N GARFIELD                                                                               HINSDALE           IL    60521‐3753
JOSEPH M KUKLA                                  30825 COOLEY                                                                                 WESTLAND           MI    48185‐1797
JOSEPH M KUNITSKY & MILDRED KUNITSKY JT TEN     115 MARTA DR                                                                                 NEWARK             DE    19711‐6722

JOSEPH M KWAISER                                2830 E CURTIS RD                                                                             BIRCH RUN          MI    48415‐8912
JOSEPH M LEWANDOWSKI                            7723 CHARRINGTON DRIVE                                                                       CANTON             MI    48187‐1860
JOSEPH M MADDA & MARY E MADDA JT TEN            15960 MEADOWCREST RD                                                                         SHERMAN OAKS       CA    91403‐4714
JOSEPH M MADONIO & DONNA M MADONIO JT TEN       2081 APPALACHEE CIRLE                                                                        TAVARES            FL    32778‐2001

JOSEPH M MADORE                                 10245 CLARK RD                                                                               DAVISON            MI    48423‐8507
JOSEPH M MARCIN & ANN MARCIN TEN ENT            458 E BROAD ST #2                                                                            TAMAQUA            PA    18252‐2137
JOSEPH M MAZZEO                                 8272 ASHWOOD WAY                                                                             CLARKSTON          MI    48346‐1101
JOSEPH M MIELCAREK & DIANA L VIEW JT TEN        140 PATRICIA LANE                                                                            ALPENA             MI    49707‐3009
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 361 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JOSEPH M MONTECALVO                               151 HEATHER LANCE                                                                                CORTLAND          OH    44410‐1217
JOSEPH M MOONEY                                   5079 TYLER DRIVE                                                                                 TROY              MI    48098‐3409
JOSEPH M MOORE                                    211 BELLEVUE                                                                                     TOCCOA            GA    30577‐3807
JOSEPH M MORAN                                    6363 SHERMAN DRIVE                                                                               LOCKPORT          NY    14094‐6517
JOSEPH M NAPP                                     1500 MC CARTER HWY                                                                               NEWARK            NJ    07104‐3908
JOSEPH M NEGRI                                    95 SHORE CT                                                                                      PAGOSA SPGS       CO    81147‐9042
JOSEPH M NICOSIA                                  138 RENOUF DRIVE                                                                                 ROCHESTER         NY    14624‐2924
JOSEPH M NIEMCZURA & ANNA E NIEMCZURA JT TEN      21052 LE FEVER AVE                                                                               WARREN            MI    48091‐2734

JOSEPH M OBRIEN & JOELLEN J OBRIEN JT TEN         1914 CRYSTAL TREE CT                                                                             GENEVA            IL    60134‐4317
JOSEPH M ONEILL                                   R R #1                                  HAVELOCK ON                            K0L 1Z0 CANADA
JOSEPH M ORI & LAURA A CAUFIELD‐ORI JT TEN        328 W 86TH ST APT 11C                                                                            NEW YORK          NY    10024‐3156
JOSEPH M PADGETT SR                               1111 S RITTER                                                                                    INDIANAPOLIS      IN    46203‐2538
JOSEPH M PANULA                                   7167 SOUTH FORK DRIVE                                                                            SWARTZ CREEK      MI    48473‐9738
JOSEPH M PASSALAQUA                               1709 18TH AVE                           APT 301                                                  SEATTLE           WA    98122‐7005
JOSEPH M PICKERING                                274 DRY BRANCH DR                                                                                CHARLESTON        WV    25306‐6648
JOSEPH M POLDER                                   2043 DIXIE DR                           APT 2                                                    WAUKESHA          WI    53189‐8407
JOSEPH M PRICE                                    83 WEBSTER STREET                       APT 1                                                    EAST BOSTON       MA    02128‐2708
JOSEPH M RASCAVAGE & MARY B RASCAVAGE TEN ENT     110 W CENTRE ST                                                                                  ASHLAND           PA    17921‐1343

JOSEPH M REAVER JR & MARIAN REAVER JT TEN         5301 MIDDLEBURG ROAD                                                                             UNION BRIDGE      MD    21791‐9508
JOSEPH M REMIC                                    4916 N HILLS DR                                                                                  RALEIGH           NC    27612‐4006
JOSEPH M RIBAR JR & LYNN F RIBAR JT TEN           1040 GILMORE ST                                                                                  FAIRBANKS         AK    99701‐4117
JOSEPH M RIPP                                     1913 8TH ST                                                                                      MONROE            WI    53566‐1635
JOSEPH M RIVETTO & SHERRIE D RIVETTO JT TEN       25424 S ILLINOIS AVE                                                                             SUN LAKES         AZ    85248‐6479
JOSEPH M ROBBINS                                  5200 SHOTT RD                                                                                    MAYVILLE          MI    48744‐9704
JOSEPH M ROBINSON                                 834 W HEMPHILL ROAD                                                                              FLINT             MI    48507‐2546
JOSEPH M ROGAZIONE & REBECCA ROGAZIONE JT TEN     447 ST LAWRENCE BLVD                                                                             EASTLAKE          OH    44095‐1310

JOSEPH M ROGERS JR & JOSEPH M ROGERS SR JT TEN    298 WEATHERSTONE LANE                                                                            MARIETTA          GA    30068‐3476

JOSEPH M ROGOWSKI II                              19240 BURLINGTON DR                                                                              DETROIT           MI    48203‐1452
JOSEPH M ROTONDO                                  33135 PICKFORD ST                                                                                LIVONIA           MI    48152‐4443
JOSEPH M RUA                                      255 NIAGARA ST                                                                                   TONAWANDA         NY    14150‐1004
JOSEPH M RUCK                                     39 CHESTNUT DR                                                                                   MATAWAN           NJ    07747‐2901
JOSEPH M RUSSIN                                   BOX 273                                                                                          MADERA            PA    16661‐0273
JOSEPH M RUSTONI                                  21213 TIMBERIDGE                                                                                 ST CLAIR SHORES   MI    48082‐1235
JOSEPH M SANDERS                                  4371 BAILEY RD                                                                                   N JACKSON         OH    44451‐9731
JOSEPH M SAVINO                                   16831 CHERRY CREEK AVE                                                                           TINLEY PARK       IL    60477‐7663
JOSEPH M SCHULDE                                  2448 GLADSTONE AVE                      WINDSOR ON                             N8W 2P2 CANADA
JOSEPH M SCITNEY                                  775 N LAUREL ST                                                                                  HAZLETON          PA    18201‐3248
JOSEPH M SECKA JR                                 3938 S MAIN ST                                                                                   MINERAL RIDGE     OH    44440‐9792
JOSEPH M SERRA TR JOSEPH M SERRA LVG TRUST UA     1719 WAVERLY CIRCLE                                                                              ST CHARLES        IL    60174‐5875
8/20/98
JOSEPH M SHARP                                    7421 NW 116TH ST                                                                                 OKLAHOMA CITY     OK    73162‐1543
JOSEPH M SHARP & PATRICIA K SHARP JT TEN          7421 NW 116TH ST                                                                                 OKLAHOMA CITY     OK    73162‐1543
JOSEPH M SHATZEL JR                               1413 AMANDA PARK LN                                                                              CHARLESTON        SC    29412‐8651
JOSEPH M SHAW                                     25 OAK BRANCH ROAD                                                                               CRANBURY          NJ    08512‐3045
JOSEPH M SHIELDS CUST TIMOTHY J SHIELDS UGMA CT   15 CARRIAGE LANE                                                                                 WALPOLE           MA    02081‐4114

JOSEPH M SHILKO                                   3120 N GRAHAM RD                                                                                 MOBILE            AL    36618‐4606
JOSEPH M SHUSTER & MRS PATRICIA MARY SHUSTER JT   13369 N 101ST PLACE                                                                              SCOTTSDALE        AZ    85260‐7240
TEN
JOSEPH M SIVERLING                                1045 HARRISON ST NE                                                                              WARREN            OH    44483‐5122
JOSEPH M SORGE                                    643 US HWY 1 BOX 14573                                                                           N PALM BEACH      FL    33408
JOSEPH M SPENNEY                                  BOX 186                                                                                          WHEATLAND         MO    65779‐0186
JOSEPH M SPOTORA CUST BENJAMIN J SPOTORA UTMA     394 HOLBROOK CIRCLE                                                                              CHICAGO HEIGHTS   IL    60411‐1188
IL
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 362 of 855
Name                                             Address1                                Address2              Address3         Address4          City               State Zip

JOSEPH M STAFFIERA TR JOSPEH M STAFFIERA TRUST UA 5091 PINNACLE DR                                                                                OLDSMAR            FL    34677‐1927
03/10/99
JOSEPH M STAMEY                                   9204 CROSBY LAKE ROAD                                                                           CLARKSTON          MI    48346‐2569
JOSEPH M STEFANKO                                 6070 SEYMOUR RD                                                                                 FLUSHING           MI    48433‐1006
JOSEPH M STEHLE                                   759 HIBBARD RD                                                                                  HORSEHEADS         NY    14845‐7941
JOSEPH M SULTANA                                  11 TUDOR DR                                                                                     FARMINGDALE        NJ    07727‐3875
JOSEPH M SWAIN & HELEN L SWAIN JT TEN             500 RT 44                                                                                       LOGAN TOWNSHIP     NJ    08085

JOSEPH M SZYMCZYK & GREGORY P SZYMCZYK JT TEN    28551 ADLER DR                                                                                   WARREN             MI    48093‐4222

JOSEPH M TARALA                                  48439 M‐40 HWY                                                                                   PAW PAW            MI    49079‐9544
JOSEPH M TOLKACZ                                 24241 KINGS POINTE                                                                               NOVI               MI    48375‐2709
JOSEPH M TORREGROSSA                             2570 LOVE RD                                                                                     GRAND ISLAND       NY    14072‐2457
JOSEPH M TOWNS JR                                201 AMHERST WAY SE                                                                               CONYERS            GA    30094‐6903
JOSEPH M TRAVNIKAR                               55761 NICKELBY S                                                                                 SHELBY TOWNSHIP    MI    48316‐1007

JOSEPH M TREPTON                             1960 HARDWICK DR                                                                                     LAPEER             MI    48446‐9719
JOSEPH M URDA III                            5218 GATEWAY AVE                                                                                     ORLANDO            FL    32821‐8210
JOSEPH M URDA III & GAIL L URDA JT TEN       5218 GATEWAY AVE                                                                                     ORLANDO            FL    32821‐8210
JOSEPH M VOKE                                380 OAK ROAD                                                                                         STAHLSTOWN         PA    15687‐1259
JOSEPH M VOKE & MRS VIRGINIA H VOKE JT TEN   380 OAK ROAD                                                                                         STAHLSTOWN         PA    15687‐1259
JOSEPH M VOYTILLA                            1526 EVANS RD                                                                                        POTTSTOWN          PA    19465‐7256
JOSEPH M WAGNER & JOYCE E WAGNER JT TEN      PO BOX 58                                                                                            ALFRED             ME    04002‐0058
JOSEPH M WAITER & ELLEN M WAITER JT TEN      1524 S HANOVER STREET                                                                                NANTICOKE          PA    18634‐3618
JOSEPH M WALTERS                             7240 RONALD DRIVE                                                                                    SAGINAW            MI    48609‐6923
JOSEPH M WEISHAAR                            3653 CASTLE RD                                                                                       FOSTORIA           MI    48435‐9738
JOSEPH M WILK                                1828 WYATT RD                                                                                        STANDISH           MI    48658‐9221
JOSEPH M WILSON & DOROTHY M WILSON JT TEN    701 NORTHSIDE DR                                                                                     FREDERICK          MD    21701‐6235
JOSEPH M WODZIAK                             16970 AUTUMN DR                                                                                      TINLEY PARK        IL    60477‐2915
JOSEPH M WOMMACK                             214 BLUFFVIEW COURT                                                                                  TROY               MO    63379‐2012
JOSEPH M WORKS CUST BROOKE MIKALA WORKS UTMA 2311 N FOURTH ST                                                                                     LONGVIEW           TX    75605‐3152
TX
JOSEPH M WRIGHT                              28711 SUNSET                                                                                         LATHRUP VILLAGE    MI    48076‐2538

JOSEPH M YOUNTS                                  PO BOX 1525                                                                                      FOUNTAIN INN       SC    29644‐1059
JOSEPH M ZIEMBO                                  2621 LONGVIEW                                                                                    ROCHESTER HILLS    MI    48307‐4765
JOSEPH M ZUCKOR CUST JOSHUA B TYNES UTMA OK      262 RAINTREE LANE                                                                                LONE GROVE         OK    73443

JOSEPH MACHADO                                   62 SHERIDAN ROAD                                                                                 OAKLAND            CA    94618‐2529
JOSEPH MACHUGA JR                                1104 HICKORY DR                                                                                  HILLSBOROUGH       NC    27278‐7365
JOSEPH MACK III                                  1562 KING CHARLES DRIVE                                                                          PITTSBURGH         PA    15237‐1585
JOSEPH MACK MCKELLAR                             910 FRANK ST                                                                                     FLINT              MI    48504‐4854
JOSEPH MADRAS                                    2206 NANDI HILLS TRAIL                                                                           SWARTZCREEK        MI    48473‐7912
JOSEPH MAGGIO                                    160 OAKWOOD AVE                                                                                  W LONG BRANCH      NJ    07764‐1558
JOSEPH MAHI                                      BOX 15                                                                                           KAILUA‐KONA        HI    96745‐0015
JOSEPH MAINO                                     13 AZALEA DR                                                                                     LUMBERTON          NJ    08060‐5239
JOSEPH MALENCH                                   442 W 57TH ST                           APT 11J                                                  NEW YORK           NY    10019‐3024
JOSEPH MALLIA                                    22700 GARRISON 904                                                                               DEAR BORN          MI    48124‐2025
JOSEPH MANGIARACINA                              103 HOGAN LN                                                                                     COLUMBIA           TN    38401‐8606
JOSEPH MANINA JR                                 15473 BOICHOT ROAD                                                                               LANSING            MI    48906‐1223
JOSEPH MANINA JR & ROSA A MANINA JT TEN          15473 BOICHOT ROAD                                                                               LANSING            MI    48906‐1223
JOSEPH MANUEL                                    3876 LYNN RD                                                                                     ORCHARD PARK       NY    14127‐4020
JOSEPH MANUSZAK & LYNN MANUSZAK JT TEN           43835 VIA ANTONIO DR                                                                             STERLING HEIGHTS   MI    48314‐1807

JOSEPH MARINO                                    586 S PINE                              PO BOX 192                                               HEMLOCK            MI    48626‐0192
JOSEPH MAROVICH JR                               C/O MARY ANN CHAMPA                     1774 KIRTSTONE TERR                                      PAINESVILLE TWP    OH    44077‐4733
JOSEPH MARTIN NOWOSAD CUST KATE STINSON          579 FLEETWOOD DR N                                                                               VALPARAISO         IN    46385‐6807
NOWOSAD UTMA MI
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 363 of 855
Name                                             Address1                               Address2               Address3        Address4          City            State Zip

JOSEPH MARTIN SCHWARTZ CUST ALEXIS MIRIAM        1105 MASSACHUSETTS AVE                 APT 2A                                                   CAMBRIDGE       MA    02138‐5207
SCHWARTZ UTMA MA
JOSEPH MARTINI                                   13497 MARK                                                                                      SOUTHGATE       MI    48195‐2422
JOSEPH MASCARI                                   1724 E CHAPEL DR                                                                                DELTONA         FL    32725‐3832
JOSEPH MASICH & MARCY ZELLNER JT TEN             20367 MIDWAY BLVD                                                                               PORT CHAROLET   FL    33952‐4038
JOSEPH MASSIAH                                   10 BRENNAN RD                          AJAX ON                                L1T 2G1 CANADA
JOSEPH MATLOCK                                   28980 HAZELWOOD                                                                                 INKSTER         MI    48141‐1660
JOSEPH MATTERA & LILLIAN MATTERA JT TEN          64 COTTER ST                                                                                    WEST ISLIP      NY    11795‐1047
JOSEPH MATTHEW BILODEAU                          187 LUCERNE DR                                                                                  FORESTVILLE     WI    54213‐9797
JOSEPH MATTHEWS                                  1019 THIRD ST                                                                                   BRILLIANT       OH    43913‐1051
JOSEPH MATZURA & STEPHEN JAMES MATZURA JT TEN    STEPHEN JAMES MATZURA                  716 PINE ST                                              KULPMONT        PA    17834‐1323

JOSEPH MAX GANADO                                171 OLD BAKERY ST                      VALLETTA VLT 09                        MALTA
JOSEPH MAXWELL                                   110 TURTLE RIDGE DR                                                                             BRANDON         MS    39047
JOSEPH MAYER                                     PO BOX 668                                                                                      NORTH PORT      MI    49670‐0668
JOSEPH MAZIARZ                                   22 NEWELL AVE                                                                                   TRENTON         NJ    08618‐5134
JOSEPH MAZZONE                                   17 COLEY ROAD                                                                                   WILTON          CT    06897‐2703
JOSEPH MC CRIGHT                                 8115 CLAY CT                                                                                    STERLING HTS    MI    48313‐4601
JOSEPH MCGOWAN & HUGUETTE M MCGOWAN JT TEN       5930 41ST AVE                                                                                   WOODSIDE        NY    11377‐4842

JOSEPH MELINCHEK                                 6 CARONDELET DR                        APT 116                                                  WATERVLIET      NY    12189‐2315
JOSEPH MENTO & PHILOMENA MENTO TEN ENT           137 WALKER AVE                                                                                  ELKINS PARK     PA    19027‐1717
JOSEPH MEREDITH STILLS                           7507 8TH STREET NW                                                                              WASHINGTON      DC    20012‐1813
JOSEPH MEZZO                                     #4 RT 24                                                                                        CHESTER         NJ    07930‐2410
JOSEPH MICHAEL COX                               PO BOX 9022                                                                                     WARREN          MI    48090‐9022
JOSEPH MICHAEL GARZA                             630 14TH ST N                                                                                   WOODVILLE       TX    75979‐7567
JOSEPH MICHELANGELO                              3788 CONDALIA AVE                                                                               YUCCA VALLEY    CA    92284‐1921
JOSEPH MICHELI CUST SCOTT MICHELI UGMA OH        2599 MILLSBORO ROAD                                                                             MANSFIELD       OH    44903‐8784
JOSEPH MICHELI CUST TRACI JO MICHELI UGMA OH     2599 MILLSBORO ROAD                                                                             MANSFIELD       OH    44903‐8784

JOSEPH MIGLIOZZI                                 4 HOSPITAL AVE                                                                                  DANBURY         CT    06810‐5942
JOSEPH MIGONE                                    169 OLD PORT ROAD                                                                               GALLOWAY        NJ    08205
JOSEPH MIKLOS                                    205 CABOT AVENUE                                                                                EDISON          NJ    08837‐2839
JOSEPH MILLNIK                                   34 GOLD ST                                                                                      EDISON          NJ    08837‐3210
JOSEPH MINDAK                                    740 EVANS ST                                                                                    LANOKA HARBOR   NJ    08734‐1609
JOSEPH MINTAH                                    1700 HARRISON AVE #4G                                                                           BRONX           NY    10453‐7095
JOSEPH MIRAGLIOTTA & MARIE MIRAGLIOTTA JT TEN    11 EAST GRANT AVE                                                                               COLONIA         NJ    07067‐1404

JOSEPH MIRVIS                                    19 TRENTON CIR                                                                                  GRANVILLE       OH    43023‐9656
JOSEPH MISITA                                    16 4TH ST                                                                                       HIGHLANDS       NJ    07732‐1620
JOSEPH MOCERI & MARY MOCERI JT TEN               2317 BONNIE VIEW DR                                                                             ORMOND BEACH    FL    32176
JOSEPH MOLINARO & KATHY MOLINARO JT TEN          2550 STATE ROAD 580                    LOT 361                                                  CLEARWATER      FL    33761‐2963
JOSEPH MONIN                                     116 CROSBY AVENUE                                                                               KENMORE         NY    14217‐2454
JOSEPH MONTEITH MC CABE III                      C/O OREDIA W WESTBURY/POA              103 PECAN GROVE LANE                                     FORT MOTTE      SC    29135‐8871
JOSEPH MONTI JR                                  1040 RIVERSIDE DRIVE                                                                            WELCH           WV    24801‐2614
JOSEPH MOODY BUCKNER                             PO BOX 629                                                                                      CHAPEL HILL     NC    27514‐0629
JOSEPH MORANO                                    43 SHERWOOD ROAD                                                                                KENILWORTH      NJ    07033‐1426
JOSEPH MORIN & COLLEEN MORIN JT TEN              56 MARCY AVE                                                                                    AVERILL PARK    NY    12018
JOSEPH MORTON & DEANNE E MORTON JT TEN           4227 WEATHERSTONE RD                                                                            CRYSTAL LAKE    IL    60014‐4521
JOSEPH MOSES & MRS ELSE ESTHER MOSES JT TEN      100 BENNETT AVE                        APT 2E                                                   NEW YORK        NY    10033‐3000
JOSEPH MOSLEY                                    PO BOX 2285                                                                                     LA GARANGE      IL    60525‐8385
JOSEPH MOTTA JR                                  8925 OLD CREEK DR                                                                               ELK GROVE       CA    95758‐6100
JOSEPH MUGNAI                                    142 SAGAMORE DRIVE                     THE HAMLET                                               PLAINVIEW       NY    11803‐1524
JOSEPH MUGNAI & MRS FRANCES MUGNAI JT TEN        142 SAGAMORE DRIVE                     THE HAMLET                                               PLAINVIEW       NY    11803‐1524
JOSEPH MURAWSKI CUST BRYAN MURAWSKI UGMA NY      1004 N DELAWARE AVE                                                                             LINDENHURST     NY    11757‐2113

JOSEPH MURAWSKI CUST KIMBERLY MURAWSKI UGMA 1004 N DELAWARE AVE                                                                                  LINDENHURST     NY    11757‐2113
NY
JOSEPH MUSARRO                              5801 EMERALD LAKES DR                                                                                MEDINA          OH    44256‐7468
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 364 of 855
Name                                            Address1                             Address2              Address3         Address4          City               State Zip

JOSEPH MUSZYNSKI                                1811 ELDRIDGE DR                                                                              TROY               MI    48083‐2023
JOSEPH N BOLLING                                5768 NEFF AVE                                                                                 DETROIT            MI    48224‐2060
JOSEPH N BOUCHARD & RITA B BOUCHARD JT TEN      160 MELINDA LN                                                                                BRISTOL            CT    06010‐7199

JOSEPH N BUTERA                                 75 AMBROSE ST                                                                                 ROCHESTER          NY    14608‐1215
JOSEPH N BUTLER                                 830 JABO DR                                                                                   KILLEN             AL    35645
JOSEPH N CHARBONNEAU                            6 LAUREL LANE                                                                                 FARMINGTON         CT    06032‐3109
JOSEPH N COLE                                   PO BOX 685                                                                                    BRIDGEPORT         NY    13030‐0685
JOSEPH N DRAHOS                                 7 LYCUM RD                                                                                    LAGRANGEVILLE      NY    12540
JOSEPH N FREEDMAN                               241 HAMILTON RD                                                                               MERION STATION     PA    19066‐1102
JOSEPH N LAHOOD JR                              21657 CORSAUT LANE                                                                            BEVERLY HILLS      MI    48025‐2605
JOSEPH N LANGSTON                               PO BOX 4242                                                                                   FLINT              MI    48504‐0242
JOSEPH N LATA & ALBINE E LATA JT TEN            1641 KING ST                                                                                  ENFIELD            CT    06082‐6038
JOSEPH N LEVEILLE                               PO BOX 679                                                                                    DOWNSVILLE         NY    13755‐0679
JOSEPH N LONG SR                                8345 ODOM ROAD                                                                                GREENWOOD          LA    71033‐3362
JOSEPH N MALINA & REGINA E MALINA JT TEN        9045 ROBERT AVE                                                                               TAYLOR             MI    48180‐2330
JOSEPH N MARINO                                 7778 OAK ORCHARD RD                                                                           BATAVIA            NY    14020‐1012
JOSEPH N MENDLIK III                            270 TWIN LAKE DR                                                                              ELYRIA             OH    44035
JOSEPH N NASH                                   130 BRANCH BOULEVARD                                                                          BRICK TOWN         NJ    08724‐1842
JOSEPH N NORWIN                                 42 SANDHURST                                                                                  BUFFALO            NY    14221
JOSEPH N PLUNKETT                               5064 WYANDOTTE ST E APT 5            WINDSOR ON                             N8Y 4Z7 CANADA
JOSEPH N POPE                                   7213 SPY GLASS DRIVE                                                                          MODESTO            CA    95356‐9555
JOSEPH N RAMAGE & MARY W RAMAGE JT TEN          8759 HURON                                                                                    TAYLOR             MI    48180‐2952
JOSEPH N SIMPSON                                12557 JOSEPH LANE                                                                             ATLANTA            MI    49709‐9075
JOSEPH N SPENCER                                1716 WOODSIDE AVE                                                                             BAY CITY           MI    48706
JOSEPH N WALLER & CAROL W WALLER JT TEN         202 WINCHESTER RD                                                                             WAKEFIELD          RI    02879‐4600
JOSEPH N WOOD & MARCELLA C WOOD TR WOOD         6 LAKESIDE DR                                                                                 JOHNSTON           RI    02919‐1137
LIVING TRUST UA 07/10/95
JOSEPH NAKAI                                    PO BOX 3806                                                                                   FARMINGTON         NM    87499‐3806
JOSEPH NAUS                                     457 LOZENGE CT                                                                                ROCKTON            IL    61072‐1694
JOSEPH NEDOREZOV                                1365 HORSESHOE DR                                                                             BLUE BELL          PA    19422‐1857
JOSEPH NELSON BELLUCCIO & MRS RUBYLANE C        141 YALE DR                                                                                   LAKE WORTH         FL    33460‐6360
BELLUCCIO JT TEN
JOSEPH NESTO                                    C/O MARIE NESTO                      290 HIGHLAND AVENUE                                      NEWARK             NJ    07104‐1302
JOSEPH NICKOLAS SCHAEFER & CYNTHIA ANN SCHAEFER 19255 WHITEHALL CT                                                                            BROOKFIELD         WI    53045‐3744
JT TEN
JOSEPH NIDA TR JOSEPH NIDA LIVING TRUST UA      2915 BELCHER DR                                                                               STERLING HTS       MI    48310‐3620
12/06/94
JOSEPH NIKSICH                                  3835 KENTUCKY ST                                                                              GARY             IN      46409‐1608
JOSEPH NOBERT ROLLIN                            1459 LIBERTY ST                                                                               GREEN BAY        WI      54304‐3162
JOSEPH NOVAK                                    PO BOX 71                                                                                     ROME             OH      44085‐0071
JOSEPH NOVOSIELSKI                              1702 STONY HILL RD                                                                            HINCKLEY         OH      44233‐9591
JOSEPH NOWACZOK                                 40430 PRITTS                                                                                  CLINTON TOWNSHIP MI      48038‐4130

JOSEPH NOWAK                                    2804 CLEARVIEW AVE                                                                            BALTIMORE          MD    21234‐7113
JOSEPH NOWOCIEN                                 10244 RT 16                                                                                   DELEVAN            NY    14042‐9747
JOSEPH O BOSCHULTE                              1811 HALLECK PL                                                                               COLUMBUS           OH    43209‐3222
JOSEPH O BYRD                                   470 GALLAGA DR                                                                                BENICIA            CA    94510‐3918
JOSEPH O CURMI                                  7052 PICAROON LANE                                                                            LAS VEGAS          NV    89145‐0166
JOSEPH O DURHAM                                 3168 WASHINGTON BLVD                                                                          INDIANAPOLIS       IN    46205‐3933
JOSEPH O EBERTOWSKI                             3559 SOUTH 94TH STREET                                                                        MILWAUKEE          WI    53228‐1401
JOSEPH O EDELMAYER & MARY E EDELMAYER JT TEN    14330 SARASOTA                                                                                REDFORD            MI    48239‐3325

JOSEPH O FRAZIER                                37069 BRADFORD DR #219                                                                        STERLING HEIGHTS   MI    48312‐2439

JOSEPH O FRYE                                   6824 MILL WHEEL DR BOX 334                                                                    LANSING            MI    48911‐7066
JOSEPH O HILL                                   4570 MELWOOD ROAD                                                                             LEECHBURG          PA    15656‐8371
JOSEPH O LEROUX                                 3292 VAN BUREN RD                    PO BOX 95                                                RICHVILLE          MI    48758‐0095
JOSEPH O MURWIN                                 17270 S KIMBLE ST                                                                             OLATHE             KS    66062‐7523
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                         Part 4 of 8 Pg 365 of 855
Name                                                 Address1                             Address2             Address3              Address4          City             State Zip

JOSEPH O OVIEDO                                      5501 KAYNORTH RD                     APT 11                                                       LANSING          MI    48911‐3825
JOSEPH O SCHUETZ                                     8542 STATE RD DD                                                                                  BLOOMSDALE       MO    63627‐8800
JOSEPH O SILFIES JR CUST BRIAN M SILFIES UNDER THE   29 BROOKLET DR                       TALLEYBROOK II                                               WILMINGTON       DE    19810‐2229
DELAWARE U‐G‐M‐A
JOSEPH O SILFIES JR CUST LISA M SILFIES UNDER THE    29 BROOKLET DR                       TALLEYBROOK II                                               WILMINGTON       DE    19810‐2229
DELAWARE U‐G‐M‐A
JOSEPH O SNIDER                                      4130 ASBURY DR                                                                                    TOLEDO           OH    43612‐1804
JOSEPH O STRONG                                      12907 JOHNSTON                                                                                    LESLIE           MI    49251‐9755
JOSEPH O'KEEFFE                                      527 HILL ST                                                                                       SAN FRANCISCO    CA    94114‐2812
JOSEPH O'SHEA                                        8701 NE 119TH ST                                                                                  VANCOUVER        WA    98662‐1101
JOSEPH OLIN CRAVEN SR                                5088 BROWNING WAY                                                                                 LILBURN          GA    30047‐7040
JOSEPH ONEK                                          3723 INGOMAR ST NW                                                                                WASH             DC    20015‐1819
JOSEPH ONOFRIO III                                   1332 S BROADWAY                                                                                   DENVER           CO    80210‐2205
JOSEPH OROSZ                                         2878 ROOSEVELT AVE                                                                                BRONX            NY    10465‐2416
JOSEPH OWEN EIFERT                                   715 N PUTMAN                                                                                      WILLIAMSTON      MI    48895‐1062
JOSEPH P ABEY & EDITH D ABEY JT TEN                  299 COUNTRY CLUB DR                                                                               JUPITER          FL    33469‐1939
JOSEPH P ADAMS JR & MOLLY S ADAMS JT TEN             6447 SOUTHWEST 14TH ST                                                                            WEST MIAMI       FL    33144‐5627
JOSEPH P ADINOLFE                                    2770 COOMER ROAD                                                                                  NEWFANE          NY    14108‐9632
JOSEPH P AGLIATA                                     223 AMITY STREET                                                                                  ELIZABETH        NJ    07202‐3937
JOSEPH P ANDRES                                      3883 FERDEN RD                                                                                    NEW LOTHROP      MI    48460‐9606
JOSEPH P APOLITO                                     54 HIGH ST                                                                                        LOCKPORT         NY    14094‐4334
JOSEPH P BANKO JR & MRS DELPHINE B BANKO JT TEN      819 RIDGE DR                                                                                      MC LEAN          VA    22101‐1628

JOSEPH P BASALA                                      20641 CARLYSLE                                                                                    DEARBORN         MI    48124‐3811
JOSEPH P BONANNO & MAUD BONANNO JT TEN               518 4TH ST                                                                                        PALISADES PARK   NJ    07650‐2316
JOSEPH P BOVINO & GEORGE A BOVINO JT TEN             RR 10 BOX 37                                                                                      CARMEL           NY    10512‐9205
JOSEPH P BUREK                                       9 BARNARD PLACE                                                                                   WEST WINDSOR     NJ    08550‐1830
JOSEPH P BUSH                                        1502 CANTERBURY TRL APT B                                                                         MT PLEASANT      MI    48858‐4024
JOSEPH P CALLAHAN                                    91 N WALNUT ST                                                                                    N MASSAPEQUA     NY    11758‐3015
JOSEPH P CANNON                                      2018 S L ST                                                                                       ELWOOD           IN    46036‐2926
JOSEPH P CANNON                                      3215 O'LEARY RD                                                                                   FLINT            MI    48504‐1741
JOSEPH P CARR                                        5532 THRUSH DRIVE                                                                                 GRAND BLANC      MI    48439‐7940
JOSEPH P CARRA                                       BOX 275                                                                                           MENDON           NY    14506‐0275
JOSEPH P CASEY                                       524 SILVERWOOD AVE                   APT F                                                        UPLAND           CA    91786‐5019
JOSEPH P CAUCHI                                      5566 HEATHER LN                                                                                   DEARBORN HGTS    MI    48125‐2345
JOSEPH P CAUWELS & FRANCIS J CAUWELS JT TEN          1536 21ST AVE                                                                                     KINGSBURG        CA    93631
JOSEPH P CHIARI & JOSEPHINE CHIARI JT TEN            528 BURLINGTON AVE                                                                                BRIDGETON        NJ    08302‐1602
JOSEPH P CHIRCO                                      6226 TURNWOOD DR                                                                                  JAMESVILLE       NY    13078‐9703
JOSEPH P CHOMA                                       3640 QUADRILLE LANE                                                                               HOLT             MI    48842‐9723
JOSEPH P CIENKUS                                     72 GABLES WAY                                                                                     NEWNAN           GA    30265‐5529
JOSEPH P CORNELL                                     164 RANSOM ROAD                                                                                   BINGHAMTON       NY    13901‐5119
JOSEPH P CRAGO                                       4012 MARGATE DRIVE                                                                                BEVERCREEK       OH    45430‐2079
JOSEPH P CURTIS & DOLORES L CURTIS JT TEN            BOX 116                                                                                           GUILFORD         ME    04443‐0116
JOSEPH P CUSUMANO                                    3001 LAGUNA DRIVE                                                                                 PLANO            TX    75023‐8005
JOSEPH P CZARNECKI                                   1508 GLENEAGLES                                                                                   HIGHLAND         MI    48357
JOSEPH P DE BERGALIS JR                              38 COLETTE AVE                                                                                    CHEEKTOWAGA      NY    14227‐3402
JOSEPH P DEMPSEY III                                 9649 RIDGE VIEW DRIVE                                                                             MARSHALL         VA    20115‐2001
JOSEPH P DI GERONIMO & ANN R DI GERONIMO JT TEN      5 LINDEN AVE                                                                                      EMERSON          NJ    07630‐1529

JOSEPH P DI VINCENZO                                 263 DOHRCREST DRIVE                                                                               ROCHESTER        NY    14612‐4140
JOSEPH P DITCHMAN JR                                 7300 CALLEY LN                                                                                    RUSSELL          OH    44072‐9585
JOSEPH P DITTIGER                                    68 ALBEMARLE                                                                                      BUFFALO NY       NY    14207‐1308
JOSEPH P DIVVER & DEBRA COMATAS‐DIVVER JT TEN        854 SENECA RD                                                                                     FRANKLIN LAKES   NJ    07417‐2825

JOSEPH P DOMBROWSKI                                  2330 WILLIAMS RD                     PO BOX 263                                                   EAST JORDON      MI    49727‐0263
JOSEPH P DONOHUE                                     1306 DRAGOON                         PO BOX 09302         SPRINGWELLS STATION                     DETROIT          MI    48209‐0301
JOSEPH P DOWNEY                                      24 LINCOLN ST                                                                                     NO EASTON        MA    02356‐1708
JOSEPH P DOYKA                                       7767 ZIMMERMAN                                                                                    HAMBURG          NY    14075‐7127
JOSEPH P DRISCOLL JR                                 13209 ITHAN LANE                                                                                  BOWIE            MD    20715‐1424
                                            09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 366 of 855
Name                                               Address1                                Address2             Address3          Address4          City              State Zip

JOSEPH P EBBITT                                    8931 FREDRICK                                                                                    LIVONIA          MI     48150‐3940
JOSEPH P ELROD & DONNA F ELROD JT TEN              42030 CLAYTON ST                                                                                 CLINTON TOWNSHIP MI     48038‐1839

JOSEPH P ENNIS                                     5252 HAYES WATERS RD                                                                             MORGANTON         NC    28655‐7978
JOSEPH P FASI & CHARLENE M FASI JT TEN             592 MOSSY CREEK DR                                                                               VENICE            FL    34292‐4495
JOSEPH P FINNAN                                    31 PERKINS STREET                                                                                PLAINS            PA    18705‐1533
JOSEPH P FLANAGAN III                              401 E MILL RD                                                                                    FLOURTOWN         PA    19031‐1631
JOSEPH P FORIZS                                    5521 HAUSERMAN RD                                                                                PARMA             OH    44130‐1268
JOSEPH P FORTE                                     33 ELM DR                                                                                        EAST WINDSOR      NJ    08520‐2120
JOSEPH P FRASER                                    119 N ARLINGTON AVE                                                                              NILES             OH    44446‐1742
JOSEPH P FUCHS & MRS NORA F FUCHS JT TEN           PO BOX 1276                                                                                      SIKESTON          MO    63801‐1276
JOSEPH P GARBARINI & VIRGINIA A MAVRIC & LOUIS J   259 INNES RD                                                                                     WOOD RIDGE        NJ    07075‐1101
GARBARINI JT TEN
JOSEPH P GARYANTES & MRS JOSEPHINE A GARYANTES     2202 HENLOPEN AVE                                                                                WILMINGTON        DE    19804‐3622
JT TEN
JOSEPH P GASPAROVIC                                1701 W WILKINSON ROAD                                                                            OWOSSO            MI    48867‐9407
JOSEPH P GENOVESE CUST CHERYL M GENOVESE UGMA      841 THE CIRCLE                                                                                   LEWISTON          NY    14092‐2050
NY
JOSEPH P GERLACH & JOSEPHINE GERLACH JT TEN        9281 LAURENCE                                                                                    ALLEN PARK        MI    48101‐1511

JOSEPH P GORMAN & RUTH A GORMAN JT TEN             826 FRANCIS LANE                                                                                 EDMOND             OK   73034‐4642
JOSEPH P GREVALSKY                                 30 MOHAWK DR                                                                                     COLLINSVILLE       CT   06019‐3528
JOSEPH P HART                                      16831 MAYS                                                                                       EAST DETROIT       MI   48021‐3356
JOSEPH P HEATH                                     496 STATE ST                                                                                     MEDINA             NY   14103‐9701
JOSEPH P HENDRON                                   7 CEDAR ST                                                                                       TUCKAHOE           NY   10707‐3303
JOSEPH P HENICAN III                               6029 PRYTANIA STREET                                                                             NEW ORLEANS        LA   70118‐6018
JOSEPH P HOFFMAN                                   22492 BEACH ST                                                                                   SAINT CLAIR SHORES MI   48061‐2301

JOSEPH P HOGAN                                     422 SUSAN ROAD                                                                                   SAINT LOUIS       MO    63129‐4836
JOSEPH P HUDAK                                     20151 BONNIE BANK BLVD                                                                           ROCKY RIVER       OH    44116‐4118
JOSEPH P HUDEK                                     2048 3RD AVE NORTH                                                                               FT DODGE          IA    50501‐6732
JOSEPH P JANISKI                                   531 W VIENNA ST                                                                                  CLIO              MI    48420‐2016
JOSEPH P KARLINCHAK                                12799 RIDGE RD                                                                                   NO HUNTINGDON     PA    15642‐2939
JOSEPH P KELLOGG                                   5540 LAKEWOOD CIRCLE E                                                                           JACKSONVILLE      FL    32207‐7876
JOSEPH P KELLY                                     4 AERIE WYNDE DR                                                                                 DENVILLE          NJ    07834‐9304
JOSEPH P KENT                                      794 HIGHTOWER WAY                                                                                WEBSTER           NY    14580‐2543
JOSEPH P KENYON & MARIE D KENYON JT TEN            207 HATHAWAY RD                                                                                  NEW BEDFORD       MA    02746‐1029
JOSEPH P KORNAU                                    6165 DEER RUN RD                                                                                 MIDDLETOWN        OH    45044‐9646
JOSEPH P KOVACH                                    PO BOX 893                                                                                       LINESVILLE        PA    16424‐0893
JOSEPH P KRAMAR                                    4895 BRADLEY BROWNLEE RD                                                                         FARMDALE          OH    44417‐9710
JOSEPH P KRUMMEL JR                                4187 BERYL RD                                                                                    FLINT             MI    48504‐1483
JOSEPH P KUKLENSKI                                 1208 E 23RD ST                                                                                   ANDERSON          IN    46016‐4618
JOSEPH P LASALLE                                   725 ALBERTA ST                                                                                   AUBURN HILLS      MI    48326‐1117
JOSEPH P LEONARD                                   1162 N E RIVER ROAD                                                                              LAKE MILTON       OH    44429‐9787
JOSEPH P LEONE                                     126 NASSAU AVE                                                                                   BUFFALO           NY    14217‐2140
JOSEPH P LOFTUS CUST THOMAS F LOFTUS SR UTMA PA    PO BOX 5233                                                                                      WEST CHESTER      PA    19380‐0405

JOSEPH P LUBAWSKI II                               910 RAYNOR ROAD                                                                                  SPRING LAKE       NC    28390‐8643
JOSEPH P LYNCH                                     453 FOSTER RD                                                                                    ASHBY             MA    01431‐1939
JOSEPH P MAGGIO III                                4040 TRAVIS ST APT 107                                                                           DALLAS            TX    75204‐1774
JOSEPH P MALANGA                                   336 CHICKORY WAY                                                                                 NEWARK            DE    19711‐1536
JOSEPH P MALONEY JR                                434 BELLEWOOD DR                                                                                 FLUSHING          MI    48433‐1847
JOSEPH P MARION                                    1701 FOX KNLS                                                                                    LEONARD           MI    48367‐4446
JOSEPH P MARTINEZ                                  5716 STAHELIN                                                                                    DETROIT           MI    48228‐4733
JOSEPH P MAY                                       BOX 202                                                                                          QUINCY            FL    32353‐0202
JOSEPH P MAYO JR & PATRICIA A MAYO JT TEN          15 CENTER ST                                                                                     BARNEGAT          NJ    08005‐2305
JOSEPH P MAZUR                                     564 MEADOW SWEET CIR                                                                             OSPREY            FL    34229‐8976
JOSEPH P MC DONNELL                                31 WILSON AVE                                                                                    MORGANVILLE       NJ    07751‐9726
JOSEPH P MC GOWAN                                  254 SKYPORT RD                                                                                   WEST MIFFLIN      PA    15122‐2552
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 367 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JOSEPH P MC GRADY                                 PO BOX 753                                                                                     HYANNISPORT     MA    02647‐0753
JOSEPH P MC MANUS JR                              9515 LEDGEWOOD CT                                                                              FORT WAYNE      IN    46804‐4701
JOSEPH P MCADAMS                                  28492 ELDER DR                                                                                 NORTH OLMSTED   OH    44070‐5126
JOSEPH P MCALLISTER                               1690 BEECH LANE                                                                                MACUNGIE        PA    18062‐9480
JOSEPH P MCFARREN                                 3200 E FLOYD DR                                                                                DENVER          CO    80210‐6936
JOSEPH P MCMAHON                                  9440 CRYSTAL SPRINGS DRIVE                                                                     FORT WAYNE      IN    46804‐6514
JOSEPH P MELILLO                                  4357 JENNINGS RD                                                                               CLEVELAND       OH    44109‐3632
JOSEPH P MELNIK & GERALDINE E MELNIK JT TEN       1245 PORTSMOUTH DR                                                                             HOWELL          MI    48843
JOSEPH P MELNIK & GERALDINE E MELNIK JT TEN       1245 PORTSMOUTH DR                                                                             HOWELL          MI    48843
JOSEPH P MESSINEO & EILEEN C MESSINEO JT TEN      811 HILLTOP RD                                                                                 CINNAMINSON     NJ    08077‐3321
JOSEPH P MONAGHAN & MARGARET M MONAGHAN JT        1401 WOODSONG DR                                                                               HENDERSONVLLE   NC    28791‐2334
TEN
JOSEPH P MONKS                                    1855 BOYER AVE E                                                                               SEATTLE          WA   98112‐2946
JOSEPH P MOONEY                                   22032 LYONS VALLEY RD                                                                          ALPINE           CA   91901‐3423
JOSEPH P MURPHY JR & LINDA C CORTER JT TEN        11 HANAPEPE PLACE                                                                              HONOLULU         HI   96825‐2108
JOSEPH P MURRAY & JESSIE T MURRAY JT TEN          60 EDGECUMB RD                                                                                 WEST MILFORD     NJ   07480‐2219
JOSEPH P NEARY                                    1418 FRESNO ROAD                      GREEN ACRES                                              WILMINGTON       DE   19803‐5122
JOSEPH P NEPPEL                                   3151 S WADSWORTH BLVD                 # 2213                                                   LAKEWOOD         CO   80227‐4802
JOSEPH P NOVAK                                    1005 DOWNEY ST                                                                                 FLINT            MI   48503‐3171
JOSEPH P OBRIEN                                   32865 FAIRCREST                                                                                BEVERLY HILLS    MI   48025‐2937
JOSEPH P OLIVER                                   1518 OSAGE RD                                                                                  CUMMINGS         KS   66016‐9131
JOSEPH P ORESKOVICH                               36505 49TH AVE                                                                                 PAW PAW          MI   49079‐9342
JOSEPH P OVERAITIS                                14192 BLACKBURN STREET                                                                         LIVONIA          MI   48154‐4247
JOSEPH P PISCOPO                                  818 N EAST ST                                                                                  EATON RAPIDS     MI   48827‐9238
JOSEPH P POLITE                                   23244 TULANE                                                                                   FARMINGTON HILLS MI   48336‐3667

JOSEPH P POLIZZI                                  9212 CENTURY DRIVE                                                                             SPRING HILL     FL    34606‐1704
JOSEPH P POPOCZY                                  21491 KENNISON AVENUE                                                                          EUCLID          OH    44123‐1946
JOSEPH P PRZYBYLSKI                               7209 PROVINCIAL CT                                                                             CANTON TOWNSHIP MI    48187‐2121

JOSEPH P PURWIN                                   1107 INNES AVE                                                                                 GRAND RAPIDS    MI    49503‐3634
JOSEPH P PURWIN JR                                22097 LEOTTA DR D                                                                              SAND LAKE       MI    49343‐9705
JOSEPH P RACHWAL                                  22331 KINYON ST                                                                                TAYLOR          MI    48180‐3626
JOSEPH P RAUCH                                    118 OAK AVENUE                                                                                 METUCHEN        NJ    08840
JOSEPH P REASONER                                 9364 W FALL CREEK DR                                                                           PENDLETON       IN    46064‐9790
JOSEPH P REILLY & MRS BARBARA M REILLY JT TEN     415 CRYSTAL AVE                                                                                SI              NY    10314‐2063

JOSEPH P RILEY CUST MARY JO RILEY UGMA IL         2434 FULLERTON                                                                                 CHICAGO         IL    60647‐3149
JOSEPH P RINKER & MARY ANN RINKER JT TEN          36739 WALTHAM DR                                                                               STERLING HTS    MI    48310‐4515
JOSEPH P RIVEIRO CUST GREGORY J RIVEIRO UGMA NY   78 S LEWIS PL                                                                                  ROCKVILLE CT    NY    11570‐5531

JOSEPH P RIVEIRO CUST MICHAEL RIVEIRO UGMA NY     58 WAGG AVENUE                                                                                 MALVERNE        NY    11565‐1624

JOSEPH P RIZZO SR                                 204 HORSESHOE DR                                                                               BOOTHWYN        PA    19061‐1007
JOSEPH P ROBERSON & VENITA A ROBERSON JT TEN      1645 SEVEN OAKS DR                                                                             MORRISTOWN      TN    37814‐1422

JOSEPH P ROSE                                     2428 ALMA RD                                                                                   BALTIMORE       MD    21227‐3012
JOSEPH P ROTH                                     176 N RICHMOND AVENUE                                                                          MASSAPEQUA      NY    11758
JOSEPH P RUFFINO                                  PO BOX 76                                                                                      VALIER          IL    62891
JOSEPH P RUPPERT & FRANCIS E RUPPERT JT TEN       SPERLINGWEG 6                         D84036 LANDSHUT                        GERMANY
JOSEPH P SANTANGELO                               615 PEFFER ST                                                                                  NILES           OH    44446‐3318
JOSEPH P SBUTTONI SR & VIRGINIA SBUTTONI JT TEN   4303 CASTLEMAN COURT                                                                           NASHVILLE       TN    37215‐3502

JOSEPH P SCALZO                                   240 MILLER ROAD                                                                                SELKIRK         NY    12158‐2705
JOSEPH P SCHAAL                                   C/O C R SCHAAL                        312 BEVERLY PLACE                                        WILMINGTON      DE    19809‐2908
JOSEPH P SCHADEK                                  241 WESTGATE DRIVE                                                                             MANSFIELD       OH    44906‐2940
JOSEPH P SCHAEFER                                 2922 MEISNER ST                                                                                FLINT           MI    48506‐2434
JOSEPH P SCHMIDT                                  7315 HOLLAND ST                                                                                ARVADA          CO    80005‐4222
JOSEPH P SCHOLL                                   105 BRIARHILL DRIVE                                                                            WEST SENECA     NY    14224‐1901
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 368 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JOSEPH P SCHUBAUER                                650 WILLOW ST                                                                                   LOCKPORT          NY    14094‐5137
JOSEPH P SCHUBAUER & MRS CAROL J SCHUBAUER JT     650 WILLOW ST                                                                                   LOCKPORT          NY    14094‐5137
TEN
JOSEPH P SERRADA                                  301 LAUREL CT                                                                                   POINT PLEASANT    NJ    08742‐3245
                                                                                                                                                  BEA
JOSEPH P SHELTON                                  1601 ROGER STREET                                                                               MILPITAS          CA    95035‐2822
JOSEPH P SIKORA & PAULA L SIKORA JT TEN           7879 GREENWOOD RD                                                                               JACKSON           MI    49201‐9697
JOSEPH P SIMMS                                    631A SKINNERVILLE                                                                               WEST AMHERST      NY    14228‐2503
JOSEPH P SOUSA                                    4349 LA COSA AVE                                                                                FREMONT           CA    94536‐4721
JOSEPH P SPANIAL & FRANCINE B SPANIAL TEN ENT     1002 HOMESTEAD CIRCLE                                                                           LANSDALE          PA    19446‐4600

JOSEPH P STANCZAK                                 2771 SOUTH 63RD ST                                                                              MILWAUKEE         WI    53219‐3057
JOSEPH P STAWISNKI                                337 OAK AVE                                                                                     WOODBRIDGE        NJ    07095‐1605
JOSEPH P STEIGAUF                                 6725 VERMAR TERRACE                                                                             EDEN PRAIRIE      MN    55346‐2753
JOSEPH P STEVENS                                  ROUTE 6 3210 INGERSOLL                                                                          LANSING           MI    48906‐9149
JOSEPH P STEVENS                                  3210 INGERSOL RTE 6                                                                             LANSING           MI    48906‐9149
JOSEPH P STEVENS & SANDRA L STEVENS JT TEN        3210 INGERSOL RTE 6                                                                             LANSING           MI    48906
JOSEPH P STOLITZA                                 1654 ELMWOOD AVE                                                                                LAKEWOOD          OH    44107‐4002
JOSEPH P SUCHACZEWSKI                             4944 OLIVET RD                                                                                  GEORGETOWN        IL    61846‐6152
JOSEPH P SUGG                                     49 QUEENS DRIVE                                                                                 WEST SENACA       NY    14224‐3226
JOSEPH P SULLIVAN                                 204 WESTWOOD DR                                                                                 MARYVILLE         TN    37803‐6388
JOSEPH P THOMPSON                                 195 CAVE RUN DR                        APT 5                                                    ERLANGER          KY    41018‐4011
JOSEPH P THOMPSON & MISS KATHLEEN G THOMPSON      287 HIGHLAKE AVE                                                                                ANN ARBOR         MI    48103‐2071
JT TEN
JOSEPH P TRUPIANO                                 1598 DETROIT STREET                                                                             LINCOLN PK        MI    48146‐3217
JOSEPH P TWADDELL                                 18577 JOSEPHS RD                                                                                MILTON            DE    19968‐3271
JOSEPH P VAN CAMP                                 165 SUPERIOR AVE                                                                                NEWINGTON         CT    06111‐3952
JOSEPH P VERMETTE                                 6726 E RIVER RD                                                                                 FLUSHING          MI    48433‐2514
JOSEPH P WARREN                                   114 MILLER AVE                                                                                  TYBEE ISLAND      GA    31328
JOSEPH P WEISS                                    1488 E KITCHEN RD                                                                               PINCONNING        MI    48650‐9468
JOSEPH P WESSLING                                 9 THATCHER CT                                                                                   ALEXANDRIA        KY    41001‐1108
JOSEPH P WETZEL                                   1847 JOHN GLENN RD                                                                              DAYTON            OH    45420‐2412
JOSEPH P WILLFORTH                                2468 ANDREWS DR                                                                                 WARREN            OH    44481‐9342
JOSEPH P WINANS                                   9670 LOOKING GLASS BRK RD                                                                       GRAND LEDGE       MI    48837‐9269
JOSEPH P WITLICKI                                 14 A PERRON RD                                                                                  PLAINVILLE        CT    06062‐1120
JOSEPH P WOOD                                     4020 CLAUSEN                                                                                    WESTERN SPRINGS   IL    60558‐1227

JOSEPH P ZAHRA                                    11450 MAYFIELD                                                                                  LIVONIA           MI    48150‐5723
JOSEPH P ZIMMERMAN CUST MELISSA A ZIMMERMAN       14724 PULVER RD                                                                                 FT WAYNE          IN    46845‐9629
UTMA IN
JOSEPH P ZIMMERMAN CUST PAMELA M ZIMMERMAN        14724 PULVER RD                                                                                 FT WAYNE          IN    46845‐9629
UTMA IN
JOSEPH PACELLA                                    21081 PASEO TRANQUILO                                                                           LAKE FOREST       CA    92630‐2268
JOSEPH PAGANO                                     6366 S PIERCE COURT                                                                             LITTLETON         CO    80123‐3603
JOSEPH PAGANO                                     14 MOHAWK DR                                                                                    GIRARD            OH    44420
JOSEPH PALMIERI                                   6231 NW 4TH AVE                                                                                 BOCA RATON        FL    33487‐2907
JOSEPH PALOMBO                                    22 MAPLE AVE                                                                                    EAST HANOVER      NJ    07936‐1551
JOSEPH PANICCIA & CARMEN F PANICCIA JT TEN        6251 OAKMAN                                                                                     DEARBORN          MI    48126‐2311
JOSEPH PARAG                                      6 GLEZMAN DR                                                                                    NEWARK            DE    19702‐3514
JOSEPH PARK NUNN III                              1326 HEATHER LN                                                                                 CHARLOTTE         NC    28209‐2546
JOSEPH PASSANTE                                   16125 96TH ST                                                                                   HOWARD BEACH      NY    11414‐3808
JOSEPH PATARINO                                   244 MACINTOSH DRIVE                                                                             ROCHESTER         NY    14626‐4409
JOSEPH PATRICK BLACKFORD                          317 F ST NE                                                                                     WASHINGTON        DC    20002‐4930
JOSEPH PATRICK HORWATH                            1690 MOUNTAIN LANE                                                                              GLENDORA          CA    91741‐3040
JOSEPH PATRICK KILCORSE                           609 STAR PINE DR                                                                                LAS VEGAS         NV    89144‐1400
JOSEPH PATRICK PRESCOTT                           693 SILK OAK LN                                                                                 CRYSTAL LAKE      IL    60014‐4581
JOSEPH PATTERSON CRAPSTER                         316 HAWKS MOOR CT                                                                               CHARLOTTE         NC    28262‐1556
JOSEPH PAUL BOLICK                                212 COLUMBIA AVE                                                                                ATLAS             PA    17851‐1006
JOSEPH PAUL CRIST                                 1014 W MONROE                                                                                   ALEXANDRIA        IN    46001‐8116
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 369 of 855
Name                                               Address1                               Address2                Address3       Address4          City            State Zip

JOSEPH PAUL DUBINSKY                               6 CARTERET CT                                                                                   ALLENDALE       NJ    07401‐1821
JOSEPH PAUL FUCHS & NORA F FUCHS JT TEN            PO BOX 1276                                                                                     SIKESTON        MO    63801‐1276
JOSEPH PAUL KANIA                                  1332 GREEN LEAF RD                                                                              WILMINGTON      DE    19805‐1348
JOSEPH PAUL STUPAR                                 1325 RAMSEY ACRES LANE                                                                          LAKE HELEN      FL    32744‐3721
JOSEPH PAUL TAVI & ROSE TAVI JT TEN                617 41ST AVE                                                                                    SANTA CRUZ      CA    95062‐5206
JOSEPH PAUL TOSCH & DELPHINE CLARA LIND & JUDITH   22419 SOCIA ST                                                                                  CLAIR SHORES    MI    48082‐3102
ANN SCHULTZ JT TEN
JOSEPH PAUL TROILO                                 106 HEATHERLY LAND                                                                              AVONDALE        PA    19311‐9706
JOSEPH PAUL VIVIER                                 12215 PLANK RD                                                                                  MILAN           MI    48160
JOSEPH PAVIA                                       22 ANN MARIE DRIVE                                                                              ROCHESTER       NY    14606‐4602
JOSEPH PAVONE CUST JENNIFER C PAVONE UGMA NY       829 WEAVER ST                                                                                   NEW ROCHELLE    NY    10804‐1923

JOSEPH PAVONE CUST JOSEPH PETER NICOLE PAVONE      829 WEAVER ST                                                                                   NEW ROCHELLE    NY    10804‐1923
UGMA NY
JOSEPH PEARSON JR                                  555 LINWOOD DRIVE                                                                               CUBA            NY    14727‐9444
JOSEPH PECKL & ILONA PECKL JT TEN                  1152 JOSELSON AVENUE                                                                            BAY SHORE       NY    11706‐2037
JOSEPH PELECH                                      37 CLIFFWOOD DR                                                                                 NEPTUNE         NJ    07753‐5838
JOSEPH PELOZA                                      8321 STEEPLECHASE DR                                                                            MENTOR          OH    44060‐7658
JOSEPH PERFETTI                                    1749 LULLABY                                                                                    PORT ST LUCIE   FL    34952‐4220
JOSEPH PERRICONE                                   20 E MERCER AVENUE                                                                              HAVERTOWN       PA    19083‐4710
JOSEPH PERRY                                       67 RED BUD CIRC                                                                                 AMELIA          OH    45102‐2155
JOSEPH PETER HARKINS                               10001 THORNWOOD ROAD                                                                            KENSINGTON      MD    20895‐4228
JOSEPH PETER MONAHAN                               PO BOX 43                                                                                       QUINTON         VA    23141‐0043
JOSEPH PETER WILSON                                ALSTEAD HILL RD                                                                                 KEENE           NY    12942
JOSEPH PETRUSKA                                    245 W FIRST ST                                                                                  EDISON          NJ    08820‐1224
JOSEPH PFEIFER III                                 110 SAINT CLAIR RIVER DR                                                                        ALGONAC         MI    48001‐1657
JOSEPH PFLAUMER & ANNE THERESE MILLER JT TEN       14505 SUTTER PL                                                                                 TAMPA           FL    33625‐3350

JOSEPH PHILIPS                                     700 COLUMBUS AVENUE APT 11B                                                                     NEW YORK        NY    10025‐6626
JOSEPH PHILLIPS                                    1492 COLUMBUS DRIVE                                                                             FARWELL         MI    48622‐9438
JOSEPH PHILLIPS & CONSTANCE J PHILLIPS JT TEN      1492 COLUMBUS DR                                                                                FARWELL         MI    48622‐9438
JOSEPH PIAZZA JR                                   39 ALDEN RD                                                                                     PARAMUS         NJ    07652‐3733
JOSEPH PICKETT                                     FLCI‐4D                                PO BOX 147                                               FOX LAKE        WI    53933‐0147
JOSEPH PIDOTO                                      23 MINNEWASKA TRL                                                                               KERHONKSON      NY    12446‐3648
JOSEPH PISANI & NANCY PISANI JT TEN                2658 QUINCY ADAMS DR                                                                            HERNDON         VA    20171‐2434
JOSEPH PISKULIC                                    2450 PARKER RD                                                                                  FLORISSANT      MO    63033‐2248
JOSEPH PISTRITTO                                   17 DAWES DRIVE VARLANO                                                                          NEWARK          DE    19702‐1427
JOSEPH PITONAK & CHRISTINE PITONAK JT TEN          302 WASHINGTON RD                                                                               SAYREVILLE      NJ    08872‐1830
JOSEPH PITTA & CRISTINE M PITTA TR UA 08/04/92     4653 PALOMINO CT                                                                                ELLICOTT CITY   MD    21043‐6448

JOSEPH PLORANSKY                                   589 MIDWOOD DR                                                                                  BRICK           NJ    08724‐4740
JOSEPH POGORZELSKI                                 32 BISMARK AVE                                                                                  TRENTON         NJ    08610‐4111
JOSEPH POKOJ                                       817 E BAYLOR LN                                                                                 CHANDLER        AZ    85225‐1411
JOSEPH POPP                                        28761 TOWNLEY STREET                                                                            MADISON HTS     MI    48071
JOSEPH POWELL                                      7040 SHARECROP LANE                                                                             REMBERT         SC    29128‐8597
JOSEPH PREGEL                                      4668 S ZENOBIA ST                                                                               DENVER          CO    80236‐3344
JOSEPH PRINCIPATO                                  6149 S KOMENSKY                                                                                 CHICAGO         IL    60629‐4611
JOSEPH PROCTOR                                     73 DUNMURRY LODGE BLACKS RD            DUNMURRY BELFAST BT10                  GREAT BRITAIN
JOSEPH PROL & RUTH H PROL JT TEN                   68 CHURCH ST                                                                                    FRANKLIN        NJ    07416‐1435
JOSEPH PULERI JR                                   7624 APPLE TREE CIRCLE                                                                          ORLANDO         FL    32819‐4637
JOSEPH PUNIA                                       28 PRINCE WILLIAM CT                                                                            PRINCETON       NJ    08540‐4005
JOSEPH PUNIA TR CHARLES GREGORY PUNIA TRUST UA     28 PRINCE WILLIAM COURT                                                                         PRINCETON       NJ    08540‐4005
05/15/90
JOSEPH PUNIA TR ELYSE DANIELLE PUNIA TRUST UA      28 PRINCE WILLIAM COURT                                                                         PRINCETON       NJ    08540‐4005
11/25/86
JOSEPH PUSATERI & JOAN MARIE PUSATERI JT TEN       132 DORAL DR                                                                                    SUGARLOAF       PA    18249‐3060

JOSEPH QUARANTA CUST MATTHEW S QUARANTA            C/O JOSEPH S QUARANTA                  2030 SOMERVILLE CT                                       OXFORD          MI    48371‐5928
UNDER THE OH U‐T‐M‐A
                                                09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 370 of 855
Name                                               Address1                                Address2             Address3          Address4          City              State Zip

JOSEPH R BARRY & JOAN P BARRY JT TEN               447 SO CURTIS ST                                                                                 MERIDEN           CT    06450‐6603
JOSEPH R BAYER                                     6811 HURON                                                                                       TAYLOR            MI    48180‐1973
JOSEPH R BEARD                                     311 SIMPSON RD                          APT 203                                                  ANDERSON          SC    29621‐2152
JOSEPH R BELLIZZI                                  253 CLYDE‐MARENGO RD                                                                             CLYDE             NY    14433‐9528
JOSEPH R BERISH                                    19490 CASTLETOWN DRIVE                                                                           STRONGSVILLE      OH    44136‐8200
JOSEPH R BERNARD                                   55 STATE ST                                                                                      SPRINGBORO        OH    45066
JOSEPH R BLASER JR                                 5185 E FARNHURST                                                                                 LYNDHURST         OH    44124‐1237
JOSEPH R BLAU                                      217 FLORIO CT                                                                                    LAS VEGAS         NV    89134‐2618
JOSEPH R BODOR                                     2730 JEFFERSON ST                                                                                BETHLEHEM         PA    18020‐5433
JOSEPH R BOYD                                      16 SOUTH ARLINGTON                                                                               GREENCASTLE       IN    46135‐1804
JOSEPH R BRADLEY                                   2667 FARBER DRIVE                                                                                ST LOUIS          MO    63136‐4610
JOSEPH R BREAUX                                    447 THORS                                                                                        PONTIAC           MI    48342‐1968
JOSEPH R BRUZ                                      3991 BAYBROOK DR                                                                                 WATERFORD         MI    48329‐3910
JOSEPH R BULLOCK                                   421 WOOD LN                                                                                      HADDONFIELD       NJ    08033‐1451
JOSEPH R BUSACCA                                   21506 PARKWAY                                                                                    ST CLAIR SHORES   MI    48082‐1286
JOSEPH R BUTLER                                    4406 BELLEMEADE                                                                                  BELLBROOK         OH    45305‐1410
JOSEPH R CABALLERO                                 6126 WESTVIEW DR                                                                                 GRAND BLANC       MI    48439‐9746
JOSEPH R CALDWELL                                  400 HERMITAGE CT                                                                                 FRANKLIN          TN    37067‐5812
JOSEPH R CAMIOLO                                   447 CREIGHTON LANE                                                                               ROCHESTER         NY    14612‐2289
JOSEPH R CHAMBERS                                  4480 BARNETT SHOULS RD                                                                           ATHENS            GA    30605‐4726
JOSEPH R CHAMPAGNE                                 9734 MARTZ RD                                                                                    YPSILANTI         MI    48197‐9779
JOSEPH R CHILDRESS                                 5363 GREEN COVE RD                                                                               GAINESVILLE       GA    30504‐5103
JOSEPH R CHILDRESS & BETTY G CHILDRESS JT TEN      5363 GREEN COVE ROAD                                                                             GAINESVILLE       GA    30504‐5103

JOSEPH R CLARKSON                                  1830 STRATHEARN CT                                                                               ST LOUIS          MO    63146‐3752
JOSEPH R CLOUTIER SR                               2459 SHARMA LANE                                                                                 HOWELL            MI    48843‐8930
JOSEPH R CONLEY                                    274 BONESTEEL ST                                                                                 ROCHESTER         NY    14616‐5119
JOSEPH R COOPER                                    C/O LAWANDA WARREN                      PO BOX 10410                                             MIDWEST CITY      OK    73140‐1410
JOSEPH R CORACE                                    5658 SPRINGBROOK DR                                                                              TROY              MI    48098‐5351
JOSEPH R CORTESE                                   3911‐2 LANDER RD                                                                                 CHAGRIN FALLS     OH    44022
JOSEPH R CRAIG                                     PO BOX 220                                                                                       DAVISBURG         MI    48350‐0220
JOSEPH R CUNNINGHAM                                7566 BOB O LINK RD                                                                               JACKSONVILLE      FL    32219‐3334
JOSEPH R CUSICK CUST TAYLER LEIGH CUSICK UTMA CA   4745 VIA DE LA MULA                                                                              YORBA LINDA       CA    92886‐3051

JOSEPH R DARNALL JR                                3209 DUVAL STREET                                                                                AUSTIN            TX    78705‐2429
JOSEPH R DIANCIN & CONCEPCION C DIANCIN JT TEN     N2003 SILVER LAKE ROAD                  PO BOX 558                                               MAUTOMA           WI    54982‐0558

JOSEPH R DINEGAR                                   PO BOX 99                                                                                        ROCKFALL          CT    06481‐0099
JOSEPH R DRAGO                                     6680 MOSSY GLEN DR                                                                               FORT MYERS        FL    33908
JOSEPH R ESSIG JR                                  279 BERRY ST                                                                                     BROOKLYN          NY    11211‐4129
JOSEPH R FAHRION                                   PO BOX 1463                                                                                      MOUNT AIRY        NC    27030‐1463
JOSEPH R FETTY                                     175 WADE AVE                                                                                     NILES             OH    44446‐1926
JOSEPH R FISHER & MARTHA B FISHER JT TEN           3715 W 84TH TERRACE                                                                              PRAIRIE VILLAGE   KS    66206‐1344
JOSEPH R FORTIER CUST PAUL FORTIER UGMA MI         3785 LAKE GEORGE ROAD                                                                            OXFORD            MI    48370‐2006
JOSEPH R FORTIER TR UA 11/20/85 JOSEPH R FORTIER   3785 LAKE GEORGE                                                                                 OXFORD            MI    48370‐2006
TRUST
JOSEPH R FUERTES                                   PO BOX 762                                                                                       FRUITLAND PK      FL    34731‐0762
JOSEPH R GAHAGAN & MRS RITA GAHAGAN JT TEN         307 BIDDLE DRIVE                                                                                 EXTON             PA    19341

JOSEPH R GAINES                                    1801 W GENESEE ST                                                                                FLINT             MI    48504‐3818
JOSEPH R GAJEWSKI JR                               64APPLEWOOD DR                                                                                   MERIDEN           CT    06450‐7900
JOSEPH R GARBASH                                   117 MARSEILLES AVENUE                                                                            ELYRIA            OH    44035‐4039
JOSEPH R GARRICK                                   29561 TERRACE CT                                                                                 WARREN            MI    48093‐6749
JOSEPH R GATHRIGHT JR                              2914 BELKNAP BEACH RD                                                                            PROSPECT          KY    40059‐8013
JOSEPH R GIBSON                                    2893 IVY HILL DR                                                                                 COMMERCE TWP      MI    48382
JOSEPH R GIERCZAK JR                               42310 SARATOGA CIRCLE                                                                            CANTON            MI    48187‐3536
JOSEPH R GOLKOSKY                                  7241 ANGLING RD                                                                                  PORTAGE           MI    49024‐4059
JOSEPH R GONZALES                                  1506 ORCHID                                                                                      WATERFORD         MI    48328‐1405
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 371 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

JOSEPH R GOTFRYD CUST MATTHEW GOTFRYD UTMA IL 9427 JACKSON                                                                                         BROOKFIELD         IL    60513‐1130

JOSEPH R GRIEP                                     2813 HYACINTH AVE                                                                               JAMESVILLE         WI    53545‐5600
JOSEPH R GRISWOLD                                  5190 WALNUT LN                                                                                  EVERETT            PA    15537‐6365
JOSEPH R GRUNDAS                                   130 OAK MARR DR                                                                                 HOUGHTON LAKE      MI    48629‐9006
JOSEPH R GUZZI                                     23 PACIFIC ST                                                                                   NEWARK             NJ    07105‐1220
JOSEPH R HANISZEWSKI                               221 BELMONT CT EAST                                                                             N TONAWANDA        NY    14120‐4863
JOSEPH R HARRIS JR                                 601 NEW ST                                                                                      WILLIAMSTOWN       NJ    08094‐8926
JOSEPH R HEIMOSKI & MARIRUTH HEIMOSKI JT TEN       1610 WEST PATRIDGE CT                                                                           ARLINGTON          IL    60004‐7963
                                                                                                                                                   HIEGHTS
JOSEPH R HETMAN                                   18 PETTIT AVE                                                                                    SOUTH RIVER        NJ    08882‐1056
JOSEPH R HILGENDORF & BEVERLY J HILGENDORF JT TEN 830 OAK LOT 150                                                                                  MARINE CITY        MI    48039‐2231

JOSEPH R HILL                                      PO BOX 617                                                                                      WILTON             CA    95693‐0617
JOSEPH R HOLLARS JR                                2006 KARL DRIVE                        APARTMENT 801                                            WARNER ROBINS      GA    31088
JOSEPH R HRIZAK                                    342 N EDGEWOOD                                                                                  LOMBARD            IL    60148‐1912
JOSEPH R HUTTING                                   1614 N FAIRVIEW AVENUE                                                                          LANSING            MI    48912‐3402
JOSEPH R JAY                                       11555 91ST TER                                                                                  SEMINOLE           FL    33772‐2802
JOSEPH R KIBBE                                     12402 GREENWAY                                                                                  STERLING HEIGHTS   MI    48312‐2256

JOSEPH R KICINSKI                                  126 MANSION ST                                                                                  BUFFALO            NY    14206‐1932
JOSEPH R KING                                      700 N 21ST ST                                                                                   FORT SMITH         AR    72901‐3018
JOSEPH R KINNICK                                   1440 BARRON RD                                                                                  HOWELL             MI    48843
JOSEPH R KIRWAN                                    0570 HOMESTEAD DR. #43                                                                          EDWARDS            CO    81632
JOSEPH R KONCEWICZ                                 359 E WASHINGTON ST                                                                             NANTICOKE          PA    18634‐3527
JOSEPH R KONIECZKO                                 23612 HILL                                                                                      WARREN             MI    48091‐4711
JOSEPH R KOSNIK                                    8477 DIXIE HWY                                                                                  FAIR HAVEN         MI    48023‐2551
JOSEPH R KRALL                                     46882 HENDRIE CT                                                                                CANTON CENTER      MI    48187‐4666
JOSEPH R LASTOWKA                                  39 CROOKED BILLET                                                                               HATBORO            PA    19040‐3911
JOSEPH R LAZICKI                                   9 MYRTLE AVENUE                                                                                 SECAUCUS           NJ    07094‐4126
JOSEPH R LEAL                                      30 LAWN ST                                                                                      SOUTH HADLEY       MA    01075‐1833
JOSEPH R LEWIS                                     6517 ROWLEY DRIVE                                                                               WATERFORD          MI    48329‐2747
JOSEPH R LEWIS & MARY K LEWIS JT TEN               6517 ROWLEY DRIVE                                                                               WATERFORD          MI    48329‐2747
JOSEPH R LINDER                                    220 CATHERINE ST                                                                                BUCHANAN           NY    10511‐1526
JOSEPH R LUPLOW                                    5156 NARCISSUS ST                                                                               SAGINAW            MI    48603‐1146
JOSEPH R LUTZ                                      2007 SOUTH RAVENNA RD                                                                           RAVENNA            MI    49451‐9741
JOSEPH R MACHULES                                  8721 ASPEN AVE                                                                                  ORLANDO            FL    32817‐1313
JOSEPH R MAGUIRE                                   45 ARSENAL ROAD                                                                                 FRAMINGHAM         MA    01702‐5905
JOSEPH R MANCINE                                   811 MAPLE AVE                                                                                   LINDEN             NJ    07036‐2741
JOSEPH R MARFIA                                    2038 ELM RIDGE DRIVE N W                                                                        GRAND RAPIDS       MI    49504‐2306
JOSEPH R MARHULIK                                  1525 DIFFORD DR                                                                                 NILES              OH    44446‐2831
JOSEPH R MARINELLO JR & ANNA M MARINELLO JT TEN    4 COOLIDGE STREET                                                                               TUCKAHOE           NY    10707‐3013

JOSEPH R MARTELLE                                  34332 CYPRESS CT                                                                                STERLING HGTS      MI    48310‐6672
JOSEPH R MARTIN                                    785 PREAKNESS LN                                                                                FLORISSANT         MO    63033‐3613
JOSEPH R MASLANKOWSKI                              292 HARRINGTON DR N                                                                             TOMS RIVER         NJ    08757‐3819
JOSEPH R MAZZA                                     40 HORIZON TER                                                                                  HILLSDALE          NJ    07642‐1025
JOSEPH R MC INTYRE                                 4008 HAWTHORNE ROAD                                                                             LAGRANGE           KY    40031‐9580
JOSEPH R MC KENZIE                                 710 BIRCH ST                                                                                    HANNIBAL           MO    63401‐5003
JOSEPH R MCCARTHY                                  7 MUSIC HILL RD                                                                                 BROOKFIELD         CT    06804‐3123
JOSEPH R MCCUTCHEON                                3610 DRESDEN ROAD                                                                               ZANESVILLE         OH    43701‐1212
JOSEPH R MCGOVERN                                  35 CIRCLE DR                                                                                    GREENWICH          CT    06830‐6737
JOSEPH R MEHRINGER                                 12113 METRIC BLVD                      APT 1424                                                 AUSTIN             TX    78758‐8631
JOSEPH R MIERAS                                    26737 MIUTPALE                                                                                  STURGIS            MI    49091‐9149
JOSEPH R MOLTRUP                                   2114 COUNTYLINE RD                                                                              BARKER             NY    14012‐9515
JOSEPH R MONTELONE                                 21 NIVER AVE                                                                                    SELKIRK            NY    12158‐1917
JOSEPH R MURPHY                                    221 LAUREL DR                                                                                   MARMORA            NJ    08223‐1241
JOSEPH R NICHOLS & MRS EILEEN G NICHOLS JT TEN     122 REDBUD LN                                                                                   NASHVILLE          IN    47448‐8453
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                        Part 4 of 8 Pg 372 of 855
Name                                             Address1                                Address2             Address3             Address4          City              State Zip

JOSEPH R OBERECKER & MRS BETTE A OBERECKER JT    413 NESBITT PARK AVE                                                                                DAVENPORT         FL    33837‐9246
TEN
JOSEPH R PARKS                                   5856 PONTIAC LAKE RD                                                                                WATERFORD         MI    48327‐2117
JOSEPH R PARRISH                                 6366 CHRISTY ROAD                                                                                   DEFIANCE          OH    43512‐9611
JOSEPH R PAWLAK                                  2 ASHFORD DRIVE                                                                                     PLAINSBORO        NJ    08536
JOSEPH R PEROZZI & MARY ANN PEROZZI JT TEN       842 DAMICO DR                                                                                       CHICAGO HEIGHTS   IL    60411‐1935

JOSEPH R PIERCE JR                               2482 VILLAGE DR SE                                                                                  GRAND RAPIDS      MI    49506‐5455
JOSEPH R PIERCE JR & SALLY A PIERCE JT TEN       2482 VILLAGE DRIVE S E                                                                              GRAND RAPIDS      MI    49506‐5455
JOSEPH R PISACANE                                82‐86 PARSONS BLVD                                                                                  JAMAICA           NY    11432‐1049
JOSEPH R POMPA                                   8741 SHANER NE                                                                                      ROCKFORD          MI    49341‐8534
JOSEPH R PREVO & JULIE A PREVO JT TEN            4120 STABLER ST                                                                                     LANSING           MI    48910‐4569
JOSEPH R REAGAN                                  15 SIERRA RD                                                                                        ROCHESTER         NY    14624‐4524
JOSEPH R ROBINSON                                A6 WOODSIDE GDNS #A6                                                                                ROSELLE PARK      NJ    07204‐1005
JOSEPH R ROSENBERG                               7422 BITTERSWEET DR                                                                                 GURNEE            IL    60031‐5108
JOSEPH R RUBANO                                  235 VIRGINIA AVE                                                                                    FT LEE            NJ    07024‐4323
JOSEPH R RUBINIC                                 1702 BRADFORD N W                                                                                   WARREN            OH    44485‐1854
JOSEPH R SAAM                                    778 RAYCLIFF PLACE                                                                                  CONCORD           CA    94518‐2838
JOSEPH R SALIBA                                  1309 OAKDALE LN                                                                                     REDDING           CA    96002‐0712
JOSEPH R SANTAGATA                               4601 LOGANWAY                                                                                       HUBBARD           OH    44425‐3314
JOSEPH R SANTRY TR JOSEPH R SANTRY REVOCABLE     418 OCEAN AVE                                                                                       MARBLEHEAD        MA    01945‐3853
TRUST UA 3/7/01
JOSEPH R SANTULLI CUST DANIELLE SANTULLI UGMA NY 105 THOMAS AVE                                                                                      BETHPAGE          NY    11714‐1712

JOSEPH R SCHAFFER                               5320 KATHERINE CT                                                                                    SAGINAW           MI    48603‐3617
JOSEPH R SCHEMANSKY                             C/O LYNNE PETT                           145 OAK STREET       BEAUMARIS VICTORIA   3193 AUSTRALIA
JOSEPH R SCHIAVINO                              1 GRACE DR                                                                                           SOUTH AMBOY      NJ     08879‐1315
JOSEPH R SEPESY                                 205 WHIPPLE ST                                                                                       PITTSBURGH       PA     15218‐1139
JOSEPH R SGARLAT                                PO BOX 272                                                                                           SHAWANESE        PA     18654‐0272
JOSEPH R SIMKO                                  244 SCHUSSLER ST                                                                                     SOUTH AMBOY      NJ     08879‐2018
JOSEPH R SIMON                                  10320 CAVEY LANE                                                                                     WOODSTOCK        MD     21163‐1323
JOSEPH R SIMUN                                  92 COLEMAN STREET                                                                                    EDISON           NJ     08817‐5121
JOSEPH R SLAGA                                  6456 SOUTHAMPTON DR                                                                                  CLARKSTON        MI     48346‐3060
JOSEPH R SMITH                                  24200 LATHRUP BLVD                       APT 309                                                     SOUTHFIELD       MI     48075‐2858
JOSEPH R ST MARTIN                              45 ST NICHOLAS AVE                                                                                   WORCESTER        MA     01606‐1623
JOSEPH R STEROPLE                               PO BOX 603                                                                                           RHINEBECK        NY     12572‐0603
JOSEPH R STOKES                                 5036 CHIPMAN DR                                                                                      COLUMBUS         OH     43232‐6256
JOSEPH R STOUT                                  1918 WESTVIEW DRIVE                                                                                  INDIANAPOLIS     IN     46221‐1122
JOSEPH R STRODOSKI                              18218 RUSTIC SPRINGS DR                                                                              TOMBALL          TX     77375‐8729
JOSEPH R SWITALSKI                              4526 W PARK VIEW LN                                                                                  GLENDALE         AZ     85310‐3127
JOSEPH R SZAKAL JR                              3260 KESSLER ROAD                                                                                    WEST MILTON      OH     45383‐8719
JOSEPH R TOMLINSON                              243 LITTLE BRITAIN ROAD                                                                              NOTTINGHAM       PA     19362‐9015
JOSEPH R TRELA                                  9381 QUANDT                                                                                          ALLEN PARK       MI     48101‐1586
JOSEPH R TROLL                                  7917 COLUMBIANA CANFIELD ROAD                                                                        CANFIELD         OH     44406‐9441
JOSEPH R UMPHREY                                3214 VANZANDT                                                                                        DRAYTON PLAIN    MI     48020
JOSEPH R URSO                                   1334 CLEARVIEW N W                                                                                   WARREN           OH     44485‐2101
JOSEPH R VALESH                                 386 OLMSTED RD                                                                                       RIVERSIDE        IL     60546‐2354
JOSEPH R VAN HOUTEN                             7705 BRAMBLEWOOD DR APT 1A                                                                           LANSING          MI     48917‐8767
JOSEPH R WAGNER & MARY P WAGNER JT TEN          329 KAREN CT                                                                                         MONROEVILLE      PA     15146‐1788
JOSEPH R WAID                                   11790 SW RIDGEVIEW TER                                                                               BEAVERTON        OR     97008‐6310
JOSEPH R WARSINSKE                              5316 SAGEBRUSH ST                                                                                    BRIGHTON         CO     80601‐4531
JOSEPH R WINSTON CUST HADYN WILLIAM WINSTON     1009 S TEJON ST                                                                                      COLORADO SPRINGS CO     80903‐4238
UTMA CO
JOSEPH R WISNESKI                               603 ALMOND AVE                                                                                       BALTIMORE         MD    21221‐3304
JOSEPH R WOJCIECHOWSKI & JOANNE CORRIDON JT TEN 425 AUGUSTA STREET                                                                                   SOUTH AMBOY       NJ    08879‐1623

JOSEPH R WRONA                                   1393 SHERIDAN DR                                                                                    KENMORE           NY    14217‐1209
JOSEPH R WURM & NANCY A WURM JT TEN              3200 CAIRN CROSS                                                                                    OAKLAND           MI    48363‐2706
JOSEPH R WYATT II                                9 STEWART LANE                                                                                      DEPTFORD          NJ    08096
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 373 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

JOSEPH R YAKLIC                                   49830 CRANBERRY CREEK DR                                                                      MACOMB          MI    48042‐4647
JOSEPH R YAKLIC & ANN S YAKLIC JT TEN             49830 CRANBERRY CREEK DR                                                                      MACOMB          MI    48042‐4647
JOSEPH RABIOLA TOD DAVID L RABIOLA SUBJECT TO STA 3934 E MILWAUKEE ST                                                                           JANESVILLE      WI    53546‐1449
TOD RULES
JOSEPH RADVANYI                                   R R #1                               WILSONVILLE ON                         N0E 1Z0 CANADA
JOSEPH RAMIREZ TR JOSEPH RAMIREZ TRUST UA         PO BOX 342                                                                                    STERLING        IL    61081‐0342
11/15/95
JOSEPH RANCO HOUSTON                              4900 CHERRYLAND DR                                                                            LANSING         MI    48910‐5336
JOSEPH RAYMOND KAZIMIR & CARLA JEANNE KAZIMIR 16461 BIRCHER ST                                                                                  GRANADA HILLS   CA    91344‐2918
JT TEN
JOSEPH RAZLER CUST DEBORAH T RAZLER UGMA PA       9555 WALLEY AVE                                                                               PHILADELPHIA    PA    19115‐3009

JOSEPH REARDON                                    19341 UPLAND CT                                                                               NORTHVILLE      MI    48167‐1912
JOSEPH REED JR                                    1405 SHERIDAN BRIDGE CIR                                                                      OLATHE          KS    66062‐5704
JOSEPH REILLY                                     65 CLARIDGE PLACE                                                                             COLONIA         NJ    07067‐1207
JOSEPH REITER                                     712 IRA ST                                                                                    KALAMAZOO       MI    49048
JOSEPH RENDA & MARIE RENDA JT TEN                 3905 ROCKY MOUND DR                                                                           WENTZVILLE      MO    63385‐2697
JOSEPH RESPECKI                                   5840 COBBLESTONE DR                                                                           NORTH BRANCH    MI    48461‐8887
JOSEPH RICHARD BARNA & LORI MARIE BARNA JT TEN    10491 SW 54TH ST                                                                              COOPER CITY     FL    33328‐5603

JOSEPH RICHARD CURRY                              3340 S SNODDY ROAD                                                                            BLOOMINGTON     IN    47401‐9613
JOSEPH RICHARD RICHARDSON JR                      1400 C AVE                                                                                    WEST COLUMBIA   SC    29169‐6105
JOSEPH RICHARD ROZMAN                             11 ELM DRIVE                                                                                  SKILLMAN        NJ    08558‐1608
JOSEPH RICHARD WEISS JR & DOROTHY FRANCES WEISS   854 BRADFORD AVE                                                                              WESTFIELD       NJ    07090‐3007
JT TEN
JOSEPH ROBBIATI & LINDA ROBBIATI JT TEN           167 MOUNTAIN RD                                                                               SOMERS          CT    06071‐1747
JOSEPH ROBERT GRILLO                              2524 CEDAR LANE                                                                               ROSENBERG       TX    77471‐6055
JOSEPH ROBERT KREPEL                              11052 E BENNINGTON RD R 1                                                                     DURAND          MI    48429‐9728
JOSEPH ROBERT MARENTETTE                          2504 FALLON DR                                                                                HERNDON         VA    20171‐2963
JOSEPH ROBERT NICPON                              11268 SHADOW WOODS LN                                                                         WHITMORE LAKE   MI    48189‐9122
JOSEPH ROBERT NICPON CUST DEANNE CHRISTINE        11268 SHADOW WOODS LN                                                                         WHITMORE LAKE   MI    48189‐9122
NICPON UGMA MI
JOSEPH ROBERT NICPON CUST JOSEPH ANTHONY          11268 SHADOW WOODS LN                                                                         WHITMORE LAKE   MI    48189‐9122
NICPON UGMA MI
JOSEPH ROBERT NICPON CUST MARIA JANINE NICPON     11268 SHADOW WOODS LN                                                                         WHITMORE LAKE   MI    48189‐9122
UGMA MI
JOSEPH ROBERT SCHMIDT                             3470 VERBENA DR                                                                               CINCINNATI     OH     45241‐2770
JOSEPH ROBERTS                                    305 HEEGE AVE                                                                                 KIRKWOOD       MO     63122‐4129
JOSEPH ROBILLARD                                  10 ANN ST                                                                                     CORTLAND MANOR NY     10567‐1716

JOSEPH ROBINSON                                   3813 COPLEY RD                                                                                BALTIMORE       MD    21215‐7104
JOSEPH ROBINSON                                   3083 BELFAST WAY                                                                              RICHMOND        CA    94806‐2628
JOSEPH ROBINSON CUST JOSHUA M ROBINSON UTMA       66 FRANKLIN ST                       UNIT 309                                                 ANNAPOLIS       MD    21401‐2756
MD
JOSEPH ROCCO CARLUCCI                             66 CHITTENDEN RD                                                                              CLIFTON         NJ    07013‐4208
JOSEPH ROCCO CARLUCCI & MRS HILDA CARLUCCI JT     66 CHITTENDEN ROAD                                                                            CLIFTON         NJ    07013‐4208
TEN
JOSEPH ROGALNY                                    12MICHAEL DR                                                                                  WAYNE           NJ    07470‐3415
JOSEPH ROGERS JR                                  18603 PARKE LN                                                                                GROSSE ILE      MI    48138
JOSEPH ROMANO                                     10 WILTSHIRE ST                                                                               BRONXVILLE      NY    10708‐1008
JOSEPH ROMBI                                      1746 ESSEX STREET                                                                             RAHWAY          NJ    07065‐5009
JOSEPH ROY MEZEY                                  19 POTTERS LANE                                                                               HUNTINGTON      NY    11743‐2142
JOSEPH RUBACH                                     266 UNION ST                                                                                  NORTHVALE       NJ    07647
JOSEPH RUBEL & MRS LYNNE RUBEL JT TEN             131 TAYLOR MILLS RD                                                                           MANALAPAN       NJ    07726‐3405
JOSEPH RUSSELL EDWARDS                            7204 GLIDDEN ST                                                                               GENESEE         MI    48437
JOSEPH RUSSELL WOOLARD                            8291 E ATHERTON RD                                                                            DAVISON         MI    48423‐8700
JOSEPH RYAN                                       604 DALI DRIVE                                                                                BRANDON         FL    33511‐7410
JOSEPH RYAN LEVINE                                8271 LYNNHAVEN DR                                                                             CINCINNATI      OH    45236‐1411
JOSEPH S BACKER & ANNA M BACKER JT TEN            403 W MAIN ST                                                                                 VEVAY           IN    47043‐1007
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 374 of 855
Name                                            Address1                               Address2                 Address3      Address4          City               State Zip

JOSEPH S BARON                                  45 ORCHARD LN                                                                                   MELROSE            MA    02176‐2917
JOSEPH S BATTAGLIA                              5060 BARTHOLOW RD                                                                               SYKESVILLE         MD    21784‐9209
JOSEPH S BERAK                                  11310 OLD BRIDGE RD                                                                             GRAND BLANC        MI    48439‐1060
JOSEPH S BERAK & LILLIAN J BERAK JT TEN         11310 OLD BRIDGE RD                                                                             GRAND BLANC        MI    48439‐1060
JOSEPH S BIANCO & LORRAINE Z BIANCO JT TEN      7 MAC ARTHUR AVE                                                                                CLOSTER            NJ    07624‐2911
JOSEPH S BRANDEBURG                             325 SMITH ST                                                                                    HARTWELL           GA    30643‐7328
JOSEPH S BROWN JR                               8157 HARTWELL                                                                                   DETROIT            MI    48228‐2791
JOSEPH S BUTZ                                   31 GRAHAM AVE                                                                                   WAYNE              NJ    07470‐3003
JOSEPH S CIECIEREGA                             9159 ERIE RD APT 24                                                                             ANGOLA             NY    14006
JOSEPH S CIZEWSKI                               HC 87 BOX 155                                                                                   POCONO LAKE        PA    18347‐9737
JOSEPH S COATES                                 1349 DEVONSHIRE                                                                                 GROSSE PTE CITY    MI    48230‐1157
JOSEPH S COATES JR                              1349 DEVONSHIRE                                                                                 GROSSE POINTE      MI    48230‐1157
JOSEPH S COURTNEY                               10603 BAYNE RD                                                                                  NASHVILLE          MI    49073‐8744
JOSEPH S CULLINS JR                             10701 HARPER AVE                                                                                SILVER SPRING      MD    20901‐1416
JOSEPH S DIETER                                 1017 FERNWOOD DR                                                                                LOCKPORT           NY    14094‐6381
JOSEPH S DIETER & MARRIANNE DIETER JT TEN       1017 FERNWOOD DR                                                                                LOCKPORT           NY    14094‐6381
JOSEPH S DIMONICO                               1601 REDLAND DR                                                                                 EDMOND             OK    73003‐2565
JOSEPH S DION                                   29 DARTMOUTH RD                                                                                 WALPOLE            MA    02081‐1727
JOSEPH S DIPASQUALE                             58 GROVE ST                                                                                     BUFFALO            NY    14207‐2205
JOSEPH S DISPENZA                               111 EVANS ST                                                                                    BATAVIA            NY    14020‐3140
JOSEPH S DOMANSKI                               2850 NORTHVILLE DR NE                                                                           GRAND RAPIDS       MI    49525‐1766
JOSEPH S DONDA & JULIANA DONDA TR UA 08/09/94   7373 TILBY RD                                                                                   NORTH ROYALTON     OH    44133‐1623
JOSEPH S DONDA & JULIANA
JOSEPH S DOUIAHY                                39089 CASIMIRA                                                                                  STERLING HEIGHTS   MI    48313‐5509

JOSEPH S DOUSE                                  16722 FENMORE                                                                                   DETROIT            MI    48235‐3423
JOSEPH S DUBOS                                  3225 CAPRICE                                                                                    WARREN             OH    44481‐9228
JOSEPH S DULAK                                  135 ROSSITER AV                                                                                 YONKERS            NY    10701‐5016
JOSEPH S EDWARDS                                2220 MELVILLE DR                                                                                SAN MARINO         CA    91108‐2612
JOSEPH S ELKIN                                  6059 MARTHA DRIVE                                                                               CORTLAND           OH    44410‐9715
JOSEPH S EVELAND                                5236 MCCAUSLAND AVE                                                                             SAINT LOUIS        MO    63109‐3003
JOSEPH S FITZPATRICK                            5534 MARLIN CT                                                                                  DISCOVERY BAY      CA    94514‐9422
JOSEPH S FORMATO CUST CHRISTOPHER J FORMATO     C/O CHRISTOPHER J FORMATO              369 DANTE CT                                             BRENTWOOD          CA    94513‐1945
U/THE NYU‐G‐M‐A
JOSEPH S GILL                                   C/O LILLIAN ZIWOT                      12309 BORCHERDING LANE                                   SAINT LOUIS        MO    63131
JOSEPH S GOSS & JULIA I GOSS JT TEN             5463 E DODGE RD                                                                                 MT MORRIS          MI    48458‐9747
JOSEPH S GRAVES                                 PO BOX 654                                                                                      LAWRENCEVILLE      VA    23868‐0654
JOSEPH S GRAZIANO                               4209 VIA VALMONTE                                                                               PALOS VERDES EST   CA    90274‐1410

JOSEPH S GUMMERE & JO I GUMMERE TR GUMMERE      1252 RED OAK DR                                                                                 AVON               IN    46123‐9788
FAM TRUST UA 06/21/99
JOSEPH S HEARN & MARY HEARN JT TEN              321 MAIN ST E                                                                                   MARSHALLVILLE      GA    31057‐9773
JOSEPH S HEIDE                                  6810 ROSEMONT                                                                                   DETROIT            MI    48228‐5405
JOSEPH S HOHMAN                                 C/O ANN HOHMAN EX                      48 LAKEWOOD DRIVE                                        NARRAGANSETT       RI    02882‐3508
JOSEPH S HOLMES                                 BOX 217 OLIVIA                                                                                  OLIVIA             NC    28368‐0217
JOSEPH S HOLMES & SHIRLEY W HOLMES JT TEN       BOX 217                                                                                         OLIVIA             NC    28368‐0217
JOSEPH S HOPKINS                                6122 DONNYBROOK DR                                                                              DAYTON             OH    45459‐1804
JOSEPH S HORNE                                  7507 JERVIS ST                                                                                  SPRINGFIELD        VA    22151‐2926
JOSEPH S HUMERICKHOUSE & GRACE L                712 SOUTH 5TH                                                                                   OSAGE CITY         KS    66523‐1512
HUMERICKHOUSE JT TEN
JOSEPH S JAKUBISIN                              100 CANDLEWOOD CT                                                                               COLUMBIA           TN    38401‐5346
JOSEPH S JONES                                  PO BOX 372                                                                                      BAMBERG            SC    29003‐0372
JOSEPH S JONES                                  655 GREEN MEADOW DR                                                                             GREENWOOD          IN    46143‐2533
JOSEPH S KALINOWSKI JR                          1200 ANGELO DR                                                                                  SCHENECTADY        NY    12303‐5138
JOSEPH S KEENER                                 754 MILTON GROVE RD N                                                                           ELIZABETHTOWN      PA    17022‐9685
JOSEPH S KEER                                   PO BOX 124                                                                                      SOUDERTON          PA    18964‐0124
JOSEPH S KERNOSKY                               C/O LAURIE M HOCKING                   5814 CABRENA DRIVE                                       LANSING            MI    48917‐1274
JOSEPH S KREBS                                  661 VILLA DR                                                                                    MANSFIELD          OH    44906‐1188
JOSEPH S KREZAN                                 3750 REDSTONE RD                                                                                ST LOUIS           MI    48880‐9104
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 375 of 855
Name                                              Address1                              Address2             Address3          Address4                City               State Zip

JOSEPH S KROLL                                    15760 W MILL VALLEY LANE                                                                             SUPRISE            AZ    85374‐5665
JOSEPH S KULIG                                    758 TEN EYCK AVE                                                                                     LYNDHURST          NJ    07071‐2917
JOSEPH S LABELL                                   26 BARCLAY ROAD                                                                                      SCARSDALE          NY    10583‐2764
JOSEPH S LAPKIEWICZ                               84 HARCOURT DR                                                                                       TRENTON            NJ    08610‐4117
JOSEPH S LAUTENSLAGER                             6800 FOREST HILL LANE                                                                                HAMILTON           OH    45011‐6429
JOSEPH S LEVINGER                                 PO BOX 411                                                                                           ALTAMONT           NY    12009‐0411
JOSEPH S LUNSFORD TR UA 06/22/2006 JOSEPH S       110 PICK ST                                                                                          BROOKNEAL          VA    24528
LUNSFORD LIVING TRUST
JOSEPH S MACKANOS & BRENDA J STANKO JT TEN        444 CHESTER ST                        APT 409                                                        BIRMINGHAM         MI    48009‐1473
JOSEPH S MALINO                                   210 BERKMAN DR                                                                                       MIDDLETOWN         NY    10941‐1229
JOSEPH S MATTHEWS & DIANE M MATTHEWS JT TEN       1019 THIRD STREET                                                                                    BRILLIANT          OH    43913‐1051

JOSEPH S MAZUR                                    43 E GIRARD BLVD                                                                                     BUFFALO            NY    14217‐2014
JOSEPH S MCFALL                                   12015 OAKRIDGE RD                                                                                    PLAINWELL          MI    49080‐9273
JOSEPH S MEO                                      3145 NORTHWEST DRIVE                                                                                 SAGINAW            MI    48603‐2333
JOSEPH S MILLER                                   15616 HARRISON                                                                                       ROMULUS            MI    48174‐3029
JOSEPH S MISCANNON JR & GINA MISCANNON TEN ENT    230 ARIZONA AVE                                                                                      SHENANDOAH         PA    17976
                                                                                                                                                       HEIGHTS
JOSEPH S MOON                                     408 CIRCLE DR                                                                                        ARLINGTON          TX    76010‐1325
JOSEPH S NOWAK & EVELYN NOWAK JT TEN              12815 FEDERAL PL                                                                                     FISHERS            IN    46037‐7835
JOSEPH S PASEK                                    5280 AVENIDA DE DESPASIO                                                                             YORBA LINDA        CA    92687‐4000
JOSEPH S PATTERSON                                730 S OSPREY AVE                      APT B306                                                       SARASOTA           FL    34236‐4705
JOSEPH S PENKALA                                  13154 BURLEY AVE                                                                                     CHICAGO            IL    60633‐1331
JOSEPH S PEREA                                    10615 MONTE ROSSO PL NW                                                                              ALBUQUERQUE        NM    87114‐3882
JOSEPH S PETRO                                    4152 DICKSON DRIVE                                                                                   STERLING HEIGHTS   MI    48310‐4539

JOSEPH S PIETROWSKI                               9100 ORCHARD LN                                                                                      BRIDGEVIEW         IL    60455‐2214
JOSEPH S POLCIN                                   4547 CONRAD RD                                                                                       LUDINGTON          MI    49431‐9319
JOSEPH S POLCIN & JUDITH A POLCIN JT TEN          4547 W CONRAD RD                                                                                     LUDINGTON          MI    49431‐9319
JOSEPH S PONGONIS                                 398 HALIFAX LANE                                                                                     MEDINA             OH    44256‐4336
JOSEPH S POWERS                                   869 RONNIE LANE                                                                                      PHILADELPHIA       PA    19128‐1035
JOSEPH S PRATT                                    3913 W WILLOW                                                                                        LANSING            MI    48917‐2131
JOSEPH S PRESLEY                                  4990 HIGHWAY 212                                                                                     RISON              AR    71665‐9204
JOSEPH S RANIERI                                  PO BOX 11                                                                                            STARRUCCA          PA    18462‐0011
JOSEPH S ROBINSON                                 16581 GRIGGS ST                                                                                      DETROIT            MI    48221‐2807
JOSEPH S ROSS TR UA 2/19/96 THE JOSEPH S ROSS     7623 HERITAGE DR APT 12                                                                              LANSING            MI    48917‐7843
TRUST
JOSEPH S SAJEK                                    14 MICHAEL DR                                                                                        EAST HAMPTON       CT    06424‐1884
JOSEPH S SARENY                                   2311 SUGAR MAPLE DR                                                                                  BRIGTON            MI    48116‐6767
JOSEPH S SEPOS                                    19816 SALISBURY                                                                                      SAINT CLAIR SHORES MI    48080‐1662

JOSEPH S SHEN & MAY W SHEN JT TEN                 26 KIMUNDY DR                         WESTHILL             ABERDEENSHIRE     AB326SU GREAT BRITAIN
JOSEPH S SKELTON                                  20037 APPOLINE                                                                                       DETROIT            MI    48235‐1189
JOSEPH S SMOLEY JR                                5510 HUCKLEBERRY LANE                                                                                FLORENCE           OR    97439‐8448
JOSEPH S SOWDER                                   3618 DAWNWOOD                                                                                        INDIANAPOLIS       IN    46227‐7971
JOSEPH S STACK                                    96 NEWARK‐POMPTON TURNPIKE                                                                           RIVERDALE          NJ    07457‐1624
JOSEPH S STENOSKI                                 35 OSWEGO RIVER RD                                                                                   PHOENIX            NY    13135‐4201
JOSEPH S STEWART 2ND & KAREN LYNN STEWART JT      32 VALLEY DR                          APT A                                                          SPRINGFIELD        OH    45504‐5650
TEN
JOSEPH S STRECHA                                  624 S GRAND TRAVERSE ST               STE 2                                                          FLINT              MI    48502‐1230
JOSEPH S STRZELEC                                 7810 BROOKHAVEN                                                                                      DARIEN             IL    60561‐4510
JOSEPH S TARPLEY                                  416 EMERALD TREE                                                                                     JONESBORO          GA    30236‐4253
JOSEPH S TAYLOR III & KAREN S TAYLOR JT TEN       5930 ACORN DR                                                                                        HARRISBURG         PA    17111‐3214
JOSEPH S TELHADA                                  9 BLACKSTONE ST                       APT A2                                                         MENDON             MA    01756‐1357
JOSEPH S TOMPKINS                                 19439 TOMLEE AVE                                                                                     TORRANCE           CA    90503‐1145
JOSEPH S TOMPKINS & MRS JEAN TOMPKINS JT TEN      19439 TOMLEE AVE                                                                                     TORRANCE           CA    90503‐1145

JOSEPH S TOTH                                     6724 DEVONSHIRE DR                                                                                   CANTON             MI    48187‐2613
JOSEPH S VANDIVER                                 224 WILLIAMS ST                                                                                      COLUMBIA           SC    29201‐5244
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 376 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

JOSEPH S VICINI                                    2462 N PALMER DRIVE                                                                             JENSEN BEACH       FL    34957
JOSEPH S VICINI & FRANCES H VICINI JT TEN          3 ROBINS NEST DRIVE                                                                             PERRINEVILLE       NJ    08535‐1109
JOSEPH S WALKER                                    4156 N 49 ST                                                                                    MILWAUKEE          WI    53216‐1306
JOSEPH S WARREN                                    782 SILVER MEADOWS BLVD                APT 102                                                  KENT               OH    44240‐1963
JOSEPH S WASKIEWICZ & STEVEN K WASKIEWICZ JT TEN   505 ST JOSEPH STREET                                                                            SOUTH HAVEN        MI    49090‐1115

JOSEPH S WINKELMANN                                2511 E SCHELLRIDGE RD                                                                           JEFFERSON CTY      MO    65109‐1109
JOSEPH S WOROSZ                                    3005 22ND ST                                                                                    WYANDOTTE          MI    48192‐5323
JOSEPH S YAKO                                      1040 HILLSIDE RD                                                                                SEVEN HILLS        OH    44131
JOSEPH S ZAJAC                                     33334 GROTH DR                                                                                  STERLING HEIGHTS   MI    48312‐6710

JOSEPH S ZANGHI                                    44 KAYMAR DRIVE                                                                                 AMHERST            NY    14228‐3001
JOSEPH S ZWEIG TR UA 01/09/96 JOSEPH S ZWEIG TRUST 2435 SPYGLASS HILL CT                                                                           RIVERWOODS         IL    60015‐3862

JOSEPH SABAT & CLAUDIA L SABAT JT TEN              2029 HOWLAND WILSON RD NE                                                                       WARREN           OH      44484‐3920
JOSEPH SADAR & JAMES J SADAR JT TEN                905 ROSE BLVD                                                                                   HIGHLAND HEIGHTS OH      44143‐3229

JOSEPH SALERNO & MRS HELEN SALERNO JT TEN          3421 WESTWOOD TRACE                    VINELAND ON                            L0R 2C0 CANADA
JOSEPH SALVATORE                                   87 BIRCHWOOD RD                                                                                 STAMFORD           CT    06905
JOSEPH SAM CALLEJA                                 33317 REGAL DR                                                                                  FRASER             MI    48026‐1757
JOSEPH SAMUEL CUST NATHAN SAMUEL UTMA CA           PO BOX 22204                                                                                    SACRAMENTO         CA    95822‐0204
JOSEPH SAMUEL SOBELMAN                             21 BROWNING RD                                                                                  SHORT HILLS        NJ    07078‐1115
JOSEPH SANTANGELO TR JOSEPH SANTANGELO TRUST       9084 SIOUX ST                                                                                   REDFORD            MI    48239‐1908
UA 03/31/99
JOSEPH SASIELA                                     6 JUNIPER COURT                                                                                 BARDONIA           NY    10954‐2138
JOSEPH SAVAGE                                      17333M VERONICA AVE                                                                             EASTPOINTE         MI    48021‐3041
JOSEPH SAVIANO                                     500 W WASHINGTON ST                    APT 204                                                  NEW LONDON         WI    54961‐1970
JOSEPH SAXON                                       313 MISTLETOE HOLLOW RD                                                                         GADSDEN            AL    35901‐5735
JOSEPH SCARLETT                                    519 WELTY AVE                                                                                   JEANNETTE          PA    15644‐2368
JOSEPH SCAVONE                                     400 2ND AVENUE                         APT 17H                                                  NEW YORK           NY    10010‐4053
JOSEPH SCAVONE                                     400 2ND AVE                            APT 17H                                                  NEW YORK           NY    10010‐4053
JOSEPH SCHAFFLER                                   8 PRINCESS DR                          FLAMWOOD             KLERKSDORP        SOUTH AFRICA
JOSEPH SCHIFTIC                                    202 BROADWAY ST                                                                                 WEST NEWTON        PA    15089‐1404
JOSEPH SCHITTONE                                   401 HAGEL AVE                                                                                   LINDEN             NJ    07036‐1023
JOSEPH SCHNEIDER                                   61053 COUNTRY LN                                                                                WASHINGTON         MI    48094‐1153
JOSEPH SCHULYK                                     26654 HAVERHILL DRIVE                                                                           WARREN             MI    48091‐1120
JOSEPH SCHULYK CUST ANNIE MARIE SCHULYK UNIF       26654 HAVERHILL DRIVE                                                                           WARREN             MI    48091‐1120
GIFTS MIN MIN ACT MI
JOSEPH SCHULYK CUST JULIE A SCHULYK UGMA MI        15321 LA PLATA CT                                                                               RAMONA             CA    92065‐4515

JOSEPH SCHWAB                                      RT 3 BOX 451 SHENANDOAH DR                                                                      COLUMBIA           TN    38401‐9803
JOSEPH SCHWARZ II                                  4100 VERNON AVE SOUTH UNIT 211                                                                  ST LOUIS PARK      MN    55416
JOSEPH SCOTT QUARTERMAN                            1675 VILLAGE PARK LANE                                                                          LAKE OSWEGO        OR    97034‐3774
JOSEPH SCOTT ZRINSKI                               507 CONSTITUTION AVE                                                                            HELLERTOWN         PA    18055‐1907
JOSEPH SCOTTO DI‐LUZIO                             1135 HARVARD RD                                                                                 MONROEVILLE        PA    15146‐4347
JOSEPH SEABROOK                                    45 SHARA PL                                                                                     PITTSFORD          NY    14534‐2600
JOSEPH SEEBERGER                                   33135 FAIRFIELD RD                                                                              LEWES              DE    19958‐5410
JOSEPH SEFEKAR & THELMA SEFEKAR JT TEN             750 HELMSMAN WAY                                                                                PALM HARBOR        FL    34685‐1615
JOSEPH SEGRETI                                     C/O ALBURDAN ELECTRIC                  699 PROSPECT PLACE                                       BROOKLYN           NY    11216‐3510
JOSEPH SEMPLE & JULIANNA SEMPLE & BARBARA          41 BLOOD ST                                                                                     LYME               CT    06371‐3515
SEMPLE JT TEN
JOSEPH SERRATORE CUST REIJI SERRATORE UTMA CA      9 TALL RUFF DR                                                                                  LAS VEGAS          NV    89148‐5243

JOSEPH SHARPELLETTI                                5 TYNDALL RD                                                                                    SAG HARBOR         NY    11963‐1316
JOSEPH SHEA                                        2521 DRYDEN LANE                                                                                CHARLOTTE          NC    28210‐5855
JOSEPH SHEEHAN CUST ACF GREGORY M SHEEHAN          36‐20 192ND ST                                                                                  FLUSHING           NY    11358‐2427
UGMA NY
JOSEPH SHEGAS                                      1316 CHERYL DR                                                                                  ISELIN             NJ    08830‐3139
JOSEPH SHERIDAN & PAULA SHERIDAN JT TEN            4490 HEATH CIR                                                                                  ROHNERT PARK       CA    94928‐1531
                                                09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 377 of 855
Name                                               Address1                                 Address2             Address3          Address4          City              State Zip

JOSEPH SHUBILLA                                    219 NICHOLSON ST                                                                                  WILKES‐BARRE      PA    18702‐6024
JOSEPH SHULMAN                                     5 LOOKOUT DR                                                                                      NORWALK           CT    06854
JOSEPH SIDLOWSKI                                   3060BORDENTOWN AVE                                                                                PARLIN            NJ    08859‐1167
JOSEPH SIDNEY JONES & LEONA SHIRLEY JONES JT TEN   BOX 5218                                                                                          APACHE JUNCTION   AZ    85278‐5218

JOSEPH SIGGIA & SIDNEY A SIGGIA JT TEN             11006 LANTERN WAY                                                                                 RICHMOND          VA    23236
JOSEPH SIGNORELLI                                  11267 RIVER HEIGHTS LN                                                                            MANASSAS          VA    20112‐3064
JOSEPH SILL                                        2307 EAST 290TH STREET                                                                            WICKLIFFE         OH    44092‐2431
JOSEPH SILVERMAN & KATHLEEN SILVERMAN JT TEN       1733 SEA FAIR DR 15167                                                                            ST AUGUSTINE      FL    32080

JOSEPH SIMHON CUST MARC SIMHON UGMA NJ             71 SYDNEY AVE                                                                                     DEAL PARK         NJ    07723‐1047
JOSEPH SIMMONS                                     1107 AVENUE A                                                                                     FLINT             MI    48503‐1476
JOSEPH SIMMONS                                     11337 GRANDVILLE AVENUE                                                                           DETROIT           MI    48228‐1368
JOSEPH SINATRA & ANGIE SINATRA JT TEN              531 9TH ST                                                                                        WEST BABYLON      NY    11704‐3734
JOSEPH SINGLE                                      9550 CLEWLEY RD                                                                                   LACHINE           MI    49753‐9683
JOSEPH SINGLE & CAROL ANN SCHOOF JT TEN            3104 ALBATROSS CIRCLE                                                                             LAS VEGAS         NV    89108‐4149
JOSEPH SIRIANNI & MRS BEVERLY SIRIANNI JT TEN      525 ADMIRALS CIR                                                                                  PINE BEACH        NJ    08741‐1413
JOSEPH SKORA                                       5745 CLOTHIER ROAD                                                                                MARLETTE          MI    48453‐9610
JOSEPH SKORNIA                                     533 HANDY DR                                                                                      BAY CITY          MI    48706‐4292
JOSEPH SKULJ                                       29 BECKWITH ROAD                         TORONTO ON                             M9C 3X8 CANADA
JOSEPH SLIPKA JR                                   2822 STRATFORD GLEN WAY                                                                           CHARLOTTESVLE     VA    22911
JOSEPH SMALEC & RUBY L SMALEC JT TEN               209 W 1ST ST APT 1W                                                                               CLARE             MI    48617‐1702
JOSEPH SMITH                                       395 FRENCH VILLAGE BLVD                                                                           SHARPSBURG        GA    30277‐1563
JOSEPH SMITH                                       104 HOMELAND RD                                                                                   PASADENA          MD    21122‐2714
JOSEPH SOKOL & MARIE JOSEPHINE SOKOL JT TEN        2052 RTE 908                                                                                      NATRONA HEIGHTS   PA    15065‐2976

JOSEPH SOLOMON                                     43706 HARRIS RD                                                                                   BELLEVILLE        MI    48111‐8910
JOSEPH SOLTIS                                      2678 BLACK OAK DR                                                                                 NILES             OH    44446‐4469
JOSEPH SOPIK                                       9026 DUNMORE LANE                                                                                 FORT WAYNE        IN    46804‐3450
JOSEPH SOSTARIC CUST SEAN M SOSTARIC UTMA CA       1021 DUNHILL CT.                                                                                  DANVILLE          CA    94506‐1329

JOSEPH SPISAK                                      2827 KINNEVILLE RD                                                                                LESLIE            MI    49251‐9781
JOSEPH STACEY                                      3451 ALLANDALE DR T4106                                                                           HOLIDAY           FL    34691‐3304
JOSEPH STANLEY SMITH                               6715 TOWNLINE RD                                                                                  NO TONAWANDA      NY    14120‐9511
JOSEPH STANSBURY                                   11606 SHELLBARK LN                                                                                GRAND BLANC       MI    48439‐1372
JOSEPH STEFAN                                      6 HAYS BLVD                                                                                       PINE HAVEN        WY    82721‐9732
JOSEPH STEFANAC                                    1799 GUERARD AVE                                                                                  THE VILLAGES      FL    32162‐4018
JOSEPH STEFANIK TR ROBERT RANEY TR FUND UA         ROUTE #3                                 BOX 529                                                  LINTON            IN    47441‐9712
12/18/78
JOSEPH STEFANSKI JR                                4063 DAY ST                                                                                       BURTON            MI    48519‐1512
JOSEPH STEFONETTI                                  16 DEERFIELD CT                                                                                   FREEBURG          IL    62243‐4014
JOSEPH STEPHEN PINENO                              11213 28TH STREET CIR E                                                                           PARRISH           FL    34219‐8956
JOSEPH STEPHENS                                    120 MAPLE ST                                                                                      COLONIA           NJ    07067‐1608
JOSEPH STERRANTINO                                 4731 NW 65TH AVE                                                                                  LAUDERHILL        FL    33319‐7203
JOSEPH STEVE SENDEK III                            251 HAMMOND RD                                                                                    MARSHALLVILLE     GA    31057
JOSEPH STEWART                                     529 ERIN AVE SW                                                                                   ATLANTA           GA    30310‐4468
JOSEPH STOKES NEWTON                               RR 2 BOX 277                                                                                      FRANKLIN          PA    16323‐9129
JOSEPH STOLER CUST ALEXANDER LAURENCE UTMA NJ      6 SULLIVAN ST                                                                                     WESTWOOD          NJ    07675‐3109

JOSEPH STOLER CUST EMILY STOLER UTMA NJ            6 SULLIVAN ST                            UNIT 907                                                 WESTWOOD          NJ    07675‐3109
JOSEPH STOLER CUST JONATHAN B STOLER UTMA NJ       6 SULLIVAN ST                                                                                     WESTWOOD          NJ    07675‐3109

JOSEPH STOLER CUST MICHELLE A STOLER UTMA NJ       6 SULLIVAN ST                                                                                     WESTWOOD          NJ    07675‐3109

JOSEPH STRANGE                                     RR 3 BOX 246                                                                                      LOOGOOTEE         IN    47553‐9200
JOSEPH STRINGHAM                                   6853 COUNTY RD 17                        THE CHAPADA                                              WOODVILLE         AL    35776‐6715
JOSEPH SUBBIONDO JR                                74 LEEWARD COURT                                                                                  PORT JEFFERSON    NY    11777‐2311
JOSEPH SUDOL & EVA M SUDOL JT TEN                  6636 5TH AVE                                                                                      PITTSBURGH        PA    15206‐4443
JOSEPH SULLIVAN                                    1010 S TRENTON AVE                                                                                PITTSBURGH        PA    15221‐3456
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                       Part 4 of 8 Pg 378 of 855
Name                                               Address1                             Address2                       Address3     Address4          City               State Zip

JOSEPH SULLIVAN JR                                 400 W CENTER ST                                                                                    MEDINA             NY    14103‐1143
JOSEPH SUMMERFIELD                                 2729 MEADOW DAWN ST                                                                                DALLAS             TX    75237‐3209
JOSEPH SURCUILAS JR                                1201 ELDRIDGE LOOP                                                                                 CROSSVILLE         TN    38558‐0255
JOSEPH SUROVEC                                     PO BOX 301                                                                                         OLCOTT             NY    14126‐0301
JOSEPH SUSKI                                       12055 TORREY RD                                                                                    FENTON             MI    48430‐9702
JOSEPH SVAJDA JR TOD CHRISTINA K BOYD SUBJECT TO   2737 SOUTH LUTHERAN CHURCH ROAD                                                                    NEW LEBANON        OH    45345‐9614
STA TOD RULES
JOSEPH SWITZER                                     102 TURPIN ST                                                                                      ROCHESTER          NY    14621‐3921
JOSEPH SWOVICK                                     236 E MAIN ST 177                                                                                  SEVIERVILLE        TN    37862‐3531
JOSEPH SZABELSKI                                   3158 PINGREE RD                                                                                    HOWELL             MI    48843‐5406
JOSEPH T AGBOKA                                    1799 SHAKER HEIGHTS DR                                                                             BLOOMFIELD HILLS   MI    48304‐1151

JOSEPH T ANDREWS                                   89 N BEVERLY AVE                                                                                   YOUNGSTOWN         OH    44515‐2930
JOSEPH T AULT                                      14770 HATFIELD                                                                                     TITMAN             OH    44270‐9502
JOSEPH T AUWERS TR JOSEPH T AUWERS LIVING TRUST    29681 MIDDLEBELT RD                                                                                FARMINGTN HLS      MI    48334‐2313
UA 03/18/85
JOSEPH T AVERY                                     2104 STIRRUP LN F301                                                                               TOLEDO             OH    43613‐5670
JOSEPH T BENNETT                                   913 W 5TH ST                         BOX 100                                                       DELAWARE CITY      DE    19706‐0100
JOSEPH T BLUCHER                                   46 HILLCREST RD                                                                                    WALTHAM            MA    02451‐2233
JOSEPH T BOGOVICH                                  414 PEFFER ST                                                                                      NILES              OH    44446‐3315
JOSEPH T BOURISAW                                  ROUTE 1                                                                                            CADET              MO    63630‐9801
JOSEPH T BOYSAW                                    11707 MARTIN LUTHER KING DR                                                                        CLEVELAND          OH    44105‐4555
JOSEPH T BURDICK                                   2122 WEBSTER BROOK RD                                                                              BLOOMVILLE         NY    13739
JOSEPH T BUTCHER                                   429 MANCHESTER CRT                                                                                 GRIFFITH           IN    46319‐3004
JOSEPH T CERVA CUST MINDA JO CERVA UGMA MI         1440 RIVERWALK CRT                                                                                 WATERVILLE         OH    43566‐9513
JOSEPH T CIESIELSKI                                3304 CANTERBURY DR                                                                                 BAY CITY           MI    48706‐2052
JOSEPH T COCHRAN                                   1405 DEWEY                                                                                         ANDERSON           IN    46016‐3122
JOSEPH T COLLIER & GRACE E COLLIER JT TEN          15232 ALBANO RD                                                                                    BARBOURSVILLE      VA    22923‐8949
JOSEPH T COLON & JANE MARIE COLON JT TEN           1722 COLONIAL MANOR DRIVE                                                                          LANCASTER          PA    17603‐6034
JOSEPH T CRONAN                                    34 FILBERT ST                                                                                      HAMDEN             CT    06517‐1312
JOSEPH T CROUPE                                    2015 BRIGDEN ROAD                                                                                  PASADENA           CA    91104‐3342
JOSEPH T DONATO & HENRIETTA Z DONATO JT TEN        56 LAWRENCE AVE                                                                                    AVON               CT    06001‐3620

JOSEPH T DOUGHERTY & ELIZABETH M DOUGHERTY TEN 355 W MAIN ST                                                                                          GIRARDVILLE        PA    17935‐1707
ENT
JOSEPH T DUGHETTI                              16355 76TH AVE                                                                                         TINLEY PARK        IL    60477‐1572
JOSEPH T FARLOW                                14374 MORRISH RD                                                                                       MONTROSE           MI    48457‐9723
JOSEPH T FREEMAN                               5146 LOBDELL RD                                                                                        MAYVILLE           MI    48744‐9630
JOSEPH T FROST & CHERYL M FROST JT TEN         690 ARMETTA DRIVE                                                                                      CAMP VERDE         AZ    86322‐6420
JOSEPH T GASPERINO                             RR 1 BOX 121                                                                                           WELLINGTON         MO    64097‐9738
JOSEPH T GEMBAROSKY                            909 COLONIAL                                                                                           CANAL FULTON       OH    44614‐8879
JOSEPH T GLATTHAAR                             501 MORGAN CREEK RD                                                                                    CHAPEL HILL        NC    27517‐4931
JOSEPH T GREGORY                               C/O SCHOOL OF ENGINEERING                PRIVATE BAG UNIV OF AUCKLAND   AUCKLAND 1   NEW ZEALAND
JOSEPH T HAYES                                 1914 S HAMLIN AVE                                                                                      CHICAGO            IL    60623‐2436
JOSEPH T HERCULES                              40876 OSBOURNE                                                                                         WELLSVILLE         OH    43968‐9778
JOSEPH T HUMBACH                               9929 BASSET DR                                                                                         LIVONIA            MI    48150‐2408
JOSEPH T KASCAK & MRS DOLORES M KASCAK JT TEN  4426 GLENCAIRIN ST                                                                                     WEST MIFFLIN       PA    15122‐2206

JOSEPH T KUCERA & EVELYN R KUCERA TR KUCERA        10 S 371 MADISON                                                                                   BURR RIDGE         IL    60527
FAMILY TR U‐T 03/27/86
JOSEPH T LENTINE                                   33604 JEFFERSON AVE                                                                                ST CLAIR SHORES    MI    48082‐1175
JOSEPH T LEWIS                                     2705 EDGEWOOD DR                                                                                   MERIDIAN           MS    39307‐4042
JOSEPH T LOGAN                                     12 MAPLE LANE                                                                                      DOYLESTOWN         PA    18901‐4438
JOSEPH T MALINOWSKI                                3146 PINE BLUFF WAY                                                                                FORT MILL          SC    29707‐7786
JOSEPH T MARTONOSI & MRS JUANITA M MARTONOSI       53 SO M‐30                                                                                         GLADWIN            MI    48624‐8443
& MARY F MOORE JT TEN
JOSEPH T MASSONE                                   663 HICKSVILLE ROAD                                                                                MASSAPEQUA         NY    11758‐1245
JOSEPH T MATTINGLY & SHARON M MATTINGLY JT TEN     609 S PROSPECT AVE                                                                                 CHAMPAIGN          IL    61820‐5848
                                                09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 4 of 8 Pg 379 of 855
Name                                                   Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH T MEHERG                                  1818 FREEMAN AVE                                                                                      KANSAS CITY      KS    66102‐2642
JOSEPH T MICHELS                                 2525 POT SPRING RD                           UNIT L 630                                               TIMONIUM         MD    21093‐2875
JOSEPH T MOLINA SR & CHERYL A MOLINA & RICARDO C 4041 GRANGE HALL RD                                                                                   HOLLY            MI    48442
MOLINA JT TEN
JOSEPH T MURPHY                                  3346 NEWTON TOMLINSON RD SW                                                                           WARREN           OH    44481‐9218
JOSEPH T NICKELS                                 13 DOREEN DR                                                                                          TRENTON          NJ    08690‐2007
JOSEPH T NIZOLEK                                 27953 OAKLANDS CIRCLE                                                                                 EASTON           MD    21601
JOSEPH T NOONAN                                  2110 BENTIVAR DR                                                                                      CHARLOTTESVLE    VA    22911
JOSEPH T OETTINGER                               581 WINDSOR AVE                                                                                       GOLETA           CA    93117‐1603
JOSEPH T OLEARY JR                               501 VILLA VISTA BLVD                                                                                  LAKELAND         FL    33813‐1152
JOSEPH T OSTROWSKI & MONA OSTROWSKI JT TEN       141 W RIDGE AVE                                                                                       STATE COLLEGE    PA    16803‐3523

JOSEPH T OZIEMBLOWSKY & ELIZABETH J                    BOX 45                                                                                          MCCLELLANDTOWN PA      15458‐0045
OZIEMBLOWSKY JT TEN
JOSEPH T PERRY & MARILYN A PERRY JT TEN                3545 BURCH AVENUE                                                                               CINCINNATI       OH    45208‐1315
JOSEPH T PERRY & MRS MARILYN PERRY JT TEN              3545 BURCH AVE                                                                                  CINCINNATI       OH    45208‐1315
JOSEPH T PILKINGTON                                    105 MAPLE ST                                                                                    LITCHFIELD       CT    06759‐3103
JOSEPH T POPLAWSKI                                     PO BOX 290                                                                                      SEASIDE PARK     NJ    08752‐0290
JOSEPH T PRYHODA                                       3 RENE DRIVE                                                                                    SPENCERPORT      NY    14559‐1619
JOSEPH T RACHOZA                                       11909 CENTENNIAL PARK                                                                           OVERLAND PARK    KS    66213‐1696
JOSEPH T RENAUD TR JOSEPH T RENAUD TRUST UA            11908 LAURIE AVE                                                                                PALOS PARK       IL    60464‐1219
05/16/01
JOSEPH T RETHY & MRS ELEANORE RETHY JT TEN             912 KEARNEY DR                                                                                  N BRUNSWICK      NJ    08902‐3227
JOSEPH T SAMPLE                                        BOX 388                                                                                         GARNER           NC    27529‐0388
JOSEPH T SHIMKO                                        RD 3 BOX 243                                                                                    NEW ALEXANDRIA   PA    15670‐9688

JOSEPH T SMITH & MRS GLORIA P SMITH JT TEN             208 STONEGATE LANE                                                                              ALBANY           GA    31721‐9445
JOSEPH T SMITH JR                                      201 W CHAMPLAIN AVE                                                                             WILMINGTON       DE    19804‐1837
JOSEPH T SMITH JR & JEAN RAY SMITH JT TEN              201 W CHAMPLAIN AVE                                                                             WILMINGTON       DE    19804‐1837
JOSEPH T SPENCER                                       29 DEVON AVE                                                                                    BELLMAWR         NJ    08031‐1362
JOSEPH T SPENCER                                       ATTN CLARA M SPENCER                   11223 SPENCER DR                                         FOWLERVILLE      MI    48836‐8516
JOSEPH T STEREN                                        1948 A EDWARDS ST                                                                               EAST TROY        WI    53120‐1392
JOSEPH T STOVALL                                       5614 CYPRESS CREEK DR                  APT 103                                                  HYATTSVILLE      MD    20782‐3529
JOSEPH T STRAYHORN CUST GERARD JOSEPH                  26928 KINGSWOOD DR                                                                              DEARBORN HEIGHTS MI    48127‐3366
STRAYHORN UGMA MI
JOSEPH T SZESZULSKI                                    8065 W POTTER RD                                                                                FLUSHING         MI    48433‐9444
JOSEPH T SZOLACK SR & CAROLYN S WATSON JT TEN          302 CRAFTON AVE                                                                                 PITMAN           NJ    08071‐1604

JOSEPH T TIMM & CHERYL L TIMM TEN ENT                  2000 S BRENTWOOD                                                                                ESSEXVILLE       MI    48732‐1408
JOSEPH T UTOFT                                         6920 GLEN RD                                                                                    WOODBURY         MN    55129‐9506
JOSEPH T WILKINSON & MRS JEANNE W WILKINSON JT         12 MAPLE STREET                                                                                 BROADALBIN       NY    12025‐2119
TEN
JOSEPH T WILLIAMS                                      2505 ANTHEM VILLAGE DRIVE              SUITE E307                                               HENDERSON        NV    89052‐5505
JOSEPH T WILZEK                                        23111 26 MILE                                                                                   RAY              MI    48096‐4529
JOSEPH T YARBRO                                        24615 JOHNSTON                                                                                  EASTPOINTE       MI    48021‐1436
JOSEPH T ZAJAC                                         23305 S MELROSE DR                                                                              WESTLAKE         OH    44145‐2835
JOSEPH TAKACS                                          116 TORREY PINES DRIVE                                                                          TOMS RIVER       NJ    08757‐5722
JOSEPH TALLMAN                                         26 N LOCUST AVE                                                                                 W LONG BRANCH    NJ    07764‐1406
JOSEPH TAMALUNIS                                       6817 OLD DAM RD                                                                                 GEORGETOWN       IL    61846‐6077
JOSEPH TAMEZ                                           1111 SHOAFF ROAD                                                                                HUNTERTOWN       IN    46748‐9305
JOSEPH TARANTINO & ANN TARANTINO JT TEN                212 HIGH SERVICE AVE                                                                            N PROVIDENCE     RI    02904‐5113
JOSEPH TARSKY                                          4316 GORMAN AVE                                                                                 ENGLEWOOD        OH    45322‐2528
JOSEPH TASSINARI & MRS ANNA KEMP JT TEN                16 GLEN ST                                                                                      SOMERVILLE       MA    02145‐3210
JOSEPH TAYLOR & TONYA TAYLOR JT TEN                    154 COLONEL BELL DR                                                                             BROCKTON         MA    02301‐1902
JOSEPH TAYLOR JR                                       436 W 10TH AVE                                                                                  FLINT            MI    48503‐1366
JOSEPH TERENCE HINKSON                                 PO BOX 289                                                                                      UTICA            NY    13503‐0289
JOSEPH TERESI JR & SYLVIA S TERESI JT TEN TOD JOSEPH   13900 PAWNEE TRAIL                                                                              MIDDLEBURG HTS   OH    44130‐6721
A TERESI SR
JOSEPH TERRY                                           16825 KENTFIELD ST                                                                              DETROIT          MI    48219‐3319
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 380 of 855
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH TERRY                                      204 GRENOCH VALLEY LN                                                                           APEX             NC    27539
JOSEPH TERZI & ALTOON TERZI JT TEN                1767 E 9TH ST                                                                                   BROOKLYN         NY    11223‐2305
JOSEPH THAW & FAY THAW JT TEN                     NORMANDY M‐593 KINGS POINT                                                                      DELRAY BEACH     FL    33484
JOSEPH THOMAS CHALK                               8351 LUCE CT                                                                                    SPRINGFIELD      VA    22153‐3319
JOSEPH THOMAS DE LILLO                            3625 BRIAN PLACE                                                                                CARMEL           IN    46033‐4420
JOSEPH THOMAS OPPERMAN & MARGENE C OPPERMAN 4515 LINDEN AVE #C                                                                                    DAYTON           OH    45432‐3025
JT TEN
JOSEPH THOMAS PLOSKONKA                           463 SOUTHWOODS RD                                                                               HILLSBOROUGH     NJ    08844‐3128
JOSEPH THOMAS SCITTINE & ANDREW P SCITTINE JT TEN 11054 LANCASTER ST                                                                              WESTCHESTER      IL    60154‐4912

JOSEPH THOMPSON                                   93INWOOD AVE                                                                                    COLONIA          NJ    07067‐2031
JOSEPH THOMPSON                                   157 KAINE STREET                                                                                SAN ANTONIO      TX    78214
JOSEPH THRASH & MRS RUTH P THRASH JT TEN          1101 W MC CLELLAN                                                                               FLINT            MI    48504‐2635
JOSEPH TIANO                                      1735 HILTON PARMA RD                                                                            SPENCERPORT      NY    14559‐9505
JOSEPH TOBIAS CUST JOSEPH T TOBIAS UGMA MI        932 LYON                                                                                        FLINT            MI    48503‐1304
JOSEPH TOLMACS & BARBARA TOLMACS JT TEN           8002 WEST O AVE                                                                                 KALAMAZOO        MI    49009‐9641
JOSEPH TOMSIC                                     70 FRANDEE LANE                                                                                 ROCHESTER        NY    14626‐2540
JOSEPH TORELLA                                    8 ALLISON CT                                                                                    EDISON           NJ    08820‐1198
JOSEPH TRECATE                                    33 HILLWOOD DR                                                                                  BUFFALO          NY    14227‐3217
JOSEPH TROY BOURNE                                1517 NEW GARDEN RD APT 1A                                                                       GREENSBORO       NC    27410‐1529
JOSEPH TRZCINSKI                                  APT 301                                1715 GOSNELL ROAD                                        VIENNA           VA    22182‐2542
JOSEPH TUFANO                                     147 TEAKETTLE SPOUT RD                                                                          MAHOPAC          NY    10541‐4250
JOSEPH TUTSKY                                     5706 PELHAM DR                                                                                  PARMA            OH    44129‐4740
JOSEPH TYLER                                      PO BOX 202                                                                                      BUFFALO          NY    14240‐0202
JOSEPH TYMASH                                     MAPLE AVENUE                                                                                    ROEBLING         NJ    08554
JOSEPH U DUNLOP                                   170‐51 PIDGEON MEADOW RD                                                                        FLUSHING         NY    11365‐1135
JOSEPH U HAMANAKA & YOKO HAMANAKA JT TEN          349 15TH AVE                                                                                    SEATTLE          WA    98122‐5605
JOSEPH U SUTO & ELIZABETH SUTO JT TEN             PO BOX 560                                                                                      IDYLLWILD        CA    92549‐0560
JOSEPH U WHITE                                    7771 PIEDMONT ST                                                                                DETROIT          MI    48228‐4519
JOSEPH UGLIAROLO                                  1 ANTIQUA AVE                                                                                   TOMS RIVER       NJ    08753‐4702
JOSEPH V ADDENBROOKE                              C/O CATHERINE ADDENBROOKE              26 OAKWOOD ST                                            BRIDGEPORT       CT    06606‐4829
JOSEPH V BADINELLI JR                             2 TYNEWICK COURT                                                                                SILVER SPRING    MD    20906‐2661
JOSEPH V BEJSTER                                  2145 BANNER                                                                                     DEARBORN         MI    48124‐2428
JOSEPH V BOWMAN IV                                BOX 465                                                                                         HEBRON           OH    43025‐0465
JOSEPH V BRENNAN                                  19 LINCOLN COURT                                                                                KEANSBURG        NJ    07734‐1435
JOSEPH V BUCCELLATO                               5640 FLEMING RD                                                                                 FOWELERVILLE     MI    48836‐8521
JOSEPH V CARDOZA                                  10550 70TH AVE LOT 2                                                                            MILWAUKIE        OR    97222‐3911
JOSEPH V CARLOZO                                  2216 FURNACE RD                                                                                 FALLSTON         MD    21048
JOSEPH V CHARTRAND                                509 ATWATER                                                                                     LAKE ORION       MI    48362‐3312
JOSEPH V COLASANTI                                28409 BRADNER                                                                                   WARREN           MI    48088‐4393
JOSEPH V COLASANTI & BARBARA J COLASANTI JT TEN   28409 BRADNER                                                                                   WARREN           MI    48088‐4393

JOSEPH V CONRAD                                   29746 CAMBRIDGE                                                                                 FLATROCK         MI    48134‐1468
JOSEPH V CRESKO & LUCILLE A CRESKO JT TEN         1182 STATE ROUTE 29                                                                             SPRINGVILLE      PA    18844
JOSEPH V DECRISTOFORO                             428 EDGEWOOD AVE                                                                                NEW CASTLE       PA    16105‐2265
JOSEPH V DOLCE                                    2119 REMINGTON DRIVE                                                                            INDIANAPOLIS     IN    46227‐5947
JOSEPH V GENCO                                    70 POPLAR RD                                                                                    BRISTOL          PA    19007
JOSEPH V GENNUSA                                  54 LAKEWOOD CIRCLE                     LAKEWOOD FARM                                            NEWARK           DE    19711‐2343
JOSEPH V HERRON                                   900 LAKEWOOD AVE                                                                                LAKEWOOD         NJ    08701‐2697
JOSEPH V HERRON & MARY THERESE HERRON JT TEN      900 LAKEWOOD AVE                                                                                LAKEWOOD         NJ    08701‐2697

JOSEPH V KNIGHT                                   7612 JORDEN RD                                                                                  YALE             MI    48097‐3205
JOSEPH V LA QUATRA                                16 ORCHARD AVE                                                                                  BORDENTOWN       NJ    08505‐1512
JOSEPH V MC MAHON                                 122‐03 BEACH CHANNEL DRIVE                                                                      ROCKAWAY BEACH   NY    11694‐1823

JOSEPH V MCGURGAN                                 112 PRESIDENTIAL DR                                                                             HORSEHEADS       NY    14845‐2227
JOSEPH V MENDIOLA                                 402 S SCRANTON ST                                                                               RAVENNA          OH    44266‐2644
JOSEPH V MUPO & NANCY C MUPO JT TEN               11124 N RIVER VUE CIR                                                                           BILOXI           MS    39532‐8190
JOSEPH V MURPHY JR                                86 DOGWOOD PL                                                                                   WILLIAMSVILLE    NY    14221‐4628
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 381 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH V PAONE                                   41 IRON HILL ROAD                                                                               NEW BRITAIN      PA    18901
JOSEPH V PERMAR                                  121 BURTON RD                                                                                   SOUTHPORT        NC    28461‐7784
JOSEPH V PHELPS JR                               118 SALT MARSH CIR UNIT 25C                                                                     PAWLEYS ISLAND   SC    29585‐5560
JOSEPH V RAGNI & KAREN A KOWALCZYK JT TEN        5767 CRYSTAL CREEK COURT                                                                        WASHINGTON       MI    48094
JOSEPH V RENHOLDS & MRS MARIE RENHOLDS JT TEN    3512 S SCOVILLE AVE                                                                             BERWYN           IL    60402‐3853

JOSEPH V SETTLE                                  3407 VISTA                                                                                      ST LOUIS         MO    63104‐1107
JOSEPH V SLAPELIS                                656 WALNUT DR                                                                                   EUCLID           OH    44132‐2145
JOSEPH V STUFFEL                                 234 ENGLISH LN                                                                                  WINTHROP HBR     IL    60096‐1028
JOSEPH V TABONE                                  3725 SEA HAWK ST E                                                                              JACKSONVILLE     FL    32224‐2261
JOSEPH V TUMMINELLO & NELL L TUMMINELLO TEN      849 PAT LANE                                                                                    ARNOLD           MD    21012‐1245
ENT
JOSEPH V VON RONNE & MARY GRACE VON RONNE JT     50 GARDNER TERR                                                                                 DELMAR           NY    12054‐1028
TEN
JOSEPH V WALSH & DAWN WALSH JT TEN               PO BOX 554                                                                                      GLENHAM          NY    12527‐0554
JOSEPH V WASILAUSKAS JR                          22 MASON AVE                                                                                    OAKVILLE         CT    06779‐2106
JOSEPH V WEPKING                                 10 S CONCORD DR                                                                                 JANESVILLE       WI    53545‐2137
JOSEPH VALDEZ                                    5447 METROPOLITAN AVE                                                                           KANSAS CITY      KS    66106‐1621
JOSEPH VALLEY                                    1537 JUNO AVE                                                                                   ANAHEIM          CA    92802‐1622
JOSEPH VAN BEVEREN                               2696 LYONS RD                                                                                   CAMILLUS         NY    13031‐8709
JOSEPH VARABKANICH                               4748 LOCUST LN                                                                                  BRUNSWICK        OH    44212‐2418
JOSEPH VARAJON & SUSAN CAROL VARAJON JT TEN      68314 WINGATE DR 4                                                                              WASHINGTON       MI    48095‐1254

JOSEPH VARANI                                    13738 HALLECK                                                                                   STERLING HTS     MI    48313‐4234
JOSEPH VARGA                                     285 FRANKLIN ROAD                                                                               N BRUNSWICK      NJ    08902‐3208
JOSEPH VEGA                                      287 CORSICANA DR                                                                                OXNARD           CA    93030‐1312
JOSEPH VENTOLA                                   23 ARDMORE PLACE                                                                                EAST BRUNSWICK   NJ    08816‐5262
JOSEPH VERNON                                    288 S COUNTY RD 950 E                                                                           PERU             IN    46970
JOSEPH VERTUCCI                                  14 ASHLEY LANE                                                                                  WALLINGFORD      CT    06492
JOSEPH VETTESE                                   2656 WEST DEAN ROAD                                                                             LAMBERTVILLE     MI    48144‐9690
JOSEPH VICTOR WARD JR                            79 WARD RD                                                                                      LUGOFF           SC    29078
JOSEPH VILLAGOMEZ                                2021 UTAH                                                                                       FLINT            MI    48506‐2313
JOSEPH VINCENT SIXTA                             5412 MC COY                                                                                     SHAWNEE          KS    66226‐2638
JOSEPH VITAGLIANO & MARY FRANCES VITAGLIANO JT   41 WADSWORTH AVE                                                                                WINTHROP         MA    02152‐3114
TEN
JOSEPH VOLKERT CUST MARA VOLKERT UGMA OH         11435 CAPTIVA KAY DR                                                                            RIVERVIEW        FL    33569‐2056
JOSEPH VRABLIC JR                                4713 VICKY ROAD                                                                                 BALTIMORE        MD    21236‐1915
JOSEPH W ABBATE & CYNTHIA C ABBATE TEN COM       3616 MARQUETTE                                                                                  DALLAS           TX    75225‐5125
JOSEPH W ADAMS                                   7233 BRISTOL RD                                                                                 SWARTZ CREEK     MI    48473‐7911
JOSEPH W ANDREWS & JEAN M ANDREWS JT TEN         1838 BALDWIN ST                                                                                 STURGIS          SD    57785‐2405
JOSEPH W ANDRUSAITIS                             C/O JOSEPH ANDRUSAITIS                 808 BRADLEY RD                                           PT PLEASAWT      NJ    08742‐2323
JOSEPH W AUSTIN                                  1945 SWAN RIDGE ROAD                                                                            HILHAM           TN    38568
JOSEPH W BABKA & LORRAINE BABKA JT TEN           2220 FOUNTAIN SQUARE DR                APT 201                                                  LOMBARD          IL    60148‐5623
JOSEPH W BACKES & MRS GLADYS S BACKES JT TEN     256 S MAIN ST                                                                                   BURLINGTON       CT    06013‐2209

JOSEPH W BANKS & AFTON L BANKS JT TEN            3084 ISSER LANE                                                                                 JACKSONVILLE     FL    32257‐5627
JOSEPH W BANTZ                                   1103 E 3RD ST                                                                                   VINTON           IA    52349‐2308
JOSEPH W BATEMAN                                 1271 OLD RANCH RD                                                                               CAMARILLO        CA    93012‐4408
JOSEPH W BELTON                                  125 W BIRCH RD                                                                                  MEDWAY           OH    45341‐1357
JOSEPH W BERNHARD                                6415 EDGEWOOD DR                                                                                ROME             NY    13440‐1944
JOSEPH W BOTT                                    1166 VALLEY DR                                                                                  TRAVERSE CITY    MI    49684‐8920
JOSEPH W BOWEN                                   1390 HENNING DR                                                                                 LYNDHURST        OH    44124‐2419
JOSEPH W BRACH & VIRGINIA B BRACH TR UA 6/9/98   7623 TAPPER AVE                                                                                 HAMMOND          IN    46324‐3020
THE BRACH LIVING TRUST
JOSEPH W BRAMBLE                                 19402 17 MI RD                                                                                  MARSHALL         MI    49068‐9422
JOSEPH W BROZOSKI                                47 SHERMAN ST                                                                                   COAL TOWNSHIP    PA    17866‐4311
JOSEPH W BUMGARNER                               133 LEE BUMGARNER RD                                                                            SYLVA            NC    28779‐8004
JOSEPH W BUTCH                                   603 S BARCLAY ST                                                                                BAY CITY         MI    48706‐4231
JOSEPH W CAMERON                                 177 W YALE AVENUE                                                                               PONTIAC          MI    48340‐1865
                                                 09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 382 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JOSEPH W CAREY & SUELLEN J CAREY JT TEN            12171 KELLY SANDS WAY UNIT 1575                                                                FORT MYERS        FL    33908‐5944
JOSEPH W CARTER                                    3046 W AVALON RD                                                                               JANESVILLE        WI    53546‐8982
JOSEPH W CATALANO                                  101 BINGHAM DR                                                                                 BROOKLYN          MI    49230‐8926
JOSEPH W CAVALLARO & HARRIET CAVALLARO JT TEN      SPRING CREEK HC 66                    BOX 14A                                                  FRANKFORD         WV    24938‐9638

JOSEPH W CECCACCI                                  15827 EDSEL DR                                                                                 CLINTON TWP       MI    48035‐2117
JOSEPH W CHAPMAN JR                                1851 VININGS MILL WALK SE                                                                      SMYRNA            GA    30080‐6344
JOSEPH W CHARLES JR                                726 NEWARK GRANVILLE RD                                                                        GRANVILLE         OH    43023‐1451
JOSEPH W CLARK                                     3524 LYNCHESTER ROAD                                                                           BALTIMORE         MD    21215‐7415
JOSEPH W CLAYTON                                   1184 NO MANER RD                                                                               BENTON HARBOR     MI    49022‐9202
JOSEPH W CLEARY                                    PO BOX 102                                                                                     DELHI             CA    95315‐0102
JOSEPH W COPPLE                                    2171 KIRCHER COURT                                                                             PONTIAC           MI    48326‐2633
JOSEPH W COPPLE & CHARLOTTE E COPPLE JT TEN        2171 KIRCHER CT                                                                                PONTIAC           MI    48326‐2633

JOSEPH W COURY                                     1448 VINEWOOD                                                                                  DETROIT           MI    48216‐1431
JOSEPH W CZOP                                      500 SAGAMORE DRIVE                                                                             ROCHESTER         NY    14617‐2442
JOSEPH W CZUJ                                      9090 CURTIS DRIVE                                                                              OSSINEKE          MI    49766‐9615
JOSEPH W DALY                                      678 CORAL TRACE BLVD                                                                           EDGEWATER         FL    32132‐6942
JOSEPH W DAVENPORT                                 305 W 13TH STREET #5M                                                                          NEW YORK          NY    10014‐1216
JOSEPH W DE PRETIS                                 212 ANDREW DRIVE                                                                               CLAIRTON          PA    15025‐3842
JOSEPH W DEBOOVER                                  4723 MAPLE AVE                                                                                 STANLEY           NY    14561‐9414
JOSEPH W DENZER                                    7200 DOUGLASTON PARKWAY                                                                        LITTLE NECK       NY    11362‐1941
JOSEPH W DI PASQUALUCCI & JUDY M DI PASQUALUCCI    919 HOLLOWBLUFF AVE                                                                            NORTH LAS VEGAS   NV    89031‐1440
JT TEN
JOSEPH W DOBBS                                     520 CLAY AVE                                                                                   SCRANTON          PA    18510‐2174
JOSEPH W DOYLE                                     4779 WELTON                                                                                    GREENWOOD         IN    46143‐8976
JOSEPH W DUDEWICZ & LEON J DUDEWICZ JT TEN         PO BOX 415                                                                                     EUFAULA           AL    36072‐0415

JOSEPH W EAGER JR PERS REP EST VIRGINIA M EAGER    C/O JOSEPH M EAGER                    150 EAST MARIPOSA                                        PHOENIX           AZ    85012

JOSEPH W EBERTS                                    11210 LANDY COURT                                                                              KENSINGTON       MD     20895‐1320
JOSEPH W EDWARDS                                   32 BIRTIN AVE                                                                                  TRENTON          NJ     08619‐1806
JOSEPH W ELLIS & JOANNE B ELLIS JT TEN             5544 GALESTOWN RAD                                                                             SEAFORD          DE     19973
JOSEPH W FABAC                                     216 CROWN HIGH POINT                                                                           COLORADO SPRINGS CO     80904‐2585

JOSEPH W FAIRLIE                                   301 MILL RD                                                                                    HATBORO           PA    19040‐4013
JOSEPH W FEDERSPILL & JOAN P FEDERSPILL JT TEN     2511 AUDRI LANE                                                                                KOKOMO            IN    46901‐7073

JOSEPH W FLYNN                                     3832 LKPT‐OLCOTT RD                                                                            LOCKPORT          NY    14094
JOSEPH W FRYDRYCHOWICZ                             1619 PATRICIA LANE                                                                             ST CHARLES        IL    60174‐4696
JOSEPH W FULLER                                    7500 WOODSTREAM TERR                                                                           N SYRACUSE        NY    13212‐1922
JOSEPH W GANAWAY                                   18495 MANOR ST                                                                                 DETROIT           MI    48221‐1942
JOSEPH W GATES & MRS HELEN J GATES JT TEN          16200 WEST 13 MILE ROAD                                                                        BEVERLY HILLS     MI    48025‐5647
JOSEPH W GIAMPETRO                                 713 EDGEMOORE RD                                                                               WILMINGTON        DE    19809‐3425
JOSEPH W GIFFUNE JR                                7 SOUTH 441 OLD COLLEGE RD                                                                     NAPERVILLE        IL    60540
JOSEPH W GORDON                                    3238 BERKSHIRE ROAD                                                                            CLEVELAND         OH    44118‐2525
JOSEPH W GROTH                                     1916 HARDING AVE                                                                               LANSING           MI    48910‐3555
JOSEPH W HABERSTROH TR JOSEPH W HABERSTROH         594 DAVID STREET                                                                               WEST HEMPSTEAD    NY    11552‐2208
TRUST UA 03/28/95
JOSEPH W HALEY                                     214 MAIN ST                                                                                    WENHAM          MA      01984
JOSEPH W HANUSEK                                   5 TIMBERCREST DR                                                                               CANTON          CT      06019
JOSEPH W HARNER                                    1728 43RD ST                                                                                   PENNSAUKEN      NJ      08110‐3613
JOSEPH W HARRIS & DELORES D HARRIS TEN ENT         1349 WHITE HOUSE BLVD                                                                          CHARLESTON      SC      29412‐9231
JOSEPH W HAWKINS                                   1113 KENDALL DR                                                                                DURHAM          NC      27703‐5236
JOSEPH W HESSELL                                   43724 BELLEAU WOOD CT                                                                          CANTON TOWNSHIP MI      48188‐1709

JOSEPH W HITER                                     2117 JACKSON DOWN BLVD                                                                         NASHVILLE         TN    37214‐2363
JOSEPH W JASMAN                                    3319 WHEELER RD                                                                                BAY CITY          MI    48706‐1647
JOSEPH W JAYE                                      1307 BROOKFALL AVE                                                                             UNION             NJ    07083‐7013
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 383 of 855
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

JOSEPH W JORDAN                                   437 RAILROAD AVE                                                                               GIBSON           GA    30810‐4031
JOSEPH W JOSEPH                                   4522 RIVERS EDGE                                                                               TROY             MI    48098‐4114
JOSEPH W JOYCE                                    1525 SHELBY CIRCLE APT A                                                                       HIXSON           TN    37343
JOSEPH W JOYCE JR                                 1525 SHELBY CIRCLE APT A                                                                       HIXSON           TN    37343
JOSEPH W JUDGE                                    185 W 12TH ST                                                                                  SALEM            OH    44460‐1521
JOSEPH W JURCAK                                   C/O SHIRLEY M JURCAK                  212 SPRUCE ST                                            ELYRIA           OH    44035‐3245
JOSEPH W JUSTUS                                   33049 RAYBURN STREET                                                                           LIVONIA          MI    48154‐2919
JOSEPH W KANTORIK                                 15645 HUMMEL RD                                                                                BROOKPARK        OH    44142‐1952
JOSEPH W KAPERZINSKI & SUZANNE H KAPERZINSKI JT   4435 ROBINWOOD AVE                                                                             ROYAL OAK        MI    48073
TEN
JOSEPH W KAY                                      182 PRIGMORE ST                                                                                EAST BRUNSWICK   NJ    08816‐3178
JOSEPH W KELLER                                   729 HERON BAY COURT                                                                            PONTIAC          MI    48340‐1339
JOSEPH W KIPP                                     1700 LANDMARK DRIVE                   UNIT # 3D                                                FOREST HILL      MD    21050
JOSEPH W KITCHEN                                  931 N WHITE OAKS LN                                                                            OAK GROVE        MO    64075‐5128
JOSEPH W KNAPP                                    1814 ARIZONA AVENUE                                                                            FLINT            MI    48506‐4633
JOSEPH W LATIOLAIS & THERESA M LATIOLAIS JT TEN   5401 YOUNGFIELD WAY                                                                            ARVADA           CO    80002‐1336

JOSEPH W LEHMAN JR                                4216 RIDGECLIFF DR                                                                             DAYTON            OH   45440‐3320
JOSEPH W LIMPOSA                                  464 LINCOLN AVENUE                                                                             STRUTHERS         OH   44471‐1014
JOSEPH W LITTLE & MARY T LITTLE JT TEN            643 TACO AVE                                                                                   WESTWOOD          NJ   07675‐3426
JOSEPH W LOPANO & JANET A LOPANO JT TEN           804 DURHAM CT                                                                                  SOUTHLAKE         TX   76092‐8621
JOSEPH W LORKOWSKI                                2162 WINSTON DR                                                                                STERLING HTS      MI   48310‐5838
JOSEPH W LYSON                                    929 SPRINGVIEW DRIVE                                                                           FLUSHING          MI   48433‐1443
JOSEPH W LYSON & MARY ANN LYSON JT TEN            929 SPRINGVIEW DR                                                                              FLUSHING          MI   48433‐1443
JOSEPH W MARTIN JR                                2584 EDGEMERE DRIVE                                                                            ROCHESTER         NY   14612‐1147
JOSEPH W MATHEWS                                  411 POINCIANA DRIVE                                                                            BIRMINGHAM        AL   35209‐4129
JOSEPH W MATHEWS JR                               404 POINCIANA DRIVE                                                                            BIRMINGHAM        AL   35209‐4130
JOSEPH W MAY                                      8615 10TH ST NE                                                                                SAINT MICHAEL     MN   55376‐9206
JOSEPH W MC MILLEN                                7225 HASSOCK DRIVE                                                                             PLEASURE RIDGE PK KY   40258‐5447

JOSEPH W MCGERVEY                                 8710 LEONARD DR                                                                                SILVER SPRING    MD    20910‐5006
JOSEPH W MCMAHAN & BETTY F MCMAHAN TR             2012 EDGEWOOD                                                                                  DEARBORN         MI    48124‐4116
MCMAHAN LIVING TRUST UA 07/15/98
JOSEPH W MEKKER                                   8511 CAMELOT DRIVE                                                                             CHESTERLAND      OH    44026‐3101
JOSEPH W MERRITT JR                               5805 LANE DR                                                                                   ALEXANDRIA       VA    22310‐1138
JOSEPH W MILLENDER                                318 WORTON ROAD                                                                                BALTIMORE        MD    21221‐3025
JOSEPH W MILLER                                   1456 OVERLOOK WAY                                                                              BEL AIR          MD    21014‐1935
JOSEPH W MILLER                                   3201 HUGGINS                                                                                   FLINT            MI    48506‐1931
JOSEPH W MOLNER                                   25365 KINYON                                                                                   TAYLOR           MI    48180‐3203
JOSEPH W MOON II                                  6950 ELLIOTS GIN LANE                                                                          NAVARRE          FL    32566‐8587
JOSEPH W MORONSKI                                 4215 SHIMERVILLE ROAD                                                                          CLARENCE         NY    14031‐1830
JOSEPH W MURPHY                                   17 COBBLE RD                                                                                   SALISBURY        CT    06068‐1501
JOSEPH W MURPHY & ANNE M BAER JT TEN              12 DUTCHESS DRIVE                                                                              ORANGEBURG       NY    10962‐2702
JOSEPH W NIHILL                                   90 ROCHESTER RD                                                                                CARVER           MA    02330‐1554
JOSEPH W PAO & JOSEPHINE WANG PAO TEN COM         5550 HARVEST HILL RD UNIT CT 28                                                                DALLAS           TX    75230‐6400

JOSEPH W PASINSKI                               301 PARKER AVE                                                                                   MERIDEN          CT    06450‐5928
JOSEPH W PASKEWICZ                              380 HALF HOLLOW RD                                                                               DEER PARK        NY    11729‐1815
JOSEPH W PAULICIVIC JR                          27939 CHICLANA                                                                                   MISSION VIEJO    CA    92692‐1223
JOSEPH W PIZZATO                                9881 HART ST                                                                                     ST JOHN          IN    46373‐8708
JOSEPH W PIZZIMENTI                             6716 AIMPOINT DR                                                                                 PLANO            TX    75023‐1850
JOSEPH W POKUSA JR                              200 WINDSOR AVE                                                                                  HADDONFIELD      NJ    08033‐1421
JOSEPH W POLEWKA                                34396 MCBRIDE                                                                                    ROMULUS          MI    48174‐3455
JOSEPH W RATHBUN PATRICIA A RATHBUN & WILLIAM P 15324 FULLER AVE                                                                                 GRANDVIEW        MO    64030‐4559
ELLIOTT JT TEN
JOSEPH W REED                                   4 SESSIONS DRIVE                                                                                 BEXLEY           OH    43209‐1440
JOSEPH W RICE                                   39 BUCKINGHAM DR                                                                                 WYOMISSING       PA    19610‐3101
JOSEPH W RICHARDSON                             1224 OLD RIPLEY RD                                                                               SORENTO          IL    62086‐3306
JOSEPH W RIGGINS                                PO BOX 76                                                                                        MADISON          TN    37116‐0076
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 384 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

JOSEPH W RIGGS                                   6142 LINDSEY CT                                                                                 MIDDLETOWN AREA OH     45044‐9656
                                                                                                                                                 2
JOSEPH W RIVARD                                  12094 COUNTRY RUN DR                                                                            BIRCH RUN       MI     48415‐8535
JOSEPH W SAY                                     32542 VAN DOVER                                                                                 ST CLAIR SHRS   MI     48082‐3034
JOSEPH W SCHIRMACHER                             3118 YORKWAY                                                                                    BALTIMORE       MD     21222‐5344
JOSEPH W SEACH & ELEANOR A SEACH JT TEN          25401 CHARDON RD                                                                                RICHMOND        OH     44143‐1209
                                                                                                                                                 HEIGHTS
JOSEPH W SENCOSKI & MARY ANN SENCOSKI JT TEN     7 PARKLAND DR                                                                                   CLARKS SUMMIT   PA     18411

JOSEPH W SITAR JR                                85 WHITAKER AVE                                                                                 NORTH EAST       MD    21901‐2642
JOSEPH W SMITH                                   1313 RIDGEWOOD DR                                                                               LOCKPORT         NY    14094‐7160
JOSEPH W SMITH & SALLY J SMITH JT TEN            740 ABERDEEN DR                                                                                 INDIANAPOLIS     IN    46241‐1804
JOSEPH W STOCK                                   4201 CLINTON CEMETARY ROAD                                                                      EDGEWATER        FL    32141‐7129
JOSEPH W STORCH                                  RD 3 BOX 149                                                                                    WHEELING         WV    26003‐9407
JOSEPH W SZRAMKA                                 284 VICTORIA BLVD                                                                               KENMORE          NY    14217‐2215
JOSEPH W TEBO                                    46 PROSPECT STREET                                                                              NORWOOD          NY    13668‐1116
JOSEPH W THOMAS & SUZANNE THOMAS JT TEN          8370 ELMHURST                                                                                   CANTON           MI    48187‐1960
JOSEPH W THOMPSON JR                             2606 TEVERELL LANE                                                                              CHARLOTTE        NC    28270
JOSEPH W TILLSON & MRS JO ANN TILLSON JT TEN     PO BOX 14462                                                                                    SOUTH LAKE TAHOE CA    96151‐4462

JOSEPH W TINKLER                                 9811 DAVISON RD                                                                                 MIDDLE RIVER     MD    21220‐3892
JOSEPH W TRAMMEL & JANE F TRAMMEL JT TEN         4728 HERMITAGE RD                                                                               VIRGINIA BEACH   VA    23455‐4032
JOSEPH W TURNER JR                               5365 WEST 200 NORTH                                                                             ANDERSON         IN    46011‐9147
JOSEPH W UPTON & AVALEE D UPTON JT TEN           16017 W LITTLE CORMORANT ROAD                                                                   AUDUBON          MN    56511
JOSEPH W WAGONER & MARY M WAGONER JT TEN         183 EDGEWOOD DR                                                                                 WESTON           WV    26452‐8541

JOSEPH W WALSH CUST PATRICIA JO WALSH UGMA IL    909 EAST SHELBOURNE                                                                             NORMAL           IL    61761‐4923

JOSEPH W WASCOMB CUST ALEXANDER J WASCOMB        3833 LAWNDALE AVE                                                                               FORT WORTH       TX    76133‐2939
UTMA TX
JOSEPH W WILLEY SR & JUDITH A WILLEY TEN ENT     3250 GREENBRIAR DRIVE                                                                           LAKE             MI    48632‐8913
JOSEPH W YONCE JR                                PO BOX 86                                                                                       JOHNSTON         SC    29832‐0086
JOSEPH W YOUNG                                   3101 BOARDWALK                         #808 II                                                  ATLANTIC CITY    NJ    08401
JOSEPH W ZIMNY                                   69641 PARKER                                                                                    RICHMOND         MI    48062‐1152
JOSEPH WASHINGTON                                23 STRADER DR                                                                                   TROTWOOD         OH    45426‐3348
JOSEPH WAYNE ASH & EARL T ASH JT TEN             1372 WHITE OAK DRIVE                                                                            CHASKA           MN    55318‐1401
JOSEPH WEBER & MRS VIRGINIA TRIMBLE WEBER JT TEN UNIV OF CALIFORNIA                     DEPT OF PHYSICS                                          IRVINE           CA    92697‐0001

JOSEPH WELCH CUST JOSEPH WELCH UTMA MA           45 BEECHWOOD RD                                                                                 BRAINTREE        MA    02184‐3712
JOSEPH WELLS & LORRAINE WELLS JT TEN             6851 AMANDA LYNN DR                                                                             HAZELWOOD        MO    63042‐3810
JOSEPH WENESER & BETTY WENESER JT TEN            424 SAVAGE FARM DRIVE                                                                           ITHACA           NY    14850‐6507
JOSEPH WERNIK                                    198 W FARMS RD                                                                                  NORTHAMPTON      MA    01062‐9776
JOSEPH WHITE                                     8399 YARROW LN                                                                                  RIVERSIDE        CA    92508‐2924
JOSEPH WHITMER JR & CAROLINE K WHITMER JT TEN    1134 LONDON PL SW                                                                               DECATUR          AL    35603‐4468

JOSEPH WIEGAND SR CUST JEFFREY LEE WIEGAND       44 SIMMONS COVE RD                                                                              VINCENT          OH    45784‐9075
UGMA MI
JOSEPH WIJAS                                     1224 NOTRE DAME DR                                                                              LEMONT           IL    60439‐8512
JOSEPH WILKS LIEBERMAN                           247 WINDSOR CASTLE DR                                                                           NEWPORT NEWS     VA    23608‐1843
JOSEPH WILLIAM GRAY                              232 BASS RD                                                                                     VILONIA          AR    72173‐9751
JOSEPH WILLIAM MCINTOSH                          940 IROQUOIS                                                                                    ANAHEIM          CA    92801‐3505
JOSEPH WILLIAMS                                  19180 LITTLEFIELD                                                                               DETROIT          MI    48235‐1252
JOSEPH WINSTON CUST SUSAN K WINSTON UTMA CO      1009 S TEJON ST                                                                                 COLORADO SPRINGS CO    80903‐4238

JOSEPH WINSTON JONES                             814 E MOORE                                                                                     FLINT            MI    48505‐3908
JOSEPH WINSTON JUVE                              17213 SW 112 COURT                                                                              MIAMI            FL    33157‐3908
JOSEPH WOJCIESON                                 112 EAST GRANGER RD                                                                             SYRACUSE         NY    13219‐1513
JOSEPH WOLFF & MARCIA WOLFF JT TEN               216 N FREDERICKSBURG AVENUE                                                                     MARGATE          NJ    08406‐1638
JOSEPH WOLYNIEC & ROSALINE WOLYNIEC JT TEN       6161 OHLS DR                                                                                    WEIDMAN          MI    48893‐9245
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                     Part 4 of 8 Pg 385 of 855
Name                                             Address1                             Address2                  Address3          Address4               City             State Zip

JOSEPH Y MORAN                                   28586 COLERIDGE AVE                                                                                     HAYWARD          CA    94544‐5822
JOSEPH YELENCSICS                                354 PLAINFIELD ROAD                                                                                     EDISON           NJ    08820‐3046
JOSEPH YELLEN                                    43 OAK ST                                                                                               KEANSBURG        NJ    07734
JOSEPH YERKE CUST MIA RYAN YERKE UGMA MI         25145 INDEPENDENCE TRAIL                                                                                WARREN           MI    48089
JOSEPH YOERGER                                   PO BOX 95                                                                                               ALLOWAY          NJ    08001‐0095
JOSEPH YOUNG                                     821 BELMONT DR                                                                                          RALEIGH          NC    27610‐3521
JOSEPH YUE HAI LIU                               SHANGHAI GM 1500 SHEN JIANG RD       JIN QIAO PU DONG          SHANGHAI CHINA2   CHINA (PEOPLE'S REP)
JOSEPH Z COMANDINI CUST LORA COMANDINI UGMA      130 WENTWORTH ST                                                                                        BRIDGEPORT       CT    06606‐4151
CT
JOSEPH ZAHER                                     12222 S JENNINGS RD                                                                                     LINDEN           MI    48451‐9477
JOSEPH ZANCHELLI CUST CARL ZANCHELLI UTMA NY     20 EASTWOOD AVE                                                                                         DEER PARK        NY    11729

JOSEPH ZELENSKY                                  49 WEDGEWOOD LANE                                                                                       PALM COAST       FL    32164‐7718
JOSEPH ZELLNER & MRS VIRGINIA ZELLNER JT TEN     3200 LA ROTONDA DR UNIT 203                                                                             RCH PALOS VRD    CA    90275‐6102
JOSEPH ZIOBRON & MRS MARY ZIOBRON JT TEN         31555 BRETZ                                                                                             WARREN           MI    48093‐5534
JOSEPH ZOFCHAK                                   3025 MCKINLEY RD                                                                                        FLUSHING         MI    48433‐1907
JOSEPHINE A BERLIN                               305 W CONNECTICUT AVE                                                                                   SOMERS POINT     NJ    08244‐1905
JOSEPHINE A DALSKI TR DALSKI FAMILY TRUST UA     8507 E WELSH TRAIL                                                                                      SCOTTSDALE       AZ    85258‐1380
06/05/91
JOSEPHINE A DATZ & MICHAEL S DATZ JT TEN         1004‐8 S FOURTH ST                                                                                      SPRINGFIELD      IL    62703‐2225
JOSEPHINE A DAVIS                                14115 SNOWVILLE ROAD                                                                                    BRECKSVILLE      OH    44141‐3705
JOSEPHINE A DESILVA                              3215 E LOCUST ST                     APT 40                                                             DAVENPORT        IA    52803‐3568
JOSEPHINE A FABISIAK                             11308 NORWAY DRIVE                                                                                      HARTLAND         MI    48353‐3431
JOSEPHINE A FARMER                               8810 WALTHER BLVD APT 1623                                                                              PARKVILLE        MD    21234
JOSEPHINE A GARGANO & VINCENT F GARGANO JT TEN   3 BARBERRY LANE                                                                                         CTR MORICHES     NY    11934

JOSEPHINE A GERARDI                            42274 JUNE DRIVE                                                                                          STERLING HGHTS   MI    48314‐2839
JOSEPHINE A GOSS TR JOSEPHINE A GOSS REVOCABLE 5329 BRIAR CREST DR                                                                                       FLINT            MI    48532‐2206
TRUSTUA 5/26/00
JOSEPHINE A GREEN                              29638 JOHN HAUK ST                                                                                        GARDEN CITY      MI    48135‐2372
JOSEPHINE A HAWK                               16208 E 31ST TERR                                                                                         INDEPENDENCE     MO    64055‐2724
JOSEPHINE A HENDRICKSON CUST BRIAN HENDRICKSON 4 BETHANY AVE                                                                                             TITUSVILLE       NJ    08560‐1816
UTMA NJ
JOSEPHINE A HLAVNA                             3240 MANDRAKE BLVD                                                                                        COMMERCE TWP     MI    48382‐4346
JOSEPHINE A KASCIK                             117 HARTLEY AVE                                                                                           TRENTON          NJ    08610‐4425
JOSEPHINE A LOMBARDO                           131 BRIDGETOWN ST                                                                                         STATEN ISLAND    NY    10314‐6006
JOSEPHINE A MALCOLM & ROBERT E MALCOLM JT TEN 4409 STRATHMORE DR                                                                                         LAKE WALES       FL    33859‐5762

JOSEPHINE A MCKISSACK                           4569 WEST 144TH ST                                                                                       CLEVELAND       OH     44135‐2805
JOSEPHINE A MURRAY                              104 FARMINGDALE RD                                                                                       WETHERSFIELD    CT     06109‐2614
JOSEPHINE A PAVLOCK                             1415 WASHINGTON BLVD                                                                                     PORT VUE        PA     15133‐3711
JOSEPHINE A RAY                                 PO BOX 652                                                                                               WEAVERVILLE     NC     28787‐0652
JOSEPHINE A SALVATORE                           1921 63RD STREET                                                                                         BROOKLYN        NY     11204‐3052
JOSEPHINE A SOKEI                               5370 KAEHULUA ROAD                                                                                       KAPAA KAUAI     HI     96746‐9207
JOSEPHINE A TRUZZOLINO                          1550 BANCROFT AVE 311                                                                                    SAN LEANDRO     CA     94577‐5256
JOSEPHINE A YERKIE                              5935 SHATTUCK RD                      APT 102                                                            SAGINAW         MI     48603‐6900
JOSEPHINE ANDERSON                              100 RIVERFRONT DR                     APT 1211                                                           DETROIT         MI     48226‐4538
JOSEPHINE ANDRAS & STEPHEN ANDRAS JT TEN        153 CHESHIRE ROAD                                                                                        PITTSFIELD      MA     01201‐1808
JOSEPHINE ARMETTA                               1323 78TH ST                                                                                             BROOKLYN        NY     11228‐2719
JOSEPHINE B BUTCH                               433 MCKINLEY AVE                                                                                         ALPENA          MI     49707‐2627
JOSEPHINE B HANCIN                              66 HERON CIR                                                                                             CORTLAND        OH     44410‐1079
JOSEPHINE B NORRIS                              120 E 12TH ST                                                                                            SAFFORD         AZ     85546
JOSEPHINE B TAYLOR                              1520 OAK RUN COURT                                                                                       MANSFIELD       OH     44906‐3657
JOSEPHINE B W OBERG                             C/O NEIL OBERG                        2621 N GREENVIEW CIRCLE                                            CHICAGO         IL     60614‐1115
JOSEPHINE BARNHART                              1196 LONG POND ROAD                                                                                      ROCHESTER       NY     14626‐1162
JOSEPHINE BARONE                                563 BUCK SEAFORD RD                                                                                      MOCKSVILLE      NC     27028‐4171
JOSEPHINE BAZYLEWICZ CUST KATHLEEN M BAZYLEWICZ ATTN KATHLEEN M B CAMMILLERI          205 S WEBSTER ST                                                   PORT WASHINGTON WI     53074‐2130
U/THE WIS U‐G‐M‐A
JOSEPHINE BEVILACQUA                            PO BOX 3414                                                                                              PALM DESERT      CA    92261‐3414
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 386 of 855
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

JOSEPHINE BJURMAN                               8024 18TH AVE                                                                                      KENOSHA          WI    53143‐1631
JOSEPHINE BLACK                                 10229 EAST SHORE ROUTE                                                                             POLSON           MT    59860‐9645
JOSEPHINE BOCKENHAUER                           801 RHAWN ST                                                                                       PHILADELPHIA     PA    19111‐2522
JOSEPHINE BOCZAR & JUSTINE BOCZAR & JOSHUA J    37722 GERALDINE CT                                                                                 STERLING HGHTS   MI    48310‐4004
BOCZAR JT TEN
JOSEPHINE BOMBOLO                               1285 WARD PLACE                                                                                    ESCONDIDO        CA    92026‐3619
JOSEPHINE BOST                                  119 FEATHERMOON DRIVE                     PO BOX 354                                               SANTA THERESA    NM    88008‐0354
JOSEPHINE BRADLEY MC GEE                        736 CENTER DR 207                                                                                  SAN MARCOS       CA    92069‐3584
JOSEPHINE BULLA                                 63 N JOHNSON                                                                                       PONTIAC          MI    48341‐1325
JOSEPHINE BURTLEY                               4116 FOXWOOD TRAIL SE                                                                              RIO RANCHO       NM    87124‐5907
JOSEPHINE C CASTIGNANIE                         5077 MENGEL LANE                                                                                   HILLIARD         OH    43026‐1729
JOSEPHINE C DIONNE                              98 ELECTRIC ST                                                                                     MANCHESTER       NH    03102‐2807
JOSEPHINE C FUNK                                524 GAYWOOD                                                                                        CHESTERFIELD     IN    46017‐1330
JOSEPHINE C GUINTO                              204 DARLINGTON RD E                                                                                SYRACUSE         NY    13208‐2437
JOSEPHINE C GUINTO & CARRIE GUINTO JT TEN       204 EAST DARLINGTON RAOD                                                                           SYRACUSE         NY    13208
JOSEPHINE C KAVANAGH & TRACEY A KAVANAGH JT TEN 190‐17C 69TH AVENUE                       APT 2A                                                   FRESH MEADOWS    NY    11365

JOSEPHINE C MARKEL & MILLICENT J IPSON JT TEN     3922 MERRICK ST                                                                                  DEARBORN HTS     MI    48125‐2848

JOSEPHINE C MAURADIAN                             7741 WHITTAKER                                                                                   DETROIT          MI    48209‐1527
JOSEPHINE C PACHULSKI                             1971 ROCKLEDGE DR                                                                                ROCKLEDGE        FL    32955‐4910
JOSEPHINE C PANCIONE                              154 KINGS LANE                                                                                   ROCHESTER        NY    14617
JOSEPHINE C RICCI                                 127 WEST ELM ST                                                                                  E ROCHESTER      NY    14445‐1824
JOSEPHINE C SISK & COURTNEY SEWELL SISK TR UW     5603 TOPSAIL GREENS DR                                                                           CHATTANOOGA      TN    37416‐1082
GLENN N SISK
JOSEPHINE C TILIMON                               145 OSBORNE ST                                                                                   ROSSFORD         OH    43460‐1257
JOSEPHINE CALABRO                                 61‐46 213TH STREET                                                                               BAYSIDE          NY    11364‐2127
JOSEPHINE CARRANZA                                462 W RIVER RD                                                                                   MT PLEASANT      MI    48858‐9758
JOSEPHINE CARTER                                  2611 ELMWOOD ST                                                                                  SAGINAW          MI    48601‐7406
JOSEPHINE CAVALLINO & JOHN CAVALLINO JT TEN       2261 E 72ND ST                                                                                   BROOKLYN         NY    11234‐6644

JOSEPHINE CESARZ                                  3448 WESTRIDGE CT                                                                                WAYNE            MI    48184‐1026
JOSEPHINE CINA                                    164 CHRISTINA ST                                                                                 ARCADIA          CA    91006‐4116
JOSEPHINE COOKE                                   28944 HUBBARD #68                                                                                LEESBURG         FL    34748‐8377
JOSEPHINE CORRIERI                                15700 FRENCH CREEK DR                                                                            FRASER           MI    48026
JOSEPHINE CRONIN                                  1404 IVY DRIVE                                                                                   WILMINGTON       DE    19803‐3407
JOSEPHINE CUBR                                    3500 BIGELOW ROAD                                                                                HOWELL           MI    48855‐9752
JOSEPHINE D BROWN                                 5457 NIAGARA STREET EXT                                                                          LOCKPORT         NY    14094‐1801
JOSEPHINE D DUFFEY & VERNON M DUFFEY JT TEN       111 CAMBRIDGE DRIVE                                                                              MONROE           LA    71203

JOSEPHINE D ERCOLE                                763 BISHOP RD                                                                                    CLEVELAND        OH    44143‐3011
JOSEPHINE D GUZMAN                                827 DANBURY CT                                                                                   VENTURA          CA    93004‐2249
JOSEPHINE D PAINTER                               1308 WOODHILL DR                                                                                 KENT             OH    44240‐2834
JOSEPHINE D SKAWINSKI                             9 ATKINS WY                             PO BOX 102                                               MILLDALE         CT    06467‐0102
JOSEPHINE DANNA                                   12220 AZALEA RDG                                                                                 HUNTLEY          IL    60142‐6322
JOSEPHINE DAVIS                                   27577 LAHSER RD                         APT 122                                                  SOUTHFIELD       MI    48034‐4710
JOSEPHINE DAVIS                                   3025 GLENDALE ST                                                                                 DETROIT          MI    48238‐3349
JOSEPHINE DELLEA & EUGENE A DELLEA JT TEN         POMEROY AVE                                                                                      WEST STOCKBRIDGE MA    01266

JOSEPHINE DIGIOVANNI & CIVITA SPANO JT TEN        635 GUION DRIVE                                                                                  MAMARONECK       NY    10543‐4021
JOSEPHINE DIPPOLITO & CARMEN A DIPPOLITO JT TEN   3411 FOREST RIDGE DRIVE                                                                          ALBANY           GA    31707‐1582

JOSEPHINE DOLORES SCHWARTZ                        312 MALLARD DR                                                                                   DOVER            DE    19904‐6938
JOSEPHINE DUERSON                                 1018 W 2ND ST                                                                                    DAYTON           OH    45402‐6820
JOSEPHINE DUKES                                   205 CROSS VALLEY BR                                                                              COLUMBIA         TN    38401‐2084
JOSEPHINE DZIERLATKA                              7690 GREENVIEW                                                                                   DETROIT          MI    48228‐3419
JOSEPHINE DZIERWA & DIANE LOWE JT TEN             15733 HARRISON                                                                                   ALLEN PARK       MI    48101‐2021
JOSEPHINE E BLOUNT                                1631 BARKWOOD DR                                                                                 FLORISSANT       MO    63031‐1117
JOSEPHINE E DAVIES                                4555 BRUMMEL                                                                                     SKOKIE           IL    60076‐3678
                                                   09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                          Part 4 of 8 Pg 387 of 855
Name                                                 Address1                              Address2             Address3            Address4          City              State Zip

JOSEPHINE E DOUGLAS                                  42110 67TH ST W APT 47C                                                                          LANCASTER         CA    93536‐3885
JOSEPHINE E GANGEMI                                  315 BANFF AVE                         OSHAWA ON                                L1J 1L7 CANADA
JOSEPHINE E HOPPER & HAROLD N HOPPER JT TEN          650 POPLAR SPRINGS JUNO RD                                                                       LEXINGTON         TN    38351

JOSEPHINE E KERR                                     8870 MELROSE                                                                                     OVERLAND PARK     KS    66214‐2013
JOSEPHINE E KERR & JEAN M KERR JT TEN                8870 MELROSE                                                                                     OVERLAND PARK     KS    66214‐2013
JOSEPHINE E KERR & KENNETH J KERR JT TEN             8870 MELROSE                                                                                     OVERLAND PARK     KS    66214‐2013
JOSEPHINE E KINNEAR                                  1 SMETON PL                           APT 401                                                    TOWSON            MD    21204‐2716
JOSEPHINE E LEIBROCK                                 870 MCCLAIN ROAD                                                                                 COLUMBUS          OH    43212‐3704
JOSEPHINE E LETTIERI & JOHANNE C LETTIERI JT TEN     23013 WEYMOUTH PL                                                                                VALENCIA          CA    91354‐2040

JOSEPHINE E MENZEL                                   91 KIRKLAND DR                                                                                   WEBSTER           NY    14580‐1848
JOSEPHINE E MUNN & MICHAEL D MUNN JT TEN             843 LAY BLVD                                                                                     KALAMAZOO         MI    49001
JOSEPHINE E SAFRIET                                  5215 S DAYTON BRANDT RD                                                                          NEW CARLISLE      OH    45344
JOSEPHINE E SCHATZ                                   249 VERMULE RD                                                                                   BILLINGS          MO    65610‐9281
JOSEPHINE E SEITZ                                    10977 W SHELBY ROAD                                                                              MEDINA            NY    14103‐9522
JOSEPHINE E SIENKIEWICZ                              3251 E PEBBLE CREEK DR                                                                           AVON PARK         FL    33825‐6039
JOSEPHINE E WENG                                     APT 5‐D                               98‐10 64TH AVE                                             FOREST HILLS      NY    11374‐2502
JOSEPHINE EGLER                                      916 BURSUM PL                                                                                    SOCORRO           NM    87801‐4711
JOSEPHINE ELAINE PALMATIER                           14148 WEBSTER ROAD                                                                               BATH              MI    48808‐8712
JOSEPHINE F ALOOT                                    29338 SHACKET                                                                                    MADISON HEIGHTS   MI    48071‐4422

JOSEPHINE F ANTCZAK TOD VICTORIA USHOLD SUBJECT      927 GEORGETTE LN                                                                                 CLEVELAND         OH    44109
TO STA TOD RULES
JOSEPHINE F DUIMSTRA                                 2836 BLUEWATER LN SW                                                                             GRANDVILLE        MI    49418‐1113
JOSEPHINE F JORDAN                                   1184 WOODBURY RD                                                                                 PASADENA          CA    91104‐1336
JOSEPHINE F MC CLURE                                 9683 NESTORIA ST                                                                                 COMMERCE TWP      MI    48382‐4138
JOSEPHINE FELICIANO                                  103 CASTLETON DR                                                                                 TOMS RIVER        NJ    08757‐6310
JOSEPHINE FINIANOS                                   C/O J F ATALLAH                       1721 KEARNEY ST                                            LOS ANGELES       CA    90033‐2313
JOSEPHINE FOLEY                                      6754 REGULAR                                                                                     DETROIT           MI    48209‐2252
JOSEPHINE G AIMI                                     365 FULLE DR                                                                                     VALLEY COTTAGE    NY    10989‐1411
JOSEPHINE G AMBRETTE                                 316 SALVADOR SQUARE                                                                              WINTER PARK       FL    32789‐5621
JOSEPHINE G FREUND                                   13752 FOREST HILL RD                                                                             GRAND LEDGE       MI    48837‐9253
JOSEPHINE G FURAY                                    3726 TEESIDE DR                                                                                  NEW PORT RICHEY   FL    34655‐1967

JOSEPHINE GARCIA                                     6430 MAYFAIR                                                                                     TAYLOR            MI    48180‐1939
JOSEPHINE GARNETT                                    PO BOX 2381                                                                                      BUFFALO           NY    14240‐2381
JOSEPHINE GIBINO                                     C/O ROSEMARY GIULIANO                 39 SHERMAN HILL RD   WOODBURY CT 06798                     NAUGATUCK         CT    06770‐4211
JOSEPHINE GORDEN CROW                                218 N BUNDY DR                                                                                   LOS ANGELES       CA    90049‐2826
JOSEPHINE GOULD                                      1176 GRIMES BRIDGE RD                 STE 500                                                    ROSWELL           GA    30075‐3978
JOSEPHINE GOULD ROBINSON                             5914 OVERLEA ROAD                                                                                BETHESDA          MD    20816‐2456
JOSEPHINE GRONEK & MARY T SKURATOWICZ JT TEN         3704 S 61ST CT                                                                                   CICERO            IL    60804‐4156

JOSEPHINE GUIDO                                      680 BISHOP RD                                                                                    HIGHLAND HEIGHTS OH     44143‐1909

JOSEPHINE GUTIERREZ                                  9637 CARDWELL AVE                                                                                LIVONIA           MI    48150‐3260
JOSEPHINE H BELL                                     909A CARRIAGEWAY                      APT 6                                                      ELGIN             IL    60120‐2553
JOSEPHINE H BROWN                                    6137 OIL CREEK RD                                                                                WALKERSVILLE      WV    26447
JOSEPHINE H BUSCH                                    11525 HARLAN ST                                                                                  WESTMINSTER       CO    80020
JOSEPHINE H CURETON                                  PO BOX 1575                                                                                      GREENVILLE        SC    29602
JOSEPHINE H JACKSON TR UA 07/01/92 THE JACKSON       2809 N STATE RT 48                                                                               LEBANON           OH    45036‐2424
TRUST
JOSEPHINE H LECUYER                                  75 OBER ST                                                                                       MASSENA           NY    13662‐1311
JOSEPHINE H MC ALLISTER                              31 1/2 VAN VORST ST                                                                              UTICA             NY    13501‐5726
JOSEPHINE H MCBRIDE                                  616 NW LILAC PLACE                    LEE'S SUMMIT                                               LEES SUMMIT       MO    64081‐1309
JOSEPHINE H SHANKS TR JOSEPHINE H SHANKS TRUST       12020 ARCOLA                                                                                     LIVONIA           MI    48150‐2346
UA 7/26/00
JOSEPHINE HAMNER                                     C/O ROBERT HAMNER                     8604 WILES                                                 MIDDLETOWN        MD    21769
JOSEPHINE HARKIEWICZ                                 22147 KINYON ST                                                                                  TAYLOR            MI    48180‐3624
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 388 of 855
Name                                              Address1                                 Address2                Address3       Address4          City               State Zip

JOSEPHINE HEMINGWAY                               3639 N MACGREGOR WAY #28                                                                          HOUSTON            TX    77004‐8029
JOSEPHINE HEREFORD                                5891 LANCASHIRE AVE                                                                               WESTMINSTER        CA    92683‐3531
JOSEPHINE HINES                                   PO BOX 338                                                                                        CORDELE            GA    31010‐0338
JOSEPHINE HOUSER TR JOSEPHINE HOUSER TRUST UA     3622 EDGEWOOD DR                                                                                  STOW               OH    44224‐3927
09/18/06
JOSEPHINE HOWELL                                  4550 NORTH BRETON COURT SE               APT 313                                                  KENTWOOD           MI    49508‐5268
JOSEPHINE HUNT & JOHN HUNT JT TEN                 4258 GUNTHER                                                                                      STERLING HEIGHTS   MI    48310‐6327

JOSEPHINE INGRASSIA TR JOSEPHINE INGRASSIA LIVING JAF STATION                              PO BOX 833                                               NEW YORK           NY    10116‐0833
TRUSTUA 02/18/00
JOSEPHINE J JUE                                   5606 JASON ST                                                                                     HOUSTON            TX    77096
JOSEPHINE J LANE                                  9105 FORTUNA DR                          APT 8201                                                 MERCER ISLAND      WA    98040‐3173
JOSEPHINE J MCLEAN                                43855 PINOT NOIR DRIVE                                                                            STERLING HGTS      MI    48314‐1801
JOSEPHINE J OBRIEN                                4793 WILSON ROAD                                                                                  LOCKPORT           NY    14094‐1631
JOSEPHINE JANUS                                   3 HIGH ST                                PO BOX 5                                                 WATERPORT          NY    14571‐0005
JOSEPHINE JONES                                   4248 BENNINGTON ST                                                                                PHILADELPHIA       PA    19124‐4815
JOSEPHINE JOYCE BUCCOLA                           89 FIELDCREST RD                                                                                  PARSIPPANY         NJ    07054‐2412
JOSEPHINE JUAREZ                                  9147 AERO DR                                                                                      PICO RIVERA        CA    90660‐5114
JOSEPHINE JUGO & DEBRA L JUGO JT TEN              6751 SW106TH ST                                                                                   MIAMI              FL    33156‐3948
JOSEPHINE JUGO & STEVEN JUGO JT TEN               6751 SW 106TH ST                                                                                  MIAMI              FL    33156‐3948
JOSEPHINE K MCCONNELL                             90 WILBUR AVE                                                                                     MERIDEN            CT    06450‐5932
JOSEPHINE K RIN & OTTO RIDL JT TEN                7994 AUTUMN RIDGE WAY                                                                             CHANHASSEN         MN    55317‐8448
JOSEPHINE K TOWNLEY                               950 CENTER PLACE DR APT H                COBELSTONE APARTMENTS                                    ROCHESTER          NY    14615‐4028
JOSEPHINE KELLY                                   2268 PERCH WAY SW                                                                                 MARIETTA           GA    30008‐5984
JOSEPHINE KMAK                                    8024 LIONS CREST WAY                                                                              GAITHERSBURG       MD    20879‐5637
JOSEPHINE KRAMER                                  21250 HILLSDALE AVE                                                                               CLEVELAND          OH    44126‐2115
JOSEPHINE L GASTER                                4100 N RIVER RD NE #303                                                                           WARREN             OH    44484‐1041
JOSEPHINE L GREGORY & MARK S GREGORY & MARCIA L 2860 NORTHVILLE DR NE                                                                               GRAND RAPIDS       MI    49525‐1766
STEFFLER JT TEN
JOSEPHINE L GRIFFITH                              9200 N BEARDSLEE RD                                                                               PERRY              MI    48872‐8714
JOSEPHINE L INTESO                                12451 VALLEY VIEW DR                                                                              CHESTERLAND        OH    44026‐2454
JOSEPHINE L KALLAM                                265 SHAMROCK DR                                                                                   RIDGEWAY           VA    24148‐3414
JOSEPHINE L PALIANI                               151 CHAPEL HILL DR                                                                                ROCHESTER          NY    14617
JOSEPHINE L SCARSELLA                             58‐50 230TH ST                                                                                    BAYSIDE            NY    11364‐2444
JOSEPHINE L TAVANO                                786 SCOVELL DR                                                                                    LEWISTON           NY    14092‐1140
JOSEPHINE LACHKY                                  16 BRITTANY A                                                                                     DELRAY BEACH       FL    33446‐2013
JOSEPHINE LAURI                                   66‐67 AMERY ST                           SLIEMA                                 MALTA
JOSEPHINE LIGHTNER ROGERS                         3305 RILEY CREEK RD                                                                               NORMANDY           TN    37360‐3030
JOSEPHINE LOMBARDO & MRS FRANK LOMBARDO JT        2624 TROPICAL EAST CIRCLE                                                                         PORT ST LUCIE      FL    34952‐7244
TEN
JOSEPHINE LOMORIELLO & ANDREW S LOMORIELLO JT 84 SPARROW RIDGE ROAD                                                                                 CARNEL             NY    10512‐1567
TEN
JOSEPHINE LUKAS                                   5553 COMMERCE RD                                                                                  WEST BLOOMFIELD MI       48324‐2213

JOSEPHINE LUKAS & DANIEL A LUKAS JT TEN           5553 COMMERCE RD                                                                                  WEST BLOOMFIELD MI       48324‐2213

JOSEPHINE LUNGARI                                 39 PINE TREE DRIVE                                                                                BAYVILLE           NJ    08721‐1723
JOSEPHINE LYNCH CUST TIMOTHY LYNCH UGMA MA        30 1/2 DEARBORN ST                                                                                SALEM              MA    01970‐2450

JOSEPHINE M ANDRAS                                153 CHESHIRE RD                                                                                   PITTSFIELD         MA    01201‐1808
JOSEPHINE M ANTONE & RHESA K ANTONE TEN ENT       ROAD 47                                  PO BOX 201                                               CLAYTON            DE    19938‐0201

JOSEPHINE M AQUILINO                              27 SPYGLASS DRIVE                                                                                 JACKSON            NJ    08527‐4011
JOSEPHINE M ARTER                                 806 E HIGH ST APT E                                                                               LOCKPORT           NY    14094‐4787
JOSEPHINE M BURNLEY                               4474 BUTLER HILL RD 332                                                                           SAINT LOUIS        MO    63128‐3661
JOSEPHINE M CERRONE                               2103 PIPPIN COURT                                                                                 TROY               MI    48098‐2245
JOSEPHINE M CRANE & SANDRA HOUGH JT TEN           165 CHESTNUT ST                                                                                   WALTHAM            MA    02453‐0434
JOSEPHINE M DANNA                                 1707 DROXFORD                                                                                     HOUSTON            TX    77008‐3101
JOSEPHINE M DAVITO                                551 W WINTER PARK ST                                                                              ORLANDO            FL    32804
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 389 of 855
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

JOSEPHINE M GALICKI & MARIA T MANIACI JT TEN     13307 MURTHUM                                                                                    WARREN             MI    48093‐6932
JOSEPHINE M GALICKI & MARIA T MANIACI JT TEN     13307 MURTHUM                                                                                    WARREN             MI    48088‐6932
JOSEPHINE M GRAY                                 862 E 169TH ST                                                                                   SOUTH HOLLAND      IL    60473‐3038
JOSEPHINE M JOST                                 4474 BUTLER HILL RD                     APT 332                                                  ST LOUIS           MO    63128‐3661
JOSEPHINE M KEPLER                               10675 PENCE SHEWMAN RD                                                                           NEW PARIS          OH    45347‐8008
JOSEPHINE M LEMIEUY                              37111 MORAVIAN DR                                                                                CLINTON TWN SHIP   MI    48036‐3600

JOSEPHINE M LYNN TR JOSEPHINE M LYNN LIV TRUST UA 236 S MUHLENBERG ST                                                                             WOODSTOCK          VA    22664‐1466
08/09/99
JOSEPHINE M MATULA                                100 KIDD CASTLE WA 59                                                                           WEBSTER            NY    14580‐1964
JOSEPHINE M MERIGGI                               7 ROCKFORD ROAD C‐12                                                                            WIMINGTON          DE    19806‐1031
JOSEPHINE M MISKUNAS                              805 S GOYER RD                                                                                  KOKOMO             IN    46901‐8605
JOSEPHINE M MONTELEONE                            725 DENOW RD                           APT # 132                                                PENNINGTON         NJ    08534
JOSEPHINE M NATALE                                204 SUNNY MILL LN                                                                               ROCHESTER          NY    14626‐4456
JOSEPHINE M NIMKE                                 509 ROSE ST                                                                                     GRAYLING           MI    49738‐1326
JOSEPHINE M NORTHRUP                              1400 HOBNAIL COURT                                                                              DAVISON            MI    48423‐2204
JOSEPHINE M PERYMA                                PO BOX 382                                                                                      DAVISON            MI    48423‐0382
JOSEPHINE M PIEPER                                2805 ROCKBRIDGE RD                                                                              TYLER              TX    75701
JOSEPHINE M PIEPER & CLIFFORD J PIEPER JT TEN     2805 ROCKBRIDGE RD                                                                              TYLER              TX    75701
JOSEPHINE M REYES TR JOSEPHINE M REYES REV TRUST 4040 BAGLEY                                                                                      DETROIT            MI    48209‐2135
UA 09/29/04
JOSEPHINE M ROSSI                                 52 PRINCETON DR                                                                                 DELRAN             NJ    08075‐1620
JOSEPHINE M SANDRI                                52 DALE AVE                                                                                     WYCKOFF            NJ    07481‐3317
JOSEPHINE M SARACELLI                             35 LOH AVE                                                                                      TARRYTOWN          NY    10591‐4631
JOSEPHINE M SCHULTZ & CYNTHIA N LAMARCO JT TEN 4800 MEYER RD                                                                                      PENDLETON          NY    14120‐9579

JOSEPHINE M SILVESTRI                            7‐04 OAK ST                                                                                      FAIRLAWN         NJ      07410‐1533
JOSEPHINE M SIMPSON                              1609 TEXAS COURT                                                                                 XENIA            OH      45385‐4864
JOSEPHINE M SMITH TR THE JOSEPHINE M SMITH TRUST 32411 GLEN COVE                                                                                  FARMINGTON HILLS MI      48334‐3665
UA 10/25/82
JOSEPHINE M SPAIR                                45‐029 WAIKALUALOKO LOOP                APT B                                                    KANEOHE            HI    96744‐2784
JOSEPHINE M STEVI & FLORENCE ZURICA JT TEN       349 CHESTERTON AVE                                                                               STATEN ISLAND      NY    10306‐4403
JOSEPHINE M TROFE                                51 GLENWOOD LANE                                                                                 LEVITTOWN          PA    19055‐1905
JOSEPHINE M VENTIMIGLIA                          37111 MORAVIAN DR                                                                                CLINTON TWN SHIP   MI    48036‐3600

JOSEPHINE MAFFEO                                 6529 ROBINDALE                                                                                   DEARBORN HGTS      MI    48127‐2165
JOSEPHINE MALTA                                  8 CURTISDALE LN                                                                                  HAMLIN             NY    14464‐9355
JOSEPHINE MIKESELL                               2011 N JAY STREET                                                                                KOKOMO             IN    46901‐2462
JOSEPHINE MIKULEC                                34 GETTYSBURG AVENUE                                                                             BUFFALO            NY    14223‐1607
JOSEPHINE MITCHELL                               3602 BYRD                                                                                        STERLING HTS       MI    48310‐6109
JOSEPHINE MOORE                                  1435 HAZEL FORK ROAD                                                                             GRAY               KY    40734‐6535
JOSEPHINE MUSSATO                                58 WASHINGTON AVE                                                                                NO WHITE PLAINS    NY    10603‐2712
JOSEPHINE N BALLARD & CRYSTAL D BALLARD JT TEN   5010 W HILLCREST AVE                                                                             DAYTON             OH    45406

JOSEPHINE NASTRO                                 7526 NARROWS AVENUE                                                                              BROOKLYN           NY    11209‐2804
JOSEPHINE NOWAK                                  428 BATHCLUB BLVD N                                                                              NO REDINGTON       FL    33708‐1530
                                                                                                                                                  BEACH
JOSEPHINE O MC NAIR                              28964 MC DONALD                                                                                  WESTLAND           MI    48186‐5113
JOSEPHINE O MINER                                2338 CONVENTRY CT                                                                                EMMANS             PA    18049
JOSEPHINE OCCHIPINTI & ANN MARIE UHER JT TEN     52 WEST 71ST ST                         APT 4A                                                   NEW YORK           NY    10023‐4244

JOSEPHINE P CURRIE & MARIANNE CURRIE HALL JT TEN PO BOX 1723                                                                                      LOCKPORT           NY    14095‐1723

JOSEPHINE P FORAN                                26 SO MAIN ST                                                                                    LAMBERTVILLE       NJ    08530‐1827
JOSEPHINE P KEEN & ARDEN H KEEN JT TEN           98 RAILROAD AVE                                                                                  PENNS GROVE        NJ    08069‐1631
JOSEPHINE P KIEL                                 3723 PORTMAN LN SE                                                                               GRAND RAPIDS       MI    49508‐8748
JOSEPHINE P MARTA                                4046 S MEADOW LN                                                                                 MT MORRIS          MI    48458‐9310
JOSEPHINE P MCCLOUD                              364 SANDEFUR RD                                                                                  KATHLEEN           GA    31047‐2019
JOSEPHINE PADUANO                                PO BOX 23                                                                                        FANCHER            NY    14452‐0023
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 390 of 855
Name                                            Address1                               Address2             Address3          Address4          City               State Zip

JOSEPHINE PAULINE MARTA                         4046 S MEADOW LN #364                                                                           MOUNT MORRIS       MI    48458‐9310
JOSEPHINE PAULOVICH TOD JANE RAVENDA            240 WEDGEWOOD DR                                                                                PARAMUS            NJ    07652
JOSEPHINE PAULOVICH TOD ROBERT PAULOVICH        240 WEDGEWOOD DR                                                                                PARAMUS            NJ    07652
JOSEPHINE PLESCE                                1125 CHESTNUT ST                                                                                FREELAND           PA    18224
JOSEPHINE POCH                                  1612 PENNSYLVANIA                                                                               ST CLOUD           FL    34769‐4452
JOSEPHINE POIVELL                               790 HASLETT RD                                                                                  WILLIAMSTON        MI    48895‐9314
JOSEPHINE R BOUCHARD                            530 STIMMEL DRIVE                                                                               SAN ANTONIO        TX    78227‐3151
JOSEPHINE R CILEA                               12 WAUWINET CT                                                                                  REHOBOTH BEACH     DE    19971‐7703

JOSEPHINE R COPP                                581 DUCK RUN RD                                                                                 LUCASVILLE         OH    45648‐8805
JOSEPHINE R GALGANO & JAMES F GALGANO JT TEN    53 GORY BROOK RD                                                                                NORTH              NY    10591‐1701
                                                                                                                                                TARRYTOWN
JOSEPHINE R MCFALL                              6190 TEAGARDEN CIRCLE                                                                           DAYTON             OH    45449‐3014
JOSEPHINE R PIRACCI                             36 ARTHUR AVE                          APT 107                                                  BUFFALO            NY    14219‐1741
JOSEPHINE R PLESCE & THOMAS DELESE SR JT TEN    1009 CHESTNUT ST                                                                                FREELAND           PA    18224‐1311
JOSEPHINE RECKSEIT                              14 SENECA LAKE TERRACE                                                                          SPARTA             NJ    07871‐2838
JOSEPHINE RICHLE                                1125 VILLANOVA AVENUE                                                                           SWARTHMORE         PA    19081‐2141
JOSEPHINE ROBINSON                              53‐48 64TH STREET                                                                               MASPETH            NY    11378‐1636
JOSEPHINE ROSE KISSANE                          8475 SMITH RD                                                                                   PERRINTON          MI    48871‐9721
JOSEPHINE RUGGIERO                              23 WAGON LANE EAST                                                                              CENTERREACH        NY    11720‐2533
JOSEPHINE RUSS                                  2707 SPIELMAN HEIGHTS DR                                                                        ADRIAN             MI    49221‐9276
JOSEPHINE RYS                                   2201 18TH ST                                                                                    BAY CITY           MI    48708‐7520
JOSEPHINE S DICKMAN TOD JOHN EDWARD DICKMAN     4519 E 82ND ST                         APT 22                                                   INDIANAPOLIS       IN    46250‐4214

JOSEPHINE S GARDNER                             1725 S MADISON AVE                                                                              ANDERSON           IN    46016‐4042
JOSEPHINE S HAMMOND                             7200 OAK ST 1 S W                                                                               RIVER FOREST       IL    60305‐1917
JOSEPHINE S HINES                               PO BOX 338                                                                                      CORDALE            GA    31010‐0338
JOSEPHINE S OVERHARDT & ANTONINA KORODAN JT     MACOMB MANOR                           APT 154              19652 JEROME                        ROSEVILLE          MI    48066‐1241
TEN
JOSEPHINE S RUBRIGHT                            101 DIERDRE DRIVE                                                                               ROCHESTER          NY    14617‐5225
JOSEPHINE S TRESNOWSKY                          7 E BYERS AVE                                                                                   NEW CASTLE         PA    16102‐1715
JOSEPHINE S ZEGAROWICZ                          8 OLD POST RD                                                                                   RYE                NY    10580‐1560
JOSEPHINE SADDINGTON                            59261 MOUNTAIN ASH CT                                                                           WASHINGTON         MI    48094‐3749
JOSEPHINE SADDINGTON & THOMAS E SADDINGTON JT   59261 MOUNTAIN ASH CT                                                                           WASHINGTON         MI    48094‐3749
TEN
JOSEPHINE SAIZ                                  46 OAK GROVE RD                                                                                 CALDWELL         NJ      07006‐6016
JOSEPHINE SCHNEIDER                             7950 CAUSEWAY BLVD N                                                                            SAINT PETERSBURG FL      33707‐1008

JOSEPHINE SHORES HOPKINS                        PO BOX 338                                                                                      CORDELE            GA    31010‐0338
JOSEPHINE SIEBEL SMITH                          165‐15 UNION TURNPIKE                                                                           FLUSHING           NY    11366‐1238
JOSEPHINE SIMUNEK TOD CINDY SIMUNEK BRUSCHI     2200 N E 174 STREET                                                                             N MIAMI BEACH      FL    33160‐2929
SUBJECT TO STA TOD RULES
JOSEPHINE SINDEN                                3620 YUCCA DRIVE                                                                                LAKE HAVASU CITY   AZ    86404‐2223

JOSEPHINE SNELL                                 9497 RECREATION DR                                                                              UNION LAKE       MI      48386‐3040
JOSEPHINE SZYDLOWSKI                            32 PARKWAY DRIVE                                                                                CLARK            NJ      07066‐1935
JOSEPHINE T DORAK & RONALD E DORAK JT TEN       3123 HISS AVE                                                                                   PARKVILLE        MD      21234‐4722
JOSEPHINE T ERWIN                               361 SIMPSON CREEK RD                                                                            MATTAPONI        VA      23110‐2112
JOSEPHINE T SERENITA                            45 LYNE LANE                                                                                    ISLIP            NY      11751‐1310
JOSEPHINE T SHEEHAN                             3199 SIOUX CONIFER RD                                                                           WATERTOWN        SD      57201‐7569
JOSEPHINE T TOWIANSKI                           905 CANAL STREET                                                                                MILFORD          MI      48381‐2032
JOSEPHINE T ZUBOSKI                             2207 GULLEY                                                                                     DEARBORN HEIGHTS MI      48127‐3087

JOSEPHINE TATUM                                 4118 SIOUX WAY                                                                                  STONE MTN          GA    30083‐5234
JOSEPHINE TIGHE TRUST U‐A‐D                     03‐16‐89 JOSEPHINE TIGHE               3852 CATALPA DR                                          BERKLEY            MI    48072
JOSEPHINE U RICETTI                             6340 COMMON CIR APT 304                                                                         WEST PALM BCH      FL    33417
JOSEPHINE V O'MALLEY                            11026 S LAWNDALE AVE                                                                            CHICAGO            IL    60655‐3315
JOSEPHINE W BASS                                5603 DAVIS MILL RD                                                                              GREENSBORO         NC    27406‐9130
JOSEPHINE W EVANS                               420 PARKVIEW DRIVE                                                                              PITTSBURG          PA    15243‐1910
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 391 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JOSEPHINE W REYES                                  ATTN JOSEPHINE W KIRKSEY            213 WESTFORK                                             FORT WORTH        TX    76114‐4332
JOSEPHINE WELCH                                    8130 LAKESHORE RD                                                                            MILAKEPORT        MI    48059‐1321
JOSEPHINE WHITNEY NIXON                            9467 KINGCREST PARKWAY                                                                       BATON ROUGE       LA    70810‐4124
JOSEPHINE WILEY                                    347 MANNING ST                                                                               EUDORA            AR    71640‐2363
JOSEPHINE WILSON & ROSALIE M OLSON JT TEN          3 LILAC AVE                         APT 423                                                  FOX LAKE          IL    60020‐1888
JOSEPHINE WOJCIECHOWSKI                            18 CATHEDRAL LANE                                                                            CHEEKTOWAGA       NY    14225‐4610
JOSEPHINE WURTZ                                    19507 NE 16TH CIRCLE                                                                         CAMAS             WA    98607‐9265
JOSEPHINE Y GONZALES                               1750 E KAREN AVE APT 348                                                                     LAS VEGAS         NV    89169
JOSEPHINE Y LAYTON                                 15745 MENNELL RD                                                                             GRAFTON           OH    44044
JOSEPHINE YADLOWSKY                                2711 WOODMONT TRAIL                                                                          FORT WORTH        TX    76133‐4360
JOSEPHINE YOUNG                                    3118 FIELDING ST                                                                             FLINT             MI    48503‐3046
JOSEPHINE YOUNG & JAMES C GRIGSBY JT TEN           16248 SUNSET WAY                                                                             LINDEN            MI    48451‐9639
JOSEPHINE Z MODICA                                 4390 GRANT STREET                                                                            DELAND            FL    32724‐8200
JOSEPHP SOPCZNESKI                                 PO BOX 158                                                                                   TERRYVILLE        CT    06786‐0158
JOSEPHUS A VERWILLEGEN                             502 ROUNDTREE DR NE                                                                          ADA               MI    49301‐9707
JOSEPHUS L MORRIS                                  9155 N DELAWARE                                                                              INDIANAPOLIS      IN    46240‐1037
JOSET L NOBLE & CHRISTOPHER D NOBLE JT TEN         107 BEACHWAY DR                                                                              FOX RIVER GROVE   IL    60021‐1420
JOSET NOBLE                                        107 BEACHWAY DR                                                                              FOX RIVER GROVE   IL    60021‐1420
JOSETTE A DUHON                                    906 N FOOTE AVE                                                                              KAPLAN            LA    70548‐2120
JOSETTE H HOSKING TR UA 08/05/2010 THE JOSETTE H 4367 DEERWOOD DR                                                                               TRAVERSE CITY     MI    49686
HOSKING TRUST
JOSETTE LAFLEUR                                    9797 CLYDE PARK AVE SW                                                                       BYRON CENTER      MI    49315‐9204
JOSETTE MARIE CURRY                                C/O J BROUWER                       3790 56TH AVE                                            HUDSONVILLE       MI    49426‐9410
JOSETTE MARIE THOMPSON TABARI                      125 COVENTRY CT                                                                              SAN CARLOS        CA    94070‐1515
JOSETTE VELTRI                                     16188 SIERRA PALMS DR                                                                        DELRAY BEACH      FL    33484‐6407
JOSH ADAMS                                         519 GINGERBREAD LANE                                                                         WAXAHACHIE        TX    75165‐1605
JOSH BLUTH CUST MICHAEL BARRY BLUTH U/THE NEW 15072 ASHLAND PL APT D106                                                                         DELRAY BEACH      FL    33484‐4138
YORK U‐G‐M‐A
JOSH E FREEMAN                                     115 OHLLSSON                                                                                 MUSCLE SHOALS     AL    35661‐2011
JOSH EHRLE                                         1133 COLINA VISTA LN                                                                         CROWLEY           TX    76036‐9156
JOSH H GOODWIN                                     35985 TOZIER STREET                                                                          NEWARK            CA    94560‐1666
JOSH KUNIN                                         2067 PELOMA ST                                                                               PASADENA          CA    91104‐4822
JOSH L ROBERTS JR                                  5146 PORTLAND ST                                                                             COLUMBUS          OH    43220‐2541
JOSH MCGRADY                                       3912 W 25TH ST                                                                               ANDERSON          IN    46011‐4549
JOSH W CALLENDER                                   PO BOX 322                                                                                   CLINTONVILLE      PA    16372‐0322
JOSHLYN D BROWN                                    4064 GEORGE BUCHANAN DR                                                                      LA VERGNE         TN    37086‐3287
JOSHUA A COOK                                      14045 SE REDWOOD DR UNIT 1                                                                   MILWAUKIE         OR    97267‐1456
JOSHUA A HIRSCH                                    7 HYDE PARK CIR                                                                              BLUFFTON          SC    29910‐6145
JOSHUA A LEAH TOD ALIZA J LELAH SUBJECT TO STA TOD 4027 N TERRAMERE AVE                                                                         ARLINGTON HTS     IL    60004
RULES
JOSHUA A PAUL                                      29 ALLENS TRAIL                                                                              GROTON            MA    01450‐1495
JOSHUA A PINSON                                    3902 W AVENUE N3                                                                             PALMDALE          CA    93551‐1815
JOSHUA ANKER                                       2001 LEEDSTON DR                                                                             CLEVELAND         OH    44124‐4014
JOSHUA APPENZELLAR                                 75 NOTTINGHAM DR                                                                             CHAMBERSBURG      PA    17201
JOSHUA ARMSTED                                     1611 HARRISON WAY                                                                            SPRING HILL       TN    37174‐2670
JOSHUA BILLAUER                                    6480 NORMAN LANE                                                                             SAN DIEGO         CA    92120‐3946
JOSHUA BLACKBURN GARDNER                           3864 PORTER ST NW                   APT B362                                                 WASHINGTON        DC    20016‐2963
JOSHUA BOWLIN                                      3911 SW WARD RD                                                                              LEES SUMMIT       MO    64082‐3506
JOSHUA BRATTON                                     PO BOX 17514                                                                                 PHOENIX           AZ    85011‐0514
JOSHUA C LAURICELLO                                2217 CLEMENT RD                                                                              LUTZ              FL    33549‐7525
JOSHUA CIESEMIER                                   19825 HWY 157                                                                                KIRKSVILLE        MO    63501
JOSHUA COTE                                        111 MILTON ST                                                                                MILTON            MA    02186
JOSHUA D GETZ                                      505 BRECKINRIDGE SQ SE                                                                       LEESBURG          VA    20175‐8968
JOSHUA D NORDMAN                                   312 TOWER ROAD                                                                               BARRINGTON        IL    60010
JOSHUA D SPRENGER                                  5820 BRIARWOOD LN                                                                            PEORIA            IL    61614‐4231
JOSHUA DAVID LISSAUER                              2921 CHOWEN AVE S                                                                            MINNEAPOLIS       MN    55416‐4312
JOSHUA DRIVER                                      119 NORTH ST                                                                                 GRANBY            MA    01033‐9593
JOSHUA E BROWN                                     200 EXCHANGE ST                     UNIT 411                                                 PROVIDENCE        RI    02903‐2622
JOSHUA EDEL MUTCHNICK                              2050 BRADBURY CT                                                                             MOBILE            AL    36695‐3036
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 392 of 855
Name                                               Address1                             Address2              Address3         Address4          City            State Zip

JOSHUA F OBOLER                                    4700 32ND ST NW                                                                               WASH            DC    20008‐2224
JOSHUA FRIEDMAN                                    1923 E LOMBARD ST                                                                             BALTIMORE       MD    21231
JOSHUA G GETZLER                                   101 W 81ST ST APT 514                                                                         NEW YORK        NY    10024‐7228
JOSHUA G WHEELOCK                                  6205 MERCEDES BND                                                                             AUSTIN          TX    78759‐6118
JOSHUA GILLESPIE                                   C120 E HOLDEN HALL                                                                            E LANSING       MI    48825‐1206
JOSHUA GOTTLIEB                                    175 BEACON ST APT 210                                                                         SOMERVILLE      MA    02143‐3600
JOSHUA GREENBERG                                   1 WALL STREET                        APT 3D                                                   FORT LEE        NJ    07024‐7817
JOSHUA GROGIS                                      2595 PROSPERITY OAKS CRT                                                                      PALM BCH GDNS   FL    33410‐4424
JOSHUA H MESHEW                                    C/O LORETTA MESHEW EX                1128 WATERVLIET AVE                                      DAYTON          OH    45420‐2720
JOSHUA HUBBS ELLIOTT                               1630 OLD HIGHWAY 69 S                                                                         CAMDEN          TN    38320
JOSHUA J BALLINGER                                 20 RIVER TER                         APT 15A                                                  NEW YORK        NY    10282‐1212
JOSHUA L COOPER                                    3524 CAMPBELL AVENUE                                                                          HONOLULU        HI    96815‐4307
JOSHUA L THOMPSON                                  8281 PEMBROOK                                                                                 DETROIT         MI    48221‐1159
JOSHUA M BERUS                                     4455 SUDBURY DR                                                                               WARREN          MI    48092
JOSHUA M YARMUSH & THERESE H YARMUSH JT TEN        25 OLYMPIA LANE                                                                               MONSEY          NY    10952‐2829

JOSHUA MEIER CUST JUDY MEIER UTMA IN               7545 BROADLEAF LANE                                                                           FISHERS         IN    46038‐1854
JOSHUA MERRILL                                     36 CARTIER DRIVE                     THOROLD ON                             L2V 4K9 CANADA
JOSHUA MILLER                                      3059 LYDIA LANE                                                                               BELLMORE        NY    11710‐5321
JOSHUA MORGEN LITTLE                               2600 NW 37 STREET                                                                             BOCA RATON      FL    33434‐4404
JOSHUA N MOORE                                     4393 MAPLE DR                                                                                 NEWTON FALLS    OH    44444‐9732
JOSHUA NATHANIEL SILVERMAN                         2 WHEELOCK RD                                                                                 SCARSDALE       NY    10583‐6933
JOSHUA NORMANDIN                                   25 PROSPECT ST                                                                                SWANSEA         MA    02777
JOSHUA P BOWDEN                                    3 GOOD SHEPHERD TERRACE                                                                       ROSEMONT        PA    19010‐1301
JOSHUA P GWINN                                     PO BOX 23                                                                                     BLAIRSVILLE     PA    15717
JOSHUA P HOLEWINSKI                                1400 ROY SELLERS RD                                                                           COLUMBIA        TN    38401‐1301
JOSHUA QUANDT                                      1354 HIGHLAND VIEW                                                                            WEST BEND       WI    53095‐4524
JOSHUA R DAVIS                                     807 GARDENIA AVE                                                                              ROYAL OAKS      MI    48067‐4402
JOSHUA R FINK                                      PO BOX 47                                                                                     ALPINE          NJ    07620
JOSHUA R HUDSON                                    RR 2 2F                                                                                       OCEAN VIEW      DE    19970‐9802
JOSHUA REED PLAISTED                               7 LEDGEWATER DR                                                                               KENNEBUNK       ME    04043‐7748
JOSHUA ROZBRUCH                                    420 EAST 72ND ST                                                                              NEW YORK        NY    10021‐4650
JOSHUA RYAN ELLIS GDN OF MARIAN KAY ELLIS          7158 E CO RD 675 S                                                                            PLAINFIELD      IN    46168‐7531
JOSHUA S D CHUCK                                   782 10TH AVE                                                                                  SAN FRANCISCO   CA    94118‐3611
JOSHUA SAWTELLE                                    297 GRANNY KENT POND RD                                                                       SHAPLEIGH       ME    04076‐3223
JOSHUA SCHARF & ARLENE SCHARF JT TEN               9 BANFIELD ROAD                                                                               MIDDLETOWN      NJ    07748‐2542
JOSHUA SCODEL CUST SARAH A SCODEL UTMA IL          1005 E 60TH ST                                                                                CHICAGO         IL    60637‐2775
JOSHUA SIMON                                       7006 LONGWOOD DR                                                                              BETHESDA        MD    20817‐2118
JOSHUA SIMON & RUTH SIMON JT TEN                   1 HOFFMAN COURT                                                                               E BRUNSWICK     NJ    08816
JOSHUA TARZIERS                                    40 MACY ST                                                                                    DAYTON          OH    45415‐3601
JOSHUA W FRYER                                     13226 NE SACRAMENTO DR                                                                        PORTLAND        OR    97230‐3035
JOSHUA W PEMBERTON                                 1714 HIGH QUEST DR                                                                            COLUMBIA        MO    65202‐5603
JOSHUA WESLEY SAMPLE                               206 ROGERS ST NE                     STE 111                                                  ATLANTA         GA    30317‐1025
JOSIA M CLABON                                     269 CHARLES LN                                                                                PONTIAC         MI    48341‐2930
JOSIAH CURRY & LAWRENCENE J CURRY JT TEN           4101 GRANDVIEW DR                                                                             FLUSHING        MI    48433
JOSIAH F REED JR                                   3044 BOXWOOD DR                                                                               MONTGOMERY      AL    36111‐1102
JOSIAH T SCHAER & TIM SCHAER JT TEN                36 SAMARITAN AVE                     APT 2                                                    ASHLAND         OH    44805‐3915
JOSIAS TEUIRA & TAPI TEUIRA & HLNE TEUIRA JT TEN   P.K 33 700 COTE/MONTAGNE             98712 PAPARA          TAHITI           FRANCE

JOSIE B CLARK                                      3820 AZALEA DR                                                                                JACKSON         MS    39206‐5104
JOSIE B HUDDLESTON                                 111 PINE ST                                                                                   TRUSSVILLE      AL    35173‐1022
JOSIE D SMALLEY                                    PO BOX 263                                                                                    WASHINGTON      OH    43160‐0263
                                                                                                                                                 CRTHSE
JOSIE L FERRER                                     117 SANDPIPER DRIVE                                                                           PITTSBURG       CA    94565‐2080
JOSIE L LAWHORN                                    204 HARPER RD SE                                                                              ATLANTA         GA    30315‐7406
JOSIE M TINCH                                      107 ROBERTS LN                                                                                CRAWFORD        TN    38554‐3416
JOSIE MCCRAY                                       4195 ATWOOD LN                                                                                BRIDGEPORT      MI    48722
JOSIE N EAST                                       1807 RYAN ST                                                                                  LAKE CHARLES    LA    70601‐6051
JOSIE S MONROE                                     66 LADDINS ROCK RD                                                                            OLD GREENWICH   CT    06870‐1433
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 393 of 855
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

JOSIE TOLER BILBO                                612 GLENWOOD DR                                                                              PICAYUNE         MS    39466‐2426
JOSIF NASTOVSKI                                  46051 RHODES DR                                                                              MACOMB           MI    48044‐4080
JOSIP MILICH                                     7418 W 59TH ST                                                                               SUMMIT           IL    60501‐1418
JOSIP PELOZA & ROSE PELOZA JT TEN                8321 STEEPLECHASE DR                                                                         MENTOR           OH    44060‐7658
JOSLYN VICTOR PORTMANN                           107 EVERGREEN DR                                                                             HARKER HEIGHTS   TX    76548‐1625
JOSO CURKOVIC                                    11362 UPTON RD                                                                               GRAND LEDGE      MI    48837‐9194
JOSPEH HACKFORD                                  10145 CLARENCE CENTER RD                                                                     CLARENCE         NY    14031‐1030
JOSPEH M NORQUAY                                 1246 E 2ND ST                                                                                LOVELAND         CO    80537‐5806
JOSPEHINE CIARAVELLA                             125 ERIN LN                                                                                  EAST SETAUKET    NY    11733
JOSUE TIRADO                                     3144 SW ANN ARBOR RD                                                                         PORT ST LUCIE    FL    34953‐6917
JOUAQUIN ROJAS                                   122 N 9TH ST                        APT 1                                                    LEBANON          PA    17046‐4944
JOUENTINO MORENO                                 1443 BENNETT AV                                                                              FLINT            MI    48506‐3301
JOUNG SOOK JUNG                                  5985 CANADA WAY                     BURNABY BC                             V5E 3N9 CANADA
JOVAN ILIC                                       37654 MYRNA                                                                                  LIVONIA          MI    48154‐1419
JOVANNAH SEWARD                                  16524 EGO AVE                                                                                EASTPOINTE       MI    48021‐4523
JOVEN F SUMULONG & MA LUZVIMINDA I SUMULONG 362 COURTNEY ARCH                                                                                 VIRGINIA BEACH   VA    23452‐5702
JT TEN
JOVITA G ALVARADO                                184 N WILLIAMS LAKE RD                                                                       WATERFORD        MI    48327‐3673
JOVITA J RODRIGUEZ                               2076 DENBY DR                                                                                WATERFORD        MI    48329‐3802
JOVO P DIMIC                                     21316 PRESTWICK                                                                              HARPER WOODS     MI    48225‐2364
JOWELL B SCOTT                                   788 JUANITA DR                                                                               CONCORD          NC    28027
JOWELL B SINGLETARY                              788 JUANITA DR                                                                               CONCORD          NC    28027‐9400
JOY A COHEN TR JOY ANNE BASHLOW‐COHEN LIVING     5454 MARSH HAWK WAY                                                                          COLUMBIA         MD    21045‐2246
TRUST UA 10/15/98
JOY A COUCH                                      BOX 52                                                                                       PITSBURG         OH    45358‐0052
JOY A FINCH                                      2231 THISTLEWOOD                                                                             BURTON           MI    48509‐1241
JOY A JOSEPH                                     10855 OKEMOS ROAD                                                                            PORTLAND         MI    48875‐8802
JOY A PARKER                                     72 DUNLAP CIR                                                                                OXFORD           MI    48371‐5208
JOY A REAM                                       8631 ELMHURST ST                                                                             CANTON           MI    48187‐1955
JOY A RIMPAU                                     5998 EVERETT LANE                                                                            EAST LANSING     MI    48823‐7753
JOY A SMITH                                      1320 IMPERIAL DR                                                                             KOKOMO           IN    46902‐5617
JOY A STANIECKI                                  5008 TROPICAL RIDGE CT                                                                       LAS VEGAS        NV    89130‐7253
JOY A SWIGER                                     1122 WINTER CHERRY LN                                                                        VICKSBURG        MI    49097‐9486
JOY A THOMAS                                     2609 GARFIELD                                                                                BAY CITY         MI    48708‐8604
JOY ANN BARTH                                    2797 BANYAN TREE LANE                                                                        HEMET            CA    92545‐7767
JOY ANN BOWYER ALDRICH                           33822 SILVER LANTERN ST                                                                      DANA POINT       CA    92629‐2352
JOY ANN FLEMING                                  2011 LANCASTER AVE SW                                                                        DECATUR          AL    35603‐1056
JOY ANN MOORE                                    41 TREFUSIS ST                      PORT HOPE ON                           L1A 3P5 CANADA
JOY ANN RYON & SUZANNE K JOHNSON & KATHLEEN J 668 E LAKE 16 DR                                                                                ALLEGAN          MI    49010‐9720
NEWBY & BETH E KENNEDY &
JOY ATKINS                                       PO BOX 671                                                                                   LINDEN           CA    95236‐0671
JOY B KILBURN                                    3286 WAYNESVILLE ROAD                                                                        MORROW           OH    45152
JOY B MURAWSKI & DAVID P MURAWSKI TR JOY B       1007 SOUTH GRANDVIEW                                                                         LAKE FOREST      IL    60045‐4006
MURAWSKI TRUST UA 02/02/02
JOY BAILEY HILL                                  5471 DENT AVE                                                                                SAN JOSE         CA    95118‐3412
JOY BASS SASSER                                  104 BLALOCK ROAD                    PO BOX 715                                               LUCAMA           NC    27851‐0715
JOY BUTLER LHOTA CUST JOHN WILLIAM LHOTA UGMA R R 2 BOX 12                                                                                    CLEARFIELD       PA    16830‐9765
PA
JOY BUTLER LHOTA CUST RACHEL ELIZABETH LHOTA     R R 2 BOX 12                                                                                 CLEARFIELD       PA    16830‐9765
UGMA PA
JOY COLLINS                                      2219 HUNTER ST                                                                               FORT MYERS       FL    33901‐7228
JOY D ALBRECHT TOD GREGORY S ALBRECHT SUBJECT TO 11906 EGRET BLUFF                                                                            CLERMONT         FL    34711
STA TOD RULES
JOY D HUFFINES                                   1452 MIDDLE WAY                                                                              ARNOLD           MD    21012‐2429
JOY D SIMPSON                                    PO BOX 174                                                                                   COLD SPRING      NY    11724‐0174
                                                                                                                                              HARBOR
JOY D SPEARS                                    3517 MARSHALL RD                                                                              DAYTON           OH    45429
JOY DELATOUR REESE                              1681 W 116TH CT                                                                               DENVER           CO    80234‐2611
JOY E BAIER                                     3586 NORWICH LN                                                                               FRISCO           TX    75034‐2347
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 394 of 855
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

JOY E CONNORS                                     232 PINNACLE DR                                                                               LAKE ORION        MI    48360‐2480
JOY E DOOLEY                                      4007 S E 12TH                                                                                 DEL CITY          OK    73115‐2219
JOY E ROBINSON & RONALD A ROBINSON JT TEN         4610 STILLWELL                                                                                LANSING           MI    48911‐2837
JOY E SELLERS                                     PO BOX 990                           STATION F            TORONTO ON        M4Y 2N9 CANADA
JOY EATON                                         730 N 85 ST #103                                                                              SEATTLE           WA    98103‐3837
JOY EBENHOEH                                      PO BOX 316                                                                                    NEW LOTHROP       MI    48460‐0316
JOY ELIZABETH BROOKS                              1570 NW 133RD ST                                                                              MIAMI             FL    33167‐1641
JOY EUBANKS CUST BETH E EUBANKS U/THE OHIO        6700 LARCHMONT DR                    APT 206                                                  CLEVELAND         OH    44124
UNIFORM GIFTS TO MINORS ACT
JOY EUBANKS CUST JILL L EUBANKS U/THE OHIO        6700 LARCHMONT DR APT 206                                                                     CLEVELAND         OH    44124
UNIFORM GIFTS TO MINORS ACT
JOY F ALLISON                                     1305 MIDDLE BELLVILLE RD                                                                      MANSFIELD         OH    44904‐1907
JOY F ARNOLD                                      6648 COOL SPRINGS RD                                                                          THOMPSON          TN    37179‐9209
                                                                                                                                                STATION
JOY F IZZI                                   331 TERRY RD                                                                                       SMITHTOWN         NY    11787‐5510
JOY F MILES                                  PO BOX 86                                                                                          PAXINOS           PA    17860‐0086
JOY G CUTTER & JEFFREY S CUTTER JT TEN       32774MCCONNELL COURT                                                                               WARREN            MI    48092‐3111
JOY G EIB                                    7297 HARVEST LN                                                                                    MECHANICSVLLE     VA    23111‐3438
JOY G H KEEDY                                646 A ONONDAGA LANE                                                                                STRATFORD         CT    06614‐8321
JOY H GURRIE                                 20 OCEAN DRIVE                                                                                     IPSWICH           MA    01938‐1466
JOY H SHELTON                                22681 US HWY 331                                                                                   LAPINE            AL    36046‐7348
JOY HILL                                     1205 FORBES PL                                                                                     EL DORADO HILLS   CA    95762‐5302
JOY HUDSON DUARTE CUST LILIA PATRICIA DUARTE 4229 O'KEEFE DRIVE                                                                                 EL PASO           TX    79902‐1317
UGMA TX
JOY HUDSON DUARTE CUST MAREAN DUARTE UGMA TX 4229 OKEEFE DR                                                                                     EL PASO           TX    79902‐1317

JOY J SLATTERY                                    389 REED ST                                                                                   SHARON            PA    16146‐2396
JOY JACKOWSKI                                     520 E WHIPP RD                                                                                DAYTON            OH    45459‐2156
JOY JENKINS BAYNES                                8422 FORGE ROAD                                                                               RICHMOND          VA    23228‐3142
JOY JONES                                         10406 LAUREL HILL CV                                                                          AUSTIN            TX    78730‐1416
JOY K GALENTINE                                   2601 OLD TOLL RD                                                                              JACKSON           MO    63755‐3007
JOY K JOHNSEN                                     11872 HAGGERTY RD                                                                             PLYMOUTH          MI    48170‐4459
JOY K MEYERS                                      908 CORNELL RD                                                                                KOKOMO            IN    46901‐1572
JOY L AKANS                                       41021 RIGGS RD                                                                                BELLEVILLE        MI    48111‐6009
JOY L BEATON & RICHARD D BEATON JT TEN            5728 NORTH 40TH LANE                                                                          PHOENIX           AZ    85019
JOY L BOOTS & CAREL H BOOTS JT TEN                2717 HAINES RD                                                                                LAPEER            MI    48446‐8346
JOY L BRIDGES                                     7313 NORMANDY RD                                                                              FORT WORTH        TX    76112‐5341
JOY L BULLINGTON                                  26221 W CHICAGO                                                                               REDFORD           MI    48239‐2163
JOY L FALLARO                                     570 EAST DRIVE                                                                                BRUNSWICK         OH    44212‐2108
JOY L FOURMAN                                     C/O ELIZABETH FOURMAN                3503 LOVESIDE TE                                         LANSING           MI    48917‐4336
JOY L HART & JERRY S CRANE JT TEN                 2473 OAKRIDGE DR                                                                              FLINT             MI    48507‐6213
JOY L KLANG                                       3833 MADISON                                                                                  BROOKFIELD        IL    60513‐1561
JOY L KLANG & DICK‐ROY KLANG JT TEN               3833 MADISON AVE                                                                              BROOKFIELD        IL    60513‐1561
JOY L MANTHEY                                     1496 MC KAIL RD                                                                               LEONARD           MI    48367‐1426
JOY L ST JOHN                                     3108 S CHESTER ROAD RTE 2                                                                     CHARLOTTE         MI    48813‐9510
JOY L ST JOHN & RICHARD E ST JOHN JT TEN          3108 S CHESTER ROAD R 2                                                                       CHARLOTTE         MI    48813‐9510
JOY L WALKER                                      3018 GOLF CREST LN                                                                            WOODSTOCK         GA    30189‐8196
JOY LE VON SODER                                  12204 NOLAND RD                                                                               OVERLAND PARK     KS    66213‐5007
JOY LEE YAW                                       1357 YELLOWWOOD                                                                               COLUMBUS          OH    43229‐4414
JOY LEROY                                         APT 2104                             2100 S OCEAN LANE                                        FORT LAUDERDALE   FL    33316‐3827

JOY LOUISE EASTMAN                                119 NANTUCKET DRIVE                                                                           CHERRY HILL       NJ    08034‐3362
JOY LYNN BARTON & KIRK A BARTON JT TEN            3731 WINDING TRAL LANE                                                                        HOFFMAN EST       IL    60192
JOY LYNN BULLINGTON & LARRY G BULLINGTON JT TEN   26221 W CHICAGO                                                                               REDFORD           MI    48239‐2163

JOY M LEFFLER‐SHEPARDSON                          22016 EMILY LN                                                                                FRANKFORT         IL    60423‐7816
JOY M MARTIN                                      303 KRISTINA COURT                                                                            CENTERVILLE       OH    45458‐4127
JOY M RICHTER & ALLEN R RICHTER & ALEXANDRA L     1401 SE HANPDEN RD                                                                            BARTLESVILLE      OK    74006‐7309
COTTRELL JT TEN
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 395 of 855
Name                                             Address1                                Address2                 Address3      Address4          City               State Zip

JOY M RODEN                                      1618 MONTEREY LN                                                                                 JANESVILLE         WI    53546‐5756
JOY M WILSON                                     4536 VARNEY AVE                                                                                  DAYTON             OH    45420‐3137
JOY MALACHOSKY                                   216 MCCOMBS RD                                                                                   VENETIA            PA    15367
JOY MARSHALL CUST MARTIN GREENWOOD UTMA NJ       43 SPRING ST                            #2                                                       MILLBURN           NJ    07041‐1111

JOY NORMAN REFO                                  3274 KEY ST NE                                                                                   MARIETTA           GA    30066‐3932
JOY O'BRIEN & KEVIN O'BRIEN JT TEN               3246 ROCKY AVE                                                                                   SPRING HILL        FL    34609‐3171
JOY P MC FADIN                                   2825 AVENHAM SW AV                                                                               ROANOKE            VA    24014‐1528
JOY P TAYLOR                                     807 ELLYNN DR                                                                                    CARY               NC    27511‐4618
JOY PETERSON                                     3310 SCENIC GLEN DR                                                                              MANSFIELD          TX    76063
JOY R PHILLIPS                                   36 MISTY MORN LANE                                                                               TRENTON            NJ    08638‐1824
JOY R POWIS TR UA 12/19/96                       1111 WILLOW STREET                                                                               GRAND LEDGE        MI    48837‐2132
JOY RENEE LUKE                                   2071 THRIFT RD                                                                                   BURKBURNETT        TX    76354‐5328
JOY RUTH BUTLER                                  2913 SHORELINE DR                                                                                BURLESON           TX    76028‐8305
JOY S DINGEE & DAVID A DINGEE TR DINGEE FAMILY   3008 MOULTRIE WAY                                                                                THE VILLAGES       FL    32159‐7550
TRUST UA 9/05/97
JOY S GILBANK                                    PO BOX 270                                                                                       FARMINGTON       ME      04938‐0270
JOY S HUDSON                                     582 SEABROOK COVE ROAD                                                                           JACKSONVILLE     FL      32211‐7184
JOY S MANOLIS                                    5593 CLINTON ST                                                                                  ERIE             PA      16509‐2540
JOY ST LEDGER                                    22 BLOOMFIELD ST                                                                                 SKOWHEGAN        ME      04976‐1108
JOY T MARSH IND EX UW RUBY G TUCKER              418 HILLVIEW DR                                                                                  MARBLE FALLS     TX      78654
JOY TALLEY                                       305 MONCRIEF AVE                                                                                 GOODLETTSVILLE   TN      37072‐1531
JOY V DAVIS                                      76 INTERVALE                                                                                     ROCKVILLE CENTER NY      11570‐4516

JOY W ARNOLD                                     1100 HENSON AVE                                                                                  T OR C             NM    87901
JOY W SVEC                                       5804 KNOWLES DRIVE                                                                               ROANOKE            VA    24018‐4740
JOY W SVEC & WILLIAM J SVEC JT TEN               5804 KNOWLES DR                                                                                  ROANOKE            VA    24018‐4740
JOY WIMBERLEY ORTON                              7800 SOUTHWEST PKWY #212                                                                         AUSTIN             TX    78735
JOY X TAYLOR                                     923 COLWYN RD                                                                                    RYDAL              PA    19046‐3404
JOYA L SHEPARD                                   1592 DOCILE DR                                                                                   ROCHESTER          MI    48306‐0550
JOYCE A ALBERTS TR ALBERTS FAMILY TRUST UA       2250 W GOLF RD                          APT 222                                                  HOFFMAN EST        IL    60169‐1112
04/11/94
JOYCE A ARMSTRONG                                5583 GULL PRAIRIE WAY                                                                            KALAMAZOO          MI    49048‐3010
JOYCE A AWAD                                     39856 PINEBROOK                                                                                  STERLING HEIGHTS   MI    48310‐2435

JOYCE A BAILEY                                   2220 HIGH ST                            APT 603                                                  CUYAHOGA FLS       OH    44221‐2855
JOYCE A BARR & DANIEL R BARR JT TEN              3645 KINGSWOOD CT                                                                                CLERMONT           FL    34711‐6905
JOYCE A BEEBE                                    433 VANLAWN                                                                                      WESTLAND           MI    48186‐4517
JOYCE A BENHAM                                   3735 HEATHERFIELD                                                                                WASHINGTON         MI    48094‐1120
JOYCE A BENNETT                                  FRIESBURG RD BOX 165                                                                             ALLOWAY            NJ    08001‐0165
JOYCE A BERZINS                                  709 KRIS CT                                                                                      LOS ALAMOS         NM    87544‐3530
JOYCE A BLUNT                                    PO BOX 20159                                                                                     INDIANAPOLIS       IN    46220‐0159
JOYCE A BOEBERITZ                                42380 DHARTE CT                                                                                  CLINTON TWP        MI    48038‐6433
JOYCE A BORELLI                                  47‐15 167TH ST                                                                                   FLUSHING           NY    11358‐3713
JOYCE A BRADSHAW                                 1341 BYAL AVE                                                                                    FINDLAY            OH    45840‐1515
JOYCE A BROOKS                                   6951 S HOHOKAM PL                                                                                GOLD CANYON        AZ    85219‐3327
JOYCE A BROWN                                    11058 SPENCER DRIVE                                                                              BRIGHTON           MI    48836‐8519
JOYCE A BROWN                                    315 E PHILADELPHIA AVE                                                                           YOUNGSTOWN         OH    44507‐1717
JOYCE A BROWN                                    5146 LINDEN RD                                                                                   SWARTZ CREEK       MI    48473‐8272
JOYCE A BRYANT                                   C/O JOYCE A MCCOY                       4046 TWIN LAKES CIRCLE                                   CLAYTON            OH    45315‐8758
JOYCE A CADEZ                                    19609 HARMAN                                                                                     MELVINDALE         MI    48122‐1690
JOYCE A CALLEN                                   3 WHITTLEBURY DR                                                                                 ROCHESTER          NY    14612‐6102
JOYCE A CAMERON                                  26261 N 43RD PL                                                                                  PHOENIX            AZ    85050‐8912
JOYCE A CARPENTER                                1416 SE 21ST ST                                                                                  CAPE CORAL         FL    33990‐4600
JOYCE A CATOR & WILLIAM F CATOR JT TEN           180 FORGE ROAD                                                                                   RIVERSIDE          NJ    08075
JOYCE A CAYSON & KAREN LYNN GUMINSKI JT TEN      7700 NORTH DEWITT                                                                                ST JOHNS           MI    48879‐9423
JOYCE A CHAMBERS                                 1407 SMITHSONIAN AVE                                                                             YOUNGSTOWN         OH    44505‐1288
JOYCE A CLARK                                    7025 NW 131ST TER                                                                                OKLAHOMA CITY      OK    73142‐6049
JOYCE A CLOUD                                    3006 BRANDED CT W                                                                                KOKOMO             IN    46901‐7005
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 396 of 855
Name                                                Address1                              Address2             Address3          Address4          City             State Zip

JOYCE A COOK                                        620 HOLLY LANE                                                                                 KOKOMO           IN    46902‐3331
JOYCE A CRAVENER                                    161 MCKINSTRY HILL RD                                                                          APOLLO           PA    15613‐8037
JOYCE A DARROW                                      411 THORN RIDGE TRL                                                                            ORTONVILLE       MI    48462‐9127
JOYCE A DAUGHERTY                                   111 EGGERS STREET                                                                              CAMPBELLSVILLE   KY    42718‐1009
JOYCE A DEMAND                                      3865 PINE ST                                                                                   GLENNIE          MI    48737
JOYCE A DENEBRINK                                   810 GONZALEZ DR 5D                                                                             SAN FRANCISCO    CA    94132‐2223
JOYCE A DICKEY                                      9284 GOURMET LANE                                                                              LOVELAND         OH    45140‐9349
JOYCE A DULL TR JOYCE A DULL TRUST UA 09/25/98      3007C CEDAR CREST DRIVE                                                                        INDEPENDENCE     MO    64057‐1953

JOYCE A ELMORE                                      708 E ALTO RD                                                                                  KOKOMO           IN    46902‐4390
JOYCE A EUBANK & LAREY S EUBANK JT TEN              10202 FALLING TREE WAY                                                                         LOUISVILLE       KY    40223‐3739
JOYCE A EVANS                                       4305 HARVARD DR SE                                                                             WARREN           OH    44484‐4809
JOYCE A FERGUSON                                    109 W LOWRY                                                                                    W CARROLLTON     OH    45449‐1751
JOYCE A FLINN                                       2711 LONGVIEW                                                                                  SAGINAW          MI    48601‐7068
JOYCE A FRIAS                                       9402 W SHADY GROVE CT                                                                          WHITE LAKE       MI    48386‐2063
JOYCE A GARRETT                                     1018 SUGAR PINE DR                                                                             ANDERSON         IN    46012
JOYCE A GATES                                       1918 COLLINS SE                                                                                GRAND RAPIDS     MI    49507‐2524
JOYCE A GLASSER                                     1340 BROOKPARK DR                                                                              MANSFIELD        OH    44906‐3502
JOYCE A GLYNN                                       1715 DOUGLAS AVE                                                                               ELYRIA           OH    44035‐6925
JOYCE A GOLDMAN                                     3412 PEPPERTREE CT                                                                             ARLINGTON        TX    76014‐3139
JOYCE A GRAY                                        697 HIGHLAND HILLS DR                                                                          HOWARD           OH    43028‐9436
JOYCE A GUEBERT                                     8800 DYER DRIVE                                                                                WORDEN           IL    62097‐1908
JOYCE A HALE                                        5317 PASS CT                                                                                   SUGAR HILL       GA    30518‐7700
JOYCE A HALLOND                                     9115 E WALDEN DR                                                                               BELLEVILLE       MI    48111‐3365
JOYCE A HARRIS                                      6034 N LAKESHORE DRIVE                                                                         MACY             IN    46951‐8544
JOYCE A HARTENSTINE                                 232 HOMESTEAD VILLAGE                                                                          WARWICK          NY    10990‐4220
JOYCE A HARTSELL                                    6753 KITSON DR N E                                                                             ROCKFORD         MI    49341‐9423
JOYCE A HEAD                                        C/O JOYCE A LEE                       16832 N 150 E                                            SUMMITVILLE      IN    46070‐9117
JOYCE A HOLLANSHED                                  220 BRADNER ROAD                                                                               NORTHWOOD        OH    43619‐2006
JOYCE A HOUSER                                      1295 MUEHLEISEN RD                                                                             MONROE           MI    48162‐9710
JOYCE A HUDNELL                                     2785 DEFOREST RD SE                                                                            WARREN           OH    44484‐4012
JOYCE A HULM                                        498 MAIN ST                                                                                    AMESBURY         MA    01913‐4211
JOYCE A HULSMAN CUST JASON A HULSMAN UTMA IN        5173 E STATE RD 164                                                                            JASPER           IN    47546‐9342

JOYCE A JACOBS & RICHARD J JACOBS JT TEN            16445 W MONTEVERDE LANE                                                                        SURPRISE         AZ    85374
JOYCE A JAMES CUST BRIAN S JAMES UTMA OH            4927 OAKLAWN DR                                                                                CINCINNATI       OH    45227‐1409
JOYCE A JAVENS TR JOYCE A JAVENS REVOCABLE LIVING   3200 ESSEX                                                                                     TROY             MI    48084‐2704
TRUST UA 12/12/01
JOYCE A JETER                                       6004 CEDAR GLEN CT                                                                             GRAND PRAIRIE    TX    75052‐0410
JOYCE A KARHOFF TR JOYCE KARHOFF REVOCABLE          7451 COUNTRY MEADOW DR                                                                         SWARTZ CREEK     MI    48473‐1485
LIVING TRUST UA 9/09/05
JOYCE A KAUFMAN                                     5119 CAPAC ROAD                                                                                CAPAC            MI    48014‐1900
JOYCE A KEEVER                                      6898 THORNWOOD ST NW                                                                           CANTON           OH    44718‐3799
JOYCE A KELLEY                                      5725 SOUTH STONY LAKE ROAD                                                                     JACKSON          MI    49201‐9210
JOYCE A KING & DONNA A KING‐MIMMS JT TEN            155 E 51 ST APT 12B                                                                            BROOKLYN         NY    11203‐2314
JOYCE A KRAATZ TR UA 01/15/93 JOYCE A KRAATZ        19300‐24 MILE RD                                                                               MACOMB           MI    48042
REVOCABLE LIVING TRUST
JOYCE A KRUCKOWSKI                                  4475 SO REIMER RD                                                                              BRIDGEPORT       MI    48722‐9746
JOYCE A LANDON & JUDY K HIRZEL JT TEN               2523 W WEBSTER RD                                                                              ROYAL OAK        MI    48073‐3740
JOYCE A LEE                                         200 BROOLHILL DR                                                                               GAHANNA          OH    43230‐1760
JOYCE A LEGG                                        244 RIVER DALE AVE                                                                             BACAVILLE        CA    95687‐6421
JOYCE A LITTLE                                      1 CAREFREE LN                                                                                  HILTON           NY    14468‐9326
JOYCE A LITTLEFIELD                                 3249 WOODS RD                                                                                  LESLIE           MI    49251‐9516
JOYCE A LOOK                                        2320 THORNWOOD DR                                                                              HOLT             MI    48842‐9705
JOYCE A LOPOSSA                                     330 VALLEY RD                                                                                  GRAND RIVERS     KY    42045‐9295
JOYCE A MAC DONALD                                  40085 WOODSIDE DR S                                                                            NORTHVILLE       MI    48167‐3422
JOYCE A MALMGREN                                    30132 UNDERWOOD                                                                                WARREN           MI    48092‐4857
JOYCE A MANCOUR                                     1773 EDINBORO WAY                                                                              FRANKLIN         TN    37064‐5394
JOYCE A MANTEY                                      64516 E N PARK DRIVE                                                                           CONSTANTINE      MI    49042‐9658
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 397 of 855
Name                                               Address1                             Address2                Address3       Address4          City               State Zip

JOYCE A MATSON                                     3142 HEBRON RD                                                                                SAINT MARYS        WV    26170
JOYCE A MATTHEWS                                   440 EAST RIDGE ST                                                                             MARQUETTE          MI    49855‐4215
JOYCE A MAY TR VIETTA J FIORPISELLI TESTAMENTARY   185 HIGH STREET NE                                                                            WARREN             OH    44481‐1219
TRUST
JOYCE A MC CLINTOCK                                200 BLYTHE AVE                                                                                LINDEN             MI    48451‐9648
JOYCE A MCCARTHY & GLEN G MCCARTHY JT TEN          70 MAPLE AVE                         PO BOX 15                                                MIDDLEBURGH        NY    12122‐0015
JOYCE A MIDDLETON                                  700 W ORCHARD LANE                                                                            GREENWOOD          IN    46142‐3030
JOYCE A MILLER DEWEY                               1100 BALDWIN ST                                                                               JENISON            MI    49428‐9758
JOYCE A MILLS                                      ATTN JOYCE A DUCOLON                 10953 50TH AVE                                           EVART              MI    49631‐8191
JOYCE A MOORE                                      1727 W 45TH ST                                                                                ERIE               PA    16509‐1183
JOYCE A MORGAN                                     452 W SR128                                                                                   ALEXANDRIA         IN    46001‐8394
JOYCE A MYERS                                      1754 N FAIRVIEW LANE                                                                          ROCHESTER          MI    48306‐4020
JOYCE A NICHOLSON                                  201 WARFIELD ROAD                                                                             NEWARK             DE    19713‐2719
JOYCE A NUNN                                       5335 CHERRY CREEK N PK                                                                        COLUMBUS           OH    43228‐5784
JOYCE A PASCHALL                                   29 BURNSIDE AVE                                                                               CRANFORD           NJ    07016‐2629
JOYCE A PERRY                                      6224 S WASHINGTON AVE                                                                         LANSING            MI    48911‐5543
JOYCE A PIATTI                                     13 CHATHAM CT                                                                                 BERLIN             MD    21811‐3348
JOYCE A POLI                                       3521 RUSSELL THOMAS LANE                                                                      DAVIDSONVILLE      MD    21035‐2522
JOYCE A POWERS CUST DALLAS P POWERS UGMA OH        ROUTE 48 8721 N ST                                                                            WAYNESVILLE        OH    45067

JOYCE A POWERS CUST TAMMYRA L POWERS UGMA OH ROUTE 48 8721 N ST                                                                                  WAYNESVILLE        OH    45067

JOYCE A QUICK                                      210 LIPPERSHEY COURT                                                                          CARY               NC    27513‐5665
JOYCE A RICCI                                      101FOREST HILLS DR                                                                            HURON              OH    44839‐2333
JOYCE A ROARK                                      231 CHAMBERLIN DR                                                                             HAMILTON           OH    45013‐2117
JOYCE A ROBERTS                                    1340 BLOSSOM ST R                                                                             GRAND RAPIDS       MI    49508
JOYCE A RYBAK & HEATHER BOWYER & LAURA RYBAK &     38772 S MCKENZIE POINT RD                                                                     DRUMMOND IS        MI    49726
KELLY UHRICH JT TEN
JOYCE A RYBAK & ROBERT C RYBAK & RONALD RYBAK &    38772 S MCKENZIE POINT RD                                                                     DRUMMOND IS        MI    49726
STACEY SMORCH JT TEN
JOYCE A SALAMY                                     10403 VALLEY SPRING LN                                                                        TOLUCA LAKE        CA    91602‐2805
JOYCE A SATCHELL                                   3498 BEAR CANYON CIRCLE                                                                       SEDALIA            CO    80135‐8404
JOYCE A SCHLAIRE                                   5119 CAPAC ROAD                                                                               CAPAC              MI    48014‐1900
JOYCE A SCOTT                                      ATTN JOYCE ECHTLER                   111 FOX RUN RD                                           MARS               PA    16066‐4033
JOYCE A SHELTON                                    1156 AUTUMN DRIVE                                                                             MORRESVILLE        IN    46158‐2025
JOYCE A SOLOMON                                    216 GINA LYNN DR                                                                              NEW CASTLE         IN    47362‐1878
JOYCE A STODDARD                                   ATTN DIANE CUNNINGHAM                2690 KAMELANI LOOP #B                                    MAKAWAO            HI    96768‐8743
JOYCE A SWARTZ & KATHERINE R SWARTZ JT TEN         43728 VINTAGE OAK DR                                                                          STERLING HEIGHTS   MI    48314‐2059

JOYCE A TEIKE                                      195 PROSPECT ST                                                                               SPENCERPORT        NY    14559‐1833
JOYCE A THURN SHIRLEY THURN & ROBERTA THURN JT     17264 VILLAGE DR                                                                              REDFORD            MI    48240‐1694
TEN
JOYCE A TOMECKO                                    3595 POST RD                         APT 2212                                                 WARWICK            RI    02886‐7002
JOYCE A TOWNE                                      1329 MARINA POINTE BLVD                                                                       LAKE ORION         MI    48362‐3904
JOYCE A TUCKERMAN                                  1514 CANTERBURY STREET                                                                        ADRIAN             MI    49221‐1856
JOYCE A WHITE                                      441 ADAMS ST                                                                                  JEFFERSON          OH    44047‐1001
JOYCE A WINSTON                                    2950 JACKTAR AVE                                                                              OXNARD             CA    93035
JOYCE A WOOD                                       1150 TOLLIS PKWY #125                                                                         BROADVIEW HGTS     OH    44147‐1864

JOYCE A WOODHEAD                                   7 ODIN CRES                          AURORA ON                              L4G 3T3 CANADA
JOYCE A WOODHEAD                                   7 ODIN CRESCENT                      AURORA ON                              L4G 3T3 CANADA
JOYCE A WORKMAN                                    4038 VIA ENCINAS                                                                              CYPRESS            CA    90630‐3432
JOYCE A WURR                                       6714 E DUTCH CREEK                                                                            HIGHLAND RANCH     CO    80126

JOYCE ADESSA & CAROLYN ADESSA & LOUIS J ADESSA &   29‐50 167 STREET                                                                              FLUSHING           NY    11358‐1511
JOAN ADESSA JT TEN
JOYCE ANDERSON                                     10328 LOQUAT DR                                                                               PORT RICHEY        FL    34668‐3127
JOYCE ANDRUS WAINWRIGHT                            2807 PAGE PL                                                                                  MONTGOMERY         AL    36116‐3142
JOYCE ANN ANDERSON                                 23 WHALLON AVE                                                                                MAYVILLE           NY    14757
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 398 of 855
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

JOYCE ANN BLACK                                3730 MARRISON PLACE                                                                           INDIANAPOLIS      IN    46205‐2540
JOYCE ANN HARKNESS                             C/O JOYCE ANN BROWN                  3069 HULL RD                                             LESLIE            MI    49251‐9556
JOYCE ANN HINES                                430 DEEDS AVENUE                                                                              DAYTON            OH    45404
JOYCE ANN KRINITSKY                            11 FAIRVIEW AVENUE                                                                            TERRYVILLE        CT    06786‐6331
JOYCE ANN KUSPA CUST KARL RAYMOND KUSPA UGMA   32217 KNAPP                                                                                   WARREN            MI    48093‐1094
MI
JOYCE ANN MARTEN                               102 BUENA VISTA DR                                                                            DEKALB            IL    60115‐1015
JOYCE ANN PEARSON & RICHARD E PEARSON JT TEN   5935 BRADFORD LANE                                                                            LANSING           MI    48917‐1206

JOYCE ANN PEDEN                                30832 CTY TD 61                                                                               MOFFAT            CO    81143
JOYCE ANN RUBIN                                25 WEST 13TH ST #2KS                                                                          NEW YORK          NY    10011‐7904
JOYCE ANN SEARS                                10627 CHELMSFORD RD                                                                           CINCINNATI        OH    45240
JOYCE ANN STOCKER                              1015 S 16TH ST                                                                                COSHOCTON         OH    43812‐2711
JOYCE ANN TOBIN                                58 HILLSIDE ST                                                                                MILTON            MA    02186‐5218
JOYCE ANN VERGA                                2552 NE TURNER AV                    APT 11                                                   ARCADIA           FL    34266‐5411
JOYCE ANN WARE                                 3041 E MOUNT MORRIS ROAD                                                                      MOUNT MORRIS      MI    48458‐8991
JOYCE ANNA COLE                                426 CYPRESS DR                                                                                OXFORD            MI    48371‐5093
JOYCE ANNE GEORGE                              31 STAR RTE RD                                                                                ELKTON            MD    21921‐3228
JOYCE ARMETTA                                  2109 BUELL DR                                                                                 FALLSTON          MD    21047‐2025
JOYCE ARMSTRONG                                10518 MILLS ACRE CIRCLE                                                                       RANCHO CORDOVA    CA    95843

JOYCE B AMES & PAUL H AMES JT TEN             100 PARK LANE CIRCLE                                                                           LOCKPORT          NY    14094‐4749
JOYCE B BALDWIN                               50 OAK ST                                                                                      HALLSBORO         NC    28442‐9082
JOYCE B BRAGDON CUST ASHLEY OSTHEIMER UTMA OH 74 HURON ST                           PO BOX 313                                               MILAN             OH    44846‐0313

JOYCE B BRAGDON CUST KAITLYN OSTHEIMER UGMA OH 74 HURON ST                          PO BOX 313                                               MILAN             OH    44846‐0313

JOYCE B DEBNAM                                 316 RUFF ROAD                                                                                 RAYVILLE          LA    71269‐6139
JOYCE B EVANS                                  47207 SEMINOLE ST                                                                             SOUTHFIELD        MI    48034‐3555
JOYCE B GARDELLA                               7207 CAULKING PLACE                                                                           BURKE             VA    22015‐4408
JOYCE B HUMPHREYS                              9400 CALESON RD                                                                               GLEN ALLEN        VA    23060‐3411
JOYCE B KEELER & DONALD J KEELER JT TEN        625 WILSON POND RD                                                                            NORTH             ME    04265‐6117
                                                                                                                                             MONMOUTH
JOYCE B KOONTZ                                 7886 SPIDEL ROAD                                                                              BRADFORD          OH    45308‐9517
JOYCE B LEWIS                                  83 ROBIN DR                                                                                   HAMILTON          NJ    08619‐1157
JOYCE B MCQUAID                                11536 QUAIL VILLAGE WAY                                                                       NAPLES            FL    34119‐8927
JOYCE B MEGNA                                  14870 SE 175TH ST                                                                             WEIRSDALE         FL    32195‐3016
JOYCE B RUSSAW                                 PO BOX 91262                                                                                  ATLANTA           GA    30364‐1262
JOYCE B TOWER                                  38 STONEBRIDGE ROAD                                                                           WAYLAND           MA    01778‐3023
JOYCE B WEBB                                   4280 TEMPLETON RD N W                                                                         WARREN            OH    44481‐9180
JOYCE BEATRICE RANDOW                          1501 CRITTENDEN RD                                                                            WILMINGTON        DE    19805‐1207
JOYCE BINGHAM                                  1635 ENTERPRISE RD                                                                            WEST ALEX         OH    45381‐9556
JOYCE BOHANAN                                  64 DAVE MOORE BLVD                                                                            NORTH EAST        MD    21901‐2021
JOYCE BOOKE CUST CAREN L BOOKE U/THE MICH      5004 BENEDICT CT                                                                              AGOURA HILLS      CA    91377‐4773
UNIFORM GIFTS TO MINORS ACT
JOYCE BREVKO                                   1832 OMAR ST                                                                                  WEST MIFFLIN      PA    15122‐3709
JOYCE BROCK WHITT                              PO BOX 8183                                                                                   GADSEN            AL    35902‐8183
JOYCE C AENIS                                  58 OAKHURST DR                                                                                ROCHESTER         NY    14617‐5424
JOYCE C ANDREWS & WANDA K OWENS JT TEN         211 OAK CIRCLE NORTH                                                                          STOCKBRIDGE       GA    30281‐3312
JOYCE C CASE                                   2900 S CHIPPEWA LANE                                                                          MUNCIE            IN    47302‐5584
JOYCE C COOPER                                 P O BOX 145                          14 SANDPIPER LN      TISBURY                             VINEYARD HVN      MA    02568‐0145
JOYCE C DALY                                   1101 S MUSCOVY DR                                                                             LOVELAND          OH    45140‐8164
JOYCE C FABEC                                  1601 CAMINO DE LA SIERRA NE                                                                   ALBUQUERQUE       NM    87112‐4937
JOYCE C FARROW                                 9283 CASTLE CT                                                                                OTISVILLE         MI    48463‐9408
JOYCE C FESSLER                                1000 SCOTT DRIVE                                                                              LIBERTY           MO    64068‐3432
JOYCE C FRANCO                                 22 GUENTHER AVE                                                                               TONAWANDA         NY    14150‐8108
JOYCE C FRIEND                                 3045 E 241ST ST                                                                               CICERO            IN    46034‐9482
JOYCE C GERADA & ARTHUR J GERADA JT TEN        1228 GREEN RIDGE RD                                                                           ROCHESTER HILLS   MI    48309‐2921
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 399 of 855
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

JOYCE C HABERMEHL TR JOYCE C HABERMEHL TRUST UA 32651 CLOVERDALE ST                                                                                FARMINGTON       MI    48336‐3901
1/7/99
JOYCE C LA FRENIER                              71 SENNA RD                                                                                        FITCHBURG        MA    01420‐2932
JOYCE C LEON TR JOYCE C LEON REVOCABLE TRUST UA 4329 TERRA GRANADA DR                     APT 2A                                                   WALNUT CREEK     CA    94595‐4027
04/18/94
JOYCE C LEONARD                                 799 BUCHANAN RIDGE RD                                                                              TAZEWELL         TN    37879
JOYCE C OLANDER                                 1345 ANNAPOLIS                                                                                     CORPUS CHRISTI   TX    78415‐4809
JOYCE C PALMER                                  28640 PARK COURT                                                                                   MADISON HEIGH    MI    48071‐3015
JOYCE C PERRY                                   3121 E ROUND LAKE RD                                                                               DEWITT           MI    48820‐9719
JOYCE C ROBINSON                                37 OXBOW RD                                                                                        WAYLAND          MA    01778‐1129
JOYCE C STEIL                                   ATTN PETER W STEIL                        PO BOX 103                                               MIDDLETOWN       DE    19709‐0103
JOYCE C WALLACE                                 821 ROSE POINT CIRCLE                                                                              VALDOSTA         GA    31605
JOYCE C WOLESHIN                                4428 TIDEVIEW DRIVE                                                                                JACKSONVILLE     FL    32250‐1800
                                                                                                                                                   BEACH
JOYCE CARDINALLO                                   1510 N BERNARD CIR                                                                              MESA             AZ    85207‐4324
JOYCE CARGILE                                      1148 HOLLYWOODAVE                                                                               CINCINNATI       OH    45224
JOYCE CARMONY & KIMBERLY J CARMONY & SHEREE K      1245 WENDELL                                                                                    YPSILANTI        MI    48198‐3145
PARTRIDGE JT TEN
JOYCE CAROL GREEN                                  15565 SE FAIROAKS AVE                                                                           MILWAUKIE        OR    97267‐3536
JOYCE CAROLYN THOMAS                               2330 CALEXICO WAY                                                                               SAINT PETERSBURG FL    33712‐4118

JOYCE CIRABISI                                     193 BERKSHIRE DR                                                                                RIDGE            NY    11961‐2024
JOYCE COSBY                                        432 MARTIN LUTHER KING JR BLVD         S                                                        PONTIAC          MI    48342‐3415
JOYCE COWLING & DON COWLING JT TEN                 4735 1ST AVE                                                                                    HIBBING          MN    55746‐3717
JOYCE COX                                          301 CENTRAL PARK BLVD N                OSHAWA ON                              L1G 5Z5 CANADA
JOYCE CREIDY                                       4617 6TH AVE                                                                                    BROOKLYN         NY    11220‐1316
JOYCE CULLEN                                       395 PEEKSKILL HOLLOW RD                                                                         PUTNAM VALLEY    NY    10579‐2701
JOYCE CURRY                                        87 MONTANA AVE                                                                                  BUFFALO          NY    14211‐1638
JOYCE D BERRY                                      7592 DIMMICK RD                                                                                 CINCINNATI       OH    45241
JOYCE D BIGGERS TR JOYCE D BIGGERS TRUST UA        1550 REBECCA DR                                                                                 DUNEDIN          FL    34698‐4864
10/16/02
JOYCE D BLOUIN                                     357 MONTELONA RD                                                                                GOFFSTOWN        NH    03045‐2815
JOYCE D CARPENTER & JEFFREY L MITZEL JT TEN        13476 COTTAGE VIEW CT 2                                                                         GOWEN            MI    49326‐9496
JOYCE D CASH                                       217 DOUGLAS DR                                                                                  BELLEVUE         NE    68005‐2454
JOYCE D GERST                                      46425 HARRIS RD                                                                                 BELLEVILLE       MI    48111‐8979
JOYCE D GRAMS                                      13937 SAMOA RD                                                                                  SAN LEANDRO      CA    94577‐5418
JOYCE D HANNIBAL                                   310 ROSELAWN BLVD                                                                               LAFAYETTE        LA    70503‐3910
JOYCE D HANNON                                     7673 SW COLLINS STREET                                                                          ARCADIA          FL    34269‐3400
JOYCE D JAMES                                      ATTN JOYCELEEN WILLIAMS                1735 CARSWELL                                            BALTIMORE        MD    21218‐4908
JOYCE D REYNOLDS                                   821 S HEMPSTEAD RD                                                                              WESTERVILLE      OH    43081‐3651
JOYCE D RICHARDS TR UA 11/08/88 JOYCE D RICHARDS   5225 S W 10 AVE                                                                                 CAPE CORAL       FL    33914‐7019
TRUST
JOYCE D ROBERTS                                    235 VOYAGER BLVD                                                                                DAYTON           OH    45427‐1140
JOYCE D SUMARA                                     BOX 95                                 WEST GUILFORD ON                       K0M 2S0 CANADA
JOYCE D TAYLOR                                     PO BOX 34187                                                                                    HOUSTON          TX    77234
JOYCE D WALDROP                                    2947 HAPPY VALLEY ROAD                                                                          SUN PRAIRIE      WI    53590‐9460
JOYCE D WHELCHEL                                   PO BOX 147                                                                                      NILES            OH    44446‐0147
JOYCE D WIREMAN                                    PO BOX 346                                                                                      WEST LIBERTY     KY    41472
JOYCE DANE TRUVILLION                              14000 WOODROW WILSON ST                # 311                                                    DETROIT          MI    48238‐2963
JOYCE DAVIS                                        9863 CEDAR ST                          APT 109                                                  BELLFLOWER       CA    90706‐6992
JOYCE DE WOLFF & LARRY DE WOLFF & KENNETH DE       52006 LAKE                                                                                      THREE RIVERS     MI    49093‐9659
WOLFF JT TEN
JOYCE DESPRES                                      4836 SOUTHLAND DR                                                                               JACKSONVILLE     FL    32207‐7335
JOYCE DUSTMAN                                      PO BOX 1761                                                                                     CARMEL           IN    46082‐1761
JOYCE DYRECTOR                                     6866 IRIS CIRCLE                                                                                LOS ANGELES      CA    90068‐2716
JOYCE E ALBERTSON                                  424 S MICHIGAN                                                                                  EDGERTON         OH    43517‐9719
JOYCE E ALLAN                                      9 KELOWNA CT                                                                                    TOMS RIVER       NJ    08757‐6124
JOYCE E BARR & ROBERT H BARR JT TEN                1909 ELSTON ST                                                                                  MICHIGAN CITY    IN    46360‐4439
JOYCE E BARTZ                                      11099 OLDEN RD                                                                                  PICKETT          WI    54964
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 400 of 855
Name                                               Address1                             Address2                Address3       Address4          City             State Zip

JOYCE E BLAKESLEE                                  108 COURTLAND ST                                                                              ROCKFORD         MI    49341‐1032
JOYCE E BRITT                                      3 ROSE AVE                                                                                    MILL VALLEY      CA    94941‐5031
JOYCE E BRYANT                                     3041 PERRIWINKLE CIR                                                                          DAVIE            FL    33328‐6702
JOYCE E BULTEMEIER                                 157 WATERSHIP DOWN LN                                                                         LAMPE            MO    65681‐8129
JOYCE E CARR & BRIAN E CARR & BETH E CARR JT TEN   38025 MAYWOOD BAY DR                                                                          LEESBURG         FL    34788‐8132

JOYCE E CARR & SHELLEY J LEE JT TEN              3393 LIPPINCOTT RD                                                                              LAPEER           MI    48446‐7810
JOYCE E CASARES                                  8159 OGDEN AVE                         APT 7                                                    LYONS            IL    60534‐1148
JOYCE E COTTER                                   3565 PORT COVE DR 71                                                                            WATERFORD        MI    48328
JOYCE E COULING                                  981 E DANSVILLE RD                                                                              DANSVILLE        MI    48819‐9797
JOYCE E CRAIN                                    2309 SOUTHWAY BLVD E                                                                            KOKOMO           IN    46902‐4568
JOYCE E CRETEAU                                  429 PATTON AVE                                                                                  PISCATAWAY       NJ    08854‐3631
JOYCE E DE FRAIN                                 19930 DENBY STREET                                                                              REDFORD          MI    48240‐1668
JOYCE E DEWULF TR JOYCE E DEWULF REVOCABLE       1891 PRESERVE BLVD                                                                              CANTON           MI    48188
TRUST UA 12/26/96
JOYCE E DRISCOLL                                 133 RIVERWOODS DR                                                                               NEW HOPE         PA    18938‐2226
JOYCE E DUNCAN                                   1028 CALKINS RD                                                                                 SWARTZ CREEK     MI    48473
JOYCE E DUTCHER                                  7465 HOLLISTER AVE                     SPACE #127                                               GOLETA           CA    93117‐2593
JOYCE E EMBREE                                   1831 BENJAMIN N E                                                                               GRAND RAPIDS     MI    49505‐5460
JOYCE E EMERICK TR JOYCE E EMERICK REV TRUST UA  600 EDGEHILL PL                                                                                 APOPKA           FL    32703‐8809
10/08/99
JOYCE E FELCH                                    22693 SPRUCE LAKE TRL                                                                           MICHIGAMME       MI    49861
JOYCE E FIERENS                                  7675 WOODVIEW RD                                                                                CLARKSTON        MI    48348‐4047
JOYCE E HANDLEY                                  7374 WEST ST                           PO BOX 155                                               WASHINGTON       MI    48094‐0155
JOYCE E HARDENBURG                               821 BROOKDALE AVE                                                                               MASON            MI    48854‐2026
JOYCE E HATHAWAY                                 123 CAMP AVE                           APT 1                                                    SYRACUSE         NY    13207‐2212
JOYCE E HILLERT                                  4364 HIGHFIELD                                                                                  WATERFORD        MI    48329‐3839
JOYCE E HOLT                                     4997 BATE STREET SW                                                                             NEWTON FALLS     OH    44444‐9414
JOYCE E JANSEN                                   9814 PRESCOTT                                                                                   SAN ANTONIO      TX    78245‐1513
JOYCE E JOHNSON                                  C/O JOYCE E FIERENS                    7675 WOODVIEW                                            CLARKSTON        MI    48348‐4047
JOYCE E JOHNSON                                  106 DUXBURY LN                                                                                  LONGMEADOW       MA    01106‐2008
JOYCE E JONES                                    6405 WEBBER COLE RD                                                                             KINSMAN          OH    44428‐9555
JOYCE E KILBANE                                  22265 SYCAMORE DR                                                                               FAIRVIEW PARK    OH    44126‐3106
JOYCE E KINNISON                                 6518 PINCH HIGHWAY                                                                              POTTERVILLE      MI    48876
JOYCE E KUEHN                                    8139 W ARROWHEAD RD                                                                             MEARS            MI    49436‐9413
JOYCE E LEEP                                     3250 FIELDSTONE DR                                                                              FLUSHING         MI    48433‐2217
JOYCE E MASENGALE                                1261 KELLOGG RD                                                                                 IONIA            MI    48846
JOYCE E MC CAIN                                  4238 HASTINGS DR                                                                                GRAND BLANC      MI    48439‐8087
JOYCE E MERCER                                   3491 SOUTH NINE ROAD                                                                            HARRIETTA        MI    49638‐9707
JOYCE E NARITA                                   4833 MAGGIES WAY CRT                                                                            CLARKSTON        MI    48346‐1975
JOYCE E NOAH                                     13060 HILLCREST LANE                                                                            LOWELL           MI    49331‐9795
JOYCE E PARRECO                                  12722 ELDRID PL                                                                                 SILVER SPRING    MD    20904‐3513
JOYCE E PENDLETON                                813 KNIGHT CIRCLE                                                                               MARION           IN    46952‐2466
JOYCE E PETERS                                   1372 FUNDY ST                          OSHAWA ON                              L1J 3N6 CANADA
JOYCE E PETERSON                                 2261 TIOGA BLVD                                                                                 SAINT PAUL       MN    55112‐7266
JOYCE E PETERSON CUST ERIC CHARLES PETERSON      2230 BRANDYWYNE DR                                                                              MEBANE           NC    27302‐8114
UGMA VA
JOYCE E PETERSON CUST KNUTE CHRISTIAN PETERSON 207 COVINGTON DR                                                                                  CHAPEL HILL      NC    27514‐6853
UGMA VA
JOYCE E PETERSON CUST MARIA‐BRITT JOYCE PETERSON 915 ORCHARD RD                                                                                  RICHMOND         VA    23226‐3051
UGMA VA
JOYCE E PETTUS                                   ATTN JOYCE E SCHMIDT                   6999 MEREDITH FARM DR                                    MECHANICSVILLE   VA    23111‐7014
JOYCE E PIERS                                    575 ARTISTS DR                                                                                  NASHVILLE        IN    47448‐8106
JOYCE E RALSTON                                  34 LAZY BEND DR                                                                                 HUNTSVILLE       TX    77320‐0254
JOYCE E REED                                     3928 CORAL PT                                                                                   COLORADO SPGS    CO    80917‐5858
JOYCE E RENTSCHLER                               25437 S QUEEN PALM DR                                                                           CHANDLER         AZ    85246‐7937
JOYCE E RUDNICK                                  8440 MOUNTAIN RD                                                                                GASPORT          NY    14067‐9324
JOYCE E SCHLEMMER                                1954 N COCHRAN RD                                                                               CHARLOTTE        MI    48813
JOYCE E SIEBER                                   1028 S BEECHAM ROAD                                                                             WILLIAMSTOWN     NJ    08094‐2122
                                          09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 401 of 855
Name                                          Address1                             Address2             Address3          Address4          City              State Zip

JOYCE E SOUTH                                  428 CABO SAN JOSE                                                                            SANTA MARIA       CA    93455‐1322
JOYCE E SPENCER                                ATTN JOYCE E SPENCEY SWANSON        423 SAVANNAH DRIVE                                       PHARR             TX    78577‐6968
JOYCE E TILFORD                                1518 S THOMPSON RD                                                                           SHELBYVILLE       IN    46176‐9286
JOYCE E VERDUN                                 3319 WOLCOTT ST                                                                              FLINT             MI    48504‐3294
JOYCE E VEVERKA                                6144 MILLER RD                                                                               SWARTZ CREEK      MI    48473‐1517
JOYCE E WILLARD                                4600 BLACKSTONE DR W                                                                         MAUMEE            OH    43537‐9105
JOYCE E WILLIAMS                               908 S CRAPO                                                                                  MT PLEASANT       MI    48858‐3662
JOYCE E ZEWICKE & BRUCE T ZEWICKE JT TEN       6256 BYRON DR                                                                                OCEAN SPRINGS     MS    39564‐2604
JOYCE ELAINE ANDREWS                           668 EAST AVENUE                                                                              LOCKPORT          NY    14094‐3304
JOYCE ELAINE ANDREWS                           668 EAST AVE                                                                                 LOCKPORT          NY    14094‐3304
JOYCE ELAINE FLAHERTY                          18616 N 99TH AVE APT 2002                                                                    SUN CITY          AZ    85373
JOYCE ELAINE HANNAH                            113 LEE DR                                                                                   SHARPSVILLE       IN    46068‐9307
JOYCE ELIZABETH TANNER                         3726 RAINBOW CIRCLE                                                                          SNELLVILLE        GA    30039‐2889
JOYCE ELLEN JACKSON                            529 W 111TH STREET APT 52                                                                    NEW YORK          NY    10025‐1990
JOYCE ELLEN KNUTH                              PO BOX 4498                                                                                  PINEHURST         NC    28374‐4498
JOYCE ELLEN MONACELLI                          39 MEADOW BROOK DR                                                                           ALBION            NY    14411‐1652
JOYCE ENID FIXLER                              12360 RADOYKA DRIVE                                                                          SARATOGA          CA    95070‐3525
JOYCE F ADAMS                                  4704 NATCHEZ AVE                                                                             DAYTON            OH    45416
JOYCE F CAUDILL                                7801 E DEVONSHIRE                                                                            MUNCIE            IN    47302‐9046
JOYCE F DRENZEK                                55940 ROMEO PLANK RD                                                                         MACOMB            MI    48042‐1622
JOYCE F EDWARDS                                24293 MARLYN DR                                                                              PRESTON           MD    21655‐1948
JOYCE F PATTISON                               6100 RIDGE ROAD                     GULF HILLS                                               OCEAN SPRINGS     MS    39564‐2264
JOYCE F PITTMAN                                4704 NATCHEZ AVE                                                                             DAYTON            OH    45416‐1542
JOYCE F STILLS                                 639 IDAHO DRIVE                                                                              XENIA             OH    45385‐4625
JOYCE F WILSON                                 6814 RATLIFF RD                                                                              CAMBY             IN    46113‐9287
JOYCE FAYE SHROUT                              6814 RATLIFF ROAD                                                                            CAMBY             IN    46113‐9287
JOYCE FEDOR                                    12 N WILLIAMS STREET                APT B‐4                                                  MT PROSPECT       IL    60056‐2562
JOYCE FELDMAN TR JEROME FELDMAN IRREVOCABLE    1256 EIDER COURT                                                                             PUNTA GORDA       FL    33950‐7636
TRUSTUA 12/19/91
JOYCE FELDMAN TR JOYCE FELDMAN REV TRUST UA    1256 EIDER CT                                                                                PUNTA GORDA       FL    33950‐7636
12/19/91
JOYCE FRIEDMAN                                 5250 LAS VERDES CIR #111                                                                     DELRAY BEACH      FL    33484‐8059
JOYCE G BROWN TR JOYCE G BROWN REVOCABLE TRUST 4351 N 36TH PLACE APT 3                                                                      PHOENIX           AZ    85018‐4076
UA 04/14/97
JOYCE G ELDRIDGE                               38973 PARSONS RD                                                                             GRAFTON           OH    44044‐9743
JOYCE G ETHIER MILLER                          6236 MCKENZIE DR                                                                             FLINT             MI    48507‐3836
JOYCE G GRIMES                                 1130 HWY 70                                                                                  BARNWELL          SC    29812
JOYCE G HARTMAN                                8609 TIMBER DR                                                                               FORT WORTH        TX    76180‐1914
JOYCE G KEANE TR UA 01/03/94 JOYCE KEANE TRUST 59664 SUMMIT ROAD                                                                            THREE RIVERS      MI    49093‐9264

JOYCE G KING CUST AMANDA L KING UGMA MI       5850 HAVENS RD                       RT 2                                                     LEONARD           MI    48367‐1116
JOYCE G MANCINI                               PO BOX 672                                                                                    FONDA             NY    12068‐0672
JOYCE G MORTLAND                              8251 SHARON MERCER RD                                                                         MERCER            PA    16137‐3035
JOYCE G MURRAY                                18218 SANTA BARBARA DRIVE                                                                     DETROIT           MI    48221‐2146
JOYCE G RUSSELL                               8035 E COUNTY RD 100N                                                                         FRANKFORT         IN    46041‐8972
JOYCE G WILLIAMS                              701 BROAD OAK DR                                                                              DAYTON            OH    45426‐2558
JOYCE GALE BEASLEY                            20336 BERS RD                                                                                 DETROIT           MI    48219
JOYCE GOLDBERG & MELODY GOLDBERG JT TEN       17555 ATLANTIC BLVD                  APT 607                                                  SUNNY ISLES BEACH FL    33160‐2995

JOYCE GOLDBERG & SANDRA GOLDBERG JT TEN       17555 ATLANTIC BLVD                  APT 607                                                  SUNNY ISLES BEACH FL    33160‐2995

JOYCE GOTHAM                                  18911 SE 114 ST                                                                               OCKLAWAHA         FL    32179‐4725
JOYCE GRIMSLEY                                27947 FLORENCE                                                                                ST CLAIR SHRS     MI    48081‐2957
JOYCE GROSS                                   6267 LONG KEY LN                                                                              BOYTON BEACH      FL    33437‐2373
JOYCE GROSSMAN BACHMAN                        300 WINSTON DRIVE                                                                             CLIFFSIDE PK      NJ    07010
JOYCE H ATKINS                                81 FOWLER RD                                                                                  ROCKMART          GA    30153‐4021
JOYCE H GINLEY                                145 SUNNY DRIVE                                                                               LAWRENCEBURG      IN    47025‐1117
JOYCE H LABITA                                25 CARMEL AVE                                                                                 STATEN ISLAND     NY    10314‐4411
JOYCE H MOOD                                  901 BRIDGETON PIKE                                                                            MULLICA HILL      NJ    08062‐3718
                                                  09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 402 of 855
Name                                                Address1                               Address2             Address3          Address4          City             State Zip

JOYCE H PROFFITT                                    3261 LYNWOOD DR NW                                                                              WARREN           OH    44485‐1310
JOYCE H VAN HAREN                                   6510 CRANE RD                                                                                   YPSILANTI        MI    48197‐8851
JOYCE HAINE EX EST EDITH SPIELBERG                  20 FOX RD                                                                                       CEDAR GROVE      NJ    07009
JOYCE HARTIGAN                                      47 ELM                                                                                          HICKSVILLE       NY    11801‐3137
JOYCE HELEN SUCHER                                  2419 WILSHIRE LN NE                                                                             ROCHESTER        MN    55906‐6908
JOYCE HYATT                                         35 VALLEY VIEW TERR                                                                             MOUNT KISCO      NY    10549‐1511
JOYCE I BAILEY                                      622 PLEASANT ST                                                                                 CHARLOTTE        MI    48813‐1943
JOYCE I SMITH                                       3795 BROOKFIELD DR                                                                              WHITE LAKE       MI    48383‐1411
JOYCE I TURNER TR TURNER LIVING TRUST UA 12/27/96   1098 DAFFODIL DR                                                                                WATERFORD        MI    48327‐1402

JOYCE I WALKER                                     2008 DUPONT ST                                                                                   FLINT            MI    48504‐7255
JOYCE I WESTIN & SHAWNA G MATHEWS & ERIC R         752 E MUNGER ROAD                                                                                MUNGER           MI    48747‐9784
WESTIN III JT TEN
JOYCE I WILSON                                     3767 TIPP COWLESVILLE RD                                                                         TIPP CITY        OH    45371‐3033
JOYCE I WILSON TR JOYCE I WILSON 2003 FAMILY TRUST 1861 CRESTLINE RD                                                                                PLEASANTON       CA    94566‐5458
UA 11/17/03
JOYCE IHORI YEE                                    21336 AMULET DR                                                                                  CUPERTINO        CA    95014‐1301
JOYCE INGRAM                                       202 S CHURCH ST                                                                                  BROOKLYN         IN    46111
JOYCE IRENE PLATZ                                  2407 N AVERILL AVE                                                                               FLINT            MI    48506‐3008
JOYCE J BEST                                       PO BOX 6101                                                                                      CHESAPEAKE       VA    23323‐0101
JOYCE J DILLON                                     5747 FALK CT                                                                                     ARVADA           CO    80002‐2225
JOYCE J FOWLER                                     1804 SMITH ST SW                                                                                 HARTSELLE        AL    35640‐4118
JOYCE J JONES                                      7176 DEER PATH                                                                                   EVART            MI    49631‐8281
JOYCE J MANN                                       5462 MARK WELBORN RD                                                                             SOMERSET         KY    42503‐5126
JOYCE J PENNINGTON                                 2755 ARROW HW                           APT 71                                                   LA VERNE         CA    91750‐5624
JOYCE J ROBEL TR JOYCE J ROBEL TRUST UA 02/05/97   3081 NICHOLSON DR                                                                                WINTER PARK      FL    32792‐7546

JOYCE J SMITH                                       ATTN JOYCE J PAYNE                     408 CLEARY RD                                            RICHLAND         MS    39218‐9615
JOYCE J SUMLIN                                      2300 PINEY GROVE ROAD                                                                           LOGANVILLE       GA    30052‐3639
JOYCE J SWANSEY                                     3747 SHOALS                                                                                     DRAYTON PLNS     MI    48020
JOYCE J WELSH                                       3013 GODFREY DRIVE                                                                              GODFREY          IL    62035‐1808
JOYCE J WILLIS & CHRISTY JANE WILLIS TEN COM        549 FEY RD                                                                                      CHESTERTOWN      MD    21620
JOYCE JONES‐LANE                                    229 EASTON STREET                                                                               BUFFALO          NY    14215‐3556
JOYCE K BENUS                                       2765 NE 13TH AVE                                                                                POMPANO BEACH    FL    33064‐6903
JOYCE K DENNIS                                      1015 SPRING DR                                                                                  GASTONIA         NC    28052‐9213
JOYCE K DESLIERRES & ROBERT L DESLIERRES JT TEN     11126 CHERRYLAWN DR                                                                             BRIGHTON         MI    48114‐8104

JOYCE K DWIGGINS                                    ATTN JOYCE K HARRIS                    PO BOX 46                                                FOLEY            MO    63347‐0046
JOYCE K ELLIS                                       1849 MAVIE DR                                                                                   DAYTON           OH    45414‐2103
JOYCE K GABRIS                                      141 BRENDA                                                                                      HOWELL           MI    48843‐8770
JOYCE K LIEBSCH                                     1004 KIMBERLY LANE                                                                              DOWNINGTOWN      PA    19335‐4495
JOYCE K MC MAHAN                                    640 BLACK FOREST DR                                                                             MARYVILLE        TN    37801‐7425
JOYCE K NELSON                                      643 KALISPELL ST                                                                                AURORA           CO    80011‐4506
JOYCE K NORELL                                      3000 FORTUNE ST                                                                                 MCKINLEYVILLE    CA    95519
JOYCE K OAKLEY                                      939 DIANTHUS CT                                                                                 REYNOLDSBURG     OH    43068‐6713
JOYCE K PARR                                        1621 ROCKY KNOLL LN                                                                             DACULA           GA    30019‐6757
JOYCE K PENCE                                       105 PARKER DR                                                                                   SPRINGBORO       OH    45066‐1335
JOYCE K SCHUETTE                                    147 BAYSHORE DR                                                                                 BAY CITY         MI    48706‐1169
JOYCE K ULM & PHYLLIS J ULM JT TEN                  2914 GAMMA LN                                                                                   FLINT            MI    48506‐1834
JOYCE K VOSS‐SCUDDER                                3218 MARIAN LANE                                                                                ROSENBERG        TX    77471‐8607
JOYCE KAPP CUST DENNIS ELMER KAPP UGMA MI           7780 CHICHESTER                                                                                 CANTON           MI    48187‐1447
JOYCE KATEMAN                                       55 WELLINGTON RD                                                                                EAST BRUNSWICK   NJ    08816‐1720
JOYCE KAUKALI                                       1820 IRON WOOD CT                                                                               VALLECITO        CA    95251‐9601
JOYCE KENNEMER BATES                                304 CHRISTINE ST                                                                                ATHENS           AL    35611‐3608
JOYCE KING                                          4508 HARGROVE RD                                                                                TEMPLE HILLS     MD    20748‐3608
JOYCE KNIERIEM                                      15667 W RTE 115                                                                                 BUCKINGHAM       IL    60917
JOYCE KURYLA                                        1975 E NORTON RD                                                                                HUDSON           OH    44236‐4100
JOYCE KURZ                                          11 DOVER TERRACE                                                                                MONSEY           NY    10952
JOYCE L ADAMS                                       820 FERLEY STREET                                                                               LANSING          MI    48911‐3601
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 403 of 855
Name                                               Address1                             Address2             Address3          Address4          City             State Zip

JOYCE L ARILLOTTA & THOMAS G ARILLOTTA JT TEN      PO BOX 61                                                                                     MCKEESPORT       PA    15135‐0061

JOYCE L BLACKESLEE & JOY L DIETZ JT TEN            4005 FILKINS DR                                                                               GRAND RAPIDS     MI    49525‐2129
JOYCE L BORDUIN                                    725 BALDWIN ST A24                                                                            JENISON          MI    49428
JOYCE L BRYANT                                     2928 CALIFORNIA ST                                                                            BERKELEY         CA    94703‐2014
JOYCE L BURTON                                     1713 MCGUFFEY RD                                                                              YOUNGSTOWN       OH    44505‐3442
JOYCE L CARSON                                     689 W EUCLID                                                                                  DETROIT          MI    48202‐2003
JOYCE L CHILDERS & JESSE G CHILDERS JT TEN         2415 N MEXICO RD                                                                              PERU             IN    46970‐8758
JOYCE L CLEMENS & RICHARD CLEMENS JT TEN           120 PERENNIAL DR                                                                              MOORESVILLE      NC    28117
JOYCE L CORDRAY                                    5054 MONTICELLO STREET NW                                                                     CANTON           OH    44708‐3445
JOYCE L CRAIG                                      3101 SW 51ST ST                                                                               OKLAHOMA CITY    OK    73119‐4429
JOYCE L ELOWSKY                                    2225 S LONG LAKE RD                                                                           FENTON           MI    48430‐1457
JOYCE L GARCIA                                     1901 W MACARTHUR ST                  APT 901                                                  SHAWNEE          OK    74804‐2477
JOYCE L GOTTSCHALL & WAYNE R GOTTSCHALL JT TEN     14369 OLIVE BLVD                                                                              CHESTERFIELD     MO    63017‐2148

JOYCE L HENRY                                      16915 BALD EAGLE DR                                                                           KENDALL          NY    14476‐9607
JOYCE L JAMES                                      3514 W WISCONSIN ST                                                                           INDIANAPOLIS     IN    46241‐4136
JOYCE L JIVIDEN                                    75 BORDEN ROAD                                                                                WEST SENECA      NY    14224‐2503
JOYCE L JOHNSON                                    PO BOX 3058                                                                                   HOLLAND          MI    49422‐3058
JOYCE L KOVAK TR JOYCE L KOVAK TRUST UA 02/03/99   1340 MAHONING AVE NW                 UNIT 112                                                 WARREN           OH    44483‐2085

JOYCE L LEWIS                                       218 MARINERS WAY                                                                             SHEFFIELD LAKE   OH    44054‐1071
JOYCE L LEWIS & CHRISTINE MC CLOUD JT TEN           218 MARINER'S WAY                                                                            SHEFFIELD LAKE   OH    44054‐1071
JOYCE L LUEBKE                                      29007 N 23RD DR                                                                              PHOENIX          AZ    85085
JOYCE L MERIGOLD                                    9811 EAST BROADWAY                                                                           TEMPLE CITY      CA    91780‐2634
JOYCE L MILLER & PAGE L MILLER JT TEN               6836 PALM AVE                                                                                HIGHLAND         CA    92346
JOYCE L MITCHELL                                    1695 VILLAGE AVE                                                                             GARNET VALLEY    PA    19061‐6805
JOYCE L MORRIS                                      6135 BROADMOOR PLAZA                                                                         INDIANAPOLIS     IN    46228‐1026
JOYCE L PALMER                                      3908 TURNBRIDGE CT                  UNIT 297                                                 BRUNSWICK        OH    44212‐3091
JOYCE L PATE                                        151 ESTES AVE                                                                                WEIRTON          WV    26062‐3807
JOYCE L PERKINS TR JOYCE L PERKINS REVOCABLE LIVING PO BOX 143                                                                                   MCBRIDES         MI    48852‐0143
TRUST UA 12/14/98
JOYCE L QUEARY                                      455 4TH PL                                                                                   PORT HUENEME     CA    93041‐2801
JOYCE L SHAW                                        300 WESTERLY HILLS DR                                                                        ENGLEWOOD        OH    45322‐2341
JOYCE L SHEPHERD                                    21303 REIMANVILLE                                                                            FERNDALE         MI    48220‐2231
JOYCE L SMITH                                       1501 PARKSIDE AVE APT 13L                                                                    TRENTON          NJ    08638‐2632
JOYCE L SMITH & DENISE ALESSANDRINI JT TEN          2210 WEST 3RD ST                                                                             WILMINGTON       DE    19805
JOYCE L STAMPS                                      994 SUNSET LN                                                                                SEYMOUR          IN    47274‐7528
JOYCE L VEDDER                                      195 NOVA ALBION WAY APT 9                                                                    SAN RAFAEL       CA    94903‐3510
JOYCE L WHITE & RICHARD A WHITE JT TEN              19075 DOEWOOD DR                                                                             MONUMENT         CO    80132‐9025
JOYCE L WINSTON                                     5012 AURORA DR                                                                               KENSINGTON       MD    20895‐1203
JOYCE LAMALE FORD                                   1224 ROSEDALE DRIVE                                                                          MANSFIELD        OH    44906‐3535
JOYCE LANDER                                        C/O JOYCE L KERENSKY                711 MARBLE WAY                                           BOCA RATON       FL    33432‐3006
JOYCE LARUE THURMOND FRIES                          1604 ERIKA DR                                                                                SPRINGFIELD      OH    45503‐5747
JOYCE LAUBAN                                        2000 LAUBAN LN                                                                               GAUTIER          MS    39553‐1865
JOYCE LE ANN MANNOR                                 3640 CHANUTE AVE SW                                                                          GRANDVILLE       MI    49418‐1934
JOYCE LEAVITT                                       5 LAPIERRE                                                                                   HAVERHILL        MA    01832‐2538
JOYCE LECRAW RAND                                   4 BISHOP LANE                                                                                TIGER            GA    30576‐1536
JOYCE LEE                                           2053 FAWN AVE                                                                                MIDDLEVILLE      MI    49333‐8639
JOYCE LEE                                           200 BROOKHILL DR                                                                             GAHANNA          OH    43230‐1760
JOYCE LEE LAMPSON                                   4365 APPLE CROSS DR                                                                          INDIANAPOLIS     IN    46254‐3629
JOYCE LEE WITAK TR JOYCE LEE WITAK TRUST UA         2474 MISTY LN                                                                                DAVISON          MI    48423‐8368
02/04/03
JOYCE LEE WITAK TR JOYCE LEE WITAK TRUST UA         10742 HOBBS STATION RD                                                                       LOUISVILLE       KY    40223‐2698
2/04/03
JOYCE LEONE WRIGHT                                  6090 HARDY LANE                                                                              ANN HOWELL       MI    48843‐9787
JOYCE LIMING                                        688 HAMILTON RD                                                                              FALKNER          MS    38629‐9656
JOYCE LINTON & JAY LINTON JT TEN                    PO BOX 20                                                                                    STUYVESANT FALLS NY    12174‐0020
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 404 of 855
Name                                             Address1                             Address2                Address3       Address4          City             State Zip

JOYCE LITTLE HALL                             PO BOX 640                                                                                       WALESKA          GA    30183‐0640
JOYCE LOO                                     1551 AVION DR                                                                                    MONTEREY PARK    CA    91754‐2357
JOYCE LOUISE WAPLES                           664 BROOKHAVEN WAY                                                                               NICEVILLE        FL    32578‐4045
JOYCE LOWDERMILK EDMONDS                      196 SAW TIMBER                                                                                   SANFORD          NC    27330‐8386
JOYCE LUANN SWOBODA                           158 SHASTA COURT                                                                                 APPLE VALLEY     MN    55124‐7348
JOYCE M BARRY                                 171 LAKESIDE DR W                                                                                BELVIDERE        NJ    07823‐3147
JOYCE M BILLS                                 1795 N 300 W                                                                                     TIPTON           IN    46072‐8553
JOYCE M BRAY                                  360 S LIMESTONE ST                      APT 207                                                  SPRINGFIELD      OH    45505‐1094
JOYCE M BURKE                                 8443 GARLAND RD                                                                                  PASADENA         MD    21122‐4613
JOYCE M BUSCHUR                               8728 SHADYCREEK DR                                                                               DAYTON           OH    45458‐3337
JOYCE M BUTLER                                9410 SPRING BRANCH                                                                               DALLAS           TX    75238‐2518
JOYCE M BUTLER & DAVID C LASKOSKY JT TEN      20648 SIX MILE                                                                                   ONAWAY           MI    49765
JOYCE M CAMPBELL                              1721 ROSEDALE AVE                                                                                YOUNGSTOWN       OH    44511‐1683
JOYCE M CHAGNON                               9 CROSS RD                                                                                       HENNIKER         NH    03242‐3163
JOYCE M CLAVON                                25440 BIANCA CT                                                                                  MORENO VALLEY    CA    92557‐5243
JOYCE M CLAYTON                               6500 WOODLAKE DR                        APT 306                                                  MINNEAPOLIS      MN    55423‐1387
JOYCE M COFER                                 14 MADISON LANE S                                                                                NEWPORT NEWS     VA    23606‐2821
JOYCE M COLEMAN                               C/O JOE B BLAND GUARDIAN                PO BOX 338                                               VICTORIA         TX    77902‐0338
JOYCE M COSTA                                 11566 QUIRK RD                                                                                   BELLEVILLE       MI    48111‐3140
JOYCE M DANNEKER CUST RYAN D DANNEKER UGMA PA 2818 MYERS ROAD                                                                                  SEVEN VALLEYS    PA    17360‐8544

JOYCE M DAVIS                                    3850 CASTANO DR                                                                               DAYTON           OH    45416‐1138
JOYCE M DAVIS                                    PMB 208                              835 E LAMAR BLVD                                         ARLINGTON        TX    76011‐3504
JOYCE M DEUSCHLE                                 26870 ZEMAN AVE                                                                               EUCLID           OH    44132‐2053
JOYCE M EIDSON                                   1205 FIRST AVE SW                                                                             CULLMAN          AL    35055‐5391
JOYCE M EVANS                                    107 BARRINGTON RD                                                                             SYRACUSE         NY    13214‐1402
JOYCE M FATUR                                    843 ARBORETUM CIR                                                                             SAGAMORE HILLS   OH    44067‐2382
JOYCE M FISHER                                   1309 NORTHBROOK ST                   OSHAWA ON                              L1G 7M5 CANADA
JOYCE M GENSHEER                                 HC79 BOX 1330                                                                                 PITTSBURG        MO    65724‐9730
JOYCE M GILES                                    5561 CEDONIA AVE                                                                              BALTIMORE        MD    21206‐3852
JOYCE M GOODLETT                                 881 BLOOMFIELD RD                                                                             TAYLORSVILLE     KY    40071‐9007
JOYCE M HAMPTON & ZEBEDEE HAMPTON JT TEN         3030 PARKFIELD CT                                                                             FAIRFIELD        CA    94533‐1340
JOYCE M HASTINGS                                 4405 LANSING RD                                                                               CHARLOTTE        MI    48813‐9373
JOYCE M HAUCK                                    2748 CAROLINE AVE                                                                             INDIANAPOLIS     IN    46218‐2754
JOYCE M HENDERSON                                19 HOOVER LANE                                                                                ENFIELD          CT    06082‐5313
JOYCE M HULCHANSKI                               3321 LAVREN WAY                                                                               FLOWER MOUND     TX    75028‐2937
JOYCE M JACKSON                                  PO BOX 375                                                                                    SHOREHAM         NY    11786‐0375
JOYCE M JACOBS                                   7917 MARBELLA CT N                                                                            ORLANDO          FL    32836‐8706
JOYCE M JAMES                                    7941 S CHAPPEL                                                                                CHICAGO          IL    60617‐1052
JOYCE M JORDAN                                   126 WOODHILL DRIVE                                                                            AMHERST          OH    44001‐1614
JOYCE M KANKEY                                   9600 NE 112TH ST                                                                              KANSAS CITY      MO    64157‐9626
JOYCE M KEREKES & CEANN CAROL KEREKES JT TEN     22173 DERBY RD                                                                                WOODHAVEN        MI    48183‐3733

JOYCE M KIRSCH TR JOYCE M KIRSCH REVOCABLE TRUST 16750 RIDGEWOOD CT                                                                            PUNTA GORDA      FL    33982‐9544
UA 10/13/99
JOYCE M KOTSKO & SUSAN M STRICKLER JT TEN        3860 JACK PINE LN                                                                             PORT HURON       MI    48060
JOYCE M LEVATO & JOSEPH G LEVATO JT TEN          925 W 31ST ST                                                                                 CHICAGO          IL    60608‐5815
JOYCE M LI SANTI                                 224 NAPLES TER                                                                                BRONX            NY    10463‐5414
JOYCE M LUBACH                                   7‐10 MAYFAIR TER                                                                              FAIR LAWN        NJ    07410‐4117
JOYCE M MATTHEWS                                 350 CRAWFORD ST                                                                               EATON TOWN       NJ    07724‐2955
JOYCE M MILLER                                   APT 800                              740 WONDERLAND ROAD S   LONDON ON      N6K 1L9 CANADA
JOYCE M MILLER                                   1437 DEER FOREST DR                                                                           FORT MILL        SC    29715‐7738
JOYCE M MOWEN                                    7050 PISGAH RD                                                                                TIPP CITY        OH    45371‐9790
JOYCE M NOLAN                                    616 MILLSTONE DR                                                                              ROCHESTER HLS    MI    48309‐1648
JOYCE M OBLAK                                    2207 W 121ST ST                                                                               BLUE ISLAND      IL    60406‐1203
JOYCE M PARKS                                    21309 CARLTON DRIVE                                                                           MACOMB           MI    48044‐1858
JOYCE M PAUL & ALONZO V PAUL JR JT TEN           3160 NORTHWOOD AVE                                                                            YOUNGSTOWN       OH    44505
JOYCE M PIEC                                     21747 W EMPRESS LN                                                                            PLAINFIELD       IL    60544‐6321
JOYCE M POTTS                                    3633 SUMPTER                                                                                  LANSING          MI    48911‐2622
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 405 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

JOYCE M PRITCHARD                               C/O VALERIE PRITCHARD                17160 WARRIOR DR                                         HOWARD CITY     MI    49329‐9161
JOYCE M ROBINSON & DRUCILLA ROBINSON &          1324 WOODWARD AVENUE                                                                          KALAMAZOO       MI    49007
CHRISTOPHER ROBINSON JT TEN
JOYCE M ROCHE                                   2734 GROVENBURG ROAD                                                                          LANSING         MI    48911‐6459
JOYCE M ROCHE & JOHN E ROCHE JT TEN             2734 GROVENBURG RD                                                                            LANSING         MI    48911‐6459
JOYCE M ROCHE CUST LJENNIFER S ROCHE UGMA MI    2734 GROVENBURG RD                                                                            LANSING         MI    48911‐6459

JOYCE M ROGERS                                  929 HUBBARD AVE                                                                               FLINT           MI    48503‐4937
JOYCE M ROSS                                    2713 CLEVER LN                                                                                CHURCHVILLE     MD    21028‐1617
JOYCE M ROTHMAN                                 ATTN JOYCE SISPERA                   252 N WALNUT ST                                          OTTAWA          OH    45875‐1745
JOYCE M SAMPSON                                 1928 MYERS RD                                                                                 EIGHT MILE      AL    36613‐3818
JOYCE M SAWYER                                  18911 SOUTH EAST 114TH STREET                                                                 OCKLAWAHA       FL    32179‐4725
JOYCE M SCHUH & JACQUELINE A SCHUH JT TEN       1701 DEL MONTE WAY                                                                            MORAGA          CA    94556‐2029
JOYCE M SCHUH & NANCY E SCHUH JT TEN            1701 DEL MONTE WAY                                                                            MORAGA          CA    94556‐2029
JOYCE M SCHUMER                                 8 VENTNOR CIR                                                                                 BELLA VISTA     AR    72715‐2330
JOYCE M SCHURR                                                                                                                                STRYKERSVILLE   NY    14145
JOYCE M SCHWARTZ & LEONARD SCHWARTZ JT TEN      8081 MORROW RD                                                                                CLAY            MI    48001‐3202

JOYCE M SEWNIG                                   7849 W 97TH PL                                                                               HICKORY HILLS   IL    60457‐2306
JOYCE M SHARP & MARION C FORMAN JT TEN           309 S GRAY AVE                                                                               WILM            DE    19805‐1921
JOYCE M SHEELY                                   1013 E FIRMIN ST                                                                             KOKOMO          IN    46902‐2337
JOYCE M SHERWOOD                                 14601 CREEK VALLEY CT                                                                        CENTREVILLE     VA    20120‐2923
JOYCE M STAMPER                                  PO BOX 5102                                                                                  DEARBORN        MI    48128‐0102
JOYCE M STAPLE                                   3043 CLAYBOURNE LANE                                                                         BALDWINSVILLE   NY    13027‐1621
JOYCE M STEELE                                   3820 CATHERINE ST                                                                            JACKSON         MI    49203‐1011
JOYCE M TALLMAN                                  6680 MANSON                                                                                  WATERFORD       MI    48329‐2738
JOYCE M TENNISON                                 510 W BARTON                                                                                 WEST MEMPHIS    AR    72301‐2933
JOYCE M TYRELL                                   1041 BLOOMFIELD ST                                                                           HOBOKEN         NJ    07030‐5203
JOYCE M VANHOLDER                                11200 OLDBRIDGE                                                                              GRAND BLANC     MI    48439‐1058
JOYCE M WAHWASSUCK                               1890 KITE ROAD                                                                               ODESSA          MO    64076‐6160
JOYCE M WALL                                     28621 ROSSLYN                                                                                GARDEN CITY     MI    48135‐2765
JOYCE M WEBER                                    310 S UNION                                                                                  EMPORIA         KS    66801‐4832
JOYCE M WISHKIN                                  627 HIGH RD                                                                                  ASHLAND         PA    17921‐9261
JOYCE MARIE BARNES                               4085 GERMANIA RD                                                                             SNOVER          MI    48472‐9310
JOYCE MARIE DAOUST                               G‐8385 W POTTER RD                                                                           FLUSHING        MI    48433
JOYCE MARIE JOHNSON TR UW GENE ADDISON           5518 WESTERN AVE                                                                             CHEVY CHASE     MD    20815‐7122
JOHNSON
JOYCE MARILYN SMITH                              572 S CRANBROOK CROSS RD                                                                     BLOOMFIELD      MI    48301‐3433
JOYCE MARKIN                                     161 WEST LEWISTON                                                                            FERNDALE        MI    48220‐2722
JOYCE MARY HORECKY                               7 HOBBS LN                                                                                   CLINTON CORS    NY    12514‐2435
JOYCE MAY BOGGESS                                PO BOX 1366                                                                                  THOMSON         GA    30824‐1366
JOYCE MCCLURG                                    76 WRIGHT RD                                                                                 HENRIETTA       NY    14467‐9502
JOYCE MCCLURG & RICHARD MCCLURG JT TEN           76 WRIGHT ROAD                                                                               HENRIETTA       NY    14467‐9502
JOYCE MILLER SAWYER                              3000 WILLIAMS STATION RD                                                                     MATTHEWS        NC    28105‐1232
JOYCE MORRIS                                     729 W 35TH ST                                                                                MARION          IN    46953‐4215
JOYCE N COGSWELL                                 1445 N CO RD 400E                                                                            ANDERSON        IN    46012
JOYCE N COMER                                    1088 HELMER ROAD                                                                             RIVERDALE       GA    30296‐1259
JOYCE N LAVISCOUNT                               24 AMY CIR                                                                                   NEWTOWN         PA    18940‐1257
JOYCE N MAGRUDER                                 96 N GREECE ROAD                                                                             HILTON          NY    14468‐8906
JOYCE N WATSON                                   6709 PRINCESS LN                                                                             CLARKSTON       MI    48346
JOYCE N WETTERER CUST JACQUELYN C BALDNER UTMA 291 COURTNEY LANE                                                                              TAILORSVILLE    KY    40071‐8438
KY
JOYCE NERUD                                      475 N CASS UNIT 309                                                                          WESTMONT        IL    60559‐1569
JOYCE NERUD TR JOYCE NERUD REV TRUST UA 11/06/01 475 N CASS UNIT 309                                                                          WESTMONT        IL    60559‐1569

JOYCE O SAMBOGNA                                186 B MAIN ST                                                                                 MANCHESTER      CT    06040‐3558
JOYCE O SWINGLEY                                13601 FOREST BEND CIRCLE                                                                      LOUISVILLE      KY    40245‐8405
JOYCE P DILLARD CUST HANNAH ELIZABETH DILLARD   702 GLENRIDGE RD                                                                              SPARTANBURG     SC    29301‐5306
UGMA SC
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 406 of 855
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

JOYCE P DILLARD CUST MARY KATHERINE DILLARD       702 GLENRIDGE RD                                                                               SPARTANBURG      SC    29301‐5306
UGMA SC
JOYCE P DILLARD CUST SARAH JO DILLARD UGMA SC     702 GLENRIDGE ROAD                                                                             SPARTANBURG      SC    29301‐5306

JOYCE P GERNEY                                     225 SOUTH STILES STREET                                                                       LINDEN           NJ    07036‐4344
JOYCE P JONES                                      13311 3RD AVE SW                                                                              SEATTLE          WA    98146‐3327
JOYCE P LANGFORD                                   3748 MONTROSE CIR                                                                             JACKSON          MS    39216‐3712
JOYCE P MCGURRIN & THOMAS J MAIER JT TEN           20 BEACON LN                                                                                  E NORTHPORT      NY    11731
JOYCE P MIKOLAJEWSKI                               503 CO RD 668                                                                                 DAYTON           TX    77535‐3057
JOYCE P NAGY                                       PO BOX 369                                                                                    MOUNT GRETNA     PA    17064‐0369
JOYCE P SWINNEY                                    131 STONEWOOD DR                                                                              RUSSELLVILLE     AL    35654‐8173
JOYCE P WOHLFEIL & CYNTHIA E MISKELL JT TEN        195 DELRAY AVE                                                                                WEST SENECA      NY    14224‐1842
JOYCE PALMER TR REVOCABLE TRUST 05/02/88 U‐A       23010 CHURCH ST                                                                               OAK PARK         MI    48237‐2427
JOYCE PALMER
JOYCE PETTY                                        17227 THEISS MAIL ROUTE RD                                                                    SPRING A         TX    77379‐6204
JOYCE PIERPOLINE                                   228 W 15TH ST AP 4C                                                                           NEW YORK CITY    NY    10011‐6550
JOYCE PINKETT                                      224 KELLER BEYER RD                                                                           NEW CASTLE       DE    19720‐8733
JOYCE POWELL                                       20 BEACON HILL TERRACE                                                                        SHELTON          CT    06484‐5904
JOYCE PURIFORY                                     20201 CARRIE                                                                                  DETRIOT          MI    48234‐3075
JOYCE R BARCEY                                     1583 N LINCOLN AVE                                                                            SALEM            OH    44460‐1338
JOYCE R CURETON                                    798 ED COOKE RD                                                                               SMITHS GROVE     KY    42171
JOYCE R GUNTER JR                                  7632 TORTUGA DR                                                                               DAYTON           OH    45414‐1750
JOYCE R HURST CUST MARK FORAKER UGMA OH            38 LEONARD AVE                                                                                HOOKSETT         NH    03106‐1053
JOYCE R OWENS                                      114 W STEWART ST                                                                              FLINT            MI    48505‐3206
JOYCE R PAGE                                       16554 MENDOTA ST                                                                              DETROIT          MI    48221‐2820
JOYCE R POPP                                       6113 LAKEWOOD BLVD                                                                            LAKEWOOD         CA    90712
JOYCE R SONE & J ROY SONE TR UA 06/07/91 THE JOYCE 3326 CEDAR BEND RD                                                                            JEFFERSON CITY   MO    65109‐9228
R SONE & JROY
JOYCE R STOCK                                      606 BILLY JOE SAPP DR                                                                         ASHLAND          MO    65010‐1042
JOYCE R SUROWY                                     353 ELLINWOOD DR                                                                              ROCHESTER        NY    14622‐2360
JOYCE R TELLITOCCI                                 18865 PERSHING                                                                                LIVONIA          MI    48152‐3839
JOYCE R WEATHERLY                                  3109 HUMMINGBIRD CIRCLE                                                                       BRYAN            TX    77807
JOYCE R WILLIAMS                                   2069 LOGAN AVE                                                                                SALT LAKE CITY   UT    84108‐2635
JOYCE REIMAN                                       5430 AUTUMN COURT                                                                             ENGLEWOOD        CO    80111‐3417
JOYCE REYNOLDS & HARRY REYNOLDS JT TEN             3252 POPIN JAY                                                                                LAKE PLACID      FL    33852‐8286
JOYCE ROBINSON                                     24433 ROANOKE                                                                                 OAK PARK         MI    48237‐1838
JOYCE ROBISON TOD DARRIN TAYLOR SUBJECT TO STA 24433 ROANKE                                                                                      OAK PARK         MI    48237‐1838
TOD RULES
JOYCE S DEAL                                       610 EVERETT STREET                                                                            LAURINBURG       NC    28352‐4411
JOYCE S HERSHBERGER                                2040 BENTLEY DR                                                                               WILLIAMSPORT     PA    17701‐1958
JOYCE S IRISH CUST JENNIFER ANN IRISH UGMA CT      36 BICKLAND ST UNIT 37                                                                        PLANTSVILLE      CT    06479‐7605

JOYCE S LUPU                                      111 BROOKPARK DR                                                                               CANFIELD         OH    44406‐1101
JOYCE S OUELLETTE                                 10610 SAGEFOREST                                                                               HOUSTON          TX    77089‐3315
JOYCE S SHNAY                                     ATTN JOYCE PARKER                     5347 EAST LIBBY ST                                       SCOTTSDALE       AZ    85254‐5823
JOYCE S TURNBULL TR JOYCE S TURNBULL TRUST UA     7426 PINE VIEW DR                                                                              TOLEDO           OH    43617‐2279
1/18/01
JOYCE S WIDMARK                                   114 E FAIRVIEW                                                                                 ARLINGTON        IL    60005‐2665
                                                                                                                                                 HEIGHTS
JOYCE SCHAFER                                     11120 LOWELL RD                                                                                DEWITT           MI    48820‐9159
JOYCE SCHIRA                                      PO BOX 1012                                                                                    DEARBORN HEIGHTS MI    48127‐7012

JOYCE SCHULMAN CUST SANFORD SCHULMAN UGMA         14611 SHERWOOD CT                                                                              OAK PARK         MI    48237‐1338
MI
JOYCE SCOTT CUST ADAM SCOTT UNIF GIF MIN ACT      11 SEQUOIA DR                                                                                  ROCHESTER        NY    14624‐4509
NEW YORK
JOYCE SEAVER                                      257 CARIBOU RUN                                                                                DUNDEE           MI    48131‐9568
JOYCE SMITH                                       10023 WARWICK                                                                                  DETROIT          MI    48228‐1324
JOYCE SPEEN                                       35804 FERNWOOD                                                                                 WESTLAND         MI    48186‐4108
                                                09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 407 of 855
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

JOYCE STREY                                         5015 RIVERMOOR DR                                                                               OMRO              WI    54963‐9428
JOYCE SUDHOFF                                       145 BEVERLY DR SE                                                                               WINTER HAVEN      FL    33884‐2002
JOYCE T BOWYER & MARK W BOWYER JR JT TEN            APT 615                                1111 PARK AVE                                            BALTIMORE         MD    21201‐5613
JOYCE T LONGENECKER                                 1600 THUNDERBIRD LN APT 45                                                                      WEST CARROLLTON   OH    45449‐2577

JOYCE T THOMPSON                                    3916 VALLEY BEND DR                                                                             MOODY             AL    35004‐2523
JOYCE T WELCH                                       344 ANNABELLE POINT RD                                                                          CENTERVILLE       MA    02632‐2402
JOYCE TASCH                                         7979 CHICAGO AVENUE                                                                             RIVER FOREST      IL    60305‐1363
JOYCE THOMAS                                        336 AUBURN                                                                                      PONTIAC           MI    48342‐3204
JOYCE TIMPONE                                       29 TOWER LANE                                                                                   LEVITTOWN         NY    11756‐3925
JOYCE TOLLEFSON                                     PO BOX 67                                                                                       DILWORTH          MN    56529‐0067
JOYCE TYRELL AS EXECUTRIX OF THE ESTATE OF JOHN J   1041 BLOOMFIELD ST                                                                              HOBOKEN           NJ    07030‐5203
TYRELL
JOYCE U FAHEY                                       13 DEVORE RD                                                                                    FLEMINGTON        NJ    08822‐7154
JOYCE UHLMAN                                        30 PRESCOTT HALL RD                                                                             NEWPORT           RI    02840‐1628
JOYCE V ANTHONY & LENA D MUELLER JT TEN             9629 BRUMM RD                                                                                   NASHVILLE         MI    49073‐9130
JOYCE V COON                                        7725 BALHARBOUR DR                                                                              NEW PORT RICHEY   FL    34653‐6286

JOYCE V SCHUTT & MILTON A SCHUTT JT TEN         6145 LINDSAY                                                                                        WATERFORD         MI    48329‐3031
JOYCE VEVERKA & LOUIS VEVERKA JT TEN            6144 MILLER RD                                                                                      SWARTZ CREEK      MI    48473‐1517
JOYCE W COOK                                    4661 DURBAN PARK DRIVE                                                                              PLANO             TX    75024‐6854
JOYCE W DONOHUE                                 151 KENNEWYCK CIRCLE                                                                                SLINGERLANDS      NY    12159‐9564
JOYCE W HEATH TR SARAH M PARTLOW HOME U/W       13 MARBLE STREET                                                                                    BRANDON           VT    05733‐1119
ALBERT N PARTLOW
JOYCE W JOHNSON CUST BEN DANIEL JOHNSON UGMA 10800 ALPHARETTA HWY #547                                                                              ROSWELL           GA    30076‐1423
GA
JOYCE W KELLY                                   44 S WHISPERING LANE                                                                                HAMBURG           NY    14075‐1839
JOYCE W KIRKPATRICK & WILLIAM O KIRKPATRICK JT  2515 PROVIDENCE CHURCH RD                                                                           ANDERSON          SC    29626
TEN
JOYCE W PALLAGUT                                2624 ROBIN HOOD DR                                                                                  GREENSBORO        NC    27408‐3914
JOYCE W RIDENOUR CUST ERIC TAYLOR ROBINETT UTMA 2537 JEFFERSON CIRCLE                                                                               SARASOTA          FL    34239‐4036
FL
JOYCE W SLACK                                   PO BOX 24                                  GRANARY ROAD                                             SERGEANTSVILLE    NJ    08557‐0024
JOYCE W TAYLOR & ROBERT S GANTT JT TEN          128 HORRY NE ST                                                                                     AIKEN             SC    29801‐4524
JOYCE W WEAVER                                  6909 ST RT 571 EAST                                                                                 GREENVILLE        OH    45331‐9669
JOYCE W WINSLOW                                 17 TWIN LAKE ESTATE                                                                                 HUMBOLDT          TN    38343‐6481
JOYCE WEATHERSBY                                19444 SPENCER ST                                                                                    DETROIT           MI    48234
JOYCE WEBER BOWERS                              RR1 BOX 37                                                                                          STRASBERG         IL    62465‐9701
JOYCE WEBSTER OWINGS                            15965 BROOKHILL DR                                                                                  BROOKFIELD        WI    53005‐2258
JOYCE WESTERHOUSE                               PO BOX 2840                                                                                         GRAPEVINE         TX    76099‐2840
JOYCE WHITE                                     4100 SHADYWOOD LANE                                                                                 WARRENSVILLE      OH    44122‐6948
JOYCE WILKERSON CUST KEITH WILKERSON UTMA OH    18352 S R 309 E                                                                                     KENTON            OH    43326

JOYCE WILLIAMS BYRD & JAROLD D BYRD JT TEN          15933 GEORGIA                                                                                   PARAMOUNT         CA    90723‐5103
JOYCE WILLIAMS‐BUCKLER                              3867 MEADOW LANE                                                                                GROVE CITY        OH    43123‐2214
JOYCE WINKLER & ROBERT WINKLER JT TEN               219 SERPENT LANE                                                                                MANAHAWKIN        NJ    08050‐2037
JOYCE WOOD                                          PO BOX 592                             13675 S MASON DR                                         GRANT             MI    49327‐8841
JOYCE WOODS                                         12740 ROSELAWN                                                                                  DETROIT           MI    48238‐3178
JOYCE WYSKIEWICZ                                    31 MILLER AVE                                                                                   MERIDEN           CT    06450‐6827
JOYCE Y BAKER                                       6 MANDARIN COVE                                                                                 LUCAS             TX    75002‐8039
JOYCE Y KEILLOR                                     PO BOX 570                                                                                      BELLAIRE          MI    49615‐0570
JOYCE ZEDER                                         8900 E JEFFERSON                       1530                                                     DETROIT           MI    48214‐2963
JOYCEANN YELTON                                     1120 CHESTER STREET                                                                             ANDERSON          IN    46012‐4331
JOYCELLYN A SADLER & CLARENCE F SADLER JT TEN       BOX 252                                                                                         WEEMS             VA    22576‐0252

JOYCELYN A ROGERS                                   1035 CLIFT CAVE DRIVE                                                                           SODDY             TN    37379‐5704
JOYCELYN B BROUSSARD                                2598 KIRK RD                                                                                    MAURICE           LA    70555‐3352
JOYCELYN G DEL MUNDO                                1619 HAVEMEYER LN                                                                               REDONDO BEACH     CA    90278‐4714
JOYCELYN L ANG                                      6463 POWHATAM DRIVE                                                                             HAYES             VA    23072‐3220
                                                09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                          Part 4 of 8 Pg 408 of 855
Name                                                Address1                               Address2              Address3          Address4          City              State Zip

JOYCELYN L KIRCHNER                                 109 FOX HOUND DR                                                                                 GRAND BLANC       MI    48439‐7006
JOYCELYN T MAZZA                                    235 E SCHREYER PL                                                                                COLUMBUS          OH    43214‐2726
JOYCELYN V DOZIER                                   401 METAIRIE RD                        APT 113                                                   METAIRIE          LA    70005‐4301
JOYCLYN M WATERS                                    7614 HAVERHILL LN 45                                                                             CANTON            MI    48187‐1020
JOYE B COON                                         C/O JOYE B ROBINSON                    513 MEADOWBROOK DR                                        GEORGETOWN        TX    78628‐7654
JOYE C DOREY & DALE A DOREY JT TEN                  21 AUDET ST IN                                                                                   WINOOSKI          VT    05404‐1750
JOYE J LESLIE                                       1795 N ARONMINK WAY                                                                              MERIDIAN          ID    83642‐1110
JOYLENE M PAUL                                      ATTN JOYLENE M REAVIS                  W805 PEEDEE ROAD                                          BROAHEAD          WI    53520‐9561
JOYLYNNE DANIELS WILLS & JERRY B WILLS JT TEN       5650 MUNCASTER MILL ROAD                                                                         ROCKVILLE         MD    20855‐1827

JOZEF A MOCHOL                                      29623 OAKLEY ST                                                                                  LIVONIA           MI    48154‐3758
JOZEF BARUTA                                        4570 BROADVIEW RD                                                                                CLEVELAND         OH    44109‐4602
JOZEF BEDNARZ                                       380 N ADAM ST                                                                                    LOCKPORT          NY    14094‐1406
JOZEF J NYS                                         OPEL BELGIUM NV                        NOORDERLAAN 401       B2030 ANTWERPEN   BELGIUM
JOZEF KEPA                                          42‐600 TARNOWSKIE GORY                 UL BESKIDZKA 10                         POLAND (REP)
JOZEF KIELIAN                                       705 W ELM ST #1                                                                                  LINDEN            NJ    07036‐5715
JOZEF MIZERA                                        PO BOX 1460                                                                                      BRIGHTON          MI    48116‐7960
JOZEF NOWAKOWSKI                                    379 LAURA DRIVE                                                                                  ROCHESTER         NY    14626‐2131
JOZEF R BLYSKAL                                     29 SHERMAN BLVD                                                                                  EDISON            NJ    08820‐2317
JOZEF Z NEDZA                                       761 PILGRIM AVE                                                                                  LAWRENCEVILLE     NJ    08648‐4616
JOZEPH BARNYCH                                      812 S GARFIELD AVE                                                                               MONTEREY PARK     CA    91754‐3905
JOZSEF RASKAY                                       2807 N DAYTON LAKEVIEW RD                                                                        NEW CARLISLE      OH    45344‐8507
JP KRIETER JR & DOLORES KRIETER TR KRIETER FAMILY   1327 S ORANGE AVE                                                                                WEST COVINA       CA    91790‐3321
TRUST UA 02/04/99
JR LOUIS R BIZZARRO CUST LOUIS RICHARD BIZZARRO     72 KETCHAM RD                                                                                    HACKETTSTOWN      NJ    07840‐4916
UTMA NJ
JR SAFETY CLUB                                      ATTN JEAN WALTER                       145 E WASHINGTON ST                                       MONTICELLO        GA    31064‐1015
JTM FAMILY LIMITED PARTNERSHIP /INDIANA LTD         407 MILL FARM RD                                                                                 NOBLESVILLE       IN    46060‐9702
PARTNERSHIP/
JU WAH JEW & MRS FRANCES F JEW JT TEN               2545 24TH AVE                                                                                    OAKLAND           CA    94601‐1248
JUAN A CARRERA                                      612 BRANHAM LANE                                                                                 SAN JOSE          CA    95136‐1914
JUAN A ESTRADA                                      26371 MEADOWBROOK WY                                                                             LATHRUP VILLAGE   MI    48076‐4415

JUAN A FLORES                                       4223 HIGHWOOD DRIVE                                                                              CHATTANOOGA      TN     37415‐3122
JUAN A LEWIS                                        976 SANDOVAL DR                                                                                  VIRGINIA BEACH   VA     23454‐7211
JUAN A MARTINEZ                                     3319 TOWN CROSSING DR SW                                                                         GRANDVILLE       MI     49418‐3159
JUAN A MATA                                         1318 JOHNSON                                                                                     SAGINAW          MI     48601‐1730
JUAN A PENA                                         996 S 9TH ST                                                                                     SAN JOSE         CA     95112‐2470
JUAN A PRADO                                        539 CENTRAL AVE                                                                                  HAVERTOWN        PA     19083‐4233
JUAN A RAMOS                                        5779 MARYANNE PL                                                                                 HALTOM CITY      TX     76137‐2682
JUAN A REYNOSO                                      24325 VISTA BUENA DR                                                                             DIAMOND BAR      CA     91765‐1836
JUAN A RIVERA                                       15836 HANOVER                                                                                    ALLEN PARK       MI     48101‐2738
JUAN A SILVAS                                       9037 ROYSTON ROAD                                                                                GRAND LEDGE      MI     48837‐9414
JUAN A TREVINO                                      25259 STANFORD                                                                                   DEARBORN HEIGHTS MI     48125‐1625

JUAN A WATSON                                       14411 ROSEMARY BLVD                                                                              OAK PARK          MI    48237‐1949
JUAN ALVARADO                                       339 EAST 87TH ST                                                                                 NEW YORK          NY    10128‐4801
JUAN ALVARADO HERNANDEZ                             339 EAST 87TH ST                                                                                 NEW YORK          NY    10128‐4801
JUAN B AGEE                                         2828 CO RD #170                                                                                  MOULTON           AL    35650‐7472
JUAN B OROZCO                                       2639 LAKEMOOR DR                                                                                 ORLANDO           FL    32828‐7688
JUAN B SEPEDA JR                                    22800 DEERFIELD COURT                                                                            CURTICE           OH    43412‐9312
JUAN BARBOSA                                        2750 S KEELER AVE                                                                                CHICAGO           IL    60623‐4328
JUAN BUSTILLOS                                      1 BLUEBIRD HILL DR                                                                               LAKE ORION        MI    48359‐1806
JUAN C ALVAREZ CUST ANGELA A ALVAREZ UTMA FL        1005 SHADOWMOSS CIR                                                                              LAKE MARY         FL    32746‐4463

JUAN C ALVAREZ CUST LYLE A ALVAREZ UTMA FL          1005 SHADOWMOSS CIR                                                                              LAKE MARY         FL    32746‐4463
JUAN C ESTEVA                                       751 MALENA DR                                                                                    ANN ARBOR         MI    48103‐9360
JUAN C GARCIA                                       30101 JUTLAND CT                                                                                 MOUNT DORA        FL    32757‐7833
JUAN C PATURZO                                      9030 W HAWTHORN DR                                                                               HICKORY HILLS     IL    60457‐3206
                                          09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                              Part 4 of 8 Pg 409 of 855
Name                                        Address1                           Address2                 Address3             Address4            City           State Zip

JUAN C PEREZ                                2620 PINE OAK CT                                                                                     NILES          OH    44446‐4461
JUAN C VAZQUEZ                              2925 DOWNING ST                                                                                      FLOWER MOUND   TX    75028‐1730
JUAN CARLOS DELGADO LOPEZ                   14740 TEXACO AVE                                                                                     PARAMOUNT      CA    90723‐3315
JUAN CARMAN RANDOLPH                        6707 WINTERSET GARDENS RD                                                                            WINTER HAVEN   FL    33884‐3154
JUAN CASILLAS                               707 CORK STREET                                                                                      SAN FERNANDO   CA    91342‐5410
JUAN CAVAZOS                                2057 IOWA                                                                                            SAGINAW        MI    48601‐5214
JUAN CENTENO                                2715 WILSON                                                                                          LANSING        MI    48906‐2640
JUAN CEPEDA                                 1646 ANTHONY AVE APT 2B                                                                              BRONX          NY    10457‐8025
JUAN CHARLES                                1635 PASADENA                                                                                        SAN ANTONIO    TX    78201‐4324
JUAN COLON                                  512 SOUTH BLVD E                                                                                     TROY           MI    48085‐1203
JUAN DEL BOSQUE                             1034 CAMPBELL ST                                                                                     DETROIT        MI    48209‐2326
JUAN E JIMENEZ                              2554 SHILSHONE CIRCLE                                                                                SAN JOSE       CA    95121‐2711
JUAN ESCOBAR                                729 ROXBURY CT                                                                                       LAKE ORION     MI    48359‐1749
JUAN F BARRIOS                              10345 CAYUGA AVE                                                                                     PACOIMA        CA    91331‐3109
JUAN F CISTERNE                             14611 JACKSON ST                                                                                     TAYLOR         MI    48180‐4746
JUAN F MORALES                              1280 S W 142ND AVENUE                                                                                MIAMI          FL    33184‐2784
JUAN F MORALES                              1432 N GORDON ST                                                                                     HOLLYWOOD      CA    90028‐8409
JUAN F NUNEZ                                9747 S 90TH AVE APT N                                                                                PALOS HILLS    IL    60465‐1055
JUAN FLORES                                 4935 MARTIN RD                                                                                       WARREN         MI    48092‐3492
JUAN G CANTU                                2102 BRADFORD DR                                                                                     ARLINGTON      TX    76010‐4706
JUAN G GARCIA                               774 PINETREE                                                                                         LAKE ORION     MI    48362‐2552
JUAN GALLEGOS                               1815 S 50 CT                                                                                         CICERO         IL    60804‐1920
JUAN GONZALEZ                               22W142 BUENA VISTA DR                                                                                GLEN ELLYN     IL    60137‐6815
JUAN GUERRERO                               35421 YOUNG DR                                                                                       CLINTON TWP    MI    48035‐2390
JUAN H ROMERO                               7000 PHEONIX NE                    SUITE 601                                                         ALBUQUERQUE    NM    87110‐3503
JUAN HERRERA RODRIGUEZ                      1221 S CORNELL AVE                                                                                   FLINT          MI    48505‐1311
JUAN I SUAREZ                               C/O TERESA SUREZ                   20364 TIMES AVENUE                                                HAYWARD        CA    94541‐3724
JUAN J ADAME                                6808 CHERRYTREE DR                                                                                   ARLINGTON      TX    76001‐7827
JUAN J BRIONES                              BOX 31                                                                                               SHERWOOD       OH    43556‐0031
JUAN J CEPERO                               1619 CAMULOS AVE                                                                                     GLENDALE       CA    91208‐2408
JUAN J GUTTERO ATTN FAHNESTOCK & CO INC     125 BROAD ST FL 15                                                                                   NEW YORK       NY    10004‐2400
JUAN J HALL                                 432 MIDWAY AVE                                                                                       PONTIAC        MI    48341‐3331
JUAN J LOPEZ                                1208 EMERALD AVE                                                                                     CHICAGO HTS    IL    60411‐2716
JUAN J MARTINEZ                             8754 S MARQUETTE                                                                                     CHICAGO        IL    60617‐2418
JUAN J PENA                                 872 EMERSON                                                                                          PDNTIAC        MI    48340‐3225
JUAN J VALDEZ                               6120 SOUTH CENTRAL AVENUE                                                                            CHICAGO        IL    60638‐4508
JUAN JOSE LILLO                             PASEO                              CASTELLANA 91            28046 MADRIDE        SPAIN
JUAN JOSE LILLO OVIEDO                      OPEL ITALIA                        PIAZZALE DEL INDS 40     ROME                 ITALY
JUAN L CAMACHO                              2578 CEDAR LAKE ROAD                                                                                 HOWELL         MI    48843‐9673
JUAN L SALAS                                19785 RD 192                                                                                         STRATHMORE     CA    93267‐9788
JUAN L SALINAS                              4704 STOP47A                                                                                         ZAPATA         TX    78076‐2956
JUAN LOPEZ                                  3218 HARLEM AVE                                                                                      RIVERSIDE      IL    60546‐2064
JUAN M ALANIZ                               PO BOX 338                                                                                           POTEET         TX    78065‐0338
JUAN M BANA                                 8917 KILKENNY CIRCLE                                                                                 BALTIMORE      MD    21236‐2025
JUAN M CERVANTES                            GM DE ARGENTINA                    RUTA NACIONAL N9‐KM278   ALVEAR ARGENTINAS2   ARGENTINA
JUAN M GARCIA                               585 HILLVIEW DR                                                                                      MILPTAS        CA    95035
JUAN M GAVIA                                5648 W FISHER                                                                                        DETROIT        MI    48209‐3151
JUAN M GONZALES                             734 3RD ST                                                                                           GRAND RAPIDS   MI    49504‐5125
JUAN M IBARRA                               930 LIONEL CT                                                                                        SPARKS         NV    89434‐8899
JUAN M LEMUS                                4449 STANDING TIMBERS LN                                                                             TOLEDO         OH    43623‐2062
JUAN M LUMBRERAS MATA                       PAN DE AZUCAR 35                   MADRID                                        SPAIN
JUAN M MANTECA                              630 E SAM HOUSTON                                                                                    PHARR          TX    78577‐5542
JUAN M MARTINEZ                             PO BOX 36                                                                                            EDROY          TX    78352‐0036
JUAN M MEDINA                               12132 GRIDLEY RD                                                                                     NORWALK        CA    90650‐7850
JUAN M MONTES                               2726 MARENGO ST                                                                                      LOS ANGELES    CA    90033‐2027
JUAN M MONTI                                RESIDENZA ACERI N 511              MILANO 3 BASIGLIO        20080 MILANO         ITALY
JUAN M PALACIOS                             2841 S WELLS ST                                                                                      CHICAGO        IL    60616‐2777
JUAN M RIVERA                               3917 CAFERRO DR                                                                                      LORAIN         OH    44055‐2648
JUAN M RODRIGUEZ                            1514 W 18TH PLACE                                                                                    CHICAGO        IL    60608‐2802
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                   Part 4 of 8 Pg 410 of 855
Name                                            Address1                            Address2                   Address3       Address4            City            State Zip

JUAN M RODRIGUEZ                                2417 JUNCTION                                                                                     DETROIT         MI    48209‐1344
JUAN M SOLOMON                                  43500 JUBILEE ST                                                                                  CHANTILLY       VA    20152
JUAN M TERAN                                    6024 DEEPDALE WAY                                                                                 ELK GROVE       CA    95758‐6862
JUAN M VAZQUEZ                                  14681 DRUMMOND RD                                                                                 THREE RIVERS    MI    49093‐9254
JUAN M VERA                                     1000 RICHMOND                                                                                     SCHERTZ         TX    78154‐2017
JUAN M YBARRA                                   18443 E BROWN TRACT RD                                                                            RIO HONDO       TX    78583‐3093
JUAN MANUEL LUMBRERAS MATA                      OPEL ESPANA                         91 PCASTELLANA 2ND FLOOR   28046 MADRID   SPAIN
JUAN MARTINEZ                                   4404 POPLAR BROOK DR                                                                              COLORADO SPRINGS CO   80922‐2452

JUAN MUNOZ                                      6451 HORATIO                                                                                      DETROIT         MI    48210‐2370
JUAN N QUINTANA                                 1901 ILFIELD SW                                                                                   ALBUQUERQUE     NM    87105‐7056
JUAN O VILLARREAL                               5280 APPLEWOOD DR                                                                                 FLUSHING        MI    48433‐1193
JUAN OROZCO                                     2076 W 34 PLACE                                                                                   CLEVELAND       OH    44113‐3912
JUAN P ZAVALA                                   5811 S TALMAN                                                                                     CHICAGO         IL    60629‐1517
JUAN PEDRAZA                                    13200 GLAMIS                                                                                      PACOIMA         CA    91331‐3242
JUAN PENA                                       8168 VALLEY HWY                                                                                   VERMONTVILLE    MI    49096‐9536
JUAN QUINTANA                                   682 BAKER RD                                                                                      COLUMBIA        TN    38401‐5557
JUAN R CASTILLO                                 5828 W 64TH ST                                                                                    CHICAGO         IL    60638‐5402
JUAN R GONZALEZ                                 2382 E 27TH STREET                                                                                OAKLAND         CA    94601‐1331
JUAN R LUJAN                                    904 GOLDEN ST                                                                                     COMPTON         CA    90221‐1117
JUAN R QUINONES                                 8577 CAMBRILS AVE                                                                                 LAS VEGAS       NV    89178‐4878
JUAN R ROJAS                                    229 SANTA BARBARA                                                                                 LOS BANOS       CA    93635‐6310
JUAN R SAENZ                                    3 COLT CT                                                                                         MANSFIELD       TX    76062‐5170
JUAN R VAZQUEZ                                  PO BOX 6417                                                                                       MOORE           OK    73153‐0417
JUAN RODELA                                     10045 S UTICA AVE                                                                                 EVERGREEN PK    IL    60805
JUAN S VASQUEZ                                  PO BOX 142                                                                                        HARBERT         MI    49115
JUAN SANDOVAL                                   1110 E GRAND RIVER AVE                                                                            LANSING         MI    48906‐5456
JUAN TREVINO                                    12571 ST MICHAEL                                                                                  HOUSTON         TX    77015‐3352
JUAN V GUERRERO                                 6190 W COURT ST                                                                                   FLINT           MI    48532‐3212
JUAN VALENCIA                                   463 COWELL AVE                                                                                    MANTECA         CA    95336
JUAN VEGA                                       10639 SPRING VIEW RD                                                                              JACKSONVILLE    FL    32221
JUAN VELASQUEZ                                  9631 COLWELL AVE                                                                                  ALLEN PARK      MI    48101‐1312
JUAN VILLARREAL                                 13466 RD 232                                                                                      CECIL           OH    45821‐9423
JUAN Y RUIZ                                     220 DRESDEN                                                                                       PONTIAC         MI    48340‐2519
JUANA E TERRERO                                 ATTN JUANA E FUMAI                  159 NORTH AVE                                                 WESTPORT        CT    06880‐2227
JUANA KIELOR                                    78 SEAWOOD DR                                                                                     KEYPORT         NJ    07735‐5336
JUANA L GRUBBS                                  107 LAKE ESTATES                                                                                  SHAWNEE         OK    74801‐3912
JUANA MARTINEZ                                  9602 DEBRA JOY LN                                                                                 SHREVEPORT      LA    71106‐7511
JUANA NAVARRO                                   24134 STATE HIGHWAY 195                                                                           KILLEEN         TX    76542‐4880
JUANATA D COOK                                  961 S 500 W                                                                                       ANDERSON        IN    46011‐9769
JUANDALI D SCOTT                                16620 MARK TWAIN                                                                                  DETROIT         MI    48235‐4528
JUANETIA HURST                                  21930 MORTON ST                                                                                   OAK PARK        MI    48237‐2930
JUANICE M LOTT & RAYBURN W LOTT JT TEN          208 MAPLE HILL RD                                                                                 LEBANON         TN    37087‐2436
JUANITA A ABALOS                                3343 N WOODSON AVE                                                                                FRESNO          CA    93705‐3140
JUANITA A GOODROW                               125 BURNT TREE DR                                                                                 GUYTON          GA    31312‐5155
JUANITA A GRESH                                 9339 CLEVELAND ST                                                                                 CROWN POINT     IN    46307‐1849
JUANITA ATKINSON                                685W HIGHTOWER TRAIL                                                                              SOCIAL CIRCLE   GA    30025‐3903
JUANITA B ESHENBAUGH                            3811 KOLBE RD                                                                                     LORAIN          OH    44053‐1612
JUANITA B GOSIOCO & DENNIS GOSIOCO & LOLITA F   PO BOX 32326                                                                                      DETROIT         MI    48232‐0326
GOSIOCO JT TEN
JUANITA B MOSHER                                1906 CHUKAR                                                                                       FLORESVILLE     TX    78114‐2812
JUANITA B NELSON                                #602                                2016 MAIN                                                     HOUSTON         TX    77002‐8843
JUANITA B PARKER                                ATT JAY                             548 DALMENY HILL NW        CALGARY AB     T3A 1T6 CANADA
JUANITA BENES                                   8471 OCTAVIA                                                                                      BRIDGEVIEW      IL    60455‐1724
JUANITA BETTS                                   11227 S NORMAL                                                                                    CHICAGO         IL    60628‐4739
JUANITA BRADLEY                                 18060 BELAND                                                                                      DETROIT         MI    48234‐3838
JUANITA BREZZELL                                3900 HAMMERBERG RD                  APT 222                                                       FLINT           MI    48507‐6025
JUANITA BROWN                                   2402 ALTISMA WAY                    #F                                                            LA COSTA        CA    92009‐6332
JUANITA BROWN                                   122 CIRCLE ROAD                                                                                   WHITNEY         TX    76692‐7519
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 411 of 855
Name                                                Address1                               Address2              Address3         Address4          City            State Zip

JUANITA C ANTIS                                     2530 ST RT 266                                                                                  STOCKPORT       OH    43787‐9354
JUANITA C BROWN                                     3103 CHURCH STREET                                                                              MONROE          LA    71201‐8220
JUANITA C MUIR                                      5463 DAVIS‐PECK ROAD                                                                            FARMDALE        OH    44417‐9766
JUANITA C QUINN TR JUANITA C QUINN TRUST UA         6800 S GRANITE AVE                     APT 635                                                  TULSA           OK    74136‐7091
10/2/95
JUANITA C SANCHEZ                                   58 BAILEY RD                                                                                    HILTON          NY    14468
JUANITA C WALDEN & VIRGINIA ELAINE BROYLES JT TEN   216 E JACKSON ST                                                                                GEORGETOWN      KY    40324‐1616

JUANITA C WHITE SHERIDAN                            7988 DEAN ROAD                                                                                  INDIANAPOLIS    IN    46240‐2914
JUANITA CLEMONS SOLOMON                             2007 WEYMOUTH DR                                                                                ALBANY          GA    31707‐2832
JUANITA COLEMAN                                     C/O RONALD COLEMAN                     6476 OAKMAN BLVD                                         DETROIT         MI    48228‐4024
JUANITA CRAIL                                       BOX 75                                 205 N WASHINGTON ST                                      ARCADIA         IN    46030‐0075
JUANITA D BRADFORD                                  167 LITTLE HUBBARD RD                                                                           CHARLESTON      MS    38921‐9209
JUANITA D ELLIOT                                    3623 GRAFTON AVE                                                                                COLUMBUS        OH    43220‐5022
JUANITA D JEFFERSON                                 1702 SE 62ND                                                                                    OKLAHOMA CITY   OK    73149‐5127
JUANITA D KOON                                      484 SEAGRIST RD                                                                                 HALE            MI    48739‐9109
JUANITA D WHARTON                                   3720 KARLIN AVE                                                                                 NORFOLK         VA    23502‐3320
JUANITA D WHARTON & NATHANIEL WHARTON JT TEN        3720 KARLIN AVE                                                                                 NORFOLK         VA    23502‐3320

JUANITA DEMPS                                    906 W HILLSDALE                                                                                    LANSING         MI    48915‐1644
JUANITA E ACANTILADO                             7839 WEST 73RD PLACE                                                                               BRIDGEVIEW      IL    60455‐1157
JUANITA E HAMAS                                  1728 ROBERTS LN NE                                                                                 WARREN          OH    44483‐3622
JUANITA E PORTER                                 1840 WOOSTER S E                                                                                   GRAND RAPIDS    MI    49506‐4951
JUANITA F SWATOS TR UA 12/09/88 JUANITA F SWATOS TWO OAK BROOK CLUB DR #C203                                                                        OAK BROOK       IL    60523‐1332
TRUST
JUANITA FREEMAN                                  223 SAWYER                                                                                         LA GRANGE       IL    60525‐2541
JUANITA G CULVERSON & ROY W CULVERSON JT TEN     13305 S TREECE RD                                                                                  FORT SMITH      AR    72916‐8232

JUANITA G HARRIS                                    425 JOYCE DRIVE                                                                                 FLUSHING        MI    48433‐1378
JUANITA G HAWES                                     26 INWOOD DR                                                                                    CROSSVILLE      TN    38558‐2843
JUANITA GETTYS                                      30767 DIVISION                         PO BOX 201                                               NEW HAVE        MI    48048‐2712
JUANITA GONZALES                                    14944 HALLER                                                                                    LIVONIA         MI    48154‐4016
JUANITA GRANDE TR JUANITA GRANDE LIVING TRUST       2750 E FOSTER‐MAINEVILLE ROAD                                                                   MORROW          OH    45152
UA 08/06/97
JUANITA GREEN                                       597 JOSEPHINE                                                                                   DETROIT         MI    48202‐1813
JUANITA H KELLY & DEBORAH C STEVENSON & JAMES T     RT 3 BOX 1204                                                                                   DARDANELLE      AR    72834‐9658
KELLY JT TEN
JUANITA H WARNOCK                                   6912 DUNCAN CIRCLE                                                                              FORT SMITH      AR    72903‐2820
JUANITA H WARNOCK & DARRELL D WARNOCK JT TEN        6912 DUNCAN CIRCLE                                                                              FORT SMITH      AR    72903‐2820

JUANITA HAYNES                                      9330 EMERALD                                                                                    CHICAGO         IL    60620‐2743
JUANITA HILL                                        PO BOX 1195                                                                                     BOWLING GREEN   FL    33834‐1195
JUANITA HOLDEN                                      3 FIRELITE LN                                                                                   PONTIAC         MI    48340‐1623
JUANITA HUDSON                                      2738 BROWNELL BLVD                                                                              FLINT           MI    48504‐2718
JUANITA I MASON                                     9726 TREVOR DR                                                                                  DALLAS          TX    75243‐2316
JUANITA J ADAMS                                     4786 CAMBRIDGE DRIVE                                                                            DUNWOODY        GA    30338‐5004
JUANITA J DALY                                      3201 WOODROW                                                                                    FLINT           MI    48506‐3036
JUANITA J HUDDLESTON                                649 E PULASKI                                                                                   FLINT           MI    48505‐3382
JUANITA J WELCHER                                   914 MAIN ST                                                                                     ELWOOD          IN    46036‐1958
JUANITA K COPELAND                                  7570 TUSCOLA DR                                                                                 DAYTON          OH    45426‐3830
JUANITA K HARDY                                     7570 TUSCOLA DR                                                                                 TROTWOOD        OH    45426‐3830
JUANITA K HAWK & RODNEY D HAWK JT TEN               202 PETTIGREW DR                                                                                SAVANNAH        GA    31411‐1610
JUANITA KING & JONATHAN A KING JT TEN               1640 SHEFFIELD DR                                                                               YPSILANTI       MI    48198‐3669
JUANITA L BELL & ROBERT R BELL SR JT TEN            9349 DEBBY JO                                                                                   CLARKSTON       MI    48346‐1823
JUANITA L BRENNAN                                   833 SHERRY DR                                                                                   LAKE ORION      MI    48362‐2869
JUANITA L CLICK & VALERIE GALE COOPER & CRISSTEN    8344 GRINNELL WAY                                                                               SACRAMENTO      CA    95826‐2934
RAINTREE JT TEN
JUANITA L ELLIOTT                                   3623 GRAFTON AVE                                                                                COLUMBUS        OH    43220‐5022
JUANITA L JESTER                                    2140 MILESTONE DR                      APT 302                                                  FINDLAY         OH    45840‐7352
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 412 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

JUANITA L JONES                                  4234 HIGDON DRIVE                                                                             MURFREESBORO    TN    37128‐4749
JUANITA L SMITH                                  3519 N GERRARD AVE                                                                            INDIANAPOLIS    IN    46224‐1426
JUANITA L STROZIER                               4302 FARNUM                                                                                   INKSTER         MI    48141‐2768
JUANITA L TOLBERT                                23191 COVENTRY WOODS                                                                          SOUTHFIELD      MI    48034‐5165
JUANITA LAMB PER REP EST CHARLES C TAYLOR        121 B 23RD AVE SW                                                                             LARGO           FL    33778
JUANITA LARKIN                                   111 EDISON AVE                                                                                BUFFALO         NY    14215‐3563
JUANITA LAWSON                                   352 STAHR RD                                                                                  FANCY FARM      KY    42039
JUANITA LECHUGA                                  15531 MC KEEVER ST                                                                            MISSION HILLS   CA    91345‐1332
JUANITA LOPRESTI                                 RR #1 BOX 365                                                                                 GREENUP         KY    41144‐9709
JUANITA LOUISE COYLE & BRADFORD ROST COYLE JT    2328 GOODWOOD BLVD SE                                                                         SMYRNA          GA    30080‐8207
TEN
JUANITA M BRANTLEY                               3708 ORLEANS DR                                                                               KOKOMO          IN    46902‐4344
JUANITA M BRIGGS                                 7331 REDRIFF                                                                                  WEST BLOOMFIELD MI    48323‐1060

JUANITA M BROOKS                                 3432 COUNTRY WAY RD                                                                           ANTIOCH         TN    37013‐4913
JUANITA M CARDER TR JUANITA M CARDER REV TRUST   10838 HIGHWAY 81                                                                              UTICA           KY    42376‐9739
UA 06/20/95
JUANITA M DUNHAM                                 371 FERNWAY DR                                                                                HAMILTON        OH    45011‐1956
JUANITA M EURICH & JEANNE M BOETTCHER JT TEN     3421 SOUTHGATE                                                                                FLINT           MI    48507‐3222

JUANITA M FRANKLIN & NOVELLA M FRANKLIN &       6072 CROWN POINT                                                                               FLINT           MI    48506‐1647
RHONDA F MCKEE JT TEN
JUANITA M HALL                                  3600 B‐HIGH MEADOWS                                                                            WINSTON SALEM   NC    27106‐4348
JUANITA M KACANOWSKI & JAMES F KACANOWSKI SR JT 41535 JANET CIRCLE                                                                             CLINTON TWP     MI    48038
TEN
JUANITA M KAYLOR                                167 VILLAGE TRAIL DR                                                                           VANDALIA        OH    45377‐9696
JUANITA M MAYORGA                               2539 E 900 N                                                                                   ROANOKE         IN    46783‐9141
JUANITA M MULLINS                               4153 MC CLAY ROAD                                                                              SAINT CHARLES   MO    63304‐7962
JUANITA M PETZOLD                               11507 BAIRD AVENUE                                                                             NORTHRIDGE      CA    91326‐1907
JUANITA M REEVES                                1740 E NEWBERG                                                                                 PINCONNING      MI    48650‐9483
JUANITA M TALLY                                 2208 BOHLER RD NW                                                                              ATLANTA         GA    30327
JUANITA M THOMPSON & DAVID L THOMPSON JT TEN 15787 MARILYN                                                                                     PLYMOUTH        MI    48170‐4870

JUANITA M TUBEK & SUZAN M CLARK JT TEN           137 MIKADO ST                                                                                 GRAYLING        MI    49738‐1923
JUANITA MARIE HUGHES                             54 QUAIL HOLLOW DR                                                                            SAN JOSE        CA    95128‐4531
JUANITA MARIE VANCE                              1452 CAVE MILL RD                                                                             BOWLING GREEN   KY    42104
JUANITA MARTIN                                   509 WEST LORADO AVE                                                                           FLINT           MI    48505‐2092
JUANITA MASSIATT                                 1894 MOUNT PELLIER ST                                                                         TRACY           CA    95304‐5945
JUANITA MATTHEWS                                 105 RIVA RIDGE                                                                                WYLIE           TX    75098‐8256
JUANITA MCCRAREY                                 352 MEADOW CREST DRIVE                                                                        SOMERSET        KY    42503‐6245
JUANITA MCCRAREY & FRED V MCCRAREY JT TEN        352 MEADOW CREST DRIVE                                                                        SOMERSET        KY    42503‐6245
JUANITA MCGARVEY                                 PO BOX 272                                                                                    VERMILION       OH    44089‐0272
JUANITA MCREYNOLDS                               20150 HOUGHTON ST                                                                             DETROIT         MI    48219‐1274
JUANITA MELTON & VERSIE R MELTON JT TEN          5079 SHADY OAK TRL                                                                            FLINT           MI    48532‐2359
JUANITA MOORE                                    16996 GEORGE WASHINGTON DR                                                                    SOUTHFIELD      MI    48075‐2922
JUANITA MULLINS                                  24 AMELIA OLIVE BR RD APT 80                                                                  AMELIA          OH    45102‐1589
JUANITA N GARNER                                 7125 CLINTONVILLE RD                                                                          CLARKSTON       MI    48348‐4923
JUANITA N OKEEFFE                                1992 TALAMORE CT                                                                              GRAND RAPIDS    MI    49546‐9016
JUANITA N WITHERSPOON                            4860 S CROSSINGS                                                                              SAGINAW         MI    48603
JUANITA NORMAN                                   244 MURRAY FORK DR                                                                            FAYETTEVILLE    NC    28314‐0917
JUANITA P BIVENS                                 2691 LUTHERAN CHURCH RD                                                                       NEW LEBANON     OH    45345‐9367
JUANITA P DUNN                                   1328 LAKE AVE                                                                                 KANSAS CITY     MO    64109‐1233
JUANITA P DUNN & JEANENE S DUNN JT TEN           1328 LAKE AVE                                                                                 KANSAS CITY     MO    64109‐1233
JUANITA P FOXX                                   3200 MURRAYHILL DR                                                                            SAGINAW         MI    48601‐5635
JUANITA P FOXX & EDDIE F FOXX JT TEN             3200 MURRAY HILL DR                                                                           SAGINAW         MI    48601‐5635
JUANITA P MASTERS                                109B MADDOX RD                                                                                BUFORD          GA    30518‐3654
JUANITA P WILSON                                 100 HOBBY FARM RD                                                                             CLINTON         MS    39056‐2260
JUANITA PENA                                     20258 WELLESLEY                                                                               RIVERVIEW       MI    48192‐7938
JUANITA PETKOSH                                  ATTN ANN CORTEZ                      145 W MAIN ST                                            NORWALK         OH    44857‐2085
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 413 of 855
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

JUANITA PUTNAM                                    3090 MEMOREAL DR                                                                               KLAMATH FALLS    OR    97601‐5573
JUANITA R DEVOE                                   1472 WESTERRACE DR                                                                             FLINT            MI    48532‐2438
JUANITA R LAND                                    5040 S HIGHWAY 32                                                                              EL DORADO SPG    MO    64744‐8312
JUANITA R NUNLEY                                  4421 ALKIRE ROAD                                                                               COLUMBUS         OH    43228‐3412
JUANITA R STUBBS                                  8625 BOOMERSHINE RD                                                                            GERMANTOWN       OH    45327‐9754
JUANITA RIVERA                                    2887 E WATTLES RD                                                                              TROY             MI    48085‐3733
JUANITA ROBERTS                                   443 S JESSIE                                                                                   PONTIAC          MI    48341‐3020
JUANITA ROMO                                      125 NORTH GUERRA                                                                               WESLACO          TX    78596‐6327
JUANITA ROSS                                      PO BOX 892                                                                                     BELLEVILLE       MI    48112‐0892
JUANITA RUEDA                                     1701 BUHRER AVE                                                                                CLEVELAND        OH    44109‐1748
JUANITA RUIZ                                      813 NEW YORK AVE                                                                               LINCOLN PARK     MI    48146‐3154
JUANITA RUSSELL                                   1472 BENSON DRIVE                                                                              DAYTON           OH    45406‐4609
JUANITA S AMMERMAN                                4758 S 200 E                                                                                   ANDERSON         IN    46017‐9701
JUANITA S BAXLEY                                  ROUTE 2 BOX 83                                                                                 NORTH AUGUSTA    SC    29841‐9802
JUANITA S LATTA TR THE JUANITA S LATTA TRUST UA   150 COUNTY ROAD 1562                                                                           CULLMAN          AL    35058
08/02/02
JUANITA S MCQUISTON                               273 SUMMERSET DR                                                                               PUNTA GORDA      FL    33982‐8318
JUANITA SAMBRANO                                  2211 CLEOPHUS                                                                                  LINCOLN PARK     MI    48146‐2210
JUANITA SAYLES BRIAN                              8618 AUTUMN SUNSET                                                                             SAN ANTONIO      TX    78239‐2601
JUANITA SEBASTIAN                                 5019 BETSY DRIVE                                                                               FRANKLIN         OH    45005‐5044
JUANITA SHEPHERD                                  1616 GOLF HILL DR                                                                              JEFFERSONVILLE   IN    47130‐7558
JUANITA SKINNER                                   5605 EDWARD AVE                                                                                FLINT            MI    48505‐5130
JUANITA SMITH                                     1813 HIGH VISTA COURT                                                                          FORT WORTH       TX    76112‐4517
JUANITA STANLEY                                   2285 S WALNUT DR                                                                               SAINT ALBANS     WV    25177‐3979
JUANITA STEVENS                                   751 HILL CREST DR                                                                              EATON            OH    45320‐8502
JUANITA T ONEY                                    5540 ALERT NEW LONDON RD                                                                       HAMILTON         OH    45013‐9248
JUANITA TOLBERT & JOHN D TOLBERT JT TEN           23191 COVENTRY WOODS                                                                           SOUTHFIELD       MI    48034‐5165
JUANITA V CUTTER                                  4110 ROADAYLE DR                                                                               ROSEVILLE        OH    43777‐9568
JUANITA V LENSON                                  PO BOX 590                                                                                     LANSDALE         PA    19446‐0590
JUANITA V MILAM & BRENDA M SLACK JT TEN           1907 PARK AVE                                                                                  BELLE            WV    25015‐1338
JUANITA VANN                                      3615 EVERGREEN PKWY                                                                            FLINT            MI    48503‐4529
JUANITA VIRGINIA ANDERSON                         4301 VANCE RD                                                                                  FORT WORTH       TX    76180‐8187
JUANITA W AUTREY                                  12672 ABINGTON                                                                                 DETROIT          MI    48227‐1202
JUANITA W BURNETT                                 4830 ROCKY RIVER RD                                                                            CHATTANOOGA      TN    37416‐3137
JUANITA W MARTIN                                  513 MANUEL RD                                                                                  MAYODAN          NC    27027‐8107
JUANITA W MCELWEE                                 5300 FEDERAL AVE S W                                                                           NEWTON FALLS     OH    44444‐1826
JUANITA W NALEY WAGNER & ROBERT C WAGNER JT       32725 ALVIN                                                                                    GARDEN CITY      MI    48135‐3214
TEN
JUANITA W NALEY‐WAGNER                            32725 ALVIN                                                                                    GARDEN CITY      MI    48135‐3214
JUANITA WARRICK‐WILLIAMS                          839 BRINKWOOD ROAD                                                                             BALTIMORE        MD    21229‐1415
JUANITA WATKINS                                   2384 KENWOOD DRIVE                                                                             ADRIENE          MI    49221‐3629
JUANITA WATSON & ROBERT MYERS JT TEN              18675 MENDOTA                                                                                  DETROIT          MI    48221
JUANITA WEAVER                                    33 AUCKLAND DR                                                                                 NEWARK           DE    19702‐6201
JUANITA WHITAKER                                  630 MAYFIELD RD PO BOX 61             WINDSOR TWP                                              WINDSOR          OH    44099
JUANITA WHITE                                     10701 OLD DAYTON ROAD                                                                          NEW LEBANON      OH    45345‐9687
JUANITA WILLIAMS                                  2570 W WALTON BLVD                                                                             WATERFORD        MI    48329‐4438
JUANITA WRIGHT                                    3055 TONEY DRIVE                                                                               DECATUR          GA    30032‐5705
JUAQUENN D GUNN                                   PO BOX 1023                                                                                    TAYLOR           MI    48180‐5423
JUAQUIN ROMERO                                    2248 KAISER RD                                                                                 PINCONNING       MI    48650‐7461
JUAQUIN S ALMEIDA                                 30 FIRST AVENUE                                                                                CUMBERLAND       RI    02864‐1834
JUATHIA A EDDINGER                                PO BOX 385                                                                                     FRANKLIN         PA    16323‐0385
JUBENTINO CASAREZ                                 319 32ND STREET                                                                                GRAND RAPIDS     MI    49548
JUBONG PARK                                       13708 MANOR DRIVE                                                                              LEAWOOD          KS    66224‐4508
JUDAH ROSENBAUM CUST RAFI ROSENBAUM UTMA NJ       473 MAITLAND AVE                                                                               TEANECK          NJ    07666

JUDD F GARRISON & IRENE I GARRISON JT TEN         3199 E BELTLINE NE                                                                             GRAND RAPIDS     MI    49525‐9781
JUDD P DRYER & MARION DRYER JT TEN                PO BOX 271                                                                                     ROSE CITY        MI    48654‐0271
JUDE F BROWN                                      3505 EVERTON STREET                                                                            SILVER SPRING    MD    20906‐4120
JUDE F BROWN & JOAN L BROWN JT TEN                3505 EVERTON ST                                                                                SILVER SPRING    MD    20906‐4120
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 414 of 855
Name                                                Address1                             Address2             Address3          Address4          City            State Zip

JUDE H PLAUCHE                                      1102 GREENBRIOR LANE                                                                          ARLINGTON       TX    76013
JUDE P ZANITSCH                                     1126 MEDFORD                                                                                  HARVESTER       MO    63303‐6402
JUDE T WRINN & THOMAS WRINN JT TEN                  1040 WASHINGTON ST EXT                                                                        MIDDLETOWN      CT    06457‐2913
JUDE W THERIOT                                      BOX 6373                                                                                      LAKE CHARLES    LA    70606‐6373
JUDEAN B SANDERS                                    PO BOX 483                                                                                    MT MORRIS       MI    48458‐0483
JUDEANE M RUSSELL                                   333 W ST JOE HWY                                                                              GRAND LEDGE     MI    48837
JUDEEN NIEBAUER                                     4498 CONEFLOWER COURT                                                                         MIDDLETON       WI    53562
JUDGE ARNOLD SIMPSON                                3710 TARLTON MILL RD                                                                          MARSHVILLE      NC    28103‐9638
JUDGE BAMBERGER JR                                  55 MORTON PLACE                                                                               EAST ORANGE     NJ    07017‐1901
JUDGE J CONNELLY                                    217 THRASHER WAY                                                                              EL COJON        CA    92020‐2633
JUDI B HENNINGER                                    81 PINEVIEW DR                                                                                AUSTINTOWN      OH    44515‐1032
JUDI FIDLER & JAMES FIDLER JT TEN                   1723 PINE VALLEY DR                                                                           MELBOURNE       FL    32935
JUDI FRIDAY                                         1040 PASEO DEL PUEBLO SUR                                                                     TAOS            NM    87571‐5968
JUDI L CRAWFORD TR UA 02/03/07 SYLVESTER COIL       3620 BURWOOD LN                                                                               HIGHLAND        MI    48357
LIVING TRUST
JUDI L WRIGHT & NANCY WRIGHT JT TEN                 4 HERMITAGE LANE                                                                              NEWPORT BEACH   CA    92660‐5212
JUDI MC WHERTER                                     55 RICHARDS AVE                                                                               ONEONTA         NY    13820‐1143
JUDI SMITH                                          1339 PARKWAY CT                                                                               HOUSTON         TX    77077‐1439
JUDI‐LEE WEBB                                       4660 CREEKSIDE VILLAS WAY                                                                     SMYRNA          GA    30082
JUDIE BITTON                                        738 CHANTRY CIR                                                                               SIMI VALLEY     CA    93065‐5547
JUDIE H CROISANT                                    HC 68 BOX 1483‐5                                                                              VIAN            OK    74962
JUDITH A ADAMS                                      35421 CLEREMONT DR                                                                            NEWARK          CA    94560‐1102
JUDITH A ANDERSON                                   1590 LAKE BLAINE RD                                                                           KALISPELL       MT    59901
JUDITH A ARENDT                                     6151 PALM SUMMIT CIR                                                                          CICERO          NY    13039‐8347
JUDITH A ARGERSINGER                                ROUTE 3                              2150 E FRENCH RD                                         ST JOHNS        MI    48879‐9441
JUDITH A ARNOLD                                     31 WILD CAT LN                                                                                ORMOND BEACH    FL    32174‐3074
JUDITH A ATWOOD                                     414 BENTLEY DR                                                                                MONROE          MI    48162‐3358
JUDITH A BARRON                                     22 WHITE BIRCH DRIVE                                                                          MORRISTOWN      NJ    07960‐2717
JUDITH A BARRON & JOSEPH E BARRON JT TEN            22 WHITE BIRCH DRIVE                                                                          MORRISTOWN      NJ    07960‐2717
JUDITH A BAYLESS                                    5041 DAYTON LIBERTY RD                                                                        DAYTON          OH    45418‐1947
JUDITH A BEAUDRY                                    5544 S KILDARE                                                                                CHICAGO         IL    60629‐4831
JUDITH A BENNETT                                    19731 S CENTRAL POINT RD                                                                      OREGON CITY     OR    97045‐9705
JUDITH A BERZENY                                    4661 RICHWOOD DRIVE                                                                           DAYTON          OH    45439‐3037
JUDITH A BISHOP                                     1106 MAUMEE AVE                                                                               MANSFIELD       OH    44906‐2949
JUDITH A BLAIR                                      2114 AITKEN AVE                                                                               FLINT           MI    48503‐5801
JUDITH A BLOOMING                                   31415 HARTFORD                                                                                WARREN          MI    48093‐7308
JUDITH A BLOWERS                                    5399 FLINTROCK DR                                                                             CLIMAX          MI    49034‐9782
JUDITH A BOSSIDY TR UW OF THOMAS L BOSSIDY          1693 ASHTON ABBEY ROAD                                                                        CLEAR WATER     FL    33755‐1302
JUDITH A BROOKE                                     68 BROADMORE LANE                                                                             ROTONDA WEST    FL    33947
JUDITH A BROWN                                      3599 E CO RD 250 N                                                                            KOKOMO          IN    46901
JUDITH A BROWN & JOHN A BROWN JT TEN                12238 E D AVE                                                                                 RICHLAND        MI    49083‐9642
JUDITH A BURGESS                                    10117 IDLEWOOD PL                                                                             RIVER RIDGE     LA    70123‐1528
JUDITH A CALABOYIAS & WILLIAM J CALABOYIAS JT TEN   735‐B E OAKMONT BLVD                                                                          JOHNSTOWN       PA    15904‐1709

JUDITH A CALL                                  127 BRIDLEWOOD DR                                                                                  LOCKPORT        NY    14094‐4831
JUDITH A CAMERON                               12205 GOSHEN LOT 143                                                                               SALEM           OH    44460‐9153
JUDITH A CARLISLE TR BY JUDITH A CARLISLE UA   7709 CEDAR CANYON PL NE                                                                            ALBUQUERQUE     NM    87122‐1631
06/21/94
JUDITH A CATHCART                              3 CORONADO DR                             P O BOX 5543                                             NEW CASTLE      PA    16105
JUDITH A CHAMBERLAIN TR JUDITH ANN CHAMDERLAIN PO BOX 141                                                                                         HARSENS IS      MI    48028‐0141
TRUST UA 06/14/00
JUDITH A CHESTNUT                              29 WILBUR ST                                                                                       NORTH EASTON    MA    02356‐1809
JUDITH A CHRISTENSEN                           7134 WILSON ROAD                                                                                   MONTROSE        MI    48457‐9196
JUDITH A COLSTON                               3556 SUTTON RD                                                                                     DRYDEN          MI    48428‐9734
JUDITH A COMERFORD                             1420 WOODBRIDGE #1‐C                                                                               JOLIET          IL    60436‐1368
JUDITH A CONDRON                               6363 N MC KINLEY                                                                                   FLUSHING        MI    48433‐2900
JUDITH A COX                                   7563 EMERALD GARDENS CIR                                                                           LAS VEGAS       NV    89123‐0522
JUDITH A DALESSIO                              C/O J D NOCK                              2223 ELDER DR                                            WILM            DE    19808‐3351
JUDITH A DANKO                                 2800 JEANETTA DR APT 803                                                                           HOUSTON         TX    77063‐4035
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 415 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JUDITH A DAVIS                                   102 LAMPLIGHTER WAY                                                                             O FALLON           MO    63368‐7323
JUDITH A DAVIS ASH & ELIZABETH ASH JT TEN        BOX 243                                                                                         LEE                FL    32059‐0243
JUDITH A DAWSON                                  1313 BAUGH DR                                                                                   NORMAL             IL    61761‐3203
JUDITH A DEHRING                                 10330 EATON ST                                                                                  WESTMINSTER        CO    80020
JUDITH A DICKERSON                               4980 NW 186TH AVE                                                                               PORTLAND           OR    97229‐2006
JUDITH A DIMAIO                                  344 HAMILTON ST                                                                                 RAHWAY             NJ    07065‐3325
JUDITH A DINGLEY                                 651 BARBER ROAD‐BSL                                                                             SOUTHPORT          NC    28461
JUDITH A DOCHERTY                                26821 REAUME ST                                                                                 TRENTON            MI    48183‐4346
JUDITH A DONAHOE                                 1618 WYNBRICK DR                                                                                LIBERTY            MO    64068‐2981
JUDITH A DORAN‐MALECKE                           13139 GALWAY CT                                                                                 SOUTH LYON         MI    48178‐9562
JUDITH A DORR                                    2802 SW POLK CITY CT                                                                            ANKENY             IA    50023‐6237
JUDITH A DRUMSTA                                 6368 E MORGAN CIR                                                                               WESTLAND           MI    48185‐5834
JUDITH A DUKE TR JUDITH A DUKE REVOCABLE TRUST   2750 HUNT CREEK RD                                                                              LEWISTON           MI    49756‐8149
UA 10/31/05
JUDITH A DUMKE                                   7302 COUNTY ROAD 15                                                                             CHESAPEAKE       OH      45619‐7841
JUDITH A DUPERRY                                 267 LOUISIANA AVE                                                                               BRISTOL          CT      06010‐4459
JUDITH A EDWARDS                                 8530 MARTIN RD                                                                                  DILLSBORO        IN      47018‐8918
JUDITH A EISCHER                                 2832 HANGING ROCK DR                                                                            LAS VEGAS        NV      89134‐7318
JUDITH A ENZINNA                                 863 WILLOW ST                                                                                   LOCKPORT         NY      14094
JUDITH A EPPERT                                  314 1/2 W SHEYENNE RD                                                                           COLORADO SPGS    CO      80906
JUDITH A FARMER                                  310 KELLOGG                                                                                     HOWELL           MI      48843
JUDITH A FEENSTRA                                C/O JUDITH A YOUNG                     22721 CLEAR LAKE                                         FARMINGTON HILLS MI      48335‐3835

JUDITH A FEGER & JOSEPH K FEGER JT TEN           33834 RYAN ROAD                                                                                 STERLING HEIGHTS   MI    48310‐6303

JUDITH A FORTENBACH                              PO BOX 624                                                                                      HIGHLAND LAKES     NJ    07422‐0624
JUDITH A FOSTER                                  3205 PINE VIEW DR                                                                               PENN YAN           NY    14527‐8986
JUDITH A FRAZIER                                 111 COLLINS AVE                                                                                 MERIDEN            CT    06450‐4449
JUDITH A FREE                                    4010 MARJEF PL APT A                                                                            BALTIMORE          MD    21236‐4513
JUDITH A FRENAK & EDWARD J FRENAK JT TEN         2136 WARRINGTON ROAD                                                                            ROCHESTER HILLS    MI    48307‐3770
JUDITH A GARRETT                                 31 SAMSTAG AVE                                                                                  OSSINING           NY    10562‐1924
JUDITH A GARZA                                   1167 ANZIO LANE                                                                                 FLINT              MI    48507‐4001
JUDITH A GATHARD                                 7704 JANEL CT                                                                                   INDIANAPOLIS       IN    46237‐9322
JUDITH A GENOTTI                                 9830 BIRDIE DR                                                                                  STANWOOD           MI    49346‐9786
JUDITH A GEORGE                                  986 ELLA ST                                                                                     BRIDGEVILLE        PA    15017‐2540
JUDITH A GEORGE & RICHARD E GEORGE JT TEN        986 ELLA ST                                                                                     BRIDGEVILLE        PA    15017‐2540
JUDITH A GERBER                                  801 N WAHNETA ST                       APT 31                                                   ALLENTOWN          PA    18109‐2413
JUDITH A GILLAM                                  1637 OAKWOOD DR APT S‐203                                                                       PENN VALLEY        PA    19072‐1006
JUDITH A GODFREY                                 1329 SW 77TH PL                                                                                 OKLAHOMA CITY      OK    73159‐5320
JUDITH A GOFF                                    201 EAST ELIZABETH ST                  APT 209                                                  FENTON             MI    48430‐1588
JUDITH A GORNEY                                  8685 S GERA RD                                                                                  BIRCH RUN          MI    48415‐9717
JUDITH A GOS                                     1866 S SHERIDAN AVE                                                                             LENNON             MI    48449‐9619
JUDITH A GRAF                                    106 FARRAGUT WAY 366                                                                            KENNEBUNK          ME    04043
JUDITH A GRAHAM                                  1051 SITE DR #177                                                                               BREA               CA    92821‐2140
JUDITH A GRAHAM                                  2220 DEVONSHIRE                                                                                 BLOOMFIELD HS      MI    48302‐0623
JUDITH A GREEN                                   1500 EAST I‐10 SERVICE ROAD #81                                                                 SLIDELL            LA    70461‐5525
JUDITH A GREUTER                                 620 COVENTRY PL                                                                                 AMHERST            OH    44001‐2141
JUDITH A HACKET                                  625 N PENNSYLVANIA AVE                                                                          LANSING            MI    48912‐1519
JUDITH A HAHN                                    3202 ALLNESS LANE                                                                               HERNDON            VA    20171‐3324
JUDITH A HAINES                                  1165 BATES ST                                                                                   BIRMINGHAM         MI    48009‐1901
JUDITH A HALE                                    31950 CAMBRIDGE DR                                                                              LIVONIA            MI    48154‐3187
JUDITH A HALL                                    2345 ENTERPRISE RD                                                                              WEST ALEXANDRIA    OH    45381‐9558

JUDITH A HALL                                    223 TARA GLEN DR                                                                                DELAWARE           OH    43015‐7075
JUDITH A HAMPTON                                 345 HILL VALLEY DRIVE                                                                           JULIAN             WV    25529‐9602
JUDITH A HANNA                                   69 GATEWAY RD                                                                                   POTTSBORO          TX    75076‐3232
JUDITH A HAYS                                    C/O NEILD                              521 E DIVISON RD                                         VEEDERSBURG        IN    47987‐8312
JUDITH A HEICHEL                                 5951 W SEYMOUR LAKE ROAD                                                                        OXFORD             MI    48371‐4153
JUDITH A HEICHELBECH                             744 ROCKY W CR                                                                                  BEDFORD            IN    47421‐8503
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 416 of 855
Name                                              Address1                                Address2                    Address3   Address4          City               State Zip

JUDITH A HEIZER                                   3375 PARKBROOK DRIVE                                                                             GROVE CITY         OH    43123‐4810
JUDITH A HELFGOTT                                 944 EUCLAIRE AVE                                                                                 COLUMBUS           OH    43209
JUDITH A HENSLEY                                  2904 W 25TH ST                                                                                   ANDERSON           IN    46011‐4612
JUDITH A HICKS                                    C/O JUDITH LYKINS                       5011 N C R 550 W                                         MUNCIE             IN    47304‐3456
JUDITH A HINSCH                                   7200 NW 2ND AVE                         #31                                                      BOCA RATON         FL    33487‐2339
JUDITH A HOLTZ                                    3360 CHARLWOOD                                                                                   ROCHESTER HILLS    MI    48306‐3618
JUDITH A HOLTZ CUST ETHAN R HOLTZ UGMA MI         6003 GLEN EAGLES DR                                                                              WEST BLOOMFIELD    MI    48323‐2211

JUDITH A HORNER                                   3808 WARWICK DRIVE                                                                               ROCHESTER HILLS    MI    48309‐4717
JUDITH A HOUSE                                    ATTN JUDITH A FOLEY                     2966 MEDITERRANEAN LOOP                                  TAVARES            FL    32778
JUDITH A HUEBER                                   46 MINARD ST                                                                                     LOCKPORT           NY    14094‐4833
JUDITH A IURLANO‐DIETZ & JEFFREY DIETZ JT TEN     353 KITTANNING PIKE                                                                              PITTSBURGH         PA    15215‐1117
JUDITH A JACKSON                                  1773 LARCHMONT AVE NE                                                                            WARREN             OH    44483‐3503
JUDITH A JAMES                                    18 SOUTH CLOSE                                                                                   MOORESTOWN         NJ    08057‐2750
JUDITH A JONES & REBECCA J ROMAN JT TEN           128 HORSESHOE TRAIL                                                                              ORMOND BEACH       FL    32174‐8228
JUDITH A JOZWIAK                                  20 CARRIAGE DR #7                                                                                ORCHARD PARK       NY    14127‐1833
JUDITH A JUSTICE                                  47 KONO CIRCLE                                                                                   LEESBURG           FL    34788‐8790
JUDITH A KAUZLARICH                               5275 KAUZLARICH DRIVE                                                                            IMPERIAL           MO    63052‐1841
JUDITH A KAUZLARICH & DAVID M KAUZLARICH JT TEN   5275 KAUZLARICH DR                                                                               IMPERIAL           MO    63052‐1841

JUDITH A KAVANAGH                                 151 N MAIN ST                                                                                    W BOYLSTON         MA    01583‐1133
JUDITH A KAYLOR TOD KIM DELFING SUBJECT TO STA    27051 OAKWOOD DR #106                                                                            OLMSTED FALLS      OH    44138
TOD RULES
JUDITH A KAZMIERSKI                               5535 GAERTNER CT                                                                                 BAY CITY           MI    48706‐3110
JUDITH A KELLOGG                                  363 BRIGHAM ST                                                                                   MARLBOROUGH        MA    01752‐6107
JUDITH A KELLY                                    230 ROYSTON SHORES RD                                                                            CHESTERTOWN        MD    21620‐1826
JUDITH A KERWOOD                                  15304 MEADOW ST                                                                                  ROMULUS            MI    48174‐2923
JUDITH A KILE                                     759 CHEYENNE CT                                                                                  ELGIN              IL    60123‐2559
JUDITH A KINCAID                                  44A W CHIPPENS HILL RD                                                                           BURLINGTON         CT    06013‐2108
JUDITH A KMIEC                                    C/O JUDITH A KRUGLER                    13333 CAMBRIDGE CT                                       PLYMOUTH           MI    48170‐2440
JUDITH A KOCH                                     36835 LODGE DR                                                                                   STERLING HEIGHTS   MI    48312‐3325

JUDITH A KOCH & JOSEPHINE M KOCH JT TEN           36835 LODGE DRIVE                                                                                STERLING HEIGHTS   MI    48312‐3325

JUDITH A KRAFT                                    10940 MAPLE ST                                                                                   TEMPERANCE         MI    48182‐9709
JUDITH A LARIMER & JAMES A LARIMER JT TEN         61918 SPRING CIRCLE TRAIL                                                                        WASHINGTON         MI    48094‐1147
JUDITH A LATHROP                                  845 E SUPERIOR                                                                                   WAYLAND            MI    49348‐9505
JUDITH A LAWLER                                   BOX 3707                                                                                         PCOASSET           MA    02559‐3707
JUDITH A LAWSON                                   JUDITH ANN GIBSON                       10541 TUMILTY TERR                                       MIDWEST CITY       OK    73130‐2111
JUDITH A LEACH                                    3749 GLORIA STREET                                                                               WAYNE              MI    48184‐1954
JUDITH A LEADER                                   3354 CRESTVIEW WAY                                                                               NAPA               CA    94558‐5330
JUDITH A LEEPER                                   220 EAST 46TH ST                                                                                 LORAIN             OH    44052‐5514
JUDITH A LEFFERTS                                 3730 MILESTONE RD THE PLAINF VA                                                                  THE PLAINS         VA    20198
JUDITH A LEFFLER                                  2455 ASHDALE DR                                                                                  TWINSBURG          OH    44087‐1735
JUDITH A LEGURSKY                                 96 DEPOT ST                                                                                      OWEGO              NY    13827‐1413
JUDITH A LEIDICH                                  9 MOLLY BEE RD                                                                                   FLEMINGTON         NJ    08822‐3332
JUDITH A LINWOOD                                  650 MORGAN CIRCLE                                                                                NOKOMIS            FL    34275‐1606
JUDITH A LOCKE                                    839 MILLER                                                                                       ROCHESTER          MI    48307‐1610
JUDITH A LONG & JAMES N LONG JT TEN               8074 N LAKE RD                                                                                   MILLINGTON         MI    48746‐9610
JUDITH A LOWE                                     9618 OVERHILL RD                                                                                 KANSAS CITY        MO    64134‐1628
JUDITH A MACDONALD                                2048 EAST PARK AVENUE                                                                            ALGONAC            MI    48001
JUDITH A MAILLOUX TR JUDITH A MAILLOUX TRUST UA   14503 N CREOSOTE CT                                                                              FOUNTAIN HILLS     AZ    85268‐4140
10/15/03
JUDITH A MAJOR                                    C/O JUDITH FITZGERALD                   75 SAGINAW ST                                            DALLAS             PA    18612‐1145
JUDITH A MALIN                                    ATTN JUDITH A NULTON                    4001 ANDERSON RD UNIT 156                                NASHVILLE          TN    37217‐4741
JUDITH A MANIS                                    6242 BLUE ASH ROAD                                                                               DAYTON             OH    45414‐2802
JUDITH A MANN & PARKES A MANN JT TEN              8076 MCKINLEY ROAD                                                                               ALGONAC            MI    48001‐3314
JUDITH A MAROVICH                                 5204 RICHARD RUN W                                                                               WEST BLOOMFIELD    MI    48322‐2102
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 417 of 855
Name                                               Address1                             Address2             Address3          Address4          City            State Zip

JUDITH A MARTIN                                    111 13TH ST                                                                                   BELLE           WV    25015‐1734
JUDITH A MARTINO & NICOLA J MARTINO JT TEN         723 BINDER RD                                                                                 DOWNERS GR      IL    60516
JUDITH A MATEN                                     2902 ELMHURST                                                                                 ROYAL OAK       MI    48073‐3099
JUDITH A MC CONNELL                                C/O JUDITH A GALON                   17 MIDDLE ST                                             PITTSBURGH      PA    15205‐3108
JUDITH A MCCABE                                    7932 RUSSELHURST                                                                              KIRTLAND        OH    44094‐8505
JUDITH A MELLOW                                    7216 ROGERS                                                                                   GENESEE         MI    48437
JUDITH A MERLENO & MELVIN W MERLENO TR             1484 LEEWARD LN                                                                               ST HELEN        MI    48656‐9229
MERLENO TRUST UA 09/15/99
JUDITH A MESZAROS                                  182 ALTER RD                                                                                  DETROIT         MI    48215‐3103
JUDITH A MILLER                                    3414 WALLINGFORD                                                                              GRAND BLANC     MI    48439‐7932
JUDITH A MILLER                                    45 MINNETONKA RD                                                                              BUFFALO         NY    14220
JUDITH A MILNER                                    5701N W 112                                                                                   OKLAHOMA CITY   OK    73162
JUDITH A MINTH                                     1312 LAKESHORE DR                                                                             ROCKWALL        TX    75087‐4220
JUDITH A MLECZEK                                   1558 RIVIERA                                                                                  SAGINAW         MI    48604‐1653
JUDITH A MOORE                                     7906 E HIGH DR                                                                                LIBERTY         MO    64068‐7810
JUDITH A MORGAN                                    C/O J M NEAL                         13813 TURNMORE RD                                        SILVER SPRING   MD    20906‐2135
JUDITH A MORGAN                                    401 NE CAMBRIDGE DR                                                                           LEES SUMMIT     MO    64086‐5474
JUDITH A MORIN                                     2763 CAMP TEN                                                                                 ELMIRA          MI    49730
JUDITH A MULLEN                                    17135 HICKORY RIDGE                                                                           HOLLY           MI    48442‐8331
JUDITH A NAPIER                                    ATTN JUDITH SMITH                    18779 US RT 68                                           FAYETTEVILLE    OH    45118
JUDITH A NEIGHBORS                                 276 C MARTIN RD                                                                               MORGANTOWN      KY    42261‐8326
JUDITH A PENNINGTON                                1612 FIREROCK COURT                                                                           LOVELAND        CO    80538‐5501
JUDITH A PETERS                                    ATT JUDITH A VOLENCE                 2050 TERRACE BLVD                                        LONGWOOD        FL    32779‐4859
JUDITH A PETRINO                                   55 MAPLE DR                                                                                   MONROE          CT    06468‐1638
JUDITH A PHELAN                                    APT 18‐C                             251 E 32ND ST                                            NY              NY    10016‐6304
JUDITH A PHELPS                                    C/O DAVIS                            1021 VALLEYVIEW DR                                       CLARKSTON       MI    48348‐5202
JUDITH A PITCOCK & WILLIAM O PITCOCK JT TEN        6690 ABERDEEN                                                                                 DIMONDALE       MI    48821‐9504
JUDITH A POLK                                      1486 BIGCREEK ESTATES DR                                                                      LUZERNE         MI    48636‐9789
JUDITH A POMAVILLE                                 1756 E BIRCH ROAD                                                                             PINCONNING      MI    48650‐9502
JUDITH A POSEY & ROBERT C POSEY JT TEN             1021 WALBRIDGE DR                                                                             EAST LANSING    MI    48823‐2181
JUDITH A POST                                      6 KINGSTON RD                                                                                 DANVILLE        NH    03819
JUDITH A RAETZ & MICHAEL L BACON & MICHELE L       2502 DERBY                                                                                    BIRMINGHAM      MI    48009‐7535
BACON JT TEN
JUDITH A RAYBERN                                   807 GARDEN STATE DRIVE                                                                        GREENCASTLE      IN   46135
JUDITH A REFRIGERI                                 758 MERRIAM AVE                                                                               LEOMINSTER       MA   01453‐5424
JUDITH A RICHARDS                                  PO BOX 386                                                                                    DEARBORN HGTS    MI   48127‐0386
JUDITH A RICHARDSON                                PO BOX 5228                                                                                   EVANSTON         IL   60204‐5228
JUDITH A RICHTER                                   152 MARK TWAIN COURT                                                                          DAYTON           OH   45414‐3762
JUDITH A RICKETTS                                  PO BOX 339                                                                                    BRADDOCK HEIGHTS MD   21714‐0339

JUDITH A RIEHLE                                    1443 COLONY DRJ                                                                               GREENSBURG      PA    15601
JUDITH A RIVERS                                    PO BOX 17032                                                                                  EUCLID          OH    44117‐0032
JUDITH A ROBINS                                    8 DENMARK LANE                                                                                NEEDHAM         MA    02492‐2336
JUDITH A ROGAN                                     C/O J A MC GUIRE                     217 MEADOW WOOD                                          JOLIET          IL    60431‐4809
JUDITH A ROSE                                      1702 NORTH PURDUM                                                                             KOKOMO          IN    46901‐2450
JUDITH A ROZELLE & KENNETH J ROZELLE JT TEN        475 MILL SPRINGS                                                                              COATESVILLE     IN    46121‐8949
JUDITH A ROZELLE CUST JENNIFER L ROZELLE UTMA IN   475 MILL SPRINGS                                                                              COATESVILLE     IN    46121‐8949

JUDITH A ROZELLE CUST KIMBERLY A ROZELLE UTMA IN 475 MILL SPRINGS                                                                                COATESVILLE     IN    46121‐8949

JUDITH A RUSSO                                     910 OAKHURST N W                                                                              GRAND RAPIDS    MI    49504‐3754
JUDITH A SATERNUS                                  27 ZELLER LANE                                                                                CHEEKTOWAGA     NY    14227‐3243
JUDITH A SAWAYA                                    20029 VALERA                                                                                  ST CLAIR SHRS   MI    48080‐3107
JUDITH A SCHAUT                                    445 CHESTNUT ST                                                                               ST MARYS        PA    15857‐1711
JUDITH A SCHNEIDER & JAMES A SCHNEIDER JT TEN      4536 SID DRIVE                                                                                JACKSON         MI    49201‐9061

JUDITH A SEIFERT                                   4910 N W COVES DR                                                                             KANSAS CITY     MO    64151‐1137
JUDITH A SEVERS                                    31143 GARDENDALE DRIVE                                                                        WARREN          MI    48093‐2074
JUDITH A SHAER                                     578 SALEM CHURCH ROAD                                                                         NEWARK          DE    19702‐2728
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 418 of 855
Name                                               Address1                               Address2             Address3          Address4          City            State Zip

JUDITH A SHAHEEN                                   2375 CHELTINGHAM ST                                                                             SYLVAN LAKE     MI    48320‐1612
JUDITH A SHARP & ROGER L SHARP JT TEN              14224 MOFFETT DR                                                                                FENTON          MI    48430
JUDITH A SHEA TR JUDITH A SHEA LIVING TRUST UA     15100 LAKESHORE DR                                                                              ONTONAGON       MI    49953‐9399
7/11/00
JUDITH A SHELL & RODNEY A SHELL JT TEN             8273 LEWISBURG SALEM RD                                                                         LEWISBURG       OH    45338
JUDITH A SHIREY & DAYNA L SHIREY JT TEN            23304 MASONIC                                                                                   ST CLR SHORES   MI    48082
JUDITH A SHOBERT                                   9272 FENTON RD                                                                                  GRAND BLANC     MI    48439‐8379
JUDITH A SMITH                                     103 WHITNEY HILL HOMESTEAD                                                                      WILLISTON       VT    05495‐2000
JUDITH A SMITH                                     3210 ROMILLY RD/CARDIFF                                                                         WILMINGTON      DE    19810‐3436
JUDITH A SPEAR & JOHN J SPEAR JT TEN               14235 WICKER AVE                                                                                CEDAR LAKE      IN    46303‐9326
JUDITH A SPELLMAN CUST JOHN SPELLMAN IV            ONE S 601 VERDON                                                                                WINFIELD        IL    60190
JUDITH A STAFFORD                                  2708 W 1025 N                                                                                   ALEXANDRIA      IN    46001‐8403
JUDITH A STEPHENS                                  7945 S SCARFF RD                                                                                NEW CARLISLE    OH    45344‐7682
JUDITH A STOLL                                     19635 ROLLING ACRES DR                                                                          SOUTH BEND      IN    46614‐5744
JUDITH A STORNANT                                  570 EL CAMINO REAL #2304                                                                        NAPLES          FL    34119‐4791
JUDITH A SULLIVAN                                  2859 CHARLOTTE ST                                                                               PORTAGE         IN    46368‐3618
JUDITH A SULLIVAN & TIMOTHY J SULLIVAN JT TEN      2859 CHARLOTTE ST                                                                               PORTAGE         IN    46368‐3618

JUDITH A SWABB                                   3992 MAIN ST                                                                                      CALEDONIA       NY    14423
JUDITH A TEEUWS TR JUDITH A TEEUWS LIVING TRUST 3281 ROSWELL DR                                                                                    PORTAGE         IN    46368‐5155
UA 12/03/96
JUDITH A THOMPSON                                7625 SADDLEBROOKE DRIVE                                                                           KNOXVILLE       TN    37938‐4044
JUDITH A TILTON                                  1257 E ENCANTO                                                                                    MESA            AZ    85203‐5705
JUDITH A TINNEY & HARRY J TINNEY JT TEN          25992 LIME CITY RD                                                                                PERRYSBURG      OH    43551‐9215
JUDITH A TRUMBLEY                                1505 WEST A STREET                                                                                IRON MOUNTAIN   MI    49801‐2523
JUDITH A UHLES                                   964 VIA LOS PADRES                                                                                SANTA BARBARA   CA    93111‐1326
JUDITH A URBANOWSKI & KENNETH J URBANOWSKI JT 7364 WALNUT HILL                                                                                     MANITOU BEACH   MI    49253‐9013
TEN
JUDITH A VAUGHN                                  PO BOX 1501                                                                                       BELTON          MO    64012‐6501
JUDITH A VELTHUIS                                5624 BELLE RIVER                                                                                  ATTICA          MI    48412‐9601
JUDITH A VOELKLE                                 ATTN JUDITH A VOELKLE BALL               8008 SANTA ARMINTA                                       SAN DIEGO       CA    92126‐1177
JUDITH A VOGELMEIER                              4475 GENTLE KNOLL DR S                                                                            JACKSONVILLE    FL    32258‐4128
JUDITH A WAGER                                   C/O DEPSON                               19 WABASSO ST        PO BOX 13                           LANESBORO       MA    01237‐0013
JUDITH A WAGGONER                                1261 HILLVIEW DR                                                                                  FRANKLIN        IN    46131‐1912
JUDITH A WAGNER                                  1280 VILLAGE CENTRE DR                   UNIT 2                                                   KENOSHA         WI    53144‐7259
JUDITH A WALDMILLER                              8154 LAKESHORE DR                                                                                 CANEADEA        NY    14717
JUDITH A WALSH                                   201 BAYSHORE AVE UNIT 3                                                                           COLUMBIANA      OH    44408‐9354
JUDITH A WARNER                                  26279 WAGNER                                                                                      WARREN          MI    48089‐1253
JUDITH A WAUGH LARISA CODE & AIMEE B CODE JT TEN 3876 N FOREST BROOK ST                                                                            FLAGSTAFF       AZ    86004‐6820

JUDITH A WEBB                                      4032 LOCUS BEND DRIVE                                                                           DAYTON          OH    45440‐4049
JUDITH A WEBB                                      3208 DILLON RD                                                                                  JAMESTOWN       NC    27282‐9129
JUDITH A WENDORF                                   N5594 SWITZKE RD                                                                                JOHNSON CREEK   WI    53038‐9790
JUDITH A WHITAKER                                  4009 KURTIS CTS                                                                                 KOKOMO          IN    46902‐4400
JUDITH A WICKER CUST JAMES C WICKER UGMA IN        3905 N RACEWAY DR                                                                               INDIANAPOLIS    IN    46234‐9636

JUDITH A WICKER CUST STACEY L WICKER UGMA IN       10861 N PRIVATE RD 23W                                                                          FOUNTAINTOWN    IN    46130‐9602

JUDITH A WILKINS                                   3880 GAINES BASIN RD                                                                            ALBION          NY    14411‐9217
JUDITH A WILLIAMS                                  124 JENNINGS TER                                                                                GLADWIN         MI    48624‐9770
JUDITH A WILLIAMS                                  3637 KLEMER ROAD                                                                                NORTH           NY    14120‐1217
                                                                                                                                                   TONAWANDA
JUDITH A WILLIAMSON                                824 HIGH ST                                                                                     LOGANSPORT      IN    46947‐2771
JUDITH A WIPARINA                                  94 SHAFFNER BLVD                                                                                MANSFIELD       OH    44907‐1780
JUDITH A WOODIE                                    1607 VERONA‐PITSBURG RD                                                                         ARCANUM         OH    45304‐9616
JUDITH A YOUNG                                     118 KUMLER AVENUE                                                                               SEVEN MILE      OH    45062
JUDITH A YOUNG & KENNETH D YOUNG TR YOUNG          1340 PALMER LANE                                                                                PALM HARBOR     FL    34685‐1816
FAMILY TRUST 07/23/04
JUDITH ANN AARONS MARTIN                           PO BOX 458                                                                                      CATAUMET        MA    02534‐0458
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 419 of 855
Name                                             Address1                              Address2                   Address3    Address4          City              State Zip

JUDITH ANN ADOLPHI                               489 TORERO WAY                                                                                 EL DORADO HLS     CA    95762
JUDITH ANN BABICZ CUST ANDREW BABICZ UGMA NJ     5 ARGYLL CT                                                                                    SCOTCH PLAINS     NJ    07076‐2407

JUDITH ANN BABICZ CUST REBECCA BABICZ UGMA NJ    5 ARGYLL CT                                                                                    SCOTCH PLAINS     NJ    07076‐2407

JUDITH ANN BRADY                               C/O MRS JEAN BRADY                      10271 JULIUS NORTHWAY DR                                 ST LOUIS          MO    63127‐1421
JUDITH ANN C SMITH                             6209 ARROWHEAD DR # 4                                                                            FENNVILLE         MI    49408‐9603
JUDITH ANN CALLAGHAN                           111 BRIDLE RD                                                                                    GLENSHAW          PA    15116‐1432
JUDITH ANN CRABTREE                            4901 S BREEZEWOOD DR                                                                             MUNCIE            IN    47302‐9411
JUDITH ANN CRAIG                               288 WESTCHESTER BLVD                                                                             NOBLESVILLE       IN    46060‐9072
JUDITH ANN CRAWFORD                            426 CHALMERS                                                                                     FLINT             MI    48503‐2264
JUDITH ANN DOW                                 7092 DIRDENE STREET                     NIAGARA FALLS ON                       L2E 5N9 CANADA
JUDITH ANN EBERSON                             68 EDES FALLS ROAD                                                                               HARRISON          ME    04040‐3525
JUDITH ANN ENGELHARDT & VERNON J ENGELHARDT JT 6881 THREE MILE RD                                                                               BAY CITY          MI    48706‐9322
TEN
JUDITH ANN HARDY U/GDNSHP OF SCOTT ALDEN HARDY PO BOX 202                                                                                       WRENTHAM          MA    02093‐0202

JUDITH ANN HARTMANN                              53633 BRUCE HILL                                                                               SHELBY TOWNSHIP   MI    48316‐2121

JUDITH ANN HILTENBEITEL                          317 5TH AVE                                                                                    DAYTON            KY    41074‐1105
JUDITH ANN JABLONSKI                             41685 STONEHENGE MANOR DR                                                                      CLINTON TWP       MI    48038‐4642
JUDITH ANN JOBUCK                                2107 DORITY RD                                                                                 TOLEDO            OH    43615
JUDITH ANN JOHNSON                               164 KENNY BUG RD                                                                               WILLIAMSBURG      KY    40769‐6463
JUDITH ANN LAFFERTY                              ATTN J L GUTZWILLER                   301 EAST HARDING AVE                                     LA GRANGE PK      IL    60526
JUDITH ANN LOCKWOOD                              107 GROVE ST                                                                                   BOONVILLE         NY    13390
JUDITH ANN MEAHL                                 2327 HESS ROAD                                                                                 APPLETON          NY    14008‐9639
JUDITH ANN MEANS                                 8103 KNOLLCREEK CIRCLE                                                                         INDIANAPOLIS      IN    46256‐2196
JUDITH ANN MILLINGTON CUST JENNIFER MILLINGTON   2341 NW 184TH TER                                                                              PEMBROKE PINES    FL    33029‐5300
UGMA FL
JUDITH ANN NEELY                                 4797 AUSTIN TRACE                                                                              ZIONSVILLE        IN    46077‐9669
JUDITH ANN PIETRYKOWSKI                          763 MELROSE AVE                       SARNIA ON                              N7I 7C9 CANADA
JUDITH ANN PITTS                                 5072 EVERGREEN                                                                                 ALGER             MI    48610
JUDITH ANN PUTZIER                               1000 AIRPORT RD SW                    APT C6                                                   HUNTSVILLE        AL    35802‐4305
JUDITH ANN RABEN                                 8022 N 6TH ST                                                                                  PHOENIX           AZ    85020‐3611
JUDITH ANN ROBBINS                               338 S MAIN ST                                                                                  FALL RIVER        WI    53932‐9592
JUDITH ANN RORK                                  4800 HARRISON ST                                                                               HOLLYWOOD         FL    33021‐7207
JUDITH ANN RUGG BENSON & GORDEN L BENSON JT      2813 NEOLA                                                                                     CEDAR FALLS       IA    50613‐5924
TEN
JUDITH ANN SCHAUPERL                             1813 WILD WILLOW TRAIL                                                                         FORT WORTH        TX    76134‐4975
JUDITH ANN SCOTT                                 805 E 116TH STREET                                                                             CARMEL            IN    46032‐3447
JUDITH ANN SHAHAN                                8185 OAK LEAF LANE                                                                             WILLIAMSVILLE     NY    14221‐2858
JUDITH ANN SHANKS                                7940 SHELLDALE WAY                                                                             CINCINNATI        OH    45242‐6431
JUDITH ANN SITKIN                                17405 ROCKY GORGE CT                                                                           SILVER SPRINGS    MD    20905‐5123
JUDITH ANN SMITH                                 ATTN JUDITH ANN VOLENCE               2050 TERRACE BLVD                                        LONGWOOD          FL    32779‐4859
JUDITH ANN STOUT                                 101 FLAT ROCK BLVD                                                                             FORTVILLE         IN    46040‐1669
JUDITH ANN TODD & ROBERT RAYMOND TODD JT TEN     847 DEMPSTER DR                                                                                TEMPERANCE        MI    48182‐9201

JUDITH ANN VOLENCE                               2050 TERRACE BLVD                                                                              LONGWOOD          FL    32779‐4859
JUDITH ANN WALSH CUST MICHELLE ELIZABETH WALSH   7771 S FORESTHILL CT                                                                           LITTLETON         CO    80120‐8026
UGMA AZ
JUDITH ANN WALSH CUST MONICA RENEE WALSH         2117 S BONARDEN LN                                                                             TEMPE             AZ    85282‐2504
UGMA AZ
JUDITH ANN WERTENBERGER                          36810 N 29TH DR                                                                                PHOENIX           AZ    85086‐0524
JUDITH ANN WOZNIAK                               11 DORCHESTER COURT                                                                            BOLINGBROOK       IL    60440‐1110
JUDITH ANN WOZNIAK CUST DAVID DRESCH UGMA IL     190 E LARK AVE                                                                                 CORTLAND          IL    60112‐4034

JUDITH ANNE CASEY                                5154 LYLE DRIVE                                                                                SAN DIEGO         CA    92105‐5338
JUDITH ANNE FREDERICK                            C/O MRS ROBERT B MICHAEL              BOX 1319                                                 MALTA             MT    59538‐1319
JUDITH ANNE LINDQUIST                            2600 THORNTON AVENUE                                                                           DES MOINES        IA    50321‐2013
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 420 of 855
Name                                             Address1                              Address2              Address3         Address4          City             State Zip

JUDITH ANNE MARTIN                               3819 HICKORY HILL DR                                                                           SOMERSET         KY    42503‐9107
JUDITH B ABBERBOCK & GARY N ABBERBOCK JT TEN     1698 E 22 ST                                                                                   BROOKLYN         NY    11229‐1517

JUDITH B CALLAHAN                                PO BOX 75                                                                                      TACONIC          CT    06079‐0075
JUDITH B CARLSON                                 136 N SHOWHORSE DR                                                                             LIBERTY HILL     TX    78642‐3928
JUDITH B GORDON & TRAVIS H GORDON JT TEN         120 COQUINA KEY DR                                                                             ORMOND BEACH     FL    32176‐8941
JUDITH B HENNESSEY                               BOX 321                                                                                        PLUCKEMIN        NJ    07978‐0321
JUDITH B KALAKIE                                 50806 RAINTREE CIR                                                                             CHESTERFIELD     MI    48047‐5715
JUDITH B KALASSAY                                39658 RIDGECREST ST                                                                            MURRIETA         CA    92563‐6813
JUDITH B LARSEN                                  1603 HILTON HEAD BLVD                                                                          THE VILLAGES     FL    32159‐6204
JUDITH B LECH                                    2031 EL RANCHO VISTA                                                                           FULLERTON        CA    92833‐1845
JUDITH B LIEBMAN                                 133 LAWLER RD                                                                                  WEST HARTFORD    CT    06117‐2622
JUDITH B MABUS & GERALD W MABUS JT TEN           BOX 212                                                                                        SULLIVAN         ME    04664‐0212
JUDITH B MARTIN                                  2996 JEFFERSON ST                                                                              GIRARD           OH    44420‐1010
JUDITH B MCCOY                                   2316 OAKWOOD DRIVE                                                                             ANDERSON         IN    46011‐2847
JUDITH B NAPPI                                   241 PINE CREST COURT                                                                           ABERDEEN         NC    28315‐5663
JUDITH B NELSON                                  3541 BARRYMORE DRIVE                                                                           RENO             NV    89512
JUDITH B NICHOLS                                 14708 HUBBARD ROAD                                                                             BURTON           OH    44021‐9538
JUDITH B PAGE                                    PO BOX 606                            25 GREEN ACRES LANE                                      FORESTDALE       MA    02644‐0700
JUDITH B REAVES                                  3907 TIMBERLINE DRIVE                                                                          BEAVERCREEK      OH    45432‐2041
JUDITH B ROBBINS                                 136 S COVENTRY DR                                                                              ANDERSON         IN    46012‐3215
JUDITH B ROCKWELL                                3906 OVERBROOK DR APT 2                                                                        COLUMBIA         SC    29205‐4147
JUDITH B RONZI                                   121 LAKESIDE WAY                                                                               WARREN           OH    44481‐9608
JUDITH B SHANAHAN                                1380 NORTHGATE DR                                                                              BARTLETT         IL    60103‐8705
JUDITH B SMITH                                   6139 COLONY PARK DR                                                                            YPSILANTI        MI    48197‐6030
JUDITH B SMITH                                   8820 DELIN THOMAS RD                                                                           KINSMAN          OH    44428‐9308
JUDITH B WAMSLEY                                 1108 N BORDER DR                                                                               BOGALUSA         LA    70427‐2908
JUDITH B YOHO                                    111 ERIE ST                                                                                    NILES            OH    44446
JUDITH BALK                                      947 VALLEYVIEW RD                                                                              PITTSBURGH       PA    15243‐1062
JUDITH BARBARA FRIEND                            9123 JELLICO AVE                                                                               NORTHRIDGE       CA    91325‐2313
JUDITH BATTERMAN                                 109 CHARLANN CIRCLE                                                                            CHERRY HILL      NJ    08003‐2906
JUDITH BELT                                      15461 FUGATE COURT                                                                             MORENO VALLEY    CA    92551
JUDITH BENNETT                                   1112 OCEAN RD                                                                                  POINT PLEASANT   NJ    08742‐2356
JUDITH BLAKEWAY                                  11726 ELM COURT                                                                                SAN ANTONIO      TX    78230‐2700
JUDITH BOLTZ                                     2519 N E 106TH PLACE                                                                           SEATTLE          WA    98125‐7726
JUDITH BOOKBINDER                                504 ROSELD AVE                                                                                 DEAL             NJ    07723‐1439
JUDITH BOOS CUNNINGHAM                           8006 CRESCENT CANYON CT                                                                        HOUSTON          TX    77095‐4292
JUDITH BRETTSCHNEIDER                            205 EAST 17TH ST                                                                               NEW YORK         NY    10003‐3619
JUDITH BRICE CUST SUSAN K BRICE UTMA IL          41C                                   11036 THERESA CIR                                        PALOS PARK       IL    60465‐3205
JUDITH BRINDLEY                                  760 WEST END AVE                                                                               NEW YORK         NY    10025‐5523
JUDITH C ACKERMAN                                607 BESSIE BELL MTN RD                                                                         CASTLETON        VA    22716‐2924
JUDITH C ALLEN                                   28675 FRANKLIN RD                     APT 302                                                  SOUTHFIELD       MI    48034‐1603
JUDITH C BIRKHEAD                                3727 EAST LINKS CIRCLE                                                                         HILLIARD         OH    43026‐1381
JUDITH C BITTNER                                 10851 HAWKS VISTA STREET                                                                       PLANTATION       FL    33324‐8209
JUDITH C BRADLEY                                 14811 MILTON BROOK COURT                                                                       SPARKES          MD    21152‐9383
JUDITH C BRIAN                                   4380 HICKORY RIDGE ROAD                                                                        HIGHLAND         MI    48357‐2522
JUDITH C DIAZ                                    3100 MESA VERDE DRIVE                                                                          BURBANK          CA    91504‐1635
JUDITH C JACQUES                                 723 ORCHARD VIEW DR                                                                            ROYAL OAK        MI    48073‐3350
JUDITH C KINNISON                                3382 S RAINBURST PL                                                                            TUCSON           AZ    85713‐6832
JUDITH C LINDNER & LEWIS J LINDNER JT TEN        5995 HERMAN HILL RD                                                                            ORCHARD PARK     NY    14127
JUDITH C MIDDLETON                               3517 MILLER RD                                                                                 FLINT            MI    48503‐4687
JUDITH C OLSON                                   3300 CARRIAGEWAY DR #201                                                                       ARLINGTON        IL    60004‐1547
                                                                                                                                                HEIGHTS
JUDITH C PERKINS                                 3353 SOUTHGATE DR                                                                              FLINT            MI    48507‐3274
JUDITH C THALHOFER                               686 FRANKLIN ST                                                                                OSHKOSH          WI    54901‐4368
JUDITH C WALTHALL                                7605 FLEMING HILLS DR S W                                                                      HUNTSVILLE       AL    35802‐2813
JUDITH C WARRINGTON                              4211 SPRINGHILL AVE                                                                            RICHMOND         VA    23225
JUDITH C WEBB                                    1205 OAKHAM RD                                                                                 NEW BRAINTREE    MA    01531‐1855
JUDITH CARLESON                                  879 WIGEON WAY                                                                                 ARROYO GRANDE    CA    93420‐3801
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 421 of 855
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

JUDITH CELIA HAMPLE                              78 HAWKS NEST CIR                                                                                MIDDLETOWN       CT    06457‐1514
JUDITH CHURCHILL STOTHOFF                        3 NORTHRIDGE RD                                                                                  FLEMINGTON       NJ    08822‐5546
JUDITH COHEN CUST DANIEL COHEN UTMA NJ           30 N WESTGATE RD                                                                                 LIVINGSTON       NJ    07039‐3531
JUDITH COHEN CUST JASON COHEN UTMA NJ            30 N WESTGATE RD                                                                                 LIVINGSTON       NJ    07039‐3531
JUDITH COLARESI                                  3820 S HELENA ST                                                                                 AURORA           CO    80013‐2506
JUDITH CONAWAY                                   BOX 453                                                                                          MALVERN          OH    44644‐0453
JUDITH COOLEY                                    508 COOL CREEK DR                                                                                ROCK HILL        SC    29732‐7108
JUDITH CROSBY                                    13331 AMBERWOOD ST                                                                               HUDSON           FL    34669‐2423
JUDITH D BRADY                                   3581 GOLD RIDGE TRL                                                                              POLLOCK PINES    CA    95726‐9731
JUDITH D HODGINS EX UW ROBERT W HODGINS          120 ALLEN ST BOX 163                    THAMESFORD ON                          N0M 2M0 CANADA
JUDITH D JOOSS                                   1154 LUCILLE AVE                                                                                 TWIN LAKES       WI    53181‐9769
JUDITH D KNOETTNER                               411 CREST AVE                                                                                    HADDON HEIGHTS   NJ    08035‐1450

JUDITH D KUKLENSKI                               152 EAST 77TH ST                                                                                 ANDERSON         IN    46013‐3905
JUDITH D MC LAUGHLIN                             8508 CHURCH LANE                                                                                 RANDALLSTOWN     MD    21133‐4805
JUDITH D MCCOY                                   130 GERMANY RD                                                                                   WILLIAMSTON      MI    48895‐9661
JUDITH D MCDONALD & DANIEL MCDONALD JT TEN       15228 GARFIELD                                                                                   ALLEN PARK       MI    48101

JUDITH D RICCIO                                  14730 ASH AVE                                                                                    FLUSHING         NY    11355‐1256
JUDITH D RYNTZ                                   1636 INNER DR                                                                                    ORTONVILLE       MI    48462‐9220
JUDITH D WILKINS                                 3220 RED FOX RUN N W                                                                             WARREN           OH    44485‐1578
JUDITH D WOHLFORD                                2710 ST DENNIS CT                                                                                KOKOMO           IN    46902‐2922
JUDITH D WURZ                                    6513 MOSS CREEK CIRCLE                                                                           INDIANAPOLIS     IN    46237‐2900
JUDITH DAVIS TABOR                               7453 BIG CYPRESS DR                                                                              HIALEAH          FL    33014‐2556
JUDITH DAY BARRINGER TR JUDITH DAY BARRINGER     9290 MUIRKIRK DR                                                                                 DUBLIN           OH    43017‐9443
TRUST UA 11/08/95
JUDITH DEVAULT                                   854 GAINS WAY RD                                                                                 YARDLEY          PA    19067‐3009
JUDITH DIANE ORBAN                               1465 POPLAR STREET                                                                               FLINT            MI    48503‐4845
JUDITH DIANE ROSENBERGER                         28030 REDWOOD GLEN ROAD                                                                          VALENCIA         CA    91354‐1372
JUDITH DIROCCO                                   302 DANIELS RD                                                                                   SARATOGA SPRINGS NY    12866‐9132

JUDITH DOMBROWSKI & DEBORA RUEL JT TEN           2604 LINVILLE                                                                                    WESTLAND         MI    48186‐4216
JUDITH DOWNES TINSLEY                            202 NORTH AVE #310                                                                               GRAND JUNCTION   CO    81501‐7540

JUDITH DWORIN                                    4 FOX CHASE RD                                                                                   BLOOMFIELD       CT    06002‐2108
JUDITH E BENNETT                                 2033 KOWAL AVE                                                                                   NORTH PORT       FL    34288‐7379
JUDITH E BERGSTROM                               120 DOWNS RD                                                                                     MONTICELLO       NY    12701‐3324
JUDITH E BORNE                                   13214‐F FIJI WAY                                                                                 MARINA DL REY    CA    90292
JUDITH E BRANDT                                  3463 NILE RD                                                                                     WHITTEMORE       MI    48770‐9790
JUDITH E BRIGGS                                  67143 JOELLA CIR                                                                                 ST CLAIRSVILLE   OH    43950‐8407
JUDITH E COPA                                    9740 SW 219 STREET                                                                               MIAMI            FL    33190‐1538
JUDITH E ETLING                                  1375 ADAMS ST                                                                                    WABASH           IN    46992‐3602
JUDITH E FOSTER                                  13263 QUEENS GATE TERRACE                                                                        CARROLLTON       VA    23314‐3444
JUDITH E FRENYA & ROBERT FRENYA JT TEN           37103 32ND ST E                                                                                  PALMDALE         CA    93550‐6603
JUDITH E GARLAND                                 4301 RIVERVIEW BLVD WEST                                                                         BRADENTON        FL    34209‐2043
JUDITH E GYURO                                   4604 WEST THORNCREST DR                                                                          FRANKLIN         WI    53132‐9645
JUDITH E HEATER                                  606 FARMERSVILLE PK                                                                              GERMANTOWN       OH    45327‐9538
JUDITH E JOHNS & JOHN F JOHNS JT TEN             3690 DUCK LAKE ROAD                                                                              HIGHLAND         MI    48356‐2336
JUDITH E JOHNSON                                 249 RIDGE RD                                                                                     MOUNTAIN HOME    AR    72653‐8694

JUDITH E JOSTEN                                  8845 CROMWELL DR                                                                                 SHREVEPORT       LA    71129‐5110
JUDITH E KELTS                                   10026 E COLDWATER RD                                                                             DAVISON          MI    48423‐8508
JUDITH E KOCH                                    8055 SAWGRASS TRAIL                                                                              GRAND BLANC      MI    48439‐1844
JUDITH E KOFF CUST MATTHEW ADAM KOFF UGMA NY     33 VICTORIA RD                                                                                   ARDSLEY          NY    10502‐1215

JUDITH E KORB CUST TRAVIS C KORB UTMA OH         608 CAMPBELL ST                                                                                  JOLIET           IL    60435
JUDITH E MARSH                                   1115 DECHANT CT                                                                                  COLUMBUS         OH    43229‐5502
JUDITH E MEYRING                                 5325 OLD SPRINGFIELD ROAD                                                                        TIPP CITY        OH    45371‐9274
JUDITH E MIDDLETON                               2306 JOHNSON STREET                                                                              KANNAPOLIS       NC    28081
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 4 of 8 Pg 422 of 855
Name                                             Address1                              Address2             Address3            Address4          City              State Zip

JUDITH E MILLER & ALAN S MILLER JT TEN           24377 RIDGEVIEW DR                                                                               FARMINGTON HILLS MI     48336‐1933

JUDITH E PORUBA                                  5883 SHADY WOODS CT                                                                              GULF SHORES       AL    36542‐2613
JUDITH E PURKE                                   9913 DILSTON RD                                                                                  SILVER SPRINGS    MD    20903‐1923
JUDITH E RICHARDS TOD CHERYL KRONTZ SUBJECT TO   974 PORTAGE EASTERLY RD                                                                          CORTLAND          OH    44410
STA TOD RULES
JUDITH E ROGERS                                  6801 MANCHESTER DRIVE                                                                            CHANHASSEN        MN    55317‐6701
JUDITH E RUSER                                   10890 N 40TH ST                                                                                  HICKORY CORNERS   MI    49060‐9507

JUDITH E SACKS                                   C/O ALBERT                            2858 VALERIE CT                                            MERRICK           NY    11566‐4629
JUDITH E SKAIO                                   10890 N 40TH ST                                                                                  HICKORY CORNERS   MI    49060‐9507

JUDITH E SPICER                                  3034 LAKEVIEW DR                                                                                 LEWISTON          MI    49756‐8998
JUDITH E WATSON                                  9501 W CO RD 500 NORTH                                                                           MUNCIE            IN    47304‐9084
JUDITH EISENBERG                                 3501 SECTION RD                       APT 409                                                    CINCINNATI        OH    45237‐2422
JUDITH ELAINE MEIBAUM                            160 W RIDGE DR                                                                                   NATCHTITOCHES     LA    71457‐6454
JUDITH ELLEN BARKER HENDERSON                    255 PLUM BRANCH RD                                                                               BURNSVILLE        NC    28714‐8078
JUDITH ELLEN BOYNTON CRABBE                      38 GATES AVE                                                                                     HUDSON            MA    01749‐1904
JUDITH ELLEN GERSHOWITZ                          108 SENECA AVE                                                                                   YONKERS           NY    10710‐5127
JUDITH ELLEN LEON & STEVEN JOEL LEON JT TEN      37 IDLEWOOD AVE                                                                                  NORTH             MA    02747‐2632
                                                                                                                                                  DARTMOUTH
JUDITH ELLEN PRESCOTT                              421 W 57TH ST APT G2                                                                           NEW YORK          NY    10019‐1716
JUDITH ELLEN RUSS                                  18 TALISMAN DR                                                                                 DIX HILLS         NY    11746‐5322
JUDITH ELLIS SOLARI                                23 LASALLE DR                                                                                  BANGOR            ME    04401‐2533
JUDITH EMANUEL                                     5 BROOKHOUSE DRIVE                                                                             MARBLEHEAD        MA    01945‐1610
JUDITH EVE PERKINS                                 4 RECTORY LANE                                                                                 SCANSDALE         NY    10583‐4314
JUDITH F ANDERSON                                  726 BEACHCOMBER LN                                                                             HOUSTON           TX    77062‐4202
JUDITH F BAGEANT                                   9236 ROCKEFELLER LANE                                                                          SPRINGFIELD       VA    22153‐1104
JUDITH F CRUDUP                                    25334 SAINT JAMES                                                                              SOUTHFIELD        MI    48075‐1243
JUDITH F LE CATES                                  1309 MARSHALLTON THORNDALE RD                                                                  DOWNINGTOWN       PA    19335‐3736
JUDITH F WHITE                                     1840 KENNETH LANE                                                                              CHOCTAW           OK    73020‐6495
JUDITH FERSHTMAN                                   24761 MANISTEE                                                                                 OAK PARK          MI    48237‐1767
JUDITH FIELDS STAFFORD                             2708 W 1025 N                                                                                  ALEXANDRIA        IN    46001‐8403
JUDITH FLEISCHER RELMAN                            18616 PARKLAND DR                                                                              SHAKER HTS        OH    44122
JUDITH FLEISCHER TR SAMUEL FLEISCHER TR UA 6/18/59 10 S BROADWAY SUITE 2000                                                                       ST LOUIS          MO    63102‐1747
ART FOURTH
JUDITH FORMAN WEISS                                1707 MARSHALLDALE                                                                              ARLINGTON         TX    76013‐3549
JUDITH FORSTE & HENRY H FORSTE JT TEN              64‐22 80TH AVE                                                                                 GLENDALE          NY    11385‐6825
JUDITH FRANK SENEFELDER                            149 BATHURST DR                                                                                TONAWANDA         NY    14150‐9003
JUDITH FREY                                        C/O VIVIAN POHL                     1161                 1201 EDGECLIFF PL                     CINCINNATI        OH    45206‐2849
JUDITH FUCHS                                       APT 1‐J                             2239 TROY AVENUE                                           BROOKLYN          NY    11234‐3637
JUDITH G DARRAH                                    12010 E 33RD AVENUE                                                                            SPOKANE VALLEY    WA    99206‐6302
JUDITH G GASAWAY                                   5293 WILSON RD                                                                                 COLUMBYVILLE      MI    48421‐8937
JUDITH G GENSBURG                                  1200 HALLOCK YOUNG ROAD                                                                        LORDSTOWN         OH    44481‐8605
JUDITH G GIOCONDO                                  16005 CHASTAIN RD                                                                              ODESSA            FL    33556‐3316
JUDITH G KITCES & MAURICE G KITCES JT TEN          922 JAYSMITH ST                                                                                GREAT FALLS       VA    22066‐2404
JUDITH G MCLAUGHLIN                                4603 N 32 ST                                                                                   ARLINGTON         VA    22207‐4403
JUDITH G ROURE                                     PO BOX 116                                                                                     POMFRET           CT    06258‐0116
JUDITH G SEARS                                     PO BOX 751                                                                                     OLCOTT            NY    14126‐0751
JUDITH GAGLIARDI BARNES TR LAURA M GAGLIARDI       45 S GOLFWOOD AVE                                                                              CARNEYS POINT     NJ    08069‐2526
LIVING TRUST UA 1/14/05
JUDITH GAIL ECKOFF & RICHARD G ECKOFF JT TEN       26632 GOLFVIEW                                                                                 DEARBORN HEIGHTS MI     48127‐1646

JUDITH GARELICK                                  74 WOODCLIFF RD                                                                                  CHESTNUT HILL     MA    02467‐3721
JUDITH GAZIANO KANE                              14 PINEHURST LN                                                                                  FALMOUTH          ME    04105‐1161
JUDITH GLORIA MARKOWITZ TOD LEAH BERKOWITZ       99‐40 63RD RD APT 9J                                                                             REGO PARK         NY    11374‐1905
SUBJECT TO STA TOD RULES
JUDITH GOLDFIELD                                 145 E 15TH STREET                     APT 12 T                                                   NEW YORK          NY    10003‐3540
JUDITH GOODWIN BOYER                             1480 W PAGE AVE                                                                                  GILBERT           AZ    85233‐4636
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                         Part 4 of 8 Pg 423 of 855
Name                                               Address1                               Address2                  Address3                Address4          City              State Zip

JUDITH GOSNELL ARIGO                            56 SPRING KNOLL COURT                                                                                         COLORA            MD    21917‐1433
JUDITH GUREN & ARTHUR L GUREN JT TEN            5803 PINE ST                                                                                                  HUBBARD LAKE      MI    49747‐9648
JUDITH H AYER                                   9124 RIVERS BRIDGE RD                                                                                         OLAR              SC    29843
JUDITH H BROWN                                  23104 MURRAY                                                                                                  DEARBORN          MI    48128‐1828
JUDITH H CHAPMAN                                2217 COLQUITT ST                                                                                              HOUSTON           TX    77098‐3302
JUDITH H DAVID                                  976 STATE ROUTE 37                                                                                            AKWESASNE         NY    13655
JUDITH H FAVA                                   449 RESERVOIR ROAD                                                                                            LUNENBURG         MA    01462‐1536
JUDITH H FIRST                                  6 PICKWICK WAY                                                                                                WAYLAND           MA    01778‐3800
JUDITH H HAMILTON                               4 CINDY LN                                                                                                    BERLIN            CT    06037‐3105
JUDITH H HARRIS                                 PO BOX 125                                                                                                    FRANKLIN          PA    16323‐0125
JUDITH H HILL                                   451 TORREY PINES PT                                                                                           NAPLES            FL    34113‐7545
JUDITH H LANGLEY                                1345 KAY BROADWATER RD                                                                                        UTICA             MS    39175‐9321
JUDITH H LEUTNER & JOHN C LEUTNER JT TEN        3202 ALLNESS LN                                                                                               HERNDON           VA    20171
JUDITH H MILLER                                 BOX 864                                                                                                       MILTON            WA    98354‐0864
JUDITH H MORRIS                                 77 17N US23                                                                                                   OSCODA            MI    48750
JUDITH H PROCTOR                                7817 ELLENHAM AVE                                                                                             BALTIMORE         MD    21204‐3521
JUDITH H RANKIN                                 6307 E HALBERT RD                                                                                             BETHESDA          MD    20817‐5409
JUDITH H REESE                                  PO BOX 602                                                                                                    UWCHLAND          PA    19480‐0602
JUDITH H RONNING                                BOX 864                                                                                                       MILTON            WA    98354‐0864
JUDITH H STELLATO                               2270 HIGHWAY 50 E                                                                                             CENTERVILLE       TN    37033‐5110
JUDITH H TOWNS & MARVIN W TOWNS JT TEN          918 PLYMOUTH RD                                                                                               SAGINAW           MI    48603‐7143
JUDITH HAMELINK                                 6413 DALE AVE                                                                                                 NEWFANE           NY    14108‐9763
JUDITH HAWES                                    3482 LINDEN STREET                                                                                            KINGSTON          MI    48741‐9772
JUDITH HEAD                                     873 DANCING OAKS CIR                      APT 1                                                               MENOMONIE         WI    54751‐6903
JUDITH HEALEY                                   2856 SHAKESPEARE LN                                                                                           AVON              OH    44011‐1952
JUDITH HEISS                                    3107 BEACH RD NW                                                                                              ALBUQUERQUE       NM    87104
JUDITH HENRY WALLACE CUST JEFFREY JAMES WALLACE 1320 EVERGREEN DR                                                                                             EUGENE            OR    97404‐2810
UTMA CA
JUDITH HIGGINS                                  14 BRONXVILLE GLEN DR #6‐20                                                                                   BRONXVILLE        NY    10708‐6846
JUDITH HORRIFAN TR E NICOLE HORRIGAN UA 12/8/80 16 HEMLOCK RIDGE                                                                                              WESTON            CT    06883‐2000

JUDITH HORTON                                      833 MAIN STREET APT A                                                                                      BELLEVILLE        NJ    07109‐3433
JUDITH HUGELMAIER                                  PO BOX 93                                                                                                  HAMLIN            NY    14464‐0093
JUDITH I BAHRINGER                                 109 READY ST                                                                                               WETUMPKA          AL    36092
JUDITH I COLER                                     132 FERNBARRY DR                                                                                           WATERFORD         MI    48328‐3113
JUDITH I HALLETT & JOHN G HALLETT JT TEN           8727 SHERIDAN RD                                                                                           MILLINGTON        MI    48746‐9038
JUDITH I MAPES                                     308 CROSSFIELD DR                                                                                          KNOXVILLE         TN    37920‐9224
JUDITH I PAGE                                      6414 GREER RD                                                                                              W BLOOMFIELD      MI    48324‐1017
JUDITH I PARTLETT                                  1296 CARBONE DRIVE                                                                                         COLUMBUS          OH    43224‐2017
JUDITH I REDDY                                     6434 W 14TH ST                                                                                             INDIANAPOLIS      IN    46214‐3511
JUDITH I ZIRALDO                                   R R 1 NIAGARA PKWY                     NIAGARA ON LAKE ONTARIO                           L0S 1J0 CANADA
JUDITH IANNELLO                                    6171 LILLY POND WAY                                                                                        ONTARIO           NY    14519‐8622
JUDITH IRENE FLATTERY & JOHN L FLATTERY JT TEN     724 BROOKWOOD LN E                                                                                         ROCHESTER HLS     MI    48309‐1542

JUDITH J ADAMS                                     43297 RIVERGATE DRIVE                                                                                      CLINTON TWP       MI    48038‐1346
JUDITH J BORTON                                    ATTN JUDITH J LAWSON                   PO BOX 57                 1938 N ENGLEHART ROAD                     DEFORD            MI    48729‐9648
JUDITH J GIBSON                                    659 CEDAR POINT DR                                                                                         BUFFALO SPRINGS   VA    24529‐1511

JUDITH J LACOSTE                                   830 SAINT LOUIS ST                                                                                         LAFAYETTE         LA    70506‐3270
JUDITH J LAWSON                                    PO BOX 57                              1938 N ENGLEHART ROAD                                               DEFORD            MI    48729‐9648
JUDITH J ONEAL                                     2555 SOUTH 600 W                                                                                           RUSSIAVILLE       IN    46979‐9475
JUDITH J PETOSKEY                                  311 WEST ST                                                                                                GRANDLEDGE        MI    48837‐1135
JUDITH J SLAGLE                                    8155 S CLIPPINGER DR                                                                                       CINCINNATI        OH    45243‐3245
JUDITH J TOSH                                      633 CRESCENT AVE                                                                                           GLENSIDE          PA    19038‐5417
JUDITH J WYKERT TOD BRAD WYKERT SUBJECT TO STA     13846 RAYMOND                                                                                              CALDWELL          ID    83607‐7736
TOD RULES
JUDITH J WYKERT TOD BRETT WYKERT SUBJECT TO STA    13846 RAYMOND                                                                                              CALDWELL          ID    83607‐7736
TOD RULES
JUDITH JAY COHEN                                   1133 52ND ST NE                                                                                            CANTON            OH    44714‐1004
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 424 of 855
Name                                               Address1                              Address2               Address3        Address4          City              State Zip

JUDITH JILL CRUSEN                                 3222 BIRCH ROW                                                                                 EAST LANSING      MI    48823‐1504
JUDITH JOY SCHUETT                                 15558 DIXIE                                                                                    REDFORD           MI    48239‐3602
JUDITH K ALLISON                                   6465 MASON RD                                                                                  MASON             OH    45040‐1211
JUDITH K ASHBURN                                   1755 S CO RD 800 E                                                                             GREENTOWN         IN    46936
JUDITH K BADER                                     3785 ALTA VISTA                                                                                DALLAS            TX    75229‐2727
JUDITH K BARR                                      5011 N IRISH ROAD                                                                              DAVISON           MI    48423‐8911
JUDITH K BOW                                       8671 TIMBER TRAIL                                                                              FREELAND          MI    48623‐9541
JUDITH K BOWLING                                   1423 E HILLSBORO BLVD APT 418                                                                  DEERFIELD BCH     FL    33441
JUDITH K BRYSON                                    23307 STILES CT                                                                                TRENTON           MI    48183‐5405
JUDITH K BULAS                                     1918 HUNTERS LANE                                                                              LAKE ORION        MI    48360‐1862
JUDITH K BULAS CUST LISA DENISE BULAS UGMA MI      1918 HUNTERS LANE                                                                              LAKE ORION        MI    48360‐1862

JUDITH K CHRISTIANSEN CUST ERIC A CHRISTIANSEN     509 MARSHALL AVE                                                                               SANDUSKY          OH    44870‐5439
UGMA OH
JUDITH K CHRISTIANSEN CUST TODD P CHRISTIANSEN     509 MARSHALL AVE                                                                               SANDUSKY          OH    44870‐5439
UGMA OH
JUDITH K CUMBLER                                   1947 ROANOKE AVE                                                                               LOUISVILLE       KY     40205‐1415
JUDITH K DUNN                                      425 WOODLAND PASS                                                                              EAST LANSING     MI     48823‐2025
JUDITH K FARHAT                                    131 BARRINGTON CIR                                                                             ALPENA           MI     49707
JUDITH K GUGLIELMETTI                              32719 STRICKER DR                                                                              WARREN           MI     48093‐5756
JUDITH K HARRIS                                    3420 WESTWOOD PL                                                                               WEST TERRE HAUTE IN     47885‐8993

JUDITH K LAVEN TR JUDITH K LAVEN TRUST UA 10/30/91 9141 OTTAWATTAMIE TRIAL                                                                        SHELBY            MI    49455‐9363

JUDITH K LEVINE                                    1227 SW TAMARIND WAY                                                                           BOCA RATON        FL    33486‐5556
JUDITH K LIPITZ                                    27122 PRESTON RD                                                                               PUEBLO            CO    81006‐9750
JUDITH K MALAMED                                   303 MONTROSE AVE                                                                               SOUTH ORANGE      NJ    07079
JUDITH K MOFFETT                                   22230 ARDMORE PARK DR                                                                          ST CLAIR SHORES   MI    48081‐2006
JUDITH K MYERS                                     ATTN JUDITH K CARPENTER               PO BOX 58                                                HOLDER            FL    34445‐0058
JUDITH K POWERS                                    1595 DARRTOWN RD                                                                               HAMILTON          OH    45013‐9305
JUDITH K REYNOLDS                                  W7403 ARNDT RD                                                                                 NEILLSVILLE       WI    54456‐7829
JUDITH K ROURKE                                    92 CLUBHOUSE LANE                                                                              LEBANON           OH    45036‐8104
JUDITH K RUYTS                                     1895 CAMDEN AVE                                                                                SAN JOSE          CA    95124‐2945
JUDITH K SCOTT                                     1972 EATON GETTYSBURG RD                                                                       EATON             OH    45320‐9605
JUDITH K STOKFISZ                                  9139 IDAHO                                                                                     LIVONIA           MI    48150‐3811
JUDITH K STULTZ                                    2082 WINFIELD PARK DR                                                                          GREENFIELD        IN    46140‐2791
JUDITH K WARSHAW & STUART A WARSHAW JT TEN         170 MAGNOLIA CIRCLE                                                                            LONGMEADOW        MA    01106‐2527

JUDITH K WEAVER                                    3032 N W 38TH ST                                                                               GAINSVILLE        FL    32606‐6143
JUDITH K YOUNGBLOOD                                1003 DULANEY LANE                                                                              ANNAPOLIS         MD    21403‐4208
JUDITH KAREN EWASUK                                7765 RIVERGATE DR                                                                              WESTLAND          MI    48185‐6968
JUDITH KAY CORKE & ALAN JAMES CORKE JT TEN         5974 BIG NANCE DR                                                                              RALEIGH           NC    27616‐5795
JUDITH KAY INGRAM                                  2041 BRIAR HILL RD                                                                             FLINT             MI    48503‐4623
JUDITH KAZANJIAN MULVEY                            140 TROUT RUN MEWS E                                                                           MEDIA             PA    19063‐1181
JUDITH KELLER PARKER                               423 RED TRAIL LN                                                                               HAMILTON          MT    59840‐2506
JUDITH KELLY                                       PO BOX 1066                           28831 SPRUCE ROAD                                        PINE VALLEY       CA    91962
JUDITH KILBANE                                     17619 BRADGATE AV                                                                              CLEVELAND         OH    44111‐4133
JUDITH KINGSFORD                                   2670 S 7TH ST APT 2                                                                            LA CROSSE         WI    54601‐5275
JUDITH KROON                                       2240 RIDGEWAY AVE                                                                              ROCHESTER         NY    14626‐4110
JUDITH KUREK                                       ATTN JUDITH PACK                      5615 EAST RIVER ROAD                                     GRAND ISLAND      NY    14072‐1003
JUDITH L ACHTERMANN                                264 VOLUSIA AVE                                                                                DAYTON            OH    45409‐2225
JUDITH L ASHIN TR JAY L ASHIN NON EXEMPT MARITAL   102 STATE ST S #W301                                                                           KIRKLAND          WA    98033‐6619
TRUST UA 05/11/02
JUDITH L ASHIN TR JUDITH L ASHIN SURVIVORS TRUST   102 STATE ST S #W301                                                                           KIRKLAND          WA    98033‐6619
UA 05/11/02
JUDITH L BELL                                      351 WOODLAND AVE                                                                               SALEM             OH    44460
JUDITH L BURCHFIELD                                4064 SUMMIT VIEW DR NE                                                                         GRAND RAPIDS      MI    49525‐1905
JUDITH L BURKHARD                                  9660 CHERRY VALLEY RD                                                                          GENOA             IL    60135‐8925
JUDITH L CAMPBELL                                  127 MAYNARD AVE                                                                                MANCHESTER        NH    03103‐3024
                                               09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 425 of 855
Name                                                Address1                                Address2             Address3          Address4          City               State Zip

JUDITH L CANNELL                                    4519 BLACK OAK WOODS                                                                             SAN ANTONIO        TX    78249‐1477
JUDITH L CHIRIKOS                                   426 WATERFORD CT                                                                                 WILLOWBROOK        IL    60527‐5436
JUDITH L CHOATE                                     4007 GYPSUM HILL RD                                                                              HAYMARKET          VA    20169‐2403
JUDITH L CORYELL                                    1218 CHESTER ROAD                                                                                LANSING            MI    48912‐4809
JUDITH L CRADDOCK                                   11805 E 78TH TERR                                                                                KANSAS CITY        MO    64138
JUDITH L DANIS                                      525 WHISPER MOUNTAIN RD                                                                          FRANKLIN           NC    28734‐3877
JUDITH L DAVIS                                      GORHAM ROAD                                                                                      HARWICHPORT        MA    02646
JUDITH L DUROCHER                                   36822 ALMONT                                                                                     STERLING HTS       MI    48310
JUDITH L FINLEY                                     4724 WAYMIRE AVENUE                                                                              DAYTON             OH    45406‐2446
JUDITH L FRANK                                      7218 RIDGE HWY                                                                                   BRITTON            MI    49229‐9569
JUDITH L GEARHART                                   3505 LAKE LOUISE DRIVE                                                                           GROVE CITY         OH    43123
JUDITH L GETTEL & DANA KAY BLAKE JT TEN             2243 TOTTENHAM ROAD                                                                              BLOOMFIELD HILLS   MI    48301‐2334

JUDITH L GIBBONS                                    13880 EUNICE LANE                                                                                ROCKTON            IL    61072‐9723
JUDITH L GOLDIN                                     2427 TREYMORE DR                                                                                 ORLANDO            FL    32825‐7542
JUDITH L HERNANSKEY                                 1570 W MAGGIO WAY                       APT 2003                                                 CHANDLER           AZ    85224‐6480
JUDITH L HUNT                                       4910 ASHTON COURT                                                                                MORGANTON          NC    28655‐7851
JUDITH L JOHNSON                                    C/O RAMSDELL                            421 N ELMWOOD                                            TRAVERSE CITY      MI    49684‐2161
JUDITH L LONG                                       5 KILBRIDE DR                           WHITBY ON                              L1R 2B2 CANADA
JUDITH L LONGNECKER                                 119 WOODWARD LN                                                                                  SHERMAN            TX    75090‐3228
JUDITH L LOVE                                       22757 W BLUFF CT                                                                                 WEST LINN          OR    97068‐8259
JUDITH L MASTRILLI TR JUDITH L MASTRILLI TRUST UA   295 DOLORES DR                                                                                   PLEASANT LAKE      MI    49272‐9792
08/02/01
JUDITH L MC CLURE TR WANDA J HUTT TRUST UA          501 SE PETERSON ST                                                                               ANKENY             IA    50021‐3438
12/17/91
JUDITH L MCCAIN                                     BOX 231                                                                                          WINDFALL           IN    46076‐0231
JUDITH L MCDONALD EX EST RICHARD A MCDONALD         16 CLOVER DRIVE #6C                                                                              ESSEX JUNCTION     VT    05452‐2255

JUDITH L MILLER                                     1929 FARM VALLEY DR                                                                              CHESTERFIELD       MO    63017‐5448
JUDITH L MITCHELL                                   1106 KING ARTHUR LN                                                                              LOUISVILLE         KY    40222‐4415
JUDITH L MOOR                                       419 N BROADWAY AVE                                                                               GRAND MARAIS       MN    55604
JUDITH L MORAN                                      93 PARLIAMENT LANE                                                                               FLINT              MI    48507‐5929
JUDITH L OSBORN                                     4212 COLUMBUS AVE                                                                                ANDERSON           IN    46013‐5018
JUDITH L ROSENCRANS & WILLIAM C ROSENCRANS JT       3586 CREEKWOOD                                                                                   SAGINAW            MI    48601‐5603
TEN
JUDITH L SCHMIDT                                    5750 VIA REAL UNIT 205                                                                           CARPINTERIA        CA    93013‐2615
JUDITH L SCHOTT & LINN A CALHOUN JT TEN             36 EAGLE DR                                                                                      E DOUGLAS          MA    01516‐2356
JUDITH L SHACKLEFORD                                2854 SKYE DRIVE                                                                                  FAYETTEVILLE       NC    28303‐5922
JUDITH L SIGELKO                                    1903 PAGEANT WAY                                                                                 HOLT               MI    48842‐1546
JUDITH L SILVA                                      3508 CRANBROOK WAY                                                                               CONCORD            CA    94520‐1533
JUDITH L SUHY                                       2353 HAYSON AVE                                                                                  PITTSBURGH         PA    15220‐3907
JUDITH L TANGER EX UW CHARLES R TANGER              1577 HURFFVILLE RD                                                                               SEWELL             NJ    08080‐4273
JUDITH L TROESTLER                                  3351 S ILLINOIS AV                                                                               MILWAUKEE          WI    53207‐3713
JUDITH L VERNON                                     169 ANAPALAU ST                                                                                  HONOLULU           HI    96825‐1833
JUDITH L VLCEK                                      1653 COUGAR AVENUE                                                                               NORFOLK            VA    23518‐2905
JUDITH L WECHTER                                    2725 OAK ROAD                           APT A                                                    WALNUT CREEK       CA    94597‐2898
JUDITH L WELCH                                      PO BOX 44                                                                                        FOOTVILLE          WI    53537
JUDITH L WILLIS                                     314 ALEX PIKE                                                                                    ANDERSON           IN    46012
JUDITH LATCHFORD                                    15 SYLVIA DR                                                                                     DEPEW              NY    14043‐2124
JUDITH LAURIE ELLIOTT                               320 RIBLETT LANE                                                                                 WILMINGTON         DE    19808‐1302
JUDITH LAYETTE                                      17436 SAUK DR                                                                                    LOCKPORT           IL    60441‐7689
JUDITH LEE LARRACEY                                 6044 ANGELA CT                                                                                   PLAINFIELD         IN    46168‐9314
JUDITH LEVINE ROSEMAN & JAY R ROSEMAN JT TEN        5445 HARLESTON DRIVE                                                                             LYNDHURST          OH    44124‐3742

JUDITH LONG NEAL                                    45 SHORE RD                                                                                      ARLINGTON          MA    02476‐8123
JUDITH LYN KOHLER                                   4020 RIVERSIDE DR                                                                                YOUNGSTOWN         OH    44511‐3526
JUDITH LYNN                                         7 UNIVERSITY AVENUE                                                                              ATLANTA            NY    14808‐9702
JUDITH LYNN DYER                                    2199 S CHESTERDR                                                                                 CHARLOTTE          MI    48813‐9546
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 426 of 855
Name                                                Address1                            Address2                 Address3      Address4          City           State Zip

JUDITH LYNN FREDA CUST GREGORY JOSEPH FREDA         354 E MONTANA ST                                                                             MILWAUKEE      WI    53207‐2018
UTMA WI
JUDITH LYNN VOGEL                                   PO BOX 3608                                                                                  VISALIA        CA    93278‐3608
JUDITH LYNN WHITEHEAD                               PO BOX 552                                                                                   PARKMAN        OH    44080‐0552
JUDITH M ALLEN                                      2462 LARIAT LANE                                                                             WALNUT CREEK   CA    94596‐6635
JUDITH M APPERSON‐NIEMAN & JOHN F NIEMAN JR JT      6484 HICKORY HOLLOW CT                                                                       FLINT          MI    48532‐2055
TEN
JUDITH M ASHER                                      ATTN JUDITH ASHER SCHROEDER         1487 KIEV ST                                             SPRINGFIELD    OR    97477‐3554
JUDITH M BATES                                      8910 DOUGLAS COURT                                                                           OMAHA          NE    68114‐4075
JUDITH M BENDER                                     7700 JANES AVE                                                                               WOODRIDGE      IL    60517‐2922
JUDITH M BENDER TR UW ELSIE E PANTLIK FBO BETSY E   273 HIGHVIEW                                                                                 ELMHURST       IL    60126‐2519
OWENS
JUDITH M BOBKO                                      5856 KUENZER DRIVE                                                                           SEVEN HILLS    OH    44131‐1926
JUDITH M CHURCH                                     1825 S HARRISON AVE                                                                          HARRISON       MI    48625‐9562
JUDITH M DAVIN                                      C/O JUDITH M KNOTTS                 8207 SCENIC RIDGE COVE                                   AUSTIN         TX    78735‐1632
JUDITH M DICKERSON                                  10211 W GREENFIELD AVE              LOT 78                                                   MILWAUKEE      WI    53214‐3913
JUDITH M DINGHOFER TR JUDITH M DINGHOFER TRUST      850 STUARTS DRIVE                                                                            ST CHARLES     IL    60174‐4715
UA 04/15/04
JUDITH M DIONISE                                    3071 SPICE LN                                                                                NORTH PORT     FL    34286‐3548
JUDITH M DRURY                                      68 MARTIN DRIVE                                                                              NOVATO         CA    94949‐6244
JUDITH M DYBALSKI                                   4735 S CO RD 500 E                                                                           KOKOMO         IN    46902
JUDITH M EARL                                       491 WATERBURY CT                                                                             BELLEVILLE     MI    48111‐4928
JUDITH M FRANK                                      72 WEST AVENUE                                                                               HICKSVILLE     NY    11801‐4636
JUDITH M FRANKLIN                                   7336 SPRAGUE ST                                                                              ANDERSON       IN    46013‐3941
JUDITH M GEORGE TR JUDITH M GEORGE TRUST UA         1641 MIDNIGHT PASS WAY                                                                       CLEARWATER     FL    33765‐1821
10/30/00
JUDITH M GIAZZON                                    5028 LOWER MT ROAD                                                                           LOCKPORT       NY    14094
JUDITH M GIORGI                                     2182 SW WONDERVIEW DR                                                                        GRESHAM        OR    97080‐9511
JUDITH M GREEN‐STAEBLER                             7150 W ELLSWORTH RD                                                                          ANN ARBOR      MI    48103‐9277
JUDITH M GURD                                       5669 ELLSWORTH AVE                                                                           STANTON        MI    48888‐9780
JUDITH M HARRINGTON                                 86 GABRIELLE DRIVE                                                                           CHEEKTOWAGA    NY    14227‐3453
JUDITH M HASSEL TR JUDITH M HASSEL REVOCABLE        120 HARVARD DRIVE                                                                            HARTSDALE      NY    10530‐2026
TRUST UA 2/12/98
JUDITH M HOPPER & WILLIAM HOPPER JR JT TEN          PO BOX 274                                                                                   CITRA          FL    32113‐0274
JUDITH M HUGHES                                     G‐3334 HERRICK                                                                               FLINT          MI    48532‐4809
JUDITH M JACKS                                      5012 N ORCHARD VIEW DR                                                                       JANESVILLE     WI    53545‐9694
JUDITH M JONES                                      32354 MERMAID RUN                                                                            MILLSBORO      DE    19966‐4461
JUDITH M JORGENSEN                                  19 PLAINFIELD STREET                                                                         ENFIELD        CT    06082‐5813
JUDITH M KEEFE                                      7 BROOKFIELD CIRCLE                                                                          WELLESLEY      MA    02481‐2407
JUDITH M KERANIS                                    303 10TH ST                                                                                  HONESDALE      PA    18431‐1918
JUDITH M KING                                       2898 BEEBE RD                                                                                NEWFANE        NY    14108‐9630
JUDITH M KNUDSEN                                    13 WINDY HILL ROAD                                                                           GLENARM        MD    21057‐9636
JUDITH M KUBISZEWSKI                                S81 W17385 JOEL DR                                                                           MUSKEGO        WI    53150‐8036
JUDITH M LAIRD                                      1311 S WASHINGTON                                                                            KOKOMO         IN    46902‐6352
JUDITH M LINSCOTT & ERNEST H LINSCOTT JT TEN        56 PLAIN ST                                                                                  BRAINTREE      MA    02184‐7034
JUDITH M LORANGER & RICHARD A LORANGER JT TEN       4340 FARMHOUSE LANE                                                                          FAIRFAX        VA    22032‐1614

JUDITH M MAGEDMAN                                   2182 SW WONDERVIEW DRIVE                                                                     GRESHAM        OR    97080
JUDITH M MANNING                                    #204                                1503 LARGO RD                                            RICHMOND       VA    23233‐4529
JUDITH M MARTIN                                     2915 IDA AVE                                                                                 DAYTON         OH    45405‐2734
JUDITH M MC CONNAUGHEY                              40 LOUISA STREET APT 1                                                                       NORTH          NY    14120‐3127
                                                                                                                                                 TONAWANDA
JUDITH M MC INTYRE & RICHARD MC INTYRE JT TEN       11327 AUBURNDALE STREET                                                                      LIVONIA        MI    48150‐2840

JUDITH M MEIER CUST                                 1349 WEST STOP 11 ROAD                                                                       INDIANAPOLIS   IN    46217
JUDITH M MORGAN & DONALD C MORGAN JT TEN            1440 WOODLAND PL                                                                             PLYMOUTH       MI    48170‐1569

JUDITH M NALEPA                                     4018 VASSAR ST                                                                               DEARBORNE      MI    48125‐2403
                                                                                                                                                 HEIGHTS
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 427 of 855
Name                                             Address1                                Address2                   Address3    Address4          City               State Zip

JUDITH M NOAKES                                  1008 GLIDE                                                                                       ROCHESTER          NY    14606‐2751
JUDITH M OGINSKY                                 914 CHIPMAN LN                                                                                   OWOSSO             MI    48867‐4962
JUDITH M POLING & JOHN W POLING JT TEN           5998 SOUTH RIDGEVIEW ROAD                                                                        ANDERSON           IN    46013‐9774
JUDITH M PRIOR & PAUL D PRIOR JT TEN             21 FRONT ST                                                                                      HOPKINTON          MA    01748‐1907
JUDITH M REES & DANIEL R REES JT TEN             2015 RED FOX RUN                                                                                 CORTLAND           OH    44410‐1816
JUDITH M ROZGA                                   6144 TWIN OAK DR                                                                                 GREENDALE          WI    53129‐2633
JUDITH M RUPP                                    1027 WINNEBAGO AVE                                                                               SANDUSKY           OH    44870‐1762
JUDITH M RURAK & RICHARD J RURAK JT TEN          1425 PEBBLE RIDGE DRIVE                                                                          ROCHESTER          MI    48307
JUDITH M SCHWEIGERT & KURT L SCHWEIGERT JT TEN   3632 BALD MOUNTAIN RD                                                                            LAKE ORION         MI    48360‐2403

JUDITH M SERBACKI                                5905 LOCUST ST EXT                                                                               LOCKPORT           NY    14094‐6509
JUDITH M SERVAITES                               7660 DUFFIELD CIR                                                                                CENTERVILLE        OH    45459‐5112
JUDITH M SNYDER                                  C/O JUDITH M SOLOMON                    29 MISTY ACRES ROAD                                      ROLLING HILL ESTAT CA    90274‐5749

JUDITH M STAPLETON                            604 SW 5TH ST                                                                                       OAK GROVE          MO    64075‐9752
JUDITH M STONE CUST KATHRYN ANN STONE UGMA MI 280 CANTERBURY DR                                                                                   BLOOMFIELD HILLS   MI    48304‐2918

JUDITH M STOWELL                                 58438 GREENFIELD CT                                                                              THREE RIVERS       MI    49093‐9561
JUDITH M THURSTON & EDWIN F THURSTON JT TEN      144 FENTON ROAD                                                                                  MONSON             MA    01057‐9616

JUDITH M TOMPKINS TR JUDITH M TOMPKINS REV       805 N HICKORY RIDGE RD                                                                           HIGHLAND           MI    48357‐4126
LIVING TRUST UA 1/17/00
JUDITH M WALKER                                  578 N HURON VIEW ROAD                                                                            PORT SANILAC       MI    48469
JUDITH M WEISS                                   163‐36 16TH AVE                                                                                  WHITESTONE         NY    11357‐3328
JUDITH M WITTBRODT & MAXINE A WITTBRODT JT TEN   4183 S WEST‐BAY SHORE DR                                                                         SUTTONS BAY        MI    49682‐9749

JUDITH M ZEGLIN                                  5046 BRIGHTON LN                                                                                 NEW BRIGHTON       MN    55112‐4824
JUDITH M ZEGLIN                                  5046 BRIGHTON LANE                                                                               NEW BRIGHTON       MN    55112‐4824
JUDITH MACQUEEN                                  107 DONETTE LOOP                                                                                 DAPHNE             AL    36526‐7765
JUDITH MAGEDMAN                                  2182 SW WONDERVIEW DR                                                                            GRESHAM            OR    97080‐9511
JUDITH MAHLER                                    1111 UNIVERSITY BLVD W                  APT 316                                                  SILVER SPRING      MD    20902‐3316
JUDITH MARIE ARNETTE GEORGE                      346 SHADY LAKE PARKWAY                                                                           BATON ROUGE        LA    70810‐4320
JUDITH MARIE COTTER                              111 BELLA VISTA TRAIL                   ALLISTON ON                            L9R 2E2 CANADA
JUDITH MARIE HAVEMANN                            1904 AMHERST AVE                                                                                 MUSCATINE          IA    52761‐3504
JUDITH MARIE SKARVI                              7512 MASON STREET                                                                                SWARTZ CREEK       MI    48473‐1492
JUDITH MARIE STALY                               126 FORESTVIEW DRIVE                                                                             DEPEW              NY    14043‐1716
JUDITH MARY MC CORD                              2470 MORSLEY ROAD                                                                                ALTADENA           CA    91001‐2718
JUDITH MASON CUST BRANDON J MASON UTMA FL        3136 20TH AVE SOUTH                                                                              ST PETERSBURG      FL    33712‐2907

JUDITH MC MILLAN MATTOX                       825 ELIZABETH DR                                                                                    BATON ROUGE        LA    70815‐4506
JUDITH MILLUS CUST CRAIG STEVEN NAGDEMAN UGMA 3885 BROOKSIDE DR                                                                                   CROWN POINT        IN    46307‐8941
IN
JUDITH MILLUS CUST ERIC ALAN NAGDEMAN UGMA IN 10686 N D DR                                                                                        KENDALLVILLE       IN    46755‐9727

JUDITH MOSELEY MILLER                            4455 ROXBOROUGH PL                                                                               PENSACOLA          FL    32514‐8213
JUDITH N COLLISHAW                               9505 SEDDON COURT                                                                                BETHESDA           MD    20817‐2048
JUDITH N GANNON                                  212 WATER STREET                                                                                 RIDLEY PARK        PA    19078‐3225
JUDITH N HARVEY                                  15 CAROLYN LANE                                                                                  EAST FALMOUTH      MA    02536‐6213
JUDITH N LAW                                     9430 BENTRIDGE AVE                                                                               POTOMAC            MD    20854‐2870
JUDITH N PURGERSON                               704 TREE LN                                                                                      SHREVEPORT         LA    71106‐2130
JUDITH NELSON YATES                              1421 O ST                                                                                        BEDFORD            IN    47421‐3621
JUDITH NEUBERT                                   1221 NAKOMIS DRIVE NE                                                                            ALBUQUERQUE        NM    87112‐6003
JUDITH O FINGER                                  22 BARRINGTON DR                                                                                 PALM COAST         FL    32137
JUDITH O HARVILLE                                2001 BROADWAY N E                       BROADWAY SHOPPING CENTER                                 KNOXVILLE          TN    37917‐5838
JUDITH O O MALLEY                                2722 CRESTWOOD DR SW                                                                             WARREN             OH    44485‐1227
JUDITH P BLACK CUST DANIEL J BLACK UGMA NY       33 JOHN ST                                                                                       SHOREHAM           NY    11786‐1923
JUDITH P CARMICHAEL                              21 SOUTH ELMA ST                                                                                 ANDERSON           IN    46012‐3139
JUDITH P CURTIS                                  401 ANN CT                                                                                       LIVERMORE          CA    94550‐5213
JUDITH P FISK & ROBERT C FISK JT TEN             1005 TENBY RD                                                                                    BERWYN             PA    19321‐2034
                                                 09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 428 of 855
Name                                               Address1                             Address2             Address3          Address4          City            State Zip

JUDITH P GENEWICK                                 4748 COTTAGE RD                                                                                GASPORT         NY    14067
JUDITH P GREER                                    6543 S ALLISON CT                                                                              LITTLETON       CO    80123‐3504
JUDITH P OPPENHEIM                                1901 HUNT DR                                                                                   FRIENDSWOOD     TX    77546‐5138
JUDITH P RHINE                                    7 WAVERLY PL                                                                                   MONSEY          NY    10952‐2538
JUDITH PARKER MAYER                               PO BOX 486                                                                                     MOORINGSPORT    LA    71060‐0486
JUDITH PIECZYNSKI                                 320 BARNARD ST                                                                                 BUFFALO         NY    14206‐3213
JUDITH PRINCE                                     169 BEAVER ST                                                                                  DANIELS         WV    25832‐9655
JUDITH PYKE ROBERTSON                             GREEN HILL FARM                                                                                NEW HOPE        PA    18938
JUDITH QUELER CUST SIDNEY QUELER UGMA MA          25 CRESCENT ST APT 535                                                                         WALTHAM         MA    02453
JUDITH R BRADEN                                   406 WORTHINGTON DR                                                                             MARS            PA    16046
JUDITH R FRISCH                                   3888 ROLLINS                                                                                   WATERFORD       MI    48329‐2056
JUDITH R FRISCH & TERRY L FRISCH JT TEN           3888 ROLLINS                                                                                   WATERFORD       MI    48329‐2056
JUDITH R HARRIS                                   61 SOMERSET                                                                                    BUFFAO GROVE    IL    60089‐1535
JUDITH R JONES CUST ABBIGAIL BESS JACKSON UTMA TN 201 HIGH POINTE VILLAGE WAY                                                                    KINGSTON        TN    37763‐7008

JUDITH R JONES CUST MACKENZIE LYNN JONES UTMA      201 HIGH POINTE VILL WAY                                                                      KINGSTON        TN    37763‐7008
TN
JUDITH R JONES CUST MICHAEL TAN WEE UTMA TN        201 HIGH POINTE VILLAGE WAY                                                                   KINGSTON        TN    37763‐7008

JUDITH R MAIER                                     804 RUSTIC ROAD                                                                               ANDERSON        IN    46013‐1544
JUDITH R MANDRAS                                   1450 TRIPODI CIRCLE                                                                           NILES           OH    44446‐3563
JUDITH R MAZE                                      14 TRENT RD                                                                                   MONROE TWP      NJ    08831‐1974
JUDITH R NIGGEMAN                                  18 CLOVER LN                                                                                  NEWTOWN SQ      PA    19073‐4103
JUDITH R RADER                                     42320 LORENZO CT                                                                              CLINTON TWP     MI    48038‐5053
JUDITH R REDMAN                                    524 S PRINDLE                                                                                 ARLINGTON       IL    60004‐6925
                                                                                                                                                 HEIGHTS
JUDITH R SILBERBERG                                2625 LAMBERT DR                                                                               PASADENA        CA    91107‐2621
JUDITH R WHITLOCK                                  1835 UNION LAKE                                                                               COMMERCE TWP    MI    48382
JUDITH REHAHN                                      19185 FLORENCE                                                                                ROSEVILLE       MI    48066‐2615
JUDITH RHINESTINE & SAMUEL J RHINESTINE JT TEN     416 WEST GRANT PLACE UNIT D                                                                   CHICAGO         IL    60614‐3873

JUDITH RICHARDS                                    C/O JUDITH ROYSTER                   3930 KATHMAR                                             JACKSON         MI    49203‐5209
JUDITH RILEY EDWARDS                               5289 SUNNYDALE CR E                                                                           SARASOTA        FL    34233
JUDITH RITA SMITH                                  PO BOX 41264                                                                                  DAYTON          OH    45441‐0264
JUDITH ROLIK                                       387 HUNTMERE DR                                                                               BAY VILLAGE     OH    44140‐2505
JUDITH ROLIK TR CARL H NEIDEN FAMILY TRUST UA      387 HUNTMERE DR                                                                               BAY VILLAGE     OH    44140‐2505
09/21/00
JUDITH ROSEN & DAVID L BURNETT JT TEN              54 WEST 16 ST 5D                                                                              NEW YORK        NY    10011‐6374
JUDITH ROSSANO                                     104 ROYAL TROON CT                                                                            GREER           SC    29650‐3616
JUDITH RUNYAN STEVENS                              5119 MEADOWLAKE LANE                                                                          DUNWOODY        GA    30338‐4322
JUDITH S ARMSTRONG                                 606 PALMETTO PLACE                                                                            WINTERHAVEN     FL    33880‐1132
JUDITH S BLOCK                                     1186 EAST 10TH ST                                                                             BROOKLYN        NY    11230‐4706
JUDITH S CHATTEN                                   7221 W EVANS CRK RD                                                                           ROGUE RIVER     OR    97537‐9612
JUDITH S CHINAPPI                                  916 PARMA CENTER RD                                                                           HILTON          NY    14468‐9310
JUDITH S COHEN                                     26 SHERWOOD DR                                                                                LONGMEADOW      MA    01706
JUDITH S DERFLINGER                                3624 ROCK DRIVE                                                                               WARREN          OH    44481‐9209
JUDITH S GORDON                                    592 N LEAVITT RD                                                                              LEAVITTSBURG    OH    44430‐9454
JUDITH S KILGORE                                   73 NAVAJO DRIVE                                                                               GIRARD          OH    44420‐3621
JUDITH S KILGORE & JAMES L KILGORE JT TEN          73 NAVAJO DRIVE                                                                               GIRARD          OH    44420‐3621
JUDITH S LEWIS                                     48 ECKERSON RD                                                                                HARRINGTON PK   NJ    07640
JUDITH S MAY                                       1200 ORCHARD CIR                                                                              JASPER          AL    35501‐4049
JUDITH S OWENS & RUSSELL M OWENS JR JT TEN         10705 WHITEHALL BLVD                                                                          OKLAHOMA CITY   OK    73162‐6998
JUDITH S REALL & ROBERT R REALL JT TEN             31 BEAR TRACKS LANE                                                                           TROUT CREEK     MT    59874‐9620
JUDITH S RICE                                      PO BOX 520                                                                                    INDIAN RIVER    MI    49749‐0520
JUDITH S RICE & NORMAN A PERRY JT TEN              1118 MORNINGSIDE DR                                                                           NAPA            CA    94558‐6311
JUDITH S RICE PERRY                                1118 MORNINGSIDE DR                                                                           NAPA            CA    94558‐6311
JUDITH S SCALES                                    HC 78 BOX 230‐5                                                                               TRUE            WV    25951
JUDITH S TOLKAN                                    7329 N SANTA MONICA                                                                           MILWAUKEE       WI    53217‐3508
JUDITH S VANNESS                                   PO 652                               224 W 9TH STREET                                         LAPEL           IN    46051‐0652
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 429 of 855
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JUDITH S WALTERS                                   544 DAHLGREEN RD                                                                                GLEN BURNIE       MD    21061‐5122
JUDITH S ZIMMERMAN                                 1617 ZARKER ROAD                                                                                LANCASTER         PA    17601‐5052
JUDITH S ZORB TR JUDITH S ZORB TRUST UA 11/05/97   6674 PAXTON GUINEA RD                                                                           LOVELAND          OH    45140‐8171

JUDITH SANTIAGO                                    29 NAVAJO AVE                                                                                   LAKE HIAWATHA     NJ    07034‐2716
JUDITH SCHAAF & WAYNE M SCHAAF JT TEN              12781 SAFFORD WEST                                                                              GARDEN GROVE      CA    92640
JUDITH SCHAFFT                                     14341C HARBOUR LINKS CT                                                                         FT MYERS L        FL    33908‐7949
JUDITH SCHAFFT CUST BRADLEY E SCHAFFT UTMA FL      14341C HARBOUR LINKS CT                                                                         FT MYERS          FL    33908‐7949

JUDITH SCHELL NURIK                                3120 BYWATER TRL                                                                                ROSWELL           GA    30075‐4799
JUDITH SCHNEIDENBACK                               660 NEW JERSEY AVENUE                                                                           LYNDHURST         NJ    07071‐2023
JUDITH SCHULTZ                                     327 NEWFIELD WAY                                                                                PEACHTREE CITY    GA    30269‐3451
JUDITH SEWARD                                      6043 ELECTRA LN                                                                                 PENSACOLA         FL    32507
JUDITH SEXTON CUST JASON SEXTON UGMA MI            21930 30 MILE RD                                                                                RAY               MI    48096‐2000
JUDITH SIMON                                       22 FAIRWAY AVE                                                                                  WEST ORANGE       NJ    07052‐2238
JUDITH SMITH JUDD                                  1339 PARKWAY CT                                                                                 HOUSTON           TX    77077‐1439
JUDITH SODDEN & JESSE SODDEN JT TEN                1582 ALPEN LANE                                                                                 TOMS RIVER        NJ    08755‐0834
JUDITH STAHRR                                      201 WALTERS DR                                                                                  LIVERPOOL         NY    13088‐4373
JUDITH STANDISH                                    7151 DURAND RD                                                                                  NEW LOTHROP       MI    48460‐9764
JUDITH STRAUSS COLE                                15863 SW 12TH ST                                                                                PEMBROKE PINES    FL    33027‐2245
JUDITH SYREK                                       1457 EMERSON NW                                                                                 GRAND RAPIDS      MI    49504‐2918
JUDITH SYVERTSEN & RICHARD SYVERTSEN JT TEN        121 LUDWIG LANE                                                                                 EAST WILLISTON    NY    11596‐1422
JUDITH T CALDWELL                                  PO BOX 152                                                                                      WILMOT            NH    03287‐0152
JUDITH T MACKAY & WILLIAM R MACKAY JT TEN          PO BOX 1307                                                                                     THONOTOSASSA      FL    33592‐1307
JUDITH T MCDONALD                                  24 VALLEY ST                                                                                    NEW PHILA         PA    17959
JUDITH T SNYDER                                    2835 N HIGH SCHOOL ROAD                                                                         INDIANAPOLIS      IN    46224‐2913
JUDITH T WARREN                                    PO BOX 202                                                                                      KITTERY POINT     ME    03905‐0202
JUDITH TRAY GRAHAM                                 212 ASHFORD CIRCLE                                                                              DUNWOODY          GA    30338
JUDITH TROY BARON & DENNIS E BARON TEN COM         BOX 14                                                                                          STRATHAM          NH    03885‐0014

JUDITH U BESON & DAVID P BESON TEN ENT        2320 JESKE DR                                                                                        KAWKAWLIN         MI    48631‐9446
JUDITH V FERGUSON                             11730 MAC CORKLE AVE                                                                                 CHESAPEAKE        WV    25315‐1035
JUDITH V GORLEY                               9290 WAYNE CENTER ROSE ROAD                                                                          LYONS             NY    14489‐9322
JUDITH V SWIDER                               1636 OAKCREST                                                                                        TROY              MI    48083‐5389
JUDITH VAICH & JANET VAICH JT TEN             45 HOLLAND ROAD                                                                                      MELROSE           MA    02176‐2605
JUDITH VAUGHAN WADE                           P O BOX # 1468                                                                                       ALVIN             TX    77512‐1468
JUDITH W CLAY                                 6593 DRAKE SETTLEMENT RD                                                                             APPLETON          NY    14008‐9640
JUDITH W HERWICK CUST JONATHAN P HERWICK UGMA 6321 N 52ND PL                                                                                       PARADISE VALLEY   AZ    85253‐4156
AZ
JUDITH W HERWICK CUST SARAH E HERWICK UGMA AZ 6321 N 52 PL                                                                                         PARADISE VALLEY   AZ    85253‐4156

JUDITH W HICKS & BRIAN D HICKS JT TEN              1322 BEAUPRE AVE                                                                                MADISON HEIGHTS MI      48071‐2650

JUDITH W JONES                                     783 BOYLSTON ST APT 2                                                                           CHESTNUT HILL     MA    02467
JUDITH W KING                                      430 LOWREY COURT NW                                                                             ROCHESTER         MN    55901‐2907
JUDITH W MEARS                                     1836 WILSON COVE                                                                                BLAIRSVILLE       GA    30512‐5988
JUDITH W PERRY                                     267 WINSLOW CIR                                                                                 COMMERCE TWP      MI    48390‐4512
JUDITH W WILKENFELD                                3407 WITHERSED LANE                                                                             WALNUT CREEK      CA    94598‐3927
JUDITH W WILLS                                     82 MASSACHUSETTS AVE                                                                            LOCKPORT          NY    14094‐3238
JUDITH W WOODRUFF                                  17904 PATICK HENRY HWY                                                                          AMELIA            VA    23002‐5043
JUDITH WARDROPE MEEK & NANCY C WARDROPE JT         10300 S LINUS LANE                                                                              OAK LAWN          IL    60453‐4708
TEN
JUDITH WEHR                                        16939 47TH AVE                                                                                  BARRYTON          MI    49305‐9774
JUDITH WEST                                        10899 HIGH BLUFF RD                                                                             CHEBOYGAN         MI    49721‐9422
JUDITH WEST                                        PO BOX 15                                                                                       NEW MILFORD       NJ    07646‐0015
JUDITH WHITES ROSE                                 149 PRATT LANE                                                                                  STATESVILLE       NC    28625‐2133
JUDITH WICKMAN CUST JEFF WICKMAN UTMA IL           5615 S NEVA AVE                                                                                 CHICAGO           IL    60638‐3126
JUDITH WOLF                                        4 FANN GROVE LANE                                                                               SANDY             UT    84092‐4867
JUDITH WOLSKY                                      23640 BRYDEN                                                                                    BEACHWOOD         OH    44122‐4025
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 430 of 855
Name                                                Address1                             Address2             Address3          Address4          City              State Zip

JUDITH WOZNIAK CUST DAVID PAUL WOZNIAK UGMA  24667 OLDE ORCHARD                                                                                   NOVI              MI    48375‐2979
MI
JUDITH WOZNIAK CUST STEVEN MICHAEL WOZNIAK   24667 OLDE ORCHARD                                                                                   NOVI              MI    48375‐2979
UGMA MI
JUDITH WOZNIAK CUST TERESA DAWN WOZNIAK UGMA 24667 OLDE ORCHARD                                                                                   NOVI              MI    48375‐2979
MI
JUDITH YASBIN CUST BARRY G FIELDS UGMA NJ    10 TIMBERLINE DRIVE                                                                                  WAYNE             NJ    07470‐5556
JUDITH Z FEIGIN CUST MICHAEL FEIGIN UGMA TX  6 HEPPLEWHITE WAY                                                                                    SPRING            TX    77382‐2068
JUDITHANN HARRISON ZACK CUST DANIEL HARRISON 3958 DEFOE SQUARE                                                                                    SARASOTA          FL    34241‐6041
ZACK UGMA MI
JUDITHANN SEAWRIGHT PERS REP EST OPAL MAE    ONE GAINSBOROUGH RD                                                                                  NEW ALBANY        IN    47150‐5490
HERTZING
JUDITY A PALACH                              11 HOBART ST                                                                                         PASSAIC           NJ    07055‐7007
JUDSON A HESS                                2085 WASHINGTON CREEK LA                                                                             CENTERVILLE       OH    45458‐2813
JUDSON A HESS                                2085 WASHINGTON CREEK LANE                                                                           CENTERVILLE       OH    45458‐2813
JUDSON A MYERS                               4140 IDE RD                                                                                          WILSON            NY    14172‐9704
JUDSON B JONES & DONNA B JONES JT TEN        72 RIVER ST                                                                                          OLD SAYBROOK      CT    06475‐1513
JUDSON C FRENCH & JULIA M FRENCH JT TEN      1207 AZALEA DR                                                                                       ROCKVILLE         MD    20850‐2025
JUDSON COLLINS                               1313 S 21ST                                                                                          BLYTHEVILLE       AR    72315‐4815
JUDSON D RUSSELL & JOY E RUSSELL JT TEN      7114 E POTTER RD                                                                                     DAVISON           MI    48423‐9527
JUDSON H GEMMILL                             5786 VAUGHN RD                                                                                       EAST PETERSBURG   PA    17520‐1541

JUDSON H LOBDELL                                    7417 JOMEL DR                                                                                 WEEKIWACHEE       FL    34607‐2015
JUDSON HOLLIS                                       202 N JEFFERSON ST                                                                            DANVILLE          IN    46122‐1140
JUDSON K LINDSEY                                    98 LINDSEY PVT DR                                                                             FALKVILLE         AL    35622‐7847
JUDSON MILLER                                       5951 GRAND RIVER DR                                                                           ADA               MI    49301‐9549
JUDSON MOSES RAVI                                   823 N ALTADENA DR                                                                             PASADENA          CA    91107‐1850
JUDSON PAUGH TR PAUGH FAMILY TRUST UA 07/12/00      18801 S HWY 10                                                                                WYANDOTTE         OK    74370‐2640

JUDSON R SMITH                                      PO BOX 294                                                                                    FITZGERALD        GA    31750‐0294
JUDSON S LANDON & CYNTHIA L LANDON JT TEN           63 SPELLMAN POINT RD                                                                          EAST HAMPTON      CT    06424‐1548
JUDSON W ALEXANDER                                  818 NUE WAY DR                                                                                LEBANON           OH    45036‐8084
JUDSON W OTT                                        1050 ARROWHEAD DRIVE                                                                          DUBUQUE           IA    52003‐8501
JUDY A ABRAHAM                                      1668 TREYBORNE CIRCLE                                                                         COMMERCE TWP      MI    48390‐2832
JUDY A ADAMS                                        1019 TOM OSBORNE RD                                                                           COLUMBIA          TN    38401‐6741
JUDY A ALLEN                                        135‐20 63 AVE                                                                                 FLUSHING          NY    11367‐1011
JUDY A BABCOCK                                      327 N KALAMAZOO AVE                                                                           MARSHALL          MI    49068‐1115
JUDY A BLANKENSHIP                                  22002 OAKWOOD AVE                                                                             WOODHAVEN         MI    48183‐1596
JUDY A BREWER                                       813 DRYDEN                                                                                    YOUNGSTOWN        OH    44505‐3728
JUDY A BRONCZYK                                     3757 MUIR RD                                                                                  ALMONT            MI    48003‐7912
JUDY A BROWN                                        309 BUFFALO ST P O BOX 72                                                                     LOUISIANA         MO    63353‐0072
JUDY A BUNS                                         14152 JENNIFER TER                                                                            LARGO             FL    33774‐5105
JUDY A BUTTERFIELD                                  6238 MALCOLM DRIVE                                                                            SAN DIEGO         CA    92115‐5704
JUDY A BUTTERFIELD & MICHAEL C BUTTERFIELD JT TEN   6238 MALCOLM DR                                                                               SAN DIEGO         CA    92115‐5704

JUDY A CARRICK                                      1727 PEGGY PL                                                                                 LANSING           MI    48910‐6507
JUDY A CLARK PERS REP EST JAMES L CLARK             1142 CABOT DRIVE                                                                              FLINT             MI    48532‐2634
JUDY A COOLEY                                       327 N KALAMAZOO AV                                                                            MARSHALL          MI    49068
JUDY A CRANE                                        451 BALDWIN AVE                                                                               ROCHESTER         MI    48307‐2101
JUDY A CREGAR                                       8251 MORRIS RD                                                                                SWARTZ CREEK      MI    48473‐9163
JUDY A DROUIN                                       7045 NORTH BRAY RD                                                                            MOUNT MORRIS      MI    48458‐8988
JUDY A EAVES                                        PO BOX 513                                                                                    ARDMORE           TN    38449‐0513
JUDY A FLICK & SANDRA K ELLWANGER JT TEN            1807 W ST LOUIS DR                                                                            KOKOMO            IN    46902‐5946
JUDY A GALE                                         1357 HEATHER CREST DR                                                                         FLINT             MI    48532‐2670
JUDY A GETZ                                         6261 N STEAMBOAT WAY                                                                          NEW MARKET        MD    21774‐6334
JUDY A GIMENEZ                                      508 RIVERSIDE DR                                                                              WOODVILLE         OH    43469‐1344
JUDY A GORHAN                                       3025 LOCKPORT OLCOTT RD              APT 1                                                    NEWFANE           NY    14108‐9775
JUDY A HAUSCHILD                                    1105 MILROY CT                                                                                WINCHESTER        VA    22601‐3019
JUDY A HUDNUT & DANIEL F HUDNUT JT TEN              14487 BOLTON RD                                                                               POSEN             MI    49776
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 431 of 855
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JUDY A HUNT                                        PO BOX 673                                                                                      BLACK CANNON      AZ    85324‐0673
                                                                                                                                                   CITY
JUDY A HUNT                                        3112 JOHANN DRIVE                                                                               SAGINAW           MI    48609
JUDY A JACKSON                                     1773 LARCHMONT AVE                                                                              WARREN            OH    44483‐3503
JUDY A KLINGLER                                    PO BOX 17663                                                                                    S LAKE TAHOE      CA    96151‐7663
JUDY A LAMPHERE                                    19343 SODER RD                                                                                  BRAINERD          MN    56401‐7266
JUDY A LANGSTON                                    114 S CUMBERLAND                                                                                PARK RIDGE        IL    60068‐4008
JUDY A LINTERN                                     1740 GREEN ST                                                                                   SAGINAW           MI    48602‐1101
JUDY A LONG                                        ATTN JUDY A LASKOWSKI                  4145 DOVER LN                                            BAY CITY          MI    48706‐2307
JUDY A MACDONALD                                   7225 HAWTHORNE CIR                                                                              GOODRICH          MI    48438‐9239
JUDY A MANN & JASON T GORSKI & SARAH L GORSKI JT   7780 WESTWOOD ST                                                                                DETROIT           MI    48228‐3342
TEN
JUDY A MAYO                                        325 ABBE ROAD                                                                                   ENFIELD           CT    06082‐5744
JUDY A MCCREARY                                    1826 MAPLES RD                                                                                  FT WAYNE          IN    46816‐2417
JUDY A MESSER                                      110 S CR 550 E                                                                                  SELMA             IN    47383
JUDY A MIDDLEBROOK                                 775 PEACHTREE LN                                                                                ROCHESTER HILLS   MI    48306‐3354
JUDY A MIWA                                        7452 COBBLE CREEK DRIVE                                                                         CORONA            CA    92880‐3183
JUDY A MONROE                                      2306 BERN AVE                                                                                   GRANITE CITY      IL    62040‐2505
JUDY A MULLER                                      15368 CAMDEN AVE                                                                                EASTPOINTE        MI    48021‐1504
JUDY A OLEJNICZAK & LAWRENCE D OLEJNICZAK JT TEN   3807 BELLOWS DR                                                                                 CAMP HILL         PA    17011‐1402

JUDY A OLSON                                       119 BALDWIN CREEK WAY                                                                           SIMPSONVILLE      SC    29680‐7412
JUDY A PARISH                                      571 BROCKHAM DR                                                                                 JACKSONVILLE      FL    32221‐3235
JUDY A PROSSER                                     515 GARTLAND AVE                                                                                SANDUSKY          OH    44870‐1804
JUDY A PUCCI CUST MICHAEL W PUCCI UGMA CT          131 ALDER LANE                                                                                  SOUTHINGTON       CT    06489‐4302
JUDY A ROMANOWSKI                                  8246 MANCHESTER                                                                                 GRAND BALNC       MI    48439‐9556
JUDY A RUSHING                                     C/O SUSAN O SCOTT                      7721 MARITIME LANE                                       SPRINGFIELD       VA    22153‐1632
JUDY A SEIGLE                                      3421 W CHESTER PIKE B‐10                                                                        NEWTOWN SQ        PA    19073‐4280
JUDY A SHAVER                                      ATTN JUDY A SULLIVAN                   14716 ROSE CT                                            WARREN            MI    48093‐3321
JUDY A SONCRAINTE                                  C/O JUDY A DEHMEL                      970 GOLFVIEW DR                                          LAKE ORION        MI    48362‐1840
JUDY A STONE                                       3930 RUTH RD                                                                                    DECKERVILLE       MI    48427‐9786
JUDY A TIDD                                        3330 NORTHFIELD RD                                                                              DAYTON            OH    45415‐1517
JUDY A TIMMERMAN                                   7905 PARKVIEW DRIVE                                                                             PARKVILLE         MO    64152‐6055
JUDY A VON BLOHN                                   7905 PARKVIEW DR                                                                                PARKVILLE         MO    64152‐6055
JUDY A WELLS                                       6564 MARMADUKE AVE                                                                              ST LOUIS          MO    63139‐2506
JUDY A WELLS                                       PO BOX 158                                                                                      LUTHER            MI    49656‐0158
JUDY A YONKERS                                     1895 PHEASANT NW                                                                                GRAND RAPIDS      MI    49544‐2323
JUDY A YONKERS & DAVID L YONKERS JT TEN            1895 PHEASANT NW                                                                                GRAND RAPIDS      MI    49544‐2323
JUDY A ZLAKET                                      3420 TULLAMORE RD                                                                               CLEVELAND         OH    44118‐2941
                                                                                                                                                   HEIGHTS
JUDY AARON SZATHMARY & PHILLIP SZATHMARY JT TEN 109 HARWICH RD                                                                                     NEWTON            MA    02467‐3024

JUDY ALDEN LYCKE                                   280 HAWTHORNE ST                                                                                MT PLEASANT       SC    29464‐3414
JUDY ANN ACKERET                                   1025 WESTCHESTER DR                                                                             SUNNYVALE         CA    94087‐2048
JUDY ANN CALLOWAY                                  580 S PEAR ORCHARD RD                  APT 911                                                  RIDGELAND         MS    39157‐4214
JUDY ANN CARR                                      9792 BOUCHER RD                                                                                 OTTER LAKE        MI    48464‐9416
JUDY ANN CHARGOT                                   3425 RIVERSIDE DR                                                                               PORT HURON        MI    48060‐1884
JUDY ANN D MUSOROFITI                              28 DEVILLE DR                                                                                   SELDEN            NY    11784‐1004
JUDY ANN JAEHN & LAWRENCE JAEHN JT TEN             1868 LAVALA LN                                                                                  EL CAJON          CA    92021‐3635
JUDY ANN LIMMER                                    1357 HEATHERCREST                                                                               FLINT             MI    48532‐2670
JUDY ANN MOORE                                     2935 BYRON CENTER SW                                                                            WYOMING           MI    49509‐6008
JUDY ANN MYERS                                     86 KNOPP VALLEY DR                                                                              WINONA            MN    55987‐1334
JUDY ANN PASCOE                                    4514 WINTERGREEN DR                                                                             TROY              MI    48098‐4373
JUDY ANN SOUZA                                     3375 EVERETT AVE                                                                                SPRING HILL       FL    34609
JUDY ANNE FOX                                      201 SUMMIT ST                                                                                   MARION            OH    43302‐4209
JUDY ANNE LONGO                                    564 NORTH EDGEMERE DRIVE                                                                        WEST ALLENHURST   NJ    07711‐1361

JUDY ANNE SHEPARD‐KEGL                             52 WHITNEY FARMS RD                                                                             NORTH YARMOUTH ME       04097‐6953
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 432 of 855
Name                                            Address1                               Address2              Address3         Address4          City            State Zip

JUDY ANNE TANNER & MARK ALAN TANNER JT TEN      10226 HEGEL RD                         PO BOX 313                                               GOODRICH        MI    48438‐0313

JUDY ANZIVINO‐DERX                             1387 MANNING AVE                                                                                 MONTGOMERY      IL    60538
JUDY B DOWNS                                   1143 CAMELOT CIRCLE                                                                              BIRMINGHAM      AL    35226‐2911
JUDY B FOREMAN                                 645 COUNTY RD                           # 2619                                                   ALTO            TX    75925‐6213
JUDY B GRUSENDORF                              900 MORNING SUN LANE                                                                             MCGREGOR        TX    76657‐9731
JUDY B HAYES & STEVEN JOHN HAYES JT TEN        464 SEEL DR                                                                                      ADRIAN          MI    49221‐1341
JUDY B LARROW                                  80 COURT ST                                                                                      MIDDLEBURY      VT    05753‐1419
JUDY B THOMAS                                  115 PIPESTONE DRIVE                                                                              SUMMERVILLE     SC    29485‐4571
JUDY BARNES                                    41700 BEMIS RD                                                                                   BELLEVILLE      MI    48111‐9162
JUDY BARRETT                                   C/O J CHARGOT                           3425 RIVERSIDE DR                                        PORT HURON      MI    48060‐1884
JUDY BERKOWITZ                                 2364 AMBER GROVE CT                                                                              SIMI VALLEY     CA    93065‐1142
JUDY BINGHAM JONES                             9083 CARTER STREET                                                                               SEDRO WOOLLEY   WA    98284‐8936
JUDY BURKS                                     8461 VINE MABLE WAY                     INDINAPOLIS                                              INDIANAPOLIS    IN    46278
JUDY C CLAYBORNE                               PO BOX 2536                                                                                      SALISBURY       MD    21802‐2536
JUDY C COGGINS                                 BOX 1508                                                                                         RALEIGH         NC    27602‐1508
JUDY C JEWELL EX EST BRADLEY D THOMAS          5229 SKYLANE DRIVE                                                                               DAYTON          OH    45414
JUDY C LUTZ                                    7457 VAN NESS AVE                                                                                HUBBARD         OH    44425‐9715
JUDY C PENDARVIS CUST NANCY LAURA COOK UGMA SC BOX 44                                                                                           GRAY COURT      SC    29645‐0044

JUDY C RISH                                     2309 HOOD AVE #REAR                                                                             SAINT LOUIS     MO    63114‐3609
JUDY C ROBERSON                                 1332 S GLEN ARM RD                                                                              INDIANAPOLIS    IN    46241‐3019
JUDY C SEXTON                                   2675 ELLIOTT AVE                                                                                COLUMBUS        OH    43204‐3434
JUDY C SIMON                                    132 REBECCA CT                                                                                  FRANKLIN        TN    37064‐2970
JUDY C SWAIN                                    7340 LAKE STATION AVE                                                                           LAKE            MI    48632‐9115
JUDY C TUGGLE                                   27426 EVERETT ST                                                                                SOUTHFIELD      MI    48076
JUDY CASTLEBERRY GRAHAM                         937 A ROAD 1275                                                                                 BALDWYN         MS    38824
JUDY CICHOESKI                                  39519 BAROQUE                                                                                   CLINTON TWP     MI    48038‐2610
JUDY CIHASKY                                    PO BOX 107                             866 LAKESHORE DRIVE                                      RIB LAKE        WI    54470‐9444
JUDY D BELL                                     5096 PACIFIC                                                                                    DETROIT         MI    48204‐3753
JUDY D COLE                                     6282 RIDGE WAY                                                                                  DOUGLASVILLE    GA    30135‐3738
JUDY D ROBBINS                                  232 GALE                                                                                        MOORESVILLE     IN    46158‐8010
JUDY D ROOT                                     18 HARNED'S LANDING                                                                             CORTLAND        OH    44410‐1286
JUDY D WEDEMEYER                                551 ASPEN ST                                                                                    BREA            CA    92821
JUDY D WILLIAMS                                 232 GALE ST                                                                                     MOORESVILLE     IN    46158‐8010
JUDY E COLLARD                                  7394 ST RT 97 LOT #52                                                                           MANSFIELD       OH    44903‐8564
JUDY E CRACRAFT                                 510 RUDGATE LANE                                                                                KOKOMO          IN    46901‐3816
JUDY E CULHAM                                   12932 BEARDSLEE RD                                                                              PERRY           MI    48872‐8125
JUDY E FAHERTY                                  44 EILER LN                                                                                     IRVINGTON       NY    10533‐1104
JUDY E JANIGA                                   79 S TRACIE LN                                                                                  MARQUETTE       MI    49855‐8957
JUDY E LORENZ                                   4961 ECKLES                                                                                     CLARKSTON       MI    48346‐3520
JUDY E LOVIN                                    10834 CONTINENTAL DR                                                                            TAYLOR          MI    48180‐3128
JUDY E PARK                                     2691 SW PRICE DR                                                                                POLO            MO    64671‐9759
JUDY E PARSONS                                  145 EAST POINT DRIVE                                                                            SALTILLO        MS    38866‐5747
JUDY E POTTER                                   4309 N W 46TH ST                                                                                OKLAHOMA CITY   OK    73112‐2435
JUDY E PRENTISS                                 C/O JUDY E FAHERTY                     44 EILER LANE                                            IRVINGTON       NY    10533‐1104
JUDY E RICHARDSON                               PO BOX 80302                                                                                    LANSING         MI    48908‐0302
JUDY E RUMBLE CUST ELIZABETH ANNE RUMBLE UGMA   14285 CONC 8 RRI                       SCHOMBERG ON                           L0G 1T0 CANADA
MI
JUDY E STEAKLEY                                 23 SPORTMANS WAY                                                                                ROTONDA WEST    FL    33947‐1913
JUDY E TEAGUE CUST CASEY A TEAGUE UTMA CA       1304 KENTFIELD AVE                                                                              REDWOOD CITY    CA    94061‐2779
JUDY E THOMPSON & PATRICK L THOMPSON JT TEN     5888 RED CHERRY LANE                                                                            MINNETONKA      MN    55345‐6067

JUDY EDISON                                     468 HAZEL                                                                                       HIGHLAND PARK   IL    60035‐3315
JUDY ELIZABETH TENNELL                          1911 CARTHAGE RD                                                                                TUCKER          GA    30084
JUDY ELSLAGER                                   11499 LAKE RD                                                                                   TERRE HAUTE     IN    47802
JUDY ESCHBACH                                   501 COUNTY ROAD X                                                                               EDGERTON        WI    53534
JUDY EYAL                                       90 WENDELL RD                                                                                   NEWTON          MA    02459‐2947
JUDY F CAVANAUGH                                484 MONTALTO DRIVE                                                                              HERNDON         VA    20170‐3323
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 433 of 855
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

JUDY F EVANKO & BERNARD M EVANKO JT TEN          25 TAR HEELS RD                                                                                  MERCERVILLE       NJ    08619‐1147
JUDY F JEWETT                                    17729 OAK BRIDGE STREET                                                                          TAMPA             FL    33647‐2583
JUDY F KAVALUNAS                                 2099 LAKEMAN DRIVE                                                                               BELLBROOK         OH    45305‐1433
JUDY F LEWTER                                    24524 BARNES RD                                                                                  ARDMORE           AL    35739‐8912
JUDY F MILLER                                    8111 PACIFIC AVE                                                                                 WILDWOOD CREST    NJ    08260‐3631

JUDY F WALLACE                                   6273 VALLEY VIEW                                                                                 DEXTER            MI    48130‐9664
JUDY FORBES                                      8408 COUNTY RD #519                                                                              ALVARADO          TX    76009
JUDY G MCCONAGHY CUST MEGAN E MCCONAGHY          107 WYNDMOOR RD                                                                                  SPRINGFIELD       PA    19064‐2326
UGMA PA
JUDY G MORRIS                                    PO BOX 933                                                                                       HAZARD            KY    41702‐0933
JUDY G PYLANT                                    PO BOX 1                                                                                         ARDMORE           TN    38449‐0001
JUDY G RUTHERFORD                                530 LOMA DEL SOL DR                                                                              DAVENPORT         FL    33837‐6530
JUDY G SEBASTIAN                                 70 ELLIS RD                                                                                      EASTHAM           MA    02642‐2564
JUDY G STEPHENS                                  27651 GRANT DR                                                                                   ELKMONT           AL    35620‐3004
JUDY GALVAN                                      4603 S SPRUCE DR                                                                                 SAND SPRINGS      OK    74063‐2431
JUDY GARCIA                                      585 HILLVIEW DR                                                                                  MILPITAS          CA    95035
JUDY GOLTEN                                      125 BRANDT ISLAND ROAD                                                                           MATTAPOISETT      MA    02739
JUDY H PARKINSON                                 160 ST ANDREWS                                                                                   CORTLAND          OH    44410‐8720
JUDY H SUTHERLAND                                125 KEDZIE ST                           APT 1                                                    EVANSTON          IL    60202‐4441
JUDY HEBERT & ERIC HEBERT JT TEN                 8010 SW 17TH PL                                                                                  GAINESVILLE       FL    32607‐3445
JUDY HITCHCOCK WOOLLEY                           11499 CEDAR GLEN                                                                                 FLINT             TX    75762‐5101
JUDY HOLMES HUTCHISON                            5631 INDIAN CIRCLE                                                                               HOUSTON           TX    77056‐1006
JUDY HOUCK                                       617 TOWNSHIP RD 1233                                                                             PROCTORVILLE      OH    45669‐8419
JUDY HUDGINS                                     212 AZELA LANE                                                                                   SULPHUR SPRINGS   TX    75482‐3704

JUDY HUFFMAN CUST JENNIFER HUFFMAN UTMA OH       1014 E 129TH ST                                                                                  CLEVELAND         OH    44108‐2542

JUDY HUFFMAN CUST LEONARD HUFFMAN UTMA OH        1014 E 129TH ST                                                                                  CLEVELAND         OH    44108‐2542

JUDY HURST ODER                                  2257 FOX RUN CIR                        UNIT 9‐33                                                FINDLAY           OH    45840‐7489
JUDY I MOSER                                     3077 S VASSAR RD                                                                                 DAVISON           MI    48423‐2451
JUDY I TRESISE                                   570 RAGLAN RD E                         OSHAWA ON                              L1H 7K4 CANADA
JUDY I TRESISE                                   570 RAGLAN RD E                         OSHAWA ON                              L1H 7K4 CANADA
JUDY I TRESISE                                   570 RAGLAN RD E                         OSHAWA ON                              L1H 7K4 CANADA
JUDY J CRAFT                                     5180 STILLWELL RD RD#2                                                                           TRUMANSBURG       NY    14886‐9451
JUDY J MILLER                                    PO BOX 9022                                                                                      WARREN            MI    48090‐9022
JUDY J QUENTIN                                   734 VOISIN STREET                                                                                NEW ORLEANS       LA    70124‐1756
JUDY J WALTER                                    4399 ST ANDREWS WAY                                                                              HARRISBURG        PA    17112‐1575
JUDY K BRONSON                                   6841 WIREVINE DR                                                                                 BROOKSVILLE       FL    34602‐7553
JUDY K BUMGARDNER                                4211 GARY LEE DR                                                                                 KOKOMO            IN    46902‐4712
JUDY K CHERRY                                    2072 CHESAPEAKE DR                                                                               BOWLING GREEN     KY    42104‐6391
JUDY K DAFOE                                     12073 SCHONBORN PLACE                                                                            CLIO              MI    48420‐2145
JUDY K DANIELS                                   4320 KALAMAZOO AVE SE #410                                                                       GRAND RAPIDS      MI    49508
JUDY K DATZ                                      4893 NOTTINGHAM RD                                                                               VASSAR            MI    48768‐9512
JUDY K DAY                                       505 KELLY DRIVE                                                                                  BROWNSTOWN        IN    47220
JUDY K ENGELBRECHT TR JUDY K ENGELBRECHT TRUST   1720 GIGGINS CREEK RD                                                                            JEFFERSON CITY    MO    65101‐8489
UA 7/15/98
JUDY K FRANSEN                                   12629 HOWE DR                                                                                    LEAWOOD           KS    66209‐1453
JUDY K GRIFFITH                                  854 FOSTER ST                                                                                    FRANKLIN          OH    45005‐2039
JUDY K KLINGBERG & LARRY A KLINGBERG JT TEN      2412 MAPLE                                                                                       DOWNERS GROVE     IL    60515‐4207
JUDY K LATHAM                                    3121 GREENFIELD STREET                                                                           WARREN            OH    44485
JUDY K LIPINSKI                                  5023 W 300 S                                                                                     RUSSIAVILLE       IN    46979‐9410
JUDY K LOBINGIER                                 5295 SUSAN DRIVE                                                                                 DAYTON            OH    45415‐3031
JUDY K MC DOWELL                                 5035 N 36TH ST                                                                                   ARLINGTON         VA    22207‐2946
JUDY K MCCORMICK                                 RR3 BOX 763                                                                                      FAIRFIELD         IL    62837‐9594
JUDY K MONTGOMERY                                3397 MCCORMICK RD                                                                                LAPEER            MI    48446‐8764
JUDY K MOORE                                     1230 BEAL ROAD                                                                                   MANSFIELD         OH    44903‐9217
JUDY K NELSON                                    6636 ROSEDALE DR                                                                                 AMHERST           OH    44001‐1963
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 434 of 855
Name                                              Address1                               Address2                   Address3    Address4          City            State Zip

JUDY K NELSON                                     PO BOX 233                                                                                      HACKENSACK      MN    56452
JUDY K SEDLACEK                                   3502 PINE ACRE RD                                                                               GLENNIE         MI    48737‐9417
JUDY K SHELDON                                    17924 RIVERBLUFF DR                                                                             BIG RAPIDS      MI    49307‐9084
JUDY K SISSON                                     28535 CRESTLINE RD                                                                              GRAVOIS MILLS   MO    65037‐4050
JUDY K WALDEN                                     203 SOLONA CIRCLE                                                                               GEORGETOWN      TX    78628‐1452
JUDY K WILLIAMS TOD CORY A WILLIAMS SUBJECT TO    311 SW SUNSET DR                                                                                LEES SUMMIT     MO    64081‐2307
STA TOD RULES
JUDY K WILSON                                     145 WRENWOOD COURT                                                                              ENGLEWOOD       OH    45322‐2352
JUDY KAREN DE VIES                                4050 LEMAC                                                                                      HOUSTON         TX    77025‐4602
JUDY KEASEL                                       3371 SOUTHDALE DR                                                                               KETTERING       OH    45409
JUDY KILEY CUST DANIEL JACOB KILEY UGMA IL        41 DOSTER CREST ROAD                                                                            JEFFERSON       GA    30549‐3154
JUDY L ADAMS                                      80 DESCANSO DR. #1425                                                                           SAN JOSE        CA    95134
JUDY L ADAMS                                      1923 BEAUFAIT                                                                                   GROSSE POINTE   MI    48236‐1639
                                                                                                                                                  WOOD
JUDY L ALLEN                                      7924 E 119TH TERRACE                                                                            GRANDVIEW       MO    64030‐1325
JUDY L ALLEN                                      27720 DUNFORD AVE                                                                               WESTLAKE        OH    44145‐5350
JUDY L ANDERSON                                   3615 STONEGATE FARM DRIVE                                                                       BATAVIA         OH    45103
JUDY L BEAN                                       1284 OAKWOOD RD                                                                                 OXFORD          MI    48371
JUDY L BURK                                       34435 LEWIS ST                                                                                  N RIDGEVILLE    OH    44039‐1965
JUDY L CONARD                                     5440 CALAHAN RD                                                                                 SOUTH VIENNA    OH    45369‐9715
JUDY L DEBIEN                                     271 BLACKSTONE ST                                                                               BLACKSTONE      MA    01504‐1312
JUDY L DUCK                                       209 MARYLAND AVE                       WESTVIEW III                                             WILMINGTON      DE    19804‐3040
JUDY L DURAN                                      41684 GIFFORD ST                                                                                FREMONT         CA    94538‐4111
JUDY L GINGERICH & DANNY C GINGERICH JT TEN       17118 JACKSON AVE                                                                               HOLT            MO    64048
JUDY L HASHBARGER                                 11013 FENTON ROAD                                                                               FENTON          MI    48430‐9714
JUDY L HILL                                       PO BOX 25                                                                                       ARDMORE         TN    38449‐0025
JUDY L INCONTRO                                   29675 N NORTH VALLEY PKWY              UNIT 3011                                                PHOENIX         AZ    85085‐0791
JUDY L INCONTRO & DONALD R INCONTRO JT TEN        29675 N NORTH VALLEY PKWY              UNIT 3011                                                PHOENIX         AZ    85085‐0791
JUDY L KERNS                                      220 JIM PARKER RD                                                                               MONROE          NC    28110‐7315
JUDY L LESLEY                                     952 NARCISSUS DR                                                                                NEW CARLISLE    OH    45344‐2760
JUDY L MCHENRY                                    8880 BUNKER HILL RD                                                                             GASPORT         NY    14067
JUDY L RAWLINGS                                   ATTN JUDY L DAVIS                      10261 LELAND DRIVE                                       GREENVILLE      MI    48838‐7103
JUDY L RELERFORD                                  3079 OLD FARM RD                                                                                FLINT           MI    48507‐1209
JUDY L ROBBINS                                    C/O JUDY L SHELTON                     80 STATE ROUTE 503                                       ARCANUM         OH    45304‐9459
JUDY L SHREFFLER                                  C/O JUDY L HORAN                       18608 HUNTERS POINTE DR                                  STRONGSVILLE    OH    44136‐8418
JUDY L SUMNER                                     61445 ROARINGBROOKE DR                                                                          SOUTH LYON      MI    48178‐1591
JUDY L TINCH                                      2203 ANGIE LN                                                                                   ANDERSON        IN    46017‐9795
JUDY L WASHINGTON                                 363 E PHILADELPHIA                                                                              FLINT           MI    48505‐3359
JUDY L WEATHERBY                                  248 DARLINGTON RD NE                                                                            WARREN          OH    44484‐2003
JUDY L WESENBERG                                  C/O J SULLIVAN                         348 E 4TH ST                                             PAPILLION       NE    68046‐2318
JUDY L WHITE                                      13129 W 84TH ST                                                                                 LENEXA          KS    66215‐2851
JUDY L WOOD                                       825 DALEWOOD PLACE                                                                              TROTWOOD        OH    45426‐2209
JUDY L WRIGHT                                     22250 ARMSTRONG                                                                                 BROWNSTOWN      MI    48192‐8209
JUDY LAPPLE                                       103 RODNEY LN                                                                                   ROCHESTER       NY    14625‐1228
JUDY LEDFORD                                      PO BOX 5384                                                                                     LAKELAND        FL    33807‐5384
JUDY LEE HOLLIS                                   4607 BOYETT DR                                                                                  EAST BERNARD    TX    77435‐8123
JUDY LEE MARTIN                                   1369 HUTZ HOLLOW RD                    APT RO                                                   VINTON          VA    24179‐6093
JUDY LEWIS                                        205 RIGI AVENUE                                                                                 SYRACUSE        NY    13206‐2237
JUDY LEWIS CUST SHERI JANNINE GILL UGMA NY        ATTN SHERI J KNAUTH                    2533 JACKSON AVE APT GDN                                 EVENSTON        IL    60201‐2356
JUDY LOU ABBENHAUS                                6037 GORDON RD                                                                                  WATERFORD       MI    48327
JUDY LOU DAVIS CUST RYAN D DAVIS UGMA MI          6037 GORDON RD                                                                                  WATERFORD       MI    48327‐1739
JUDY LOUISE MILLER & JACK DAVID MILLER JT TEN     6 MERRILL DRIVE                                                                                 MORAGA          CA    94556‐2812

JUDY LYNN CARGILE                                 33532 PALO ALTO ST                                                                              DANA POINT      CA    92629‐2015
JUDY LYNN COLAGIOVANNI CUST JESSICA LYNN          6709 BLAKE DR                                                                                   CASEVILLE       MI    48725‐9784
COLAGIOVANNI UGMA MI
JUDY LYNN JONES                                   PO BOX 28                                                                                       COINJOCK        NC    27923‐0028
JUDY LYNN SHELLER                                 65 WINDMERE ROAD                                                                                PINEHURST       NC    28374‐8193
JUDY LYNNE FULLER                                 6122 EAST COUNTY ROAD 612                                                                       GRAYLING        MI    49738‐9242
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 435 of 855
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

JUDY LYNNE GILPIN                                 PO BOX 3238                                                                                     OLYMPIC VALLEY     CA    96146‐3238
JUDY M DENNIS & JIMMIE DENNIS & DAWN DENNIS JT 820 MOORE                                                                                          DAVISON            MI    48423‐1110
TEN
JUDY M DUNN                                       205 E MARSHALL                                                                                  FERNDALE           MI    48220‐2524
JUDY M DURANT                                     4380 LAUREL GROVE TRACE                                                                         SUWANEE            GA    30024‐6930
JUDY M FERGUSON TR UA 03/21/97 JUDY M FERGUSON 1286 JOHN ANDERSON DR                                                                              ORMOND BEACH       FL    32176‐3720
REVOCABLE LIVING TRUST
JUDY M FOX TOD CHARLES W FOX JR SUBJECT TO STA    715 PRENTICE RD NW                                                                              WARREN             OH    44481‐9473
TOD RULES
JUDY M FOX TOD MICHAEL T FOX SUBJECT TO STA TOD 715 PRENTICE RD NW                                                                                WARREN             OH    44481‐9473
RULES
JUDY M FOX TOD VALERIE G W ECK SUBJECT TO STA TOD 715 PRENTICE RD NW                                                                              WARREN             OH    44481‐9473
RULES
JUDY M GRAVER & JOHN A GRAVER JT TEN              7740 CHICKADEE                                                                                  JENISON            MI    49428‐7912
JUDY M GRESH                                      6961 FITCH RD                                                                                   OLMSTED FALLS      OH    44138‐1255
JUDY M HALL                                       9147 KING GRAVES RD                                                                             WARREN             OH    44484‐1126
JUDY M ISER                                       640 W BARNES LAKE RD                                                                            COLUMBIAVILLE      MI    48421‐9332
JUDY M JEDRYCK & RONALD S JEDRYCK JT TEN          13826 S TEAL CT                                                                                 PLAINFIELD         IL    60544
JUDY M KELSEY                                     4614 E 13TH ST                                                                                  TULSA              OK    74112‐5206
JUDY M MANGA                                      27620 ORIOLE CT                                                                                 FLAT ROCK          MI    48134‐4702
JUDY M MC WHERTER                                 55 RICHARDS AVE                                                                                 ONEONTA            NY    13820‐1143
JUDY M O'BRIEN                                    12320 RULE HILL CT                                                                              MARYLAND           MO    63043‐1433
                                                                                                                                                  HEIGHTS
JUDY M O'GUIN                                     8750 HIGHWAY 109 N                                                                              LEBANON            TN    37087‐0515
JUDY M PACKARD                                    2201 E JEFFERSON BLVD                                                                           SOUTH BEND         IN    46615‐2607
JUDY M ROWZEE                                     685 HENRY BYRD RD                                                                               FLORENCE           MS    39073‐9011
JUDY M SHEMWELL U/GDNSHP ELIZABETH G LA SALA      11522 TUTTLE HILL RD                                                                            WILLIS             MI    48191‐9709

JUDY M SOLARZ                                     640 SE 2ND AV 107                                                                               BOYNTON BEACH      FL    33435‐5009
JUDY M WIGGINS                                    2892 CHURCHILL DRIVE                                                                            KINSTON            NC    28504‐9036
JUDY M WINDSOR & RONNIE C WINDSOR JT TEN          2746 PEARSONS CORNER RD                                                                         DOVER              DE    19904‐5104
JUDY M WRIGHT                                     159 N JOHNS RD                                                                                  BUTLER             KY    41006
JUDY MAE SIPKA                                    6750 BLISS ROAD                                                                                 MIDDLETON          MI    48856‐9754
JUDY MAE STUDER                                   6750 BLISS RD                                                                                   MIDDLETON          MI    48856‐9754
JUDY MC GUIRE                                     268 SAND BROOK DR                                                                               NOBLESVILLE        IN    46060‐9326
JUDY MC MILLIN & JOSEPH B LORENTZ JT TEN          33202 SANTIAGO DR                                                                               DANA POINT         CA    92629‐1300
JUDY MC NETT                                      16520 SE BAXTER RD                                                                              GRESHAM            OR    97080‐3413
JUDY MCCONAGY CUST MEGAN MCCONAGY UTMA PA         107 WYNDMOOR RD                                                                                 SPRINGFIELD        PA    19064‐2326

JUDY MCCOOK                                       300 QUEEN ANNE AVE N APT 333                                                                    SEATTLE            WA    98109
JUDY MEKUS                                        15482 ROLLAND RD                                                                                SHERWOOD           OH    43556‐9770
JUDY MILBY & HERBERT J MILBY JT TEN               4796 ARCHMORE DR                                                                                KETTERING          OH    45440‐1835
JUDY MILITELLO                                    8886 MONROE                                                                                     TAYLOR             MI    48180‐2718
JUDY MILLER                                       441 E 36TH ST                                                                                   ERIE               PA    16504‐1613
JUDY MORIWAKI                                     5037 DE SOTO CT                                                                                 NEW BERLIN         WI    53151‐7664
JUDY MULLINAX                                     PO BOX 272                                                                                      LAFAYETTE          GA    30728‐0272
JUDY P MOLER                                      2623 MORRIS LANE                                                                                GIRARD             OH    44420‐3127
JUDY P PICKENS                                    5459 SPRINGRIDGE RD                                                                             RAYMOND            MS    39154‐9677
JUDY P RICE                                       2606 TERESINA DR                                                                                HACIENDA HEIGHTS   CA    91745‐5317

JUDY P SMITH                                      302 MC GRAW ST                                                                                  BAY CITY           MI    48708‐8382
JUDY PEARSON KENNEDY                              3449 WOODFORD RD                                                                                CINCINNATI         OH    45213‐2060
JUDY PHYLLIS ERON                                 HC 65 BOX 248                                                                                   ALPINE             TX    79830‐9737
JUDY PIECHOTA & JILL J PIECHOTA EX EST JOHN H     4 S MASON ST UNIT 508                                                                           BENSENVILLE        IL    60106
PIECHOTA
JUDY R BROCK                                      352 MCCOSH DRIVE                                                                                CHESAPEAKE         VA    23320‐6108
JUDY R CAMPBELL                                   4400 SPENCER LE DR                                                                              MILFORD            MI    48380‐1406
JUDY R JONES CUST AUSTIN J JACKSON UTMA TN        201 HIGH POINTE VILLAGE WAY                                                                     KINGSTON           TN    37763‐7008
JUDY R JONES CUST JAMES M WEE UTMA TN             201 HIGH POINTE VILLAGE WAY                                                                     KINGSTON           TN    37763‐7008
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 436 of 855
Name                                           Address1                             Address2                   Address3    Address4          City              State Zip

JUDY R JONES CUST K PARKER JONES UTMA TN       201 HIGH POINTE VILLAGE WAY                                                                   KINGSTON          TN    37763‐7008
JUDY R PERRY                                   15690 CHURCHILL ST                                                                            SOUTHGATE         MI    48195‐3288
JUDY R THOMAS                                  918 PRINCE ST                                                                                 GRAND RAPIDS      MI    49507‐1341
JUDY RANDLE                                    19184 COOLEY ST                                                                               DETROIT           MI    48219‐1868
JUDY REICHERT CUST ANDREW REICHERT UTMA IL     1564 S SHORE DR                                                                               CRYSTAL LAKE      IL    60014‐5424
JUDY RELMAN                                    2465 SITTINGBOURNE LANE                                                                       BEACHWOOD         OH    44122‐1655
JUDY ROHLFING                                  1115 HALL DR W                                                                                JACKSONVILLE      IL    62650‐3153
JUDY RONK                                      614 BEREA ST                                                                                  ST LOUIS          MI    48880‐1622
JUDY S CROSBY                                  11053 WILSON RD                                                                               OTISVILLE         MI    48463‐9733
JUDY S HATTIS                                  380 HAMES RD                                                                                  CORRALITOS        CA    95076‐0245
JUDY S KINISON                                 193 OSPREY RDG                                                                                MACHESNEY PK      IL    61115‐8363
JUDY SAMSON                                    14105 SE RENTON MAPLE                VALLEY RD M303                                           RENTON            WA    98058‐6386
JUDY SHAW WILDERMUTH                           6231 SUGARLOAF DR                                                                             GRAND BLANC       MI    48439‐9160
JUDY SHAW WILDERMUTH CUST CALLY EILEEN         6231 SUGARLOAF DR                                                                             GRAND BLANC       MI    48439‐9160
WILDERMUTH UGMA MI
JUDY SHAW WILDERMUTH CUST CODY LEE ANN         6231 SUGARLOAF DR                                                                             GRAND BLANC       MI    48439‐9160
WILDERMUTH UGMA MI
JUDY SHELDON                                   17924 RIVERBLUFF DR                                                                           BIG RAPIDS        MI    49307
JUDY SHUBERT CUST RYAN SCOTT SHUBERT UTMA IL   1117 RAYMOND DR                                                                               RED BUD           IL    62278‐1425

JUDY SIMMONS                                   16508 WARD ST                                                                                 DETROIT           MI    48235‐4233
JUDY SMITH & BRIAN SMITH JT TEN                520 SOUTH EAST 36TH LANE                                                                      OCALA             FL    34471‐8706
JUDY SOULLIERE BRENNAN                         126 NOYA PL                                                                                   LOUDON            TN    37774
JUDY STOFFEL                                   2609 N 81ST WAY                                                                               SCOTTSDALE        AZ    85257‐1710
JUDY STOMSVIK STORSET                          6630 TINGVOLL                                                               NORWAY
JUDY T BELL                                    9062 BRIARBROOK NE                                                                            WARREN            OH    44484‐1743
JUDY THOMAS                                    3019 W 43RD AVE                      VANCOUVER BC                           V6N 3J4 CANADA
JUDY V BULCHER                                 1460 CROSS CREEK CIR                                                                          DAYTON            OH    45429‐5755
JUDY V UNGRADY                                 C/O JUDY V PITMAN                    188 HIGHLINE DR                                          OAKLAND           MD    21550‐7770
JUDY V WIMBERLEY                               8018 THOMAS PT                                                                                MOUNTAINBURG      AR    72946‐3760
JUDY W JEFCOAT CUST GARY W JEFCOAT UTMA MS     1550 LAMPTON HILLTOP RD                                                                       COLUMBIA          MS    39429‐6405

JUDY W MARCUM                                  1429 COPPERFIELD COURT                                                                        LEXINGTON         KY    40514‐1275
JUDY W SICKLER                                 ATTN JUDY MORICO                     83 HIGHLAND ST                                           TOWNSEND          MA    01469‐1163
JUDY W WILCOX                                  4905 N CO RD 450W                                                                             MUNCIE            IN    47304‐8867
JUDY WATERN COOK                               8800 BARDMOOR BL                     APT 26                                                   SEMINOLE          FL    33777‐2274
JUDY Y LOWDER                                  PO BOX 456                                                                                    NEW LONDON        NC    28127‐0456
JUDY Y LOWDER & REGGIE P LOWDER JT TEN         PO BOX 456                                                                                    NEW LONDON        NC    28127‐0456
JUDY YAROS                                     7609 E LINCOLN WY                                                                             HOBART            IN    46342‐6745
JUDY YOUNG                                     1447 CASCADE DR                                                                               GROVE CITY        OH    43123‐8063
JUDY YURIE HISASHIMA                           PO BOX 979                                                                                    HAIKU             HI    96708‐0979
JUDY Z FOX                                     715 PRENTICE RD                                                                               WARREN            OH    44481‐9473
JUDYANN OWENS                                  PO BOX 934                                                                                    FRAZIER PARK      CA    93225‐0934
JUDYANN ROBLEE                                 UNTERE GRABENGASSE 5                 IPHOFEN                                97364 GERMANY
JUDYTHE ANN WADE                               3112 OXFORD ST                                                                                KOKOMO            IN    46902‐4649
JUEARLISH JEFFERSON                            16607 WILDEMERE                                                                               DETROIT           MI    48221‐3333
JUEL KRUEGER                                   E2329 BARNHART DR                                                                             WAUPACA           WI    54981‐8363
JUERG HERBERT BAERTSCHI                        RESTELBERGSTR 61                     8044 ZURICH                            SWITZERLAND
JUERGEN BURGHARDT                              BIRKENSTRASSE 4                      65428 RUESSELSHEIM                     GERMANY
JUERGEN GOGESCH                                SACKGASSE 5                          D‐65468                    TREBUR      GERMANY
JUERGEN GROSSMANN                              NEUE HUETTENSTRASSE 1                49124 GEORGSMARIENHUETTE               GERMANY
JUERGEN HENSCHEL                               FASSASENSTR ASSE 8                   D‐55271 ST ADECKEN         ELSHEIM     GERMANY
JUERGEN HENSCHEL                               FASANENSTRASSE 8                     D‐55271STADECKEN‐ELSHEIM               GERMANY
JUERGEN W KOEHLER                              746 GRAND MARAIS                                                                              GROSSE PTE CITY   MI    48230‐1849
JUERGEN W KOEHLER CUST NADJA KOEHLER UGMA MI   746 GRAND MARAIS                                                                              GROSSE POINTE     MI    48230‐1849

JUERQEN R WALLICZEK                            10796 THORNAPPLE LK                                                                           NASHVILLE         MI    49073‐9747
JUJI HANADA TR HANADA TRUST 12/11/90           22 MALUHIA DRIVE                                                                              WAILUKU           HI    96793‐1793
JULAINE L MCFATE                               868 CROSSWINDS BLVD                                                                           CROSSVILLE        TN    38555‐3293
                                                 09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 437 of 855
Name                                               Address1                             Address2             Address3          Address4          City             State Zip

JULE DAMERY                                     1266 N 2400 EAST RD                                                                              ASSUMPTION       IL    62510‐8013
JULE E MUNDALE                                  351 ANTELOPE CIR SE                                                                              ALBUQUERQUE      NM    87123‐3517
JULE FRANK MERKEL                               3228 CLEVELAND HTS BLVD                                                                          LAKELAND         FL    33803‐4555
JULE M JOURNIGAN                                1397 W TROY                                                                                      FERNDALE         MI    48220‐1661
JULE SAMUELS                                    16910 NEW HAMPSHIRE DR                                                                           SOUTHFIELD       MI    48075‐2905
JULEE MC ELFRESH                                14327 PROSPER RIDGE DR                                                                           CYPRESS          TX    77429‐5585
JULEE MC ELFRESH CUST MATTHEW MC ELFRESH UGMA 14327 PROSPER RIDGE DR                                                                             CYPRESS          TX    77429‐5585
TX
JULEIAN MYLES SIMS                              5884 OLD BILL COOK RD                                                                            ATLANTA          GA    30349‐3730
JULENE FISHER                                   PO BOX 23                                                                                        INDIAN RIVER     MI    49749‐0023
JULES A RICARD                                  51 SOUTHBRIDGE ROAD                                                                              BEAR             DE    19701‐1610
JULES D LAVALAIS                                323 MICHIGAN AVE                                                                                 PONTIAC          MI    48342‐2583
JULES E RIESEN                                  1974 SETTING SUN TRL                                                                             TALLAHASSEE      FL    32303‐2635
JULES F BOAND III CUST JULES F BOAND IV UTMA CA 1312 S GOLDEN VISTA DR                                                                           WEST COVINA      CA    91791‐3726

JULES F REYNAERT                                   217 WESTMORELAND DRIVE                                                                        FLINT            MI    48505‐2689
JULES GAULIN                                       4510 RUE DE LA ROCHE                 APP 2                MONTREL QC        H2J 3J4 CANADA
JULES J GLUBISH                                    408 EAST 274TH ST                                                                             EUCLID           OH    44132‐1714
JULES J GLUBISH & JEANNE E GLUBISH JT TEN          408 EAST 274TH ST                                                                             EUCLID           OH    44132‐1714
JULES J HAFT CUST RONIS S HAFT U/THE NEW YORK U‐G‐ C/O RONI S HAFT WOLFF                15 APPLE LANE                                            BRIARCLIFF MANOR NY    10510‐1001
M‐A
JULES J WILLOTT                                    2008 VALLEY VIEW RD                                                                           MEXICO           MO    65265‐3521
JULES KANN CUST STEVEN ENRIGHT KANN UNDER THE PARK PLAZA BLDG                           128 N CRAIG ST                                           PITTSBURGH       PA    15213‐2744
PENNSYLVANIA U‐G‐M‐A
JULES KLUGER & JEAN MEYER KLUGER TR UA 02/10/92 4108 W PALM AIRE DR APT 85A                                                                      POMPANO BEACH    FL    33069‐4196
JULES KLUGER
JULES KOSCO & MARJORIE KOSCO JT TEN                70 CRAB APPLE DRIVE                                                                           WAYNESBURG       PA    15370‐9518
JULES M BREWSTER                                   11470 INDIANA                                                                                 DETROIT          MI    48204‐1941
JULES M PRICE & MRS NETTIE PRICE JT TEN            22 SPRING HILL TERRACE                                                                        SPRING VALLEY    NY    10977‐7021
JULES SPITZ & MRS ELSA SPITZ JT TEN                9315 N MASON AVE                                                                              MORTON GROVE     IL    60053‐1515
JULI A PARKE                                       2215 MADDY LN                                                                                 KEEGO HARBOR     MI    48320‐1465
JULI L BURKE                                       4590 E LOCH ALPINE DR                                                                         ANN ARBOR        MI    48103‐9769
JULIA A ALEXANDER                                  2460 DOANE HWY                                                                                CHARLOTTE        MI    48813‐8795
JULIA A BARKHURST                                  120 SOUTH BRIDGE ST                                                                           ADENA            OH    43901‐7824
JULIA A BEHM & JEFF BEHM JT TEN                    1105 WEST HIGHWAY                                                                             ALTA             IA    51002‐1712
JULIA A BENNETT                                    2129 FULTON AVE                                                                               CINCINNATI       OH    45206‐2547
JULIA A BINKO                                      89 NORTH RAMAPO AVE                                                                           MAHWAH           NJ    07430‐1140
JULIA A BOYD                                       2363 CADDIE CT                                                                                OCEANSIDE        CA    92056‐1708
JULIA A CHURCHVARA TR UA 06/29/2009 JULIA A        14453 GARDEN ST                                                                               LIVONIA          MI    48154
CHURCHVARA LIVING TRUST
JULIA A COVINGTON                                  1815 57TH AVE                                                                                 OAKLAND          CA    94621‐4248
JULIA A DESCHLER                                   7856 GERMANTOWN PIKE                                                                          GERMANTOWN       OH    45327‐9635
JULIA A EMGE                                       3302 A ST                                                                                     S SIOUX CITY     NE    68776‐3537
JULIA A FALK                                       39650 U S 19 N #264                                                                           TARPON SPRINGS   FL    34689‐3911
JULIA A FERRY                                      5 RALEIGH PLACE                                                                               WILLINGBORO      NJ    08046‐4006
JULIA A GASTER & DONALD E GASTER JT TEN            RR 2 BOX 2546                                                                                 HALLSTEAD        PA    18822‐9654
JULIA A GERMANSKI                                  5 TEXAS ROAD                                                                                  MONROE           NJ    08831‐9653
                                                                                                                                                 TOWNSHIP
JULIA A GRAHAM                                     25 BINNS BLVD                                                                                 COLUMBUS         OH    43204‐2509
JULIA A GRUPIDO                                    44149 DYLAN                                                                                   STERLING HTS     MI    48314‐1979
JULIA A HACK                                       1956 TOLLGATE RD                                                                              PALM             PA    18070‐1223
JULIA A JONES                                      763 SILVER FOX LANE                                                                           LABADIE          MO    63055‐1727
JULIA A KOLOSKI TR UA 04/12/90 JULIA A KOLOSKI     2217 OTHELLO COVE                                                                             FORT WAYNE       IN    46818‐9152
TRUST
JULIA A LAZZELL                                    1505 DOUGLAS DR                                                                               FRANKLIN         IN    46131‐1134
JULIA A MALAKIE                                    50 MURRAY RD                                                                                  WEST NEWTON      MA    02465‐1843
JULIA A MARTIN                                     121 LANSMERE WAY                                                                              ROCHESTER        NY    14624‐1166
JULIA A MASSEY                                     8365 VILLA MANOR DR                                                                           GREENTOWN        IN    46936‐1446
JULIA A MC LAUGHLIN                                C/O JULIA A BURDIS                   5170 N THOMAS RD                                         FREELAND         MI    48623‐8404
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 438 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JULIA A MIEDEMA                                   PO BOX 10                                                                                       DORR              MI    49323‐0010
JULIA A MILLER                                    3726 SE 68TH ST                                                                                 OCALA             FL    34480‐7982
JULIA A MURPHY                                    45 LEXINGTON AVE                                                                                MALVERNE          NY    11565
JULIA A NEELY                                     C/O A W NEELY JR                       225 E HALL ST                                            SAVANNAH          GA    31401‐5708
JULIA A PAQUETTE                                  300 MORRIS ST                                                                                   MORRISTOWN        NY    13664
JULIA A PEISER                                    377 EAST EVANSTON RD                                                                            TIPP CITY         OH    45371‐2455
JULIA A RAISS & SARAH E RAISS JT TEN              4303 SUNRIDGE DRIVE                                                                             LOVELAND          CO    80538‐1935
JULIA A REECK                                     1370 FINCH LANE                                                                                 GREEN BAY         WI    54313‐6400
JULIA A REILLY                                    5 RALEIGH PLACE                                                                                 WILLINGBORO       NJ    08046‐4006
JULIA A SHIVELY                                   1340 MAHONING AVE NW UNIT 104                                                                   WARREN            OH    44483
JULIA A WALTON & JOHN M WALTON JT TEN             2186 TAMARACK                                                                                   OKEMOS            MI    48864‐3912
JULIA ANN BARKHURST CUST FAITH ELIZABETH          120 SO BRIDGE ST                                                                                ADENA             OH    43901‐7800
BARKHURST UTMA OH
JULIA ANN BOWMAN & DALE W BOWMAN JT TEN           10 CENTENNIAL LANE                                                                              KEARNEY         NE      68847‐2323
JULIA ANN BROOME                                  4470 E FRONTENAC DR                                                                             CLEVELAND       OH      44128‐5003
JULIA ANN DAUNCH FRISKE                           1156 OLD PLANK RD                                                                               MILFORD         MI      48381‐2934
JULIA ANN GENTRY                                  1735 BROADWAY                                                                                   ANDERSON        IN      46012‐2446
JULIA ANN NATHANSON                               122 CARR'S HILL                                                                                 ATHENS          GA      30605‐1757
JULIA ANN NEE BAYLIN                              4575 FINCHER RD                                                                                 CANTON          GA      30114‐6707
JULIA ANN POLLINO                                 2108 FAIRWPLD LANE                                                                              FORT WASHINGTON PA      19034‐2924

JULIA ANN WESTMEYER                                 4462 LONGFELLOW AVE                                                                           HUBER HEIGHTS     OH    45424‐5951
JULIA ANNE FINMAN                                   907 E CADY ST                                                                                 WATERTOWN         WI    53094‐3911
JULIA B CHARLESWORTH                                836 4TH ST                                                                                    BETTENDORF        IA    52722‐4044
JULIA B KAMINSKI & JOAN J DYBASH & MITCHELL A       29250 HERITAGE PKWY                  APT 102                                                  WARREN            MI    48092‐6352
KAMINSKI JT TEN
JULIA B LAPINSKI & DEBORAH SOMMER JT TEN            34 PARK ST                           APT 215                                                  MOUNT CLEMENS     MI    48043‐5815
JULIA B LAPINSKI & DOUGLAS G BANDOL JT TEN          34 PARK ST                           APT 215                                                  MOUNT CLEMENS     MI    48043‐5815
JULIA B LAPINSKI & PETER STEWART JT TEN             34 PARK ST                           APT 215                                                  MOUNT CLEMENS     MI    48043‐5815
JULIA B LAPINSKI & ROSE M BANDOL JT TEN             34 PARK ST                           APT 215                                                  MOUNT CLEMENS     MI    48043‐5815
JULIA B LAPINSKI & TIMOTHY A STEWART JT TEN         34 PARK ST                           APT 215                                                  MOUNT CLEMENS     MI    48043‐5815
JULIA B LEHNER                                      211 CEDAR RD                                                                                  MICKLETON         NJ    08056‐1022
JULIA B WHITE                                       8380 ST RTE 821                                                                               WHIPPLE           OH    45788‐5171
JULIA B WHITE & JOHN E WHITE JR JT TEN              8380 ST RTE 821                                                                               WHIPPLE           OH    45788‐5171
JULIA B WYDRA                                       216 MICHIGAN AVE                                                                              GLADSTONE         MI    49837‐1914
JULIA BARON & HARVEY A BARON JT TEN                 283 W MACTAVISH CT                                                                            HIGHLAND          MI    48357
JULIA BRIOC                                         48410 RANCHDR                                                                                 CHESTERFIELD      MI    48051
JULIA BRUBAKER & AMY JORDAN GUARD JT TEN            1133 CHURCH SE #12                                                                            COVINGTON         GA    30014‐2307
JULIA BUCK PARSLOW                                  296 W 200 S                                                                                   MONROE            UT    84754‐4308
JULIA BULKLEY                                       329 TULIP LN                                                                                  FREEHOLD          NJ    07728‐4041
JULIA BYNUM PARSONS U/GDNSHIP OF LAWRENCE           702 LAKE BOONE TR                                                                             RALEIGH           NC    27607‐6604
RICHARDS PARSON JR
JULIA C DONAHUE                                     12 SURRY CIRCLE                                                                               SIMSBURY          CT    06070‐1504
JULIA C FULLER TR FULLER FAMILY TRUST B UA 12/19/79 42870 ROBERTS AVE                                                                             FREMONT           CA    94538‐5554

JULIA C GONSALVES                                 850 TURTLE CREEK DR                                                                             CHOCTAW           OK    73020‐7433
JULIA C GOPLERUD                                  209 E FIELDER RD                                                                                AMBLER            PA    19002‐2716
JULIA C LEVEQUE                                   PO BOX 4019                                                                                     LA MESA           CA    91944‐4019
JULIA C LLOYD                                     16130 CHEYENNE                                                                                  DETROIT           MI    48235‐4218
JULIA C OWEN                                      615 SUNSET AVE                                                                                  APEX              NC    27502
JULIA C PAWLICKI                                  10 FELBER LN                                                                                    DEPEW             NY    14045‐4236
JULIA C RICHARDS & ROXANNE L PRIMEAU JT TEN       6518 E STAR VALLEY                                                                              MESA              AZ    85215‐0892
JULIA C SEBER EX EST CHRISTINE PLOSKY             31 MARLBORO STREET                                                                              MORGANVILLE       NJ    07751
JULIA CARLINA HARRISON                            409 NORTH ST                                                                                    OTISVILLE         MI    48463‐9705
JULIA CAROL RACKLEY HOLLIS                        121 SEA GROVE MAIN ST 101                                                                       SAINT AUGUSTINE   FL    32080‐3303
JULIA CHRISTINE ELIZONDO                          79 CORTEZ AVE                                                                                   RANCHO VIEJO      TX    78579
JULIA CONRAD HAWORTH                              1952 HAYES SHORT LANE                                                                           COLFAX            NC    27235‐9656
JULIA CRAWFORD BROWN                              5205 SHENSTONE CIRCLE                                                                           VIRGINIA BEACH    VA    23455‐3213
JULIA D CONLEY                                    2297 MEADOW ST                                                                                  FLUSHING          MI    48433‐2526
                                           09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 439 of 855
Name                                             Address1                                 Address2             Address3          Address4          City              State Zip

JULIA D GRIFFIN                                  797 LOUISE AVE                                                                                    FAIRFIELD         OH    45014‐2722
JULIA D HELMS                                    115 W FIRST ST                                                                                    STANTON           MI    48888‐9300
JULIA DALTON                                     41 RANGER ROAD                                                                                    DUMONT            NJ    07628‐1812
JULIA DICKERSON                                  18260 SANTA ROSA                                                                                  DETROIT           MI    48221‐2243
JULIA DOOLEY BLACKBURN & CLARENCE BLACKBURN JT   11114 KILLIN RD                                                                                   HOWELL            MI    48843‐9220
TEN
JULIA DOUGHTY                                    613 LINCOLN BLVD                                                                                  SPEED             IN    47172‐1312
JULIA DRAINE                                     2547 ARCHWOOD ST                                                                                  DAYTON            OH    45406‐1404
JULIA E EVERT & ROXANNE NAAS JT TEN              11014 RAY RD                                                                                      GAINES            MI    48436‐8916
JULIA E FARRIS CUST JAMES F FARRIS UTMA NC       1621 NOTTINGHAM DR                                                                                GASTONIA          NC    28054
JULIA E FRASER                                   760 EAST 211TH ST                                                                                 BRONX             NY    10467‐6025
JULIA E FULLERTON                                2725 S UNION ST                          #3                                                       SPENCERPORT       NY    14559‐2239
JULIA E GARNER                                   82 THATCHER AVENUE                                                                                BUFFALO           NY    14215‐2236
JULIA E GRANT                                    20 BRADLEY RD                                                                                     UTICA             NY    13501‐6619
JULIA E KINGLAND                                 5055 TWIN SPRINGS RD                                                                              RENO              NV    89510‐9379
JULIA E KOFFMAN                                  66 MATTHEWS ST                                                                                    BINGHAMTON        NY    13905‐3835
JULIA E MOSHENKO                                 53023 SATURN                                                                                      SHELBY TOWNSHIP   MI    48316‐2331

JULIA E MOSHENKO & DANIEL W MOSHENKO JT TEN      53023 SATURN                                                                                      SHELBY TOWNSHIP   MI    48316‐2331

JULIA E NAVARRO                                  2188 GUNN RD                                                                                      HOLT              MI    48842‐1046
JULIA E PAIGE                                    55 LOTHROP ST                                                                                     NEWTONVILLE       MA    02460‐1436
JULIA E SHEMPA                                   136A ARCH ST                                                                                      KEENE             NH    03431
JULIA E SZULEWSKI                                293 CRAWFORD ST                                                                                   PINE BUSH         NY    12566‐6709
JULIA E THOMAS                                   APT 5‐K                                  750 MULL AVENUE                                          AKRON             OH    44313‐7561
JULIA ERB                                        PO BOX 833                                                                                        BIRMINGHAM        MI    48012‐0833
JULIA ERDELEAN & JIVCO ERDELEAN JT TEN           12758‐29 MILE ROAD                                                                                WASHINGTON        MI    48094‐1716
JULIA F COKER TIDWELL                            3423 PINE ST                                                                                      TEXARKANA         TX    75503‐3663
JULIA F CRANE                                    3850 MARINERS WALK APT 714                                                                        CORTEZ            FL    34215‐2524
JULIA F FISHER                                   2123 E GEORGIA AVE                                                                                PHOENIX           AZ    85016‐3407
JULIA F LINDSTROM                                2100 FRENCH PL                                                                                    BAYTOWN           TX    77520‐3514
JULIA F MCFADDEN                                 186 RINGWOOD WAY                                                                                  ANDERSON          IN    46013
JULIA F MILICAN                                  318 E 248TH ST                                                                                    CLEVELAND         OH    44123‐1439
JULIA F OSBORNE                                  39 KENWIN ROAD                                                                                    WINCHESTER        MA    01890‐1309
JULIA F OSHAUGHNESSY                             3 STERN CT                                                                                        HUNT STATION      NY    11746‐1324
JULIA F RAINER                                   318 HAPP RD                                                                                       NORTHFIELD        IL    60093‐3483
JULIA F ROUNDS                                   36 QUAKER RD                                                                                      PRINCETON         NJ    08550‐1650
                                                                                                                                                   JUNCTION
JULIA F SIMMONS                                  22608 FRISBEE ST                                                                                  DETROIT           MI    48219‐1743
JULIA F STONE                                    2075 CHEROKEE CT                                                                                  MARTINSVILLE      IN    46151‐9537
JULIA FAHEY BEADLES                              103 N SILVER CLUSTER CT                                                                           LONGWOOD          FL    32750‐4029
JULIA FRANCIS                                    28445 N 51ST ST                                                                                   CAVE CREEK        AZ    85331‐2345
JULIA FULARA                                     APT 5                                    2804 MACKINAW                                            SAGINAW           MI    48602‐3147
JULIA G THOMPSON                                 1935 SKYLER DRIVE                                                                                 KALAMAZOO         MI    49008‐2823
JULIA G UREY                                     529 N CENTER ST                                                                                   GROVE CITY        PA    16127‐1717
JULIA GENTRY                                     1735 BROADWAY                                                                                     ANDERSON          IN    46012‐2446
JULIA GLENN BARBER                               19 BROOKSIDE DR                                                                                   NEWNAN            GA    30263‐1514
JULIA GRANDIN MILITELLO                          31 JEFFERSON ST                                                                                   WESTFIELD         NY    14787‐1012
JULIA GRAY                                       6624 S PEORIA                                                                                     CHICAGO           IL    60621‐1820
JULIA GULAS                                      30454 NEWPORT                                                                                     WARREN            MI    48093‐6836
JULIA H BOOTH                                    2501 CARTER PLACE                                                                                 SIOUX FALLS       SD    57105‐5015
JULIA H JENKINS                                  797 MAPLE LN                                                                                      BROWNSBURG        IN    46112‐1707
JULIA H MASON                                    24 E 29TH ST                                                                                      WILMINGTON        DE    19802‐3658
JULIA H MILLER                                   PO BOX 593                                                                                        THONOTOSASSA      FL    33592‐0593
JULIA HART MC MAHON HALLAHAN                     5913 ONONDAGA ROAD                                                                                BETHESDA          MD    20816‐2035
JULIA HOFFMAN                                    2604 LANDINGS WAY                                                                                 GROVE CITY        OH    43123‐9447
JULIA HORNER MULLIGAN                            200 LAUREL LAKE DR                       APT G204                                                 HUDSON            OH    44236‐2193
JULIA HYACINTHE GEHEEB                           3159 KNOLLWOOD DR                        APT 86                                                   MOBILE            AL    36693‐2756
JULIA I BOERSMA                                  14429 BOOM RD                                                                                     SPRING LAKE       MI    49456‐9541
                                                 09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 440 of 855
Name                                               Address1                              Address2             Address3          Address4          City                State Zip

JULIA I GOSS                                     5463 E DODGE RD                                                                                  MT MORRIS           MI    48458‐9747
JULIA I ROSE                                     324 W COAL ST                                                                                    SHENANDOAH          PA    17976‐1533
JULIA J BAYS                                     7108 DARROW RD                                                                                   HURON               OH    44839‐9760
JULIA J LUNDWALL                                 141 PINE GLEN DRIVE                                                                              EAST GREENWICH      RI    02818‐1900
JULIA JANE WALLS                                 1700 NE 105TH ST #314                                                                            MIAMI SHORES        FL    33138‐2141
JULIA JEAN WILSON & JANICE A RYAN & SCOTT A      1807 DAPHNE DR                                                                                   ANDERSON            IN    46013‐2591
CRISLER JT TEN
JULIA JEAN WILSON & JERRY R WILSON & JULIE ANN   1807 DAPHNE DRIVE                                                                                ANDERSON            IN    46013‐2591
MOSIER JT TEN
JULIA JOHNSON                                    2017 WHITTLESEY ST                                                                               FLINT               MI    48503‐4348
JULIA JONES                                      1906 MARSHALL AVE                                                                                WILMINGTON          DE    19808‐6116
JULIA JUSTINE CHURCH                             925 QUEENSBURY DR                                                                                NOBLESVILLE         IN    46060‐8485
JULIA K FORGACH & GEORGE T FORGACH JT TEN        29 PRINCE ST                                                                                     NANTICOKE           PA    18634‐2125
JULIA K WELLER TOD SCOTT T WELLER SUBJECT TO STA 4459 CORBIN COURT                                                                                TALLAHASSEE         FL    32309
TOD RULES
JULIA KAHN & STEVEN KAHN TR U‐W‐O HENRY HEYMAN C/O JULIA KAHN                            65‐09 99TH ST                                            FOREST HILLS        NY    11374‐3570
SALOMON
JULIA KETCHAM TRACY                              PO BOX 909                                                                                       ABINGDON            MD    21009
JULIA KOSTRZEWA & CONNIE KOSTRZEWA JT TEN        PO BOX 1452                                                                                      SAGINAW             MI    48605
JULIA L AUMICK                                   PO BOX 3148                                                                                      HELENDALE           CA    92342
JULIA L BONDURANT                                7913 LAKEHURST DR                                                                                OKLAHOMA CITY       OK    73120‐4323
JULIA L CHRISTIE                                 700 E BRIGHTON AVENUE                                                                            SYRACUSE            NY    13205‐2201
JULIA L DAINKO                                   906 GRAND BLVD                                                                                   JOLIET              IL    60436‐1579
JULIA L EHRENSBERGER                             2150 LITCHFIELD LN                                                                               LAKE IN THE HILLS   IL    60156‐5702
JULIA L ENG & BERNARD W ENG JT TEN               3271 N COLEMAN RD                                                                                COLEMAN             MI    48618‐9510
JULIA L ERVIN                                    938 OLD MORGANTOWN RD W                                                                          FRIENDSVILLE        MD    21531‐1026
JULIA L FORBES                                   BOX 424                                                                                          MECHANICSVILLE      MD    20659‐0424
JULIA L FORBES                                   PO BOX 424                                                                                       MECHANISVILLE       MD    20659‐0424
JULIA L HERRMANN                                 2506 E WILLOW ST UNIT 301                                                                        SIGNAL HILL         CA    90755‐2234
JULIA L OMERZO                                   2242 HENN‐HYDE RD N E                                                                            CORTLAND            OH    44410‐9413
JULIA L OROSCO CUST JOSHUA A OROSCO UTMA CA      319 N HIGHWAY 1                         SPC 75                                                   GROVER BEACH        CA    93433‐3555

JULIA L PEEK                                       890 COTHRAN RD                                                                                 COLUMBIA            TN    38401‐6754
JULIA L STARK                                      2090 WILMINGTON AVE                                                                            SALT LAKE CTY       UT    84109
JULIA L WILKINSON U/GDNSHP OF KATHRYN A            4402 S SAINT PAUL CI                                                                           WICHITA             KS    67217‐4088
WILKINSON
JULIA LEVER BEAVERS & JACQUELINE W GUSTAVES JT     509 S MAIN ST                                                                                  WOODSTOCK           VA    22664‐1257
TEN
JULIA LORETTA HAFER                                146 WOODVIEW DR                                                                                CHILLICOTHE      OH       45601‐8477
JULIA M ADAMS                                      275 AMELIA OLIVE BRANCH RD                                                                     AMELIA           OH       45102‐1127
JULIA M ALSTON                                     821 E EIGHTH ST                                                                                FLINT            MI       48503‐2735
JULIA M BASSHAM                                    6312 S WHITHAM DRIVE                                                                           NIAGARA FALLS    NY       14304‐1270
JULIA M BEEBE                                      17257 LOGANS RUN                                                                               BATTLE CREEK     MI       49014‐8819
JULIA M BROWN                                      78 VANDALE ST                                                                                  PUTNAM           CT       06260‐1433
JULIA M CURRAN                                     683 COLUMBIA ROAD                                                                              DORCHESTER       MA       02125‐1712
JULIA M FERRISE                                    PO BOX 28                                                                                      ANMOORE          WV       26323‐0028
JULIA M GIETZ                                      171 CANOVA RD                                                                                  ORANGE PARK      FL       32073‐7901
JULIA M KOTLARZ & BERNARD J KOTLARZ JT TEN         6216 KINMORE AVE                                                                               DEARBORN HEIGHTS MI       48127‐3059

JULIA M LOKKEN                                     403 W MACARTHUR AVE                                                                            EAU CLAIRE          WI    54701‐6328
JULIA M LOUIE & DANIEL S LOUIE JT TEN              20850 NICHOLAS AVE                                                                             EUCLID              OH    44123‐3021
JULIA M METZGER                                    2505 CHICKASAW DR                                                                              LONDON              OH    43140‐9014
JULIA M NIDA TR JULIA M NIDA TRUST UA 12/06/94     2915 BELCHER                                                                                   STERLING HEIGHTS    MI    48310‐3620

JULIA M O CASTLEBERRY                              3060 LICK RUN RD                                                                               BLACKSBURG          VA    24060‐1024
JULIA M PRPICH & JACQUELYN M HEWSON JT TEN         31569 PERTH                                                                                    LIVONIA             MI    48154‐4230
JULIA M REARDON                                    PO BOX 279                                                                                     ODESSA              DE    19730‐0279
JULIA M ROMAN & JAMES J ROMAN JT TEN               320 WINDSTREAM CT                                                                              AURORA              IL    60504‐6506
JULIA M ROMAN & SUSAN ROMAN ILICH JT TEN           320 WINDSTREAM CT                                                                              AURORA              IL    60504‐6506
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                        Part 4 of 8 Pg 441 of 855
Name                                              Address1                               Address2                      Address3   Address4          City              State Zip

JULIA M SMETANKA                                  14415 TOWERING OAKS DRIVE                                                                         SHELBY TWP        MI    48315
JULIA M ST JOHN                                   10257 WILLOWEMAC CT                                                                               ORLANDO           FL    32817‐4820
JULIA M STANLEY                                   240 SHOREVIEW DR                                                                                  CHELSEA           MI    48118‐9794
JULIA M TOLIVER                                   2114 JUSTICE LANE                                                                                 KOKOMO            IN    46902
JULIA M URIS                                      1911 SUMMER ST                                                                                    STAMFORD          CT    06905‐5016
JULIA MAC DONALD                                  23415 GA HWY 315                                                                                  WAVERLY HALL      GA    31831‐2407
JULIA MAE LEWIS                                   2001 MAYFIELD VILLA DR 1102                                                                       ARLINGTON         TX    76014
JULIA MAIORANO                                    406 CENTERVILLE RD                                                                                WILMINGTON        DE    19808‐4716
JULIA MARIE MCLEAN                                PO BOX 1125                                                                                       MIDLAND           MI    48641‐1125
JULIA MARTINEZ                                    110 S PALO VERDE DR                                                                               APACHE JUNCTION   AZ    85220

JULIA MARY AMBROSICH                              4107 CLAYTON CT                                                                                   FORT COLLINS      CO    80525‐3444
JULIA MCCUTCHEON WARNER                           2865 SKYE DR                                                                                      FAYETTEVILLE      NC    28303‐5924
JULIA MERRILL CSURI                               59 GULL ROAD                                                                                      MIDDLETOWN        NJ    07748‐3245
JULIA MILOSER TR JULIA MILOSER TRUST UA 1/21/02   18338 BAINBRIDGE                                                                                  LIVONIA           MI    48152‐3375

JULIA N CARDONA                                    11617 BROUGHAM DR                                                                                STERLING HTS      MI    48312‐3907
JULIA N HEALEY                                     PO BOX 430                                                                                       EAST GREENWICH    RI    02818‐0430
JULIA N LA FOREST                                  240 FARMINGTON AVE                                                                               BRISTOL           CT    06010‐4219
JULIA N MAYS TR REVOCABLE TRUST 02/07/89 U‐A JULIA 1111 ST JOSEPH AVE                                                                               LOS ALTOS         CA    94024‐6700
N MAYS
JULIA NEWCOMER                                     501 MIMOSA DR                                                                                    DENTON            TX    76201‐0856
JULIA NEWTON & ELEANOR LOUGHLIN JT TEN             9505 SEDDON CT                                                                                   BETHESDA          MD    20817‐2048
JULIA NEWTON & JUDITH ANN COLLISHAW JT TEN         9505 SEDDON CT                                                                                   BETHESDA          MD    20817‐2048

JULIA O ADAMS TR UA 12/09/08 ADAMS LIVING TRUST   3008 TWIN LAKES DRIVE                                                                             GREENSBORO        NC    27407

JULIA O BOCHENSKY                                  C/O MARTHA BOCHENSKY‐FUTALA           1304 BERKELEY STREET UNIT 2                                SANTA MONICA      CA    90404
JULIA O CAIRA                                      13110 S W 14 PL                                                                                  DAVIE             FL    33325‐5719
JULIA O DE PESTEL                                  20452 ROSCOMMON                                                                                  HARPER WOODS      MI    48225‐2259
JULIA O DE PESTEL & DENNIS DE PESTEL & DANIEL DE   20452 ROSCOMMON                                                                                  HARPER WOODS      MI    48225‐2259
PESTEL JT TEN
JULIA OBLICH & LOUIS OBLICH JT TEN                 200 AVENUE L                                                                                     PITTSBURGH        PA    15221‐4230
JULIA OLASKY                                       C/O LEONARD OLASKY                    11300 RONALD DRIVE                                         PARMA             OH    44130‐7217
JULIA OLASKY                                       7180 KENSSINGTON DR                                                                              N RIDGEVILLE      OH    44039‐3179
JULIA P CRYE                                       15 ATKINSON STREET                                                                               NEWNAN            GA    30263‐1511
JULIA P EMCH & DAVID M EMCH & MILTON E EMCH JT 1764 NILES CORTLAND RD SE                                                                            WARREN            OH    44484‐3033
TEN
JULIA P FALESKI                                    15809NORTH48THLANE                                                                               GLENDALE          AZ    85306‐2605
JULIA P MORRIS                                     24 GRANDVIEW                                                                                     CAMBRIDGE         OH    43725
JULIA P SANDERCOCK                                 1961 HAYES‐SHORT LANE                                                                            COLFAX            NC    27235‐9656
JULIA P SERT                                       105 GEORGIA ROAD                      LONDON ON                                N6H 2R5 CANADA
JULIA P SERT                                       105 GEORGIA ROAD                      LONDON ON                                N6H 2R5 CANADA
JULIA P WELLS                                      2925 HARTWOOD DR                                                                                 FORT WORTH        TX    76109‐1238
JULIA R DVORAK TR UA 03/10/92 JULIA R DVORAK TRUST 8513 SHAGBARK CT                                                                                 WOODRIDGE         IL    60517‐4513

JULIA R EICH                                      177 ABBOTT WOODS DR                                                                               EAST LANSING      MI    48823‐1998
JULIA R GIORDANO                                  99 MIDLAKE CIR                                                                                    EAST SYRACUSE     NY    13057‐3108
JULIA R JOHNSON                                   4745 EASTON STREET                                                                                LAKE WALES        FL    33853‐8629
JULIA R KENNEDY & PATRICK KENNEDY JT TEN          70 DRAKE ST                                                                                       MALVERNE          NY    11565‐1535
JULIA R L SILVERMAN                               1961 SE 27TH AVE                                                                                  PORTLAND          OR    97214‐4915
JULIA R WEERTMAN                                  834 LINCOLN ST                                                                                    EVANSTON          IL    60201‐2405
JULIA R WEERTMAN TR UA 06/14/86 JULIA R           834 LINCOLN ST                                                                                    EVANSTON          IL    60201‐2405
WEERTMAN TRUST
JULIA R ZOBA                                      527 W SPRUCE ST                                                                                   MAHANOY CITY      PA    17948‐2426
JULIA RAE MYERS                                   1783 N ST RD 39                                                                                   DANVILLE          IN    46122‐8213
JULIA RAIA                                        815 CARTIER                                                                                       CANAL FULTON      OH    44614‐8482
JULIA RANDALL HEMINGWAY                           6A NIMITZ WAY                                                                                     SALEM             MA    01970‐2748
JULIA RAYMOND                                     115 JEFFERSON AVE                                                                                 LINDEN            NJ    07036‐4307
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 442 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

JULIA REBEKAH FUECHEC CUST GRANT RIEDEL FUECHEC   1206 MEADOW CREEK DRIVE                                                                       EL CAMPO        TX    77437‐2838
UGMA TX
JULIA ROSS                                        3007 CORNSTALK RD                                                                             WAYNESVILLE     OH    45068‐9601
JULIA ROTHENBERG                                  P 0 BOX 1002                                                                                  CANAAN          NY    12029‐1002
JULIA RUTH KARA                                   6104 BRUSCA PLACE                                                                             RIVERSIDE       CA    92506‐2153
JULIA RYAN BARKER & LINDA LEE GUSTAFSON JT TEN    1394 OAKRIDGE COURT                                                                           THOUSAND OAKS   CA    91362‐1923

JULIA S BAYS TR JULIA S BAYS REVOCABLE LIVING TRUST 1641 MICHIGAN                                                                               LINCOLN PARK    MI    48146‐3921
UA 05/15/00
JULIA S CANONICA                                    3404 GOSHEN RD                                                                              NEWTOWN SQUARE PA     19073‐3424

JULIA S CIRINCIONE                                5011 RHOADS AVE                                                                               SANTA BARBARA   CA    93111‐2701
JULIA S DI RITO & ANNA S PIERARD JT TEN           123 CARNMORE DR                                                                               WINCHESTER      VA    22602
JULIA S GENTRY                                    1735 BROADWAY                                                                                 ANDERSON        IN    46012‐2446
JULIA S HANCHAK & THOMAS N MEREDITH JT TEN        4 MATTHEW ST                                                                                  SCOTT TWP       PA    18433
JULIA SCHOU ESTES                                 1381 PEBBLE CREEK RD                                                                          MARIETTA        GA    30067‐5435
JULIA SCHULTZ                                     31 SIMMONS DRIVE                                                                              WOODSTOCK       NY    12498‐1226
JULIA SEYFARTH WHITE                              7705 BROOKVILLE ROAD                                                                          CHEVY CHASE     MD    20815‐3933
JULIA SHAW HOLMES                                 1016 CARSON STREET                                                                            SILVER SPRING   MD    20901‐1814
JULIA STETKEWYCZ                                  4472 MC KINLEY                                                                                WARREN          MI    48091‐1161
JULIA STEVENSON                                   22570 SHERWOOD                                                                                BELLEVILLE      MI    48111‐9349
JULIA T DUNAJ                                     58 HEDDEN TERR                                                                                NO ARLINGTON    NJ    07031‐6109
JULIA T HUNT                                      3957 ALVIN AVE                                                                                DAYTON          OH    45408‐2309
JULIA T JEWETT                                    7707 W IRVING PK ROAD 310                                                                     CHICAGO         IL    60634‐2137
JULIA T MOSZYK                                    909 S FARRAGUT                                                                                BAY CITY        MI    48708‐7304
JULIA THERESE SHURTLEFF VILLACORTE & GILBERTO     8304 HUNTING HILL LN                                                                          MCLEAN          VA    22102‐1304
VILLACORTE JT TEN
JULIA URBANSKI                                    806 HILAND AVE                                                                                CORAOPOLIS      PA    15108‐1707
JULIA V DEJACIMO                                  5653 BRICKSTONE PL                                                                            HILLIARD        OH    43026‐3883
JULIA V WOLF                                      406 FOREST HILL CRESCENT                                                                      SUFFOLK         VA    23434‐5514
JULIA VALERA & PAUL P VALERA JT TEN               4539 PRINCESS LABETH COURT                                                                    JACKSONVILLE    FL    32258‐4199
JULIA VOUTYRAS                                    30800 FRANKLIN WOODS CT                                                                       FRANKLIN        MI    48025‐1508
JULIA W CHEEVER                                   44 21ST AVE                                                                                   SAN FRANCISCO   CA    94121‐1204
JULIA W CLINGER                                   418 NORTH ST ASAPH                                                                            ALEXANDRIA      VA    22314
JULIA W GLENN                                     4315 ARBOR LANDING DR                                                                         MARIETTA        GA    30066‐2250
JULIA WASHINGTON                                  8220 S ELIZABETH ST                  APT 1ST                                                  CHICAGO         IL    60620‐3954
JULIA WELLONS                                     1823 CARPENTER ST                                                                             PHILADELPHIA    PA    19146
JULIA WELLS HALL                                  JULIA HALL PARISH                    3461 PACIFIC AVE                                         SAN FRANCISCO   CA    94118‐2029
JULIA WEST TR JULIA WEST TRUST OF 1999 10/22/99   221 MILLER ST                                                                                 SOUTH BELOIT    IL    61080‐1244

JULIA WISE                                        354 W MAIN BOX 252                                                                            JAMESTOWN       IN    46147‐9555
JULIA Y CHOW                                      114 LAKE DRIVEWAY WEST               AJAX ON                                L1S 4T5 CANADA
JULIA Y CHOW                                      114 LAKE DRIVEWAY WEST               AJAX ON                                L1S 4T5 CANADA
JULIA Y CHOW                                      114 LAKE DRIVEWAY WEST               AJAX ON                                L1S 4T5 CANADA
JULIA YARUSINSKY & ELAINE YARUSINSKY JT TEN       161 PROSPECT ST                                                                               SOUTH RIVER     NJ    08882‐1119
JULIA YARUSINSKY & JOHN S YARUSINSKY JT TEN       161 PROSPECT ST                                                                               SOUTH RIVER     NJ    08882‐1119
JULIA YOUNG                                       1919 W LAFAYETTE AVE                                                                          BALTIMORE       MD    21217
JULIA ZEMON                                       150 NORTHFIELD RD                                                                             BEDFORD         OH    44146‐4640
JULIAETT GREENE                                   2446 HINE ST45                                                                                ATHENS          AL    35611‐5733
JULIAMAE JENSEN                                   3383 FARMERS CREEK RD                                                                         METAMORA        MI    48455‐9791
JULIAN A BROWN                                    3025 COUNTY ROAD 321                                                                          GATESVILLE      TX    76528‐4327
JULIAN A KIELBASO & SOPHIA C KIELBASO JT TEN      401 BRANDT                                                                                    DAYTON          OH    45404‐2241
JULIAN B ADAMS                                    24281 TAHOE CT                                                                                LAGUNA NIGUEL   CA    92677‐7024
JULIAN B HILL JR & MARIAN S HILL JT TEN           3162 N HILL DR                                                                                TUPELO          MS    38801‐9778
JULIAN B MILLER JR                                10443 CLAIBORNE CROSSING RD                                                                   FREDERICKBURG   VA    22408‐9335
JULIAN BOWEN                                      1905 MERCURY ST                                                                               COLUMBIA        SC    29209‐2930
JULIAN C FOSTER                                   1205 COLUMBIA                                                                                 OAK PARK        IL    60302‐1227
JULIAN C MIKOLAJEK                                153 FENTON ST                                                                                 BUFFALO         NY    14206‐3509
JULIAN CHAMBLESS                                  883 OLINGER RD                                                                                SCOTTSBORO      AL    35769‐9732
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 443 of 855
Name                                               Address1                              Address2             Address3          Address4                City               State Zip

JULIAN CHAVEZ JR                                   PO BOX 6776                                                                                          WARNER ROBINS      GA    31095‐6776
JULIAN D SMITH                                     RR 1                                                                                                 WYTHEVILLE         VA    24382
JULIAN D WHALEY                                    3765 MT PLEASANT ROAD N E                                                                            DALTON             GA    30721‐7314
JULIAN DALE MERIDETH TR UA 03/14/89 THE JULIAN     3842 N LAKE ORLANDO PKWY                                                                             ORLANDO            FL    32808‐2239
DALE MERIDETH TRUST
JULIAN DURAN                                       4492 OGDEN DR                                                                                        FREMONT            CA    94538‐2629
JULIAN E FREEMAN                                   789C ZINNIA PL                                                                                       MONROE TWP         NJ    08831
JULIAN E FREY TR JULIAN E FREY TRUST UA 05/02/85   31357 FAIRFAX AVE                                                                                    BIRMINGHAM         MI    48025‐5653

JULIAN E KUBIK                                     32550 BELLVINE                                                                                       BEVERLY HILLS      MI    48025‐2649
JULIAN E KUBIK & JEAN B KUBIK JT TEN               32550 BELLVINE TRAIL                                                                                 BEVERLY HILLS      MI    48025‐2649
JULIAN EDWARD SCOGGINS TR REVOCABLE TRUST          6 HOLMES RD                                                                                          NEWPORT            AR    72112‐4047
03/18/92 U‐A ANN T SCOGGINS
JULIAN FRANK WOLFSON                               1309 ROOSVELT WAY                                                                                    WESTBURY           NY    11590
JULIAN G MCCLAIN                                   61911 KLINGER LK RD                                                                                  CENTREVILLE        MI    49032‐9742
JULIAN G WILSON JR                                 2730 TWISTED OAK CV N                                                                                CORDOVA            TN    38016‐8444
JULIAN GADSON                                      19200 ROSELAND G‐547                                                                                 EUCLID             OH    44117‐1385
JULIAN H ISAACS CUST BRUCE ISAACS UGMA CA          521 24TH ST                                                                                          SANTA MONICA       CA    90402‐3133
JULIAN H VANDYKE                                   604 CHEROKEE ST                                                                                      IRWIN              PA    15642‐3902
JULIAN HOWARD BURGESS                              32 SPRING ST                          APT 102                                                        WALLINGTON         NJ    07057‐2065
JULIAN J DURAN                                     4492 OGDEN DR                                                                                        FREMONT            CA    94538‐2629
JULIAN J GUZINSKI                                  701 W BELLE AVE                                                                                      SAINT CHARLES      MI    48655‐1613
JULIAN J RAYNES CUST THEODORE ALAN RAYNES UGMA     690 MOUNT VERNON HWY NE                                                                              ATLANTA            GA    30328‐4221
GA
JULIAN JACOB RAYNES                                690 MOUNT VERNON HWY NE                                                                              ATLANTA            GA    30328‐4221
JULIAN JAMES KIELBASO                              4696 HURON HILL DRIVE                                                                                OKEMOS             MI    48864‐2051
JULIAN JOHNSON                                     5705 TIPPERARY TRL                                                                                   FREDERICKSBRG      VA    22407‐5300
JULIAN JR CALDERAS                                 225 S VERMILLION AVE                                                                                 BROWNSVILLE        TX    78521‐6880
JULIAN KMIEC & RUTH ANN KMIEC JT TEN               1534 LONG BOAT KEY LANE                                                                              ELGIN              IL    60120
JULIAN KUDZBORSKI                                  298 SONIA AVE                                                                                        MADISON HTS        MI    48071‐2861
JULIAN LEVINSON                                    3161 S OCEAN DR APT 1509                                                                             HALLANDALE         FL    33009‐7282
JULIAN LINGLE                                      201 BENNINGTON RD                                                                                    CHARLOTTESVILLE    VA    22901‐2408

JULIAN M CASAREZ                                   2534 MCINTOSH AVENUE NE                                                                              GRAND RAPIDS       MI    49525‐3144
JULIAN M LEVANT & J PHILIP LEVANT JT TEN           100 W HICKORY GROVE RD                APT B6                                                         BLOOMFIELD         MI    48304
JULIAN M TROSPER                                   128 SOUTHLAND DRIVE                                                                                  LONDON             KY    40744‐9191
JULIAN MALONE                                      8408 BURNT UMBER DR                                                                                  CHARLOTTE          NC    28215‐9400
JULIAN N SMITH                                     30667 MYSTIC FOREST DR                                                                               FARMINGTN HLS      MI    48331‐5982
JULIAN P BLAND                                     382 SPRUCE GLEN RD                                                                                   LEXINGTON          SC    29072‐7468
JULIAN P BLAND & ANN C BLAND JT TEN                382 SPRUCE GLEN RD                                                                                   LEXINGTON          SC    29072‐7468
JULIAN P FOLEY                                     2025 SUANA DR                                                                                        RANCHO PALOS       CA    90275‐6362
                                                                                                                                                        VERDE
JULIAN P FOX                                       3644 DOVE CREEK RD                                                                                   CLEBURNE           TX    76031‐7721
JULIAN P VANISACKER                                930 STEVENS TRL                                                                                      MONROE             MI    48161
JULIAN PEREZ JR                                    7603 HAZELTON                                                                                        DEARBORN           MI    48127‐1545
JULIAN PUENTES                                     42021 57TH ST W                                                                                      QUARTZ HILL        CA    93536‐3750
JULIAN R FISHER                                    134 E 286 ST                                                                                         WILLOWICK          OH    44095‐4578
JULIAN R GRESHAM JR                                3008 DRIFTWOOD DR                                                                                    COLONIAL HEIGHTS   VA    23834‐2919

JULIAN R RICHARDSON & ROSEMARY C RICHARDSON JT     1217 RISING SUN RD                                                                                   CAMDEN             DE    19934‐1920
TEN
JULIAN R SANCHEZ                                   6685 CRIBBONS ROAD                                                                                   AVOCA              MI    48006‐2401
JULIAN R THOMAS                                    PO BOX 405                                                                                           FENTON             MI    48430‐0405
JULIAN RAGALIE                                     4770 KESTER AVE                       APT 206                                                        SHERMAN OAKS       CA    91403‐2072
JULIAN ROBERT GEIGER                               7 CHOWNING DR                                                                                        MALVERN            PA    19355‐3321
JULIAN ROBERTSON‐KELLIE                            THE OLD RECTORY                       STREET LANE          SOMERSET          ODCOMBE BA2 28U GREAT
                                                                                                                                BRITAIN
JULIAN S MARTINEZ                                  10101 SE 45TH STREET                                                                                 OKLAHOMA CITY      OK    73150‐4405
JULIAN S RINEHART                                  468 WHITE OAK TRL                                                                                    SPRING HILL        TN    37174‐2599
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 444 of 855
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

JULIAN STANLEY LEVY                               9450 E LAKE CIR                                                                                 ENGLEWOOD          CO    80111‐5209
JULIAN T MARROU                                   RR 4 144A                                                                                       GONZALES           TX    78629‐9804
JULIAN T TROSPER                                  3956 N HWY 25                                                                                   E BERNSTADT        KY    40729‐6533
JULIAN TAYLOR                                     3085 SUNNYGLEN CRT                                                                              CHINO              CA    91709‐1283
JULIAN URIARTE                                    2915 W 13 MILE RD 103                                                                           ROYAL OAK          MI    48073‐2912
JULIAN VAN DEN ABEELE                             305 MOSLEY ST                                                                                   LANSING            MI    48906‐4141
JULIANA J MARTIN                                  21400 DIX TOLEDO HWY                   APT 330                                                  BROWNSTWN TWP      MI    48183‐1368

JULIANA M CHIPPS                                  827 SPARROW AVE                                                                                 LANSING            MI    48910‐1363
JULIANA M HUGHES                                  54665 SHELBY RD                                                                                 SHELBY TOWNSHIP    MI    48316‐1435

JULIANA T CUNNINGHAM                              3342 BRANDYWINE WAY                                                                             TORRANCE           CA    90505‐7104
JULIANAN D VENAZINDIS TR UA 04/01/07 JULIANAN D   6374 ASBURY PARK                                                                                DETROIT            MI    48228
VENAZINDIS LIV TRUST
JULIANN M NELSON                                  7976 TAYLOR ROAD                                                                                VICTOR             NY    14564‐9126
JULIANN NAMISH                                    8247 ENGLEWOOD N E                                                                              WARREN             OH    44484‐1906
JULIANN RYAN                                      6578 OLDE MILL RUN                                                                              REYNOLDSBURG       OH    43068‐1622
JULIANN T PAWLAK                                  703 FIFTH AVE                                                                                   WILLIAMSPORT       PA    17701
JULIANNA F BRICE                                  PO BOX 1614                                                                                     PINE               AZ    85544‐1614
JULIANNA H AIKEN                                  8000 SHORE FRONT PKWY                                                                           FAR ROCKAWAY       NY    11693‐2058
JULIANNA M GLEASON                                59‐87 57TH DR                                                                                   MASPETH            NY    11378‐2701
JULIANNA M OAKES                                  3130 ELLIOTT RD                                                                                 HOLLY              MI    48442‐9490
JULIANNA POLTRONE                                 2744 PARKER BLVD                                                                                TONAWANDA          NY    14150‐4528
JULIANNA SHEPARD                                  401 S RAINBOW RANCH RD                                                                          WIMBERLEY          TX    78676‐5922
JULIANNE H COX                                    5323 ALBEMARLE ST                                                                               BETHESDA           MD    20816‐1826
JULIANNE I SINSHACK                               14363 KNIGHTSBRIDGE                                                                             SHELBY TOWNSHIP    MI    48315‐2821

JULIANNE M HOOPS                                  ATTN JULIANNE M HOOPS BATES            23546 WHITLEY                                            CLINTON TWP        MI    48035‐4636
JULIANNE M HUGHES                                 1505 S RIVER RD                                                                                 JANESVILLE         WI    53546‐5472
JULIANNE M SMITH                                  191 N BERKSHIRE                                                                                 BLOOMFIELD HILLS   MI    48302‐0403

JULIANNE MAIER                                    13245 SPRUCE RUN #206                                                                           NORTH ROYALTON     OH    44833

JULIANNE PAELTZ CASSITY                           2772 BENTLEY COURT                                                                              CINCINNATI         OH    45244‐3504
JULIANNE WOLNY                                    5975 W MICHIGAN AVE                    UNIT B4                                                  SAGINAW            MI    48638‐5932
JULIAVINA ELLIS                                   720 COMMERCIAL ST                                                                               HAVENSVILLE        KS    66432‐9554
JULICE SLONE                                      458 HAMPTON DRIVE                                                                               ELYRIA             OH    44035‐8804
JULIE A AMANN                                     9437 RIVEREDGE DR                                                                               CORDOVA            TN    38018‐7703
JULIE A AUSTIN                                    2596 COOMER ROAD                                                                                BURT               NY    14028‐9738
JULIE A BABCOCK                                   5133 N OLD ORCHARD DR                                                                           JANESVILLE         WI    53545
JULIE A BAKER CUST JEFFREY A BAKER UGMA CA        728 W HOWARD                                                                                    VISALIA            CA    93277‐4782
JULIE A BANCROFT TRAVIS                           1400 ELMWOOD RD                                                                                 LANSING            MI    48917‐1569
JULIE A BAUER                                     2230 GRAYSTONE ST.                                                                              JOLIET             IL    60431
JULIE A BAUERS CUST ERIENNE N BAUERS UTMA OH      203 WOODLEAF DRIVE                                                                              CHAPEL HILL        NC    27516‐7985

JULIE A BAUERS CUST SOPHIA E BAUERS UTMA OH       203 WOODLEAF DR                                                                                 CHAPEL HILL        NC    27516‐7985
JULIE A BELLAMY                                   9369 E COLDWATER                                                                                DAVISON            MI    48423‐8941
JULIE A BENNITT                                   8889 MEADOWRUE                                                                                  PORTLAND           MI    48875‐8494
JULIE A BLACKBURN                                 2622 COVERED BRIDGE LN                                                                          ALLENTOWN          PA    18104‐9621
JULIE A BLUMKE                                    2224 CLAY RD                                                                                    AUSTELL            GA    30106‐2012
JULIE A BOSWELL                                   174 GARRISONS CIRCLE                                                                            SMYRNA             DE    19977‐2859
JULIE A BRETZ                                     ATTN JULIE A MARJAMAA                  2246 OAKWOOD DR                                          TROY               MI    48098‐3892
JULIE A BROGAN                                    1110 RIVERSIDE DR                                                                               KAUKAUNA           WI    54130‐1946
JULIE A BUSCH                                     18936 DEVONSHIRE                                                                                BEVERLY HILLS      MI    48025‐4030
JULIE A CABANA CUST KATELIN I CABANA UTMA MI      1021 MAGEE RD NORTH                                                                             BOYNE FALLS        MI    49713

JULIE A CLARK                                     21 COURT RD                                                                                     WINTHROP           MA    02152‐2309
JULIE A DANIELS                                   3249 MISTY MORNING DR                                                                           FLUSHING           MI    48433‐3010
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 445 of 855
Name                                            Address1                             Address2             Address3          Address4          City               State Zip

JULIE A DARASKA CUST MATTHEW G BALZEKAS UTMA IL 6158 S NARRAGANSETT #1W                                                                       CHICAGO            IL    60638‐4221

JULIE A DAVIS                                    3480 FOUR LAKES AVE                                                                          LINDEN             MI    48451‐9448
JULIE A DAWSON                                   6 HIDDEN LAKE CT                                                                             MT LAUREL          NJ    08054‐4840
JULIE A DREHER                                   5560 EAST UV AVE                                                                             VICKSBURG          MI    49097‐9346
JULIE A DUFFY                                    212 LIDO TRAIL                                                                               BARTLETT           IL    60103‐8600
JULIE A EDDY                                     2 VAN TASSEL WAY                                                                             BRADFORD           PA    16701‐2515
JULIE A FAHEY                                    97 MCCRACKEN ST                     ESSENDON VICTORIA                      AUSTRALIA
JULIE A FENDER                                   10301 S SHAFTSURG                                                                            LAINGSBURG         MI    48848‐9731
JULIE A FORE                                     3311 BRIARCOURT DRIVE                                                                        SAINT LOUIS        MO    63125
JULIE A FOSS                                     907 EASTERN AVE                                                                              HOLDEN             ME    04429‐7228
JULIE A FUNK                                     205 W PLUM                                                                                   FRANKTON           IN    46044
JULIE A GARCIA                                   29720 WILDBROOK DRIVE                                                                        SOUTHFIELD         MI    48034‐7615
JULIE A GRAFTON                                  2200 COLORADO AVE                   APT 431                                                  SANTA MONICA       CA    90404‐5531
JULIE A GRANDE & ROSEMARY H MC GUIRE JT TEN      215 S HESPERIDES ST                                                                          TAMPA              FL    33609‐2608
JULIE A GREENWOOD                                115 RIVER DR                                                                                 MILFORD            MI    48381‐2064
JULIE A HAGEN                                    5432 BERKELEY RD                                                                             SANTA BARBARA      CA    93111‐1614
JULIE A HANAS                                    24415 TUCKER HOUSE LN                                                                        KATY               TX    77493‐2682
JULIE A KARR                                     2278 S MADISON RD                                                                            BELOIT             WI    53511‐8623
JULIE A KEATING CUST JOSEPH WILLIAM KEATING UTMA 564 CROOKED CREEK DR                                                                         SAGINAW            MI    48609‐9224
MI
JULIE A KOLEDO                                   616 UNION ST                                                                                 MARSHALL           MI    49068‐1035
JULIE A LOGAN                                    C/O JULIE A WOLF                    4766 DEER CHASE                                          POWDER SPGS        GA    30127
JULIE A MATUSZEWSKI                              7005 PENNINSULA CT                                                                           CLARKSTON          MI    48346‐1990
JULIE A MAZZA & JOHN A MAZZA JT TEN              351 LONE PINE CT                                                                             BLOOMFIELD HILLS   MI    48304‐3430

JULIE A MULNIX                                  110 N DETROIT ST                                                                              DURAND             MI    48429‐1447
JULIE A MURPHY                                  15650 VERONICA                                                                                EASTPOINTE         MI    48021‐3638
JULIE A MUSTO                                   142 RIDGEDALE CR                                                                              ROCHESTER          NY    14616‐5303
JULIE A NAZARIAN                                3924 JEAN LN                                                                                  NORTON             OH    44203‐5044
JULIE A NICHOLSON                               2627 CLAPHAM                                                                                  MINDEN             NV    89423‐9038
JULIE A PHILIPPART & PHILIP L GIBSON JT TEN     1190 S COLLIERVILLE ARLINGTON RD                                                              COLLIERVILLE       TN    38017
JULIE A PRESKE                                  12556 SAKSONS BLVD                                                                            FISHERS            IN    46038‐1208
JULIE A RINN & HADLEE M RINN JT TEN             560 W BIRCH RD                                                                                SANFORD            MI    48657‐9445
JULIE A RISCH                                   2670 PICKEREL LAKE ROAD                                                                       EAGLE RIVER        WI    54521‐8346
JULIE A ROBERTS                                 9923 SW TRAPPER TER                                                                           BEAVERTON          OR    97008‐7808
JULIE A SAWADE                                  9832 FULMER RD                                                                                MILLINGTON         MI    48746‐9704
JULIE A SIGLER                                  3560 EASTBOURNE                                                                               TROY               MI    48084‐1108
JULIE A SNYDER                                  435 SPECTOR RD 1007                                                                           LANSING            MI    48917‐1050
JULIE A ST LOUIS                                PO BOX 1562                                                                                   GIRDWOOD           AK    99587‐1562
JULIE A STRAIT                                  101 FORSYTHE ST                                                                               CAMILLUS           NY    13031‐2416
JULIE A SWIFT                                   1503 S SANFORD AVENUE                                                                         SANFORD            FL    32771‐3555
JULIE A TURNMIRE                                56760 COUNTY HWY S                                                                            READSTOWN          WI    54652
JULIE A TWARDY & MICHAEL TWARDY JT TEN          30111 AUTUMN LANE                                                                             WARREN             MI    48093‐3293
JULIE A UPLEGGER                                1708 CASPIAN DR                                                                               CULLEOKA           TN    38451‐2079
JULIE A WALKER                                  8511 STATE ST                                                                                 MILLINGTON         MI    48746‐9665
JULIE A WEBBER                                  1008 N FELL AVE                                                                               NORMAL             IL    61761‐1324
JULIE A WILSON                                  6783 NORTHRIDGE DR                                                                            RIVERSIDE          CA    92506‐4926
JULIE A WOLF                                    21032 BIRCHWOOD ST                                                                            FARMINGTON         MI    48336‐5006
JULIE A WOOD                                    5513 HWY 332                                                                                  HOSCHTON           GA    30548‐1864
JULIE ABEAR                                     20305 PLANTATION LANE                                                                         BEVERLY HILLS      MI    48025‐5055
JULIE ADAUTO                                    212 DUNNE AVE                                                                                 EL PASO            TX    79905‐3804
JULIE ALLISON HUNT DAVIS                        49 AUGUSTA DR                                                                                 GILBERTS           IL    60136‐4044
JULIE ANDERSON                                  15390 BISHOP RD                                                                               BOWLING GREEN      OH    43402‐9419
JULIE ANN & DAVID HARDAKER JT TEN               1 DANSER DR                                                                                   CRANBURY           NJ    08512
JULIE ANN BECK                                  453 COUNTRY CLUB DR                  UNIT 204                                                 SIMI VALLEY        CA    93065‐8389
JULIE ANN BLACKER CUST RACHEL DARA BLACKER UTMA 804 WEST RIDGE MEWS                                                                           WOOD RIDGE         NJ    07075‐1354
NJ
JULIE ANN CAVE                                  10418 SHESUE ST                                                                               GREAT FALLS        VA    22066
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 446 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

JULIE ANN FISKE                                   8 WYOMING RD                                                                                  NEWTONVILLE     MA    02460‐1235
JULIE ANN FRASER TR UA 06/23/09 2009 JULIE ANN    2 PICKNEY CLOSE                                                                               LAGUNA NIGUEL   CA    92677
FRASER REVOCABLE TRUST
JULIE ANN HASEL                                   5327 STATE ROAD 150                  APT 150                                                  LARSEN          WI    54947‐9773
JULIE ANN HEIST TOD KRISTIN A HUGHES SUBJECT TO   3963 TIMBERBROOK LN                                                                           MARIETTA        GA    30066
STA TOD RULES
JULIE ANN JACKSON                                 908 RED OAK LANE                                                                              PENDLETON       IN    46064‐9379
JULIE ANN JOHNSON                                 3841 EUREKA DR                                                                                STUDIO CITY     CA    91604‐3107
JULIE ANN KENNEDY                                 ATTN HILE                            1950 OAK AVE                                             BOULDER         CO    80304‐1319
JULIE ANN KIMBALL                                 1050 ARROWHEAD DR                                                                             BURTON          MI    48509‐1420
JULIE ANN MCCRACKEN                               C/O JULIE MCCRACKEN STEPHENSON       8008 OAKHAVEN PL                                         INDIANAPOLIS    IN    46256‐2197
JULIE ANN MCGREGOR                                318 WASSONA CIRCLE                                                                            MARION          VA    24354‐4438
JULIE ANN MOLINE                                  275 REXLEIGH RD                                                                               SALEM           NY    12865‐3441
JULIE ANN PHILLIPS                                556 ALTON DR                                                                                  GREENWOOD       IN    46143‐8434
JULIE ANN STRAKA                                  10214 BOULDER PASS                                                                            DAVISBURG       MI    48350‐2055
JULIE ANN STUECK                                  1002 ROYAL OAKS DR #C                                                                         MONROVIA        CA    91016‐3737
JULIE ANN VUKOVIC                                 10214 BOULDER PASS                                                                            DAVISBURG       MI    48350‐2055
JULIE ANN WEIGELE U/GDNSHP OF JOHN B WEIGELE SR   2718 JACK RD                                                                                  CLAYTON         NC    27520‐9438

JULIE ANN WHITE                                    100 SOUTH GRANDVIEW AVE                                                                      DUBUQUE         IA    52003‐7223
JULIE ANNE BRUSH                                   22045 CHERRYWOOD RD                                                                          TRENTON         MI    48183‐1148
JULIE ANNE BURCHARD CUST MATTHEW MCKENZIE          2116 OAKLEAF LN                                                                              LAKE VILLA      IL    60046‐7572
BURCHARD UTMA IL
JULIE ANNE KENNY & JULIA E KENNY JT TEN            1456 CALLE COLINA                                                                            THOUSAND OAKS   CA    91360‐6815
JULIE ANNE KINNE                                   ATTN JULIE ANNE BURCHARD            2116 OAKLEAF LANE                                        LAKE VILLA      IL    60046‐7572
JULIE ANNE MACCHIA JOHNSON                         635 SABLE                                                                                    RCHO STA MARG   CA    92688‐5580
JULIE ANNE RADABAUGH CUST TYLER JAMES BUSHELL 9002 WEST LISBON AVE UNIT 305                                                                     MILWAUKEE       WI    53222
UTMA WI
JULIE ANNE YUND                                    5037 BLISS RD                                                                                BALLSTON SPA    NY    12020‐2048
JULIE B BROWN                                      RR 2 21310                                                                                   NOWATA          OK    74048‐9425
JULIE B FORBES                                     614 21ST ST                                                                                  HUNTINGTN BCH   CA    92648‐3319
JULIE B LARSON                                     808 S DEXTER DR                                                                              LANSING         MI    48910‐4680
JULIE B MORGAN                                     1114 BONSER AVE                                                                              PORTSMOUTH      OH    45662
JULIE B ROSENBLATT TR JULIE B ROSENBLATT REV TRUST 2703 LANDON DR                                                                               WILMINGTON      DE    19810‐2211
UA 06/13/89
JULIE BALTZ                                        1 LINDENWOOD LN                                                                              LITTLETON       CO    80127‐2621
JULIE BAYSINGER & RANDY BAYSINGER JT TEN           14103 S SANDY POINT RD                                                                       CLINTON         IN    47842‐7549
JULIE BECKING                                      7680 DATE AV                                                                                 FONTANA         CA    92336‐1918
JULIE BETH FOX                                     29 CLIFTON PARK                                                                              MELROSE         MA    02167
JULIE BIEDECK                                      274 SENECA PARK AVE                                                                          ROCHESTER       NY    14617‐2434
JULIE BLASUCCI & MICHAEL BLASUCCI JT TEN           3 BEDROCK CT APT 3C                                                                          WOODLAND PARK   NJ    07424

JULIE BOYER GIESKE                                3452 MARYANN ST                                                                               LA CRESCENTA    CA    91214‐2536
JULIE BUCKALEW                                    6287 BROOKVIEW DR                                                                             GRAND BLANC     MI    48439‐9712
JULIE BURNASKA                                    13535 STRATHCONA ST                  APT 303                                                  SOUTHGATE       MI    48195‐1520
JULIE C DERREVERE                                 447 E 14 ST                                                                                   NEW YORK        NY    10009‐2719
JULIE C HARVEY & ROBERT E HARVEY JT TEN           7882 S 650 W                                                                                  PENDLETON       IN    46064‐9762
JULIE C KAUFMAN                                   ATTN JULIE C ABLER                   3445 E VIENNA ROAD                                       CLIO            MI    48420‐9171
JULIE C KIRKSEY                                   1213 ELBY                                                                                     IRVING          TX    75061
JULIE C PARK                                      618 S 0TH ST #4                                                                               PHILADELPHIA    PA    19147‐2028
JULIE C PETTINGILL                                107 SAVANNAH DRIVE WEST                                                                       BEAR            DE    19701‐1635
JULIE C RANKIN                                    4704 GUERRY DR                                                                                MACON           GA    31210‐4102
JULIE CAIRNS LINCOLN                              ONE SAWMILL WAY                                                                               GEORGETOWN      MA    01833‐1716
JULIE CAROLY KING                                 20 ROBERT HUNTER CRES                MOUNT ALBERT ON                        L0G 1M0 CANADA
JULIE CARR MILLER                                 13694 WEST BARRE RD                                                                           ALBIOW          NY    14411‐9524
JULIE CATHERINE PATTERSON                         120 PLANTATION PLACE LN                                                                       MOUNT AIRY      NC    27030
JULIE CHRISTINE BUDDEN                            1142 SAINT GREGORY ST                APT 3                                                    CINCINNATI      OH    45202‐1724
JULIE CHRISTINE CARMENA                           7933 MAPLE AVENUE                                                                             VANCOUVER       WA    98664‐1741
JULIE COLLINS                                     2315 E DESERT BROOM PL                                                                        CHANDLER        AZ    85286
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                      Part 4 of 8 Pg 447 of 855
Name                                               Address1                            Address2                    Address3         Address4          City            State Zip

JULIE CONWAY                                         130 WINDSOR AVE                                                                                  BARDSTOWN       KY    40004‐2515
JULIE D BELTER                                       3119 W LOUISE DR                                                                                 PHOENIX         AZ    85027‐1681
JULIE D MORGAN                                       5480 GRAND BLANC RD                                                                              SWARTZ CREEK    MI    48473‐9421
JULIE D WRIGHT                                       58 LONSDALE DRIVE                 LONDON ON                                    N6G 1T5 CANADA
JULIE DAVITT SALISBURY & JEANETTE SALISBURY SUPPLE 7 HAMPTON RD                                                                                       ELMIRA          NY    14904
JT TEN
JULIE DAVITT SALISBURY & MICHAEL DAVITT SALISBURY 120 EAST CUMBERLAND AVENUE                                                                          SEWELL          NJ    08080‐1209
JT TEN
JULIE DAVITT SALISBURY & PATRICIA SALISBURY MILLS JT 120 EAST CUMBERLAND AVE                                                                          SEWELL          NJ    08080‐1209
TEN
JULIE DIAN LAUGHLIN                                  6908 84TH ST                                                                                     LUBBOCK         TX    79424‐4743
JULIE DIANE RASMUSSEN                                123 RIVER WOODS DR W                                                                             ST PAUL PARK    MN    55071‐1566
JULIE DUNNING HOPE FORD BACKER                       1106 SUNSET ROAD                                                                                 WINNETKA        IL    60093‐3626
JULIE E ARCHER                                       35955 SCONE                                                                                      LIVONIA         MI    48154‐5263
JULIE E BUBON                                        13008 HYLAMORE CRT                                                                               HAYMARKET       VA    20169‐3268
JULIE E COLLINS                                      RR #3                             DOE LAKE ROAD               GRAVENHURST ON   P1P 1R3 CANADA
JULIE E KROSNICKI & REBECCA C KROSNICKI JT TEN       70 INWOOD LN                                                                                     BRISTOL         CT    06010‐8302

JULIE E LAEACE                                     6203 N WAYNE                                                                                       CHICAGO         IL    60660‐1912
JULIE E LOVETT                                     115 BAYARD PL                                                                                      PITTSBURGH      PA    15213‐1709
JULIE E OWEN                                       9956 WHITEWATER DRIVE                                                                              BURKE           VA    22015
JULIE E PETRICCA & JILL C PETRICCA JT TEN          23475E PRESCOTT LN E                                                                               SOUTH LYON      MI    48178‐8287
JULIE EDENBURN                                     19366 SW LAURELHURST WAY                                                                           BEND            OR    97702
JULIE F DILORENZO                                  C/O ANTHONY W DILORENZO EX          2800 SHIRLINGTON ROAD 503                                      ARLINGTON       VA    22206
JULIE FAHNING‐KUNTZ                                868 WINTERFIELD DR                                                                                 WINTERVILLE     NC    28590‐8485
JULIE FAVATA GOLICZ CUST JACQUELINE ELIZABETH      36 LIBERTY ST                                                                                      MADISON         CT    06443‐3219
GOLICZ UGMA CT
JULIE FITHIAN                                      22264 E ARBOR DR                                                                                   AURORA          CO    80016‐7012
JULIE G CONWAY                                     1270 LAKEMONT DR                                                                                   PITTSBURGH      PA    15243‐1854
JULIE G GLASS CUST MITCHELL E GLASS UTMA MD        8444 EARLY BIRD WAY                                                                                LAUREL          MD    20723‐1083
JULIE GARDNER WOODMAN                              BOX 3930                                                                                           PRESCOTT        AZ    86302‐3930
JULIE GATES                                        11009 ELMS RD                                                                                      CLIO            MI    48420‐9418
JULIE GIBSON                                       217 THOMAS PAXTON COURT                                                                            LOVELAND        OH    45140
JULIE GORCZYCA & DANIEL GORCZYCA JT TEN            16001 JEFFERSON                                                                                    GROSSE POINTE   MI    48230‐1400
                                                                                                                                                      PARK
JULIE GREER SHUKAS                                 2413 STILLING LN                                                                                   MCHENRY         IL    60050‐2712
JULIE H DEMARCO                                    1648 COTTAGE ST SE                                                                                 SALEM           OR    97302‐2913
JULIE HANNIBAL                                     2767 DRAKE CT RIVE                                                                                 GIBSONIA        PA    15044‐8375
JULIE HARPER                                       7024 S MADISON CT                                                                                  LITTLETON       CO    80122‐1854
JULIE HEISLER CUST JEFFREY JAMES HEISLER UGMA NY   1284 BORDEN RD                                                                                     DEPEW           NY    14043‐4200

JULIE J BOCK                                    14475 COVE CREEK CT                                                                                   SHELBY TWP      MI    48315‐4312
JULIE J DORNFELD                                11668 CANDY ROSE WAY                                                                                  SAN DIEGO       CA    92131‐3852
JULIE J FREI & BRUCE A FREI JT TEN              505 WADSWORTH LANE                                                                                    BLOOMFIELD      MI    48301
JULIE J NAVIS & JAMES S NAVIS SR JT TEN         3636 CHAPIN AVE                                                                                       NIAGARA FALLS   NY    14301‐2704
JULIE J PEAT                                    25 SECORD CRESCENT                     BRAMPTON ON                                  L6X 4Z3 CANADA
JULIE J WIENER CUST DANIEL WIENER UGMA MI       3202 SHADYDALE CT                                                                                     W BLOOMFIELD    MI    48323‐1847
JULIE J WIGDALE                                 9300 N UPPER RIVER RD                                                                                 MILWAUKEE       WI    53217‐1031
JULIE J WILSON                                  2010 BRANCASTER COURT                                                                                 MIDLOTHIAN      VA    23113‐4105
JULIE JEAN SNYDER CUST JACOB ROBERT SNYDER UTMA 1471 OWL CREEK RANCH ROAD                                                                             ASPEN           CO    81611‐3023
CO
JULIE JEAN SNYDER CUST JOSHUA JAMES SNYDER UTMA 1471 OWL CREEK RANCH ROAD                                                                             ASPEN           CO    81611‐5732
CO
JULIE JOHNSON                                   269 EDISON RD                                                                                         TRUMBULL        CT    06611‐4311
JULIE K BURROS                                  4615 BAIN AVE                                                                                         SANTA CRUZ      CA    95062‐4544
JULIE K BURROS CUST CHRISTINA R BURROS UGMA CA 4615 BAIN AVE                                                                                          SANTA CRUZ      CA    95062‐4544

JULIE K COZAD                                      11218 N PLATTE DR                                                                                  TUCSON          AZ    85737‐6521
JULIE K DYKSTRA                                    7241 DAVIES DR NE                                                                                  ROCKORD         MI    49341‐8550
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 448 of 855
Name                                             Address1                                Address2               Address3        Address4          City              State Zip

JULIE K FLEISCHMAN                               214 TAL SHROYER DRIVE                                                                            NEW CARLISLE      OH    45344‐1946
JULIE K LAUBENTHAL & CHARLES LAUBENTHAL JT TEN   4001 70 AVE                                                                                      SWEA CITY         IA    50590‐8591

JULIE K LYNCH                                    ATTN JULIE K DAVIS                      520 COMPTON ROAD                                         CLOVER            SC    29710‐8557
JULIE K PULLEN CUST SEAN T BURNHAM UGMA NE       2401 S 183RD CIRCLE                                                                              OMAHA             NE    68130‐2788

JULIE K SANFORD                                  4485 LONGPOINT RD                                                                                GENESEO           NY    14454
JULIE K SUGIMOTO                                 4775 MOUNT ABBOTT ST                                                                             RIVERSIDE         CA    92509‐5437
JULIE K TUCCI CUST BRIAN C TUCCI UTMA OH         20621 ERIE ROAD                                                                                  ROCKY RIVER       OH    44116‐1416
JULIE K WATERHOUSE                               1191 CALVERT RD                                                                                  NORTH EAST        MD    21901‐1009
JULIE K WAY                                      2561 E HALCYON DR                                                                                TUCSON            AZ    85716‐1114
JULIE KATHLEEN GERHARDT                          3076 BELL RD                                                                                     NEWBURGH          IN    47630‐9369
JULIE KAY GEYER                                  2854 CHASE WAY CT                                                                                ANN ARBOR         MI    48105‐9444
JULIE KIRK HEMPHILL                              PO BOX 544                                                                                       SAUTEE            GA    30571‐0544
                                                                                                                                                  NACOOCHEE
JULIE KOCH                                       571 OLD HORSESHOE PIKE                                                                           DOWNINGTOWN       PA    19335
JULIE KURTZ                                      1332 SUPERIOR ST                                                                                 BELLE FONTAINE    OH    43311‐2542
JULIE L ALEXANDER                                ATTN JULIE L BOVA                       10 RIVER GLEN CIR                                        LITTLE ROCK       AR    72202‐1424
JULIE L ATKINSON                                 410 E KERRY LANE                                                                                 PHOENIX           AZ    85024‐2270
JULIE L BOCK                                     37 MAIN ST                                                                                       DOBBS FERRY       NY    10522‐2105
JULIE L BROOKS                                   26520 DUNDEE                                                                                     HUNTINGTON        MI    48070‐1321
                                                                                                                                                  WOODS
JULIE L CANTOR                                   545 WEST 111TH ST                       10B                                                      NEW YORK          NY    10025‐1970
JULIE L CLIFT                                    3607 WILDFLOWER LN                                                                               JANESVILLE        WI    53548‐8579
JULIE L COHEN & MICHELLE L GASSMAN JT TEN        13366 HESTON PL                                                                                  SAN DIEGO         CA    92130‐1229
JULIE L GIEFER                                   19221 BELSHAW                                                                                    CARSON            CA    90746‐2005
JULIE L HANSON                                   225 STORMY RIDGE PL                                                                              FORT WAYNE        IN    46804‐6432
JULIE L JOHNSON                                  1156 WHITNEY DR                                                                                  YUBA CITY         CA    95991‐1242
JULIE L JORGENSEN                                1797 NORMANDY LN                                                                                 TROY              OH    45373‐9591
JULIE L KATTAN                                   36 SAXON WAY                                                                                     NEW ROCHELLE      NY    10804‐2006
JULIE L KATTAN CUST AMY J KATTAN UTMA NY         36 SAXXON WAY                                                                                    NEW ROCHELLE      NY    10804‐2006
JULIE L MASSEY                                   1374 SOUTH MILLEDGE AVE                                                                          ATHEN             GA    30605‐1448
JULIE L PETTUS                                   14161 NORTHEND AVE                                                                               OAK PARK          MI    48237‐2668
JULIE L RAY                                      3975 COMANCHE COURT                                                                              GRANDVILLE        MI    49418‐1835
JULIE L SCOTT CUST DANIEL P SCOTT UTMA CA        1595 VALLEY FORGE CT                                                                             BROOKFIELD        WI    53045‐5306
JULIE L TEACHOUT‐COLLINS TOD STEVEN M COLLINS    7256 TORREY RD                                                                                   SWARTZ CREEK      MI    48473

JULIE L TUTTLE                                   46905 FAIRMOUNT RD                                                                               HUNTING VALLEY    OH    44022‐4045
JULIE L WAGNER                                   820 HANOVER RD                                                                                   GETTYSBURG        PA    17325
JULIE LABEAN                                     3044 LAKE SHORE                                                                                  GLADWIN           MI    48624‐7814
JULIE LANDRUM                                    10562 MEADOW GLEN WAY E                                                                          ESCONDIDO         CA    92026‐6921
JULIE LASH                                       ATTN JULIE LASH SWANSON                 2832 SHARON CT                                           WEST DES MOINES   IA    50266‐2144

JULIE LYNN AFFOLDER CUST TODD LESTER AFFOLDER    10259 EAST EMILY PLACE                                                                           TUSCON            AZ    85730‐3134
UTMA OH
JULIE LYNN TAYLOR & JOHN MILLARD TAYLOR JT TEN   9 MULBERRY LN                                                                                    TRABUCO CANYON    CA    92679‐1402

JULIE M BELCOURT                               1 JOSHUA LANE                                                                                      CLINTON           CT    06413‐2408
JULIE M DISON                                  2670 RIDGE RD                                                                                      SAN PABLO         CA    94806‐3236
JULIE M DISON & ROY H DISON JT TEN             2670 RIDGE RD                                                                                      SAN PABLO         CA    94806‐3236
JULIE M FUECHEC CUST MASON JOSEPH FUECHEC UTMA 1206 MEADOW CREEK                                                                                  EL CAMPO          TX    77437‐2838
TX
JULIE M GEARY                                  70 BERKSHIRE RD                                                                                    NEWTONVILLE       MA    02460‐2404
JULIE M GETMAN                                 63B SEQUOIA DR                                                                                     SYRACUSE          NY    13215
JULIE M GOULD                                  4550 PARK MARBELLA                                                                                 CALABASAS         CA    91302‐2534
JULIE M HACKER                                 16583 AVON                                                                                         DETROIT           MI    48219‐4118
JULIE M HATTON                                 C/O CRUZE                                 1784 SILVERADO DRIVE                                     BELLBROOK         OH    45305‐1571
JULIE M KOSHEWITZ & RONALD W KOSHEWITZ JT TEN  5740 SUNNYCREST DR                                                                                 WEST BLOOMFIELD   MI    48323‐3869
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 449 of 855
Name                                                Address1                              Address2             Address3          Address4          City              State Zip

JULIE M MCQUINN                                     4316 DEEANN CT                                                                                 KOKOMO            IN    46902
JULIE M MEYER                                       10307 SEVERN RD                                                                                SAN ANTONIO       TX    78217‐3944
JULIE M PLUNK TOD LESLIE J MARINKO SUBJECT TO STA   142 OLD BELLS RD                                                                               JACKSON           TN    38305
TOD RULES
JULIE M SALMON                                      5208 QUICKSAND DRIVE                                                                           MIDLAND           TX    79707
JULIE M SPARKS                                      4477 WOODCLIFF CT                                                                              OAKLAND TWP       MI    48306‐4718
JULIE M STRAETER & WILLIAM P STRAETER III JT TEN    13704 GRANADA DR                                                                               LEAWOOD           KS    66224‐3000

JULIE M WILSON                                      3560 W BIG BEAVER                                                                              TROY              MI    48084‐2640
JULIE MALEK                                         2215 DAHLIA ST                                                                                 DENVER            CO    80207‐3752
JULIE MARIE MCNIEL                                  3907 NEVADA AVE                                                                                NASHVILLE         TN    37209‐3726
JULIE MAUZ                                          3005 ISLAND DR SE                                                                              BOLIVIA           NC    28422‐7733
JULIE MCDONALD CUST JOEY MCDONALD UTMA AZ           3191 COOPER                                                                                    FLAGSTAFF         AZ    86001‐1003

JULIE MECKLIN JOHNSON                               R F D #1                              27 DIANDY ROAD                                           SAGAMORE BEACH    MA    02562‐2426

JULIE MILLS TAYNE                                   28534 VIVA REGGIO                                                                              LAGUINA NEGUEL    CA    92656
JULIE MITCHEL & JENNIFER HEALEY JT TEN              544 LANTERN GLOW CT                                                                            LEBANON           OH    45036‐2376
JULIE MONDRO                                        16633 LYONHURST CIR                                                                            NORTHVILLE        MI    48168‐4420
JULIE MORRIS GOODWIN                                RR# 6 BOX 630                                                                                  CENTER TEXAS      TX    75935‐9327
JULIE MULLER                                        20305 NE 38TH                                                                                  REDMOND           WA    98053
JULIE N BOLING                                      236 NAGEL DR                                                                                   STUTTGART         AR    72160‐2945
JULIE NIENDORF                                      65846 E DESERT MOON DR                                                                         TUCSON            AZ    85739
JULIE NORTHWAY & WILAINE NORTHWAY JT TEN            60 N SURRY CIRCLE                                                                              PINEHURST         NC    28374‐8421
JULIE NORTHWAY & WILAINE V NORTHWAY JT TEN          60 N SURRY CIRCLE                                                                              PINEHURST         NC    28374‐8421

JULIE OLDANI WOLSKI                                 1608 GRAEFIELD                                                                                 BIRMINGHAM        MI    48009‐7541
JULIE OVERLY CUST JARROD MICAH ACKERMAN UTMA        111 TIMBER RIDGE CT                   APT F24                                                  NEW STANTON       PA    15672‐9788
PA
JULIE P EDWARDS                                     2863 WILDEMERE DR                                                                              MILFORD           MI    48380‐3571
JULIE PATERNO                                       3657 N LEAVITT AVE                                                                             CHICAGO           IL    60618‐4821
JULIE PERLMUTTER                                    151 TWILIGHT CT                                                                                TOMS RIVER        NJ    08753‐1888
JULIE PRISK PEACOCK                                 ATTN H SAFFORD PEACOCK                21 WYNGATE                                               SIMSBURY          CT    06070‐1020
JULIE R BLACKHURST                                  886 JOSHUA CT                                                                                  BROOKINGS         OR    97415‐9394
JULIE R HARRIS                                      2111‐8TH ST                                                                                    BERKLEY           CA    94710‐2319
JULIE R OROSZ                                       168 MARTIN ROAD                                                                                MASSENA           NY    13662‐3115
JULIE R THRUSH                                      9707 CRAUN RD                                                                                  DEWITT            MI    48820‐9123
JULIE ROBERTS FURGERSON                             13704 NORTH GATE DR                                                                            SILVER SPRING     MD    20906‐2212
JULIE ROTT CUST JOSHUA MICHAEL ROTT UTMA MI         3170 PARKLAND DR                                                                               WEST BLOOMFIELD   MI    48322‐1823

JULIE S BROUILLARD                                  9245 TAN BAY                                                                                   COMMERCE TWP      MI    48382
JULIE SAMKOFF CUST EVE HOPE GAVURIN UGMA NY         9 SEALY DR                                                                                     LAWRENCE          NY    11559‐2418

JULIE SCHWARTZ CUST JESSE SCHWARTZ UTMA MA          214 MONROE ST                                                                                  DENVER            CO    80206‐5506

JULIE STAHL CUST MICHAEL C STAHL UTMA MO            2019 MACKLIND AVE                                                                              ST LOUIS          MO    63110‐2727
JULIE STEFKO                                        1687 PAREE ST                                                                                  NEWPORT           MI    48166‐9256
JULIE STEFONKI CUST BROOKE STEFONKI UTMA WI         7995 COUNTY RD D                                                                               EAGLE RIVER       WI    54521‐9294

JULIE STINSON                                       14 SHIPMASTER DR                                                                               BRIGANTINE        NJ    08203‐1332
JULIE SUE COHN                                      ATTN JULIE COHN KWELLER               38 WYNNGATE LN                                           WILLIAMSVILLE     NY    14221‐1840
JULIE T BEAMER                                      PO BOX 9022                                                                                    WARREN            MI    48090‐9022
JULIE U BUECHLER                                    NOTRE DAME DU BOIS                    755 LOGAN ST                                             JASPER            IN    47546‐9046
JULIE U BUECHLER & THOMAS G BUECHLER JT TEN         NOTRE DAME DU BOIS                    755 LOGAN ST                                             JASPER            IN    47546‐9046

JULIE V DENNIS                                      3746 W DIVISION RD                                                                             PERU              IN    46970‐8049
JULIE V FRYER                                       5288 WINDFLOWER CT                                                                             HILLIARD          OH    43026‐9404
JULIE W BISHOP TR UA 10/01/76 ELIZABETH BISHOP      1732 MERRICK COURT                                                                             FORT WORTH        TX    76107‐3244
TRUST
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 450 of 855
Name                                                Address1                              Address2              Address3         Address4          City               State Zip

JULIE WEYAND                                        412 LONE PINE CT                                                                               BLOOMFIELD HILLS   MI    48013

JULIE WILSON                                        9124 GOOSE LAKE WAY                   UNIT 103                                                 LAS VEGAS          NV    89149‐3184
JULIE WINE                                          3219 FEMOYER AVE                      UNIT A                                                   ELMENDORF AFB      AK    99506
JULIE WITKOWSKI                                     1532 SE MARIANA                                                                                PORT ST LUCIE      FL    34952‐7139
JULIE WOODWARD                                      1436 SW 115TH STREET                                                                           GAINESVILLE        FL    32607
JULIE WRIGHT & CHRISTINE WRIGHT JT TEN              20 HARBOR VIEW AVE                                                                             FAIRHAVEN          MA    02719‐3504
JULIE YU & MARGARET YUAN JT TEN                     2397 TAYLOR DR                                                                                 WEST LINN          OR    97068‐4161
JULIEANN C VINSON                                   1650 CASON LN                         APT 1112                                                 MURFREESBORO       TN    37128‐8402
JULIEANN C WILSON CUST JILLIAN POMPEI WILSON        9 NICHOLS ST                                                                                   REHOBOTH           MA    02769‐2241
UTMA MA
JULIEANN M MORRIS                                   23 VERMONT                                                                                     YOUNGSTOWN         OH    44512‐1122
JULIEN BINEAU                                       46 RUE ARMAND SILVESTRE               92400 COURBEVOIE                       FRANCE
JULIEN PIESECKI                                     248 CHARTERHOUSE DR                                                                            CANTON             MI    48188‐1522
JULIET A HILLHOUSE TR UA 04/01/86 M‐B JULIET A      C/O JULIET A POLIZZI                  15976 WINDSOR DR                                         SAN LEANDRO        CA    94578‐1416
HILLHOUSE
JULIET A LANDANO                                    15976 WINDSOR DR                      C/O A POLIZZI                                            SAN LEANDRO        CA    94578‐1416
JULIET BELL                                         631 INGERSOLL PLACE                                                                            SO BELOIT          IL    61080‐1334
JULIET BURNETT TR UA 07/20/94 THE BURNETT           220 SANFORD ST                                                                                 ENCINITAS          CA    92024‐1505
REVOCABLE LIVING TRUST
JULIET ELLISON ERICKSON                             361 TAVISTOCK DR                                                                               MEDFORD            NJ    08055‐9260
JULIET FAULKNER                                     1840 HUNTINGDON RD                                                                             HUNTINGDON         PA    19006‐4403
                                                                                                                                                   VALLEY
JULIET FRENCH                                       13901 ASBURY PARK                                                                              DETROIT            MI    48227‐1364
JULIET FRENCH & MELVIN LLOYD FRENCH SR JT TEN       16420 SCHOOLCRAFT                                                                              DETROIT            MI    48227‐1320

JULIET H WINTERS                                    1521 OXFORD DRIVE                                                                              ANCHORAGE          AK    99503‐6945
JULIET K WALTMAN & ROBERT D WALTMAN JT TEN          1 ALICE CIRCLE                                                                                 SELINGSGROVE       PA    17870‐1618

JULIET L GARDNER                                    PO BOX 8126                                                                                    MANCHESTER         CT    06040‐0126
JULIET LEE BATTLE CUST CARISSA LEE BATTLE UTMA WI   5722 WEST BROOKLYN PLACE                                                                       MILWAUKEE          WI    53216‐3141

JULIET S SAMRICK                                    1820 N SOLANO AVE                                                                              ONTARIO            CA    91764‐1658
JULIET W ROACH                                      5464 RIDGELEA ESTATES DR                                                                       ROANOKE            VA    24018‐8068
JULIET WASHINGTON                                   PO BOX 12724                                                                                   KANSAS CITY        KS    66112
JULIETA DIAZ                                        9255 ANDERSONVILLE RD                                                                          CLARKSTON          MI    48346‐1809
JULIETA ROMERO                                      4249 33RD AVE W                                                                                SEATTLE            WA    98199‐1307
JULIETTA H KENNEDY                                  APT 101                               2364 N LIMESTONE ST                                      SPRINGFIELD        OH    45503‐1151
JULIETTA VAN VLECK & SALLY A BLANKENBURG JT TEN     243 BONNIE BROOK                                                                               CHARLOTTE          MI    48813‐1334

JULIETTE BACHNER                                 1395 RUGBY RD                                                                                     TEANECK            NJ    07666‐2855
JULIETTE C WATSON TR JULIETTE C WATSON FAM TRUST BOX 3706                                                                                          SAN LUIS OBISPO    CA    93403‐3706
UA 03/28/88
JULIETTE D CAVALIER                              PO BOX 91978                                                                                      TUCSON             AZ    85752‐1978
JULIETTE DESROCHERS                              280 4TH AVE                                                                                       LOWELL             MA    01854‐2443
JULIETTE F VIZZA                                 1211 KLARVATTEN COURT                    EDMONTON AB                            T5Z 3N4 CANADA
JULIETTE L CASEY                                 6514 SOUTHAMPTON                                                                                  CLARKSON           MI    48346‐4741
JULIETTE M JACKMAN CUST EDITH F JACKMAN U/THE    1016 TALBOT AVE                                                                                   LAKE BLUFF         IL    60044‐1564
ILLINOISU‐G‐M‐A
JULIETTE MILDRED TAYLOR                          C/O TAYLOR ADVERTISING                   PO BOX 902                                               OTTUMWA            IA    52501‐0902
JULIETTE MONTAGUE STEADMAN                       3341 18TH ST NW                                                                                   WASHINGTON         DC    20010‐1003
JULIETTE MONTGOMERY & RICHARD MONTGOMERY JT 19612 WICKFIELD AVE                                                                                    WARRENSVILLE       OH    44122‐6543
TEN                                                                                                                                                HEIGH
JULIETTE RANKIN                                  11690 AUBURN                                                                                      DETROIT            MI    48228‐1078
JULIETTE THOMAS                                  11690 AUBURN                                                                                      DETROIT            MI    48228‐1078
JULIN N MALOOF                                   544 REED DR                                                                                       DAVIS              CA    95616‐1807
JULINE E GROENING                                10131 SAGEGREEN DR                                                                                HOUSTON            TX    77089‐5128
JULIO AJON                                       1789 NE 36TH ST                                                                                   OAKLAND PARK       FL    33334‐5351
JULIO BATEAU                                     3241 CAMBRIDGE                                                                                    DETROIT            MI    48221‐1828
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 451 of 855
Name                                                Address1                               Address2             Address3          Address4            City              State Zip

JULIO BOBADILLA                                     553 ADAMS AVE                                                                                     ELIZABETH         NJ    07201‐1518
JULIO C BARRERA                                     20853 ISHERWODD TERRACE #204                                                                      ASHBURN IA        VA    20147‐7795
JULIO C BEZERRA                                     8 1/2 SPRUCE AVE                                                                                  WILMINGTON        DE    19804‐2340
JULIO C MOREIRA                                     118 GENESEE ST                                                                                    ROCHESTER         NY    14611‐3402
JULIO C PEREYRA                                     2331 N 70TH AVE                                                                                   HOLLYWOOD         FL    33024‐3705
JULIO DEJESUS LUNA JR                               301 NORTHWEST 93 AVE                                                                              PEMBROKE PNES     FL    33024
JULIO DURONIO CUST PATRICK JOHN DURONIO UGMA        1477 ROCHINGHAM DR                                                                                ROCHESTER HILLS   MI    48309‐2257
MI
JULIO E CRESPO                                      5511 SW 89TH AVE                                                                                  MIAMI             FL    33165‐6753
JULIO ESTEVEZ‐BRETON ANGAR                          CARRERA 14 127B‐23                     APT601               BOGOTA COLUMBIA   COLOMBIA
JULIO F OCHOA & BETTY JANE OCHOA JT TEN             6796 COLONY DR SO                                                                                 ST PETERSBURG   FL      33705‐5905
JULIO G ROMERO                                      15 ROSEVELT AVE                                                                                   LAURENCE HARBOR NJ      08879‐2843

JULIO GOMEZ CUST CHRISTIAN GOMEZ UTMA FL            2438 FOGARTY AVE                                                                                  KEY WEST          FL    33040‐3812
JULIO GONZALEZ                                      29 ONICE VILLA BLANCA                  CAGUAS                                 PUERTO RICO
JULIO JORGE                                         2301 PALM RD                                                                                      WEST PALM BEACH FL      33406‐8749

JULIO LAMELA & MARLENE LAMELA JT TEN                1259 LITTLETON RD                                                                                 MORRIS PLAINS     NJ    07950‐3151
JULIO LARNIA                                        12 ORANGE TREE CIR                                                                                ROCHESTER         NY    14624‐3345
JULIO M GONCALVES                                   11 WELLINGTON AVE                                                                                 FRAMINGHAM        MA    01702‐8758
JULIO MARTIN                                        773 SILVERCREEK CT NW                                                                             LILBURN           GA    30047
JULIO PORRAS                                        715 IRVING PARK                                                                                   SAGINAW           MI    48601‐6220
JULIO R FARFAN                                      7500 DOVER LN                                                                                     CLEVELAND         OH    44130‐7666
JULIO R ROJAS                                       515 CHILTON ST                                                                                    ELIZABETH         NJ    07208‐1609
JULIO TREVINO                                       720 ALBERTA AVE                                                                                   AUBURN HILLS      MI    48326‐1116
JULIO VEGA                                          PO BOX #123                            SALINAS                                00751 PUERTO RICO                           ‐0123
JULIO YIP                                           3920 BRONX BLVD                                                                                   BRONX             NY    10466‐3535
JULIOUS SHAW                                        PO BOX 214                                                                                        DARIEN            GA    31305‐0214
JULITA L TANGALAN                                   7009 44TH AVE S                                                                                   SEATTLE           WA    98118‐3879
JULIUS A BRYANT                                     503 CLAIRBROOK AVE                                                                                COLUMBUS          OH    43228‐2547
JULIUS A FODO                                       358 BOWKER                                                                                        MUNGER            MI    48747‐9727
JULIUS A HERRERO & CLARA R HERRERO JT TEN           401 BAYOU OAKS DR                                                                                 SARALAND          AL    36571‐2144
JULIUS A LOCKLEAR                                   2400 ST ANNA RD                                                                                   PEMBROKE          NC    28372‐8422
JULIUS A MCKANDERS                                  18453 HOOVER ST                                                                                   DETROIT           MI    48205‐2613
JULIUS A MEDINA                                     2216 STUNESTHROW DR                                                                               LAPEER            MI    48446‐9026
JULIUS A SCHAFER                                    11174 WALKER RD                                                                                   FOWLER            MI    48835‐9711
JULIUS A SPENCE                                     1527 EAST BROW ROAD                                                                               SIGNAL MOUNTAIN   TN    37377‐3264

JULIUS A WELCH                                      12248 GRIGGS                                                                                      DETROIT           MI    48204‐1026
JULIUS B BERTONCIN JR & PATRICIA ANN BERTONCIN JT   711 N 16TH ST                                                                                     BLUE SPRINGS      MO    64015‐2922
TEN
JULIUS B COLEMAN                                    14884 SORRENTO                                                                                    DETROIT           MI    48227‐3602
JULIUS B GEMBARSKI                                  31341 BEECHWOOD                                                                                   WARREN            MI    48093‐2081
JULIUS B KAMHI                                      11196 MANDALAY WAY                                                                                BOYNTON BEACH     FL    33437
JULIUS B KAMHI TR ALAN GARTH KAMHI A MINOR          3690 UNIVERSITY ST                                                                                EUGENE            OR    97405‐4346
U/DEC OF TRUST 6/5/61
JULIUS B LEVINE 765 COMMONWEALTH AVE B U LAW        SCHOOL                                                                                            BOSTON            MA    02215‐1401

JULIUS B MYERS                                      18FAY STREET                                                                                      WEST HAVEN        CT    06516‐2511
JULIUS B OSTEEN                                     16844 ROCKDALE                                                                                    DETROIT           MI    48219‐3866
JULIUS B ROMINE JR & AGNES E ROMINE JT TEN          15526 STATE ROUT B                                                                                ST JAMES          MO    65559
JULIUS BOLEYN                                       170 W ELZA                                                                                        HAZEL PARK        MI    48030‐2287
JULIUS BROWNER                                      816 NE 23RD DR                                                                                    WILTON MANORS     FL    33305‐1230
JULIUS C BAGWELL                                    5899 HWY 25 S                                                                                     LOUISVILLE        MS    39339‐9680
JULIUS C BOSLEY                                     9930 MARSHALL RD                                                                                  BIRCH RUN         MI    48415
JULIUS C BURNHAM                                    PO BOX 9128                                                                                       LIBERTY           TX    77575‐2828
JULIUS C DAY                                        14722 MEDUSA                                                                                      SELMA             TX    78154
JULIUS C GOMEZ                                      6836 CASTLE PEAK DR                                                                               WEST HILLS        CA    91307‐3802
JULIUS C KWASNIAK                                   5371 FERN AVE                                                                                     GRAND BLANC       MI    48439‐4321
                                                 09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 452 of 855
Name                                                 Address1                              Address2             Address3          Address4          City            State Zip

JULIUS C ORLANDI JR                                  1713 CHELMSFORD ROAD                                                                           MAYFIELD HEIGHTS OH   44124‐3302

JULIUS C PASSARELLI                                  9220 WEST OFFNER RD                                                                            PEOTONE         IL    60468‐9763
JULIUS C SAMPLE                                      8200 PINES RD                         APT 1003                                                 SHREVEPORT      LA    71129‐4423
JULIUS CHARNOCK & SYBIL A CHARNOCK JT TEN            185 BLVD                                                                                       MIDDLETOWN      RI    02842‐5407
JULIUS COACCIOLI                                     2 WALL STREET                                                                                  METUCHEN        NJ    08840‐2835
JULIUS D SOLOMON                                     1751 DUNVEGAN DR                      HALIFAX NS                             B3H 4G2 CANADA
JULIUS E BIHARY                                      219 N HAMBDEN STREET                                                                           CHARDON         OH    44024‐1123
JULIUS E BOYD                                        4929 11TH AVENUE                                                                               LOS ANGELES     CA    90043‐4847
JULIUS E CHAMBERS                                    PO BOX 36269                                                                                   CINCINNATI      OH    45236‐0269
JULIUS E GEORGE                                      213 NORTH PARK STREET                                                                          EAST ORANGE     NJ    07017‐1817
JULIUS E HUDSON                                      12274 W LAKESHORE DR                                                                           BRIMLEY         MI    49715‐9320
JULIUS E LOGAN                                       892 ROUTE 9                                                                                    SOUTH AMBOY     NJ    08879
JULIUS E PEKRUL                                      4406 DELL RD                                                                                   LANSING         MI    48911‐6109
JULIUS E WYNN                                        15611 WALDEN AVE                                                                               CLEVELAND       OH    44128‐1246
JULIUS EVANS                                         C/O JUDY BUCHANAN                     1007 HENRY STREET                                        BELLE VERNON    PA    15012‐1615
JULIUS F EPPES                                       3359 WEST GEORGIE RD                  #15                  PO BOX 284                          PIEDMONT        SC    29673‐0284
JULIUS F MARCIE & ROSEMARY C MARCIE JT TEN           401 BOUNTY WAY #185                                                                            AVON LAKE       OH    44012‐2478
JULIUS F SCHOTT                                      1325 DORSEY AVE                                                                                BALTIMORE       MD    21221‐3608
JULIUS F SCHOTT & DORIS JOAN SCHOTT JT TEN           1325 DORSEY AVE                                                                                BALTIMORE       MD    21221‐3608
JULIUS FARFAN                                        4200 WESTBROOK DR APT 209                                                                      BROOKLYN        OH    44144‐1200
JULIUS G TROTH                                       10406 DEWBERRY                                                                                 PORTAGE         MI    49024‐6701
JULIUS H ALMOND                                      1616 JORDAN                                                                                    AMARILLO        TX    79106‐2320
JULIUS H GOOD                                        1179 MARKSVILLE ROAD                                                                           STANLEY         VA    22851‐4406
JULIUS H KOVARY                                      418 GAYLORD                                                                                    NEW HUDSON      MI    48165‐9782
JULIUS H LEITZ                                       5650 NE COLUMBIA BLVD                                                                          PORTLAND        OR    97218‐1238
JULIUS H WILSON                                      1725 20TH AVE                                                                                  MERIDIAN        MS    39301‐3216
JULIUS HEIDT                                         PO BOX 592                                                                                     TAWAS CITY      MI    48764‐0592
JULIUS J BASCHAROW                                   6100 CIRCLE WOOD LN                                                                            KNOXVILLE       TN    37920‐5903
JULIUS J BENGEL                                      PO BOX 463                                                                                     WESTPHALIA      MI    48894‐0463
JULIUS J CHIARILLO & PAULA CHIARILLO JT TEN          1116 LAKE TER APT G 210                                                                        BOYNTON BEACH   FL    33426‐4275
JULIUS J ESTRADA                                     7223 E TYLER RD                                                                                BRECKENRIDGE    MI    48615‐9514
JULIUS J GROSS                                       11 VIEWPOINT LANE                                                                              LEVITTOWN       PA    19054‐1303
JULIUS J ISKI                                        5 LAUREL AVE                                                                                   BORDENTOWN      NJ    08505
JULIUS J KISER TR JULIUS J KISER TRUST UA 12/23/96   17337 SE 85TH WILLOWICK CIRCLE                                                                 THE VILLAGES    FL    32162‐2825

JULIUS J KREMSKI & CLARA KREMSKI JT TEN              89 KENWOOD DR                                                                                  NEW BRITAIN     CT    06052‐1807
JULIUS J RIM                                         45429 TOURNAMENT DR                                                                            NORTHVILLE      MI    48168‐8476
JULIUS J RIM & ELENA W RIM JT TEN                    45429 TOURNAMENT DR                                                                            NORTHVILLE      MI    48168‐8476
JULIUS J SCHAPEL JR                                  508 29TH STREET                                                                                NIAGARA FALLS   NY    14301‐2534
JULIUS J SNYDER                                      300 N RIDGE RD                        APT 62                                                   RICHMOND        VA    23229‐7451
JULIUS JAY HOLLIS                                    PO BOX 146                                                                                     IDLEWILD        MI    49642‐0146
JULIUS JOHN PAWLICHA & FRANK N PAWLICHA JT TEN       1737 EAST MILTON                                                                               HAZEL PARK      MI    48030‐2323

JULIUS JONES JR                                      1243 ROYALLE PLACE                                                                             MANTICA         CA    95337‐6725
JULIUS KAHN                                          ATTN LOTHAR L KAHN                    22 CERRETA LANE                                          SCARSDALE       NY    10583‐6504
JULIUS L CATEN                                       310 MURRAY LN                                                                                  RICHARDSON      TX    75080‐5939
JULIUS L EHRHARD & ANNA T EHRHARD JT TEN             303 JOSEPH DR                                                                                  LAKEWOOD        NJ    08701‐7308
JULIUS L ROLLS                                       57 CURTIS RD                                                                                   FRAMINGHAM      MA    01702‐7408
JULIUS L ROLLS JR                                    84 BELLINGHAM RD                                                                               BLACKSTONE      MA    01504‐1368
JULIUS LEVINE & MRS ANN LEVINE JT TEN                205 NORTHSHORE                                                                                 TINTON FALLS    NJ    07753‐7731
JULIUS LIPSCHUTZ & BESSIE LIPSCHUTZ JT TEN           4545 W TOUHY AVE                      APT 222                                                  LINCOLNWOOD     IL    60712
JULIUS M BOARDEN                                     3147 MYSYLVIA STREET                                                                           SAGINAW         MI    48601‐6930
JULIUS MATTHIS                                       735 BARRATTS CHAPEL RD                                                                         FELTON          DE    19943‐5541
JULIUS MAZUREK & MRS BEATRICE MAZUREK JT TEN         1464 47TH ST                                                                                   BROOKLYN        NY    11219‐2634

JULIUS MC FARLIN                                     9420 WEST 49TH TERRACE                                                                         MERRIAM         KS    66203‐1750
JULIUS NAGY & MRS JENNIE NAGY JT TEN                 1833 LAKE AVE                                                                                  SCOTCH PLAINS   NJ    07076‐2919
JULIUS NAGY JR                                       2103 ALA STREET                                                                                BURTON          MI    48519‐1203
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                         Part 4 of 8 Pg 453 of 855
Name                                               Address1                               Address2               Address3                Address4          City              State Zip

JULIUS O MOELLER & ANN M MOELLER JT TEN            C/O ALI MOELLER                        1515 CRESTVIEW DR                                                LINCOLN           NE    68506‐1431
JULIUS P SALVATORE                                 18 GREAT POND RD                                                                                        SIMSBURY          CT    06070‐1903
JULIUS PETER FEHER                                 275 LA QUINTE CT                                                                                        WALNUT CREEK      CA    94598‐3649
JULIUS PETRAN TR JULIUS PETRAN REV TRUST UA        909 WAPELLA AVE                                                                                         MT PROSPECT       IL    60056
6/15/99
JULIUS R DINGESS                                   2927 JOSEPH PKWY                                                                                        BRUNSWICK         OH    44212‐1438
JULIUS R KELLEY                                    402 E SCOTT ST                                                                                          YOUNGSTOWN        OH    44505‐2961
JULIUS S EUNICE                                    PO BOX 141                                                                                              LAWTEY            FL    32058‐0141
JULIUS S ROSE                                      2711 HARGROVE DR                                                                                        OCEAN SPRINGS     MS    39564‐5410
JULIUS SAMEL                                       220‐25 73RD AVE                                                                                         BAYSIDE           NY    11364‐2603
JULIUS SIMPSON                                     813 W HAMILTON                                                                                          FLINT             MI    48504‐7251
JULIUS SMITH                                       193 HIGHWAY 583 N                                                                                       TYLERTOWN         MS    39667‐6662
JULIUS STERNBERG & SUSANNE STERNBERG JT TEN        HAUS BIRKE 1/2                         BURKARDUSSTRASSE 9     D 97688 BAD KISSINGEN   GERMANY

JULIUS STEVE MATE                                  BOX 407                                                                                                 VERNON          MI      48476‐0407
JULIUS T JORDAN                                    6052 MONTICELLO RD                                                                                      WESSON          MS      39191‐6095
JULIUS T POLK JR                                   147 WILLARD ST                                                                                          PONTIAC         MI      48342‐3075
JULIUS THOMPSON                                    19330 OMIRA                                                                                             DETROIT         MI      48203‐1607
JULIUS TRAVIS                                      28555 PIERCE ST                                                                                         SOUTHFIELD      MI      48076‐7315
JULIUS VARGA JR                                    74136 E PETUNIA PLACE                                                                                   PALM DESERT     CA      92211‐2079
JULIUS W BARNES                                    15000 PINEHURST                                                                                         DETROIT         MI      48238‐1628
JULIUS W HEGELER                                   1716 N LOGAN AVE                                                                                        DANVILLE        IL      61832‐1620
JULIUS W KNOTT                                     35528 GRISWALD                                                                                          CLINTON TWP     MI      48035‐2623
JULIUS WARM & MARION WARM JT TEN                                                                                                                           TANNERSVILLE    NY      12485
JULIUS WARREN                                      8603 BRYDEN ST                                                                                          DETROIT         MI      48204‐4400
JULIUSE A HARRISON                                 144 LINCOLN                                                                                             CLAWSON         MI      48017‐2187
JULLIEN L MARROU                                   1717 SAINT VINCENT ST                                                                                   GONZALES        TX      78629‐4349
JULLY A BURAU‐SEYBERT                              2716 BROWNING DR                                                                                        LAKE ORION      MI      48360‐1818
JULUIS J RICHARD                                   1511 ORR RD                                                                                             CARO            MI      48723‐9492
JULYNN BROWN                                       23060 AVON ROAD                                                                                         OAK PARK        MI      48237‐2401
JUMA K AMEN‐RA                                     6488 EDGEWOOD RD                                                                                        CANTON          MI      48187‐5206
JUN DALLAIRE                                       5484 ASPEN CIR                                                                                          GRAND BLANC     MI      48439‐3510
JUN‐JUN KEYSER & KATARZYNA KEYSTER JT TEN          536 N DENWOOD                                                                                           DEARBORN        MI      48128‐1512
JUNE A ALDEN                                       N228 CZECH DR                                                                                           COLOMA          WI      54930‐9023
JUNE A BIANCHI                                     681 HIGH ST                            APT 280                                                          VICTOR          NY      14564‐1374
JUNE A CLARK                                       LOT #60                                1931 CAMPGROUND ROAD                                             WELLSVILLE      OH      43968‐1736
JUNE A CLINE                                       15621 LAUREN DR                                                                                         FRASER          MI      48026‐2630
JUNE A DULSKI                                      W171‐N 8437 ALLEN AVE                                                                                   MENOMONEE FALLS WI      53051‐2703

JUNE A FOX                                         17025 MAPLE SPRINGS WA                                                                                  WESTFIELD        IN     46074‐5511
JUNE A GENNRICH                                    2807 SW 5TH AVE                                                                                         AUSTIN           MN     55912‐1252
JUNE A GRIFFIN                                     515 GOLDEN LAKE LO                                                                                      SAINT AUGUSTINE FL      32084‐5858
JUNE A HAYMAN                                      487 LAKEWOOD FARMS DR                                                                                   LOVELAND         OH     45140‐6603
JUNE A JUTKINS                                     704 E SUNSET RD                                                                                         MT PROSPECT      IL     60056‐4354
JUNE A KORNISKI                                    5414 MCGRANDY RD                                                                                        BRIDGEPORT       MI     48722‐9783
JUNE A NELSEN & MARVIN R NELSEN TR NELSEN LIVING   775 STRUTHERS LOOP                                                                                      COLORADO SPRINGS CO     80921‐2432
TRUST UA 12/23/98
JUNE A PEARSON                                     5607 TROIKA TRL                                                                                         DRYDEN            MI    48428‐9412
JUNE A PLUMMER TOD TIFFANY CANTLER SUBJECT TO      3608 DAY RD                                                                                             DARLINGTON        MD    21034
STA TOD RULES
JUNE A ROBBINS                                     88 AVIS MILL RD                                                                                         PILESGROVE        NJ    08098‐3001
JUNE A ROLAIN                                      ATTN JUNE A ACHESON                    3904 TEESIDE DR                                                  NEW PORT RICHEY   FL    34655‐1913

JUNE A SMITH                                       2351 SE JACKSON ST                                                                                      STUART            FL    34997‐5849
JUNE ADKINS & GERROL P ADKINS JT TEN               BOX 488                                                                                                 WELEETKA          OK    74880‐0488
JUNE ANN SMITH TR JUNE ANN SMITH TRUST UA          85 POQUITO RD                                                                                           SHALIMAR          FL    32579‐1115
05/04/99
JUNE ANNA TRUAX                                    185 EAST 500 NORTH                                                                                      LEBANON           IN    46052‐9330
JUNE ANNE DIBB                                     57 JACQUELIN AVE                                                                                        HO HO KUS         NJ    07423‐1306
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 454 of 855
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

JUNE B ALDRIDGE & WAYNE P ALDRIDGE JT TEN          3610 NEWBYS BRIDGE RD                                                                        CHESTERFIELD    VA    23832‐7832
JUNE B BANNING                                     PO BOX 62                                                                                    FARMDALE        OH    44417‐0062
JUNE B BARNES                                      6840 HIGHWAY NN                                                                              JOPLIN          MO    64804‐8461
JUNE B GAEKE                                       PO BOX 402                                                                                   LEVERETT        MA    01054
JUNE B HABICHT                                     6530 ARTHUR ST                                                                               HOLLYWOOD       FL    33024‐5832
JUNE B HACKER                                      110 W 37TH STREET                                                                            ANDERSON        IN    46013
JUNE B LAPIERRE                                    1310 CEDAR GROVE RD                                                                          SELKIRK         NY    12158‐4403
JUNE B LYNCH                                       514 NORMANDY DRIVE                                                                           MANTOLOKING     NJ    08738‐1903
JUNE B MC GREGOR                                   17381 KIRKSHIRE AVE                                                                          BEVERLY HILLS   MI    48025‐3261
JUNE B NICHOLSON TR UA 06/11/2008 MELVIN R         13055 W 83RD PL                                                                              SAINT JOHN      IN    46373
NICHOLSON FAMILY TRUST
JUNE B PHILLIPS                                    1616 W GRAND AVE                                                                             DAYTON          OH    45407‐1838
JUNE B PRINCE                                      210 N ELLICOTT CREEK RD                                                                      AMHERST         NY    14228‐2318
JUNE B PYLE & ROBERT R PYLE III JT TEN             938 NAAMANS CREEK RD                                                                         BOOTHWYN        PA    19061‐1102
JUNE B WACHTER                                     380 HALF HOLLOW RD                                                                           DEER PARK       NY    11729‐1815
JUNE B WIERS                                       2320 FOXCHASE RUN                                                                            FORT WAYNE      IN    46825‐3979
JUNE B ZELLER TR UA 04/06/94 JUNE B ZELLER         2948 BUTTONWOOD COURT                                                                        ST JAMES CITY   FL    33956‐2185
REVOCABLE LIVING TRUST
JUNE BABIUK                                        50 HUMPHREY RD                                                                               SCOTTSVILLE     NY    14546‐9645
JUNE BABIUK & CHARLES D JACKSON JT TEN             50 HUMPHREY RD                                                                               SCOTTSVILLE     NY    14546‐9645
JUNE BAKER                                         4726 S OJIBWA CT                                                                             SIERRA VISTA    AZ    85650‐9798
JUNE BARTON                                        1437 GRAND OAK LANE                                                                          WEST CHESTER    PA    19380‐5951
JUNE BAYLES                                        223 HARBOR LIGHTS                                                                            TINTON FALLS    NJ    07753‐7719
JUNE BLESSING                                      C/O JUNE AKANIK                     102 THOMAS AVENUE                                        ROCHESTER       NY    14617‐2132
JUNE C BAKER                                       27 BEACON HILL                                                                               FAIRPORT        NY    14450‐3327
JUNE C CARLIN                                      2920 CRYSTAL LN                     APT# 216                                                 KALAMAZOO       MI    49009‐2108
JUNE C CIMONETTI                                   32 S STANLEY RD                                                                              SOUTH ORANGE    NJ    07079‐2629
JUNE C CLARK TR JUNE C CLARK REV TRUST UA 01/06/98 18616 HARTWELL                                                                               DETROIT         MI    48235‐1345

JUNE C CUNNINGHAM TR CUNNINGHAM TRUST            1182 COCHRAN DR                                                                                TRACY           CA    95377‐7964
01/18/88
JUNE C DUNAGAN                                   C/O EDWIN DUNAGAN                     212 W STEVENS ST                                         CARLSBAD        NM    88220‐5837
JUNE C FRANCIS                                   894 HUNTERS RUN                                                                                PERRYSBURG      OH    43551‐5475
JUNE C HARRIS                                    1201 DARTMOOR                                                                                  CLINTON         MS    39056‐3407
JUNE C HEDGER                                    3042 BELLFLOWER CT                                                                             EDGEWOOD        KY    41017‐3301
JUNE C KEMPER                                    PO BOX 436                                                                                     GRATIS          OH    45330
JUNE C KRALIK                                    19615 THORNRIDGE RD                                                                            CLEVELAND       OH    44135‐1045
JUNE C OSTEEN                                    4238 DON FELIPE DR                                                                             LOS ANGELES     CA    90008‐4209
JUNE C RENDALL                                   62 DELFAE DR APT 4                                                                             WARSAW          VA    22572‐4281
JUNE CANAAN & ROBERT CANAAN JT TEN               5325 LOCHWOOD CIRCLE                                                                           MCKINNEY        TX    75070
JUNE COHEN                                       6298 NW 15TH STREET                                                                            MARGATE         FL    33063‐2703
JUNE COSTELLA LINDLEY‐JONES                      3202 KEYES ST                                                                                  FLINT           MI    48504‐2620
JUNE COTTINGHAM BRIGGS CUST ROBERT EDWARDS       117 SUNSET DR                                                                                  MANNING         SC    29102‐2904
BRIGGS III UGMA SC
JUNE D BELVAL                                    904B RIDGEFIELD CIR                                                                            CLINTON         MA    01510‐1448
JUNE D CASWELL TR JUNE D CASWELL TRUST UA        285 DAWSON CT APT 3                                                                            SANDUSKY        MI    48471‐3326
07/07/06
JUNE D COEN                                      5513 SANDY LN                                                                                  COLUMBIAVILLE   MI    48421‐8967
JUNE D HOPPER                                    15130 W HWY 55                                                                                 BLACKSBURG      SC    29702‐7519
JUNE D NEWELL                                    1777 WEST STREET                                                                               SOUTHINGTON     CT    06489‐1028
JUNE D SACKTOR                                   C/O TODD SACKTOR                      7 PARK HILL PL                                           YONKERS         NY    10705
JUNE D SPEIGHT                                   DRAWER 1687                                                                                    LOVINGTON       NM    88260‐1687
JUNE D VALLAS TR THE JUNE D VALLAS SEPARATE      246 FIFTH ST                                                                                   ENCINITAS       CA    92024‐3256
PROPERTY TRUST 09/21/93
JUNE DAVIS CUST REED LITTLE UTMA WI              1510 MEDOWLARK DR                                                                              JANESVILLE      WI    53546
JUNE DEVIVO & JEAN‐ANNE MANZO & MARGARET         219 BROOK ST                                                                                   PECKVILLE       PA    18452
DEVIVO KUBASH JT TEN
JUNE DINGLER                                     3027 GLENBROOK DR                                                                              LANSING         MI    48911‐2342
JUNE DUANE                                       604 E BAY ST                                                                                   EAST TAWAS      MI    48730‐1561
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 455 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

JUNE E BAKER & ROBERT O BAKER & DIANE M AITKEN JT 3022 BENJAMIN                                                                                ROYAL OAK       MI    48073‐3089
TEN
JUNE E BAKER & ROBERT O BAKER JT TEN              3022 BENJAMIN                                                                                ROYAL OAK       MI    48073‐3089
JUNE E BANASIK                                    28441 ALINE                                                                                  WARREN          MI    48093‐2688
JUNE E BETZ                                       5000 PROVIDENCE DR #322                                                                      SANDUSKY        OH    44870‐1414
JUNE E BLACK                                      536 LEDGE RD                                                                                 MACEDONIA       OH    44056‐1022
JUNE E BURNETT                                    206 WEST P ST                                                                                DEER PARK       TX    77536
JUNE E CAMPBELL                                   270 RIVERSIDE DR                    APT 108                                                  JOHNSON CITY    NY    13790‐2740
JUNE E CRAIN                                      4758 MICHIGAN BLVD                                                                           YOUNGSTOWN      OH    44505‐1231
JUNE E DENNIS                                     704 WORCHESTER DR                                                                            FENTON          MI    48430‐1855
JUNE E ELLIOTT                                    427 S ELM ST                                                                                 EDGERTON        OH    43517‐9663
JUNE E FRANKLIN                                   5214 LORUTH TERRACE                                                                          MADISON         WI    53711‐2628
JUNE E FREMODY & EDGAR A FREMODY & LORI J         1105 S CLINTON DR                                                                            CHARLOTTE       MI    48813‐2121
BROWN JT TEN
JUNE E GRIMES                                     875 SPRUCY RIDGE RD                                                                          MOUNTAIN CITY    TN   37683
JUNE E HILL                                       405 TARRYTOWN RD                                                                             WHITE PLAINS     NY   10607‐1313
JUNE E HILL & MINNIE L OLIVER JT TEN              4372 PARKTON DR                                                                              WARRENSVILLE HTS OH   44128‐3512

JUNE E HOELBLING                                   APT 3                              3 QUAKER RD                                              PITTSFORD       NY    14534‐1253
JUNE E HUBER & DALE J HUBER TR JUNE E HUBER LIVING 6751 CYPRESS ROAD 203                                                                       PLANTATION      FL    33317‐3021
TRUST UA 12/18/03
JUNE E HUNTZINGER                                  PO BOX 21                                                                                   PENDLETON       IN    46064‐0021
JUNE E JOHNSON                                     5447 WOODLAWN BLVD                                                                          MINNEAPOLIS     MN    55417‐1921
JUNE E JOHNSON                                     4428 COUNTY RD N                                                                            SWANTON         OH    43558‐9565
JUNE E JONES                                       1265 OLD LANDING RD                                                                         ACCOKEEK        MD    20607‐3513
JUNE E KEYES                                       3189 OLEARY RD                                                                              FLINT           MI    48504‐1765
JUNE E KUDLA                                       3323 GRAND VISTA CT                UNIT 101                                                 PT CHARLOTTE    FL    33953‐4642
JUNE E MASON                                       5811 TUSSIC RD                                                                              WESTERVILLE     OH    43082‐9096
JUNE E MASON                                       5811 TUSSIE STREET RD                                                                       WESTERVILLE     OH    43081
JUNE E MCNEVIN & MICHAEL W MCNEVIN TR UW           C/O MICHAEL W MCNEVIN              MCNEVIN CADILLAC     P O BOX 1175                        LAFAYETTE       CA    94549
WILLIAM D MCNEVIN
JUNE E MILLER & SANDRA L OLAH & JAMES K MILLER JT 10173 COLDWATER RD                                                                           FLUSHING        MI    48433‐9761
TEN
JUNE E MORGAN                                      1545 SOUTH STATE STREET            APT 502                                                  CHICAGO        IL     60605‐2518
JUNE E NICOLETTI & GEORGE W NICOLETTI JT TEN       1714 BASSETT RD                                                                             ROYAL OAK      MI     48067‐1048
JUNE E OSMER                                       2947 KIRKWOOD RD                                                                            LANSING        MI     48912‐5047
JUNE E OSTERGAARD                                  44 GLASGOW CIR                                                                              HUDSON         NH     03051‐3759
JUNE E SEARBY                                      466 SUMMERWOOD COURT                                                                        RIDGE          NY     11961‐2029
JUNE E SLUK                                        4910 BRIGHTWOOD RD                 APT 204                                                  BETHEL PARK    PA     15102‐2888
JUNE E THOMPSON                                    16573 W DELHI AVENUE                                                                        DELHI          CA     95315‐9579
JUNE E VELOCE                                      18 CALDWELL RD                                                                              PATTERSON      NY     12563‐1246
JUNE E WADDINGTON                                  929 CENTER AVENUE                                                                           BRISTOL        PA     19007‐2419
JUNE E WALSH                                       6565 CHESTNUT CIR                                                                           NAPLES         FL     34109‐7811
JUNE E WRIGHT                                      RR1 BOX 471                                                                                 GREENFIELD     IL     62044
JUNE ELAINE MCNEVIN                                1217 CAMBRIDGE DR                                                                           LAFAYETTE      CA     94549‐2901
JUNE ELIZABETH FULTON                              888 FRONT ST                                                                                SOUTH WEYMOUTH MA     02190‐1848

JUNE ESBENSHADE                                  3054 HIGH POINT RD                                                                            COCHRANVILLE    PA    19330‐1819
JUNE F BROGREN & MARK I BROGREN JT TEN           4769 OLSON LAKE TRAIL NO                                                                      LAKE ELMO       MN    55042‐9530
JUNE F BULA                                      PO BOX 1672                                                                                   SAGINAW         MI    48605‐1672
JUNE F CODMAN                                    BOX 1558                                                                                      MANCHESTER      MA    01944‐0863
JUNE F GRIEST TR UA 12/07/94                     12820 WATERFORD CIR                  APT 335                                                  FORT MYERS      FL    33919
JUNE F KERCKAERT & NANCY KAY MCDANIELS JT TEN    37365 RUTH DR                                                                                 STERLING HTS    MI    48312

JUNE F TILLMAN & ROBERT L TILLMAN JT TEN         405 ROBINDALE                                                                                 DEARBORN        MI    48128‐1590
JUNE F WHITSON                                   32202 GLEN ST                                                                                 WESTLAND        MI    48186‐4916
JUNE FORSYTHE                                    716 E 3RD STREET                                                                              ANACONDA        MT    59711‐2502
JUNE FOSTER TYLER                                5923 DRAPER ST                                                                                WOLCOTT         NY    14590‐1148
JUNE FROELICH SCHNEPP                            1437 WESTLAKE BLVD                                                                            PALM HARBOR     FL    34683‐3836
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 456 of 855
Name                                              Address1                               Address2                   Address3    Address4          City             State Zip

JUNE G MADEWELL                                   7040 BRANTFORD RD                                                                               DAYTON           OH    45414‐2338
JUNE GIBSON                                       8101 BULLERDICK RD                                                                              POLAND           IN    47868‐6807
JUNE GOTTSCHALK                                   N 298 COUNTY HIGHWAY I                                                                          WATERLOO         WI    53594
JUNE GRIPPI                                       18 HARVARD DR                                                                                   HAMPTON BAYS     NY    11946‐2631
JUNE GRUNDSTROM                                   326 W SHEPHERD STREET                                                                           CHARLOTTE        MI    48813‐1893
JUNE H BLUM                                       3919 DILL DR                                                                                    WATERFORD        MI    48329‐2137
JUNE H BRANEN                                     4610 CAIN CREEK TRAIL                                                                           LILBURN          GA    30047‐4404
JUNE H BRUNO                                      216‐31 68TH AVE                                                                                 BAYSIDE          NY    11364‐2604
JUNE H DOLLAR                                     PO BOX 666                                                                                      MONTICELLO       KY    42633‐0666
JUNE H HARRINGTON                                 10 MANOR CIR                                                                                    EAST HARTFORD    CT    06118‐3428
JUNE H HOLLOWAY                                   5761 SW 52ND TERR                                                                               MIAMI            FL    33155‐6328
JUNE H KRETZING & CAROL A CHAPMAN JT TEN          PO BOX 474                                                                                      NORTH BEACH      MD    20714‐0474
JUNE H LAZAR TR JUNE H LAZAR LIVING TRUST UA      1148 TUMBLEWEED CT                                                                              FLINT            MI    48532‐2158
01/03/97
JUNE H SMITHDEAL                                  107 SPEER AVE                                                                                   BOONVILLE        NC    27011‐9103
JUNE H STEARNS                                    44 ROSEDALE RD                                                                                  WEST HARTFORD    CT    06107‐2928
JUNE H VANZANT & SANDRA J DEITRICK JT TEN         1718 PINGREE ST                                                                                 LANSING          MI    48910‐1152
JUNE HALL                                         322 NORTH TRAYER AVENUE                                                                         GLENDORA         CA    91740
JUNE HOUSE                                        7910 MEADOWVALE DR                                                                              HOUSTON          TX    77063‐6112
JUNE I BROWN TR BROWN FAM 1999 LIVING TRUST UA    8242 BALDWIN CIRCLE                                                                             BUENA PARK       CA    90621‐1350
11/22/99
JUNE I DAVIS                                      335 MT VERNON AVE                                                                               GROSSE POINTE    MI    48236‐3438
                                                                                                                                                  FARM
JUNE I DISMUKE                                    C/O JUNE PETTIS                        10001 GOODALL RD LO B‐3                                  DURAND           MI    48429‐9744
JUNE I PERSINGER                                  655 FIRST STREET                                                                                PONTIAC          MI    48340‐2810
JUNE I PERSINGER & ROBERT PERSINGER JR JT TEN     655 FIRST ST                                                                                    PONTIAC          MI    48340‐2810

JUNE I YOUNG                                      3034 FAIRVIEW SE                                                                                WARREN           OH    44484‐3215
JUNE J HAMER & PAUL E HAMER TR JUNE T HAMER       318 PINE ST                                                                                     DEERFIELD        IL    60015‐4829
LIVING TRUST UA 11/10/98
JUNE J SCHERRER                                   6108 N WILDHORSE DR                                                                             PRESCOTT VLY     AZ    86314‐3357
JUNE J WALSH                                      49 BABYLON AVE                                                                                  WEST ISLIP       NY    11795‐1212
JUNE JOHNSON                                      3908 S TERRY AVE                       APT 383                                                  SIOUX FALLS      SD    57106‐1586
JUNE JOHNSON CALDWELL MARTIN TR UA 08/26/91       PO BOX 65388                           DESERT FOOTHILLS STATION                                 TUCSON           AZ    85728‐5388

JUNE JONES TOD MICHELLE R JONES & BRIAN J JONES & 53130 BRIAR                                                                                     SHELBY TWP       MI    48316‐2217
RACHEL V JONES
JUNE JUCEWICZ                                     5281 WINCHESTER WAY                                                                             GLADWIN          MI    48624‐8514
JUNE K HENDRICHS                                  1357 CATHERWOOD DR                                                                              SOUTH BEND       IN    46614‐2765
JUNE K SORRELL                                    2538 ARLETTA                                                                                    TOLEDO           OH    43613‐2626
JUNE KAYE MASSEY                                  170 N 2ND ST                                                                                    WEST BRANCH      MI    48661‐1240
JUNE KENNEDY GOSS TOD JENNIFER PADEN SUBJECT TO 215 RIDGE AVE                                                                                     WINNETKA         IL    60093
STA TOD RULES
JUNE KOZELKA TR JUNE KOZELKA TRUST UA 07/31/97    2207 E WALLINGS RD                                                                              BROADVIEW        OH    44147‐1369
                                                                                                                                                  HEIGHTS
JUNE L ALIFF                                      109 JACQUELINE DRIVE                                                                            AVONDALE         LA    70094‐2819
JUNE L ALIFF & OTTOWAY J ALIFF JR JT TEN          109 JACQUELINE DRIVE                                                                            AVONDALE         LA    70094‐2819
JUNE L BOWMAN                                     611 CLOSSEY DRIVE                                                                               INDIANAPOLIS     IN    46227‐2525
JUNE L BRANTLEY                                   102 ROBERT COLE COURT                                                                           WILLIAMSBURG     VA    23185‐3385
JUNE L BROOKS                                     109 CAMBRIDGE RD                                                                                MADISON          WI    53704‐5909
JUNE L BURGETT                                    4624 POST OAK DR                                                                                FRISCO           TX    75034‐5131
JUNE L ERICKSON                                   10682 SUNSET DR                                                                                 PORTLAND         MI    48875‐8435
JUNE L GOVER                                      R D #3 BOX 7 F                                                                                  SUNBURY          PA    17801‐9320
JUNE L HAYCRAFT                                   6060 PEARL ST                                                                                   BURTON           MI    48509‐2219
JUNE L HOOPER                                     975 W MICHIGAN AVE                                                                              SOUTHERN PINES   NC    28387‐4450
JUNE L KAIL                                       2348 RAND AVE                                                                                   DAYTON           OH    45439‐2842
JUNE L LANGSTON                                   11090 MC KINNEY                                                                                 DETROIT          MI    48224‐1113
JUNE L LUMLEY & THOMAS J LUMLEY JT TEN            3505 GOSHEN RD                                                                                  NEWTOWN SQ       PA    19073‐2008
JUNE L MAGGI                                      191 CLAREMONT ST                                                                                DEER PARK        NY    11729‐1304
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                    Part 4 of 8 Pg 457 of 855
Name                                            Address1                             Address2             Address3            Address4          City              State Zip

JUNE L PUGLISI                                   41 PAIGE ROAD                                                                                  LONDONDERRY       NH    03053‐2116
JUNE L REID                                      705 PALACE CT                                                                                  FERGUSON          MO    63135‐1748
JUNE L ROTHROCK TOD ANDREW T FINK                7305 WEIL AVE                                                                                  SHREWSBURY        MO    63119‐3326
JUNE L ROTHROCK TOD DAVID L FINK                 7305 WEIL AVE                                                                                  SHREWSBURY        MO    63119‐3326
JUNE L ROTHROCK TOD MICHAEL R FINK               7305 WEIL AVE                                                                                  SHREWSBURY        MO    63119‐3326
JUNE L RUSSELL                                   122 GREEN AVE APT 3026                                                                         WOODBURY          NJ    08096‐2762
JUNE L SALMI                                     16734 BILTOMORE ST                                                                             DETROIT           MI    48235‐3437
JUNE L WILLIAMS                                  21781 SANDRA THERESA DR                                                                        MACOMB            MI    48044‐6410
JUNE LAHTI                                       30 WOODBINE ST                                                                                 YONKERS           NY    10704‐3608
JUNE LEE BLAIR                                   PO BOX 2738                                                                                    JONESBORO         AR    72402‐2738
JUNE LORAINE SCHERER                             4947 N SUNTONE RD                                                                              OLNEY             IL    62450‐4437
JUNE LUCCA & MICHAEL LUCCA JT TEN                16224 HARMONY RD                                                                               HUNTLEY           IL    60142‐9208
JUNE LUEBKE                                      200 PINE ST                                                                                    CLINTONVILLE      WI    54929‐1016
JUNE LYONS                                       5766 STONE RD                                                                                  LOCKPORT          NY    14094‐1214
JUNE M ALLISTON                                  3891 SUNDOWNER COURT                                                                           CONYERS           GA    30094‐3870
JUNE M ANTON & ROBERT G ANTON JT TEN             DURHAM KAY                          APT 368              CENTURY VILLAGE E                     DEERFIELD BEACH   FL    33442
JUNE M BETZING TR LIVING TRUST 03/13/92 U‐A JUNE 1569 TORREY RD                                                                                 GROSSE POINTE     MI    48236‐2330
M BETZING                                                                                                                                       WOOD
JUNE M BUSH                                      609 W OAK                                                                                      LODI              CA    95240‐3431
JUNE M CARLTON                                   244 THOMAS ST                                                                                  PARK FOREST       IL    60466‐1127
JUNE M CARMICHAEL                                PO BOX 8314                                                                                    ESSEX CENTER      VT    05451‐8314
JUNE M COUTURE                                   917 S DUCK LAKE RD 113                                                                         HIGHLAND          MI    48356‐3340
JUNE M CRAVEN                                    526 EAST PRAIRIE                                                                               OLATHE            KS    66061
JUNE M CROASDELL                                 5379 DOGWOOD DR                                                                                WHITE LAKE        MI    48383‐4104
JUNE M DUNCAN                                    202 W BOALT ST                                                                                 SANDUSKY          OH    44870‐3538
JUNE M EDWARDS                                   9500 60TH ST SE                                                                                ALTO              MI    49302‐9702
JUNE M EVERSON                                   13350 SE 26 STREET                                                                             BELLEVUE          WA    98005‐4277
JUNE M FAILOR                                    14890 RUSSELL ST                                                                               ALLEN PARK        MI    48101‐2942
JUNE M FULCHER TR UA 12/22/92 THE JUNE M FULCHER 4080 PEDLEY RD #147                                                                            RIVERSIDE         CA    92509‐2846
LIVING TRUST
JUNE M GRANT                                     102 FORGE RD                                                                                   JAMESBURG         NJ    08831
JUNE M GRINESTAFF                                9734 E MONICA ST                                                                               INVERNESS         FL    34450‐0904
JUNE M GROENEVELD                                864 SIMCOE ST N                     OSHAWA ON                                L1G 4V8 CANADA
JUNE M GROENVELD                                 864 SIMCOE ST N                     OSHAWA ON                                L1G 4V8 CANADA
JUNE M GUTOWSKI                                  1488 CLEVELAND AVE                                                                             LINCOLN PARK      MI    48146‐2384
JUNE M HARTMAN                                   401 WAYNE AVE                                                                                  PINE BEACH        NJ    08741‐1621
JUNE M HLIVAK                                    955 HERON SPRINGS PKWY                                                                         STOW              OH    44224
JUNE M ISRAEL & AMY ISRAEL CRABTREE JT TEN       1107 CANDELA LANE                                                                              GRAND LEDGE       MI    48837‐2258
JUNE M JANA                                      515 BERRY AVE                                                                                  BELLEVUE          KY    41073‐1308
JUNE M JESTIN                                    8304 SEXTANT DRIVE                                                                             BALDWINSVILLE     NY    13027‐6213
JUNE M JOHNSON                                   4855 AIRLINE DR                     APT 36G                                                    BOSSIER CITY      LA    71111‐6651
JUNE M KEANE                                     120 LEMYRA ST SE                                                                               GRAND RAPIDS      MI    49548‐1244
JUNE M KROPP & PATRICIA D MAROTTA JT TEN         387 LAKE ST                         PO BOX 3                                                   WILSON            NY    14172‐0003
JUNE M KUFTA                                     5109 CERROMAR DR                                                                               NAPLES            FL    34112‐7924
JUNE M LEHR                                      2104 PIERCE ST                                                                                 JANESVILLE        WI    53546‐3218
JUNE M LOWING                                    2932 S WENTWARD CT                                                                             HUDSONVILLE       MI    49426‐9244
JUNE M OSULLIVAN                                 2065 WILLOW LEAF DR                                                                            ST LOUIS          MO    63131‐3941
JUNE M PHILPS TR JUNE M PHILPS LIVING TRUST UA   494 PENINSULA DR                                                                               COLUMBIAVILE      MI    48421‐9774
04/28/00
JUNE M PIPERATA                                  293 LINCOLN BLVD                                                                               MIDDLESEX         NJ    08846‐2307
JUNE M PLATENKA TR UA 06/10/1997 MELVIN F        156 EAGLE POINT RD                                                                             FOX LAKE          IL    60020‐1727
PLATENKA TRUST
JUNE M ROONEY                                    4091 ROOSEVELT HWY                                                                             HOLLEY            NY    14470‐9208
JUNE M RUSNAK                                    3109 GEORGE AVE                                                                                PARMA             OH    44134‐2941
JUNE M SAWYER                                    168 HEMLOCK DR                                                                                 STAMFORD          CT    06902‐1830
JUNE M SCRUDATO                                  3704 HORIZON RIDGE CT                                                                          SIMI VALLEY       CA    93063‐0210
JUNE M STANDLEY                                  14722 OTSEGO ST                                                                                SHERMAN OAKS      CA    91403‐1439
JUNE M TESSMER & RALPH J TESSMER JT TEN          6405 SHEARER RD                                                                                GREENVILLE        MI    48838‐9100
JUNE M TURER                                     5011 ASHWOOD DR                                                                                BAYTOWN           TX    77521‐2905
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 458 of 855
Name                                            Address1                            Address2             Address3          Address4          City             State Zip

JUNE M WEBSTER                                   1925 MELODY DR                                                                              HOLIDAY          FL    34691‐5426
JUNE M ZAWACKI                                   25 WOODALE LANE                                                                             SANTA BARBARA    CA    93103‐1633
JUNE MADDY BLALOCK TR JUNE M BLALOCK LIV TRUST 2612 EAST 12TH STREET                                                                         JOPLIN           MO    64801‐5360
UA 03/10/03
JUNE MAE BADOUR                                  ATTN JUNE MAE BADOUR THOMPSON      151 BRUCE ST                                             FLINT            MI    48503‐3980
JUNE MC CORD WHITMORE                            28960 HAMPTON DR                                                                            NORTH OLMSTED    OH    44070‐3046
JUNE MC GILVERY                                  7250 MOHAWK TRAIL RD                                                                        DAYTON           OH    45459‐3555
JUNE MORETTINI TR UA 10/21/91 JUNE MORETTINI     136 CYPRESS PT DRIVE                                                                        SPRINGFIELD      IL    62704‐3134
TRUST NO I
JUNE MUDD & DONNA F JUSTUS JT TEN                519 NE TUDOR ROAD APT 4                                                                     LEES SUMMIT      MO    64086‐5741
JUNE MURRAY DELLENEY                             6815 WAGGONER DR                                                                            DALLAS           TX    75230‐5239
JUNE MYER                                        PO BOX 647                                                                                  GLASCO           NY    12432‐0647
JUNE N DELGADO                                   14465 NORTH RD                                                                              FENTON           MI    48430
JUNE P BEADLE                                    C/O MYRTLE BEADLE                  PO BX 123                                                MODENA           NY    12548‐0123
JUNE P DARBY                                     950 CALZADA                                                                                 SANTA YNEZ       CA    93460‐9635
JUNE P FELTES                                    291 WENDEL RD                                                                               IRWIN            PA    15642‐3226
JUNE P LA FORGE                                  BOX 231                            ROUTE 2                                                  WELLSVILLE       NY    14895
JUNE P POWERS                                    C/O DON POWERS                     1040 WARDEN RD                                           WICKLIFFE        OH    44092
JUNE P SCHULTZ                                   3220 RED BARN RD                                                                            FLINT            MI    48507
JUNE P STOWELL TR JUNE P STOWELL FAMILY TRUST UA 6511 29TH AVE W                                                                             BRADENTON        FL    34209‐7410
04/20/01
JUNE P TAYLOR                                    G5165 W COURT ST                                                                            FLINT            MI    48504
JUNE P WALTON                                    1111 FAIR OAKS                                                                              DEERFIELD        IL    60015‐2914
JUNE PRESSEL TR PRESSEL FAMILY TR 6/8/73         516 S DICKEL ST                                                                             ANAHEIM          CA    92805‐4523
JUNE QUINN                                       4 LANSDALE AVE                                                                              SAN FRANCISCO    CA    94127‐1609
JUNE R BINGAMAN TR JUNE R BINGAMAN TRUST UA      366 SHORE DR                                                                                LINCOLN PARK     MI    48146‐3166
10/21/99
JUNE R BLIESE & TIMOTHY O BLIESE TR UA 09/22/88  3221 E BALDWIN RD                  APT 214                                                  GRAND BLANC      MI    48439‐7354
BLIESE TRUST
JUNE R EANES                                     497 N NEWBURGH                                                                              WESTLAND         MI    48185‐3217
JUNE R EANES & JOHN W EANES JR JT TEN            497 N NEWBURGH                                                                              WESTLAND         MI    48185‐3217
JUNE R GNATZIG                                   223 HAZELYN COURT                                                                           WHITEWATER       WI    53190‐1610
JUNE R HUGHES TOD STEVEN J HUGHES & JEFFERY O    1231 BATTERSEA AVENUE                                                                       SPRING HILL      FL    34609‐5511
HUGHES
JUNE R MARHEFKA                                  1558 COSHOCTON AVE                                                                          MOUNT VERNON     OH    43050‐5416
JUNE R MONTGOMERY                                501 ATKERSON LANE                                                                           EULESS           TX    76039
JUNE R P MORRISSEY                               38243 ROBINSON DR                                                                           REHOBOTH BCH     DE    19971
JUNE R RAGANS                                    1306 WALDEN RD                                                                              TALLAHASSEE      FL    32317‐8499
JUNE R WALTERS & CRAIG C MART JT TEN             101 HAINES BOX 13851                                                                        EDWARDSVILLE     KS    66113‐3770
JUNE REH                                         4503 FISHERMANS TER                                                                         LYONS            IL    60534‐1925
JUNE ROSENBERG                                   63‐48 PLEASANT VIEW ST                                                                      MIDDLE VILLAGE   NY    11379‐1844
JUNE ROSNER                                      2329 N CLEVELAND                                                                            CHICAGO          IL    60614‐3315
JUNE S BOWE & GLORIA R COOPER & FRANK A ANDERS 6487 E PIERSON                                                                                FLINT            MI    48506‐2257
& VERNA P ISANHART &
JUNE S DANT                                      PO BOX 2309                                                                                 KAILUA KONA      HI    96745‐2309
JUNE S KAYS                                      6304 NORTH COUNTY ROAD 500 EAST                                                             BAINBRIDGE       IN    46105‐9582
JUNE S PYBUS                                     18 BROOKSIDE LN                                                                             VERNON ROCKVL    CT    06066‐4129
JUNE S SPILLMAN                                  212 HAWLEY ST                                                                               LOCKPORT         NY    14094‐2718
JUNE S STEVENS                                   PO BOX 241                                                                                  GREENE           ME    04236‐0241
JUNE SCHAADT                                     15153 DOGWOOD CIRCLE                                                                        MIDDLEBURG       OH    44130‐3510
JUNE SEXTON                                      11920 CAVELL                                                                                LIVONIA          MI    48150‐5314
JUNE SHERK                                       440 MOHAWK DR                                                                               ERIE             PA    16505‐2418
JUNE SHROYER & HOWARD C SHROYER JT TEN           6022 TORREY PINES DR                                                                        OCALA            FL    34472‐3281
JUNE ST JOHN                                     11142 VALENCIA AVE                                                                          SEMINOLE         FL    33772‐3009
JUNE STAYMAN                                     23 ASCENTA TER                                                                              WEST NEWTON      MA    02465‐2409
JUNE STOEN                                       10400 45TH AVE #112                                                                         PLYMOUTH         MN    55442‐2490
JUNE STOUT & ROBERT STOUT JT TEN                 PO BOX 745                                                                                  WEST BRANCH      MI    48661‐0745
JUNE STRICKLAND GUENTHER                         52 EAST 14TH                                                                                SAN ANGELO       TX    76903‐4673
JUNE T DAVIS                                     1002 KING ARTHUR DR                APT 142                                                  HARLINGEN        TX    78550‐8417
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 459 of 855
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

JUNE T WALTERS                                    993 PINE FOREST RD                                                                            TY TY             GA    31795‐3623
JUNE THOMPSON                                     PO BOX 333                                                                                    HOMER             AK    99603‐0333
JUNE TORREY                                       1118 PETTS RD                                                                                 FENTON            MI    48430‐1546
JUNE V HUNT & BRAD HUNT JT TEN                    4318 PHILLIPS RD                                                                              METAMORA          MI    48455‐9747
JUNE V HUNT & JAMES H HUNT III JT TEN             4318 PHILLIPS RD                                                                              METAMORA          MI    48455‐9747
JUNE V HUNT & NANCY A O CONNELL JT TEN            4318 PHILLIPS RD                                                                              METAMORA          MI    48455‐9747
JUNE V HUNT & PATRICK HUNT JT TEN                 4318 PHILLIPS RD                                                                              METAMORA          MI    48455‐9747
JUNE V ROBINSON                                   875 DENVER PLACE NE                                                                           SALEM             OR    97301‐3005
JUNE VINCENT DETRISAC & CAROL DETRISAC JT TEN     18790 SUNNYBROOK                                                                              LATHRUP VILLAGE   MI    48076‐3371

JUNE W BALLENGEE                                  1513 GARANADA AVE                                                                             HOLLY HILL        FL    32117‐1427
JUNE W BIRNEY                                     2 QUARRY LN                                                                                   NEWARK            DE    19711‐4811
JUNE W CROSSLEY                                   PO BOX 156                                                                                    WALLINGFORD       CT    06492‐0156
JUNE W MOORE TR ITEM IV U‐W J DONALD MMORE        1174 PEEBLES                                                                                  FAIRBORN          OH    45324‐5646

JUNE WASSON                                       3123 INDIAN WAY                                                                               LAFAYETTE         CA    94549‐5505
JUNE WEST & AVA B OHARE JT TEN                    4983 WILLOW CREEK DRIVE                                                                       WOODSTOCK         GA    30188
JUNE WHITE ANDERSEN                               8 OLD JEROME AVENUE                                                                           YONKERS           NY    10704‐3816
JUNE WOODARD                                      503 HILLSIDE RD                                                                               MOUNTAIN CITY     TN    37683‐1289
JUNE WOODWARD LIFE TENANT U‐W LILLIE A JUDIK      C/O JUNE WOODWARD DOLAN              126 REGESTER AVE                                         BALTIMORE         MD    21212‐1538

JUNE YEAGER‐RICCI                                290 DENSMORE RD                                                                                ROCHESTER         NY    14609‐1861
JUNEATA BYRD                                     6515 WINFIELD LN                                                                               MIDDLETOWN        OH    45042‐1344
JUNEATA M BYRD TOD JANIS E HARLAN SUBJECT TO STA 6515 WINFIELD LANE                                                                             MIDDLETOWN        OH    45042‐1344
TOD RULES
JUNELL B DENTE                                   C/O THOMAS LLOYD DENTE                444 FOREST LANE                                          WADSWORTH         OH    44281‐2329
JUNELL C DANIELS & PEGGY D PETER & KATHY M       1320 ASHEBURY LN                      APT 312                                                  HOWELL            MI    48843‐1680
BREWER JT TEN
JUNELL M SKELTON                                 1942 DECKER ROAD                                                                               WICHITA FALLS     TX    76310‐0227
JUNG HUH & YOO SOOK HUH JT TEN                   5100 OAK POINT RD                                                                              LORAIN            OH    44053‐1942
JUNG J SHON                                      1037 SAINT GEORGES WAY                                                                         FRANKLIN          TN    37064‐6719
JUNG MI CRANDELL & ATLANTA LEE CRANDELL JT TEN   3813 GREENRIDGE                                                                                CIBOLO            TX    78108‐2212

JUNG S CHOI                                       1618 HICKORY WOODS WAY                                                                        MARIETTA          GA    30066‐2995
JUNG S SUL                                        9 WILLOWMERE DR                                                                               BARRINGTON        IL    60010‐6151
JUNI ROBBINS CUST HAILEY BERNARDO UTMA AZ         10325 S GOLDBAR DR                                                                            YUMA              AZ    85367
JUNIA DOAN                                        3801 VALLEY DR                                                                                MIDLAND           MI    48640‐6601
JUNIE L GREENWAY                                  PO BOX 94                                                                                     NEBO              NC    28761‐0094
JUNIOR A ALLEN                                    1300 VIKING DRIVE                                                                             INDEPENDENCE      MO    64056‐1104
JUNIOR A BOYATT                                   4222 E COUNTY RD 900 N                                                                        MOORELAND         IN    47360‐9794
JUNIOR A PAUL                                     5361 DURWOOD DRIVE                   WINCHESTER VILLAGE                                       SWARTZ CREEK      MI    48473‐1107
JUNIOR A SUMMERS                                  C/O DOLORES M SUMMERS                7375 RORY STREET                                         GRAND BLANC       MI    48439‐9349
JUNIOR B HORN                                     5274 FREIDA DR                                                                                FAIRFIELD         OH    45014‐3312
JUNIOR B RICE                                     14091 TUSCOLA RD                                                                              CLIO              MI    48420‐8808
JUNIOR C EDWARDS                                  821 WILDER AVE                                                                                ELYRIA            OH    44035‐3019
JUNIOR C FITZPATRICK                              402 WASHINGTON ST                                                                             TONGANOXIE        KS    66086‐9670
JUNIOR C SADLER TOD EDWIN D SADLER SUBJECT TO     107 W NASHUA                                                                                  LIBERTY           MO    64068‐1217
STA TOD RULES
JUNIOR C SADLER TOD ROGER A SADLER SUBJECT TO STA 107 W NASHUA                                                                                  LIBERTY           MO    64068‐1217
TOD RULES
JUNIOR C SCOTT                                    2708 E THOMPSON RD                                                                            INDIANAPOLIS      IN    46227‐4453
JUNIOR D BOOKOUT & CAROLYN JANE BOOKOUT JT TEN 1516 FOXFIRE CIRCLE                                                                              SEYMOUR           TN    37865‐3172

JUNIOR D FOX                                      7301 CASCADE DR                                                                               HUDSON            FL    34667‐2226
JUNIOR D HARLEY                                   8250 S VASSAR RD                                                                              MILLINGTON        MI    48746‐9474
JUNIOR D OZENBAUGH                                1806 S PLAZA DR                      APT 35                                                   ELWOOD            IN    46036‐3245
JUNIOR D SHAFFER                                  2670 LYDIA STREET                                                                             LORDSTOWN         OH    44481‐9622
JUNIOR E MARLOW                                   14484 LULU ROAD                                                                               IDA               MI    48140‐9530
JUNIOR E MCKINNEY                                 5618 ORLENA DR                                                                                ANDERSON          IN    46013‐3032
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 460 of 855
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

JUNIOR E PARSLEY                                  6460 MCCORMICK RIDGE RD                                                                       WHITLEVILLE        TN    38588‐6052
JUNIOR E ZIMMERMAN                                DANIELS RD                                                                                    WILSON             NY    14172
JUNIOR G WRIGHT                                   PO BOX 73                                                                                     ROXANA             IL    62084‐0073
JUNIOR H DAVIS                                    RT 1 BOX 1360                                                                                 HARVIELL           MO    63945‐9637
JUNIOR H RETCHER                                  23708 SR66 RT 8                                                                               DEFIANCE           OH    43512‐8644
JUNIOR HENDRIX                                    PO BOX 871                                                                                    SAGINAW            MI    48606‐0871
JUNIOR L CHANDLER                                 529 SE PLANT ST                                                                               LAKE CITY          FL    32025‐1859
JUNIOR L HURST                                    12908 RACHEL CT                                                                               OKLAHOMA CITY      OK    73170‐2002
JUNIOR L KIMBROUGH                                PO BOX 30194                                                                                  BILLINGS           MT    59107‐0194
JUNIOR L MC BRIDE CUST MISS MARLA JEAN MC BRIDE   900 E MAIN                                                                                    LA PORTE CITY      IA    50651‐1526
U/THEIOWA U‐G‐M‐A
JUNIOR L MCDONALD                                 338 DURST DR                                                                                  WARREN             OH    44483‐1106
JUNIOR L MULCAHY & MARCELLA M MULCAHY JT TEN      1405 HAMILTON AVE                                                                             YAKIMA             WA    98902‐5175

JUNIOR L PAYNE                                    5125 BIRCH RUN RD                                                                             BIRCH RUN          MI    48415
JUNIOR L QUADE                                    PO BOX 278                                                                                    DRYDEN             MI    48428‐0278
JUNIOR L SHAW                                     291 NEBRASKA STREET                                                                           PONTIAC            MI    48341‐2851
JUNIOR L STEVENS                                  15604 MARILYN                                                                                 PLYMOUTH           MI    48170‐4838
JUNIOR L TAYLOR                                   307 E 24 HWY LOT 15                                                                           BUCKNER            MO    64016
JUNIOR M OLSON                                    23 GRANDIE                                                                                    PONTIAC            MI    48342‐1227
JUNIOR M STAFFORD                                 1025 TREMONT AVENUE                                                                           FLINT              MI    48505‐1417
JUNIOR MILLS                                      ATTN MRS KAROL JAQUES                5119 WOODSTOCK DR                                        SWARTZ CREEK       MI    48473‐8539
JUNIOR N ADAMS & CONNIE R ADAMS JT TEN            3636 DRYDEN ROAD                                                                              METAMORA           MI    48455‐9373
JUNIOR P WAMPLER & ANELIA M WAMPLER JT TEN        5175 ESTELLA LANE                                                                             SHELBY TWP         MI    48316‐4113

JUNIOR R BRAKEFIELD                               11250 STATE HIGHWAY P                                                                         POTOSI             MO    63664‐3158
JUNIOR R DYE                                      6580 SEMINOLE BLVD                   LOT 306                                                  SEMINOLE           FL    33772‐6319
JUNIOR R GEORGE                                   2407 WOODLEA DR                                                                               JOPPA              MD    21085‐2913
JUNIOR R NELSON                                   10416 MAPLE LANE                                                                              ST LOUIS           MO    63126‐3238
JUNIOR T PAYNE                                    3106 OAK ST                                                                                   SHREWSBURY         WV    25015‐1924
JUNIOR TIPTON                                     1102 FOXHOUND HILLS CI                                                                        UNICOI             TN    37692‐4728
JUNIOR TOMBLIN                                    PO BOX 2127                                                                                   FAIRBORN           OH    45324‐8127
JUNIOR W BRADLEY                                  0309 MARY                                                                                     FLINT              MI    48503‐1456
JUNIOR WADDLES                                    363 CIRCLE DR                                                                                 WHITESBURG         KY    41858‐7664
JUNIOR Z HOBBS                                    2286 WEST 41 ST                                                                               CLEVELAND          OH    44113‐3851
JUNIOUS A TAYLOR                                  PO BOX 6861                                                                                   CHESTERFIELD       MO    63006‐6861
JUNITA M WATSON                                   5276 POSSON ROAD                                                                              MEDINA             NY    14103‐9727
JURDEAN PARKS                                     1844 RAY                                                                                      SAGINAW            MI    48601‐3125
JURDON HOWARD                                     13760 LITTLE RICHMOND RD                                                                      BROOKVILLE         OH    45309‐9795
JURE G BALIC                                      1761 HOLDENS ARBOR RUN                                                                        WESTLAKE           OH    44145‐2039
JURE GRAHOVAC                                     4760 W WICKFORD                                                                               BLOOMFIELD HILLS   MI    48302‐2381

JURELL W WAINWRIGHT                               160 FOREST AVE SE                                                                             BAXLEY             GA    31513‐4469
JURGEN K UTHEMANN & MARY UTHEMANN JT TEN          3583 S 95TH ST                                                                                MILWAUKEE          WI    53228‐1405

JURI ZAJAC                                        1169 E SWELL RD                                                                               ROCHESTER          MI    48306‐2152
JURINE RANDALL                                    1587 A BURTON COURT                                                                           AURORA             IL    60505
JURITSA F FORD                                    PO BOX 36116                                                                                  RICHMOND           VA    23235‐8002
JURJEN J HOOMANS                                  51 UPTON AVE                                                                                  SPENCERPORT        NY    14559‐1233
JURLEAN HILL                                      2506 CARDINAL                                                                                 VICTORIA           TX    77901
JURLENE HARRIS                                    1125 FERNWOOD AVE                                                                             TOLEDO             OH    43607‐1904
JURRY A MAYNARD                                   2674 N LAKE PLEASANT RD                                                                       ATTICA             MI    48412‐9248
JUSTEN E ARANDA                                   2918 RR 620 N 204                                                                             AUSTIN             TX    78734
JUSTER B JOHNSON                                  27495 FRANKLIN RD                                                                             SOUTHFIELD         MI    48034‐2389
JUSTICE B JENKINS                                 28616 BALMORAL                                                                                GARDEN CITY        MI    48135‐2160
JUSTIN ATTEBERRY                                  PO BOX 354                                                                                    ORGAN              NM    88052
JUSTIN BERNHARDT                                  3656 WOODCLIFF DR                                                                             KALAMAZOO          MI    49008‐2513
JUSTIN BLUE                                       10216 E 31ST AVENUE                                                                           DENVER             CO    80238
JUSTIN C GOULD                                    4400 COUNTY ROAD 7000                                                                         WEST PLAINS        MO    65775‐7610
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 461 of 855
Name                                              Address1                               Address2             Address3          Address4           City               State Zip

JUSTIN C HIRT & HARRY C HIRT JT TEN               6039 COUNTRY RIDGE DRIVE                                                                         TROY               MI    48098‐5372
JUSTIN CABEEN                                     9909 S 56TH ST                                                                                   LINCOLN            NE    68516‐9417
JUSTIN CHARLES LEOPOLD                            793 UPPER BELMONT AVE                  WESTMOUNT QC                           H3Y 1K3 CANADA
JUSTIN CHRISTOPHER MASON                          5117 SANDBURG DR                                                                                 SACRAMENTO         CA    95819‐1604
JUSTIN CLEVELAND                                  406 8TH STREET WEST                                                                              CANBY              MN    56220‐1038
JUSTIN D GOLD                                     2608 BROCKMAN BLVD                                                                               ANN ARBOR          MI    48104‐4709
JUSTIN DEPRIEST                                   6474 PINECROFT DR                                                                                WEST BLOOMFIELD    MI    48322‐2245

JUSTIN DOWELL & KRISTINA DOWELL JT TEN            636 NE 9TH ST                                                                                    GRESHAM            OR    97030
JUSTIN E FLEGM                                    7030 BROWN RD                                                                                    OSTRANDER          OH    43061‐9313
JUSTIN E KNOX                                     10217 POPLAR GLEN DR                                                                             KNOXVILLE          TN    37922‐5687
JUSTIN E WILDER                                   904 E REDDING RD                                                                                 ANGOLA             IN    46703‐2259
JUSTIN FAMULARO CUST TORI LYNN FAMULARO UTMA      1667 S E SIMMONS ST                                                                              PORT ST LUCIE      FL    34952‐6555
FL
JUSTIN FRENCH                                     56 KNIGHTS BRIDGE APT 56E                                                                        GUILDERLAND        NY    12084‐9440
JUSTIN H CONNER                                   3501 OAKWOOD BLVD                      APT 425                                                   MELVINDALE         MI    48122‐1168
JUSTIN H YOUNG                                    924 WHITE OAK CT N                                                                               CHESAPEAKE         VA    23320‐2718
JUSTIN HARMON                                     328 PORTLAND DRIVE                                                                               HURON              OH    44839‐1558
JUSTIN HARRIGAN                                   172 MARRIOTT ROAD                                                                                WEST WINFIELD      NY    13491
JUSTIN HOREHLAD                                   307 LAUREL MOORS DR                                                                              EXTON              PA    19341‐3030
JUSTIN INGRAM                                     511 COLLEGE ST                                                                                   SOUTH              TN    38257‐1911
JUSTIN J KNOBLE                                   908 MERCER PARK RD                                                                               OMAHA              NE    68131
JUSTIN J LEISEY                                   37 FAWNBROOK LN                                                                                  SIMSBURY           CT    06070‐2609
JUSTIN J P MC KNIGHT                              PO BOX 217                             102 WINDY KNOLL RD                                        BROOKVILLE         PA    15825
JUSTIN JAMES RIDLEY                               ATTN RAYMOND I RIDLEY                  218 HASTINGS DR                                           GOOSE CREEK        SC    29445‐6619
JUSTIN JAY HNILO U/GDNSHP OF JERRALD D KRAUSE &   1522 CHARLES AVE                                                                                 ARCATA             CA    95521‐6812
CATHERINE A KRAUSE
JUSTIN JAY HOUCK                                  PO BOX 1716                                                                                      RUNNING SPRINGS    CA    92382‐1716

JUSTIN K JEDRZEJCZYK                              1927 SOUTH CLINTON AVE                                                                           TRENTON            NJ    08610‐6201
JUSTIN KEHOE TROILO & NANCY KEHOE TROILO JT TEN   2 CRENSHAW DR                                                                                    WILMINGTON         DE    19810‐3621

JUSTIN KNIELING                                   696 CARBON DRIVE                                                                                 HERMITAGE          PA    16148‐6803
JUSTIN L LEE                                      1040 WOODLAWN RD                                                                                 GLENVIEW           IL    60025‐2362
JUSTIN LAWRENCE CHERUBIN                          620 PARK AVE #181                                                                                ROCHESTER          NY    14607
JUSTIN M BAUMAN                                   2888 RIDGEWAY AVE                                                                                ROCHESTER          NY    14626‐4215
JUSTIN M CHIDESTER & JOE S CHIDESTER JT TEN       2248 MUSSON                                                                                      HOWELL             MI    48843‐9082
JUSTIN M SCHWAMM JR                               453 FOXWOOD DR                                                                                   HOPE MILLS         NC    28348‐9118
JUSTIN MACLEAN                                    49 PINEDALE CRES                       COURTICE ON                            L1E 1C6 CANADA
JUSTIN MICHAEL WOMBWELL                           9519 TIMBER RIDGE DR                                                                             GRAND BLANC        MI    48439‐7380
JUSTIN MONTGOMERY                                 1120 DEN HERTOG ST SW                                                                            WYOMING            MI    49509‐2824
JUSTIN P RATTIGAN                                 50 IVY CIRCLE                                                                                    BRIDGEWATER        MA    02324‐2149
JUSTIN P SCHMITT                                  5008 BRADFORD DR                                                                                 ANNANDALE          VA    22003‐5511
JUSTIN P WEAVER & ANN S WEAVER JT TEN             27 FLORENCE AVE                                                                                  ROCHESTER          NY    14616‐4642
JUSTIN PATRICK HANG & ELEANOR LEE HANG JT TEN     ATTN HAN MAY MEAT COMPANY              94 BAYARD ST                                              NEW YORK           NY    10013‐4460

JUSTIN R LABRIE                                   372 FORDCROFT DR                                                                                 ROCHESTER HILLS    MI    48309‐1145
JUSTIN R LANG                                     7006 RIDGE DR                                                                                    ALEXANDRIA         VA    22306‐1441
JUSTIN R SHIRLEY                                  2213 W MARKET ST                                                                                 YORK               PA    17404
JUSTIN REILLY CLARK & KELLY ANN CLARK JT TEN      140 WEBSTER HILL BLVD                                                                            WEST HARTFORD      CT    06107
JUSTIN S KAHN & MITZI M KAHN JT TEN               PO BOX 30791                                                                                     CHARLESTON         SC    29417‐0791
JUSTIN SAATHOFF                                   3271 E 950 S                                                                                     FAIRMOUNT          IN    46928‐9309
JUSTIN SKAGGS                                     1603 ROSEWOOD LN.                                                                                HANFORD            CA    93230
JUSTIN SMITH & MISTY SMITH JT TEN                 6 SUMMIT DR                                                                                      AURORA             IN    47001
JUSTIN STEUART GDN LIAM STEUART                   8A LINDEN ST                           LYNFIELD             AUCKLAND          1041 NEW ZEALAND
JUSTIN STONE                                      820 HANOVER RD                                                                                   GETTYSBURG         PA    17325
JUSTIN THIVIERGE                                  6701 CHAMBERS LN                                                                                 SUFFOLK            VA    23435‐3083
JUSTIN TRUBENBACH                                 4 DELL LANE                                                                                      BERKLEY JHEIGHTS   NJ    07922‐1831
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 462 of 855
Name                                            Address1                              Address2             Address3          Address4               City              State Zip

JUSTIN V SCOTT                                  7244 IVY DR                                                                                         NEOSHO            MO    64850‐7286
JUSTIN V SCOTT & MARGARET T SCOTT JT TEN        7244 INY DR                                                                                         NEOSHO            MO    64850‐9640
JUSTIN WALKER & NICOLE WALKER JT TEN            8412 CEDAR FALLS COURT                                                                              SPRINGFIELD       VA    22153
JUSTIN WHITE                                    546 LEROY ST                                                                                        FERNDALE          MI    48220‐1894
JUSTIN Y LAWLOR & JAMES J LAWLOR SR JT TEN      613 SW GENTRY LN                                                                                    LEES SUMMIT       MO    64081‐3845
JUSTINA BUSCHHOFF CUST JASON L BUSCHHOFF UGMA   100 MANHATTAN AVENUE                  APT 605                                                       UNION CITY        NJ    07087‐5227
NJ
JUSTINA C HESS                                  8 JANICE LANE                                                                                       HAMPTON BAYS      NY    11946‐2404
JUSTINA T GREEN                                 1205 KARL DR S W                                                                                    WARREN            OH    44485‐4131
JUSTINE C GANE                                  6790 EMILY CT                                                                                       WESTLAND          MI    48185‐2813
JUSTINE CASEY                                   38 DAILEY AVE                                                                                       N EASTON          MA    02356‐2012
JUSTINE D AGUIAR                                5813 CYNTHIA DR                                                                                     METAIRIE          LA    70003‐3835
JUSTINE D DEMYAN & HELEN BIGGANS JT TEN         914 CLARENCE ROAD                                                                                   CLARENCE          PA    16829‐8103
JUSTINE H OATES                                 32 JUDSON CIR                                                                                       HUNTINGTON        CT    06484‐4611
JUSTINE HELEN OLEARY                            2315 OAKWOOD AVE NE                                                                                 GRAND RAPIDS      MI    49505‐4121
JUSTINE HOFFMAN                                 3315 BARDSHAR RD                                                                                    SANDUSKY          OH    44870‐9632
JUSTINE HOLME                                   563 CANON VIEW TRAIL                                                                                TOPANGA           CA    90290‐3802
JUSTINE JUAREZ                                  18 GLENWOOD ST                                                                                      NORTH ANDOVER     MA    01845‐4129
JUSTINE L DENNEY                                605 HERMITAGE DR                                                                                    FLORENCE          AL    35630‐3658
JUSTINE LEDBETTER                               1623 EMMONS AV                                                                                      DAYTON            OH    45410‐3316
JUSTINE M SPETZ                                 32 QUENTIN RD                                                                                       ROCHESTER         NY    14609‐7804
JUSTINE R HUTTO                                 RT 2 BOX 226                                                                                        DENMARK           SC    29042‐9661
JUSTINE SEALES                                  5034 N MCKINLEY ROAD                  APT A13              FLESHING                                 FLUSHING          MI    48433
JUSTINE WESNAK & ANDREW WESNAK & MICHAEL        5314 WAGON WHEEL DRIVE                                                                              SCHNECKSVILLE     PA    18078‐2974
WESNAK & PAUL J WESNAK JT TEN
JUSTO ACOSTA                                    7933 TEESDALE AVE                                                                                   NORTH             CA    91605‐2145
                                                                                                                                                    HOLLYWOOD
JUSTO C DELRIO                                  5322 MILLFIELD RD                                                                                   ROSEDALE          MD    21237‐4931
JUSTO J CAMPOS                                  1933 NW 15TH TER                                                                                    CAPE CORAL        FL    33993‐5810
JUSTO MALDONADO                                 HC 20 BOX 29044                       SAN LORENZO                            754 PUERTO RICO
JUSTO RESENDEZ                                  2050 ROYAL OAK AVE                                                                                  DEFIANCE          OH    43512‐3526
                                                                                                                                                    JUNCTION
JUSTUS BARGER                                   1895 STUMPY LANE                                                                                    GOSHEN            OH    45122‐9710
JUSTUS R WILHELM                                17098 RD 168                                                                                        PAULDING          OH    45879‐9060
JUSUF SADIK                                     8491 GULL RD                                                                                        RICHLAND          MI    49083‐9711
JUTTA G DRECHSLER                               23 IMPERIAL DR                                                                                      AMHERST           NY    14226‐1532
JUTUAN E BROWN                                  1300 E LAFAYETTE ST 1910                                                                            DETROIT           MI    48207‐2923
JUVENTINO DELAGARZA & VIRGINIA C DELAGARZA JT   1771 W PEET RD                                                                                      MONTROSE          MI    48457‐9331
TEN
JUVENTINO GUAJARDO                              1032 MARCIA S W                                                                                     WYOMING           MI    49509‐3908
JWC LIMITED PARTNERSHIP                         6266 SE QUITO RD                                                                                    LEON              KS    67074‐8134
JYLL R HUNT                                     45 CAMBRIDGE CT                                                                                     ANDERSON          IN    46012‐3905
JYOTI CHOUDHARI‐RAIKAR & AJAY RAIKAR JT TEN     19170 ISMAY PATH                                                                                    LAKEVILLE         MN    55044‐2500
JYOTSNA PATEL & DEVANG PATEL JT TEN             1217 CHARTER ST                                                                                     PISCATAWAY        NJ    08854‐3309
K A BERTOLASIO                                  47275 WARE ROAD                                                                                     EAST LIVERPOOL    OH    43920‐9727
K A DAHMEN                                      1501 BEACHCOMBER DRIVE                                                                              SEAL BEACH        CA    90740‐5735
K A DONNELLY                                    43 NORTH SHORE ST                                                                                   KEANSBURG         NJ    07734‐1347
K A KITTLE                                      HC 50 BOX 4776                                                                                      RED LODGE         MT    59068‐9723
K A LAWSON                                      17577 PARKSIDE                                                                                      DETROIT           MI    48221‐2716
K ANGELINI                                      2200 WORLD PARKWAY BLVD               APT 22                                                        CLEARWATER        FL    33765‐5142
K ANITA MCCLUNG                                 6506 CLEVELAND AVE                                                                                  BALTIMORE         MD    21222‐4014
K B COULTER                                     525 COUNTY ROUTE 46                                                                                 MASSENA           NY    13662‐3317
K B COULTER                                     525 COUNTY ROUTE 46                                                                                 MASSENA           NY    13662‐3317
K C BELTON                                      3208 HOME ST                                                                                        FLINT             MI    48505
K C CHU                                         RM 4B BLD #1 LONGBAI SVC APT          2461 HONGQIAO ROAD   SHANGHAI CHINA2   CHINA (PEOPLE'S REP)
K C HARRIS                                      27715 KINGSGATE WAY APT 1                                                                           FARMINGTON HILL   MI    48335‐3673

K C ROBBIE CUST JASON P ROBBIE UTMA CO          1780 REDWOOD AVE                                                                                    BOULDER           CO    80304‐1119
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 463 of 855
Name                                             Address1                                Address2                 Address3      Address4           City              State Zip

K D ZUKERMAN CUST ALEXANDRA W ZUKERMAN UTMA      C/O M E ZUKERMAN & CO INC               450 PARK AVENUE 6TH FL                                    NEW YORK          NY    10022‐2751
NY
K E MOREHEAD AUTO CO INC                         PO BOX 447                                                                                        FALLS CITY        NE    68355‐0447
K EDWIN SULLIVAN                                 ATTN LEE SULLIVAN                       2000 WOODLANDAVE                                          SYLVAN LAKE       MI    48320‐1568
K ELAINE ZINN & GREGG A ZINN TEN ENT             R R 5 BOX 2378                                                                                    ALTOONA           PA    16601‐9805
K ERIC PRYZMA                                    6662 BEAVERLODGE                                                                                  MEMPHIS           TN    38141‐1212
K EVE EAGAN                                      315 RICES MILL ROAD                                                                               WYNCOTE           PA    19095‐1706
K G BLACKBURN                                    8607 DELAWARE CT                                                                                  AUSTIN            TX    78758‐7422
K GAY LENTZ                                      41882 BROOKVIEW LN                                                                                CLINTON TWP       MI    48038‐2120
K GENEVIEVE LENTZ & STEVEN R LENTZ JT TEN        7324 MAYWOOD                                                                                      KANSAS CITY       MO    64133‐6738
K GILBERT VANZANDT & BARBARA J VANZANDT JT TEN   21531 GLENDALE AVE                                                                                PORT CHARLOTTE    FL    33952‐4416

K GREGORY GEYER                                  1143 KINGS WAY                                                                                    NOKOMIS           FL    34275
K GREGORY GEYER CUST ANDREW K GEYER UTMA FL      1143 KINGS WAY                                                                                    NOKOMIS           FL    34275

K H MACDONALD JR                                 44 WEST HANNUM BLVD                                                                               SAGINAW           MI    48602‐1949
K H PRATT                                        17255 BUTTONWOOD                                                                                  FOUNTAIN VALLEY   CA    92708‐3508

K J DA'VALL                                      C/O SANDRA AGNEW                        PO BOX 516                                                LINDSAY           CA    93247‐0516
K J MASSEY                                       1273 CARTER DR                                                                                    FLINT             MI    48532‐2715
K J MITCHELL                                     632 RIDGEVIEW                                                                                     LILBURN           GA    30047‐2229
K KELLEY TORR & CECELIA H TORR JT TEN            64 WAKEFIELD ST                                                                                   ROCHESTER         NH    03867‐1921
K L BARLOW                                       518 RIDGEWAY STREET                                                                               GREENSBURG        PA    15601‐3417
K L JENKINS JR                                   316 BRICE STREET                                                                                  KINGS MOUNTAIN    NC    28086‐2305

K L JORDAN                                       G 3274                                  WEST PIERSON RD                                           FLINT             MI    48504
K L LAGOLA                                       41 MEADOW DR                                                                                      MIDDLETOWN        DE    19709‐4103
K L WOOLFORD                                     4114 NIAGARA ST                                                                                   WAYNE             MI    48184‐2259
K M HEMPTON                                      400 MAIN ST 107‐5                                                                                 EAST HARTFORD     CT    06108‐0968
K M JACKSON                                      6 NORTH PARADE CIRCLE                                                                             BUFFALO           NY    14211
K M MAR                                          2230 SARA WAY                                                                                     CARLSBAD          CA    92008‐2779
K MARK TAKAI                                     98‐524 KILIOHU LOOP                                                                               AIEA              HI    96701‐2150
K MARY HROVATICH & PAUL J ILENICH JT TEN         3730 SANDY CREEK DRIVE                                                                            SHELBY TOWNSHIP   MI    48316‐3961

K MAUDENA LIPTRAP TR K MAUDENA LIPTRAP           1555 N MAIN ST                                                                                    FRANKFORT         IN    46041‐1167
REVOCABLE TRUST UA 10/02/97
K PATRICIA DUNNE                                 34 FARNHAM ST                                                                                     CAZENOVIA         NY    13035‐1114
K PATRICIA DUNNE                                 34 FARNHAM ST                                                                                     CAZENONIA         NY    13035‐1114
K PETER HOEHNE & MRS THERESA E HOEHNE JT TEN     418 W SCHOOL HOUSE LANE                                                                           PHILADELPHIA      PA    19144‐4506

K R BARTZ                                        13128 WARREN AVE                                                                                  LOS ANGELES       CA    90066‐1749
K R KERRY                                        20691 VIA VIENTO                                                                                  YORBA LINDA       CA    92886‐3130
K R SHAFFER                                      422 EAST FIFTH AVENUE                                                                             ROSELLE           NJ    07203‐1431
K ROBERT DUNN                                    2 MCINTOSH                                                                                        NOVATO            CA    94947
K ROBERT DUNN                                    2 MCINTOSH CT                                                                                     NOVATO            CA    94949‐6630
K RODNEY CARROLL                                 905 W MC KELVEY ROAD                                                                              CINCINNATI        OH    45231‐2535
K RONALD BAILEY                                  121 SYCAMORE DR                                                                                   NORWALK           OH    44857‐1914
K S JUDSON & NANCY C JUDSON TR JUDSON LIVING     2511 CARTWRIGHT RD                                                                                RENO              NV    89511
TRUST UA 05/29/02
K SCOTT FISCHER                                  1 HARDING LANE                                                                                    RUMSON            NJ    07760‐1064
K T SHENG                                        3756 WAYNOKA AVE                                                                                  MEMPHIS           TN    38111‐6921
K WAYNETTE SWARTHOUT                             240 S E 10 AVE                                                                                    POMPANO BEACH     FL    33060‐7311
K WILBERT YAKEL                                  716 GROEN LN                                                                                      SCHAUMBURG        IL    60193‐3029
K WILLIAM BEACH MFG CO                           4655 URBANA RD                                                                                    SPRINGFIELD       OH    45502‐9503
KA KI LAI                                        7B BLOCK 2 CHEERFUL GARDEN              SIU SAI WAN              CHAI WAN      HONG KONG, CHINA
KA WO LAM                                        311 RIVIERA DRIVE SOUTH                                                                           MASSAPEQUA        NY    11758‐8521
KA YUN                                           19 EYER DR                              MARKHAM ON                             L6C 1S4 CANADA
KA‐SING WONG                                     7296 URSHAN WAY                                                                                   SAN JOSE          CA    95138‐1917
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 464 of 855
Name                                           Address1                             Address2             Address3          Address4                 City             State Zip

KAARE ALBERT HODNEMYR & MRS ANNE‐MARIE BERT ADV RUGLAND                             4500 MANDAL                            NORWAY
HODNEMYR JT TEN
KAAREN GRAY                                     400 EAST 57TH ST                                                                                    NEW YORK         NY    10022‐3019
KAARI M WICKLUND                                3220 CORNELL AVE                                                                                    DALLAS           TX    75205
KACEY C RYAN CUST KELLY M RYAN UGMA NY          22 HAWTHORNE ST                                                                                     LONGMEADOW       MA    01106‐1939
KACY ANNE COUPE                                 37 THE AVENUE                       ALWOODLEY LEEDS                        LS17 7BD GREAT BRITAIN
KADELL R CARTER                                 2890 LIVISTA RD                                                                                     DE CATUR         GA    30033‐1320
KADIL BIBBS                                     4523 SEMINOLE                                                                                       DETROIT          MI    48214‐1197
KADIR I NATHO                                   677 MADISON AVE                                                                                     NEW YORK         NY    10021‐8045
KAE E KONEN                                     ATTN KAE KONEN JONSONS              1801 N SWINTON AVE                                              DELRAY BEACH     FL    33444‐3142
KAE P DUBEL & EUGENE J DUBEL JT TEN             3317 WEYGANT DR                                                                                     ROCHESTER        MI    48306‐1264
KAE S KO                                        18120 ANDREA CIR S UNIT 2                                                                           NORTHRIDGE       CA    91325‐1146
KAELA DUFFY SEGERSON                            895 HUNTER RIDGE                                                                                    FAIRLAWN         OH    44333‐3275
KAELON SPARKS                                   6408 2ND AVE WEST                                                                                   BRADENTON        FL    34209‐2341
KAETHE DE LA GARZA                              2008 ELIZABETH ST                                                                                   JANESVILLE       WI    53545‐2708
KAETHE PFLANZ                                   20825 PINEHURST GREENS DR                                                                           ESTERO           FL    33928
KAHLER B SCHUEMANN                              1219 SHORT RD                                                                                       KALAMAZOO        MI    49008‐1366
KAHN LORTSCHER CUST JANET E LORTSCHER UNDER THE ATTN J L BEAHM                      3 HILLINGDON                                                    SAN ANTONIO      TX    78209‐8311
KANSAS U‐G‐M‐A
KAHNL K WOOD                                    2810 PLUM LEAF CIRCLE                                                                               SAINT CHARLES    MO    63303‐1215
KAHWATY FAMILY LTD PARTNERSHIP /LIMITED         636 NAVAHO TRAIL DR                                                                                 FRANKLIN LAKES   NJ    07417‐2808
PARTNERSHIP/
KAI HSU                                         4771 HADDINGTON DR                                                                                  BLOOMFIELD       MI    48304‐3638
KAI L BALLARD                                   6117 EVERGREEN                                                                                      BERKELEY         MO    63134‐2107
KAI‐NUI S CHOW                                  14358 CORBIN DR                                                                                     CORONA           CA    92880‐3762
KAIJA SIFTAR                                    145 E BROAD ST                      APT 1                                                           BETHLEHEM        PA    18018‐6279
KAISER ASSOCIATES INC                           8150 BRENT ST APT 741                                                                               PORT RICHEY      FL    34668‐6120
KAITLIN K HAYDEN                                6 HAYLOFT CRT                                                                                       WILMINGTON       DE    19808‐1934
KAITLIN KLAUSSEN                                10624 PINE CONE DR                                                                                  TRUCKEE          CA    96161‐3130
KAITLIN L NOBLE                                 12 GREENBRIAR DRIVE                                                                                 FARMINGTON       CT    06032‐1415
KAITLIN M DUFFY                                 36211 N TARA COURT                                                                                  INGLESIDE        IL    60041‐9660
KALAMBAYI T KABASELA                            1201 SHERIDAN ST NW                                                                                 WASHINGTON       DC    20011‐1103
KALEALIL T JOHN                                 3856 FAIRFAX DR                                                                                     TROY             MI    48083‐6409
KALEB J CASE                                    N 5500 RIVER RD                                                                                     MARINETTE        WI    54143
KALEDA W GOUDY                                  11072 E 1000 NORTH                                                                                  SHIRLEY          IN    47384
KALEIGH CHRISTINA HAWKINS                       1145 CAPELLA RIDGE ROAD                                                                             KING             NC    27021‐9026
KALETA GRIFFITH                                 702 S COLLEGE DR                                                                                    TYLER            TX    75701‐1620
KALEVI E KOTKAS                                 294 GRAY ROAD                                                                                       NORTH YARMOUTH   ME    04097‐6019

KALEVI P HAMALAINEN                           8601 STANSBURY AVE                                                                                    PANORAMA CITY    CA    91402‐3212
KALIANTHE VIOTOS                              40 BERKELEY ST                                                                                        PORTLAND         ME    04103‐3117
KALIDAS G SAHETYA                             1406 MT AYRE                                                                                          BOWLING GREEN    KY    42103‐4709
KALINA WONG CUST CAROLYN FELICIA WONG UGMA CA 777 OLD CANYON RD                                                                                     FREMONT          CA    94536‐1729

KALITHEA A EVANGELODIMOS                       5040 SAGE LN                                                                                         SAGINAW          MI    48603‐4431
KALLIOPE G KONDOLEON                           2765 GRETCHEN DR NE                                                                                  WARREN           OH    44483‐2923
KALLIOPE PIKOUNIS & JOHN ROROS JT TEN          1502 CHIVALRY CT                                                                                     BALTO            MD    21237‐1635
KALLIOPI P KARAPETSAS                          431 KENMORE N E                                                                                      WARREN           OH    44483‐5519
KALMAN DOBOS                                   2214 MILES ROAD                                                                                      LAPEER           MI    48446‐8058
KALMAN J KNIZNER                               5529 RICHFIELD RD                                                                                    FLINT            MI    48506‐2242
KALMAN KOKENYESDI                              35817 KINCAID                                                                                        CLINTON TWP      MI    48035‐2372
KALUM MAREK                                    230 NEW COUNTRY                                                                                      AUSTIN           TX    78640
KALVIN E HADLEY                                146 W RUNDELL ST                                                                                     PONTIAC          MI    48342
KALVIN G AVINK                                 5230 STANTON                                                                                         HUDSONVILLE      MI    49426‐9716
KALVIN ZITTERKOB                               1333 SOUTHMINISTER                                                                                   MOORE            OK    73160‐1633
KALYAN SINGH BAGGA CUST AMANDEEP S BAGGA       42222 WATERFALL                                                                                      NORTHVILLE       MI    48167‐2247
KALYANI CHEKURI                                15 W BAR LE DOC DR                                                                                   CRP CHRISTI      TX    78414
KAM WING LEE CHEW & SIDNEY CHEW JT TEN         SOCIETY HILL                         130 CHERRY ST                                                   JERSEY CITY      NJ    07305‐4866
KAM WING LEE CHEW & SIK SHUN CHEW JT TEN       SOCIETY HILL                         130 CHERRY ST                                                   JERSEY CITY      NJ    07305‐4866
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 465 of 855
Name                                           Address1                             Address2                   Address3    Address4          City            State Zip

KAM‐TIN CHAN                                   12533 E PACINO ST                                                                             CERRITOS        CA    90703‐7144
KAMAL BELLEL                                   42 CREEK DR                                                                                   MONTGOMERY      AL    36117‐4100
KAMAL CLARK SHOUKRI                            23 VILLAGE VIEW LN                                                                            UNIONVILLE      CT    06085‐1569
KAMAL M MALEK                                  47 RADCLIFFE RD                                                                               WESTON          MA    02493‐1023
KAMAL SHIV KUMAR CUST SUNJAY S KUMAR UTMA MD   36 WOODBRIDGE AVE                                                                             METUCHEN        NJ    08840

KAMALA MAHADEVAN                               C/O KAMALA MASSARY                   44005 SPLIT PINE LANE                                    CALIFORNIA      MD    20619‐2155
KAMARY LYN DE BOLT                             738 HARTNER DR                                                                                HOLLY           MI    48442‐1271
KAMAU ODINGA & TAMANIKA ODINGA TEN COM         BOX 259                                                                                       LULING          LA    70070‐0259
KAMBIZ KARBASSI & ELIZABETH ANGIER JT TEN      280 WALDEN WAY                                                                                WAKEFIELD       RI    02879‐5140
KAMEHAMEHA K WONG JR                           678 WEST ALEGRIA AVENUE                                                                       SIERRA MADRE    CA    91024‐1002
KAMEKO WHITT                                   28377 RUUS RD                                                                                 HAYWARD         CA    94544‐5714
KAMELA S ELLIOTT                               6539 BELHAVEN COURT                                                                           RCH CUCAMONGA   CA    91701

KAMERON LYNN GRAVES CUST SUSAN LYNN MCCALL     1502 OLD NILES FERRY RD                                                                       MARYVILLE       TN    37803‐3108
UGMA TN
KAMIE OLTZ                                     9701 WRIGHT ROAD                                                                              HARVARD         IL    60033‐9010
KAMMY L BRIGUGLIO                              4935 CENTENNIAL                                                                               SAGINAW         MI    48603‐5621
KAMRAN FATERIOUN                               4575 S HILLVIEW DR                                                                            NEW BERLIN      WI    53146‐3879
KAMRAN ROKHSAZ                                 7402 CEDARIDGE CIR                                                                            WICHITA         KS    67226‐3535
KAMRUL CHISTY                                  21 CORTLAND AVE                                                                               JERICHO         NY    11753‐1505
KANAWAH JOHNSON                                PO BOX 845                                                                                    ASHTABULA       OH    44005‐0845
KANDI D PURINGTON                              7035 33RD ST N                                                                                ST PETERSBURG   FL    33702‐5533
KANDI ELLEN AMELON                             6801 PARK GLENN DR                                                                            LOS ANGELES     CA    90068‐3087
KANDI M CROAK                                  ATTN KANDI GATICA                    4527 E STANLEY PO BOX 29                                 GENESEE         MI    48437‐0029
KANDI MATHEWS                                  7906 SLAYTON SETTLEMENT ROAD                                                                  GASPORT         NY    14067‐9302
KANDIS L BOOKER                                4619 EAST 43RD TERRACE                                                                        KANSAS CITY     MO    64130‐2271
KANDY K BARRY                                  3132 TIPTON WAY                                                                               ABINGDON        MD    21009‐2595
KANE A CAMPBELL                                2571 MARCINSKI RD                                                                             JUPITER         FL    33477‐9414
KANEASTER HODGES JR                            100 PSE RD #1                                                                                 NEWPORT         AR    72112‐4952
KANILI D SHARP                                 103 P ST SW                          #2                                                       WASHINGTON      DC    20024‐3517
KANNAN AYYAR                                   801 SOUTHPORT DR                                                                              REDWOOD CITY    CA    94065‐1779
KANWAL SINGH BAWA                              3126 GRACEFIELD RD                   APT 30286                                                SILVER SPRING   MD    20904
KANYA OKAMOTO                                  1261 ELMWOOD LANE                                                                             DENVER          CO    80221‐3765
KAO XIONG                                      1425 VERMONT AVE                                                                              LANSING         MI    48906‐4960
KAORU OKUBO                                    5275 TURNBERRY PL                                                                             SAN JOSE        CA    95136‐2858
KAORU T KAVALUSKY                              663 FULTON ST                                                                                 CONSHOHOCKEN    PA    19428‐1005
KAORU TAMURA TR KAORU TAMURA TRUST UA          591 AKOLEA ST                                                                                 WAILUKU         HI    96793‐2902
09/25/89
KAP S LEE                                      3314 RUBY CIRCLE CT                                                                           FORT WAYNE      IN    46804‐9206
KAPIOLANI K BRUHN MA & WALLACE MA JT TEN       727 20TH AVE                                                                                  HONOLULU        HI    96816‐4526
KAPUS G ROOKS                                  3034 CADILLAC                                                                                 DETROIT         MI    48214‐2172
KAR MING CHEUNG & ODETTE DOROTHY CHEUNG JT     16914 BERENDO AVE                                                                             GARDENA         CA    90247‐5516
TEN
KAR‐WING HO                                    1919 ALAMEDA DE LAS PULGAS #35                                                                SAN MATEO       CA    94403‐1273
KARA ELEVINS DEMARCO                           3008 NE BUEL DR                                                                               MCMINNVILLE     OR    97128‐9114
KARA J MARTALOCK                               7025 E RYAN RD                                                                                MILTON          WI    53563‐9359
KARA LYN YEARTY                                5972 TRIPHAMMER RD                                                                            LAKE WORTH      FL    33463‐1551
KARA M ANDERSON                                PO BOX 38508                                                                                  PHOENIX         AZ    85069‐8508
KARA M LADOMER                                 1315 WRENWOOD DRIVE                                                                           TROY            MI    48084
KARA M PETILLO                                 1508 E 8TH AVE                       APT 9                                                    DENVER          CO    80218‐3531
KARA MAURO EST JUDITH WELCH                    21 NINHAM AVE                                                                                 WAPPINGERS FL   NY    12590
KARA SMITH CUST NICHOLAS D SMITH UTMA MA       3 GOLDENROD CT                                                                                SOUTH GRAFTON   MA    01560‐1036
KARA SMITH CUST RYAN M SMITH UTMA MA           3 GOLDENROD CT                                                                                SOUTH GRAFTON   MA    01560‐1036
KARAEN CAMPBELL                                262 ACADIA DRIVE                     OSHAWA ON                              L1G 1Y1 CANADA
KARAM FARID NASSAR                             8150 MC CANDLISH RD                                                                           GRAND BLANC     MI    48439‐7411
KARAN A GOLER                                  10672 MEUSE ST                                                                                DETROIT         MI    48224‐1952
KARE M KRAGAS TR KRAGAS TRUST UA 06/11/96      226 TALMADGE DRIVE                                                                            SPARTANBURG     SC    29307‐3115
KAREEM BROWN                                   609 COLUMBUS AVE APT 10J                                                                      NEW YORK        NY    10024
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 466 of 855
Name                                            Address1                                Address2                 Address3      Address4          City             State Zip

KAREL F TABORSKY                                2311 CUMBERLAND                                                                                  LANSING          MI    48906‐3724
KAREL G PHILPOTT                                3303 SABAL COVE CIRCLE                                                                           LONGBOAT KEY     FL    34228‐4153
KAREL JO ROCK                                   C/O KAREL ROCK RIEDEL                   5948 W HARRISON ST                                       CHANDLER         AZ    85226‐1899
KAREL KUMERMAN                                  35 CHERRY HILL ROAD                                                                              STRATFORD        CT    06614‐1920
KAREL R SLATMYER III                            5243 BONTE DRIVE                                                                                 KALAMAZOO        MI    49002‐2011
KARELE MARESH WATTS                             326 CAPE MAY                                                                                     CORPUS CHRISTI   TX    78412‐2638
KARELN K BULLOCK                                BOX 8                                                                                            GRANT            NE    69140‐0008
KAREN A ALCOTT                                  3108 DARTING BIRD LN                                                                             BALDWINSVILLE    NY    13027‐1507
KAREN A ALIBER                                  3816 NEWPORT WAY DR                                                                              WATERFORD        MI    48329‐4286
KAREN A ALIBER & THOMAS W ALIBER JT TEN         3816 NEWPORT WAY DR                                                                              WATERFORD        MI    48329‐4286
KAREN A ANTHONY                                 1119 4TH ST                                                                                      PORT ORANGE      FL    32129‐3215
KAREN A BAIRD                                   845 FOXWOOD DRIVE                       APT 5                                                    LEWISTON         NY    14092
KAREN A BARBA                                   31 HUNT WY                                                                                       CAMPBELL         CA    95008‐2710
KAREN A BEAN                                    2901 NE 39TH ST                                                                                  LIGHTHOUSE PT    FL    33064‐8445
KAREN A BEDNARCZYK                              428 CHILDERS STREET                     PMB 11476                                                PENSACOLA        FL    32534‐9630
KAREN A BEEBE                                   10517 VILLAGE CT                                                                                 GRAND BLANC      MI    48439‐9464
KAREN A BENTLEY                                 1347 E JONES RD                                                                                  HOWELL           MI    48855‐9210
KAREN A BETZ                                    13240 IRISH RD                                                                                   MILLINGTON       MI    48746‐9222
KAREN A BLUNDEN                                 7351 FOX HILLS LANE                                                                              NORTHVILLE       MI    48167‐9538
KAREN A BOLL CUST CAITLIN E BOLL UTMA MI        120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOLL CUST CHRISTOPHER R BOLL UTMA MI    120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021

KAREN A BOLL CUST EGAN M BOLL UTMA MI           120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOLL CUST FORREST H BOLL UTMA MI        120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOLL CUST HARRISON R BOLL UTMA MI       120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOLL CUST KERSTY V BOLL UTMA MI         120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOLL CUST LIAM M BOLL UTMA MI           120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOLL CUST QUENTIN R BOLL UTMA MI        120 MAYFAIR RD                                                                                   MOORESVILLE      NC    28117‐6021
KAREN A BOWEN                                   9 OLD KEENE RD                                                                                   GILSUM           NH    03448‐7612
KAREN A BRIDGES TR KAREN A BRIDGES TRUST UA     3159 FIJI LN                                                                                     ALAMEDA          CA    94502‐6916
07/11/92
KAREN A CASTINO                                 729 HUNT CLUB TRL                                                                                PORT ORANGE      FL    32127‐7796
KAREN A COCO                                    2615 SALEM DRIVE MONTCLARE                                                                       WILMINGTON       DE    19808
KAREN A COHEN                                   436 NEW BOSTON STREET                                                                            CANASTOTA        NY    13032‐1046
KAREN A COLL                                    3900 BYRNWYCKE DRIVE                                                                             BUFORD           GA    30519‐3994
KAREN A COOK                                    ATTN KAREN A KAY                        808 DOGWOOD                                              WACO             TX    76706‐5229
KAREN A COOPER                                  2302 QUATMAN AVE                                                                                 CINCINNATI       OH    45212‐1213
KAREN A CROCETTI                                415 CHAMBERS STREET                                                                              TRENTON          NJ    08609‐2605
KAREN A CRUSE                                   6465 GRAND BLANC RD                                                                              SWARTZ CREEK     MI    48473‐9403
KAREN A CURTISS                                 15421 OAK RIDGE DRIVE                                                                            SPRING LAKE      MI    49456‐2195
KAREN A DRAPER & DUNCAN G DRAPER JT TEN         29420 OAK DRIVE                                                                                  STEAMBOAT SPR    CO    80487
KAREN A DZIERWA                                 15733 HARRISON                                                                                   ALLEN PARK       MI    48101‐2021
KAREN A EDWARDS                                 2324 GOLD KEY ES                                                                                 MILFORD          PA    18337‐9787
KAREN A EVANKO                                  200 PENNINGTON HARBOURTON ROAD                                                                   PENNINGTON       NJ    08534‐1419
KAREN A FACKLER                                 25434 FRANKLIN TERRACE                                                                           SOUTH LYON       MI    48178
KAREN A FITZPATRICK                             ATTN KAREN RUSHMEIER                    800 FORSYTH ST                                           BOCA RATON       FL    33487‐3206
KAREN A FLETCHER & ALBERT D FLETCHER JT TEN     401 N BENTLEY                                                                                    NILES            OH    44446‐5207
KAREN A FLYNN CUST JOHN F FLYNN JR UGMA NY      19 NOTTINGHAM RD                                                                                 SPARROWBUSH      NY    12780‐5508
KAREN A GALDUN                                  1049 TOWNSHIP ROAD 251                                                                           POLK             OH    44866‐9726
KAREN A GARVEY                                  601 HILLSIDE AVENUE                                                                              ELMHURST         IL    60126‐4245
KAREN A GAWLE                                   ATTN KAREN G BOROW                      28 W 250 FLANDERS LANE                                   WINFIELD         IL    60190‐1713
KAREN A GENGLE                                  9151 W WATSON LN                                                                                 PEORIA           AZ    85381‐2701
KAREN A GLOGOWSKI                               1070 10TH ST                                                                                     WYANDOTTE        MI    48192‐2812
KAREN A GRIFFIN & ROBERT S GRIFFIN JT TEN       1723 CARAQUET DRIVE                                                                              SPRING           TX    77386
KAREN A HALL                                    1004 DOVER RD                                                                                    CLARKSVILLE      TN    37042‐6014
KAREN A HANNAN                                  12 WOODBRIDGE CIR                                                                                HORSHAM          PA    19044‐1117
KAREN A HANSEN                                  42271 TROTWOOD COURT                                                                             CANTON           MI    48187‐3639
KAREN A HANSEN & N GORDON HANSEN JT TEN         42271 TROTWOOD COURT                                                                             CANTON           MI    48187‐3639
KAREN A HARBRUCKER                              53240 PINERIDGE DR                                                                               CHESTERFIELD     MI    48051‐2746
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 467 of 855
Name                                               Address1                                Address2               Address3        Address4          City              State Zip

KAREN A HORDYK                                     10915 56TH AVE                                                                                   ALLENDALE         MI    49401‐8353
KAREN A HOUSE LONG                                 3606 IOWA AVE                                                                                    SAINT LOUIS       MO    63118‐3818
KAREN A HULL                                       1212 SW 21ST ST                                                                                  BLUE SPRINGS      MO    64015‐4728
KAREN A HUTCHISON                                  3901 MIDNIGHT PATH                                                                               SAGINAW           MI    48603‐8504
KAREN A JOHNSON & TERRY J JOHNSON JT TEN           45870 PORTSVILLE DR                                                                              MACOMB            MI    48044‐5710
KAREN A JORDAN                                     ATTN KAREN A REED                       24015 JANSSEN CT                                         HAYWARD           CA    94541‐6747
KAREN A JUDSON CUST HANNAH R JUDSON UTMA OH        6409 SOUTHINGTON DR                                                                              PARMA             OH    44129‐5142

KAREN A KEEN                                       244 PARKLANDS DR                                                                                 ROCHESTER         NY    14616‐2054
KAREN A KEITH                                      117 HUDSON ROAD                                                                                  NEW FLORENCE      MO    63363‐2504
KAREN A KOBELAN                                    1677 DENNETT LANE                                                                                ROCHESTER HILLS   MI    48307‐3333
KAREN A KOLUNCICH                                  7139 ARMSTRONG RD                                                                                GOLETA            CA    93117‐2920
KAREN A KROL                                       1463 SCHOONER CV                                                                                 HIGHLAND          MI    48356‐2259
KAREN A KUHN                                       2218 CYPRESS CROSS LOOP                                                                          LAKELAND          FL    33810‐2390
KAREN A KUZBYT                                     22 VIA ONAGRO                                                                                    RCHO STA          CA    92688‐4104
                                                                                                                                                    MARGARITA
KAREN A LEWIS BYRD                                 200 JASPER HIGHWAY 15                                                                            LAUREL            MS    39443‐8807
KAREN A LUEBBERT & MICHAEL L LUEBBERT JT TEN       352 HIGHWAY V                                                                                    TROY              MO    63379‐5082

KAREN A MADDOCK                                    309 WOODVIEW PL                                                                                  MANCHESTER        MI    48158‐8588
KAREN A MALBERG                                    10809 BEARTOOTH DRIVE                                                                            CHEYENNE          WY    82009‐9662
KAREN A MAY                                        75 ROCKY BROOK WAY                                                                               WAKEFIELD         RI    02879‐8120
KAREN A MCCALLUM                                   1463 PONDVIEW DR                                                                                 DAVISON           MI    48423‐7820
KAREN A MIKITA                                     13 PALMER DR                                                                                     CAMP HILL         PA    17011‐7924
KAREN A MILLER TR KAREN A MILLER LIVING TRUST UA   12423 WILLOWAY CT                                                                                PLYMOUTH          MI    48170‐6913
03/24/04
KAREN A MINZEY                                     7185 BRYANT ROAD                                                                                 MORENCI           MI    49256‐9543
KAREN A MOORE                                      200 RIVERFRONT DRIVE #21‐B                                                                       DETROIT           MI    48226‐4525
KAREN A NOWORYTA                                   20114 58TH AVE E                                                                                 SPANAWAY          WA    98387‐5768
KAREN A OLES                                       421 W EDGEWOOD DR                                                                                DANVILLE          IN    46122‐9266
KAREN A PAONESSA                                   ATTN KAREN A CAMERON                    25698 ARCADIA DR                                         NOVI              MI    48374‐2441
KAREN A PEAKE                                      75 WHITEHOUSE DR                                                                                 ROCHESTER         NY    14616‐5341
KAREN A PHILLIPS                                   1206 CHEMUNG DRIVE                                                                               HOWELL            MI    48843‐9182
KAREN A PINCO                                      5 COACHMAN LN                                                                                    WOODBRIDGE        CT    06525‐1109
KAREN A PINJUH CUST MICHAEL V PINJUH UTMA          5476 WILDWOOD COURT APT C                                                                        WILLOUGHBY        OH    44094‐3261
KAREN A POLMEAR                                    C/O KAREN A SWAIM                       3700 SO WESTPORT AVE   PMB 2490                          SIOUX FALLS       SD    57106‐6344
KAREN A POPCHOCK                                   16776 LYONHURST CI 94                                                                            NORTHVILLE        MI    48167‐4417
KAREN A REITMAN                                    1219 GLENRIDGE PL NE                                                                             ATLANTA           GA    30342‐5009
KAREN A REYNOLDS                                   P O BOX 691                                                                                      CATAUMET          MA    02534
KAREN A RINKE                                      164 S MAIN ST                                                                                    CUSTER            MI    49405
KAREN A ROWLEY CUST JIM JOHN ROWLEY UGMA NY        211 SUNSET TER                                                                                   ORCHARD PARK      NY    14127‐2522

KAREN A RURY                                       550 LEMMON PO BOX 122                                                                            S WILMINGTON      IL    60474‐0122
KAREN A RYBA                                       3145 MEDINA LINE ROAD                                                                            RICHFIELD         OH    44286‐9583
KAREN A SABATOWSKI                                 51304 FORSTER LN                                                                                 SHELBY TOWNSHIP   MI    48316‐3877

KAREN A SAUNDERS                                   6585 PENTECOST HWY                                                                               ADRIAN            MI    49221‐9124
KAREN A SCALIA                                     9146 GRIFFON AVE                                                                                 NIAGARA FALLS     NY    14304‐4428
KAREN A SCHAEFER & DIANE L BENDER JT TEN           1163 MEADOWLARK DR                                                                               WATERFORD         MI    48327‐2956
KAREN A SCHREITMUELLER                             16695 FIELDSTONE RIDGE                                                                           MACOMB            MI    48042‐1114
KAREN A SIMA                                       1522 STEPNEY ST                                                                                  NILES             OH    44446‐3738
KAREN A SLOCUM                                     30600 HARPER AVE                                                                                 ST CLR SHORES     MI    48082‐1540
KAREN A SMALLRIDGE & PAUL W SAMLLRIDGE JT TEN      30 PRIMROSE LN                                                                                   GREENVILLE        SC    29607

KAREN A SMART                                      13 IDA STREET                                                                                    SAYREVILLE        NJ    08872‐1157
KAREN A SMITH                                      741 MORGAN WAY                                                                                   GREENWOOD         IN    46143‐7415
KAREN A SOLLENBERGER                               3285 FORSYTHIA                                                                                   COLUMBUS          IN    47203‐2931
KAREN A SOMMA                                      APT 1‐R                                 9468 RIDGE BLVD                                          BROOKLYN          NY    11209‐6731
KAREN A ST ONGE                                    6 WILLIAMS ST                                                                                    MORRISVILLE       NY    13408
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 468 of 855
Name                                             Address1                                Address2              Address3         Address4          City             State Zip

KAREN A STACHURA                                 41719 BEDFORD DR #BLDG‐20                                                                        CANTON           MI    48187‐3705
KAREN A SZCZERBATY                               815 72ND AVE N                                                                                   ST PETERSBURG    FL    33702‐5815
KAREN A TAMBORNINI                               6236 ATKINS ROAD                                                                                 TROY             MI    48085‐1442
KAREN A TILLACK                                  4616 VENICE HTS BLVD #175                                                                        SANDUSKY         OH    44870‐1679
KAREN A TOMPKINS                                 2051 STONEYBROOK LANE                                                                            TEMPERANCE       MI    48182‐9466
KAREN A TUCCIO                                   218 MILLFORD XING                                                                                PENFIELD         NY    14526‐1159
KAREN A VANDERBURGH CUST JOSEPH MICHAEL          170 ARCADIA PKWY                                                                                 ROCHESTER        NY    14612‐3844
VANDERBURGH UGMA NY
KAREN A VANDERBURGH CUST KIMBERLY A              170 ARCADIA PARKWAY                                                                              ROCHESTER        NY    14612‐3844
VANDERBURGH UGMA NY
KAREN A VANDERBURGH CUST MATTHEW M               170 ARCADIA PARKWAY                                                                              ROCHESTER        NY    14612‐3844
VANDERBURGH UGMA NY
KAREN A VANDERMARK                               7024 WEIRTON PLACE                                                                               CHARLOTTE        NC    28226‐9508
KAREN A VENTIMIGLIA                              880 GRAVEL RD                                                                                    WEBSTER          NY    14580‐1718
KAREN A VIVIAN                                   603 SE 8TH PL                                                                                    CAPE CORAL       FL    33990‐1225
KAREN A WAITE                                    ATTN KAREN A CONWAY                     3112 N VOLZ DR W                                         ARLINGTON        IL    60004‐1644
                                                                                                                                                  HEIGHTS
KAREN A WALKER                                   8400 HERBERT CRT                                                                                 SAGINAW          MI    48609‐9400
KAREN A WARRINER                                 260 WILLIAM DURFEE DR                                                                            EATON RAPIDS     MI    48827‐9594
KAREN A ZASADNY                                  2229 KENMORE AV                                                                                  CHARLOTTE        NC    28204
KAREN A ZEBROWSKI & IRENE M MASLANIK JT TEN      733 RAVENWOOD DR                                                                                 SMITHVILLE       NJ    08201‐3117

KAREN A ZIMMERMAN                                5616 SHADYHOLLOW LANE                                                                            CINCINNATI       OH    45230‐5124
KAREN ABRAHAM EX EST JOSEPH ABRAHAM              6200 KING ARTHUR DR                                                                              SWARTZ CREEK     MI    48473‐8808
KAREN AIKEN RYLEE                                5258 CAPE RD                                                                                     GILLSVILLE       GA    30543‐2005
KAREN ALAYNE JONES                               2513 COTTAGE COVE DRIVE                                                                          RICHMOND         VA    23233‐3385
KAREN ALBERTUZZI                                 24518 77TH CRES                                                                                  BELLEROSE        NY    11426‐1865
KAREN ALEXANDER                                  517 RIVER MILL RD                                                                                JERSEY SHORE     PA    17740
KAREN ANN BARELA CUST CHEL‐MARIE BARELA UGMA     C/O KAREN ANN BRUBAKER                  316 CUADRO SE                                            ALBUQUERQUE      NM    87123
NM
KAREN ANN BARELA CUST HEIDI N BARELA UGMA NM     C/O KAREN ANN BRUBAKER                  316 CUADRO SE                                            ALBUQUERQUE      NM    87123

KAREN ANN BARTELS                                954 ROSEWOOD                                                                                     JENISON          MI    49428‐9234
KAREN ANN BORA                                   2428 W HUTCHINSON                                                                                CHICAGO          IL    60618‐2810
KAREN ANN BRANHAM                                12 OAK CIRCLE DR                                                                                 PARKERSBURG      WV    26101‐9089
KAREN ANN DIAZ & LEO J DIAZ JT TEN               12123 TURKEY RD                                                                                  JACKSONVILLE     FL    32221‐1055
KAREN ANN ENG PICA                               2 FOSTER CROSSING                                                                                EAST QUOGUE      NY    11942‐0124
KAREN ANN FRIDL                                  C/O KAREN A F SCHLATER                  2485 LE FEY COURT                                        BROOKFIELD       WI    53045‐1606
KAREN ANN JOHNSON CUST SARAH ANNE JOHNSON        R D 1 BOX 150A                                                                                   SUSQUEHANNA      PA    18847‐9430
UGMA NJ
KAREN ANN JOHNSON CUST SUSAN ELIZABETH           R D 1 BOX 150A                                                                                   SUSQUEHANNA      PA    18847‐9430
JOHNSON UGMA NJ
KAREN ANN KERSH                                  PSC 45 BOX 1168                                                                                  APO              AE    09468
KAREN ANN LEUTZE                                 C/O KAREN A KROLCZYK                    8698 MURRAY HILL RD                                      BOSTON           NY    14025
KAREN ANN LYNCH                                  217 AIMEE WAY                                                                                    LANOKA HARBOR    NJ    08734‐1729
KAREN ANN RAFTERY CUST TYLER T RAFTERY UTMA CA   C/O TIMOTHY J RAFTERY                   401 BEATRICE ROAD                                        PLEASANT HILL    CA    94523‐3822

KAREN ANN REIS                                   235 N HIGHLAND ST                                                                                ARLINGTON        VA    22201‐1250
KAREN ANN SCHIFFHAUER                            346 EAST WATER STREET                                                                            HUGHESVILLE      PA    17737‐1706
KAREN ANN SPINDLER                               146 SHANNON                                                                                      MERRILL          MI    48637‐8723
KAREN ANN STROMQUIST                             1772 CAMPUS WA                                                                                   LAKE OSWEGO      OR    97034‐6804
KAREN ANN THIBAULT                               44080 DAVIS DR                                                                                   UTICA            MI    48317‐5406
KAREN ANNE CUCCIAS                               1465 ALMADEN VALLEY DR                                                                           SAN JOSE         CA    95120‐3802
KAREN ANNE DILLE                                 7206 STANFORD                                                                                    SAINT LOUSI      MO    63130‐3029
KAREN ANNE HASTINGS                              340 BEECHWOOD RD                                                                                 BERWYN           PA    19312‐1001
KAREN ANNE HOOK                                  3739 DARCUS                                                                                      HOUSTON          TX    77005‐3703
KAREN ANNE KUMMER                                61‐71 70TH ST                                                                                    MIDDLE VILLAGE   NY    11379‐1211
KAREN ANNE O'DONNELL                             6 BENNINGTON ST                                                                                  MELVILLE         NY    11747
KAREN AWRYLO                                     19219 SE 299TH PL                                                                                KENT             WA    98042‐9261
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 469 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

KAREN B BUCKLEW                                2603 DUNDEE CIRCLE                                                                                QUINCY             IL    62305
KAREN B CANBY                                  100 RICHARD ST                                                                                    MARTINSBURG        WV    25401‐9075
KAREN B CRANDALL                               5373 JEB SMITH RD                                                                                 HIDDEN HILLS       CA    91302‐1109
KAREN B DOLAN & GAYLORD W GREENLEE EX UW SAM 30 E BEAU ST SUITE 325                                                                              WASHINGTON         PA    15301‐4713
BOCCABELLO
KAREN B EVANS                                  104 BUSHY HILL RD                                                                                 IVORYTON           CT    06442‐1137
KAREN B HORNBLOW CUST AIDAN S HORNBLOW UTMA 65 FAIRVIEW DR S                                                                                     BASKING RIDGE      NJ    07920
NJ
KAREN B HORNBLOW CUST MEGHAN L BISSETT UTMA NJ 65 FAIRVIEW DR S                                                                                  BASKING RIDGE      NJ    07920

KAREN B LUCAS                                   HC 68 BOX 89C                                                                                    KINGSTON           OK    73439‐9558
KAREN B O'HARA CUST KERRI ELIZABETH O'HARA UGMA 9 VILLAGE RD                                                                                     MAGNOLIA           MA    01930‐4039
MA
KAREN B POOLE & BETH ALICIA POOLE JT TEN        30029 BARWELL                                                                                    FARMINGTON HILLS MI      48334‐4707

KAREN B RIGGS                                     538 ADAMS RD                                                                                   WEBSTER            NY    14580‐1142
KAREN B SILVERBERG                                89 AUTUMN MEADOWS                                                                              EAST AMHERST       NY    14051
KAREN B SIMPSON                                   1325 DANA DR                                                                                   OXFORD             OH    45056‐2566
KAREN BAKALARSKI & RONNIE J BAKALARSKI JT TEN     216 BROADWAY DR                                                                                PITTSBURGH         PA    15236‐4119

KAREN BALCH & ROBERT BALCH TR BALCH FAMILY        3246 ENSENADA DRIVE                                                                            SAN RAMON          CA    94583‐3008
TRUST UA 06/27/02
KAREN BALL                                        11 LOCKWOOD AVENUE                                                                             POMPTON PLAINS     NJ    07444‐1336

KAREN BANNER                                      814 CALDWELL ROAD                                                                              WAYNE              PA    19087‐2058
KAREN BARNER                                      1559 SOUTH HILL BLVD                                                                           BLOOMFIELD HILLS   MI    48304‐1125

KAREN BATASTINI CUST ALLISON J CANTRELL UTMA GA   4813 SEQUOIA DR                                                                                COLUMBUS           GA    31909‐3426

KAREN BATTEN                                      9290 EAST W AVE                                                                                VICKSBURG          MI    49097‐9569
KAREN BRENNEN                                     82 MOTT FARM ROAD                                                                              TOMKINS COVE       NY    10986‐1404
KAREN BROUGHTON                                   10843 SPENCER RD                                                                               ST CHARLES         MI    48655‐9572
KAREN BROWN                                       405 LINDA VISTA                                                                                PONTIAC            MI    48342‐1745
KAREN BUCHALTER CUST LOUIS BUCHALTER UTMA CA      2315 41ST AVE E                                                                                SEATTLE            WA    98112‐2731

KAREN BUNTING                                     5900 BUTTRICK                                                                                  ALTO               MI    49302‐9542
KAREN BURK                                        926 TAMMY CIR                                                                                  DAYTON             OH    45415‐2136
KAREN BURTON                                      6907 RIVER WALK BLVD                                                                           MURFREESBORO       TN    37130
KAREN C BICH                                      1170 N ALBRIGHT‐MCKAY RD                                                                       BROOKFIELD         OH    44403‐9771
KAREN C BRAGDON                                   1296 HUDSON RD                                                                                 GLENBURN           ME    04401‐1606
KAREN C CALHOUN                                   2102 OAK KNOLL DR                                                                              TOMS RIVER         NJ    08757‐1241
KAREN C DOWNING & KENNETH D DOWNING JT TEN        7549 HURON RIVER DR                                                                            DEXTER             MI    48130‐9601

KAREN C GREGG                                    109 HATHAWAY RD                                                                                 W JEFFERSON        OH    43162‐1076
KAREN C KAN                                      2405 LAWNDALE AVENUE                                                                            EVANSTON           IL    60201‐1853
KAREN C LACASSE                                  60A FREEMAN ST                                                                                  BELLINGHAM         MA    02019‐2307
KAREN C LUND                                     739 JAY OR DR                                                                                   JEFFERSON CTY      MO    65109‐9291
KAREN C LUX                                      37165 CLUBHOUSE DR                                                                              STERLING HTS       MI    48312‐2238
KAREN C MALONE                                   24 FRANKLIN AVE                                                                                 MONTCLAIR          NJ    07042‐2408
KAREN C MOORE                                    1002 PATHVIEW CT                                                                                DACULA             GA    30019‐6843
KAREN C MULLER                                   2412 LARCHWOOD RD                                                                               WILM               DE    19810‐3820
KAREN C OSBORN                                   54 DAMASCUS ROAD                                                                                BRANFORD           CT    06405‐3904
KAREN C PETHERBRIDGE & RICHARD L PETHERBRIDGE JT 10411 TAMRYN                                                                                    HOLLY              MI    48442‐8615
TEN
KAREN C PORZIO & MICHAEL A PORZIO JT TEN         PO BOX 743                                                                                      HUNT VALLEY        MD    21030‐0743
KAREN C RENICO                                   1448 CLAIRWOOD DR                                                                               BURTON             MI    48509‐1503
KAREN C ROBINSON                                 681 JOSLYN RD                                                                                   LAKE ORION         MI    48362‐2119
KAREN C SLABIC                                   2851 CABERNET COURT                                                                             ERIE               PA    16506‐5281
KAREN CANNON                                     110 SPRUCE HILLS DR                                                                             GLEN GARDNER       NJ    08826‐3700
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 4 of 8 Pg 470 of 855
Name                                             Address1                               Address2             Address3             Address4          City              State Zip

KAREN CARROLL                                    13 S RAILROAD STREET                                                                               GREENWICH         OH    44837‐1045
KAREN CHRJAPIN CUST JEFFREY W CHRJAPIN UGMA SC   267 RIVER BEND DRIVE                                                                               CLARKS HILL       SC    29821

KAREN COSENTINO                                  5417 E139 TH ST                                                                                    GARFIELD HTS      OH    44125‐3216
KAREN COTTON                                     23764 LYON RIDGE DR                                                                                SOUTH LYON        MI    48178‐8227
KAREN CRAIG                                      DEPOT ST ROAD                          BOX 26                                                      NORTH BANGOR      NY    12966‐0026
KAREN CURTIS DOMINGUES                           6405 RIO OSO DRIVE                                                                                 RANCHO MURIETA    CA    95683‐9230

KAREN CZAR                                       440 CHURCH HILL RD                                                                                 ETLAN            VA     22719
KAREN D AHMAD & JAMIE O AHMAD JT TEN             1821 HOBBITON RD                                                                                   BATON ROUGE      LA     70810‐3419
KAREN D ANDERSON                                 4679 MANORLAKE DR                                                                                  MASON            OH     45040‐9016
KAREN D APPLE                                    11801 WINGSTON RD                                                                                  BOWLING GREEN    OH     43402‐9508
KAREN D BENTZ                                    PATRICK HENRY ELEM SCHOOL              CMR 419 BOX 1835                                            APO              AE     09102
KAREN D BENTZ                                    PATRICK HENRY ELEM SCHOOL              CMR 419 BOX 1835                                            APO              AE     09102‐1800
KAREN D BLANKENSHIP                              5005 TRAILS EDGE DRIVE                                                                             ARLINGTON        TX     76017‐2020
KAREN D BORRELLO                                 11 TOPCREST LANE                                                                                   RIDGEFIELD       CT     06877‐2016
KAREN D BOYD                                     28445 BOCK ST                                                                                      GARDEN CITY      MI     48135‐2802
KAREN D CARTER                                   ATTN KAREN ZACEK                       3275 BRENDAN DR                                             COLUMBUS         OH     43221‐4417
KAREN D CHEEVER                                  1040 EAST STREET                                                                                   NEW HAVEN        VT     05472‐3069
KAREN D DE CUIR                                  ATTN KAREN D DE CUIR                   DI NICOLA            26368 TIMBER TRAIL                     DEARBORN HEIGHTS MI     48127‐3355

KAREN D DEVIESE                                  1515 INGLESIDE DR                                                                                  CHARLOTTESVILLE   VA    22901‐8896

KAREN D FORSTER                                  24065 W 115TH TER                                                                                  OLATHE            KS    66061‐8456
KAREN D GOODEN                                   20854 MITCHELLDALE                                                                                 FERNDALE          MI    48220‐2219
KAREN D HASLOCK                                  4674 MIDLAND AVE                                                                                   WATERFORD         MI    48329‐1837
KAREN D HODGE                                    19330 CHESTNUT ST                                                                                  SOUTHGATE         MI    48195‐3160
KAREN D JOHNSON                                  3126 HAUGHTON DR                                                                                   TOLEDO            OH    43606‐1806
KAREN D JOHNSON‐WEBB                             3126 HAUGHTON DR                                                                                   TOLEDO            OH    43606‐1806
KAREN D KETTLER                                  421 PLYMOUTH                                                                                       DAVISON           MI    48423‐1727
KAREN D KEYS                                     3919 HAZY LANE                                                                                     OKEMOS            MI    48864‐5227
KAREN D LEGGETT                                  6111 PAWSON RD                                                                                     ONSTED            MI    49265‐9737
KAREN D LITTLE                                   618 RENKER RD 1                                                                                    LANSING           MI    48917‐2842
KAREN D MATACK CUST LAUREN D MATLACK UTMA NC     2525 MIRROR LAKE DRIVE                                                                             FAYETTEVILLE      NC    28303‐5288

KAREN D NELSON                               3779 VICEROY DRIVE                                                                                     OKEMOS            MI    48864‐3800
KAREN D PARSONS                              1350 GRAND SUMMIT DR #232                                                                              RENO              NV    89523‐2581
KAREN D PARSONS                              1350 GRAND SUMMIT #232                                                                                 RENO              NV    89523‐2581
KAREN D RANDOLPH CUST DIEDRA S RANDOLPH UTMA 3521 SE STARK ST                                                                                       PORTLAND          OR    97214‐3153
OR
KAREN D RANDOLPH CUST GREGORY B RANDOLPH     3521 SE STARK ST                                                                                       PORTLAND          OR    97214‐3153
UTMA OR
KAREN D RANDOLPH CUST KEN B FUKUMOTO UTMA OR 3521 SE STARK ST                                                                                       PORTLAND          OR    97214‐3153

KAREN D ROBINSON                                 506 CORNWALL AVE                                                                                   BUFFALO           NY    14215‐3126
KAREN D SHIFFLETT & DENNIS L SHIFFLETT JT TEN    1077 BRAMLY DR                                                                                     HAGERSTOWN        MD    21742
KAREN D SLATER                                   37843 HOWELL                                                                                       LIVONIA           MI    48154‐4830
KAREN D SMITH                                    4435 DANCING MOON CT                                                                               SPARKS            NV    89436‐8609
KAREN D SNEAR                                    8440 S LINDEN RD                                                                                   SWARTZ CREEK      MI    48473‐9112
KAREN D STANFIELD                                6118 TURNERGROVE DRIVE                                                                             LAKEWOOD          CA    90713‐1947
KAREN D STECK                                    5220 N UNION RD                                                                                    CLAYTON           OH    45315‐9746
KAREN D ZUKERMAN CUST LAURA BROWN ZUKERMAN       770 PARK AVE                                                                                       NEW YORK          NY    10021‐4153
UGMA NY
KAREN D ZUKERMAN CUST SARAH BEIL ZUKERMAN        770 PARK AVE                                                                                       NEW YORK          NY    10021‐4153
UGMA NY
KAREN D'ALESSANDRO                               15 ALLEN COURT                                                                                     MANALAPAN         NJ    07726
KAREN DANIELLE GOLDBERG                          2040 77TH STREET                       APT #2                                                      BROOKLYN          NY    11214
KAREN DAVIS                                      8225 E VAN BUREN DR                                                                                PITTSBURGH        PA    15237
KAREN DAVIS BARBOUR                              3507 TILTON VALLEY DR                                                                              FAIRFAX           VA    22033‐1803
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 471 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

KAREN DAWN WILLIAMS                                2113 ALEXIS COURT                                                                               TARPON SPRINGS     FL    34689‐2053
KAREN DELADE                                       35 EXETER STREET                                                                                MORRIS PLAINS      NJ    07950‐3049
KAREN DELANEY                                      4416 LAMSON DR                                                                                  WATERFORD          MI    48329‐1933
KAREN DERLAGA                                      60 HARVESTWOOD RD                                                                               ROCKFALL           CT    06481‐2060
KAREN DIANE BOCOT                                  191 MERCER MILL ROAD                                                                            LANDENBERG         PA    19350‐9124
KAREN DIANE DYER                                   8112 MEE MEE RD                                                                                 CHATTANOOGA        TN    37421‐2755
KAREN DIEHM PER REP EST RUTH E DIEHM               8750 20TH AVE                                                                                   REMUS              MI    49340
KAREN DIETERICH                                    2484 BARNSLEY WAY                                                                               BROADVIEW HTS      OH    44147‐3673
KAREN DIGENNARO & RICHARD DIGENNARO JT TEN         ONO32 ELMWOOD ST                                                                                WINFIELD           IL    60190

KAREN DOMES W OLFGRAM POOLE CUST BETH ALICIA       30029 BARWELL                                                                                   FARMINGTON HILLS MI      48334‐4707
POOLE UGMA MI
KAREN DOMES WOLFGRAM POOLE                         30029 BARWELL                                                                                   FARMINGTON HILLS MI      48334‐4707

KAREN DOWNES CUST JULIA KELEIGH DOWNES UTMA RI 16 SYLVAN ST                                                                                        NEWPORT            RI    02840‐3551

KAREN DREW TOPPING SULLIVAN                        18 BRADBURY ST                                                                                  BELFAST            ME    04915
KAREN DUBS CUST REBECCA LYNN DUBS UTMA IL          2321 CRABTREE AVE                                                                               WOODRIDGE          IL    60517‐2919
KAREN E AMOS                                       6057 W 350 S                                                                                    TIPTON             IN    46072‐9155
KAREN E BARRASSO                                   15 CHICJON LANE                                                                                 EAST HANOVER       NJ    07936‐1612
KAREN E BELLER                                     1870 SITKA AVE                                                                                  SIMI VALLEY        CA    93063‐3256
KAREN E BENDER                                     18836 S INLET DR                                                                                STRONGSVILLE       OH    44136‐8061
KAREN E BERGIN                                     ATTN KAREN B SHEEHAN                   515 RIDGE ST                                             NEWARK             NJ    07104‐1527
KAREN E BRUNETT                                    ATTN KAREN DUDAS                       11375 LAKEHAVEN DR                                       WHITE LAKE         MI    48386‐3648
KAREN E CLARK                                      8913 SAGEBRUSH TRAIL                                                                            CROSS ROADS        TX    76227
KAREN E CLEMENS                                    ATTN KAREN E WILSON                    146 SHUNPIKE RD                                          CROMWELL           CT    06416‐1122
KAREN E CRAFT                                      8104 S BURNHAM AVE                                                                              CHICAGO            IL    60617‐1312
KAREN E CRESPI                                     15384 BLUE SKIE CT E                                                                            LIVONIA            MI    48154‐1507
KAREN E DEVAUGHN TOD THOMAS R TURNER SUBJECT       100 PARK VISTA DR                      UNIT 2033                                                LAS VEGAS          NV    89138‐3029
TO STA TOD RULES
KAREN E DURRETT                                    4403 ROCKPORT DR NW                                                                             WILSON             NC    27896‐9511
KAREN E EVANS                                      81 SYCAMORE DR                                                                                  CARMEL             IN    46033‐1954
KAREN E FOSTERMAN & SHAEL DEWOSKIN JT TEN          1011 NOONING TREE DR                                                                            CHESTERFIELD       MO    63017‐2467
KAREN E FOSTERMAN‐DEWOSKIN & SHAEL DEWOSKIN        1011 NOONING TREE DR                                                                            CHESTERFIELD       MO    63017‐2467
JT TEN
KAREN E FULSCHER                                   556 S GARGANTUA                                                                                 CLAWSON            MI    48017‐1822
KAREN E FULSCHER & KENNETH E FULSCHER JT TEN       556 S GARGANTUA                                                                                 CLAWSON            MI    48017‐1822

KAREN E GEMELL TR KAREN E GEMELL TRUST UA          4313 NEW HAMPSHIRE TRL                                                                          CRYSTAL LAKE       IL    60012‐3159
08/29/95
KAREN E GEMELL TR KAREN E GEMELL TRUST UA          4313 NEW HAMPSHIRE TRAIL                                                                        CRYSTAL LAKE       IL    60012‐3159
08/29/95
KAREN E GLAZE                                      1425 SHADY BROOK LANE                                                                           PORTSMOUTH         OH    45662‐8809
KAREN E HARRIS                                     PO BOX 6998                                                                                     MARIETTA           GA    30065‐0998
KAREN E HARTMAN & EMILY C HARTMAN JT TEN           16400 FAULMAN                                                                                   CLINTON TWP        MI    48035
KAREN E HARTMAN‐BURCAR                             16400 FAULMAN                                                                                   CLINTON TWNSHP     MI    48035‐2220

KAREN E HOLCOMB DENSMORE                           21072 LA SALLW BLVD                                                                             WARREN             MI    48089‐5118
KAREN E HOLTBERG DE LOPEZ                          52275 CLARENDON HILLS DRIVE                                                                     GRANGER            IN    46530‐7854
KAREN E HULL                                       606 W 1ST ST                                                                                    CLAREMONT          CA    91711‐4547
KAREN E KAZYAK                                     35743 SAXONY DR                                                                                 STERLING HEIGHTS   MI    48310‐5190

KAREN E KEARNS                                     59 ROBIN COURT                                                                                  MIDDLETOWN         CT    06457‐6250
KAREN E KELLY                                      412 HEATH PLACE                                                                                 SMYRNA             TN    37167
KAREN E KIESTER                                    4777 6MILE RD                                                                                   SOUTH LYON         MI    48178‐9699
KAREN E KNOESPEL                                   5975 CALETA DRIVE                                                                               LANSING            MI    48911‐6473
KAREN E LINT TR KAREN E LINT TRUST UA 05/09/02     PO BOX 4385                                                                                     CARSON CITY        NV    89702‐4385
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 472 of 855
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

KAREN E LOUFEK CUST JONATHAN D LOUFEK UGMA WA 17450 34TH AVE NORTH                                                                               PLYMOUTH         MN    55447‐1255

KAREN E MARTIN CUST JEFFREY CARR MARTIN UGMA      24 INGLESIDE ROAD                                                                              LEXINGTON        MA    02420‐2522
MA
KAREN E MARTIN CUST SCOTT MICHAEL MARTIN UGMA     24 INGLESIDE ROAD                                                                              LEXINGTON        MA    02420‐2522
MA
KAREN E MAYNARD                                   3022 STATE ROUTE 59 #B63                                                                       RAVENNA          OH    44266
KAREN E MCAFEE                                    325 NORTHPOINT DR                                                                              ARCHBOLD         OH    43502‐9332
KAREN E MCNUTT & JAMES A MCNUTT JT TEN            PO BOX 926                                                                                     GRANTS PASS      OR    97528‐0078
KAREN E MOORE                                     1420 RUGER AVE                                                                                 JANESVILLE       WI    53545‐2612
KAREN E MORIN‐KANE                                9851 KAY RAY RD                                                                                WILLIAMSBURG     MI    49690‐9253
KAREN E MUENCH                                    HC 1 BOX 686                                                                                   STRAWBERRY       AZ    85544‐9754
KAREN E MURPHY                                    2294 SOMERWORTH DR                                                                             NORTH COLUMBUS   OH    43219‐2010

KAREN E NELSON & PAUL G NELSON JT TEN             142 REGATTA CT                                                                                 VALPARAISO       IN    46385‐8565
KAREN E OLSEN                                     927 S CEDAR ST                                                                                 PALATINE         IL    60067‐7176
KAREN E PELLEGRINI                                66 HORIZON DR                                                                                  BEDFORD          NH    03110‐6310
KAREN E PERRINE                                   C/O MACZYNSKI                         6646 DUGWAY RD                                           CANADAIGUA       NY    14424‐8974
KAREN E REED                                      34 LEGION PL                                                                                   HILLSDALE        NJ    07642‐1847
KAREN E ROBERTS                                   311 PARK AVE                                                                                   CRESSON          PA    16630‐1135
KAREN E SAYRES                                    15871 SHARON DALE DR                                                                           DAVIDSON         NC    28036‐8918
KAREN E SELGRATH & JOHN RYAN SELGRATH JT TEN      14900 SUNNYBANK AVE                                                                            BAKERSFIELD      CA    93314‐8703

KAREN E SMITH                                     ATTN KAREN E TOLLIVER                 34 HENRY CLAY                                            PONTIAC          MI    48341‐1718
KAREN E STARK                                     C/O KAREN E STARK WILKS               1603 TULEY                                               CEDAR HILL       TX    75104‐4959
KAREN E STEARNS                                   1871 HAMPSHIRE CT                                                                              COMMERCE TWP     MI    48382‐1554
KAREN E STOCK                                     1702 ELM ST                                                                                    NEW CUMBERLAND   PA    17070‐1221

KAREN E SWIENSKI                                  890 STATE STREET                                                                               CONNEAUT LAKE    PA    16316‐7312
KAREN E VAN EGMOND                                27574 N MAKENA PL                                                                              PEORIA           AZ    85383‐3924
KAREN E WAIBLE                                    6284 BOSTON STATE RD                                                                           HAMBURG          NY    14075‐5319
KAREN E WENSEL                                    7923 BEGONIA CT                                                                                CAMBY            IN    46113‐7732
KAREN E WINNER                                    8284 PASEO DEL OCASO                                                                           LA JOLLA         CA    92037‐3141
KAREN E WISNIEWSKI                                4 MARIE LANE                                                                                   WEST GROVE       PA    19390
KAREN ELAINE DOMINICK                             11615 POPES HEAD ROAD                                                                          FAIRFAX          VA    22030‐5435
KAREN ELDREDGE                                    68 ACTON ROAD                                                                                  COLUMBUS         OH    43214‐3302
KAREN ELIZABETH FITZGERALD TR UA 11/10/88 GLENN   BOX 396                                                                                        CHAUMONT         NY    13622
DODGE TRUST
KAREN ELIZABETH HILLIER                           ATTN KAREN E HILLIER WOODFIN          2301 BRISTOL ST                                          BRYAN            TX    77802‐2406
KAREN ELIZABETH JACKLIN                           201 IRVING PL                                                                                  GREENSBORO       NC    27408‐6509
KAREN ELIZABETH LOUFEK CUST GRETCHEN ELIZABETH    17450 34TH AVE N                                                                               PLYMOUTH         MN    55447‐1255
LOUFEK UGMA NY
KAREN ELIZABETH THORPE                            8216 OLD BROWNSVILLE RD                                                                        ARLINGTON        TN    38002‐7501
KAREN EWERS HILL                                  144 OLD ALTAMONT RIDGE RD                                                                      GREENVILLE       SC    29609‐6517
KAREN F ARMSTRONG CUST KATHERINE B ARMSTRONG      3540 RIVERS CALL BLVD                                                                          ATLANTA          GA    30339‐5659
UTMA GA
KAREN F BURKE                                     226 E MONROE STREET                                                                            FORTVILLE        IN    46040‐1000
KAREN F DARLING                                   110 MATTHEW DR                                                                                 BEAR             DE    19701‐1885
KAREN F FRIDAY                                    2250 S STATE RD                                                                                CORUNNA          MI    48817
KAREN F HEMBROOK                                  4112 GALAXY DR                                                                                 JANESVILLE       WI    53546‐8889
KAREN F MANNI                                     1223 TERRELL CT                                                                                CANTON           MI    48187‐3465
KAREN F WARNER                                    120 RAFFIA RD                                                                                  ENFIELD          CT    06082‐5641
KAREN F WILLS                                     2861 GARFIELD STREET                                                                           LINCOLN          NE    68502‐3131
KAREN F YATES                                     1320 RIVERSIDE DR                                                                              JEFFERSON CITY   MO    65101‐4207
KAREN F ZATSICK                                   334 ADAMS CT                                                                                   FERNDALE         MI    48220‐3222
KAREN FELO                                        8 JAMES AVENUE                                                                                 BINGHAMTON       NY    13901
KAREN FINLAYSON‐GOFF                              PO BOX 274                                                                                     SWEETSER         IN    46987‐0274
KAREN FITCH TESMER                                644 DIVOT CT                                                                                   GRAND PRAIRIE    TX    75052
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 473 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

KAREN FORBES NUTTING & THOMAS D NUTTING JT TEN 3498 ROCKER DR                                                                                    CINCINNATI       OH    45239‐4063

KAREN FORD                                      4551 SW 110TH ST                                                                                 OCALA            FL    34476‐4253
KAREN FRANCES BEDORE                            5151 WINSHALL DR                                                                                 SWARTZ CREEK     MI    48473‐1222
KAREN FRANCES ROMANI                            7 GINGER LEA                                                                                     GLEN CARBON      IL    62034‐3405
KAREN FRANKLIN & DOROTHY THOMAS JT TEN          3257 HILLCREST LN                                                                                MONTGOMERY       AL    36109‐3537
KAREN FREDERICK BENNETT                         3610 SOUTH PLACE                                                                                 ALEXANDRIA       VA    22309‐2201
KAREN G BENBERRY                                ATTN KAREN G BENBERRY‐WILKINS           1322 KINGS COVE CT                                       INDIANAPOLIS     IN    46260‐1671
KAREN G FORRESTER                               9968 ARTHUR LN                                                                                   LITTLETON        CO    80130‐8009
KAREN G GAIN                                    110 GLENCOE COURT                                                                                NEWARK           DE    19702‐2054
KAREN G HENDRICKSON                             201 LAKE ST                             APT 203                                                  SAINT IGNACE     MI    49781‐1153
KAREN G HOAD & GAIL J UNDERDALE JT TEN          PO BOX 1165                                                                                      ISLAMORADA       FL    33036‐1165
KAREN G SPIEKERMAN TR UA 08/09/75 KAREN G       RTE 1 BOX 98                                                                                     TUPELO           OK    74572‐9728
SPIEKERMAN TRUST
KAREN GARRITY CUST SARAH GARRITY UTMA OH        2347 SONNINGTON DR                                                                               DUBLIN           OH    43016‐9079
KAREN GATJE DAVIDSON CUST KYLE DAVIDSON UTMA FL 4215 KATHY AVE                                                                                   NAPLES           FL    34104‐4028

KAREN GOODRICH & RUSSELL GOODRICH JT TEN         574 EASTRIDGE RD                                                                                PRICE            UT    84501‐2290
KAREN GOOKIN & KATHLYN A WYNECOOP TEN COM        1009 NORTH C ST                                                                                 ELLENSBURG       WA    98926‐2931

KAREN GOSNELL                                    14 LAFLURE LANE                                                                                 PERU             NY    12972
KAREN GRACE MATHIS CUST MARIE GRACE MATHIS       20 CAMBRIDGE ST                                                                                 BELMONT          MA    02478‐1947
UTMA MA
KAREN GRANT                                      4014 W WATERS APT 305                                                                           TAMPA            FL    33614‐8111
KAREN GREEN                                      415 WEST 4TH ST                                                                                 WELLSVILLE       KS    66092
KAREN GREEN CUST LOGAN SCOTT GREEN UTMA CA       11621 72ND PL NE                                                                                KIRKLAND         WA    98034‐2433

KAREN GREEN CUST RILEICH SHANNON GREEN UTMA CA 11621 72ND PL NE                                                                                  KIRKLAND         WA    98034‐2433

KAREN GREEN GOODMAN                              5136 WEDDINGTON DR                                                                              TROTWOOD         OH    45426‐1960
KAREN H BEHAN                                    246 E 7TH ST                                                                                    OSWEGO           NY    13126‐3227
KAREN H CAREW & WILLIAM J CAREW JT TEN           24 LAWTON DR                                                                                    SIMSBURY         CT    06070‐2727
KAREN H CORBIN                                   9041 ALTURA DR NE                                                                               WARREN           OH    44484‐1733
KAREN H EBBEN                                    43539 CASTLEWOOD                                                                                NOVI             MI    48375‐4006
KAREN H FOX                                      767 CARPENTER                                                                                   NORTHVILLE       MI    48167‐2741
KAREN H HESTER                                   10425 BALLENTINE ST                                                                             OVERLAND PARK    KS    66214‐3046
KAREN H JACKSON                                  4383 JASMINE WAY                                                                                GREENWOOD        IN    46142‐7449
KAREN H LARNARD                                  821 MILLS AVENUE                                                                                NORTH MUSKEGON   MI    49445‐2911

KAREN H MATT                                     1615 MOONLIT DR                                                                                 RIDGEFIELD       WI    53076‐9693
KAREN H PHILPOT                                  568 NH ROUTE 140                                                                                GILMANTON        NH    03237‐5223
KAREN H ROLLINS                                  15095 SW WHEATON LANE                                                                           BEAVERTON        OR    97007‐3678
KAREN H TEEGARDEN                                67 ORCHARD DR                                                                                   ROCHESTER        NY    14618‐2319
KAREN H WEST                                     228 NORTH WINDSOR ROAD                                                                          WINDSOR          SC    29856‐2237
KAREN HAGENOW                                    4577 W 500 S                                                                                    LA PORTE         IN    46350‐9569
KAREN HALSTED                                    2768 RAMBLEWOOD                                                                                 KALAMAZOO        MI    49009‐8962
KAREN HARRIS VARTY                               24885 N E PRAIRIE VIER DR                                                                       AURORA           OR    97002‐9514
KAREN HARVEY                                     51 THUNDER RIDGE                                                                                CLANCY           MT    59634‐9602
KAREN HATCH CUST DAVID A HATCH UGMA MA           5 OAKLAND WAY                                                                                   MATTAPOISETT     MA    02739‐2018
KAREN HAZEL FOX                                  767 CARPENTER                                                                                   NORTHVILLE       MI    48167‐2741
KAREN HEISTER CUST CONNLAN KEARNEY UTMA NM       2209 LEMA RD SE                                                                                 RIO RANCHO       NM    87124‐3963

KAREN HEISTER CUST MIKA HEISTER UTMA NM          2209 LEMA RD SE                                                                                 RIO RANCHO       NM    87124‐3963
KAREN HELEN HOLLIDAY & RALPH O HOLLIDAY JT TEN   ROUTE 1 BOX 13                                                                                  LIBERTY          KS    67351‐9105

KAREN HELWEIL                                    3043 NW 62ND ST                                                                                 SEATTLE          WA    98107‐2562
KAREN HENNIGAN                                   1617 LARKWOOD DR                                                                                DEWITT           MI    48820‐9549
KAREN HERRICK                                    16322 W HANSEN DR                                                                               NEW BERLIN       WI    53151‐5014
KAREN HILLIER WOODFIN                            2301 BRISTOL ST                                                                                 BRYAN            TX    77802‐2406
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 474 of 855
Name                                                 Address1                             Address2               Address3        Address4          City              State Zip

KAREN HOFFMAN CUST KAYLA MARIE HOFFMAN UGMA 1487 GLENDENNING CK                                                                                    PAINTED POST      NY    14870‐9758
NY
KAREN HOPE DICKINSON                           9928 FARGO RD                                                                                       CORFU             NY    14036‐9518
KAREN HOUSER CUST ELIZABETH ANN HOUSER UTMA NJ 3805 SAXON CT                                                                                       GREENVILLE        NC    27834‐7666

KAREN HOYDIC CUST DIANA HOYDIC UTMA GA               1745 TER LAKE DR                                                                              LAWRENCEVILLE     GA    30043‐6909
KAREN HUGHEY                                         2317 EDISON ST                                                                                DETROIT           MI    48206‐2071
KAREN I CAMPBELL                                     262 ACADIA DRIVE                     OSHAWA ON                              L1G 1Y1 CANADA
KAREN I NICHOLS                                      1617 NORTH L ST                                                                               LAKE WORTH        FL    33460‐6626
KAREN I PROUGH                                       5715 RECORDS WAY                                                                              CAMARILLO         CA    93012
KAREN I ROBERTS                                      1045 ALHAMBRA DR                     APT 8                                                    ANDERSON          IN    46012‐4266
KAREN IMUS & DONALD BIELECKI JR & LYNN BIELECKI JT   62416 30TH ST                                                                                 LAWTON            MI    49065‐9670
TEN
KAREN INMAN                                          4140 PICASSO AVE                                                                              WOODLAND HILLS    CA    91364‐5357

KAREN IRENE KARSTED                               ATTN KAREN K MURPHY                     331 COTTAGE HILL AVE                                     ELMHURST          IL    60126‐3332
KAREN IRENE TACKETT                               27839 EASTWICK SQ                                                                                ROSEVILLE         MI    48066
KAREN IRENE TANANA                                12731 TECUMSEH                                                                                   REDFORD TWP       MI    48239‐2740
KAREN J ALLEN CUST WHITNEY VIRGINIA ALLEN UTMA IL 316 SOUTH TAYLOR                                                                                 OAK PARK          IL    60302‐3526

KAREN J BIERER                                       624 TAYLOR RD                                                                                 BRIGHTON          MI    48114‐7613
KAREN J CAPPELUCCI                                   12 GORDON LN                                                                                  YARMOUTH PORT     MA    02675‐1815
KAREN J CODREA CUST MALLORY K CODREA UGMA MI         1215 LAKESHORE DR                                                                             COLUMBIAVILLE     MI    48421‐9771

KAREN J CONWAY                                602 DEERWOOD DRIVE                                                                                   GASTONIA          NC    28054‐4904
KAREN J CURRY                                 706 SADDLEBROOK DR                                                                                   COLLEYVILLE       TX    76034‐3823
KAREN J CZAJKOWSKI‐BROWN                      507 MAPLEWOOD DRIVE                                                                                  DOUGLASSVILLE     PA    19518‐1212
KAREN J DANIELS                               7391 CADLE AVE                                                                                       MENTOR            OH    44060‐5708
KAREN J DUFF                                  5461 MARILYN DR                                                                                      STERLING          MI    48659‐9783
KAREN J FABIAN                                18150 ARROWWOOD DR                                                                                   MONUMENT          CO    80132‐8779
KAREN J FISHER                                1418 BROOKE DR                                                                                       LEBANON           IN    46052‐1012
KAREN J GRENADIER                             28111 SELKIRK                                                                                        SOUTHFIELD        MI    48076
KAREN J HAMLIN                                2015 SHERMAN ST                                                                                      SANDUSKY          OH    44870‐4731
KAREN J HAMLYN                                19064 SAINT EDWARDS CT                                                                               EDEN PRAIRIE      MN    55346‐3346
KAREN J HAMMER & DAVID W HAMMER JT TEN        12210 HWY 40                                                                                         KREMMLINS         CO    80459‐9607
KAREN J HEATON                                3105 CMPBELL RD                                                                                      SPRINGFIELD       OH    45503‐6664
KAREN J HERRMANN CUST JENNIFER K HERRMAN UGMA 6279 FIRETHORN LANE                                                                                  CLARKSVILLE       MD    21029‐1318
PA
KAREN J HERRMANN CUST KIMBERLY A HERRMANN     6279 FIRETHORN LN                                                                                    CLARKSVILLE       MD    21029‐1318
UGMA PA
KAREN J KANE                                  1102 POST OAK CT                                                                                     FORISTELL         MO    63348‐2403
KAREN J KENT                                  219 GREELEY STREET                                                                                   HIGHTSTOWN        NJ    08520‐4110
KAREN J KINCAID                               7865 VALLAGIO LANE 409                                                                               ENGLEWOOD         CO    80112
KAREN J KING                                  1303 WILLOW BROOK NE DR                                                                              WARREN            OH    44483‐4649
KAREN J KING & PAUL F KING JT TEN             1303 WILLOW BROOK NE DR                                                                              WARREN            OH    44483‐4649
KAREN J KLESKO                                2323 QUEENSBERRY LANE                                                                                SHELBY TOWNSHIP   MI    48316‐2042

KAREN J LAWYER TOD JASON E LAWYER SUBJECT TO STA 410 PAUL AVE                                                                                      FLORISSANT        MO    63031
TOD RULES
KAREN J MAASKE                                   5415 REED CT                                                                                      ARVADA            CO    80002‐3843
KAREN J MACK                                     15 GOVERNORS CT                                                                                   PALM BEACH        FL    33418‐7160
                                                                                                                                                   GARDENS
KAREN J MCCRAY TR BETTY M STAYTON REVOCABLE          409 BELLEVIEW AVE                                                                             ST LOUIS          MO    63119‐3620
FAMILY TRUST UA 5/05/97
KAREN J MICHAELSON                                   23907 JOANNE                                                                                  WARREN            MI    48091‐4514
KAREN J NIELSEN                                      476 TRAILCREST DRIVE                                                                          BOZEMAN           MT    59718
KAREN J ROSENBERG                                    5366 FAIRLAWN SHORES TRL SE                                                                   PRIOR LAKE        MN    55372‐1966
KAREN J SCHACHERER                                   3980 FM 471N                                                                                  RIO MEDINA        TX    78066‐2533
KAREN J SLAVIN & HARVEY S SLAVIN JT TEN              210 ORCHARD ST                                                                                FENTON            MI    48430‐2182
                                               09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                    Part 4 of 8 Pg 475 of 855
Name                                             Address1                            Address2                         Address3   Address4          City             State Zip

KAREN J SMYTH                                    244 LIVINGSTON AVE                                                                                DAYTON           OH    45403‐2942
KAREN J STAFFORD                                 R R 1 HOMESTEAD DRIVE                                                                             FRANKTON         IN    46044‐9801
KAREN J STILLMAN                                 6250 BUCKINGHAM PK 211                                                                            CULVER CITY      CA    90230‐7247
KAREN J STIVERSON                                203 WASHINGTON ST                                                                                 CHARDON          OH    44024‐1224
KAREN J TROTTER                                  14240 STANLEY LN                                                                                  FORNEY           TX    75126‐5234
KAREN J TUCKER                                   104 E HARTFORD AVE                  #1                                                            UXBRIDGE         MA    01569‐1258
KAREN J VANARSDALEN                              C/O KAREN J BECKMAN                 4715 E PORT CLINTON EASTERN RD                                PORT CLINTON     OH    43452‐3807
KAREN J WEIDENHAMMER                             5150 FLAGLER ST                                                                                   FLINT            MI    48532‐4136
KAREN J WHEELER                                  209 TIMBER LN                                                                                     EAST PEORIA      IL    61611
KAREN J WHITE                                    PMB 253                             909 MARINA VILLAGE PKWY                                       ALAMEDA          CA    94501‐1048
KAREN J WICKS                                    109 ROCMAR DR                                                                                     ROCHESTER        NY    14626‐3812
KAREN J WILLIAMS                                 6216 MAPLE GROVE RD                                                                               HUNTINGTON       IN    46750‐8917
KAREN JACKSON CUST IAN EDWIN JACKSON UGMA CA     21 KILKENNY COURT                                                                                 ALAMEDA          CA    94502‐7707

KAREN JAFFE MCGUIRE TR KAREN JAFFE MCGUIRE       1600 GULF BLVD #PH‐6                                                                              CLEARWATER       FL    33767‐2924
TRUST UA 12/30/91
KAREN JANE EDWARDS                               C/O KAREN MODY                      9238 SEAGROVE                                                 DALLAS           TX    75243‐7228
KAREN JANE SPAULDING & RICK SAMUEL SPAULDING JT 7546 WILLOW CIR                                                                                    MOBILE           AL    36695‐4488
TEN
KAREN JANE TURNER                                C/O KAREN T CRAIN                   1225 SOTHEBY COURT                                            VIRGINIA BEACH   VA    23464‐5880
KAREN JANES                                      8 EVANS DR                                                                                        CRANBERRY        NJ    08512‐3125
KAREN JANOUSEK TR ANNE MARIE JANOUSEK TRUST UA 500 LINDLEY AVE                                                                                     WESTMONT         IL    60559‐2227
10/16/90
KAREN JASSEN                                     140 W 17TH PLACE                                                                                  LOMBARD          IL    60148‐6139
KAREN JEAN EAGLOSKI                              2409 WINTER ST                                                                                    ST ALBANS        WV    25177‐3311
KAREN JEAN ELLIS                                 RR1                                                                                               BARRETT          MN    56311‐9801
KAREN JEAN FRECHETTE & ROBERT LOUIS FRECHETTE JT 1141 GLENVIEW DR                                                                                  SAN BRUNO        CA    94066‐2725
TEN
KAREN JEAN MORHAR                                26 BROWN CIRCLE                                                                                   PARAMUS          NJ    07652‐5204
KAREN JEAN WARREN BAKER                          1100 COUNTRY HIGHWAY 278                                                                          DEFUNIAK SPRINGS FL    32433

KAREN JEANETTE BROOKSHIRE                        1577 HENLEY DR                                                                                    ASHEBORO        NC     27203‐7842
KAREN JEANNE EITZEN & VIRGINIA EITZEN JT TEN     ATTN KAREN EITZEN‐RENNIE            3513 TOWNLINE RD                                              CEDAR           MI     49621‐9400
KAREN JEANNE KAY                                 1630 LOMA VISTA DR                                                                                BEVERLY HILLS   CA     90210‐1925
KAREN JOANNE SEELYE                              1508 COLWYN DR                                                                                    CANTONMENT      FL     32533‐6809
KAREN JOHNSTONE                                  17455 KINROSS                                                                                     BIRMINGHAM      MI     48025‐4138
KAREN JUDITH VAN RIPER                           2014 STONEHOLLOW RD                                                                               RICHMOND        VA     23233‐5802
KAREN K ATTARD                                   555 PINE ST                                                                                       TIPP CITY       OH     45371‐1125
KAREN K BASTIAN                                  7176 KNIGHTBRIDGE CT                                                                              AVON            IN     46123
KAREN K BRILL                                    376 HAMILTON ROAD                                                                                 RIDGEWOOD       NJ     07450‐1015
KAREN K CAWIEZELL                                3220 SOUTH 26TH AVE                                                                               ELDRIDGE        IA     52748‐9304
KAREN K CLARK                                    4108 DEE ANN DR                                                                                   KOKOMO          IN     46902‐4425
KAREN K CRISWELL                                 147 RIVER TEE DR                                                                                  CRESCENT CITY   FL     32112
KAREN K GIBSON & JEFFREY T GIBSON JT TEN         1317 CLAYTONIA TERRACE                                                                            ST LOUIS        MO     63117‐2154
KAREN K GREIG                                    9011 KNOX AVE                       APT N3                                                        SKOKIE          IL     60076‐1538
KAREN K GRIGGS                                   2579 W CHOLLA CLIFF CT                                                                            TUCSON          AZ     85742‐4478
KAREN K JACKSON                                  240 MAPLE ST                                                                                      BROOKSVILLE     OH     45309‐1711
KAREN K KINCAID                                  7606 PREAKNESS CV                                                                                 FORT WAYNE      IN     46815‐8704
KAREN K MAHIN                                    1134 WEST HICKORY DRIVE                                                                           NEW CASTLE      IN     47362‐9766
KAREN K MCLANE                                   6225 MERRYWIND CV                                                                                 MEMPHIS         TN     38115‐6429
KAREN K MECHE & BLAINE MECHE JT TEN              PO BOX 126                                                                                        LYDIA           LA     70569‐0126
KAREN K MILLER                                   648 GREENVILLE RD                                                                                 BRISTOLVILLE    OH     44402
KAREN K NOFER                                    7 GLAMFORD AVE                                                                                    PORT WASHINGTON NY     11050‐2436

KAREN K OSBORNE                                  4092 ALEESA DRIVE                                                                                 WARREN           OH    44484‐2914
KAREN K PAGE                                     PO BOX 1742                                                                                       SYRACUSE         NY    13201‐1742
KAREN K PASS CUST LISA KELLEY PASS UGMA NY       9 PATROON PLACE                                                                                   GLENMONT         NY    12077‐3622
KAREN K PAVOKOVICH TOD PENNY D YOUNG SUBJECT     203 RIDGEMONT LOOP                                                                                DAVENPORT        FL    33897
TO STA TOD RULES
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                       Part 4 of 8 Pg 476 of 855
Name                                              Address1                              Address2              Address3          Address4          City            State Zip

KAREN K RASMUSSEN                                 PO BOX 222                                                                                      PT REYES STA    CA    94956‐0222
KAREN K RUEL                                      9663 S POPLAR AVENUE                                                                            NEWAYGO         MI    49337‐8603
KAREN K SMITH                                     13 RIDGEWOOD RD                                                                                 ROME            GA    30165‐4200
KAREN K SMITH                                     23 WEST SHORE DR                                                                                SOUTHAMPTON     NJ    08088‐1320
KAREN K STRASESKE & JEROME L STRASESKE JT TEN     615 BLAIR                             BOX 24                                                    LOWELL          WI    53557‐0024

KAREN K SVENKESEN                                 3651 DAVID K DRIVE                                                                              WATERFORD       MI    48329‐1318
KAREN K THOMPSON & LOREN D THOMPSON JT TEN        E 350 ST                              ROLLOFSON LAKE RD                                         SCANDINAVIA     WI    54977

KAREN K VOLS                                      2915 ALLEN STREET                                                                               MUSCATINE       IA    52761‐2115
KAREN K WISHAU                                    115 TALLEYRAND DR                                                                               WILMINGTON      DE    19810‐3947
KAREN K WORRELL                                   945 FORWARD PASS                                                                                PATASKALA       OH    43062‐9161
KAREN KAFANTARIS PER REP EST THOMAS C WALSH       13803 OAKVIEW DRIVE                                                                             GRAND LEDGE     MI    48837

KAREN KASKEY CUST AMANDA KASKEY BERMAN UGMA 1575 LAFAYETTE RD                                                                                     GLADWYNE        PA    19035‐1115
PA
KAREN KASKEY CUST SAMANTHA KASKEY UGMA PA   1575 LAFAYETTE RD                                                                                     GLADWYNE        PA    19035‐1115

KAREN KAY PAVOKOVICH                              203 RIDGEMONT LOOP                                                                              DAVENPORT       FL    33837‐7528
KAREN KENNEDY HEID & MICHAEL R HEID JT TEN        117 LEE RD                                                                                      PITTSBURGH      PA    15237‐3908
KAREN KERZ & FRANK KERZ JT TEN                    936 SOUTH WALNUT                                                                                ARLINGTON       IL    60005‐2310
                                                                                                                                                  HEIGHTS
KAREN KNIGHT GRIMES                           1901 DOUGLAS DR                                                                                     BAINBRIDGE      GA    31717‐5245
KAREN KOENIG CUST AMANDA KOENIG UTMA FL       1085 STARLING WAY                                                                                   VIERA           FL    32955‐6348
KAREN KOPICKO                                 499 VIECESTER                                                                                       PLYMOUTH        MI    48170
KAREN KOVEL TR THE KAREN KOVEL REV LIVING     5160 N BAY ROAD                                                                                     MIAMI BEACH     FL    33140‐2009
TRUSTUA 07/11/02
KAREN KREITZER                                9319 RAINTREE LN                                                                                    CHARLOTTE       NC    28277‐9878
KAREN KRICORIAN CUST DEANDRE HAMILTON UTMA CA 11829 DARBY AVE                                                                                     NORTHRIDGE      CA    91326‐1321

KAREN KRINGLE CUST MICHAEL KRINGLE UTMA NY        517 RAYNOR AVE                                                                                  RIVERHEAD       NY    11901‐2923

KAREN KRZEWSKI                                    14755 PALMETTO CT                                                                               SHELBY TWP      MI    48315‐4314
KAREN KSIONZEK CUST JESSICA KSIONSEK UGMA MI      68192 WINGATE                                                                                   WASHINGTON      MI    48095

KAREN KUNDMAN                                     9691 DOWNING PLACE                                                                              IRWIN           PA    15642‐5633
KAREN KUPSKI                                      51076 SIOUX DR                                                                                  MACOMB          MI    48042‐6035
KAREN L ACKERMAN                                  C/O KAREN HENDERSHOT                  5591 E WOODLAND WAY                                       BRINGHURST      IN    46913‐9698
KAREN L AMADOR                                    9350 S 84TH CT                                                                                  HICKORY HILLS   IL    60457‐1814
KAREN L ANDERSON                                  316 COMMONWEALTH AVE                                                                            PT WENTWORTH    GA    31407‐2221
KAREN L ATTKISSON                                 PO BOX 407                                                                                      PITTSBORO       IN    46167‐0407
KAREN L ATWELL                                    58397 EL DORADO DR                                                                              YUCCA VALLEY    CA    92284‐6272
KAREN L BAKER                                     PO BOX 720                                                                                      PINE ISLAND     NY    10969‐0720
KAREN L BARRESE                                   5942 EHREN RD                                                                                   LAND O LAKES    FL    34639‐3430
KAREN L BECKER                                    ATTN KAREN L BROUILLET                #5                    2ND GOVERNOR CT                     O FALLON        MO    63366
KAREN L BEHRENBRINKER                             2291 TIMBER RUN                                                                                 BURTON          MI    48519‐1711
KAREN L BENSON TR UA 07/30/92 KAREN L BENSON      4921 SW 77TH ST                                                                                 WAKARUSA        KS    66546‐9339
TRUST
KAREN L BERTOLLI                                  414 EAST LITTLE ACRES RD                                                                        OAK HARBOR       WA   98277
KAREN L BIRCHMEIER                                8564 N MCKINLEY ROAD                                                                            FLUSHING         MI   48433‐8828
KAREN L BLAND & MICHAEL D BLAND JT TEN            3552 TWIN OAKS CT                                                                               ORION            MI   48359‐1471
KAREN L BLOOMER                                   13376 NORTH ADAMS RD                                                                            ADDISON          MI   49220‐9506
KAREN L BOLSEN                                    36333 PADDLEFORD                                                                                FARMINGTON HILLS MI   48331‐3806

KAREN L BOND                                      22774 TRANQUIL LANE                                                                             FOLEY           AL    36535‐9346
KAREN L BOWMAN                                    19102 ST LAURENT DR                                                                             LUTZ            FL    33558
KAREN L BRADLEY                                   10026 OBERLIN RD                                                                                ELYRIA          OH    44035‐6767
KAREN L BROUGHTON & JACK L BROUGHTON JT TEN       10843 SPENCER RD                                                                                ST CHARLES      MI    48655‐9572
                                                 09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 4 of 8 Pg 477 of 855
Name                                                 Address1                                 Address2             Address3          Address4          City              State Zip

KAREN L BUCKINGHAM                                   3671 HAVEN CIRCLE                                                                                 COLORADO SPRINGS CO     80917‐2047

KAREN L BUSKO                                        9391 MENTOR AVE #173                                                                              MENTOR            OH    44060‐4519
KAREN L CASEY                                        277 HILLCREST DR                                                                                  COLDWATER         MI    49036‐9815
KAREN L CAYLOR                                       421 CONRADT AVE                                                                                   KOKOMO            IN    46901‐5274
KAREN L CHAMBERLAIN                                  G12315 N NICHOLS ROAD                                                                             MONTROSE          MI    48457
KAREN L CHUN EX EST ALICE LEE CHUN                   315 EAST 65TH ST APT 7A                                                                           NEW YORK          NY    10065
KAREN L CICKELLI                                     837 SULLIVAN ST                                                                                   NILES             OH    44446‐3167
KAREN L CONFER                                       4072 BRENDAN LANE                                                                                 NORTH OLMSTED     OH    44070‐2900
KAREN L COOPER                                       1137 E COUNTY RD 900 S                                                                            CLAYTON           IN    46118‐9126
KAREN L CORREN                                       6451 WEIS STREET                                                                                  ALLENTON          WI    53002‐9702
KAREN L CUNNINGHAM                                   901 KNOB HILL CIRCLE                                                                              KISSIMMEE         FL    34744‐5508
KAREN L DALTON TR KAREN L DALTON TRUST UA            2455 BAY VISTA DR                                                                                 HIGHLAND          MI    48357‐4971
08/30/00
KAREN L DAVENPORT                                    10377 CO RD 179                                                                                   OAKWOOD           OH    45873‐9329
KAREN L DE LAND                                      2825 STATE ROAD 17 S                                                                              AVON PARK         FL    33825‐8320
KAREN L DE YOUNG                                     1449 PROVOST LAKE RD                                                                              SKANDIA           MI    49885‐9423
KAREN L DORN                                         2246 MEADOWBROOK DR                                                                               LUTZ              FL    33558‐9402
KAREN L DOROSKIEWICZ                                 24639 EMILY DR                                                                                    BROWNSTOWN        MI    48183‐5422
                                                                                                                                                       TWP
KAREN L DRAPER                                       7439 DRY CREEK DR                        APT 1B                                                   GRAND BLANC       MI    48439
KAREN L DUFRESNE                                     9 ANDOVER                                                                                         KEANE             NH    03431
KAREN L DZIEGELESKI & BERNICE D DZIEGELESKI JT TEN   7660 CORBIN DRIVE                                                                                 CANTON            MI    48187‐1816

KAREN L EDWARDS                                      5280 SE SEASCAPE WA                      APT 3                                                    STUART            FL    34997‐2577
KAREN L FELDER                                       2525 CLEMENT ST                                                                                   FLINT             MI    48504‐7353
KAREN L FRITTS                                       45779 CORTE RICARDO                                                                               TEMECULA          CA    92592‐1246
KAREN L FRIZEK                                       5751 RESERVE LANE                                                                                 HUDSON            OH    44236‐3758
KAREN L FRUVOG                                       PO BOX 843                                                                                        CEDAR GLEN        CA    92321‐0843
KAREN L FURNESS                                      412 HOWELL PKWY                                                                                   MEDINA            NY    14103
KAREN L GARRETT                                      11631 SR 259                                                                                      MATHIAS           WV    26812
KAREN L GLASS                                        4912 WYNNEFORD WAY                                                                                RALEIGH           NC    27614
KAREN L GORDON                                       17200 STAHELIN                                                                                    DETROIT           MI    48219‐3597
KAREN L GREEN ERHART                                 695 WESTRIDGE DR                                                                                  AURORA            IL    60504
KAREN L GROOMS                                       1237 HARTLEY DR                                                                                   FAIRBORN          OH    45324
KAREN L GROSSMAN                                     64 N MAIN ST                                                                                      NEW HOPE          PA    18938‐1342
KAREN L HADEL EBBEN                                  43539 CASTLEWOOD DR                                                                               NOVI              MI    48375‐4006
KAREN L HAMPTON                                      2881 S DIAMOND MILL ROAD                                                                          FARMERSVILLE      OH    45325‐9226
KAREN L HANSEN                                       62 PRICE RD                                                                                       AUGUSTA           NJ    07822
KAREN L HESS                                         0‐10830 14TH AVE                                                                                  GRAND RAPIDS      MI    49544‐9507
KAREN L HODGDON                                      6825 MCLEAN PROVINCE CIRCLE                                                                       FALLS CHURCH      VA    22043‐1678
KAREN L HORSTMEIER                                   10064 CREEKWOOD TR                       APT L                                                    DAVISBURG         MI    48350‐2058
KAREN L HOWARD                                       5620 PORTER RD                                                                                    NIAGARA FALLS     NY    14304‐1500
KAREN L HUNTER                                       1430 WINDCREST LANE NE                                                                            GRAND RAPIDS      MI    49525‐7021
KAREN L INGLE                                        1050 BRITTON RD                                                                                   ROCHESTER         NY    14616‐2917
KAREN L JAMES                                        8005 BARLOW RD                                                                                    LIBERTY           MO    64068
KAREN L JOHNSON                                      797 SALT SPRINGS RD                                                                               WARREN            OH    44481‐9669
KAREN L JOHNSON                                      2016 HAMPTON RD                                                                                   GROSSE POINTE     MI    48236‐1326
KAREN L JOHNSON                                      2016 HAMPTON RD                                                                                   GROSSE POINTE     MI    48236‐1326
KAREN L JONESS                                       9470 FOX HOLLOW RD                                                                                CLARKSTON         MI    48348‐1968
KAREN L JORDAN                                       9614 CRYSTAL SPRINGS DR                                                                           FORT WAYNE        IN    46804‐6518
KAREN L KASARI                                       6950 SOUTH BLUE WATER DR                                                                          CLARKSTON         MI    48348‐4275
KAREN L KASER                                        62841 ORANGE RD                                                                                   SOUTH BEND        IN    46614‐9360
KAREN L KELLY                                        800 S WELLS ST                           APT 1001                                                 CHICAGO           IL    60607‐4536
KAREN L KILLEEN                                      3808 DOVER RD                                                                                     RICHMOND          VA    23221‐3337
KAREN L KING TR KAREN L KING TRUST UA 08/15/96       1620 CARLA CT                                                                                     SAN LUIS OBISPO   CA    93401‐6053

KAREN L KLISE                                        2001 SAN MATEO STREET                                                                             RICHMOND          CA    94804‐5249
KAREN L KNOLL                                        6823 NEWTON FALLS ROAD                                                                            RAVENNA           OH    44266‐8751
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 478 of 855
Name                                             Address1                             Address2              Address3         Address4          City               State Zip

KAREN L KOZLOWSKI                                42 INMAN ST                                                                                   HOPEDALE           MA    01747‐1128
KAREN L KUSHNER                                  79 CRESCENT HOLLOW DR                                                                         SEWELL             NJ    08080‐9654
KAREN L LABOUVE                                  1621 ALEXANDER AVE                                                                            LOMPOC             CA    93436‐3149
KAREN L LEH CUST ALEXANDER DAVID LEH UTMA PA     RD 3 BOX 3116                                                                                 E STROUDBURG       PA    18301‐9535

KAREN L LEH CUST ELIZABETH KATHERINE LEH UTMA PA RD 3 BOX 3116                                                                                 E STROUDBURG       PA    18301‐9535

KAREN L LEH CUST TREVOR DANIEL LEH UTMA PA     RD 3 BOX 3116                                                                                   E STROUDBURG       PA    18301‐9535
KAREN L LINABURY                               506 E SMITH                                                                                     BAY CITY           MI    48706‐3805
KAREN L LITTLE CUST GEORGE M LITTLE UGMA NY    79 WIND WAY CIR                                                                                 ROCHESTER          NY    14624
KAREN L LITTLE CUST HEATHER LEANNE LITTLE UGMA 79 WIND WAY CIR                                                                                 ROCHESTER          NY    14624‐2454
NY
KAREN L LOW                                    44 FINCH ST RR #1                      FENELON FALLS ON                       K0M 1N0 CANADA
KAREN L LUTTRELL                               851 CARY DR                                                                                     AUBURN             AL    36830‐2533
KAREN L MASON                                  7385 SW GABLE OARK RD                                                                           PORTLAND           OR    97225
KAREN L MC KAY                                 1625 ALINE                                                                                      GROSSE PT WDS      MI    48236‐1058
KAREN L MC MANUS CUST SUSAN M MC MANUS UGMA 43 MICHIGAN ST                                                                                     BLOOMFIELD         NY    14469‐9339
NY
KAREN L MCCANN                                 14223 SAN JOSE                                                                                  REDFORD            MI    48239
KAREN L MCKEEHAN                               419 MONTE DR                                                                                    MASON              OH    45040
KAREN L MCMANUS                                14 EDMAR CT                                                                                     HENRIETTA          NY    14467‐9624
KAREN L MCNEAL                                 5429 HAGERMAN RD                                                                                BUTLER             OH    44822‐9629
KAREN L MEHALL                                 3408 WHEATLAND LN                                                                               PLANO              TX    75025‐3614
KAREN L MESSINA                                7094 MELDRUM RD                                                                                 FAIR HAVEN         MI    48023
KAREN L MILAK                                  723 INDIANA AVE                                                                                 MCDONALD           OH    44437‐1822
KAREN L MORESEA                                2268 SUNNYSIDE ROAD                                                                             MONOGAHELA         PA    15063‐9803
KAREN L NATOLI                                 1710 GOLDEN GATE AVE                                                                            SAN FRANCISCO      CA    94115‐4411
KAREN L NATOLI MAXWELL                         1710 GOLDEN GATE AVE                                                                            SAN FRANCISCO      CA    94115‐4411
KAREN L NELSON                                 3041 VALLEY ROAD                                                                                HONOR              MI    49640‐9741
KAREN L PIERCE                                 217 E MILFORD DR                                                                                SYRACUSE           NY    13206‐2310
KAREN L POTTER                                 960 RUTLEDGE DR                                                                                 ROCKVALE           TN    37153‐4023
KAREN L PROCTOR                                67 MIRAMAR                                                                                      ROCHESTER          NY    14624‐1711
KAREN L RIS                                    5528 SHERINGHAM BLVD                                                                            CLARKSTON          MI    48346‐3057
KAREN L SAITTA                                 361 SANTA PAULA                                                                                 SAN LEANDRO        CA    94579‐1951
KAREN L SEHEE LICARI                           89 GREENBRIAR                                                                                   GROSSE PT SHR      MI    48236‐1507
KAREN L SEHEE‐LICARI                           89 GREENBRIAR                                                                                   GROSSE POINTE      MI    48236‐1507
                                                                                                                                               SHRS
KAREN L SEHEELICARI                              89 GREENBRIAR                                                                                 GROSSE PT SHORES   MI    48236

KAREN L SIEROTA CUST SARAH MARIE SIEROTA UGMA    47624 W HURON RIVER DRIVE                                                                     BELLEVILLE         MI    48111‐4451
MI
KAREN L SILTMAN                                  3108 HOLLY BERRY COURT                                                                        ABINGDON           MD    21009
KAREN L SMITH                                    6207 CEDAR LAKE RD                                                                            OSCODA             MI    48750‐9458
KAREN L STASHAK                                  275 LOCUST ST                                                                                 LOCKPORT           NY    14094‐4940
KAREN L STEEVER                                  17 TERRACE AVE                                                                                NOANK              CT    06340‐5744
KAREN L STEWART                                  1059 GRAYSON FARM RD                                                                          CREEDMOOR          NC    27522‐8729
KAREN L STEWART                                  708 NE 81ST ST                                                                                OKLAHOMA CITY      OK    73114‐4002
KAREN L STILES                                   305 WAXWING DR                                                                                TRAVERSE CITY      MI    49686
KAREN L STOUT                                    ATTN KAREN HUDSON                    236 COWLEY AVE EAST                                      LANSING            MI    48823‐4014
KAREN L SWARTZ                                   140 ROLLING HILLS RD                                                                          MCLOUD             OK    74851‐8492
KAREN L SWEENEY                                  202 JASMINE LANE                                                                              NEWARK             DE    19702‐3930
KAREN L TEER                                     3118 LAWNDALE AVE                                                                             FLINT              MI    48504‐2628
KAREN L TERMION                                  27 WEST 150 WALNUT DRIVE                                                                      WINFIELD           IL    60190
KAREN L THEOBALD                                 22602 W 72ND TER                                                                              SHAWNEE            KS    66227‐2636
KAREN L THOMPSON                                 9096 SANDROCK RD                                                                              EDEN               NY    14057‐9526
KAREN L THORNTON                                 3799 COURTNEY CREEK                                                                           BROWNSVILLE        OR    97327
KAREN L TOMPKINS                                 4039 LOTUS DR                                                                                 WATERFORD          MI    48329‐1231
KAREN L TUCKER                                   82 REDWOOD RD                                                                                 SPRINGFIELD        NJ    07081‐2426
KAREN L VANEMAN                                  27 GREENLEAF CIR                                                                              ASHEVILLE          NC    28804‐2347
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 479 of 855
Name                                               Address1                               Address2              Address3         Address4          City               State Zip

KAREN L VOLLMAR                                    1493 S IRISH RD                                                                                 DAVISON            MI    48423‐8313
KAREN L VOLTEN TR UA 08/19/99 ABIGAIL S MINTER     8100 SINGING WOOD LANE                                                                          SPOTSYLVANIA       VA    22553
REVOCABLE LIVING TRUST
KAREN L WAGER                                      976 N BROOKSIDE DR                                                                              LEWISTON           NY    14092‐2225
KAREN L WALLS                                      2301 ULIN RD                                                                                    WILM               DE    19810‐3115
KAREN L WARGO                                      1515 CARR ST                                                                                    SANDUSKY           OH    44870‐3110
KAREN L WATERFIELD                                 4397 OLD BAYOU TRAIL                                                                            DESTIN             FL    32541‐3423
KAREN L WEAVER & JOHN N WEAVER JT TEN              450 STONEYFIELD DRIVE                                                                           SOUTHERN PINES     NC    28387‐7161
KAREN L YAZURLO                                    PO BOX 61                                                                                       WAYMART            PA    18472‐0061
KAREN L ZALEWSKI                                   96 WEST ST                             #3                                                       NEW BRITAIN        CT    06051‐1408
KAREN L ZILLGITT & OTTO F ZILLGITT III & EMILY C   630 HOLLYWOOD DR                                                                                MONROE             MI    48162‐7814
ZILLGITT JT TEN
KAREN LAHMAN                                       25 CAREY DR                                                                                     SPRINGBORO         OH    45066‐1229
KAREN LATO & CHRISTOPHER JENSEN JT TEN             14 BEAVER DAM RD                                                                                NEWTOWN            CT    06470‐2509
KAREN LE FEVRE                                     C/O KAREN J OBRAZA                     662 SEWARD AVE                                           AKRON              OH    44320‐1710
KAREN LEANN BLEM & LEANN BLEM JT TEN               3808 DOVER ROAD                                                                                 RICHMOND           VA    23221‐3337
KAREN LEE BOYD                                     2807 E WESTCHESTER                                                                              LANSING            MI    48911‐1038
KAREN LEE FINLAY                                   6730 ROYAL LN                                                                                   DALLAS             TX    75230‐4146
KAREN LEE HOWARD                                   2348 AVERHILL DR                                                                                AKRON              OH    44333‐3915
KAREN LEE LEMOINE                                  425 BEVERLY ST                                                                                  EXCELSIOR SPG      MO    64024
KAREN LEE MARTIN                                   2279 CRESS CREEK DR                                                                             MUSKEGON           MI    49444‐4378
                                                                                                                                                   HEIGHTS
KAREN LEE MILLER                                   4112 AMBERWOOD CT                                                                               LEXINGTON          KY    40513‐1358
KAREN LEE MUNSON                                   2224 JUANITA DR                                                                                 NEW SMYRNA         FL    32168‐8491
KAREN LEE PHELAN                                   5237 BROKEN LANCE CT                                                                            SAN JOSE           CA    95136‐3301
KAREN LEE TARANTINE                                3 KNOLLWOOD DR                                                                                  FREVILLE           NY    13068‐9638
KAREN LEHMAN CUST JUSTIN D LEHMAN UTMA PA          53 OLD MILL ROAD                                                                                WILKES BARRE       PA    18702‐7318

KAREN LEIGH BRAVO                                  3808 SHADY MEADOW DR                                                                            GRAPEVINE          TX    76051‐7128
KAREN LENZ PAGEL PER REP EST ALICE M LENZ          600 NORTHERN WAY #1406                                                                          WINTER SPGS        FL    32708
KAREN LERTORA CUST KELLY ANN LERTORA UGMA NY       80 LAUREL HILL RD                                                                               NORTHPORT          NY    11768‐3425

KAREN LEWIS WAGNER                                 931 N CIRCULO ZAGALA                                                                            TUCSON             AZ    85745‐8997
KAREN LEY                                          2870 MORGAN TRAIL                                                                               MARTINVILLE        IN    46151‐6676
KAREN LINDA WEISENBERG                             23733 BURBANK BLVD #122                                                                         WOODLAND HILLS     CA    91367‐4023

KAREN LOCCISANO                                    51 ROCKLEDGE RD 1A                                                                              HARTSDALE          NY    10530‐3465
KAREN LOEB CUST BRYAN LOEB UGMA NY                 1040 COUNTRY RT 19                                                                              CONSTABLE          NY    12926
KAREN LOUISE BUSINSKI & MARJORIE I BUSINSKI JT TEN 12842 S 45TH ST                                                                                 PHOENIX            AZ    85044‐4032

KAREN LOUISE HEIER                                 497 BEAR HOLLOW DRIVE                                                                           FRONT ROYAL        VA    22630‐4838
KAREN LOUISE MASSENGILL                            C/O K M MILLS                          3131 CASTLELEIGH RD                                      SILVER SPRING      MD    20904‐1715
KAREN LOUISE MORALES                               11080 W CLEMENTS CIRCLE                                                                         LIVONIA            MI    48150‐3153
KAREN LOUISE WICHERS                               914 HILLSIDE BLVD                                                                               NEW HYDE PARK      NY    11040‐2917
KAREN LOZEN CUST MATTHEW D LOZEN UGMA MI           8190 POTTER RD                                                                                  FLUSHING           MI    48433‐9445
KAREN LYNN LOSEY                                   900 S CHESTNUT                                                                                  OWOSSO             MI    48867‐4010
KAREN LYNN REID                                    708 THORNTON CT                                                                                 NORTH WALES        PA    19454‐1044
KAREN LYNN YOUNGER                                 3 DADEN LN                                                                                      WEST SIMSBURY      CT    06092‐2704
KAREN M BABER                                      1131 ETHEL AVE                                                                                  MIAMISBURG         OH    45342‐2509
KAREN M BAKER                                      28334 WST OAKLAND RD                                                                            BAY VILLAGE        OH    44140‐2033
KAREN M BALIAN & GARY J BALIAN JT TEN              64 UXBRIDGE RD                                                                                  MENDON             MA    01756‐1021
KAREN M BARTKOWIAK                                 8297 RONDALE DR                                                                                 GRAND BLANC        MI    48439‐8367
KAREN M BAUER CUST BRADFORD BAUER UTMA OH          11463 VICEROY ST                                                                                CONCORD TWP        OH    44077

KAREN M BEER                                       320 HUNTLEIGH MANOR DR                                                                          SAINT CHARLES      MO    63303‐6269
KAREN M BELL                                       2418 RUTHERFORD RD                                                                              BLOOMFIELD HILLS   MI    48302‐0661

KAREN M BERES                                      945 OREGON BLVD                                                                                 WATERFORD          MI    48327‐3122
KAREN M BREY                                       9557 S 31ST ST                                                                                  FRANKLIN           WI    53132‐9528
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                        Part 4 of 8 Pg 480 of 855
Name                                             Address1                                Address2                   Address3           Address4          City            State Zip

KAREN M BRUNO                                    485 3RD STREET                                                                                          WAYNESBURG      PA    15370‐1055
KAREN M BURIN                                    6465 BASSWOOD DR                                                                                        TROY            MI    48098‐2085
KAREN M BUSHY                                    229 BRIDLE PATH CIRCLE                                                                                  OAK BROOK       IL    60523‐2614
KAREN M CLARK                                    6 AINSWORTH ST                                                                                          BURLINGTON      MA    01803‐2913
KAREN M COOPER                                   3428 COURTNEY DR                                                                                        FLOWER MOUND    TX    75022‐1062
KAREN M COOPER CUST KEVIN B COOPER UGMA MI       956 LONGFELLOW                                                                                          TROY            MI    48098‐4882

KAREN M COOPER CUST LORI M COOPER UGMA MI        956 LONGFELLOW                                                                                          TROY            MI    48098‐4882

KAREN M DOBSON‐JOHNSON                           5585 CHATHAM LN                                                                                         GRAND BLANC     MI    48439‐9742
KAREN M ELO                                      1420 CONGRESS ST                                                                                        LANSING         MI    48906‐4901
KAREN M FACHINI                                  16803 CRYSTAL DR                                                                                        MACOMB          MI    48042
KAREN M FERRIS                                   44 LONG JOHN CIRCLE                                                                                     FLORIEN         LA    71429
KAREN M FERRUCCIO                                15 PRATT STREET                                                                                         FRAMINGHAM      MA    01702‐7360
KAREN M FLATT                                    9455 WASHBURN RD                                                                                        COLUMBIAVILLE   MI    48421‐8811
KAREN M FOGAS                                    30 MILIKEN RD                                                                                           COLONIA         NJ    07067‐1233
KAREN M FREEMAN                                  15446 FERGUSON                                                                                          DETROIT         MI    48227‐1567
KAREN M GEORGE                                   30‐80 21ST STREET APT PHC                                                                               ASTORIA         NY    11102
KAREN M HECK TR KAREN M HECK TRUST UA 01/30/01   1217 S DIVISION                                                                                         BARRINGTON      IL    60010‐5016

KAREN M HOWARD & JAMES C HOWARD JT TEN          733 WHISPERING FOREST DR                                                                                 BALLWIN         MO    63021‐4481
KAREN M HUNTER                                  641 GRISWOLD S E                                                                                         GRAND RAPIDS    MI    49507‐3209
KAREN M HUNTZ                                   8 YALE PLACE                                                                                             BUFFALO         NY    14210‐2326
KAREN M IOVANISCI                               495 ROLLING DR                                                                                           WEST CHESTER    PA    19380‐1042
KAREN M IVEY                                    367 RACKLEY ROAD                                                                                         HOHENWALD       TN    38462‐5508
KAREN M JOHNSON                                 688 FIFTH ST N                                                                                           BAYPORT         MN    55003‐1208
KAREN M KARLEK                                  7307 DRIFTWOOD DR                                                                                        FENTON          MI    48430‐8903
KAREN M KASHICKEY DIMASSO & DENNIS M DIMASSO JT 8236 WELLER RD                                                                                           CINCINNATI      OH    45242‐3254
TEN
KAREN M KIMBLE                                  379 WEST ROSE                                                                                            GARDEN CITY      MI   48135‐2661
KAREN M KING                                    221 LINDEN TREE RD                                                                                       WILTON           CT   06897‐1618
KAREN M KLINE                                   6367 BOULDER DRIVE                                                                                       FLUSHING         MI   48433‐3503
KAREN M KNIFFEN                                 5100 DRUMHELLER RD                                                                                       BATH             MI   48808‐9748
KAREN M KOEHL                                   336 ASHWORTH TRAIL                                                                                       POWELL           TN   37849‐3061
KAREN M KOSAL                                   2601 LAKESHORE RD                                                                                        APPLEGATE        MI   48401‐9708
KAREN M KOZIATEK                                2440 W CORTEZ APT 3                                                                                      CHICAGO          IL   60622
KAREN M KREJCAR                                 6106 NEW ENGLAND LANE                                                                                    CANTON           MI   48187‐2654
KAREN M KRISTOFF                                3812 SPRINGBORO RD                                                                                       LEBANON          OH   45036‐9126
KAREN M KRIZAN                                  3843 NW ARROWOOD CIR                                                                                     CORVALLIS        OR   97330‐3412
KAREN M LEGGIO                                  VAUXHALL PO BOX 9022                                                                                     WARREN           MI   48090‐9022
KAREN M LEGGIO                                  2153 COLONY RD                                                                                           CHARLOTTE        NC   28209
KAREN M LEITNER                                 5057 N 105TH                                                                                             MILWAUKEE        WI   53225‐3952
KAREN M LENOIR                                  2931 CHESTNUT HILL DR                                                                                    SACRAMENTO       CA   95826‐2916
KAREN M LICKE & CARL E LICKE JT TEN             980 QUILL LN                                                                                             WOODSTOCK        IL   60098‐2295
KAREN M LINDBERG                                876 HARSHFIELD ST                                                                                        FERNDALE         MI   48220‐2355
KAREN M LOUKE                                   9218 E 206TH ST                                                                                          NOBLESVILLE      IN   46060‐1007
KAREN M MARSHALL                                PO BOX 13322                                                                                             SOUTH LAKE TAHOE CA   96151‐3322

KAREN M MORGAN                                   4631 WILHOITE RD                                                                                        FRANKLIN        TN    37064‐9601
KAREN M MORINELLI                                PO BOX 4007                                                                                             SARASOTA        FL    34230‐4007
KAREN M NAIK & LUCY A NAIK JT TEN                C/O BURCHELL W NAIK                     63 CHANCERY CIRCLE         ST CATHARINES ON   L2M 7R3 CANADA
KAREN M NASTASI                                  3792 N CENTURY OAKS CIRCLE                                                                              OAKLAND TWP     MI    48363‐2666
KAREN M O'DOUGHERTY                              165 GRESHAM RD                                                                                          ASHLAND         OR    97520‐2806
KAREN M OTTAVIANO & MARIE C OTTAVIANO JT TEN     641 CENTRAL AVENUE                                                                                      WESTFIELD       NJ    07090‐2524

KAREN M OTTINGER                                 612 S BROWNLEAF RD                      SHERWOOD FOREST                                                 NEWARK          DE    19713‐3554
KAREN M OWENS                                    ATTN KAREN M FLOWERS                    5352 TIMBERWOOD POINT DR                                        FLINT           MI    48532‐2266
KAREN M POINSETT                                 2151 LINCOLN HWY                        APT J4                                                          LEVITTOWN       PA    19056‐1214
KAREN M QUINCY                                   11982 BRADLEY DRIVE                                                                                     JEROME          MI    49249‐9619
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 481 of 855
Name                                           Address1                              Address2             Address3          Address4          City              State Zip

KAREN M RICE                                   943 CHIP CREEK CT                                                                              MINDEN            NV    89423‐7724
KAREN M ROSE                                   11196 DAVISON RD                                                                               DAVISON           MI    48423‐8102
KAREN M SATER                                  9250 FAIR RD                                                                                   STRONGSVILLE      OH    44136
KAREN M SCHELL                                 5637 S PARK BLVD                                                                               PARMA             OH    44134‐2738
KAREN M SCHMA                                  726 B GARLAND CIRCLE                                                                           KALAMAZOO         MI    49008‐2462
KAREN M SCHNEIDER                              57 VALLEY TRAIL DR                                                                             WINONA            MN    55987‐1317
KAREN M SHARPE CUST MELISSA SHARPE UTMA MI     21601 ELIZABETH ST                                                                             ST CLR SHORES     MI    48080‐2925

KAREN M SMOLEY                                 30 FENCEROW COURT                                                                              BALTIMORE         MD    21236
KAREN M SOLDAN                                 5102 WALDEN DR                                                                                 SWARTZ CREEK      MI    48473‐8545
KAREN M SOLOMON                                4926 W BAY WAY DR                                                                              TAMPA             FL    33629‐4804
KAREN M STACEY                                 8832 QUAIL COUNTRY WAY                APT # 103                                                LAS VEGAS         NV    89117
KAREN M STRAUSS                                4593 RACEWOOD DRIVE                                                                            COMMERCE          MI    48382‐1168
                                                                                                                                              TOWNSHIP
KAREN M SUROFCHEK                              6491 ARDMORE AVE                                                                               JENISON           MI    49428‐9268
KAREN M THOMAS                                 5450 CRITTENDEN RD                                                                             AKRON             NY    14001‐9221
KAREN M TRANSIT                                55736 NICKELBY SOUTH                                                                           SHELBY TOWNSHIP   MI    48316‐1007

KAREN M WALESKI                              539 W KINGS HWY                                                                                  AUDUBON           NJ    08106‐2207
KAREN M WALLACE                              PO BOX 133                                                                                       WANETTE           OK    74878‐0133
KAREN M WILLINGHAM                           16569 ASHTON                                                                                     DETROIT           MI    48219
KAREN M WINOWIECKI                           11982 BRADLEY DRIVE                                                                              JEROME            MI    49249‐9619
KAREN M WYLIE                                3407 JUNIPER                                                                                     JOLIET            IL    60431‐2825
KAREN M ZENOBI                               679 JOHNSON PLANK ROAD                                                                           WARREN            OH    44481‐9326
KAREN MACHT                                  15 LOVE CRESCENT                        AJAX ON                                L1S 4T1 CANADA
KAREN MACKEN                                 1762 SCHUETZ RD                                                                                  SAINT LOUIS       MO    63146‐4976
KAREN MAGANN                                 851 OVERLOOK COURT                                                                               SAN MATEO         CA    94403‐3843
KAREN MAGHRAN                                125 ELLINGWOOD DR                                                                                ROCHESTER         NY    14618‐3629
KAREN MALEY WALLENHORST                      294 SEVILLE DR                                                                                   ROCHESTER         NY    14617‐3832
KAREN MARIE CORNWELL CUST AMY MARIE CORNWELL 36901 DOW ST                            APT 119                                                  RICHMOND          MI    48062‐1402
UGMA MI
KAREN MARIE CORNWELL CUST DANA MARIE         36901 DOW ST                            APT 119                                                  RICHMOND          MI    48062‐1402
CORNWELL UGMA MI
KAREN MARIE FALLOON                          2004 RHETTSBURY ST                                                                               CARMEL            IN    46032‐7228
KAREN MARIE FOSTER                           3370 E VERMONTVILLE HIGHWAY                                                                      POTTERVILLE       MI    48876‐9726
KAREN MARIE HARDY                            275 GLEN RIDDLE RD C‐22                                                                          MEDIA             PA    19063‐5825
KAREN MARIE HELTMACH                         6922 CROCUS CT APT 1                                                                             GREENDALE         WI    53129‐2335
KAREN MARIE ISENGA & JEFFERY ISENGA JT TEN   3631 AWIXA CT NW                                                                                 WALKER            MI    49544‐7725
KAREN MARIE MARCO                            198 ISLAND VIEW DR                                                                               TRAVERSE CITY     MI    49696‐9313
KAREN MARIE MARTELLI CUST JOSEPH MICHAEL     4780 ELMHURST DRIVE                                                                              SAN JOSE          CA    95129‐2027
MARTELLI UTMA CA
KAREN MARIE MILLER                           ATTN KAREN M SYNOWIEC                   33242 BROWN ST                                           GARDEN CITY       MI    48135‐1103
KAREN MARIE SHEEDY                           4012 E SADDLE DR                                                                                 FORT WAYNE        IN    46804‐3930
KAREN MARTIN YOST                            5489 VALLEY RUN ST                                                                               HICKORY           NC    28601‐9453
KAREN MAYNARD                                14750 HIGHLAND AVE                                                                               ORLAND PARK       IL    60462‐3050
KAREN MC CLAIN                               9514 ORBITAN COURT                                                                               BALTIMORE         MD    21234‐3377
KAREN MC GREW WAGNER                         133 BENNINGTON POINTE                                                                            MADISON           MS    39110‐8742
KAREN MCINERNEY                              W291N3652 PRAIRIESIDE CT                                                                         PEWAUKEE          WI    53072‐3170
KAREN METZGER                                2514 FINCH BLVD                                                                                  LEBANON           IN    46052‐8600
KAREN MILLER STIGER                          2752 BEEBE BLVD                                                                                  OSSINEKE          MI    49766‐9605
KAREN MINNIS                                 1605 WOODMERE WAY                                                                                HAVERTON          PA    19083‐2509
KAREN MISCHE                                 4030 W 104TH TER                                                                                 OVERLAND PARK     KS    66207‐4007
KAREN MORGESON                               450 MELINDA CIRCLE                                                                               WHITE LAKE        MI    48386‐3462
KAREN MORROW                                 ATTN LIEBMAN                            159 W 53RD ST                                            NEW YORK          NY    10019‐6005
KAREN MUELLER CRUSER                         535 OLD FARM SCHOOL RD                                                                           ASHEVILLE         NC    28805‐9601
KAREN N MURAYAMA                             1206 HO'OHOALOHA PLACE                                                                           HILO              HI    96720‐3682
KAREN N STEER                                3322 NE 14TH AVE                                                                                 PORTLAND          OR    97212‐2213
KAREN N TALBOT                               1156 JOSEPH COURT                                                                                RIPON             CA    95366‐3109
KAREN NAAS KING CUST ASHLEY E KING UTMA OH   4111 CHALMETTE DR                                                                                BEAVERCREEK       OH    45440‐3226
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 482 of 855
Name                                            Address1                                Address2             Address3          Address4          City              State Zip

KAREN NAKELSKI                                  1920 CARRBRIDGE WAY                                                                              RALEIGH          NC     27615‐2576
KAREN NELSON CUST AMY NELSON UTMA IL            1052 S CHESTNUT STREET                                                                           ARLINGTON HEIGHT IL     60005‐3151

KAREN NELSON CUST ERIK NELSON UTMA IL           1052 S CHESTNUT STREET                                                                           ARLINGTON         IL    60005‐3151
                                                                                                                                                 HEIGHTS
KAREN NELSON CUST KEVIN NELSON UTMA IL          1052 S CHESTNUT STREET                                                                           ARLINGTON         IL    60005‐3151
                                                                                                                                                 HEIGHTS
KAREN O HODGE & ROBERT J HODGE JT TEN           5904 LONGVIEW DR                                                                                 MISSOULA          MT    59803‐3341
KAREN O'DONOHUE                                 201 RALEIGH TAVERN LN                                                                            N ANDOVER         MA    01845‐5627
KAREN OBRIEN                                    116 OLD ORCHARD LANE                                                                             OCEAN             NJ    07712‐2574
KAREN ORTICELLE                                 4 CHELSEA DRIVE                                                                                  MERRICK           NY    11566‐2004
KAREN P CLARK                                   435 BRAVADO                                                                                      NORTHPORT         FL    34287‐2503
KAREN P COX                                     N4101 LAKE DR                                                                                    BRODHEAD          WI    53520‐8613
KAREN P GRISWOLD                                18896 CABERNET DR                                                                                SARATOGA          CA    95070‐3565
KAREN P HOFFMAN & ELIZABETH M HOFFMAN JT TEN    214 SHELTER LANE                                                                                 JUPITER           FL    33469

KAREN P JOHNSON CUST CHRISTOPHER M JOHNSON      1848 MIDCHESTER DR                                                                               W BLOOMFIELD      MI    48324‐1137
UGMA MI
KAREN P KNEIPP                                  11117 RED MAPLE COURT                                                                            WASHINGTON        MI    48094
KAREN P LESKIW‐JANVARY                          5972 MOUNTAINGATE DR                    NIAGARA FALLS ON                       L2J 4H9 CANADA
KAREN P MCCOLGAN & LILLIAN C PURNELL TR UA      8592 ROSWELL ROAD                       APT 558                                                  ATLANTA           GA    30350‐1872
09/18/85 BY JOHN F PURNELL
KAREN P MOLLEUR                                 8162 RACINE TRAIL                                                                                AUSTIN            TX    78717‐5344
KAREN P PUMA                                    31 JERSEY ST                                                                                     DEER PARK         NY    11729‐2326
KAREN PARKER VINCE                              3633 LANTERN VIEW COURT                                                                          HOWELL            MI    48843‐8978
KAREN PARLATO                                   50 MAIN ST                              PO BOX 341                                               BETHLEHEM         CT    06751‐0341
KAREN PASCUCCI                                  87 EDWARDS RD                                                                                    CLIFTON           NJ    07013
KAREN PATRICIA ALLISON                          RT 1 BOX 2874                                                                                    WAYNE             ME    04284‐9717
KAREN PECK                                      6130 MONTEREY HWY                       SPC 115                                                  SAN JOSE          CA    95138
KAREN PHILLIPS                                  111 HAMILTON AVE                                                                                 WESTFIELD         NJ    07090‐3736
KAREN PHILLIPS‐JAMES                            293 JEFFERSON AVE                                                                                SHARON            PA    16146‐3378
KAREN PLANK                                     822 7TH STREET                                                                                   KALONA            IA    52247‐9481
KAREN PURCELL JOHNSON CUST MATTHEW DANIEL       1848 MIDCHESTER                                                                                  WEST BLOOMFIELD   MI    48324‐1137
JOHNSON UGMA MI
KAREN R ALLEN                                   1500 S W 77 TERR                                                                                 OKLAHOMA CITY     OK    73159‐5333
KAREN R BANNAN                                  5674 WENDY CIRCLE                                                                                LOCKPORT          NY    14094‐6015
KAREN R BARRETT                                 176 SANDYHOOK RD                                                                                 BERLIN            MD    21811‐1621
KAREN R BOECKMANN                               4022 MAPLETON AVE                                                                                LOUISVILLE        KY    40215‐2524
KAREN R BOND                                    12598 SPICEWOOD RD                                                                               ORANGE            VA    22960‐2202
KAREN R CADE                                    512 GRACE AVE #1                                                                                 INGLEWOOD         CA    90301‐1339
KAREN R COCKERILL TR UA 08/13/2009 KAREN R      22045 WALLACE DR                                                                                 CUPERTINO         CA    95014
COCKERILL TRUST
KAREN R CRAIG                                   43 LITTLE JOHN LANE                                                                              ROCKLEDGE         FL    32955‐2410
KAREN R HENDRICKS                               5201 FENNELL ST                                                                                  INDIAN TRAIL      NC    28079‐6525
KAREN R HIMMELMAN & WILLIAM R HIMMELMAN JT      3 CHRISTIAN AVE                                                                                  HUDSON            MA    01749‐2002
TEN
KAREN R HOGG CUST JEFFERY S HOGG UGMA PA        13 KENNY DR                                                                                      MOHNTON           PA    19540‐1210
KAREN R HOLMES                                  9505 S STATE ROAD 5                                                                              SOUTH WHITLEY     IN    46787‐9761
KAREN R HOWARD                                  1561 BRYS                                                                                        GROSS POINTE      MI    48236‐1007
                                                                                                                                                 WOODS
KAREN R KEESLING TR KAREN R KEESLING TRUST UA   9606 W LINDGREN AVE                                                                              SUN CITY          AZ    85373‐2111
8/09/99
KAREN R LAWRENCE                                5377 E COUNTYLINE RD                                                                             CAMBY             IN    46113‐8483
KAREN R MCELFRESH                               7375 PHOENIX DR APT 219                                                                          HOUSTON           TX    77030
KAREN R MILLER TR KAREN R MILLER 2002 LIVING    1562 PIMLICO DR                                                                                  AUSTINTOWN        OH    44515‐5162
TRUSTUA 07/26/02
KAREN R PEET & HARVEY E PEET JT TEN             170 APPLE LANE                                                                                   ROXBURY           CT    06783‐1712
KAREN R PUGLIA CUST KIMBERLY A PUGLIA UGMA NY   1619 BAYVIEW AVE                                                                                 BRONX             NY    10465‐1009
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 483 of 855
Name                                             Address1                              Address2             Address3          Address4                City              State Zip

KAREN R SEGAL                                    980 QUEENSTON BAY                     WINNIPEG MB                            R3N 0Y2 CANADA
KAREN R STRALEY                                  5499 IRISH RD                                                                                        GRAND BLANC       MI    48439‐9754
KAREN R SWARER                                   109 ACORN LANE                                                                                       RECTOR            PA    15677‐9703
KAREN R TWAIN                                    11320 SW FOOTHILL DR                                                                                 PORTLAND          OR    97225‐5312
KAREN R WHITE                                    1914 GREEN MEADOW                                                                                    SANFORD           MI    48657‐9231
KAREN R YORK                                     5755 STATE ROUTE 46                                                                                  CORTLAND          OH    44410‐9663
KAREN RAE RONDO                                  2430 GABEL RD                                                                                        SAGINAW           MI    48601‐9310
KAREN REIF                                       N7494 EDGEWATER DR                                                                                   BEAVER DAM        WI    53916‐9580
KAREN REIF‐MILLER                                N7494 EDGEWATER DR                                                                                   BEAVER DAM        WI    53916‐9580
KAREN RENEE ATKINS                               903 LUND ST                           #A                                                             AUSTIN            TX    78704‐2013
KAREN RICHARDSON                                 20426 HIAWATHA ST                                                                                    CHATSWORTH        CA    91311‐2555
KAREN RINTEL                                     31 CHEYENNE DR                                                                                       MONTVILLE         NJ    07045‐9216
KAREN ROCK MONNICK                               4 BROCKWELL AVENUE                    BECKENHAM KENT                         BR3 3GF GREAT BRITAIN
KAREN RUBIN                                      5 ROSE AVENUE                                                                                        GREAT NECK        NY    11021‐1530
KAREN RUSSELL CUST AUSTIN RUSSELL UTMA TX        2223 CEDAR CIR                                                                                       CARROLLTON        TX    75006‐1926
KAREN RUTH OTT CUST JUSTIN FOSTER OTT UTMA PA    2928 CAMBRIDGE ST                                                                                    PHILADELPHIA      PA    19130‐1116

KAREN S ATWOOD                                   57 BELVIDERE AVE                                                                                     LAMBERTVILLE      NJ    08530‐2325
KAREN S BRETTSCHNEIDER                           1835 COUNTRY CLUB DR                                                                                 CHERRY HILL       NJ    08003‐3313
KAREN S BRYANT                                   784 COVENT CT                                                                                        VANDALIA          OH    45377‐1614
KAREN S BUCKLAND & JOHN E NETHERLAND JT TEN      220 COLEMAN DR                                                                                       WINTER HAVEN      FL    33884‐2553

KAREN S CARTER                                   918 EAST AUMAN DRIVE                                                                                 CARMEL            IN    46032
KAREN S CLARK                                    2190 ERIE ST                                                                                         RAVENNA           OH    44266
KAREN S CLEARWATER                               406 COUNTRY LN                                                                                       KOKOMO            IN    46902‐5119
KAREN S COLLINS                                  1140 BOULAN DR                                                                                       ATTICA            MI    48412‐9359
KAREN S CONWELL                                  1096 E 700 N                                                                                         VAN BUREN         IN    46991
KAREN S DEEGAN                                   54366 ROYAL TROON                                                                                    S LYON            MI    48178‐9413
KAREN S DI NARDO                                 28 HERMAN STREET                                                                                     EAST RUTHERFORD   NJ    07073‐1201

KAREN S DILLINGHAM                               2544 N 900 E                                                                                         GREENTOWN         IN    46936‐9513
KAREN S DONNELLY                                 9362 WHIPPLE LAKE CT                                                                                 CLARKSTON         MI    48348‐3153
KAREN S ELLINWOOD & SHELLY E MAZUR & RYAN        230 BRIARCLIFF DR                                                                                    NAPOLEON          OH    43545‐2304
MAZUR JT TEN
KAREN S EVANS                                    1555 MARYLESTONE                                                                                     W BLOOMFIELD      MI    48324‐3843
KAREN S FIRE                                     156 IRQUOIS STREET                                                                                   STRUTHERS         OH    44471‐1419
KAREN S FRENCH                                   317 ELDER LN NW                                                                                      CEDAR RAPIDS      IA    52405‐3225
KAREN S FRENCH                                   1465 BROOKPARK DRIVE                                                                                 MANSFIELD         OH    44906‐3503
KAREN S GIBSON                                   1527 FUNDERBURG RD                                                                                   NEW CARLISLE      OH    45344
KAREN S GOINS                                    2420 BRIAR CREEK                                                                                     BURTON            MI    48509‐1396
KAREN S GOODWIN                                  23 RICHARDSON DR                                                                                     DOVER             NH    03820‐4318
KAREN S HOWARD                                   RURAL ROUTE 1 BOX 155                                                                                FLORA             IN    46929‐9515
KAREN S KANE                                     2804 HERMAN RD                                                                                       HAMILTON          OH    45013
KAREN S KIRKHAM                                  C/O ANDERSON                          3600 BYRON RD                                                  XENIA             OH    45385‐9519
KAREN S LAUTZENHEISER                            1007 SOUTH WALNUT STREET                                                                             VAN WERT          OH    45891
KAREN S LAWYER TOD JORDAN S LAWYER SUBJECT TO    410 PAUL AVE                                                                                         FLORISSANT        MO    63031
STA TOD RULES
KAREN S MARR                                     11209 PAR COURT                                                                                      KOKOMO            IN    46901‐9551
KAREN S MASSOGLIA & CHARLES L MASSOGLIA JT TEN   APT 1C                                1637 WILLOUGHBY                                                MASON             MI    48854‐9435

KAREN S MAURINO                                  2469 GRINDLEY PARK ST                                                                                DEARBORN          MI    48124‐2585
KAREN S MCCURDY                                  820 N ARMEL DR                                                                                       COVINA            CA    91722‐3208
KAREN S MEYER                                    4473 ALDERBERRY DR                                                                                   HERMANTOWN        MN    55811‐1419
KAREN S MOSS                                     4046 INDIGO RIDGE DRIVE                                                                              CHARLESTON        SC    29420‐8214
KAREN S MYERS                                    4342 WILSON RD                                                                                       WOOSTER           OH    44691‐1122
KAREN S PIORKOWSKI                               6220 BURNINGTREE DR                                                                                  BURTON            MI    48509‐2609
KAREN S POE                                      RR 1 BOX 259                                                                                         DENVER            IN    46926‐9784
KAREN S POOL                                     10508 PORTOFINO DR NW                                                                                ALBUQUERQUE       NM    87114‐3868
KAREN S REYNOLDS                                 3419 BAROQUE COURT                                                                                   ROCHESTER         MI    48306‐3705
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 484 of 855
Name                                            Address1                            Address2                 Address3      Address4          City                State Zip

KAREN S RIDDELL & LYNNE D COOPER JT TEN         14827 BESTOR BLVD                                                                            PACIFIC PALISADES   CA    90272‐2616

KAREN S RIGGS                                 5363 AMY LANE                                                                                  COLUMBUS            OH    43235‐7302
KAREN S ROSENBERG & BETTY ROSENBERG JT TEN    995 FURNACE BROOK PKWY                                                                         QUINCY              MA    02169‐1617
KAREN S RUDENBERG                             4440 PAVLOV AVE                                                                                SAN DIEGO           CA    92122‐3712
KAREN S SCHNAPP                               822 FAIRWAY COURT                                                                              MIAMISBURG          OH    45342‐3316
KAREN S SCHULERT                              813 1/2 W MAIN ST                                                                              GRAND LEDGE         MI    48837‐1003
KAREN S SHERWOOD TR UA 05/12/1999 BETTY J     4469 BEACH RIDGE ROAD                                                                          LOCKPORT            NY    14094
CONFER TRUST
KAREN S SMITH                                 BOX 542                                                                                        IDYLLWILD           CA    92549‐0542
KAREN S SPARKS                                20399 RD 10                                                                                    DEFIANCE            OH    43512‐8353
KAREN S SWEET                                 609 TERRACE RIDGE CIR                                                                          DAVENPORT           FL    33896‐5265
KAREN S SWIFT                                 5841 WARREN RD N E                                                                             CORTLAND            OH    44410‐9710
KAREN S SWITZER                               5805 ASH AV                                                                                    KANSAS CITY         MO    64133‐3324
KAREN S TUMBUSH                               1867 HICKORY RIDGE DR                                                                          DAYTON              OH    45432‐4035
KAREN S WELCH                                 164 WASHINGTON ST                     PO BOX 314                                               WILSON              NY    14172‐0314
KAREN S WINNER                                395 EAST STATE STREET                                                                          SHARON              PA    16146‐1818
KAREN S YANKIE                                4618 BAYRIDGE COURT                                                                            SPRING HILL         FL    34606‐2134
KAREN SAMOLYK‐AKINS CUST AUSTIN SAMOLYK AKINS 284 LENOX AVE                                                                                  YARDVILLE           NJ    08620‐1712
UTMA (NJ)
KAREN SANCHEZ                                 50 DANNA WAY                                                                                   SADDLE BROOK        NJ    07663‐4402
KAREN SCAVARELLI                              135 MARKS ST N                        THUNDER BAY ON                         P7C 4E6 CANADA
KAREN SCHIEBER                                ATTN KAREN SCHIEBER DONNALLY          2232 CANDLEMOLARS LANE                                   MAINEVILLE          OH    45039‐8701
KAREN SCHIFF SHATZ                            29 MONTROSE ROAD                                                                               SCARSDALE           NY    10583‐1129
KAREN SHANER                                  6750 PONDEROSA DR                                                                              ERIE                PA    16509‐4820
KAREN SHANKS                                  5679 HYLAND COURTS DR                                                                          MINNEAPOLIS         MN    55437‐1930
KAREN SHAPIRO                                 100 SCHOLARIE DR                                                                               JERICHO             NY    11753‐1642
KAREN SHERMAN                                 1600 LIBERTY COURT                                                                             NORTH WALES         PA    19454‐3702
KAREN SHORESMAN FRAME                         1035 ROSEHILL DR                                                                               BOULDER             CO    80302‐7147
KAREN SIEGWALD & AMY WATTS JT TEN             10365 TORREY ROAD                                                                              FENTON              MI    48430‐9711
KAREN SIGLER                                  1717 4TH AVE                                                                                   GRINNELL            IA    50112‐2027
KAREN SIMPSON CUST MITCHELL AMBROSICH UTMA AZ 22815 EAST DAVIES DR                                                                           AURORA              CO    80016‐2384

KAREN SKLADANY                                   96 ARROYO VENADA RD                                                                         PLACITAS            NM    87043‐9001
KAREN SLICER                                     1508 BRAWLEY STREET                                                                         STEVENS POINT       WI    54481‐3508
KAREN SMEAL                                      5746 LOCUST ST EXT                                                                          LOCKPORT            NY    14094‐6504
KAREN SMITH                                      6361 REDMAN RD                                                                              BROCKPORT           NY    14420‐9737
KAREN SMITH                                      1200 N TIPPECANOE                                                                           ALEXANDRIA          IN    46001‐1157
KAREN SOLOMON                                    BOX 3275                                                                                    TAMPA               FL    33601‐3275
KAREN SOLOMON CUST LISA B LUCANIA UGMA NJ        23 MORNING SIDE DR                                                                          LIVINGSTON          NJ    07039‐1827
KAREN SOROS CUST NICHOLE L SOROS UTMA FL         2809 NORWOOD HILLS LN                                                                       VALRICO             FL    33594‐7915
KAREN STARTZELL                                  301 STOUP ROAD                                                                              MARS                PA    16046‐3531
KAREN STERN                                      90 TERRELL FARM PL                                                                          CHESHIRE            CT    06410‐2910
KAREN STEWART                                    121 RAVEN ST                                                                                IOWA CITY           IA    52245‐3919
KAREN STOCKENAUER                                2394 S LACEY LAKE RD                                                                        BELLEVUE            MI    49021‐9425
KAREN STRUSS                                     4275 24 ST                                                                                  SAN FRANCISCO       CA    94114
KAREN SUE BIVENS                                 6833 E QUAKER ST                                                                            ORCHARD PARK        NY    14127‐2532
KAREN SUE CARLSEN                                12636 W VIRGINIA AVE                                                                        LAKEWOOD            CO    80228‐2609
KAREN SUE CLARK                                  2118 WALTER RD                                                                              BEAVERTON           MI    48612‐9447
KAREN SUE CRISSMAN & SCOTT D CAMPBELL & LESLEY L 16 DOYER AVENUE                                                                             WHITE PLAINS        NY    10605
MUCHA TEN COM
KAREN SUE GIBSON                                 1774 CONVAIR DR                                                                             GALLOWAY            OH    43119‐8307
KAREN SUE KRAMER                                 868 CHELSEA LN                                                                              WESTERVILLE         OH    43081‐2716
KAREN SUE LACHAT                                 BOX 565                                                                                     RANDOLPH A F B      TX    78148‐0565
KAREN SUE LOSTELNY                               ATTN KAREN SUE LAMKAY              26031 SALONIKA LANE                                      PORT CHARLOTTE      FL    33983‐6147
KAREN SUE MILLER                                 C/O KAREN S KAHN                   11 FARMSTEAD RD                                          SHORT HILLS         NJ    07078‐1291
KAREN SUE MOLINE                                 4 PETER COOPER RD                  #9B                                                      NEW YORK            NY    10010‐6746
KAREN SUE OWREY                                  ATTN KAREN O VAN DEVENTER          711 BIRDSONG                                             MILFORD             MI    48381‐1501
KAREN SUE POTEET                                 2711 PEBBLE CREEK DR                                                                        PEARLAND            TX    77581‐4483
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 485 of 855
Name                                            Address1                              Address2                    Address3   Address4          City             State Zip

KAREN SUE RITTER                                4780 OLD MORGANTOWN ROAD                                                                       MARTINSVILLE     IN    46151
KAREN SUE WAINBERG                              212 CENTRE ST                                                                                  BATH             ME    04530
KAREN SUSETTE POOLE                             2612 SPRINGFIELD DR                                                                            INDIANAPOLIS     IN    46228‐1144
KAREN SWAN                                      20460 CHURCHILL                                                                                TRENTON          MI    48183‐5010
KAREN SWAN & MIKE SWAN JT TEN                   20460 CHURCHILL                                                                                TRENTON          MI    48183‐5010
KAREN SZOLD                                     1 IRIS COURT                                                                                   MILLTOWN         NJ    08850‐2122
KAREN T FREELS                                  3011 BUTTERFIELD                                                                               ORANGE           CA    92865‐1602
KAREN T KATO                                    23423 JONATHAN ST                                                                              WEST HILLS       CA    91304‐3524
KAREN T SAFFIOTTI                               1736 ROSENHEATH DR                                                                             BATON ROUGE      LA    70806‐8439
KAREN T SNYDER                                  2763 KENNEDY BLVD                                                                              JERSEY CITY      NJ    07306‐5515
KAREN T SWARTZ                                  5610 BUSHNELL‐CAMPBELL RD                                                                      KINSMAN          OH    44428‐9769
KAREN TAYLOR DEMAS                              159 GERMANTOWN ROAD                                                                            WEST MILFORD     NJ    07480‐3603
KAREN THEOBALD & JOHN THEOBALD JT TEN           1374 CHURCHILL WAY                                                                             MARIETTA         GA    30062‐5501
KAREN THOMAS                                    1914 NOWAK AVE                                                                                 THOUSAND OAKS    CA    91360‐3336
KAREN TICHNELL                                  156 FARAH DRIVE                                                                                ELKTON           MD    21921‐2228
KAREN TRAEGER                                   2764 NEW ENGLAND DRIVE                                                                         NAZARETH         PA    18064
KAREN TRUSZKOWSKI & MARY JO ELNICK JT TEN       28600 MOUND RD                                                                                 WARREN           MI    48092‐5507
KAREN TRUSZKOWSKI CUST NICHOLA TRUSZKOWSKI      68192 WINGATE                                                                                  WASHINGTON       MI    48095
UGMA MI
KAREN TUCKER                                    3141 N 104TH ST                                                                                MILWAUKEE        WI    53222‐3321
KAREN V HEALY                                   3665 WALKER RD                                                                                 HARRISVILLE      MI    48740‐9738
KAREN V PATELLA                                 368 HALLANDALE DR                                                                              FAIRLAWN         OH    44333‐3147
KAREN V SHAFFER                                 3613 ST ROUTE 82 SW                                                                            NEWTON FALLS     OH    44444‐9581
KAREN VAN DYKE ROBERTSON                        2939 TESIE TRL                                                                                 NEW BERN         NC    28562‐9160
KAREN VANDERVELDE                               1222 DITCH RD                                                                                  NEW LOTHROP      MI    48460‐9648
KAREN VIRGINIA COSSABOOM                        260 WHITE PINE TRAIL                                                                           MILFORD          MI    48381‐3445
KAREN W ABERCROMBIE & R NELSON ABERCROMBIE JR   2215 OVERLOOK CRST                                                                             BIRMINGHAM       AL    35226‐3270
JT TEN
KAREN W BROWN                                   24533 LYNDON                                                                                   REDFORD          MI    48239‐3304
KAREN W DUFFIELD                                388 CARPET DR                                                                                  ATMORE           AL    36502‐1002
KAREN W ENGEL                                   234 SCOTT DR                                                                                   ENGLEWOOD        OH    45322‐1144
KAREN W HOWARD                                  5733 SQUIRES GATE DR                                                                           MASON            OH    45040‐7601
KAREN W LOBDELL                                 7417 JOMEL DR                                                                                  WEEKI WACHEE     FL    34607‐2015
KAREN W MAXWELL                                 97 LUDLOW RD                                                                                   MANCHESTER       CT    06040‐4542
KAREN W REISMAN CUST PHILLIP JEROME REISMAN     14744 LAKE MAGDALINE CIRCLE                                                                    TAMPA            FL    33613‐1708
UTMA FL
KAREN WAGNER                                    851 GRANT AVE                                                                                  CUYAHOGA FALLS   OH    44221‐4639
KAREN WALDEN & PAULINE WALDEN JT TEN            3100 DEMODE RD                                                                                 HOLLY            MI    48442‐9139
KAREN WALKER                                    185 COLERIDGE GREEN                                                                            FREMONT          CA    94538‐5914
KAREN WALL                                      238 BUENA VISTA RD                    OTTAWA ON                              K1M 0V7 CANADA
KAREN WEAVER                                    442 PLEASANT HILL ROAD                                                                         FRANKFORT        IL    60423
KAREN WEISBERG                                  C/O STEPHEN A WEISBERG                300 E MAPLE 3RD FLOOR                                    BIRMINGHAM       MI    48009‐6308
KAREN WELCH                                     C/O KAREN MCGOWAN                     407 W JACKSON ST                                         MORRIS           IL    60450‐1728
KAREN WHITE                                     PO BOX 1492                                                                                    BETHEL           ME    04217‐1492
KAREN WIERCIOCH                                 14640 EAST MILLBROOK DR                                                                        EFFINGHAM        IL    62401
KAREN WILKINS                                   22 URBAN DR                                                                                    MASSENA          NY    13662‐2702
KAREN WOJTOWICZ                                 5898 CLAYBROOK DR                                                                              BARGERSVILLE     IN    46106‐8395
KAREN Y FISHER                                  2418 MAYFAIR DRIVE                                                                             WHITE LAKE       MI    48383‐3941
KAREN Y KELLAR & ALBERT N KELLAR JT TEN         16445 PENNER DRIVE                                                                             RED BLUFF        CA    96080‐9334
KAREN Y MURRAY                                  3387 HOLLISTER RD                                                                              CLEVELAND        OH    44118‐1325
                                                                                                                                               HEIGHTS
KAREN Y SAULS                                   38301 MCDONALD DR                                                                              ROMULUS          MI    48174‐5206
KAREN YOUNG                                     13494 SPARREN AVENUE                                                                           SAN DIEGO        CA    92129‐2169
KAREN Z SUDANO                                  ATTN KAREN ZWIGART                    1442 CHESTNUT RIDGE DRIVE                                STATE COLLEGE    PA    16803‐3358
KAREN ZEHNER LUCAS                              9120 LEESBURG PIKE                                                                             VIENNA           VA    22182‐1655
KARENS KOHLS                                    548 BUEHLER DR                                                                                 DELAWARE         OH    43015‐1000
KARI A BAILEY                                   315 EARNEST GARTON RD                                                                          BRIDGETON        NJ    08302‐5514
KARI A DILLON                                   1408 NORFOLK AVE                                                                               WESTCHESTER      IL    60154‐3736
KARI A PELTON                                   BALLYNEETY PALLAS GREEN               COUNTY LIMERICK                        IRELAND
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 486 of 855
Name                                               Address1                                Address2             Address3          Address4          City              State Zip

KARI ALPEROVITZ                                    1936 SEVERN GROVE RD                                                                             ANNAPOLIS         MD    21401‐2935
KARI D SOLSVIK                                     3261 OAK KNOLL DR                                                                                ROSSMOOR          CA    90720‐4357
KARI E KILMER TOD ALEX J CLAUSSEN SUBJECT TO STA   809 CHERRY STREET                                                                                GENOA             OH    43430‐1525
TOD RULES
KARI L AUEL CUST BRITTANY N AUEL UGMA MI           3509 BROCKTON CT                                                                                 JEFFERSON        MD     21755‐8249
KARI L HIPPENMEYER                                 750 TOX DR                                                                                       MISSOULA         MT     59804‐1932
KARI L MATTSON & SHERIDAN J MATTSON JT TEN         5518 WHEATLAND DRIVE                                                                             TECUMSEH         MI     49286‐8658
KARI L NATTRASS                                    5696 GOLF POINTE DR                                                                              CLARKSTON        MI     48348‐5148
KARI L SEXTON                                      9223 TOWER RD                                                                                    GOSPORT          IN     47433‐7800
KARI L ST ANTOINE                                  5696 GOLF POINTE DR                                                                              CLARKSTON        MI     48348‐5148
KARI LEE COCHRANE                                  655 CHERRY GLEN RD                                                                               COLUMBUS         OH     43228‐2794
KARI ZOE SWANSON                                   40 EARLY DR                                                                                      PORTSMOUTH       VA     23701‐1654
KARIANN CYMBALSKY                                  22 FAWN HILL RD                                                                                  CHESTER          NY     10918‐4235
KARILYN M JOSS                                     25895 HUNT CLUB BLVD                                                                             FARMINGTON HILLS MI     48335‐1156

KARIN A BALL & GEORGE A BALL JT TEN                25867 VILLAGE LN                                                                                 WARREN            MI    48089‐1477
KARIN A SHARP                                      11436 SR 500                                                                                     PAULDING          OH    45879
KARIN A WAITS & RONALD E WAITS JT TEN              9505 LAKEWOOD CIRCLE                                                                             CHASKA            MN    55318‐9369
KARIN B HAYDEN                                     2449 TOUR EDITION DR                                                                             HENDERSON         NV    89014
KARIN BACKSTROM                                    15301 N ORICLE ROAD #12                                                                          TUCSON            AZ    85739
KARIN CARLEVATTI                                   953 GRAVEL RD                                                                                    WEBSTER           NY    14580‐1741
KARIN D CROSBY                                     1150 FRANKLIN ST                                                                                 WHITE OAK         PA    15131‐1428
KARIN DEE COLLINS                                  2208 LARK LN                                                                                     TAYLOR            TX    76574‐1370
KARIN E GLENDON                                    950 SW 68 AVE                                                                                    PLANTATION        FL    33317‐4213
KARIN E WENDT                                      5742 ALVARADO DR                                                                                 HOUSTON           TX    77035‐5508
KARIN G LENNOX                                     ATTN KARIN LENNOX PATTERSON             306 SCOTTS WY                                            AUGUSTA           GA    30909‐3133
KARIN G WEYL                                       4336 WASHBURN AVE N                                                                              MINNEAPOLIS       MN    55412‐1020
KARIN GOAD                                         10123 SOUTHRIDGE TER                                                                             OKLAHOMA CITY     OK    73159‐7323
KARIN HAILER                                       JOERGSTR 3                              D‐87509 IMMENSTADT                     GERMANY
KARIN J PRAY                                       15 BRUCE DR                                                                                      HOLLAND           PA    18966‐2179
KARIN JIMENEZ                                      PO BOX 682                                                                                       ANGEL FIRE        NM    87710‐0682
KARIN L GIELDA & JAMES J GIELDA JT TEN             700 SCHEURMANN                                                                                   ESSEXVILLE        MI    48732‐1282
KARIN L NYLANDER                                   11082 MEADOW VIEW DR                                                                             GOODRICH          MI    48438‐8702
KARIN L WALBRUN                                    3679 DEER SPRINGS DR                                                                             ROCHESTER HILLS   MI    48306‐4752
KARIN LEE PRESTEGAARD                              3211 56TH PL SW                                                                                  SEATTLE           WA    98116‐3105
KARIN M BANKS                                      2205 BIG LONELY LN                                                                               MONTEREY          VA    24465‐2218
KARIN M MORAN CUST JUSTIN A MORGAN UTMA MI         12235 WHITE PINE DR                                                                              ALLENDALE         MI    49401

KARIN M MORGAN                                     12235 WHITE PINE DRIVE                                                                           ALLENDALE         MI    49401
KARIN M MORGAN CUST JARED M MORGAN UTMA MI         12235 WHITE PINE DR                                                                              ALLENDALE         MI    49401

KARIN M MORGAN CUST JESSICA M MORGAN UTMA MI 12235 WHITE PINE DR                                                                                    ALLENDALE         MI    49401

KARIN M SPILMAN & EUGENE G SPILMAN JT TEN          6424 E CLAIRE DR                                                                                 SCOTTSDALE        AZ    85254‐2623
KARIN MORGAN CUST JEREMY L MORGAN UTMA MI          12235 WHITE PINE DR                                                                              ALLENDALE         MI    49401

KARIN R GISSENDANNER                               1509 CONGRESS AVE                                                                                SAGINAW           MI    48602‐5126
KARIN R LARSON                                     S89 W34 691 EAGLE TERRACE                                                                        EAGLE             WI    53119
KARIN R SLEDGE                                     3113 ALVARODO N E                                                                                ALBUQUERQUE       NM    87110‐2521
KARIN R SLOVIK                                     S89 W34691 EAGLE TERRACE                                                                         EAGLE             WI    53119‐1454
KARIN ROBERTS CUST JEFFREY ROBERTS UTMA IL         37W571 GREYBARN RD                                                                               ST CHARLES        IL    60175‐6249
KARIN S HEREFORD                                   5N477 FOXMOOR DR                                                                                 SAINT CHARLES     IL    60175‐8147
KARIN S MUSSER                                     PO BOX 682                                                                                       HASLETT           MI    48840‐0682
KARIN SPEAKMAN                                     3008 PEACOCK LANE                                                                                TAMPA             FL    33618‐3708
KARIN SVENSSON & LENNART SVENSSON JT TEN           13 SKEDALAGATAN                         HALMSTAD                               SWEDEN
KARIN W ROHN                                       217 N CLAY STREET                                                                                HINSDALE          IL    60521‐3209
KARINA M BAXTER                                    2112 BRADY AVE                                                                                   BURTON            MI    48529‐2425
KARL A AMBERGER                                    2665 GRAND AVE                                                                                   GRANITE CITY      IL    62040‐4826
KARL A ANDERSON JR                                 302 FINDON CT                                                                                    FRANKLIN          TN    37064‐6120
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 487 of 855
Name                                              Address1                               Address2               Address3        Address4          City              State Zip

KARL A BRANSKE                                    W6540 BIG HORN LANE                                                                             WAUTOMA           WI    54982‐7822
KARL A FLEGER & JUDITH A FLEGER JT TEN            7275 BRAUND RD                                                                                  ERIE              PA    16509‐4547
KARL A KLIM & HENRIETTA V KLIM JT TEN             1629 ROBINDALE                                                                                  DEARBORN          MI    48128‐1080
KARL A MARTIN                                     7007 HAYES ORANGEVILLE RD NE                                                                    BURGHILL          OH    44404‐9736
KARL A MILBAUER                                   10101 NORTH ARABIAN TRAIL 1021                                                                  SCOTTSDALE        AZ    85258
KARL A REUTLINGER & KAREN D REUTLINGER JT TEN     25 GOLDENROD DRIVE                                                                              CARLISLE          PA    17015‐9010

KARL A SMITH                                      17302 SHERVILLA PLACE                                                                           SOUTHFIELD        MI    48075‐7036
KARL ALLEN MORRIS                                 220 W SHERMAN ST                                                                                PAPILLION         NE    68046‐2629
KARL ALTAU                                        800 WARWICK CIRCLE                                                                              WAYNESBORO        VA    22980‐3433
KARL B HARRISON                                   350 WOODBRIDGE DR                                                                               GRAND BLANC       MI    48439‐1140
KARL B HARRISON & MRS MARYLYN J HARRISON JT TEN   350 WOODBRIDGE DR                                                                               GRAND BLANC       MI    48439‐1140

KARL B SCHLOEMP                                   6665 WHITE LAKE RD                                                                              WHITE LAKE        MI    48383‐1144
KARL B STRMSEK                                    926 E FOREST HILL AVE                                                                           OAK CREEK         WI    53154‐3104
KARL B TAUCHE                                     1933 DODGEVILLE                                                                                 JEFFERSON         OH    44047‐8548
KARL BALSS                                        ROSSERTWEG 6                           D‐65428 RUESSELSHEIM                   GERMANY
KARL BECKER                                       2 MISTY LAKE COURT                                                                              BARNEGAT          NJ    08005‐5518
KARL BOCCHIERI CUST JONATHAN A BOCCHIERI UGMA     908 HAMPSHIRE ROAD                                                                              BAYSHORE          NY    11706‐7612
NY
KARL BUECHNER                                     715 RUGBY RD                                                                                    SYRACUSE          NY    13203
KARL C DEPPE                                      27502 FAWNSKIN DR                                                                               PALOS VERDES      CA    90275‐3704
                                                                                                                                                  PENIN
KARL C GROUX                                      128 HIGH COACH WAY                                                                              MADISON           AL    35758‐7396
KARL C HORITSKI                                   873 JORDAN LN                                                                                   MILFORD           MI    48381‐1476
KARL C ILLG                                       7011 BUICK DR                                                                                   INDELS            IN    46214‐3222
KARL CHOLOD                                       12417 MUDDY CREEK LN                                                                            FORT MYERS        FL    33913‐6756
KARL COBADO                                       7480 GROVE RD                                                                                   FRANKLINVILLE     NY    14737‐9735
KARL D BULLOCK                                    828 N PARKSIDE                                                                                  CHICAGO           IL    60651‐2646
KARL D GINAND                                     31 GREAT LAKE DR                                                                                SUDBURY           MA    01776‐1564
KARL D HALFHILL                                   2259 AUTUMN TRACE PKWY                                                                          WENTZVILLE        MO    63385‐3068
KARL D HOLMBERG                                   1800 HUNTINGTON BLVD                                                                            HOFFMAN ESTATES   IL    60195‐2748

KARL D KUISTBERG                                  3127 WILDFLOWER BAY ROAD                                                                        RHINELANDER       WI    54501
KARL D MAJESKE                                    2282 HICKORY POINT DR                                                                           ANN ARBOR         MI    48105‐9291
KARL D MOHN                                       1605 SALEM DR                                                                                   RICHARDSON        TX    75080
KARL D MORRISON                                   6907 CARIBOU DR                                                                                 INDIANAPOLIS      IN    46278‐1887
KARL D NAFFIN                                     13990 STONEY CREEK DR                                                                           NORTH ROYALTON    OH    44133‐4113

KARL D SCHOOL                                     10276 LOVEJOY RD                                                                                LINDEN            MI    48451‐9723
KARL D STROM                                      6661 99TH ST S                                                                                  COTTAGE GROVE     MN    55016‐1069
KARL DIXON                                        2058 WELBORN ST                                                                                 ROCK HILL         SC    29732‐1130
KARL E ADKISON JR                                 709 BROAD STREET                                                                                WARRENSBURG       MO    64093‐2032
KARL E BETKE                                      36980 MARGARITA AVE                                                                             LIVONIA           MI    48154
KARL E BLUMENBERG                                 700 PORT STREET #352                                                                            EASTON            MD    21601‐8184
KARL E GEARHART                                   203 PINCH RD                                                                                    CHARLOTTE         MI    48813‐8731
KARL E GRAHAM                                     710 SUNDALE DR                                                                                  YORK              PA    17402‐3634
KARL E GUSS & BARBARA L GUSS JT TEN               20 SOUTH THIRD ST                                                                               MIFFLINTOWN       PA    17059‐1401
KARL E HERSHEY & JOAN S HERSHEY JT TEN            8330 ORCHARD RD                                                                                 THOMASVILLE       PA    17364‐9249
KARL E HOESE                                      3506 W COLLEGE AVE                                                                              GREENFIELD        WI    53221‐4631
KARL E KANE & DEBRA L KANE JT TEN                 7555 HARLEY HILLS DR                                                                            N ROYALTON        OH    44133‐3755
KARL E KELLEY                                     BOX BB                                 WELCH STATION                                            AMES              IA    50014‐1048
KARL E KUESTER                                    551 WEST SECOND STREET                                                                          ELMHURST          IL    60126‐2565
KARL E LOOMIS                                     1472 PADRE LN                                                                                   NIPOMO            CA    93444‐6649
KARL E MC NULTY JR                                47874 CHERRY HILL                                                                               CANTON            MI    48187‐4845
KARL E PEARSON                                    3367 HOLIDAY VIEW DR                                                                            TRAVERSE CITY     MI    49686‐3936
KARL E PEARSON & MRS JUNE B PEARSON JT TEN        1924 THOMAS ST                                                                                  BELOIT            WI    53511‐9505
KARL E PETERSON                                   11643 N PARKVIEW DR                                                                             EDGERTON          WI    53534‐9043
KARL E QUESENBERRY                                PO BOX 268                                                                                      MEDWAY            OH    45341‐0268
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 488 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

KARL E READ                                      45245 KENTUCKY                                                                                  PAISLEY         FL    32767‐9543
KARL E REHIL                                     2385 E BOATFIELD AVE                                                                            BURTON          MI    48529‐2313
KARL E SCHRICKER TR KAREN J SCHRICKER TRUST UA   1642 SEACREST LN                                                                                COUPEVILLE      WA    98239
07/15/91
KARL E SCHUMANN                                  3320 VALENCIA RD                                                                                TAMPA           FL    33618‐3930
KARL E STITZEL                                   145 2ND AVENUE                                                                                  GALION          OH    44833‐2807
KARL E TATE                                      361 TATE LN                                                                                     SPRING CITY     TN    37381‐8112
KARL E VARGA                                     6240 MUIRFIELD DR                                                                               GRAND BLANC     MI    48439‐2684
KARL ERNEST GRESEHOVER                           PO BOX 659                                                                                      CLARKSBURG      CA    95612‐0659
KARL F BARR JR                                   915 PARK LN                                                                                     GROSSE POINTE   MI    48230‐1872
                                                                                                                                                 PARK
KARL F DESIMPELARE                               2180 W ACKERMAN                                                                                 UNIONVILLE      MI    48767‐9612
KARL F FABER                                     46 RIVERSIDE ST                                                                                 ROCHESTER       NY    14613‐1237
KARL F HAGEN                                     1050 MILL STREET                                                                                ALMA            MI    48801‐2175
KARL F HEDSTROM                                  SANDFJARDSGATAN 29 XII                 S‐12056 ARSTA                          SWEDEN
KARL F HUNDERT JR                                5 BROCSTER CT                                                                                   PHOENIX         MD    21131‐1922
KARL F KUHLMANN                                  1115 HERMOSA WAY                                                                                MENLO PARK      CA    94025‐5504
KARL F LUTOMSKI JR                               547 FLAGSTONE WAY                                                                               ACWORTH         GA    30101‐2240
KARL F METZLER                                   35 SAMSON'S CIRCLE                                                                              CRIMORA         VA    24431‐2330
KARL F MEYERHOLT JR                              1174 WILFORD CT                                                                                 REESE           MI    48757‐9534
KARL F RENTSCHLER                                3212 SHADY OAK LANE                                                                             VERONA          WI    53593‐9736
KARL F SAYLES                                    8676 SHERIDAN RD                                                                                MILLINGTON      MI    48746‐9653
KARL F SNOW                                      1700 ROUDEBUSH LN                                                                               BATAVIA         OH    45103
KARL F STOUT JR                                  RR 1 PO BOX 149                                                                                 FRANKTON        IN    46044‐9739
KARL F ULLMANN                                   5621 WILLOW GROVE DR                                                                            TROY            MI    48098‐6104
KARL FARNOW                                      PO BOX 30                                                                                       BLOOMFIELD      NJ    07003‐0030
KARL GERLAK                                      77 IRA AVE                                                                                      COLONIA         NJ    07067‐2434
KARL GUNTHER                                     2398 GROVE PARK RD                                                                              FENTON          MI    48430‐1442
KARL H BAUER                                     20297 GEORGETOWN RD                                                                             LAWRENCEBURG    IN    47025‐9104
KARL H DEIBLER                                   829 NATHANIE TRAIL                                                                              WARMINSTER      PA    18974
KARL H EMIG                                      10 KILLINGTON RD                                                                                TOMS RIVER      NJ    08757
KARL H KAUFFMAN                                  1779 WILSON AVE                                                                                 LANCASTER       PA    17603‐4523
KARL H KRAUSS                                    7282 THORNCLIFFE BLVD                                                                           PARMA           OH    44134‐5774
KARL H PASSMANN                                  BOGENSTRASSE 48                        D‐45527 HATTINGEN                      GERMANY
KARL H SCHERZBERG JR                             561 AVE A                                                                                       TREVOSE         PA    19053‐4601
KARL H SCHMITZ                                   410 OAK HERITAGE DR                                                                             VENICE          FL    34292‐2437
KARL H SCHULTZ                                   8811 N DIX DR                                                                                   MILTON          WI    53563‐9246
KARL H WIKMAN                                    18495 BOWDISH ROAD                                                                              GREGORY         MI    48137‐9477
KARL HAHN                                        114 WEST ST                                                                                     PIKETON         OH    45661
KARL HANS PASSMANN                               BOGENSTRASSE 48                        D‐45527 HATTINGEN                      GERMANY
KARL HENRY                                       3659 WINGATE TERR APT A                                                                         INDIANAPOLIS    IN    46235
KARL I HAAS                                      7321 GILLMORE AVE                                                                               FORT COLLINS    CO    80524‐6107
KARL J BARTH                                     PO BOX 1281                                                                                     SILVERTHORNE    CO    80498‐1281
KARL J KOLLIN                                    1906 WOOD PARKE LN                                                                              COMMERCE TWP    MI    48382‐4862
KARL J KUNTZ                                     PO BOX 31846                                                                                    BELLINGHAM      WA    98228‐3846
KARL J NIGBOR                                    8390 KENDALL                                                                                    COLUMBUS        MI    48063‐2610
KARL J SHANK                                     11285 W ST RD 28                                                                                REDKEY          IN    47373‐9624
KARL J WALTHER                                   4916 N BROUSE AVE                                                                               INDIANAPOLIS    IN    46205‐1460
KARL J WARREN CUST JENNIFER ANN WARREN UGMA      5402 SCARINGTON COURT EAST                                                                      ORLANDO         FL    32821
NY
KARL K BORDINE                                   3234 AVENIDA DEL ALBA                                                                           CARLSBAD        CA    92009‐9535
KARL K JONES                                     4415 N INDIANA                                                                                  KANSAS CITY     MO    64117‐1215
KARL K KEMPF & JOAN G KEMPF JT TEN               PO BOX 234                                                                                      LEXINGTON       MI    48450‐0234
KARL K LA BARR JR                                3564 BETHMAN RD                                                                                 EASTON          PA    18045‐3023
KARL KAEHLER                                     202 PANDOLFI AVE                                                                                SECAUCUS        NJ    07094
KARL KOCH                                        7229 W 57TH PLACE                                                                               SUMMIT          IL    60501‐1316
KARL KOLCAN                                      3686 DAVID K                                                                                    WATERFORD       MI    48329‐1317
KARL KONDRECK CUST KIMBERLY KONDRICK UTMA NJ     43 PROSPECT PL                                                                                  BELLEVILLE      NJ    07109‐2526
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 489 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

KARL KUHNLE                                        2316 OAKDALE AVE                                                                                SEAFORD            NY    11783‐3141
KARL KUNTZ                                         PO BOX 31846                                                                                    BELLINGHAM         WA    98228‐3846
KARL L DETWEILER                                   257 OAK LN                                                                                      PALMYRA            PA    17078‐2923
KARL L DICKERSON                                   576 S NEW JASPER STATION                                                                        XENIA              OH    45385‐8445
KARL L FOWLER                                      6412 FARMSWOOD DR                      APT 1A                                                   FORT WAYNE         IN    46804‐8335
KARL L KINDLE                                      PO BOX 544                                                                                      RED BLNG SPGS      TN    37150‐0544
KARL L KLUTE                                       1616 HICKORY ST                                                                                 NILES              MI    49120‐3626
KARL L STURTZ                                      3703 INDIAN VIEW                                                                                CINCINNATI         OH    45227‐4404
KARL L TITSWORTH                                   3425 MILLINGTON RD                                                                              MILLINGTON         MI    48746‐9608
KARL L TRINGL                                      916 CACOOSING DR                                                                                READING            PA    19608‐9315
KARL L WEATHERHOLT                                 C/O PATRICIA WEATHERHOLT               35520 RONALD                                             ROMULUS            MI    48174‐3363
KARL LITTERER                                      6166 TIMBERBROOK LANE                                                                           COLUMBUS           OH    43228
KARL M FORT CUST KIM M FORT UGMA NY                325 GOLD ST                                                                                     BUFFALO            NY    14206‐1205
KARL M FRAME                                       1023 HARVARD STREET                                                                             ROCHESTER          NY    14610‐1713
KARL M KOCH                                        10120 JULIETTE RD                                                                               CADET              MO    63630‐9543
KARL M NASH                                        9825 NASHVILLE HWY                                                                              VERMONTVILLE       MI    49096‐9501
KARL M STEELE                                      9131 BRAY RD                                                                                    MILLINGTON         MI    48746‐9557
KARL MALASZCZYK & JANET MALASZCZYK JT TEN          632 CLAY AVE                                                                                    LANGHORNE          PA    19047‐5428
KARL MEILING                                       7100 FIELDCREST DR                                                                              LOCKPORT           NY    14094‐1644
KARL MUELLER                                       1011 WALTON ROAD                                                                                NEWNAN             GA    30263‐5344
KARL OTT                                           1078 VIRGINIA AVENUE                   WINDSOR ON                             N8S 2Y7 CANADA
KARL OTT                                           1078 VIRGINIA AVENUE                   WINDSOR ON                             N8S 2Y7 CANADA
KARL P BERNER                                      1010 LAKE DAVENPORT BLVD                                                                        DAVENPORT          FL    33897‐5440
KARL P GLASSEN & DIANE GLASSEN JT TEN              4504 GARDEN DR                                                                                  RACINE             WI    53404
KARL P KOELLA                                      2180 E DOHERTY RD                                                                               CLARE              MI    48617‐9145
KARL P KRISCOVICH & BONNIE L KRISCOVICH JT TEN     PO BOX 6188                                                                                     HILTON HEAD        SC    29938‐6188
                                                                                                                                                   ISLAND
KARL PELVERTS                                      453 HAPPY VALLEY LANE                                                                           BERKELEY SPRINGS   WV    25411‐4663

KARL R BALDRIDGE                                   301 JANET AVE                                                                                   CARLISLE           OH    45005‐1321
KARL R DOERING                                     24584 RAVEN X                                                                                   E DETROIT          MI    48021‐1408
KARL R FIKE                                        5225 LAKE PLEASANT RD                                                                           NORTH BRANCH       MI    48461‐8904
KARL R HELFRICH                                    34 ELI LANE                                                                                     EAST FALMOUTH      MA    02536‐4432
KARL R JONES                                       15180 OLD HICKORY BLVD                 APT 1521                                                 NASHVILLE          TN    37211‐6578
KARL R KOENIG                                      PO BOX 45                                                                                       DEXTER             KY    42036‐0045
KARL R KRUG                                        1229 WINSTED RD                        UNIT 33                                                  TORRINGTON         CT    06790‐2955
KARL R MELLERT                                     645 SUMMERWIND DR                                                                               CROSSVILLE         TN    38571
KARL R MEYERTONS EX UW JEANETTE W MEYERTONS        17 MAIN ST                                                                                      SOUTH RIVER        NJ    08882‐1224

KARL R OVERMAN                                     35625 JOHNSTOWN                                                                                 FARMINGTON HILLS MI      48335‐2018

KARL R REDINGER                                    PO BOX 462                                                                                      NEWAYGO            MI    49337‐0462
KARL R SMITH                                       573 VANDEVER RD                                                                                 CROSSVILLE         TN    38572
KARL R STERZIK                                     52580 SHELBY RD                                                                                 SHELBY TWP         MI    48316‐3164
KARL R TIPPLE                                      11112 STAFFORDSHIRE                                                                             DALLAS             TX    75238‐3824
KARL RITTER                                        3418 RIVERVIEW DR                                                                               TAMPA              FL    33604‐2315
KARL ROBERT PARSONS                                721 N MAIN ST                                                                                   FAIRMOUNT          IN    46928‐1338
KARL S BREDE                                       314 RUSH ST                                                                                     PETOSKEY           MI    49770‐2941
KARL S CHLUPSA                                     2085 MORRIS AVE                                                                                 BURTON             MI    48529‐2156
KARL S DOLATA                                      7526 RABON AVENUE                                                                               BALTIMORE          MD    21222‐1346
KARL S ZAJAC                                       20 WINTROP RD                                                                                   CLARK              NJ    07066‐2320
KARL SHERWIN                                       525 W26871 WINNEBAGO WAY                                                                        WAUKESHA           WI    53188
KARL SIEGLER                                       12125 GENOA N E                                                                                 ALBUQUERQUE        NM    87111‐2855
KARL T JOHNSON                                     4117 ELIZABETH LANE                                                                             FAIRFAX            VA    22032‐1453
KARL T KOHN                                        1192 RUSH HENRIETTA TOWN LINE ROAD                                                              RUSH               NY    14543
KARL T SCHWAB                                      30752 RIDGEFIELD                                                                                WARREN             MI    48093‐3174
KARL T WELCH & MRS ANITA WELCH JT TEN              1140 DREXEL                                                                                     DEARBORN           MI    48128‐1106
KARL THIES                                         LRMC                                   CMR‐402              BOX 635                             APO                AE    09180
KARL TROY METCALF                                  3302 COMER STREET                                                                               FLINT              MI    48506‐2086
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                     Part 4 of 8 Pg 490 of 855
Name                                            Address1                              Address2                      Address3         Address4          City               State Zip

KARL V HERMANN                                  PO BOX 5547                                                                                            WHITTIER           CA    90607‐5547
KARL VOU HEEB                                   5416 SW LANDING CREEK DR                                                                               PALM CITY          FL    34990‐4127
KARL W BANGERT JR                               8135 KIMBLE DR                                                                                         PINCKNEY           MI    48169‐8200
KARL W DOERSAM                                  60 GREEN PINE RD                                                                                       MONTGMRY           PA    17752‐8983
KARL W DURKEE                                   153 HORTON RD                                                                                          MASSENA            NY    13662
KARL W GROSS                                    31029 TANGLEWOOD                                                                                       NOVI               MI    48377‐4524
KARL W HANEY                                    3452 SISSION RD                                                                                        SHERIDAN           MI    48884‐9624
KARL W HEPTING                                  29815 ROAN                                                                                             WARREN             MI    48093‐8626
KARL W HEPTING & IONE HEPTING JT TEN            29815 ROAN                                                                                             WARREN             MI    48093‐8626
KARL W KRULL                                    15888 W ANASAZI STREET                                                                                 GOODYEAR           AZ    85338
KARL W SPRAGUE                                  2142 OAKWOOD RD                                                                                        ORTONVILLE         MI    48462‐9408
KARL W STRODER                                  SCHWARZBACHSTR 1 A                    D‐45879 GELSENKIRCHEN         DEUTSCHLAND      GERMANY
KARL W SULLIVAN                                 2610 W BALMORAL #402                                                                                   CHICAGO            IL    60625‐3175
KARL W WHITEHEAD TR KARL W WHITEHEAD INTER      43 OLIVER RD                                                                                           BELMONT            MA    02478‐4620
VIVOS TRUST UA 12/28/95
KARL WILLIAM HEIDECK JR EX EST KARL WILLIAM     790 SCOTLANDWELL PLACE                                                                                 MILTON             GA    30004
HEIDECK SR
KARL WISSEL                                     901 S STOUGH ST                                                                                        HINSDALE           IL    60521‐4355
KARL‐FRIED STRACKE                              55232 ALZEY                           ELISABETH LANGAESSER STR 1G                    GERMANY
KARL‐FRIEDRICH STRACKE                          ELISABETH LANGGASSER STR 19           ALZEY                         D55232           GERMANY
KARL‐PETER SCHUETT                              IGELWEG 19                            RUSSELSHEIM                   D65428 GERMANY   GERMANY
KARL‐PETER SCHUETT                              IGELWEG 19                            RUSSELSHEIM                   D65428           GERMANY
KARLA B ST LUKE & C GARY ST LUKE JT TEN         92 VINE CREEK LANDING                                                                                  ACLWORTH           GA    30101‐5918
KARLA BARTHOLOMEW                               4316 GLENWOOD AVE                                                                                      BIRMINGHAM         AL    35222‐4303
KARLA BETH THOMPSON                             108 COACHLIGHT SQUARE                                                                                  MONTROSE           NY    10548‐1248
KARLA BREEDING TRAMMELL                         PO BOX 573                                                                                             SPRINGFIELD        MO    65801‐0573
KARLA BUNTROCK                                  503 E 4TH ST                                                                                           SAINT ANSGAR       IA    50472‐9503
KARLA CALIENDO                                  23 LOOP DRIVE                                                                                          SAYVILLE           NY    11782‐1512
KARLA F HUNTER                                  1513 ATLANTIC CITY AV D                                                                                GROVER BEACH       CA    93433‐1457
KARLA FRANZMAN                                  115 ROGER AVE                                                                                          MILFORD            CT    06460‐6439
KARLA G SWIFT                                   19708 FITZGERALD                                                                                       LIVONIA            MI    48152‐4037
KARLA GAY LUKASIK                               3151 SMUGGLERS RIDGE                                                                                   COMMERCE TWP       MI    48390‐1286
KARLA HANNIBAL                                  19103 CHEMILLE DR                                                                                      LUTZ               FL    33558‐2845
KARLA J BIANCHI                                 54140 ROMEO PLANK                                                                                      MACOMB             MI    48042‐2336
KARLA J BIANCHI & ARTHUR T BIANCHI JT TEN       54140 ROMEO PLANK                                                                                      MACOMB             MI    48042‐2336
KARLA J LICKERT                                 16 DUNNINGTON CT                                                                                       SPRINGBORO         OH    45066‐1573
KARLA J LICKERT & FREDERICK W LICKERT JT TEN    16 DUNNINGTON CT                                                                                       SPRINGBORO         OH    45066‐1573
KARLA J ROBERTS                                 136 BELTLINE RD                                                                                        BULL SHOALS        AR    72619
KARLA JOAN BIANCHI CUST MARIO JOHN BIANCHI      54140 ROMEO PLANK                                                                                      MACOMB             MI    48042‐2336
UGMA MI
KARLA K SMITH                                   8010 SEA HERO RUN                                                                                      ZERSAILLES         KY    40383‐9199
KARLA LUKASIK CUST GARRETT JAMES TODD UTMA MI   3151 SMUGGLERS RIDGE                                                                                   COMMERCE TWP       MI    48390‐1286

KARLA N BONZIE                                  4505 HARROGATE DR                                                                                      NORMAN             OK    73072‐3947
KARLA RAE BROWN                                 14 SAWMILL CREEK DR W                                                                                  HURON              OH    44839‐1029
KARLA S FAWCETT & MICHAEL FAWCETT JT TEN        4707 66TH PL                                                                                           HYATTSVILLE        MD    20784‐1301
KARLA S PEPPLER                                 15354 CLEARWATER POINT RD                                                                              WILLIAMSBURG       MI    49690‐9402
KARLA STOECKINGER                               809 24TH STREET                                                                                        SOUTH BEND         IN    46615‐2115
KARLA WIEMER CUST LAURA WIEMER UTMA MI          35161 SIX MILE RD                                                                                      LIVONIA            MI    48152‐2976
KARLA WIEMER CUST RICHARD WIEMER UTMA MI        35161 SIX MILE RD                                                                                      LIVONIA            MI    48152‐2976
KARLE A KIMBALL                                 7870 KEARNEY                                                                                           WHITMORE LAKE      MI    48189‐9572
KARLEEN LATTY                                   12965 ALMA                                                                                             BURT               MI    48417
KARLENE C HELBERG                               720 TANAGER WAY                                                                                        BRICKTOWN          NJ    08724‐1168
KARLENE KNIE                                    3513 SERENE WAY                                                                                        LYNNWOOD           WA    98087
KARLIN ELIZABETH MESSINA                        1009 LAKEWOOD DR                                                                                       COLONIAL HEIGHTS   VA    23834‐1224

KARLINE IKE                                     7625 W HIBBARD ROAD                                                                                    OVID               MI    48866‐9599
KARLINE IKE                                     7625 W HIBBARD RD                                                                                      OVID               MI    48866‐9599
KARLOS L BAKER                                  1219 BERKLEY AVE                                                                                       YOUNGSTOWN         OH    44505‐3332
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 491 of 855
Name                                               Address1                             Address2             Address3          Address4          City            State Zip

KARLYNN P PULAWSKI                               1419 DONALD                                                                                     ROYAL OAK       MI    48073‐2024
KARMA ALLISON GLEATON                            128 STEPHEN LANE                                                                                BLYTHEWOOD      SC    29016
KARMA RENEE PACE                                 51 N 3RD ST                            APT 31                                                   PHILADELPHIA    PA    19106‐4537
KARMARDI JOAL MILLS                              PO BOX 6063                                                                                     UPPR MARLBORO   MD    20792
KARMEL A WARD                                    2925 S PARK RD                                                                                  KOKOMO          IN    46902‐3210
KARMELA MALESEVIC                                1819 ELDON DRIVE                                                                                WICKLIFFE       OH    44092‐1534
KARNA M BAKER                                    1816 W 161ST ST                                                                                 WESTFIELD       IN    46074‐9625
KARNA M LEE                                      ATTN KARNA M BAKER                     1816 W 161ST ST                                          WESTFIELD       IN    46074‐9625
KAROL ANN BREWER                                 1419 CROOKED STICK LOOP                                                                         LAKELAND        FL    33801‐0594
KAROL ANN BREWER TR UW HELEN V SAUNTRY           1419 CROOKED STICK LOOP                                                                         LAKELAND        FL    33801‐0594
KAROL ANN JAQUES                                 5119 WOODSTOCK DR                                                                               SWARTZ CREEK    MI    48473‐8539
KAROL J ERWIN                                    11022 W PEORIA AV                                                                               SUN CITY        AZ    85351‐4060
KAROL J SELF                                     11245 E MCALLISTER                                                                              SUTTONS BAY     MI    49682‐9664
KAROL L RZEPKOWSKI                               1608 E WARNIMONT AVE                                                                            MILWAUKEE       WI    53207‐3608
KAROL LONG                                       7155 EDGETON                                                                                    DETROIT         MI    48212‐1905
KAROL MARIE TANNER                               2371 PINEVIEW COURT                                                                             FLUSHING        MI    48433‐2500
KAROL R JONES & DORIS H DALRYMPLE JT TEN         29932 SCENIC DRIVE NE                                                                           POULSBO         WA    98370
KAROL ZAKALIK                                    1925 LONG LAKE SHORES                                                                           BLOOMFIELD      MI    48302‐1238
KAROLE A KRACIRIK                                976 KENBROOK DRIVE                                                                              VANDALIA        OH    45377‐2639
KAROLEE GRAHAM                                   2753 JUTES DRIVE                                                                                THOMPSONS STN   TN    37179
KAROLIN JANE WALSH                               48 BRYNAL ROAD                                                                                  BURNT HILLS     NY    12027‐9553
KAROLINA BOYKO & MISS MARY BOYKO JT TEN          5421 FLORIDA                                                                                    DETROIT         MI    48210‐2213
KAROLINA MAY                                     9260 BROCK RD                                                                                   PLAIN CITY      OH    43064‐9331
KAROLINA SMITH TR KAROLINA SMITH LIVING TRUST UA 2854 BUCKINGHAM                                                                                 BERKLEY         MI    48072‐1360
06/20/06
KAROLINE NADOLSKI                                6132 PENROD                                                                                     DETROIT         MI    48228‐4766
KAROLINE WAGGLE CUST CHRISTOPHER THOMAS          21608 HANLON AVE                                                                                DOS PALOS       CA    93620‐2685
WAGGLE UTMA CA
KAROLINE WIEDEL & JUERGEN H WIEDEL JT TEN        4243 N DAMEN AVE                                                                                CHICAGO         IL    60618‐3011
KAROLY GYELNIK                                   10 SUMMIT RD                                                                                    ELIZABETH       NJ    07208‐1216
KAROLYN A FREY TR KAROLYN A FREY TRUST UA 4/9/92 31357 FAIRFAX DR                                                                                BIRMINGHAM      MI    48025‐5653

KAROLYN E MATTICE                                  3540 HADDEN                                                                                   ROCHESTER       MI    48306‐1139
KAROLYN H WATSON                                   2814 NW 13TH CT                                                                               GAINESVILLE     FL    32605‐5001
KAROLYN J NICHOLSON                                7216 HACKBERRY CT                                                                             FRANKSVILLE     WI    53126‐9417
KAROLYN JUNE PHELPS TR KAROLYN JUNE PHELPS         1154 KERWOOD CIRCLE                                                                           OVIEDO          FL    32765
LIVING TRUSTUA 01/16/96
KAROLYN K SHOCKEY                                  308 BELVEDERE SE                                                                              WARREN          OH    44483‐6125
KAROLYN KIM KRUEGER                                907 SLOEWOOD CT                                                                               LAKE MARY       FL    32745‐4903
KARON D RODGERS                                    5321 JASMINE LN                                                                               HILLIARD        OH    43026‐9666
KARON L GRAFT                                      21966 RD 60                                                                                   GROVER HILL     OH    45849‐9306
KARON L LAVIOLETTE                                 3690 N RIVER RD                                                                               FREELAND        MI    48623‐8833
KARON S WILLIS                                     ATTN KARON WILLIS CRANDALL           7765 W 900S                                              PENDLETON       IN    46064‐9753
KARREN DONNA YOEMANS                               604 RIVER BANK                                                                                WYANDOTTE       MI    48192‐2630
KARREN S CHRISTLEY                                 2867 LINDA DR                                                                                 WARREN          OH    44485‐2037
KARRI A BEEBE                                      33435 BEECHNUT                                                                                WESTLAND        MI    48186
KARRI ANN GERMAN                                   1016 WASHINGTON AVE                                                                           SELLERSVILLE    PA    18960‐1538
KARRI L LITTLE CUST KELSIE LYNN LITTLE UTMA NC     PO BOX 109                                                                                    HORTON          MI    49246‐0109
KARRIE B FANKHANEL & JAMES H FANKHANEL JT TEN      103 SOUTHBROOK RD                                                                             HURRICANE       WV    25526‐9070

KARRIE D HENDRICK & TAVAN L HENDRICK JT TEN        1864 ERIN ISLE DR                                                                             HOLLAND         MI    49424‐1391
KARRIE LARIVE                                      1044 KINGSTON                                                                                 FLINT           MI    48507‐4740
KARRIN MARIE KIEWEG                                7275 MARBLEHEAD DR                                                                            HUDSON          OH    44236‐1731
KARRIN RIDLEY CUST TRINITY LEANNE RIDLEY UTMA AL   42316 US HWY 72                                                                               STEVENSON       AL    35772‐5417

KARRY L RIETH & FREDERICK H RIETH JT TEN           5365 COOLEY LAKE RD                                                                           WATERFORD       MI    48327‐3013
KARSTEN GARBE                                      ADAM OPEL AG                         IPC 42‐67            RUSSELSHEIM       GERMANY
KARTAR S BAWEJA                                    6 LEAH CRESENT                       AJAX ON                                L1T 3J3 CANADA
KARTAR S BAWEJA                                    6 LEAH CRESENT                       AJAX ON                                L1T 3J3 CANADA
                                          09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                                                       Part 4 of 8 Pg 492 of 855
Name                                            Address1                                Address2                     Address3                  Address4          City             State Zip

KARTAR S BAWEJA                                 6 LEAH CRESENT                          AJAX ON                                                L1T 3J3 CANADA
KARTHIKEYAN RAJAMANI                            1522 PASTAL WAY                                                                                                  DAVIS            CA    95618
KARUTH WHITE                                    328 ROBBIE LANE                                                                                                  FLINT            MI    48505‐2100
KARY L MCNEAL JR                                508 WOOODS DR                                                                                                    COLUMBIA         TN    38401‐4747
KARYL A WEBER                                   55 TWEED BLVD                                                                                                    NYACK            NY    10960‐4911
KARYL L KIRSCH                                  C/O KARYL HANSEN                        748 WASHINGTON ST                                                        CUMBERLAND       MD    21502‐2707
KARYN A BERNOTAS CUST CHARLES A BERNOTAS UTMA   5147 DARRY LN                                                                                                    DUBLIN           OH    43016‐4347
OH
KARYN DE MARTINI                                119 9TH AVE                                                                                                      SAN FRANCISCO    CA    94118‐1222
KARYN K BACHELDER                               PO BOX 581                                                                                                       WEST BRANCH      MI    48661‐0581
KARYN KADAU                                     8452 HAMPTON                                                                                                     GROSSE ILE       MI    48138
KARYN L FORT                                    4767 MADDIE LANE                                                                                                 DEARBORN         MI    48126‐4168
KARYN L MURDIE                                  1411 TENELICK                                                                                                    JACKSON          MI    49234
KARYN LISKO                                     871 BURROUGHS RD                                                                                                 FAIRFIELD        CT    06825‐3650
KARYN M NOWAKOWSKI                              101 RAPIDAN CT                                                                                                   MORRISVILLE      NC    27560‐5913
KARYN MINARCIN BUTE                             1025 ROBIN HOOD LANE                                                                                             LAGRANGE PARK    IL    60526‐1582
KARYN P BARTLETT                                27005 FAIRWAY LN                                                                                                 VALENCIA         CA    91381‐0670
KARYN PETERSEN                                  117‐19 150TH AVE                                                                                                 S OZONE PK       NY    11420‐4020
KARYN VOGT                                      5147 E EARLL DR                                                                                                  PHOENIX          AZ    85018‐7960
KASANDRA F LARKINS                              7800 ROSEMONT AVE                                                                                                DETROIT          MI    48228‐5427
KASEM SANGBHUNDHU                               16918 21ST AVE                                                                                                   WHITESTONE       NY    11357‐4102
KASER FAMILY LIMITED PARTNERSHIP                PO BOX 134                                                                                                       NASHVILLE        IL    62263‐0134
KASEY E KILMER                                  22891 WALNUT LANE                                                                                                GENOA            OH    43430‐1133
KASEY GIZELBACH CUST EVAN GIZELBACH             155 LINE CREEK CIR                                                                                               SHARPSBURG       GA    30277‐3296
KASEY KILMER                                    22891 WALNUT LN                                                                                                  GENOA            OH    43430‐1133
KASEY L BLUE                                    1478 MARINA DRIVE                                                                                                SLIDELL          LA    70458
KASH BEGLEY                                     8723 HADDIX RD                                                                                                   FAIRBORN         OH    45324‐9621
KASIE RAE JOHNSTON                              2305 PIERCE ST                                                                                                   FLINT            MI    48503‐6412
KASONDRA ANN CANNON                             3843 MISTY LAKE                                                                                                  ELLENWOOD        GA    30294‐1165
KASS D LARSON                                   S 6323 HELENA                                                                                                    SPOKANE          WA    99223‐8346
KASSANDRA LEE LEFEBRE                           156 HERITAGE LAKE DRIVE                 DEWINTON AB                                            T0L 0X0 CANADA
KASSEM M SAAD                                   7529 OAKMAN                                                                                                      DEARBORN         MI    48126‐1575
KASSIDY C WAIT                                  1111 PEMBERTON DR                                                                                                LELAND           NC    28451‐9113
KATA CINDRIC                                    1116 BULL CREEK LN                                                                                               MACEDONIA        OH    44056‐2088
KATA SARIC                                      8304 TUDOR CIRCLE                                                                                                WILLOW SPGS      IL    60480‐1123
KATALIN GAVALLER                                144 WEBBER AVE                                                                                                   NORTH            NY    10591‐2003
                                                                                                                                                                 TARRYTOWN
KATALIN POOR                                    350 SHADE TREE CT                                                                                                YARDLEY          PA    19067‐5308
KATARINA BELANCIC                               25118 CHARDON RD                                                                                                 RICHMOND HTS     OH    44143‐1341
KATARYNA ROKICKI & JOSEPH S ROKICKI JT TEN      42614 WROBEL ST                                                                                                  CLINTON TWP      MI    48038‐5424
KATE AULT WASSERMAN                             149 N DESERT PARK PLACE                 TUSCON                                                                   TUCSON           AZ    85745
KATE B HOLZENTHAL                               110 LAKELAWN DR                                                                                                  SLIDELL          LA    70458‐5749
KATE BALDASSARI                                 157 ELM CT                                                                                                       CHAGRIN FALLS    OH    44022‐3207
KATE BLOCK                                      REED SMITH LLP                          10 SOUTH WACKER DRIVE 4000   ATTN: HARRY B ROSENBERG                     CHICAGO          IL    60606‐7507
KATE CASIMIRA VAUGHAN                           8833 ABBEY LN                                                                                                    ORLAND PARK      IL    60462
KATE DRISCOLL CUST MARGIT DRISCOLL UTMA ID      BOX 3101                                                                                                         KETCHUM          ID    83340‐3101
KATE E BAKER                                    3037 GORHAM CT                                                                                                   CARMEL           IN    46033‐3280
KATE F WYLLY                                    2248 PORTSIDE WAY                                                                                                CHARLESTON       SC    29407‐8238
KATE FLOYD                                      5919 E 22ND ST                                                                                                   TUCSON           AZ    85711
KATE GENUT CUST JORDAN ELLIOT GENUT UGMA MD     2110 BURDOCK RD                                                                                                  BALT             MD    21209‐1002

KATE GRUBER & THOMAS WALTER MC ALEXANDER JT     8002 BENNETT BRANCH RD                                                                                           MOUNT AIRY       MD    21771‐4226
TEN
KATE HORAN                                      10 FIELD ST                                                                                                      LAKEWOOD         CO    80226‐1266
KATE KOPASSIS                                   930 HORSESHOE COURT                                                                                              VIRGINIA BEACH   VA    23451‐5918
KATE KUHLMAN                                    22201 S KINGSTON RD NE                  BOX 278                                                                  INDIANOLA        WA    98342‐0278
KATE L BERNARDINI & STEVE BERNARDINI JT TEN     4804 E 85TH                                                                                                      GARFIELD HTS     OH    44125‐2008
KATE M GRENNAN                                  225 CARPENTER ST                        #3                                                                       PROVIDENCE       RI    02903‐3044
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 493 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

KATE R HEFFERNAN CUST ANN HEFFERNAN U/THE       C/O MRS R M SHERER                     1416 BONITA AVE                                          BREWTON            AL    36426‐1106
FLORIDA U‐G‐M‐A
KATE RACHEL NEWBY                               1081 CRANFORD HOLLOW RD                                                                         COLUMBIA           TN    38401‐7644
KATE S LUXEMBURG                                432 REBECCA AV                                                                                  PITTSBURGH         PA    15221‐3140
KATE SPERBER                                    1551 N FLAGLER DR                      APT 809                                                  WEST PALM BCH      FL    33401‐3442
KATE SPERBER                                    1551 N FLAGLER DR                      APT 809                                                  WEST PALM BCH      FL    33401‐3442
KATE WAGENBRENNER & RITA E WAGENBRENNER JT      66‐19 70 STREET                                                                                 MIDDLE VILLAGE     NY    11379‐1717
TEN
KATELYN A HALLOWELL & SANDRA L HALLOWELL JT TEN 234 BAILEY RD                                                                                   CARIBOU            ME    04736‐4232

KATELYN E PASCOE & CHERI PASCOE JT TEN           71 FAIRWAYS                                                                                    WILLIAMSVILLE      NY    14221‐4343
KATERI L MAIVILLE                                9528 SANDPIPER LN                                                                              SALINE             MI    48176‐9482
KATERINE M SCHUTTE CUST WILLIAM L SCHUTTE UGMA   21881 COLONY DRIVE                                                                             BROWNSTOWN         MI    48193‐7484
MI
KATERYNA BALKO                                   52 UNIVERSITY AVE                                                                              YONKERS            NY    10704‐1126
KATH A GROVEN                                    2120 SW STEPHENSON ST                                                                          PORTLAND           OR    97219‐8260
KATHALEEN D CARMONA                              C/O KATHALEEN D TORRES                2027 OAKDALE                                             DETROIT            MI    48209‐1430
KATHALEEN D DELAY & JACK T DELAY JT TEN          5801 OAKDALE RD                                                                                MABLETON           GA    30126‐2827
KATHALEEN D REJON                                2027 OAKDALE                                                                                   DETROIT            MI    48209‐1430
KATHALEEN H CARLINO & ALBERT V CARLINO JT TEN    20952 ALDEN STREET EXT                                                                         MEADVILLE          PA    16335‐8552

KATHARENE R MINCE                                N10458 STATE HWY M64                                                                           MARENISCO          MI    49947‐9726
KATHARINA L NORDLUND                             344 ORIOLE ST                                                                                  LAPEER             MI    48446‐2381
KATHARINA M MITCHELL & JOHN B MITCHELL JT TEN    2733 LITTLE ASTON CIRCLE                                                                       LAS VEGAS          NV    89142‐2734

KATHARINA MCKENZIE                               6152 FRANKS RD                                                                                 HOUSE SPRINGS      MO    63051‐1154
KATHARINA MCKENZIE                               6152 FRANKS RD                                                                                 HOUSE SPRINGS      MO    63051‐1154
KATHARINA MUELLER                                #226                                  455 LOGAN RD                                             MANSFIELD          OH    44907‐2866
KATHARINA ROSE                                   84‐38 GOLDINGTON CT                                                                            REGO PARK          NY    11379‐2431
KATHARINA SCHWAGER                               33682 SOMERSET DR                                                                              STERLING HEIGHTS   MI    48312‐6068

KATHARINE A MOTT & ANDREW A MOTT JT TEN          4056 WEST 161 ST                                                                               CLEVELAND          OH    44135‐1238
KATHARINE A PASSATINO                            10020 CATLINA                                                                                  OVERLAND PARK      KS    66207‐3620
KATHARINE A TAYLOR                               124 ONELDA ST                                                                                  ONEONTA            NY    13849
KATHARINE ANN MC GLYNN                           1 ALDEN PL                            #2                                                       VERGENNES          VT    05491‐1102
KATHARINE B DODGE                                133 EMMANUEL DRIVE                                                                             PORTSMOUTH         RI    02871‐4126
KATHARINE B SINGER                               1425 DORRIS                                                                                    HURST              TX    76053‐3903
KATHARINE BARTLEY MASON                          430 N KROCKS RD                       UNIT 151A                                                ALLENTOWN          PA    18106‐8914
KATHARINE BULGIN JOHNSON                         BOX 38                                                                                         HEAVENER           OK    74937‐0038
KATHARINE C BOTHNER TR KATHARINE C BOTHNER REV   407 MT ELAM RD                                                                                 FITCHBURG          MA    01420‐6913
TRUST UA 4/23/98
KATHARINE C FOOTE                                17 MANDALAY RD                                                                                 STUART             FL    34996‐7009
KATHARINE DE SHAW                                1615 S 4TH ST #M906                                                                            MINNEAPOLIS        MN    55454‐1489
KATHARINE DUPONT BROWNE                          13275 BETHANY RD                                                                               ALPHARETTA         GA    30009‐3540
KATHARINE E ROGERS                               125 PACKARD ROAD                                                                               STOW               MA    01775‐1120
KATHARINE F STEVENS                              138 NICHOLS ST                                                                                 LEWISTON           ME    04240‐6015
KATHARINE G AGENT                                C/O KATHARINE GRAHAM SMITH            3505 WENDEL CV # A                                       AUSTIN             TX    78731‐3142
KATHARINE GAKOS                                  87 SYLVAN DR                                                                                   MORRIS PLAINS      NJ    07950‐1925
KATHARINE GAUL                                   706 VINE ST                                                                                    LIVERPOOL          NY    13088‐5135
KATHARINE H TUTCHINGS                            3889 WORTHMOR DR                                                                               SEAFORD            NY    11783‐2012
KATHARINE HALEY                                  18 PLEASANT                                                                                    SAINT DANBURY      CT    06810‐7632
KATHARINE HUTTON TWEEDY                          PO BOX 1749                                                                                    DOYLESTOWN         PA    18901‐0317
KATHARINE I MCHUGH                               11122 MAIN ROAD                                                                                FENTON             MI    48430‐9717
KATHARINE K MEST                                 244 FIELDS DR                                                                                  SMYRNA             DE    19977‐4638
KATHARINE KHOURY                                 123 FRANKLIN AVE                                                                               YONKERS            NY    10705
KATHARINE L BIXLER                               716 GREENLEAF COURT                                                                            POMPTON PLNS       NJ    07444
KATHARINE L TOTTO                                PO BOX 6158                                                                                    KANEOHE            HI    96744‐9169
KATHARINE L WILLIAMS                             460 TANGLEWOOD DR                                                                              PENSACOLA          FL    32503‐3225
KATHARINE L YEATS                                505 BARCLIFF LN                                                                                ANDERSON           SC    29621‐1450
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                         Part 4 of 8 Pg 494 of 855
Name                                               Address1                               Address2               Address3             Address4          City               State Zip

KATHARINE LEE BARNES & GARY BARNES JT TEN          50 20 ATLAS RD                                                                                       GRAND BLANC        MI    48439‐9707
KATHARINE M BRILL CUST MADELINE MICHELLE BRILL     7096 E GEDDES PL                                                                                     CENTENNIAL         CO    80112‐1607
UGMA MI
KATHARINE M HORNER                                 126 CONTINENTAL DR                                                                                   DURHAM             NC    27712‐2412
KATHARINE M HUBBELL                                BOX 148                                                                                              CONWAY             NH    03818‐0148
KATHARINE M RICHARDSON                             1021 INDIAN TRAIL DR                                                                                 RALEIGH            NC    27609
KATHARINE M SNAVELY                                619 FULCHER LANE                                                                                     CHESTER            VA    23836‐2717
KATHARINE MARTIN STONE                             14524 KINGS GRANT ST                                                                                 GAITHERSBURG       MD    20878‐2570
KATHARINE MARY HOURIGAN                            309 PINE LANE                                                                                        MOUNTAINTOP        PA    18707‐1768
KATHARINE MICHELLE PIERCE                          29008 CATHERWOOD CT                                                                                  AGOURA HILLS       CA    91301‐1620
KATHARINE R DALTON                                 4118 S HARRISON ST                                                                                   FT WAYNE           IN    46807‐2422
KATHARINE R VAN WIE                                3108 TANALEY                                                                                         HOUSTON            TX    77005‐2358
KATHARINE ROCHE USA                                15 TAMARACK COURT                                                                                    NEWTON             PA    18940‐9249
KATHARINE S SWENSON                                3701 INTERNATIONAL DR                  APT 715                                                       SILVER SPRING      MD    20906‐1564
KATHARINE S THURMER                                01510 SW RADCLIFFE CT                                                                                PORTLAND           OR    97219‐7966
KATHARINE SLEDGE FORT                              PO BOX 40                                                                                            WHITEVILLE         NC    28472‐0040
KATHARINE SUE TAMMEN                               463 PATTI LANE                                                                                       MACHESNEY PARK     IL    61115‐1547

KATHARINE TAMBOR                                   492 WELLINGTON K                                                                                     WESTPALM BEACH     FL    33417‐2517

KATHARINE VAN ANDA                                 1712 N E RAVENNA BLVD                                                                                SEATTLE            WA    98105‐2443
KATHARYN ANNE LANCE & MARJORIE S LANCE JT TEN      1710 SUTTERS MILL DR                                                                                 CARROLLTON         TX    75007‐5104

KATHARYN FANN                                      6305 N WOODLAND AVE                                                                                  GLADSTONE          MO    64118‐4941
KATHE T HAZELKORN                                  773 BELVEDERE SE                                                                                     WARREN             OH    44484‐4325
KATHELEEN D GROSS                                  1996 INDIANWOOD TRL                                                                                  WEST BRANCH        MI    48661‐9070
KATHELEEN I REED TR KATHLEEN I REED LIVING TRUST   8285 HICKORY AVE                                                                                     HESPERIA           CA    92345‐3834
UA 09/21/93
KATHELEEN M TURKE                                  1905 HICKLEY DRIVE                                                                                   HINGHAM            MA    02043‐1548
KATHELINE M HALL                                   2800 W LOWER SPRINGBORO RD                                                                           SPRINGBORO         OH    45066‐7771
KATHELLEN HOLMES CRUIKSHANK                        802 MCCALLISTER AVE                                                                                  SUN CITY CENTER    FL    33573‐7025
KATHEREN BREEN                                     817 LEE AVE                                                                                          N TONAWANDA        NY    14120‐3408
KATHEREN MICHAELSON                                590 ISAAC PRUGH WAY                    APT. 535                                                      KETTERING          OH    45429
KATHERINA CHOMENKO                                 20 OSBORNE AVE                                                                                       MORRISVILLE        PA    19067
KATHERINE A ADAMS                                  12049 BELANN CT                                                                                      CLIO               MI    48420
KATHERINE A ALLEN                                  PO BOX 678                                                                                           MOUNT MORRIS       MI    48458‐0678
KATHERINE A ARDAN                                  413 N SCENIC ROAD                                                                                    HARRISBURG         PA    17109‐1026
KATHERINE A BAILEY                                 3200 BRAMBLEWOOD CV                                                                                  SOUTHAVEN          MS    38672‐8729
KATHERINE A BORMANN                                200 SEA WOODS DR N                                                                                   ST AUGUSTINE       FL    32080‐6457
KATHERINE A BROTHERS                               5890 CREEKSIDE LANE                                                                                  NORTH RIDGEVILLE   OH    44039‐2510

KATHERINE A BURNSIDE                               2076 WOODLAWN RD                                                                                     NORTHBROOK         IL    60062‐6071
KATHERINE A DAVIS                                  6663 BANTRY AVE                                                                                      CINCINNATI         OH    45213‐1561
KATHERINE A DIPROFIO                               5 COLONIAL WAY                                                                                       EAST HANOVER       NJ    07936‐1701
KATHERINE A DUFFIE                                 48 S ASCOT                                                                                           WATERFORD          MI    48328‐3500
KATHERINE A EDLUND                                 2770 W LINCOLN SPACE 16                                                                              ANAHEIM            CA    92801‐6305
KATHERINE A EVOY                                   P O BOX 1                              152 NORTH SHORE RD     POINTE AU BARIL ON   P0G 1K0 CANADA
KATHERINE A FORSTER & JOHN F FORSTER JT TEN        83 W 49TH ST                                                                                         BAYONNE            NJ    07002‐3213
KATHERINE A GIBSON                                 3670 LARKFIELD DR                                                                                    WEST BEND          WI    53095‐8744
KATHERINE A HARDY                                  5917 MISTY HILL                                                                                      CLARKSTON          MI    48346‐3054
KATHERINE A HERBERGER                              4748 FIFTH AVE                                                                                       YOUNGSTOWN         OH    44505‐1207
KATHERINE A HICKS                                  APT 191                                36000 GUANAJUATO GTO                        MEXICO
KATHERINE A KANE                                   577 TIMBERLAKE DR                                                                                    WESTERVILLE        OH    43081‐6355
KATHERINE A KNOX                                   ATTN KATHERINE A DUKATZ                154 BLUE VALLEY RD                                            LA VERGNE          TN    37086‐3401
KATHERINE A LINALE & GEORGE D LINALE JT TEN        242 NICE CT                                                                                          REDWOOD CITY       CA    94065‐2863
KATHERINE A MARCHAND                               ATTN KATHERINE A MARCHAND              BEYER                  10 HARMON ST                           TORRINGTON         CT    06790‐3406
KATHERINE A MC LAUGHLIN CUST MICHAEL JOHN MC       5 OLD WINTER ST                                                                                      LINCOLN            MA    01773‐3405
LAUGHLIN UGMA MA
KATHERINE A MCFARLAND                              5037 S HIGHPOINT DR                                                                                  ALBION             IN    46701‐9354
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 495 of 855
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

KATHERINE A MERRILL                               3200 NE 36TH ST                         APT 319                                                  FT LAUDERDALE   FL    33308‐6742
KATHERINE A MILLER                                54 STATION RD                                                                                    BELLPORT        NY    11713‐2446
KATHERINE A MOUNTS & JESSICA M MOORE JT TEN       32470 LINDERMAN AVE                                                                              WARREN          MI    48093‐8158

KATHERINE A NOSSE                                 22191 HARMS AVE                                                                                  EUCLID          OH    44143‐1619
KATHERINE A NOVAK                                 443 FENWOOD AVE                                                                                  HAMILTON        NJ    08619
KATHERINE A PRUDEN                                7‐C ALABAMA CT                                                                                   MATAWAN         NJ    07747‐3601
KATHERINE A RAVEN                                 2417 PECAN                                                                                       GRAND PRAIRIE   TX    75050‐1620
KATHERINE A RICH & HOLLY A KREAG JT TEN           6655 JACKSON RD #329                                                                             ANN ARBOR       MI    48103‐9519
KATHERINE A RICH & KELLY A RICH JT TEN            6655 JACKSON RD #329                                                                             ANN ARBOR       MI    48103‐9519
KATHERINE A RICHARDS                              428 SUNNYSIDE DR                                                                                 FLUSHING        MI    48433‐1473
KATHERINE A SARGENT                               259 HARE RD                                                                                      MILTON          NH    03851‐4714
KATHERINE A SEGI TR UA 10/18/91 THE ERICA ANN     729 W RIVERVIEW AVE                                                                              DAYTON          OH    45406‐5548
MAHARG TRUST
KATHERINE A SMOCK                                 6990 E COUNTY RD 100 N                                                                           AVON            IN    46123‐9711
KATHERINE A STABEK                                7921 STAFFORD DR                                                                                 SAGINAW         MI    48609‐4269
KATHERINE A STANDO                                21415 PARKLANE ST                                                                                FARMINGTN HLS   MI    48335‐4216
KATHERINE A TOON                                  5151 S 135 WEST ST                                                                               CLEARWATER      KS    67026‐9059
KATHERINE A WATRY                                 3100 RIVERMONT PKWY                                                                              ALPHARETTA      GA    30022‐5468
KATHERINE A WOLFF                                 55 THORPE DR                                                                                     DAYTON          OH    45420‐1823
KATHERINE A YAKE                                  4021 LONDONDERRY                                                                                 KALAMAZOO       MI    49006‐2711
KATHERINE ANN BEALL                               415 WOODLAND AVE                                                                                 WOOSTER         OH    44691‐2739
KATHERINE ANN BORGFELDT                           3333 ULLOA ST                                                                                    SAN FRANCISCO   CA    94116‐2263
KATHERINE ANN BOWEN                               56 LAKEVIEW RD                                                                                   SHUTESBURY      MA    01072‐9712
KATHERINE ANN BROWN                               1655 MELROSE AVE                                                                                 COLUMBUS        OH    43224‐4336
KATHERINE ANN GERARDOT                            13513 PLUMBAGO CT                                                                                FORT WAYNE      IN    46814‐8837
KATHERINE ANN HAMME & DONALD J HAMME JT TEN       3610 MILLER RD                                                                                   BAY CITY        MI    48706‐1320

KATHERINE ANN KAMINSKI                            7860 KRISTEN CT SE                                                                               CALENDONIA      MI    49316‐8974
KATHERINE ANN KIRBY HORVATH                       PO BOX 662                                                                                       PAONIA          CO    81428‐0662
KATHERINE ANN LUTZ TR UA 01/17/91 KATHERINE ANN   21 WILLISON ROAD                                                                                 GROSSE POINTE   MI    48236‐1564
LUTZ REVOC TRUST                                                                                                                                   SHRS
KATHERINE ANN LUZAR                               8925 W 350 W                                                                                     LIZTON          IN    46149‐9801
KATHERINE ANN MAKARIUS                            3009 BIG HILL ROAD                                                                               DAYTON          OH    45419‐1303
KATHERINE ANN MCBEE                               39 LUKE DRIVE                                                                                    PASADENA        MD    21122‐4511
KATHERINE ANN QUICK                               15600 WILLARD CT                                                                                 RAYMOND         NE    68428‐9525
KATHERINE ANN STOKES                              ATTN KATHERINE DE LA FUENTE             7910 MAPLE                                               DEARBORN        MI    48126‐1137
KATHERINE ANN TOENNIGES CUST LISA A TOENNIGES     4470 DOW RIDGE RD                                                                                ORCHARD LAKE    MI    48324‐2321
UTMA MI
KATHERINE ANNE ALZAPIEDI                          24 FIREHOUSE RD                                                                                  TRUMBULL        CT    06611‐2604
KATHERINE ANNE LAWS                               7 PARK AVE                                                                                       KEENE           NH    03431‐2330
KATHERINE ANNE PATTON                             1276 CRETE CT                                                                                    RIVERSIDE       CA    92506‐4751
KATHERINE ARTIS                                   562 PARKCLIFFE AVENUE                                                                            YOUNGSTOWN      OH    44511‐3148
KATHERINE AUDREY MICHEL                           C/O KATHERINE A MICHEL MYERS            214 W KILLARNEY LK                                       MOORE           SC    29369‐9109
KATHERINE B BEESON                                7821 HAMPSON ST                                                                                  NEW ORLEANS     LA    70118‐3956
KATHERINE B DEAN CUST KERI MICHELLE DEAN UTMA     940 SAWYER WAY                                                                                   BRENTWOOD       CA    94513‐8330
CA
KATHERINE B FISHER                                1156 FRIENDLY RD                                                                                 EDEN            NC    27288‐2808
KATHERINE B MAGGIO                                99 LEONARDINE AVE                                                                                SOUTH RIVER     NJ    08882‐2509
KATHERINE B MC ENDARFER                           550 MAIN ST                                                                                      WEST TOWNSEND   MA    01474‐1002
KATHERINE B MCAFEE                                2171 UTLEY RD                                                                                    FLINT           MI    48532‐4837
KATHERINE B POWDERLY                              256 CASCADE RD                                                                                   PITTSBURGH      PA    15221‐4464
KATHERINE B RAUP                                  3703 BROOKSIDE ROAD                                                                              TOLEDO          OH    43606‐2615
KATHERINE B REYNOLDS                              211 RED POINT RD                                                                                 NORTH EAST      MD    21901‐5627
KATHERINE B RIFFLE                                7520 ANDERSON AVE NE                                                                             WARREN          OH    44484‐1520
KATHERINE B SHANE TR KATHERINE B SHANE TRUST UA   4304 STABLE LN                                                                                   CHICO           CA    95973‐9275
04/18/94
KATHERINE B SIMON CUST BRITTANY BABETTE SIMON     2863 ACTA VISTA                                                                                  NEWPORT BEACH   CA    92660‐3204
UGMA CA
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                        Part 4 of 8 Pg 496 of 855
Name                                               Address1                              Address2                       Address3   Address4          City               State Zip

KATHERINE BARBARA COMSTOCK                         ERNST‐MORITZ‐ARNDT‐STR 12             BONN                                      53225 GERMANY
KATHERINE BATEMAN KESTLER                          415 FAIRVIEW FARMS RD                                                                             CAMPOBELLO         SC    29322‐8903
KATHERINE BATTEN KNOTT                             C/O T HENRY KNOTT                     4100 WELL SPRING DR            APT 2121                     GREENSBORO         NC    27410
KATHERINE BECK LANGER                              432 E 66TH ST 12                                                                                  NEW YORK           NY    10021‐6948
KATHERINE BELAIRE                                  33647 AVONDALE ST                                                                                 WESTLAND           MI    48186‐4358
KATHERINE BOWEN                                    26 FLEMING STREET                     HALIFAX NS                                B3P 1A9 CANADA
KATHERINE BRACH                                    C/O R BRACH                           1 CHASE MANHATTAN PLAZA 48TH   FLOOR                        NY                 NY    10005‐1401
KATHERINE BRIGID DIAL                              ATTN KATHERINE BRIGID CLARK           1078 CRESTWOOD STREET                                       SAN PEDRO          CA    90732‐2610
KATHERINE BRODZIK                                  47988 LIBERTY DR                                                                                  SHELBY TOWNSHIP    MI    48315‐4056

KATHERINE BURGUM SCHNEIDER                         112 WOODLEIGH RD                                                                                  DEDHAM             MA    02026‐3130
KATHERINE C BEATY                                  509 N 2ND ST                                                                                      FARMINGTON         IA    52626
KATHERINE C CORSON                                 2000 PLUM WOODS COURT                                                                             SELLERSBURG        IN    47172‐9092
KATHERINE C CROSS                                  443 ROSEWAE AVE                                                                                   CORTLAND           OH    44410‐1307
KATHERINE C DONOUAN & GERALD J DONOUAN JT TEN      APT 7M                                1025 HANCOCK STREET                                         QUINCY             MA    02169‐2117

KATHERINE C FITE                                   6618 E BUCKEYE AVE                                                                                FRESNO             CA    93727‐6860
KATHERINE C HARRIS                                 1005 BELVEDERE DR                                                                                 DELTONA            FL    32725
KATHERINE C HUMPHRIES                              BOX 524                                                                                           VESUVIUS           VA    24483‐0524
KATHERINE C KREMER                                 1860 SHERMAN                                                                                      EVANSTON           IL    60201‐3758
KATHERINE C MONTI                                  300 LAKESIDE ROAD                                                                                 NEWBURGH           NY    12550‐1504
KATHERINE C MORRISSEY TR UA 08/05/87 KATHERINE C   129 ACACIA CIRCLE APT 507                                                                         INDIAN HEAD PARK   IL    60525‐9057
MORRISSEY
KATHERINE C NEILSON                                3737 BRYANT AVE SOUTH #721G                                                                       MINNEAPOLIS        MN    55409‐1019
KATHERINE C SMITH                                  2875 PEBBLE CREEK DR                                                                              ANN ARBOR          MI    48108
KATHERINE C TRIMMER                                7964 HIGHROCK RD W                                                                                HANOVER            PA    17331
KATHERINE CAVLOVIC                                 3631 N 123ND ST                                                                                   KANSAS CITY        KS    66109‐4210
KATHERINE CHANEY                                   546 FOREST LAKE DR                                                                                WILMINGTON         OH    45177‐1016
KATHERINE CHITWOOD COLEMAN                         1819 LOUDEN HEIGHTS ROAD                                                                          CHARLESTON         WV    25314
KATHERINE COLEMAN                                  573 DAYTONA PARKWAY #13                                                                           DAYTON             OH    45405
KATHERINE CONITS CUST NICOLE E COLLETTO UTMA NY    193 PEMBROOK DR                                                                                   YONKERS            NY    10710‐2805

KATHERINE CONNOLLY & MARGARET CONNOLLY JT TEN 1152 WEST ELM ST                                                                                       SCRANTON           PA    18504‐2137

KATHERINE COSTACURTA                               823 COLUMBIA ST                                                                                   HUDSON           NY      12534
KATHERINE CYRENE KOERNER BEEVERS                   14670 BAKER CREEK RD                                                                              MCMINNVILLE      OR      97128‐8060
KATHERINE D CLATANOFF                              4172 36TH ST S                                                                                    ARLINGTON        VA      22206‐1806
KATHERINE D OSTER                                  25429 LIVINGSTON CIR                                                                              FARMINGTON HILLS MI      48335‐1244

KATHERINE D RINES                                  55 SCENIC OAKS                                                                                    BLOOMFIELD HILLS   MI    48304

KATHERINE D SHOULDERS                              12089 GLASTONBURY                                                                                 DETROIT            MI    48228‐1117
KATHERINE D WELK                                   6722 MELROSE DR                                                                                   MCLEAN             VA    22101‐2925
KATHERINE DAVIS MARPLE                             2853 CORINTHIAN AVE APT 3                                                                         JACKSONVILLE       FL    32210‐4386
KATHERINE DE CLAIRE & WILLIAM R DE CLAIRE JT TEN   APT 412                               36078 ANN ARBOR TRAIL                                       LIVONIA            MI    48150‐3580

KATHERINE DILTS SUMMERS                            1601 EAST 8TH ST                                                                                  ANDERSON           IN    46012‐4135
KATHERINE DOBRINSKA                                3705 S PINE AVE                                                                                   MILWAUKEE          WI    53207‐3976
KATHERINE DUNN & JOHN DUNN JT TEN                  26‐19 168TH ST                                                                                    FLUSHING           NY    11358‐1127
KATHERINE DUPONT BROWNE                            13275 BETHANY RD                                                                                  ALPHARETTA         GA    30009‐3540
KATHERINE E ANDERSON                               8100 CONNECTICUT AVE                  APT 508                                                     CHEVY CHASE        MD    20815‐2813
KATHERINE E BLOWE                                  89 SOUTH ST                                                                                       PITTSFIELD         MA    01201‐6108
KATHERINE E CADMUS                                 905 E WALNUT DR                                                                                   NEWTON             NJ    07860‐4519
KATHERINE E COBLENTZ                               13343 N BELSAY RD                                                                                 MILLINGTON         MI    48746‐9240
KATHERINE E CURTIS                                 5008 RIVER HILL RD                                                                                BETHESDA           MD    20816‐2239
KATHERINE E DELLINGER                              430 LARKIN AVE                                                                                    AKRON              OH    44305‐3743
KATHERINE E GAURIN                                 150 CALM LAKE CIR                     APT C                                                       ROCHESTER          NY    14612‐2511
KATHERINE E HENDERSON                              49711 WILLIS RD                                                                                   BELLEVILLE         MI    48111‐9392
KATHERINE E KACZMARSKI                             774 SUNNYSIDE RD                                                                                  SMYRNA             DE    19977‐3605
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 497 of 855
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

KATHERINE E KISS                                 7470 W COAL MINE AVE UNIT B                                                                    LITTLETON       CO    80123‐9400
KATHERINE E LAGUNA                               261 CHARIOT TRL                                                                                DOUGLAS         GA    31533‐8227
KATHERINE E MAYER                                APT 6C                                60 WEST 68 TH ST                                         NEW YORK        NY    10023‐6023
KATHERINE E MC VAY                               2852 ST CLAIR                                                                                  PONTIAC         MI    48057
KATHERINE E MCINTYRE & ELIZABETH S MCINTYRE JT   8868 CHAMBORE DRIVE                                                                            JACKSONVILLE    FL    32256‐8485
TEN
KATHERINE E PERRY & RICHARD E PERRY JT TEN       PO BOX 346                                                                                     BEAR LAKE       MI    49614‐0346
KATHERINE E PILIBOSIAN                           3105 WOODPINE COURT                                                                            ROCHESTER       MI    48306
KATHERINE E POUGET & JOHN W POUGET JT TEN        3380 FARMERS CREEK RD                                                                          METAMORA        MI    48455‐9791
KATHERINE E PUTNAM                               401 PARK PL                                                                                    FT LEE          NJ    07024‐3731
KATHERINE E RICHARDSON                           20451 ILENE                                                                                    DETROIT         MI    48221‐1017
KATHERINE E RODWAY                               101 AVON ON THE GREEN                 41 PROSPECT STREET                                       AVON            NY    14414
KATHERINE E SCUKANEC                             165 SIMPSON AVE                                                                                ELKHART         IN    46516‐4669
KATHERINE E SEGAL                                4 S PEAK                                                                                       LAGUNA NIGUEL   CA    92677‐2903
KATHERINE E SUGG TR THE KATHERINE E SUGG TRUST   BOX 5069                                                                                       SAN ANGELO      TX    76902‐5069
UA 03/29/00
KATHERINE E THOMPSON                             235 DEPOT ROAD                                                                                 ELIOT           ME    03903
KATHERINE E THORP                                415 STRATFORD RD                      APT 4J                                                   BROOKLYN        NY    11218‐5371
KATHERINE E VARGA & ELMER C VARGA JT TEN         130 E LAKE RD                                                                                  LUDLOW          VT    05149‐9528
KATHERINE E VORIS                                4009 SECURITY LANE                                                                             JARRETTSVILLE   MD    21084‐1228
KATHERINE E WATSON                               ATTN KATHERINE WALTSON‐DOBBS          276 SIMPSON          PO BOX 333                          GRASS LAKE      MI    49240‐0333
KATHERINE ELAINE LAGUNA                          261 CHARIOT TRL                                                                                DOUGLAS         GA    31533‐8227
KATHERINE ELIAS                                  7510 JAMESBRADFORD DRIVE                                                                       CENTERVILLE     OH    45459‐5127
KATHERINE ENTWISTLE                              220 BIRCH RD                                                                                   FAIRFIELD       CT    06430‐6723
KATHERINE ESBER                                  4728 FOREST GROVE DR                                                                           BRUNSWICK       OH    44212‐1190
KATHERINE F ALEXANDER                            1105 SHEPHERD AVE                                                                              LAURINBURG      NC    28352‐3461
KATHERINE F BEATY & SALLY A LALONE JT TEN        73 CROSS TIMBERS DRIVE                                                                         OXFORD          MI    48371‐4701
KATHERINE F BOWLING                              PO BOX 146                                                                                     LEWISVILLE      IN    47352‐0146
KATHERINE F DAVIS & JOHN E DAVIS JT TEN          6139 DERBYSHIRE RD                                                                             INDPLS          IN    46227‐4739
KATHERINE F FOBES                                9651 MOONLIT SKY AVE                                                                           LAS VEGAS       NV    89147
KATHERINE F HALL                                 4327 N IRWIN AVE                                                                               INDIANAPOLIS    IN    46226‐3647
KATHERINE F HAYES                                58 CLIFFSIDE DR                                                                                PLYMOUTH        MA    02360‐1472
KATHERINE F MACAFEE                              7207 EVANSTON RD                                                                               SPRINGFIELD     VA    22150‐3626
KATHERINE F REGAN                                PO BOX 208                                                                                     BURLINGHAM      NY    12722‐0208
KATHERINE F STYPA                                6095 GLASS FACTORY RD                                                                          MARCY           NY    13403‐2002
KATHERINE F TANNER                               30720 KRAUTER ST                                                                               GARDEN CITY     MI    48135‐1815
KATHERINE F WALDORFF                             214 SILVER LAKE TER                                                                            PALATKA         FL    32177‐9404
KATHERINE F WARDOSKY & GARY S WARDOSKY JT TEN    10075 W COLDWATER RD                                                                           FLUSHING        MI    48433‐9701

KATHERINE FETTING BECKER                         8701 FOUR MILE RD                                                                              ADA             MI    49301‐9716
KATHERINE FRENCH TWEEDY                          505 W 19TH AVE                                                                                 COVINGTON       LA    70433‐3003
KATHERINE FRIEND LELARGE                         30 BROOKRIDGE DR                                                                               GREENWICH       CT    06830‐4830
KATHERINE G GRINCEWICH & CHAKRI A MANEECHAI JT 944 14TH ST SE                                                                                   WASHINGTON      DC    20003
TEN
KATHERINE G KILBANE                              9707 MEMPHIS VILLAS BLVD                                                                       CLEVELAND       OH    44144‐2404
KATHERINE G KURPIEWSKI                           64 STANDARD ST                                                                                 NEWINGTON       CT    06111‐2736
KATHERINE G MC DANIEL & ELIZABETH T MC DANIEL JT 3300 N DUNN ST                                                                                 BLOOMINGTON     IN    47408‐1003
TEN
KATHERINE G O'BRYAN CUST PATRICK B O'BRYAN UTMA 5779 E GEDDES CIRCLE                                                                            CENTENNIAL      CO    80112‐1513
CO
KATHERINE G PHINNEY & CHARLES A PHINNEY JT TEN   7 TAMARACK LN                                                                                  WINDHAM         ME    04062‐5030

KATHERINE G WARD                                 8480 GRANGE RD                                                                                 HUBBARDSTON     MI    48845
KATHERINE GACOS                                  7855 BLVD E 25E                                                                                NORTH BERGEN    NJ    07047‐5930
KATHERINE GARONE                                 58 APOLLO LANE                                                                                 HICKSVILLE      NY    11801‐4436
KATHERINE GAYLE HILL & MARIE ANN GABEHART JT TEN 300 N CHARLES AVE                     APT 204                                                  NAPERVILLE      IL    60540‐4965

KATHERINE GERSTENBERGER                          1420 WINCANTON DRIVE                                                                           DEERFIELD       IL    60015‐2340
KATHERINE GILLMAN                                72 WELLER AVE                                                                                  PITTSFIELD      MA    01201‐3335
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 498 of 855
Name                                            Address1                                Address2                Address3       Address4                City            State Zip

KATHERINE GUSTAFSON CUST AVA HILL UTMA MA       33 VILLA DR                                                                                            FOXBORO         MA    02035
KATHERINE GWYN VANDERELZEN & THOMAS LOUIS       2276 OAKDALE DR                                                                                        WATERFORD       MI    48329
VANDERELZEN JT TEN
KATHERINE H DI PIETRO                           24 CARDOGAN SQUARE                                                                                     ROCHESTER       NY    14625‐2905
KATHERINE H HAMILTON & JOHN M HAMILTON JT TEN   5401 W 134TH ST                         APT 1019                                                       LEAWOOD         KS    66209‐4277

KATHERINE H MALLERY                             1910 MAISON WAY                                                                                        CARSON CITY     NV    89703‐3001
KATHERINE H MOSKOLIS                            12226 ASHLAND                                                                                          GRANGER         IN    46530‐9654
KATHERINE H NORTON                              1654 PONUS RDG                                                                                         NEW CANAAN      CT    06840‐3433
KATHERINE H PERRY                               3720 PELICAN POINT WAY                                                                                 MELBOURNE       FL    32901‐8141
KATHERINE H PRYOR & MICHAEL W PRYOR & DAVID C   14518 ORO GRANDE STREET                                                                                SYLMAR          CA    91342‐4045
PRYOR JT TEN
KATHERINE H SCHAUPP                             21501 LAKE POINT LN                                                                                    CORNELIUS       NC    28031‐6677
KATHERINE H SHORE TR UA 08/16/2006 WILLIAM H    983 ASTER DR                                                                                           TERRA ALTA      WV    26764‐3058
HARRISON REV LIVING TRUST
KATHERINE H TODD                                1034 RICHLAND CT                                                                                       CHICO           CA    95926‐7153
KATHERINE H TOLLIVER                            53 SYLVAN RD                                                                                           S PORTLAND      ME    04106
KATHERINE HAMILTON & JOHN M HAMILTON JT TEN     13341 BIRCH ST                          APT 918                                                        LEAWOOD         KS    66209‐4274

KATHERINE HELMINIAK                             1009 N JACKSON ST #904                                                                                 MILWAUKEE       WI    53202‐3202
KATHERINE HESTER                                4412 CARMANWOOD DR                                                                                     FLINT           MI    48507
KATHERINE HIGH HOLMAN                           3816 VILLA NOVA                                                                                        DALLAS          TX    75225‐5219
KATHERINE HINES                                 5 EAST MILL PL                                                                                         LOUISVILLE      KY    40222‐5971
KATHERINE HOPKINS                               14706 LONG OAK DR                                                                                      HOUSTON         TX    77070‐2232
KATHERINE HUDDERSMAN                            2 DUKES DR                              LEICESTER                              LE2 1TP GREAT BRITAIN
KATHERINE I MAULE                               5905 SUSAN                                                                                             FLINT           MI    48505‐2575
KATHERINE I MC CORMICK                          72 HAZEL DR                                                                                            FREEHOLD        NJ    07728‐4052
KATHERINE I NICHOLS                             23702 ASHLEY DR                                                                                        FLAT ROCK       MI    48134
KATHERINE I WRIGHT CUST WILLIAM J WRIGHT UTMA   1388 SWITZER PIKE                                                                                      CYNTHIANA       KY    41031‐7608
KY
KATHERINE I ZALDIVAR                            18083 PARTRIDGE GREEN DRIVE                                                                            HOUSTON         TX    77084‐3291
KATHERINE J BAILEY                              566 5TH AVE                                                                                            OWEGO           NY    13827‐1620
KATHERINE J BARRETT & JOHN W KELLY JT TEN       2617 BROWN ST                                                                                          FLINT           MI    48503‐3336
KATHERINE J HOWARD & JEANETTE M HOWARD & JERL   976 OUTER DRIVE                                                                                        FENTON          MI    48430‐2255
W HOWARD JR JT TEN
KATHERINE J KUZNIK                              25 MAYFAIR DR                           LONDON ON                              N6A 1G4 CANADA
KATHERINE J LANTZ CUST MARY P LANTZ U/THE       ATT MARY L BURGESON                     5990 S 500 WEST                                                HUNTINGBURG     IN    47542‐9785
INDIANA U‐G‐M‐A
KATHERINE J MESERVE                             13 KENILWORTH ST                                                                                       PORTLAND        ME    04102‐2017
KATHERINE J MURRAY                              419 FOX TELL DRIVE                                                                                     LONGS           SC    29568
KATHERINE J MUTTER                              8 BOBRICK RD                                                                                           POUGHKEEPSIE    NY    12601‐5108
KATHERINE J SEWELL                              390 JENNIFER CIRCLE                                                                                    ROGERSVILLE     AL    35652‐7215
KATHERINE JAKUBIEC                              24 BEECH ST                                                                                            KEARNY          NJ    07032‐2706
KATHERINE JANE CARR                             5105 FAIRWAY DR                                                                                        AVON            IN    46123‐4608
KATHERINE JANE MIKLOSIK                         455 CUNNINGHAM AVE                      OSHAWA ON                              L1J 3C1 CANADA
KATHERINE JOAN BUTLER                           9551 CADBURY CIRCLE                                                                                    INDIANAPOLIS    IN    46260
KATHERINE JOHNSON                               2281 S VASSAR RD                                                                                       DAVISON         MI    48423‐2301
KATHERINE JONES                                 1400 KING TOWN ROAD                                                                                    WINFIELD        TN    37892‐2230
KATHERINE K PRICE                               3 CORMER CT UNIT 104                                                                                   TIMONIUM        MD    21093‐7549
KATHERINE K WALKER                              1886 KNOBCONE AVE EXT                                                                                  NORTH AUGUSTA   SC    29841‐2041
KATHERINE KELLY MARTIN                          7708 HUNTERS POINTE                                                                                    BRIGHTON        MI    48116‐8274
KATHERINE KERR                                  C/O CAMPBELL                            105 ROSAIRE PLACE N W                                          ATLANTA         GA    30327‐4049
KATHERINE KESLAR                                9162 SLAGLE RD                                                                                         WINDHAM         OH    44288‐9769
KATHERINE KING                                  PO BOX 6073                                                                                            VISALIA         CA    93290‐6073
KATHERINE KISELL                                530 CREEK RD                                                                                           DOWNINGTON      PA    19335‐1423
KATHERINE KNOEPFLER                             4101 IROQUOIS DR                                                                                       MADISON         WI    53711‐3743
KATHERINE KRAWECKI                              1 GLENDALE PLACE                                                                                       HERKIMER        NY    13350‐1250
KATHERINE KREDER                                8 E RANDOLPH ST                         UNIT 3106                                                      CHICAGO         IL    60601‐3638
KATHERINE KUHLMAN FOUNDATION                    4411 STILLEY RD #202                                                                                   PITTSBURGH      PA    15227‐1323
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 499 of 855
Name                                               Address1                               Address2                Address3       Address4          City               State Zip

KATHERINE KURK REICHARDT                           10 ROSE TERRACE                                                                                 CRESTVIEW HILLS    KY    41017‐2562
KATHERINE L BARCIA                                 1820 N EIGHT MILE RD                                                                            PINCONNING         MI    48650‐9450
KATHERINE L BELANGER                               4140 FITZNER RD                                                                                 GREENVILLE         MI    48838‐9505
KATHERINE L CECIL                                  102 THIRD ST S E                                                                                BARBERTON          OH    44203‐4209
KATHERINE L DEXTER                                 6256 19 NE                                                                                      SEATTLE            WA    98115
KATHERINE L DUNFORD                                4775 FISHBURG RD                                                                                HUBER HEIGHTS      OH    45424‐5440
KATHERINE L ESTERLY                                726 LOVEVILLE RD                       APT B3                                                   HOCKESSIN          DE    19707‐1502
KATHERINE L ESTERLY TR KATHERINE L ESTERLY TRUST   726 LOVEVILLE RD                       APT B3                                                   HOCKESSIN          DE    19707‐1502
UA 07/17/96
KATHERINE L FARRILL WINKLEMAN & SCOTT              7350 ARBOR GLEN PLACE                                                                           MENTOR             OH    44060‐7249
WINKLEMAN JT TEN
KATHERINE L GLAZIER                                3720 LORAMIE WASHINGTON RD                                                                      HOUSTON            OH    45333‐9714
KATHERINE L HAAS                                   1123 CHALLENGER                                                                                 AUSTIN             TX    78734‐3801
KATHERINE L HAMMER                                 ATT KATHERINE H BARROS                 6205 LAUREL RUN CT                                       CLIFTON            VA    20124‐2336
KATHERINE L HEIDE                                  30 STEVENSON DRIVE                                                                              PLEASANT HILL      CA    94523‐4124
KATHERINE L HOLDERIED                              100 OXBOW RD                                                                                    FAIRFIELD          CT    06824‐7323
KATHERINE L HOLLIS                                 5131 HELEN ST                                                                                   DETROIT            MI    48211‐3344
KATHERINE L KEMP TR KEMP LIVING TRUST UA 10/1/99   48 PARK AVE                                                                                     ASHEVILLE          NC    28803‐2056

KATHERINE L KRUTTY                                 24227 W 109TH TER                                                                               OLATHE             KS    66061
KATHERINE L MC GAHHEY                              2304 DOWNING                                                                                    MELVINDALE         MI    48122‐1904
KATHERINE L MUKDSI                                 1367 SUN TERR                                                                                   FLINT              MI    48532‐2242
KATHERINE L NICHOLS                                5 MONARCH DR                                                                                    BLOOMINGTON        IL    61704‐9092
KATHERINE L PHILLIPS                               905 BROOKMEADOW DR                                                                              PORT ORANGE        FL    32119
KATHERINE L SANNE                                  5921 WATLING RD                                                                                 BARRYTON           MI    49305‐9448
KATHERINE L SCHNEIDER                              1421 ROUNDS ROUND                                                                               WISCONSIN RAPIDS   WI    54494‐5458

KATHERINE L VOGEL                               3745 NW 64TH PLACE                                                                                 GAINESVILLE        FL    32653‐0864
KATHERINE LEASK LUMLEY‐SAPANSKI                 400 RASPBERRY LN                                                                                   BELLEFONTE         PA    16823‐7018
KATHERINE LIPKE TR KATHERINE HARGER LIPKE TRUST 329 SAN JUAN DR                                                                                    PONTE VEDRA        FL    32082‐1819
UA 10/03/86                                                                                                                                        BEACH
KATHERINE LOUISA BILLMAN                        5210 BAYBERRY LN                                                                                   GREENSBORO         NC    27455‐2222
KATHERINE LOUISE BATTLE                         1312 ROBIN CRDDK COVE                                                                              LEWISVILLE         TX    75067‐2911
KATHERINE LOUISE COLLINS                        1 FUJI DR                                                                                          BUCKHANNON         WV    26201
KATHERINE LOUISE MOCK                           ATTN KATHERINE LOUIS KLEN                 1209 WELLINGTON DRIVE                                    CLEARWATER         FL    33764‐4768
KATHERINE LOUISE MORRIS                         170 LUCERO WAY                                                                                     PORTOLA VALLEY     CA    94028‐7428
KATHERINE LOUISE RUSSELL                        46826 MCDONALD ST                                                                                  EAST LIVERPOOL     OH    43920‐9707
KATHERINE LOUISE STUART                         7438 GATINEAU PLACE                       VANCOUVER BC                           V5S 2S4 CANADA
KATHERINE LYN POST                              339 WALNUT ST                                                                                      SAN FRANCISCO      CA    94118‐2014
KATHERINE LYNN MODESITT                         9078 IRIS LN                                                                                       ZIONSVILLE         IN    46077
KATHERINE M BARD                                305 RIGGS STREET                                                                                   FENTON             MI    48430‐2353
KATHERINE M BOYD                                6720 E GREEN LAKE WY N #431                                                                        SEATTLE            WA    98103‐5452
KATHERINE M BURNHAM                             201 PRAIRIE STREET                                                                                 PLAINWELL          MI    49080‐1426
KATHERINE M CASEY                               6018 CHRYSTELLKS                                                                                   HOUSTON            TX    77092‐3353
KATHERINE M CUTCHALL COOK & MARGO CALDY JT TEN 715 N 12TH ST                                                                                       ARLINGTON          NE    68002‐3045

KATHERINE M DELORME                           C/O CONNIE C MUSTARDO 125 LIDA              393 SQUAREVIEW LN                                        ROCHESTER          NY    14626‐1869
KATHERINE M EVANS CUST JOHNATHAN B EVANS UGMA 1705 1ST ST AVE                             APT 3FS                                                  NEW YORK           NY    10128
NC
KATHERINE M FIRCHAU TR UA 07/24/2006 NORMA M  6247 DUFFIELD ROAD                                                                                   FLUSHING           MI    48433
COUNCIL TRUST
KATHERINE M FRESHLEY                          1233 N UTAH ST                                                                                       ARLINGTON          VA    22201‐4819
KATHERINE M FRYMAN                            2704 PRESIDENT LN                                                                                    KOKOMO             IN    46902‐3025
KATHERINE M GERISH                            6733 ROCK BROOK DR                                                                                   CLIFTON            VA    20124‐2525
KATHERINE M GIANGRANDE                        10901 GRATIOT                                                                                        RICHMOND           MI    48064‐1007
KATHERINE M GOLTZ                             1369 WINNIE DR                                                                                       OXFORD             MI    48371‐6048
KATHERINE M GRAVES                            11115 N NEBRASKA AVE                        APT C 202                                                TAMPA              FL    33612‐5765
KATHERINE M HYATT & JACK HYATT JR JT TEN      PO BOX 141                                                                                           LABELLE            FL    33975‐0141
KATHERINE M JOHNSON                           7777 SUTTON                                                                                          S LYON             MI    48178‐9621
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 500 of 855
Name                                            Address1                             Address2               Address3        Address4          City               State Zip

KATHERINE M KAPP                               6429 EARLINGTON LN                    APT 111                                                  LANSING            MI    48917‐8282
KATHERINE M KEEFE                              5 HOLLY LN                                                                                     BROOKFIELD         NH    03872‐7315
KATHERINE M KING                               B201 OAKWOODS APTS                                                                             BELLINGHAM         MA    02019
KATHERINE M KISSICK                            924 HAROLD ST                                                                                  ANDERSON           IN    46013‐1630
KATHERINE M KOSMYNA                            62341 ARLINGTON CIR                                                                            SOUTH LYON         MI    48178‐1755
KATHERINE M LANGE TOD DEBRA LANGE WALKER       6838 LOCKHAVEN DR                                                                              LOCKPORT           NY    14094
SUBJECT TO STA TOD RULES
KATHERINE M LOVEJOY                            25077 MANZANITA LN                                                                             DESCANSO           CA    91916‐9714
KATHERINE M MINTON                             600 W 115TH ST                        APT 64                                                   NEW YORK           NY    10025‐7715
KATHERINE M MOORE                              343 OXFORD RD                                                                                  HAVERTOWN          PA    19083‐5514
KATHERINE M MOSESSO                            351 AYR HILL AVE NE                                                                            VIENNA             VA    22180‐4726
KATHERINE M PETKIEWICZ & BENJAMIN A PETKIEWICZ 6 E SUMMIT AVE                                                                                 WILMINGTON         DE    19804‐1348
JT TEN
KATHERINE M PHELPS                             147 ELKMORE RD                                                                                 ELKTON             MD    21921‐7279
KATHERINE M R KING                             4401 UNDERWOOD ROAD                                                                            BALTIMORE          MD    21218‐1151
KATHERINE M REDDERSEN                          9182 BRIARBROOK N E                                                                            WARREN             OH    44484‐1746
KATHERINE M REYNICS                            115 SCOLES AVE                                                                                 CLIFTON            NJ    07012‐1119
KATHERINE M RUDDY                              15020 NE 167TH ST                                                                              WOODINVILLE        WA    98072
KATHERINE M SCHERBOVICH                        1256 BEATRICE ST                                                                               FLUSHING           MI    48433‐1723
KATHERINE M SCHMIDT TOD JOHN MCGUINESS SUBJECT 55 MURRAY AVE                                                                                  GOSHEN             NY    10924
TO STA TOD RULES
KATHERINE M SCHORMAN                           576 EASY RUN RD                                                                                DANVILLE           VA    24540‐8408
KATHERINE M SHELOR                             8 LUCERO EAST                                                                                  IRVINE             CA    92620‐1920
KATHERINE M SIMPSON BROWN                      C/O LOVEJOY                           25077 MANZANITA LANE                                     DESCANSO           CA    91916‐9714
KATHERINE M THOMPSON                           909 LUTHER RD                                                                                  EAST AURORA        NY    14052
KATHERINE M TRUE                               1528 ORANGE LANE                                                                               DAVIS              CA    95616‐0913
KATHERINE M URQUHART                           4 COURT ST PL                                                                                  ARLINGTON          MA    02476‐4806
KATHERINE M URQUHART & STEPHEN P URQUHART JT 4 COURT ST PLACE                                                                                 ARLINGTON          MA    02476‐4806
TEN
KATHERINE M WALLACE                            16132 DEERLAKE ROAD                                                                            DERWOOD            MD    20855‐1982
KATHERINE M WILKES                             124 SIZLANO CIR                                                                                OCILLA             GA    31774
KATHERINE M YANNATONE                          1901 W LINDEN ST                      APT 615                                                  ALLENTOWN          PA    18104‐5555
KATHERINE M YOUNG                              2501 FRIENDSHIP BLVD                  APT 113                                                  KOKOMO             IN    46901‐7746
KATHERINE M YOUNG                              106 THOMAS PLACE                                                                               EDISON             NJ    08837
KATHERINE MARIE BRYSON                         73 CHURCHILL RD                                                                                WEST SPRINGFIELD   MA    01089‐3011

KATHERINE MARIE SIVERS                          99 NORTH PARRISH DR                                                                           AMHERST            NY    14228‐1478
KATHERINE MARIE WALKER & BRUCE WALKER JT TEN    1842 W MORSE AVE                                                                              CHICAGO            IL    60626‐3109

KATHERINE MARTIN ZETWICK                        503 PROVIDENCE DR                                                                             CASTLE ROCK        CO    80108‐9018
KATHERINE MARY MCCOY                            3402 LAPEER ROAD                                                                              FLINT              MI    48503‐4454
KATHERINE MARY WAINIO & AIMEE MARIE WAINIO &    925 HIGH ST                                                                                   MARQUETTE          MI    49855‐3622
ANDREW PAUL MAINIO JT TEN
KATHERINE MAZRIMAS                              329 HELEN WAY                                                                                 LIVERMORE          CA    94550‐4069
KATHERINE MC CRAY                               123 CARR                                                                                      PONTIAC            MI    48342‐1768
KATHERINE MCCAFFREY                             311 N KNOWLES AVE APT 403                                                                     WINTER PARK        FL    32789
KATHERINE MCCAMERON                             600 CHRIST DR                                                                                 ARNOLD             MO    63010‐2340
KATHERINE MCCURDY                               12 CARLEON AVE                                                                                LARCHMONT          NY    10538‐3223
KATHERINE MCKENZIE                              PO BOX 31                                                                                     BRIDGEWATER        MI    48115‐0031
KATHERINE MICHELLE BRILL CUST MADALINE MICHELLE 7096 E GEDDES PL                                                                              CENTENNIAL         CO    80112‐1607
BRILL UTMA CA
KATHERINE MICHELLE BRILL CUST NICHOLAS MATTHEW 7096 E GEDDES PL                                                                               CENTENNIAL         CO    80112‐1607
BRILL UTMA CA
KATHERINE MILLER                                71 E LINDEN AVE                                                                               ENGLEWOOD          NJ    07631‐3620
KATHERINE MOFFATT LAWLER                        5309 S HILL DR                                                                                MADISON            WI    53705‐4739
KATHERINE MONAGLE TR MONAGLE SURVIVOR'S TRUST 2051 MEADOWBROOK RD                                                                             PRESCOTT           AZ    86303‐5696
UA 10/01/04
KATHERINE MOORE WAGONER                         324 MILETICH LN                                                                               FORT ANGELES       WA    98362‐9263
KATHERINE MULLINS                               5819 AGRA STREET                                                                              BELL GARDENS       CA    90201‐1601
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 501 of 855
Name                                               Address1                              Address2               Address3        Address4          City               State Zip

KATHERINE MURDOCK                                  BEAR CREEK TOWNSHIP                   4599 BEAR CREEK BLVD                                     WILKES BARRE       PA    18702‐9724
KATHERINE N MAISEL & DAVID MAISEL JT TEN           2913 EAST NORCROFT ST                                                                          MESA               AZ    85213‐1638
KATHERINE N MOHUN                                  16396 MOUNTAIN ORCHARD LANE                                                                    ROUND HILL         VA    20141
KATHERINE N PARKER                                 110 MCCARTY RD                                                                                 JACKSON            MS    39212‐9635
KATHERINE NAYMAN                                   2100 TANGLEWILDE ST                   APT 669                                                  HOUSTON            TX    77063‐1267
KATHERINE NELSEN                                   3607 BRIGHTON AVENUE                                                                           OAKLAND            CA    94602‐1133
KATHERINE NOVOSEL                                  38500 FLORENCE DR                                                                              WILLOUGHBY HILLS   OH    44094‐8720

KATHERINE NUZZIE & RONALD NUZZIE JT TEN            641 ANGILINE DR                                                                                YOUNGSTOWN         OH    44512‐6569
KATHERINE O KIM                                    200 THYME AVE                                                                                  MORGAN BIEL        CA    95037‐2531
KATHERINE O KIRK                                   8263 BROOKWOOD NE                                                                              WARREN             OH    44484‐1552
KATHERINE O LEONARD                                3747 W IL ROUTE 64                    LOT 75                                                   MOUNT MORRIS       IL    61054‐9725
KATHERINE O'NEILL                                  16731 GREEBRIAR RD                                                                             LAKE OSWEGO        OR    97034
KATHERINE OLIVE HISE                               3510 CHURCH DR                                                                                 ANDERSON           IN    46013‐2252
KATHERINE P BEAN                                   32770 KESTREL LN                                                                               EUGENE             OR    97405‐9018
KATHERINE P BROWN                                  1199 VINTAGE WAY                                                                               HOSCHTON           GA    30548
KATHERINE P C FRANCIS                              238 EAST 36TH STREET APT 2C                                                                    NEW YORK           NY    10016‐3731
KATHERINE P CALVERT                                1821 BAYSIDE BEACH ROAD                                                                        PASADENA           MD    21122‐3507
KATHERINE P FORESTAL                               4728 MOSS CREEK CT                                                                             INDIANAPOLIS       IN    46237‐2940
KATHERINE P ORDONA                                 30241 MARBELLA VISTA                                                                           SAN JUAN           CA    92675‐5405
                                                                                                                                                  CAPISTRAN
KATHERINE P SMOLINSKI TR UA 11/29/01 KATHERINE P   13994 SUSANNA COURT                                                                            LIVONIA            MI    48154‐4988
SMOLINSKI TRUST
KATHERINE P VILLARRUBIA                            39 IMPERIAL WOODS DR                                                                           NEW ORLEANS        LA    70123‐4916
KATHERINE P ZANG CUST MICHAEL V ZANG UGMA MI       269 W PREDMORE RD                                                                              OAKLAND            MI    48363‐1415

KATHERINE PACZESNIAK                            220 CANAL WAY                                                                                     HACKETTSTOWN       NJ    07840‐1273
KATHERINE PANCIERA                              41 GOLF ST                                                                                        GROTON             CT    06340‐5821
KATHERINE PARAS                                 ATT FAY PARAS                            416 SKOKIE COURT                                         WILMETTE           IL    60091‐3005
KATHERINE PEARSON                               PO BOX 237                                                                                        YORK               ME    03909‐0237
KATHERINE PERRY LUNSFORD TR U‐W‐O EDWIN F PERRY 104 GOLFVIEW DR                                                                                   COHUTTA            GA    30710‐9385
JR RESIDUARY TRUST
KATHERINE PETROVICH TR KATHERINE PETROVICH      15855 RIDGEFIELD CT                                                                               BROOKFIELD         WI    53005‐3533
REVOCABLE TRUST UA 06/30/95
KATHERINE PFISTER                               C/O ENGELBRECHT                          47 NONOTUCK AVE                                          CHICOPEE           MA    01013‐2407
KATHERINE PHILLIPS CLARK                        PO BOX 16053                                                                                      HOUSTON            TX    77222‐6053
KATHERINE PICKETT                               5302 DUPONT                                                                                       FLINT              MI    48505‐2649
KATHERINE PORTER                                2513 BURNS STREET                                                                                 FLINT              MI    48506‐3407
KATHERINE PRESSON                               50 SE 123RD STREET RD                                                                             OCALA              FL    34480
KATHERINE PRICE                                 730 AUSTIN AVE                                                                                    FLINT              MI    48505‐2214
KATHERINE PRIDGEN                               5921 ESHBAUGH RD                                                                                  DAYTON             OH    45418‐1723
KATHERINE PRUGH                                 1325 RUNNING SPRINGS RD                  APT 4                                                    WALNUT CREEK       CA    94595
KATHERINE PUTERBAUGH                            1654 PENCE PLACE                                                                                  DAYTON             OH    45432‐3316
KATHERINE R CARTER                              C/O KATHERINE C ZACHARY                  4268 SHARON RD                                           LAUREL             MS    39443‐8445
KATHERINE R GUSEILA                             2711 SHERBROOKE LN                       APT C                                                    PALM HARBOR        FL    34684‐2524
KATHERINE R HALSEY                              7460 KITTY HAWK                          LOT 153                                                  CONVERSE           TX    78109‐2482
KATHERINE R HARBECK                             PO BOX 121                                                                                        CUBA               NY    14727‐0121
KATHERINE R JOHNSON                             707 WALKERS LANDING LN                                                                            CHARLESTON         SC    29412‐9028
KATHERINE R LANG                                1539 SUNVIEW RD                                                                                   LYNDHURST          OH    44124‐2838
KATHERINE R LARKIN                              303 S RANDALL AV                                                                                  MIO                MI    48647‐9061
KATHERINE R LETTIERI                            11021 VIVAN DR NW                                                                                 HUNTSVILLE         AL    35810‐1214
KATHERINE R MUNRO                               7825 LAKESHORE BLVD                                                                               MENTOR             OH    44060‐2563
KATHERINE R TARRANT                             141 E 88TH ST                                                                                     NEW YORK           NY    10128
KATHERINE R VOLKENING                           83 DAMASCUS RD                                                                                    FRANKLINVILLE      NJ    08322‐3048
KATHERINE RAAB VIEYRA                           93 WHITEHALL DR                                                                                   TALLMADGE          OH    44278‐2220
KATHERINE RENEE JOHNSON                         709 ELMORE ST                                                                                     CAMDEN             SC    29020‐1821
KATHERINE REYNOLDS                              680 BLUEBERRY DRIVE                                                                               WEST PALM BEACH    FL    33414‐8225
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 502 of 855
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

KATHERINE RICHARDSON CUST EDWARD D RICHARDSON 516 JANALYN CIR                                                                                   GOLDEN VALLEY      MN    55416‐3327
UGMA MN
KATHERINE RICHARDSON CUST EDWARD D RICHARDSON 516 JANALYN CIRCLE                                                                                GOLDEN VALLEY      MN    55416‐3327
UTMA MN
KATHERINE ROGERS & LANA DEREXSON JT TEN       15353 HWY 23 NORTH                                                                                OZARK              AR    72949‐9349
KATHERINE ROSE                                8794 ORIOLE                                                                                       FRANKLIN           OH    45005‐4233
KATHERINE ROSEMARY MCLEOD                     2344 EAST MANOR DRIVE                                                                             JACKSON            MS    39211‐6209
KATHERINE S BENARCIK & DAN B BENARCIK JT TEN  1826 MARSH ROAD                                                                                   WILMINGTON         DE    19810

KATHERINE S BRESLIN & CHRISTOPHER J BRESLIN JT TEN 4 BERKLEY PLACE                                                                              SMITHTOWN          NY    11787‐4802

KATHERINE S BROWN                                 1040 INDIO CT 1                                                                               PAHRUMP            NV    89048‐2703
KATHERINE S BURT                                  26418 SO EASTLAKE DR                                                                          SUN LAKES          AZ    85248‐7272
KATHERINE S CHADWICK LAWTON                       681 WEST POLO DRIVE                                                                           CLAYTON            MO    63105‐2635
KATHERINE S CHEATUM                               9310 WALTERVILLE                                                                              HOUSTON            TX    77080‐7422
KATHERINE S COLLEY                                1945 SCOTTSVILLE RD PMB 378                                                                   BOWLING GREEN      KY    42104‐3376
KATHERINE S COMINS                                665 CUMBERLAND WA                                                                             WEBSTER            NY    14580‐8907
KATHERINE S EADES                                 17190 HOOT OWL LANE                                                                           MONTPELIER         VA    23192‐2143
KATHERINE S FLIS                                  5143 RUSHTON RD                                                                               CENTRAL LAKE       MI    49622‐9795
KATHERINE S GOLDBERG                              6106 S AKRON WAY                                                                              GREENWOOD          CO    80111‐5221
                                                                                                                                                VILLAGE
KATHERINE S MILLER                                14342 KELLYWOOD                                                                               HOUSTON            TX    77079‐7402
KATHERINE S NUCCI EX EST KATHERINE R OLTON        404 UPLAND PLACE                                                                              ALEXANDRIA         VA    22301
KATHERINE S SCHAIRER                              34 HUMMINGBIRD DR                                                                             HAMILTON           NJ    08690‐3553
KATHERINE S VOLANTE TR KATHERINE S VOLANTE        59 CONEFLOWER LN                                                                              PRINCETON          NJ    08550‐2410
REVOCABLE TRUST UA 1/11/00                                                                                                                      JUNCTION
KATHERINE S WILLIAMS                              413 MULBERRY WAY W                                                                            WESTERVILLE        OH    43082‐6021
KATHERINE SCHERBOVICH & KIMBERLY A SCHERBOVICH    1256 BEATRICE ST                                                                              FLUSHING           MI    48433‐1723
JT TEN
KATHERINE SCHNEIDER CUST ROBIN SCHNEIDER UGMA     114 WOODLEIGH RD                                                                              DEDHAM             MA    02026‐3130
MA
KATHERINE SCHULYK                                 11268 DINO DR                                                                                 BRUCE TWP          MI    48065‐2521
KATHERINE SEESE RICHIE                            69 VERDE STREET                                                                               KENNER             LA    70065‐1068
KATHERINE SHAUGHNESSY                             PO BOX 281                                                                                    MARFA              TX    79843‐0281
KATHERINE SHEA CUST STEVEN GREER UTMA VA          12286 CALEDON RD                                                                              KING GEORGE        VA    22485‐3793
KATHERINE SIPLER                                  1442 COUNTY RT 519                                                                            FRENCHTOWN         NJ    08825‐3736
KATHERINE SKELLEY                                 BOX 171                                                                                       ENGLAND            AR    72046‐0171
KATHERINE SLOAT                                   4245 N STATE RD                                                                               OWOSSO             MI    48867‐9684
KATHERINE SUZANNE BROWN                           7968 BAYER DR                                                                                 WEST CHESTER       OH    45069‐6203
KATHERINE T CAMARENO                              903 CASHEW LN                                                                                 CEDAR PARK         TX    78613‐3210
KATHERINE T CRISCENTI                             36675 ENGLESIDE                                                                               STERLING HEIGHTS   MI    48310‐4548

KATHERINE T LOVELLO                                7307 BLOOMSBURY LANE                                                                         SPOTSYLVANIA       VA    22553‐1946
KATHERINE T RALLIS TR KATHERINE T RALLIS REVOCABLE 1956 BEVERLY BLVD                                                                            BERKLEY            MI    48072‐1857
TRUST 09/02/98
KATHERINE T SALAS                                  C/O K T DARMSTAETTER                114 VICTORIA CT                                          SAINT CLAIR        MI    48079‐5542
KATHERINE T SCHWARTZ                               114 VICTORIA COURT                                                                           ST CLAIR           MI    48079‐5542
KATHERINE T TUNNEY                                 PO BOX 959                                                                                   STROUDSBURG        PA    18360‐0959
KATHERINE TALBOTT WARFEL                           88 BRENTMOOR RD                                                                              EAST HARTFORD      CT    06118‐1708
KATHERINE TIMPONE                                  12415 OAK MIST LN                                                                            AUBURN             CA    95602‐8436
KATHERINE TOLBERT                                  2314 MADISON SQ                                                                              PHILADELPHIA       PA    19146‐1713
KATHERINE TOMFORD                                  1122 N DEARBORN                     APT 27J                                                  CHICAGO            IL    60610
KATHERINE TOWNSLEY                                 9717 LOWER VALLEY PIKE                                                                       MEDWAY             OH    45341‐9749
KATHERINE TSANOFF BROWN                            3 SPRING HOLLOW                                                                              HOUSTON            TX    77024‐5601
KATHERINE V ALLMANN                                8800 S W 68 COURT                   APT A‐1                                                  MIAMI              FL    33156‐1510
KATHERINE V ATKINSON                               PO BOX 91094                                                                                 SAN ANTONIO        TX    78209‐9095
KATHERINE V GOMEZ & PATRICIA A GOMEZ JT TEN        3525 BRIDLE DR                                                                               HAYWARD            CA    94541‐5709
KATHERINE V HANSGEN                                3354 BRECKENRIDGE COURT                                                                      ANNANDALE          VA    22003‐1114
KATHERINE V HENZ & SONJA K ANDERSON JT TEN         9123 SHADYDALE DRIVE                                                                         ST LOUIS           MO    63136‐3957
                                          09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 503 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

KATHERINE V MARTIN                              4408 WASHINGTON AVE SE                                                                          CHARLESTON      WV    25304‐2530
KATHERINE V MC MANUS TR KATHERINE V MC MANUS    49 CLAREMONT AVE                                                                                HOLYOKE         MA    01040‐1725
TRUST UA 06/27/95
KATHERINE VALVERDE                              11107 BRADDOCK AVE                                                                              CULVER CITY     CA    90230
KATHERINE VANDERBILT                            1891 YARDVILLE HAMILTON SQU RD                                                                  TRENTON         NJ    08690‐3009
KATHERINE W BAKER                               4330 ONONDAGA BLVD RM 25                                                                        SYRACUSE        NY    13219‐3030
KATHERINE W HARDING                             25 WEBSTER RD                                                                                   TYRINGHAM       MA    01264
KATHERINE W ZBICIAK                             706 INGLESIDE                                                                                   FLINT           MI    48507‐2557
KATHERINE WATSON                                79 BEAVER CROSSING RD                                                                           ROXSBORO        NC    27574‐6447
KATHERINE WEST                                  5577 ASHBURN RD                                                                                 SPRINGFIELD     TN    37172‐8130
KATHERINE WILKES                                9378 HATHAWAY DRIVE                                                                             ST LOUIS        MO    63136‐5126
KATHERINE WONG TR UA 08/10/92 THE KATHERINE     1300 HENRY ST                                                                                   BERKELEY        CA    94709‐1929
WONG LIVING TRUST
KATHERINE WYMAN                                 12 EVERELL RD                                                                                   WINCHESTER      MA    01890‐3902
KATHERINE YATES & ANITA M YATES JT TEN          5722 WILMER                                                                                     WESTLAND        MI    48185‐2265
KATHERINE YATES & LEILANI R YATES JT TEN        7086 LATHERS                                                                                    GARDEN CITY     MI    48135‐2267
KATHERINE YATES & MICHAEL A YATES JT TEN        650 HOLLOWAY RD                                                                                 GILROY          CA    95020‐7080
KATHERINE YATES & RICHARD D YATES JT TEN        2981 GLADWIN CT                                                                                 WAYNE           MI    48184‐1461
KATHERINE YOUNG                                 2331 HIGHLAND DR                                                                                CAMBRIDGE       WI    53523‐9215
KATHERINE ZEMP FLEMING                          7084 WICKSHIRE CV W                                                                             GERMANTOWN      TN    38138‐4527
KATHERN BARTLEY                                 2417 ONEIDA DR                                                                                  DAYTON          OH    45414‐5120
KATHERN CIRCOLA PISELLI                         43 WOODBURY HILL                                                                                WOODBURY        CT    06798‐2962
KATHERN ESTEP                                   RT 1 BOX 210                                                                                    FORT GAY        WV    25514
KATHERN K BIRD & SUSAN ELIZABETH ESTES JT TEN   1140 S ORLANDO AVE H7                                                                           MAITLAND        FL    32751‐6433

KATHERN ROBBINS                               RR 1 5AA                                                                                          WILDER          TN    38589
KATHERYN A GENAW                              31334 BARTON                                                                                      GARDEN CITY     MI    48135‐1386
KATHERYN B MCRANEY                            119 JONES STREET                                                                                  RICHLAND        MS    39218‐9741
KATHERYN COLEMAN                              19140 MAPLEVIEW                                                                                   DETROIT         MI    48205‐2244
KATHERYN DOERMER BERGERON CUST JOHN MICHAEL 1306 WESTOVER RD                                                                                    FORT WAYNE      IN    46807‐2558
CALLEN UTMA IN
KATHERYN J PHILLIPS & NANCY ROZAR JT TEN      7531 AUGUST ST                                                                                    WESTLAND        MI    48185‐2585
KATHERYN W WHEELER                            89 WOODLAND ROAD                                                                                  CHESTNUT HILL   MA    02467
KATHERYNE M ZANLUNGO & ROBERT ZANLUNGO JT TEN 52 LAKESIDE DRIVE                                                                                 ASHFORD         CT    06278‐1227

KATHEYN E ALLEN EX EST ROBERT J ALLEN           5300 ZEBULON RD #42                                                                             MACON           GA    31210
KATHI A THORESON                                1390 KENNEBEC RD                                                                                GRAND BLANC     MI    48439‐4976
KATHI S JOHNS                                   570 57TH AVE W                         LOT 182                                                  BRADENTON       FL    34207‐3882
KATHI TURNER                                    13612 DEBBY STREET                                                                              VAN NUYS        CA    91401‐2420
KATHIE A WILSON                                 611 LAZY DAYS RD                       APT Z11                                                  OSAGE BEACH     MO    65065‐3451
KATHIE ANN ROWAN                                1144 SURREY POINT DR SE                                                                         WARREN          OH    44484‐2800
KATHIE E NESPODZANY                             20845 BROOK PARK CT                                                                             BROOKFIELD      WI    53045‐4645
KATHIE J ANDERLE                                218 TAMARACK DR                                                                                 BEREA           OH    44017‐1435
KATHIE KAUFFMAN‐WYCHE                           4507 S WOLFF ST                                                                                 DENVER          CO    80236‐3328
KATHIE L PALMER                                 414 EDELWEISS CIR                                                                               NEW GLARUS      WI    53574
KATHIE L SICKLES                                312 W MAIN ST                                                                                   GREENTOWN       IN    46936‐1119
KATHIE M BIASELLI                               56 HERITAGE ESTATES                                                                             ALBION          NY    14411‐9760
KATHIE M DILLS                                  528 DEERBERRY DR                                                                                NOBLESVILLE     IN    46060‐9341
KATHIE MAREK                                    ATTN KATHIE MAREK GARAY                4003 S SCOVILLE                                          STICKNEY        IL    60402‐4156
KATHIE POFF CUST RYAN POFF UTMA CA              14118 SAN JOAQUIN ST                                                                            LA MIRADA       CA    90638
KATHIE R RIDDLE                                 1000 ESCALON AV 1117                                                                            SUNNYVALE       CA    94085‐4129
KATHIE S GARRISON                               114 TYLER DR                                                                                    BELL BUCKLE     TN    37020‐4563
KATHIE S GWYNN                                  9948 WEST DIVISION ROAD                                                                         ANDREWS         IN    46702‐9453
KATHIE S WEIBEL                                 9720 61ST AVENUE S                                                                              SEATTLE         WA    98118‐5825
KATHLEEN A ALEXANDER                            382 4TH AVENUE                                                                                  MANSFIELD       OH    44905‐1914
KATHLEEN A ATKINS                               251 FENWAY BLVD                                                                                 LEXINGTON       OH    44904‐9716
KATHLEEN A BAERTHEL                             1906 COWSENS LANE                                                                               WOODBURY        MN    55125
KATHLEEN A BARNETT                              56 LAKESIDE DRIVE NE                                                                            GRAND RAPIDS    MI    49503‐3810
KATHLEEN A BATISTA                              3512 BLEIGH AVE                                                                                 PHILADELPHIA    PA    19136‐3808
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 504 of 855
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

KATHLEEN A BENTLEY                                 34034 S STURGEON BAY RD                                                                         DRUMMOND IS       MI    49726‐9453
KATHLEEN A BORSKI                                  2304 MIDDLESEX                                                                                  ROYAL OAK         MI    48067‐3908
KATHLEEN A BRADLEY                                 79 UPTON ST                                                                                     GRAFTON           MA    01519‐1234
KATHLEEN A BROZOWSKI‐RODGERS                       46060 PRIVATE SHORE DR                                                                          NEW BALTIMORE     MI    48047‐5380
KATHLEEN A BRUGGER                                 3383 ROLSTON RD                                                                                 FENTON            MI    48430‐1063
KATHLEEN A BRUNETTE TOD RICHARD G BRUNETTE         25 CHESTNUT ST APT 307                                                                          HADDONFIELD       NJ    08033‐1857
SUBJECT TO STA TOD RULES
KATHLEEN A BURKE                                   2030 MYERS ROAD                                                                                 EUGENE           OR     97401
KATHLEEN A CARRERAS                                45 MISTY PINE RD                                                                                LEVITTOWN        PA     19056‐3627
KATHLEEN A CHRISTIE                                1 DONALD DR                                                                                     MIDDLETOWN       RI     02842‐6225
KATHLEEN A CONNER                                  8332 DORA STREET                                                                                SPRING HILL      FL     34608‐4423
KATHLEEN A COOPER                                  C/O K A MEDAUGH                        317 GARFIELD                                             BATTLE CREEK     MI     49017‐3752
KATHLEEN A COPE                                    227 SUMMIT DRIVE                                                                                LA GRANGE        TX     78945‐5736
KATHLEEN A CORDIAK                                 20497 WILLIAMSBURG CT                                                                           MIDDLEBURG       OH     44130‐2452
KATHLEEN A CROWLEY                                 29830 WEST 12 MILE ROAD                                                                         FARMINGTON HILLS MI     48334‐4030

KATHLEEN A CZAJKOWSKI                              12077 SHENANDOAH DRIVE                                                                          SOUTH LYON        MI    48178‐8113
KATHLEEN A DABERKO & BRETT K DABERKO JT TEN        5216 WEST 24TH STREET                                                                           PARMA             OH    44134‐1556

KATHLEEN A DEGEUS                                  1508 FALL CREEK LANE                                                                            ANN ARBOR         MI    48108‐9579
KATHLEEN A DILLON                                  996 OLD POST RD                                                                                 FAIRFIELD         CT    06824
KATHLEEN A DINKEL                                  2966 22ND AVE                                                                                   ASSARIA           KS    67416‐8885
KATHLEEN A DOYLE                                   PO BOX 19765                                                                                    COLORADO CITY     CO    81019‐0765
KATHLEEN A EDENBOROUGH                             125 SCOTT ST                                                                                    CHARLESTON        SC    29492‐7514
KATHLEEN A ERTEL                                   1717 YORKTOWN PL                                                                                PITTSBURGH        PA    15235‐4927
KATHLEEN A FABOZZI & DENNIS S FABOZZI JT TEN       6990 WYNDHAM WAY                                                                                WOODBURY          MN    55125‐2761
KATHLEEN A FARRELL‐PERRINI                         4758 CASCADE AVE                                                                                ROCK HILL         SC    29732‐8190
KATHLEEN A FINN                                    142 BLACKWOOD TRAIL                                                                             PAWLEY'S ISLAND   SC    29585‐7201
KATHLEEN A FINTA & ROBERT A FINTA JT TEN           52960 BALMES DR                                                                                 SHELBY TOWNSHIP   MI    48316‐3000

KATHLEEN A GALLAGHER                               81‐21 133 AVE                                                                                   OZONE PARK        NY    11417‐1207
KATHLEEN A GEIS & DONALD GEIS JT TEN               8720 W 130TH ST                                                                                 STRONGSVILLE      OH    44136
KATHLEEN A GIBSON                                  1219 AUTUMN DR                                                                                  TROY              MI    48098‐5109
KATHLEEN A GILCHRIST                               6041 LANDINGS POND PL                                                                           GROVE CITY        OH    43123‐9444
KATHLEEN A GIRGEN                                  7193 LOBDELL RD                                                                                 LINDEN            MI    48451‐8779
KATHLEEN A GRAHAM & MALCOLM P GRAHAM JT TEN        76 HEMLOCK DRIVE                                                                                NORWELL           MA    02061

KATHLEEN A GREWE                                   50757 RAINTREE CIR                                                                              NEW BALTIMORE     MI    48047‐5709
KATHLEEN A GROSS                                   201 ALABAMA DR                         PO BOX 237                                               LONE PINE         CA    93545‐0237
KATHLEEN A GULINO                                  5143 S NATCHEZ                                                                                  CHICAGO           IL    60638‐1346
KATHLEEN A HAGER                                   309 SO PEARL ST                                                                                 JANESVILLE        WI    53545‐4523
KATHLEEN A HARDING & PATRICIA E BERTELSEN JT TEN   7200 BRIGHTON RD                                                                                BRIGHTON          MI    48116‐7754

KATHLEEN A HARRINGTON                              10838 BELAIR DR                                                                                 INDIANAPOLIS      IN    46280‐1193
KATHLEEN A HEITMANN                                62199 E IRON CREST DR                                                                           TUCSON            AZ    85739‐1759
KATHLEEN A HEITMANN & JOHN T HEITMANN JT TEN       62199 E IRON CREST DR                                                                           TUCSON            AZ    85739‐1759

KATHLEEN A HENNING                           9395 MACON RD                                                                                         TECUMESH          MI    49286‐8631
KATHLEEN A HORNBURG                          78927 BRECKENRIDGE DR                                                                                 LA QUINTA         CA    92253‐5848
KATHLEEN A HOSKINS                           3910 N 9TH                                                                                            TACOMA            WA    98406‐4924
KATHLEEN A HUME CUST MICHAEL DAVID HUME UGMA 44 SIDE HILL LANE                                                                                     DANBURY           CT    06810‐8425
CT
KATHLEEN A JOHNSON                           336 OWLS NEST DR                                                                                      BEAR              DE    19701‐2730
KATHLEEN A KEHOE                             204 CARNATION DR                                                                                      CLARKS SUMMIT     PA    18411‐2104
KATHLEEN A KEHRES                            7807 PARKER RD                                                                                        CASTALIA          OH    44824‐9365
KATHLEEN A KELLY                             17164 CORNELL AVE                                                                                     SOUTH HOLLAND     IL    60473‐3629
KATHLEEN A KEYSER                            538 E MYRTLE AVE                                                                                      TREVOSE           PA    19053‐3339
KATHLEEN A KIRPITCH & ROBERT KIRPITCH JT TEN 5 BRITTANY ROAD                                                                                       SUCCASUNNA        NJ    07876‐2003
KATHLEEN A LAPINSKI                          30435 WARNER                                                                                          WARREN            MI    48092‐1852
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 505 of 855
Name                                              Address1                               Address2               Address3        Address4          City               State Zip

KATHLEEN A LAZON                                  10890 GAUTIER DR                                                                                AUBURN           CA      95602‐8516
KATHLEEN A LEIKERT                                3304 EVERGREEN DRIVE                                                                            BAY CITY         MI      48706‐6317
KATHLEEN A LENON                                  2385 CEDAR PARK DR                     APT 128                                                  HOLT             MI      48842‐3108
KATHLEEN A LEWIS                                  2379 FERGUSON ROAD                                                                              MANSFIELD        OH      44906‐1149
KATHLEEN A LOWER                                  10207 S 2ND ST                                                                                  SCHOOLCRAFT      MI      49087‐9444
KATHLEEN A LUKACS                                 1 HARTWELL CT                                                                                   BRIDGEWATER      NJ      08807‐2252
KATHLEEN A LYNOTT                                 8 LINCOL AVE                                                                                    MASSAPEQUA PK    NY      11762
KATHLEEN A MALLOY                                 213 SUNSET DRIVE                                                                                WHITE OAK        PA      15131‐1933
KATHLEEN A MANNING                                6338 AIKEN ROAD                                                                                 LOCKPORT         NY      14094‐9618
KATHLEEN A MARTHREL                               1203 WEST EUCLID                                                                                DETROIT          MI      48202
KATHLEEN A MC DONALD                              13392 BELSAY RD                                                                                 MILLINGTON       MI      48746‐9240
KATHLEEN A MCCLEMENTS                             207 E EVANS ST                                                                                  WEST CHESTER     PA      19380‐2705
KATHLEEN A MCGOLDRICK                             11646 MORGAN                                                                                    PLYMOUTH         MI      48170‐4439
KATHLEEN A MCGRAW                                 18007 COLGATE                                                                                   DEARBORN HEIGHTS MI      48125‐3349

KATHLEEN A MICHAELS                               10748 N CEDARBURG ROAD                                                                          MEQUON             WI    53092‐4408
KATHLEEN A MINADEO                                1675 BELLE AVE                                                                                  LAKEWOOD           OH    44107‐4314
KATHLEEN A MORRISSEY EX EST CHARLES J HOLZMANN    15807 SORAWAER DR                                                                               LITHIA             FL    33547

KATHLEEN A MURRAY                                 303 ROBINALL DR                                                                                 EASLEY             SC    29642‐1358
KATHLEEN A NELSON                                 7385 CHIPWOOD DR                                                                                NOBLESVILLE        IN    46060‐6858
KATHLEEN A NEVIN                                  77 RIVERSIDE DRIVE                                                                              RIDGEFIELD         CT    06877‐3516
KATHLEEN A NIGHTINGALE                            17740 RAYEN STREET                                                                              NORTHRIDGE         CA    91325‐2831
KATHLEEN A NOSALIK                                7240 W OAKTON ST                                                                                NILES              IL    60714‐3063
KATHLEEN A O'KEEFE                                5487 SOLWAY DR                                                                                  MELBOURNE BCH      FL    32951
KATHLEEN A OLSHEFSKY & GRACE A OLSHEFSKY JT TEN   175 CHEWTON RD                                                                                  BLOOMFIELD         MI    48301‐2523
                                                                                                                                                  VILLAGE
KATHLEEN A PAGNUTTI & ROBERT T DEMPSEY JT TEN     2 MANOR AVE                                                                                     PRINCETON          NJ    08540‐6418

KATHLEEN A PAIGE                                  5745 HOSPITAL RD                                                                                FREELAND           MI    48623‐9039
KATHLEEN A PASEK TR KATHLEEN A PASEK REV LIVING   8145 ENDICOTT LANE                                                                              CANTON             MI    48187‐4454
TRUST UA 11/4/99
KATHLEEN A PATRICK                                124 E RAYMOND AVE                                                                               ALEXANDRIA         VA    22301‐1140
KATHLEEN A PECEN                                  C/O KATHLEEN MITCHELL                  16381 WILD CHERRY DR                                     GRANGER            IN    46530‐8544
KATHLEEN A PENNACCHIO                             2230 CLINTON AVE                                                                                BERWYN             IL    60402
KATHLEEN A PIERZ                                  5800 WOODSTONE CT                                                                               CLARKSTON          MI    48348‐4767
KATHLEEN A PINCHOTTA                              8228 W WISCONSIN AVE                                                                            WAUWATOSA          WI    53213‐3350
KATHLEEN A POISSON                                3 TUXEDO DR                                                                                     BEAUFORT           SC    29907
KATHLEEN A PRUSS                                  45390 NOTTINGHAM DR                                                                             MACOMB             MI    48044‐3886
KATHLEEN A RAMAGE                                 514 CHENANGO ST                                                                                 BINGHAMTON         NY    13901‐2144
KATHLEEN A RASBERRY                               1043 BALMORAL PKWY                                                                              FLINT              MI    48532‐3502
KATHLEEN A RICKERT                                901 GOLFVIEW AVENUE                                                                             YOUNGSTOWN         OH    44512‐2734
KATHLEEN A RILEY RHODES                           830 CARSON RD                                                                                   HUNTINGTOWN        MD    20639‐8018
KATHLEEN A ROCKWEILER                             S3656 HWY G                                                                                     LAVALLE            WI    53941‐9537
KATHLEEN A ROHDE                                  3023 W 13 MILE 133                                                                              ROYAL OAK          MI    48073‐2960
KATHLEEN A ROSEN                                  418 HOLLYHOCK LANE                                                                              HOPKINS            MN    55343‐7124
KATHLEEN A RUSNIAK                                39 W 376 HOGAN HILL                                                                             ELGIN              IL    60123‐8413
KATHLEEN A RUZYCKI & DANIEL M RUZYCKI JT TEN      17148 ROUGEWAY                                                                                  LIVONIA            MI    48152‐3831
KATHLEEN A SAUL                                   363 SYCAMORE COURT                                                                              BLOOMFIELD HILLS   MI    48302‐1173

KATHLEEN A SCHNIPKE                               1066 MADISON BLVD                                                                               VAN WERT       OH        45891
KATHLEEN A SCHULTE                                12909 TOPPING ESTATES DR NORTH                                                                  TOWN & COUNTRY MO        63131‐1310

KATHLEEN A SCHURMAN                               0‐10990 10TH AVE                                                                                GRAND RAPIDS       MI    49544‐6705
KATHLEEN A SERVOSS                                227 STEVENSON BLVD                                                                              AMHERST            NY    14226‐2959
KATHLEEN A SHARP                                  6506 RAVENA DR                                                                                  FAIRFIELD          OH    45011‐5040
                                                                                                                                                  TOWNSHIP
KATHLEEN A SIECKMAN                               114 ALGONQUIN TRAIL                                                                             MEDFORD LAKE       NJ    08055‐1413
KATHLEEN A SIRIANNI                               C/O BRANTLEY                           1909 NW 133RD TER                                        GAINESVILLE        FL    32606‐5364
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 506 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

KATHLEEN A SKELDING                              121 MILL STREAM LANE                                                                           ANDERSON       IN        46011‐1914
KATHLEEN A SNIDER                                52 N BEAR LAKE RD                                                                              NORTH MUSKEGON MI        49445‐2304

KATHLEEN A STARKEY                               41352 CLAIRPOINTE                                                                              HARRISON           MI    48045‐5915
                                                                                                                                                TOWNSHIP
KATHLEEN A SULLIVAN                              7230 DURSLEY CT                                                                                SOLON              OH    44139‐7039
KATHLEEN A SYMULA                                PO BOX 128                                                                                     AUBURN             NY    13021‐0128
KATHLEEN A TAYLOR                                370 HORIZONS E                        APT 206                                                  BOYNTON BEACH      FL    33435‐5139
KATHLEEN A TELLJOHANN                            321 N BARRON ST                                                                                KENTON             OH    43326‐1601
KATHLEEN A TERRITO & CARL W TERRITO JT TEN       47777 SHELBY ROAD                                                                              SHELBY TWP         MI    48317
KATHLEEN A TINI                                  100 ORCHARD VIEW DR                                                                            DOUGLASSVILLE      PA    19518‐9237
KATHLEEN A TOMASIK & THOMAS L TOMASIK JT TEN     2511 PINEVIEW DRIVE N E                                                                        GRAND RAPIDS       MI    49525‐6703

KATHLEEN A TRAUB                                 44 WOODSTONE CT                                                                                BUFFALO GROVE    IL      60089‐6757
KATHLEEN A TROMBLEY                              17884 POINTE CT                                                                                CLINTON TOWNSHIP MI      48038‐4840

KATHLEEN A VANDEN NOVEN                          228 S PALMER DR                                                                                BOLING BROOK       IL    60490‐6571
KATHLEEN A WALSH                                 465 14TH AVE 14                                                                                SAN FRANCISCO      CA    94118‐2803
KATHLEEN A WELSH                                 9369 ISABELLA LANE                                                                             DAVISON            MI    48423‐2850
KATHLEEN A WILLIAMS                              1975 LAKINDALE DR                                                                              MACHESNEY PK       IL    61115
KATHLEEN A WILLIAMS CUST CORY WILLIAMS UTMA VA   4320 RIVER RD W                                                                                GOOCHLAND          VA    23063

KATHLEEN A ZAK                              PO BOX 9022                                                                                         WARREN             MI    48090‐9022
KATHLEEN ALICE BELL                         ATT KATHLEEN OLSZEWSKI                     627 BASELINE RD                                          GRAND ISLAND       NY    14072‐2560
KATHLEEN ALLEY                              2534 N BELL                                                                                         KOKOMO             IN    46901‐1407
KATHLEEN ALTOMARE                           10 MILLER PLACE                                                                                     BRONXVILLE         NY    10708‐1207
KATHLEEN ANGER                              3385 NE STONEBROOK LOOP                                                                             BEND               OR    97701‐8231
KATHLEEN ANN BLAIR‐ROBERTS                  10289 LODESTONE WAY                                                                                 PARKER             CO    80134‐9533
KATHLEEN ANN HAGEMAN CUST MIRANDA T HAGEMAN 4227 FLORENCE AVENUE                                                                                DOWNERS GROVE      IL    60515‐2232
UGMA IL
KATHLEEN ANN JONES                          1324 BEXLEY DR                                                                                      MARYVILLE          TN    37803‐9200
KATHLEEN ANN KLEES THORNE                   10312 WILLIAM PENN LN                                                                               CHARLOTTE          NC    28277‐8828
KATHLEEN ANN KLIMA                          11450 NW 56TH DR APT 105                                                                            CORAL SPRINGS      FL    33076‐3126
KATHLEEN ANN KOZLOWSKI                      1751 RUSH RD                                                                                        OAKLAND            MI    48363‐2439
KATHLEEN ANN KRUPP                          3064 E LAKE RD                                                                                      CLIO               MI    48420‐7907
KATHLEEN ANN MAPLETOFT                      110 COLINA CIRCLE                                                                                   PANAMA CITY BCH    FL    32413‐2203

KATHLEEN ANN MOIGIS                              2469 BRENTHAVEN COURT                                                                          BLOOMFIELD HILLS   MI    48304‐1412

KATHLEEN ANN PICHOTTA & DONALD R PICHOTTA JT     8228 W WISCONSIN AVE                                                                           WAUWATOSA          WI    53213‐3350
TEN
KATHLEEN ANN SCOTT                               91 MILL HOUSE ROAD                                                                             MARLBORO           NY    12542‐6206
KATHLEEN ANN STURGEON                            1510 THORNBERRY RD                                                                             AMELIA             OH    45102‐1748
KATHLEEN ANNE MARZELL                            15115 HOLLEY ROAD                                                                              ALBION             NY    14411‐9711
KATHLEEN ANNE OBLEY                              821 S MANPOSA ST                                                                               BURBANK            CA    91506‐3158
KATHLEEN ANNE WASEN & GERALD GLENN WASEN JT      35204 DRAKE HEIGHTS                                                                            FARMINGTON         MI    48335‐3306
TEN
KATHLEEN ANNETTE HOCK                            10897 S FOSTER RD                                                                              SAN ANTONIO        TX    78223‐4424
KATHLEEN ARMSTRONG COFFEY                        6331 SOUTH POINT DRIVE                                                                         CHARLOTTE          NC    28277‐0024
KATHLEEN AVIOLA                                  206 THOMAS LN S                                                                                NEWARK             DE    19711
KATHLEEN AYLESWORTH                              2153 SOUTH GEDDES ST                                                                           SYRACUSE           NY    13207‐1534
KATHLEEN B BARRY                                 3928 ROCK RIDGE RD                                                                             IRONDALE           AL    35210‐3715
KATHLEEN B BARTH                                 1560 BANBURY RD                                                                                TROY               OH    45373‐1108
KATHLEEN B BURROWS                               HC 68 BOX 18                                                                                   GRANTSVILLE        WV    26147‐9786
KATHLEEN B CALKO                                 1134 WEBB ROAD                                                                                 MINERAL RIDGE      OH    44440‐9326
KATHLEEN B DUCHOSSIS TR KATHLEEN B DUCHOSSIS REV 1250 DOUGLAS AVE                                                                               FLOSSMOOR          IL    60422‐1424
TRUST UA 10/1/98
KATHLEEN B FANNING                               BOX 4                                                                                          SPRINGFIELD        SC    29146‐0004
KATHLEEN B GILLEN                                15 SANBORN ROAD                                                                                HAMPTON            NH    03842‐4035
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 507 of 855
Name                                           Address1                               Address2                Address3       Address4               City               State Zip

KATHLEEN B GRASS                               232 RAYBURN PL                                                                                       HATTIESBURG      MS      39402‐1149
KATHLEEN B GREGORY                             3405 FRANK RD                                                                                        RICHMOND         VA      23234‐1856
KATHLEEN B GROVE                               2192 KOLB DRIVE                                                                                      LANCASTER        PA      17601‐5726
KATHLEEN B HAMPTON                             2506 HODGES ROAD                                                                                     KINSTON          NC      28504‐1348
KATHLEEN B KAY                                 43571 COLUMBIA DR                                                                                    CLINTON TWP      MI      48038‐1320
KATHLEEN B MORINGIELLO                         351 EUSTON ROAD SOUTH                                                                                GARDEN CITY      NY      11530‐5303
KATHLEEN B POLICASTRO                          15 CAROLE RD                                                                                         NEWARK           DE      19713‐1851
KATHLEEN B RODEGHIERO                          2251 BULLIS RD                                                                                       ELMA             NY      14059‐9205
KATHLEEN BARKER & PATRICK R BARKER JT TEN      2786 BEAUBIEN CT                                                                                     HOWELL           MI      48855‐9381
KATHLEEN BARRY BUSH                            C/O BUSH GARDENS                       1311 N KIMBERLY LN                                            MUNCIE           IN      47304
KATHLEEN BELL BOMWELL                          5053 KINGS POND CT                                                                                   PROVIDENCE FORGE VA      23140

KATHLEEN BIGIONI & BRADFORD BIGIONI JT TEN     19 CRESTWOOD DR                                                                                      BURLINGTON         NJ    08016‐3111
KATHLEEN BIGLIARDI                             1913 VENICE                                                                                          DEARBORN           MI    48124‐4140
KATHLEEN BOEHM & GLEN BOEHM JT TEN             762 SPRINGBROOK RD                                                                                   MOSINEE            WI    54455‐9750
KATHLEEN BOLEN                                 486 NORTH ST NW                                                                                      WARREN             OH    44483‐3722
KATHLEEN BORICK                                968 SOUTH 1300 EAST                                                                                  SALT LAKE CITY     UT    84105‐1545
KATHLEEN BRIDGET BLAKE                         1905 ZAPO ST                                                                                         DEL MAR            CA    92014‐2233
KATHLEEN BRIGITTE MULARONI                     2565 LAHSER                                                                                          BLOOMFIELD HILLS   MI    48304‐1634

KATHLEEN BROWN JENKINS                         446 SOUTH 200 EAST                                                                                   FARMINGTON         UT    84025‐2229
KATHLEEN BUCK & ALVAN C BUCK JT TEN            688 ORANGE BLOSSOM                                                                                   MARINE CITY        MI    48039‐2235
KATHLEEN BUCKLEY                               13024 NEW PARKLAND DRIVE                                                                             HERNDON            VA    20171‐2648
KATHLEEN BUNCH                                 4070 OLD WESTBURY CT                                                                                 BOULDER            CO    80301‐6000
KATHLEEN BUNTING                               8908 BRIARWOOD DR                                                                                    PLYMOUTH           MI    48170‐4702
KATHLEEN BURTIS SAXE POWERS                    4101 MARIPOSA DR                                                                                     SANTA BARBARA      CA    93110‐2437
KATHLEEN BYERS                                 8820 TOWANDA ST                                                                                      PHILADELPHIA       PA    19118‐3628
KATHLEEN BYRON DUNNING                         FLAT 87                                50 KENSINGTON GARGENS   LONDON         W2 4BA GREAT BRITAIN
KATHLEEN C BRADSHAW                            38 JONATHAN RD                                                                                       W GREENWICH        RI    02817‐2020
KATHLEEN C BROWN                               321 AVENUE C 50                                                                                      NEW YORK           NY    10009‐1628
KATHLEEN C CARROLL                             34 CALDWELL DR                                                                                       NEW MILFORD        CT    06776‐3302
KATHLEEN C CLAUW                               2166 COCHRANE RD                                                                                     BERLIN TWP         MI    48002‐1700
KATHLEEN C HETFIELD                            68 ALEXAUKEN CREEK RD                                                                                LAMBERTVILLE       NJ    08530‐3401
KATHLEEN C LIDDELL                             5455 COLUMBIAVILLE RD                                                                                COLUMBIAVILLE      MI    48421‐8710
KATHLEEN C MCMAHON                             35 OLDHAM RD                                                                                         WETHERSFIELD       CT    06109‐3137
KATHLEEN C MEYER                               4946 HERMITAGE RD                                                                                    GAINESVILLE        NY    14066‐9711
KATHLEEN C O'BRIEN                             2507 WELROSE CT                                                                                      MIDLOTHIAN         VA    23113‐9640
KATHLEEN C PARKER                              41 SHOSHONE DR                                                                                       BUFFALO            NY    14214‐1031
KATHLEEN C ROSINSKI                            18593 KLINGLER CR                                                                                    PORTCHALOTTE       FL    33948‐8926
KATHLEEN C SCHUGSTA                            128 GARDEN RD                                                                                        ORELAND            PA    19075‐1125
KATHLEEN C SMELTER                             1816 EAST WATERBURY DRIVE                                                                            HURON              OH    44839‐2263
KATHLEEN C SPARKS                              519 GLEN AVE                                                                                         LAUREL SPRINGS     NJ    08021‐3011
KATHLEEN C TAYLOR                              16801 SANIBEL SUNSET COURT UNIT 401    FT MYERS                                                      FORT MYERS         FL    33908
KATHLEEN C TUOMEY                              6320 SE WINDSOR CT                                                                                   PORTLAND           OR    97206‐1367
KATHLEEN CAMPS                                 4805 NORTHGATE DR                                                                                    ANN ARBOR          MI    48103‐9770
KATHLEEN CARROLL                               1 MELROSE DR                                                                                         NEW ROCHELLE       NY    10804‐4609
KATHLEEN CARSON                                5 EAST LINCOLN ST                                                                                    WATERLOO           NY    13165‐1826
KATHLEEN CECELIA PARSONS CUST NATHAN WILLIAM   8762 ELGIN CIRCLE                                                                                    HUNTINGTON         CA    92646‐2213
PARSONS UTMA CA                                                                                                                                     BEACH
KATHLEEN CLANCY & DANIEL N CLANCY JT TEN       50840 MINER STREET                                                                                   NEW BALTIMORE      MI    48047‐4247
KATHLEEN CLARE BOVY                            1600 LEYTONSTONE DRIVE                                                                               WHEATON            IL    60187‐7773
KATHLEEN CLIFFORD                              4431 ROSEMONT AVE                                                                                    DREXEL HILL        PA    19026‐5223
KATHLEEN COMPTON & LESLIE NORMAN COMPTON JT    35442 MONTECRISTO DR                                                                                 STERLING HTS       MI    48310
TEN
KATHLEEN CONNOLLY                              685 ALWICK AVE                                                                                       WEST ISLIP         NY    11795‐3301
KATHLEEN COPELAND                              29 FISCHER AVE                                                                                       ISLIP TERRACE      NY    11752‐1509
KATHLEEN CRAFT                                 35 CRAFT RD                                                                                          SHUBUTA            MS    39360‐9144
KATHLEEN CURRAN                                8730 LITTLE NECK PKWY                                                                                FLORAL PARK        NY    11001‐1431
KATHLEEN D BELTRAN                             1961 ROSEMARY CIRCLE                                                                                 SANDWICH           IL    60548‐9384
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 508 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

KATHLEEN D BRACK                                  5025 ASH HILL RD                                                                                 SPRING HILL        TN    37174‐7143
KATHLEEN D CHAGNOT                                5544 YOUNGSTOWN KINGSVILLE RD                                                                    CORTLAND           OH    44410‐9717
KATHLEEN D DAVIS TR KATHLEEN DAVIS REV TRUST UA   327 SANDLEWOOD COURT                                                                             CARNEGIE           PA    15106‐1544
11/30/04
KATHLEEN D EATON                                  2675 34TH AVE                                                                                    SAN FRANCISCO      CA    94116‐2805
KATHLEEN D GIULIANO                               45 ELI WHITNEY ST                                                                                WESTBOROUGH        MA    01581‐3538
KATHLEEN D GRIFFIN TR KATHLEEN D GRIFFIN          14653 HOLLOW TREE RD                                                                             ORLAND PARK        IL    60462‐7400
REVOCABLE TRUST UA 03/07/06
KATHLEEN D HEFLIN TR KATHLEEN D HEFLIN TRUST UA   1046 PARKVIEW CIRCLE                                                                             CAROL STREAM       IL    60188‐6083
12/03/98
KATHLEEN D KASIBORSKI                             881 S OXFORD                                                                                     GPW                MI    48236‐1863
KATHLEEN D KEPENIS & VITO KEPENIS JT TEN          1312 PRINCE WILLIAM RD                                                                           NORTH MYRTLE       SC    29582‐2624
                                                                                                                                                   BEACH
KATHLEEN D LYSIK                                 1367 BALFOUR                                                                                      GROSSE POINTE      MI    48230
KATHLEEN D MAKI TOD SAMANTHA R MAKI SUBJECT TO 3121 BOXELDER ST                                                                                    DELTONA            FL    32725‐3002
STA TOD RULES
KATHLEEN D MAKI TOD SIERRA A MAKI SUBJECT TO STA 3121 BOXELDER ST                                                                                  DELTONA            FL    32725‐3002
TOD RULES
KATHLEEN D MCNAB & CAROL A FORTENBACHER JT TEN 9760 TAFT ROAD                                                                                      NUNICA             MI    49448‐9606

KATHLEEN D NOLAN                                  14602 EDELMAR DR                                                                                 SILVER SPRING      MD    20906‐1735
KATHLEEN D SCHULTZ                                464 N SULPHUR SPRINGS ROAD                                                                       WEST ALEXANDRIA    OH    45381‐9613

KATHLEEN D SHARP                                  6977 COUNTY RD 249                                                                               VICKERY            OH    43464‐9731
KATHLEEN D SIMON                                  19385 OTTAWA LANE                                                                                BIG RAPIDS         MI    49307‐9043
KATHLEEN D TRIMAI                                 49560 LEONARD CT                                                                                 MACOMB             MI    48044‐1815
KATHLEEN D WILKINS                                524 W PLANTATION RD                                                                              VIRGINIA BEACH     VA    23454‐4034
KATHLEEN D WILLIAMS                               918 W MCCLELLAN ST                                                                               FLINT              MI    48504‐2691
KATHLEEN D WILLOUR                                14182 EASTVIEW                                                                                   FENTON             MI    48430‐1304
KATHLEEN DATELLO                                  11 QUAINT LANE                                                                                   TRENTON            NJ    08690‐2221
KATHLEEN DENISE EARLEY CUST BIANCA K EARLEY       12 BLANCHARD DR                                                                                  CABOT              AR    72023‐9707
UGMA MI
KATHLEEN DENISE EARLEY CUST BRYSON M EARLEY       12 BLANCHARD DR                                                                                  CABOT              AR    72023‐9707
UGMA MI
KATHLEEN DEVLEER & GARY DEVLEER JT TEN            5731 MELETIO LN                                                                                  DALLAS             TX    75230‐2105
KATHLEEN DEZUR                                    18930 BEVERLY RD                                                                                 BEVERLY HILLS      MI    48025
KATHLEEN DONELL                                   30 KNOLL ROAD                                                                                    COATESVILLE        PA    19320
KATHLEEN DOWELL CUST MCLEAN KALIN DOWELL          401 AUGUSTA AVE SE                                                                               ATLANTA            GA    30315‐1405
UTMA GA
KATHLEEN DOWNER                                   14 ADAMS ST                                                                                      WATERTOWN          MA    02472‐4112
KATHLEEN DOYLE                                    C/O KATHLEEN DOYLE JOHNSON              750 APPALACHI                                            WALLED LAKE        MI    48390‐1005
KATHLEEN DUQUETTE                                 804 FOREST HILL DRIVE                                                                            GREENSBORO         NC    27410‐4708
KATHLEEN DWYER & PATRICK SEAN DWYER JT TEN        5825 GREEN WAY                                                                                   MONTGOMERY         AL    36117

KATHLEEN E AGUAYO & HERMAN H AGUAYO JT TEN        PO BOX 4425                                                                                      SOUTH COLDY        WA    98384‐0425

KATHLEEN E ALLGOOD & KATHY A WILSON JT TEN        3949 GOVERNORS CIR                                                                               LOGANVILLE         GA    30052‐2902
KATHLEEN E AMATO CUST KATHLEEN M AMATO U/THE      3900 N LAKE SHORE DR                    20 J                                                     CHICAGO            IL    60613
OHIO U‐G‐M‐A
KATHLEEN E BAKER                                  C/O KATHLEEN E MALONE                   30819 LUND                                               WARREN             MI    48093‐2280
KATHLEEN E BORGARD                                233 W SEASPRAY RD                                                                                OCEAN CITY         NJ    08226‐4468
KATHLEEN E COLL                                   209 E BROADWAY AVE                                                                               CLIFTON HEIGHTS    PA    19018‐1723
KATHLEEN E COOKE                                  9480 SUGAR BEND TR                                                                               DAYTON             OH    45458‐3862
KATHLEEN E CROSS                                  5430 SW 191ST CT                                                                                 DUNNELLON          FL    34432‐2060
KATHLEEN E FORCE & JAMES F FORCE JT TEN           40717 AUBURNDALE                                                                                 STERLING HEIGHTS   MI    48313‐4103

KATHLEEN E HUERTER TR KATHLEEN E HUERTER          102 NW POINTE DR                                                                                 GLADSTONE          MO    64116‐4615
REVOCABLE TRUST UA 11/07/05
KATHLEEN E JONES                                  13 DOWNING ROAD                                                                                  TRENTON            NJ    08628‐3208
                                            09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 509 of 855
Name                                               Address1                                Address2             Address3          Address4          City              State Zip

KATHLEEN E KANIPE                                  243 S BUTLER AVE                                                                                 INDIANAPOLIS     IN     46219‐6907
KATHLEEN E KELLEY                                  4336 HATCH LN                                                                                    LISLE            IL     60532‐4360
KATHLEEN E KERRY                                   2325 CHALET                                                                                      ROCHESTER HILLS  MI     48309‐2052
KATHLEEN E LA LONDE                                PO BOX 291                                                                                       WILLIS           MI     48191‐0291
KATHLEEN E MATOUSEK                                1947 SPARROW CT                                                                                  TROY             MI     48084‐1436
KATHLEEN E MCMAHON                                 25515 KILREIGH DR                                                                                FARMINGTON HILLS MI     48336‐1550

KATHLEEN E MEIJER & RALPH W MEIJER JT TEN          2674 SANDALWOOD NE                                                                               GRAND RAPIS       MI    49525‐1358
KATHLEEN E MOULT                                   PO BOX 212                                                                                       HULLS COVE        ME    04644‐0212
KATHLEEN E NIGRO                                   224 BRAEBURN CIR                                                                                 AURORA            IL    60506‐6435
KATHLEEN E PINCHOT                                 745 BAYSHORE DR                                                                                  TARPON SPRINGS    FL    34689‐2406
KATHLEEN E ROSS                                    1620 COLEMAN ST                                                                                  WILMINGTON        DE    19805‐4638
KATHLEEN E SCHADEK                                 241 WESTGATE DR                                                                                  MANSFIELD         OH    44906‐2940
KATHLEEN E SHANNON                                 420 BIRCH AVE                                                                                    WESTFIELD         NJ    07090‐3001
KATHLEEN E SHARY TR UA 08/08/07 KATHLEEN E SHARY   34510 SPRING VALLEY DR                                                                           WESTLAND          MI    48185
TRUST
KATHLEEN E WHITEHOUSE CUST SAMANTHA B              18480 SARATOGA BLVD                                                                              LATHRUP VILLAGE   MI    48076‐3332
WHITEHOUSE UGMA MI
KATHLEEN E WHITEHOUSE CUST WILLIAM S               880 S OLD WOODWARD AVENUE                                                                        BIRMINGHAM        MI    48009‐6730
WHITEHOUSE UGMA MI
KATHLEEN E WOLFE                                   4818 W 1350 S                                                                                    GALVESTON         IN    46932‐8503
KATHLEEN EBERTS                                    1145 GATEWOOD AVENUE                                                                             SPRING HILL       FL    34608‐6544
KATHLEEN ELIZABETH CLARK                           GRAND HAVEN SUITE 217                   201 E FRANKLIN ST                                        ELDRIDGE          IA    52748
KATHLEEN ELIZABETH FRANZREB                        BOX 275                                                                                          CORRYTON          TN    37721‐0275
KATHLEEN ENSINK                                    487 HIDDEN RIDGE                                                                                 TROY              MI    48083‐5156
KATHLEEN ERVIN                                     514 BERANDA CIRCLE                                                                               DOUGLASVILLE      GA    30134‐4635
KATHLEEN ETHNE SHERIDAN                            5023 GORHAM DRIVE                                                                                CHARLOTTE         NC    28226‐6403
KATHLEEN F ALEXANDER                               1425 SANTANELLA TERRACE                                                                          CORONA DL MAR     CA    92625
KATHLEEN F CARSON                                  20186 NORTHMOOR DRIVE                                                                            JOHNSTOWN         CO    80534‐9318
KATHLEEN F HOLDGATE                                ATTN K LEGG                             17 KEEL LN                                               NANTUCKET         MA    02554‐4309
KATHLEEN F MORGAN                                  244 CENTRAL STREET                                                                               NORTH REDDING     MA    01864‐1322
KATHLEEN F MORGAN                                  244 CENTRAL ST                                                                                   NO READING        MA    01864‐1322
KATHLEEN F NEVIN                                   77 RIVERSIDE DR                                                                                  RIDGEFIELD        CT    06877‐3516
KATHLEEN F O CONNOR                                33636 KRAUTER                                                                                    WESTLAND          MI    48185‐3052
KATHLEEN F POLINSKY & WILLIAM J POLINSKY JT TEN    570 VIRGINIA AVE                                                                                 AMBRIDGE          PA    15003

KATHLEEN F ROBINSON                                3528 NORTH QUARZO CIRCLE                                                                         THOUSAND OAKS     CA    91362‐1131
KATHLEEN F SMITH‐SLOANE                            4220 CRESTHILL DR                                                                                ROANOKE           VA    24018‐3004
KATHLEEN FEELY NEVIN                               77 RIVERSIDE DRIVE                                                                               RIDGEFIELD        CT    06877‐3516
KATHLEEN FITZPATRICK                               420 3RD AVE                                                                                      AVON BY SEA       NJ    07717‐1277
KATHLEEN FLOOD & MICHAEL FLOOD JT TEN              10122 PARADISE RIDGE RD                                                                          CHARLOTTE         NC    28277‐0666
KATHLEEN FLYNN VIEHMANN                            1659 LAKE SHORE DR                                                                               OWENSVILLE        MO    65066‐2530
KATHLEEN FORD                                      3364 S TIPP‐COWLESVILLE                                                                          TIPP CITY         OH    45371
KATHLEEN FOSLER                                    7220 CARIBOU TRAIL                                                                               CENERVILLE        OH    45459‐4865
KATHLEEN FRANCISCO CUST ASHLEY FRANCISCO UGMA      1125 MASTERPIECE DR                                                                              OCEANSIDE         CA    92057‐6804
CA
KATHLEEN FRANCISCO CUST ASHLEY FRANCISCO UTMA      1125 MASTERPIECE DR                                                                              OCEANSIDE         CA    92057‐6804
CA
KATHLEEN FRANCISCO CUST HAYLEY FRANCISCO UGMA      1125 MASTERPIECE DR                                                                              OCEANSIDE         CA    92057‐6804
CA
KATHLEEN FRANCISCO CUST HAYLEY FRANCISCO UTMA      1125 MASTERPIECE DR                                                                              OCEANSIDE         CA    92057‐6804
CA
KATHLEEN FREDRICKSON                               PO BOX 3197                                                                                      CARMEL           CA     93921
KATHLEEN FRENZ BETELAK                             9765 TOWNE RD                                                                                    CARMEL           IN     46032‐8260
KATHLEEN FRIEND AVEDON                             145 CLIFF AVE                                                                                    PELHAM           NY     10803‐2006
KATHLEEN G BATES                                   ATTN KATHLEEN G BLOETSCHER              26261 WESTMEATH                                          FARMINGTON HILLS MI     48334‐4771

KATHLEEN G BOWLING                                 20583 ELWELL                                                                                     BELLEVILLE        MI    48111‐8603
KATHLEEN G CAROLAN                                 276 PLAIN ST                                                                                     STOUGHTON         MA    02072‐3161
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 510 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

KATHLEEN G CROSLEY CUST PATRICK T CROSLEY UGMA     1804 COLT RD                                                                                   INDIANAPOLIS      IN    46227‐6240
IN
KATHLEEN G DAY                                     21880 DREXEL                                                                                   CLINTON TWP       MI    48036‐2608
KATHLEEN G DUNN                                    1866 SW PALM CITY ROAD APT 203                                                                 STUART            FL    34994‐7427
KATHLEEN G GARRETT                                 4253 PAR DR                                                                                    INDIANAPOLIS      IN    46268‐7702
KATHLEEN G GRABO                                   5219 CAPE LEYTE DR                                                                             SARASOTA          FL    34242‐1805
KATHLEEN G HAMMOND                                 ATTN KATHLEEN H SCHEESSELE            49734 REGATTA ST                                         NEW BALTIMORE     MI    48047‐4315
KATHLEEN G HUNT                                    418 N HOLLAND                                                                                  PORTLAND          OR    97217‐1526
KATHLEEN G LUCAS                                   PO BOX 24                                                                                      OWOSSO            MI    48867‐0024
KATHLEEN G MACARTHUR                               47 ANDERSON RD                                                                                 BUFFALO           NY    14225‐4905
KATHLEEN G MAYL                                    8755 OLDE HICKORY AVE                 UNIT 7105                                                SARASOTA          FL    34238‐4360
KATHLEEN G MAYL TOD THOMAS C MAYL                  8755 OLD HICKORY AVE APT 7105                                                                  SARASOTA          FL    34238‐4360
KATHLEEN G MEHALL                                  45681 TOURNAMENT DRIVE                                                                         NORTHVILLE        MI    48167‐8581
KATHLEEN G MONROE & GLENN S MONROE JT TEN          2748 GIRARD                                                                                    WARREN            MI    48092‐4832

KATHLEEN G REISER CUST JENNIFER L REISER UGMA CT   57 DENYELLE DR 57                                                                              ROCKY HILL        CT    06067‐1873

KATHLEEN G SLAWSON                                 15081 FORD RD PT 114                                                                           DEARBORN          MI    48126
KATHLEEN G SMITH                                   4193 SKINNER LAKE RD                                                                           LAPEER            MI    48446‐8917
KATHLEEN G WELCH PER REP EST THOMAS H WELCH        1930 SPARROW COURT                                                                             TROY              MI    48084

KATHLEEN G WRIGHT                                  65 STIRLING RD                                                                                 LONGMEADOW        MA    01106‐1025
KATHLEEN GARRISON                                  1790 RIDGE RD                                                                                  YPSILANTI         MI    48198‐9477
KATHLEEN GEORGIA MARINOS                           4301 CHASEN CT                                                                                 ROCKLIN           CA    95677‐2600
KATHLEEN GERENCER MATHER                           58 TENNEY STREET                                                                               YARMOUTH          ME    04096‐7963
KATHLEEN GERLITS                                   R R HCR #2 BOX #3971                                                                           TRINITY CENTER    CA    96091‐9802
KATHLEEN GERRISH                                   6821 OLOHENA RD                                                                                KAPAA             HI    96746‐8721
KATHLEEN GIBNEY                                    36 ETON CT                                                                                     BEDMINSTER        NJ    07921‐1604
KATHLEEN GODEL GENGENBACH                          5062 VRAIN ST                                                                                  DENVER            CO    80212‐2913
KATHLEEN GOURGUES                                  1033 WILLOW DR                                                                                 PITTSBURGH        PA    15237
KATHLEEN GRIFFIN                                   C/O KATHLEEN SANDBERG                 205 SHERMAN AVE                                          ROSELLE PARK      NJ    07204‐2315
KATHLEEN H ATKINS                                  ROUTE 9 251 FENWAY BLVD                                                                        LEXINGTON         OH    44904‐9716
KATHLEEN H CARR                                    ATTN K LUCIDO                         46211 APPLETON DR                                        MACOMB            MI    48044‐5751
KATHLEEN H EDWARDS                                 9301 LEDBURY RD                                                                                RICHMOND          VA    23229‐3910
KATHLEEN H FITZPATRICK                             38 SUMMITT TRAIL                                                                               SPARTA            NJ    07871‐1431
KATHLEEN H GABEL                                   3 JOANS LANE                                                                                   BERLIN            NJ    08009‐1516
KATHLEEN H KAMINSKI                                7 MONADNOCK LN                                                                                 BEDFORD           NH    03110‐6307
KATHLEEN H KAMINSKI & HELEN J KAMINSKI JT TEN      7 MONADNOCK LN                                                                                 BEDFORD           NH    03110‐6307

KATHLEEN H LEAMAN                                212 LONG VIEW DR                                                                                 CHATHAM           NY    12037
KATHLEEN H MCDONOUGH                             3736 DANVILLE ST                                                                                 METAIRIE          LA    70001‐2711
KATHLEEN H NILGES TR KATHLEEN H NILGES REVOCABLE 21945 LITTLE BROOK WAY                                                                           STRONGSVILLE      OH    44149‐2272
TRUST UA 11/13/98
KATHLEEN H PETERS                                14 COURTNEY LN                                                                                   WRIGHT CITY       MO    63390‐4333
KATHLEEN H ROWE                                  11938 MAXFIELD BLVD                                                                              HARTLAND          MI    48353‐3532
KATHLEEN H SCHWEICKERT                           3648 S CREEK DR                                                                                  ROCHESTER HILLS   MI    48306‐1474
KATHLEEN H TREES                                 8813 MADISON AVENUE                     APT 310 D                                                INDIANAPOLIS      IN    46227‐6481
KATHLEEN HAHUS                                   259 ELIZABETH ST                                                                                 PLYMOUTH          MI    48710‐1645
KATHLEEN HALKOSKI & ROSE HALKOSKI JT TEN         1985 RUTGERS PL                                                                                  PORT ORANGE       FL    32128‐6817
KATHLEEN HALL HOLMES                             1410 NORTH BELLE DR                                                                              BELLE             WV    25015‐1611
KATHLEEN HAMILTON                                7118 JAMESFORD DR                                                                                TOLEDO            OH    43617‐1368
KATHLEEN HARDS                                   5117 SHELL CREEK DR                                                                              FT WORTH          TX    76137
KATHLEEN HARRIS OTTEN                            N62 W38150 WESTWINDS CT                                                                          OCONOMOWOC        WI    53066‐1679
KATHLEEN HART                                    155 RIVER LANE                                                                                   NEW MILFORD       NJ    07646‐3110
KATHLEEN HAYES CONN & RANDY CONN JT TEN          1080 NORTH LN                                                                                    NAPERVILLE        IL    60540
KATHLEEN HEALY & THOMAS J HEALY JT TEN           1379 MACKINAW AVE                                                                                CALUMET CITY      IL    60409‐5942
KATHLEEN HEISTERMAN BROMAN                       66 BARRI DRIVE                                                                                   IRWIN             PA    15642‐9486
KATHLEEN HEMBERGER CUST DANIEL HEMBERGER         2256 WOODBARN RD                                                                                 MCUNGIE           PA    18062‐9759
UGMA PA
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 511 of 855
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

KATHLEEN HOSCHLER                                 144 CENTRAL AVE                                                                                 DEER PARK         NY   11729‐5122
KATHLEEN HUMPHREY                                 135 BYRAM BLVD                                                                                  MARTINSVILLE      IN   46151‐1318
KATHLEEN HUTCHINSON                               16 TANSBOROUGH ROAD                                                                             MEDFORD           NJ   08055‐8135
KATHLEEN I FOLKEN                                 12732 SW 14TH AVE                                                                               NEWBERRY          FL   32669‐3098
KATHLEEN I HARRIGAN                               12109 S LARAMIE                                                                                 ALSIP             IL   60803‐3140
KATHLEEN I RALPH                                  402 TOWSLEY ST                                                                                  MIDLAND           MI   48640‐5133
KATHLEEN I ROBINSON                               33 FOX RUN LANE                                                                                 FREDRICKSBURG     VA   22405‐3303
KATHLEEN J BABA                                   40 S M 65                                                                                       TWINING           MI   48766‐9713
KATHLEEN J BARBOUR                                2540 INDIAN TRAIL S E                                                                           EAST GRAND RAPIDS MI   49506‐3117

KATHLEEN J COLLIER                                3628 LAKE GEORGE ROAD                                                                           LEONARD          MI    48367‐2126
KATHLEEN J COOK                                   7740 LYONS RD                                                                                   PORTLAND         MI    48875‐9626
KATHLEEN J CUTRE                                  10396 ROCK LEDGE WAY                                                                            N ROYALTON       OH    44133
KATHLEEN J DANNING                                9310 WILSON BLVD                                                                                WAUWATOSA        WI    53226‐1731
KATHLEEN J DIXON                                  9595 MT OLIVE RD                                                                                MOUNT PLEASANT   NC    28124‐9695

KATHLEEN J DWYER                                  1620 PANTALEO DR                                                                                MODESTO          CA    95355
KATHLEEN J ENGEBRETSON                            5 SUNNINGDALE COURT                                                                             PUEBLO           CO    81001‐1170
KATHLEEN J ESTERLEY                               1090 MURRAY RD                         UNIT 12                                                  MCKINLEYVILLE    CA    95519‐3442
KATHLEEN J FLEMING                                PO BOX 294                                                                                      NEW ALBANY       IN    47151
KATHLEEN J FOSSUM                                 9568 SE 164 PL                                                                                  SUMMERFIELD      FL    34491‐5952
KATHLEEN J FRYE & MRS ANNE H FRYE JT TEN          9001 VERNON VIEW DR                                                                             ALEXANDRIA       VA    22308‐2844
KATHLEEN J GEIERSBACH                             1541 PASSOLT ST                                                                                 SAGINAW          MI    48603‐4751
KATHLEEN J MACKIEWICZ                             86 S MAIN ST                                                                                    TERRYVILLE       CT    06786‐6205
KATHLEEN J MARVAK                                 105 TWO OAK CT                                                                                  COLUMBIA         SC    29212‐1334
KATHLEEN J MATTES                                 5N595 MEADOWVIEW LANE                                                                           ST CHARLES       IL    60175‐8150
KATHLEEN J METZGER                                10493 HOPEWELL HILLS DR                                                                         CINCINNATI       OH    45249
KATHLEEN J MILLER                                 1670 16 MILE                                                                                    CEDAR SPRINGS    MI    49319‐8406
KATHLEEN J MILLER TR KATHLEEN J MILLER TRUST UA   12548 RAJAH STREET                                                                              SYLMAR           CA    91342‐1942
09/06/00
KATHLEEN J MOORE                                  3066 LINDENWOOD DR                                                                              DEARBORN         MI    48120‐1312
KATHLEEN J MURPHY                                 7525 N W 61ST TERRACE                  #1103                                                    PARKLAND         FL    33067‐2434
KATHLEEN J RAY                                    5856 POOLE PLACE                                                                                NOBLESVILLE      IN    46060‐7608
KATHLEEN J RAYBURN                                670 E CATAWBA                                                                                   AKRON            OH    44306‐3665
KATHLEEN J RIEDEL                                 1155 PURDY LN                                                                                   HOWELL           MI    48843‐8074
KATHLEEN J ROSE & ELEANOR J ROSE JT TEN           1178 BRYS                                                                                       GROSSE POINTE    MI    48236‐1275
                                                                                                                                                  WOOD
KATHLEEN J SMITH                                  8520 52ND STREET SE                                                                             ADA              MI    49301‐9333
KATHLEEN J SPANG                                  12271 CHARLTON RD                                                                               MADERA           CA    93638‐8552
KATHLEEN J THOMPSON                               19412 MAYFIELD AVE                     APT 104                                                  LIVONIA          MI    48152‐4212
KATHLEEN J TUCKER                                 3268 PINE VALLEY DR                                                                             SARASOTA         FL    34239‐4329
KATHLEEN J URBANO                                 462 GRAND AVE                                                                                   WEST TRENTON     NJ    08628‐2915
KATHLEEN J WESLEY & MARILYNN J GLASER JT TEN      4133 FOREST AVE                                                                                 NORWOOD          OH    45212

KATHLEEN J WRIGHT CUST CAMILLE M WRIGHT UTMA FL 705 OAK COVE COURT                                                                                FRUIT COVE       FL    32259‐4359

KATHLEEN J ZAVERTON CUST FBO/KAITLYN ZAVERTON 545 TRIM ST                                                                                         KIRKWOOD         NY    13795
UGMA NY
KATHLEEN J ZAVERTON CUST KAITLYN E ZAVERTON     545 TRIM ST                                                                                       KIRKWOOD         NY    13795‐1314
UTMA NY
KATHLEEN JEAN MC LAUGHLIN                       105 W 24TH AVE                                                                                    COAL VALLEY      IL    61240‐9541
KATHLEEN JEAN PACTELES & JANET CHARLENE STEWART 1100 N LAFAYETTE ST                                                                               DEARBORN         MI    48128‐1142
JT TEN
KATHLEEN JEAN PAGE                              BOX 178                                  16865 FERRY ST                                           FERRYSBURG       MI    49409‐0178
KATHLEEN JENSEN CUST RACHAEL ELIZABETH JENSEN   139 RIVERSIDE AVE                                                                                 SCOTIA           NY    12302‐2225
UGMA NY
KATHLEEN JO BARRETT                             160 STONY CREEK OVERLOOK                                                                          NOBLESVILLE      IN    46060‐5430
KATHLEEN JONAS                                  2 NORTH SHANNON                                                                                   ATHENS           OH    45701‐1822
KATHLEEN JONES                                  9152 SOUTHMOOR AVE                                                                                HIGHLAND         IN    46322‐2513
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 512 of 855
Name                                              Address1                               Address2              Address3         Address4          City              State Zip

KATHLEEN JORDAN & KAREN HANNIGAN & KEVIN          3015 LAKE CHAPEAU DR                                                                            ALBERT LEA        MN    56007
KUBISIAK JT TEN
KATHLEEN JORDAN & SCOTT W JORDAN JT TEN           3015 LAKE CHAPEAU DR                                                                            ALBERT LEA        MN    56007
KATHLEEN JULINE & ROGER E JULINE JR JT TEN        208 VIA PRESA                                                                                   SAN CLEMENTE      CA    92672‐9457
KATHLEEN K ARBUCKLE                               4513 DONEGAL                                                                                    CORPUS CHRIST     TX    78413‐3311
KATHLEEN K DEW                                    2467 HENN‐HYDE                                                                                  WARREN            OH    44484‐1247
KATHLEEN K DEW & GARY R DEW JT TEN                2467 HENN HYDE RD N E                                                                           WARREN            OH    44484‐1247
KATHLEEN K DEW CUST GREGORY M DEW UGMA OH         2467 HENN HYDE RD                                                                               WARREN            OH    44484‐1247

KATHLEEN K DEW CUST JEFFREY J DEW UGMA OH         2467 HENN HYDE RD                                                                               WARREN            OH    44484‐1247
KATHLEEN K DODGE                                  235 DODGE RANCH ROAD                   CR 1044                                                  STREETMAN         TX    75859‐9801
KATHLEEN K FITZPATRICK                            4895 RIVERWOOD DR                                                                               GRAYLING          MI    49738‐6932
KATHLEEN K JOHNSTON                               812 PRINCETON DR                                                                                LANSING           MI    48917‐3960
KATHLEEN K LAMPHERE                               776 IVES ROAD                                                                                   MASON             MI    48854‐9614
KATHLEEN K LONG CUST ETHAN K LONG UGMA MI         12356 JOSHUA                                                                                    HARTLAND          MI    48353‐3036
KATHLEEN K QUALLS                                 748 JAMES ST                                                                                    TOMBALL           TX    77375‐4538
KATHLEEN K RAGONESE                               4 EMILY LN                                                                                      HANOVER           NH    03755‐4909
KATHLEEN K SERGENT & GARY D SERGENT JT TEN        11370 TRAILS END NORTH                                                                          WILLIAMSBURG      MI    49690‐9205
KATHLEEN KAPOON                                   270 ARMSTRONG RD                                                                                ROCHESTER         NY    14612
KATHLEEN KAUFMANN                                 2415 NATTA BLVD                                                                                 BELLMORE          NY    11710‐3137
KATHLEEN KEENAN & THOMAS J KEENAN JT TEN          76‐27 85TH DR                                                                                   WOODHAVEN         NY    11421‐1011
KATHLEEN KELLEY FIQUET & MARC L FIQUET JT TEN     2820 LOVERS LANE                                                                                ST JOSEPH         MO    64506‐1524

KATHLEEN KENNEDY KOLLS                            420 FOREST LANE                                                                                 SALISBURY         MD    21801‐6105
KATHLEEN KETCHAM                                  36 SCRIBNER HILL RD                                                                             WILTON            CT    06897‐2221
KATHLEEN KILLEN WHALEN                            BOX 99 SILVERSMITH LANE                                                                         REDDING RIDGE     CT    06876‐0099
KATHLEEN KLARR LONG CUST GUNNAR JAMES LONG        12356 JOSHUA                                                                                    HARTLAND          MI    48353‐3036
UGMA MI
KATHLEEN KLOWITTER                                11663‐E 475‐N                                                                                   DUBOIS            IN    47527‐9664
KATHLEEN KREST                                    4643 SHREWSBURY CT                                                                              ROANOKE           VA    24018‐3886
KATHLEEN KRIEGBAUM TR KATHLEEN KRIEGBAUM LIV      3249 S SHOREVIEW DR                                                                             FORT GRATIOT      MI    48059‐2849
TRUST UA 10/09/00
KATHLEEN KUCHEVAR                                 PO BOX 465                                                                                      SO MILWAUKEE      WI    53172‐0465
KATHLEEN L ALLEN                                  4323 SASHABAW                                                                                   WATERFORD         MI    48329‐1957
KATHLEEN L ANDERSON                               650 GEORGIA AVENUE                                                                              PALO ALTO         CA    94306‐3810
KATHLEEN L BALL CUST ASHLEY LYNN BALL UTMA NC     7614 ZERMATT LANE                                                                               CHARLOTTE         NC    28226‐4441

KATHLEEN L BALL CUST MATTHEW G BALL UTMA NC       7614 ZERMATT LN                                                                                 CHARLOTTE         NC    28226‐4441

KATHLEEN L BALTZ                                1 OAKMONT LN                                                                                      LITTLETON         CO    80127‐3527
KATHLEEN L BARTLEY                              442 DELAWARE AVENUE                                                                               DELMAR            NY    12054‐3040
KATHLEEN L BARTON CUST JENNFER L BARTON UGMA IL 10891 WING POINTE DRIVE                                                                           HUNTLEY           IL    60142‐6619

KATHLEEN L BARTON CUST MARISSA L BARTON UGMA IL 9492 BRISTOL LN                                                                                   HUNTLEY           IL    60142‐2465

KATHLEEN L BISSET                                2 TEAL CRT                                                                                       NEW CITY          NY    10956‐3156
KATHLEEN L BLOOMQUIST                            194 S STONINGTON DR                                                                              PALATINE          IL    60067‐1502
KATHLEEN L BLUST & HOWARD M BLUST JT TEN         4056 SLEIGHT ROAD                                                                                BATH              MI    48808‐9407
KATHLEEN L BOONE THAYER & RONALD J THAYER JT TEN 300 BILLINGSGATE                                                                                 BLOOMFIELD HLS    MI    48301‐1604

KATHLEEN L BUTLER                                 25476 BRICKELL DR                                                                               SOUTH RIDING      VA    20152‐2042
KATHLEEN L CLARK                                  ATTN KATHLEEN CLARK BROWN              243 BUCKLAND AVENUE                                      ROCHESTER         NY    14618‐2138
KATHLEEN L CLARK                                  C/O KATHLEEN NELSON                    2085 CROTON DR                                           NEWAGO            MI    49337‐9501
KATHLEEN L COPES                                  16368 S OAKLEY                                                                                  CHESANING         MI    48616‐9506
KATHLEEN L DEANE                                  4050 MORNINGVIEW DR                                                                             SHELBY TOWNSHIP   MI    48316‐3924

KATHLEEN L FISCHER                                11646 GARNSEY AV                                                                                GRAND HAVEN       MI    49417‐9646
KATHLEEN L GRIFFIN                                332 LAUREL RISE LANE                   APT 223                                                  COLUMBIA          SC    29229
KATHLEEN L GUSTOVICH                              3373 FORTY‐SECOND ST                                                                            CANFIELD          OH    44406
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 513 of 855
Name                                             Address1                               Address2               Address3        Address4          City             State Zip

KATHLEEN L KATZ                              13 ORCHARD PATH                                                                                     WESTBROOK        CT    06498
KATHLEEN L KNIGHTS                           BOX 14                                     4377 S 150 E                                             OAKFORD          IN    46965‐0014
KATHLEEN L KUHN                              32599 TIBBETTS POINT RD                                                                             CAPE VINCENT     NY    13618‐0783
KATHLEEN L KUHN & GEORGE W KUHN JR JT TEN    32599 TIBBETTS POINT RD                                                                             CAPE VINCENT     NY    13618‐0783
KATHLEEN L LEECH                             1350 S BRIDGE RD                                                                                    WASHINGTON       PA    15301‐8500
KATHLEEN L MCKENNA                           PO BOX 94                                                                                           BOONVILLE        CA    95415‐0094
KATHLEEN L MCRAE                             6479 3 MILE RD NE                                                                                   ADA              MI    49301‐8240
KATHLEEN L MILLER                            410 S MAIN ST                              APT 2                                                    GENEVA           NY    14456‐3151
KATHLEEN L O'CONNOR                          2 TEAL CRT                                                                                          NEW CITY         NY    10956‐3156
KATHLEEN L PARROTT                           PO BOX 66113                                                                                        ROSEVILLE        MI    48066
KATHLEEN L PRITSCHER                         8620 VIA MALLORCA #H                                                                                LAJOLLA          CA    92037‐2542
KATHLEEN L SCHUSTER                          5248 ELIZABETH LN                                                                                   ALMONT           MI    48003‐8736
KATHLEEN L SHAOUNI                           2360 PINEVIEW                                                                                       W BLOOMFIELD     MI    48324
KATHLEEN L SPARLING                          1410 RUBY ANN DR                                                                                    SAGINAW          MI    48601‐9762
KATHLEEN L SROMEK TR UA 04/23/1998 ROBERT F  121 WINTERHAVEN DR                                                                                  ANDERSON         IN    46011
MCVICKER TRUST
KATHLEEN L SURGES                            8141 S CHASE RD                                                                                     PULASKI          WI    54162‐9640
KATHLEEN L VAN KAMMEN                        8337 GLENGARRY                                                                                      GROSSE ILE       MI    48138‐1313
KATHLEEN L WEISE                             1892 WIXOM TRL                                                                                      MILFORD          MI    48381‐2459
KATHLEEN L WESTON                            10 FIELDSTONE CR                                                                                    SHREWSBURY       PA    17361‐1858
KATHLEEN L WOLFER                            8502 JESSE BOHLS RD                                                                                 PFLUGERVILLE     TX    78660‐8918
KATHLEEN LAURA PORTER                        1902 COLUMBUS BLVD                                                                                  KOKOMO           IN    46901‐1870
KATHLEEN LAVECCHIA                           7 EVELYN TERR                                                                                       S AMBOY          NJ    08879‐1953
KATHLEEN LAYMAN CUST CHRISTOPHER LAYMAN UGMA 435 TABOR RIDGE RD                                                                                  STOCKPORT        OH    43787
NE
KATHLEEN LEE CONROY                          662 CHARLESINA DRIVE                                                                                ROCHESTER        MI    48306‐2625
KATHLEEN LEE VILLIERS                        1201 WILDER AVE                            APT 2701                                                 HONOLULU         HI    96822‐3147
KATHLEEN LONCHER                             1049 CARTER DRIVE                                                                                   GRAND ISLAND     NY    14072‐2607
KATHLEEN LONDON FRIEND                       145 CLIFF AVE                                                                                       PELHAM           NY    10803‐2006
KATHLEEN LORRIMAN LUTHER                     4736 E CALLE DEL MADIO                                                                              PHOENIX          AZ    85018‐3814
KATHLEEN LOUDERMILK CUST COURTNEY LOUDERMILK 2193 SCOTT ROAD                                                                                     NORTH BRANCH     MI    48461
UTMA MI
KATHLEEN LOUISE HAMILTON                     2917 GLADE AVE                                                                                      BETHANY          OK    73008‐4450
KATHLEEN LOUISE MORLEY                       102 CRYSTAL LN                                                                                      COVINGTON        KY    41015‐9537
KATHLEEN LOUISE WHITNEY                      1727 MOUNTAIN AVE                                                                                   SANTA BARBARA    CA    93101‐4607
KATHLEEN LYNESS                              31 FARVIEW ROAD                                                                                     ROCKAWAY         NJ    07866‐2742
KATHLEEN LYNNE PEOPLES TANNER                1024 CEDARHURST DR                                                                                  RALEIGH          NC    27609‐5416
KATHLEEN M AHERN                             6317 CHRISTMAN DR                                                                                   N OLMSTED        OH    44070‐4834
KATHLEEN M AHERN                             6317 CHRISTMAN DR                                                                                   NORTH OLMSTEAD   OH    44070‐4834

KATHLEEN M AMATO                                 ATTN KATHLEEN FARRELL                  3900 N LAKE SHORE DR   APT 20J                           CHICAGO          IL    60613
KATHLEEN M ANDERSON                              PO BOX 361                                                                                      JACKSON          NH    03846‐0361
KATHLEEN M ANTALIK                               32 GREENGAGE CIRCLE                                                                             EAST AMHERST     NY    14051‐1331
KATHLEEN M ANTALIK CUST DEAN A ANTALIK UGMA NY   32 GREENGAGE CIRCLE                                                                             EAST AMHERST     NY    14051‐1331

KATHLEEN M ANTALIK CUST ED ANTALIK UGMA NY       32 GREENGAGE CIRCLE                                                                             EAST AMHERST     NY    14051‐1331

KATHLEEN M ANTALIK CUST ERIK M ANTALIK UGMA NY   32 GREENGAGE CIRCLE                                                                             EAST AMHERST     NY    14051‐1331

KATHLEEN M ARRIETA CUST RACHEL E ARRIETA UTMA    23596 MARY KAY CIR                                                                              LAGUNA NIGUEL    CA    92677‐1691
CA
KATHLEEN M BEHM                                  209 EDGEWOOD RD                                                                                 WILMINGTON       DE    19803‐4512
KATHLEEN M BLAHA                                 1217 16TH AVE                                                                                   BELMAR           NJ    07719‐2818
KATHLEEN M BLAHA CUST KEVIN E BLAHA UGMA NJ      1217 16TH AVE                                                                                   BELMAR           NJ    07719‐2818

KATHLEEN M BOYCE                                 PO BOX 442                                                                                      MINERAL RIDGE    OH    44440‐0442
KATHLEEN M BRADFORD                              6929 N HAYDEN RD #C4‐241                                                                        SCOTTSDALE       AZ    85250‐7970
KATHLEEN M BUTLER                                ATTN KATHLEEN M BUTLER HOPKINS         4978 DRAKE ST                                            FAIRBANKS        AK    99709‐2907
KATHLEEN M CARR & EILEEN BERGIN JT TEN           52‐66 66TH ST                                                                                   MASPETH          NY    11378‐1339
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 514 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

KATHLEEN M CARY                                 ATTN KATHLEEN M SHEA                   512 WAGNER DR                                            CLINTON         WI    53525‐9133
KATHLEEN M CASE                                 2015 MCCAIN LANE                                                                                MALABAR         FL    32950‐7016
KATHLEEN M CASSIDY                              343 HUDSON ST                                                                                   REDWOOD CITY    CA    94062
KATHLEEN M CERVELLI                             501 S WADE MARTIN                                                                               EDMOND          OK    73034‐6716
KATHLEEN M CHRISTIE                             5099 WEST LAKE VIEW PARK DR                                                                     WARSAW          IN    46580‐8899
KATHLEEN M CODY                                 4720 HIDALGO AVE                                                                                ATASCADERO      CA    93422‐3552
KATHLEEN M CONNALLY                             23219 SE 29TH COURT                                                                             SAMMAMISH       WA    98075‐6001
KATHLEEN M COOK                                 13115 S JENNINGS RD                                                                             LINDEN          MI    48451‐9478
KATHLEEN M COOK & ROBERT F COOK JR JT TEN       13115 S JENNINGS RD                                                                             LINDEN          MI    48451‐9478
KATHLEEN M CRESON                               47090 STEPHANIE DR                                                                              MACOMB          MI    48044‐4823
KATHLEEN M CUMMINGS CUST JONATHAN W             6006 S 300TH STREET                                                                             AUBURN          WA    98001‐3030
CUMMINGS UTMA WA
KATHLEEN M CURNUTTE                             3905 PERCY KING                                                                                 WATERFORD       MI    48329‐1369
KATHLEEN M CURTIS                               1519 BRAZOS WOOD DR                                                                             RICHMOND        TX    77469‐6114
KATHLEEN M DE MONTE                             51 CAROLYN AVENUE                                                                               COLONIA         NJ    07067‐1806
KATHLEEN M DEASY                                53 WOLCOTT HILL RD C‐15                                                                         WETHERSFIELD    CT    06109‐1162
KATHLEEN M DELSMAN                              C/O ERVIN J DELSMAN                    4307 CHEYENNE                                            FLINT           MI    48507‐2823
KATHLEEN M DICKMAN & EDWARD H DICKMAN JT TEN    18 EAST 198 ST                         APT A3                                                   BRONX           NY    10468‐1822

KATHLEEN M DILWORTH                             2938 ORCHARD TRAIL DRIVE                                                                        TROY            MI    48098‐5416
KATHLEEN M DINGOW & JOSEPH T DINGOW JT TEN      6051 VERDE TRAIL SO                    APT P140                                                 BOCA RATON      FL    33433

KATHLEEN M DRAKE                                2735 H ALDER CREEK DRIVE N                                                                      NO TONOWANDA    NY    14120‐1000
KATHLEEN M DREW ADM EST DOROTHY R ICEMAN        4816B STURBRIDGE LANE                                                                           LOCKPORT        NY    14094
KATHLEEN M EARL                                 1417 N VENCTIAN WAY                                                                             MIAMI           FL    33139
KATHLEEN M ELDRIDGE                             58389 COUNTY RD #115                                                                            GOSHEN          IN    46526
KATHLEEN M FERGUSON                             2811 SPRING BREEZE WAY                                                                          MONROE          NC    28110
KATHLEEN M FIFE                                 4301 IRONWOOD AVENUE                                                                            SEAL BEACH      CA    90740‐2923
KATHLEEN M FISCHER CUST DAVID FISCHER UTMA MN   2319 S WILLOW LANE                                                                              ST LOUIS PARK   MN    55416‐3863

KATHLEEN M FORSBERG TR UA 04/17/90 M‐B KATHLEEN 9273F SW 82ND TERR                                                                              OCALA           FL    34481‐8557
M FORSBERG
KATHLEEN M FREEMAN                              2671 KERRIA DRIVE                                                                               HOWELL          MI    48855‐6456
KATHLEEN M FRITSCH                              2766 RIDGEWAY AVE                                                                               ROCHESTER       NY    14626‐4211
KATHLEEN M FUTEY                                108 WOODLAND TRACE                                                                              CORTLAND        OH    44410‐1903
KATHLEEN M GILMORE                              3926 E SUMMITRIDGE LANE                                                                         ORANGE          CA    92867‐2124
KATHLEEN M GRACE                                15 VINEYARD AVE                                                                                 SOUTH AMBOY     NJ    08879‐2229
KATHLEEN M GRIEST                               58229 HILLCHESTER DR                                                                            WASHINGTON      MI    48094‐3638
KATHLEEN M HAAS & ALBERT C HAAS JT TEN          36135 ACORN CT                                                                                  AVON            OH    44011‐1092
KATHLEEN M HARRISON                             9401 MC AFEE                                                                                    MONTROSE        MI    48457‐9123
KATHLEEN M HARRISON & BARRY L HARRISON JT TEN   9401 MC AFEE                                                                                    MONTROSE        MI    48457‐9123

KATHLEEN M HARRISON & JOHN L HARRISON JT TEN    714 CENTRAL PARK BLVD                                                                           PORT ORANGE     FL    32127‐7553

KATHLEEN M HEIDEMANN                            1326 W TOWNLINE RD                                                                              PHELPS          NY    14532‐9301
KATHLEEN M HENDRICKSON                          32882 CALLE MIGUEL                                                                              SAN JUAN        CA    92675‐4431
                                                                                                                                                CAPISTRAN
KATHLEEN M HERESCO                              274 45TH STREET                                                                                 PITTSBURGH      PA    15201
KATHLEEN M HERSCHELMANN                         1200 AUDUBON RD                                                                                 GROSSE POINTE   MI    48230‐1152
KATHLEEN M HUGHES                               2205 FOUNTAIN BLVD                                                                              SPRINGFIELD     OH    45504‐1009
KATHLEEN M HUNT                                 323 W WOODLAWN AV                                                                               MAPLE SHADE     NJ    08052‐2358
KATHLEEN M HYDE TOD KRISTOPHER W HYDE SUBJECT   7634 DAHLIA DR                                                                                  MENTOR LAKE     OH    44060‐3335
TO STA TOD RULES
KATHLEEN M JACKSON                              9054 SEYMOUR RD                                                                                 SWARTZ CREEK    MI    48473‐9161
KATHLEEN M JENKINS                              46219 RIVERLAND PL                                                                              STERLING        VA    20165‐7311
KATHLEEN M JIMINO                               157 ELMGROVE AVE                                                                                TROY            NY    12180‐5236
KATHLEEN M JOHNSON                              930 TOWLSTON RD                                                                                 MCLEAN          VA    22102‐1025
KATHLEEN M JONKE                                43 S GARY GLEN CI                                                                               SPRING          TX    77382‐2626
KATHLEEN M KAPPLER                              721 BRANDYWINE WAY                                                                              STEWARTSVILLE   NJ    08886‐2909
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 515 of 855
Name                                            Address1                            Address2              Address3         Address4          City              State Zip

KATHLEEN M KENDALL & JUNE K KENDALL JT TEN      32970 CHAPMAN CIR                                                                            WESTLAND          MI    48185‐9416
KATHLEEN M KING                                 P O BOX 54                                                                                   BASEHOR           KS    66007
KATHLEEN M KLARICH                              3249 ENGLEWOOD STREET                                                                        PHILADELPHIA      PA    19149‐1506
KATHLEEN M KLASEY                               2208 AMY STREET                                                                              BURTON            MI    48519‐1110
KATHLEEN M KOPINS                               5670 REYNOLDS ROAD                                                                           IMLAY CITY        MI    48444‐9708
KATHLEEN M KRAWCZYK                             1002 LAUREL ST                                                                               CADILLAC          MI    49601‐2428
KATHLEEN M KUNKEL                               BOX 381                                                                                      MCQUEENEY         TX    78123‐0381
KATHLEEN M LANDOLFI                             7960 STOCKBRIDGE DR                                                                          DAYTON            OH    45424‐2208
KATHLEEN M LEDGER                               801 SEXTANT CT                                                                               SAN MATEO         CA    94404‐1508
KATHLEEN M LICHT                                5917 WAVELAND DR                                                                             LAS VEGAS         NV    89130‐1961
KATHLEEN M LIPPERT                              12016 RENO DR                                                                                PARMA             OH    44130‐1822
KATHLEEN M LOHMANN                              97 RIDGETREE LANE                                                                            MARIETTA          GA    30068‐3843
KATHLEEN M LOPEZ                                2265 E 64TH ST                                                                               LONG BEACH        CA    90805‐2612
KATHLEEN M LOVETT & MARYELLEN LOVETT JT TEN     39 BUCKINGHAM RD                                                                             MILTON            MA    02186‐4417

KATHLEEN M LYNCH                                15212 CANTARA ST                                                                             VAN NUYS          CA    91402‐4412
KATHLEEN M LYONS                                12744 SPIRIT BOUND WAY                                                                       CHARLOTTE         NC    28273
KATHLEEN M MAC ARTHUR                           8339 ALTON                                                                                   CANTON            MI    48187‐4227
KATHLEEN M MARCH                                1002 SARAH DRIVE                                                                             JOHNSBURG         IL    60051
KATHLEEN M MC COY                               35 CHERRY ST                                                                                 DANVILLE          PA    17821‐1127
KATHLEEN M MC DERMOTT                           1606 S KEIM ST                                                                               POTTSTOWN         PA    19465‐8231
KATHLEEN M MC DONALD                            7290 PARKHURST DRIVE                                                                         BLOOMFIELD        MI    48301‐3942
KATHLEEN M MCCABE                               2700 MARION AVE APT 6C                                                                       BRONX             NY    10458
KATHLEEN M MCCOLLINS                            4205 CHERRYWOOD CT                  APT 202B                                                 SHEBOYGAN         WI    53081‐1507
KATHLEEN M MCGRADY                              23 WESTFEILD DR                                                                              BROCKTON          MA    02301‐4558
KATHLEEN M MCGUIRE                              237 RAILROAD ST                                                                              CHELSEA           MI    48118‐1042
KATHLEEN M MILLER                               2436 MALLARD DR                                                                              CAMERON           LA    70631
KATHLEEN M MURPHY                               71 PARK CHARLES N BL                                                                         SAINT PETERS      MO    63376‐3124
KATHLEEN M MURPHY CUST ADAM MURPHY UTMA OH      13219 PATTEN TRACT RD                                                                        MONROEVILLE       OH    44847‐9667

KATHLEEN M MURPHY CUST MICHAEL MURPHY UTMA 13219 PATTEN TRACT RD                                                                             MONROEVILLE       OH    44847‐9667
OH
KATHLEEN M MURRAY                              E 7217 UHLIG RD                                                                               SPOKANE           WA    99217‐9792
KATHLEEN M NAU                                 3489 ROLSTON RD                                                                               LINDEN            MI    48451‐9442
KATHLEEN M NEELEY                              1112 W BURBANK AV 109W                                                                        JANESVILLE        WI    53546‐6146
KATHLEEN M NICELY TOD SUSAN FERRELL SUBJECT TO 9913 VILLA RIDGE DR                                                                           LAS VEGAS         NV    89134‐7635
STA RULES
KATHLEEN M NIGL                                4295 BROCKWAY RD                                                                              SAGINAW           MI    48638
KATHLEEN M NIMIETZ & KEVIN R NIMIETZ JT TEN    416 LEONARD ST                                                                                PARK RIDGE        IL    60068‐3324
KATHLEEN M NUNNING                             C/O CANNING                          4232 HEARTHSTONE DR                                      JANESVILLE        WI    53546‐2154
KATHLEEN M O'SHEA                              2729 AXE FACTORY RD                                                                           PHILADELPHIA      PA    19152‐2114
KATHLEEN M OHARA                               9821 POUNDS AVE                                                                               WHITTIER          CA    90603‐1616
KATHLEEN M OWEN & KAROL K GORSKE JT TEN        1192 N HURON RD                                                                               LINWOOD           MI    48634
KATHLEEN M PARKER                              79 SPRUCE POND RD                                                                             STRAFFORD         NH    03884‐6614
KATHLEEN M PATRICELLI TOD LAUREN BALDWIN UNDER PO BOX 2044                                                                                   EAGLE RIVER       WI    54521‐2044
STA GUIDELINES
KATHLEEN M PAUGH                               350 PHEASANT RUN                                                                              WADSWORTH         OH    44281‐2348
KATHLEEN M PECK                                915 DOLPHIN DR                                                                                MALVERN           PA    19355‐3143
KATHLEEN M PERFECT CUST ADAM MICHAEL PERFECT   10535 WILLOW CREEK DR                                                                         FORT WAYNE        IN    46845‐8985
UTMA IN
KATHLEEN M PERFECT CUST NATHAN PATRICK PERFECT 10535 WILLOW CREEK DR                                                                         FORT WAYNE        IN    46845‐8985
UTMA IN
KATHLEEN M PERNO                               12607 CHESDIN LANDING DR                                                                      CHESTERFIELD      VA    23838‐3231
KATHLEEN M PETERSON                            C/O ERVIN J DELSMAN                  4307 CHEYENNE                                            FLINT             MI    48507‐2823
KATHLEEN M PIHA TR KATHLEEN M PIHA TRUST UA    8112 EAST MILAGRO                                                                             MESA              AZ    85209‐5197
03/03/98
KATHLEEN M PITT                                ATTN KATHLEEN M GANICH               49275 HANFORD ROAD                                       CANTON            MI    48187‐5425
KATHLEEN M POBST                               740 MARSH COVE LN                                                                             PONTE VEDRA BCH   FL    32082‐1694
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 4 of 8 Pg 516 of 855
Name                                            Address1                               Address2                 Address3          Address4          City               State Zip

KATHLEEN M PRATT                                22 NORTH ST                                                                                         LOCKPORT           NY    14094‐1402
KATHLEEN M REID                                 952 E BRITTON RD                                                                                    MORRICE            MI    48857‐9720
KATHLEEN M RODEN ADM EST ELIXABETH ANNE         29 CRYSTAL RD                                                                                       LEVITOWN           PA    19057‐1415
ZIEGLER
KATHLEEN M ROTH                                 55 S GORE                                                                                           ST LOUIS           MO    63119‐2941
KATHLEEN M RUDOLPH                              33260 VICEROY                                                                                       STERLING HEIGHTS   MI    48310‐5907

KATHLEEN M RYKOVICH                             2212 SOUTH PASTURES LANE                                                                            VIRGINIA BEACH     VA    23456‐3850
KATHLEEN M SAJDAK                               3253 CANTERBURY DR                                                                                  BAY CITY           MI    48706‐2005
KATHLEEN M SANDS                                702 NORTH SIXTH STREET                                                                              ST CLAIR           MI    48079‐4207
KATHLEEN M SANTOS                               W806 HARMONY LN                                                                                     EAST TROY          WI    53120‐2238
KATHLEEN M SCHINDLER                            50 PEMBROOK DRIVE                                                                                   STONY BROOK        NY    11790‐2636
KATHLEEN M SHAEFER                              3260 OREBED RD                                                                                      MANSFIELD          PA    16933‐9332
KATHLEEN M SMITH                                2410 LINDBERGH DR                                                                                   INDPLS             IN    46227‐4352
KATHLEEN M SMITH CUST BRIE V SMITH UGMA NY      2 GABRIELE DR                                                                                       E NORWICH          NY    11732‐1337
KATHLEEN M SMITH CUST JILLIAN A SMITH UGMA NY   2 GABRIELE DR                                                                                       EAST NORWICH       NY    11732‐1337

KATHLEEN M STAPLETON                            7237 SOMERBY                                                                                        WEST BLOOMFIELD MI       48322‐2932

KATHLEEN M SWINSON                              5384 BAPTIST ROAD                                                                                   PITTSBURGH         PA    15236‐1736
KATHLEEN M TAGGART                              262 STONEHENGE DR                                                                                   ORCHARD PARK       NY    14127‐2843
KATHLEEN M TAL                                  14555 WUNDERLICH #2709                                                                              HOUSTON            TX    77069‐2865
KATHLEEN M TEBO                                 PO BOX 884                                                                                          STORRS MANFLD      CT    06268‐0884
KATHLEEN M TERZIAN                              9 PRIORY RD                                                                                         PRINCETON          NJ    08550‐3114
                                                                                                                                                    JUNCTION
KATHLEEN M THRUSH                               ATTN KATHLEEN LADWIG                   FORCHENWALD STRASSE 37   71364 WINNENDEN   GERMANY
KATHLEEN M VAUGHN                               1468 E BUDER AVE                                                                                    BURTON             MI    48529‐1606
KATHLEEN M WALLER TR KATHLEEN WALLER TRUST UA   25 LEXINGTON RD                                                                                     S BARRINGTON       IL    60010‐9324
11/14/95
KATHLEEN M WENDT                                9224 ESTATE COVE CIRCLE                                                                             RIVERVIEW          FL    33578
KATHLEEN M WENNEMANN & JAMES F WENNEMANN        526 SARAH LANE UNIT 18                                                                              ST LOUIS           MO    63141‐6944
JT TEN
KATHLEEN M WOOLUMS                              655 15TH AVENUE NE                                                                                  ST PETERSBURG      FL    33704‐4708
KATHLEEN M WU                                   12818 CROQUET CT                                                                                    FORT WAYNE         IN    46845‐2301
KATHLEEN M YOCHIM TR UA 08/12/91 THE YOCHIM     1412 WITTENBERG DRIVE                                                                               MOUNT PLEASANT     SC    29464‐3960
TRUST
KATHLEEN M ZANIEWSKI                            97 STAFFORD ROAD                                                                                    BURLINGTON         CT    06013‐2513
KATHLEEN MAE SCOTT                              11789 WEST SHORE DRIVE                                                                              HOUGHTON LAKE      MI    48629‐8643
KATHLEEN MAE WAGNER                             BOX 8354                                                                                            COLUMBUS           OH    43201‐0354
KATHLEEN MAHONEY                                PO BOX 1266                                                                                         JACKSON            MI    49204‐1266
KATHLEEN MAHONEY & JOHN J MAHONEY JT TEN        55 CHRISTINE LANE                                                                                   TAPPAN             NY    10983‐1204
KATHLEEN MALONEY                                8132 E LAKE BLVD                                                                                    LAKESIDE           OH    43440‐1028
KATHLEEN MAPLES                                 1566 BENZIE CIR                                                                                     ROMEOVILLE         IL    60446‐5191
KATHLEEN MARGARET MURPHY                        6117 REGENT PARK RD                                                                                 BALTIMORE          MD    21228‐1805
KATHLEEN MARIE HOOVER                           C/O HAMMEN                             2970 W PHEASANT COURT                                        OSHKOSH            WI    54904‐6592
KATHLEEN MARIE MAGUIRE                          4826 DERUSSEY PKWY                                                                                  CHEVY CHASE        MD    20815‐5328
KATHLEEN MARIE NORTON                           525 PEAR STREET                                                                                     SCRANTON           PA    18505‐4047
KATHLEEN MARIE SALLES                           680 MEREDITH AVE                                                                                    GUSTINE            CA    95322‐1829
KATHLEEN MARILYN WILSON & MARSHA GAIL WILSON    4435 N DURANT WAY                                                                                   FRESNO             CA    93705‐1415
JT TEN
KATHLEEN MARION LADWIG                          FORCHENWALD STRASSE 37                 71364 WINNENDEN                            GERMANY
KATHLEEN MARY BECKETT                           25 5TH AVE 4‐F                                                                                      NY                 NY    10003‐4309
KATHLEEN MARY DUFFY                             788 HEATHER LANE                                                                                    BARTLETT           IL    60103‐5746
KATHLEEN MARY HOOS                              60 GARDENIA DR                                                                                      HANOVER            PA    17331‐3454
KATHLEEN MARY MC GUIRE                          4428 SPENCER RD                                                                                     MOUNT STERLING     KY    40353‐9044
KATHLEEN MARY MCCARTHY & BRIDGET CARROLL        3414 EDGEWOOD DR                                                                                    ANN ARBOR          MI    48104‐5226
PFEIFFER JT TEN
KATHLEEN MARY MIHAL                             1319 HORNBAKE DR                                                                                    CLAIRTON           PA    15025‐2707
KATHLEEN MARY SMITH                             17661 ROLLING WOODS DR                                                                              NORTHVILLE         MI    48167‐1893
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 517 of 855
Name                                          Address1                               Address2             Address3          Address4          City           State Zip

KATHLEEN MAY BALLARD                          18051 IDYLWILD RD                                                                               LOS GATOS      CA    95033‐8859
KATHLEEN MAYER                                8331 WOODCLIFF                                                                                  SELMA          TX    78154‐3335
KATHLEEN MAYER                                30962 CLINTON DR                                                                                BAY VILLAGE    OH    44140‐1528
KATHLEEN MC CARTY                             39 CONCORD DR                                                                                   BUFFALO        NY    14215‐1905
KATHLEEN MC CORMACK                           138 MOLLY PITCHER WAY                                                                           DETTFORD       NJ    08096‐6868
KATHLEEN MC GAUGHY                            3131 WOLCOTT                                                                                    FLINT          MI    48504‐3257
KATHLEEN MC GINLEY                            950 COBBS ST                                                                                    DREXEL HILL    PA    19026‐1709
KATHLEEN MC JONES                             8321 ROCK RIFFLE ROAD                                                                           ATHENS         OH    45701
KATHLEEN MCDONALD                             28 MANSION RD                                                                                   DUNBARTON      NH    03045‐4606
KATHLEEN MCGINTY                              237 OWENWOOD DR                                                                                 LINCOLN        PA    19352‐9139
                                                                                                                                              UNIVERSITY
KATHLEEN MCGONIGLE                            1 STONEGATE LANE                                                                                MIDDLEBORO     MA    02346
KATHLEEN MCGREE BRENDUM                       408 FOSTER ST                                                                                   RIVER FALLS    WI    54022‐2912
KATHLEEN MCMENAMY & KEITH B MCMENAMY JT TEN   1405 CARMELLE DRIVE                                                                             FORT MYERS     FL    33919‐6912

KATHLEEN MCQUARY                              5311 S LAKESHORE DR                                                                             SHREVEPORT     LA    71109‐1809
KATHLEEN MEADOR                               PO BOX 722                             WICKIFFE                                                 WICKLIFFE      OH    44092
KATHLEEN MERRITT                              PO BOX 531                                                                                      WARRENTON      OR    97146‐0531
KATHLEEN MESNER & DANIEL L MESNER JT TEN      1639 LONGFELLOW                                                                                 CANTON         MI    48187‐2924
KATHLEEN MESSMAN                              W7398 MALL LANE                                                                                 MEDFORD        WI    54451
KATHLEEN METTLER                              6357 N UNION ROAD                                                                               CLAYTON        OH    45315‐9753
KATHLEEN MILLER                               PO BOX 281                                                                                      AUSTINBURG     OH    44010‐0281
KATHLEEN MILLER                               PO BOX 281                                                                                      AUSTINBURG     OH    44010‐0281
KATHLEEN MINGER                               5281 COBBLEGATE DRIVE APT F                                                                     DAYTON         OH    45439‐6133
KATHLEEN MITZNER                              18685 NORTH OAK COURT                                                                           CLINTON        MI    48038‐2095
KATHLEEN MOLESA                               1855 DELTA                                                                                      TROY           MI    48098‐1245
KATHLEEN MOLESA & JOHN B MOLESA JT TEN        1855 DELTA                                                                                      TROY           MI    48098‐1245
KATHLEEN MOONEY ELLIS                         2529 COOLIDGE HGWY                     APT 41                                                   TROY           MI    48084‐3648
KATHLEEN MORELLI                              148 S CEDAR HOLLOW RD                                                                           PAOLI          PA    19301‐1851
KATHLEEN MOTACKI                              255 NEWARK AVE                                                                                  UNION          NJ    07083‐9227
KATHLEEN MUNARIN                              1816 E COMMERCE AVE                                                                             GILBERT        AZ    85234‐8207
KATHLEEN N CHAPMAN                            36597 DOWLING                                                                                   LIVONIA        MI    48150‐3461
KATHLEEN N JOHNSON                            12462 CHARLANE DR                                                                               BRIGHTON       MI    48114‐8163
KATHLEEN N MAURER & ROGER W MAURER JT TEN     11607 CANTERBURY DR                                                                             STERLING HTS   MI    48312

KATHLEEN N SCOTT                              BOX 88                                                                                          WEST REDDING   CT    06896‐0088
KATHLEEN N TALBOT                             15637 MEWS COURT                                                                                LAUREL         MD    20707‐3309
KATHLEEN NELL                                 201 PINE VALLEY DR                                                                              BEREA          KY    40403‐9544
KATHLEEN NEVINS & THOMAS NEVINS JT TEN        519 BEACH 129TH ST                                                                              BELLE HARBOR   NY    11694‐1518
KATHLEEN NEWMAN JACKS                         3912 S ATCHISON WAY                    UNIT C                                                   AURORA         CO    80014‐5189
KATHLEEN NICHOLSEN CUST ROBERT MARK NICHOLSEN 1631 SW 11TH AVE                                                                                CAPE CORAL     FL    33991‐3321
UGMA NY
KATHLEEN NOTORIANO                            3144 BISHOP RD                                                                                  DRYDEN         MI    48428‐9750
KATHLEEN NUNES & HENRY NUNES JT TEN           1951 THOMAS AVE                                                                                 SANTA FE       NM    87505‐5449
KATHLEEN O ANDERSON CUST AMY E ANDERSON UGMA 1362 N STATE PKWY                                                                                CHICAGO        IL    60610‐6104
IL
KATHLEEN O DOWD                               16430 HUBENAK RD                                                                                NEEDVILLE      TX    77461‐9153
KATHLEEN O DULAC                              14 CUMBERLAND WAY                                                                               SCARBOROUGH    ME    04074‐9526
KATHLEEN O GOFF & HERBERT J GOFF JT TEN       BOX 6173 STONEWALL STATION                                                                      CHARLESTON     WV    25362‐0173
KATHLEEN O KIBBLE                             4660 HORROCKS ST                                                                                PHILADELPHIA   PA    19124‐3117
KATHLEEN O MUCKERMAN & ROBERT F GARZA JT TEN 3 ORCHARD LANE                                                                                   KIRKWOOD       MO    63122‐6918

KATHLEEN O TUMA                               1601 BIG BEND ROAD                                                                              POPLAR BLUFF   MO    63901‐2914
KATHLEEN O VAUGHT CUST ROBERT A VAUGHT UNDER 306 C MCALPIN                                                                                    SAVANNAH       GA    31406
THE GA TRAN MIN ACT
KATHLEEN O VAUGHT CUST WILLIAM W VAUGHT UNDER 306 C MCALPIN                                                                                   SAVANNAH       GA    31406
THE GA TRAN MIN ACT
KATHLEEN O'CONNOR MALONEY                     5325 N FRATUS DR                                                                                TEMPLE CITY    CA    91780‐3119
KATHLEEN OC HARANZO                           2 STAMM ACRES                                                                                   WHEELING       WV    26003‐5551
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 518 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

KATHLEEN OKANE CUST KAITLYN OKANE UTMA IL       501 N WILLE ST                                                                                  MOUNT PROSPECT    IL    60056‐2064

KATHLEEN OLEKSA                                 128 PECAN LANE                                                                                  SALISBURY         NC    28146‐7042
KATHLEEN OLIVER & ROBERT OLIVER JT TEN          208 COLLEGE GROVE CIRCLE                                                                        WINTER HAVEN      FL    33881‐4393
KATHLEEN OSTEMA                                 5529 HAUGHNEY SW                                                                                WYOMING           MI    49548
KATHLEEN P BEAUDRY                              13890 FOREST BEACH                                                                              NORTHPORT         MI    49670
KATHLEEN P BENNETT & TARA G DECKER JT TEN       2960 GRAND CONCOURSE #3A                                                                        BRONX             NY    10458‐1905
KATHLEEN P BEST                                 8017 STRECKER ROAD                                                                              BELLEVUE          OH    44811‐9636
KATHLEEN P BRYANT                               27 BARTLETT ST                                                                                  LEOMINSTER        MA    01453‐2729
KATHLEEN P FITZGERALD                           C/O KATHLEEN P FITZGERALD‐BRYAN        1119 MIDDLETON CT                                        MT PLEASANT       SC    29464‐9006
KATHLEEN P FORLENZA CUST SEAN P FORLENZA UTMA 718 HORSESHOE TRAIL                                                                               FRANKLIN LAKES    NJ    07417‐1531
NJ
KATHLEEN P HENSON EXECUTRIX ESTATE OF CLAYTON A 801 DELLA DR                                                                                    LEXINGTON         KY    40504‐2319
WILLIAMS
KATHLEEN P KEOWN                                4279 CASTLE PINES COURT                                                                         TUCKER            GA    30084‐2604
KATHLEEN P LAWLOR                               37 SUNSET DR                                                                                    RICHBORO          PA    18954‐1835
KATHLEEN P MASON                                539 ARVANA                                                                                      HOUSTON           TX    77034‐2110
KATHLEEN P MOORE                                2559 PADUCAH ST                                                                                 FLINT             MI    48504‐7728
KATHLEEN P POOLE                                4717 OSSIAN HILL RD                                                                             DANSVILLE         NY    14437‐9117
KATHLEEN P ROBERTS                              31426 MADISON                                                                                   MADISON HEIGHTS   MI    48071‐1032

KATHLEEN P ROCKWELL                             RR 3 BOX 342                                                                                    TROY              PA    16947
KATHLEEN P RUSH                                 8202 MAPLE HILL RD                                                                              HOWARD CITY       MI    49329‐9560
KATHLEEN P SGRULLONI                            40 S RHODA ST                                                                                   TEWKSBURY         MA    01876‐3225
KATHLEEN P SWANN EX EST FRANCIS P CONNOLY       445 ONODAGA ST                                                                                  LEWISTON          NY    14092
KATHLEEN PALUMBO                                155 RIVER LANE                                                                                  NEW MILFORD       NJ    07646‐3110
KATHLEEN PARADIS                                C/O KATHIE P ZAUMSEIL                  24623 VOLTERRA CT                                        LUTZ              FL    33559‐7362
KATHLEEN PATRICIA GETZ                          5245 FEDORA                                                                                     TROY              MI    48098‐4013
KATHLEEN PATRICIA SHANNON                       12 FRANKLIN ST                                                                                  WILLISTON PK      NY    11596‐1124
KATHLEEN PELKEY & JOHN PELKEY JT TEN            1461 RING RD                                                                                    CALUMET CITY      IL    60409‐5459
KATHLEEN PENNINGTON                             202 17TH ST                                                                                     BEDFORD HEIGHTS   IN    47421‐3417

KATHLEEN PERRY                                  345 LENNOX AVE                                                                                  COLUMBUS          OH    43228‐1134
KATHLEEN PHILLIPS ALLYN                         907 KRALL ST                                                                                    BOISE             ID    83712‐7440
KATHLEEN PRATT                                  4251 LAPEER RD                                                                                  BURTON            MI    48509‐1805
KATHLEEN QUIN MATEDERO                          864 LEONARD DR                                                                                  WESTBURY          NY    11590‐1414
KATHLEEN R ALBERT                               711 ASHFORD ROAD                                                                                WILMINGTON        DE    19803
KATHLEEN R BAKER                                983 GAINEY AVE                                                                                  FLINT             MI    48503‐3124
KATHLEEN R BASAMANIA                            3344 JURA DR                                                                                    FAYETTEVILLE      NC    28303‐5132
KATHLEEN R BOND                                 3136 MARKBREIT AVE                                                                              CINCINNATI        OH    45209‐1730
KATHLEEN R BUSCHMAN & MARGARET T RUGHAASE JT    851 SE 4TH AVE                                                                                  POMPANO BEACH     FL    33060‐8806
TEN
KATHLEEN R CAHILL                               50 LONGMEADOW DRIVE                                                                             LOWELL            MA    01852‐3235
KATHLEEN R CAIN                                 8111 WHILELEYSBURY RD                                                                           HARRINGTON        DE    19952‐3715
KATHLEEN R CARROLL                              10263 TIMBERLINE DR                                                                             BATON ROUGE       LA    70809‐3240
KATHLEEN R COBB                                 6271 RUSSIA RD                                                                                  SOUTH AMHERST     OH    44001‐3029
KATHLEEN R CREEDEN                              3166 DECATUR AVE                                                                                BRONX             NY    10467
KATHLEEN R CULP & RICHARD BRUCE CULP JT TEN     310 NORWOOD AVE                                                                                 SATELLITE BCH     FL    32937

KATHLEEN R DIETRICH                             9 WAYLAND DR                                                                                    VERONA            NJ    07044‐2330
KATHLEEN R DUDEK                                1508 WAYNE ST                                                                                   SANDUSKY          OH    44870‐3533
KATHLEEN R ECHLIN & PATRICK ECHLIN JT TEN       19177 NEGAUNEE                                                                                  REDFORD           MI    48240‐1637
KATHLEEN R EISENHOUR                            3053 DON PANCHO WAY                                                                             SAN DIEGO         CA    92173‐1201
KATHLEEN R FARBOTTO                             22 WEST 236 BUSCH                                                                               GLEN ELLYN        IL    60137
KATHLEEN R GLEASON                              43 HUNTER                                                                                       IRVINE            CA    92620‐3359
KATHLEEN R HANNA                                1 QUININE HILL                                                                                  COLUMBIA          SC    29204‐3414
KATHLEEN R JANECEK                              C/O MRS K J URBANO                     462 GRAND AVE                                            WEST TRENTON      NJ    08628‐2915
KATHLEEN R KUSCH                                213 TURNBERRY PLACE DR                                                                          BALLWIN           MO    63011‐2082
KATHLEEN R MC ADAMS                             3803 WHIPPOORWILL LAKE S DR                                                                     MONROVIA          IN    46157‐9134
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 519 of 855
Name                                             Address1                              Address2               Address3        Address4          City               State Zip

KATHLEEN R MILLER                                2811 S 72ND ST                                                                                 WEST ALLIS         WI    53219‐2959
KATHLEEN R MORSE                                 2861 HIGHPOINT LN                                                                              CUYAHOGA FALLS     OH    44223‐1120
KATHLEEN R OLESKY                                7810 SW 48TH CT                                                                                MIAMI              FL    33143‐6131
KATHLEEN R PARKER & ROBERT J SKARTVED JT TEN     86 DAWSON AVE                                                                                  MANSFIELD          OH    44906‐3202

KATHLEEN R SIENA                                 15 SIMONE TERRACE                                                                              WEBSTER            NY    14580‐2250
KATHLEEN R SKOTCHER                              1124 KENOSHA DR                                                                                KERNERSVILLE       NC    27284‐9509
KATHLEEN R STELLY                                113 HANTSPORT SQ                                                                               LAFAYETTE          LA    70508‐6465
KATHLEEN R SZUREK                                5536 SOUTH NATCHEZ                                                                             CHICAGO            IL    60638
KATHLEEN R TAYLOR                                17610 VFW RD                                                                                   STAUNTON           IL    62088
KATHLEEN RAE GREENE                              PO BOX 763                                                                                     HARROGATE          TN    37752‐0763
KATHLEEN RAWLS                                   1851 LAUREL OAK DR                                                                             FLINT              MI    48507‐2253
KATHLEEN REDFERN                                 601 SHOREWOOD DR #304                                                                          CAPE CANAVERAL     FL    32920‐5042
KATHLEEN REEM                                    4547 QUARTON RD                                                                                BLOOMFIELD HILLS   MI    48301‐1124

KATHLEEN RIBAUDO CUST ALISON RIBAUDO UGMA NY     25 IMPERIAL PARK                                                                               CHESTER            NY    10918‐1019

KATHLEEN RIBAUDO CUST ALISON RIBAUDO UTMA NY     25 IMPERIAL PARK                                                                               CHESTER            NY    10918‐1019

KATHLEEN RIBAUDO CUST CHRISTOPHER RIBAUDO        25 IMPERIAL PARK                                                                               CHESTER            NY    10918‐1019
UTMA NY
KATHLEEN RIBAUDO CUST JOSEPH RIBAUDO UGMA NY     25 IMPERIAL PARK                                                                               CHESTER            NY    10918‐1019

KATHLEEN RIBAUDO CUST STEFANI RIBAUDO UGMA NY 25 IMPERIAL PARK                                                                                  CHESTER            NY    10918‐1019

KATHLEEN RIBAUDO CUST STEFANI RIBAUDO UTMA NY    25 IMPERIAL PARK                                                                               CHESTER            NY    10918‐1019

KATHLEEN RICH                                    6018 BOULDER DR                                                                                ANDERSON           IN    46013‐3766
KATHLEEN ROUT                                    836 HUNTINGTON RD                                                                              E LANSING          MI    48823‐4122
KATHLEEN RUDDICK                                 1320 N CHERRY ST                                                                               RUSHVILLE          IN    46173
KATHLEEN RUFF                                    753 ABBINGTON CT                                                                               HOWELL             MI    48843
KATHLEEN RUTH MURRAY                             C/O KATHLEEN RUTH CONLIN              1607 COLUMBUS AVENUE                                     SANDUSKY           OH    44870‐3543
KATHLEEN RUTTER ZIMNY                            5412 YOSEMITE TRL                                                                              KNOXVILLE          TN    37909‐1847
KATHLEEN RYAN PIACENTINE                         10 BUELL LN EXT                                                                                EAST HAMPTON       NY    11937‐3202
KATHLEEN S BAILEY                                24447 MELODY LANE                                                                              WARREN             MI    48089‐4742
KATHLEEN S BERGER                                8522 CONNAROE RD                                                                               INDIANAPOLIS       IN    46278‐1216
KATHLEEN S BORATYN                               PO BOX 692                                                                                     CHASSELL           MI    49916‐0692
KATHLEEN S BOYD MARSH                            332 AVAWAM DR                                                                                  RICHMOND           KY    40475‐9193
KATHLEEN S CAPPELLINO                            1302 WEST AJO WAY #172                TUSON                                                    TUCSON             AZ    85713
KATHLEEN S CHRIST                                2730 MOOSEWOOD DR                                                                              WATERFORD          MI    48329
KATHLEEN S GANNON                                701 S DICKENSON AVE                                                                            STERLING           VA    20164‐3323
KATHLEEN S GUIDONE                               620 NORTH NICKELPLATE                                                                          LOUISVILLE         OH    44641‐2464
KATHLEEN S HEMMING                               17441 FOUNDERS MILL DR                                                                         DERWOOD            MD    20855‐2509
KATHLEEN S HERZING                               122 PEPPY SAN CT                                                                               WASHOE VALLEY      NV    89704‐9647
KATHLEEN S HODGKISS                              PO BOX 838                                                                                     BOYNE CITY         MI    49712‐0838
KATHLEEN S KARNBACH                              200 MEADOWS DR                                                                                 DOVER              DE    19904‐1900
KATHLEEN S KESSLER                               6220 NORTHWOOD DR                                                                              CARMEL             IN    46033‐9759
KATHLEEN S KOGA                                  4048 N E 115TH ST                                                                              SEATTLE            WA    98125‐5817
KATHLEEN S KRZEWINSKI                            399 STERLING CIRCLE                                                                            BEREA              OH    44017‐2322
KATHLEEN S LYNCH KAPTAIN                         413 RIDGE RD                                                                                   HAMDEN             CT    06517‐2942
KATHLEEN S MACNAMARA & CAROLE M POPE JT TEN      1801 BISCAYNE AVE                                                                              SOUTH DAYTONA      FL    32119‐2013

KATHLEEN S ORTIZ                                3514 MOUNTAIN VIEW                                                                              LONGMONT           CO    80503‐2160
KATHLEEN S ORZINO & QUERINO A ORZINO JT TEN     129 CRESCENT PL                                                                                 ITHACA             NY    14850‐5914
KATHLEEN S PALAZZO                              3410 NORA ST PO BOX 2                                                                           CLARK              PA    16113‐0002
KATHLEEN S PARZYNSKI                            3113 ALEXANDRIAS DR                                                                             SANDUSKY           OH    44870‐5992
KATHLEEN S POPE                                 375 WOODLAND AVE                                                                                BUENA VISTA        VA    24416‐3617
KATHLEEN S SANFORD & ROBERT PACE SANFORD JT TEN 7073 DESMOND                                                                                    WATERFORD          MI    48329‐2811
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 520 of 855
Name                                           Address1                             Address2                Address3       Address4          City             State Zip

KATHLEEN S SCHUTTE                               5102 25TH AVENUE CT                APT 302                                                  MOLINE           IL    61265‐5059
KATHLEEN S SCOTT                                 9941 SUTHERBY RD                                                                            SAINT HELEN      MI    48656‐9520
KATHLEEN S SEELEY                                2282 W LABRIEGO DR                                                                          TUCSON           AZ    85741‐3137
KATHLEEN S SHACKLEFORD                           135 GRACEWOOD DRIVE                                                                         CENTERVILLE      OH    45458‐2504
KATHLEEN S SLOCOMB                               2715 WARWICK DR                                                                             CORINTH          TX    76210‐6489
KATHLEEN S SPALA                                 ATTN KATHLEEN T D'AMICO            12519 KNOLLBROOK LANE                                    HUDSON           FL    34669‐2724
KATHLEEN S SVENDSON                              202 WHITCOMB RD                                                                             LAFAYETTE        LA    70503‐3626
KATHLEEN S VIVIANO                               52579 COVECREEK DR                                                                          MACOMB TWP       MI    48042‐2951
KATHLEEN S WARD                                  PO BOX 115                                                                                  JERICHO          VT    05465
KATHLEEN S WEBBER                                31 GIDEON RD                                                                                SEBRING          FL    33870‐6855
KATHLEEN S WELLS                                 110 37TH AVE PL NW                                                                          HICKORY          NC    28601‐8072
KATHLEEN S WHITLEY                               6257 WEST WASHINGTON STREET                                                                 LA GRANGE        NC    28551‐6819
KATHLEEN S WILSON                                9630 MISSION DR                                                                             PLAIN CITY       OH    43064‐9234
KATHLEEN S WRIGHT CUST CHELSEA ANNETTE WRIGHT 705 OAK COVE CT                                                                                FRUIT COVE       FL    32259‐4359
UTMA FL
KATHLEEN S ZUMPFE                                869 COUNTY RD 500                                                                           FRIEND           NE    68359‐2405
KATHLEEN SANDRA BOOTH                            3405 FRANK RD                                                                               RICHMOND         VA    23234‐1856
KATHLEEN SCARANGELLA                             86‐45 ST JAMES AVE 1E                                                                       ELMHURST         NY    11373‐3843
KATHLEEN SCHILLING                               SUITE 119                          24001 MUIRLANDS BLVD                                     EL TORO          CA    92630‐1732
KATHLEEN SCHUBE WOOD                             4697 N 100 E                                                                                ANDERSON         IN    46012‐9384
KATHLEEN SEWA ANDERSON & LUTHER G ANDERSON JT 2815 LONG WINTER LANE                                                                          OAKLAND          MI    48363‐2155
TEN
KATHLEEN SHAW                                    279 W 875 N                                                                                 VALPARAISO       IN    46385‐7958
KATHLEEN SHERMAN DAUG                            KATHLEEN SHERMAN                   2011 MURPHY LAKE ROAD                                    MILLINGTON       MI    48746‐9675
KATHLEEN SHERWOOD CUST BRIAN ALBERT SHERWOOD 2209 MARI LN                                                                                    PETALUMA         CA    94954‐3834
UGMA CA
KATHLEEN SILK                                    202 APOLLO CIR                                                                              BETHPAGE         NY    11714‐6501
KATHLEEN SILK & EDWARD SILK JT TEN               202 APOLLO CIR                                                                              BETHPAGE         NY    11714‐6501
KATHLEEN SLUSHER                                 5303 NODAWAY LN                                                                             SPRING           TX    77379‐8000
KATHLEEN SMITH SZUBIAK & NICHOLAS SZUBIAK JT TEN 371 W PASSAIC AVE                                                                           BLOOMFIELD       NJ    07003‐5521

KATHLEEN SPARKS                                3699 DONATA DR                                                                                CINCINNATI       OH    45251‐5804
KATHLEEN STEGEMAN                              3230 WHITE OAK                                                                                DAYTON           OH    45420‐1536
KATHLEEN STOCKINGER                            2621‐84TH ST #24                                                                              TACOMA           WA    98499‐9024
KATHLEEN STREBB                                30 OCEAN BLVD                                                                                 ATLANTIC         NJ    07716‐1275
                                                                                                                                             HIGHLANDS
KATHLEEN SUE LEMON                               734 NORTH IDAHO ST                                                                          SAN MATEO        CA    94401‐1121
KATHLEEN SUE SMITH                               3061 RIVER OAKS DRIVE                                                                       NORTH LIBERTY    IA    52317‐9696
KATHLEEN SULEK                                   107 PAXTON AVE                                                                              WHEELING         WV    26003‐7418
KATHLEEN SULLIVAN TR UA 09/25/2008 LAPRAD FAMILY C/O K SULLIVAN                     PO BOX 233                                               MALONE           NY    12953
IRREVOCABLE TRUST
KATHLEEN SWADE MAPPAS                            26 DELROSE DR                                                                               MONESSEN          PA   15062‐2330
KATHLEEN SWANSON                                 3187 STRUNK RD                                                                              JAMESTOWN         NY   14701‐9027
KATHLEEN T CONWAY                                22 BEACH 220TH ST                                                                           BREEZY POINT      NY   11697‐1532
KATHLEEN T FINN                                  511 WORCESTER RD                                                                            BARRE             MA   01005‐9008
KATHLEEN T FITZSIMONS                            35‐70 163RD ST                                                                              FLUSHING          NY   11358‐1725
KATHLEEN T GHENT                                 C/O KATHLEEN GHENT ODONOVAN        33 SALEM RD                                              WHITE PLAINS      NY   10603‐1132
KATHLEEN T HEKKER                                2797 PINESBORO DR NE                                                                        GRAND RAPIDS      MI   49525‐3011
KATHLEEN T KANTARIAN                             3113 MAPLEWOOD                                                                              ROYAL OAK         MI   48073‐2325
KATHLEEN T KAZANSKI                              8312 PINNACLE DR                                                                            FRISCO            TX   75034‐6235
KATHLEEN T LINDSAY                               5503 FRENCHMAN CREEK DR                                                                     DURHAM            NC   27713
KATHLEEN T SAYA                                  3190 APPLE CT                                                                               NIAGRA FALLS      NY   14304‐1494
KATHLEEN T SERVAIS                               20169 FAIRWAY DR                                                                            GROSSE POINTE     MI   48236‐2436
                                                                                                                                             WOOD
KATHLEEN T THIBAULT                            169 KINMONT DR                                                                                ROCHESTER         NY   14612‐3352
KATHLEEN T VALENTI                             93 CABOT                                                                                      MASSAPEQUA        NY   11758‐8117
KATHLEEN T WILKINSON                           33755 STATE ROAD 70 E                                                                         MYAKKA CITY       FL   34251‐9483
KATHLEEN TAMULE TOD BARRY SCULTHORPE SUBJECT   5000 N OCEAN BLVD APT 706                                                                     LAUDERDALE BY SEA FL   33308‐2924
TO STA TOD RULES
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 521 of 855
Name                                             Address1                               Address2                   Address3    Address4          City            State Zip

KATHLEEN THORSEN LORENC                          33 PINE RD                                                                                      HOWELL          NJ    07731‐1416
KATHLEEN TOMASIK                                 2511 PINEVIEW NE                                                                                GRAND RAPIDS    MI    49525‐6703
KATHLEEN TOMLINSON                               713 CENTER ST                                                                                   CARTHAGE        IL    62321‐1117
KATHLEEN TUBA & GABOR TUBA JT TEN                15337 CHURCHILL                                                                                 SOUTHGATE       MI    48195‐3287
KATHLEEN TULLY                                   11 STILL POND TERRACE                                                                           WEST NYACK      NY    10994‐1330
KATHLEEN UHRIG                                   157 OVERBROOK DR                                                                                FREEHOLD        NJ    07728‐1526
KATHLEEN V AULT TR UA 03/19/2008 AULT FAMILY     PO BOX 33331                                                                                    N ROYALTON      OH    44133
REVOCABLE TRUST
KATHLEEN V DERLING                               8 KOSTER BLVD #58                                                                               EDISON          NJ    08837‐4213
KATHLEEN V MCKEVITT TR KATHLEEN V MCKEVITT       6299 DOYLE ROAD                                                                                 LAINGSBURG      MI    48848‐9712
LIVING TRUSTUA 03/06/91
KATHLEEN V MICHAELS & ROBERT M MICHAELS JT TEN   402 PONOKA STREET                                                                               SEBASTIAN       FL    32958‐3902

KATHLEEN V MONAHAN                               ATTN KATHLEEN BUCKLEY                  13024 NEW PARKLAND DRIVE                                 HERNDON         VA    20171‐2648
KATHLEEN V PODEWILS                              6817 S 107TH ST                                                                                 FRANKLIN        WI    53132‐1455
KATHLEEN V PODEWILS & JOSEPH G PODEWILS JT TEN   6817 SOUTH 107TH STREET                                                                         FRANKLIN        WI    53132‐1455

KATHLEEN V ZAMARIN                               486 BANYAN TREE LANE                                                                            BUFFALO GROVE   IL    60089‐6600
KATHLEEN VAN DEXTER & DANIEL FURLONG JT TEN      18 EAST TREMONT                                                                                 GLEN FALLS      NY    12801‐4651

KATHLEEN VANHOUTEN                               12493 PETRIE RD                                                                                 SUNFIELD        MI    48890‐9759
KATHLEEN VIGLIOTTI                               634 MONET ACRES ST                                                                              WEST PALM BCH   FL    33410‐3311
KATHLEEN VIRGINIA CALDWELL LIFE TENANT U‐W       1430 E 2ND ST #407                                                                              EDMOND          OK    73034‐5321
CHARLES L CALDWELL
KATHLEEN VON MINDEN                              39 TROTTERS LN                         WESTPORT RR 2 ON                       K0G 1X0 CANADA
KATHLEEN W BOOTH                                 2111 PLAZA DRIVE                                                                                CLIO            MI    48420‐2103
KATHLEEN W CVETKOVICH                            1190 TRAILS EDGE DRIVE                                                                          HUBBARD         OH    44425‐3359
KATHLEEN W OLSEN                                 14640 SAN JUAN TRL                                                                              BROOKFIELD      WI    53005‐3736
KATHLEEN W QUINN                                 2211 SUMMER BREEZE RD                                                                           MISSION         TX    78572‐3271
KATHLEEN W REED                                  1202 N 600 W                                                                                    ANDERSON        IN    46011‐9107
KATHLEEN W TAYLOR TR KATHLEEN W TAYLOR TRUST     5400 VILLAGE CT WAY LANE                                                                        ST LOUIS        MO    63128‐3847
UA 8/10/82
KATHLEEN WALCOTT                                 1957 FEDERAL S W                                                                                WYOMING         MI    49509‐1389
KATHLEEN WALL                                    2 VIRGINIA AVE                                                                                  POMPTON PLNS    NJ    07444‐1844
KATHLEEN WELSH ESSER                             104 RIDGEDALE LN                                                                                PITTSBURGH      PA    15238‐2210
KATHLEEN WENDLING                                1332 CARRIAGE HILL CT                                                                           ASHLAND         OH    44805‐4434
KATHLEEN WILDER                                  52 PARWOOD DRIVE                                                                                CHEEKTOWAGA     NY    14227‐2627
KATHLEEN WILKE                                   38 LEANAPE DRIVE                                                                                PENNSVILLE      NJ    08070‐9632
KATHLEEN WILLIAMS                                167 EL GRANERO WAY                     BOX 14                                                   YUBA CITY       CA    95993‐2113
KATHLEEN WILLIAMSON CARTER                       16108 FANTASIA WAY                                                                              ATHENS          AL    35611
KATHLEEN WOODS                                   1180 WOLF DR                                                                                    BROADVIEW HTS   OH    44147‐1976
KATHLEEN WRIGHT WYATT                            7380 KENILWORTH                                                                                 LAMBERTVILLE    MI    48144‐9541
KATHLEEN Y RAUCH                                 35 EAST FIRST STREET                                                                            COLONIA         NJ    07067
KATHLEEN ZUNG                                    1816 WOODBURN RD                                                                                DURHAM          NC    27705‐5725
KATHLEENE M LANG                                 7987 NEW HAVEN ROAD                                                                             HARRISON        OH    45030‐9738
KATHLENE S LAFEVER                               2000 WINDSOR DR                                                                                 COLUMBIA        TN    38401‐4953
KATHLYN F BARKSDALE TR U‐W‐O AUGUSTUS R          932 MAIN STREET                                                                                 CONYERS         GA    30012
BARKSDALE ITEM III
KATHLYN MC C CUSANO                              310 THORNTON ST                                                                                 HAMDEN          CT    06517‐1326
KATHLYN S GETZ                                   220 E RING FACTORY RD                                                                           BEL AIR         MD    21014‐5563
KATHOLIVE T SCHMAUS                              221 N DALE AVE                                                                                  MT PROSPECT     IL    60056‐2201
KATHREEN S SLANCIK                               1626 N WOODBRIDGE                                                                               SAGINAW         MI    48602‐5173
KATHRENA ORTSTADT GREEN                          390 CAPSTAN DR                                                                                  PLACIDA         FL    33946‐2222
KATHRIENE L WILSON                               1166 MILL VALLEY CT                                                                             OXFORD          MI    48371‐6051
KATHRIN WALLACE                                  1188 MARQUETTE AVE                                                                              MUSKEGON        MI    49442‐1352
KATHRINA L STEEN CUST OLIVIA P STEEN UTMA KS     200 HIGH MAPLE CT                                                                               HOLLY SPRINGS   NC    27540‐8652
KATHRINE DIANE LEWIS                             586 MIDDLETON PL                                                                                GRAYSON         GA    30017‐4053
KATHRINE M FIEDLER TR KATHRINE M FIEDLER TRUST   24426 APPLE ROAD                                                                                WATERFORD       WI    53185‐4823
UA 10/11/00
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 522 of 855
Name                                             Address1                            Address2             Address3          Address4          City              State Zip

KATHRINE ROSE MONIZ                             458 HIGHWAY 1 55 NORTH                                                                        MCDONOUGH         GA    30253
KATHRYN A AGRUSO                                18869 STILL LAKE DR                                                                           JUPITER           FL    33458‐3712
KATHRYN A AHRENS HARMON                         20 ABERDEEN RD                                                                                NATCHEZ           MS    39120‐9395
KATHRYN A ALMY TR UA 09/22/2008 K A ALMY        958 REGAN ROAD                                                                                SOMERSET          MA    02726
REVOCABLE TRUST
KATHRYN A ANDRASKI CUST THOMAS F SEEMEYER II    6515 E HEARN RD                                                                               SCOTTSDALE        AZ    85254‐3327
UGMA WI
KATHRYN A ATKINS & CHARLENE L LAROCK JT TEN     1484 WILLARD RD                                                                               BIRCH RUN         MI    48415‐9469
KATHRYN A BAKKE                                 3904 S AFTON RD                                                                               BELOIT            WI    53511‐8754
KATHRYN A BALAGH & AMY S SIMON JT TEN           30216 SOUTHFIELD RD                  APT 140                                                  SOUTHFIELD        MI    48076
KATHRYN A BARNOW                                9226 MARENPO DR                                                                               CLARKSTON         MI    48348‐3234
KATHRYN A BARTUS                                49 MILE CREEK RD                                                                              OLD LYME          CT    06371‐1710
KATHRYN A BENDER                                12428 KINGSRIDGE                                                                              OKLAHOMA CITY     OK    73170‐4906
KATHRYN A BENDER                                2615 BRUCE ST                                                                                 SAGINAW           MI    48603‐3013
KATHRYN A BROCK                                 1339 E 240 N                                                                                  ANDERSON          IN    46012‐9582
KATHRYN A BURKE                                 2009 DOGWOOD DR                                                                               SCOTCH PLAINS     NJ    07076
KATHRYN A CARDER                                1420 W 4TH ST                                                                                 MARION            IN    46952‐3548
KATHRYN A DAVIS                                 113 RED FOX RUN                                                                               MONTICELLO        FL    32344‐6245
KATHRYN A DELLER                                406 GRAND ISLE DR                                                                             FAIRFIELD BAY     AR    72088‐3932
KATHRYN A DIXON                                 3431 SPRINGDALE DR                                                                            LAMBERTVILLE      MI    48144‐9602
KATHRYN A DOHERTY TR UA 03/22/07 KATHRYN ANN    10133 IRISH RD                                                                                GOODRICH          MI    48438
DOHERTY FAM TRUST
KATHRYN A DORNAN                                2168 MILLSTREAM DRIVE                                                                         WIXON             MI    48393‐1747
KATHRYN A EARP & KRISTINA MARIE CROSS JT TEN    726 TAMARAC DR                                                                                DAVISON           MI    48423‐2829
KATHRYN A FAUGH                                 8190 W BERGEN ROAD                                                                            LEROY             NY    14482‐9332
KATHRYN A FERGUSON                              4039 THE FENW                                                                                 MULBERRY          FL    33860‐7635
KATHRYN A FIDA TR ELISABETH M ROSENGARTEN TRUST 2301 NE 36TH ST                      APT 205                                                  LGHTHSE POINT     FL    33064‐7569
UA 08/04/67
KATHRYN A FLAHERTY                              3296 BENCHWOOD ROAD                                                                           DAYTON            OH    45414‐2704
KATHRYN A FLOM                                  ATTN KATHRYN A BROCK                 1339 E 240 N                                             ANDERSON          IN    46012‐9582
KATHRYN A GRANT                                 701 SUMMIT AVENUE APT 86                                                                      NILES             OH    44446
KATHRYN A GRAY                                  4705 WARREN RD                                                                                CORTLAND          OH    44410‐9707
KATHRYN A GUZOWSKI                              PO BOX 331                                                                                    HARTLAND          MI    48353‐0331
KATHRYN A HALL                                  1500 TURNER ST                                                                                OLD HICKORY       TN    37138‐2749
KATHRYN A HALL                                  4801 JOYCE PLACE                                                                              LIVERPOOL         NY    13090‐6911
KATHRYN A HARNACK                               BOX 112 BLY ST                                                                                FOOTVILLE         WI    53537‐0112
KATHRYN A HARRINGTON                            3230 MIDVALE DR                      APT 3                                                    JANESVILLE        WI    53546‐1193
KATHRYN A KABEL                                 603 ORANGE AVE                                                                                CRANFORD          NJ    07016‐2049
KATHRYN A KANERA & BARBARA A MERRELL JT TEN     4096 PINE GLENN CROSSING                                                                      FLUSHING          MI    48433

KATHRYN A KOHOUT & MARK R KOHOUT JT TEN           5589 HICKORY CR                                                                             FLUSHING          MI    48433
KATHRYN A LANGSTON                                10549 S 77TH‐E AVE                                                                          TULSA             OK    74133‐6810
KATHRYN A LEFFRING                                1442 11 MILE RD                                                                             AUBURN            MI    48611‐9729
KATHRYN A LILLIS                                  18195 AMBERLEY LN                                                                           SOUTH BEND        IN    46637‐4403
KATHRYN A LYNCH                                   521 N CARTER ST                                                                             GENOA CITY        WI    53128‐2153
KATHRYN A MARRA                                   1015 SEAGER                                                                                 COMMERCE TWP      MI    48390‐1264
KATHRYN A MARTIN                                  ATTN KATHRYN A WEHSOLLEK           2302 E 1100 N                                            ALEXANDRIA        IN    46001‐8491
KATHRYN A MC KNIGHT & J DAVID MC KNIGHT JR JT TEN 28449 HALES                                                                                 MADISON HEIGHTS   MI    48071‐2922

KATHRYN A MC KNIGHT & J DAVID MC KNIGHT JT TEN   28449 HALLS                                                                                  MADISON HEIGHTS MI      48071‐2922

KATHRYN A MCCLURE & FRANK MCCLURE TEN ENT        60467 APACHE LANE                                                                            SENECAVILLE       OH    43780‐9755

KATHRYN A MILLIS                                 71 RIVER ST                                                                                  LYNN              MA    01905
KATHRYN A MOORE                                  C/O LINDA I SELLS                   820 LEGARE RD SW                                         AIKEN             SC    29803
KATHRYN A MURPHY & JOHN D MURPHY JT TEN          11219 LOWELL RD                                                                              DEWITT            MI    48820‐9159
KATHRYN A PEARCE                                 951 W ORANGE GROVE RD               APT 59103                                                TUCSON            AZ    85704‐4028
KATHRYN A PFEIFER                                6108 KEY ST # W                                                                              DALLAS            TX    75205‐2248
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 523 of 855
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

KATHRYN A PLISZKA TR UA 09/05/95 KATHRYN A          712 N CATHERINE AVE                                                                             LA GRANGE PARK     IL    60526‐1503
PLISZKA
KATHRYN A ROSSI & ALFRED J ROSSI JT TEN             8806 WILLOW HILLS DRIVE SE                                                                      HUNTSVILLE         AL    35802‐3728
KATHRYN A SAVOY                                     6500 DASPIT RD                                                                                  NEW IBERIA         LA    70563‐8950
KATHRYN A SCHMIDT                                   3836 E WHITTAKER AVE                                                                            CUDAHY             WI    53110‐1245
KATHRYN A SLUITER                                   1351 THAYER ROAD                                                                                ORTONVILLE         MI    48462‐8903
KATHRYN A SMITH                                     3922 THOMAS JEFFERSON ROAD                                                                      LAFAYETTE          IN    47909‐3558
KATHRYN A SMITH                                     310 ELMHILL RD                                                                                  ROCHESTER          MI    48306
KATHRYN A SOVA                                      409 EAST 42ND ST                                                                                PATERSON           NJ    07504‐1222
KATHRYN A STEWART                                   415 E CLARK ST                                                                                  DAVISON            MI    48423‐1820
KATHRYN A TATMAN & MARSHA V GRAY JT TEN             12603 JONES RD                                                                                  HAGERSTOWN         IN    47346‐9768
KATHRYN A TAYLOR                                    2002 WESTMINISTER DR                                                                            ROWLETT            TX    75088‐5923
KATHRYN A TIKOIAN                                   1631 S ST NW APT 304                                                                            WASHINGTON         DC    20009‐6411
KATHRYN A TRAPNELL & BUEL L TRAPNELL JR & K DIANE   39147 N ACADIA WAY                                                                              ANTHEM             AZ    85086‐3770
LEFRANC JT TEN
KATHRYN A TRIPLETT                                  1050 DOOLITTLE LN                                                                               CINCINNATI         OH    45230‐3641
KATHRYN A VELICAN                                   1736 VIENNA ROAD                                                                                NILES              OH    44446‐3537
KATHRYN A WALTNER                                   70 17TH AVE                                                                                     MOUNDRIDGE         KS    67107‐7123
KATHRYN A WHISNER                                   1223 N EDMONDSON AVE                   APT C10                                                  INDIANAPOLIS       IN    46219‐3531
KATHRYN A WIECHEC                                   3864 PEABODY DRIVE                                                                              BLOOMFIELD HILLS   MI    48302‐4034

KATHRYN A WINTERHALTER                              4925 VORHIES RD                                                                                 ANN ARBOR          MI    48105‐9326
KATHRYN A WOLFGANG & JAMES E WOLFGANG III JT        7222 WEST COLDWATER RD                                                                          FLUSHING           MI    48433‐9060
TEN
KATHRYN A YWANIW                                    33 LONE OAK DR                                                                                  CENTERPORT         NY    11721‐1427
KATHRYN ALDRICH KUEBLER                             3743 FREDERICA LANE                                                                             DULUTH             GA    30096‐3111
KATHRYN ANN BEASON TR KATHRYN ANN BEASON            13807 MILLARDS RANCH LN                                                                         POWAY              CA    92064
REVOCABLE TRUST UA 4/12/99
KATHRYN ANN DITZ                                    21331 ABERDEEN RD                                                                               ROCKY RIVER        OH    44116‐1108
KATHRYN ANN FITZPATRICK                             1262 BROOKDALE AVE                                                                              BAY SHORE          NY    11706‐1832
KATHRYN ANN GUENTHER                                163 BERKLEY AVE                                                                                 PASADENA           CA    91107
KATHRYN ANN HANSEL                                  5157 ANDERSON ROAD                                                                              PIERPONT           OH    44082‐9717
KATHRYN ANN HIBSHMAN & JOHN P HIBSHMAN TEN          22 PINEWOOD AVENUE                                                                              LITITZ             PA    17543‐8773
ENT
KATHRYN ANN HUGHES                                  1523 25TH ST                                                                                    WOODWARD           OK    73801‐4117
KATHRYN ANN KOLLMEYER                               4604 OCONNOR COURT                                                                              IRVING             TX    75062‐3781
KATHRYN ANN MICHAUD DAHLIE                          W8210 NORTH RD                                                                                  PHILLIPS           WI    54555‐6649
KATHRYN ANN NUGENT                                  4664 MORNING SIDE DR                                                                            BAY CITY           MI    48706‐2722
KATHRYN ANN O'NEILL                                 16321 LEWIS ST                                                                                  HOUSTON            TX    77040‐2829
KATHRYN ANN PARRY                                   1407 S BALLOU RD                                                                                SPOKANE            WA    99203
KATHRYN ANN SMITH                                   721 GREENWOOD AVE                                                                               WILMETTE           IL    60091‐1747
KATHRYN ANN STATZ                                   205 SANDCREEK DR                                                                                WINNSBORO          SC    29180‐9302
KATHRYN ANNE REILLY                                 1623 MILL CREEK RD                                                                              MANAHAWKIN         NJ    08050‐4317
KATHRYN ARNOLD WRIGHT                               308 S ALEXANDER AVE                                                                             WASHINGTON         GA    30673‐1770
KATHRYN AUGUR FOX JR                                PO BOX 123                                                                                      DOUGLASVILLE       PA    19518‐0123
KATHRYN B BOYLE                                     6643 SHERMAN LK RD                                                                              LINO LAKES         MN    55038‐9628
KATHRYN B CAYSON                                    1202 JEB STUART ST                                                                              TUPELO             MS    38801‐2210
KATHRYN B MATLOCK                                   26 PUCKETT ROAD                                                                                 ROGERS             AR    72756‐8220
KATHRYN B MELDRUM                                   PO BOX 526                                                                                      KEYSTONE HEIGHTS   FL    32656‐0526

KATHRYN BENDER                                      112 HAWTHORNE ST                                                                                NEPTUNE            NJ    07753‐3918
KATHRYN BORLAND CUST THOMAS KENNETH BORLAND         6701 WINDING LAKE DR                                                                            JUPITER            FL    33458‐3720
UTMA FL
KATHRYN BROWN                                       1505 MINTWOOD DR                                                                                MCLEAN             VA    22101‐4114
KATHRYN BUCHMANN                                    9226 MARENPO DR                                                                                 CLARKSTON          MI    48348‐3234
KATHRYN BYERS                                       1418 E 22ND ST                                                                                  CHEYENNE           WY    82001‐4004
KATHRYN C BELL                                      PO BOX 36                                                                                       BERLIN             PA    15530‐0036
KATHRYN C GOODWIN                                   9188 SCHROEDER RD                                                                               LIVE OAK           CA    95953‐9542
KATHRYN C KENNEDY                                   9070 S TROPICAL TRAIL                                                                           MERRITT IS         FL    32952
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 524 of 855
Name                                             Address1                             Address2               Address3        Address4          City              State Zip

KATHRYN C LANCASTER                              7 OLD ENGLISH DR                                                                              CHARLESTON        SC    29407‐6013
KATHRYN C NAREW                                  4461 HELMOND COURT                                                                            TOLEDO            OH    43611‐2035
KATHRYN C NAREW & HAROLD C NAREW JT TEN          4461 HELMOND COURT                                                                            TOLEDO            OH    43611‐2035
KATHRYN C ZOON & ROBERT A ZOON JT TEN            9709 CULVER ST                                                                                KENSINGTON        MD    20895
KATHRYN CARROW                                   121 HENNING DR                                                                                ORCHARD PARK      NY    14127‐2818
KATHRYN CATES                                    1905 HOLLYBRANCH DR                                                                           TYLER             TX    75703‐3317
KATHRYN CHARLOTTE KARDINAL                       66 CANNEY HILL RD                                                                             GILMANTON IW      NH    03837‐4807
KATHRYN COINER                                   BOX 115                                                                                       FORT DEFIANCE     VA    24437‐0115
KATHRYN CROMBIE                                  2725 PARK STREET                                                                              FRANKLIN PARK     IL    60131
KATHRYN D ANDERSON                               1025 W 12TH ST                                                                                FLINT             MI    48507‐1423
KATHRYN D B EVERHART                             5378 ALWARD ROAD                                                                              LAINGSBURG        MI    48848‐9425
KATHRYN D BROWN                                  604 MAIN ST                                                                                   VICTOR            IA    52347
KATHRYN D CARBAJAL                               2220 DEVONSHIRE DRIVE                                                                         OXNARD            CA    93030‐8636
KATHRYN D GRAHAM                                 4211 AVONDALE APT #209C                                                                       DALLAS            TX    75219
KATHRYN D HANNAN                                 25124 BARBARA                                                                                 ROSEVILLE         MI    48066‐3835
KATHRYN D LUISIER                                7701 E JEFFERSON ST                                                                           WAUSAU            WI    54403‐9191
KATHRYN D MC ATEER                               1081 SECI VIEW DRIVE                                                                          SCHWENKSVILLE     PA    19473
KATHRYN DEBORD                                   11711 MEMORIAL DR #262                                                                        HOUSTON           TX    77024‐7258
KATHRYN DEGIUSTI                                 3191 IVY LN                                                                                   GRAND BLANC       MI    48439‐8198
KATHRYN DELANA LOCKRIDGE                         2742 LA SILLA DORADA                                                                          SANTA FE          NM    87505‐6703
KATHRYN DRISCOLL CUST MARGARET L DRISCOLL UTMA BOX 3101                                                                                        KETCHUM           ID    83340‐3101
ID
KATHRYN E ARMPRIESTER                            400 KNECHT DR                                                                                 DAYTON            OH    45405‐2634
KATHRYN E ARRANDALE & WILLIAM G ARRANDALE JT     3600 BROADVIEW LANE                                                                           HIGHLAND          MI    48357‐2002
TEN
KATHRYN E BEDE                                   6225 DENHILL AVE                                                                              BURTON            MI    48519‐1335
KATHRYN E BRIMBLE                                ATTN KATHRYN E FINCK                 7172 SHEPARD MESA RD                                     CARPINTERIA       CA    93013‐3131
KATHRYN E BROCK                                  44876 SEABROOK DRIVE                                                                          CANTON            MI    48188‐3272
KATHRYN E BUTCHER TR KATHRYN E BUTCHER TRUST UA 813 EAST MAIN STREET                                                                           BELLEVUE          OH    44811‐1552
12/29/03
KATHRYN E DODDS                                  1109 NANTUCKET DR                                                                             HOUSTON           TX    77057‐1903
KATHRYN E GEORGE                                 5069 TIMBERWAY TRAIL                                                                          CLARKSTON         MI    48346‐4470
KATHRYN E GROSS                                  354 WOODSTREAM WAY                                                                            NORTH WALES       PA    19454‐1142
KATHRYN E JOHNSON TOD VIRGINIA K JOHNSON         10631 SEAFOOD RD                                                                              HOUSTON           TX    77089
KATHRYN E KELLAR                                 RR #1                                PO BOX 27 COLUMBUS     OSHAWA ON       L1H 7K4 CANADA
KATHRYN E LEE                                    7012 BEST TIMES PATH                                                                          COLUMBIA          MD    21044‐4900
KATHRYN E MACVEY & CURTIS MACVEY JT TEN          218 SE 10TH                                                                                   ANKENY            IA    50021‐3521
KATHRYN E MILAM                                  34311 PARKGROVE                                                                               WESTLAND          MI    48185‐1457
KATHRYN E PARKS TOD KAREN K PARKS SUBJECT TO STA 155 WRENWOOD COURT                                                                            ENGLEWOOD         OH    45322‐2352
TOD RULES
KATHRYN E PRICHARD                               28101 ELMDALE                                                                                 ST CLAIR SHORES   MI    48081‐1482
KATHRYN E RHINEHART                              2808 N ROSSWOOD DR                                                                            MOBILE            AL    36606‐4904
KATHRYN E RIDDER                                 53 N CHURCH ST                                                                                KEYSER            WV    26726‐3528
KATHRYN E RIES                                   1661 GUILFORD RD                                                                              COLUMBUS          OH    43221‐3852
KATHRYN E RYAN                                   5157 JACKSON                                                                                  OMAHA             NE    68106‐1367
KATHRYN E SCHUBECK                               42700 LITTLE RIVER AIRPORT ROAD                                                               LITTLE RIVER      CA    95456‐9615
KATHRYN E SHARP                                  851 S E 22ND AVENUE                                                                           POMPANO BEACH     FL    33062‐6740
KATHRYN E SHIMER                                 1117 MANOR RD                                                                                 COATESVILLE       PA    19320‐1308
KATHRYN E STRELECKI                              64 ROSE STREET                                                                                METUCHEN          NJ    08840‐2349
KATHRYN E TARTER                                 7021 PINEHURST LN                                                                             ROCKFORD          MI    49341‐9686
KATHRYN E TAYLOR & JENNIFER KAY COPP JT TEN      1681 OLD BLACK                       HORSE PIKE             CHEWS LANDING                     BLACKWOOD         NJ    08012
KATHRYN E WURSTER                                1864 OLDE BUCKINGHAM RD                                                                       HAMPTON           VA    23669‐1917
KATHRYN EAGLE & DAVID ROARK JT TEN               468 LAKEWOOD DR                                                                               WINTER PARK       FL    32789‐3985
KATHRYN EICHELBERGER                             BOX 36                                                                                        NINETY SIX        SC    29666‐0036
KATHRYN ELAINE THORPE                            27 RICHARD PINSONNAULT LANE                                                                   NORTH ATTLEBORO   MA    02760

KATHRYN ELIZABETH CADE                           120 CHURCH ST                                                                                 NEWTON            MA    02458‐2004
KATHRYN ELLIS & DONALD J DOTSON JT TEN           191 W CRAIG DR                                                                                CHICAGO HTS       IL    60411
KATHRYN EVENSON                                  12140 SUNRISE CT                                                                              INDIANAPOLIS      IN    46229‐9740
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                         Part 4 of 8 Pg 525 of 855
Name                                              Address1                                Address2                    Address3     Address4          City              State Zip

KATHRYN F BRIAN                                   824 W KIVA                                                                                         MESA              AZ    85210‐6747
KATHRYN F ELLISON                                 C/O BARNAS                              16231 WETHERBY ST                                          BEVERLY HILLS     MI    48025‐5560
KATHRYN F GALLAGHER                               1599 LAUREL DR                          CINNAMON LAKE               U I BOX 12                     WEST SALEM        OH    44287‐0012
KATHRYN F MEAGHER                                 6 HILLCREST CR                                                                                     HONESDALE         PA    18431‐1442
KATHRYN F PRYOR                                   501 STOCKLEY ST                                                                                    REHOBOTH BEACH    DE    19971‐1845

KATHRYN F RUDYANSK                                25 SYCAMORE AVE                                                                                    LINVINGSTON       NJ    07039‐4702
KATHRYN F SULLENS                                 1427 GARDEN DR                                                                                     LONGVIEW          TX    75603‐6875
KATHRYN FARMER HUNTER                             261 HILDRED DR                                                                                     BURLINGTON        VT    05401‐3694
KATHRYN FELD                                      30 WHISPERING HILLS RD                                                                             ANNANDALE         NJ    08801‐3402
KATHRYN G GERLACH                                 821 ZINNIA LANE                                                                                    PLANTATION        FL    33317‐1342
KATHRYN G JONES                                   30390 SEVEN OAKS DRIVE                                                                             LACOMBE           LA    70445‐2900
KATHRYN G KAY                                     21301 KAHLER                                                                                       WILLINGTON        IL    60481‐8861
KATHRYN G REPIK                                   4790 W 102ND AVE                                                                                   WESTMINSTER       CO    80031‐2316
KATHRYN G SCHMIDT                                 PO BOX 1643                                                                                        READING           PA    19603‐1643
KATHRYN G TEBBE                                   771 AUTUMN WINDS DR                                                                                COLLIERVILLE      TN    38017‐1369
KATHRYN G TEBBE & MICHAEL J TEBBE JT TEN          771 AUTUMN WINDS DR                                                                                COLLIERVILLE      TN    38017‐1369
KATHRYN GALE FINLEY‐PRICE                         2191 EAST LAKE ROAD                                                                                ATLANTA           GA    30307‐1831
KATHRYN GEISER                                    28203 FELICIAN                                                                                     ROSEVILLE         MI    48066
KATHRYN GOELZ ARNOLD                              8 SAN DIEGO RD                                                                                     PONTE VEDRA BCH   FL    32082‐1814

KATHRYN GOLTZ STOLLER                             2820 WINDPUMP RD                                                                                   FORT WAYNE        IN    46804‐2578
KATHRYN GRACE KEEFE & K GRACE OREILLEY JT TEN     18216 MARCELLA RD                                                                                  CLEVELAND         OH    44119‐2620

KATHRYN GRAVES ESHLEMAN TR KATHRYN GRAVES         15978 GRANDVIEW AVE                                                                                MONTE SERENO      CA    95030‐3118
ESHLEMAN UA 07/28/76
KATHRYN GRUTER                                    2542 E 26 ST                                                                                       BROOKLYN          NY    11235‐2418
KATHRYN H BRAMWELL CUST ALEXANDER BRAMWELL        3380 DIABLO SHADOW DR                                                                              WALNUT CREEK      CA    94598‐3610
UTMA CA
KATHRYN H BRIGGS & MRS DIANA KAY CARLSON JT TEN   8530 WALDEN WOODS WAY                                                                              GRANITE BAY       CA    95746

KATHRYN H CHEATHAM                                38530 CRIMM ROAD                                                                                   SCIO              OH    43988‐9764
KATHRYN H GREENE                                  9342 WILLITS RD                                                                                    MAYVILLE          MI    48744‐9391
KATHRYN H HEDGE                                   2148 LEIBY OSBORNE RD                                                                              SOUTHINGTON       OH    44470‐9510
KATHRYN H HEEP                                    APT E‐12‐D                              1905 N ATLANTIC BLVD                                       FT LAUDERDALE     FL    33305‐3747
KATHRYN H HUTCHISON                               763 BISON DR                                                                                       HOUSTON           TX    77079‐4432
KATHRYN H JENKINS                                 1000 CRAB POINT RD                                                                                 WHITE STONE       VA    22578‐2408
KATHRYN H JONES                                   461 SUTCLIFFE PL                                                                                   WALNUT CREEK      CA    94598‐3923
KATHRYN H KENDLE                                  6680 PAXTON                                                                                        LOVELAND          OH    45140‐8171
KATHRYN H MACKEY                                  APT 11C                                 315 AVENUE C                                               NEW YORK          NY    10009‐1612
KATHRYN H ONEAL                                   1426 BRENDA RD                                                                                     CHATTANOOGA       TN    37415‐3716
KATHRYN H POWELL                                  4199 BRUNSWICK RD                                                                                  BLACKSTONE        VA    23824‐5202
KATHRYN H ROUNDS                                  452 RIDGECREST RD NE                                                                               ATLANTA           GA    30307‐1858
KATHRYN H SCHOTT                                  125 GREEN TREE LN                                                                                  ROCHESTER         NY    14606‐4568
KATHRYN H STOTTLEMYER                             2471 N 350 W                                                                                       ANDERSON          IN    46011‐8772
KATHRYN H WILLIAMS                                261 SWEET BAY PLACE                                                                                CARRBORO          NC    27510‐2377
KATHRYN HARCUS                                    3140 PATE POND RD                                                                                  CARYVILLE         FL    32427‐2748
KATHRYN HART                                      4867 RITTENHOUSE DR                                                                                DAYTON            OH    45424‐4360
KATHRYN HAWLEY‐HERZOG & LAWRENCE F HERZOG JT      1127 DEVONSHIRE                                                                                    GROSSE POINTE     MI    48230‐1418
TEN                                                                                                                                                  PARK
KATHRYN HENDRA                                    1653 WALNUT RIDGE CIR                                                                              CANTON            MI    48187‐3743
KATHRYN HENGST FRASIER & JOHN P FRASIER JT TEN    C/O MRS LEONE ROUSE                     3113 STATE ROAD 580 LOT 7                                  SAFETY HARBOR     FL    34695‐5902

KATHRYN HILT ALLEN                                405 S HYATT ST                                                                                     TIPP CITY         OH    45371‐1220
KATHRYN HINCH                                     2401 SHEELAH CRT                                                                                   KETTERING         OH    45420‐1127
KATHRYN HOLDEN                                    3800 UNIVERSITY AVE                                                                                MADISON           WI    53705‐2145
KATHRYN HORNBY                                    N1284 CLUNE RD                                                                                     KAUKAUNA          WI    54130‐8211
KATHRYN HOWARD                                    874 TOWNSHIP RD #462                                                                               NOVA              OH    44859
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 526 of 855
Name                                            Address1                            Address2             Address3          Address4          City             State Zip

KATHRYN HOWLETT APPLEBY CUST KATHRYN THERESE    2700 POTRERO ROAD                                                                            THOUSAND OAKS    CA    91361‐5029
APPLEBY UTMA CA
KATHRYN HUNT                                    1087 TINKERHILL LN                                                                           MALVERN          PA    19355
KATHRYN HYATT SPRITZ                            133 EDGEWOOD RD                                                                              RUTHERFORDTON    NC    28139‐6806
KATHRYN I DENT & NORMAN DENT JT TEN             2414 POLLOCK RD                                                                              GRAND BLANC      MI    48439‐8332
KATHRYN I FOUKS & MARGARET J GRISZ‐DOW JT TEN   507 N SPRING AVE                                                                             LA GRANGE PK     IL    60526

KATHRYN I ROYSTER                               6105 WESTOVER RD                                                                             WEST PALM BC     FL    33417‐5534
KATHRYN I TOOHIG                                SIXTY SUTTON PLACE SOUTH                                                                     NEW YORK         NY    10022‐4168
KATHRYN J BURT                                  1428 MERLE AVE                                                                               BURTON           MI    48509‐2177
KATHRYN J COX                                   121 NORTHLAND ST                                                                             FISHERS          IN    46038‐1148
KATHRYN J DAY                                   1509 VISTA RIDGE DR                                                                          MIAMISBURG       OH    45342‐3258
KATHRYN J GILMORE                               2934 MOUNT HOPE RD                  APT 107                                                  OKEMOS           MI    48864‐1957
KATHRYN J HAMILTON                              176 MAPLE AVE                                                                                DAYTON           OH    45459‐4538
KATHRYN J JOHNSON CUST KRISTIN J JOHNSON UGMA   48800 NORTH VIEW DR                                                                          PALM DESERT      CA    92260
MI
KATHRYN J KARVALIS                              1002 FLORIDA GROVE ROAD                                                                      PERTH AMBOY       NJ   08861‐1515
KATHRYN J KEELY                                 12059 TORREY RD                                                                              FENTON            MI   48430‐9702
KATHRYN J KEY                                   611 E 3RD ST                                                                                 GRANDVIEW         WA   98930‐1314
KATHRYN J LATHAM                                600 SUNNY HILL TERRACE                                                                       RIVER VALE        NJ   07675‐5918
KATHRYN J LOKOS                                 9115 PIERCE MASSIE RD                                                                        SAN ANTONIO       TX   78266‐2641
KATHRYN J NEWSON EX EST FRANK L NEWSON          417 E SPRUCE ST                                                                              TITUSVILLE        PA   16354
KATHRYN J PADULA                                2325 EL DORADO SE                                                                            EAST GRAND RAPIDS MI   49506‐3537

KATHRYN J PAGE                                 33843 SWAN DR                                                                                 STERLING HTS     MI    48312‐6735
KATHRYN J PHILLIPS                             7531 AUGUST                                                                                   WESTLAND         MI    48185‐2585
KATHRYN J PHILLIPS & GUY W ROZAR JT TEN        7531 AUGUST                                                                                   WESTLAND         MI    48185‐2585
KATHRYN J SLADE                                20904 TORRE DEL LAGO ST                                                                       ESTERO           FL    33928‐6409
KATHRYN JACOBS HAWN                            3508 BROOKSIDE DR                                                                             HARRISBURG       PA    17109‐1117
KATHRYN JANE ANGERAMO                          25 HARVARD ST                                                                                 FAIRHAVEN        MA    02719‐1815
KATHRYN JANE COWART                            700 SILAS ST                                                                                  SWEETWATER       TX    79556‐3322
KATHRYN JANE PARSONS & DAN PARSONS JT TEN      614 S PINE AVE                                                                                ROSWELL          NM    88203‐1413
KATHRYN JEAN CUTHBERTSON                       4006 N HARMON AVE                                                                             PEORIA           IL    61614‐6635
KATHRYN JOANNA SANDERS                         7845 NTH CO RD 400 W                                                                          MIDDLETOWN       IN    47356
KATHRYN JOHNS SWARTZ                           966 W HOLIDAY DRIVE                                                                           WASILLA          AK    99654
KATHRYN K BLACKSHERE                           4936 MYRTLE AVE                                                                               WARREN           OH    44483‐1330
KATHRYN K CAMPBELL                             2942 BROOKFIELD RD                                                                            LANCASTER        PA    17601
KATHRYN K GOBLE CUST KIM ELEANOR GOBLE UGMA IN 3501 NATIONAL ROAD W                                                                          RICHMOND         IN    47374‐4417

KATHRYN K JOHNSON                               1440 S WABASH AVE                   APT 303                                                  CHICAGO          IL    60605‐2898
KATHRYN K RIDER                                 3004 OCTAGON AVE                                                                             SINKING SPRING   PA    19608‐1020
KATHRYN K TAYLOR                                144 HIGH RD                                                                                  HAMILTON         MT    59840
KATHRYN KARDAS JELINEK                          RURAL ROUTE 2060                                                                             GREAT FALLS      MT    59401
KATHRYN KERESTES & GLENWOOD F KERESTES JT TEN   752 TEPEE TRAIL                                                                              BILLINGS         MT    59105‐2736

KATHRYN KIRBY HEWETT                            501 OAK AVE                         APT 94                                                   WAYNESBORO       VA    22980‐4460
KATHRYN KNUTSON COX                             4940 THOROUGHBRED LANE                                                                       SOUTHWEST        FL    33330‐2401
                                                                                                                                             RANCHES
KATHRYN KREULEN                                 3651 DUXBURY LN                                                                              LANSING          MI    48906‐9201
KATHRYN L BEIER                                 4533 NETTLE CREEK CT                                                                         PORT ORANGE      FL    32127‐9208
KATHRYN L BROWN                                 3132 BRERETON CT                                                                             HUNTINGTON       WV    25705‐3820
KATHRYN L BURNITE                               817 W 32ND ST                                                                                WILMINGTON       DE    19802‐2505
KATHRYN L BURT                                  ATTN KATHRYN BURT LOWE              635 LINK DR                                              ATTICA           MI    48412
KATHRYN L CHISEFSKY                             10034 OLD FREDERICK TER                                                                      FREDERICK        MD    21701‐1946
KATHRYN L COBB                                  23 LAKE LINNET PL                   WINNIPEG MB                            R3T 4N2 CANADA
KATHRYN L DE VIEW                               629 ROLLING HILLS LN                                                                         LAPEER           MI    48446‐2881
KATHRYN L DEERHAKE                              351 SENTINEL OAK DR                                                                          DAYTON           OH    45458‐4074
KATHRYN L DEGONIA                               105 HORSESHOE DR                                                                             KIRKWOOD         MO    63122‐3731
KATHRYN L DUNN                                  78 HUNTINGTON CT                                                                             HAMBURG          NY    14075‐5243
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                                                      Part 4 of 8 Pg 527 of 855
Name                                              Address1                             Address2                           Address3                     Address4          City               State Zip

KATHRYN L FENNELL                                 64 THOMPSON ST                       APT 13                                                                            NEW YORK           NY    10012‐4316
KATHRYN L FRANO                                   8265 MAPLEVALE DR                                                                                                      CANFIELD           OH    44406‐8707
KATHRYN L GEORGE                                  4122 N KEYSTONE AVE                                                                                                    CHICAGO            IL    60641‐2436
KATHRYN L HAMMOND CUST TIMOTHY A HAMMOND          7 MEADOWVIEW LN                                                                                                        NORWICH            CT    06360‐1521
UGMA CT
KATHRYN L HOLLAND                                 3886 HUNT RD                                                                                                           LAPEER             MI    48446‐2976
KATHRYN L KNUEVEN                                 5507 LIBERTY WOODS DR                                                                                                  HAMILTON           OH    45011‐8425
KATHRYN L KOLBE                                   172 CAMERON STATION BLVD                                                                                               ALEXANDRIA         VA    22304
KATHRYN L KUSE                                    4470 TURNEY RD DN                                                                                                      CLEVELAND          OH    44105‐6735
KATHRYN L MACKLIN TOD DONALD I MACKLIN &          PO BOX 402                                                                                                             BERRIEN SPRGS      MI    49103‐0402
PATRICIA A PARKER
KATHRYN L MC LAUGHLIN                             9685 MULBERRY CT                                                                                                       FREELAND           MI    48623‐8635
KATHRYN L MURRELL                                 1621 18TH ST                                                                                                           SAN FRANCISCO      CA    94107‐2378
KATHRYN L NOVAK                                   C/O PHILLIP RANNEY                   SCHNEIDER SMELTZ RANNEY & LAFOND   1111 SUPERIOR AVE STE 1000                     CLEVELAND          OH    44114‐2568

KATHRYN L ORSULAK                                 2113 SURREY LN                                                                                                         BOSSIER CITY       LA    71111‐5536
KATHRYN L OWEN                                    20722 E RIVER ROAD                                                                                                     GROSSE ILE         MI    48138‐1180
KATHRYN L PIENIOZEK                               8092 N STANDISH                                                                                                        BENTLEY            MI    48613‐8600
KATHRYN L PRESTON                                 3910 CHESLEY AVE                                                                                                       BALTIMORE          MD    21206
KATHRYN L STURM                                   6370 SNOWFLAKE LANE                  MISSISSAUGA ON                                                  L5N 6H1 CANADA
KATHRYN L THOMPSON                                7506 KENLEA AVE                                                                                                        BALTIMORE          MD    21236‐4320
KATHRYN L TOWALSKI TR KATHRYN L TOWALSKI LIVING   19665 IRONWOOD CT                                                                                                      NORTHVILLE         MI    48167‐2514
TRUST UA 09/10/01
KATHRYN L UTTER                                   754 CAIN LAKE ROAD                                                                                                     SEDRO WOOLLEY      WA    98284‐9506
KATHRYN L WEST                                    581 WEST LINFIELD ROAD                                                                                                 LINFIELD           PA    19468
KATHRYN LAZZARA                                   17128 HARE ROAD                                                                                                        MINOOKA            IL    60447‐9788
KATHRYN LEE VAN STYN                              347 COMPTON RD                                                                                                         CINCINNATI         OH    45215‐4145
KATHRYN LOUISE CHILDERS                           8975 RIO LINDA BLVD                                                                                                    ELVERTA            CA    95626‐9556
KATHRYN LOUISE HELWIG                             1101 9TH ST NE                                                                                                         AUSTIN             MN    55912‐3616
KATHRYN LYNN WIEGAND                              ATTN KATHRYN W DRISCOLL              PO BOX 3101                                                                       KETCHUM            ID    83340‐3101
KATHRYN M ALLEN                                   212 S MAIN STREET                                                                                                      PENNINGTON         NJ    08534‐2825
KATHRYN M AUSTIN                                  64725 COUNTY ROAD 378                                                                                                  BANGOR             MI    49013‐9404
KATHRYN M BASONE                                  2400 BRENTHAVEN DRIVE                                                                                                  BLOOMFIELD HILLS   MI    48304‐1438

KATHRYN M BETZING                                 1821 S VAN EPS                                                                                                         SIOUX FALLS        SD    57105‐3237
KATHRYN M BUTCH                                   2036 FELICIA AVE                                                                                                       YOUNGSTOWN         OH    44504
KATHRYN M CLEARY                                  8432 PENELOPE AVE                                                                                                      MIDDLE VLG         NY    11379‐2444
KATHRYN M COAKLEY & JOSEPH M COAKLEY JT TEN       3039 LAKEWOOD ALLENWOOD RD                                                                                             HOWELL             NJ    07731‐8668

KATHRYN M CONGLETON                               2606 HENDERSON AVE                                                                                                     SILVER SPRING      MD    20902‐2062
KATHRYN M CURRY                                   2430 HARTLAND RD                                                                                                       GASPORT            NY    14067‐9436
KATHRYN M DUNN & LAWRENCE M DUNN TR UA            315 LOGAN CIR                                                                                                          WOODSTOCK          VA    22664
05/19/2008 KATHRYN M DUNN TRUST
KATHRYN M EGAN                                    ATTN KATHRYN E MORRIS                3308 ASHMORE CT                                                                   OLNEY              MD    20832‐2530
KATHRYN M FISCHER                                 33 WEST ST                                                                                                             NEWTOWN            CT    06470‐2040
KATHRYN M FLOOD                                   5991 OLD STILESBORO RD                                                                                                 ACWORTH            GA    30101
KATHRYN M FRANK & SCOTT D FRANK JT TEN            911 SMITH ST                                                                                                           EAST TAWAS         MI    48730‐9603
KATHRYN M HAUDENSCHILD                            832 TANGLEWOOD DR N                                                                                                    MANSFIELD          OH    44906‐1729
KATHRYN M HEMBREE                                 388 MONTROSE AVE                                                                                                       AKRON              OH    44310‐3862
KATHRYN M HILGEMEN                                1520 CEDARWOOD DR                    APT 336                                                                           FLUSHING           MI    48433‐1865
KATHRYN M HODER                                   13191 RIPLEY RD                                                                                                        LINDEN             MI    48451‐9417
KATHRYN M KEEL                                    ATTN KATHRYN M OATTEN                3406 SHERWOOD                                                                     SAGINAW            MI    48603‐2062
KATHRYN M KNOOP                                   75809 SANCTUARY DR                                                                                                     ROMEO              MI    48065
KATHRYN M KOZIOL A MINOR                          19230 FORD RD                        APT 618                                                                           DEARBORN           MI    48128
KATHRYN M KUMMEROW                                ATTN KATHRYN M BENDER                W1882 COUNTY RD CI                                                                HELENVILLE         WI    53137‐9604
KATHRYN M MENTON FOLSOM                           15 ISABELL AVE                                                                                                         HOLBROOK           MA    02343‐1019
KATHRYN M NICHOLS                                 2503 FOREST SPRINGS DR SE                                                                                              WARREN             OH    44484‐5616
KATHRYN M OBRIEN                                  31 57TH N ST                                                                                                           SAINT PETERSBURG   FL    33710‐7927
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 528 of 855
Name                                             Address1                             Address2                Address3       Address4          City               State Zip

KATHRYN M PANGLE TR KATHRYN M PANGLE REV TRUST 5509 N SEYMOUR RD                                                                               FLUSHING           MI    48433‐1036
UA 10/16/02
KATHRYN M PROVOST                              7 KEMP AVENUE                                                                                   MONTPELIER         VT    05602‐3641
KATHRYN M REED                                 723 LAKENGREN DR                                                                                EATON              OH    45320
KATHRYN M SCHREIBER                            474 LAKE ROAD                                                                                   WEBSTER            NY    14580
KATHRYN M SMITH                                103 CLEARFIELD DRIVE                                                                            BRENTWOOD          TN    37027‐7923
KATHRYN M STOSIUS TR UA 08/30/82 M‐B KATHRYN M 17408 GULF BLVD                        303                                                      REDINGTON SHRS     FL    33708‐1308
STOSIUS
KATHRYN M TARASKI                              5597 HUMMER LAKE RD                                                                             OXFORD TWP         MI    48371‐2813
KATHRYN M TINSLEY                              6779 LOPER DRIVE                                                                                PLYMOUTH           MI    48170‐5802
KATHRYN M TINSLEY & JAMES S TINSLEY JT TEN     6779 LOPER DRIVE                                                                                PLYMOUTH           MI    48170‐5802
KATHRYN M TRACY                                12381 HOOKER RD                                                                                 HONOR              MI    49640‐9706
KATHRYN M VARGO                                1111 CANOPY TRL                                                                                 WEBSTER            NY    14580‐8580
KATHRYN M WHITEHEAD                            101 SHILOH PL                                                                                   WARNER ROBINS      GA    31088‐6254
KATHRYN M WISE                                 44 CHARLOU CIRCLE                                                                               ENGLEWOOD          CO    80111
KATHRYN M WOHNOUTKA                            20131 CABLE BROOK LN                                                                            KATY               TX    77449
KATHRYN M WOOD                                 20484 INDIAN                                                                                    REDFORD            MI    48240‐1208
KATHRYN MARIE BASONE & MICHAEL ANTHONY         2400 BRENTHAVEN DRIVE                                                                           BLOOMFIELD HILLS   MI    48304‐1438
BASONE JT TEN
KATHRYN MARIE WHEELIHAN                        C/O MRS KATHRYN MARIE KRAUSE           10505 W PINE RIDGE RD                                    GREENFIELD         WI    53228‐3236
KATHRYN MARIE YOUNG                            8448 GAUNTLET PLACE                                                                             WHITE PLAINS       MD    20695‐3437
KATHRYN MARIE ZENNER                           4S714 KARNS RD                                                                                  NAPERVILLE         IL    60563‐1507
KATHRYN MARJORIE KOZMA                         2115 KENTUCKY AVE                                                                               FLINT              MI    48506‐3775
KATHRYN MARY PODLESAK                          2502 VALLEY DR                                                                                  ALEXANDERIA        VA    22302‐2841
KATHRYN MC ARTOR                               1510 DALE ST                                                                                    AKRON              OH    44313‐6416
KATHRYN MC COY RAGLAND                         4560 SOURDOUGH                                                                                  BOZEMAN            MT    59715‐8040
KATHRYN MCTAGUE                                918 WASHINGTON ST                                                                               CAPE MAY           NJ    08204‐1654
KATHRYN MELSON                                 1202 DEL NORTE                                                                                  HOUSTON            TX    77018‐1306
KATHRYN MENDENHALL DANIELS                     18500 MIDLAND DR                                                                                SHAWNEE            KS    66218‐9509
KATHRYN MOMPIER                                112 HWY ES                                                                                      EAST TROY          WI    53120
KATHRYN MOSER                                  724 CASTLEWOOD RD                                                                               GLENSIDE           PA    19038‐4308
KATHRYN N AMMON                                104 LELA LN                                                                                     SCHAUMBURG         IL    60193‐1340
KATHRYN O CONNELL & MARY M GREGORIO TEN ENT    27 WEST MILL RD                                                                                 FLOURTOWN          PA    19031‐1201

KATHRYN O DINLEY                                 220 PATRICIA DR                                                                               ELLWOOD CITY       PA    16117‐1437
KATHRYN O FISHER & BERNARD J FISHER TEN ENT      128 BERRY RD                         CROSSAN POINTE                                           WILMINGTON         DE    19808‐3616
KATHRYN O HAIG TR KATHRYN O HAIG 1997 TRUST UA   1565 FAIRCOURT ST                                                                             GROSSE POINTE      MI    48236‐2352
11/21/97
KATHRYN O PROHODA                                6403 GREGORY COURT                                                                            SPRINGFIELD        VA    22152
KATHRYN P CONLIN                                 593 MULL AVE                                                                                  AKRON              OH    44313‐7568
KATHRYN P DAVIDSON                               1330 ORLEANS ST                                                                               MANDEVILLE         LA    70448
KATHRYN P NORRIS                                 31 FERNWOOD DRIVE                                                                             WINDSOR LOCKS      CT    06096‐1455
KATHRYN PAUL & ANDREA PAUL JT TEN                8881 COLOGNE                                                                                  STERLING HEIGHTS   MI    48314‐1641

KATHRYN PENALE                                   3201 SENECA AVE                                                                               NIAGARA FALLS      NY    14305‐3340
KATHRYN POTTS & BRIAN POTTS JT TEN               8535 MANASSAS RD                                                                              TAMPA              FL    33635‐1601
KATHRYN R AKERS                                  2106 HILTON DRIVE                                                                             BURBANK            CA    91504
KATHRYN R BARRETT TOD MATTHEW J BARRETT          P O BOX 90                                                                                    BROOKHAVEN         MS    39602
SUBJECT TO STA TOD RULES
KATHRYN R GRAYBEHL                               7368 BRIZA LOOP                                                                               SAN RAMON          CA    94583‐5071
KATHRYN R JOHNSON                                1305 N HARRISON ST                   CONDO 205                                                WILMINGTON         DE    19806‐3111
KATHRYN R LUPLOW                                 20903 33RD AVE S E                                                                            BOTHELL            WA    98021‐3528
KATHRYN R MC KAY                                 46 WOODSTONE SQUARE                                                                           AUSTIN             TX    78703‐1164
KATHRYN R NORMAN                                 2825 CHARNWOOD DR                                                                             TROY               MI    48098‐2112
KATHRYN R PUTNAM                                 1424 ROSSDALE                                                                                 WATERFORD          MI    48328‐4771
KATHRYN R SCHEURER                               223 MICHAELS RIDGE BLVD                                                                       JOHNSON CITY       TN    37615‐4492
KATHRYN R SWANTON                                11449 N BELSAY RD                                                                             CLIO               MI    48420‐9756
KATHRYN R WHITMORE                               223 MICHAEL'S RIDGE BLVD                                                                      JOHNSON CITY       TN    37615‐4492
KATHRYN RAYIAS                                   604 SURRY AVE                                                                                 WILMINGTON         DE    19804‐2204
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 529 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

KATHRYN RIEPMA                                    PO BOX 190                                                                                    IRETON          IA    51027‐0190
KATHRYN ROLLER                                    408 EAST FIFTH                                                                                RUSHVILLE       IN    46173‐1628
KATHRYN ROSENFELD                                 237 SCANTIC RD                                                                                EAST WINDSOR    CT    06088‐9755
KATHRYN ROWLEY                                    394 N MAIN ST                                                                                 MADISON         GA    30650‐1326
KATHRYN S ANDERSEN                                2565 CHARLESTOWN ROAD                                                                         PHOENIXVILLE    PA    19460‐2870
KATHRYN S CLAUS                                   118 WILLOWBROOK BLVD                                                                          LEWISBURG       PA    17837‐8301
KATHRYN S DELPH                                   4226 REFLECTIONS PKWY                                                                         SARASOTA        FL    34233‐1458
KATHRYN S HOFFMAN                                 C/O KATHY BLECKMAN                   300 FOX CHAPEL RD    APT 607           PITTSBURG         PITTSBURGH      PA    15238
KATHRYN S KASTNER & KATHRYN J WELLFORD JT TEN     513 PRINCE GEORGE STREET                                                                      LAUREL          MD    20707‐4246

KATHRYN S KAUFMAN                                 720 OLD MILL RD                      APT D4                                                   READING         PA    19610‐2652
KATHRYN S MACDOUGALL                              1510 E 133RD ST                                                                               GRANDVIEW       MO    64030‐3041
KATHRYN S MEYER                                   222 TACOMA AVE                                                                                BUFFALO         NY    14216
KATHRYN S MINNEWEATHER                            7000 CONCORD CT                                                                               FOREST HILL     TX    76140‐1906
KATHRYN S MOODY                                   5666 FREEWALD BLVD                                                                            MILLINGTON      MI    48746‐9412
KATHRYN S PEARSON                                 153 DOGWOOD LN                                                                                NEWVILLE        PA    17241‐8777
KATHRYN S WOJCIK                                  96 LARSEN DRIVE                                                                               WEST ILFORD     NJ    07480‐4304
KATHRYN SANDERS                                   590 OAK ST                                                                                    LAGUNA BEACH    CA    92651‐2900
KATHRYN SANTILLI & PAUL SANTILLI JT TEN           54 WESTVIEW TERRACE                                                                           WESTWOOD        MA    02090‐2827
KATHRYN SARA ROOSE                                333 CENTRAL PARK W                   APT 94                                                   NEW YORK        NY    10025‐7106
KATHRYN SCHANTZ                                   5106 REITZ RD                                                                                 RED CREEK       NY    13143
KATHRYN SIMPSON                                   3525 DEEP GRASS LN                                                                            HOUSTON         DE    19954‐2438
KATHRYN SITKO                                     PO BOX 186                                                                                    GAINES          MI    48436‐0186
KATHRYN SMITH CUST JENNIFER SMITH UTMA CO         7783 S LOUTHAN STREET                                                                         LITTLETON       CO    80120
KATHRYN SOKIRA                                    211 CHURCH ST                                                                                 GRAYSVILLE      AL    35073
KATHRYN SPILMAN HEFFLER                           4391 SHADY BEND                                                                               DALLAS          TX    75244‐7448
KATHRYN STEVENS                                   C/O KATHRYN STEVENS LUJAN            811 AMAPOLA AVE #5                                       TORRANCE        CA    90501
KATHRYN STRINGER METCALF & MARY METCALF POLK 2700 RIVER OAKS DR                                                                                 MONROE          LA    71201‐2024
JT TEN
KATHRYN SULTZER                                   3636 NORTH LAYMAN                                                                             INDIANAPOLIS    IN    46218‐1848
KATHRYN T BLACKBURN                               23 BREMEN CIRCLE                                                                              PENFIELD        NY    14526‐1517
KATHRYN T FITZGERALD & JOSEPH D FITZGERALD JT TEN 5 PROGRESS ST                                                                                 WEYMOUTH        MA    02188‐1214

KATHRYN T HARRIMAN                                2961 GREEN CREST COURT                                                                        FITCHBURG       WI    53711
KATHRYN T KNAPP                                   14 ARLYNE DR                                                                                  SOMERVILLE      NJ    08876‐1442
KATHRYN T MAYNARD                                 504 UPPER HINES CREEK                                                                         RICHMOND        KY    40475‐8969
KATHRYN T TORIGIAN & JOSEPH P TORIGIAN JT TEN     961 SHENANDOAH CT                                                                             CLAWSON         MI    48017‐1037

KATHRYN THIERSCH                                  1825 TURTLE HILL RD                                                                           DELTONA         FL    32725‐2419
KATHRYN THIERSCH TR UA 12/05/77 KATHRYN           1825 TURTLE HILL RD                                                                           DELTONA         FL    32725‐2419
THIERSCH TR
KATHRYN TORGERSON & LARRY TORGERSON JT TEN        2013 BAYVIEW PL                                                                               INDIAN SHORES   FL    33785‐2939

KATHRYN TRUETT                                    9317 MOSS TRAIL                                                                               DALLAS          TX    75231‐1409
KATHRYN V BURNS                                   701 W PENNSYLVANIA AVE                                                                        URBANA          IL    61801‐4820
KATHRYN V PITZSCHLER & ROBERT B PITZSCHLER JT TEN 4 LAUREL RIDGE                                                                                BEACON FALLS    CT    06403

KATHRYN V SAMMONS                                 5049 W CARPENTER RD                                                                           FLINT           MI    48504‐1053
KATHRYN V SIMONETT                                14925 OSTRUM TRAIL                                                                            MARINE ON ST    MN    55047‐9602
                                                                                                                                                CROIX
KATHRYN V SIMPSON                                 3525 DEEP GRASS LN                                                                            HOUSTON         DE    19954‐2438
KATHRYN V SULLIVAN                                PO BOX 278                                                                                    DRESHER         PA    19025‐0278
KATHRYN W BLEWETT & RICHARD C BLEWETT JT TEN      2437 DAVIS ST                                                                                 FENTON          MI    48430‐8852

KATHRYN W DRISCOLL & JOHN J DRISCOLL JT TEN      PO BOX 3101                                                                                    KETCHUM         ID    83340‐3101
KATHRYN W DRISCOLL CUST PETER P DRISCOLL UTMA ID BOX 3101                                                                                       KETCHUM         ID    83340‐3101

KATHRYN W GRAY                                    819 SIESTA CV                                                                                 LEXINGTON       KY    40502‐3124
KATHRYN W HARTMAN                                 2534 WALNUT ST                                                                                ALLENTOWN       PA    18104‐6241
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 530 of 855
Name                                            Address1                               Address2             Address3          Address4          City               State Zip

KATHRYN W MC PHEE                               C/O JOHN S MCPHEE                      599 NE 101 STREET                                        MIAMI SHORES       FL    33138‐2450
KATHRYN W ULSETH                                234 SAWYER ST                                                                                   GRAND BLANC        MI    48439‐1345
KATHRYN WADSWORTH                               ATTN KATHRYN W NEWCOMB                 3481 OLD MILL RD                                         HIGHLAND PARK      IL    60035‐1008
KATHRYN WALKER & GERALD H WALKER JT TEN         2356 EDWARDS                                                                                    GRAND BLANC        MI    48439‐5056
KATHRYN WATSON FETT                             1910 7TH AVE                                                                                    CANYON             TX    79015‐4602
KATHRYN WILLERS                                 1500 BISHOP ESTATES RD 27B                                                                      SAINT JOHNS        FL    32259‐4250
KATHRYN WILLEY AREHART                          5486 W 900 N                                                                                    FRANKTON           IN    46044‐9695
KATHRYN WILSON                                  405 VERNON DR                                                                                   ELDON              MO    65026‐2247
KATHRYN WOLFF                                   1969 COUNTRY CLUB DR                                                                            GROSSE POINTE      MI    48236‐1603
                                                                                                                                                WOOD
KATHRYN YOUNG‐CONNORS & TIMOTHY J CONNORS JT 3344 DORCHESTER                                                                                    SHAKER HEIGHTS     OH    44120‐3415
TEN
KATHRYN Z GARNES & FREDERICK L GARNES JT TEN 3949 LAKE SHORE DR                                                                                 PALM HARBOR        FL    34684‐4210

KATHRYN Z KLABER                                335 GRANT ST                                                                                    SEWICKLEY          PA    15143‐1215
KATHRYN ZEELAND                                 753 JAMES STREET APT 908                                                                        SYRACUSE           NY    13203‐2182
KATHRYNE L BARR                                 34 APPALOOSA WAY                                                                                WRIGHT CITY        MO    63390‐3700
KATHRYNE M SHIRLEY                              207 KISSANE AVE                                                                                 BRIGHTON           MI    48116‐1855
                                                                                                                                                TOWNSHIP
KATHY A ADAMS                                   8930 RUSH RD                                                                                    ORIENT             OH    43146‐9703
KATHY A ALLEN                                   2018 MAGNOLIA STR SE                                                                            DECATUR            AL    35601
KATHY A BAEHR CUST ALYCIA K BAEHR UTMA AL       727 W CAMINO DEL ORO                                                                            TUCSON             AZ    85704‐4721
KATHY A BARRETT                                 63 EMS T4 LN                                                                                    NORTH WEBSTER      IN    46555‐9384
KATHY A BERK‐BERMAN CUST JULIETTE T BERMAN      962 PEARTREE LANE                                                                               WHEELING           IL    60090‐5721
UTMA IL
KATHY A BERRY                                   7219 W KIMBERLY WAY                                                                             GLENDALE           AZ    85308‐5858
KATHY A BROOKINS & LEANDER BROOKINS JT TEN      507 TAYLOR ROAD                                                                                 SANDUSKY           OH    44870‐8342
KATHY A CANNONE                                 14 CHERRY RUN RD                                                                                MONROEVILLE        NJ    08343‐2831
KATHY A DICKINSON                               455 PENN NW                                                                                     WARREN             OH    44485‐2712
KATHY A FITTS                                   7164 W MARLETTE AVE                                                                             GLENDALE           AZ    85303‐3941
KATHY A HARNISCHFEGER                           8620 WALUTES CI                                                                                 ALEXANDRIA         VA    22309‐4109
KATHY A HELLENBRAND                             4000 FRANCIS ST                                                                                 STEVENS POINT      WI    54481‐5211
KATHY A HULEC                                   11198 VALLEY VIEW RD                                                                            SAGAMORE HLS       OH    44067
KATHY A JONES                                   1364 SYLVANDELL DRIVE                                                                           PITTSBURGH         PA    15243‐1740
KATHY A KENT                                    7509 RIDGE RD W                                                                                 BROCKPORT          NY    14420‐9429
KATHY A KORENICH                                666 GAUTHIER DR                        TECUMSEH ON                            N8N 3P8 CANADA
KATHY A LOFTIN                                  126 TIFFANY DRIVE                                                                               BRANDON            MS    39042‐8896
KATHY A MASTIN                                  23226 WILLSON AVE                                                                               DEARBORN           MI    48128‐1755
KATHY A MC CORMICK & ANTHONY B MC CORMICK JT    140 OVERBROOK LN                                                                                MARLTON            NJ    08053‐4019
TEN
KATHY A OLPINSKI CUST MATTHEW ROBERT OLPINSKI   137 KENWOOD AVE                                                                                 SOUTH PLAINFIELD   NJ    07080‐4738
UTMA MD
KATHY A POCZATEK                                2821 N ORCHARD ST                                                                               CHICAGO            IL    60657‐5213
KATHY A SAMPLE                                  2433 WADE ST                                                                                    INDIANAPOLIS       IN    46203‐4545
KATHY A SANDER                                  82‐18 SURREY PLACE                                                                              JAMAICA            NY    11432‐1437
KATHY A SANTO & THOMAS D SANTO JT TEN           31238 GLOEDE                                                                                    WARREN             MI    48093‐2068
KATHY A SCOBIE                                  7455 BEAMER ROAD                                                                                BLISSIFLED         MI    49228‐4000
KATHY A SUNDLAND                                2318 BARNSBURY ROAD                                                                             EAST LANSING       MI    48823‐7783
KATHY A ULRICH                                  PO BOX #95                                                                                      FRANKLINTOWN       PA    17323‐0095
KATHY A WILLIAMSON                              32422 BIRCHWOOD                                                                                 WESTLAND           MI    48186‐5251
KATHY A WINSLEY                                 1015 GARDING CROSSING LANE                                                                      CUMMING            GA    30040
KATHY A WOODRING                                11230 BIRCH RUN RD                                                                              BIRCH RUN          MI    48415‐9480
KATHY ANN CARLSEN                               1108 PARKSIDE CIRCLE                                                                            LAWRENCE           KS    66049‐3400
KATHY ANN FIGEL                                 1605 1ST ST                            APT B                                                    SIMI VALLEY        CA    93065
KATHY ANN RUSSELL                               184 2ND ST                                                                                      HERMOSA BEACH      CA    90254‐5118
KATHY ANN SMITH‐WHITE                           534 COMPASSION DRIVE                                                                            MARTINSBURG        WV    25405
KATHY AXTELL                                    13329 S TRAVER LANE                                                                             VALLEYFORD         WA    99036‐9521
KATHY BAEHR & DAVID BAEHR JT TEN                727 W CAMINO DEL ORO                                                                            TUCSON             AZ    85704‐4721
KATHY BECK CUST KIMBERLY BECK UTMA CT           42 RODGERS RD                                                                                   FAIRFIELD          CT    06824
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 531 of 855
Name                                            Address1                            Address2             Address3          Address4          City               State Zip

KATHY BEIMERS                                   1511 BRIDGE ST NW                   APT 451                                                  GRAND RAPIDS       MI    49504‐1707
KATHY BENEDICT                                  1531‐53ST                                                                                    BROOKLYN           NY    11219‐3961
KATHY BRANDT                                    2085 CHALYVATE ROAD                 SMITH GROVE                                              SMITHS GROVE       KY    42171
KATHY C AKERS                                   5709 GLENHAVEN DR                                                                            ROANOKE            VA    24019
KATHY C HELMICK & JAMES B HELMICK JR JT TEN     755 WARNER RD                                                                                VIENNA             OH    44473‐9720
KATHY C WALLACE                                 1320 KINGS CARRIAGE ROAD                                                                     GRAND BLANC        MI    48439‐8785
KATHY C YOUNG                                   227 PALM DR                                                                                  EL SEGUNDA         CA    90245
KATHY CARFLEY                                   390 ALLEGHENY RD                                                                             DARIEN             NY    14040‐9606
KATHY CRAMER HELMICK                            767 WARNER RD                                                                                VIENNA             OH    44473‐9720
KATHY CROSS                                     4256 QUAKER DRIVE                                                                            SUFFOLK            VA    23437‐9698
KATHY D ARGY                                    2135 GLENWOOD AVE                                                                            TOLEDO             OH    43620‐1511
KATHY D CASE                                    300 CAMBER CT                                                                                BRANDON            MS    39047‐7048
KATHY D CODY                                    103 DEER TRL                                                                                 BRANDON            MS    39042‐8418
KATHY D ELAM                                    3166 BRANCH CT                                                                               WIXOM              MI    48393‐1200
KATHY D MARK CUST JESSICA L MARK UTMA IN        601 ALABAMA CT                                                                               MARION             IN    46953‐1051
KATHY D MARK CUST STEVEN T CARMACK JR UTMA IN   601 ALABAMA CT                                                                               MARION             IN    46953‐1051

KATHY D MCCARL                                  37117 PINE MEADOWS LN                                                                        UMATILLA           FL    32784‐8350
KATHY D NOLEN                                   PO BOX 5913                                                                                  PASADENA           TX    77508‐5913
KATHY D SHILLINGBURG                            2554 25TH ST SW                                                                              AKRON              OH    44314‐1638
KATHY D VESPRINI                                14786 MADISON COURT                                                                          SHELBY TWP         MI    48315
KATHY DALE KNIGHT                               1923 S 500 W                                                                                 RUSSIAVILLE        IN    46979‐9441
KATHY DEMBEYIOTIS                               13 GROVEWOOD LN                                                                              ROCHESTER          NY    14624‐4775
KATHY E CAUDELL                                 10095 E ATHERTON ROAD                                                                        DAVISON            MI    48423‐8704
KATHY E ERNST                                   8908 INDEPENDENCE                                                                            STERLING HEIGHTS   MI    48313‐4019

KATHY E HINCK                                   5932 YAHN RD                                                                                 FARMINGTON         NY    14425‐9577
KATHY E JACKSON                                 515 WHITE WILLOW DR                                                                          FLINT              MI    48506‐4579
KATHY E THORNTON                                22 EASTMORELAND                                                                              DECATUR            IL    62521
KATHY EKSTROM                                   4621 S BAYPORT PL                                                                            TUCSON             AZ    85730‐5021
KATHY F KANUSZEWSKI                             3040 DIXIE COURT                                                                             SAGINAW            MI    48601‐5904
KATHY F MOSHER                                  3829 HOLLY AVE                                                                               FLINT              MI    48506‐3108
KATHY F SCHECK                                  C/O KATHY F IRISH                   62765 38TH ST                                            PAW PAW            MI    49079‐9228
KATHY FARRER & GREG FARRER JT TEN               2184W 300S                                                                                   SHELBYVILLE        IN    46176‐9674
KATHY FIELDS                                    1635 SHILOH SPRINGS RD                                                                       DAYTON             OH    45426‐2019
KATHY FLETCHER                                  ATTN KATHY CHAMBERS                 340 ETHELROB CIR                                         CARLISLE           OH    45005‐4295
KATHY FLETCHER CHAMBERS                         340 ETHELROB CIR                                                                             CARLISLE           OH    45005‐4295
KATHY FORSBERG                                  7510 ROXBURY AVE                                                                             MANASSAS           VA    20109‐3041
KATHY G HUNSICKER                               3375 MAHONING RD                                                                             LAKE MILTON        OH    44429‐9402
KATHY G MONGIARDO                               BOX 230                                                                                      BULAN              KY    41722‐0230
KATHY G WILSON                                  2349 LEXINGTON AVENUE                                                                        MANSFIELD          OH    44907‐3029
KATHY GIBSTINE CONNERS                          5178 LE DUC LN                                                                               CASTLE ROCK        CO    80108‐8855
KATHY H HAJDUK                                  2822 TAMERACK DRIVE                                                                          SHARPSVILLE        PA    16150‐8547
KATHY H JOHNSON                                 7650 RAGLAN                                                                                  WARREN             OH    44484‐1484
KATHY HALPERN LEVIN CUST MATTHEW STUART LEVIN   6307 LILAC CT                                                                                UPPER GWYNEDD      PA    19446‐7630
UTMA PA
KATHY HALPERN LEVIN CUST PETER JOSHUA LEVIN     6307 LILAC CT                                                                                UPPER GWYNEDD      PA    19446‐7630
UTMA PA
KATHY HAMMOND                                   685 PROVIDENCE MAIN ST NW           APT 307                                                  HUNTSVILLE         AL    35806‐2660
KATHY HATLEY                                    2049 KELTON AVE                                                                              LOS ANGELES        CA    90025‐5703
KATHY HOAG                                      802 PARKLAND CIR SE                                                                          ALBUQUERQUE        NM    87108‐3321
KATHY HOEKSTRA                                  359 MEADOW LN                                                                                BROOKLYN           MI    49230‐8002
KATHY HOSZKIW CUST BRITTNEY HOSZKIW UGMA MI     4910 SPRINGPORT RD                                                                           JACKSON            MI    49201‐7127

KATHY HURLEY                                    39 QUAIL MEADOW RD                                                                           PLACITAS           NM    87043‐8826
KATHY I JOHNSON                                 1186 OAKWOOD CT                                                                              ROCHESTER HLS      MI    48307‐2540
KATHY I WILKINSON                               1028 LYNDA LANE                                                                              ARLINGTON          TX    76013‐3825
KATHY J ENGLAND                                 8232 DANUBIAN PL                                                                             TRINITY            FL    34655‐4500
KATHY J FERNUNG                                 7676 W 350 N                                                                                 SHARPSVILLE        IN    46068‐9209
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 532 of 855
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

KATHY J GUTIERREZ                                1340 E BEAGLE ST                                                                                 MERIDIAN           ID    83642‐4645
KATHY J KINDLE                                   4165 E 300 S                                                                                     MARION             IN    46953‐9176
KATHY J LONGORIA                                 5329 PINE SLOPE DR SW                                                                            WYOMING            MI    49519
KATHY J MCCLOSKEY & STEPHEN C MCCLOSKEY JT TEN   221 SOUTH STATE STREET                                                                           PAW PAW            MI    49079‐1250

KATHY J MINKIN                                   1038 HEPPLEWHITE                                                                                 WESTERVILLE        OH    43081‐1116
KATHY J MORGAN                                   1202 WATER BLUFF WAY                                                                             ANDERSON           IN    46013‐6003
KATHY J MYERS                                    58404 PLEASANT VIEW CT                                                                           THREE RIVERS       MI    49093‐9564
KATHY J SIELOFF                                  844 FREEDOM LANE                                                                                 ADDISON TWP        MI    48367
KATHY J ZIEGELMANN                               728 BURBANK AV                                                                                   JANESVILLE         WI    53546‐3163
KATHY JEAN SIMONDS & ROBERT S SIMONDS JT TEN     3628 OTTAWA AVE                                                                                  KALAMAZOO          MI    49006‐2063

KATHY JO BULLOCK                                 1085 TASMAN DR SPC 460                                                                           SUNNYVALE          CA    94089
KATHY JO STIERWALT                               3323 MONTGOMERY DR                                                                               INDIANAPOLIS       IN    46227‐9680
KATHY K ANDERSON                                 8951 QUAIL GLEN CT                                                                               FAIR OAKS          CA    95628‐6544
KATHY K BARRINGTON                               1780 SAWNEE OAKS LN                                                                              CUMMING            GA    30040‐4148
KATHY K DAWSON                                   2641 GEYERWOOD CT                                                                                GROVE CITY         OH    43123‐3612
KATHY K ISLEY                                    3104 ISLEY DRIVE                                                                                 SNOW CAMP          NC    27349
KATHY K TEAGARDEN                                6518 SPRINGVIEW DR                                                                               PLAINFIELD         IN    46123‐8736
KATHY KAHNY                                      57 VAN BUREN                                                                                     HAMILTON           OH    45011
KATHY KARN                                       21404 ALBURTIS AVE                                                                               LAKEWOOD           CA    90715
KATHY KLIMKOWSKI CUST KYLE KLIMKOWSKI UGMA NY    76 PILGRIM LN                                                                                    WESTBURY           NY    11590‐6219

KATHY L ASFAR                                    27342 URSULINE                                                                                   ST CLAIR SHORES    MI    48081‐1723
KATHY L BELLAW                                   ATTN KATHY L SUTTON                     6225 W 400 S                                             RUSSIAVILLE        IN    46979‐9704
KATHY L CAMPBELL                                 1210 N LAKE RD                                                                                   NEW CARLISLE       OH    45344‐9706
KATHY L COON                                     9178 MEADOWLAND DR                                                                               GRAND BLANC        MI    48439‐8325
KATHY L DAVIS                                    5778 S WEED                                                                                      PLYMOUTH           MI    48170‐5816
KATHY L ELAND                                    32929 LANCASTER                                                                                  WARREN             MI    48093‐6134
KATHY L ELLIS                                    1514 ALINE DR                                                                                    GROSSE POINTE      MI    48236‐1002
                                                                                                                                                  WOOD
KATHY L ERICKSON & ROGER G ERICKSON JT TEN       22515 WHITES FERRY RD                                                                            DICKERSON          MD    20842‐9458
KATHY L EVERLING                                 213 SE 1ST AVE                                                                                   CAPE CORAL         FL    33990‐1004
KATHY L FERRO                                    PO BOX 349                                                                                       DAVENPORT          WA    99122‐0349
KATHY L FORD                                     2048 HUNT CLUB DR                                                                                GROSSE POINTE      MI    48236‐1704
KATHY L FREE                                     603 S BUCKINGHAM CT                                                                              ANDERSON           IN    46013‐4465
KATHY L GREENE                                   PO BOX 330                                                                                       HENRYVILLE         IN    47126‐0330
KATHY L HAYRYNEN & KELLEY J HAYRYNEN JT TEN      6171 COLONY PARK                                                                                 YPSILANTI TWP      MI    48197‐6030
KATHY L HOWE                                     1153 WORTON BLVD                                                                                 MAYFIELD HEIGHTS   OH    44124‐1735

KATHY L ISHAM                                    5580 HARTEL RD                                                                                   POTTERVILLE        MI    48876‐8769
KATHY L JACKEWICZ                                94 CHATEAU DR                                                                                    MELVILLE           NY    11747‐4131
KATHY L JOHNS                                    8904 S VILLA PL                                                                                  OKLAHOMA CITY      OK    73159‐5732
KATHY L LAU                                      1740 TOPAZ RD                                                                                    YORK               PA    17404‐4422
KATHY L LYNCH                                    N1351 TUCKAWAY COURT                                                                             GREENVILLE         WI    54942‐8045
KATHY L MASON                                    12633 SABAL PARK DR                     APT 108                                                  PINEVILLE          NC    28134‐7508
KATHY L MASSIE                                   14410 DANUBE LN                                                                                  MITCHELLVILLE      MD    20721‐3212
KATHY L MATTHEWS                                 5291 MARYLAND ST                                                                                 DETROIT            MI    48224‐3018
KATHY L MATTINGLY                                309 N COUNTY RD 500 WEST                                                                         MUNCIE             IN    47304‐9624
KATHY L MILLER                                   27725 RIALTO                                                                                     MADISON HEIGHTS    MI    48071‐3441

KATHY L MURRAY                                   178 MAPLE DR                                                                                     COLUMBUS           OH    43228‐6120
KATHY L OWENS                                    1016 OAT LN                                                                                      BUCKNER            MO    64016‐9403
KATHY L RANZENBERGER                             17 SOMERSET DRIVE                                                                                WACONIA            MN    55387‐9202
KATHY L SCHROEDER                                18050 W TURQUOISE AV                                                                             WADDELL            AZ    85355‐4144
KATHY L SCHROEDER & MARK E SCHROEDER JT TEN      18050 W TURQUOISE AVE                                                                            WADDELL            AZ    85355

KATHY L SHELL                                    1127 GYPSY LN W                                                                                  TOWSON             MD    21286‐1463
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 533 of 855
Name                                               Address1                             Address2               Address3        Address4          City             State Zip

KATHY L THOMPSON & MELVIN J THOMPSON TEN ENT       3475 MERTZ RD                                                                                 CARO             MI    48723

KATHY LEA JONAS                                    1360 CARMEN LANE                                                                              GASTONIA         NC    28054‐5738
KATHY LEMIEUX                                      11273 VAUGH RD                                                                                HIRAM            OH    44234‐9783
KATHY LEVITT                                       7810 N SPALDING LAKE DR                                                                       ATLANTA          GA    30350‐1093
KATHY LOUISE GALLAGHER                             127 MILFORD ST EXT                                                                            PLAINVILLE       CT    06062
KATHY LYNN COOLEY                                  635 EVANGELINE RD                                                                             CINCINNATI       OH    45240‐3011
KATHY LYNNE COLEMAN & DAVID EUGENE COLEMAN         2131 OAK                                                                                      MANHATTAN        KS    66502‐3820
TEN COM
KATHY M AYERS                                      PO BOX 1205                                                                                   WAVERLY          OH    45690‐2205
KATHY M BATCHELOR                                  3500 MAUREEN LN                                                                               DAVISBURG        MI    48350‐3244
KATHY M BROWN                                      13879 COLDWATER DR                                                                            CARMEL           IN    46032‐8562
KATHY M CHAPMAN                                    2849 SHELDON DR                                                                               OSHKOSH          WI    54904
KATHY M CLARK                                      2975 ORCHARD PL                                                                               ORCHARD LAKE     MI    48324‐2363
KATHY M GARVEY                                     1100 52ND STREET                                                                              WYOMING          MI    49509‐9798
KATHY M HOLBA                                      816 OVERLOOK DR                                                                               FRANKFORT        IL    60423‐1052
KATHY M KOHOUT                                     24708 FLORY RD                                                                                DEFIANCE         OH    43512‐9126
KATHY M LAMENDOLA                                  37 CARTER ST                                                                                  HILTON           NY    14468‐1067
KATHY M LOVELESS                                   3472 WILLOW MEADOW LN                                                                         DOUGLASVILLE     GA    30135‐7918
KATHY M MULLEN                                     6503 CORNWALL COURT                                                                           SYLVANIA         OH    43560‐3104
KATHY M NASH‐LIPNICKI                              16710 TRINITY                                                                                 DETROIT          MI    48219‐3932
KATHY M NICOLAOU                                   PO BOX 84                                                                                     INDIAN HILLS     CO    80454‐0084
KATHY M PETRU & JOHN A PETRU JT TEN                860 HARLEQUIN CRT                                                                             HIGHLAND         MI    48357‐3928
KATHY M SLOAN                                      208 LINCOLN HALL RD                                                                           ELIZABETH        PA    15037‐2354
KATHY M STANTON                                    11930 MEADOWOOD LANE                                                                          PARKER           CO    80138‐7129
KATHY M THOMAS                                     PO BOX 7511                                                                                   MOORE            OK    73153‐1511
KATHY M TIDWELL & JOSEPH G TIDWELL JT TEN          95 W WICKLIFF CREEK CIR                                                                       EADS             TN    38028‐3338
KATHY M VISELLI                                    1811 CORBI LN                        TECUMSEH ON                            N8N 2N1 CANADA
KATHY M WEBER                                      9419 KIMBALL R 1                                                                              PEWAMO           MI    48873‐9726
KATHY M WHITE                                      ATTN KATHY BELL                      14753 LADY BIRD LANE                                     VICTORVILLE      CA    92394
KATHY MAHLER                                       8360 E 300 N                                                                                  BROWNSBURG       IN    46112
KATHY MANRY ELLIOTT & ALLAN JAMES ELLIOTT JT TEN   201 BURNING TREE TRACE                                                                        MADISON          AL    35757‐8606

KATHY MARCHETTI CUST CHRISTOPHER AGE UTMA CA       817 W BAGNALL ST                                                                              GLENDORA         CA    91740‐4110

KATHY MURPHY WEST                               3751 CARSON DR                                                                                   ATLANTA          GA    30080‐5817
KATHY N SLOAN & GERALD A SLOAN JT TEN           208 LINCOLN HALL RD                                                                              ELIZABETH        PA    15037‐2354
KATHY NELSON CUST MATTHEW OWEN NELSON UGMA 3755 52ND AVENUE NORTH                                                                                SAINT PETERSBURG FL    33714‐2332
IN
KATHY O CASEY CUST CHRISTOPHER D ESKRIDGE UNDER ATTN KATHY O JOHNSON                    2938 HEMINGWAY LN                                        ROSWELL          GA    30075‐7038
THE VA U‐T‐M‐A
KATHY O MC GILL                                 2834 YOUNG DR                                                                                    OAKTON           VA    22124‐1425
KATHY OKERSTROM & TERRY OKERSTROM JT TEN        1603 W MILL ST                                                                                   BUFFALO          MO    65622
KATHY OVALLE CATTERTON                          3647 BRANHUM RD                                                                                  EDGEWATER        MD    21037‐3532
KATHY PATRAS TR U/DECL OF TR 6/11/71            2225 LAKE HAVEN CT                                                                               LIZELLA          GA    31052‐1459
KATHY POMERANTZ                                 1647 NOTTINGHAM WAY                                                                              MOUNTAINSIDE     NJ    07092‐1355
KATHY R BIGLIANO                                36 OLDE WAGON ROAD                                                                               WARWICK          NY    10990
KATHY R CURTIS CUST DANIEL R CURTIS UTMA OH     4006 YORKSHIRE AVE                                                                               PARMA            OH    44134‐3710
KATHY R FAVROT                                  108 E COLLEGE ST                                                                                 BLACK MOUNTAIN   NC    28711‐2715

KATHY R PIERSON                                    660 SAND DAB DR                                                                               LK HAVASU CTY    AZ    86404‐2721
KATHY R SMITH                                      13020 BALLAST CT                                                                              HUDSON           FL    34667‐1704
KATHY REID                                         5050 SHADY CREEK                                                                              MUSKEGON         MI    49441‐5870
KATHY S EWING                                      41820 MAYWOOD ST                                                                              FREMONT          CA    94538‐5116
KATHY S HALL                                       31 BIRCHWOOD AVE                                                                              DAYTON           OH    45405‐3437
KATHY S HARRIS                                     1009 E LAMB ST                                                                                GREENVILLE       MI    48838‐1437
KATHY S HOWELL                                     2141 LADERA LN                                                                                LEXINGTON        KY    40514‐2422
KATHY S JONES                                      2119 ORIOLE LN                                                                                KINGSTON         OK    73439‐9550
KATHY S MAZE                                       354‐4 BEECHCROFT RD                                                                           SPRING HILL      TN    37174
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit E
                                                                                     Part 4 of 8 Pg 534 of 855
Name                                            Address1                              Address2                Address3                 Address4                  City              State Zip

KATHY S RASMUSSEN                               PO BOX 2947                                                                                                      KOKOMO            IN    46904‐2947
KATHY S RIEGEL                                  6410 E JULIA ST                                                                                                  TUCSON            AZ    85710‐4643
KATHY S SALAS                                   502 GLEN HURST COURT                                                                                             TROPHY CLUB       TX    76262‐5248
KATHY S SCHUMACHER                              1115 GEORGE ST                                                                                                   LANSING           MI    48910‐1230
KATHY S TROUT                                   11492 RAY RD                                                                                                     GAINES            MI    48436‐8919
KATHY SARGENT CUST NATHAN ROBERT SARGENT        520 BRACKNEY RD                                                                                                  BEN LOMOND        CA    95005‐9720
UTMA CA
KATHY SPEAR                                     2425 CRANSTON DR UNIT 32                                                                                         ESCONDIDO         CA    92025‐7061
KATHY STEFFEY KOLGER                            1623 SHERRI WAY                                                                                                  RICHMOND          IN    47374‐1691
KATHY SUE CUNNINGHAM                            ROUTE 60 N W                          6305 N STATE                                                               MC CONNELSVILLE   OH    43756

KATHY SUE NOVOTNY                               C/O K S MANTIONE                      12 GRAY DR                                                                 PASADENA          MD    21122‐5526
KATHY SUNDLAND U/GDNSHP OF JEANETTE FAYE        2318 BARNSBURY RD                                                                                                EAST LANSING      MI    48823‐7783
SUNDLAND
KATHY T ROGERS                                  8414 SOUTH BROWN SCHOOL RD                                                                                       VANDALIA          OH    45377‐9635
KATHY TOOLEY                                    290 HAWKS RD                                                                                                     NEW BERLIN        NY    13411
KATHY V CHANDLER                                1139 TATESBROOK DR                                                                                               LEXINGTON         KY    40517‐3029
KATHY V WILLIAMS                                801 GARDENVIEW DR APT 332                                                                                        FLINT             MI    48503‐1637
KATHY WALKER STOCKTON                           1773 ROCKY FORD RD                                                                                               POWHATAN          VA    23139‐7105
KATHY WEBB                                      1066 W FAYETTE ST                                                                                                BALTIMORE         MD    21223‐1931
KATHY WEHRMEISTER                               1147 GRAYTON                                                                                                     GROSSE POINTE     MI    48230‐1426
KATHY WORD SEGLER                               634 PHEASANT LANE                                                                                                COPPELL           TX    75019‐3437
KATHY WYNN BURKHOLDER                           RR 1 BOX 478                                                                                                     GREENFIELD        IL    62044‐9400
KATHY Y MC FAUL                                 18201 DONOHUE ROAD                                                                                               PINCKNEY          MI    48169‐8868
KATHY Y SCHWEIZER                               1629 JORDAN RD                                                                                                   WEST ALEXANDRIA   OH    45381‐9713

KATHY YOST                                    4439 CHOCTAW TRL                                                                                                   JAMESTOWN         OH    45335‐1476
KATHY ZIEGLER BRONIKOWSKI                     1412 BLAIRMOOR CT                                                                                                  GROSSE POINTE     MI    48236‐1064
KATHY‐JO SPLINTER                             2204 MORELAND DR                                                                                                   JANESVILLE        WI    53545‐0154
KATHYLEEN E FOSTER                            22517 WEST STATE HWY D                                                                                             MARTINVILLE       MO    64467
KATHYLEEN STEWART                             C/O KATHYLEEN KING                      128 E RIVERVIEW DRIVE                                                      BELLE             WV    25015‐1538
KATHYN GRUPPEN                                247 INTERLAKEN DRIVE                                                                                               ZEELAND           MI    49464‐2058
KATHYRN C TURNER                              PO BOX 88855                                                                                                       INDIANAPOLIS      IN    46208‐0855
KATHYRN D CANNON CUST CFBO BRIDGET C CANNON   30779 AVONDALE                                                                                                     MADISON HEIGHTS   MI    48071
UGMA MI
KATHYRN D CANNON CUST CFBO ELLE L CANNON UGMA 30779 AVONDALE                                                                                                     MADISON HEIGHTS MI      48071
MI
KATHYRN D CANNON CUST CFBO GREGORY H CANNON 30779 AVONDALE                                                                                                       MADISON HEIGHTS MI      48071
UGMA MI
KATHYRN K GILBERTSON                          102 NORTH RIVER ST                      APT# 211                                                                   JANESVILLE        WI    53545‐2974
KATI K FINLEY & KENNETH R FINLEY JT TEN       705 EDGEHILL AVE                                                                                                   ASHLAND           OH    44805‐4119
KATIA CALDERON                                ARCO DEL TRIUNFO 105                    VALLE DE SAN ANGEL      SAN PEDRO GARZA GARCIA   NUEVO LEON 66290 MEXICO

KATIA E LOYD                                    1011 E BERTRAM RD                                                                                                MT VERNON         IA    52314‐9641
KATIE A KILDAL & KIMBERLY A JONES JT TEN        169 MAGNOLIA WAY                                                                                                 JUPITER           FL    33458‐2113
KATIE A MC CARTHY                               2676 BENDER AVE                                                                                                  WATERFORD         MI    48329‐3408
KATIE ANNA WATSON                               374 MYRICK ESTATES RD                                                                                            LITTLETON         NC    27850‐9370
KATIE B DUCHOCK & STEVE G DUCHOCK JR JT TEN     119 VALLEY DRIVE                                                                                                 BIRMINGHAM        AL    35214‐1024
KATIE BIES CUST DANIEL BIES UTMA WA             22130 NE 133RD                                                                                                   WOODINVILLE       WA    98077
KATIE CONDON                                    2790 CAMPBELLGATE DR                                                                                             WATERFORD         MI    48329‐3126
KATIE CONDON & THOMAS CONDON JT TEN             2790 CAMPBELLGATE DR                                                                                             WATERFORD         MI    48329‐3126
KATIE D BARKS                                   6935 BROWNSVILLE ROAD                                                                                            MORGANTOWN        KY    42261‐9033
KATIE D THOMAS                                  PO BOX 540                                                                                                       LAFAYETTE         AL    36862‐0540
KATIE DREW FEMINO                               171 W MAIN ST                                                                                                    SMITHTOWN         NY    11787‐2606
KATIE ECKHART                                   290 BURR OAK BL                                                                                                  PLEASANT HILL     IA    50327‐1900
KATIE F TERRY                                   5162 COUNTY RD 221                                                                                               MOULTON           AL    35650
KATIE FOTIOU BAUMAN                             12951 CROFTSHIRE DR                                                                                              GRAND BLANC       MI    48439
KATIE HAYDEN                                    15550 CURTIS ST                                                                                                  DETROIT           MI    48235‐3130
KATIE HIPP                                      5030 GREATWOOD LN                                                                                                ALPHARETTA        GA    30005‐7466
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 535 of 855
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

KATIE J CENTERS                                    4330 MARSHALL RD                                                                               DAYTON           OH    45429‐5140
KATIE JAMES                                        2722 THE FONTAINEBLEAU SW                                                                      ATLANTA          GA    30331‐2722
KATIE L BOWMER TR KATIE L BOWMER REVOCABLE         44565 BEMIS                                                                                    BELLEVILLE       MI    48111‐9169
TRUST UA 03/26/97
KATIE L ESCOE                                      25365 FAIRFAX                                                                                  SOUTHFIELD       MI    48075‐2052
KATIE L GOURLEY                                    3915 N PENNSYLVANIA ST                                                                         INDIANAPOLIS     IN    46205‐2653
KATIE L GUTHRIE                                    12381 COUNTY ROAD 400                                                                          HILLSBORO        AL    35643‐4218
KATIE L MALONE                                     18287 MANSFIELD                                                                                DETROIT          MI    48235‐3147
KATIE L SNITKO                                     4127 N LINDEN RD                                                                               FLINT            MI    48504‐1351
KATIE L WARNING                                    520 DEPOT HILL ROAD                                                                            POUGHQUAG        NY    12570
KATIE LAMAR                                        4701 FLAT SHOALS ROAD 69‐B                                                                     UNION CITY       GA    30291‐2114
KATIE LEE GUSTAFSON & RAYMOND G GUSTAFSON JT       14165 TRUMPETER LANE                                                                           LANSING          MI    48906
TEN
KATIE LINEBERGER                                   1711 ASPEN LN                                                                                  SHARPSVILLE      PA    16150‐9643
KATIE LYNNE MARTIN                                 6362 4TH ST                                                                                    CASS CITY        MI    48726‐1308
KATIE M HAINES                                     63100 COUNTY RD 111                                                                            GOSHEN           IN    46526‐8742
KATIE M ROCKWELL                                   12880 GREGG RD                                                                                 BELLVILLE        OH    44813‐9670
KATIE M SHAVERS                                    997 MAPLE AVENUE SW                                                                            NEWTON FALLS     OH    44444‐9534
KATIE M SMITH TR SMITH TRUST UA 05/06/98           3117 WOLFE DRIVE                                                                               FAIRBORN         OH    45324‐2121
KATIE M VAUGHN                                     2048 CHELAN                                                                                    FLINT            MI    48503‐4312
KATIE M WILSON                                     PO BOX 88                                                                                      START            LA    71279‐0088
KATIE MARIE ELWELL                                 2880 SAINT CLAIR                                                                               ROCHESTER        MI    48309‐3126
KATIE MARY DECHER                                  2707 COURT ST                                                                                  SAGINAW          MI    48602‐3639
KATIE R HOOPER                                     3715 BRINKMORE RD                                                                              CLEVELAND HTS    OH    44121‐1341
KATIE R WOOLDRIDGE                                 720 GLENWAY DR                                                                                 LOGANSPORT       IN    46947‐3813
KATIE S CARRIKER                                   8200 WILL HILL DRIVE                                                                           CHARLOTTE        NC    28227‐4331
KATIE S GREGOR & ALFRED E GREGOR JT TEN            9 GARFIELD AVE                                                                                 MASSENA          NY    13662‐1232
KATIE S SCHAFER‐EGGLY & EDWARD J EGGLY JR JT TEN   26349 CLARKSTON DR                                                                             BONITA SPRINGS   FL    34135‐2312

KATIE S SHAW                                   8713 SICKLEBAR WAY                                                                                 ELLICOTT CITY    MD    21043‐6569
KATIE SIBLEY & EDWARD F VARANA JT TEN          3924 N WILLIAMS AVE                                                                                PORTLAND         OR    97227‐1445
KATIE T WHITENER                               1747 N 44TH ST                                                                                     BATON ROUGE      LA    70802‐1117
KATIE WILLIAMS                                 14112 SW 73RD AVE                                                                                  ARCHER           FL    32618‐2912
KATINA KAVATHAS                                37 SADDLEBROOK CT                                                                                  ORCHARD PARK     NY    14127‐5001
KATINA MANOLAKI                                106 NORTH ST                                                                                       MILFORD          DE    19963‐1135
KATINA THIEL                                   5639 RICE RD                                                                                       BOSTON           NY    14025
KATLEEN HULTQUIST & JOHN HULTQUIST JT TEN      4442 SUNNYMEAD                                                                                     BURTON           MI    48519‐1264
KATRICE ABEL                                   3923 BARNOR DR                                                                                     INDIANAPOLIS     IN    46226‐4917
KATRIN ALTENDORFF                              AM WILDGATTER 43                          D‐14109              BERLIN            GERMANY
KATRINA A JAGEL                                25850 RED OAK ST                                                                                   BROKEN ARROW     OK    74014‐2735
KATRINA A LAWSON                               585 CONSTITUTION ST                                                                                CANTON           MI    48188‐6725
KATRINA A ZAMORA                               1327 CARMAN                                                                                        BURTON           MI    48529‐1238
KATRINA CARROLL CUST JAMES TUCKER CARROLL UTMA 1308 VISTA DR                                                                                      SHELBY           NC    28150‐9227
NC
KATRINA D DAVIDSON                             1320 CLOVERDALE DR                                                                                 HIXSON           TN    37343‐4421
KATRINA E BRUNETTE                             718 N REMBRANDT                                                                                    ROYAL OAK        MI    48067‐2079
KATRINA H DORNEMAN                             21 FAIR ELMS                                                                                       LAGUNA NIGUEL    CA    92677‐5908
KATRINA J COLEMAN                              PO BOX 24193                                                                                       LANSING          MI    48909‐4193
KATRINA L COOKE                                3009 OAK ST                                                                                        DAVENPORT        IA    52804‐1430
KATRINA LEE MOORE                              8664 SUNNYVALE ST N                                                                                CORDOVA          TN    38018‐3592
KATRINA M GUTTRICH                             9436 COUNTRY CLUB LANE                                                                             DAVISON          MI    48423‐8367
KATRINA MELENDEZ TR UA 06/15/2005 KATRINA      116 N SHAMROCK AVENUE                                                                              MONROVIA         CA    91016
MELENDEZ LIVING TRUST
KATRINA R CARTER                               PO BOX 1823                                                                                        DEARBORN         MI    48121‐1823
KATRINA ROSCULET                               906 WINDWARD CT                                                                                    NEENAH           WI    54956‐4276
KATRINA S MAESTRI                              GME ZURICH PO BOX 9022                    28401 MOUND RD                                           WARREN           MI    48090‐9991
KATRINA THIELEMIER                             1071 SHADGRASS                                                                                     POCAHONTAS       AR    72455‐3800
KATRINA V KARNO                                102 KNIGHTS DR                                                                                     SLIDELL          LA    70458‐1022
KATRINA VAN TASSEL ANDERSON                    1105 MIMOSA CT                                                                                     ROLLA            MO    65401‐3806
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 536 of 855
Name                                             Address1                              Address2               Address3        Address4          City            State Zip

KATRINA Y DILMORE                                5928 JACK STOKES RD                                                                            BAKER           FL    32531‐2510
KATRINA Z NOSAL & MARK S NOSAL COMMUNITY         3741 SUDLEY FORD COURT                                                                         FAIRFAX         VA    22033‐1322
PROPERTY
KATSUHIRO HORIUCHI                               1201 MONTECITO DRIVE                                                                           LOS ANGELES      CA   90031‐1638
KATSUMI BRUNSON                                  403 SANDERSON AVE                                                                              CAMPBELL         OH   44405‐1449
KATTIE CHAPPELL                                  1523 EAST 81ST STREET                                                                          CLEVELAND        OH   44103‐3470
KATTIE M DEDLOFF                                 5826 S US HWY 35                                                                               KNOX             IN   46534‐9708
KATY B DANNER                                    11865 S W BELVIDERE PL                                                                         PORTLAND         OR   97225‐5803
KATY B KENNEDY                                   4132 SAINT CHARLES AVENUE             APT C 1                                                  NEW ORLEANS      LA   70115
KATY J SNYDER                                    C/O KATY J CARRASCO                   11469 HUBBARD STREET                                     MORENO VALLEY    CA   92557‐5648
KATY RACE CUST BRENT DANIEL RACE UGMA CT         920 TECUMSEH AVE                                                                               WATERFORD        MI   48327‐3138
KAULENE J WORTMAN                                2102 DODGE AVE                                                                                 FORT WAYNE       IN   46805‐3715
KAUSHIK M SHAH & ANJANA K SHAH JT TEN            3612 NORWOOD RD                                                                                SHAKER HTS       OH   44122‐4970
KAVANUAGH R WILLIAMS                             6984 LA MESA DR WEST                                                                           JACKSONVILLE     FL   32217‐2606
KAVIN ALDERMAN                                   16207 SEPTEMBER DR                                                                             LUTZ             FL   33549
KAY A ALLEN                                      504 MURPHY ST                                                                                  COLEMAN          MI   48618‐9712
KAY A BALLIF                                     4860 RIDGEDALE DRIVE                                                                           OGDEN            UT   84403‐4457
KAY A CULLEN                                     1515 NEWCASTLE ST                                                                              COLORADO SPRINGS CO   80907‐4834

KAY A FAUCETT                                    4466 E 6005 BOX 286                                                                            CUTLER          IN    46920
KAY A GLADSTONE                                  2175 W JASON RD                                                                                DEWITT          MI    48820‐9759
KAY A GREEN                                      1253 EAST INCA ST                                                                              MESA            AZ    85203
KAY A MILBURN                                    200 CEMENT AVE                                                                                 SANDUSKY        OH    44780
KAY A MUNDELL                                    6409 BITTERSWEET LAKES RUN                                                                     FORT WAYNE      IN    46804‐8210
KAY A NOVAK TR UA 09/09/07 KAY A NOVAK           1374 ALMEIDA BLVD                                                                              TROY            MI    48085
REVOCABLE LIVING TRUST
KAY A ROKALA                                     344 KINGSTON CRECENT                  WINNIPEG MB                            R2M 0T6 CANADA
KAY A SAWYER & LEWIS C SAWYER JT TEN             1423 BRIAR CIRCLE                                                                              LITTLETON       CO    80126
KAY A SCOTT                                      5734 LAKEVIEW BLVD                                                                             GOODRICH        MI    48438
KAY ANDERSON                                     17010 OXBRIDGE RD                                                                              MONUMENT        CO    80132‐7930
KAY ANN KESSEL & MARIA E BENOIT JT TEN           228 E NESTEL                          PO BOX 481                                               PRUDENVILLE     MI    48651‐0481
KAY B WILCOX TR KAY B WILCOX TRUST UA 12/16/97   8656 W HARRIGER RD                                                                             EMPIRE          MI    49630‐9784

KAY BERMAN & LESTER BERMAN JT TEN                 20080 LACROSSE AVE                                                                            SOUTHFIELD      MI    48076‐2424
KAY BRABANDER                                     4660 SILVERDALE DR                                                                            NORTH OLMSTED   OH    44070‐2625
KAY BROWN                                         4619 CARO RD                                                                                  VASSAR          MI    48768‐9721
KAY BULLARD BROUSSARD                             703 PORT ROYAL WA                                                                             PENSACOLA       FL    32502‐5790
KAY BUSHNELL                                      775 NORTHAMPTON DR                                                                            PALO ALTO       CA    94303‐3432
KAY C ANTTILA & WILLIAM N ANTTILA JT TEN          83 BERRY LANE                                                                                 COLCHESTER      CT    06415
KAY C MILLER                                      60 FOREST DRIVE                                                                               IRWIN           PA    15642‐1009
KAY C YOUNG‐FERGUSON                              12822 S MORNING DEW TRL                                                                       VAIL            AZ    85641‐9532
KAY CAMPBELL DUDLEY                               ROUTE 2                              400 SUTTON DRIVE                                         COMANCHE        TX    76442‐1604
KAY COWEN EDWARDS                                 1217 EVERGREEN                                                                                RICHARDSON      TX    75080‐4806
KAY D GRECH                                       4047 SAMANTHA DR                                                                              BRITTON         MI    49229‐8724
KAY D TALBOTT                                     PO BOX 547                                                                                    NORTH           VA    23128‐0547
KAY DENNIS TR ELIZABETH M HATTER TRUST UA 5/31/00 201 W JOLLY RD                       APT 619                                                  LANSING         MI    48910‐6655

KAY DENNIS TR RACHEL M HATTER TRUST 5/31/00      201 W JOLLY RD                        APT 619                                                  LANSING         MI    48910‐6655
KAY DIANE HASTY                                  4946 KNOLLWOOD DR                                                                              MORROW          OH    45152‐1306
KAY E B MACNEIL                                  689 GOLF CLUB LANE                                                                             FRANKFORT       IL    60423‐9518
KAY E DUNHAM CUST WILLIAM D DUNHAM UGMA NY       1041 PRESIDENT ST                                                                              BROOKLYN        NY    11225‐1302

KAY E GUNDY                                      6036 MARMADUKE AVE                                                                             ST LOUIS        MO    63139‐2612
KAY E HUFFER                                     3631 WESTFIELD DRIVE                                                                           ANDERSON        IN    46011‐3856
KAY E HUGGINS CUST EMILY ELIZABETH NORDMAN       7444 N SEYMOUR ROAD                                                                            FLUSHING        MI    48433‐9269
UGMA MI
KAY E HUGGINS CUST GRACE EVELYN NORDMAN UGMA     7444 N SEYMOUR ROAD                                                                            FLUSHING        MI    48433‐9269
MI
KAY E KIBBEY                                     11900 PEAKE RD                                                                                 PORTLAND        MI    48875‐8433
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                     Part 4 of 8 Pg 537 of 855
Name                                             Address1                             Address2                 Address3         Address4                    City             State Zip

KAY E MALZAHN                                    925 PALMETTO                                                                                               SAGINAW          MI    48604‐1813
KAY E MCELMURRY & JOHN B MCELMURRY JT TEN        12322 ALEXANDER ST                                                                                         CEDAR LAKE       IN    46303‐9334
KAY E MCKEE                                      13205 MOLLY BERRY ROAD                                                                                     UPPER MARLBORO   MD    20772‐8073

KAY E MCLAREN                                    8370 MEADOWDALE DR                                                                                         GRAND BLANC      MI    48439‐8926
KAY E MILLER & GEORGE W MILLER JT TEN            32288 ROBINHOOD                                                                                            BEVERLY HILLS    MI    48025‐3545
KAY E PEARCE                                     4636 KINGSWOOD                                                                                             BRIGHTON         MI    48116‐9407
KAY E SCARPINO                                   1984 INDIANHEAD ROAD                                                                                       CENTERVILLE      OH    45459‐1222
KAY E SCHMITT                                    6347 N 1000 W                                                                                              SHARPSVILLE      IN    46068‐9248
KAY E SMITH                                      HCR 74                               BOX 5B                                                                ALMA             WV    26320‐9700
KAY E STAMMER                                    6675 STILL MEADOW DR                                                                                       CUMMING          GA    30040‐6547
KAY E WELLS                                      1005 E MARSHALL ST                                                                                         MARION           IN    46952‐3050
KAY E WHITEHEAD                                  9222 CINNEBAR DR                                                                                           INDIANAPOLIS     IN    46268‐3201
KAY ESTHER HAHN CUST CARA HAHN UGMA MI           6726 BLYTHFIELD NE                                                                                         ROCKFORD         MI    49341
KAY F BOYD                                       6446 SOUTH BRANCH COURT                                                                                    COLUMBUS         GA    31909‐3474
KAY F COX & GREGORY D COX & LORI GREENE JT TEN   3554 NEWARK RD                                                                                             ATTICA           MI    48412

KAY F DELONEY                                     PO BOX 142                                                                                                FLINT            MI    48501‐0142
KAY F HEGADORE                                    16638 WHITEHEAD RD                                                                                        LAGRANGE         OH    44050‐9583
KAY F KENNEDY                                     8501 22 MILE ROAD                                                                                         SAND LAKE        MI    49343‐9412
KAY F LANT                                        6000 LINCOLN AVE                                                                                          EVANSVILLE       IN    47715‐3428
KAY F MCCAULEY                                    3321 SW IDAHO ST                                                                                          PORTLAND         OR    97239‐1047
KAY F MCKEE                                       242 W 950 S                                                                                               BUNKER HILL      IN    46914‐9502
KAY F MILLER                                      ATTN KAY F WORCH                    15760 N LAKELAND CIR                                                  PORT CHARLOTTE   FL    33981‐4645
KAY F ROBERTS                                     3467 GREENS HILL ROAD                                                                                     SPRINGHILL       TN    37174‐2125
KAY F WARREN                                      1 GREENWOODE LN                                                                                           PONTIAC          MI    48340‐2259
KAY FLANAGAN PADAVAN                              BOX 127                                                                                                   REMSENBURG       NY    11960‐0127
KAY FLETCHER                                      1430 CHESTERFIELD DR                                                                                      ANDERSON         IN    46012‐4436
KAY FRANCES PORTER                                112 SERENITY CIR                                                                                          HENDERSONVLLE    NC    28792
KAY FRANCES STEPANSKI & WALTER JOSEPH STEPANSKI 4805 BIRCHWOOD DR                                                                                           MIDLAND          MI    48642‐3210
III JT TEN
KAY GRISMER                                       60 POMEROY DRIVE                                                                                          PINEHURST        NC    28374‐9739
KAY H ARNOLD                                      10240 NEWTON FALLS RD                                                                                     NEWTON FALLS     OH    44444‐9238
KAY H FORSHT TR UA 04/13/2004 KAY H FORSHT FAMILY 15436 PEACH LEAF DRIVE                                                                                    GAITHERSBURG     MD    20878
TRUST
KAY H SANDERS                                     808 53RD AVE E                      APT 16A                                                               BRADENTON        FL    34203
KAY H VISCONTI                                    30 HIGHVIEW TERRACE                                                                                       BETHEL           CT    06801‐2032
KAY HAHN CUST CARA HAHN UTMA MI                   6726 BLYTHFIELD N E                                                                                       ROCKFORD         MI    49341
KAY HEDGECOCK WOITESHEK                           130 STAMFORD RD                                                                                           CONWAY           AR    72032‐9206
KAY HOAGLAND                                      3919 LUVERNE ST                                                                                           FORT MYERS       FL    33901‐8423
KAY HOLDING CO INC                                10 OAK CRES                                                                                               LITTLE FALLS     NJ    07424‐2436
KAY J DAWSON                                      3708 REXMERE ROAD                                                                                         BALTIMORE        MD    21218‐2010
KAY J MORRIS                                      2310 SANTA BARBARA DRIVE                                                                                  FLINT            MI    48504‐2020
KAY J RINGELHAN                                   13503 RAVENNA AVE                                                                                         HARTVILLE        OH    44632‐9365
KAY J SWIDERSKI                                   1155 MAPLE AVE                                                                                            YPSILANTI        MI    48198‐3927
KAY JEFFERSON                                     PO BOX 1706                                                                                               LEBANON          MO    65536‐1706
KAY JUSTICE                                       3913 MEANDER DRIVE                                                                                        MINERAL RIDGE    OH    44440‐9026
KAY K DACHTLER                                    ATTN KAY KOLBERG                    48 BARONY LN                                                          HILTON HEAD      SC    29928‐5561
                                                                                                                                                            ISLAND
KAY KOCISKY & LYNNE KOCISKY JT TEN               1386 COGGINS RD                                                                                            PINCONNING       MI    48650‐9329
KAY KRISTEN ROCK CUST CHARLES T ROCK UTMA VA     105 GREENLEAF DR                                                                                           CROSS JNCT       VA    22625‐2558

KAY L ARMSTRONG                                  PO BOX 698                                                                                                 SPRING HILL      TN    37174‐0698
KAY L BANTA                                      5711 WOODMORE                                                                                              DAYTON           OH    45414‐3009
KAY L BESEAU                                     38222 HYMAN                                                                                                WESTLAND         MI    48186‐3834
KAY L BRIDENBAUGH & FRANK R BRIDENBAUGH JT TEN   310 GRANT                                                                                                  AUBURN           MI    48611‐9347

KAY L BURNS                                      4200 ESTATE ST JOHN #331             CHRISTIANSTED ST CROIX   VIRGIN ISLANDS   820 VIRGIN ISLANDS OF THE
                                                                                                                                USA
                                          09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 538 of 855
Name                                           Address1                            Address2             Address3          Address4          City            State Zip

KAY L DAVIS & RAMSEY H DAVIS JT TEN             6500 BELINDER AVE                                                                           SHAWNEE MSN     KS    66208
KAY L GARY                                      4575 MAPLE DRIVE                                                                            NEWTON FALLS    OH    44444‐9721
KAY L HOPKINS                                   623 W GREEN ST                                                                              MARSHALL        MI    49068‐1427
KAY L LA LONDE                                  347 ROSEMORE DRIVE                                                                          DAVISON         MI    48423‐1615
KAY L LEWIS                                     11400 OCCOQUAN OAKS LN                                                                      WOODBRIDGE      VA    22192‐6037
KAY L MAYWORM                                   290 REDMAPLE LANE                                                                           BRIGHTON        MI    48116‐2313
KAY L MORANDINI                                 1638 CHARLEVOIS DRIVE                                                                       TROY            MI    48098‐5093
KAY L MOSTER                                    1392 DENVER DR                                                                              PLAINFIELD      IN    46168
KAY L PETTENGILL                                1445 BELLEVIEW DR                                                                           IONIA           MI    48846‐8436
KAY L PICKARD                                   7015 MINDEW DR SW                                                                           BYRON CENTER    MI    49315
KAY L REYNOLDS                                  2819 LECLAIR TRAIL                 PO BOX 373                                               HALE            MI    48739‐0373
KAY L ROBERSON                                  1291 HAYES CT                                                                               BOWLING GREEN   KY    42103‐1687
KAY L ROGERS                                    ATTN KAY ROGERS ELZEA              2718 LARCHMONT AVE                                       SANTA ANA       CA    92705‐6739
KAY L SCHRADER TR KAY L SCHRADER TRUST UA       275 VAN NEST ST                                                                             DUNDEE          MI    48131‐1136
11/10/00
KAY L SHAUM                                     6525 SHELLENBARGER                                                                          HALE            MI    48739‐9050
KAY L UPTON                                     32 E BAYWOOD SQUARE                                                                         DAYTONA BEACH   FL    32119
KAY L VARGO                                     8618 ACUFF LANE                                                                             LENEXA          KS    66215‐4181
KAY LOU CALCUT                                  950 WOODLAWN DR                                                                             THOUSAND OAKS   CA    91360
KAY LOUISE FINCH                                41632 BEDFORD DRIVE                                                                         CANTON          MI    48187‐3704
KAY LYNN CARNELL                                237 VISTA NORTH                                                                             AUBURN HILLS    MI    48326
KAY LYNN FLEMING                                7750 STONESBORO DR                                                                          DAYTON          OH    45424‐2264
KAY M ADAMS                                     123 COMPTON LAKE XING                                                                       TALLULAH        LA    71282‐7651
KAY M BELDYGA TR RONALD L & KAY M BELDYGA TRUST 726 WOODVALLEY DR                                                                           CORUNNA         MI    48817‐2208
UA 4/24/03
KAY M CLEMENTS TR KAY M CLEMENTS LIVING TRUST   139 SHELDON AVE                                                                             CLIO            MI    48420‐1418
UA 07/17/06
KAY M CORNING                                   2562 MODJESKI RD                                                                            MANISTEE        MI    49660‐9501
KAY M FROEHLICH                                 100 COLE LN APT 314                                                                         LAWRENCEVILLE   NJ    08648‐2687
KAY M MACIOCE                                   408 FLOWER ST                                                                               THREE RIVERS    MI    49093‐1321
KAY M MERICA                                    PO BOX 399                                                                                  HOPE            ID    83836‐0399
KAY M PARKINSON                                 2957 STARLIGHT WAY                 COQUITLAM BC                           V3C 3P4 CANADA
KAY M PILLOW                                    3202 HIGHWAY 242 W                                                                          LEXA            AR    72355‐8352
KAY M ROWLAND                                   1611 CLIFF DRIVE                                                                            EDGEWATER       MD    21037‐4922
KAY MANSON                                      4185 LAKESIDE DR                                                                            JACKSONVILLE    FL    32210‐3303
KAY MCNAMARA GARLOW                             BOX 178                                                                                     RAWLINS         WY    82301‐0178
KAY MELET                                       3806 WROXTON #4                                                                             FLINT           MI    48532‐2876
KAY MEYER                                       489 E 612 AVE                                                                               GIRARD          KS    66743‐9499
KAY N LANGLEY CUST CLARK LANGLEY UGMA SC        3224 GIRARDEAU AVE                                                                          COLUMBIA        SC    29204‐3315
KAY N PIERCE                                    5709 BRAEWOOD LN                                                                            KELLER          TX    76248‐6740
KAY NELSON GAUSE                                722 W 12TH ST S                                                                             NEWTON          IA    50208‐3548
KAY NITSCH                                      110 HAMPSHIRE RD                                                                            SYRACUSE        NY    13203‐1308
KAY O'BRIEN                                     615 LORETTA                                                                                 TONAWANDA       NY    14150‐8715
KAY P CANTY                                     588 COMMERCE AVE N W                                                                        WARREN          OH    44485‐2503
KAY P LUTZ                                      BOX 384                                                                                     ROXBURY         NY    12474
KAY R KESSLER                                   302 E 6TH STREET                                                                            RINCON          GA    31326‐9723
KAY R MURPHEY                                   4405 RIDGEHAVEN RD                                                                          FT WORTH        TX    76116‐7313
KAY R PIPPIN                                    PO BOX 151                                                                                  NEWHEBRON       MS    39140‐0151
KAY R WEBB                                      4900 W MICHIGAN                                                                             SAGINAW         MI    48603‐6313
KAY S FISHER                                    1107 HARTMAN                                                                                MT MORRIS       MI    48458‐2520
KAY S KOSCO                                     45981 HECK RD                                                                               COLUMBIANA      OH    44408‐9595
KAY S PENCE                                     204 WICKHAM AVE                                                                             BECKLEY         WV    25801‐3865
KAY SCHLAFER                                    1430 CHESTERFIELD DR                                                                        ANDESON         IN    46012‐4436
KAY SCHLESINGER TR KAY SCHLESINGER TRUST UA     PO BOX 90544                                                                                EAST POINT      GA    30364
09/05/97
KAY SEED                                        1110 S PEABODY                                                                              PORT ANGELES    WA    98362‐7912
KAY SUMMERFIELD & ROBERT SUMMERFIELD JT TEN     2500 LIBERTY ST                                                                             PARKERSBURG     WV    26101‐2841

KAY T SCHULTZ                                  5915 MERWIN CHASE ROAD                                                                       BROOKFIELD      OH    44403‐9780
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 539 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

KAY TAMARIBUCHI CUST LESLIE LYNNE TAMARIBUCHI     603 IMI DR                                                                                     HONOLULU           HI    96793‐2611
U/THECAL U‐G‐M‐A
KAY TREANOR BURCH                                 DUNWOODY PT                                                                                    VALONA             GA    31332
KAY V MAYHALL                                     2905 ESPENLAUB LN                                                                              KANSAS CITY        KS    66106‐4529
KAY W HOSSLER                                     PO BOX 189                                                                                     HOCKESSIN          DE    19707‐0189
KAY W SHEA                                        1646 PARKVIEW DR                                                                               CANYON LAKE        TX    78133‐3326
KAY W SUHLER                                      411 NORTH KINGSWAY DR                                                                          AURORA             IL    60506‐5201
KAY WILLIAMS TR UA 01/16/96                       9105 ANN ARBOR RD                                                                              PLYMOUTH           MI    48170‐5103
KAY YANG                                          888 7TH ST UNIT 204                                                                            SAN FRANCISCO      CA    94107
KAY YOUKNA                                        17916 RUTH                                                                                     MELVINDALE         MI    48122‐1525
KAY YVONNE COURTRIGHT CUST MARIA KAY              8520 SUNBEAM LANE                                                                              LINCOLN            NE    68505‐3159
COURTRIGHT UGMA IA
KAY‐DEE STASIK                                    873 MEADOWVIEW DR                                                                              FLORA              IL    62839‐2703
KAYA FRAILICH ALBER & EUGENIA JAROSHEVSKA &       5162 JASON ST                                                                                  HOUSTON            TX    77096‐1427
MARINA AKERMAN JT TEN
KAYCEE D GREEN                                    6408 SILVER MESA DR                   UNIT F                                                   LITTLETON          CO    80130‐5880
KAYCIE MICHELLE REYNOLDS                          230 YOUNGER RD                                                                                 DIANA              TX    75640
KAYCO INC                                         2746 NORMA CT                                                                                  GLENVIEW           IL    60025‐4661
KAYE A BOJACK                                     17923 CANTERBURY RD                                                                            CLEVELAND          OH    44119‐1333
KAYE CROCKER                                      7201 NORTH TERRITORIAL RD                                                                      EVANSVILLE         WI    53536
KAYE E SPENCER                                    5131 E MICHIGAN AVE                                                                            AUGRES             MI    48703‐9470
KAYE F FULLER                                     1224 R ST                                                                                      ORD                NE    68862‐1802
KAYE H HART                                       2413 KIMBERLY DR                                                                               TOLEDO             OH    43615‐2740
KAYE HAHN CUST CARA HAHN UGMA MI                  6726 BLYTHFIELD NE                                                                             ROCKFORD           MI    49341
KAYE HOFFMAN                                      C/O DORIS DYE                         11156 CENTER RD                                          GARRETTSVILLE      OH    44231
KAYE HOPE TENERELLI                               809 E 8TH ST                                                                                   SUPERIOR           WI    54880‐3217
KAYE J ARRWOOD                                    49450 JUDD ROAD                                                                                BELLEVILLE         MI    48111‐9336
KAYE J MOON                                       4817 DEVONHURST WAY                                                                            POWDER SPRINGS     GA    30127‐1295

KAYE L BELCUORE                                   357 KINGS HIGHWAY                                                                              LINCOLN PARK       MI    48146‐3132
KAYE M BARBER                                     479 NORTH BALDWIN RD                                                                           CLARKSTON          MI    48348‐2263
KAYE M MAILLARD                                   45 DENNY RD                                                                                    BATH               ME    04530‐2346
KAYE MADIGAN                                      4695 ALDUN RIDGE AVE NW               APT 303                                                  COMSTOCK PARK      MI    49321‐9059
KAYE MARIE BOOKER                                 464 SWEET STREET                                                                               BUFFALO            NY    14211‐3267
KAYE R HITCHCOCK                                  60 PARTRIDGE RD                                                                                PITTSFIELD         MA    01201
KAYE SOLAK                                        5987 BADAL DRIVE                                                                               LOWELLVILLE        OH    44436‐1181
KAYE SOLAK                                        5987 BADAL DR                                                                                  LOWELLVILLE        OH    44436‐1181
KAYE V BABCOCK                                    606 MILL ST                                                                                    ALMA               MI    48801‐2249
KAYED J BAZZI                                     7014 OAKMAN                                                                                    DEARBORN           MI    48126‐1829
KAYFRANCIS JOHNSON                                5506 LEAVELLS CROSSING DRIVE                                                                   FREDERICKSBURG     VA    22407‐1639
KAYLA KATHRYN MALCHAR                             1113 WOODCLIFF DR                                                                              MC KINNEY          TX    75070‐8395
KAYLA L CAUSEY                                    6568 BLUEBONNET DR                                                                             CARLSBAD           CA    92009‐2502
KAYLA M MELICK CUST BRUCE MELICK UTMA (IA)        4335 CLOVERDALE RD                                                                             CEDAR RAPIDS       IA    52411‐6816
KAYLE A GIRVIN                                    1841 MORNING VIEW DR                                                                           VISTA              CA    92084‐3350
KAYOKO KARIYA TR KAYOKO KARIYA REVOCABLE LIVING   15725 HIGHWAY 76                                                                               PAUMA VALLEY       CA    92061‐9533
TRUST UA 10/20/98
KAZIMIER W ZABINSKI                               615 ADAMS AVE #1                                                                               ELIZABETH          NJ    07201
KAZIMIERA KOLODZIEJ & BARBARA ZANARDO JT TEN      34887 EASON                                                                                    STERLING HEIGHTS   MI    48312‐5017

KAZIMIERA MULARZ                                  109 JERSEY AVE                                                                                 EDISON             NJ    08820‐3853
KAZIMIERZ C MLOCKI                                8950 ASPEN CIR                                                                                 CLEVELAND          OH    44129‐6408
KAZIMIERZ H RADKO                                 1403 E MINTON DRIVE                                                                            TEMPE              AZ    85282‐7310
KAZIMIERZ JACKOW                                  11989 WHISPERING OAK                                                                           UTICA              MI    48315‐1173
KAZIMIERZ KLOC                                    512 ERUDO STREET                                                                               LINDEN             NJ    07036‐5728
KAZIMIERZ PYTEL & MRS RUTH M PYTEL JT TEN         5 HILLSIDE RD                                                                                  WILMINGTON         DE    19804‐1329
KAZIMIERZ SZYMCZAK                                1967 CHANCRY                                                                                   TROY               MI    48098‐1432
KAZIMIERZ Z DZIUBINSKI & MRS URSZULA M DZIUBINSKI 9 N MAIN ST #1 SE                                                                              MOUNT PROSPECT     IL    60056‐2460
JT TEN
KAZIMIERZ Z STECHLY                               63605 WILLIAMSBURG                                                                             WASHINGTON         MI    48095‐2445
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                                                      Part 4 of 8 Pg 540 of 855
Name                                             Address1                              Address2                 Address3                   Address4               City           State Zip

KAZUHIKO KOBAYASHI                               20 SUMIYOSHI CHO                      TAKASAKI CITY GUNMA                                 JAPAN
KAZUHIKO SATO & MRS BETTY H SATO JT TEN          5742 SOUTHALL TERR                                                                                               IRVINE         CA    92612‐3517
KAZUMI NAKADA                                    FACHSTRASSE 39                        OBERRIEDEN                                          8942 SWITZERLAND
KAZUNARI UENO                                    939 E 7TH AVE                                                                                                    BROOMFIELD     CO    80020
KAZUNO K ODO & NELSON J ODO & CLYDE Y ODO JT TEN PO BOX 354                                                                                                       WAIMEA         HI    96796‐0354

KBCR & ASSOCIATES                                C/O BARON WALKER PO BOX 2607                                                                                     MADISON        MS    39130
KE QIAN                                          7350 MOONEY DR                                                                                                   ROSEMEAD       CA    91770‐3430
KEA M BLALOCK                                    144 SOUTHWIND CIRCLE                                                                                             ST AUGUSTINE   FL    32080‐5352
KEAN B LAWLOR & JAMES J LAWLOR SR JT TEN         3503 W LAURELHURST DRIVE NE                                                                                      SEATTLE        WA    98105‐5317
KEANA C COVINGTON                                99 STERLING RD                                                                                                   JACKSONVILLE   NC    28546‐8328
KEATH Z JACKSON                                  2205 BREEZEWOOD E CT                                                                                             MARION         IN    46952‐9290
KEATING GRIFFISS                                 106 SCENIC HWY                                                                                                   LOOKOUT MTN    TN    37350‐1240
KEAUTTA E AFFLERBACH                             501 N PRATT ST                        #1                                                                         GREENFIELD     IN    46140‐1660
KECIA BENNETT                                    1103 DUNHAM                                                                                                      GRAND RAPIDS   MI    49506‐2661
KEE H LEE                                        517 SENTINEL RD                                                                                                  MOORESTOWN     NJ    08057‐2112
KEE LUM                                          47 LAKE DRIVE                         HUNTSVILLE ON                                       P1H 1E7 CANADA
KEEBUM CHANG & UTA DIERKER JT TEN                6160 N PINE HOLLOW DR                                                                                            PARKER         CO    80134‐5827
KEEGAN ROSERA                                    3014 WILLIAM CANNON DR APT 318                                                                                   AUSTIN         TX    78745‐5186
KEELEY A JOHNSON                                 349 SUNRISE AVE                                                                                                  WILLOWBROOK    IL    60527‐6110
KEENAN A ESTESE                                  2929 WHITEHOUSE DR                                                                                               KOKOMO         IN    46902‐3295
KEENAN K N FONG CUST KEVYN K M FONG UTMA NV      8420 WILLOWLEAF CT                                                                                               LAS VEGAS      NV    89128‐8285

KEENAN L BORG                                    11870 PARKIN LANE                                                                                                FENTON         MI    48430‐8769
KEENER J TODD                                    19076 NE OAK HILL DR                                                                                             BLOUNTSTOWN    FL    32424‐4315
KEENO DIALS                                      2314 RED RIVER DR                                                                                                GARLAND        TX    75044‐6748
KEEVIL M HAMILTON                                8037 STONELICK RD                                                                                                MAYSVILLE      KY    41056‐9426
KEH H TUNG                                       5157 EASTBROOK CT                                                                                                SHELBY TWP     MI    48316‐3144
KEH H TUNG                                       5157 EASTBROOK CT                                                                                                SHELBY TWP     MI    48316‐3144
KEH‐HSING TUNG & JEANETTE‐MING TUNG JT TEN       5157 EASTBROOK CT                                                                                                SHELBY TWP     MI    48316‐3144
KEI ROGER AOKI                                   2 GINGER LILY CT                                                                                                 COTO DE CAZA   CA    92679‐5110
KEIKO TOBITA                                     C/O YUKIO UENO                        408 YUKIGAYA HIME 21‐7   4‐CHOME HIGASHI YUKIGAYA   OHOTA‐KU TOKYO JAPAN
KEILA JOHNSON                                    2616 MARILYN ROAD                                                                                                OTTUMWA        IA    52501
KEIM T HOUSER TR KEIM T HOUSER REVOCABLE TRUST   6415 CEDAR TRAIL                                                                                                 SOUTH BEND     IN    46614‐6466
UA 12/12/97
KEIRRA SHINAULT                                  270 N BROADWAY #3C                                                                                               YONKERS        NY    10701‐2672
KEISHA ANN WEBSTER                               2824 HADINGON CT                                                                                                 ADAMSTOWN      MD    21710‐9462
KEISHA EVANS                                     175 N KENILWORTH AV                                                                                              OAK PARK       IL    60301‐1272
KEITH A ACREE                                    3726 S UNION ST                                                                                                  INDEPENDENCE   MO    64055‐3148
KEITH A ARMOUR                                   11790 CAVELL                                                                                                     LIVONIA        MI    48150‐5314
KEITH A ATKINSON                                 1508 CAVEL ROAD                                                                                                  BALTIMORE      MD    21237‐1802
KEITH A ATKINSON                                 7149 CORAL COVE DR                                                                                               ORLANDO        FL    32818‐2878
KEITH A BAKER                                    2816 SHARP RD                                                                                                    ADRIAN         MI    49221‐9668
KEITH A BALDWIN                                  4195 REGULUS CS                                                                                                  LIVERPOOL      NY    13090‐1913
KEITH A BARKO                                    4415 N GLEANER RD                                                                                                FREELAND       MI    48623‐9214
KEITH A BEALS                                    25004 PAPPAS RD                                                                                                  RAMONA         CA    92065‐4920
KEITH A BENDER                                   1801 BALLPARK RD                                                                                                 STURGIS        SD    57785
KEITH A BERRY                                    2827 HARWICK DR 3                                                                                                LANSING        MI    48917‐2352
KEITH A BONNES                                   7397 N 120TH AVE                                                                                                 HOLLAND        MI    49424‐9427
KEITH A BRACE                                    203 WEST BLAIR ST                                                                                                HASTINGS       MI    49058‐1445
KEITH A BROGDON                                  3117 CLEVELAND AVENUE                                                                                            BRROKFIELD     IL    60513‐1115
KEITH A BRONNENBERG                              7421 S 100 E                                                                                                     PENDLETON      IN    46064
KEITH A BROWN                                    663 MORAND ST                         WINDSOR ON                                          N9G 1J1 CANADA
KEITH A BUSH                                     1320 JORDAN AVE                                                                                                  DAYTON         OH    45410‐2803
KEITH A BYARD                                    3732 WEDGEWOOD DR                                                                                                LAPEER         MI    48446‐2998
KEITH A CAMPBELL                                 48480 HANFORD                                                                                                    CANTON         MI    48187‐5418
KEITH A CASH                                     5109 E HWY 66                                                                                                    EL RENO        OK    73036‐9206
KEITH A CHIPMAN                                  12 DAVID DRIVE                                                                                                   BLACKSTONE     MA    01504‐2005
KEITH A COOPER                                   36615 WHITCOMB ST                                                                                                LIVONIA        MI    48154‐1663
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 541 of 855
Name                                          Address1                              Address2             Address3          Address4          City               State Zip

KEITH A CORN                                  362 LEXINGTON AVE                                                                              MANSFIELD          OH    44907‐1352
KEITH A CORWIN                                1108 SOUTHLAWN                                                                                 EAST LANSING       MI    48823‐3041
KEITH A CORWIN & KAREN D CORWIN JT TEN        1108 SOUTHLAWN                                                                                 E LANSING          MI    48823‐3041
KEITH A CRAM                                  1764 CLAIRVILLE RD                                                                             OSHKOSH            WI    54904‐6200
KEITH A DE MOLAY                              37251 NORENE                                                                                   WESTLAND           MI    48186‐9378
KEITH A DOORNBOS                              10632 WHITE BIRCH DR                                                                           ALLENDALE          MI    49401‐8721
KEITH A DOUSE                                 26 BERLIN ST                                                                                   ROCHESTER          NY    14621‐4708
KEITH A ECKLER                                5975 WILLIAMS DRIVE                                                                            PLAINFIELD         IN    46168‐9321
KEITH A EWERT & DEBORAH JOY EWERT JT TEN      36272 N NATHAN HALE                                                                            LAKE VILLA         IL    60046‐9313
KEITH A GEYER                                 487 W HWY 7                                                                                    ALTA               IA    51002‐7420
KEITH A GOODRICH                              10165 85TH AVE                                                                                 MECOSTA            MI    49332‐9561
KEITH A HASSLER                               7231 BEND LANE                                                                                 WRIGHTSVILLE       PA    17368
KEITH A JAMES                                 SHORT TRACK RD                                                                                 HUNT               NY    14846
KEITH A JARZABKOWSKI                          1530 SHORT RD                                                                                  SAGINAW            MI    48609‐9230
KEITH A JOHNSON                               8 PHILLIPPI CREEK DR                                                                           ELGIN              IL    60120‐7585
KEITH A JOHNSTONE                             1925 CRAGIN DR                                                                                 BLOOMFIELD HILLS   MI    48302‐2233

KEITH A JORDAN                                  1058 GRAHAM ROAD                                                                             FLINT              MI    48532
KEITH A KANIPE                                  10967 PRESERVATION PT                                                                        FISHERS            IN    46038‐4147
KEITH A KOPITZ                                  1127 DERBY RD                       APT 6                                                    BIRMINGHAM         MI    48009‐5803
KEITH A KRAMAR                                  2740 ARMSTRONG                                                                               LAKE ORION         MI    48360‐1704
KEITH A KRAMAR & PAMELA A KRAMAR JT TEN         2740 ARMSTRONG DR                                                                            LAKE ORION         MI    48360‐1704
KEITH A KREIDER                                 1011 S GERALD DR                                                                             NEWARK             DE    19713‐3031
KEITH A LANDIS                                  118 EAST WATSON ST                                                                           BEDFORD            PA    15522‐1746
KEITH A LANDIS & MARY BETH LANDIS JT TEN        118 EAST WATSON STREET                                                                       BEDFORD            PA    15522‐1746
KEITH A LINTEMUTH                               3811 N KREPPS RD                                                                             ST JOHNS           MI    48879‐9090
KEITH A LOTZE                                   14982 W GENTLE BREEZE WAY                                                                    SURPRISE           AZ    85374‐8631
KEITH A LUETHJE                                 220 OAK DRIVE                                                                                LUVERNE            MN    56156
KEITH A MAGNESON                                4705 W 81ST ST                                                                               PRAIRIE VILLAGE    KS    66208‐5029
KEITH A MALLOW                                  5800 JEFFERSON NE                                                                            FRIDLEY            MN    55432‐5637
KEITH A MCCLOY & KIMBERLY MCCLOY JT TEN         455 WILLIAM DR                                                                               CHILLICOTHE        OH    45601‐8476
KEITH A MEADER & JULIE R MEADER & JOHN D MEADER 271 ROUND LAKE RD                                                                            BALLSTON LAKE      NY    12019‐1714
JR JT TEN
KEITH A MILLS                                   15700 SE 182ND PL                                                                            RENTON             WA    98058‐9661
KEITH A OVITT                                   1105 N WASHINGTON ST                                                                         WHEATON            IL    60187‐3859
KEITH A PADGETT                                 2043 SOUTHFIELD DR                                                                           LADY LAKE          FL    32162‐6727
KEITH A PALMATEER                               2928 CHICAGO BLVD                                                                            FLINT              MI    48503‐3473
KEITH A PARKER                                  7283 CALKING RD                                                                              FLINT              MI    48532‐3004
KEITH A PASSENO                                 2029 S FIVE LAKES ROAD                                                                       METAMORA           MI    48455‐9355
KEITH A PENNY & GLORIA J PENNY JT TEN           2393 S HENDERSON RD                                                                          DAVISON            MI    48423‐9154
KEITH A PINTO                                   618 W PALMER ST                                                                              MORRISVILLE        PA    19067‐2173
KEITH A PUCKRIN                                 RR2                                 SEAGRAVE ON                            L0C 1G0 CANADA
KEITH A RACHWAL                                 29021 ALINE DR                                                                               WARREN             MI    48093‐2635
KEITH A RECK                                    9440 NEW HARRISON BRADFORD                                                                   BRADFORD           OH    45308‐9504
KEITH A RUSSELL                                 250 KEARNEY ST                                                                               PORTLAND           MI    48875‐1550
KEITH A RUST                                    PO BOX 338                                                                                   SAINT PARIS        OH    43072‐0338
KEITH A RUUD                                    11617 N LAKE ST                                                                              MILTON             WI    53563‐9641
KEITH A SCHRAFT                                 6804 TOBOGGAN LANE                                                                           LANSING            MI    48917‐9725
KEITH A SEAY                                    9675 TRILOBI DR                                                                              INDIANAPOLIS       IN    46236‐9704
KEITH A SIDLER                                  4394 SEYBOLD RD                                                                              DAYTON             OH    45426‐4110
KEITH A SIMPSON                                 P O BOX 1088                                                                                 LIMON              CO    80828
KEITH A STOVER                                  1710 HAINES ROAD                                                                             LAPEER             MI    48446‐8605
KEITH A SWEENEY                                 3701 KENT                                                                                    FLINT              MI    48503‐4580
KEITH A TUSHEK                                  2827 RIVER MEADOW CIRCLE                                                                     CANTON             MI    48188‐2333
KEITH A VANTIL                                  55 LAKE RD                                                                                   FISHKILL           NY    12524‐3008
KEITH A WALLER                                  PO BOX 287                                                                                   LAWTON             OK    73502
KEITH A WERNER                                  4290 SAND ROAD                                                                               NORWALK            OH    44857‐9706
KEITH A WHITACRE                                3447 MILLSBORO RD                                                                            MANSFIELD          OH    44903‐8646
KEITH A WILK                                    273 RIVER DRIVE                                                                              APPLETON           WI    54915‐1212
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 542 of 855
Name                                            Address1                              Address2               Address3        Address4          City              State Zip

KEITH A WILLIAMS & G LOUISE WILLIAMS JT TEN     2230 EASTVIEW DR                                                                               MURFREESBORO      TN    37128
KEITH A WILSON                                  825 AUDREY PL                                                                                  DAYTON            OH    45406‐4402
KEITH A WIRTH                                   PO BOX 631                                                                                     JACKSON           MI    49204‐0631
KEITH A WOOD                                    11312 CARDWELL                                                                                 LIVONIA           MI    48150‐3241
KEITH A YEANY                                   C/O FRED YEANY                        1010 SE 4TH AVE #331                                     DEERFIELD BEACH   FL    33441‐6901
KEITH ABLA                                      9980 W D E AVE                                                                                 KALAMAZOO         MI    49009‐8812
KEITH ALAN BAUER                                4318 FLORAL AVE                                                                                CINCINNATI        OH    45212
KEITH ALAN BENNETT & STEPHEN B BENNETT JT TEN   28620 KEMPTOWN ROAD                                                                            DAMASCUS          MD    20872‐1333

KEITH ALAN MCNULTY                               1206 WILDROSE DR                                                                              PALM BAY          FL    32905‐4310
KEITH ALLAN PATERSON & CYNTHIA L PATERSON JT TEN 527 DUNLAP                                                                                    NORTHVILLE        MI    48167‐1408

KEITH ALLEN CUST ELIZABETH N DURHAM UGMA MI     2767 CAYMAN WY                                                                                 ORLANDO           FL    32812‐5352

KEITH ALLEN PERRINE                               494 FLORA CREEK CT                                                                           LAKE MARY         FL    32746‐2201
KEITH ALLYN BAKER                                 3835 S 261ST ST                                                                              KENT              WA    98032‐7073
KEITH ANDERSON                                    1426 77TH ST                                                                                 DARIEN            IL    60561‐4409
KEITH AUFDERHEIDE                                 1418 RIVER HAVEN DR                                                                          LAWRENCEVILLE     GA    30045‐2771
KEITH B ARNDT                                     2601 CITATION DR                                                                             JANESVILLE        WI    53546‐6189
KEITH B BERGUM TR RONALD B BERGUM FAMILY TRUST 940 ROWLAND                                                                                     LEONARD           MI    48367‐2212
UA 04/15/96
KEITH B CAMPBELL                                  3495 FOREST GLADE DR                WINDSOR ON                             N8R 1X8 CANADA
KEITH B CARTER                                    42350 CLEMONS                                                                                PLYMOUTH          MI    48170‐2593
KEITH B DEFOLO TR LIVING TRUST 09/04/86 U‐A KEITH 418 WILLIAMS PL                                                                              SAN MATEO         CA    94401‐2420
DEFOLO
KEITH B ELLIOTT                                   19387 DALE                                                                                   DETROIT           MI    48219‐4680
KEITH B JEFFERSON                                 956 SHERIDAN                                                                                 YPSILANTI         MI    48197
KEITH B MARTIN                                    10 NOBLES LN                                                                                 PITTSBURGH        PA    15210‐3510
KEITH B PHLIPOT                                   215 N LINCOLN ST                                                                             MINSTER           OH    45865‐1016
KEITH B REED                                      823 S 101ST ST                                                                               MILWAUKEE         WI    53214‐2506
KEITH B THOMAS                                    2641 SARSI DRIVE                                                                             LONDON            OH    43140‐9023
KEITH B VAN VLEET                                 138 BAY VIEW DR                                                                              DAPHNE            AL    36526
KEITH B WHITSON                                   5303 BROBECK ST                                                                              FLINT             MI    48532‐4002
KEITH B WILLIS                                    85 FERNWOOD AVE                                                                              YOUNGSTOWN        OH    44509‐2441
KEITH B ZIMMER                                    39 MURRY S E                                                                                 KENTWOOD          MI    49548‐3306
KEITH BARTON MYERS                                29 LAFAYETTE ST                                                                              QUINCY            MA    02169‐2219
KEITH BICKFORD & FRANCES F BICKFORD TR BICKFORD 411 VALLEY VIEW DR                                                                             LOS ALTOS         CA    94024‐4741
FAMILY TRUST 04/14/88
KEITH BRADFORD VAUGHN                             4313 MAINES ST                                                                               FLINT             MI    48505‐3632
KEITH BRIAN GIANNI                                1222 WELL ST #1                                                                              FAIRBANKS         AK    99701‐2835
KEITH BRILL                                       320 S 8TH ST                        PO BOX 241                                               OOSTBURG          WI    53070‐1403
KEITH BROWN                                       2810 LANCELOT DRIVE                                                                          ANDERSON          IN    46011‐9096
KEITH BUCKMAN                                     14910 GRANDMOUNT                                                                             DETROIT           MI    48227‐1431
KEITH BURGER                                      1710 GRIFFIN GATE RD                                                                         LOUISVILLE        KY    40205‐2731
KEITH C ALDERMAN                                  81 ASHBURNHAM STATE RD                                                                       WESTMINSTER       MA    01473‐6669
KEITH C BEST                                      5804 LIGHTHOUSE DR                                                                           FLOWER MOUND      TX    75022‐6474
KEITH C BOCK                                      4200 CLOVER ST                                                                               HONEOYE FALLS     NY    14472‐9222
KEITH C FLEMING                                   2928 BREMEN ST                                                                               COLUMBUS          OH    43224‐4308
KEITH C GAETH                                     5565 MT ACONIA WAY                                                                           SAN DIEGO         CA    92111‐4655
KEITH C GEDEON CUST CLAYTON H GEDEON UGMA PA 325 MUNNTOWN RD                                                                                   EIGHTY FOUR       PA    15330‐2633

KEITH C GEDEON CUST JAMIE LEE GEDEON UGMA PA    325 MUNNTOWN RD                                                                                EIGHTY FOUR       PA    15330‐2633

KEITH C MOREY JR                                1579 LINCOLNSHIRE DR                                                                           LAPEER            MI    48446‐3147
KEITH C REESE & DEANNA REESE JT TEN             OS520 RIVER GLEN RD                                                                            WEST CHICAGO      IL    60185
KEITH C SCHUYLER & ELOISE J SCHUYLER JT TEN     714 LAIDECKER RD                                                                               MUNCY             PA    17756‐6901
KEITH CAMERON SNEDDON                           85 MANTON ST                                                                                   SAYVILLE          NY    11782‐1327
KEITH CARTER JR                                 4771 PENNSYLVANIA                                                                              DETROIT           MI    48214‐1438
KEITH CAVALIER                                  169 W 5TH ST                                                                                   FULTON            NY    13069‐2129
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 543 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

KEITH CHARLES DILL                                3215 STEEPLECHASE COURT                                                                       FLINT           MI    48532‐3751
KEITH CHARLES GARRISON                            6072 BROBECK ST                                                                               FLINT           MI    48532‐4006
KEITH CHRISTIAN FAYE                              501 LAKE AVE N                                                                                FREDERIC        WI    54837‐4542
KEITH CLARK                                       2 BOULEVARD PKWY                                                                              ROCHESTER       NY    14612‐5515
KEITH COLE                                        412 W 9TH AVE                                                                                 FLINT           MI    48503
KEITH COOPER                                      15835 MENDOTA                                                                                 DETROIT         MI    48238‐1040
KEITH COULTHARD                                   375 CARNABY COURT                    OSHAWA ON                              L1G 6N7 CANADA
KEITH D ASBURY                                    3145 N COUNTY ROAD 800 E                                                                      BROWNSBURG       IN   46112‐9379
KEITH D BACON                                     1956 ANDOVER DR                                                                               YPSILANTI        MI   48198‐9411
KEITH D BADGLEY                                   410 BRAVE COURT                                                                               KOKOMO           IN   46902‐5410
KEITH D BARRINGTON                                7875 ELYRIA RD                                                                                MEDINA           OH   44256‐9481
KEITH D BARTMAN                                   7520 N GARDEN CT                                                                              JENISON          MI   49428‐8767
KEITH D BEARDSLEY                                 7 SOUTH DRIVE                                                                                 CALEDONIA        NY   14423
KEITH D BLIGHT                                    5312 OLDE SAYBROOKE RD                                                                        GRAND BLANC      MI   48439‐8764
KEITH D BREWER & TAMRA L BREWER JT TEN            5430 STEVIN DRIVE                                                                             PADUCAH          KY   42001‐9740
KEITH D BRYCE                                     1003 WILLOW                                                                                   YUKON            OK   73099‐4734
KEITH D CALKINS                                   1541 MONTERAY                                                                                 FLINT            MI   48503‐3569
KEITH D CARRICO                                   6001 EMERSON AVE N                                                                            BROOKLYN CTR     MN   55430‐2624
KEITH D COOPERWOOD                                1450 N STATE HIGHWAY 360             APT 341                                                  GRAND PRAIRIE    TX   75050‐2586
KEITH D DOMES                                     6160 GORE RD                                                                                  ASHTABULA        OH   44004‐8624
KEITH D DORTCH                                    18300 ARDMORE                                                                                 DETROIT          MI   48235‐2530
KEITH D ELROD & JOANNE V ELROD JT TEN             PO BOX 307                                                                                    SKYKOMISH        WA   98288‐0307
KEITH D GOFF                                      3522 EAST 40TH ST                                                                             WHITE CLOUD      MI   49349‐9763
KEITH D GOLDSBERRY                                2071 BELCHER DRIVE                                                                            COLUMBUS         OH   43224‐1504
KEITH D GROSSBAUER                                2792 ROODS LAKE RD                                                                            LAPEER           MI   48446‐8664
KEITH D HAMILTON                                  1292 THORNRIDGE DR                                                                            HOWELL           MI   48843
KEITH D HEPFINGER                                 3557 DELMONTE                                                                                 STERLING HTS     MI   48078
KEITH D HUMPHRY                                   3535 HOLLAND RD                                                                               ROANOKE          VA   24018‐3831
KEITH D KNIFFEN                                   10934 US 2                                                                                    RALPH RIVER      MI   49878‐9119
KEITH D LOWE & EVA E LOWE JT TEN                  102 MORNING STAR CAY                                                                          NAPLES           FL   34114‐9604
KEITH D MC MULLEN                                 5106 HEMINGWAY LAKE RD                                                                        OTTER LAKE       MI   48464‐9752
KEITH D MEWTON                                    PO BOX 760                                                                                    ORTONVILLE       MI   48462‐0760
KEITH D NICHOLS & DONGDONG ZHANG JT TEN           5137 GLENCARRON DR                                                                            NASHVILLE        TN   37220‐2350
KEITH D NORMAN                                    8799 S COLDWATER RD                                                                           BLANCHARD        MI   49310‐9702
KEITH D PARKES                                    279 LAFAYETTE ST                     PO BOX 22                                                OOLITIC          IN   47451‐0022
KEITH D POWERS                                    4143 CORBIN DRIVE                                                                             FLINT            MI   48532‐4626
KEITH D PRETORIUS & MEREDITH A PRETORIUS JT TEN   4438 STATE ROUTE 416 SE                                                                       NEW PHILADELPHIA OH   44663‐6852

KEITH D PRILL                                     520 NEW YORK AVE                                                                              LINCOLN PARK    MI    48146
KEITH D RADAK & JANET L RADAK JT TEN              834 COURTLAND                                                                                 YPSILANTI       MI    48197‐1718
KEITH D RIEDMAIER                                 328 WILSON AVE                                                                                PORT CLINTON    OH    43452‐1742
KEITH D STREETER                                  310 E MAIN ST                                                                                 DURAND          MI    48429‐1707
KEITH D WARD & JUDITH K WARD JT TEN               1006 WOODRIDGE                                                                                BROWNSBURG      IN    46112‐7976
KEITH D WOHLFERT                                  7780 AIRPORT RD                                                                               DEWITT          MI    48820‐9102
KEITH DAVID CONNELL CUST SHANNON LEE CONNELL      3300 W 119TH STREET                                                                           LEAWOOD         KS    66209‐1077
UTMA MO
KEITH E BATTLE                                    10332 FALLING LEAF DR NW                                                                      CONCORD         NC    28027‐8104
KEITH E BAUN                                      4515 SOUTH DURANGO DRIVE 1028                                                                 LAS VEGAS       NV    89147
KEITH E BECK                                      1594 STATE RT 14                                                                              DEERFIELD       OH    44411‐9701
KEITH E BENJAMINSEN                               115 S HELEN                                                                                   ROCHESTER       MI    48307‐2527
KEITH E BLISS                                     2568 DAVIS PECK RD                                                                            CORTLAND        OH    44410‐9616
KEITH E BOWERS                                    24 PINE CREEK AVE                                                                             JERSEY SHORE    PA    17740
KEITH E BOZZI                                     33615 KATHRYN                                                                                 GARDEN CITY     MI    48135‐1079
KEITH E BROWER                                    8400 SE 57TH DR                                                                               OKEECHOBEE      FL    34974‐1710
KEITH E CHALPAN                                   4043 BENT WILLOW DRIVE SW                                                                     LILBURN         GA    30047‐3354
KEITH E CROSSLAND                                 6528 EAST 100 NORTH                                                                           AVON            IN    46123
KEITH E DALSING                                   R R 3 BOX 142                        2600 COUNTY HWY Y                                        DODGEVILLE      WI    53533‐9751
KEITH E DOWNIE                                    1260 TIMBERLINE PL                                                                            ALPARETTA       GA    30005‐3715
KEITH E FREEMAN                                   23305 BARWOOD LN N                   APT 202                                                  BOCA RATON      FL    33428‐6719
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 544 of 855
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

KEITH E GOMOLL EST MARY L VIGIL                  50409 KNIGHTBRIDGE                                                                               MACOMB            MI    48044
KEITH E HARDER                                   3350 ANTHONY LN                                                                                  TERRE HAUTE       IN    47803‐2384
KEITH E HOCKER                                   6535 WESTFALL RD                                                                                 GREENVILLE        OH    45331‐9289
KEITH E HUNTER                                   8121 VERONA RD                                                                                   PORT AUSTIN       MI    48467‐9314
KEITH E JACOB & HILDA E JACOB JT TEN             14 ANEMONE CIRCLE                                                                                NORTH OAKS        MN    55127‐6245
KEITH E JENKIN                                   19 NORTHWOOD COURT RR#2                 SHANTY BAY ON                          L0L 2L0 CANADA
KEITH E KOBE                                     54842 WALNUT DR                                                                                  NEW HUDSON        MI    48165‐9500
KEITH E KOLODSICK JR                             385 DREXELGATE PKWY                                                                              ROCHESTER HILLS   MI    48307‐3418
KEITH E LARKINS                                  468 EDGAR DR                                                                                     CADIZ             KY    42211
KEITH E LEMMON                                   12101 BREWSTER                                                                                   LIVONIA           MI    48150‐1445
KEITH E LITTLE                                   PO BOX 273                                                                                       BROHMAN           MI    49312‐0273
KEITH E LIVINGSTON                               5931 CLEARLAKE DRIVE                                                                             DAYTON            OH    45424‐2922
KEITH E LOWDEN                                   5630 CAMBRIDGE BAY DRIVE                                                                         CHARLOTTE         NC    28269‐6118
KEITH E MILLER                                   1635 JARRATT DR                                                                                  ROCKVALE          TN    37153‐4050
KEITH E MOORE                                    BOX 121                                 202 ROUND LAKE RD                                        VERMONTVILLE      MI    49096‐9413
KEITH E NEWTON                                   420 48TH STREET                                                                                  SANDUSKY          OH    44870‐4981
KEITH E NEWTON & LOUISE T NEWTON JT TEN          420 48TH STREET                                                                                  SANDUSKY          OH    44870‐4981
KEITH E NOE                                      9684 E TUPPERLAKE RD                                                                             MULLIKEN          MI    48861‐9703
KEITH E NOLAN                                    6600 HALLENBECK HWY                                                                              MANITOU           MI    49253‐9747
KEITH E RAYMOND                                  1820 HOLIDAY DRIVE S W                                                                           WYOMING           MI    49509‐4231
KEITH E SAVILLE                                  7089 W MT MORRIS RD                                                                              FLUSHING          MI    48433‐8821
KEITH E SCHULTE                                  6060 BANNER                                                                                      TAYLOR            MI    48180‐1253
KEITH E SCOTT                                    13978 HUBBARD                                                                                    LIVONIA           MI    48154‐4158
KEITH E SEFTON                                   5927 MORRIS RD                                                                                   SPOTSYLVANIA      VA    22553‐2644
KEITH E SNAVELY & KATHARINE M SNAVELY JT TEN     619 FULCHER LANE                                                                                 CHESTER           VA    23836‐2717
KEITH E STILWELL                                 302 MERIDIAN                                                                                     BAY CITY          MI    48706‐1958
KEITH E SUTTON                                   7231 COTTONWOOD KNOLL                                                                            WEST BLOOMFIELD   MI    48322‐4046

KEITH E TANIS                                    PO BOX 143                                                                                       VIOLA             DE    19979
KEITH E TIMMONS                                  2615 N BETHLEHEM RD                                                                              MARION            IN    46952‐8794
KEITH E TRAMMEL                                  1817 DARST AVE                                                                                   DAYTON            OH    45403‐3105
KEITH E TRUMBLE                                  14640 S GREENTREE DR                                                                             OLATHE            KS    66061‐9620
KEITH E VANDERKARR                               8059 NICHOLS RD                                                                                  GAINES            MI    48436‐9705
KEITH E VOIGHT & LYNN S VOIGHT JT TEN            5210 ELSMERE AVE                                                                                 BETHESDA          MD    20814‐5731
KEITH E WATERS                                   179 BRIDGE ST                                                                                    BERLIN            NH    03570‐3341
KEITH E WERNER SR                                3403 TWIN BRIDGES RD                                                                             WILLIAMSBURG      OH    45176‐9290
KEITH E WILLIAMS                                 1372 BINGHAM MILLS DR                                                                            NEW ALBANY        OH    43054‐9434
KEITH E WILLIAMS                                 39097 NOTTINGHAM DR                                                                              ROMULUS           MI    48174‐6326
KEITH E WILLIAMS & PAULINE WILLIAMS JT TEN       39 MADRID LANE                                                                                   DAVIE             FL    33324
KEITH EDWARD SCOTT                               2333 ULA DR                                                                                      CLIO              MI    48420‐1065
KEITH EDWARD WARNACK                             ZUCCALISTRASSE 6                        MUNICH                                 GERMANY
KEITH EDWARDS                                    4519 TARRY LN                                                                                    WILMINGTON        DE    19804‐4018
KEITH EDWIN ANDERSON & SAMUEL J ANDERSON JT      95 BEDFORD FORREST DR                                                                            SHARHSBURG        GA    30277‐8936
TEN
KEITH EICHENSEHR                                 235 VALLEY ROAD                                                                                  MINERAL POINT   PA      15942‐4608
KEITH ERIC SUTTON                                7231 COTTONWOOD KNOLL                                                                            WEST BLOOMFIELD MI      48322‐4046

KEITH ERICKSON                                   61 SUNROSE CT                                                                                    LAKE JACKSON      TX    77566‐4820
KEITH EUGENE MCSHERLEY                           400 W                                   5222 N CO RD                                             MIDDLETOWN        IN    47356
KEITH F CHELTON & DORIS M CHELTON TEN ENT        146 STANMORE RD                                                                                  BALT              MD    21212‐1131
KEITH F HALFMANN                                 10324 VAUD CT                                                                                    REED CITY         MI    49677‐8279
KEITH F MILLER                                   11199 T‐190                                                                                      FINDLAY           OH    45840
KEITH F SCAGGS                                   6971 CO RD 57                                                                                    LEXINGTON         OH    44904‐9637
KEITH F STADE                                    3730 LOFTUS ROAD                                                                                 FREEPORT          MI    49325‐9752
KEITH F WORTHINGTON                              827 GENESEE ST                                                                                   CORFU             NY    14036‐9595
KEITH FARDO                                      9 LYTLE RD                                                                                       BUTLER            KY    41006‐9070
KEITH FOLCK                                      5982 N COUNTY RD 175 E                                                                           GREENCASTLE       IN    46135‐8531
KEITH FOSTER OVERHOLT                            6841 E BELMONT CIRCLE                                                                            PARADISE VALLEY   AZ    85253‐3113
KEITH G BUDD                                     1257 FALGARWOOD DR                      OAKVILLE ON                            L6H 2L7 CANADA
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                      Part 4 of 8 Pg 545 of 855
Name                                             Address1                              Address2                   Address3     Address4                City            State Zip

KEITH G CAMPBELL                                 726 N SHORE DR                                                                                        HICKORY         NC    28601‐8812
KEITH G DEARSTONE                                3600 SHELBY ST                                                                                        WATERFORD       MI    48328‐1355
KEITH G FELDPAUSCH                               1203 S GENEVA DR                                                                                      DEWITT          MI    48820‐9531
KEITH G HODDINOTT                                1811 WINANS AVE                                                                                       BALTIMORE       MD    21227‐4438
KEITH G JACKSON                                  521 SYDNEY PL                                                                                         MURFREESBORO    TN    37130‐9549
KEITH G KIRCHHOEFER                              462 PINE BEND DR                                                                                      CHESTERFIELD    MO    63005‐4933
KEITH G KIRSCHENBAUER                            15000 FRANCIS RD                                                                                      LANSING         MI    48906‐9329
KEITH G KNAUER & MARY J KNAUER JT TEN            1020 WHEATLAND DR                                                                                     COATESVILLE     PA    19320‐5203
KEITH G KURTZWEIL                                11000 HAYES ST                                                                                        GRAND BLANC     MI    48439‐9397
KEITH G LANDWEHR                                 1321 N CONCORD AVE                                                                                    CHANDLER        AZ    85225‐8609
KEITH G LOOK                                     5051 WILLOUGHBY RD                    APT 23                                                          HOLT            MI    48842‐1069
KEITH G MAZIASZ & SAMANTHA J MAZIASZ JT TEN      5306 GREENDALE DR                                                                                     TROY            MI    48098‐3476
KEITH G MCMANUS                                  6908 HEIDELBURG ROAD                                                                                  LANHAM          MD    20706‐4603
KEITH G ROBINSON                                 40 NYMARK AVE                         WILLOWDALE ON                           M2J 2G9 CANADA
KEITH G ROCKAFELLOW & MARY C ROCKAFELLOW JT      3282 W DODGE RD                                                                                       CLIO            MI    48420‐1965
TEN
KEITH G RYDER                                    1010 N STODDARD DR                                                                                    WHEATON         IL    60187
KEITH G STRENG                                   2519 ROCKY TOP CT                                                                                     COMMERCE TWP    MI    48382‐2030
KEITH G WALLACE                                  219 RIVER ROAD                                                                                        WEST NEWBURY    MA    01985
KEITH G WARD                                     VAUXHALL MTRS LTD (B13)               GRIFFIN HOUSE OSBORNE RD   LUTON BEDS   LU1 3YT GREAT BRITAIN
KEITH GREEN                                      9299 HUBERT ST                                                                                        ALLEN PARK      MI    48101‐1643
KEITH H BOWKER & MARGARET J BOWKER JT TEN        825 MARNE HGWAY                                                                                       HAINESPORT      NJ    08036‐2663
KEITH H BURROUGHS EX EST HELEN A MURRIAN         900 SOUTH GAY STREET APT 600                                                                          KNOXVILLE       TN    37902
KEITH H CLARK & MAUREEN A CLARK JT TEN           1382 HILLTOP RDG                                                                                      HOULTON         WI    54082‐2012
KEITH H EDMONDSON TR KEITH H EDMONDSON           4213 LAKE TERRACE DR                                                                                  KALAMAZOO       MI    49008
REVOCABLE TRUST UA 04/10/95
KEITH H HACKETT                                  11109 W COUNTY ROAD B                                                                                 JANESVILLE      WI    53548‐9213
KEITH H HAFER                                    457 OTT RD                                                                                            BAY CITY        MI    48706‐9429
KEITH H LEIMBACH                                 9562 HAMPTON RESERVE DR                                                                               BRENTWOOD       TN    37027‐8491
KEITH H MC KAY                                   PO BOX 26                                                                                             ELLSWORTH       MI    49729‐0026
KEITH H MC MURRAY                                5555 HUNTER ROAD                                                                                      ENON            OH    45323‐9765
KEITH H MERRIFIELD & JAMIE L MERRIFIELD JT TEN   11322 BAY PINES CT                                                                                    FORT WAYNE      IN    46814‐9041

KEITH H NIXON                                    4916 FRIAR RD UNIT D                                                                                  STOW            OH    44224‐2030
KEITH H PARKER                                   3237 E ROTAMER RD                                                                                     JANESVILLE      WI    53546‐9330
KEITH H SCHRAMM & MARY ELLEN B SCHRAMM JT TEN    82 BUCKMAN RD                                                                                         ROCHESTER       NY    14615‐1460

KEITH H WINSLOW                                  6630 S VASSAR RD                                                                                      VASSAR          MI    48768‐9697
KEITH H WRIGHT                                   4527 E HIBBARD ROAD                                                                                   CORUNNA         MI    48817‐9600
KEITH HAMILTON                                   1617 OUTER PARK DR                                                                                    SPRINGFIELD     IL    62704‐4349
KEITH HARVEY                                     2308 EDGEWOOD RD                                                                                      HARRISBURG      PA    17104‐1412
KEITH HUYSER                                     6507 BENT TREE DR                                                                                     ALLENDALE       MI    49401‐8418
KEITH I BIRR                                     10 SHAW ST                                                                                            EAST SANDWICH   MA    02537
KEITH I BRYAN                                    25720 SOUTHFIELD RD                   APT 103                                                         SOUTHFIELD      MI    48075‐1842
KEITH I DYKE                                     PO BOX 205                                                                                            WEST CHAZY      NY    12992
KEITH I HALL                                     416 W MIDLOTHIAN BLVD                                                                                 YOUNGSTOWN      OH    44511‐3260
KEITH I REEKIE                                   832 BRUCEDALE AVE E                   HAMILTON ON                             L8T 1L3 CANADA
KEITH ISAMU FUJIMOTO                             PO BOX 1204                                                                                           PEARL CITY      HI    96782‐8204
KEITH J BODENDORF                                3 WALNUT RD                                                                                           MEDFORD         NJ    08055‐3463
KEITH J BONANNI                                  4470 SUNSET BLVD                                                                                      GRAND BLANC     MI    48439‐9055
KEITH J BYE                                      5455 ELK ST                           PO BOX 203                                                      PECK            MI    48466‐0203
KEITH J COOPER                                   146 HARROW LN                                                                                         YOUNGSTOWN      OH    44511‐3738
KEITH J DRINKARD                                 6170 JANICE                                                                                           MILLINGTON      MI    48746‐9591
KEITH J HAYES                                    10111 GOLDEN MEADOW DR B                                                                              AUSTIN          TX    78748
KEITH J KWIATKOWSKI                              2700 N CAHUENGA BLVD 3307                                                                             LOS ANGELES     CA    90068
KEITH J LOWRY                                    991 RIVERMIST                                                                                         ROCHESTER       MI    48307‐2262
KEITH J PULLING                                  8724 PECKINS RD                                                                                       LYONS           MI    48851‐9745
KEITH J RICKSGERS                                12040 RATTALEE LK RD                                                                                  DAVISBURG       MI    48350‐1206
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 546 of 855
Name                                               Address1                             Address2             Address3          Address4                City              State Zip

KEITH J ROBENHORST & CAROL ROBENHORST JT TEN       26 DUNLIN MEADOW DR                                                                                 SPRING            TX    77381

KEITH J SINGLES & MARY JO SINGLES JT TEN           879 NICHOLS DR                                                                                      AUBURN HILLS      MI    48326‐3829
KEITH JENKINS                                      408 THOMPSON PL                                                                                     PEARL             MS    39208‐9163
KEITH JON LEGUM                                    4004 ATLANTIC AVE N 1208                                                                            VIRGINIA BEACH    VA    23451‐2627
KEITH K CLAUSER & MARY K CLAUSER JT TEN            4856 PINE EAGLES CT                                                                                 BRIGHTON          MI    48116‐9763
KEITH KADISH CUST JACLYN KADISH UGMA NY            32 BRENRIDGE DR                                                                                     EAST AMHERST      NY    14051‐1300
KEITH KARBOSKI                                     119 S ACORN HILL DR                                                                                 OLYPHANT          PA    18447‐2242
KEITH KENDRICK STEPHAN                             6196 S LEYDEN ST                                                                                    CENTENNIAL        CO    80111‐4401
KEITH KENNARD FORRER                               77 W 500 S                                                                                          ANDERSON          IN    46013‐5401
KEITH KESLING                                      51659 CHURCHILL DRIVE                                                                               SHELBY TOWNSHIP   MI    48316‐4324

KEITH KINGSOLVER                                   RTE #1 BOX 202                                                                                      FARRAGUT          IA    51639‐9758
KEITH KOSSUTH                                      239 CEDARHURST                                                                                      DETROIT           MI    48203‐5207
KEITH L BRINTLE                                    5106 RUBY ROCK WAY                                                                                  RICHMOND          TX    77407‐4136
KEITH L BUFORD                                     8135 ROLYAT ST                                                                                      DETROIT           MI    48234‐3308
KEITH L BURNETT                                    1291 N FUTRALL DR                    APT 9                                                          FAYETTEVILLE      AR    72703‐1177
KEITH L CARIVEAU & KATHERINE M CARIVEAU JT TEN     965 WAVERLY COMMON                                                                                  LIVERMORE         CA    94551‐7505

KEITH L COUSINEAU                                  6205 BAY GLADWIN LINE                                                                               BENTLEY           MI    48613
KEITH L CRUMPLER                                   3727 SENECA GARDEN RD                                                                               BALTIMORE         MD    21220‐7500
KEITH L EPPS                                       815 GREEN RD                         APT 304                                                        YPSILANTI         MI    48198‐3462
KEITH L FRANKLIN                                   1625 SPRINGHOUSE LN                                                                                 CHESTER SPRGS     PA    19425‐1428
KEITH L GOW                                        PO BOX 925                                                                                          CENTERVILLE       MA    02632‐0925
KEITH L GREEN                                      613 E AUSTIN                                                                                        FLINT             MI    48505‐2889
KEITH L GUNDRUM                                    325 SOMERSET AVE                                                                                    SARASOTA          FL    34243‐1926
KEITH L HEISTERMAN & KAY L HEISTERMAN JT TEN       5773 MONROE RD                                                                                      CELINA            OH    45822
KEITH L INGRAHAM                                   5926 BLUEWATER                                                                                      SARANAC           MI    48881‐9534
KEITH L JEFFREY                                    16 FLETCHER DRIVE                    BRAMPTON ON                            L6Y 2G6 CANADA
KEITH L JEFFREY                                    16 FLETCHER DRIVE                    BRAMPTON ON                            L6Y 2G6 CANADA
KEITH L JEFFREY                                    16 FLETCHER DRIVE                    BRAMPTON ON                            L6Y 2G6 CANADA
KEITH L JOHNSON                                    621 SOUTH UNION STREET                                                                              GALION            OH    44833‐3218
KEITH L NAEGLE & ELINOR F NAEGLE JT TEN            11410 STALLION LANE                                                                                 HOLLY             MI    48442‐8604
KEITH L NELSON                                     2129 BASSETT                                                                                        DETROIT           MI    48217‐1648
KEITH L REED                                       12037 W INDIAN LAKE DR                                                                              VICKSBURG         MI    49097‐9338
KEITH L SETTLEMOIR & MARILYN J SETTLEMOIR JT TEN   42398 W MAPLE AVE                                                                                   FLINT             MI    48507

KEITH L SHEETS                                     4132 CARLISLE HWY                                                                                   CHARLOTTE         MI    48813‐9562
KEITH L SIMMONS                                    5305 SUMMIT HEIGHTS DR                                                                              WINSTON SALEM     NC    27104‐4479
KEITH L STCLAIR                                    11400 LENNON RD                                                                                     LENNON            MI    48449‐9666
KEITH L TAGGART                                    20400 OLIVEWOOD DR                                                                                  LEBANON           MO    65536‐8193
KEITH L TAYLOR                                     207 MERCER MILL RD                                                                                  LANDENBERG        PA    19350‐9113
KEITH L THIEROFF                                   1383 OVERLOOK CIRCLE                                                                                CEDAR HILL        TX    75104
KEITH L VOGL                                       5652 WOODSIDE DR                                                                                    HASLETT           MI    48840‐9707
KEITH L ZENOW                                      1723 PARKVIEW DRIVE                                                                                 BEDFORD           IN    47421‐3440
KEITH LASICA                                       20179 W GOOD HOPE RD                 LOT G3                                                         LANNON            WI    53046
KEITH LAWRENCE SILVERS                             12403 W 61ST ST                                                                                     SHAWNEE           KS    66216‐1803
KEITH LEE OXENRIDER                                1064 CO RD 1175                                                                                     ASHLAND           OH    44805‐9523
KEITH LESLIE                                       3010 WEST FOOT HILLS WAY                                                                            FLAGSTAFF         AZ    86001‐1082
KEITH LIU                                          2356 CLAYMONT DR                                                                                    TROY              MI    48098‐2426
KEITH LYMORE                                       316 CABOT ST                                                                                        YOUNGSTOWN        OH    44509‐1404
KEITH M BROWN                                      103 HIGHRIDGE CT                                                                                    FRANKLIN          OH    45005‐1759
KEITH M CLANCY                                     1249 JASMINE RD                                                                                     DUBLIN            GA    31021‐0841
KEITH M CONKLIN                                    PO BOX 105                                                                                          ELSIE             MI    48831‐0105
KEITH M EVANS                                      33 CHESTNUT GROVE                    BENFLEET ESSEX                         SS7 5RX GREAT BRITAIN
KEITH M FINGERHUT                                  27 BROWNSWELL AVE                                                                                   WEST HAVERSTRAW NY      10993‐1001

KEITH M FOREN                                      4470 ANDERSON DRIVE                                                                                 BEAVERTON         MI    48612
KEITH M HAHN & CHERYL K POZZI JT TEN               50536 WALPOLE                                                                                       NEW BALTIMORE     MI    48047‐1627
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 547 of 855
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

KEITH M HAMMELL                                 28 SUNSET LN                                                                                   COLUMBUS          NJ    08022‐1110
KEITH M KADLIC & ELIZABETH M KADLIC JT TEN      6140 RAYTOWN RD #1001                                                                          RAYTOWN           MO    64133‐4016
KEITH M KAUTZ                                   6490 KINDE RD                                                                                  PORT HOPE         MI    48468‐9743
KEITH M MACHIDA & MARY T MACHIDA JT TEN         461 KAMALEI CIRCLE                                                                             KAHULUI           HI    96732‐3204
KEITH M MASLANIK & IRENE M MASLANIK JT TEN      45 JONES AVE                                                                                   DEPTFORD          NJ    08096‐3778
KEITH M OSWALD                                  101 E COLLEGE STREET                                                                           SUMMERTOWN        TN    38483‐7553
KEITH M RAU                                     G 1131 E STANLEY RD                                                                            MT MORRIS         MI    48458
KEITH M RAU & MAVIS RAU JT TEN                  G 1131 E STANLEY RD                                                                            MT MORRIS         MI    48458
KEITH M RIEGEL                                  911 WESLEY RD                                                                                  FINKSBURG         MD    21048‐1220
KEITH M SCOTT & CECILE C SCOTT JT TEN           5229 W AVE L‐8                                                                                 QUARTZ HILL       CA    93536‐3615
KEITH M SIOPES & FLORENCE V SIOPES JT TEN       40543 OAKWOOD                                                                                  NOVI              MI    48375‐4454
KEITH M TRAVER & AMY L TRAVER JT TEN            1192 TROTWOOD BLVD                                                                             WINTER SPRINGS    FL    32708‐5176
KEITH M VERBISON                                1090 GLENGARY RD                                                                               COMMERCE          MI    48390‐1442
                                                                                                                                               TOWNSHIP
KEITH M VERBOSKY                                12911 MAPLE SPRING DRIVE                                                                       FREDERICKSBURG    VA    22408‐0248
KEITH MARK TRAVER                               1192 TROTWOOD BLVD                                                                             WINTER SPRINGS    FL    32708‐5176
KEITH MARTIN                                    23648 PLUMBROOKE DR                                                                            SOUTHFIELD        MI    48075‐3242
KEITH MCCABE                                    215 HOLLYWOOD AVE                                                                              YONKERS           NY    10707‐2221
KEITH MICHAEL HENRY                             2221 W DODGE ROAD                                                                              CLIO              MI    48420‐1686
KEITH MICHAEL NELSON                            4229 E BROOKWOOD                                                                               PHOENIX           AZ    85048‐8812
KEITH MICHAEL RUTMAN                            29 CHESTNUT TER                                                                                BUFFALO GROVE     IL    60089‐6620
KEITH MICHEAL BAILEY                            418 E OLIVER ST                                                                                OWOSSO            MI    48867‐2438
KEITH MIRANDA                                   101 PROVIDENCE ST                                                                              REHOBOTH          MA    02769
KEITH MOSSMAN TR UA 09/04/69 LOUISE GILCHRIST   122 E FOURTH STREET                                                                            VINTON            IA    52349‐1757
TRUST
KEITH MURMATSU                                  1174 SW KILEY WAY 91                                                                           BEAVERTON         OR    97006
KEITH N REED                                    114 FRASER PL                                                                                  NEWARK            DE    19711‐3004
KEITH N STEGNER                                 12011 NW 15TH CT                                                                               PEMBROKE PINES    FL    33026‐2599
KEITH N TAPP CUST JESSE A TAPP UTMA KY          RTE 1 BOX 22                                                                                   SEBREE            KY    42455‐9803
KEITH N TAPP CUST KATHERINE J TAPP UTMA KY      RTE 1 BOX 22                                                                                   SEBREE            KY    42455‐9803
KEITH NATTRASS & KARI NATTRASS JT TEN           5696 GOLF POINTE DR                                                                            CLARKSTON         MI    48348‐5148
KEITH NEUSCHELER                                45 BEECH ST                                                                                    FLORAL PARK       NY    11001‐3102
KEITH NEWTON SMITH                              13144 GRANT CIR                                                                                CLIO              MI    48420‐8100
KEITH NOMAN COLE                                3517 SPRINGLAND LANE NW                                                                        WASHINGTON        DC    20008‐3119
KEITH NOSBUSCH & JANE NOSBUSCH JT TEN           123 W MILLER DR                                                                                MEQUON            WI    53092‐6189
KEITH O KROUT                                   507 N WALNUT ST                                                                                VEEDERSBURG       IN    47987‐1147
KEITH O MCLEOD                                  4843 S AINGER RD                                                                               CHARLOTTE         MI    48813‐8543
KEITH O MICHAEL                                 913 MAE ST                                                                                     WILMINGTON        IL    60481‐1538
KEITH O SAUNDERS                                3078 73RD AVE                                                                                  OAKLAND           CA    94605‐2541
KEITH OLDS                                      20 CONTINENTAL AVE                    APT 5‐0                                                  FOREST HILLS      NY    11375‐5266
KEITH OLSEN                                     1501 W 6TH STREET                                                                              BOONEVILLE        AR    72927‐3000
KEITH OLSON                                     31411 IROGVOIS                                                                                 WARREN            MI    48088
KEITH OWENS                                     11620 LONE PINE CIR                                                                            INDIANAPOLIS      IN    46235‐8200
KEITH OZAWA CUST LAUREN OZAWA UTMA NV           5573 SUMAC RIDGE COURT                                                                         LAS VEGAS         NV    89149
KEITH P BOOTH                                   312 CHANDLER                                                                                   DETROIT           MI    48202‐2846
KEITH P DUSINA                                  1055 AUDUBON RD                                                                                GROSSE POINTE     MI    48230‐1406
KEITH P LAURIN                                  3013 AMELIA AVE                                                                                FLUSHING          MI    48433‐2301
KEITH P MARTINES & MRS MARGARET D MARTINES JT   9394 ISABELLA LN                                                                               DAVISON           MI    48423‐2860
TEN
KEITH P OLDFIELD                                3881 HARVESTRIDGE DR                                                                           CINCINNATI        OH    45211‐2523
KEITH P PAOLELLA                                54161 CAMBRIDGE DR                                                                             SHELBY TOWNSHIP   MI    48315‐1669

KEITH P ROSEHART                                3860 ROSE RD                                                                                   BATAVIA           NY    14020‐9544
KEITH PAISLEY & JEAN PAISLEY JT TEN             2409 SOUTH ELMWOOD                                                                             SIOUX FALLS       SD    57105‐3315
KEITH R AINSWORTH                               10700 S RIVIERA DR                                                                             HOMOSASSA         FL    34448‐5610
KEITH R ALEXANDER                               77 WATERFORD WAY                                                                               FAIRPORT          NY    14450‐9749
KEITH R ALLEN                                   1036 MACK BRANCH RD                                                                            LYNNVILLE         TN    38472‐5412
KEITH R ARMSTRONG                               147 BIDDLE ST                                                                                  WYANDOTTE         MI    48192‐2512
KEITH R BARNEY JR                               8611 CROMWELL DR                                                                               SPRINGFIELD       VA    22151‐1208
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 4 of 8 Pg 548 of 855
Name                                             Address1                               Address2                    Address3      Address4          City              State Zip

KEITH R BISSANTZ                                 7891 WHITE SWAN RD                                                                                 GEORGETOWN        OH    45121‐9620
KEITH R BROWN                                    7225 N RESORT DR                                                                                   IRONS             MI    49644
KEITH R CHARTER                                  2886 S BOLLINGER RD                                                                                CARSON CITY       MI    48811‐9591
KEITH R DAVIDSON                                 330 WOODLAND ST                                                                                    EBENSBURG         PA    15931‐1732
KEITH R DOMINGUE                                 23019 RED RIVER DRIVE                                                                              KATY              TX    77450‐3160
KEITH R EMERSON JR                               18850 LAVAN RD                                                                                     LIVONIA           MI    48152‐2892
KEITH R FUSON                                    1856 PALMETTO ISLE DR                                                                              MOUNT PLEASANT    SC    29466‐8774

KEITH R HOLTZ                                    36119 DASCHER LANE                                                                                 GRAND ISLAND      FL    32735‐9614
KEITH R IMHOF                                    465 BERRYMAN                                                                                       AMHERST           NY    14226‐4639
KEITH R JABLONSKI                                9358 SE SUN CREST DRIVE                                                                            PORTLAND          OR    97266‐7051
KEITH R JONES                                    333 W WAYNE ST                                                                                     PAULDING          OH    45879‐1530
KEITH R KENNEDY & MRS PHYLLIS W KENNEDY JT TEN   524 NEW YORK AVE                                                                                   FULLERTON         PA    18052‐7133

KEITH R LUE                                      767 CONSTELLATION DRIVE                MISSISSAUGA ON                            L5R 2V6 CANADA
KEITH R MAXWELL & MARGARET M MAXWELL JT TEN      1023 TULIP ST                                                                                      GRAND LEDGE       MI    48837‐2044

KEITH R MC GINNIS                                6140 EVERGREEN AVENUE                                                                              HALE              MI    48739‐9067
KEITH R MICIUDA & CASIMIR J MICIUDA JT TEN       947 BERKSHIRE                                                                                      GROSSE POINTE     MI    48230‐1821
                                                                                                                                                    PARK
KEITH R NOBLE                                    915 CALIFORNIA AVE W                                                                               SAINT PAUL        MN    55117
KEITH R NOILES                                   99 PINE ST                                                                                         WALTHAM           MA    02453‐5355
KEITH R OLSEN                                    PO BOX 356                                                                                         GRANT             NE    69140‐0356
KEITH R OSTRANDER                                4255 WEISS ST                                                                                      SAGINAW           MI    48603‐4147
KEITH R POTTERTON                                409 COLLINGWOOD DR                                                                                 FREDERICKSBURG    VA    22405‐2026
KEITH R POTTERTON & GAYLE D BENTON JT TEN        409 COLLINGWOOD DR                                                                                 FREDERICKSBURG    VA    22405‐2026
KEITH R RIVARD                                   1441 MICKAILA CRT                      NORMAN 8 NORMAN 4 ZEBRA 2   TECUMSEH ON   N8N 4Z2 CANADA
KEITH R RODNEY                                   33‐42 COMMERCIAL WHARF                                                                             BOSTON            MA    02110‐3810
KEITH R SCHARF                                   168 ELK ST                                                                                         SPRINGVILLE       NY    14141‐1214
KEITH R SCHEWE                                   313 ROYAL GLENN BLVD                                                                               MURFREESBORO      TN    37128‐3723
KEITH R SETTERS                                  5400 SUSAN DR                                                                                      DAYTON            OH    45415‐3034
KEITH R TAHTINEN                                 3190 E BALDWIN RD                                                                                  GRAND BLANC       MI    48439
KEITH R TERRY                                    3662 MECHANICSBURG RD                                                                              SPRINGFIELD       OH    45502‐7802
KEITH R VALKO                                    5378 SCHMIDT RD                                                                                    GLADWIN           MI    48624
KEITH R VROOMAN                                  7801 GOODWIN RD                                                                                    LYONS             MI    48851‐9667
KEITH R WICKMAN                                  38727 BOAT HOUSE DR                                                                                MURRIETA          CA    92563‐2585
KEITH R ZEIGLER                                  RT 220                                                                                             CLAYSBURG         PA    16625
KEITH R ZEIGLER                                  RTE 220                                                                                            CLAYBURG          PA    16625
KEITH REESE PRETTYMAN                            216 A ENNIS ST                                                                                     GEORGETOWN        DE    19947‐1702
KEITH RICHARD KABEL                              14911 CADILLAC DR                                                                                  SHELBYTOWN SHIP   MI    48315‐2512

KEITH ROBINSON                                   2004 FREMONT                                                                                       BAY CITY          MI    48708‐8118
KEITH RUSSELL BURRIS                             16880 S 7S 27                                                                                      LANSING           MI    48906
KEITH S HANEY                                    12503 FOWLER RD                                                                                    BRANT             MI    48614‐9718
KEITH S KENSKI & THERESA M KENSKI JT TEN         3690 SPRING RD                                                                                     CARLISLE          PA    17013‐8738
KEITH S MILLER                                   200 S MAIN ST                                                                                      VERONA            WI    53593‐1422
KEITH S NIMITZ                                   201 WATER HILL RD J13                                                                              MADISON           AL    35758‐2947
KEITH S RUTHENBURG                               535 HIGHLAND DRIVE                                                                                 MOUNT STERLING    KY    40353‐8842
KEITH S SZCZEPANSKI                              29 TRESTLE TRAIL                                                                                   NORTH CHILI       NY    14514‐9740
KEITH S TATTERSALL                               47688 MCKENZKIE HWY                                                                                VIDA              OR    97488‐9707
KEITH S ULIN                                     9636 CHEROKEE                                                                                      TAYLOR            MI    48180‐3142
KEITH S WELSH                                    102 HARMONY RD S                       OSHAWA ON                                 L1H 6T3 CANADA
KEITH S WICKS                                    C/O ADAM OPAL                          BOX 9022                                                    WARREN            MI    48090‐9022
KEITH S WURZER                                   1544 BRANDYWINE LN                                                                                 WAYNE             PA    19087
KEITH SCHEPART                                   PO BOX 75                                                                                          YORKTOWN          NY    10598‐0075
                                                                                                                                                    HEIGHTS
KEITH SCHOEN                                     456 LEXINGTON                                                                                      SALINE            MI    48176
KEITH SCOTT LONDON                               613 OLEANDER DR                                                                                    HALLANDALE        FL    33009‐6531
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 549 of 855
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

KEITH SLADE                                      325 ALL ANGELS HILL RD                                                                           WAPPINGERS FALLS NY   12590‐4512

KEITH SMITH                                      1407 SE 15TH TERRACE                                                                             CAPE CORAL      FL    33990‐6716
KEITH T RYAN                                     7914 W 80TH TER                                                                                  SHAWNEE MISSION KS    66204‐3422

KEITH T TREVVETT                                 1881 GLANZER CT                                                                                  HARRISONBURG    VA    22801‐8443
KEITH THOMAS STADLINGER                          5715 WALLIS LN                                                                                   WOODLAND HLS    CA    91367‐5326
KEITH TOTEMEIER & BEVERLY TOTEMEIER JT TEN       1617 ROMERO WAY                                                                                  SANTA ROSA      CA    95401‐6026
KEITH TRAVIS                                     87 ARCADIA CIR NW                                                                                ATLANTA         GA    30314‐2409
KEITH V LANDES                                   4615 CARDIFF CT N                                                                                LAFAYETTE       IN    47909‐6901
KEITH V SHIVELY                                  42158 JONES RD                                                                                   WELLINGTON      OH    44090‐9636
KEITH V TIEDEMAN                                 8631 HARRISON AVE                                                                                FARWELL         MI    48622‐9409
KEITH VASAS                                      9215 RAWSONVILLE RD                                                                              BELLEVILLE      MI    48111‐9366
KEITH VITRANO                                    18 LONGVIEW DR                                                                                   RIVERHEAD       NY    11901‐1080
KEITH W ANDERSON                                 120 CONSTITUTION AVE                                                                             WEST MIFFLIN    PA    15122‐1937
KEITH W ANDERSON & JANET L ANDERSON JT TEN       120 CONSTITUTION AVE                                                                             WEST MIFFLIN    PA    15122‐1937
KEITH W ANDRESKI                                 12 PENN DR                                                                                       DIX HILLS       NY    11746‐8529
KEITH W BARKER                                   1290 CHESANING RD                                                                                MONTROSE        MI    48457‐9367
KEITH W BENNYHOFF & KATHY ANN BENNYHOFT JT TEN   1231 CENTER ST                                                                                   JIM THORPE      PA    18229‐1712

KEITH W BURLINGAME                               21275 PATRICIA LANE NE                                                                           FAIRVIEW        OR    97024‐6770
KEITH W BURNS                                    1912 MARSAC                                                                                      BAY CITY        MI    48708‐8526
KEITH W BURRIS                                   463 LITTLE YORK RD                                                                               DAYTON          OH    45414‐1329
KEITH W CAPLES                                   48747 WEAR RD                                                                                    BELLEVILLE      MI    48111‐9352
KEITH W CHRISTOPHER CUST KYLE A CHRISTOPHER      19122 STATE LINE RD                                                                              SOUTH BEND      IN    46637‐2044
UTMA IN
KEITH W CHURCH                                   5386 VILLAGE STATION CIRCLE                                                                      WILLIAMSVILLE   NY    14221‐2886
KEITH W CONFALONE                                15 SKYLINE DR                                                                                    BROOKFIELD      CT    06804‐1421
KEITH W CONRAD                                   150 ABELL HANGER CIRCLE                                                                          MIDLAND         TX    79707‐6110
KEITH W CRAMPTON                                 218 W 2ND ST                                                                                     DAVISON         MI    48423‐1314
KEITH W DANIEL                                   2721 GRANITE CREEK DR                                                                            LEANDER         TX    78641
KEITH W FELDPAUSCH                               14392 NILES RD                                                                                   EAGLE           MI    48822‐9633
KEITH W FISCHER                                  1158 BLUE HERON DR                                                                               SAGINAW         MI    48609‐8909
KEITH W GLEDHILL                                 4214 DAUNTLESS DR                                                                                RANCHO PALOS    CA    90275‐6013
                                                                                                                                                  VERDE
KEITH W KAISER                                   PO BOX 445                                                                                       CICERO          IN    46034‐0445
KEITH W LEMMON JR TR KEITH W LEMMON JR LIVING    2903 KATHERINE                                                                                   DEARBORN        MI    48124‐3643
TRUST UA 08/16/94
KEITH W LERCH                                    711 E 58 TH ST                                                                                   INDIANAPOLIS     IN   46220‐2601
KEITH W MARTIN                                   2540 SHAGBARK LN                                                                                 WEST LAFYETTE    IN   47906‐4531
KEITH W MC CORMICK                               2521 LAUGHLIN AVE                                                                                LA CRESCENTA     CA   91214‐3028
KEITH W MCKENZIE & ANN MARIE MC KENZIE JT TEN    43598 RIVERWAY                                                                                   CLINTON TOWNSHIP MI   48038‐1393

KEITH W MEISENHELTER                             1388 EMIGRANT PL                                                                                 CASPER          WY    82604‐9549
KEITH W MORROW                                   1570 SALINA DR                                                                                   AVON            IN    46123‐9352
KEITH W NOSER                                    1550 YORKSHIRE RD                                                                                BIRMINGHAM      MI    48009‐7415
KEITH W ROMANEK                                  10 MYSTIC WAY                                                                                    BURLINGTON      NJ    08016‐4254
KEITH W SMALL                                    1317 W SAGINAW ST                                                                                LANSING         MI    48915‐1957
KEITH W SPOOR                                    4737 WEST OREGON RD                                                                              LAPEER          MI    48446‐7779
KEITH W WALKER                                   3699 N VAN DYKE RD                                                                               FILION          MI    48432‐9709
KEITH W WEISHUHN                                 4473 MAJOR DRIVE                                                                                 WATERFORD       MI    48329‐1939
KEITH W WHITE & ROSEMARY F WHITE JT TEN          1420 TAMARACK LANE                                                                               JANESVILLE      WI    53545‐1257
KEITH WALKER                                     19327 SCHAEFER HWY                                                                               DETROIT         MI    48235‐1275
KEITH WATTS                                      2641 PALOS VERDES DR N                                                                           RLLNG HLS EST   CA    90274‐4230
KEITH WENTZ                                      297 SE TWIG AVE                                                                                  PORT ST LUCIE   FL    34983
KEITH WHITEMAN DAVIS                             206 GREAT SWAMP RD                                                                               GLASTONBURY     CT    06033‐1320
KEITH WILHELM HINSHAW                            9996 N COUNTY ROAD 200 W                                                                         MUNCIE          IN    47302‐9303
KEITH WILLIAM NICHOLS                            PO BOX 5474                                                                                      TOLEDO          OH    43613‐0474
KEITH ZANGARA                                    8437 OAKTREE DR                                                                                  MACEDONIA       OH    44056‐2065
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 550 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

KELAN E ROZANSKI & SHARON K ROZANSKI JT TEN      36723 AUDREY                                                                                    NEW BALTIMORE    MI    48047‐6330
KELAN E ROZANSKI & SHARON KAY ROZANSKI JT TEN    36723 AUDREY                                                                                    NEW BALTIMORE    MI    48047‐6330

KELBY REYES                                      6757 BROOK FALLS CIR                                                                            STOCKTON         CA    95219‐2443
KELDA M STEPHENS                                 218 W PINE ST                                                                                   KNIGHTSTOWN      IN    46148‐1349
KELINCO A PARTNERSHIP                            33 SUNSET DRIVE                                                                                 ENGLEWOOD        CO    80110‐4032
KELL B QUANTZ                                    39206 ALLEN                                                                                     LIVONIA          MI    48154‐4745
KELLE ANN OLWYLER                                218 LAUREL RIDGE RD                                                                             ASHEVILLE        NC    28805‐9700
KELLEE A KRESS & JOHN S KRESS JT TEN             20 RAIMOND ST                                                                                   YAPHANK          NY    11980‐1103
KELLEE WALTON                                    19679 RALEIGH CIR S                                                                             SOUTHFIELD       MI    48076
KELLEN GRINTER SELK                              935 E 1000 RD                                                                                   LAWRENCE         KS    66047‐9407
KELLEY C CONNOR                                  2015 EAST CHATEAU DR                                                                            MERIDIAN         ID    83642
KELLEY D FIREOVED JR                             2924 N 155TH TER                                                                                BASEHOR          KS    66007‐9236
KELLEY GLEASON                                   4820 SAN MIGUEL ST                                                                              TAMPA            FL    33629‐5425
KELLEY GRANT GUASTICCI                           1360 BURROWS RD                                                                                 CAMPBELL         CA    95008‐6303
KELLEY J FELLER & CARL M FELLER JT TEN           2482 STILLWATER RD                                                                              MAPLEWOOD        MN    55119‐3615
KELLEY J KITTER                                  14856 MASONIC                                                                                   WARREN           MI    48088‐1513
KELLEY J MOUNCE                                  677 OCALA ROAD                                                                                  SOMERSET         KY    42501
KELLEY J STINEHEIFER                             245 PINEY CREEK DR                                                                              BLACKLICK        OH    43004‐7071
KELLEY JEAN POPOVICH                             3144 BARBOUR DR                                                                                 VIRGINIA BCH     VA    23456‐7900
KELLEY K HARRISON                                3059 SEDGEFIELD RD SW                                                                           ROANOKE          VA    24015‐4433
KELLEY R BOHINSKI                                4460 LETA PLACE                                                                                 SAGINAW          MI    48603‐1218
KELLEY ROGERS CUST ANDREW COLLIER UTMA MA        15 WINSTON AVE                                                                                  WILMINGTON       MA    01887‐2856

KELLI A CORBETT                                  14818 EVERGREEN RIDGE WAY                                                                       HOUSTON          TX    77062‐2335
KELLI A WADE TR DAVID M WADE TESTAMENTARY        1411 WILLOW AV                                                                                  WOODBURN         OR    97071‐2150
TRUST UA 09/03/03
KELLI BARBATO                                    1013 NICHOLAS DR                                                                                WEST CHESTER     PA    19380‐1455
KELLI COMPTON SEGERSON                           895 HUNTER RIDGE STREET                                                                         FAIRLAWN         OH    44333‐3275
KELLI D SWALLOW                                  KELLI D SAUCERMAN                      6419 N FISK CT                                           KANSAS CITY      MO    64151‐1380
KELLI D WILLIAMS                                 805 EDGEWOOD AVENUE                                                                             TRENTON          NJ    08618‐5301
KELLI J JOHNSON                                  3307 OAK TREE DR N                                                                              INDIANAPOLIS     IN    46227‐9737
KELLI J MALICKI                                  2219 EASTWOOD AVE                                                                               JANESVILLE       WI    53545‐2100
KELLI J SHEEHAN                                  5095 WHITNEY ERIN CT                                                                            ALMONT           MI    48003‐9757
KELLI K QUINN                                    6123 NORTH WOLCOTT                                                                              CHICAGO          IL    60660‐2323
KELLI M CARLSON                                  17942 COBBLESTONE WAY                                                                           EDEN PRAIRIE     MN    55347‐2144
KELLI S GEWIRTZ                                  2850 LOVEJOY ROAD                                                                               PERRY            MI    48872
KELLIE A HADDRILL                                3733 GAINSBOURGH                                                                                ORION            MI    48359‐1620
KELLIE ANN MANSBERGER                            1141 N HARROWFORD DRIVE                                                                         STATHAM          GA    30666‐3147
KELLIE C MONNIN                                  401 STATE ST                                                                                    MEDINA           NY    14103‐1341
KELLIE CLEVENGER                                 1503 HAWKSVIEW DR                                                                               MARION           IN    46952‐1583
KELLIE DAVIS WONG                                11019 KIKA CT                                                                                   SAN DIEGO        CA    92129‐5060
KELLIE HOGERHEIDE CUST ALAINA MARIE HOGERHEIDE   5444 FOREST GROVE DR                                                                            ELMIRA           MI    48730
UTMA MI
KELLIE HOGERHEIDE CUST SYDNEY GRACE HOGERHEIDE   5444 FOREST GROVE DR                                                                            ELMIREA          MI    49730‐8207
UTMA MI
KELLIE KAY HOGERHEIDE                            5444 FOREST GROVE DR                                                                            ELMIRA           MI    49730‐8207
KELLIE LARGE                                     1135 N SECOND                                                                                   SPRINGFIELD      IL    62702
KELLIE M BREHM                                   3245 CANDLEWOOD DR                                                                              JANESVILLE       WI    53546‐8201
KELLIE ORDEL MEYER                               4738 WOODVILLE RD                                                                               AWENDAW          SC    29429‐5903
KELLIE P DEAN                                    215 CHIMNEY OAKS DRIVE                                                                          OKEMOS           MI    48864‐3157
KELLIE SCOTTI                                    26 FURMAN AVE                                                                                   EAST PATCHOGUE   NY    11772‐5522
KELLOUS E WHITE                                  201 KENDRICKS STREET                                                                            MICHIGAN CITY    IN    46360‐5163
KELLY A BOGLARSKY & RONALD J BOGLARSKY JT TEN    9210 KINGSLEY                                                                                   ONSTED           MI    49265‐9420

KELLY A COLEMAN                                  4502 BRENDA DR                                                                                  ANDERSON         IN    46013‐1406
KELLY A DAWES                                    678 ANN ST                                                                                      PLYMOUTH         MI    48170‐1260
KELLY A LAKES                                    6693 LITTLE TWIN RD                                                                             GERMANTOWN       OH    45327‐9509
KELLY A MARSHALL                                 195 EUSTON RD SOUTH                                                                             GARDEN CITY S    NY    11530
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 551 of 855
Name                                               Address1                            Address2              Address3         Address4          City            State Zip

KELLY A PELTON                                     280 LAKEWOOD PRKWY                                                                           AMHERST         NY    14226‐4073
KELLY A SHIVERDECKER                               5946 KELLAR RD                                                                               AKRON           OH    44319‐4605
KELLY A SOTO                                       ATTN KELLY S BANYARD                1449 EAST SHANE CIR                                      SANDY           UT    84092‐5940
KELLY A TOWNE                                      931 SAINT JAMES PARK AVE                                                                     MONROE          MI    48161‐9060
KELLY A TRAGIS                                     4215 SMITH CROSSING RD                                                                       FREELAND        MI    48623‐9438
KELLY A WAGONER                                    3005 NORTH COUNTRYVIEW DR                                                                    MUNCIE          IN    47304
KELLY ABATE KALLAS CUST P CHARLES KALLAS UTMA IL   318 BONNIE BRAE                                                                              HINSDALE        IL    60521

KELLY ALLEN                                        2205 WANETA ST                                                                               MIDDLETOWN      OH    45044‐7761
KELLY ALLISON JONES                                824 HUNTINGTON                                                                               BOWLING GREEN   KY    42103‐6224
KELLY AMATO                                        624 24TH ST                                                                                  HERMOSA BEACH   CA    90254‐2206
KELLY ANN BEARUP                                   3912 W COURT ST                                                                              FLINT           MI    48532
KELLY ANN MALAGA                                   186 RANDALL                                                                                  TROY            MI    48085‐5526
KELLY ANN RAE                                      541 FEY RD                                                                                   CHESTERTOWN     MD    21620‐2128
KELLY ANN SMITH                                    3009 CHIPPEWA CT N                                                                           SAINT PAUL      MN    55109‐1529
KELLY ANN WILSON                                   25 MARBURY AVE                                                                               PAWTUCKET       RI    02860
KELLY ANNE LENGYEL                                 3672 DURHAM ROAD                                                                             NORTON          OH    44203‐6353
KELLY B PREBBLE                                    13033 19 MILE RD                    LOT 139                                                  GOWEN           MI    49326‐9646
KELLY BLACK CUST MCKENNA J BLACK UTMA OH           7361 OLDTOWN RD                                                                              CELINA          OH    45822‐9336
KELLY BOYD                                         1 LINDSEY CIR                                                                                NORTH GRANBY    CT    06060
KELLY BROGAN                                       31 E 72ND ST #7B                                                                             NEW YORK        NY    10021‐4131
KELLY BROOKS SMITH & MICHAEL PAUL SMITH JT TEN     25483 MILLINGPORT ROAD                                                                       LOCUST          NC    28097‐8823

KELLY BURNS                                      517 LEWIS AVE                                                                                  EVANSVILLE      IN    47714‐1513
KELLY C CLELAND                                  140 SLACK AVE                                                                                  LAWRENCEVILLE   NJ    08648
KELLY C GEORGE                                   2708 POPLAR ST                                                                                 PHILADELPHIA    PA    19130‐1221
KELLY C HALEY                                    417 PARKSIDE DR                                                                                PARIS           KY    40361‐2700
KELLY C STAAT                                    2309 WEST MANGOLD AVE                                                                          MILWAUKEE       WI    53221‐4950
KELLY C WELSH                                    PO BOX 304                                                                                     WALL            SD    57790‐0304
KELLY CAMPBELL STOREY                            PO BOX 3165                                                                                    CHESTER         VA    23831‐8459
KELLY CHRISTY                                    2828 BURGENER BLVD                                                                             SAN DIEGO       CA    92110‐1025
KELLY CROCKER                                    108 PIER 33 DR UNIT 404                                                                        MOORESVILLE     NC    28117
KELLY D BATCHELOR                                1500 GLENWOOD AVE                                                                              SALISBURY       NC    28146
KELLY D CHATMAN                                  1455 NE 136TH STREET                                                                           NO MIAMI        FL    33161‐3509
KELLY D CLASON                                   PO BOX 117                                                                                     FOOTVILLE       WI    53537‐0117
KELLY D JOHANNES                                 1182 HARPER LAKE DR                                                                            LOUISVILLE      CO    80027‐1069
KELLY D JOHNSON                                  355 PINTAIL COURT                                                                              SUWANEE         GA    30024
KELLY D LANDS                                    6411 E DUNBAR                                                                                  MONROE          MI    48161‐3882
KELLY D MILLER                                   69 CLIVE AVE                                                                                   MOUNDSVILLE     WV    26041‐1821
KELLY D OTIS                                     1 JONATHAN WAY                                                                                 SCOTTS VALLEY   CA    95066‐3810
KELLY D R WRIGHT                                 740 NELSON ST                         LONDON ON                              N5Z 1K1 CANADA
KELLY D TERRY CUST RYAN L TERRY UTMA NJ          174 NEBULA ROAD                                                                                PISCATAWAY      NJ    08854
KELLY DITTMAN & MELVIN DITTMAN JT TEN            PO BOX 268                                                                                     SAN LUIS REY    CA    92068‐0268
KELLY DRUMMOND                                   1112 W G AVE                                                                                   KALAMAZOO       MI    49007
KELLY E CONNER & VICKI C CONNER TR CONNER FAMILY 2738 NIGHTHAWK LANE                                                                            WEED            CA    96094‐9557
TRUST UA 01/23/04
KELLY E COPELAND                                 21280 BRINSON AVE                     APT 218                                                  PT CHARLOTTE    FL    33952‐5095
KELLY E MATTHEWS                                 1024 ROBIN DR                                                                                  THOMASVILLE     GA    31792‐3831
KELLY E MOUSER                                   RR 2 BOX 759                                                                                   MABLE HILL      MO    63764‐9527
KELLY E TERINGO                                  8571 SEATON PLACE                                                                              MENTOR          OH    44060
KELLY EGNITZ                                     70 OLIVE ST                                                                                    ASHLAND         MA    01721
KELLY ELIZABETH ELLEN ROWE                       3318 BRONSON BLVD                                                                              KALAMAZOO       MI    49008‐2926
KELLY ELIZABETH HODOS                            823 THORNVIEW DRIVE                                                                            GALLOWAY        OH    43119‐8618
KELLY F CLYDE                                    16072 S BEAVER GLEN DR                                                                         OREGON CITY     OR    97045‐7503
KELLY F HALL                                     416 W MIDLOTHIAN BLVD                                                                          YOUNGSTOWN      OH    44511‐3260
KELLY G GREENWOOD & HEIDI V GREENWOOD JT TEN     1011 S AZALEA DR                                                                               SPOKANE         WA    99224

KELLY GRIGSBY                                      8889 N LOW GAP RD                                                                            UNIONVILLE      IN    47468‐9716
KELLY H DONALDSON                                  3145 LAKESHORE AVE                                                                           MAPLE PLAIN     MN    55359‐9348
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 552 of 855
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

KELLY H FERJUTZ                                   10822 CARNEGIE AVE                   APT 11                                                   CLEVELAND        OH    44106‐3059
KELLY H LOWE                                      PO BOX 1360                                                                                   SHEPHERDSTOWN    WV    25443‐1360

KELLY HAERTIG                                     103 GETTYSBURG LOOP                                                                           ELGIN            TX    78621
KELLY J BOLTON                                    3 ASHLEY DR                                                                                   YERINGTON        NV    89447
KELLY J CAROSELLI                                 1406 HENN HYDE RD NE                                                                          WARREN           OH    44484‐1227
KELLY J DOLEZAL                                   5985 DUDLEY COURT                                                                             ARVADA           CO    80004‐5467
KELLY J DORMAN                                    102 SW 332ND ST                      APT 1308                                                 FEDERAL WAY      WA    98023‐6137
KELLY J FLYNN                                     C/O KELLY F ROTKEWICZ                663 HIGH RIDGE RD                                        STAMFORD         CT    06905‐2304
KELLY J GERDES                                    1483 COUNRTY LAKE ESTATES                                                                     CHESTERFIELD     MO    63005‐4351
KELLY J LUNDBERG                                  474 J ST                                                                                      SALT LAKE CITY   UT    84103‐3150
KELLY J MCCLARNON                                 2050 ROCKSPRINGS                                                                              COLUMBIA         TN    38401‐7421
KELLY J SASKA                                     10330 WHIPPOORWILL RD                                                                         NEWTON FALLS     OH    44444‐9201
KELLY J SAUNDERS                                  4411 MURIEL                                                                                   FLINT            MI    48506‐1450
KELLY J SPLEAR CUST BENEDICT J SPLEAR UTMA MI     10216 RIVERSIDE DR                                                                            MONTROSE         MI    48457‐9740

KELLY J SPLEAR CUST SAMUEL G SPLEAR UTMA MI       10216 RIVERSIDE DR                                                                            MONTROSE         MI    48457‐9740
KELLY JEAN MOORE                                  764 WINDVUE DR                                                                                PITTSBURGH       PA    15205‐1516
KELLY K CARTWRIGHT                                108 OVERLOOK AVE                                                                              LANCASTER        PA    17601‐6216
KELLY K DEKKER                                    4934 STERNBERG RD                                                                             FRUITPORT        MI    49415‐9741
KELLY K FRANCIS                                   38803 BELLINGHAM                                                                              HARRISON TWSP    MI    48045
KELLY K KELLER & CHARLES E KELLER JT TEN          555 TORY HILL RD                                                                              DEVON            PA    19333‐1236
KELLY K KELLER CUST DOUGLAS KELLER UTMA PA        555 TORYHILL RD                                                                               DEVON            PA    19333‐1236
KELLY KEATING                                     793 GALLO DR                                                                                  BRUNSWICK        OH    44212‐5215
KELLY KNECHEL                                     5978 BLUE CHURCH RD                                                                           COOPERSBURG      PA    18036‐9514
KELLY KOCH CUST JORDAN NICOLE KOCH UTMA MD        9271 PRIME COURT                                                                              LA PLATA         MD    20646‐4572

KELLY L ALLEN                                     6680 LIBERTY LANE                                                                             BELLEVILLE       MI    48111
KELLY L BISHOP                                    R R 4 BOX 120                                                                                 DUFFIELD         VA    24244‐9214
KELLY L BOYD                                      5735 MERSINGTON                                                                               KANSAS CITY      MO    64130‐4331
KELLY L BRIGUGLIO                                 960 WILSON AVE                                                                                SAGINAW          MI    48638‐5640
KELLY L CHAMBERLAIN                               ATTN KELLY C LARKIN                  223 MASCOT DRIVE                                         ROCHESTER        NY    14626‐1705
KELLY L FLETCHER JR                               9337 RUTLAND                                                                                  DETROIT          MI    48228‐2019
KELLY L FULLER                                    2104 COOLIDGE RD                                                                              EAST LANSING     MI    48823‐1332
KELLY L GORE                                      4040 COUNTY ROAD 16                                                                           WATERLOO         IN    46793‐9712
KELLY L HOGAN                                     821 PARKSIDE BLVD                                                                             CLAYMONT         DE    19703‐1038
KELLY L MORGAN                                    PO BOX 1020                                                                                   CLARKSTON        MI    48348‐1020
KELLY L NICHOLSON                                 9114 TUSCAN HILLS DR                                                                          GARDEN RIDGE     TX    78266
KELLY L O'NEILL                                   21641 SUPERIOR LN                                                                             LAKE FOREST      CA    92630‐1928
KELLY L PICKTON                                   100 YELLOWWOOD DRIVE                                                                          JACKSONVILLE     NC    28546
KELLY L STACH                                     1549 BREAKERS DR                                                                              MANAHAWKIN       NJ    08050‐1820
KELLY L STOLTZ CUST TAYLOR MORGAN STOLTZ UTMA     1729 SPRINGFIELD FARM COURT                                                                   CLEMMONS         NC    27012‐7422
NC
KELLY L VALVANO CUST FRANK P VALVANO III          22 AFTON TERRACE                                                                              E HANOVER        NJ    07936‐2401
KELLY L WILLIAMS                                  3653 W COUNTY RD 850 N                                                                        LIZTON           IN    46149‐9348
KELLY LEA KNAPP                                   137 SEASHORE DR                                                                               JUPITER          FL    33477
KELLY LEE CEPHUS                                  801 10TH ST C106                                                                              OAKLAND          CA    94607‐3206
KELLY LOUISE SHELTON                              10517 W 142ND ST                                                                              OVERLAND PARK    KS    66221‐8197
KELLY LUBY CUST CHARLES NICHOLAS LUBY UTMA IL     2726 W GUNNISON ST                                                                            CHICAGO          IL    60625

KELLY LYNN BAYLES                                 C/O WASHINGTON                       9414 GARFIELD                                            REDFORD          MI    48239‐1522
KELLY LYNN ROSE                                   751 HERRMAN CT                                                                                LIBERTY          MO    64068‐3190
KELLY LYNNE TUCKER                                147 CHAMPLIN RD                                                                               GROTON           NY    13073‐3205
KELLY LYNNE WORKS CUST KAYLEN LYNNE WORKS         1106 COUSHATTA                                                                                LONGVIEW         TX    75605‐5756
UTMA TX
KELLY M ALLEN                                     3889 N ROSEBUD CT SE                 APT 2                                                    GRAND RAPIDS     MI    49512‐9566
KELLY M BUCHHOLZ                                  4750 GRAND RIVER RD                                                                           BANCROFT         MI    48414‐9418
KELLY M CERNY                                     2551 ARMSTRONG DRIVE                                                                          LAKE ORION       MI    48360‐1916
KELLY M COBLE                                     5814 BLACKSTONE CREEK LN                                                                      HUMBLE           TX    77345‐1979
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 553 of 855
Name                                            Address1                             Address2               Address3        Address4          City              State Zip

KELLY M CROWELL                                 4224 W 21ST ST                                                                                CHICAGO           IL    60623‐2754
KELLY M DEDEAUX                                 16544 KALISHER ST                                                                             GRANADA HILLS     CA    91344‐3777
KELLY M HANSINGER                               22100 COLONY                                                                                  ST CLAIR SHORES   MI    48080‐2025
KELLY M MC AULIFFE                              35971 GLENVILLE DR                                                                            NEW BALTIMORE     MI    48047‐5861
KELLY M MEYER                                   15489 SHADYFORD COURT                                                                         CHESTERFIELD      MO    63017
KELLY M STARK & MURPHY A STARK JT TEN           1114 BRIDGE MILL AVE                                                                          CANTON            GA    30114‐7719
KELLY MARIE FISHER                              15208 N ARROWHEAD DR                                                                          CHESANING         MI    48616‐9622
KELLY MARIE LITTLE                              265 CAMERON ST                                                                                SUMMERVILLE       SC    29483‐5362
KELLY MARIE MCCULLEN                            2364 PIERWOOD DRIVE                                                                           SAINT LOUIS       MO    63129
KELLY MARIE SERVOSS                             227 STEVENSON BLVD                                                                            AMHERST           NY    14226‐2959
KELLY MIDDLETON                                 4035 CHAPEL LANE                                                                              MARTINS           IN    46151‐8115
KELLY O'NEILL                                   6993 WEST RIDGE DRIVE                                                                         BRIGHTON          MI    48116‐8867
KELLY O'NEILL                                   16731 GREENBRIAR RD                                                                           LAKE OSWEGO       OR    97034‐5726
KELLY OBRIEN                                    3011 SANDALWOOD CT                                                                            MISSOULA          MT    59804‐9707
KELLY ONIZUKA CUST LOGAN ONIZUKA UTMA HI        95 1059 KAAPEHA STREET #143                                                                   MILILANI          HI    96789
KELLY P STEED                                   9117 E COUNTY RD N                                                                            MILTON            WI    53563‐9034
KELLY PAGE                                      3335 CLOVERDALE LANE                                                                          FARMERS BRANCH    TX    75234

KELLY R CAMPBELL                                607 CATTAIL LANE                                                                              FRANKLIN          TN    37064‐5058
KELLY R FLOOD                                   237 N ELMS ROAD                                                                               FLUSHING          MI    48433‐1829
KELLY R HOLDEN                                  49 TINDALE RD                        TOUFFVILLE ON                          L4A 1G2 CANADA
KELLY R MC ADAMS                                5904 LOOKOUT MT DRIVE                                                                         AUSTIN            TX    78731
KELLY R MEYERS                                  4132 SWALLOW ST                                                                               FLINT             MI    48506‐1618
KELLY R RODGERS                                 3225 S W 66TH                                                                                 OKLAHOMA CITY     OK    73159‐2213
KELLY ROBINSON O'CONNELL                        12 MUIRFIELD BLVD                                                                             MONROE TWP        NJ    08831‐5147
KELLY S BARNA & TIM L BARNA JT TEN              6951 BRISTOL DR                                                                               BERKELEY          CA    94705
KELLY S DOHERTY                                 1227 W NEWPORT                                                                                CHICAGO           IL    60657‐1421
KELLY S HORNOCKER                               ATT KELLY JONES                      1211 VAN BUSKIRK RD                                      ANDERSON          IN    46011‐1249
KELLY S MCKEOWN                                 2334 WILTSHIRE DRIVE                                                                          BOOTHWYN          PA    19061‐3651
KELLY S NOPLIS                                  PO BOX 1967                                                                                   SEWARD            AK    99664‐1967
KELLY SANDERS                                   399 HOLFORD                                                                                   RIVER ROUGE       MI    48218‐1129
KELLY SAUTER MEHN                               100 COVENANT TRAIL                                                                            HELOTES           TX    78023‐2494
KELLY SAVOPOULOS                                1187 FRANCIS AVE S E                                                                          WARREN            OH    44484‐4335
KELLY SCHIVERDECKER                             500 S SAYERS RD                                                                               TROY              OH    45373‐9676
KELLY SEARLES                                   861 STAG THICKET LANE                                                                         MASON             MI    48854‐1428
KELLY SHINE CUST KORY MATTHEW SHINE UTMA IL     PO BOX 892                                                                                    BEECHER           IL    60401‐0892

KELLY SHINE CUST KYLE ANTHONY SHINE UTMA IL     PO BOX 892                                                                                    BEECHER           IL    60401‐0892
KELLY SLONE                                     926 COLLINS HWY                                                                               PIKEVILLE         KY    41501‐6715
KELLY SUE PERGANDE U/GDNSHP OF NORTH E          6800 WOODLEA RD                                                                               OSCODA            MI    48750‐8724
PERGANDE
KELLY SUE SLATTERY                              ATTN KELLY SUE SHEPPARD              719 BIG DRY RUN ROAD                                     MT CITY           TN    37683‐6562
KELLY T DANIELS JR                              4926 W HILLCREST AVE                                                                          DAYTON            OH    45406‐1219
KELLY T LEIGH CUST AARON M LEIGH                3050 KAABE AVE                                                                                NORTH PORT        FL    34286‐8170
KELLY VALLOW & KAROLE VALLOW JT TEN             178 W EL FREDA RD                                                                             TEMPE             AZ    85284‐2290
KELLY VENABLE                                   4515 S JOHNSON ST                                                                             NEW ORLEANS       LA    70125‐4831
KELLY VISCONTI                                  170 WALNUT HILL RD                                                                            BETHEL            CT    06801‐3014
KELLY W HENDRICK & AGNES B HENDRICK JT TEN      4285 BENHURST AVE                                                                             SAN DIEGO         CA    92122‐3011
KELLY WHEATON                                   7906 SPRINGFIELD VILLAGE DR                                                                   SPRINGFIELD       VA    22152‐3434
KELLY WINNER                                    PO BOX 387                                                                                    RANCOCAS          NJ    08073‐0387
KELLYE R MURPHY                                 6937 REQUARTH RD                                                                              GREENVILLE        OH    45331‐9218
KELLYN ALCALA CUST LIAM MATEO ALCALA UTMA CA    571 LAUREL DR                                                                                 YUBA CITY         CA    95991‐6210

KELSEY E SCRINOPSKIE & RONALD S SCRINOPSKIE JT TEN 2314 SW MEADOW COURT                                                                       TOPEKA            KS    66614‐1438

KELSEY FARLOW BUCHANAN & BRUCE J BUCHANAN JT    852 BELVILLE BLVD                                                                             NAPLES            FL    34104‐6566
TEN
KELSEY J THOMAS                                 RR 3 BOX 385                                                                                  BLOOMFIELD        IN    47424‐9661
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                       Part 4 of 8 Pg 554 of 855
Name                                              Address1                              Address2                Address3              Address4          City              State Zip

KELSEY T KENNEDY JR CUST KELSEY T KENNEDY III UGMA 679 MISTY GLEN PL                                                                                    NIPOMO            CA    93444‐5723
OK
KELSO HUFF                                         1319 CHAUCER LANE                                                                                    ATLANTA           GA    30319‐1509
KELSO HUFF & LAQUITA J HUFF JT TEN                 1319 CHAUCER LANE                                                                                    ATLANTA           GA    30319‐1509
KELVIN B COOPER                                    1336 VIA PALMERA                                                                                     CATHEDRAL CTY     CA    92234‐4394
KELVIN B HAMPTON                                   702 FATHER DUKETTE BLVD APT 706                                                                      FLINT             MI    48503‐1656
KELVIN BRANTLEY                                    3451 ENGLISH OAKS DR NW                                                                              KENNESAW          GA    30144‐6034
KELVIN BYFIELD                                     5647 N 73 ST                                                                                         MILWAUKEE         WI    53218‐2245
KELVIN C MCDOWELL                                  2973 GLADWOOD ST                                                                                     ST LOUIS          MO    63129‐2455
KELVIN C SHAW                                      PO BOX 3964                                                                                          SHREVEPORT        LA    71133‐3964
KELVIN D MC CAMPBELL                               603 DELORES DR                                                                                       GRAND PRAIRIE     TX    75052‐4850
KELVIN E SEARS                                     8655 W PARKWAY                                                                                       DETROIT           MI    48239‐1166
KELVIN HARLEMON                                    4156 RIVERHILL CT                                                                                    ROSWELL           GA    30075‐1959
KELVIN J MIDDLEBROOKS                              PO BOX 2516                                                                                          SOUTHFIELD        MI    48037‐2516
KELVIN K RETHERFORD                                6655 N LAKE RD                                                                                       OTTER LAKE        MI    48464‐9700
KELVIN K WILLIAMS                                  117 EUCLID ST                                                                                        MOUNT CLEMENS     MI    48043‐5740
KELVIN L DORSEY                                    16616 LAUDER                                                                                         DETROIT           MI    48235‐4508
KELVIN L FARRAR                                    63A MARA RD                                                                                          LAKE HIAWATHA     NJ    07034‐1344
KELVIN L MOSLEY                                    246 NE 82ND ST                                                                                       KANSAS CITY       MO    64118‐1229
KELVIN N SCOTT                                     2717 WABASH RD                                                                                       LANSING           MI    48910‐4861
KELVIN O WHITE                                     1700 JAMES ST                                                                                        SYRACUSE          NY    13206‐3202
KELVIN T GOTO                                      1091 S EL MOLINO AVE                                                                                 PASADENA          CA    91106‐4437
KELVIN U SHERROD                                   10023 JEFFERSON WAY                                                                                  FORT WAYNE        IN    46825‐2186
KELVIN W FEATHER                                   915 MAPLE LANE                                                                                       SISTERSVILLE      WV    26175‐9798
KELYN M SMITH                                      1098 NIELSEN DRIVE                                                                                   CLARKSTON         GA    30021‐2714
KEMA LEE K SCOTT                                   3428 W JOLLY RD                                                                                      LANSING           MI    48911‐3352
KEMAL LEPENICA                                     283 PARKER AVE                                                                                       CLIFTON           NJ    07011‐1457
KEMERLY CHEVROLET & OLDSMOBILE INC                 C/O GREENFIELD BANKING CO            ATTN TRUST DEPARTMENT   1920 NORTH STATE ST                     GREENFIELD        IN    46140‐1088
KEMIT P BAUMGARDNER                                2417 TRAMWAY TERRACE COURT           NORTH EAST                                                      ALBUQUERQUE       NM    87122‐2364
KEMIT P BAUMGARDNER & SARAH M BAUMGARDNER 2417 TRAMWAY TERRACE                          COURT NE                                                        ALBUQUERQUE       NM    87122‐2364
JT TEN
KEMLIN G TREECE                                    PO BOX 218                                                                                           DAVISBURG         MI    48350‐0218
KEMP PENDLETON BURPEAU                             213 FOREST HILLS DR                                                                                  WILMINGTON        NC    28403‐1121
KEMPER E WOGOMAN                                   7620 HALDERMAN RD                                                                                    WEST ALEXANDRIA   OH    45381‐9511

KEMPER JAYNE WILLIAMS                             1595 SE 145 TH ST                                                                                     SUMMERFIELD       FL    34491‐3813
KEMPER SECURITIES TR SHARON GOINS IRA PLAN        C/O ANDERSEN                          1166 ASHWOOD MEWS LN                                            ST JOHNS          MI    48879‐2073
06/03/93
KEMPER THOMAS ELLIOTT                             320 RIBLETT LANE                                                                                      WILMINGTON        DE    19808‐1302
KEN A YELLE                                       5215 OREGON RD                                                                                        LAPEER            MI    48446‐8059
KEN B KENG CUST SIMON D KENG UTMA CA              1454 CORAL WAY                                                                                        SAN MARCOS        CA    92078‐7987
KEN B MATTHEWS T‐O‐D TO CLAIRE B MATTHEWS         4015 ROMA ROAD                                                                                        KINGMAN           AZ    86401‐8501
KEN BACHMAN JR & BONNIE BACHMAN JT TEN            106 CEDAR RIDGE RD                                                                                    CHERRYLOG         GA    30522
KEN BACHMAN JR CUST JAMIE P BACHMAN UTMA FL       825 CENTER ST 27B                                                                                     JUPITER           FL    33458‐4134

KEN BACHMAN JR CUST JENNIFER ANN BACHMAN          106 CEDAR RIDGE RD                    CHERRY LOG                                                      CHERRYLOG         GA    30522
UTMA FL
KEN BERMINGHAM                                    1337 MAGNOLIA AVE                                                                                     DYER              IN    46311
KEN BOSCO                                         1269 SOUTH AVE                                                                                        GUSTINE           CA    95322‐1422
KEN C BRONG                                       302 WASHINGTON AVE                                                                                    WILMINGTON        DE    19803‐1835
KEN C HARVEY                                      1415 REDFORD RD                                                                                       CHRISTIANSBURG    VA    24073
KEN CHRT CUST JACOB K CHRT UTMA IL                5910 SPRINGSIDE                                                                                       DOWNERS GROVE     IL    60516‐1719
KEN DEMEULENAERE                                  19653 KENOSHA                                                                                         HARPER WOODS      MI    48225‐2241
KEN DESAI                                         1021 SIR JAMES AVE                                                                                    DYERSBURG         TN    38024‐7344
KEN DREWS                                         18 WHALIN ST                                                                                          ROCHESTER         NY    14620‐1311
KEN DUREN                                         239 AYER ROAD LOT 87                                                                                  LITTLETON         MA    01460‐1015
KEN E CARTER                                      1042 S DAISY LN                                                                                       NEW PALESTINE     IN    46163‐9631
KEN E RICHARDSON                                  21 OLMSTEAD HILL RD                                                                                   WILTON            CT    06897‐1727
KEN E TYLER                                       5200 RICHARDSON                                                                                       HOWELL            MI    48843‐7448
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 555 of 855
Name                                                Address1                               Address2                 Address3      Address4          City             State Zip

KEN E WORTZ & BUNIA B WORTZ JT TEN                  10 JACKSON CIRCLE                                                                               WYTHEVILLE       VA    24382‐2074
KEN F MARCUM                                        301 1/2 W PARK STREET                                                                           LEBANON          OH    45036‐2188
KEN G FARGASON                                      3926 MARVIN LEE DR                                                                              TUCKER           GA    30084‐7513
KEN GARFF                                           531 S STATE ST                                                                                  SALT LAKE CITY   UT    84111‐3521
KEN GRISBACK                                        21 FIDDLERS WAY                                                                                 LAFAYETTE        NJ    07848
KEN GROSS                                           5400 KITE TAIL DR                                                                               AUSTIN           TX    78730‐1421
KEN H MORGAN                                        742 CLOVERDALE AVE NW                                                                           GRAND RAPIDS     MI    49544‐3526
KEN HARBER & BETH HARBER JT TEN                     1922 ARDEN RD SW                                                                                ROANOKE          VA    24015‐2728
KEN J HEITHOFF                                      3208 PRESCOTT AVE                                                                               BLUE SPRINGS     MO    64015‐1124
KEN J MOODY                                         27607 ELBA RD                                                                                   GROSSE ILE       MI    48138‐1905
KEN L CHARZEWSKI                                    5345 VERMILION PL                                                                               KEITHVILLE       LA    71047‐7030
KEN L GOODMAN                                       6 DESERT WILLOW LANE                                                                            LITTLETON        CO    80127
KEN LEE MICHAELIS & MRS IONA RAE MICHAELIS JT TEN   229 S COLFAX                                                                                    WEST POINT       NE    68788‐1862

KEN M LIDDELL                                      5134 KEDRON RD                                                                                   COLUMBIA         TN    38401‐7554
KEN MARTIN & NIKIE MARTIN JT TEN                   302 SHADY LANE                                                                                   OJAI             CA    93023
KEN MATTHEWS                                       1204 FREDERICK RD                       NORTH VANCOUVER BC                     V7K 1J2 CANADA
KEN MURRAY                                         PO BOX 8892                                                                                      KENTWOOD         MI    49518‐8892
KEN NUGENT & LINDA NUGENT JT TEN                   211 DOVE AVE                                                                                     SEBRING          FL    33872‐3507
KEN R MUELLER                                      56 NOTTINGHAM WAY                                                                                FREEHOLD         NJ    07728‐1317
KEN ROTHHAAR JR                                    9110 LAKE PARK CIRCLE NORTH                                                                      DAVIE            FL    33328‐7005
KEN S PORTERFIELD                                  4829 BAYTREE COURT                      BURNABY BC                             V5G 4H1 CANADA
KEN T VARNEY                                       C/O MILDRED A VARNEY                    1337 W LOBSTER TRAP DR                                   GILBERT          AZ    85233‐7442
KEN THOMAS KULCHER & THOMAS DAVID KULCHER JT 7420 N CENTER RD                                                                                       MOUNT MORRIS     MI    48458‐8723
TEN
KEN W HUBER & BARBARA M HUBER JT TEN               1321 EWALD RD                                                                                    NEW BRAUNFELS    TX    78130‐1903
KEN WHITTALL‐SCHERFEE                              3301 WATT AVE STE 600                                                                            SACRAMENTO       CA    95821
KEN WILLIFORD                                      1619 PENNSYLVANIA AVE                                                                            FORTH WORTH      TX    76014
KEN YODER                                          3181 ELLINGTON CIRCLE                                                                            SACRAMENTO       CA    95825‐7849
KENDAL BERRY‐TRIPP                                 555 JACOB WAY                           APT 104                                                  ROCHESTER        MI    48307‐2296
KENDAL H OAKS                                      3151 MYRTON ST                                                                                   BURTON           MI    48529‐1021
KENDALL A COOK                                     95 MAIN ST #4                                                                                    SARANAC          MI    48881‐9754
KENDALL B GERHARDT                                 20322 LITTLE CREEK DRIVE                                                                         NOBLESVILLE      IN    46060‐7939
KENDALL B STADLER                                  220 BELLEVUE AVE                                                                                 LAKE ORION       MI    48362‐2706
KENDALL C GRANT                                    APT 11                                  2023 EASTERN PARKWAY                                     LOUISVILLE       KY    40204‐1492
KENDALL C WELLMAN                                  8210 AREA DR                                                                                     SAGINAW          MI    48609‐4844
KENDALL CHONG                                      3048 ALCAZAR DR                                                                                  BURLINGAME       CA    94010‐5814
KENDALL D LITCHFIELD & MRS CAROLYN S LITCHFIELD JT C/O BUDGE LITCHFIELD                    220 EIGHT A SOUTH                                        CHARLEMONT       MA    01339
TEN
KENDALL E ALEXANDER                                112 WOODVIEW CT                                                                                  LEXINGTON        SC    29073‐7540
KENDALL E CLARKE                                   46 WAYACROSS ROAD                                                                                MAHOPAC          NY    10541
KENDALL E KING & JOSEPHINE ANN KING JT TEN         18817 E 25TH ST S                                                                                INDEPENDENCE     MO    64057
KENDALL ELECTRIC INC ESOP                          ATTN JIM TREADWELL                      131 GRAND TRUNK                                          BATTLE CREEK     MI    49015‐2225
KENDALL F TOWNSEND & ROSA L TOWNSEND JT TEN        2804 E CONCORD                                                                                   URBANA           IL    61802‐7755

KENDALL G MILLER                                    1684 WEST MAIN STREET                                                                           NEWARK           OH    43055‐1344
KENDALL G WATKINS                                   16465 28 MILE RD                                                                                RAY              MI    48096‐2810
KENDALL GUSTAFSON                                   208 MILL CREEK RD                                                                               ARLINGTON        TX    76010‐5615
KENDALL H COLE                                      PO BOX 872                                                                                      FLINT            MI    48501‐0872
KENDALL H KRAUSE                                    7501 KENROB DRIVE SE                                                                            GRAND RAPIDS     MI    49546‐9165
KENDALL H NELSON                                    3350 AL HWY #36                                                                                 MOULTON          AL    35650‐4554
KENDALL H PATTEN                                    41 SUNFLOWER DR                                                                                 SANTA FE         NM    87506‐0135
KENDALL J COVINGTON                                 11250 E INTERSTATE 20                                                                           TERRELL          TX    75161
KENDALL L JOHNSON & AMAYDA H JOHNSON JT TEN         1401 DANIELSON ROAD                                                                             GENESEE          ID    83832‐9779

KENDALL L MATHER                                    PO BOX 679                                                                                      GRAND BLANC      MI    48480‐0679
KENDALL L STIFFLER & RUTH A STIFFLER JT TEN         PO BOX 114 OHIO ST                                                                              EAGLE            MI    48822‐0114
KENDALL LYNN & RUTH ANN STIFFLER JT TEN             BOX 114                                                                                         EAGLE            MI    48822‐0114
KENDALL M KEENE                                     920 NW 79TH TER                                                                                 PLANTATION       FL    33324‐1471
                                            09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 556 of 855
Name                                           Address1                            Address2             Address3          Address4          City            State Zip

KENDALL T COOK                                 460 OLD CUT RD W                                                                             MUNFORDVILLE    KY    42765‐8169
KENDALL W COCHRAN CUST ABBY RAY COCHRAN UTMA 64 E 73RD ST                                                                                   INDIANAPOLIS    IN    46240‐3005
IN
KENDELL L STAUFFER                             89 MOHAWK DR                                                                                 GIRARD          OH    44420‐1621
KENDRA K SOUTHWICK                             4485 WILD MEADOW                                                                             KALAMAZOO       MI    49048
KENDRA L GREENE                                PO BOX 144                                                                                   DANDRIDGE       TN    37725‐0144
KENDRA L KRISH                                 10040 JEFFERSON WAY                                                                          FORT WAYNE      IN    46825‐2187
KENDRA L MACK                                  5116 WALDEN DR                                                                               SWARTZ CREEK    MI    48473‐8545
KENDRA L MCCARDLE                              6157 MAPLERIDGE DRIVE                                                                        TAYLOR MILL     KY    41015
KENDRA L WAITE                                 PO BOX 26                           609 DAVIS ST                                             SOUTH ENGLISH   IA    52335‐8508
KENDRA LATISHA ANDERSON                        12418 REXFORD AVE                                                                            CLEVELAND       OH    44105‐2668
KENDRA M QUINLAN                               672 N 57 AVE                                                                                 OMAHA           NE    68132‐2038
KENDRA R METCALF                               5865 LAKE CREST DR                                                                           COLUMBIAVILLE   MI    48421‐8971
KENDRA S PERRY                                 3480 SOUTH DIVINE HIGHWAY                                                                    PEWANO          MI    48873‐9715
KENDRA STEVENS                                 7579 LARCHWOOD LN                                                                            RIVERDALE       GA    30274
KENDRA TAYLOR CUST JOSHUA SCOTT TAYLOR UTMA CA 21902 CONSUEGRA                                                                              MISSION VIEJO   CA    92692‐1063

KENDRA TAYLOR CUST KATHERINE MARIE TAYLOR UTMA 21902 CONSUEGRA                                                                              MISSION VIEJO   CA    92692‐1063
CA
KENDRIC L CATCHING                             58 GEORGETOWN CIR                                                                            O FALLON        MO    63368‐8550
KENDRIC L NORTON                               423 N MAIN                                                                                   BELLEVUE        MI    49021‐1130
KENDRICK CAGER                                 862 ANDREW CHAPEL RD                                                                         BRANDON         MS    39042‐9238
KENDRICK GAMBLE                                180 FLORIDA ST                                                                               MONTICELLO      FL    32344‐2217
KENDRICK H HIGA                                3031 ONE ST                                                                                  HONOLULU        HI    96822‐1559
KENDRICK MACDONALD                             37083 S HEATHER COURT                                                                        WESTLAND        MI    48185‐7211
KENETH A ERICKSON CUST ANDREW J ERICKSON UTMA 1650 S CANOE CREEK DR                                                                         COLORADO SPGS   CO    80906‐7753
MN
KENG D LEM & MAUREEN LEM JT TEN                2608 COLORADO                                                                                HUTCHINSON      KS    67502‐5126
KENICHI MINEMOTO                               1120 OLD PYE COURT                  OSHAWA ON                              L1G 7N8 CANADA
KENICHI MINEMOTO                               1120 OLD PYE CRT                    OSHAWA ON                              L1G 7N8 CANADA
KENITH O ALDERSON                              847 PLYMOUTH DR                                                                              JONESBORO       GA    30236‐5586
KENJI MURAI & NAOE MURAI JT TEN                2328 HOONANEA ST                                                                             HONOLULU        HI    96822‐2429
KENLEY O BARCUS                                BOX 149                                                                                      PENNVILLE       IN    47369‐0149
KENLIND JACKSON                                499D MORELAND AVE NE                                                                         ATLANTA         GA    30307‐1596
KENLYN M DEVRIES                               112 JONES ST                                                                                 KALAMAZOO       MI    49048‐9519
KENN E NELSON                                  27455 WHITCOMB                                                                               LIVONIA         MI    48154‐3475
KENNA D ROUTH                                  1794 N 300 RD                                                                                BALDWIN CITY    KS    66006‐7301
KENNARD L PATTERSON                            13005 GARY RD                                                                                CHESANING       MI    48616‐9429
KENNARD N PITTS                                7242 PRIVATE RD 3527                                                                         QUINLAN         TX    75474‐4614
KENNARD WOODS                                  685 EAST AVE                                                                                 AKRON           OH    44320‐3776
KENNEDY A GERMAIN                              6474 ROSEWOOD LN                                                                             MASON           OH    45040‐5923
KENNELLA J HUERTA LAWRENCE                     601 DEARBORN ST                     APT 30                                                   DANVILLE        IL    61832‐6857
KENNEMER RAY BATES                             146 ROY LONG ROAD                                                                            ATHENS          AL    35611‐5747
KENNETH A ABELL CUST JAYCEN M ABELL UGMA KY    2401 PFRIMMERS CHAPEL RD NE                                                                  CORYDON         IN    47112‐8216

KENNETH A AHO                                  29495 IVYWOOD TR                                                                             CHISAGO CITY    MN    55013‐9634
KENNETH A BAIN & MARGARET ANN BAIN JT TEN      10508 E NAVAJO PLACE                                                                         SUN LAKES       AZ    85248‐9202
KENNETH A BARDALES                             3302 ENGLEWOOD ROAD LONGWOOD                                                                 WILMINGTON      DE    19810‐3302
KENNETH A BENNING                              9549 WOODSIDE CIR                                                                            GRAND BLANC     MI    48439‐8079
KENNETH A BERNARD                              9464 OWENS ROAD                                                                              OIL CITY        LA    71061‐9695
KENNETH A BRANDT                               8640 36TH AV                                                                                 JENISON         MI    49428‐9533
KENNETH A BROOKS                               11319 E 60 TERR                                                                              RAYTOWN         MO    64133‐4330
KENNETH A BUCHHEIT                             10540 WALNUT LN                                                                              FORISTELL       MO    63348
KENNETH A BUJALSKI                             8526 TREAT HWY                                                                               JASPER          MI    49248‐9750
KENNETH A BUNCH                                15774 COWLEY RD                                                                              GRAFTON         OH    44044‐9665
KENNETH A BURDICK                              3747 S 53RD CT                                                                               CICERO          IL    60804‐4425
KENNETH A BURGESS                              15706 LINCOLN RD                                                                             CHESANING       MI    48616‐9773
KENNETH A BURNEY                               3622 MIDDLEBELT                                                                              INKSTER         MI    48141‐2080
KENNETH A BUTLER                               16741 STOUT                                                                                  DETROIT         MI    48219‐3322
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 557 of 855
Name                                              Address1                               Address2                   Address3    Address4          City              State Zip

KENNETH A CANUP                                   2309 PENNSYLVANIA AVE                                                                           KINAPPOLIS        NC    28083‐6729
KENNETH A CARROLL                                 1175 COOL RIDGE DRIVE                                                                           GRAND BLANCE      MI    48439‐4971
KENNETH A CASALETTO & SHERYL V CASALETTO JT TEN   5586 BUCKLEY                                                                                    EL PASO           TX    79912‐6417

KENNETH A CHORLEY                              PO BOX 1251                               HAMPTON NB                             E5N 8H2 CANADA
KENNETH A CLINTON                              170 LINNS MILL RD                                                                                  TROY              MO    63379‐4133
KENNETH A COHEN                                PO BOX 11820                                                                                       CHICAGO           IL    60611‐0820
KENNETH A COX                                  MORTON HOUSE                              TREFLACH OSWESTRY SHROPS               GREAT BRITAIN
KENNETH A CREASY                               825 GARY DR                                                                                        PLAINFIELD        IN    46168‐2209
KENNETH A CROZIER TOD KATHY CROZIER SUBJECT TO 31 BEVERLY DRIVE                                                                                   WARWICK           NY    10990‐2602
STA TOD RULES
KENNETH A DADE & SHELLYE C DADE JT TEN         2572 W BLOOMFIELD OAKS                                                                             W BLOOMFIELD      MI    48324‐3085
KENNETH A DAVIS & PATRICIA M DAVIS JT TEN      1603 DIANA AVE                                                                                     ANAHEIM           CA    92805‐5420
KENNETH A DECKERS                              22566 VISNAW ST                                                                                    ST CLAIR SHORES   MI    48081‐2641
KENNETH A DICKERSON                            1121 BIRCHGATE TRL                                                                                 ST LOUIS          MO    63135‐1332
KENNETH A DIMIN                                BOX 98                                                                                             MALIBU            CA    90265‐0098
KENNETH A DINGMAN                              1412 HARDING                                                                                       LAKE ORION        MI    48362‐3715
KENNETH A DRENNAN                              RT #1                                                                                              BERKEY            OH    43504‐9801
KENNETH A ELD                                  12 EASTERN PT                                                                                      SALEM             SC    29676
KENNETH A ELLIS                                18 CHAMPAGNE DR                                                                                    LAKE ST LOUIS     MO    63367‐1629
KENNETH A FAHNESTOCK                           336 N ESSEX AVE                                                                                    BALTIMORE         MD    21221‐4709
KENNETH A FORTNER                              3216E 200N RD                                                                                      CAYUGA            IN    47928‐8154
KENNETH A FUCHS                                6501 17TH AVE W                           # 108                                                    BRADENTON         FL    34209‐7858
KENNETH A FUCHS & CELIA M FUCHS JT TEN         6501 17TH AVE W                                                                                    BRADENTON         FL    34209‐7858
KENNETH A FULLER                               1266 GREENBRIER LANE                                                                               N TONAWANDA       NY    14120‐1917
KENNETH A GIERE                                306 SOUTH 13TH ST                                                                                  OLIVIA            MN    56277‐1225
KENNETH A GIRARD                               40 W 573 BURLINGTON RD                                                                             SAINT CHARLES     IL    60175
KENNETH A GISELBACH                            8338 W 1700 N                                                                                      ELWOOD            IN    46036‐8779
KENNETH A GRAZIANO                             78 ORCHARD PL                                                                                      BUFFALO           NY    14225‐3416
KENNETH A GUENTHER                             10630 DEWITT                                                                                       BELLEVILLE        MI    48111‐1390
KENNETH A HALL                                 1434 S 35TH ST                                                                                     KANSAS CITY       KS    66106‐2018
KENNETH A HALLWOOD                             11554 CLEARWATER DR                                                                                FENTON            MI    48430
KENNETH A HAMMING TR KENNETH A HAMMING TRUST 24641 CHANCEL ST                                                                                     HARRISON TWP      MI    48045
UA 08/26/99
KENNETH A HARTRANFT & JANET A HARTRANFT JT TEN 17 SOUTH RABBIT RUN RD                                                                             ORWIGSBURG        PA    17961‐9164

KENNETH A HASELBY                                 7901 HARRISON ROAD                                                                              BATTLE GROUND     IN    47920‐9777
KENNETH A HORNBROOK JR                            5105 W 11TH ST                                                                                  SPEEDWAY          IN    46224‐6912
KENNETH A HOWARD                                  18 CANOVA CT                                                                                    FAIRBORN          OH    45324‐4218
KENNETH A HUFNAGEL                                5806 KRATZVILLE RD                                                                              EVANSVILLE        IN    47710‐4580
KENNETH A HULIK                                   5980 HIDDEN COURT                                                                               CANTON TWP        MI    48187‐4739
KENNETH A JOHNSON                                 12856 MEADOWDALE DR                                                                             ST LOUIS          MO    63138‐1527
KENNETH A JOHNSON                                 104 LAKEVIEW DR EXTENSION                                                                       HONEOYE           NY    14471‐9347
KENNETH A JOHNSON SR                              6016 MAPLE HILL DRIVE                                                                           CASTALIA          OH    44824‐9345
KENNETH A KLUENDER                                0460 WESTCOMBE                                                                                  FLINT             MI    48503‐2306
KENNETH A KOSLOWSKI CUST ANTHONY J KOSLOWSKI      36 GRISSOM DR                                                                                   CLIFTON PARK      NY    12065‐7221
UGMA NY
KENNETH A KUDLA                                   2160 LANDAU STREET SE                                                                           SALEM             OR    97306
KENNETH A KYGER                                   3918 LOVE AVE                                                                                   EDGEWOOD          MD    21040‐3719
KENNETH A LANGE CUST STEPHEN K LANGE UGMA AL      1622 6TH AVE SE                                                                                 ROCHESTER         MN    55904‐5202

KENNETH A LUCAS                                   7424 CHAPEL HILL RD                                                                             RALEIGH           NC    27607‐5079
KENNETH A MANNING                                 17168 SHAFTSBURY                                                                                DETROIT           MI    48219‐3545
KENNETH A MANNING EX EST RAJ K KAUL               3400 HSBC BLVD                                                                                  BUFFALO           NY    14203
KENNETH A MATERIA                                 1429 HIGHLAND MEADOWS                                                                           FLINT             MI    48532‐2065
KENNETH A MC DONALD CUST JOHN KENNETH MC          3341 MAC NICHOL TRAIL                                                                           WEST BLOOMFIELD   MI    48323‐1730
DONALD UGMA MI
KENNETH A MC KENNA                                8316 BALEY DR SE                                                                                ADA               MI    49301‐9635
KENNETH A MCCLEN                                  255 WHETSTONE ROAD                                                                              HARWINTON         CT    06791‐2216
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 558 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

KENNETH A MCMANN                                  4313 ARROWROCK DR                                                                               DAYTON            OH    45424‐5003
KENNETH A MEDLIN                                  6630 RUTLEDGE DR                                                                                FAIRFAX STATION   VA    22039‐1700
KENNETH A MICHAUD                                 11519 JOURDAN LAKE RD BOX 52                                                                    LAKE ODESSA       MI    48849‐9585
KENNETH A MIHALY                                  2676 HARRIS RD                                                                                  BROADVIEW HTS     OH    44147‐2641
KENNETH A MILLER                                  103 BROOK RD                                                                                    YORKTOWN          VA    23692‐4716
KENNETH A MILLS                                   2245 W COUNTY RD 950 N                                                                          MUNCIE            IN    47302‐9302
KENNETH A MORIN                                   201 E BEECHWOOD AVE                                                                             OAKLYN            NJ    08107‐1322
KENNETH A MUMFORD                                 1 LEATHERWOOD VIEW                                                                              BEDFORD           IN    47421‐3400
KENNETH A MUNJOY                                  2533 RUBBINS ST                                                                                 HOWELL            MI    48843‐8959
KENNETH A MYERS                                   338 HINTON ST                                                                                   PT CHARLOTTE      FL    33954‐2953
KENNETH A OTTO & ELLEN J OTTO JT TEN              1161 CLIFFORD LAKE DR                                                                           STANTON           MI    48888‐9369
KENNETH A OWEN                                    2022 STONEHEATHER ROAD                                                                          RICHMOND          VA    23233‐5815
KENNETH A PACE                                    1278 GLENNEYRE ST #295                                                                          LAGUNA BEACH      CA    92651‐3103
KENNETH A PARKER                                  480 ASHLEY ALLEN CIR                                                                            POLKTON           NC    28135‐9268
KENNETH A PARROTT                                 13441 HUISACHE WAY                                                                              HELOTES           TX    78023‐3607
KENNETH A PASS & KAREN K PASS JT TEN              9 PATROON PL                                                                                    GLENMONT          NY    12077‐3622
KENNETH A PATCHAN                                 7465 BAY ISLAND DR #217                                                                         S PASADENA        FL    33707‐4557
KENNETH A PLATT & DOROTHY V PLATT JT TEN          7620 BARNES ROAD                                                                                MILLINGTON        MI    48746‐9520
KENNETH A PONTIUS JR                              3939 W LEHMAN RD                                                                                DEWITT            MI    48820‐8520
KENNETH A RAMSEY                                  220 N VINE ST                                                                                   WICHITA           KS    67203‐5841
KENNETH A RICH                                    8382 WILLITS RD                                                                                 FOSTORIA          MI    48435‐9425
KENNETH A ROBINSON                                189 STOREYTOWN RD                      DOAKTOWN NB                            E9C 1S3 CANADA
KENNETH A ROZMYS                                  9100 MERCEDES                                                                                   REDFORD TWP       MI    48239‐2316
KENNETH A RYNKIEWICZ                              1441 LUDEAN DR                                                                                  HIGHLAND          MI    48356‐1748
KENNETH A SANCHEZ                                 225 REDDICK RD                                                                                  PORTAL            GA    30450
KENNETH A SAUMS                                   1026 CROTON RD                                                                                  PITTSTOWN         NJ    08867‐4019
KENNETH A SCHMITZ                                 15025 SHADOWOOD ST                                                                              MONROE            MI    48161‐3719
KENNETH A SCHURY                                  215 W JEFFERSON                                                                                 FRANKENMUTH       MI    48734‐1805
KENNETH A SHEGGEBY & MICHELLE L SHEGGEBY JT TEN   620 WASHINGTON CT                                                                               SHAKOPEE          MN    55379‐8223

KENNETH A SMALL TR KENNETH A SMALL REVOCABLE    690 NORTH 3150 ROAD                                                                               UTICA             IL    61373‐9736
LIVING TRUST UA 01/23/95
KENNETH A SPRINGER                              4186 MANOR DR                                                                                     GRAND BLANC       MI    48439‐7903
KENNETH A STEVENS                               175 EAST REMINGTON DRIVE                 APT 127                                                  SUNNYVILLE        CA    94087‐1927
KENNETH A STEVENS TR KENNETH A STEVENS TRUST UA 175 E REMINGTON DR                       APT 127                                                  SUNNYVILLE        CA    94087‐1927
03/23/04
KENNETH A STREDNEY                              1204 ROSEWAY AVE SE                                                                               WARREN            OH    44484‐2811
KENNETH A SWANSON TR KENNETH A SWANSON TRUST 5615 N RIDGEWAY RD                                                                                   RINGWOOD          IL    60072‐9634
UA 01/18/99
KENNETH A TAYLOR                                5220 17TH ST                                                                                      ZEPHYRHILLS       FL    33540‐5039
KENNETH A THOMAS & MRS ERMA L THOMAS JT TEN     4640 DALE COURT                                                                                   BAY CITY          MI    48706‐9412

KENNETH A TIKKANEN                                811 HAWTHORN                                                                                    ROYAL OAK         MI    48067‐4408
KENNETH A TILLERY                                 2501 N 111TH TER                                                                                KANSAS CITY       KS    66109‐4479
KENNETH A TOMCO                                   6134 STUMPH RD                         APT 109                                                  CLEVELAND         OH    44130‐1852
KENNETH A TURNWALD                                14113 GASPER RD                                                                                 CHESANING         MI    48616‐9462
KENNETH A VELOZO                                  61 BRIGGS AVE                                                                                   SOMERSET          MA    02725‐1914
KENNETH A VERDA & KAREN M VERDA JT TEN            104 W TAYLOR ST                                                                                 NEWARK            IL    60541‐9766
KENNETH A VOWLES                                  26121 EUREKA RD                        APT 323                                                  TAYLOR            MI    48180‐4944
KENNETH A WAGNER                                  8446 GLEN EAGLE DRIVE                                                                           MANLIUS           NY    13104‐9444
KENNETH A WEBER                                   1549 E 37TH ST                                                                                  BROOKLYN          NY    11234‐3417
KENNETH A WEBER                                   1010 FLINT ST                                                                                   FRANKENMUTH       MI    48734‐9553
KENNETH A WEDDLE                                  5225 S 25 W                                                                                     LEBANON           IN    46052‐9799
KENNETH A WEEKS                                   529 FALLS BRIDGE ROAD                                                                           BLUE HILL         ME    04614‐6511
KENNETH A WRAGG                                   8914 STATE RT 60                                                                                WAKEMAN           OH    44889‐9005
KENNETH A WRIGHT                                  7958 NO 9 RD                                                                                    BROOKVILLE        OH    45309
KENNETH ALAN BLAKESLEE                            8064 THERESE CT SE                                                                              CALEDONIA         MI    49316‐8972
KENNETH ALAN KAUFMAN                              23727 KING DR                                                                                   MT CLEMENS        MI    48035‐2988
KENNETH ALAN NAKDIMEN                             20 W 64TH ST                           APT 12M                                                  NEW YORK          NY    10023‐7104
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 559 of 855
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

KENNETH ALFRED FORST                           118 PEARY CT                            UNIT A                                                   KEY WEST        FL    33040‐7716
KENNETH ALFRED TORGERSON                       3040 FAIRMOUNT BLVD                                                                              CLEVELAND       OH    44118‐4129
KENNETH ALLAN DECEUNINCK                       4292 HOSNER RD                                                                                   METAMORA        MI    48455‐9316
KENNETH ALLAN HARRIS                           502 N WILLOW                                                                                     ELLENSBURG      WA    98926‐3255
KENNETH ALPHONSE THULL                         29667 STATE 27                                                                                   LONG PRAIRIE    MN    56347‐4531
KENNETH ANDREW KRUSE                           496 SOUTH MAPLE LEAF ROAD                                                                        LAPEER          MI    48446‐3537
KENNETH ANDREW RUSSELL & KENNETH W RUSSELL JT 24211 CHARLEVOIX STREET                                                                           BROWNSTOWN      MI    48134‐8049
TEN
KENNETH ANTONACCI                              PO BOX 295                                                                                       WATERTOWN       CT    06795‐0295
KENNETH B BOYKIN                               2566 MCCULLOH ST                                                                                 BALTIMORE       MD    21217‐4060
KENNETH B BRANSFORD                            2471 FAIR LN                                                                                     BURTON          MI    48509‐1309
KENNETH B COASTER                              13103 N ELMS RD                                                                                  CLIO            MI    48420‐8213
KENNETH B COULTER                              525 COUNTY ROUTE 46                                                                              MASSENA         NY    13662‐3317
KENNETH B EAVES                                42 CAPTAIN VINAL WAY                                                                             NORWELL         MA    02061‐1024
KENNETH B ERIKSEN                              3770 CLYDE RD                                                                                    HOLLY           MI    48442‐8903
KENNETH B FAUST                                1593 PENNSYLVANIA CROSSING                                                                       LEWISTON        MI    49756‐7866
KENNETH B FRESHWATER JR & CAROLYN R FRESHWATER 4393 ASCOT CIRCLE SE                                                                             SOUTHPORT       NC    28461‐8058
JT TEN
KENNETH B GROSS & NANCY L GROSS JT TEN         2656 HOMEWOOD DR                                                                                 TROY            MI    48098‐2386
KENNETH B GROSS CUST JASON M GROSS UGMA NY     PO BOX 3185                                                                                      LAKE WORTH      FL    33465‐3185

KENNETH B HARMON                                 9110 BAYBERRY BND                     APT 104                                                  FORT MYERS      FL    33908‐6252
KENNETH B HAUSER                                 1514 S E HIGHLAND CT                                                                           PORT ST LUCIE   FL    34952‐6052
KENNETH B HICKMAN                                960 ALAN DRIVE                                                                                 LAKE ORION      MI    48362‐2803
KENNETH B HICKMOTT                               5293 RIDGE RD                                                                                  ALGER           MI    48610‐9306
KENNETH B HIGBIE TR KENNETH B HIGBIE REVOCABLE   1276 COCONUT DR                                                                                FORT MYERS      FL    33901‐6609
TRUSTUA 04/11/00
KENNETH B HOLDER JR                              30152 HOBNAIL COURT                                                                            BEVERLY HILLS   MI    48025‐4743
KENNETH B IRWIN JR                               33521 CLIFTON DRIVE                                                                            STERLING HTS    MI    48310‐6009
KENNETH B JONES JR                               3313 HARRIS AVE                                                                                INDEPENDENCE    MO    64052‐2729
KENNETH B JORDAN & JEAN A JORDAN JT TEN          1032 OAKMONT CIRCLE                                                                            LYNCHBURG       VA    24502‐2765
KENNETH B KEES & REBA J KEES JT TEN              9121 TAVISTOCK DR                                                                              PLYMOUTH        MI    48170‐4722
KENNETH B KRUGER & MRS JUDY ANNE KRUGER JT TEN   7178 NORTH MEADOWS TRAIL                                                                       DEXTER          MI    48130‐8633

KENNETH B LEVINE CUST DANA LEVINE UGMA NY        7 CHESTER DR                                                                                   GREAT NECK      NY    11021‐4904
KENNETH B LOMAX                                  217 CURRY PL                                                                                   YOUNGSTOWN      OH    44504‐1814
KENNETH B LUNDY                                  3793 ROBINSON ROAD                                                                             MACON           GA    31204‐3720
KENNETH B MARTIN                                 2820 S MEMORIAL DR                    APT 117                                                  NEW CASTLE      IN    47362‐1165
KENNETH B MAY                                    2710 BROADWAY AVE                                                                              KALAMAZOO       MI    49008‐4318
KENNETH B MC CLURE                               1601 E DEER RIDGE RD                                                                           OAK HARBOR      WA    98277‐8674
KENNETH B MC CLURE CUST SCOTT A MC CLURE UGMA    7731 LOTUS DR                                                                                  ANCHORAGE       AK    99502‐4653
MI
KENNETH B MOORE                                  3496 N 200 E                                                                                   HUNTINGTON      IN    46750‐9562
KENNETH B NADOLSKI                               2952 CHRYSLER                                                                                  BAY CITY        MI    48706‐3106
KENNETH B NELSON III                             4516 FREEMAN RD                                                                                MIDDLEPORT      NY    14105‐9642
KENNETH B NEWTON                                 5920 ST RT 127                                                                                 CAMDEN          OH    45311‐8522
KENNETH B RUPERT JR                              725 TOUBY LN                                                                                   MANSFIELD       OH    44903‐9133
KENNETH B SCHANTZ                                7042 COUNTRY SPRINGS DR SW                                                                     BYRON CENTER    MI    49315
KENNETH B SCHNEPP                                9113 DEL RIO DRIVE                                                                             GRAND BLANC     MI    48439‐8384
KENNETH B SIMONS & JARED B SIMONS JT TEN         4303 W RIVER LAKE DRIVE                                                                        MEQUON          WI    53092‐4856
KENNETH B SMITH                                  478 DESIREE DRIVE                                                                              LAWRENCEVILLE   GA    30044‐3647
KENNETH B STURGILL                               1340 CALLE BONITA DR                                                                           PORT ORANGE     FL    32129‐7856
KENNETH B TATRO                                  2215 VEREEN CIR                                                                                LITTLE RIVER    SC    29566‐9106
KENNETH B WELLES                                 104 HETCHELTOWN ROAD                                                                           SCOTIA          NY    12302‐5618
KENNETH B WILCZEWSKI                             8600 RIVERSIDE                                                                                 BRIGHTON        MI    48116‐8235
KENNETH B WILLS                                  430 SIDNEY ST                         APT 36                                                   EAST DUBUQUE    IL    61025‐1169
KENNETH B WOOD                                   4450 MAPLE LEAF DR                                                                             GRAND BLANC     MI    48439‐9017
KENNETH BARON                                    2149 RADNOR AVE                                                                                LONG BEACH      CA    90815
KENNETH BASKE                                    ROYAL YORK APARTMENTS APT 12          3278 SENECA STREET                                       WEST SENECA     NY    14224‐2763
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 560 of 855
Name                                             Address1                             Address2                   Address3    Address4          City             State Zip

KENNETH BAUMGARTEN CUST BRIAN JOSEPH             171 POWERHOUSE ROAD                                                                           ROSLYN HEIGHTS   NY    11577‐1947
BAUMGARTEN UGMA NY
KENNETH BAUMGARTEN CUST SCOTT RYAN               171 POWERHOUSE ROAD                                                                           ROSLYN HEIGHTS   NY    11577‐1947
BAUMGARTEN UGMA NY
KENNETH BELL                                     7171 SIMONS                                                                                   LEXINGTON        MI    48450‐8825
KENNETH BENES                                    22 DARTMOUTH RD                                                                               PARLIN           NJ    08859‐1233
KENNETH BERRIAN                                  9200 MILLIKEN AVE APT 12318                                                                   RANCHO           CA    91730‐8536
                                                                                                                                               CUCAMONGA
KENNETH BLAKE & EDITH BLAKE JT TEN             2289 ADELA PL BC                                                              V8L 1R1 CANADA
KENNETH BLAZE CUST JOHNATHON JULIUS BLAZE UGMA 504 LARKSPUR AVE                                                                                PORTAGE          MI    49002‐6246
MI
KENNETH BOGER & JANET ADAMS JT TEN             416 HICKORY LN                                                                                  PLAINFIELD       IN    46168‐1837
KENNETH BOGER & RODNEY BOGER JT TEN            416 HICKORY LN                                                                                  PLAINFIELD       IN    46168‐1837
KENNETH BOGER & RODNEY K BOGER JT TEN          416 HICKORY LN                                                                                  PLAINFIELD       IN    46168‐1837
KENNETH BOLLENBACK TR UA 06/21/96 KENNETH      160 SCARLET BLVD                                                                                OLDSMAR          FL    34677‐3002
BOLLENBACK
KENNETH BOSS                                   8150 10 MILE NE                                                                                 ROCKFORD         MI    49341‐9340
KENNETH BOYCHUK                                6217 49TH AVE                          CAMROSE AB                             T4V 0P4 CANADA
KENNETH BRANTFORD                              PO BOX 5464                                                                                     CLEVELAND        OH    44101‐0464
KENNETH BRAUN                                  2 VALLEY RD                                                                                     SYOSSET          NY    11791‐4214
KENNETH BREAUX                                 957 KENILWORTH AVE                                                                              PONTIAC          MI    48340‐3109
KENNETH BRIAN HOLDEN                           4010 TRANQUILITY COURT                                                                          MONROVIA         MD    21770‐9005
KENNETH BRIAN KLOOZE                           9228 SARATOGA                                                                                   FORT WAYNE       IN    46804‐7028
KENNETH BRIGGS                                 6501 STILLCREST WAY                                                                             DAYTON           OH    45414‐5909
KENNETH BROWNING                               W9047 HIAWATHA TRAIL                                                                            MAUBINWAY        MI    49762
KENNETH BURTON                                 5709 DENISE DRIVE                                                                               HALTOM CITY      TX    76148‐3714
KENNETH BUSBY                                  1302 RIVERVIEW COURT                                                                            HOUSTON          TX    77077‐3219
KENNETH BUZZARD & ROMELDA BUZZARD JT TEN       11 IRISH AVE APT 15                                                                             PHILADELPHIA     NY    13673‐3126
KENNETH C BULLOCK                              C/O RICHARD J BULLOCK                  91 SAN JUAN DRIVE APT H8                                 PONTE VEDRA      FL    32082‐1333
                                                                                                                                               BEACH
KENNETH C BURRITT JR                           185 KAYWOOD DR                                                                                  ROCHESTER        NY    14626‐3768
KENNETH C CALDWELL                             5076 BLUE HERON RD                                                                              SOLSBERRY        IN    47459‐9770
KENNETH C CARHEE B                             800 JOHNSON ST PO BOX 510                                                                       MANSFIELD        LA    71052‐0510
KENNETH C CARTER                               3857 S MORTON RD                                                                                LUDINGTON        MI    49431‐9717
KENNETH C CLARK                                6824 CANYON RUN                                                                                 EL PASO          TX    79912‐7448
KENNETH C CLONTZ                               6524 WENTWORTH RD                                                                               OSCODA           MI    48750‐9221
KENNETH C COLLINS JR                           6417 MERLIN DR                                                                                  FORT WAYNE       IN    46818‐2519
KENNETH C CRAWFORD                             10206 CROSBY ROAD                                                                               HARRISON         OH    45030‐9733
KENNETH C DAFOE                                1065 ST MARYS                          WINDSOR ON                             N8S 2V3 CANADA
KENNETH C DEACON JR                            2459 LAKE PT LANE                                                                               CLEARWATER       FL    33762‐2242
KENNETH C DEAN & JANE H DEAN TR DEAN FAMILY    1099 TYLER ST                                                                                   SALINAS          CA    93906‐3522
TRUST UA 10/19/04
KENNETH C DECKER                               4265 U S HWY 98N #516                                                                           LAKELAND         FL    33809‐3817
KENNETH C DUNN TR KENNETH C DUNN TRUST UA      4635 AZALEA LANE                                                                                NORTH OLMSTED    OH    44070‐2452
07/23/93
KENNETH C DUNN TR UA 07/23/1993 KENNETH C DUNN 4635 AZALEA LANE                                                                                NORTH OLMSTED    OH    44070
LIVING TRUST
KENNETH C DYER & VIVA A DYER TR DYER FAM TRUST 2460 POCASSETT WAY                                                                              HOLT             MI    48842‐9793
UA 11/20/98
KENNETH C EMMA                                 2911 BRUNSWICK PIKE                                                                             LAWRENCEVILLE    NJ    08648‐2403
KENNETH C FALK & PATRICIA A FALK JT TEN        9441 W COLDWATER RD                                                                             FLUSHING         MI    48433‐1077
KENNETH C FERGUSON & MARY M FERGUSON JT TEN    BOX 78                                                                                          EWING            MO    63440

KENNETH C FLAYLER                                225 DEER TRAIL DR                                                                             SPRINGBORO       OH    45066‐9547
KENNETH C FLAYLER & SAUNDRA L FLAYLER JT TEN     225 DEER TRAIL DR                                                                             SPRINGBORO       OH    45066‐9547

KENNETH C FRANCIS & ERIKA J FRANCIS JT TEN     21111 COLDDE MADOW LANE                                                                         SPRING           TX    77379
KENNETH C FREUND & MARY C FREUND TR THE FREUND 10 GRANT                                                                                        IRVINE           CA    92620‐3353
FAMILY TRUST 03/17/93
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 561 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

KENNETH C GARCIA                                3661 WASHINGTON AVE                                                                             CINCINNATI       OH   45229‐2021
KENNETH C GILLIAM                               1503 COUNTY ROAD 200                                                                            GONZALES         TX   78629‐6520
KENNETH C GOODE                                 807 HENRY AVE S E                                                                               GRAND RAPIDS     MI   49507‐1358
KENNETH C GREENE                                63 WEST BOULDER ST                                                                              COLORADO SPRINGS CO   80903‐3371

KENNETH C GREGORY & HELEN G GREGORY JT TEN      10132 CAMDEN AVE                                                                                SUN CITY        AZ    85351‐4523
KENNETH C GUILFORD SR                           68 WYETH DRIVE                                                                                  GETZVILLE       NY    14068‐1245
KENNETH C GULLSTRAND & LINDA S HOUDEK JT TEN    11124 WEBSTER ROAD                                                                              CLIO            MI    48420‐8208

KENNETH C HAINES                                5421 S 700 W                                                                                    REDKEY          IN    47373‐9455
KENNETH C HAMBY                                 970 MILL CREEK RD                                                                               SUNBRIGHT       TN    37872‐2422
KENNETH C HAMMOND JR                            2727 HWY 150 WEST                                                                               NEW WAVERLY     TX    77358‐9502
KENNETH C HARROD                                112 DABILL PL                                                                                   LIMA            OH    45805
KENNETH C HEATHERLY                             5900 JASSAMINE DRIVE                                                                            DAYTON          OH    45449‐2945
KENNETH C HENDERSON                             5804 MORSE AVE                                                                                  JACKSONVILLE    FL    32244‐3822
KENNETH C HODGE                                 7104 RIVERVIEW DR                                                                               FLINT           MI    48532‐2274
KENNETH C HOLESTINE                             1190 VANCE RD                                                                                   MABTON          WA    98935‐9767
KENNETH C HOLT                                  370 MEYER ROAD                                                                                  AMHERST         NY    14226‐1034
KENNETH C HOSTUTLER                             1046 SOLEDAD WAY                                                                                THE VILLAGES    FL    32159
KENNETH C HUGHES                                R2                                                                                              MT OLIVET       KY    41064‐9804
KENNETH C HULETT                                43220 OAKBROOK CT                                                                               CANTON          MI    48187‐2034
KENNETH C HUNT                                  38494 LAURENWOOD DR                                                                             WAYNE           MI    48184‐1038
KENNETH C JACKSON                               559 E MADISON AV                                                                                PONTIAC         MI    48340‐2933
KENNETH C JOHNSON                               370 3RD AVE                                                                                     PONTIAC         MI    48340‐2845
KENNETH C JOHNSON                               56632 LONG ISLAND DR                                                                            SHELBY TWP      MI    48316‐5726
KENNETH C KAN                                   2463 TUCKAHOE CT                                                                                WALDORF         MD    20601‐2643
KENNETH C KAUFFMAN                              1635 COLUMBIA RD                                                                                DANSVILLE       MI    48819‐9785
KENNETH C KELLY                                 14810 RUE DE BAYONNE#5A                                                                         CLEARWATER      FL    33762‐3031
KENNETH C KELLY & LOIS JEAN KELLY JT TEN        14810 RUE DE BAYONNE 5A                                                                         CLEARWATER      FL    33762‐3031
KENNETH C KEYES                                 6350 GROTON N W                                                                                 CANTON          OH    44708‐1179
KENNETH C KIRBY                                 W9241 HWY 106                                                                                   EDGERTON        WI    53534‐9108
KENNETH C KMOITEK                               3359 BRONSON LAKE RD                                                                            LAPEER          MI    48446‐9001
KENNETH C KRAKOWSKI                             9900 ULMERTON RD LOT 17                                                                         LARGO           FL    33771‐4329
KENNETH C KRAWCZYK                              5549 FOLKSTONE                                                                                  TROY            MI    48098‐3114
KENNETH C KUGLER                                42 PERSHING AVE                                                                                 VALLEY STREAM   NY    11581‐2910
KENNETH C LACKOWSKI                             4748 CAINE ROAD                                                                                 VASSAR          MI    48768‐9541
KENNETH C LEWIS                                 3596 OAKVIEW DRIVE                                                                              GIRARD          OH    44420‐3132
KENNETH C LU                                    1023 BROKEN OAK DRIVE                  GLOUCESTER ON                          K1C 2W8 CANADA
KENNETH C MARZ & KAREN A MARZ JT TEN            197 FOREST AVE                                                                                  GLEN ELLYN      IL    60137‐5409
KENNETH C MC GHEE                               3732 NORTH 24TH PL                                                                              MILWAUKEE       WI    53206‐1351
KENNETH C MCGHEE & LORETTA J MCGHEE JT TEN      3732 N 24TH PL                                                                                  MILWAUKEE       WI    53206‐1351
KENNETH C MCLAUGHLIN                            18814 ROAD K R R 2                                                                              CLOVERDALE      OH    45827‐9652
KENNETH C MEADOWS                               2756 CLEARWATER SPRINGS DR                                                                      BUFORD          GA    30519‐8022
KENNETH C MILLER                                29162 PERTH                                                                                     LIVONIA         MI    48154‐4561
KENNETH C MORAN                                 3413 LAFAYETTE STREET                                                                           ROSEMEAD        CA    91770‐2458
KENNETH C MOURSUND                              2315 DRYDEN                                                                                     HOUSTON         TX    77030‐1103
KENNETH C NEUSTEL & MRS MARY E NEUSTEL JT TEN   973 GORMAN AVE                                                                                  WEST ST PAUL    MN    55118‐1413

KENNETH C OWENS                                 4016 LINK DRIVE                                                                                 BRIGHTON        MI    48114‐8625
KENNETH C PARKER                                4615 NORTH PARK AVE                    APT 813                                                  CHEVY CHASE     MD    20815‐4514
KENNETH C PAULSON                               7021 FARRAGUT                                                                                   CHICAGO         IL    60656‐1923
KENNETH C PHELPS & MARIE A PHELPS JT TEN        151 CONSTITUTION AVE APT 302                                                                    BROOKLYN        MI    49230‐9392
KENNETH C PHILBROOK                             21‐1755 LOUISE BLVD                    LONDON ON                              N6G 5G4 CANADA
KENNETH C PRASCHAN CUST LINDSAY L PRASCHAN      1100 CLARENDON STREET APT 603                                                                   FAYETTEVILLE    NC    28305
UTMA NC
KENNETH C PROMENCHENKEL                         1415 HUGHES AVE                                                                                 FLINT           MI    48503‐3276
KENNETH C RINKE                                 820 CHARRINGTON WAY                                                                             TIPP CITY       OH    45371‐9341
KENNETH C ROSS                                  2799 W TERRITORIAL RD                                                                           RIVES JCT       MI    49277‐9722
KENNETH C RYAN                                  32320 BOWDEN                                                                                    FRANKLIN        MI    48025‐1105
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 562 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

KENNETH C SADLER                                 625 SW RAND DR                                                                                    BURLESON           TX    76028‐4427
KENNETH C SADLER & JANE M SADLER TR SADLER TRUST 3900 COUNTRY WOODS RD                                                                             COLUMBIA           MO    65203‐9486
UA 11/10/92
KENNETH C SCHLICHTING                            6311 GARESCHE                                                                                     ST LOUIS           MO    63136‐4713
KENNETH C SEAY                                   9331 N WASHINGTON BLVD                                                                            INDIANAPOLIS       IN    46240‐1065
KENNETH C SEELY                                  TAINE MOUNTAIN ROAD                                                                               UNIONVILLE         CT    06085
KENNETH C SHAFFER                                6425 STONEY RIDGE DRIVE                                                                           YOUNGSTOWN         OH    44515‐5581
KENNETH C SIEFKER                                409 SWANTON ST                                                                                    METAMORA           OH    43540‐9759
KENNETH C SMITH                                  1336 E GOULSON AVE                                                                                HAZEL PARK         MI    48030‐1967
KENNETH C SMITH                                  8560 NW 54TH STREET                                                                               SUNRISE            FL    33351‐4839
KENNETH C STEWART                                10 LANCASTER CT                                                                                   AVON               CT    06001‐3957
KENNETH C STOECKER                               47316 MEADOWBROOK                                                                                 MACOMB             MI    48044‐2748
KENNETH C STOOPS JR                              1001 RED BUD LANE                                                                                 EDMOND             OK    73034‐8041
KENNETH C STREETER & MRS DORIS H STREETER JT TEN 105 FOREST DRIVE                                                                                  NEWINGTON          CT    06111‐3119

KENNETH C SWENSON                                  2965 NW FOREST AVE                                                                              BEAVERTON          OR    97006‐5441
KENNETH C UPTON                                    701 WOODVALLE                                                                                   ORTONVILLE         MI    48462‐8509
KENNETH C WIEDBUSCH                                215 MT VERNON BLVD                                                                              ROYAL OAK          MI    48073‐5104
KENNETH C WIEDBUSCH & SUSAN A WIEDBUSCH JT TEN     215 MT VERNON BLVD                                                                              ROYAL OAK          MI    48073‐5104

KENNETH C WILSON                                   2045 WATKINS LAKE RD                                                                            WATERFORD          MI    48328‐1433
KENNETH C WINDEMUTH & MARY A WINDEMUTH JT          15804 MILE LN NW                                                                                MOUNT SAVAGE       MD    21545‐1146
TEN
KENNETH C YOUNGA                                   14658 ANNAPOLIS                                                                                 STERLING HEIGHTS   MI    48313‐3616

KENNETH C ZACK                                     1877 TAPER DRIVE                                                                                UPPER SAINT CLAIR PA     15241‐2659

KENNETH C ZYWICKI                                  134 BERKSHIRE DR                                                                                DECATUR            IN    46733‐2511
KENNETH CAMPBELL                                   9 OLD MILL RD                          ST CATHERINES ON                       L2N 6X1 CANADA
KENNETH CAMPODONICA                                PO BOX 175                                                                                      BALLICO            CA    95303
KENNETH CARSS KAUFMANN                             735 W LEMON AVE                                                                                 MONROVIA           CA    91016‐2507
KENNETH CHARLES DRUM                               1020 IROQUOIS BLVD                                                                              ROYAL OAK          MI    48067‐1109
KENNETH CHARLES SHAW                               755 PERIMETER PARK CI                                                                           SAINT AUGUSTINE    FL    32084‐3981
KENNETH CHARLES SHEPPARD REED                      #54                                    1133 MEADOW LN                                           CONCORD            CA    94520‐3714
KENNETH CHARLES THORNTON                           2242 N NICHOLS ROAD                                                                             FLUSHING           MI    48433‐9768
KENNETH CHARLESABAD                                51 WASHINGTON AVE                                                                               WEST SAYVILLE      NY    11796‐1622
KENNETH CHESTER LEE & CHESTER G K LEE JT TEN       16936 VOSE ST                                                                                   VAN NUYS           CA    91406‐3611
KENNETH CHRISSINGER & ELLEN M CHRISSINGER JT TEN   12 HARROWGATE DR                                                                                CHERRY HILL        NJ    08003‐1913

KENNETH CLINKENBEARD                               7475 DOVE CRUK CIRCLE                                                                           COLORADO SPGS      CO    80911
KENNETH COBLE & SONDRA COBLE JT TEN                4866W 800S                                                                                      SOUTH WHITLEY      IN    46787‐9710
KENNETH COGEN                                      PO BOX 10155                                                                                    KETCHUM            ID    83340‐8155
KENNETH COLEMAN                                    201 MONTICELLO ST                                                                               HAZLEHURST         MS    39083‐3435
KENNETH COLLETT                                    135 LEXINGTON TRAILS                                                                            DRY RIDGE          KY    41035
KENNETH COLON                                      1330 BLACK FOREST DR #8                                                                         WEST CARROLETON    OH    45449‐2338

KENNETH COONS                                      100 SAN BENITO ROAD                                                                             BRISBANE           CA    94005‐1610
KENNETH CSIZMADIA                                  6829 WOODCREST RIDGE                                                                            CLARKSTON          MI    48346
KENNETH CZERWINSKI                                 124 WEST WILLIAMS STREET                                                                        MAUMEE             OH    43537‐2152
KENNETH D ANDERSON                                 35263 MALIBU DR                                                                                 STERLING HEIGHTS   MI    48312‐4047

KENNETH D BAKA                                     1200 WOOD ST                           APT C2                                                   BROCKWAY           PA    15824
KENNETH D BAMBACH                                  83 FAIRVIEW CT                                                                                  GRAND ISLAND       NY    14072‐2949
KENNETH D BARDEN                                   PO BOX 2098                                                                                     ANNA MARIA         FL    34216‐2098
KENNETH D BARKER                                   10 TAFEL COURT                                                                                  FORT MYERS         FL    33912‐2078
KENNETH D BARNES                                   6119 S OVERLOOK TRL                                                                             SPRINGFIELD        MO    65810‐1940
KENNETH D BARRETT                                  5533 EDGEMAR AVE                                                                                ANAHEIM            CA    92807‐3105
KENNETH D BEARD                                    12034 HERRINGTON RD                                                                             BYRON              MI    48418‐9520
KENNETH D BIGGS                                    10272 SEYMOUR RD                                                                                MONTROSE           MI    48457‐9014
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 563 of 855
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

KENNETH D BLAKE                                   182 ANGIE RD                                                                                     RALEIGH          NC     27603‐7337
KENNETH D BROWN                                   62 AVENUE B                                                                                      BAYONNE          NJ     07002‐2007
KENNETH D BUMGARNER JR                            101 WHISPERING PN 64                                                                             PINCONNING       MI     48650‐9778
KENNETH D BUSHEY & MRS SHIRLEY M BUSHEY JT TEN    111 SW 33RD AVE                                                                                  CAPE CORAL       FL     33991‐7627

KENNETH D CARL                                    601 STARKEY RD LOT 261                                                                           LARGO            FL     33771‐2865
KENNETH D CHAMBLESS                               3113 EAST 10TH ST                                                                                ANDERSON         IN     46012‐4508
KENNETH D CHARBONNEAU                             3780 BANGOR RD                                                                                   BAY CITY         MI     48706‐2236
KENNETH D CLARK TR KENNETH D CLARK LIVING TRUST   2000 BRAKEMEYER RD                                                                               OWENSVILLE       MO     65066‐2418
UA 10/10/97
KENNETH D CLASBY                                  366 COLUMBUS AVE                                                                                 BOSTON           MA     02116‐6076
KENNETH D COBB                                    1519 MAGNOLIA DRIVE                                                                              ANDERSON         IN     46011‐3039
KENNETH D COE JR                                  501 WINDAMER COURT                                                                               VALPARALSO       IN     46383‐1429
KENNETH D COGDILL                                 1341 KENNETH ST                                                                                  BURTON           MI     48529‐2215
KENNETH D COLEMAN                                 400 S WESTMINSTER RD                                                                             OKLAHOMA CITY    OK     73130‐5124
KENNETH D CROUSE                                  4197 WEST 20TH ST APRT 406                                                                       CLEVELAND        OH     44109‐3427
KENNETH D CROUSE & JOAN M CROUSE JT TEN           4197 WEST 20TH ST                       APT 406                                                  CLEVELAND        OH     44109‐3427
KENNETH D CURFMAN & KIM K CURFMAN JT TEN          13341 BLOOMFIELD                                                                                 WARREN           MI     48089‐1388
KENNETH D CURRIE JR                               36 CEDAR ROAD                                                                                    SEVERNA PARK     MD     21146‐3716
KENNETH D DAVIDSON                                62799 OAK SHADOW RD                                                                              LAWTON           MI     49065‐9602
KENNETH D DEWEY                                   1880 WHISPERWOOD TRL                                                                             DANVILLE         IN     46122‐9376
KENNETH D DOWNING II & KENNETH D DOWNING JT       934 CHAREST DRIVE                                                                                WATERFORD        MI     48327‐3226
TEN
KENNETH D DUNCAN                                  5730 BELMAR DR                                                                                   DAYTON           OH     45424‐4210
KENNETH D DYER                                    1120 NW 13TH ST                                                                                  OKLAHOMA CITY    OK     73106‐4621
KENNETH D ENBORG                                  4200 SURREY CROSS                                                                                BLOOMFIELD       MI     48301‐1669
KENNETH D ETHRIDGE & SHIRLEY L ETHRIDGE JT TEN    33085 PRESTON DR                                                                                 POTEAU           OK     74953‐9085

KENNETH D FERRIS                                  3509 S RAMONA                                                                                    SANTA ANA          CA   92707‐3955
KENNETH D FISHER                                  532 N MEDWAY CARLISLE RD                                                                         NEW CARLISLE       OH   45344‐9252
KENNETH D FOSTER                                  23225 HUMPHREY ACCESS RD                                                                         PLATTE CITY        MO   64079‐8284
KENNETH D FREELS                                  7103 MORGAN COUNTY HWY                                                                           LANCING            TN   37770‐2924
KENNETH D FRENCH                                  5485 COTTER RD                                                                                   MARLETTE           MI   48453‐9311
KENNETH D GILLESPIE                               5205 ATHERTON BRIDGE RD                                                                          RALEIGH            NC   27613‐5383
KENNETH D GILLET                                  PO BOX 45                                                                                        HERMISTON          OR   97838‐0045
KENNETH D GILLIAM                                 4221 LAURENWOOD DR                                                                               ANTIOCH            TN   37013‐1658
KENNETH D GLICK                                   23166 DOREMUS ST                                                                                 SAINT CLAIR SHORES MI   48080‐2752

KENNETH D GOODWIN                                 1740 CASS BLVD                                                                                   BERKLEY          MI     48072‐3011
KENNETH D GUTHRIE & ANN L GUTHRIE JT TEN          30280 NORTHGATE DR                                                                               SOUTHFIELD       MI     48076‐1027
KENNETH D HARRIS JR                               4551 S CHANDLER RD                                                                               ST JOHNS         MI     48879‐9159
KENNETH D HIGGINS                                 5611 GOLDEN MEADOWS                                                                              BOSSIER CITY     LA     71112‐4807
KENNETH D HILL                                    206 TULIPTREE COURT                                                                              EASLEY           SC     29642‐7600
KENNETH D HOUSER                                  2309 GREENBRIAR LN                                                                               WEST GROVE       PA     19390‐9497
KENNETH D HUBBS                                   1878 N KENWYCK DR                                                                                SUPERIOR TWP     MI     48198‐3295
KENNETH D JENKINS                                 8931 STATE ROUTE 224                                                                             DEERFIELD        OH     44411‐9712
KENNETH D JOHNSON                                 7645 LAKE PARK AVE                                                                               FAIR HAVEN       MI     48023‐2521
KENNETH D JOHNSON                                 5984 CLIFFSIDE DR                                                                                TROY             MI     48085‐3850
KENNETH D KARLS                                   3557 HOLLY LANE                                                                                  SAGINAW          MI     48604‐9557
KENNETH D KUJALA                                  3864 LEROY STEVENS RD                                                                            MOBILE           AL     36619‐4418
KENNETH D LAPONSEY                                7232 MT MORRIS RD                                                                                FLUSHING         MI     48433‐8831
KENNETH D LEVOSKA                                 188 LUDINGTON                                                                                    NEW HUDSON       MI     48165‐9775
KENNETH D LEWIS                                   15 REDBERRY LANE                                                                                 EASTHAM          MA     02642‐2268
KENNETH D MARCINKOWSKI & BARBARA L                886 EAST ALAURA DR                                                                               ALDEN            NY     14004‐9523
MARCINKOWSKI JT TEN
KENNETH D MC BRIDE                                2282 NICHOLS AVE                                                                                 FLINT            MI     48507
KENNETH D MITCHELL                                4 FAIRVIEW ST                                                                                    PORTLAND         ME     04102‐2209
KENNETH D MUSSER JR                               220 LYME COURT                                                                                   ROSWELL          GA     30075‐6380
KENNETH D MYER                                    393 N RIDGEVIEW RD                                                                               ELIZABETHTOWN    PA     17022‐9579
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 564 of 855
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

KENNETH D NIXON                                  109 SACK AVENUE                                                                               PENNS GROVE       NJ    08069‐1617
KENNETH D NORMAN & BARBARA L NORMAN JT TEN       928 PRATT RIDGE CT                                                                            ANN ARBOR         MI    48103‐1402

KENNETH D NOYES                                  3623 STONELEIGH DR                                                                            LANSING           MI    48910‐4819
KENNETH D ONEIL                                  8512 BELLECHASSE DR 104                                                                       DAVISON           MI    48423‐2142
KENNETH D ORTIZ                                  2205 S NICHOLS RD                                                                             LENNON            MI    48449‐9321
KENNETH D PARRETT                                477 FREDERICK ST                                                                              HUNTINGTON        IN    46750‐3208
KENNETH D PAWLEY                                 PO BOX 558                                                                                    ATLANTA           MI    49709‐0558
KENNETH D PERKINS                                1314 RIDGE CT                                                                                 FERN BCH          FL    32034‐4712
KENNETH D PHIFER & YVONNE A PHIFER JT TEN        35950 JOY ROAD                                                                                LIVONIA           MI    48150‐3591
KENNETH D PIERCEALL                              23148 ALGER                                                                                   ST CLAIR SHORES   MI    48080‐2602
KENNETH D POLK                                   5456 MAPLE PARK DR                   #6                                                       FLINT             MI    48507‐3925
KENNETH D RAY                                    PO BOX 2                                                                                      WELLSTON          MI    49689‐0002
KENNETH D RETTER                                 1259 LAS BRISAS LN                                                                            WINTER HAVEN      FL    33881‐9757
KENNETH D ROGERS                                 13230 COMMON RD                                                                               WARREN            MI    48088‐6802
KENNETH D RUSHTON                                425 COOLEY RD                                                                                 LAGRANGE          GA    30241
KENNETH D RUSSELL                                719 WILDWOOD DRIVE                                                                            NACOGDOCHES       TX    75961‐4775
KENNETH D SAMSON & MARY ANN SAMSON JT TEN        3016 LAMPLIGHTER LN                                                                           KOKOMO            IN    46902‐8124

KENNETH D SCHNECKENBURG                          2307 MAXWELLTON DRIVE                                                                         WILMINGTON        DE    19804‐3813
KENNETH D SCHNECKENBURGER & BEATRICE J           2307 MAXWELLTON ROAD                                                                          WILMINGTON        DE    19804‐3813
SCHNECKENBURGER JT TEN
KENNETH D SCOTT                                  2961 JOHNS DR                                                                                 SAGINAW           MI    48603‐3320
KENNETH D SCOTT                                  PO BOX 7                                                                                      BUMPASS           VA    23024‐0007
KENNETH D SHENLUND                               2065 HICKORY LANE                                                                             PRINCETOWN        IL    61356‐8740
KENNETH D SIMS                                   108 S CAHILL RD                                                                               ALBERTVILLE       AL    35950‐1341
KENNETH D SNELL                                  PO BOX 363                                                                                    HAMPDEN           ME    04444‐0363
KENNETH D STAFF & DEAN B STAFF JT TEN            PO BOX 11117                                                                                  BURBANK           CA    91510‐1117
KENNETH D STIRSMAN                               40921 HOLLY DALE                                                                              NOVI              MI    48375‐3519
KENNETH D STRIBLIN                               5784 NORWOOD DR                                                                               BROOKPARK         OH    44142‐1033
KENNETH D SUGDEN JR                              706 LONGBOW ROAD                                                                              WINSTON SALEM     NC    27104
KENNETH D SULLIVAN                               125 GROTTO CT                                                                                 FLORISSANT        MO    63031‐6525
KENNETH D SUMMERS                                5253 BIGTYLER ROAD                                                                            CROSSLANES        WV    25313‐1839
KENNETH D SWAIN                                  148 MYSTIC VALLEY PARKWAY                                                                     ARLINGTON         MA    02474‐3405
KENNETH D TAULBEE                                2348 SNOW CREEK RD                                                                            CLAY CITY         KY    40312
KENNETH D TAYLOR                                 1280 BOICHOT RD                                                                               LANSING           MI    48906‐5912
KENNETH D TOLAR                                  3401 COIT NE                                                                                  GRAND RAPIDS      MI    49525‐2665
KENNETH D TURVY                                  625 WILSON DR                                                                                 XENIA             OH    45385‐1815
KENNETH D WALKER                                 2813 W 3RD STREET                                                                             WILMINGTON        DE    19805‐1812
KENNETH D WARE                                   1595 NEWMARK                                                                                  NORTH BEND        OR    97459‐1211
KENNETH D WARK                                   138 APRIL LANE                                                                                CORNERSVILLE      TN    37047‐4310
KENNETH D WILLIAMSON                             424 BELLEVIEW AVE                                                                             ST LOUIS          MO    63119‐3621
KENNETH D WILSON                                 2600 DARIEN DR                                                                                LANSING           MI    48912‐4538
KENNETH D WITHAM & MRS ANITA C WITHAM JT TEN     18 BRADY CT                                                                                   LAFAYETTE         IN    47905‐3801

KENNETH DALE GILLARD                             945 WHIPPOORWILL DR                                                                           PORT ORANGE       FL    32127‐5974
KENNETH DALTON                                   2103 SOUTHWOOD DR                                                                             BEDFORD HEIGHTS   IN    47421‐3969

KENNETH DANIEL & DENISE LYNN SEEVERS JT TEN      2128 CAROLINA LN                                                                              LEXINGTON         KY    40513‐1834
KENNETH DAVID PETERS                             2324 COUNTY RD 317                                                                            MOULTON           AL    35650‐8121
KENNETH DAVID TRUDEL & CAROL ANN TRUDEL JT TEN   9 FRANCONIA DR                                                                                HARRISVILLE       RI    02830‐1851

KENNETH DAVIS                                    C/O SHIRLEY ANNE DAVIS               PO BOX 1145                                              ELKHART           KS    67950‐1145
KENNETH DE BOIS                                  5997 S CROTON HARDY DR                                                                        NEWAYGO           MI    49337‐8792
KENNETH DEAN ACKER                               910 MAIN ST                                                                                   KINGSTON          NY    12401‐7325
KENNETH DEMMA                                    1 DEARBORN ST                                                                                 WELLESLEY HILLS   MA    02481‐5604
KENNETH DILLON                                   365 COLLEGE ST SW                                                                             PELHAM            GA    31779‐1812
KENNETH DIXON                                    4435 FAIRWAY DR                                                                               FORT GRATIOT      MI    48059‐3913
KENNETH DOANE                                    4415 GOODMAN LN                                                                               LAS VEGAS         NV    89115
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 565 of 855
Name                                            Address1                                Address2             Address3          Address4          City              State Zip

KENNETH DOBULER                                 55 SUNSET HILL DR                                                                                BRANFORD          CT    06405‐6418
KENNETH DON MANNING ADMINISTRATOR OF THE        BOX 608                                                                                          JENKINS           KY    41537‐0608
ESTATE OF ETHEL M MANNING
KENNETH DONALD KEATHLEY                         PO BOX 103                                                                                       PATTERSON         MO    63956‐0103
KENNETH DONAVAN HEATHCOCK                       1764 FERNS ROAD                                                                                  LAPEER            MI    48446‐9029
KENNETH DUNSON                                  1850 KIPLING DRIVE                                                                               DAYTON            OH    45406‐3916
KENNETH DUPRE                                   106 TOWN HOME DRIVE                                                                              EUNICE            LA    70535‐6613
KENNETH E ABNEY                                 391 WILSON RIDGE RD                                                                              SCIENCE HILL      KY    42553‐8930
KENNETH E AKERS                                 653 WESTVILLE LAKE RD                                                                            BELOIT            OH    44609‐9409
KENNETH E ALCORN                                4820 FAIRVIEW AVE                                                                                BLUE ASH          OH    45242‐6200
KENNETH E ALDEN                                 14 COX ST                                                                                        HUDSON            MA    01749‐1412
KENNETH E ANDERSEN & MRS MARY K ANDERSEN JT     2002 GALEN DR                                                                                    CHAMPAIGN         IL    61821‐6010
TEN
KENNETH E BARTH                                 815 SAUTTER DR                                                                                   MANSFIELD         OH    44904‐1789
KENNETH E BATTLE                                1936 CENTRAL AVE                                                                                 INDIANAPOLIS      IN    46202‐1611
KENNETH E BECK                                  1726 NEBRASKA AVE                                                                                FLINT             MI    48506‐4318
KENNETH E BECKER                                310 WALNUT FOREST                                                                                O FALLON          MO    63366‐4126
KENNETH E BEMENT TR KENNETH E BEMENT TRUST UA   1001 SPRINGWOOD DR                                                                               NORTH SALT LAKE   UT    84054‐3059
11/05/96
KENNETH E BENNETT CUST KIRK E BENNETT UGMA CA   12536 SPRING CREEK ROAD                                                                          MOORPARK          CA    93021‐2752

KENNETH E BINNS & JESSIE F BINNS JT TEN         6874 ALTER DR                                                                                    DAYTON            OH    45424‐3412
KENNETH E BLACK                                 453 HIGHWAY 25732                                                                                WHITE PINE        TN    37890‐4609
KENNETH E BLAIR & DOROTHY M BLAIR JT TEN        7529 GANN RD                                                                                     HIXSON            TN    37343‐4338
KENNETH E BOHM                                  RR2                                                                                              LA MOILLE         IL    61330‐9802
KENNETH E BRABO                                 4711 TREASURE TRAIL                                                                              WYOMING           MI    49509‐4818
KENNETH E BRAZZEL                               PO BOX 187                                                                                       COAHOMA           MS    38617‐0187
KENNETH E BREMER                                84 GINA MEADOWS                                                                                  EAST AMHERST      NY    14051‐1852
KENNETH E BROMAN                                16208 S E 251ST STREET                                                                           KENT              WA    98042‐4152
KENNETH E BROOME                                1006 COOK RD                                                                                     BARTON            VT    05822‐9716
KENNETH E BROWN & ANGELA K BROWN JT TEN         30 BROWN PL                                                                                      WOODLAND PARK     CO    80863‐8801

KENNETH E BURTON                                10590 WILSHIRE BLVD APT 1502                                                                     LOS ANGELES       CA    90024‐4563
KENNETH E CAJIGAS                               1050 POQUONOCK AVE                                                                               WINDSOR           CT    06095‐1860
KENNETH E CALLAHAN                              1607 CANTERBURY                                                                                  NORMAN            OK    73069‐7497
KENNETH E CALLAWAY                              414 WYNNEWOOD DR                                                                                 SHREVEPORT        LA    71106‐6912
KENNETH E CARTWRIGHT                            2395 DOUBLE BRANCH ROAD                                                                          COLUMBIA          TN    38401‐6165
KENNETH E CHITWOOD                              5216 BUCKNER DRIVE                                                                               HUBER HEIGHTS     OH    45424‐6133
KENNETH E CHRISTIANSON                          3034 N COUNTY ROAD F                                                                             BIRCHWOOD         WI    54817‐3043
KENNETH E CLAY                                  6254 JACQ COURT                                                                                  HIXSON            TN    37343
KENNETH E COOK                                  7491 MAPLE RD                                                                                    FRANKENMUTH       MI    48734‐9547
KENNETH E CRAMER JR & MARY E CRAMER JT TEN      217 FAIRWAY DR                                                                                   LOUISA            VA    23093‐6522
KENNETH E CRITES                                06029 BRININGER RD                                                                               HICKSVILLE        OH    43526‐9315
KENNETH E CULLEN TOD CHAD M CULLEN SUBJECT TO   PO BOX 4085                                                                                      MARIETTA          OH    45750
STA TOD RULES
KENNETH E CUNDIFF                               8662 GLEN HOLLOW DR                                                                              FORT WORTH        TX    76179‐2842
KENNETH E CURTIN                                37811 CHANCEY RD                        LOT 142                                                  ZEPHYRHILLS       FL    33541‐6842
KENNETH E DARST                                 6868 HOME ROAD                                                                                   DELAWARE          OH    43015‐7919
KENNETH E DAVIS & SHAWN R DAVIS JT TEN          5287 N GALE RD                                                                                   DAVISON           MI    48423‐8956
KENNETH E DEIS                                  136 ALBRIGHT DR                                                                                  LOVELAND          OH    45140‐2608
KENNETH E DEIS CUST EVAN PATRICK DEIS UTMA OH   136 ALBRIGHT DR                                                                                  LOVELAND          OH    45140‐2608

KENNETH E DEIS CUST PHILLIP ADAM DEIS UTMA OH   13520 MALLARD WATCH WAY                                                                          CLIFTON           VA    20124

KENNETH E DENNARD                               PO BOX 484                                                                                       BUFFALO           NY    14240‐0484
KENNETH E DENT                                  1620 HEDG CT                                                                                     NAPERVILLE        IL    60565‐2782
KENNETH E DICKINSON                             1044 CLUBHOUSE DRIVE                                                                             LAKE ISABELLA     MI    48893‐9339
KENNETH E DUBOIS SR                             PO BOX 326                                                                                       GLADWIN           MI    48624‐0326
KENNETH E DUFFIE                                6545 BLACK OAKS ST                                                                               N LAS VEGAS       NV    89084‐2045
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 566 of 855
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

KENNETH E EAGLEN                                100 SHORELINE DR                                                                              LAKE PLACID      FL    33852‐5022
KENNETH E EDEN                                  5510 LUM RD                                                                                   ATTICA           MI    48412‐9384
KENNETH E ELLIOTT                               106 COUNTY ROAD 243                                                                           ATHENS           TN    37303‐1672
KENNETH E EVERINGHAM                            36 WAKEFIELD DR                                                                               NEWARK           DE    19711‐7012
KENNETH E FEE                                   145 BRENTWOOD DR N                                                                            LAKE PLACID      FL    33852‐8152
KENNETH E FERRIS                                6545 PECKINS RD                                                                               LYONS            MI    48851‐9706
KENNETH E FITZPATRICK                           9081 RANCHVIEW CT                                                                             ELK GROVE        CA    95624‐9621
KENNETH E FORSBERG & MRS JOAN D FORSBERG JT TEN 8559 PRESTWICK DR                                                                             LA JOLLA         CA    92037‐2025

KENNETH E FRANK                                 2157 PARKER BLVD                                                                              TONAWANDA        NY    14150‐7211
KENNETH E GETSCHOW II                           22 QUINDOME DRIVE                                                                             NEW CASTLE       DE    19720‐5164
KENNETH E GEWENIGER                             49 PINE VIEW DR                                                                               LAPEER           MI    48446‐9318
KENNETH E GLEN & KENNETH MICHAEL GLEN TR UW     PO BOX 498                                                                                    CARNEGIE         PA    15106‐0498
KATHLEEN GLEN
KENNETH E GOFF                                  1371 COVE LA                                                                                  ST LOUIS        MO     63138‐2407
KENNETH E GRAY                                  2095 N BRIGGS RD                                                                              TWINING         MI     48766‐9771
KENNETH E GRAY & GEORGIA L GRAY JT TEN          2095 N BRIGGS RD                                                                              TWINING         MI     48766‐9771
KENNETH E GREEN                                 209 MANTLEBROOK DRIVE                                                                         DE SOTO         TX     75115‐3024
KENNETH E GROSS                                 17241 ELLSWORTH RD                                                                            LAKE MILTON     OH     44429‐9564
KENNETH E GUFFEY JR                             615 S HART                                                                                    SHAWNEE         OK     74801‐8219
KENNETH E GUSTIN CUST PAUL B GUSTIN UGMA NJ     281 FRANKLIN RD                                                                               NORTH BRUNSWICK NJ     08902‐3208

KENNETH E HAGERMAN                              656 NE 251                                                                                    WARRENSBURG      MO    64093‐8261
KENNETH E HENIGE                                4263 DITCH RD                                                                                 NEW LOTHROP      MI    48460‐9628
KENNETH E HIIGEL & BUNNIE E HIIGEL JT TEN       1286 KIMBERLEY CT NE                                                                          SALEM            OR    97303‐3635
KENNETH E HITTS                                 3811 PARKWAY COURT                                                                            FLINT            MI    48503‐4558
KENNETH E HOLLAND                               23808 CABBAGE RIDGE RD                                                                        ELKMONT          AL    35620‐7603
KENNETH E HOLLAND                               538 LANKAMP N W                                                                               GRAND RAPIDS     MI    49544‐1941
KENNETH E HOLLOWAY                              1936 UPPER IRONBRIDGE RD                                                                      OAKLAND          KY    42159‐9784
KENNETH E HOOTS                                 1792 SAMANTHA LANE                                                                            BOURBONNAIS      IL    60914
KENNETH E HOUSTON                               832 IRVING PARK                                                                               SHEFFIELD LK     OH    44054‐1628
KENNETH E HUNDZINSKI                            8740 TUSCANY #203                                                                             PLAYA DEL RAY    CA    90293‐8655
KENNETH E JEDLINSKI                             34 WHITFIELD COURT                                                                            BRASELTON        GA    30517‐5002
KENNETH E JENNINGS                              1219 JOYCE LN                                                                                 ANN ARBOR        MI    48103‐8870
KENNETH E JONES                                 8620 WESTFIELD RD                                                                             SEVILLE          OH    44273‐9553
KENNETH E KARPINEN                              PO BOX 4537                                                                                   TROY             MI    48099‐4537
KENNETH E KARPINEN & RUTH S KARPINEN JT TEN     PO BOX 4537                                                                                   TROY             MI    48099‐4537
KENNETH E KEMP                                  5605 TRACY                                                                                    KANSAS CITY      MO    64110‐2839
KENNETH E KIEBLER                               308 SAINT MARY'S RD                                                                           PYLESVILLE       MD    21132‐1316
KENNETH E KING                                  7730 N CO RD 600 W                                                                            MIDDLETOWN       IN    47356‐9405
KENNETH E KLAMMER                               3979 MAPLE RT 1                                                                               FRANKENMUTH      MI    48734‐9719
KENNETH E KRAMAR                                2740 ARMSTRONG DR                                                                             LAKE ORION       MI    48360‐1704
KENNETH E KRAVIS EX EST MARJORIE E KRAVIS       48 SUNSET DRIVE                                                                               HARTFORD CITY    IN    47348
KENNETH E KROEGER                               12912 KINSGATE                                                                                GRAND LEDGE      MI    48837‐8988
KENNETH E KUKRAL                                7456 OVAL DR                                                                                  INDEPENDENCE     OH    44131‐6315
KENNETH E KUSCH                                 25324 CUBBERNESS                                                                              ST CLAIR SHS     MI    48081‐2187
KENNETH E LAWYER & BERTHA F LAWYER JT TEN       4 ECHO DR                                                                                     SCHENECTADY      NY    12306‐1804
KENNETH E LEHR                                  6505 BEECH GROVE RD                                                                           MARTINSVILLE     IN    46151‐7294
KENNETH E LEWIS                                 5109 29TH ST W                                                                                BRADENTON        FL    34207‐2212
KENNETH E LUCY                                  26704 HUDSON LN                                                                               FLAT ROCK        MI    48134‐1099
KENNETH E LUTZ II                               3950 SHEFFIELD RD                                                                             HICKORY CORNER   MI    49060‐9762
KENNETH E MACEK                                 7773 E PARKSIDE DRIVE                                                                         YOUNGSTOWN       OH    44512‐5311
KENNETH E MARSH                                 904 TOM OSBORNE RD                                                                            COLUMBIA         TN    38401‐6737
KENNETH E MATHIAS                               2155 ELMWOOD STREET                                                                           BERTHOUD         CO    80513‐7007
KENNETH E MC COY                                2174 NEW HENDERSONVILLE HIGHWAY                                                               PISGAH FOREST    NC    28768‐8600
KENNETH E MCELYEA                               240 N COUNTY RD 450 E                                                                         AVON             IN    46123‐9378
KENNETH E MCPEEK                                30408 HOY                                                                                     LIVONIA          MI    48154‐3614
KENNETH E MERCER                                2798 W MERCER DRIVE                                                                           PENDLETON        IN    46064‐9313
KENNETH E MILLER                                6416 FARMERSVILLE GERMANTOWN         PIKE                                                     GERMANTOWN       OH    45327‐8568
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 567 of 855
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

KENNETH E MILLER & LAURA M MILLER JT TEN          3094 S BLACKMOUNTAIN DR                                                                        INVERNESS       FL    34450‐7546
KENNETH E MONROE                                  4572 FLEMING                                                                                   FOWLERVILLE     MI    48836‐9555
KENNETH E MOONEY                                  7239 WILLIAM ST                                                                                TAYLOR          MI    48180‐2527
KENNETH E MOORE                                   3310 GLEN HELEN RD                                                                             DAYTON          OH    45406‐1120
KENNETH E MOSS                                    10420 POTTER RD                                                                                DAVISON         MI    48423‐8164
KENNETH E NOONON                                  951 KRUST DRIVE                                                                                OWOSSO          MI    48867‐1919
KENNETH E PETERSON                                1342 RAINBOW DR                                                                                SAN MATEO       CA    94402‐3635
KENNETH E PETRIE                                  32 S MAIN ST                                                                                   PENNINGTON      NJ    08534‐2817
KENNETH E PLATT                                   808 53RD AVE EAST #20                                                                          BRADENTON       FL    34203‐5847
KENNETH E POTTER                                  3305 ROBINSON RD                                                                               MANSFIELD       OH    44903‐9180
KENNETH E PUNG                                    4325 WATERS EDGE                                                                               MT PLEASANT     MI    48858
KENNETH E RAJANEN CUST EUGENE W RAJANE UGMA       3906 HAINES RD                                                                                 DULUTH          MN    55811‐1743
MN
KENNETH E RICHARDSON                              10713 BARNWOOD LANE                                                                            POTOMAC         MD    20854‐1327
KENNETH E RICHTER & MRS ARLINE RICHTER JT TEN     354 TERRACE AVENUE                                                                             GARDEN CITY     NY    11530‐5426

KENNETH E RING                                    277 KING ST                                                                                    KEARNEYSVILLE   WV    25430‐5615
KENNETH E RUTAN                                   215 SOUTH H ST TILTON                                                                          DANVILLE        IL    61832
KENNETH E SANDS                                   8079 GALE RD                                                                                   OTISVILLE       MI    48463‐9412
KENNETH E SCOTT                                   2941 N 123RD ST                                                                                KANSAS CITY     KS    66109‐3318
KENNETH E SHARPS & HOPE M SHARPS JT TEN           Y8 WINDMILL MANOR                     5320 53RD AVE E                                          BRADENTON       FL    34203‐5642
KENNETH E SHEFFER                                 5479 PINEWAY AVENUE                                                                            SWARTZ CREEK    MI    48473‐9406
KENNETH E SHORT                                   701 STELLA MAE DR                                                                              BURLESON        TX    76028‐6814
KENNETH E SHOUP                                   2906 CONGRESS DR                                                                               KOKOMO          IN    46902‐8026
KENNETH E SIMMS                                   221 S WALNUT ST                       APT 105                                                  RISING SUN      IN    47040‐1161
KENNETH E SKELTON                                 1005 MARY AVE                                                                                  WINTHROP HBR    IL    60096
KENNETH E SMALLEY                                 29564 DOVER ST                                                                                 GARDEN CITY     MI    48135
KENNETH E SMITH                                   79‐22 270TH ST                                                                                 NEW HYDE PARK   NY    11040‐1530
KENNETH E SMITH                                   5306 HAVERHILL                                                                                 DETROIT         MI    48224‐3243
KENNETH E SMITH                                   2117 ACADEMY DRIVE NE                                                                          GRAND RAPIDS    MI    49503‐3901
KENNETH E SMITH                                   1703 WATERSIDE DRIVE                                                                           ANN ARBOR       MI    48108‐8578
KENNETH E SMOKER                                  5201 W COUNTY RD 800 N                                                                         GASTON          IN    47342‐9595
KENNETH E SNELLING                                2670 N BEND DR                                                                                 COLUMBIAVILLE   MI    48421‐8976
KENNETH E SOMERVILLE & PATRICIA A SOMERVILLE JT   15029 ARATHORN DR                                                                              STERLING HTS    MI    48313‐5701
TEN
KENNETH E STANTON & JANE T STANTON JT TEN         545 S KENNEDY                                                                                  METTER          GA    30439‐2025
KENNETH E STOUGH                                  11612 PIERVIEW RD                                                                              DADE CITY       FL    33525‐8400
KENNETH E STRICKLAND                              1318 RIDDLE DR                                                                                 WESTVILLE       FL    32464
KENNETH E STRINGER                                7092 HILL STATION RD                                                                           GOSHEN          OH    45122‐9728
KENNETH E SUMMIT EX UW HELEN G MALSEED            260 LEMOYNE AVE                                                                                PITTSBURGH      PA    15228‐2262
KENNETH E SWANSON & LINDA B SWANSON JT TEN        81 WASHINGTON ST                                                                               BREWER          ME    04412‐1853

KENNETH E SWEPSTON JR                             3365 HUNT CLUB ROAD NO                                                                         WESTERVILLE     OH    43081‐3942
KENNETH E SYKES                                   3833 BUCHANAN                                                                                  DETROIT         MI    48208‐2303
KENNETH E TEASLEY                                 1869 N 41ST TERR                                                                               KANSAS CITY     KS    66102‐1872
KENNETH E THERIAC                                 16 OSAGE TR                                                                                    NAPLES          FL    34113‐7971
KENNETH E THOMAS                                  7221 KIRKVIEW DRIVE                                                                            DAYTON          OH    45424‐2517
KENNETH E THOMPSON                                102 W YALE AVE                                                                                 PONTIAC         MI    48341
KENNETH E THORBURN                                2403 S WASHBURN RD                                                                             DAVISON         MI    48423‐8013
KENNETH E TIEMANN                                 4103 FARHILLS DR                                                                               AUSTIN          TX    78731‐2811
KENNETH E TIMMONS                                 3770 CUNARD DR                                                                                 TALLAHASSEE     FL    32311‐3629
KENNETH E TROUT                                   BX 521                                                                                         WARREN          IN    46792‐0521
KENNETH E TURNER                                  3665 OAKVIEW                                                                                   WATERFORD       MI    48329‐1844
KENNETH E VAN EPS                                 151 CLAYTON ST                                                                                 ROCHESTER       NY    14612‐4805
KENNETH E VEST                                    1406 W HIGGINS LAKE DRIVE                                                                      ROSCOMMON       MI    48653‐8155
KENNETH E VOORHIES                                8742 WARWICK ROAD S E                                                                          WARREN          OH    44484‐3061
KENNETH E WALL                                    503 13TH AVE E                        APT 302                                                  SEATTLE         WA    98102‐5157
KENNETH E WANDEL                                  6383 GRANGERS DAIRY DR                                                                         SACRAMENTO      CA    95831‐1039
KENNETH E WARDWELL                                3526 BRKPT SPNCRPT                                                                             SPENCERPORT     NY    14559
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 568 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

KENNETH E WATSON                                 2716 WILLOW OAKS DR                                                                             VALRICO         FL    33594‐4235
KENNETH E WEDLAKE                                841 COHOCTON RD                                                                                 CORFU           NY    14036‐9707
KENNETH E WEISS                                  4961 QUEENSBURY RD                                                                              HUBER HEIGHTS   OH    45424‐3746
KENNETH E WESTPHAL                               2523 VALLEY VIEW                                                                                WYOMING         MI    49509‐4507
KENNETH E WHISNANT                               3720 HUGGINS AVE                                                                                FLINT           MI    48506‐5003
KENNETH E WHISNANT CUST ERIC KENNETH WHISNANT    3720 HUGGINS AVE                                                                                FLINT           MI    48506‐5003
UGMA
KENNETH E WILLIAMS CUST SYDNEY V WILLIAMS UTMA   1110 DEER HAVEN                                                                                 POLK CITY       IA    50226
IA
KENNETH E WILLIAMS JR                            11054 DODGE RD                                                                                  MONTROSE        MI    48457‐9120
KENNETH E WILLIAMSON                             19 CORNWALL RD                                                                                  NEW CASTLE      DE    19720‐2375
KENNETH E WRIGHT                                 3371 HIGHWAY 46 S                                                                               BON AQUA        TN    37025‐5073
KENNETH E WRIGHT                                 4383 NORTHINGTON                                                                                ADRIAN          MI    49221‐9318
KENNETH E YEAKLEY                                5400E 925N                                                                                      LOGANSPORT      IN    46947‐9371
KENNETH E YOUNG                                  583 NORTH CLINTON TRAIL                                                                         CHARLOTTE       MI    48813‐8768
KENNETH E ZUHLKE                                 179 N MEADOWBROOK ROAD                                                                          SPRINGFIELD     IL    62707‐9223
KENNETH EARL LONG                                2307 ARLINGTON                                                                                  FLINT           MI    48506‐3484
KENNETH EDWARD HALL                              5179 HICKORY POINTE BLVD                                                                        YPSILANTI       MI    48197‐6812
KENNETH EMANUEL SOLOMON                          4322 CLEVEMONT RD                                                                               ELLENWOOD       GA    30294‐1329
KENNETH EMERY DAVID                              7783 BROWN SCHOOL RD                                                                            BROWN CITY      MI    48416
KENNETH ERNEST RUSHTON                           4674 W 180 S                                                                                    RUSSIAVILLE     IN    46979‐9443
KENNETH EUGENE HIATT                             4182 W 900 S                                                                                    PENDLETON       IN    46064‐9540
KENNETH EUGENE MILLER                            1572 MADISON 244                                                                                FREDERICKTOWN   MO    63645‐7228
KENNETH EUGENE PYLE TR KENNETH EUGENE PYLE       6977 S RIVER ROAD                                                                               MARINE CITY     MI    48039‐2259
REVOCABLE TRUST UA 12/14/95
KENNETH EUGENE TEREAU                            5465 SWAFFER RD                                                                                 MILLINGTON      MI    48746‐9595
KENNETH EVERETT TISON & DEBORAH LYNN TISON JT    9453 FAIR OAKS DRIAVE                                                                           GOODRICH        MI    48438
TEN
KENNETH F ALLAN                                  1718 E HAMILTON AVE                                                                             FLINT           MI    48506‐4402
KENNETH F ALT                                    1351 TERMAN ROAD                                                                                MANSFIELD       OH    44907‐3033
KENNETH F ALT & BARBARA K ALT JT TEN             1351 TERMAN ROAD                                                                                MANSFIELD       OH    44907‐3033
KENNETH F BERGER                                 C/O MICHAEL QUINN                      N2720 HWY E                                              PALMYRA         WI    53156‐9728
KENNETH F BOCK                                   308 SO WOODS CHAPEL RD                                                                          BLUE SPRINGS    MO    64015‐3326
KENNETH F BOOTH                                  4233 THOMPSON DR                                                                                DAYTON          OH    45416‐2220
KENNETH F BOWERS                                 PO BOX 28                                                                                       SIDNAW          MI    49961‐0028
KENNETH F BOYLEN                                 1747 NW 19TH TERR                                                                               CAPE CORAL      FL    33993‐4915
KENNETH F BRENNAN & BARBARA M BRENNAN JT TEN     17 MOHAWK DR                                                                                    ABERDEEN        NJ    07747‐1118

KENNETH F CHAPPEL JR UA 06/05/2007 KENNETH F     32839 HAFF CRT                                                                                  WARREN          MI    48093
CHAPPEL JR TRUST
KENNETH F COLOMBE                                2271 MT ROYAL                                                                                   WATERFORD       MI    48328
KENNETH F DEAN                                   PO BOX 113                                                                                      BALL GROUND     GA    30107‐0113
KENNETH F DROUSE                                 3831 N TWO MILE RD                                                                              PINCONNING      MI    48650‐9730
KENNETH F ELLIS                                  1849 MAVIE DR                                                                                   DAYTON          OH    45414‐2103
KENNETH F EURICH & ALICE M EURICH JT TEN         3876 VANGUARD DR                                                                                SAGINAW         MI    48604‐1823
KENNETH F FRIGENTI & MITZIE FRIGENTI JT TEN      5549 SE FOREST GLADE TRAIL                                                                      HOBE SOUND      FL    33455
KENNETH F GALLAGHER                              410 FIRESTONE AVE                                                                               COLUMBIANA      OH    44408‐1029
KENNETH F GOWMAN                                 49277 ASHLEY CT                                                                                 SHELBY TWP      MI    48315‐3907
KENNETH F HARPER                                 12551 S NEW LOTHRUP                                                                             BYRON           MI    48418‐9783
KENNETH F HOLLIS                                 301 BLUE HERRON COURT                                                                           MIDDLETOWN      DE    19709
KENNETH F KAMINSKI                               350 WEST 24TH ST                                                                                NEW YORK        NY    10011‐2246
KENNETH F KANE                                   4943 STRATFORD PINE LN                                                                          DUBLIN          OH    43016‐9456
KENNETH F KASZUBOWSKI                            31570 PRESCOTT                                                                                  ROMULUS         MI    48174‐9705
KENNETH F KONESNY & KATHLEEN A KONESNY JT TEN    7382 E MT MORRIS ROAD                                                                           OTISVILLE       MI    48463‐9468

KENNETH F KOURIL                                 15 OSAGE DRIVE EAST                                                                             OSSINING         NY   10562‐3827
KENNETH F KUZENSKI & SALLY T KUZENSKI JT TEN     54 BRIAN CIR                                                                                    SANTA ROSA BEACH FL   32459

KENNETH F LOWRIE                                 10115 MCENRUE ROAD                                                                              SWARTZ CREEK    MI    48473‐8573
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 569 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

KENNETH F MC KENNA                               461 SYLVAN KNOLL RD                                                                             STAMFORD         CT    06902‐5353
KENNETH F MC WILLIAMS                            760 ANN MARIE CT                                                                                OXFORD           MI    48371‐1445
KENNETH F MEADE JR                               6666 CLARK RD                                                                                   NASHVILLE        MI    49073‐9508
KENNETH F MICHAELS                               1614 6TH ST                                                                                     WYANDOTTE        MI    48192‐3720
KENNETH F MICHEL                                 2640 SPYGLASS DR                                                                                OAKLAND TWNSP    MI    48363‐2464
KENNETH F NOTTLE                                 2500 1ST AVE                                                                                    CORONA DEL MAR   CA    92625‐2850

KENNETH F PACKER CUST DAVID A PACKER UGMA IL     PO BOX 490                                                                                      YORKVILLE        IL    60560‐0490

KENNETH F RICHTER                                73450 COUNTRY CLUB DR                  #94                                                      PALM DESERT      CA    92260‐8603
KENNETH F ROBINSON                               3080 GADSDEN ST                                                                                 ALPHARETTA       GA    30022‐1592
KENNETH F ROBINSON & MARILYN K ROBINSON JT TEN   3080 GADSDEN ST                                                                                 ALPHARETTA       GA    30022‐1592

KENNETH F RODEN                                  14 JAMES DR                                                                                     PUTNAM VALLEY    NY    10579‐1923
KENNETH F SAUER                                  19940 ECHO DR                                                                                   STRONGSVILLE     OH    44149‐6010
KENNETH F SEDLOW                                 4437 SHELDON LN                                                                                 FLINT            MI    48507‐3556
KENNETH F SEIBOLD                                2207 1ST ST                                                                                     GRAND ISLAND     NY    14072‐1517
KENNETH F SELLERS & JANET M SELLERS JT TEN       29202 GRIX                                                                                      NEW BOSTON       MI    48164‐9495
KENNETH F SKERO                                  233 S CANAL ST                                                                                  NEWTON FALLS     OH    44444‐1609
KENNETH F STROHM                                 1219 LOHR RD                                                                                    GALION           OH    44833‐9533
KENNETH F WAITE                                  20 PLEASANT ST                                                                                  MASSENA          NY    13662‐1302
KENNETH F WHEELER                                619 BYRON RD APT 7                                                                              HOWELL           MI    48843‐1018
KENNETH F WILLING                                3841 WEST BASS CREEK                                                                            BELOIT           WI    53511‐9022
KENNETH F WUERTLEY                               1544 CHASE BLVD                                                                                 GREENWOOD        IN    46142‐1559
KENNETH FARLEY                                   242 ROBINSON DR                                                                                 LYNCHBURG        VA    24502‐5651
KENNETH FARRIS TR DEANE FARRIS UA 05/23/92 ADAM 828 PARKWEST DR                                                                                  SAGINAW          TX    76179‐3416
FARRIS
KENNETH FARRIS TR DEANE FARRIS UA 05/23/92 KELLI 828 PARKWEST DR                                                                                 SAGINAW          TX    76179‐3416
FARRIS
KENNETH FEIERABEND                               11756 RIM ROCK TRAIL                                                                            AUSTIN           TX    78737‐2825
KENNETH FLEETWOOD                                550 W 125TH APT 4B                                                                              NEW YORK         NY    10027‐3404
KENNETH FORD                                     PO BOX 41                                                                                       HELTONVILLE      IN    47436‐0041
KENNETH FRANKLIN                                 51 MINNEAR                                                                                      COOKEVILLE       TN    38501‐3910
KENNETH FREDERICK PORTER                         6284 GEER LN                                                                                    MOSES LAKE       WA    98837
KENNETH FREDRYK                                  4521 RIDGE CANYON DR                                                                            SCHERTZ          TX    78154‐3052
KENNETH FRIEDMAN                                 1109 E HARDSCRABBLE DR                                                                          HILLSBOROUGH     NC    27278‐9679
KENNETH FUNG                                     3300 SOUTHGATE DRIVE                                                                            FLINT            MI    48507‐3219
KENNETH G ABBOTT & ALICE N ABBOTT JT TEN         4535 KLAM RD                                                                                    COLUMBIAVILLE    MI    48421‐9337
KENNETH G ALBER                                  1320 N BUNN RD                                                                                  HILLSDALE        MI    49242‐8335
KENNETH G BAKER                                  2687 TUSCARORA TRAIL                                                                            MAITLAND         FL    32751‐5142
KENNETH G BAKOS                                  4274 VAN SLYKE                                                                                  FLINT            MI    48507
KENNETH G BARNES                                 1355 SALEM RD                                                                                   MINERAL BLUFF    GA    30559‐2788
KENNETH G BIGGS                                  10277 N SEYMOUR RD                                                                              MONTROSE         MI    48457‐9014
KENNETH G BLANCHARD & MARIE A BLANCHARD JT TEN 34 CARLTON AVE                                                                                    JERSEY CITY      NJ    07307‐3808

KENNETH G BOLL & IDA M BOLL JT TEN               74 NOYES NECK ROAD                                                                              WEEKAPAUG        RI    02891‐5437
KENNETH G BROWN                                  6605 4 BRIGHAM SQ                                                                               CENTERVILLE      OH    45459
KENNETH G BROWN                                  7499 WILLOW CREEK DRIVE                                                                         CANTON           MI    48187‐2425
KENNETH G CARLETON                               R1                                                                                              OLIVET           MI    49076‐9801
KENNETH G DENNETT                                694 PRINCESS DR                                                                                 CANTON           MI    48188‐1144
KENNETH G DENNETT & JANET D DENNETT JT TEN       694 PRINCESS DR                                                                                 CANTON           MI    48188‐1144
KENNETH G DREW                                   520 MILAN AVE                          #152                                                     NORWALK          OH    44857‐8753
KENNETH G EBENHOCH                               S93W31160 HIGHWAY NN                                                                            MUKWONAGO        WI    53149‐9286
KENNETH G EDER                                   1502 MELTON RD                                                                                  LUTHERVILLE      MD    21093‐5816
KENNETH G FARREN                                 8885 MILFORD ROAD                                                                               HOLLY            MI    48442‐8543
KENNETH G FIGEL                                  1420 3RD ST                                                                                     ADRIAN           MI    49221‐1037
KENNETH G FOSTER & CAROLYN A FOSTER JT TEN       722 BUBBLING SPRINGS CT                                                                         WENTZVILLE       MO    63385‐3439
KENNETH G GENTHER                                3017 NEWELL                                                                                     BURNIPS          MI    49314
KENNETH G GROVER                                 3332 POTTS RD                                                                                   FOWLERVILLE      MI    48836‐9216
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 570 of 855
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

KENNETH G HART                                   8137 NEW LOTHROP RD                                                                             NEW LOTHROP      MI    48460‐9701
KENNETH G HISSONG II                             2367 KINGS CROSS N                                                                              EAST LANSING     MI    48823‐7739
KENNETH G HORES                                  830 PARSONAGE HILL DR                                                                           BRANCHBURG       NJ    08876‐3820
KENNETH G KACPERSKI                              1953 BAY CLOVER DRIVE                  WINTER GARDEN                                            KISSIMMEE        FL    34747
KENNETH G KAZANIS CUST CYNTHIA A KAZANIS A       24284 WOODHAM RD                                                                                NOVI             MI    48374‐2863
MINOR UNDER THE LAWS OF GA
KENNETH G KING & ELIZABETH H KING TR KENNETH G   411 SABAL PALM LN                                                                               VERO BEACH       FL    32963‐3461
KING TRUST UA 10/16/98
KENNETH G KIRK & MRS PATRICIA E KIRK JT TEN      12 WINDSOR DR                                                                                   DALLAS           PA    18612‐1410
KENNETH G KLAUS & DOUGLAS E KLAUS JT TEN         29 W 276 OAK LANE                                                                               WEST CHICAGO     IL    60185‐1383
KENNETH G KOSAL                                  395 EAGLEWAY                                                                                    SOUTH LYON       MI    48178‐1286
KENNETH G KRAMP                                  1423 MEADOWBROOK SE AVE                                                                         WARREN           OH    44484‐4567
KENNETH G KUTZ                                   1105 N MAIN ST                                                                                  ST CHARLES       MI    48655‐1003
KENNETH G LANCASTER                              5425 HERON CV                                                                                   BEAVERTON        MI    48612‐8578
KENNETH G LIESMAN                                412 FROBESE                                                                                     CUERO            TX    77954‐2302
KENNETH G LYNN TR KENNETH G LYNN REV LIVING      26341 W 7 MILE RD APT 112                                                                       REDFORD          MI    48240‐1913
TRUST UA 02/05/98
KENNETH G MADACKI                                34426 IVY CT                                                                                    CHESTERFIELD     MI    48047‐3170
KENNETH G MASTERS                                3793 WINDING PINE                                                                               METAMORA         MI    48455‐8969
KENNETH G MERRIAM                                212 CEDAR ST                                                                                    PAW PAW          MI    49079‐1109
KENNETH G MEYER                                  51 BRIAN AVE                                                                                    WILLIAMSVILLE    NY    14221‐3809
KENNETH G MICHIE                                 56796 SAINT JAMES DR                                                                            SHELBY TWP       MI    48316‐4846
KENNETH G MUSSMANN                               650 SUGARLOAF CT                                                                                LEWISVILLE       TX    75077‐7053
KENNETH G NEBHAN                                 4088 GILA TRAIL                                                                                 LAS CRUCES       NM    88005‐0800
KENNETH G NICHOLS                                18167 PAPE RD                                                                                   PLEASANT CITY    OH    43772‐9613
KENNETH G NICHOLS                                1875 MONT GABRIEL                                                                               WOLVERINE        MI    49799‐9553
KENNETH G NOTTINGHAM                             1707 WOODVIEW LN                                                                                ANDERSON         IN    46011‐1050
KENNETH G PALLAS                                 1449 BLACKHAWK LAKE DR                                                                          EAGAN            MN    55122
KENNETH G PASSMORE                               136 HIAWATHA DRIVE                     PORT SYDNEY ON                         P0B 1L0 CANADA
KENNETH G PITTLER                                133 CHESTNUT ST                                                                                 LOCKPORT         NY    14094‐2905
KENNETH G PROCTOR & MARCIA C PROCTOR JT TEN      3821 LA PLAYA BLVD                                                                              COCONUT GROVE    FL    33133‐6363

KENNETH G ROBERTS & SARA R ROBERTS JT TEN        106 TECUMSEH DR                                                                                 DOTHAN           AL    36303‐2768
KENNETH G ROSEVEAR                               133 MAPLE ST                                                                                    NEW PROVIDENCE   NJ    07974‐2406

KENNETH G RUBIN CUST DAVID G RUBIN UGMA IN       1258 EAST TWO POND ROAD                                                                         LUTHER           MI    49656

KENNETH G RUSSELL TR RUSSELL FAM TRUST UA   1207 LENNOXSHIRE DR                                                                                  ELGIN            IL    60123‐1478
03/14/88
KENNETH G SCHLAUD                           901 WEST MAGNOLIA                                                                                    IOWA PARK        TX    76367‐1417
KENNETH G SCHRADER                          1260 HARPER ROAD                                                                                     MASON            MI    48854‐9305
KENNETH G SCHRADER SR                       2402 COLUMBIA AVE                                                                                    EWING            NJ    08638‐3022
KENNETH G SCLAFANI                          442 PETERS BLVD                                                                                      BRIGHTWATERS     NY    11718‐1710
KENNETH G SCLAFANI CUST SUSAN JEAN SCLAFANI 442 PETERS BLVD                                                                                      BRIGHTWATERS     NY    11718‐1710
UGMA NY
KENNETH G SIMMONS                           173 RIVERVIEW ACRES RD                                                                               HUDSON           WI    54016‐6753
KENNETH G STAHL JR                          14330 BRANT RD                                                                                       ST CHARLES       MI    48655‐8503
KENNETH G STEFANSKI                         473 FAIRMONT AVENUE                                                                                  N TONAWANDA      NY    14120‐2915
KENNETH G STEFFENHAGEN JR                   3516 BRIARCREST DRIVE                                                                                CASTALIA         OH    44824‐9407
KENNETH G TATTERSALL                        1317 TATNALL ST                                                                                      WILMINGTON       DE    19801‐1126
KENNETH G VARISCO                           10864 BIG CANOE                                                                                      JASPER           GA    30143‐5137
KENNETH G WARNER CUST MARY KATE WARNER UGMA 591 CHESTNUT ST                                                                                      NEEDHAM          MA    02492‐2834
MI
KENNETH G WOODARD                           6465 LAFAYETTE                                                                                       DEARBORN HTS     MI    48127‐2122
KENNETH G WROBLEWSKI                        32444 WHITLEY CIRCLE                                                                                 WARREN           MI    48093‐1314
KENNETH GAJEWSKI & MAUREEN GAJEWSKI TEN ENT 9000 AVENUE A                                                                                        BALTIMORE        MD    21219‐2404

KENNETH GENE HAYNES                              PO BOX 773                                                                                      BOUTTE           LA    70039‐0773
KENNETH GENE WILLIAMS                            6869 CHERRY GROVE AVE                                                                           LAS VEGAS        NV    89156‐7152
                                          09-50026-mg               Doc 7123-46      Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                    Part 4 of 8 Pg 571 of 855
Name                                           Address1                              Address2                 Address3        Address4          City            State Zip

KENNETH GEORGE JONES & RUTH M JONES JT TEN     417 W MAIN ST                                                                                    DURAND          MI    48429‐1533
KENNETH GEORGE KENNEDY & ANNETTE KENNEDY JT    3679 DALEY RD                                                                                    ATTICA          MI    48412‐9235
TEN
KENNETH GEORGE STRICKLAND                      12 LANDING ROAD SOUTH                                                                            ROCHESTER       NY    14610‐3160
KENNETH GERSHEN & MRS LINDA GERSHEN JT TEN     280 RUBEN CT                                                                                     MONROE TWP      NJ    08831‐3736

KENNETH GERSTENHABER                        25350 TWICKENHAM DR                                                                                 BEACHWOOD       OH    44122‐1373
KENNETH GILBERT LANCASTER                   10241 S W 141ST STREET                                                                              MIAMI           FL    33176‐7005
KENNETH GIORDANO                            18 W 18TH ST                                                                                        OCEAN CITY      NJ    08226
KENNETH GLASS                               38 FLOWER LN                                                                                        JERICHO         NY    11753‐2312
KENNETH GLENWOOD JOHNSON                    PO BOX 72                                                                                           BLOOMERY        WV    26817‐0072
KENNETH GODBY                               333 FIRETHORN DR                                                                                    GRETNA          LA    70056
KENNETH GORDON DUFFIELD                     270 STRASBOURG                           DOLLARD DES ORMEAUX QC                   H9G 1R8 CANADA
KENNETH GORDON WRIGHT                       1147 GAGE RD                                                                                        HOLLY           MI    48442‐8334
KENNETH GORE                                37 RHODE ISLAND                                                                                     HIGHLAND PARK   MI    48203
KENNETH GRAHAM CUST CHRISTOPHER GRAHAM UTMA 3049 ENGLISH MANOR LN                                                                               BUFORD          GA    30519‐9220
FL
KENNETH GRAHAM CUST THERESA GRAHAM UTMA FL 3049 ENGLISH MANOR LN                                                                                BUFORD          GA    30519‐9220

KENNETH GRAVES ADM EST HAROLD GRAVES           3107 HWY 153                                                                                     DEWITT          AR    72042‐9444
KENNETH GRIESCH & LELA GRIESCH JT TEN          7396 CEDAR GROVE RD                                                                              BIG SANDY       TN    38221
KENNETH GUTTMAN                                209‐11 28TH AVE                                                                                  FLUSHING        NY    11360‐2410
KENNETH H ABEARE                               5603 BRIGHAM RD                                                                                  GOODRICH        MI    48438‐9645
KENNETH H BAER                                 4 EVERGREEN COURT                                                                                PERRINEVILLE    NJ    08535‐1112
KENNETH H BEVERS                               3416 MEDINA AVE                                                                                  FORT WORTH      TX    76133‐1423
KENNETH H BIGLER & MARTHA ANN BIGLER           PO BOX 1100                                                                                      BLYTHE          CA    92226‐1100
COMMUNITY PROPERTY
KENNETH H BOSWELL                              4957 GREENLEE RD SW                                                                              ROANOKE         VA    24018‐1744
KENNETH H BROOKS                               PO BOX 38676                                                                                     DETROIT         MI    48238‐0676
KENNETH H BRUNNER                              CUST MISS KIMBERLY A BRUNNER U/THE    NJ UGMA                  512 LEE COURT                     MELBOURNE       FL    32904
KENNETH H BRUNNER CUST MISS KIMBERLY ANN       94 SPRING GLEN DRIVE                                                                             MERIDEN         CT    06451‐2757
BRUNNER UGMACT
KENNETH H BURKE                                400 W 8TH ST                          PO BOX 996                                                 LAPEL           IN    46051‐0996
KENNETH H BURT JR                              2095 PRIMROSE LN                                                                                 FENTON          MI    48430‐8524
KENNETH H COLE                                 704 JILL                                                                                         GRASS LAKE      MI    49240‐9507
KENNETH H COOPER                               9405 LAVALL DR                                                                                   SPRINGDALE      MD    20774‐2586
KENNETH H CRANDALL                             403 WILLIAMS ST                                                                                  HURON           OH    44839‐1642
KENNETH H CRISSMAN & SUSAN J EWART CRISSMAN JT 1511 LURAY DR                                                                                    PITTSBURGH      PA    15239‐2535
TEN
KENNETH H CRISWELL                             1963 S 400 W                                                                                     RUSSIAVILLE     IN    46979‐9137
KENNETH H DEBEVOISE JR                         9 HAYTOWN ROAD                                                                                   LEBANON         NJ    08833‐4020
KENNETH H DECKER                               135 WHITE PINE DR                                                                                DAVISON         MI    48423‐9178
KENNETH H DESHONG & GWENDOLYN R DESHONG JT     122 FURLONG WAY                                                                                  RED LION        PA    17356‐8777
TEN
KENNETH H FELDMAN                              APT 11F                               1590 ANDERSON AVE                                          FORT LEE        NJ    07024‐2709
KENNETH H FOX                                  1455 W SLOAN                                                                                     BURT            MI    48417‐9607
KENNETH H FRUHNER                              515 ROCKY FORD RD                                                                                COLUMBUS        IN    47203‐1222
KENNETH H FRUHNER CUST HEATHER L FRUHNER UGMA 515 ROCKY FORD RD                                                                                 COLUMBUS        IN    47203‐1222
MI
KENNETH H GAMMONS                              6 JUNIPER LANE                                                                                   ATKINSON        NH    03811‐2410
KENNETH H GREB                                 6921 W PARTRIDGE CIR                                                                             LUDINGTON       MI    49431‐9675
KENNETH H GREGORY                              6388 W 200 S                                                                                     SHIRLEY         IN    47384
KENNETH H GROENHOF                             2S 431 CHERICE                                                                                   WARRENVILLE     IL    60555‐1303
KENNETH H HAWLEY                               16 OLD SOUND ROAD                     RUMSEY ISLAND                                              JOPPA           MD    21085‐4525
KENNETH H HOCKLEY                              RR #4                                 UXBRIDGE ON                              L9P 1R4 CANADA
KENNETH H HUNT & DIANA M HUNT JT TEN           200 SPRING MILL RD                                                                               ANDERSON        IN    46013‐3740
KENNETH H JAMES & BONNIE L JAMES JT TEN        4329 WEST LAKE RD                                                                                MAYVILLE        NY    14757‐9615
KENNETH H KEITH                                5894 S SPRING FLOWERS DR                                                                         GRAHAM          NC    27253‐9817
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 572 of 855
Name                                            Address1                                Address2             Address3          Address4          City               State Zip

KENNETH H KROEGER & JUDITH A KROEGER JT TEN     2827 FOXTAIL CREEK AVE                                                                           HENDERSON          NV    89052‐7107

KENNETH H KUBIT & LYNNE C KUBIT JT TEN          3065 BERKSHIRE DR                                                                                BLOOMFIELD HILLS   MI    48301‐3301

KENNETH H MAHAFFY                               3361 MAPLE VALLEY RD                                                                             MARLETTE           MI    48453‐8910
KENNETH H MAHAFFY & MARJORIE B MAHAFFY JT TEN   3361 MAPLE VALLEY RD                                                                             MARLETTE           MI    48453‐8910

KENNETH H MAKI & ANTONE MAKI JT TEN             10597 N HAMBLIN                                                                                  HAYWARD            WI    54843‐7172
KENNETH H MARTENS & CATHERINE MARTENS JT TEN    31835 WELLSTON                                                                                   WARREN             MI    48093‐7646

KENNETH H MILLER                                4800 TENNY ST                                                                                    LANSING            MI    48910‐5340
KENNETH H MONCAYO                               155 JACKSON AVE S                                                                                ST JAMES           NY    11780‐2832
KENNETH H MUMMERT                               2923 JEFFERSON DRIVE                                                                             CHAMBERSBURG       PA    17201‐9622
KENNETH H MUMMERT & ANNA E MUMMERT JT TEN       2923 JEFFERSON DRIVE                                                                             CHAMBERSBURG       PA    17201‐9622

KENNETH H NESTER                                1302 KEYSTOVER TRAIL                                                                             CENTERVILLE        OH    45459‐2414
KENNETH H NORRIS                                6658 FENCEROW CT SE                                                                              CALECONIA          MI    49316‐8015
KENNETH H PARCELL & MARION L PARCELL JT TEN     812 LIPTON DR                                                                                    NEWPORT NEWS       VA    23608‐3115
KENNETH H PARCELL CUST MICHAEL H PARCELL UGMA   812 LIPTON DR                                                                                    NEWPORT NEWS       VA    23608‐3115
VA
KENNETH H PROCHNOW                              2102 6TH ST                                                                                      BERKELEY           CA    94710‐2204
KENNETH H RASMUSSEN TR KENNETH H RASMUSSEN      1358 PATTI PARK                                                                                  WESTLAKE           OH    44145‐1965
TRUST UA 12/20/94
KENNETH H RAULSTON                              3199 CO RD 98                                                                                    BRIDGEPORT         AL    35740‐6849
KENNETH H ROBERTS                               RR 3 328 RAMSEY ROAD                    LITTLE BRITAIN ON                      K0M 2C0 CANADA
KENNETH H ROWE                                  1342 HOUSEMAN AVE NE                                                                             GRAND RAPIDS       MI    49505‐5234
KENNETH H RUSH                                  125 SW 7TH                                                                                       MOORE              OK    73160‐5309
KENNETH H SANDERS                               1223 WATERBURY PL                                                                                TROY               OH    45373‐4607
KENNETH H SCHULTZ                               4011 KING SETTLEMENT RD                                                                          ALPENA             MI    49707‐9525
KENNETH H SCHWANKE                              10319 N KLUG RD                                                                                  MILTON             WI    53563‐9329
KENNETH H SCOTT                                 9050 PONTIAC LAKE RD                                                                             WHITE LAKE         MI    48386‐1629
KENNETH H SHEPPARD                              2209 W SACRAMENTO DR                                                                             MUNCIE             IN    47303‐9001
KENNETH H SPIEGEL & KATHLEEN S SPIEGEL JT TEN   4155 DEXTER TRAIL                                                                                STOCKBRIDGE        MI    49285‐9784

KENNETH H STUTT                                 9901 BALMORAL CIRCLE                                                                             CHARLOTTE          NC    28210‐7810
KENNETH H VAN ANDEL                             10 FURROW LANE                          ETOBICOKE ON                           M8Z 0A3 CANADA
KENNETH H WADE                                  154 LAMORA                                                                                       BATTLE CREEK       MI    49017‐1530
KENNETH H WILLIAMS JR                           3135 W MYRTLE AV                                                                                 FLINT              MI    48504‐1831
KENNETH H WILSON & GAIL S WILSON JT TEN         205 DARETOWN RD                                                                                  ELMER              NJ    08318‐2717
KENNETH H ZILLI                                 152 FORDS COLONY DR                                                                              WILLIAMSBURG       VA    23188‐6320
KENNETH HAMPTON                                 7595 YACHT                                                                                       WARREN             MI    48091‐6304
KENNETH HANDS & JOY L HANDS TEN ENT             5312 POMMEL DR                                                                                   MOUNT AIRY         MD    21771‐8124
KENNETH HARTWIG                                 4201 HUNTINGTON AVE                                                                              JANESVILLE         WI    53546
KENNETH HATCHER                                 12080 WYOMING                                                                                    DETROIT            MI    48204‐1050
KENNETH HELLER                                  2105 IXORA RD                                                                                    NORTH MIAMI        FL    33181‐2312
KENNETH HEMME & DORIS A HEMME JT TEN            514 WEST STREET BOX 374                                                                          CONCORDIA          MO    64020‐9699
KENNETH HENSLEY & JOAN HENSLEY JT TEN           RR                                                                                               ALBANY             MO    64402
KENNETH HERSHMAN                                PO BOX 609                                                                                       ROUND LAKE         IL    60073‐0601
KENNETH HERSOM & DEBBIE HERSOM COMMUNITY        2633 RHINESTONE WAY                                                                              REDDING            CA    96001‐8305
PROPERTY
KENNETH HICKS                                   1552 SOUTH STSTE ROAD 1                                                                          CONNERSVILLE       IN    47331
KENNETH HOFGESANG CUST ALEXANDER HOFGESANG      590 CRAIGVILLE RD                                                                                CHESTER            NY    10918‐4028
UTMA NY
KENNETH HOPSON                                  8828 DAY RD                                                                                      MONROE             MI    48162‐9120
KENNETH HOWELL MAPP                             504 BROOKWOOD                                                                                    CLINTON            MS    39056‐3834
KENNETH HUMPHREY                                59925 HAVENRIDGE                                                                                 NEW HAVEN          MI    48048‐1918
KENNETH HUSTON                                  511 BRANDED BLVD                                                                                 KOKOMO             IN    46901‐4055
KENNETH HYLAND                                  4621 WARREN ROAD                                                                                 CORTLAND           OH    44410‐9756
KENNETH I DUSKEY & LORETTA V DUSKEY JT TEN      223 E VICTORIA WOODS                                                                             WASKON             TX    75692
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 573 of 855
Name                                           Address1                               Address2             Address3          Address4          City               State Zip

KENNETH I JOHNSRUD                             920 WI ST                                                                                       FENNIMORE          WI    53809
KENNETH I MAGEL                                1760 PARK BLVD                                                                                  FARGO              ND    58103‐4734
KENNETH I MEARS                                1836 WILSON COVE                                                                                BLAIRSVILLE        GA    30512‐5988
KENNETH I PARRISH                              87 PINE STREET                                                                                  DECATUR            AL    35603‐6220
KENNETH I THOMAS                               115 PIPESTONE DRIVE                                                                             SUMMERVILLE        SC    29485‐4571
KENNETH I WILLE                                116 N CLEARLAKE AVE                                                                             MILTON             WI    53563‐1006
KENNETH ISLES BOOHER & MADGE BOOHER JT TEN     3939 NUUANU PALI DR APT F                                                                       HONOLULU           HI    96817‐1081

KENNETH J AIELLO                               460 OAKWOOD                                                                                     ORTONVILLE         MI    48462‐8639
KENNETH J AKERT                                9702 E SHORE DR                                                                                 PORTAGE            MI    49002‐7482
KENNETH J ANDERSON & ELIZABETH A ANDERSON JT   4623 BARRINGTON DR                                                                              YOUNGSTOWN         OH    44515
TEN
KENNETH J ANDRES                               8112 N SEYMOUR RD                                                                               FLUSHING           MI    48433‐9257
KENNETH J ANTHONY                              12528 DAVISON RD                                                                                DAVISON            MI    48423‐8126
KENNETH J BAITY                                6016 KERWOOD ST                                                                                 BURKE              VA    22015‐3600
KENNETH J BAKER                                43291 NORTH AVE                                                                                 CLINTON TWSP       MI    48036‐1156
KENNETH J BAKER                                309 MCINTOSH LN                                                                                 WESTFIELD          IN    46074‐9792
KENNETH J BARON                                14451 KERNER DR                                                                                 STERLING HEIGHTS   MI    48313‐2373

KENNETH J BARRIEAU                             3028 EDGERTON ST                                                                                LITTLE CANADA      MN    55117‐1208
KENNETH J BASEMAN                              59 OLDE LANTERN RD                                                                              BEDFORD            NH    03110‐4816
KENNETH J BELCHER                              10009 SETTLEMENT HOUSE RD                                                                       DAYTON             OH    45458‐9654
KENNETH J BELKE                                1216 46TH ST                                                                                    SACRAMENTO         CA    95819‐3727
KENNETH J BELL                                 6109 FALCON AVE                                                                                 LONG BEACH         CA    90805‐3650
KENNETH J BELSKY                               215 ELLIOTT CT                                                                                  COLUMBIA           TN    38401‐5535
KENNETH J BELT                                 HC 68 BOX 36                                                                                    MUNDAY             WV    26152‐9614
KENNETH J BIEN                                 20851 PARKWOODS DR                                                                              SOUTH LYON         MI    48176‐9035
KENNETH J BORKWOOD                             3 MOURNING DOVE LN                     ST THOMAS ON                           N5R 0A9 CANADA
KENNETH J BOYARS                               336 SILZER STREET                                                                               PERTH AMBOY        NJ    08861‐3813
KENNETH J BRAGG                                3820 LEIX ROAD                                                                                  MAYVILLE           MI    48744‐9751
KENNETH J BRESKIN & ARLENE BRESKIN JT TEN      190 STOCKBRIDGE RD                                                                              LEE                MA    01238‐9309
KENNETH J BRYAN                                332 E RICHMOND TERR                                                                             MUSTANG            OK    73064‐4937
KENNETH J BRYAN & NINA E BRYAN JT TEN          332 E RICHMOND TERR                                                                             MUSTANG            OK    73064‐4937
KENNETH J BRYANT                               21 EASTDALE DR                                                                                  DAYTON             OH    45415‐2907
KENNETH J BRYDALSKI                            9 HILLVIEW TE                                                                                   BUFFALO            NY    14224‐2816
KENNETH J BUBER                                17560 BIRCH ST                                                                                  ROMULUS            MI    48174‐9576
KENNETH J BURNETT                              3797 MT VERNON ROAD                                                                             GAINESVILLE        GA    30506‐3083
KENNETH J BUSZEK                               4300 N 33RD RT 1                                                                                MANTON             MI    49663‐9608
KENNETH J CAMERON                              1924 N HADLEY RD                                                                                LAPEER             MI    48446‐9708
KENNETH J CARLBORG                             155 PLEASANT DRIVE                                                                              CHICAGO HEIGHTS    IL    60411‐1033

KENNETH J CARR & MRS JULIA M CARR JT TEN        6743 PAXTON AVE                                                                                CHICAGO            IL    60649‐1109
KENNETH J CAVANAUGH                             PO BOX 9022                                                                                    WARREN             MI    48090‐9022
KENNETH J CENTURY                               421 DUNCAN CHAPEL RD                  APT 516                                                  GREENVILLE         SC    29617‐8249
KENNETH J CHAPPELL                              RT 2 BOX 339‐B                                                                                 TYNER              KY    40486‐9619
KENNETH J CICCARELLI                            1151 BEAR TAVERN RD                                                                            TITUSVILLE         NJ    08560‐1504
KENNETH J CLARK                                 7506 SILVER WOODS CT                                                                           BOCA RATON         FL    33433‐3336
KENNETH J CLARK                                 9135 SEA WIND PLACE                                                                            FORT WAYNE         IN    46804
KENNETH J CORNET                                PO BOX 694                                                                                     PATUXENT RIVER     MD    20670‐0694
KENNETH J COSTA                                 14747 PARK STREET                                                                              LIVONIA            MI    48154‐5156
KENNETH J COVE                                  PO BOX 217                                                                                     ROANOKE            IN    46783‐0217
KENNETH J CRABTREE                              5327 COOPER LANE                                                                               PLAIN CITY         OH    43064‐8515
KENNETH J CRADIT                                13661 LINCOLN RD                                                                               MONTROSE           MI    48457‐9342
KENNETH J CROFT TR KENNETH JAMES CROFT TRUST UA 22614 FORMENTOR                                                                                MISSION VEJO       CA    92692‐1151
10/24/01
KENNETH J CRYDERMAN                             1922 SUNLIGHT DR                                                                               LONGMONT           CO    80504‐1972
KENNETH J DANIELS                               11 DUNBLOOR RD                        SUITE 1702           TORONTO ONT ON    M9A 0B2 CANADA
KENNETH J DANIELS                               11 DUNBLOOR RD                        SUITE 1702           TORONTO ONT ON    M9A 0B2 CANADA
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 574 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

KENNETH J DE COURVAL & MARY ALICE DE COURVAL JT   5560 HICKORY CIR                                                                                FLUSHING          MI    48433‐2454
TEN
KENNETH J DECARIA & PEGGY C DECARIA JT TEN        3911 MCCOMB                                                                                     CHEYENNE          WY    82001
KENNETH J DEDIC                                   739 SHINING WATER DR                                                                            CAROL STREAM      IL    60188‐9143
KENNETH J DEIML                                   18 DUXBURY LANE                                                                                 CARY              IL    60013‐1915
KENNETH J DEIML & MRS BERNADINE K DEIML JT TEN    18 DUXBURY LANE                                                                                 CARY              IL    60013‐1915

KENNETH J DELECKI                                 3747 DAKOTA ST                                                                                  FLINT             MI    48506‐3111
KENNETH J DELL & JACQUELYN R DELL JT TEN          3714 AFTONSHIRE DRIVE                                                                           BEAVERCREEK       OH    45430‐1600
KENNETH J DILLON & SANDRA L DILLON JT TEN         140 DENNIS DRIVE                                                                                CORTLAND          OH    44410‐1134
KENNETH J DISBROW                                 PO BOX 43358                                                                                    UPPER MONTCLAIR   NJ    07043‐0358

KENNETH J DUERR                                   82086 1ST AVE                                                                                   PINELLAS PARK     FL    33781‐1731
KENNETH J DUERR & BARBARA ANN DUERR JT TEN        82086 1ST AVE                                                                                   PINELLAS PARK     FL    33781‐1731
KENNETH J DUNCAN                                  2377 SOLARWOOD DR                                                                               DAVISON           MI    48423‐8757
KENNETH J DYKER                                   520 BROOKVIEW CT                       APT 103                                                  AUBURN HILLS      MI    48326‐4504
KENNETH J EARLE                                   27 BALLANTYNE RD                                                                                ROCHESTER         NY    14623‐1954
KENNETH J EDWARDS                                 5845 E RICE RD                                                                                  CEDAR             MI    49621‐9618
KENNETH J EVANSKI                                 2935 GREENFIELD DRIVE                                                                           CULLEOKA          TN    38451‐2611
KENNETH J EWING                                   2526 LIBERTY PKWY                                                                               BALTO             MD    21222‐3951
KENNETH J FELLER                                  4310 LOWRY AVE                                                                                  CINCINNATI        OH    45212‐2818
KENNETH J FERRY                                   9320 MARLBOROUGH AVE                                                                            ALLEN PARK        MI    48101‐1417
KENNETH J FISCHER                                 42 WYNDING HILLS                                                                                EAST GRANBY       CT    06026‐9631
KENNETH J FLANARY                                 801 E DUKE STREET                                                                               HUGO              OK    74743‐4207
KENNETH J FORCONI                                 512 HALDEMAN AVE                                                                                NEW CUMBERLAND    PA    17070‐1234

KENNETH J FOX                                     31360 SMITH ROAD                                                                                WILMINGTON        IL    60481‐8885
KENNETH J GANS & MRS VIVIAN W GANS JT TEN         1029 SWINKS MILL RD                                                                             MC LEAN           VA    22102‐2128
KENNETH J GEIBIG                                  300 QUINLAND LAKE CT                   APT E3                                                   COOKEVILLE        TN    38506‐5182
KENNETH J GENGLER                                 18100 STUART                                                                                    CHESANING         MI    48616‐9797
KENNETH J GILLOTTE                                3131 HASLER LAKE ROAD                                                                           LAPEER            MI    48446‐9635
KENNETH J GORAK                                   32255 COWAN RD                                                                                  WESTLAND          MI    48185‐6946
KENNETH J GRABMILLER JR                           3102 BRANDON CT                                                                                 ROCHESTER HILLS   MI    48309‐1077
KENNETH J GREGG JR                                16021 AMBER VALLEY DRIVE                                                                        WHITTER           CA    90604‐3707
KENNETH J GUIBORD & DOROTHY GUIBORD JT TEN        14455 NEWBURGH RD                                                                               LIVONIA           MI    48154‐5013

KENNETH J GUILE                                   5259 N STATE RD                                                                                 DAVISON           MI    48423‐8594
KENNETH J GUNTHER                                 12121 BELANN COURT                                                                              CLIO              MI    48420‐1088
KENNETH J HACKETT                                 2310 LOCKPORT OLCOTT RD                                                                         NEWFANE           NY    14108‐9514
KENNETH J HALL                                    30978 ELM DR                                                                                    LEWES             DE    19958‐3847
KENNETH J HARVEY                                  122 COUNTRY ESTATE RD                                                                           BELL BUCKLE       TN    37020‐4225
KENNETH J HEEMSTRA                                4762 STAUFFER AVE SE                                                                            KENTWOOD          MI    49508‐5070
KENNETH J HEISE                                   220 39TH ST                                                                                     BAY CITY          MI    48708‐8269
KENNETH J HENRY                                   815 SOUTH MILLWOOD                                                                              WICHITA           KS    67213‐3815
KENNETH J HENRY & MRS TWILA M HENRY JT TEN        815 SOUTH MILLWOOD                                                                              WICHITAW          KS    67213‐3815
KENNETH J HERMER & BERLENE HERMER JT TEN          6733 N TRUMBULL AVE                                                                             LINCOLNWOOD       IL    60645‐3739
KENNETH J HICKS                                   907 BARRY LN                                                                                    CLEBURNE          TX    76031‐7758
KENNETH J HOCKADAY                                1558 FENIMORE LN                                                                                LADY LAKE         FL    32162‐2264
KENNETH J HOLICK                                  898 RIVER RD                                                                                    HILLSBOROUGH      NJ    08844‐4047
KENNETH J HOOPER                                  12948 TOWNSEND DR                      APT 312                                                  GRAND LEDGE       MI    48837‐8712
KENNETH J HORNAK & KENNETH J HORNAK JR JT TEN     9485 DITCH RD                                                                                   CHESANING         MI    48616‐9712

KENNETH J HORVATH                                 6484 BARTZ RD                                                                                   LOCKPORT          NY    14094‐9511
KENNETH J HOSPODOR                                7828 THUNDER BAY                                                                                PINCKNEY          MI    48169‐8505
KENNETH J HRODEY CUST ANDREW J HRODEY             560 BLUE ST                                                                                     SHELDON           IL    60966‐8002
KENNETH J HYTINEN                                 832 E MAPLE                                                                                     HOLLY             MI    48442‐1751
KENNETH J JACKSON                                 4051 SAM SNEAD DR                                                                               FLINT             MI    48506‐1425
KENNETH J JACKSON                                 3801 PROVIDENCE                                                                                 FLINT             MI    48503‐4550
KENNETH J JEAN                                    2125 SPRING HILL CIR                                                                            SPRING HILL       TN    37174‐9271
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 575 of 855
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

KENNETH J JELEN                                    37787 LAKE DR                                                                                   AVON             OH    44011‐1139
KENNETH J JOHNS                                    3390 HULL AVE                                                                                   FLINT            MI    48507‐3365
KENNETH J JOHNSON                                  114 SELBORNE COURT                                                                              REHOBOTH BEACH   DE    19971‐8640

KENNETH J JONES                                    1098 GLENDALE AVE                                                                               BURTON           MI    48509‐1924
KENNETH J KAJKOWSKI & CATHY L KAJKOWSKI JT TEN     1730 KINGSBURY                                                                                  DEARBORN         MI    48128‐1138

KENNETH J KALIFF JR                                128 WASHINGTON ST                                                                               WESTPORT         MA    02790‐2311
KENNETH J KAPPHEIM                                 5581 PARVIEW DR APT 107                                                                         CLARKSTON        MI    48346‐2835
KENNETH J KAPUSHINSKI                              4710 BLACKS CORNERS RD                                                                          BROWN CITY       MI    48416‐9619
KENNETH J KEELER                                   7170 DURAND                                                                                     NEW LOTHROP      MI    48460‐9764
KENNETH J KELLY                                    37883 MUNGER                                                                                    LIVONIA          MI    48154‐1274
KENNETH J KERSTE                                   2926 FIRST ST                                                                                   LASALLE          MI    48145‐9605
KENNETH J KIEDROWSKI                               2410 W LEROY                                                                                    MILWAUKEE        WI    53221‐2226
KENNETH J KIRCHEN                                  C‐481 LEACH LAKE                                                                                HASTINGS         MI    49058
KENNETH J KLIM                                     8 BERRY DR                                                                                      WAYNE            NJ    07470‐3813
KENNETH J KNAPP & GRACE E KNAPP JT TEN             3095 LAMBERTON RD                                                                               FRANKLIN         PA    16323‐6037
KENNETH J KOWALSKI                                 2509 DAWES                                                                                      UTICA            MI    48317‐3637
KENNETH J KREUZER                                  2323 KING AVE                                                                                   DAYTON           OH    45420‐2363
KENNETH J KRUZEL                                   10256 LAKEWOOD AVENUE                                                                           LUNA PIER        MI    48157‐9705
KENNETH J KUBIAK & MRS MONICA A KUBIAK JT TEN      3025 MONROE                                                                                     SAGINAW          MI    48604‐2387

KENNETH J KUJAWA                                   1315 LANING ROAD                                                                                TOLEDO           OH    43615‐4782
KENNETH J KUKAROLA & PATRICIA ANN KUKAROLA JT      5219 LAKE PINE CIRCLE                                                                           BRUNSWICK        OH    44212‐1993
TEN
KENNETH J LANE                                     23 PARK AVE                                                                                     NY               NY    10016‐3890
KENNETH J LANE JR                                  215 SURREY LN                                                                                   GREENVILLE       OH    45331‐2931
KENNETH J LEACH                                    2044 HONORAVILLE RD                                                                             LUVERNE          AL    36049‐5907
KENNETH J LEE                                      140 COMMONWEALTH DR                                                                             NEWTOWN          PA    18940‐2316
KENNETH J LEIBACH                                  219 WINSTON DRIVE                                                                               BOLINGBROOK      IL    60440‐1367
KENNETH J LEWIS                                    6 ELLSWORTH AVE                                                                                 BATAVIA          NY    14020‐2303
KENNETH J LEWIS                                    2000 WEST LOOP SOUTH STE 1080                                                                   HOUSTON          TX    77027‐3512
KENNETH J LINDSAY                                  2088 MARCIA DR                                                                                  BELLBROOK        OH    45305‐1604
KENNETH J LITTLE                                   3483 TAMARACK TRL                                                                               MOUNT MORRIS     MI    48458‐8211
KENNETH J LIVINGSTON & LINDA J LIVINGSTON JT TEN   7205 SOUTH HAMPTON ROAD                                                                         LINCOLN          NE    68506‐1628

KENNETH J LUCIUS                                   3090 FENTON RD                                                                                  HOLLY            MI    48442‐9102
KENNETH J LUFF                                     G‐2480 W MAPLE RD                                                                               FLINT            MI    48507
KENNETH J MACDONALD & JANET W DOBERSEN JT TEN      4857 CASTLEWOOD DRIVE                                                                           LILBURN          GA    30047‐4786

KENNETH J MACDONALD & JANET W MACDONALD JT         4857 CASTLEWOOD DRIVE                                                                           LILBURN          GA    30047‐4786
TEN
KENNETH J MARTLEW & TAMARA M MARTLEW JT TEN        10094 SHADYBROOK LANE                                                                           GRAND BLANC      MI    48439‐8317

KENNETH J MC CAFFERY                               177 ROSWELL AVENUE                                                                              BUFFALO          NY    14207‐1016
KENNETH J MC COMB                                  811 SAN JOSE DR                                                                                 HEMET            CA    92543‐6977
KENNETH J MC GREEVY                                25106 FAIRGROVE                                                                                 WOODHAVEN        MI    48183‐4428
KENNETH J MEREDITH JR                              395 TIPSICO LK RD                                                                               HARTLAND         MI    48353‐3137
KENNETH J METZLER                                  4570 WRIGHTWOOD WAY                                                                             PALMDALE         CA    93552‐3761
KENNETH J MUCHA                                    57 DIDION RD                                                                                    LANCASTER        NY    14086‐9650
KENNETH J MUENK                                    1092 SHADOW DRIVE                                                                               TROY             MI    48098‐4932
KENNETH J MUENK & MRS HARRIET C MUENK JT TEN       1092 SHADOW                                                                                     TROY             MI    48098‐4932

KENNETH J MULCAHY                                  PO BOX 808                                                                                      SOUTHBURY        CT    06488‐0808
KENNETH J MYERS                                    18683 MILTON AVE                                                                                BIG RAPIDS       MI    49307‐9345
KENNETH J NEAL                                     5107 BRICKER RD                                                                                 KENOCKEE         MI    48006‐3117
KENNETH J NICKEL                                   N4196 COUNTY RD P                                                                               SULLIVAN         WI    53178
KENNETH J NOLAN                                    249 MILE CREEK ROAD                                                                             OLD LYME         CT    06371‐1815
KENNETH J OLSON                                    6322 S LUTHER VALLEY RD                                                                         BELOIT           WI    53511‐9466
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 576 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

KENNETH J PARISH JR                              215 RIO VISTA AVE                                                                              BROWNSVILLE        TX    78520‐4341
KENNETH J PASCIAK                                16743 FAIRWAY STREET                                                                           LIVONIA            MI    48154‐2115
KENNETH J PATTON                                 324 E BROOKS ST                                                                                HOWELL             MI    48843‐2310
KENNETH J PENGAL                                 22543 WATERBURY                                                                                WOODLND HILLS      CA    91364‐4924
KENNETH J PHILLIPS                               151 MUNTZ ST                                                                                   HOLGATE            OH    43527‐9761
KENNETH J PIROCHTA                               3733 BALD MT RD                                                                                LAKE ORION         MI    48360
KENNETH J PITKO & MARIE E PITKO JT TEN           45 AMHERST RD                                                                                  PLEASANT RDG       MI    48069‐1205
KENNETH J POWERS                                 1772 FRASER PL                                                                                 PINCONNING         MI    48650‐9472
KENNETH J PRICE                                  7157 SHIRLEY DR                                                                                WEST CHESTER       OH    45069‐2218
KENNETH J PRICE                                  200 BORDERLINE DR                                                                              BLAINE             TN    37709‐2917
KENNETH J PRYBYS                                 53068 ECKERT                                                                                   MACOMB             MI    48042‐2853
                                                                                                                                                TOWNSHIP
KENNETH J PRZYBOCKI                              1931 KLEHM CT                                                                                  FORT WAYNE         IN    46814‐8846
KENNETH J PURFEY & CATHERINE A PURFEY JT TEN     1185 MINNESOTA AVE UNIT E                                                                      SAN JOSE           CA    95125‐3377
KENNETH J RASSLER                                68 CRESTHAVEN DRIVE                                                                            CHEEKTOWAGA        NY    14225‐1120
KENNETH J REED                                   36 DAVIES AVE                                                                                  DUMONT             NJ    07628‐2404
KENNETH J RENATO                                 812 MASON STREET                                                                               NILES              OH    44446‐3036
KENNETH J RESCH                                  7678 COWARD RD                                                                                 BYRON              NY    14422‐9717
KENNETH J RETTIG                                 8030 TODD ROAD                                                                                 TEMPERANCE         MI    48182‐9624
KENNETH J RICKS                                  87 HAMILTON ST                                                                                 EAST ORANGE        NJ    07017
KENNETH J RIDLEY                                 5619 GRAFTON RD EAST                                                                           VALLEY CITY        OH    44280‐9716
KENNETH J RINKE                                  PO BOX 1113                                                                                    LEWISTON           MI    49756‐1113
KENNETH J ROGERS & MRS MAUREEN D ROGERS JT TEN   7027 E REDFIELD RD                                                                             SCOTTSDALE         AZ    85254‐3430

KENNETH J ROTTET & SUZANNE M ROTTET JT TEN       2039 LAUREL DR                                                                                 TROY               MI    48085‐3820
KENNETH J ROWE & SUSAN K ROWE JT TEN             3700 CHADFORD PL                                                                               GREENSBORO         NC    27410‐2839
KENNETH J RUMSCHLAG                              2130 W COUNTY RD 48                                                                            TIFFIN             OH    44883‐9235
KENNETH J RUTLEDGE                               6428 LANSDOWNE                                                                                 SAINT LOUIS        MO    63109‐2619
KENNETH J SALIBA                                 13052 COLUMBIA                                                                                 REDFORD            MI    48239‐2717
KENNETH J SAUVE                                  2100 JOSE RD                                                                                   KAWKAWLIN          MI    48631‐9437
KENNETH J SCHAEFER                               PO BOX 14265                                                                                   PANAMA CITY        FL    32413‐4265
                                                                                                                                                BEACH
KENNETH J SCHMID                                 751 10TH ST E                         LOT 303                                                  PALMETTO           FL    34221‐5343
KENNETH J SCHNEIDER                              5378 MUSKOPH ROAD                                                                              FAIRFIELD          OH    45014‐3226
KENNETH J SCHUCHTER                              2001 E U S 22‐3                                                                                MORROW             OH    45152‐9670
KENNETH J SHEAR                                  8723 CRESTON                                                                                   PINCKNEY           MI    48169‐9120
KENNETH J SHELEY                                 3317 D ST                                                                                      NIAGARA FALLS      NY    14303‐2140
KENNETH J SILVA                                  PO BOX 19541                                                                                   JOHNSTON           RI    02919‐0541
KENNETH J SKEENE                                 712 TIPTON RD                                                                                  IRVING             TX    75060‐3614
KENNETH J SLOTNICK TR SLOTNICK FAMILY TRUST UA   1034 GRAND ISLE TERRACE                                                                        PALM BEACH         FL    33418‐4582
04/11/00                                                                                                                                        GARDENS
KENNETH J SMITH                                  36 DALE DR                                                                                     NORTH              NY    14120‐4202
                                                                                                                                                TONAWANDA
KENNETH J SMITH                                  66 MARGARET AVE                                                                                HAMILTON           OH    45015‐2148
KENNETH J SMITH TR KENNETH J SMITH TRUST UA      47 WOOD LAKE TR                                                                                MT VERNON          OH    43050‐8910
09/19/95
KENNETH J SMRDEL                                 7523 HOLLYCROFT LN                                                                             MENTOR             OH    44060
KENNETH J SNOOKS                                 3190 EAST BRECKENRIDGE                                                                         BLOOMFIELD HILLS   MI    48301‐4146

KENNETH J SNYDER                                 49380 HEYWARD 116                                                                              SHELBY TOWNSHIP    MI    48317‐6308

KENNETH J SNYDER & CHRISTINE A SNYDER JT TEN     49380 HEYWARD 116                                                                              SHELBY TOWNSHIP    MI    48317‐6308

KENNETH J SPENCER                                2657 AMBASSADOR DR                                                                             YPSILANTI          MI    48198‐1028
KENNETH J SPIKA                                  120TH AND WILL LOOK RD                                                                         PALOS PARK         IL    60464
KENNETH J STARKEY                                4157 MINERVA ST                                                                                FLINT              MI    48504‐1430
KENNETH J STRELKA                                3311 W COLLEGE AVE                    APT 214                                                  MILWAUKEE          WI    53221‐4783
KENNETH J STRZELCZYK                             9018 REDCASTLE DR                                                                              TINLEY PARK        IL    60477‐3787
KENNETH J STVRTECKY                              13518 DAKOTA FIELDS DR                                                                         HUNTLEY            IL    60142‐7775
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 577 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

KENNETH J SULEK & MRS JOAN D SULEK JT TEN         7919 TREESDALE GLN                                                                             LAKEWOOD RCH       FL    34202‐2599
KENNETH J SUTHERLAND                              826 MONTGOMERY AVE                    RIVERVIEW NB                           E1C 2A7 CANADA
KENNETH J TACY                                    4938 STATE ROUTE 11                                                                            BURKE              NY    12917‐2409
KENNETH J TAYLOR & SUSAN B TAYLOR JT TEN          347 ATHOL AVE                                                                                  OAKLAND            CA    94606‐1415
KENNETH J TILLAGE                                 2036 MCAVOY                                                                                    FLINT              MI    48503‐4248
KENNETH J TOPP                                    7110 SE LILLIAN CT                                                                             STUART             FL    34997‐2229
KENNETH J TRYKA                                   11944 BUCKWHEAT ROAD                                                                           ALDEN              NY    14004‐9677
KENNETH J URBANOWSKI & JUDITH A URBANOWSKI JT     1478 DIVISION                                                                                  HARTLAND           MI    48353‐3302
TEN
KENNETH J URBANOWSKI & JUDITH A URBANOWSKI JT     1478 DIVISON                                                                                   HARTLAND           MI    48353‐3302
TEN
KENNETH J VANDENBOUT                              4840 CRESTHILL DRIVE N E                                                                       GRAND RAPIDS       MI    49525‐1218
KENNETH J WAGNER                                  13484 TRENTON RD                                                                               SOUTHGATE          MI    48195‐1867
KENNETH J WARD                                    8085 WINTON ROAD                                                                               CINCINNATI         OH    45224‐1344
KENNETH J WASKI                                   116 MIDDLETON PL                                                                               PONTE VEDRA        FL    32082‐3914
KENNETH J WEIBEL CUST KELSEY NICOLE WEIBEL UGMA   1000 MULBERRY COURT                                                                            FAIRVIEW           PA    16415‐1566
PA
KENNETH J WEIBEL CUST KRISTEN JESSICA WEIBEL      1000 MULBERRY COURT                                                                            FAIRVIEW           PA    16415‐1566
UGMA PA
KENNETH J WIEMER                                  293 SUNSET STREET                                                                              ROCHESTER          NY    14606‐2742
KENNETH J WROBEL                                  12115 BROUGHAM DR                                                                              STERLING HEIGHTS   MI    48312‐4075

KENNETH J WROBEL & KELLY L WROBEL JT TEN          12115 BROUGHAM DR                                                                              STERLING HEIGHTS   MI    48312‐4075

KENNETH J YOUNGBLOOD & VEVA S YOUNGBLOOD JT       5129 W CHURCHILL CRT                                                                           MUNCIE             IN    47304
TEN
KENNETH J ZABLOTNY                                17 WAYCROSS RD                                                                                 FAIRPORT           NY    14450‐9358
KENNETH J ZNACK & THERESA A ZNACK JT TEN          7 ARPAD STREET                                                                                 HICKSVILLE         NY    11801‐2202
KENNETH J ZORN                                    11282 BRANDON RD                                                                               EMMETT             MI    48022‐4404
KENNETH JACOBS                                    204 TENNYSON                                                                                   HIGHLAND PARK      MI    48203‐3572
KENNETH JAMES GUIFFRE & LYNN CECIL GUIFFRE JT TEN 3606 WOODRIDGE AVE                                                                             SILVER SPRING      MD    20902‐2351

KENNETH JAMES MACDONALD                           4857 CASTLEWOOD DRIVE                                                                          LILBURN            GA    30047‐4786
KENNETH JAMES ROBERTSON                           178 MOONBEAM ROAD                                                                              APOPKA             FL    32712‐3550
KENNETH JAMIN HARDY                               35 LOWE RD                                                                                     DEER ISLE          ME    04627‐3322
KENNETH JASON LANGBERG                            2454 SW LIBERTY STREET                                                                         PALM CITY          FL    34990
KENNETH JEFFREY KAY                               PO BOX 1599                                                                                    BEVERLY HILLS      CA    90213‐1599
KENNETH JOHN SUPPES                               1099 MAYWOOD DR                                                                                SAGINAW            MI    48603‐5668
KENNETH JOHNSON                                   1261 LACROSSE TRL                                                                              OXFORD             MI    48371‐6606
KENNETH JOHNSTON                                  5549 WATERFORD CIR                                                                             SHEFFIELD VLG      OH    44035‐0619
KENNETH JONATHAN SCHECHTER                        PO BOX 4672                                                                                    JACKSTON           WY    83001‐4672
KENNETH JORDAN                                    2167 SOHN STREET                                                                               CINCINNATI         OH    45219‐1426
KENNETH JOSEPH JR                                 7 PLYMOUTH RD                                                                                  PATERSON           NJ    07502‐1408
KENNETH JUDSON REAMY                              501 PURSLANE PT                                                                                VENICE             FL    34293‐7239
KENNETH JUE                                       1362 W SAN JOSE                                                                                FRESNO             CA    93711‐3115
KENNETH K BERTRAM                                 620 E THOMPSON STREET UPPER                                                                    N TONAWANDA        NY    14120‐4651
KENNETH K CANTRELL                                BOX 261                                                                                        ELLISVILLE         MS    39437‐0261
KENNETH K CANTRELL & MARILYN J CANTRELL JT TEN    PO BOX 261                                                                                     ELLISVILLE         MS    39437‐0261

KENNETH K CHENG                                   38 HIDDEN MEADOW                                                                               PENFIELD           NY    14526‐1652
KENNETH K CHEW & MRS S W CHEW JT TEN              73‐42 52ND AVE                                                                                 MASPETH            NY    11378‐1503
KENNETH K EMME & DOROTHY M EMME JT TEN            2951 N LAKESHORE DR                                                                            MONTICELLO         IN    47960‐7089
KENNETH K HAASE                                   8908 STONE TIP LANE                                                                            CHATTANOOGA        TN    37421‐4547
KENNETH K HINES JR                                150 LAKE WINNEMISSETT DR                                                                       DELAND             FL    32724‐4840
KENNETH K KOSTER                                  9605 MIDLAND BL                                                                                SAINT LOUIS        MO    63114‐3333
KENNETH K KUETHER & CAROL G KUETHER JT TEN        169 GALAXY WAY                                                                                 LOMPOC             CA    93436‐1117
KENNETH K LISTER                                  6130 FLANDERS ROAD                                                                             SYLVANIA           OH    43560‐1724
KENNETH K MOIR & CONNIE L MOIR JT TEN             226 LOWELL DRIVE                                                                               KENT               OH    44240‐2226
KENNETH K SHEARON                                 6913 VALLEY HAVEN DR                                                                           CHARLOTTE          NC    28211‐6158
                                              09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 578 of 855
Name                                            Address1                            Address2             Address3          Address4          City            State Zip

KENNETH K TAMANAHA                            8061 FRESE LN                                                                                  LA PALMA        CA    90623‐2154
KENNETH K WORTHINGTON                         4102 OAK CT                                                                                    MIDLAND         MI    48642‐3527
KENNETH KASZUBOWSKI                           539 PEARL                                                                                      BENTON HARBOR   MI    49022‐4940
KENNETH KEITH KOCH                            9698 S 1000 W                         #1                                                       PENDLETON       IN    46064‐9745
KENNETH KENDALL                               14098 COTTONWOOD CIR                                                                           STERLING        CO    80751‐2219
KENNETH KEPPEL                                864 FOURTH AVENUE                                                                              CORAOPOLIS      PA    15108‐1522
KENNETH KEY & JESSIE M KEY JT TEN             3369 OVERBROOK RD                                                                              BIRMINGHAM      AL    35213‐3929
KENNETH KIRSHBAUM                             71 LAWRENCE AVE                                                                                LAWRENCE        NY    11559‐1446
KENNETH KLETTER                               116 ELM ST                                                                                     GLENSHAW        PA    15116‐2622
KENNETH KNIGHT                                97 CEDAR TER                                                                                   HILTON          NY    14468‐1443
KENNETH KOHLBERG                              113 ALEX DR                                                                                    SWANSEA         IL    62226‐1147
KENNETH KOLLMAN                               7585 JACKSON RD APT 3                                                                          ANN ARBOR       MI    48103‐9507
KENNETH KRIEG                                 73 LOGANS RUN                                                                                  ROCHESTER       NY    14626‐4311
KENNETH KRYNSKI & LINDA KRYNSKI JT TEN        592 BRIAR CLIFF ROAD                                                                           PITTSBURGH      PA    15221‐3219
KENNETH L ACKERMAN                            3485 BUSCH RD RT 3                                                                             BIRCH RUN       MI    48415‐9017
KENNETH L ADRIAN                              4324 LA LORDE RD                                                                               STANDISH        MI    48658‐9467
KENNETH L AMMAN                               240 RALEIGH PL                                                                                 LENNON          MI    48449‐9604
KENNETH L AMOS                                707 VALLEYDALE RD                                                                              MOSHEIM         TN    37818‐4516
KENNETH L ANDERSON                            12 CRESTWOOD ROAD                                                                              NO READING      MA    01864‐3029
KENNETH L ANDERSON                            2896 CHURCHILL LN                                                                              SAGINAW         MI    48603‐2676
KENNETH L ANDERTON                            2771 GIBSON DRIVE                                                                              ROCKY RIVER     OH    44116‐3008
KENNETH L ARNOLD                              7380 HATCHERY RD                                                                               WATERFORD       MI    48327‐1017
KENNETH L BAGEANT                             267 PHILLIPS LANE                                                                              BUNKER HILL     WV    25413‐3403
KENNETH L BALDNER                             5060 ROCKDALE RD                                                                               GREENCASTLE     PA    17225‐9244
KENNETH L BANKS                               2709 NE WESTON CIRCLE                                                                          BLUE SPRINGS    MO    64014‐1358
KENNETH L BARIL                               610 CENTRAL AVE                                                                                SPRING LAKE     NJ    07762‐1819
KENNETH L BARTON JR                           245 NORWOOD ST                                                                                 SHARON          MA    02067‐1034
KENNETH L BASS                                PO BOX 1109                                                                                    ALAMOGORDO      NM    88311‐1109
KENNETH L BESTE & PATRICIA A BESTE JT TEN     5230 SAFFRON                                                                                   TROY            MI    48098‐6705
KENNETH L BLAKE                               98 HARVARD AVE                                                                                 MANSFIELD       OH    44906‐2868
KENNETH L BLATT                               7520 BROOKS RD                                                                                 BROWN CITY      MI    48416‐9028
KENNETH L BOLDEN                              14520 LONGACRE ST                                                                              DETROIT         MI    48227‐1448
KENNETH L BRINKER                             85 MITCHELL DR                                                                                 TONAWANDA       NY    14150‐5141
KENNETH L BROGDON                             5079 LINSDALE                                                                                  DETROIT         MI    48204‐3659
KENNETH L BROWNE                              778 N WARNER RD                                                                                SUMNER          MI    48889‐9734
KENNETH L BRUCE                               3320 N ALISON ST                                                                               INDIANAPOLIS    IN    46224‐2326
KENNETH L BURK                                15702 BLUE SKIES DR                                                                            N FT MYERS      FL    33917‐5469
KENNETH L BURKY                               5055 BEECH RD                                                                                  MURRYSVILLE     PA    15668‐9613
KENNETH L BURROWS                             2129 N BEEBE ROAD                                                                              BURT            NY    14028‐9751
KENNETH L BURROWS & PRUDENCE D BURROWS JT TEN 2129 NORTH BEEBE ROAD                                                                          BURT            NY    14028‐9751

KENNETH L BURRUS & MRS GAYLE A BURRUS JT TEN    8107 ROGUES RD                                                                               CATLETT         VA    20119‐1738

KENNETH L BYRD                                  615 E LATTAMORE                                                                              TULSA           OK    74106
KENNETH L CAMERON                               5878 RENNINGER RD                                                                            AKRON           OH    44319‐4828
KENNETH L CARLSON                               744 W BAKER ST                                                                               CLAWSON         MI    48017‐1463
KENNETH L CATHERWOOD                            542 ARNDON AVE                      PETERBOROUGH ON                        K9J 4B1 CANADA
KENNETH L CHRISTMAN                             PO BOX 72                                                                                    PETERSBURG      OH    44454‐0072
KENNETH L CLARK                                 329 CASWALLEN DR                                                                             WEST CHESTER    PA    19380‐4119
KENNETH L CLARK                                 3617 DAVISON ROAD                                                                            LAPEER          MI    48446‐2908
KENNETH L COOK                                  714 PLANK RD                                                                                 NEW FREEDOM     PA    17349‐9147
KENNETH L COVERLY                               159 LONGSPOON DRIVE                 VERNON BC                              V1H 2H6 CANADA
KENNETH L CRAMER                                1737 PECK SETTLEMENT RD                                                                      JAMESTOWN       NY    14701‐9274
KENNETH L CRANE                                 3660 CHICAGO ROAD                                                                            WARREN          MI    48092‐1368
KENNETH L DAVIDSON                              263 NORTH BELLE RIVER                                                                        MARINE CITY     MI    48039‐1517
KENNETH L DAVIDSON & JOAN E DAVIDSON JT TEN     263 N BELL RIVER RD                                                                          MARINE CITY     MI    48039‐1517

KENNETH L DAY & ROWENA I DAY JT TEN             11420 MEADOWLARK DRIVE                                                                       IJAMSVILE       MD    21754‐8918
KENNETH L DEVOR                                 9353 W WATERGATE RD                 #2                                                       MC BAIN         MI    49657‐9600
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 579 of 855
Name                                             Address1                             Address2             Address3          Address4          City               State Zip

KENNETH L DIBLER                                542 LA VISTA WEST                                                                              LODI               OH    44254‐1116
KENNETH L DICKERSON                             3075 GERRARD AV                                                                                INDIANAPOLIS       IN    46224‐2380
KENNETH L DIXON                                 417 FAYETTE BLVD                                                                               SYRACUSE           NY    13224‐1217
KENNETH L DOYLE                                 526 JACK PINE CT                                                                               INDIANAPOLIS       IN    46224‐7100
KENNETH L EARLY                                 15 WHITE TAIL DEER LN                                                                          HILTON HEAD        SC    29926
KENNETH L EICHELBERGER & MARSHA A EICHELBERGER 12244 ONEIDA ROAD                                                                               GRAND LEDGE        MI    48837‐9450
JT TEN
KENNETH L ELLIS                                 3322 MILVERTON ROAD                                                                            SHAKER HTS         OH    44120‐4226
KENNETH L EMERY                                 8033 E PRESCOTT RD                                                                             PRESCOTT VALLEY    AZ    86314‐8415
KENNETH L EPPERLY                               2924 ST RD 13 N                                                                                ANDERSON           IN    46011‐9198
KENNETH L ESTES                                 8812 BROOKVIEW DRIVE                                                                           ST LOUIS           MO    63126‐2116
KENNETH L FAIVER                                509 CHANTICLEER TRAIL                                                                          LANSING            MI    48917‐3014
KENNETH L FALES                                 901 N 11 MILE RD                                                                               LINWOOD            MI    48634‐9828
KENNETH L FARNUM & LINDA R FARNUM JT TEN        5556 JIMSON DRIVE                                                                              DIMONDALE          MI    48821‐9722
KENNETH L FEELER                                2915 CARRIAGE HILL DR                                                                          BOWLING GREEN      KY    42104‐4395
KENNETH L FENSOM                                12595 CREST VIEW DR                                                                            WARSAW             MO    65355‐5521
KENNETH L FENSTERMACHER                         ROUTE 3 BOX 38‐A                                                                               PHILIPPI           WV    26416‐9530
KENNETH L FIELDER                               719 WABASH                                                                                     KANSAS CITY        MO    64124‐2429
KENNETH L FLANIGAN                              4378 RIVER ROAD                                                                                PERRY              OH    44081‐8611
KENNETH L FOGLE                                 3216 W NOEL DRIVE                                                                              MUNCIE             IN    47304‐4321
KENNETH L FRECHEN                               1822 S KREPPS RD                                                                               ST JOHNS           MI    48879‐8022
KENNETH L FRYLING                               134 CANDLEWYCK DR                     APT 408                                                  KALAMAZOO          MI    49001‐5412
KENNETH L FURLONG                               3444 WINDHAM                                                                                   PORTAGE            MI    49002‐8108
KENNETH L FURMAN & EVELYN J FURMAN & MICHAEL K 10443 INDIAN TRAIL DR                                                                           MANISTEE           MI    49660‐9496
FURMAN JT TEN
KENNETH L GAINES                                460 W HARRISON RD                                                                              ALMA               MI    48801‐9745
KENNETH L GARAVAGLIA & JUDITH A GARAVAGLIA JT   34625 GIANNETTI DRIVE                                                                          STERLING HEIGHTS   MI    48312‐5727
TEN
KENNETH L GAULD                                 7033 PONTALUNA RD                                                                              FRUITPORT          MI    49415‐9651
KENNETH L GORE                                  5380 HOAGLAND BLACKSTUB RD                                                                     CORTLAND           OH    44410‐9517
KENNETH L GREGORY                               1490 WILES LANE                                                                                LEWISBURG          TN    37091‐6625
KENNETH L GREZLIK                               4159 MALLARDS LANDING                                                                          HIGHLAND           MI    48357‐2644
KENNETH L GREZLIK & MARGARET ANN GREZLIK JT TEN 4159 MALLARDS LANDING                                                                          HIGHLAND           MI    48357‐2644

KENNETH L GROTH                                3650 CLINTONVILLE RD                                                                            WATERFORD          MI    48329‐2413
KENNETH L GUNDERSON & HELEN S GUNDERSON JT TEN 4350 EAST CHICAGO                                                                               LAS VEGAS          NV    89104‐5312

KENNETH L GWYNN                                  2115 GASTON CT                                                                                MURFREESBORO       TN    37128‐7619
KENNETH L HAEHNEL & SUZANNE F HAEHNEL JT TEN     166‐03 21 AVE                                                                                 WHITESTONE         NY    11357‐4003

KENNETH L HALL                                   512 S DAVISON ST                                                                              DAVISON            MI    48423‐1841
KENNETH L HANEY                                  106 NORTH SPRINGS DR                                                                          ACWORTH            GA    30101
KENNETH L HAWES                                  6502 CR 9100                                                                                  WEST PLAINS        MO    65775‐6741
KENNETH L HAYNES                                 6835 MEADOW LANE                                                                              HOUSE SPRINGS      MO    63051‐1229
KENNETH L HEPNER                                 8411 BELLARINE                                                                                SHELBY TWP         MI    48316‐3612
KENNETH L HEPNER & BEVERLY J HEPNER JT TEN       8411 BELLARINE                                                                                UTICA              MI    48316‐3612
KENNETH L HIRSCHENBERGER                         261 OAK LANE                                                                                  LAKE ALFRED        FL    33850‐3530
KENNETH L HOGAN                                  2905 CHERRY TREE COURT                                                                        RACINE             WI    53402‐1317
KENNETH L HOJNACK                                15745 CAMERON                                                                                 SOUTHGATE          MI    48195‐3246
KENNETH L HOOF                                   9287 SE 172ND GARIDEN ST                                                                      THE VILLAGES       FL    32159
KENNETH L HOOVER                                 12225 ROHN RD                                                                                 FENTON             MI    48430‐9519
KENNETH L HUGHES                                 445 DRAGE DR                                                                                  APOPKA             FL    32703‐3306
KENNETH L JOHNSON                                2216 WESTFIELD AVE                                                                            SCOTCH PLAINS      NJ    07076‐1946
KENNETH L JOHNSON                                2468 BRAINARD RD                                                                              CLEVELAND          OH    44124‐4502
KENNETH L JOHNSON                                7522 HEATHERWOOD LANE                                                                         CINCINNATI         OH    45244‐3212
KENNETH L JOHNSON & ELIZABETH J JOHNSON JT TEN   21780 RIVERRIDGE TRAIL                                                                        FARMINGTON         MI    48335

KENNETH L JORDAN                                 125 FRANKLIN ST                                                                               ELLSWORTH          ME    04605‐2012
KENNETH L KARSTETTER                             PO BOX 382                                                                                    GROVER CITY        CA    93483‐0382
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 580 of 855
Name                                            Address1                             Address2             Address3          Address4          City              State Zip

KENNETH L KELLEY                                 14102 HUNTERS LAKE WAY CT                                                                    HOUSTON           TX    77044‐5532
KENNETH L KILPATRICK                             413 PATTERSON DRIVE                                                                          MOORE             OK    73160‐7163
KENNETH L KING                                   2535 GLOFF ROAD                                                                              PETERSBURG        MI    49270‐9521
KENNETH L KING                                   207 VALLEY RIDGE RD                                                                          FRANKLIN          TN    37064‐5263
KENNETH L KOEHN                                  14485 LEONARD                                                                                WARREN            MI    48089‐2860
KENNETH L KOGLER                                 214 LYNN DR                                                                                  ROCHESTER         NY    14622‐1320
KENNETH L KOLLAR                                 2432 N IRISH RD                                                                              DAVISON           MI    48423‐9575
KENNETH L KRATZER                                41701 PHEASANT ST                                                                            MATTAWAN          MI    49071‐8333
KENNETH L KRAUS                                  7900 E 51ST ST                                                                               KANSAS CITY       MO    64129‐2319
KENNETH L KRISH CUST KYLE J KRISH UTMA IN        2176 E LINKER RD                                                                             COLUMBIA CITY     IN    46725‐8927
KENNETH L KUNARD                                 1301 MOCKINGBIRD BEND                                                                        SEALY             TX    77474‐4116
KENNETH L LAPORTE                                11160 N LINDEN                                                                               CLIO              MI    48420‐8504
KENNETH L LAYMAN JR                              2191 BACON                                                                                   BERKLEY           MI    48072‐1066
KENNETH L LIPOWSKI                               4001 POINTE TREMBLE                                                                          ALGONAC           MI    48001‐4651
KENNETH L LLOYD                                  PO BOX 832                                                                                   AU GRES           MI    48703‐0832
KENNETH L LOCATELLI SR                           3837 HAZELETT DR                                                                             WATERFORD         MI    48328‐4033
KENNETH L LOVE                                   5067 MARSHALL RD                                                                             DAYTON            OH    45429‐5853
KENNETH L LUECK                                  5501 HARRINGTON RD                                                                           CROSWELL          MI    48422‐8992
KENNETH L MALINOWSKI & LOUIS J MALINOWSKI JT TEN 8819 MARTY LANE                                                                              OVERLAND PARK     KS    66212‐2035

KENNETH L MANS                                  424 DAHLIA DR                                                                                 LANSING           MI    48911‐3737
KENNETH L MARTIN                                1554 W NORTHWEST BLVD                                                                         WINSTON SALEM     NC    27104‐4350
KENNETH L MARTIN                                5618 GREEN RD                                                                                 BUFORD            GA    30518‐1518
KENNETH L MARTIN                                3 MALLARD CT                                                                                  WALLINGFORD       CT    06492‐5385
KENNETH L MATHENY                               1364 JERSEY ST                                                                                LAKE MILTON       OH    44429‐9702
KENNETH L MATHERS                               1169 S OSBORN AVE                                                                             KANKAKEE          IL    60901‐5649
KENNETH L MATLOCK                               PO BOX 37816                                                                                  OAK PARK          MI    48237‐0816
KENNETH L MAYBEE                                8710 N W BROSTROM                                                                             PARKVILLE         MO    64152‐2710
KENNETH L MC COMBS & HAZEL R MC COMBS JT TEN    10601 EAGLE RD                                                                                DAVISBURG         MI    48350‐2133

KENNETH L MC CULLOCH                            13768 TREMBLEY                                                                                VICKSBURG         MI    49097
KENNETH L MC LAIN                               54810 SHERWOOD LN                                                                             SHELBY TOWNSHIP   MI    48315‐1548

KENNETH L MCNEIL                                1501 WEST 26TH STREET                                                                         INDIANAPOLIS      IN    46208‐5223
KENNETH L MERRITT                               1215 E BROADWAY HWY                                                                           CHARLOTTE         MI    48813‐9153
KENNETH L MERSINO                               7500 JOHNSON RD                                                                               FLUSHING          MI    48433‐9050
KENNETH L METZ JR                               4553 METROPOLITAN AVE                                                                         KANSAS CITY       KS    66106
KENNETH L MEYER                                 2015 WELSH DR                                                                                 WEST HARRISON     IN    47060
KENNETH L MILLARD                               1419 CROSBY                                                                                   JANESVILLE        WI    53546‐5442
KENNETH L MILLER                                578 EUCLID STREET                                                                             SALEM             OH    44460‐3704
KENNETH L MILLER & DIANNE M MILLER JT TEN       4614 FAIRMONT                                                                                 TROY              MI    48098‐5046
KENNETH L MILLS                                 6007 W FRANCES RD                                                                             CLIO              MI    48420‐8512
KENNETH L MILTON                                246 CYPRESS ST                                                                                INDEPENDENCE      LA    70443‐2258
KENNETH L MINER                                 105 WEST THIRD STREET                                                                         MCDONALD          OH    44437‐1946
KENNETH L MITCHELL                              1652 GLYNN CRT UPPR 2                                                                         DETROIT           MI    48206
KENNETH L MOORE                                 9353 WARWICK                                                                                  DETROIT           MI    48228‐1734
KENNETH L MURRAY & LINDA A MURRAY TR UA         21564 CHESNUT                                                                                 FARMINGTON        MI    48336‐4508
MURRAY LIVING TRUST 09/16/91
KENNETH L NAGY                                  5180 WOODLAND TRAIL                                                                           GLADWIND          MI    48624‐8141
KENNETH L NEMITZ                                3824 MATTHES AV                                                                               SANDUSKY          OH    44870‐5446
KENNETH L NESS & BETTY J NESS JT TEN            1450 WINDSOR RD                                                                               RED LION          PA    17356‐9583
KENNETH L OGLES JR                              5412 MAURA DR                                                                                 FLUSHING          MI    48433‐1058
KENNETH L OWEN                                  1340 MEADE DR                                                                                 MIDWEST CITY      OK    73130
KENNETH L PAINE                                 236 E VERMONT AVE                                                                             SEBRING           OH    44672
KENNETH L PAINE                                 236 E VERMONT AVE                                                                             SEBRING           OH    44672
KENNETH L PARETTI                               3917 HERON RIDGE LN                                                                           WESTON            FL    33351‐3719
KENNETH L PARKER                                2776 PHILLIPS ROAD                                                                            LEBANON           OH    45036‐8768
KENNETH L PASCOE TR KENNETH L PASCOE LIVING     4715 ALAMO                                                                                    CLARKSTON         MI    48348‐3501
TRUST UA 11/19/97
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                      Part 4 of 8 Pg 581 of 855
Name                                             Address1                              Address2                     Address3   Address4          City            State Zip

KENNETH L PEARSON                                5605 HOWARD RD                                                                                  CUMMING          GA   30040‐5213
KENNETH L PERRY                                  910 T C LEA RD                                                                                  INDEPENDENCE     MO   64050‐3226
KENNETH L PHILLIPS                               3391 PRAIRIE STREET SW                                                                          GRANDVILLE       MI   49418‐1992
KENNETH L PIFKE & MRS MARILYN L PIFKE JT TEN     316 TREE LANE                                                                                   PROPHETSTOWN     IL   61277‐9118
KENNETH L POPE                                   272 BELVEDERE DR                                                                                EUTAWVILLE       SC   29048‐8701
KENNETH L PRAPPAS                                4031 JOHNSON ROAD                                                                               LOCKPORT         NY   14094‐1203
KENNETH L PROCTOR                                111 W NEEDMORE HIGHWAY                                                                          CHARLOTTE        MI   48813‐8627
KENNETH L RAGAN                                  966 TELEGRAPH RD                                                                                RISING SUN       MD   21911‐1908
KENNETH L REAMS                                  2950 NORTH PONE ROAD                                                                            GEORGETOWN       TN   37336‐4806
KENNETH L RICHARDSON                             13257 WAMPLERS LAKE RD R 2                                                                      BROOKLYN         MI   49230‐9569
KENNETH L RIGGINS GDN ERIC D GOODRICH            C/O STOWERS WEDDLE HENN               ONE VIRGINIA AVE SUITE 400                                INDIANAPOLIS     IN   46204‐3616
KENNETH L ROACH                                  1550 COLWOOD RD                                                                                 CARO             MI   48723‐9360
KENNETH L ROMIG & MARLENE A ROMIG JT TEN         3131 N SQUIRREL RD                    APT 254                                                   AUBURN HILLS     MI   48326
KENNETH L RUBIS                                  2017 28TH ST                                                                                    BAY CITY         MI   48708‐8109
KENNETH L SAPPER                                 10217 NW 24TH PLACE                                                                             SUNRISE          FL   33322
KENNETH L SCHABEL JR                             5420 W LOCKE RD                                                                                 PERRY            MI   48872
KENNETH L SCHARPHORN                             23533 CUTLER RD                                                                                 NEWAYGO          MI   49337‐9303
KENNETH L SCHMITT JR                             9003 BURLESON‐MANOR RD                                                                          MANOR            TX   78653
KENNETH L SCHULTE JR                             225 SAILAWAY CT                                                                                 HAVELOCK         NC   28532‐9449
KENNETH L SCHULTHEISS                            2068 GREENDALE DR                                                                               JENISON          MI   49428‐8135
KENNETH L SCHULTZ                                9511 S COOK RD                                                                                  LAKE             MI   48632‐9575
KENNETH L SCOTT & VALERIE G SCOTT JT TEN         4150 THUNDERBIRD DR                                                                             MARIETTA         GA   30067‐4753
KENNETH L SHARP & OPAL I SHARP JT TEN            16220 SUNSET WAY                                                                                LINDEN           MI   48451‐9639
KENNETH L SHILT                                  5937 PENN AVE                                                                                   DAYTON           OH   45432‐1732
KENNETH L SHROYER                                1701 COMMERCE AVE                     LOT #155                                                  HAYNES CITY      FL   33844‐3215
KENNETH L SMITH                                  5425 ROBIN DR                                                                                   GRAND BLANC      MI   48439‐7925
KENNETH L SMITH                                  6350 TONAWANDA CREEK RD                                                                         LOCKPORT         NY   14094‐9524
KENNETH L SMITH                                  6434 HIGHVIEW ST                                                                                LIBRARY          PA   15129‐9753
KENNETH L SMITH                                  3939 STERLING PT DR UNIT SSS4                                                                   WINTERVILLE      NC   28590‐8807
KENNETH L SPENCER JR                             PO BOX 632                                                                                      BOSTON           GA   31626‐0632
KENNETH L SPERLING                               3321 SUMMER CANYON DR                                                                           AUSTIN           TX   78732
KENNETH L SPITZIG                                500 ASHBURY FARMS DR                                                                            VANDALIA         OH   45377‐8707
KENNETH L STAHL                                  9518 SARATOGA RD                                                                                FT WAYNE         IN   46804‐7034
KENNETH L STARKEY                                HC 61 BOX 20                                                                                    NEW MARTINSVILLE WV   26155‐9782

KENNETH L STEAGALL                              490 GRIFFIN HALLOW RD                                                                            SHADY VALLEY    TN    37688‐5014
KENNETH L STILES                                13902 EDGECOMB COURT                                                                             CENTREVILLE     VA    20120‐1716
KENNETH L STOVER                                50 ELDORADO EAST STREET                                                                          TUSCALOOSA      AL    35405
KENNETH L STREETER                              8200 PENINSULAR DRIVE                                                                            FENTON          MI    48430‐9123
KENNETH L STROUD                                2737 E STALF RD                                                                                  COLUMBIA CITY   IN    46725‐9395
KENNETH L SWARTZ                                501 PLUSH MILL RD                      APT 306                                                   WALLINGFORD     PA    19086‐6069
KENNETH L TETER                                 4141 MCCARTY RD                        APT 119                                                   SAGINAW         MI    48603‐9324
KENNETH L THIELE & JOYCE C THIELE JT TEN        179 MOUNTAIN AVE                                                                                 MATAMORAS       PA    18336‐2202
KENNETH L THOMAS                                7100 RESCUE RD                                                                                   OWENDALE        MI    48754‐9769
KENNETH L THOMPSON                              303 30TH W ST                                                                                    TIFTON          GA    31794‐1342
KENNETH L THOMPSON                              7313 OLD RIVER DR                                                                                SHREVEPORT      LA    71105‐5322
KENNETH L TODD & DOROTHY F TODD JT TEN          2849 STEVENSON ST                                                                                FLINT           MI    48504‐7538
KENNETH L TODD & MARIE C MILLS & DOROTHY F TODD 2849 STEVENSON ST                                                                                FLINT           MI    48504‐7538
JT TEN
KENNETH L TODD & MARIE C MILLS JT TEN           2849 STEVENSON ST                                                                                FLINT           MI    48504‐7538
KENNETH L TOMAK                                 1091 PINE RIDGE RD                                                                               MARTIN          MI    49070‐8713
KENNETH L TRUSTY                                806 PLEASANT ST                                                                                  CHARLOTTE       MI    48813‐2210
KENNETH L TRUSTY & CHARLYNE M TRUSTY JT TEN     806 PLEASANT ST                                                                                  CHARLOTTE       MI    48813‐2210
KENNETH L TULLIS                                6358 S HUNTERS RUN                                                                               PENDLETON       IN    46064‐8709
KENNETH L TURNBOW                               13277 S JENNINGS RD                                                                              LINDEN          MI    48451‐9478
KENNETH L URBAN                                 71 SAFRAN AVE                                                                                    EDISON          NJ    08837
KENNETH L VANHORN                               7830 CO RD 97 RT #2                                                                              BELLVILLE       OH    44813‐9547
KENNETH L VOAKES                                5161 OXFORD COURT                                                                                SWARTZ CREEK    MI    48473‐1253
KENNETH L WAGNER                                4349 E MT MORRIS RD                                                                              MT MORRIS       MI    48458‐8978
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 582 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

KENNETH L WALKER                                   2947 AUSTIN AVE                                                                                 CLOVIS             CA    93611‐3937
KENNETH L WARD                                     22 E HIGH ST                                                                                    WOMELSDORF         PA    19567‐1311
KENNETH L WARREN & MRS NADINE K WARREN JT TEN      412 E SOUTHSIDE COURT                                                                           LOUISVILLE         KY    40214‐3026

KENNETH L WATERS                                   G3100 MILLER RD                        APT 19B                                                  FLINT              MI    48507‐1323
KENNETH L WHITE                                    1327 PURDUE                                                                                     UNIV CITY          MO    63130‐1813
KENNETH L WILLIAMS                                 4401 RICHARDSON RD                                                                              HOWELL             MI    48843‐9430
KENNETH L WILSON JR                                10318 NW BEAVER DRIVE                                                                           GRANGER            IA    50109
KENNETH L WOLFGANG                                 3168 WELD COUNTY RD #4                                                                          ERIE               CO    80516‐3117
KENNETH L WOOD                                     PO BOX 2171                                                                                     GAINESVILLE        GA    30503‐2171
KENNETH L WOODS                                    5612 HUMBOLDT AVE S                                                                             MINNEAPOLIS        MN    55419‐1632
KENNETH L WRIGHT                                   6366 E MT MORRIS RD                                                                             MT MORRIS          MI    48458‐9704
KENNETH L WUNDERLICH & VIOLET L WUNDERLICH JT      48160 PHEASANT DR                                                                               NEW BALTIMORE      MI    48047‐2266
TEN
KENNETH L WYATT                                    4739 WRENWOOD AVE                                                                               BALTIMORE          MD    21212‐4640
KENNETH L WYSE                                     6998 TERRELL                                                                                    WATERFORD          MI    48329‐1142
KENNETH L ZELLER                                   4059 CANEY CREEK LANE                                                                           CHAPEL HILL        TN    37034‐2076
KENNETH LA COURSE                                  PO BOX 51                              215 W WEXFORD AVE                                        BUCHLEY            MI    49620‐9512
KENNETH LANDAU                                     835 DIXIE LANE                                                                                  PLAINFIELD         NJ    07062‐2020
KENNETH LANE & BARBARA ANN LANE JT TEN             36565 SAMOA                                                                                     STERLING HEIGHTS   MI    48312‐3050

KENNETH LASAL & RITA J LASAL JT TEN                6677 RAPIDS RD                                                                                  LOCKPORT           NY    14094‐9542
KENNETH LAUDERDALE                                 47937 MAYFLOWER DR                                                                              LEXINGTON PARK     MD    20653‐2503
KENNETH LAVERN DICKESON                            605 LOUALICE DR                                                                                 COLUMBIAVILL       MI    48421‐9740
KENNETH LAWRENCE PIETSCH CUST BRIAN JOSEPH         10300 S BROOKHOLLOW CIRCLE                                                                      LITTLETON          CO    80126‐1800
PIETSCH UTMA CO
KENNETH LEE BLANKINSHIP                            9320 ISABELLA LANE                                                                              DAVISON            MI    48423‐2849
KENNETH LEE CAMPBELL                               154 OLD HARBOR ROAD                                                                             CHATHAM            MA    02633‐2319
KENNETH LEE COLLINS                                8814 CASTLE CT                                                                                  FRANKLIN           WI    53132‐8527
KENNETH LEE PEDDICORD & PATRICIA ANN PEDDICORD     1201 MUNSON                                                                                     COLLEGE STATION    TX    77840‐2522
JT TEN
KENNETH LEE PRICE                                  6580 SLEEPY HOLLOW PKWY                                                                         HILLSBORO          OH    45133‐9395
KENNETH LEE SALOMON                                1713 N LOGAN AVE                                                                                DANVILLE           IL    61832‐1619
KENNETH LEITCH TR KENNETH LEITCH LIVING TRUST UA   375 OCEAN VIEW AVENUE                                                                           KENSINGTON         CA    94707‐1223
03/16/00
KENNETH LEPIDI                                     19220 PARKE LN                                                                                  GROSSE ILE         MI    48138‐1022
KENNETH LEVIN                                      861 CEDAR LANE                                                                                  NORTHBROOK         IL    60062‐3537
KENNETH LEWIS                                      1022 FOREST LAKE DR                                                                             LEXINGTON          KY    40515‐6206
KENNETH LINDHJEM                                   100 ALEXANDER AVE                                                                               WHITE PLAINS       NY    10606‐2006
KENNETH LIS                                        19151 TIREMAN                                                                                   DETROIT            MI    48228‐3333
KENNETH LISIECKI                                   17918 COMMON RD                                                                                 ROSEVILLE          MI    48066‐4636
KENNETH LLOYD VASSAR                               9960 SCAIFE RD                                                                                  MOORINGSPORT       LA    71060‐8767
KENNETH LOESER                                     6851 MONROE RD                                                                                  PENTWATER          MI    49449‐9505
KENNETH LOUDERMILK                                 792 S OLIVE                                                                                     MARSHFIELD         MO    65706‐2000
KENNETH LOWMAN                                     14177 ROSEMONT                                                                                  DETROIT            MI    48223‐3553
KENNETH M ALDERMAN                                 3651 WEST 48 ST                                                                                 CLEVELAND          OH    44102‐6037
KENNETH M ALLEN                                    89 EDGEWOOD DR                                                                                  FLORHAM PARK       NJ    07932‐2530
KENNETH M ARNETT                                   218 DEEP LAKE DRIVE                                                                             WILLIAMSTOWN       MI    48895‐9018
KENNETH M ARNOULT                                  3701 FERRAN                                                                                     METAIRIE           LA    70002‐4537
KENNETH M ARNOULT & PATRICIA H ARNOULT JT TEN      3701 FERRAN DRIVE                                                                               METAIRIE           LA    70002‐4537

KENNETH M ARNOULT & PATRICIA H ARNOULT TEN         3701 FERRAN DRIVE                                                                               METAIRIE           LA    70002‐4537
COM
KENNETH M BALHORN                                  PO BOX 162                                                                                      COMINS             MI    48619‐0162
KENNETH M BALL                                     3454 WINTER CT                                                                                  WARREN             MI    48092‐3326
KENNETH M BAYUS                                    1615 FORD CT                                                                                    GROSSE POINTE      MI    48236‐2370
                                                                                                                                                   WOOD
KENNETH M BIGELOW                                  PO BOX 5                                                                                        OTTER LAKE         MI    48464‐0005
KENNETH M BOBBY                                    33495 HUNTER ST                                                                                 WESTLAND           MI    48185‐2845
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 583 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

KENNETH M BROWN                                   1913 JUDSON RD                                                                                 KOKOMO             IN    46901‐1717
KENNETH M BURG                                    3529 POST VALLEY DR                                                                            O FALLON           MO    63368‐7063
KENNETH M CAMPBELL                                506 SOUTH 3RD                                                                                  ODESSA             MO    64076‐1416
KENNETH M CARR                                    4009 RISING FAWN LN                                                                            COLUMBIA           TN    38401‐7357
KENNETH M CLARK                                   15559 FAIRFIELD                                                                                LIVONIA            MI    48154‐3009
KENNETH M CLARK                                   1200 NW ROANOKE DR                                                                             BLUE SPRINGS       MO    64015‐1560
KENNETH M COLE                                    1525 KAPPES ST                                                                                 INDIANAPOLIS       IN    46221‐1803
KENNETH M DAY                                     874 BROWN CITY RD                                                                              IMLAY CITY         MI    48444‐9419
KENNETH M DEVOS                                   PO BOX 16124                                                                                   MISSOULA           MT    59808‐6124
KENNETH M DICKINSON                               3357 FARRAND ROAD                                                                              CLIO               MI    48420
KENNETH M DOMAGALA                                6631 ROYAL PARKWAY S                                                                           LOCKPORT           NY    14094‐6704
KENNETH M DUBIE & MARIA R DUBIE JT TEN            185 POND VIEW DR                                                                               PRT WASHINGTN      NY    11050
KENNETH M DUNMIRE                                 16475 HEISER RD                                                                                BERLIN CENTER      OH    44401‐8711
KENNETH M DVORAK                                  320 MOURNING DOVE DR                                                                           NEWARK             DE    19711‐4120
KENNETH M FINNEGAN                                361 LANSDOWNE DR                                                                               WESTLAND           MI    48185‐3492
KENNETH M GOODMAN                                 1468 WESLEY DR                                                                                 GRIFFIN            GA    30224‐5276
KENNETH M GRANUCCI & MARCIA P GRANUCCI JT TEN     177 ALAMEDA DE LAS PULGAS                                                                      REDWOOD CITY       CA    94062‐2752

KENNETH M GREEN                               5868 BREAKWATER DR                                                                                 WINTER HAVEN       FL    33884‐3301
KENNETH M HALE JR                             14 W KING ST                                                                                       SHIPPENSBURG       PA    17257‐1212
KENNETH M HASS                                865 MAGNOLIA CIR                                                                                   LOMBARD            IL    60148‐3650
KENNETH M HEARNS                              169 MYRON ST                                                                                       ORTONVILLE         MI    48462‐8824
KENNETH M HOGANSON                            3854 S DAYTON WA 307                                                                               AURORA             CO    80014‐7259
KENNETH M HOLT                                237 OLD GOLDMINE RD                                                                                VILLA RICA         GA    30180‐3837
KENNETH M HOWARD                              1087 HOLLYWOOD BLVD                                                                                CLIO               MI    48420
KENNETH M HUFF & COLEEN HUFF JT TEN           9503 S ROYAL CREST COURT                                                                           FREDERICKSBURG     VA    22408‐8771
KENNETH M JOHNSON                             5133 NORTH WAYNE DR                                                                                BEVERLY HILLS      FL    34465
KENNETH M JOHNSON                             5228 RIDGEFALLS WAY                                                                                ANTIOCH            TN    37013‐4241
KENNETH M JONES                               129 OAK LN                                                                                         SCOTTS VALLEY      CA    95066‐4120
KENNETH M KACZMARSKI                          172 HOMESITE LOOP                                                                                  CLIMAX SPRINGS     MO    65324‐2485
KENNETH M KING                                9470 GARFORTH                                                                                      WHITE LAKE         MI    48386‐3228
KENNETH M KING                                936 ARMSTRONG LN                                                                                   COLUMBIA           TN    38401‐6915
KENNETH M KLATT TOD KENNETH MUNSON KLATT KARL 5502 LAKE MENDOTA DR                                                                               MADISON            WI    05370
MUNSON KLATT
KENNETH M KLOC                                10555 BERGTOLD ROAD                                                                                CLARENCE           NY    14031‐2104
KENNETH M KLOOZE CUST KIMBERLY J KLOOZE U/THE RR #2                                     BOX 530                                                  ANGOLA             IN    46703
INDIANA U‐G‐M‐A
KENNETH M KRANZ                               16367 SUNSET WAY                                                                                   LINDEN             MI    48451‐9640
KENNETH M KUBINA                              508 WILSON AVE                                                                                     STRUTHERS          OH    44471‐1268
KENNETH M LATIMER & MRS DOROTHY J LATIMER JT  PO BOX 474                                                                                         SUMMITVILLE        TN    37382‐0474
TEN
KENNETH M LAWHON & FLORENCE L LAWHON JT TEN   42264 GAINSLEY DRIVE                                                                               STERLING HEIGHTS   MI    48313‐2560

KENNETH M LAYNE                                   3973 SALMON HARBOR RD                                                                          UNIONVILLE         IN    47468‐9524
KENNETH M LEACH                                   1954 STAFFORD AVE                                                                              THE VILLAGES       FL    32162‐7784
KENNETH M LEMASTER SR & DORIS L LEMASTER JT TEN   1123 SHEPHERDSTOWN RD                                                                          MARTINSBURG        WV    25401‐0739

KENNETH M LEONARD                                4137 BALLENTINE RD                                                                              DEWITT             MI    48820‐9791
KENNETH M LI                                     19 ST GEORGES RD                                                                                EAST BRUNSWICK     NJ    08816‐4626
KENNETH M LIPMAN                                 14 VIOLET LANE                                                                                  COMMACK            NY    11725‐3627
KENNETH M LONDON & VIKI LONDON JT TEN            174 PARKSIDE DRIVE                                                                              ROSLYN HEIGHTS     NY    11577‐2210
KENNETH M LUCYSHN IN TRUST FOR KRISTEN L LUCYSHN 3 KNOTS LANDINGS                       STONEY CREEK ON                        L8E 4H2 CANADA

KENNETH M LUCYSHN IN TRUST FOR MICHEAL R          3 KNOTS LANDING                       STONEY CREEK ON                        L8E 4H2 CANADA
LUCYSHN
KENNETH M MAULDIN                                 4979 COUNTY ROAD 502                                                                           BAYFIELD           CO    81122
KENNETH M MC ROBERTS                              8205 W MT MORRIS                                                                               FLUSHING           MI    48433‐8854
KENNETH M MCLAUGHLIN                              2412 DESERT BUTTE DR                                                                           LAS VEGAS          NV    89134‐8865
KENNETH M MCMAHON                                 4128 HADLEY RD                                                                                 METAMORA           MI    48455‐9746
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 584 of 855
Name                                            Address1                             Address2             Address3          Address4          City              State Zip

KENNETH M MEEKER                                13540 SOUTH CHIPPEWA TRAIL                                                                    HOMER GLEN        IL    60491
KENNETH M MEEKER & KAREN D MEEKER JT TEN        13540 SOUTH CHIPPEWA TRAIL                                                                    HOMER GLEN        IL    60491
KENNETH M MILANO                                24405 SHERBORNE                                                                               BEDFORD HTS       OH    44146‐4054
KENNETH M MOFFETT                               1909 RIVER SHORES                                                                             KNOXVILLE         TN    37914‐6027
KENNETH M NARTKER                               214 TUXWORTH RD                                                                               CENTERVILLE       OH    45458‐2451
KENNETH M NEWGARD                               PO BOX 321                                                                                    POLSON            MT    59860‐0321
KENNETH M NITKA                                 6159 SOUTH 39TH STREET                                                                        GREENFIELD        WI    53221‐4519
KENNETH M O'KEEFE                               103 COLONIAL DR E                                                                             GRAND ISLAND      NY    14072‐1850
KENNETH M PATRICK                               205 S E 30TH                                                                                  MOORE             OK    73160‐7501
KENNETH M PFRANG & CYNTHIA L PFRANG JT TEN      1422 N AMBROSIA                                                                               MESA              AZ    85205‐4355
KENNETH M PIER                                  1900 N 83RD ST                                                                                KANSAS CITY       KS    66112‐1715
KENNETH M RAHMOELLER                            4248 WHITE BIRCH DRIVE                                                                        WEST BLOOMFIELD   MI    48323‐2676

KENNETH M RASMUSSEN & EILEEN M RASMUSSEN JT     10400 SW NICHOLE DR                                                                           POWELL BUTTO      OR    97753
TEN
KENNETH M RICHARDSON                            2217 NOLITA CT                                                                                NOLENSVILLE       TN    37135‐5011
KENNETH M RICHARDSON & MRS BARBARA V            2217 NOLITA CT                                                                                NOLENSVILLE       TN    37135‐5011
RICHARDSON JT TEN
KENNETH M ROCCO & JILL H ROCCO JT TEN           P.O. BOX 555                                                                                  LUDINGTON         MI    49431
KENNETH M ROSENGARTEN TR ELISABETH M            119 CHARLES DR                                                                                HAVERTOWN         PA    19083‐1008
ROSENGARTEN TRUST UA 08/04/67
KENNETH M SCHULZ                                4360 BARTON RD                                                                                LANSING           MI    48917‐1656
KENNETH M SEATON                                BOX 10                                                                                        PIGEON FORGE      TN    37868‐0010
KENNETH M SIDDALL                               3560 DRIFTWOOD DR                    WINDSOR ON                             N9E 4G9 CANADA
KENNETH M STEPHENS                              8930 E CHEROKEE DR                                                                            CANTON            GA    30115‐6156
KENNETH M STEWART & BARBARA A STEWART JT TEN    320 BRIDGE ST                                                                                 WAYNESBURG        PA    15370‐1440

KENNETH M SWEENEY                               2320 PINGREE RD                                                                               HOWELL            MI    48843‐9682
KENNETH M TESTER                                C/O DAWN HASKELL                     22 W TIPPY LANE                                          SANFORD           MI    48657‐9756
KENNETH M THOMSON                               4484 CARMANWOOD DRIVE                                                                         FLINT             MI    48507‐5653
KENNETH M THOMSON & MRS CARLA J THOMSON JT      4484 CARMANWOOD                                                                               FLINT             MI    48507‐5653
TEN
KENNETH M THORPE SR CUST REBECCA JO THORPE      ATTN REBECCA THORPE STUHLEMMER       840 FOREST LANE                                          MALVERN           PA    19355‐2806
U/THE PA U‐G‐M‐A
KENNETH M THUMSER                               13 HENRY ST                                                                                   ROCKAWAY          NJ    07866‐1711
KENNETH M TILLOTSON & KATHLEEN F TILLOTSON JT   14 MELROSE TERRACE                                                                            ELIZABETH         NJ    07208‐1706
TEN
KENNETH M VANHOOSE                              119 E 11TH ST                                                                                 PORT CLINTON      OH    43452‐2441
KENNETH M WENTZ CUST BONNY K WENTZ UGMA NE      40080 ARBOR LOOP                                                                              BATTLE LAKE       MN    56515‐9159

KENNETH M WENTZ CUST KENNETH M WENTZ III UGMA 40080 ARBOR LOOP                                                                                BATTLE LAKE       MN    56515‐9159
NE
KENNETH M WICZOREK                            3731 SHOREWOOD DRIVE                                                                            PORT HURON        MI    48060
KENNETH M WINGERT                             7R BLACKMON RD                                                                                  GRAND ISLAND      NY    14072‐2219
KENNETH M WORLEY                              1026 25TH ST N W                                                                                CANTON            OH    44709‐3721
KENNETH MACNAIR                               2815 CANARY COURT                                                                               COLUMBIA          TN    38401‐0205
KENNETH MADDOX                                17226 KEPPEN AVE                                                                                ALLEN PARK        MI    48101‐3105
KENNETH MADISON                               84 BEAVER ST                                                                                    NEW BRIGHTON      PA    15066‐2903
KENNETH MAGGIO                                263 THOMPSON AVE                                                                                N MIDDLETOWN      NJ    07748‐5357
KENNETH MALONE                                6725 S RIDGE DR                                                                                 LINCOLN           NE    68512
KENNETH MANN CUST MICHAEL MANN UGMA NY        PO BOX 152                                                                                      ATLANTIC BCH      NY    11509
KENNETH MARELICH                              524 N MILDRED ST                                                                                DEARBORN          MI    48128‐1775
KENNETH MARKS                                 PO BOX 67435                                                                                    SCOTTS VALLEY     CA    95067‐7435
KENNETH MARTIN ANDERSEN                       4603 77TH ST                                                                                    URBANDALE         IA    50322‐8304
KENNETH MARTIN BASTHOLM                       403 BOLLMAN AVE                                                                                 EDWARDSVILLE      IL    62025‐2501
KENNETH MARTIN GREGORY                        1729 MCLENDON AVE                                                                               ATLANTA           GA    30307‐1755
KENNETH MATHEWS                               PO BOX 48183                                                                                    OAK PARK          MI    48237‐5883
KENNETH MAXWELL BERNAS                        5 WOODCREST DR                                                                                  ORCHARD PARK      NY    14127
KENNETH MC CHESNEY                            424 S 4TH ST                                                                                    WAPELLO           IA    52653‐1408
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 585 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

KENNETH MCCONNELL & LINDA ANN MCCONNELL JT       2189 STATE HWY 43                                                                               RICHMOND           OH    43944‐7980
TEN
KENNETH MEDLEY                                   1804 RILEY ST                                                                                   JACKSONVILLE       FL    32250‐3150
                                                                                                                                                 BEACH
KENNETH MEISTER & CATHY MEISTER JT TEN           1564 ACREVIEW DR                                                                                CINCINNATI         OH    45240‐3502
KENNETH MEUSER                                   3977 NW 53RD ST                                                                                 BOCA RATON         FL    33496‐2705
KENNETH MICHAEL GLEN                             260 MEADOWVIEW DR                                                                               CANONSBURG         PA    15317‐2311
KENNETH MILLER                                   324 GOLDEN ROD                                                                                  BLUFFTON           IN    46714
KENNETH MITCHELL                                 170 BARTLETTSVILLE RD                                                                           BEDFORD            IN    47421‐7946
KENNETH MONAGHAN                                 1701 OCEAN AVE APT 13C                                                                          ASBURY PARK        NJ    07712‐5632
KENNETH MOORE                                    1187 RIVER VALLEY DR                   APT 4                                                    FLINT              MI    48532‐2951
KENNETH MOTLEY                                   5628 SO ORR RD                                                                                  ST CHARLES         MI    48655‐9568
KENNETH N BECKMAN                                4569 40TH ST S                                                                                  SAINT PETERSBURG   FL    33711‐4417

KENNETH N BROOKS                                 1646 WILDON AVE                                                                                 AKRON              OH    44306‐3334
KENNETH N CONYERS                                14843 LANNETTE ST                                                                               DETROIT            MI    48213‐1584
KENNETH N CRAIGIE                                39 CYR RD                                                                                       LITTLETON          NH    03561‐3700
KENNETH N DAVIS                                  519 ELM GROVE RD                                                                                ROCHESTER          NY    14606‐3345
KENNETH N DEW                                    818 LITCHFIELD CIRCLE                                                                           BEL AIR            MD    21014‐5279
KENNETH N FLOYD                                  2472 ROCKKNOLL DR                                                                               CONLEY             GA    30288‐1420
KENNETH N GIBSON                                 PO BOX 1052                                                                                     WILLOUGHBY         OH    44096‐1052
KENNETH N HARTMAN                                13401 KARL                                                                                      SOUTHGATE          MI    48195‐2414
KENNETH N HATHAWAY                               102 E KINSEL R 1                                                                                CHARLOTTE          MI    48813‐9708
KENNETH N ISERI                                  16142 CHIPPER LANE                                                                              HUNTINGTN BCH      CA    92649‐2750
KENNETH N KIDD                                   5225 ROBERTS DRIVE                                                                              FLINT              MI    48506‐1553
KENNETH N KOLB                                   10904 LONGMEADOW DR                                                                             DAMASCUS           MD    20872‐2243
KENNETH N LARUE                                  33508 EDMUNTON                                                                                  FARMINGTON         MI    48335‐5224
KENNETH N LOWE                                   6148 INDIAN TRACE DR                                                                            HAMILTON           OH    45011‐7142
KENNETH N MAY                                    1007 OAK DRIVE                                                                                  JACKSONVILLE       NC    28546‐9173
KENNETH N MC CONCHIE                             1510 HARDISON                                                                                   COLUMBIA           TN    38401‐1369
KENNETH N MOSLEY JR                              5 LASSY RD                                                                                      TERRYVILLE         CT    06786‐4200
KENNETH N POTTS                                  502 LAKE ONTERIO LANE                                                                           BOULDER CITY       NV    89005‐1023
KENNETH N PUETZER & JANICE C PUETZER JT TEN      4192 N 400 WEST                                                                                 LAPORTE            IN    46350‐8529
KENNETH N SINGLEY                                2168 FIVE FORKS TRICKUM                                                                         LAWRENCEVILLE      GA    30044‐5943
KENNETH N STEELE                                 526 WILSON DR                                                                                   XENIA              OH    45385‐1814
KENNETH N TAYLOR                                 232 HILLTOP RD                                                                                  ELKTON             MD    21921‐2410
KENNETH N TAYLOR                                 1034 GRENOBLE CIR                                                                               LANSING            MI    48917‐4811
KENNETH N UPLEGER & SANDRA A UPLEGER JT TEN      14324 KERNER                                                                                    STERLING HEIGHTS   MI    48313‐2133

KENNETH N WALLACE                                2950 S GREYFRIAR ST                                                                             DETROIT            MI    48217‐1037
KENNETH N WILEY                                  14 ACADEMY ST                                                                                   SARANAC LAKE       NY    12983‐1838
KENNETH N WILEY & MRS MARILYN J WILEY JT TEN     737 TIMBERVIEW DR                                                                               FINDLAY            OH    45840‐8632

KENNETH NATHANSON                                5 WHISPERING PINE RD                                                                            SUDBURY            MA    01776‐2737
KENNETH NEIGHBOR                                 1437 HOBSON AVE                                                                                 BUTTE              MT    59701‐3431
KENNETH NEIL SINGLEY                             2168 FIVE FONK TRICKUM ROAD                                                                     LAWRENCEVILLE      GA    30044‐5943
KENNETH NEIL VELZY & DARLA JAN VELZY JT TEN      4497 WOOD DUCK CT                                                                               LINDEN             MI    48451‐8410
KENNETH NIESTER                                  825 SHADY LAKE DR                                                                               BEDFORD            TX    76021‐4340
KENNETH O BANNING                                PO BOX 519                                                                                      ODESSA             DE    19730‐0519
KENNETH O BEARD                                  5101 S CR 800 E                                                                                 SELMA              IN    47383‐9307
KENNETH O BENT                                   2146 KNOLL DRIVE                                                                                DAYTON             OH    45431‐3107
KENNETH O BRADFORD                               3511 S 172ND ST                                                                                 SEATTLE            WA    98188‐3626
KENNETH O DUNCAN & RUTH ANN DUNCAN JT TEN        643 VILLAGE BLVD                                                                                FROST PROOF        FL    33843‐8373

KENNETH O HERZFELD                               15944 HORGER                                                                                    ALLEN PARK         MI    48101‐3606
KENNETH O KING                                   4604 FLETCHER                                                                                   INDIANAPOLIS       IN    46203‐1638
KENNETH O KULOW                                  6236 SHADY SHRS                                                                                 LAKE ANN           MI    49650‐9676
KENNETH O LEONARD                                312 DENVER STREET 202                                                                           RAPID CITY         SD    57701
KENNETH O LILEY                                  9382 DALE                                                                                       REDFORD            MI    48239‐1208
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 586 of 855
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

KENNETH O MENDELSOHN                               115 OAK STREET                                                                                 WOODMERE         NY    11598‐2644
KENNETH O OTTINGER                                 33712 HIVELEY                                                                                  WESTLAND         MI    48186‐4589
KENNETH O POLAND                                   2230 ORAOTA AVE                                                                                DAYTON           OH    45414‐5043
KENNETH O RAY                                      33918 SANDWOOD DR                                                                              WESTLAND         MI    48185‐9404
KENNETH O RUBLE                                    PO BOX 133                                                                                     PIEDMONT         MO    63957‐0133
KENNETH O SHOUP                                    333 E MUSKEGON                                                                                 CEDAR SPRINGS    MI    49319‐8573
KENNETH O WALTERS                                  1012 RED OAK DR                                                                                GIRARD           OH    44420‐1477
KENNETH ODELL PAGE                                 PO BOX 1847                                                                                    GEORGETOWN       CA    95634‐1847
KENNETH OLDENBURG                                  2810 S RIVER                                                                                   SAGINAW          MI    48609‐5387
KENNETH OTTO SOUZA                                 4901 W GRAND RIVER AVE                                                                         LANSING          MI    48906‐9108
KENNETH P BODINE                                   6279 ROBINHOOD LN                                                                              ASHTABULA        OH    44004‐4715
KENNETH P BOWES                                    10324 GENLOU RD                                                                                CHESTERFIELD     VA    23832
KENNETH P CANAVAN                                  3766 ROLLING HILLS RD                                                                          ORION            MI    48359‐1491
KENNETH P COAKLEY & MRS SHIRLEY A COAKLEY JT TEN   1698 JUNIPER DR                                                                                GREEN BAY        WI    54302‐2334

KENNETH P COLE                                     2315 EDWIN DR                                                                                  WARREN           MI    48092‐2102
KENNETH P CUNNINGHAM                               49514 SABLE CREEK DR                                                                           MACOMB           MI    48042‐4648
KENNETH P EVANS & SHARON R EVANS JT TEN            17125 CANTARA ST                                                                               VAN NUYS         CA    91406‐1038
KENNETH P FOLTZ                                    836 E FLORIDA AVE                                                                              YOUNGSTOWN       OH    44502‐2450
KENNETH P GALLOWAY                                 1012 N 1094 E                                                                                  GREENTOWN        IN    46936‐9566
KENNETH P GARWOOD                                  2311 EVADNA                                                                                    WATERFORD        MI    48327‐1013
KENNETH P HARTRICH                                 36 BRIARLEE DR                                                                                 TONAWANDA        NY    14150‐4306
KENNETH P HASKINS                                  5686 KINGFISHER                                                                                CLARKSTON        MI    48346‐2937
KENNETH P HASTINGS & KATHLEEN M HASTINGS JT TEN    7700 TURTLE HOLW                                                                               MAINEVILLE       OH    45039‐7110

KENNETH P HOFFMAN                                  3820 STARWOOD DRIVE                                                                            OKLAHOMA CITY    OK    73121‐6416
KENNETH P KANE                                     5401 BAYVIEW DRIVE                                                                             FT LAUDERDALE    FL    33308‐3439
KENNETH P LANDRY & ARLENE V LANDRY JT TEN          16550 COPPER KETTLE WAY                                                                        LA MIRADA        CA    90638‐2710
KENNETH P LAWSON                                   238 POOLES CREEK #2                                                                            COLD SPRINGS     KY    41076‐9722
KENNETH P LESHNER                                  18 PITTSFORD WAY                                                                               NANUET           NY    10954‐3518
KENNETH P MANICK & MRS JANE G MANICK JT TEN        4705 GOLF TERR                                                                                 EDINA            MN    55424‐1514

KENNETH P MOORE                                    37 BERNADETTE TERRACE                                                                          WEST SENECA      NY    14224‐3803
KENNETH P MUNN                                     3 WELLINGTON PL                                                                                GROSSE POINTE    MI    48230‐1919
KENNETH P MURRAY                                   3525 CADWALLADER‐SONK RD                                                                       CORTLAND         OH    44410‐9443
KENNETH P PEDLEY                                   905 ROSE LANE                                                                                  LADY LAKE        FL    32159‐2158
KENNETH P PENDYGRAFT                               163 DARRAGH DR                                                                                 BATTLE CREEK     MI    49015‐3742
KENNETH P PRYNE                                    16603 E 53RD TERRACE CT S                                                                      INDEPENDENCE     MO    64055‐6805
KENNETH P REED                                     2248 WHEATLAND RD                                                                              PITTSFORD        MI    49271‐9629
KENNETH P ROBERTS JR                               2 ROCKWELL ST                                                                                  NIANTIC          CT    06357‐3612
KENNETH P ROBINSON                                 2495 NORTH POLK ROAD                                                                           MOSCOW           ID    83843‐9013
KENNETH P SANDENO                                  1840 N PARADISE CV                                                                             MORRIS           IL    60450‐9673
KENNETH P SKALKA & JOYCE M SKALKA JT TEN           1936 JASMINE DR                                                                                INDIANAPOLIS     IN    46219
KENNETH P SNYDER                                   105 LASWELL LN                                                                                 CROSSVILLE       TN    38558
KENNETH P SONNENBERG                               2303 MINNEOLA RD                                                                               CLEARWATER       FL    33764‐4939
KENNETH P SWITRAS                                  PO BOX 1562                                                                                    MORRO BAY        CA    93443‐1562
KENNETH P WADE                                     4285 MILAINE DRIVE                                                                             CINCINNATI       OH    45245‐1725
KENNETH P WECHSELBERGER                            927 PARKVIEW LN                                                                                SOUTHLAKE        TX    76092‐8424
KENNETH P WIECHEC                                  2835 LAUREL RD                                                                                 BRUNSWICK        OH    44212‐4210
KENNETH P WILLIAMS                                 1305 TANGLEWOOD DR                                                                             MANSFIELD        TX    76063‐7697
KENNETH P WILLIAMS JR                              12221 SIESTA DR                                                                                FT MYERS BCH     FL    33931‐6300
KENNETH PALMER CUST ISAAC WILLIAMSZ UTMA MD        3513 SMITHVILLE DR                                                                             DUNKIRK          MD    20754

KENNETH PALUCH                                     12429 GENESEE RD P O BOX 47                                                                    SARDINIA         NY    14134‐0047
KENNETH PARKER & MRS MARY PARKER JT TEN            42 BENTLEY AVENUE                                                                              JERSEY CITY      NJ    07304‐1902
KENNETH PARKER WILTON                              1442 EAST LINCOLN AVE                 # 183                                                    ORANGE           CA    92865
KENNETH PASSICK                                    405 W PLAINS ST                                                                                EATON RAPIDS     MI    48827‐1441
KENNETH PATERSON                                   10701 SHERWOOD TRAIL                                                                           NORTH ROYALTON   OH    44133‐1981
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 587 of 855
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

KENNETH PATTERSON                                 18239 VILLA PARK ST                                                                           LA PUENTE         CA    91744
KENNETH PAUL FLECHTER                             9401 S W 36ST                                                                                 MIAMI             FL    33165
KENNETH PAUL NELSON                               157 HAGEN AVE                                                                                 NO TONAWANDA      NY    14120‐4460
KENNETH PERRY                                     91 EISEMAN AVE                                                                                KENMORE           NY    14217‐1619
KENNETH PIERSON & MRS EUGENIA PIERSON TEN ENT     C‐027 FAIRHAVEN                      7200 THIRD AVENUE                                        SYKESVILLE        MD    21784‐5201

KENNETH PITTSFORD                             12401 S 700 W                                                                                     MIDDLETOWN        IN    47356
KENNETH POLLACK CUST MICAH HIRAM POLLACK UGMA 3815 RODMAN ST NW #A‐13                                                                           WASHINGTON        DC    20015
NJ
KENNETH PREADMORE                             782 FOXVIEW LANE                                                                                  MASON             MI    48854‐1418
KENNETH PROFFITT                              4021 REDBANK RD                                                                                   CINCINNATI        OH    45227‐3415
KENNETH PUTKOVICH                             15119 FAIRLAWN AVE                                                                                SILVERSPRING      MD    20905‐5610
KENNETH R ADAMS                               5418 W 25TH ST                                                                                    SPEEDWAY          IN    46224‐3907
KENNETH R APPEL                               3514 ADMIRALTY LANE                                                                               INDIANAPOLIS      IN    46240‐3567
KENNETH R BABB TR KENNETH R BABB REVOCABLE    19 51ST STREET                           WASAGA BEACH ON                        L9Z 1X5 CANADA
LIVING TRUST UA 12/03/98
KENNETH R BAKER JR                            53488 COUNTRY ROAD 11N                                                                            ELKHART           IN    46514
KENNETH R BEASLEY                             1939 PRAIRIE RD                                                                                   MONROE            LA    71202‐8172
KENNETH R BEHLING & LORRAINE F BEHLING JT TEN S 70 W 15265 HONEYSUCKLE CIR                                                                      MUSKEGO           WI    53150‐7938

KENNETH R BELFIELD                                PO BOX 154                                                                                    GASPORT           NY    14067‐0154
KENNETH R BENDER                                  132 PENNYPACKER DRIVE                                                                         WILLINGBORO       NJ    08046‐2621
KENNETH R BESAW                                   1128 S MANNING HILL RD                                                                        LACHINE           MI    49753‐9491
KENNETH R BEYER                                   4406 RIDGE ROAD                                                                               LOCKPORT          NY    14094‐9731
KENNETH R BLEVINS                                 22121 BROOKFIELD COURT                                                                        SOUTH LYON        MI    48178‐2537
KENNETH R BLEVINS & DIANE C BLEVINS JT TEN        22121 BROOKFIELD CT                                                                           SOUTH LYON        MI    48178‐2537
KENNETH R BOYCE                                   79354 CALLE SONRISA                                                                           LA QUINTA         CA    92253‐5940
KENNETH R BOYD                                    8512 LOCKWOOD PL N                                                                            INDIANAPOLIS      IN    46217‐6012
KENNETH R BRANDELL                                7688 SCOTT RD                                                                                 OLIVET            MI    49076‐9637
KENNETH R BROOKS                                  123 S ADAMS                                                                                   WESTMONT          IL    60559‐1901
KENNETH R BROOKS & MARGARET A BROOKS JT TEN       123 S ADAMS                                                                                   WESTMONT          IL    60559‐1901

KENNETH R BRUNO                                   75 ELDER ST                                                                                   ROCHESTER         NY    14606‐5607
KENNETH R BRYA                                    1135 EAST ALWARD ROAD                                                                         DEWITT            MI    48820‐9748
KENNETH R BURR                                    43 RIDGE ROAD                                                                                 WETHERSFIELD      CT    06109‐1063
KENNETH R CARIE                                   5460 BRUNSWICK                                                                                WATERFORD         MI    48327‐2505
KENNETH R CARMONY                                 1245 WENDELL                                                                                  YPSILANTI         MI    48198‐3145
KENNETH R CARR JR                                 2043 HARTWICK LANE                                                                            HOWELL            MI    48843‐9085
KENNETH R CASS                                    10705 GRIFFITH PARK DR NE                                                                     ALBUQUERQUE       NM    87123‐4858
KENNETH R CHANEY                                  30 JUSTIN PL                                                                                  HAMILTON          OH    45013‐6026
KENNETH R COE JR                                                                                                                                VENTURA           IA    50482
KENNETH R COLLINS                                 29380 DEQUINDRE RD                   APT 204                                                  WARREN            MI    48092‐2145
KENNETH R CONEY                                   255 N RIVER DR                                                                                PENNSVILLE        NJ    08070‐1208
KENNETH R COUSINEAU                               226 JOFFRE AVE                                                                                WOONSOCKET        RI    02895‐6059
KENNETH R CRIDER                                  910 POWELL RIDGE RD                                                                           SPEEDWELL         TN    37870‐7510
KENNETH R DAHLSTROM                               1301 ENGLISH SETTLEMENT AVE                                                                   BURLINGTON        WI    53105
KENNETH R DAVIS                                   1827 PATTERSON                                                                                ORTONVILLE        MI    48462‐9217
KENNETH R DE AVILA                                7 FAITH HILL                                                                                  DEDHAM            MA    02026‐2324
KENNETH R DEAN                                    2572 LAMBETH PARK                                                                             ROCHESTER         MI    48306‐3040
KENNETH R DEAN & LESLIE E DEAN JT TEN             2572 LAMBETH PARK                                                                             ROCHESTER         MI    48306‐3040
KENNETH R DELGRECO                                25229 BIRCHWOODS DRIVE                                                                        NOVI              MI    48374‐2106
KENNETH R DEMPZ                                   3095 HONOR                                                                                    ROCHESTER HILLS   MI    48909‐4013
KENNETH R DINSMORE                                R R NO 1 6775 E WONDERWAY                                                                     TIPP CITY         OH    45371‐9731
KENNETH R DOROTIAK                                8354 JACKMAN                                                                                  TEMPERANCE        MI    48182‐9458
KENNETH R DREWKE                                  19010 SOUTH WEST 91ST AVE                                                                     MIAMI             FL    33157‐7912
KENNETH R EHLERT TOD ELAINE L EHLERT SUBJECT TO   7923 LIBERTY AVE                                                                              CLEVELAND         OH    44129
STA TOD RULES
KENNETH R EICHORN                                 809 SANTA RITA WAY                                                                            THE VILLAGES      FL    32159‐0102
KENNETH R ERICKSON                                117 WORCESTER ST                                                                              WEST BOYLSTON     MA    01583‐1715
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 588 of 855
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

KENNETH R EUCKER                                6579 RT 305 N E                                                                                FOWLER          OH    44418‐9717
KENNETH R EVENSEN TR KENNETH R EVENSEN          17683 BALLANTRAE CIR                                                                           EDEN PRAIRIE    MN    55347‐3435
REVOCABLE TRUST UA 03/11/99
KENNETH R FAIRMAN                               2058 PHILLIPS AVE                                                                              HOLT            MI    48842‐1326
KENNETH R FIELDS                                435 E 65TH ST APT 3C                                                                           NEW YORK        NY    10021‐6969
KENNETH R FLOHR                                 6663 LEESVILLE ROAD                                                                            CRESTLINE       OH    44827‐9417
KENNETH R FOTHERGILL                            26 OAKHURST TERRACE                                                                            NORTH READING   MA    01864‐1129
KENNETH R FROMER                                9279 W BRISTOL RD                                                                              SWARTZ CREEK    MI    48473‐8502
KENNETH R FUGATE & CAROL O FUGATE TR UA         17567 DRIFTWOOD DR                                                                             TALL TIMBERS    MD    20690
04/21/2008 FUGATE LIVING TRUST
KENNETH R GAGER                                 1749 N ELY HW                                                                                  ALMA            MI    48801‐9332
KENNETH R GEISINGER                             8815 SGT CREEK COURT                                                                           INDIANAPOLIS    IN    46256
KENNETH R GEORGE                                8651 STATE RT 122 SOUTH                                                                        EATON           OH    45320‐9482
KENNETH R GIBBS                                 62 SNOWRIDGE CT                       RR#1                 OSHAWA ON         L1H 7K4 CANADA
KENNETH R GOOD                                  20331 BOURASSA                                                                                 BROWNSTOWN      MI    48183‐5001
KENNETH R GREEN                                 10001 E GOODALL RD                    UNIT D8                                                  DURAND          MI    48429‐9770
KENNETH R GREGORY                               9532 STATE RD 109 S                                                                            MARKLEVILLE     IN    46056‐9740
KENNETH R HALE                                  PO BOX 66                                                                                      ANTWERP         OH    45813‐0066
KENNETH R HANBY                                 BOX 253                                                                                        EMLENTON        PA    16373‐0253
KENNETH R HARDYMAN                              BOX 42                                                                                         BLANCHARDVILL   WI    53516‐0042
KENNETH R HARPER                                PO BOX 325                                                                                     BIRCH RUN       MI    48415‐0325
KENNETH R HARRIS                                12594 TENNYSON LN                     APT 101                                                  CARMEL          IN    46032‐5457
KENNETH R HARTMAN                               1195 AUTUMN COURT                                                                              PLEASANTON      CA    94566‐6429
KENNETH R HAYES                                 5821 LONG HWY                                                                                  EATON RAPIDS    MI    48827‐8004
KENNETH R HENDERSON                             PO BOX 146                                                                                     MAUMEE          OH    43537‐0146
KENNETH R HESSENAUER JR                         136 BRAKEFIELD DR                                                                              JANESVILLE      WI    53546‐2243
KENNETH R HILEMAN                               12424 LARIMER AVE                                                                              NO HUNTINGDON   PA    15642‐1346
KENNETH R HILEMAN & VIRGINIA M HILEMAN JT TEN   12424 LARIMER AVE                                                                              N HUNTINGDON    PA    15642‐1346

KENNETH R HOEH                                  1501 ANZA AVE SPC 31                                                                           VISTA           CA    92084‐3218
KENNETH R HOLLERS                               640 LINCOLN AVE                                                                                OWOSSO          MI    48867‐4624
KENNETH R HOLLEY                                31 ST PAUL MALL                                                                                BUFFALO         NY    14209‐2319
KENNETH R HOWARD                                6259 KNOWLESVILLE RD                                                                           OAKFIELD        NY    14125‐9431
KENNETH R HOWARD                                11384 PENROD ST                                                                                DETROIT         MI    48228‐1124
KENNETH R HOWARD                                1550 CANEY COURT LANE                                                                          CHAPEL HILL     TN    37034‐2086
KENNETH R HUGHES                                2408 STONEWOOD                                                                                 DOTHAN          AL    36301‐6205
KENNETH R HUMPHRIES                             1223 E DECAMP ST                                                                               BURTON          MI    48529‐1107
KENNETH R JENKINES                              2304 WEST MCCARTHY LANE                                                                        SAN MARCOS      TX    78666‐1050
KENNETH R JESSE                                 9407 PERRY ROAD                                                                                GOODRICH        MI    48438‐9745
KENNETH R JOCK                                  28 PLANTATION DR                      APT 104                                                  VERO BEACH      FL    32966‐7940
KENNETH R JOHNSON                               G 1237 GRAHAM RD                                                                               FLINT           MI    48504
KENNETH R JONES                                 10398 LEANN DR                                                                                 CLIO            MI    48420‐1948
KENNETH R JONES                                 BOX 305                                                                                        MOUNT LOOKOUT   WV    26678‐0305

KENNETH R JONES & LESLIE M JONES JT TEN         699 GATE POST DR                                                                               MT PLEASANT     SC    29464‐4944
KENNETH R JUSTICE                               1111 BOONE AVE                                                                                 ROSYLN          PA    19001‐4017
KENNETH R KARL & PAULINE E KARL JT TEN          209 E MAIN STREET                                                                              RICHMOND        MO    64085‐1811
KENNETH R KEILEN                                14264 DEXTER TRAIL                                                                             WESTPHALIA      MI    48894
KENNETH R KELLER                                1304 E ROAD 1                                                                                  EDGERTON        WI    53534‐9039
KENNETH R KELLY                                 1770 SANDBAR RD                                                                                KANKAKEE        IL    60901‐7611
KENNETH R KERR SR                               4349 FRANKLIN TRL                                                                              STERLING        MI    48659‐9405
KENNETH R KLEMCZEWSKI                           8005 BALFOUR AVE                                                                               ALLEN PARK      MI    48101‐2205
KENNETH R KNORTZ                                2495 SAWTOOTH OAK DR                                                                           LAWRENCEVILLE   GA    30043‐3462
KENNETH R KREIGER                               3067 WALKER LAKE ROAD RR 13                                                                    MANSFIELD       OH    44903‐8944
KENNETH R KURTZ                                 175 PROSPECT STREET                                                                            NEWTON FALLS    OH    44444‐1740
KENNETH R KUSANKE                               12509 CHIPPEWA ROAD                                                                            BRECKSVILLE     OH    44141‐2135
KENNETH R KUSZ                                  2909 REEN RD                                                                                   TOLEDO          OH    43613‐2563
KENNETH R LAATSCH                               3490 MANNION RD                                                                                SAGINAW         MI    48603‐1609
KENNETH R LE MAR                                12241 BROWNING RD                                                                              GARDEN GROVE    CA    92840‐2907
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                         Part 4 of 8 Pg 589 of 855
Name                                               Address1                               Address2                Address3           Address4          City             State Zip

KENNETH R LEDDEN                                   603 EAST BAY                                                                                        PERRY            FL    32347‐2811
KENNETH R LEE                                      810 TAYLOR PLACE                                                                                    O FALLON         MO    63366‐1756
KENNETH R LIPINSKI                                 9055 HUTCHINS                                                                                       WHITE LAKE       MI    48386‐3332
KENNETH R LOCKE                                    721 BATTLES                                                                                         NILES            OH    44446‐1305
KENNETH R LOGGINS JR                               23451 WOHLFEIL ST                                                                                   TAYLOR           MI    48180‐2356
KENNETH R LOVELL                                   98 SUMNER STREET                                                                                    NORWOOD          MA    02062‐4612
KENNETH R LUTES                                    310 MASONIC HOME DR                    APT 101                                                      MASONIC HOME     KY    40041‐9020
KENNETH R MABREY                                   6581 BALFOUR                                                                                        ALLEN PARK       MI    48101‐2303
KENNETH R MAYER                                    457 CALVERTON PL                                                                                    BRUNSWICK        OH    44212‐1819
KENNETH R MC DERMOTT & MRS ELIZABETH T MC          1505 GODDARD AVE                                                                                    LOUISVILLE       KY    40204‐1545
DERMOTT JT TEN
KENNETH R MCDANIEL                                 ROUTE ONE                                                                                           TAYLORSVILLE     MS    39168‐9801
KENNETH R MCDONALD                                 1141 WILDWOOD LANE                                                                                  BLUFFTON         IN    46714‐9306
KENNETH R MCLEMORE                                 10068 GUSTIN RIDER RD                                                                               BLANCHESTER      OH    45107‐8439
KENNETH R MERCER                                   645 ROUND TOP RD                                                                                    HARRISVILLE      RI    02830‐1041
KENNETH R MEYERS                                   47120 HARRY STREET                                                                                  UTICA            MI    48317‐3422
KENNETH R MICHIE                                   119 BURK ST                            OSHAWA ON                                  L1J 4C1 CANADA
KENNETH R MIDDLETON                                7017 BRANCH ST LOT 70                                                                               MT MORRIS        MI    48458‐9422
KENNETH R MILLEN & RITA MILLEN JT TEN              4 WIND BEAM CT                                                                                      EAST BRUNSWICK   NJ    08816‐4627
KENNETH R MILLER                                   3941 BIG PL CIRCLVL ROAD                                                                            LONDON           OH    43140‐9409
KENNETH R MILLER & KENNETH J MILLER JT TEN         C/O GREAT LAKES BENEFITS INC           ATTN KENNETH J MILLER   552 RAMBOW DRIVE                     MONROE           MI    48161
KENNETH R MILLER SR                                11387 N ELMS RD                                                                                     CLIO             MI    48420
KENNETH R MILLER TR KENNETH R MILLER 2001 LIVING   1805 E WESTERN RESERVE RD                                                                           YOUNGSTOWN       OH    44514‐5230
TRUST UA 9/26/01
KENNETH R MUELLER & KATHLEEN M MUELER JT TEN       1327 CHATILLON EST DR                                                                               HAZELWOOD        MO    63042‐1265

KENNETH R NEER & DONNA M NEER JT TEN               824 STROWBRIDGE DRIVE                                                                               HURON            OH    44839‐1446
KENNETH R PARKER                                   990 AVERILL AVE                                                                                     MANSFIELD        OH    44906‐1606
KENNETH R PARKER II                                8281 HERRINGTON AVE NE                                                                              BELMONT          MI    49306‐9776
KENNETH R PEOPLES & VELMA J PEOPLES TEN ENT        C/O ROBERT B STEWART III               300 PENN ST                                                  HUNTINGDON       PA    16652‐1446
KENNETH R PETEE                                    1197 VAN VLEET RD                                                                                   SWARTZ CREEK     MI    48473‐9751
KENNETH R PETKWITZ                                 1644 LASALLE BLVD                                                                                   HIGHLAND         MI    48356‐2746
KENNETH R PHILLIPS                                 1128 MACARTHUR DR                                                                                   JANESVILLE       WI    53545‐1411
KENNETH R PIKE                                     193 DUMAIRE ST                                                                                      WHITE LAKE       MI    48383‐2696
KENNETH R PONTIUS                                  1893 TRIUMPH AVE                                                                                    LAKE MILTON      OH    44429‐9735
KENNETH R PUTNAM & EDYTHE M PUTNAM JT TEN          6512 WATERFORD HILL TERRACE                                                                         CLARKSTON        MI    48346‐3382

KENNETH R PYTLEWSKI                                16103 WEST 135TH STREET                                                                             LEMONT           IL    60439‐4721
KENNETH R QUIST                                    12230 IRISH RD                                                                                      OTISVILLE        MI    48463‐9430
KENNETH R REEL                                     839 MARTINDALE RD                                                                                   VANDALIA         OH    45377‐9798
KENNETH R REESE                                    2032 STIRLING                                                                                       TROY             MI    48098‐1040
KENNETH R REGAN                                    2064 KATIE CT                                                                                       WINTER HAVEN     FL    33884‐3113
KENNETH R RICKETT                                  PO BOX 292                                                                                          FENTON           MI    48430‐0292
KENNETH R RINEHART                                 12121 POTTER RD                                                                                     DAVISON          MI    48423‐8147
KENNETH R ROLAND                                   BOX 176                                                                                             TELL CITY        IN    47586‐0176
KENNETH R ROSE                                     4445 LAYLIN ROAD                                                                                    NORWALK          OH    44857‐9115
KENNETH R ROSENSTEEL & PATRICIA A ROSENSTEEL JT    302 RIDGE BLVD                                                                                      CONNELLSVILLE    PA    15425‐1949
TEN
KENNETH R ROSS & KAREN L ROSS JT TEN               6032 N GULLEY RD                                                                                    DEARBORN HTS     MI    48127‐3088
KENNETH R ROVESTI                                  2280 TILBROOK DR                                                                                    MONROEVILLE      PA    15146‐4246
KENNETH R ROWLAND                                  76 GOODSPRINGS RD                                                                                   FREDONIA         KY    42411‐9723
KENNETH R SCHWABE                                  642 LOCUST ST                          APT 6‐F                                                      MT VERNON        NY    10552‐2616
KENNETH R SHAY                                     10414 RAY RD                                                                                        GAINES           MI    48436‐9607
KENNETH R SHELLNUT                                 31023 MOCERI CIR                                                                                    WARREN           MI    48088‐1855
KENNETH R SHILLINGBURG                             1843 SUNSET AVE                                                                                     AKRON            OH    44301‐3229
KENNETH R SHOEMAKER                                RR 1 BOX 104                                                                                        COOKSVILLE       IL    61730‐9750
KENNETH R SHUMAN                                   105 CHIEF DR                                                                                        JACKSON          MI    49201‐8154
KENNETH R SIEFERT                                  19788 29 1/2 MILE RD                                                                                SPRINGPORT       MI    49284‐9432
                                         09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 590 of 855
Name                                          Address1                               Address2             Address3          Address4          City               State Zip

KENNETH R SIMMONS & MRS NORMA L SIMMONS JT    2333 TROTT AVE                                                                                  VIENNA             VA    22181‐3134
TEN
KENNETH R SIMON                               11497 MONORE                                                                                    PORTLAND           MI    48875‐9346
KENNETH R SLATE                               2205 WEST TAMARACK                                                                              LAKE ODESSA        MI    48849‐9500
KENNETH R SMITH                               PO BOX 324                                                                                      HILLMAN            MI    49746‐0324
KENNETH R SORBER                              RR 391 OLD RT 115                                                                               DALLAS             PA    18612
KENNETH R SPANN                               18489 MANOR ST                                                                                  DETROIT            MI    48221‐1942
KENNETH R SPENCER                             1363 AMY ST                                                                                     BURTON             MI    48509‐1801
KENNETH R STACHERSKI JR                       82 RIVERMIST DRIVE                                                                              ELKTON             MD    21921
KENNETH R STANCZAK                            8235 MUNROVIA                                                                                   SHELBY TOWNSHIP    MI    48317‐1719

KENNETH R SULLIVAN                           34770 W 8 MILE RD                       APT 62                                                   FARMINGTON         MI    48335‐5125
KENNETH R TALLON                             49423 PECKWASWORTH RD                                                                            WELLINGTON         OH    44090‐9777
KENNETH R TERRY                              1424 CANYON DRIVE                                                                                JANESVILLE         WI    53546‐1343
KENNETH R THOMAS                             3665 SHERWOOD                                                                                    SAGINAW            MI    48603‐2066
KENNETH R TINSMAN                            23552 PEMBERVILLE RD                                                                             PERRYSBURG         OH    43551‐9284
KENNETH R TORR & MRS BEVERLY I TORR JT TEN   2131 W COUNTY RD                        300 SOUTH                                                GREENCASTLE        IN    46135‐9804
KENNETH R TOWNSEND & MRS IRENE F TOWNSEND JT 15 PICKETT DR                                                                                    WILMINGTON         NC    28412‐6706
TEN
KENNETH R TRACY SR                           6170 CRAM LANE                                                                                   CLARKSTON          MI    48346‐2404
KENNETH R TRAVIER                            1718 GLENROSE AVE                                                                                LANSING            MI    48915‐1521
KENNETH R VAN DYKE & ALICE VAN DYKE JT TEN   2062 BITTERROOT RD                                                                               BOZEMAN            MT    59718‐9705
KENNETH R VAN HOOSER                         2884 WALSH STREET                                                                                ROCHESTER HILLS    MI    48309‐4325
KENNETH R VANDEWALKER                        1713 WELCH BLVD                                                                                  FLINT              MI    48504‐3026
KENNETH R VERNON                             53 TAYLOR RD                                                                                     COLLINSVILLE       VA    24078‐1448
KENNETH R VOGELSONG                          PO BOX 439                                                                                       SHERWOOD           OH    43556‐0439
KENNETH R VORMELKER                          9323 STONE RD                                                                                    LITCHFIELD         OH    44253‐9702
KENNETH R VOWELL                             202 CARTER DR                                                                                    EULESS             TX    76039‐3851
KENNETH R WAGGONER & NANCY K WAGGONER JT TEN 4007 W LOCH ALPINE DRIVE                                                                         ANN ARBOR          MI    48103‐9021

KENNETH R WAGNER                              3939 PONTIAC LAKE RD                                                                            WATERFORD          MI    48328‐1255
KENNETH R WALDEN                              2621 S RITTER AVE                                                                               INDIANAPOLIS       IN    46203‐5728
KENNETH R WAWRZYNIAK                          426 S EDSON AVE                                                                                 LOMBARD            IL    60148‐2421
KENNETH R WELBAUM                             52411 WESTCREEK DRIVE                                                                           MACOMB             MI    48042‐2965
KENNETH R WHITE                               2672 INVITATIONAL DR                                                                            OAKLAND            MI    48363‐2455
KENNETH R WHITTEN                             1801 GRAFTON ROAD                                                                               ELYRIA             OH    44035‐8113
KENNETH R WILLIAMS                            242 NEWARK RD                                                                                   LANDENBERG         PA    19350‐9347
KENNETH R WILSON                              2 DENNIS WILBUR DR                                                                              CHARLTON           MA    01507‐1449
KENNETH R WIMMER                              489 KINGSWOOD DR                                                                                EL PASO            TX    79932‐2217
KENNETH R WINDLE                              3299 RIDGEWAY AVENUE                                                                            FLINT              MI    48504‐6940
KENNETH R WIRKNER                             762 1/2MAIN ST                                                                                  GRAFTON            OH    44044‐1313
KENNETH R WISNIEWSKI                          534 DODSON CT                                                                                   BAY CITY           MI    48708‐8428
KENNETH R WOLLER                              3418 CALEB COURT                                                                                WEST BEND          WI    53090‐1066
KENNETH R WOOD                                RR 5BOX 38                             651 FLOYE DRIVR                                          BOAZ               AL    35957‐9805
KENNETH R WRIGHT                              3583 STUTSMAN RD                                                                                BELLBROOK          OH    45305‐9793
KENNETH R WROBEL                              14531 REDFORD                                                                                   STERLING HEIGHTS   MI    48312‐5764

KENNETH R YAHL & SHIRLEYMAE YAHL JT TEN       14319 S 92ND COURT                                                                              ORLAND PARK        IL    60462‐2643
KENNETH R YOUNG & ALICE YOUNG JT TEN          1528 GREENSBORO RD                                                                              EUPORA             MS    39744
KENNETH RAY JOLLEY                            1334 LOVELADY RD                                                                                BYRDSTOWN          TN    38549‐4605
KENNETH RAY MC DANIEL                         374 CHINA GROVE ROAD                                                                            RUTHERFORD         TN    38369‐9785
KENNETH RAY SNODGRASS & LAURIE M SNODGRASS    BOX 311                                                                                         MAURICE            LA    70555
TEN COM
KENNETH RAY WARREN                            2801 PARK ST                                                                                    KANSAS CITY        MO    64109
KENNETH RAYMOND MARTIN                        703 HELEN ST                                                                                    MOUNT DORA         FL    32757‐4877
KENNETH RICHARD SELVY                         8710 NW 82ND TER                       APT B                                                    KANSAS CITY        MO    64152‐4167
KENNETH ROBERT COULTER                        2426 TRADITION CIR                                                                              LOUISVILLE         KY    40245‐5608
KENNETH ROBERT DUNN                           2 MC INTOSH CT                                                                                  NOVATO             CA    94949‐6630
KENNETH ROBERT LEWIS                          333 KENT AVE                                                                                    KENTFIELD          CA    94904‐2526
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 591 of 855
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

KENNETH ROBERT MATTIS                             5617 S KESSLER FREDERICK RD                                                                     TIPP CITY       OH    45371‐9605
KENNETH ROBERT WALTZ                              2279 THISTLEWOOD DRIVE                                                                          BURTON          MI    48509‐1252
KENNETH ROBINSON                                  3080 GADSDEN ST                                                                                 ALPHARETTA      GA    30022‐1592
KENNETH ROBINSON & MARILYN K ROBINSON JT TEN      3080 GADSDEN ST                                                                                 ALPHARETTA      GA    30022‐1592

KENNETH RODENHOUSE                                13090 PINEWOOD N E                                                                              GOWEN           MI    49326‐9727
KENNETH ROGERS                                    514 E 97TH TER                                                                                  KANSAS CITY     MO    64131‐4110
KENNETH ROINESTAD                                 1300 ROCKLAND AVE 1A                                                                            STATEN ISLAND   NY    10314‐4937
KENNETH RONALD EZARIK                             6504 HORATIO                                                                                    DETROIT         MI    48210‐2338
KENNETH ROSE & DORCAS B ROSE JT TEN               248 2ND ST                                                                                      TROY            NY    12180‐4614
KENNETH ROSENFELD                                 8 CHINA LN                                                                                      SETAUKET        NY    11733‐4052
KENNETH ROSSI                                     842 E NORTHRIDGE AVE                                                                            GLENDORA        CA    91741‐2814
KENNETH ROTMAN                                    29 DUNVEGAN RD                         TORONTO ON                             M4V 2P5 CANADA
KENNETH RUSH                                      1482 NOTTINGHAM NW                                                                              WARREN          OH    44485
KENNETH RUSH & WANDA RUSH JT TEN                  1482 NOTTINGHAM NW                                                                              WARREN          OH    44485‐2020
KENNETH RYAN & DORISS RYAN JT TEN                 708 SPYGLASS DR                                                                                 SANTA MARIA     CA    93455‐1668
KENNETH S ALBRIGHT                                3100 STATE ROAD 60 E                                                                            MITCHELL        IN    47446‐6126
KENNETH S ARING                                   110 S JACKSON ST APT 19                                                                         SPENCER         OH    44275‐9575
KENNETH S BAILEY                                  4397 STATE HWY 42                                                                               TURRELL         AR    72384‐9070
KENNETH S BARON & CO PROFIT SHARING PLAN          162 28TH AVE                                                                                    SAN FRANCISCO   CA    94121‐1036
KENNETH S BARTUNEK                                244 E 86TH ST                          APT 46                                                   NEW YORK        NY    10028‐3007
KENNETH S BEALL JR                                744 ISLAND DRIVE                                                                                PALM BEACH      FL    33480‐4743
KENNETH S BRAGIEL                                 2220 S FRASER RD                                                                                KAWKAWLIN       MI    48631‐9123
KENNETH S CAHILL                                  8133 EATON DR                                                                                   NORTHVILLE      MI    48167‐8609
KENNETH S DEDERICK                                3 1/2 SEITZ LN                                                                                  COS COB         CT    06807‐2145
KENNETH S EVANS                                   99 LITCHFIELD TPKE                                                                              BETHANY         CT    06524‐3540
KENNETH S FOLK JR CUST JULIA L FOLK UTMA AL       2510 GRAND POINT CIRCLE                                                                         BIRMINGHAM      AL    35226‐2318
KENNETH S GANT                                    3000 TUTTLE CREEK BLVD                 LOT 75                                                   MANHATTAN       KS    66502‐7124
KENNETH S GRYCZA                                  9107 WHITEFORD CENTER ROAD                                                                      OTTAWA LAKE     MI    49267‐9722
KENNETH S HAGIE SR                                8877 ORAMEL HILL RD                                                                             CANEADEA        NY    14717‐8775
KENNETH S HALL                                    1521 SOUTH CAMBRIDGE RD                                                                         LANSING         MI    48911‐1008
KENNETH S HEACOCK                                 1133 KANE RD                                                                                    STOCKBRIDGE     MI    49285‐9612
KENNETH S KELLY JR                                17089 PERIMETER RD                                                                              GRASS VALLEY    CA    95949
KENNETH S KIIM                                    R ROUTE 1 BOX 45                       FOOTE ROAD                                               CLINTON         NY    13323‐9708
KENNETH S LA FORCE                                64 PRUDENCE CT                                                                                  WARWICK         RI    02888‐5733
KENNETH S LARGE                                   1300 HUNTERS GLEN                                                                               BOARDMAN        OH    44512‐4089
KENNETH S LIETZ                                   2118 LINDEN AVE                                                                                 JANESVILLE      WI    53545‐2370
KENNETH S LYON                                    16117 W 124TH CIR                                                                               OLATHE          KS    66062‐4300
KENNETH S MCCLELLAN TR KENNETH S MCCLELLAN        2577 BRIDLEWOOD DR                                                                              HELENA          AL    35080‐3916
LIVING TRUSTUA 04/22/02
KENNETH S MITCHELL                                PO BOX 2912                                                                                     GLENDALE        AZ    85311‐2912
KENNETH S NOBLE                                   1205 E WASHINGTON ST                   APT 154                                                  WASHINGTON      IA    52353‐2100
KENNETH S OPIELA                                  7904 LARRICK COURT                                                                              SPRINFIELD      VA    22153‐2709
KENNETH S PARK                                    ATTN BOSTON CONSLTG                    EXCHANGE PL                                              BOSTON          MA    02109‐2803
KENNETH S PAYNE                                   246 HEMLOCK DR                                                                                  ELYRIA          OH    44035‐1423
KENNETH S PELC                                    728 KENSINGTON AVE                                                                              FLINT           MI    48503‐5331
KENNETH S PHILIBERT JR                            5907 CLEARVIEW CIRCLE                                                                           BOSSIER CITY    LA    71111‐5654
KENNETH S PHIPPS                                  10086 CONCORD RD                                                                                SEAFORD         DE    19973‐8647
KENNETH S PIONTEK                                 62290 ARLINGTON CIR                    UNIT 4                                                   SOUTH LYON      MI    48178‐1752
KENNETH S PUTKOVICH & KENNETH PUTKOVICH TEN       25389 LAKESIDE TER                                                                              LOXLEY          AL    36551‐7415
COM
KENNETH S REED                                    1644 E 700 S                                                                                    CLEARFIELD      UT    84015‐1402
KENNETH S REID                                    181 NORTH ST # 111                                                                              SALEM           MA    01970
KENNETH S RITTER & ELIZABETH P RITTER TR RITTER   37151 MEDOOL AVE                                                                                PALM DESERT     CA    92211
FAM TRUST UA 02/28/97
KENNETH S ROZNAY                                  11186 KATHERINE                                                                                 TAYLOR          MI    48180‐4287
KENNETH S SAMUELSON & MARIBEL S SAMUELSON JT      915 E 12TH AVE                                                                                  POST FALLS      ID    83854‐9004
TEN
KENNETH S SMITH                                   158 OSSIE HAYES RD                                                                              PICKENS         SC    29671‐8551
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 592 of 855
Name                                           Address1                               Address2             Address3          Address4          City            State Zip

KENNETH S SYDOR & CATHERINE A SYDOR JT TEN     30508 HOY ST                                                                                    LIVONIA         MI    48154‐3654
KENNETH S SYDOR CUST KATTIE M SYDOR UGMA MI    30508 HOY ST                                                                                    LIVONIA         MI    48154‐3654

KENNETH S SYDOR CUST KEVIN M SYDOR UGMA MI     30508 HOY ST                                                                                    LIVONIA         MI    48154‐3654

KENNETH S THOMAN                              833 ROAD 7 R R #5                       LEAMINGTON ON                          N8H 3V8 CANADA
KENNETH S WILEY                               435 WALNUT ST                                                                                    SHARPSVILLE     PA    16150‐1333
KENNETH S WONG & EMILY J WONG JT TEN          4432 VAN CORTLANDT PARK EAST                                                                     BRONX           NY    10470
KENNETH S WOOD                                32101 STATE ROAD 44                                                                              EUSTIS          FL    32736‐8623
KENNETH S YORE                                77 CENTRAL AVE                                                                                   ORMOND BEACH    FL    32174‐6361
KENNETH S ZAPOLI & MARILYN L ZAPOLI JT TEN    29709 MALVINA                                                                                    WARREN          MI    48093‐3764
KENNETH S ZAVISLAK                            1621 VERNOR RD                                                                                   LAPEER          MI    48446‐8797
KENNETH SANN                                  164 LONGVIEW TERRACE                                                                             WILLIAMSTOWN    MA    01267‐2915
KENNETH SCHMIDT                               BOX 771                                                                                          BRYAN MAWR      CA    92318‐0771
KENNETH SCHOEN                                2900 PROVIDENCE LANE                                                                             MONTGOMERY      IL    60538
KENNETH SCRIBNER                              22121 SUNNYSIDE ST                                                                               ST CLAIR SHRS   MI    48080‐3587
KENNETH SEGAN                                 PO BOX 1721                                                                                      SEATTLE         WA    98111‐1721
KENNETH SHEFFER JR                            C/O VALERIE FLOOD                       865 DUTCHWAY                                             CASTLETON       NY    12033
KENNETH SILER                                 PO BOX 150                                                                                       GRAY            KY    40734‐0150
KENNETH SINGLETARY                            314 WHITE FOX LANE                                                                               GOOSE CREEK     SC    29445‐2718
KENNETH SMITH                                 256 MAIN ST ER                                                                                   RANDOLPH        NY    14772‐9694
KENNETH SNADER                                8121 WOODBEND DR                                                                                 OKLAHOMA CITY   OK    73135‐6224
KENNETH SPELEDORE                             38‐16 54TH ST                                                                                    WOODSIDE        NY    11377‐2417
KENNETH STASIAK                               217 ELM RD                                                                                       PITTSBURGH      PA    15239‐1903
KENNETH STEEPLES & EILEEN P STEEPLES JT TEN   130 MIDDLESEX TPKE                                                                               BURLINGTON      MA    01803‐4417
KENNETH STONE                                 325 DARLING                                                                                      KALAMAZOO       MI    49001‐2156
KENNETH STRONG                                127 ARNIES DR                                                                                    CARROLTOWN      PA    15722‐7301
KENNETH STUART LYLE III                       702 LOUISE CIRCLE                                                                                DURHAM          NC    27705‐4489
KENNETH SUSTEN & RHONDA SUSTEN JT TEN         543 PENNY LN                                                                                     PHILADELPHIA    PA    19111‐1201
KENNETH SWEENEY                               107 RAINBOW LANE                                                                                 LAFOLLETTE      TN    37766‐5953
KENNETH SZMIGIEL & SYLVIA SZMIGIEL JT TEN     26554 RICHARDSON                                                                                 DEARBORN HTS    MI    48127‐1925
KENNETH T BAKER & BARBARA J BAKER JT TEN      3846 EAST 189TH STREET                                                                           CLEVELAND       OH    44122‐6565
KENNETH T BROCK                               8344 RIDGE ROAD                                                                                  GOODRICH        MI    48438‐9482
KENNETH T CROSWELL                            3913 TILA ROAD                                                                                   BALTIMORE       MD    21234‐1323
KENNETH T FOREMAN CUST KENT T FOREMAN UTMA CA 1817A SPRINGER RD                                                                                MOUNTAIN VIEW   CA    94040

KENNETH T GREMBOWSKI                           730 CRANBROOK DR                                                                                SAGINAW         MI    48603‐5771
KENNETH T HALEY                                1616 WILDROSE DR                                                                                BELVIDERE       IL    61008‐7309
KENNETH T HANSEN                               12225 SHANER AVE                                                                                CEDAR SPRINGS   MI    49319
KENNETH T HAYES                                2195 LAKE LOUISA RD                                                                             HIAWASSEE       GA    30546‐4324
KENNETH T LAMAY                                12107 SCHONBORN PLACE                                                                           CLIO            MI    48420‐2145
KENNETH T MARK                                 645 DEER CREEK RUN                                                                              DEERFIELD BCH   FL    33442‐1302
KENNETH T MORSE                                171 OAKWOODS DR                                                                                 PEACE DALE      RI    02883‐2512
KENNETH T NALEWYKO                             2094 GRIM RD                                                                                    BENTLEY         MI    48613‐9603
KENNETH T PATTERSON TR KENNETH T PATTERSON     34208 WOOD DR                                                                                   LIVONIA         MI    48154‐2536
TRUST UA 4/15/98
KENNETH T PETTY                                1636 LA RAMADA                                                                                  ARCADIA         CA    91006‐1822
KENNETH T STRYCHARZ                            123 COOLIDGE AVE                                                                                LAWRENCEVILLE   NJ    08648‐3713
KENNETH T WITTON                               3041 ROMAIN TRL                                                                                 SPRING HILL     TN    37174‐6176
KENNETH THOMAS                                 710 GIRARD ST                                                                                   MUSKOGEE        OK    74401‐3841
KENNETH THURMAND                               49239 LAGUNA DR                                                                                 BELLEVILLE      MI    48111‐4969
KENNETH TOBIASJR                               22636 WYNSMYTHE                                                                                 MATTAWAN        MI    49071‐9595
KENNETH TRAPPE                                 36470 AUDREY RD                                                                                 NEW BALTIMORE   MI    48047‐5564
KENNETH TURNER                                 1716 BACKBONE RIDGE                                                                             HAYSI           VA    24256
KENNETH V FRICK                                RR 1 BOX 5B                                                                                     ENGLISH         IN    47118‐9701
KENNETH V GEECK                                460 AMBERWOOD                                                                                   AUBURN HILLS    MI    48326‐1126
KENNETH V GREW                                 162 E LINWOOD                                                                                   LINWOOD         MI    48634‐9767
KENNETH V HAGEN & CAROLYN A HAGEN JT TEN       RURAL ROUTE 1                                                                                   BRUSSELS        IL    62013
KENNETH V JONES & VERNA H JONES JT TEN         56 FOREST CREEK DRIVE                                                                           HOCKESSIN       DE    19707‐2023
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 593 of 855
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

KENNETH V KRAWCHUK                               117 WEST AVE                                                                                   ELKINS PARK     PA    19027‐2016
KENNETH V KRAWCHUK CUST CARISSA M KRAWCHUK       117 WEST AVE                                                                                   ELKINS PARK     PA    19027‐2016
UGMA PA
KENNETH V KRESKOWIAK                             23159 SCOTCH PINE LN                                                                           MACOMB          MI    48042‐5367
KENNETH V KRUMM                                  11413 WARNER RD                                                                                WHITEWATER      WI    53190‐3133
KENNETH V MARION                                 1671 OAKLEAF DR                                                                                ST ANNE         IL    60964‐4457
KENNETH V MONTGOMERY                             5232 WEST STOLL RD                                                                             LANSING         MI    48906‐9381
KENNETH V RITTER                                 6809 FAIRFIELD AVE                                                                             CEDARBURG       WI    53012‐2601
KENNETH V WOODWORTH                              2021 N LIBERTY                                                                                 INDEPENDENCE    MO    64050‐1501
KENNETH VANCE                                    4947 COMSTOCK DR                                                                               STERLING HGTS   MI    48310‐5635
KENNETH VIA                                      179 WATSON DR                                                                                  FIELDALE        VA    24089
KENNETH W ANDERSON & JEAN J ANDERSON JT TEN      PO BOX 8189                                                                                    HORSESHOE BAY   TX    78657‐8189

KENNETH W BAILEY                                 1630 TULIP DR                                                                                  INDIANAPOLIS    IN    46227‐5668
KENNETH W BAUMAN                                 4333 MACKINAW ROAD                                                                             SAGINAW         MI    48603‐3111
KENNETH W BENSINGER                              38478 GAIL ROAD                                                                                MT CLEMENS      MI    48043
KENNETH W BERMEL                                 4555 RIDGE ROAD                                                                                LOCKPORT        NY    14094‐9722
KENNETH W BILLETT                                101 ELMWOOD DR                                                                                 CENTERVILLE     OH    45459‐4421
KENNETH W BISHOP                                 8138 NORMAL DR                                                                                 SAINT LOUIS     MO    63123‐2143
KENNETH W BLOHM JR                               3391 ELMPORT                                                                                   BRIDGEPORT      MI    48722‐9502
KENNETH W BREHM                                  4840 HAMILTON SCIPIO ROAD                                                                      HAMILTON        OH    45013‐8923
KENNETH W BROWN                                  17 SPINDRIFT CT                       APT 1                                                    BUFFALO         NY    14221‐7873
KENNETH W BULL                                   12316 SIKORSKI                                                                                 WILLIS          MI    48191‐9726
KENNETH W BUNTING                                2453 E MT MORRIS RD                                                                            MT MORRIS       MI    48458‐8957
KENNETH W CAMPBELL                               10486 N IRISH RD                                                                               OTISVILLE       MI    48463‐9425
KENNETH W CAREY                                  917 DEER RUN                                                                                   AMHERST         OH    44001‐2588
KENNETH W CARLSON                                526 BROAD ST                                                                                   TONAWANDA       NY    14150‐1830
KENNETH W CARY                                   13612 GULF BREEZE ST                                                                           FORT MYERS R    FL    33907‐1835
KENNETH W CHANCE                                 1931 W GREENBRIAR                                                                              ORANGE          TX    77632‐4545
KENNETH W CLARK & ROBIN K CLARK JT TEN           132 WINDING WOOD WAY                                                                           BATTLE CREEK    MI    49014‐7819
KENNETH W COLBURN & MRS MARGARET COLBURN JT      PO BOX 7543                                                                                    GILFORD         NH    03247‐7543
TEN
KENNETH W COLEMAN & MRS SARA F COLEMAN TEN       2904 HANOVER ST                                                                                DALLAS          TX    75225‐7800
COM
KENNETH W CORN                                   499 LONG SHOALS RD                                                                             ARDEN           NC    28704‐8795
KENNETH W COWGILL                                14309 SHOREHAM DRIVE                                                                           SILVER SPRING   MD    20905‐4481
KENNETH W CROSS                                  509 DESERT SUMMIT CT                                                                           HENDERSON       NV    89052‐2347
KENNETH W CROUCH                                 3280 E OLD MYERS RD                                                                            BLOOMINGTON     IN    47408‐9537
KENNETH W DANIELS                                1700 ROWELL AVENUE                                                                             JOLIET          IL    60433‐8546
KENNETH W DARK & LEOTA E DARK JT TEN             12405 HAWKINS RD                                                                               BURT            MI    48417‐9750
KENNETH W DAVID                                  9919 LEAVESLY TRL                                                                              SANTEE          CA    92071‐7203
KENNETH W DAVIS                                  430 PEMBERTON DR                                                                               ELYRIA          OH    44035‐8886
KENNETH W DAVIS                                  PO BOX 141                                                                                     WARDSBORO       VT    05355‐0141
KENNETH W DYE                                    5930 CHADBOURNE                                                                                RIVERSIDE       CA    92505‐1208
KENNETH W ELLENBERGER                            1367 W PARK RD                                                                                 SLIPPERY ROCK   PA    16057‐4129
KENNETH W ELY                                    19765 CRANDELL                                                                                 BELLEVILLE      MI    48111‐9115
KENNETH W EMBERSON                               8888 W CRUM RD                                                                                 BLOOMINGTON     IN    47403‐9511
KENNETH W ERLER & BARBARA J ERLER JT TEN         6021 COVENTRY DR                                                                               SWARTZ CREEK    MI    48473‐8850
KENNETH W FARLEY                                 4591 STATE ROUTE 305                                                                           SOUTHINGTON     OH    44470‐9721
KENNETH W FERAN                                  1104 S 17TH ST                        APT 34                                                   PR DU CHIEN     WI    53821‐2644
KENNETH W FLANNERY & BARBARA J FLANNERY JT TEN   3216 CHANDLER CT                                                                               DAYTON          OH    45420‐1223

KENNETH W FLOYD                                  PO DRAWER B                                                                                    LYNDHURST       VA    22952
KENNETH W FOSTER                                 C/O JANE POWELL FOSTER                5515 S BRAESWOOD                                         HOUSTON         TX    77096‐4002
KENNETH W FRANCIS                                4793 E LOOP 820 S TRLR 31                                                                      FORT WORTH      TX    76119
KENNETH W FRY                                    15118 NATION RD                                                                                KEARNEY         MO    64060‐8114
KENNETH W GAGE & MRS JEANNE E GAGE JT TEN        3441 WENDOVER ROAD                                                                             TROY            MI    48084‐1259
KENNETH W GARNER                                 2025 JEFFERSON AVE SW                                                                          DECATUR         AL    35603‐1022
KENNETH W GEORGE                                 8505 MAYFIELD CT                                                                               CHARLESTON      SC    29406‐9529
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 594 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

KENNETH W HACKETT                              2980 DATURA RD                                                                                   VENICE             FL    34293‐3188
KENNETH W HALPIN                               2942 CHRISTIE DR                                                                                 WEST BRANCH        MI    48661‐9013
KENNETH W HAMBRICK & REBECCA A HAMBRICK JT TEN 3965 ROBERTANN DRIVE                                                                             KETTERING          OH    45420‐1062

KENNETH W HAVES                                  15 MASONVILLE CRES                    LONDON ON                              N5X 3T1 CANADA
KENNETH W HAVES                                  15 MASONVILLE CRESCENT                LONDON ON                              N5X 3T1 CANADA
KENNETH W HOWELL                                 2905 NIAGARA ST                                                                                BELLINGHAM         WA    98226
KENNETH W HUGHES                                 21630 SHARE                                                                                    ST CLAIR SHRS      MI    48082‐2217
KENNETH W JAMISON                                1302 LABROSSE STREET                                                                           DETROIT            MI    48226‐1014
KENNETH W JASPER & CHRISTINE K JASPER JT TEN     214 RED BUD CR                                                                                 CAMDENTON          MO    65020
KENNETH W JOHNSON                                26 APPLE ROAD                                                                                  BRISTOL            CT    06010‐3001
KENNETH W JOHNSON & MRS PATRICIA K JOHNSON JT    699 MALTA COURT NE                                                                             SAINT PETERSBURG   FL    33703‐3109
TEN
KENNETH W JOHNSTON                               PO BOX 182                                                                                     GREENSBORO         VT    05841‐0182
KENNETH W JOHNSTON                               29 SHERMAN RD                                                                                  FARMINGDALE        NY    11735‐2236
KENNETH W KAHLER & SHARON K KAHLER JT TEN        141 VILLA CREST DR                                                                             CRESTVIEW          FL    32536‐9287
KENNETH W KEMPER                                 1263 CASSANDRA CT                                                                              CINCINNATI         OH    45238‐4201
KENNETH W KIRKLAND                               BOX 179                                                                                        ALVARADO           TX    76009‐0179
KENNETH W KONIECZKA                              1082 N GALE RD                                                                                 DAVISON            MI    48423‐2505
KENNETH W KRENKEL                                14031 IROQUOIS WOODS DR                                                                        FENTON             MI    48430‐1639
KENNETH W KRENKEL & CAROL J KRENKEL JT TEN       14031 IROQUOIS WOODS DR                                                                        FENTON             MI    48430‐1639
KENNETH W KUSTRA                                 236 W NEBRASKA                                                                                 FRANKFORT          IL    60423‐1451
KENNETH W LACKIE                                 6629 32 ST NW                                                                                  WASHINGTON         DC    20015‐2309
KENNETH W LEWIS                                  1711 WORTHINGTON DR                                                                            FORT WAYNE         IN    46845‐2387
KENNETH W LITTLEPAGE                             PO BX 31191                                                                                    CINCINNATI         OH    45231‐0191
KENNETH W LONG                                   568 MELINDA FERRY RD                                                                           ROGERSVILLE        TN    37857‐5873
KENNETH W LOOMIS                                 8510 MAPLE RD                                                                                  BRIDGEPORT         MI    48722‐9700
KENNETH W MARSHALL & LUAN F MARSHALL JT TEN      1722 MICHELLE LANE                                                                             GREENWOOD          IN    46142‐1328

KENNETH W MATTHEWS                               BOX 96                                                                                         TAYLOR SPRING      IL    62089‐0096
KENNETH W MC NEIL                                182 AIRPORT LN                                                                                 CAMERON            SC    29030‐8329
KENNETH W MC NELLY                               36493 PARKDALE                                                                                 LIVONIA            MI    48150‐2558
KENNETH W MCCLELLAN                              1457 PEACHWOOD DRIVE                                                                           FLINT              MI    48507‐5632
KENNETH W MCCLELLAN & COLLEEN L MCCLELLAN JT     1457 PEACHWOOD DRIVE                                                                           FLINT              MI    48507‐5632
TEN
KENNETH W MCHATTIE II                            5703 GLEN ALLEN LANE                                                                           HOUSTON            TX    77069‐1841
KENNETH W MEAD                                   1207 SORRENTO LN                                                                               FLINT              MI    48507‐4027
KENNETH W MIECNIKOWSKI                           2 GLENDON COURT                                                                                HUNTINGTON         NY    11743‐2819
KENNETH W MITCHELL                               3495 RAINBOW DR                                                                                DECATUR            GA    30034‐1820
KENNETH W MOEBS                                  14770 MULBERRY CT                                                                              SHELBY TOWNSHIP    MI    48315‐4313

KENNETH W MONTGOMERY                             7807 W SAGINAW HWY                                                                             LANSING            MI    48917‐8679
KENNETH W MONVILLE                               4659 CLAUDIA DR                                                                                WATERFORD          MI    48328‐1101
KENNETH W MOORE                                  1057 KETTERING                                                                                 BURTON             MI    48509‐2347
KENNETH W MORELAND                               995 DALEEN RD                                                                                  HAUGHTON           LA    71037‐8975
KENNETH W MORRISON & PHYLLIS J MORRISON JT TEN   720 E IRVING AVE                                                                               OSHKOSH            WI    54901

KENNETH W MOSS                                   8448 ANCHOR BAY DR                                                                             CLAY               MI    48001‐3505
KENNETH W MUNDY                                  340 DAVID                                                                                      SOUTH AMBOY        NJ    08879‐1730
KENNETH W MURRISH & EMMA C MURRISH JT TEN        633 MEADOW LN                                                                                  ROCHESTER          MI    48307

KENNETH W MYERS                                  218 LEDDY LA                                                                                   MARBLEHEAD         OH    43440‐9598
KENNETH W NICHOLS                                229 DEMAREST DRIVE                                                                             INDIANAPOLIS       IN    46214‐2931
KENNETH W ODOM                                   2327 PONTOON RD                                                                                GRANITE CITY       IL    62040‐4022
KENNETH W ONEILL                                 12100 CO RD 5                                                                                  DELTA              OH    43515‐9720
KENNETH W OTTO JR ATTN PURVIN & GERTZ INC        11307 CHESTNUT WOODS TRL                                                                       HOUSTON            TX    77065‐3354
KENNETH W PAPESH                                 486 W FRANCIS ROAD                                                                             NEW LENOX          IL    60451‐1013
KENNETH W PEEK                                   9402 UPPER SNAKE RD                                                                            ATHENS             AL    35614‐3809
KENNETH W PERDUE                                 6008 ARBOR VIEW TERRACE                                                                        CHESTER            VA    23831‐7768
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 595 of 855
Name                                            Address1                               Address2                   Address3    Address4          City              State Zip

KENNETH W PERRY                                 1350 W LOCUST                                                                                   MIDDLETOWN        IN    47356‐1133
KENNETH W PETHERS                               4414 N WASHBURN RD                                                                              DAVISON           MI    48423‐8006
KENNETH W PETRIE & KATHLEEN H PETRIE JT TEN     432 13TH AVE NORTH                                                                              SOUTH ST PAUL     MN    55075‐1938
KENNETH W PHILLIPS                              10328 LAVANO LANE                                                                               DALLAS            TX    75228‐3237
KENNETH W REDMORE                               48 LYNACRES BLVD                                                                                FAYETTEVILLE      NY    13066‐1033
KENNETH W REED                                  5580 GLOVERS LAKE RD                   PO BOX 103                                               ARCADIA           MI    49613‐0103
KENNETH W REPPLE JR                             14798 GLEN EDEN DRIVE                                                                           NAPLES            FL    34110‐4610
KENNETH W RIEDEL                                13193 N CENTER RD                                                                               CLIO              MI    48420‐9120
KENNETH W SCHAFER                               6304 W WILLOW HWY                                                                               LANSING           MI    48917‐1217
KENNETH W SCHORAH                               1111 FLINT HILL ROAD                                                                            WILMINGTON        DE    19808‐1911
KENNETH W SCHULTZ                               9428 HILE ROAD                                                                                  RAVENNA           MI    49451‐9474
KENNETH W SCHULTZ SR & KAREN J SCHULTZ JT TEN   9428 HILE RD                                                                                    RAVENNA           MI    49451‐9474

KENNETH W SCOVILLE                              26 ORANGE RD                                                                                    MIDDLETOWN        CT    06457
KENNETH W SHARPLEY                              3131 N SQUIRREL RD                     APT 245                                                  AUBURN HILLS      MI    48326‐3952
KENNETH W SHROPSHIRE JR                         102 FIELDCREST DR                                                                               JACKSONVILLE      NC    28546‐9673
KENNETH W SKIVER                                TIMBER OAKS                            11131 PEMBRIDGE CT APT 1                                 PORT RICHEY       FL    34668‐1845
KENNETH W SKIVER & ANNA E SKIVER JT TEN         11131 PEMBRIDGE CT NO.1                                                                         PORT RICHEY       FL    34668‐1845
KENNETH W SMITH                                 41842 COULON                                                                                    MT CLEMENS        MI    48038‐2226
KENNETH W SMITH                                 2 BLAIR DRIVE                                                                                   NORMAL            IL    61761‐3169
KENNETH W SOUTHWICK CUST JOSHUA M SOUTHWICK     1138 VILLANOVA AV                                                                               SWARTHMORE        PA    19081‐2142
UGMA PA
KENNETH W SREBINSKI                             710 16TH                                                                                        BAY CITY          MI    48708‐7227
KENNETH W STATEN                                11227 SW 16TH DRIVE                                                                             PORTLAND          OR    97219‐7604
KENNETH W STEELE                                118 OAKLEAF CIR                                                                                 MOULTON           AL    35650‐1704
KENNETH W SUMNER JR                             1508 CHARLOTTE RD                                                                               PLAINFIELD        NJ    07060‐1942
KENNETH W SZAFRANSKI                            2017 HOLLOW CIR                                                                                 WEST BEND         WI    53090‐1724
KENNETH W TAYLOR                                146 ANSEL RD                                                                                    GENEVA            OH    44041‐1314
KENNETH W TERHAAR                               8230 RIDGE STONE AVE SW                                                                         BYRON CENTER      MI    49315‐8482
KENNETH W TRITTON                               #11 SPRING PARK LANE                                                                            WICHITA FALLS     TX    76308‐4726
KENNETH W VEST                                  31 LARKSPUR LANE                                                                                HARTSELLE         AL    35640‐4943
KENNETH W VINT                                  7528 E 300 S                                                                                    KOKOMO            IN    46902‐9395
KENNETH W WALKER                                144 GROVE ST                                                                                    LEXINGTON         MA    02420‐1306
KENNETH W WALLACE                               2401 VASSAR COURT                                                                               ARLINGTON         TX    76015‐3202
KENNETH W WARD & ANNA MAE WARD JT TEN           1163 PORTSMOUTH DR                                                                              MC KEESPORT       PA    15133‐3707
KENNETH W WARD & ANNA MAE WARD TEN ENT          1163 PORTSMOUTH DR                                                                              PORT VUE          PA    15133‐3707
KENNETH W WELCHER                               13075 E 281ST ST                                                                                ATLANTA           IN    46031‐9719
KENNETH W WESTBROOK                             8260 PINE LAKE DRIVE                                                                            DAVISBURG         MI    48350‐2046
KENNETH W WESTBY                                12715 HIGHDALE ST                                                                               NORWALK           CA    90650‐6816
KENNETH W WILCOX                                2377 OKLAHOMA AVENUE                                                                            ROCHESTER HILLS   MI    48309‐1525
KENNETH W WILLIAMS                              5030 N MECHANISBURG RD                                                                          MIDDLETOWN        IN    47356‐9730
KENNETH W WILLOUGHBY                            305 APRIL WAY                                                                                   BOWLING GREEN     KY    42104‐7515
KENNETH W WINES & JENNIFER A WINES JT TEN       811 W GETTYSBURG DR                                                                             ARLINGTON HTS     IL    60004‐3003
KENNETH W WINKLER                               6729 NORTON                                                                                     TROY              MI    48098‐1619
KENNETH W WREGGELSWORTH                         6667 W PRATT RD                                                                                 DEWITT            MI    48820‐7126
KENNETH W YARBROUGH                             16268 S SEYMOUR RD                                                                              LINDEN            MI    48451‐9736
KENNETH W YOUNGBLOOD                            8217 BAYLOR DR                                                                                  TYLER             TX    75703‐5101
KENNETH W ZIMMERMAN CUST MADELINE               494 UPTON DR                                                                                    SAINT JOSEPH      MI    49085‐1059
ZIMMERMAN UTMA MI
KENNETH W ZIMMERMAN CUST TAYLOR ZIMMERMAN       494 UPTON DR                                                                                    SAINT JOSEPH      MI    49085‐1059
UTMA MI
KENNETH W ZINTEL & ANNA ZINTEL JT TEN           4420 SUNDERLAND PL                                                                              FLINT             MI    48507‐3720
KENNETH WAIBEL & BEVERLY WAIBEL JT TEN          5371 ROYAL OAKS DRIVE                                                                           OROVILLE          CA    95966‐3837
KENNETH WALKER                                  519 SUNNYSIDE AVE                                                                               OAKVILLE          CT    06779‐1446
KENNETH WALKER                                  3336 RUCKLE                                                                                     INDIANAPOLIS      IN    46205‐3842
KENNETH WARD HOUSE                              PO BOX 304                                                                                      RICHFLD SPGS      NY    13439‐0304
KENNETH WAY                                     912 SEMINOLE RD                                                                                 MUSKEGON          MI    49441‐4342
KENNETH WAYNE CONLEY                            616 WOODLAND VIEW DRIVE                                                                         CINCINNATI        OH    45244‐1046
KENNETH WHITE                                   31 RANCHITA WAY                                                                                 CHICO             CA    95928‐4841
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                    Part 4 of 8 Pg 596 of 855
Name                                            Address1                             Address2             Address3             Address4          City             State Zip

KENNETH WHITFIELD                               6237 W CO RD 850S                                                                                KNIGHTSTOWN      IN    46148‐9388
KENNETH WILDER                                  828 AMBER PLACE                                                                                  ATLANTA          GA    30331‐3416
KENNETH WILLIAM BOARD JR                        912 RIVERVIEW TER                                                                                ST MICHAELS      MD    21663‐2950
KENNETH WILLIAM HILTENBRAND                     42 ARISTO TERRACE                                                                                ARCADE           NY    14009
KENNETH WILSON                                  20511 KINGS HIGHWAY                                                                              WARRENSVILLE     OH    44122‐6323
                                                                                                                                                 HGTS
KENNETH WILSON FLETCHER                         10324 ANDREA LN                                                                                  LA PLATA         MD    20646‐4003
KENNETH WLODARSKI                               1536 CHELMSFORD RD                                                                               MAYFIELD HTS     OH    44124‐3312
KENNETH WOLFF                                   47201 PINECREST                                                                                  UTICA            MI    48317‐2849
KENNETH WONG                                    1016 SOUTH WAYNE STREET #302                                                                     ARLINGTON        VA    22204‐4435
KENNETH WRIGHT                                  15 SLESSOR AVE WEST KIRBY            WIRRAL MERSEYSIDE    UNITED KINGDOMCH48   GREAT BRITAIN
KENNETH YARWICK                                 1459 SPRINGWOOD TRACE S E                                                                        WARREN           OH    44484‐3145
KENNETH YARWICK & CAROL A YARWICK JT TEN        1459 SPRINGWOOD TRACE S E                                                                        WARREN           OH    44484‐3145
KENNETH YERKES                                  2029 BROWNSVILLE ROAD                                                                            LANGHORNE        PA    19053‐3532
KENNETH YORK & WANDA YORK JT TEN                321 7TH & YEARLING                                                                               LILBOURN         MO    63862
KENNETH ZALETAL                                 6227 MAGNOLIA                                                                                    MENTOR           OH    44060‐3133
KENNETTE E WELLS                                6904 RALEIGH AVE                                                                                 LAS VEGAS        NV    89108‐5420
KENNEY GOODMAN                                  245 GOODMAN LN                                                                                   ELIZABETHTOWN    KY    42701‐8726
KENNEY STANTON                                  15465 NORTHLAWN                                                                                  DETROIT          MI    48238‐1151
KENNIETH F THOMPSON                             9814 GREEN APPLE TURN                                                                            UPPER MARLBORO   MD    20772‐4425

KENNIETH R MYSINGER                             962 BERRY                                                                                        TOLEDO           OH    43605‐3044
KENNITH D RICHARDSON                            1472 BEXLEY DR                                                                                   YOUNGSTOWN       OH    44515‐3836
KENNITH E SINGLETON                             6981 NORTH OLIVE STREET              APT 2                                                       GLADSTONE        MO    64118
KENNITH G CROFT                                 5131 TWINWOOD AVE                                                                                MEMPHIS          TN    38134‐5231
KENNITH J TIMMER CUST MARK P TIMMER UGMA MI     3635 LEONARD N W                                                                                 GRAND RAPIDS     MI    49544‐3621

KENNITH J YORK                                  20546 COUNTY ROAD 41                                                                             ADDISON          AL    35540‐2856
KENNITH L SCOTT                                 2247 EMERALDWOOD TRL                                                                             FLUSHING         MI    48433‐3517
KENNITH MARTIN                                  1311 GOLFVIEW DR                                                                                 NORTH MYRTLE     SC    29582‐2611
                                                                                                                                                 BEACH
KENNITH W BYERS                                 1448 IRENE                                                                                       LANCASTER        TX    75134‐3125
KENNTH B RUELLO SR & SHIRLEY RUELLO TEN COM     850 LAKESHORE PKWY                                                                               NEW ORLEANS      LA    70124‐3618

KENNY A MCINTYRE                                2801 LIATRIS LANE                                                                                CHARLOTTE        NC    28213‐9263
KENNY B DOYAL                                   7220 BUNCOMBE RD                                                                                 SHREVEPORT       LA    71129‐9313
KENNY D JOHNSON                                 363 (OLEE) FARM RD                                                                               BEDFORD          IN    47421‐9471
KENNY EDWARD                                    9316 TECUMSEH                                                                                    REDFORD          MI    48239‐2237
KENNY G GESELMAN                                9848 BEAHAN RD                                                                                   MUIR             MI    48860‐9600
KENNY GHIGLIONE                                 6136 ALASKA                                                                                      ST LOUIS         MO    63111‐2332
KENNY J BACHAND & EARL A BACHAND JT TEN         ROUTE 1 BOX 26                                                                                   HASTINGS         OK    73548‐9612
KENNY J PANDUREN                                3649 MAHLON MOORE RD                                                                             SPRING HILL      TN    37174‐2131
KENNY L STRADWICK                               2602 E SECOND ST                                                                                 FLINT            MI    48503‐2236
KENNY MILTON                                    284 US 158 BYPASS                                                                                HENDERSON        NC    27536
KENNY R LUPARDUS                                16156 WALDEN POND LANE                                                                           CHESTERFIELD     MO    63005‐4772
KENNY R OLLIS                                   981 SOMERVILLE‐JACKSON                                                                           SOMERVILLE       OH    45064‐9401
KENNY R RATLIFF                                 1412 NASH                                                                                        YPSILANTI        MI    48198‐6211
KENNY R WILLIAMS                                339 PLACID CT                                                                                    XENIA            OH    45385‐4895
KENNY T GARRISON                                1920 CO RD 29                                                                                    MOUNT HOPE       AL    35651‐9658
KENNY TAVERAS                                   3509 WOODLEAF DR                                                                                 SHREVEPORT       LA    71118‐3611
KENNY W SHOCK                                   4006 HAVEN PLACE                                                                                 ANDERSON         IN    46011‐5006
KENNY W SHOCK & SYLVIA B SHOCK JT TEN           4006 HAVEN PL                                                                                    ANDERSON         IN    46011‐5006
KENNY W THOMPSON                                605 MAPLE LN                                                                                     BROWNSBURG       IN    46112‐1443
KENRIC C YUKNER & VALERIE A YUKNER JT TEN       495 MAXINE DR                                                                                    BEAVER FALLS     PA    15010‐5145
KENRICH L DAWKINS                               557 S 7TH AVE                                                                                    MT VERNON        NY    10550‐4414
KENSLEY S STEWART                               9350 SHARTEL DR                                                                                  SHREVEPORT       LA    71118‐3345
KENSTIN CAPITAL CORPORATION                     3775 40TH LANE SOUTH #76‐I                                                                       ST PETERSBURG    FL    33711
KENT A BENSON & ROSALYN D BENSON JT TEN         2803 S 28TH PL                       APT 10                                                      ROGERS           AR    72758‐4703
KENT A BROWN                                    1713 KINGSBURY DR                                                                                ST MARYS         OH    45885‐1343
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 597 of 855
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

KENT A DOTSON                                     1805 N HOWARD                                                                                    INDEPENDENCE    MO    64050‐2113
KENT A HAUSAUER                                   4641 FIDDLE                                                                                      WATERFORD       MI    48328‐2117
KENT A JUSTUS                                     8200 W ADALINE ST                                                                                YORKTOWN        IN    47396‐1463
KENT A KNEBELKAMP                                 1048 CEDAR LN                                                                                    NORTHBROOK      IL    60062‐3542
KENT A MAYSTRICK & DAWN L MAYSTRICK JT TEN        PO BOX 127                                                                                       SPRINGFIELD     NE    68059‐0127
KENT A MAYSTRICK & JAN L MAYSTRICK JT TEN         PO BOX 127                                                                                       SPRINGFIELD     NE    68059‐0127
KENT A MAYSTRICK & JOAN E MAYSTRICK JT TEN        PO BOX 127                                                                                       SPRINGFIELD     NE    68059‐0127
KENT A MILLER                                     1372 ARTHURS CT                                                                                  PINCKNEY        MI    48169‐9077
KENT A RYAN                                       PO BOX 8279                                                                                      CINCINNATI      OH    45208‐0279
KENT A STEHLIK                                    PO BOX 1744                                                                                      DODGE CITY      KS    67801‐1744
KENT A STOCKSLAGER                                1748 LAKESHORE DRIVE                                                                             TROY            OH    45373‐8716
KENT A WOMACK                                     9924 US HIGHWAY 61                                                                               STE GENEVIEVE   MO    63670‐8584
KENT ALAN JOHNSON                                 627 CHURCH ST                                                                                    SOUTH HAVEN     MI    49090‐1403
KENT B AKIN CUST BRADLEY H AKIN UTMA              43680 MIDDLE RIDGE RD                                                                            LORAIN          OH    44053‐3908
KENT B CHERRY                                     4180 N OAK                                                                                       DAVISION        MI    48423‐9301
KENT BURGESS MAURER                               5906 HIGHLAND HILLS LN                                                                           COLLEYVILLE     TX    76034‐5736
KENT C SAEMANN                                    808 GREENTRREE RD                                                                                KOHLER          WI    53044‐1414
KENT C SCHLIENGER & MRS VERNELL M SCHLIENGER JT   1854 LUDINGTON AVE                                                                               WAUWATOSA       WI    53226‐2839
TEN
KENT CHARLES THOMPSON                             STE 1550                                530 B ST                                                 SAN DIEGO       CA    92101‐4493
KENT D BLAKELOCK                                  5126 TOWNLINE ROAD                                                                               SANBORN         NY    14132‐9304
KENT D FROST                                      1700 N SUGAR CREEK TRL                                                                           GREENFIELD      IN    46140‐8752
KENT D WIELAND                                    4210 TILGHMAN ST                                                                                 ALLENTOWN       PA    18104‐4430
KENT D WORLEY & KATHY F WORLEY JT TEN             3570 E REMINGTON DR                                                                              HIGLEY          AZ    85297‐7748
KENT DAVID VICKERY                                145 SUN VALLEY DR                                                                                WOODLAND PARK   CO    80863‐9076

KENT DEAN TALBERT                                 116 JAMES DR SW                                                                                  VIENNA          VA    22180‐6712
KENT DOWNEY                                       460 WOODCREEK CT                                                                                 COMMERCE TWP    MI    48390‐1278
KENT E BECCUE                                     1020 CUTTER ST                                                                                   HENDERSON       NV    89015‐3112
KENT E HOFLER                                     PO BOX 321                                                                                       WHITE HALL      VA    22987‐0321
KENT E TAYLOR                                     285 RIDGEFIELD RD                                                                                ENDICOTT        NY    13760‐4227
KENT E UTTER III                                  9205 THORNRIDGE                                                                                  GRAND BLANC     MI    48439‐8950
KENT ERNEST ANDERSON                              1815 LAKE SHORE DRIVE                                                                            ESCANABA        MI    49829‐2021
KENT F EMERSON                                    4296 TOMER ROAD                                                                                  ADRIAN          MI    49221‐9730
KENT F HARMESON                                   204 GEORGIA                                                                                      SHERIDAN        IN    46069‐1131
KENT G FREY & KELLY L FREY JT TEN                 1206 PARADISE DR                                                                                 HIGHLAND        IL    62249‐2319
KENT G KNUTSON                                    BOX 1092                                                                                         MOORHEAD        MN    56561‐1092
KENT G TAFT                                       29 SEAGRAVE ST                                                                                   UXBRIDGE        MA    01569‐2426
KENT GABEL                                        PO BOX 9                                                                                         SUDAN           TX    79371‐0009
KENT GARDNER                                      2101 RUNNYMEDE LN                       APT 323                                                  CHARLOTTE       NC    28209‐3396
KENT H STARKE                                     10438 OWEN DR                                                                                    ORLAND PARK     IL    60467‐8422
KENT HALLANDER                                    149 CHESTNUT DRIVE                                                                               WAYNE           NJ    07470‐5603
KENT HALLIBURTON                                  1297 SANFORD ROAD                                                                                RIPLEY          TN    38063‐7983
KENT HENDERSON CUST TIMOTHY SCOTT HENDERSON       2523 WALNUT HILL CIRCLE #1115                                                                    ARLINGTON       TX    76006‐5147
UGMA TX
KENT HILL GRAHAM                                  465 SHEFFIELD DR                                                                                 WINSTON SALEM   NC    27104‐2048
KENT J FREDERICK & PHYLLIS F FREDERICK JT TEN     9 GUMWOOD DR                                                                                     WILMINGTON      DE    19803‐4001
KENT J RAWHOUSER                                  N 345 DAVIDSON RD                                                                                RIO             WI    53960‐9310
KENT J WARNER                                     8865 E BASELINE RD                      APT#1806                                                 MESA            AZ    85209‐5300
KENT K KOWALSKI                                   4050 LOBDELL RD                                                                                  MAYVILLE        MI    48744‐9745
KENT L ADAMS & BARBARA J ADAMSJT TEN COM          17730 CORALLINA DR                                                                               CAPE CORAL      FL    33991‐1692
KENT L JOHNSON                                    21575 W MORNINGDVOE CT                                                                           LAKE ZURICH     IL    60047‐7209
KENT L KAROSEN                                    159 WEST 53RD STREET                    14E                                                      NEW YORK        NY    10019‐6005
KENT L STEWART CUST BRIAN K STEWART UGMA NJ       42 CORTRIGHT RD                                                                                  WHIPPANY        NJ    07981‐1308

KENT L STEWART CUST ROBERT L STEWART UGMA NJ      42 CORTRIGHT RD                                                                                  WHIPPANY        NJ    07981‐1308

KENT L UHLEY                                      527 SUNSET                                                                                       WHITE LAKE      MI    48383‐2864
KENT L ZIMMERMAN                                  401 POPLAR GROVE DR                                                                              VANDALIA        OH    45377‐2726
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 598 of 855
Name                                            Address1                               Address2                  Address3     Address4          City             State Zip

KENT LEE EGGLESTON                              2722 W PORTHILL CT                                                                              HAYDEN           ID    83835‐8033
KENT M COMSTOCK                                 532 PLEASANT ST                                                                                 ASHLAND          OH    44805‐2068
KENT M FISHER                                   3006 DOUGLAS AVENUE                                                                             KALAMAZOO        MI    49004‐3307
KENT MEYER                                      3895 N FIELD DR                                                                                 BELLBROOK        OH    45305‐8735
KENT NILSSON                                    GRINDOGATAN 140                        S‐257 32 RYDEBACK                      SWEDEN
KENT O PALMER                                   PO BOX 393                                                                                      STURGIS          MI    49091‐0393
KENT P GALLAHER                                 2201 SEYMOUR LAKE RD                                                                            OXFORD           MI    48371‐4349
KENT P OBRIEN                                   261 WILLIAMS SHORE RD                                                                           VONORE           TN    37885‐2823
KENT PETTUS                                     414 ELM ST                                                                                      GRAHAM           TX    76450
KENT POMEROY                                    131 GRUENING WAY                                                                                FAIRBANKS        AK    99712
KENT R OWENS                                    1239 H GARDEN CIRCLE DR                                                                         SAINT LOUIS      MO    63125
KENT R PAPSUN & JEAN T PAPSUN JT TEN            819 S MAPLE AVE                                                                                 GLEN ROCK        NJ    07452‐2818
KENT R WOOD                                     1251 TAYLOR DRIVE                                                                               MANCELONA        MI    49659‐7849
KENT S BROWN                                    10034 N 28TH ST                                                                                 PHOENIX          AZ    85028‐4303
KENT S DIDRIKSEN                                718 BREEZEWAY LANE                                                                              GEORGETOWN       TX    78633
KENT S KELLEY                                   10330 OLD SEWARD HWY                                                                            ANCHORAGE        AK    99515‐2627
KENT S PETERSON & CARLA M PETERSON JT TEN       38926 DONALD                                                                                    LIVONIA          MI    48154‐4703
KENT S SHOWALTER                                1988 RAINBOW GLEN RD                                                                            FALLBROOK        CA    92028‐8468
KENT SEAGERT                                    443 N RIVER RD                                                                                  WATERVILLE       OH    43566‐1456
KENT SHEVCHUK                                   1245 HOLLEY RD                                                                                  WEBSTER          NY    14580‐9554
KENT SHIOZAKI                                   2812 PUUHONUA ST                       #B                                                       HONOLULU         HI    96822‐1764
KENT SMITH                                      4194 IVANREST AVE SW                                                                            GRANDVILLE       MI    49418‐2562
KENT T BURRIS                                   PO BOX 1615                                                                                     HOPE             AR    71802‐1615
KENT T COUSINEAU                                2366 BLARNEY DR                                                                                 DAVISON          MI    48423‐9503
KENT T SEARS                                    5263 SANDY DR                                                                                   LEWIS CENTER     OH    43035‐8739
KENT TING                                       13749 CANTABERRY COURT                                                                          SOUTH LYON       MI    48178‐9561
KENT W KOEHLER                                  17 CHESTNUT DR                                                                                  DOYLESTOWN       PA    18901‐4709
KENT W PATTON                                   708 HOLLY AVE                                                                                   BLACK MOUNTAIN   NC    28711‐2948

KENT W SPARKS                                   313 EAST CHOWNING DR                                                                            FRANKLIN         TN    37064‐3212
KENT WRAMPELMEIER CUST EMILY A WRAMPELMEIER     2246 ROLLING HILLS DR                                                                           FAIRFIELD        OH    45014‐3736
UTMA OH
KENTARO HORIUCHI & WENDY TSO‐HORIUCHI JT TEN    109 OXFORD BLVDE                                                                                GREAT NECK       NY    11023

KENTON H COLLING                                2127 SWAFFER ROAD                                                                               MILLINGTON       MI    48746‐9613
KENTON H COLLING & JUNE A COLLING JT TEN        2127 SWAFFER RD                                                                                 MILLINGTON       MI    48746‐9613
KENTON I DULEY                                  1881 EL CAMINO DR                                                                               XENIA            OH    45385‐1115
KENTON L HALLAND & PATRICIA L KENNEY JT TEN     102 SOUTH CURTIS                                                                                MISSOULA         MT    59801‐1320
KENTON L LEVALLEY                               607 WATERVLIET AVE                                                                              DAYTON           OH    45420‐2544
KENTON M YOUNG                                  243 JARMANY HILL ROAD                                                                           SHARON           NH    03458‐7005
KENTON PATE                                     3400 SHERMAN AVENUE                                                                             MIDDLETOWN       OH    45044‐4978
KENTON SMITH                                    30248 W EARLL DR                                                                                BUCKEYE          AZ    85396‐2104
KENTUCKY STATE TREASURER                        UNCLAIMED PROPERTY DIVISION            CAPITOL ANNEX SUITE 183                                  FRANKFORT        KY    40601
KENWOOD J REED                                  11634 BROMONT AVE                                                                               PACOIMA          CA    91331‐1312
KENWOOD L BECKMAN                               12495 SPENCER RD                                                                                MILFORD          MI    48380‐2745
KENWOOD P TIPPETT                               6036 SUTTER AVENUE                                                                              CARMICHAEL       CA    95608‐2737
KENYATTA L MCNAIRY                              319 1/2 E STREICHER ST                                                                          TOLEDO           OH    43608
KENYON D HARBISON                               518 AVON AVE.                                                                                   PASADENA         CA    91105
KERA DIALS                                      809 KENNADY CIR                                                                                 CEDAR HILL       TX    75104‐0391
KERAN SEAGREAVES SMITH                          PO BOX 39                                                                                       MARIANNA         FL    32447
KERCELIA S GEORGE                               536 COVENTRY TRAIL LN                                                                           MARYLAND HTS     MO    63043‐5110
KEREKIN SERABIAN                                103‐01 METROPOLITAN AVE                                                                         FOREST HILLS     NY    11375‐6733
KERI L SNOVER                                   1350 HIGHWOOD BLVD                                                                              PONTIAC          MI    48340‐1926
KERI M ERBE & THOMAS ERBE JT TEN                516 WYNDHAM ROAD                                                                                WILMINGTON       DE    19809‐2845
KERI R HOWELL                                   12090 SOUTH COUNTY ROAD                600 WEST                                                 MIDDLETOWN       IN    47356
KERIN C REARDON                                 1600 HIGH ST                                                                                    DURHAM           NC    27707
KERLIN J BRAGDON                                800 ROYAL GROVE CT                                                                              CHESAPEAKE       VA    23320‐6562
KERMETT G AUTRY                                 23 SPRING TER COURT                                                                             ST CHARLES       MO    63303‐6487
KERMETT G AUTRY & JAVAUTA JO AUTRY JT TEN       23 SPRING TER COURT                                                                             ST CHARLES       MO    63303‐6487
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 599 of 855
Name                                               Address1                               Address2                Address3       Address4          City               State Zip

KERMETT S SPURLOCK                                 706 GERTRUDE RD                                                                                 WATERFORD          MI    48328‐2128
KERMIT A EVANS                                     6430 CLOVERLEAF CIR                                                                             EAST AMHERST       NY    14051‐2050
KERMIT BENTLEY                                     140 LINCOLN                                                                                     SALINE             MI    48176‐9140
KERMIT BOWEN                                       5026 BROOKCREST CT SW                                                                           WYOMING            MI    49418‐9739
KERMIT D HUMPHREY & LOIS ANN HUMPHREY TR UA        360 NEFF RD                                                                                     GROSSE POINTE      MI    48230‐1645
10/29/82
KERMIT D RIDLING                                   SP 52                                  12147 E LAKELAND ROAD                                    SANTA FE SPRINGS   CA    90670‐5965

KERMIT D SHAW                                      222 N TREMONT ST                                                                                INDIANAPOLIS       IN    46222‐4248
KERMIT DYER                                        367 ST ROAD 603                                                                                 SHILOH             OH    44878‐8844
KERMIT E CROSTON                                   4889 ASHLEIGH DR                                                                                DUBLIN             OH    43016‐7413
KERMIT E DUCKETT                                   3404 TIMBERLAKE RD                                                                              KNOXVILLE          TN    37920‐2853
KERMIT E LONG                                      560 FAIRVIEW DRIVE                                                                              CARLISLE           OH    45005‐3102
KERMIT E MILLER & MRS CATHERINE J MILLER TEN ENT   405 SOUTH SAINT GEORGE STREET                                                                   ALLENTOWN          PA    18104‐6755

KERMIT E MOWERY JR                                 1650 FRENCHS AVE                                                                                BALTIMORE          MD    21221‐2908
KERMIT E YODER & SARA H YODER TR UA 02/06/90       11125 EAST HIGHWAY 20                                                                           CLEARLAKE OAKS     CA    95423‐8342
YODER TRUST
KERMIT F PRICE                                     417 N BEVERLY DR                                                                                SANDUSKY           OH    44870‐5430
KERMIT G CHRISTIAN                                 512 QUIET OAK                                                                                   BEAVER             WV    25813‐9498
KERMIT J BRAZILLE                                  10305 NE 39TH                                                                                   SPENCER            OK    73084‐5529
KERMIT K PETERS                                    PO BOX 703                                                                                      UNION LAKE         MI    48387‐0703
KERMIT L MANION                                    BOX 376A                               ROUTE 1                                                  MINERAL POINT      MO    63660‐9801
KERMIT L SHORTRIDGE                                408 OLD HUNTERS POINT PIKE                                                                      LEBANON            TN    37087‐1145
KERMIT L STEELE                                    15808 SILVER GROVE                                                                              WHITTIER           CA    90604‐3744
KERMIT LEO STACY                                   3630 W CROSS ST                                                                                 ANDERSON           IN    46011‐8750
KERMIT M ALT                                       706 BERETTA WAY                                                                                 BEL AIR            MD    21015‐4848
KERMIT R BROOKS                                    103 W PEPPERMENT DRIVE                                                                          PORT DEPOSIT       MD    21904‐1365
KERMIT TEACHEY                                     12110 PARKVIEW AVE                                                                              CLEVELAND          OH    44120‐2958
KERMITH M BUTLER                                   15892 FAIRCREST                                                                                 DETROIT            MI    48205‐2924
KERMITT E COLLINS                                  15023 BEACHVIEW TERRACE                                                                         DOLTON             IL    60419‐2508
KERMITT HAMPTON                                    2408 MONTPELIER RD                                                                              PUNTA GORDA        FL    33983‐2628
KERN M BRABON                                      119 S BRIDGE ST                                                                                 LINDEN             MI    48451‐8641
KERNEY D TYILLIAN                                  13316 CAIN LN                                                                                   LOUISVILLE         KY    40245
KERNEY MOSBY JR                                    5212 BIG BEND DR                                                                                DAYTON             OH    45427‐2715
KERNIE E WALTERS                                   556 S MURRAY HILL RO                                                                            COLUMBUS           OH    43228‐1952
KERR DAVIDSON                                      11 SYCAMORE DRIVE                                                                               BURLINGTON         NJ    08016‐3107
KERR DAVIDSON & ROXANN D DAVIDSON JT TEN           11 SYCAMORE DR                                                                                  BURLINGTON         NJ    08016‐3107
KERRI ANN KLEMKO & CAROL A KLEMKO JT TEN           4727 WEEPING WILLOW WAY                                                                         TRAVERSE CITY      MI    49684‐6880
KERRI BOIVIN                                       1448 N GENEVIEVE                                                                                BURTON             MI    48509
KERRI BUCHTA CUST AMARA BUCHTA UTMA NJ             87 FORDHAM RD                                                                                   CLIFTON            NJ    07013‐1430
KERRI BUCHTA CUST KAYLA BUCHTA UTMA NJ             87 FORDHAM RD                                                                                   CLIFTON            NJ    07013‐1430
KERRI E BRANDT                                     W257S4684 WOOD LILLY LN                                                                         WAUKESHA           WI    53189‐7771
KERRI L GOODMAN                                    10055 TOWNER RD                                                                                 PORTLAND           MI    48875‐9410
KERRI ROBERTSON CUST KASEY ROBERTSON UGMA NY       31 BEACH 222ND ST                                                                               BREEZY POINT       NY    11697‐1502

KERRI ROBERTSON CUST MICHAEL RYAN ROBERTSON        31 BEACH 222 ND ST                                                                              BREEZY POINT       NY    11697‐1502
UGMA NY
KERRI S BABER                                      2207 BRAHMS BLVD                                                                                DAYTON             OH    45449‐3323
KERRIE L MONDA                                     4247 DEL MAR SW CT                                                                              WYOMING            MI    49418‐8749
KERRY A HIONAS                                     9652 HUNT CLUB TRL NE                                                                           WARREN             OH    44484‐1756
KERRY A KIRCHNER                                   4020 TORTOISE LN                                                                                FORT WORTH         TX    76135‐5379
KERRY A LYNCH                                      4220 STURGEON CT                                                                                SAN DIEGO          CA    92130‐2146
KERRY A LYNCH                                      10 PROSPECT ST                                                                                  GREAT              MA    01230‐1022
                                                                                                                                                   BARRINGTON
KERRY A OBRIEN                                 1109 SOUTH MARYLAND ST                                                                              MARTINSVILLE       IN    46151
KERRY A SCHLATER CUST CHELSEA M DENISTON UNDER 220 MELODY LANE                                                                                     DEFIANCE           OH    43512‐3031
THE OH TRAN MIN ACT
KERRY A WALSH                                  10740 N SUNNYDALE LN                                                                                MEQUON             WI    53092‐4841
                                          09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 600 of 855
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

KERRY A WIGGERLY                                 2305 NORTH VALLEY DRIVE                                                                      MUNCIE          IN    47304‐9773
KERRY ANN BASSETT                                4 KENNY DR                                                                                   CONWAY          AR    72032‐8408
KERRY ANN GROSS CUST KEVIN CHARLES GROSS UTMA    191 CANDEE AVE                                                                               SAYVILLE        NY    11782‐3007
NY
KERRY ANTHONY KATCHUK CUST K ANTHONY KATCHUK     3690 ENTERPRISE RD                                                                           SAFETY HARBOR   FL    34695‐5409
UTMA FL
KERRY AQUILINA                                   36552 MELBOURNE DRIVE                                                                        STERLING HGTS   MI    48312‐3337
KERRY B GRENNAN                                  616 BOSTON AVE STE 28                                                                        MEDFORD         MA    02155‐1377
KERRY B KING                                     9960 SPRING WATER                                                                            MOUNT VERNON    OH    43050‐9379
KERRY B MACKEY                                   337 EAST MARENGO                                                                             FLINT           MI    48505‐3365
KERRY BABCOCK                                    903 CHICKADEE DR                                                                             PORT ORANGE     FL    32127
KERRY BLASCH CUST MACKENZIE ELIZABETH BLASCH     71 BEECHWOOD LANE                                                                            BERKELEY HTS    NJ    07922‐2350
UGMA NY
KERRY CLINKENBEARD                               401 ACADIA ST                                                                                WICHITA         KS    67212‐3406
KERRY D ADAMS                                    1487 E RD 4 N                                                                                MONTE VISTA     CO    81144‐9709
KERRY D FLYNN & ELIZABETH J FLYNN JT TEN         9666 MAIN ST                                                                                 WHITMORE LAKE   MI    48189‐9440
KERRY D LOCKREY                                  10331 REID RD                                                                                SWARTZ CREEK    MI    48473‐8518
KERRY D SUMMERS                                  1410 TALLWOOD CT                                                                             BOWLING GREEN   KY    42103‐4765
KERRY D THACKER                                  2138 TOM FITZGERALD RD                                                                       COLUMBIA        TN    38401‐1411
KERRY DALE SUMMERS                               1410 TALLWOOD CT                                                                             BOWLING GREEN   KY    42103‐4765
KERRY DAVID HAYDEN                               5610 SPRINGBORO RD                                                                           LEBANON         OH    45036‐9610
KERRY DOBNER LOBELLO                             5624 NW 23 TERR                                                                              BOCA RATON      FL    33496‐2804
KERRY E DUNLAVEY                                 2623 ALGONQUIN AVENUE                                                                        JACKSONVILLE    FL    32210‐5903
KERRY FULLER LABBE & ALAN A LABBE JT TEN         LAVOIE ST                                                                                    JAY             ME    04239
KERRY G JUDD                                     637 E 650 N                                                                                  CENTERVILLE     UT    84014‐1940
KERRY G PATTMAN                                  53 WOODBINE ST                                                                               COMMERCE        GA    30529‐1429
KERRY GILLESPIE                                  64 LIBBY PL                                                                                  MIDDLETOWN      NJ    07748‐2313
KERRY GRANT                                      99 HERTZLER RD                                                                               ELVERSON        PA    19520‐9337
KERRY HOBBS                                      2749 BISMARK STREET                                                                          WALDORF         MD    20603‐3820
KERRY HOFFMAN                                    567 SCOTIA RD                                                                                PORT MATILDA    PA    16870‐7211
KERRY I DAVIDSON                                 266 CHAMBRE CT                                                                               LILBURN         GA    30047‐6405
KERRY J BARNETT                                  564 W IROQUOIS RD                                                                            PONTIAC         MI    48341
KERRY J BOYLE                                    2100 N RIDLEY CREEK RD                                                                       MEDIA           PA    19063‐4532
KERRY J CLAPPER CUST TARA J CLAPPER UTMA OK      6505 S HARVEY AVE                                                                            OKLAHOMA CITY   OK    73139‐7019
KERRY J LOUNDERS                                 PO BOX 8684                                                                                  MADEIRA BEACH   FL    33738‐8684
KERRY J VANPOPPELEN                              6205 BAY GLADWIN LINE                                                                        BENTLEY         MI    48613
KERRY JOE KOSTA                                  1841 N CO RD 700 W                                                                           RENSSELAER      IN    47978
KERRY K MEIER                                    3305 N COCHITIAVE                                                                            FARMINGTON      NM    87401
KERRY KELLY                                      20012 ARCHDALE                                                                               DETROIT         MI    48235‐2233
KERRY KINNICK                                    535 LOS RANCHOS RD NW                                                                        ALBUQUERQUE     NM    87107‐6518
KERRY L BARNARD                                  8308 E ST RD #234                                                                            WILKINSON       IN    46186‐9663
KERRY L COLE                                     7145 DALEWOOD LN                                                                             DALLAS          TX    75214‐1812
KERRY L KAMPSEN                                  4515 ROSEWOLD                                                                                ROYAL OAK       MI    48073‐4905
KERRY L LANG                                     3009 E CALHOUN RD                                                                            BEAVERTON       MI    48612‐9775
KERRY L RUOFF & MARK W RUOFF JT TEN              115 LN 650BD SNOW LAKE                                                                       FREMONT         IN    46737‐8728
KERRY L SHEESLEY SR                              3186 SOLAR ST NW                                                                             WARREN          OH    44485‐1612
KERRY L WOZNIAK                                  28840 KING RD                                                                                ROMULUS         MI    48174‐9448
KERRY LYNN PICARD SCOTT                          303 S RIVER RD                                                                               GREENE          ME    04236‐4111
KERRY M BREWER                                   2509 AMBER HILL LANE                                                                         EULESS          TX    76039‐8004
KERRY M CUMMINGS                                 362 NORMAN AVE                                                                               EUGENE          OR    97404‐2627
KERRY M DOUGLAS                                  805 BARMUM ST                                                                                SHEFFIELD       MA    01257‐9655
KERRY M DROMGOOLE                                7720 MAJESTIC DR                                                                             LIVERPOOL       NY    13090‐6901
KERRY M GIGOT                                    4599 ODETTE COURT                                                                            TROY            MI    48098‐4164
KERRY M HAMMER                                   1492 OAKCREST                                                                                TROY            MI    48083‐5334
KERRY M SHANAHAN CUST KERRY MICHAEL SHANAHAN     111 HAWTHORNE WAY                                                                            CHITTENANGO     NY    13037‐1008
II UGMA NY
KERRY MALLOY KIEFER CUST KELSEY GARRETT KIEFER   316 ASHLAND RD                                                                               SUMMIT          NJ    07901‐3127
UTMA NJ
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 601 of 855
Name                                             Address1                             Address2             Address3          Address4          City           State Zip

KERRY MALLOY KIEFER CUST L RYAN KIEFER UTMA NJ   316 ASHLAND RD                                                                                SUMMIT         NJ    07901‐3127

KERRY MALLOY KIEFER CUST SEAN MICHAEL KIEFER     316 ASHLAND RD                                                                                SUMMIT         NJ    07901‐3127
UTMA NJ
KERRY N FLATAU                                   2896 CEDAR KEY DR                                                                             LAKE ORION     MI    48360‐1830
KERRY O MC LEMORE                                19526 ELM DR                                                                                  STRONGSVILLE   OH    44149‐6859
KERRY O NELSON                                   PO BOX 445                                                                                    ELK RAPIDS     MI    49629‐0445
KERRY O PHILLIPS                                 28 N SAGINAW ST STE 1013                                                                      PONTIAC        MI    48342‐2143
KERRY O SHOWALTER                                4409 CAMINO DE LAS ESTRELLAS                                                                  NEWBURY PARK   CA    91320‐6737
KERRY P HARRINGTON                               2170 LINCOLN RD                      WINDSOR ON                             N8W 2R1 CANADA
KERRY P HARRINGTON                               2170 LINCOLN RD                      WINDSOR ON                             N8W 2R1 CANADA
KERRY R HUGHES                                   1213 HUNTERS POINTE LANE                                                                      SPRING HILL    TN    37174‐2188
KERRY R MITCHELL                                 3440 MELODY LANE                                                                              SAGINAW        MI    48601‐5629
KERRY RICHARD KROL TOD SANDI LYNN KROL SUBJECT 16918 WILLOW LANE DRIVE                                                                         TINLEY PARK    IL    60477
TO STA TOD RULES
KERRY S KURASAKI                                 1830 SAN JOSE AVE                                                                             ALAMEDA        CA    94501‐4127
KERRY S MILLER                                   105 TIMBERLANE DR                                                                             MORTON         IL    61550‐1148
KERRY S REDMOND                                  18427 SUCCESS RD                                                                              BROOKSVILLE    FL    34604
KERRY SUNAO KURASAKI                             1830 SAN JOSE AVE                                                                             ALAMEDA        CA    94501‐4127
KERRY WILLIAM CURNUTT                            4640 S 14TH ST 102                                                                            ABILENE        TX    79605‐4735
KERRYLEAN T MCKELVY WIRTH & PAUL WIRTH JR JT TEN 0097 BEAVER LANE                                                                              CARBONDALE     CO    81623‐8762

KERSTEN M EVANS                                  7533 CARRINGTON DR H                                                                          MADISON        WI    53719‐2819
KERWIN F HASSING                                 3399 W 33 S                                                                                   IDAHO FALLS    ID    83402‐5632
KERWIN L UTLEY                                   279 BELL RD                                                                                   NASHVILLE      TN    37217‐4149
KERWIN LANCE MCLENDON                            3321 VIRGINIA PARK STREET                                                                     DETROIT        MI    48206‐3727
KERWIN M RINKS                                   1238 DEN HERTOG ST SW                                                                         WYOMING        MI    49509‐2726
KESKLER A YOUNG                                  5115 GRAYTON                                                                                  DETROIT        MI    48224‐2147
KESNER ROSE                                      255 W CORNELL AVE                                                                             PONTIAC        MI    48340‐2725
KESTER KORNEGAY                                  PO BOX 152                                                                                    PINE LEVEL     NC    27568‐0152
KESTER R HILL                                    845 TIBBETS WICK RD                                                                           GIRARD         OH    44420‐1152
KESTUTIS SIDABRAS & HELGA SIDABRAS JT TEN        343 TERRY LAKE RD                                                                             FORT COLLINS   CO    80524
KETAN J DOSHI                                    5472 BRANSFORD DR                                                                             LA PALMA       CA    90623
KETHLEEN M LEWERENTZ                             108 BEECH RD                         LITTLE BRITIAN ON                      K0M 2C0 CANADA
KEUM SOON LAUDER                                 PO BOX D                                                                                      KURTISTOWN     HI    96760
KEVA STURDEVANT                                  21149 PARC DULLES SQ                 APT 202                                                  STERLING       VA    20166‐6624
KEVAN C HOEFLING                                 1718 3RD AVE WEST                                                                             SPENCER        IA    51301
KEVAN L JACKSON                                  2214 ROBINWOOD                                                                                SAGINAW        MI    48601‐3558
KEVAN N L DEAN                                   2470 NE 108TH ST                                                                              MIAMI          FL    33167
KEVAN O PETERS                                   54295 AVENIDA MADERO                                                                          LA QUINTA      CA    92253‐3638
KEVEN A KELLEY                                   5850 CAMERON RUN TER                 APT 726                                                  ALEXANDRIA     VA    22303‐1830
KEVEN E VAUGHN                                   554 WIRMINGHAM RD                                                                             MONROE         TN    38573‐5250
KEVEN F KERKAM                                   15224 49TH AVE SE                                                                             EVERETT        WA    98208‐8816
KEVEN J BOLAND & PAMELA A BOLAND JT TEN          135 APPLE LN                                                                                  BRIARCLIFF     NY    10510‐1003
KEVEN L HOWELL                                   1510 HILLSIDE                                                                                 OAK GROVE      MO    64075‐9405
KEVERNE C KAYTROSH                               920 MERRIT CIRCLE                                                                             WEST CHESTER   PA    19380‐7215
KEVIN A ACKLEY                                   161 SCHLUETER DR                                                                              HOPEWELL JCT   NY    12533‐7602
KEVIN A BLACK                                    3138 LUZON                                                                                    IRVING         TX    75060‐3439
KEVIN A CARMODY                                  1583 S ROYSTON RD                                                                             EATON RAPIDS   MI    48827‐9092
KEVIN A CREELMAN                                 7862 EGLINGTON CT                                                                             CINCINNATI     OH    45255‐2413
KEVIN A DAVIS & GAIL B DAVIS JT TEN              2777 PROGRESS PARK DR                                                                         STOW           OH    44224‐2119
KEVIN A GABLER                                   31522 LEONA                                                                                   GARDEN CITY    MI    48135‐1338
KEVIN A HEIDORN                                  108 ROCKY LN                                                                                  REIDSVILLE     NC    27320‐9431
KEVIN A JASKOWSKI                                3008 MAPLE ST                                                                                 BOYNE FALLS    MI    49713‐2500
KEVIN A KAIDE & HEATHER L KAIDE JT TEN           856 W BARRY AVE                      UNIT GB                                                  CHICAGO        IL    60657‐4425
KEVIN A KELLY                                    8900 MORRIS ROAD                                                                              HILLIARD       OH    43026
KEVIN A KOHLS                                    40808 KINGSLEY LN                                                                             NOVI           MI    48377‐1633
KEVIN A KOSWICK CUST KELSEY KOSWICK UNMA‐MI      44026 DEEP HOLLOW CIR                                                                         NORTHVILLE     MI    48167‐8412
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 602 of 855
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

KEVIN A LOEWEN                                   4483 LA BEAN CT                                                                                  FLINT            MI    48506‐1447
KEVIN A LUCIK                                    4080 WATSON RD                                                                                   MARLETTE         MI    48453‐9300
KEVIN A MCCAULEY                                 13706 GENERAL GEARY CT                                                                           FREDERICKSBURG   VA    22407‐1994
KEVIN A MOORE                                    2824 TIMBER RIDGE DR                                                                             FORT LORAMIE     OH    45845‐8704
KEVIN A PIRCH                                    1512 W 14TH AVE                                                                                  SPOKANE          WA    99204‐4022
KEVIN A RUSH                                     50 W ASBURY‐ANDERSON RD                                                                          HAMPTON          NJ    08827‐4516
KEVIN A RYAN                                     10 PINE GROVE LN                                                                                 HOCKESSIN        DE    19707‐2012
KEVIN A VANLOWE                                  7012 RAINSWOOD CT                                                                                BETHSEDA         MD    20817‐2231
KEVIN A YODER                                    1243 N WETHERLY DR                                                                               LOS ANGELES      CA    90069‐1815
KEVIN A ZIELENIEWSKI CUST KEVIN J ZIELENIEWSKI   14129 KLATTERBUCK LOOP                                                                           GAINESVILLE      VA    20155
UTMA VA
KEVIN ADAIR A MINOR U/GDNSHP OF KATHLEEN ADAIR   62 JENKINS RD                                                                                    BURNT HILLS      NY    12027‐9726

KEVIN ALBERT HEDDEN                              175 CANTAMAR ST                                                                                  HENDERSON        NV    89074‐0938
KEVIN ALEX BANGHART                              434 OAK GROVE DR                                                                                 CHESANING        MI    48616‐1146
KEVIN ALLYN KUSTO                                325 ALTA DALE SE                                                                                 ADA              MI    49301‐9113
KEVIN ANDERSON                                   1101 PARTRIDGE                                                                                   BOLINGBROOK      IL    60490‐3107
KEVIN ARMSTRONG                                  6210 ELIZ LK RD                                                                                  WATERFORD        MI    48327‐1712
KEVIN AURIEMMA                                   PO BOX 465                                                                                       ROCKAWAY         NJ    07866‐0465
KEVIN B ANDERSON                                 364 MOUNT ALVERNO RD                                                                             MEDIA            PA    19063‐5359
KEVIN B ANDERSON                                 4481 CALYPSO TERRACE                                                                             FREMONT          CA    94555‐1607
KEVIN B BROWN CUST MICHAEL K BROWN UTMA ID       464 GULLANE CR                                                                                   IDAHO FALLS      ID    83401‐5699

KEVIN B BUTLER & GINA M BUTLER JT TEN            39 ARDEN COURT                                                                                   WARWICK         RI     02889‐3278
KEVIN B DUFF                                     4271 APPLE VALLEY LANE                                                                           W BLOOMFIELD    MI     48323‐2801
KEVIN B DUFF & CAROLYN A DUFF JT TEN             4271 APPLE VALLEY LANE                                                                           WEST BLOOMFIELD MI     48323‐2801

KEVIN B DUSKEY                                    501 BOGGY RD                                                                                    WASKOM           TX    75692‐7415
KEVIN B ENDERS                                    708 TOFINO CV                                                                                   ROUND ROCK       TX    78664
KEVIN B FERRELL & FREDRICA CHALLANDES ANGELINI JT 300 ALTA VISTA AVENUE                                                                           MILL VALLEY      CA    94941‐1300
TEN
KEVIN B FLEMING                                   102 BATES ST                                                                                    MENDON           MA    01756‐1158
KEVIN B HORTON                                    G 6308 W COURT STREET                                                                           FLINT            MI    48532
KEVIN B KIRSCHMAN                                 PO BOX 162                                                                                      DOS PALOS        CA    93620‐0162
KEVIN B LACY & ANNETTE M LACY JT TEN              1051 E ADAMS DR                                                                                 FRANKLIN         IN    46131‐1901
KEVIN B LYNCH                                     2354 PUMPKIN HOLLOW RD                                                                          ONEONTA          NY    13820‐4205
KEVIN B MACKEMULL                                 623 LEXINGTON AVE                                                                               CRANFORD         NJ    07016‐3356
KEVIN B MC MULLEN                                 113 VICTORY DR                                                                                  WAVERLY          OH    45690‐1056
KEVIN B MURPHY                                    1480 RIVERSIDE DRIVE                   UNIT 1401            OTTAWA ON         K1P 5H2 CANADA
KEVIN B O'NEILL                                   2629 BITTERSWEET DRIVE                                                                          WILMINGTON       DE    19810‐1643
KEVIN B OHALLA                                    5137 WINDCREST CT                                                                               GRANDVILLE       MI    49418‐9738
KEVIN B SAPIN                                     1160 GLEN ARBOR                                                                                 LOS ANGELES      CA    90041‐2520
KEVIN B SOSBE                                     1385 N JOHN BART RD                                                                             LEBANON          IN    46052‐1931
KEVIN B WILLIAMS                                  1639 27TH ST NE                                                                                 CANTON           OH    44714‐1767
KEVIN B ZECHES                                    113 W BUFFALO ST                                                                                WARSAW           NY    14569‐1246
KEVIN BALDWIN CUST BRENNAN MICHAEL BALDWIN        5737 MCDOWELL                                                                                   LAPEER           MI    48446
UGMA MI
KEVIN BALDWIN CUST DAVID SCOTT BALDWIN UGMA MI 5737 MCDOWELL                                                                                      LAPEER           MI    48446

KEVIN BANGSUND                                   2436 N MAIN ST UNIT H                                                                            SALINAS          CA    93906‐4272
KEVIN BENNETT                                    18939 BLACKWOOD ST                                                                               DETROIT          MI    48234‐3724
KEVIN BERZIN                                     35620 GOLDSMITH DR                                                                               FREMONT          CA    94536‐2519
KEVIN BOHR                                       437 S HIGHLAND                                                                                   ARLINGTON        IL    60005‐1831
                                                                                                                                                  HEIGHTS
KEVIN BOYLE                                      336 STANLEY DR                                                                                   KINGSTON         PA    18704‐5610
KEVIN BRIAN BLAKE                                3432 ROWLAND                                                                                     TROY             MI    48083‐5677
KEVIN BRUCKER                                    2695 CURIE PL                                                                                    SAN DIEGO        CA    92122‐4022
KEVIN BUTLER                                     221 MELVILLE DR                                                                                  FAIRFIELD        CT    06825‐3317
KEVIN C AHERN & JOAN AHERN JT TEN                17 MIDDLE ST                                                                                     NATICK           MA    01760‐2111
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                    Part 4 of 8 Pg 603 of 855
Name                                             Address1                            Address2                 Address3          Address4               City             State Zip

KEVIN C ATHERTON                                 14616 BROWN RD                                                                                        SUNFIELD         MI    48890‐9770
KEVIN C BLIGHT                                   6001 WESTKNOLL DR APT 644                                                                             GRAND BLANC      MI    48439
KEVIN C BREWER                                   88 KELSEY HILL RD                                                                                     DEEP RIVER       CT    06417‐1616
KEVIN C CARRIGAN                                 #10 COUNTRY WY                                                                                        KINGSTON         MA    02364‐1050
KEVIN C COLE                                     GLENN AVE # 123                                                                                       KING             NC    27021‐9414
KEVIN C CROOK CUST LOGAN C CROOK UTMA AL         249 CAHABA OAKS TRL                                                                                   INDIAN SPGS      AL    35124
KEVIN C EIDE                                     1218 MOUNT MAINLEV ROAD                                                                               PALOS VERDE      CA    90275
KEVIN C FINGER                                   1012 LONG STREET                                                                                      FENTON           MI    48430‐2248
KEVIN C GOTTLIEB CUST BRIAN T GOTTLIEB UGMA NY   PO BOX 3240                                                                                           ANNAPOLIS        MD    21403‐0240

KEVIN C HANSON & PATRICIA A HANSON JT TEN        51 NORTH ST                                                                                           BRISTOL          VT    05443‐1026
KEVIN C KALOTA                                   266 GOUNDRY STREET                                                                                    N TONAWANDA      NY    14120‐6011
KEVIN C KOBRZYCKI                                23576 HURON RIVER DR                                                                                  ROCKWOOD         MI    48173‐1236
KEVIN C KYLE CUST KEVIN C KYLE JR UGMA MI        15101 W MCNICHOLS                                                                                     DETROIT          MI    48235‐3716
KEVIN C MC GINNIS                                19711 HOLLYWIND CIR                                                                                   HOUSTON          TX    77094‐3472
KEVIN C MUELLER                                  4204 UPPER 156TH ST W                                                                                 ROSEMOUNT        MN    55068‐4693
KEVIN C OVERFIELD                                576 MATTHEWS BROOK LN                                                                                 POWELL           OH    43065‐8028
KEVIN C POCQUETTE                                2132 S 62ND ST                                                                                        MILWAUKEE        WI    53219‐1425
KEVIN C ROSS                                     2310 N GRAHAM RD                                                                                      FREELAND         MI    48623‐7800
KEVIN C SORENSEN                                 4923 SLOANE PL                                                                                        NEW ALBANY       OH    43054
KEVIN C TURNER                                   6046 VENICE DR                                                                                        COMMERCE TWP     MI    48382‐3660
KEVIN CARR                                       263 ROUTE 579                                                                                         BLOOMSBURY       NJ    08804
KEVIN CARTWRIGHT                                 2115 FERNDALE ST                    VANCOUVER BC                               L6L 4Y3 CANADA
KEVIN CHARLES EDWARDS                            710 NORTH VERNON                                                                                      DEARBORN         MI    48128‐2501
KEVIN CHARLES MEALEY                             9403 GOTHA RD                                                                                         WINDERMERE       FL    34706‐0111
KEVIN CHARLES WILLEY                             478 JAMES ROAD                                                                                        LEWISBURG        PA    17837
KEVIN CHARLES WULFHORST                          47 HOPE RD                                                                                            TINTON FALLS     NJ    07724‐3009
KEVIN CHEN                                       GM SHANGHAI 1500 SHEN JIANG RD      JIN QUIAO PU DONG        SHANGHAI CHINA2   CHINA (PEOPLE'S REP)
KEVIN CHRIEPTO                                   153 2ND AVE                                                                                           PHOENIXVILLE     PA    19460
KEVIN CHRISTOPHER FEELEY                         BLDG 54 APT 310                     8930 S HOLLYBROOK BLVD                                            PEMBROKE PINES   FL    33025‐1300
KEVIN CONWAY & AUDREY CONWAY JT TEN              APT 204                             17 KNIGHTSBRIDGE RD      BRAMPTON ON       L6T 3X9 CANADA
KEVIN COOK                                       8147 TIMBERJACK WAY                                                                                   WEST CHESTER     OH    45069‐1813
KEVIN COWL                                       2 FARSTA CT                                                                                           ROCKVILLE        MD    20850‐2746
KEVIN D BARRICK                                  8 POPLAR AVE                                                                                          WHITESBORO       NY    13492‐2332
KEVIN D BRENNAN                                  205 THIRD AVE APT 4T                                                                                  NEW YORK         NY    10003
KEVIN D BUTLER & JILL B SHAVE JT TEN             221 MELVILLE DR                                                                                       FAIRFIELD        CT    06825‐3317
KEVIN D CLARK                                    14239 FAIRCREST                                                                                       DETROIT          MI    48205‐2809
KEVIN D CREWS                                    1429 W 28TH TERR                                                                                      INDEPENDENCE     MO    64052‐3120
KEVIN D GEANS                                    20138 MANOR                                                                                           DETROIT          MI    48221‐1042
KEVIN D HAYES                                    5380 WOODFIELD DR N                                                                                   CARMEL           IN    46033‐9154
KEVIN D HESTER                                   5508 W FARRAND RD                                                                                     CLIO             MI    48420‐8204
KEVIN D ISBELL                                   1620 PONCA ST                                                                                         SOUTH LAKE TAHOE CA    96150‐5907

KEVIN D JOHNSON                                  4550 RED FOX                                                                                          GUTHRIE          OK    73044‐8442
KEVIN D JOHNSON                                  50 PALM AVE                                                                                           SAN RAFAEL       CA    94901‐2253
KEVIN D KINCAID                                  3036 KENNINGTON WAY                                                                                   KOKOMO           IN    46902‐5079
KEVIN D LAPHAM                                   1418 MAYFIELD                                                                                         ROYAL OAK        MI    48067‐1113
KEVIN D LEVERETT                                 8500 LEVERETT ROAD                                                                                    GRAND LEDGE      MI    48837‐8236
KEVIN D LIMBACH                                  4636 NORTH 200 WEST                                                                                   GREENFIELD       IN    46140‐8683
KEVIN D MAUPIN CUST LIANNE MAUPIN UTMA AL        PO BOX 9482                                                                                           PENNSICOLA       FL    32513‐9482
KEVIN D MAUPIN CUST RACHEL MAUPIN UTMA AL        PO BOX 10773                                                                                          PENSACOLA        FL    32524‐0773
KEVIN D MILLS                                    C/O BETTY J LOVING                  2202 BARBARA DR                                                   FLINT            MI    48504‐3616
KEVIN D MURPHY                                   9980 GREENTREE                                                                                        CLARKSTON        MI    48348‐1627
KEVIN D O'TOOLE                                  3646 SOMERSET LN                                                                                      HAMBURG          NY    14075‐2222
KEVIN D OLEARY                                   6316 ORIOLE                                                                                           FLINT            MI    48506‐1721
KEVIN D OREILLY                                  4513 OAK RIDGE DR                                                                                     STREET           MD    21154‐1028
KEVIN D OSHAUGHNESSY                             2502 N 53RD STREET                                                                                    PHOENIX          AZ    85008
KEVIN D RECOY                                    113 COMMERCE STREET                                                                                   DE FOREST        WI    53532‐1502
KEVIN D REID                                     42 GOVERNOR DINSMORE RD                                                                               WINDEAM          NH    03087‐1227
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 604 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

KEVIN D SANDERS & EULAS H SANDERS & ANNESIA       4202 E 40TH ST                                                                                   INDIANAPOLIS       IN    46226
SANDERS JT TEN
KEVIN D SHOEMAKER                                 4370 S BLISSFIELD HWY                                                                            BLISSFIELD       MI      49228‐9560
KEVIN D SMITH                                     7481 N PRAIRIE RD                                                                                SPRINGPORT       IN      47386‐9749
KEVIN D SMITH                                     51042 BLUEGRASS CT                                                                               GRANGER          IN      46530‐4808
KEVIN D STEWART & SUSAN B STEWART JT TEN          44120 RIVERVIEW RIDGE DR                                                                         CLINTON TOWNSHIP MI      48038‐6902

KEVIN D STROUSE                                   3362 HEMMINGWAY LN                                                                               LAMBERTVILLE       MI    48144‐9653
KEVIN D SZYCHULSKI & KATHLEEN SZYCHULSKI JT TEN   11126 DRAKE DR                                                                                   PHILADELPHIA       PA    19154‐3608

KEVIN D THOMAS                                    203 O'RILEY COURT                                                                                PONTIAC            MI    48342‐3045
KEVIN DAVIS                                       854 SUZANNE CT                                                                                   LANGLEY            WA    98260‐8631
KEVIN DEAN SCHWAB                                 5255 CORNWALL ESTATES DR                                                                         SAINT LOUIS        MO    63129‐1543
KEVIN DERRICK                                     784 N MONROEDR                                                                                   XENIA              OH    45385‐2149
KEVIN DINGER                                      PO BOX 9022                                                                                      WARREN             MI    48090‐9022
KEVIN DOHERTY                                     INTERNATIONAL PAPER 9978 FM 3129                                                                 QUEEN CITY         TX    75572
KEVIN DONOVAN & MRS LORETTA DONOVAN JT TEN        33 GOLFVIEW CT                                                                                   HOMOSASSA          FL    34446‐4272

KEVIN DOODY                                       1109 SOMERSET BLVD                                                                               COLLEYVILLE        TX    76034‐4278
KEVIN DOORLEY                                     9 SUNSET TRAIL                                                                                   CROTON             NY    10520‐2121
KEVIN DOUGLAS BETHMAN                             444 PEN ST                                                                                       NEWTOWN            PA    18940
KEVIN DUFF                                        4271 APPLE VALLEY LANE                                                                           WEST BLOOMFIELD    MI    48323‐2801

KEVIN DUFF                                        59‐40 QUEENS BLVD                                                                                WOODSIDE           NY    11377‐7758
KEVIN DUKE                                        25707 HASS                                                                                       DEARBORN HGTS      MI    48127‐3053
KEVIN DUKE REED                                   4262 TUCKANOE                                                                                    MEMPHIS            TN    38117‐3000
KEVIN DULIN                                       12290 DULIN DR                                                                                   PLATTE CITY        MO    64079
KEVIN E BALLOWE                                   2700 SUNSET CT                                                                                   VILLA RIDGE        MO    63089‐2155
KEVIN E BARBER                                    28321 SIBLEY                                                                                     ROMULUS            MI    48174‐9748
KEVIN E BEARD                                     2204 ROLLING BROOK LN                                                                            EAST LANSING       MI    48823‐1325
KEVIN E BIRKEMEIER                                3325 ANGLE ROAD                                                                                  ORCHARD PARK       NY    14127‐1442
KEVIN E BOHRER                                    56 CROSBY LA                                                                                     ROCHESTER          NY    14612‐3326
KEVIN E CONWAY                                    PO BOX 467                                                                                       BOONE              NC    28607‐0467
KEVIN E DEES                                      125 ARRIETTA SHORES DR                                                                           AUBURNDALE         FL    33823‐9336
KEVIN E FLINT                                     8707 ARMSTRONG RD                                                                                NEWPORT            MI    48166‐9390
KEVIN E HAGAN                                     PO BOX 42                                                                                        E CARONDELET       IL    62240‐0042
KEVIN E HANDGEN                                   10585 SW US HIGHWAY 59 W                                                                         RUSHVILLE          MO    64484‐7315
KEVIN E KING                                      610 HIDDEN BRANCHES                                                                              WINTERVILLE        NC    28590‐9450
KEVIN E LARSON                                    419 GLORIA ST                                                                                    ST AUGUSTINE       FL    32086‐7835
KEVIN E LOUIS                                     163 HUDSON ST                                                                                    SOUTH PLAINFIELD   NJ    07080‐1638

KEVIN E LOVEJOY                                   13750 ALLEN RD                                                                                   CLINTON            MI    49236‐9610
KEVIN E MADER & SHEILA L MADER JT TEN             109 RICE AVENUE                                                                                  NORTHBOROUGH       MA    01532‐1427
KEVIN E MCKENNA                                   296 FLOWER CITY PARK                                                                             ROCHESTER          NY    14615
KEVIN E MUMAW                                     106 LAKEWIND COURT                                                                               SANFORD            NC    27332
KEVIN E O'DEA                                     945 WARD DR #91                                                                                  SANTA BARBARA      CA    93111‐2968
KEVIN E OCONNOR                                   19497 KLONDIKE DR                                                                                CHUGIAK            AK    99567‐6784
KEVIN E PATTON                                    346 GLENSFORD CT                                                                                 CINCINNATI         OH    45240
KEVIN E PERSON                                    817 ACADEMY RD                                                                                   HOLLY              MI    48442‐1545
KEVIN E PURVIS                                    PO BOX 162                                                                                       SHARPSVILLE        IN    46068‐0162
KEVIN E TIRPACK                                   290 LOVELL AVE                                                                                   MILL VALLEY        CA    94941‐1043
KEVIN E WALSH                                     212 SINGLE DR                                                                                    NORTH SYRACUSE     NY    13212‐2156
KEVIN EARL DINGMAN                                916 PEGGOTTY CIRCLE                     OSHAWA ON                              L1K 2G6 CANADA
KEVIN ECKARDT                                     22286 NEW YORK AVE                                                                               PORT CHARLOTTE     FL    33952‐6961
KEVIN EUGENE MADDEN                               2501 ARMATRADING DR                                                                              CEDAR PARK         TX    78613‐1645
KEVIN F BROWN                                     1001 CARROLL PKWY                       APT T15                                                  FREDERICK          MD    21701‐4099
KEVIN F KEHOE                                     7956 CLOVER CREEK                                                                                MAUMEE             OH    43537‐8984
KEVIN F LYONS                                     3550 RAINBOW BLVD                       APT 114                                                  KANSAS CITY        KS    66103‐2085
KEVIN F MC MANAMAN                                12 MITCHELL AVE                                                                                  SOUTH RIVER        NJ    08882‐2445
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 605 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

KEVIN F MCCARTY ADM EST THOMAS M MCCARTY        4592 COUNTRY LANE                                                                               LIVERMORE         CA    94550
KEVIN F ROSS                                    15015 W AIRPORT BLVD                   APT 814                                                  SUGAR LAND        TX    77498‐7089
KEVIN F WHITE & ROSE M WHITE JT TEN             529 PROMONTORY DR                                                                               LOVELAND          CO    80537‐3591
KEVIN FITZPATRICK                               PO BOX 89                                                                                       ANNAPOLIS         MD    21404‐0089
KEVIN FITZSIMMONS                               233 LOWELL DR                                                                                   GRANT             AL    35747‐5018
KEVIN FLYNN                                     167 JONES ST                                                                                    FALL RIVER        MA    02720‐4114
KEVIN FULLER CUST MICHAEL FULLER UTMA NY        92 NELSON AVE                                                                                   HARRISON          NY    10528‐2934
KEVIN G AVERY                                   322 W PHILADELPHIA                                                                              FLINT             MI    48505‐3218
KEVIN G CHRISTENEN                              27150 W 12 MILE RD                                                                              SOUTHFIELD        MI    48034‐5618
KEVIN G FRAYNE                                  520 ARLINGTON                                                                                   ROCHESTER         MI    48307‐2809
KEVIN G FRAZIER                                 24561 W 10 MILE RD #7                                                                           SOUTHFIELD        MI    48034‐2995
KEVIN G GREENING                                39 ALMA ST                                                                                      SAYVILLE          NY    11782‐1336
KEVIN G HALFMAN                                 10401 W KINLEY RD                                                                               FOWLER            MI    48835‐9714
KEVIN G HELSER                                  109 WILMUTH AVE                                                                                 CINCINNATI        OH    45215‐2746
KEVIN G HICKEY                                  PO BOX 67737                                                                                    ALBUQUERQUE       NM    87193‐7737
KEVIN G JARVIS                                  1 RIVERCREST DRIVE                                                                              MASSENA           NY    13662
KEVIN G JONES                                   59 FELCH RD                                                                                     NATICK            MA    01760‐1259
KEVIN G REYNOLDS                                3 HICKORY LN                                                                                    PAWCATUCK         CT    06379‐2206
KEVIN G ROCKFORD & GAIL ROCKFORD JT TEN         2509 MILL STREAM                                                                                PLANO             TX    75075‐4006
KEVIN G SCHLEIFER                               428 TAMARA CIRCLE                                                                               NEWARK            DE    19711‐6931
KEVIN G SHEETS                                  5160 GRAY WOOD CT                                                                               INDIANAPOLIS      IN    46235‐6131
KEVIN G STIEPER                                 2810 CHELSEA CT                                                                                 BLACKSBURG        VA    24060‐4121
KEVIN G TEPFER & ARLENE E TEPFER JT TEN         4901 21ST AVE SW                                                                                PEQUOT LAKES      MN    56472‐2187
KEVIN G TYSON                                   140 EAST 217TH STREET                                                                           EUCLID            OH    44123‐1159
KEVIN GALLAGHER                                 1078 CRAFTSWOOD RD                                                                              BALTIMORE         MD    21228‐1314
KEVIN GARNETT                                   64 LADY SLIPPER COURT                                                                           JASPER            GA    30143
KEVIN GOODMAN                                   135 PARKSIDE CI                                                                                 VINE GROVE        KY    40175‐1163
KEVIN GRAFF                                     1 PASHA CT                                                                                      NEWFOUNDLAND      NJ    07435
KEVIN GUY ANDERSON                              187 W LINCOLN AVE                                                                               DELAWARE          OH    43015‐1626
KEVIN H LEWIS                                   2530 S HILLSDALE RD                                                                             HILLSDALE         MI    49242‐9502
KEVIN H THOMPSON                                363 HERITAGE AVE                                                                                BOWLING GREEN     KY    42104‐0329
KEVIN H VEJNOVICH                               3151 RINIEL RD                                                                                  LENNON            MI    48449‐9411
KEVIN H WALLEN                                  1414 S COUNTY ROAD 125 W                                                                        NEW CASTLE        IN    47362‐8906
KEVIN HAGGERTY CUST DANIELLE HAGGERTY UTMA NJ   PO BOX 681                                                                                      FRANKLINVILLE     NJ    08322

KEVIN HANSEN CUST KYLE HANSEN UTMA WA           11435 79TH WAY NE                                                                               KIRKLAND          WA    98034‐5849
KEVIN HAROLD BAXTER                             11312 SILVERLEAF DR                                                                             FAIRFAX STATION   VA    22039‐2022
KEVIN HARPER                                    390 S PARFET ST                                                                                 LAKEWOOD          CO    80226
KEVIN HEISE                                     21457 OUTLOOK CT                                                                                CASTRO VALLEY     CA    94546
KEVIN HEISTER                                   2209 LEMA RD SE                                                                                 RIO RANCHO        NM    87124‐3963
KEVIN HOLDREN                                   282 FLANDERS R R NO 1                  TECUMSEH ON                            N8N 3G4 CANADA
KEVIN I DOWD                                    G9064 MCKINLEY RD                                                                               FLUSHING          MI    48433
KEVIN J ADKINSON                                116 E MERIDIAN ST                                                                               SHARPSVILLE       IN    46068‐9433
KEVIN J ARMSTRONG JR                            125 WILLIAMS RD                                                                                 VICKSBURG         MS    39180
KEVIN J BARNES                                  309 W DICKERSON LANE                                                                            MIDDLETOWN        DE    19709‐8827
KEVIN J BOLAND                                  135 APPLE LN                                                                                    BRIARCLIFF        NY    10510‐1003
KEVIN J BORSH & PATRICIA A BORSH JT TEN         5995 WALDON RD                                                                                  CLARKSTON         MI    48346‐2266
KEVIN J BORSH & SHIRLEY R BORSH JT TEN          5995 WALDON ROAD                                                                                CLARKSTON         MI    48346‐2266
KEVIN J BOUZAS CUST BIANCA M BOUZAS UTMA MI     15450 MEADOWBROOK                                                                               REDFORD           MI    48239‐3940

KEVIN J BOUZAS CUST ZACHARY J BOUZAS UTMA MI    15450 MEADOWBROOK                                                                               REDFORD           MI    48239‐3940

KEVIN J BRADY                                   21636 KENT CT                                                                                   FRANKFORT         IL    60423‐2254
KEVIN J BROWN                                   2871 FITCH RD                                                                                   RANSOMVILLE       NY    14131‐9620
KEVIN J BUDAI                                   14481 N CLIO RD                                                                                 CLIO              MI    48420‐8845
KEVIN J BURTON                                  6551 EUDAILEY COVINGTON RD                                                                      COLLEGE GROVE     TN    37046‐9109
KEVIN J BUTLER                                  409 SEIBERTS CT                                                                                 READING           PA    19609‐1746
KEVIN J CALVERT & JO ANNE K CALVERT JT TEN      27112 HAMPDEN ST                                                                                MADISON HEIGHTS   MI    48071‐3137
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 606 of 855
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

KEVIN J DARCY                                  12 WIGGIN RD                                                                                    NAPLES            ME    04055
KEVIN J DAUM & CONNIE C DAUM JT TEN            3426 E SMITH RD                                                                                 MEDINA            OH    44256‐8734
KEVIN J DONOVAN                                3724 TIMBERLINK RD                                                                              N TONAWANDA       NY    14120‐3652
KEVIN J DURHAM                                 29840 NEWPORT                                                                                   WARREN            MI    48093‐3643
KEVIN J FLAHERTY                               #427                                   235 STATE ST                                             SPRINGFIELD       MA    01103‐1798
KEVIN J FOX                                    5234 WINDHAM WAY                                                                                ROCKLIN           CA    95765‐5305
KEVIN J GLEASON                                30 DEERCHASE LANE                                                                               LAKEWOOD          NJ    08701‐5766
KEVIN J GRIMES                                 PO BOX 618                                                                                      MOODY             ME    04054‐0618
KEVIN J GROVER CUST JAMES R GROVER UGMA MI     PO BOX 328                                                                                      ARLEE             MT    59821‐0328
KEVIN J GRUS                                   11331 JAMES ST                                                                                  NORTH             PA    15642‐4456
                                                                                                                                               HUNTINGDON
KEVIN J HAGEN                                  621 UNIVERSITY AVE                                                                              ELYRIA            OH    44035‐7238
KEVIN J HAUSRATH                               451 MEYER RD                                                                                    AMHERST           NY    14226‐1031
KEVIN J HESSION                                51‐36 30TH AVE                                                                                  WOODSIDE          NY    11377‐7952
KEVIN J HICKMAN                                21525 LANGE                                                                                     ST CLAIR SHORES   MI    48080‐1276
KEVIN J HOOK                                   2983 BAYSHORE DR                                                                                TALLAHASSEE       FL    32309‐2251
KEVIN J HUGHES CUST MAUREEN A HUGHES UTMA NY   690 FORT WASHINGTON AVE                APT 7G                                                   NEW YORK          NY    10040‐3736

KEVIN J HUSSON                                 533 W 49TH ST                          APT 2FW                                                  NEW YORK         NY     10019‐7152
KEVIN J KAMEG                                  9735 HIGHLAND RIDGE DR                                                                          HUDSON           FL     34667‐4247
KEVIN J KARKKAINEN                             929 BAY HILL AVE                                                                                NAPERVILLE       IL     60565‐1663
KEVIN J KEAN & KAREN D KEAN JT TEN             6215 AUTUMN RIDGE                                                                               RICHLAND         MI     49083‐9760
KEVIN J KENSIK                                 25919 CYPRESS ST                                                                                LOMITA           CA     90717‐2903
KEVIN J KERWIN                                 1885 RIEBLI ROAD                                                                                SANTA ROSA       CA     95404‐1041
KEVIN J KIEFER                                 4383 GRAND LIN ST                                                                               SWARTZ CREEK     MI     48473‐9133
KEVIN J KREMLER & CECELIA KREMLER JT TEN       3 SCHILLER STREET                                                                               HICKSVILLE       NY     11801‐2611
KEVIN J LEWIS & TAMARA JO LEWIS JT TEN         3178 MONTROSE COURT                                                                             PALM HARBOR      FL     34684‐1829
KEVIN J LIENING                                31116 BRETZ                                                                                     WARREN           MI     48093‐5560
KEVIN J LOSIN                                  7698 SANTA MARGHERITA WAY                                                                       NAPLES           FL     34109‐7153
KEVIN J MADDUX                                 6045 SNOWBIRD DR                                                                                COLORADO SPRINGS CO     80918‐1575

KEVIN J MAHER                                  MILLER RD                                                                                       NEW VERNON        NJ    07976
KEVIN J MARTIN                                 10107 BEERS RD                                                                                  SWARTZ CREEK      MI    48473‐9160
KEVIN J MC GARVEY                              238 SUMMIT AVE                                                                                  GLENOLDEN         PA    19036‐2439
KEVIN J MC GREE                                1291 CHEATHAM WAY                                                                               BELLBROOK         OH    45305‐8758
KEVIN J MC GUIRE                               623 CORA PLACE                                                                                  RAHWAY            NJ    07065‐3726
KEVIN J MC KEGNEY                              3405 WARRENS WAY                                                                                WANAQUE           NJ    07465‐1672
KEVIN J MC VEIGH                               36100 HWY 228                                                                                   BROWNSVILLE       OR    97327‐9738
KEVIN J MCQUAIN                                10130 CENTURY LN                                                                                LENEXA            KS    66215‐1866
KEVIN J MEEHAN                                 4712 S 66TH E AVE                                                                               TULSA             OK    74145‐5821
KEVIN J MEIER                                  6513 S 184TH AVE                                                                                OMAHA             NE    68135‐1528
KEVIN J MURPHY & DIANE W MURPHY JT TEN         1337 SW 181 AVE                                                                                 PEMBROKE PINES    FL    33029‐4904
KEVIN J NOVAK                                  11159 RAY ROAD                                                                                  GAINES            MI    48436‐8918
KEVIN J O'MALLEY                               4202 BRENTWOOD LANE                                                                             WAUKEGAN          IL    60057
KEVIN J OLSEN                                  621 SLOAT PLACE                                                                                 RIVER VALE        NJ    07675‐6233
KEVIN J OLSEN & SUSAN S OLSEN JT TEN           621 SLOAT PLACE                                                                                 RIVER VALE        NJ    07675‐6233
KEVIN J PECK                                   176 NORTH MOORE RD                                                                              SIMPSONVILLE      SC    29680‐6310
KEVIN J PFUND                                  281 LAWRENCE RD                                                                                 BROCKPORT         NY    14420
KEVIN J PHILLIPS                               22 NORWOOD RD                                                                                   NORTHPORT         NY    11768‐3506
KEVIN J POMMIER                                5 10TH ST NW                                                                                    WATERTOWN         SD    57201‐3215
KEVIN J QUINN                                  9404 BARCROFT DR                                                                                INDIANAPOLIS      IN    46240‐1114
KEVIN J REAGAN & KATHRYN A REAGAN JT TEN       5515 WINDFORD DR                                                                                ST LOUIS          MO    63129‐3528
KEVIN J RYAN                                   13505 BROKEN BRANCH WAY                                                                         LOUISVILLE        KY    40245‐2085
KEVIN J RYAN & MARY B RYAN JT TEN              812 N COLUMBIA                                                                                  SIOUX FALLS       SD    57103
KEVIN J SCHATZMAN & ANNETTE O SCHATZMAN TEN    5223 SANTA ELENA CIRCLE                                                                         EL PASO           TX    79932‐2535
COM
KEVIN J SCHEID                                 6189 92ND AVE SE                                                                                MERCER ISLAND     WA    98040
KEVIN J SCHIAVONI                              8 REVERE ST                                                                                     BRADFORD          MA    01835
KEVIN J SCHROEDER                              4794 COUNTRY RIDGE CT                                                                           HOLLAND           MI    49423‐9068
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 607 of 855
Name                                             Address1                              Address2                   Address3    Address4          City               State Zip

KEVIN J SCHUMACHER                               7490 ROBLIN BLVD                      HEADINGLY MB                           R3P 1W3 CANADA
KEVIN J SMITH                                    331 GLENWOOD AVE                                                                               ROCHESTER          NY    14613‐2327
KEVIN J SMITH                                    5294 COPLEY SQUARE                                                                             GRAND BLANC        MI    48439‐8726
KEVIN J SMITH                                    823 ST NICHOLAS AVE                                                                            DAYTON             OH    45410‐2521
KEVIN J STARRS                                   4553 GREEN LK RD                                                                               WEST BLOOMFIELD    MI    48323‐1340

KEVIN J SZESZULSKI                               8065 W POTTER RD                                                                               FLUSHING           MI    48433‐9444
KEVIN J TRANCHITA                                13911 FALBA                                                                                    HOUSTON            TX    77070‐3823
KEVIN J VALENTIN                                 1908 ASTER CT                                                                                  JOHNSBURG          IL    60051‐5266
KEVIN J VANBODEN                                 181 SEARLWYN RD                                                                                SYRACUSE           NY    13205‐3126
KEVIN J WARD                                     6513 UNDERWOOD COVE                                                                            FORT WAYNE         IN    46835‐1321
KEVIN J WEISSENBORN                              1010 SHELDON ROW                                                                               CHARLOTTE          MI    48813‐1014
KEVIN J WUNDERLIN                                2121 PHILLIPS STREET                                                                           LEWISBURG          TN    37091‐3034
KEVIN JACK LAWRENCE & PEGGY LYNN LAWRENCE JT     1101 E HURD RD                                                                                 CLIO               MI    48420‐7900
TEN
KEVIN JAMES BACHMAN                              10027 WINDZAG LANE                                                                             CINCINNATI         OH    45242‐5846
KEVIN JAMES GILKINSON                            36815 SPARTA AVE                                                                               MADERA             CA    93638‐8531
KEVIN JAMES LEGGE                                9342 TWIN TRAILS DR                   UNIT 203                                                 SAN DIEGO          CA    92129‐2681
KEVIN JAMES MAGUIRE                              2966 MIDDLEFORK RD                                                                             BOULDER            CO    80302‐9316
KEVIN JAMES REMSEN                               517 PINE AVE                                                                                   KENAI              AK    99611‐7556
KEVIN JANICELLI CUST JULIA C JANICELLI UGMA NY   LIGHTWORK                             15 SHADY LANE                                            PUTNAM VALLEY      NY    10579‐2046

KEVIN JANSSEN                                    BOX 172                                                                                        PITTSFORD          VT    05763‐0172
KEVIN JAY LONG                                   SUITE 5B                              4572 NORTH MILWAUKEE AVE                                 CHICAGO            IL    60630‐3745
KEVIN JOE SCOTT                                  120 W COLLEGE ST                                                                               LADOGA             IN    47954‐9361
KEVIN JOHN BURNHAM CUST KYLE CREIGHTON           19 LAUREL GLEN DR                                                                              EAST HAMPTON       CT    06424‐1019
BURNHAM UTMA CT
KEVIN JOHN CHENEY                                10948 COLONEL WINN LOOP                                                                        AUSTIN             TX    78748‐2517
KEVIN JOHN DOOLEY                                2423 DOVER DR                                                                                  LARAMIE            WY    82072‐5300
KEVIN JOHN KOLODSICK & EVAN GEORGE SHUSTER JT    3102 COBBLESTONE RDG                                                                           TECUMSEH           MI    49286
TEN
KEVIN JOHN MANNION                               55 ADAIR COURT                                                                                 MALVERNE           NY    11565‐1006
KEVIN JOHN ZUCHLEWSKI CUST TALON RILEY           84 HEATH TERRACE                                                                               BUFFALO            NY    14223‐2414
ZUCHLEWSKI UGMA NY
KEVIN JONES                                      10156 LYNDALE AVE S                   APT 104                                                  MINNEAPOLIS        MN    55420‐4746
KEVIN JOSEPH REARDON                             6061 N FOREST GLEN                                                                             CHICAGO            IL    60646‐5013
KEVIN K BENJAMIN                                 511 E JEFFERSON                                                                                DIMONDALE          MI    48821‐9623
KEVIN K COOMBS                                   3901 PAMELA CT                                                                                 KOKOMO             IN    46902‐7131
KEVIN K FUQUA                                    5215 DEER CREEK DR                                                                             INDIANAPOLIS       IN    46254‐3556
KEVIN K GRAMLICH                                 44600 ROBSON RD                                                                                BELLEVILLE         MI    48111‐1399
KEVIN K HENNESSEY                                13736 HIGH POINT CIRCLE                                                                        FISHERS            IN    46038
KEVIN KAPL                                       144 NEWPORT DR                                                                                 BOLINGBROOK        IL    60440‐2827
KEVIN KEANE & DIANA R KEANE JT TEN               23‐15 207 STREET                                                                               BAYSIDE            NY    11360
KEVIN KEARNS                                     124 WEST 46TH ST                                                                               BAYONNE            NJ    07002
KEVIN KEATING                                    8266 STONE RD                                                                                  MEDINA             OH    44256‐8979
KEVIN KEIDEL                                     619 BONNIE PL                                                                                  FRANKLIN           TN    37064‐2954
KEVIN KEITH KOITHAHN                             215 W VINE                            PO BOX 132                                               SHERWOOD           OH    43556‐0132
KEVIN KENNETH HENNING CUST RYAN KENNETH          11680 WHITEHALL                                                                                STERLING HEIGHTS   MI    48313‐5076
HENNING UGMA MI
KEVIN KING                                       1710 W PALOMINO DR                                                                             CHANDLER           AZ    85224‐2250
KEVIN KOHL                                       304 ARBORHILL LN                                                                               HOLLY SPRINGS      NC    27540
KEVIN KRAMARCZYK                                 9753 FOUNTAIN LN                                                                               FOWLERVILLE        MI    48836‐9662
KEVIN L AHLGRIM & EDWARD W AHLGRIM JT TEN        176 E ASPEN LN                                                                                 LA PORTE           IN    46350‐9368
KEVIN L ALLEN                                    18616 MOON TOWN RD                                                                             NOBLESVILLE        IN    46060‐8281
KEVIN L BAKER                                    6180 EAST AVE                                                                                  NEW FANE           NY    14108‐1328
KEVIN L BALDWIN & DIANA L BALDWIN JT TEN         5689 BOODY RD                                                                                  EATON RAPIDS       MI    48827‐9039
KEVIN L BEEBE                                    4098 QUICK RD                                                                                  HOLLY              MI    48442‐1107
KEVIN L BONE                                     PO BOX 184                                                                                     KANE               IL    62054‐0184
KEVIN L BRINKER                                  11250 EXETER DR                                                                                ORLAND PARK        IL    60467‐8650
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 608 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

KEVIN L BROADNAX                                 4087 WILLIAMS                                                                                  INKSTER           MI    48141‐3051
KEVIN L CONAWAY                                  PO BOX 271                                                                                     FOOTVILLE         WI    53537‐0271
KEVIN L CORDER                                   2179 EWALT STREET N E                                                                          WARREN            OH    44483‐2911
KEVIN L CRIM                                     628 HIGH ST/APT 8                                                                              GRINNELL          IA    50112‐2273
KEVIN L DANIELS                                  33 SEAGRAPE ST                                                                                 HOMOSASSA         FL    34446‐4335
KEVIN L FISHER                                   9449 BAUER RD                                                                                  DEWITT            MI    48820‐9224
KEVIN L FUNICELLO                                726 SE HIDDEN RIVER DR                                                                         PORT ST LUCIE     FL    34983‐2776
KEVIN L GERARD                                   2132 S LONG LAKE ROAD                                                                          FENTON            MI    48430‐1456
KEVIN L GLASCO                                   121 EDGAR RD                                                                                   TOWNSEND          DE    19734‐2416
KEVIN L HAMES                                    2008 AIRLINE                                                                                   FRIENDSWOOD       TX    77546‐5502
KEVIN L HARRY                                    7732 W CO RD 950N                                                                              MIDDLETOWN        IN    47356‐9371
KEVIN L HIGGINS & JOAN G HIGGINS JT TEN          16 NAUTICAL WATCHWAY                                                                           HARBOR ISLAND     SC    29920
KEVIN L JOHNS & LORNA R JOHNS JT TEN             2550 PARKSIDE DR                                                                               FLINT             MI    48503‐4661
KEVIN L KENT                                     4309 BIRCHWOOD AVE                                                                             ASHTABULA         OH    44004‐6065
KEVIN L KNUDTSEN                                 4027 HARBOUR COVE DR                                                                           JACKSONVILLE      FL    32225‐1502
KEVIN L MC CLELLAN                               3136 HIDDEN TIMBER DR                                                                          ORION             MI    48359‐1584
KEVIN L MIDDENDORF                               2982 SUMMERCREST LN                                                                            HUDSONVILLE       MI    49426‐8809
KEVIN L MOLINATTO                                414 HILLCREST DR                                                                               ASHLAND           OH    44805‐4152
KEVIN L MOORE                                    808 SOUTH DETROIT STREET                                                                       LOS ANGELES       CA    90036‐4814
KEVIN L MORRISSEY CUST BRIANNA E MORRISSEY UTMA 47 NIMITZ ST                                                                                    HUNTINGTON        NY    11743‐6142
MA
KEVIN L MORRISSEY CUST KEVIN L MORRISSEY UTMA NY 47 NIMITZ ST                                                                                   HUNTINGTON        NY    11743‐6142

KEVIN L NEWMAN                                  G‐15005 BIRD ROAD                                                                               BYRON             MI    48418
KEVIN L NIBERT                                  3412 S NORWOOD AVE                                                                              INDEPENDENCE      MO    64052‐2722
KEVIN L NOON                                    8340 WIGGINS RD                                                                                 HOWELL            MI    48843‐9214
KEVIN L ORPURT                                  212 POTOMAC AVE                                                                                 TERRE HAUTE       IN    47803‐1634
KEVIN L POST                                    4485 FOREST TRAIL                                                                               CINCINNATI        OH    45244‐1523
KEVIN L PURRY                                   19656 ANDOVER                                                                                   DETROIT           MI    48203‐1631
KEVIN L ROBERTSON                               40 MEMORIAL DR                                                                                  NEW CASTLE        DE    19720‐1334
KEVIN L ROST                                    307 FULLER ST                                                                                   NASHVILLE         MI    49073‐9769
KEVIN L RUSH                                    5215 CYPRESS CIR                                                                                GRAND BLANC       MI    48439‐8692
KEVIN L RYAN                                    853 S NEVINS ROAD                                                                               STANTON           MI    48888‐9137
KEVIN L SHELDON                                 3343 FENTON RD                                                                                  HOLLY             MI    48442‐8921
KEVIN L SIMMONS                                 7019 N PENNSYLVANIA                                                                             KANSAS CITY       MO    64118‐2433
KEVIN L SKIPPERS                                209 W PARK ST                                                                                   VICKSBURG         MI    49097‐1331
KEVIN L STOFFLET & JOAN E STOFFLET JT TEN       11006 FERNWOOD PATH                                                                             WASHINGTON        MI    48094‐1513
KEVIN L THOMAS & MARY K THOMAS JT TEN           99 TREE LANE                           WOODLAND TERRACE                                         DUNCANSVILLE      PA    16635
KEVIN L VOSS                                    988 SPRINGVIEW CIRCLE                                                                           SAN RAMON         CA    94583‐4721
KEVIN L WEAVER                                  2173 CARPATHIAN DR                                                                              WEST BLOOMFIELD   MI    48324‐1385

KEVIN L WELCH                                   11253 EVERGREEN TRL                                                                             EATON RAPIDS      MI    48827‐8215
KEVIN L WERT                                    1410 ARMSTRONG VALLEY RD                                                                        HALIFAX           PA    17032‐8383
KEVIN L WILSON                                  104 BRENTWOOD SQ                                                                                NASHVILLE         TN    37211‐6279
KEVIN LECLAIR                                   37452 LADUE ST                                                                                  CLINTON TWP       MI    48036‐2916
KEVIN LEE MCKEE                                 7764 W LAZY K PL                                                                                TUCSON            AZ    85743‐7899
KEVIN LEUNG                                     4699 EIDSON RD                                                                                  ATLANTA           GA    30360
KEVIN LOCKWOOD CUST CONNOR J LOCKWOOD UTMA      336 E KAY ST                                                                                    HERSCHER          IL    60941‐5501
IL
KEVIN LOCKWOOD CUST SEAN LOCKWOOD UTMA IL       336 E KAY ST                                                                                    HERSCHER          IL    60941‐5501

KEVIN LYNCH                                     484 DIABLO DRIVE                                                                                UPPER ST CLAIR    PA    15241‐1780
KEVIN M ARMSTRONG                               158 NORMAN                                                                                      VASSAR            MI    48768
KEVIN M BENTLEY                                 3710 HOLLOW CORNERS RD                                                                          DRYDEN            MI    48428‐9727
KEVIN M BIRCH                                   161 FISHERMANS CV                                                                               ROCHESTER         NY    14626‐4857
KEVIN M BLOMMER                                 7160 LACEY LAKE RD                                                                              BELLEVUE          MI    49021‐8402
KEVIN M BOOTH                                   503 RT 45                                                                                       SALEM             NJ    08079‐4229
KEVIN M BRITT                                   10304 GLEN ARBOR PASS                                                                           FORT WAYNE        IN    46804‐9539
KEVIN M BUDDE                                   2603 HESS RD                                                                                    APPLETON          NY    14008‐9637
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 609 of 855
Name                                               Address1                            Address2             Address3          Address4          City            State Zip

KEVIN M CLERY                                      2471 S AURELIUS RD                                                                           MASON           MI    48854‐9783
KEVIN M COOKE CUST JAMES R COOKE UTMA MD           9572 MICHAELS WAY                                                                            ELLICOTT CITY   MD    21042‐2458
KEVIN M COOKE CUST KEVIN M COOKE JR UTMA MD        9572 MICHAELS WAY                                                                            ELLICOTT CITY   MD    21042‐2458

KEVIN M COOKE CUST ROBERT T COOKE UTMA MD          9572 MICHAELS WAY                                                                            ELLICOTT CITY   MD    21042‐2458
KEVIN M COOKE CUST WILLIAM J COOKE UTMA MD         9572 MICHAELS WAY                                                                            ELLICOTT CITY   MD    21042‐2458

KEVIN M CRONKRIGHT                                 507 WESTOVER PASS                                                                            GRAND BLANC     MI    48439‐1016
KEVIN M CUSSANS                                    5489 DELAND RD                                                                               FLUSHING        MI    48433‐1172
KEVIN M DAVIS                                      10892 CLARA BARTON DRIVE                                                                     BRISTOW         VA    20136‐1350
KEVIN M DAVIS CUST STEVEN M DAVIS UTMA VA          10892 CLARA BARTON DRIVE                                                                     BRISTOW         VA    20136‐1350
KEVIN M DAVIS CUST VINCENT M DAVIS UTMA VA         10892 CLARA BARTON DRIVE                                                                     BRISTOW         VA    20136‐1350
KEVIN M ELLIS                                      2291 WEST BLVD                                                                               HOLT            MI    48842‐1056
KEVIN M ENGLISH                                    45237 WILLIS                                                                                 BELLEVILLE      MI    48111‐8944
KEVIN M FAGAN                                      307 WELHAM CT                                                                                NOBLESVILLE     IN    46060‐5422
KEVIN M FISHER                                     2071 WATERFALL DRIVE                                                                         HANOVER         PA    17331
KEVIN M FREEMAN                                    539 FAIRMOUNT AVE                                                                            CHATHAM         NJ    07928‐1371
KEVIN M FURLONG & MARY FURLONG JT TEN              PO BOX 8094                                                                                  BERKELEY        CA    94707‐8094
KEVIN M GALLEGLY                                   PO BOX 584                                                                                   MOYIE SPRINGS   ID    83845‐0584
KEVIN M GERTISER                                   PO BOX 6207                                                                                  KOKOMO          IN    46904‐6207
KEVIN M GILLIGAN                                   2739 SOMMERRIDGE RD                                                                          LAFAYETTE       NY    13084‐9727
KEVIN M GROSSHEIM                                  4700 LEVIS LN                                                                                GODFREY         IL    62035‐1382
KEVIN M HADLEY                                     8801 MARYGROVE DR                                                                            DETROIT         MI    48221‐2947
KEVIN M HOPSON                                     11405 SCOTSGLEN COURT                                                                        GLEN ALLEN      VA    23059‐5534
KEVIN M JACKSON                                    17888 ANGLIN                                                                                 DETROIT         MI    48212‐1006
KEVIN M JONES                                      1023 SW 80TH TERRACE                                                                         GAINESVILLE     FL    32607‐4900
KEVIN M KANYO                                      14742 SHENANDOAH DR B#25                                                                     RIVERVIEW       MI    48193‐7731
KEVIN M KENNEDY                                    8509 N 15TH DR                                                                               PHOENIX         AZ    85021‐5423
KEVIN M KIRKPATRICK & CAROL A KIRKPATRICK JT TEN   3 GASTON ST                                                                                  MELVILLE        NY    11747‐1319

KEVIN M KROLL                                 6969 CHADWICK RD                                                                                  DEWITT          MI    48820‐9117
KEVIN M LAMBERT                               4127 FLORIDA CT                                                                                   LIVERMORE       CA    94550‐3424
KEVIN M LARSON                                1835 RING NECK DR                                                                                 ROCHESTER       MI    48307‐6010
KEVIN M LYONS                                 9061 BEVERLY                                                                                      DETROIT         MI    48204‐2341
KEVIN M MAGELAND                              1925 S WILLARD AVE                                                                                JANESVILLE      WI    53546‐5951
KEVIN M MAREK                                 210 S MOBILE ST #18                                                                               FAIRHOPE        AL    36532‐1347
KEVIN M MC CARTHY                             15 BERTRAM AVENUE                                                                                 SOUTH AMBOY     NJ    08879‐1490
KEVIN M MC GUIRE                              101 SUNDOWN TRAIL                                                                                 WILLIAMSVILLE   NY    14221‐2220
KEVIN M MC NEIL                               6944 TALBOT                                                                                       ALMONT          MI    48003‐7924
KEVIN M MCFARLIN                              2310 SEMINARY ROAD                                                                                MILAN           OH    44846‐9476
KEVIN M MCGUANE                               78 HIGHLAND VIEW DR                                                                               SOMERS          CT    06071
KEVIN M MICKELSON                             7801 SAN ISABEL DR                                                                                PLANO           TX    75025‐6605
KEVIN M MORRISSEY                             1034 SOUTH LAKE DRIVE                                                                             GIBSONIA        PA    15044‐6113
KEVIN M NEIDY                                 PO BOX 939                                                                                        MORTON GROVE    IL    60053‐0939
KEVIN M NEWMAN                                3319 PROSPECT AVE                                                                                 LA CRESCENTA    CA    91214‐2549
KEVIN M PERLONGO                              8329 NORTH NEWBURGH                                                                               WESTLAND        MI    48185‐1149
KEVIN M PINKERT                               31 BELLHURST RD                                                                                   TONAWANDA       NY    14150‐4206
KEVIN M RICHARDSON                            34379 TUPELO STREET                                                                               FREMONT         CA    94555
KEVIN M ROBERT                                715 MAJESTIC                                                                                      ROCHESTER HLS   MI    48306‐3571
KEVIN M RUPPELT                               77 LITTLE FOX LN                                                                                  SOUTHBURY       CT    06488‐4637
KEVIN M SCHMIDT                               3014 E SECOND ST                                                                                  DAYTON          OH    45403‐1239
KEVIN M SCOTELLARO CUST AMY M SCOTELLARO UTMA 23W222 SAINT JAMES CT                                                                             GLEN ELLYN      IL    60137‐6510
IL
KEVIN M SCOTELLARO CUST ANTHONY M SCOTELLARO 23W222 SAINT JAMES CT                                                                              GLEN ELLYN      IL    60137‐6510
UTMA IL
KEVIN M SHEA                                  499 VINTAGE LANE                                                                                  ROCHESTER       NY    14615‐1027
KEVIN M SKILES                                122 CEDAROSA                                                                                      FESTUS          MO    63028‐5505
KEVIN M SMITH                                 3234 BARKWAY DR                                                                                   STERLING HTS    MI    48310‐6917
KEVIN M SMOLEY                                3 BARNEWELL COURT                        #203                                                     BALTIMORE       MD    21234
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 610 of 855
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

KEVIN M STEVENS                                20 VILLAGE DR 106                                                                             PROCTOR           MN    55810‐2129
KEVIN M STUBBS                                 26773 S RIVER PARK                                                                            INKSTER           MI    48141‐1851
KEVIN M SWINT                                  5360 KILBURN RD                                                                               SYLVANIA          OH    43560‐9675
KEVIN M TARNAS                                 1183 W BOSTON BLVD                                                                            DETROIT           MI    48202‐1409
KEVIN M THOMAS                                 1511 AMY ST                                                                                   BURTON            MI    48509‐1801
KEVIN M TRACY                                  41 ATLANTIC AVE                                                                               WYNANTSKILL       NY    12198‐7509
KEVIN M WHITE                                  3740 WEMBLEY LN                                                                               LEXINGTON         KY    40515‐1273
KEVIN M WINTER & KIMBERLY S WINTER JT TEN      310 STAMFORD DR                                                                               NEWARK            DE    19711‐2761
KEVIN M ZACHARKO                               905 TAYLOR ST                                                                                 BAY CITY          MI    48708‐8215
KEVIN MAC PHAIL                                14703 NORTHWOOD                                                                               MAGALIA           CA    95954‐9396
KEVIN MAGUIRE                                  185 MARINE AVE                       APT 5H                                                   BROOKLYN          NY    11209‐7749
KEVIN MAHONEY                                  3513 RUSSELL THOMAS LN                                                                        DAVIDSONVILLE     MD    21035‐2522
KEVIN MALONEY UNDER GUARDIANSHIP OF ROSE H     1325 ISLAND AVE                                                                               CUMBERLAND        WI    54829‐9167
MALONEY
KEVIN MARK ADKINS                              28651 LEONA                                                                                   GARDEN CITY       MI    48135‐2757
KEVIN MARK PICKARD                             1361 TEALL AVE                                                                                SYRACUSE          NY    13206‐3258
KEVIN MATSUMOTO                                9465 MIDDLESBORO WAY                                                                          ELK GROVE         CA    95758‐9520
KEVIN MC DONALD & HELEN E MC DONALD JT TEN     1307 S MOUNTAIN BLVD                                                                          MOUNTAIN TOP      PA    18707‐9631

KEVIN MC MAHON                                 1241 MCMULLEN BOOTH ROAD                                                                      CLEARWATER        FL    33759‐3232
KEVIN MCBRIDE & LYNN MCBRIDE JT TEN            PO BOX 51095                                                                                  CASPER            WY    82605‐1095
KEVIN MCGINLEY CUST SHAUN P MCGINLEY UTMA CA   51 LA CERRA DR                                                                                RANCHO MIRAGE     CA    92270‐3812

KEVIN MCKEE                                    3939 ILLINOIS ST                     APT 3C                                                   SAN DIEGO         CA    92104‐3028
KEVIN MCMAHON & KATHLEEN C MCMAHON JT TEN      1241 MCMULLEN BOOTH ROAD                                                                      CLEARWATER        FL    33759‐3232

KEVIN MCPEAK                                   2224 LAGO VENTANA                                                                             CHULA VISTA       CA    91914‐2059
KEVIN MEREDITH                                 6355 NE 64TH ST                                                                               BONDORANT         IA    50035‐9211
KEVIN MICHAEL JENKINS                          169 D EVERAUX DRIVE                                                                           NATCHEZ           MS    39120
KEVIN MICHALOWICZ & LEONARD MICHALOWICZ JT TEN 55119 HAGEN DR                                                                                SHELBY TOWNSHIP   MI    48315‐1053

KEVIN MINLEY                                    4172 9TH STREET                                                                              ECORSE            MI    48229‐1208
KEVIN MITCHELL WHITE CUST BRADLEY MICHAEL WHITE 23745 SANCTUARY CLUB DR                                                                      KILDEER           IL    60047‐8627
UTMA IL
KEVIN MORRISSEY                                 11130 74TH AVE                                                                               SEMINOLE          FL    33772‐5332
KEVIN MUIR LIGHTNER                             2600 CROASDAILE FARM PKWY           APT A232                                                 DURHAM            NC    27705‐1336
KEVIN MULHOLLAND                                60 CROSS ST                                                                                  LITTLE SILVER     NJ    07739‐1347
KEVIN N ADDISON                                 2117 CROSSFIELD DR                                                                           ELIZABETHTOWN     KY    42701‐7831
KEVIN N BROWN                                   212 N BEACH RD 471                                                                           COCOLALLA         ID    83813‐9662
KEVIN N COULTER                                 697 SMITH HOLLOW RD                                                                          LYNNVILLE         TN    38472‐8017
KEVIN N DWYER                                   3107 W LAWN AVE                                                                              TAMPA             FL    33611‐1926
KEVIN N MC GRATH                                3778 COVENTRY LANE                                                                           BOCA RATON        FL    33496‐4057
KEVIN NEFF                                      487 MONTI CIRCLE                                                                             PLEASANT HILL     CA    94523‐2733
KEVIN NELSON                                    1612 LEHIGH STATION RD                                                                       HENRIETTA         NY    14467‐9501
KEVIN NEVILLE & DONNA NEVILLE JT TEN            16 CAROL LN                                                                                  POUGHQUAG         NY    12570‐5656
KEVIN NEWCOMB                                   9450 HIGHBRIDGE CT                                                                           MENTOR            OH    44060‐6584
KEVIN NOLAN & MOLLY NOLAN JT TEN                7868 CREAMERY RD                                                                             BERGEN            NY    14416‐9344
KEVIN O GILLIES CUST AARON MICHAEL GILLIES UGMA 1 RUE D AMBOISE                     TOURS FRANCES                          37000 FRANCE
UT
KEVIN O HART                                    5543 CHAR DR                                                                                 INDIANAPOLIS      IN    46221
KEVIN O SABO                                    616 WEESNER DRIVE                                                                            PLAINFIELD        IN    46168‐1273
KEVIN O THOVSON                                 7261 VOYAGER CT NW                                                                           ROCHESTER         MN    55901‐8848
KEVIN O'D MORAN                                 6710 GOLFCREST DRIVE                                                                         GALVESTON         TX    77551‐1824
KEVIN OKEEFE                                    STE 4100                            30 N LASALLE ST                                          CHICAGO           IL    60602‐2507
KEVIN OLMEZER CUST JOSEPH C OLMEZER UTMA FL     10968 NW 9TH MANOR                                                                           CORAL SPRINGS     FL    33071

KEVIN OLMEZER CUST SAMUEL R OLMEZER UTMA FL    10968 NW 9TH MANOR                                                                            CORAL SPRINGS     FL    33071

KEVIN OWENS                                    13295 PREST                                                                                   DETROIT           MI    48227‐2132
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 611 of 855
Name                                           Address1                               Address2             Address3          Address4          City            State Zip

KEVIN P CARDOZA                                83 SPINDRIFT ST                                                                                 JAMESTOWN       RI    02835‐3038
KEVIN P CARROLL                                PO BOX 1992                                                                                     LYONS           CO    80540‐1992
KEVIN P COLE                                   2709 W AVALON RD                                                                                JANESVILLE      WI    53546‐8990
KEVIN P COYNE                                  142 ROCKLAND AVE                                                                                PORTLAND        ME    04102‐2039
KEVIN P CUMMINGS & JANET G CUMMINGS JT TEN     6363 NW PADDINGTON COURT                                                                        SILVERDALE      WA    98383

KEVIN P DOYLE                                  19 WINDMERE DR                                                                                  RAYMOND         NH    03077
KEVIN P EGAN                                   1000 N OAK ST                                                                                   FENTON          MI    48430
KEVIN P FRISCH                                 5901 HICKORYKNOLL DR                                                                            CINCINNATI      OH    45233‐4827
KEVIN P GERRY                                  711 N SOLEDAD ST                                                                                SANTA BARBARA   CA    93103‐2437
KEVIN P KEHL                                   2 ECOWAY CT                            APT 3A                                                   TOWSON          MD    21286‐4437
KEVIN P KING & PATRICIA J KING JT TEN          225 BUNKER HILL DR                                                                              BROOKFIELD      WI    53005‐7905
KEVIN P KISSICK                                615 S OAK ST                                                                                    FORTVILLE       IN    46040
KEVIN P LANGLOIS                               55 BROAD ST                                                                                     REHOBOTH        MA    02769‐1212
KEVIN P LEE                                    309 KROEGER ST                                                                                  DUPO            IL    62239‐1305
KEVIN P MARTYN                                 4 ORBACK LANE                                                                                   PLEASANTVILLE   NY    10570‐2434
KEVIN P MATHEWS                                2713 HAVERSHAM CT                                                                               CHARLOTTE       NC    28216‐9610
KEVIN P MILLER                                 5745 TANAGER ST                                                                                 SCHERERVILLE    IN    46375‐5304
KEVIN P MURPHY                                 722 NORTHBROOK RD                                                                               KENNET SQ       PA    19348‐1510
KEVIN P MURPHY CUST CLAIRE M MURPHY UTMA PA    722 NORTHBROOK RD                                                                               KENNET SQ       PA    19348‐1510

KEVIN P MURPHY CUST PATRICK MURPHY UTMA PA     602 ANDOVER RD                                                                                  NEWTOWN SQ      PA    19073‐1404

KEVIN P MURPHY CUST WILLIAM K MURPHY UTMA PA   722 NORTHBROOK RD                                                                               KENNET SQ       PA    19348‐1510

KEVIN P NELLER                                 501 EDWARD STREET                                                                               VERONA           WI   53593‐1053
KEVIN P PFEFFERLE                              2013 WEST LOUISE                                                                                GRAND ISLAND     NE   68803‐5916
KEVIN P SHEA                                   769 E FLAMANGO CT                                                                               WEST PALM BCH    FL   33406‐4309
KEVIN P SPATZ                                  606 OVERLOOK DR                                                                                 WYCKOFF          NJ   07481‐1310
KEVIN P STEFFENHAGEN                           1960 TOWNLINE 12 RD                                                                             WILLARD          OH   44890
KEVIN P TYO                                    229 WILLARD RD                                                                                  MASSENA          NY   13662‐3476
KEVIN P WILSON                                 29361 CASTLE RD                                                                                 LAGUNA NIGUEL    CA   92677‐7806
KEVIN PATRICK FERRELL                          186 REDUNDO                                                                                     PITTSBURG        CA   94565
KEVIN PATRICK KELLEY                           3604 N W 84TH AVE                                                                               CORAL SPRINGS    FL   33065‐4506
KEVIN PEERS                                    27 CHELTENHAM ST                                                                                LIDO BEACH       NY   11561‐5010
KEVIN PEFLEY                                   4510 BENJAMIN DR                                                                                STERLING HGHTS   MI   48310‐1907
KEVIN PERRIN CUST ADAM PERRIN UTMA IA          501 WEST ST                                                                                     THURMAN          IA   51654‐2002
KEVIN PERRIN CUST ALEX PERRIN UTMA IA          501 WEST ST                                                                                     THURMAN          IA   51654‐2002
KEVIN PETERSON                                 19520 DEWEY AVE                                                                                 ELKHORN          NE   68022
KEVIN PHILLIP LYONS                            24 NEWFIELD STREET                                                                              BUFFALO          NY   14207‐1716
KEVIN PHOENIX                                  185 BRESTER AVE                                                                                 PISCATAWAY       NJ   08854
KEVIN PICKETT                                  3334 SASSAFRAS CRT                                                                              ORLANDO          FL   32810
KEVIN PINNEY CUST KEVIN PINNEY UTMA PA         753 E MADISON CIR                                                                               PITTSBURGH       PA   15229‐1210
KEVIN R ANDRES                                 107 CHERRY TREE PLACE                                                                           CORAOPOLIS       PA   15108‐1124
KEVIN R BALCOM                                 565 E OAK TERR                                                                                  YOUNGSTOWN       NY   14174‐1209
KEVIN R BRANCH                                 PO BOX 29                                                                                       BARKER           NY   14012‐0029
KEVIN R CASEY                                  4187 CORDELL DRIVE                                                                              DAYTON           OH   45439‐2607
KEVIN R CLOE                                   439 PENNSYLVANIA AVE                                                                            NORFOLK          VA   23508‐2832
KEVIN R COLLIER                                24 JANNIS ANN DRIVE                                                                             ST PETERS        MO   63376‐1223
KEVIN R ELLIS                                  12471 E 114TH AVE                                                                               HENDERSON        CO   80640‐9266
KEVIN R FLEMING                                2011 LANCASTER AVE SW                                                                           DECATUR          AL   35603‐1056
KEVIN R GOFF                                   2610 SORORITY LN                                                                                HOLT             MI   48842‐8743
KEVIN R GRAY                                   28708 WINTERGREEN DR                                                                            FARMINGTON HILLS MI   48331‐3018

KEVIN R GUTSHALL                               307 EAGLE ST                                                                                    WOODSTOCK       VA    22664‐1907
KEVIN R HOLTON                                 38230 PALMATEER RD                                                                              WESTLAND        MI    48186‐9309
KEVIN R JOHNSTON                               535 MIDDLE STREET                                                                               NORTH BABYLON   NY    11703
KEVIN R KAMINSKY                               105 LONG VUE DR                                                                                 WHITE OAK       PA    15131
KEVIN R KEENAN                                 3 CHRISTINE CT                                                                                  SPOTSWOOD       NJ    08884
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 612 of 855
Name                                               Address1                              Address2             Address3          Address4          City           State Zip

KEVIN R KINES                                      6353 OMARA DR                                                                                  EATON RAPIDS   MI    48827‐8744
KEVIN R KNIGHT                                     4021 CANEY CREEK LN                                                                            CHAPEL HILL    TN    37034‐2076
KEVIN R KORB                                       6 N ROSEWOOD COURT                                                                             ALEXANDRIA     KY    41001‐4323
KEVIN R MALAK                                      3485 LANDVIEW DR                                                                               OAKLAND TWP    MI    48306‐1154
KEVIN R MARKS                                      8730 E COLE RD                                                                                 DURAND         MI    48429‐9427
KEVIN R MCCOLLEY & CINDEE M MCCOLLEY JT TEN        2326 S DYE ROAD                                                                                FLINT          MI    48532‐4126

KEVIN R MCKEE                                      975 EASTWOOD PL                                                                                LOS ALTOS      CA    94024‐5022
KEVIN R MEAD                                       1711 ATTRIDGE RD                                                                               CHURCHVILLE    NY    14428‐9436
KEVIN R MONEY                                      1100 HOLLAND ST                                                                                MELBORNE       FL    32935‐2751
KEVIN R PRENTICE                                   4322 BECK RD                                                                                   HOWELL         MI    48843‐8819
KEVIN R RANK                                       6120 W CLINTON ST                                                                              BOISE          ID    83704‐9307
KEVIN R REGAN                                      8 ENCLAVE DR                                                                                   WINTER HAVEN   FL    33884‐1326
KEVIN R ROBBINS                                    233 WOODY FARM RD                                                                              BEDFORD        IN    47421‐8647
KEVIN R SMITH                                      3945 POIT DRIVE                                                                                LAPEER         MI    48446‐2824
KEVIN R STONEROCK                                  8503 VERSAILLES SOUTHEASTER                                                                    BRADFORD       OH    45308‐9602
KEVIN R STURTZ SR CUST KEVIN R STURTZ JR UGMA MI   675 CARDINAL DRIVE                                                                             MARYSVILLE     MI    48040‐1066

KEVIN R VIBERT                                     3220 MAPLEWOOD DR                                                                              GULF BREEZE    FL    32563‐3226
KEVIN R WILSON                                     118 BISON MEADOW DR                                                                            WAXAHACHIE     TX    75165‐8765
KEVIN RAY KYLE                                     9935 MEPPEN DR                                                                                 ST LOUIS       MO    63128‐1124
KEVIN RAYBORN ADM EST ETHLYN D TURNAGE             PO BOX 821                                                                                     MONTICELLO     MS    39654‐0821
KEVIN REGAN & CAROL REGAN JT TEN                   93 MAPLE AVE                                                                                   ATKINSON       NH    03811
KEVIN RIKE EX EST JANET EILEEN RIKE                103 S HILL ST                                                                                  BROOKVILLE     OH    45309
KEVIN RILEY                                        638 RINGGOLD ST                                                                                PEEKSKILL      NY    10566‐5504
KEVIN RITCHIE & MAUREEN RITCHIE JT TEN             528 TATATO TRAIL                                                                               FRANKFORT      KY    40601
KEVIN ROBERTS                                      6391 YELLOW WOOD PL                                                                            SARASOTA       FL    34241‐8319
KEVIN ROGERS                                       67 MAPLE ST                                                                                    WHITE PLAINS   NY    10603‐2622
KEVIN ROGERS                                       6303 GLENSTONE DR SE                                                                           GRAND RAPIDS   MI    49546
KEVIN ROGERS                                       6303 GLENSTONE DR SE                                                                           GRAND RAPIDS   MI    49546
KEVIN ROLLINS                                      1439 W D ST                                                                                    ONTARIO        CA    91762‐2803
KEVIN RONALD BURK                                  108 HABITAT DR                                                                                 SAVANAH        GA    31419‐9067
KEVIN ROSENBAUM                                    8604 FENWAY ROAD                                                                               BETHESDA       MD    20817
KEVIN ROURKE                                       118 EAST ST                                                                                    WOLCOTT        CT    06716‐2930
KEVIN RUSSELL COOK                                 9365 N LAKE DR                                                                                 ROSWELL        GA    30076‐2845
KEVIN RUSSELL COOK                                 9365 N LAKE DR                                                                                 ROSWELL        GA    30076‐2845
KEVIN S CATABIA                                    90 COGGESHALL ST                                                                               NORTH          MA    02747‐2819
                                                                                                                                                  DARTMOUTH
KEVIN S DANIELS                                    228 CEDAR ST                                                                                   READING        PA    19601‐3119
KEVIN S DOWD                                       3727 S 78TH ST                                                                                 LINCOLN        NE    68506‐4711
KEVIN S FORMAN CUST BRIAN J FORMAN UTMA AZ         1521 S SUNNYVALE CIRCLE                                                                        MESA           AZ    85206‐6753

KEVIN S GALINKIN                                   5 MANOR PLACE                                                                                  AVENEL         NJ    07001‐1406
KEVIN S GROSS                                      32501 E REBER RD                                                                               SIBLEY         MO    64088‐9169
KEVIN S KEARNEY                                    106 BROADLANDS DR                                                                              WHITE          GA    30184‐2888
KEVIN S KOEHLINGER                                 22046 CHERRYWOOD LN                                                                            WOODHAVEN      MI    48183‐1145
KEVIN S KRENZ                                      31566 MARY ANN                                                                                 WARREN         MI    48092‐5027
KEVIN S MCLEOD & ANNETTE M MCLEOD JT TEN           1183 STONEHENGE ROAD                                                                           FLINT          MI    48532
KEVIN S MCWILLIAMS                                 PO BOX 37052                                                                                   CINCINNATI     OH    45222‐0052
KEVIN S O'NEIL                                     6750 BIRMINGHAM CLUB DR                                                                        BLOOMFIELD     MI    48301‐3119
KEVIN S O'NEILL                                    4869 DRIFTWOOD DR                                                                              COMMERCE TWP   MI    48382‐1367
KEVIN S RICHARDS                                   1316 STATE ROUTE 30                                                                            CLINTON        PA    15026
KEVIN S ROE                                        9470 S ROUTE 138                                                                               HILLSBORO      OH    45133‐9717
KEVIN S STEVENS                                    37 LEXINGTON CT                                                                                DALEVILLE      VA    24083‐3189
KEVIN S WAGGONER                                   3311 HAWTHORNE DR                                                                              FLINT          MI    48503‐4690
KEVIN S WOLFE                                      4423 ANGLEBROOK DR                                                                             GROVE CITY     OH    43123‐9674
KEVIN SCHIISSLER GDN KYLE SCHIISSLER               8 PLACE HARROW                        BEACONSFIELD QC                        H9W 5C7 CANADA
KEVIN SCHUETTE & WILLIAM SCHUETTE JT TEN           6321 CLEVELAND                                                                                 WATERFORD      MI    48329‐3019
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 613 of 855
Name                                           Address1                               Address2             Address3          Address4          City            State Zip

KEVIN SCOTELLARO U/GUARDIANSHIP OF PATRICIA    23W222 SAINT JAMES CT                                                                           GLEN ELLYN      IL    60137‐6510
SCOTELLARO
KEVIN SCOTT                                    6959 ANTHONY                                                                                    KALAMAZOO       MI    49009
KEVIN SCOTT BALDWIN                            5137 MCDOWELL                                                                                   LAPEEL          MI    48446‐8057
KEVIN SCOTT WEIERSHAUSER                       421 S SHENANDOAH AVE                                                                            FRONT ROYAL     VA    22630‐2449
KEVIN SEARING                                  19 DUCHARME LANE                                                                                GREENLAWN       NY    11740‐1612
KEVIN SHEAHAN                                  BOX 637                                                                                         REMSENBURG      NY    11960‐0637
KEVIN SHEEHAN                                  87 LYMAN AVE                                                                                    PATCHOGUE       NY    11772
KEVIN SHERIDAN                                 5 SEABURY GARDENS                      MALAHIDE             COUNTY DUBLIN     IRELAND
KEVIN SIMS                                     12820 N LAMAR BLVD                     APT 1511                                                 AUSTIN          TX    78753‐1245
KEVIN SMALLEY                                  1304 8TH AVE                                                                                    TOMS RIVER      NJ    08757‐2746
KEVIN SMITH & SALLY SMITH JT TEN               1 FAIRMEAD RD                                                                                   DARIEN          CT    06820‐4905
KEVIN SNYDER                                   250 ROCKTOWN LAMBERTVILLE RD                                                                    LAMBERTVILLE    NJ    08530‐3303
KEVIN SPARK                                    20221 VIA MADRIGAL                                                                              PORTER RANCH    CA    91326‐4449
KEVIN STEWART                                  44120 RIVERVIEW RIDGE DR                                                                        CLINTON TWP     MI    48038‐6902
KEVIN T BECK                                   330 ALDEN ST                                                                                    BRICK           NJ    08723‐6459
KEVIN T CAIN & WALTER ALBER JT TEN             10 GREEN OAK CT                                                                                 O'FALLON        MO    63366‐1001
KEVIN T DOUGHERTY & GAYLE M DOUGHERTY JT TEN   2883 ELDRIDGE RD                                                                                EAST AURORA     NY    14052‐9631

KEVIN T FARLEY                                 2841 S 69TH ST                                                                                  MILWAUKEE       WI    53219‐2908
KEVIN T FINNEY                                 200 FOREST PARK CIR                    APT 226                                                  WINSTON SALEM   NC    27127‐5076
KEVIN T GIBBS                                  2037 BRIARWOOD LN                                                                               TEMPERANCE      MI    48182‐9416
KEVIN T GRIFFIS                                1101 W VICKI AVE                                                                                RIDGECREST      CA    93555‐3054
KEVIN T HILYARD                                798 WOODLANE RD                                                                                 BEVERLY         NJ    08010‐1902
KEVIN T HONEY                                  274 KEELER DR                                                                                   RIDGEFIELD      CT    06877‐1027
KEVIN T JACKSON                                19188 PACKARD STREET                                                                            DETROIT         MI    48234‐3106
KEVIN T KOZICKI                                909 LAWNVIEW LANE                                                                               FRANKLIN        TN    37064‐5567
KEVIN T MCGUIRE                                224 W MIDLAND RD                                                                                AUBURN          MI    48611
KEVIN T POHLMAN                                2409 ANDOVER BLVD                                                                               ROCHESTER       MI    48306‐4936
KEVIN T PRIOR                                  100 PEARSON RD                                                                                  SOMERVILLE      MA    02144‐1315
KEVIN T RUTH                                   1041 CALLAHAN DRIVE                                                                             BREMERTON       WA    98310‐4218
KEVIN T SHAUGHNESSY                            35361 ROCKWELL DRIVE                   ABBOTSFORD BC                          V3G 2C9 CANADA
KEVIN T ZOTT                                   1246 COTTONWOOD                                                                                 LAKE ORION      MI    48360‐1464
KEVIN THOMAS MCKEON                            5699 HUNTINGTON CT                                                                              YPSILANTI       MI    48197‐7127
KEVIN THOMAS ZIMMER                            1520 JONES DR                                                                                   ANN ARBOR       MI    48103
KEVIN TIMOTHY EDWARDDS                         49 SYCAMORE ST                         LONDON ON                              N5Z 1K8 CANADA
KEVIN TUCKER                                   6109 GAR ST                                                                                     DETROIT         MI    48210‐2424
KEVIN URYASE                                   2 MCMULLEN AVE                                                                                  WEATHERSFIELD   CT    06109‐1233
KEVIN V CURRAN                                 11726 DEERING                                                                                   LIVONIA         MI    48150‐2352
KEVIN V MILLER                                 PO BOX 382                                                                                      SCOTTSVILLE     TX    75688‐0382
KEVIN V NAILOR                                 PO BOX 401                                                                                      BUFFALO         NY    14209‐0401
KEVIN V TOMKIEWICZ                             8855 MINNE WANNA RD                                                                             CLARKSTON       MI    48348‐3316
KEVIN VANTIL                                   12 RAYMOND ST                                                                                   MONTROSE        NY    10548‐1012
KEVIN VAUGHT                                   155 MARGARIDO DR                                                                                WALNUT CREEK    CA    94596‐4807
KEVIN VICTORIANO                               12640 NE 10TH PL                                                                                BELLEVUE        WA    98005
KEVIN VON HACHT                                PO BOX 302                                                                                      FAIRHAVEN       MA    02719‐0302
KEVIN W BUCKLEY & NANCY D BUCKLEY JT TEN       1431 CLEAR SPRINGS CT                                                                           DAYTON          OH    45458‐9461
KEVIN W CONBOY                                 10 CODDINGTON LA                                                                                CALIFON         NJ    07830‐3440
KEVIN W DOSS                                   OUDE WAAL 16G                          1011 CA AMSTERDAM                      NETHERLANDS
KEVIN W ELFERS                                 S1444 INDIAN TRAIL PKWY                                                                         BARABOO         WI    53913‐9740
KEVIN W GREEN                                  12285 CORUNNA RD                                                                                LENNON          MI    48449‐9710
KEVIN W GUYNN                                  338 S WAIOLA AVE                                                                                LA GRANGE       IL    60525‐6210
KEVIN W HANNIG                                 419 E HARWELL                                                                                   GILBERT         AZ    85234‐2417
KEVIN W HARMON                                 3622 JAMES AVENUE                                                                               WILMINGTON      DE    19808‐6006
KEVIN W HARRISON                               8500 BROXBURN CT                                                                                WAXHAW          NC    28173‐9054
KEVIN W HARVILLE                               PO BOX 37                                                                                       SUMMERTOWN      TN    38483‐0037
KEVIN W HAWKINS                                3205 NICOLE DR                                                                                  SPRING HILL     TN    37174‐2847
KEVIN W INGALL                                 18401 99TH PL N                                                                                 OSSEO           MN    55311‐1304
KEVIN W JOHNSON                                27944 W 11 MILE RD                                                                              FARMINGTN HLS   MI    48336‐1601
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 614 of 855
Name                                              Address1                               Address2             Address3          Address4             City            State Zip

KEVIN W KEEGAN                                    848 E CROSS ST                                                                                     YPSILANTI       MI    48198‐3879
KEVIN W LENTNER & MARYANNE L LENTNER JT TEN       4505 MAPLE RD                                                                                      FRANKENMUTH     MI    48734‐9116

KEVIN W ROBERTSON                                 514 S 350 E                                                                                        FARMINGTON      UT    84025‐3212
KEVIN W SCHING                                    3618 FRALEY CT                                                                                     RAPID CITY      SD    57701‐7613
KEVIN W SHARBER                                   165 COURT                                                                                          MT CLEMENS      MI    48043‐5832
KEVIN W SMITH                                     3845 HENDERSON WAY                                                                                 MOORESVILLE     IN    46158‐7824
KEVIN W STEPHENS                                  1143 WOODNOLL                                                                                      FLINT           MI    48507‐4711
KEVIN W THOMPSON                                  5077 OAKWOOD DR                                                                                    NORTH           NY    14120‐9609
                                                                                                                                                     TONAWANDA
KEVIN W TREVILLIAN & CHRISTINA M TREVILLIAN JT TEN 3264 READES WAY                                                                                   WILLIAMSBURG    VA    23185‐2421

KEVIN W VERDON                                    15380 SW 100TH                                                                                     TIGARD          OR    97224‐4681
KEVIN W WILLIAMS                                  PO BOX 9022 (MEXICO)                                                                               WARREN          MI    48090‐9022
KEVIN WAYNE HARTWIG & MARVINETTA LANG             5730 LARIET DR                                                                                     CASTLE ROCK     CO    80104‐9322
HARTWIG JT TEN
KEVIN WOODLEY                                     317 MAIN MIFFLIN RD                                                                                BLOOMSBURG      PA    17815‐6753
KEVIN ZAUEL CUST NATALIE ZAUEL UTMA MI            61694 SPRING CIRCLE                                                                                WASHINGTON      MI    48094‐1143
KEVIOUS WALLS                                     2048 NIOUS CT APT 46                                                                               UNION CITY      CA    94587‐4450
KEVON H BINDER                                    1610 DINIUS RD                                                                                     TECUMSEH        MI    49286‐9713
KEY Y HAN                                         30948 TANGLEWOOD DR                                                                                NOVI            MI    48377‐4538
KEYSTONE TRADERS A PARTNERSHIP                    ATTN RICHARD GERBER                    411 N OAK                                                   PRATT           KS    67124‐1612
KFS INC                                           7937 LONG MEADOW RD                                                                                BALTIMORE       MD    21208‐3023
KHA T BUI                                         13003 PORTER MEADOW LANE                                                                           HOUSTON         TX    77014‐1439
KHACHIK A BARKAMIAN                               20 MAYFAIR RD                                                                                      WYNANTSKILL     NY    12198‐8018
KHAILAA M HOSNY                                   6 WHITBY COURT                                                                                     LINCOLN SHIRE   IL    60069
KHALDOUN H ADDAS                                  PO BOX 9629                            RIYADH                                 11423 SAUDI ARABIA
KHALIL A NEMER & DIANNE K NEMER JT TEN            5400 MORRISH                                                                                       SWARTZ CREEK     MI   48473‐7625
KHAM D NGUYEN                                     5145 CLYDESDALE LN                                                                                 SAGINAW          MI   48603‐2820
KHAM M NGUYEN                                     6700 W BELOIT RD                                                                                   MILWAUKEE        WI   53219‐2011
KHAM S GREENE & RONNIE M GREENE JT TEN            2676 BROOKWEST LANE                                                                                MARIETTA         GA   30064‐3796
KHAMPHONE RATDAVONG                               741 FIELDVIEW DRIVE                                                                                GRAND LEDGE      MI   48837‐9193
KHANH T NGUYEN & NANCY H NGUYEN JT TEN            3617 BOB O'LINK DR                                                                                 IRVING           TX   75062‐6827
KHEPHREN A ROSS                                   13 POLO FIELD LN                                                                                   DENVER           CO   80209‐3332
KHERYN KLUBNIKIN                                  1972 WINTERPORT CLUSTER                                                                            RESTON           VA   20191‐3600
KHIN T CORNES CUST SASKIA C CORNES UTMA CA        901 COLBY DR                                                                                       DAVIS            CA   95616‐1759
KHOSHABA J ISAAC & RACHEL J ISAAC JT TEN          808 COMMONWEALTH AVE                                                                               FLINT            MI   48503‐6902
KIERA T WHALEN                                    1 GREENVIEW WAY                                                                                    UPPER MONT CLAIR NJ   07043

KIERAN J HORAN & SHIRLEE W HORAN TR UA 05/05/92   9 FIVE CORNERS RD                                                                                  CENTERVILLE     MA    02632‐3123
HORAN FAMILY TRUST
KIERAN MURPHY                                     150 PALISADE AVE                                                                                   CRESSKILL       NJ    07626‐2261
KIET V VO                                         3 SEBASTIAN DR                                                                                     NEWARK          DE    19711‐2817
KIETH D STEWART                                   6041 GREENVALE DR                                                                                  MILTON          WI    53563
KIETH P WHEELER & SUSAN K WHEELER JT TEN          1303 E LOREN ST                                                                                    SPRINGFIELD     MO    65804‐0151
KIKI FIEGER & THOMAS KIEGER JT TEN                18‐23‐21 DR                                                                                        ASTORIA         NY    11105‐3935
KIKUO H TAIRA                                     2253 SIERRA MADRE AVE                                                                              CLOVIS          CA    93611‐6509
KIKUYO YOSHIMURA                                  126 ULUWAI ST                                                                                      HILO            HI    96720‐1923
KILBOURN H SNOW JR & GAIL P SNOW JT TEN           PO BOX 381                                                                                         CONCORD         MI    49237‐0381
KILEEN A LAMBERT                                  2448 E FARRAND RD                                                                                  CLIO            MI    48420‐9149
KILEY E TOWNSEND                                  295 MAYWOOD DR                                                                                     MARTINEZ        GA    30907‐2279
KIM A BAXTER                                      2212 ELM STREET                                                                                    ALGONAC         MI    48001‐1115
KIM A CARTER                                      19411 STOUT ST                                                                                     DETROIT         MI    48219‐2027
KIM A COEN                                        5854 STANLEY RD                                                                                    COLUMBIAVILLE   MI    48421‐8951
KIM A MURPHY                                      1868 CAMBERLY DR                                                                                   LYNDHURST       OH    44124‐3732
KIM A PHILLIPS                                    10010 DRAWBRIDGE DR                                                                                CHARLOTTE       NC    28215‐9010
KIM A RASLER                                      2696 HYACINTH ST                                                                                   WESTBURY        NY    11590‐5608
KIM A REGAN                                       52 RIDGEFIELD DR                                                                                   MILFORD         NH    03055‐3025
KIM A SCHEMMER                                    1127 MEADOWLAWN DR                                                                                 SANDUSKY        OH    44870
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 4 of 8 Pg 615 of 855
Name                                              Address1                              Address2                      Address3   Address4          City             State Zip

KIM A WHITTINGTON                                 52 CONCETTA DR                                                                                   SPRING CITY     PA     19475
KIM ARTHUR ANDERSON                               13256 SPICA DR                                                                                   LITTLETON       CO     80124‐2639
KIM B BURKMAN                                     4301 BANKSIDE                                                                                    WEST BLOOMFIELD MI     48323‐1201

KIM B MCCULLOUGH                            2341 S 500 E                                                                                           MIDDLETOWN       IN    47356
KIM B WICKEMEIER                            ATTN KIM B TRUSTER                          935 GORDON SMITH BLVD APT 1                                HAMILTON         OH    45013‐6095
KIM BARONDESS CUST ANDREW BARONDESS UTMA VA 43774 CROOKED STICK TER                                                                                ASHBURN          VA    20147‐4142

KIM BIOCCHI                                       4054 S SCENIC VIEW                                                                               SUTTONS BAY      MI    49682‐9508
KIM BOARDMAN & DIANE BOARDMAN JT TEN              8041 N 5TH ST                                                                                    PHOENIX          AZ    85020‐3606
KIM BOYLE                                         1158 ROSEDALE AVE APT 1                                                                          GLENDALE         CA    91201
KIM BROOKE TIPPEY                                 14491 STEPHANIE STREET                                                                           CARMEL           IN    46033‐8641
KIM BROWN & MIKE BROWN JT TEN                     1258 CHARA LN                                                                                    SPARKS           NV    89441
KIM BRUST                                         2840 36TH AVE S                                                                                  MINNEAPOLIS      MN    55406
KIM C BARNHART                                    5727 W 800 S                                                                                     PENDLETON        IN    46064‐9771
KIM C HAAS                                        3315 DEBORAH DR                                                                                  MONROE           LA    71201‐2150
KIM C HISKE                                       1301 N SILVERY LN                                                                                DEARBORN         MI    48128‐1032
KIM C SACHS                                       1109 16TH ST                                                                                     BAY CITY         MI    48708‐7334
KIM C WALDO                                       3423 CHARING CROSS ROAD                                                                          ANN ARBOR        MI    48108‐1911
KIM C WALKER                                      24555 WILLOWBY AVE                                                                               EASTPOINTE       MI    48021‐3460
KIM CHERRY                                        5140 LACOUR MONIQUE ST                                                                           NEW ORLEANS      LA    70131‐7214
KIM COOPER CUST JENNIFER DAWN COOPER UGMA DE      105 NORTH MAIN STREET                                                                            CAMDEN           DE    19934‐1229

KIM CROLL                                         1422 NECTARINE ROAD                                                                              DANIELSVILLE     PA    18038‐9748
KIM CUMMINGS PFALZ & JOHN T PFALZ JT TEN          24 PARK HILL CIR                                                                                 LAKE ST LOUIS    MO    63367‐2079
KIM D CREIGHTON                                   24391 BERRY                                                                                      WARREN           MI    48089‐2113
KIM D DEIHL                                       3104 E CAMELBACK ROAD APT 621                                                                    PHOENIX          AZ    85016‐4502
KIM D HAHN                                        508 44TH AVE E                        LOT C18                                                    BRADENTON        FL    34203‐3563
KIM D IMHOF                                       191 HARTSDALE                                                                                    EAST IRONDEQUOIT NY    14622‐2054

KIM D OSWALD                                       409 SE DELAWARE AVE                  #306                                                       ANKENY           IA    50021
KIM D QUEEN                                        4522 FOREST PEAK CIRCLE NE                                                                      MARIETTA         GA    30066‐1745
KIM D WILLIAMS                                     794 HANCOCK ST                                                                                  BROOKLYN         NY    11233‐1205
KIM DEWITT                                         W9192 HIDDEN VALLEY PL                                                                          CAMBRIDGE        WI    53523
KIM E BENNETT                                      1508 SHAVER WAY                                                                                 PLACENTIA        CA    92870‐2905
KIM E MARTIN TOD JAMES C ELLIOTT JR SUBJECT TO STA 382 FAIRWAY POINTE CIRCLE                                                                       ORLANDO          FL    32828
TOD RULES
KIM E NEWBY                                        W245 S7015 HEATHER CT                                                                           VERNON           WI    53189‐9350
KIM EDWARD CARLISLE                                28220 LAMONG ROAD                                                                               SHERIDAN         IN    46069‐9353
KIM ELY PECK                                       611 W HARRISON ST                                                                               MAUMEE           OH    43537‐2027
KIM EMMA EASTER                                    2204 BROKCMAN BLVD                                                                              ANN ARBOR        MI    48104‐4703
KIM ERIKSEN CUST JERED RICHTER UTMA OR             9065 SW STONO DR                                                                                TUALATIN         OR    97062
KIM FAULKNER CAPO                                  3321 TOLMAS DR                                                                                  METAIRIE         LA    70002‐3815
KIM G ARMSTRONG                                    242 NESBIT LN                                                                                   ROCHESTER        MI    48309‐2173
KIM GALLAGHER                                      28 ANNA AVE                                                                                     BEAR             DE    19701‐1776
KIM GARY WHITEHEAD CUST SAMANTHA WHITEHEAD 115 N CONCORD VALLEY CIR                                                                                SPRING           TX    77382‐1390
UTMA TX
KIM GREEN                                          ATTN KIM LOTT                        19819 SAWYER ST                                            DETROIT          MI    48228‐3206
KIM GUNDERMAN                                      617 OLD FORT ROAD                                                                               FAIRVIEW         NC    28730‐9522
KIM H JONES                                        25726 BRANCHASTER RD                                                                            FARMINGTN HLS    MI    48336‐1643
KIM H LEGGIERO CUST JOSEPH ANTHONY LEGGIERO        3800 QUEEN MARRY DR                                                                             OLNEY            MD    20832‐2102
UTMA MD
KIM H LEGGIERO CUST NICOLE MARIE LEGGIERO UTMA 3800 QUEEN MARY DR                                                                                  OLNEY            MD    20832‐2102
MD
KIM HANNIBAL                                       3337 HICKORYWOOD WAY                                                                            TARPON SPRINGS   FL    34689‐7232
KIM HOSENDOVE                                      PO BOX 3262                                                                                     FARMINGTN HLS    MI    48333‐3262
KIM HOULE                                          1104 TOWNLINE CT                                                                                GRAND BLANC      MI    48439‐1627
KIM J BROWN                                        60 W GARDEN DR                                                                                  ROCHESTER        NY    14606
KIM J CEDERLEAF TOD CLIFFORD A CEDERLEAF           BOX 672                                                                                         QUILCENE         WA    98376‐0672
                                           09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                               Part 4 of 8 Pg 616 of 855
Name                                         Address1                           Address2             Address3          Address4          City               State Zip

KIM J SHARP                                  3337 E GREGG DR                                                                             BAY CITY           MI    48706‐1226
KIM JANNEY WARRINGTON                        17820 N 31ST AV                                                                             PHOENIX            AZ    85053‐1750
KIM JOHN CEDERLEAF                           PO BOX 672                                                                                  QUILCENE           WA    98376‐0672
KIM JOHN CEDERLEAF                           PO BOX 672                                                                                  QUILICENE          WA    98376‐0672
KIM K COTTRELL                               2708 SW 113TH ST                                                                            OKLAHOMA CITY      OK    73170‐2622
KIM K KIDDER                                 3001 E GEORGIA RD                                                                           SIMPSONVILLE       SC    29681‐4367
KIM K SWAWTIC                                247 DUPONT AVE                                                                              HOPATCONG          NJ    07843‐1786
KIM KOSAK                                    44283 HIGHLAND CT                                                                           NORTHVILLE         MI    48167‐8447
KIM L BLAIR                                  ATTN KIM L JOHNSON                 711 W 10TH STREET                                        JONESBORO          IN    46938‐1235
KIM L DOHRMAN                                2285 COLONY WAY                                                                             YPSILANTI          MI    48197‐7425
KIM L EVANS                                  20823 JERSEYRIDGE ROAD                                                                      DAVENPORT          IA    52804‐9444
KIM L GRAHAM                                 1102 CONGRESSIONAL BLVD                                                                     SOMMERVILLE        SC    29483‐5023
KIM L GRIFFIN                                5820 CHAPEL RD                                                                              MADISON            OH    44057‐1754
KIM L HERITIER                               14651 COMMON RD                                                                             WARREN             MI    48093‐3375
KIM L LIVERMORE                              PO BOX 263                                                                                  SHAFTSBURG         MI    48882‐0263
KIM L MESHANKO                               240 HAMPTON DRIVE                                                                           LANGHORNE          PA    19047‐1148
KIM L OBOYLE                                 4796 E TAFT RD                                                                              ST JOHNS           MI    48879‐9158
KIM L OLIVER                                 18710 NC209 HWY                                                                             HOT SPRINGS        NC    28743
KIM L OSTRANDER                              4751 W SAGINAW RD                                                                           VASSAR             MI    48768‐9510
KIM L RUSH                                   5151 MELWOOD DR                                                                             FLINT              MI    48507‐4529
KIM L SPACY                                  10420 EL COMAL DR                                                                           SAN DIEGO          CA    92124‐1005
KIM L WHITE                                  10540 BALLAH RD                                                                             ORIENT             OH    43146‐9014
KIM LANSING HONAN                            201 WILLS LANE                                                                              ALPHARETTA         GA    30004‐1834
KIM LE                                       1608 PALA RANCH CIRCLE                                                                      SAN JOSE           CA    95133‐0900
KIM LOVE PER REP EST FLOYD I SILLS           10826 MONTICELLO                                                                            GREAT FALLS        VA    22066
KIM LU                                       2580 DORAL DR                                                                               DULUTH             GA    30096‐6065
KIM M CARNEY                                 260 BRIDGEHAMPTON ST                                                                        SANDUSKY           MI    48471‐1267
KIM M CASHMAN                                1811 MOBILE RD                                                                              LYNCHBURG          VA    24503‐2433
KIM M CULVER & DAVID W CULVER JT TEN         1558 BUCKINGHAM                                                                             LINCOLN PARK       MI    48146‐3502
KIM M MARSHALL                               492 LAKEVIEW RD                                                                             LEVERING           MI    49755‐9748
KIM M NEENAN                                 40 HARMON ST                                                                                LONG BEACH         NY    11561‐2708
KIM M OPIE                                   9511 CHERRYWOOD RD                                                                          CLARKSTON          MI    48348‐2507
KIM M WALKER                                 2301 BEGOLE ST                                                                              FLINT              MI    48504‐3119
KIM M WINELAND                               400 LILY LN                                                                                 GOLDEN             CO    80403‐1925
KIM MAE STANCZUK                             10136 HADLEY RD                                                                             CLARKSTON          MI    48348‐1916
KIM MALONEY CUST JO ANNE MALONEY UTMA KS     14103 ENGLAND ST                                                                            OVERLAND PARK      KS    66221‐2147
KIM MANLEY ORT                               7565 CHABLIS CIRCLE                                                                         INDIANAPOLIS       IN    46278‐1539
KIM MARIE DRUSHEL                            1024 PINE TREE DR                                                                           GIRARD             PA    16417‐1040
KIM MARIE HEMINGER                           2443 YARMOUTH LANE                                                                          CROFTON            MD    21114‐1134
KIM MARIE RAHILL                             6 ASHLEY DR                                                                                 FLANDERS           NJ    07836‐4309
KIM MARIE WELCH                              11320 EDENDERRY DR                                                                          FAIRFAX            VA    22030‐5441
KIM MC KELL                                  110 REED BLVD                                                                               MILL VALLEY        CA    94941
KIM NAUJOCK                                  2486 TOPSIDE RD                                                                             LOUISVILLE         TN    37777‐4149
KIM NUNNERMACKER                             16 MOHAWK AVE                                                                               ROCKAWAY           NJ    07866
KIM ONEIL                                    PO BOX 93                                                                                   WINDSOR            VT    05089‐0093
KIM P KOCH                                   110 KILKEE DR                      APT H                                                    PADUCAH            KY    42003‐5781
KIM P LIND                                   7390 RIVER PINES TRAIL                                                                      BRIGHTON           MI    48116‐6215
KIM PETER THOMSEN                            86 S MAIN ST                                                                                HOMER              NY    13077‐1622
KIM R AVERY                                  7043 FAIRGROVE DRIVE                                                                        SWARTZ CREEK       MI    48473‐9408
KIM R BARNES                                 220 EAST 2ND STREET                                                                         BENICIA            CA    94510‐3247
KIM R BLOING                                 PO BOX 326                                                                                  GLADWIN            MI    48624‐0326
KIM R CHILDERS                               465 N ELM GROVE RD                                                                          LAPEER             MI    48446‐3546
KIM R DUDAL                                  39936 RENVILLE CT                                                                           STERLING HEIGHTS   MI    48313‐5669

KIM R GARRETT                                P O BOX 1798                                                                                SPRING HILL        TN    37174
KIM R GINDRAT                                2801 LAKE BROOK COURT                                                                       HIGHLAND VILL      TX    75077
KIM R HARRY                                  7550 W COUNTY ROAD 950 N                                                                    MIDDLETOWN         IN    47356‐9371
KIM R KASLING                                117 N 3RD AVE                                                                               COLD SPRING        MN    56320‐1618
KIM R SCHNEIDER                              324 KEMP DRIVE                                                                              WENTZVILLE         MO    63385‐4681
                                            09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 617 of 855
Name                                          Address1                             Address2             Address3          Address4          City              State Zip

KIM R SPENCER & NANCY SPENCER JT TEN          2811 VALENTINE RD                                                                             LAPEER            MI    48446‐9054
KIM R STONER                                  3193 S GENESEE                                                                                BURTON            MI    48519‐1421
KIM REAGAN                                    22 AGATE RD                                                                                   E BRUNSWICK       NJ    08816‐1303
KIM ROBINSON & JOHN ROBINSON JT TEN           2260 SHORE VIEW WAY                                                                           SUWANEE           GA    30024‐2513
KIM S BARBRET                                 52301 BRIGGS COURT                                                                            SHELBY TOWNSHIP   MI    48316‐3319

KIM S BOOKER                                  16374 CORKTREE CT                                                                             ROMULUS           MI    48174‐2976
KIM S BUTLER                                  1978 CARSON SALT SPRINGS RD                                                                   WARREN            OH    44481
KIM S FALATIC                                 2236 ROBINWOOD BLVD                                                                           NEWTON FALLS      OH    44444‐9400
KIM S THORNTON                                26501 JACINTO DR                                                                              MISSION VIEJO     CA    92692‐3921
KIM SCHARNINGHAUSEN                           1608 MONITOWOC                                                                                SO MILWAUKEE      WI    53172‐2910
KIM SCHESNACK                                 33802 COPPER LANTERN ST                                                                       DANA POINT        CA    92629‐2466
KIM SHAFFER                                   8872 HERBISON RD                                                                              EAGLE             MI    48822
KIM SHULMAN CUST BRODY MAX SHULMAN UTMA FL    3120 NE 55TH ST                                                                               FT LAUDERDALE     FL    33308‐3427

KIM SPEICHER KAISER                           3 JOHN CLENDON ROAD                                                                           GLENS FALLS       NY    12804‐1007
KIM STROUP                                    3284 BOOKER FARM RD                                                                           MT PLEASANT       TN    38474‐3017
KIM SUBER & KERRI ROUWHORST TR ROUWHORST      13676 GREEN ST                                                                                GRAND HAVEN       MI    49417‐9705
FAMILY TRUST UA 12/03/03
KIM SUTHERLAND                                739 GLENGROVE ST                     OSHAWA ON                              L1J 5C5 CANADA
KIM SWORD                                     204 THATCHER LN                                                                               MONROE            LA    71203‐6539
KIM SZ GAYER                                  RR1                                  PO BOX 254                                               INWOOD            IA    51240‐9757
KIM T GLOVER                                  6385 EAST ST                                                                                  SAGINAW           MI    48601‐9771
KIM T LE                                      2081 ASPEN RIDGE CT                                                                           DAYTON            OH    45459‐8431
KIM T VARGA                                   16078 PENN DRIVE                                                                              LIVONIA           MI    48154‐1040
KIM TEACHOUT CUST SARAH M BELFORD UGMA MI     10512 MCKINLEY RD BOX 38                                                                      MONTROSE          MI    48457‐9131

KIM THANH T HO                                 7555 MEDFORD COURT                                                                           ANNANDALE         VA    22003‐5610
KIM THOA NGUYEN                                11000 BELLE ROSE CIR                                                                         SHREVEPORT        LA    71106‐7743
KIM V HARRIS                                   324 NW 16TH PL                                                                               POMPANO BEACH     FL    33060‐5126
KIM W ALLEN                                    1095 DYER PLACE                                                                              LAGUNA BEACH      CA    92651‐3016
KIM W BROADWATER                               6265 GRACE K                                                                                 WATERFORD         MI    48329‐1330
KIM W HICKS                                    18460 MURRAY HILL                                                                            DETROIT           MI    48235‐3041
KIM W HITCHNER                                 380 JEFFERSON RD                                                                             ELMER             NJ    08318‐2678
KIM W ROTH                                     1601 PIERCE RD                                                                               SAGINAW           MI    48604‐9729
KIM W SCHOEPPACH                               3582 MERRITT LAKE DR                                                                         METAMORA          MI    48455‐8919
KIM WALKER HARRIS                              301 DAYTONA DR                                                                               MCDONOUGH         GA    30253‐8671
KIM WASHINGTON CUST LYDIA M WARY UTMA IN       8137 BISON CT                                                                                INDINAPOLIS       IN    46268‐3739
KIM WITHORN                                    423 KNOB HILL DR                                                                             BRISTOL           TN    37620‐4132
KIM WOLFSON CUST JARED WOLFSON UNDER THE CA U‐ 25491 PRADO DE ORO                                                                           CALABASAS         CA    91302
T‐M‐A
KIM WOLFSON CUST JENNIFER WOLFSON UNDER THE CA 1859 SWAN FALLS ST                                                                           SIMI VALLEY       CA    93065
U‐T‐M‐A
KIM WOLFSON CUST REBECCA WOLFSON UNDER THE CA 5241 ROUND MEADOW ROAD                                                                        HIDDEN HILLS      CA    91302
U‐T‐M‐A
KIM Y DOUGLAS                                  4421 STONEVIEW                                                                               W BLOOMFIELD      MI    48322‐3497
KIM Y SHERMAN                                  105 BOWMAN ST                                                                                ROCHESTER         NY    14609‐7319
KIM‐PHONG ROBINSON CUST CALVIN NGUYEN UGMA     18411 SANTIAGO BLVD                                                                          VILLA PARK        CA    92861‐2753
CA
KIM‐TUYEN T TRAN                               14110 AVONGATE LANE                                                                          HOUSTON           TX    77082
KIMARIE MCDONALD                               57 BALD EAGLE RD                                                                             HACKETTSTOWN      NJ    07840‐2811
KIMARIE RAHILL                                 57 BALD EAGLE RD                                                                             HACKETTSTOWN      NJ    07840‐2811
KIMBAL H RAGAN & JULIE B RAGAN JT TEN          230 FIVEPINES CT                                                                             CLAYTON           OH    45315‐9636
KIMBAL RAGAN CUST ANTHONY BRYCE RAGAN UTMA     230 FIVEPINES CT                                                                             CLAYTON           OH    45315‐9636
OH
KIMBAL RAGAN CUST KYLE HUGH RAGAN UTMA OH      230 FIVEPINES CT                                                                             CLAYTON           OH    45315‐9636

KIMBALL K HOOVER & RAGINA HOOVER JT TEN       89 TRINITY STREET                                                                             OCEANSIDE         CA    92057‐6017
KIMBER C BETTIKER                             3080 RIDGE RD N E                                                                             CORTLAND          OH    44410‐9480
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 618 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

KIMBER G BOGGS                                   304 APPLEGATE                                                                                   UNION              OH    45322‐3106
KIMBER L GFREENLEE                               4596 THURLBY RD                                                                                 MASON              MI    48854‐9698
KIMBER LEE ZIMMERS                               1330 CLEVELAND AVE                                                                              HAMILTON           OH    45013‐1478
KIMBERL STICKELMAN                               115 DAY RD                                                                                      E NORTHPORT        NY    11731
KIMBERLE ANN WEISS                               ATTN KIMBERLEE ST CYR                  9293 PARK PLACE                                          SWARTZ CREEK       MI    48473‐8530
KIMBERLE E STEFFANINA & RONALD STEFFANINA JT TEN 405 BAKER DR                                                                                    ALIQUIPPA          PA    15001‐1703

KIMBERLEE A DICKINSON                           10 NOOKS HILL RD                                                                                 CROMWELL           CT    06416‐2037
KIMBERLEE ANN DANIEL                            87 GREENDALE DR                                                                                  OAK RIDGE          NJ    07438‐8975
KIMBERLEE H GRAY                                STAR ROUTE 73 1187‐W                                                                             SPRINGBORO         OH    45066
KIMBERLEE J PIERCE A MINOR UNDER GUARDIANSHIP   12790 14 MILE ROAD                                                                               GREENVILLE         MI    48838‐8311
OF WATSON B PIERCE
KIMBERLEE MAE LEWIS                             5868 BEAR CREEK DR                                                                               SYLVANIA           OH    43560‐9540
KIMBERLEE MILLER                                2500 WOODLAND COURT                                                                              PORT HURON         MI    48060‐1733
KIMBERLEE T CARTER CUST SPENCER A CARTER UTMA   305 RUBICON VALLEY COURT                                                                         SAN RAMON          CA    94583‐5127
CA
KIMBERLEE T CARTER CUST TREVOR A CARTER UTMA CA 305 RUBICON VALLEY COURT                                                                         SAN RAMON          CA    94583‐5127

KIMBERLEY A ARVIN                                 233 IDEAL ST                                                                                   MILAN              MI    48160‐1324
KIMBERLEY A HEJCL                                 6424 CAMERON FOREST LN APT 2D                                                                  CHARLOTTE          NC    28210‐5055
KIMBERLEY A HUECKER                               PO BOX #133                                                                                    PORTLAND           MO    65067‐0133
KIMBERLEY A PRITCHETT                             6484 N 800 W                                                                                   DELPHI             IN    46923‐8485
KIMBERLEY A SHAFER CUST JENNIFER SHAFER UTMA CA   10371 HOLMES WAY                                                                               RANCHO CURDOVA     CA    95670‐2016

KIMBERLEY ANNE BROWN                              563 MELTON STREET                     PEMBROKE ON                            K8A 6Y3 CANADA
KIMBERLEY J CICARDI                               5 BRADFORD DR                                                                                  SARATOGA SPGS      NY    12866‐8569
KIMBERLEY K CALLOWAY                              2770 LONG MEADOW DR                                                                            WELLINGTON         FL    33414‐7056
KIMBERLEY L WRIGHT                                1807 DON STATION CT                                                                            OCEANSIDE          CA    92058‐6893
KIMBERLEY M DONTJE                                5477 COUNTRY ROSE CIR                                                                          GRAND BLANC        MI    48439‐9182
KIMBERLEY S JARED                                 2137 MAXWELL RD                                                                                PETOSKEY           MI    49770‐8852
KIMBERLI M MOORE                                  44505 WILLOW ROAD                                                                              BELLEVILLE         MI    48111‐9157
KIMBERLIE J KLEIST                                PO BOX 2011ST                                                                                  ENGLEWOOD          FL    34295‐2011
KIMBERLIE JEZIK                                   5143 ISLAND DATE STREET                                                                        SARASOTA           FL    34232
KIMBERLY A ALLEN                                  79 HOSPITAL ST                                                                                 CADIZ              KY    42211‐7970
KIMBERLY A AUSTIN & DANIEL F AUSTIN JT TEN        30400 OAKDALE                                                                                  WILLOWICK          OH    44095‐4939
KIMBERLY A BATCHELOR                              821 W LOVELL ST                       APT 201A                                                 KALAMAZOO          MI    49007‐4539
KIMBERLY A BORROR                                 601 FOWLER ST                         PO BOX 211                                               MILLINGTON         IL    60537
KIMBERLY A BRACCOLINO                             5723 GLENMERE LANE                                                                             SPRING             TX    77379‐7845
KIMBERLY A BREWER                                 2817 HAZELWOOD AV                                                                              DAYTON             OH    45419‐1943
KIMBERLY A CHRISTENSON                            14018 SUNNY GLN                                                                                SAN ANTONIO        TX    78217‐1552
KIMBERLY A COUMOU CUST ASHLEY C COUMOU UTMA       852 ARLBERG CIR                                                                                WEBSTER            NY    14580‐1788
NY
KIMBERLY A COUMOU CUST LINDSEY KATHLEEN           852 ARLBERG CIR                                                                                WEBSTER            NY    14580‐1788
COUMOU UTMA NY
KIMBERLY A ENGLESE CUST KRYSTAL J ENGLESE UGMA    4 OMAHA DRIVE                                                                                  CRANFORD           NJ    07016‐3318
NJ
KIMBERLY A GEURINK & EDINA M GEURINK JT TEN       1614 DUFFTON LN                                                                                PAINESVILLE        OH    44077‐4743
KIMBERLY A GLASS                                  BOX 167                               MAIN ST                                                  LIGHTSTREET        PA    17839‐0167
KIMBERLY A HAMM                                   504 FRIES RD                                                                                   TONAWANDA          NY    14150
KIMBERLY A HENNING & NOREEN A HENNING JT TEN      ATTN KIMBERLY A HUGHES                13668 HEATHERWOOD                                        STERLING HEIGHTS   MI    48313‐4326

KIMBERLY A HODER                                  ATTN KIMBERLY A WISNIEWSKI            45076 TURNBERRY CT                                       CANTON TOWNSHIP MI       48188‐3216

KIMBERLY A HOLLAND                                31905 CROSS BOW ST                                                                             BEVERLY HILLS      MI    48025‐3510
KIMBERLY A HOOPER                                 78 SPRING LANE                                                                                 HACKETTSTOWN       NJ    07840‐5644
KIMBERLY A JELLEY                                 437 WEDINGTON CT                                                                               ROCHESTER          MI    48307‐6036
KIMBERLY A JONES                                  14000 KLAUSMEIER RD                                                                            WRIGHT CITY        MO    63390‐2218
KIMBERLY A JONES                                  169 MAGNOLIA WAY                                                                               JUPITER            FL    33469‐2113
KIMBERLY A KIZYMA                                 2471 SHARMA LANE                                                                               HOWELL             MI    48843‐8930
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 619 of 855
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

KIMBERLY A KRAMER                                 4583 DARTMOUTH                                                                                 SAGINAW          MI      48603‐6212
KIMBERLY A KUBINA                                 709 GENESEE AVE NE                                                                             WARREN           OH      44483‐4207
KIMBERLY A LA DUKE                                31648 N RIVER RD                                                                               HARRISON TWP     MI      48045‐1468
KIMBERLY A LAND                                   2648 ZEPHYR DR                                                                                 COLORADO SPRINGS CO      80920‐3825

KIMBERLY A LIVELLARA                          2864 BULL RUN ROAD                                                                                 NORTHFIELD         VT    05663‐6170
KIMBERLY A MANN                               36092 UNION LAKE RD                                                                                HARRISON TWP       MI    48045
KIMBERLY A MARTIN                             758 S 5TH ST                                                                                       PHILADELPHIA       PA    19147‐3036
KIMBERLY A MCARDLE                            323 KENSINGTON RD                                                                                  LANSING            MI    48910
KIMBERLY A MCCALLUM & CHRISTOPHER R MCCCALLUM 31821 STEVEN WAY                                                                                   CONIFER            CO    80433‐8805
JT TEN
KIMBERLY A MCENDREE                           3537 FAIRLAWN DR                                                                                   MINNETONKA         MN    55345‐1220
KIMBERLY A MOSS CUST GRETCHEN A MOSS UTMA OH 101 WINTHROP ROAD                                                                                   COLUMBUS           OH    43214‐3630

KIMBERLY A MULL                                   103 CHIPAWAY RD                                                                                E FREETOWN         MA    02717‐1405
KIMBERLY A MURPHY & STEVEN D MURPHY JT TEN        27 SEAVEY ROAD                                                                                 WINDHAM            NH    03087‐1240

KIMBERLY A NIEHAUS & DALE A NIEHAUS JT TEN        1582 CLARK MILLS                                                                               WATERPORT       NY       14571‐9747
KIMBERLY A NORTON                                 2219 CAROL LN                                                                                  NORRISTOWN      PA       19401‐2018
KIMBERLY A POMAVILLE                              27728 DELTON ST                                                                                MADISON HEIGHTS MI       48071‐3320

KIMBERLY A RAY                                    33809 HARDESTY RD                                                                              SHAWNEE            OK    74801‐3200
KIMBERLY A SALK                                   9353 RIDGE RD                                                                                  GOODRICH           MI    48438‐9448
KIMBERLY A SANTILLI                               812 SHANNON AVE                                                                                CUYAHOGA FALLS     OH    44221‐5014
KIMBERLY A SEITZ                                  723 TEMESCAL WA                                                                                EMERALD HILLS      CA    94062‐4031
KIMBERLY A SETZER                                 8409 STONE RD                                                                                  MEDINA             OH    44256‐7710
KIMBERLY A SHEPHERD                               202 MORGAN AVE                                                                                 COLLINGSWOOD       NJ    08108‐1718
KIMBERLY A SHOOK                                  5605 HAWKLAKE RD                                                                               LITHIA             FL    33547‐5800
KIMBERLY A SINCLAIR & DOUGLAS R SINCLAIR JT TEN   6015 LYNNE HOLLOW DR                                                                           COMMERCE TWP       MI    48382‐1299

KIMBERLY A SINGER                                 2418 KING ST                                                                                   JANESVILLE         WI    53546‐5932
KIMBERLY A SLABINSKI                              5906 LOCH LEVEN DR                                                                             WATERFORD          MI    48327‐1843
KIMBERLY A SMITH                                  14638 GETTYSBURG CT                                                                            PLAINFIELD         IL    60544‐2733
KIMBERLY A TRETHEWAY                              404 TALON CT                                                                                   LAWRENCEVILLE      NJ    08648‐2535
KIMBERLY A WELCH TR KIMBERLY A WELCH TRUST UA     4680 MIRROR LAKE DR                                                                            W BLOOMFIELD       MI    48323‐1527
12/16/99
KIMBERLY A WILES                                  PO BOX 5176                                                                                    COCHITUATE         MA    01778‐6176
KIMBERLY A ZEEK                                   8705 BALLY BUNION RD                                                                           PORT ST LUCIE      FL    34986‐3086
KIMBERLY ALBERS                                   1112 FEDERAL AVE E                                                                             SEATTLE            WA    98102‐4315
KIMBERLY ANN CONCORDIA                            146 CAMBRIDGE RD                                                                               KING OF PRUSSIA    PA    19406‐1908
KIMBERLY ANN CRAGGS                               1083 E 1000 NORTH RD                                                                           TAYLORVILLE        IL    62568‐8122
KIMBERLY ANN GRAY                                 203 NORTH 2ND STREET                                                                           HUTSONVILLE        IL    62433
KIMBERLY ANN HAMES                                1129 N WILSON                                                                                  ROYAL OAK          MI    48067‐1464
KIMBERLY ANN HOWELL                               2311 E LIBBIE                                                                                  LANSING            MI    48917‐4414
KIMBERLY ANN HUGHES CUST SEAN MICHAEL HUGHES      13668 HEATHERWOOD                                                                              STERLING HEIGHTS   MI    48313‐4326
UGMA MI
KIMBERLY ANN LOVE                                 3280 JULIO AVE                                                                                 SAN JOSE CA        CA    95124‐2431
KIMBERLY ANN MIMNAUGH                             15811 MOORE                                                                                    ALLEN PARK         MI    48101‐1515
KIMBERLY ANN MURRAY                               10298 ALLMANDA BLVD                                                                            PALM BEACH         FL    33410‐5216
                                                                                                                                                 GARDENS
KIMBERLY ANN RANLY                                3237 CHELTENHAM RD                                                                             TOLEDO             OH    43606‐1819
KIMBERLY ANN STREETER                             5599 BELLA VILLA DR                                                                            ALMONT             MI    48003‐9728
KIMBERLY ANN WILLIAMS                             POST OFFICE BOX 65                                                                             PRAGUE             OK    74864‐0065
KIMBERLY ANNE GIBSON & JOY MARIE ALBANO JT TEN    2237 PLATTIN RD                                                                                FESTUS             MO    63028‐3963

KIMBERLY ANNE KEMPER                              9051 N SHADOW ROCK DR                                                                          TUCSON             AZ    85743‐1113
KIMBERLY B NEWBERRY & ANNETTE J BURCH JT TEN      2072 STIRLING DR                                                                               TROY               MI    48085‐1040

KIMBERLY B ROBINSON                               1568 HARBOURTON ROCKTOWN RD                                                                    LAMBERTVILLE       NJ    08530‐3001
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 620 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

KIMBERLY BATES                                 2831 BYNAN DR                            APT 206                                                  YPSILANTI          MI    48197‐1259
KIMBERLY C BRINGLE & RICHARD BRINGLE JT TEN    301 NICHOLS AVE                                                                                   WILMINGTON         DE    19803‐2590
KIMBERLY C KEY CUST MEGHAN KIMBERLY KEY UGMA   600 DRURY CT                                                                                      FLUSHING           MI    48433‐1472
MI
KIMBERLY C MALLORY                             414 FIVE FARMS DR                                                                                 STEVENSVILLE       MD    21666
KIMBERLY C RUBY                                20 NAPLES ROAD                                                                                    MELROSE            MA    02176‐5510
KIMBERLY CAROL WILSON CUST JULIAN GREAVES      520 KING STABLE LN                                                                                EADS               TN    38028‐9519
WILSON III UTMA TN
KIMBERLY CAROL WILSON CUST KEEGAN ASHE WILSON 520 KING STABLE LN                                                                                 EADS               TN    38028‐9519
UTMA TN
KIMBERLY CAROL WILSON CUST KELSI MARTIN WILSON 520 KING STABLE LN                                                                                EADS               TN    38028‐9519
UTMA TN
KIMBERLY COLE                                  210 COMMERCE DR                                                                                   BLAIRSVILLE        GA    30512‐8912
KIMBERLY COUMOU CUST ASHLEY C COUMOU UGMA MI 852 ARLEBERG CIRCLE                                                                                 WEBSTER            NY    14580‐1788

KIMBERLY COUMOU CUST DAVID J COUMOU UGMA MI 852 ARLBERG CIRCLE                                                                                   WEBSTER            NY    14580‐1788

KIMBERLY COUMOU CUST DAVID JUSTIN COUMOU         852 ARLBERG CIR                                                                                 WEBSTER            NY    14580‐1788
UGMA MI
KIMBERLY COUMOU CUST DAVID JUSTIN COUMOU         852 ARLBERG CIR                                                                                 WEBSTER            NY    14580‐1788
UTMA NY
KIMBERLY COUMOU CUST LINDSEY K COUMOU UGMA       852 ARLEBERG CIRCLE                                                                             WEBSTER            NY    14580‐1788
MI
KIMBERLY D BUHL                                  3488 SHADY CREEK DR                                                                             HARTLAND           MI    48353‐2126
KIMBERLY D CHAPMAN                               2730 WOODSTOCK DR                                                                               DETROIT            MI    48203‐1065
KIMBERLY D CHAPMAN                               829 CUNNINGHAM RD                                                                               SALEM              OH    44460‐9405
KIMBERLY D KRESS                                 5526 BULLFINCH DR                                                                               WESTERVILLE        OH    43081‐8607
KIMBERLY D MILLER                                1375 EASTGATE CT SE                                                                             ATLANTA            GA    30316‐2071
KIMBERLY D MULFORD                               2212 DOVE HOLLOW DR                                                                             SHREVEPORT         LA    71118‐5211
KIMBERLY D PADOLL                                4459 PORT AUSTIN RD                                                                             CASEVILLE          MI    48725‐9632
KIMBERLY D SHELLY                                2474 GREAT BIRCH DR                                                                             OCOEE              FL    34761‐7649
KIMBERLY D SMITH                                 4505 LUERSSEN AVE                                                                               BALTIMORE          MD    21206‐5509
KIMBERLY D WILLIAMS TR HELEN H DUNSMOOR LIVING   13613 TIMBERLAKE COURT                                                                          MIDLOTHIAN         VA    23114‐3325
TR UA 02/26/93
KIMBERLY E BURKHARDT                             6361 CREST FOREST CT W                                                                          CLARKSTON          MI    48348‐4584
KIMBERLY E FRISCH                                21 COUNTRY CLUB PL                                                                              BLOOMINGTON        IL    61701‐3486
KIMBERLY E KEE                                   148 DEER POINT RD                                                                               UNIONVILLE         TN    37180‐8500
KIMBERLY E SCRUGGS                               8114 POLO CROSS AVE                                                                             SACRAMENTO         CA    95829
KIMBERLY E YOUNG                                 5950 PINE VISTA SE                                                                              KENTWOOD           MI    49548‐6884
KIMBERLY ELIZABETH PANDELL                       C/O MS SHOCK                           20700 FRAZHO                                             ST CLAIR SHORES    MI    48081‐3408
KIMBERLY F MACDONALD                             2312 LEE RD                                                                                     LEE                ME    04455‐4409
KIMBERLY F WOODS                                 221 SCHOONER DR                                                                                 LANSING            MI    48917‐3447
KIMBERLY FALLIS WILKINS                          3563 MICHAELS COVE                                                                              LEXINGTON          KY    40509‐2029
KIMBERLY FENNER                                  5282 E MOUNT MORRIS RD                                                                          MOUNT MORRIS       MI    48458‐9730
KIMBERLY FOWLER                                  1030 52ND ST SE                                                                                 KENTWOOD           MI    49508‐6006
KIMBERLY FOX MILLSAPS                            4726 REMBERT DR                                                                                 RALEIGH            NC    27612‐6234
KIMBERLY G COOPER & DONALD W COOPER JT TEN       11021 SE 270TH STREET                                                                           KENT               WA    98031‐7211

KIMBERLY G HAERING                               9614 MOORFIELD CIR                                                                              LOUISVILLE         KY    40241‐3019
KIMBERLY GRZEBINSKI & THOMAS GRZEBINSKI JT TEN   6949 ACADEMY LANE                                                                               LOCKPORT           NY    14094

KIMBERLY H MAIER                                 14 DELNO DRIVE                                                                                  DANBURY            CT    06811‐3423
KIMBERLY H MILLER                                9216 59TH DR NE                                                                                 MARYSVILLE         WA    98270‐2743
KIMBERLY H SHERWIN                               PO BOX 236                                                                                      CELESTE            TX    75423
KIMBERLY H STODDARD                              2135 MEARES RD                                                                                  CHAPEL HILL        NC    27514‐2033
KIMBERLY HARRISON SMITH                          127 RIVER REACH DR W                                                                            SWANSBORO          NC    28584‐8527
KIMBERLY HOLGATE & DOREN F HOLGATE JT TEN        1070 SCUFFLE CREEK RD                                                                           BRADFORDVILLE      KY    40009‐8612
KIMBERLY HUGHES CUST BRANDON KENNETH HUGHES      13668 HEATHERWOOD                                                                               STERLING HEIGHTS   MI    48313‐4326
UGMA MI
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                      Part 4 of 8 Pg 621 of 855
Name                                              Address1                             Address2                          Address3   Address4          City              State Zip

KIMBERLY I WEBER                                  26347 MEADOWVIEW DR                                                                                 FARMINGTON HILLS MI     48331‐4123

KIMBERLY J AMSPACHER                              20932 FLORA                                                                                         ROSEVILLE         MI    48066‐4589
KIMBERLY J CAMUSO                                 313 DUNN DR                                                                                         GIRARD            OH    44420‐1226
KIMBERLY J CARMONY                                4184 CALVIN DR                                                                                      ADRIAN            MI    49221‐1002
KIMBERLY J DIRKS                                  5066 BEECHWOOD RD                                                                                   AVON              IN    46123
KIMBERLY J DIRKS & DENNIS S DIRKS JT TEN          5066 BEECHWOOD RD                                                                                   AVON              IN    46123
KIMBERLY J FORBES                                 PO BOX 50131                                                                                        SUMMERVILLE       SC    29485‐0131
KIMBERLY J GRZEBINSKI                             6949 ACADEMY LANE                                                                                   LOCKPORT          NY    14094‐5322
KIMBERLY J MCDADE                                 110 E 13TH ST                        APT 2A                                                         NEW YORK          NY    10003‐5344
KIMBERLY J NELSON                                 11702 BROWNINGSVILLE RD                                                                             IJAMSVILLE        MD    21754‐9125
KIMBERLY J PIERSON & DEBORAH H KOVAL JT TEN       7397 CARROLL LN                                                                                     SWARTZ CREEK      MI    48473
KIMBERLY J REDBOURN                               19 HUDDERSFIELD PL                   WINNIPEG MB                                  R3R 3G7 CANADA
KIMBERLY J THOMPSON‐EVERETT                       23210 LILAC                                                                                         FARMINGTON        MI    48336‐3349
KIMBERLY JANE DANIELSON                           8271 GREEN TOWER LN                                                                                 RYE               CO    81069‐8711
KIMBERLY JEAN BELL                                9564 TRITON COURT                                                                                   BOCA RATON        FL    33434‐5622
KIMBERLY JEAN GAGNON                              1309 FERN ST                                                                                        SAN DIEGO         CA    92102‐1722
KIMBERLY JO CARLSON                               1647 ANGELA DR                                                                                      BETHLEHEM         PA    18017‐3271
KIMBERLY JO FICHTER                               1848 STONER AVE NE                                                                                  MASSILLON         OH    44646‐4875
KIMBERLY JO JENNINGS                              10563 W PEAKVIEW PLACE                                                                              LITTLETON         CO    80127‐5563
KIMBERLY K BROOKS                                 16304 DAVIS RD                                                                                      ATHENS            AL    35611‐8104
KIMBERLY K CASH                                   12249 SW 13TH ST                                                                                    YUKON             OK    73099‐7007
KIMBERLY K CERNY                                  1633 CHENEY RD                                                                                      KNOXVILLE         TN    37922‐5853
KIMBERLY K CONRAD                                 8900 BATH RD                                                                                        LAINGSBURG        MI    48848‐9362
KIMBERLY K KROEHLER                               8127 WALDEN GLEN CT                                                                                 INDIANAPOLIS      IN    46278‐5014
KIMBERLY K LONG                                   6079 MIDDLE LAKE RD                                                                                 CLARKSTON         MI    48346‐2047
KIMBERLY K MIYASAKI                               1369 KAWELOKA ST                                                                                    PEARL CITY        HI    96782‐1940
KIMBERLY K MONTNEY                                6073 STATLER DR                                                                                     CALEDONIA         MI    49316‐9739
KIMBERLY K RASMUSSEN                              2411 FAIRWOOD DRIVE                                                                                 FORT WAYNE        IN    46816‐3821
KIMBERLY K TAYLOR                                 2426 REDBUD TRAIL DR                 ALSO KNOWN AS KIMBERLY T MILLER                                GERMANTOWN        TN    38139‐6428
KIMBERLY K TRITES ROGERS TR WILKIN CHILDREN TRUST 16886 8 MILE RD                                                                                     STANWOOD          MI    49346‐9310
UA 8/16/01
KIMBERLY K WOODS                                  4433 W HINSDALE AV                                                                                  LITTLETON         CO    80128‐2513
KIMBERLY KAY GRAFF                                8332 MISTY MD                                                                                       GRAND BLANC       MI    48439‐7427
KIMBERLY KLINE                                    893 KEELER AVE                                                                                      BERKELEY          CA    94708‐1323
KIMBERLY KNOWLE                                   2524 SKAGWAY DRIVE                                                                                  NORTHWOOD         OH    43619‐2020
KIMBERLY L CEDERQUIST                             149 HAYES N W                                                                                       COMSTOCK PARK     MI    49321‐9712
KIMBERLY L COLES CUST CRYSTAL R COLES UGMA MI     5463 ROBIN DRIVE                                                                                    GRAND BLANC       MI    48439‐7925

KIMBERLY L COLES CUST JOSHUA F COLES UGMA MI      5463 ROBIN DRIVE                                                                                    GRAND BLANC       MI    48439‐7925

KIMBERLY L COWAN                                  22 DAVID CT                                                                                         DAYTON            NJ    08810‐1301
KIMBERLY L LECCO PER REP EST SONIA E RISCHARD     112 HARDING AVENUE                                                                                  NEWINGTON         CT    06111

KIMBERLY L LES CAMELA & DAVID ALAN LESCAMELA JT   15962 PATRIOT DR                                                                                    MACOMB            MI    48044‐4958
TEN
KIMBERLY L LESCAMELA                              15962 PATRIOT DR                                                                                    MACOMB            MI    48044‐4958
KIMBERLY L LOPINA                                 7 CALLE AGUA                                                                                        SAN CLEMENTE      CA    92673‐2749
KIMBERLY L MASON‐BUCKA                            506 HUNTERS RUN DR                                                                                  BELAIR            MD    21015‐6195
KIMBERLY L MCGILL                                 1761 MOUNTAIN ASH DR                                                                                W BLOOMFIELD      MI    48324‐4004
KIMBERLY L PAVIA‐KLIMA                            2317 SCOTTWOOD AVE                                                                                  TOLEDO            OH    43620‐1107
KIMBERLY L RUSSETT                                5024 E FOX CI                                                                                       MESA              AZ    85205‐5360
KIMBERLY L SELLERS & MICHAEL SELLERS JT TEN       1746 THRUSH DRIVE                                                                                   WATERLOO          IA    50701‐9269
KIMBERLY L WEST                                   1100 E KURTZ                                                                                        FLINT             MI    48505‐1512
KIMBERLY LYNN NESTER                              460 2ND AVE                                                                                         NEW EAGLE         PA    15067‐1432
KIMBERLY LYNN SCHROEDER                           265 UNION DRIVE                                                                                     ROCHESTER HLS     MI    48307
KIMBERLY M CHECK                                  C/O KIMBERLY CHECK‐FRANKLIN          123 OCEAN BLVD                                                 CLIFFWOOD BEACH   NJ    07735‐6060

KIMBERLY M FISCHER                                318 LARAMIE LANE                                                                                    KOKOMO            IN    46901‐4048
                                           09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                Part 4 of 8 Pg 622 of 855
Name                                         Address1                            Address2             Address3          Address4          City             State Zip

KIMBERLY M HENGY                             43325 INTERLAKEN DR                                                                          STERLING HGTS    MI    48313‐2369
KIMBERLY M JONES                             229 W MC CLELLAN STREET                                                                      FLINT            MI    48505‐6618
KIMBERLY M KEMPER                            750 LOGAN CUT                                                                                CAVE JUNCTION    OR    97523‐9861
KIMBERLY M KEMPER                            750 LOGAN CUT RD                                                                             CAVE JUNCTION    OR    97523‐9861
KIMBERLY M MILLIKEN                          407 WEST ST                                                                                  FRANKLIN         KY    42134‐1755
KIMBERLY M MILNER                            33 MARINA DR                                                                                 HULL             MA    02045‐1322
KIMBERLY M SMITH                             57 S EMERSON ST                                                                              DENVER           CO    80219
KIMBERLY M WATSON                            8151 CARIBOU LAKE LANE                                                                       CLARKSTON        MI    48346‐1984
KIMBERLY M WOOD                              3269 HAVILAND CT                    APT 302                                                  PALM HARBOR      FL    34684‐1892
KIMBERLY MATSUMOTO                           1412 ALA LEIE PL                                                                             HONOLULU         HI    96818‐1550
KIMBERLY MC COIN                             3280 PATTON BRANCH RD                                                                        GOODLETTSVILLE   TN    37072‐8468
KIMBERLY MCKEE                               820 HANOVER RD                                                                               GETTYSBURG       PA    17325
KIMBERLY MCNAMARA                            25 WOODRIDGE ROAD                                                                            DURHAM           NH    03824‐2917
KIMBERLY MICHELLE BAXTER‐BROWN               1088 TAHOE TRL                                                                               FLINT            MI    48532
KIMBERLY MICHELLE CAROTENUTO                 19040 MONTEREY AVE                                                                           EUCLID           OH    44119‐1610
KIMBERLY MICHELLE COOK                       3311 OAK GROVE RD                                                                            NORTH BRANCH     MI    48461‐8879
KIMBERLY MILLER                              ATTN KIMBERLY M LACEY               37 FILBERT ST                                            MEDFORD          NJ    08055‐2621
KIMBERLY MINEK                               18277 ROWELL RD                                                                              WELLINGTON       OH    44090‐9120
KIMBERLY MITCHELL                            2097 WEXFORD CIR                                                                             WHEATON          IL    60187‐6167
KIMBERLY MORFORD                             14947 NORTHVIEW DR                                                                           URBANDALE        IA    50323‐2405
KIMBERLY N BRIGHT                            PO BOX 1100                                                                                  PINEDALE         WY    82941‐1100
KIMBERLY NEWBERRY                            2072 STIRLING DR                                                                             TROY             MI    48085‐1040
KIMBERLY OLSON                               18630 OIX RD TRLR 48                                                                         MELVINDALE       MI    48122
KIMBERLY P BOWDEN                            2525 N WILSON AVE                                                                            ROYAL OAK        MI    48073‐4275
KIMBERLY PAIGE JEFFRIES                      8702 GREYSTONE PL                                                                            ALEXANDRIA       VA    22309‐2560
KIMBERLY R AUSTEN‐MANKOWSKI                  1042 ELTSNER                                                                                 MT MORRIS        MI    48458
KIMBERLY R GABLE                             4944 MONROE DR                                                                               BROOKHAVEN       PA    19015‐1025
KIMBERLY R GORNIAK GUAY                      1235 WEATHERSTONE CT                                                                         RESTON           VA    20194‐1350
KIMBERLY R LEWIS                             2900 CHERRY ST                                                                               WILMINGTON       DE    19805‐2303
KIMBERLY R MANNEY                            8073 CROSS HILL                                                                              DAVIS BURGH      MI    48350‐2401
KIMBERLY R TEDERICK                          775 WAVING LAUREL LN                                                                         HEDGESVILLE      WV    25427‐7343
KIMBERLY R WINKLE                            2697 TAYLORSVILLE RD                                                                         HILLSBORO        OH    45133‐6744
KIMBERLY ROGOSKY                             3650 MORRIS FARM DR 2C                                                                       GREENSBORO       NC    27409‐8974
KIMBERLY RON HICKS                           PO BOX 294                                                                                   MOULTONBOROUG    NH    03254‐0294
                                                                                                                                          H
KIMBERLY S BARNO                               1695 SWEETGUM DR                                                                           GREENWOOD        IN    46143
KIMBERLY S CARREON                             5216 EAGLE ROCK BLVD                                                                       LOS ANGELES      CA    90041‐1117
KIMBERLY S CLAPP                               2032 CRESTLINE DR                                                                          BURTON           MI    48509‐1340
KIMBERLY S CORLL                               ATTN KIMBERLY S DUFF              5111 FRENCHLINE RD                                       MARLETTE         MI    48453‐9706
KIMBERLY S FRANCIS                             2620 NE 19TH AVE                                                                           LGHTHSE POINT    FL    33064‐7726
KIMBERLY S KAUFMANN                            6825 CRAPO ROAD                                                                            ASHLEY           MI    48806‐9336
KIMBERLY S MC DONOUGH                          14415 MORNING MOUNTAIN WAY                                                                 ALPHARETTA       GA    30004‐4520
KIMBERLY S SHAAI                               2127 WEST 22ND PLACE                                                                       YUMA             AZ    85364‐8860
KIMBERLY S ST CLAIR                            PO BOX 4133                                                                                PARKERSBURG      WV    26104‐4133
KIMBERLY S WINTER CUST ROBERT M WINTER UGMA DE 310 STAMFORD DR                                                                            NEWARK           DE    19711‐2761

KIMBERLY SANDERS                             3570 DONOVAN DR                                                                              CRETE            IL    60417‐1532
KIMBERLY SEARFASS                            522 HELTON DR                                                                                CLARKSVILLE      TN    37042‐3733
KIMBERLY SILVERS & LINDA TAPSCOTT JT TEN     4505 ELMWOOD RD                                                                              BELTSVILLE       MD    20705
KIMBERLY SMITH                               813 STANBRIDGE ST                                                                            NORRISTOWN       PA    19401‐3661
KIMBERLY SMITH                               369 HERMAN ST                                                                                BUFFALO          NY    14211
KIMBERLY STOLL KIERNAN                       6809 WILLOW CREEK DR                                                                         CANTON           MI    48187‐3063
KIMBERLY STOWERS MORELAND                    14894 SW 116TH PLACE                                                                         TIGARD           OR    97224‐2763
KIMBERLY SUE BEARUP                          11401 S BLAIR RD                                                                             ELSIE            MI    48831‐9505
KIMBERLY SWEENEY KOGER                       62 HERRICK RD                                                                                NEWTON CENTER    MA    02459‐2220
KIMBERLY THIERS BLACK                        306 BENSON CIRCLE                                                                            PITTSBURGH       PA    15227‐1502
KIMBERLY TUCKER QUINN                        11700 E WATERMAN ST LOT 217                                                                  WICHITA          KS    67207‐1463
KIMBERLY V BALTIERRA                         8598 NANCY AVE                                                                               UTICA            MI    48317‐5336
KIMBERLY V MOORE                             314 AVALON                                                                                   WARREN           OH    44484‐2165
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                   Part 4 of 8 Pg 623 of 855
Name                                          Address1                              Address2                  Address3              Address4          City              State Zip

KIMBERLY V STUKAS                             31 NORTH LANE                                                                                           HUNTINGTON        NY    11743‐4710
KIMBERLY WARD                                 880 TYRONE AVE                                                                                          WATERFORD         MI    48328‐2667
KIMBERLY WATSON CUST TYLER WATSON UTMA CA     15273 HERRING AVE                                                                                       SAN JOSE          CA    95124‐3429

KIMBERLY WHITEHEAD HAYES                      21569 NW 105TH AVE                                                                                      LAKE BUTLER       FL    32054
KIMBERLY WOLFE NOLTE                          2400 CANDLEMAKERS LN                                                                                    MAINEVILLE        OH    45039‐8703
KIMBERLY Y FLANIGAN                           994 GLASGOW DR                                                                                          CINCINNATI        OH    45240‐2348
KIMBERLYN C CUNNINGHAM                        32461 ARLESFORD DR                                                                                      SOLON             OH    44139‐4402
KIMBERLYN VAIL DE BUHR                        900 N LAKE SHORE DR                   APT 511                                                           CHICAGO           IL    60611‐1597
KIMBLE C CAMP                                 4451 BUCKINGHAM RD                                                                                      ROYAL OAK         MI    48073‐6223
KIMBROS BEVERLY                               4101 SUMMERHILL LN                                                                                      FORT WORTH        TX    76244‐4908
KIMCHI LONG CUST MICHAEL A LONG UTMA CA       30417 VIA VICTORIA                                                                                      RANCHO PALOS      CA    90275‐4443
                                                                                                                                                      VERDE
KIMELA S STEIGER CUST BO A FOWLER UTMA IN     8044 S CO RD ZERO                                                                                       CLAYTON           IN    46118‐9394
KIMIKO K WILLIAMS                             67 BELLAIR DR                                                                                           DOBBS FERRY       NY    10522‐3501
KIMIKO L DONALDSON                            1012 WILLOWGROVE CT                                                                                     ROCHESTER HLS     MI    48307‐2544
KIMKE NGUYEN                                  12295 DONALD REED LN                                                                                    GARDEN GROVE      CA    92840‐3255
KIMMERLEY J WHALEN                            R ROUTE 1                             PORT HOPE ON                                    L1A 3V5 CANADA
KIMMERLEY J WHALEN                            R ROUTE 1                             PORT HOPE ON                                    L1A 3V5 CANADA
KIMMERLY D KIDD                               6116 TWYCKENHAM DRIVE                                                                                   INDIANAPOLIS      IN    46236‐7368
KIMMIE S MILES                                7211 SCOTT HWY                                                                                          BLISSFIELD        MI    49228‐9621
KIMMO K SASI                                  KAUPPAKATU 16 A 16                    33210 TAMPERE 21                                FINLAND
KIMMO SASI                                    KAUPPAKATU 16 A 16                    33210 TAMPERE                                   FINLAND
KIMMY L CAGLE                                 1624 LONG BRANCH LN                                                                                     MOUNT PLEASANT    TN    38474‐3200

KIN G CHUNG                                   1775 32ND AVE                                                                                           SAN FRANCISCO     CA    94122‐4101
KIN KWON YEE                                  1747 63RD STREET                                                                                        BROOKLYN          NY    11204
KIN KWON YEE ADM EST ELLA W YEE               1747 63RD STREET                                                                                        BROOKLYN          NY    11204‐2802
KIN‐PHONG NGUYEN                              18411 SANTIAGO BLVD                                                                                     VILLA PARK CITY   CA    92861‐2753
KIN‐PING MOY                                  358 AIRPORT RD                                                                                          WARREN            OH    44481‐9410
KINCH M VARNER JR                             C/O K MORGAN VARNER III               303 PEACHTREE STREET NE   2800 SUNTRUST PLAZA                     ATLANTA           GA    30308‐3201
KINDCARE & EASTER SEALS                       ATTN ANNELIESE GEHM                   1016 MILWAUKEE AVE S      MILWAUKEE                               S MILWAUKEE       WI    53172
KINETTE D INGRAM                              1949 ELDERLEAF                                                                                          DALLAS            TX    75232‐3305
KING A HAGEY                                  344 BLUFF CITY HWY                                                                                      BRISTOL           TN    37620‐4644
KING C GIN                                    4500 HARBOUR POINTE BLVD APT 225                                                                        MUKILTEO          WA    98275
KING C POOLE                                  26872 OLD HIGHWAY 20                                                                                    MADISON           AL    35756‐5538
KING D HATCHETT                               4605 INDUSTRIAL                                                                                         FLINT             MI    48505‐3620
KING D WALKER                                 338 S 7TH ST                                                                                            SAGINAW           MI    48601‐1823
KING E DAWSON                                 7500 WINDY STREAM                                                                                       DAYTON            OH    45414‐2096
KING H ROBERSON                               3824 AGNES                                                                                              KANSAS CITY       MO    64128‐2539
KING HOO WONG                                 35 HERNON DRIVE                                                                                         MILL VALLEY       CA    94941‐3264
KING KAY KWONG                                2185 HERCULES DR                                                                                        LOS ANGELES       CA    90046‐2016
KING L HOWE                                   414 BRENTWOOD DRIVE                                                                                     WILMINGTON        DE    19803‐4308
KING OF GLORY EVANGELICAL LUTHERAN CHURCH     6012 RIVER RD                                                                                           FLUSHING          MI    48433‐2508

KING S BAZEMORE                               154 BUSHY AVE                                                                                           YONKERS           NY    10710‐5508
KING S HARRIS                                 178 LUTHER ST                                                                                           PONTIAC           MI    48053
KING S WALKER                                 3163 E AMBER RIDGE WAY                                                                                  PHOENIX           AZ    85048‐7785
KING WILSON CUST KORIE WILSON UGMA NY         MAIN ROAD                                                                                               ORIENT            NY    11957
KING Y LEUNG                                  73‐23 177TH ST                                                                                          FLUSHING          NY    11366‐1520
KING‐YU YUNG                                  411 FERNWOOD DR                                                                                         WESTMONT          IL    60559‐2808
KINGSLEY L DAVIS                              289 GOLF COURSE DR #2‐16                                                                                WHITNEY           TX    76692‐7580
KINGSLEY M FRANCO                             119 AUSTIN ST                         APT 409                                                           KEPPHIKAN         AK    99901‐5944
KINGSTON OLINGER                              728 SUMMITT ROAD                                                                                        BRADFORD          PA    16701‐3469
KINLEE R KINCAID                              2100 S 50TH ST                                                                                          KANSAS CITY       KS    66106‐2411
KINNETH R WASHINGTON                          1766 PUTNAM                                                                                             DETROIT           MI    48208‐2021
KINNEY W BYRD                                 2502 A EMERALD DR                                                                                       EMERALD ISLE      NC    28594‐6521
KINNIE R BRITT                                3106 CREEK DR SE APT 1A                                                                                 KENTWOOD          MI    49512
KINSEY BONNEAU JR                             PO BOX 22161                                                                                            BEACHWOOD         OH    44122‐0161
                                                 09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 624 of 855
Name                                               Address1                             Address2                 Address3      Address4                City               State Zip

KINSEY H TANNER SR & SARA D TANNER JT TEN         4700 E MAIN ST                        #1245                                                          MESA               AZ    85105‐0718
KINUE B PERKINS                                   429 FERN HILL LANE                                                                                   WEST CHESTER       PA    19380‐4703
KIP C HIETT                                       2848 GLEN EAGLE DR                                                                                   MONTROSE           CO    81401‐5389
KIP R WILLIAMS                                    302 W SUMMIT ST                                                                                      CHELSEA            MI    48118‐1246
KIPP A LANMAN & DANA MINANDO TR UA 07/06/93       104 SHADEWELL DR                                                                                     DANVILLE           CA    94506
LANMAN TRUST
KIPPIE LYNN REICHELDERFER CUST KURT REICHELDERFER 12578 PLEASANT VALLEY RD                                                                             CHILLICOTHE        OH    45601‐4020
UTMA OH
KIRA GRISHFOFF                                    11A HEATH DR                          2ND FLOOR                LONDON        NW3 7SN GREAT BRITAIN
KIRA MICHAEL REMY CUST PEARL M TISCHLER UGMA NY BOX 3                                                                                                  CHEASEPEAKE        MD    20732‐0003
                                                                                                                                                       BEACH
KIRAH MILLINGTON CUST TAMECOLE MILLINGTON          305 ALEXANDER AVE                                                                                   BRIDGEPORT         CT    06606
UTMA CT
KIRBY B LE BLANC                                   413 ST FRANCIS STREET                                                                               LAFAYETTE          LA    70506‐4330
KIRBY C REED                                       30 MONTAGUE CIRCLE                                                                                  WINCHESTER         VA    22601‐4425
KIRBY C WILLIAMS                                   204 E IOWA                                                                                          EVANSVILLE         IN    47711
KIRBY CLIFTON JR                                   ATTN KIRBY CLIFTON CONST             845 SPRINGFIELD HWY #4                                         GOODLETTSVILLE     TN    37072‐1130
KIRBY E WILLEMS                                    414 N SYCAMORE ST                                                                                   NEW WINDSOR        IL    61465
KIRBY G JAMISON                                    361 S LINDA ST                                                                                      PAHRUMP            NV    89048‐4590
KIRBY GLENN MCLAMB                                 19 COMPTON DR                                                                                       ASHEVILLE          NC    28806‐2002
KIRBY HUFF                                         81 SUCCESS DR                                                                                       BOLTON             MS    39041‐9647
KIRBY K JOHNSTONE TR UA 03/31/2003 KIRBY K         280 SANDERLING AVE                                                                                  GEORGETOWN         SC    29440
JOHNSTONE REV TRUST
KIRBY L HEDRICK                                    PO BOX 1307                                                                                         PINEDALE           WY    82941‐1307
KIRBY L STRAYER                                    1250 DAYTON GERMANTOWN PIKE                                                                         GERMANTOWN         OH    45327‐1148
KIRBY P HOLT                                       31511 RUSH                                                                                          GARDEN CITY        MI    48135‐1757
KIRBY R CARTWRIGHT                                 3360 KINGSTON RD                                                                                    YORK               PA    17402‐4233
KIRBY RIDDICK                                      4917 SIGNAL DRIVE                                                                                   LAS VEGAS          NV    89130‐0193
KIRBY S DERRICK III                                136 STATE LINE ROAD                                                                                 HAZEL GREEN        AL    35750‐9769
KIRBY S POTTER                                     8240 COUNTY ROAD 20                                                                                 MANSFIELD          OH    44904‐9203
KIRBY T HART JR EX EST GEORGE ANNE L HART          10669 JOHNSON RD                                                                                    PETERSBURG         VA    23805
KIRBY W BLACKMON                                   1488 NEWHALL PKWY                                                                                   CONCORD            CA    94521‐3012
KIRI BORG                                          PO BOX 2035                                                                                         EAST HAMPTON       NY    11937
KIRIAKI KAIAFAS                                    1569 LONDON AVE                                                                                     LINCOLN PARK       MI    48146‐3521
KIRIAKI KOTSOGIANNIS                               6681 S SENECA WAY                                                                                   GILBERT            AZ    85298‐4034
KIRIL H STOJANOV                                   7851 GRANDLEY CT                                                                                    REYNOLDSBURG       OH    43068
KIRIT J BHANSALI & JUDITH LYNN BHANSALI JT TEN     809 57TH STREET                                                                                     PORT TOWNSEND      WA    98368

KIRK A AINGER                                      6686 KENSINGTON WAY                                                                                 WORTHINGTON        OH    43085‐7200
KIRK A CRONIN                                      6460 N RIVER RD                                                                                     FREELAND           MI    48623‐9202
KIRK A DEVORE                                      15530 MCCOMB CIRCLE                                                                                 PORT CHARLOTTE     FL    33981‐3200
KIRK A FREY                                        631 N FIFTH AVE                                                                                     ANN ARBOR          MI    48104‐1020
KIRK A GUTMANN                                     22595 HALIFAX LN                                                                                    NOVI               MI    48374‐3532
KIRK A JOHNSON                                     16040 OLD SEWARD                                                                                    ANCHORAGE          AK    99516‐4801
KIRK A KREIKEMEIER                                 4365 LAWN AVE STE 2                                                                                 WESTERN SPRGS      IL    60558
KIRK A MAHARG                                      4606 CENTER ST                                                                                      WILLOUGHBY         OH    44094‐5846
KIRK A MICHAEL                                     1829 E SAGEBRUSH AVE                                                                                ALEXANDRIA         IN    46001‐8857
KIRK A SOWRY                                       32 N JAY ST                                                                                         WEST MILTON        OH    45383‐1635
KIRK A YAUKEY                                      20383 MILL POND TERRACE                                                                             GERMANTOWN         MD    20876‐6033
KIRK ALEXANDER & DONNA ALEXANDER JT TEN            9 COLONIST LANE                                                                                     ROCHESTER          NY    14624‐4978
KIRK ALLAN JUDKINS                                 559 SPRINGFIELD AVE                                                                                 BERKELEY HEIGHTS   NJ    07922‐1012

KIRK BLAINE HAGER                                  136 TIMBERTOP RD                                                                                    NEW IPSWICH        NH    03071‐3017
KIRK BRIAN SMITH                                   4 PIN OAK CT                                                                                        TABERNACLE         NJ    08088‐8514
KIRK BROWN                                         400 CAMP MIKELL RD                                                                                  TOCCOA             GA    30577
KIRK C KEMMER                                      2214 7TH ST                                                                                         BAY CITY           MI    48708‐6807
KIRK CARROLL                                       280 MAIN ST                                                                                         PRESQUE ISLE       ME    04769
KIRK D BENNION                                     20936 COREY DRIVE                                                                                   MACOMB             MI    48044‐2114
KIRK D BRIGGS                                      2390 MILLER HWY                                                                                     OLIVET             MI    49076‐9653
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 625 of 855
Name                                           Address1                              Address2             Address3          Address4          City            State Zip

KIRK D FOETHER                                 3730 WHISPERING PINE DR                                                                        GLADWIN         MI    48624‐9795
KIRK D GERWIN                                  2576 ARBUTUS COURT                                                                             MIDLAND         MI    48642‐8822
KIRK D HARRIS                                  7490 ROUND LAKE RD                                                                             LAINGSBURG      MI    48848‐9402
KIRK D LUCAS                                   201 LITTLE ACORN                                                                               CLINTON         MI    49236‐9743
KIRK D PETERS                                  504 SUMTER CT                                                                                  SAINT JOSEPH    IL    61873‐8454
KIRK D SMITH                                   5191 LONSBERRY RD                                                                              COLUMBIAVILLE   MI    48421‐9105
KIRK D VELETT                                  1845 SUMMIT AVE                                                                                ST PAUL         MN    55105‐1428
KIRK D WILSON                                  195 STUEWE RD                                                                                  GETZVILLE       NY    14068‐1396
KIRK F DALE                                    5515 COOPER                                                                                    MARLETTE        MI    48453‐9740
KIRK F ZWETSCH                                 2 CRAIG HILL DR                                                                                BROCKPORT       NY    14420‐9420
KIRK G BROWN                                   1811 N 3RD ST                                                                                  GRAND JCT       CO    81501‐2109
KIRK H HERRICK                                 1400 LENWOOD DR                                                                                SAGINAW         MI    48638‐6309
KIRK J DAVIS                                   2521 GRANDVIEW DR                                                                              PLANO           TX    75075‐8105
KIRK JACOBSON                                  44715 OAK FOREST DR                                                                            NORTHVILLE      MI    48167‐4439
KIRK K KNELLER                                 RD1                                   BOX 263                                                  GHENT           NY    12075‐9801
KIRK KOWALSKI                                  46 HURLEY COMMONS                                                                              BRISTOL         CT    06010‐5220
KIRK L BARKEL                                  4034 FOUR LAKES AVE                                                                            LINDEN          MI    48451‐9480
KIRK L BARKEL & PAMELA S BARKEL JT TEN         4034 FOUR LAKES AVE                                                                            LINDEN          MI    48451‐9480
KIRK L BROWN                                   18761 BALTA RD                                                                                 RUSSELL         KS    67665
KIRK L HARMON                                  3730 SIMOT RD                                                                                  EATON RAPIDS    MI    48827‐9672
KIRK L JOHNSON                                 29 INDIAN CAVE RD                                                                              RIDGEFIELD      CT    06877‐5804
KIRK L TUCKER                                  4841 BAKEY SETTLEMENT ROAD                                                                     SUN PRAIRIE     WI    53590
KIRK LARKIN                                    1607 ALEXANDER DR                                                                              WAXAHACHIE      TX    76165
KIRK M BOOTH & CAROL A BOOTH JT TEN            106 LEROY AVE                                                                                  TARRYTOWN       NY    10591‐4621
KIRK M TOOLEY                                  17473 HERRICK                                                                                  ALLEN PARK      MI    48101‐1412
KIRK MAC LENNAN                                11520 CLEARVIEW DR                                                                             DELPHOS         OH    45833‐8940
KIRK MCNAMARA CUST DAVID MCNAMARA UTMA CA      1511 6TH ST                                                                                    MANHATTAN       CA    90266‐6345
                                                                                                                                              BEACH
KIRK N CRAYMER & MALINDA J CRAYMER JT TEN      15682 KITCHEL LN                                                                               GRAND HAVEN     MI    49417‐2965
KIRK ODEGAARD                                  24 SUNFLOWER RD                                                                                SOMERSET        NJ    08873‐7153
KIRK P PRICE                                   8 BLISS ST                                                                                     WESTFIELD       NY    14787
KIRK R BLANDFORD                               11044 CLAR EVE DRIVE                                                                           OTISVILLE       MI    48463‐9434
KIRK R MOYER                                   419 RIVERSIDE DR                                                                               PORTLAND        MI    48875‐1722
KIRK R SMOLIK                                  8677 FEE RD                                                                                    ORWELL          OH    44076‐9319
KIRK ROSIEK                                    8660 S DUTCHESS DR                                                                             BRUCE           MI    48065‐4348
KIRK S BOWLES                                  11304 FARRAND ROAD                                                                             OTISVILLE       MI    48463‐9753
KIRK S MORISATO & SUSANNE MORISATO JT TEN      1995 IWI WAY                                                                                   HONOLULU        HI    96816‐3947
KIRK SENKOWSKI                                 6758 SOUTH POINTE CT SW                                                                        BYRON CENTER    MI    49315‐8218
KIRK STELLER                                   91556 DONNA RD                                                                                 SPRINGFIELD     OR    97478‐9799
KIRK T MILLER                                  133NORWICH CT                                                                                  WALLED LAKE     MI    48390‐1236
KIRK W CHAPO                                   1339 SHARON ST                                                                                 WESTLAND        MI    48186‐5044
KIRK W EMERSON                                 8412 CRABAPPLE DR                                                                              TEMPERANCE      MI    48182‐9119
KIRK W FETZER                                  PO BOX 63                                                                                      KALEVA          MI    49645‐0063
KIRK W KELLY                                   513 W MAIN                                                                                     PITTSBORO       IN    46167‐9169
KIRK W SCHOOLEY                                2580 SAND WEDGE LN                                                                             PINCKNEY        MI    48169‐9185
KIRKE P WILSON                                 172 HANCOCK STREET                                                                             SAN FRANCISCO   CA    94114‐2531
KIRKEM BENT                                    29 PINE STREET                                                                                 CHATHAM         NJ    07928‐1627
KIRKLAND SHOULTS & MARY LOU SHOULTS JT TEN     PO BOX#223                                                                                     LEXINGTON       MI    48450‐0223

KIRKLAND THOMPSON                              17326 BELAND ST                                                                                DETROIT         MI    48234‐3834
KIRKLEY LEE RUSSELL                            785 BRIGGS RD                                                                                  SALISBURY       NC    28147‐9539
KIRKLIN D HALL SR                              3208 RAYNELL                                                                                   LANSING         MI    48911‐2861
KIRKLIN H HOBOLTH                              9107 KELLY LAKE DR                                                                             CLARKSTON       MI    48348‐2587
KIRO BOSNJAKOVSKI                              18808 IRVING                                                                                   LIVONIA         MI    48152‐4900
KIRSTA L SHERIDAN                              21014 OAKLEY HILL CT                                                                           RICHMOND        TX    77469
KIRSTEN A ENGLISH                              802 E CALLE LAURELES                                                                           SANTA BARBARA   CA    93105‐2048
KIRSTEN A NELSON                               15851 RICA VISTA WAY                                                                           SAN JOSE        CA    95127‐2735
KIRSTEN A PANNEK                               320 SKYRIDGE DR                                                                                DUNWOODY        GA    30350‐4514
KIRSTEN B SMITH                                C/O WILLIAM J BEARD                   73 HEMENWAY STREET   APT 506                             BOSOTN          MA    02115‐2960
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                        Part 4 of 8 Pg 626 of 855
Name                                               Address1                              Address2                 Address3             Address4            City             State Zip

KIRSTEN B WILSON                                   11 HOBBS RD                                                                                             LEE              NH    03861
KIRSTEN BLOK                                       2200 GROVE                            WINDSOR ON                                    N9B 1P9 CANADA
KIRSTEN G SAUTER                                   39 GREAT PLAINS RD                                                                                      VINEYARD HAVEN   MA    02568‐7500
KIRSTEN GLANTZ CUST ISABEL GLANTZ UTMA NY          10 E 85TH ST APT 3B                                                                                     NEW YORK         NY    10028
KIRSTEN L IBIA                                     905 MORSE ST                                                                                            SAN JOSE         CA    95126‐1413
KIRSTEN L SABIN                                    2635 COOK TRL                                                                                           ORTONVILLE       MI    48462‐9237
KIRSTEN M ADAMS                                    7844 GRASSLAND DR                                                                                       FT WORTH         TX    76133‐7924
KIRSTEN M SAPE                                     2044 KNOLL CIRCLE                                                                                       ELLICOTT CITY    MD    21043
KIRSTEN MARIE OLSON                                922 MAPLE ST                                                                                            EAU CLAIRE       WI    54703‐2770
KIRSTIN A JOHNSON                                  5845 S HOBE CT                                                                                          SAINT PAUL       MN    55110‐6468
KIRSTIN EHRLICH                                    RHINSTR 6                             12305 BERLIN                                  GERMANY
KIRT BRIAN MEURLOT                                 2333 FLORIAN AVE                                                                                        DECATUR          IL    62526‐3037
KIRT MALLOY                                        248 TREMONT AVE                                                                                         ORANGE           NJ    07050‐3039
KIRT W HUFFMAN                                     400 TEAGUE DR                                                                                           ELM GROVE        LA    71051
KISHA BAILEY                                       212 KELLI DR                                                                                            ATHENS           GA    30606
KISHIN BHAGCHANDANI                                740 WHITEHAVE CRESCENT                LONDON ON                                     N6G 4V6 CANADA
KISHIN BHAGCHANDANI                                740 WHITEHAVE CRESCENT                LONDON ON                                     N6G 4V6 CANADA
KISSU CHIN                                         12 WOODLAND DR                                                                                          PERU             NY    12972‐2612
KIT CARSON                                         BOX 742                                                                                                 REHOBOTH BEACH   DE    19971‐0742

KIT CLARK KILLINGSWORTH                            1002 HOPE ST #147                                                                                       STAMFORD         CT    06907‐2104
KIT HANSEN CLARKE                                  7171 9TH ST S                                                                                           ST PETERSBURG    FL    33705‐6218
KIT HANSEN CLARKE CUST BRANDON CHAMBERLAIN         7171 9TH ST S                                                                                           ST PETERSBURG    FL    33705‐6218
CLARKE UTMA FL
KIT HAR LEE TR UA 08/24/93 KIT HAR LEE REVOCABLE   8303 JEFFERSON AVE                                                                                      MUNSTER          IN    46321
TRUST
KIT MARIE QUINN                                    23 VINCENT ST                                                                                           NANUET           NY    10954‐3134
KIT N WISE                                         450 EAST RIVER RD                                                                                       MUSKEGON         MI    49445‐8568
KITTIE E WILLIAMS                                  867 SMITHSON AVE                                                                                        ERIE             PA    16511‐2069
KITTIE M FLACK                                     21660 WHITMORE ST                                                                                       OAK PARK         MI    48237‐2615
KITTY D WEAVER                                     40820 JOHN MOSBY HWY                                                                                    ALDIE            VA    20105‐2820
KITTY L VICKERS CUST DYLAN E VICKERS UGMA MI       7107 MYERS DRIVE                                                                                        DAVISON          MI    48423‐2366
KITTY L WILLIAMS & DARRELL WILLIAMS TEN COM        7618 HOLLY COURT ESTATES                                                                                HOUSTON          TX    77095‐3576

KITTY LAM CUST CHERRY LAM UNDER THE FLORIDA        299 NE 31ST ST                                                                                          BOCA RATON       FL    33431‐6723
GIFTS TO MINORS ACT
KITTY M AINSCOUGH                                  ATTN KITTY M SEVERANCE                12 SUPERIOR TRL                                                   SWARTZ CREEK     MI    48473‐1614
KITTY S COATS                                      5000 US HWY 17 STE 18                                                                                   ORANGE PARK      FL    32003‐8250
KIUMI AKINGBEHIN                                   PO BOX 32737                                                                                            DETROIT          MI    48232‐0737
KIYOKO USUI                                        90 DUNCAN DRIVE                       PO BOX 11240                                                      GREENWICH        CT    06831‐1240
KIYOMASA ISHIDO                                    21 49 OGAWAHIGASHI 1                  AKIRUNO TOKYO                                 JAPAN
KIYOMI OKITA                                       412 FRANKLIN RD                                                                                         DENVILLE         NJ    07834‐3602
KIYOSHI MURANAKA & OGINO T MURANAKA JT TEN         95‐666 MAKAUNLILALI ST                                                                                  MILILANI         HI    96789

KIYOSHI TSUJI & MARY M TSUJI TR UA 07/16/90        210 MARINE VIEW DR                                                                                      CAMARILLO        CA    93010‐1646
KIYOYUKI K OKUYAMA                                 VIA SAPPONE 4                         TORINO                                        ITALY
KIZIAH T LYLES                                     1624 NICHOL AVE                                                                                         ANDERSON         IN    46016‐3262
KIZZIE MAE SANDERS                                 636 KENTUCKY AVE                                                                                        SAN ANTONIO      TX    78201‐6216
KJELL AC BERGSTROEM                                CARLANDERS PLATSEN 6                  GOTEBORG                 SE                   41255 SWEDEN
KJELL‐AKE ERIKSSON                                 RYRVAGEN 25 A                         TROLLHATTAN                                   46155 SWEDEN
KLAAS J BOSKER                                     30160 RICHMOND HILL                                                                                     FARMINGTON HILLS MI    48334‐2335

KLAAS J BOSKER & MARGARET F BOSKER JT TEN          30160 RICHMOND HILL                                                                                     FARMINGTON HILLS MI    48334‐2335

KLAIR W LEMON & MRS ROSEMARY LEMON JT TEN          3217 CALLE MARIPOSA                                                                                     SANTA BARBARA    CA    93105‐2744

KLARI K STRATTON                                   ATTN KLARI K FREDERICK                7369 HAVILAND BEACH DR                                            LINDEN           MI    48451‐8721
KLARK J WALLACE                                    3808 PARKWAY DR D                                                                                       SHREVEPORT       LA    71104‐5165
KLAUDIA MARTINI                                    ANTON‐VON‐RIEPPELSTR 11C              83707                    BAD WIESSEE GERMAN   GERMANY
                                          09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                  Part 4 of 8 Pg 627 of 855
Name                                           Address1                            Address2                 Address3                 Address4                City            State Zip

KLAUDIE K GROVES                               250 S PINCH RD                                                                                                ELKVIEW         WV    25071‐9379
KLAUS B TRAPP                                  LILIENWEG 8                         D‐64560 RIEDSTADT                                 GERMANY
KLAUS B TRAPP                                  LILIENWEG 8                         D‐64560 RIEDSTADT                                 GERMANY
KLAUS BERND TRAPP                              LILIENWEG 8                         D‐64560 RIEDSTADT                                 GERMANY
KLAUS BUICK                                    LINDENSTRASSE #33                   65468 TREBUR                                      GERMANY
KLAUS D VOGES                                  MERSERBURGER STR 5                  D‐67663 KAISERSLAUTERN                            GERMANY
KLAUS D VOGES                                  MERSEBURGER STR 5                   D‐67663 KAISERSLAUTERN                            GERMANY
KLAUS DIETER GRUNDMANN TOD NIKKI GRUNDMANN     5747 WALSH RD                                                                                                 GAGETOWN        MI    48735‐9756
SUBJECT TO STA TOD RULES
KLAUS DIETER VOGES                             KLAUS‐DIETER VOGES                  MERSEBURGER STR 5        D‐67663 KAISERSLAUTERN   GERMANY
KLAUS G H PETERS                               06849 DESSAU                        MITTELBREITE 6                                    GERMANY
KLAUS HELBIG                                   PAUL HESSEMER STS 86                65428 RUESSELSHEIM                                GERMANY
KLAUS HIERONIMUS                               MIERENDORFFSTR 21                   64625 BENSHEIM                                    64625 GERMANY
KLAUS HIERONIMUS                               MIERENDORFSTR 21                    D‐64625 BENSHEIM                                  GERMANY
KLAUS KONRAD FUNK                              IN DEN ROEDERN 54                   64297 DARMSTADT                                   GERMANY
KLAUS KONRAD FUNK                              INDENROEDERN 54                     D 64297 DARMSTADT        REPL OF                  GERMANY
KLAUS LAUTENSCHLAEGER                          424 WARREN RD                                                                                                 COLDWATER       MI    49036‐7516
KLAUS LEYDECKER                                ALBERT ROSENKRANZSTR 2              D 55543 BAD KREUZNACH                             GERMANY
KLAUS MOTH KIBSGAARD                           7 PINECOTE DRIVE                    SAN JOSE                 SUNNINGDALE              SL5 9PS GREAT BRITAIN
KLAUS PRAGER                                   KOENIGSFELDER STR 5                 58256 ENNEPETAL                                   GERMANY
KLAUS R JUSKA                                  182 KIRKSWAY LN                                                                                               LAKE ORION      MI    48362‐2275
KLAUS THOMER                                   KOENIGSBERGER STR 96                D55268 NIEDER‐OLM                                 GERMANY
KLAUS U WOHLFEIL                               SIEGERTWEG 13                       BERLIN                                            12101 GERMANY
KLAUS W BESEL                                  66482 ZWEIBRUCKEN                   EXTERSTRASSE 9                                    GERMANY
KLAUS W THOMER                                 KOENIGSBERGER STR 96                D‐55268 NIEDER‐OLM                                GERMANY
KLAUS W THOMER                                 ADAM OPEL AG                        IPC 42‐30                RUSSELSHEIM              GERMANY
KLAUS WEICHSLER                                DOKTOR BOECKLER STRASSE 1           D‐65474                  BISCHOFSHEIM             GERMANY
KLAUS WEICHSLER                                DR BOECKLER STRASSE 1               D‐65474 BISCHOFSHEIM                              GERMANY
KLAUS‐DIET BRAUN                               BAUMSTRASS 3                        D‐55543 BAD KREUZNACH                             GERMANY
KLAUS‐DIETER VOLGMANN                          AHORNSTRASSE 8                      D‐15366                  NEUENHAGEN               GERMANY
KLEAH JACQUES & SHARON THURMAN JT TEN          17 CLASON PT                                                                                                  CROSSVILLE      TN    38558‐2755
KLEARCHOS THEOFANIDES                          5841 S OAK PARK AVE                                                                                           CHICAGO         IL    60638‐3231
KLEENAIRE CORPORTION                           2117 JEFFERSON STREET                                                                                         STEVENS POINT   WI    54481‐3821
KLINE OZBORN                                   BOX 651                                                                                                       CANTON          MS    39046‐0651
KNARF S NEWBY                                  BOX 97                                                                                                        GOSPORT         IN    47433‐0097
KNIGHTS OF COLUMBUS                            C/O P DODD                          PO BOX 2111                                                               ALAMEDA         CA    94501‐0209
KNOWLES B CORNWELL                             11819 BROOKHILL LN                                                                                            DALLAS          TX    75230‐2363
KNOX E TUMLIN                                  1913 LAUREL STREET                                                                                            NEW ORLEANS     LA    70130‐4919
KNOX F SALONEN                                 N 11142 STATE HIGHWAY M‐64                                                                                    MARENISCO       MI    49947‐9733
KNOX LOVELL                                    53 MARK ST                          NEW FARM QUEENSLAND                               4005 AUSTRALIA
KNUD OLSEN                                     RUGVEJ 22                           DK 4040 JYLLINGE                                  DENMARK
KNUD Q DALBY                                   7470 MILLER RD                                                                                                SWARTZ CREEK    MI    48473‐1430
KNUT GEBHARDT                                  AN DEN WEIDEN 130                   D 65428 RUSSELSHEIM                               GERMANY
KNUTH SEXAUER                                  MERIANSTR 6                         HEPPENHEIM                                        GERMANY
KO CHUAN CHI                                   422 SOUTH SEFTON AVE                APT G                                                                     MONTEREY PARK   CA    91755‐3442
KOBI ZAKEN                                     355 NEW BRIDGE RD                                                                                             NEW MILFORD     NJ    07646‐2434
KOBKIJH TAPASANANTANA                          5 BEECHVUE CT                                                                                                 SILVER SPRING   MD    20906
KOCK NYAIN HWEE & KAM FUND HWEE JT TEN         APT# 14I                            20 CATHERINE SLIP                                                         NEW YORK        NY    10038‐1327
KOCK PING GEE & MRS PUI YUNG GEE JT TEN        2 WALTIE CT                                                                                                   WEST BABYLON    NY    11704‐6725
KOENRAAD SMALBILL                              PO BOX 136                          SYDENHAM ON                                       K0H 2T0 CANADA
KOHAR BERBERIAN                                315 SUDBURY ST                                                                                                MARLBOROUGH     MA    01752
KOJI SONOYAMA                                  1249 E ELSMERE DR                                                                                             CARSON          CA    90746‐2637
KOKILA N PATEL                                 48236 RIVER WAY DR                                                                                            CANTON          MI    48187‐5621
KOKOMO MORNING MUSICALE                        1101 S ARMSTRONG ST                                                                                           KOKOMO          IN    46902‐6304
KOLAWOLE AGAGU                                 5219 MAXSON APT 0‐11                                                                                          SAGINAW         MI    48603
KOLBE HOOPER                                   17618 LINCOLN AVE                                                                                             HOMEWOOD        IL    60430‐1031
KOLLEEN D DUFFY & KATHLEEN L CLARK & HELEN M   11903 HIGHLAND DR                                                                                             WARREN          MI    48089‐4626
O'DELL JT TEN
KOLOMAN GRABAR                                 3311 NORTH MAIN STREET                                                                                        HOLLEY          NY    14470‐9328
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                                                    Part 4 of 8 Pg 628 of 855
Name                                           Address1                              Address2                     Address3                   Address4          City           State Zip

KOLTON W LATIMORE                              13970 N OLD OTTO COURT                                                                                          CAMBY          IN    46113
KOLYNDE BOWEN MINOR                            469 VENTURA LANE                                                                                                WHITEWATER     WI    53190‐1548
KONDA K OBERLANDER                             ATTN KONDA K THOMAS                   7010 E 106TH ST                                                           FISHERS        IN    46038‐2603
KONG JIMMIE HOM & SUE SIM HOM JT TEN           4405 SANTA MONICA BLVD                                                                                          LA             CA    90029‐2013
KONG T LOH CUST ALAN ETON LOH UGMA NY          50 E PORTOLA AVE                                                                                                LOS ALTOS      CA    94022‐1240
KONNI A ROACH                                  ATTN KONNI A MCMURRAY                 1600 MORGANTON RD LOT Y‐72                                                PINEHURST      NC    28374‐6606
KONNIE J MARSHALL                              2511 BRIGGS RD                                                                                                  CENTERVILLE    OH    45459‐6643
KONRAD G FUELLHART                             7 SONOMA LANE                                                                                                   MIDDLETOWN     CT    06457
KONRAD H SPICKER                               10205 E SPRING CREEK RD                                                                                         SUN LAKES      AZ    85248‐6843
KONRAD J KREISELMEIER CUST CHRISTINE M         4652 GRAYTON ROAD                                                                                               CLEVELAND      OH    44135‐2357
KREISELMEIER UGMA OH
KONRAD J KREISELMEIER CUST NORMAN E            4652 GRAYTON ROAD                                                                                               CLEVELAND      OH    44135‐2357
KREISELMEIER UGMA OH
KONSTADINOS KAVATHAS                           649 AURORA ST                                                                                                   LANCASTER      NY    14086‐3208
KONSTANTIN KISSNER                             8383 GLENWOOD AVE                                                                                               BOARDMAN       OH    44512‐6554
KONSTANTIN MANOLAKOUDIS                        5712 COULSON CT                                                                                                 LANSING        MI    48911‐5018
KONSTANTIN R KUSCHNIR                          1212 PEARL RD                                                                                                   BRUNSWICK      OH    44212‐5404
KONSTANTIN T KIOUSIS                           4877 WESTLAND STREET                                                                                            DEARBORN       MI    48126‐4112
KONSTANTINOS MARSELIS & FOTINY ALEX JT TEN     513 BATCHEWANA                                                                                                  CLAWSON        MI    48017‐1804
KOO D CHANG                                    19515 KILFINAN ST                                                                                               NORTHRIDGE     CA    91326‐4003
KOON C YOUNG & MRS SIUFUN HUI YOUNG JT TEN     39‐20 GRANT ST                                                                                                  FAIRLAWN       NJ    07410‐4910

KORBY PROPERTIES /LIMITED PARTNERSHIP/         PO BOX 105                                                                                                      FERGUS FALLS   MN    56538‐0105
KOREN HOHENFORST                               300 FOREST AVE                                                                                                  AMSTERDAM      NY    12010‐2710
KOREY GILLIS & KAREE GILLIS JT TEN             1955 THOMAS                                                                                                     BUTTE          MT    59701‐5721
KORINE COON & ALLAN B COON TR UA 10/06/08 COON 1940 MANCHESTER DR                                                                                              LAPEER         MI    48446
FAMILY TRUST
KORKI PANICHKUL                                8440 MONTANA AVE                                                                                                BUENA PARK     CA    90621‐3630
KORNELIA TAMARA MILOSTAN                       4228 HIGHCREST DR                                                                                               BRIGHTON       MI    48116‐7709
KORNELIE BERGER                                240 INDIAN CREEK RD                                                                                             WYNNEWOOD      PA    19096‐3404
KORS H VAN MOURIK JR                           23195 BUSH                                                                                                      SOUTHFIELD     MI    48424
KORY L LARIVE                                  2480 ANDERS DRIVE                                                                                               WATERFORD      MI    48329
KOSS C EDDILMAN                                21045 HWY 82 B                                                                                                  TAHELQUAH      OK    74464‐6361
KOSTA L ANDREAU                                2516 SPRUCE RD R 3                                                                                              EATON RAPIDS   MI    48827‐9361
KOSTAG MIHAL & MARGUERITE C MIHAL JT TEN       3438 WEST 117 ST                                                                                                CLEVELAND      OH    44111‐3617
KOSTAS ATZOUTZOULAS                            POLYMNIAS 12‐14                       HOLARGOS ATHENS TT                                      15561 GREECE
KOSTAS FORAKIS                                 625 S MACON ST                                                                                                  BALTO          MD    21224‐4413
KOSTAS MATULIS                                 6525 W 63RD ST APT 2A                                                                                           CHICAGO        IL    60638‐4149
KOULA ANDREOPOULOS CUST IOANNA ANDREOPOULOS 5219 VINEYARDS CT                                                                                                  TROY           MI    48098‐6205
UGMA MI
KOULA DEMOPOLIS                                18270 STEPHENS DR                                                                                               EASTPOINTE     MI    48021‐1939
KOVER M HUDSON JR                              117 YEARSLEY DRIVE                    PARKWOOD                                                                  WILMINGTON     DE    19808‐2346
KPAKU S PALAY                                  510 S MAIN ST                                                                                                   FARMERSVILLE   TX    75442‐2720
KRAIG A MALSTROM                               110 MESSER PL                                                                                                   MURPHY         NC    28906‐6489
KRAIG A VINCKE                                 15650 BUECHE RD                                                                                                 CHESANING      MI    48616‐9769
KRAIG D DRAGGOO                                3393 SERENITY RD                                                                                                OAKLAND        MI    48363‐2740
KRAIG E STAPLES & ANNE M STAPLES JT TEN        9394 W. BRISTOL RD                                                                                              SWARTZ CREEK   MI    48473
KRAIG EDWARD STAPLES                           9394 W. BRISTOL RD                                                                                              SWARTZ CREEK   MI    48473
KRAIG EDWARD STAPLES CUST KARRIE ELIZABETH     5923 EAGLES WAY                                                                                                 HASLETT        MI    48840‐9761
STAPLES UGMA MI
KRAIG K JENSON & SUSAN K JENSON TR UA 12/01/89 3408 N COTTONWOOD LN                                                                                            PROVO          UT    84604‐7402
JENSON FAMILY TRUST
KRAIG PIGARSCH                                 #202                                  2005 S FINLEY RD                                                          LOMBARD        IL    60148‐4826
KRAMER E WILLIAMSON                            609 N GRANT ST                                                                                                  PALMGRA        PA    17078‐1202
KRAMER W OLSEN                                 7400 YORK AVE S #223                                                                                            EDINA          MN    55435‐5631
KRAUS THIMM CUST KORNELIUS WALTER FRIEDRICH    WIETERALLEE 20                        D 341 NORTHEIM                                          GERMANY
THIMM UGMA MA
KRAY & CO                                      C/O MIDWEST SECURITIES TRUST CO       1 FINANCIAL PLACE            440 SOUTH LASALLE STREET                     CHICAGO        IL    60605‐1028
KRAY & CO C/O MIDWEST SECURITIES TRUST         COMPANY                               1 FINANCIAL PLACE            440 SOUTH LASALLE STREET                     CHICAGO        IL    60605‐1028
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
                                                                                        Part 4 of 8 Pg 629 of 855
Name                                                Address1                             Address2                 Address3                    Address4          City            State Zip

KREGER D EMRY                                       2900 27TH AVENEUE                                                                                           ROCK ISLAND     IL    61201
KREIG MCKEE                                         606 RIVIERA DUNES WAY                APT 108                                                                PALMETTO        FL    34221‐7139
KREMLIN‐HILLSDALE SR 4‐H CLUB                       ATTN BECKY KUCERA                    130 E ROBERTSON RD                                                     ENID            OK    73701‐6830
KREMZAC INC                                         C/O ERNESTO & ANABELLA ZACHRISSON    AVE LA REFORMA 3‐48      ZONA 9 OFIC 701 EDIF ANEL   GUATEMALA
KRIS A ACCARDO                                      9311 MARINUS                                                                                                FENTON          MI    48430‐8713
KRIS A MCLEAN & DOUGLAS L MCLEAN JT TEN             7222 MEADOW VIEW DR                                                                                         LOCKPORT        NY    14094‐6266
KRIS A PARKER                                       3866 THORNVILLE RD                                                                                          METAMORA        MI    48455‐9206
KRIS AARON MAYER                                    3070 WESTMAN COURT                                                                                          BLOOMFLDHILLS   MI    48304‐2062
KRIS D KEMPER                                       20091 N 200 E                                                                                               EATON           IN    47338‐9217
KRIS DORJATH                                        23315 ROSALIND AVE                                                                                          EASTPOINTE      MI    48021‐1981
KRIS ELY CUST PAIGE MARIE JUBECK UTMA MI            7020 S KREPPS RD                                                                                            ST JOHNS RD     MI    48879‐9119
KRIS JOAN GREENE                                    1406 MIAMI COURT N                                                                                          PLAINFIELD      IN    46168
KRIS K NEWVILLE                                     2645 PICO AV                                                                                                CLOVIS          CA    93611‐5001
KRIS L WILSON                                       8846 MACKINAW                                                                                               DETROIT         MI    48204‐2372
KRIS LUTZ                                           5594 MOCERI LANE                                                                                            GRAND BLANC     MI    48439‐4362
KRIS LYNN HARRINGTON                                2486 SADDLEWOOD LNR N                                                                                       PALM HARBOR     FL    34685‐2512
KRIS M WALDECKER                                    411 LUMBER RIVER RD                                                                                         MYRTLE BEACH    SC    29588‐7437
KRIS NELSON                                         632 ALLEY OOP                                                                                               RENO            NV    89509‐3668
KRIS R STARK                                        5286 ARAPAHO WAY                                                                                            CARMEL          IN    46033‐8845
KRIS RICKS CUST CHRISTIAN RICKS UTMA VA             13005 SAXONY BLVD                                                                                           FISHERS         IN    46037‐6259
KRIS TALSANIA                                       620 S LYNN ST                                                                                               FOUNTAIN HILL   PA    18015‐4411
KRIS‐TENA ALBERS                                    ATTN KRIS T SAMUELLS                 5523 HAMPTON WOODS WAY                                                 TALLAHASSEE     FL    32311‐8106
KRISHAN KAPUR CUST POOJA MALHOTRA UTMA NJ           66 CAMPBELL RD                                                                                              HILLSBOROUGH    NJ    08844‐4271

KRISHNA B RAJANGAM & SHRIMATHY RAJANGAM JT          239 MAYNARD RD                                                                                              FRAMINGHAM      MA    01701‐2505
TEN
KRISINE GILBERT SPENCE & BRAD SPENCE JT TEN         5 DORAL LN                                                                                                  LITTLETON       CO    80123‐6635
KRISS L ABNEY                                       1612 KINGSTON RD                                                                                            KOKOMO          IN    46901‐5279
KRISS L SCHROEDER                                   7811 DUNBARTON AVE                                                                                          LOS ANGELES     CA    90045‐1031
KRISSA ANN BARRACLOUGH                              C/O H L VAN VARICK                   30 GEORGE ST                                                           WEST MILFORD    NJ    07480‐3416
KRISTA ANN KAMENSKI                                 10000 SOUTHHAMPTON COMMONS DR                                                                               CHARLOTTE       NC    28277
KRISTA AUYER                                        ATTN KRISTA B CAYEA                  23 DEER FIELD RD                                                       BOICEVILLE      NY    12412‐5113
KRISTA D LATULIP                                    16581 WILSON                                                                                                EASTPOINTE      MI    48021‐3360
KRISTA E KING                                       ATTN KRISTA E WOOD                   6289 ARROWPOINT DR                                                     LOVELAND        OH    45140‐7519
KRISTA J VAN PATTER                                 2319 CALLE BALANDRA                                                                                         SAN CLEMENTE    CA    92673‐3631
KRISTA KATHLEEN PEMBERTON                           2913 BREE HILL RD                                                                                           OAKTON          VA    22124
KRISTA L ENGLISH TR KRISTA L ENGLISH LIVING TRUST   20111 EVERGREEN MEADOWS                                                                                     SOUTHFIELD      MI    48076‐4222
UA 12/16/03
KRISTA L NEVIL                                      470 WEST SAUGERTIES RD                                                                                      SAUGERTIES      NY    12477‐3638
KRISTA LEE COLLUM                                   6574 JULIA DR                                                                                               MILTON          FL    32570‐3454
KRISTA M JOHNSON                                    103 COTTAGE STREET                                                                                          MERRILL         WI    54452‐2233
KRISTA MARY LINTHICUM                               10 S JEFFERSON ST                                                                                           FREDERICK       MD    21701‐4802
KRISTA PARKER PAPPAS                                1297 SPRINGWOOD COURT                                                                                       HOWELL          MI    48843‐7032
KRISTA PIGARSCH                                     2005 S FINLEY RD                     APT 202                                                                LOMBARD         IL    60148‐4826
KRISTA R FELKLEY CUST ALLISON K FELKLEY UNDER THE   321 E PEACH ORCHARD                                                                                         DAYTON          OH    45419‐2645
OH TRAN MIN ACT
KRISTA R FELKLEY CUST AUDRA K FELKLEY UTMA OH       321 E PEACH ORCHARD                                                                                         DAYTON          OH    45419‐2645

KRISTAN J NICHOLS                                   4099 CANTERBERRY COMMONS                                                                                    BRIGHTON        MI    48114‐8176
KRISTAN VENEGAS                                     12029 HALLWOOD DR                                                                                           EL MONTE        CA    91732‐1517
KRISTAN WHEATON                                     1135 CHESTNUT HILL DR                                                                                       ERIE            PA    16509‐2115
KRISTEEN E FARBERG                                  6820 N FOX RD                                                                                               JANESVILLE      WI    53545‐8823
KRISTEEN I SHELLBERG                                15 SPRINO CREEK RD                                                                                          VICTORIA        TX    77904‐1658
KRISTEEN M HARRISON                                 184 OXFORD ROAD                                                                                             GRIFFIN         GA    30223‐6659
KRISTEEN M ORTMANN                                  434 BARNES PL                                                                                               LOVELAND        CO    80537‐4653
KRISTEL ANNE SELLMAN CARTER                         6403 TIFFANY OAKS LANE                                                                                      ARLINGTON       TX    76016‐2058
KRISTEN A DOLL & LINDA A DOLL JT TEN                19573 MILL POND                                                                                             MACOMB TWP      MI    48044‐3599
KRISTEN A NEWTON                                    8240 INTANKO LANE                                                                                           WHEATLAND       CA    95692‐9206
KRISTEN ABELE COGGIN                                15732 INTERLAKE AVE N                                                                                       SHORELINE       WA    98133‐5737
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 630 of 855
Name                                             Address1                                Address2                Address3       Address4          City            State Zip

KRISTEN ANN KINGFIELD KEARNS                     779 KELMORE ST                                                                                   MOSS BEACH      CA    94038‐9710
KRISTEN B MAYER                                  PO BOX 668                                                                                       NORTHPORT       MI    49670‐0668
KRISTEN BABCOCK                                  8 ROSETOWN RD                                                                                    TOMKINS COVE    NY    10986‐1214
KRISTEN C GARRITY & JOHN R GARRITY JT TEN        P O BOX 277                                                                                      CAPSHAW         AL    35742
KRISTEN CIESEMIER                                19825 HWY 157                                                                                    KIRKSVILLE      MO    63501
KRISTEN DEWEY PALMER                             4971 RED ROCK LN                                                                                 FLOWER MOUND    TX    75022‐6420
KRISTEN E CLARKE                                 31 TULIP DRIVE                                                                                   BREWSTER        NY    10509‐2822
KRISTEN E MAAG                                   5553 SENOUR DR                                                                                   WEST CHESTER    OH    45069‐1134
KRISTEN E SARGIS                                 21 FARMHILL DR                                                                                   PLAINVILLE      CT    06062‐1014
KRISTEN ELIZABETH AHLSTROM                       820 E EDISON AVE                                                                                 BUCKEYE         AZ    85326‐2508
KRISTEN ELIZABETH COLE                           2516 WATERVIEW CT                                                                                SARASOTA        FL    34231‐5171
KRISTEN EVANS VOELKER                            2814 BOMBRIDGE COURT                                                                             ANN ARBOR       MI    48104‐6718
KRISTEN FASOLINO MASCH CUST LAURA MARIE MASCH 7616 ORRICK DR                                                                                      AUSTIN          TX    78749‐2600
UGMA TX
KRISTEN GORDON                                   1828 MICHELLE LANE                                                                               LAKELAND        FL    33813‐3238
KRISTEN H COOGAN & JAMES J COOGAN JR JT TEN      7 STONE TOWER LN                                                                                 BARRINGTON      RI    02806‐4913
KRISTEN I DILL                                   12708 ALPERN CT                                                                                  RALEIGH         NC    27614‐9008
KRISTEN J FRANZEN                                4194 WINDY HILL DRIVE                                                                            MONROVIA        MD    21770‐9027
KRISTEN J NIEMIERA                               8 HORSESHOE DR                                                                                   WEST TOWNSEND   MA    01474
KRISTEN JANE MILLER CUST LINDSEY RAE MILLER UGMA 690 ISLAND WAY APT 509                                                                           CLEARWATER      FL    33767‐1927
NEB
KRISTEN K COLLINS                                326 PLAZA DR                                                                                     PRESCOTT        AZ    86303‐5552
KRISTEN K URBAN                                  1286 BROOKLAWN RD NE                                                                             ATLANTA         GA    30319‐1608
KRISTEN KUNTTU                                   5793 TILTON RD                                                                                   EAST SYRACUSE   NY    13057‐3033
KRISTEN L MARTALOCK                              7016 E RYAN RD                                                                                   MILTON          WI    53563‐9705
KRISTEN L MEBIUS CUST LAUREN ELIZABETH MEBIUS    325 LAMPLIGHT LN                                                                                 LEWISBURG       PA    17837‐9009
UTMA PA
KRISTEN L MIKARTS                                1092 SENECA RD                                                                                   VENICE          FL    34293‐6605
KRISTEN L MONAT                                  2720 FURRS ST                           APT 14207                                                ARLINGTON       TX    76006‐3873
KRISTEN L POULOS CUST NICHOLAS D POULOS UGMA MI 31680 FIVE MILE RD                                                                                LIVONIA         MI    48154‐3124

KRISTEN L SNODDY                                 1002 DEER RUN DR                                                                                 KOKOMO          IN    46901‐9770
KRISTEN LABADIE                                  2386 HAMPTON LN                                                                                  TROY            MI    48084‐1315
KRISTEN LASICA                                   W226N8085 ROLLING HILLS DR                                                                       SUSSEX          WI    53089‐1729
KRISTEN LEE BARNOW                               2386 HAMPTON LANE                                                                                TROY            MI    48084‐1315
KRISTEN LEE FEENSTRA                             16803 SHREWSBURY CT                                                                              LIVONIA         MI    48154‐3155
KRISTEN LEE SCHULTZ                              PO BOX 137                                                                                       BODEGA          CA    94922‐0137
KRISTEN M GENOVESE CUST CHERYL M GENOVESE        841 THE CIRCLE                                                                                   LEWISTON        NY    14092‐2050
UGMA NY
KRISTEN M IRWIN                                  12708 ALPERN CT                                                                                  RALEIGH         NC    27614‐9008
KRISTEN M MULLER                                 306 KINGSWOOD RD                        TORONTO ON                             M4E 3N9 CANADA
KRISTEN M ORTLIEB                                4225 MILLER RD                          # 114                                                    FLINT           MI    48507‐1257
KRISTEN PASCUCCI CUST ALEXA PASCUCCI UTMA        10 GLENORE CIRCLE                                                                                NORTH ANDOVER   MA    01845
KRISTEN R BERTRAM                                491 OLD STATE RD                                                                                 BINGHAMTON      NY    13904‐2608
KRISTEN REESE                                    7662 ARBORY CT                                                                                   LAUREL          MD    20707
KRISTEN S MAHIN                                  1134 WEST HICKORY DRIVE                                                                          NEW CASTLE      IN    47362‐9766
KRISTEN S YANCEY                                 7611 RATHLIN CT                                                                                  CHARLOTTE       NC    28270‐0335
KRISTEN SANTORO                                  16 WALTER ST                                                                                     OLD TAPPAN      NJ    07675‐7116
KRISTENE ANDREW KASHLAK                          1600 SHONNORA DR                                                                                 GOTHA           FL    34734‐5216
KRISTERFOR MASTRONARDI                           22 REMSEN ST                            APT 1                                                    BROOKLYN        NY    11201‐4136
KRISTERFOR MASTRONARDI CUST THEODORE GRANT       UTMA NY                                 143 W 13TH ST APT 304                                    NEW YORK        NY    10011
MAHLE CHAN
KRISTI A BENGEL                                  5511 STOKESWOOD COURT                                                                            CINCINNATI      OH    45238
KRISTI ANN KIEFER                                753 LONG ST                                                                                      BRIDGEPORT      WV    26330‐1145
KRISTI BIONDO CUST GIOVANNI CHRISTIAN BIONDO     56126 WALKER CT                                                                                  MACOMB TWP      MI    48042‐1143
UGMA MI
KRISTI E SILVA                                   3438 ATWATER CT                                                                                  FREMONT         CA    94536‐3513
KRISTI HECKELMAN                                 4465 WILLOWGLEN                                                                                  ROCKLIN         CA    95677‐2355
KRISTI K FIELDER                                 4105 BEACH RD                                                                                    TROY            MI    48098‐4273
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 631 of 855
Name                                              Address1                             Address2             Address3          Address4          City                State Zip

KRISTI L AITKEN                                   PO BOX 2203                                                                                   FREEDOM             CA    95019‐2203
KRISTI L DARBY & NICOLE S DARBY JT TEN            PO BOX 26                                                                                     VALLECITO           CA    95251‐0026
KRISTI L KAISER & REGINALD M KAISER JT TEN        14604 S E 25TH STREET                                                                         VANCOUVER           WA    98683‐8442
KRISTI S HOOD                                     1406 STEEPLECHASE DRIVE                                                                       BLOOMINGTON         IL    61701‐8300
KRISTIAN B RING                                   2041 E 5TH ST                                                                                 CHARLOTTE           NC    28204‐3301
KRISTIAN L WALES                                  2509 S BALFOUR BLVD                                                                           SPOKANE VLY         WA    99206‐3369
KRISTIAN M SUGDEN                                 3304 RIDGE RD                                                                                 COLUMBIA            TN    38401‐1362
KRISTIAN R JOHNSON                                920 BRADLEY LN                                                                                BELVIDERE           IL    61008‐1525
KRISTIAN R KRENTZ                                 1008 SYCAMORE TREE DR                                                                         FOND DU LAC         WI    54935‐8016
KRISTIE ANN OYLER                                 PO BOX 963                                                                                    SUNDOWN             TX    79372‐0963
KRISTIE J PELCHAT                                 5551 N SQUEAK PLACE                                                                           MARANA              AZ    85653
KRISTIE KAY KENNEDY CUST JAMES GUY KENNEDY JR     410 CHURCH STREET                                                                             MT PLEASANT         SC    29464‐5304
UGMA SC
KRISTIE L FORZANO                                 5687 ANDOVER                                                                                  TROY                MI    48098‐2314
KRISTIE L KELLY                                   3249 AVALON                                                                                   ROCHESTER HILLS     MI    48309‐3958
KRISTIE PILLING GDN CHARLIE D PILLING             PO BOX 733                           WATROUS SK                             S0K 4T0 CANADA
KRISTIE PILLING GDN CHARLIE DALE PILLING          BOX 733                              WATROUS SK                             S0K 4T0 CANADA
KRISTIE PILLING GDN SAMUEL M PILLING              BOX 733                              WATROUS SK                             S0K 4T0 CANADA
KRISTIE PILLING GDN SARAH C PILLING               BOX 1240                             WATROUS SK                             S0K 4T0 CANADA
KRISTIE PILLING GDN SARAH CATHERINE PILLING       BOX 733                              WATROUS SK                             S0K 4T0 CANADA
KRISTIE S BOTELLO                                 513 FOOTE ST                                                                                  CHARLOTTE           MI    48813‐1272
KRISTIE T SCHAVEY                                 6801 TROPICAL SHORE WAY                                                                       TAMPA               FL    33615
KRISTIE WILLIAMS CUST MELANIE WILLIAMS UTMA MI    56410 DESERT CT                                                                               MACOMB              MI    48042‐1170

KRISTIINA MIILU                                   1813 MASS AVE                        PO BOX 261                                               MASS CITY           MI    49948
KRISTIN A OLSON                                   6760 13TH STREET                                                                              SACRAMENTO          CA    95831
KRISTIN A PELTON                                  21 NEWPORT AV                                                                                 BUFFALO             NY    14216‐1508
KRISTIN A SECKER                                  115 COURT YARD LN                                                                             STORRS              CT    06268‐2285
KRISTIN ANGELINA CAMP                             PO BOX 539                                                                                    PITTSFIELD          VT    05762‐0539
KRISTIN ANN VANVEEN                               19413 E 49TH ST                                                                               BROKEN ARROW        OK    74014‐1495
KRISTIN BERG                                      1105 BUENA VISTA DR                                                                           BLACK RIVER FALLS   WI    54615‐5989

KRISTIN C PRESTEGAARD                             8902 FAUNTLERCY WAY SW                                                                        SEATTLE             WA    98136‐2444
KRISTIN CARROLL SEGERSON                          895 HUNTER RIDGE                                                                              FAIRLAWN            OH    44333‐3275
KRISTIN CHALFANT                                  10921 SNOW CLOUD TRL                                                                          LITTLETON           CO    80125‐9210
KRISTIN CHARTIER                                  2048 POINT COMFORT RD                                                                         OSHKOSH             WI    54902‐7562
KRISTIN CLARENBACH                                ATTN KRISTIN MORAN                   172 PATERSON AVE                                         LODI                NJ    07644‐3121
KRISTIN COTTA PENDLETON                           1 BERRY PATCH LN                                                                              COLUMBIA            IL    62236‐4325
KRISTIN D MAUND                                   3501 NE 4 AVENUE                                                                              BOCA RATON          FL    33431‐5907
KRISTIN DAWN MACURDA                              4760 PARAN NW VL                                                                              ATLANTA             GA    30327‐3507
KRISTIN E KUBAS                                   4534 TALL MEADOW COVE                                                                         BARTLETT            TN    38135
KRISTIN FORTIER                                   505 VICTORIA COURT                                                                            THIBODAUX           LA    70301
KRISTIN GIVENS                                    2601 52ND AVE N                                                                               ST PETERSBURG       FL    33714‐2533
KRISTIN HANNIBAL                                  715 BEAVER ST                                                                                 SEWICKLEY           PA    15143‐1743
KRISTIN HERSHEY                                   820 HANOVER RD                                                                                GETTYSBURG          PA    17325
KRISTIN HOFMANN                                   8128 CHESTNUT HILL LANE                                                                       WEST CHESTER        OH    45069‐2558
KRISTIN HOPFENBECK                                818 S GRAND AVE                      APT 802                                                  LOS ANGELES         CA    90017‐4671
KRISTIN J SCHULTZ                                 5229 W MICHIGAN AVE                  LOT 314                                                  YPSILANTI           MI    48197‐9168
KRISTIN JOEHL CUST LOGAN LEE JOEHL UTMA MO        20 FOX VALLEY COURT                                                                           LAKE SAINT LOUIS    MO    63367‐6430
KRISTIN JOEHL CUST RYAN CHRISTOPHER JOEHL UTMA    20 FOX VALLEY COURT                                                                           LAKE SAINT LOUIS    MO    63367‐6430
MO
KRISTIN K JARVIS                                  28210 N DUNBAR RD                                                                             ATLANTA             IN    46031‐9418
KRISTIN L DOYLE & MICHAEL E DOYLE JT TEN          3 ELSIE CIR                                                                                   CORNWALL HDSN       NY    12520
KRISTIN L GAL CUST ALEXANDER SANDOR GAL UTMA IN   11850 STEPPING STONE DR                                                                       FISHERS             IN    46038‐3918

KRISTIN L KALNOW                                  2386 GRANDIN ROAD                                                                             CINCINNATI          OH    45208‐3310
KRISTIN L MCKEE                                   975 EASTWOOD PL                                                                               LOS ALTOS           CA    94024‐5022
KRISTIN L PAULSON                                 151 15TH AVE NW                                                                               NEW BRIGHTON        MN    55112‐7319
KRISTIN L TANK                                    8606 VIA GIARDINO                                                                             BOCA RATON          FL    33433‐2211
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 632 of 855
Name                                                 Address1                              Address2                  Address3     Address4          City                State Zip

KRISTIN LEIGH YIENGST                                2451 MERWOOD LANE                                                                              HAVERTOWN           PA    19083‐1505
KRISTIN LISA LEWIS                                   2981 FRIENDS RD                                                                                ANNAPOLIS           MD    21401‐7221
KRISTIN LOUISE KOCH                                  145 E MOORE                                                                                    BERLIN              WI    54923‐1611
KRISTIN LYNN RASOR                                   69075 BROOKHILL DR                                                                             ROMEO               MI    48065‐4207
KRISTIN M LEACH                                      12630 52ND ST S                                                                                WISC RAPIDS         WI    54494‐8580
KRISTIN M LEE TOD GRANT P J LEE SUBJECT TO STA TOD   28101 NORTH CLEMENTS CIRCLE                                                                    LIVONIA             MI    48150‐3280
RULES
KRISTIN M R LIEBERT                                  85 MEADOW ST                                                                                   E HAVEN             CT    06512‐3510
KRISTIN MICHELE JABER                                18427 FOCH                                                                                     LIVONIA             MI    48152‐3812
KRISTIN R WILCOX & SUZANNE L WILCOX JT TEN           2190 WALTON BLVD                                                                               ROCHESTER HLS       MI    48309
KRISTIN ROBERTS                                      PO BOX 5                                                                                       COSBY               TN    37722‐0005
KRISTIN T ALLEY                                      1710 HERMIT SMITH RD                                                                           APOPKA              FL    32712‐5833
KRISTIN T KORNOWSKI                                  3642 KAREN PKWY                       APT 101                                                  WATERFORD           MI    48328‐4645
KRISTIN WILLIAMS CUST LOGAN KENNETH WILLIAMS         103 SPRING ST                                                                                  STEVENSON           AL    35772‐3553
UTMA AL
KRISTIN WINTER OLSSON                                11127 MIDWAY RD                                                                                DALLAS              TX    75229‐4119
KRISTIN ZWOLAK & KAREN O'LEARY ZWOLAK JT TEN         311 RIVERHILLS DR                                                                              TEMPLE TERRACE      FL    33617‐7241

KRISTINA ANN GRAHAM                                  584 N LINCOLN ST                                                                               ORANGE              CA    92867‐7045
KRISTINA ANN MUELLER & BRIAN MUELLER JT TEN          605 CAPRICE DR                                                                                 MIDDLEBURY          IN    46540‐9456

KRISTINA B GIBBS                                     PO BOX 92143                                                                                   SANTA BARBARA       CA    93190‐2143
KRISTINA CHARLES CUST                                CHASE CHARLES UTMA GA                 1028 SHADY VALLEY PLACE                                  ATLANTA             GA    30324
KRISTINA D POWERS                                    1918 LIBERTY LANE                                                                              JANESVILLE          WI    53545‐0918
KRISTINA DORSEY                                      4557 ST ANDREWS DR                                                                             CHINO HILLS         CA    91709‐7967
KRISTINA E CRAIG                                     4150 SWEET GUM TRL                                                                             KINGWOOD            TX    77339‐1002
KRISTINA ELLEN DABROWSKI                             552 LINCOLN ST                                                                                 GROSSE POINTE       MI    48230‐1218
                                                                                                                                                    CITY
KRISTINA HALE                                        14 BROKENBOW LANE                                                                              ROLLING HILLS EST   CA    90274‐2401

KRISTINA J FITTS HOPPE                               204 ROCKY RIDGE ROAD                                                                           ST JOHNSBURY        VT    05819‐8849
KRISTINA K MACEY                                     1344 WEST DRAHNER RD                                                                           OXFORD              MI    48371
KRISTINA K ROGGENKAMP                                BOX 52                                                                                         BOTKINS             OH    45306‐0052
KRISTINA KLEES LE BOEUF                              7280 S WINCHESTER                                                                              ST LOUIS            MO    63121‐2621
KRISTINA KRAJACIC                                    4255 MICHAEL SW AV                    APT D                                                    GRAND RAPIDS        MI    49509‐4330
KRISTINA L HEARNE                                    PO BOX 6264                                                                                    LANCASTER           CA    93539
KRISTINA L SLATER TR SLATER FAMILY TRUST UA          11377 LEGACY CANYON PL                                                                         SAN DIEGO           CA    92131‐3524
12/06/01
KRISTINA LEE GLEASON                                 2245 RIVER RD                                                                                  WILLOUGHBY HILLS OH       44094‐9685

KRISTINA M ETZWILER                                  1540 BRIDGEWATER WAY SOUTH                                                                     MANSFIELD           OH    44906‐3577
KRISTINA M GEORGE                                    47 MITCHELL CIR                                                                                WHEATON             IL    60187‐7928
KRISTINA M JOHNSON                                   1589 W TOWNSHIP LINE RD                                                                        BLUE BELL           PA    19422‐3572
KRISTINA M SHULKO                                    1540 BRIDEWATER WAY SOUTH                                                                      MANSFIELD           OH    44906‐3577
KRISTINA M SPEERS                                    67 DANELLA WAY                                                                                 HOWELL              NJ    07731‐8913
KRISTINA M THOMPSON                                  14205 LENOX ST                                                                                 NEW BERLIN          WI    53151‐3853
KRISTINA MARIE WILLETT                               162 KRUTZ RD                                                                                   AMSTERDAM           NY    12010‐7024
KRISTINA MINUTO CUST LAURA MEDWID UTMA NJ            295 EVERLY COURT                                                                               MT LAUREL           NJ    08054‐3714

KRISTINA N SVANA                                     51 TERESA DR                          WHITBY ON                              L1N 6H9 CANADA
KRISTINA S ALLEBE                                    169 WHISPERING PINES DRIVE            LEE FORD ESTATES                                         WINCHESTER          TN    37398‐4334
KRISTINA S CHAPIN                                    209 ROBY DRIVE                                                                                 ANDERSON            IN    46012‐3250
KRISTINA S EARDLEY                                   ATTN KRISTINA S HASENKAMP             2077 MOORESVILLE PK                                      CULLEOKA            TN    38451‐2162
KRISTINA S KOENIG                                    833 LONG COVE RD                                                                               GALES FERRY         CT    06335
KRISTINA SANDERS HAND                                576 GREEN OAKS LN                                                                              COLLIERVILLE        TN    38017‐7341
KRISTINA WART                                        222 EAST BRIDGE ST                                                                             OSWEGO              NY    13126‐2303
KRISTINE A ANTHONY                                   28200 DETROIT RD # A‐2                                                                         WESTLAKE            OH    44145
KRISTINE A COLES                                     1505 CORTEZ AVE                                                                                BURLINGAME          CA    94010‐4670
KRISTINE A EDWARDS                                   11230 GEDDES                                                                                   FREELAND            MI    48623‐8876
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                        Part 4 of 8 Pg 633 of 855
Name                                              Address1                               Address2                        Address3   Address4          City            State Zip

KRISTINE A GEORGE                                 47 MITCHELL CIR                                                                                     WHEATON         IL    60187
KRISTINE A HARRISON                               18015 WEST POND RIDGE CIRCLE                                                                        GURNEE          IL    60031
KRISTINE A JACKSON                                193 NEWTON RD                                                                                       SPRINGFIELD     MA    01118‐1836
KRISTINE A LANGAN                                 3324 ROYAL RD                                                                                       JANESVILLE      WI    53546‐2214
KRISTINE A SORENSEN                               15782 DURHAM WAY                                                                                    GRANGER         IN    46530‐6540
KRISTINE A WATSON                                 10320 13TH ST CT E                                                                                  EDGEWOOD        WA    98372‐1358
KRISTINE A WILKINSON U/GDNSHP OF KATHRYN A        ATTN KRISTINE A MILLER                 169 FORSYTHIA DR N                                           LEVITTOWN       PA    19056‐1935
WILKINSON
KRISTINE A WRUCK                                  PO BOX 4164                                                                                         MERIDEN         CT    06450‐0896
KRISTINE ANN STIDHAM                              2236 SOUTHBRIDGE LANE                                                                               NORTHBROOK      IL    60062‐6622
KRISTINE B SEMANIC CUST MICHAEL J SEMANIC UTMA IL 8 STONEGATE LANE                                                                                    STREAMWOOD      IL    60107‐1684

KRISTINE BLOOMER                               15 FERN CASTLE LN                                                                                      SUGAR LAND      TX    77479‐5550
KRISTINE BOWMAN SZESZULSKI                     1202 ADAMS COURT                                                                                       MIDLAND         MI    48640
KRISTINE COLLINS                               10788 SORNOWAY LANE                                                                                    DUBLIN          CA    94568‐5517
KRISTINE D HELM                                19 COYOTE LANE                                                                                         TROY            NY    12180‐7805
KRISTINE D MILLER                              3335 VIRGINIA DR                                                                                       COLUMBIAVILLE   MI    48421‐9305
KRISTINE D MUNDT                               21 DEEPWOOD DR                                                                                         ROCHESTER       NY    14606‐3660
KRISTINE DAHLEN‐GEMMILL                        606 ORCHARD                                                                                            E LANSING       MI    48823‐3550
KRISTINE DEES                                  14650 LAKE OLIVE DR                                                                                    FORT MYERS      FL    33919‐8325
KRISTINE DORSEY                                SPA RD                                                                                                 PHILLIPSTON     MA    01331
KRISTINE DUROS CUST ALEXANDER EARLE DUROS UGMA 2151 GLENDALEN RD                                                                                      MOSINEE         WI    54455‐8830
WI
KRISTINE E SOLOMON                             221 VINCENT RD                                                                                         PAOLI           PA    19301‐1126
KRISTINE G BAUMBACH                            PO BOX 1126                                                                                            BRECKENRIDGE    CO    80424‐1126
KRISTINE G BUNDON & BILLIE L BUNDON JT TEN     14400 ROBINWOOD                                                                                        PLYMOUTH        MI    48170‐2613
KRISTINE G PROVENZA & DANNY S PROVENZA JT TEN  802 OSBORN AVE                                                                                         LORAIN          OH    44052‐1222

KRISTINE GAYLE JORDAN                             26235 BELLANGER                                                                                     ROSEVILLE       MI    48066‐3182
KRISTINE GEMMILL                                  606 ORCHARD                                                                                         EAST LANSING    MI    48823‐3550
KRISTINE GILMARTIN WALLACE & STEPHEN WALLACE JT   4119 RICE BLVD                                                                                      HOUSTON         TX    77005‐2743
TEN
KRISTINE GREIFE                                   1417 YORKSHIRE AVE S                                                                                HOPKINS         MN    55305‐1654
KRISTINE J FORBING                                7154 COUNTY RD 11A                                                                                  AUBURN          IN    46706‐9561
KRISTINE K REMARK                                 2479 17TH ST                                                                                        CUY FALLS       OH    44223‐2053
KRISTINE KELLIHER CUST RYAN MCMULLEN UTMA CT      1015 NEWGATE RD                                                                                     WEST SUFFIELD   CT    06093

KRISTINE KOZLOWSKI                                791 HAMPTON RD                                                                                      GROSSE POINTE   MI    48236‐1339
                                                                                                                                                      WOODS
KRISTINE L BROWER                             5420 JORDAN ST                                                                                          ALLENDALE       MI    49401‐8302
KRISTINE L ECKERT                             63 CAPE COD WAY                                                                                         ROCHESTER       NY    14623‐5401
KRISTINE L JACKSON                            PO BOX 284                                                                                              SPRING HILL     TN    37174‐0284
KRISTINE L LEMIEUX                            C/O KRISTINE PARKINSON                     9101 N MCKINLEY RD                                           MONTROSE        MI    48457‐9185
KRISTINE L MILLER                             4339 RICHALVA COURT                                                                                     WATERFORD       MI    48329‐4035
KRISTINE L VAN DAM                            4821 MEADOWVIEW CT                                                                                      HUDSONVILLE     MI    49426‐1622
KRISTINE LYNN CARLSON                         350 BLEECKER ST APT 4V                                                                                  NEW YORK        NY    10014‐2636
KRISTINE M ADALINE                            942 N TAWAS LAKE RD                                                                                     EAST TAWAS      MI    48730‐9772
KRISTINE M BAUMBACH                           PO BOX 1126                                                                                             BRECKENRIDGE    CO    80424‐1126
KRISTINE M BAUMBACH & RUDOLPH BAUMBACH JT TEN PO BOX 1126                                                                                             BRECKENRIDGE    CO    80424‐1126

KRISTINE M CARLSON                                6 RIDGE ROAD                                                                                        CORTLANDT       NY    10567‐6708
                                                                                                                                                      MANOR
KRISTINE M COZZI                                  3409 WOODRIDGE DR                                                                                   WOODRIDGE       IL    60517
KRISTINE M ELLIOTT                                5492 KATHY DRIVE                                                                                    FLINT           MI    48506‐1550
KRISTINE M FENSTERMAKER                           ATTN KRISTINE CILONA                   2345 XAVIER DR SE                                            MASSILLON       OH    44646
KRISTINE M GEHRING                                7330 STATE ROAD                                                                                     CINCINNATI      OH    45230‐2155
KRISTINE M GORMSEN                                PO BOX 1126                            C/O KRISTINE GORMSEN‐BAUMBACH                                BRECKENRIDGE    CO    80424‐1126
KRISTINE M OLLOM                                  1602 SAN FRANCISCO ST                                                                               CARROLLTON      TX    75007‐5048
KRISTINE MARIE BOOTH                              7116 SAN BENITO                                                                                     SYLVANIA        OH    43560‐1128
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 634 of 855
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

KRISTINE MARTIN PAYNE & DANIEL JAMES PAYNE JT TEN 13333 WINCHESTER AVE                                                                           HUNTINGTON        MI    48070‐1728
                                                                                                                                                 WOODS
KRISTINE MOONEY                                  3833 HI VILLA DRIVE                                                                             LAKE ORION        MI    48360‐2454
KRISTINE NADOLNY                                 26 HARDWOOD RD                                                                                  PLAINVILLE        CT    06062‐1210
KRISTINE O'CONNOR                                5382 N GLEN OAK DR                                                                              SAGINAW           MI    48603‐1728
KRISTINE R CODY                                  2822 RIDGEWAY AVE                                                                               ROCHESTER         NY    14626
KRISTINE R FRYE                                  1514 BRAMOOR DR                                                                                 KOKOMO            IN    46902‐9500
KRISTINE R MICHALOWICZ & DOROTHY MICHALOWICZ     55119 HAGEN DR                                                                                  SHELBY TOWNSHIP   MI    48315‐1053
JT TEN
KRISTINE S JERRETT                               3333 STARLING DRIVE                                                                             AUGUSTA            GA   30907‐3502
KRISTINE S NEWLIN                                309 SPINDLE LANE                                                                                WEST CHESTER       PA   19380‐3871
KRISTINE SCHMITT CUST SARA SCHMITT UGMA MI       1789 EL DORADO DR                                                                               STEVENSVILLE       MI   49127‐9636
KRISTINE WATSON                                  1420 ARCHIE WARE RD                                                                             TRENTON            SC   29847‐3549
KRISTOFER M PARSONS                              1640 S LARCHMONT DR                                                                             SANDUSKY           OH   44870‐4367
KRISTOFER MCQUEEN                                1259 SUSAN WAY                                                                                  SUNNYVALE          CA   94087‐1557
KRISTOFFER ANDREW WILKE                          22057 SHOREPOINTE LN                                                                            SAINT CLAIR SHORES MI   48080‐3576

KRISTOFFER D PETERSON                            27 MAGNOLIA ST                                                                                  CASPER            WY    82604
KRISTOFFER GROSS                                 C/O SANDY VAN CISE                     8669 BENT ARROW CT                                       SPRINGFIELD       VA    22153‐3700
KRISTOFFER LINDQUIST                             122 SATURN CT                                                                                   PITTSBURG         CA    94565
KRISTOPHER ELLIOTT BENSON                        511 GARDEN DR                                                                                   WORTHINGTON       OH    43085‐3820
KRISTOPHER M LEPERE                              13150 S 202ND EAST AVE                                                                          BROKEN ARROW      OK    74014‐2943
KRISTOPHER P MARSH A MINOR                       11285 LAKELAND CIR                                                                              FORT MYERS        FL    33913
KRISTOPHER PULITO & MARILYN J CLARK JT TEN       BOX 168                                                                                         HOOSICK           NY    12089‐0168
KRISTOPHER S HEBERLING                           8923 EDGEWOOD PARK DR                                                                           COMMERCE TWP      MI    48382‐4445
KRISTOPHER T TOTTEN                              8210 BROWARD PLACE                                                                              TAMPA             FL    33637
KRISTOPHERJ DUELL                                126 PESH HOME TRL                                                                               BROCKPORT         NY    14420‐9464
KRISTY A NELSON                                  31‐17 42ND ST 2ND FLR                                                                           ASTORIA           NY    11103
KRISTY A SCHOU & ROBERT R SCHOU JT TEN           1454 W ELM AVE                                                                                  FULLERTON         CA    92833
KRISTY G GLASER                                  51270 SANDSHORES DRIVE                                                                          SHELBY TOWNSHIP   MI    48316‐3843

KRISTY JEAN ZIMMERMANN                           4315 DUNCOMBE DRIVE                                                                             VALRICO           FL    33596
KRISTY K HINDERS                                 1216 WIGWAM DR                                                                                  KOKOMO            IN    46902‐5480
KRISTY LASKOWSKI                                 202 WOODSIDE LANE                                                                               BAY CITY          MI    48708‐5547
KRISTY LYNN KOLP                                 C/O KRISTY TAYLOR                      885 WATERSIDE LN                                         BRADENTON         FL    34209‐7737
KRISTY MARIE KREPOP                              10120 37TH CT E                                                                                 PARRISH           FL    34219‐2024
KRISTY MUNSON CREST                              1661 FRANCIS AVE                                                                                UPLAND            CA    91784‐2077
KRISZTINA ROCCO CUST TYLER WALLACE UTMA FL       6401 PONDAPPLE RD                                                                               BOCA RATON        FL    33433
KRSHNA AIREY                                     20 ALADDIN                                                                                      LUMBERTON         TX    77657‐6913
KRSTE E STEFANOFSKI                              48191 PRESTWYCK DR                                                                              MACOMB            MI    48044‐6510
KRUG NIELSON                                     955 S BRANDT RD                                                                                 ORTONVILLE        MI    48462‐8421
KRUME P PAVLOVSKI                                41427 LARIMORE LANE                                                                             CANTON            MI    48187‐3919
KRUNE TRAJKOVSKI                                 5280 CRYSTAL CREEK LN                                                                           WASHINGTON        MI    48094‐2671
KRYSTAL D NOLEN                                  5615 DAVIDA RD                                                                                  KNOXVILLE         TN    37912‐3821
KRYSTAL DEAL                                     43043 S FORD DRIVE                                                                              THREE RIVERS      CA    93271
KRYSTAL DINU CUST SYBLEE DINU UGMA MI            24275 LYNWOOD DR                                                                                NOVI              MI    48374‐2837
KRYSTAL M LAWRENCE                               23750 EDINBURGH                                                                                 SOUTHFIELD        MI    48034‐4890
KRYSTAL WEESS                                    380 W SCHLEIER                                                                                  FRANKENMUTH       MI    48734‐1042
KRYSTAL Y LIMBRICK                               30217 SPRING RIVER DRIVE                                                                        SOUTHFIELD        MI    48076‐1046
KRYSTAN QUINN                                    3 PERSHING CIRCLE                                                                               OFALLON           MO    63366‐3819
KRYSTINA KARWOWSKI                               SAWMILL RD                                                                                      PLYMOUTH          CT    06782
KRYSTYLLE L HODGE                                613 W SIERRA MADRE AVE                                                                          GILBERT           AZ    85223
KRYSTYN BUCKO                                    28 FENWICK RD                                                                                   HASTINGS ON       NY    10706‐3509
                                                                                                                                                 HUDSON
KRYSTYNA A LEE & LEONARD H LEE JT TEN            27349 GILBERT                                                                                   WARREN            MI    48093‐4492
KRYSTYNA BORYCZEWSKI                             460 PARK RD                                                                                     PARSIPPANY        NJ    07054‐1753
KRYSTYNA DZIEKONSKI                              9 AZALEA WAY                                                                                    TRENTON           NJ    08690‐1304
KRYSTYNA GELLERT                                 7511 ELEANOR PL                                                                                 WILLOWBROOK       IL    60527‐2320
KRYSTYNA WOLFF                                   12875 PASTURES WAY                                                                              FORT MYERS        FL    33913
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 635 of 855
Name                                                 Address1                              Address2                 Address3      Address4          City              State Zip

KRYSTYNA Z POUCH                                     44688 CRESTMONT DRIVE                                                                          CANTON            MI    48187‐1818
KRYSTYNE NEWCOMBE                                    143 W CLYDESDALE                                                                               MT MORRIS         MI    48458‐8886
KRZYSZTOF HEJNA                                      13204 WOOD DUCK DR                                                                             PLAINFIELD        IL    60544‐7994
KRZYSZTOF RZESZUTEK                                  35 MCGUINNESS BLVD                                                                             BROOKLYN          NY    11222
KRZYSZTOF SZTELIGA                                   769 GUILDWOOD BLVD                    LONDON ON                              N6H 5G2 CANADA
KSENIJA OBERLANDER                                   5225 CALLE CRISTOBAL                                                                           SANTA BARBARA     CA    93111‐2501
KUAI‐LIN SUN                                         47758 PAVILLON RD                                                                              CANTON            MI    48188‐6288
KUAN‐RU CHEN SOO & PAMELA C P S MOLL JT TEN          1040 HICKORY HILL DR                                                                           ROCHESTER         MI    48309‐1702
KUDITIPUDI VENKATRAM RAO                             1410 REDWOOD DRIVE                                                                             LOS ALTOS         CA    94024‐7251
KUDIYIRIPPIL CLEATUS & KUMARY CLEATUS JT TEN         489 GREEN MEADOW                                                                               TALLMADGE         OH    44278‐2446

KUDIYIRIPPIL V CLEATUS                               489 GREEN MEADOW                                                                               TALLMADGE         OH    44278‐2446
KUEI Y CHEN                                          15951 MEADOWS DR                                                                               MACOMB            MI    48044‐3954
KUEI‐LIN CHEN & SHI C CHEN JT TEN                    15163 STILLFIELD PL                                                                            CENTREVILLE       VA    20120‐3914
KUEN C LEUNG                                         3669 HOLLENSHADE DR                                                                            ROCHESTER HILLS   MI    48306‐3725
KUEN DON NG                                          3197 GLENGROVE DR                                                                              ROCHESTER HILLS   MI    48309‐2736
KUEN K YEE TR LIVING TRUST 05/08/85 U‐A KUEN K YEE   261 BARCLAY AVE                                                                                MILLBRAE          CA    94030‐2459

KUEN KUEN YEE TR REVOCABLE LIVING TRUST 05/08/85 261 BARCLAY AVE                                                                                    MILLBRAE          CA    94030‐2459
U‐A KUEN KUEN YEE
KUEN KUEN YEE TR REVOCABLE LIVING TRUST U‐A KUEN 261 BARCLAY AVE                                                                                    MILLBRAE          CA    94030‐2459
KUEN YEE
KUK J CHUNG                                      1683 ALLENDALE DRIVE                                                                               SAGINAW           MI    48603‐4457
KUK YING YEUNG FONG                              1256 FRANCISCO ST                                                                                  SAN FRANCISCO     CA    94123‐2304
KULMAN B SMITH                                   1305 ROYAL LINKS DR                                                                                MOUNT PLEASANT    SC    29466‐6960

KUM S GUY                                            4100 DABISH DR                                                                                 LAKE ORION        MI    48362‐1072
KUMAR H MULCHANDANI                                  3515 CREEKSTONE DR                                                                             PEARLAND          TX    77584‐8727
KUMAR K BHATT                                        2831 WINTER                                                                                    TROY              MI    48083‐5797
KUMAR SRINIVASAN & VASANTHA KUMAR JT TEN             14012 TRAVILAH RD                                                                              ROCKVILLE         MD    20850‐3524
KUMOLI RAMAKRISHNAN & MALATHY RAMAKRISHNAN           32207 PONDEROSA DR                                                                             BURBANK           SD    57010‐7005
JT TEN
KUMOLI RAMAKRISHNAN CUST VARSHA C                    32207 PONDEROSA DR                                                                             BURBANK           SD    57010‐7005
RAMAKRISHNAN UTMA SD
KUN HONG FU                                          210 UNIVERSITY LN                                                                              ELK GROVE VLG     IL    60007
KUN HONG FU & LILY FU JT TEN                         210 UNIVERSITY LN                                                                              ELK GROVE VLG     IL    60007
KUNIKO KAWASAKI                                      3625 DOGWOOD DR                                                                                ANDERSON          IN    46011‐3013
KUNIKO KAWASAKI & KEN KAWASAKI JT TEN                3625 DOGWOOD DR                                                                                ANDERSON          IN    46011‐3013
KUNIKO NERN                                          3032 STARR                                                                                     ROYAL OAK         MI    48073‐2228
KUNIO ALEXANDER IWATA                                3767 RUETTE DE VILLE                                                                           SAN DIEGO         CA    92130‐3508
KUO HSIEN CHUANG & MING HUNG CHUANG JT TEN           6770 ANDOVER LANE                                                                              LOS ANGELES       CA    90045‐1095

KUO MING CHEN & ALICE A CHEN JT TEN            1375 CHAPMAN DR                                                                                      DARIEN            IL    60561‐5388
KUO YORK CHYNN & MRS MARIE NOELLE CHYNN JT TEN 9 WOODHILL ROAD                                                                                      TENAFLY           NJ    07670‐2219

KUO YORK CHYNN & MRS NOELLE CHYNN JT TEN             9 WOODHILL ROAD                                                                                TENAFLY         NJ      07670‐2219
KURITA LEWIS                                         113 GRAY ST                                                                                    GULFPORT        MS      39503
KURT A BROWN                                         PO BOX 115                                                                                     SHAWNEE MISSION KS      66201‐0115

KURT A DUPREY                                        67 STAGE RD                                                                                    NOTTINGHAM       NH     03290‐5211
KURT A HERINGHAUSEN                                  1404 SYLVAN LN                                                                                 MIDLAND          MI     48640‐7209
KURT A KRALOVICH & GEORGE A KRALOVICH JT TEN         37940 TURNBERRY CT                                                                             FARMINGTON HILLS MI     48331‐2801

KURT A KRISTENSEN                                    SOEHOLTPARKEN 77                      DK2660 BROENDBY STRAND                 DENMARK
KURT A KRISTENSEN                                    SOEHOLTPARKEN 77                      DK2660 BROENDBY STRAND   DK2660        DENMARK
KURT A LABELLE                                       4196 CROSBY RD                                                                                 FLINT             MI    48506‐1437
KURT A LANG                                          4807 JOYCE PL                                                                                  LIVERPOOL         NY    13090
KURT A SCHARDT                                       12540 BUECHE RD                                                                                BURT              MI    48417‐9620
KURT A SHELLEY                                       6032 W MOUNT MORRIS RD                                                                         MOUNT MORRIS      MI    48458‐9331
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                    Part 4 of 8 Pg 636 of 855
Name                                            Address1                             Address2                  Address3            Address4          City              State Zip

KURT A WELLENKOTTER                         184 SHAGBARK                                                                                             ROCHESTER         MI    48309‐1815
KURT ADAM JANSSEN                           1210 CAMEO COURT                                                                                         HERNDON           VA    20170‐2437
KURT B ACKERMAN                             848 N MARION AVE                                                                                         JANESVILLE        WI    53548‐2333
KURT B ALLEN & REBEKKA F ALLEN JT TEN       14241 URANIUM STREET NW                                                                                  RAMSEY            MN    55303‐4671
KURT B BIEGALLE                             13510 MAIN ST                                                                                            BATH              MI    48808‐9464
KURT B COBB & VIOLA M COBB JT TEN           9445 WILLARD RD                                                                                          MILLINGTON        MI    48746‐9326
KURT B MOTT                                 16850 ROOSEVELT HIGHWAY                                                                                  KENDALL           NY    14476‐9748
KURT BAILLIE FALKENBERG                     2211 SE 8TH DRIVE                                                                                        RENTON            WA    98055‐3945
KURT BIEDERWOLF                             8 DOLLYS WAY                                                                                             NORTH EASTON      MA    02356‐1134
KURT C KOELLA                               13279 INDIGO DRIVE                                                                                       GRAND HAVEN       MI    49417‐9787
KURT C MILLER                               PO BOX 456                                                                                               DAVISON           MI    48423‐0456
KURT C STEPPING                             14127 N IVY LAKE RD                                                                                      CHILLICOTHE       IL    61523‐9130
KURT D BLAKE                                283 TUMBLEWEED DR                                                                                        PITTSFORD         NY    14534‐2559
KURT D BROWN                                898 PROVIDENCE RD                                                                                        CUMB GAP          TN    37724‐5327
KURT D CORELL                               77 POLK ST                                                                                               FREEPORT          NY    11520‐6223
KURT D EDELMAN                              16 RIDGE RD                                                                                              SUCCASUNNA        NJ    07876‐1818
KURT D KABEL                                26 PHEASANT RUN                                                                                          MERRIMACK         NH    03054‐2615
KURT DIEFENBACH & BRENT DIEFENBACH JT TEN   42 CLARENDON RD                                                                                          SAVANNAH          GA    31410‐4105
KURT DOMMERMUTH & MRS PATRICIA DOMMERMUTH 58 WALDOBORO RD                                                                                            WASHINGTON        ME    04574‐3600
JT TEN
KURT E REEVES                               4138 OAK TREE CIRCLE                                                                                     ROCHESTER         MI    48306‐4661
KURT E SCHRAMM                              251 BRYAN ST                                                                                             ROCHESTER         NY    14613‐1608
KURT E SCHRAMM & WENDY SUE C SCHRAMM JT TEN 251 BRYAN ST                                                                                             ROCHESTER         NY    14613‐1608

KURT E WRIGHT                                   102 EASTWOOD AVE                                                                                     ITHACA            NY    14850‐6237
KURT EDWARD DOMINIQUE & TAMMY MARIE             829 WILLOW BROOK RD                                                                                  CLINTON CORNERS   NY    12514‐2719
DOMINIQUE JT TEN
KURT ENZ                                        239 NORTH CASTELLO                                                                                   FLORISSANT        MO    63031‐4811
KURT F BERENZ                                   ADAM OPEL ITDC KURT BERENZ           IPC 42‐60 BAHNHOFPLTZ 1   RUESSELSHEIM GERM   GERMANY
KURT F FISCHER                                  200 FREDERICK LN                                                                                     LEONARD           MI    48367‐1751
KURT F KOHLMAYER                                5520 WANDERING WAY                                                                                   MASON             OH    45040‐2988
KURT F KOHLMAYER & IRENE G KOHLMAYER JT TEN     5520 WANDERING WEAY                                                                                  MASON             OH    45040‐2988

KURT F WEBER                                    7563 CHERRY HILL DRIVE                                                                               INDIANAPOLIS      IN    46254‐9548
KURT F WEHKING & HELGA L WEHKING JT TEN         9259 CALLERO DR                                                                                      NILES             IL    60714‐1346
KURT F WOZNIAK                                  9377 JUNIPER PL                                                                                      CLARENCE CTR      NY    14032‐9135
KURT FLOYD VANSTEENBURG                         7470 NEW HAMPSHIRE DRIVE                                                                             DAVISON           MI    48423‐9512
KURT FRANZ BERENZ                               ADAM OPEL AG                         IPC A5‐02 D‐65423         RUSSELSHEIM         GERMANY
KURT G BETAT                                    8012 LAKE DRIVE                                                                                      PALMETTO        FL      34221‐8825
KURT G DEPPISCH                                 2018 STANHOPE                                                                                        GROSSE PTEWOODS MI      48236‐1906

KURT G ROBERTS                                  112 W WASHINGTON BLVD                APT 228                                                         FORT WAYNE        IN    46802‐3032
KURT G ZIMMERMAN                                7620 MINERAL SPRING CT                                                                               SPRINGFIELD       VA    22153‐2307
KURT GRUNAU                                     1101 N ORANGE ST                                                                                     FREDERICKSBG      TX    78624‐3466
KURT H AFFHOLTER                                7474 COCHISEST                                                                                       WESTLAND          MI    48185
KURT H BETTIN                                   52 E CENTER                                                                                          ESSEXVILLE        MI    48732‐9775
KURT H BRAUNE                                   3506 IPSWICH LN                                                                                      SAINT CHARLES     MO    63301‐1058
KURT H DOLESHAL                                 112 MARLTON RD                                                                                       PILESGROVE        NJ    08098‐2720
KURT H KUHNE II & RAMONA S KUHNE JT TEN         1502 12TH FAIRWAY DRIVE                                                                              CONCORD           NC    28027‐9705
KURT H LARSEN                                   421 LEYDECKER RD                                                                                     WEST SENECA       NY    14224
KURT H RINKER                                   5400 VORHIES RD                                                                                      ANN ARBOR         MI    48105‐9521
KURT H SCHAEFER                                 12324 E MT MORRIS RD                                                                                 COLUMBIAVILLE     MI    48421‐8808
KURT H WEILAND                                  471 SO DREXEL AVE                                                                                    COLUMBUS          OH    43209‐2142
KURT HAIGHT                                     2844 CAMBRIDGE AVE                                                                                   HEMET             CA    92545‐5314
KURT HESSINGER                                  5803 CHESTNUT HILL ROAD                                                                              COLLEGE PARK      MD    20740
KURT J BERGSTROM                                60 ALGONQUIN ST                                                                                      BUZZARDS BAY      MA    02532‐4400
KURT J JOHNSTON                                 6452 STEWART LN                                                                                      ANN ARBOR         MI    48105
KURT J LAUX                                     4425 MCKENDRY RD                                                                                     IONIA             MI    48846‐9548
KURT J MC NEIL                                  295 HENLEY ST                                                                                        BIRMINGHAM        MI    48009‐5608
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 637 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

KURT J SCHACHERER                                271 SUMMERTREE DR                                                                              LIVERMORE       CA       94550‐3975
KURT JAMBRETZ                                    1609 GEORGIA AVE                                                                               WEST PALM BEACH FL       33401

KURT K KAUFMAN                                   1069 KINGS CT                                                                                  CANTON             MI    48188‐1126
KURT K RAUPP                                     31221 SEVEN MILE                                                                               LIVONIA            MI    48152‐3368
KURT KAMINSKY                                    23 HIGH ST                                                                                     PHOENIXVILLE       PA    19460‐3215
KURT KELLER SR & THERESA J KELLER JT TEN         211 OLD TOWN FARM RD                                                                           WEST RUTLAND       VT    05777‐9438
KURT KOEHLER                                     6424 TOWNSEND RD                                                                               APPLEGATE          MI    48401‐9707
KURT L KAHL & LINDA KAHL JT TEN                  155 HAWTHORN DR                                                                                PENDLETON          IN    46064‐8944
KURT L LION                                      27 SEVERN WAY                                                                                  MONROE             NJ    08831‐2672
                                                                                                                                                TOWNSHIP
KURT L ROGERS                                    819 S LIBERTY DR                                                                               LIBERTY LAKE       WA    99019
KURT L SCRIVNER                                  12066 N 3RD ST                                                                                 PARKER             CO    80134‐9650
KURT L STRUCKMEYER                               1200 CLAYTON CT                                                                                GENEVA             IL    60134‐3986
KURT LICHTENFELD & FLORENCE M LICHTENFELD JT TEN 801 TIMBER LN                                                                                  DRESHER            PA    19025

KURT M ELLIOTT                                   6485 E FRANCES RD                                                                              MT MORRIS          MI    48458‐9701
KURT M LAMMERS & MARILYN K LAMMERS JT TEN        169 S OHIO ST                                                                                  MINSTER            OH    45865‐1247
KURT M NEWMAN                                    765 N BROADWAY                        APT 14B                                                  HASTINGS HDSN      NY    10706‐1055
KURT M WIESE & BARBARA S WIESE JT TEN            4645 GOODISON PLACE DR                                                                         ROCHESTER          MI    48306‐1648
KURT M WIESE CUST BRITTANY P WIESE UGMA MI       4645 GOODISON PLACE DR                                                                         ROCHESTER          MI    48306‐1648
KURT M WIESE CUST BRYAN D WIESE UGMA MI          4645 GOODISON PLACE DR                                                                         ROCHESTER          MI    48306‐1648
KURT M WIESE CUST CHELSEA S WIESE UGMA MI        4645 GOODISON PLACE DR                                                                         ROCHESTER          MI    48306‐1648
KURT MUELLER                                     PO BOX 190                                                                                     HARRISBURG         OH    43126‐0190
KURT N FIELBRANDT                                9736 FAIRGROVE RD                                                                              REESE              MI    48757‐9513
KURT N WYETH                                     1419 BAGLEY                                                                                    DETROIT            MI    48216‐1985
KURT O HERTWIG                                   165 THICKET TR                                                                                 MCDONOUGH          GA    30252‐2574
KURT P BEWERSDORF                                403 LILLY VIEW CT                                                                              HOWELL             MI    48843‐6515
KURT P WINSELMANN                                4236 N OCEAN DR                                                                                HOLLYWOOD          FL    33019‐4000
KURT PARLIMENT                                   44 HENSHAW ST                                                                                  LEICESTER          MA    01524‐1232
KURT PETERSEN & ANGELA O PETERSEN JT TEN         28 GRASSY KNOLL LANE                  RANCHO SANTA                                             MARGARITA          CA    92688‐5568
KURT R BENGEL                                    5400 S TALLMAN RD                                                                              FOWLER             MI    48835‐9207
KURT R DRANKHAN                                  5096 RIDGE TRL S                                                                               CLARKSTON          MI    48348‐2180
KURT R MARKWARDT                                 11967 MAXFIELD BLVD                                                                            HARTLAND           MI    48353‐3533
KURT R NELSON                                    1252 WEST REID ROAD                                                                            FLINT              MI    48507‐4669
KURT R PALO                                      14388 OAK LEAF TRAIL                                                                           LINDEN             MI    48451‐8635
KURT R PERRY & DOROTHY D PERRY JT TEN            8285 W SWAFFER RD                                                                              VASSAR             MI    48768‐9652
KURT R SCHLOSS                                   10704 BUTTON WILLOW DR                                                                         LAS VEGAS          NV    89134‐7356
KURT R WASHBURN                                  217 LIRIOPE CT                                                                                 MATTHEWS           NC    28105‐0206
KURT R WEYANT                                    1611 SPRUCE CT                                                                                 TEMPERANCE         MI    48182‐2226
KURT R WOUK                                      PO BOX 10882                                                                                   SPRINGFIELD        MO    65808‐0882
KURT REA                                         2017 SEQUOIA ST                                                                                SAN MARCOS         CA    92069‐5453
KURT RUSSELL GROSSMAN                            3260 ANDOVER DR                       #B                                                       KALAMAZOO          MI    49009‐7423
KURT S KRAMER                                    56751 BATES                                                                                    CHESTERFIELD TWP   MI    48051‐1141

KURT S TYRRELL & LISA LARSON JT TEN           14025 BUNRATTY DRIVE                                                                              ORLAND PARK        IL    60467
KURT S WIESNER                                4516 MIDAUGH                                                                                      DOWNERS GROVE      IL    60515‐2762
KURT S WILDERMUTH                             349 EAST 49TH ST                         APT 5C                                                   NEW YORK           NY    10017
KURT SAMUEL GOESCH                            1348 MARIGOLD ST NE                                                                               KEIZER             OR    97303‐3553
KURT SANDERS CUST KELLY SANDERS UTMA AZ       301 SOUTH QUAIL LN                                                                                GILBERT            AZ    85233‐6338
KURT SANDERS CUST SARA SAUNDERS UTMA AZ       301 SOUTH QUAIL LN                                                                                GILBERT            AZ    85233‐6338
KURT SKORCZEWSKI                              C/O GLORIA CRUMB                         164 COMBS HILL RD                                        PINE CITY          NY    14871
KURT STIGLBAUER                               3 LORD NELSON CT                                                                                  COLUMBIA           SC    29209
KURT T BALDERSON                              10002 PEAKE RD                                                                                    PORTLAND           MI    48875‐9427
KURT T EROH                                   2036 ELK AVE                                                                                      POTTSVILLE         PA    17901
KURT T ROSSMAN                                359 FORT WASHINGTON AVENUE APT# 2H                                                                NEW YORK           NY    10033
KURT THEEKE                                   1236 9TH ST                                                                                       GREEN BAY          WI    54304‐3257
KURT THOMAS FIX CUST MATTHEW GREGORY FIX UGMA 8641 ROCKLAND                                                                                     DEARBORN HTS       MI    48127‐1146
MI
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 638 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

KURT TRIMAS                                     33795 VISTA DR                                                                                  FARMINGTN HLS     MI    48331‐2272
KURT TURCHAN                                    77 HOBIN ST                            STITTSVILLE ON                         K2S 1G8 CANADA
KURT V SUNDERMAN & ZACHARY V SUNDERMAN &        3080 FAIRVIEW SE                                                                                WARREN            OH    44484‐3215
DEBORAH S SUNDERMAN JT TEN
KURT W BALLIEN                                  7655 S HEMLOCK RD                                                                               SAINT CHARLES     MI    48655
KURT W BELER                                    7300 S RACCOON RD                                                                               CANFIELD          OH    44406‐8102
KURT W FRANZ                                    2030 N ADAMS ST #206                                                                            ARLINGTON         VA    22201‐3737
KURT W FRANZINGER                               7 HIGHLAND SHORE DRIVE                                                                          DANVILLE          IL    61832‐1347
KURT W GHERING                                  2387 BRIDLE TRL                                                                                 MILFORD           MI    48381‐3170
KURT W SUHRER                                   13746 WINNER CIR                                                                                TYLER             TX    75703‐7264
KURT W WUNDER                                   805 WHARTON ST                                                                                  PHILA             PA    19147‐5014
KURT WEIDEKAMP                                  362 ARBORGLEN DR                                                                                BROWNSBURG        IN    46112
KURT WEIDEMAN CUST CHRISTOPHER GOLDEN           3337 W 166TH ST                                                                                 TORRANCE          CA    90504‐1730
WEIDEMAN UTMA CA
KURT WERNER & LYDIA S WERNER JT TEN             1472 CARIBBEAN DR                                                                               MELBOURNE         FL    32935‐5302
KURT WILLIAM MERIVIRTA                          5368 W COOK RD                                                                                  SWARTZ CREEK      MI    48473‐9106
KURT WILLIAM WOLFGANG                           PO BOX 2629                                                                                     LAPLATA           MD    20646‐2629
KURTIS A DELINE                                 1422 W COOK RD                                                                                  GRAND BLANC       MI    48439‐9364
KURTIS A HART                                   2860 COVE CROSSING DR                                                                           LAWRENCEVILLE     GA    30045‐8619
KURTIS D ZAFIROFF                               5254 N BELSAY RD                                                                                FLINT             MI    48506‐1675
KURTIS J LONDON                                 70 ABBOTT AVE                                                                                   ELMSFORD          NY    10523‐2104
KURTIS JOE KOSSEN                               420 EAST OHIO                          APT 21D                                                  CHICAGO           IL    60611‐4657
KURTIS K SAUERMILCH                             7675 BIG HAND RD                                                                                COLUMBUS          MI    48063‐3301
KUSH K SHAH                                     3748 BRIARBROOKE LANE                                                                           ROCHESTER         MI    48306‐4746
KVETA SIKORSKI                                  24618 PATRICIA                                                                                  WARREN            MI    48091‐1742
KW BUMGARNER TR LIVING TRUST 10/07/88 U‐A KW    7320 E ROSE LN                                                                                  SCOTTSDALE        AZ    85250‐5511
BUMGARNER
KWAK DAIK CHIN & MEI SHEUNG CHIN JT TEN         143‐38 SANFORD AVE 2ND FLOOR                                                                    FLUSHING          NY    11355‐2044
KWAN S KIM                                      3322 THACHER ROAD                                                                               OJAI              CA    93023‐8300
KWANE SINTIM‐DAMOA                              30 EMPRESS CT                                                                                   FREEHOLD          NJ    07728‐4304
KWANG J KIM                                     18416 N CAVE CREEK RD                  APT 3041                                                 PHOENIX           AZ    85032‐8033
KWASI K BAYETE                                  278 BURGESS AVE                                                                                 DAYTON            OH    45415‐2630
KWI C CLINE                                     1018 LAKE ROAD                                                                                  BOWLING GREEN     KY    42101‐9339
KWOK CHONG LEE                                  42 DRUMCASTLE CT                                                                                GERMANTOWN        MD    20876‐5632
KWOK Y WONG & LAIMAN WONG JT TEN                7 HIDDEN MEADOW                                                                                 PENFIELD          NY    14526
KWONG CHUI FONG CUST EMILY LEE WONG UGMA NY     51‐61 CODWISE PL                                                                                ELMHURST          NY    11373‐4173

KWONG CHUI FONG CUST RAYMOND LEE WONG UGMA 51‐61 CODWISE PL                                                                                     ELMHURST          NY    11373‐4173
NY
KWONG NAM HANG                               725 LIME ST                                                                                        FREMONT           OH    43420‐1522
KWONG SANG AU & FIONA L C AU JT TEN          17 PRISCILLA LANE                                                                                  QUINCY            MA    02169‐1721
KYA E COOPER                                 18661 BINDER                                                                                       DETROIT           MI    48234‐1946
KYE CHIL KIM                                 89 ST ARNAUD STREET                       PORT COLBORNE ON                       L3K 1L9 CANADA
KYE H HA                                     1435 TACOMA DR                                                                                     ROCHESTER HILLS   MI    48306‐3760
KYLA M MARTIN                                1615 ROSE VALLEY RD                                                                                KELSO             WA    98626
KYLE A ADERMAN                               16935 MOLINA PL                                                                                    PARKER            CO    80134‐9127
KYLE A BISHOP & DONALD O BISHOP JT TEN       68 GLENVIEW ST                                                                                     UPTON             MA    01568‐1318
KYLE A PENN                                  12 CARLTON DR                                                                                      ORCHARD PARK      NY    14127‐4524
KYLE ADAM JECKLIN                            1404 WEST 43RD STREET                                                                              DAVENPORT         IA    52806‐4520
KYLE ALAN KROMER & KRISTEN LEE KROMER JT TEN 107 WOODLAND DR                                                                                    AUBREY            TX    76227‐6265

KYLE AMICK                                      22 WALKER TERR                                                                                  ATLANTA           GA    30309
KYLE ANDREW SCHICK CUST LISA A SCHICK UTMA OH   255 KANUKU ST SE                                                                                SALEM             OR    97306‐1935

KYLE COBY PEWITT                                1913 AMBROSE DRIVE                                                                              ROWLETT           TX    75089‐1936
KYLE CURTIS BENARD                              R R 1 BOX 191                                                                                   SIMPSON           IL    62985‐9611
KYLE D ODOM                                     207 ROUND HILL RD                                                                               KALAMAZOO         MI    49009‐1290
KYLE D RAKESTRAW                                14237 N 15TH PLACE                                                                              PHOENIX           AZ    85022‐4432
KYLE D SCHONEKAS                                205 MULBERRY DR                                                                                 METAIRIE          LA    70005‐4016
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 639 of 855
Name                                            Address1                             Address2             Address3          Address4          City              State Zip

KYLE D STAHL                                    7461 W CHADWICK RD                                                                            DEWITT            MI    48820‐8054
KYLE D WORKMAN                                  4607 R O DR                                                                                   SPICEWOOD         TX    78669
KYLE E BOYD                                     630 RAVENNA RD                                                                                NEWTON FALLS      OH    44444‐1527
KYLE E COLLINS                                  1202 N 600 W                                                                                  ANDERSON          IN    46011‐9107
KYLE EDWARD PRYLON                              6441 ALDEN DR                                                                                 WEST BLOOMFIELD   MI    48324‐2003

KYLE FERRO                                      102‐18TH ST                                                                                   BELLAIRE BEACH    FL    33786‐3314
KYLE FOX                                        401 EDEN RD APT R1                                                                            LANCASTER         PA    17601‐4254
KYLE G TAYLOR                                   2570 NE 201ST ST                                                                              MIAMI             FL    33180
KYLE G VANDALE                                  5721 E 102ND PLACE                                                                            TULSA             OK    74137‐7077
KYLE H LEPERE                                   4358 WAYNE ST                                                                                 HILLIARD          OH    43026
KYLE HART                                       841 ASPEN HILL RD                                                                             RICE              VA    23966‐2404
KYLE HARTMAN                                    1807 SPRUCE ST                                                                                HAMILTON          NJ    08610‐2234
KYLE JEFFREY TARR                               8389 BARTON DR                                                                                STRONGSVILLE      OH    44149‐1016
KYLE K KINSEY                                   10309 BENNETT LAKE RD                                                                         FENTON            MI    48430‐8768
KYLE KOCHISS CUST AUSTIN OWEN UGMA CT           3333 MAIN ST                                                                                  STRATFORD         CT    06614‐4820
KYLE L ALLEN                                    1990 STRUTHERS RD                                                                             GRASS LAKE        MI    49240‐9613
KYLE L BAKER                                    5918 ALBION RD                                                                                OAKFIELD          NY    14125‐9762
KYLE L MOORE                                    6101 TROTTERS RIDGE RD                                                                        CHARLOTTE         NC    28227‐4054
KYLE L PEARCE                                   1752 DOBLER RD                                                                                STERLING          MI    48659‐9424
KYLE L WAGONER                                  616 SLACK DR                                                                                  ANDERSON          IN    46013
KYLE L WILMETH                                  2357 MOUNTAIN VIEW RD E                                                                       PORT ORCHARD      WA    98366‐8320
KYLE LEE                                        PO BOX 94                                                                                     HARTWOOD          VA    22471
KYLE LEE GANNON                                 6 CARDINAL CT                                                                                 QUEENSBURY        NY    12804‐1257
KYLE LITTLE                                     4039 E MT MORRIS                                                                              MT MORRIS         MI    48458‐8960
KYLE M SAUNDERS                                 630 MICHIGAN BLVD                                                                             SALEM             OH    44460‐1430
KYLE M WARDLOW                                  105 CHURCH ST                                                                                 DE KALB           MO    64440‐9602
KYLE NELSON                                     105 S FRANKLIN TURNPIKE                                                                       AMSEY             NJ    07446‐2547
KYLE O SKIVEN                                   7784 WILLOW POINT DR                                                                          FALLS CHURCH      VA    22042
KYLE PETERSEN                                   18801 TRIBUNE ST                                                                              NORTHRIDGE        CA    91326
KYLE PICO                                       1404 1ST AVE                                                                                  AVON              IL    61415
KYLE PLUMMER                                    6453 CEDAR ST                                                                                 OSCODA            MI    48750‐9734
KYLE PRINCE                                     31558 VICTORIA POINT                                                                          MALIBU            CA    90265‐2638
KYLE R KAYS                                     69 KNOWLTON RD                                                                                COLUMBIA          NJ    07832‐2209
KYLE R ROWEKAMP                                 1815 VIOLA DR                                                                                 ORTONVILLE        MI    48462‐8847
KYLE RAY MARTIN & DOROTHY JANE MARTIN JT TEN    1806 VIDALIA CT                                                                               GREENWOOD         IN    46143‐6648

KYLE REED                                       727 E THIRD ST                                                                                JENNINGS          LA    70546
KYLE S EDWARDS                                  14565 CLOVERLAWN                                                                              DETROIT           MI    48238‐1809
KYLE SEROTA                                     3595 BRIARBROOK LN                                                                            ROCHESTER         MI    48306
KYLE T KIMIZUKA & YOSHIE KIMIZUKA JT TEN        104 W KANE ST                                                                                 KAHULUI           HI    96732‐2257
KYLE T LENGYEL                                  3672 DURHAM RD                                                                                NORTON            OH    44203‐6353
KYLE TAYLOR                                     1632 NE 182ND ST                                                                              NORTH MIAMI       FL    33162‐1422
                                                                                                                                              BEACH
KYLE V JEFFREYS                                 17197 SEWELL RD                                                                               ATHENS            AL    35614‐5543
KYLE W BOWEN                                    843 HEMLOCK                                                                                   SLEEPY HOLLOW     IL    60118‐2607
KYLE W CHAPPLE                                  11493 TYRONE TRL                                                                              FENTON            MI    48430‐4024
KYLE W CLARK                                    8346 ST RT 123                                                                                BLANCHESTER       OH    45107
KYLE W GREEN                                    1205 S SARASOTA                                                                               YORKTOWN          IN    47396
KYLE W JACOBS CUST WILLIAM H JACOBS UGMA WI     5033 N IDLEWILD AVE                                                                           MILWAUKEE         WI    53217‐5632

KYLE W KASTEN                                   256 W MAIN ST                                                                                 CANFIELD          OH    44406‐1430
KYLE W VINCENT                                  94 CEDAR LN                                                                                   CICERO            IN    46034‐9518
KYLE W YOUNT                                    1217 SW 114TH ST                                                                              OKLAHOMA CITY     OK    73170‐4443
KYLE WILLIAM BLAKE                              3432 ROWLAND                                                                                  TROY              MI    48083‐5677
KYLE WILLIAMS                                   1255 WILLIAMS RANCH RD                                                                        BAKERSFIELD       CA    93308‐9154
KYLENE BECKER                                   6252 E FRANCES RD                                                                             MT MORRIS         MI    48458‐9728
KYLLE A JONAS                                   443 RT 148                                                                                    KILLINGWORTH      CT    06419
KYNDALL M LOWRY                                 2789 EL RANCHO RD                                                                             SIDNEY            NE    69162‐2491
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                       Part 4 of 8 Pg 640 of 855
Name                                              Address1                              Address2                Address3            Address4                City               State Zip

KYOICHI OKAMOTO                                   2861 N LA CIENEGA DR                                                                                      TUCSON             AZ    85715‐3532
KYOKO ATKIN                                       1100 E WILSON RD                                                                                          CLIO               MI    48420‐7918
KYONG K DOUSTOU                                   198 PEACEDALE STREET                                                                                      BRISTOL            CT    06010‐9500
KYONG S YUN                                       6625 BRINT RD                         APT 21                                                              SYLVANIA           OH    43560‐3127
KYONG SUN THOMPSON CUST JIM S ANDROL UGMA MI      25320 WINTON ST                                                                                           SAINT CLAIR SHORES MI    48081‐3865

KYRA A GAYDOS                                     7586 WEBSTER ROAD                                                                                         MIDDLEBURG         OH    44130‐6676
                                                                                                                                                            HEIGHTS
KYRA K MCCOY CUST STEPHAN M MCCOY UTMA IN         2615 INDIANAPOLIS RD                                                                                      LEBANON            IN    46052‐9691

KYRA L MCCAULEY                                   8637 BROOKCREST COURT                                                                                     GALLOWAY           OH    43119‐9453
KYRIAKI T PERPERIDIS                              8531 SLEEP HOLLOW DRIVE NE                                                                                WARREN             OH    44484‐2049
KYRIAKOS A PENTARIS                               15536 FARIS ST                                                                                            SAN LEANDRO        CA    94579‐2349
KYUNG MERRIGAN CUST ELIZABETH MERRIGAN UTMA       59 HILLCREST AVE                                                                                          MORRISTOWN         NJ    07960
NJ
L A ALKOV                                         16536 PARK LN CIRCLE                                                                                      LOS ANGELES        CA    90049‐1145
L A BOYD                                          8484 FULMAR RD                                                                                            MILLINGTON         MI    48746‐9502
L A BURNS                                         214 W PARKWAY                                                                                             FLINT              MI    48505‐2602
L A GIENGER & HELEN L GIENGER JT TEN              PO BOX 3038                                                                                               BAY CITY           OR    97107‐3038
L A LAFON                                         8106 STILL MEADOW COURT                                                                                   LAREDO             TX    78045‐1978
L A WALTERS                                       1868 WYATT RD                                                                                             STANDISH           MI    48658‐9221
L ALEX MONTGOMERY                                 1741 WOODCREST DRIVE                                                                                      HOUSTON            TX    77018
L ALEXANDER LOVETT                                1018 PRESTON ST                       STE 800                                                             HOUSTON            TX    77002‐1824
L ALLENE CROSSMAN                                 9304 SUNDANCE DR                                                                                          BRIDGEVILLE        PA    15017‐1184
L ANDREW STAAT                                    14052 PERNELL DR                                                                                          STERLING HTS       MI    48313‐5447
L ANGELA BACKES HANDFORD                          20 CARIBBEAN CT                                                                                           MANDEVILLE         LA    70448‐4752
L ANGELINI                                        2200 WORLD PARKWAY BLVD               APT 22                                                              CLEARWATER         FL    33763‐3142
L ANN BISH                                        2280 CAYUGA RD                                                                                            NISKAYUNA          NY    12309‐4720
L ANN TROY & EDWARD J TROY JR TR TROY FAM TRUST   2851 WALNUT ST                                                                                            PORT HURON         MI    48060‐2162
UA 08/16/90
L ANTHONY EDWARDS                                 WINCOTTS HILL FARM                    WHICHFORD               SHIPSTON‐ON‐STOUR   WARWICKSHIRE CV36 5PQ
                                                                                                                                    GREAT BRITAIN
L AUSTIN GRAY                                     HCR 71 BOX 276                                                                                            MACHIAS            ME    04654‐9510
L B BURRELL                                       2343 DASHWOOD AVE                                                                                         OAKLAND            CA    94605‐2726
L B CALDWELL                                      7395 DAYTON FARMERSVILLE RD                                                                               DAYTON             OH    45418‐1309
L B DALE                                          2728 OPHELIA AVE                                                                                          SAN JOSE           CA    95122‐1317
L B DANIELS                                       C/O LESLIE E DANIELS ECHOLS           6846 CEDARBROOK DRIVE                                               BLOOMFIELD HILLS   MI    48301‐3017

L B ECHOLS                                        10549 REMINGTON AVE                                                                                       CLEVELAND          OH    44108‐1320
L B HEARD                                         1116 W 85TH ST                                                                                            LOS ANGELES        CA    90044‐3416
L B HUNT                                          67 CHESTNUT WAY CIR                                                                                       BARNEGAT           NJ    08005‐2001
L B MOORE & PINKIE M MOORE JT TEN                 1825 BENTON RD                                                                                            CHARLOTTE          MI    48813‐9796
L B WALKER                                        2280 MEDFORD                                                                                              TRENTON            MI    48183‐2629
L B WALKER & EDNA MARIE WALKER JT TEN             2280 MEDFORD                                                                                              TRENTON            MI    48183‐2629
L BARBARA EHRBAR                                  645 MOONDALE DR                                                                                           EL PASO            TX    79912‐4237
L BIALOBRZESKI                                    PO BOX 576                                                                                                TOQUERVILLE        UT    84774‐0576
L BOW PRITCHETT                                   130 E THOMPSON DR                                                                                         WHEATON            IL    60187‐7432
L BRENT HOGGAN & LACONNA P HOGGAN JT TEN          PO BOX 525                                                                                                LOGAN              UT    84323‐0525
L BRIAN HAYHURST                                  517 LAKEWOOD CIR                                                                                          WASHINGTON         WV    26181‐9518
L BYRON YOUMANS & LOUISE YOUMANS JT TEN           1644 MT EVEREST LANE                                                                                      TOMS RIVER         NJ    08753‐1429
L C ALLEN                                         6108 SADDLEHORSE DR                                                                                       FLOWERY BR         GA    30542
L C BOYD                                          ROUTE 1 BOX 325                                                                                           DUMAS              AR    71639‐9730
L C BOYD                                          PO BOX 2163                                                                                               ANDERSON           IN    46018‐2163
L C CANTRELL                                      813 READ ST                                                                                               LOCK PORT          IL    60441‐3727
L C COZAD JR                                      PO BOX 562                                                                                                ATOKA              OK    74525‐0562
L C CRAIG                                         9325 COYLE                                                                                                DETROIT            MI    48228‐2328
L C DORSEY                                        914 N HARVEY                                                                                              URBANA             IL    61801‐1514
L C GOSA                                          8685 BUNKUM RD                                                                                            CASEYVILLE         IL    62232‐2113
L C GREER JR                                      245 E MAIN ST                                                                                             NEW LEBANON        OH    45345‐1226
                                                  09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                              Part 4 of 8 Pg 641 of 855
Name                                                     Address1                              Address2                   Address3    Address4          City               State Zip

L C HAYNES                                               PO BOX 1182                                                                                    SAGINAW            MI    48606‐1182
L C HOLLAND & MINA M HOLLAND JT TEN                      4035 TANNERS MILL RD                                                                           BRASELTON          GA    30517‐1111
L C MONROE                                               1117 REDAN TRACE                                                                               STONE MOUNTAIN     GA    30088‐2934

L C POLK                                          27215 WALKER DR                                                                                       WARREN             MI    48092‐5147
L C PROTHRO III TR TESTAMENTARY TRUST UA 05/06/84 PO BOX 516                                                                                            MANNING            SC    29102‐0516
L C PROTHRO JR
L C RICHARDSON                                    110 PEARSALL DR APT 2D                                                                                MOUNT VERNON       NY    10552‐3903
L C RICHARDSON                                    2619 S OUTER DRIVE                                                                                    SAGINAW            MI    48601‐6649
L C STITTS                                        704 E BROADWAY                                                                                        KOKOMO             IN    46901‐3003
L C TUCKER                                        305 WARREN AVE                                                                                        PORTAGEVILLE       MO    63873‐1450
L C WILSON                                        945 KETTERING                                                                                         PONTIAC            MI    48340‐3258
L CAROL WHITED                                    582 FROGTOWN ROAD                                                                                     LIVINGSTON         TN    38570‐8408
L CARREKER                                        1625 CONLEY ROAD #246                                                                                 CONLEY             GA    30288‐1878
L CHARLES KNIGHT                                  4494 ROLANDO BLVD                                                                                     SAN DIEGO          CA    92115‐5944
L CLIFFORD ALMONEY & MABEL D ALMONEY TEN ENT      4210 CREST PL                                                                                         ELLICOTT CITY      MD    21043‐5421

L CURTI TRUCK & EQUIPMENT INC                    PO BOX 2030                                                                                            REDLANDS           CA    92373‐0641
L D FANE                                         8100 GRATIOT                                  APT 1015                                                 DETROIT            MI    48213‐4105
L D GRAY MRS BERNICE P GRAY & MISS SHARON M GRAY 7656 SHERIDAN                                                                                          MILLINGTON         MI    48746‐9619
JT TEN
L D HARROD                                       2147 SEDONA HILLS PARKWAY                                                                              LAS CRUCES         NM    88011‐4135
L D PARKS                                        3448 COUNTY ROAD 4530                                                                                  AVERY              TX    75554‐5665
L D PAZARATZ                                     789 HORTOP ST                                 OSHAWA ON                              L1G 4N8 CANADA
L D PHILLIPS                                     4191 MILL LAKE RD                                                                                      LAKE ORION         MI    48360‐1554
L D SHEPPARD                                     913 N LAWNDALE                                                                                         CHICAGO            IL    60651‐3946
L D TIDWELL                                      4250 ELLENWOOD AVE                                                                                     ST LOUIS           MO    63116‐2506
L D WILSON                                       3938 GRACELAND AVE                                                                                     INDIANAPOLIS       IN    46208‐3904
L DALE MAY                                       1635 W BOSTON BLVD                                                                                     DETROIT            MI    48206‐1726
L DANIEL WINGATE                                 PO BOX 561                                                                                             WAYNESVILLE        NC    28786‐0561
L DANTZLER HALLMAN                               3512 DELREE ST                                                                                         W COLUMBIA         SC    29170‐2017
L DAVID COLE                                     336 S LAS PALMAS AVE                                                                                   LOS ANGELES        CA    90020‐4814
L DEAN OLCOTT CUST BRYAN ANDREW OLCOTT UTMA PO BOX 988                                                                                                  PINE ISLAND        MN    55963‐0988
MN
L DENNIS MCCABE                                  6751 COUNTY RD 265                                                                                     PALMYRA            MO    63461‐3506
L DIANA MC AVAN                                  2761 INDIAN PIPE DR                                                                                    LAKE HAVASU CITY   AZ    86406‐8521

L DONALD HANDY & JACQUELINE C HANDY JT TEN       PO BOX 506                                                                                             PAUL               ID    83347‐0506
L DONALD STARLING CUST L DONALD STARLING JR      703 COHARIE DR                                                                                         CLINTON            NC    28328‐3019
UGMA NC
L DOUGLAS DIBARTELO & CHRISTINE DIBARTELO JT TEN 6 REGENT CT                                                                                            BURR RIDGE         IL    60521‐8308

L DOUGLAS MARTIN & LONNIE D MARTIN JT TEN                750 CANDLEWOOD DRIVE                                                                           PENDLETON          IN    46064‐9373
L DUANE ANDREWS & LOIS L ANDREWS TR ANDREWS              1522 PENNSYLVANIA AVE                                                                          PINE CITY          NY    14871‐9108
LIVING TRUST UA 07/03/96
L E FARMER                                               4038 W SHERMAN HILLS W PK                                                                      JACKSONVILLE       FL    32210‐0437
L E HARVILLE JR TR U‐A FOR THE L E HARVILLE JR S‐E‐R‐P   2001 BROADWAY NE                      BROADWAY SHOPPING CENTER                                 KNOXVILLE          TN    37917‐5838

L E HOWARD & MIKE SIGARS JT TEN                          20595 S RIDGEVIEW RD                                                                           SPRING HILL        KS    66083‐8781
L E HOWARD & SCOTT SEGARS JT TEN                         20595 S RIDGEVIEW RD                                                                           SPRING HILL        KS    66083‐8781
L E KELLAM                                               803 BERING WAY                                                                                 SUISUN CITY        CA    94585‐2167
L E MOODY                                                250 LINWELL RD # 205                  ST CATHATHERINES ON                    L2N 1S2 CANADA
L E MOODY                                                250 LINWELL ROAD UNIT 205             ST CATHARINES ON                       L2N 1S2 CANADA
L E SMEAD JR                                             2045 JEFFERSON AVE                                                                             RED BLUFF          CA    96080‐2172
L E SUMNER                                               9 PEACHTREE RD                                                                                 MAPLEWOOD          NJ    07040‐1930
L E THOMAS                                               15362 LINDSAY ST                                                                               DETROIT            MI    48227
L E WORD                                                 20379 WHATLEY RD                                                                               OKOLONA            MS    38860‐9405
L EARL GRAY JR CUST CLARK L GRAY UTMA NC                 111 TRINITY WOODS DR                                                                           RALEIGH            NC    27607‐4957
L EARLENE STORER                                         163 ASH PATH LN                                                                                HENDERSONVLLE      NC    28739‐5849
                                                  09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                       Part 4 of 8 Pg 642 of 855
Name                                                Address1                            Address2                     Address3   Address4          City               State Zip

L EDGAR PRINA                                       5901 MACARTHUR BLVD NW              APT 454                                                   WASHINGTON         DC    20016‐2550
L EGGLESTON                                         799 WEST RAYMOND RD                                                                           OWOSSO             MI    48867‐1512
L ELAINE BURKE TR UA 09/19/83 L ELAINE BURKE AS     8152 25 MILE RD                     STE F                                                     SHELBY TWP         MI    48316‐1904
GRANTOR L ELAINE BURKE
L ELIZABETH WALTON                                  2143 WILLOW BROOK RD                                                                          BUMPASS            VA    23024
L EMANUEL RISH                                      103 RICHBOURG RD                                                                              GREENVILLE         SC    29615‐1354
L ERIK HOLMBERG                                     C/O DYLAN PAUL                      10580 N OLD GRANVILLE ROAD                                ALBANY             IN    47320‐9713
L EUGENE SALYER                                     677 E JEFFERY PL                                                                              COLUMBUS           OH    43214‐1828
L EVELYN IRBY                                       460 PINEHURST TRACE DR                                                                        PINEHURST          NC    28374‐8122
L EVELYN RICHARDS                                   547 MASSON ST                       OSHAWA ON                               L1G 5A2 CANADA
L F BRAJKOVICH                                      4611 OAK HILL RD                                                                              OAKLAND            CA    94605‐4636
L F HAYES JR                                        2415 LARCHWOOD RD                                                                             WILMINGTON         DE    19810‐3819
L F WOOD                                            9873 VANS LANE                                                                                FIFE LAKE          MI    49633‐9040
L FILMORE CRITZER                                   BOX 2442                            PARK STATION                                              WAYNESBORO         VA    22980‐1177
L FRANCIS DENARO III                                1112 MCCRAE DRIVE                                                                             MONCKS CORNER      SC    29461‐8214
L G WELLEN                                          10404 MOONGLOW RD                                                                             ROSCOE             IL    61073‐8175
L GAYLE REED                                        96 SENECA DR                                                                                  PITTSBURGH         PA    15228‐1059
L GENE BUYEA                                        PO BOX 181                                                                                    ALTAMONT           NY    12009
L GENE STOHLER                                      4821 CHIPPING GLEN                                                                            BLOOMFIELD HILLS   MI    48302‐2307

L GENEVIEVE WHITE                                 2500 N PAULINE AV                                                                               MUNCIE             IN    47303‐5375
L GORDON HILGERS                                  1712 SEQUOIA AVE                                                                                RICHLAND           WA    99352‐7833
L GRANT                                           1955 2ND AVE #12G                                                                               NEW YORK           NY    10029‐6315
L GREGORY BYRNES                                  1801 COLLEGE AVE                                                                                RACINE             WI    53403‐2773
L GYURESKO                                        APT 4C                                16 HARBOR TERR                                            PERTH AMBOY        NJ    08861‐4828
L H BENNETT                                       12 PHEASANT LN                                                                                  SAINT PETERS       MO    63376‐4202
L H SIGMORE JR & GERALDINE SIGMORE JT TEN         1806 DIANE DR                                                                                   TITUSVILLE         FL    32780‐3977
L H THOMPSON                                      2879 BRIARWOOD DRIVE                                                                            SAGINAW            MI    48601‐5841
L H TOMASZYCKI                                    696 JEWELL                                                                                      FERNDALE           MI    48220‐2564
L HERBERT SCHNEIDER TR UA 02/14/92 L HERBERT      6023 N MONTICELLO AVE                                                                           CHICAGO            IL    60659‐1110
SCHNEIDER LIVING TRUST
L I GARDNER                                       1185 INA DR SW                                                                                  WARREN             OH    44481‐8636
L J BALLAS                                        21 MT PLEASANT LANE                                                                             E IRVINGTON        NY    10533‐1023
L J CLARK                                         5560 OLDE PLANTATION DR                                                                         DOUGLASVILLE       GA    30135‐5156
L J COURSER & MARLENE L COURSER JT TEN            1215 THOMAS L PKWY                                                                              LANSING            MI    48917
L J MOORE & DEBORAH DUKES MOORE COMMUNITY         118 STACIA ST                                                                                   LOS GATOS          CA    95030‐6242
PROPERTY
L J SHOATE                                        6725 S BORNES AVENUE                                                                            OKLAHOMA CITY      OK    73159‐2939
L J WILSON                                        8219 LAKEVIEW TERR                                                                              RIVERDALE          GA    30274‐4113
L JANE CARR                                       4245 PROVIDENCE POINT DR SE                                                                     ISSAQUAH           WA    98029‐7217
L JANE PARKER                                     916 CHERRY LANE                                                                                 VESTAL             NY    13850‐2506
L JANE THOMAS TR UA 10/06/2003 L JANE THOMAS SELF 3203 W FAIRWAY DR                                                                               MCHENRY            IL    60050
DIRECTED TRUST
L JEAN ENGEL                                      32 KINDER DRIVE                                                                                 KINDERHOOK         NY    12106‐2810
L JEAN SLOANE                                     215 WAVERLY RD                                                                                  SOUTHAMPTON        PA    18966‐3352
L JEFFREY KEMBER                                  45 ALBERTSON AVENUE                                                                             BRIDGETON          NJ    08302‐1433
L JEROME SMALL III                                3818 DURNESS WAY                                                                                GREENSBORO         NC    27455‐3364
L JERRY HINCHLIFFE EX UW ELLEN M HINCHLIFFE       103 E DELAWARE AVE                                                                              WILINGHAM          DE    19809‐1510
L JERRY WILLIAMS                                  1410 HENDRICK RD                                                                                MASON              TN    38049‐7012
L JETER                                           919 GLEN CROSSING                                                                               GLEN               IL    62034‐8511
L JOAN SOROBEY                                    15227 85TH STREET                     EDMONTON AB                             T5E 6G6 CANADA
L JOSEPH PECHOUS                                  4220 ROLLING SPRINGS DRIVE                                                                      CARMEL             IN    46033‐3767
L JOSEPH WITTENAUER                               4429 BASCULE BRIDGE DR                                                                          DAYTON             OH    45440‐3169
L JOSEPH WOODS                                    679 FOREST AVE                                                                                  GLEN ELLYN         IL    60137‐4120
L JUHASZ                                          180 W 26TH STREET                                                                               BAYONNE            NJ    07002‐1719
L K MUNDELL                                       301 WEST STATE RD 28                                                                            MUNCIE             IN    47303‐9422
L KASTEN COWIE                                    31757 HONEY LOCUST RD                                                                           JONESBURG          MO    63351‐2430
L KENT KRETZLER                                   279 BARCELONA ST                                                                                PUNTA GORDA        FL    33983
L L BUCHHEIT                                      1853 PRESCOTT RDG                                                                               ST CHARLES         MO    63303‐5345
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 643 of 855
Name                                               Address1                               Address2             Address3          Address4          City            State Zip

L L RIGGS                                          2276 FIRST STREET                                                                               GRAND ISLAND    NY    14072‐1518
L L SHIESLEY                                       3670 JULIE COURT                                                                                N TONAWANDA     NY    14120‐1239
L LANNING SIGLER & MRS REBECCA A SIGLER JT TEN     6801 BRANDYWINE LP NE                                                                           ALBUQUERQUE     NM    87111‐1008

L LEE HAMM III                                     3525 RED OAK COURT                                                                              NEW ORLEANS     LA    70131‐8423
L LEONE HENDERSHOT TOD DIANE H BUTTS SUBJECT TO    777 CARDINAL LANE                                                                               BOONE           NC    28607‐8815
STA TOD RULES
L LIGON                                            1368 WEBSTER AVE                                                                                BRONX           NY    10456‐1810
L LINDSAY PIEJAK                                   5628 PATTERSON                                                                                  TROY            MI    48098‐3924
L M ELZY                                           12322 W ROSEWOOD DR                                                                             EL MIRAGE       AZ    85335‐6241
L M FREUND‐PENNY                                   105 WESTFIELD                                                                                   DEFIANCE        OH    43512‐1433
L M MAYS                                           193 CHERRYWOOD LANE                                                                             HAWKINS         TX    75765
L M RUSSO                                          11316 W REID RD                                                                                 SWATRZ CREEK    MI    48473‐8516
L M SIMINO                                         2921 SWEET FLAG CT                                                                              O FALLON        MO    63366‐9734
L M VALLI                                          5250 SKYLINE DR                                                                                 ROELAND PARK    KS    66205‐1162
L MARGUERITE STEVENS & JOSHUA E STEVENS JT TEN     PO BOX 23                                                                                       DAGSBORO        DE    19939‐0023

L MARIE CARR TR UA 11/20/92 THE L MARIE CARR TRUST 61 KNOLLWOOD BLVD                                                                               CLAWSON         MI    48017‐1237

L MARIE PRICE & DENNIS R PRICE JT TEN              33991 N 2020 EAST RD                                                                            ROSSVILLE       IL    60963‐7048
L MARIE SHEPPARD & DIANE MARIE SHEPPARD JT TEN     4349 SUNNYMEAD                                                                                  BURTON          MI    48519‐1243

L MAX DULA                                     2010 RIDGEWAY RD                                                                                    MEMPHIS         TN    38119‐6304
L MAX NEWLIN CUST ELIZABETH RENEE NEWLIN UGMA 657 ROOSEVELT ST                                                                                     AMERICAN FLS    ID    83211‐1343
IN
L MAX NEWLIN CUST HEATHER MARIE NEWLIN UGMA IN 657 ROOSEVELT ST                                                                                    AMERICAN FLS    ID    83211‐1343

L MAXINE WATERS                                    151 MARANATHN TRAIL                                                                             LAWRENCEVILLE   GA    30045‐6315
L MAXINE WATERS                                    151 MARANATHA TRAIL                                                                             LAWRENCEVILLE   GA    30045‐6315
L MCRAE HARPER & ELIZABETH A HARPER JT TEN         2516 BETTON WOODS DR                                                                            TALLAHASSEE     FL    32308‐0942
L MICHAEL RUZICKA                                  PO BOX 9                                                                                        BELLEVILLE      MI    48112‐0009
L MOSKOWITZ                                        2 BETSY ROSS CT                                                                                 S SETAUKET      NY    11720‐4613
L OTIS TATE                                        260 SCHORN DR                                                                                   LAKE ORION      MI    48362
L P KAJBO                                          29040 LONE‐ELM STREET                                                                           SOUTHFIELD      MI    48076‐1719
L PATENAUDE & G WHEELER TR UA 06/21/01             9786 E SLEEPY HOLLOW TRL                                                                        GOLD CANYON     AZ    85218
PATENAUDE‐WHEELER FAMILY TRUST
L PATRICK KASTNER TR L PATRICK KASTNER TRUST UA    135 W BURR OAK ST                      PO BOX 129                                               CENTREVILLE     MI    49032‐0129
03/14/94
L PAUL STINE JR                                    212 S GRAY RD                                                                                   CONNERSVILLE    IN    47331‐1060
L PETER TEMPLE ADM EST JOHN M CLOUD                C/O LARMORE SCARLETT LLP               PO BOX 384                                               KENNETT SQ      PA    19348
L PIERRE COMTOIS                                   12345 FORT LORETTE                     MONTREAL QC                            H2C 3C9 CANADA
L R MCCLURE & J L MCCLURE JT TEN                   11115 W 109TH ST                                                                                OVERLAND PARK   KS    66210‐1289
L R STIMSON                                        211 W MAIN ST                                                                                   OTISVILLE       MI    48463‐9438
L R WHITAKER                                       300 NW HILLSIDE PKWY                   APT 122                                                  MCMINNVILLE     OR    97128‐9568
L RALPH MC NEW                                     2516 PAMELA CT                                                                                  ANDERSON        IN    46012‐4431
L RENE WINTERBERGER                                955 CASTLE PINES DR                                                                             BALLWIN         MO    63021‐4475
L RHODES                                           3811 N OAK DRIVE APT E21                                                                        TAMPA           FL    33611
L RICHARD POPE                                     1475 FOREST VW W                                                                                PRESCOTT        AZ    86305‐5118
L ROBIN SLATE                                      3973 DAY RD                                                                                     LOCKPORT        NY    14094‐9451
L ROGER PULLEY JR                                  33855 REYNOLDS RD                                                                               RAYVILLE        MO    64084‐9085
L RONALD NELSON                                    140 FOX TRACE CT                                                                                AIEKN           SC    29803‐2754
L ROSS & ANN M GARNER TR UA GARNER REVOCABLE       5922 NE SANDY BLVD                                                                              PORTLAND        OR    97213‐3961
LIVING TRUST12/18/87
L ROSS CUMMINS                                     200 STETSON RD #324                                                                             AUBURN          ME    04210‐6448
L S BATES                                          16191 OHIO ST                                                                                   DETROIT         MI    48221‐2953
L S STEWART                                        10219 PRINCE DR                                                                                 ST LOUIS        MO    63136‐5932
L SEARL JARRELL                                    3229 LORAL DR                                                                                   ANDERSON        IN    46013‐2218
L SIMMONS                                          PO BOX 312                                                                                      HUGER           SC    29450‐0312
L SINGLETARY                                       293 HOBSON ST STREET                                                                            NEWARK          NJ    07112‐6241
                                               09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 4 of 8 Pg 644 of 855
Name                                                 Address1                                Address2               Address3        Address4          City              State Zip

L ST G MOULDER & MARY MOULDER JT TEN           PO BOX HM1074                                 HAMILTON               HMEX            BERMUDA
L STRANG                                       23 HATTERAS ST                                                                                         BERLIN            MD    21811‐3815
L SUSAN BLACKMAN                               C/O SUSAN LUKAS                               PO BOX 93597                                             LAS VEGAS         NV    89193‐3597
L SUSANA GOODBRED & DEBORAH PAQUETTE & JEFFREY 305 FRANCES DR                                                                                         MEBANE            NC    27302
HALL JT TEN
L SUSANA GOODBRED & DEBORAH PAQUETTE & JEFFREY 305 FRANCES DR                                                                                         MEBANE            NC    27302
HALL JT TEN
L SUZANNE SCHMIDT & BRUCE H SCHMIDT TEN COM    9932 MCKINSTRY MILL ROAD                                                                               NEW WINDSOR       MD    21776‐7917

L T BOTKINS                                          PO BOX 143                                                                                       PARAGOULD         AR    72451‐0143
L TERRANCE SPENCER FINLEY                            681 CATALINA COURT                                                                               LINDENHURST       IL    60046‐6741
L THOMAS SCHWARZ & M CARYN SCHWARZ JT TEN            540 SANDY HOOK RD                                                                                TREASURE ISLAND   FL    33706‐1213

L THOMAS SCRANTON                                    74 MEADOWVIEW LN                                                                                 VERNON ROCKVL     CT    06066‐2759
L TURNER                                             6223 YELLOW BIRCH CT                                                                             AVON              IN    46123‐8235
L V COOK                                             10721 DEHAVEN                                                                                    PACOIMA           CA    91331‐2008
L V DISMUKES                                         6345 TROPICAL PKWY                                                                               LAS VEGAS         NV    89130‐1347
L V FISHER                                           1415 S LASCERNE CIRCLE                                                                           MANSFIELD         OH    44906‐2713
L V MC COLLUM                                        PO BOX 473                                                                                       JAMESVILLE        NC    27846‐0473
L V REX & BARBARA A REX TR UA 05/01/90 THE L V REX   7570 SW FAIRMOOR                                                                                 PORTLAND          OR    97225‐2740
& BARBARA A
L V THURMAN                                          1301 ENGLAND RD                                                                                  JACKSON           MS    39209‐9199
L W MELTON JR                                        PO BOX 576                                                                                       HENDERSON         TN    38340‐0576
L WARREN PATTERSON                                   246 HINKLEYVILLE RD                                                                              SPENCERPORT       NY    14559‐1019
L WENDELL BAKER & FRANCES BAKER JT TEN               295 VILLAGE LN                          APT 217                                                  GREENWOOD         IN    46143‐2473
L WESLEY HAYDEN                                      8333 S COUNTY LINE RD                                                                            BURR RIDGE        IL    60527‐6411
L WHITE                                              6334 AMELIA                                                                                      ST LOUIS          MO    63120‐1502
L WILLIAM BOYER & LAURETA E BOYER JT TEN             13119 SHADBERRY LN                                                                               HUDSON            FL    34667‐2713
L WILLIAM KOHLMEYER JR                               PO BOX 2915                                                                                      CAREFREE          AZ    85377‐2915
L WILMER ANDERSON JR                                 1818 CHADBAURNE AVE                                                                              MADISON           WI    53705‐4045
L0UIS C FOWLER                                       1428 ACE MCMILLIAN RD                                                                            DACULA            GA    30019‐2554
L0YD D REEVES                                        8118 N HWY 78                                                                                    RAVENNA           TX    75476
L14 PARTNERSHIP LTD                                  C/O MARY G LACY                         3207 CORNELL AVE                                         DALLAS            TX    75205‐2933
LA A LAKKOLA                                         1155 LEXWOOD DRIVE                                                                               MANSFIELD         OH    44907‐2921
LA DEAN L COOK TR COOK FAMILY TRUST 10/06/86         11 VIA TORTUGA                                                                                   RANCH SANTA       CA    92688‐1471
                                                                                                                                                      MARGAR
LA DELVIN WALKER                                     2113 BONBRIGHT                                                                                   FLINT             MI    48505‐4661
LA DORIS H FRENCH & DORA M VETTE JT TEN              2049 BELLE MEADE DRIVE                                                                           DAVISON           MI    48423‐2001
LA FAYETTE HARRIS II                                 1628 N FRANKLIN PL                      APT 11                                                   MILWAUKEE         WI    53202‐2260
LA FERN GLEICHAUF                                    2421 W CREEDY RD                                                                                 BELOIT            WI    53511
LA HATCHER                                           7006 STRATFORD                                                                                   SAINT LOUIS       MO    63121‐3253
LA JEAN E NAGRANT                                    37482 MEADOW HILLEAST                                                                            NORTHVILLE        MI    48167
LA MAR A MAC NUTT                                    322 MAGNOLIA DRIVE                                                                               CLEARWATER        FL    33756‐3836
LA MINZEY                                            5239 FONTAINE RD                                                                                 BLACK RIVER       MI    48721‐9734
LA MOYNE ARLEN LIBERTY                               8971 E CALLE KUEHN                                                                               TUCSON            AZ    85715‐5621
LA QUITA JORDAN                                      450 W 80TH ST                                                                                    CHICAGO           IL    60620‐1136
LA SALLE MC DONALD                                   51 BOSTON CT                                                                                     NEWARK            NJ    07103‐3445
LA UNA E BUTLER                                      4835 W LAWTHER DR                       APT 501                                                  DALLAS            TX    75214‐1851
LA VANGE C WAITE                                     7502 HESSLER DRIVE                                                                               ROCKFORD          MI    49341‐9509
LA VELANETTE MARKS & BARNELL MARKS SR JT TEN         PO BOX 40194                                                                                     REDFORD           MI    48240‐0194

LA VERNA FORD                                        7601 ROSELAWN                                                                                    MENTOR            OH    44060‐7053
LA VERNE C OSBORNE TR UA OSBORNE FAMILY TRUST        1807 CORRALITOS DR                                                                               SAN LUIS OBISPO   CA    93401‐2609
04/12/88
LA VERNE D BROWN                                     5848 TIDEWOOD AVE                                                                                SARASOTA          FL    34231‐3132
LA VERNE E SCHATTNER                                 11 ST JUDE DR                                                                                    COHOCTON          NY    14826‐9407
LA VERNE J FREE                                      C/O L J FROMM                           10772 INSPIRATION DR                                     PARKER            CO    80138‐8532
LA VERNE K LEY                                       2314 LONGVIEW AVE                                                                                DAYTON            OH    45431‐1916
LA VERNE N KELLER                                    2409 MASONIC DR                                                                                  SEWICKLEY         PA    15143‐2415
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 645 of 855
Name                                               Address1                               Address2                   Address3    Address4          City            State Zip

LA VERNE OBERFELD HAWKINS                          201 N JESSICA APT 245                                                                           TUCSON          AZ    85710‐2143
LA VERNE R VOSS & RUTH C VOSS TR VOSS FAM LIVING   18538 DOGWOOD LN                                                                                FRASER          MI    48026‐2134
TRUST UA 06/25/96
LA VERNE W KELLY                                   78442 46TH ST                                                                                   DECATUR         MI    49045‐9115
LA VERNE YEAGER                                    3968 SHADELAND AVE                                                                              BEAVERCREEK     OH    45432‐2039
LA VON BOWLING                                     17352 HIGHLAND CTR RD                                                                           DEFIANCE        OH    43512‐8924
                                                                                                                                                   JUNCTION
LA VONNE AEBLY                                     3549 HICKORY GROVE RD                                                                           DAKOTA          IL    61018‐9722
LA VONNE E CONTRERAS                               PO BOX 2882                                                                                     BIG BEAR CITY   CA    92314‐2882
LA VONNE L WILLIAMS                                19963 SCHAEFER                                                                                  DETROIT         MI    48235‐1541
LA VONNE M NICAISE & ADAM JOHN NICAISE JT TEN      4770 FLETCHER RD SE                                                                             FIFE LAKE       MI    49633‐8004

LA WANDA ESTIS                                    1180 OAKHAVEN WAY                                                                                ANTIOCH         CA    94509
LA WANDA G STRIEDEL CUST JONATHAN K STRIEDEL      489 S GOLLY RD                                                                                   CUERO           TX    77954‐6678
UGMA TX
LA WANDA M BURGESS                                100 WHACK RD                                                                                     GREELEYVILLE    SC    29056
LAARON LANE HOZAK                                 312 PRIMROSE LN                                                                                  FLUSHING        MI    48433‐2611
LABAN PHELPS JACKSON JR                           2365 HARRODSBURG RD                     STE B 230                                                LEXINGTON       KY    40504‐3371
LABERTA KOEHLER                                   707 SHORESIDE COVE                                                                               HASTINGS        NE    68901‐2531
LABRETA A NEAL                                    739 LISBON RD                                                                                    MOUNT VERNON    IA    52314‐1543
LABRETA NEAL                                      739 LISBON RD                                                                                    MOUNT VERNON    IA    52314‐1543
LACEY O'QUINN JR                                  1264 DEER RUN                                                                                    GRASS LAKE      MI    49240‐9379
LACEY R PEARCE                                    1071 REDWOOD DR                                                                                  BEAVERTON       MI    48612‐8730
LACHLAN MACKAY                                    7362 NW 45TH AVENUE                                                                              COCONUT CREEK   FL    33073
LACHRISHA A HOWES                                 15378 FIELDING                                                                                   DETROIT         MI    48223‐1617
LACLAIN GUYTON                                    PO BOX 795                                                                                       TERRY           MS    39170‐0795
LACORA D ROGERS                                   22210 KOSTNER AVE                                                                                RICHTON PARK    IL    60471‐1234
LACORNES LITTLE                                   3514 MEADOWRIDGE DR SW                                                                           ATLANTA         GA    30331‐5404
LACY B MARTIN                                     3701 BELLE VISTA DR                                                                              ST PETE BEACH   FL    33706
LACY E EAGLE                                      2181 LANDMARK DRIVE                                                                              LAPEER          MI    48446
LACY E HARVILLE JR                                2001 BROADWAY N E                       BROADWAY SHOPPING CENTER                                 KNOXVILLE       TN    37917‐5838
LACY HILL                                         26904 ANDOVER                                                                                    INKSTER         MI    48141‐3186
LACY HILL & JULIA HILL JT TEN                     26904 ANDOVER                                                                                    INKSTER         MI    48141‐3186
LACY HILL & LACY HILL JT TEN                      26904 ANDOVER                                                                                    INKSTER         MI    48141‐3186
LACY HUDSON                                       1127 W MAPLE                                                                                     LANSING         MI    48915‐2131
LACY L GREER                                      930 BLACKBURN DRIVE                                                                              LOVELAND        OH    45140‐8568
LACY L LUCAS JR                                   5371 MAKEMIE LN                                                                                  COLFAX          NC    27235‐9659
LACY LEIGH LOWRY TR LACY LEIGH LOWRY LIVING TRUST BOX 1002                                                                                         CLINTON         OK    73601‐1002
UA 03/15/04
LADDIE A KASKA                                    613 CLOVER PARK                                                                                  ARLINGTON       TX    76013‐1427
LADDIE ANN FULLER                                 P O BOX 1511                                                                                     HAILEY          ID    83333
LADDIE J BOK                                      119 E VAN BUREN                                                                                  ELMHURST        IL    60126‐5112
LADEAN AKINS                                      711 W STOCKDALE                                                                                  FLINT           MI    48504‐7200
LADGER NEUSTAETER                                 BOX 1045                                SWIFT CURRENT SK                       S9H 3X1 CANADA
LADIES AUXILIARY OF CHRISTIANA FIRE COMPANY NO I 2 E MAIN ST                                                                                       NEWARK          DE    19702

LADISLAUS A CZOPEK                                 908 RIVERBANK ST                                                                                LINCOLN PARK    MI    48146‐4210
LADISLAUS A SIKORA                                 5 ROCHDALE AVE                                                                                  PEABODY         MA    01960‐8021
LADISLAUS F BRENNER                                1848 ENTERPRISE AVE                                                                             ST AUGUSTINE    FL    32092‐2421
LADISLAUS F JASON                                  PO BOX 30572                                                                                    CLEVELAND       OH    44130‐0572
LADISLAUS ROSKO & MRS HELEN ROSKO JT TEN           1901 ROCKSIDE ROAD                                                                              CLEVELAND       OH    44131‐1945
LADISLAV F BEDNAR & CAROLYN M BEDNAR TEN COM       6335 FISHTRAP ROAD                                                                              DENTON          TX    76208‐1607

LADISLAV HLAVATOVIC                                20 KENDALL AVE                                                                                  NO TARRYTOWN    NY    10591‐2211
LADISLAV HUZVAR                                    410 MERIMAC CT                                                                                  ROSELLE         IL    60172‐1923
LADISLAV MICHL CUST GARY PATRICK MICHL UGMA IN     8073 S R 63                                                                                     TERRE HAUTE     IN    47802‐9496

LADISLAV SANDOR                                    7725 E ROAMING WAY                                                                              PRESCOTT VLY    AZ    86314‐1978
LADISLAV VALOVIC                                   APT 143                                37126 YORKSHIRE                                          STERLING HTS    MI    48312‐2401
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 646 of 855
Name                                             Address1                                Address2                Address3       Address4          City            State Zip

LADON E MARSHALL                                 12917 RACINE                                                                                     WARREN          MI    48093‐3632
LADON E MARSHALL & CHARLES T MARSHALL JT TEN     12917 RACINE                                                                                     WARREN          MI    48093‐3632

LADONNA D BLACK                                  9186 POINTE CT                                                                                   FISHERS         IN    46038‐9573
LADONNA D SANDERS & EULAS H SANDERS & ANNESIA    4202 E 40TH ST                                                                                   INDIANAPOLIS    IN    46226
D SANDERS JT TEN
LADONNA D STARKS                                 5107 COURVILLE ST                                                                                DETROIT         MI    48224‐2992
LADONNA GRAYS                                    735 SOUTH 25TH                                                                                   SAGINAW         MI    48601‐6521
LADONNA H LARSON                                 2974 FOSTER AVE NE                                                                               GRAND RAPIDS    MI    49505‐3366
LADONNA J LALICH                                 3009 HIGH POINT                                                                                  LAKE ORION      MI    48359
LADONNA K MOULDER & JAMES E MOULDER JT TEN       1486 BEACONFIELD CT                                                                              CARMEL          IN    46033‐8506

LADONNA K PEEK                                   7397 MAPLE AVE                                                                                   GRAND BLANC     MI    48439‐9620
LADONNA M KOLESAR                                234 GREENFIELD ROAD                                                                              PENNSYLVANIA    PA    16865‐9434
                                                                                                                                                  FURN
LADONNA R ROBINSON                               PO BOX 505                              5259 W BARNES RD                                         MILLINGTON      MI    48746
LADORA B TURNER                                  4258 HERNER CO LINE RD                                                                           SOUTHINGTON     OH    44470‐9562
LADORIS A NEUMANN TR LADORIS A NEUMANN LIVING    42470 KINGSLEY DR                                                                                CLINTON TWP     MI    48038
TRUST UA 01/05/95
LAEL M MEIXSELL                                  34 BARTON DR                                                                                     SUDBURY         MA    01776‐2506
LAERCIO PUGGINA                                  1650 CULVER AV                                                                                   DEARBORN        MI    48124‐5019
LAFAY TERRY                                      6575 ROYAL KING DR                                                                               MEMPHIS         TN    38135‐6145
LAFAYETTE N INGRAM III TR HENRIETTA J INGRAM     900 SIXTH AVENUE SO STE #302                                                                     NAPLES          FL    34102‐6745
TRUST UA 12/30/04
LAFAYETTE O ANDERSON                             6716 DANTE                                                                                       CINCINNATI      OH    45213‐1505
LAFAYETTE P DALLAS JR & ROSE T DALLAS JT TEN     2057 BLACK OAK DR                                                                                SAPPHIRE        NC    28774‐8681
LAFAYETTE RICHARDS                               16 LASALLE AVE                                                                                   TRENTON         NJ    08618‐5106
LAFERN GLEICHAUF                                 2102 E DELAVAN DR                                                                                JANESVILLE      WI    53546
LAFREDA ANDERSON                                 3650 PALMYRA ROAD                                                                                WARREN          OH    44481‐9703
LAFRITA M HUTTON                                 210 GREENWOOD CUT‐OFF ROAD                                                                       WEATHERFORD     TX    76088‐8346
LAGENE M MORGAN                                  4710 PINEDALE                                                                                    CLARKSTON       MI    48346‐3755
LAGORA M LIND                                    5592 W 300 S                                                                                     NEW PALESTINE   IN    46163‐9729
LAGRANT STARKS                                   2473 LOTHROP                                                                                     DETROIT         MI    48206‐2550
LAGROON REDMOND                                  3094 HIRAM SUDIE RD                                                                              HIRAM           GA    30141‐3029
LAGUNA HONDA HOSPITAL                            C/O FINANCE DEPARTMENT                  375 LAGUNA HONDA BLVD                                    SAN FRANCISCO   CA    94116‐1411
LAHOMA F BUCKLEY                                 670 W LINWOOD RD                                                                                 LINWOOD         MI    48634‐9714
LAIA LI MISSON                                   1905 E PREDMORE                                                                                  OAKLAND         MI    48363‐1721
LAILA A AHMED                                    C/O NATIONAL BANK                       FUJAIRAH BX2979         DUBAI ARE      ZZZZ CANADA
LAILA S YOUSSEF & HAFEZ N YOUSSEF JT TEN         11 SPRING DR                                                                                     DAYTON          NJ    08810‐1635
LAILAH HISCOCK                                   201 W BIG BEAVER RD                     STE 600                                                  TROY            MI    48084‐4161
LAINE E CIPOLLA                                  8115 BUFFALO SPRINGS CT                                                                          SUGAR LAND      TX    77479‐7010
LAINEY M BROWN                                   7307 24TH AVE W                                                                                  BRADENTON       FL    34209‐5336
LAINIE D MARCUM                                  PO BOX 854                                                                                       KEARNEYSVILLE   WV    25430‐0854
LAINIE GILFORD                                   3848 BRITTANY RD                                                                                 NORTHBROOK      IL    60062‐2104
LAIRD A BURKETT                                  7033 NASH RD                                                                                     N TONAWANDA     NY    14120‐1275
LAIRD A MOONEY CUST ALANA LAIRD MOONEY UTMA      4475 CONRAD DR                                                                                   LA MESA         CA    91941‐6861
CA
LAIRD A MOONEY CUST CLARE ELIZABETH MOONEY       4475 CONRAD DR                                                                                   LA MESA         CA    91941‐6861
UTMA CA
LAIRD B BRAUGHLER & LUCILLE B BRAUGHLER JT TEN   103 W PATTY LANE                                                                                 MONROEVILLE     PA    15146‐3637

LAIRD L PALMER                                   20 N PEARTREE LANE                                                                               ARLINGTON       IL    60004‐6653
                                                                                                                                                  HEIGHTS
LAIRD R SMITH                                    10 SIBLEYVILLE LANE                                                                              HONEOYE FALLS   NY    14472‐9024
LAJUAN H BARNES                                  7804 N FAIRWAY PL                                                                                MILWAUKEE       WI    53223‐4222
LAKE KIOWA VOLUNTEER FIRE DEPARTMENT             550 KIOWA DR W                                                                                   LAKE KIOWA      TX    76240‐9592
LAKE KNIGHT JR                                   1725 DEMOREST RD                                                                                 COLUMBUS        OH    43228‐6441
LAKE RETIREMENT FUND A PARTNERSHIP               3106 E BAYVIEW LANE                                                                              SANDUSKY        OH    44870‐5907
LAKE WILLIAM TABOR & CLARA M A TABOR JT TEN      1110 BLANCHARD AVE                                                                               FLINT           MI    48503‐5304
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 647 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

LAKEITA TATE                                     1431 WOODROW AVE                                                                              SAN DIEGO        CA   92114
LAKIE MAE CLARK                                  11505 MARTIN                                                                                  WARREN           MI   48093‐4474
LAKSHMI A PRATAP & SESHA S PRATAP TEN COM        3475 SALISBURY DR                                                                             DALLAS           TX   75229‐5925
LAL GOPAL BANERJI                                BOX 2804                                                                                      FARMINGTON HILLS MI   48333‐2804

LALAGE SLAY DEANE                                7330 GALLANT GLEN LANE                                                                        HOUSTON         TX    77095‐1325
LALAH D BROWNELL                                 1259 N HAZE ROAD #212                                                                         BEULAH          MI    49617‐9781
LALINE Y CASON                                   43 WOODLAND CAMP RD                                                                           TEMPLE          GA    30179‐4704
LALLIE CARTER                                    1322 N 62ND PLACE                                                                             KANSAS CITY     KS    66102‐1328
LAMAR B STARNES                                  4031 STATE ROUTE 925                                                                          HICKMAN         KY    42050‐7623
LAMAR BAILES JR                                  PO BOX 915                                                                                    WALHALLA        SC    29691‐0915
LAMAR BROWN                                      3906 SANDRA                                                                                   SHREVEPORT      LA    71109‐5122
LAMAR C BECK & ARLENE B BECK JT TEN              6596 N MAIN ST                                                                                COOPERSBURG     PA    18036‐1007
LAMAR C HIBBARD                                  207 WATER ST                                                                                  BYRON           MI    48418
LAMAR C PRUITT                                   823 BRAD FORD RD                                                                              TIGNALL         GA    30668
LAMAR E BARNETT                                  7200 POWERS AVE                      APT 129                                                  JACKSONVILLE    FL    32217‐3724
LAMAR E BREW                                     3965 NARA DRIVE                                                                               FLORISSANT      MO    63033‐3222
LAMAR E NELSON                                   46183 SAULS RD                                                                                CALLAHAN        FL    32011‐6510
LAMAR HARRIS WADLINGTON JR                       PO BOX 2648                                                                                   JACKSON         MS    39201
LAMAR HILL                                       4103 FISCHER                                                                                  DETROIT         MI    48214‐1207
LAMAR L BLECKLEY                                 775 SHULTZ STREET                                                                             SPARTA          MI    49345
LAMAR L KNOX                                     4825 OHCHI CT                                                                                 HOLT            MI    48842‐1595
LAMAR M DURST                                    2864 E C R 181                                                                                CLYDE           OH    43410‐9545
LAMAR M GOGGANS                                  6034 COBURN                                                                                   INDIANAPOLIS    IN    46228‐1228
LAMAR NASH                                       PO BOX 570                                                                                    COLBERT         GA    30628‐0570
LAMAR POOLE & LINDA J POOLE JT TEN               3445 HARTLEY BRIDGE ROAD                                                                      MACON           GA    31216‐5735
LAMAR Q BALL III                                 6365 LONG ISLAND DR                                                                           ATLANTA         GA    30328‐3040
LAMAR T JUDY                                     2790 HILDA DR SW                                                                              ORANGEBURG      SC    29115‐9258
LAMAR TYER & JUDITH SMITH TYER TEN COM           C/O JUDI SMITH JUDD                  204 WILCREST                                             HOUSTON         TX    77042‐1004
LAMAR V JOHNSON                                  3046 N PARK                                                                                   INDIANAPOLIS    IN    46205‐3964
LAMARK PLEASANT                                  221 13TH TER N                                                                                BIRMINGHAM      AL    35204‐2427
LAMARR JOBE                                      1038 BUCK ROAD                                                                                NEW ULM         TX    78950‐5117
LAMASIE MCMILLER                                 1311 WASHINGTON N ROAD                                                                        MANSFIELD       OH    44903‐8885
LAMATHA M FRAYER                                 1919 SUNDOWN LANE                                                                             FORT WAYNE      IN    46808‐1472
LAMBDA CHI ALPHA GILGAL INC                      2801 SUNSET DR                                                                                FLINT           MI    48503‐5426
LAMBDA CHI ALPHA‐GILGAL FRATERNITY INC           2801 SUNSET DR                                                                                FLINT           MI    48503‐5426
LAMBERT C CAUFIELD                               4737 WHEELER                                                                                  FREMONT         CA    94538‐1983
LAMBERT LYNN MARSHALL JR                         1900 NORTH SPRUCE                                                                             LITTLE ROCK     AR    72207‐4718
LAMBERT M DYKEMA                                 144 RAINBOW DRIVE                    #4485                                                    LIVINGSTON      TX    77399‐1044
LAMBERTINO PULLANO                               166 MANDARIN DR                                                                               ROCHESTER       NY    14626‐3857
LAMBERTUS H VANVELDEN                            410 16TH ST                                                                                   HUNTINGTN BCH   CA    92648‐4208
LAMBRINI SPAKIANAKIS                             5424 N BROADWAY                                                                               CHICAGO         IL    60640‐1704
LAMONE W CRANE                                   12142 BIRCH RUN RD                                                                            BIRCH RUN       MI    48415‐9428
LAMONICA A VAUGHN                                1353 WOODLAND DR                                                                              INKSTER         MI    48141‐1741
LAMONT A SHIRK                                   509 WEST CRANE                                                                                NORTON          KS    67654‐1158
LAMONT BINION                                    1890 W COOK RD                                                                                MANSFIELD       OH    44906‐3629
LAMONT BOYER JR                                  8799 BRYRONLIN RD                                                                             MINERAL RIDGE   OH    44440‐8708
LAMONT C BEGOLE                                  261 EAST GRAND BLVD                                                                           DETROIT         MI    48207‐3739
LAMONT D AMES                                    3173 EASTGATE ST                                                                              BURTON          MI    48519‐1552
LAMONT F DEAN                                    8077 SPRINGWOOD RD                                                                            HARRISON        MI    48625
LAMONT RICHARDS JR                               6905 SO 1300 E #246                                                                           MIDVALE         UT    84047‐1817
LAMONTE R EDISON & MARY F EDISON JT TEN          801 HILLSDALE DRIVE                                                                           KOKOMO          IN    46901‐3646
LAMONTE R EDISON CUST DOUGLAS M EDISON UGMA      801 HILLSDALE DR                                                                              KOKOMO          IN    46901‐3646
IN
LAMONTE R EDISON CUST TIMOTHY J EDISON UGMA IN   801 HILLSDALE DR                                                                              KOKOMO          IN    46901‐3646

LAMORA D FLORENCE‐CARSWELL                       5234 FLAGLER STREET                                                                           HOLLYWOOD       FL    33021‐8002
LAMPTON & OTT LLC                                1037 BICKHAM STREET                                                                           FRANKLINTON     LA    70438
LAMURL T MORRIS                                  PO BOX 7106                                                                                   ATHENS          GA    30604‐7106
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 648 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

LAN A NELSON                                     70 E LAKEVIEW DR                                                                                POINTBLANK         TX    77364
LAN N TRAN                                       6560 N ALBERTA COURT                                                                            GLENDALE           WI    53217‐4021
LAN T DUONG                                      620 WAVERLY CIRCLE                                                                              COPLEY TWP         OH    44321‐1272
LAN W PERSHING                                   8013 PINE OAK RD                                                                                WAXHAW             NC    28173‐9356
LANA A OLSON & ELDEN W OLSON JT TEN              4013‐47TH ST                                                                                    SIOUX CITY         IA    51108‐1107
LANA C ROUNSAVILLE                               3832 S E 47 STREET                                                                              OCALO              FL    34480‐7382
LANA D BOOR                                      3871 E POND CT                                                                                  ORION              MI    48359‐1472
LANA D HOUSTON                                   501 S MEADE ST APT 10                                                                           FLINT              MI    48503‐2289
LANA D REICH TR LANA D REICH TRUST UA 12/05/01   5189 SPENCER ST                                                                                 LAS VEGAS          NV    89119‐2122

LANA G MUTTER                                    10297 WIMPLE RD                                                                                 ONSTED           MI      49265‐9728
LANA HUFNAGEL                                    1818 W WALKER RD                                                                                ST JOHNS         MI      48879‐9707
LANA J ADOMAITIS                                 20522 PINE MEADOW DR                                                                            CLINTON TOWNSHIP MI      48036‐3802

LANA J MICHALSKI                                 16736 GLENMORE BLVD                                                                             MACOMB             MI    48044‐5213
LANA J SCHAAF                                    7887 COOKE JONES ROAD                                                                           WAYNESVILLE        OH    45068‐9729
LANA J VANDE HEI                                 7200 E ROTAMER RD                      ROUTE 1                                                  MILTON             WI    53563‐9756
LANA K HERSKOVITZ CUST TOD KERSKOVITZ UTMA CA    193 EXETER PL                                                                                   SAINT PAUL         MN    55104‐5708

LANA K TAYLOR                                    831 S MAIN ST                                                                                   KOKOMO             IN    46901‐5458
LANA L FRITTS                                    3212 CAROLYN DR W                                                                               UNIVERSITY PLACE   WA    98466‐2531

LANA L WILSON                                    4 AMBER WAVE COURT                                                                              O FALLON           MO    63366
LANA L WUNDERLIN                                 ATTN LANA L BAICH                      514 HIGH ST                                              LOCKPORT           NY    14094‐4716
LANA M COLEMAN                                   1801 N KESSLER BLVD                                                                             INDIANAPOLIS       IN    46222
LANA M COLEMAN & ALBERT COLEMAN JT TEN           1801 N KESSLER BLVD                                                                             INDIANAPOLIS       IN    46222
LANA M EWING                                     311 MARBLE STREET                                                                               CADILLAC           MI    49601‐2609
LANA M KNEZEK                                    ATTN LANA DUGAN                        11090 NAVES DR                                           SHELBY TOWNSHIP    MI    48316‐3751

LANA M LIE                                       6883 PINE BROOK DRIVE                                                                           HUDSONVILLE      MI      49426‐9338
LANA N MAJERSKY                                  2859 ANDERSON‐ANTHONY ROAD                                                                      WARREN           OH      44481‐9426
LANA R HAGEN                                     23405 SE 246TH PL                                                                               MAPLE VALLEY     WA      98038‐8367
LANA R ROTTMAN                                   5990 TREAT HWY                                                                                  ADRIAN           MI      49221‐8612
LANA WECHSLER                                    1125 PARK AVE                                                                                   NEW YORK         NY      10128‐1243
LANA Y MAJERSKY                                  2859 ANDERSON ANTHONY RD                                                                        WARREN           OH      44481
LANARY R CULPEPPER                               PO BOX 1772                                                                                     SAGINAW          MI      48605‐1772
LANBERT B WEST                                   9200 MCLENNAN AVENUE                                                                            NORTHRIDGE       CA      91343‐3521
LANCE A GOLGATA                                  38 LAKESHORE DR                                                                                 MARLBOROUGH      MA      01752‐4209
LANCE A HARRIS                                   3001 EAST J STREET                                                                              TACOMA           WA      98404‐3220
LANCE A HOUSTON                                  5803 PEARSON RD                                                                                 HITCHCOCK        TX      77563
LANCE A MORGAN                                   18620 E CHELTON DR                                                                              BEVERLY HILLS    MI      48025‐5219
LANCE A NORRIS                                   38564 FLORENCE                                                                                  WESTLAND         MI      48185‐8801
LANCE A WENDT                                    1318 LAFAYETTE AVE                     NIAGRA FALLS                                             NIAGARA FALLS    NY      14305
LANCE A WENTWORTH                                11505 GRASSLAND RD                                                                              COLORADO SPRINGS CO      80925‐9515

LANCE B BERNARD                                  1071 MARSHALL LAKE RD                                                                           TORRINGTON         CT    06790‐2008
LANCE C ESTES & KIMBERLY SNYDER ESTES JT TEN     2850 N APPLE VALLEY CT                                                                          ATWATER            CA    95301‐9459
LANCE C MINOR III                                6 NICOLL DR                                                                                     ANDOVER            MA    01810‐6051
LANCE C THIBAULT                                 1633 LONG LEAF                                                                                  SAINT LOUIS        MO    63146
LANCE CLAXTON                                    1643 E 33RD AVE                                                                                 HOBART             IN    46342‐1211
LANCE D ATKINSON                                 124 3RD ST                                                                                      MACON              GA    31201‐3404
LANCE D BLACKCHIEF                               546 BLOOMINGDALE ROAD                                                                           BASOM              NY    14013‐9753
LANCE D MCGHEE                                   18110 BIRCHCREST DR                                                                             DETROIT            MI    48221‐2737
LANCE DUNCAN                                     10914 DOGWOOD DRIVE                                                                             LA PORTE           TX    77571
LANCE E DIAL                                     1119 N HAMILTON                                                                                 MARISSA            IL    62257‐1146
LANCE E KORTEN                                   295 N 22ND ST                                                                                   EL CENTRO          CA    92243‐5511
LANCE E MERRIWETHER                              425 E PARKWAY                                                                                   FLINT              MI    48505‐5213
LANCE E RAYBOULD & SALLIE S RAYBOULD JT TEN      21716 LOCH HAVEN PASS                                                                           LEESBURG           FL    34748‐7561
LANCE E ROBINS                                   391 EAGLE LN                                                                                    VACAVILLE          CA    95687‐7229
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit E
                                                                                      Part 4 of 8 Pg 649 of 855
Name                                              Address1                             Address2                  Address3               Address4                   City            State Zip

LANCE E SMITH                                     PO BOX 21                                                                                                        BATESVILLE      IN    47006‐0021
LANCE ENNEN                                       451 DUDLEYVILLE RD                                                                                               GREENVILLE      IL    62246‐3857
LANCE G FERGUSON                                  823 PENFIELD ST                                                                                                  BRONX           NY    10470‐1322
LANCE GOUTHRO                                     1413 COVENTRY RD                                                                                                 CONCORD         CA    94518‐1120
LANCE H CAMP & SYLVIA S CAMP JT TEN               29 TARRAGONA COURT                                                                                               ST AUGUSTINE    FL    32086‐7676
LANCE HARTIGAN CUST ADRIEN HARTIGAN UGMA MI       20352 OSMUS ST                                                                                                   LIVONIA         MI    48152

LANCE J BATCHELOR                                 6808 ANTIOCH RD                      APT 143                                                                     MERRIAM         KS    66204‐1279
LANCE J GARTH & KATHLEEN T GARTH JT TEN           174 ROCKLAND ST                                                                                                  SOUTH           MA    02748‐2328
                                                                                                                                                                   DARTMOUTH
LANCE JAY OSHIER                                  14114 VANGUARD WAY                                                                                               ODESSA          FL    33556‐4314
LANCE JOSEPH MCGRAY                               797 HILL RD                                                                                                      HARWINTON       CT    06791‐2713
LANCE K WILSON                                    5961 MANISTIQUE                                                                                                  DETROIT         MI    48224‐2927
LANCE KUTZNER                                     1512 HERITAGE DR                                                                                                 VALRICO         FL    33594‐5113
LANCE L ACKER CUST ROSALYN M ACKER UGMA MI        6814 CAIRN HGWY                                                                                                  KEWADIN         MI    49648‐9778

LANCE L JOHNSON JR & MARY J JOHNSON JT TEN        24 BAINBRIDGE WAY                                                                                                BLUFFTON        SC    29910‐9540
LANCE L LYON                                      1512 5TH ST                                                                                                      CHETEK          WI    54728‐8916
LANCE L ROBINSON                                  4319 WALTON PL                                                                                                   SAGINAW         MI    48603‐2074
LANCE LAWRENCE                                    8140 N 107TH AVE                     UNIT 119                                                                    PEORIA          AZ    85345‐7574
LANCE M LACKEY                                    9266 HILLCREST                                                                                                   CLARKSTON       MI    48348
LANCE M SCHILLER & MRS SHEILA Y SCHILLER JT TEN   2711 W PETERSON AVE                                                                                              CHICAGO         IL    60659‐3919

LANCE M TARD                                      1257 LAUGHREN                                                                                                    U CITY          MO    63130‐1538
LANCE MASER & JENNIFER MASER JT TEN               958 SANFORD LANE                                                                                                 AUGRES          MI    48703‐9517
LANCE OWENS                                       5310 BUCKINGHAM CIRCLE                                                                                           TOBYHANNA       PA    18466‐4018
LANCE P DURBAN                                    C/O MANUTECH                         8181 NW 91 TERRACE #10                                                      MIAMI           FL    33166‐2135
LANCE PIOTROWSKI                                  10327 S 74TH AVE                                                                                                 PALOS HILLS     IL    60465
LANCE R HUSSER                                    10 WOODSTOWN ALLOWAY RD                                                                                          WOODSTOWN       NJ    08098‐1040
LANCE R MARCHKY                                   PO BOX 68                                                                                                        KELLEYS IS      OH    43438‐0068
LANCE RANDALL COOK                                3401 MARVO CT                                                                                                    MIDLAND         MI    48640‐2220
LANCE SCOTT BAUERLE                               4006 CULVER RD                                                                                                   ROCHESTER       NY    14622‐1240
LANCE THOMAS                                      10401 CRAWFORD RD                                                                                                HOMERVILLE      OH    44235‐9755
LANCE V LARSON                                    4037 SLEEPING INDIAN RD                                                                                          FALLBROOK       CA    92028
LANCE W ERICKSON                                  2165 REGENT PARK DRIVE                                                                                           BELLBROOK       OH    45305‐1844
LANCE W FLOYD                                     19263 DEQUINDRE                                                                                                  DETROIT         MI    48234‐1280
LANCE W LINDELL                                   409 ENGLEWOOD AVE                                                                                                ROYAL OAK       MI    48073‐2669
LANCER C C CHOW                                   1389 W 7TH ST                                                                                                    BROOKLYN        NY    11204‐4830
LAND OF ENCHANTMENT & CO                          STATE OF NEW MEXICO                  UNCLAIMED PROPERTY UNIT   MANUEL LUJAN DR BLDG   1200 SOUTH ST FRANCIS DR   SANTA FE        NM    87509‐0001

LANDELL T LAWSON                                  11333 MERRIMAN                                                                                                   LIVONIA         MI    48150‐2848
LANDER GILYARD JR                                 2038 SAINT IVES DR                                                                                               ALLEN           TX    75013‐2911
LANDERS PRUITT JR                                 3514 MIBOURNE AVE                                                                                                FLINT           MI    48504
LANDO MAYNARD                                     7418 STATE ROUTE 3                                                                                               CATLETTSBURG    KY    41129‐9644
LANDON CARPENTER                                  2871 SHIRLEY DR                                                                                                  NEWBURY PARK    CA    91320‐3074
LANDON R CARTER                                   518 N WOODWARD AV                                                                                                DAYTON          OH    45417‐2463
LANE B SCHARICH                                   1707 N RIVER RD                                                                                                  BAY CITY        MI    48708‐9500
LANE DAWSON MORGAN                                506‐47TH AVE COURT                                                                                               EAST MOLINE     IL    61244‐4236
LANE E CAREY                                      428 BOYD'S CORNER ROAD                                                                                           MIDDLETOWN      DE    19709‐9743
LANE E JENSEN                                     3022 CORAL RD                                                                                                    EDMORE          MI    48829‐8316
LANE JULIAN                                       111 JOSEPH ST                                                                                                    BAY CITY        MI    48706‐3933
LANE KAY MATTHEWS                                 PO BOX 3041                                                                                                      JUPITER         FL    33469‐1000
LANE V PECK                                       40 L ST                                                                                                          CHULA VISTA     CA    91911‐1440
LANE ZUCKERMAN CUST BRIAN ZUCKERMAN UGMA NY       49 EDWARD DR                                                                                                     FREEHOLD        NJ    07728‐1310
                                                                                                                                                                   TOWNSHIP
LANELL B GREGG                                    6255 LOS ROBLES DR                                                                                               COLLEGE STA     TX    77845‐6103
LANELL JARRETT                                    G‐5485 DETROIT ST                                                                                                FLINT           MI    48505‐1243
LANELLE MILLER JALOWIEC                           PO BOX 1006                                                                                                      LEBANON         NH    03766‐4006
LANET L SCHISLER                                  4090 THORNWOOD LANE                                                                                              WILLIAMSVILLE   NY    14221
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 650 of 855
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

LANETTE A SQUARE                                 1024 STATE ROUTE 37                                                                            BOMBAY           NY    12914‐1825
LANETTE DISS                                     36 W SUGARMAPLE COURT                                                                          BEVERLY HILLS    FL    34465
LANETTE L THOMAS                                 12655 LAING ST                                                                                 DETROIT          MI    48224‐1093
LANETTE R DAVIS & LEANNE J SCHMIDT JT TEN        3189 ALLEN RD                                                                                  ORTONVILLE       MI    48462‐9034
LANEY F WALLACE                                  2345 TERNESS                                                                                   WATERFORD        MI    48329‐3972
LANG H REESE                                     1401 JEFFERSON ST                                                                              HYATTSVILLE      MD    20782‐3451
LANG M ENTREKIN                                  3913 WOODVALLEY DR                                                                             AIKEN            SC    29803‐8855
LANGDON G CARICO TOD RICHARD CARICO SUBJECT TO   600 ST FRANCIS ROAD                                                                            BALTIMORE        MD    21286
STA TOD RULES
LANGHORNE A MESSENGER                            64 WESTMINSTER DRIVE                                                                           WEST HARTFORD    CT    06107‐3354
LANGLEY WHITLEY MC KINNEY                        6920 WICK LANE                                                                                 ROCKVILLE        MD    20855‐1961
LANGSTON GEORGE                                  335 CATIVO DR SW                                                                               ATLANTA          GA    30311‐2103
LANGSTON R BURRELL                               215 EAST FRONT ST APT 507                                                                      TRENTON          NJ    08611‐1746
LANI WASSERMAN SMITH                             603 RUE CHAVANIAC                                                                              LAFAYETTE        LA    70508‐7321
LANIE G LIGGINS                                  221 SAGEMONT DR                                                                                HOPKINS          SC    29061‐8656
LANIESIA S POWELL                                5209 SYCAMORE DR                                                                               JACKSON          MS    39212
LANKTUM MIMS                                     343 S 14TH ST                                                                                  SAGINAW          MI    48601‐1843
LANNA BEST STONE                                 4711 CLIFT HAVEN                                                                               HOUSTON          TX    77018‐3219
LANNA J WOLFENBARGER                             PO BOX 197                                                                                     LEDBETTER        KY    42058‐0197
LANNA R KERSEY                                   5424 STATE RT 5                                                                                ASHLAND          KY    41102‐8507
LANNALL Y CAMPBELL                               361 BEECHWOOD                                                                                  RIVER ROUGE      MI    48218‐1039
LANNIE H SANDERS                                 2654 SILAS MERCER RD                                                                           CRAWFORDVILLE    GA    30631‐1913
LANNY A DEVIEW                                   147 LAKE RIDGE DR                                                                              MASON            MI    48854‐9279
LANNY A RAPER                                    32130 BLOCK                                                                                    GARDEN CITY      MI    48135‐1503
LANNY B LAMBERT                                  799 DUNE RD                                                                                    WESTHAMPTON      NY    11978‐2948
                                                                                                                                                BEACH
LANNY D ABNEY                                    7528 WILLSEY LN                                                                                PLAINFIELD       IN    46168‐8525
LANNY D HALEY                                    8293 SUNBURST DR                                                                               CINCINNATI       OH    45241‐1476
LANNY DUNIGAN                                    7103 LUCY DR                                                                                   DEXTER           MI    48130‐9666
LANNY E LEE                                      2610 BIG BUCK DR                                                                               LEWISTON         MI    49756‐9254
LANNY G LUMSDEN & JANICE M SURIAN JT TEN         9711 GEDDES RD                                                                                 SAGINAW          MI    48609‐9210
LANNY G WININGER                                 1085 WITT ROAD                                                                                 BOWLING GREEN    KY    42101‐9693
LANNY J GAYHEART & PAMELA K GAYHEART JT TEN      8400 HONEY CREEK RD                                                                            MUNCIE           IN    47302‐8154

LANNY J WILLIAMS                                 4661 ASHWOOD DR W                                                                              SAGINAW          MI    48603‐1005
LANNY J WILLIAMS & LINDA L WILLIAMS JT TEN       4661 ASHWOOD DR W                                                                              SAGINAW          MI    48603‐1005
LANNY L BEAMAN                                   31236 EDGEWORTH                                                                                MADISON HGHTS    MI    48071‐1076
LANNY L NICHOLAS                                 3989 E COUNTY ROAD 900 N                                                                       MOORELAND        IN    47360‐9794
LANNY M MEISTER                                  711 MEDFORD CTR                       #PMB‐274                                                 MEDFORD          OR    97504‐6772
LANNY R ADAMS                                    28672 SIBLEY                                                                                   ROMULUS          MI    48174‐9745
LANNY R BENSON CUST LANNY ROSS BENSON JR UTMA    120 OLD MILL CT                                                                                PONTE VEDRA      FL    32082‐4133
FL
LANNY R COOPER                                   842 BRIARPATCH LN                                                                              GREENWOOD        IN    46142‐3705
LANNY R MILLER                                   900 DAMON ST                                                                                   AKRON            OH    44310‐3419
LANNY R NEIGHORN                                 7393 N DURAND RD                                                                               NEW LOTHROP      MI    48460‐9719
LANNY S WLODARSKI                                1097 FIENEMANN ROAD                                                                            FARMINGTON       CT    06032‐3036
LANNY W RHOADS                                   140 S RIDGEWOOD ROAD                                                                           KENTFIELD        CA    94904‐2732
LANO T WILSON JR                                 8095 SODERLUND                                                                                 MILLINGTON       TN    38053‐5826
LANOKA A SAK                                     1466 BOYD ST                                                                                   TROY             MI    48083‐5406
LANSDALE G SASSCER JR                            14507 ELM STREET                                                                               UPPER MARLBORO   MD    20772‐3006

LANSING CITY RESCUE MISSION                      607 E MICH AVE                                                                                 LANSING          MI    48912‐1152
LANSON STRATTON                                  PO BOX 905                                                                                     COLFAX           CA    95713‐0905
LANSTON G PATTERSON                              5871 49TH AVE N                                                                                KENNETH CITY     FL    33709‐3558
LANXTER WEBBER                                   ATTN VICTORIA P WEBBER                3400 29TH AVE                                            TEMPLE HILLS     MD    20748‐1232
LANYARD O CAREY                                  19230 MC INTYRE                                                                                DETROIT          MI    48219‐1859
LANZA K COBB                                     15143 GREENVIEW                                                                                DETROIT          MI    48223‐2355
LANZO WATSON                                     4902 BEECHWOOD RD                                                                              CINCINNATI       OH    45244‐1257
LAOTA MYERS                                      3120 BAYOU SOUND                                                                               LONGBOAT KEY     FL    34228‐3006
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 651 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

LAP HING LEUNG                                   14141 W NINE MILE RD                                                                          OAK PARK        MI    48237‐2620
LAPEARSON PITTMAN                                3709 BRILL STREET                                                                             INDIANAPOLIS    IN    46227‐1204
LAPHELIA J EDMONDSON                             5052 NORTH HENDERSON                                                                          DAVISON         MI    48423‐8513
LAQUITA A RASNIC                                 4805 HASSAN CIR                      APT 16                                                   DAYTON          OH    45432‐1306
LARA JO SCHMIDT & NANCY JO SCHMIDT JT TEN        59 HAWK DR                                                                                    BEDFORD         NH    03110‐4805
LARA M ANDERSON                                  7890 SABALRIDGE DRIVE                                                                         N CHARLESTON    SC    29418
LARA MARIE DI LIBERTI                            7325 SE HARRISON CT                                                                           PORTLAND        OR    97215‐4141
LARA SANDERS                                     4311 DALE AVENUE                                                                              NASHVILLE       TN    37204‐4125
LARAE C BROWN                                    216 LEMON DR # 224                                                                            RENO            NV    89506
LARAE E HANSEN                                   21122 49TH AVE SE                                                                             BOTHELL         WA    98021‐7972
LARAINE JONES                                    1712 BRIGHTON WAY                                                                             DALTON          GA    30721‐8387
LARAYE I RODRIGUEZ & DANIEL RODRIGUEZ JT TEN     1420 NOTTINGHAM LANE                                                                          HOFFMAN EST     IL    60169

LARCELLOUS WILLIAMS                              2320 ALJONIAS PL                                                                              TALLAHASSEE     FL    32303‐3801
LAREE F GALLAHER                                 1459 W REID ROAD                                                                              FLINT           MI    48507‐4668
LARENCE ECHOLS                                   3676 E FERRY X                                                                                DETROIT         MI    48211‐3106
LARENNA BAKER                                    15393 15 MILE RD                     APT 213                                                  CLINTON TWP     MI    48035‐2196
LARI L MASTERS‐WILMOTH                           4900 WASHINGTON AVE                                                                           LORAIN          OH    44052‐5722
LARISA S SHAPIRO                                 396 FRENCH RD                                                                                 ROCHESTER       NY    14618‐4806
LARISSA SCHWARTZ                                 16621 DENISE DR                                                                               AUSTIN          TX    78717‐3051
LARISSA THORNTON                                 5321 GREENVIEW DR                                                                             CLARKSTON       MI    48348‐3718
LARK MICHELLE BARRETT & JACK W BARRETT JT TEN    6492 MIAMI LAKES DRIVE EAST                                                                   MIAMI LAKES     FL    33014‐2756

LARLENE F COLEGROVE                              2353 W 17TH ST #2FL                                                                           CLEVELAND       OH    44113‐4301
LARNA BYRD                                       1682 EAST 82ND ST                                                                             CLEVELAND       OH    44103‐3467
LARNA F NEWCOMER & DAVID E NEWCOMER TEN ENT      19 DEVAN AVE                                                                                  UNIONTOWN       PA    15401‐4607

LARNDELL MORGAN                                  4005 W 192ND STREET                                                                           COUNTRY CLUB    IL    60478‐5700
                                                                                                                                               HILLS
LARNELL GREEN                                 64 W FAIRMOUNT AVE                                                                               PONTIAC         MI    48340
LARNELL T BYRD                                29997 SPRING ARBOR                                                                               INKSTER         MI    48141‐1517
LARO I THOMPSON CUST GREGORY J THOMPSON U/THE 501 N PROVIDENCE RD APT 610                                                                      MEDIA           PA    19063‐2545
PA U‐G‐M‐A
LARON D WILKINSON                             4732 FAR HILLS                                                                                   KETTERING       OH    45429‐2302
LARONDA CLYBURN                               23525 RENESSLAER                                                                                 OAK PARK        MI    48237‐6802
LARONE MURPHY                                 10300 4TH ST N                          APT 110A                                                 ST PETERSBURG   FL    33716
LAROY FURTON                                  965 BRIARWOOD DR                                                                                 COOKEVILLE      TN    38501‐1546
LARPHFELA ELLIS CLEMONS                       77 FERNHILL AVE                                                                                  BUFFALO         NY    14215‐3127
LARQUIS E HILLARD & AMY L HILLARD JT TEN      3407 E 8TH STREET                                                                                ANDERSON        IN    46012‐4603
LARRE A ROBERTS                               9437 56TH AVE                                                                                    HUDSONVILLE     MI    49426‐8627
LARREL W HARRIS & MARCELLA J HARRIS JT TEN    ROUTE 4 BOX 614 E                                                                                BUCKHANNON      WV    26201‐9353
LARRIE J LABELLE                              1700 E LANSING RD                                                                                MORRICE         MI    48857‐9752
LARRY A ANDERSON                              2001 CHARLES ST                                                                                  JANESVILLE      WI    53545‐0188
LARRY A ATTKISSON                             227 PATRIOTS LANDING                                                                             FILLMORE        IN    46128‐9477
LARRY A BEADLE                                5278 FISH LAKE RD                                                                                N BRANCH        MI    48461‐9745
LARRY A BENNETT                               4201 WEST BREWER                                                                                 OWOSSO          MI    48867‐9262
LARRY A BERTSCH CUST LANCE E BERTSCH UTMA IN  1406 KENWOOD DR                                                                                  BLUFFTON        IN    46714‐3818

LARRY A BERTSCH CUST LUKAS A BERTSCH UTMA IN     1406 KENWOOD DR                                                                               BLUFFTON        IN    46714‐3818

LARRY A BOELING                                  3834 MAC DUFF                                                                                 OAKLAND         MI    48363‐1700
LARRY A BOELING & GERALD BOELING JT TEN          3834 MAC DUFF                                                                                 OAKLAND         MI    48363‐1700
LARRY A BOLDMAN                                  2100 CELINA RD                       LOT 49                                                   SAINT MARYS     OH    45885‐1265
LARRY A BROWN JR                                 3647 W COLONY RD                                                                              SAINT JOHNS     MI    48879‐9463
LARRY A BURNS                                    68754 CORNERSTONE DR                                                                          WASHINGTON      MI    48095‐2925
LARRY A CAMERON                                  14322 COUNTY ROAD 171                                                                         DEFIANCE        OH    43512‐9327
LARRY A COHEN                                    219 HOLLYWOOD AVE                                                                             YOUNGSTOWN      OH    44512‐1226
LARRY A COURTNEY                                 1918 E 45TH ST                                                                                ANDERSON        IN    46013‐2528
LARRY A CRABTREE & NANCY E CRABTREE JT TEN       2464 DAILEY ROAD                                                                              NEW VIENNA      OH    45159‐9709
                                                09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 652 of 855
Name                                              Address1                           Address2                  Address3     Address4          City             State Zip

LARRY A CRAWFORD                                  1565 NOTE DAME DR                                                                           BONNE TERR       MO    63628‐2918
LARRY A DENIER                                    1100 GLEN ANNIE ROAD                                                                        GOLETA           CA    93117‐1413
LARRY A DEVRIES                                   4206 MOHAWK                                                                                 GRANDVILLE       MI    49418‐2451
LARRY A DUCKETT                                   11443 ROUGET RD                                                                             BLISSFIELD       MI    49228‐9536
LARRY A DUNNING                                   8494 STANLEY RD                                                                             FLUSHING         MI    48433‐1175
LARRY A EAKIN                                     9992 LAINGSBURG RD                                                                          LAINGSBURG       MI    48848‐9335
LARRY A EHMAN                                     3571 SOUTH 380 E                                                                            ANDERSON         IN    46017‐9753
LARRY A EVANS                                     RR 1 BOX 118                                                                                GIVEN            WV    25245‐9703
LARRY A FALINSKI                                  4150 S ATLANTIC AVE                APT 112D                                                 NEW SMYRNA       FL    32169‐3761
LARRY A FOX                                       4015 S HAYES AVENUE                                                                         SANDUSKY         OH    44870‐5326
LARRY A FRENCH                                    4214 E VIENNA RD                                                                            CLIO             MI    48420‐9752
LARRY A GARWOOD                                   209 WOOD SIDE DRIVE                                                                         W ALEXANDRIA     OH    45381‐9306
LARRY A GATES & JANICE E GATES JT TEN             20885 DECATUR ST                                                                            CASSOPOLIS       MI    49031‐9313
LARRY A GLICK                                     8335 W BEARD RD                                                                             PERRY            MI    48872‐9135
LARRY A GRAHAM                                    1302 CALIFORNIA ROAD                                                                        WILLIAMSBURG     KS    66095‐8015
LARRY A HAECK & MARJOLAINE HAECK JT TEN           9735A MASSACHUSETTS STREET                                                                  OSCODA           MI    48750
LARRY A HAYDEN                                    10424 SANDY RUN RD                                                                          JUPITER          FL    33478‐9335
LARRY A HEMRY                                     2177 SOUTH CUSTER RD                                                                        MONROE           MI    48161‐9701
LARRY A HITCHCOCK                                 173 RAINBOW DR #7395                                                                        LIVINGSTON       TX    77399‐1073
LARRY A HOUSE                                     ATTN JUDITH A FOLEY                2966 MEDITERRANEAN LOOP                                  TAVARES          FL    32778
LARRY A HUNT                                      6164 W US HIGHWAY 36                                                                        MIDDLETOWN       IN    47356‐9743
LARRY A JEFFRIES SR & SANDRA L GRANNIS JT TEN     7118 OAK VILLAGE DR                                                                         HUMBLE           TX    77396‐2637
LARRY A JESSE                                     03932 GLENBURG RD                                                                           NEY              OH    43549‐9785
LARRY A JONES                                     753 S MORGANTOWN RD                                                                         MORGANTOWN       IN    46160‐9561
LARRY A KEARNS                                    6602 TOWNSHIP ROAD 29                                                                       MANSFIELD        OH    44904‐9383
LARRY A KERN                                      246 WILEMAN DR                                                                              EDGERTON         WI    53534‐1642
LARRY A KESTER                                    4256 E COUNTY RD 400 S                                                                      MIDDLETOWN       IN    47356‐9505
LARRY A KINSEY & CRYSTAL L KINSEY JT TEN          308 WEST 4TH STREET                                                                         LAMPASAS         TX    76550‐2741
LARRY A KIRKLAND                                  4777 CHAMBLEE TUCKER RD                                                                     TUCKER           GA    30084‐2504
LARRY A KJELDSEN                                  441 HEMLOCK CT                                                                              NOBLESVILLE      IN    46060‐8866
LARRY A KOTWITZ                                   7718 TOCOHO TRL                                                                             EDGERTON         WI    53534‐9717
LARRY A LARNER                                    216 HARPERS WAY                                                                             LANSING          MI    48917‐9610
LARRY A LEE                                       3938 TIMBER LN                                                                              YOUNGSTOWN       OH    44511‐2537
LARRY A LEGAUX & ANN G LEGAUX JT TEN              9431 MORRISON ROAD                                                                          NEW ORLEANS      LA    70127‐2218
LARRY A LOECKEL                                   34 MARGARET DR                                                                              LAKESIDE         OH    43440‐2546
LARRY A LOHR                                      699 N HARDING                                                                               HARRISON         MI    48625‐7403
LARRY A LUTTIG                                    213 N PINE ST                                                                               FOWLER           MI    48835‐9291
LARRY A MARKS                                     609 MARSHALL ST                                                                             DEALE            MD    20751‐9711
LARRY A MAY                                       220 WEST BERKLEY                                                                            MUNCIE           IN    47303‐1111
LARRY A MORITZ                                    26827 WOODLAND CT                                                                           MILLBURY         OH    43447‐9792
LARRY A MURPHY                                    2874 W GARDENIA DR                                                                          DUNNELLON        FL    34434
LARRY A NANCE                                     6376 E 600 N                                                                                WINDFALL         IN    46076‐9354
LARRY A NELSON                                    5430 RIDGE ROAD                                                                             HALE             MI    48739‐9172
LARRY A NITZ                                      2551 W AB AVE                                                                               PLAINWELL        MI    49080‐9639
LARRY A OLNEY & BARBARA C OLNEY JT TEN            11 SPARROW NEST POINT                                                                       DATAW ISLAND     SC    29920‐3076
LARRY A OLSON                                     12402 SO MERIDIAN                                                                           PUYALLUP         WA    98373‐3416
LARRY A OPRIS                                     29715 WESTBROOK                                                                             WARREN           MI    48092‐5430
LARRY A ORNELAS                                   7691 ANDERSON AVE NE                                                                        WARREN           OH    44484‐1524
LARRY A PALMER                                    1554 DUFFUS NE                                                                              WARREN           OH    44484‐1103
LARRY A PALMER & LINDA C PALMER JT TEN            1554 DUFFUS NE                                                                              WARREN           OH    44484‐1103
LARRY A PARKER                                    420 RAMBLE ROAD                                                                             WAVERLY          OH    45690‐1517
LARRY A PARKER & CLARENCE E PARKER JT TEN         316 CALIFORNIA AVE #721                                                                     RENO             NV    89509‐1650
LARRY A PLEIMAN                                   8880 N STAR‐FT LORAMIE                                                                      YORKSHIRE        OH    45388‐9750
LARRY A PRIEBE                                    18291 FIVE POINT                                                                            REDFORD          MI    48240‐1710
LARRY A PYKE                                      6565 WALTON                                                                                 INDIANAPOLIS     IN    46241‐1044
LARRY A QUEEN                                     2370 ROCKINGHAM DR                                                                          TROY             OH    45373‐9227
LARRY A ROBERSON                                  11665 VERONA ST                                                                             YUCAIPA          CA    92399‐3552
LARRY A ROSS                                      11316 WY CO RD 53                                                                           UPPER SANDUSKY   OH    43351
LARRY A RUTHERFORD                                4517 NOHL CREST DR                                                                          FLOWERY BR       GA    30542‐4610
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 653 of 855
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

LARRY A SAGERS                                    478 CONCORD WAY                                                                               XENIA              OH    45385‐5905
LARRY A SALVADOR                                  4475 JACKSON                                                                                  DEARBORN HGTS      MI    48125‐3011
LARRY A SANDERS                                   PO BOX 66                                                                                     CLARKSVILLE        AR    72830‐0066
LARRY A SARVER                                    9022 FAULK RD                                                                                 CROWLEY            LA    70526‐7606
LARRY A SHAVER                                    19 EXETER PL                                                                                  ROCHESTER          NY    14623‐4107
LARRY A SIPES                                     6900 COMMANCHE COURT                                                                          JOHNSTOWN          CO    80534
LARRY A SKRABUT                                   1177 E 1710 S                                                                                 SPANISH FORK       UT    84660‐5913
LARRY A SMITH                                     19601 CHERRY HILL                                                                             SOUTHFIELD         MI    48076‐5317
LARRY A SMITH                                     211 STATE                                                                                     FRANKLIN           IL    62638‐4910
LARRY A SPLINTER                                  2204 MORELAND                                                                                 JANESVILLE         WI    53545‐0154
LARRY A STAPLETON                                 51 ABERFIELD LN                                                                               MIAMISBURG         OH    45342‐6625
LARRY A STEGE                                     1001 STARKEY RD LOT 529                                                                       LARGO              FL    33771‐5421
LARRY A STOVALL                                   RT 3 BOX 273‐1                                                                                TECUMSEH           OK    74873‐9365
LARRY A STRAUS                                    230 HOVENKAMP                                                                                 KELLER             TX    76248‐3417
LARRY A STREDNEY                                  839 FREDERICK STREET                                                                          NILES              OH    44446‐2719
LARRY A SWANSEY                                   8881 FOSTER RD                                                                                CLARKSTON          MI    48346‐1966
LARRY A TORKELSON CUST MARY E TORKELSON UTMA      519 MICHEL PL                                                                                 PLACENTIA          CA    92870‐2020
CA
LARRY A TVEDT                                     120 ALICE ST                                                                                  TUSCUMBIA          AL    35674‐5997
LARRY A WAHL                                      12345 LAKEFIELD RD                                                                            ST CHARLES         MI    48655‐8566
LARRY A WARCH CUST LARRY A WARCH II UGMA MD       2670 WALSTON ROAD                                                                             MOUNT AIRY         MD    21771‐8812

LARRY A WARCH CUST MICHAEL C WARCH UGMA MD        2670 WALSTON ROAD                                                                             MOUNT AIRY         MD    21771‐8812

LARRY A WAWRZYNIAK CUST LAWRENCE T                33543 MORRISON DR                                                                             STERLING HEIGHTS   MI    48312‐6559
WAWRZYNIAK UTMA MA
LARRY A WELTHER                                   335 S CENTER                                                                                  SEBEWAING          MI    48759‐1410
LARRY A WHITEFIELD & PEGGY WHITEFIELD JT TEN      RT 2 BOX 58                                                                                   SOCORRO            NM    87801

LARRY A WHITFIELD                                 140 QUEENS RD                                                                                 ATHENS             GA    30606‐3130
LARRY A WILKINSON                                 11241 MCENRUE                                                                                 SWARTZ CREEK       MI    48473‐8506
LARRY A WILSON                                    6992 N PRIVATE RD 50W                                                                         BRAZIL             IN    47834‐8262
LARRY A WING                                      401 AVON ST                                                                                   FLINT              MI    48503‐1936
LARRY A YAGER & SUE E YAGER JT TEN                8765 GLEN VIEW DR                                                                             HOWELL             MI    48843‐8112
LARRY A ZARISKE & KATHERINE A ZARISKE TEN ENT     1568 PALOMINO DRIVE                                                                           SAGINAW            MI    48609
LARRY A ZECH                                      2942 JASON DR                                                                                 SANTA ROSA         CA    95405‐8736
LARRY ADEBESIN & DENISE B ADEBESIN JT TEN         14207 CASTLEMOOR COURT                                                                        BURTONSVILLE       MD    20866‐2072
LARRY ADRIAN MAYFIELD                             1806 CHERRY LANE                                                                              FROSTBURG          MD    21532‐9708
LARRY AHLADIS                                     3730 SUNLAND LN                                                                               ESTERO             FL    33928‐4319
LARRY ALAN BERNHARD                               PO BOX 112                                                                                    DEXTER             MI    48130‐0112
LARRY ALAN GOGOLICK                               501 CITIZENS BLDG                                                                             CLEVELAND          OH    44114
LARRY ALAN NEUBER                                 5531 BIRCH HOLLOW CT                                                                          SYLVANIA           OH    43560‐4228
LARRY ALLEN & GAYLE J ALLEN JT TEN                6675 CAMP TANUGA RD NE                                                                        KALKASJA           MI    49646‐9522
LARRY ALLEN KIMMEL                                111 SAND ISLAND DR                                                                            CAMDEN             AL    36726‐3029
LARRY ALLINGHAM & CAROL ALLINGHAM JT TEN          6321 HOFF RD                                                                                  SPRING GROVE       PA    17362
LARRY ANDREWS JR                                  11701 SPINNAKER WAY                                                                           FORT MYERS         FL    33908‐5255
LARRY ANDRIGHETTI                                 13017 BURNINGWOOD DR                                                                          WASHINGTON         MI    48094‐1738
LARRY ARTHUR HARRIS JR                            RR 4 BOX 227D                                                                                 HENDERSONVLLE      NC    28739‐9404
LARRY B BICE                                      425 TRUMBULL CT                                                                               NEWTOWN            PA    18940‐1771
LARRY B BLASDELL                                  PO BOX 67                                                                                     BIRCH RUN          MI    48415‐0067
LARRY B BOWLBY                                    9308 SARASOTA DR                                                                              KNOXVILLE          TN    37923‐2742
LARRY B CAULDER                                   2808 WILMINGTON CIR                                                                           FORT MILL          SC    29715
LARRY B CLARK & MARLENE A CLARK & STACEY A        5926 CALICO LANE                                                                              CANFIELD           OH    44406‐9708
ORBOVICH JT TEN
LARRY B COFFEY                                    2449 AROMORE MANOR                                                                            WINSTON‐SALEM      NC    27103‐4866
LARRY B DANIEL                                    1464 SOUTHWEST BLVD                                                                           WARREN             OH    44485‐3964
LARRY B DUTCH                                     134 NEW ENGLAND RD                                                                            SEARSMONT          ME    04973‐3610
LARRY B HENDERSON                                 7404 NW 113TH TER                                                                             OKLAHOMA CITY      OK    73162‐2733
LARRY B HERNANDEZ                                 9688 RINCON AVE                                                                               PACOIMA            CA    91331‐4151
                                            09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 654 of 855
Name                                          Address1                             Address2             Address3          Address4          City              State Zip

LARRY B HOWELL                                1319 2ND ST                                                                                   BEDFORD HEIGHTS   IN    47421‐1801

LARRY B HUTCHINSON                            399 E 326TH STREET                                                                            WILLOWICK         OH    44095‐3316
LARRY B JONES                                 5330 GOSHEN RD                       LOT 256                                                  FORT WAYNE        IN    46818‐9033
LARRY B KALMAR & KATHLEEN M KALMAR JT TEN     46651 WORCHESTER DR                                                                           MACOMB            MI    48044‐3979
LARRY B LATTA                                 3912                                 PENNER               STREET                              BAKERSFIELD       CA    93312‐3088
LARRY B MENOMINEE                             8130 EDWARD                                                                                   CENTERLINE        MI    48015‐1368
LARRY B MITCHELL                              5354 BRIDGE E TR                                                                              COMMERCE          MI    48382‐4857
                                                                                                                                            TOWNSHIP
LARRY B MOORE                                 ATT                                  3229 PR                                                  METAMORA          MI    48455
LARRY B PETERSON                              3959 NW SIERRA DR                                                                             CAMAS             WA    98607‐8537
LARRY B PORTER                                4015 ELM GROVE ROAD                                                                           ROWLETT           TX    75089‐9515
LARRY B RONDO                                 4573 WALL                                                                                     SAGINAW           MI    48603‐4675
LARRY B SINGLETON                             5445 STATLER DR                                                                               BURTON            MI    48509‐1348
LARRY B SPIERS & LINDA J SPIERS JT TEN        5254 W MELINDA LN                                                                             GLENDALE          AZ    85308‐9304
LARRY B THOMPSON                              3126 SCHOOLHOUSE DRIVE                                                                        DRAYTON           MI    48020
LARRY B THOMPSON                              449 LAKE AVE                                                                                  LANCASTER         NY    14086‐9666
LARRY B TURNER                                17501 NORWOOD RD                                                                              SANDY SPRING      MD    20860‐1302
LARRY BAKER                                   1755 ACADEMY PLACE                                                                            DAYTON            OH    45406‐4602
LARRY BALAS                                   2551 WOODWAY AVE                                                                              DAYTON            OH    45406‐2153
LARRY BALDWIN                                 19706 OAKWOOD AVE                                                                             LYNWOOD           IL    60411‐6332
LARRY BEAN                                    1750 W CHRISTMAS RD                                                                           CHRISTMAS         FL    32709
LARRY BELIN                                   PO BOX #549                                                                                   FLINT             MI    48501‐0549
LARRY BETTS                                   39 KELLY ST                                                                                   HAVERHILL         MA    01832‐3411
LARRY BIEGANOWSKI                             17399 EASTLAND ST                                                                             ROSEVILLE         MI    48066‐2020
LARRY BIZZOCO                                 107 MAPLE AVE                                                                                 RYE               NY    10580‐1540
LARRY BOWLING                                 13404 S R 18                                                                                  SHERWOOD          OH    43556
LARRY BREW                                    6837 CHAMPAIGN                                                                                ST LOUIS          MO    63033‐5204
LARRY BRIAN SORRELL                           6324 CLOVERDALE DR                                                                            COLUMBIA          SC    29209‐1800
LARRY BROOKINS                                5329 GAINBOROUGH CT                                                                           INDIANAPOLIS      IN    46254‐1794
LARRY BUCCIERO                                30520 AUSTIN                                                                                  WARREN            MI    48092‐1830
LARRY BUFORD JENKINS                          414 E BAKER                                                                                   FLINT             MI    48505‐4359
LARRY BURNS                                   5245 MOCERI LANE                                                                              GRAND BLANC       MI    48439‐4375
LARRY BURNS                                   1663 HWY 275 77                                                                               FREMONT           NE    68025‐7865
LARRY BURRIS                                  12902 N HIGH HAWK DR                                                                          MARANA            AZ    85658
LARRY BURRIS                                  12902 N HIGH HAWK DR                                                                          MARANA            AZ    85658
LARRY BUTLER                                  3038 STATE ROUTE 65                                                                           LEIPSIC           OH    45856
LARRY C BALLARD                               419 HEMLOCK DR                                                                                DAVISON           MI    48423‐1921
LARRY C BLOCKER                               1294 W 1000S CI                                                                               CLOVERDALE        IN    46120
LARRY C BONI                                  9215 MAPLE RIDGE DR                                                                           NEWPORT           MI    48166‐9294
LARRY C BROWN                                 516 N 970 E                                                                                   SPANISH FORK      UT    84660‐1691
LARRY C BRUG                                  20 SABOR DE SAL RD                                                                            ST AUGUSTINE      FL    32084‐6983
                                                                                                                                            BEACH
LARRY C BURNS                                 2619 MEADOW WAY                                                                               ANDERSON          IN    46012‐9451
LARRY C BURROUGHS                             27084 HOFFMAN RD                                                                              DEFIANCE          OH    43512‐8979
LARRY C BUSHMAN                               2543 GREENSIDE DR                                                                             DAYTON            OH    45431‐8601
LARRY C CALMES                                1593 JOLLY GREEN COURT                                                                        CONLEY            GA    30288
LARRY C ELKINS                                4271 MAHONING ROAD                                                                            DIAMOND           OH    44412‐9740
LARRY C FADERER                               7819 BLAZER AVE                                                                               JUSTICE           IL    60458‐1321
LARRY C FLETCHER                              3391 AUBURN CT                                                                                GREENWOOD         IN    46143‐9259
LARRY C FLETCHER & ANN D FLETCHER JT TEN      3391 AUBURN CT                                                                                GREENWOOD         IN    46143‐9259
LARRY C FULLHART                              900 HILLSDALE DR                                                                              KOKOMO            IN    46901‐3645
LARRY C GERDES & MARY ANN GERDES JT TEN       2510 PARKVIEW DR                                                                              GRAND ISLAND      NE    68801‐7570
LARRY C GILL                                  1426 FARIS                                                                                    U CITY            MO    63130‐1803
LARRY C GILLEM                                1905 13TH ST S                                                                                SAINT CLOUD       MN    56301‐4865
LARRY C HENDRICKS                             24486 LORETTA AVE                                                                             WARREN            MI    48091‐4468
LARRY C JACOBS                                708 SUGAR BAND DR                                                                             COLUMBIA          TN    38401‐6001
LARRY C JONES                                 8430 WEBSTER RD                                                                               CLIO              MI    48420‐8553
LARRY C KINER                                 6117 STONE RD                                                                                 MEDINA            OH    44256‐7701
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 655 of 855
Name                                             Address1                              Address2                Address3       Address4          City               State Zip

LARRY C KNOBEL                                   12172 BENNINGTON PLACE                                                                         MARYLAND HEIG      MO    63043‐1106
LARRY C KOOGLER                                  5211 CRESCENT RIDGE DR #5184                                                                   CLAYTON            OH    45315‐9681
LARRY C KOWALSKI                                 859 MORO LN                                                                                    DANVILLE           IN    46122‐8511
LARRY C MCCOY                                    15399 SOUTH 66                                                                                 DEFIANCE           OH    43512‐6803
LARRY C MORROW                                   4310 BROOKTREE LN                                                                              DALLAS             TX    75287‐6722
LARRY C NEELY                                    R T R BOX 5461                                                                                 CORNING            CA    96021‐5461
LARRY C RUNYON                                   1281 HAWTHORNE AV                                                                              YPSILANTI          MI    48198‐5943
LARRY C SHERSTAD                                 4836 NAHANE WAY                                                                                JACKSONVILLE       FL    32259‐2177
LARRY C STARKEL                                  PO BOX 1297                                                                                    CRAWFORDVILLE      FL    32326‐1297
LARRY C TEEGARDEN TR GEORGE G TEEGARDEN TRUST 1022 SW 4TH PLACE                                                                                 CAPE CORAL         FL    33991‐2524
UA 06/03/98
LARRY C TEST                                     25228 ANNAPOLIS                                                                                DEARBORN HTS       MI    48125‐1816
LARRY C WALKER                                   632 THOMAS ST SE                                                                               GRAND RAPIDS       MI    49503‐5535
LARRY C WRIGHT                                   2068 CROW R0AD                                                                                 GAINESVILLE        GA    30501‐2072
LARRY CAMPBELL                                   #4 MILAN COURT                                                                                 SAGINAW            MI    48601‐1239
LARRY CARL JONES                                 510 W 600 N                                                                                    ALEXANDRIA         IN    46001‐8210
LARRY CARROLL TR UA 02/02/89 LARRY CARROLL TRUST 847 HAWKSBILL ISLAND DR                                                                        SATELLITE BCH      FL    32937

LARRY CHAMBERS                                   387 CASWELL AVE                                                                                OAKLAND            CA    94603‐2105
LARRY CHAPIN                                     5100 WEDGEWOOD RD                                                                              MEDINA             OH    44256‐8870
LARRY CHAPMAN                                    3800 SW BLVD                                                                                   FORT WORTH         TX    76116
LARRY COLDWATER                                  26737 COLDWATER RD                                                                             ELWOOD             IL    60421‐9450
LARRY CONTOS CUST COLIN CONTOS UGMA IN           2103 MIMOSA LN                                                                                 ANDERSON           IN    46011‐1069
LARRY CONTOS CUST COURTNEY CONTOS UGMA IN        108 BEAUVOIR CIRCLE                                                                            ANDERSON           IN    46011‐1909

LARRY CORRIGAN & KATHRYN CORRIGAN JT TEN         5007 GALHOUSE RD                                                                               NORTH PORT         FL    34286
LARRY COWDEN                                     1532 FLORENCE DR                                                                               AZLE               TX    76020‐4312
LARRY CROSBY                                     9961 CR 2422                                                                                   ROYSE CITY         TX    75189
LARRY CROSS & COLLEEN M CROSS JT TEN             2 OLIVER DR                                                                                    NEPTUNE CITY       NJ    07753‐6005
LARRY CUTLER CUST SAMUEL CUTLER UTMA PA          300 CROCKETT STREET                   APARTMENT 228                                            AUSTIN             TX    78704
LARRY D ADKINS                                   16183 MILTON AVE                                                                               LAKE MILTON        OH    44429‐9601
LARRY D ARMSTRONG                                2684 HARLAN RD                                                                                 WAYNESVILLE        OH    45068‐8766
LARRY D ARNOLD                                   903 N WALNUT ST                                                                                DEXTER             MO    63841‐1271
LARRY D AYERS                                    7785 SERVICE AVE SE                                                                            MASURY             OH    44438
LARRY D BALLA                                    222 LIBERTY AVE                                                                                MARYSVILLE         MI    48040‐2565
LARRY D BARBOUR                                  2656 OAK FOREST DR                                                                             ANTIOCH            TN    37013‐1852
LARRY D BARRATT                                  318 E ATER ST                                                                                  PENDLETON          IN    46064‐1049
LARRY D BAUER                                    POST OFFICE BOX 1282                                                                           BEDFORD            IN    47421‐1282
LARRY D BEARD                                    808 VIVIAN                                                                                     COLLINSVILLE       IL    62234‐3737
LARRY D BERENS                                   R ROUTE 1                             10545 PEACH RIDGE AVE                                    SPARTA             MI    49345‐9736
LARRY D BERNARD TOD LINDA S BERNARD SUBJECT TO   9084 MUZETTE COURT                                                                             MIAMISBURG         OH    45342
STA TOD RULES
LARRY D BILBREY                                  8211 CAMPBELL                                                                                  TAYLOR             MI    48180‐2809
LARRY D BISHOP                                   2105 MERIATTA                                                                                  MUSCLE SHOALS      AL    35661‐2617
LARRY D BLAIR                                    1440 S W HEARTWOOD DR                                                                          LEE'S SUMMIT       MO    64081‐2691
LARRY D BOND                                     800W                                  8041 N CR                                                MIDDLETOWN         IN    47356
LARRY D BRADLEY                                  712 LESLIE ST                                                                                  LANSING            MI    48912‐2629
LARRY D BRENKERT                                 35729 WOODVILLA DRIVE                                                                          STERLING HEIGHTS   MI    48312‐4464

LARRY D BRENKERT & KAREN M BRENKERT JT TEN       35729 WOODVILLA DR                                                                             STERLING HEIGHTS   MI    48312‐4464

LARRY D BROWN                                    2013 BUCKINGHAM CT                                                                             DEFIANCE           OH    43512‐8726
LARRY D BROWN                                    3429 LYRIC ST                                                                                  NORMAN             OK    73071‐1546
LARRY D BURNSIDE                                 4050 SAN MARINO ST                                                                             KETTERING          OH    45440‐1316
LARRY D BURR                                     20 WATERPOINT PLAIN                                                                            HAMILTON           OH    45013‐6312
LARRY D CARPP & JOANN M CARPP JT TEN             335 NELSON ST NW                                                                               SPARTA             MI    49345‐1254
LARRY D CARTER                                   7522 SYCAMORE                                                                                  KANSAS CITY        MO    64138‐1269
LARRY D CAYTON                                   510 DITMAR AV                                                                                  PONTIAC            MI    48341‐2620
LARRY D CHRISTENSEN                              1803 WESTVIEW                                                                                  DANVILLE           IL    61832‐1946
                                            09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                Part 4 of 8 Pg 656 of 855
Name                                          Address1                           Address2             Address3          Address4          City            State Zip

LARRY D CLAYPOOL                              5405 S LEE ST                                                                               OKLAHOMA CITY   OK    73109‐8023
LARRY D CLINK                                 1301 KNAPP AV                                                                               FLINT           MI    48503‐3237
LARRY D COMBS                                 313 S COPUS RD                                                                              LIMA            OH    45805‐4110
LARRY D COMBS                                 4971 HOLLOW OAK CT                                                                          HILLIARD        OH    43026‐9694
LARRY D COOK                                  2510 WESLEY AVE                                                                             JANESVILLE      WI    53545‐5705
LARRY D COOPER                                6912 COUNTY LINE RD                                                                         ONTARIO         NY    14519‐9334
LARRY D COOPER                                10771 N COUNTY ROAD 675 W                                                                   MONROVIA        IN    46157
LARRY D COOPERSMITH                           3359 ALCO DR                                                                                WATERFORD       MI    48329‐2209
LARRY D COTE                                  29924 JEFFERSON                                                                             ST CLAIR SHR    MI    48082‐1843
LARRY D COYLE                                 1555 TURTLE CREEK                                                                           MILFORD         MI    48380‐1547
LARRY D CRAVER                                126 RACHEL LN                                                                               INGRAM          TX    78025‐9325
LARRY D CROSBY                                106 WISE ST                                                                                 BRADFORD        OH    45308‐1056
LARRY D CRUSE                                 1141 W CURRY RD                                                                             GREENWOOD       IN    46143‐8674
LARRY D CULBERSON                             9148 N INGRID PLACE                                                                         TUCSON          AZ    85743‐1165
LARRY D DAY                                   8479 N CO RD 400W                                                                           MIDDLETOWN      IN    47356‐9467
LARRY D DRUMMOND                              528 WARRIOR DR                                                                              MURFREES BORO   TN    37128‐5926
LARRY D DUMOND                                11059 E CRONK RD                                                                            CORUNNA         MI    48817‐9741
LARRY D DUNCAN                                6121 LANTERMAN RD                                                                           BETHALTO        IL    62010‐2273
LARRY D DUNN                                  1151 DEVENISH LN                                                                            FLINT           MI    48532‐3526
LARRY D DYKE                                  6262 BALSAM                                                                                 HUDSONVILLE     MI    49426‐9007
LARRY D EAGAN                                 3203 RIDGE ROAD                                                                             WILLIAMS        IN    47470
LARRY D ELLASHEK                              847 FLORIDA AVE                                                                             MCDONALD        OH    44437‐1609
LARRY D ESTERLINE                             8671 HUNTERS CREEK DR                                                                       CLARKSTON       MI    48348‐2881
LARRY D FARIS                                 5315 W HANNA AVE                                                                            INDIANAPOLIS    IN    46221‐3001
LARRY D FAULK                                 23799 SOUTH ROAD                                                                            ATHENS          AL    35613‐3768
LARRY D FISH                                  2734 DARDY DRIVE                   LOT 24                                                   BROOKLYN        MI    49230‐9378
LARRY D FLOYD                                 PO BOX 1141                                                                                 BELOIT          WI    53512‐1141
LARRY D FORREST                               5507 EAST 77TH ST                                                                           INDIANAPOLIS    IN    46250‐2307
LARRY D FREEMAN                               3514 DAKOTA                                                                                 FLINT           MI    48506‐3113
LARRY D FRITTER                               7620 WINDSOR                                                                                PRAIRIE VILG    KS    66208‐4022
LARRY D FRY SR                                7881 FIRST ST                                                                               MASURY          OH    44438‐1471
LARRY D GARBER                                4662 WILD DEER CT                                                                           ROSCOE          IL    61073‐7429
LARRY D GAZAWAY                               15300 SE 73RD ST                                                                            CHOCTAW         OK    73020‐5051
LARRY D GEORGE                                15813 WISCONSIN ST                                                                          DETROIT         MI    48238‐1121
LARRY D GETTEL & BETTY A GETTEL JT TEN        834 ALLEN ST                                                                                CARO            MI    48723‐1486
LARRY D GILKISON                              5548 N CO RD 850 W                                                                          MIDDLETOWN      IN    47356‐9726
LARRY D GONZALEZ                              11025 CRAWFORD ROAD                                                                         SPRINGPORT      MI    49284‐9725
LARRY D GUMFORY                               1651 ONA CIRCLE                                                                             SIMI VALLEY     CA    93063‐4540
LARRY D GUSTKE                                110 HUNTER ST                                                                               APEX            NC    27502‐1314
LARRY D HALL                                  1520 ROC DR                                                                                 WALLED LAKE     MI    48390‐3245
LARRY D HANSCHE                               3485 OLD LANTERN DR                                                                         REDDING         CA    96003‐2182
LARRY D HARRIS                                1336 STATE ROUTE 534 SW                                                                     NEWTON FALLS    OH    44444‐9520
LARRY D HARRIS                                3608 LANDY LANE                                                                             FORT WORTH      TX    76118‐5507
LARRY D HAWKINS                               820 MOON COURT                                                                              MIAMISBURG      OH    45342‐3421
LARRY D HERING                                1612 SAWYER RD                                                                              KENT            NY    14477‐9612
LARRY D HUGHES                                5243 N STATE RD 1                                                                           FARMLAND        IN    47340‐9398
LARRY D HUNLEY                                680 ARLINGTON                                                                               INKSTER         MI    48141‐4011
LARRY D INGRAM                                3679 BETHLEHEM RD                                                                           SPRINGFIELD     TN    37172‐6416
LARRY D JACOBS                                19227 STATE AVE                                                                             TONGANOXIE      KS    66086‐5240
LARRY D JAMISON                               5605 S FLOYD DR                                                                             MUNCIE          IN    47302‐8965
LARRY D JENKINS                               PO BOX 3887                        312 LINGO RD                                             BERNICE         OK    74331‐7036
LARRY D JOHNSON                               13827 NORBY RD                                                                              GRANDVIEW       MO    64030‐3691
LARRY D JOHNSON                               922 HOLGATE DR                     APT B                                                    BALTIMORE       MD    21221‐4240
LARRY D JOHNSON & H JOYCE JOHNSON JT TEN      38 TOELSIN ROAD                                                                             CHEEKTOWAGA     NY    14225‐3225
LARRY D KILGORE                               8500 GURNEY CT                                                                              CENTERVILLE     OH    45458‐2678
LARRY D KINDER & VIRGINIA C KINDER JT TEN     1708 KENNELWOOD WAY                                                                         BOWLING GREEN   KY    42104
LARRY D KINGSBURY                             4595 WHIMBREL PL                                                                            WINTER PARK     FL    32792‐6359
LARRY D KINSER                                1216 SOUTHERN AVE                                                                           NEW CASTLE      IN    47362‐2838
LARRY D KITTLE                                11400 CENTER ROAD                                                                           GARRETTSVILLE   OH    44231‐9709
                                            09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                Part 4 of 8 Pg 657 of 855
Name                                          Address1                           Address2                 Address3      Address4          City             State Zip

LARRY D KOHENSKEY                             18 FIREFLY LN                                                                               TROY             MO    63379‐5388
LARRY D LAREW                                 12750 MIDDLETOWN RD                                                                         SALEM            OH    44460‐9695
LARRY D LARSON                                1253 NIBLOCK ST NW                                                                          WARREN           OH    44485‐2138
LARRY D LAULETTA                              1981 EAST HOUGHTON LAKE DR                                                                  HOUGHTON LAKE    MI    48529
LARRY D LEE                                   512 CYNTHIA DR                                                                              LONGVIEW         TX    75605‐3742
LARRY D LEECH                                 1816 OAKHOLLOW                                                                              NORMAN           OK    73071‐1204
LARRY D LETTS                                 6447 CHICAGO RD                                                                             FLUSHING         MI    48433‐9014
LARRY D MANNING & JOAN E MANNING JT TEN       5199 E STATE RD #218                                                                        LAFONTAINE       IN    46940‐9232
LARRY D MARSH                                 1232 HENRY RUFF RD                                                                          GARDEN CITY      MI    48135‐1429
LARRY D MARSHALL & MARY A MARSHALL JT TEN     340 OAK HARBOR MHP                                                                          HAINES CITY      FL    33844‐9624
LARRY D MARTIN                                258 TANNER RD                                                                               DAWSONVILLE      GA    30534
LARRY D MAXWELL                               6574 W MAY RD                                                                               BLOOMINGTON      IN    47403‐9547
LARRY D MC GRIFF                              13100 NORTHLAWN                                                                             DETROIT          MI    48238‐3043
LARRY D MC MINN                               2293 FOX RUN                                                                                BURTON           MI    48519‐1703
LARRY D MCELHANNON                            27 MANGER AVE                                                                               BETHLEHEM        GA    30620‐2204
LARRY D MERRILL                               2600 PARKER                                                                                 DETROIT          MI    48124‐3369
LARRY D MOONEY                                737 HWY KK                                                                                  TROY             MO    63379‐6607
LARRY D MOORE                                 1708 LINDSAY N LN                                                                           ATHENS           AL    35613‐5218
LARRY D MOORHEAD                              10016 DEVORE DR                                                                             OKLAHOMA CITY    OK    73162‐6237
LARRY D MORGAN                                2805 HOOD DR SW                                                                             WARREN           OH    44481‐8617
LARRY D MOTLEY                                2335 FLAGSTONE DR                                                                           FLUSHING         MI    48433‐2583
LARRY D MOWERY                                12159 N EARLS LN                                                                            CAMBY            IN    46113
LARRY D MOWRY                                 7728 W AKRON ROAD                                                                           FAIRGROVE        MI    48733‐9750
LARRY D NEAL                                  NO 105                             790 NORTH MARINE DRIVE   TUMON         96911 GUAM
LARRY D NEAL                                  17015 S LONE STAR DR                                                                        LOCKPORT         IL    60441‐4006
LARRY D NELSON                                PO BOX 267                                                                                  MARYVILLE        IL    62062‐0267
LARRY D NORRIS SR                             5012 EMMERT DR                                                                              INDIANAPOLIS     IN    46221
LARRY D PARKS                                 720 BLACK MOAT PL                                                                           MIAMISBURG       OH    45342‐2725
LARRY D PETERS                                1741 IRWIN DRIVE                                                                            WATERFORD        MI    48327‐1934
LARRY D PITTMAN                               4258 DESOTO AVE                                                                             ST LOUIS         MO    63107‐1605
LARRY D PLACE                                 107 GRAND AVE                                                                               LEIPSIC          OH    45856‐1343
LARRY D POWELL                                11660E 100S                                                                                 GREENTOWN        IN    46936‐9173
LARRY D PRICE                                 6322 CHURCHVIEW LN                                                                          W CHESTER        OH    45069‐1249
LARRY D PROSSER & VICKI J PROSSER JT TEN      707 BRENTWOOD STREET                                                                        TILTON           IL    61833‐8008
LARRY D RAMSEY                                8479 W 100 N                                                                                FARMLAND         IN    47340‐9230
LARRY D RAMSEY                                1399 BELCHER RD S                  LOT 253                                                  LARGO            FL    33771‐5227
LARRY D REESE                                 210 GABRIEL ST                                                                              VANDALIA         OH    45377‐1913
LARRY D ROBERTS                               102 ROXBURY LN                                                                              NOBLESVILLE      IN    46062‐9051
LARRY D ROBERTS                               BOX 601                            305 N CIMARRON RD                                        TUTTLE           OK    73089‐9115
LARRY D ROBINSON                              118 N CAYCE LN                                                                              COLUMBIA         TN    38401‐5606
LARRY D ROBINSON                              3220 SIMMONS DR                                                                             DEL CITY         OK    73115‐1864
LARRY D ROCKWELL                              2261 ROSEDOWN CT                                                                            CLEBURNE         TX    76033‐5981
LARRY D ROMINE                                7255 W US HIGHWAY 36                                                                        MIDDLETOWN       IN    47356‐9742
LARRY D ROWE                                  5379 S MORRISH RD                                                                           SWARTZ CREEK     MI    48473‐7627
LARRY D SALTSMAN                              114 SPRING AVENUE                                                                           EDMONTON         KY    42129‐8104
LARRY D SARGENT                               7 ST JOHN BLVD                                                                              ENGLEWOOD        FL    34223
LARRY D SAUNDERS                              5861 E 234                                                                                  GREENFIELD       IN    46140‐9044
LARRY D SCHAFER                               8586 TALLMAN RD                                                                             FOWLER           MI    48835‐9735
LARRY D SCOTT                                 2000 N MERIDIAN RD #188                                                                     TALLAHASSEE      FL    32303‐4927
LARRY D SHARP                                 409 SKY HARBOUR CT                                                                          GRANBURY         TX    76049‐1377
LARRY D SHEELY                                2512 E CARTER RD                                                                            KOKOMO           IN    46901‐5736
LARRY D SHERFIELD                             4582 K ROAD                                                                                 BARK RIVER       MI    49807‐9620
LARRY D SHOEMAKER                             11051 S CO RD 600E                                                                          SELMA            IN    47383‐9763
LARRY D SMITH                                 3664 SHOAL                                                                                  WATERFORD        MI    48329‐2262
LARRY D SMITH                                 4279 OAKGUARD COURT                                                                         WHITE LAKE       MI    48383‐1577
LARRY D SMITH & HELEN SMITH JT TEN            1003 SCOTT ST BOX 444                                                                       ELDORADO         IL    62930‐1136
LARRY D SMITH & SYLVIA S SMITH JT TEN         PO BOX 475                                                                                  CHEYENNE WELLS   CO    80810‐0475
LARRY D SOWDER & NANCY F SOWDER JT TEN        6061 BARTLETTSVILLE RD                                                                      BEDFORD          IN    47421‐7964
LARRY D SPEICHER                              1812 AUBURN AVE                                                                             NAPERVILLE       IL    60565‐6700
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 658 of 855
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

LARRY D SPEICHER & BARBARA G SPEICHER JT TEN  1812 AUBURN AVE                                                                                  NAPERVILLE        IL    60565‐6700
LARRY D SPENCER                               9458 HAMILL ROAD                                                                                 OTISVILLE         MI    48463‐9785
LARRY D SPRANKLE                              RD 5 BOX 428                                                                                     DALLAS            PA    18612‐9805
LARRY D STAFFORD                              PO BOX 1215                                                                                      FLINT             MI    48501‐1215
LARRY D STARK                                 PO BOX 209                                                                                       BUTLER            MO    64730‐0209
LARRY D STEVENS                               HCR 67 BOX 99                                                                                    WARSAW            MO    65355‐7810
LARRY D STEWART                               21879 INDEPENDENCE DR                                                                            SOUTHFIELD        MI    48076‐2362
LARRY D STREETER                              11017 NEW LOTHROP                                                                                DURAND            MI    48429‐9470
LARRY D STROBRIDGE                            859 RUSTIC TAVERN RD                                                                             HEDGEVILLE        WV    25427‐6127
LARRY D STURGEON CUST GREGORY A STURGEON UTMA 1510 THORNBERRY RD                                                                               AMELIA            OH    45102‐1748
OH
LARRY D STURGEON CUST KARI A STURGEON UTMA OH 1510 THORNBERRY RD                                                                               AMELIA            OH    45102‐1748

LARRY D SWANEY                                  108 SHOREWOOD PL                                                                               JOSHUA          TX      76058
LARRY D SWARENS                                 18752 MARSHALL COURT                                                                           MOKENA          IL      60448‐9439
LARRY D TABOR                                   310 14TH ST VAN DYKE VILLAGE                                                                   NEW CASTLE      DE      19720
LARRY D TACEY & MARGARET M TACEY TEN ENT        2821 E FISHER RD                                                                               BAY CITY        MI      48706‐3050
LARRY D TATE                                    220 PARKWOOD DR                       APT X11                                                  LANSING         MI      48917‐3208
LARRY D TAYLOR                                  3367 BANCROFT DR                                                                               MELBOURNE       FL      32940‐5929
LARRY D THAXTON                                 201 TIMBERLANE RD                                                                              BRISTOL         TN      37620‐6627
LARRY D THOMAS                                  238 CAMPBELL PK                                                                                ROCHESTER       NY      14606‐1306
LARRY D TRENT                                   152 WINEDING RIDGE ROAD                                                                        DOVER           DE      19904‐9457
LARRY D VINYARD                                 3480 DAVISON LK RD                                                                             ORTONVILLE      MI      48462‐9523
LARRY D WADE                                    W145N5348 THORNHILL DRIVE                                                                      MENOMONEE FALLS WI      53051‐6861

LARRY D WARD                                    1003 PINE ST                                                                                   DEWITT            MI    48820‐9591
LARRY D WELLS                                   2751 N ROCK ISLAND RD                 APT 306                                                  MARGATE           FL    33063‐1214
LARRY D WILLIAMS                                955 HELTONVILLE E RD                                                                           BEDFORD           IN    47421‐8184
LARRY D WILMOTH                                 3809 SEAWARD CIR                                                                               YUKON             OK    73099‐3219
LARRY D WILSON                                  7932 ROSEDALE                                                                                  ALLEN PK          MI    48101‐1864
LARRY D WINTERS                                 936 DILLON TRL SE                                                                              BOGUE CHITTO      MS    39629‐9733
LARRY D WRIGHT                                  4238 LAMIE HWY                                                                                 CHARLOTTE         MI    48813‐8873
LARRY D WRIGHT & PAULETTE T WRIGHT JT TEN       28771 SANTA BARBARA DR                                                                         LATHRUP VILLAGE   MI    48076‐2533

LARRY D YHARBOUGH                               9609 MARC                                                                                      ROMULUS           MI    48174‐1517
LARRY DALE ALLSUP                               3611 BLACKHAWK RD                                                                              CADIZ             KY    42211‐9501
LARRY DALE HARMON                               2205 CHAPEL DOWNS DR                                                                           ARLINGTON         TX    76017‐4510
LARRY DAVID STAMM                               517 CAROLYN DR                                                                                 MIAMISBURG        OH    45342‐2615
LARRY DAVIS                                     2204 DORCHESTER CT                                                                             SCHAUMBURG        IL    60194‐2515
LARRY DAVIS                                     PO BOX 478                                                                                     BARNESVILLE       MN    56514‐0478
LARRY DAVIS                                     6201 SE 5TH ST                                                                                 DES MOINES        IA    50315
LARRY DAWKINS                                   28073 ANNAPOLIS                                                                                WESTLAND          MI    48186‐5103
LARRY DEAN                                      PO BOX 1285                                                                                    LOVINGTON         NM    88260‐1285
LARRY DEAN BURCHELL                             14023 GREGORY ST                                                                               SPRING HILL       FL    34609
LARRY DEAN HARRIS                               105 BROADWAY                                                                                   BELLAIRE          MI    49615‐9576
LARRY DELANEY                                   2429 WILLIAMS ROAD                                                                             BEDFORD           IN    47421‐8342
LARRY DEVONNE LEWIS                             PO BOX 1                                                                                       CHOCOWINITY       NC    27817‐0001
LARRY DEVORMER                                  10958 N VAN WAGONER                                                                            WALKERVILLE       MI    49459‐9620
LARRY DUANE SMITH & MRS LESA MELANIE SMITH JT   2400 KLINGER                                                                                   ARLINGTON         TX    76016‐1143
TEN
LARRY DUNCAN                                    8349 CRETAN BLUE LN                                                                            LAS VEGAS         NV    89128‐7470
LARRY E ADCOX                                   1011 VANIER CT                                                                                 HENDERSON         NV    89052‐4910
LARRY E ARNOLD & RHONDA E ARNOLD JT TEN         545 OLIVER RD                                                                                  PROSPECT          VA    23960‐7935
LARRY E BADTKE                                  2140 S TERRACE                                                                                 JANESVILLE        WI    53546‐6120
LARRY E BAKER                                   112 MIDDLEBORO CIR                                                                             FRANKLIN          TN    37064‐4931
LARRY E BEDGOOD                                 615 TICKNER ST                                                                                 LINDEN            MI    48451‐9072
LARRY E BELVILLE                                4044 EDMUND ST                                                                                 WAYNE             MI    48184‐1724
LARRY E BLOOMFIELD                              4911 HURON ST                                                                                  CASS CITY         MI    48726‐9003
LARRY E BROWN                                   1040 CYPRESS DRIVE                                                                             JENISON           MI    49428‐8334
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 659 of 855
Name                                                Address1                             Address2             Address3          Address4          City               State Zip

LARRY E BYNUM                                       4207 E 400 S                                                                                  MIDDLETOWN         IN    47356
LARRY E COCHRAN                                     271 HIGHLAND DR P O BOX 472                                                                   BUTLER             OH    44822‐0472
LARRY E CONYERS                                     794 BROOKFIELD AVE                                                                            MASURY             OH    44438‐1174
LARRY E CROWLEY                                     135 LORING AVE                                                                                WEST DENNIS        MA    02670‐2916
LARRY E CRUM                                        4813 FREER ST                                                                                 ROCHESTER          MI    48306‐1706
LARRY E CURRY                                       104 HALL                                                                                      CHESTERFIELD       IN    46017‐1104
LARRY E DALTON                                      3853 ANGUS LANE                                                                               MORAINE            OH    45439‐1201
LARRY E DEMARTE                                     80 SPRING LANE                                                                                ROCHESTER          NY    14626‐1312
LARRY E DORIN                                       12419 E GREENFIELD DRIVE                                                                      LANSING            MI    48917‐8615
LARRY E DUMAS                                       324 HOTHOUSE VIEW                                                                             MINERAL BLUFF      GA    30559‐7100
LARRY E DUNKIN                                      618 CAROL DR                                                                                  GREENWOOD          IN    46143‐1229
LARRY E DUPUIS                                      6327 N ELMS ROAD                                                                              FLUSHING           MI    48433‐9002
LARRY E ECKERT                                      1913 HURON AVERY RD                                                                           HURON              OH    44839‐2434
LARRY E EDGAR & CAROLYN S EDGAR JT TEN              606 HIDDEN OAK COURT                                                                          HIGHLAND VILLAGE   TX    75077‐8629

LARRY E FETTER                                      17835 W HWY 40                                                                                RUDYARD            MI    49780
LARRY E FISHER & MARY A FISHER JT TEN               10681 E OLD BLACK CANYON HWY                                                                  DEWEY              AZ    86327‐5324
LARRY E FLORA                                       407 CHESTNUT ST BOX 104                                                                       LAURA              OH    45337‐0104
LARRY E FOWLER JR                                   272 ROURKS LANDING RD                                                                         BOLIVIA            NC    28422‐7714
LARRY E FRIEND                                      1222 CHIPPER LN                                                                               KEITHVILLE         LA    71047‐9388
LARRY E GATES                                       1410 14 MILE ROAD                                                                             SPARTA             MI    49345‐9452
LARRY E GLAB                                        3306 S VERNON AVE                                                                             BROOKFIELD         IL    60513‐1445
LARRY E GODWIN                                      302 TARA DRIVE                                                                                TROY               MI    48098‐3120
LARRY E GRIMES                                      15116 YALE                                                                                    LIVONIA            MI    48154‐5167
LARRY E GRIMES & JACQUELINE K GRIMES JT TEN         15116 YALE                                                                                    LIVONIA            MI    48154‐5167
LARRY E HAUSE & M JANE HAUSE JT TEN                 436 VERMONT AVE                                                                               HAGERSTOWN         MD    21740
LARRY E HICKS                                       817 HEMLOCK DR                                                                                DAVISON            MI    48423‐1927
LARRY E HOBBS                                       907 ZIRKLE RD                                                                                 DANDRIDGE          TN    37725‐4340
LARRY E HOLMES                                      7320 S NEW LOTHROP RD                                                                         DURAND             MI    48429‐9459
LARRY E HOLMES JR                                   7320 S NEW LOTHROP RD                                                                         DURAND             MI    48429‐9459
LARRY E HOOD                                        1835 WINDING MEADOWS DR                                                                       MONROE             MI    48162‐5358
LARRY E HOWARD                                      2611 TICONDEROGA DR                                                                           MARION             IN    46952‐9261
LARRY E HURLEY JR                                   1319 HICKORY PARK CT W                                                                        ANTIOCH            TN    37013‐4335
LARRY E HUTCHINSON                                  324 15TH STREET                                                                               OTSEGO             MI    49078‐9642
LARRY E JOHNSON                                     PO BOX 28                                                                                     BARDWELL           KY    42023‐0028
LARRY E JONES                                       309 DYER                                                                                      ODESSA             MO    64076‐1220
LARRY E KELLEY                                      610 COUNTY ROAD 14                                                                            PIEDMONT           AL    36272‐4535
LARRY E KNIFFIN & MRS MARGUERITE E KNIFFIN JT TEN   RD 1 7 PIERSON DR                                                                             HOCKESSIN          DE    19707‐1005

LARRY E LAIRD                                       214 W WOODLAND                                                                                KOKOMO             IN    46902‐6366
LARRY E LAROWE                                      24 HIDDEN ACRES                                                                               GREENTOWN          IN    46936‐1052
LARRY E LIPSCOMB                                    2010 E 16TH ST                                                                                MUNCIE             IN    47302‐4531
LARRY E MADISON & ELOISE I MADISON JT TEN           3138 HURON                                                                                    STANDISH           MI    48658‐9158
LARRY E MAIKE                                       17877 SHARON ROAD                                                                             CHESANING          MI    48616‐9597
LARRY E MARKS & LINDA L MARKS JT TEN                936 KINSALE DR                                                                                MANCHESTER         MO    63021‐7120
LARRY E MAY                                         7957 SIGLER                                                                                   S ROCKWOOD         MI    48179‐9518
LARRY E MAY & MRS DORIS V MAY JT TEN                1181 COLBY CT                                                                                 SAINT PETERS       MO    63376‐5521
LARRY E MCCANN                                      1128 SOUTH RIDGE RD                                                                           LANSING            MI    48917‐9511
LARRY E MCGILL                                      3309 MOORESVILLE RD                                                                           INDIANAPOLIS       IN    46221‐2247
LARRY E MILLER                                      4490 E BRISTOL RD                                                                             BURTON             MI    48519‐1410
LARRY E MILLEVILLE                                  1136 GREENYARD WAY                                                                            NORCROSS           GA    30093‐4249
LARRY E MINOTT                                      2003 N GRANITE DR                                                                             JANESVILLE         WI    53548‐8420
LARRY E MONROE                                      126 FRED NORTON ROAD                                                                          HAWKPOINT          MO    63349‐2304
LARRY E MORTON                                      5221 STAUNTON AVE SE                                                                          CHARLESTON         WV    25304‐2138
LARRY E NEELY                                       1609 PACKARD AVE                                                                              FLOYD              IA    50435‐8072
LARRY E OSTRANDER                                   15777 BOLESTA RD                     APT 227                                                  CLEARWATER         FL    33760‐3467
LARRY E OTTEWELL                                    5426 WEST MOUNT MORRIS RD                                                                     MOUNT MORRIS       MI    48458‐9483
LARRY E OTTEWELL & DIANE K OTTEWELL JT TEN          5426 WEST MOUNT MORRIS RD                                                                     MOUNT MORRIS       MI    48458‐9483
LARRY E PARSONS                                     2809 SWEETBRIAR DR                                                                            SANDUSKY           OH    44870‐5659
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 660 of 855
Name                                             Address1                                 Address2             Address3          Address4          City              State Zip

LARRY E PATTERSON                                92 ROCKLEDGE AVE                                                                                  MT VERNON         NY    10550‐4949
LARRY E PATTERSON                                PO BOX 61                                                                                         BLAIRSVILLE       GA    30514‐0061
LARRY E PAULEY                                   2828 HOOP RD                                                                                      XENIA             OH    45385‐8612
LARRY E PETERS                                   2205 WHITTEMORE AVE                                                                               BURTON            MI    48529‐1727
LARRY E PROCHAZKA                                2985 N KREPPS RD                                                                                  SAINT JOHNS       MI    48879‐9089
LARRY E PULLEN                                   208 W SHERRY                                                                                      TROTWOOD          OH    45426
LARRY E RAY                                      13305 INVERNESS                                                                                   UNIONTOWN         OH    44685‐9384
LARRY E REED                                     1653 N MAISH RD                                                                                   FRANKFORT         IN    46041‐8011
LARRY E RICHIE                                   3324 DELBROOK DR                                                                                  DAYTON            OH    45405‐1129
LARRY E ROBERTS                                  1405 S MAPLE AVE                                                                                  FAIRBORN          OH    45324‐3534
LARRY E ROE                                      6312 SOUTHWEST RD                                                                                 CASTALIA          OH    44824‐9774
LARRY E ROEDEL                                   23123 JUDITH CT                                                                                   PLAINFIELD        IL    60544‐9635
LARRY E RUNYAN                                   1233 LOUISE ST                                                                                    CORUNNA           MI    48817‐1544
LARRY E SHORTRIDGE                               6060 HAROLD                                                                                       TAYLOR            MI    48180‐1175
LARRY E SMITH                                    215 E PRAIRIE                                                                                     DANVILLE          IL    61832‐2456
LARRY E SMITH                                    780 CRICKET HILL TRAIL                                                                            LAWRENCEVILLE     GA    30044‐7352
LARRY E SUHRE                                    6918 E COUNTY RD 500 N                                                                            MICHIGANTOWN      IN    46057‐9652
LARRY E TAYLOR                                   25310 S 196TH WAY                                                                                 QUEEN CREEK       AZ    85242‐7660
LARRY E TAYLOR                                   9815 BELLAIRE                                                                                     KANSAS CITY       MO    64134‐1237
LARRY E TEEPLE                                   9569 CLYDE PARK SW                                                                                BYRON CENTER      MI    49315‐9204
LARRY E THOMAS                                   4101 W HEATH DR                                                                                   MUNCIE            IN    47304‐6110
LARRY E THOMAS & JO ANN THOMAS JT TEN            4101 W HEATH                                                                                      MUNCIE            IN    47304‐6110
LARRY E TOMLINSON                                5546 ISLAND VIEW DR                                                                               CELINA            OH    45822‐8197
LARRY E TOWERY                                   8811 ORIOLE                                                                                       CARLISLE          OH    45005‐4252
LARRY E TREVETHAN & PAMELA J TREVETHAN JT TEN    3297 W SHIAWASSEE                                                                                 FENTON            MI    48430‐1746

LARRY E TUTTLE                                   6342 W MUNGER RD                                                                                  SAGINAW           MI    48601‐9611
LARRY E ULERY                                    1943 PINEDALE                                                                                     TOLEDO            OH    43613‐5630
LARRY E VICK                                     204 E JEFFERSON                                                                                   SWEET SPRINGS     MO    65351‐1410
LARRY E WALKER                                   1082 FARNHAM                                                                                      LINCOLN PARK      MI    48146‐2721
LARRY E WALKER                                   57 JUNIPER DR E                                                                                   DUNDEE            FL    33838‐4101
LARRY E WARD                                     ROUTE 2 BOX 184                                                                                   PORTAGEVILLE      MO    63873‐9520
LARRY E WARFIELD                                 104 REASOR ST                                                                                     CORBIN            KY    40701‐2934
LARRY E WARNER                                   1534 S ANDERSON ST                                                                                ELWOOD            IN    46036‐2829
LARRY E WATKINS                                  43 BRADLEY AVE                                                                                    SHELBY            OH    44875‐1828
LARRY E WATSON                                   20633 ORANGELAWN                                                                                  DETROIT           MI    48228‐1571
LARRY E WEAVER                                   532 S MANITOU                                                                                     CLAWSON           MI    48017‐1830
LARRY E WESTERFIELD                              45 WILLOW RD                                                                                      ANDERSON          IN    46011‐2276
LARRY E WHEATLEY                                 2760 VISTA BLUFF BLVD                                                                             LEWISVILLE        TX    75067‐8354
LARRY E WHITMAN                                  8630 DELL RD                                                                                      SALINE            MI    48176‐9745
LARRY E WILSON                                   1007 HUNTERS POINT                                                                                CORDOVA           TN    38018‐8881
LARRY E WYSONG & JOYCE K WYSONG JT TEN           445 MEADOWVIEW CT                                                                                 VANDALIA          OH    45377‐1865
LARRY E ZELUFF                                   1231 SHERMAN STREET                                                                               ADRIAN            MI    49221‐3129
LARRY EDON LEPPO                                 6968 E CHESTNUT HILL ST                                                                           HIGHLANDS RANCH   CO    80126‐5125

LARRY EDWARD BOWMAN II                           1189 WOODWINDS DR                                                                                 WAXHAW            NC    28173‐7887
LARRY EDWIN CADLE                                7389 MORRISH RD                                                                                   SWARTZ CREEK      MI    48473‐7624
LARRY ELDRIDGE & MRS BARBARA E ELDRIDGE JT TEN   4024 OAKLAND DR                                                                                   KALAMAZOO         MI    49008‐2818

LARRY ELLERBROCK                                 730 N DIX ST                                                                                      PAULDING          OH    45879‐1040
LARRY ERIC LAWSON                                243 RUE CHENE                                                                                     CROWLEY           LA    70526‐0847
LARRY EUGENE HIGGINBOTHAM                        BOX 15187                                                                                         SARASOTA          FL    34277‐1187
LARRY EUGENE JONES                               2301 N GLENWOOD AVE                                                                               MUNCIE            IN    47304‐2334
LARRY EUGENE LOGAN                               917 NW VALLEY LANE                                                                                KANSAS CITY       MO    64150‐9682
LARRY EUGENE MCGUIRE                             R ROUTE 1                                BOX 10                                                   LAGRO             IN    46941‐9801
LARRY F ANDERSON                                 8331 EAST BEND ROAD                                                                               BURLINGTON        KY    41005‐8615
LARRY F BAKER                                    701 RIDGEDALE DR                                                                                  ROSCOMMON         MI    48653‐8575
LARRY F CAMP                                     11188 N BASS LAKE RD                                                                              IRON              MI    49644‐9667
LARRY F CAUPP                                    2570 CLUSTER AVE                                                                                  DAYTON            OH    45439‐2908
                                               09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 661 of 855
Name                                             Address1                            Address2             Address3          Address4          City             State Zip

LARRY F CONGER                                   9675 ORTONVILLE RD                                                                           CLARKSTON        MI    48348‐1931
LARRY F CRACRAFT                                 510 RUDGATE LANE                                                                             KOKOMO           IN    46901‐3816
LARRY F DEBO                                     8361 COLONIAL MILL MNR                                                                       WEST CHESTER     OH    45069‐2764
LARRY F EMMERLING                                11355 RUNNELLS DRIVE                                                                         CLIO             MI    48420‐8222
LARRY F HAGERTY                                  6299 E HOUGHTON LAKE DR                                                                      HOUGHTON LAKE    MI    48629‐8306
LARRY F HARTL                                    4505 SOUTH PORTSMOUTH                                                                        BRIDGEPORT       MI    48722‐9743
LARRY F LYMAN                                    5800 NORTH STILLWELL ROAD                                                                    PIQUA            OH    45356‐8316
LARRY F MC DERMOTT                               302 NORTH PROSPECT                                                                           YPSILANTI        MI    48198‐2933
LARRY F MOODY                                    1417 VERMILIA ST                                                                             FLINT            MI    48507‐1542
LARRY F ONEAL                                    1102 ROYAL HILL LN                                                                           ARLINGTON        TX    76014‐3328
LARRY F PAUL                                     333 S WARRINGTON RD                                                                          DES PLAINES      IL    60016‐3023
LARRY F ROBERTS                                  4610 CLOVERLAWN                                                                              FLINT            MI    48504‐2060
LARRY F RUDD                                     707 MEADOWLARK DR                                                                            RAYMORE          MO    64083‐8264
LARRY F SCHMAUS                                  1878 CHAMPLAIN DR                                                                            CORONA           CA    91720‐7314
LARRY F SMOLEN                                   127 MEADOWLARK LN                                                                            COLUMBUS         OH    43214‐1171
LARRY F SPEAR                                    34224 ARMADA RIDGE                                                                           RICHMOND         MI    48062‐5319
LARRY F SPIEGEL                                  31370 COACHLIGHT LN                                                                          BIRMINGHAM       MI    48025‐4402
LARRY F STOINSKI                                 3692 SOUTH LAKE ROAD                                                                         BEAVERTON        MI    48612‐8858
LARRY F TAYLOR                                   3105 HARLEY RD                                                                               OXFORD           OH    45056‐8954
LARRY F WARE                                     341 HARBEN RD                                                                                DAWSONVILLE      GA    30534‐1604
LARRY F WOOD                                     1506 MIDLAND RD                                                                              SAGINAW          MI    48638‐4338
LARRY FARNEDA & BORTOLO FARNEDA JT TEN           8735 45TH PL                                                                                 LYONS            IL    60534‐1651
LARRY FETTER                                     105 LAKE SHORE CIRCLE                                                                        LEESBURG         FL    34788
LARRY FINGERHUT                                  3001 SW WESTLAKE CIR                                                                         PALM CITY        FL    34990‐4615
LARRY FITZGERALD JR                              1780 BYRON RD                                                                                LENNON           MI    48449
LARRY FLANAGAN                                   10640 LINNELL                                                                                ST LOUIS         MO    63136‐5710
LARRY FREDERICK KILBOURNE                        630 S CENTRAL AVE                                                                            BARTOW           FL    33830‐4627
LARRY FRIEDMAN                                   1707 S WOOSTER ST                                                                            LOS ANGELES      CA    90035‐4332
LARRY FUGATE                                     5916 HUTCHINSON RD                                                                           BATAVIA          OH    45103
LARRY G ACHILLE                                  53 COBBLESTONE DR                                                                            ROCHESTER        NY    14623‐5439
LARRY G ADKINS                                   PO BOX 351                                                                                   EMLYN            KY    40730‐0351
LARRY G ALEXANDER                                4581 MERRITT                                                                                 YPSILANTI        MI    48197‐9399
LARRY G ALLEN                                    1541 WELSH                                                                                   MEMPHIS          TN    38117‐6731
LARRY G ARNOLD                                   6102 SW HIGH MEADOW BLVD                                                                     BENTONVILLE      AR    72712‐8456
LARRY G ASKINS                                   638 GREENHURST DR                                                                            VANDALIA         OH    45377‐1302
LARRY G BELISLE                                  PO BOX 749                                                                                   ORTONVILLE       MI    48462‐0749
LARRY G BIGAM                                    15381 BLAIN ROAD                                                                             MOUNT STERLING   OH    43143‐9030
LARRY G BROWN                                    12109 WEST BETHEL                                                                            MUNCIE           IN    47304‐9728
LARRY G BUCHANAN                                 1 SEMINARY ST                                                                                GREENWICH        OH    44837‐1014
LARRY G BUCK                                     5671 WEAVER ROAD                                                                             BERLIN CENTER    OH    44401‐9797
LARRY G BULLINGTON & JOY L BULLINGTON JT TEN     26221 W CHICAGO                                                                              REDFORD          MI    48239‐2163

LARRY G CHANEY                                   1979 DRAKE DRIVE                                                                             XENIA            OH    45385‐3913
LARRY G COX                                      HC 82 BOX 54‐A                                                                               RAINELLE         WV    25962‐9510
LARRY G COX & CAROL A COX JT TEN                 3735 WEST MAPLEWOOD ST                                                                       SPRINGFIELD      MO    65807‐5426
LARRY G CRAFT & KATHRYN M CRAFT JT TEN           PO BOX 121                                                                                   SADORUS          IL    61872‐0121
LARRY G CRATES                                   620 N MAIN ST                                                                                ARLINGTON        OH    45814‐9700
LARRY G CROSS                                    1804 S LINCOLN AVE                                                                           SALEM            OH    44460‐4256
LARRY G CURRIE & DOROTHY A CURRIE JT TEN         32641 PIERCE                                                                                 GARDEN CITY      MI    48135‐1273
LARRY G CURRY                                    1238 10TH STREET                                                                             MARTIN           MI    49070‐9725
LARRY G DELAPLANE                                7477 WEST FREDERICK GARLAND         ROAD                                                     UNION            OH    45322‐9622
LARRY G EDSON                                    21880 GARFIELD                                                                               NORTHVILLE       MI    48167‐9712
LARRY G FOSTER                                   6217 MINUTEMAN LN                                                                            ARLINGTON        TX    76002‐2715
LARRY G GEBHART                                  101 SUNSET AVE                                                                               SHERWOOD         OH    43556‐9820
LARRY G GEPFREY                                  1376 BLUE WATER DR                                                                           FENTON           MI    48430
LARRY G GESCHWINT                                10456 ORION AVE                                                                              MISSION HILLS    CA    91345‐2416
LARRY G GLIDDEN                                  7783 E MAHALASDILLE RD                                                                       MORGANTOWN       IN    46160
LARRY G GOODMAN                                  19 PATTERSON AVE                                                                             TITUSVILLE       NJ    08560‐1613
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 662 of 855
Name                                               Address1                            Address2             Address3          Address4          City               State Zip

LARRY G GOONTZ II                                  609 JAMES ST                                                                                 NEW MARTINSVILLE WV      26155‐2417

LARRY G GROSSBAUER                                 1833 SMITH RD                                                                                LAPEER             MI    48446‐7716
LARRY G GUNSELMAN                                  123 HUNTINGTON CR                                                                            ELYRIA             OH    44035‐1424
LARRY G JOHNSTON                                   1160 APACHE DR                                                                               WAUSEON            OH    43567‐1888
LARRY G KEITH                                      7611 EAST 50 N                                                                               GREENTOWN          IN    46936‐1090
LARRY G KING                                       PO BOX 454                                                                                   GENESEE            MI    48437‐0454
LARRY G KRUPP                                      3323 EAST LAKE RD                                                                            CLIO               MI    48420‐7931
LARRY G LACKEY CUST GABRIELLE J BEST UTMA MI       2795 RAVEN GLASS RD                                                                          WATERFORD          MI    48329
LARRY G LATHAM                                     1034 GLENDALE AVE                                                                            COLUMBUS           OH    43212‐3429
LARRY G LEMONS                                     3 STORM HAVEN CR                                                                             ENON               OH    45323‐1549
LARRY G LITTEN                                     PO BOX 695                                                                                   ASHLAND            OH    44805‐0695
LARRY G MARSHALL                                   256 RAINBOW DR                      # 15625                                                  LIVINGSTON         TX    77399‐2056
LARRY G MASCHO                                     3 MORRISON LAKE GDNS                                                                         SARANAC            MI    48881‐9705
LARRY G MASON & ERNEST MASON JT TEN                2005 ALICIA LANE                                                                             ROYAL OAK          MI    48073‐3949
LARRY G MC GOUGH                                   151 TRAILS END                                                                               MCLOUD             OK    74851‐8096
LARRY G MCKITRICK                                  6421 E LANDERSDALE RD                                                                        CAMBY              IN    46113‐8443
LARRY G MILLER                                     7348 BILTMORE DR                                                                             SARASOTA           FL    34231‐7907
LARRY G MYERS & LORRAINE A MYERS JT TEN            300 FLAMINGO CIR                                                                             MARBLE FALLS       TX    78654‐9787
LARRY G NAVARRE                                    4495 CROSBY RD                                                                               FLINT              MI    48506‐1417
LARRY G NICKELL                                    200 E ASH                                                                                    ATWOOD             IL    61913‐7087
LARRY G NORTON                                     6773 E 1140TH ROAD                                                                           MARTINSVILLE       IL    62442‐2738
LARRY G OESCH                                      P O #1 550 BRITTANY LANE                                                                     SALEM              OH    44460‐3613
LARRY G ORT                                        2431 W 800 N                                                                                 FREMONT            IN    46737
LARRY G PACKER & LINDA L PACKER TR PACKER FAMILY   770 LEXINGTON ONTARIO RD                                                                     MANSFIELD          OH    44903‐8791
TRUST UA 10/03/06
LARRY G PATTON                                     547 JUANA AVE #A                                                                             SAN LEANDRO        CA    94577‐5049
LARRY G PENNINGTON                                 34808 STEWART                                                                                ROMULUS            MI    48174‐1541
LARRY G REHKOPF                                    9268 JULY LANE                                                                               ST AUQUSTINE       FL    32086‐8631
LARRY G RICHARDS                                   127 SAINT ANDREWS                                                                            CORTLAND           OH    44410‐8721
LARRY G RILEY                                      15728 STATE RD 9N                                                                            SUMMITVILLE        IN    46070‐9624
LARRY G RIZZARDI                                   7417 WYNDHAM WAY                                                                             WOODBURY           MN    55125‐4023
LARRY G ROD                                        38068 SOUTHTOWN LN                                                                           PRAIRIE DU CHIEN   WI    53821‐8400

LARRY G RODABAUGH                                  4300 EAST MILLINGTON ROAD                                                                    MILLINGTON         MI    48746‐9005
LARRY G RYON                                       PO BOX 35                                                                                    FLINT              MI    48501‐0035
LARRY G SCHOEPHOERSTER                             2604 POWHATTAN PL                                                                            KETTERING          OH    45420‐3912
LARRY G SIEBELINK                                  18133 SHADY RIDGE CT                APT 8                                                    SPRING LAKE        MI    49456‐9077
LARRY G SITRON                                     940 POWDERHORN DRIVE                                                                         LANSDALE           PA    19446‐5557
LARRY G SMITH                                      323 MAYBERRY CT                                                                              BEDFORD            IN    47421‐8902
LARRY G SOULE                                      346 N MERIDIAN RD                                                                            MASON              MI    48854‐9640
LARRY G STANDLEY                                   5413 GUIDA DRIVE                                                                             GREENSBORO         NC    27410‐5207
LARRY G STARNES & LOUIE V STARNES JT TEN           24 DECAROLIS DR                                                                              TEWKSBURY          MA    01876‐3362
LARRY G THOMAS                                     5299 PROCTOR RD                                                                              CASTRO VALLEY      CA    94546‐1540
LARRY G THOMAS & KAREN A THOMAS JT TEN             13320 SW 57TH                                                                                TOPEKA             KS    66610‐9154
LARRY G THORNTON                                   17021 HWY 18 W                                                                               RAYMOND            MS    39154‐9159
LARRY G VALENTINE & CAROL J VALENTINE JT TEN       206 DUNCANNON RD                                                                             BEL AIR            MD    21014‐5627
LARRY G VANDENBERG                                 1034 LINCOLN                                                                                 LINCOLN PARK       MI    48146‐2736
LARRY G WALDEN                                     507 SHADOWCREST CT                                                                           NOBLESVILLE        IN    46060‐3880
LARRY G WENDEL                                     16609 MCKINLEY ST                                                                            BELTON             MO    64012‐1632
LARRY G WEST                                       18906 CANDLE CREEK DR                                                                        SPRING             TX    77388
LARRY G WHITNEY                                    929 GREENLEAF CIRCLE                OSHAWA ON                              L1K 2W8 CANADA
LARRY G WILCOX                                     4835 HOLLENBECK RD                                                                           COLUMBIAVILL       MI    48421‐9362
LARRY G WINCENTSEN                                 PO BOX 484                                                                                   ESCALON            CA    95320‐0484
LARRY G WYATT                                      9 VICTOR DR                                                                                  MOORESVILLE        IN    46158‐1061
LARRY G YOUNG                                      6735 WESTFIELD RD                                                                            MEDINA             OH    44256‐8507
LARRY GALBREATH                                    23 KIAWAH AVE                                                                                FREEHOLD           NJ    07728
LARRY GALLAPOO & ANDREA L GALLAPOO JT TEN          218 S 25TH                                                                                   ELWOOD             IN    46036‐2120
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                     Part 4 of 8 Pg 663 of 855
Name                                            Address1                              Address2                     Address3   Address4          City               State Zip

LARRY GAMBRELL                                  13623 SAYBROOK AVENUE                                                                           GARFIELD HEIGHTS   OH    44105‐7021

LARRY GARDNER                                   PMB 163                               9580 OAK AVENUE PKWY STE 7                                FOLSOM             CA    95630‐9997
LARRY GENE BALSTER                              10134 E CLINTON ST                                                                              SCOTTSDALE         AZ    85260‐6339
LARRY GIAMBALVO JR                              12 EGDEWATER AVE                                                                                MASSAPEQUA         NY    11758
LARRY GLEN SHERMAN                              4401 HIGH POINT CT                                                                              EDMOND             OK    73003‐2335
LARRY GORFINKEL CUST H MARC GORFINKEL UGMA NY   20 SILVER BIRCH DR                                                                              NEW ROCHELLE       NY    10804‐3810

LARRY GREEN                                    51 WILTSHIRE RD                                                                                  SCARSDALE          NY    10583‐4520
LARRY GREEN CUST LAURIE MICHELLE GREEN UGMA CA 110 SILVA CT                                                                                     FOLSOM             CA    95630‐5030

LARRY H BROWN & SHARON E BROWN JT TEN           184 DAVIDSON ROAD                                                                               MARS               PA    16046‐3112
LARRY H ELLIOTT                                 3002 IVY HILL CI E                                                                              CORTLAND           OH    44410‐9350
LARRY H FOLDY                                   217 FORESTRIDGE DR                                                                              MANSFIELD          TX    76063‐8813
LARRY H FORSTER                                 5188 THREE MILE ROAD                                                                            BAY CITY           MI    48706‐9004
LARRY H GOLDMAN & MARY GOLDMAN JT TEN           6600 W 101 PLACE                                                                                OVERLAND PARK      KS    66212‐1708
LARRY H KATZUR                                  2039 GERARD                                                                                     FLINT              MI    48507‐3511
LARRY H LAWRENCE                                6615 ETZEL AVE                                                                                  SAINT LOUIS        MO    63130‐2609
LARRY H LOHMAN                                  1340 N GREAT NECK RD                  STE 1272                                                  VIRGINIA BEACH     VA    23454‐2268
LARRY H MAXEY                                   3917 RICH RD                                                                                    MORNINGVIEW        KY    41063‐9684
LARRY H MC NEIL                                 1308 BEARMORE DRIVE                                                                             CHARLOTTE          NC    28211‐4712
LARRY H MCNEIL & CORNELIA B MCNEIL JT TEN       1308 BEARMORE DRIVE                                                                             CHARLOTTE          NC    28211‐4712
LARRY H RIDDLE                                  PO BOX 102                                                                                      HOMEWORTH          OH    44634‐0102
LARRY H STOOKEY                                 2096 CLEVELAND RD                                                                               SANDUSKY           OH    44870‐4451
LARRY H TUNE                                    306 EDWARD ST                                                                                   AUBURN             MI    48611‐9454
LARRY H WEAVER & NANCY R WEAVER JT TEN          32 SPRING ST                                                                                    EVENING SHADE      AR    72532
LARRY HAHN                                      3010 N 49TH ST                                                                                  PHOENIX            AZ    85018‐6502
LARRY HALL GUARDIAN FOR LORAL C HALL A MINOR    115 BELL                                                                                        ALAMOSA            CO    81101‐2429

LARRY HART                                      PO BOX 959                                                                                      CRENSHAW           MS    38621‐0959
LARRY HAYDEN REYNOLDS & JUDITH LYNN REYNOLDS JT PO BOX 841                                                                                      HOMEWOOD           IL    60430‐0841
TEN
LARRY HEID & MADELINE HEID JT TEN               PO BOX 5163                                                                                     ALBANY             NY    12205‐0163
LARRY HELLER                                    3104 WOLLAM DR                                                                                  MODESTO            CA    95350‐0338
LARRY HELM SPALDING                             2256 COBB DRIVE                                                                                 TALLAHASSEE        FL    32312‐3170
LARRY HENDREN                                   1403 GRUBS                                                                                      JEFFERSONVILLE     IN    47130‐4207
LARRY HENSON                                    11949 TAPESTRY                                                                                  MINNETONKA         MN    55305‐2942
LARRY HIRSCH                                    315 W LINDEN ST                                                                                 ALLENTOWN          PA    18101‐1817
LARRY HOLLIS                                    2683 ALLEN RD                                                                                   MACON              GA    31216‐6305
LARRY HUGHES                                    362 N TURNER RD                                                                                 YOUNGSTOWN         OH    44515‐2148
LARRY I FRYE                                    367 VALENTINES BRK                                                                              MUNROE FALLS       OH    44262‐1700
LARRY I HARRIS                                  41441 BELLRIDGE BLVD                  APT 421                                                   BELLEVILLE         MI    48111‐1571
LARRY I SMITH                                   3033 CAROB ST                                                                                   NEWPORT BEACH      CA    92660‐3216
LARRY I WHITE                                   12408 OLD GREY MARE CT                                                                          REISTERSTOWN       MD    21136‐1748
LARRY IVEY                                      11038 LOSCO JUNCTION DRIVE                                                                      JACKSONVILLE       FL    32257‐3301
LARRY J ABRAHAM                                 5521 GLENWOOD RD                                                                                BETHESDA           MD    20817‐3747
LARRY J AINSLIE                                 3110 WOODCREEK WY N                                                                             BLOOMFIELD HILLS   MI    48304‐1866

LARRY J ALLEN                                   6 DAYTON ST                                                                                     OXFORD             MI    48371‐4679
LARRY J ALSPAUGH                                7012 E 49 N                                                                                     FLORA              IN    46929‐9359
LARRY J ARMOUR                                  3039 REDSKIN DR                       APT D                                                     INDIANAPOLIS       IN    46235‐9237
LARRY J ASHCRAFT                                988 CHESAPEAKE BAY CT                                                                           NAPLES             FL    34120‐2909
LARRY J AYERS                                   10211 EAST 18TH AVENUE                                                                          SPOKANE            WA    99206‐6410
LARRY J BALL                                    7303 WITLING BLVD                                                                               ROANOKE            IN    46783‐9311
LARRY J BARTMAN                                 3290 KEARSLEY LAKE DR                                                                           FLINT              MI    48506
LARRY J BAY                                     RR 1 BOX 57                                                                                     SPRINGPORT         IN    47386‐9801
LARRY J BLADECKI                                5629 FIRETHORNE DR                                                                              BAY CITY           MI    48706‐5631
LARRY J BOLT                                    HC 70 BOX 239                                                                                   WHITE SULPHUR      WV    24986‐9610
                                                                                                                                                SPRG
                                           09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                Part 4 of 8 Pg 664 of 855
Name                                         Address1                            Address2             Address3          Address4          City           State Zip

LARRY J BOZE                                 6404 ROBINHOOD DR                                                                            ANDERSON       IN    46011
LARRY J BOZE & CHRISTI A BOZE JT TEN         6404 ROBINHOOD DR                                                                            ANDERSON       IN    46013‐9528
LARRY J BREMNER                              3381 W DRAHNER RD                                                                            OXFORD         MI    48371‐5709
LARRY J BRYANT                               1853 HADRIAN WAY                                                                             LITHONIA       GA    30058‐7803
LARRY J BUFFINGTON                           4437 CAIN ROAD                                                                               GILLSVILLE     GA    30543‐2624
LARRY J BURGESS                              399 EAGER RD                                                                                 HOWELL         MI    48843‐9794
LARRY J BURK                                 707 W CASS ST                                                                                ST JOHNS       MI    48879‐1718
LARRY J BURNS                                1636 W MILLINGTON RD                                                                         FOSTORIA       MI    48435‐9725
LARRY J CATOR                                706 N BENTLEY AVE                                                                            NILES          OH    44446‐5214
LARRY J CHRISTAIN                            BOX 379                                                                                      WILLIAMSON     WV    25661‐0379
LARRY J CLEMENTS                             5327 DON SHENK DR                                                                            SWARTZ CREEK   MI    48473‐1103
LARRY J CLONTZ                               2468 N 100E                                                                                  BLUFFTON       IN    46714‐9703
LARRY J COHEN                                17600 BURBANK BLVD                  APT 319                                                  ENCINO         CA    91316‐1774
LARRY J COLEMAN                              136 ASH KNOB RD                                                                              HAYESVILLE     NC    28904‐9761
LARRY J COOK                                 7151 SAGINAW                                                                                 KALAMAZOO      MI    49048‐9546
LARRY J DIEHL                                245 BURNING LEAF DR                                                                          ST PETERS      MO    63376‐7048
LARRY J DOIG                                 1672 HERNDON FARM RD                                                                         ROCK HILL      SC    29732‐9011
LARRY J DOUGLAS                              234 W CEDAR CREEK PKWY                                                                       SEVEN POINTS   TX    75143
LARRY J DUCKERING                            4302 OAK HAVEN DR                                                                            NIXA           MO    65714‐9816
LARRY J EICKHOFF                             3305 CONNECTICUT ST                                                                          BURTON         MI    48519‐1549
LARRY J ELLIOTT                              1015 E DILL RD                                                                               DEWITT         MI    48820‐9316
LARRY J FLEMING                              12749 TUTTLE HILL RD                                                                         WILLIS         MI    48191‐9631
LARRY J FORMSMA                              5894 LEISURE SOUTH S E                                                                       KENTWOOD       MI    49548‐6856
LARRY J GACA                                 4255 28TH STREET                                                                             DORR           MI    49323‐9510
LARRY J GAVRICH                              5 MILLSTONE DRIVE                                                                            AVON           CT    06001‐2335
LARRY J GEOHAGAN                             3616 HARDIN BLVD BOX 393                                                                     LAKELAND       FL    33803
LARRY J GIBALA & RUTH GIBALA JT TEN          16270 GORDON                                                                                 FRASER         MI    48026‐3220
LARRY J GRAI                                 1710 SW BEVERLY TER                                                                          STUART         FL    34997‐7196
LARRY J GRANGER                              823 1/2 CONNER ST                                                                            NOBLESVILLE    IN    46060
LARRY J GROSS                                10209 DODGE RD                                                                               MONTROSE       MI    48457‐9121
LARRY J GULLETT                              2279 SUNNYRIDGE DR                                                                           ARNOLD         MO    63010‐2288
LARRY J HALL                                 5497 BROOKPOINT                                                                              TOLEDO         OH    43611‐1402
LARRY J HAMILTON                             4556 CHURCHILL                                                                               LESLIE         MI    49251
LARRY J HARN                                 3100 WINDY HILL                                                                              DENTON         TX    76201‐6207
LARRY J HARPER                               7845 1ST ST                                                                                  MASURY         OH    44438
LARRY J HAYS                                 7401 PECK RD                                                                                 RAVENNA        OH    44266‐9797
LARRY J HEDLEY                               1376 LOCKE                                                                                   PONTIAC        MI    48342‐1948
LARRY J HENDERSON                            5163 E STATE RT 73                                                                           WAYNESVILLE    OH    45068‐9578
LARRY J HEXAMER                              617 W 575 S                                                                                  PENDLETON      IN    46064‐9093
LARRY J HIMES                                2403 WAGON TRAIL RD                                                                          MONROE         VA    24574‐2576
LARRY J HINKEL                               1449 CLOVERNOOK DRIVE                                                                        HAMILTON       OH    45013‐3842
LARRY J HOOTON                               11872 HIGHLAND RD                                                                            HIGHLAND       IL    62249‐1338
LARRY J HOPPES                               37 COLONY RD                                                                                 ANDERSON       IN    46011‐2252
LARRY J HOWELL                               1026 PINEHURST AVE                                                                           ROYAL OAK      MI    48073‐3314
LARRY J JACKSON                              5433 EASY ST                                                                                 BAY CITY       MI    48706‐3052
LARRY J JACKSON & LYNDA L JACKSON JT TEN     5433 EASY ST                                                                                 BAY CITY       MI    48706‐3052
LARRY J JESS                                 439 HAINES NECK RD                                                                           SALEM          NJ    08079
LARRY J JOHNSON                              78 COTTAGE ST                                                                                EVERETT        MA    02149‐3607
LARRY J KARIPIDIS                            3 ALCOTT WAY                                                                                 SUCCASUNNA     NJ    07876‐1160
LARRY J KELLY                                13676 GRATIOT ROAD                                                                           HEMLOCK        MI    48626‐8442
LARRY J KITZMAN                              W 8754 CHERRY RD                                                                             DELAVAN        WI    53115‐2509
LARRY J KUPSKEY                              1700 N OXFORD RD                                                                             OXFORD         MI    48371‐2532
LARRY J LAND                                 PO BOX 451                                                                                   MIAMISBURG     OH    45343‐0451
LARRY J LANE                                 324 SE 58TH ST                                                                               OKLAN CITY     OK    73129‐3824
LARRY J LEAF & MARTHA A LEAF JT TEN          1709 KINGSLEY DR                                                                             ANDERSON       IN    46011‐1013
LARRY J LEE                                  8916 SPIDER BAY CT                                                                           INDIANAPOLIS   IN    46236‐9037
LARRY J LIBIS                                PMB 373                             1830 E PARKS HWY     STE A113                            WASILLA        AK    99654‐7375
LARRY J LIJEWSKI                             1332 W MIDLAND RD                                                                            AUBURN         MI    48611‐9507
LARRY J LINDER                               1164 N MIDDLE DR                                                                             GREENVILLE     OH    45331‐3067
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 665 of 855
Name                                           Address1                              Address2             Address3          Address4          City            State Zip

LARRY J LOFTHOUSE                              2051 SAINT CLAIR DR                                                                            HIGHLAND        MI    48357‐3335
LARRY J LUXON                                  720 GARY RAY DR                                                                                DAVISON         MI    48423‐1012
LARRY J MASON                                  5075 SAVANNAH                                                                                  KALAMAZOO       MI    49048‐1040
LARRY J MC INTOSH                              5249 N GALE RD                                                                                 DAVISON         MI    48423‐8956
LARRY J MC NEIL                                1391 HOLTSLANDER AVE                                                                           FLINT           MI    48505‐1782
LARRY J MCBRIDE                                3402 TRAUM DRIVE                                                                               SAGINAW         MI    48602‐3481
LARRY J MCCOY                                  2316 OAKWOOD DR                                                                                ANDERSON        IN    46011‐2847
LARRY J MCCOY & JUDITH A MCCOY JT TEN          2316 OAKWOOD DR                                                                                ANDERSON        IN    46011‐2847
LARRY J MCINTOSH & DONNA M MCINTOSH JT TEN     5249 N GALE ROAD                                                                               DAVISON         MI    48423‐8956

LARRY J MCKEAIGG                               5806 S 1250 W                                                                                  MEDORA          IN    47260
LARRY J MIDOCK & CAROLE A MIDOCK JT TEN        RD 3 BP X399                                                                                   HOMER CITY      PA    15748‐9803
LARRY J MILLER                                 4701 CHRISTIANSEN RD                                                                           LANSING         MI    48910‐5187
LARRY J MILLER                                 8984 GARY RD ROUTE #3                                                                          CHESANING       MI    48616‐8412
LARRY J MINSHEW                                106 FIRECREST DRIVE                                                                            BRANDON         MS    39042‐1931
LARRY J MINTER                                 1269 N 950 E                                                                                   CHURUBUSCO      IN    46723‐9519
LARRY J MORRISON                               3668 NW 23RD BLVD                                                                              JENNINGS        FL    32053‐2728
LARRY J MORTON                                 1929 W 950 S                                                                                   PENDLETON       IN    46064‐9365
LARRY J MOWREY                                 1516 WEST FOREST DRIVE                                                                         OLATHE          KS    66061‐5999
LARRY J NACHTWEIH                              3400 WINTERGREEN DR W                                                                          SAGINAW         MI    48603‐1952
LARRY J NAGY                                   2717 MILDA CT                                                                                  BEAVER CREEK    OH    45430
LARRY J NICE                                   4601 MAYWOOD DR                                                                                ARLINGTON       TX    76017‐1328
LARRY J OLIVAS                                 7480 NEPTUNE DR                                                                                CARLSBAD        CA    92009‐4697
LARRY J ORDWAY                                 751 N GRANDVIEW BEACH RD                                                                       INDIAN RIVER    MI    49749‐9776
LARRY J OUIMET                                 3051 BURLINGTON COURT                                                                          ROCHESTER       MI    48306‐3013
LARRY J PALMER                                 9067 BENNETT LAKE RD                                                                           FENTON          MI    48430‐9053
LARRY J PARKER                                 PO BOX 64                                                                                      WAUKOMIS        OK    73773‐0064
LARRY J PHILIPS & PATRICIA F PHILIPS JT TEN    602 CRESTVIEW COURT                                                                            GIBSONIA        PA    15044
LARRY J PITTS                                  9505 BLOM BLVD                                                                                 SHREVEPORT      LA    71118‐4701
LARRY J PRIDE                                  13983 ASBURY PARK                                                                              DETROIT         MI    48227‐1364
LARRY J PROVOST                                0987 TANAGER TR                                                                                FIFE LAKE       MI    49633
LARRY J RICE & SANDRA L RICE JT TEN            90 LANTERN WAY                                                                                 NICHOLASVILLE   KY    40356‐9007
LARRY J RIPPLE & SUZANN K RIPPLE JT TEN        41556 GREENBRIAR LANE                                                                          PLYMOUTH        MI    48170‐2626
LARRY J ROMINGER                               813 NORTH 11TH                                                                                 ELWOOD          IN    46036‐1202
LARRY J ROWLAND                                368 PINEY WOODS DRIVE                                                                          WEDOWEE         AL    36278‐4224
LARRY J SAMPEL                                 7507 NORTH AVALON STREET                                                                       KANSAS CITY     MO    64152‐2226
LARRY J SARVER                                 2714 GING DRIVE                                                                                EATON           OH    45320‐9704
LARRY J SCOTT                                  50 N ELDER AVE                                                                                 INDIANAPOLIS    IN    46222‐4516
LARRY J SELLARS                                2649 VINEWOOD                                                                                  SPEEDWAY        IN    46224‐3235
LARRY J SHARPE                                 PO BOX 15                                                                                      MARENISCO       MI    49947‐0015
LARRY J SIMON                                  207 BIENVENUE CIR                                                                              LAFAYETTE       LA    70501‐3222
LARRY J SIMON & MARGARET D SIMON JT TEN        207 BIENVENCUE CIR                                                                             LAFAYETTE       LA    70501‐3222
LARRY J SLUITER & PATRICIA J SLUITER JT TEN    7160 HOWELL AVE                                                                                WATERFORD       MI    48327‐1531
LARRY J SPARKS                                 5975 WEST HOMESTEAD DRIVE                                                                      FRANKTON        IN    46044‐9476
LARRY J STOUT                                  4264 S 25 W                                                                                    TRAFALGAR       IN    46181‐9774
LARRY J STRATTON                               5101 HARTLAND DR                                                                               FLINT           MI    48506‐1660
LARRY J STRATTON                               1655 HUNT RD                                                                                   MAYVILLE        MI    48744‐9675
LARRY J TANNER                                 19213 SUMPTER ROAD                                                                             WARRENSVILLE    OH    44128‐4326
LARRY J VALENTINE                              330 W NORTH STREET                                                                             ST CHARLES      MI    48655‐1127
LARRY J VAN NOORD                              2151 PLEASANT POND DR SW                                                                       BYRON CENTER    MI    49315‐9444
LARRY J WALTERS                                11079 N EAGLES NEST CT                                                                         FAIRLAND        IN    46126‐9576
LARRY J WARREN                                 444 TORRINGFORD ST                                                                             TORRINGTON      CT    06790
LARRY J WASHINGTON                             1710 LAUREL DR                                                                                 MARION          IN    46953‐2905
LARRY J WASHINGTON & GLENDA J WASHINGTON JT    1710 LAUREL DR                                                                                 MARION          IN    46953‐2905
TEN
LARRY J WESLEY                                 801 S 700 WEST                                                                                 LARWILL         IN    46764‐9522
LARRY J WILCOX CUST JEFFREY B WILCOX UGMA PA   1316 CLAYTON RD                                                                                LANCASTER       PA    17603‐2402

LARRY J WILK                                   2568 E RIVER RD                                                                                NEWTON FALLS    OH    44444‐8730
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 666 of 855
Name                                          Address1                                Address2             Address3          Address4          City             State Zip

LARRY J WILLIAMS                              PO BOX 60321                                                                                     DAYTON           OH    45406
LARRY J WILLIS & MRS PAULA WILLIS TEN COM     911 FILLMORE ST                                                                                  DENVER           CO    80206‐3851
LARRY J WILSON                                1296 WAGNER RD                                                                                   ESSEXVILLE       MI    48732‐9655
LARRY J WINELAND & CARLA WINELAND TR UA       5464 SEYMOUR ROAD                                                                                SWARTZ CREEK     MI    48473
08/07/03 WINELAND LIVING TRUST
LARRY J WOFFORD                               1256 FM 889                                                                                      GEORGE WEST      TX    78022‐3548
LARRY J WOLFE                                 3371 AVON LAKE ROAD                                                                              LITCHFIELD       OH    44253‐9516
LARRY J WORKMAN                               PO BOX 6266                                                                                      MARTINSBURG      WV    25401
LARRY J ZIEGLER                               9020 COUNTY ROAD                                                                                 CLARENCE CNTR    NY    14032‐9662
LARRY JAMES LEE                               1162 BRINSON RD                                                                                  BROOKLET         GA    30415‐6523
LARRY JOE HAYDEN                              887 PWELL VALL                          SHORES CIRCLE                                            SPEEDWELL        TN    37870‐8235
LARRY JOE HUNSAKER                            4446 CUNNINGHAM                                                                                  WICHITA FALLS    TX    76308‐3550
LARRY JOE PRUSZ                               2660 STONEWYCK DR                                                                                BLACKLICK        OH    43004‐8534
LARRY JOHN MAGIERSKI                          86 SAINT FELIX AVE                                                                               CHEEKTOWAGO      NY    14227‐1226
LARRY JOHNSON                                 3801 PASADENA                                                                                    DETROIT          MI    48238‐2699
LARRY JOHNSON & CAROLINE JOHNSON JT TEN       101 LISA LANE                                                                                    SAINT MARYS      GA    31558‐4522
LARRY JONES                                   9586 NORBROOK DR                                                                                 RCH CUCAMONGA    CA    91737‐1695

LARRY JOSEPH LAZOR                            427 CHAMPION AVE W                                                                               WARREN           OH    44483
LARRY JR GRAY SR                              6711 PARK HEIGHTS AVE A319                                                                       BALTIMORE        MD    21215
LARRY K ALEXANDER                             PO BOX 933                                                                                       WEST CHESTER     OH    45071‐0933
LARRY K BEYER                                 12570 S 200 W                                                                                    KOKOMO           IN    46901
LARRY K DICKERSON                             3819 N LAKESIDE DR                                                                               MUNCIE           IN    47304‐6350
LARRY K DIETZER                               731 LONGFELLOW                                                                                   ANDERSON         IN    46011‐1823
LARRY K DULANEY & KEVIN P DULANEY JT TEN      500 AVALON DR                                                                                    TROY             IL    62294‐2074
LARRY K FOULKE                                5541 SOUTH COUNTY ROAD 25 EAST                                                                   CLOVERDALE       IN    46120‐9658
LARRY K HARVEY                                12844 ROSE GROVE DR                                                                              HERNDON          VA    20171‐1760
LARRY K MAY & SHIRLEY L MAY TR MAY FAMILY     1517 PAGE STREET                                                                                 PORT CHARLOTTE   FL    33952‐2711
REVOCABLE TRUST UA 01/10/01
LARRY K MCINTYRE                              42906 WOODHILL DR                                                                                ELYRIA           OH    44035‐2055
LARRY K MILLER CUST DAVID L MILLER UGMA NEB   4035 S 224TH TER                                                                                 ELKHORN          NE    68022‐2414
LARRY K MOWERS CUST OF KERRY A MOWERS UGMA NY 35 WEST MAIN ST                                                                                  BROADALBIN       NY    12025‐2180

LARRY K MOWERS CUST OF KEVIN D MOWERS UGMA NY 35 WEST MAIN ST                                                                                  BROADALBIN       NY    12025‐2180

LARRY K OYAMA                                 41912 MERRIMAC                                                                                   MT CLEMENS       MI    48038‐2280
LARRY K SALTERS                               7589 PINECREST LN                                                                                ST LOUIS         MI    48880‐9484
LARRY K SCHUH                                 923 ROSE ST                                                                                      HOLLY            MI    48442‐1550
LARRY K WEBB                                  1578 GREENE 624 RD                                                                               PARAGOULD        AR    72450‐8042
LARRY K WILKERSON                             4079 BUCKSMITH RD SW                                                                             LOGANVILLE       GA    30052‐4288
LARRY KASS                                    14055 HYLAND DR                                                                                  BROOKFIELD       WI    53005‐2326
LARRY KENT                                    370 ASCOT RD                                                                                     WATERFORD        MI    48328
LARRY KNEIFEL                                 2120 GREENWOOD RD                                                                                ALLENTOWN        PA    18103‐2910
LARRY KNIGHT                                  256 GLOXINA ST                                                                                   ENCINITAS        CA    92024‐3321
LARRY KNOEPFEL                                311 SOUTH LOGAN ST                                                                               GEORGETOWN       IL    61846‐1821
LARRY L ADAMS                                 11674 8TH AVENUE                                                                                 GRAND RAPIDS     MI    49544‐3337
LARRY L ADAMS                                 3115 E 6TH ST                                                                                    ANDERSON         IN    46012‐3825
LARRY L ADAMS                                 642 RANVEEN STREET                                                                               WHITE LAKE       MI    48386‐2857
LARRY L AMMON                                 2938 VIEJAS VIEW PLACE                                                                           ALPINE           CA    91901‐3909
LARRY L ANDRYKOVICH                           14260 LAKEVIEW DR                                                                                FENTON           MI    48430‐1310
LARRY L BADER & JACKY A BADER JT TEN          6095 S STATE RD                                                                                  VASSAR           MI    48768‐9210
LARRY L BAUER                                 2394 N UNION RD                                                                                  BAY CITY         MI    48706‐9295
LARRY L BELUE                                 925 S LINDEN AVE                                                                                 MIAMISBURG       OH    45342‐3443
LARRY L BENNETT                               15201 S CORUNNA RD PO                                                                            CHESANING        MI    48616‐9492
LARRY L BEST                                  1081 VALES MILL RD                                                                               PULASKI          TN    38478‐5530
LARRY L BOWLING                               2605 CATERHAM                                                                                    WATERFORD        MI    48329‐2611
LARRY L BREWER                                2369 PORTER RD                                                                                   ATWATER          OH    44201‐9566
LARRY L CANNADAY                              11998 FLORIDA ROAD                                                                               FORTVILLE        IN    46040‐9607
LARRY L CHENAULT                              150 MERIDIAN ST                                                                                  BEDFORD          IN    47421
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 667 of 855
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

LARRY L CHILDS & MARILYN J CHILDS JT TEN           10801 SOUTH CR 419 EAST                                                                         MUNCIE           IN      47302‐8453
LARRY L COATS                                      235 WESTBRIDGE RD                                                                               FAIRBURN         GA      30213‐3713
LARRY L COHOON                                     19075 CARTER RD                                                                                 HILLMAN          MI      49746‐8717
LARRY L COLEMAN                                    14030 LAKESIDE BLVD N                  APT 306                                                  SHELBY TWP       MI      48315‐6053
LARRY L CRAWFORD                                   1585 NORTHWOOD DRIVE NE                                                                         LANCASTER        OH      43130‐1116
LARRY L CRUMBLEY                                   65 WEATHER STONE WAY                                                                            SHARPSBURG       GA      30277‐9250
LARRY L DAVIS                                      304 N NELSON                                                                                    POTTERVILLE      MI      48876‐9735
LARRY L DAVISSON                                   1104 MEADOW DR                                                                                  DAYTON           OH      45434‐7034
LARRY L DECKER                                     5097 GRISWALD ST                                                                                MIDDLEPORT       NY      14105‐9634
LARRY L DEES                                       7051 KESSLING                                                                                   DAVISON          MI      48423‐2443
LARRY L DUMOND                                     2495 W MASON RD                                                                                 OWOSSO           MI      48867‐9376
LARRY L FARLIN                                     12232 DAVISON RD                                                                                DAVISON          MI      48423‐8161
LARRY L FARRELL & JOHN P FARRELL JT TEN            2635 JONQUIL LN                                                                                 WOODRIDGE        IL      60517‐3410
LARRY L FARRINGTON                                 4229 CUSTER AVE                                                                                 FLINT            MI      48507‐2794
LARRY L FELSTOW & ANN M FELSTOW TR L & A FELSTOW 34478 BEECHWOOD                                                                                   FARMINGTON HILLS MI      48335‐4005
TRUST UA 09/27/99
LARRY L FETTERS                                    7275 SOUTH RANGELINE ROAD                                                                       UNION              OH    45322‐9600
LARRY L FETZER & BARBARA K FETZER JT TEN           1007 W OAKTON ST                                                                                ARLINGTON HTS      IL    60004‐4531
LARRY L FOSTER                                     116 BRYAN J DR                                                                                  HOUGHTON LAKE      MI    48629‐9360
LARRY L GARD CUST RYAN LEE GARD UTMA FL            2800 S CIRCLE PT                                                                                INVERNESS          FL    34450‐6981
LARRY L GILLESPIE                                  10337 CHAMPION CIRCLE                                                                           GRAND BLANK        MI    48439‐9442
LARRY L GILLIAM                                    11348 BARAGA ST                                                                                 TAYLOR             MI    48180‐4265
LARRY L GLUNT                                      3857 MAPLEVIEW TRL                                                                              ATWATER            OH    44201
LARRY L GONZALES                                   3359 HOSTETTER ROAD                                                                             SAN JOSE           CA    95132‐2016
LARRY L HAHN                                       3293 GREENWICH RD                                                                               WADSWORTH          OH    44281‐8300
LARRY L HARRIS TR LARRY L HARRIS TRUST UA 07/17/97 3101 SPRINGBROOK DRIVE                                                                          KALAMAZOO          MI    49004‐9673

LARRY L HART                                       6368 PINEWOOD                                                                                   FRANKENMUTH        MI    48734‐9531
LARRY L HART & LINDA L HART JT TEN                 6368 PINEWOOD                                                                                   FRANKENMUTH        MI    48734‐9531
LARRY L HEIMBACH                                   1095 CHURCH RD                                                                                  EAST GREENVILLE    PA    18041‐2214
LARRY L HENDERSON                                  9210 APPLEWOOD                                                                                  WHITE LAKE         MI    48086
LARRY L HETZ                                       11471 GOLDEN EAGLE PL                                                                           BRYCEVILLE         FL    32009
LARRY L HIPP                                       1037 FRANCIS AVE                                                                                TOLEDO             OH    43609‐1915
LARRY L HOLT & CAROL H HOLT JT TEN                 779 LEBANON AVE                                                                                 PITTSBURGH         PA    15228‐1131
LARRY L HOOD                                       PO BOX 22                                                                                       PALOMA             IL    62359
LARRY L HOWARD                                     4020 BURWOOD DR                                                                                 ROANOKE            TX    76262‐3356
LARRY L HOWSON                                     PO BOX 541                                                                                      STERLING HEIGHTS   MI    48311‐0541

LARRY L HOWSON & MARGARET C HOWSON JT TEN          BOX 541                                                                                         STERLING HEIGHTS   MI    48311‐0541

LARRY L HUNTINGTON                                 8081 TASKER RD                                                                                  BELLEVUE           MI    49021‐8262
LARRY L ICENBICE & MRS LINDA L ICENBICE JT TEN     ROUTE 2 BOX 330                        511 S W MILLS                                            GREENFIELD         IA    50849‐9530
LARRY L IFFLAND                                    216 WHITE                                                                                       BLISSFIELD         MI    49228‐1344
LARRY L JEZOWSKI                                   6094 N VASSAR RD                                                                                FLINT              MI    48506‐1236
LARRY L JOHNSON                                    4406 W FARNSWORTH                                                                               INDPLS             IN    46241‐5636
LARRY L JOLLIFF                                    15880 W BRIHOU RD                                                                               YUKON              OK    73099
LARRY L JUNK                                       2024 SKYMONT DR                                                                                 COOKEVILLE         TN    38506‐6479
LARRY L KAPTURE                                    7480 BALDWIN RD                                                                                 SWARTZ CREEK       MI    48473‐9120
LARRY L KILGORE                                    136 W OAK                                                                                       ANDERSON           IN    46012‐2546
LARRY L KIRK                                       RR#3 BOX 186A                                                                                   MITCHELL           IN    47446‐9521
LARRY L LEE                                        611 E 67TH ST N                                                                                 KANSAS CITY        MO    64118‐3411
LARRY L LESTER                                     4509 S DYE                                                                                      SWARTZ CREEK       MI    48473‐8258
LARRY L LEWIS                                      29800 SIBLEY ROAD                                                                               ROMULUS            MI    48174‐9230
LARRY L LINSEMAN                                   PO BOX 511                                                                                      CLIO               MI    48420‐0511
LARRY L LITWILLER                                  PO BOX 148                                                                                      ASHLEY             MI    48806‐0148
LARRY L LOOSER                                     25853 RD M RT 1                                                                                 CLOVERDALE         OH    45827‐9267
LARRY L LOSCHERT                                   98 VILLAGE LANE                                                                                 MONETA             VA    24121‐6087
LARRY L MIDDLETON                                  6735 SHARP RD                                                                                   ALPENA             MI    49707‐8708
LARRY L MILLS                                      5417 MAJESTIC CT                                                                                SWARTZ CREEK       MI    48473‐8938
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 668 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

LARRY L MONDY & CHARLES MONDY JT TEN            1553 HOLCOMB BRIDGE RD               APT B                                                    NORCROSS        GA    30092‐3281
LARRY L MYERS                                   6975 HALLENBECK ROAD                                                                          MANITOU BEACH   MI    49253‐9768
LARRY L NEVIN                                   2428 E 40TH ST                                                                                ANDERSON        IN    46013‐2610
LARRY L OGDEN & JACQUELINE S OGDEN JT TEN       17251 KENTFIELD                                                                               DETROIT         MI    48219‐3480
LARRY L ORR                                     405 DAVID AVENUE                                                                              LEWISBURG       TN    37091‐3605
LARRY L PAYNE                                   7687 PLEASANT MANOR DR                                                                        WATERFORD       MI    48327‐3682
LARRY L PAYTON                                  977 COUNTY RD 12                                                                              BAY SPRINGS     MS    39422‐9820
LARRY L PLUMMER                                 PO BOX 346                                                                                    DEFIANCE        OH    43512‐0346
LARRY L RAST & MARILYN L RAST JT TEN            251 N TURKEY PINE LOOP                                                                        LECANTO         FL    34461
LARRY L REED                                    3817 SAM BONEY DR                                                                             NASHVILLE       TN    37211‐3708
LARRY L RENZ                                    12873 BROSSER RD                                                                              SHERWOOD        OH    43556‐9786
LARRY L RETHERFORD                              814 E 1450 N                                                                                  SUMMITVILLE     IN    46070‐9392
LARRY L RICE                                    12821 CHARLOTTE HWY                                                                           PORTLAND        MI    48875‐9494
LARRY L RICHARDSON                              1103 GARY TER                                                                                 ODESSA          TX    79764‐6633
LARRY L RINKENBERGER                            13944 S COKE ROAD                                                                             LOCKPORT        IL    60441‐7494
LARRY L ROGERS                                  RR 3 BOX 6200                                                                                 HAWKINSVILLE    GA    31036‐9293
LARRY L ROGERS & DENISE M ROGERS JT TEN         317 SE 5 ST                                                                                   DANIA           FL    33004‐4718
LARRY L RONAN                                   4323 PAULDING ROAD                                                                            FORT WAYNE      IN    46816‐4604
LARRY L SANDMAN                                 PO BOX 138                                                                                    SHELBYVILLE     IN    46176‐0138
LARRY L SANTAMOUR                               3655 LAKESHORE DR                                                                             GLADWIN         MI    48624‐7803
LARRY L SCHAFER                                 12384 WEST GREENFIELD                                                                         LANSING         MI    48917‐8613
LARRY L SCHUMAKER                               209 DERBY GLEN LN                                                                             BRENTWOOD       TN    37027‐4869
LARRY L SCHWARTZ                                381 W BEECHNUT PL                                                                             SUN LAKES       AZ    85248‐6311
LARRY L SHAFFER                                 1936 W PARKS RD                                                                               ST JOHNS        MI    48879‐9262
LARRY L SMITH                                   3430 MEXICO ROAD                                                                              HAMPSTEAD       MD    21074
LARRY L SMITH                                   7176 MORGANTOWN RD                                                                            MARTINSVILLE    IN    46151
LARRY L SPENCER                                 4596 MIDLAND AVE                                                                              WATERFORD       MI    48329‐1835
LARRY L STANGE                                  11112 LATERN LANE                                                                             FORT WAYNE      IN    46845
LARRY L STONE JR                                340 4TH ST S                         APT 3                                                    ST PETERSBURG   FL    33701‐4229
LARRY L STRAUSBORGER & MARY G STRAUSBORGER JT   11212 ARMON DR                                                                                CARMEL          IN    46033‐3711
TEN
LARRY L SUMWALT                                 11171 N CR 525 W                                                                              GASTON          IN    47342‐9717
LARRY L SUTER                                   2743 ROUND TABLE DR                                                                           ANDERSON        IN    46011‐9051
LARRY L SWAFFORD                                10089 BEECH                                                                                   HOWARD CITY     MI    49329‐9614
LARRY L THAYER                                  4858 APPACHE PATH                                                                             OWOSSO          MI    48867‐9732
LARRY L TRUMBLE                                 688 S MAIN ST                                                                                 VERMONTVILLE    MI    49096‐9408
LARRY L URBANAWIZ                               1412 LYON                                                                                     SAGINAW         MI    48602‐2435
LARRY L VAN HORN                                2792 CARPENTER RD                                                                             LAPEER          MI    48446‐8913
LARRY L VEACH                                   3 STILLWELL COURT                                                                             BRIDGEWATER     NJ    08807‐5635
LARRY L WAGNER                                  26141 BOWMAN RD                                                                               DEFIANCE        OH    43512‐8996
LARRY L WATKINS & TERESA I WATKINS JT TEN       3099 FLINT RIVER RD                                                                           COLUMBIAVILLE   MI    48421‐9310
LARRY L WELSCH                                  G 5209 W COURT ST                                                                             FLINT           MI    48504
LARRY L WILLIAMS & MRS MARIE WILLIAMS JT TEN    815 RALSTON DR                                                                                BLOOMINGTON     IN    47403‐3303

LARRY L WITTE & KATHLEEN A WITTE JT TEN         556 SYCAMORE LN                                                                               DANVILLE        IN    46122
LARRY LA ROI                                    2244 HEATHERCLIFF DR                                                                          LIBERTYVILLE    IL    60048‐1131
LARRY LAROUNIS                                  7883 SUNDIAL HARBOR PT                                                                        LAKE WORTH      FL    33467‐7058
LARRY LASHINSKY & SHIRLEY LASHINSKY JT TEN      4702 MARTINIQUE DR                   APT H2                                                   COCONUT CREEK   FL    33066‐1457
LARRY LAVERRIERE                                18 THATCHER BROOK LN                                                                          BIDDEFORD       ME    04005‐9378
LARRY LAWRENCE                                  157 GROSBEAK RD                                                                               KIRKSEY         KY    42054
LARRY LEE BASSETT                               201 N PINERIDGE CT                                                                            MUNCIE          IN    47304‐6704
LARRY LEE CARTHER                               1300 N GAVIN ST                                                                               MUNCIE          IN    47303‐3319
LARRY LEE KOZAK                                 3338 GEORGE ANN CT                                                                            CLIO            MI    48420‐1911
LARRY LEMMOND                                   1358 COMMUNITY LANE                                                                           HARTSELLE       AL    35640‐6804
LARRY LEONARD CORCORAN                          11119 HALL RD                                                                                 WHITMORE LAKE   MI    48189‐9768
LARRY LIVELY                                    PO BOX 194                                                                                    SUMERCO         WV    25567‐0194
LARRY LYONS                                     PO BOX 60752                                                                                  DAYTON          OH    45406‐0752
LARRY M ABSHIRE & CLAUDIA R ABSHIRE JT TEN      1013 VASBINDER                                                                                CHESTERFIELD    IN    46017‐1034
LARRY M ANDERSON                                4489 E 1100 N                                                                                 ALEXANDRIA      IN    46001‐8487
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 669 of 855
Name                                           Address1                                Address2             Address3          Address4          City             State Zip

LARRY M BEST                                   1900 GLENGARY RD                                                                                 COMMERCE         MI    48382‐2132
                                                                                                                                                TOWNSHIP
LARRY M BOLES                                  14249 S TELEGRAPH RD                                                                             LA SALLE         MI    48145‐9788
LARRY M BRATTON JR                             688 DESERT GARDENS DR                                                                            EL CENTRO        CA    92243
LARRY M BRYANT                                 224 FINKS HIDEAWAY RD                   APT 91                                                   MONROE           LA    71203‐2393
LARRY M CARDIFF                                43180 BELL GREEN DRIVE                                                                           ASHBURN          VA    20147‐4411
LARRY M CATTIN                                 2043 E WABASH ROAD                                                                               PERU             IN    46970‐8658
LARRY M DIXON                                  820 GUADALUPE NW CI                                                                              ALBUQUERQUE      NM    87114‐1710
LARRY M EDGAR                                  2600 PICKETT DOWNS DR                                                                            CHULUOTA         FL    32766‐8822
LARRY M EMPSON                                 RR 2 BOX 62‐A                                                                                    PLEASANTON       KS    66075‐9236
LARRY M FERENZ                                 BU                                      1069 CARLSON DR                                          BURTON           MI    48509‐2325
LARRY M FREEMAN                                180 ROCK RD                                                                                      HONEY BROOK      PA    19344‐1207
LARRY M GIBSON                                 1625 HILL ST                                                                                     ANDERSON         IN    46012‐2425
LARRY M GOSS                                   9310 N GALE RD                                                                                   OTISVILLE        MI    48463‐9423
LARRY M HESS                                   9210 OAKVIEW DR                                                                                  SWARTZ CREEK     MI    48473‐1018
LARRY M KARVONEN                               10099 ROBERTS RD                                                                                 GREGORY          MI    48137‐9413
LARRY M KOON                                   6200 BERCHWOOD AVE                                                                               TUSCALOOSA       AL    35405
LARRY M KOZIK                                  584 W CHADWICK DR                                                                                NORTH MUSKEGON   MI    49445‐2326

LARRY M MCMILLAN                               PO BOX 197                                                                                       SULPHUR SPGS     TX    75483‐0197
LARRY M MURPHY                                 1385 PAULSON ROAD                                                                                HOLLANDALE       WI    53544‐9358
LARRY M NORMAN                                 450 STONE RUN RD                                                                                 FLATWOODS        WV    26621‐9704
LARRY M OLIVER                                 960 LIVINGSTON DRIVE                                                                             XENIA            OH    45385‐9783
LARRY M OLSEN                                  2775 MESA VERDE DR APT M 206                                                                     COSTA MESA       CA    92626‐7205
LARRY M PAYNE                                  1498 PEBBLE CR                                                                                   METAMORA         MI    48455‐8729
LARRY M PORTH                                  375 TWISTING RD                                                                                  LEXINGTON        SC    29072‐8704
LARRY M RADAKOVITZ                             14543 WILLOW                                                                                     ORLAND PARK      IL    60462‐2693
LARRY M REUTER & ELOISE REUTER JT TEN          13934 NORTH CABANA ST                                                                            CRP CHRISTI      TX    78418
LARRY M ROSE                                   2208 EMERSON LANE                                                                                DENTON           TX    76209
LARRY M SALO & GRETCHEN M SALO COMMUNITY       PO BOX 555                                                                                       CLEMENTS         CA    95227‐0555
PROPERTY
LARRY M SHINE & DONNA J SHINE JT TEN           1600E S BATTERY ST                                                                               LITTLE ROCK      AR    72202‐5815
LARRY M STEWART                                8600 W CO RD 400 S                                                                               YORKTOWN         IN    47396‐9501
LARRY M THOMPSON                               227 JEFFERSON TERRACE                                                                            ROCHESTER        NY    14611‐3311
LARRY M TINKER                                 21545 HIGHVIEW DRIVE                                                                             CLINTON TWP      MI    48036‐2554
LARRY M TURNAGE & SUSAN J TURNAGE JT TEN       9316 COUNTRY CLUB LN                                                                             DAVISON          MI    48423‐8357
LARRY M WELDON                                 10427 TRAILWOOD                                                                                  PLYMOUTH         MI    48170‐3856
LARRY M WILLIAMS                               420 W 4TH STREET REAR                                                                            LEWISTOWN        PA    17044‐2013
LARRY M WILSON                                 1545 CANYONLANDS CT                                                                              RENO             NV    89521‐3050
LARRY M WOLFORD                                83 AUTUMN DAY ST                                                                                 HENDERSON        NV    89012‐2608
LARRY MART & KATHLEEN MART JT TEN              160 S FRAUNFELTER                                                                                LIMA             OH    45807‐9406
LARRY MARTIN JR                                4248 DOUGLAS RD                                                                                  TOLEDO           OH    43613‐3837
LARRY MC INTYRE                                4523 RADNOR RD                                                                                   INDIANAPOLIS     IN    46226‐2151
LARRY MCGREGOR                                 1005 W ELSIE AVE                                                                                 MUNCIE           IN    47303‐1749
LARRY MCLAIN CUST SARA JANE MCLAIN UGMA MI     45115 TURTLEHEAD DR                                                                              PLYMOUTH         MI    48170‐3868

LARRY MILLER CUST GERALD MILLER UGMA MI        8152 W PARKWAY                                                                                   DETROIT          MI    48239‐4202
LARRY MONROE                                   7261 BOWLING GREEN ROAD                                                                          SCOTTSVILLE      KY    42164‐8306
LARRY MORGAN                                   1101 EAST FLETCHER AVENUE                                                                        TAMPA            FL    33612
LARRY MORRIS                                   PO BOX 6172                                                                                      SHREVEPORT       LA    71136‐6172
LARRY MOUNTFORD                                1877 BAHAMA RD                                                                                   LEXINGTON        KY    40509‐9537
LARRY N ALLEN                                  6675 CAMP TANUQA RD NE                                                                           KAIKASKA         MI    49646‐9522
LARRY N BIRCHMEIER                             8585 N MCKINLEY RD                                                                               FLUSHING         MI    48433
LARRY N BURDEN                                 6128 WEYBRIDGE DR                                                                                TROTWOOD         OH    45426‐1440
LARRY N COLEMAN                                5623 TWP RD 173                                                                                  CARDINGTON       OH    43315‐9368
LARRY N CORNEIL                                48946 DEERFIELD PARK SOUTH DR                                                                    MACOMB           MI    48044‐2230
LARRY N GEARHEART                              844 SHADOWOOD LN SE                                                                              WARREN           OH    44484
LARRY N HUNT                                   PO BOX 484                                                                                       RIPLEY           TN    38063‐0484
LARRY N KIMMEL                                 616 OLD FAYETTEVILLE RD                                                                          FREEBERG         IL    62243‐1802
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 670 of 855
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

LARRY N KING                                        1117 E 900 N                                                                                    ALEXANDRIA        IN    46001‐8331
LARRY N LEVINE                                      1824 MONTEREAU AVE                     ORLEANS ON                             K1C 5X1 CANADA
LARRY N MCPHERSON                                   5144 PINE KNOB TRL                                                                              CLARKSTON         MI    48346‐4126
LARRY N REAMAN                                      525 S HORON SHORES DR                                                                           HARRISVILLE       MI    48740‐9583
LARRY N SCARTZ II CUST LARRY N SCARTZ III UTMA MD   21641 FRAME SQUARE                                                                              ASHBURN           VA    20148‐5014

LARRY N SMITH                                       5968 VOICE RD                                                                                   KINGSLEY          MI    49649‐9792
LARRY N THOMPSON                                    8218 S EVENING DR                                                                               PENDLETON         IN    46064‐9461
LARRY NIRENBERG & SANDRA NIRENBERG JT TEN           8 SPRINGFIELD RD                                                                                EAST BRUNSWICK    NJ    08816‐2640
LARRY O BLAIN                                       106 VELVET ST                                                                                   INTERLACHEN       FL    32148‐3644
LARRY O GIFFORD                                     ATTN NOXON                             13261 EA AVE W                                           PEARBLOSSOM       CA    93553‐3201
LARRY O KERR                                        2387 FOREST OAK TRL                                                                             WILLIAMSTON       MI    48895‐9032
LARRY O MCCORMICK & PENNY A MCCORMICK JT TEN        2583 ST ANDREW DR                                                                               JACKSON           MO    63755‐3336

LARRY O SHUFELDT                                   153 MAVERICK RD                                                                                  WOODSTOCK         NY    12498‐2500
LARRY O TRAMMELL                                   132 THORPE ST                                                                                    PONTIAC           MI    48341‐1372
LARRY O WALKER                                     5841 OLD STATE RT 68                                                                             RIPLEY            OH    45167‐9711
LARRY OIUM & ROSEMARY OIUM JT TEN                  2286 N RANGELINE RD                                                                              HUNTINGTON        IN    46750‐9094
LARRY OSTERBERG                                    912 CALIFORNIA NW                                                                                GRAND RAPIDS      MI    49504‐6365
LARRY P ANDERSON                                   4288 FIELDBROOK ROAD                                                                             W BLOOMFIELD      MI    48323‐3210
LARRY P ANGELI & TERRY T ANGELI TR ANGELI TRUST UA 2084 HILLSIDE CIRCLE                                                                             SAN LEANDRO       CA    94577‐6346
09/18/95
LARRY P BROOKS                                     2004 E LE GRANDE                                                                                 INDIANAPOLIS      IN    46203‐4160
LARRY P BYRSKI & HENRY J BYRSKI JT TEN             154 WYCKSHIRE DR                                                                                 PATASKALA         OH    43062‐7345
LARRY P COOK & BARBARA A COOK JT TEN               9412 E COLDWATER RD                                                                              DAVISON           MI    48423
LARRY P EDINGTON                                   1909 W MANITOU DR                                                                                OWOSSO            MI    48867
LARRY P FOLLICK                                    5615 OLIVER                                                                                      KANSAS CITY       KS    66106‐3137
LARRY P GATREL                                     348 SEARS DR                                                                                     MAYSVILLE         GA    30558‐5804
LARRY P HARDING                                    12800 SHANER                                                                                     CEDAR SPRINGS     MI    49319‐8551
LARRY P HEGSTAD & PATSY A HEGSTAD JT TEN           720 S 51ST ST                                                                                    TACOMA            WA    98408‐5709
LARRY P HENRY & CAROL L HENRY TR HENRY FAMILY      225 N LOARA STREET                                                                               ANAHEIM           CA    92800
LIVING TRUST UA 04/18/88
LARRY P HENRY CUST CAMERON RAY HEANEY UTMA CA 225 N LOAIA STREET                                                                                    ANAHEIM           CA    92801

LARRY P JEFFREY & DEBORAH L JEFFREY JT TEN          12400 LADONNA DR                                                                                OKLAHOMA CITY     OK    73170
LARRY P KOZIKOWSKI & LINDA L KOZIKOWSKI JT TEN      1046 ASPEN LANE                                                                                 ROGERS CITY       MI    49779‐9616

LARRY P LADE                                        2162 COLVIN BLVD                                                                                TONAWANDA         NY    14150‐6910
LARRY P MILLER                                      1950 SCHWILK ROAD                                                                               LANCASTER         OH    43130‐9496
LARRY P NIEMAN                                      1079 MAYW0OD DR                                                                                 SAGINAW           MI    48603‐5668
LARRY P RANSOM                                      4350 EMMAUS RD                                                                                  FRUITLAND PARK    FL    34731‐5917
LARRY P SCHRAMM & JOYCE A SCHRAMM JT TEN            3298 SUMMIT RIDGE DR                                                                            ROCHESTER         MI    48306‐2956
LARRY P SHROUT                                      1359 PURSELL AVE                                                                                DAYTON            OH    45420‐1946
LARRY P SILVER                                      6682 BERRYWOOD DR                                                                               BRIGHTON          MI    48116‐2038
LARRY P SIMPSON                                     2124 HOWARD AVE                                                                                 FLINT             MI    48503‐5809
LARRY P SISSEN                                      32463 SOMERSET ST                                                                               WESTLAND          MI    48186‐5246
LARRY PAUL GAINES                                   9237 N 200 W                                                                                    ALEXANDRIA        IN    46001‐8291
LARRY PAUL WALTERS                                  106 WALTERS LANE                                                                                EVANS CITY        PA    16033‐3820
LARRY POLK                                          5917 NW LISTON CT                                                                               KANSAS CITY       MO    64151‐2887
LARRY Q ELDER                                       5112 COULSON DRIVE                                                                              DAYTON            OH    45418‐2035
LARRY Q ROBINSON & VIOLA A ROBINSON JT TEN          8440 W SAINT JOHN RD                                                                            PEORIA            AZ    85382‐8032
LARRY R ALLMAN                                      27 N SADLIER                                                                                    INDIANAPOLIS      IN    46219‐5027
LARRY R APPLEGATE                                   2112 COBLE MEADOWS DR                                                                           LEWISBURG         TN    37091
LARRY R ARNOLD                                      2368 GREENWOOD                                                                                  LAPEER            MI    48446‐9466
LARRY R BAARCK                                      3317 CULBERTSON                                                                                 ROCHESTER HILLS   MI    48307‐5608
LARRY R BATISTA                                     1254 GERALD ST                         SAINT PABLO                                              SAN PABLO         CA    94806
LARRY R BECKERMAN                                   406 URBAN ST                                                                                    ALLENDALE         IL    62410‐9520
LARRY R BENNETT                                     950 W                                  4462 N COUNTY RD                                         SHIRLEY           IN    47384
LARRY R BLAKEMORE                                   3140 FENTON ROAD                                                                                HOLLY             MI    48442‐9102
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 671 of 855
Name                                            Address1                            Address2             Address3          Address4          City             State Zip

LARRY R BLAKEMORE & JUDITH L BLAKEMORE JT TEN   3140 FENTON RD                                                                               HOLLY            MI    48442‐9102

LARRY R BLOMSTER & TERRY J BLOMSTER JT TEN                                                                                                   BUFFALO CENTER   IA    50424
LARRY R BOSWELL                                 11635 N GASBURG ROAD                                                                         MOORESVILLE      IN    46158‐6751
LARRY R BOWSER                                  1077 WALLEY RUN DR                                                                           LEEPER           PA    16233‐9720
LARRY R BRADLEY                                 14240 LIVONIA CRESCENT                                                                       LIVONIA          MI    48154
LARRY R BRETT                                   106 HICKOVY HILL RD                                                                          WILLISTON        VT    05495
LARRY R BROWN                                   6841 ROBY DR                                                                                 WATERFORD        MI    48327‐3861
LARRY R BRYANT                                  2601 W RIGGIN ROAD                                                                           MUNCIE           IN    47304‐1020
LARRY R BRYANT & EUNICE O BRYANT JT TEN         2601 W RIGGIN ROAD                                                                           MUNCIE           IN    47304‐1020
LARRY R CARSON                                  3291 E BAY ARENAC LINE                                                                       PINCONNING       MI    48650‐8412
LARRY R COOK                                    PO BOX 606                                                                                   GENESEE          MI    48437‐0606
LARRY R COULTER                                 RR 1 BOX 145F                                                                                ODESSA           MO    64076‐9801
LARRY R CROFF & BEVERLY J CROFF JT TEN          7675 WARNER ST                                                                               ALLENDALE        MI    49401‐8760
LARRY R CRUZ                                    1411 SOUTH ORCHARD                                                                           JANESVILLE       WI    53546‐5464
LARRY R CUMMINGS                                115 PERCY RD                                                                                 CHURCHVILLE      NY    14428‐9716
LARRY R CURRY                                   2394 BURGUNDY WAY                                                                            PLAINFIELD       IN    46168
LARRY R CUSHIST                                 3031 HUNTINGTON PK DR                                                                        WATERFORD        MI    48329‐4530
LARRY R DARNER                                  3820 LEFEVRE DR                                                                              KETTERING        OH    45429‐3338
LARRY R DIETZ                                   1354 MALCOLM                                                                                 WATERFORD        MI    48327‐4126
LARRY R DONAGHY                                 1165 MICHIGAN ROAD                                                                           PORT HURON       MI    48060‐4671
LARRY R DOWNS & SUZANNE M CROUCH JT TEN         BOX 3646                                                                                     EVANSVILLE       IN    47735‐3646
LARRY R DURRANCE                                7281 ST CLAIR ROAD                                                                           ST JOHNS         MI    48879‐9138
LARRY R EUDY                                    316 N DEERFIELD                                                                              LANSING          MI    48917‐2909
LARRY R FISHER                                  27731 JOY RD                                                                                 WESTLAND         MI    48185‐5525
LARRY R FLOOD                                   4495 S BELSAY                       GRAND BLANC MI                                           GOODRICH         MI    48439‐9120
LARRY R GIFFORD                                 702 LANGLEY ST                                                                               CLAWSON          MI    48017‐1386
LARRY R GISI                                    12079 COLONIAL DR                                                                            MARYLAND HGTS    MO    63043‐1379
LARRY R GLIDDEN                                 611 REED CT                                                                                  GREENWOOD        IN    46143‐8429
LARRY R GONZALEZ                                3041 DOYLE RD                                                                                OAKLEY           CA    94561‐2841
LARRY R HAMILTON                                15336 CHARBONO STREET                                                                        FISHERS          IN    46037
LARRY R HAMILTON                                2589 SAWMILL RD                                                                              BLOUNTSVILLE     AL    35031‐3973
LARRY R HAMPEL                                  2150 E SANILAC RD                                                                            CARO             MI    48723‐9556
LARRY R HENDERSHOT                              5150 COLE RD                                                                                 BANCROFT         MI    48414‐9779
LARRY R HOOVER                                  1210 OREGON WAY                                                                              ANDERSON         IN    46012‐5513
LARRY R HORNBECK                                5021 S RANGELINE RD                                                                          ANDERSON         IN    46017‐2123
LARRY R HORNING                                 16712 YARDARM LANE                                                                           CORNELIUS        NC    28031
LARRY R HUTCHINGS                               769 PINE SHORES CIRCLE                                                                       NEW SMYRNA       FL    32168‐6176
                                                                                                                                             BEACH
LARRY R JACQUES                                 208 TERRACE ST                                                                               FLUSHING         MI    48433‐2117
LARRY R JEFCOAT                                 2842 HWY 29N                                                                                 SOSO             MS    39480‐5024
LARRY R KANE CUST GREGORY A KANE UGMA           135 S LA SALLE ST 36                                                                         CHICAGO          IL    60603‐4110
LARRY R KIMBALL                                 15102 EAST 38TH ST                                                                           INDEPENDENCE     MO    64055‐3522
LARRY R KIRK                                    118 TOBIAS RD                                                                                BERNVILLE        PA    19506‐9338
LARRY R KIRSCH                                  67 STUTZMAN RD                                                                               BOWMANSVILLE     NY    14026‐1047
LARRY R KONIECZKA                               233 MAVERICK LN                                                                              LAPEER           MI    48446‐8758
LARRY R KREMER & BONNIE CROWSON JT TEN          10161 MERIDIAN ROAD                                                                          BANNISTER        MI    48807‐9502
LARRY R KREYER                                  2116 EUCLID AVE                                                                              BELOIT           WI    53511‐5707
LARRY R LAURIA                                  1565 SOUTH NOLET ROAD                                                                        MUNGER           MI    48747‐9757
LARRY R LINDLEY                                 2310 S INDIANA AVE                                                                           KOKOMO           IN    46902‐3345
LARRY R MALONE                                  15288 BRANT RD BOX 6                                                                         BRANT            MI    48614‐0006
LARRY R MARTIN                                  13101 COUNTY ROAD J 13                                                                       MOUNTPELIER      OH    43543‐9612
LARRY R MATNEY                                  5980 GOSHEN RD                                                                               GOSHEN           OH    45122‐9428
LARRY R MC KENZIE                               1859 OXFORD LANE                                                                             THE VILLAGES     FL    32162‐1618
LARRY R MC MULLEN                               RR4 BOX 85C                                                                                  SHELBYVILLE      IL    62565‐9324
LARRY R MERSFELDER                              4409 SULLIVAN                                                                                CINCINNATI       OH    45217‐1716
LARRY R MESSENGER                               1401 PEPPERMILL RD                                                                           LAPEER           MI    48446‐3241
LARRY R MOORE                                   PO BOX 101                          TRENT RIVER ON                         K0L 2Z0 CANADA
LARRY R MORRISON                                10921 HIGHWAY 52                                                                             VERSAILLES       MO    65084‐4917
                                           09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 4 of 8 Pg 672 of 855
Name                                         Address1                             Address2             Address3          Address4          City               State Zip

LARRY R MYERS                                500 KEDDLE                                                                                    HOWELL             MI    48843‐8893
LARRY R NADOLSKI                             PO BOX 41                                                                                     SOUTH BRANCH       MI    48761‐0041
LARRY R OSBORNE                              100 COUNTY ROAD 1100                                                                          WEST SALEM         OH    44287‐9607
LARRY R PATTERSON                            1550 OLD 27 LOT 283                                                                           CLEWISTON          FL    33440‐5344
LARRY R PHILLIPPI                            171 DOVENSHIRE DRIVE                                                                          FAIRFIELD GLADE    TN    38558‐8899
LARRY R POBOCIK                              1452 W MAPLE AVENUE                                                                           FLINT              MI    48507‐5614
LARRY R POOL                                 8419 STONEWALL DR                                                                             INDIANAPOLIS       IN    46231‐2558
LARRY R POPE                                 2200 PARADISE DR                                                                              LEWISBURG          TN    37091‐4537
LARRY R POWERS                               135 HEATHERSETT DRIVE                                                                         FRANKLIN           TN    37064‐4920
LARRY R PRICE                                853 SOUTH GRAND AVE                                                                           OWOSSO             MI    48867‐4515
LARRY R PRICE                                345 LEVEL CREEK RD                                                                            BUFORD             GA    30518‐4688
LARRY R REISING                              1841 TAMARACK CT                                                                              WESTLEY CHAPEL     FL    33543‐5402
LARRY R RYDER                                9281 SW 102 PLACE                                                                             OCALA              FL    34481‐9542
LARRY R RYMER                                4536 AUGUSTA ST                                                                               THE COLONY         TX    75056‐3504
LARRY R SARGENT                              3333 RAVENSWOOD RD                   LOT #100                                                 MARYSVILLE         MI    48040‐1101
LARRY R SCHEERENS                            18 SUNNYSIDE LN                                                                               NORTH CHILI        NY    14514‐1126
LARRY R SCHULTE                              13800 WEST GRAND RIVER                                                                        EAGLE              MI    48822‐9601
LARRY R SHERMAN                              43 SHADOW LN                                                                                  ROCHESTER          NY    14606‐4359
LARRY R SHIMMELL                             11315 HILLSIDE DR                                                                             PINKNEY            MI    48169‐9753
LARRY R SIMMONDS                             9816 DITCH RD                                                                                 CHESANING          MI    48616‐9705
LARRY R SMITH                                365 THOMPSON RD                                                                               NEEDMORE           PA    17238‐9214
LARRY R STRIMPLE                             1458 KELSO BLVD                                                                               WINDERMERE         FL    34786‐7504
LARRY R STURGELL                             770 NORWICH RD                                                                                VANDALIA           OH    45377‐1630
LARRY R SWARTZLANDER                         7306 PRINCETON AVE                                                                            COLLEGE PARK       MD    20740‐3317
LARRY R SWINK                                9604 W MUNCIE STREET                                                                          SELMA              IN    47383
LARRY R TAWNEY                               5917 GIDDINGS RD                                                                              ROOTSTOWN          OH    44272‐9745
LARRY R TAYLOR & MARY L TAYLOR JT TEN        7510 BRENEL                                                                                   CONCORD TWP        OH    44060‐7250
LARRY R TIDWELL                              200 CINDY STREET SOUTH                                                                        KELLER             TX    76248‐2340
LARRY R VERNER                               4361 PLANTATION TRAIL                                                                         BELLBROOK          OH    45305‐1475
LARRY R WATERHOUSE                           1005 COPPERFIELD DR                  OSHAWA ON                              L1K 3C6 CANADA
LARRY R WATERHOUSE                           1005 COPPERFIELD DR                  OSHAWA ON                              L1K 3C6 CANADA
LARRY R WEAVER                               5950 BUTTONWOOD DR                                                                            NOBLESVILLE        IN    46060‐9129
LARRY R WILLS                                6133 OLD BEATTIE RD                                                                           LOCKPORT           NY    14094‐9504
LARRY R WOOD                                 1405 CRAWFORD                                                                                 DEFORD             MI    48729
LARRY R WOOD & ALBERTA D WOOD JT TEN         2911 RTE 85                                                                                   HOME               PA    15747‐7821
LARRY R WOODMAN                              2340 MAGUIRE N E                                                                              GRAND RAPIDS       MI    49525‐9604
LARRY R WRIGHT                               20 TERRELL DR                                                                                 WASHINGTON         PA    18977
                                                                                                                                           CROSSIN
LARRY R ZELLER                               405 S 24 ST                                                                                   LEXINGTON          MO    64067‐1918
LARRY RATLIFF                                PO BOX 441                                                                                    STEPHENVILLE       TX    76401‐0026
LARRY RICHARDSON                             5468 ASPEN CIR                                                                                GRAND BLANC        MI    48439‐3510
LARRY RITCHIE                                PO BOX 48                                                                                     LAKE CITY          MI    49651‐0048
LARRY ROBERT MEEK                            PO BOX 276                                                                                    LONE OAK           TX    75453‐0276
LARRY ROBERT SMITH                           PO BOX 1774                                                                                   ANADARKO           OK    73005‐1774
LARRY ROME                                   215 GRANDVIEW DR                                                                              GLASTONBURY        CT    06033‐3943
LARRY RONALD CHAFFIN                         22005 VILLAGE CT                                                                              WOODHAVEN          MI    48183‐3750
LARRY ROSS MILLER                            3922 DUNDEE DR                                                                                INDIANAPOLIS       IN    46237‐1323
LARRY S BAKER                                4468 BURR OAK                                                                                 LINCOLN            MI    48742‐9534
LARRY S BARAS                                6828 RIDGE CREEK DR                                                                           OOLTEWAH           TN    37363‐8725
LARRY S BARKER                               17852 BEAR RIVER CT                                                                           RENO               NV    89506‐5004
LARRY S BARTOS                               1044 OAK TREE LN                                                                              BLOOMFIELD HILLS   MI    48304‐1176

LARRY S BISHOP                               9439 S JENNINGS RD                                                                            GRAND BLANC        MI    48439‐9360
LARRY S BREWER                               747 FILLMORE RD                                                                               FITZGERALD         GA    31750‐6120
LARRY S CARR                                 1309 W SHORT AVE                                                                              INDEPENDENCE       MO    64050‐3533
LARRY S COOPER                               204 SHAWN DR                                                                                  BENTON             KY    42025‐6763
LARRY S COX                                  1881 W 1000N                                                                                  FORTVILLE          IN    46040‐9353
LARRY S CRAIN                                5690 TAMARIX LN                                                                               SAGINAW            MI    48603‐2812
LARRY S DALTON & AUDREY A TINDALL JT TEN     5000 GARDEN AVE                                                                               WEST PALM BCH      FL    33405‐3116
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 673 of 855
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

LARRY S DAVIS & JANICE B DAVIS TR UA 11/09/06 DAVIS 15255 COLLEGE AVE                                                                               ALLEN PARK      MI    48101
FAM TRUST
LARRY S DORN                                        4304 TERRA HILL COURT                                                                           ENGLEWOOD       OH    45322‐2549
LARRY S FINLEY                                      297 HAMILTON RD                                                                                 BELLVILLE       OH    44813‐9370
LARRY S FRENCH CUST LARRY S FRENCH II UTMA CT       8 HUBBARD ST                                                                                    MIDDLEFIELD     CT    06455‐1218

LARRY S GOULD                                      2918 WRIGHT ST                                                                                   PORT HURON      MI    48060‐8529
LARRY S HEDRICK                                    709 COLLINGWOOD CT                                                                               DAVISON         MI    48423
LARRY S INAMINE & GLADYS K INAMINE TR INAMINE      2134 APIO LANE                                                                                   HONOLULU        HI    96817‐1762
JOINT TRUST UA 02/15/92
LARRY S JONES                                      830 CRANDALL AVE                                                                                 YOUNGSTOWN       OH   44510‐1215
LARRY S JONES                                      534 THOMSON STREET                                                                               FLINT            MI   48503
LARRY S KEITH                                      1220 EAST SEMINOLE                                                                               MCALESTER        OK   74501‐6056
LARRY S KING                                       710 GRACE ST                                                                                     OWOSSO           MI   48867‐4337
LARRY S MAXWELL                                    2631 KEENAN                                                                                      DAYTON           OH   45414‐4909
LARRY S MC CRARY                                   511 HILDALE                                                                                      DETROIT          MI   48203‐4565
LARRY S MERKLE                                     7880 SALT ROAD                                                                                   CLARENCE         NY   14032‐9205
LARRY S MIHALKO                                    33730 HUNTERS POINTE                                                                             FARMINGTON HILLS MI   48331‐2721

LARRY S SACKS                                   2355 STONEY LANE                                                                                    GRAFTON         WI    53024‐9361
LARRY S WEHNER                                  5797 BIRCHREST DR                                                                                   SAGINAW         MI    48603‐5902
LARRY S WODNICKI                                2207 HARROWGATE DR                                                                                  INVERNESS       IL    60010‐5428
LARRY S WOLFORD                                 5239 FORREST AVE                                                                                    DOVER           DE    19904‐5119
LARRY S YUHASZ                                  42 E PINELAKE DR                                                                                    WILLIAMSVILLE   NY    14221‐8311
LARRY SAMPEL                                    7507 NORTH AVALON STREET                                                                            KANSAS CITY     MO    64152‐2226
LARRY SANTI                                     8985 NW BEAVER DR                                                                                   JOHNSTON        IA    50131‐1906
LARRY SATTERTHWAITE                             82 ELYSIAN FIELDS DR                                                                                OAKLAND         CA    94605‐4938
LARRY SAWYERS DAVIS                             530 SAN MARCO DR                                                                                    FT LAUDERDALE   FL    33301‐2546
LARRY SAZANT                                    3802 NE 207TH STREET                       TOWNHOUSE #3                                             AVENTURA        FL    33180‐4704
LARRY SCHIEBER                                  517 SYCAMORE DRIVE                                                                                  CIRCLEVILLE     OH    43113‐1137
LARRY SCHMIDT & PATTI SCHMIDT JT TEN            308 EUCLID AVE                                                                                      MANASQUAN       NJ    08736‐3706
LARRY SCOTT HILL                                1070 LASK DR                                                                                        FLINT           MI    48532‐3633
LARRY SCOTT HINKEL CUST VALENTINA M HINKEL UTMA 2213 ROBINHOOD                                                                                      W LAFAYETTE     IN    47906‐5030
IN
LARRY SCOTT HINKEL CUST VARYA ELISE HINKEL UTMA 2213 ROBINHOOD LANE                                                                                 W LAFAYETTE     IN    47906‐5030
IN
LARRY SHAKLEY                                   PO BOX 8189                                                                                         WEST CHESTER    OH    45069‐8189
LARRY SIMONENKO                                 8783 MARGO                                                                                          BRIGHTON        MI    48114‐8941
LARRY SINGER CUST ERIC SINGER UGMA MI           7609 LOCKLIN                                                                                        WEST BLOOMFIELD MI    48324‐3836

LARRY SNYDER                                       696 KINDERHAVEN RD                                                                               ARNOLD          MD    21012‐1155
LARRY SOBEL & DALE SOBEL JT TEN                    7375 MARBELLA ECHO DR                                                                            DELRAY BEACH    FL    33446‐5619
LARRY SOJI NAKANISHI                               4667 FLAMINGO PARK CT                                                                            FREMONT         CA    94538‐4035
LARRY SPILBELER                                    2520 ROCKCREEK DRIVE                                                                             BLOOMINGTON     IN    47401‐6824
LARRY STARNER                                      60 SWAINFORD DR                                                                                  HEATH           OH    43056
LARRY STEENWYK                                     11978 WILLOW WOOD N                                                                              HOLLAND         MI    49424‐8939
LARRY STONE                                        444 W BROAD ST                                                                                   NEWTON FALLS    OH    44444‐1208
LARRY T BOWLIN                                     740 EMILY AVE                                                                                    LANSING         MI    48910‐5602
LARRY T BRANTLEY                                   3201 SAN ANDREAS DR                                                                              UNION CITY      CA    94587
LARRY T CARTER                                     1935 BENSON DRIVE                                                                                DAYTON          OH    45406‐4405
LARRY T CHARNESKY                                  1265 CONSER DRIVE                                                                                SALEM           OH    44460‐4117
LARRY T DAVIS                                      1084 MISTY MORN CIR                                                                              SPRING HILL     TN    37174‐7404
LARRY T ELROD                                      1380 TRI‐COUNTY RD                                                                               WINCHESTER      OH    45697‐9452
LARRY T FORD                                       2635 ELMWOOD DR                                                                                  COLUMBIA        TN    38401‐7468
LARRY T GILBREATH                                  13303 RR 2243                                                                                    LEANDER         TX    78641
LARRY T JIROVSKY CUST LAUREN E JIROVSKY UTMA NE    16198 CAPITOL AVE                                                                                OMAHA           NE    68118‐2011

LARRY T JIROVSKY CUST MORGAN G JIROVSKY UTMA NE 16198 CAPITOL AVE                                                                                   OMAHA           NE    68118‐2011
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 674 of 855
Name                                            Address1                              Address2             Address3          Address4          City           State Zip

LARRY T JOHNSON                                 601 BROWN ST                                                                                   GALLATIN       MO    64640‐9473
LARRY T JONES                                   7897 BANNER                                                                                    TAYLOR         MI    48180‐2146
LARRY T KELLER                                  4828 STURBRIDGE LN                                                                             MEMPHIS        TN    38141‐8550
LARRY T KONYVES & MARILYN C KONYVES JT TEN      1224 CLOVERNOOK AVE                                                                            BENSALEM       PA    19020‐5254
LARRY T LEGUE                                   4770 S SHERIDAN                                                                                VASSAR         MI    48768‐8932
LARRY T MC PHERSON                              3079 GEHRING DR                                                                                FLINT          MI    48506‐2259
LARRY T NEELY                                   6841 N 25 W                                                                                    WHITELAND      IN    46184‐9547
LARRY T NICHOLSON                               5977 W WILLIS RD                                                                               GEORGETOWN     IN    47122‐9120
LARRY T NOE                                     3410 APPLEWOOD                                                                                 LINCOLN PARK   MI    48146‐4602
LARRY T NOEL                                    1332 S AIRPORT RD                                                                              SAGINAW        MI    48601‐9483
LARRY T PATTERSON                               350 MAXWELL RD                                                                                 INDIANAPOLIS   IN    46217‐3438
LARRY T SINGLETON                               3883 RAINTREE DRIVE                                                                            TROY           MI    48083‐5348
LARRY T SMITH                                   3915 PARAGON ROAD                                                                              MARTINSVILLE   IN    46151‐9461
LARRY T SMITH                                   108 ATKINS AVE                                                                                 SHREVEPORT     LA    71104
LARRY T SWAFFORD & CONNIE S SWAFFORD JT TEN     2512 CASCADE DR                                                                                BLOOMINGTON    IN    47404‐1805

LARRY T WING                                   PO BOX 23                                                                                       DANSVILLE      MI    48819‐0023
LARRY THAYER                                   101 WASHINGTON SUITE 207                                                                        GRAND HAVEN    MI    49417‐1354
LARRY THOMAS JOHNSON                           4265 OLD COLONY RD                                                                              MULBURRY       FL    33860‐7520
LARRY TRIMBLE                                  279 FIRST STREET S W                                                                            WARREN         OH    44485‐3821
LARRY TYREE                                    1176 FRAGALA ST                                                                                 RAYVILLE       LA    71269‐5567
LARRY V FINLEY                                 RR 1 BOX 484                                                                                    DUNLOW         WV    25511‐9729
LARRY V GUMAER                                 192 MAY RD                                                                                      POTSDAM        NY    13676‐3205
LARRY V GUTHRIE                                272 GUTHRIE BEND                                                                                BEDFORD        IN    47421‐7743
LARRY V HALL                                   3697 MAPLEBROOK DR NW                                                                           GRAND RAPIDS   MI    49534‐2709
LARRY V LOFTON                                 1401 BARBARA DR                                                                                 FLINT          MI    48505‐2534
LARRY V POWELL                                 R R 1 BOX 116                                                                                   GREENTOWN      IN    46936‐9801
LARRY V PUCKETT                                PO BOX 99                                                                                       TALMO          GA    30575‐0099
LARRY V ROWE                                   444 WASHINGTON AVE                                                                              URBANA         OH    43078‐1733
LARRY V SNIDER                                 6810 VINTAGE DR                                                                                 HUDSONVILLE    MI    49426‐9241
LARRY VANDERLAAN                               6857 EASTERN AVE SE                                                                             GRAND RAPIDS   MI    49508‐7473
LARRY VICTOR GUMAER & CAROLENE E GUMAER JT TEN 192 MAY RD                                                                                      POTSDAM        NY    13676‐3205

LARRY VISOS CUST NICHOLAS VISOS UTMA VA         6454 ROCK HOLLOW LN                                                                            CLIFTON        VA    20124
LARRY W ATHERTON                                5104 RAYMOND AVE                                                                               BURTON         MI    48509‐1934
LARRY W BACK                                    6924 BEATTYVILLE RD                                                                            JACKSON        KY    41339‐9115
LARRY W BAKER CUST BROOKE ASHTON BAKER UTMA     302 BISHOPSBRIDGE DR                                                                           CINCINNATI     OH    45255‐3947
OH
LARRY W BARNES                                  6729 AUTUMN GLEN DR                                                                            W CHESTER      OH    45069‐4708
LARRY W BEALS & FOSTINE BEALS JT TEN            21595 DUNBAR RD                                                                                SHERIDAN       IN    46069‐9726
LARRY W BEARD EX EST JERRY L SPRADLIN           14337 NOLAN DR                                                                                 FISHERS        IN    46038
LARRY W BENNETT                                 1604 N BUCKEYE RD                                                                              MUNCIE         IN    47304‐9681
LARRY W BOLEN                                   7406 FOREST PARK DR                                                                            INDIANAPOLIS   IN    46217‐4131
LARRY W BOONE CUST KATHERINE LE ANN BOONE       973 W TREE DR                                                                                  COLLIERVILLE   TN    38017‐1326
UGMA TN
LARRY W BRASHER                                 242 W GOLD HARBOR PATH                                                                         INVERNESS      FL    34450
LARRY W BRASHER & BARBARA P BRASHER JT TEN      242 W GOLD HARBOR PATH                                                                         INVERNESS      FL    34450
LARRY W BROWN                                   APT D‐103                             1906 W ALEXIS RD                                         TOLEDO         OH    43613‐2278
LARRY W BRUCE                                   1808 GUENTHER RD                                                                               CHELSEA        MI    48118‐9633
LARRY W BULLER                                  7165 EDGEWATER DR                                                                              MANDEVILLE     LA    70471‐7431
LARRY W CHITWOOD                                4953 WOMACK AVE NW                                                                             ACWORTH        GA    30101‐4081
LARRY W CLEAVER                                 4335 BECKETT PL                                                                                SAGINAW        MI    48603‐2005
LARRY W CORKE                                   13819 ROOT RD                                                                                  ALBION         NY    14411‐9522
LARRY W COUCH                                   3315 COUNTY RD 940                                                                             CULLMAN        AL    35057‐5843
LARRY W COX                                     990 CONGRESS PARK DR                                                                           DAYTON         OH    45459‐4028
LARRY W CREECH                                  7541 KATHERINE                                                                                 TAYLOR         MI    48180‐2596
LARRY W CROSE                                   6532 THOROUGHBRED LOOP                                                                         ODESSA         FL    33556‐1860
LARRY W CUMMINS                                 608 N MANHATTAN AVE                                                                            MUNCIE         IN    47303‐4206
LARRY W CURL                                    3047 N RACEWAY RD                                                                              INDIANAPOLIS   IN    46234‐1643
                                         09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 4 of 8 Pg 675 of 855
Name                                         Address1                             Address2             Address3          Address4          City            State Zip

LARRY W DAVIS                                6289 WEST 100 SOUTH                                                                           NEW PALESTINE   IN    46163‐9799
LARRY W DAVIS                                1909 PROSPECT RD                                                                              LAWRENCEVILLE   GA    30043‐2763
LARRY W DEMITTER                             23004 ANGELRIDGE ROAD                                                                         PECK            ID    83545‐8061
LARRY W DISE                                 1590 FROMM                                                                                    SAGINAW         MI    48603‐4406
LARRY W DOYLE                                PO BOX 237                                                                                    ALBERTON        NC    28508‐0237
LARRY W EATON                                4997 SHIELDS RD                                                                               LEWISBURG       OH    45338‐8007
LARRY W ETHERIDGE                            1175 VZ COUNTY ROAD 2317                                                                      CANTON          TX    75103‐8425
LARRY W FILLMORE                             10247 S VAN VLEET ROAD                                                                        GAINES          MI    48436‐9780
LARRY W FISBECK                              1924 GREENWOOD                                                                                NEWCASTLE       OK    73065‐5754
LARRY W FITCHETT                             24221 INKSTER RD                                                                              NEW BOSTON      MI    48164‐9764
LARRY W FLOWERS                              2113 NICHOLBY DRIVE                                                                           WILMINGTON      DE    19808‐4230
LARRY W FREEMAN                              340 GENEVA                                                                                    NORTHLAKE       IL    60164‐1807
LARRY W FRENCH                               946 BELMONT RD                                                                                BROOKSVILLE     KY    41004‐7922
LARRY W GALBRAITH                            12451 N LINDEN RD                                                                             CLIO            MI    48420‐8240
LARRY W HAAS                                 2630 MEYETTE RD                                                                               PINCONNING      MI    48650‐8304
LARRY W HALL                                 17209 LAFAYETTE TRAILS DR                                                                     WILDWOOD        MO    63038‐1390
LARRY W HAMMOND                              3411 SOUTH RIVER ROAD                                                                         FRANKLIN        GA    30217‐6607
LARRY W HANES                                300 N REDBIRD LN                                                                              PLATTSBURG      MO    64477‐1583
LARRY W HARRISON                             1056 UNION POINT RD                                                                           CRAWFORD        GA    30630‐2632
LARRY W HELSING                              PO BOX 43                                                                                     OJIBWAO         WI    54863‐0042
LARRY W HILL                                 4155 E BLUE RIDGE RD                                                                          SHELBYVILLE     IN    46176‐5000
LARRY W HOLLOWAY                             10213 S 250 E                                                                                 MARKLEVILLE     IN    46056‐9725
LARRY W HORN                                 10365 DENTON CREEK DRIVE                                                                      FENTON          MI    48430‐3522
LARRY W HUDSON                               PO BOX 431                                                                                    PERRYVILLE      MO    63775‐0431
LARRY W HUMPHREY                             599 BACON FLATS                                                                               PEEBLES         OH    45660‐9708
LARRY W HUNDLEY                              3432 CRANDON DR                                                                               DAVISON         MI    48423‐8588
LARRY W JACOBSON                             456 GARLAND DR                                                                                NILES           OH    44446‐1107
LARRY W JOHNSON                              20757 OLD ELKMONT RD                                                                          ATHENS          AL    35614‐5649
LARRY W JONES                                8912 ROSEWOOD LN                                                                              SHREVEPORT      LA    71118‐2755
LARRY W JONES                                1242 WEST 700 NORTH                                                                           ALEXANDRIA      IN    46001‐8226
LARRY W KININMONTH                           2947 TALPING ROW                                                                              INDIANAPOLIS    IN    46268‐1271
LARRY W KRAUTER                              5841 W SPLENDOR VALLEY DR                                                                     JANESVILLE      WI    53548‐8669
LARRY W LEE & JOYCE L LEE JT TEN             4420 HEDGETHORN COURT                                                                         BURTON          MI    48509‐1215
LARRY W LUTZ & MARGARET LUTZ JT TEN          2209 POTTER RUN RD                                                                            VOLANT          PA    16156
LARRY W MAGAW                                PO BOX 203                                                                                    HOLLY           MI    48442‐0203
LARRY W MANBECK & ROSE M MANBECK JT TEN      340 ORCHARD ROAD                                                                              FLEETWOOD       PA    19522‐9024
LARRY W MARTIN                               315 OLD TABERNACLE RD                                                                         BELTON          SC    29627‐8750
LARRY W MASHBURN                             3054 PATTON RD                                                                                GRIFFIN         GA    30224‐7380
LARRY W MASTERS                              325 N 5TH ST                                                                                  MIDDLETOWN      IN    47356‐1001
LARRY W MCCAFFERTY                           475 JERUSALEM RD                                                                              BREMEN          OH    43107‐9416
LARRY W MCKENZIE                             760 WAYSIDE RD                                                                                CARROLLTON      GA    30116‐9062
LARRY W MEACHAM SR                           PO BOX 265                                                                                    NEW LOTHROP     MI    48460‐0265
LARRY W MESNARD                              1272 HIGHLAND COVE                                                                            BEAVERTON       MI    48612‐8506
LARRY W MILLS                                918 PARK DRIVE                                                                                LEBANON         IN    46052‐1539
LARRY W MOBLEY                               375 PANSY RD                                                                                  OCILLA          GA    31774‐2546
LARRY W MOFFITT                              4141 SNOOK RD                                                                                 METAMORA        MI    48455‐9630
LARRY W MOLSEED                              128 KENNETH ST                                                                                SANTA CRUZ      CA    95060‐2456
LARRY W MORGAN                               BOX 33 HWY 41                                                                                 ADDISON         AL    35540‐0033
LARRY W MYERS                                7013 GLENWOOD AVE                                                                             BOARDMAN        OH    44512‐4849
LARRY W NALETT                               4504 S LUND RD                                                                                SHERDIAN        MI    48884‐9319
LARRY W NORMAN & JACQUELYN P NORMAN JT TEN   1445 SCOONIE POINT DR                                                                         CHESAPEAKE      VA    23322

LARRY W NORTON                               131 SWITZER DRIVE                    OSHAWA ON                              L1G 3J6 CANADA
LARRY W OKONIEWSKI                           4858 W LAKE RD                                                                                LAPEER          MI    48446‐9039
LARRY W ORAM                                 7889 CHARRINGTON DR                                                                           CANTON          MI    48187‐1859
LARRY W OSTERHOUT                            121 LYMAN DRIVE                                                                               TORRINGTON      CT    06790‐4114
LARRY W PARKER & RUTH PARKER JT TEN          433 S CONCORD AVE                                                                             WATERTOWN       WI    53094‐7307
LARRY W PEMBERTON                            21 W STRATHMORE AVE                                                                           PONTIAC         MI    48340‐2771
LARRY W PETERS                               PO BOX 18794                                                                                  FAIRFIELD       OH    45018‐0794
                                         09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 676 of 855
Name                                          Address1                               Address2             Address3          Address4          City            State Zip

LARRY W PHILO                                 407 MAPLEGROVE DR                                                                               FRANKLIN         TN   37064‐5121
LARRY W PLATT                                 884 THREE CHOPT RD                                                                              MANAKIN SABOT    VA   23103‐2150
LARRY W RANKINS                               19325 AMBER WAY                                                                                 NOBLESVILLE      IN   46060
LARRY W RENNINGER                             33 VILONE RD                                                                                    WILMINGTON       DE   19805‐2050
LARRY W RERICK                                322 S L ST                                                                                      LAKE WORTH       FL   33460‐4514
LARRY W REYNOLDS                              2315 HARRINGTON                                                                                 ATTICA           MI   48412‐9215
LARRY W RONE                                  972 FAIRVIEW POINT RD                                                                           ELM GROVE        LA   71051‐8630
LARRY W ROSENCRANS                            87 SIMS LN                                                                                      HILLSBORO        TN   37342‐3918
LARRY W ROUSE                                 2710 W 60TH ST                                                                                  INDIANAPOLIS     IN   46228‐1158
LARRY W SCHNELL                               PO BOX 75                                                                                       NEW LOTHROP      MI   48460‐0075
LARRY W SCOTT                                 1100 SPRINGWAY CT                                                                               SHELBYVILLE      IN   46176‐3268
LARRY W SEDLOW                                2991 BLADES ROAD                                                                                BEAVERTON        MI   48612‐9187
LARRY W SEYMOUR                               7553 LIONS GATE PKWY                                                                            DAVISON          MI   48423‐3194
LARRY W SIMPSON                               8308 WAVERLY RD                                                                                 MARTINSVILLE     IN   46151‐7617
LARRY W SMITH                                 RR 1 BOX 245                                                                                    ADRIAN           MO   64720‐9720
LARRY W SNODGRASS                             43 FAIRWAY ROAD                                                                                 JACKSONVILLE     FL   32250‐2634
                                                                                                                                              BEACH
LARRY W SOUTAR                                8904 W 500 S                                                                                    RUSSIAVILLE      IN   46979‐9113
LARRY W STREIB                                4556 HIGHGATE DR                                                                                DELRAY BEACH     FL   33445‐3558
LARRY W STURGEON                              6011 THOMAS RD                                                                                  INDIANAPOLIS     IN   46259‐1045
LARRY W TAYLOR                                P O BOX 892                                                                                     CHEROKEE VLG     AR   72525‐0892
LARRY W TROUT                                 2093 W US 36                                                                                    PENDLETON        IN   46064‐9089
LARRY W TRUITT                                14667 HOYLE ROAD                                                                                BERLIN CENTER    OH   44401‐9746
LARRY W WALES                                 127 GARFIELD AVENUE                                                                             E PALESTINE      OH   44413‐1929
LARRY W WEBB                                  13040 CUSSEWAGO BEACH                                                                           FENTON           MI   48430‐1109
LARRY W WEBB                                  624 ROOME CT                                                                                    FLINT            MI   48503‐2249
LARRY W WEBSTER                               PO BOX 47                                                                                       SCHOOLEYS        NJ   07870‐0047
                                                                                                                                              MOUNTAIN
LARRY W WHEATLEY                              202 SMOKEY DR                                                                                   COLUMBIA         TN   38401‐6125
LARRY W WHITLOCK                              3206 CHARTER OAKS DR                                                                            DAVISON          MI   48423‐2558
LARRY W WITTKOP                               92 MICHIGAN AVE                                                                                 SOUTH HAVEN      MI   49090‐1106
LARRY W WOEHLKE TR LARRY & MARTHA WOEHLKE     5479 CRANBROOK                                                                                  DEARBORN HEIGHTS MI   48125‐2336
TRUST UA 09/25/02
LARRY WARD                                    4460 CLAIRMONT AVE                                                                              BIRMINGHAM      AL    35222‐3756
LARRY WARGO                                   413 RED STORE ST                                                                                WESTVILLE       IL    61883‐6065
LARRY WATKINS                                 7837 DIXBORO RD                                                                                 SOUTH LYON      MI    48178‐7008
LARRY WAYNE BAKER CUST BETHANY MARGARET BAKER 302 BISHOPSBRIDGE DR                                                                            CINCINNATI      OH    45255‐3947
UTMA OH
LARRY WAYNE BAKER CUST WYATT LOGAN BAKER UTMA 302 BISHOPSBRIDGE DR                                                                            CINCINNATI      OH    45255‐3947
OH
LARRY WAYNE MC COY                            9124 LEE                                                                                        BRIGHTON        MI    48116‐2225
LARRY WAYNE WHISTLER                          9049 ERNEST LANE                                                                                INDIANAPOLIS    IN    46234
LARRY WEAVER & CAROLYN WEAVER JT TEN          PO BOX 902                                                                                      QUITNAM         TX    75783‐0902
LARRY WHIPKER                                 300 S HINMAN                                                                                    COLUMBUS        IN    47201‐6929
LARRY WHITE                                   981 NORTH SNYDER RD                                                                             TROTWOOD        OH    45427‐1429
LARRY WILLIAMS                                14088 APRIL LN                                                                                  WARREN          MI    48093‐3281
LARRY WINTERS CUST DANIEL WINTERS UGMA CA     11594 OTSEGO ST                                                                                 NORTH           CA    91601‐3625
                                                                                                                                              HOLLYWOOD
LARRY WINTERS CUST MATTHEW WINTERS UGMA CA    13663 LAURELHURST RD                                                                            MOORPARK        CA    93021‐2317

LARRY WITT                                    5997 KNAPP RD                                                                                   RAVENNA         OH    44266‐8809
LARRY WOIAK                                   14235 FOREST BLVD N                    APT 110                                                  HUGO            MN    55038‐8389
LARRY WONG                                    3039 ALEMANY BLVD                                                                               SAN FRANCISCO   CA    94112
LARRY WOODARD                                 205 DAVIS AVE                                                                                   WHITE PLAINS    NY    10605‐3215
LARRY YOUNG                                   10136 ABERDEEN DR                                                                               GRAND BLANC     MI    48439‐9574
LARRY ZEHNDER                                 16904 E 42ND TER S                                                                              INDEPENDENCE    MO    64055‐1992
LARS AARNES                                   LARS AARNES BALDERS VEI 6              2005 RAELINGEN                         NORWAY
LARS DANIELSON                                LILJEVAGEN 32                          VENERSBORG                             46261 SWEDEN
LARS DANIELSON                                SAAB AUTO                              461 80 TROLLHATTAN                     SWEDEN
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 677 of 855
Name                                            Address1                             Address2               Address3        Address4          City              State Zip

LARS G EDWALL                                    MIMERGATAN 1 A                      S‐72214 VASTERAS                       SWEDEN
LARS G EDWALL                                    MIMERGATAN 1 A                      S‐72214 VASTERAS                       SWEDEN
LARS G JOHNSON                                   3840 KIRK RD                                                                                 SAN JOSE          CA    95124
LARS J FISCHER                                   400 E BIRCHWOOD RD                                                                           DERBY             KS    67037‐3107
LARS JAMES PARKHURST                             3060 S 58TH ST                                                                               LINCOLN           NE    68506‐4029
LARS NEIL PETERSON                               4660 NW 5TH LN                                                                               BOCA RATON        FL    33431‐4620
LARSEN L GREGORY                                 984 TIMBER CREEK LN                                                                          GREENWOOD         IN    46142‐5064
LARUE A WELCH                                    4732 WILDWOOD DR                                                                             KALAMAZOO         MI    49009‐8403
LARUE GRAHAM BEST JR                             218 KELSO CT                                                                                 CARY              NC    27511‐6549
LARUE H PETERS & DELORIS P BARTOD & DON M PETERS 4252 HESTERTOWN RD                                                                           MADISON           GA    30650‐2531
JT TEN
LARUE I CROWDER                                  5580 AUTUMN LEAF DRIVE                                                                       TROTWOOD          OH    45426‐1368
LARUE MASON                                      1828 NORFOLK AV                                                                              YPSILANTI         MI    48198‐3648
LARUNAH NAPIER                                   19 LYME CT                                                                                   MIDDLEBURG        FL    32068‐4834
LARY BARTLETT                                    2256 BENDWAY DRIVE                                                                           PORT CHARLOTTE    FL    33948‐1957
LARY D HORTON                                    7492 GREEN MEADOW LN                                                                         CANTON            MI    48187‐3681
LARY E PARKER                                    11672 UNION GROVE ROAD                                                                       UNION GROVE       AL    35175‐8642
LARY STEPHENS                                    10338 GREENSBOROST                                                                           DETROIT           MI    48224‐2577
LARYSSA SHERMAN                                  8224 GUMWOOD DR                                                                              TAMPA             FL    33619‐7146
LASALLE STREET SECURITIES CUST FBO HANNAH        3508 WILLIAMS DR                                                                             KOKOMO            IN    46902
EDWARDS IRA
LASALLE THOMPSON JR                              1805 W 65TH PL                                                                               INDIANAPOLIS      IN    46260‐4450
LASARO OLIVARES                                  635 VICTORIA                                                                                 TAFT              TX    78390‐2722
LASLIE C BAER                                    34665 NOTTINGHAM WAY                                                                         FRANKFORD         DE    19945‐3323
LASLIE C BAER & LAURA BAER JT TEN                34665 NOTTINGHAM WAY                                                                         FRANKFORD         DE    19945‐3323
LASSIE M WOOLDRIDGE                              6855 JAMAICA RD                                                                              MIAMISBURG        OH    45342‐1521
LASSIE O LAPOLE                                  744 EAST CHANNEL DR                                                                          COLDWATER         MI    49036
LASSITER THOMPSON II                             5890 BANDOLERO DR #1009                                                                      EL PASO           TX    79912‐6603
LASTER A DAWKINS                                 3891 WHIPPOORWILL RD                                                                         WALNUT            MS    38683‐0016
LASZLO CSAKY                                     2184 MYERSVILLE RD                                                                           AKRON             OH    44312‐4946
LASZLO CSISZAR                                   747 CALICO                                                                                   PORTAGE           MI    49002‐7015
LASZLO J JUHASZ                                  791 GOSHEN ROAD                                                                              TORRINGTON        CT    06790‐2638
LASZLO J KISS CUST BRANDON L KISS UTMA FL        1203 HAWLEY CT                                                                               VALRICO           FL    33594‐4904
LASZLO L GALISZ                                  3949 WEST ALEXANDRA RD              BUILDING 37 APT 1213                                     NORTH LAS VEGAS   NV    89032‐2906

LASZLO NAGY                                     482 LAKE FOREST DR                                                                            ROCHESTER         MI    48309‐2238
LASZLO STUMPFHAUSER & JANICE STUMPFHAUSER JT    4045 SW PRAIRIE CREEK RD                                                                      BENTON            KS    67017‐9072
TEN
LASZLO SZABO                                    1252 SUMMIT DR                                                                                CLEVELAND         OH    44124
LASZLO TAKACS                                   4329 TOMBERRA WAY                                                                             DALLAS            TX    75220‐5094
LASZLO UR                                       675 OLD POST RD                                                                               EDISON            NJ    08817‐4837
LASZLO Z HELLER                                 127 LAIRD AVENUE                                                                              BUFFALO           NY    14207‐1559
LATANYA A TRIMBLE                               15752 FREELAND                                                                                DETROIT           MI    48227‐2915
LATANYA R JOHNSON                               19302 HEALY ST                                                                                DETROIT           MI    48234‐2154
LATASHA Y GIDDINGS                              605 MEADOW HEATH CIR                                                                          DALLAS            TX    75232‐2030
LATHAM LAMBERT                                  ATTN MRS J LAFFIN                    104 HATHEWAY DR                                          WEST WARWICK      RI    02893‐5419
LATHEN G DEFOOR                                 1607 ROBBINS AVE APT 29                                                                       NILES             OH    44446‐3952
LATHEN O CANNON                                 900 BAY ST                                                                                    PONTIAC           MI    48342‐1904
LATHERYAN BERRY                                 45 FOREST AVENUE                                                                              CINCINNATI        OH    45220‐1357
LATISHA CATOE CUST LYNESHA AUSTIN UTMA NY       200 W 147TH APT 8C                                                                            NEW YORK          NY    10039‐3639
LATOGOS MCHANEY                                 187 EARLMORE                                                                                  PONTIAC           MI    48341‐2747
LATONYA D ROZIER                                183 ROOSEVELT AVE                                                                             ELYRIA            OH    44035‐3945
LATOYA DINKINS                                  320 WOODWORTH AVE                                                                             YONKERS           NY    10701‐2220
LATRENA J HILL                                  3460 WALDON RD                                                                                LAKE ORION        MI    48360‐1623
LATRICIA D BROWN                                21823 HIDDEN RIVER DR NO                                                                      SOUTHFIELD        MI    48075‐1035
LATTIE M MOORE                                  PO BOX 7676                                                                                   WILMINGTON        NC    28406‐7676
LAUDINE COOK                                    2090 CARR ST                                                                                  LAKEWOOD          CO    80214‐5511
LAUGHLIN HEALTH CARE FOUNDATION                 1420 TUSCULUM BLVD                                                                            GREENEVILLE       TN    37745‐4279
LAUNCE WILLIAMS                                 PO BOX 2823                                                                                   HARVEY            IL    60426‐8823
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 678 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

LAURA A ALCALA‐MARFIL                            1842 S REED CT                                                                                 LAKEWOOD           CO    80232‐6961
LAURA A BANKS                                    1508 WATERCREEK DR                                                                             NORTH LAS VEGAS    NV    89032‐3104

LAURA A BARRON                                     4069 MAXANNE DRIVE                                                                           KENNESAW           GA    30144‐2178
LAURA A BARTON                                     66600 DIAMOND RIDGE ROAD                                                                     HOMER              AK    99603‐9229
LAURA A BIRKENHAUER                                1843 WHISPERING TRAILS                                                                       UNION              KY    41091‐9539
LAURA A CARRICO                                    14653 STONEWALL DR                                                                           SILVER SPRING      MD    20905‐5857
LAURA A CLARK                                      612 W BARNES AVE                                                                             LANSING            MI    48910‐1421
LAURA A COFFELL                                    1616 N BELMONT ST                                                                            WICHITA            KS    67208‐2111
LAURA A DOCKERY                                    29172 FLORENCE ST                                                                            GARDEN CITY        MI    48135
LAURA A DUKSTA & CAROLE S DUKSTA JT TEN            425 BAYSHORE DR #16                                                                          FT LAUDERDALE      FL    33304‐4223
LAURA A DUNEK                                      4141 NAKOMA RD                                                                               MADISON            WI    53711‐3018
LAURA A EAVES                                      PO BOX 1529                                                                                  MC CAMCY           TX    79752‐1529
LAURA A EBERST                                     95 ABBEY GATE RD                                                                             COTUIT             MA    02635‐3028
LAURA A ELIOTT                                     283 BEATTIE AVE                     APT 2                                                    LOCKPORT           NY    14094‐5642
LAURA A ENDRIZZI CUST ROBERT J ENDRIZZI JR UTMA NY 416 MORRIS AVE                                                                               ROCKVILLE CENTRE   NY    11570‐2424

LAURA A FLOYD                                    2419 N 57TH TERRACE                                                                            KANSAS CITY        KS    66104‐2814
LAURA A FREY                                     121 BROOKSIDE LANE                                                                             BALLWIN            MO    63021‐5041
LAURA A HARTBRODT & RICK HARTBRODT JT TEN        11431 SADDLE RD                                                                                MONTEREY           CA    93940
LAURA A HAUSMANN                                 1416 RUFFNER RD                                                                                ALEXANDRIA         VA    22302‐4217
LAURA A HAYES                                    342 LANDS AVE                                                                                  BRIDGETON          NJ    08302‐6106
LAURA A HOFFMAN                                  5665 VANATTA RD                                                                                CENTERBURG         OH    43011‐9476
LAURA A HUDAK                                    5248 SILVERWOOD COURT                                                                          WEST CHESTER       OH    45069‐1070
LAURA A HUDAK & RAYMOND L HUDAK JT TEN           5248 SILVERWOOD COURT                                                                          WEST CHESTER       OH    45069‐1070
LAURA A HUGHLETT                                 203 KOSER RD                                                                                   LITITZ             PA    17543‐9270
LAURA A JEFFREY                                  10831 WHITE OAK AVE                                                                            GRANADA HILLS      CA    91344‐4615
LAURA A JEWELL                                   5121 SHREWSBURY DR                                                                             TROY               MI    48098‐3280
LAURA A LANMAN                                   268 LOCUST ST                                                                                  HAMMOND            IN    46324‐1417
LAURA A MC FARLANE                               27 VALLEY PARK DR                                                                              SPENCERPORT        NY    14559‐1500
LAURA A MCCARTHY                                 2121 S OCEAN BLVD                     #204                                                     POMPANO BEACH      FL    33062‐8003
LAURA A MCINTYRE                                 12 VERANDA RD                                                                                  BRAINTREE          MA    02184‐1208
LAURA A MOLEK                                    2406 HENN‐HYDE RD                                                                              CORTLAND           OH    44410‐9446
LAURA A MUICH                                    2340 LANGSWORTH CT                                                                             ST LOUIS           MO    63129‐3623
LAURA A NALLS & LAWRENCE L NALLS SR JT TEN       1631 PERRYMAN RD / BOX 65                                                                      PERRYMAN           MD    21130‐0065
LAURA A NATALE TOD ANDREW J SUSCO SUBJECT TO     95 MCVEY PLACE                                                                                 SPRINGBORO         OH    45066
STA TOD RULES
LAURA A NATALE TOD STEPHEN N SUSCO SUBJECT TO    95 MCVEY PLACE                                                                                 SPRINGBORO         OH    45066
STA TOD RULES
LAURA A NEUDORF & LINDA J ADAIR & JANICE L       423 WHITESHORE COURT                  SASKATOON SK                           S7J 4G3 CANADA
BROCKLESBY‐SCHINDEL JT TEN
LAURA A RAPPAPORT & MICHAEL RAPPAPORT JT TEN     1543 SUNSET PLAZA DR                                                                           LA                 CA    90069‐1343

LAURA A READ                                     4414 GORMAN DRIVE                                                                              LYNCHBURG          VA    24503‐1906
LAURA A RYBSKI                                   5258 SOUTH MCVICKER                                                                            CHICAGO            IL    60638‐1425
LAURA A SATORI                                   1 PADDOCK LANE                                                                                 CINNAMINSON        NJ    08077‐4543
LAURA A SIMMONS                                  4600 WOODWARD AVE APT 205                                                                      DETROIT            MI    48201‐1893
LAURA A SMITH                                    BOX 261                                                                                        STATE LINE         PA    17263‐0261
LAURA A SWIFT                                    10588 V F W ROAD                                                                               EATON RAPIDS       MI    48827
LAURA A WETZEL                                   5536 COUNTY LINE RD                                                                            KANSAS CITY        KS    66106‐3105
LAURA A WHITEMAN                                 702 SW GLEN CREST WAY                                                                          STUART             FL    34997‐7256
LAURA A WORLINE                                  32489 S RIVER RD                                                                               HARRISON TWP       MI    48045
LAURA AANN STAHL                                 1198 BAY SHORE BLVD                                                                            ROCHESTER          NY    14609‐1929
LAURA ALLEN                                      5202 WOOLTON CT                                                                                ELKRIDGE           MD    21075‐5505
LAURA ANGLEY WOOD                                410 HAMMOND ST                                                                                 BANGOR             ME    04401‐4647
LAURA ANICICH                                    17 CHERRY HILLS CT                                                                             ALAMO              CA    94507‐2203
LAURA ANN COLEMAN BIBLE                          3440 REFLECTING DR                                                                             CHATTANOOGA        TN    37415‐5653
LAURA ANN ELMENDORF                              5 BIRCHWOOD CT                                                                                 ALBANY             NY    12211‐2057
LAURA ANN JANDRUCKO                              9 BIBLE ST                                                                                     COS COB            CT    06807
                                              09-50026-mg           Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 679 of 855
Name                                            Address1                           Address2              Address3         Address4          City              State Zip

LAURA ANN LENAWAY                               4549 BUTLER                                                                                 TROY              MI    48085
LAURA ANN NEWHOUSE                              C/O LAURA A HAMMER                 4 RED MAPLE CT                                           BUFFALO           NY    14228‐3457
LAURA ANN PALMER & ROBERT R PALMER JT TEN       2006 DEER PATH TRAIL                                                                        COMMERCE TWP      MI    48390‐1876
LAURA ANN RAIMONDI                              8635 STURGEN BAY LN                                                                         INDIANAPOLIS      IN    46236‐9024
LAURA ANN STACKO                                6950 RAVENSWOOD DR                                                                          PARMA             OH    44129‐6200
LAURA ANN THOMAS                                5405 RIDGE OAK DRIVE                                                                        AUSTIN            TX    78731‐4815
LAURA ANNE BEACH                                173 NORTH MUNROE ROAD                                                                       TALLMADGE         OH    44278‐2060
LAURA ANNE GARNER                               515 WEST END AVE                   #15 D                                                    NEW YORK          NY    10024‐4345
LAURA ANNE JOHNSON                              3149 ASHBURY LANE                                                                           REX               GA    30273‐2445
LAURA ANNE SCOVILLE                             21277 N LAKE                       ZURICH ROAD                                              BARRINGTON        IL    60010
LAURA ANNE WEISS                                5502 THUNDERBIRD LN                                                                         LA JOLLA          CA    92037
LAURA ANNE WHEELER                              ATTN LAURA A W GEER                64 HITCHING POST LN                                      MILFORD           CT    06460‐8900
LAURA ARENAS                                    1653 S HILL BLVD                                                                            BLOOMFIELD        MI    48304‐1189
LAURA B BROVET                                  2112 MIRIAM                                                                                 ARLINGTON         TX    76010‐8011
LAURA B DAVIS                                   264 NORTHAMPTON                                                                             BFLO              NY    14208‐2303
LAURA B J BURKS                                 12128 MONUMENT DR                  UNIT B36                                                 FAIRFAX           VA    22033‐5543
LAURA B KERNES                                  2843 CALLIER SPRINGS RD SE                                                                  ROME              GA    30161‐8486
LAURA B SCISNEY                                 3322 N ADAMS ST                                                                             INDIANAPOLIS      IN    46218‐2174
LAURA B SHELL                                   5232 RIMPARK LN                                                                             SAN DIEGO         CA    92124‐1814
LAURA B SMITH                                   109 UNIVERSITY ST BOX 322                                                                   SOUTH LYON        MI    48178‐0322
LAURA BELL KIRSCHT & DAVID L KIRSCHT JT TEN     236 E 6TH STREET                                                                            WALSENBURG        CO    81089‐2022
LAURA BENNETT                                   PO BOX 5                                                                                    STEAMBURG         NY    14783‐0005
LAURA BENTON                                    10547 HARPER RD                                                                             DARIEN CENTER     NY    14040‐9719
LAURA BETH CRAWFORD                             C/O LAURA CRAWFORD BUCKLEY         287 LIONS MOUTH RD                                       AMESBURY          MA    01913‐5317
LAURA BLOUNT STEPHENSON                         165 JACKSON ST                                                                              FLORA             MS    39071‐9654
LAURA BOERSEN                                   7763 WALNUT ST                                                                              JENISON           MI    48428
LAURA BOSH WRATHALL                             44598 BROADMOOR CIRCLE N                                                                    NORTHVILLE        MI    48168‐8632
LAURA BURNHAM LOVE                              196 VICTORY LANE                                                                            RONDA             NC    28670
LAURA BUTLER                                    PO BOX 5404                                                                                 SAVANNAH          GA    31414‐5404
LAURA C CORONA                                  119 WOODLAND DRIVE                                                                          DENHAM SPRINGS    LA    70726‐5540

LAURA C DYKEMAN                               801 LAZY LN                                                                                   PORT NECHES       TX    77651
LAURA C GRANT                                 11005 RUNNING TIDE COURT                                                                      INDIANAPOLIS      IN    46236‐8427
LAURA C HARGITT                               47996 MANORWOOD DRIVE                                                                         NORTHVILLE        MI    48167‐8480
LAURA C KENDRICK                              1030 BLAKE AVE                                                                                GLENWOOD SPGS     CO    81601‐3628
LAURA C KENNY                                 21395 LUJON DR                                                                                NORTHVILLE        MI    48167‐9330
LAURA C MCDERMOTT                             8006 SE 32ND AVE                                                                              PORTLAND          OR    97202‐8559
LAURA C MOORE & JOSEPH L MOORE JT TEN         35 HALSEY ROAD                                                                                HYDE PARK         MA    02136‐3315
LAURA C PAGEL                                 777 WEST STROOP RD                                                                            KETTERING         OH    45429‐1333
LAURA C PRICE                                 4766 LOGAN ARMS DR                                                                            YOUNGSTOWN        OH    44505‐1217
LAURA C SHUFELT                               177 MANSION STREET                                                                            COXSACKIE         NY    12051‐1004
LAURA C SIPES                                 C/O LAURA SIPES BROWN                640 SUNLIGHT DR                                          ROCHESTER HILLS   MI    48309‐1384
LAURA C STRAUS & FRANK V STRAUS JT TEN        35528 LEON                                                                                    LIVONIA           MI    48150‐2549
LAURA CARLSON                                 PO BOX 25934                                                                                  ALEXANDRIA        VA    22313‐5934
LAURA CHAPMAN                                 614 RICHARDSON RD                                                                             COLLINSVILLE      VA    24078
LAURA CHRISTINE FALBO                         APT 206                              12000 W BLUEMOUND                                        MILWAUKEE         WI    53226‐3854
LAURA CHRISTINE TROUT                         25228 FRANKLIN TERRACE                                                                        SOUTH LYON        MI    48178‐1021
LAURA CHURCH                                  318 W 3RD ST                                                                                  MOORESTOWN        NJ    08057‐2304
LAURA COATES                                  893 EASTWICKE CRES                   COMOX BC                               V9M 1B2 CANADA
LAURA COMANDINI CUST JOSEPH COMANDINI UGMA CT 130 WENTWORTH ST                                                                              BRIDGEPORT        CT    06606‐4151

LAURA COMMACK KLOCK                             3801 GRAIL                                                                                  WICHITA           KS    67218‐3005
LAURA CULBERG                                   3718 13TH AVE S                                                                             SEATTLE           WA    98144‐7310
LAURA D BRABBS & JOHN BRABBS JT TEN             2062 WOODLAND PASS                                                                          BURTON            MI    48519‐1324
LAURA D COOPER                                  1875 AUSTINTOWN WRN ROAD SW                                                                 WARREN            OH    44481
LAURA D EWALD                                   9213 WILLARD RD                                                                             MILLINGTON        MI    48746‐9311
LAURA D GLAS                                    PO BOX 82                          WEEDS ROAD                                               WALKER VALLEY     NY    12588‐0082
LAURA D GLENN                                   1108 FOWLER AVE                                                                             EVANSTON          IL    60202‐1023
LAURA D GRISWOLD                                PO BOX 227 RT 116                                                                           PURDYS            NY    10578
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 680 of 855
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

LAURA D REIDSEMA                                330 NISTON                                                                                     MOUNT AIRY        NC    27030‐8604
LAURA D SIEGRIST                                5 FAWN CREST DR                                                                                NEW FAIRFIELD     CT    06812‐3114
LAURA D TRAVIS                                  141 12TH ST NE APT 7                                                                           WASHINGTON        DC    20002‐6457
LAURA DAVIES CODMAN                             BOX 1558                                                                                       MANCHESTER        MA    01944‐0863
LAURA DAVIES FERGUSON & JANE D F CODMAN TR UW   BOX 1558                                                                                       MANCHESTER        MA    01944‐0863
ANNA K CODMAN
LAURA DE CRISTOFARO                             12 DEER HOLLOW DR                                                                              HOWELL            NJ    07731‐1607
LAURA DEAN WINDLE                               1348 GIBSON ROAD                                                                               LOVELAND          OH    45140‐9476
LAURA DEFEO                                     242 OAK STREET                                                                                 AUDUBON           NJ    08106‐1534
LAURA DENABURG                                  2222 WEDGEWOOD DR                                                                              UNION CITY        TN    38261‐5734
LAURA DIOSSA CUST JENNIFER DIOSSA UTMA CA       980 SUNSET AVE                                                                                 VENICE            CA    90291‐2837
LAURA DONOVAN EX EST JOSEPH RAYMOND REED SR     290 FAWN LAKE DR                                                                               MILLINGTON        TN    38053‐6804

LAURA DOZIER & LEON R DOZIER SR JT TEN          42 SECOND AVE                                                                                  BEREA             OH    44017‐1244
LAURA DUNN                                      804 ENGLEMAN PLACE                                                                             LOVELAND          CO    80538‐1905
LAURA E ALLISON                                 76 DAVIS RD M2                                                                                 PLYMOUTH          NH    03264‐3001
LAURA E ASIALA                                  2505 CENTER AVE                                                                                BAY CITY          MI    48708‐6382
LAURA E AUSTIN                                  42 ACADEMY ST                                                                                  SKANEATELES       NY    13152‐1210
LAURA E BURTON                                  11464 MOFFETT CT                                                                               FENTON            MI    48430‐8810
LAURA E CARPENTER                               1627 WAGONER RD                                                                                PATRIOT           OH    45658‐9243
LAURA E CUMBERWORTH                             1060 HAYFIELD RD                                                                               ROCHESTER HILLS   MI    48306‐3947
LAURA E DOWD‐ROSKEY & TRACY M ROSKEY JT TEN     36955 VALLEY VIEW                                                                              EASTLAKE          OH    44095‐1327

LAURA E FIRCZUK                                 4 DAISEY DR                                                                                    DURHAM            NH    03824‐3212
LAURA E FORTINE                                 10 PINE CONE DR                                                                                CANFIELD          OH    44406‐8207
LAURA E FRYER                                   5288 WINDFLOWER CT                                                                             HILLIARD          OH    43026‐9404
LAURA E HERING                                  23233 30 MILE RD                                                                               RAY               MI    48096‐2100
LAURA E HEYE                                    11 LAKEWOOD DRIVE                                                                              ROCHESTER         NY    14616‐3937
LAURA E JARMON                                  38217 HURON POINTE                                                                             MOUNT CLEMENS     MI    48045‐2836
LAURA E JOHNSON                                 431 LINDA VISTA                                                                                PONTIAC           MI    48342‐1745
LAURA E KATZMAN                                 20618 PARK BEND DR                                                                             KATY              TX    77450‐4214
LAURA E KERSTETTER CUST MOLLY R KERSTETTER UTMA 105 HURON DRIVE                                                                                CARNEGIE          PA    15106‐1826
PA
LAURA E KERSTETTER CUST ZACHARY T KERSTETTER    105 HURON DR                                                                                   CARNEGIE          PA    15106‐1826
UTMA PA
LAURA E KLISKEY                                 9633 VALLEY VIEW RD                   UNIT 1408                                                MACEDONIA         OH    44056‐3006
LAURA E LANTRY                                  623 COUNTY RT 42                                                                               FORT COVINGTON    NY    12937
LAURA E LAWSON                                  16672 KARENINA CT                                                                              MACOMB            MI    48044‐2639
LAURA E MACDONALD & KENNETH SCOTT MACDONALD 7246 COPPERFIELD CIR                                                                               LAKE WORTH        FL    33467‐7131
JT TEN
LAURA E MARIANEK                                560 LAMBOURNE RD                                                                               WORTHINGTON       OH    43085‐2419
LAURA E MCNULTY                                 115 PARK PL                                                                                    POMPTON LAKES     NJ    07442‐1038
LAURA E MINCKS                                  1737 W 14TH1                                                                                   SPOKANE           WA    99204‐4121
LAURA E SCHWARZKOPF                             26312 TARRASA LN                                                                               MISSION VIEJO     CA    92691‐4829
LAURA E SHERMAN                                 602 SHADOW HILL DR                                                                             CLINTON           MO    64735‐9100
LAURA E SIGMAN                                  330 GRAND STREET                      APT 404                                                  HOBOKEN           NJ    07030‐8709
LAURA E WEIL                                    104 HILLSIDE COURT                                                                             ARCHDALE          NC    27263‐3096
LAURA E WERRY                                   1252 PIERCE                                                                                    BIRMINGHAM        MI    48009‐3651
LAURA E WILLIAMS                                30334 HANOVER                                                                                  WESTLAND          MI    48186‐7327
LAURA E WOOLLEY                                 1165 WENDY                                                                                     ANN ARBOR         MI    48103‐3175
LAURA ELIZABETH JONES                           824 HUNTINGTON                                                                                 BOWLING GREEN     KY    42103‐6224
LAURA ELIZABETH THYNG                           19565 TOP O THE MOOR                                                                           MONUMENT          CO    80132
LAURA ELLEN MORDOFF                             17921 MARSHALL MILL ROAD                                                                       HAMPSTEAD         MD    21074‐2922
LAURA ELLEN RENDER                              1765 HEIMLER RD                                                                                LEWISTON          MI    49756
LAURA ELLEN TOMASETTI                           50 VOSE ST                                                                                     FRAMINGHAM        MA    01702‐8421
LAURA ELLIS                                     1424 WHITTIER ROAD                                                                             VIRGINIA BEACH    VA    23454‐1630
LAURA ENO SMITH                                 PO BOX 322                                                                                     SOUTH LYON        MI    48178‐0322
LAURA EVERSOLE                                  6880 W 100 N                                                                                   GREENFIELD        IN    46140‐9614
LAURA F SLUSHER                                 1315 S LAKE WILMER DR #301                                                                     SANDSUKY          OH    44870‐5711
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 681 of 855
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

LAURA F STOLTE                                     1494 LINDEN ROAD                                                                                CHAMBERSBURG     PA    17201‐8809
LAURA F VINES                                      1605 BILBO ST APT B                                                                             LAKE CHARLES     LA    70601
LAURA FISCHER‐GUEX                                 127 PLUMMER CRT                                                                                 NEENAH           WI    54956
LAURA FLAX                                         245 W 104ST #8B                                                                                 NEW YORK CITY    NY    10025‐4279
LAURA G BETTINGER                                  2575 FARMSTEAD RD                                                                               RICHFIELD        OH    44286
LAURA G CHIRA                                      6832 YOUNGSTOWN                                                                                 HUDSONVILLE      MI    49426‐9362
LAURA G DEXTER & H EUGENE DEXTER JT TEN            8156 N NEW LOTHROP RD                                                                           NEW LOTHROP      MI    48460‐9701
LAURA G FORD                                       1548 SCHENONE COURT APT E                                                                       CONCORD          CA    94521‐3221
LAURA G TREGO                                      9818 WESTVILLE ROAD                                                                             WYOMING          DE    19934
LAURA G WESTER                                     10 STEVEN PLACE                                                                                 SMITHTOWN        NY    11787‐5423
LAURA G ZEMSZAL                                    741 LINCOLN AVE                                                                                 LOCKPORT         NY    14094‐6153
LAURA G ZEMZSAL                                    741 LINCOLN AVENUE                                                                              LOCKPORT         NY    14094‐6153
LAURA GALEN CASS                                   2801 VISTA ELEVADA                                                                              SANTA BARBARA    CA    93105
LAURA GLEN COFFIN                                  ATTN KOCH                              6005 LESLEE LN                                           EDINA            MN    55436‐1212
LAURA GROSS                                        C/O R HIGGINS                          PO BOX 556                                               NORTH FALMOUTH   MA    02556‐0556

LAURA GUILLEN ROSS CUST GERI GUILLEN ROSS UTMA     10960 SW 70TH TER                                                                               MIAMI            FL    33173‐2145
FL
LAURA GUNTHER LAUCKNER                             50 NEW ST                                                                                       WAYNE            NJ    07470‐5909
LAURA GWEN STERN                                   1728 MICHAEL WILLIAM ROAD                                                                       MERRICK          NY    11566‐2522
LAURA H KUTNIOWSKI                                 6445 PEMBROOK DR                                                                                WESTLAND         MI    48185‐7762
LAURA H MC KINLEY                                  37 KINGS N HW                                                                                   WESTPORT         CT    06880‐3002
LAURA H NELSON                                     2120 CHESTNUT ST                                                                                BALDWIN          NY    11510‐2512
LAURA H THOMAS                                     1100 GRANTLEY RD                                                                                YORK             PA    17403‐3675
LAURA H WARNOCK                                    11010 BERRYPICK LN                                                                              COLUMBIA         MD    21044‐2905
LAURA HAHN                                         700 WILLOWBANK ST                                                                               BELLEFONTE       PA    16823‐2821
LAURA HAWKINS                                      1820 PERO LAKE RD                                                                               LAPEER           MI    48446‐9093
LAURA HELEN LAPCZYNSKI CUST BRANDON THRASHER       2311 OVERLOOK COURT                                                                             NAPERVILLE       IL    60563‐4055
PIERCE UTMA IL
LAURA HESS                                         484 HIGH MEADOW CIRCLE                                                                          VALPARAISO       IN    46383‐9741
LAURA HOOVEN CUST JAMES HOOVEN UGMA NJ             2082 HEATHER RD                                                                                 FOLCORFT         PA    19032‐1609
LAURA HOOVEN CUST MICHAEL HOOVEN UGMA NJ           2082 HEATHER RD                                                                                 FOLCORFT         PA    19032‐1609

LAURA HORNE                                        3678 N MODOC                                                                                    KERMAN           CA    93630‐9517
LAURA I FINNEY                                     3211 STEEPLECHASE CT                                                                            FLINT            MI    48532‐3751
LAURA INVINSKI CUST PAIGE K IVINSKI UGMA NJ        105 MEADOWBROOK RD                                                                              RANDOLPH         NJ    07869
LAURA IVINSKI CUST CHLOE M IVINSKI UGMA NJ         105 MEADOWBROOK RD                                                                              RANDOLPH         NJ    07869
LAURA J AUSTIN                                     112 PRENTICE ST                                                                                 LOCKPORT         NY    14094‐2122
LAURA J BARTLING                                   8119 HIGH OAKS DR                                                                               LAMBERTVILLE     MI    48144‐9329
LAURA J BINGAMAN                                   427 PARKSIDE TRAIL                                                                              MACEDON          NY    14502‐8761
LAURA J BRAMMERLO TR LAURA J BRAMMERLO             605 BUSH ST                                                                                     DEKALE           IL    60115‐4031
DECLARATION TRUST UA 10/26/93
LAURA J CLAUSSEN TR UA 08/12/04 LAURA J CLAUSSET   2811 TOWNLINE RD                                                                                WAUSAU           WI    54403
SURVIVOR'S TRUST
LAURA J CLEMENT                                    3605 STARLIGHT LANE                                                                             LANSING          MI    48911‐1456
LAURA J EVANS                                      7750 ROSWELL RD                        APT 11C                                                  ATLANTA          GA    30350‐4851
LAURA J FEREGRINO                                  330 HOWLAND AVE                                                                                 CARY             NC    27513‐4214
LAURA J HAAG‐GALLIN CUST JOHN W HAAG‐GALLIN        1070 HAVILAND TERRACE                                                                           SEASIDE          CA    93955‐6022
UTMA CA
LAURA J HAWKINS                                    4854 THURLBY                                                                                    MASON            MI    48854‐9773
LAURA J HOLT                                       6790 GOLD YARROW ST                                                                             LAS VEGAS        NV    89148‐4810
LAURA J JANA‐YERO CUST SAMANTHA YERO U/A UTMA      610 W TROTTER CT                                                                                COAL CITY        IL    60416
IL
LAURA J JEVNIKAR                                   16 N CHERRY GROVE AVE                                                                           ANNAPOLIS        MD    21401‐3332
LAURA J KRAUSE                                     N28 W29803 SHOREWOOD RD                                                                         PEWAUKEE         WI    53072‐4214
LAURA J KRENKE                                     1280 BARNWOOD CT                       APT B                                                    BOWLING GREEN    KY    42104‐4817
LAURA J LAWSON                                     4101 LUXOR LN                                                                                   GRANITE BAY      CA    95746‐6439
LAURA J LINCOLN                                    80 TARRAGON DR                                                                                  EAST HAMPTON     CT    06424‐1756
LAURA J LUMMIS & MICHAEL G LUMMIS JT TEN           88 SIRIUS LN                                                                                    KEY WEST         FL    33040‐6321
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 682 of 855
Name                                               Address1                              Address2                  Address3     Address4          City              State Zip

LAURA J MC LAUGHLIN                                PO BOX 304                                                                                     GREENVILLE        MO    63944‐0304
LAURA J MCLELLAN                                   410 ESSEX AVE                                                                                  BEACH HAVEN       NJ    08008‐1500
LAURA J MEIER                                      91 CLAY ST APT 614                                                                             QUINCY            MA    02170‐2741
LAURA J MICHAEL                                    19571 PURNELL AVE                                                                              ROCKY RIVER       OH    44116‐2724
LAURA J MICHAEL CUST NATALIE LYNN MICHAEL UGMA     19571 PURNELL AVE                                                                              ROCKY RIVER       OH    44116‐2724
OH
LAURA J MINOTTI                                    PO BOX 2722                                                                                    STATELINE         NV    89449‐2722
LAURA J RETAR & JOHN A RETAR JT TEN                29431 VALLEY VIEW DR                                                                           WICKLIFFE         OH    44092‐2030
LAURA J RIDDLE                                     9186 RICHFIELD RD                                                                              DAVISON           MI    48423
LAURA J ROGERS                                     3102 JEWELL ROAD                                                                               HOWELL            MI    48843‐8974
LAURA J ROSS                                       3553 PORT COVE DR                     APT 47                                                   WATERFORD         MI    48328‐4572
LAURA J RUIZ                                       450 CONEJO ROAD                                                                                SANTA BARBARA     CA    93103‐1644
LAURA J RUPP‐GYORI                                 8861 LEE RD                                                                                    BRIGHTON          MI    48116‐2031
LAURA J RUSHTON                                    303 N REVENA BLVD                                                                              ANN ARBOR         MI    48103‐3635
LAURA J RUSSELL                                    4461 E 79TH ST                                                                                 INDIANAPOLIS      IN    46250‐1607
LAURA J SHEPHERD TR UA 03/06/90 LAURA J SHEPHERD   2901 EMBASSY DRIVE                                                                             WEST PALM BEACH   FL    33401‐1039
REVOCABLE TR
LAURA J SIGGENS                                    35535 PALMER RD                                                                                WESTLAND          MI    48186‐4243
LAURA J SISSON                                     144 MAPLES LANE                                                                                AMHERST           VA    24521‐2916
LAURA J STEVENS                                    5128 BERNEDA DRIVE                                                                             FLINT             MI    48506‐1588
LAURA J STURAITIS & ARCH A STURAITIS JT TEN        1515 NORTH VICTORIA PARK ROAD                                                                  FT LAUDERDALE     FL    33304‐1319
LAURA J WARNING CUST LAURA J WARNING UTMA          59 SHADY DELL RD                                                                               MILLBROOK         NY    12545‐5561

LAURA J WILLIAMS                                   5911 LITTLE BROOK WAY                 APT 211                                                  COLUMBUS          OH    43232‐9412
LAURA JAMESON LOWRY                                5980 LITTLE SUGAR CREEK RD                                                                     DAYTON            OH    45440‐4057
LAURA JANE EASTMAN                                 20288 LEOPARD LANE                                                                             ESTERO            FL    33928‐2025
LAURA JANE GROFF TR UA 12/22/1999 LAURA JANE       12408 TAMPICO WAY                                                                              SILVER SPRING     MD    20904
GROFF REVOC TRUST
LAURA JANE KIRSH                                   487 NORFINCH DR                       TORONTO ON                             M3N 1Y7 CANADA
LAURA JEAN BENNETT                                 PO BOX 714                                                                                     WARREN            AR    71671‐0714
LAURA JEAN BERNECKER                               2615 TRANSIT RD                                                                                NEWFANE           NY    14108‐9502
LAURA JEAN HOGAN                                   10561 ART ST                                                                                   SUNLAND           CA    91040‐1301
LAURA JEAN REIMAN                                  1404 SHIRE COURT                                                                               HOWELL            MI    48843‐8505
LAURA JEAN SIMON                                   ATTN LAURA JEAN PHILLIPS              84 SHARON WOODS RD                                       WADSWORTH         OH    44281‐9730
LAURA JEANINE HOUGH SMITH                          1605 OAKLAWN AVE                                                                               GREENVILLE        NC    27858‐4626
LAURA K BRANDT                                     1739 RIDGE RD                                                                                  WHITE LAKE        MI    48383‐1787
LAURA K COGSWELL                                   BOX 248A                                                                                       NEWPORT           NH    03773‐0248
LAURA K DAINS & THOMAS J DAINS JT TEN              1223 ASTER DR                                                                                  GLEN BURNIE       MD    21061
LAURA K GRAHAM                                     705 ALDEN NASH AVE                                                                             LOWELL            MI    49331
LAURA K HAGINS                                     PO BOX 318 TOWN MOUNTAIN ROAD                                                                  HAZARD            KY    41702‐0318
LAURA K JACK                                       3331 W KELTON LN                                                                               PHOENIX           AZ    85053‐2934
LAURA K KELLER                                     12 TOKENEKE TRAIL                                                                              DARIEN            CT    06820
LAURA K NEWELL                                     1947 S PADDOCK RD                                                                              BELOIT            WI    53511‐8404
LAURA K NOWAKOWSKI                                 C/O MURPHY                            14457 CHERRY RIDGE ROAD                                  CARMEL            IN    46033‐9177
LAURA K OKAMURA                                    PO BOX 827                                                                                     KEALAKEKUA        HI    96750‐0827
LAURA K REED                                       542 PEARSALL                                                                                   PONTIAC           MI    48341‐2663
LAURA K WALSH                                      11133 WICKES LN                                                                                STERLING HEIGTS   MI    48312‐3867
LAURA K ZERINGUE                                   407 MAIN ST                                                                                    FRANKLINTON       LA    70438
LAURA KATHLEEN HAYNES                              332 RUMSTICK RD                                                                                BARRINGTON        RI    02806‐4935
LAURA KAWECKI HARDING                              3624 TUCKAHOE RD                                                                               BLOOMFIELD        MI    48301‐2456
                                                                                                                                                  VILLAGE
LAURA KAY WECKLER & EILEEN WECKLER CLARE JT TEN    2401 MANCHESTER DR                                                                             CARROLLTON        TX    75006‐2641

LAURA KELLY KENNEDY                                PO BOX 423                                                                                     ROSWELL           NM    88202‐0423
LAURA KELLY WALSH                                  1251 BAY ST                                                                                    STATEN ISLAND     NY    10305‐3111
LAURA KURTENACKER                                  2680 HUMBOLDT RD                      APT 8                                                    GREEN BAY         WI    54311‐5768
LAURA L ANDERSON                                   C/O LAURA BECKER                      1010 KANDIYOHI AVE SW                                    WILLMAR           MN    56201‐3163
LAURA L BATES                                      5036 E 92ND ST                                                                                 NEWAYGO           MI    49337‐9279
LAURA L BISHOP & JANE L CSASZAR JT TEN             8695 LOWER LAKE ROAD                                                                           BARKER            NY    14012‐9649
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 683 of 855
Name                                              Address1                               Address2                   Address3    Address4          City               State Zip

LAURA L BROWNLIE                               734 SUNSET DRIVE                                                                                   EDMOND             OK    73003‐5654
LAURA L BRUMBAUGH                              1512 FAIRWAY DR                                                                                    KOKOMO             IN    46901‐9780
LAURA L CHARLES                                3271 S OGEMAW TRL                                                                                  WEST BRANCH        MI    48661‐9733
LAURA L CHASE                                  311 E COURT ST                                                                                     CAMBRIDGE          IL    61238‐1306
LAURA L COATS                                  1250 RICHFIELD ST                                                                                  AURORA             CO    80011‐7718
LAURA L CONSTANCE                              6505 NELSON RD                            LOT 82                                                   LAKE CHARLES       LA    70605‐0486
LAURA L CORESSEL                               21572 HAMMERSMITH ROAD                                                                             DEFIANCE           OH    43512‐9053
LAURA L DAVIS                                  2046 STEWART AVE                                                                                   YOUNGSTOWN         OH    44505‐3715
LAURA L DYSERT                                 1627 MURRAY RD                                                                                     DANVILLE           MI    48819‐9753
LAURA L FARRIS                                 3481 HUNTERS HL                                                                                    YOUNGSTOWN         OH    44514‐5302
LAURA L FOX                                    7334 SELMA                                                                                         FENTON             MI    48430‐9015
LAURA L FURDERER                               3358 AVONLEY CT                                                                                    BELLBROOK          OH    45305‐9783
LAURA L GARBER                                 6314 42ND SW 205                                                                                   SEATTLE            WA    98136‐1869
LAURA L GLASSBURN                              1009 E JEFFERSON                                                                                   TIPTON             IN    46072‐9498
LAURA L GREIF                                  322 NE 73RD AVE                                                                                    PORTLAND           OR    97213‐6306
LAURA L HERRICK                                501 CROSMAN CT                                                                                     PURCELLVILLE       VA    20132‐3448
LAURA L HERRICK TR UW MARJORIE A DERINGER      501 CROSMAN CT                                                                                     PURCELLVILLE       VA    20132‐3448
LAURA L HUNTER                                 39159 FOREST CREEK DRIVE                                                                           WESTLAND           MI    48185‐4604
LAURA L KAUFMAN TOD JOAN D KAUFMAN SUBJECT TO 3100 CONNECTICUT AVE NW #124                                                                        WASHINGTON         DC    20008‐5100
STA TOD RULES
LAURA L LEMMEN                                 N2570 WINTER SPORTS RD                                                                             WITHEE             WI    54498
LAURA L LOCASCIO                               1305 CHURCH STREET                                                                                 NORTHBROOK         IL    60062‐4503
LAURA L MATTHEWS                               20009 GREYDALE                                                                                     DETROIT            MI    48219‐1226
LAURA L MC NAMARA                              20760 PRAIRIE BAPTIST RD                                                                           NOBLESVILLE        IN    46060‐9267
LAURA L MCNAMEE                                5722 W BEAVER CREEK DRIVE                                                                          POWELL             TN    37849‐4917
LAURA L MENIG CUST CHRISTOPHER T MENIG UGMA MI 4238 MEDOWLANE DR                                                                                  BLOOMFIELD HILLS   MI    48304‐3240

LAURA L NIEMEIER                                  2114 KENSINGTON ST                                                                              JANESVILLE         WI    53546‐5752
LAURA L PAGEL                                     2175 VALLEY CREEK DR                                                                            ELGIN              IL    60123‐2689
LAURA L PETRILLO CUST ALEC J PETRILLO UTMA PA     355 DEERHAVEN WAY                                                                               GLENMORE           PA    19343‐8922

LAURA L RADEMACHER                                C/O SULA DARLENE JEFFERS ESQ           150 E MAIN ST PO BOX 625                                 MANCHESTER         MI    48158‐0625
LAURA L RICHARDSON                                1661 WILTSHIRE BOULEVARD                                                                        HUNTINGTON         WV    25701‐4132
LAURA L ROMEO                                     20090 RONSDALE DRIVE                                                                            BEVERLY HILLS      MI    48025‐3856
LAURA L SCOTT                                     PO BOX 752                                                                                      CLAY               WV    25043‐0752
LAURA L SEGAVE                                    PO BOX 395                                                                                      NORTH CHILI        NY    14514‐0395
LAURA L SMITH                                     2400 VENEZIA DRIVE                                                                              DAVIDSON           MI    48423‐8630
LAURA L TAYLOR                                    2788 HADLEY ROAD                                                                                LAPEER             MI    48446‐9743
LAURA L TILSON                                    138 ASHLEY CIR                                                                                  SWARTZ CREEK       MI    48473‐1176
LAURA L VAN HATTUM                                5587 BENT BROOK DR SE                                                                           KENTWOOD           MI    49508‐6389
LAURA L WALLACE                                   5640 SALLY RD                                                                                   CLARKSTON          MI    48348‐3030
LAURA L WILLIAMS                                  21139 GREEN LANE                                                                                ROCK HALL          MD    21661‐1634
LAURA L WING                                      3181 ALLISON RD                                                                                 GIBSONIA           PA    15044‐8495
LAURA L WISCHMEYER                                7924 MEADOW DR                                                                                  WATERFORD          MI    48329‐4619
LAURA L ZAMORA                                    1600 LA SALLE BLVD                                                                              HIGHLAND           MI    48356‐2746
LAURA LAUBACHER CUST SETH LAUBACHER UTMA OH       2307 AMBERWOOD CIR NE                                                                           MASSILLON          OH    44646‐4888

LAURA LE WATTS                                    2819 RIVER MEADOW CIR                                                                           CANTON           MI      48188
LAURA LEE BORAM                                   210 S WEST ST                                                                                   PENDLETON        IN      46064‐1154
LAURA LEE CANNON                                  1251 FOX GLEN                                                                                   NEW BRAUNFELS    TX      78130‐3021
LAURA LEE COLLINS                                 2209W STATE ST                                                                                  JANESVILLE       WI      53546‐5353
LAURA LEE CONNELL‐MORRIS                          402 HIGHLAND DR                                                                                 SEAFORD          DE      19973‐4831
LAURA LEE DYER                                    26228 GREYTHORNE TR                                                                             FARMINGTON HILLS MI      48334‐4816

LAURA LEE GRAHAM                                  65 EXECUTIVE COURT                                                                              WESTERVILLE        OH    43081‐1465
LAURA LEE KEHL CHADWICK                           1006 HIGH ST                                                                                    BATH               ME    04530‐2261
LAURA LEE LUNA                                    6222 N FLORENCE AVE                                                                             LITCHFIELD PK      AZ    85340
LAURA LEE PETRUZZI                                8698 HOLLIS CT                                                                                  BRECKSVILLE        OH    44141‐2029
LAURA LEE RICHARDSON                              1661 WILTSHIRE BLVD                                                                             HUNTINGTON         WV    25701‐4132
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 684 of 855
Name                                            Address1                               Address2               Address3        Address4          City              State Zip

LAURA LEE SONATY                                10 FLEUTI DR                                                                                    MORAGA            CA    94556‐1904
LAURA LEN BLACK CUST GRANT AUSTIN BLACK UTMA NY 2009 PLANTERS CT                                                                                LEXINGTON         KY    40514‐5916

LAURA LEPORE & JAMES LEPORE JT TEN              82 GORDON AVENUE                                                                                DUMONT            NJ    07628‐1515
LAURA LERFALD                                   ATTN LAURA MONAHAN                     5312 MCCUE RD                                            UNION             IL    60180‐9516
LAURA LESNIAK                                   28304 PALM BEACH                                                                                WARREN            MI    48093‐4943
LAURA LEWIS                                     18500 ILENE ST                                                                                  DETROIT           MI    48221‐1980
LAURA LIETZ                                     1165 MANASSAS                                                                                   PARMA             OH    44134‐5760
LAURA LIPKA                                     C/O LAURA LIPKA REISS                  8512 CASCADE ST                                          COMMERCE          MI    48382‐4707
                                                                                                                                                TOWNSHIP
LAURA LOUISE DENT CUST WILLIAM ALTON ANDERSON   552 LIDA ST                                                                                     MANSFIELD         OH    44903‐1227
UGMA MI
LAURA LOUISE HANSEN                             10025 NUGGET CREEK RD                                                                           CONVERSE          TX    78109‐1641
LAURA LOUISE SWEENEY                            606 OAK HAVEN DR                                                                                FALLS CHURCH      VA    22046‐2626
LAURA LUCILLE GILSTRAP WEST                     1023 LA FAYETTE ROAD S W                                                                        ROCKY FACE        GA    30740‐9745
LAURA LYNN BURKE                                685 S GREEN BAY RD                                                                              LAKE FOREST       IL    60045‐3070
LAURA LYNN CLINGMAN                             1109 FAIRBANKS DR                                                                               CARMEL            IN    46033‐2328
LAURA LYNN SCHUMPERT CUST DANIEL JOSEPH         7460 OXFORD GARDEN CIR                                                                          APOLLO BEACH      FL    33572‐1729
SCHUMPERT UTMA IL
LAURA LYNN WALLACE                              5640 SALLY RD                                                                                   CLARKSTON         MI    48348‐3030
LAURA M ABT                                     4 CLEMSON PARK                                                                                  MIDDLETOWN        NY    10940‐5447
LAURA M ALLEN                                   C/O LAURA AYERS                        5426 LINDEN CREEK                                        SWARTZ CREEK      MI    48473‐8275
LAURA M BECKER                                  418 VAN NOSTRAND AVE                                                                            JERSEY CITY       NJ    07305‐1309
LAURA M BOREMAN                                 7090 RICHMAN ROAD                                                                               SPENCER           OH    44275‐9738
LAURA M BRONDUM                                 1404 RUGBY RD                                                                                   CHARLOTTESVILLE   VA    22903‐1249

LAURA M BURROUGHS                               510 THOMAS AVE                                                                                  ROCHESTER         NY    14617‐1433
LAURA M CALABRO TR LAURA M CALABRO TRUST UA     30507 MOULIN                                                                                    WARREN            MI    48088‐3149
11/30/00
LAURA M CALKINS                                 2503 56TH STREET                                                                                LUBBOCK           TX    79413‐4913
LAURA M DEL CAMPO & MARGARITA M DEL CAMPO JT    1601 SHRADER ST                                                                                 SAN FRANCISCO     CA    94117‐4253
TEN
LAURA M DERRICK                                 94 HOGATE BLVD                                                                                  SALEM             NJ    08079‐3332
LAURA M DU PAGE & DIANE PATTERSON & DONNA       5221 LAKE SHORE RD APT 309             LAKE SHOREWOODS APTS                                     FORT GRATIOT      MI    48059
HOWARD JT TEN
LAURA M DUDASH                                  20265 THOROFARE RD                                                                              GROSSE ILE        MI    48138‐1228
LAURA M ESTRADA                                 BOX 1855                                                                                        MARYSVILLE        CA    95901‐1855
LAURA M FRANK                                   1942 OSCAR FRYE ROAD                                                                            PINNACLE          NC    27043
LAURA M GAGLIARDI & JUDITH R GAGLIARDI &        PO BOX 7306                                                                                     ARLINGTON         VA    22207‐0306
MARIANNE S KOSHLAND JT TEN
LAURA M GULL                                    38 WOODS END RD N                                                                               DIX HILLS         NY    11746‐5934
LAURA M HALL                                    37351 TENNESSE SCHOOL DRIVE                                                                     LEBANON           OR    97355‐8900
LAURA M HAYNES & CHRISTOPHER A HAYNES JT TEN    234 HIDDEN MEADOW LN                                                                            SWANTON           MD    21561

LAURA M HAYS                                    7124 GOLFVIEW COURT                                                                             YORKVILLE         IL    60560
LAURA M HILL                                    340 E PULASKI AVE                                                                               FLINT             MI    48505‐3355
LAURA M HINKLE                                  W71N918 HARRISON CT                    APT 204                                                  CEDARBURG         WI    53012‐3236
LAURA M HOWARD CUST ALISON TRACY HOWARD         3422 WITHERBEE                                                                                  TROY              MI    48084‐2714
UGMA MI
LAURA M JANUSZEK                                18926 SHADYSIDE                                                                                 LIVONIA           MI    48152‐3271
LAURA M JENSEN                                  7305 PIERCE CIRCLE                                                                              BUENA PARK        CA    90620‐3831
LAURA M JOHNSON                                 2 EAGLETON COURT                                                                                AUGUSTA           GA    30909‐1804
LAURA M KINSEY                                  10216 10TH AVENUE CIR S                                                                         MINNEAPOLIS       MN    55420‐5402
LAURA M LABADIE                                 525 W 162 STREET                                                                                SOUTH HOLLAND     IL    60473
LAURA M LEWIS                                   1392 KUMLER AVE                                                                                 DAYTON            OH    45406‐5929
LAURA M MACFARLANE TR LAURA M MACFARLANE        110 MEADOW LN                                                                                   GROSSE POINTE     MI    48236‐3803
TRUST UA 12/17/96
LAURA M MCTAGGART                               2018 MARKESE                                                                                    LINCOLN PARK      MI    48146‐2500
LAURA M MEYERS                                  3679 LOMOND CT                                                                                  APOPKA            FL    32712‐5697
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 685 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

LAURA M MONDELL                                2714 MADISON RIDGE                                                                               SEVIERVILLE       TN    37876‐7900
LAURA M NABYWANIEC & JAMES J NABYWANIEC JT TEN 8432 SILVER SPRUCE CIR                                                                           LIVERPOOL         NY    13090‐1201

LAURA M NICHOLAS                                1431 CEDARWOOD DR                                                                               FLUSHING          MI    48433‐1875
LAURA M NICOLET                                 750 BLACKOAK ROAD                                                                               EAU CLAIRE        WI    54701‐9349
LAURA M OATES                                   S 6108 ANDERSON RIDGE RD                                                                        DESOTO            WI    54624‐6181
LAURA M PATTON                                  1026 LAKEPOINTE                                                                                 GROSSE POINTE     MI    48230‐1318
LAURA M SHOOK                                   722 WYTH STREET                                                                                 BLOOMINGTON       IN    47404
LAURA M STAFFORD                                314 GARY LEE DR                                                                                 GAHANNA           OH    43230‐2918
LAURA M THOMPSON                                9859 ELIZABETH LAKE RD                                                                          WHITE LAKE        MI    48386‐2727
LAURA M TURNER                                  24695 DONOVER ROAD                                                                              WARRENSVL HTS     OH    44128‐5022
LAURA M TYLER                                   2121 DRAKE DR                                                                                   OAKLAND           CA    94611‐2610
LAURA M WASHINGTON                              146 WESTWAY                                                                                     PONTIAC           MI    48342‐2568
LAURA M WOJCIK                                  14066 CASTLE DR                                                                                 WARREN            MI    48093‐3233
LAURA MAC NEIL                                  200 MARKET ST                          APT A1                                                   LOWELL            MA    01852‐1865
LAURA MAC QUEEN                                 254 CIRCLEGATE RD                                                                               NEW LENOX         IL    60451‐2690
LAURA MACVICAR HOOKS                            9708 W FORRESTER CT                                                                             MEQUON            WI    53097‐3816
LAURA MARENCO & JOHN MARENCO JT TEN             96 BROADWAY                                                                                     MASSAPEQUA        NY    11758
LAURA MARIE BARDEN                              PO BOX 702                                                                                      MACOMB            IL    61455‐0702
LAURA MARIE ERNST                               14116 PEDDLERS FORD                                                                             FORT WAYNE        IN    46814
LAURA MARIE MACCHIA                             PO BOX 500                                                                                      ISLAND HGTS       NJ    08732‐0500
LAURA MARIE OCHSENFELD                          45 BAYBERRY DR                                                                                  SOMERSET          NJ    08873‐4205
LAURA MARIE PARKER                              68 ASHLEY CT                                                                                    BEDMINSTER        NJ    07921‐1440
LAURA META CONNORS                              8068 DONEGAL LANE                                                                               SPRINGFIELD       VA    22153‐2361
LAURA MINGAL CUST JUSTIN LEWIS UGMA CA          7215 NE 57 ST                                                                                   GAINESVILLE       FL    32609‐1597
LAURA MOTTILLO                                  12760 19TH AVENUE                      MONTREAL QC                            H1E 7N8 CANADA
LAURA MULROONEY                                 PO BOX 367                             CHESTER NS                             B0J 1J0 CANADA
LAURA MURPHY CUST BRYANNA MURPHY UTMA/NY        19 BROADWAY                                                                                     HOLTSVILLE        NY    11742

LAURA N BOYD                                    12334 HAVERMALE RD                                                                              FARMERSVILLE      OH    45325‐9233
LAURA N GILCREST & PHILIP N GILCREST JT TEN     4106 36TH ST S                                                                                  ARLINGTON         VA    22206‐1806
LAURA N SMITH                                   33 OAKVIEW AVENUE                                                                               MAPLEWOOD         NJ    07040‐2213
LAURA O OSBORNE                                 18721 WIMBLEDON CIR                                                                             LUTZ              FL    33549‐5318
LAURA P ABBE                                    10900 E ROBERTS LN                                                                              CENTRALIA         MO    65240‐3928
LAURA P FINLEY                                  5119 LOUNSBURY DR                                                                               DAYTON            OH    45418‐2042
LAURA P FULLER                                  11360 SWEETLEAF DR                                                                              INDIANAPOLIS      IN    46235‐3574
LAURA P FURLONG                                 1353 CASTILLION NE                                                                              WARREN            OH    44484‐1472
LAURA P GLENN                                   3246 APOLLO TRL                                                                                 TALLAHASSEE       FL    32309‐1902
LAURA P SCHUHMANN                               1432 N CLEVELAND RD                                                                             LEXINGTON         KY    40509
LAURA PARA                                      424 E ROSELAWN                                                                                  WEST MEMPHIS      AR    72301
LAURA PARRISH HEYWARD                           416 MAPLE AVE                                                                                   RICHMOND          VA    23226‐2644
LAURA PATOYIAN                                  16 FRANCESCA DR                                                                                 OYSTER BAY        NY    11771‐3712
LAURA PETRANEK                                  8850 FRAME RD                                                                                   BLUE MOUNDS       WI    53517‐9592
LAURA PFEIFER                                   1456 CHAPIN AVE                                                                                 MERRICK           NY    11566‐1939
LAURA PIACENZA & GEORGE WIERTEL JT TEN          225 SHERIDAN AVE                                                                                HIGHWOOD          IL    60040‐1213
LAURA PIERRO & MICHAEL GIANNINI JT TEN          1845 HOBART AVE                        APT 8E                                                   BRONX             NY    10461
LAURA PISANI                                    2263 S 14TH AVE                                                                                 NORTH RIVERSIDE   IL    60546‐1069
LAURA POE                                       ATTN LAURA PENNINGTON                  1851 IRONWOOD                                            FAIRBORN          OH    45324‐2864
LAURA POST THOMSON                              80 EARLY ST                                                                                     MORRISTOWN        NJ    07960‐3820
LAURA POWELL                                    9614 S BISHOP                                                                                   CHICAGO           IL    60643‐1312
LAURA QUAIN GALIA                               3612 FREDERICK DR                                                                               ANN ARBOR         MI    48105‐2852
LAURA R GUTTRIDGE                               152 BERKLEY RD                                                                                  WILLIAMSVILLE     NY    14221‐7103
LAURA R HARTLEP                                 917 E LAKE DRIVE                                                                                WALLED LAKE       MI    48390‐3667
LAURA R MOROSI                                  125 N PENNSVILLE AUBURN RD                                                                      PENNS GROVE       NJ    08069
LAURA R OWEN                                    3933 PLATTE DR                                                                                  FORT COLLINS      CO    80526‐5369
LAURA R SCHMIDT                                 6684 CARRIAGE LANE AVE NE                                                                       CANTON            OH    44721‐2581
LAURA R VITALE                                  W 269 N 2713 LELAH AVENUE                                                                       PEWAUKEE          WI    53072‐4419
LAURA RAMSAY BROWNING                           255 NORTHGATE TRACE                                                                             ROSWELL           GA    30075‐2329
LAURA RAU                                       18816 PRESTON ROAD                                                                              HAGERSTOWN        MD    21742
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 686 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

LAURA REED HECKENLIVELY                          2054 FORT JOHN COURT                                                                            GOLD RIVER         CA    95670‐7761
LAURA REISS                                      8512 CASCADE ST                                                                                 COMMERCE TWP       MI    48382
LAURA ROBERTA NICHOLS & CHERYL ANNE WINSTON JT   1001 S CHESTNUT # 915                                                                           ELLENSBURG         WA    98926‐3890
TEN
LAURA ROBERTS                                    RR3                                    2 CUSHMAN RD                                             AMHERRST           MA    01002‐9772
LAURA ROBERTS                                    8900 WOODBINE CT                                                                                TINLEY PARK        IL    60487‐8638
LAURA ROSE FRANDSEN                              721 MONTANA AVE                                                                                 EAST MISSOULA      MT    59802‐5530
LAURA RUBIN                                      PO BOX 32175                                                                                    PIKESVILLE         MD    21282‐2175
LAURA RUTH BEER                                  309 HIGH STREET                                                                                 NORWOOD            NJ    07648
LAURA RUTH NERGES                                21 SHIRK DR                                                                                     FREDERICKSBRG      PA    17026‐9504
LAURA RUTH URBANIAK                              46458 KRAMER                                                                                    SHELBY TOWNSHIP    MI    48315

LAURA S BELL                                     16200 ALDERSYDE DR                                                                              CLEVELAND          OH    44120‐2510
LAURA S CHILDS                                   10470 WIMPLE RD                                                                                 ONSTED             MI    49265‐9790
LAURA S COPELAND                                 4834 AUTUMN HILL CT                                                                             W BLOOMFIELD       MI    48323‐2076
LAURA S DAVIS                                    4755 CAMPBELL BUSHNELL                                                                          FOWLER             OH    44418
LAURA S DOBRUSIN CUST DAVID J DOBRUSIN UTMA AZ   7406 E SAN JACINTO DR                                                                           SCOTTSDALE         AZ    85258‐2096

LAURA S HULL                                     6 COFFEE RUN LANE                                                                               WILMINGTON         DE    19808‐1510
LAURA S LEITCH                                   2820 DUNBAR CT                                                                                  ARCATA             CA    95521‐5234
LAURA S MACKENNA                                 19 BRITTON LN                                                                                   MADISON            CT    06443‐2921
LAURA S MASSIE                                   PO BOX 944                                                                                      FOREST FALLS       CA    92339‐0944
LAURA S MCGOLDRICK                               202 PRESCOTT ST                                                                                 READING            MA    01867
LAURA S MORENO                                   72 UNION ST                            APT 1A                                                   HAMBURG            NY    14075‐4918
LAURA S NEUBAUER                                 89 BAYVIEW AVE                                                                                  MASSAPEQUA         NY    11758‐7221
LAURA S SMITH                                    314 S HESPERIAN                                                                                 SANTA ANA          CA    92703‐3711
LAURA S SNYDER                                   42 BEECH RD                                                                                     RANDOLPH           NJ    07869‐4525
LAURA S WHITTAKER                                503 KING FARM BLVD                     UNIT 208                                                 ROCKVILLE          MD    20850
LAURA SAYERS ANGLE                               9927 BLARNEY LN                                                                                 RICHMOND           VA    23236‐1631
LAURA SCHULER                                    1418 REEDER SCHOOL RD                                                                           FRANKLIN           KY    42134‐6130
LAURA SCHUMACHER                                 7909 HUNTERS PASS                                                                               INDIANAPOLIS       IN    46214‐1535
LAURA SICCONE                                    17 DARLING AVE                                                                                  BLOOMFIELD         NJ    07003‐5405
LAURA SKINNER WEBB                               7415 SE MAIN ST                                                                                 PORTLAND           OR    97215‐2953
LAURA SPOERRI & PETER SPOERRI JT TEN             15 BIRCH DR                                                                                     NEW HAVEN          CT    06515‐2622
LAURA STEFANUTTI WILLWERTH                       3759 PRINCETON CT                                                                               BLOOMFIELD HILLS   MI    48302‐1248

LAURA STIMAC                                   22257 HAYES                                                                                       TAYLOR             MI    48180‐2423
LAURA SUSAN NORMAN                             1908 BELLFLOWER BLVD                                                                              LONG BEACH         CA    90815‐3003
LAURA SUZANNE BROGAN                           12121 LEWIS RD                                                                                    CLIO               MI    48420‐7935
LAURA T CROEN                                  3306 TURNER LN                                                                                    CHEVY CHASE        MD    20815‐3218
LAURA TAYLOR CUST BRADLEY H TAYLOR UTMA AL     1812 MAYFAIR DR                                                                                   HOMEWOOD           AL    35209‐4106
LAURA TAYLOR CUST SYDNEY K TAYLOR UTMA AL      1812 MAYFAIR DR                                                                                   HOMEWOOD           AL    35209‐4106
LAURA TAYLOR MENIG CUST ASHLEY A MENIG UGMA MI 4238 MEADOW LANE DRIVE                                                                            BLOOMFIELD HILLS   MI    48304‐3240

LAURA TAYLOR MENIG CUST JOSHUA T MENIG UGMA MI 4238 MEADOWLANE DR                                                                                BLOOMFIELD HILLS   MI    48304‐3240

LAURA TROLLINGER HOLLAND                         911 AMITY RD                                                                                    ASHEBORO           NC    27203‐4401
LAURA V ACOSTA                                   3723 W 104TH ST                                                                                 CHICAGO            IL    60655‐3107
LAURA V ESTOCK                                   712 CEDAR TRACE                                                                                 LILBURN            GA    30047‐3118
LAURA V LEWIS & AUDREY J LEWIS JT TEN            500 ARDUSSI AVE                                                                                 SAGINAW            MI    48602‐2786
LAURA V RUSSELL                                  24122 HIGHWAY 14                                                                                MOUNTAIN VIEW      AR    72560‐7526
LAURA VAN WYE & NAT VAN WYE & RAYMOND M VAN      1502 ENGLEWOOD AVE                                                                              ROYAL OAK          MI    48073‐2864
WYE JT TEN
LAURA VIRGINIA MILLIS GLEASON                    302 OAK ST                                                                                      NORTHFIELD         MN    55057‐2351
LAURA W AMOSS                                    3758 E 140TH ST                                                                                 CLEVELAND          OH    44128
LAURA W HANN                                     3821 BENTWORTH LN                                                                               COLUMBUS           OH    43230‐8489
LAURA W MCMULLEN TOD HAYDEN C MCMULLEN           3325 CAMERON AVE                                                                                TYLER              TX    75701
LAURA W MOON                                     25 EDGEWATER LANE                                                                               ROCHESTER          NY    14617‐2010
LAURA W MOON & NEIL S MOON JT TEN                25 EDGEWATER LANE                                                                               ROCHESTER          NY    14617‐2010
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 687 of 855
Name                                                Address1                             Address2              Address3         Address4          City               State Zip

LAURA W SCHUSTER TR UA 02/04/93 THE LAURA W         3170 DICKINSON RD                                                                             CINCINNATI         OH    45211‐2702
SCHUSTER TRUST
LAURA WALKER                                        164 FRANKLIN RD                                                                               PONTIAC            MI    48341‐2223
LAURA WARNING CUST MARGARET M WARNING UTMA          59 SHADY DELL RD                                                                              MILLBROOK          NY    12545‐5561
NY
LAURA WILCOX ROBERTS                                1618 JONES AVE                                                                                GULFPORT           MS    39501
LAURA WILLIAMSON                                    301 BRIDGEPOINT CIR                                                                           BOSSIER CITY       LA    71111‐8163
LAURA WOLF SLOVIN                                   11365 CANTON DR                                                                               STUDIO CITY        CA    91604
LAURA WORTZEL                                       747 ARDMORE RD                                                                                WEST PALM BEACH    FL    33401‐7629

LAURA YEE TR MOON PARK YEE & LAURA YEE TRUST UA     804 STANYAN ST                                                                                SAN FRANCISCO      CA    94117‐2726
10/29/90
LAURA Z JURY                                        1589 SCENIC HOLLOW                                                                            ROCHESTER HILLS    MI    48306‐3247
LAURABELLE OATIS                                    870 BIRCHWOOD PARK DR                                                                         MIDDLE ISLAND      NY    11953‐2606
LAURALEA T GOODALL                                  2 BYFORD COURT                                                                                CHESTERTOWN        MD    21620‐1642
LAURALEE E COCKERHAM                                6306 PORTER AVE                                                                               EAST LANSING       MI    48823‐6205
LAURALEE KENNEDY                                    PO BOX 176                           POINTE AU BARIL ON                     P0G 1K0 CANADA
LAURALYN BULANDR & PETER BULANDR JT TEN             5272 PINEHAM CT                                                                               LONG GROVE         IL    60047‐5214
LAURALYN E BELL                                     17805 LOWELL ST                                                                               ROSEVILLE          MI    48066‐2892
LAURANCE D TRAYLOR                                  3421 CARRIAGE                                                                                 FOREST HILLS       TX    76140
LAURANCE G HENDERSHOT                               2150 E TERRITORIAL                                                                            RIVES JCT          MI    49277‐9720
LAURANCE LEM LEE                                    3816 FULTON ST                                                                                SAN FRANCISCO      CA    94118‐3526
LAURANCE N NICKEY                                   5725 OAK CLIFF DR                                                                             EL PASO            TX    79912‐4111
LAURANCE W NEUBAUER                                 5402 CANYON TRAIL                                                                             WEST PALM BEACH    FL    33405‐3253

LAURAY BERRY MCCORD                                 4316 LONDON COURT                                                                             ANDERSON           IN    46013‐4431
LAURE A STANCZAK                                    15103 RIVENDELL DR                                                                            STERLING HEIGHTS   MI    48313‐5757

LAUREANO M ATIENZA                                  28045 ONEIL                                                                                   ROSEVILLE          MI    48066‐2652
LAUREE H ALLEN                                      616 OXHILL DR                                                                                 WHITE LAKE         MI    48386
LAUREEN B FENSKE                                    4107 HUNSINGER LANE                                                                           LOUISVILLE         KY    40220‐3226
LAUREEN R OCONNOR                                   PO BOX 437                                                                                    STOCKTON           AL    36579‐0437
LAUREEN SARLES                                      23 OAKLAND AVE                                                                                WEST CALDWELL      NJ    07006‐7910
LAUREL A GALLISON                                   CHEMICAL RD                                                                                   WARNER             NH    03278
LAUREL A KOCH                                       721 STONY POINT RD                                                                            SPENCERPORT        NY    14559
LAUREL A LIDDELL                                    1221 ANZIO                                                                                    FLINT              MI    48507‐4001
LAUREL A ZLOTNICK                                   ATTN LAUREL Z CHEVLEN                1383 VIRGINIA TRAIL                                      YOUNGSTOWN         OH    44505‐1642
LAUREL ANN LAIN & BARBARA L CRANE JT TEN            22681 SINGINGWOOD NE PL                                                                       KINGSTON           WA    98346‐8242
LAUREL B MONAGHAN                                   945 BUCKRUN RD                                                                                E FALLOWFIELD      PA    19320
LAUREL B O'CONNELL                                  11 LAMANCHA WAY                                                                               ANDOVER            MA    01810‐4205
LAUREL B PTOLEMY                                    3210 HIGHWAY 7A                      BLACKSTOCK ON                          L0B 1B0 CANADA
LAUREL BAKER                                        6974 RESERVOIR RD                                                                             NAPLES             NY    14512‐9513
LAUREL D BIDLE & PATRICIA L BIDLE JT TEN            140 N ROGERS ST                                                                               MASON              MI    48854‐1230
LAUREL E FAIRCHILD                                  11295 34 MILE RD                                                                              ROMEO              MI    48065‐3109
LAUREL E GARDIN                                     9509 DUNHAM LAKE DR                                                                           SIREN              WI    54872‐8824
LAUREL E LEARMONTH                                  331 2ND AVE S                        STE 710                                                  MINNEAPOLIS        MN    55401
LAUREL E WEATHERFORD JR                             7171 BRITTWOOD LA                                                                             FLINT              MI    48507‐4621
LAUREL G RAAB                                       104 NEILSON ST                                                                                TUSTIN             MI    49688
LAUREL I PISARZEWSKI                                15664 HELEN                                                                                   SOUTHGATE          MI    48195‐2019
LAUREL J BARTLETT & ROBERT A BARTLETT JT TEN        1292 BRAEBURN DR                                                                              LAWRENCEVILLE      GA    30044‐8109
LAUREL J BLOCK & ANDREA J BAKOS JT TEN              205 TEXKNOLL CT                                                                               BRIGHTON           MI    48116‐2440
LAUREL J BLY                                        7100 GRAND MONTECITO PKWY            UNIT 2013                                                LAS VEGAS          NV    89149‐0268
LAUREL J LINNEMEIER                                 7379 E US HIGHWAY 20                                                                          ANGOLA             IN    46703‐8296
LAUREL J MILLER                                     24 HOWARD AVE                                                                                 LOCKPORT           NY    14094‐2514
LAUREL J RODGERS                                    196 NORTH ROAD                                                                                GROTON             CT    06340
LAUREL KITCHEN                                      120 OCEAN PINES TERR                                                                          JUPITER            FL    33477‐9665
LAUREL L JONAS TR LAUREL L JONAS TRUST UA 9/16/04   1859 SMITH ST                                                                                 DIGHTON            MA    02715‐1008

LAUREL M GRANT                                      2191 CHURCH ST                       # 209                                                    EAST TROY          WI    53120‐1308
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 688 of 855
Name                                             Address1                             Address2             Address3          Address4          City               State Zip

LAUREL M MCKINLEY & GAIL M HYZET & NORINE A       300 N LEMEN ST                                                                               FENTON             MI    48430‐1921
JASTER JT TEN
LAUREL MAE PRICE                                  510 RIGGS ST                                                                                 FENTON             MI    48430‐2301
LAUREL MORTON                                     1220 S BUSSE RD                                                                              MT PROSPECT        IL    60056‐4511
LAUREL O'LEARY MANCARI & ERNESTINE O'LEARY JT TEN 608 COLONIAL DR                                                                              HIGH POINT         NC    27262‐3740

LAUREL OTTE & JENNIFER L OTTE JT TEN             307 DICKINSON AVE                                                                             SWARTHMORE         PA    19081‐2002
LAUREL OTTE & JESSICA A OTTE JT TEN              307 DICKINSON AVE                                                                             SWARTHMORE         PA    19081‐2002
LAUREL PLAGENS                                   29821 TRAIL CREEK                                                                             NEW BOSTON         MI    48164‐7800
LAUREL T SINN                                    414 OAK HERITAGE DR                                                                           VENICE             FL    34292‐2437
LAUREL W BLOOD                                   204VALLEY VIEW DRIVE                                                                          MERIDEN            CT    06450‐4720
LAUREL W DAVIS                                   32842 23RD AVE S W                                                                            FEDERAL WAY        WA    98023‐2806
LAURELL W THOMAS                                 618 MAYWOOD WAY                                                                               UPLAND             CA    91786‐5000
LAURELLA CLEMMER & HARRY C CLEMMER JT TEN        217 FALLEN TIMBERS RD                                                                         POINT MARION       PA    15474‐1371
LAUREN A MATTHEWS                                1024 ROBIN DR                                                                                 THOMASVILLE        GA    31792‐3831
LAUREN A SHAKELY & GERRIT A HILHORST JT TEN      347 CLINTON ST                                                                                BROOKLYN           NY    11231‐3701
LAUREN A SWANSON                                 3444 HUNTERS RUN LN                                                                           TAMPA              FL    33614‐2775
LAUREN A TERINGO                                 8571 SEATON PLACE                                                                             MENTOR             OH    44060
LAUREN ANN PERRY                                 1001 S FLAGLER DR                    APT 301                                                  WEST PALM BCH      FL    33401‐6522
LAUREN ASHLEY GELIA                              5454 CENTER PINE LN                                                                           WILLIAMSVILLE      NY    14221‐2878
LAUREN ASHLEY SMITH                              1610 N 3RD ST                                                                                 CLINTON            IA    52732‐2859
LAUREN B ROBERTS                                 19190 LEO HANSEN RD                                                                           FLORENCE           MT    59833‐6159
LAUREN B WINSLOW                                 9787 EASY STREET                                                                              HAYDEN LAKE        ID    83835‐9086
LAUREN BERBERIAN                                 9 FARM RD                            APT 126                                                  HILLSBOROUGH       NJ    08844‐4427
LAUREN BRIANNE SPRAGGINS                         13002 SOUTH HOYNE                                                                             BLUE ISLAND        IL    60406‐2510
LAUREN D GLOVER                                  1905 PARKSIDE DRIVE                                                                           MITCHELLVILLE      MD    20721‐4239
LAUREN D JOHNSON                                 10804 SEA CLIFF CIRCLE                                                                        BOCA RATON         FL    33498‐6357
LAUREN DARLENE PITTS                             165 CEDAR ST                                                                                  FLORENCE           MS    39073‐9733
LAUREN E ADAMIK                                  308 WABASH AVE                                                                                CHESTERTON         IN    46304
LAUREN E ALEXANDER                               3103 BELLEVIEW                                                                                CHEWVERLY          MD    20785‐1212
LAUREN E DAETWILER                               215 SILVER LEAF LANE                                                                          BALDWIN CITY       KS    66006‐6003
LAUREN E DILLARD                                 1516 SE KNAPP ST                                                                              PORTLAND           OR    97202‐6008
LAUREN E LOCHER                                  10650 PINEWALK FOREST CIRCLE                                                                  ALPHARETTA         GA    30022‐4749
LAUREN E PERRY                                   16 BROOKSIDE DRIVE                                                                            GOSHEN             NY    10924‐5215
LAUREN E QUINN                                   11 THORNBROOK LANE                                                                            BEDFORD            NY    10506
LAUREN EDSALL                                    36 TOMAK RD                                                                                   CANDOR             NY    13743
LAUREN ELIZABETH BOCK                            820 S 5TH AVE                                                                                 LIBERTYVILLE       IL    60048‐3432
LAUREN ELIZABETH BURA                            92 FRANKLIN ST                                                                                VERONA             NJ    07044‐1923
LAUREN ELIZABETH DAVID                           82 BALFOUR AVE                       T M R PROVINCE QC                      H3P 1L6 CANADA
LAUREN ELIZABETH DOREMUS                         2820 CANAL DRR CIR                                                                            PANAMA CITY     FL       32405‐1610
LAUREN ELIZABETH TURNER                          5956 VETERANS PKWY                                                                            COLUMBUS        GA       31909‐4662
LAUREN ERCK                                      914 CRAIN STREET                     BUILDING B           2N                                  EVANSTON        IL       60202
LAUREN FRIED                                     6 THOREAU RD                                                                                  HAMILTON SQUARE NJ       08690‐2117

LAUREN G MARSHALL                                3430 SUSSEX COURT                                                                             ANN ARBOR          MI    48108‐1743
LAUREN G RACE                                    34 CRESTWOOD LANE                                                                             CHARLESTOWN        RI    02813
LAUREN GROMEN                                    439 VALLEY RUN DR                                                                             CHERRY HILL        NJ    08002‐2440
LAUREN J TORNOW TR LAUREN J TORNOW TRUST UA      111 CLARK ST                                                                                  WALNUT             IL    61376‐9375
01/24/03
LAUREN K GREER CUST QUINTEN A GREER UTMA TX      9103 OAK ARBOR DR                                                                             CANROE             TX    77384‐4677

LAUREN K LUCAS & JEFFEY N COLLINS JT TEN         7698 N SOMBRERO PEAK DRIVE                                                                    TUCSON             AZ    85743‐6018
LAUREN KAY ATTINELLO                             APT 1                                319 W 103RD ST                                           NEW YORK           NY    10025‐4487
LAUREN KOOSHOIAN EX UW HELEN KOOSHOIAN           80 HAVERHILL ST                                                                               READING            MA    01867‐1966
LAUREN L BOWLER                                  1045 TIMBERLAKE DRIVE                                                                         BLOOMFIELD HILLS   MI    48302‐2848

LAUREN L MASSEY                                  2 MIDWOOD DR                                                                                  BINGHAMTON         NY    13903‐1922
LAUREN LAVOIE                                    60 PINE AVE                                                                                   FLORAL PARK        NY    11001‐2321
LAUREN M DEANE                                   414 PLUSHMILL RD                                                                              WALLINGFORD        PA    19086‐6025
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 689 of 855
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

LAUREN M FLIPP CUST KYLE P FLIPP UGMA MA         6 PERRY ST                                                                                     MIDDLEBOROUGH      MA    02346‐3116

LAUREN M MOONEY                                  11861 HULLBRIDGE CT                                                                            ORLANDO            FL    32837
LAUREN MARIE YAGIELA                             19524 FRY ROAD                                                                                 NORTHVILLE         MI    48167
LAUREN MIRKIN                                    1309 EVERIT PLACE                                                                              HEWLETT HARBOR     NY    11557‐2728

LAUREN N STRICKLAND                              34372 ORSINI DR                                                                                STERLING HEIGHTS   MI    48312‐5773

LAUREN NICHOLE SHURTLEFF & PAUL FRANCIS          88 N HILLSIDE PL                                                                               RIDGEWOOD          NJ    07450‐3003
SHURTLEFF JT TEN
LAUREN NOLTE                                     7424 SANDYWOODS CT                                                                             FORT WORTH         TX    76112‐5925
LAUREN O'NEILL                                   16731 GREENBRIAR RD                                                                            LAKE OSWEGO        OR    97034‐5726
LAUREN P EDWARDSON                               6280 BARCLAY AVE                                                                               BROOKSVILLE        FL    34609‐8714
LAUREN PAIGE ZWACK & GREGORY CHARLES ZWACK JT    205 SOUTH CHANNEL DRIVE                                                                        WRITSVLLE BCH      NC    28480
TEN
LAUREN PALMER SECRIST                            17469 GENERAL LEE DR                                                                           SHARPSBURG         MD    21782‐1710
LAUREN PETERS CALENDA & FRED CALENDA JT TEN      7 WOODLAND AVE                                                                                 VERONA             NJ    07044‐2821

LAUREN R COHEN TR MAUREN R COHEN TRUST UA        1600 SOUTH BEVERLY DRIVE                                                                       LOS ANGELES        CA    90035‐3006
09/29/05
LAUREN R LEVALLEY                                3800 BENFIELD DR                                                                               KETTERING          OH    45429
LAUREN R LEYSON & REBECCA A LEYSON JT TEN        423 PREAKNESS RUN                                                                              NEW ARC            DE    19702‐2031
LAUREN R MC GUIRE                                19811 WILDWOOD WEST DR                                                                         PENN VALLEY        CA    95946‐9547
LAUREN S BAKER                                   10 N KELLY AVE                                                                                 BEL AIR            MD    21014‐3618
LAUREN S BORRERO                                 PO BOX 84                                                                                      VACAVILLE          CA    95696‐0084
LAUREN THERSE TOPEL                              498 BRIMHALL ST                                                                                SAINT PAUL         MN    55116‐1507
LAUREN THOMPSON                                  1291 MINERS WAY                                                                                ROSEVILLE          CA    95661‐7046
LAUREN THOMPSON & KATHRYN THOMPSON JT TEN        1291 MINERS WAY                                                                                ROSEVILLE          CA    95661‐7046

LAUREN TRACY                                     7063 CROSSCREEK DR                                                                             MAUMEE             OH    43537‐1015
LAUREN TRACY                                     7063 CROSSCREEK DR                                                                             MAUMEE             OH    43537
LAUREN W LITTLE                                  96 FOX ST                                                                                      ROCHESTER          NY    14615‐3222
LAUREN Y AUSTIN                                  23 TUCKER CREEK ROAD                                                                           CONWAY             AR    72032‐2972
LAUREN YANCEY                                    240 OAKMONT ST                                                                                 CINCINNATI         OH    45216‐1421
LAURENA M HOLLAND TR LAURENA M HOLLAND LIVING 6696 KNOLLWOOD CIR W                                                                              WEST BLOOMFIELD    MI    48322‐3947
TRUST UA 11/26/04
LAURENCE A BERG CUST JESSICA CARRIE BERG UGMA MI 6701 SPRUCE DR                                                                                 BLOOMFIELD         MI    48301‐3057

LAURENCE A FOLKOFF                               7341 MAPLE MILL CT                                                                             WEST BLOOMFIELD MI       48323‐4004

LAURENCE A MILLER                                12284 JENNINGS ROAD                                                                            CLIO               MI    48420‐8218
LAURENCE A MOOSE                                 3668 STONETRACE CIRCLE                                                                         BARTLETT           TN    38135‐3089
LAURENCE A PRICE TR LAURENCE A PRICE REVOCABLE   745 N WILLIAMSBURY ROAD                                                                        BLOOMFIELD HILLS   MI    48301‐2521
TRUSTUA 01/21/98
LAURENCE A RENO                                  13372 BARNETT WA                                                                               GARDEN GROVE       CA    92843‐2606
LAURENCE A TUROFF                                4 HAZELTON DR                                                                                  SCARSDALE          NY    10583‐7410
LAURENCE ALFRED BROWN JR                         1290 BRIGANTINE COURT                                                                          VIRGINIA BEACH     VA    23454‐2011
LAURENCE ALLEN BONHAUS                           780 CONGRESS AVE GLENDALE NATIONAL    HISTORIC DISTRICT                                        CINCINNATI         OH    45246
LAURENCE ANTHONY DAVIS                           647 A ST NE                                                                                    WASHINGTON         DC    20002‐6029
LAURENCE B GRODIN                                23 WATERGATE DR                                                                                AMAWALK            NY    10501‐1102
LAURENCE B OPPENHEIMER CUST ELIZABETH ANN        55 FAIRLAWN DR                                                                                 BUFFALO            NY    14226‐3421
OPPENHEIMER UGMA NY
LAURENCE B OPPENHEIMER CUST MADELINE             55 FAIRLAWN DR                                                                                 BUFFALO            NY    14226‐3421
OPPENHEIMER UGMA NY
LAURENCE BECKER                                  5472 SAM SMITH RD                                                                              COOKEVILLE         TN    38506
LAURENCE BIRRELL                                 9153 MANDON                                                                                    WHITE LAKE         MI    48386‐4263
LAURENCE C CHANEY                                3405 RUNNING OAK PL                                                                            WALDORF            MD    20601‐2326
LAURENCE C GEBELOFF                              33 DOGWOOD CT                                                                                  ROCKY HILL         CT    06067‐1868
LAURENCE C MCCARTER                              8440 LIBERTY BLVD                                                                              WESTLAND           MI    48185‐1734
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 690 of 855
Name                                              Address1                               Address2               Address3        Address4          City               State Zip

LAURENCE C ROSS SR                                5432 EDGEWOOD DR                                                                                LORAIN           OH      44053‐3332
LAURENCE CHEN                                     530 SHOWERS DR #7                      APT PMB112                                               MOUNTAIN VIEW    CA      94040‐1457
LAURENCE D CAVANAUGH                              23648 BARFIELD                                                                                  FARMINGTON HILLS MI      48336‐3406

LAURENCE D CODER JR                            2956 LAURIA ROAD                                                                                   KAWKAWLIN          MI    48631‐9103
LAURENCE D LAISKONIS                           366 LAKE DR SE                                                                                     CALHOUN            GA    30701‐4625
LAURENCE D MC CULLOUGH                         313 E RIDGEWAY                                                                                     FLINT              MI    48505‐5215
LAURENCE D OBERMILLER                          4445 THREE MILE ROAD                                                                               BAY CITY           MI    48706‐9288
LAURENCE D SMITH                               ATTN LOUISE SMITH                         6644 S TALMAN AVE #1                                     CHICAGO            IL    60629‐1740
LAURENCE D WRIGHT                              1003 POST OFFICE RD                                                                                SANFORD            NC    27330‐0220
LAURENCE DEAN TYRRELL                          300 KRISTMONT AVE                                                                                  LODI               CA    95240
LAURENCE E BROWN & MARILYN BROWN JT TEN        3712 S 78TH                                                                                        LINCOLN            NE    68506‐4720
LAURENCE E CONLY                               2540 VANTAGE WAY                                                                                   DEL MAR            CA    92014‐2943
LAURENCE E HICKS                               12 KINDERKEMACK RD                                                                                 PARKRIDGE          NJ    07656‐2133
LAURENCE E LILLEY                              PO BOX 670                                                                                         WILLIAMSTON        NC    27892‐0670
LAURENCE E THOMAS TR UA 11/16/89 THOMAS FAMILY 8822 MISTY CREEK DR                                                                                SARASOTA           FL    34241
TRUST
LAURENCE E WAGNER                              90 TRANSYLVANIA ROAD                                                                               ROXBURY            CT    06783‐2107
LAURENCE EDWARD PEAREN                         7914 HAMMOND LN                           APT 12                                                   MECOSTA            MI    49332‐9350
LAURENCE G BYRNES TR LAURENCE G BYRNES LIVING  48 GIBSON RD                                                                                       ASHEVILLE          NC    28804‐1736
TRUST UA 8/14/02
LAURENCE G MAYER                               8677 W CARO RD                                                                                     REESE              MI    48757‐9226
LAURENCE GARASCIA & DOLORES GARASCIA JT TEN    34322 JEFFERSON AVE                                                                                HARRISON TWP       MI    48045

LAURENCE GUSTIN SNIDER                            2429 NOBLE STREET                                                                               ANDERSON           IN    46016‐4574
LAURENCE H CARVER                                 503 HOLLOW RIDGE RD                                                                             DURANGO            CO    81301‐7254
LAURENCE H GARASCIA                               34322 JEFFERSON AV                                                                              HARRISON           MI    48045‐3324
                                                                                                                                                  TOWNSHIP
LAURENCE H GARASCIA JR                            24444 MIDDLE FORK ROAD                                                                          BARRINGTON         IL    60010
LAURENCE HOLLAND BECK                             VILLA 35                               1194 HILLSBORO MILE                                      HILLSBORO BEACH    FL    33062‐1531

LAURENCE I ADY & MRS NANCY L ADY JT TEN           2495 TRENTWOOD BLVD                                                                             BELLE ISLE         FL    32812‐4833
LAURENCE I GUTHMANN TR U‐A‐O 12/06/84 RICHARD     13770 PARC DR                                                                                   PALM BCH GDNS      FL    33410‐1200
GUTHMANN
LAURENCE IACUEO                                   372 CENTRAL PARK WEST                  #17J                                                     NEW YORK           NY    10025‐8211
LAURENCE J CHAPULIS & MRS BARBARA M CHAPULIS JT   33 COLONIAL ROAD                                                                                SUTTON             MA    01590‐2519
TEN
LAURENCE J KEENAN                                 PO BOX 77                                                                                       DURHAMVILLE        NY    13054‐0077
LAURENCE J LENICZEK                               34615 ESPER DRIVE                                                                               STERLING HEIGHTS   MI    48312‐5028

LAURENCE J LENICZEK & LOUISE LENICZEK JT TEN      34615 ESPER DR                                                                                  STERLING HEIGHTS   MI    48312‐5028

LAURENCE J MUIR                                   397 WHITTIER ROAD                                                                               SPENCERPORT        NY    14559‐9746
LAURENCE J RALEIGH & MEREDITH RALEIGH JT TEN      1005 SAMANTHA LANE                     UNIT 103                                                 ODENTON            MD    21113

LAURENCE J ROSENFELD                              251 GLENN EAGLES RD                                                                             STATESVILLE        NC    28625
LAURENCE J SABO                                   6480 BEACHDELL DR                                                                               MIDDLEBURG HTS     OH    44130‐2696

LAURENCE J SAUTER JR                              4811 N 16TH RD                                                                                  ARLINGTON          VA    22207‐2026
LAURENCE J WAGNER                                 W5399 WAGNER LANE                                                                               JEFFERSON          WI    53549‐9787
LAURENCE J WEBER                                  5409 COMANCHE WAY                                                                               MADISON            WI    53704‐1023
LAURENCE K LINDAUER                               4944 EAST C AVE                                                                                 KALAMAZOO          MI    49004‐8617
LAURENCE L DANTZER                                3125 SO COUNTY 55 RD                                                                            ASHFORD            AL    36312
LAURENCE L FRICKE                                 2665 NORTH BRANCH RD                                                                            NORTH BRANCH       MI    48461‐9344
LAURENCE L FRICKE & JANE M FRICKE JT TEN          2665 NORTH BRANCH RD                                                                            NORTH BRANCH       MI    48461‐9344
LAURENCE L SAJDAK TR LAURENCE L SAJDAK TRUST UA   1300 E ST                                                                                       ANCHORAGE          AK    99501‐4428
07/29/93
LAURENCE M BOUZAS CUST JUSTIN M BOUZAS UGMA       18335 STAMFORD                                                                                  LIVONIA            MI    48152
MI
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                          Part 4 of 8 Pg 691 of 855
Name                                               Address1                                Address2             Address3              Address4                City               State Zip

LAURENCE M HASELEY                                 7090 OLD ENGLISH ROAD                                                                                      LOCKPORT           NY    14094‐5410
LAURENCE M SMITH                                   9716 N LIMA RD                                                                                             YOUNGSTOWN         OH    44514‐3230
LAURENCE MAY                                       99 OAK ST                                                                                                  AVENEL             NJ    07001‐1850
LAURENCE MILLETT & MRS FAY MILLETT JT TEN          HIGHBANK                                STENNER LANE         DIDSBURY MANCHESTER   M20 2RQ GREAT BRITAIN
LAURENCE NOONAN                                    2605 W 11TH ST                          #8                                                                 CLEVELAND       OH       44113‐4404
LAURENCE P WOLF                                    10827 TORREY PINE RD                                                                                       TRUCKEE         CA       96161‐2027
LAURENCE PATRUSEVICH                               24 DELTA COURT                                                                                             NORTH BRUNSWICK NJ       08902‐1352

LAURENCE QUINN                                     768 CENTRAL ST                                                                                             EAST BRIDGEWATER MA      02333‐2179

LAURENCE R CONNELL                                 1004 OLD BALTIMORE PIKE                                                                                    NEWARK             DE    19702‐1202
LAURENCE R GRIFFITHS                               2349 AUSTINTOWN‐WARREN RD                                                                                  WARREN             OH    44481‐9698
LAURENCE R MADDOX                                  1500 S 14TH ST                          UNIT 322                                                           SAINT CHARLES      IL    60174‐3772
LAURENCE R SALAMEY                                 6326 MIDNIGHT PASS RD                   # 207                                                              SARASOTA           FL    34242‐2499
LAURENCE R WIGGINS JR                              7 COLTON DR                                                                                                PLYMOUTH           PA    19462‐2309
                                                                                                                                                              MEETING
LAURENCE ROBERT SAUNDERS                           139 NELSON ROAD                                                                                            HARRISVILLE        NH    03450‐5405
LAURENCE T DUNCAN                                  3052 KINGSTON ROAD                                                                                         KINGSTON           MI    48741‐9706
LAURENCE T HELLER                                  2164 BATES RD                                                                                              MT MORRIS          MI    48458‐2660
LAURENCE T MC HARGUE                               606 MERIDIAN AVE                                                                                           SOUTH PASADENA     CA    91030‐2522

LAURENCE V JONES CUST IAN L JONES UGMA NY          PO BOX 150                                                                                                 MALDEN             NY    12453‐0150
LAURENCE V ROSA                                    16445 PUTTER CIRCLE                                                                                        BURLINGTON         WA    98233‐3802
LAURENCE WEDEMAN                                   35945 BLACK MARLIN DR                                                                                      LEWES              DE    19958‐5035
LAURENE A MANHARD                                  12080 ROLLING HILLS RD                                                                                     MONMOUTH           OR    97361‐9758
LAURENE A MUZZILLO                                 44674 LARCHWOOD DR                                                                                         NORTHVILLE         MI    48168‐4372
LAURENE B CASWELL                                  3690 SCHMIDT RD                                                                                            GLADWIN            MI    48624‐8914
LAURENE BIANCULLI                                  67 SHINBONE LANE                                                                                           COMMACK            NY    11725‐5524
LAURENE JUDITH VAN SICKLE                          435 GOLF VIEW DR                                                                                           SANDUSKY           MI    48471‐9619
LAURENE P WAGNER & JOSEPH R WAGNER JT TEN          8459 LESLIE                                                                                                STERLING HEIGHTS   MI    48314‐1669

LAURENE S SCHIEVE                                  1609 W CADDINGTON DR                                                                                       RANCHO PAL VER     CA    90275‐1809
LAURENE SWEENEY                                    PO BOX 604                                                                                                 LEWISTON           ID    83501‐0604
LAURENKAY URBANEK                                  708 E NORTH BROADWAY ST                 # 1B                                                               LOMBARD            IL    60148‐2962
LAURENT MAINVILLE                                  5564 PLAMONDON                          BOSSARD QC                                 J4W 1G8 CANADA
LAURENT P DANDENEAU                                8 PROSPECT ST                                                                                              MILLVILLE          MA    01529‐1737
LAURENT R RHEAUME                                  368 PROSPECT ST                                                                                            WOONSOCKET         RI    02895‐1949
LAURENT VACHON                                     173 KEYWORTH AVE                        OTTAWA ON                                  K1Y 0E8 CANADA
LAURETTA C CESARIO                                 300 SAND HILL CIR                       APT 104                                                            MENLO PARK      CA       94025‐7101
LAURETTA C SINGER                                  2801 LONG MEADOW DR                                                                                        WEST PALM BEACH FL       33414‐7056

LAURETTA C TAYLOR                                  31 PARKVIEW DRIVE                                                                                          FINLEYVILLA        PA    15332‐9419
LAURETTA J BAUER                                   8218 BURPEE RD                                                                                             GRAND BLANC        MI    48439‐7419
LAURETTA J BURTON                                  6997 WIND RUN WAY                                                                                          STONE MOUNTAIN     GA    30087‐5451

LAURETTA J FLYNN                                   6930 PRINCESS LANE                                                                                         AVON               IN    46123‐8935
LAURETTA J MULLENIX                                403 LAKE ST                                                                                                ROSCOMMON          MI    48653‐7663
LAURETTA V GERWIN                                  381 TIHAMI ROAD                                                                                            VENICE             FL    34293‐1734
LAURETTE H WOOD                                    N812 4TH AVE                                                                                               COLOMA             WI    54930‐9049
LAURETTE J LOCKE                                   115 NAVAJO ST                                                                                              SATSUMA            FL    32189
LAURETTE L DE VICTORIA & JERALD N DE VICTORIA JT   29021 DISCOVERY RIDGE DR                                                                                   SANTA CLARITA      CA    91390‐5758
TEN
LAURETTE LANGLAIS                                  513 AVE CARROL                          LA SALLE QC                                H8P 2V5 CANADA
LAURETTE M KNOWLTON                                19448 SANTA ROSA                                                                                           DETROIT            MI    48221‐1736
LAURI E LUCE                                       267 HOLLISTER CT                                                                                           SAN LEANDRO        CA    94577‐2007
LAURI J MILLER                                     6510 BULL HILL CT                                                                                          COLORADO SPGS      CO    80919‐1909
LAURI L TRAPP & DAVID D TRAPP JT TEN               11631 NORTHSHORE                                                                                           WHITMORE LK        MI    48189‐9125
LAURI VENEMAN                                      3381 LORETTA VW SE                                                                                         CALEDONIA          MI    49316‐9077
LAURIANN M TAMBONE                                 31 DEBRA DRIVE                                                                                             TEWKSBURY          MA    01876‐2708
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 692 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

LAURIANO QUINONES                                100‐8 ERSKINE PL                                                                                BRONX           NY    10475‐5732
LAURIE A BLANCHARD                               7 ONEIDA PL                                                                                     HUDSON          MA    01749‐2854
LAURIE A BRUCKER                                 43 DELRAY CT                                                                                    SAINT PETERS    MO    63376‐2653
LAURIE A BURDGICK                                14296 EASTVIEW DR                                                                               FENTON          MI    48430
LAURIE A CALL                                    16375 LOCHERBIE AVE                                                                             BEVERLY HILLS   MI    48025‐4211
LAURIE A CRIMENI                                 48 LACE LANE                                                                                    WESTBURY        NY    11590‐6315
LAURIE A CUMMINS                                 1925 LITTLE FAWN CT                                                                             LEWISVILLE      TX    75067‐5543
LAURIE A EGBERT                                  517 BOWEN ST                                                                                    LONGMONT        CO    80501‐5333
LAURIE A ENTWISTLE                               5408 SHACKLETON RD                                                                              BRIDGE PORT     NY    13030
LAURIE A FLORIDIA & PAUL V FLORIDIA JT TEN       1452 WHITESPIRE CT                                                                              NAPERVILLE      IL    60565‐2031
LAURIE A GAMBLE                                  PO BOX 184                                                                                      HIGHLAND        MI    48357‐0184
LAURIE A GAMBLE TR UW CATHERINE P HARRISON FBO   PO BOX 184                                                                                      HIGHLAND        MI    48357‐0184
CAITLIN GAMBLE
LAURIE A GREIG & MARY JANE GREIG JT TEN          1181 US HIGHWAY 45                                                                              ONTONAGON       MI    49953‐9701
LAURIE A KENFIELD & MICHAEL D KELLEHER JT TEN    281 GATESBY RD                                                                                  RIVERSIDE       IL    60546‐1613

LAURIE A KUBIAK CUST MICHAEL J KUBIAK UTMA OH    4328 WOOSTER RD                                                                                 FAIRVIEW PARK   OH    44126‐3420

LAURIE A LANDERS & BRIAN LANDERS JT TEN          18 UNICORN CIR                                                                                  AMESBURY        MA    01913‐1014
LAURIE A LARSEN                                  14925 BAINBRIDGE                                                                                LIVONIA         MI    48154‐3639
LAURIE A LUCCHINA                                112 MOUNT VERNON ST                                                                             BOSTON          MA    02108
LAURIE A MACKENZIE                               1227 SOMERVILLE DR                     LONDON ON                              N6K 5R2 CANADA
LAURIE A MOORE‐SWAIN                             2526 LAMOTHE ST                                                                                 DETROIT         MI    48206‐2596
LAURIE A ROSE                                    3411 SCHOOLHOUSE RD                                                                             DOVER           PA    17315‐3353
LAURIE A RUSSEAN                                 6594 DEER RIDGE                                                                                 CLARKSTON       MI    48348‐2806
LAURIE A SCHADE                                  83 E MAIN ST                                                                                    MARLTON         NJ    08053‐2139
LAURIE A SHELDON & JEFFREY A SHELDON JT TEN      2441 MOUNT VERNON AVE                                                                           JANESVILLE      WI    53545‐2227
LAURIE A SHERMAN                                 8700 N 64TH ST                                                                                  BROWN DEER      WI    53223‐2824
LAURIE A SMITH                                   7131 ALBOSTA DR                                                                                 SAGINAW         MI    48609‐5290
LAURIE A STEPANIAN                               110 RITTSWOOD DRIVE                                                                             BUTLER          PA    16001‐2139
LAURIE A STIRLING CUST ANDREW C STIRLING UGMA MI 108 CHANTICLEER                                                                                 LANSING         MI    48917‐3005

LAURIE A THOMPSON                                104 BROOKMEADOW CT SW                  APT 1                                                    GRANDVILLE      MI    49418‐2173
LAURIE A WOZNIAK                                 145 STEEPLECHASE NORTH                                                                          COLUMBIA        SC    29209‐4826
LAURIE A YOUNGLOVE                               2474 OAKRIDGE DR                                                                                FLINT           MI    48507‐6211
LAURIE AINSWORTH                                 5 GENESEO CIR                                                                                   MILFORD         MA    01757‐1008
LAURIE ANN COKE                                  PO BOX 1015                                                                                     AROMAS          CA    95004‐1015
LAURIE ANN HOOKS                                 906 WILDWOOD RD                                                                                 AIKEN           SC    29801‐3063
LAURIE ANN MCCAIG CUST LAUREN MICHAEL MCCAIG     216 FOX RUN DRIVE                                                                               VENETIA         PA    15367‐1428
UTMA PA
LAURIE ANN MILLING                               1915 HAMPTON DR                                                                                 WHEATON         IL    60187‐1021
LAURIE ANN MOELLER CUST SHAUN MICHAEL MOELLER    14401 E BROADWAY AVE                                                                            SPOKANE VLY     WA    99216‐2029
UGMA NY
LAURIE ANN SCHWARTZ                              34 VASSAR ST                                                                                    WORCESTER       MA    01602‐1508
LAURIE ANN WEST                                  2987 WOODS EDGE WAY                                                                             FITCHBURG       WI    53711
LAURIE ANNE KALMAN WICKHAM                       6130 CREEKSIDE TRL                                                                              JUPITER         FL    33458‐2408
LAURIE B MELANSON                                12 BROOK ST                                                                                     HOLLISTON       MA    01746‐1304
LAURIE B RIDL                                    405 BENTON                                                                                      ROSSVILLE       IL    60963‐1006
LAURIE BEN‐AMI                                   164 WINDHAM RD                                                                                  HILLSDALE       NJ    07642‐1317
LAURIE BROWNELL                                  1901 SPRUCE ST                         APT 5                                                    PHILADELPHIA    PA    19103‐5711
LAURIE BRUMMETT & RUSS BRUMMETT JT TEN           2601 BLARNEY STONE LN                                                                           BLOOMINGTON     IL    61704‐8413
LAURIE BRUNETTO CUST CHRISTOPHER BRUNETTO        60 CALICO LN                                                                                    FAIRFIELD       CT    06430‐7114
UGMA CT
LAURIE C BLEDSOE                                 3718 E 47 ST                                                                                    TULSA           OK    74135‐1916
LAURIE C GROSS CUST ALEXANDER GEORGE GROSS       4125 NANTUCKET                                                                                  TOLEDO          OH    43623‐3222
UTMA OH
LAURIE C GROSS CUST SAMUEL MARCUS GROSS UTMA     4125 NANTUCKET                                                                                  TOLEDO          OH    43623‐3222
OH
LAURIE C MITCHELL                                6298 SUMMERHILL COURT                                                                           FLINT           MI    48532‐2155
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 693 of 855
Name                                            Address1                             Address2               Address3        Address4          City             State Zip

LAURIE C WESTERINEN                             15400 18 MILE RD                     APT B 103                                                CLINTON TOWNSHIP MI    48038‐5828

LAURIE CALLENDER                                14804 CARTER STREET                                                                           OVERLAND PARK    KS    66221
LAURIE CALLENDER                                14804 CARTER STREET                                                                           OVERLAND PARK    KS    66221
LAURIE CAROEN                                   BOX 1323                                                                                      DELEON SPRINGS   FL    32130‐1323
LAURIE CHURCHILL                                34640 JENNIFER DR                                                                             WILDOMAR         CA    92595‐8697
LAURIE CLARK CUST RILEY JOHN CLARK UTMA WI      7046 EAST BINGHAM RD                                                                          MILTON           WI    53563
LAURIE D LEMIEUX & PAUL L LEMIEUX JT TEN        10 NIQUETTE COURT                                                                             WINOOSKI         VT    05404
LAURIE DIANE STIRLING CUST KATHERINE REBECCA    108 CHANTICLEER TRAIL                                                                         LANSING          MI    48917‐3005
STIRLING UGMA MI
LAURIE DRESSLER                                 9842 79TH ST                         FORT SASKATCHEWAN AB                   T8L 3G8 CANADA
LAURIE E BROWN                                  ATTN LAURIE B INOKUMA                110 PASCACK RD                                           PEARL RIVER      NY    10965‐1625
LAURIE E CZARNECKI                              25407 MONTEBELLO DRIVE                                                                        WOODHAVEN        MI    48183
LAURIE E JANKOWER                               405 SAINT JOSEPH STREET                                                                       LAFAYETTE        LA    70506‐4564
LAURIE E KRAUSS                                 11 WATERS EDGE                                                                                KINNELON         NJ    07405‐2866
LAURIE E MILLER                                 3894 MEETING ST                                                                               DULUTH           GA    30096‐3197
LAURIE E MORGENS                                552 HICKORY BLF                                                                               COLUMBUS         OH    43213‐7306
LAURIE E NEGROTTO                               4901 ELMWOOD PKWY                                                                             METAIRIE         LA    70003‐2628
LAURIE E ROOT                                   8220 WEST AB AVE                                                                              OTSEGO           MI    49078‐9509
LAURIE E STOCKER                                525 WEST 13TH AVE‐APT #903           VANCOUVER BC                           V5Z 1N6 CANADA
LAURIE ELLEN HARRIS                             127 OLD SOUTH RD                                                                              LITCHFIELD       CT    06759‐4001
LAURIE F KAY                                    2635 GOOSE CREEK BYPASS                                                                       FRANKLIN         TN    37064‐1203
LAURIE F KAY & DAVID A KAY JT TEN               2635 GOOSE CREEK BY PASS                                                                      FRANKLIN         TN    37064‐1203
LAURIE F KEYSER & FRANCIS W KEYSER JT TEN       307 N GEORGIA AVE                                                                             MARTINSBURG      WV    25401‐2024
LAURIE F LIEBERMAN                              3500 OLD MILL ROAD                                                                            HIGHLAND PARK    IL    60035‐1011
LAURIE F MATAMOROS & FRANCISCO J MATAMOROS JT 311 CORA LOOP                                                                                   WILMINGTON       DE    19808
TEN
LAURIE FAWCETT                                  8062 N 61 STREET                                                                              BROWN DEER       WI    53223
LAURIE FLANAGAN TR CHRISTINE M KOCH TRUST UA    1618 BROADRUN RD                                                                              LANDENBERG       PA    19350‐1331
04/01/99
LAURIE G WOOD                                   3150 HONEY VALLEY RD                                                                          DALLAS TOWN      PA    17313‐9649
LAURIE GAERTIG                                  41 MARACAY                                                                                    SAN CLEMENTE     CA    92672‐6051
LAURIE GOOD                                     912 VINE ST                                                                                   LIVERPOOL        NY    13088
LAURIE H MADDOX                                 603 FOUR POINTS RD                                                                            JACKSON          GA    30233
LAURIE H MORRIS                                 C/O PAPA                             31770 CROSS BOW ST                                       BINGHAM FARMS    MI    48025‐3505
LAURIE HACKBARTH CUST HEATHER J HACKBARTH UTMA 5204 61ST ST                                                                                   KENOSHA          WI    53142‐3038
WI
LAURIE HACKBARTH CUST HEIDI L HACKBARTH UTMA WI 5204 61ST ST                                                                                  KENOSHA          WI    53142‐3038

LAURIE HEDWALL                                 13850 SE 119TH DR                                                                              CLACKAMAS       OR     97015
LAURIE HUNTER CUST JUDY HUNTER UGMA NJ         14 EAST POND                                                                                   EAST PORT       NY     11941‐1303
LAURIE J COSTELLO                              6309 SHIMER DR                                                                                 LOCKPORT        NY     14094‐6405
LAURIE J DRAZEK                                85 GROVE ST                                                                                    PAXTON          MA     01612
LAURIE J DUNCAN                                26020 NE 3RD ST                                                                                CAMAS           WA     98607‐9702
LAURIE J FULCHER                               4046 MEADOWDALE                                                                                WILLIAMSTON     MI     48895‐9631
LAURIE J MAHLOW                                337 BUTTON ROAD                                                                                OKEMOS          MI     48864‐4301
LAURIE J MCHENRY                               1261 SIOUX TRAIL                                                                               FORT ATKINSON   WI     53538
LAURIE J RUDY                                  8420 NORTHCOTE AVE                                                                             MUNSTER         IN     46321‐2024
LAURIE J THOMPSON                              7166 POPPLEWOOD DRIVE                                                                          DAVISON         MI     48423‐9545
LAURIE J TRITTEN & ROBERT R TRITTEN JT TEN     9217 TIMBERLINE DR                                                                             GRAND BLANC     MI     48439‐8334
LAURIE J VONK                                  3531 PERRY ST                                                                                  HUDSONVILLE     MI     49426‐9657
LAURIE J WESTER                                PO BOX 15                                                                                      CONESUS         NY     14435‐0015
LAURIE J WITTE                                 3894 EAST 40TH STREEET S W                                                                     GRANDVILLE      MI     49418‐2402
LAURIE J WITTE & HERMAN WITTE JT TEN           3894 EAST 40TH STREET S W                                                                      GRANDVILLE      MI     49418‐2402
LAURIE J ZACKHEIM                              428 ASHLAND AVE                                                                                BUFFALO         NY     14222‐1543
LAURIE JEAN CHASE                              218 LAVENDER OASIS                                                                             PEACHTREE CITY  GA     30269‐3039
LAURIE JEAN MONKMAN                            17960 SQUIRREL HAVEN LANE                                                                      MEADOW VISTA    CA     95722‐9446
LAURIE JO SIMMONS CUST HOLLY JEAN SIMMONS UTMA 409 AVENUE B                                                                                   MELBOURNE BEACH FL     32951‐2214
FL
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 694 of 855
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

LAURIE JO SIMMONS CUST ROSS NAIRN SIMMONS         409 AVE B                                                                                      MELBOURNE BEACH FL     32951‐2214
UTMA IL
LAURIE K FRANK                                    124 PEARL ST                                                                                   WAYLAND          MI    49348‐1240
LAURIE K JOHNSON                                  5858 CEDAR PL                                                                                  FERNDALE         WA    98248‐9301
LAURIE K WAY                                      4100 YEAGER RD                                                                                 COLUMBIA         MO    65202‐8487
LAURIE KAY CLARK CUST PATRICK L CLARK UTMA WI     7046 EAST BINGHAM RD                                                                           MILTON           WI    53563

LAURIE KECMAN                                     2928 PICTON PLACE DR                  MISSISSAUGA ON                         L5M 5S9 CANADA
LAURIE KESANEN & FREDRIC B KESANEN JT TEN         2474 OAKRIDGE DR                                                                               FLINT            MI    48507‐6211
LAURIE L JULIAN CUST ROBERT A JULIAN UTMA CA      7348 FULLBRIGHT AVE                                                                            CANOGA PARK      CA    91306‐3116
LAURIE L KESKES                                   12076 JEFFERS LN                                                                               FENTON           MI    48430‐2497
LAURIE L KITCHEN                                  4372 TWILIGHT LN                                                                               HAMBURG          NY    14075‐1526
LAURIE L ROLAND                                   28587 CLOVER LANE                                                                              EVERGREEN        CO    80439‐8416
LAURIE L STREIB                                   13607 E 264TH ST                                                                               PECULIAR         MO    64078‐8420
LAURIE LEE HAYDEN‐MOSHER                          2942 FENNER ST                                                                                 MARLETTE         MI    48453‐1028
LAURIE LOEBER                                     50 ENGLEWOOD RD                                                                                CLIFTON          NJ    07012‐2113
LAURIE LOU KOLAKOWSKI                             6010 JUMILLA AVE                                                                               WOODLAND HILLS   CA    91367‐5608

LAURIE LOWE & JUNE RAYNER JT TEN                  515 LONG DR                                                                                    PITTSBURGH       PA    15241
LAURIE LYNN SAVITT CUST DANIEL J SAVITT UTMA NJ   4905 MOTHER LODE TR                                                                            LAS CRUCES       NM    88011‐8319

LAURIE M BEAUCHAMP                                25129 ROAN DR                                                                                  WARREN           MI    48089‐4572
LAURIE M BODRIE                                   6 AVENIDA REFEXION                                                                             SAN CLEMENTE     CA    92673‐6828
LAURIE M LOVE                                     43 EAST PITMAN ST                                                                              PENNS GROVE      NJ    08069‐1440
LAURIE M PALM                                     6391 VANGUARD                                                                                  GARDEN GROVE     CA    92845‐1709
LAURIE M W BLAKENEY                               85 AUBURN STREET                                                                               CONCORD          NH    03301‐3047
LAURIE M WIGMAN                                   3200 LORIENT                                                                                   MCHENRY          IL    60050‐6115
LAURIE M WOLL                                     9369 CENTRAL                                                                                   MONCLAIR         CA    91763‐2420
LAURIE MCCREA                                     PO BOX 21265                                                                                   TALLAHASSEE      FL    32316‐1265
LAURIE MITCHELL CUST MICHAEL MITCHELL UTMA OH     377 WINDWARD WAY                                                                               AVON LAKE        OH    44012‐2468

LAURIE N BENDER                                   1678 NORTH GATE                                                                                MERRICK          NY    11566‐4820
LAURIE NELDBERG WEESEN CUST TYLER S WEESEN        430 BRICKYARD RD                                                                               MARQUETTE        MI    49855‐8800
UGMA MI
LAURIE OTIS                                       1335 RIO VISTA AVE                                                                             FORT MYERS       FL    33901
LAURIE P A FOULDS                                 (BRUSSELS) P O BOX 9022                                                                        WARREN           MI    48090‐9022
LAURIE R ADAMS                                    222 BRAILSFORD RD                                                                              SUMMERVILLE      SC    29483
LAURIE R MILLER                                   2572 LAKE GEORGE RD                                                                            OAKLAND          MI    48363‐2130
LAURIE REUTER                                     7115 SNOW APPLE DR                                                                             CLARKSTON        MI    48346‐1646
LAURIE RJASKO                                     1187 N ALSTOTT DR                                                                              HOWELL           MI    48843‐8853
LAURIE ROBINSON                                   401 MONTE VISTA AVE #401                                                                       OAKLAND          CA    94611‐4509
LAURIE ROSE BOSIN                                 7830 BAY SHORE DR                                                                              INDIANAPOLIS     IN    46240‐2823
LAURIE RUKAT                                      57829 CIDER MILL DR                                                                            NEW HUDSON       MI    48165‐9482
LAURIE S MILLAR & TODD W MILLAR JT TEN            312 SHARON RD                                                                                  WEST LAFAYETTE   IN    47906‐1629
LAURIE S SCHULZ                                   1548 7 PINES RD                       APT A1                                                   SCHAUMBURG       IL    60193‐2161
LAURIE SCHMIDT & SCOTT SCHMIDT JT TEN             798 BRANDYWINE RD                                                                              DOWNINGTOWN      PA    19335‐3903
LAURIE STERBCOW & PAUL STERBCOW JT TEN            429 LOWERLINE STREET                                                                           NEW ORLEANS      LA    70118‐3709
LAURIE STEWART                                    58 GROVE HILL PARK                                                                             NEWTON           MA    02460‐2304
LAURIE STIRLING CUST JESSICA LAUREN STIRLING UGMA 108 CHANTICLEER                                                                                LANSING          MI    48917‐3005
MI
LAURIE STOLNACK                                   8515 S INTERSTATE 35                  APT 12141                                                AUSTIN           TX    78744‐6778
LAURIE SUE GORDON                                 ATTN LAURIE GORDON‐SHAW               2422 N JANSSEN AVE                                       CHICAGO          IL    60614‐2017
LAURIE ULRICH CUST IRA J ULRICH UTMA IL           610 ARMSTRONG CT                                                                               BUFFALO GROVE    IL    60089‐1823
LAURIE VAN AUKEN & MATTHEW VAN AUKEN JT TEN       13 GREENBRAE CT                                                                                EAST BRUNSWICK   NJ    08816‐4104

LAURIE W WINCKEL                                  2274 DOWNEY TERR                                                                               ELLISVILLE       MO    63011‐1996
LAURIE WALLACE CUST TIM WALLACE JR UTMA ID        3834 S GIDEON PL                                                                               MERIDIAN         ID    83642
LAURIE WHALEN                                     1433 BUTTERFIELD RD                                                                            SAN ANSELMO      CA    94960‐1008
LAURIE WINTER MILLACI                             17 FORESTDALE DR                                                                               WHITE HSE STA    NJ    08889‐3381
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 695 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

LAURIE WOOLVERTON                                2635 W ALBION AVE                                                                            CHICAGO         IL    60645‐5032
LAURIE ZIMMER                                    1016 VAIL CR                                                                                 SIOUX FALLS     SD    57103
LAURIESTA GORDON                                 18442 NADOL DR                                                                               SOUTHFIELD      MI    48075‐5881
LAURIN A WINTERLEE                               412 SHARON DR                                                                                FLUSHING        MI    48433‐1507
LAURINE F MARGRIF                                6038 CARPENTER RD                                                                            FLUSHING        MI    48433‐9020
LAURINE H CAMPER                                 2720 HAWSON DR                                                                               ST LOUIS        MO    63125‐4024
LAURNA M KAATZ                                   PO BOX 1348                                                                                  ENGLEWOOD       CO    80150‐1348
LAURO GUTIERREZ                                  11427 KIRK VALLEY                                                                            HOUSTON         TX    77089‐2229
LAURO V CHICO                                    1023 DUNCAN LN                                                                               PITTSBURGH      PA    15236‐1661
LAURO VAGNINI                                    8 RUTHELLEN RD                                                                               FRAMINGHAM      MA    01701‐3841
LAURY JANE WILSON                                1001 BRAIRWOOD DRIVE                                                                         LAKEWOOD        NY    14750‐9688
LAURY SENDEK                                     4921 N 17TH ST                                                                               ARLINGTON       VA    22207‐2083
LAURYN SALTZMAN                                  20542 WILLOUGHBY SQUARE                                                                      STERLING        VA    20165‐4749
LAVADA ACKER                                     208 TERRACE WAY                                                                              LAKELAND        FL    33813‐1070
LAVADA C GALYEAN                                 1640 STABLE CIRCLE                                                                           INDIANAPOLIS    IN    46239‐8841
LAVADA J WOOD & TINA M PARKER & SHEILA J WOOD JT 4104 WEST DR                                                                                 ST PETERS       MO    63376‐6637
TEN
LAVAN AIKMAN                                     300 FISHER AVE                                                                               WHITE PLAINS    NY    10606‐2711
LAVANIA P MILLIGAN                               7 PONDEROSA LN                                                                               RLLNG HLS EST   CA    90274‐1522
LAVAUGHN D CRUM TR REVOCABLE LIVING TRUST        4412 N MEMPHIS RD                                                                            CLAREMONT       IL    62421‐2419
07/25/90 U‐A LAVAUGHN D CRUM
LAVAUGHN MARQUARDT & EDWIN J MARQUARDT JT        8879 9TH AVE NE                                                                              BOTTINEAU       ND    58318‐7217
TEN
LAVEDA BAILEY & GLENN BAILEY JT TEN              25225 BULLFORK RD                                                                            OLDENBURG       IN    47036‐8701
LAVEDA CONE & NORMAN P CONE JR JT TEN            1180 FISH HATCHERY RD                                                                        GRANTS PASS     OR    97527‐9599
LAVEDA FOWLER                                    28 EUCLID AVE                                                                                WEBSTER GRVS    MO    63119
LAVELL RICH                                      27010 CARLYSLE                                                                               INKSTER         MI    48141‐2554
LAVELLE J NEVELS                                 5420A BECKLEY RD #148                                                                        BATTLE CREEK    MI    49015‐4123
LAVENA B HITT & DEBRA A HITT BAILIE JT TEN       ROUTE 3 BOX 10833                                                                            DONIPHAN        MO    63935‐9437
LAVENDA I COHAGEN                                862 CHERLYN CT                                                                               COLUMBUS        OH    43228‐3226
LAVERA B FLOYD                                   8560 CODY CT                                                                                 DAYTON          OH    45424‐1245
LAVERA MIRACLE                                   13831 COUNTY ROAD 173 N                                                                      KILGORE         TX    75662‐1245
LAVERA P JONES                                   5 BLOSSOMWOOD CT                                                                             FLORISSANT      MO    63033‐5202
LAVERGNE M KAMPHAUSEN TR UNDER TRUST             555 FOXWORTH BLVD UNIT 510                                                                   LOMBARD         IL    60148‐4876
AGREEMENT 02/17/89
LAVERN A BOYLAN                                  6900 WHITE RD                                                                                CONESUS         NY    14435‐9540
LAVERN A WARD                                    5117 RIVERVIEW DR                                                                            PAYNE           OH    45880‐9040
LAVERN B FRERICH & DENNIS M FRERICH JT TEN       9193 LIPPINCOTT                                                                              DAVISON         MI    48423‐8330
LAVERN C GUDITH                                  ROUTE NO 2                                                                                   HOPKINS         MI    49328‐9802
LAVERN D COBLE                                   3550 W PECK LAKE RD                                                                          SARANAC         MI    48881‐9762
LAVERN D FISHER                                  BOX 5                                                                                        WEST MINERAL    KS    66782‐0005
LAVERN D TAYLOR                                  5201 BIG BEND DRIVE                                                                          DAYTON          OH    45427‐2716
LAVERN E GIBBS                                   569 W DEXTER TRAIL                                                                           MASON           MI    48854‐9665
LAVERN ELLIS                                     331 MARLAY RD                                                                                DAYTON          OH    45405‐1856
LAVERN G KIEL                                    3723 PORTMAN LN SE                                                                           GRAND RAPIDS    MI    49508‐8748
LAVERN G TEEPLES & LOUISE V TEEPLES JT TEN       9264 W CARPENTER RD                                                                          FLUSHING        MI    48433‐1063
LAVERN G TEEPLES & LOUISE V TEEPLES JT TEN       9264 CARPENTER RD                                                                            FLUSHING        MI    48433‐1063
LAVERN H SPOLARICH                               13202 FRENDSCHO                                                                              CHESANING       MI    48616‐9440
LAVERN J BUTLER                                  PO BOX 374                                                                                   MAGEE           MS    39111‐0374
LAVERN L ANDERSON                                1365 S VAN DYKE                                                                              MARLETTE        MI    48453‐9709
LAVERN L CLEASBY                                 2909 SPAULDING AVE                                                                           JANESVILLE      WI    53546‐1180
LAVERN L GROSS                                   8554 VOLKMER RD                                                                              CHESANING       MI    48616‐9790
LAVERN L JOHNSON                                 1745 NELSON ROAD                                                                             MORRIS          IL    60450
LAVERN M BAUMGRAS                                PO BOX 99                                                                                    MORRICE         MI    48857‐0099
LAVERN M LAWRENCE                                808 SANDS RD                                                                                 ORTONVILLE      MI    48462‐8897
LAVERN MCDONALD                                  106 N LAIRD                                                                                  WHITE PIGEON    MI    49099
LAVERN MORRIS                                    277 RUSTIC RD                                                                                STOCKBRIDGE     GA    30281‐3957
LAVERN R DINGMAN                                 4320 MAYA LN                                                                                 SWARTZ CREEK    MI    48473‐1593
LAVERN R LOVE                                    526 W BERRY AVE                                                                              LANSING         MI    48910‐2911
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 696 of 855
Name                                             Address1                               Address2             Address3          Address4          City           State Zip

LAVERN TAYLOR                                    18 WALL                                                                                         PONTIAC        MI    48342‐3156
LAVERN V ALBERT                                  15921 BUECHE ROAD ROUTE NO 3                                                                    CHESANING      MI    48616‐9770
LAVERN WATSON                                    501 E GILLESPIE AV                                                                              FLINT          MI    48505‐3891
LAVERNA C GALLIHER                               8200 N BOUNDARY RD                                                                              BALTIMORE      MD    21222‐3412
LAVERNA NAPIER                                   5682 JACKSONBURG ROAD                                                                           TRENTON        OH    45067‐9669
LAVERNE A ALLENSWORTH                            1824 EUCLID DR                                                                                  ANDERSON       IN    46011‐3937
LAVERNE A ANDERSON TR UA 04/12/88                5013 SOMERBY DR                                                                                 HUNTSVILLE     AL    35802‐1266
LAVERNE A HART & JOAN L HART JT TEN              13321 ATWELL RD                                                                                 EMMETT         MI    48022‐4005
LAVERNE A HENSON                                 PO BOX 93                                                                                       SULLIVAN       OH    44880‐0093
LAVERNE A LANG                                   4603 W 87TH ST APT 2                                                                            HOMETOWN       IL    60456‐1016
LAVERNE BAILEY                                   1331 CANFIELD AVE                                                                               DAYTON         OH    45406‐4310
LAVERNE BENDERMAN TR BENDERMAN TRUST UA          7898 CALIFORNIA AVE 116                                                                         RIVERSIDE      CA    92504‐2543
07/06/90
LAVERNE BOWERS                                   14315 ARCHDALE ST                                                                               DETROIT        MI    48227‐1352
LAVERNE BULLOCK                                  546 HOWLAND                                                                                     PONTIAC        MI    48341‐2766
LAVERNE BURTON                                   4821 READING RD                        APT 32                                                   CINCINNATI     OH    45237‐6062
LAVERNE C JONES                                  1227 MAIN S W                                                                                   WARREN         OH    44483‐6513
LAVERNE COLLIER WELLS                            201 DEARING DR                                                                                  KNIGHTDALE     NC    27545‐9719
LAVERNE D FUCHS                                  1923 W AVALON RD                                                                                JANESVILLE     WI    53546‐8984
LAVERNE D KLAVER & VIVIAN A KLAVER JT TEN        1635 GRAYFRIARS                                                                                 HOLT           MI    48842‐2059
LAVERNE E DORSEY                                 437 LYNCH                                                                                       PONTIAC        MI    48342‐1954
LAVERNE E DUNN                                   298 GOLFWOOD DRIVE                                                                              W CARROLLTON   OH    45449‐1571
LAVERNE EASTERLING                               864 FRALEY DR                                                                                   MOREHEAD       KY    40351‐8886
LAVERNE EDWARD SMITH                             513 E ROLSTON RD                                                                                LINDEN         MI    48451‐9462
LAVERNE G CARTER                                 884 DOCK LATHEM TRL                                                                             BALL GROUND    GA    30107‐4852
LAVERNE GLUCK                                    254 ASHDALE PLACE                                                                               LOS ANGELES    CA    90049
LAVERNE H ARGERSINGER                            2260 E FRENCH ROAD                                                                              ST JOHNS       MI    48879‐9441
LAVERNE H LINDBERG                               39339 ARGONAUT WAY                                                                              FREMONT        CA    94538‐1307
LAVERNE HOWELL & RONALD L HOWELL JT TEN          9200 ESTRADA AVE                                                                                LAS VEGAS      NV    89129‐6159
LAVERNE J BREIDECKER & JANET B CLARK JT TEN      1726 EMERALD CREEK DR                                                                           FLORISSANT     MO    63031‐2047
LAVERNE J JACOBI                                 6315 WOODBINE ST                                                                                CASEVILLE      MI    48725‐9531
LAVERNE J LEFFEL                                 108 GOLDEN DR                                                                                   ANDERSON       IN    46012‐1428
LAVERNE J NEWMAN                                 212 GERONIMO RD                                                                                 KNOXVILLE      TN    37922‐4644
LAVERNE J PFOUTS                                 894 EVERETT HULL RD                                                                             CORTLAND       OH    44410‐9506
LAVERNE J SWEET                                  8 COVENTRY DR                                                                                   SPENCERPORT    NY    14559
LAVERNE JONES                                    19 GRASMERE AVE                                                                                 PONTIAC        MI    48341‐2819
LAVERNE JONES CUST DANIEL LOGAN UGMA MI          19 GRASMERE AVE                                                                                 PONTIAC        MI    48341‐2819
LAVERNE JONES CUST HANESHA MCCLELLAN UGMA MI     19 GRASMERE AVE                                                                                 PONTIAC        MI    48341‐2819

LAVERNE JONES CUST JOHN E MCCLELLAN UGMA MI      19 GRASMERE AVE                                                                                 PONTIAC        MI    48341‐2819

LAVERNE JONES CUST JOSH LOGAN UGMA MI             19 GRASMERE AVE                                                                                PONTIAC        MI    48341‐2819
LAVERNE JONES CUST NEFFERTITI D MCCLELLAN UGMA 19 GRASMERE AVE                                                                                   PONTIAC        MI    48341‐2819
MI
LAVERNE JONES CUST SONEA LOGAN UGMA MI            19 GRASMERE AVENUE                                                                             PONTIAC        MI    48341‐2819
LAVERNE JONES CUST TENISHA FOWLER UGMA MI         19 GRASMERE AVE                                                                                PONTIAC        MI    48341‐2819
LAVERNE JONES CUST WHITNEY LOGAN UGMA MI          19 GRASMERE AVE                                                                                PONTIAC        MI    48341‐2819
LAVERNE JOSEPH WALSER                             221 S MAIN ST                                                                                  CHESANING      MI    48616‐1534
LAVERNE K LEY                                     2314 LONGVIEW AV                                                                               DAYTON         OH    45431‐1916
LAVERNE K SUGGS                                   2400 SHILOH DRIVE                                                                              MARIETTA       GA    30064‐4256
LAVERNE K WHITEHEAD                               2033 HIDDEN VALLEY DRIVE                                                                       SANTA ROSA     CA    95404‐2526
LAVERNE K WHITEHEAD TR UA 03/15/89 LAVERNE K      2033 HIDDEN VALLEY DRIVE                                                                       SANTA ROSA     CA    95404‐2526
WHITEHEAD TRUST
LAVERNE KOMARA & STEVEN LEHO JT TEN               6845 S 224TH E AVE                                                                             BROKEN ARROW   OK    74014‐6606
LAVERNE L BRATT & ANNETTE L BRATT TR BRATT LIVING 131 INDIAN KNOLLS DR                                                                           OXFORD         MI    48371‐4745
TRUST UA 7/21/99
LAVERNE L SLADE TR JOHN SLADE & LAVERNE SLADE     1517 W LUDINGTON CIR                                                                           ROMEOVILLE     IL    60446
LIVING TRUST UA 10/10/00
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 697 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

LAVERNE LUTHER & MARGARET ANN LUTHER JT TEN      13954 N BUCKINGHAM DR                                                                         TUCSON          AZ    85737‐5851

LAVERNE M BRADLEY                                1911 EAST WATERBERRY DRIVE                                                                    HURON           OH    44839‐2298
LAVERNE M DOWNER                                 400 KOLBERY CT                                                                                VILLA PARK      IL    60181‐3499
LAVERNE M FENNELL                                PO BOX 395                                                                                    ROCK CREEK      OH    44084
LAVERNE M KARLING                                1854 NORTHGATE DR                    APT 110                                                  BELOIT          WI    53511‐2602
LAVERNE M POSPIECH                               29 VISTA DEL PONTO                                                                            SAN CLEMENTE    CA    92672‐3129
LAVERNE M PREIS                                  1121 W NOYES ST                                                                               ARLINGTON       IL    60005‐3539
                                                                                                                                               HEIGHTS
LAVERNE M SIGRIST                                8560 MYSTIC GREENS WAY B‐4                                                                    NAPLES          FL    34113‐0606
LAVERNE OWENS                                    139 FARRAH ST                                                                                 GARNER          NC    27529‐8673
LAVERNE PADGET                                   2634 MEADOWDALE ST                                                                            OTTUMWA         IA    52501‐1263
LAVERNE PUGNER                                   8 VERNON STREET                                                                               PARLIN          NJ    08859‐1136
LAVERNE R CLARK                                  1300 TYLER RD SE                                                                              KALKASKA        MI    49646
LAVERNE R HAGGADONE                              215 W ALHEIDEN ROAD                                                                           HARRISON        MI    48625‐8627
LAVERNE R HEWITT & LEOLA C HEWITT JT TEN         2855 WOODLAND RD                                                                              WOODLAND        MI    48897‐9749
LAVERNE R SKUTT                                  3 RABBIT TRL                                                                                  WILDWOOD        FL    34785‐9393
LAVERNE RECKARD                                  2332 CHILTING LANE                                                                            SYLVAN LAKE     MI    48320
LAVERNE STEVENS                                  28182 UNIVERSAL DRIVE                                                                         WARREN          MI    48092‐2432
LAVERNE STROTHEIDE TR LAVERNE STROTHEIDE TRUST   16 KAESER CT                                                                                  HIGHLAND        IL    62249‐2630
UA 06/05/95
LAVERNE VAN DYK TR LAVERNE VAN DYK TRUST UA      16225 COTTAGE GROVE                                                                           SOUTH HOLLAND   IL    60473‐2300
11/6/02
LAVERNE W CROSS & MRS VIOLET M CROSS JT TEN      C/O CAROLE C RICHARDS                3396 E WATER WELL                                        SALINA          KS    67401‐9039
LAVERNE W DYKSTRA & ESTHER A DYKSTRA JT TEN      4796 NORTH WINDSOR HILL DRIVE                                                                 HUDSONVILLE     MI    49426‐2902
LAVERNE W HOLDER                                 4545 BLACKSTONE DRIVE                                                                         INDIANAPOLIS    IN    46237‐2501
LAVERNE WAGNER                                   60 RIVER ST LOT 9                                                                             STAMFORD        NY    12167‐1047
LAVERNE WELCH                                    5535 SIR CHURCHILL DR                                                                         LEESBURG        FL    34748‐2313
LAVERTIA E GAETZ                                 509 SHORELAND DR                                                                              RACINE          WI    53402‐3864
LAVESTA EVELYN PELTON                            5980 WILLIAMSTON ROAD                                                                         WILLIAMSTON     MI    48895‐9497
LAVETTA ADKISON                                  5109 DAZZLE DRIVE                                                                             DALLAS          TX    75232‐1913
LAVINA B SULESKI                                 637 OSWEGATCHIE TRAIL RD                                                                      OSWEGATCHIE     NY    13670‐3100
LAVINA G WENZEL                                  470 S GLEANER RD                                                                              SAGINAW         MI    48609‐9603
LAVINA M CHRISTIANSON                            C/O LAVINA M BATES                   11548 S GATE ROAD                                        ROSCOE          IL    61073‐7511
LAVINIA M RAMEY                                  1763 RANSBURG AVE                                                                             COLUMBUS        OH    43223‐2519
LAVINIA T TRIMMER                                PO BOX 175                                                                                    CALIFON         NJ    07830‐0175
LAVINNIA S REILLY                                315 WINNIPEG PLACE UNIT D                                                                     LONG BEACH      CA    90814‐0548
LAVOISIER WASHINGTON                             11 VICTORY DR                                                                                 PONTIAC         MI    48342‐2562
LAVON B STONER                                   1108 BROOKSIDE DR                                                                             LANSING         MI    48917‐9214
LAVON E STAAB & EDWARD M STAAB JT TEN            1660 DARRAH AVE                                                                               SIMI VALLEY     CA    93063‐3312
LAVON E STAAB & LEISA ANN STEELE JT TEN          1660 DARRAH AVE                                                                               SIMI VALLEY     CA    93063‐3312
LAVON E STAAB & MICHAEL E STAAB JT TEN           1660 DARRAH AVE                                                                               SIMI VALLEY     CA    93063‐3312
LAVON K WATSON                                   2773 CHICAGO BLVD                                                                             FLINT           MI    48503‐3458
LAVON LEWELLEN & WANDA L LEWELLEN JT TEN         BOX 123                              514 E SOUTH ST                                           EATON           IN    47338‐0123
LAVON M HAMILTON                                 3420 W 193 STREET                                                                             STILWELL        KS    66085‐1108
LAVON MOORE                                      3899 WEST 21ST                                                                                CLEVELAND       OH    44109‐2939
LAVON R PUROLL                                   1627 FONTAINE                                                                                 MADISON HTS     MI    48071‐4823
LAVON R ROSS                                     354 ROGERS RD                                                                                 ADRIAN          MI    49221‐1660
LAVON V KALIL                                    870 MOUNTAINSIDE DR                                                                           LAKE ORION      MI    48362‐3470
LAVONA J COLE                                    9496 FENNER RD                                                                                LAINGSBURG      MI    48848
LAVONA ROBBINS GRAY                              2615 PEARL ST                                                                                 ANDERSON        IN    46016‐5357
LAVONA WELLNITZ                                  19 E LOS ARBOLES CIR                                                                          TEMPE           AZ    85284‐2371
LAVONE I KNUTZEN                                 867 SEABRIGHT LANE                                                                            SOLANA BEACH    CA    92075‐1272
LAVONE W WICHMAN                                 7220 DUNHILL TERRACE N E                                                                      ATLANTA         GA    30328‐1259
LAVONNA J BROTHERS                               1032 WOLLENKCUPT DR                                                                           VANDALIA        OH    45377
LAVONNE BARGER                                   1442 SOUTHFIELD FWY                                                                           DEARBORN        MI    48124‐5015
LAVONNE COOK BROKENSHIRE                         2231 COLERIDGE                                                                                HOLT            MI    48842‐1207
LAVONNE DILLON                                   1400 N WOODLAWN 7D                                                                            WICHITA         KS    67208‐2457
LAVONNE HAMPTON                                  9616 S KARLOV AVE 302                                                                         OAK LAWN        IL    60453
                                                  09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 698 of 855
Name                                                Address1                               Address2                 Address3      Address4          City               State Zip

LAVONNE HAZELRIGG                                   1198 LINCOLN RD                                                                                 ALLEGAN            MI    49010‐9077
LAVONNE KOLDERMAN & JOSEPH KOLDERMAN JT TEN         4482 ORKNEY                                                                                     FLINT              MI    48507‐3446

LAVONNE N HOLLAND                                   6412 DREAM LANE                                                                                 FORT WORTH         TX    76148‐3309
LAVONNE ODEN                                        8205 SHORE LN                                                                                   FLINT              MI    48504‐1792
LAVONNE P LOUGH                                     132 ARCHWOOD CIR                                                                                BROOKLYN           MI    49230‐9722
LAVONNE S ETSLER                                    2419 1/2 CRYSTAL ST                                                                             ANDERSON           IN    46012‐1752
LAVONNE T PRIMBSCH                                  683 MIDDLE RINCON RD                                                                            SANTA ROSA         CA    95409‐3141
LAVONZELLA WILLIAMS & EDWARD EARL LEWIS JT TEN      824 N M L KING BLVD                                                                             LANSING            MI    48915

LAWAN M PLEIMAN                                     275 N GARLAND AVE                                                                               DAYTON             OH    45403‐1640
LAWANA L STEPHENS                                   199 FOOTE LANE RD                                                                               ELDON              MO    65026‐4663
LAWANA ROSE BALLENGER                               4567 NR 150 W                                                                                   KOKOMO             IN    46901
LAWANDA C ASA                                       117 WEST LAKEVIEW                                                                               FLINT              MI    48503‐4123
LAWANDA H FREY                                      C/O ROBINSON                           PO BOX 10087                                             SAINT PETERSBURG   FL    33733‐0087

LAWANDA J WAGMAN TR LAWANDA J WAGMAN TRUST 3 NORTH TEALBROOK DR                                                                                     ST LOUIS           MO    63141‐7920
UA 10/2/98
LAWANDA L BIVENS                           128 MUIR RD                                     # 1A                                                     GROSSE POINTE      MI    48236‐3617
LAWERANCE T CARLSON                        4616 EMONTE CRISTO                                                                                       PHOENIX            AZ    85032
LAWRA BECK                                 502 TANAGER RD                                                                                           NORTH AUGUSTA      SC    29841‐3127
LAWRANCE JOSEPH KNOPF                      2 WINSLOW RD                                                                                             NEEDHAM            MA    02192‐1140
                                                                                                                                                    JUNCTION
LAWRANCE LEBLANC CUST TIANA R LEBLANC UTMA LA       6860 SAINT FRANCIS AV                                                                           BATON ROUGE        LA    70811‐1417
UNIF TRAN MIN ACT
LAWRENCE A BERBY                                    2550 S ELLSWORTH RD                    UNIT 3                                                   MESA               AZ    85209‐1198
LAWRENCE A BREAUX                                   6901 E LAKE MEAD BLVD                  APT 1165                                                 LAS VEGAS          NV    89156‐1155
LAWRENCE A BROWN                                    12283 SNOWVIEW                                                                                  FREELAND           MI    48623‐9218
LAWRENCE A BUDDE TR UA 01/07/97                     1884 MONTE CARLO WAY                                                                            CORAL SPRNGS       FL    33071‐7829
LAWRENCE A CAMMAN                                   90 WEST AVE                                                                                     BROCKPORT          NY    14420‐1306
LAWRENCE A CAROL                                    5436 WATER'S EDGE                                                                               GRAND BLANC        MI    48439‐9710
LAWRENCE A CAROL & VERONICA L CAROL JT TEN          5436 WATER'S EDGE                                                                               GRAND BLANC        MI    48439‐9710
LAWRENCE A CHADWICK                                 BOX 257                                                                                         REMSENBURG         NY    11960‐0257
LAWRENCE A CHAMBERS & JEFFERY W CHAMBERS JT         1785 S NORWOOD                                                                                  INDEPENDENCE       MO    64052‐3941
TEN
LAWRENCE A CHIULLI SR                               1097 RUISDAEL CIR                                                                               NOKOMIS            FL    34275‐4555
LAWRENCE A CIAMPI & PAULA CIAMPI JT TEN             27 CANDLEBERRY LN                                                                               HARVARD            MA    01451‐1641
LAWRENCE A DARBY JR & ANGELA E DARBY TEN ENT        PO BOX 192                                                                                      TUXEDO PARK        NY    10987‐0192

LAWRENCE A DOYLE                                    5003 ROCKDALE COURT                                                                             STERLING HEIGHTS   MI    48310‐6601

LAWRENCE A DURFEE                                   41‐5 ANGLESIDE RD                                                                               WALTHAM            MA    02453‐2616
LAWRENCE A ELEUTERI SR                              2334 RIVERTON ROAD                                                                              CINNAMINSON        NJ    08077‐3719
LAWRENCE A FALINSKI & BEVERLY J FALINSKI JT TEN     4150 S ATLANTIC AVE                    APT 112D                                                 NEW SMYRNA         FL    32169‐3761

LAWRENCE A FISHER                                   5861 KING RD                                                                                    BRIDGEPORT         MI    48722‐9610
LAWRENCE A FORTIER                                  C/O DIANE M AHLQUIST                   45070 TURTLEHEAD DRIVE                                   PLYMOUTH           MI    48170‐3864
LAWRENCE A FOUTCH                                   2906 WISNER                                                                                     FLINT              MI    48504‐2581
LAWRENCE A GINGAS                                   50500 JEFFERSON                                                                                 NEW BALTIMORE      MI    48047‐2339
LAWRENCE A GRABOWSKI                                3000 CRISPELL RD                                                                                HORTON             MI    49246
LAWRENCE A GREGORY                                  9596 N PRAIRIE RD                                                                               SPRINGPORT         IN    47386‐9705
LAWRENCE A GRIFFO CUST CASSIE GRIFFO UGMA NY        141 MAPLE RIDGE ROAD                                                                            MILFORD            PA    18337‐7742

LAWRENCE A GUTSCH                                   730 SERENITY WAY                                                                                GREENWOOD          IN    46142‐8443
LAWRENCE A HAM                                      4387 DILLON RD                                                                                  FLUSHING           MI    48433‐9771
LAWRENCE A HARTEL & ROSEMARY HARTEL JT TEN          17811 COTTONWOOD DRIVE                                                                          MACOMB             MI    48042‐3523

LAWRENCE A HAUCK CUST RYAN MATHEW HAUCK             312 WIANNO LANE                                                                                 SCHAUMBURG         IL    60194‐4154
UTMA IL
                                          09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 699 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

LAWRENCE A HETHERINGTON & JANET L               1746 N HURON RD                                                                                 PINCONNING      MI    48650‐7911
HETHERINGTON JT TEN
LAWRENCE A HODAN TOD 10/21/08                   BOX 702                                                                                         FRIENDSHIP      WI    53934‐0702
LAWRENCE A HORNSBY                              1254 WHITTIER                                                                                   WATERFORD       MI    48327‐1638
LAWRENCE A HUDSON                               726 WOOD DUCK CT                                                                                MIDDLETOWN      DE    19709‐6112
LAWRENCE A JOHNSON                              W151N8476 THOMAS DR                                                                             MENOMONEE FAL   WI    53051‐3153
LAWRENCE A KIDD                                 9397 LAKE RD                                                                                    OTISVILLE       MI    48463‐9713
LAWRENCE A KIEFER JR                            1606 PENN AVE                                                                                   READING         PA    19610‐2347
LAWRENCE A KISTLER                              3335 S PLACITA DE LA FABULA                                                                     GREEN VALLEY    AZ    85614‐4680
LAWRENCE A KOLITO                               PO BOX 1185                                                                                     CARMELIAN BAY   CA    96140‐1185
LAWRENCE A LANTZ                                1163 BELMAR DRIVE                                                                               MANSFIELD       OH    44907‐3010
LAWRENCE A LEMBERGER                            957 FEISE                                                                                       O'FALLON        MO    63366‐6927
LAWRENCE A LENZ                                 6 SPRING VIEW CT                                                                                MECHANICSBURG   PA    17050‐7811
LAWRENCE A LENZ & BEVERLY J LENZ JT TEN         6 SPRING VIEW CT                                                                                MECHANICSBURG   PA    17050‐7811
LAWRENCE A LENZ CUST JONATHAN W LENZ UGMA NY    6 SPRING VIEW CT                                                                                MECHANICSBURG   PA    17050‐7811

LAWRENCE A LIRA                                 PO BOX 624                                                                                      GRATON          CA    95444‐0624
LAWRENCE A MAGID                                28126 FONTANA                                                                                   SOUTHFIELD      MI    48076‐2475
LAWRENCE A MASSEY                               5775 LOTZ ROAD                                                                                  CANTON TWP      MI    48187‐4332
LAWRENCE A MASSEY & L JOAN MASSEY JT TEN        5775 LOTZ ROAD                                                                                  CANTON TWP      MI    48187‐4332
LAWRENCE A MCDERMOTT                            425 HILLCREST DR                                                                                FONTANA         WI    53125‐1459
LAWRENCE A MCFARLAND                            224 N CARPENTER RD                                                                              BRUNSWICK       OH    44212‐1320
LAWRENCE A NATTRASS                             4021 FINDLAK WAY                                                                                LIVERMORE       CA    94550‐5003
LAWRENCE A PARKS                                6487 THORNEYCROFT DRIVE                                                                         UTICA           MI    48316‐3348
LAWRENCE A PENNINGTON                           4221 WAYNE MADISON RD                                                                           TRENTON         OH    45067‐9525
LAWRENCE A PETERSON                             22936 SPRING HAVEN DR                                                                           CENTREVILLE     MI    49032‐9754
LAWRENCE A POLLACK CUST KEVIN M POLLACK UTMA    13934 HARTSOOK ST                                                                               SHERMAN OAKS    CA    91423‐1210
CA
LAWRENCE A POSTON                               216 BLUE RIDGE ROAD                                                                             INDIANAPOLIS    IN    46208‐3622
LAWRENCE A PUGSLEY                              4130 FERNWAY DR                                                                                 ANDERSON        IN    46013‐4350
LAWRENCE A RADCLIFFE                            955 LENEVE PLACE                                                                                EL CERRITO      CA    94530‐2749
LAWRENCE A RADCLIFFE & MICHELE R MOTCHKAVITZ    955 LANEVE PL                                                                                   EL CERRITO      CA    94530‐2749
RADCLIFFE JT TEN
LAWRENCE A REISNER                              25638 PORTICO LANE                                                                              NOVI            MI    48375‐1861
LAWRENCE A SABO                                 64 LIBERTY WAY                                                                                  PALM HARBOR     FL    34684‐1443
LAWRENCE A SABOURIN                             31720 AVONDALE                                                                                  WESTLAND        MI    48186‐4993
LAWRENCE A SAPP                                 695 N MORRISON RD                                                                               W BRANCH        MI    48661‐9517
LAWRENCE A SKUPNY                               20290 ONEDIA                                                                                    MOUNT CLEMENS   MI    48038‐4458
LAWRENCE A SLEZAK                               905 VAN BUREN NW                                                                                GRAND RAPIDS    MI    49504‐4028
LAWRENCE A SMITH                                11403 S MAY                                                                                     CHICAGO         IL    60643‐4531
LAWRENCE A STROMBERG                            711 PARK AVE                                                                                    FALLS CHURCH    VA    22046‐3212
LAWRENCE A THRALL                               6285 E SANILAC                                                                                  KINGSTON        MI    48741‐9743
LAWRENCE A TIGUE SR                             BOX 3583                                                                                        KINGMAN         AZ    86402
LAWRENCE A TYO                                  24 STANTON RD                                                                                   MASSENA         NY    13662‐3235
LAWRENCE A VELLA & MARGARET M VELLA JT TEN      9120 LATHERS                                                                                    LIVONIA         MI    48150‐4132
LAWRENCE A WEIDNER                              310 CREIGHTON LN                                                                                ROCHESTER       NY    14612‐2227
LAWRENCE A WILSON                               4717 WINTERGREEN LN NW                                                                          ROCHESTER       MN    55901‐3793
LAWRENCE A WINKENHOWER                          500 MUSKINGUM PL                                                                                PACIFIC PLSDS   CA    90272‐4256
LAWRENCE A WISNIEWSKI                           2006 HARTWELL LN                                                                                FORT MILL       SC    29707‐5951
LAWRENCE A WITTCOP                              8403 CHESTNUT RIDGE ROAD                                                                        GASPORT         NY    14067‐9347
LAWRENCE A WOOD                                 12 W HEATH ROAD                                                                                 ROSE CITY       MI    48654‐9557
LAWRENCE A ZINDER                               3200 N LAKE SHORE DR                                                                            CHICAGO         IL    60657‐3952
LAWRENCE A ZYCHOWSKI & MRS TERESA L ZYCHOWSKI   3427 AMESBURY LN                                                                                BRUNSWICK       OH    44212‐2295
JT TEN
LAWRENCE AARON VAN KUREN JR                     826 N 625 E                                                                                     WESTVILLE       IN    46391‐9403
LAWRENCE ALAN HOUGH                             11105 STUART MILL CT                                                                            OAKTON          VA    22124‐1039
LAWRENCE ALEX HAUCK CUST RYAN MATTHEW HAUCK     312 WIANNO LN                                                                                   SCHAUMBURG      IL    60194‐4154
UTMA IL
LAWRENCE ALFRED FREESE JR                       18134 RIVERSIDE DRIVE                                                                           BEVERLY HILLS   MI    48025‐3116
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 700 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

LAWRENCE ALLEN JONES                             1777 SKYLINE DRIVE                                                                              GREENWOOD       IN    46142
LAWRENCE ALLEN PECK                              2678 BYRON PL                                                                                   LOS ANGELES     CA    90046‐1021
LAWRENCE ANDREW ROSEBROCK                        9568 W 75TH PLACE                                                                               ARVADA          CO    80005‐4145
LAWRENCE B BARNES JR                             24 NETTLECREEK ROAD                                                                             FAIRPORT        NY    14450‐3046
LAWRENCE B BARNES JR & BEVERLY D BARNES JT TEN   24 NETTLECREEK ROAD                                                                             FAIRPORT        NY    14450‐3046

LAWRENCE B CHRISTIANSEN                          2441 HARN BLVD                                                                                  CLEARWATER      FL    33764‐2908
LAWRENCE B CREAMER                               175 MANNINGTON YORKETOWN RD                                                                     WOODSTOWN       NJ    08098
LAWRENCE B LANGE & RUTH A LANGE JT TEN           106 OGG ROAD                                                                                    SOMERDALE       NJ    08083‐2824
LAWRENCE B LYNCH                                 1704 CHAPEL GROVE RD                                                                            EVINGTON        VA    24550‐2088
LAWRENCE B MATTHEWS                              11292 WINDHURST DR                                                                              WHITE LAKE      MI    48386‐3682
LAWRENCE B OPPENHEIMER CUST MADELINE             55 FAIRLAWN DR                                                                                  BUFFALO         NY    14226‐3421
OPPENHEIMER UGMA NY
LAWRENCE B RICE & DOROTHY M RICE JT TEN          170 MANESS RD                                                                                   VENICE          FL    34293‐5745
LAWRENCE B SNYDER                                27 MALBY AVE                                                                                    MASSENA         NY    13662‐2318
LAWRENCE B STEWART                               80 GRANGE HALL RD                                                                               ORTONVILLE      MI    48462‐8836
LAWRENCE B VANDER MOERE                          1891 ENGLEWOOD RD                      LOT 153                                                  ENGLEWOOD       FL    34223‐1843
LAWRENCE B WALKER                                3090 AUSTIN BEARD RD                                                                            BUFORD          GA    30518‐1402
LAWRENCE B WOODHOUSE SR                          4 LELAND RD                                                                                     ROCHESTER       NY    14617‐3406
LAWRENCE BAKER                                   2691 WILLOWICK WAY                                                                              ANDERSON        IN    46012‐9552
LAWRENCE BEARD                                   PO BOX 321                                                                                      NOTTINGHAM      PA    19362‐0321
LAWRENCE BILSKI                                  915 NORTHLAWN N E                                                                               GRAND RAPIDS    MI    49505‐3719
LAWRENCE BOYD                                    28 W241 FLANDERS LN                                                                             WINFIELD        IL    60190‐1748
LAWRENCE BRADLEY                                 293 DELLWOOD                                                                                    PONTIAC         MI    48341‐2738
LAWRENCE BRENTLINGER                             947 TURNER LN                                                                                   CHESTER         SC    29706‐8550
LAWRENCE BREWER                                  2797 OLD YELLOW SPRINGS ROAD                                                                    FAIRBORN        OH    45324‐2145
LAWRENCE BRODY CUST DAVID BRODY UGMA CT          630 HAMMOND STREET                     APT 302                                                  CHESTNUT HILL   MA    02467‐2348
LAWRENCE BROWN J                                 6306 E 110TH TER                                                                                KANSAS CITY     MO    64134‐2615
LAWRENCE BRUCE ABRAMSON                          1122 CLIFTON AVE                                                                                CLIFTON         NJ    07013‐3622
LAWRENCE BUHAGIAR                                9316 DIXIE HIGHWAY                     IRA TOWNSHIP                                             FAIR HAVEN      MI    48023
LAWRENCE C BRAUNGARD TOD EILEEN A BRAUNGARD      PO BOX 6                               219 CHURCH STREET                                        GREAT BEND      PA    18821
SUBJECT TO STA TOD RULES
LAWRENCE C BROWNFIELD                            3619 GREYSTONE AVE                                                                              NAPERVILLE      IL    60564‐4648
LAWRENCE C CLAPP                                 5125 CR 177                                                                                     CLYDE           OH    43410‐9780
LAWRENCE C CRISPIN                               1090 VALLEJO RD                                                                                 HELENA          MT    59602‐6552
LAWRENCE C DE BELLIS                             W5520 EMERSON RD                                                                                MAUSTON         WI    53948‐9275
LAWRENCE C FARRELL                               6637 ROUNDTREE CT                                                                               INDIANAPOLIS    IN    46214‐1929
LAWRENCE C FLINT                                 2810 CUSTER‐ORANGEVILLE RD                                                                      BURGHILL        OH    44404‐9708
LAWRENCE C FLYNN                                 5183 MATTAWA                                                                                    CLARKSTON       MI    48348‐3123
LAWRENCE C GEIS                                  1116 STATE ROAD 1                                                                               WEST HARRISON   IN    47060‐9402
LAWRENCE C GEIS & NORMA J GEIS JT TEN            1116 STATE ROAD 1                                                                               WEST HARRISON   IN    47060‐9402
LAWRENCE C GREENFIELD & JOSEPHINE A GREENFIELD   7814 HUNTINGTON CIRCLE                                                                          YOUNGSTOWN      OH    44512‐8121
JT TEN
LAWRENCE C GUTMAN                                204 SEAVIEW AVE                                                                                 ISLAND PARK     NY    11558‐2208
LAWRENCE C HAMMER JR                             PO BOX 244                                                                                      SELMA           IN    47383‐0244
LAWRENCE C HAMMOND & TSUI‐CHING HAMMOND JT       3365 SLEEPY HOLLOW LN                                                                           BROOKFIELD      WI    53005‐2837
TEN
LAWRENCE C HAWORTH                               390 RIDGEWOOD RD                                                                                BASSETT          VA   24055‐5510
LAWRENCE C JACKSON                               3808 CHRISTIANA MDWS                                                                            BEAR             DE   19701‐2875
LAWRENCE C JENKINS & PATSY JENKINS JT TEN        3604 BOWMAN CIR NE                                                                              CLEVELAND        TN   37312‐5015
LAWRENCE C KLIMCHALK                             4488 MERRICK                                                                                    DEARBORN HTS     MI   48125‐2856
LAWRENCE C KLIMCHALK & JOAN M KLIMCHALK JT TEN   4488 MERRICK                                                                                    DEARBORN HEIGHTS MI   48125‐2856

LAWRENCE C LANDER III CUST LAWRENCE P LANDER     2517 GOLDSMITH                                                                                  HOUSTON         TX    77030‐1815
UTMA TX
LAWRENCE C LEVEL                                 426 PARKLAND CT                                                                                 ROCHESTER HLS   MI    48307‐3441
LAWRENCE C LOJE                                  3157 PINEHILL PL                                                                                FLUSHING        MI    48433‐2451
LAWRENCE C LOUZON                                54459 COMET CT                                                                                  SHELBY TWP      MI    48316‐1608
LAWRENCE C LOVEJOY                               876 ELY ST                                                                                      ALLEGAN         MI    49010
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 701 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

LAWRENCE C MAES & GWEN C MAES JT TEN              5168 PLEASANT HILL DR                                                                            FENTON             MI    48430‐9336
LAWRENCE C MARSH                                  20360 PARKER ST                                                                                  LIVONIA            MI    48152‐4228
LAWRENCE C MC WHORTER & LORRAINE J MC             1011 GRANDVIEW ROAD                                                                              GLENDALE           WV    26038‐1011
WHORTER JT TEN
LAWRENCE C MURPHY                                 26064 KINGS RD                                                                                   BONITA SPGS        FL    34135‐6558
LAWRENCE C PIEJAK                                 5628 PATTERSON DR                                                                                TROY               MI    48098‐3924
LAWRENCE C PRAZAK                                 495 LONGCOMMON RD                                                                                RIVERSIDE          IL    60546‐1767
LAWRENCE C RAYGO                                  1425 LINCOLN AVE                                                                                 OMRO               WI    54963‐1545
LAWRENCE C ROSE                                   13953 TWIN LAKES CIR W                                                                           WESTFIELD          IN    46074‐7737
LAWRENCE C SCOTT                                  PO BOX 220                                                                                       COMSTOCK           MI    49041‐0220
LAWRENCE C SMITH                                  115 QUEENANN CT                                                                                  FT PIERCE          FL    33450
LAWRENCE C SPANN                                  7212 CREEKSIDE LANE                                                                              INDIANAPOLIS       IN    46250‐2826
LAWRENCE C STEVENS CUST RYAN STEVENS UTMA CA      370 VIA COLINAS                                                                                  WESTLAKE VILLAGE   CA    91362‐5023

LAWRENCE C WALLACE                                5384 E 134TH ST                                                                                  CLEVELAND          OH    44125‐3210
LAWRENCE C WEHNER                                 3015 VOORHEIS LAKE CT                                                                            ORION              MI    48360‐1868
LAWRENCE C YOUNG                                  13300 EAST 53RD TERRACE                                                                          KANSAS CITY        MO    64133‐2695
LAWRENCE CAMILLERI                                2060 MICHAEL                                                                                     STERLING HEIGHTS   MI    48310‐3571

LAWRENCE CAMPBELL JR                              404 E MCCRIEGHT AVE                     ROOM 310             SPRINGFEILD                         SPRINGFIELD        OH    45503
LAWRENCE CARTER JR                                2838 W HURON                                                                                     WATERFORD          MI    48328‐3630
LAWRENCE CERVANTES                                1032 SCHADECK ST                                                                                 MANTECA            CA    95336‐5956
LAWRENCE COLEMAN                                  42315 H H RD                                                                                     WOODSFIELD         OH    43793
LAWRENCE COOPER & JUDITH COOPER JT TEN            40 MORROW AV                                                                                     SCARSDALE          NY    10583‐4652
LAWRENCE CROWDER                                  7185 S GALE ROAD                                                                                 GRAND BLANC        MI    48439
LAWRENCE CROWLEY & NANCY CROWLEY JT TEN           34 SHERWOOD AVE                                                                                  DANVERS            MA    01923‐2323
LAWRENCE CUPOLI CUST NICHOLAS CUPOLI UGMA VT      57 PIEDMONT POND RD                                                                              RUTLAND            VT    05701

LAWRENCE CURTIS                                   534 NORTH GREECE RD                                                                              HILTON             NY    14468‐8975
LAWRENCE D BILL                                   1016 AMHERST ST                         APT C8                                                   BUFFALO            NY    14216‐3634
LAWRENCE D BOWER                                  2708 EL OESTE DR                                                                                 HERMOSA BEACH      CA    90254‐2231
LAWRENCE D BROWN                                  PO BOX 486                                                                                       CENTER HILL        FL    33514‐0486
LAWRENCE D BULMER                                 7177 CHESTNUT RIDGE ROAD                                                                         LOCKPORT           NY    14094‐3518
LAWRENCE D BUZZIE                                 4731 S M33                                                                                       ALGER              MI    48610‐9440
LAWRENCE D CALLAN                                 8205 LAUGHLIN DR                                                                                 NIAGARA FALLS      NY    14304‐2423
LAWRENCE D CRIPPS                                 4551 CURTIS                                                                                      HIGHLAND           MI    48357‐2408
LAWRENCE D DEBNAM                                 316 RUFF ROAD                                                                                    RAYVILLE           LA    71269‐6139
LAWRENCE D DELANY                                 1820 S 75TH ST                          APT 222                                                  MILWAUKEE          WI    53214‐5711
LAWRENCE D DRUMM                                  16118 S LOREL                                                                                    OAK FOREST         IL    60452‐3837
LAWRENCE D DUEWIGER                               16 RAVENWOOD DR                                                                                  LANCASTER          NY    14086‐1153
LAWRENCE D DUGGAN                                 8705 VALLEY VIEW DR SE                                                                           HUNTSVILLE         AL    35802‐3511
LAWRENCE D DYER                                   10790 68TH ST SE                                                                                 ALTO               MI    49302‐8972
LAWRENCE D EMPIE                                  8732 KROUSE RD                                                                                   OVID               MI    48866‐9428
LAWRENCE D ETCHER                                 1323 FORELAND                                                                                    OXFORD             MI    48371‐6009
LAWRENCE D FROST & DEE T FROST JT TEN             7295 E PONDEROSA CIR                                                                             PARKER             CO    80138‐8633
LAWRENCE D GAMMELL                                37 LINCOLN DRIVE                                                                                 RITTMAN            OH    44270‐1349
LAWRENCE D GILL                                   10139 SOUTH PIEDMONT COURT                                                                       HIGHLANDS RANCH    CO    80126‐5504

LAWRENCE D HEALEY                                 332 WEATHERFORD DR                                                                               KING               NC    27021‐9317
LAWRENCE D HEWITT JR                              883 GENERAL MOTORS ROAD                                                                          MILFORD            MI    48381‐2223
LAWRENCE D HORWITZ                                930 WOODLEA                                                                                      BIRMINGHAM         MI    48009‐2960
LAWRENCE D HUMES & NANCY D HUMES JT TEN           1640 LOVES POINT DR                                                                              LEESBURG           FL    34748‐6726
LAWRENCE D JAMES JR                               PO BOX 911                                                                                       PLACITAS           NM    87043‐0911
LAWRENCE D JAYROE                                 1883 JAYROE DR                                                                                   JACKSON            MS    39272‐9603
LAWRENCE D JENKINS & CHRISTINE JENKINS JT TEN     RR 2 BOX 24A                                                                                     TERRA ALTA         WV    26764‐9513

LAWRENCE D JOHNSON                                20 RUTGERS DRIVE                                                                                 DELRAN             NJ    08075‐1610
LAWRENCE D KESSLER & BARBARA KESSLER JT TEN       2812 WOODVIEW DR                                                                                 HATFIELD           PA    19440‐2036
                                              09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 702 of 855
Name                                                Address1                                Address2             Address3          Address4          City             State Zip

LAWRENCE D KIEFER                                   7932 ASH STREET                                                                                  BIRCH RUN        MI    48415‐9234
LAWRENCE D LYONS & MRS HELEN LYONS JT TEN           1471 CRESS CREEK COURT                                                                           NAPERVILLE       IL    60563‐1215
LAWRENCE D MERRITT                                  1709 CUNNINGHAM ROAD                                                                             SPEEDWAY         IN    46224‐5336
LAWRENCE D MICHELI JR                               500 N ST 401                                                                                     SACRAMENTO       CA    95814‐4331
LAWRENCE D MILLER                                   347 RIVER ISLE                                                                                   BRADENTON        FL    34208‐9048
LAWRENCE D MORGAN                                   2074 MORRISH ST                                                                                  BURTON           MI    48519‐1021
LAWRENCE D MORPHY                                   19014 KAILUA CIRCLE                                                                              FORT MILL        SC    29708‐8515
LAWRENCE D MYERS                                    629 TWP RD 150                                                                                   SULLIVAN         OH    44880‐9716
LAWRENCE D NELSON                                   208 NAPIER RD                                                                                    HOHENWALD        TN    38462‐5698
LAWRENCE D OESTERLE                                 2271 MUMFORD DR                                                                                  PINCKNEY         MI    48169‐9309
LAWRENCE D PAULSELL                                 37585 LAKEVILLE ST                                                                               HARRISON         MI    48045‐2880
                                                                                                                                                     TOWNSHIP
LAWRENCE D PERSICK & MRS MADELINE H PERSICK JT      1522 ULSTER WAY                                                                                  WEST CHESTER     PA    19380‐6839
TEN
LAWRENCE D PRICE                                    2941 WOODSIDE DR                                                                                 JOLIET           IL    60431‐8823
LAWRENCE D RESAR                                    4640 BOSTON                                                                                      STRONGSVILLE     OH    44149
LAWRENCE D RICHARDSON                               4015 FISHER HILLS DR                                                                             BRUCE TWP        MI    48065‐3635
LAWRENCE D RICHARDSON                               2354 FOUNTAIN CREST LN                  APT 22                                                   THOUSAND OAKS    CA    91362‐5771
LAWRENCE D SCOTT                                    5733 N SHERIDAN RD APT 15A                                                                       CHICAGO          IL    60660‐8727
LAWRENCE D SUTHERLAND                               10885 TRAPPER LANE                                                                               CANADIAN LAKES   MI    49346‐9797
LAWRENCE D SWANSON                                  11383 WILLOW AVE                                                                                 GRANT            MI    49327‐9770
LAWRENCE D SWEDBERG                                 5806 MASON DR                                                                                    SHAWNEE          OK    74804‐9363
LAWRENCE D TUSCANY & JANE A TUSCANY JT TEN          30727 BLUEHILL                                                                                   ROSEVILLE        MI    48066‐1464
LAWRENCE D VOTH                                     2918 PECK DR                                                                                     INDEPENDENCE     MO    64055‐2843
LAWRENCE D WETZEL                                   3159 SOUTH RD                                                                                    CINCINNATI       OH    45248
LAWRENCE D WITT                                     3229 N 84 PL                                                                                     KANSAS CITY      KS    66109
LAWRENCE D YOUNG                                    32192 MONTCLAIR ST                                                                               NEW HAVEN        MI    48048
LAWRENCE DALL SCHONHOFEN                            6210 SPRING PARK ROAD                                                                            CLEMMONS         NC    27012‐7414
LAWRENCE DAVID                                      5290 MOUNTAIN DR                                                                                 BRIGHTON         MI    48116‐9730
LAWRENCE DAVID GODWIN                               122 WELCOME WAY BLVD W                  APT 205A                                                 INDIANAPOLIS     IN    46214‐3060
LAWRENCE DAVID GORDON                               973 HILL HOLLOW CT                                                                               MILFORD          MI    48381‐4721
LAWRENCE DEVEREAUX LUCAS DELUCIA                    3256 E TERRA ALTA BLVD                                                                           TUCSON           AZ    85716‐4540
LAWRENCE DIMEGLIO                                   213 W JACOBS WAY                        PO BOX 697                                               CECILTON         MD    21913
LAWRENCE DOKA GAULTNEY & HEIDI STANLEY              123 BLACK OAK DR                                                                                 ELKTON           MD    21921‐2021
GAULTNEY JT TEN
LAWRENCE DUANE ALLEN                                BOX 491 S SYCAMORE                                                                               LYNCHBURG        OH    45142‐0491
LAWRENCE E ANDERSON                                 7140 JOHNSON RD                                                                                  POTTERVILLE      MI    48876‐9717
LAWRENCE E BARTOCCI                                 318 WINNIMAC AVE                                                                                 ENGLEWOOD        OH    45322‐1749
LAWRENCE E BARTON & LILLIAN BARTON TR BARTON        29557 FOUNTAINWOOD ST                                                                            AGOURA HILLS     CA    91301
LIVING TRUST UA 2/26/91
LAWRENCE E BEARES & MRS ELIZABETH M BEARES JT       8815 GERST AVE                                                                                   PERRY HALL       MD    21128‐9633
TEN
LAWRENCE E BEAVER                                   3380 S 950 WEST                                                                                  SOUTH WHITLEY    IN    46787‐9636
LAWRENCE E BECKER & MARILANE BECKER JT TEN          1215 MCDOWELL ROAD                                                                               EVANSVILLE       IN    47712‐9123
LAWRENCE E BIGNELL                                  50 BRANT COURT                          OSHAWA ON                              L1G 4M9 CANADA
LAWRENCE E BLUM TR UA 11/07/01 MARY C BLUM          2702 MAXWELL DRIVE                                                                               APOPKA           FL    32703
REVOCABLE TRUST
LAWRENCE E BOND                                     1071 HWY 370 N                                                                                   DUMAS            MS    38625‐9616
LAWRENCE E BOYD                                     528 SNOWGLEN DRIVE                                                                               ENGLEWOOD        OH    45322‐1615
LAWRENCE E BOYD                                     4204 DORNOCH DRIVE                                                                               LAKE WALES       FL    33859‐5728
LAWRENCE E BRAGG                                    6524 OLDE FERRY LANDING                                                                          HARRISON         TN    37341‐6915
LAWRENCE E BRAULT JR                                18746 CARSON DR                                                                                  HOMEWOOD         IL    60430‐4067
LAWRENCE E BROWN                                    211 PALM ST                                                                                      INGLIS           FL    34449‐9449
LAWRENCE E CASWELL                                  900 S WATER STREET                                                                               CHESTERFIELD     IN    46017‐1656
LAWRENCE E CAUTILLI & MRS IRENE V CAUTILLI JT TEN   9900 MANET RD                                                                                    BURKE            VA    22015‐3806

LAWRENCE E CHRIST & DOROTHY K CHRIST JT TEN         1000 GULF BLVD APT 511                                                                           INDIAN RK BCH    FL    33785‐2784
LAWRENCE E COLLINS                                  1128 SEMINOLE AVE                                                                                BALTO            MD    21229‐1527
LAWRENCE E CONNORS                                  17 MILLBROOK ROAD                                                                                NEWARK           DE    19713‐2552
                                              09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 703 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

LAWRENCE E CONWAY                                 906 FORWOOD CT                                                                                   BALTIMORE         MD    21222‐2864
LAWRENCE E CRABBE                                 6445 ALKIRE ROAD                                                                                 GALLOWAY          OH    43119‐9374
LAWRENCE E DAVIDOW                                1601 VETERANS HWY                       SUITE 330                                                ISLANDIA          NY    11749‐1543
LAWRENCE E DAVIS                                  2991 JUDITH DR                                                                                   BELLMORE          NY    11710‐5310
LAWRENCE E DEBNAR                                 2245 PINEY POINT DR                                                                              LANSING           MI    48917‐8640
LAWRENCE E DEWEY                                  5122 WYNSTONE WAY                                                                                CARMEL            IN    46033‐9544
LAWRENCE E DUNN                                   G 1075 HOLTSLANDER AVE                                                                           FLINT             MI    48505
LAWRENCE E EARLY                                  1804 N 5TH ST                                                                                    LANETT            AL    36863
LAWRENCE E ECK                                    1793 DOGTOWN ROAD                                                                                GENESEE           PA    16923‐8748
LAWRENCE E EVENSON                                12075 DOANE RD                                                                                   SOUTH LYON        MI    48178‐8801
LAWRENCE E FAULK                                  702 S FULLER DR                                                                                  INDIANAPOLIS      IN    46241‐2234
LAWRENCE E FINK                                   38816 RIDGE CT                                                                                   HAMILTON          VA    20158‐3119
LAWRENCE E FISHER CUST MATTHEW J FISHER UTMA IL   324 S EUCLID AVE                                                                                 OAK PARK          IL    60302‐3508

LAWRENCE E FOSTER                                 5204 KNOLLWOOD LANE                                                                              ANDERSON          IN    46011
LAWRENCE E FRAZIER                                BOX 28 CENTER ST                                                                                 NAUBINWAY         MI    49762‐0028
LAWRENCE E FRAZIER & JUDTH G FRAZIER JT TEN       BOX 28                                                                                           NAUBINWAY         MI    49762‐0028
LAWRENCE E FRISCH                                 2203 OLD PINE TRAIL                                                                              MIDLAND           MI    48642‐8840
LAWRENCE E FRONCEK                                15319 CHESTNUT OAK LANE                                                                          STRONGSVILLE      OH    44149‐8525
LAWRENCE E GOODWIN                                1040 PLAYER RD                                                                                   JACKSONVILLE      FL    32218
LAWRENCE E HARMON JR                              50 PINE HILL RD                                                                                  BURLINGTON        CT    06013‐2303
LAWRENCE E HARRIS                                 PO BOX 444                                                                                       HACKENSACK        NJ    07602‐0444
LAWRENCE E HARRIS                                 1349 NORTH LINDEN ROAD                                                                           FLINT             MI    48532‐2344
LAWRENCE E HAYDEN & THERESA R HAYDEN TR UA        214R HIGHLAND RD                                                                                 TIVERTON          RI    02878‐4412
05/07/87 THE HAYDEN TRUST
LAWRENCE E HOLISKY                                PO BOX 109                                                                                       GREENFORD         OH    44422‐0109
LAWRENCE E HOLLAND                                100 HARTSOUGH                                                                                    PLYMOUTH          MI    48170‐1915
LAWRENCE E JACKSON                                83 SHAYS ST                                                                                      AMHERST           MA    01002‐2937
LAWRENCE E JAFFE                                  10175 COLLINS AVE #902                                                                           MIAMI BEACH       FL    33154
LAWRENCE E JOHNSON                                5533 BLOOD RD                                                                                    METAMORA          MI    48455‐9338
LAWRENCE E JOSEFOWSKI                             757 BLACK DIAMOND RD                                                                             SMYRNA            DE    19977‐9665
LAWRENCE E KENDRICK                               3669 CECIL DR                                                                                    LEWISTON          MI    49756‐8743
LAWRENCE E KERR                                   RR 1 BOX 82                                                                                      OSWEGATCHIE       NY    13670‐9745
LAWRENCE E KOCH JR                                2416 HESS RD                                                                                     APPLETON          NY    14008‐9653
LAWRENCE E LACOMBE                                1220 STONEWAY LANE                                                                               WEST PALM BEACH   FL    33417‐5626

LAWRENCE E LANDRUM                              130 AZALEA DRIVE                                                                                   PEACHTREE CITY    GA    30269‐2003
LAWRENCE E LASSMAN & MRS DORIS J LASSMAN JT TEN 903 SIOUX CT                                                                                       VIENNA            VA    22180‐5973

LAWRENCE E LAURAY                                 PO BOX 22553                                                                                     INDIANAPOLIS      IN    46222‐0553
LAWRENCE E LAZAROWICZ                             5109 NASHVILLE HWY                                                                               CHAPEL HILL       TN    37034‐2071
LAWRENCE E LEE                                    60 RUMSON RD                                                                                     BUFFALO           NY    14228‐3046
LAWRENCE E LELONEK                                212 GARLAND AVE                                                                                  BUFFALO           NY    14206‐2661
LAWRENCE E LELONEK & ARLENE LELONEK JT TEN        212 GARLAND AVE                                                                                  BUFFALO           NY    14206‐2661
LAWRENCE E LEVINE                                 210 3RD AVE NORTH                                                                                NASHVILLE         TN    37201‐1604
LAWRENCE E LONG                                   14203 FAIRFIELD MEADOWS CT                                                                       LOUISVILLE        KY    40245‐7417
LAWRENCE E LOVE                                   3805 BROWN ST                                                                                    FLINT             MI    48532
LAWRENCE E MACK                                   4167 POINT COURT                                                                                 LEWISTON          MI    49756
LAWRENCE E MACK & CAROL A MACK JT TEN             4167 POINT COURT                                                                                 LEWISTON          MI    49756
LAWRENCE E MARSHALL                               5116 SHERRILL DRIVE                                                                              FORT WAYNE        IN    46806‐3544
LAWRENCE E MCCANN III                             611 OAK BROOK PLACE                                                                              COLUMBUS          OH    43228‐2233
LAWRENCE E MILLER                                 4455 E LAPORTE                                                                                   FREELAND          MI    48623‐9446
LAWRENCE E MILLER & JOAN S MILLER JT TEN          69 EDGEWOOD AVE                                                                                  WYCKOFF           NJ    07481‐3454
LAWRENCE E MILLER JR                              124 PHEASANT LN                                                                                  GRAND BLANC       MI    48439‐8188
LAWRENCE E MINTON                                 2072 AUBURN AVE                                                                                  DAYTON            OH    45406‐2909
LAWRENCE E MINTON                                 581 ARMAND DR                                                                                    TROY              OH    45373‐2788
LAWRENCE E MOSKAL                                 237 N RAY ST                                                                                     NEW CASTLE        PA    16101‐3418
LAWRENCE E MURRELL                                3253 W 85TH STREET                                                                               CHICAGO           IL    60652‐3726
LAWRENCE E MYERS                                  28203 HANOVER                                                                                    WESTLAND          MI    48186‐5109
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 704 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

LAWRENCE E NALEWAK                                9 N WHITE HERON DR                                                                              LA MARQUE         TX    77568‐6545
LAWRENCE E NELSON                                 55 PARROTT ST                                                                                   S PORTLAND        ME    04106
LAWRENCE E NELSON                                 209 GAPVIEW DR                                                                                  CHARLESTON        WV    25306‐6821
LAWRENCE E NOEL                                   100 N WEATHERLOW ST                                                                             SUSANVILLE        CA    96130‐3939
LAWRENCE E OMALLEY                                1026 AIRPORT RD NW                                                                              WARREN            OH    44481‐9318
LAWRENCE E PAWL                                   515 MICHIGAN NE                                                                                 GRAND RAPIDS      MI    49503‐5721
LAWRENCE E PERLIN                                 23142 GAINFORD ST                                                                               WOODLAND HILL     CA    91364‐2726
LAWRENCE E PETERS                                 5979 S STATE RD 67                                                                              ANDERSON          IN    46013‐9755
LAWRENCE E PETERS                                 4722 VIRGINIA ST                       APT 3C                                                   OMAHA             NE    68157‐3930
LAWRENCE E POINDEXTER                             4350 N AUDUBON ROAD                                                                             INDIANAPOLIS      IN    46226‐3321
LAWRENCE E PONTON & ELAINE S PONTON TR PONTON     PO BOX 146                                                                                      HOLTVILLE         CA    92250‐0146
FAMILY TRUST UA 06/17/03
LAWRENCE E POWERS                                 3502 S GRAND TRAVERSE                                                                           FLINT             MI    48507
LAWRENCE E QUICK                                  7901 LEE ROAD 390                                                                               OPELIKA           AL    36804‐5408
LAWRENCE E RAUSCH & JACQUELINE RAUSCH JT TEN      114 OXFORD AVE                                                                                  CLARENDON HILLS   IL    60514‐1152

LAWRENCE E REED                                   17363 STRASBURG                                                                                 DETROIT           MI    48205‐3147
LAWRENCE E REED                                   4554 COOPER RD                                                                                  CINCINNATI        OH    45242‐5617
LAWRENCE E RENNER                                 12351 W JACKSON ST                                                                              AVONDALE          AZ    85323
LAWRENCE E REPPUHN                                2277 PAULINE                                                                                    WATERFORD         MI    48329‐3759
LAWRENCE E RIDGEWAY                               2296 FLINT HILL DR                                                                              WENTZVILLE        MO    63385‐2210
LAWRENCE E ROBERTS                                PO BOX 92                                                                                       YAWKEY            WV    25573‐0092
LAWRENCE E SAMMONS                                317 NORTH BEDFORD ST                                                                            GEORGETOWN        DE    19947‐1103
LAWRENCE E SAWYER & SANDRA A SAWYER JT TEN        1328 WRENNWOOD DR                                                                               TROY              MI    48084‐2688

LAWRENCE E SCHUMAN                                9221 BALTIMORE PHILLIPSBURG RD                                                                  BROOKVILLE        OH    45309‐9680
LAWRENCE E SHEFFIELD                              6006 GOLDFINCH CIR                                                                              AUDUBON           PA    19403‐1847
LAWRENCE E SHEFFIELD & MRS ROBERTA J SHEFFIELD JT 6006 GOLDFINCH CIR                                                                              AUDUBON           PA    19403‐1847
TEN
LAWRENCE E SIMON                                  1592 COLUMBIA ROAD                                                                              WESTLAKE          OH    44145‐2403
LAWRENCE E SMOTHERS                               15249 DUFFIELD RD                                                                               BYRON             MI    48418‐9027
LAWRENCE E SOPER                                  38230 WILLOWMERE ST                                                                             HARRISON TWP      MI    48045‐5329
LAWRENCE E SPURLIN                                2374 TALUCAH RD                                                                                 VALHERMOSO        AL    35775‐7428
                                                                                                                                                  SPRINGS
LAWRENCE E STEWART                                509 N CHERRY ST                                                                                 MARTINSVILLE      IN    46151‐1011
LAWRENCE E SWAIN                                  1322 FLINTHILL RD                                                                               LANDENBURG        PA    19350‐1140
LAWRENCE E SWIFT                                  3515 BREEZY POINT DR                                                                            OKEMOS            MI    48864‐5967
LAWRENCE E TAVERNIER & KAREN A TAVERNIER JT TEN   125 VINEWOOD                                                                                    WYANDOTTE         MI    48192‐5108

LAWRENCE E THOMAS                                 6281 ROYALIST DR                                                                                HUNTINGTON        CA    92647‐3259
                                                                                                                                                  BEACH
LAWRENCE E TOFEL                                  7 DEVONSHIRE ROAD                                                                               LIVINGSTON        NJ    07039‐6203
LAWRENCE E TOLERSON                               1408 N STATE ST                                                                                 NEWPORT           AR    72112‐2532
LAWRENCE E VAN DERVOORT                           28 S CENTERVILLE RD                                                                             MIDDLETOWN        NY    10940
LAWRENCE E VAN TASSEL                             1202 RIDGEWOOD AVE #230                                                                         DAYTONA BEACH     FL    32117
LAWRENCE E WALTON & MARY K WALTON JT TEN          13411 PERTHSHIRE                                                                                HOUSTON           TX    77079‐6027
LAWRENCE E WARDLAW & EMMA J WARDLAW JT TEN        45723 CORTE RODRIGO                                                                             TEMECULA          CA    92592‐1230

LAWRENCE E WARREN                                 2002 TAMM LN                           TRLR 78                                                  HARLINGEN         TX    78552‐2044
LAWRENCE E WELCH                                  97 MISTY DR                                                                                     SOMERSET          KY    42503‐2452
LAWRENCE E WEST JR                                1214 BEECHWOOD DR                                                                               ANDERSON          IN    46012‐4518
LAWRENCE E WIGGINS                                308 N MADISON BOX 516                                                                           PERRY             MI    48872‐0516
LAWRENCE E WOLF & K JANE WOLF JT TEN              603 NE 4TH ST                                                                                   ALEDO             IL    61231‐1352
LAWRENCE E YUHAS                                  1661 ROCHESTER RD                                                                               LEONARD           MI    48367‐3540
LAWRENCE EARL                                     PO BOX 744                                                                                      HOWELL            NJ    07731‐0744
LAWRENCE EDINGER                                  6619 LEONE                                                                                      ST LOUIS          MO    63116‐2831
LAWRENCE EDWARD AUKER                             29497 BLOSSER RD                                                                                LOGAN             OH    43138‐9506
LAWRENCE EDWARD NICKERSON                         2425HAZE RD                                                                                     BEULAH            MI    49617‐9407
LAWRENCE EDWARD PRYOR                             1311 SOUTH ELM STREET                                                                           MUNCIE            IN    47302‐3341
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 705 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

LAWRENCE EDWARD WIERS & SHARON LYNN WIERS JT    25139 ARCANE CT                                                                                 SPRING          TX    77389‐2959
TEN
LAWRENCE ELKIN                                  55 MUSIKER AVE                                                                                  RANDOLPH        NJ    07869‐4602
LAWRENCE ERNEST RACE                            RD #1                                  PO BOX 175                                               NOXEN           PA    18636‐9766
LAWRENCE F BALICK & LAWRENCE R BALICK JT TEN    2101 CALUSA BLVD                                                                                NOKAMIS         FL    34275‐5348

LAWRENCE F BORGER                               PO BOX 1058                                                                                     BISBEE          AZ    85603‐2058
LAWRENCE F BRAMMER                              10155 GULLEY                                                                                    TAYLOR          MI    48180‐3230
LAWRENCE F CHESTER JR                           119 TALL TIMBER DRIVE                                                                           FRUITLAND       MD    21826‐1318
LAWRENCE F COMASCO                              1620 BROAD STET                                                                                 BLOOMFIELD      NJ    07003
LAWRENCE F CROISDALE                            PO BOX 202                                                                                      NEWFANE         NY    14108‐0202
LAWRENCE F DALY JR                              PO BOX 118                                                                                      LONDON          KY    40743‐0118
LAWRENCE F DEGENNARO                            29235 BEECHWOOD DR                                                                              WICKLIFFE       OH    44092‐2040
LAWRENCE F GERVAIS                              1908 ELMORE AVE                                                                                 DOWNERS GROVE   IL    60515
LAWRENCE F GOLDEN JR                            47211 WEAR ROAD                                                                                 BELLEVILLE      MI    48111‐8678
LAWRENCE F GOSSETT                              11433 LUCERNE                                                                                   REDFORD         MI    48239‐2281
LAWRENCE F HATTEN                               4612 COUNTY RD 456                                                                              MEREDIAN        MS    39301‐9023
LAWRENCE F HOFFMAN                              7085 RANDEE ST                                                                                  FLUSHING        MI    48433‐8817
LAWRENCE F KITCHEN                              6210 LINCOLN ST                                                                                 MAYVILLE        MI    48744‐9122
LAWRENCE F KITCHEN & GERALDINE KITCHEN JT TEN   6210 LINCOLN ST                                                                                 MAYVILLE        MI    48744‐9122

LAWRENCE F KOLIS & NANCY J KOLIS JT TEN         1331 NIGHTINGALE                                                                                DEARBORN        MI    48128‐1022
LAWRENCE F KOPACZ                               6069 RIDDLE ROAD                                                                                LOCKPORT        NY    14094‐9328
LAWRENCE F KUBINSKI                             9556 BRUSHWOOD LN                                                                               STRONGSVILLE    OH    44136‐2677
LAWRENCE F LEE                                  3535 SKYLINE DRIVE                                                                              HAYWARD         CA    94542‐2503
LAWRENCE F MACKIE                               1199 PINTAIL CIR                                                                                BOULDER         CO    80303‐1465
LAWRENCE F MALONEY                              4184 VERNOR ROAD                                                                                ATTICA          MI    48412‐9393
LAWRENCE F ROBERTS                              3170 CLIPPER CT                                                                                 OXFORD          MI    48371‐5404
LAWRENCE F ROBERTS & REBECCA S ROBERTS JT TEN   3170 CLIPPER CT                                                                                 OXFORD          MI    48371‐5404

LAWRENCE F SCHERMERHORN                        8 DUNCASTER CIR                                                                                  GRANBY          CT    06035‐1918
LAWRENCE F SMITH                               1105 CHARLESTON COMMONS DR                                                                       ANDERSON        IN    46012‐4500
LAWRENCE F STOBBE                              26808 5 MILE RD                                                                                  REDFORD         MI    48239‐3145
LAWRENCE F TRIONFI                             12630 SHARON HOLLOW RD                                                                           MANCHESTER      MI    48158‐9654
LAWRENCE F TYNAN JR                            7301 LAURENS WAY                                                                                 PARSONSBURG     MD    21849‐2021
LAWRENCE F WARDEN                              2679S & 750W                                                                                     RUSSIAVILLE     IN    46979‐9798
LAWRENCE FEHER                                 24052 PEAR TREE CIRCLE                                                                           PLAINFIELD      IL    60544‐6187
LAWRENCE FELDMAN                               29 CONCOLOR AVE                                                                                  NEWTON          MA    02458‐2511
LAWRENCE FLEMING                               15740 PREST                                                                                      DETROIT         MI    48227‐2325
LAWRENCE FLINT                                 15712 MC LAUGHLIN ROAD                  INGLEWOOD ON                           L7C 1N2 CANADA
LAWRENCE FRANCES HOHL & MARY HOHL JT TEN       68 PARK AVENUE                                                                                   WEBSTER         NY    14580‐3224
LAWRENCE FRANK LIEBERMAN                       1380 SUNNYSIDE AVE                                                                               HIGHLAND PARK   IL    60035‐2847
LAWRENCE FREDERICK SHELTRAW JR                 717 CLINTON ST                                                                                   FLINT           MI    48507‐2540
LAWRENCE FREDRICK IHRKE                        5850 TREASURER ROAD                                                                              MAYVILLE        MI    48744‐9531
LAWRENCE G BRADEN                              10132 W MONTANA AVE                                                                              WEST ALLIS      WI    53227‐3357
LAWRENCE G CAMERON                             15020 LENORE                                                                                     REDFORD         MI    48239‐3438
LAWRENCE G COOPER                              59 BROMLEY RD                                                                                    PITTSFORD       NY    14534‐2937
LAWRENCE G DANKO                               608 S MAPLE STREET                                                                               PADEN           OK    74860
LAWRENCE G DOTY                                5349 POOKS HILL RD                                                                               BETHESDA        MD    20814‐2004
LAWRENCE G FLANAGAN                            1313 CADILLAC DRIVE EAST                                                                         KOKOMO          IN    46902‐2542
LAWRENCE G FLANAGAN & JUDITH M FLANAGAN JT TEN 1313 CADILLAC DRIVE E                                                                            KOKOMO          IN    46902‐2542

LAWRENCE G GIBSON & NANCY M GIBSON JT TEN       247 WEDGEWOOD DR                                                                                CHARLOTTE       MI    48813‐1042
LAWRENCE G GREENE JR                            29356 CR 52                                                                                     NAPPANEE        IN    46550‐9470
LAWRENCE G GRUENWALD                            PO BOX 2810                                                                                     PAHRUMP         NV    89041‐2810
LAWRENCE G JONES                                7105 LINDEN DR                                                                                  INDIANAPOLIS    IN    46227‐5346
LAWRENCE G JOSEPH SR                            312 WILLIAMS STREET                                                                             NILES           OH    44446‐1741
LAWRENCE G KACEL                                PO BOX 288                                                                                      LUPTON          MI    48635‐0288
LAWRENCE G KELLER                               5907 LYONS HWY RTE 1                                                                            ADRIAN          MI    49221‐8744
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 706 of 855
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

LAWRENCE G KUHN & MRS NELLI KUHN JT TEN          6347 E HARBOR DR                                                                                 ELK RAPIDS      MI    49629‐9541
LAWRENCE G LANE                                  3 W MAIN ST SUITE 104                                                                            ELMSFORD        NY    10523‐2460
LAWRENCE G LANE & CAROL ANN LANE JT TEN          255 HUGUENOT ST                         APT 1418                                                 NEW ROCHELLE    NY    10801‐6392
LAWRENCE G LEE                                   516 BRIARWOOD CT                                                                                 JEFFERSON       WI    53549‐1938
LAWRENCE G MILLER                                18950 MILBURN ST                                                                                 LIVONIA         MI    48152‐3350
LAWRENCE G MOENART                               17381 BRADFORD                                                                                   DETROIT         MI    48205‐3107
LAWRENCE G PAHLKE & LORI PAHLKE JT TEN           1021 S HARRISON                                                                                  PARK RIDGE      IL    60068‐4976
LAWRENCE G PUDVAY                                9371 S BRAND AVE                                                                                 CLARE           MI    48617‐9656
LAWRENCE G ROBISON                               39643 DETROIT RD                                                                                 AVON            OH    44011‐2130
LAWRENCE G RODGERS                               4451 E BALDWIN ROAD                                                                              HOLLY           MI    48442‐9316
LAWRENCE G SMITH                                 2030 WEDGWOOD DR                                                                                 FLORISSANT      MO    63033‐1242
LAWRENCE G SMITH & MRS PHYLLIS SMITH JT TEN      2030 WEDGEWOOD DR W                                                                              FLORISSANT      MO    63033‐1242

LAWRENCE G SOUDER                                PO BOX 1345                                                                                      AVA             MO    65608‐1345
LAWRENCE G STEBBINS                              4997 W ISABELLA RD                                                                               SHEPHERD        MI    48883‐9676
LAWRENCE G THIEL                                 13750 N SHARON RD                                                                                CHESANING       MI    48616‐9406
LAWRENCE G WEATHERS III & ELISABETH A WEATHERS   25 GALLANT FOX DRIVE                                                                             MEDIA           PA    19063‐5260
JT TEN
LAWRENCE G YOUNG JR                              21 MARY CARROLL CT                                                                               BALTIMORE       MD    21208‐6335
LAWRENCE GARFIELD                                11040 ROSSER RD                                                                                  DALLAS          TX    75229‐3914
LAWRENCE GARSIDE & JANET R GARSIDE JT TEN        N 5659 E CHANNEL DRIVE                                                                           SHAWANO         WI    54166‐6832
LAWRENCE GATTONI                                 863 ARBOR CIRCLE                                                                                 LA VERNE        CA    91750‐5752
LAWRENCE GELB & JULIE GELB JT TEN                328A QUINTON DR                                                                                  MONROE          NJ    08831
                                                                                                                                                  TOWNSHIP
LAWRENCE GIBSON & KATHRYN GIBSON JT TEN        196 SONTAG DR                                                                                      FRANKLIN        TN    37064‐5756
LAWRENCE GILBERT                               103 NAUDAIN ST                                                                                     PHILADELPHIA    PA    19147‐2406
LAWRENCE GILBERT                               515 EL PASEO DR                                                                                    OAKLAND         CA    94603‐3532
LAWRENCE GIOIA                                 48721 STONEBRIAR DR                                                                                CANTON          MI    48188‐7905
LAWRENCE GROSSGOLD & MARGARET GROSSGOLD JT 718 REGENCY RESERVE CIRCLE                    #3101                                                    NAPLES          FL    34119‐2352
TEN
LAWRENCE GRUBBS                                5334 DRAYTON RD                                                                                    CLARKSTON       MI    48346‐3710
LAWRENCE H BECK JR                             5546 LAKESHORE                                                                                     FORT GRATIOT    MI    48059‐2813
LAWRENCE H BOWMAN JR                           2497 JOHNSON ROAD                                                                                  LOGANVILLE      GA    30052‐2958
LAWRENCE H DROBNY                              9 CAPTAINS LANE                                                                                    OLD SYBROOK     CT    06475‐4412
LAWRENCE H FERGUSON & JANIELLE H FERGUSON JT   300 MOUNT VERNON DR                                                                                BLUE SPRINGS    MO    64014‐5410
TEN
LAWRENCE H GIBSON                              APT 1029                                  PARK SHELTON APTS    15 E KIRBY                          DETROIT         MI    48202‐4047
LAWRENCE H GOLDBERG                            102 CHARLEMAGNE CT                                                                                 CARY            NC    27511‐6470
LAWRENCE H GURSKE                              208 COLUMBUS AVE                                                                                   HURON           OH    44839‐1318
LAWRENCE H HARRIS                              120 OAK ST                                                                                         TELLICO PLNS    TN    37385‐5627
LAWRENCE H HILL & ESTELLE R HILL JT TEN        5 CHIMNEY POT LANE                                                                                 ARDSLEY         NY    10502‐1505
LAWRENCE H KUECHENMEISTER                      448 E BOLIVAR AVE                                                                                  MILWAUKEE       WI    53207‐5020
LAWRENCE H KUKIELKA                            790 WHITE LAKE RD                                                                                  PLEASANT LAKE   MI    49272‐9626
LAWRENCE H MILLARD                             PO BOX A51                                                                                         OAKFORD         IN    46965
LAWRENCE H OSHIRO TR LAWRENCE OSHIRO REV TRUST 847 PAPALALO PL                                                                                    HONOLULU        HI    96825‐2963
UA 11/30/87
LAWRENCE H RYNKOWSKI                           29250 HERITAGE PKWY                       APT 127                                                  WARREN          MI    48092‐6353
LAWRENCE H SCHABATH                            813 ELLINGTON COURT                                                                                INDIANAPOLIS    IN    46234‐2215
LAWRENCE H SIMS                                4373 BROOKSTONE DR                                                                                 SAGINAW         MI    48603‐8641
LAWRENCE H SMITH                               71 EVERGREEN LANE                                                                                  GLASTONBURY     CT    06033‐3705
LAWRENCE H STRUCK JR & NORMA J STRUCK JT TEN   2234 HERMITAGE DR                                                                                  DAVISON         MI    48423‐2069

LAWRENCE H SULLIVAN                              14514 LYNN DRIVE                                                                                 NORTH           PA    15642‐1222
                                                                                                                                                  HUNGTINGDON
LAWRENCE H THOMPSON                              6249 WATER FRONT LANE                                                                            ZEPHYRHILLS     FL    33540‐6487
LAWRENCE H VALADE & HELEN E VALADE JT TEN        48804 PARK PLACE DR                                                                              MACOMB          MI    48044‐2241
LAWRENCE H VALENTINE                             96 FRANCK LANE                                                                                   BRACEY          VA    23919‐1815
LAWRENCE HALLWOOD                                3335 HANLAN RD                                                                                   MILLINGTON      MI    48746‐9308
LAWRENCE HAYDU                                   28 BRIAR PATCH LN                                                                                SUDBURY         MA    01776
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 707 of 855
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

LAWRENCE HENRY TYDINGS                          1231 MOORES HILL RD                                                                            LAUREL HOLLOW   NY    11791‐9631
LAWRENCE HILL TR UA 05/31/94 LAWRENCE HILL      225 CROOKED LIMB DR                                                                            LAPEER          MI    48446‐3138
REVOCABLE TRUST
LAWRENCE HOLLAND & RENNAE T HOLLAND JT TEN      28055 FONTANA                                                                                  SOUTHFIELD      MI    48076‐2450

LAWRENCE HOLMAN                               419 W 6TH ST                                                                                     PORT CLINTON    OH    43452‐2101
LAWRENCE HOWARD                               14061 ECKEL JUNCTION RD                                                                          PERRYSBURG      OH    43551‐5734
LAWRENCE HRIBAL                               301 BRIDGEPORT ST                                                                                MT PLEASANT     PA    15666
LAWRENCE HUDSON LOVELL                        9326 53RD STREET                                                                                 RIVERSIDE       CA    92509‐3835
LAWRENCE HURVICH                              21 WYCHWOOD WAY                                                                                  WARREN          NJ    07059‐6943
LAWRENCE I ABRAMS                             9905 BARSTOW CT                                                                                  POTOMAC         MD    20854‐2001
LAWRENCE I CLARK                              3320 DARLINGTON RD                                                                               TOLEDO          OH    43606‐2436
LAWRENCE I DAVIS                              638 HARALSON DR SW                                                                               LILBURN         GA    30017
LAWRENCE I GALLER                             5 MERCURY AVE                                                                                    MONROE          NY    10950‐5226
LAWRENCE I HEATH                              14580 CORAM ST                                                                                   DETROIT         MI    48205‐1962
LAWRENCE I ROSENBERG & IVY SHORE ROSENBERG JT 410 GRAVELBEND RD 8                                                                              MCKEE CITY      NJ    08234‐4816
TEN
LAWRENCE I VINCENT                            14061 IROQUOIS WOODS DR                                                                          FENTON          MI    48430‐1639
LAWRENCE IRA GREEN                            10368 BEDROCK LN                                                                                 SANDY           UT    84092‐4507
LAWRENCE IWUAMADI SR                          1733 LIVE OAK TRL                                                                                VIRGINIA BCH    VA    23456‐4081
LAWRENCE J & MARILYN L JAHNSEN TR JAHNSEN     1729 LYOAK DR                                                                                    CLAREMONT       CA    91711‐2421
FAMILY TRUST UA 01/12/99
LAWRENCE J BAHLINGER                          2026 DAHLIA DR                                                                                   BATON ROUGE     LA    70808‐8831
LAWRENCE J BANGHART & PATRICIA E BANGHART JT  2621 BRETBY                                                                                      TROY            MI    48098‐2154
TEN
LAWRENCE J BAUER                              W3304 W CTY HYW B                                                                                SARONA          WI    54870
LAWRENCE J BAYARD CUST RICHARD BAYARD UGMA NY 7102 AYERS MEADOW LANE                                                                           SPRINGFIELD     VA    22150‐4915

LAWRENCE J BERNARD                              5 MINUTEMAN CT                                                                                 ROCKVILLE       MD    20853‐1264
LAWRENCE J BUKOWSKI                             609 S LINCOLN RD                                                                               BAY CITY        MI    48708‐9650
LAWRENCE J BURROUGHS                            5209 CHILSON RD                                                                                HOWELL          MI    48843‐9452
LAWRENCE J BUSA JR                              293 SPENCER RD                                                                                 TORRINGTON      CT    06790‐2533
LAWRENCE J BYRD                                 10 ADLON                                                                                       DAYTON          OH    45449‐1504
LAWRENCE J CALABRO                              1327 WARRIOR PATH                                                                              MARYVILLE       TN    37803‐0801
LAWRENCE J CAPONEGRO                            152 FIFTH ST                                                                                   HICKSVILLE      NY    11801‐5412
LAWRENCE J CHRISTIAN                            2232 BROOKFIELD                                                                                CANTON          MI    48188‐1819
LAWRENCE J CICH & JANICE M CICH JT TEN          304 E CEDERHOLM ST                    PO BOX 47                                                CRESTON         IL    60113‐0047
LAWRENCE J COLASURDO                            C/O A COLASURDO                       93 BARNIDA DR                                            EAST HANOVER    NJ    07936‐1402
LAWRENCE J CONNER                               153 PARK CIRCLE                                                                                OLD HICKORY     TN    37138‐2641
LAWRENCE J CZWERKO                              14417 ARDEN STREET                                                                             LIVONIA         MI    48154
LAWRENCE J DE MUTH                              1940 TAYLOR RD                                                                                 DAYTONA BEACH   FL    32124‐6639
LAWRENCE J DELPORTO TR DELPORTO FAMILY TRUST UA 616 WEST GIBRALTAR LANE                                                                        PHOENIZ         AZ    85023‐5243
04/03/01
LAWRENCE J DOLL JR                              3430 MC KEAN                                                                                   ST LOUIS        MO    63118‐2709
LAWRENCE J DUPRE & MRS DORIS B DUPRE JT TEN     180 CREEK VIEW TRAIL                                                                           FAYETTEVILLE    GA    30214‐7228

LAWRENCE J EASTERDAY                            9353 ISLAND DR                                                                                 GOODRICH        MI    48438‐9408
LAWRENCE J ELTON                                9012 AIRPORT ROAD W                                                                            ST HELEN        MI    48656‐9729
LAWRENCE J EVERS                                83 MURRAY ST                                                                                   AUGUSTA         ME    04330‐4818
LAWRENCE J FIGVED                               5360 VALLEY WOODS DR                                                                           INDEPENDENCE    OH    44131‐5242
LAWRENCE J FITTS                                3152 OLD NATCHEZ RD                                                                            HAZLEHURST      MS    39083‐9231
LAWRENCE J FLORICH                              570 PRINCE ST                                                                                  WOODBURY        NJ    08096‐5714
LAWRENCE J FRIEDMAN                             67 GRASSLAND ST                                                                                LEXINGTON       MA    02421‐7945
LAWRENCE J GAGNON                               250 SANDERS ROAD                                                                               BUFFALO         NY    14216‐1307
LAWRENCE J GASKILL                              7311 GLENSIDE DR                                                                               TAKOMA PARK     MD    20912‐6924
LAWRENCE J GLYNN JR & MRS VERA P GLYNN JT TEN   6 WESTMINSTER ST                                                                               WESTERLY        RI    02891‐2322

LAWRENCE J GRAJA CUST ANDREW D GRAJA UGMA NJ    284 HOLLOW BRANCH LANE                                                                         YARDLEY         PA    19067‐5791
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 708 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

LAWRENCE J GRAJA CUST DENISE L GRAJA UGMA NJ     284 HOLLOW BRANCH LANE                                                                          YARDLEY            PA    19067‐5791

LAWRENCE J GUY                                   519 VANSULL                                                                                     WESTLAND           MI    48185‐3694
LAWRENCE J HALLORAN & MARY K HALLORAN JT TEN     31467 SUNSET DR                                                                                 BEVERLY HILLS      MI    48025‐5108

LAWRENCE J HANDY & LORRAINE HANDY JT TEN         FOUR SMITH ST                                                                                   SAINT ALBANS       VT    05478‐1656
LAWRENCE J HENRY & MARY E HENRY JT TEN           500 S COLUMBIA ST                                                                               FRANKFORT          IN    46041‐2430
LAWRENCE J HOFFMAN                               3540 REYNOLDS RD                                                                                JACKSON            MI    49201‐9384
LAWRENCE J HOUSTON                               609 SKUNK HOLLOW ROAD                                                                           CHALFONT           PA    18914‐1040
LAWRENCE J IRWIN                                 35 INTERLAKEN DRIVE                                                                             EASTCHESTER        NY    10709‐1529
LAWRENCE J JONES JR                              32 BOULDER BROOK DR                                                                             WILMINGTON         DE    19803‐4015
LAWRENCE J KAPANOWSKI                            31012 GRENNADA                                                                                  LIVONIA            MI    48154‐4310
LAWRENCE J KASMISKE                              524 N WILLARD AVE                                                                               JANESVILLE         WI    53545‐2744
LAWRENCE J KATZ & MRS PAULA KATZ JT TEN          45 FAIRLAWN DR                                                                                  LATHAM             NY    12110‐1619
LAWRENCE J KEENAN                                BOX 77                                                                                          DURHAMVILLE        NY    13054‐0077
LAWRENCE J KEYS                                  23979 BROADMOOR PARK LN                                                                         NOVI               MI    48374‐3676
LAWRENCE J KIEHL & ROXANNE M KIEHL JT TEN        226 E NEBRASKA ST                                                                               RAPID CITY         SD    57701
LAWRENCE J KIRCHHOEFER JR                        406 HENTSCHEL PL                                                                                FERGUSON           MO    63135‐1542
LAWRENCE J KULESZA                               1442 MAYBERRY LN                                                                                FRANKLIN           TN    37064‐9648
LAWRENCE J LA VIOLETTE                           1717 KILPATRICK RD                                                                              NOKOMIS            FL    34275‐4920
LAWRENCE J LAHIFF                                23343 SHARON DR                                                                                 NORTH OLMSTED      OH    44070‐1677
LAWRENCE J LEIBMAN                               31 MONCLAIR                                                                                     WEST HARTFORD      CT    06107‐1247
LAWRENCE J LESTER                                35901 MAPLEGROVE RD                                                                             WILLOUGHBY HILLS   OH    44094‐6905

LAWRENCE J LEWANDOWSKI & MRS EDWINA D            411 ROCHELLE AVE                                                                                WILMINGTON         DE    19804‐2117
LEWANDOWSKI JT TEN
LAWRENCE J LINES                                 3454 SHAKESPEARE DR                                                                             TROY               MI    48084‐1489
LAWRENCE J LOCHOTZKI                             2704 HURON‐AVERY ROAD                                                                           HURON              OH    44839‐2452
LAWRENCE J LORMAND                               5637 ROOSEVELT                                                                                  DEARBORN HTS       MI    48125‐2585
LAWRENCE J LUKOWSKI                              803 18TH ST                                                                                     BAY CITY           MI    48708‐7232
LAWRENCE J MACHLEIT                              1925 N CEDAR RD                                                                                 FOWLERVILLE        MI    48836‐8202
LAWRENCE J MALTBY & VIRGINIA L MALTBY JT TEN     PO BOX 404                                                                                      BOYNE FALLS        MI    49713‐0404

LAWRENCE J MANNO & ELIZABETH MANNO JT TEN        47 REMINGTON RD                                                                                 RIDGEFIELD         CT    06877‐4323

LAWRENCE J MANNO CUST CHRISTOPHER M MANNO        47 REMINGTON RD                                                                                 RIDGEFIELD         CT    06877‐4323
UGMA NY
LAWRENCE J MASSERANG & DAVID T MAY JT TEN        255 MAYER RD AT 225C                                                                            FRANKENMUTH        MI    48734‐1358
LAWRENCE J MAYA                                  5609 E 27TH                                                                                     KANSAS CITY        MO    64127‐4822
LAWRENCE J MAYVILLE                              11 COUNTY ROUTE 42                                                                              FT COVINGTON       NY    12937‐9748
LAWRENCE J MC CORMICK CUST BRAD A MC CORMICK     19520 W TOWNLINE RD                                                                             ST CHARLES         MI    48655‐9737
UGMA MI
LAWRENCE J MC CORMICK CUST BRIAN N MC CORMICK    19520 W TOWNLINE RD                                                                             ST CHARLES         MI    48655‐9737
UGMA MI
LAWRENCE J MC DONNELL                            12001 STATE HIGHWAY #59                                                                         EVANSVILLE         WI    53536
LAWRENCE J MCKAY                                 4490 EPWORTH CT                                                                                 POWDER SPRINGS     GA    30127‐8416

LAWRENCE J MIHALOVICH                            2233 BOLLINGER N E                                                                              CANTON             OH    44705‐3511
LAWRENCE J MORANIEC                              296 VILLA CREEK PKWY                                                                            CANTON             GA    30114‐7025
LAWRENCE J MUNZENMAIER JR & MRS RACHEL A         1622 S LAGO VISTA DR                                                                            PEARLAND           TX    77581‐7511
MUNZENMAIER JT TEN
LAWRENCE J MYNARCZYK                             3950 WEST 58TH STREET                                                                           CHICAGO            IL    60629‐4431
LAWRENCE J NEIL                                  19859 N 110 LANE                                                                                SUN CITY           AZ    85373‐3347
LAWRENCE J NEWSOME                               3600 WICKERSHAM WAY                                                                             RALEIGH            NC    27604‐4063
LAWRENCE J NICASTRO & MRS ANGELA M NICASTRO JT   829 REGINA ST                                                                                   PHILADELPHIA       PA    19116‐2913
TEN
LAWRENCE J NIEDOWICZ                             2765 DOUGLAS LANE                                                                               THOMPSONS          TN    37179‐5002
                                                                                                                                                 STATION
LAWRENCE J ORSI                                  3112 SO 145TH AVE                                                                               OMAHA              NE    68144‐5475
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 709 of 855
Name                                              Address1                                Address2              Address3         Address4                  City             State Zip

LAWRENCE J PARLIER                                3645 WRUCK ROAD                                                                                          MIDDLEPORT       NY    14105‐9751
LAWRENCE J PATNOE                                 6516 E T TOWNLINE RD                                                                                     BELOIT           WI    53511‐8957
LAWRENCE J PECK & JUDITH K PECK JT TEN            10154 BORGMAN                                                                                            HUNTINGTON       MI    48070‐1145
                                                                                                                                                           WOODS
LAWRENCE J POLANOWSKI                             91 RANDALL TER                                                                                           HAMBURG          NY    14075‐5312
LAWRENCE J PRUSINOWSKI                            7323 ROSELANE                                                                                            JENISON          MI    49428‐8743
LAWRENCE J ROBINSON                               1100 RUSH SCOTTSVILLE RD                                                                                 RUSH             NY    14543‐9737
LAWRENCE J ROE                                    PO BOX 64                                                                                                GAGETOWN         MI    48735‐0064
LAWRENCE J ROMANEK                                280 LONG LAKE ROAD                                                                                       CRYSTAL FALLS    MI    49920‐9402
LAWRENCE J SAUNDERS                               25200 WEST ELM                                                                                           OLATHE           KS    66061‐8819
LAWRENCE J SCARBRO                                6316 HOLMES HWY                                                                                          EATON RAPIDS     MI    48827‐8507
LAWRENCE J SCHWARTZLOW                            #3                                      1922 MORNINGSIDE DR                                              JANESVILLE       WI    53546‐1234
LAWRENCE J SCOTT CUST DANIEL W SCOTT UGMA NC      7416 SAINT CLAIR DRIVE                                                                                   CHARLOTTE        NC    28270‐9765

LAWRENCE J SCOTT CUST SARAH J SCOTT UGMA NC       7416 SAINT CLAIR DRIVE                                                                                   CHARLOTTE        NC    28270‐9765

LAWRENCE J SEPCOT                                 5017 31ST PLACE                                                                                          CICERO           IL    60804‐4020
LAWRENCE J SIKORSKI                               8442 ANCHOR BAY DR                                                                                       ALGONAC          MI    48001‐3505
LAWRENCE J SIKORSKI & NANCY A SIKORSKI JT TEN     8442 ANCHOR BAY DR                                                                                       ALGONAC          MI    48001‐3505

LAWRENCE J SPARKE                              C/O G M HOLDENS LTD                        BOX 1714 G P O        MELBOURNE 3001   VICTORIA 3207 AUSTRALIA
LAWRENCE J STAHL                               195 E MAIN ST                                                                                               CORTLAND         OH    44410‐1239
LAWRENCE J STEHBERGER JR                       13190 COUNTY ROAD G                                                                                         OSSEO            WI    54758
LAWRENCE J TOMCZAK                             2834 SECURITY LN                                                                                            BAY CITY         MI    48706‐3034
LAWRENCE J TREVORROW                           2021 ARLINGTON                                                                                              FLINT            MI    48506‐3609
LAWRENCE J VAN DRIESSCHE                       1575 SWARTZ RD                                                                                              TURNER           MI    48765
LAWRENCE J WHITE                               BOX 85                                                                                                      LIBERTY CENTE    OH    43532‐0085
LAWRENCE J WILCZAK                             18290 FOREST                                                                                                SPRING LAKE      MI    49456‐1523
LAWRENCE J WILLIAMS                            7133 KESSLING ST                                                                                            DAVISON          MI    48423‐2445
LAWRENCE J WOLFE CUST NICHOLAS J WOLFE UTMA WY 317 W 7TH AVE                                                                                               CHEYENNE         WY    82001‐1255

LAWRENCE J YURICK                                 17126 WATERS EDGE CIRCLE                                                                                 NORTH FORT MYERS FL    33917‐3828

LAWRENCE J ZILBERT                                24510 DUFFIELD RD                                                                                        BEACHWOOD        OH    44122‐3208
LAWRENCE J ZUBRITSKI                              4343 SCHUMACHER ROAD                    LOT 97E                                                          SEBRING          FL    33872
LAWRENCE JACOBS                                   2600 ECHO WOODS DR                                                                                       HARTSVILLE       SC    29550‐8023
LAWRENCE JACOBS                                   559 FAIRMONT ROAD                                                                                        WYCKOFF          NJ    07481
LAWRENCE JAMES                                    29413 SANDBERG WAY                                                                                       HAYWARD          CA    94544‐6452
LAWRENCE JAMES BEATY                              255 OAKBROOK DR                                                                                          WILLIAMSVILLE    NY    14221‐2517
LAWRENCE JAMES KELLY                              1588 HARBOUR CLUB DR                                                                                     PONTE VEDRA      FL    32082‐3569
LAWRENCE JAMES KYSELA                             626 CULLEN BLVD                                                                                          BUDA             TX    78610‐2816
LAWRENCE JASKOLKOWSKI & DEANNA J JASKOLKOWSKI     2771 MORELAND ST                                                                                         YORKTOWN HTS     NY    10598‐2420
JT TEN
LAWRENCE JAY AGLER                                50 JOG HILL RD                                                                                           TRUMBULL         CT    06611‐3238
LAWRENCE JOEL DROOKS                              7 ALPINE ROAD                                                                                            BOONTON          NJ    07005‐9761
LAWRENCE JOHN HAUGLIE                             16420 COUNTY ROAD 139                                                                                    PIERZ            MN    56364‐4108
LAWRENCE JOHN SMITH                               907 COUNTY ROUTE 4                                                                                       FT COVINGTON     NY    12937
LAWRENCE JOHN ZIELKE CUST GINA A ZIELKE UTMA KY   8901 CROMWELL HILL ROAD                                                                                  LOUISVILLE       KY    40222‐5604

LAWRENCE JOHN ZIELKE CUST LAWRENCE J ZIELKE III   8901 CROMWELL HILL RD                                                                                    LOUISVILLE       KY    40222‐5604
UTMA KY
LAWRENCE JOHNSON                                  24203 PLANTATION DR NE                                                                                   ATLANTA          GA    30324‐2968
LAWRENCE JOHNSON & JANET M JOHNSON JT TEN         2222 BADGER ST                                                                                           MARQUETTE        MI    49855

LAWRENCE JONG                                  4482 LAWSON CT                                                                                              CONCORD          CA    94521‐4410
LAWRENCE JOSEPH HARTNETT                       14023 MAUGANSVILLE RD                                                                                       MAUGANSVILLE     MD    21767‐1005
LAWRENCE K ARY                                 PO BOX 364                                                                                                  SPRINGBORO       OH    45066‐0364
LAWRENCE K CHUDY TR LAWRENCE K CHUDY REV TRUST 1757 MANALEE LANE                                                                                           OXFORD           MI    48371‐6229
UA 06/17/96
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 710 of 855
Name                                               Address1                                Address2             Address3          Address4          City               State Zip

LAWRENCE K DAENZER                                 2199 GRAY ROAD                                                                                   LAPEER             MI    48446‐9060
LAWRENCE K DUSSLER JR                              1919 DEVERE LN                                                                                   BALTIMORE          MD    21228‐4847
LAWRENCE K ENGEL & ROBIN R ENGEL JT TEN            PO BOX 402                                                                                       REDMOND            WA    98073
LAWRENCE K HENRY                                   16 SHADY LANE                                                                                    ANNVILLE           PA    17003‐9300
LAWRENCE K LARSON                                  1389 WOLVERINE LN                                                                                BOZEMAN            MT    59718‐9450
LAWRENCE K ROSSI                                   109 ROSEBUD TRAIL                                                                                WEBSTER            NY    14580‐2571
LAWRENCE K SENKO                                   31709 MEADOWS                                                                                    MADISON HEIGHTS    MI    48071‐1064

LAWRENCE K SENKO & ANITA F SENKO JT TEN            31709 MEADOWS                                                                                    MADISON HTS        MI    48071‐1064
LAWRENCE K SMITH TR LAWRENCE K SMITH TRUST UA      36616 TARPON                                                                                     STERLING HEIGHTS   MI    48312‐3077
06/27/01
LAWRENCE K WALLEN                                  2091 N LAKE SHORE DR                    PO BOX 969                                               GOOD HART          MI    49737‐0969
LAWRENCE KIEL & DEANNA KIEL TEN ENT                733 CRAIG WOODS DR                                                                               KIRKWOOD           MO    63122‐5516
LAWRENCE KIENER                                    18595 CARDONI                                                                                    DETROIT            MI    48203‐2107
LAWRENCE KUPPERBERG CUST DAVID KUPPERBERG          11019 MIDDLESHIRE PL                                                                             ROCKVILLE          MD    20852‐3212
UTMA MD
LAWRENCE L BEARUP JR                               33766 LOUISE AVED                                                                                CLINTON TWP        MI    48035
LAWRENCE L BRADY & MARY E BRADY JT TEN             913 W 28TH ST                                                                                    LAWRENCE           KS    66046‐4625
LAWRENCE L COLVIS                                  647 GARDENIA GLEN                                                                                ESCONDIDO          CA    92025‐7902
LAWRENCE L DEBUSSEY & IRENE M DEBUSSEY JT TEN      7093 BALTIC DRIVE SOUTHWEST                                                                      BYRON CENTER       MI    49315‐8162

LAWRENCE L DIAZ                                    6 CAROLINES WAY                                                                                  ORLEANS            MA    02653
LAWRENCE L DICKERSON                               12340 S DURKEE RD                                                                                GRAFTON            OH    44044‐9117
LAWRENCE L DOMOGALA                                36805 CHERRY HILL                                                                                WESTLAND           MI    48186‐3471
LAWRENCE L ELWELL                                  2880 ST CLAIR                                                                                    ROCHESTER          MI    48309‐3126
LAWRENCE L EVERT JR                                208 STONEBRIDGE CRT                                                                              CLEVELAND          OH    44143
LAWRENCE L FEISSNER                                LAWRENCE L FEISSNER II                  20 ANCHOR COURT                                          MARCO ISLAND       FL    34145
LAWRENCE L FIDGE                                   33034 ANITA                                                                                      WESTLAND           MI    48185‐1514
LAWRENCE L FRANK JR                                888 LONG POINT                                                                                   HOUGHTON LAKE      MI    48629‐9446
LAWRENCE L FRYE                                    7367 BATH RD                                                                                     BANCROFT           MI    48414‐9785
LAWRENCE L GRAHAM                                  PO BOX 123                                                                                       EARLHAM            IA    50072‐0123
LAWRENCE L HADLEY                                  4197 SUTTON RD                                                                                   DRYDEN             MI    48428‐9737
LAWRENCE L HAYES JR                                14869 STREET RT 78                                                                               CALDWELL           OH    43724‐9694
LAWRENCE L HOZAK & LINDA LOU HOZAK JT TEN          5401 E HIBBARD RD                                                                                CORUNNA            MI    48817‐9511
LAWRENCE L JAYCOX                                  434 GREENWOOD CT                                                                                 ELYRIA             OH    44035‐8373
LAWRENCE L KIETA                                   8323 42ND AVE NO                                                                                 SAINT PETERSBURG   FL    33709‐3946

LAWRENCE L KRAJEWSKI                               1890 WINIFRED ST                                                                                 CHEBOYGAN          MI    49721‐9133
LAWRENCE L LEWIS                                   5301 E 37 TH ST                                                                                  TULSA              OK    74135‐5503
LAWRENCE L LOCKE                                   212 N CENTER ST                                                                                  EATON RAPIDS       MI    48827‐1307
LAWRENCE L LOVE                                    1800 W PARKS RD                                                                                  SAINT JOHNS        MI    48879‐9262
LAWRENCE L LUCEUS                                  7571 CORBIN DRIVE                                                                                CANTON             MI    48187‐1815
LAWRENCE L LYONS                                   606 SE 19TH TERR                                                                                 CAPE CORAL         FL    33990‐2356
LAWRENCE L MESCE                                   14 WALNUT TERRACE                                                                                BLOOMFIELD         NJ    07003‐5026
LAWRENCE L MICHELMAN CUST BONNIE SUE               123 GLEZEN LANE                                                                                  WAYLAND            MA    01778‐1505
MICHELMAN UGMA MA
LAWRENCE L PENNINGTON                              3763 MAIDEN                                                                                      WATERFORD          MI    48329‐1043
LAWRENCE L PORTER                                  5224 S 300W                                                                                      TRAFALGAR          IN    46181‐9068
LAWRENCE L PRESTON                                 973 WOODLAND CIRCLE                                                                              ANNAPOLIS          MD    21401‐5328
LAWRENCE L SAURO                                   15 NELSON ST                                                                                     HOLLEY             NY    14470‐1203
LAWRENCE L SMITH JR                                PMB 4476                                PO BOX 2428                                              PENSACOLA          FL    32513‐2428
LAWRENCE L SPRINKLE                                3212 LINDALE AVE                                                                                 DAYTON             OH    45414‐5402
LAWRENCE L STEBBINS JR & PATTI A STEBBINS JT TEN   3944 SILAX DR                                                                                    HAMILTON           OH    45013‐9554

LAWRENCE L TWEEDY & HELEN E TWEEDY TR TWEEDY       125 SO GROVELAND AVE                                                                             MEDFORD            OR    97504‐7664
FAMILY TRUST UA 01/06/00
LAWRENCE L WARREN                                  4981 BURNLEY DR                                                                                  BLOOMFIELD HILLS   MI    48304‐3624

LAWRENCE L WUTHRICH                                1748 WESTOVER LANE                                                                               MANSFIELD          OH    44906‐3369
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 711 of 855
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

LAWRENCE LADOCHI                                  15830 HUNTCLIFF DR                                                                               MACOMB             MI    48044‐3856
LAWRENCE LANCASTER                                1132 CARPENTIER ST                      UNIT 208                                                 SAN LEANDRO        CA    94577
LAWRENCE LANE & MRS CAROL ANN LANE JT TEN         255 HUGUENOT ST                         APT 1418                                                 NEW ROCHELLE       NY    10801‐6392
LAWRENCE LANG & JOSEPH LANG & JENNIFER LANG JT    37683 CARPATHIA BLVD                                                                             STERLING HEIGHTS   MI    48310‐3857
TEN
LAWRENCE LAUGHTON                                 5066 E ATHERTON RD                                                                               BURTON             MI    48519‐1526
LAWRENCE LE VAN                                   29904 ELMGROVE                                                                                   ST CLAIR SHRS      MI    48082‐1867
LAWRENCE LEE HENRY                                14990 S GLEN EYRIE ST                                                                            OLATHE             KS    66061‐8518
LAWRENCE LEE III EX EST CLARA C YEN               473 F D R DR #1506K                                                                              NEW YORK           NY    10002
LAWRENCE LESLIE TWEEDY                            125 SOUTH GROVELAND AVE                                                                          MEDFORD            OR    97504‐7664
LAWRENCE LESTER GIFFORD II                        8432 BELLE CHASSE DR                                                                             DAVISON            MI    48423‐2121
LAWRENCE LETWIN LEVINE                            215 SEQUOYA RD                                                                                   LOUISVILLE         KY    40207‐1658
LAWRENCE LEVINE                                   4 EQUESTRIAN CT                                                                                  UPPER BROOKVILLE   NY    11545‐2638

LAWRENCE LEVINE CUST ALLAN MARK LEVINE UGMA NY 4 EQUESTRIAN COURT                                                                                  UPPER BROOKVILLE NY      11545‐2638

LAWRENCE LIEBERFELD                         401 E 86TH ST                                                                                          NEW YORK           NY    10028‐6403
LAWRENCE LISTOU                             BOX 1268                                                                                               CHINOOK            MT    59523‐1268
LAWRENCE LITTLEJOHN                         552 STATE LINE RD                                                                                      GAFFNEY            SC    29341‐5513
LAWRENCE LITTMAN                            47 LEWIS ST                                                                                            CRANFORD           NJ    07016‐2740
LAWRENCE LORMAN CUST KENNETH LORMAN UGMA NJ 5 PINE LANE                                                                                            WAYSIDE            NJ    07712‐7243

LAWRENCE M AUSTIN                                 201 JOHNSTON ST                                                                                  SAVANNAH           GA    31405‐5606
LAWRENCE M AUSTIN JR                              201 JOHNSTON ST                                                                                  SAVANNAH           GA    31405‐5606
LAWRENCE M AYRES                                  10975 FOUR LAKES DRIVE                                                                           SOUTH LYON         MI    48178‐9346
LAWRENCE M BANASZAK                               213 CAROLINE ST                                                                                  ESSEXVILLE         MI    48732‐1142
LAWRENCE M BAXTER JR & LUTRICIA A BAXTER JT TEN   PO BOX 1040                                                                                      WOODLAND PARK      CO    80866‐1040

LAWRENCE M BECKETT                              51560 BETTS ROAD                                                                                   WELLINGTON         OH    44090‐9133
LAWRENCE M BECKMAN                              PO BOX 531                                                                                         SUMMERFIELD        NC    27358‐0531
LAWRENCE M CHISMARK                             20956 DELAWARE                                                                                     SOUTHFIELD         MI    48034‐5928
LAWRENCE M CIRELLI                              343 MT VERNON DR                                                                                   ELLWOOD CITY       PA    16117‐1407
LAWRENCE M CLARK                                7 PROSPECT ST                                                                                      MILFORD            CT    06460‐4802
LAWRENCE M DAVIS                                PO BOX 41614                                                                                       FAYETTEVILLE       NC    28309‐1614
LAWRENCE M DEPRIEST CUST DANIELLE R DEPRIEST    7683 METROPOLITAN DR                                                                               COLUMBUS           OH    43235‐8949
UGMA MI
LAWRENCE M DICK                                 11875 E DICK RD                                                                                    OAKTOWN            IN    47561
LAWRENCE M DONNELLY & MARTHA A DONNELLY JT      5369 N GENESEE                                                                                     FLINT              MI    48506‐4528
TEN
LAWRENCE M DONOVAN                              231 WOOD RUN                                                                                       ROCHESTER          NY    14612‐2264
LAWRENCE M DOYLE                                4 PINE GROVE DR                                                                                    NORTH SALEM        NY    10560‐3403
LAWRENCE M DROMBOSKI                            108 LOCUST AVE                                                                                     TRENTON            NJ    08620‐1719
LAWRENCE M DUNN CUST LAWRENCE DUNN III UGMA PO BOX 1253                                                                                            MONVMONT           CO    80132‐1253
IL
LAWRENCE M DUVALLE                              PO BOX 2067                                                                                        GRANBURY           TX    76048‐9067
LAWRENCE M EHRLICH                              PO BOX 5492                                                                                        ORANGE             CA    92863‐5492
LAWRENCE M FLACHS                               4247 WATSON ST                                                                                     HOLT               MI    48842‐1731
LAWRENCE M GARLAND                              3367 HERITAGE PKWY                                                                                 DEARBORN           MI    48124‐3191
LAWRENCE M GOLZ                                 3824 VENTURA                                                                                       SAGINAW            MI    48604‐1825
LAWRENCE M HACKMAN                              1887 SHERWOOD DR                                                                                   DEFIANCE           OH    43512‐3429
LAWRENCE M HALE                                 18775 RIVERVIEW DR                                                                                 THREE RIVERS       MI    49093‐9391
LAWRENCE M HANKIN CUST MICHAEL T HANKIN UTMA 406 MURILLO DRIVE                                                                                     NOKOMIS            FL    34275‐1440
FL
LAWRENCE M HERMAN JR                            472 CHARLES DR                                                                                     MANHEIM            PA    17545‐9187
LAWRENCE M JAROSZ                               10133 JAMES HARBIN AVE                                                                             LAS VEGAS          NV    89129‐5014
LAWRENCE M KENNEY                               PO BOX 387                                                                                         WHITEWATER         WI    53190‐0387
LAWRENCE M KINSTLE CUST KAREN A KINSTLE UGMA MI 9398 DOUG FIR DR                                                                                   ZEELAND            MI    49464‐9551

LAWRENCE M KULINSKI                               8135 SANFORD                                                                                     WESTLAND           MI    48185‐1566
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 712 of 855
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

LAWRENCE M MACKOS                                1211 HURON                                                                                      FLINT           MI    48507‐2320
LAWRENCE M MASTRANGELO                           4048 WINDERLAKES DR                                                                             ORLANDO         FL    32835‐2604
LAWRENCE M MC QUIGG                              2349 N SEYMOUR RD                                                                               FLUSHING        MI    48433‐9741
LAWRENCE M PERLMUTTER                            15 COURT SQ                            STE 200                                                  BOSTON          MA    02108‐2514
LAWRENCE M POSTUPAK & ARLENE S POSTUPAK JT TEN   600 S CRESCENT AVE                                                                              HAMBURG         PA    19526‐1429

LAWRENCE M RUSHTON                               PO BOX 271                                                                                      VONORE          TN    37885‐0271
LAWRENCE M SIRIANNI                              4161 ABBOTT                                                                                     LINCOLN PARK    MI    48146‐4019
LAWRENCE M ST ONGE                               PO BOX 361                                                                                      PERRY           MI    48872‐0361
LAWRENCE M THURN & CONSTANCE THURN JT TEN        3138 LAKE SHORE DR E                                                                            DUNKIRK         NY    14048‐9766

LAWRENCE M TOMASZEWSKI                           1700 PREDMORE                                                                                   OAKLAND         MI    48363
LAWRENCE M TURNPAUGH                             3156 BOWMAN RD                                                                                  ALANSON         MI    49706‐9618
LAWRENCE M WALTER                                890E SCRIBNER RD                                                                                ROSE CITY       MI    48654‐9546
LAWRENCE M WARD                                  709 ROGERS RD                                                                                   ROMEOVILLE      IL    60446‐1108
LAWRENCE M WEAVER                                659 WEBB DR                                                                                     SPARTANBURG     SC    29303‐2513
LAWRENCE M WYNER                                 PO BOX 3067                                                                                     CHARLESTON      WV    25331‐3067
LAWRENCE MADRON                                  2462 BRAHMS BLVD                                                                                DAYTON          OH    45449‐3357
LAWRENCE MANN                                    9765 JONES CREEK ROAD                                                                           DITTMER         MO    63023‐2238
LAWRENCE MANNINO CUST ALYSON MANNINO UGMA        13 BURRINGTON GORGE                                                                             WESTFIELD       NJ    07090‐3707
NJ
LAWRENCE MANNINO CUST LAUREN MANNINO UGMA        13 BURRINGTON GORGE                                                                             WESTFIELD       NJ    07090‐3707
NJ
LAWRENCE MARCELLO JR                             238 MOSCOW RD                                                                                   HAMLIN          NY    14464‐9709
LAWRENCE MARKUS & LOIS MARKUS JT TEN             1235 YALE PLACE #1010                                                                           MINNEAPOLIS     MN    55403‐1946
LAWRENCE MARKUS & LOIS MARKUS JT TEN             1235 YALE PLACE #1010                                                                           MINNEAPOLIS     MN    55403‐1946
LAWRENCE MARSHALL                                PO BOX 1242                                                                                     RCHO SANTA FE   CA    92067‐1242
LAWRENCE MATEY                                   67 SCHLEY ST                                                                                    NEWARK          NJ    07112‐1124
LAWRENCE MCAULIFFE                               35 ZULAUF LANE                                                                                  OXFORD          NJ    07863‐3104
LAWRENCE MCDOWELL                                1409 WAGGONER DR                                                                                ARLINGTON       TX    76013‐1473
LAWRENCE MICHAEL DUNN                            15387 WATERLOO RD                                                                               AMISSVILLE      VA    20106‐1946
LAWRENCE MICHAEL ERVIN                           238 EVERGREEN DRIVE                                                                             LAKE PARK       FL    33403‐3410
LAWRENCE MICHAEL MC GINNIS                       14B                                    285 RIVERSIDE DR                                         NEW YORK        NY    10025‐5228
LAWRENCE MICHAEL SHOOT                           4830 SW 92 AVE                                                                                  MIAMI           FL    33165‐6505
LAWRENCE MICHAEL SHOOT & IDANIA SHOOT JT TEN     4830 SW 92 AVE                                                                                  MIAMI           FL    33165‐6505

LAWRENCE MITROVICH & RADIUM MITROVICH JT TEN     27795 DEQUINDRE ROAD                   APT 330                                                  MADISON HEIGHTS MI    48071‐5718

LAWRENCE MOON                                    208 EUCLID AVE                                                                                  ROYAL OAK       MI    48067‐1360
LAWRENCE MORGAN JR & JOYCE E MORGAN JT TEN       PO BOX 6                                                                                        DENNISVILLE     NJ    08214‐0006

LAWRENCE MORROW & CLARA D MORROW TEN COM         3509 WINIFRED                                                                                   FORT WORTH      TX    76133‐2124

LAWRENCE MYRON MAYBACK                          202 CLAUDETTE COURT                                                                              DEPEW           NY    14043‐1240
LAWRENCE N BROCKWAY & LILLIAN S BROCKWAY JT TEN PO BOX 80592                                                                                     CONYERS         GA    30013‐8592

LAWRENCE N BRUEMMER                              4422 SEEDEN                                                                                     WATERFORD       MI    48329‐4059
LAWRENCE N GARGANO                               223 NIOBRARA LN                                                                                 BEAR            DE    19701‐4805
LAWRENCE N GIRARD                                1601 MORGAN ROAD                                                                                CLIO            MI    48420‐1866
LAWRENCE N HEWITT & JACQUELINE A HEWITT JT TEN   2786 E EUCLID AVE                                                                               LITTLETON       CO    80121‐2904

LAWRENCE N MOEHRING                              5196 PETERSBURG RD                                                                              PETERSBURG      KY    41080‐9349
LAWRENCE N SCHAEFFER                             3572 E CLARKSTON ROAD                                                                           OAKLAND         MI    48363‐1930
LAWRENCE N SHANANAQUET                           490 CLOVER RDG AVE NW                  APT 45                                                   GRAND RAPIDS    MI    49504‐8025
LAWRENCE N TATTON                                6202 ORMOND RD                                                                                  DAVISBURG       MI    48350‐2903
LAWRENCE N WEITZEL                               11319 HARTEL RD                                                                                 GRAND LEDGE     MI    48837‐9164
LAWRENCE NICHOLS                                 14 MONKS RD                                                                                     FAYETTEVILLE    TN    37334‐6006
LAWRENCE NIX                                     460 HILLCREST DRIVE                                                                             MARION          NC    28752‐3932
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 713 of 855
Name                                           Address1                              Address2             Address3          Address4          City              State Zip

LAWRENCE NOVACCO CUST MATHEW NOVACCO UTMA      16 ALLEN RD                                                                                    BROOKFIELD        CT    06804‐1602
CT
LAWRENCE O BALD                                227 E WASHINGTON ST                                                                            SANDUSKY          OH    44870‐2612
LAWRENCE O DROUILLARD                          209 SUPERIOR                                                                                   SAGINAW           MI    48602‐1922
LAWRENCE O GALLAGHER                           923 KERNON DR                                                                                  BELLEVILLE        IL    62223‐2825
LAWRENCE O RANSOM TOD DOROTHY L RANSOM         7658 E DAYVIEW CIR                                                                             TUCSON            AZ    85750‐6474
SUBJECT TO STA TOD RULES
LAWRENCE O RICHARDSON                          2358 FOREST DR                                                                                 JONESBORO        GA     30236‐4074
LAWRENCE O SWENSON                             17494 DRIFTWOOD LANE                                                                           PARK RAPIDS      MN     56470‐2739
LAWRENCE O TURNER JR                           2349 NE 30TH CT                                                                                LIGHTHOUSE POINT FL     33064‐8132

LAWRENCE O WHALEY                              1100 MEADOW BRANCH ROAD                                                                        WESTMINSTER       MD    21158‐3018
LAWRENCE O'CONNOR                              8020 N INDIAN RIDGE RD                                                                         EAST DUBUQUE      IL    61025‐9656
LAWRENCE OCONNEL CUST STACI OCONNEL UGMA NY    44 AVONDALE ST                                                                                 VALLEY STREAM     NY    11581‐1802

LAWRENCE OCONNELL CUST LORI OCONNELL UGMA NY 44 AVONDALE ST                                                                                   VALLEY STREAM     NY    11581‐1802

LAWRENCE OGLETREE                              1218 ROSSITER DR                                                                               DAYTON            OH    45418‐1964
LAWRENCE OGRADY                                66B AMHERST LN                                                                                 JAMESBURG         NJ    08831‐1548
LAWRENCE P BARCOME                             7935 ANTCLIFF RD                                                                               HOWELL            MI    48843‐9317
LAWRENCE P BLAZINA                             215 E MAIN                                                                                     GIRARD            OH    44420‐2652
LAWRENCE P BURKE                               9501 E HIGHLAND RD                    APT 201                                                  HOWELL            MI    48843‐9077
LAWRENCE P BURROWS & NANCY C BURROWS JT TEN    741 BURNS                                                                                      FLOSSMOOR         IL    60422‐1158

LAWRENCE P CHAVIS                              5900 E THOMAS ROAD H‐109                                                                       SCOTTSDALE        AZ    85251‐7519
LAWRENCE P COMPS                               127 N JOSEPHINE AVE                                                                            WATERFORD         MI    48328‐3741
LAWRENCE P DANFORTH                            2158 FRANCISCO                                                                                 FLUSHING          MI    48433‐2530
LAWRENCE P EHR                                 11241 N ELMS RD                                                                                CLIO              MI    48420‐9447
LAWRENCE P FLANNERY                            2570 KALAKAUA AVE                                                                              HONOLULU          HI    96815‐3663
LAWRENCE P FONCE                               3782 ALLENWOOD SE                                                                              WARREN            OH    44484‐2920
LAWRENCE P FORD                                2734 TIMBER LANE DR                                                                            FLUSHING          MI    48433‐3509
LAWRENCE P HALL                                2 HOLDEN LANE                                                                                  POINT PLEASANT    WV    25550
LAWRENCE P HAUBERT                             BX 253                                                                                         CALEDONIA         OH    43314‐0253
LAWRENCE P HINMAN                              10745 N COOLIOGE AVE                                                                           HARDISON          MI    48625
LAWRENCE P JACOBS                              713 22ND ST                                                                                    WEST DES MOINES   IA    50265‐4803

LAWRENCE P KERR                                78 HORAN RD                                                                                    VESTAL            NY    13850‐5927
LAWRENCE P KRALIK                              3359 HELSEY FOSSELMAN ROAD                                                                     SOUTHINGTON       OH    44470‐9738
LAWRENCE P MARKS                               887 FARMINGTON AVE #6J                                                                         WEST HARTFORD     CT    06119‐1460
LAWRENCE P MARTIN                              96 CORNWALL LANE                                                                               GUILFOR           CT    06437‐1668
LAWRENCE P MARTIN SR                           251 RARITAN                                                                                    SO AMBOY          NJ    08879‐1324
LAWRENCE P MC KEAN & MARTHA C MC KEAN JT TEN   145 PINEVALLEY DRIVE                                                                           ATHENS            GA    30606‐4027

LAWRENCE P MCQUARTER                           2109 GARFIELD ROAD                                                                             PINCONNING        MI    48650‐7471
LAWRENCE P MILLS                               16730 OLE R R RD                                                                               ATLANTA           MI    49709
LAWRENCE P MURPHY & ROBERT L MURPHY JT TEN     PO BOX 1014                                                                                    NOVI              MI    48376‐1014

LAWRENCE P PIGG                                702 LANCASTER DR                                                                               SPRING HILL       TN    37174‐2436
LAWRENCE P QUINLAN                             321 E CURTIS ST                                                                                LINDEN            NJ    07036‐2729
LAWRENCE P SCASNY                              8944 WILDWOOD DRIVE                                                                            HIGHLAND          IN    46322‐1856
LAWRENCE P SCHAFER                             14300 DEXTER TRAIL                                                                             WESTPHALIA        MI    48894
LAWRENCE P SUTHERLAND TR UA SUTHERLAND FAMILY 27619 NE 46TH ST                                                                                CAMAS             WA    98607‐8782
TRUST 07/29/91
LAWRENCE P THOMPSON JR & A SUE THOMPSON JT TEN 1451 DICKERSON BAY                                                                             GALLATIN          TN    37066‐5512

LAWRENCE P ZABIELSKI                           65 BROAD STREET                                                                                WESTFIELD         MA    01085‐2924
LAWRENCE PAPESH                                6221 SOUTH 12TH STREET                                                                         PORTAGE           MI    49024‐1001
LAWRENCE PATRICK LUDLAM                        51 PATTERSON STREET                                                                            EAST WEYMOUTH     MA    02189‐1458
LAWRENCE PAUL MC CREANOR                       9341 PLEASANT CHAPEL RD                                                                        HEATH             OH    43056‐9518
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 714 of 855
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

LAWRENCE PAULUS CUST ALEXIS K PAULUS UGMA MI     47252 WHIPPOORWILL DR                                                                           MACOMB TWP        MI    48044‐2827

LAWRENCE PERRY                                   6228 BEECH VIEW CIR                                                                             CINCINNATI        OH    45213‐1812
LAWRENCE POTESHMAN & ALISE POTESHMAN JT TEN      924 CAROLINE CT                                                                                 DEERFIELD         IL    60015‐3157

LAWRENCE POWELL CUST ELAYNE F POWELL UTMA OH     518 BOWERS CT                                                                                   CIRCLEVILLE       OH    43113‐1175

LAWRENCE PROSSEN & KATHLEEN DELY PROSSEN JT TEN 1698 KINGSTON RD                                                                                 LONGWOOD          FL    32750‐6807

LAWRENCE R AMENDA                                225 HOWLAND AVE                                                                                 ROCHESTER         NY    14620‐3171
LAWRENCE R ARMITAGE                              1028 DOCKSER DR                                                                                 CROWNSVILLE       MD    21032‐1226
LAWRENCE R BANN                                  6433 WOODBURNE CT                                                                               GRAND BLANC       MI    48439‐9476
LAWRENCE R BOREK TR BOREK REVOCABLE LIVING       3060 S WAUKESHA RD                                                                              W ALLIS           WI    53227‐2818
TRUST
LAWRENCE R CAMERON                               2129 SCHLOTTHAUER RD                                                                            MARION            KS    66861‐9144
LAWRENCE R CARMER                                6300 RIDGE ROAD                                                                                 LOCKPORT          NY    14094‐1017
LAWRENCE R CURRY & JACQUELINE CURRY JT TEN       509 WICKSHIRE CIRCLE                                                                            LITITZ            PA    17543‐7669
LAWRENCE R CZECH                                 46036 MICHIGAN AVE                     # 128                                                    CANTON            MI    48188
LAWRENCE R DOTEN                                 RT 3 BOX 70                                                                                     MC GREGOR         MN    55760
LAWRENCE R DOUGLAS                               2711 ALDER CREEK DR N                  APT 4                                                    N TONAWANDA       NY    14120‐1079
LAWRENCE R DOYLE                                 7 SHALLOO ROAD                                                                                  BILLERICA         MA    01821‐5601
LAWRENCE R EGAN                                  7320 POTOMAC                                                                                    CENTERLINE        MI    48015‐1297
LAWRENCE R ELLIOTT & CLAUDIA M ELLIOTT TR UA     6353 LAURA LANE                                                                                 FLINT             MI    48507‐4629
04/01/96
LAWRENCE R FERGUSON                              8 WOODLAND WAY CIRCLE                                                                           GREENVILLE        SC    29601‐3824
LAWRENCE R GATES                                 6263 NE 19 AVE                         BLDG 9 APT 903                                           FORT LAUDERDALE   FL    33308‐1325

LAWRENCE R GIBBONS                               141 BEAUMONT DR                                                                                 BATTLE CREEK      MI    49014‐8276
LAWRENCE R GILBRIDE                              451 BRIANTON CT                                                                                 LAWRENCEVILLE     GA    30045‐9454
LAWRENCE R GOIKE                                 1146 LAKE CHEMUNG DR                                                                            HOWELL            MI    48843
LAWRENCE R GREEN                                 1530 KNOB HILL                                                                                  MILFORD           MI    48382‐1916
LAWRENCE R GREEN & MISS DONNA MARIE GREEN JT     1530 KNOB HILL                                                                                  MILFORD           MI    48382‐1916
TEN
LAWRENCE R HANSON & ROBERT E HANSON JT TEN       FINE HILLS RETIREMENT COMMUNITY        APT 225                                                  HOT SPRINGS       SD    57747‐1365

LAWRENCE R HARRIS                                2427 HEATHERSHIRE LANE                                                                          MATTHEWS          NC    28105‐4078
LAWRENCE R HEATH                                 7224 POPLAR RD                                                                                  LAKE TOMAHAWK     WI    54539‐9221
LAWRENCE R HERMAN & CARROLL E HERMAN JT TEN      4240 ALDER RD                                                                                   BETHLEHEM         PA    18020‐7805

LAWRENCE R HOLLAND SR                            227 ONTARIO STREET                                                                              CANANDAIGUA       NY    14424‐1831
LAWRENCE R HUNT & SUE A HUNT JT TEN              6450 MOUNTAIN PEAK CT                                                                           MIDLOTHIAN        TX    76065‐7802
LAWRENCE R JANDERNOA                             R #1 11990 KINLEY ROAD                                                                          FOWLER            MI    48835‐9758
LAWRENCE R JORGENSEN JR                          6547 HUNTERS RDG                                                                                HOLLY             MI    48442‐8857
LAWRENCE R KAISER                                4202 DAWSON                                                                                     WARREN            MI    48092‐4317
LAWRENCE R KENNEDY                               804 FORT MACLEOD TERRACE NE                                                                     LEESBURG          VA    20176
LAWRENCE R KIEWERT & JOANNA KIEWERT JT TEN       41918 N SHERMAN RD                                                                              DEER PARK         WA    99006‐8104

LAWRENCE R KUBICKI                               739 N 83 TERR                                                                                   KANSAS CITY       KS    66112‐1957
LAWRENCE R LAMB                                  617 E WASHINGTON                                                                                FAIRMOUNT         IN    46928‐1852
LAWRENCE R MALEY                                 76 PARKWOOD LANE                                                                                PENFIELD          NY    14526‐1308
LAWRENCE R MALEY & FRANCES L MALEY JT TEN        76 PARKWOOD LANE                                                                                PENFIELD          NY    14526‐1308
LAWRENCE R MARKS                                 19280 PEBBLE BEACH PL                                                                           NORTHRIDGE        CA    91326‐1444
LAWRENCE R MCGOVERN                              35 KENSINGTON CIRCLE                                                                            BELVIDERE         NJ    07823‐1714
LAWRENCE R MCHENRY                               60672 ROCKY RD                                                                                  HODGEN            OK    74939‐3177
LAWRENCE R MCKULLA                               25 LOS CERROS                                                                                   ORINDA            CA    94563‐3802
LAWRENCE R MEUERS                                411 VADNAIS LAKE DR                                                                             SAINT PAUL        MN    55127‐7140
LAWRENCE R MILLS                                 9 ESEK HOPKINS LANE                                                                             CUMBERLAND        RI    02864‐4242
LAWRENCE R MLYNAREK                              28476 BARTON ST                                                                                 GARDEN CITY       MI    48135‐2702
LAWRENCE R MUNDY & WANDA J MUNDY JT TEN          12 ROSEBUD                                                                                      OKEECHOBEE        FL    34974‐9225
                                                 09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 715 of 855
Name                                               Address1                                Address2             Address3          Address4          City               State Zip

LAWRENCE R MURPHY                                  7485 DUTCH RD                                                                                    SAGINAW            MI    48609‐9582
LAWRENCE R MURPHY & CAROL A MURPHY JT TEN          7485 DUTCH RD                                                                                    SAGINAW            MI    48609‐9582

LAWRENCE R NICKERSON                               305 CURIE STREET                                                                                 BEAVER DAM         WI    53916‐2711
LAWRENCE R NIPPLE                                  1108 W 15TH ST                                                                                   BRODHEAD           WI    53520‐1834
LAWRENCE R OLLIFFE                                 03076 LEISURE LN                                                                                 BOYNE CITY         MI    49712‐9265
LAWRENCE R PETE                                    3400 EASTWOOD DR                                                                                 ROCHESTER HLL      MI    48309‐3919
LAWRENCE R PIMENTEL                                1671 BURKHART AVE                                                                                SAN LEANDRO        CA    94579‐1915
LAWRENCE R PIMENTEL & ETHEL M PIMENTEL JT TEN      1671 BURKHART AVE                                                                                SAN LEANDRO        CA    94579‐1915

LAWRENCE R ROOT                                   3830 S LASALLE ST                                                                                 INDIANAPOLIS       IN    46237‐1245
LAWRENCE R SCAGLIONE                              17527 DEERING ST                                                                                  LIVONIA            MI    48152‐3769
LAWRENCE R SCARBOROUGH                            36 CAROL DR                                                                                       POUGHKEEPSIE       NY    12603‐2604
LAWRENCE R SNYDER                                 102 E WILLOW ST                                                                                   PERRY              MI    48872‐8136
LAWRENCE R SNYDER                                 175 CEDAR HILL LANE                                                                               SPRINGBORO         OH    45066‐9761
LAWRENCE R SONNER                                 6880 LONDON GROVEPORT RD                                                                          GROVE CITY         OH    43123‐9629
LAWRENCE R STERPKA                                3781 NEVILLE DR                                                                                   KENT               OH    44240‐6637
LAWRENCE R STILES                                 4590 SR 225                                                                                       DIAMOND            OH    44412‐9717
LAWRENCE R TRIBE                                  13278 WEBSTER                                                                                     BATH               MI    48808‐9454
LAWRENCE R TURNER                                 8400 S STATE ROAD 3                                                                               MUNCIE             IN    47302‐8710
LAWRENCE R VLACH                                  4879 E 95TH ST                                                                                    GARFIELD HTS       OH    44125‐2111
LAWRENCE R WELSH & JUDITH A WELSH JT TEN          1081 HEDDING RD                                                                                   COLUMBUS           NJ    08022‐2093
LAWRENCE R WESSON                                 616 FAIRGREEN AVE                                                                                 YOUNGSTOWN         OH    44510‐1426
LAWRENCE R ZIGLER JR                              2688 MORENO DRIVE                                                                                 LANSING            MI    48911‐6460
LAWRENCE RANISZESKI & BARBARA J RANISZESKI JT TEN 1640 CALIPER                                                                                      TROY               MI    48084‐1407

LAWRENCE RAY                                       8 WOODHOLLOW RD                                                                                  NANTUCKET          MA    02554
LAWRENCE REID                                      2875 WOODS RD                                                                                    BROOKSHIRE         TX    77423‐9047
LAWRENCE RESTUCHER                                 200 MAPLE STREET                        125                                                      BILOXI             MS    39530
LAWRENCE RICHARD PARSONS III                       1620 NORWOOD PLACE                                                                               HENDERSONVILLE     NC    28791‐2332
LAWRENCE RICHARDS                                  PO BOX 68                                                                                        MINONG             WI    54859‐0068
LAWRENCE RIZZUTTI                                  C/O ELIZABETH RIZZUTTI                  505 ASHTON LN                                            NEW CASTLE         DE    19720‐3959
LAWRENCE ROBINSON                                  9 POTOMAC STREET                                                                                 YONKERS            NY    10710‐5312
LAWRENCE ROQUEMORE                                 208 MARTIN LUTHER ST                                                                             COLUMBIA           LA    71418‐3348
LAWRENCE ROSS REMENSNYDER & LINDA S                251 KING MUIR RD                                                                                 LAKE FOREST        IL    60045‐2034
REMENSNYDER JT TEN
LAWRENCE RUFFIN                                    310 EAST LOUISIANA AVENUE                                                                        HAMMOND            LA    70403‐5117
LAWRENCE RYCZKO                                    2341 GREENWOOD LN                                                                                GRAND BLANC        MI    48439‐4386
LAWRENCE S BAYLOCK                                 11 BRYANT AVE                                                                                    ELMSFORD           NY    10523‐2117
LAWRENCE S BLANK                                   10 BONNER CT                                                                                     PENNINGTON         NJ    08534‐5130
LAWRENCE S BROWN                                   72 NORTHVIEW DR                                                                                  S WINDSOR          CT    06074‐3517
LAWRENCE S COPPOCK                                 1809 W 7TH ST                                                                                    ANDERSON           IN    46016‐2503
LAWRENCE S DAVIS                                   169 APPLEGATE DRIVE                                                                              WEST CHESTER       PA    19382‐5587
LAWRENCE S FACELLI                                 605 FERNDALE DR                                                                                  ROCK HILL          SC    29730‐3813
LAWRENCE S GEORGE & MARY GEORGE TEN ENT            14 BROOKDALE DR                                                                                  DOYLESTOWN         PA    18901‐5074
LAWRENCE S HENDRICKSON                             NEWARK ROAD P O BOX 56                                                                           LANDENBERG         PA    19350‐0056
LAWRENCE S HOFFMAN & JOYCE M HOFFMAN JT TEN        8241 W 30 MILE RD                                                                                HARRIETTA          MI    49638‐9701

LAWRENCE S JACOBS                                  14346 CHESTERFIELD ROAD                                                                          ROCKVILLE          MD    20853‐1923
LAWRENCE S JASINSKI                                4591 SINGH DR                                                                                    STERLING HEIGHTS   MI    48310‐5197

LAWRENCE S KACALA                                  43099 FERNWOOD DR                                                                                CANTON             MI    48187‐3310
LAWRENCE S KAILIMAI & HESTER D KAILIMAI JT TEN     25821 TELEGRAPH RD LOT 61                                                                        BROWNSTOWN         MI    48134‐1059

LAWRENCE S KEEN                                    2983 MATLOCK OLD UNION RD                                                                        BOWLING GREEN      KY    42104‐7412
LAWRENCE S KRYNSKI                                 10941 62ND ST                                                                                    LA GRANGE          IL    60525‐7301
LAWRENCE S LOCKSHIN                                84 POINT W DR                           WINNIPEG MB                            R3T 5N9 CANADA
LAWRENCE S MIEREK & CYNTHIA MIEREK JT TEN          8485 CARMICHAEL HILL RD                                                                          WESTERNVILLE       NY    13486‐2009
LAWRENCE S MURRAY                                  822 97TH ST OCEAN                                                                                MARATHON           FL    33050‐3316
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 716 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

LAWRENCE S PINSON                               7712 S MONITOR                                                                                  BURBANK         IL    60459‐1243
LAWRENCE S PROVINCE                             ROUTE 8 25 LAKE DR                                                                              PARKERSBURG     WV    26101‐9240
LAWRENCE S RISIO                                1287 94TH STREET                                                                                NIAGARA FALLS   NY    14304‐2610
LAWRENCE S SCHWARTZ                             7 OAKLAND RD                                                                                    MAPLEWOOD       NJ    07040‐2224
LAWRENCE S SHANNON                              14631 ELBA CT                                                                                   DALE CITY       VA    22193‐2618
LAWRENCE S STEC                                 2492 22ND ST                                                                                    WYANDOTTE       MI    48192‐4430
LAWRENCE S TOWNSEND                             148‐45 87TH RD                                                                                  JAMAICA         NY    11435‐3113
LAWRENCE S TROPP & CAROL TROPP JT TEN           6604 W 163RD PLACE                                                                              TINLEY PARK     IL    60477‐1716
LAWRENCE S WASIK & MARY E WASIK JT TEN          23514 OUTER DR                                                                                  ALLEN PARK      MI    48101‐3128
LAWRENCE S YELLIN & MISS SUSAN YELLIN JT TEN    303 LAWNDALE                                                                                    AURORA          IL    60506‐3132
LAWRENCE SAFFOLD                                5875 OCEAN VIEW DR                                                                              OAKLAND         CA    94618‐1534
LAWRENCE SANSONE CUST GREGORY SANSONE UGMA 13802 SHAVANO WIND                                                                                   SAN ANTONIO     TX    78230
NY
LAWRENCE SANSONE CUST MATTHEW SANSONE UGMA 13802 SHAVANO WIND                                                                                   SAN ANTONIO     TX    78230
NY
LAWRENCE SANSONE CUST TIMOTHY SANSONE UGMA 13802 SHAVANO WIND                                                                                   SAN ANTONIO     TX    78230
NY
LAWRENCE SASSO                                  379 RACEBROOK RD                                                                                ORANGE          CT    06477‐3142
LAWRENCE SAVAGE                                 4731 EAST 34TH ST                                                                               INDIANAPOLIS    IN    46218‐2365
LAWRENCE SCHIAVONE                              PO BOX 590                                                                                      NEWFIELD        NJ    08344‐0590
LAWRENCE SCHRAMSKI                              6830 DICKSON DR                                                                                 GRAND LEDGE     MI    48837‐9121
LAWRENCE SCINTO                                 4311 KATHLEEN LN                                                                                OAK LAWN        IL    60453‐5749
LAWRENCE SCOTT RISKEY                           3815 SE 132 AVE                                                                                 PORTLAND        OR    97236
LAWRENCE SELIGMAN                               3436 CLAY ST                           APT 4                                                    SAN FRANCISCO   CA    94118‐2041
LAWRENCE SHAPIRO                                10591 CASTINE AVE                                                                               CUPERTINO       CA    95014‐1310
LAWRENCE SHUGARS                                1185 TANAGER LN                                                                                 KALAMAZOO       MI    49009‐2847
LAWRENCE SIEGEL & ARLENE S SIEGEL JT TEN        11 HIGHET AVE                                                                                   WOBURN          MA    01801‐2407
LAWRENCE SILVA                                  PO BOX 1210                                                                                     PAHRUMP         NV    89041‐1210
LAWRENCE SIMMONS                                26269 ROSS                                                                                      INKSTER         MI    48141‐3259
LAWRENCE SLYWKA                                 351 HERITAGE PLACE SW                  CALGARY AB                             T3Z 3P3 CANADA
LAWRENCE SPARGIMINO                             6801 W INDUSTRIAL RD                                                                            GUTHRIE         OK    73044
LAWRENCE SPIELBERGER & GRETA SPIELBERGER JT TEN 201 EAST 77TH ST                                                                                NEW YORK        NY    10021‐2069

LAWRENCE SUCHMAN                               1550 MADRUGA AVE                                                                                 CORAL GABLES    FL    33146‐3039
LAWRENCE SUCHOW                                APT 2708                                6 HORIZON ROAD                                           FORT LEE        NJ    07024‐6624
LAWRENCE T COGGINS                             23470 FILMORE                                                                                    TAYLOR          MI    48180‐2341
LAWRENCE T FINLEY                              PO BOX 333                                                                                       HOLLY           MI    48442‐0333
LAWRENCE T FITZPATRICK                         12805 NE 122 TER                                                                                 KEARNEY         MO    64060‐7138
LAWRENCE T LEVINE                              1302 CREAMERY COURT                                                                              FREEHOLD        NJ    07728‐8544
LAWRENCE T LONIGAN CUST JOSEPH A LONIGAN UTMA 210 N MAIN ST                                                                                     LYNDONVILLE     NY    14098‐9601
NY
LAWRENCE T LONIGAN CUST MARY E LONIGAN UTMA    210 N MAIN ST                                                                                    LYNDONVILLE     NY    14098‐9601
NY
LAWRENCE T LONIGAN JR CUST FBO/MARY E LONIGAN 210 N MAIN ST                                                                                     LYNDONVILLE     NY    14098
UGMA NY
LAWRENCE T LONIGAN JR CUST MARY E LONIGAN UTMA 210 N MAIN ST                                                                                    LYNDONVILLE     NY    14098‐9601
NY
LAWRENCE T LOWEREE & MARY ALICE LOWEREE JT TEN 89 BALDWIN AVE                                                                                   POINT LOOKOUT   NY    11569

LAWRENCE T MCDANIEL                             4833 FERN GROVE CT                                                                              GROVEPORT       OH    43125‐9253
LAWRENCE T MINER III                            204 MEADOW BEND ST                                                                              LEAGUE CITY     TX    77573‐4311
LAWRENCE T PIEKNIK                              8678 VALLEY VW                                                                                  S LYON          MI    48178‐9687
LAWRENCE T QUIRLES                              4197 DEVONSHIRE                                                                                 DETROIT         MI    48224‐3635
LAWRENCE T SCRANTON                             74 MEADOWVIEW LANE                                                                              VERNON          CT    06066‐2759
LAWRENCE T SCRANTON CUST MATTHEW L SCRANTON     74 MEADOWVIEW LN                                                                                VERNON ROCKVL   CT    06066‐2759
UGMA CT
LAWRENCE T SCRANTON CUST MEGAN SCRANTON         74 MEADOWVIEW LN                                                                                VERNON ROCKVL   CT    06066‐2759
UGMA CT
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 717 of 855
Name                                             Address1                              Address2                  Address3     Address4          City             State Zip

LAWRENCE T SCRANTON CUST MEGHAN S SCRANTON       74 MEADOWVIEW LN                                                                               VERNON ROCKVL    CT    06066‐2759
UTMA CT
LAWRENCE T SCRANTON CUST MEGHAN SCRANTON         74 MEADOWVIEW LN                                                                               VERNON ROCKVL    CT    06066‐2759
UGMA CT
LAWRENCE T SHEPPARD                              3809 HUNT RD                                                                                   LAPEER           MI    48446‐2958
LAWRENCE T YANDROFSKI JR                         421 E RIDGE ST                                                                                 NANTICOKE        PA    18634‐2914
LAWRENCE TAYLOR                                  129 WESLEY AVE                                                                                 BALTO            MD    21228‐3144
LAWRENCE THOMAS HUBBARD & MRS JOAN P             11 19TH AVE N                                                                                  JACKSONVILLE     FL    32250‐7446
HUBBARD JT TEN                                                                                                                                  BEACH
LAWRENCE THOUIN                                  2777 HILLENDALE                                                                                ROCHESTER        MI    48309‐1924
LAWRENCE TORRES                                  330 CIRCLEWOOD DR                                                                              PARADISE         CA    95969‐5709
LAWRENCE TOTHEROW                                1457 EAGLE BEND ROAD                                                                           BLAIRSVILLE      GA    30512‐1816
LAWRENCE TOWNSEND                                60 FIFE LICK RD                                                                                CLAY CITY        KY    40312‐9636
LAWRENCE TOWNSEND                                1030 UNIONVILLE PEACE RD                                                                       RISON            AR    71665‐9390
LAWRENCE TRAMMELL                                7366 OAKVILLE RD R 1                                                                           MILAN            MI    48160
LAWRENCE TRINKO                                  11079 MARYSVILLE ST                                                                            SPRING HILL      FL    34609‐3738
LAWRENCE TURNER                                  245 LOUISIANA AVE                                                                              ELYRIA           OH    44035‐3428
LAWRENCE V BOVA                                  PO BOX 968                                                                                     BRIGHTON         MI    48116‐0968
LAWRENCE V CARMINE                               42 KENMAR DRIVE                       BROOKSIDE PARK                                           NEWARK           DE    19713‐2421
LAWRENCE V GRANDBERRY                            6708 MANDERLAY DR                                                                              CHARLOTTE        NC    28214‐2837
LAWRENCE V GUARALDI & SHARON A GUARALDI JT TEN   21 BANK ST                                                                                     LEBANON          NH    03766‐1701

LAWRENCE V HAMMEL & MARIANNE HAMMEL TR       27 DUDLEY CT                                                                                       STERLING         VA    20165‐5776
HAMMEL LIVING TRUST UA 04/01/98
LAWRENCE V KENDALL                           C/O HOWARD K WIIST                        1946 COUNTRY CLUB DRIVE                                  BONIFAY          FL    32425‐4603
LAWRENCE V KRZESOWSKI                        21221 RIVER RD                                                                                     GROSS PTE WDS    MI    48236‐1258
LAWRENCE V MC DONALD & MRS KAREN N MC DONALD 4839 IRWINDALE                                                                                     WATERFORD        MI    48328‐2009
JT TEN
LAWRENCE V PULS                              1556 KELLOGG AVENUE                                                                                CORONA           CA    92879‐2915
LAWRENCE V PULS & FLORENCE M PULS JT TEN     1556 KELLOGG AVENUE                                                                                CORONA           CA    92879‐2915
LAWRENCE V ROTH                              403 EAST VIENNA                                                                                    CLIO             MI    48420‐1426
LAWRENCE V SHEAR JR                          4202 OAKLAND CIR                                                                                   ST JOSEPH        MO    64506‐2433
LAWRENCE V VOIGHT                            49 ROSEMEAD LANE                                                                                   CHEEKTOWAGA      NY    14227‐1328
LAWRENCE V WALRAVEN                          474 W RIDGE ROAD                                                                                   BAY CITY         MI    48708‐9188
LAWRENCE VAN DER VLIET                       306 BAYSTONE DR                                                                                    HENDERSONVILLE   NC    28791‐1016
LAWRENCE VAN DER VLIET                       306 BAYSTONE DR                                                                                    HENDERSONVILLE   NC    28791‐1016
LAWRENCE VOLLENWEIDER III                    12251 MONTICETO LANE                                                                               STAFFORD         TX    77477‐1430
LAWRENCE W ARMS                              3352 KLAM RD                                                                                       COLUMBIAVILLE    MI    48421‐9370
LAWRENCE W BATES                             250 PALLSBRIAR PARK SW                    CALGARY AB                             T2V 5H6 CANADA
LAWRENCE W BIERMAN TR JOAN K BIERMAN U‐W     26W050 MARION AVE                                                                                  WHEATON          IL    60187‐1318
LAURA COHEN
LAWRENCE W BOWLES                            2685 BEACON HILL DR                       APT 205                                                  AUBURN HILLS     MI    48326‐3745
LAWRENCE W BOWLES & GLORIA A BOWLES JT TEN   2685 BEACON HILL DR                       APT 205                                                  AUBURN HILLS     MI    48326‐3745

LAWRENCE W BRADFORD                              1412 CALLE FIDELIDAD                                                                           THOUSAND OAKS    CA    91360‐6819
LAWRENCE W BREGAR                                37674 LAUGHLIN RD                                                                              LISBON           OH    44432‐9714
LAWRENCE W BROOKS                                5 HOLLYHOCK WAY                                                                                TRENTON          NJ    08619‐1415
LAWRENCE W BURLING                               2195 PAULSEN DR                                                                                WATERFORD        MI    48327‐1163
LAWRENCE W BURSLEY                               182 E FRANKLIN ST BOX 124                                                                      WOODLAND         MI    48897‐9761
LAWRENCE W DEVINE & FLORENCE DEVINE JT TEN       13800 W 116TH ST                      APT 1403                                                 OLATHE           KS    66062
LAWRENCE W DU BOIS                               7408 CATHEDRAL DR                                                                              BLOOMFIELD       MI    48301
LAWRENCE W ESTES                                 3477 CLARK RD APT 176                                                                          SARASOTA         FL    34231
LAWRENCE W FERRIN & CHRISTINE M FERRIN JT TEN    355 MT VERNON                                                                                  GROSSE POINTE    MI    48236‐3438
                                                                                                                                                FARM
LAWRENCE W GROSS & CATHY GROSS JT TEN            4854 N JACKSON                                                                                 HARRISON         MI    48625‐9749
LAWRENCE W GROVE                                 14724 LEBLANC                                                                                  ALLEN PARK       MI    48101‐1064
LAWRENCE W HAASE & THERESA A HAASE JT TEN        14847 MALLARD DR                                                                               TRAVERSE CITY    MI    49686‐8583
LAWRENCE W HANCOCK                               9248 BLUEWATER HWY                                                                             PEWAMO           MI    48873‐9711
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 718 of 855
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

LAWRENCE W HEMENWAY JR EX UW LAWRENCE W           507 SAN PEDRO DR                                                                               CHESAPEAKE        VA    23322‐8022
HEMENWAY SR
LAWRENCE W HENKE                                  3170 ALCO                                                                                      WATERFORD         MI    48329‐2202
LAWRENCE W HILL                                   4155 E BLUE RIDGE RD                                                                           SHELBYVILLE       IN    46176‐5000
LAWRENCE W HILLPOT                                420 OAK CV                                                                                     COLLIERVILLE      TN    38017‐1739
LAWRENCE W HIRSCHLER & JANET N HIRSCHLER JT TEN   1727 LAKESIDE DR                      UNIT B                                                   CHAMPAIGN         IL    61821‐5591

LAWRENCE W HOLT                                   3242 SAPPHIRE LN                                                                               FORT GRATIOT     MI     48059‐4232
LAWRENCE W I'ANSON III                            214 WEST RD                                                                                    PORTSMOUTH       VA     23707‐1224
LAWRENCE W JOHNSON                                115 E JOPLIN ST                                                                                BENTON           IL     62812‐2021
LAWRENCE W KANGAS                                 1321 HARDROCK DR                                                                               LK HAVASU CTY    AZ     86404‐1436
LAWRENCE W KANSERSKI                              9109 DANIELS RD                                                                                SEVILLE          OH     44273‐9525
LAWRENCE W KULL                                   3 GILBERT LN                                                                                   OCEAN CITY       NJ     08226‐2640
LAWRENCE W LIETZ & JANET A LIETZ JT TEN           28642 AUDREY                                                                                   WARREN           MI     48092‐2380
LAWRENCE W LOCKE                                  1111 S MAIN ST                                                                                 EATON RAPIDS     MI     48827‐1735
LAWRENCE W LOTHERY JR                             234 HARRIET STREET                                                                             ROMEO            MI     48065‐4751
LAWRENCE W MANDZIUK                               16151 CADBOROUGH                                                                               CLINTON TOWNSHIP MI     48038‐2741

LAWRENCE W MC MANN & MRS PATRICIA A MC MANN       8340 EAST APAACG PLUME DRIVE                                                                   GOLD CANNON       AZ    85218‐2012
JT TEN
LAWRENCE W MOORE                                  6606 BOULEVARD VW                     APT C2                                                   ALEXANDRIA        VA    22307‐6636
LAWRENCE W MUMA & HELEN A MUMA JT TEN             18894 BEVERLY RD                                                                               BEVERLY HILLS     MI    48025‐4014
LAWRENCE W NISBET JR                              2424 W TAMPA BAY BLVD UNIT M‐208                                                               TAMPA             FL    33607‐1336
LAWRENCE W NUTT                                   4014 PACKARD ST                                                                                PARKERSBURG       WV    26104‐1422
LAWRENCE W ORANGE                                 4947 WEST DEBORAH STREET                                                                       INDIANAPOLIS      IN    46224‐2470
LAWRENCE W PATTERSON                              1322 WAHINIWAY ROUTE 2                                                                         GALVESTON         TX    77554‐6197
LAWRENCE W PHILLIPS                               2727 EPSILON TRAIL                                                                             FLINT             MI    48506‐1846
LAWRENCE W PHILLIPS & GAIL M PHILLIPS JT TEN      2727 EPLISON TR                                                                                FLINT             MI    48506‐1846
LAWRENCE W ROCKWELL                               19 COULTER ROAD                                                                                CLIFTON SPRINGS   NY    14432‐1175
LAWRENCE W ROWE JR                                141 ROUTE 103 A                                                                                NEW LONDON        NH    03257‐4407
LAWRENCE W ROWE JR & MARLENE C ROWE JT TEN        1008 DEERFIELD DR                                                                              ELIZABETH         PA    15037‐2236

LAWRENCE W ROWLETT                           PO BOX 552                                                                                          SOUTH BELOIT      IL    61080‐0552
LAWRENCE W SCHODOWSKI & SANDRA A SCHODOWSKI 4740 FLAMINGO PL                                                                                     TOLEDO            OH    43623‐3737
JT TEN
LAWRENCE W SHACKLETT                         38025 CIRCLE DRIVE                                                                                  MT CLEMENS        MI    48045‐2814
LAWRENCE W SMITH                             3622 WYNBROOKE CIR                                                                                  LOUISVILLE        KY    40241‐3054
LAWRENCE W SOUTHERLAND                       440 MEYERSON WAY                                                                                    WHEELING          IL    60090‐2102
LAWRENCE W WATSON                            407 W RUTH                                                                                          FLINT             MI    48505‐2641
LAWRENCE W WOOD                              113 PINEBROOK DR                                                                                    HYDE PARK         NY    12538‐1856
LAWRENCE WALCZAK                             16816 GLENMOOR BLVD                                                                                 MACOMB            MI    48044
LAWRENCE WAYNE WILBUR                        9297 MOUNT MORRIS ROAD                                                                              FLUSHING          MI    48433‐9216
LAWRENCE WEISMAN                             3015 PORTSMOUTH                                                                                     TOLEDO            OH    43613‐4105
LAWRENCE WESLEY KENNEY & DOLORES JEAN KENNEY 1005 E IRONWOOD COUNTRY                    CLUB DRIVE                                               NORMAL            IL    61761‐5236
JT TEN
LAWRENCE WIENER & JUDITH WIENER TEN ENT      3981 N 32 TER                                                                                       HOLLYWOOD         FL    33021‐2022
LAWRENCE WILLIAM ADAMS                       ATTN SANDRA OUDERKIRK                      P O BOX 72                                               CHASE MILLS       NY    13621
LAWRENCE WILLIAM BUSER                       1466 HARBERT AVE                                                                                    MEMPHIS           TN    38104‐4903
LAWRENCE WILLIAM GROVE JR                    7000 W BETHEL AVENUE                                                                                MUNCIT            IN    47304‐8852
LAWRENCE WILLIAM PELFREY                     4127 E 450 NORTH                                                                                    ALEXANDRIA        IN    46001‐8718
LAWRENCE WOODEN                              8635 KENNEDY RD                                                                                     MUNITH            MI    49259‐9757
LAWRENCE WOODS                               859 MARTINDALE RD                                                                                   VANDALIA          OH    45377‐9798
LAWRENCE X CARTER                            2838 W HURON ST                                                                                     WATERFORD         MI    48328‐3630
LAWRENCE Y SHORNACK                          2011 BRACYRIDGE RD                                                                                  GREENSBORO        NC    27407‐2801
LAWRENCE YELLEN CUST SHARON YELLEN UGMA IL   303 LAWNDALE AVE                                                                                    AURORA            IL    60506‐3132

LAWRENCE YOST                                     1122 MEADOWCREST                                                                               WATERFORD         MI    48327
                                                                                                                                                 TOWNSHIP
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 719 of 855
Name                                              Address1                              Address2             Address3          Address4                 City              State Zip

LAWRENCE YOVANOFF & SUSAN YOVANOFF JT TEN         27 PHAETON DR                                                                                         PENFIELD          NY    14526

LAWRENCE Z GRANTO & ANDREA A GRANTO JT TEN        4211 TIMBERLINE BLVD                                                                                  VENICE            FL    34293‐4262

LAWRENCE ZELLER                                   405 SOUTH 24TH ST                                                                                     LEXINGTON         MO    64067
LAWRENCENE J CURRY                                4101 GRANDVIEW DR                                                                                     FLUSHING          MI    48433‐2365
LAWRIE K GREEN & ROBIN C GREEN JT TEN             1157 SUMMIT DRIVE                                                                                     SHELBYVILLE       KY    40065
LAWRIE R DRENNEN                                  19 MOUNT VERNON ST                                                                                    OXFORD            PA    19363‐1458
LAWSON C FOX JR                                   252 W RUTH AVENUE                                                                                     ROBESONIA         PA    19551‐1422
LAWSON C SHEETS                                   2961 HIGHWAY 11 E                                                                                     TELFORD           TN    37690‐2432
LAWSON D STACY                                    1150 EBENEZER CHURCH RD                                                                               RISING SUN        MD    21911‐2518
LAWSON N CHAPPELL                                 2780 BANKSTONE DR SW                  APT 354                                                         MARIETTA          GA    30064‐4376
LAWSON N KEY CUST KOLLEEN ANNETE KEY UTMA AZ      12821 S MORNINGVIEW                                                                                   DALE              AZ    85641‐9532

LAWSON N KEY CUST KRISTINE S KEY UTMA AZ          3700 S CICELY AVE                                                                                     TUSCON            AZ    85730‐4475
LAWSON N KEY TR LAWSON N KEY TRUST UA 02/22/77    PO BOX 82293                                                                                          PHOENIX           AZ    85071‐2293

LAWSON P CALHOUN JR                               263 VILLAGE PARKWAY                                                                                   MARIETTA          GA    30067‐4063
LAWSON P MOORE                                    375 NW W‐HWY                                                                                          KINGSVILLE        MO    64061‐9116
LAWSON ROBINSON                                   19793 SNOWDEN                                                                                         DETROIT           MI    48235‐1181
LAWSON SMITH LOWREY                               39 OXEN LN                                                                                            BLUFFTON          SC    29910‐4733
LAWSON WESLEY RODGERS                             11944 S 2780 W                                                                                        RIVERTON          UT    84065‐7619
LAWSON WOOD                                       401 HUNTERS WAY                                                                                       SANDUSKY          OH    44870‐7959
LAWSTON THOMPSON                                  PO BOX 544                                                                                            TUSTIN            CA    92781‐0544
LAWTON R COLEMAN                                  19296 WAYAH RD                                                                                        TOPTON            NC    28781‐6554
LAWTON R PINCKNEY JR & IDA S PINCKNEY JT TEN      446 FLAXHILL RD                                                                                       NORWALK           CT    06854‐2314
LAWYER B MILLER                                   3434 E 140 ST                                                                                         CLEVELAND         OH    44120‐4026
LAWYER EPPS JR                                    223 HIGHLAND GARRISON                                                                                 RIDGELAND         MS    39157‐9791
LAYA T KRESSES CUST MARSHALL KRESSES A MINOR      1258 JODY LANE NE                                                                                     ATLANTA           GA    30329‐3520
UNDERTHE LAWS OF GEORGIA
LAYLA LOUTFI CUST LEANNA FARINA LOUTFI LIM UTMA   24400 CUBBERNESS                                                                                      ST CLAIR SHORES   MI    48080‐1076
MI
LAYLA LOUTFI CUST LINDOL LIM UGMA MI              24400 CUBBERNESS                                                                                      ST CLAIR SHORES  MI     48080‐1076
LAYLE E BROOKS                                    405 KEEGAN CT                                                                                         BURLINGTON       KY     41005‐6592
LAYLEN SWEET                                      233 BALTIC ST                                                                                         BROOKLYN         NY     11201‐6403
LAYMAN J MASSEY                                   1085 PRESTON RD                                                                                       MARTINSVILLE     VA     24112‐7359
LAYMAN O WOMACK                                   4236 PASADENA                                                                                         DETROIT          MI     48238‐2657
LAYMON BAILEY & JULIE V BAILEY JT TEN             1819 KING GEORGE LN SW                                                                                ATLANTA          GA     30331‐4913
LAYMON E BRYAN                                    6640 RATLIFF                                                                                          CAMBY            IN     46113‐9229
LAYMON L GREEN                                    24660 ANDOVER                                                                                         DEARBORN HEIGHTS MI     48125‐1602

LAYMOND L WILLIAMS                                70 FOREST TRAIL                                                                                       DANIELSVILLE      GA    30633‐5627
LAYMOND LESLIE HOBBS                              RR 3 SYCAMORE HI                                                                                      ELWOOD            IN    46036‐9803
LAYNE D KIDNEY                                    1135 COUNTRY HIGHLANDS DR                                                                             HUBERTUS          WI    53033‐9671
LAYNE FRANCE                                      1818 S 124TH DR                                                                                       AVONDALE          AZ    85323‐3158
LAYNE L MUNLEY                                    7128 LORD CARRINGTON DR                                                                               GLOUCESTER        VA    23061‐5249
LAYTON GRIER WILSON JR                            10011 PRESTWICH TER                                                                                   IJAMSVILLE        MD    21754‐9625
LAYTON TURNER                                     4249 RANDALL DR                                                                                       HAMILTON          OH    45011‐2356
LAYUNA L MORGAN                                   625 W 6TH ST                                                                                          MONROE            MI    48161‐1569
LAZAR BALIC                                       Z P BIJELA S JOSICA                   BOKA KOTORSKA        SERBIA            REPUBLIC OF MONTENEGRO

LAZAR KORUNOVSKI                                  315 N NATIONAL ST                                                                                     HOWELL            MI    48843‐1710
LAZAR R SION & MARY LOU SION JT TEN               10 WINDHAM RD                                                                                         HUDSON            NH    03051‐3510
LAZARO CARDENAS                                   600 S BRIDGE #919                                                                                     WESLACO           TX    78596
LAZARO RUIZ                                       PO BOX 513                                                                                            E ELMHURST        NY    11369‐0513
LAZARO TAMAYO                                     1562 S W 137 CT                                                                                       MIAMI             FL    33184‐2723
LAZAROS G NEDELKOS                                PO BOX 3854                                                                                           MANSFIELD         OH    44907‐3854
LAZAROS PAPAPETROS                                9431 HAYVENHURST AVE                                                                                  SEPULVEDA         CA    91343‐3625
LAZARUS TRAVIS                                    166 DOVE HILL DR                                                                                      MANHASSET         NY    11030‐4029
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 720 of 855
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

LAZINIA R ALTMAN                                202 RICHLIEU AVE                                                                              NEW CASTLE      PA    16101‐3562
LAZS R KING                                     PO BOX 655                                                                                    NEWMAN          CA    95360‐0655
LCHOOVER CAMPBELL                               536 LITTLE ELK CREEK RD                                                                       OXFORD          PA    19363
LE BERRY JR                                     1620 W SUGAR CREEK RD                                                                         CHARLOTTE       NC    28262‐4946
LE C EARSING                                    40 CLIFTON ROAD                                                                               CLIFTON         NY    14428‐9519
LE C KIVI                                       4117 S HATELY AVE                                                                             ST FRANCIS      WI    53235‐5907
LE GRAN A GRABKE                                409 W JENNY DR                                                                                BAY CITY        MI    48706‐4343
LE GRAND W PERCE 3RD                            232 S RICHARD ST                                                                              BEDFORD         PA    15522‐1741
LE H SHARP                                      5014 WEST BOGART ROAD                                                                         SANDUSKY        OH    44870‐9649
LE M JARRAD                                     3422 MORRISH RD                                                                               SWARTZ CREEK    MI    48473‐9756
LE MILS INC                                     C/O PM GLENNS                        345 E 56TH ST                                            NEW YORK        NY    10022‐3736
LE NGOCOANH DAM                                 451 SPRINGVIEW DR                                                                             ROCHESTER       MI    48307‐1737
LE ORA M BOYLE                                  11109 BARE DR                                                                                 CLIO            MI    48420
LE ROY A CHAPIN JR & PATRICIA J CHAPIN JT TEN   563 SMITHFIELD PL                                                                             THE VILLAGES    FL    32162‐3316
LE ROY A LODER CUST JAMES A LODER UGMA ND       48 PAR LA VILLE ROAD                 SUITE 763            HAMILTON HM 11    BERMUDA
LE ROY BERT SHAW                                813 W FRIAR TUCK                                                                              HOUSTON         TX    77024‐3639
LE ROY D FROMWILLER                             3720 N HOOVER AVE                                                                             GLADWIN         MI    48624‐7300
LE ROY G RONAN                                  3453 SPRUCE ST                                                                                JANESVILLE      WI    53546‐1113
LE ROY H HARTMANN                               814 THE CIR                                                                                   LEWISTON        NY    14092‐2051
LE ROY JOHN LEWANDOWSKI                         8030 W WINSTON WAY                                                                            FRANKLIN        WI    53132‐9019
LE ROY LE BERT                                  1225 HIGHLAND GLEN RD                                                                         WESTWOOD        MA    02090‐2706
LE ROY R WOOLMAN & DELORES J WOOLMAN JT TEN     3310 SE 134TH PL                                                                              BELLEVIEW       FL    34420‐5646

LE ROY T SEGNITZ & LYNDALL D SEGNITZ JT TEN     1104 MYRTLE AVE                                                                               WATERFORD       MI    48328‐3834
LE ROY W HAYNES                                 419 PEARL ST                                                                                  WOOSTER         OH    44691‐2921
LE ROY W NYLANDER                               2906 BRYANT AVE N                                                                             MINNEAPOLIS     MN    55411‐1439
LE THANG                                        2931 23RD AVE                                                                                 OAKLAND         CA    94606‐3505
LE TRAN                                         135 STEEPLECHASE DR                                                                           DOYLESTOWN      PA    18901
LE VERN P GAFFNEY                               PO BOX 6904                                                                                   SANTA BARBARA   CA    93160‐6904
LEA A COLEY                                     1108 COPPERFIELD DR                                                                           EDMOND          OK    73003‐6185
LEA ANN GEORGE CUST AMANDA JANE GEORGE UGMA     ATTN LEA ANN HAYES                   408 CARPENTER ROAD                                       DEFIANCE        OH    43512‐1721
OH
LEA ANN GEORGE CUST STACY LEA GEORGE UGMA OH    408 CARPENTER ROAD                                                                            DEFIANCE        OH    43512‐1721

LEA ANN GEORGE CUST STEVEN M GEORGE UGMA OH     3321 BURBANK DR                                                                               ANN ARBOR       MI    48105‐1514

LEA ARMSTRONG DRELL                             708 HAVEN LANE                                                                                JOLIET          IL    60435‐2996
LEA D WOLFGANG                                  185 MENDON STREET                                                                             BLACKSTONE      MA    01504‐1208
LEA DORA L MC INTYRE                            10479 RENEE DR                                                                                CLIO            MI    48420‐1925
LEA FOSS MARSHALL                               4465 BULL MOUNTAIN RD                                                                         STUART          VA    24171
LEA G PERLITZ                                   PO BOX 1499                                                                                   BOERNE          TX    78006
LEA K WALLACE CUST EVAN A WALLACE               2313 HABERSHAM DR                                                                             MARIETTA        GA    30064
LEA L DODDS                                     3484 SONORA WAY                                                                               GENESEO         NY    14454‐9316
LEA M GUARASCI                                  3337 MASION WAY                                                                               COLUMBUS        OH    43221
LEA MC GOVERN BOYER                             1701 N KENT ST APT 201                                                                        ARLINGTON       VA    22209
LEA PISACANE                                    108‐24 67TH DR                                                                                FOREST HILLS    NY    11375‐2946
LEA SINGER                                      67 HOWARD ST #511                                                                             VINELAND        NJ    08360‐4831
LEABURT A ANDERSON                              469 ARNETT BLVD                                                                               ROCHESTER       NY    14619‐1101
LEAGIE G KINDRED                                214 WINDING WA                                                                                BATTLE CREEK    MI    49014‐4421
LEAH A TURNER                                   9129 RIVERSIDE DRIVE                                                                          GRAND LEDGE     MI    48837
LEAH ALLEN HUGO                                 PO BOX 93                                                                                     NEW ALBANY      PA    18833‐0093
LEAH B MISIOLEK                                 133 GREENFIELD OVAL                                                                           WARREN          OH    44483‐1100
LEAH B MURPHY                                   13305 HARTLIEN DRIVE                                                                          WARREN          MI    48093‐1339
LEAH BETH WYLDE                                 12300 JEFFREYS PLACE                                                                          ROLLA           MO    65401
LEAH BLUMENFELD TR LEAH BLUMENFELD REVOCABLE    3030 PARK AVE APT 6 N 4                                                                       BRIDGEPORT      CT    06604‐1180
TRUST UA 5/23/97
LEAH BROOKS                                     121 WAUGH AVE                                                                                 NEW WILMINGTON PA     16142‐1207

LEAH C ABBOTT                                   182 CEDAR ST                                                                                  E BRIDGEWATER   MA    02333‐1633
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 721 of 855
Name                                            Address1                                Address2              Address3         Address4          City               State Zip

LEAH CEPERLEY                                  1524 STONEHENGE RD                                                                                CHARLESTON         WV    25314‐1660
LEAH D LEPERE                                  3363 MONTE HERMOSO                       APT 2D                                                   LAGUNA WOODS       CA    92637‐2964
LEAH DRELL CUST MURRAY ARMSTRONG DRELL UTMA IL 19838 BEACHCLIFF BLVD                                                                             ROCKY RIVER        OH    44116‐1617

LEAH DUNAIEF CUST DANIEL HARRIS DUNAIEF UGMA NY BOX 2842                                                                                         SETAUKET           NY    11733‐0864

LEAH E EGEMO                                    35621 IMPALA DR                                                                                  STERLING HEIGHTS   MI    48312‐3961

LEAH E HUDSON                                   631 S RADEMACHER ST                                                                              DETROIT            MI    48209‐3055
LEAH E ROBBINS                                  2344 SALTVILLE HIGHWAY                                                                           SALTVILLE          VA    24370‐4056
LEAH G DUNSTAN                                  695 RABBIT BRANCH RD                                                                             SHELBYVILLE        TN    37160‐6954
LEAH G KEILSOHN CUST WILLIAM A KEILSOHN UTMA MD 3718 MONITOR PLACE                                                                               OLNEY              MD    20832‐2248

LEAH GAYNOR                                     1255 NE 171 TER                                                                                  NORTH MIAMI        FL    33162‐2755
                                                                                                                                                 BEACH
LEAH GRIFFIN                                    6514 BRAMBLE AVE                                                                                 CINCINNATI         OH    45227‐3030
LEAH J KITCHEN                                  895 RANDALWOOD DR                                                                                MANSFIELD          OH    44906‐1778
LEAH J MCMAKEN                                  8030 MEADOWBROOK LN                                                                              ORLAND PARK        IL    60462‐4973
LEAH J PITTONI                                  31 LOCUST ST                                                                                     GARDEN CITY        NY    11530‐6331
LEAH J REUSCHE                                  6078‐A ESSEX HOUSE SQUARE                                                                        ALEXANDRIA         VA    22310‐4318
LEAH JANE WEBSTER BOATRIGHT                     4605 LASSEN CT                                                                                   FORT WORTH         TX    76132‐2035
LEAH KRINSKY                                    1097 NOWITA PL                                                                                   VENICE             CA    90291
LEAH L FOX                                      536 SPRUCE DR                                                                                    NAPERVILLE         IL    60540‐7233
LEAH M BIRGE & DONALD L BIRGE JT TEN            1110 TARA STREET                                                                                 SAVANNAH           GA    31410‐1840
LEAH M GRAY                                     221 UPPER PIKE CREEK RD                                                                          NEWARK             DE    19711‐5955
LEAH M HOFFMAN                                  2065 BECKEWITH TRAIL                                                                             O'FALLON           MO    63366‐8577
LEAH M MACKNIGHT & ALEXANDER D MACKNIGHT JT     17 RANSOM ROAD                                                                                   FRAMINGHAM         MA    01702‐5624
TEN
LEAH M MURRAY                                   931 SUMPTER                                                                                      BELLEVILLE         MI    48111‐2910
LEAH M NOLTE                                    235 VERSAILLES RD                                                                                ROCHESTER          NY    14621‐1422
LEAH MEGAN REVELLE HALL                         14 HAROLD PLACE                         OTTAWA ON                              K1Z 7N5 CANADA
LEAH N HECZKO                                   1575 JOHN KNOX DR                       APT P104                                                 COLFAX             NC    27235‐9678
LEAH R BALMER                                   4 CAROLINE DRIVE                                                                                 BROCKPORT          NY    14420‐1202
LEAH R CERANKOWSKI                              42 MACALESTER RD                                                                                 PUEBLO             CO    81001
LEAH R MCMICHAEL                                4608 N COUNTY RD 400 E                                                                           CENTER POINT       IN    47840‐8106
LEAH R MINGE                                    5111 W WILSON RD                                                                                 CLIO               MI    48420‐9461
LEAH R TEVES                                    327 GOLF COURSE PKWY                                                                             DAVENPORT          FL    33837‐5523
LEAH RODEBAUGH                                  503 E EDGEWOOD BLVD                     APT 416                                                  LANSING            MI    48911‐5905
LEAH S ROBERTSON                                41 WOODMONT ST                                                                                   PORTLAND           ME    04102
LEAH SCHWARTZ                                   8333 E JOSHUA TREE LN                                                                            SCOTTSDALE         AZ    85250‐4809
LEAH T LE BARON                                 4120 FAIR OAKS BLVD                                                                              SACRAMENTO         CA    95864‐7221
LEAH TILLA HALBERTAM                            1631 53RD ST                                                                                     BROOKLYN           NY    11204‐1421
LEAH UGELOW TR UA 05/21/92 LEAH UGELOW TRUST    UNIT 188 E                              15450 PEMBRIDGE AVE                                      DELRAY BEACH       FL    33484‐4175

LEAH WEISS CUST HOWARD LAURENCE WEISS UGMA NJ 278 UNDERHILL RD                                                                                   SOUTH ORANGE       NJ    07079‐1333

LEAH WILLIAMSON                                 2200 BROOKWOOD DR                                                                                FT COLLINS       CO      80525‐1904
LEAH WRAY NIEHAUS                               15932 BROOKS MALOTT RD                                                                           MT ORAB          OH      45154‐8721
LEAH Y DOLEMAN                                  287 COBBLESTONE TR                                                                               AVONDALE ESTATES GA      30002‐1231

LEAH Y LAMB                                     8500 NEW HAMPSHIRE AVE                  APT 415                                                  SILVER SPRING      MD    20903‐3341
LEALER B GOREE                                  1429 WALTON ST                                                                                   ANDERSON           IN    46016‐3147
LEALIA W ABRAMS                                 605 NEBRASKA                                                                                     PONTIAC            MI    48341‐2548
LEAMON F JONES JR                               2731 E LARNED                                                                                    DETROIT            MI    48207‐3908
LEAMON JORDAN                                   758 TIMBERWOOD DR                                                                                DAYTON             OH    45430‐1448
LEAMON PERRY JR                                 9190 S PUGSLEY RD                                                                                DALEVILLE          IN    47334‐8980
LEAMON T BRUMLEY JR                             2028 READY AVENUE                                                                                BURTON             MI    48529‐2056
LEANA D ESARY                                   39115 MARISA COURT                                                                               PITTSBURGH         PA    15239‐2374
LEANA RUPE                                      145 BIRCH CT                                                                                     NORTH LIBERTY      IA    52317‐9725
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 722 of 855
Name                                             Address1                            Address2              Address3         Address4          City             State Zip

LEAND WILLIAMS                                   1006 N COLE                                                                                  LIMA             OH    45805‐2002
LEANDER E SMITH II                               766 HUNTERS TRAIL                                                                            KOKOMO           IN    46901‐3839
LEANDER PATTERSON JR                             1497 UPPER MOUNTAIN RD                                                                       LEWISTON         NY    14092‐9738
LEANDER POARCH                                   PO BOX 9122                                                                                  VIRGINIA BEACH   VA    23450‐9122
LEANDER SMITH                                    1127 WESTMORELAND AVE                                                                        LANSING          MI    48915‐2166
LEANDRA J BRENNAN EX EST DANIEL F BRENNAN        2795 CLAIRMOUNT DR                                                                           SAGINAW          MI    48603‐3102
LEANDRO J DE LA TORRIENTE                        106 OXFORD RD                                                                                SAVANNAH         GA    31419‐2717
LEANDRO MORENO                                   2851 W HUMPHREY RD                                                                           ITHACA           MI    48847‐9609
LEANEUL A PARROTTE                               84 1/2 COURT ST                                                                              PLATTSBURGH      NY    12901‐2733
LEANN C MOSBY                                    7025 GRAMPIAN WAY                                                                            INDPLS           IN    46254‐4309
LEANN CARR                                       3717 CANDY CANE DR                                                                           INDIANAPOLIS     IN    46227‐7803
LEANN D RAYBURN                                  1890 E 107TH ST                     APT 1136                                                 CLEVELAND        OH    44106‐2253
LEANN E OLEJNICZAK                               2491 DUNLAP RD                                                                               DUCK RIVER       TN    38454‐3431
LEANN H ODELL & JOY M SIMPSON TEN COM            2601 BLACKMORE                                                                               SAGINAW          MI    48602‐3579
LEANN H STOKOE                                   29 WOOLEY PASTURE RD                                                                         PLYMOUTH         NH    03264‐1321
LEANN HARMS                                      822 BRANDYLEIGH COURT                                                                        FRANKLIN         TN    37069‐8103
LEANN KAYE RECTOR                                515 N TYRONE DRIVE                                                                           MUNCIE           IN    47304‐3138
LEANNA G GENDREAU                                222 BLOSSOM RD                                                                               WESTPORT         MA    02790‐3314
LEANNA RUTH PIPER                                PO BOX 6932                                                                                  LOS OSOS         CA    93412‐6932
LEANNE A KOZACZKA                                91 SUNRISE TERRACE                                                                           BUFFALO          NY    14224
LEANNE A MC COMAS                                2420 WILLOW CREEK COURT                                                                      COOL             CA    95614‐2416
LEANNE ANNETTE GAGLIARDI                         629 CHERRY LAUREL ST                                                                         MINNEOLA         FL    34715‐5708
LEANNE B MURRAY                                  641 FOUR WINDS WAY                  MISSISSAUGA ON                         L5R 3M4 CANADA
LEANNE BRINDLE                                   579 W SIXTH ST                                                                               PERU             IN    46970‐1836
LEANNE GROBAN                                    1718 VIRGINIA RD                                                                             WINSTON‐SALEM    NC    27104‐3253
LEANNE K KUBINSKI CUST CHRISTOPHER ANTHONY       3304 BLANDFORD AVE                                                                           NEW LENOX        IL    60451‐9618
KUBINSKI UTMA IL
LEANNE K STEELE                                  129 GRAFTON STREET                                                                           CHEVY CHASE      MD    20815
LEANNE KENNEDY                                   BOX 2683                            THREE HILLS           ALBERTA CAN AB   T0M 2A0 CANADA
LEANNE M COLLITON                                6047 KENILWORTH ST                                                                           DEARBORN         MI    48126‐2154
LEANNE M GRUBER                                  720 46TH AVE                                                                                 WINONA           MN    55987‐1641
LEANNE M LARKIN                                  1731 TONAWANDA CREEK RD                                                                      AMHERST          NY    14228
LEANNE N SCOPE                                   45244 VANKER                                                                                 UTICA            MI    48317‐5792
LEANNE POFFENBERGER CUST PHILIP J MILLNER UTMA   160 LINCOLN AVE                                                                              YARDLEY          PA    19067‐1304
PA
LEANNE T MARTINSON                               305 W 28TH ST 9C                                                                             NEW YORK         NY    10001‐7929
LEANNETTE VANDERJAGT                             2818 COLTER AVE                                                                              BOZEMAN          MT    59715‐6141
LEANORE R COHEN TR LEANORE R COHEN REV LIVING    7208 MILLWOOD ROAD                                                                           BETHESDA         MD    20817‐6147
TRUST UA 09/08/92
LEAR H PIGG                                      6255 HILHAM RD                                                                               COOKEVILLE       TN    38506‐7230
LEARDREW L JOHNSON                               129 ELMDORF AVE                                                                              ROCHESTER        NY    14619‐1819
LEARNEST LATIMORE                                498 WYOMING                                                                                  PONTIAC          MI    48341‐2561
LEARTRA GORDEY & L C GORDEY JT TEN               1644 NORTHBROOK DR                                                                           LIMA             OH    45805‐1061
LEARY POPE                                       245 S PADDOCK ST                    UNIT 42                                                  PONTIAC          MI    48342‐3182
LEARY Q WOOD & RUTH E WOOD JT TEN                11 STILLWATER RD                                                                             WINTER HAVEN     FL    33881‐2630
LEASLIE L DEFOOR                                 2381 N PARK AVE                                                                              WARREN           OH    44483‐3443
LEASTER JACKSON                                  4800 S CHICAGO BEACH DR             APT 2206S                                                CHICAGO          IL    60615
LEATHA A HUSSER                                  10 ALLOWAY ROAD                                                                              WOODSTOWN        NJ    08098
LEATHA AKINS TEVERBAUGH                          1300 W SILVER SPRING DR                                                                      MILWAUKEE        WI    53209‐4415
LEATHA M KNIGHT                                  12826 HUBBELL AVE                                                                            DETROIT          MI    48227‐2817
LEATHA SUE NORTON                                PO BOX 207                                                                                   NOVICE           TX    79538‐0207
LEATRICE ESTNER OSOFSKY                          28327 SAN NICOLAS DR                                                                         RCH PALOS VRD    CA    90275‐3160
LEATRICE J GLENN                                 30665 HUNTERS DR 1                                                                           FARMINGTON HILLS MI    48334‐1359

LEATRICE J MILLER & GARY L MILLER JT TEN         15820 TERRACE DR                                                                             OAK FOREST       IL    60452‐2949
LEATRICE LAUFGRABEN                              30 WELLINGTON ROAD                                                                           EAST BRUNSWICK   NJ    08816‐1722
LEATRICE R COTTON CUST LINDA L COTTON U/THE MASS ATTN LINDA L NORE                   15635 DONNINGTON DR                                      CHARLOTTE        NC    28277‐1694
U‐G‐M‐A
LEATRICE THOMAS                                  4201 WANSTEAD DR                                                                             HOLT             MI    48842‐2083
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 723 of 855
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

LEATRICE WASHINGTON                                 5170 HICKORY HOLLOW PKWY 221                                                                    ANTIOCH            TN    37013‐3058
LEAUGEAY MC KEAN                                    10500‐H CR 13N                                                                                  SAINT AUGUSTINE    FL    32092‐8954
LEAVI LEWIS                                         4186 N 22ND ST                                                                                  MILWAUKEE          WI    53209‐6704
LEAZA S FERRERIA                                    2558 W SAMPLE                                                                                   FRESNO             CA    93711‐1749
LEBA L FRANK                                        PO BOX 7112                                                                                     LOUISVILLE         KY    40257‐0112
LEBBUS GILBERT                                      2096 HIRAM AND SUDIA RD                                                                         HIRAM              GA    30141
LEBERN R PIERCE                                     1646 N TEMPLE                                                                                   INDIANAPOLIS       IN    46218‐4360
LEBERT J REED                                       RR#4 PO BOX 414 C                                                                               BLOOMFIELD         IN    47424‐9429
LEBERTHA HORNADAY                                   3424 S FELTON ST                                                                                MARION             IN    46953‐4315
LECH MARKOWSKI                                      1846 TURNBERRY CT                                                                               OXFORD             MI    48371‐5951
LECHEE W YOULAND                                    670 OLD STAGE                                                                                   WOOLWICH           ME    04579‐4347
LECLUSTER SHERROD                                   4250 EAST CT                                                                                    MARION             IN    46952‐8617
LEDA GALELLA                                        40 DEPEYSTER ST                                                                                 NORTH              NY    10591‐2704
                                                                                                                                                    TARRYTOWN
LEDA R YATAROLA                                     105 SAINT ALBANS WAY                                                                            PEACHTREE CTY      GA    30269‐6502
LEDA SILVERMAN                                      622 GREENWICH ST                                                                                NY                 NY    10014‐3305
LEDA Y SMITH & MEREDITH P SMITH TR LEDA Y SMITH     2200 NOBEHAR DR                                                                                 VIENNA             VA    22181
TRUST UA 11/26/92
LEDDREW R SMITH                                     712 E STATE ST                                                                                  CASSOPOLIS         MI    49031‐1136
LEDELL CASTLEBERRY                                  1551 OLD CHATHAM DR                                                                             BLOOMFIELD HILLS   MI    48304‐1041

LEDFORD POWELL                                      64 COUNTY RD 2050N                                                                              SPRINGERTON        IL    62887‐2200
LEDFORD TAYLOR                                      160 OLD MAPLE CR RD                                                                             WILLIAMSBURG       KY    40769‐9208
LEDIA H LINDSAY                                     4456 SUMMER WALK CT                                                                             JACKSONVILLE       FL    32258‐1454
LEDRESTER BURTON                                    3117 SYLVAN ST                                                                                  STERLING HEIGHTS   MI    48310‐3084

LEDREW G BUSH                                       2032 HURSTVIEW DR                                                                               HURST              TX    76054‐2929
LEE A ALLEN                                         3403 WILLIAMS ST                                                                                INKSTER            MI    48141‐3606
LEE A BARKER                                        401 TAMMY STREET SW                                                                             DECATUR            AL    35603‐1603
LEE A BASIL CUST JOSEPH FRANCIS BASIL III UGMA NY   8851 FEDDICK RD                                                                                 HAMBURG            NY    14075‐7042

LEE A BEYREIS & DOLORES BEYREIS JT TEN              1512 N 82ND TERR                                                                                KANSAS CITY        KS    66112‐1707
LEE A BICKLEY                                       1371 SUPERIOR AVE                                                                               AKRON              OH    44307‐1153
LEE A BURGESS                                       9919 EAST MOLLER ROAD                                                                           DURAND             MI    48429‐9453
LEE A CARMON                                        465 SNAPFINGER DR                                                                               ATHENS             GA    30605‐4436
LEE A CROSS                                         133 BLUE BELL DR                                                                                EATON              OH    45320‐2297
LEE A DAVIS                                         327 REDBUD RD                                                                                   EDGEWOOD           MD    21040‐3529
LEE A DOUGHERTY                                     7281 N OAK RD                                                                                   DAVISON            MI    48423‐9373
LEE A FERRETTI                                      930 HAWKSBRIDGE RD                                                                              SALEM              NJ    08079‐4503
LEE A FRANKS                                        955 ELMIRA ST                                                                                   MOBILE             AL    36604
LEE A HAGELBARGER                                   1155 CHEVY LN                                                                                   PIQUA              OH    45356‐8559
LEE A HART                                          3529 VICTOR                                                                                     ST LOUIS           MO    63104‐1735
LEE A HATHCOCK                                      1651 TEGGERDINE RD                                                                              WHITE LAKE         MI    48386‐1746
LEE A HUFF                                          714 PINE RIDGE RD                                                                               MEDIA              PA    19063‐1720
LEE A JACKSON TR UA 03/17/90 L & H JACKSON TRUST    6434 LOGAN AVE SO                                                                               MINNEAPOLIS        MN    55423‐1155

LEE A KANE                                          1010 BRANDON CIR                                                                                EATON RAPIDS       MI    48827‐9362
LEE A KAPPLER                                       29704 BRETTON                                                                                   LIVONIA            MI    48152‐1873
LEE A KEISER                                        600 ELKINFORD                                                                                   WHITE LAKE         MI    48383‐2927
LEE A KLUZ & GRETCHEN G KLUZ JT TEN                 10530 WESTON AVE                                                                                RINGLE             WI    54471
LEE A KNIGHTON                                      6407 TERESE TERR                                                                                JAMESVILLE         NY    13078‐9481
LEE A KROENER & MRS EILEEN M KROENER JT TEN         38003 WOODCREST                                                                                 MT CLEMENS         MI    48036‐4055
LEE A LARNER                                        2301 ROLF RD                                                                                    MASON              MI    48854‐9252
LEE A LEAVY                                         1830 HELEN                                                                                      DETROIT            MI    48207‐3600
LEE A LEWIS                                         345 HANGING MOSS CR                                                                             JACKSON            MS    39206‐4602
LEE A LODGE                                         624 PINE BLUFF RD                                                                               SALISBURY          MD    21801‐6725
LEE A MUNDY                                         11371 WHITE LAKE RD                                                                             FENTON             MI    48430‐2481
LEE A PETERS                                        12760 20 MILE RD                                                                                TUSTIN             MI    49688‐8692
LEE A PRATT                                         33144 FOREST ST                                                                                 WAYNE              MI    48184
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 724 of 855
Name                                              Address1                              Address2                Address3       Address4          City            State Zip

LEE A REED                                        207 DODGE ST                                                                                   DANVILLE        IL    61832‐2203
LEE A ROBERSON                                    1975 PROVIDENCE OAKS ST                                                                        ALPHARETTA      GA    30004‐6807
LEE A RUSSELL                                     5380 GERMANTOWN LIBERTY RD                                                                     GERMANTOWN      OH    45327‐9653
LEE A SCHAEFER                                    5373 SOUNDVIEW AVE                                                                             ST AUGUSTINE    FL    32080‐7238
LEE A SKYLES                                      11004 QUIRK RD                                                                                 BELLEVILLE      MI    48111‐1238
LEE A SKYLES & HELEN L SKYLES JT TEN              11004 QUIRK ROAD                                                                               BELLEVILLE      MI    48111‐1238
LEE A SPARKS                                      2020 E PARK ROW                                                                                ARLINGTON       TX    76010‐4762
LEE A STONE                                       98 L L SELLES RD                                                                               HAZLE HURST     GA    31539‐7948
LEE A STOUSE                                      656 MAXFIELD RD                                                                                BRIGHTON        MI    48114‐9649
LEE A THON                                        4028 18TH ST                                                                                   WYANDOTTE       MI    48192‐6921
LEE A TURNER                                      3239 N DETROIT AVENUE                                                                          TOLEDO          OH    43610‐1042
LEE A TWYMAN                                      GENERAL DEIVERY                                                                                LOCUST DALE     VA    22948
LEE A TYREE                                       5520 HIGHWAY 9 S                                                                               SALEM           AR    72576‐9462
LEE A VALENTINO                                   23 PEBBLE ROAD                                                                                 POOLER          GA    31322‐9000
LEE A VISCI                                       1873 VINSETTA BLVD                                                                             ROYAL OAK       MI    48073‐3969
LEE A WILLIAMS                                    1355 WOODSIDE                                                                                  SAGINAW         MI    48601‐6658
LEE AARON                                         29 GRRENBROOK RD                                                                               FAIRFIELD       NJ    07004
LEE ALAN GILROY                                   1209 SILVERLEAF COURT                                                                          NASHVILLE       TN    37221‐3346
LEE ALAN SLOTKIN                                  1553 STATE ROUTE 27 SUITE 3800                                                                 SOMERSET        NJ    08873‐3993
LEE ALLERMAN                                      33 PEARL PL                                                                                    BUTLER          NJ    07405‐1442
LEE AMBLER DOUGLAS                                22 ORTON LN                                                                                    WOODBURY        CT    06798‐2710
LEE ANDREW TOWNES JR & MRS CAROLYN TOWNES JT      BOX 279                                                                                        CHICAGO         IL    60690‐0279
TEN
LEE ANDREW WILLIAMS                               1465 NORTH CORNELL                                                                             FLINT           MI    48505‐1116
LEE ANIE COLLINS                                  20230 WESTMORELAND RD                                                                          DETROIT         MI    48219‐1452
LEE ANN COBURN CUST ERIN RACHAEL COBURN UTMA      15657 UNION CHURCH RD                                                                          FELTON          PA    17322‐8107
MD
LEE ANN COBURN CUST MELISSA JEAN COBURN UTMA      15657 UNION CHURCH RD                                                                          FELTON          PA    17322‐8107
MD
LEE ANN GRAHAM                                    1000 N 19TH STREET                                                                             ELWOOD          IN    46036‐1360
LEE ANN HUSFELDT                                  118 N 3RD ST                                                                                   GENEVA          IL    60134‐2231
LEE ANN KOZAK                                     193 BARBER LOOP                                                                                MOORESVILLE     NC    28117‐5900
LEE ANN KRAL                                      ATTN LEEANNE KRAL MCLEAN              54 CHAMBERLAIN AVE                                       LITTLE FERRY    NJ    07643‐1830
LEE ANN LEE                                       228 DEARCOP DR                                                                                 ROCHESTER       NY    14624‐1731
LEE ANN PITCOCK                                   ATTN LEE ANN CORNELISON               245 PRIVATE ROAD 3705                                    BRIDGEPORT      TX    76426‐4853
LEE ANN SMITH                                     4923 CHURCHILL CT                                                                              MUNCIE          IN    47304‐5320
LEE ANN STUTZ                                     12235 PIN OAK DR                                                                               MAGNOLIA        TX    77354‐6254
LEE ANN VOHS                                      49567 SCHOENHERR                                                                               UTICA           MI    48315‐3866
LEE ANN WHITLOW                                   1461 W SILVER BELL RD                                                                          ORION           MI    48359‐1347
LEE B BROWN                                       8235 SNI A BAR RD                                                                              KANSAS CITY     MO    64129
LEE B DURHAM JR & MRS ELIZABETH E DURHAM JT TEN   1021 DAWSON COURT                                                                              GREENSBORO      GA    30642‐4804

LEE B JENNINGS                                    708 N KENILWORTH AVE                                                                           OAK PARK        IL    60302‐1517
LEE B MILLS                                       1116 WENDELL AVE                                                                               YPSILANTI       MI    48198‐3146
LEE B PECK CUST JOEL D PECK UTMA IL               9912 61/2 6 1/2 MILE RD                                                                        CERESCO         MI    49033‐9749
LEE B PECK CUST JONATHAN M PECK UTMA IL           9912 61/2 6 1/2 MILE RD                                                                        CERESCO         MI    49033‐9749
LEE B THOMPSON                                    1020 N OSBORNE AVE                                                                             JANESVILLE      WI    53548‐2350
LEE B TREVINO & CLAUDIA TREVINO TR UA FBO TREVINO 1901 W 47TH PL SUITE 200                                                                       WESTWOOD        KS    66205‐1834
FAMILY TRUST
LEE B YORTON                                      5130 E MT MORRIS RD                                                                            COLUMBIAVILLE   MI    48421‐8999
LEE BARDEN                                        4775 HAVERFORD DR                                                                              FRISCO          TX    75034‐2152
LEE BARTLEY                                       2560 SW 19 TER                                                                                 MIAMI           FL    33145‐2520
LEE BARTOL YOUNGBLOOD                             2116 CANDELERO STREET                                                                          SANTA FE        NM    87505‐5603
LEE BENNINGER                                     2080 PORTZER ROAD                                                                              QUAKERTOWN      PA    18951‐2202
LEE BONNER                                        31312 MARQUETTE                                                                                GARDEN CITY     MI    48135‐3320
LEE BONNER & DANIEL J BONNER & JUAN R GARCIA JT 31312 MARQUETTE                                                                                  GARDEN CITY     MI    48135‐3320
TEN
LEE BOONE JR                                      3600 COPLEY RD                                                                                 BALTIMORE       MD    21215‐7135
LEE BOW HUNG                                      70 BILLINGS ST                                                                                 QUINCY          MA    02171‐1944
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 725 of 855
Name                                            Address1                              Address2              Address3         Address4          City             State Zip

LEE BREWER & CAROL L BREWER JT TEN              1018 BRUSH RUN RD                                                                              WASHINGTON       PA    15301‐7126
LEE BREWER JONES & ALYSE W JONES JT TEN         200 GALESBURG DR                                                                               LAWRENCEVILLE    GA    30044‐4870
LEE BROWN                                       3345 GINGHAMSBURG FREDERICK RD                                                                 TIPP CITY        OH    45371‐8920
LEE BUTLER CUST BRIAN L BUTLER UTMA MO          3801 CORINTH COURT                                                                             SAINT JOSEPH     MO    64506‐3343
LEE C COOK                                      3363 ANADOR ST                                                                                 NORTH PORT       FL    34287‐5456
LEE C DANIELS                                   8524 E 8TH STREET                                                                              REED CITY        MI    49677‐8806
LEE C DAVIS                                     257 HIGH PARK BLVD                                                                             AMHERST          NY    14226‐4271
LEE C DOBLER JR                                 10739 BABCOCK BLVD                                                                             GIBSONIA         PA    15044‐8977
LEE C GALLOWAY                                  7401 ALGONA COURT                                                                              DERWOOD          MD    20855
LEE C GATSON                                    4835 MELDRUM                                                                                   DETROIT          MI    48207‐1337
LEE C HAYNES                                    5343 CLEVELAND AV                     APT 5126                                                 KANSAS CITY      MO    64130‐4009
LEE C JACOBS                                    16737 SAVOIE ST                                                                                LIVONIA          MI    48154‐3321
LEE C LUCAS & BARBARA J LUCAS JT TEN            11613 NATCHEZ                                                                                  WORTH            IL    60482‐2319
LEE C LUTTRELL                                  27741 JOHNSON ST                                                                               GROSSEE ILE      MI    48138‐2016
LEE C NYE                                       10097 RED MAPLE LANE                                                                           SHIPPENSBURG     PA    17257‐8940
LEE C REVIERE                                   313 HIDDEN CREEK CIRCLE                                                                        SPARTANBURG      SC    29306‐6673
LEE C RIDENOUR                                  27 RAYMOND MARCHETTI                                                                           ASHLAND          MA    01721‐1607
LEE C SIEGEL JR                                 5265 NORTH IRISH ROAD                                                                          DAVISON          MI    48423‐8911
LEE C SPEIGHTS                                  5525 BERMUDA LANE                                                                              FLINT            MI    48505‐1074
LEE C TURNER                                    19301 FENELON ST                                                                               DETROIT          MI    48234‐2201
LEE CALDWELL                                    PO BOX 3605                                                                                    WILMINGTON       NC    28406
LEE CARPENTER                                   33 S WASHINGTON AVE                                                                            NIANTIC          CT    06357‐3003
LEE CHAD JAMES                                  350 DUBLIN DR                                                                                  IOWA CITY        IA    52246‐6013
LEE CHARLES PORTER                              4197 MILL VLY                                                                                  BURTON           MI    48519‐2804
LEE CLINTON KEADLE JR                           PO BOX 547                                                                                     WAGENER          SC    29164‐0547
LEE COLLINS                                     603 E EUCLID ST                                                                                DETROIT          MI    48202‐2216
LEE CORBETT                                     505 LARKINS BRIDGE DRIVE                                                                       DOWNINGTOWN      PA    19335‐4544
LEE D ANDERSON                                  2981 N KIMBERLY CT                                                                             DORAVILLE        GA    30340‐4320
LEE D ANDERSON CUST CLAY D ANDERSON UTMA GA     2981 N KIMBERLY CT                                                                             ATLANTA          GA    30340‐4320

LEE D ANDERSON CUST MELANIE R ANDERSON UTMA    2981 N KIMBERLY CT                                                                              ATLANTA          GA    30340‐4320
GA
LEE D ANDERSON CUST PAIGE AYN ANDERSON UTMA GA 2981 N KIMBERLY CT                                                                              ATLANTA          GA    30340‐4320

LEE D ANDERSON CUST TRAVIS L ANDERSON UTMA GA   2981 N KIMBERLY CT                                                                             ATLANTA          GA    30340‐4320

LEE D ANDREWS                                   PO BOX 21472                                                                                   GREENBORO        NC    27420‐1472
LEE D BAGGETT                                   257 SHAW AVE                                                                                   ELSMERE          KY    41018‐2426
LEE D BARDWELL                                  W65 N424 WESTLAWN AVE                                                                          CEDARBURG        WI    53012‐2339
LEE D CAMPBELL                                  16825 RUTHERFORD ST                                                                            DETROIT          MI    48235‐3519
LEE D CAREY                                     216 HUNTER AVE                                                                                 OAKLAND          CA    94603‐2033
LEE D DEBNAM                                    22685 HANDY POINT RD                                                                           CHESTERTOWN      MD    21620‐4018
LEE D HILL                                      33 STEWART STREET                                                                              BROOKLYN         NY    11207‐1829
LEE D KAUFFMAN                                  371 LA GRANGE AVE                                                                              ROCHESTER        NY    14615‐3813
LEE D LEVERING                                  8621 N DUFFER TERRACE                                                                          CITRUS SPRINGS   FL    34434‐4886
LEE D ROULSTON                                  151 ARROYO DR                                                                                  GRANTS PASS      OR    97527‐8703
LEE D VILLERS                                   2684 GRIFFITH DR NE                                                                            CORTLAND         OH    44410‐9655
LEE DALE JOHNSON                                5401 NORGATE DRIVE                                                                             NEW ORLEANS      LA    70127‐2921
LEE DIANE GOLDMAN                               ATTN LEE DIANE KIKEL                  5053 MEADOWRIDGE LN                                      GIBSONIA         PA    15044‐8235
LEE DRABEK & ARLENE DRABEK JT TEN               59 FOREST GATE CIRCLE                                                                          OAK BROOK        IL    60523‐2129
LEE DRECHSLER                                   41 HOLBROOK ST                                                                                 HARPSWELL        ME    04079‐4553
LEE E ADLER & EVELYN ADLER JT TEN               6800 S GRANITE AVE                    APT 415                                                  TULSA            OK    74136‐7044
LEE E ALLGOOD CUST KATHRYN L ALLGOOD UGMA WI    2332 MILL GROVE ROAD                                                                           PITTSBURGH       PA    15241‐2731

LEE E ALLGOOD CUST LAURA L ALLGOOD UGMA WI      2332 MILL GROVE RD                                                                             PITTSBURGH       PA    15241‐2731

LEE E BEECHAM                                   15461 MENDOTA                                                                                  DETROIT          MI    48238‐1036
LEE E BODY                                      17365 ASBURY                                                                                   DETROIT          MI    48235‐3504
LEE E COBB                                      38912 E BONE HILL RD                                                                           SIBLEY           MO    64088‐9668
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 726 of 855
Name                                            Address1                                 Address2             Address3          Address4          City             State Zip

LEE E COLEMAN & LUCIENNE A COLEMAN JT TEN       4307 N E 142ND ST                                                                                 VANCOUVER        WA    98686‐2209
LEE E CORELLA                                   1238 E VOGEL AVE #2                                                                               PHOENIX          AZ    85020‐2298
LEE E CRAIG                                     RR 2 BOX 363                                                                                      ELWOOD           IN    46036‐9614
LEE E CRUMPTON                                  5250 ALTER                                                                                        DETROIT          MI    48224‐2902
LEE E DAVIS                                     230 CAMBRIDGE AVENUE                                                                              BUFFALO          NY    14215‐3734
LEE E EASTMAN                                   3310 WHITESELL RD                                                                                 CULLEOKA         TN    38451‐8047
LEE E ELLIOTT                                   1304 N HICKORY LANE                                                                               KOKOMO           IN    46901‐6425
LEE E ELLWOOD & BETTE J ELLWOOD JT TEN          203 COOK ST                                                                                       DURAND           MI    48429‐1509
LEE E GARDNER                                   1820 ST RT 534                                                                                    SOUTHINGTON      OH    44470‐9525
LEE E GROSSHANS                                 7004 CARLTON LANE                                                                                 PLANO            TX    75025‐3410
LEE E HALLADAY                                  6771 EAST T AVE                                                                                   VICKSBURG        MI    49097‐9321
LEE E HANSEN                                    1331 SOUTH BLVD WEST                                                                              TROY             MI    48098‐1743
LEE E HART                                      269 SORREL TREE PLACE                                                                             OCEANSIDE        CA    92057‐6130
LEE E HENDERSON                                 234 W FEDERAL ST                                                                                  NILES            OH    44446‐5108
LEE E LABROSSE                                  BOX 34                                   181 SHERMAN                                              VERMONTVILLE     MI    49096‐9705
LEE E MASTERS                                   1365 JOY LANE                                                                                     BUTTE            MT    59701‐6910
LEE E MC DANIEL III                             3804 WINDSOR WOODS BOULEVARD                                                                      VIRGINIA BEACH   VA    23452‐2235
LEE E MEADOWS                                   1420 BARDSTOWN TRL                                                                                ANN ARBOR        MI    48105‐2817
LEE E MURRAY                                    1620 TIMBER RIDGE LN                                                                              ROANOKE          TX    76262
LEE E ROBERTS                                   PO BOX 246                                                                                        MILFORD          UT    84751
LEE E SANFORD                                   2312 GREENBUSH PLACE                                                                              SAGINAW          MI    48603‐3841
LEE E SCHNEIDER                                 217 INVERNESS CIRCLE                                                                              CHALFONT         PA    18914‐3919
LEE E SCHRADER & DONNA M SCHRADER JT TEN        644 EAST AVE                                                                                      LOCKPORT         NY    14094‐3304
LEE E SMITH                                     3160 CONNECTICUT ST                                                                               BURTON           MI    48519‐1546
LEE E SPARKS                                    9335 LEE HWY                             APT 114                                                  FAIRFAX          VA    22031‐1826
LEE E STILLABOWER & MARY K STILLABOWER JT TEN   2275 GODFREY AVENUE                                                                               SPRING HILL      FL    34609‐5352

LEE E STOKES                                    1018 SOUTH ST                                                                                     OWOSSO           MI    48867
LEE E THELEN                                    BOX 79 500 W MAIN                                                                                 WESTPHALIA       MI    48894‐0079
LEE E THOMAS                                    5 WILLIAMS                                                                                        MASSENA          NY    13662‐2415
LEE E TYNER                                     925 CUNNINGHAM                                                                                    DANVILLE         IL    61832‐5305
LEE E WALLACE                                   720 LOUNSBURY ST                                                                                  PONTIAC          MI    48340‐2452
LEE E WILEY                                     PO BOX 738                                                                                        HARRISON         MI    48625‐0738
LEE E WILLEY JR                                 112 HAVEN TERR                                                                                    WINCHESTER       VA    22602‐6407
LEE EDENS                                       416 S GERRARD DR                                                                                  INDIANAPOLIS     IN    46241‐0740
LEE EDMONSON                                    20295 PREVOST STREET                                                                              DETROIT          MI    48235‐2158
LEE ELLEN ARNOLD CUST CARRIE B ARNOLD UTMA FL   1077 KELLY CREEK CIRCLE                                                                           OVIEDO           FL    32765‐5704

LEE ESKENAZI                                    5750 SOUTH EDDYSTREET                                                                             SEATTLE          WA    98118‐3071
LEE F BENDER                                    PO BOX 98                                                                                         NEWTON           MS    39345‐0098
LEE F BING                                      922 ALDON ST SW                                                                                   WYOMING          MI    49509‐1922
LEE F CARROLL & JUDITH A CARROLL JT TEN         PO BOX F                                                                                          GORHAM           NH    03581‐3090
LEE F ENGDAHL                                   208 LINDEN PONDS WAY                     UNIT 707                                                 HINGHAM          MA    02043
LEE F FOHL                                      35 AUGUST AVE                                                                                     WOLCOTT          CT    06716‐1549
LEE F HALL                                      13104 BELLERIVE FARM DR                                                                           ST LOUIS         MO    63141‐6097
LEE F HOUDE                                     4605 S FRANK SMITH RD                                                                             CHASE            MI    49623‐9768
LEE F PHILPOTT                                  2324 GROVEDALE DR                                                                                 SPRINGFIELD      OR    97477‐2104
LEE F SWARTZ                                    637 92ND ST                                                                                       NIAGARA FALLS    NY    14304‐3565
LEE F TREKAS                                    3118 E PUEBLO                                                                                     MESA             AZ    85204‐3908
LEE FISHER                                      7 HUNTLEY CT                                                                                      SIMPSONVILLE     SC    29680‐6293
LEE FREDRIC MEYER                               8025 S W 47TH COURT                                                                               GAINESVILLE      FL    32608‐4477
LEE G ALLISON                                   9355 HWY 74 W                                                                                     PEACHLAND        NC    28133‐9573
LEE G BAILEY                                    R1                                                                                                BUTLER           OH    44822‐9801
LEE G DABBS                                     983 FOREST HILL DR                                                                                ATMORE           AL    36502‐3410
LEE G FLEMING                                   352 LA BELLE                                                                                      HIGHLAND PK      MI    48203‐3019
LEE G GIVENS                                    2931 S 12TH AVENUE                                                                                BROADVIEW        IL    60153‐4840
LEE G KILLINGSWORTH                             65 BRANDYWINE DR                                                                                  ROSSVILLE        GA    30741‐8394
LEE G MCCARTY                                   51043 PLYMOUTH RIDGE DR                                                                           PLYMOUTH         MI    48170‐6367
LEE G MORRIS                                    1500 MARK AVE                                                                                     BOSSIER CITY     LA    71112‐3024
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 727 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

LEE G RICHMOND                                    3674 HIDDEN RIVER ROAD                                                                          SARASOTA          FL    34240‐8867
LEE G SEIBERT                                     53 SEBEK LANE                                                                                   ICKESBURG         PA    17037‐9623
LEE G SELDEN TR LEE G SELDEN REVOCABLE TRUST UA   7220 HOGH DRIVE                                                                                 PRAIRIE VILLAGE   KS    66208
06/21/00
LEE GEBHART                                       33 S PLEASANT AVE                                                                               FAIRBORN          OH    45324‐4710
LEE GEHMAN                                        510 W CEDAR ST                                                                                  NEW HOLLAND       PA    17557
LEE GILLIAM                                       158 N 3RD ST                                                                                    WILLIAMSBURG      OH    45176‐1322
LEE GLENDENING KOSS & RICHARD ALLEN KOSS JR JT    11REEVE CIRCLE                                                                                  MILLBURN          NJ    07041‐1913
TEN
LEE GRANT                                         29139 WELLINGTON RD E                  APT 22                                                   SOUTHFIELD        MI    48034‐4518
LEE H ARNDT                                       2ND FL                                 443 N 22ND ST                                            ALLENTOWN         PA    18104‐4303
LEE H BELLES & LARRY M BELLES JT TEN              4677 1ST ST                                                                                     CHEBOYGAN         MI    49721‐9225
LEE H BUSHIE & CATHY E BUSHIE JT TEN              15796 AZALEA TRL                                                                                EDEN PRAIRIE      MN    55347‐2358
LEE H CLARK & MARGARET C CLARK JT TEN             918 CORTINA CT                                                                                  WALNUT CREEK      CA    94598‐4526
LEE H COX                                         6310 SUPERIOR DR                                                                                BRIGHTON          MI    48116‐9584
LEE H FLANAGAN                                    4 BARRON PL                                                                                     RYE               NY    10580‐3149
LEE H GREENACRE                                   10131 DOVER RD                                                                                  CLARE             MI    48617‐9633
LEE H MORGAN                                      5733 ROOSEVELT PL                                                                               ST LOUIS          MO    63120‐1013
LEE H SCHILLINGER                                 10720 SANTA FE DR                                                                               COOPER CITY       FL    33026‐4959
LEE H SIEGEL                                      101 FOREST DR                                                                                   BEAVER            PA    15009‐9349
LEE H STIEHL & MARY T STIEHL JT TEN               1752 CADWAY COURT                                                                               TRINITY           FL    34655‐7190
LEE H STONE CUST DEBORAH SUE STONE UGMA MI        42837 LEDGEVIEW DR                                                                              NOVI              MI    48377‐2710

LEE H SWOPE                                       3945 CONRAD WEISEN PARKWAY                                                                      WOMELSDORF        PA    19567‐1643
LEE H THOMPSON                                    2510 WEAVER RD                                                                                  PORT AUSTIN       MI    48467‐9774
LEE H TOLES                                       91 HILL N DALE                                                                                  SHELBYVILLE       KY    40065‐9187
LEE HARRIS & JANET HARRIS JT TEN                  2565 NORWOOD                                                                                    TRENTON           MI    48183
LEE HENGEN                                        BOX 32 SITE 2 RR2                      MORINVILLE AB                          T8R 1P5 CANADA
LEE HERBERT HELLERMAN                             16 HENHAWK RD                                                                                   KINGS POINT    NY       11024‐2107
LEE HEWITT & DONNA HEWITT JT TEN                  1180 CENTONI DRIVE                                                                              LAKE ZURICH    IL       60047‐2168
LEE HILLWORTH & SUZANNE P WALSH JT TEN            8 HAWTHORNE LN                                                                                  PLANDOME MANOR NY       11030‐1505

LEE HOBGOOD                                       5901 E STASSNEY LN 402                                                                          AUSTIN            TX    78744
LEE HOFFMAN                                       11514 CERRO DE PAZ                                                                              LAKESIDE          CA    92040‐1002
LEE HORACE LINDSEY                                6658 LYNDON B JOHNSON DR                                                                        JACKSON           MS    39213‐2930
LEE HOWARD                                        PO BOX 2326                                                                                     DETROIT           MI    48202‐0326
LEE HUDSON                                        492 JESSICA ST SE                                                                               GRAND RAPIDS      MI    49548‐7630
LEE HUFFMAN                                       6007 E. PRADO ST                       ANAHEIM HILLS                                            ANAHEIM           CA    92807
LEE I GIFFORD                                     1509 BENNETT AVE                                                                                FLINT             MI    48506‐3362
LEE I TILDEN                                      74447 LARSON RD                                                                                 RAINIER           OR    97048‐3007
LEE J BROWN                                       40476 E 180TH ST                                                                                RICHMOND          MO    64085‐8906
LEE J BUNGE                                       12928 A STREET                                                                                  LASALLE           MI    48145‐9634
LEE J CARGILL                                     5849 PENNY ROYAL RD                                                                             ZEPHYRHILLS       FL    33544‐4149
LEE J CHRISTOPHER & MRS LYNN CHRISTOPHER JT TEN   15200 MEMORIAL DR                      APT 902                                                  HOUSTON           TX    77079‐2624

LEE J COMSTOCK                                    9322 STONY CREEK RD                                                                             YPSILANTI         MI    48197‐9365
LEE J DEROSE                                      8276 LEFFINGSWELL RD                                                                            CANFIELD          OH    44406‐9786
LEE J DOCKHAM                                     19884 45TH AVE                                                                                  BARRYTON          MI    49305‐9733
LEE J ESCHENWECK                                  1245 CHESANING RD                                                                               MONTROSE          MI    48457‐9367
LEE J GOULET                                      3677 N SUNSET WAY                                                                               SANFORD           MI    48657‐9500
LEE J GRZINCIC                                    12791 GRATIOT                                                                                   SAGINAW           MI    48609‐9657
LEE J JANOTTA                                     10378 N CHURCH DR                                                                               PARMA HEIGHTS     OH    44130‐4072
LEE J JOHNSON                                     5935 CHANDLERSVILLE ROAD                                                                        CHANDLERSVILLE    OH    43727‐9633
LEE J LATULIPE                                    32 E MAHONEY RD                                                                                 BRASHER FALLS     NY    13613‐3245
LEE J POWERS                                      G4071 FENTON RD BOX 62                                                                          BURTON            MI    48507‐2470
LEE J SAMUDIO                                     6514 BELLE ISLE PL                                                                              FORT WAYNE        IN    46835‐1355
LEE J VANBODEN                                    7837 BROWN GULF RD                                                                              MANLIUS           NY    13104‐9524
LEE J WEASEL                                      PO BOX 273                                                                                      DEERFIELD         MI    49238‐0273
LEE J WOOLDRIDGE                                  6291 MAYPINE FARM                                                                               HIGHLAND HTS      OH    44143‐4508
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                         Part 4 of 8 Pg 728 of 855
Name                                                Address1                              Address2                  Address3         Address4                City            State Zip

LEE J ZIGMANT                                       PO BOX 96 HILER STATION               303 FAIRFIELD AVE         TOWN TONAWANDA                           BUFFALO         NY    14223
LEE JOHN SOBERING                                   3461 JOG PARK DRIVE                                                                                      GREENACRES      FL    33467
LEE JONATHAN MUSHER                                 APT 101                               15107 INTERLACHEN DRIVE                                            SILVER SPRING   MD    20906‐5626
LEE JORDAN DENNIS                                   BOX 888                                                                                                  MILLEDGEVILLE   GA    31059
LEE JOSEPH KRIEGSFELD                               6740 KENWOOD FOREST LANE                                                                                 CHEVY CHASE     MD    20815‐6502
LEE K KESTER                                        2018 W 91ST ST                                                                                           LEAWOOD         KS    66206‐1902
LEE K KESTER & PATRICK L DUNN JT TEN                2018 W 91ST ST                                                                                           LEAWOOD         KS    66206‐1902
LEE K RATHBONE                                      1993 SANDHILL ROAD R4                                                                                    MASON           MI    48854‐9421
LEE KAHN                                            1950 S OCEAN DR APT 10M                                                                                  HALLANDALE      FL    33009‐5943
LEE KIELEY & CONNIE KIELEY JT TEN                   21 EASTWOOD                                                                                              GRAFTON         ND    58237‐1265
LEE L ENGLISH                                       2236 MORSE AVE                                                                                           SACRAMENTO      CA    95825‐7830
LEE L HARMS                                         11500 CHURCH ST                                                                                          LENZBURG        IL    62255‐1834
LEE L KNOLL                                         11682 W 36TH AVE                                                                                         WHEATRIDGE      CO    80033‐5322
LEE L MOHNEY                                        52721 PULVER                                                                                             THREE RIVERS    MI    49093‐9730
LEE L SHAW TR LEE L SHAW LIVING TRUST UA 05/29/03   31 E GROVE ST #602                                                                                       LOMBARD         IL    60148‐7205

LEE LINDGREN CUST RYAN LINDGREN UTMA NY             21725 ROCKAWAY POINT BLVD                                                                                BREEZY POINT    NY    11697‐1551
LEE LING WU CUST DAI‐I WU UGMA TX                   9623 TRIOLA LANE                                                                                         HOUSTON         TX    77036‐5933
LEE LUCAS                                           1632 KANAWHA BLVD E                                                                                      CHARLESTON      WV    25311‐2115
LEE M ARRINGTON                                     17160 BLOOM                                                                                              DETROIT         MI    48212‐1221
LEE M CRONENWALT & MRS LILLIAN CRONENWALT JT        339 E RIVER RD                                                                                           FLUSHING        MI    48433‐2139
TEN
LEE M FLORA & NELLY M FLORA TEN COM                 1722 VILLAGE TOWNHOME DR                                                                                 PASADENA        TX    77504
LEE M FOWLER                                        232 FROSTWOOD DR                                                                                         COLUMBIA        SC    29212‐1169
LEE M GORAM                                         3610 CARRIAGEWAY                                                                                         EAST POINT      GA    30344‐6020
LEE M GREEN                                         11630 S WATKINS ST                                                                                       CHICAGO         IL    60643‐4918
LEE M GURVEY & SANDRA GURVEY JT TEN                 2050 GLENDENIN LN                                                                                        RIVERWOODS      IL    60015
LEE M HORNE                                         224 JUPITER RD                                                                                           NEWARK          DE    19711‐3029
LEE M OTTS                                          PO BOX 467                                                                                               BREWTON         AL    36427‐0467
LEE M SCHNEIDER                                     18990 8TH AVE                                                                                            CONKLIN         MI    49403‐9718
LEE M SMITH JR                                      5312 MUNCIE DR                                                                                           KANSAS CITY     KS    66102‐3442
LEE M SORENSEN                                      1228 NW 126TH ST                                                                                         SEATTLE         WA    98177‐4343
LEE M WALLACE                                       11000 BEL AIR PL                                                                                         OKLAHOMA CITY   OK    73120‐7904
LEE M WOODRUFF & SHIRLEY A WOODRUFF JT TEN          18215 SPINDLE DR                                                                                         GRAND HAVEN     MI    49417‐9343

LEE MATTSON                                         11701 KUMQUAT                                                                                            COON RAPIDS     MN    55448‐2336
LEE MCGEORGE DURRELL                                LES AUGRES MANOR                      TRINITY                                    JE3 5BP GREAT BRITAIN
LEE MERRENBLUM                                      7023 TOBY DRIVE                                                                                          MT WASHINGTON   MD    21209‐1567
LEE MILLS                                           430 STORE ROAD                                                                                           HARLEYSVILLE    PA    19438‐2502
LEE MURRAY                                          9222 MAPLEWOOD DR                                                                                        CLIO            MI    48420‐9765
LEE N COOKENMASTER                                  2640 NESTEL RD                        PO BOX 650                                                         PRUDENVILLE     MI    48651‐0650
LEE N DUNBAR JR                                     9950 GERALD AVE                                                                                          SEPULVEDA       CA    91343‐1128
LEE N GORDY                                         2840 COLONADE DR                                                                                         MT PLEASANT     SC    29466‐6716
LEE N LEVICK                                        430 ROSWELL HILLS PLACE                                                                                  ROSWELL         GA    30075‐3554
LEE N SISTRUNK                                      14419 BRIDGESTONE ROAD                                                                                   FORT WAYNE      IN    46804‐9143
LEE NEIL FELD                                       7 PARTRIDGE HILL LN                                                                                      GREENWICH       CT    06831‐2716
LEE NICHOLS                                         29805 NEWPORT                                                                                            WARREN          MI    48088‐3644
LEE NICHOLS CUST ANDREW L NICHOLS UTMA MI           29805 NEPORT                                                                                             WARREN          MI    48093
LEE NICHOLS CUST STEPHANIE A NICHOLS UTMA MI        29805 NEWPORT                                                                                            WARREN          MI    48093‐3644

LEE O DAVIS                                         5203 LYNDALE CIRCLE                                                                                      FOREST PARK     GA    30297‐2737
LEE O GRANT                                         202 BARTON ST                                                                                            NEWAYGO         MI    49337
LEE O UMPSTEAD & RUTH M UMPSTEAD JT TEN             550 ALPEANA                                                                                              AUBURN HILLS    MI    48326‐1120
LEE O VOGELSANG                                     9933 ALGONQUIN DRIVE                                                                                     PINCKNEY        MI    48169‐9429
LEE O WHITSETT                                      7 DEERFIELD CT                                                                                           BERLIN          MD    21811‐1715
LEE O YANCY                                         108 WISNER ST                                                                                            SAGINAW         MI    48601‐4357
LEE OLIVER HENRY                                    9235 RUSTIC ACRES RD                                                                                     BASTROP         LA    71220‐7163
LEE P MILLER                                        PO BOX 188                                                                                               KINSMAN         OH    44428‐0188
LEE P SMITH                                         124 CURTIS PKWY                                                                                          BUFFALO         NY    14223‐1729
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 729 of 855
Name                                                Address1                             Address2             Address3          Address4          City             State Zip

LEE P SNYDER                                     PO BOX 269                                                                                       ALLOWAY          NJ    08001
LEE P VOSS & SARA H VOSS TR LEE P VOSS & SARA H  9749 SW 99 AVE                                                                                   OCALA            FL    34481‐6550
VOSS TRUST UA 9/6/01
LEE PALMER                                       2943 HALLECK ST                                                                                  DETROIT          MI    48212‐2701
LEE PARKER                                       233 MAEDER AVE                                                                                   DAYTON           OH    45427‐1936
LEE PATRICK MILLS CUST ASHLEE ROSE MILLS UTMA NM BOX 96                                                                                           EAGLE NEST       NM    87718‐0096

LEE PETER ECHERT                                    PO BOX 771                                                                                    EAST GRANBY      CT    06026‐0771
LEE PLAISTED HANNA                                  C/O LEE H MOSBAUGH                   22 BLOSSOM ST                                            KEENE            NH    03431‐2803
LEE POLISNER                                        11594 BRIARWOOD CIR                  APT 4                                                    BOYNTON BEACH    FL    33437‐1908
LEE PRESTON SMITH                                   2103 SUNBURY DRIVE                                                                            PENSACOLA        FL    32526‐1520
LEE R ANGLIN                                        197 BLAND STREET                                                                              COTTER           AR    72626‐9764
LEE R ARNOLD                                        5509 KATEY LN                                                                                 ARLINGTON        TX    76017‐6235
LEE R BAKER                                         24126 KAREN AVE                                                                               WARREN           MI    48091‐3356
LEE R BENNETT                                       443 E PEBBLE CREEK ROAD                                                                       PALATINE         IL    60074‐3850
LEE R BOWMAN                                        7576 OLIVE STREET                                                                             KANSAS CITY      MO    64132‐2155
LEE R BROWN                                         6335 GERMANTOWN PIKE                                                                          DAYTON           OH    45418‐1635
LEE R CLARK                                         C/O EARTHA M CLARK                   8514 W ARBELA ROAD                                       MILLINGTON       MI    48746‐9527
LEE R COATS                                         RR 1 BOX 110B                                                                                 TUTTLE           OK    73089‐9758
LEE R CUNNINGHAM                                    315 FREY DR                                                                                   WEXFORD          PA    15090‐7333
LEE R DRAKE                                         41761 RTE 18                                                                                  WELLINGTON       OH    44090‐9677
LEE R DUNNINGTON                                    2168 PELWOOD DRIVE                                                                            CENTERVILLE      OH    45459‐5139
LEE R FERRELL                                       1653 NE 57TH AVE                                                                              HILLSBORO        OR    97124‐6175
LEE R FULLER                                        62 VERMONT AVE                                                                                LOCKPORT         NY    14094‐5730
LEE R HARRELL JR                                    5211 MADISON LAKE CIRCLE                                                                      TAMPA            FL    33619‐9697
LEE R HUNTER                                        15503 TAFT ST                                                                                 ROMULUS          MI    48174‐3233
LEE R JONES                                         5179 E COUNTY LINE RD                                                                         CAMBY            IN    46113
LEE R KIDD                                          32 PLEASANT VIEW                                                                              PONTIAC          MI    48341‐2855
LEE R LOVEJOY                                       3417 W 63RD                                                                                   CLEVELAND        OH    44102‐5557
LEE R MAYER                                         20877 FAIRPARK DR                                                                             FAIRVIEW PARK    OH    44126‐2008
LEE R MCGEHEE                                       3437 SOUTH STATE RD 19                                                                        TIPTON           IN    46072‐8900
LEE R MOREHOUSE                                     4581 ELMONT DR                                                                                CINCINNATI       OH    45245‐1008
LEE R NEAR TR LEE R NEAR LIVING TRUST UA 02/09/06   1855 S FENMORE RD                                                                             MERRILL          MI    48637‐8705

LEE R NOOTBAAR                                      826 CHEYENNE LN                                                                               NEW LENOX        IL    60451‐3258
LEE R PERLMUTTER                                    2440 KAREN LANE                                                                               HATBORO          PA    19040‐2932
LEE R PITTS II                                      12942 MEADOW LN                                                                               KANSAS CITY      KS    66109‐1461
LEE R SHARP                                         PO BOX 643                                                                                    OCEAN SPRINGS    MS    39566‐0643
LEE R SMITH                                         333 SUNSET LN                                                                                 BEDFORD          IN    47421‐9097
LEE R STEIGERWALT & PHYLLIS N STEIGERWALT JT TEN    24 ENDLICH AVENUE                                                                             READING          PA    19606‐2137

LEE R SUTLIFF                                       5051 N HOLLISTER RD                                                                           ELSIE            MI    48831‐9720
LEE R TILDEN                                        48 WYCKOFF STREET                                                                             GREENLAWN        NY    11740‐1204
LEE R WITCHER                                       10311 ELMIRA                                                                                  DETROIT          MI    48204‐2573
LEE RACICOT                                         970 W BROADWAY                       STE 275                                                  JACKSON          WY    83001‐9475
LEE RANGER                                          301 NW 93 TERRACE                                                                             PEMBROKE PINES   FL    33024‐6359
LEE RICHARD TROVILLION                              R R #1 BOX 193                                                                                SIMPSON          IL    62985‐9611
LEE ROY CHOAT                                       2976 MADISON AVE                                                                              GRANITE CITY     IL    62040‐3615
LEE ROY CURRY                                       930 CHARLENE LN                                                                               ANDERSON         IN    46011‐1810
LEE ROY DE HOFF                                     11423 US HIGHWAY 31                                                                           MONTAGUE         MI    49437‐9568
LEE ROY DEAN JR                                     PO BOX 561                                                                                    MALSCOTT         WV    25871‐0561
LEE ROY GENTRY                                      106 CHAMA                                                                                     VICTORIA         TX    77904‐3712
LEE ROY MILLER                                      345 P CROMER RD                                                                               ABBEVILLE        SC    29620‐3381
LEE ROY TAYLOR                                      PO BOX 461                                                                                    DONIPHAN         MO    63935‐0461
LEE S COLEMAN EX EST VIRGINIA SHINN WILLIAMS        PO BOX 226                                                                                    WEST POINT       MS    39773

LEE S DERR                                          PO BOX 1507                                                                                   WILMINGTON       DE    19899‐1507
LEE S HAMMEL                                        1762 LESA LIN DR                                                                              MONROE           NC    28112‐9129
LEE S HARRALSON                                     1205 ASPEN DR                                                                                 SMITHVILLE       MO    64089‐8169
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                       Part 4 of 8 Pg 730 of 855
Name                                                Address1                            Address2                  Address3              Address4          City               State Zip

LEE S OVITT                                         10769 MERRY CANYON RD                                                                                 LEAVENWORTH        WA    98826‐8716
LEE S PEREGOFF                                      1005 GRANADA CT                                                                                       VIRGINIA BEACH     VA    23456‐4211
LEE S REAVES                                        117 NUMBER ONE HL                                                                                     BURDINE            KY    41517‐9001
LEE S WALKER                                        933 W ALMOND                                                                                          COMPTON            CA    90220‐2901
LEE S ZIMMERMAN                                     2 RAINDROP CIRCLE                                                                                     REISTERSTOWN       MD    21136‐3541
LEE SAMUELSON                                       166‐40 POWELLS COVE BLVD                                                                              WHITESTONE         NY    11357‐1547
LEE SMART JR                                        BOX 8008                                                                                              PINE BLUFF         AR    71611‐8008
LEE SMITH                                           4 DOVER CT                                                                                            CLEMENTON          NJ    08021‐4233
LEE SPIEVACK                                        5780 MIAMI ROAD                                                                                       CINCINNATI         OH    45243‐3605
LEE STOVER                                          15 EAST WALDO RD                                                                                      WALDO              ME    04915‐3308
LEE T CARRINO                                       #37                                 THE VILLAGE OF PAVOREAL   6711 E CAMELBACK RD                     SCOTTSDALE         AZ    85251‐2062
LEE T DENNEHY                                       4881 APPLE CT                                                                                         FREELAND           MI    48623‐8800
LEE T GUZOFSKI                                      32 GRAMERCY S PA 5J                                                                                   NEW YORK           NY    10003‐1709
LEE T MEKKES                                        4442 SERVICEBERRY DRIVE                                                                               FAYETTEVILLE       AR    72704
LEE T MEKKES & EDITH M MEKKES JT TEN                4442 SERVICEBERRY DRIVE                                                                               FAYETTEVILLE       AR    72704
LEE T SWINGER                                       331 S DURKIN DR                                                                                       SPRINGFIELD        IL    62704‐1110
LEE T TITSWORTH                                     5263 IROQUOIS CT                                                                                      CLARKSTON          MI    48348‐3013
LEE THEIS KIRNER                                    113 WILLOW AVE                                                                                        NORTH PLAINFIELD   NJ    07060‐4530

LEE TIPTON                                          615 E 37TH STREET                                                                                     INDIANAPOLIS       IN    46205‐3507
LEE TRUST                                           4754 WESLEY DRIVE                   DELTA BC                                        V4M 1W8 CANADA
LEE V DUKES                                         1883 WELLBORN RD                                                                                      LITHONIA        GA       30058‐3527
LEE V NOLEN                                         25 TOM CLARK LN                                                                                       CUMBERLAND CITY TN       37050‐6030

LEE V RENSLEAR                                      6580 TRIPP RD                                                                                         HOLLY              MI    48442‐9744
LEE V SILER                                         713 IVEY HOLLOW RD                                                                                    LAFOLLETTE         TN    37766‐7537
LEE V STEWART                                       12222 WEBSTER ROAD                                                                                    CLIO               MI    48420‐8209
LEE V VANDERCOOK                                    1891 ENGLEWOOD RD LOT 143                                                                             ENGLEWOOD          FL    34223‐1843
LEE VERNE WALKER & RITA WALKER JT TEN               8326 S DORCHESTER AVE                                                                                 CHICAGO            IL    60619‐6402
LEE VICTOR KILLEN                                   156 CAPTAIN DAVIS DR                                                                                  CAMDEN             DE    19934‐1746
LEE W BEWLEY                                        204 GOODNIGHT CI                                                                                      CIBOLO             TX    78108‐3782
LEE W COLLINS                                       37 RANCHO DELSOL                                                                                      CAMINO             CA    95709
LEE W HAHN                                          200 MAPLE AVE                                                                                         CLINTON            WI    53525‐9478
LEE W HAYMON                                        630 E MARENGO AVE                                                                                     FLINT              MI    48505‐3377
LEE W JAFFKE                                        484 BURGESS DR                                                                                        WHITE LAKE         MI    48386‐2813
LEE W JOHNSON                                       12441 BELLS FERRY RD                                                                                  CANTON             GA    30114‐8429
LEE W JONES                                         5223 ROBINWOOD AVE                                                                                    RIVERSIDE          OH    45431‐2835
LEE W MITCHELL                                      13031 TAYLORCREST                                                                                     HOUSTON            TX    77079‐6125
LEE W SCHURGAST                                     1791 LEWAY DR                                                                                         FAIRFIELD          OH    45014‐4757
LEE W SHAW                                          1346 PEACHWOOD                                                                                        FLINT              MI    48507‐5637
LEE W WARE                                          1238 EAST PINON DRIVE                                                                                 PRESCOTT           AZ    86305
LEE WELLS                                           7420 E MIAMI RIVER RD                                                                                 CINCINNATI         OH    45247‐2436
LEE WILLIAM ALBRIGHT                                1026 N 10TH ST                                                                                        VINCENNES          IN    47591‐3237
LEE Z HALL & MARGARET P HALL TR UA 05/20/93 LEE Z   13123 BORGMAN                                                                                         HUNTINGTON         MI    48070‐1003
HALL LIVING TRUST                                                                                                                                         WOODS
LEEANDRA L GRUBER                                   7429 SWEETBRIAR                                                                                       W BLOOMFIELD       MI    48324
LEEANDRA L GRUBER EST EARL L GRUBER SR              7429 SWEETBRIAR                                                                                       W BLOOMFIELD       MI    48324
LEEANN D GARZA                                      4721 CHAREST                                                                                          WATERFORD          MI    48328
LEEANN MENDOZA                                      #19736 RD 1038                                                                                        OAKWOOD            OH    45873‐9074
LEEANN TALKINGTON                                   1933 WOOD ST                                                                                          SAGINAW            MI    48602‐1190
LEEANNA GLIDDEN                                     610 S MAIN ST                                                                                         MARTINSVILLE       IN    46151‐2108
LEEANNA J SPATH                                     1115 W PORPHYRY ST                                                                                    BUTTE              MT    59701‐2127
LEEANNE FIERECK & JOHN R FIERECK JT TEN             25657 GREENBRIAR ROAD                                                                                 PINE CITY          MN    55063‐4976
LEEANNE G CULLEN                                    28 ELSLEY COURT                     GUELPH ON                                       N1C 1C8 CANADA
LEEBA GLUCK                                         2530A STATE ROUTE 208                                                                                 WALDEN             NY    12586‐2816
LEEDE FAMILY CORPORATION                            ATTN RW CHUG LEEDE TREASURER        8401 FREDERIC PLACE                                               EDMONDS            WA    98026‐5034
LEEDS B BERRIDGE & RUTH K BERRIDGE JT TEN           1119 OAKRIDGE DR                                                                                      STILLWATER         OK    74074‐1111
LEELA PARULEKAR & NIKHIL PARULEKAR & SANGEETA       PO BOX 1244                                                                                           CORBIN             KY    40702‐1244
PARULEKAR JT TEN
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 731 of 855
Name                                              Address1                              Address2                Address3       Address4          City             State Zip

LEELAND V H BARKER & EARSEL E D BARKER JT TEN     21230 DOWESETT TRAIL                                                                           ATLANTA          MI    49709‐9698

LEEMAN J BROWN                                    464 63RD ST                                                                                    OAKLAND          CA    94609‐1339
LEEMON BORDEN                                     2117 EASTLAND DRIVE                                                                            AUGUSTA          GA    30904‐5414
LEEROY BARTOSH                                    PO BOX G                                                                                       PRAGUE           OK    74864‐1035
LEEROY YORKS                                      4088 PLEASANT ST                                                                               METAMORA         MI    48455‐9786
LEES CROSSING AUTO SALES                          1745 W POINT RD                                                                                LAGRANGE         GA    30240‐4084
LEETA A ROBBINS CUST JARED D ROBBINS UTMA OH      26011 HENDON RD                                                                                BEACHWOOD        OH    44122‐2419

LEETHA H ROBERTSON                                PO BOX 8511                                                                                    PITTSBURG        CA    94565‐8511
LEEVERIA CLIFTON                                  3620 GLOUCESTER ST                                                                             FLINT            MI    48503‐4589
LEFFIE D WALKER                                   4580 WEBBER ST                                                                                 SAGINAW          MI    48601‐6659
LEFLOYD WILSON                                    3097 KETZLER DR                                                                                FLINT            MI    48507‐1221
LEGA HOVELER & ANTHONY T HOVELER JT TEN           100 HAMDEN DR                                                                                  SYRACUSE         NY    13208‐1937
LEGARE B HAIRSTON JR                              1655 N GRAND TRAVERSE                                                                          FLINT            MI    48503‐1158
LEGARE R HOLE JR                                  361 WESTWINDS DR                                                                               PALM HARBOR      FL    34683‐1041
LEGER D PARKER                                    11911 FAIRWAY DR                                                                               LITTLE ROCK      AR    72212‐3424
LEGG MASON WOOD WALKER INC                        100 LIGHT ST 30TH FLOOR                                                                        BALTIMORE        MD    21202‐1036
LEGG MASON WOOD WALKER INC                        C/O MARGARET HEFLIN                   100 LIGHT STREET                                         BALTIMORE        MD    21202‐1036
LEGGAT INVESTMENTS LTD                            25‐2220 LAKESHORE ROAD                BURLINGTON ON                          L7R 4G7 CANADA
LEHMAN A OVERMAN                                  11 MUIRFIELD COURT                                                                             AIKEN            SC    29803
LEHMAN BARNWELL                                   4236 COUNTY RD 11                                                                              DELTA            AL    36258
LEHMAN E TIDWELL                                  7740 W DOUGLAS CT                                                                              FRANKFORT        IL    60423‐6961
LEHMAN M DONAN                                    9394 WORTH ROAD                                                                                DAVISON          MI    48423‐9326
LEHMAN R TATUM                                    1531 WESTVIEW DR NE                                                                            WARREN           OH    44483‐5254
LEIBER J MONTE                                    313 MT ZOAR ST                                                                                 ELMIRA           NY    14904‐1233
LEICESTER B BISHOP                                99 WINTER ST                                                                                   HOLLISTON        MA    01746‐1714
LEICESTER C STOVELL & AUDREY H STOVELL JT TEN     2948 REGAL DRIVE N W                                                                           WARREN           OH    44485‐1246
LEIDA L ORTIZ                                     37 LEXINGTON                                                                                   PONTIAC          MI    48342‐2316
LEIF S ISAAC                                      3806 SOUTH BANCROFT RD                                                                         DURAND           MI    48429
LEIF S THORESON                                   PO BOX 53                                                                                      AFTON            WI    53501‐0053
LEIF WOODAHL                                      11754 CREEK BLUFF DR                                                                           POWAY            CA    92064
LEIGH A BRISBIN                                   199 BROOKSIDE DR                                                                               FLUSHING         MI    48433‐2658
LEIGH A BYRO CUST KARELY R BYRO UGMA MI           16803 SHREWSBURY CT                                                                            LIVONIA          MI    48154‐3155
LEIGH A PECHAUER                                  9303 E DE AV                                                                                   RICHLAND         MI    49083‐9784
LEIGH A POWERS                                    140 VALLEY VIEW DRIVE                                                                          ELMA             NY    14059‐9261
LEIGH ANN A SCANNELL                              2269 FARRAND ROAD                                                                              CLIO             MI    48420
LEIGH ANN FEENSTRA                                16803 SHREWSBURY STREET                                                                        LIVONIA          MI    48154‐3155
LEIGH ANN KLAUS                                   2020 HUNTCLIFF DR                                                                              GAMBRILLS        MD    21054‐2027
LEIGH ANN KRUSLICKY CUST PETER JOHN KRUSLICKY     511 W WHITE BEAR DR                                                                            SUMMIT HILL      PA    18250
UTMA PA
LEIGH ANN LAYTON                                  2063 ALDER SPRINGS LANE                                                                        VICTOR           MT    59875‐9642
LEIGH ANN M CARROLL                               5531 PENNINGTON PL                                                                             WILLIAMSBURG     VA    23188
LEIGH ANN S SIMI & GERALD J SIMI JT TEN           1104 THOUSAND OAKS DR                                                                          BARTLETT         IL    60103‐1726
LEIGH B SPARKS                                    220 HAVERFORD AVENUE                                                                           SWARTHMORE       PA    19081‐1721
LEIGH BRISBIN                                     199 BROOKSIDE DR                                                                               FLUSHING         MI    48433‐2658
LEIGH COLEMAN TAYLOR                              227 32 ROAD                                                                                    GRAND JUNCTION   CO    81503‐9403

LEIGH D WOOD                                      3521 NE LIBERTY ST                                                                             PORTLAND         OR    97211‐7247
LEIGH DENNISON                                    3 PERSHING CIRCLE                                                                              OFALLON          MO    63366‐3819
LEIGH E HARRINGTON                                PO BOX 261                                                                                     CHERRY VALLEY    NY    13320‐0261
LEIGH ECKARD STILES CUST LAURA ELIZABETH STILES   9567 WINNEPEG CT                                                                               MECHANICSVLLE    VA    23116‐3007
UGMA SC
LEIGH EDWARD CLEVELAND                            PO BOX 406                                                                                     STRATFORD        CT    06615‐0406
LEIGH H WILLIAMS                                  850 SUNNYSIDE RD APT#206                                                                       GREENLAKE        WI    54941‐8814
LEIGH H WILLIAMS                                  850 SUNNYSIDE RD                      APT 206                                                  GREEN LAKE       WI    54911
LEIGH HOWELL                                      ATTN LEIGH HOWELL DAVIDSON            8555 SPRUCE LEAF COVE                                    CORDOVA          TN    38018‐4353
LEIGH J DUSHANE                                   4063 FOX LAKE DR                                                                               BLOOMFIELD       MI    48302‐1619
LEIGH K CALLAHAN & LOEL A CALLAHAN JT TEN         PO BOX 151                                                                                     CORNISH FLAT     NH    03746
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 732 of 855
Name                                              Address1                               Address2               Address3        Address4          City             State Zip

LEIGH K JOHNSON                                   602 SNOWBIRD WAY                                                                                BRANCHBURG       NJ    08876‐3511
LEIGH K LYDECKER JR                               94 LONG HILL ROAD                                                                               OAKLAND          NJ    07436‐2520
LEIGH M COSTIGAN CUST KEVIN C SMITH UGMA PA       316 DAVIS ROAD                                                                                  HAVERTOWN        PA    19083‐5318

LEIGH M HALL                                      4835 BELCHER RD                                                                                 EDEN             NY    14057
LEIGH M KORTHALS                                  1621 S RIVER RD                                                                                 JANESVILLE       WI    53546‐5678
LEIGH M NOJEIM                                    814 VELASKO ROAD                                                                                SYRACUSE         NY    13207‐1041
LEIGH M STEJSKAL & LESLIE G STEJSKAL JT TEN       21251 CO ROAD 13                                                                                FAIRHOPE         AL    36532‐4742
LEIGH MULLIGAN EXECUTRIX U‐W‐O JUNE MULLIGAN      2875 MILLERSPORT HIGHWAY                                                                        GETZVILLE        NY    14068‐1450

LEIGH PARKER                                  9582 OLD HIGHWAY 35                        RR 2                   ORONO ON        L0B 1M0 CANADA
LEIGH R HART                                  17 BESS RD                                                                                          ENFIELD          CT    06082‐6012
LEIGH S BISSELL                               5057 MT VERNON WAY                                                                                  DUNWOODY         GA    30338‐4624
LEIGH S CASSIDY                               2365 SHARON OAKS DR                                                                                 MENLO PARK       CA    94025‐6816
LEIGH S SHUMAN CUST SUSANNA RUTH SHUMAN UGMA 1182 OAKMONT DR                                                                                      LANCASTER        PA    17601‐5079
PA
LEIGH S SHUMAN CUST THOMAS PAUL SHUMAN UGMA 1182 OAKMONT DR                                                                                       LANCASTER        PA    17601‐5079
PA
LEIGH SHINN CUST KAITLYN L SHINN UGMA VT      BOX 168                                                                                             WILDER           VT    05088
LEIGH SHINN CUST WALTER GREGORY SHINN UGMA VT BOX 168                                                                                             WILDER           VT    05088

LEIGH THURSTON MYERS CUST KATHERINE BRADFORD      100 BRANDON PLACE                                                                               WINSTON SALEM    NC    27104‐1806
MYERS UTMA NC
LEIGH WEBER‐STRIMPLE & BARRY J STRIMPLE JT TEN    16521 RTE 31W                                                                                   HOLLEY           NY    14470

LEIGH‐ANN LAYTON TR UA 06/10/92 THE LEIGH‐ANN     2063 ALDER SPRINGS LN                                                                           VICTOR           MT    59875‐9642
LAYTON TRUST
LEIGHANDRA GLENZ                                  30 DAISY LN                                                                                     NORTH CHILI      NY    14514‐1404
LEIGHANNE MARTIN & RICHARD A MARTIN JT TEN        9426 PATRICIA DR                                                                                OTISVILLE        MI    48463‐9406
LEIGHTON E KOHN                                   4369 E COLDWATER RD                                                                             FLINT            MI    48506‐1053
LEIGHTON G DUFFUS & CHEN CHUN DUFFUS TR UA        PO BOX 7533                                                                                     FREMONT          CA    94537‐7533
09/29/92
LEIGHTON I THOMPSON                               1277 BOWDOIN STREET SE                                                                          KENTWOOD         MI    49508‐6108
LEIGHTON M BAYLESS & ANN L BAYLESS JT TEN         1402 22ND ST NE 522                                                                             AUBURN           WA    98002‐1001
LEIGHTON T KOHN                                   5283 N LINDEN RD                                                                                FLINT            MI    48504‐1107
LEIJHETTE OWENS                                   377 WEATHERSTONE PL                                                                             ALPHARETTA       GA    30004‐5705
LEILA A BAIR & JOHN C BAIR JT TEN                 6 W THOMPSON AVENUE                                                                             PLEASANTVILLE    NJ    08232‐1144
LEILA A DRAKE                                     1384 JOLSON                                                                                     BURTON           MI    48529‐2026
                                                                                                                                                  SOUTHEAST
LEILA C DODGE                                     FAIRFIELD COURT                        2801 OLD GLENVIEW RD   APT 327                           WILMETTE         IL    60091‐3081
LEILA CLARE BISHOP                                11525 SW MEADOWLARK CIRCLE                                                                      STUART           FL    34997
LEILA ECKERT & JOHN D ECKERT JT TEN               PO BOX 275                                                                                      JEFFERSONVILLE   IN    47131‐0275
LEILA L TRUMBLE                                   4961 TOWNLINE 16 ROAD                                                                           RHODES           MI    48652‐9749
LEILA M CHAPMAN & RHONDA G JOHNSON JT TEN         24724 VERDANT DR                                                                                FARMINGTN HLS    MI    48335‐2130

LEILA R HEREFORD                                  1921 WOODSMAN DR                                                                                ORTONVILLE       MI    48462‐9024
LEILA R MILLS                                     311 JASMINE WAY                                                                                 CLEARWATER       FL    33756‐3819
LEILA RAREDON & SUSAN LEE NORTON JT TEN           722 MANISTIQUE                                                                                  MANISTIQUE       MI    49854‐1528
LEILA S DANIELSEN & HERBERT DANIELSEN JT TEN      #4 CORK PLACE                                                                                   FORKED RIVER     NJ    08731‐5603
LEILA T LOWHORN                                   10 SAN CARLOS                                                                                   BELLEVILLE       MI    48111‐2925
LEILA W LESTER                                    410 EAST COLUMBUS DRIVE                                                                         TAMPA            FL    33602‐1609
LEILANI S BRANDELAND                              1910 FOREST                                                                                     WATERLOO         IA    50702‐1716
LEILI HAIN                                        PO BOX 37                                                                                       CHESANING        MI    48616‐0037
LEILON E MAULT                                    C/O RUTH MAULT                         698 N RICHARD DR                                         XENIA            OH    45385‐2618
LEISA M MARBURGER                                 2760 RIDGE AVENUE SE                                                                            WARREN           OH    44484‐2825
LEISA R LING                                      2440 WILDWOOD LN                                                                                XENIA            OH    45385‐9366
LEITHA A WATKINS                                  275 N BROAD ST                                                                                  KENNET SQ        PA    19348
LEITHA M JENNINGS TR LEITHA M JENNINGS TRUST UA   400 E MAIN ST                          APT 129                                                  MIDLAND          MI    48640‐6504
09/15/00
                                                 09-50026-mg          Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 733 of 855
Name                                               Address1                          Address2             Address3          Address4          City             State Zip

LEKKAS SELTSI DEDES                               7 FINCH RD                         UNIT 8                                                   RAYNHAM          MA    02767‐1192
LELA A HARRIS                                     113 W COE DR                                                                                MIDWEST CITY     OK    73110‐4501
LELA BEANE                                        4325 ELMHURST                                                                               SAGINAW          MI    48603‐2017
LELA C MARSHALL                                   2524 S MACEDONIA                                                                            MUNCIE           IN    47302‐5434
LELA COXEN                                        701 LINCOLN                                                                                 OSAGE CITY       KS    66523‐1539
LELA D FOY                                        8850 FERGUSON RD                   APT 3025                                                 DALLAS           TX    75228‐7936
LELA J BRIGMAN                                    7407 CRANE RD                                                                               YPSILANTI        MI    48197‐9389
LELA J BRIGMAN & CLIFFORD L BRIGMAN JT TEN        7407 CRANE RD                                                                               YPSILANTI        MI    48197
LELA J MURPHY                                     1365 MARWOOD SE                                                                             KENTWOOD         MI    49508‐4853
LELA J STARKEY                                    605 CASSVILLE ROAD                                                                          KOKOMO           IN    46901‐5904
LELA M CALDWELL                                   PO BOX 1221                                                                                 DANVILLE         CA    94526‐8221
LELA M JACOB                                      617 KAMMER AVE                                                                              DAYTON           OH    45417‐2329
LELA M JACOB & WILLIAM T JACOBS JT TEN            617 KAMMER AVE                                                                              DAYTON           OH    45417‐2329
LELA M JOHNSON                                    2056 WHITTLSEY                                                                              FLINT            MI    48503‐4349
LELA M JOHNSON                                    618 OXFORD DR                                                                               BRYAN            OH    43506‐1939
LELA M ROACH                                      821 LAIRD                                                                                   LAKE ORION       MI    48362‐2038
LELA MAE GISI                                     407 NORTH SASSAFRAS ST                                                                      DEXTER           MO    63841‐1940
LELA MILLER                                       5617 RIDGE RD                                                                               LOCKPORT         NY    14094‐9463
LELA P LADD                                       8 SANDSTONE DR                                                                              SPENCERPORT      NY    14559‐1126
LELA S DIBBLE                                     216 SPARTAN HGTS RD                                                                         HENDERSONVILLE   NC    28792‐6520
LELA SMITH                                        4960 FOX CRK                       APT 5                                                    CLARKSTON        MI    48346‐4907
LELA SPONSEL                                      4221 GREEN COURT                                                                            DENVER           CO    80211‐1644
LELAN R BELDEN                                    23421 POWERS                                                                                DEARBORN HTS     MI    48125‐2233
LELAND A GRAHAM                                   13003 GROVE WY                                                                              BROOMFIELD       CO    80020‐5217
LELAND A KEENEY                                   3370 W MAIN ST RD                                                                           STERLING         MI    48659‐9415
LELAND A MURPHY                                   19 TURNER RD                                                                                WELLESLEY        MA    02482‐4427
LELAND A RUTTER                                   417 S JACKSON                                                                               JANESVILLE       WI    53545‐4720
LELAND B CARTER                                   BOX 246                                                                                     HARRISON         ME    04040‐0246
LELAND B GORDON                                   5829 BOUNTY CIR                                                                             TAVARES          FL    32778‐9293
LELAND B GORDON & RITA S GORDON JT TEN            5829 BOUNTY CIR                                                                             TAVARES          FL    32778‐9293
LELAND BARRINGER CUST MICHAEL J BARRINGER UGMA 9093 NORTHWOOD CT                                                                              PLYMOUTH         MI    48170‐3299
MI
LELAND BEVERAGE                                   231 SOUTH ST                                                                                MEDFIELD         MA    02052‐3108
LELAND C BOWEN                                    691 RED WING CIRCLE                                                                         LARGO            FL    33770‐1590
LELAND C CLARK JR TR LELAND C CLARK JR TRUST UA   218 GREENDALE AVE                                                                           CINCINNATI       OH    45220‐1226
2/12/99
LELAND C MALLETT                                  20845 DRAKE RD                                                                              STRONGSVILLE     OH    44136‐5848
LELAND C MANG                                     1420 HENDERSON CREEK DR                                                                     NAPLES           FL    34114‐8741
LELAND C MERRILL & JOANNE S MERRILL JT TEN        116 WHEELBRIGHT FARM                                                                        COHASSET         MA    02025‐1546
LELAND D FRANKLIN                                 808 S FIRST ST TERRACE                                                                      ODESSA           MO    64076‐1513
LELAND D FREEMAN & NANCY L FREEMAN JT TEN         13969 E CHANANGO DRIVE                                                                      AURORA           CO    80015‐3909
LELAND D MARTIN & TANYA L MARTIN JT TEN           156 WINSLOW DR                                                                              MARTINSBURG      WV    25401
LELAND D WHALEN                                   117 W KANSAS                                                                                LANSING          KS    66043‐1514
LELAND DAVID BARRINGER CUST DAVID LEE BARRINGER 9093 NORTHWOOD CT                                                                             PLYMOUTH         MI    48170‐3299
UGMA MI
LELAND DAVID BARRINGER CUST MICHAEL J BARRINGER 9093 NORTHWOOD CT                                                                             PLYMOUTH         MI    48170‐3299
UGMA MI
LELAND DEANE                                      17 VAN WYCK LANE                                                                            HUNTINGTON       NY    11743‐1724
LELAND DORAN                                      CO LEALAND DORAN                   2031 S HOLLAND                                           SPRINGFIELD      MO    65807‐2801
LELAND E BARKER                                   2394 CALYPSO LANE                                                                           LEAGUE CITY      TX    77573‐2795
LELAND E COX                                      1838 STATE RTE 28                                                                           BLANCHESTER      OH    45107‐7841
LELAND E FRANKLIN                                 3223 ALEXANDRIA PIKE                                                                        ANDERSON         IN    46012‐9654
LELAND E HOWELL                                   G‐9485 N STATE RD                                                                           OTISVILLE        MI    48463
LELAND E SCHULTZ                                  621 GOLD CT                                                                                 BRODHEAD         WI    53520‐9801
LELAND E SZCZESNIAK & BARBARA A SZCZESNIAK JT TEN 148 THOMAS AVE                                                                              ALPENA           MI    49707‐1420

LELAND E TAYLOR & MRS PATRICIA L TAYLOR JT TEN     6237 WELTY WAY                                                                             SACRAMENTO       CA    95824‐3831

LELAND E TRAINOR                                   2350 SHELDON RD                                                                            SANDUSKY         MI    48471‐9752
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 734 of 855
Name                                              Address1                              Address2                  Address3     Address4          City              State Zip

LELAND E WHITE & ELIZABETH K WHITE JT TEN          60 WALNUT ROAD                                                                                HOLLISTON         MA    01746‐1584
LELAND F DYKES                                     230 HUMMINGBIRD LANE                                                                          MITCHELL          IN    47446
LELAND F TURRI                                     6946 TAWNY DRIVE                                                                              NIAGARA FALLS     NY    14304‐3024
LELAND G BROWN                                     12411 S MENLO AVE                                                                             LOS ANGELES       CA    90044‐3845
LELAND G KEESLING                                  315 E 65TH ST                                                                                 ANDERSON          IN    46013‐3501
LELAND G ORLOV                                     HERITAGE PROF PIZ #7                 2601 ANNAND DRIVE                                        WILMINGTON        DE    19808‐3719
LELAND G ORLOV & MRS MARCIA ORLOV JT TEN           HERITAGE PROF PIZ #7                 2601 ANNAND DRIVE                                        WILMINGTON        DE    19808‐3719
LELAND G PERRY                                     311 KINGSLYN FARM CT                                                                          OXFORD            MI    48371‐5544
LELAND G RODGERS JR                                601 N RIVERSIDE                                                                               SAINT CLAIR       MI    48079‐5477
LELAND G RONAN                                     2518 ROCKPORT RD                                                                              JANESVILLE        WI    53548‐4448
LELAND H BOZMAN                                    1009 RUSSELL AVE                                                                              SALISBURY         MD    21801‐6151
LELAND H LEE CUST NICHOLAS D LEE UTMA CA           736 SHORESIDE                                                                                 SACRAMENTO        CA    95831‐1417
LELAND HARDY                                       257 W 137TH ST #4                                                                             NEW YORK          NY    10030‐2465
LELAND J CLOTHIER                                  2750 SWAFFER RD                                                                               MILLINGTON        MI    48746‐9614
LELAND J CREECY                                    5020 CIMARRON ST                                                                              LOS ANGELES       CA    90062‐2139
LELAND J GASPER                                    2471 CLAYWARD                                                                                 FLINT             MI    48509‐1057
LELAND J ROACH JR & CARMEN R ROACH JT TEN          731 NORTH LAKE GEORGE RD                                                                      ATTICA            MI    48412‐9728
LELAND K HOVATTER                                  1643 CONOWINGO RD                                                                             RISING SUN        MD    21911‐1433
LELAND L ANDERSON                                  7381 WEST FREMONT RD                                                                          BLACHAND          MI    49310‐9771
LELAND L PHILLIPS                                  1560 WILLIAMS SIMMONS RD                                                                      BOWLING GREEN     KY    42101‐9392
LELAND L WESTPHALL                                 PO BOX 861                                                                                    HARLINGEN         TX    78551‐0861
LELAND M SNYDER                                    3427 BERKSHIRE RD                                                                             JANESVILLE        WI    53546‐2252
LELAND MAIZE                                       508 WILLOW LN                                                                                 MACON             MO    63552‐1818
LELAND MATLOCK                                     3876 COVENTRY VALLEY                                                                          WATERFORD         MI    48329‐3920
LELAND N COHEA & RUTH E COHEA JT TEN               6828 CHAMPAIGNE DR                                                                            FLORISSANT        MO    63033‐5204
LELAND P OREILLY & MABEL J OREILLY JT TEN          PO BOX 289                                                                                    SAN LUIS OBISPO   CA    93406‐0289
LELAND R JOHNSTONE & MRS GLORIA M JOHNSTONE JT 4701 TERRA GRANADA #2A                                                                            WALNUT CREEK      CA    94595‐4096
TEN
LELAND R SMITH JR                                  4408 W 25TH STREET                                                                            ANDERSON          IN    46011‐4559
LELAND R STEWART                                   1722 SOUTH G ST                                                                               ELWOOD            IN    46036‐2453
LELAND R VARNER                                    5140 WINSHALL DRIVE                                                                           SWARTZ CREEK      MI    48473‐1223
LELAND R VARNER & MARY B VARNER JT TEN             5140 WINSHALL DR                                                                              SWARTZ CREEK      MI    48473‐1223
LELAND ROBERT VOSTI CUST MATTHEW ANTHONY           17518 SUGARMILL RD                                                                            SALINAS           CA    93908‐1434
VOSTI UTMA CA
LELAND ROBERT VOSTI CUST MICHAEL LELAND VOSTI      17518 SUGARMILL RD                                                                            SALINAS           CA    93908‐1434
UTMA CA
LELAND ROSS PIERCE                                 8906 RIDGE PL                                                                                 BETHESDA          MD    20817‐3364
LELAND S GOODY                                     29 BEDE CIRCLE                                                                                HONESDALE         PA    18431‐7625
LELAND T BRANUM                                    E 10 33RD AVE                                                                                 SPOKANE           WA    99203‐2607
LELAND TURNER & RUTHANNA TURNER JT TEN             15 MICHICAN AVE                                                                               VERMILION         OH    44089
LELAND V EMLAW                                     3536 COUNTY ROUTE 47                                                                          NORWOOD           NY    13668‐3178
LELAND W BROWN & DONNA J BROWN JT TEN              5112 DOWNEY AVE                                                                               INDEPENDENCE      MO    64055
LELAND W HUDDLESTON                                6940 BELINDER                                                                                 MISSION HILLS     KS    66208‐2760
LELAND WILSON                                      55 S MCGEE ST                                                                                 DAYTON            OH    45403‐2123
LELENE S THORNTON                                  7011 ANTIOCH RD                                                                               HAZLEHURST        MS    39083‐9311
LELIA C RONBACK                                    6717 S BUCKNER TARSNEY RD                                                                     OAK GROVE         MO    64075‐8298
LELIA E LAPERRIERE CUST ELENA A LAPERRIERE UGMA    14610 SCOTT CIRCLE                                                                            CYPRESS           TX    77429‐3309
TX
LELIA E LAPERRIERE CUST TRACY J LAPERRIERE UGMA TX 14610 SCOTT CIRCLE                                                                            CYPRESS           TX    77429‐3309

LELIA EVELYN GARDNER                              3411 RIVER LANE                                                                                CHARLESTON        WV    25306‐6642
LELIA FAYE GIVEN                                  116 WALNUT ST                                                                                  NITRO             WV    25143
LELIA G PURNELL                                   4550 N BRETON CT SE                   APT 230                                                  GRAND RAPIDS      MI    49508‐5267
LELIA S FARAH                                     1003 JACKSONVILLE RD                                                                           BURLINGTON        NJ    08016‐3801
LELJA GERSON TR LELJA GERSON TRUST UA 07/01/05    C/O ANDERA MICHAELS                   13425 VENTURA BLVD #300                                  SHERMAN OAKS      CA    91423‐3998

LELLA T BURNSTRUM                                 9382 E 300 N                                                                                   VAN BUREN         IN    46991‐9750
LEM D GILMER                                      22616 SUMMER LN                                                                                NOVI              MI    48374
LEM FRYE JR                                       1240 HOLMES RD                                                                                 YPSILANTI         MI    48198‐3956
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                      Part 4 of 8 Pg 735 of 855
Name                                             Address1                              Address2                       Address3   Address4          City             State Zip

LEM H FAULKNER JR                                62 COTTON FALL DRIVE                                                                              ATOKA            TN    38004
LEM T ANDERSON                                   201 CLYDE STREET                                                                                  WILMINGTON       DE    19804‐2805
LEMAN HERRIDGE CUST MICHELLE KIMBERLY DIENZ      16742 LEW ALLEN CIR                                                                               RIVERSIDE        CA    92518‐2909
UNIF TRANSM MIN ACT CA
LEMAN L WIMBERLEY                                1592 COLUMBIA RD                                                                                  WESTLAKE         OH    44145‐2403
LEMEL CRASE                                      RT 1 17480 KINNER RD                                                                              NEW BAVARIA      OH    43548‐9607
LEMERL RIZZO                                     371 HUDSON ST                                                                                     ROSSVILLE        GA    30741‐5683
LEMMIE L MOSBY                                   18635 FERGUSON                                                                                    DETROIT          MI    48235‐3014
LEMON HICKS                                      ATT MARY HICKS                        17220 E MAINE                                               DETROIT          MI    48212‐1573
LEMOYNE O ADAMS                                  168 HEDLEY                                                                                        BUFFALO          NY    14208‐1015
LEMUEL A COLLINS JR                              204 ARCADIA PKWY                                                                                  MIDDLETOWN       DE    19709‐1332
LEMUEL A GRAYSON                                 5436 WELLS FARGO DR                                                                               COLORADO SPRINGS CO    80918‐5235

LEMUEL C JACK                                    BOX 5                                                                                             SOMERSET         IN    46984‐0005
LEMUEL D SMITH JR & PEGGY E SMITH JT TEN         722 SEMINOLE WAY                                                                                  PALO ALTO        CA    94303‐4722
LEMUEL E OWENS                                   576 PEARSALL ST                                                                                   PONTIAC          MI    48053
LEMUEL E PHELPS & SANDRA N PHELPS JT TEN         2028 BENEFIT RD                                                                                   CHESAPEAKE       VA    23322‐3024
LEMUEL E SENTZ III                               PO BOX 91                                                                                         STANLEY          ID    83278‐0091
LEMUEL HILL                                      4049 W 58TH PL                                                                                    LOS ANGELES      CA    90043‐3401
LEMUEL J RIVERA                                  539 ANISE CT                                                                                      KISSIMMEE        FL    34759‐5304
LEMUEL J RIVERA & EMMA I RIVERA JT TEN           LAKE MARION SHORES                    539 ANISE CT                                                KISSIMMEE        FL    34759‐5304
LEMUEL R JAMES                                   535 EAST 35TH STREET                                                                              WILMINGTON       DE    19802‐2817
LEMUEL R WALLACE JR                              136 E MERCURY BLVD                                                                                HAMPTON          VA    23669‐2460
LEMUEL T ANDERSON JR                             2966 FRAZER RD                                                                                    NEWARK           DE    19702‐4810
LEN E MEYER                                      4048 ST RT 108                                                                                    LEIPSIC          OH    45856‐9472
LEN H JOHNSON                                    4682 WESTVIEW DRIVE                                                                               SALT LAKE CITY   UT    84124‐5663
LEN H JOHNSON & JENNIE L JOHNSON JT TEN          4682 WESTVIEW DRIVE                                                                               SALT LAKE CITY   UT    84124‐5663
LENA A BROWN                                     1903 KERRWOOD DR                                                                                  ANDERSON         IN    46011‐4058
LENA A CIELUKOWSKI TR LENA A CIELUKOWSKI TRUST   45 HARBOR CIRCLE                                                                                  COCOA BEACH      FL    32931‐2414
UA 09/28/98
LENA A COTTRELL                                  1903 KERRWOOD DR                                                                                  ANDERSON         IN    46011‐4058
LENA A FRANKLIN                                  1515 HOMEWOOD S E                                                                                 WARREN           OH    44484‐4912
LENA A JUSTICE                                   4824 HIGHWAY 49 W                                                                                 SPRINGFIELD      TN    37172‐5720
LENA ASCIOTI                                     1213 MIDDLE ROAD                                                                                  RUSH             NY    14543‐9606
LENA B MERK                                      301 FLAGSTONE DR                                                                                  BURLESON         TX    76028
LENA BENDORF                                     4207 CAT MOUNTAIN DR                                                                              AUSTIN           TX    78731‐3704
LENA BOHN                                        29831 BROWN CRT                                                                                   GARDEN CITY      MI    48135‐2325
LENA C PULLELLA & FRANK PULLELLA JT TEN          3101 SWARTHMORE RD                                                                                WILMINGTON       DE    19807‐3101
LENA C WYNN                                      9 WILDERNESS LN                                                                                   DEFIANCE         MO    63341‐2401
LENA CARATTO                                     1632 BEACH ST                                                                                     SAN FRANCISCO    CA    94123‐1702
LENA CAVANAUGH                                   2902 ASPEN LN                                                                                     BLOOMFIELD       MI    48302‐1015
LENA COUNCIL                                     2502 RIDDICK RD                                                                                   ELIZABETH CITY   NC    27909‐9023
LENA DEL VECCHIO                                 8 WOOD RUN COMMONS                                                                                ROCHESTER        NY    14612‐2260
LENA ELKHOURY                                    26632 VALPARISO DR                                                                                MISSION VIEJO    CA    92691‐3427
LENA F DEEMER                                    THE HERMITAGE                         PO BOX 148                                                  NEW CASTLE       DE    19720‐0148
LENA F GARRETT                                   6076 WALDEN CT                                                                                    MENTOR           OH    44060‐2220
LENA F GERARD                                    79 CHURCH AVE                                                                                     BALLSTON SPA     NY    12020‐1904
LENA F IHLE                                      1209 N WASHINGTON                                                                                 JANESVILLE       WI    53545‐1564
LENA F ILLIG                                     3190 AMSTERDAM DR                                                                                 CLIO             MI    48420‐1495
LENA G SIEKIERKA                                 9100 SUSAN CI 11                                                                                  NEWPORT          MI    48166‐9284
LENA H MC DONAGH                                 275 MEDALLION BLVD                                                                                MADEIRA BEACH    FL    33708‐1923
LENA HAINES                                      607 THORNAPPLE TRAIL                                                                              LAWRENCEVILLE    GA    30045‐8890
LENA HAMBY                                       C/O JAMES A MCLAUGHLIN                GOGUEN MCLAUGHLIN RICHARDS &   MAHANEY    2 PLEASANT ST     NATICK           MA    01780
LENA J COOK                                      722 W CR 575 SOUTH                                                                                PENDLETON        IN    46064‐9158
LENA J COOK & WILBUR G BAUER JT TEN              722 WEST 575 SOUTH                                                                                PENDLETON        IN    46064
LENA J DAVIS                                     62 WAMPLER AVENUE                                                                                 DAYTON           OH    45405‐5124
LENA K WICKHAM                                   2640 NYACK LANE                                                                                   DAYTON           OH    45439‐2937
LENA KILBURN                                     RT 4 BOX 187                                                                                      FALMOUTH         KY    41040‐9807
LENA L BURGESS                                   1369 PINGREE AVE                                                                                  LINCOLN PARK     MI    48146‐2064
                                             09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 736 of 855
Name                                           Address1                            Address2             Address3          Address4          City              State Zip

LENA L EISENBERG                               3706 BRETON WAY                                                                              PIKESVILLE        MD    21208‐1707
LENA LATIMER                                   120 PITTSBURGH CIRCLE APT 1                                                                  ELLWOOD CITY      PA    16117‐2151
LENA M AYLING                                  7511 SHALLOWFORD RD APT 228                                                                  CHATTANOOGA       TN    37421‐2694
LENA M CHESTER                                 2607 JANES                                                                                   SAGINAW           MI    48601‐1559
LENA M DURKA                                   7245 COOLIDGE                                                                                CENTER LINE       MI    48015‐1004
LENA M PALAZZOLO                               26441 HIGGINS WAY                                                                            FLAT ROCK         MI    48134‐8200
LENA M RENATO                                  200 ROBBIES RUN                                                                              CORTLAND          OH    44410‐1919
LENA M STEELE                                  147 BURBANK ST                                                                               CRESTON           OH    44217‐9629
LENA M WRIGHT                                  269 BUDDINGTON ROAD                                                                          SHELTON           CT    06484‐5360
LENA MAE GRESHAM                               1051 WIMBERLY ROAD                                                                           ATLANTA           GA    30319‐2634
LENA MARIE FOSTA                               118 HOLIDAY LANE                                                                             COCOA BEACH       FL    32931‐3054
LENA MC GRAW                                   4034 23RD                                                                                    WYANDOTTE         MI    48192‐6903
LENA MCKEITHEN                                 667 BLAINE                                                                                   DETROIT           MI    48202‐2019
LENA N GROVES & WAYNE B DENNIS JT TEN          11765 FREEMANS FORD RD                                                                       REMINGTON         VA    22734‐2016
LENA O DANTONIO                                880 W CYPRESS ST                                                                             KENNETT SQUARE    PA    19348‐2218
LENA P EASTMAN                                 118 MANCHESTER DR                                                                            IRWIN             PA    15642‐3213
LENA R OSBORNE                                 1322 MASSANETTA SPRINGS RD                                                                   HARRISONBURG      VA    22801‐8385
LENA S FUSON                                   8430 WOOLFITT AVE                                                                            MT MORRIS         MI    48458‐1322
LENA S GIBSON                                  H W #75P O BOX 585                                                                           SANDY HOOK        KY    41171‐0585
LENA S SMITH                                   307 BUSHOAN RD L                                                                             BRUNSWICK         GA    31525‐9448
LENA T STARR                                   1516 WEST BROADWAY ST                                                                        ALEXANDRIA        IN    46001‐8153
LENA V SIMON                                   12177 SOUTH AVE                                                                              NORTH LIMA        OH    44452‐9742
LENA VETTER                                    33 FRANKLIN ST                                                                               PATCHOGUE         NY    11772‐2711
LENA W HARRIS                                  705 JEFFERSON AVE                                                                            WAYNESBORO        VA    22980‐5638
LENA W VERBEKE                                 4600 ALLEN RD                                                                                ALLEN PARK        MI    48101‐3611
LENA WARR                                      145 E MORRIS AVE                                                                             BUFFALO           NY    14214‐1828
LENA Y SCHIRMER                                394 MOORE AVE                                                                                OCEANSIDE         NY    11572‐4036
LENA Z WILLIAMS                                PO BOX 2452                                                                                  PASADENA          CA    91102‐2452
LENAIL PARKER                                  566 WEST THIRD ST                                                                            MANSFIELD         OH    44906‐2633
LENARD C STEWARD                               1425 BELL CREEK DRIVE                                                                        FLINT             MI    48505‐2545
LENARD CORBETT                                 5200 BOWLEYS LN #213                                                                         BALTIMORE         MD    21206‐6677
LENARD G HARGE                                 313 E 141ST ST                                                                               LOS ANGELES       CA    90061‐2119
LENARD GREENBERG                               1925 DIAMOND AVENUE                                                                          EVANSVILLE        IN    47711‐4003
LENARD HENRY ORBIK                             2433 NOBLE ST                                                                                ANDERSON          IN    46016‐4574
LENARD M PISANO                                2900 ROWAN BL                                                                                WATERFORD         MI    48329‐2841
LENARD M POTTS                                 916 4TH ST                                                                                   COLUSA            CA    95932‐2634
LENARD O MAXWELL                               35631 BOOTH                                                                                  WESTLAND          MI    48186‐4282
LENARD R BAILEY                                2544 TIMBERLINE DR                                                                           FORT WORTH        TX    76119‐4651
LENARD S SCIORTINO                             4447 W 100 S                                                                                 RUSSIAVILLE       IN    46979‐9440
LENARD WATTS                                   9470 POSTTOWN RD                                                                             DAYTON            OH    45426‐4347
LENARD WILLIAMS                                21361 WEST NINE MILE RD                                                                      SOUTHFIELD        MI    48075
LENARD WINOKER & ROCHELLE E WINOKER JT TEN     27618 SUGAR LOAF DRIVE                                                                       WESLEY CHAPEL     FL    33543‐8637

LENARDO A GAMBRIL                              25931 PRINCETON                                                                              INKSTER           MI    48141‐2491
LENDALL G BEBOUT                               1414 S OAK ST                                                                                HARRISBURY        IL    62946‐3256
LENDELL D MARCH II                             156 COLLEGE WAY                                                                              AUBURN            CA    95603‐5104
LENDELL STREETS                                3301 RANDOLPH N W                                                                            WARREN            OH    44485‐2529
LENDON E CHAMBERS                              5481 DOOLEY DRIVE                                                                            LINDEN            MI    48451‐8901
LENDON T HEDGER & ERDEEN G HEDGER JT TEN       17943 E M‐134                                                                                DE TOUR VILLAGE   MI    49725‐9538
LENDON THOMAS HEDGER                           17943 E M‐134                                                                                DE TOUR VILLAGE   MI    49725‐9538
LENDWOOD COLBERT                               2323 POLAR ROCK TER SW                                                                       ATLANTA           GA    30315‐6449
LENEL LAURA SROCHI MEYERHOFF                   1003 POPLAR HILL RD                                                                          BALTIMORE         MD    21210‐1223
LENELL D HILL                                  18180 CORAL GABLES AVE                                                                       LATHRUP VLG       MI    48076‐4502
LENELL N REYNOLDS                              18528 MITCHELL ST                                                                            DETROIT           MI    48234‐1552
LENELL NORWOOD                                 15670 GEORGE WASHINGTON                                                                      SOUTHFIELD        MI    48075‐6911
LENETA J BARBER                                1328 W CHRYSLER AVE                                                                          BLACKWELL         OK    74631‐4723
LENFORD L GRAMZE & ROSE MARY GRAMZE JT TEN     668 SHERBOURNE DR                                                                            INKSTER           MI    48141‐1237
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 737 of 855
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

LENICE MOYNIHAN CUST BRIDGIT TERESA MOYNIHAN    7213 TALL PINE WY                                                                               CLARKSVILLE     MD    21029‐1708
UTMA MD
LENIS E BOND & JOANNE BOND JT TEN               2136 WESTMINISTER DR                                                                            FLINT           MI    48507‐3531
LENISE L PATRICK                                570 ZEPHYR CIR                                                                                  DANVILLE        CA    94526‐5237
LENISTIEN THORNTON III                          1802 WILLOW DR                                                                                  DAYTON          OH    45426‐2066
LENN E BRADLEY                                  1815 MC PHAIL                                                                                   FLINT           MI    48503‐4366
LENNART B JOHNSON                               1018 COLRAIN ST S W                                                                             GRAND RAPIDS    MI    49509‐2860
LENNART H BECH                                  18 RUE ALBERT GOSS                     1206 GENEVA                            SWITZERLAND
LENNART STAHL                                   FRUANGSGATAN 52A                       NYKOPING                               SWEDEN
LENNEL BROOKS                                   4401 MAPLE LN                                                                                   BOWLING GREEN   KY    42101‐0519
LENNELL L DUMAS                                 PO BOX 2195                                                                                     DANVILLE        IL    61834‐2195
LENNIE C MARTIN                                 3537 EAST 153 STREET                                                                            CLEVELAND       OH    44120‐4907
LENNIE H GAMAGE                                 3203 CAMERON DR                                                                                 HENDERSON       NC    27536‐3816
LENNON P COLE                                   3900 BOSTON THETA RD                                                                            COLUMBIA        TN    38401‐8700
LENNY A MITCHELL                                274 MORNING CREEK CIR                                                                           APOPKA          FL    32712‐8139
LENNY A PHILLIPS                                11 ARBOR RD NE                                                                                  MINERVA         OH    44657‐9756
LENNY D KLEM                                    3628 S COUNTY ROAD D                                                                            JANESVILLE      WI    53545‐9216
LENNY J BORRISOVE                               6012 GORDON                                                                                     WATERFORD       MI    48327‐1737
LENNY J BORRISOVE & J NADINE BORRISOVE JT TEN   6012 GORDON                                                                                     WATERFORD       MI    48327‐1737

LENNY J DISHAW                                   740 BAY RD                                                                                     BAY CITY        MI    48706‐1920
LENNY LINARDAKIS CUST EMILY A LINARDAKIS UTMA NJ 45 DAVOS RD                                                                                    BRICK           NJ    08724‐4305

LENNY W TAM                                     187 ELEANOR AVE                        HAMILTON ON                            L8W 1C7 CANADA
LENO S BOSCHIAN                                 2503 KAY LANE                                                                                   CHARLESTON      WV    25302‐4315
LENOLA MCFARLAND                                3673 GUAM COURT                                                                                 CINCINNATI      OH    45236
LENON EVANS                                     PO BOX 1926                                                                                     GULFPORT        MS    39502‐1926
LENOR D COPELAND EX UW LENOR D COPELAND         10757 BALFOUR RD                                                                                DETROIT         MI    48224‐1883
LENOR MIROCHNA                                  250 BRIAR HILL LN                                                                               WOODBURY        NJ    08096‐5867
LENORA A RIHM                                   5415 POWELL RD                                                                                  DAYTON          OH    45424‐4150
LENORA AYERS‐TATE                               16514 SENTINEL DR                                                                               HOUSTON         TX    77053‐5034
LENORA B ALBUS & RUTHANN C ALBUS‐IRVIN JT TEN   32981 ROSSLYN                                                                                   GARDEN CITY     MI    48135‐1024

LENORA B ALLEN                                    6108 SADDLEHORSE DRIVE                                                                        FLOWERY BR      GA    30542
LENORA B PICCOLO TR LENORA B PICCOLO LIVING TRUST 1910 SW 3RD DR                                                                                GRESHAM         OR    97080‐6709
UA09/11/96
LENORA E WALDRON                                  607 DAKOTA AVE                                                                                NILES           OH    44446‐1033
LENORA ELSIE GAYNOR & MARILYN NIZIOL & DENISE     7160 BURNING BUSH LANE                                                                        FLUSHING        MI    48433‐2292
ROBINSON JT TEN
LENORA J BRITTAIN                                 1731 TONAWANDA CREEK RD                                                                       AMHERST         NY    14228
LENORA J PATTERSON                                13 WELLSPRING PT                                                                              HIRAM           GA    30141‐3406
LENORA JONES WILLIAMS                             5950 REEVES RD                                                                                E PETERSBURG    PA    17520‐1531
LENORA L BOLIN                                    9191 HALF ACRE                                                                                WHITE LAKE      MI    48386‐3324
LENORA L ROG                                      136 MC CUTCHEON AVE                                                                           SAYREVILLE      NJ    08872‐1053
LENORA L SCHWAPPACH TR LENORA L SCHWAPPACH        12916 KIPWAY DR                                                                               DOWNEY          CA    90242‐4621
LIVING TRUSTUA 09/23/02
LENORA LEVERETT                                   1316 PEARL ST                                                                                 YPSILANTI       MI    48197
LENORA M ANDRE                                    PO BOX 88                                                                                     BRONWOOD        GA    31726‐0088
LENORA M CHAPEL & PEGGY HUTCHINS JT TEN           550 SELKIRK DR                                                                                MT MORRIS       MI    48458‐8920
LENORA M COLLINS                                  7375 WARREN RD                                                                                ANN ARBOR       MI    48105‐9428
LENORA R JENKINS                                  29 CUYLER AVENUE                                                                              TRENTON         NJ    08609‐1517
LENORA ROBINSON & JULIE ROBINSON JT TEN           2305 BRIGHTON LANE                                                                            PLANO           TX    75075‐3372
LENORA S GIBSON & KENTON GIBSON TR UA 06/26/90 8322 KOUSA DR                                                                                    INDIANAPOLIS    IN    46234‐1892
LENORA S GIBSON TRUST
LENORA W BRUNDAGE                                 433 RAGGEDY POINT COURT                                                                       ORANGE PARK     FL    32003
LENORE A APOSTOLU                                 91 KRYSTAL DR                                                                                 SOMERS          NY    10589‐3036
LENORE A BRACKEN                                  22587 PEACHTREE LN                                                                            ROCKY RIVER     OH    44116
LENORE A OSBORN                                   7896 BENTLEY HWY                                                                              EATON RAPIDS    MI    48827‐9308
LENORE A WEISSE                                   BOX 1A180                                                                                     LACKAWAXEN      PA    18435
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 738 of 855
Name                                           Address1                             Address2               Address3        Address4          City            State Zip

LENORE BIEBEL                                  14349 LYONS                                                                                   LIVONIA         MI    48154‐4690
LENORE DAHL RITCHIE                            9680 N CO RD 700 W                                                                            MIDDLETOWN      IN    47356‐9330
LENORE F SEARS                                 1000 CAMELOT DR GH6204                                                                        HARLINGEN       TX    78550
LENORE FORSHAY CUST AMANDA N FORSHAY UTMA CA   132 DERBY LANE                                                                                MORAGA          CA    94556‐2155

LENORE FORTUNE & EARL J FORTUNE JT TEN         7308 LAFAYETTE                                                                                DEARBORN HEIGHTS MI   48127‐1789

LENORE GRAMMATICO & PAULO GRAMMATICO JT TEN    44332 PENTWATER                                                                               CLINTON TOWNSHIP MI   48038‐4468

LENORE GROSS                                   105 SUNSET CIRCLE                                                                             MADISON         AL    35758‐2574
LENORE K BODNER                                48079 COLONY FARM CIR                                                                         PLYMOUTH        MI    48170‐3304
LENORE KING TR LENORE KING NON EXEMPT TRUST UA 5124 SUNSET BLVD                                                                              HOLLYWOOD       CA    90027‐5708
3/6/85
LENORE KOLHOFF                                 11368 OREGON CIR                                                                              FENTON          MI    48430‐2496
LENORE KROL & JULIAN KROL JT TEN               4822 OGDEN ST                                                                                 DETROIT         MI    48210‐2012
LENORE L WEISENFELD CUST JILL PAULA WEISENFELD 1420 LOCUST ST                       APT 11E                                                  PHILADELPHIA    PA    19102‐4208
U/THE NJU‐G‐M‐A
LENORE L WILSON                                18582 EMIT                                                                                    WYANDOTTE       MI    48192‐8308
LENORE LADERMAN                                7 HEMLOCK CIRCLE                                                                              WHITE PLAINS    NY    10605‐4616
LENORE M IMMARINO                              10712 CHILLICOTHE RD                                                                          KIRTLAND        OH    44094‐5101
LENORE M PACITTO                               1967 BRIGHTON RD                                                                              HOWELL          MI    48843‐9426
LENORE M SILVERS                               1703 W SOUTHFIELD CIR                                                                         CORDOVA         TN    38016‐8793
LENORE M STRAUSS                               134 BERKSHIRE DR                                                                              WHEELING        IL    60090‐3955
LENORE MARKOWITZ AARON                         811 JACKSON ST                                                                                DICKSON CITY    PA    18519‐1442
LENORE MONACO & JERRY MONACO JT TEN            5 APPLE TREE LANE                                                                             POUND RIDGE     NY    10576‐2338
LENORE MONACO CUST JEFFREY TYLER MONACO UTMA 5 APPLE TREE LANE                                                                               POUND RIDGE     NY    10576
NY
LENORE MONACO CUST JESSICA LAUREN MONACO       5 APPLE TREE LN                                                                               POUND RIDGE     NY    10576‐2338
UTMA NY
LENORE MONACO CUST JUSTIN SCOTT MONACO UTMA 5 APPLE TREE LN                                                                                  POUND RIDGE     NY    10576‐2338
NY
LENORE MONACO CUST LOGAN DEAN MONACO UTMA 5 APPLE TREE LANE                                                                                  POUND RIDGE     NY    10576
NY
LENORE N HOWLAND                               46 LEWIS ST                                                                                   READING         MA    01867‐3349
LENORE P CERDA TOD RAYMOND L CERDA III SUBJECT 15436 CENTRALIA                                                                               REDFORD         MI    48239‐3808
TO STA TOD RULES
LENORE R CRAWFORD TR UA 07/30/93 THE LENORE R  1444 TREYBORNE CIRCLE                                                                         COMMERCE        MI    48390‐2829
CRAWFORD LIVING TRUST                                                                                                                        TOWNSHIP
LENORE R THOMPSON                              4727 NORTH BAILEY AVENUE                                                                      AMHERST         NY    14226‐1347
LENORE R YANT                                  10050 SOUTH RIDGE DRIVE SE                                                                    CALEDONIA       MI    49316
LENORE S MANKINS                               920 GLOUSTER COURT                                                                            ANTIOCH         CA    94509
LENORE S RICH & BRIAN D RICH JT TEN            APT 108                              29155 POINTE‐O‐WOODS                                     SOUTHFIELD      MI    48034‐1247
LENORE S RICH & MISS MARCY E RICH JT TEN       APT 108                              29155 POINTE O WOODS                                     SOUTHFIELD      MI    48034‐1247
LENORE SOIFERMAN CUST DAVID JOSEPH SOIFERMAN 7905 WILLOW PINES PL                                                                            LAS VEGAS       NV    89143‐1364
UGMA CA
LENORE T WIEBER                                605 GRAPE ST                                                                                  PORTLAND        MI    48875‐1073
LENORE TRIPP                                   2314 RAINBROOK DR                                                                             MONROE          NC    28112‐8045
LENORE WALD ADM EST SUSAN ISRAEL               C/O DONALD B COHEN ATTNY             204 EAST 84TH STREET                                     NEW YORK        NY    10028
LENORE WALTON CLOSE                            26 INTERVALE RD                                                                               DARIEN          CT    06820‐3825
LENOX DOYLE                                    418 W MCCLELLAN ST                                                                            FLINT           MI    48505‐6619
LENOX MC CLENDON HUTCHESON                     5415 JOHN DREAPER                                                                             HOUSTON         TX    77056‐4230
LENTIUS L WEST                                 7940E FT LOWELL RD                                                                            TUCSON          AZ    85750‐2824
LENTIUS L WEST & SUSAN A WEST JT TEN           7940 E FORT LOWELL RD                                                                         TUCSON          AZ    85730‐2824
LENTON A CARTER                                67 BELMONT AVENUE                                                                             JERSEY CITY     NJ    07304‐3030
LENTON A CARTER JR                             67 BELMONT AVE                                                                                JERSEY CITY     NJ    07304‐3030
LENUAL SCOTT                                   1016 RIDGE AVE                                                                                TUSCUMBIA       AL    35674‐4535
LENVIL HOWARD                                  3342 RAVENWOOD RD                                                                             FAIRBORN        OH    45324‐2245
LENVIL R MCCULLAH                              PO BOX 181                                                                                    DEER LODGE      TN    37726‐0181
LENWOOD JACKSON JR                             3121 GREENRIDGE DRIVE                                                                         LANCASTER       PA    17601‐1370
                                                09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 739 of 855
Name                                               Address1                             Address2              Address3         Address4          City             State Zip

LENWOOD JACKSON JR CUST LENWOOD JACKSON III        3121GREENRIDGE DR                                                                             LANCASTER        PA    17601‐1370
UTMA PA
LENWOOD TURNER                                     127 GROVE TERRACE                                                                             NEWARK           NJ    07106‐2057
LENZIE HAWK                                        7324 COPPERSIDE LN                                                                            DAYTON           OH    45415‐1260
LENZIE J HEDRICK                                   HC68 BOX 96                                                                                   GLADY            WV    26268
LENZY BLAKE                                        245 FURLONG STREET                                                                            ROCHESTER        NY    14621‐3914
LEO A BAUMAN                                       12725 ROBINDALE DR                                                                            ROCKVILLE        MD    20853‐3442
LEO A BODNAR                                       3561 LEASON                                                                                   STERLING HTS     MI    48310‐3729
LEO A CECCHINI                                     133 BIG OAK DR                                                                                MAYLENE          AL    35114‐9779
LEO A DONOHUE JR                                   24 MADISON RD                                                                                 LANSDOWNE        PA    19050‐2100
LEO A ELSER                                        2996 MEADOW LN                                                                                YOUNGSTOWN       OH    44511‐2056
LEO A GALLAN                                       224 WHITEHALL BLVD                                                                            GARDEN CITY      NY    11530‐1310
LEO A GEISER                                       UNIT #17                             630 SAINT CLAIR AVE                                      HAMILTON         OH    45015‐3001
LEO A GORDON CUST JASON HEATON GORDON UTMA         5482 WILSHIRE BLVD # 1929                                                                     LOS ANGELES      CA    90036‐4218
CA
LEO A GOYETT                                       189 POPPS RD                                                                                  MIO              MI    48647‐9354
LEO A HEUSS & LORETTA R HEUSS JT TEN               1501 SEYMOUR DR                                                                               GRAND RAPIDS     MI    49504‐2690
LEO A HOELLEN TR UA 04/26/83 LEO A HOELLEN TRUST   1816 IMPERIAL GOLF COURSE BLVD                                                                NAPLES           FL    34110‐1010

LEO A HOWRIGAN JR                                  156 IDLEBROOK LANE                                                                            MATAWAN          NJ    07747‐1747
LEO A HULDERMAN                                    PO BOX 538                                                                                    ONAWAY           MI    49765‐0538
LEO A KALTENBRUN & GLORIA M KALTENBRUN JT TEN      2319 MAYFLOWER AVE                                                                            SHEBOYGAN        WI    53083‐3806

LEO A LENNOX                                       2117 KIRKTON                                                                                  TROY             MI    48083‐1661
LEO A PUDUP & JOSEPHINE B PUDUP JT TEN             200 WHITE HAMPTON LANE               APT 923                                                  PITTSBURG        PA    15236‐1553
LEO A ROBERSON II                                  2671 MAPLEWOOD ST                                                                             CUYAHOGA FALLS   OH    44221‐2610
LEO A ROWELL                                       5510 W MAPLE RAPIDS RD                                                                        SAINT JOHNS      MI    48879‐8506
LEO A SALAZAR                                      3901 SW HIDDEN COVE DR                                                                        LEES SUMMIT      MO    64082‐4636
LEO A SUTKUS JR                                    1892 COLUMBIA FALLS                                                                           COLUMBIA FALLS   MT    59912
LEO A VANESSE                                      5801 N ATLANTIC AVE                  APT 302                                                  CPE CANAVERAL    FL    32920‐3932
LEO A WIRTHMAN JR                                  5800 HAVENS RD                                                                                GAHANNA          OH    43230‐1927
LEO A ZIENKOSKY & MRS ISABEL ZIENKOSKY JT TEN      8813 GRAND OAK DRIVE                                                                          SALT LAKE CITY   UT    84121‐6124

LEO ABRAHAMS                                      208 EAST BROADWAY APT 1804                                                                     NEW YORK         NY    10002‐5541
LEO ADAMS                                         #9 N PINE WOOD DR                                                                              TEXARKANA        TX    75501‐7833
LEO ADAMS JR                                      3569 RIDGE CLIFFE DR                                                                           FLINT            MI    48532‐3740
LEO B ADAMS                                       28 CHIPPEWA DR                                                                                 MILAN            OH    44846‐9762
LEO B LOVE JR                                     7823 STATE ROUTE 298                                                                           KIRKVILLE        NY    13082‐9741
LEO B SIMMONS                                     13070 MAIN ST                                                                                  WILLISTON        SC    29853‐2322
LEO B SMITH & MRS GLORIA M SMITH JT TEN           3151 BELVIDERE RD                                                                              PHILLIPSBURG     NJ    08865‐9584
LEO BAILEY                                        1001 MCCLELLAN                                                                                 FLINT            MI    48504‐2633
LEO BARKER                                        3789 KNOLLWOOD DR                                                                              DAYTON           OH    45432‐2219
LEO BEZEK TR UA 05/05/2009 LEO BEZEK & MARY BEZEK 2738 ARROW HEIGHTS DRIVE                                                                       MARYLAND HTS     MO    63043
LIVING TRUST
LEO BOEKMAN                                       35 FREDERICK LN                                                                                SCARSDALE        NY    10583‐6505
LEO BRODMAN CUST JEFFREY N BRODMAN UGMA MI        567 LOVERNOIS                                                                                  FERNDALE         MI    48220‐2303

LEO BRONIECKI                                      927 HOLLYWOOD BLVD                                                                            HOLLYWOOD        FL    33019‐1605
LEO BRONIKOWSKI                                    8648 HOLLY DRIVE                                                                              CANTON           MI    48187‐4250
LEO BUSER                                          W60N739 JEFFERSON AVENUE                                                                      CEDARBURG        WI    53012
LEO C AINSWORTH                                    6720 HEIDT RD RT 3BOX 97                                                                      UNIONVILLE       MI    48767‐9427
LEO C AUGLE & JEANETTE G AUGLE JT TEN              3171 WEST 115ST                      #2 WEST                                                  MARINETTE PARK   IL    60803‐4523
LEO C BOTELER JR                                   14028 TOMAKA RD                                                                               JACKSONVILLE     FL    32225‐2022
LEO C EHRENREICH & MARGARET A EHRENREICH JT TEN    174 BREEZEWOOD CMN                                                                            EAST AMHERST     NY    14051‐2218

LEO C ENGEL                                      5307 S RT 44 HWY                                                                                JERSEY SHORE     PA    17740
LEO C FREIBURGER                                 15156 LAKEVIEW DR                                                                               WOLVERINE        MI    49799‐9708
LEO C FREIBURGER & KATHERINE M FREIBURGER JT TEN 15156 LAKEVIEW DR                                                                               WOLVERINE        MI    49799‐9708
                                               09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 740 of 855
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

LEO C HAGEMAN                                    5632 BUCKLEY DR                                                                              EL PASO         TX    79912‐6420
LEO C HARRINGTON & MARCIA L HARRINGTON JT TEN    500 FIRST ST NORTH                  PARK CTR APT 213                                         NEWTON          IA    50208‐3119

LEO C HIATT II                                   118 INDIAN TRL                                                                               LAKE ORION      MI    48362‐1264
LEO C HIATT SR                                   118 INDIAN TRL                                                                               LAKE ORION      MI    48362‐1264
LEO C JOHNSON                                    3083 LEVERING RD                                                                             CHEBOYGAN       MI    49721‐9375
LEO C KRAWCZAK & BARBARA ANN KRAWCZAK JT TEN     3438 LINGER LANE                                                                             SAGINAW         MI    48601‐5621

LEO C LORENZ                                     7439 N IRISH ROAD                                                                            OTISVILLE       MI    48463‐9465
LEO C MATTEUCCI                                  15448 W CYPRUS POINT DR                                                                      SUPRISE         AZ    85374
LEO C MCAFEE JR                                  3175 BIRCHWOOD CT                                                                            ANN ARBOR       MI    48105‐9270
LEO C MILLER & CHRISTINE L MILLER JT TEN         11335 DEHMEL RD                                                                              BIRCH RUN       MI    48415‐9707
LEO C SMITH‐JR                                   307 MIDLAND AVE                                                                              EAST ORANGE     NJ    07017‐1835
LEO C ZINNIEL                                    N5452 COUNTY TRUNK K                                                                         FOND DU LAC     WI    54935‐9802
LEO CISKIEWIC                                    3056 MONROE AVE                                                                              NIAGARA FALLS   NY    14303‐2026
LEO CORRIGAN TOD JUDITH GOTTSCHALLE              4671 AZALEA LN                                                                               NORTH OLMSTED   OH    44070‐2452
LEO D ANDERSON                                   10142 EAST 1000 NORTH                                                                        BROWNSBURG      IN    46112
LEO D CASEY                                      10773 MARSHALL RD                                                                            SOUTH LYON      MI    48178‐8844
LEO D COLOSKY & KERRY L LANG JT TEN              3847 CALHOUN RD                                                                              BEAVERTON       MI    48612‐9727
LEO D FAULMAN                                    C/O VIRGINIA P FAULMAN              16 GOLFVIEW CT                                           ROTONDA WEST    FL    33947‐2229
LEO D GOULD                                      10076 N GENESEE RD                                                                           MILLINGTON      MI    48746‐9760
LEO D JONES                                      105 HOBBS DR                                                                                 COLUMBIA        TN    38401‐2313
LEO D LONG                                       6384 DOWNS RD NW                                                                             WARREN          OH    44481‐9462
LEO D LUKA                                       4131 LAVEROCK                                                                                SPRING          TX    77388‐5738
LEO D PUDUP                                      23 TUXEDO DRIVE                                                                              WAYNE           NJ    07470‐2727
LEO D RYAN & MRS KATHLEEN L RYAN JT TEN          710 SAN PABLO ST N E                                                                         ALBUQUERQUE     NM    87108‐2140
LEO D STRICKLAND                                 1809 E LOVERS LANE                                                                           ARLINGTON       TX    76010‐5936
LEO DALE CORFITS & HELEN EMMA CORFITS JT TEN     233 NW 1OTH ST                                                                               ROCHESTER       MN    55901‐3009

LEO DELAROSA MRS LUZ DELAROSA & VIVIAN DELAROSA 9561 SW 25TH DRIVE                                                                            MIAMI           FL    33165‐2624
JT TEN
LEO DONATO                                      8161 EDMOND                                                                                   MASURY          OH    44438‐1114
LEO E ADAMS                                     1230 RIVERSIDE DR                                                                             HURON           OH    44839‐2630
LEO E ATTARD                                    15856 SCHULTZ                                                                                 MT CLEMENS      MI    48038‐4163
LEO E BERARD                                    3604 S LAPEER RD                                                                              METAMORA        MI    48455‐8962
LEO E COOK                                      6705 W GATE DR R 3                                                                            LAINGSBURG      MI    48848‐9220
LEO E CORR & MRS FRANCIS CORR JT TEN            822 E MT HOPE                                                                                 LANSING         MI    48910‐3260
LEO E DAILEY                                    243 KRAFT ST                                                                                  BEREA           OH    44017‐1448
LEO E DEWITT                                    1242 LESLIE                                                                                   LANSING         MI    48912‐2512
LEO E ESSEX                                     1041 W CENTER RD                                                                              ESSEXVILLE      MI    48732‐2007
LEO E GOULDEN CUST PATRICK DEAN GOULDEN UTMA 15701 ASHLAND DR                                                                                 LAUREL          MD    20707‐5401
MD
LEO E HARTUNG                                   12876 WILDER RD                                                                               REESE           MI    48757‐9306
LEO E HYTINEN                                   12690 BIG ISLAND DR                                                                           GOWEN           MI    49326‐9760
LEO E JEZIERSKI                                 5867 PRINCESS                                                                                 TAYLOR          MI    48180‐1023
LEO E JONES                                     15874 ASHTON RD                                                                               DETROIT         MI    48223‐1306
LEO E KRAEMER                                   8168 MENGE                                                                                    CENTER LINE     MI    48015‐1652
LEO E LAVALLEE                                  551 WEST D STREET SOUTH                                                                       DIXON           CA    95620‐2745
LEO E LLOYD & AVA R LLOYD JT TEN                7418 SPRING VILLAGE DRIVE            APT 307                                                  SPRINGFIELD     VA    22150‐4925
LEO E NEWTON                                    231 BARTMESS BLVD                                                                             SPARKS          NV    89436‐6022
LEO E OUELLETTE                                 36SMITH STREET                                                                                BRISTOL         CT    06010‐2933
LEO E RUEGSEGGER                                102 E IONIA STREET                                                                            BAY CITY        MI    48706‐5064
LEO E SCHURGER                                  4176E 600N                                                                                    DECATUR         IN    46733‐9125
LEO E THOMAS                                    407 NEWTON DR                                                                                 LAKE ORION      MI    48362‐3342
LEO E WOLL                                      PO BOX 343                                                                                    MERRILL         IA    51038‐0343
LEO ENDRIES CUST KEVIN ENDRIES UGMA WI          12739 W PECK PLACE                                                                            BUTLER          WI    53007‐1807
LEO EUGENE HOUCK                                3684 DAVISON RD                                                                               LAPEER          MI    48446‐2926
LEO EUGENE LAMB                                 169 S YOUNGS RD                                                                               BUFFALO         NY    14221‐8400
LEO F ALCORN                                    3990 MAIDEN                                                                                   WATERFORD       MI    48329‐1047
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                    Part 4 of 8 Pg 741 of 855
Name                                            Address1                             Address2             Address3          Address4            City              State Zip

LEO F AURIT                                     1146 WITHERING HILLS DRIVE                                                                      JANESVILLE        WI    53546‐1760
LEO F BEAUREGARD                                PO BOX 1100                                                                                     SLATERSVILLE      RI    02876‐0893
LEO F CHAPDELAINE                               225 LINCOLN ST APT B2                                                                           DUXBURY           MA    02332‐3627
LEO F CORPORON                                  1544 S DAYTON AVE                                                                               INDIANAPOLIS      IN    46203‐3517
LEO F CRONIN                                    28 MAIN STREET #102                                                                             MASHPEE           MA    02649‐2286
LEO F ENGEL JR                                  6533 IDA CENTER RD                                                                              IDA               MI    48140‐9751
LEO F FERNANDES                                 2048 PACIFIC AVE                                                                                SAN LEANDRO       CA    94577‐3421
LEO F FLYNN & MRS ANN C FLYNN JT TEN            12330 N SAGINAW ST                                                                              MT MORRIS         MI    48458‐1539
LEO F GUZNICZAK                                 11909 E NEWBURG                                                                                 DURAND            MI    48429‐9446
LEO F HATCH                                     186 SUNSET AVE                                                                                  MERIDEN           CT    06450‐4525
LEO F JACKSON JR                                3815 BRIGHTON DR                                                                                LANSING           MI    48911‐2126
LEO F LOTZ & DOROTHY A LOTZ TEN ENT             1912 W NORWEGIAN ST                                                                             POTTSVILLE        PA    17901‐2009
LEO F MARIN                                     11 BIRCHWOOD DR                      APT D                                                      BRISTOL           CT    06010‐2883
LEO F MARKEL                                    3880 N VASSER RD                                                                                REESE             MI    48757‐9349
LEO F MEDLEY JR                                 PO BOX 147                                                                                      WHARTON           NJ    07885‐0147
LEO F MEDLEY TOD LEO F MEDLEY JR                3411 FRAINS LAKE                                                                                YPSILANTI         MI    48198
LEO F POMICTER                                  7430 EVERGREEN                                                                                  DETROIT           MI    48228‐3269
LEO F RASMUSSEN                                 1131 N LEXINGTON DR                                                                             JANESVILLE        WI    53545‐2122
LEO F RUFFOLO & ROSA RUFFOLO JT TEN             4128 86TH STREET                                                                                KENOSHA           WI    53142‐5018
LEO F SCHEER                                    4620 TRAILS END TRL                                                                             HOUSE SPRINGS     MO    63051‐2093
LEO F SULLIVAN                                  77 WINDWARD LN                                                                                  BRISTOL           RI    02809‐1546
LEO F WHEELER                                   6005 MUSTANG DR                                                                                 KINGSPORT         TN    37664
LEO F ZELLER                                    PO BOX 607                                                                                      CONCORDIA         MO    64020‐0607
LEO FANT                                        4122 DELIA                                                                                      FLINT             MI    48505
LEO FLATT                                       2535 W 900 N                                                                                    ALEXANDRIA        IN    46001‐8257
LEO FRANCIS KARTHEISER                          3089 N W 25TH WAY                                                                               BOCA RATON        FL    33434‐3643
LEO FREEMAN & JANE F ODERBERG JT TEN            6053 WONDER DRIVE                                                                               FT WORTH          TX    76133‐3647
LEO FRENCH                                      939 S R 503 NORTH                                                                               W ALEXANDRIA      OH    45381‐9701
LEO FYFFE                                       3824 REBERT PIKE                                                                                SPRINGFIELD       OH    45502‐9742
LEO G ALVORD & PATRICIA M ALVORD JT TEN         64 S HIGHLAND AVE                                                                               WELLSVILLE        NY    14895‐1416
LEO G DAHLEM                                    924 BIRCH                                                                                       EUDORA            KS    66025‐9531
LEO G DREYER                                    4550 BUTLER HILL                                                                                SAINT LOUIS       MO    63128‐3522
LEO G PARISH & JANET C PARISH JT TEN            3054 PINEHURST AVE                                                                              PITTSBURGH        PA    15216‐2435
LEO G SCHLAUD                                   5338 OLD STATE RD                                                                               NORTH BRANCH      MI    48461‐9789
LEO G SMYTH & JOAN M SMYTH TR UA 3/7/00 THE     498 1/2 MONMOUTH ST                                                                             JERSEY CITY       NJ    07302‐1572
SMYTH LIVING TRUST
LEO GARTH                                       C/O MARY GARTH                       3978 EAST 188TH ST                                         CLEVELAND         OH    44122‐6761
LEO GERARD HART                                 115 VAN BRACKLE RD                                                                              MATAWAN           NJ    07747‐1811
LEO GIUFFRE                                     VIA VITTORIO EMANUELE 200            98100 LIPARI ME                        ITALY
LEO GODWIN                                      115 COUNTRY LN                                                                                  JESSIEVILLE       AR    71949‐9281
LEO GOODMAN‐MALAMUTH II TR GOODMAN‐             47540 VIA MONTESSA                                                                              LA QUINTA         CA    92253‐2132
MALAMUTH FAMILY TRUST UA 12/22/93
LEO GRAYS                                       3248 WEST 29TH ST                                                                               INDIANAPOLIS      IN    46222‐2116
LEO H DEMERS                                    22847 POPLAR BEACH                                                                              ST CLAIR SHORES   MI    48081‐2614
LEO H EIGNER JR                                 14199 NICHOLS RD                                                                                MONTROSE          MI    48457‐9433
LEO H FLEURY                                    1957 COUNTY D #3                                                                                OLIVEBRIDGE       NY    12461
LEO H MCDONALD                                  122 SHAWNEE DRIVE                                                                               BEDFORD           IN    47421‐5226
LEO H WALTHERS                                  813 DELHURST DRIVE                                                                              MANCHESTER        MO    63021‐6733
LEO HAMAJI & NORA MAR JT TEN                    3226 HUNTER BOULEVARD SOUTH                                                                     SEATTLE           WA    98144‐7030
LEO HERMAN KEATING JR                           631 MAPLE VISTA ST                                                                              IMLAY CITY        MI    48444‐1469
LEO I AMORE                                     28411 LACUSTGROWE RD                                                                            MCARTHUR          OH    45651
LEO I BACHNER & SARAH BACHNER JT TEN            747 N MAIN ST                        APT C1                                                     WEST HARTFRD      CT    06117‐2406
LEO I ORMESHER                                  1484 PARADISE VIEW ROA                                                                          MANSFIELD         OH    44905‐1833
LEO J ALLARD                                    4715 BISHOP ST                                                                                  MILLINGTON        MI    48746
LEO J BARANOWSKI                                438 ORLEANS AVE                                                                                 NAPERVILLE        IL    60565‐2638
LEO J BELLER                                    C/O THOMAS T BELLER                  1235 S LAKE DR                                             NOVI              MI    48377‐1826
LEO J BUKOWSKI JR                               155 JOHNSON AVENUE                                                                              MERIDEN           CT    06451‐2739
LEO J CARPA                                     2662 MILITARY ST                                                                                PORT HURON        MI    48060‐8136
LEO J CARTIER JR                                BOX 77                               BURNS HOLDEN ROAD                                          FT COVINGTON      NY    12937‐0077
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 742 of 855
Name                                           Address1                             Address2             Address3          Address4          City             State Zip

LEO J CUMMINGS & CONNIE A CUMMINGS TEN ENT     306 W 6TH ST                                                                                  EMPORIUM         PA    15834‐1104

LEO J CUMMINGS & CONNIE CUMMINGS JT TEN        306 W 6TH ST                                                                                  EMPORIUM         PA    15834‐1104
LEO J DEVITT                                   2426 WEST ADAMS                                                                               ST CHARLES       MO    63301‐1428
LEO J DUHAIME                                  9386 N RIVER RD                                                                               ALGONAC          MI    48001‐4008
LEO J DUNKOWSKI                                55 BLICK ST                                                                                   BUFFALO          NY    14212‐2310
LEO J FOSTER                                   56 S FORGE MANOR DR                                                                           PHOENIXVILLE     PA    19460‐2702
LEO J FREY III CUST JENNIFER L FREY UTMA NJ    6 GRANDIN DR                                                                                  ANNANDALE        NJ    08801‐3342
LEO J HOOGERHYDE & HARRIET HOOGERHYDE JT TEN   20708 US 27 NORTH                                                                             MARSHALL         MI    49068‐9490

LEO J HURST                                    1660 WINFORD RD                                                                               BALTIMORE        MD    21239‐3610
LEO J KIEMEYER                                 7662 W OLD COLONY DR                                                                          NEW PALESTINE    IN    46163‐9198
LEO J KILGO                                    2234 MCLAREN ST                                                                               BURTON           MI    48529‐2155
LEO J KLINE                                    713 GRAHAM ROAD                                                                               CUYAHOGA FALLS   OH    44221‐1011
LEO J LATINI CUST BRENDA J LATINI UGMA IL      125 GREAT POND RD                                                                             SIMSBURY         CT    06070‐1525
LEO J LOGEL JR                                 2060 FOX RUN RD                                                                               CENTERVILLE      OH    45459‐3416
LEO J MAHONEY                                  3318 W 159TH ST                                                                               CLEVELAND        OH    44111‐1946
LEO J MCCOIN                                   7413 NORTH 300 EAST                                                                           MONTPELIER       IN    47359‐9617
LEO J MCILLANEY JR                             508 S WOODBRIDGE                                                                              BAY CITY         MI    48706‐3221
LEO J MURRAY                                   56 GORDON ST                                                                                  SOMERVILLE       MA    02144‐1110
LEO J NYE                                      5829 E 300 S                                                                                  MARION           IN    46953‐9182
LEO J PETRIDES                                 505 JUNIPER DR                                                                                DAVISON          MI    48423‐1840
LEO J QUARTI                                   2 ASTWOOD LANE                                                                                BELLA VISTA      AR    72714‐4301
LEO J ROOD & CHARLOTTE G ROOD JT TEN           8724 GLADEDALE DRIVE                                                                          WOODWAY          TX    76712‐3543
LEO J SANICKI                                  5267 WEST 52ND STREET                                                                         PARMA            OH    44134‐1023
LEO J SCHOMER                                  22015 MIRAGE LA                                                                               SUN CITY WEST    AZ    85375‐2205
LEO J SHEETS                                   4392 PINEGROVE DR                                                                             DRYDEN           MI    48428‐9715
LEO J UPHAM                                    6851 CALIFORNIA SCHOOL RD SCHO                                                                EATON            OH    45320‐9312
LEO J VAN POUCKER                              PO BOX 215                                                                                    CASPIAN          MI    49915‐0215
LEO J VINCENT                                  2306 FIRST ST                                                                                 SANDUSKY         OH    44870‐3909
LEO J WEBER                                    600 E JEFFERSON AVE                                                                           EFFINGHAM        IL    62401‐3405
LEO J WELCH                                    ATT MARY WELCH                       34415 ZACHARY CT                                         CHESTERFIELD     MI    48047‐6124
LEO J WOLKOWICZ & FRANCES M HARLOW JT TEN      3535 LAKESHORE DRIVE                                                                          NEWPORT          MI    48166‐9028
LEO J ZARATTINI                                21114 PRESTANCIA DRIVE                                                                        MOKENA           IL    60448
LEO JACKSON JR                                 15028 MANOR                                                                                   DETROIT          MI    48238‐1619
LEO JAMES                                      2555 HWY 6 E                                                                                  PONTOTOC         MS    38863‐7108
LEO JAMES J AYOTTEE                            249 MAIN STREET                                                                               SAINT AGATHA     ME    04772‐6145
LEO JAMES LATAILLE                             PO BOX 360                                                                                    PASCOAG          RI    02859‐0360
LEO JEROME CUST CHRISTOPHER CARL JEROME UGMA   3165 E MICHIGAN AV                                                                            LANSING          MI    48912‐4618
MI
LEO JOHN AMES                                  8430 CLARK RD                                                                                 GRAND LEDGE      MI    48837‐9282
LEO JOSEPH VILLENEUVE                          391 ARBUCKLE POND RD                                                                          COLTON           NY    13625‐4136
LEO JOSEPH WESZKA                              8049 N OVERHILL                                                                               NILES            IL    60714‐2819
LEO K DOHRMAN                                  G3405 HAMMERBERG RD                                                                           FLINT            MI    48507
LEO K PARTYKA CUST LEE M PARTYKA UGMA CT       376 MANSFIELD RD                                                                              NORTH HAVEN      CT    06473‐1214
LEO K TRUMBLE                                  7776 N SHAYTOWN RD RT #1                                                                      VERMONTVILLE     MI    49096‐9746
LEO KAPUT                                      7804 CRONIN                                                                                   JUSTICE          IL    60458‐1330
LEO KIMMET                                     517‐4TH STREET SE                                                                             CUT BANK         MT    59427‐3506
LEO KINASIEWICZ & LEO KINASIEWICZ JR JT TEN    12988 TANEY STREET                                                                            CROWN POINT      IN    46307‐9766
LEO KOGER                                      2010 WABASH AVE                                                                               FLINT            MI    48504‐2954
LEO KOPPEL                                     PO BOX 390                                                                                    FORT PLAIN       NY    13339‐0390
LEO KRASNAHILL                                 71 SPRUCE MEADOWS DRIVE                                                                       MONROE           NJ    08831‐3102
                                                                                                                                             TOWNSHIP
LEO KRUPP                                      507 WICKSHIRE LN                                                                              DURAND           MI    48429‐1429
LEO KUNIGK NETO                                635 S SCOVILLE AVE                                                                            OAK PARK         IL    60304
LEO KUNIGK NETO                                635 S. SCOVILLE AVE                                                                           OAK PARK         IL    60304
LEO KUNIGK NETO                                635 S SCOVILLE                                                                                OAK PARK         IL    60304
LEO L BITTCHER                                 507 DORSEYVILLE RD                                                                            PITTSBURGH       PA    15238‐1615
LEO L BLIMKA                                   8115 ENGLEWOOD DR                                                                             CLARKSTON        MI    48346‐1112
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 743 of 855
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

LEO L DOYLE                                        2203 COWAN CREEK RD                                                                              CLARKSVILLE     OH    45113‐9406
LEO L GAY JR & MARILYN C GAY JT TEN                4411 OTTAWA                                                                                      MIDLAND         MI    48642‐3531
LEO L GRUDOSKY                                     3524 STATE ROUTE # 183                                                                           ROOTSTOWN       OH    44272‐9797
LEO L HEID & DOROTHY J HEID JT TEN                 6410 KENWOOD AV                                                                                  BALTIMORE       MD    21237‐1828
LEO L KALIPS                                       17 NOVELLA DR                                                                                    SAINT PETERS    MO    63376‐3056
LEO L KALLER JR                                    4468 E MALLORY AVE                                                                               MEMPHIS         TN    38117‐6940
LEO L KURTENBACH                                   2334 SWEETBRIAR AVE                                                                              CREST HILL      IL    60403‐1764
LEO L LEBLANC                                      158 SWANSON TERRACE                                                                              STOUGHTON       MA    02072‐3154
LEO L LOPEZ                                        14700 SAN JOSE ST                                                                                MISSION HILLS   CA    91345‐2236
LEO L LOWENTRITT JR TR JASON LOWENTRITT UA         3311 PRESCOTT RD                        STE 100                                                  ALEXANDRIA      LA    71301‐3917
12/23/85
LEO L LOWENTRITT JR TR JOSHUA EDWARD               9400 SARA CT                                                                                     RIVER RIDGE     LA    70123
LOWENTRITT UA 12/23/85
LEO L PEPPER JR                                    BOX 55                                  264 BROAD STREET                                         CLARKSVILLE     MI    48815‐0055
LEO L RADER                                        1018 LAKEVIEW                                                                                    WATERFORD       MI    48328‐3817
LEO L REAMER                                       5258 NECKEL                                                                                      DEARBORN        MI    48126‐3244
LEO L SKROBACZ & MRS BERNICE M SKROBACZ JT TEN     60 CHESTNUT HILL LN S                                                                            BUFFALO         NY    14221‐2605

LEO L STATON                                       204 ELM AVENUE                                                                                   SAC CITY        IA    50583‐1404
LEO L STRAUSS                                      5264 WORCHESTER DR                                                                               SWARTZ CREEK    MI    48473‐1160
LEO L TARTAMELLA                                   23376 MELVIILLE                                                                                  HAZEL PARK      MI    48030‐1619
LEO L WESLEY                                       155 DRIFTWOOD LANE                                                                               ROCHESTER       NY    14617‐5341
LEO L WOJTKOWICZ                                   607 E MAIN ST                                                                                    FLUSHING        MI    48433‐2007
LEO LE CLAIR JR                                    4285 CONSEAR RD                                                                                  LAMBERTVILLE    MI    48144‐9741
LEO LEIB CUST ROBERT LEIB UGMA NY                  400 SPRING ST                           APT 344                                                  SAINT PAUL      MN    55102‐4449
LEO LIPSEY                                         3945 NW 85TH TER                        APT D                                                    KANSAS CITY     MO    64154‐3781
LEO LOUIS SKROBACZ                                 60 CHESTNUT HILL LN S                                                                            BUFFALO         NY    14221‐2605
LEO M ALBERTS PER REP EST FRED ALBERTS             3742 BURR COURT                                                                                  STERLING HTS    MI    48310
LEO M BRANCHAUD & SHIRLEY S BRANCHAUD JT TEN       219 WAKELAND DR                                                                                  STEPHENS CITY   VA    22655‐2332

LEO M HERMAN & DONALD B HERMAN JT TEN              5140 KENDALL DR                                                                                  BURTON          MI    48509‐1900
LEO M HERMAN & HELENA EVANS JT TEN                 5140 KENDALL DR                                                                                  BURTON          MI    48509‐1900
LEO M HINES                                        557 JADINE DR                                                                                    DEFIANCE        OH    43512‐1324
LEO M MARTEL                                       6836 TERRENO DR                                                                                  RNCHO MURIETA   CA    95683
LEO M MONTGOMERY TOD BETTY JANE MILLER             519 FAIR MEADOW DRIVE                                                                            WASHINGTON      PA    15301
LEO M PROPHET                                      265 CAMELBACK RD #275                                                                            PLEASANT HILL   CA    94523
LEO M VITO                                         535 WARREN AVE                                                                                   FLUSHING        MI    48433‐1461
LEO M ZIMMER                                       5422 LOVE WARNER RD                                                                              CORTLAND        OH    44410‐8620
LEO MARTINEZ                                       448 B STREET                                                                                     FILLMORE        CA    93015‐1215
LEO MILTON STONE                                   BOX 502                                 201 LAKE ST                                              HARRISVILLE     MI    48740‐9650
LEO MOSLEY                                         433 DEARBORN AVENUE                                                                              DAYTON          OH    45417‐2001
LEO MULE                                           338 HAMLIN CENTER ROAD                                                                           HILTON          NY    14468‐9164
LEO N HUBBARD                                      499 MARTIN LUTH KING BLVD N                                                                      PONTIAC         MI    48342
LEO N MILLER                                       5261 HAROLD DRIVE                                                                                FLUSHING        MI    48433‐2506
LEO N SMITH                                        1641 W COLONIAL HEIGHTS                                                                          TUCSON          AZ    85746
LEO NECHYBA                                        30237 WARNER                                                                                     WARREN          MI    48092‐1850
LEO NESTER                                         35761 LUCERNE                                                                                    CLINTON TWP     MI    48035‐2746
LEO NEVILLE                                        7101 SW 93RD ST RD                                                                               OCALA           FL    34476‐9231
LEO O STOEBER TR LEO O STOEBER TRUST UA 04/24/86   EVERGREEN PLACE                         801 GREGORY ST                                           NORMAL          IL    61761‐2444
LEO O STOEBER
LEO OPERTI                                         29567 GILCHREST ST                                                                               FARMINGTON HILLS MI   48334‐1613

LEO P ALLISON                                      15704 GADDY RD                                                                                   SHAWNEE         OK    74801‐2249
LEO P BAILEY                                       PO BOX 218                                                                                       SATSOP          WA    98583‐0218
LEO P COYNE & JAMES A COYNE JT TEN                 468 CENTRE ST                                                                                    MILTON          MA    02186‐4132
LEO P DURHAM                                       G5438 W COURT ST                                                                                 FLINT           MI    48504
LEO P FELBER                                       60 RUSKIN AVE                                                                                    WOONSOCKET      RI    02895‐5626
LEO P GOOD                                         1251 LEESER AVENUE                                                                               AKRON           OH    44314‐2516
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 744 of 855
Name                                               Address1                                Address2             Address3          Address4          City               State Zip

LEO P HOPKINS & ANN A HOPKINS TR HOPKINS 2004      298 GLENWOOD AVE                                                                                 DALY CITY          CA    94501‐5303
TRUST UA 05/20/04
LEO P PATILLA                                      603 EAST CHESTNUT ST                                                                             DELMAR             MD    21875‐1714
LEO PARSONS TR LEO PARSONS TRUST UA 09/24/93       801 MARINER COVE                                                                                 EATON              OH    45320‐2521

LEO PATRICK BERGIN                                 1555 RIVERTRACE DR                                                                               ORANGE PARK        FL    32003‐7778
LEO PLACENCIA                                      656 BENSON                                                                                       PONTIAC            MI    48342‐2504
LEO R BALDIC                                       26 MELENDY ROAD #2                                                                               MILFORD            NH    03055‐3466
LEO R BOCK                                         732 N W ROSACERE DR                                                                              BLUE SPRINGS       MO    64015
LEO R CARTER                                       307 PATRIOT WAY                                                                                  YORK TOWN          VA    23693‐4640
LEO R COOK                                         22460 KLINES RESORT RD LOT 213                                                                   THREE RIVERS       MI    49093‐8621
LEO R COOPER                                       12796 GEOGRIA AVE                                                                                GRAND LEDGE        MI    48837‐1904
LEO R CURRY                                        600 PROSPECT                                                                                     EXCELSIOR SP       MO    64024‐3516
LEO R DEBIEN JR                                    564 COUNTY RTE 40                                                                                MASSENA            NY    13662‐3303
LEO R DREW                                         4 NEWKIRK RD                                                                                     LADERA RANCH       CA    92694‐0526
LEO R GERVAIS                                      24908 LEARNING LN                                                                                GOETZVILLE         MI    49736
LEO R GRAYWACZ                                     1079 PLYMOUTH ST                                                                                 WINDSOR            CT    06095‐3606
LEO R IGNASIAK                                     12341 DE GROVE                                                                                   STERLING HEIGHTS   MI    48312‐3128

LEO R JONAS                                        8504 N 400 WEST                                                                                  FAIRLAND           IN    46126‐9746
LEO R KORB                                         1810 POINT OF ROCKS RD                                                                           CHESTER            VA    23836‐6247
LEO R LOWE                                         7201 PEPPERTREE CIR S                                                                            DAVIE              FL    33314‐6921
LEO R LOWE & VIVIEN C LOWE JT TEN                  7201 PEPPERTREE CIR S                                                                            DAVIE              FL    33314‐6921
LEO R MAZUR                                        215 LAFAYETTE                                                                                    WILLIAMSVILLE      NY    14221‐6413
LEO R MOLISZEWSKI                                  82 BRIDGETTE BL                                                                                  LAKE WORTH         FL    33463‐4320
LEO R VANSAW                                       3060 POLLOCK RD                                                                                  GRAND BLANC        MI    48439‐8335
LEO R WAUTERS & DOLORES WAUTERS JT TEN             5448 WILSON RD                                                                                   INDIAN RIVER       MI    49749‐9322
LEO RAFAIL                                         20929 LEONARD RD                                                                                 LUTZ               FL    33549‐8359
LEO RAYMOND SHONITSKY                              241 SOMERVILLE AVE                                                                               TONAWANDA          NY    14150‐8707
LEO RONDEAU                                        15335 WARWICK ST                                                                                 DETROIT            MI    48223‐1720
LEO S BARD                                         1016 PARKVIEW AVENUE                                                                             MCDONALD           OH    44437‐1659
LEO S BRANDOLINE                                   C/O AGNES BRANDOLINE                    C/O 900 REVLAND DR   TECUMSEH ON       N8N 5B2 CANADA
LEO S GARDZIELEWSKI TR LEO S GARDZIELEWSKI TRUST   110 W MEADOW DR                                                                                  COUNTRY SIDE       IL    60525‐4733
UA 12/08/99
LEO S GOLEBIEWSKI                                  564 MARILLA ST                                                                                   BUFFALO            NY    14220‐2257
LEO S HINTZ                                        138 CARDWELL                                                                                     GARDEN CITY        MI    48135‐3141
LEO S JOHNSON                                      26745 OAKRIDGE DR                                                                                WATERFORD          WI    53185‐1313
LEO S KWALIK JR                                    11364 PFLUMM                                                                                     SHAWNEE MISSION    KS    66215‐4813

LEO S SCHWARTZ                                     4018 MICHILLINDA RD                                                                              WHITEHALL          MI    49461‐9710
LEO S SUPER                                        7121 AITKEN ROAD                                                                                 LEXINGTON          MI    48450‐9314
LEO SCHAEFER                                       PO BOX 171                                                                                       TERRYVILLE         CT    06786‐0171
LEO SCHAEFFER                                      1 KENT DRIVE                                                                                     FORKED RIVER       NJ    08731‐5617
LEO SCOTT BRITT JR                                 BOX 346                                                                                          GRAPEVIEW          WA    98546
LEO SIMAS                                          PO BOX 4539                             FORD EUSTIS                                              FORT EUSTIS        VA    23604‐0539
LEO SIMONE CUST BRIGITTE DOLORES SIMONE UGMA       PO BOX 121                                                                                       COLTON             NY    13625‐0121
NY
LEO SIMONE CUST MICHELLE JOYCE SIMONE UGMA NY      PO BOX 121                                                                                       COLTON             NY    13625‐0121

LEO SITZMAN                                        18312 RAYMOND AVE                                                                                RICHMOND           MN    56368‐8503
LEO SMALL                                          4501 S HELMS RD                                                                                  NASHVILLE          IN    47448‐9799
LEO SOBIESKI & SUSAN M SOBIESKI JT TEN             6420 N ELM TREE RD                                                                               MILWAUKEE          WI    53217‐4126
LEO SOUKUP JR & ELOUISE M SOUKUP JT TEN            1235 N LAIRD AVE                        APT 123                                                  HASTINGS           NE    68901‐2713
LEO STANTON                                        15119 CORDARY AVE                                                                                LAWNDALE           CA    90260‐2313
LEO STIGLER                                        1324 NICHOL AVE                                                                                  ANDERSON           IN    46016‐3353
LEO STINSON                                        12 BELLVIEW TERRACE                                                                              PRINCETON          NJ    08540‐2216
LEO T BEAUREGARD JR                                5110 FAIR VIEW AVE APT 108                                                                       DOWNERS GROVE      IL    60515‐5240
LEO T GAJEWSKI & PATRICIA P GAJEWSKI JT TEN        215 SOUTH SIXTH STREET                                                                           ROGER CITY         MI    49779‐2010
LEO T GRAY                                         393 BIRDS NEST LN                                                                                MASON              MI    48854‐1152
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                      Part 4 of 8 Pg 745 of 855
Name                                            Address1                               Address2                   Address3          Address4          City               State Zip

LEO T MCCULLOUGH                                4048 EASTWAY                                                                                          TOLEDO             OH    43612‐1709
LEO T SAWYKO                                    1570 EAST AVE                          APT 708                                                        ROCHESTER          NY    14610‐1640
LEO T STITT                                     3141 S REED RD                                                                                        KOKOMO             IN    46902‐3758
LEO T UPCHURCH                                  2302 ELLSBERRY ST                                                                                     TUSKEGEE           AL    36088‐2954
                                                                                                                                                      INSTITUTE
LEO T ZAYAC                                     6469 WEBB DR                                                                                          FLINT              MI    48506‐1744
LEO TORRES                                      1824 DAVID AVE                                                                                        LAS VEGAS          NV    89101‐2221
LEO TRUNCALLI                                   81 RIDGE RD                                                                                           BRISTOL            CT    06010‐7361
LEO V HERBERS                                   4849 E LOUISIANA AVE                                                                                  DENVER             CO    80246‐3540
LEO V JOHNS                                     2019 NUTE ST                                                                                          BAKERSFIELD        CA    93312‐3514
LEO V JOHNS & BETTY A JOHNS JT TEN              2019 NUTE STREET                                                                                      BAKERSFIELD        CA    93312‐3514
LEO V PRUNEAU                                   PO BOX 506                             HARPERS ROAD WOODEND       VICTORIA          3442 AUSTRALIA
LEO V RAFFLE CUST EMILY ANNE RAFFLE UGMA NH     13 MOCKINGBIRD HILL RD                                                                                WINDHAM            NH    03087‐1220

LEO V TROPF                                     2023 MARY AVE                                                                                         LANSING          MI      48910‐5275
LEO VIRGA & ETHEL M VIRGA JT TEN                43244 LEELANAU DR                                                                                     STERLING HTS     MI      48314‐1850
LEO W ALLEY                                     451 CUMBERLAND AVE                                                                                    TEANECK          NJ      07666‐2648
LEO W BLITZ                                     32450 QUEENSBORO                                                                                      FARMINGTON HILLS MI      48334‐1634

LEO W LE TOURNEAU & ARDETH M LE TOURNEAU TEN    4526 GREENFIELD DR                                                                                    BAY CITY           MI    48706‐2710
ENT
LEO W PINARD II                                 714 BUCHON                                                                                            SAN LUIS OBISPO    CA    93401‐4306
LEO W RICKENBERG                                RT 6 28353 HAGY RD                                                                                    DEFIANCE           OH    43512‐8940
LEO W SMITH                                     2603 DEWEY STREET                                                                                     ANDERSON           IN    46016‐4747
LEO W TOBIN III                                 4830 N 25TH ST                                                                                        ARLINGTON          VA    22207‐2619
LEO W WAGNER II                                 1125 BEAVER VALLEY ROAD                                                                               BEAVERCREEK        OH    45434‐7013
LEO WALKER                                      205 COLUMBIA ST                                                                                       MINDEN             LA    71055‐5344
LEO WATSON                                      PO BOX 644                                                                                            SAVANNAH           GA    31402‐0644
LEO WEISS & ETHEL WEISS JT TEN                  1754 55TH STREET                                                                                      BROOKLYN           NY    11204‐1933
LEO WELSH                                       1311 APPLEBY AVE                                                                                      BALT               MD    21209‐3719
LEO WHITE                                       4173 RUSSELL BLVD                                                                                     ST LOUIS           MO    63110‐3611
LEO WIELS                                       OPEL BELGIUM NV                        NOORDERLAAN 401            B2030 ANTWERPEN   BELGIUM
LEO WIELS                                       OPEL BELGIUM                           NOORDERLAN 401 HAVEN 500   ANTWERPEN         BELGIUM
LEO WILLIAMS                                    8621 STEEL                                                                                            DETROIT            MI    48228‐4057
LEO WILLIAMS                                    30 ELMWOOD DR                                                                                         SPRINGBORO         OH    45066‐1406
LEO X COOKE                                     C‐604                                  80 W BALTIMORE AVE                                             LANSDOWNE          PA    19050‐2133
LEOCADIA BRINKER TR LEOCADIA BRINKER REV LIV    483 W TIENKEN RD                                                                                      ROCHESTER HILLS    MI    48306‐4410
TRUST UA 12/28/93
LEOCADIA M LONSKI                               2208 SERRA DR                                                                                         STERLING HTS       MI    48310‐5248
LEOCADIA SKIERKOWSKI                            3217 BARKWAY DRIVE                                                                                    STERLING HEIGHTS   MI    48310‐6918

LEOCADIA T ALEKSA                               8337 W WESTCOTT DR                                                                                    PEORIA         AZ        85382
LEOCADIO TORRES                                 717 SAMUEL CHASE LANE                                                                                 WEST MELBOURNE FL        32904‐7536

LEODIS K WITCHER                                2103 BLADES                                                                                           FLINT              MI    48503‐5866
LEOLA ANDREWS                                   3517 TAMARACK TRAIL                                                                                   MT MORRIS          MI    48458‐8211
LEOLA BURSON                                    2252 GREEN FORREST DR                                                                                 DECATUR            GA    30032‐7175
LEOLA C MORGAN                                  7407 COUNTRY RUN PK                                                                                   ORLANDO            FL    32818‐8277
LEOLA DIXON                                     315 ROXBURY RD                                                                                        DAYTON             OH    45417‐1317
LEOLA DOWNER                                    20263 MARX ST                                                                                         DETROIT            MI    48203‐1343
LEOLA E SHILLINGBURG                            2554 25TH STREET SW                                                                                   AKRON              OH    44314‐1638
LEOLA F GRUTZIUS                                225 HIGHLAND DR                                                                                       CHICAGO HEIGHTS    IL    60411‐2005

LEOLA H HANCOCK                                 207 B SKYVIEW TERRACE                                                                                 FRIENDSWOOD        TX    77546‐3876
LEOLA M BOLTON                                  9221 MEREDITH GRADE                                                                                   HARRISON           MI    48625‐8847
LEOLA M MORGAN                                  7407 COUNTRY RUN PKWY                                                                                 ORLANDO            FL    32818‐8277
LEOLA N WRIGHT & JUDITH BRIDGES JT TEN          2034 BELL RD                                                                                          NILES              MI    49120‐4368
LEOLA NELSON & ELLIOT L NELSON JT TEN           32610 W CHICAGO ST                                                                                    LIVONIA            MI    48150‐3735
LEOLA O DORSEY                                  346 SHERIDAN DRIVE                                                                                    NEW CASTLE         DE    19720‐2161
                                            09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 4 of 8 Pg 746 of 855
Name                                          Address1                            Address2             Address3          Address4          City             State Zip

LEOLA S WINDLE & WALTER T WINDLE JT TEN       546 MAPLEWOOD RD                                                                             SPRINGFIELD     PA     19064
LEOLA T HILTON                                31 PINE LAKE RD                                                                              TIFTON          GA     31793‐5504
LEOLA WARGO                                   7690 S FORDNEY RD                                                                            ST CHARLES      MI     48655‐9771
LEOLA WASHINGTON                              95 STONE AVE                                                                                 WHITE PLAINS    NY     10603‐2150
LEOLLA ROBINSON                               26218 MILBURN RD                                                                             OAKWOOD VILLAGE OH     44146‐5936

LEOMA I SMITH                                 1620 TOMLINSON                                                                               MASON            MI    48854‐9257
LEON A BRIGGS                                 12353 W LAKE RD                                                                              MONTROSE         MI    48457‐9408
LEON A ELLIOT                                 130 YAVAPAI TRAIL                                                                            SEDONA           AZ    86336‐3507
LEON A GILBERT                                18401 PLEASANT VALLEY                                                                        ATLANTA          MI    49709‐9367
LEON A KROETSCH                               11189 E TARPON CT                                                                            FLORAL CITY      FL    34436‐2539
LEON A LAYAYE                                 346 TERRACE DRIVE                                                                            BRAWLEY          CA    92227‐3041
LEON A MELLEN                                 4805 WALDON RD                                                                               CLARKSTON        MI    48348‐5017
LEON A MELLEN & JUDITH L MELLEN JT TEN        4805 WALDON RD                                                                               CLARKSTON        MI    48348‐5017
LEON A MONSON                                 3673 W 6000 S                                                                                ROY              UT    84067‐1020
LEON A RAPUANO JR                             2508 KITTIWAKE DR BRKMEADE I                                                                 WILMINGTON       DE    19805‐1048
LEON A SCOTT                                  547 SW 93RD ST #204                                                                          OKLAHOMA CITY    OK    73139‐4808
LEON A TRILLER                                608 CLAYMONT DR                                                                              BALLWIN          MO    63011
LEON A TUCHOLSKI                              597 WEST IRONWOOD                                                                            CHANDLER         AZ    85225‐6540
LEON A UMBERGER                               818 DORSEY AVE                                                                               BALTIMORE        MD    21221‐3506
LEON A WEBER                                  11490 E DAVID HWY                                                                            WESTPHALIA       MI    48894
LEON A WILBER                                 422 SKOKIE BLVD                                                                              WILMETTE         IL    60091‐3003
LEON ABELON                                   159 D GRAMERCY CT                                                                            LAKEWOOD         NJ    08701‐6379
LEON ABNEY JR                                 9025 WILDCAT RD                                                                              TIP CITY         OH    45371‐9134
LEON ABRAMS                                   1268 YELLOWWOOD DRIVE                                                                        COLUMBUS         OH    43229
LEON AGNEW                                    1935 SILVERSTONE DRIVE                                                                       LAWRENCEVILLE    GA    30045‐7274
LEON AKSELRAD & LISA AKSELRAD JT TEN          960 LAWRENCEVILLE ROAD                                                                       PRINCETON        NJ    08540‐4320
LEON ALFORD                                   21515 MC CLUNG                                                                               SOUTHFIELD       MI    48075‐3219
LEON ALLAN HOCHMAN                            4215 VILLAGE COURT                                                                           ORCHARD LAKE     MI    48323‐1674
LEON ANTHONY VANDERLOOP                       462 WOODEN SHOE CIRCLE                                                                       KAUKAUNA         WI    54130‐8703
LEON ASHNER                                   55 E 9 ST                                                                                    NEW YORK         NY    10003‐6311
LEON AUGURSON                                 PO BOX 7116                                                                                  MONROE           LA    71211‐7116
LEON B COOKE                                  1456 SMITHFIELD FOREST LN                                                                    PLEASANT GROVE   AL    35127‐3529
LEON B LEFLORE                                519 SINGLETON ST                                                                             CANTON           MS    39046‐3325
LEON B MARTIN                                 2572 ASHCRAFT ROAD                                                                           DAYTON           OH    45414‐3402
LEON B PERKES                                 467 E JUDICIAL                                                                               BLACKFOOT        ID    83221‐2929
LEON B PIVINSKI                               8 IVY LANE                          MAPLE SQUARE                                             NEWARK           DE    19713‐1057
LEON BATES                                    2603 GREENS MILLS ROAD                                                                       COLUMBIA         TN    38401‐6183
LEON BECK & ETHEL BECK JT TEN                 405 N OCEAN BLVD                    APT 1403                                                 POMPANO BEACH    FL    33062‐5153
LEON BECOATS                                  4298 HWY 41 S                                                                                FAIRMONT         NC    28340‐9501
LEON BERNT MALM JR                            607 WINDSOR RD                                                                               ROUND ROCK       TX    78664‐7640
LEON BLACKWELL JR                             84 RUDY RD                                                                                   MANSFIELD        OH    44903‐8967
LEON BOND                                     2908 N MAIN STREET                                                                           MANSFIELD        OH    44903‐9737
LEON BORSUK                                   9475 CHESAPEAKE DR                                                                           CLEVELAND        OH    44133‐1528
LEON BOSSET                                   1341 NORTON AVE                                                                              GLENDALE         CA    91202
LEON BREEDEN JR                               610 NORTHPARK ST                                                                             DETROIT          MI    48215‐4111
LEON BURDANOWICZ                              3818 POLUMBO DR                                                                              VALRICO          FL    33594‐7044
LEON C BUNCH CUST ALLISON A BUNCH UGMA MI     4548 BOXWOOD CT                                                                              ANN ARBOR        MI    48108‐9786
LEON C CRIBB & PATRICIA L CRIBB JT TEN        900 MODEL COURT                                                                              STONE MTN        GA    30088‐2311
LEON C DAVIS                                  967 PINBROOK DR                                                                              LAWRENCEVILLE    GA    30043‐6705
LEON C GLOWICKI                               4695 S ELM DR                                                                                BAY CITY         MI    48706‐9407
LEON C KENNEDY                                3926 BALL RD                                                                                 CARO             MI    48723‐9672
LEON C SAWYER                                 6121 CLARKSTON ROAD                                                                          CLARKSTON        MI    48348‐4717
LEON C TALLEY                                 101 W GRAND AVE                     #6                                                       HARTFORD         KS    66854‐9421
LEON C TROUTNER                               11420 ONONDAGA RD                                                                            ONONDAGA         MI    49264‐9606
LEON C WRIGHT                                 287 CITRUS RIDGE DR                                                                          DAVENPORT        FL    33837‐8220
LEON C WULFE JR                               367 TERRELL ROAD                                                                             SAN ANTONIO      TX    78209‐5951
LEON CALDWELL & AILEEN CALDWELL JT TEN        808 SULTANA DR                                                                               LITTLE RIVER     SC    29566‐8510
LEON CARROLL                                  68 MARY DAY                                                                                  PONTIAC          MI    48341‐1731
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 747 of 855
Name                                              Address1                               Address2             Address3          Address4          City           State Zip

LEON CASPER TR LEON CASPER LIVING TRUST UA        211 EAST 70 ST                         APT 13A                                                  NEW YORK       NY    10021‐5207
01/31/01
LEON CHARLES SCOTT                                SUN AIR CC                             21 PINE RUN                                              HAINES CITY    FL    33844‐9605
LEON CICIL BRYDSON                                4101 MILBOURNE AVE                                                                              FLINT          MI    48504‐3574
LEON D BUDZIAK                                    1142 RUNAWAY BAY DR                    APT 2A                                                   LANSING        MI    48917‐8696
LEON D ELLIOTT                                    12295 SO NELSON                                                                                 OLATHE         KS    66061‐5532
LEON D HORN & INEZ S HORN JT TEN                  15627 PARK LN                                                                                   LIVONIA        MI    48154‐2356
LEON D KOSASKI                                    32826 BEECHWOOD                                                                                 WARREN         MI    48093‐1553
LEON D SANDERS                                    494 S COUNTY ROAD 525 W                                                                         PAOLI          IN    47454‐9695
LEON D SHARGEL                                    1535 CARALEIGH MILLS RD                APT 228                                                  RALEIGH        NC    27603‐6458
LEON D SMITH                                      4995 DRY CREEK RD                                                                               SUMMERVILLE    GA    30747‐6846
LEON D WALKER                                     4260 OLD HOBOKEN RD                                                                             BLACKSHEAR     GA    31516‐4041
LEON DANZIG                                       75 WISTERIA CT                                                                                  HOLMDEL        NJ    07733‐2903
LEON DANZIG & MRS SYLVIA DANZIG JT TEN            75 WISTERIA CT                                                                                  HOLMDEL        NJ    07733‐2903
LEON DARNELL                                      5212 LEMAY                                                                                      DETROIT        MI    48213‐3478
LEON DAVENPORT                                    9820 E 21ST ST                                                                                  INDIANAPOLIS   IN    46229‐1760
LEON E AMEY                                       6252 LUCAS RD                                                                                   FLINT          MI    48506‐1227
LEON E ANDRESS                                    277 MCKNIGHT RD                                                                                 CHASE MILLS    NY    13621‐3120
LEON E ANDRESS & JOAN F ANDRESS JT TEN            277 MCKNIGHT RD                                                                                 CHASE MILLS    NY    13621‐3120
LEON E ARNOLD & ELIZABETH A ARNOLD TEN ENT        2370 HILLSIDE LANE                                                                              ASTON          PA    19014‐1613
LEON E CROSS                                      201 OAK ST                                                                                      LINDEN         MI    48451‐8902
LEON E FELDHAKE TR LEO E FELDHAKE LIVING TRUST UA 2104 REDFERN DR                                                                                 INDIANAPOLIS   IN    46227‐4310
01/30/96
LEON E HICKERSON & BARBARA M HICKERSON JT TEN     3805 LINCOLNSHIRE                                                                               WATERFORD      MI    48328‐3541

LEON E HICKERSON & BARBARA M HICKERSON TEN ENT 3805 LINCOLNSHIRE                                                                                  WATERFORD      MI    48328‐3541

LEON E JAMES & DORIS J JAMES JT TEN               9535 HURON DRIVE                                                                                SAINT LOUIS    MO    63132‐2018
LEON E KUSSMAUL                                   21 CLAYTON AVE                                                                                  LEHIGH ACRES   FL    33936‐6753
LEON E LOONEY JR                                  PO BOX 90391                                                                                    INDIANAPOLIS   IN    46260‐3430
LEON E MOORE                                      637 SEAVIEW DRIVE                                                                               DESTIN         FL    32541‐2421
LEON E SLOAN                                      4 W MCLAUGHLIN AVE                                                                              FAIRBORN       OH    45324‐3720
LEON E WALLACE & IRENE WALLACE JT TEN             15644 OMAI CT R5                                                                                FORT MYERS     FL    33908‐1703
LEON E WELCH                                      1606 FEDERAL                                                                                    SAGINAW        MI    48601‐1864
LEON EARL RAY JR                                  2990 RICHMOND DR                                                                                MOBILE         AL    36695
LEON ELEY                                         PO BOX 65                                                                                       LUDLOW         MS    39098‐0065
LEON F DOANE                                      1502 S BOULDER                                                                                  TULSA          OK    74119‐4037
LEON F HICKS                                      2110 WAVERLY RD                                                                                 EATON RAPIDS   MI    48827‐9737
LEON F MAJ & VIRGINIA MAJ JT TEN                  7412 BLUEWATER BLVD                                                                             LEXINGTON      MI    48450‐9758
LEON F MANNERING                                  520 LAKE DR                                                                                     MIDDLETOWN     DE    19709‐9682
LEON F SLOCOMB JR & MARGARET M SLOCOMB JT TEN     4001 PYLES FORD RD                                                                              WILMINGTON     DE    19807‐1757

LEON F TETKOSKI                                   737 S CONKLING STREET                                                                           BALTIMORE      MD    21224‐4302
LEON F VAN METER & LILLIAN E VAN METER JT TEN     5809 WEST 59TH ST                                                                               CHICAGO        IL    60638‐3601
LEON FAILS                                        9655 OTSEGO ST                                                                                  DETROIT        MI    48204‐1626
LEON FRANCIS ROUSSEAU                             30820 STEPHEN COURT                                                                             WESTLAND       MI    48185‐1740
LEON GARDNER JR                                   161 SLADE ROAD                                                                                  ASHFORD        CT    06278‐1419
LEON GILYARD                                      4806 E 41ST STREET                                                                              KANSAS CITY    MO    64130‐1633
LEON GOMEZ                                        156 ERIE DR                                                                                     PONTIAC        MI    48341‐1903
LEON GRIMES                                       608 MAGNOLIA DR                                                                                 FRANKLIN       TN    37064‐2477
LEON H DICKINSON                                  12615 SUMMERLAND                                                                                CLEVELAND      OH    44111‐5164
LEON H HARDEN                                     2013 WINONA                                                                                     FLINT          MI    48504‐2967
LEON H INGLIS                                     163 NELSON ST                                                                                   PONTIAC        MI    48342‐1538
LEON H LITTLE                                     1675 LOWER GILMORE                                                                              CAMPTON        KY    41301‐9777
LEON H MARQUARDT                                  5448 FENWICK DR                                                                                 TOLEDO         OH    43623‐1771
LEON H MARTIN & BETTY JOAN MARTIN JT TEN          PO BOX 89                                                                                       DANVILLE       IN    46122‐0089
LEON H MARTIN & KATHLEEN A MARTIN JT TEN          556 E ROAD 50 N                                                                                 DANVILLE       IN    46122‐8676
LEON H MARTIN CUST KENT L MARTIN UGMA IN          534 BALLWOOD DR                                                                                 BALLWIN        MO    63021‐6306
LEON H SILENCE                                    983 E 300 S                                                                                     TIPTON         IN    46072‐9214
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 748 of 855
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

LEON H SZCZEPANSKI                                22133 WHOLFIEL                                                                                  TAYLOR            MI    48180‐2735
LEON HAHN                                         BOX 403                                                                                         PARKER            AZ    85344‐0403
LEON HANNAH                                       4807 WALNUT PEAK DR                    #5                                                       FLINT             MI    48532‐2423
LEON HAROLD HAMBLIN                               481 MAYFAIR COURT                                                                               BOSSIER CITY      LA    71111‐2259
LEON HICKS                                        30901 LAKE SHORE BLVD                  APT 915                                                  WILLOWICK         OH    44095‐3613
LEON HIGGINS                                      15350 FIELDING ST                                                                               DETROIT           MI    48223‐1617
LEON HOFFMAN & SANDRA HOFFMAN TR HOFFMAN          145 TUNICFLOWER LN                                                                              PRINCETON         NJ    08550‐2432
LIVING TRUST UA 12/2096                                                                                                                           JUNCTION
LEON HURST GUYER                                  2609 PINEBLUFF DR                                                                               METAMORA          MI    48455‐8513
LEON J BOUCHER & MRS JEAN M BOUCHER JT TEN        35 MAPLEWOOD RD                                                                                 EAST MONTPELIER   VT    05651‐4185

LEON J BUSTRYCKI                                  210 W SUNNYVIEW DR                     APT 104                                                  OAK CREEK         WI    53154‐3863
LEON J DE BROUX                                   42141 MOHAVE ROSE DR                                                                            LANCASTER         CA    93536‐7342
LEON J DUBILL                                     80 PAMELA DR                                                                                    DEPEW             NY    14043‐2141
LEON J FIFELSKI                                   5400 W IRVING RD                                                                                HASTINGS          MI    49058‐8230
LEON J GLESER                                     865 OLD HICKORY RD                                                                              PITTSBURGH        PA    15243‐1111
LEON J GREEN                                      4399 E VIENNA RD                                                                                CLIO              MI    48420‐9753
LEON J LEVIN                                      134 CASIMIR DR                                                                                  NEW CASTLE        DE    19720‐4521
LEON J LEWIS                                      3218 JACOB ST                                                                                   HAMTRAMCK         MI    48212‐3749
LEON J LOUCHART JR                                418 HANCHETT                                                                                    ST CHARLES        MI    48655‐1860
LEON J LUSZCZ JR                                  412 SKYVIEW DR                                                                                  CLEMSON           SC    29631‐1742
LEON J MALCOMNSON                                 1323 E MAPLE AVENUE                                                                             BURTON            MI    48529‐2059
LEON J MCGOVERN & CHERYL M MCGOVERN JT TEN        2728 BLAIRGOWRIE DR                                                                             HENDERSON         NV    89044‐0210

LEON J MILES                                      629 FAIRMONT AVENUE                                                                             YOUNGSTOWN        OH    44510‐1435
LEON J NICHOLAS                                   12 STEPHEN DR                                                                                   STRATHAM          NH    03885‐2481
LEON J PADLO JR & KATHRYN M PADLO JT TEN          100 CREIGHTON LANE                                                                              ROCHESTER         NY    14612‐2204
LEON J RUNG                                       25 YOSEMITE DR                                                                                  NEW ORLEANS       LA    70131‐8619
LEON J SNYDER                                     9003 E WALKER RD                                                                                OVID              MI    48866‐9665
LEON J SPIEGEL                                    30715 PRIMROSE DRIVE                                                                            WARREN            MI    48093‐5943
LEON J SPIEGEL & DIANE C SPIEGEL JT TEN           30715 PRIMROSE DR                                                                               WARREN            MI    48093‐5943
LEON J VALVEKENS                                  KONINGIN ASTRIDLAAN 105 A              2550 KONTICH                           BELGIUM
LEON J VALVEKENS                                  KOHINGIN ASTRIDLAAN 105 A              2550 KONTICH                           BELGIUM
LEON J VALVEKENS                                  KONINGIN ASTRIDLAAN 105A               2550 KONTICH                           BELGIUM
LEON J YOHO                                       151 BELVOIR DR NE                                                                               CANTON            OH    44730‐1235
LEON J ZAFFER & SANDRA K ZAFFER JT TEN            149 S JEFFERSON                                                                                 LOCKPORT          IL    60441‐2931
LEON J ZENDER                                     9868 TRAILS END ROAD                                                                            PEQUOT LAKES      MN    56472
LEON JEFFERSON                                    1460 WELLESLEY DRIVE                                                                            INKSTER           MI    48141‐1522
LEON JEFFERSON                                    1129 COBBLEFIELD DRIVE                                                                          MANSFIELD         OH    44903‐8256
LEON JOHNSON                                      204 VANCE LN                                                                                    BOWLING GREEN     KY    42101‐7443
LEON JOHNSON                                      15 MATTESON RD                                                                                  N BENNINGTON      VT    05257‐9558
LEON K BLANDFORD                                  120 N BRIARWOOD ST                                                                              YUKON             OK    73099‐2219
LEON KENNER                                       APT D‐35                               67‐38 108TH STREET                                       FOREST HILLS      NY    11375‐2306
LEON KNIGGA                                       RR 1 BOX 59                                                                                     SUMMITVILLE       IN    46070‐9775
LEON KRUSIEWICZ                                   29670 HIVELEY                                                                                   INKSTER           MI    48141‐3400
LEON KURCZYNSKI & MRS EUGENIA KURCZYNSKI JT TEN   39744 GLENVIEW COURT                                                                            NORTHVILLE        MI    48167‐3439

LEON L BIXLER & MARY H BIXLER TEN COM             81 GLENDALE RD                                                                                  EXTON             PA    19341‐1539
LEON L BLACK                                      7180 W CUTLER RD                                                                                DEWITT            MI    48820‐9127
LEON L CLARK JR                                   6991 WILLITS RD                                                                                 FOSTORIA          MI    48435‐9423
LEON L FRADY                                      3159 CREEKWOOD DR                                                                               REX               GA    30273‐2162
LEON L GALLANT                                    23015 BANNER SCHOOL RD                 ROUTE 2                                                  DEFIANCE          OH    43512‐9786
LEON L LARANGE                                    12469 COOLIDGE RD                                                                               GOODRICH          MI    48438‐9704
LEON L MESLER                                     7450 COLDWATER RD                                                                               FLUSHING          MI    48433‐1120
LEON LANG CUST MICHAEL LANG UGMA IL               1858 OAK ST                                                                                     SARASOTA          FL    34236
LEON LAROCHE & ANNA LAROCHE JT TEN                37 LIGHTHOUSE RD                                                                                BABYLON           NY    11702‐4305
LEON LAURY                                        3730 HUNTLEY ROAD                                                                               SAGINAW           MI    48601‐5135
LEON LAWRENCE ROBERT JR                           13 WILSON RD #B                                                                                 WEST POINT        NY    10096‐1706
LEON LEVINE                                       2023 JENNA PL                                                                                   ESCONDIDO         CA    92029‐5437
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 749 of 855
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

LEON LEVY                                        1141 PINE ST APT 10                                                                              SOUTH PASADENA   CA    91030‐4344

LEON LOCKLEAR                                    19639 APPLE CREEK DR                                                                             CLINTON TWP      MI    48038‐1407
LEON LURIE                                       1462 SOUTH SALEM WAY                                                                             AURORA           CO    80012‐4349
LEON M ARNOLD                                    121 E 60TH ST                                                                                    NEW YORK         NY    10022‐1102
LEON M BOWLIN & CAROLYN F BOWLIN JT TEN          10210 CORN RD                                                                                    LONE JACK        MO    64070
LEON M GUFFEY                                    2601 FAIRMONT DR                                                                                 GRAND PRAIRIE    TX    75052‐4009
LEON M KELLER                                    5184 E 1100 S                                                                                    LADOGA           IN    47954‐7237
LEON M MONROE                                    PO BOX 3                                                                                         MILLS            PA    16937‐0003
LEON M RUDOLPH & MRS JANET RUDOLPH TEN ENT       PO BOX 900                                                                                       LEVITTOWN        PA    19058‐0900

LEON M SZCZEPANSKI                             1617 W GERMAN RD                                                                                   BAY CITY         MI    48708‐9631
LEON M WILLIAMS                                675 W FLINTLAKE CT                        APT B                                                    MYRTLE BEACH     SC    29579‐7589
LEON M WYZYKOWSKI & VIRGINIA WYZYKOWSKI JT TEN 103 CHURCH STREET PO BOX 254                                                                       HAGAMAN          NY    12086‐0254

LEON MANNING                                     PO BOX 26293                                                                                     INDIANAPOLIS     IN    46226‐0293
LEON MARSHALL                                    6508 TRAYMORE AVE                                                                                BROOKLYN         OH    44144‐3749
LEON MASSEY                                      1515 E RENO RD                                                                                   AZLE             TX    76020‐6115
LEON MC MILLAN & PHYLLIS A MC MILLAN JT TEN      480 LEE RD                                                                                       NORTHBROOK       IL    60062‐2723
LEON MILLER & JANICE MILLER JT TEN               PO BOX 1555                                                                                      EL GRANADA       CA    94018‐1555
LEON MOORE                                       1022 CARSON                                                                                      FLINT            MI    48503‐1636
LEON MORRIS JARRETT                              112 WINGATE AVE                                                                                  BUFFALO          NY    14216‐2508
LEON MOZAROWSKY                                  7152 GATEWAY PARK DR                                                                             CLARKSTON        MI    48346‐2574
LEON MURPHY                                      5900 FAIRGROVE WAY                                                                               DAYTON           OH    45426‐2112
LEON NEHMAN CUST TODD A NEHMAN UGMA NJ           8806 ATLANTIC AVE                                                                                MARGATE          NJ    08402‐2559
LEON OTT                                         3221 BORDENTOWN AVE                                                                              PARLIN           NJ    08859‐1138
LEON OTT & LEONA O DANIELS JT TEN                321 BORDENTOWN AVE                                                                               PARLIN           NJ    08859
LEON P CORNELIUS                                 15849 SPYGLASS DR                                                                                NORTHVILLE       MI    48167‐8484
LEON P DULAC                                     90 ROBERTA AVE                                                                                   WOONSOCKET       RI    02895‐5732
LEON P HANDT                                     9306 DAVID FORT RD                                                                               ARGYLE           TX    76226‐2957
LEON P JOY                                       PO BOX 503                                                                                       DEARBORN HTS     MI    48127‐0503
LEON P KATZEN TR UNDER DECLARATION OF TRUST      217 WILLOW PARKWAY                                                                               BUFFALO GROVE    IL    60089‐4638
09/14/93
LEON POWELL                                      1401 LILLIAN DR                                                                                  FLINT            MI    48505‐2529
LEON PRITCHETT                                   1037 NORTH 8TH STREET                                                                            SAGINAW          MI    48601‐1125
LEON R COUSER                                    7007 ALTER ST                                                                                    BALTIMORE        MD    21207‐6417
LEON R DICKSON JR & ELEANOR M DICKSON JT TEN     8511 WOODRIDGE DR                                                                                DAVISON          MI    48423‐8394

LEON R FELLA                                     62 CRANBERRY RD                                                                                  ROCHESTER        NY    14612‐1010
LEON R HERALD JR                                 1126 WOODRIDGE                                                                                   BROWNSBURG       IN    46112‐7987
LEON R LEGER                                     63 HAINEAULT                            VALLEYFIELD QC                         J6T 6B3 CANADA
LEON R PLANT                                     2301 PURDUE RD                                                                                   BRADENTON        FL    34207‐5735
LEON R SCHARTZER                                 1501 CRESTVIEW DR                       APT 88                                                   PETOSKEY         MI    49770‐8411
LEON R SZLACHTA CUST JAMES ANTHONY SZLACHTA      48238 REMER AVE                                                                                  SHELBY TWP       MI    48317‐3532
UGMA MI
LEON R YARBROUGH                                 3086 ARGOT AVENUE                                                                                MEMPHIS          TN    38118‐8015
LEON RENAKER HAMPTON                             424 WEST 12TH                                                                                    ANDERSON         IN    46016‐1232
LEON REX PAULEY                                  14301 MCCRUMB RD                                                                                 EAGLE            MI    48822‐9765
LEON REYNIER                                     QUARTIER LA COMBE                       SAINT BONNET                           5500 FRANCE
LEON RIDDICK                                     262 HARRISON ST APT 1B                                                                           PASSAIC          NJ    07055‐6218
LEON ROBINSON                                    155 MILLER COUNTY 158                                                                            DODDRIDGE        AR    71834‐1721
LEON ROBINSON                                    5730 S WOOD ST                                                                                   CHICAGO          IL    60636‐1647
LEON RODGERS                                     PO BOX 11032                                                                                     LANSING          MI    48901‐1032
LEON ROGERS                                      1623 W 15TH ST                                                                                   ANDERSON         IN    46016‐3205
LEON ROTHENBERG                                  PO BOX 1469                                                                                      ROCKVILLE        MD    20849‐1469
LEON ROUNDS JR                                   BOX 1422                                                                                         LAWTON           OK    73502‐1422
LEON S KIMBALL                                   4815 BUTTERCUP LN                                                                                OKEMOS           MI    48864‐1301
LEON SCOTT EAGLESON                              1749 WHITESTONE CT                      OSHAWA ON                              L1K 1G0 CANADA
LEON SENFELDS                                    803 BLACKHAWK DRIVE                                                                              FORT ATKINSON    WI    53538‐1020
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 750 of 855
Name                                              Address1                              Address2              Address3         Address4          City               State Zip

LEON SIDNEY ALLGOOD SR                            651 S 8OO WEST                                                                                 PAYSON             UT    84651
LEON SIMPSON                                      20742 BROKEN BIT DR                                                                            COVINA             CA    91724‐3822
LEON SOLOMON                                      5234 MERSINGTON AVE                                                                            KANSAS CITY        MO    64130‐3034
LEON SPIEGEL & MYRLE T SPIEGEL JT TEN             5219 FORBES AVE                                                                                PITTSBURGH         PA    15217‐1101
LEON STRAUSS                                      101 GARRISON FOREST RD                                                                         OWINGS MILLS       MD    21117‐4107
LEON SURDOWSKI                                    15627 SUNNY CREST LN                                                                           FORT MYERS         FL    33905‐2446
LEON T BROOME                                     9985 ELMAR ST                                                                                  OVID               MI    48866‐9504
LEON T HUNT & BARBARA C HUNT & JAMES L HUNT JT    2353 S LACHANCE RD                                                                             LAKE CITY          MI    49651‐8024
TEN
LEON T LIN TR LEON T LIN REVOCABLE TRUST UA       13 KING JOHN DR                                                                                INDIANAPOLIS       IN    46227‐2398
10/06/97
LEON THOMAS                                       14224 INDIANA                                                                                  DETROIT            MI    48238‐2362
LEON V BONNER                                     547 FAIRBROOK                                                                                  NORTHVILLE         MI    48167‐1302
LEON V FOSTER JR                                  810 NEWBURY CT                                                                                 ENGLEWOOD          FL    34223‐6018
LEON V HEFFERNAN                                  241 KING ST E                         BOWMANVILLE ON                         L1C 3K5 CANADA
LEON V HOUSEHOLDER                                10 MOONLIGHT LANE                                                                              HEDGESVILLE      WV      25427‐4235
LEON V MOORE & MRS ANN F MOORE JT TEN             13465 HAMMONS AVE                                                                              SARATOGA         CA      95070‐4913
LEON V SKALSKI & LILLIAN F SKALSKI JT TEN         4177 PARDEE                                                                                    DEARBORN HEIGHTS MI      48125‐2409

LEON W ADAMS                                      1951 LESTER RD                                                                                 PHELPS             NY    14532‐9770
LEON W FLINCHPAUGH & WARREN D FLINCHPAUGH JT      2980 FAIRVIEW DR                                                                               MEDFORD            OR    97504‐7743
TEN
LEON W FRIESORGER                                 3195 HURON RD                                                                                  PINCONNING         MI    48650‐9511
LEON W HACKENBERG                                 13777 HOFFMAN ROAD                                                                             THREE RIVERS       MI    49093‐9704
LEON W HAMRICK                                    1502 YALE DR                                                                                   BRUNSWICK          OH    44212‐3547
LEON W PAUL & DOROTHY JANE PAUL JT TEN            1416 PINE HILL RD                                                                              GARRETT            PA    15542‐8905
LEON W PICKETT                                    1341 VILLAGE VIEW CT                                                                           ST PAUL            MO    63366‐4623
LEON W POLITES                                    37 SOUTH CHESTNUT ST                                                                           MOUNT CARMEL       PA    17851‐2202
LEON W ROBERTSON                                  163 IRENE CT                                                                                   ROCKY MOUNT        NC    27804‐2311
LEON W SLATER & NELLIE SLATER JT TEN              1530 BEACON ST                        APT 701                                                  BROOKLINE          MA    02446‐2644
LEON WAGONER                                      18526 MAINE ST                                                                                 DETROIT            MI    48234‐1419
LEON WAGONER                                      PO BOX 223                                                                                     TRENTON            MI    48183‐0223
LEON WALLACE                                      5607 HUGHES CT                                                                                 FREMONT            CA    94537
LEON WEARE PLUMER                                 64 GLADIOLA ST                                                                                 NEW BRITAIN        CT    06053‐3003
LEON WESSON                                       7013 CRANWOOD DR                                                                               FLINT              MI    48505‐1907
LEON WHITEHEAD                                    1362 ST‐HIGHWAY 253                                                                            WINFIELD           AL    35594‐5653
LEON WILLIE STEWART                               PO BOX 2751                                                                                    W MONROE           LA    71294‐2751
LEON WRIGHT                                       3002 SE FARLEY RD                                                                              PORT SAINT LUCIE   FL    34952‐5849
LEONA A BROWN                                     1801 CEDARBROOK ST                                                                             LAKE PLACID        FL    33852‐5854
LEONA A JUREK                                     5825 BRICKEL                                                                                   SAGINAW            MI    48601‐9221
LEONA A LANGLEY & FREDERICK C LANGLEY & CHARLES   PO BOX 244                                                                                     CASEVILLE          MI    48725‐0244
F LANGLEY JT TEN
LEONA A OSTIPOW & WILLIAM J OSTIPOW JT TEN        688 N CRAM RD                                                                                  OWOSSO             MI    48867
LEONA A PETERSON                                  C/O LEONA A MONROE                    4286 SPRINGBROOK DR                                      SWARTZ CREEK       MI    48473‐1706
LEONA A WALLACE                                   5914 MORGANWOOD SQ                                                                             HILLIARD           OH    43026
LEONA A WHITE                                     3673 PLEASANT AVE                                                                              HAMBURG            NY    14075‐4601
LEONA A ZYBER                                     30736 LUND DRIVE                                                                               WARREN             MI    48093‐8019
LEONA A ZYBER & CYNTHIA A KOTCH JT TEN            30736 LUND DRIVE                                                                               WARREN             MI    48093‐8019
LEONA BAILEY                                      1420 N 12TH AV                                                                                 PENSACOLA          FL    32503‐5602
LEONA BUDZEIKA                                    7249 YINGER                                                                                    DEARBORN           MI    48126‐1336
LEONA BYSKO                                       6035 BROBECK ST                                                                                FLINT              MI    48532‐4007
LEONA C CROMBACK                                  36 SCENIC CIR                                                                                  ROCHESTER          NY    14624‐1070
LEONA C RHODES                                    3225 GREENBRIAR RD                                                                             ANDERSON           IN    46011‐2303
LEONA C SCHWETZ & MARIAN A MARCH JT TEN           115 CORAL REEF DR                                                                              NEWARK             DE    19713‐4201
LEONA C SNYDER                                    917 HENRY ST                                                                                   SAINT CLAIR        MI    48079‐4975
LEONA D BUSLEPP                                   5233 LYONS CR S                                                                                WARREN             MI    48092‐1768
LEONA D HERSHEY                                   BOX 333                                                                                        SPRINGTOWN         PA    18081‐0333
LEONA D MACK                                      851 B FAIRDALE ROAD                                                                            SALINA             KS    67401‐8430
LEONA D WITIK & ALEXANDER WITIK JT TEN            93 SOUTH MAIN ST                                                                               TERRYVILLE         CT    06786‐6206
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 751 of 855
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

LEONA E FREY TR LEONA E FREY LIVING TRUST UA     17664 WINSTON                                                                                    DETROIT           MI    48219‐3004
8/11/00
LEONA E HADLEY                                   2222 SARATOGA                                                                                    KOKOMO            IN    46902‐2505
LEONA E HAMMERBECK                               1719 EAST 41ST ST                                                                                HIBBING           MN    55746‐3264
LEONA E LING CUST MARGUERITE Y STEVENS UTMA MA   45 FELLS RD                                                                                      WINCHESTER        MA    01890‐1437

LEONA E LING CUST WILLIAM HSIANG LING STEVENS    45 FELLS ROAD                                                                                    WINCHESTER        MA    01890‐1437
UTMA MA
LEONA E MILLER TR UA 11/02/90 LEONA E MILLER     3595 BRIARBROOK LANE                                                                             ROCHESTER         MI    48306‐4704
TRUST
LEONA E SMITH & JAMES SMITH JT TEN               19416 N 73RD AVENUE                                                                              GLENDALE          AZ    85308‐5678
LEONA E STEDMAN                                  428 GOOSEBERRY ROAD                                                                              WAKEFIELD         RI    02879‐5949
LEONA EILEEN OSTRANDER                           EIGEN TAL N7305 C T H M                                                                          HOLMEN            WI    54636
LEONA ELIZABETH FARRANT & LEONA ELAINE STEDMAN 124 TWIN PENINSULA AVENUE                 GREEN HILL ACRES                                         WAKEFIELD         RI    02879‐6709
JT TEN
LEONA F MILLER                                   304 STONEHAM DRIVE                                                                               SUN CITY CENTER   FL    33573‐5855
LEONA F NOWICKI                                  3221 EAST BALDWIN ROAD                  APT 225                                                  GRAND BLANC       MI    48439‐7355
LEONA F PLACE TR LEONA F PLACE TRUST UA 05/06/02 5242 EXCHANGE DR                                                                                 FLINT             MI    48507‐2934

LEONA FAYE GUNTER                               PO BOX 2516                                                                                       INGLEWOOD         CA    90305‐0516
LEONA G BURGESS                                 800 W IVY ST                                                                                      BAY CITY          MI    48706‐5238
LEONA G GREKO TR LEONA G GREKO REVOCABLE LIVING 8065 WINCHESTER CT                                                                                SAGINAW           MI    48609‐9540
TRUST UA 03/10/95
LEONA G VINICH                                  826 SHANNON RD                                                                                    GIRARD            OH    44420‐2046
LEONA GALLANT & ROBERT GALLANT JT TEN           18992 BRENTWOOD                                                                                   LIVONIA           MI    48152‐3544
LEONA GLASS CUST NANCY GLASS UGMA NY            52 CLOVER ST                                                                                      LARCHMONT         NY    10538‐1760
LEONA H GOELZ                                   1618 S 53RD ST                           MILWAUKEE                                                BROOKFIELD        WI    53005
LEONA H LANE                                    15485 COLLINGHAM DR                                                                               DETROIT           MI    48205‐1344
LEONA H MONEYPENNY                              5740 EMERSON AVE N W                                                                              WARREN            OH    44483‐1120
LEONA I BROWN TR LEONA I BROWN REVOCABLE TRUST 6780 N LANNING RD                                                                                  MANTON            MI    49663‐9033
UA 02/25/05
LEONA I HUNTER & JAMES H HUNTER JT TEN          1087 MALABAR LANE                                                                                 MANSFIELD         OH    44907
LEONA J KELLEY & CHARLES B KELLEY JT TEN        3057 GEHRING DR                                                                                   FLINT             MI    48506‐2259
LEONA J LONDON CUST KEITH SCOTT LONDON UGMA PA 613 OLEANDER DR                                                                                    HALLANDALE        FL    33009‐6531

LEONA J MADDEN                                   2203 SUMMERFIELD DR                                                                              PLAINFIELD       IN     46168‐4746
LEONA J MOHLER                                   3842 REEVES LN                                                                                   MEDINA           OH     44256‐7054
LEONA J PIETERS & JACK C PIETERS JT TEN          15654 QUARTER HORSE COURT                                                                        CLINTON TOWNSHIP MI     48035‐1040

LEONA JANE FLINT                                 1055 N JEFFERSON ST                     UNIT C                                                   MEDINA            OH    44256‐1207
LEONA K CALECA                                   5284 VINEYARD LANE                                                                               FLUSHING          MI    48433‐2438
LEONA K TESKE                                    1363 ROSS ROAD                          NORTH VANCOUVER BC                     V7K 2J1 CANADA
LEONA KOBLISH KUHN                               93 GAISLER ROAD                                                                                  BLAIRSTOWN        NJ    07825‐9670
LEONA KORMOS                                     26605 ALLEN RD                                                                                   WOODHAVEN         MI    48183‐4397
LEONA L ALEXANDER                                28675 LA AZTECA                                                                                  LAGUNA NIGUEL     CA    92677‐7646
LEONA L KERWIN                                   154F HERITAGE VILLAGE                                                                            SOUTHBURY         CT    06488‐1432
LEONA LEFLER                                     827 WEST CENTER                                                                                  DECATUR           IL    62526‐3801
LEONA M ANDRZEJEWSKI TR UA 05/03/93 LEONA M      1608 SOUTH KEISEL                                                                                BAY CITY          MI    48706‐5240
ANDREZEJEWSKI TRUST
LEONA M BLOND                                    5454 FARMHILL RD                                                                                 FLINT             MI    48505‐1073
LEONA M BRANCH                                   5605 WALLING DRIVE                                                                               WATERFORD         MI    48329‐3266
LEONA M BRANCH & RALPH A BRANCH JT TEN           5605 WALLING DRIVE                                                                               WATERFORD         MI    48329‐3266
LEONA M COLBERT                                  40661 BOGHOLLOW ROAD                                                                             TITUSVILLE        PA    16354‐4301
LEONA M DRINKHALL                                300 LOGAN RD                                                                                     IMPERIAL          PA    15126‐9628
LEONA M DUMKA TR LEONA M DUMKA TRUST UA          30158 BOEWE                                                                                      WARREN            MI    48092‐1914
06/04/98
LEONA M DYCUS                                    P O BOX#112                                                                                      ELMIRA            MI    49730‐0112
LEONA M EZZO                                     13408 STONERIDGE TRAIL                                                                           STRONGVILLE       OH    44136‐8424
LEONA M FALK                                     LEONA M RAMSEY                          407 MAIN ST          PO BOX 212                          PANGBURN          AR    72121‐0212
                                           09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 752 of 855
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

LEONA M FENCL                                   16132 ALLAN CT NW                                                                             BEMIDJI          MN    56601‐7869
LEONA M HARRISON                                52493 STATE ROUTE 536                                                                         CLARINGTON       OH    43915‐9719
LEONA M HEILMAN                                 1915 AUBURN TRAIL                                                                             SUGAR LAND       TX    77479‐6335
LEONA M KASSION                                 4127 CHARTEROAK DR                                                                            FLINT            MI    48507‐5551
LEONA M KNIEPER                                 G‐8522 CORUNNA ROAD                                                                           FLINT            MI    48532
LEONA M KOCZAN                                  26671 OAK                                                                                     ROSEVILLE        MI    48066‐3563
LEONA M LEIWIG                                  1443 ALEX ROAD                                                                                DAYTON           OH    45449‐2146
LEONA M MILEN                                   BOX 325                                                                                       BRIDGEPORT       OH    43912‐0325
LEONA M MULLINS TR LIVING TRUST 01/11/91 U‐A    990 E SHOOP RD                                                                                TIPP CITY        OH    45371‐2621
LEONA M MULLINS
LEONA M OLIVER                                  1124 LEISURE DR                                                                               FLINT            MI    48507‐4010
LEONA M RIVASI                                  2150 INDIAN CREEK BLVD E             APT B224                                                 VERO BEACH       FL    32966
LEONA M RIVASI TR REVOCABLE TRUST 07/03/89 U‐A  2150 INDIAN CREEK BLVD E             APT B224                                                 VERO BEACH       FL    32966
LEONA M RIVASI
LEONA M ROSTKOWSKI                              5015 CARAMAE LANE                                                                             HOWELL           MI    48855‐6775
LEONA M SPERLIK                                 3193 W 108TH ST                                                                               GRANT            MI    49327‐9757
LEONA MAE RYAN                                  3423 MULBERRY ST                                                                              GROVE CITY       OH    43123‐3813
LEONA MC GUAN & DONALD POZYWIO & NANCY          10704 MARTINIQUE LN                                                                           CROWN POINT      IN    46307‐9448
BRUNO JT TEN
LEONA N CHAMBERS                                9802 F M 730 S                                                                                AZLE             TX    76020‐9273
LEONA N KOZAN                                   3391 MELWOOD                                                                                  MELVINDALE       MI    48122‐1266
LEONA NEAL                                      19311 FENELON                                                                                 DETORIT          MI    48234‐2201
LEONA NEAL & VERONICA NEAL JT TEN               19311 FENELON                                                                                 DETROIT          MI    48234‐2201
LEONA NOWIKAS                                   5 SYCAMORE LN                                                                                 RNDOLPH          NJ    07869‐3704
LEONA P DRAPER                                  79 RICH LANE                                                                                  BRISTOL          CT    06010‐4429
LEONA P ROARK                                   BOX 625                              VENTURE ROAD                                             HOCKESSIN        DE    19707‐0625
LEONA PATTERSON                                 293 FERN ST                                                                                   PONTIAC          MI    48053
LEONA R KENNING & FRANCIS W KENNING TR LEONA    204 CATALINA DR                                                                               DEFIANCE         OH    43512‐3011
RUTH TRUST UA 08/02/00
LEONA R OWENS                                   12700 RIVERDALE                                                                               DETROIT          MI    48223‐3081
LEONA R PASSMORE HILL                           25020 ROOSEVELT RD                                                                            SOUTH BEND       IN    46614‐9385
LEONA RUDIBAUGH                                 400 NORTH WALNUT ST APT 301                                                                   WEST CHESTER     PA    19380
LEONA S MYERS & MARIANNE MYERS JT TEN           2916 SILVERSTONE                                                                              WATERFORD        MI    48329‐4537
LEONA S WIRT & CONSTANCE W BASTIAN JT TEN       C/O JEFFREY W BASTIAN                393 OIL WELL ROAD                                        MIFFLINBURG      PA    17844
LEONA SCOTT                                     1607 VAN EPPS ST SE                                                                           ATLANTA          GA    30316‐2147
LEONA THOMASON PISTOLE                          ROUTE 1 BOX 81                                                                                BONE GAP         IL    62815‐9728
LEONA WILBANKS                                  135 BRITTAIN DR                                                                               HARROGATE        TN    37752‐7019
LEONA WILK                                      53 SOUTH INMAN AVE                                                                            AVENEL           NJ    07001‐1526
LEONA WINSTON                                   4143 GOLF RD                                                                                  SKOKIE           IL    60076‐1410
LEONALD R STERNE                                4089 DELL RD                                                                                  LANSING          MI    48911‐6102
LEONAR H HOPKINS JR TOD KAREN L HORNBECK        3430 FOURTH ST                                                                                TRENTON          MI    48183
LEONARD A BALLOSH                               6190 BIRCHVIEW DRIVE                                                                          SAGINAW          MI    48609‐7003
LEONARD A BONAVITO                              10675 BOYD DR                                                                                 CLARENCE         NY    14031‐2211
LEONARD A BROWN                                 1615 SARA LYNN DR                                                                             SAN JOSE         CA    95121‐1647
LEONARD A BRUMETT                               1028 S JADDEN ROAD                                                                            MARION           IN    46953‐9764
LEONARD A BRYANT                                111 SW 8TH                                                                                    LINDSAY          OK    73052‐5215
LEONARD A CROSBY                                1645 W WESTGATE AVE                                                                           COLUMBIA CITY    IN    46725‐8729
LEONARD A DALY                                  46 ESSEX RD                                                                                   GREAT NECK       NY    11023‐1534
LEONARD A DATTILO CUST LEONARD M DATTILO UGMA 4474 EAGLE RIVER RUN                                                                            BROOMFIELD       CO    80023
IN
LEONARD A DATTILO CUST LUCY ANN DATTILO UGMA IN 1048 W MAIN ST                                                                                MADISON          IN    47250‐3012

LEONARD A DATTILO CUST STEVEN E DATTILO UGMA IN PO BOX 103                                                                                    CHAMOIS          MO    65024‐0103

LEONARD A DIETZ                                 6630 BENEDICT DRIVE                                                                           MIDDLEBURG HTS   OH    44130‐7925

LEONARD A FITCHLEE                              8980 EAGLE BAY CT                    NORTH PORT                                               NORTH PORT CA    FL    34287
LEONARD A FITZ                                  132 OAKWOOD ST                                                                                GRAND LEDGE      MI    48837‐1255
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 753 of 855
Name                                              Address1                             Address2              Address3         Address4          City                State Zip

LEONARD A FLAGA                                   2081 LINDELL                                                                                  STERLING HEIGHTS    MI    48310‐4884

LEONARD A FLAGA & BEATRICE J FLAGA JT TEN         2081 LINDELL                                                                                  STERLING HTS        MI    48310‐4884
LEONARD A GAROFALO                                93 CREEKSIDE DR                      APT 4                                                    AMHERST             NY    14228‐2050
LEONARD A GORDON                                  8070 AMSTERDAM CT                                                                             GAINESVILLE         VA    20155‐2882
LEONARD A GORDON & MARIAN A GORDON JT TEN         8070 AMSTERDAM COURT                                                                          GAINESVILLE         VA    20155‐2882

LEONARD A HARDELL                                 5511 BOUNTY CIRCLE                                                                            TAVARES             FL    32778‐9288
LEONARD A HAWK & EMILY HAWK JT TEN                3940 WISTERIA COURT                                                                           LAKE IN THE HILLS   IL    60102‐4602
LEONARD A HIGHTOWER                               6087 DETROIT ST                                                                               MOUNT MORRIS        MI    48458‐2751
LEONARD A HOGSETT                                 918 BELLWOOD AVE                                                                              BELLWOOD            IL    60104‐2107
LEONARD A INGRAM                                  20301 SE 39TH                                                                                 HARRAH              OK    73045‐6024
LEONARD A JONES                                   1341 HIATT ST                                                                                 INDIANAPOLIS        IN    46221‐1501
LEONARD A LANG                                    3505 THORNEHILL DR                                                                            ANTIOCH             TN    37013‐2509
LEONARD A LEVY CUST MELISSA KAREN LEVY UGMA NY    16 WOODBINE TRAIL                                                                             PARSIPPANY          NJ    07054‐1463

LEONARD A LYSTAD                                  29546 NORMA DRIVE                                                                             WARREN              MI    48093‐3585
LEONARD A LYSTAD & MARGARET L LYSTAD JT TEN       29546 NORMA DR                                                                                WARREN              MI    48093‐3585
LEONARD A MARTS JR                                8277 LEE RD                                                                                   ATCHISON            KS    66002‐4544
LEONARD A MORRISON & RUTH R MORRISON JT TEN       2350 EDGEWOOD                                                                                 FARWELL             MI    48622‐9752

LEONARD A NUORALA                                 2812 RAUCH RD                                                                                 TEMPERANCE          MI    48182‐9667
LEONARD A PACIFICO JR                             7486 STONETRAIL WA                                                                            REYNOLDSBURG        OH    43068‐4230
LEONARD A PICKETT                                 101 LONGFELLOW                                                                                DETROIT             MI    48202‐1569
LEONARD A PURDY                                   6314 RIDGEWAY RD                                                                              RICHMOND            VA    23226
LEONARD A REA & LESLE C REA TR REA FAMILY TRUST   1212 EL TORO WAY                                                                              SACRAMENTO          CA    95864‐3011
UA 03/23/99
LEONARD A REDER                                   973 NINE MILE                                                                                 KAWKAWLIN           MI    48631‐9716
LEONARD A REZLER                                  2525 RIVER RD                                                                                 KAWKAWLIN           MI    48631‐9409
LEONARD A RICHTER                                 100 GALENA LN                                                                                 BRYAN               OH    43506‐9206
LEONARD A RYAN                                    PO BOX 74                                                                                     HACKBERRY           AZ    86411‐0074
LEONARD A SEFTON                                  22119 FIRWOOD AVE                                                                             EASTPOINTE          MI    48021‐2185
LEONARD A SILEO                                   8 WOODED LANE                                                                                 ALLEN               TX    75013
LEONARD A SIMON                                   1007 BILLINGS BLVD                                                                            SAN LEANDRO         CA    94577‐1321
LEONARD A SITARSKI                                4034 GILLINGS RD                                                                              PRESCOTT            MI    48756‐9632
LEONARD A SOBOL                                   1800 TEXAS AVE S                                                                              ST LOUIS PARK       MN    55426‐1920
LEONARD A SWARTZ                                  11502 WAVERLY                                                                                 PLYMOUTH TWP        MI    48170‐4361
LEONARD A TARGONSKI & HELEN M TARGONSKI JT TEN    4 FORT DINELSON RD                                                                            PENNSVILLE          NJ    08070‐3406

LEONARD A VICCARO                             C/O CONNIE WOOD                          162 MT RIDGE CIRCLE                                      ROCHESTER           NY    14616‐4844
LEONARD A WUCKERT                             8175 S RAUCHOLZ RD                                                                                ST CHARLES          MI    48655‐9744
LEONARD A ZELASKO                             PO BOX 37                                                                                         PALENVILLE          NY    12463‐0037
LEONARD ADLER & MRS EILEEN ADLER JT TEN       14 OAKLEY RD                                                                                      WHITE PLAINS        NY    10606‐3710
LEONARD ANDERA                                BOX 286                                                                                           CHAMBERLAIN         SD    57325‐0286
LEONARD ANTHONY JEZYK                         1618 E LATIMER PLACE                     CLELAND HEIGHTS                                          WILMINGTON          DE    19805‐4527
LEONARD B ABUJA                               1410 FONGER NE                                                                                    SPARTA              MI    49345‐9445
LEONARD B ASTRUP                              1905 B BURR OAK DR                                                                                AUSTIN              MN    55912‐2933
LEONARD B BUSH & RUTHANN BUSH TR LEONARD B    3897 E CALLECAYO                                                                                  TUCSON              AZ    85718‐3338
BUSH TRUST UA 04/18/89
LEONARD B GAYLE & VIRGINIA DARE GAYLE JT TEN  8329 VIRGINIA PARK ST                                                                             CENTER LINE         MI    48015‐1644
LEONARD B KAY & DOROTHY F KAY JT TEN          142 HETHERINGTON DR                                                                               SWANSEA             MA    02777‐2908
LEONARD B LANE                                804 SHANNONDALE WAY                      APT 412                                                  MARYVILLE           TN    37803‐5970
LEONARD B LAWRENCE                            8022 SAN LAZARO CIR                                                                               BUENA PARK          CA    90620‐2821
LEONARD B MEYERS CUST HARVEY PAUL MEYERS UGMA 5857 SOLWAY ST                                                                                    PITTSBURGH          PA    15217‐1228
PA
LEONARD B MOZINGO                             4032 CROSBY RD                                                                                    FLINT               MI    48506‐1411
LEONARD B PERZYK JR                           8004 MCKINLEY                                                                                     ALGONAC             MI    48001‐3314
LEONARD B PIERCEY                             1509 PLUM SPRINGS ROAD                                                                            BOWLING GREEN       KY    42101‐0745
LEONARD B SHIPPY                              18464 S FISHER LAKE ROAD                                                                          THREE RIVERS        MI    49093‐9051
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 754 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

LEONARD B WAGNER                                 4400 PELTON RD                                                                                 CLARKSTON         MI    48346‐3829
LEONARD B YOUNGS                                 6990 ACKER DRIVE                                                                               LAINGSBURG        MI    48848‐9746
LEONARD BACHMEIER                                8260 WILLOW ROAD NE                                                                            MANDAN            ND    58554‐5412
LEONARD BAILEY                                   13334 BAILEY RD                                                                                COKER             AL    35452‐4113
LEONARD BAILEY & MARGARET JUNE BAILEY JT TEN     CAMBERS CANNON HILL CLOSE             UPPER BRAY RD        BRAY BERKSHIRE    GREAT BRITAIN

LEONARD BARKAN                                   225 LINCOLN HWY                                                                                FAIRLESS HILLS    PA    19030‐1103
LEONARD BARTLUM WALKER                           10 SE CHINICA DR                                                                               SUMMERFIELD       FL    34491‐4631
LEONARD BERENT                                   2400 E BASELINE AVE #102                                                                       APACHE JUNCTION   AZ    85219‐5709

LEONARD BERKOWICH                                31 PRENZLER DR                                                                                 BLOOMINGTON       IL    61704‐1299
LEONARD BERMAN                                   211 SUMNER ROAD                                                                                ANNAPOLIS         MD    21401‐2236
LEONARD BLAINE LAWSON                            290 MEADOW WOOD                                                                                GREENEVILLE       TN    37745‐7055
LEONARD BLONIARCZYK                              11821 ANDREWS ROAD                                                                             SAINT CHARLES     MI    48655‐9674
LEONARD BOGDANOFF & ARLENE BOGDANOFF JT TEN      204 GLEN PL                                                                                    ELKINS PARK       PA    19027‐1703

LEONARD BROERSMA                                 1622 HWY #2                           COURTICE ON                            L1E 2R6 CANADA
LEONARD BROWN                                    C/O BETTIE LUNDSTROM                  6080 STARDUST LN                                         ROSAMOND          CA    93560‐6477
LEONARD BROWN                                    4073 BUCHANAN ST                                                                               GARY              IN    46408‐2533
LEONARD BUCKMAN                                  15613 SEYMOUR ST                                                                               DETROIT           MI    48205‐3557
LEONARD BURT JR                                  12630 ABINGTON                                                                                 DETROIT           MI    48227‐1202
LEONARD C ANZEVINO                               2221 KIRK RD                                                                                   YOUNGSTOWN        OH    44511‐2211
LEONARD C BOONE II                               PO BOX 1078                                                                                    DOYLESTOWN        PA    18901‐0019
LEONARD C CANUP                                  6116 NORTH RIDGE RD                                                                            FT WORTH          TX    76135‐1342
LEONARD C CHAPMAN                                750 TYWHISKEY RD                                                                               PONTOTOC          MS    38863‐9625
LEONARD C COOKE                                  28 BURD ST                                                                                     NYACK             NY    10960‐3234
LEONARD C COSENTINO                              2740 FLEGER DR                                                                                 PARMA             OH    44134‐6438
LEONARD C DENSON                                 22107 N TOURNAMENT DRIVE                                                                       SUN CITY WEST     AZ    85375‐2219
LEONARD C DENSON & JO ANN D DENSON JT TEN        22107 N TOURNAMENT DRIVE                                                                       SUN CITY WEST     AZ    85375‐2219
LEONARD C EPPARD & FLORENCE MARGO EPPARD JT      6029 RIVER DR                                                                                  MASON NECK        VA    22079‐4125
TEN
LEONARD C ERLE                                   2609 PONTIAC DR                                                                                ALAMOGORDO        NM    88310‐3942
LEONARD C FLESZAR                                4061 W SHANGRI LA ROAD                                                                         PHOENIX           AZ    85029‐3838
LEONARD C FOSTER                                 7600 SC RD 200W                                                                                MUNCIE            IN    47302
LEONARD C GRIPH                                  5556 SOUTH DISCH AVE                                                                           CUDAHY            WI    53110‐2604
LEONARD C HARBAUGH                               53167 STATE ROUTE 146                                                                          PLEASANT CITY     OH    43772‐9634
LEONARD C JOHNSON                                1102 DIMONDALE DR                                                                              CARSON            CA    90746‐3157
LEONARD C MORRELL                                1939 WATSON HULBERT ROAD                                                                       MACEDON           NY    14502‐9203
LEONARD C PADDICK                                22 ALAYNE CRESCENT                    LONDON ON                              N6E 2A3 CANADA
LEONARD C PATTERSON                              661 E MEETING STREET                                                                           DANDRIDGE         TN    37725‐5004
LEONARD C PLUDE & BARBARA ANN PLUDE JT TEN       7037 W BALDWIN RD                                                                              SWARTZ CREEK      MI    48473‐9134

LEONARD C SNUFFER                                6301 MANDALAY DR                                                                               PARMA HTS         OH    44130‐2921
LEONARD C VAUGHN                                 649 E PULASKI                                                                                  FLINT             MI    48505‐3382
LEONARD C WEBB                                   4533 FAIRLAWN CT                                                                               ENGLEWOOD         OH    45322‐3773
LEONARD C YEOMANS                                49 WAYSIDE RD                                                                                  WESTBOROUGH       MA    01581‐3622
LEONARD C ZECK & PATRICIA ANN ZECK JT TEN        8404 COUNTRY FARM LN                                                                           LAINGSBURG        MI    48848‐9666
LEONARD C ZULAWSKI                               2355 JACKSON ST                                                                                FREMONT           CA    94539‐5121
LEONARD CARBONE CUST LEONARD GABRIEL CARBONE     205 WINDEL DR                                                                                  RALEIGH           NC    27609‐4441
UGMA NC
LEONARD CARRINGTON                               676 HARRISON AVENUE                                                                            PEEKSKILL         NY    10566‐2219
LEONARD CATALDO JR                               2144 READING AVE                                                                               WEST LAWN         PA    19609‐2031
LEONARD CIGICH & PATRICIA A CIGICH JT TEN        108 TWELVE OAKS DR                                                                             MCCORMICK         SC    29835‐2955
LEONARD CLARK                                    213 S ELM AVE                                                                                  JACKSON           MI    49203‐1915
LEONARD CLINTON                                  3706 LABYRINTH RD                                                                              BALTIMORE         MD    21215‐1504
LEONARD COCKERILL                                929 CONTOUR DR                                                                                 SAN ANTONIO       TX    78212‐1763
LEONARD COHEN CUST ARIELA COHEN UGMA NY          24 GROVE ST                                                                                    NEW PALTZ         NY    12561‐1105
LEONARD COHEN CUST ZEVI COHEN UGMA NY            24 GROVE ST                                                                                    NEW PALTZ         NY    12561‐1105
LEONARD CONSTANTINE JR                           34285 SAVANNAH CT                                                                              CHESTERFIELD      MI    48047‐6100
                                             09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 755 of 855
Name                                            Address1                            Address2             Address3          Address4          City            State Zip

LEONARD CORNELIUS VANDERVOORT                   2874 BASELINE RD                                                                             GRAND ISLAND    NY    14072‐1309
LEONARD CRIPPEN JR                              9909 MARRIOTTSVILLE RD                                                                       RANDALLSTOWN    MD    21133‐1503
LEONARD D BATES                                 12253 HIGHWAY 81                                                                             RUSSELLVILLE    AL    35654‐9768
LEONARD D BOOTH                                 2806 BOOKERT DR                                                                              BLATIMORE       MD    21225‐1306
LEONARD D CHARETTE                              13385 THORNAPPLE                                                                             PERRY           MI    48872‐8111
LEONARD D COLLINS                               14182 METTETAL ST                                                                            DETROIT         MI    48227‐1848
LEONARD D EILMANN TOD STEVEN D EILMAN & DEBRA L 819 BELL ROAD                                                                                WRIGHT CITY     MO    63390‐2107
EILMANN
LEONARD D HOLLINGSWORTH & BETTE R               1402 KIRK ROW                                                                                KOKOMO          IN    46902‐3978
HOLLINGSWORTH JT TEN
LEONARD D JOHNSON TOD SANDRA K JOHNSON          313 MICHIGAN AVE                                                                             ELYRIA          OH    44035
LEONARD D LIVENGOOD                             65671 STATE 15 RD                                                                            GOSEN           IN    46526
LEONARD D LORD                                  PO BOX 481                                                                                   GLENVILLE       NC    28736‐0481
LEONARD D MASTROROCCO & MRS CATHERINE M         651 E 14TH ST                                                                                NEW YORK        NY    10009‐3119
MASTROROCCO JT TEN
LEONARD D MC LAREN                              5785 SNOVER RD                                                                               DECKER          MI    48426‐9701
LEONARD D MORRISON                              341 MONET PLACE                                                                              NOKOMIS         FL    34275‐1374
LEONARD D NANZER                                8524 KRAFT AVE SE                                                                            CALEDONIA       MI    49316‐7678
LEONARD D PRISTOOP                              1259 BIRCH AVE                                                                               BALTIMORE       MD    21227‐2622
LEONARD D RADZINSKI & MARY D RADZINSKI JT TEN   562 MOORE ST                                                                                 ALBION          NY    14411‐1149

LEONARD D TESTA                                 1709 VALLEY DR                                                                               SYRACUSE        NY    13207‐2855
LEONARD D WALLACE                               1370 PLANTATION RD                                                                           MADISON         GA    30650‐3302
LEONARD D WOJTYNA                               151 EAST HURON RIVER DR                                                                      BELLEVILLE      MI    48111‐2757
LEONARD D ZEMECK                                8628 TUTTLE COURT                                                                            PALOS HILLS     IL    60465‐2111
LEONARD DALY                                    46 ESSEX RD                                                                                  GREAT NECK      NY    11023‐1534
LEONARD DEAN NEWTON & LINDA JEAN NEWTON JT      499 HARRIS RD                                                                                CLEVELAND       OH    44143‐2537
TEN
LEONARD DEE STATON                              114 COUNTRYSIDE DR                                                                           LENOIR          NC    28645
LEONARD DELMAN ABBOTT                           10051 CUTTY SARK                                                                             HUNTINGTON      CA    92646‐4301
                                                                                                                                             BEACH
LEONARD DENTON III                              1439 S MICHIGAN AV 610S                                                                      CHICAGO         IL    60605‐2870
LEONARD DILLON JR                               1348 MENDELL DR                                                                              UNIV CITY       MO    63130‐1515
LEONARD DUDLEY FIELD III                        357 NORTHRIDGE HEIGHTS DRIVE                                                                 HOWARD          OH    43028‐9679
LEONARD E ABELA                                 42059 QUEEN VICTORIA COURT                                                                   CLINTON TWP     MI    48038‐4506
LEONARD E ALLMON                                4452 E HILL RD                                                                               GRAND BLANC     MI    48439‐7635
LEONARD E ALLMON & PRISCILLA ALLMON JT TEN      4452 E HILL RD                                                                               GRAND BLANC     MI    48439‐7635
LEONARD E BEAN                                  RR3                                                                                          CLOVERDALE      IN    46120‐9803
LEONARD E BRABON                                3700 E D AVE                                                                                 KALAMAZOO       MI    49009‐6698
LEONARD E BROWN                                 7142 W SAGINAWHWY                                                                            SUNFIELD        MI    48890‐9741
LEONARD E BUCKLEW & DORIS BUCKLEW JT TEN        8815 SAN FRANCISCO NE                                                                        ALBUQUERQUE     NM    87109
LEONARD E BYRON                                 141 LEEPER RD                                                                                BELLE VERNON    PA    15012‐3904
LEONARD E GUTOWSKI                              534 ATLANTA                                                                                  SAGINAW         MI    48604‐2243
LEONARD E JACZYNSKI                             1166 N BRIDGE ST                                                                             LINDEN          MI    48451‐8810
LEONARD E JOHNSON JR                            3550 PARIS DRIVE                                                                             MORAINE         OH    45439‐1224
LEONARD E KENT                                  237 WHITTEN LN                                                                               WYTHEVILLE      VA    24382‐4205
LEONARD E KLOHN                                 1613 DIETRICK ST                                                                             SANDUSKY        OH    44870‐4487
LEONARD E LAVERY                                1524 ROCKAWAY ST                                                                             AKRON           OH    44314‐3366
LEONARD E MAJESKE                               27436 HAVERHILL DR                                                                           WARREN          MI    48092‐3025
LEONARD E MARTIN                                2891 S DUCK CREEK                                                                            NORTH JACKSON   OH    44451‐9661
LEONARD E MEIER                                 10 LEGENDARY RD                                                                              HENDERSONVLLE   NC    28739‐9379
LEONARD E MORICONI                              16358 EDWARDS AVENUE                                                                         SOUTHFIELD      MI    48076‐5805
LEONARD E NEAL                                  816 LAKESIDE DR                                                                              KOKOMO          IN    46901‐7037
LEONARD E NELSON & CLARE B NELSON TEN ENT       7007 BENNETT'S VALLEY HIGHWAY                                                                DU BOIS         PA    15801‐4105
LEONARD E PARKER                                439 GRANDVIEW DRIVE                                                                          ALTOONA         AL    35952‐7986
LEONARD E POPE                                  855 E DAVID RD                                                                               DAYTON          OH    45429‐5260
LEONARD E REED                                  9 SIR BODWIN PLACE                  MARKHAM ON                             L3P 2X7 CANADA
LEONARD E SENSKY                                21850 FULLER AVE                                                                             EUCLID          OH    44123‐2761
LEONARD E SHREVE                                227 MORNING STAR DRIVE                                                                       HUNTSVILLE      AL    35811‐7830
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 756 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

LEONARD E SIMON                                  3325 FLORA AVE                                                                                 KANSAS CITY       MO    64109‐1960
LEONARD E SKIPWORTH                              2407 N WOOD AVE                                                                                FLORENCE          AL    35630‐1279
LEONARD E SNOWDEN TR LEONARD E SNOWDEN           2046 ADMIRAL PL                                                                                SAN JOSE          CA    95133‐1124
FAMILY LIVING TRUST UA 5/18/99
LEONARD E STURGILL                               4740 SHADYHILL LANE                                                                            KETTERING         OH    45429‐5541
LEONARD E TAMULE                                 127 RIDGE ST                                                                                   BROCKTON          MA    02302‐1851
LEONARD E THOMAS & SHARON A THOMAS JT TEN        4267 SPRINGBROOK DRIVE                                                                         SWARTZ CREEK      MI    48473‐1706
LEONARD E WENDORF                                16180 SENECA LAKE CIRCLE                                                                       CREST HILL        IL    60435‐1500
LEONARD EARP                                     3524 19TH AVENUE NE                                                                            TUSCALOOSA        AL    35406‐1560
LEONARD ENNIS                                    RR #4 4290 4TH CON                    HARROW ON                              N0R 1G0 CANADA
LEONARD ESSELINK & LOIS A ESSELINK JT TEN        373 ABBEY WOOD DR                                                                              ROCHESTER         MI    48306‐2605
LEONARD ESTES                                    1872 N CO RD 900E                                                                              AVON              IN    46123‐5369
LEONARD EVANS                                    436 MONTEREY DR                                                                                PEEBLES           OH    45660
LEONARD F DORCHEK & ALICE S DORCHEK JT TEN       6225 S FRANCISCO AVE                                                                           CHICAGO           IL    60629‐2301
LEONARD F ECKER                                  PO BOX 1759                                                                                    RED LODGE         MT    59068‐1759
LEONARD F GIFFORD & ANNABEL G GIFFORD TEN ENT    RTE 2 BOX 501                                                                                  HEADLAND          AL    36345‐9425

LEONARD F HELBIG CUST JEANNE MARIE HELBIG UGMA 208 HARVARD AVE                                                                                  CLARKS GREEN      PA    18411‐1116
PA
LEONARD F HOLDEN                                 3420 BOILING SPRINGS RD                                                                        SPARTANBURG       SC    29316‐6010
LEONARD F KRASNOWSKI & MRS PATRICIA L            61 SURREY HILL CT                                                                              PALOS HEIGHTS     IL    60463‐1237
KRASNOWSKI JT TEN
LEONARD F LOFTIN                                 2380 COIT DR NW                                                                                WARREN            OH    44485‐1454
LEONARD F MATTIS                                 5289 S BYRON RD                                                                                DURAND            MI    48429‐1475
LEONARD F OKELLY & ALBINA J OKELLY JT TEN        208 BROOKSIDE LN #C                   WILLOWBROOK                                              CLARENDON HLS     IL    60514‐2906
LEONARD F PETRUCELLI                             30 DAYBREAK LN                                                                                 SHELTON           CT    06484‐6116
LEONARD F RAFFLER                                921 W AUBURN RD                                                                                ROCHESTER HILLS   MI    48307‐4903
LEONARD F ROGALSKI CUST BRIAN L ROGALSKI UGMA IL 1617 HIGH RIDGE PKWY                                                                           WESTCHESTER       IL    60154‐4117

LEONARD F SONGER                              PO BOX 842                                                                                        YREKA             CA    96097‐0842
LEONARD F STAUFER                             1160 SAND RUN ROAD                                                                                TROY              MO    63379‐3428
LEONARD F SZADLOWSKI                          949 N UNION ST                                                                                    OLEAN             NY    14760‐1429
LEONARD F VANAKIN                             821 CALLAN ST                                                                                     ENGLEWOOD         FL    34223‐2613
LEONARD F WONG & MAE S H WONG JT TEN          2600 ARLINGDALE DR                                                                                PALATINE          IL    60067‐7342
LEONARD FIELDS JR                             347 HOLLY GROVE CHURCH RD                                                                         MAGNOLIA          KY    42757‐7715
LEONARD FINLEY JR                             2356 HUDOSN RD                                                                                    ELBERTON          GA    30635‐5212
LEONARD FRANK WALKER                          C/O JEANETTE M WALKER                    1164 E CORNELL AVE                                       FLINT             MI    48505‐1614
LEONARD FROST II                              5841 SUNRISE DR                                                                                   YPSILANTI         MI    48197
LEONARD FURMAN & MRS FLORENCE B FURMAN JT TEN 1807 SHEFFIELD TER                                                                                MARION            OH    43302‐6855

LEONARD G BIFARO                                 7386 WINBERT DR                                                                                NO TORAWANDA      NY    14120‐1456
LEONARD G BOUGHTON                               175 KINGS HWAY APT 934                                                                         PORT CHARLOTTE    FL    33983‐5220
LEONARD G CYR JR                                 1216 ST JOHNS AVE                                                                              MATTHEWS          NC    28104‐6749
LEONARD G FRANZEL                                2833 N BOWDEN RD                                                                               AVON PARK         FL    33825‐8701
LEONARD G GENESEE & ROSEMARY J GENESEE JT TEN    73 HUNT RD                                                                                     WALLKILL          NY    12589‐4723

LEONARD G LASOTA                                 15012 CADILLAC                                                                                 SHELBY TOWNSHIP   MI    48315‐2515

LEONARD G LENG                                   346 SHANNON BLVD.                     GRAND BEND ON                          N0M 1T0 CANADA
LEONARD G LENG                                   346 SHANNON BLVD.                     GRAND BEND ON                          N0M 1T0 CANADA
LEONARD G LOPEZ                                  22115 BERNARD                                                                                  TAYLOR            MI    48180‐3654
LEONARD G MILBURN                                5714 FENWICK PL                                                                                CLARKSTON         MI    48348‐4718
LEONARD G MILBURN & LAUREEN P MILBURN JT TEN     5714 FENWICK PL                                                                                CLARKSTON         MI    48348

LEONARD G NICHOLS                                10911 MULBERRY ST                                                                              SEBASTIAN         FL    32958‐8113
LEONARD G NICHOLSON                              8670 VISTA DR                                                                                  NEWAYGO           MI    49337‐9287
LEONARD G SEAHOLM & VERNONA L SEAHOLM JT TEN     3405 HILLCREST RD N                                                                            TILLAMOOK         OR    97141‐9764

LEONARD G STARK                                  477 WESCHESTER COURT                                                                           BLUE SPRINGS      MO    64014
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                      Part 4 of 8 Pg 757 of 855
Name                                             Address1                              Address2             Address3          Address4             City              State Zip

LEONARD G TULLGREN                             6414 LAKE ATLIN AVE                                                                                 SAN DIEGO         CA    92119
LEONARD G VIGLIANO                             PO BOX 307                                                                                          WORCESTER         PA    19490‐0311
LEONARD G WANTZ JR & A ELAINE WANTZ JT TEN     PO BOX 331                                                                                          TANEYTOWN         MD    21787‐0331
LEONARD GENCO                                  3326 EVERGREEN GLADE DRIVE                                                                          KINGWOOD          TX    77339‐2207
LEONARD GEORGE WANTZ JR                        P OBOX 331                                                                                          TANEYTOWN         MD    21787
LEONARD GERARD                                 463 ARCOLA                                                                                          GARDEN CITY       MI    48135‐3129
LEONARD GONSHOR                                830 LORETTA AVE                                                                                     TONAWANDA         NY    14150‐8739
LEONARD GREEN                                  626 WEST HOLBROOK                                                                                   FLINT             MI    48505‐2058
LEONARD GRIGSBY                                627 CAREFREE DR                                                                                     CINCINNATI        OH    45244‐1351
LEONARD H AKERS & VERNELL AKERS JT TEN         3751 SAND LAKE RD                                                                                   ALLEN             MI    49227‐9738
LEONARD H BAXTER                               15091 POBEREZNY CT                                                                                  LINDEN            MI    48451‐9161
LEONARD H CHUMBLEY & MRS MARION E CHUMBLEY JT 29 E WINANT AVE                                                                                      RIDGEFIELD PARK   NJ    07660‐2016
TEN
LEONARD H CLARK                                BOX 157                                                                                             ENCAMPMENT        WY    82325‐0157
LEONARD H CREED & JOANN M CREED JT TEN         14326 U S 6                                                                                         PLYMOUTH          IN    46563‐9709
LEONARD H DEMICHELE                            2424 W MONTROSE AVE                                                                                 CHICAGO           IL    60618‐1606
LEONARD H DUCK                                 114 IROQUOIS CT                                                                                     NEWARK            DE    19702‐1908
LEONARD H GAFFGA                               93 HERONS BILL DR                                                                                   BLUFFTON          SC    29909‐7139
LEONARD H GENTRY                               3217 MOUNDS ROAD                                                                                    ANDERSON          IN    46016‐5879
LEONARD H HENRIQUES & THELM B HENRIQUES JT TEN 68 3604 ELE ELE ST                                                                                  WAIKOLOA          HI    96738

LEONARD H NASS                                   649 JEFFERSON DR                                                                                  HIGHLAND HTS      OH    44143‐2036
LEONARD H POLLARD                                630 N 2 E                                                                                         LOGAN             UT    84321‐3304
LEONARD H RAEMER                                 C/O AYELET NAFTALIYAHU                KIBBUTZ NIRIM        DN NEGEV          ISRAEL
LEONARD H SAVALA                                 874 ANDOVER COURT SE                                                                              KENTWOOD          MI    49508‐4770
LEONARD H SCHLEPP & ANNA M SCHLEPP JT TEN        701 S WISCONSIN ST                    APT 318                                                     CONRAD            MT    59425‐2648
LEONARD H WHITE                                  18420 VEACH                                                                                       DETROIT           MI    48234‐3617
LEONARD HALL                                     PO BOX 627                                                                                        MILL CITY         OR    97360‐0627
LEONARD HARRIS                                   6920 VALLEY RIDGE CT                                                                              RALEIGH           NC    27615‐7130
LEONARD HAUSNER & CAMILLE HAUSNER JT TEN         1925 W EVERGREEN AVE                                                                              CHICAGO           IL    60622‐1933
LEONARD HEADY                                    2364 WINTHROP                                                                                     INDIANPOLIS       IN    46205‐4532
LEONARD HENDRICKSON CUST L ANDREW                10256 IDLE PINE LN                                                                                BONITA SPGS       FL    34135‐8107
HENDRICKSON UGMA NJ
LEONARD HENRY LEE                                2604 CARMAN ST                                                                                    ROYAL OAK         MI    48073‐3722
LEONARD HIATT                                    5424 CLARK RD                                                                                     BATH              MI    48808‐9756
LEONARD HICKS                                    16835 LINWOOD                                                                                     DETROIT           MI    48221‐3126
LEONARD HOLM JENSEN                              15389 FISH LAKE RD                                                                                HOLLY             MI    48442‐8343
LEONARD I KAUFMAN & GERTRUDE KAUFMAN JT TEN      101 W 10TH AVE                                                                                    ELLENSBURG        WA    98926‐2913

LEONARD ISREAL DRYER                             2555 PIRATE COVE                                                                                  PORT HUENEME      CA    93041‐1570
LEONARD J BARTOTTI                               6361 LANSDOWN DR                                                                                  DIMONDALE         MI    48821‐9763
LEONARD J BELDYGA                                4917 COLBY ROAD                                                                                   OWOSSO            MI    48867‐9713
LEONARD J BROZAK JR                              85 KARRAT DR                                                                                      ROCHESTER         NY    14622‐2100
LEONARD J CARVEL                                 BOX 28                                                                                            WINTHROP          NY    13697‐0028
LEONARD J CIFONE JR                              57 BRENTWOOD RD                                                                                   BRISTOL           CT    06010‐2505
LEONARD J COLLAMORE                              80 BENNINGTON ST                                                                                  SPRINGFIELD       MA    01108‐3504
LEONARD J COOK                                   3218 DREXEL AVENUE                                                                                FLINT             MI    48506‐1936
LEONARD J DACEY                                  7008 ROTHMORE STREET                                                                              CHARLOTTE         NC    28215‐3757
LEONARD J DRAGER TR LEONARD DRAGER TRUST UA      15595 SANDALHAVEN DR                                                                              MIDDLEBURG HTS    OH    44130‐3573
08/17/00
LEONARD J DRENSKI                                901 MAHAN DENMAN NW                                                                               BRISTOLVILLE      OH    44402‐9754
LEONARD J EIGNER                                 2156 BULLOCK RD                                                                                   BAY CITY          MI    48708‐9654
LEONARD J EISENBERG                              PO BOX 171                                                                                        S DEERFIELD       MA    01373‐0171
LEONARD J ELZINGA & JOAN B ELZINGA JT TEN        1901 OAKLEIGH WOODS DR NW                                                                         GRAND RAPIDS      MI    49504‐2590
LEONARD J FERRANTINO & MRS MARY ANNE             35 ORIOLE RD                                                                                      WESTWOOD          MA    02090‐3307
FERRANTINO JT TEN
LEONARD J FLATY                                  4205 E 400S                                                                                       KOKOMO            IN    46902‐9371
LEONARD J FLESHER III CUST CHERYL LYNN FLESHER   1463 WINDSOR LANE                                                                                 SHAKOPEE          MN    55379‐8069
UGMA MN
                                                 09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 758 of 855
Name                                               Address1                                Address2             Address3          Address4          City             State Zip

LEONARD J FLESHER III CUST GREGORY L FLESHER UGMA 14185 CHERRYWOOD DR                                                                               BAXTER           MN    56425‐8496
MN
LEONARD J GRACZYK                                 1320 GARFIELD AVE                                                                                 BAY CITY         MI    48708‐7834
LEONARD J GREEN & ARLENE I GREEN JT TEN           19 E HUCKLEBERRY RD                                                                               LYNNFIELD        MA    01940‐2040
LEONARD J HIGHTOWER                               2421 HOSMER ST                                                                                    SAGINAW          MI    48601‐1573
LEONARD J HIRSCHFELD & JO ANN HIRSCHFELD JT TEN 3447 S 161ST CIR                                                                                    OMAHA            NE    68130‐2129

LEONARD J JAKOWCZK                                 PO BOX 365                                                                                       MOUNT MORRIS     MI    48458‐0365
LEONARD J KARDANE & PATRICIA A KARDANE JT TEN      3590 SUGAN RD                                                                                    NEW HOPE         PA    18938

LEONARD J KROLIK                                   501 LAKE HINSDALE DR                    APT 503                                                  WILLOWBROOK      IL    60527‐2269
LEONARD J KUNSMAN                                  BOX 15 LEFFLER HILL RD                                                                           FLEMINGTON       NJ    08822‐0015
LEONARD J LARMONY                                  154 ORANGE AVE                                                                                   IRVINGTON        NJ    07111‐2018
LEONARD J LEROY                                    5649 N 25TH ST                                                                                   KALAMAZOO        MI    49004‐9658
LEONARD J LOMBARDO                                 35309 SIMON DR                                                                                   CLINTON TWNSHP   MI    48035‐5005

LEONARD J LUEKEN & MICHAEL ALLEN & JEFFREY MARK    527 SUNNINGWELL DR                                                                               ST LOUIS         MO    63119‐4840
JT TEN
LEONARD J MACHTEL                                  119 EVESHAM DRIVE                                                                                SUMMERVILLE      SC    29485‐5849
LEONARD J MARKUSIC                                 4480 CLEMENT DR                                                                                  SAGINAW          MI    48603‐2011
LEONARD J MARTIN                                   14441 COLONY CREEK CT                                                                            WOODBRIDGE       VA    22193‐3319
LEONARD J MELPIGNANO & MELISSA C MELPIGNANO JT     901 MACE AVE                                                                                     ESSEX            MD    21221‐4739
TEN
LEONARD J MIRIZZI                                  18 CAROLYN DR                                                                                    HEBRON           CT    06248‐1004
LEONARD J MISHLER                                  19007 50TH AVE                                                                                   FRESH MEADOWS    NY    11365‐1202
LEONARD J MONIZE & HELEN M MONIZE JT TEN           24375 FOLKSTONE AVE                                                                              PT CHARLOTTE     FL    33980
LEONARD J MORDEN                                   355 S CHIPPEWS ST                                                                                SHEPARD          MI    48883‐9077
LEONARD J NUGENT & VERNETTE E NUGENT JT TEN        367 W FLORAL DRIVE                                                                               SAINT PAUL       MN    55126‐2307

LEONARD J OSSO                                     122 FAIRBORN DR                                                                                  HAMILTON         OH    45013‐3522
LEONARD J PARZYNSKI                                30860 N RIVER RD                                                                                 HARRISON         MI    48045‐1456
                                                                                                                                                    TOWNSHIP
LEONARD J PATULSKI & EVELYN PATULSKI JT TEN   2311 HILL RD                                                                                          MANISTEE         MI    49660‐9231
LEONARD J PERRY                               4442 CHERRY TREE LANE                                                                                 FLINT            MI    48507‐3723
LEONARD J POLANOWSKI                          6940 BANK ST                                                                                          BALTIMORE        MD    21224‐1856
LEONARD J POND                                204 N CHILSON                                                                                         BAY CITY         MI    48706‐4420
LEONARD J PROWSE                              6672 WILLIS RD                                                                                        BROWN CITY       MI    48416
LEONARD J QUEEN & SHIRLEY QUEEN JT TEN        86 CENTRAL PARKWAY                                                                                    MOUNT VERNON     NY    10552‐1925
LEONARD J RACHWAL                             26800 CECILE ST                                                                                       DEARBORN HTS     MI    48127‐3330
LEONARD J RAJEWSKI JR                         42302 ROYAL LANE                                                                                      CLINTON TWP      MI    48038‐5000
LEONARD J RASH JR                             4619 ETHEL CIRCLE                                                                                     WILMINGTON       DE    19804
LEONARD J RASMER                              2003 18TH ST                                                                                          BAY CITY         MI    48708‐7516
LEONARD J REDMOND & SENA MARIE REDMOND JT TEN BOX 46 1863 MEADOW LANE                                                                               WILMINGTON       OH    45177‐1034

LEONARD J SHAFFER                                  1615 ROBIN RD                                                                                    ARLINGTON        TX    76013‐3274
LEONARD J SIKORA                                   42252 OBERLIN ROAD                                                                               ELYRIA           OH    44035‐7414
LEONARD J SLIWA                                    9125 BEECHNUT ROAD                                                                               HICKORY HILLS    IL    60457‐1221
LEONARD J ST CYR CUST MISS SUSAN ST CYR U/THE      13139 REGENCY TRAIL                                                                              SAN ANTONIO      TX    78249‐4846
MICHIGAN U‐G‐M‐A
LEONARD J STEFANSKI                                106 BRUNDAGE AVE                                                                                 N TONAWANDA      NY    14120‐1706
LEONARD J TAYLOR                                   4151 BROADWAY ST                                                                                 INDIANAPOLIS     IN    46205‐2732
LEONARD J TOLLEY JR & MRS NORA L TOLLEY JT TEN     1125 SEMINOLE DR                                                                                 TALLAHASSEE      FL    32301‐4665

LEONARD J TORDAY                                   6125 DUCK CREEK RD                                                                               BERLIN CENTER    OH    44401‐9751
LEONARD J WHITLOCK                                 5546 SIR CHURCHILL DR                                                                            LEESBURG         FL    34748‐2322
LEONARD J WITTE                                    C/O GLORIA J WITTE                      6925 N HICKORY ST                                        KANSAS CITY      MO    64118
LEONARD J ZIELEN                                   801 LYTLE ST                                                                                     REDLANDS         CA    92374‐6238
LEONARD J ZIEMBA & CASIMIRA ZIEMBA JT TEN          13019 98TH AVE                                                                                   SUN CITY         AZ    85351‐3223
LEONARD JAMES                                      19962 PATTON                                                                                     DETROIT          MI    48219‐2051
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 759 of 855
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

LEONARD JAMES SMITH TR LEONARD JAMES SMITH         300 W AIRPORT BLVD                    APT 219                                                  SANFORD         FL    32773‐5478
REVOCABLE TRUST UA 10/30/00
LEONARD JAY BARTLE                                 2173 S CENTER RD                      APT 407                                                  BURTON          MI    48519‐1808
LEONARD JESSE DUNAHOO JR                           PO BOX 399                                                                                     STANARDSVILLE   VA    22973‐0399
LEONARD JOHN BELTER                                125 SATINWOOD DR                                                                               CHEEKTOWAGA     NY    14225‐3746
LEONARD JOHN HAMMELL III                           7723 ANDERSONVILLE PIKE                                                                        KNOXVILLE       TN    37938‐4208
LEONARD JOHN KUHNEMANN & BONNIE C                  835 STARDALE DR                                                                                CHESAPEAKE      VA    23322
KUHNEMANN JT TEN
LEONARD JONES & MRS BETTY SUE JONES JT TEN         83 CRESTVIEW CIRCLE                                                                            RINGGOLD        GA    30736‐2833
LEONARD JOSEPH PAPAPIETRO                          POBOX 293                                                                                      WORCESTER       NY    12197‐0293
LEONARD JURGELEWICZ                                26261 COMPSON                                                                                  ROSEVILLE       MI    48066‐3177
LEONARD K DUNIKOSKI JR                             558 RIDGE ROAD                                                                                 FAIR HAVEN      NJ    07704‐3614
LEONARD K EBER                                     2 WILSON CV                                                                                    HILLSBOROUGH    NJ    08844‐4700
LEONARD K HOM                                      95 FRANKLIN STREET                                                                             CEDAR GROVE     NJ    07009‐2209
LEONARD K MOENING                                  BOX 519                                                                                        KALIDA          OH    45853‐0519
LEONARD K STEFANSKI & MRS TALITHA J STEFANSKI JT   643 FAIRWAY AVE                                                                                FORT WALTON     FL    32547‐1750
TEN                                                                                                                                               BEACH
LEONARD KAMINSKI                                   4405 HOWE RD                                                                                   WAYNE           MI    48184‐1870
LEONARD KAPLAN II                                  876 ROUTE 146A                                                                                 CLIFTON PARK    NY    12065‐1521
LEONARD KATCHER & GAIL KATCHER JT TEN              523 HAROLD ST                                                                                  STATEN ISLAND   NY    10314‐5017
LEONARD KAY NOWOCIEN                               859 NORTH COLONY ROAD                                                                          GRAND ISLAND    NY    14072‐2801
LEONARD KEITH VALENTINE & DORIS B VALENTINE JT     3170 OLD ROUTE 33                                                                              HORNER          WV    26372‐9749
TEN
LEONARD KLATT                                      8733 TAFT RD                                                                                   OVID            MI    48866‐9654
LEONARD KOCH                                       7205 N CENTER ROAD                                                                             MT MORRIS       MI    48458‐8983
LEONARD KOPOLOVITZ                                 1485 E 16TH ST APT 1C                                                                          BROOKLYN        NY    11230‐6635
LEONARD KRITZER CUST KATHLEEN M KRITZER UGMA       3072 HIGHLANDS BRIDGE RD                                                                       SARASOTA        FL    34235‐6840
OH
LEONARD KRITZER CUST MAUREEN I KRITZER UGMA OH     3072 HIGHLANDS BRIDGE RD                                                                       SARASOTA        FL    34235‐6840

LEONARD KRITZER CUST SUZANNE H KRITZER UGMA OH 3072 HIGHLANDS BRIDGE RD                                                                           SARASOTA        FL    34235‐6840

LEONARD KULAK                                      168 WAVERLY ST                                                                                 BELMONT         MA    02478‐2462
LEONARD L & FRANCES A VAN LIEW TR 11/24/97 VAN     3220 W 57 ST APT 309                                                                           SIOUX FALLS     SD    57108
LIEW LIVING TRUST
LEONARD L BARNETT                                  PO BOX 681                                                                                     ELLIJAY         GA    30540‐0009
LEONARD L CHIESA                                   3995 SUN RAPIDS DR                                                                             OKEMOS          MI    48864‐4503
LEONARD L COWLES                                   BX 135                                                                                         SUMMITVILLE     IN    46070‐0135
LEONARD L CRAIG                                    712 INDIAN TRAIL                                                                               MARTINSVILLE    VA    24112‐4505
LEONARD L DAVIS JR                                 22 STATE AVE                                                                                   LINDENWOLD      NJ    08021‐3215
LEONARD L FISCHER                                  5199 OBERLIN RD RT 5                                                                           GLADWIN         MI    48624‐8956
LEONARD L GASTMEIER                                49181 FULLER ST                                                                                CHESTERFIELD    MI    48051‐2506
LEONARD L GILPATRICK & DONNA F GILPATRICK JT TEN   18687 JAMESTOWN CIRCLE                                                                         NORTHVILLE      MI    48168‐3528

LEONARD L GRINTER                                  7807 SANDUSKY AVE                                                                              KANSAS CITY     KS    66112‐2649
LEONARD L HAYNES                                   PO BOX 11                                                                                      NEW RICHMOND    OH    45157‐0011
LEONARD L HEMING                                   92 CRANBERRY BEACH BLVD                                                                        WHITE LAKE      MI    48386‐1915
LEONARD L KASKY                                    4312 N HOLLAND SYLVANIA RD            APT 105                                                  TOLEDO          OH    43623‐4701
LEONARD L KRUSE                                    409 E 27TH ST                                                                                  S SIOUX CITY    NE    68776‐3303
LEONARD L LANE                                     18740 MAPLE AVE                                                                                COUNTRY CLUB    IL    60478‐5691
LEONARD L LIBES                                    3902 N LAKESIDE DR                                                                             MUNCIE          IN    47304‐6351
LEONARD L LOGAN                                    2111 DANIELS DR                                                                                JOSHUA          TX    76058‐6021
LEONARD L LOGAN                                    2975 SOUTH HAMPTON                                                                             BETTENDORF      IA    52722‐2641
LEONARD L MATZNICK                                 5109 S REED RD                                                                                 DURAND          MI    48429‐1011
LEONARD L MCINTOSH                                 1575 WEBER RD                                                                                  GLADWIN         MI    48624‐8444
LEONARD L MOFFIT JR & ELLEN I MOFFIT JT TEN        15927 BRIGGS RD                                                                                CHESANING       MI    48616‐8431
LEONARD L PETTYJOHN                                9521 W SANDY VIEW DR                                                                           MEARS           MI    49436‐9805
LEONARD L PHILLIPS                                 1341 LE JEUNE                                                                                  LINCOLN PARK    MI    48146‐2056
LEONARD L PHILLIPS & ZANA PHILLIPS JT TEN          1341 LE JEUNE                                                                                  LINCOLN PARK    MI    48146‐2056
                                         09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 760 of 855
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

LEONARD L PICKELMANN & NORMA JEAN PICKELMANN   4468 DIXON DR                                                                                   SWARTZ CREEK     MI    48473‐8279
JT TEN
LEONARD L POTTS                                4103 WALBRIDGE PL                                                                               SAINT LOUIS      MO    63115‐1731
LEONARD L POTTS JR                             4103 WALBRIDGE PL                                                                               SAINT LOUIS      MO    63115‐1731
LEONARD L REDUS                                2104 DELANCEY DR                                                                                NORMAN           OK    73071‐3871
LEONARD L RISDON                               14158 NORTH STATE RD                                                                            OTISVILLE        MI    48463‐9712
LEONARD L SMIGELSKI                            1088 LARKE AVE                                                                                  ROGERS CITY      MI    49779‐1229
LEONARD L TEMPLETON                            4322 MAC DOUGAL CIRCLE                                                                          LANSING          MI    48911‐2529
LEONARD L TROMBLEY                             4713 LACLAIR RD                                                                                 STANDISH         MI    48658‐9754
LEONARD L WILLIAMS                             26055 KARR RD                                                                                   BELLEVILLE       MI    48111‐9699
LEONARD L WILSON                               3278 OCEANLINE EAST DR                                                                          INDIANAPOLIS     IN    46214‐4158
LEONARD LEVETT & ROZLYN LEVETT JT TEN          #37                                    29145 WELLINGTON                                         SOUTHFIELD       MI    48034‐4517
LEONARD LORBERBAUM                             PO BOX 1406                                                                                     DALTON           GA    30722‐1406
LEONARD M BLANKENSHIP JR                       6006 TRANQUIL LANE W                                                                            RICHMOND         VA    23234‐5563
LEONARD M BRYLA & JOHN A BRYLA JT TEN          312 S FAIRVIEW                                                                                  PARK RIDGE       IL    60068‐4022
LEONARD M CRONK                                1101 WOODSIDE DR                                                                                FLINT            MI    48503‐5349
LEONARD M FANDALE                              1920 WATTLES RD W                                                                               TROY             MI    48098‐4335
LEONARD M FILARECKI                            PO BOX 114                                                                                      COLTON           NY    13625‐0114
LEONARD M FRIEDLAND                            321 E 69TH ST APT 5‐C                                                                           NEW YORK         NY    10021
LEONARD M GARDNER                              4128 EMERALD PINES DR                                                                           COMMERCE TWP     MI    48390‐1311
LEONARD M HILLIARD                             6602 RIVA RIDGE CT                                                                              CHARLOTTE        NC    28216‐5786
LEONARD M HOFFMAN                              56 ALFRED LANE                                                                                  NEW ROCHELLE     NY    10804‐3002
LEONARD M KOSECKI JR                           354 W RIVER RD                                                                                  KAWKAWLIN        MI    48631‐9724
LEONARD M MATZ & DOLORES R MATZ JT TEN         3689 CARTWRIGHT CT                                                                              BONITA SPRINGS   FL    34134‐7571
LEONARD M MONROE                               858 WEST BOSTON BLVD                                                                            DETROIT          MI    48202‐1408
LEONARD M NAWROCKI                             144 E MEADOWLAWN BLVD                                                                           INDEPENDENCE     OH    44131‐2704
LEONARD M OKONESKI                             16567 BORTON DR                                                                                 CHESANING        MI    48616‐1741
LEONARD M RENICK                               1100 S EUCLID                                                                                   FULLERTON        CA    92832‐2817
LEONARD M ROTH & ISABEL ROTH JT TEN            15324 LAKES OF DELRAY BLVD             APT 214                                                  DELRAY BEACH     FL    33484‐4513
LEONARD M SZYMANSKI                            41144 PIGN DRIVE                                                                                STERLING HGTS    MI    48313‐3359
LEONARD M TKACH                                216 S LAKESHORE DR                                                                              MANAHAWKIN       NJ    08050‐2920
LEONARD M TODD JR                              204 PROMISED LAND RD                                                                            EDGEFIELD        SC    29824‐3311
LEONARD M WOOLARD                              4587 STREETER RD                                                                                MANTUA           OH    44255‐9790
LEONARD MANDELBAUM & MRS LEAH MANDELBAUM       21 WILLBEN LANE                                                                                 PLAINVIEW        NY    11803
JT TEN
LEONARD MAPP                                   1830 BETHANY CHURCH RD                                                                          MADISON          GA    30650‐5013
LEONARD MARTIN FOX & KAREN LEE FOX JT TEN      219 BENTLEY OAKS LN                                                                             CHARLOTTE        NC    28270‐6004
LEONARD MARTINE & MRS IRENE MARTINE JT TEN     3904 E SAHUARO DR                                                                               PHOENIX          AZ    85028‐3444
LEONARD MATTY                                  25 DOE LN                                                                                       MALVERN          PA    19355
LEONARD MAZUR & RUSSELL MAZUR TR LEONARD       222 BARBADOS DR                                                                                 CHEEKTOWAGA      NY    14227‐2517
MAZUR TRUST UA 05/20/96
LEONARD MC CURDY                               4198 MISSISSAUGA RD                    MISSISSAUGA ON                         L5L 2S7 CANADA
LEONARD MCKAY CRAWFORD & LUISA MARIA           3233 ALDORO AVE                                                                                 SPRING HILL      FL    34609‐7990
CRAWFORD JT TEN
LEONARD MICHAEL ANTOSZEWSKI                    41 HEDWIG AVE                                                                                   CHEEKTOWAGA      NY    14211‐2801
LEONARD MIHAIL                                 9023 W 24TH ST                                                                                  LOS ANGELES      CA    90034‐1938
LEONARD MILES                                  BOX 1236                               KEMPTVILLE ON                          K0G 1J0 CANADA
LEONARD MORRIS                                 99 CLUBHOUSE DR                                                                                 WILLINGBORO      NJ    08046‐3418
LEONARD MORROW                                 180 PARK ROW UNIT 18D                                                                           NEW YORK         NY    10038
LEONARD MUZIKOWSKI                             1706 LOUISIANA ROAD                                                                             S DAYTONA        FL    32119‐1916
LEONARD N MAKOWSKI                             15651 BELLAIRE AVE                                                                              ALLEN PARK       MI    48101‐1103
LEONARD N SMOLINSKI                            41937 GAINSLEY DR                                                                               STERLING HTS     MI    48313‐2555
LEONARD N SPITZER                              1721 N CORAL BELLS DR                                                                           TUCSON           AZ    85745‐5223
LEONARD N WILLING                              15504 WINDOVER TRAIL                                                                            FORT WAYNE       IN    46845‐9753
LEONARD NACHT & SALLY NACHT JT TEN             1 STRAWBERRY HILL AVE                  APT 3E                                                   STAMFORD         CT    06902‐2629
LEONARD NEELEY                                 2507 MARSH AVE                                                                                  NORWOOD          OH    45212‐4109
LEONARD NEWBERT & BEVERLY NEWBERT JT TEN       56A GELLETTE ROAD                                                                               FAIRHAVEN        MA    02719‐5434
LEONARD NEWTON & LINDA NEWTON JT TEN           499 HARRIS RD                                                                                   CLEVELAND        OH    44143‐2537
LEONARD O WILLIAMS                             22120 GARDNER ST                                                                                OAK PARK         MI    48237‐2684
                                          09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 761 of 855
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

LEONARD O'NEAL                                  1904 W ALEXIS RD APT 302C                                                                     TOLEDO           OH    43613‐2277
LEONARD OBRIEN                                  3074 CROWN WOOD CT                                                                            TRAVERSE CITY    MI    49684‐7154
LEONARD P BECKER                                1241 CRANBROOK DR                                                                             SAGINAW          MI    48603‐5440
LEONARD P BEESTON                               860 JUNIPER ST                       OSHAWA ON                              L1G 3E1 CANADA
LEONARD P CANADY                                13692 FELLRATH                                                                                TAYLOR           MI    48180‐4477
LEONARD P COHEN                                 13 SNOWDRIFT CT                                                                               EL SOBRANTE      CA    94803‐2622
LEONARD P ENGEL                                 1404 MALZAHN                                                                                  SAGINAW          MI    48602‐2975
LEONARD P FISHER                                5224 ELKO ST                                                                                  FLINT            MI    48532‐4134
LEONARD P JORDAN                                2244 LAKE ROAD                                                                                AURORA           NY    13026‐8708
LEONARD P MCKOSKY & DOLORES D MCKOSKY JT TEN    141 EAGLE POINT DRIVE                                                                         ROSSFORD         OH    43460‐1040

LEONARD P PIETTE II                             391 CARLETON ROCKWOOD RD                                                                      CARLETON         MI    48117‐9739
LEONARD P RADTKE                                22281 RAVEN                                                                                   EAST DETROIT     MI    48021‐2645
LEONARD P STANLEY SR                            9445 STRATHMORE LANE                                                                          RIVERSIDE        CA    92509‐0941
LEONARD P THOMAS                                204 PANSTONE DRIVE                                                                            PEACHTREE CITY   GA    30269‐1247
LEONARD P WILSON                                PO BOX 2404                                                                                   JONESBORO        GA    30237‐2404
LEONARD PADVEEN                                 5565 RANDALL AVE                     SAINT LUKE QC                          H4V 2V9 CANADA
LEONARD PISZCZEK & HELEN PISZCZEK JT TEN        27821 SYLVAN AVE                                                                              WARREN           MI    48093‐8225
LEONARD POKORNY                                 15163 WATERFORD DR                                                                            N ROYALTON       OH    44133‐5978
LEONARD POPPEL                                  17955 BUCHANAN ST                                                                             LOWELL           IN    46356‐9344
LEONARD POVRZENICH                              458 FINLEY ROAD                                                                               BELLE VERNON     PA    15012‐3801
LEONARD POZZELANTI                              1134 CLINTON TERRACE                                                                          S PLAINFIELD     NJ    07080‐1624
LEONARD PROTOKOWICZ                             18 HEMLOCK DR                                                                                 PARLIN           NJ    08859‐1118
LEONARD PRUSH                                   607 CORA                                                                                      WYANOTTE         MI    48192‐2641
LEONARD PRZYWARA                                PO BOX 1332                                                                                   WILKES BARRE     PA    18703‐1332
LEONARD R ADDENBROOKE                           2790 WEST CREEK ROAD                                                                          NEWFANE          NY    14108‐9753
LEONARD R BARTOLETTI & DOROTHY ANN BARTOLETTI   332 ARCH ST APT B                                                                             VERONA           PA    15147
JT TEN
LEONARD R BATIUK                                73 WILEY PL                                                                                   BUFFALO          NY    14207
LEONARD R BERSON                                8 BUDNER LANE                                                                                 WESTPORT         CT    06880‐5201
LEONARD R BRYANT                                8035 MILAN AVENUE                                                                             SAINT LOUIS      MO    63130‐1241
LEONARD R ELKINS                                G7144 N CENTER RD                                                                             MOUNT MORRIS     MI    48458
LEONARD R FULCHER                               4150 SMITHVILLE RD                                                                            EATON RAPIDS     MI    48827‐9704
LEONARD R GRZEDA & FRANCES M GRZEDA JT TEN      1248 CAMELOT LN                                                                               LEMONT           IL    60439‐8505
LEONARD R HALSTEAD                              3166 COVENTRY DR                                                                              BAY CITY         MI    48706‐9226
LEONARD R HANKINS                               38119 WESTVALE                                                                                ROMULUS          MI    48174‐4728
LEONARD R HOSTETTER JR                          1931 KATZ PL                                                                                  COLLIERVILLE     TN    38017‐0868
LEONARD R MILLER                                3227 CHANSON VALLEY ST                                                                        LAMBERTVILLE     MI    48144‐9760
LEONARD R MORIN                                 304 2ND ST                                                                                    OSCODA           MI    48750‐1133
LEONARD R MORRIS                                47 HARVEY CIRCLEDR 5‐A                                                                        E BRUNSWICK      NJ    08816
LEONARD R PARKER                                BOX 12                                                                                        WACO             GA    30182‐0012
LEONARD R PIWOWAR                               32520 JAMES                                                                                   GARDEN CITY      MI    48135‐1614
LEONARD R PORTER                                433 EARL RD                                                                                   MITCHELL         IN    47446‐5918
LEONARD R PROFFITT                              6033 N 200 E                                                                                  HUNTINGTON       IN    46750‐8316
LEONARD R RAUBUNAS & ELEANOR M RAUBUNAS JT      797 BRITTANY PARK BLVD                                                                        TARPON SPRINGS   FL    34689‐5740
TEN
LEONARD R RETTIG                                12 TECOLOTE CIR                                                                               SANTA FE         NM    87506‐0183
LEONARD R SABATINI                              3 FRUITHILL DR                                                                                CHILLICOTHE      OH    45601‐1131
LEONARD R SADRO JR                              2081 SOULE RD                                                                                 UBLY             MI    48475‐8723
LEONARD R SANDERS                               10740 JUDD RD                                                                                 WILLIS           MI    48191‐9760
LEONARD R SEPHERS                               6045 PINEWOOD DRIVE                                                                           HOLLY            MI    48442‐8808
LEONARD R SOUCY                                 38 SBONA RD                                                                                   BERLIN           CT    06037‐2739
LEONARD R SPARKS                                5364 N HENDERSON RD                                                                           DAVISON          MI    48423‐8402
LEONARD R STROJNY                               65 POST AVE                                                                                   HILTON           NY    14468‐8977
LEONARD R SZCZYGIELSKI                          186 SANTIN DR                                                                                 CHEEKTOWAGA      NY    14225‐3859
LEONARD R TREVORROW                             2202 STARKWEATHER                                                                             FLINT            MI    48506‐4720
LEONARD R WASIELEWSKI                           38 HARRIS ST                                                                                  WEBSTER          MA    01570‐2706
LEONARD R WILLIAMS                              1021 PRICE RD                                                                                 BUFORD           GA    30518‐4729
LEONARD RAMEY JR                                PO BOX 451                                                                                    GREENVILLE       OH    45331‐0451
                                          09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 762 of 855
Name                                            Address1                              Address2             Address3          Address4          City               State Zip

LEONARD RAPOZA & HELEN RAPOZA JT TEN            27 BRITTON AVE                                                                                 STOUGHTON          MA    02072‐2577
LEONARD REGGIANI & CAROL REGGIANI JT TEN        52 WINTHROP ST                                                                                 KINGSTON           MA    02364‐1218
LEONARD REVINSKI                                327 W 5TH ST                                                                                   MOUNT CARMEL       PA    17851‐1903
LEONARD RICHARD                                 100 MARYVIEW PARKWAY                                                                           MATTESON           IL    60443
LEONARD RIZZUTI & JESSIE RIZZUTI JT TEN         1976 SCARPELLI                                                                                 WALLA WALLA        WA    99362‐4534
LEONARD RODRIGUEZ                               9519 DOROTHY AVE                                                                               SOUTH GATE         CA    90280‐5107
LEONARD RUBIN & DEBRA ELLEN RUBIN JT TEN        22 ORANGE DR                                                                                   JERICHO            NY    11753‐1530
LEONARD RUCHELMAN & MRS DIANA RUCHELMAN JT      533 HEATHER DR                                                                                 VIRGINIA BEACH     VA    23462‐4568
TEN
LEONARD S ARAKI                                 168 SAN MILANO                                                                                 GOLETA             CA    93117‐1205
LEONARD S BERENT & JANET L BERENT JT TEN        2400 E BASELINE AVE #102                                                                       APACHE JUNCTION    AZ    85219‐5709

LEONARD S ERAZMUS & MRS GLORIA ERAZMUS JT TEN   9201 S 50TH AVE                                                                                OAK LAWN           IL    60453‐1711

LEONARD S FAIRBANKS                          W186 S7756 LINCOLN DRIVE                                                                          MUSKEGO            WI    53150‐9216
LEONARD S HELGERSON                          545 WILLIAMS                                                                                      JANESVILLE         WI    53545‐2453
LEONARD S LINDNER                            7548 VALERIE LN                                                                                   HUDSON             OH    44236‐1842
LEONARD S MILEWSKI                           16493 CLUB DR                                                                                     SOUTHGATE          MI    48195‐6503
LEONARD S OSTROWSKI                          16 JOYCE ST                                                                                       WEBSTER            MA    01570‐2708
LEONARD S PAUL                               8906 CAPTAINS ROW                                                                                 ALEXANDRIA         VA    22308
LEONARD S PIETRZYK                           84 ISENHAUER RD                                                                                   GRAYLING           MI    49738‐8628
LEONARD S SILVERMAN                          200 E 78TH ST APT 5C                                                                              NEW YORK           NY    10021
LEONARD S URICEK                             4496 NEWBURG RD                                                                                   BANCROFT           MI    48414‐9798
LEONARD S WRZESINSKI                         1534 PALM CT CEDARWOOD COVE                                                                       PASADENA           MD    21122‐4850
LEONARD SAGEN                                7328 JORDON RD                                                                                    YALE               MI    48097‐3701
LEONARD SAMMARTANO & NICOLINA SAMMARTANO JT 10904 CHAUCER DR                                                                                   WILLOW SPRINGS     IL    60480
TEN
LEONARD SCHNITZLER                           3619 AVENUE I                                                                                     BROOKLYN           NY    11210‐4329
LEONARD SCHWARTZ                             19 PELLINORE LANE                                                                                 BERKELEY HTS       NJ    07922
LEONARD SCHWARTZ                             74 LAKE RD                                                                                        RYE                NY    10580‐1021
LEONARD SCHWARTZ & MRS CAROL SCHWARTZ JT TEN 1740 BROADWAY                                                                                     NEW YORK           NY    10019‐4315

LEONARD SHANER                                  3732 LANCASTER DRIVE                                                                           STERLING HEIGHTS   MI    48310‐4405

LEONARD SHERMAN & MRS LINDA RAE SHERMAN JT   1620 ANITA PL NE                                                                                  ATLANTA            GA    30306‐2204
TEN
LEONARD SICURELLA                            91 ANDREW LANE                                                                                    BRICK              NJ    08724
LEONARD SINGH                                26 RUMBROOK RD                                                                                    ELMSFORD           NY    10523
LEONARD SKLAIR                               PO BOX 70 268 ROUTE                      # 537 WEST                                               COLTS NECK         NJ    07722‐0070
LEONARD SKORA                                PO BOX 6074‐15                                                                                    CHICAGO            IL    60660‐7415
LEONARD SOKOLOWSKI & MRS CHARLENE SOKOLOWSKI 1627 S NICOLLET                                                                                   SIOUX CITY         IA    51106‐2555
JT TEN
LEONARD STEPHENS                             349 S MILLER RD                                                                                   AKRON              OH    44333‐4118
LEONARD STERN & MILDRED STERN JT TEN         12853 CAMIMO DE LA BRECCIA                                                                        SAN DIEGO          CA    92128
LEONARD STERN & MRS CECILE STERN JT TEN      156 STULTS LN                                                                                     E BRUNSWICK        NJ    08816
LEONARD STEVENSON                            902 WICKLOW RD                                                                                    BALTIMORE          MD    21229‐1631
LEONARD STUART FRIEDMAN                      152 ALICIA DR                                                                                     NORTH BABYLON      NY    11703‐4042
LEONARD SUMNER                               34306 PARKDALE CT                                                                                 LIVONIA            MI    48150‐2694
LEONARD SWEARENGIN                           C/O RUTH SWEARENGIN                      2611 E BELMONT                                           SPRINGFIELD        MO    65802‐2705
LEONARD T DEEGAN                             901 ORCHARD PARK RD                                                                               BUFFALO            NY    14224‐3348
LEONARD T EVANS                              5105 E WOHLERS AVE                                                                                LKSID MARBLHD      OH    43440‐9450
LEONARD T KLINERT                            7400 TROUT AVE                                                                                    GLADWIN            MI    48624‐8822
LEONARD T LABADIE                            17554 CLARK                                                                                       RIVERVIEW          MI    48192‐4221
LEONARD T MARTZ                              6823 WEST 112TH STREET                                                                            WORTH              IL    60482‐2005
LEONARD T MOTZKI & MADELINE L MOTZKI JT TEN  207 HILLTOP DR                                                                                    WEST WYOMING       PA    18644‐1207
LEONARD T PORTER SR                          1349 MILLVALE CT                                                                                  LAWRENCEVILLE      GA    30044‐6237
LEONARD T RIDILLA                            801 EAST 258TH ST                                                                                 EUCLID             OH    44132‐2503
LEONARD T SKALA                              10881 SCHWAB DR                                                                                   PARMA              OH    44130
LEONARD T SPOONER                            12865 STATE RD                                                                                    LESLIE             MI    49251‐9622
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 763 of 855
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

LEONARD T SPOONER JR                            PO BOX 162                                                                                     LESLIE          MI    49251‐0162
LEONARD T TONER                                 397 JONES RD                                                                                   PULASKI         TN    38478‐7537
LEONARD T WILLIAMS                              7008 LINCOLN RD                                                                                BEULAH          MI    49617‐9712
LEONARD T WOJTOWICZ                             11706 PRESLEY CIRCLE                                                                           PLAINFIELD      IL    60585‐2237
LEONARD TASSLER                                 35 ANDOVER RD                                                                                  HARTSDALE       NY    10530‐2023
LEONARD TOM                                     33 ADELE AVE                                                                                   UNIONTOWN       PA    15401‐4556
LEONARD TORRES JR                               2531 STATE ST #B                                                                               SAN DIEGO       CA    92101‐1361
LEONARD TREVORROW & MRS ESPER TREVORROW JT      1305 MAPLEWOOD AVE                                                                             FLINT           MI    48506‐3761
TEN
LEONARD TRUMBLE                                 13335 DEMPSEY RD ROUTE #1                                                                      ST CHARLES       MI   48655‐9700
LEONARD URBAN                                   4956 MONROE                                                                                    DEARBORN HEIGHTS MI   48125‐2525

LEONARD V BERGAN                                18716 E WHITE WING DR                                                                          RIO VERDE       AZ    85263‐8109
LEONARD V BIRCHMEIER                            2229 S NICHOLS ROAD                                                                            LENNON          MI    48449‐9321
LEONARD V EVANS                                 ATTN BENJAMIN F EVANS                 97 PALM ST                                               NEWARK          NJ    07106‐1117
LEONARD V HANSOME                               844 OSMOND AVE                                                                                 DAYTON          OH    45407‐1239
LEONARD V MARR                                  316 WOODBINE ST                                                                                HOPEWELL        VA    23860‐2142
LEONARD V MULLINS                               23931 ADA                                                                                      WARREN          MI    48091‐1872
LEONARD V ZIEMLEWICZ                            24634 PETERSBURG                                                                               EAST POINT      MI    48021‐1485
LEONARD VALENTE & DOLORES M VALENTE JT TEN      37935 DONALD                                                                                   LIVONIA         MI    48154‐4956
LEONARD VALENTI                                 6100 PLEASANT VALLEY RD APT 11                                                                 EL DORADO       CA    95623‐4242
LEONARD VANASSE                                 16319 SW GEMSTONE CT                                                                           BEAVERTON       OR    97007‐9364
LEONARD VANBEVER                                197 RAY AVE                                                                                    WOONSOCKET      RI    02895‐4955
LEONARD VAUGHN JR                               1379 CRAWFORD‐TOM S RUN RD                                                                     NEW LEBANON     OH    45345‐9712
LEONARD VILLALPANDO                             12453 BURTLEY                                                                                  STERLING HGTS   MI    48313‐1809
LEONARD VISSER                                  2336 GOLDEN ST SW                                                                              WYOMING         MI    49519‐3232
LEONARD W BARFKNECHT JR                         11452 LEMMA CREEK RD                                                                           WOODRUFF        WI    54568‐9209
LEONARD W BARRY                                 1208 ELDERON DR                                                                                WILM            DE    19808‐1910
LEONARD W BEAM                                  1397 WHITE OAK DR                                                                              LAPEER          MI    48446‐8707
LEONARD W CAHOON JR                             4188 MOHAWK TRL                                                                                ADRIAN          MI    49221‐9329
LEONARD W CLARKSON                              5968 PARK LAKE RD                     APT 336                                                  EAST LANSING    MI    48823‐9207
LEONARD W COOKE                                 1465 FIELDSTONE CT                                                                             ANN ARBOR       MI    48108‐9771
LEONARD W DALTON                                3817 SPRING HILL AVE                                                                           INKSTER         MI    48141‐2137
LEONARD W DUNLOP                                2715 MCHENRY AVE                                                                               NAPERVILLE      IL    60563‐4221
LEONARD W FIELDS                                1910 WELLESLEY BLVD                   APT 302                                                  INDIANAPOLIS    IN    46219‐8433
LEONARD W GOOD                                  3325 EASTGATE                                                                                  BURTON          MI    48519‐1556
LEONARD W GRAHAM                                9332 MORRISH ROAD                                                                              SWARTZ CREEK    MI    48473‐9126
LEONARD W HART                                  1045 BELLEPERCHE PLACE                WINDSOR ON                             N8S 3C2 CANADA
LEONARD W HOLDREN                               9400 STILLHOUSE                                                                                OAK GROVE       MO    64075‐8253
LEONARD W JACKSON & JEANNE B JACKSON JT TEN     5 SEABREEZE AVE                                                                                FAIRHAVEN       MA    02719‐1027

LEONARD W JOHNSON                               5928 WINDCLIFF TRAIL                                                                           FLINT           MI    48506‐1303
LEONARD W JOHNSON TR UA 05/01/1997 LEONARD W    2816 ST JAMES RD                                                                               BELMONT         CA    94002
JOHNSON TRUST
LEONARD W JOHNSTON & SUSAN D JOHNSTON JT TEN    11522 SEDGEMOORE S                                                                             JACKSONVILLE    FL    32223‐1369

LEONARD W KAM                                   15 ELLEN COURT                                                                                 ORINDA          CA    94563‐1933
LEONARD W KERR                                  541 CO RT 39                                                                                   MASSENA         NY    13662‐3458
LEONARD W MUELLER                               5215 SOLEDAD MOUNTAIN RD                                                                       SAN DIEGO       CA    92109
LEONARD W MUSCELLI                              377 FOULKE LANE                                                                                SPRINGFIELD     PA    19064‐1108
LEONARD W PASTORE                               1308 85TH ST                                                                                   NORTH BERGEN    NJ    07047‐4341
LEONARD W PERITZ & SALLY A PERITZ JT TEN        1680 HILLOCK LANE                                                                              YORK            PA    17403‐4072
LEONARD W PERRY                                 130 WILDFLOWER DR                                                                              ROCHESTER       NY    14623‐4328
LEONARD W WESCHE                                C/O MANOR HILLS                       4192B BOLIVAR ROAD                                       WELLSVILLE      NY    14895
LEONARD W WIGGINS                               20133 LAUDER ST                                                                                DETROIT         MI    48235‐1660
LEONARD W WILLOUGHBY                            700 W VINEYARD                                                                                 ANDERSON        IN    46011‐3422
LEONARD WAKEFIELD JR                            221 COTTAGE STREET                                                                             HOT SPRINGS     AR    71901‐4126
LEONARD WALDEN                                  6120 JOHNSON RD                                                                                CINCINNATI      OH    45247‐7827
LEONARD WEISS & MRS AUDREY WEISS JT TEN         51 OAK BEND RD                                                                                 WEST ORANGE     NJ    07052‐4962
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit E
                                                                                          Part 4 of 8 Pg 764 of 855
Name                                               Address1                                Address2                     Address3              Address4          City            State Zip

LEONARD WESLEY AYRES                          605 GRAMONT AVE                                                                                                   DAYTON          OH    45407‐1440
LEONARD WILEY JR                              6427 CLEVELAND HWY                                                                                                CLERMONT        GA    30527‐1605
LEONARD WILLIAM GUMINSKI                      C/O C. GAJEWSKI                              4600 MAIN ST STE 101                                                 AMHERST         NY    14226
LEONARD WOOD                                  19 DAN‐TROY LANE                                                                                                  WILLIAMSVILLE   NY    14221‐3551
LEONARD ZACCAGNINO                            5125 LEXOR LANE                                                                                                   CLARENCE        NY    14031
LEONARDA M BURROUGHS                          641 PECK RD                                                                                                       HILTON          NY    14468‐9344
LEONARDO DI CARLO                             226 PATTON PLACE                                                                                                  BUFFALO         NY    14221‐3774
LEONARDO G MONSERRAT & ADA B MONSERRAT JT TEN 3400 SW 128TH AVENUE                                                                                              MIAMI           FL    33175‐2716

LEONARDO G POTTS                                   4103 WALBRIDGE PL                                                                                            SAINT LOUIS     MO    63115‐1731
LEONARDO O ROMO                                    PO BOX 455                                                                                                   SPRING HILL     TN    37174‐0455
LEONARDO ORONA JR                                  1023 COUNTY ROAD 3351                                                                                        KEMPNER         TX    76539‐5940
LEONARDO PEGNA                                     9 CARRIE PLACE                                                                                               EASTCHESTER     NY    10709‐1215
LEONARDO PINO                                      247 LUDDINGTON LA                                                                                            ROCHESTER       NY    14612‐3340
LEONARDO POLIDANO                                  83 ST BENEDICT STREET                   KIRKOP ZRQ 10                                      MALTA
LEONARDO ROSALES                                   AVE MORELOS 21                          COL BOSQUE DE LOS REMEDIOS   MAUCOLPON ESTADO DE   MEXICO
LEONAS JURAITIS                                    15242 NARCISSUS COURT                                                                                        ORLAND PARK     IL    60462‐4219
LEONDIUS F RATLIFF                                 2209 WESTLAWN DRIVE                                                                                          KETTERING       OH    45440‐2033
LEONE A KREILING TR UA 06/25/87 LIVING TRUST FOR   6340 MARSHALL RD                                                                                             DEXTER          MI    48130‐9430
LEONE A KREILING
LEONE D GALERNEAU                                  4424 KULLARNEY PK DR                                                                                         BURTON          MI    48529‐1823
LEONE E ROUSE                                      2084 FRANK CT                                                                                                MILPITAS        CA    95035‐6105
LEONE F MEYER                                      250 PARKWOOD AVE                                                                                             BUFFALO         NY    14217‐2833
LEONE H WEBER TR LEONE H WEBER LIVING TRUST UA     910 HOPKINS AVE                                                                                              MT PLEASANT     MI    48858‐3331
01/27/97
LEONE L CHEPULIS                                   7736 W KATHRYN AVE                                                                                           MILWAUKEE       WI    53218‐3722
LEONE L HOLLAND                                    716 E SCOTT ST                                                                                               GRAND LEDGE     MI    48837‐2049
LEONE M SMITH                                      R 1 EAST LAKE DRIVE                                                                                          HOPKINS         MI    49328‐9801
LEONE ZAJDEL & DIANE STOREY JT TEN                 2614 S SHORE DR                                                                                              MILWAUKEE       WI    53207‐2322
LEONEL C VIELMA                                    120 SUNNY DALE                                                                                               LEWISVILLE      TX    75067‐5233
LEONEL FEBRES                                      8926 BRANDON DR                                                                                              SHREVEPORT      LA    71118‐2327
LEONEL GAMEZ                                       1405 MCKINLEY ST APT 6                                                                                       SANDUSKY        OH    44870
LEONEL ITURRALDE                                   5520 NW 180TH TERRACE                                                                                        MIAMI           FL    33055‐3164
LEONEL LAGUNES                                     5108 POSTWOOD DR                                                                                             KELLER          TX    76248‐7732
LEONEL REYES                                       1034 CLOWER                                                                                                  SAN ANTONIO     TX    78201‐3047
LEONEL REYES & MRS JANE REYES JT TEN               1034 CLOWER ST                                                                                               SAN ANTONIO     TX    78201‐3047
LEONICIO SANCHEZ                                   33 MATHEWS                                                                                                   PONTIAC         MI    48342‐2038
LEONID SHASHLO                                     6336 ATKINS ROAD                                                                                             TROY            MI    48098‐1443
LEONIDAS ALTENO                                    19316 FRANK CT                                                                                               WOODSTOCK       IL    60098‐9139
LEONIDAS TSAMBARLIS                                392 PORTER AVE                                                                                               CAMPBELL        OH    44405‐1444
LEONIE E MILLER                                    BOX 266                                                                                                      SALISBURY       CT    06068‐0266
LEONIE HENRY                                       3973 BLUEBERRY RD                                                                                            CURRIE          NC    28435‐5872
LEONIE LOZIER                                      500 STAFFORD AV                         APT 9C                                                               BRISTOL         CT    06010‐4627
LEONINA ADRIATICO                                  2920 MICHIGAN AVE                                                                                            NIAGARA FALLS   NY    14305‐3304
LEONINA M FAIOLA                                   2920 MICHIGAN AVE                                                                                            NIAGARA FALLS   NY    14305‐3304
LEONNIE CAILLOUET & THOMAS CAILLOUET JT TEN        10422 S CHURCH STREET                                                                                        CHICAGO         IL    60643‐2941

LEONOBELLE ROOME & MARK A ROOME JT TEN             ROSE HAVEN MANOR                        3900 HAMMERBERG ROAD         APT 103                                 FLINT           MI    48507‐6023
LEONORA BRYANT                                     PO BOX 3313                                                                                                  SLIDELL         LA    70459‐3313
LEONORA COOPER CUST CINDY J COOPER UGMA NY         109 LEEDS LANE                                                                                               JAMESBURG       NJ    08831‐2619

LEONORA D PETRYSHYN TR UA 10/14/93 LEONORA D       37 KENMORE LN                                                                                                ROCHESTER       NY    14617‐2501
PETRYSHYN TRUST
LEONORA D THOMPSON                                 15737 KENTUCKEY ST                                                                                           DETROIT         MI    48238‐1127
LEONORA DOROBA                                     128 DENOW RD                                                                                                 LAWRENCEVILLE   NJ    08648‐1504
LEONORA F SCHWARZ                                  9 SMITH HILL RDT                                                                                             COLUMBIA        MS    39429
LEONORA GRAB & ANNETTE M GRAB JT TEN               32433 CAMBRIDGE DR                                                                                           WARREN          MI    48093‐6108
LEONORA MARY ROTH                                  4815 FALSTONE AVE                                                                                            CHEVY CHASE     MD    20815‐5541
LEONORA N LABRADOR                                 5625 HEARTWOOD DR                                                                                            BARTLETT        TN    38135‐1011
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 765 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

LEONORA PENA MADLANGSAKAY                         3660 TAFFRAIL LANE                                                                            OXNARD          CA    93035‐1690
LEONORA T STALMAN                                 29517 WOLF RD                                                                                 BAY VILLAGE     OH    44140‐1861
LEONORA VARGA                                     9 ELIZABETH ST                                                                                BLOOMINGDALE    NJ    07403‐1124
LEONORE A VOSS                                    1008 CLAY LN                                                                                  KOKOMO          IN    46901‐3950
LEONORE B YELLE                                   187 HOUSEMAN ST                                                                               MAYFIELD        NY    12117‐3946
LEONORE F ULITSCH                                 15 COOLIDGE ST                                                                                NEWINGTON       CT    06111‐2302
LEONORE J GOODEILL TOD LEONARD J PANIAN SUBJECT   12006 SUN FOREST DR                                                                           LA PINE         OR    97739‐9221
TO STA TOD RULES
LEONORE RHOADS                                    6338 FRANCONIA COMMONS DR                                                                     ALEXANDRIA      VA    22310‐2568
LEONTIN T BUZAS                                   6793 WESTAWAY                                                                                 TROY            MI    48098‐1508
LEONTINE MARGO TIPTON                             4338 N JENNINGS RD                                                                            FLINT           MI    48504‐1306
LEOPAL BROWN                                      735 MUD GREEN RD                                                                              TEMPLE          GA    30179‐2364
LEOPHAS SMITH                                     1933 LITCHFIELD AVE                                                                           DAYTON          OH    45406‐3811
LEOPHUS GUNN                                      15708 ROBSON                                                                                  DETROIT         MI    48227‐2641
LEOPOLD B JAMES                                   4918 TENSHAW DR                                                                               DAYTON          OH    45418‐1934
LEOPOLD B WILLIAMS                                2315 JESSUP ST                                                                                WILMINGTON      DE    19802‐4345
LEOPOLD BERNARD JAMES                             4918 TENSHAW DR                                                                               DAYTON          OH    45418‐1934
LEOPOLD FLAKS                                     PO BOX 1085                                                                                   DOWNEY          CA    90240‐0085
LEOPOLD H SOTO                                    3896 ETTMAN RD                                                                                SHRUB OAK       NY    10588‐1010
LEOPOLD J GAVRYL                                  3281 HEATHLAND WAY                                                                            MT PLEASANT     SC    29466‐8984
LEOPOLD J LAMPARTY                                28701 HARTLEY RD                                                                              SALEM           OH    44460‐9728
LEOPOLD J SZUBROWSKI                              ATTN STEFFIE B SZUBROWKI             6 WINEBERG PL                                            TRENTON         NJ    08638‐3963
LEOPOLD JOHANN LACHNIK                            MAX PLANEK‐STR 5                     NAUHEIM                                D‐64569 GERMANY
LEOPOLD KOPPEL & LORE B KOPPEL JT TEN             PO BOX 390                                                                                    FORT PLAIN      NY    13339‐0390
LEOPOLD KREN                                      63 S EDGEHILL DR                                                                              YOUNGSTOWN      OH    44515‐3231
LEOPOLD KUREK                                     3 HILLSIDE AVE                                                                                CLARK           NJ    07066‐1926
LEOPOLD P DEFUSCO                                 35 CATHERINE ST                                                                               TRUMBULL        CT    06611‐2403
LEOPOLD V BROWN                                   120‐36 234TH ST                                                                               CAMBRIA HEIGH   NY    11411‐2318
LEOPOLDINE V JANOWSKI                             39 CAROLINE AVE                                                                               TRENTON         NJ    08610‐6531
LEOPOLDO CONTRERAS                                10138 W COLTER STREET                                                                         GLENDALE        AZ    85307‐4139
LEOPOLDO HERRERA                                  2701 N CENTRAL PARK                                                                           CHICAGO         IL    60647‐1123
LEOPOLDO M CORTEZ                                 BOX 25                               148 S GUNNELL RD                                         EATON RAPIDS    MI    48827‐9355
LEORA G HARRIS                                    7327 SPRAGUE ST                                                                               ANDERSON        IN    46013‐3940
LEORA GAYLE HARPINE                               12337 GAYTON BLUFFS LANE                                                                      RICHMOND        VA    23233‐6629
LEORA J MUTERSPAW & WILLIAM R MUTERSPAW TEN       3477 SHAKERTOWN RD                                                                            DAYTON          OH    45430‐1421
COM
LEORA JANE SCHULMAN                               PO BOX 4777                                                                                   CLEARWATER      FL    33758‐4777
LEORA L JOHNSON                                   ATTN LEORA L WHITE                   3486 BALCOM ROAD                                         OVID            MI    48866‐9513
LEORA LESEFSKE & MRS NARDENA SULLIVAN JT TEN      LEORA ROGERS                         PO BOX 167                                               GOWANDA         NY    14070‐0167

LEOTA B GILMAN                                    526 SOUTH 78TH ST                                                                             KANSAS CITY     KS    66111‐2637
LEOTA D FLORA                                     8152 PREBLE COUNTY LINE RD                                                                    BROOKVILLE      OH    45309‐9742
LEOTA F RANDALL                                   1884 STAFFORD SPRINGS BLVD                                                                    MT DORA         FL    32757‐6912
LEOTA H FRANKS                                    422 CHERRY AVE                                                                                NILES           OH    44446‐2522
LEOTA J MARTIN                                    4429 HOMER ROAD                                                                               JACKSONVILLE    FL    32209‐1507
LEOTA M SMITH                                     7800 WOODLAND MEADOWS                                                                         POPLAR BLUFF    MO    63901‐9238
LEOTA M WHALEN & KAREN A SMITH & KATHERINE L      44125 S SERVICE DR                                                                            BELLVILLE       MI    48111
WHALEN JT TEN
LEOTA OPAL SNEED                                  C/O LEOTA O DENNIGMANN               2401 RANDOLPH ST                                         ST CHARLES      MO    63301‐0850
LEOTA S HART & JAMES C HART JT TEN                3574 BALDWIN RD                                                                               METAMORA        MI    48455‐8908
LEOTIS J HILL                                     4621 ROOSEVELT                                                                                DETROIT         MI    48208‐1897
LEOTIS KIRBY CUST DEVIN KIRBY UNDER THE MO        BOX 54                                                                                        DONIPHAN        MO    63935‐0054
TRANSFERS TO MINORS LAW
LEPOSAI FILIPOVSKA                                48486 MANHATTAN CIRCLE                                                                        CANTON          MI    48188‐1495
LEQUETTA K KENNEDY                                1721 S MARKET ST                                                                              KOKOMO          IN    46902‐2234
LERA D WHITTEMORE                                 13813 MONTEREY                                                                                SOUTHGATE       MI    48195‐3003
LERA MARTIN & CONNIE SUE ROBINSON JT TEN          4505 FIFTH ST                                                                                 ECORSE          MI    48229‐1043
LERA TOWNSEND                                     799 SOUTH EAST 43RD AVE                                                                       TRENTON         FL    32693‐5010
LERAE R MAINVILLE                                 4436 BOWERS RD                                                                                ATTICA          MI    48412
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 766 of 855
Name                                               Address1                               Address2             Address3          Address4          City            State Zip

LERICK CHISSUS                                     14107 ADDINGTON DRIVE                                                                           COMMERCE        MI    48390
                                                                                                                                                   TOWNSHIP
LERICK R CHISSUS                                   46 GRAND AVE                                                                                    MOUNT CLEMENS   MI    48043‐5531
LERLEAN CAMPBELL                                   2110 BARBARA DR                                                                                 FLINT           MI    48504‐1692
LEROSA WYNN                                        6 CRANBERRY DR                                                                                  TINTON FALL     NJ    07753‐7844
LEROY A ADNEY & MARGARET A ADNEY JT TEN            410 OLD DOMINION AVE                                                                            HERNDON         VA    20170
LEROY A BREIT                                      6301 S PRICETOWN RD                                                                             BERLIN CENTER   OH    44401‐8703
LEROY A HARMON                                     1217 HIGH VALLEY LN                                                                             BELLEVILLE      IL    62221‐8629
LEROY A HOLTZ                                      4572 SOUTH 61ST STREET                                                                          GREENFIELD      WI    53220‐3901
LEROY A KENNEY                                     1591 HANCOCK DR                                                                                 URBANA          IL    61802‐7550
LEROY A MINTO & THOMAS A MINTO JT TEN              48 BONNIE BRAE                                                                                  LUPTON          MI    48635‐9772
LEROY A MISENAR                                    120 LANDING CT                                                                                  BESSEMER CITY   NC    28016‐6723
LEROY A SCHINDLER                                  893 S JOHNSVILLE ROAD                                                                           NEW LEBANON     OH    45345‐9107
LEROY A SUMMERS                                    825 KENT                                                                                        PORTLAND        MI    48875‐1742
LEROY A SWANSON                                    199 KNOLLWOOD DR                                                                                STEGER          IL    60475‐1569
LEROY A THOMPSON                                   31 ADELISIA AVE                                                                                 GIBBSTOWN       NJ    08027‐1301
LEROY A TUAL & MARTHA J TUAL JT TEN                1933 SE 36TH ST                                                                                 CAPE CORAL      FL    33904‐4457
LEROY A WICKSTROM                                  15774 W ARROWHEAD DR                                                                            SURPRISE        AZ    85374‐5633
LEROY ALLEN                                        15742 LAUDER                                                                                    DETROIT         MI    48227‐2631
LEROY ANDERSON                                     1012 SALEM CHURCH RD 2                                                                          CLIMAX          GA    39834‐2422
LEROY ARNETT                                       HC 61 BOX #172                                                                                  SALYERSVILLE    KY    41465‐9162
LEROY B DAVIS                                      14128 PARK DRIVE                                                                                BROOKPARK       OH    44142‐3945
LEROY B JACOBS SR & MRS FRANCES J JACOBS JT TEN    2375 CHULAHOMA TRAIL                                                                            LONDON          OH    43140‐8744

LEROY B LAUDENSLAGER                               PO BOX 4                                                                                        LAKELAND        MI    48143‐0004
LEROY B MONTGOMERY                                 4334 E SR 28                                                                                    ALEXANDRIA      IN    46001‐8996
LEROY B PENOYER                                    2392 BLARNEY DRIVE                                                                              DAVISON         MI    48423‐9503
LEROY B TOPPMEYER                                  9317 TUTWILER                                                                                   ST LOUIS        MO    63134‐3527
LEROY B WALKER                                     ROUTE 2 BOX 180‐C                                                                               KIRBYVILLE      TX    75956
LEROY BANKS                                        11611 TUSCORA AVE                                                                               CLEVELAND       OH    44108‐3155
LEROY BANKSTON                                     1110 PINGREE                                                                                    FLINT           MI    48503‐4250
LEROY BASHFORD                                     2310 CUMBERLAND RD                                                                              LANSING         MI    48906‐3723
LEROY BELL                                         4585 GREENLEAF CIR SW                                                                           ATLANTA         GA    30331‐7119
LEROY BERRY JR                                     1860 NEWARK SOUTHEAST                                                                           GRAND RAPIDS    MI    49507‐2870
LEROY BLANNON                                      3501 SECTION RD                        APT 203                                                  CINCINNATI      OH    45237‐2419
LEROY BROWN                                        238 MURDEAUX LANE                                                                               DALLAS          TX    75217‐6660
LEROY BROWN                                        12851 RIVERVIEW ST                                                                              DETROIT         MI    48223‐3021
LEROY BROWN                                        1471 MONTVIEW RD                                                                                LENOIR CITY     TN    37771‐7507
LEROY BURRELL JR                                   12320 ROSEMARY                                                                                  DETROIT         MI    48213‐1476
LEROY BURTNER & MRS SANDRA M BURTNER JT TEN        1201 HAMILTON BLVD                                                                              HAGERSTOWN      MD    21742‐3340

LEROY C BENAVIDEZ                                  PO BOX 9570                                                                                     EL PASO         TX    79995‐9570
LEROY C DAVIS                                      103 BREWSTER DRIVE                                                                              NEWARK          DE    19711‐6635
LEROY C GARRETT JR & DEBORAH S GARRETT JT TEN      7408 WINDING CREEK LN                                                                           CHESTERFIELD    VA    23832‐7788

LEROY C GRISWOLD                                   5544 PIERSONVILLE RD                                                                            COLUMBIAVILLE   MI    48421‐9388
LEROY C HUNTER & MARGY R HUNTER JT TEN             521 CALIFORNIA AVE NE                                                                           PALM BAY        FL    32907‐2632
LEROY C KNIGHT                                     533 CONNELS DRIVE                                                                               BEAR            DE    19701‐2239
LEROY C LOCHARY                                    619 PONDEROSA DRIVE                                                                             BELAIRE         MD    21014‐5218
LEROY C LYONS                                      04637 COUNTY RD 1575‐60                                                                         BRYAN           OH    43506‐9325
LEROY C MCLAUGHLIN                                 949 COVE RD                                                                                     RUTHERFORDTON   NC    28139‐7549
LEROY C MORGAN                                     1204 TENNESSEE AVE                                                                              MUNCIE          IN    47302‐3838
LEROY C PARLBERG                                   1839 MAITLAND ST                                                                                SAGINAW         MI    48603
LEROY C REIF                                       3169 HAROLD DR                                                                                  COLUMBIAVILLE   MI    48421‐8962
LEROY C ROBINSON                                   9502 PAINTED TREE DR                                                                            RANDALLSTOWN    MD    21133‐2845
LEROY C STONE TR LEROY C STONE TRUST UA 10/07/94   16 NO NAME ROAD                                                                                 STOW            MA    01775‐1618

LEROY C THOMAS                                     5114 JACKSON BLVD                                                                               WHITE LAKE      MI    48383‐1907
LEROY C YELDELL JR                                 711 BOTANY BAY                                                                                  DALLAS          TX    75211‐6912
                                            09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 767 of 855
Name                                          Address1                             Address2                Address3       Address4          City             State Zip

LEROY CAMPBELL                                1684 LIDDESDALE                                                                               DETROIT          MI    48217‐1218
LEROY CEPHUS                                  4023 BROOK CREST CIRCLE                                                                       DECATUR          GA    30032‐3820
LEROY CLEVELAND                               2001 KENT STREET                                                                              FLINT            MI    48503‐4322
LEROY COMBS                                   4367 MIDDLETOWN PK                                                                            HAMILTON         OH    45011
LEROY CONNER                                  838 PINE AVE NW                                                                               GRAND RAPIDS     MI    49504‐4341
LEROY COOPER                                  716 E CAMBRIDGE RD                                                                            BELTON           MO    64012‐9068
LEROY COULTER                                 5267 BERMUDA LANE                                                                             FLINT            MI    48505‐1066
LEROY CRAM                                    20405 POINT LOOKOUT ROAD             PO BOX 5                                                 GREAT MILLS      MD    20634‐0005
LEROY D ADAMS                                 1687 DELIA AVE                                                                                AKRON            OH    44320‐1671
LEROY D BROWN                                 332 ROGERS ST                                                                                 MASON            MI    48854
LEROY D BROWN                                 938 E 41ST ST                                                                                 BALTIMORE        MD    21218‐1301
LEROY D CARD                                  113 SHADOWMONT COURT                                                                          CROSSVILLE       TN    38555‐5560
LEROY D FRY                                   5160 BUNKERHILL ROAD                                                                          BUTLER           OH    44822
LEROY D LEWIS                                 6088 DAVIDBERGER ST                                                                           MT MORRIS        MI    48458‐2708
LEROY D MEDLEY                                3358 EDEN VILLAGE PLACE                                                                       CARMEL           IN    46033‐3014
LEROY D MILLER                                1034 OAK KNOLL DR                                                                             HARRISBURG       PA    17111‐4673
LEROY D RUSSELL                               41205 E STATE RT N                                                                            CREIGHTON        MO    64739‐9652
LEROY D WALLA & NANCY E LOOMIS JT TEN         714 CRESTVIEW DR                                                                              BOLINGBROOK      IL    60440‐9059
LEROY D WOODBURY                              12601 RATHBUN RD                                                                              BIRCH RUN        MI    48415‐9799
LEROY DARBY                                   555 LAKEWOOD DR E                                                                             MUSCLE SHOALS    AL    35661‐4602
LEROY DENNIS JR                               2175 STARLINE DR                                                                              DECATUR          GA    30032‐5607
LEROY E BISSELL                               ATTN HAZEL M BISSELL                 2142 CHERRY TREE LANE                                    PEACHTREE CITY   GA    30269‐2978
LEROY E DAY                                   2833 ROUND TABLE DR                                                                           ANDERSON         IN    46011‐9054
LEROY E GIBBS                                 20033 ARMINTA                                                                                 WINNETKA         CA    91306‐2303
LEROY E GRIM                                  906 HIGHLAND AVE                                                                              SALEM            OH    44460
LEROY E LONG                                  708 LAURELWOOD DR SE                                                                          WARREN           OH    44484‐2423
LEROY E MACY                                  8125 BROOKVILLE‐PHILLIPSBURG                                                                  BROOKVILLE       OH    45309‐9216
LEROY E MCCLAIN & BARBARA A MCCLAIN JT TEN    4180 LOCKPORT DR                                                                              BRIDGETON        MO    63044‐3426
LEROY E MEDENDORP & LUCY L MEDENDORP JT TEN   346 ANDERSON ST NE                                                                            LAKE PLACID      FL    33852‐6040

LEROY E MILLER                                2815 SW 31ST ST                                                                               GRESHAM          OR    97080‐9577
LEROY E NEEPER                                12421 RIDGE ROAD                                                                              MEDINA           NY    14103‐9692
LEROY E PARTRIDGE                             5 FAIRLAWN DR                                                                                 WALLLINGFORD     CT    06492‐2587
LEROY E RISSE & MARIAN E RISSE JT TEN         28446 PANORAMA ROAD                                                                           WARSAW           MO    65355‐5577
LEROY E SIX                                   10 PANORAMA DR                                                                                ALEXANDRIA       KY    41001‐1015
LEROY E SLAVIK                                HC 63 BOX 191                                                                                 HAGARVILLE       AR    72839‐9708
LEROY E SMITH                                 901 ANSIN ST                                                                                  PUNTA GORDA      FL    33950‐7207
LEROY E SPITZLEY                              115 W PINE ST                        BOX 451                                                  WESTPHALIA       MI    48894‐0451
LEROY E STECKER & ELEANOR H STECKER TR UA     223 EL MONTE DRIVE                                                                            SANTA BARBARA    CA    93109‐2005
05/30/90 THE STECKER TRUST
LEROY E SWIFT                                 7220 W FARMDALE DR                                                                            DALEVILLE        IN    47334‐8852
LEROY E WEBSTER                               10200 CR 305                                                                                  GRANDVIEW        TX    76050‐4202
LEROY EARLE                                   636 OAK GROVE RD                                                                              CHESAPEAKE       VA    23320‐3726
LEROY EPPS                                    9147 S DREXEL                                                                                 CHICAGO          IL    60619‐7612
LEROY F CHAIN                                 2616 COLLEGE RD                                                                               HOLT             MI    48842‐8706
LEROY F KING                                  3191 WAYNE‐MADISON RD                                                                         TRENTON          OH    45067‐9451
LEROY F KOCH                                  1622 IRIS DR                                                                                  MANITOWOC        WI    54220‐2220
LEROY F ROUSE                                 1733 NEBRASKA AVE                                                                             FLINT            MI    48506‐4317
LEROY F THROCKMORTON                          100 SLATE RUN RD                                                                              LUCASVILLE       OH    45648‐8579
LEROY F YOUNG                                 145 FOREST LAKE DRIVE                                                                         COCOA            FL    32926‐3171
LEROY FENNOY                                  538 RUBY ROAD                                                                                 LIVERMORE        CA    94550‐5144
LEROY FIELDS                                  19220 BURGESS                                                                                 DETROIT          MI    48219‐1819
LEROY FRILEY                                  17200 BONHAM AVE                                                                              CARSON           CA    90746‐1119
LEROY G BURLEY                                4198 CHARTER OAK DRIVE                                                                        FLINT            MI    48507‐5550
LEROY G CROLEY                                510 NORTH THIRD                                                                               ELSBERRY         MO    63343‐1313
LEROY G MOROSEY                               438 KENNEDY DR                                                                                BUFFALO          NY    14225
LEROY G SCHENKER                              3030 BOND PL                                                                                  JANESVILLE       WI    53548
LEROY G SOMMER & MARY JANE SOMMER JT TEN      4621 GUINEA RD                                                                                ANNANDALE        VA    22003‐3958
LEROY G YATES JR                              6528 JENNY CT                                                                                 CEDAR HILL       MO    63016‐3003
                                               09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 4 of 8 Pg 768 of 855
Name                                                Address1                                 Address2             Address3          Address4          City           State Zip

LEROY GAY                                           555 15TH AVE                                                                                      GARY           IN    46407
LEROY GILL                                          PO BOX 11443                                                                                      SAINT LOUIS    MO    63105‐0243
LEROY GOAR JR                                       5634 N QUAIL                                                                                      MIDDLETOWN     IN    47356‐9704
LEROY GOODWIN JR                                    463 HIGHLAND RIDGE DR                                                                             CLEVELAND      OH    44143‐2568
LEROY GREEN                                         12225 EASTERN AVE                                                                                 BALTIMORE      MD    21220‐1304
LEROY GUICE                                         6626 EASTMONT DR                                                                                  FLINT          MI    48505‐2431
LEROY H DILLER                                      4645 OLDE SCOTLAND ROAD                                                                           CHAMBERSBURG   PA    17201‐9763
LEROY H HUGHES                                      9 WRENFIELD DR                                                                                    SEWELL         NJ    08080‐2473
LEROY H LADNER                                      4677 STATE ROAD 56 N                                                                              RISING SUN     IN    47040‐9335
LEROY H SPRING                                      3842 HWY EE                                                                                       MONTICELO      WI    53570
LEROY HAMPTON SCOTT III                             PO BOX 1222                                                                                       ELKTON         MD    21922‐1222
LEROY HANKE                                         1538 KING RICHARD PKWY                                                                            MIAMISBURG     OH    45342‐2745
LEROY HARRIS                                        11939 S PRINCETON ST                                                                              CHICAGO        IL    60628‐6013
LEROY HARRIS III                                    5741 W DUNLAP ST                                                                                  PHILADELPHIA   PA    19131‐3411
LEROY HATCHER & CHARLOTTE HATCHER JT TEN            1522 THURMAN WAY                                                                                  FOLSOM         CA    95630
LEROY HEARN                                         854 COUNTY ROAD 16                                                                                WINONA         MS    38967‐9178
LEROY HELMS                                         5447 SITKA                                                                                        BURTON         MI    48519‐1523
LEROY I MARTINEZ                                    BOX 1091                                                                                          SANTA FE       NM    87504‐1091
LEROY I REED                                        6720 WEST VW AVE                                                                                  SCHOOLCRAFT    MI    49087‐8757
LEROY I SCHINDLER                                   3805 CHESAPEAKE AVE                                                                               JANESVILLE     WI    53546‐4262
LEROY IMBER                                         PO BOX 958                                                                                        REMSENBURG     NY    11960‐0958
LEROY J BAIR                                        4120 COCKROACH BAY RD LOT 113                                                                     RUSKIN         FL    33570‐2615
LEROY J BOETTCHER                                   971 SW HUNT CLUB CIRCLE                                                                           PALM CITY      FL    34990‐2032
LEROY J CROTEAU & IRENE J CROTEAU TR L J & I J      20393 ANN RIVER DR                                                                                MORA           MN    55051‐7409
CROTEA REV LIVING TRUST
LEROY J DOYLE                                       725 FOUNTAIN ABBEY PL                                                                             MIAMISBURG     OH    45342‐2726
LEROY J HEUGH                                       110 ANGSTROM CRES                        AMHERSTBURG ON                         N9V 3S1 CANADA
LEROY J KRAVISH & MRS PAULINE KRAVISH JT TEN        5410 CENTER AVE                                                                                   SUMMIT         IL    60501‐1026
LEROY J LOEFFLER                                    682 HICKORY CT                                                                                    SEBEWAING      MI    48759‐1413
LEROY J MILLER                                      525 W DAVISBURG RD                                                                                HOLLY          MI    48442‐8545
LEROY J OBERTO                                      42484 PARADISE RD                                                                                 CHASSELL       MI    49916‐9207
LEROY J PINETTE                                     3 DOROTHY LANE                                                                                    TERRYVILLE     CT    06786‐7013
LEROY J SCHAFER & LINDA A SCHAFER JT TEN            1411 E CARMEN ST                                                                                  TEMPE          AZ    85283‐4141
LEROY J SCHINDLER & MARJORY A SCHINDLER JT TEN      8228 VAN AMBER RD                                                                                 CASTORLAND     NY    13620‐0132

LEROY J WEBBER                                       1056 WALCK RD                                                                                    N TONAWANDA    NY    14120‐3515
LEROY J WHITEMAN                                     4 LAUREL PL                                                                                      FAIRFIELD      NJ    07004‐3205
LEROY JOHN SMITH                                     PO BOX 47                                                                                        BROCTON        NY    14716‐0047
LEROY JOHNSON                                        8 ALDENA RD                                                                                      WORCESTER      MA    01603‐1128
LEROY JOHNSON                                        38287 TRALEE TRAIL                                                                               NORTHVILLE     MI    48167‐9763
LEROY JONES                                          PO BOX 37005                                                                                     OAK PARK       MI    48237‐0005
LEROY JONES                                          137 VICTORY DR                                                                                   FITZGERALD     GA    31750‐8524
LEROY JURICH                                         747 LINNEA AVE                                                                                   SAN LORENZO    CA    94580‐1134
LEROY K MORIARITY                                    4739 N W SHAFER DR                                                                               MONTICELLO     IN    47960‐7140
LEROY KAPULE KAONA                                   BOX 245                                                                                          KILAUEA        HI    96754‐0245
LEROY KIDD                                           10438 S NORMAL                                                                                   CHICAGO        IL    60628‐2428
LEROY KINCAID SR & BETTY J ELLIS JT TEN              1224 MEMORIAL DR                                                                                 CALUMET CITY   IL    60409‐3324
LEROY KIRK & PAULINE J KIRK TR LEROY KIRK REV LIVING 8615 FAR RAVINE DRIVE                                                                            PINCKNEY       MI    48169‐8607
TRUST UA 03/03/00
LEROY KOLLER                                         24 BLACK PINE DR                                                                                 TRENTON        NJ    08610‐1306
LEROY KROPECK & GERRY KROPECK JT TEN                 22525 WOODSIDE DRIVE                                                                             CHANNAHON      IL    60410‐8604
LEROY L HEATH                                        303 ZOERB AVENUE                                                                                 CHEEKTOWAGA    NY    14225‐4837
LEROY L MOSES                                        4030 BALDWIN                                                                                     DETROIT        MI    48214‐1002
LEROY L PLUMMER                                      6919 YALE RD                                                                                     BALTIMORE      MD    21220‐1050
LEROY L SMITH                                        511 MAIN ST #2                                                                                   IRWIN          PA    15642
LEROY L VALLEY                                       2798 TOWER BEACH RD                                                                              PINCONNING     MI    48650‐7416
LEROY L WITHEY JR                                    212 BEECHER ST BOX 284                                                                           OTISVILLE      MI    48463‐0284
LEROY LAMAR                                          1 LAMAR LANE                                                                                     HAWESVILLE     KY    42348
LEROY LEAK                                           40 HAZELWOOD AVE                                                                                 BUFFALO        NY    14215‐3929
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 769 of 855
Name                                            Address1                                Address2             Address3          Address4          City               State Zip

LEROY LEE LEWIS                                 16320 BEDFORD                                                                                    SOUTHFIELD         MI    48076‐2266
LEROY LONG & DOROTHY V LONG JT TEN              48 CHASE ST.                            PO BOX 608                                               WEST HARWICH       MA    02671
LEROY LOUIS                                     3111 OAKMAN BLVD                                                                                 DETROIT            MI    48238‐3194
LEROY LUSTER                                    1296 ATTERBURY DR                                                                                MACEDONIA          OH    44056‐2432
LEROY M GOWRYLOW                                7571 SOUTH CORDELIA AVE                                                                          TUCSON             AZ    85746‐2527
LEROY M HALTER                                  BOX 309                                                                                          OAKWOOD            OH    45873‐0309
LEROY M MEDINA                                  34727 LILAC ST                                                                                   UNION CITY         CA    94587‐5250
LEROY M TANNER                                  3638 S EUCLID AVE                                                                                BAY CITY           MI    48706‐3456
LEROY M TANNER & STEPHANIE L TANNER JT TEN      3638 S EUCLID                                                                                    BAY CITY           MI    48706‐3456
LEROY M WING                                    404 CLEVELAND AVE                                                                                OWOSSO             MI    48867‐1310
LEROY MACKEY                                    133 CAMDEN AVE                                                                                   S PLAINFIELD       NJ    07080‐2001
LEROY MACON                                     6112 JOLIET AV A                                                                                 SAINT LOUIS        MO    63120‐1210
LEROY MATTHEWS                                  1423 MANOTAK POINT DR                   UNIT 108                                                 JACKSONVILLE       FL    32210‐1184
LEROY MATTHIAS                                  3309 DECATUR AVE                                                                                 BRONX              NY    10467‐3401
LEROY MAXEY                                     4140 N DEQUINCY ST                                                                               INDIANAPOLIS       IN    46226‐4529
LEROY MAYERS                                    310 FARLEY AVE                                                                                   SCOTCH PLAINS      NJ    07076‐1108
LEROY MAYES                                     PO BOX 755                                                                                       MERCER             MO    64661‐0755
LEROY MCKINNEY JR                               1014 ARGYLE ST                                                                                   PONTIAC            MI    48341‐2303
LEROY MCPHERSON                                 8011 PLINIUS WAY                                                                                 LIVERPOOL          NY    13090‐1817
LEROY MEADE & SHERYL D MEADE JT TEN             11738 TAMARINA COURT                                                                             PINCKNEY           MI    48169‐9536
LEROY N FOSE                                    13200 POINT BREEZE DR                                                                            FORT MYERS         FL    33908‐3740
LEROY N GARDNER                                 804 RIVER ACRES DRIVE                                                                            TECUMSEH           MI    49286‐1143
LEROY NESBIT JR & GWENDOLYN A NESBIT JT TEN     12093 RIVERBEND DRIVE                                                                            GRAND BLANCH       MI    48439‐1723
LEROY O TISSUE                                  818 N MAGNOLIA                                                                                   LANSING            MI    48912‐3134
LEROY O VAN GILDER                              767 SW 1871                                                                                      HOLDEN             MO    64040‐8115
LEROY OSTRANDER                                 7404 GLASGOW ROAD                                                                                BROOKSVILLE        FL    34613‐7464
LEROY P FIALA                                   7485 BRANCH RD                                                                                   MEDINA             OH    44256‐9105
LEROY P KENNEDY                                 4366 FAIRWOOD                                                                                    BURTON             MI    48529‐1914
LEROY PALMER                                    11287 KENNEBEC ST                                                                                DETROIT            MI    48205‐3245
LEROY PARKER                                    7001 HAMLET AVE                                                                                  BALTIMORE          MD    21234‐7407
LEROY PIGG                                      111 INDIAN HILL RD                                                                               LAFOLLETTE         TN    37766
LEROY PRESSLEY                                  4106 KIMBERLY WOODS DR                                                                           FLINT              MI    48504‐1124
LEROY PURIFOY                                   724 W BUNDY                                                                                      FLINT              MI    48505‐1945
LEROY QUEISER JR                                344 BIRCH DR                                                                                     VALENCIA           PA    16059
LEROY R BECK                                    20 HILLCREST DRIVE                                                                               SUGAR GROVE        IL    60554
LEROY R BECK & ELENA R BECK JT TEN              20 HILLCREST DRIVE                                                                               SUGAR GROVE        IL    60554
LEROY R BOLDA                                   26387 DALE CT                                                                                    ROSEVILLE          MI    48066
LEROY R FROMADER                                5914 SOUTH REDBUD LANE                                                                           COLUMBIA CITY      IN    46725
LEROY R HUGHES                                  6602 HARRIS                                                                                      RAYTOWN            MO    64133‐5352
LEROY R HUGHES & MRS EDITH C HUGHES JT TEN      6602 HARRIS                                                                                      RAYTOWN            MO    64133‐5352
LEROY R LAND                                    2901 CROSSROADS                                                                                  LONGVIEW           TX    75605‐2025
LEROY R LYNAM & VERNA LEE LYNAM JT TEN          1200 BRIERLY LANE                                                                                WEST MIFFLIN       PA    15122‐1347
LEROY R MCLELLAN                                45800 GAINSBOROUGH                                                                               CANTON             MI    48187‐1522
LEROY R PORTSER JR                              655 SOUTH SPINNINGWHEEL LN                                                                       BLOOMFIELD HILLS   MI    48304‐1324

LEROY R RICHARDSON                              6521 MOCKINGBIRD LN                                                                              MANASSAS           VA    20111
LEROY R SMITH & RITA T SMITH JT TEN             6256 KALLSEN DR UNIT 2                                                                           TINLEY PARK        IL    60477
LEROY R SOULE                                   136 EDGEWOOD DRIVE                                                                               PRUDENVILLE        MI    48651‐9753
LEROY R SOWERS                                  19770 E STATE ROUTE 47                                                                           MAPLEWOOD          OH    45340‐9734
LEROY R WEBER                                   2101 POLZIN RD RT 4                                                                              JANESVILLE         WI    53545‐9453
LEROY RANDLE                                    1415 WEST STANLEY RD                                                                             MT MORRIS          MI    48458‐2315
LEROY RAYNER                                    1042 LOUGHERY LN                                                                                 INDIANAPOLIS       IN    46228‐1323
LEROY REED                                      75 W KINGBRIDGE RD                                                                               MT VERNON          NY    10550‐4833
LEROY ROBERSON                                  505 EMERSON                                                                                      PONTIAC            MI    48342‐1822
LEROY S ADKINS                                  PO BOX 4                                                                                         HENDRICKS          WV    26271‐0004
LEROY S LAVI                                    5028 PADDOCK RD                                                                                  CINCINNATI         OH    45237‐5212
LEROY S MALATERRE                               1302 VICTORIA DRIVE                                                                              LEBANON            IN    46052‐1060
LEROY S RYAN                                    1121 4TH AVE                                                                                     ELIZABETH          PA    15037‐1017
LEROY S SAUNDERS & BRENDA J SAUNDERS JT TEN     721 JUNIPER CLIFF RD                                                                             BROOKNEAL          VA    24528‐2546
                                           09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 770 of 855
Name                                             Address1                              Address2             Address3          Address4          City           State Zip

LEROY S SIMCHAK                                2075 RIDGE RD                                                                                    CANTON         MI    48187‐4640
LEROY S WEAVER                                 7228 PORTER RD                                                                                   GRAND BLANC    MI    48439‐8546
LEROY SELLES                                   5131 S NEWLAND                                                                                   CHICAGO        IL    60638‐1122
LEROY SENTERS & MARION R SENTERS JT TEN        4615 TIN MAN ALLEY                                                                               WASHINGTON     MO    63090‐4339
LEROY SIMMONS                                  936 LA‐CLEDE                                                                                     YOUNGSTOWN     OH    44511‐1458
LEROY SMITH                                    1849 ECKLEY AVE                                                                                  FLINT          MI    48503‐4525
LEROY SPELLER JR                               44 HARGROVE LANE                                                                                 WILLINGBORO    NJ    08046‐1710
LEROY STOKES                                   18515 GREENFIELD RD                                                                              DETROIT        MI    48235‐2969
LEROY T LABARRIE                               8 HULL AVE                                                                                       FREEHOLD       NJ    07728‐2105
LEROY T OEHLER                                 1917 NAVAHO TRL                                                                                  OKEMOS         MI    48864‐2719
LEROY TAYLOR                                   3565 FOX TAIL CT                                                                                 DECATUR        GA    30034‐6422
LEROY TAYLOR                                   9148 S HOBART                                                                                    LOS ANGELES    CA    90047‐3611
LEROY THOMAS                                   724 LINCOLN AVE                                                                                  FLINT          MI    48507‐1752
LEROY THOMAS                                   9757 QUINCY                                                                                      DETROIT        MI    48204‐2459
LEROY TOWNSEND                                 6810 DARYLL DR                                                                                   FLINT          MI    48505‐1968
LEROY VINTON PATTON                            7687 ST RD 54 W                                                                                  SPRINGVILLE    IN    47462
LEROY VIRGIES                                  10214 RUSSELL AVE                                                                                CLEVELAND      OH    44125
LEROY W CARBAUGH                               1508 KATHY LANE                                                                                  MIAMISBURG     OH    45342‐2622
LEROY W CARBAUGH TOD MICHAEL W CARBAUGH        1508 KATHY LN                                                                                    MIAMISBURG     OH    45342‐2622
SUBJECT TO STA TOD RULES
LEROY W CARBAUGH TOD RUTH ANN KLINE SUBJECT TO 1508 KATHY LN                                                                                    MIAMISBURG     OH    45342‐2622
STA TOD RULES
LEROY W COPSEY                                 29138 FLORY RD                                                                                   DEFIANCE       OH    43512‐9024
LEROY W DAVIS & JOAN DAVIS JT TEN              9200 SASHABAW                                                                                    CLARKSTON      MI    48348‐2022
LEROY W DOWNS                                  203 VILLA POINTE DR                                                                              SPRINGBORO     OH    45066‐8319
LEROY W HITCHENS                               612 SHELLBARK RD                                                                                 MUNCIE         IN    47304‐3764
LEROY W HUNSINGER                              425 PARK AVE                                                                                     NEW CASTLE     DE    19720‐4793
LEROY W INGRAM JR                              6404 S LINDEN RD                                                                                 SWARTZ CREEK   MI    48473‐8801
LEROY W JACKSON                                11084 PRESTWICK DR                                                                               LANSING        MI    48917‐8884
LEROY W JOHNSON                                301 GRANVILLE                                                                                    BELLWOOD       IL    60104‐1309
LEROY W JOHNSON II                             20396 PURLINGBROOK ST                                                                            LIVONIA        MI    48152‐1841
LEROY W KLEMM                                  2556 22ND ST                                                                                     BAY CITY       MI    48708‐7613
LEROY W KRUMPERMAN JR                          202 GRINDLEBROOK RD                                                                              SOUTH          CT    06073‐3320
                                                                                                                                                GLASTONBURY
LEROY W LOPENO                                   1935 LAFAYETTE ST                     APT 2                                                    JANESVILLE     WI    53546‐2843
LEROY W OQUINN                                   98 CANDLER RD SE                                                                               ATLANTA        GA    30317‐3051
LEROY W RICHARDSON                               352 WEST HAMILTON                                                                              OBERLIN        OH    44074‐1808
LEROY W SLOUFFMAN                                2826 SHETTERLY LANE                                                                            DAYTON         OH    45440‐2228
LEROY W WITT                                     1328 CARPATHIAN WAY                                                                            CLIO           MI    48420‐2147
LEROY WALTER CAMPBELL                            5253 CHERRY RD                                                                                 FARWELL        MI    48622‐9609
LEROY WEBSTER                                    1824 VILLA RD                                                                                  BIRMINGHAM     MI    48009‐6561
LEROY WILLIAMS                                   422 NORTHUMBERLAND AVE                                                                         BUFFALO        NY    14215‐3160
LEROY WILSON JR                                  711 E. 103RD ST                                                                                INDIANAPOLIS   IN    46280
LEROY YATES                                      1170 THORNDALE DR                                                                              AKRON          OH    44320‐1662
LEROY ZUMWALT                                    524 N CLARIDGE DR                                                                              DAYTON         OH    45429‐1554
LEROYJR BURDETTE JR                              18052 WHITCOMB                                                                                 DETROIT        MI    48235‐2814
LERRON MOSES                                     702 N OAK ST                                                                                   OCILLA         GA    31774‐3819
LERRON MOSES & HELEN MOSES JT TEN                702 N OAK ST                                                                                   OCILLA         GA    31774‐3819
LES A LAZARUS                                    915 LEWISBURG PIKE                                                                             FRANKLIN       TN    37064‐5729
LES J ABROMOVITZ & BELLE ABROMOVITZ & HEDY       6414 NW 23RD LANE                                                                              BOCA RATON     FL    33434‐4327
ABROMOVITZ JT TEN
LES WORKMAN                                      105 AUZERAIS CT                                                                                LOS GATOS      CA    95032‐5703
LESA ANN KNUPP ECKERT & EMMA JO ANN O'BRIEN JT   25 HIGHLAND DRIVE                                                                              FLEETWOOD      PA    19522‐9615
TEN
LESA B MCCLAIN                                   5547 AMANDA BELLE                                                                              SOUTHAVEN      MS    38672‐9543
LESA H SAN JULIAN                                5 WOODBROOK LN                                                                                 BRIDGEPORT     WV    26330
LESA J CRAWFORD                                  244 EUCLID AVE                                                                                 WADSWORTH      OH    44281‐1504
LESA L MORELAND                                  2301 RACQUET CLUB DR                                                                           MURFREESBORO   TN    37128
LESA M FRANZEL                                   35287 MALIBU                                                                                   STERLING HTS   MI    48312‐4047
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 771 of 855
Name                                               Address1                              Address2             Address3          Address4                City               State Zip

LESA M MEHL                                    46 AVERY ROAD                                                                                            SOMERS             CT    06071‐1538
LESLE WALKER                                   ATTN LESLE W PALMERI                      PO BOX 1088                                                    SEASIDE            OR    97138‐1088
LESLEA A MCCORD                                #3 N LONG                                                                                                O'FALLON           MO    63366
LESLEA KINCAID                                 1611 ANTHONY AVE                                                                                         JANESVILLE         WI    53546‐6070
LESLEE A MILLER                                610 N KEEN PLACE                                                                                         TUCSON             AZ    85710‐2651
LESLEY A BOND                                  4265 VICTORIA TERRACE SE                                                                                 WARREN             OH    44484‐4840
LESLEY A NENNINGER                             61 WOODS RD                                                                                              SILEX              MO    63377‐2418
LESLEY A NEWMAN CUST KEVIN M MC ILVAIN UGMA NY 5215 SILVER FOX DR                                                                                       JAMESVILLE         NY    13078‐8742

LESLEY A PUTNAM                                    3837 GERTRUDE                                                                                        DEARBORN           MI    48124
LESLEY ALDRICH                                     7 N 730 RTE 59                                                                                       BARTLETT           IL    60103
LESLEY AMY SMYTHE                                  393 WOODSWORTH RD                     WILLOWDALE ON                          M2L 2V1 CANADA
LESLEY ANN NOCKS                                   C/O LESLEY LEIBERT                    27 BORMAN AVE                                                  STATEN ISLAND      NY    10314‐4961
LESLEY B FINK CUST MICHAEL ANDREW FINK UTMA VA     9271 BAYBERRY AVE                                                                                    MANASSAS           VA    20110‐4611

LESLEY B FINK CUST ROBERT M FINK UTMA VA           9271 BAYBERRY AVE                                                                                    MANASSAS           VA    20110‐4611
LESLEY B STALKER CUST JON R A STALKER UGMA NJ      55 FAIRVIEW AVE                       APT 4                                                          BERGENFIELD        NJ    07621‐2849

LESLEY C CHICKERING                                4212 BUCKSKIN LAKE DR                                                                                ELLICOTT CITY      MD    21042‐1254
LESLEY D ALEXANDER                                 10157 WILLOWBROOK DR                                                                                 FLUSHING           MI    48433‐9235
LESLEY D BRICE                                     2319 W 67TH ST                                                                                       INDIANAPOLIS       IN    46260‐4363
LESLEY D EMARD                                     6505 SOUTH COCKRAN ROAD                                                                              CHARLOTTE          MI    48813‐9112
LESLEY GORE KITIKUL                                PO BOX 21011                                                                                         BALTIMORE          MD    21228
LESLEY J DEVINE                                    2404 E ELDER LN                                                                                      MUNCIE             IN    47303‐1065
LESLEY J PRITCHARD                                 513 S EAST ST                                                                                        BOYNE CITY         MI    49712‐1555
LESLEY JO SEITCHIK CUST ROSALIE SEITCHIK UGMA PA   7319 ELBOW LANE                                                                                      PHILADELPHIA       PA    19119‐2810

LESLEY K HILL                                 1324 SOUTHVIEW CIRCLE                                                                                     CORALVILLE         IA    52241‐1046
LESLEY K KOVACS                               3691 ABNEY ROAD                                                                                           COLUMBUS           OH    43207‐4102
LESLEY L SEYLER & ELEANOR JEAN SEYLER JT TEN  15325 S LONE ELM RD                        APT 18                                                         OLATHE             KS    66061‐5417
LESLEY LEAMON CUST DREW WILSON LEAMON UTMA TX 7 DEVERAUX CLOSE                           BECKENHAM            KENT              BR3 3GX GREAT BRITAIN

LESLEY MEKLER & LEO MEKLER JT TEN                  10015 FLOKTON AVE                                                                                    LAS VEGAS          NV    89148‐4573
LESLEY R STANECK                                   9391 FERRY RD                                                                                        WAYNESVILLE        OH    45068‐9081
LESLEY REEVES‐HUNT                                 6400 TRIPP RD                                                                                        CHINA              MI    48054‐2518
LESLEY ROTH                                        99 LINCOLN PLACE                                                                                     WALDWICK           NJ    07463‐2114
LESLEY S PETTY & LINDSEY T PETTY JT TEN            7 CHARNWOOD DRIVE                                                                                    PITTSBURGH         PA    15235‐5250
LESLEY SELBY                                       8253 FLOWES STORE RD                                                                                 CONCORD            NC    28025‐1227
LESLI A THOM                                       23255 SAGEBRUSH                                                                                      NOVI               MI    48375‐4172
LESLIANNE MCGIVERN                                 9757 ISABELL COURT                                                                                   HGHLNDS RANCH      CO    80126
LESLIE A ALIANO                                    1 BIRCHWOOD TERR                      APT 10                                                         BRISTOL            CT    06010‐9125
LESLIE A BAARS                                     8 CINDERELLA LN                                                                                      ST JAMES           NY    11780‐3106
LESLIE A BUSSIERE                                  735 FRENCHTOWN ROAD                                                                                  MILFORD            NJ    08848
LESLIE A COOLEY                                    PO BOX 958                                                                                           ELK RAPIDS         MI    49629‐0958
LESLIE A CRIPE                                     14651 SE 98TH AVE                                                                                    SUMMERFIELD        FL    34491
LESLIE A DE BOER                                   12620 IROQUOIS DR                                                                                    GRAND LEDGE        MI    48837‐8910
LESLIE A DESJARDINS                                14 COMER ST                           EAST BRIGHTON        VIC               3187 AUSTRALIA
LESLIE A HARJU & VIENNA A HARJU JT TEN             48263 BLUEBIRD AVE                                                                                   UTICA              MI    48317‐2405
LESLIE A HAUSER & GERARD F HAUSER JT TEN           53‐40 212 ST                                                                                         BAYSIDE            NY    11364‐1812
LESLIE A HEFFRON                                   12900 10 MILE ROAD                                                                                   GREENVILLE         MI    48838
LESLIE A KASEMEYER                                 2223 FISH LAKE ROAD                                                                                  LAPEER             MI    48446‐8310
LESLIE A KING                                      42214 MAC RAE DR                                                                                     STERLING HEIGHTS   MI    48313‐2566

LESLIE A KINNE                                     384 SCHMIDT RD                                                                                       KAWKAWLIN          MI    48631‐9782
LESLIE A KOPARI JR                                 58 CAPE HATTERAS CT                                                                                  REDWOOD CITY       CA    94065‐1240
LESLIE A KROEGER & MRS ANNE V KROEGER TEN COM      BOX 2264                                                                                             LONGVIEW           TX    75606‐2264

LESLIE A LILLY                                     3303 D TRAPPER TR                                                                                    CORTLAND           OH    44410‐9148
LESLIE A MORGAN                                    3748 ACADIA DRIVE                                                                                    LAKE ORION         MI    48360‐2718
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 772 of 855
Name                                                Address1                               Address2             Address3          Address4          City            State Zip

LESLIE A RAETZ                                      15707 BLUE SKIES                                                                                LIVONIA         MI    48154‐1521
LESLIE A RAINBOW & JEAN B RAINBOW JT TEN            135 DOWNING ST                                                                                  PANAMA CITY     FL    32413‐3619
                                                                                                                                                    BEACH
LESLIE A ROGERS                                     3523 RAE LANE                                                                                   SAINT PAUL      MN    55125‐9340
LESLIE A SHINDLER                                   23300 SE BLACK NUGGET RD APT K4                                                                 ISSAQUAH        WA    98029‐6928
LESLIE A SLATINSKY                                  7556 E SPRING LAKE RD                                                                           MOORESVILLE     IN    46158
LESLIE A SMITH                                      18366 COURTNEY RD                                                                               BELOIT          OH    44609‐9215
LESLIE A THORNTON                                   31 CHICKATAWBUT ST                                                                              DORCHESTER      MA    02122‐2207
LESLIE A THORNTON & THOMAS A THORNTON JT TEN        31 CHICKATAWBUT STREET                                                                          DORCHESTER      MA    02122‐2207

LESLIE A TROUT                                      5054 NORRIS DRIVE                                                                               SWARTZ CREEK    MI    48473‐8211
LESLIE A WIEMAN & HOWARD H WIEMAN JT TEN            26 SERENO CIR                                                                                   OAKLAND         CA    94619‐3122
LESLIE A WOOLFORD                                   9279 RANCHO PARK PL                                                                             R CUCAMONGA     CA    91730‐5677
LESLIE ALLEN                                        28694 BLACKSTONE DR                                                                             LATHRUP VLG     MI    48076‐2614
LESLIE ALLEN YEATS                                  933 E FULTON ST                                                                                 SINTON          TX    78387‐2712
LESLIE ANDREW BENJAMIN                              63 WILLIAMS ST                                                                                  WHITEHALL       NY    12887‐1319
LESLIE ANN CLARK                                    2163 BLACKMORE COURT                                                                            SAN DIEGO       CA    92109‐1421
LESLIE ANN ENGELS                                   780 W COPELAND DR                                                                               MARCO ISLAND    FL    34145‐6633
LESLIE ANN HANSON                                   123 PADDOCK AVE                                                                                 PISMO BEACH     CA    93449‐1711
LESLIE ANN ROWELL & WILLIAM K BAXTER JT TEN         24899 MASCH AVE                                                                                 WARREN          MI    48091‐4487
LESLIE ANN SILVERMAN                                102 HUNTLEIGH AVE                                                                               FAYETTVILLE     NY    13066‐2213
LESLIE ANNE FITZPATRICK                             48 DAVIS LN                                                                                     NEW YORK        NY    11576‐2157
LESLIE ANNE LARKIN                                  119 MONTE VISTA AVE                                                                             RIDGEWOOD       NJ    07450‐3030
LESLIE ANNE MILLER                                  3435 W DANBURY DR                      APT B104                                                 PHOENIX         AZ    85053‐1843
LESLIE APPEL                                        78 DODGE RD                                                                                     ITHICA          NY    14850‐2913
LESLIE APPELBAUM                                    24 NEVENS ST                                                                                    PORTLAND        ME    04103‐3123
LESLIE ATKINS                                       APT 202                                1318 22ND ST NW                                          WASHINGTON      DC    20037‐3009
LESLIE B BERY                                       9861 WESTWOOD CIR                                                                               CLARKSTON       MI    48348‐5409
LESLIE B CRANE                                      6709 HILLCROFT DR                                                                               FLINT           MI    48505‐5700
LESLIE B FINNELL                                    PO BOX 9199                                                                                     WICHITA FALLS   TX    76308‐9199
LESLIE B JOSLYN                                     1209 E RIVER RD                                                                                 SPRINGFIELD     MO    65804‐7902
LESLIE B LEVY                                       416 RIDGEWAY                                                                                    WHITE PLAINS    NY    10605‐4208
LESLIE B MOORE                                      56‐47 196TH ST                                                                                  FLUSHING        NY    11365‐2330
LESLIE B SURFACE                                    16 E 29TH ST                                                                                    HOLLAND         MI    49423‐5124
LESLIE B TOTANS                                     1509 SQUIRREL TAIL DR                                                                           SPARKS          NV    89436‐4609
LESLIE BALOGH                                       4105 ORGOULD ST                                                                                 FLINT           MI    48504‐6834
LESLIE BERTEL                                       1207 BEECHVIEW AVE                                                                              PITTSBURGH      PA    15212
LESLIE C BROWN                                      4372 KENTWOOD AVE                                                                               FLINT           MI    48507‐3574
LESLIE C COLLINS & MRS RUBY NADINE COLLINS JT TEN   1030 VILLAGIO CIR                      UNIT 106                                                 SARASOTA        FL    34237‐3666

LESLIE C HESKIN                                     7008 FULLBRIGHT AVE                                                                             CANOGA PARK     CA    91306‐3419
LESLIE C LAWSON                                     435 GREENLAWN                                                                                   YPSILANTI       MI    48198‐5994
LESLIE C MC CURDY                                   PO BOX 2687                                                                                     KANSAS CITY     KS    66110‐0687
LESLIE C MILLER                                     4894 EAST NAME ROAD                                                                             ANDERSON        IN    46017‐9731
LESLIE C MONKEMEYER & ANNE MONKEMEYER JT TEN        169 SHADY LN DR                                                                                 BOONE           NC    28607‐4727

LESLIE C MORGAN                                     3889 LEE RIDGE WAY                                                                              LILBURN         GA    30047‐2375
LESLIE C MORRISON & SALLY A MORRISON JT TEN         725 KENT ST                                                                                     PORTLAND        MI    48875‐1714
LESLIE C PARDEE & SHERRY A PARDEE JT TEN            420 NORTH GRAND                                                                                 FOWLERVILLE     MI    48836‐9731
LESLIE C PEARSE                                     127 AVOCET LN                                                                                   CLAYTON         NC    27520‐6789
LESLIE C SEWARD III                                 200 SOUTH BIRCH RD                     APT 1205                                                 FT LAUDERDALE   FL    33316‐1537
LESLIE C SHIVELY                                    PO BOX 86                                                                                       SEBEC           ME    04481‐0086
LESLIE C SUTTON                                     9350 OAK PT‐PO823                                                                               FARWELL         MI    48622‐9645
LESLIE C SWEERIS                                    1103 BALDWIN                                                                                    JENISON         MI    49428‐7905
LESLIE C SWEERIS & BONNIE LOU SWEERIS JT TEN        1103 BALDWIN                                                                                    JENISON         MI    49428‐7905
LESLIE C TRIMBLE                                    PO BOX 1012                                                                                     CHAMA           NM    87520‐1012
LESLIE C WALKER                                     1090 NW 5TH AVE                                                                                 DELROY BEACH    FL    33444‐2947
LESLIE C WIDMYER                                    11202 ELMONT RD                                                                                 ASHLAND         VA    23005‐7703
LESLIE CIGNETTI STROUD                              3669 CRAGSMOOR RD                                                                               ELLICOTT CITY   MD    21042‐4907
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 773 of 855
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

LESLIE CRUZ                                       PO BOX 30571                                                                                   WILMINGTON       DE    19805‐7571
LESLIE D BARNARD                                  6114 CASTLE CREEK RD                                                                           ARLINGTON        TX    76017‐1902
LESLIE D CANTRELL                                 4258 FORD AVE                                                                                  GREENVILLE       OH    45331‐9741
LESLIE D COOPER                                   20736 KNOB WOODS DR                   APT 102                                                  SOUTHFIELD       MI    48076‐4018
LESLIE D EBRIGHT                                  61 LUNT                                                                                        ADRIAN           MI    49221‐4224
LESLIE D GOODRIDGE                                473 MORGAN CT                                                                                  EL DORADO HLS    CA    95762‐3914
LESLIE D GRANQUIST                                1586 HOURAN ST                                                                                 FLINT            MI    48532‐5036
LESLIE D GREEN                                    7398 N CROOKED LAKE DR                                                                         DELTON           MI    49046‐9735
LESLIE D KERBYSON                                 4127 SANDS PARK DR NE                                                                          KALKASKA         MI    49646‐9554
LESLIE D KOVALCIK                                 337 CALVERT PARK                                                                               BEAUMONT         CA    92223‐7396
LESLIE D MC KENZIE                                9364 MADELINE DRIVE                                                                            STOCKTON         CA    95212‐2015
LESLIE D MYERS                                    740 LINCOLN ROAD #37                                                                           OTSEGO           MI    49078‐8706
LESLIE D RUMMINGS                                 3821 ARMITAGE DR                                                                               CHARLOTTE        NC    28269‐8315
LESLIE D SMITH                                    5338 BALDWIN ROAD                                                                              SWARTZ CREEK     MI    48473‐9167
LESLIE D WALTER & DAISEY P WALTER JT TEN          3190 QUAIL RIDGE CIRCLE                                                                        ROCHESTER        MI    48309‐2727
LESLIE DAVIS                                      7123 WEST DESERAMA DR                                                                          TUCSON           AZ    85743
LESLIE DEDRICK BERRY                              772 LASSEN DRIVE                                                                               CORONA           CA    91719‐5979
LESLIE DEGROOT                                    PO BOX P 94                           24 NONQUITT AVE                                          SO DARTMOUTH     MA    02748‐0301
LESLIE DENNIS                                     9 LAWSON FARM RD                                                                               LONDONDERRY      NH    03053‐2644
LESLIE DENNIS CUST MELISSA DENNIS UTMA NH         9 LAWSONFARM RD                                                                                LONDONDERRY      NH    03053‐2644
LESLIE DENNIS CUST MICHELLE DENNIS UTMA NH        9 LAWSONFARM RD                                                                                LONDONDERRY      NH    03053‐2644
LESLIE DUNKLEY                                    100A HERRIOT ST                                                                                YONKERS          NY    10701‐4741
LESLIE E ADAMS                                    4862 BELHAVEN                                                                                  TROY             MI    48098‐4771
LESLIE E CLOUSER                                  3931 18 1/2 MILE RD                                                                            TEKONSHA         MI    49092‐9417
LESLIE E CRAMBLETT                                4161 STANDISH DR                                                                               INDIANAPOLIS     IN    46221‐2438
LESLIE E CRAMBLETT                                6255 PINNACLE BLVD                                                                             INDIANAPOLIS     IN    46237‐3561
LESLIE E GARDNER                                  216 CRESTHILL AVE                                                                              TONAWANDA        NY    14150
LESLIE E GEISERT                                  412 WEST MAIN STREET                                                                           MORRIS           IL    60450‐1737
LESLIE E HANNA                                    176 BENT TWIG LN                                                                               GAITHERSBURG     MD    20878‐2772
LESLIE E HARRIS                                   714 WHITMORE AVE                                                                               DAYTON           OH    45417‐1165
LESLIE E HOY                                      3871 MAPLETON RD                                                                               NORTH            NY    14120‐9509
                                                                                                                                                 TONAWANDA
LESLIE E HUNTINGTON & ALICE M BOCKSTANZ JT TEN    1424 E VW AVE APT 2A                                                                           VICKSBURG        MI    49097‐9737

LESLIE E HYERDALL & CAROL J HYERDALL JT TEN       4513 ARTHUR AVE                                                                                BROOKFIELD       IL    60513‐2321
LESLIE E KANIS                                    PO BOX 152                                                                                     ONTARIO          OH    44862‐0152
LESLIE E LEDOUX II                                6879 #A                               OLD HOSPITAL ST                                          FORT CARSON      CO    80902
LESLIE E MC DIARMID & ALMA MC DIARMID JT TEN      PO BOX 454                                                                                     ALDEN            MI    49612‐0454

LESLIE E MCDIARMID                                 PO BOX 454                                                                                    ALDEN            MI    49612‐0454
LESLIE E PEGG                                      74 KENNEDY                                                                                    MC MINNVILLE     TN    37110
LESLIE E SALMINEN & ILEEN L SALMINEN JT TEN        PO BOX 125                                                                                    CHATHAM          MI    49816‐0125
LESLIE E SMITH                                     2036 COURTLAND AVE                                                                            KETTERING        OH    45420
LESLIE E WAGGETT & DAWN C WAGGETT JT TEN           1331 BEEMER CT                                                                                OXFORD           MI    48371‐4805
LESLIE E WORTHLEY                                  ROUTE 1 BOX 116                                                                               CLIMAX SPRING    MO    65324‐9747
LESLIE E WORTHLEY & BETTY A WORTHLEY JT TEN        1084 CABLE POINT DR                                                                           CLIMAX SPRINGS   MO    65324‐2908
LESLIE EARLE BECKER JR TR PEYTONIA BECKER TRUST UA 2538 N 53RD ST                                                                                KANSAS CITY      KS    66104‐3021
08/13/80
LESLIE EDWARD SMITH                                5936 MCANDREW DR                                                                              OAKLAND          CA    94611‐3135
LESLIE EKBERG ANGELL                               43 WEST STREET                                                                                EAST BRIDGEWATER MA    02333‐1805

LESLIE ELIZABETH BRENNER                          6345 COSTELLO AVE                                                                              VAN NUYS         CA    91401‐2210
LESLIE EUGENE SURBER                              PO BOX 566                                                                                     ROCKAWAY BCH     MO    65740‐0566
LESLIE F CHRISTENSEN                              7134 W WILSON ROAD                                                                             MONTROSE         MI    48457‐9196
LESLIE F LAWRENCE                                 5386 PINE KNOBS ESTATES CT                                                                     NORTH BRANCH     MI    48461‐8806
LESLIE F SHIRLEY CUST LAURA NANCY SHIRLEY UGMA GA 3609 WOODLARK DR                                                                               ROSWELL          GA    30075‐2669

LESLIE F SHIRLEY CUST MARGARET LESLIE SHIRELY UGMA 3609 WOODLARK DR                                                                              ROSWELL          GA    30075‐2669
GA
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 774 of 855
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

LESLIE F SHIRLEY CUST WILLIAM KING SHIRLEY III UGMA 3609 WOODLARK DR                                                                              ROSWELL         GA    30075‐2669
GA
LESLIE F TACEY & SALLY A TACEY JT TEN               868 E NEBOBISL                                                                                ESSEXVILLE      MI    48732
LESLIE F WRIGHT TR LESLIE F WRIGHT REVOCABLE TRUST 6108 BEAVER CREEK RD                                                                           OKLAHOMA CITY   OK    73162‐3412
UA 02/23/95
LESLIE FRANCES HAMILTON                             3443 BRECKENRIDGE RD                                                                          EVERSON         WA    98247‐9265
LESLIE FRASIER                                      6821 FORBES BLVD                                                                              LANHAM          MD    20706
LESLIE FREEDMAN                                     9095A SW 21ST COURT                                                                           BOCA RATON      FL    33428‐7622
LESLIE G BAIRD                                      3373 EGNER AVE NE                                                                             CEDAR SPRINGS   MI    49319‐8843
LESLIE G FERRIS                                     16111 18 MILE RD                                                                              CLINTON TWP     MI    48038‐4534
LESLIE G HISTED                                     4074 FLAJOLE RD                                                                               MIDLAND         MI    48642‐9276
LESLIE G HUGHES                                     7292 W BALTIMOVE HILL RD                                                                      COVINGTON       IN    47932‐7912
LESLIE G HUNZIKER & ALMA HUNZIKER JT TEN            334 FIRESIDE DR                                                                               BOZEMAN         MT    59718‐7248
LESLIE G KIMMEL                                     245 E 24TH ST                                                                                 NEW YORK        NY    10010‐3821
LESLIE G NEMETH                                     12025 POWDER HORN TRAIL                                                                       OTISVILLE       MI    48463‐9762
LESLIE G RESTLE & DONALD RESTLE JT TEN              123 CARIER CIRCLE                                                                             BOARDMAN        OH    44578
LESLIE G STEJSKAL & CONNIE J STEJSKAL JT TEN        21251 CO ROAD 13                                                                              FAIRHOPE        AL    36532‐4742
LESLIE G STEJSKAL & LAURA JEAN STEJSKAL JT TEN      9305 NESBIT LAKES DR                                                                          ALPHARETTA      GA    30022‐4022
LESLIE GAY KNAPP                                    841 NASSAU ROAD                                                                               LEWES           DE    19958‐9700
LESLIE GIBALSKI                                     27 BREWERTON DR                                                                               ROCHESTER       NY    14624‐1936
LESLIE GOODELL                                      221 SHERIDAN AVE                                                                              ROSELLE PARK    NJ    07204‐2422
LESLIE H BRAEKEVELT                                 4425 BETHUY                                                                                   RICHMOND        MI    48064‐2304
LESLIE H BRANDT JR                                  5250 MANKER STREET                                                                            INDIANAPOLIS    IN    46227‐1879
LESLIE H FRENCH                                     1960 S SUNLAND                                                                                RIDGECREST      CA    93555‐7731
LESLIE H GROVER                                     61 OLD STONEFIELD HWY                                                                         PITTSFORD       NY    14534‐9507
LESLIE H HAMLIN                                     353 EASY RD                                                                                   MONTICELLO      GA    31064‐8441
LESLIE H JACKSON                                    2224 JANES                                                                                    SAGINAW         MI    48601‐1860
LESLIE H MEYER & JOAN T MEYER JT TEN                B 238 PO                                                                                      SMITHTON        IL    62285‐0238
LESLIE H NEWMARK                                    40 CROWN CIRCLE                                                                               LAKEWOOD        NJ    08701‐7387
LESLIE H SANTOS                                     2206 ROBAILEY DR                                                                              CHICO           CA    95928‐7630
LESLIE H SHANEYFELT                                 295 PETE DAVIS RD                                                                             NEWNAN          GA    30263‐5027
LESLIE H SPELLINGS IV                               4403 ROPER ROAD                                                                               LUFKIN          TX    75904‐9430
LESLIE H WILBUR TR UA 11/15/1994 FRANCES E          2037 CLOVELLY LANE EAST                                                                       ST AUGUSTINE    FL    32092
HOLCOMB LIVING TRUST
LESLIE H WILLIAMS                                   435 N MARYDELL AVE                                                                            DELAND          FL    32720‐4005
LESLIE HATSTAT JR & MRS NANCY T HATSTAT JT TEN      CHURCH ST                                                                                     WOODBURY        CT    06798

LESLIE HENNER                                     30 S WACKER DR                         STE 1415                                                 CHICAGO         IL    60606‐7404
LESLIE HONFI                                      233 MURRAY AVE                                                                                  YARDVILLE       NJ    08620‐9763
LESLIE J ABROMOVITZ & PHYLLIS MILLER & PAM GOLDEN 6414 NW 23RD LN                                                                                 BOCA RATON      FL    33434‐4327
JT TEN
LESLIE J ALEXANDER                                PO BOX 5900                                                                                     AIKEN           SC    29804‐5900
LESLIE J ALLGEIER                                 22710 CERISE                                                                                    TORRANCE        CA    90505‐2918
LESLIE J ASBURY                                   7 S BALDWIN RESORT RD                                                                           EAST TAWAS      MI    48730‐9460
LESLIE J BLAHA                                    1217 16TH AVE                                                                                   BELMAR          NJ    07719‐2818
LESLIE J BLAHA CUST ALLISON J BLAHA UTMA NJ       1217 16TH AVENUE                                                                                BELMAR          NJ    07719‐2818
LESLIE J BLAHA CUST KATHLEEN L BLAHA UTMA NJ      1217 16TH AVENUE                                                                                BELMAR          NJ    07719‐2818
LESLIE J BLAHA CUST KEVIN E BLAHA UTMA NJ         1217 16TH AVENUE                                                                                BELMAR          NJ    07719‐2818
LESLIE J BLAHA CUST MARGARET M BLAHA UTMA NJ      1217 16TH AVENUE                                                                                BELMAR          NJ    07719‐2818

LESLIE J BLAHA CUST STEVEN J BLAHA UTMA NJ        1217 16TH AVENUE                                                                                BELMAR          NJ    07719‐2818
LESLIE J BROWN                                    6050 EASTVIEW ST                                                                                N RIDGEVILLE    OH    44039
LESLIE J BROWN                                    121 DONALDSON RD                                                                                BUFFALO         NY    14208‐1630
LESLIE J BROWN & DAVID P BROWN JT TEN             6050 EASTVIEW ST                                                                                N RIDGEVILLE    OH    44039
LESLIE J COBB                                     12907 BRISTOLBERRY                                                                              CYPRESS         TX    77429‐3824
LESLIE J CONFIGLIACCO                             BOX 328                                                                                         LEAD            SD    57754‐0328
LESLIE J DALTON                                   919 WHEATLEY AV                                                                                 MODESTO         CA    95351‐2517
LESLIE J DANZEY                                   25 RACK RD                                                                                      CHELMSFORD      MA    01824‐1948
LESLIE J FINN                                     1708 HUNTSMAN DRIVE                                                                             AIKEN           SC    29803‐5240
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 775 of 855
Name                                                Address1                              Address2             Address3          Address4          City            State Zip

LESLIE J FLAGA & SYLVIA A FLAGA JT TEN              17523 MOORS ST                                                                                 FRASER          MI    48026‐4318
LESLIE J OLSEN JR TR UW LESLIE J OLSEN              2929 W LINCOLN HIGHWAY                                                                         MERRILLVILLE    IN    46410‐5144
LESLIE J PATTERSON TR LESLIE J PATTERSON LIVING     4194 AUGUSTINE DR                                                                              STERLING HGTS   MI    48310‐5007
TRUST UA 07/19/96
LESLIE J POLL                                       1359 HOLLYWOOD ST NE                                                                           GRAND RAPIDS    MI    49505‐3841
LESLIE J SCHIVO II                                  5100 VISTA GRANDE DR                  APT 936                                                  ANTIOCH         CA    94531‐8582
LESLIE J SCOTT                                      14156 RIVER LAWN DR                                                                            GRANDVIEW       MO    64030‐4118
LESLIE J TALCOTT & BEATRICE CUNNINGHAM TR UA        205 CALLE LA MONTANA                                                                           MORAGA          CA    94556‐1609
05/18/88 VIOLET M TALCOTT
LESLIE J WATFORD                                    20241 ST MARYS                                                                                 DETROIT         MI    48235‐2134
LESLIE J WATSON                                     6 GLENELIA AVE                        WILLOWDALE ON                          M2M 2K7 CANADA
LESLIE J YOCUM                                      2510 FOREST SPRINGS DR SE                                                                      WARREN          OH    44484‐5615
LESLIE JACKSON                                      4848 ROCKY KNOK LN                                                                             INDIANAPOLIS    IN    46254‐3764
LESLIE JAMES STANFORD JR                            6083 BROWNS LAKE RD                                                                            JACKSON         MI    49203‐5608
LESLIE JAY FISHKIN                                  15 HIXON TERR                                                                                  HOLMDEL         NJ    07733‐1356
LESLIE JONES                                        52 TAMARACK CRESCENT                  LONDON ON                              N6K 3J7 CANADA
LESLIE JOY HATZL CUST KIMBERLY A HATZL UGMA MI      PO BOX 102                                                                                     GAYLORD         MI    49734‐0102

LESLIE K ALEXANDER                                  14139 WHISTLING DUCK COURT                                                                     CHARLOTTE        NC   28273
LESLIE K DAVIS                                      5195 OAKVIEW DR                                                                                SWARTZ CREEK     MI   48473‐1251
LESLIE K GARY                                       4403 S AUSTIN ST                                                                               MILWAUKEE        WI   53207‐5013
LESLIE K HANSEN                                     PMB 416                               17195 SILVER PKWY                                        FENTON           MI   48430
LESLIE K HARP                                       7275 W COUNTY RD 350 SOUTH                                                                     COATESVILLE      IN   46121‐9150
LESLIE K OLSON CUST DANIEL R OLSON UTMA PA          1016 RADLEY DR                                                                                 W CHESTER        PA   19382‐8087
LESLIE K RUFFNER                                    643 BOVARD LUXOR RD                                                                            GREENSBURG       PA   15601‐7775
LESLIE K STRUCINSKI                                 3769 KIDDS MILL RD                                                                             FRANKLINVILLE    NC   27248‐8137
LESLIE KATHLEEN LUETHGE                             122 E WASHINGTON ST                                                                            DEWITT           MI   48820‐8914
LESLIE KAY RAVEN                                    1064 VIA ALTA                                                                                  LAFAYETTE        CA   94549‐2916
LESLIE KLOEPPER & SUSAN OCONNOR JT TEN              5287 CROWFORD GULCH RD                                                                         GOLDEN           CO   80403‐8151
LESLIE KNOTT JR                                     23569 NORTHPORT DR                                                                             CLINTON TOWNSHIP MI   48036‐1224

LESLIE L BURTON                                     2240 OUTER DR                                                                                  SARASOTA         FL   34231
LESLIE L FITZPATRICK & BARRY M FITZPATRICK JT TEN   31120 BERRYHILL                                                                                FARMINGTON HILLS MI   48331‐1341

LESLIE L GALLERO                                    452 SLOCUM ROAD                                                                                AUBURN HILLS    MI    48326‐3838
LESLIE L GLASCO III                                 9978 NORTH ELMS                                                                                BIRCH RUN       MI    48415‐8475
LESLIE L GOCHA                                      7401 TOMA RD                                                                                   DEXTER          MI    48130‐9583
LESLIE L GOODHUE                                    4727 DAPHNE ST                                                                                 NEW PRT RCHY    FL    34652‐4732
LESLIE L GRAHAM                                     1000 N 19TH ST                                                                                 ELWOOD          IN    46036‐1360
LESLIE L LEWIS                                      3529 CENTRAL AVE                                                                               MARION          IN    46953‐4607
LESLIE L MAGUIRE                                    4900 OVERLAND AVE                     #119                                                     CULVER CITY     CA    90230‐4255
LESLIE L MCKNIGHT                                   509 SOMERSET                                                                                   FLUSHING        MI    48433‐1951
LESLIE L PALMER                                     3700 S WESTPORT AVE #2342                                                                      SIOUX CITY      SD    57106‐6344
LESLIE L SCHULTZ                                    11222 DELMAR                                                                                   RICHLAND        MI    49083‐9330
LESLIE L WEBER                                      2411 WEST 59TH STREET                                                                          MISSION HILLS   KS    66208‐1117
LESLIE LAFLEUR                                      61 SARGENT RD                                                                                  WESTMINSTER     MA    01473‐1012
LESLIE LAWSON                                       520 DARNELL DR                                                                                 DAYTON          OH    45431‐2019
LESLIE LAWSON                                       1301 BOONE AIRE RD                    APT A                                                    FLORENCE        KY    41042‐1122
LESLIE LEE SIMMS                                    10105 PLEASANT VALLEY RD                                                                       SOMERVILLE      OH    45064‐9315
LESLIE LEVY O'CONNOR                                717 PEACHTREE TRL                                                                              COLLINSVILLE    IL    62234‐5233
LESLIE LIEN CHEN                                    C/O JEN JYE CHEN                      8925 LIBERTY LANE                                        POTOMAC         MD    20854‐3639
LESLIE LILLY                                        120 FAIRFAX STREET                                                                             DENVER          CO    80220‐6332
LESLIE LOUIS KOPASZ                                 329 VICTORIA BLVD                                                                              BUFFALO         NY    14217‐2216
LESLIE LOUISE KINNEY                                RR #3 BOX 104                                                                                  BRATTLEBORO     VT    05301‐8544
LESLIE LYNN BADER                                   1132 PREL LN                                                                                   LEWISBURG       TN    37091‐6469
LESLIE LYNN CRONQUIST                               PO BOX 65                                                                                      SKULL VALLEY    AZ    86338‐0065
LESLIE LYNN OPULAUOHO                               2002 HOOLAULEA STREET                                                                          PEARL CITY      HI    96782‐1434
LESLIE M BIVIANO                                    40 DURHAM ST                                                                                   ROCHESTER       NY    14609‐7251
LESLIE M CARLS                                      4760 WINTERBERRY CT                                                                            WILLIAMSBURG    VA    23188‐7254
                                                 09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 776 of 855
Name                                                   Address1                             Address2             Address3          Address4          City             State Zip

LESLIE M CARPENTER                                     297 BABBLING BROOK OVAL                                                                       HINCKLEY OH      OH    44233‐9646
LESLIE M CASH                                          1441 NEWTON AVE                                                                               DAYTON           OH    45406‐4256
LESLIE M GOOD                                          63‐11 QUEENS BLVD APT E‐21                                                                    WOODSIDE         NY    11377‐5707
LESLIE M HARTZMAN                                      7651 RATTALEE LAKE RD                PO BOX 286                                               CLARKSTON        MI    48347‐0286
LESLIE M HOLLISTER & MRS NINA E HOLLISTER JT TEN       11204 WEBSTER RD                                                                              CLIO             MI    48420‐8235

LESLIE M HOSACK & ANNA MAY HOSACK JT TEN               10521 PERRY HWY STE 300                                                                       WEXFORD          PA    15090‐9517
LESLIE M KOHUTH & BARBARA KOHUTH JT TEN                ONE QUINTREE LANE                                                                             MELVILLE         NY    11747‐1811
LESLIE M MARTIN                                        23811 CANERWELL ST                                                                            NEWHALL          CA    91321‐3715
LESLIE M PAVER                                         280 S BEVERLY DR SUITE 505                                                                    BEVERLY HILLS    CA    90212‐3908
LESLIE M RIGG                                          1555 CRESCENT HILLS DR                                                                        LA CRESCENT      MN    55947‐9650
LESLIE M ROMAN                                         14266 NW SPRUCERIDGE LN                                                                       PORTLAND         OR    97229‐2377
LESLIE M WHITE                                         P O BOX 60773                                                                                 DAYTON           OH    45406
LESLIE MARIE KUBIN                                     C/O L MCJILTON                       8708 AVONDALE ROAD                                       PARKVILLE        MD    21234‐4202
LESLIE MARIE MARENTETTE                                2504 FALLON DR                                                                                HERNDON          VA    20171‐2963
LESLIE MYERS                                           560 MASON DRIVE                      RUTLEDGE                                                 NEW CASTLE       DE    19720‐7680
LESLIE N BOWEN                                         1730 WHITE                                                                                    LINCOLN PK       MI    48146‐2253
LESLIE N KNOTT                                         460 CLINTON RIVER DR                                                                          MT CLEMENS       MI    48043‐2465
LESLIE N KNOTT JR                                      23569 NORTH PORT                                                                              MT CLEMENS       MI    48036‐1224
LESLIE NAPIER                                          82 TRUMAN AVE                                                                                 FAIRBORN         OH    45324‐2234
LESLIE NAZZARO                                         8730 SOUTH RUSSELL PARK ROAD                                                                  SALTLAKE CITY    UT    84121‐6143
LESLIE NELL KANSAS TR KANSAS FAM TRUST UA              2131 SE 48TH AVE                                                                              HILLSBORO        OR    97123‐7919
06/29/90
LESLIE O FOWLER JR                                     181 E WARD ST                                                                                 ASHEBORO         NC    27203‐5547
LESLIE O WALKER                                        889 5TH ST SW                                                                                 WARREN           OH    44485‐3818
LESLIE P BOGAR                                         115 HERTEL AV                                                                                 BUFFALO          NY    14207‐2618
LESLIE P JOHNSON                                       512 JACKSON LAKE RD                                                                           MANSFIELD        GA    30055‐2503
LESLIE P ROYCE                                         322 MAYBERRY                                                                                  TOLEDO           OH    43609‐1843
LESLIE PALMQUIST                                       PO BOX 244                                                                                    HOWARD           SD    57349‐0244
LESLIE PARKER TOBAKOS                                  8275 HURON CT W                                                                               WHITE LAKE       MI    48386‐2513
LESLIE PAUL YARBROUGH                                  973 W ALMOND AVE                                                                              COMPTON          CA    90220‐2901
LESLIE PAULA FROSCH                                    20036 10TH AVENUE NW                                                                          SHORELINE        WA    98177
LESLIE PHILLIPS                                        297 BABBLING BROOK OVAL                                                                       HINCKLEY         OH    44233‐9646
LESLIE POROSOFF                                        22 OLMSTED RD                                                                                 SCARSDALE        NY    10583‐2324
LESLIE PORTER                                          PO BOX 1845                                                                                   LIMA             OH    45802‐1845
LESLIE R BOND                                          3229 LESLEY AV                                                                                INDIANAPOLIS     IN    46218‐2528
LESLIE R CONE & JAMES W CONE TR LESLIE R CONE          8344 E FREMONT CIRCLE                                                                         ENGLEWOOD        CO    80112‐1818
LIVING TRUST UA 10/9/00
LESLIE R FRISCH TR LESLIE R FRISCH TRUST UA 07/30/93   5224 DURNHAM DR                                                                               WATERFORD        MI    48327‐3115

LESLIE R HILL                                          15507 EVANS RD                                                                                ATHENS           AL    35611‐7351
LESLIE R JOHNSON                                       6567 MOUNTAIN DRIVE                                                                           TROY             MI    48098‐1971
LESLIE R SMITH & CHARLENE M SMITH JT TEN               1138 MEADOWVIEW DRIVE                                                                         WATERFORD        MI    48327‐2962
LESLIE R SMITH SR                                      1138 MEADOWVIEW DRIVE                                                                         WATERFORD        MI    48327‐2962
LESLIE R STELZER                                       22268 PONDVIEW                                                                                NOVI             MI    48375‐5037
LESLIE RAMSEY JR                                       9015 STATE ROUTE 368                                                                          HUNTSVILLE       OH    43324‐9665
LESLIE S COLE                                          40 E SIDNEY AVE APT17J                                                                        MT VERNON        NY    10550‐1420
LESLIE S F CHIN CUST CONSTANCE A CHIN UGMA MD          2454 SUGAR LOAF LANE                                                                          FT LAUDERDALE    FL    33312‐4632

LESLIE S KOBYLINSKI                                    9 SEA CT                                                                                      PORT JEFFERSON   NY    11777‐2174
LESLIE S KRALL TR LESLIE S KRALL TRUST UA 09/14/99     117 CENTRAL WAY                                                                               ANDERSON         IN    46011‐2246

LESLIE S WAGUESPACK                                    2423 HIGHWAY 20                                                                               VACHERIE         LA    70090‐5480
LESLIE S WOJDOWSKI                                     449 OVERBROOK ROAD                                                                            VALENCIA         PA    16059‐3623
LESLIE SCOTT & JIMMY A SCOTT JT TEN                    1415 GARVIN CT                                                                                CANTONMENT       FL    32533‐6878
LESLIE SCOTT JR                                        219 W SOUTH ST                                                                                JACKSON          MI    49203‐4266
LESLIE SCOTT NOE                                       1317 LONGWOOD AVENUE                                                                          BEDFORD          VA    24523‐2204
LESLIE SHAW                                            16606 WHITCOMB ST                                                                             DETROIT          MI    48235‐3880
                                                  09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                           Part 4 of 8 Pg 777 of 855
Name                                                Address1                                Address2                  Address3                Address4                City             State Zip

LESLIE SHEFFIELD & CHRISTINE A SHEFFIELD JT TEN     2061 GOLF STREAM DR                                                                                               INDIANAPOLIS     IN    46229‐4305

LESLIE SHEFFIELD JR & JULIANNE SHEFFIELD JT TEN     2061 GOLF STREAM DR                                                                                               INDIANAPOLIS     IN    46229‐4305

LESLIE SIDES                                        975 MANDALAY AVE                                                                                                  CLEARWATER       FL    33767‐1038
LESLIE SMITH                                        2511 SHERIDAN                                                                                                     DETROIT          MI    48214‐1793
LESLIE SPAULDING                                    PO BOX 393                                                                                                        BREWER           ME    04412
LESLIE SPELKE CUST JENNA SPELKE UGMA NY             75 GREAT OAKS RD                                                                                                  ROSLYN HEIGHTS   NY    11755
LESLIE SUNKEL                                       4011 ARNOLD                                                                                                       HOUSTON          TX    77005‐1909
LESLIE SWANSON                                      98B KINNAIRD STREET                                                                                               CAMBRIDGE        MA    02139‐2914
LESLIE SZAKALLAS CUST DANIEL EDWARD SZAKALLAS       183 GREENE AVE                          #1                                                                        BROOKLYN         NY    11238‐1207
UTMA OH
LESLIE T BEHRENBRINKER                              1409 HAINES RD                                                                                                    LAPEER           MI    48446‐8603
LESLIE T COOKE                                      BURY FARM                               DUNSTABLE RD              CADDINGTON LUTON BEDS   LU1 4AW GREAT BRITAIN
LESLIE T COOKE                                      BURY FARM                               DUNSTABLE RD CADDINGTON   LUTON BEDS              LU1 4AW GREAT BRITAIN
LESLIE T COOKE                                      BURY FARM                               DUNSTABLE RD CADDINGTON   LUTON BEDS              CU1 4AW GREAT BRITAIN
LESLIE T HOWARD & ELEANOR R HOWARD TR HOWARD        29702 MICHELIS ST                                                                                                 LAGUNA NIGUEL    CA    92677‐1685
FAM TRUST UA 04/24/95
LESLIE T PROSSNER                                   9198 SLY HILL ROAD                                                                                                AVA              NY    13303‐1932
LESLIE TURNER HOGE                                  7752 33RD AVE NW                                                                                                  SEATTLE          WA    98117‐4713
LESLIE TUTTLE                                       PO BOX 2994                                                                                                       FRAMINGHAM       MA    01703‐2994
LESLIE V BETTER                                     1300 LAKESIDE AVE                                                                                                 BALTIMORE        MD    21218‐3003
LESLIE V HILL                                       2161 RAINBOW DRIVE                                                                                                LANCASTER        OH    43130
LESLIE V NADEAU                                     RT 2 BOX 42                                                                                                       EARLSBORO        OK    74840‐9401
LESLIE V STALNAKER                                  16016 29TH AVENUE CT E                                                                                            TACOMA           WA    98445‐7205
LESLIE V TYUS                                       19380 WOODCREST ST                                                                                                HARPER WOODS     MI    48225‐2059
LESLIE W BACHE & ELAINE A BACHE JT TEN              25111 NEWTON                                                                                                      DEARBORN         MI    48124‐1219
LESLIE W BELTON                                     3141 SEXTANT DR                                                                                                   FRANKLIN         IN    46131‐9800
LESLIE W COCHRANE & YVONNE M COCHRANE JT TEN        325 N CAUSEWAY                          APT E202                                                                  NEW SMYRNA       FL    32169

LESLIE W DEAL                                       4296 BRADEN RD                                                                                                    BRYON            MI    48418‐9720
LESLIE W DOWDEY                                     2736 MCCLAVE DR                                                                                                   DORAVILLE        GA    30340
LESLIE W GAWLIK CUST DAVID W GAWLIK UTMA MD         3710 TIMBER VIEW WAY                                                                                              REISTERSTOWN     MD    21136‐1831

LESLIE W GAWLIK CUST WILLIAM D GAWLIK UTMA MD       3710 TIMBER VIEW WAY                                                                                              REISTERSTOWN     MD    21136‐1831

LESLIE W JEFFREYS                                   1650 GARGIS LANE                                                                                                  TUSCUMBIA        AL    35674‐6017
LESLIE W KLINK & LORRAINE A KLINK JT TEN            4224 15TH ST                                                                                                      WYANDOTTE        MI    48192‐7010
LESLIE W LEMBERGER                                  2015 CORONADO ST                                                                                                  WAUKESHA         WI    53189‐7501
LESLIE W TRUSCOTT & SHIRLEY M TRUSCOTT JT TEN       3608 PARKWAY DRIVE                                                                                                ROYAL OAK        MI    48073‐6482

LESLIE W TRUSCOTT & SHIRLEY M TRUSCOTT TEN ENT      3608 PARKWAY DR                                                                                                   ROYAL OAK        MI    48073‐6482

LESLIE W WESTINE & ELEANOR H WESTINE JT TEN         135 ORCUTT DR                                                                                                     CHESTER          VT    05143‐9227
LESLIE W YOUNG JR                                   6821 JOYCE STREET                                                                                                 AUSTIN           TX    78757‐2333
LESLIE WARREN NICCUM                                900 NORTH BITTERSWEET LANE                                                                                        MUNCIE           IN    47304‐3252
LESLIE WAZNY                                        2256 ANDERSON                                                                                                     SAGINAW          MI    48603‐3822
LESLIE WEBB                                         4198 HOLLETTS CORNER RD                                                                                           CLAYTON          DE    19938
LESLIE WEBB                                         3 KEATS DR ASHBOURNE HG                                                                                           CLAYMONT         DE    19703‐1513
LESLIE WHITESELL                                    11537 DURANGO DR                                                                                                  LUSBY            MD    20657‐5555
LESLIE WYNNE HALL                                   670 ISLAND                                                                                                        GRASS LAKE       MI    49240
LESLIE Y DEFINO                                     311 E 50TH ST                           APT 2C                                                                    NEW YORK         NY    10022‐7937
LESLIE ZEMTER                                       2880 SW 75TH WA 2208                                                                                              DAVIE            FL    33314‐1034
LESSIE B MILLER                                     111 FIRESTONE CT                                                                                                  DELAWARE         OH    43015‐4281
LESSIE E ARROWOOD                                   314 EVERGREEN ST                                                                                                  WEST MONROE      LA    71292‐6420
LESSIE G MAYS                                       1533 STUART ST                                                                                                    WAYNESBORO       VA    22980‐2462
LESSIE HARRIS                                       505 EAST 120TH ST                                                                                                 CLEVELAND        OH    44108
LESSIE L CAUDLE                                     5914 BALDWIN                                                                                                      FLINT            MI    48505‐5120
LESSIE M PEOPLES                                    3815 MONROE                                                                                                       KANSAS CITY      MO    64128‐2622
                                           09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 778 of 855
Name                                            Address1                              Address2             Address3          Address4          City             State Zip

LESSIE O'BRYANT                                 3664 E CO RD 570                                                                               LUXORA           AR    72358‐5008
LESSIE SUE TURNER                               344 SPRUCE ST                                                                                  MOUNT MORRIS     MI    48458‐1937
LESSIE T OWENS                                  225 W PATTERSON                                                                                KALAMAZOO        MI    49007‐2559
LESSIE WATKINS & PATRICIA F WATKINS JT TEN      41 MARY DAY                                                                                    PONTIAC          MI    48341‐1730
LESSLEY WOOD                                    16 AMHERST LN                                                                                  LUGOFF           SC    29078‐8854
LESTER A ANDERSON II                            PO BOX 5005                                                                                    KINGSVILLE       TX    78364‐5005
LESTER A FISHER                                 803 N VERMONT AVE                                                                              ROYAL OAK        MI    48067‐2023
LESTER A HAWKINS                                917 E EIGHT ST                                                                                 FLINT            MI    48503‐2733
LESTER A HAWKINS & BETTY J HAWKINS JT TEN       917 E 8TH ST                                                                                   FLINT            MI    48503‐2733
LESTER A MCLANE                                 4635 S BELLAMY BLVD                                                                            MARION           IN    46953‐5385
LESTER A MUSSELMAN & JENEVIEVE Z MUSSELMAN JT   8313 TALHELAN ROAD                                                                             CHAMBERSBURG     PA    17201‐9327
TEN
LESTER A WALLACE                                2522 AIRPORT RD                                                                                ADRIAN           MI    49221‐3606
LESTER A WINNING CUST NATHAN E WINNING UTMA     101 9TH ST SE                                                                                  COOPERSTOWN      ND    58425‐7304
ND
LESTER ALLEN DIETSCH                            7720 OLD JENNINGS                                                                              EDEN             NY    14057‐9505
LESTER B DURST                                  2396 MCCLEARY‐JACOBY ROAD                                                                      CORTLAND         OH    44410‐9417
LESTER B JONES                                  1142 12TH AVE                                                                                  WILMINGTON       DE    19808‐4971
LESTER BARILLA                                  629 WALNUT ST                                                                                  KULPMONT         PA    17834‐1339
LESTER BEARD                                    91 GLENWOOD DR                                                                                 WINDSOR          CT    06095
LESTER BENTLEY FISH                             904 LOUST LANE                                                                                 ROBINSON         IL    62454‐0741
LESTER C BARRETT                                2458 S VASSAR RD                                                                               BURTON           MI    48519‐1350
LESTER C BAUM & ELEANOR J BAUM JT TEN           1066 E HICKORY GROVE RD                                                                        URBANA           OH    43078‐9475
LESTER C EASTWOOD                               13345 MERCER DR                                                                                ALDEN            NY    14004‐1115
LESTER C EASTWOOD & BETTY H EASTWOOD JT TEN     13345 MERCER DR                                                                                ALDEN            NY    14004‐1115

LESTER C HARTZELL                               742 CAPMAN ST                                                                                  MILTON           WI    53563‐1202
LESTER C PERRY                                  1522 PHILLIPS RUN RD                                                                           SUMMERSVILLE     WV    26651‐4065
LESTER C PURDY                                  48592 LAKEVIEW E                                                                               SHELBY TWP       MI    48317‐2733
LESTER C SACHS JR                               10015 N 600 W                                                                                  FOUNTAINTOWN     IN    46130‐9550
LESTER C SINGLETON                              PO BOX 74                                                                                      BURNSVILLE       WV    26335‐0074
LESTER C WALBECK                                2633 STONEYRIDGE DRIVE                                                                         MADISON          OH    44057‐3435
LESTER CARTER JR                                821 EARLY RD                                                                                   YOUNGSTOWN       OH    44505‐3958
LESTER CHARLES ELSTON                           PO BOX 5225                                                                                    LK MONTEZUMA     AZ    86342
LESTER CIEPIELA                                 4456 BEACH RIDGE RD                                                                            LOCKPORT         NY    14094‐9619
LESTER COLLINS                                  259 ROCHELLE PHILLIPS LN                                                                       HUNTSVILLE       TN    37756‐3178
LESTER COSBY                                    2660 NADEAU RD                                                                                 MONROE           MI    48162‐9392
LESTER D ARSTARK                                5 HEDGE ROW RD                                                                                 PRINCETON        NJ    08540‐5047
LESTER D BRINSON                                408 CHERYL DR                                                                                  MUNCIE           IN    47304‐3447
LESTER D DAVIS & FRANCES L DAVIS JT TEN         7548 W HILLCREST DR                                                                            WARSAW           IN    46580‐8377
LESTER D HERITAGE                               22E COHAWKIN RD                                                                                CLARKSBORO       NJ    08020‐1345
LESTER D MOORE                                  1639 E BLACKFORD AVE                                                                           EVANSVILLE       IN    47714‐2041
LESTER D MOORE & JOYCE A MOORE JT TEN           1639 E BLACKFORD AVE                                                                           EVANSVILLE       IN    47714‐2041
LESTER D OLIN                                   200 CLIFT ST                                                                                   MYSTIC           CT    06355‐1725
LESTER D ROACH & MARJORIE A ROACH JT TEN        1221 HICKORY LANE                                                                              ZIONSVILLE       IN    46077‐1930
LESTER D ROACH & MARJORIE A ROACH JT TEN        1221 HICKORY LANE                                                                              ZIONSVILLE       IN    46077‐1930
LESTER D SHELBY                                 24 TURKEY HILLS DR                                                                             TROY             MO    63379‐4166
LESTER D WILKES                                 APT 1305                              1 SMETON PL                                              TOWSON           MD    21204‐2738
LESTER DEAK                                     4554 MEYER RD                                                                                  NORTH            NY    14120‐9525
                                                                                                                                               TONAWANDA
LESTER E BAILEY                                 1335 COMMUNITY PARK                                                                            COLUMBUS         OH    43229‐2258
LESTER E BRIDGES                                22157 LESTER LN                                                                                LAWSON           MO    64062‐8134
LESTER E CULPEPPER                              PO BOX 4881                                                                                    CORPUS CHRISTI   TX    78469‐4881
LESTER E GODDEN                                 310 N 5TH ST                                                                                   CLEAR LAKE       IA    50428‐1613
LESTER E KENSER                                 7204 EDENTON‐PLEASANT PL                                                                       PLEASANT PLAI    OH    45162
LESTER E NEED                                   5190 E COUNTY RD 350N                                                                          DANVILLE         IN    46122‐9541
LESTER E NEED & MARGRETTE C NEED JT TEN         5190 E 350 N                                                                                   DANVILLE         IN    46122
LESTER E NEWELL                                 RR 4 BOX 4746                                                                                  CASSVILLE        MO    65625‐9409
LESTER E PFEIFER                                822 S WISCONSIN DR                                                                             JEFFERSON        WI    53549‐1882
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 779 of 855
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

LESTER E SLOCUM JR & LUELLA J SLOCUM JT TEN         PO BOX 166                                                                                      CONVERSE           TX    78109
LESTER E SMITH & ANNA ARLENE SMITH TEN ENT          32 HILLSIDE AVE                                                                                 SOUDERTON          PA    18964‐1706
LESTER E SOLOMAN                                    2550 S TELEGRAPH/STE 101                                                                        BLOOMFIELD HILLS   MI    48302‐0951

LESTER E WHITT & ETHEL J WHITT JT TEN               504 BAYTREE CT                                                                                  WINSTON SALEM      NC    27127‐4944
LESTER ELLSWORTH BULLOCK & SANDRA JEANNE            PO BOX 364                                                                                      MOORCROFT          WY    82721‐0364
BULLOCK JT TEN
LESTER F HALLA JR                                   1409 SIENNA DR                                                                                  ARLINGTON          TX    76002‐3668
LESTER F HALLA JR & MARYANN E HALLA JT TEN          1409 SIENNA DR                                                                                  ARLINGTON          TX    76002‐3668
LESTER G BORDEN                                     2634 AL HWY 101                                                                                 MOUNT HOPE         AL    35651‐9437
LESTER G LA RIVIERE                                 2951 ELMWOOD ST                                                                                 STOCKTON           CA    95204‐3906
LESTER G MAXEY                                      6373 DRY HILL RD                                                                                FERRUM             VA    24088‐2644
LESTER G MILLER & BARBARA J MILLER JT TEN           317 W 11TH ST                                                                                   RUSHVILLE          IN    46173‐1242
LESTER G NIXON                                      ROUTE 2                                60 GAY ST                                                LONDON             OH    43140‐9677
LESTER G REID                                       2497 SW 163 AVE                                                                                 MIAMI              FL    33027‐4429
LESTER G RUMMEL                                     17168 RD 6                                                                                      MONTPELIER         OH    43543‐9514
LESTER H ALEXANDER                                  4680 JEFFERSON DAVIS BLVD W                                                                     ESTERO             FL    33928‐2688
LESTER H BLACK                                      8554 LYTLE RD                                                                                   CORUNNA            MI    48817‐9517
LESTER H BLADES JR                                  1597 PEACH BASKET RD                                                                            FELTON             DE    19943
LESTER H BLADES SR & ALICE L BLADES JT TEN          1652 PEACH BASKET RD                                                                            FELTON             DE    19943‐5643
LESTER H HARMEL                                     HOMELESS                                                                                        ROSEDALE           MD    21237
LESTER H KLEEN                                      580 JOAN                                                                                        MASON              MI    48854‐9546
LESTER H LEMASTER                                   898 COUNTY ROAD 430                                                                             SAN SABA           TX    76877‐8835
LESTER H MURAMOTO & MRS HENRIETTA S                 45‐733 KO ST                                                                                    KANEOHE OAHU       HI    96744‐3438
MURAMOTO JT TEN
LESTER H WILLEY & CAROL A WILLEY JT TEN             10770 FAWN ROAD                                                                                 GREENWOOD          DE    19950‐5802
LESTER HADDOX SR                                    PO BOX 365                                                                                      COLUMBIA           MS    39429‐0365
LESTER HALL                                         3326 MICHAEL AVE APT 100                                                                        BEDFORD            IN    47421‐3537
LESTER HALL                                         2229 GOLFVIEW DR                                                                                KALAMAZOO          MI    49001‐5283
LESTER HERB & MRS HELEN HERB JT TEN                 120 PLUM ST                                                                                     WAYLAND            MI    49348‐1328
LESTER HINKLE                                       6217 VINEYARD TRCE                                                                              AMELIA             OH    45102‐2317
LESTER HOMAN                                        2307 STATE STREET                                                                               CHESTER            IL    62233‐1145
LESTER HUGH KNIGHT                                  627 WILSON PARK DRIVE                                                                           WEST CARROLLTON    OH    45449‐1660

LESTER I MARCH                                      4167 N BELSAY RD                                                                                FLINT              MI    48506‐1633
LESTER J BAUER                                      501 N ELLICOTT CREEK RD                                                                         AMHERST            NY    14228‐2324
LESTER J CHURNEY JR                                 730 LEISURE LN                                                                                  GREENWOOD          IN    46142‐8319
LESTER J CLINTON TR LESTER J CLINTON LIVING TRUST   45815 BERTHOUD DR                                                                               MACOMB             MI    48044‐3824
UA 11/16/95
LESTER J CONVIS                                     608 LUCE                                                                                        FLUSHING        MI       48433‐1430
LESTER J CRISPELL                                   9652 SIEGLER COURT                                                                              NECEDAH         WI       54646
LESTER J DUFF                                       319 MORGAN AVE                                                                                  OLD BRIDGE      NJ       08857‐1126
LESTER J HILGER                                     241 N MCARDLE RD                                                                                TAWAS CITY      MI       48763‐9747
LESTER J MC NANY JR                                 824 GOLFSIDE LN                                                                                 SEBRING         FL       33872‐4323
LESTER J MILLIGAN                                   301 HOLMES                                                                                      YPSILANTI       MI       48198‐3038
LESTER J ROHNE                                      230 COUNTRY POINTE CT                                                                           WENTZVILLE      MO       63385‐5431
LESTER J WILIMCZYK                                  14036 MARILYN TERRACE                                                                           ORLAND PARK     IL       60467‐7466
LESTER J WILLIAMS                                   322 SUNSET DRIVE                                                                                HUDSON          MI       49247‐9719
LESTER J WORDEN                                     2288 CHAPIN ST                                                                                  GRAND BLANC     MI       48439‐4206
LESTER JOHN NELSON                                  17923 CANHILL RD                                                                                LUCERNE VALLEY  CA       92356‐9079
LESTER JOHN STEPHENS JR                             30 MOUNTAIN CUT                                                                                 MANHASSET       NY       11030‐3641
LESTER K DAVIS                                      PO BOX 14                              287 MAIN STREET                                          WEST FARMINGTON OH       44491‐9712

LESTER K FLEENER                                    4690 UPPER BRUSH CREEK RD                                                                       HUSTONVILLE        KY    40437‐9009
LESTER K LUALLIN & BETTY L LUALLIN JT TEN           6405 NE HAZEL DELL AVE                 APT B4                                                   VANCOUVER          WA    98665‐8656
LESTER KAGAN & MRS MARY KAGAN JT TEN                1302 N SUTTON PLACE                                                                             CHICAGO            IL    60610‐2008
LESTER KOLOM & MRS ETHEL KOLOM JT TEN               ATTN ETHEL KOLOM                       2955 W FARWELL                                           CHICAGO            IL    60645‐2925
LESTER L ALBRECHT                                   3202 TIMBERWAY DRIVE                                                                            PINCKNEY           MI    48169
                                               09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 780 of 855
Name                                                Address1                               Address2             Address3          Address4          City            State Zip

LESTER L ANDERSON & DOROTHA M ANDERSON JT TEN 20713 DURBIN RD                                                                                       NOBLESVILLE     IN    46060‐9330

LESTER L ERICKSON                                   1804 VERMEER DRIVE                                                                              KETTERING       OH    45420‐2935
LESTER L FORTNER                                    4964 E HADLEY RD                                                                                MOORESVILLE     IN    46158‐6618
LESTER L GLEASON                                    199 DOOLIN LAKE RD                                                                              MORGANTOWN      KY    42261‐8338
LESTER L GROOMS                                     6079 E CENTENARY RD                                                                             MOORESVILLE     IN    46158‐6869
LESTER L HANNAHS                                    155 BROOKSHORE                                                                                  CHIPPEWA LAKE   OH    44215‐9708
LESTER L HENRY                                      700 E COURT ST                         APT 202                                                  FLINT           MI    48503‐6222
LESTER L KERSEY & WILMA J KERSEY JT TEN             3808 BRIAN PL                                                                                   CARMEL          IN    46033‐4426
LESTER L LIPSCOMB                                   6705 SCOTT LAKE DRIVE                                                                           COMSTOCK PARK   MI    49321‐9559
LESTER L MCELHANNON                                 1873 HIGHWAY 82                                                                                 STATHAM         GA    30666‐1924
LESTER L RENAULD                                    853 GENEVA ST                                                                                   LEHIGH ACRES    FL    33936‐1133
LESTER L ROBINSON                                   549 WILLIS AVE                                                                                  YOUNGSTOWN      OH    44511‐1562
LESTER L TANNER                                     4230 LEITH STREET                                                                               BURTON          MI    48509‐1035
LESTER L TITUS TR LESTER L TITUS REVOCABLE LIVING   2102 ARLEIGH RD                                                                                 CINNAMINSON     NJ    08077‐3604
TRUST UA 6/25/04
LESTER L TOLLIE & MRS NANCY TOLLIE JT TEN           10020 PERRY DR                                                                                  OVERLAND PARK   KS    66212‐5418
LESTER L WINKLER                                    1007 HALFACRE AVENUE                                                                            ENGLEWOOD       OH    45322‐2422
LESTER LEE COLE                                     5803 OAK LEAF LN                                                                                GREENWOOD VLG   CO    80121‐1560

LESTER LEE JONES                                    5213 SE HARBOR TERR                                                                             STUART           FL   34997‐6966
LESTER LYNCH                                        6036 IMPERIAL HILL DR                                                                           DAYTON           OH   45414‐2820
LESTER M BROWNING                                   345 E FRANKLIN                                                                                  SHELBYVILLE      IN   46176‐1653
LESTER M CAREY                                      PO BOX 353                             209 STUART DR                                            SPENCER          OH   44275‐0353
LESTER M HENZE                                      5160 GRASSY CREEK RD                                                                            LUTTS            TN   38471‐5209
LESTER M MASSIE                                     2291 HOWE RD                                                                                    BURTON           MI   48519‐1129
LESTER M SAVAGE                                     24922 DARTOWN ROAD                                                                              SHERIDAN         IN   46069‐9323
LESTER M SMITH                                      10990 SOUTHWEST BANNOCH ST                                                                      TUALATIN         OR   97062‐7128
LESTER MUEHLIUS                                     W 1058 MUEHLIUS DR                                                                              LOMIRA           WI   53048‐9704
LESTER NELSON                                       111 PLEASANT RIDGE RD                                                                           HARRISON         NY   10528‐1226
LESTER O HOMRIGHAUSEN                               13645 BOTKIN RD                                                                                 CENTERVILLE      KS   66014
LESTER OWNBEY                                       393 HELMHURST DR SE                                                                             CLEVELAND        TN   37323‐9157
LESTER P HOGSHEAD                                   5681 OAK VILLA LANE                                                                             HARRISONBURG     VA   22801‐3940
LESTER P JOLIVET                                    2101 RAIN DROP CIRCLE                                                                           PITTSBURG        CA   94565‐1747
LESTER P MCGILVRAY JR                               52 DAVID ROAD                                                                                   BELLINGHAM       MA   02019‐1610
LESTER P SHEA & MRS GLORIA I SHEA JT TEN            7520 CYPRESS KNOLL DR                                                                           NEW PRT RCHY     FL   34550‐3532
LESTER P SWAN                                       3566 E 500 S                                                                                    MIDDLETOWN       IN   47356
LESTER P THOMAS                                     29433 PARAMOUNT CT                                                                              FARMINGTON HILLS MI   48331‐1968

LESTER PATRICK HELMER & BETTY HELMER JT TEN         8 BLOOMSBURY SQ                                                                                 SAN ANTONIO     TX    78218‐3014
LESTER R ADAMS JR                                   257 FAIRVIEW                                                                                    MIDLAND         PA    15059‐1105
LESTER R BARTIMAY                                   25 CONGRESSIONAL PL                                                                             SPRINGBORO      OH    45066‐9502
LESTER R CHAFFIN                                    4352 BAY RD                            # 101                                                    SAGINAW         MI    48603‐1206
LESTER R FARLEY & PATRICIA A FARLEY JT TEN          727 FOX BOW DR                                                                                  BEL AIR         MD    21014‐5209
LESTER R MILLER & BARBARA J MILLER JT TEN           205 HURON ST                                                                                    HORICON         WI    53032‐1560
LESTER R PENARANDA & CONCHITA M PENARANDA JT        5441 DAVIS ST                                                                                   SKOKIE          IL    60077‐1156
TEN
LESTER R SHROYER                                    609 CROTTY DR                                                                                   ERIE            PA    16511‐2128
LESTER R SMITH CUST TAMARA SMITH UGMA CA            3745 ROBERTA ST                                                                                 LOS ANGELES     CA    90031‐1645
LESTER R SMITH CUST TAMARA SMITH UTMA CA            3745 ROBERTA ST                                                                                 LOS ANGELES     CA    90031‐1645
LESTER ROBERTS                                      4340 OVERLAND TRAIL                                                                             KETTERING       OH    45429‐1836
LESTER S CANTARELLA                                 161 E IROQUOIS RD                                                                               PONTIAC         MI    48341‐1610
LESTER S GARRIS JR                                  PO BOX 198                                                                                      BRANCHVILLE     NJ    07826‐0198
LESTER S PARSONS JR                                 1417 N VERNON ST                                                                                ARLINGTON       VA    22201‐4833
LESTER S PASIK & MRS HELEN ANN PASIK JT TEN         1000 LAKESHORE DRIVE                                                                            CHICAGO         IL    60611‐1308
LESTER S WOODS                                      16834 TRACEY                                                                                    DETROIT         MI    48235‐4023
LESTER SILLMON                                      94 MARTHA ST                                                                                    BUFFALO         NY    14215‐2841
LESTER SOLDAN                                       992 CAMERON                                                                                     PONTIAC         MI    48340‐3214
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 781 of 855
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

LESTER SUMMERFIELD & WENDY SUMMERFIELD JT TEN 347 VENUS STREET                                                                                 THOUSAND OAKS   CA    91360‐2960

LESTER T COUSINO                                  2152 WHITE EAGLE PASS                                                                        SWARTZ CREEK    MI    48473‐9747
LESTER T SCHETROMPF                               2422 HARTLEY PLACE                                                                           WILMINGTON      DE    19808‐4244
LESTER TANNER                                     3317 E ANDERSON DR                                                                           PHOENIX         AZ    85032‐2018
LESTER V SWIFT & WINONA T SWIFT JT TEN            10344 WOODYARD RD                                                                            GREENWOOD       DE    19950
LESTER W BRYANT                                   2140 NORTH COUNTY RD 600 EAST                                                                AVON            IN    46123‐9579
LESTER W BRYANT & MARGARET L BRYANT JT TEN        2140 N COUNTY RD 600 EAST                                                                    AVON            IN    46123‐9579
LESTER W DEEGAN                                   1616 N 1ST ST                                                                                DE KALB         IL    60115‐1837
LESTER W EADS                                     5770 STATE ROAD 39                                                                           MARTINSVILLE    IN    46151‐9180
LESTER W FIKE                                     PO BOX 23                                                                                    DEERFIELD       OH    44411‐0023
LESTER W HICKS                                    148 CROSS AVENUE                                                                             NEW CASTLE      DE    19720‐2054
LESTER W HUDSON                                   472 CHEYENNE CIR                                                                             BEECHGROVE      TN    37018‐3209
LESTER W KATZ CUST PETER A KATZ U/THE R I UNIFORM 487 MORRIS AVE                                                                               PROVIDENCE      RI    02906‐3529
GIFTS TO MINORS ACT
LESTER W MC MACKIN JR & DOROTHY J MC MACKIN JT 23715 W ROUTE 20                                                                                MARENGO         IL    60152
TEN
LESTER W PETERSON                                 2223 S ARCH ST                                                                               JANESVILLE      WI    53546‐5955
LESTER W REAS & CLARENCE H REAS JT TEN            325 W SYCAMORE ST                                                                            ANAHEIM         CA    92805‐2637
LESTER WEGRZECKI                                  203 RIDGEMONT RD                                                                             GROSSE POINTE   MI    48236
LESTER WHITAKER                                   1345 MARIPOSA CIR                   APT 101                                                  NAPLES          FL    34105‐7257
LESZEK GRABOWSKI                                  5200 KELLER SPRING 1237                                                                      DALLAS          TX    75248‐2751
LETA ANN FALLE                                    4500 CUSTIS DR                                                                               ROCKVILLE       MD    20853‐1208
LETA E WOODS                                      2844 EVERGREEN ROAD                                                                          FARGO           ND    58102‐1713
LETA HESSLER TR UA 09/07/90 THE LETA HESSLER 1990 108 EDGEHILL DRIVE                                                                           SAN CARLOS      CA    94070‐4507
REVOCABLE TRUST
LETA J HENRY                                      1026 LEXINGTON AVE                                                                           MANSFIELD       OH    44907‐2248
LETA L WEISBROD                                   RD3                                                                                          CANASTOTA       NY    13032‐9803
LETA S HENDERSON                                  329 CLAUDIA STREET                                                                           ARLINGTON       TX    76010‐2015
LETCHER COMBS                                     293 E PIKE STREET                                                                            SOUTH LEBANON   OH    45065‐1238
LETCHER ROSS                                      487 NORTHAMPTON ST                                                                           BUFFALO         NY    14208‐2450
LETCHER TURNER JR                                 1239 WILEY                                                                                   FAIRBORN        OH    45324‐3276
LETHA C LONBERGER                                 4912 E 70TH ST                                                                               INDIANAPOLIS    IN    46220‐3848
LETHA E NOBLE                                     21 TUNES BROOK DR                                                                            BRICKTOWN       NJ    08723‐6635
LETHA E NOBLE & ALBERT K NOBLE JT TEN             21 TUNES BROOK DRIVE                                                                         BRICKTOWN       NJ    08723‐6635
LETHA I TERRYAH & DENNIS E SPURLOCK JT TEN        3785 GROVELAND RD                                                                            ORTONVILLE      MI    48462‐9048
LETHA J WALZ                                      308 HOWELL AVE                                                                               BRUSH           CO    80723‐1730
LETHA M SMITH                                     7307 S PLUM TREE                                                                             PUNTA GORDA     FL    33955‐1117
LETHA P TENNANT                                   2809 RANDOLPH N W                                                                            WARREN          OH    44485‐2522
LETHA S EVANS TR UA 10/12/92 M‐B LETHA S EVANS    515 FINCASTLE LN                                                                             FT WRIGHT       KY    41011‐5135

LETHA V WAGNER & HARRY L WAGNER & NANCY S        13929‐80 AVE N                                                                                SEMINOLE        FL    34646
KENNON JT TEN
LETHIA SMITH                                     805 ST CHARLES RD                                                                             NORTH MYRTLE    SC    29582‐2845
                                                                                                                                               BEACH
LETICIA A LANE                                   609 N HOLM CIR DR                                                                             NOGALES         AZ    85621‐2122
LETICIA ASHER                                    6334 DEERBROOK RD                                                                             OAK PARK        CA    91377‐5803
LETICIA C VILLANUEVA                             APT NO 6‐B                           330 WEST 45TH ST                                         NEW YORK        NY    10036‐3853
LETICIA DONEY                                    31339 JOHN HAUK                                                                               GARDEN CITY     MI    48135‐1495
LETICIA DORR                                     16075 PASEO LARGAVISTA                                                                        SAN LORENZO     CA    94580
LETICIA G BUNI TOD JOHN TYRONE G BUNI            626 E 20TH ST                        APT 1C                                                   NEW YORK        NY    10009‐1510
LETICIA GARZA                                    2549 WOODMERE                                                                                 DETROIT         MI    48209‐1083
LETICIA M HOOK                                   20003 N 23RD AV 137N                                                                          PHOENIX         AZ    85027‐4158
LETICIA RODRIGUEZ & ALMA D RODRIGUEZ JT TEN      9245 MASSASOIT AVE                                                                            OAK LAWN        IL    60453‐1657
LETICIA TORRES                                   3545 W 58TH ST                                                                                CHICAGO         IL    60629‐3807
LETILIA V MATLOCK                                38 WEST STREET                                                                                BORDENTOWN      NJ    08505‐1750
LETITIA COPELAND BIDDLE                          200 W WASHINGTON SQ                  APT 4005                                                 PHILADELPHIA    PA    19106‐3572
LETITIA JOHNSTON KIMBROUGH                       PO BOX 1658                                                                                   DAVIDSON        NC    28036‐1658
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 782 of 855
Name                                                 Address1                            Address2               Address3        Address4                    City             State Zip

LETITIA MAY NEWELL                                   262 OHIO AVENUE                                                                                        FORT MEYERS      FL    33931‐2829
                                                                                                                                                            BEACH
LETITIA MEISSNER                                     239 EAGLE ROCK AVE                                                                                     ROSELAND         NJ    07068‐1715
LETITIA YVETTE DIXON                                 4322 CLEVEMONT RD                                                                                      ELLENWOOD        GA    30294‐1329
LETIZIA BOVE                                         39 EMERSON CT                                                                                          WESTBURY         NY    11590‐4414
LETIZIA CIANO                                        135‐36 246 ST                                                                                          ROSEDALE         NY    11422‐1633
LETIZIA G KAFTAN TR UA 11/13/2006 LETIZIA G KAFTAN   3515 64TH ST                                                                                           SAUGATUCK        MI    49453
TRUST AGREEMENT
LETIZIA GALLUCIO                                     1168 OLD LANCASTER PIKE                                                                                HOCKESSIN        DE    19707‐9501
LETORA THOMPSON                                      430 W FLINT PARK BLVD                                                                                  FLINT            MI    48505‐6309
LETTA BUTCHER                                        212 SUMMIT ST                                                                                          LOCKPORT         NY    14094‐4860
LETTA M ZOMBAR                                       9530 CHAFFEE DODGEVILLE RD                                                                             N BLOOMFIELD     OH    44450‐9525
LETTIE A NEASE                                       CONDOS                              602 N MAY                                                          MESA             AZ    85201‐7509
LETTIE D COX                                         22522 RAY                                                                                              DETROIT          MI    48223‐2576
LETTIE E HADLEY                                      1537 CINCINNATI AVE                                                                                    ANDERSON         IN    46016‐1980
LETTIE F BURNS                                       966 DORIS JANE AVENUE                                                                                  FAIRFIELD        OH    45014‐2814
LETTIE F SPARKS                                      266 FRIENDSHIP CT                                                                                      ANDERSON         IN    46013‐1047
LETTY APFEL TR THE LETTY APFEL REV TRUST UA          26910 GRAND CENTRAL PKWY            APT 16O                                                            FLORAL PARK      NY    11005‐1016
04/02/97
LETTY GREENBERG                                      9430 POINCIANA PL APT 106                                                                              DAVIE            FL    33324
LETTY L LARKIN                                       6501 REDHOOK PLAZA STE 201          ST THOMAS VI                           802 VIRGIN ISLANDS OF THE
                                                                                                                                USA
LETTYLOU P RICHARDS                                  5218 OAK TREE DR                                                                                       KETTERING        OH    45440‐2551
LETTYLOU PORTS                                       5218 OAK TREE DR                                                                                       KETTERING        OH    45440‐2551
LEV M HOROWITZ & REGINA HOROWITZ JT TEN              80‐50 235TH ST                                                                                         QUEENS VILLAGE   NY    11427‐2120
LEV POMPUSHKO                                        9045 NORTH 86TH PLACE                                                                                  SCOTTSDALE       AZ    85258‐1926
LEVA S MARTIN                                        1031 S 17TH ST                                                                                         KOKOMO           IN    46902‐1923
LEVADA HOWARD HAY                                    C/O ARDITH HAY BEADLES              2201 MONTHAVEN DRIVE                                               DURHAM           NC    27712‐1928
LEVADA R AUSTIN                                      2444 AZTEC                                                                                             WIXOM            MI    48393‐2127
LEVAN L PADGETT                                      15560 BELLAIRE                      ALLEN PK                                                           ALLEN PARK       MI    48101‐1104
LEVAN WARTHAW JR                                     1232 RIDGE POINT DR                                                                                    INDIANAPOLIS     IN    46234
LEVANT M PENFIELD JR                                 6790 BERRYHILL STREET                                                                                  MILTON           FL    32570‐4789
LEVELL HILDRETH                                      3401 SANTA CLARA CT                                                                                    FLINT            MI    48504‐3234
LEVELL PENNINGTON                                    1199 SUNRISE WAY                                                                                       MILPITAS         CA    95035‐6239
LEVELLE M CUNNINGHAM                                 26460 BERG RD                       APT 1127                                                           SOUTHFIELD       MI    48033‐8613
LEVERN MORRIS                                        237 W POPLAR ST                                                                                        CHARLESTON       SC    29403‐3322
LEVERNE L CHRISTIAN                                  8016 BRADDOCK                                                                                          UNIVERSITY CY    MO    63130‐1236
LEVESTER CALLIEHAM JR                                5247 ANTHONY ST                                                                                        MAPLE HEIGHTS    OH    44137‐1315
LEVESTER PRINTUP                                     819 CARRIAGE HILL LN                                                                                   HAMILTON         OH    45013
LEVETTA C GUPTON                                     313 LYNWOOD CIR                                                                                        SPRINGFIELD      TN    37172‐4234
LEVETTE ROBINSON JR                                  616 ROUNDVIEW RD                                                                                       BALTIMORE        MD    21225‐1429
LEVI B JILES                                         506 NINTH                                                                                              BAY CITY         MI    48708‐6447
LEVI C ALDERFER & ARLENE H ALDERFER TEN ENT          576 KELLER RD                                                                                          TELFORD          PA    18969‐2435
LEVI D TURNER                                        18525 WESTMORELAND                                                                                     DETROIT          MI    48219
LEVI DAVIS                                           4700 S MICHIGAN                                                                                        CHICAGO          IL    60615‐1003
LEVI F ROHRER & IRENE S ROHRER TEN ENT               754 DOE RUN RD                                                                                         LITITZ           PA    17543‐8711
LEVI F SELL                                          635 HIGH ST                                                                                            ELYRIA           OH    44035‐3149
LEVI FORDHAM                                         6 SUMMIT GROVE SWANVIEW             PERTH                                  6056 AUSTRALIA
LEVI L ROARK                                         3777 SHUTTERLEE MILL RD                                                                                STAUNTON         VA    24401‐6311
LEVI N NELSON                                        PO BOX 68                                                                                              GREENPOND        AL    35074‐0068
LEVI O OLSON                                         4039 N HALL RD                                                                                         WHITEWATER       WI    53190‐3525
LEVI P WEBB                                          207 WOODBINE AVE                                                                                       ROME             GA    30165
LEVI PEREZ                                           2727 GATEWAY ST #20                                                                                    SPRINGFIELD      OR    97477
LEVI ROGERS JR                                       5605 MAC ARTHUR DRIVE                                                                                  FORT WORTH       TX    76112‐7631
LEVI S DASSANCE                                      145 S 35 MILE ROAD                                                                                     CADILLAC         MI    49601‐9141
LEVI T MIRACLE                                       5622 SCOFIELD‐CARLETON ROAD                                                                            CARLETON         MI    48117‐9596
LEVI W GOULD                                         409 NAVAJO DR                                                                                          PIEDMONT         MO    63957‐1236
LEVI WILLIAMS                                        1525 KINGSGATE RD                                                                                      OKLAHOMA CITY    OK    73159‐7617
LEVIA F GRAY                                         23503 PARK PLACE DR                                                                                    SOUTHFIELD       MI    48033‐7125
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 783 of 855
Name                                            Address1                            Address2             Address3          Address4          City              State Zip

LEVIA MCALEE                                    1816 BRADDOCK DR                                                                             CROFTON          MD     21114‐3256
LEVIE A BARTON                                  188 NAPIER RD                                                                                LAWRENCEBURG     TN     38464‐6777
LEVIO DE ZORDO                                  859 MILLER AVE                                                                               SO SAN FRANCISCO CA     94080‐2434

LEVIS NELSON                                      174 POPLAR SPRINGS CT                                                                      DALLAS            GA    30157‐5256
LEVIS U STEPHANSKY TR LEVIS U STEPHANSKY TRUST UA 7323 DELTA COMMERCE DR            # 17                                                     LANSING           MI    48917‐1069
7/09/01
LEVOID L VICKERS JR                               17571 MARK TWAIN ST                                                                        DETROIT           MI    48235‐2712
LEVON BROOKS                                      4312 W WASHINGTON ST                                                                       INDIANAPOLIS      IN    46241‐0822
LEVON G MANOOGIAN CUST RICHARD CHARLES            3901 STONEBRIDGE LN                                                                        RANCHO SANTA FE   CA    92091‐4546
MANOOGIAN UGMA CA
LEVON MANNING                                     4250 CHRISTY CREEK RD                                                                      MOREHEAD          KY    40351‐9075
LEVON P ELLISON                                   2550 TROY CENTER DR                                                                        TROY              MI    48084‐4776
LEVON PIERRIE                                     1475 WOODCREST DRIVE                                                                       ROSWELL           GA    30075‐4133
LEVON S JOHNSON                                   5711 BEECHWOOD DR                                                                          JACKSON           MS    39206‐2711
LEVON WILLIAMS                                    1219 HOLBROOK                                                                              DETROIT           MI    48211‐1113
LEVONNE YOUNG CUST LEVONNE JASON YOUNG II         110 QUAKER ROAD                                                                            HAMPTON           VA    23669‐2024
UTMA VA
LEVORN COLEMAN & MAJOR COLEMAN JT TEN             20005 ORLEANS                                                                              DETROIT           MI    48203‐1353
LEVORNIA WEST                                     22700 GLENDALE                                                                             DETROIT           MI    48223‐3014
LEVY G HULETT                                     1620 THREE SPRINGS RD                                                                      BOWLING GREEN     KY    42104‐6504
LEVY G HULETT                                     1620 THREE SPRING RD                                                                       BOWLING GREEN     KY    42104‐6504
LEVY HILL                                         5932 SUNRIDGE                                                                              CINCINNATI        OH    45224‐2738
LEVY PORTER JR                                    1626 S 15TH AVE                                                                            MAYWOOD           IL    60153‐1845
LEVY POWELL                                       4801 N RITTER                                                                              INDIANAPOLIS      IN    46226‐2217
LEW A HOLLINGER                                   5277 OAKBROOK DR                                                                           FAIRFIELD         OH    45014‐3689
LEW A SIMERMAN                                    17324 MORTON RD                                                                            OSSIAN            IN    46777‐9423
LEW C ROLSTON                                     24640 CLARK RD                                                                             BELLEVILLE        MI    48111‐9651
LEW HLADGZUK                                      595 MC LEAN AVE                   APT 3A                                                   YONKERS           NY    10705‐4650
LEW J BRUNS & MRS LUCIEN K BRUNS JT TEN           4310 CALIFORNIA AVE                                                                        LONG BEACH        CA    90807‐2416
LEW WALLACE JACOBS III                            PO BOX 471                                                                                 FAYETTE           MO    65248‐0471
LEWELL W DEAN                                     13679 HIGHWAY C                                                                            RICHMOND          MO    64085‐8760
LEWETTE W ROBERTS                                 988 GREENBRIAR LN                                                                          SPRINGFIELD       PA    19064‐3936
LEWIE B NOKES & VIVIAN M NOKES TR UA 11/11/92 M‐B 203 BLACK HAWK WAY                                                                         MURFREESBORO      TN    37127‐6391
LEWIS B BOKES
LEWIE F SWANN JR                                  PO BOX 62                                                                                  GRAYSVILLE        AL    35073‐0062
LEWIE F TANNER JR                                 14 HUNTERS POINT                                                                           BRANDON           MS    39042‐2255
LEWIE F THOMAS                                    3433 GRATES PL 6                                                                           BRONX             NY    10467
LEWIE GAYTON                                      3356 GLEN EDEN QUAY                                                                        VIRGINIA BEACH    VA    23452‐6238
LEWIE H GILCHRIST                                 2360 CAMERON ST SW                                                                         DECATUR           AL    35603‐1340
LEWIE LEE SMITH                                   2096 BARNES RD                                                                             LESLIE            MI    49251‐9397
LEWIS A BIVENS                                    PO BOX 526                                                                                 ETOWAH            TN    37331‐0526
LEWIS A BRACKEN                                   5124 CUMBERLAND WOOD DR                                                                    KNOXVILLE         TN    37921‐2303
LEWIS A BROWN JR                                  PO BOX 3341                                                                                FLINT             MI    48502‐0341
LEWIS A BROYLES                                   675 GRANVILLE PL                                                                           DAYTON            OH    45431‐2703
LEWIS A DANIEL                                    5701 EAST CENTENNIAL AVE                                                                   MUNCIE            IN    47303‐9217
LEWIS A DAVIS                                     18 KNAUF RD                                                                                OWEGO             NY    13827‐1731
LEWIS A DEDO                                      16 OAKMOUNT CIR                                                                            ORMOND            FL    32174‐3800
LEWIS A GLENN CUST JEFFREY S GLENN UGMA CA        2061 WEBSTER ST                                                                            PALO ALTO         CA    94301‐4050
LEWIS A GULICK                                    5862 WEST PLAINS RD                                                                        EATON RAPIDS      MI    48827‐9653
LEWIS A HAINES                                    4346 LICHAU RD                                                                             PENNGROVE         CA    94951‐9710
LEWIS A HARVEY                                    312 E DIVISION                    PO BOX 784                                               MANCELONA         MI    49659‐0784
LEWIS A JOHNSON                                   309 SO HOWARD ST SE                                                                        ATLANTA           GA    30317‐2413
LEWIS A KLUTH                                     312 CHASE ROAD                                                                             HILTON            NY    14468‐9130
LEWIS A MIDDAUGH JR                               1034 S GENEVIEVE LANE                                                                      SAN JOSE          CA    95128‐3136
LEWIS A NIXON JR                                  3310 ELECTRIC                                                                              DETROIT           MI    48217‐1135
LEWIS A POLSINELLI                                176 SUNNYSIDE ROAD                                                                         SCOTIA            NY    12302‐3662
LEWIS A SAUCERMAN                                 8144 S COUNTY ROAD 950 E                                                                   CLOVERDALE        IN    46120‐8902
LEWIS A SWEERS                                    6374 MAPLE ST                                                                              GLADWIN           MI    48624‐9006
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 784 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

LEWIS A THOMPSON CUST ROBERT A THOMPSON UTMA BOX 333                                                                                            WARRENTON         NC    27589‐0333
NC
LEWIS A TROWBRIDGE                           9724 ROUND LAKE RD                                                                                 VERMONTVILLE      MI    49096‐9753
LEWIS A WILLIAMS                             PO BOX 4451                                                                                        EL DORADO HLS     CA    95762‐0018
LEWIS ALLAN BYCK                             8811 SUTPHIN BLVD                         STE 61                                                   JAMAICA           NY    11435‐3716
LEWIS ALSTON THOMPSON CUST LUCY MORRICE      C/O BANZET BANZET & THOMPSON              FRONT ST                                                 WARRENTON         NC    27589
THOMPSON UNDER THE NC U‐T‐M‐A
LEWIS ARNOLD SIMMS                           649 MAPLE VISTA ST                                                                                 IMLAY CITY      MI      48444‐1469
LEWIS ARON & JANE ADES ARON JT TEN           78 COUNTRY CLUB DR                                                                                 PORT WASHINGTON NY      11050‐4551

LEWIS B BERRY                                    9719 HAMMACK RD                                                                                PEMBROKE          KY    42266‐9707
LEWIS B BERRY & MARGARET J BERRY JT TEN          9719 HAMMACK ROAD                                                                              PEMBROKE          KY    42266‐9707
LEWIS B HOPPER                                   PO BOX 749                                                                                     BARBOURVILLE      KY    40906‐0749
LEWIS B PAYNE                                    235 WAYMON DR                                                                                  STOCKBRIDGE       GA    30281‐1389
LEWIS B POWELL                                   615 N IRWIN ROAD                                                                               HOLLAND           OH    43528‐8967
LEWIS B WHITE                                    56 KINGSTON STREET                                                                             NORTH ANDOVER     MA    01845‐5000
LEWIS BARTLETT KEAN JR                           4242 CEDAR AVE                                                                                 LONG BEACH        CA    90807‐1920
LEWIS BURHANS                                    6712 DEER RUN TRAIL                                                                            DOUGLASVILLE      GA    30135‐6210
LEWIS BURWELL MC CLUNG                           1486 HOLLYBROOK RD                                                                             SALEM             VA    24153‐1800
LEWIS C ALSTON                                   3445 HABERER AVE                                                                               DAYTON            OH    45408‐1111
LEWIS C BALES                                    BOX 182                                                                                        CLOVERDALE        IN    46120‐0182
LEWIS C BELCHER                                  514 E 1000 NORTH                                                                               FORTVILLE         IN    46040‐9315
LEWIS C BENJAMIN                                 2015 EASTWOOD WAY                                                                              ANDERSON          IN    46017‐9632
LEWIS C BURNS                                    3405 HARRISBURG‐GEORGESVILLE                                                                   GROVE CITY        OH    43123‐8918
LEWIS C CORNER                                   4506 CLEVELAND                                                                                 COOPERSVILLE      MI    49404‐9633
LEWIS C HAGLE                                    13718 S GRANGE RD                                                                              EAGLE             MI    48822‐9514
LEWIS C HOGGARD JR                               3911 S 9TH ROAD                                                                                ARLINGTON         VA    22204‐4173
LEWIS C HOLDING                                  12 STILLWELL PL                                                                                FREEHOLD          NJ    07728‐2022
LEWIS C LATIMER                                  709 B AVE                                                                                      WEST COLUMBIA     SC    29169‐7140
LEWIS C LOVE                                     412 CHEYENNE TRAIL                                                                             COLUMBIA          TN    38401‐2120
LEWIS C SCHNABELRAUCH                            1700 GEORGETOWN BLVD                                                                           LANSING           MI    48911‐5430
LEWIS C STODDARD JR                              1164 TROTWOOD LANE                                                                             FLINT             MI    48507‐3711
LEWIS C WOODBURY                                 3740 W KENT RD                                                                                 ST LOUIS          MI    48880‐9329
LEWIS CAL THOMAS & JANET G THOMAS JT TEN         BOX 415                                                                                        PERRY             FL    32348‐0415
LEWIS CALDWELL DAVIS                             301 OLD KENNETT RD APT 2                                                                       WILMINGTON        DE    19807‐1729
LEWIS CLIFFORD LLOYD                             4201 E LYNN ST                                                                                 ANDERSON          IN    46013‐2428
LEWIS COLES                                      512 STATE ROUTE 176                                                                            HANNIBAL          NY    13074‐2248
LEWIS CRIT NUNLEY                                134 LICKING                                                                                    TOLEDO            OH    43605‐1636
LEWIS D BENSON TR UA 07/08/80 LEWIS D BENSON     PO BOX 1049                                                                                    OWASSO            MI    48867‐6049
TRUST
LEWIS D BURWELL                                  508 WELLINGTON BLVD                                                                            SHELBYVILLE       IN    46176‐2234
LEWIS D BURWELL                                  508 WELLINGTON BOULEVARD                                                                       SHELBYVILLE       IN    46176‐2234
LEWIS D CLARK                                    6227 HOKE RD                                                                                   CLAYTON           OH    45315‐9741
LEWIS D HARRIS                                   PO BOX 54                                                                                      SAINT GEORGES     DE    19733
LEWIS D JENKINS                                  1491 S LILY CT                                                                                 GREENFIELD        IN    46140‐8167
LEWIS D LACROSS                                  1515 JUDD RD                                                                                   BURTON            MI    48529‐2005
LEWIS D MASON                                    12633 SABAL PARK DR                   APT 108                                                  PINEVILLE         NC    28134‐7508
LEWIS D MERROW                                   G‐5341 BROBECK ST                                                                              FLINT             MI    48532
LEWIS D PRICE                                    14459 RUTHERFORD ST                                                                            DETROIT           MI    48227‐1872
LEWIS D RIDGEWAY                                 34 TROY AVE                                                                                    WARWICK           RI    02889‐2825
LEWIS D STROUTH                                  154 SAVOY AVE                                                                                  WEST CARROLLTON   OH    45449‐1725

LEWIS D WILLIAMS                                  37709 ARLENE CT                                                                               FREMONT           CA    94536‐3714
LEWIS DANIEL WOOTTON                              PO BOX 215                                                                                    SANDSTON          VA    23150‐0215
LEWIS DEAN FYKSE JR CUST JOHN LEWIS FYKSE UTMA NJ 192 TUCKERTON RD                                                                              MEDFORD           NJ    08055‐1342

LEWIS DILLON                                     12804 E PLAYFIELD DR                                                                           CRESTWOOD         IL    60445‐1105
LEWIS DYE                                        829 ALVERNO AVE                                                                                DAYTON            OH    45410‐3101
LEWIS E FULLER                                   R 2 KIMLER RD                                                                                  EATON RAPIDS      MI    48827‐9802
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 785 of 855
Name                                            Address1                               Address2             Address3          Address4          City               State Zip

LEWIS E GARLAND                                 49 EAST Y DR                                                                                    MURRAY             KY    42071‐9812
LEWIS E HARSHMAN                                PO BOX 186                                                                                      PENDLETON          IN    46064‐0186
LEWIS E LEE                                     295 CLINTON RIVER DRIVE                                                                         MT CLEMENS         MI    48043‐2365
LEWIS E LEFFLER                                 5880 BRENDA CT                                                                                  GREENWOOD          IN    46143‐9183
LEWIS E LINDSAY                                 9820 N EVANSTON AVE                                                                             KANSAS CITY        MO    64157‐7770
LEWIS E MC MILLEN                               1910 CHEROKEE                                                                                   LEAVENWORTH        KS    66048‐2120
LEWIS E MORGAN                                  3531 BALDWIN ROAD                                                                               METAMORA           MI    48455‐8908
LEWIS E NEARY                                   1550 PORTLAND AVENUE                   APT 2109                                                 ROCHESTER          NY    14621‐3005
LEWIS E POWELL                                  4630 MARBLE HALL RD                                                                             BALTIMORE          MD    21239‐3937
LEWIS E SAFRAN & KAREN L SAFRAN JT TEN          1126 CAMPMEETING RD                                                                             SEWICKLEY          PA    15143‐8318
LEWIS E WINEMAN                                 431 CONDUITT DR                                                                                 MOORESVILLE        IN    46158‐1356
LEWIS EDWIN MERCHANT                            327 N FRANKLIN                                                                                  KNIGHTSTOWN        IN    46148‐1014
LEWIS ELVIN MATCHETT                            8105 N WILLIAMSON ROAD 200E                                                                     MUNCIE             IN    47303‐9163
LEWIS ENGLE                                     3639 SHADY OAK ROAD                                                                             STUDIO CITY        CA    91604‐3646
LEWIS F CONCKLIN JR                             4216 LINDEN AVE                                                                                 WESTERN SPRINGS    IL    60558‐1261

LEWIS F HUDSON                                  1841 BREMERTON RD                                                                               LYNDHURST          OH    44124‐3912
LEWIS F MCCORD & ETHEL L MCCORD JT TEN          3008 S MERIDIAN                                                                                 MARION             IN    46953‐4101
LEWIS F MOORE                                   422 N ADRIAN ST                                                                                 LYONS              OH    43533‐9760
LEWIS F MOORE & LUCY MOORE JT TEN               5951 KLINE RD                                                                                   NIAGARA FALLS      NY    14304‐1024
LEWIS F NESPOR                                  10203 SLADDEN AVENUE                                                                            GARFIELD HEIGHTS   OH    44125‐1558

LEWIS F NEYLAND                                 7960 LONG DR                                                                                    CHATTANOOGA        TN    37421‐2725
LEWIS F RONDO                                   1038 S RIVER RD                                                                                 SAGINAW            MI    48609‐6852
LEWIS FRANK ROSE                                6517 RICHFIELD RD                                                                               FLINT              MI    48506‐2213
LEWIS FREEMAN CUST JARON ALEXANDER FREEMAN      4288 DOUGLAS ROAD                                                                               MIAMI              FL    33133‐6850
UGMA FL
LEWIS G CYPHERS & SHIRLEY F WALKER JT TEN       1523 DEE ANNE DR                                                                                XENIA              OH    45385‐6603
LEWIS G LAMROUEX                                17157 FOWLER ROAD                                                                               HENDERSON          MI    48841‐9513
LEWIS G SALYERS                                 19051 DAWNSHIRE DR                                                                              BROWNSTOWN         MI    48192‐8507
LEWIS G WHITEHEAD                               27256 LATHRUP BLVD                                                                              LATHRUP VILLAGE    MI    48076‐3507

LEWIS G WRIGHT                                  ROUTE 8 BOX 187                                                                                 LIBERTY            KY    42539‐9231
LEWIS H AINES                                   9101 E 253RD ST                                                                                 PECULIAR           MO    64078‐8812
LEWIS H BECK JR                                 1913 BOBOLINK AVE                                                                               NORTH AUGUSTA      SC    29841‐3152
LEWIS H EBENER                                  2115 8TH STREET                                                                                 ST PERU            IL    61354‐2114
LEWIS H EBENER JR                               2115‐8TH                                                                                        PERU               IL    61354‐2114
LEWIS H ELLIOTT 3RD                             425 ARCOLA RD                                                                                   COLLEGVILLE        PA    19426‐2913
LEWIS H FOUNDS                                  3117 WILMONT DR                                                                                 WILMINGTON         DE    19810‐3415
LEWIS H HEMINGWAY                               6350 NORTH LAKE ROAD                                                                            OTTER LAKE         MI    48464‐9747
LEWIS H HUFFINES                                5326 SIMS ROAD                                                                                  GROVEPORT          OH    43125‐9255
LEWIS H KROEGER                                 1905 FREEDOM DR                                                                                 GRAND ISLAND       NE    68803‐4818
LEWIS H LONG                                    8106 LAHRING ROAD                                                                               GAINES             MI    48436‐9736
LEWIS H NELSON                                  3812 GAINSBOROUGH DR                                                                            ORION              MI    48359‐1618
LEWIS H PATTON                                  2113 CASTLE LANE                                                                                FLINT              MI    48504‐2026
LEWIS H PITTMAN                                 592 HUBERT PITTMAN RD                                                                           PENDERGRASS        GA    30567‐2902
LEWIS H RITTER                                  834 REED AVE                                                                                    AKRON              OH    44306‐2742
LEWIS H RYAN & MARY ELIZABETH RYAN JT TEN       16416 60TH ST E                                                                                 SUMNER             WA    98390‐3019
LEWIS H V MAY & NANCY C MAY TR 04/28/99 MAY     269 W WISTARIA AVE                                                                              ARCADIA            CA    91007‐8010
FAMILY TRUST
LEWIS HENSON                                    182 CLEARVIEW CIRCLE                                                                            HENDERSONVILLE     TN    37075‐2518
LEWIS I LAURIE                                  3021 NORMAN ST                                                                                  NIAGARA FALLS      NY    14305‐2319
LEWIS J CARRIER                                 PO BOX 9093                                                                                     BROWNSVILLE        TX    78526‐9093
LEWIS J COLBURN & SUSAN L STONE JT TEN          1328 W BELDEN ST                                                                                CHICAGO            IL    60614‐3164
LEWIS J COLSTON                                 28301 FRANKLIN RD                      APT 207                                                  SOUTHFIELD         MI    48034‐1639
LEWIS J FARNER                                  7235 GRAND RIVER                                                                                BANCROFT           MI    48414‐9766
LEWIS J FURMAN                                  276 VANDELINDA AVE                                                                              TEANECK            NJ    07666‐3330
LEWIS J HECKATHORN                              46 CENTER AVE                                                                                   BUFFALO            NY    14227‐1502
LEWIS J KEMPER                                  3201 LASSEN WAY                                                                                 SACRAMENTO         CA    95821‐3435
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 786 of 855
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

LEWIS J LEGG                                     301 GREENBRIER RD                                                                              SUMMERSVILLE      WV    26651‐1825
LEWIS J LINDNER                                  5995 HERMAN HILL ROAD                                                                          ORCHARD PARK      NY    14127
LEWIS J MC COY TR PATRICK MICHAEL MC COY UA      131 E MARSHALL ST                                                                              WESTCHESTER       PA    19380‐2427
4/27/66
LEWIS J PICKERING                                5841 W NORTH DR                                                                                FRANKTON          IN    46044‐9485
LEWIS J PULVINO                                  53 FALLING BROOK ROAD                                                                          FAIRPORT          NY    14450‐8961
LEWIS J STAVANA                                  232 GREENRIDGE DR                                                                              GENEVA            OH    44041‐9131
LEWIS J TANKO                                    LOT 151                               1701 N US 1                                              ORMOND BEACH      FL    32174‐2541
LEWIS J TANKO & LORRAINE A TANKO JT TEN          LOT 151                               1701 N US 1                                              ORMOND BEACH      FL    32174‐2541
LEWIS JOHNSON                                    1741 STILLWELL BECKETT RD                                                                      HAMILTON          OH    45013‐9316
LEWIS JORDAN & JILL ANN JORDAN JT TEN            44 OLD LITTLE BRITAIN RD                                                                       NEWBURGH          NY    12550‐7201
LEWIS JUNIOR                                     1314 DYE KREST CIR                                                                             FLINT             MI    48532‐2223
LEWIS K CAMMET & LILA E CAMMET JT TEN            211 LITCHFIELD STREET                                                                          CLINTON           MI    49236‐9753
LEWIS K COLES                                    32 MECHANIC ST                        PO BOX 306                                               BRIDGEPORT        NJ    08014‐0306
LEWIS K COPELAND                                 PO BOX 53                                                                                      EHRHARDT          SC    29081‐0053
LEWIS K GINSBERG                                 16 SKYHIGH DRIVE                                                                               BARTONSVILLE      PA    18321‐1741
LEWIS K MUSSER SR                                PO BOX 22                                                                                      OCEAN VIEW        DE    19970‐0022
LEWIS KINGS WETZEL                               PO BOX 300                                                                                     COLCHESTER        VT    05446‐0300
LEWIS L CARRIER                                  11703 RTE 16 OLIAN RD                                                                          DELEVAN           NY    14042
LEWIS L CASTLE                                   15307 W DESERT MIRAGE DR                                                                       SURPRISE          AZ    85379‐5352
LEWIS L COLE JR                                  4648 WALNUT LAKE RD                                                                            BLOOMFIELD        MI    48301‐1407
LEWIS L CROOK                                    3344 CREEKWOOD DRIVE                                                                           REX               GA    30273‐2117
LEWIS L HARRIS JR                                8202 WILSON RD                                                                                 MONTROSE          MI    48457‐9139
LEWIS L HENSLEY                                  300 KENNELY RD #311                                                                            SAGINAW           MI    48699
LEWIS L INGRAM                                   10858 PERCY LN                                                                                 MECOSTA           MI    49332‐9788
LEWIS L JOYNER                                   BOX 326                                                                                        SWAYZEE           IN    46986‐0326
LEWIS L MOORE                                    1841 HALCYONDALE RD                                                                            SYLVANIA          GA    30467‐8726
LEWIS L PRATT JR                                 26725 W 9 MILE RD                                                                              SOUTHFIELD        MI    48033‐3464
LEWIS L TRAHAN                                   123 RIGG ST                                                                                    PETERSBURG        WV    26847‐1641
LEWIS M BURDICK JR TR UW ELLA HELEN BURDICK      1917 S OLIVE ST                                                                                DENVER            CO    80224‐2255

LEWIS M BURGMILLER & WILLIAM BURGMILLER JT TEN   32 SUNNYSIDE LANE                                                                              HILLSBOROUGH      NJ    08844‐4738

LEWIS M CURFMAN                                   380 W 800 S                                                                                   FAIRMOUNT         IN    46928‐9219
LEWIS M HARRIS                                    2432 HUNGARY RD                                                                               RICHMOND          VA    23228‐2124
LEWIS M MAYBEE                                    6955 HUBBARD CIRCLE                                                                           CLARKSTON         MI    48348‐2878
LEWIS M MILICEVICH                                1201 TROON DR                                                                                 GREENSBURG        PA    15601‐8955
LEWIS M MULLIN                                    6647 EL COLEGIO RD #A‐315                                                                     GOLETA            CA    93117‐4200
LEWIS M WRENN JR & MARILYN M WRENN JT TEN         780 5TH AVE S                        APT 207                                                  NAPLES            FL    34102‐6632
LEWIS MANHEIMER                                   APT 4D                               55 KNOLLS CRESCENT                                       BRONX             NY    10463‐6356
LEWIS MARK PFISTER JR                             10047 MARSHALL POND RD                                                                        BURKE             VA    22015‐3734
LEWIS MEDEL                                       1190 E GALBRAITH LINE RD                                                                      MELVIN            MI    48454‐9769
LEWIS MITCHELL TR LEWIS MITCHELL REVOCABLE LIVING 945 TIERRA LAGO WAY                                                                           NAPLES            FL    34119‐1801
TRUST UA 06/12/95
LEWIS MOOSE & CAROLYN SHIVE JT TEN                115 S CLINTON ST                                                                              CHINA GROVE       NC    28023‐2003
LEWIS N ADAMS                                     2396 CONVERSE‐ROSELM RD                                                                       GROVER HILL       OH    45849‐9738
LEWIS N ERRETT                                    PO BOX 152                                                                                    TIDIOUTE          PA    16351‐0152
LEWIS N PARRIS & LOLA PARRIS JT TEN               20808 LANGE                                                                                   ST CLAIR SHORES   MI    48080‐1112
LEWIS N PENDERGRAST                               49 ARKANSAS ST                                                                                CALVERT CITY      KY    42029‐9309
LEWIS O TRIPP                                     144 MARLENE                                                                                   MILFORD           MI    48381‐2262
LEWIS OLIN TRAMMELL                               202 NEWTON DR                                                                                 FORSYTH           GA    31029‐8508
LEWIS OLIN TRAMMELL & LOVENA W TRAMMELL JT TEN 202 NEWTON DR                                                                                    FORSYTH           GA    31029‐8508

LEWIS P WALKER III                               3220 STEWART LAKE RD                                                                           MONROE          GA      30655‐5741
LEWIS PARRIS                                     PO BOX 71737                                                                                   MADISON HEIGHTS MI      48071‐0737

LEWIS PAUL BENNETT                               1305 STANFORD ROAD                    GREEN ACRES                                              WILMINGTON        DE    19803‐5135
LEWIS PONTIUS                                    201 SO ENGLISH                                                                                 MOORE             OK    73160‐7105
LEWIS R CHEANEY                                  PO BOX 836                                                                                     HENDERSON         KY    42419‐0836
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                      Part 4 of 8 Pg 787 of 855
Name                                             Address1                              Address2                         Address3   Address4          City            State Zip

LEWIS R CRAVENER & V DOLORES CRAVENER JT TEN     161 MC KINSTRY HILL ROAD                                                                            APOLLO          PA    15613‐8037

LEWIS R DIJULIUS                                 265 EAST 323 STREET                                                                                 WILLOWICK       OH    44095‐3255
LEWIS R EHRLICH                                  611 BENTON ROAD                                                                                     EAST MEADOW     NY    11554‐5402
LEWIS R ELOE TR UA 09/05/90 THE ELOE FAMILY      18221 SUPERIOR ST                                                                                   NORTHRIDGE      CA    91325‐1749
SURVIVOR'S TRUST
LEWIS R JOHNSON                                  123 WEST MAIN ST                                                                                    SIDNEY          NY    13838‐1645
LEWIS R RUMPAKIS & AUDREY K RUMPAKIS JT TEN      410 NE 148TH AVE                                                                                    PORTLAND        OR    97230‐4215

LEWIS R SEYMOUR                                  199 MILTON TPKE                                                                                     MILTON          NY    12547‐5244
LEWIS R SMITH                                    224OE 600S                                                                                          WARREN          IN    46792‐9229
LEWIS R SMITH & RENEE G SMITH JT TEN             6005 INTERCHANGE RD                                                                                 LEHIGHTON       PA    18235‐5410
LEWIS R SYLVESTER & NANCY L SYLVESTER JT TEN     120 ASHLAND DRIVE                                                                                   PITTSBURGH      PA    15239‐1310
LEWIS R VAN KAMPEN                               33 MARATHON DR                                                                                      SEAFORD         DE    19973‐9358
LEWIS R VARNER                                                                                                                                       SLIGO           PA    16255
LEWIS ROGERS & ALVERA D ROGERS JT TEN            455 REDONDO RD                                                                                      YOUNGSTOWN      OH    44504‐1461
LEWIS S BUTLER                                   4621 FENDLER CT                                                                                     SAINT LOUIS     MO    63116‐3432
LEWIS S CHAPMAN                                  PO BOX 37202                                                                                        OAK PARK        MI    48237‐0202
LEWIS S COATON                                   PO BOX 182                                                                                          LAKE ORION      MI    48361‐0182
LEWIS S GREENBERG TR UA 04/01/88 LEWIS S         ATTN P NEIMAN                         209 E LAKE SHORE DRIVE APT 13E                                CHICAGO         IL    60611‐1307
GREENBERG TRUST
LEWIS S HARTRUM                                  348 LEISURE DR                        APT 1                                                         BROOKVILLE      OH    45309‐1240
LEWIS S HOWARD                                   BOX 11262                                                                                           KNOXVILLE       TN    37939‐1262
LEWIS S MAXWELL & MRS BETTY M MAXWELL JT TEN     6230 TRAVIS BLVD                                                                                    TAMPA           FL    33610‐5502

LEWIS S MYERS                                    10717 HOLCOMB RD                                                                                    NEWTON FALLS    OH    44444‐9226
LEWIS S NELSON                                   305 PORT‐AU‐PECK AVE                                                                                OCEANPORT       NJ    07757‐1627
LEWIS SALE DICKINSON & MRS SUSAN FORCE           170 HOPE ST                                                                                         RIDGEWOOD       NJ    07450‐4505
DICKINSON JT TEN
LEWIS SILBER                                     8245 HAMMOND BRANCH WAY                                                                             LAUREL          MD    20723‐1053
LEWIS STEPHEN ROSE                               49 OAKDALE DR                                                                                       CLEARFIELD      KY    40313‐9761
LEWIS STOWERS                                    16595 SELL CIRCLE                                                                                   HUNTINGTON      CA    92649‐3298
                                                                                                                                                     BEACH
LEWIS SWAN                                       2049 LINWOOD CT                                                                                     ELYRIA          OH    44035‐8023
LEWIS SWAN & ANNIE P SWAN JT TEN                 2049 LINWOOD ST                                                                                     ELYRIA          OH    44035‐8023
LEWIS T FORD JR                                  7734 FIVE POINTS RD                                                                                 INDIANAPOLIS    IN    46259‐9779
LEWIS T HADER JR                                 PO BOX 1041                                                                                         MILLERSVILLE    MD    21108‐4041
LEWIS T HILL JR                                  7645 CHUBB RD                                                                                       NORTHVILLE      MI    48167‐9609
LEWIS T LONG                                     C/O J WILLIAM LONG                    2189 LATOUR AVENUE                                            LIVERMORE       CA    94550‐8219
LEWIS T ROSS                                     3751 N DIAMOND MILL RD                                                                              DAYTON          OH    45426‐4221
LEWIS T SAMSON                                   5679 KINNEVILLE ROAD                                                                                EATON RAPIDS    MI    48827‐9607
LEWIS TOWNES JR                                  97 FIREBUSH LN                                                                                      NORTHFIELD      OH    44067‐2879
LEWIS W BAILEY                                   5019 BRANCH RD                                                                                      FLINT           MI    48506‐2081
LEWIS W DEARDORFF                                301 E US HWY 24                                                                                     IDAVILLE        IN    47950‐8035
LEWIS W DRAKE                                    557 MOORELAND DR                                                                                    NEW WHITELAND   IN    46184‐1263
LEWIS W HARDEN                                   4517 HUGHES                                                                                         FT WORTH        TX    76119‐4067
LEWIS W HOLT & JANICE M HOLT JT TEN              8502 SAWYER BROWN RD                                                                                NASHVILLE       TN    37221‐2403
LEWIS W KING                                     100 N WASHINGTON ST                                                                                 DELAWARE        OH    43015‐1725
LEWIS W MATTHEIS                                 RR#1 MINT ROAD                                                                                      VICKSBURG       MI    49097‐9801
LEWIS W PARRISH                                  31704 FOLKSTONE COURT                                                                               FARMINGTON      MI    48336
LEWIS W RIDLING                                  10180 REGENT CIR                                                                                    NAPLES          FL    34109‐7304
LEWIS W SMITH                                    3210 LIDDESDALE                                                                                     DETROIT         MI    48217‐1178
LEWIS W THOMASON III                             16132 SCHRYER LANE                                                                                  HUNTINGTON      CA    92649‐2430
                                                                                                                                                     BEACH
LEWIS W THOMPSON                                 1110 TOWNSHIP ROAD 208                                                                              MARENGO         OH    43334‐9628
LEWIS W TOOL SR                                  1436 BALSAM DR                                                                                      DAYTON          OH    45432‐3232
LEWIS W WAGGAMAN                                 8830 WALTHER BLVD                     # 118                                                         PARKVILLE       MD    21234‐9020
LEWIS W WATSON                                   120 TIME CIR                                                                                        BEAR            DE    19701‐6801
LEWIS W WILLIAMS & KAREN D WILLIAMS JT TEN       189 FERNBROOK LN                                                                                    MARSHALL        TX    75672‐1375
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                     Part 4 of 8 Pg 788 of 855
Name                                              Address1                            Address2                    Address3          Address4           City              State Zip

LEWIS W WOOD                                    154 FORT MOTT & TUFTS RD                                                                               PENNSVILLE        NJ    08070‐2809
LEWIS WALTON                                    325 BERKLEY RD                                                                                         INDIANAPOLIS      IN    46208‐3705
LEWIS WILLIAMS                                  2927 W 141ST PL                       APT 1                                                            GARDENA           CA    90249‐2748
LEWIS WILLIAMS                                  528 S THORSON AVE                                                                                      COMPTON           CA    90221‐4118
LEWIS WIXON JR & DORIS R WIXON JT TEN           32268 COUNTY RD 1                                                                                      ST CLOUD          MN    56303‐9560
LEWIS WRIGHT                                    1321 HANNAH RD                                                                                         MC COOL           MS    39108‐4201
LEX SHAWN BARSONY                               7401 CONSTITUTION CIR APT 1B                                                                           FORT MYERS        FL    33912‐2720
LEXAVILLE HARRIS JR                             204 E 17TH ST                                                                                          LIMA              OH    45804
LEXIE GEVEDON                                   10606 MILTON‐CARLISLE RD                                                                               NEW CARLISLE      OH    45344‐8239
LEXIE HAY                                       6949 SAINT CROIX LANE                                                                                  KNOXVILLE         TN    37918‐0930
LEXINGTON SALYER                                2501 W COUNTRY LANE                                                                                    PLANT CITY        FL    33565‐5103
LEXTON W FISHER                                 625 ALLEGHENY DRIVE                                                                                    SUN CITY CENTER   FL    33573‐5112
LEZLEY JONES                                    3172 MOORPARK AVE                     APT 1                                                            SAN JOSE          CA    95117‐2219
LEZLIE A MCNEW                                  3114 OAK RIDGE PT                                                                                      GRAPEVINE         TX    76051‐3811
LI HIN‐TAI                                      FLAT C 9TH FL                         CARBLE GARDEN               2‐3 SEYMOUR TER   HONG KONG, CHINA
LI J MOORE                                      371 E WARREN STREET                                                                                    FLINT             MI    48505‐4349
LIAM CASSERLY                                   CLOONCRIM BALLINLOUGH                 COUNTY ROSCOMMON                              IRELAND
LIAM D BRAMLEY‐MONTGOMERY                       296 ORANGE CRES                       OSHAWA ON                                     L1G 5X3 CANADA
LIAM M MULLEN                                   7322 NECKEL                                                                                            DEARBORN          MI    48126‐1473
LIANA L CAMERON                                 1625 WOODMORE                                                                                          SPRINGFIELD       IL    62711
LIANA WOO                                       10704 57TH AVE SO                                                                                      SEATTLE           WA    98178‐2232
LIANE L AUPPERLEE                               4580 SAWMILL PL                                                                                        NOLENSVILLE       TN    37135‐8498
LIANE PUTNAM                                    540 FAIRVIEW AVE APT 21                                                                                ARCADIA           CA    91007‐6740
LIAQUAT MIRZA                                   3009 RICHMOND DR                                                                                       ROCHESTER HLS     MI    48309‐4086
LIBBI LOCASCIO & ALFRED LOCASCIO JT TEN         15 ELM TREE LANE                                                                                       PELHAM MANOR      NY    10803‐3517
LIBBY POEHLING                                  5708 PEMBROKE DRIVE                                                                                    MADISON           WI    53711
LIBBY RUCK                                      50 LENOX RD                           APT 14B                                                          ROCKVILLE CTR     NY    11570‐5242
LIBERA M DOGLIOTTI & JAMES MIDEI JT TEN         14003 SW 15 CT                                                                                         DAVIE             FL    33325‐5916
LIBERATO CAPPUCCIO                              PO BOX 401                                                                                             KEANSBURG         NJ    07734‐0401
LIBERTY UNION SECURITIES LTD                    2231 MANCHESTER RD                                                                                     ANN ARBOR         MI    48104‐4972
LIBORIA OGAN GARCIA                             8412 DAY STREET                                                                                        SPRING HILL       FL    34606
LIBORIO AMICO                                   387 FRENCH RD                                                                                          PITTSFORD         NY    14534‐1152
LIBRADA ROMERO                                  2104 N 75TH TERR                                                                                       KANSAS CITY       KS    66109‐2315
LIBRARIAN OF OKLAHOMA A & M COLLEGE TR U‐A WITH UNIVERSITY LIBRARIAN                  OKLAHOMA STATE UNIVERSITY                                        STILLWATER        OK    74074
A O BURT ET AL 7/16/45
LIBUSE F FERDANOVA                              56 DENDRON COURT                                                                                       BALTIMORE         MD    21234‐1554
LIBUSE HAVLIK                                   8421 CRESCENT CT                                                                                       WILLOW SPGS       IL    60480‐1006
LICH T VU                                       2809 N HARVARD                                                                                         OKLAHOMA CITY     OK    73127‐1943
LICIA D RODGERS                                 3071 HIDDEN TIMBER DR                                                                                  LAKE ORION        MI    48359‐1579
LIDA BARR                                       7H‐2                                  114 FRANKLIN ST                                                  MORRISTOWN        NJ    07960‐5506
LIDA E PRIC                                     PO BOX 429                                                                                             SHARPSBURG        MD    21782‐0429
LIDA ELEANOR WEBBER                             7119 ALDREDGE DR                                                                                       SWARTZ CREEK      MI    48473‐9742
LIDIA C GUTIERREZ                               169 WOLFE                                                                                              PONTIAC           MI    48342‐1575
LIDIA COUGIL                                    5815 S W 112CT                                                                                         MIAMI             FL    33173‐1027
LIDIA M GOLOVAN                                 129 SARONA CIR                                                                                         WEST PALM BCH     FL    33411‐4319
LIDIA MEJIA                                     5 CLINTON ST #3                                                                                        NORTH             NY    10591‐2438
                                                                                                                                                       TARRYTOWN
LIDIA N FIGUEIREDO                                29 PALISADE RD                                                                                       ELIZABETH         NJ    07208‐1249
LIDIA PESTANO                                     5532 OLIVE AVE                                                                                       SARASOTA          FL    34231
LIDIA POLISENO & VITO POLISENO JT TEN             81 HARRISON ST                                                                                       GARDEN CITY       NY    11530‐2418
LIDIA TEPELIAN                                    23741 SINGAPORE ST                                                                                   MISSION VIEJO     CA    92691‐3006
LIDIO PROIA                                       39718 MORIAH                                                                                         STERLING HTS      MI    48313‐5750
LIDO J BRUNETTIN & MARY LOUISE BRUNETTIN JT TEN   925 STONEWAY DRIVE                                                                                   DENTON            TX    76210‐5230

LIDUVINA LUNA & LETICIA CAVAZOS JT TEN            703 LANTANA ST                                                                                       REFUGIO           TX    78377
LIEAN LEWANDOWSKI & GERALDINE M LEWANDOWSKI       7251 ROCKDALE                                                                                        DETROIT           MI    48239‐1016
JT TEN
LIEM G TRAN                                       887 GROVECREST                                                                                       ROCHESTER         MI    48307‐2887
LIEN H UNG                                        4001 N MISSION RD                   APT A48                                                          LOS ANGELES       CA    90032‐2598
                                              09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 789 of 855
Name                                                Address1                               Address2                Address3       Address4          City              State Zip

LIEN SHENG YANG & MIAO CHEN YANG JT TEN             95 TEABERRY LN                                                                                  BRAINTREE         MA    02184
LIEN T PETERSON                                     10278 RICH ST                                                                                   W OLIVE           MI    49460‐9382
LIEN‐SHENG YANG                                     95 TEABERRY LN                                                                                  BRAINTREE         MA    02184‐7347
LIESCHEN R SCHRIER                                  3185 ESTATES DR N                                                                               SAINT JOSEPH      MI    49085
LIESELOTTE G AUTH                                   9159 EVERTS                                                                                     DETROIT           MI    48224‐1916
LIESELOTTE G AUTH & DOROTHY M GRACEY JT TEN         9159 EVERTS ST                                                                                  DETROIT           MI    48224‐1916
LIESELOTTE ROTHENWALLNER                            HOCHFELLN STR 7                        83355 GRABENSTAETT                     GERMANY
LIESL L NEWKIRK                                     ATTN LIESL PURCHASE                    10054 S GLENSTONE CIR                                    HIGHLANDS RANCH CO      80130‐8014

LIESOLETTE VAUGHAN                               4716 MESSERLY RD                                                                                   CANFIELD          OH    44406‐9356
LIEUTENANT ALLEN                                 4369 ISABELLE                                                                                      INKSTER           MI    48141‐2147
LIFE INVESTORS INSURANCE TR BENTON BOSTICK       2733 WOODWAY AVE                                                                                   DAYTON            OH    45405‐2748
LIFE MEMBERSHIP TRUST FUND BOARD OF TR SCOTTISH BOX 6542                                                                                            WHEELING          WV    26003‐0624
RITE BODIES
LIGE G PRICE                                     6232 FLOWERDAY                                                                                     MT MORRIS         MI    48458‐2814
LIGE RIDLEY                                      20410 LOCHMOOR ST                                                                                  HARPER WOODS      MI    48225‐1750
LILA A WILSON TR UA 08/19/97 LILA A WILSON TRUST 3525 W HIAWATHA DR                                                                                 OKEMOS            MI    48864‐4007

LILA B DAWSON                                       5335 PINECREST DR                                                                               LEWISTON          MI    49756‐9150
LILA B FAKHOURY                                     5608 LAMB SHIRE DR                                                                              RALEIGH           NC    27612‐2821
LILA B HOLM & JOANN DAVIS JT TEN                    664 ABBEY COURT                                                                                 ROCHESTER HILLS   MI    48307‐4500
LILA C MEADE TR UA 08/15/1984 LILA C MEADE INTER‐   481 S. SCOTT DR                                                                                 FARWELL           MI    48622
VIVOS TRUST
LILA CAROL WILLIAMS                                 2715 MONTCLAIR PL                                                                               SNELLVILLE        GA    30078‐7341
LILA E RYND                                         3313 VIRGINIA AVE S E                                                                           CHARLESTON        WV    25304‐1306
LILA EGGLESTON & DUANE D EGGLESTON JT TEN           G‐6475 S LINDEN ROAD                                                                            SWARTZ CREEK      MI    48473
LILA FAULKNER                                       5707 CHILHAM RD                                                                                 BALTIMORE         MD    21209‐4415
LILA G APPLEBEE                                     1212 MANOR DR                                                                                   JANESVILLE        WI    53545‐1415
LILA J NEHMELMAN TR LILA J NEHMELMAN LIVING         5302 CALUMET                                                                                    VALPARAISO        IN    46383‐1216
TRUST UA 01/31/91
LILA J NOE                                          9265 SHERMAN RD                                                                                 CHESTERLAND       OH    44026‐2354
LILA J PENSE                                        419 N 600 EAST                                                                                  LOGANSPORT        IN    46947
LILA K KITTS                                        3305 FRANCES LN                                                                                 KOKOMO            IN    46902‐9709
LILA LEE MCRIGHT                                    1218 OXFORD PL                                                                                  GREENVILLE        MS    38701‐8326
LILA M BRANDON & CAROL A BROWN JT TEN               122 SOUTH JACKSON                                                                               YOUNGSTOWN        OH    44506‐1613
LILA M DECKER & JAMES L STECHOW JT TEN              759 S SQUIRREL                                                                                  AUBURN HEIGHTS    MI    48326‐3866
LILA M FILL                                         415 LANCELOT PLACE                                                                              LANSING           MI    48906‐1642
LILA M GOOD                                         28639 SUBURBAN DR                                                                               WARREN            MI    48093‐4258
LILA M KOCH                                         6235 PIERCE ROAD ROUTE 1                                                                        FREELAND          MI    48623‐9051
LILA M KOCH & WILLIAM E KOCH JT TEN                 6235 PIERCE ROAD                                                                                FREELAND          MI    48623‐9051
LILA M LOCKE                                        2955 GREYBERRY DR APT 102                                                                       WATERFORD         MI    48328‐4435
LILA M MILLS                                        PO BOX 307                                                                                      GRANVILLE         IL    61326‐0307
LILA M RUSTIN                                       1143 VAN VLEET RD                                                                               SWARTZ CREEK      MI    48473‐9751
LILA R MCCAMMON & RYAN L MCCAMMON & JARED R         RR 3 BOX 31M                                                                                    SULLIVAN          IL    61951‐9361
MCCAMMON JT TEN
LILA R MOORE                                        241 EAST 500N                                                                                   ANDERSON          IN    46012‐9501
LILA SMITH TR UA 04/18/01 SMITH FAMILY TRUST        8931 GOWDY AVE                                                                                  SAN DIEGO         CA    92123
LILA STAHL                                          7023 NE SKYLINE DR                     # 210                                                    PEORIA            IL    61614‐2207
LILA T HAMANN                                       511 S BEVERLY                                                                                   LAKE FOREST       IL    60045
LILAC E PRICE                                       ATTN LILAC CHANG                       738 SEQUOIA AVE                                          SAN MATEO         CA    94403‐2616
LILAS KOMEYLI                                       135 CASCADE DRIVE                                                                               FAIRFAX           CA    94930‐2105
LILBERT ALDERSON & MRS ELSIE O ALDERSON JT TEN      510 MAPLE ST                                                                                    MIDLAND           MI    48640‐5623

LILBURN L NORTON                                    95 RIVERS END DR                                                                                SEAFORD           DE    19973‐8018
LILE B ERBAUGH                                      1001 HOLLENDALE AVE                                                                             KETTERING         OH    45429‐4744
LILI M PETERSON                                     805 2ND AVENUE SOUTH                                                                            GREENWOOD         MO    64034‐9739
LILIA ANN COOK                                                                                                                                      PECK              MI    48466
LILIA O DUTHIE                                      PO BOX 114                                                                                      CATHLAMET         WA    98612‐0114
LILIA TINO                                          1930 LAWRENCE ROAD                     APT B 45                                                 HAVERTOWN         PA    19083‐1741
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 790 of 855
Name                                              Address1                              Address2              Address3         Address4          City            State Zip

LILIA W MAYER CUST JUSTIN MAYER UTMA VA             221 PAINTED POST LN                                                                          GAITHERSBURG    MD    20878‐5802
LILIAN ANN KLASSEN & VALERIE MARIE & KARLA MARIE RR 2 BOX 121                                                                                    ADAMS           MN    55909‐9704
KLASSEN TR VIOLA M &
LILIAN E DALRYMPLE                                  1928 BACON AVE                                                                               BERKLEY         MI    48072‐1061
LILIAN G JEFFERSON                                  9801 W PARMER LN                    APT 817                                                  AUSTIN          TX    78717‐4606
LILIAN J DARROW                                     115 ORCHARD AVE                                                                              NEDROW          NY    13120‐1111
LILIAN L CHIN                                       1101 S MAIN ST                      APT 428                                                  MILPITAS        CA    95035‐7535
LILIAN WEBER                                        24 TOLEDO DR                                                                                 BRICKTOWN       NJ    08723‐7656
LILIANE P SIROTA & ROGER SIROTA JT TEN              112 WILLOW DR                                                                                NEWTOWN         PA    18940‐2452
LILIANNA BRZEZINSKI                                 46 LAURIE CT                                                                                 MATAWAN         NJ    07747‐3556
LILIANNA MARYA JUHASZ                               36047 SHERWOOD ST                                                                            LIVONIA         MI    48154‐2305
LILLA PRATT ROSAMOND                                423 NORTH 3RD AVE                                                                            COLUMBUS        MS    39701‐3916
LILLAIN M KIES                                      2 BAYWOOD DR                                                                                 PALM HARBOR     FL    34683
LILLAR M BURTON                                     6314 HOOVER ROAD                                                                             INDIANAPOLIS    IN    46260‐4741
LILLARD A STINES                                    44 JULIANA DR                                                                                DANVILLE        IL    61832‐8441
LILLARD C MALLORY                                   2313 N HARDING ST                                                                            INDIANAPOLIS    IN    46208‐5206
LILLARD P DANIEL                                    1817 NASHVILLE HWY                                                                           LANCING         TN    37770‐2831
LILLEMOR FORSBERG                                   ROMANAS FABO                        57391 TRANAS                           SWEDEN
LILLIAM LONG                                        309 EAST BRAYTON ROAD                                                                        MOUNT MORRIS    IL    61054‐1503
LILLIAN A BOMGARDNER                                3136 WILMONT DR                                                                              WILMINGTON      DE    19810‐3416
LILLIAN A BORLAND                                   11095 BEECHWOOD DR                                                                           KEWADIN         MI    49648‐8945
LILLIAN A BROWN & MARION E KLINE JT TEN             124 S MANSION                                                                                SULLIVAN        MO    63080‐1821
LILLIAN A CHOLER                                    4450 LOUELLA DR                                                                              WATERFORD       MI    48329‐4028
LILLIAN A CIULLA                                    20174 ATTERIDGE RD                                                                           RAMONA          CA    92065
LILLIAN A DUBA                                      5325 KELEKENT AVE SE                                                                         GRAND RAPIDS    MI    49548‐5846
LILLIAN A FISCHER                                   BOX 50101                                                                                    OKOLONA         OH    43550‐3101
LILLIAN A LI PARI                                   541 AMES STREET                                                                              ROCHESTER       NY    14606‐1207
LILLIAN A MONTGOMERY & JOHN D MONTGOMERY JT 1116 EL VECINO AVE                                                                                   MODESTO         CA    95350‐5638
TEN
LILLIAN A OWEN TR UA 08/20/2007 LILLIAN A OWEN      13415 WHITTIER                                                                               STERLING HTS    MI    48312
LIVING TRUST
LILLIAN A SAMARDZIJA                                4629 SAINT CHARLES AVENUE                                                                    NEW ORLEANS     LA    70115‐4833
LILLIAN A SPRATKE TR LILLIAN A SPRATKE LIVING TRUST 11490 IRVINGTON                                                                              WARREN          MI    48093‐2611
UA 03/09/01
LILLIAN A SPRATTO & FRANK H SPRATTO JT TEN          9066 CREIGHTON ROAD                                                                          PORTLAND        MI    48875‐9755
LILLIAN A TATE                                      C/O LORETTA A DIXON                 952 ELYWOOD DRIVE                                        ELYRIA          OH    44035‐3601
LILLIAN A VARGO                                     24 SECOND STREET                                                                             MADISON         OH    44057‐2380
LILLIAN A ZUCCARO TR 10/28/91 LILLIAN A ZUCCARO     21200 HARRINGTON                                                                             CLINTON TWP     MI    48036‐1931
REVOCABLE TRUST
LILLIAN ADAMS                                       607 DANIELS                                                                                  WILMINGTON      IL    60481‐1457
LILLIAN ALLEN                                       314‐B WOODBRIDGE DR                                                                          RIDGE           NY    11961‐1341
LILLIAN ANDRES                                      4921 MARYBROOK DR                                                                            KETERING        OH    45429‐5728
LILLIAN ANDRIEKUS                                   33251 RAYBURN                                                                                LIVONIA         MI    48154‐2923
LILLIAN ASHLEY & LAWRENCE ASHLEY JT TEN             282 HILLSIDE AVE                                                                             FLANDERS        NJ    07836‐9038
LILLIAN B EASLEY                                    6395 CASTLE HWAY                                                                             PLEASUREVILLE   KY    40057‐8700
LILLIAN B PECK                                      100 CROMWELL DR                                                                              CHEEKTOWAGA     NY    14043‐4462
LILLIAN B ROBERTS                                   76 BURSLEM LANE                                                                              CAMERON         NC    28326‐7510
LILLIAN B SNYDER                                    63 ROBIN ST                                                                                  ROCHESTER       NY    14613‐2127
LILLIAN BABIY                                       3426 WILTSHIRE BLVD                 NIAGARA FALLS ON                       L2J 3E4 CANADA
LILLIAN BLADES HIATT                                1808 BRUCE LN                                                                                ANDERSON        IN    46012‐1908
LILLIAN BLECHMAN CUST ALLISON BLECHMAN UGMA CT 57 ATLANTIC AVE                                                                                   HAMPTON BAYS    NY    11946‐2348

LILLIAN BOLLE TIPTON                             510 N BROOKSIDE DR                     RM 12                                                    LITTLE ROCK     AR    72205‐1694
LILLIAN BROWN                                    4720 BURNS ST                                                                                   DETROIT         MI    48214‐1214
LILLIAN BROWN TR LILLIAN BROWN TRUST UA 11/06/96 3902 CLAIRMONT ST                                                                               FLINT           MI    48532‐5255

LILLIAN BRUTMAN                                   GSELL % GORDON                        1365 NW 29TH AVENUE                                      DELRAY BEACH    FL    33445‐7606
LILLIAN C ADRAGNA & JOSEPH M ADRAGNA JT TEN       28457 BRADNER                                                                                  WARREN          MI    48093‐4393
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 791 of 855
Name                                              Address1                                 Address2             Address3          Address4                City              State Zip

LILLIAN C ADRAGNA CUST DIANE MARIE ADRAGNA        623 SHORTRIDGE                                                                                          ROCHESTER HILLS   MI    48307‐5144
UGMA MI
LILLIAN C ADRAGNA CUST JULIE ANNE ADRAGNA UGMA    7554 PARADISE DR                                                                                        GRAND BLANC       MI    48439‐8598
MI
LILLIAN C BEARDEN & JOHN M BEARDEN JR JT TEN      2539 AMALFI DRIVE                                                                                       CONYERS           GA    30012‐2957
LILLIAN C BLOOM                                   113 WINDSTONE DR                                                                                        GREENVILLE        SC    29615‐3852
LILLIAN C CANNON                                  22 FULLER ST                                                                                            GLOUCESTER        MA    01930‐3937
LILLIAN C FLETCHER                                2061 HOTCHKISS                                                                                          FREELAND          MI    48623‐9744
LILLIAN C GEARHISER                               4326 WINGATE RD                                                                                         LOUISVILLE        KY    40207‐2870
LILLIAN C KAMALAY                                 21 WOODMAN ST                                                                                           GLOUCESTER        MA    01930‐2021
LILLIAN C MATNEY                                  118 CANADIAN DR                                                                                         SCOTTSBORO        AL    35769‐6041
LILLIAN C MATNEY & PATRICIA DEXTROM JT TEN        118 CANADIAN DR                                                                                         SCOTTSBORO        AL    35769‐6041
LILLIAN C MCINDOE                                 61 ROBERT ADAMS DRIVE                    COURTICE ON                            L1E 1T9 CANADA
LILLIAN C MOEDE TR LILLIAN C MOEDE TRUST UA       3127 SHORE BROOK COURT                                                                                  LEAGUE CITY       TX    77573‐9006
01/26/94
LILLIAN C ROLAND                                  1255 E COUNTY LINE RD K‐4                                                                               JACKSON           MS    39211‐1830
LILLIAN C WERNER & SUSAN T KELLNER JT TEN         7229 W HIGGINS RD                        APT 102                                                        CHICAGO           IL    60656‐1861
LILLIAN C YEAGER                                  35 RED ROCK CIRCLE                                                                                      ROCHESTER         NY    14626‐3179
LILLIAN C ZBOROWSKI CUST ORI A GUTMAN UGMA NY     44 FLEET ST                                                                                             FOREST HILLS      NY    11375‐5173

LILLIAN C ZBOROWSKI GUTMAN CUST TAMAR R           44 FLEET ST                                                                                             FOREST HILLS      NY    11375‐5173
GUTMAN UGMA NY
LILLIAN CAROL EHRENHAUS & IRVING J EHRENHAUS JT   726 DUMONT PLACE                                                                                        NORTH WOODMERE NY       11581‐3122
TEN
LILLIAN CHRISTIE JOHNSON                          505 RIVERSIDE                                                                                           MORA              MN    55051‐1724
LILLIAN CHUMITA                                   2051 PIONEER TRL                         LOT 86                                                         NEW SMYRNA        FL    32168‐8080
LILLIAN COE & MICHAEL COE & DOUGLAS COE JT TEN    11333 N EXTENSION RD                                                                                    LEVERING          MI    49755‐9507

LILLIAN COHEN                                      33 LARCHMONT RD                                                                                        BINGHAMTON        NY    13903‐1352
LILLIAN COHEN TR LILLIAN COHEN REV LIVING TRUST UA 9917 C SUMMERBROOK TERRACE                                                                             BOYNTON BEACH     FL    33437‐6108
9/29/00
LILLIAN D ANDRZEJEWSKI                             1350 COLLYER APT 223                                                                                   LONGMONT          CO    80501‐3354
LILLIAN D KENNEDY                                  2208 BLACKHAWK RD                                                                                      SPRINGFIELD       IL    62702
LILLIAN D ROBERTS GEORGE G ROBERTS & GEORGE E      425 WEST PENN ST                                                                                       SHENANDOAH        PA    17976‐1566
ROBERTS JT TEN
LILLIAN D SELINAS                                  1433 E 111 ST                                                                                          CLEVELAND         OH    44106‐1317
LILLIAN D SHINAULT                                 APT 3D                                  270 N BROADWAY                                                 YONKERS           NY    10701‐2672
LILLIAN D VALCHAR & BRIAN COFFEY JT TEN            15 HEATH DRIVE FLAT #2                  LONDON                                 NW3 7SN GREAT BRITAIN
LILLIAN D WEST                                     C/O ALLEN                               664 MANOAH DR                                                  BETHEL PARK       PA    15102‐1348
LILLIAN D WILLIAMS                                 305 DONNA DR                                                                                           PLYMOUTH MTNG     PA    19462‐2851

LILLIAN DACHS                                     88‐14 65TH DR                                                                                           REGO PARK         NY    11374‐5009
LILLIAN DAVIS                                     4115 OHIO ST                                                                                            SAN DIEGO         CA    92104
LILLIAN DIANE DYER                                2304 ‐ 30 HILLSBORO AVE                  TORONTO ON                             M5R 1S7 CANADA
LILLIAN DOWNS                                     PO BOX 1281                                                                                             MT STERLING       KY    40353‐5281
LILLIAN E CHISUM                                  118 GRACE ST                                                                                            FLINT             MI    48503‐1006
LILLIAN E DUNCAN                                  104 DUNCAN LANE                          RT 2 BOX 275 A                                                 AFTON             VA    22920‐2836
LILLIAN E GOODMAN                                 4740 PRINCETON RD                                                                                       MEMPHIS           TN    38117‐1849
LILLIAN E HEETER                                  1915 DELMAR DR                                                                                          SPRINGFIELD       OH    45503‐6405
LILLIAN E HURLEY                                  533 PARK AVE                                                                                            SEBASTIAN         FL    32958‐4357
LILLIAN E MARRERA CUST WALTER J SNOW UTMA OH      PO BOX 7906                                                                                             MORENO VALLEY     CA    92552

LILLIAN E MEYER & BRADY A MCLEAN & TERRY L        134 REIF                                                                                                FRANKENMUTH       MI    48734‐1512
MCLEAN JT TEN
LILLIAN E OPFERMAN                                4001 SHOREHAM ST                                                                                        PITTSBURGH        PA    15212‐1529
LILLIAN E PELAEZ                                  3228 HENDERSON MILL ROAD                 APT 3                                                          ATLANTA           GA    30341‐6033
LILLIAN E PETERSON                                381 LINDEN STREET                                                                                       BOYLSTON          MA    01505
LILLIAN E SHIRLEY EX UW LILLIAN E SHIRLEY         11409 WESTPOINT                                                                                         TAYLOR            MI    48180‐4005
LILLIAN E WIITANEN                                5061 CORY COVE                                                                                          GAYLORD           MI    49735
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 792 of 855
Name                                                Address1                            Address2             Address3          Address4          City             State Zip

LILLIAN ELCHINOFF                                   1470 MURCHISON DR                                                                            MILLBRAE         CA    94030‐2855
LILLIAN EMMA BREEDEN                                471 W WISTARIA AVE                                                                           ARCADIA          CA    91007‐8144
LILLIAN ESAKOV                                      2900 BRAGG ST                       ROOM 331                                                 BROOKLYN         NY    11235‐1144
LILLIAN ETKIND TR UA 01/08/91 ETKIND FAMILY TRUST   54 COPELAND ST                                                                               WALTHAM          MA    02451

LILLIAN EUSKE                                       8469 SANDALWOOD COURT                                                                        DARIEN           IL    60561‐1769
LILLIAN EWERTH                                      30914 ROSSLYN                                                                                GARDENCITY       MI    48135‐1389
LILLIAN F BOPP                                      1427 DELTA AVENUE                                                                            GLADSTONE        MI    49837‐1317
LILLIAN F BROOKS & JUDY B MELIA JT TEN              80 WESTCHESTER RD                                                                            WILLIAMSVILLE    NY    14221‐5021
LILLIAN F CLARKE TR CLARKE 1990 TRUST UA 01/16/90   40 QUARTZ WAY                                                                                SAN FRANCISCO    CA    94131‐1636

LILLIAN F HAIRSTON                                3951 POMEROY DR                                                                                WINSTON‐SALEM    NC    27105‐4116
LILLIAN F HOLLISTON                               C/O SUSAN NICKARSON                   62 SUMMER STREET                                         MEDWAY           MA    02053‐2127
LILLIAN F KELLY                                   17271 NORTH 87TH AVE                  APT 1023                                                 PEORIA           AZ    85382
LILLIAN F MAYBERRY                                2009 N CAMPBELL                                                                                EL PASO          TX    79902‐2701
LILLIAN F MCCOY                                   5653 NORTON RD                                                                                 GROVE CITY       OH    43123‐9646
LILLIAN F REED                                    3926 PRISCILLA AVE                                                                             INDIANAPOLIS     IN    46226‐4856
LILLIAN F RHINES                                  632 HIGHLAND DRIVE                                                                             SPRINGFIELD      MO    65804
LILLIAN F VANCE                                   C/O KENNETH VANCE                     2920 W SLIGH AVE                                         TAMPA            FL    33614‐4212
LILLIAN F WERSCHLER TR UA 04/12/2007 LILLIAN F    21020 CALEDONIA                                                                                HAZEL PARK       MI    48030
WERSCHLER LIVING TRUST
LILLIAN FAFFER                                    310 EAST 70TH STREET APT 1E                                                                    NEW YORK         NY    10021‐8685
LILLIAN FEILER & KENNETH FEILER TR UW SAMUEL C    805 AMARYLLIS AVE                                                                              ORADELL          NJ    07649‐1405
FEILER
LILLIAN FELENCHAK & LAURIE PURVIS JT TEN          PO BOX 23                                                                                      MARION           MA    02738
LILLIAN FRIEDMAN CUST MURRAY F FRIEDMAN UTMA 45 SIERRA VISTA LANE                                                                                VALLEY COTTAGE   NY    10989‐2701
NY
LILLIAN FRITSCH KAKER                             95 SEA FERN DRIVE                                                                              LEESBURG         FL    34788‐8638
LILLIAN G DUNLOP                                  4‐B EARHART LANE                                                                               BRONX            NY    10475‐5513
LILLIAN G GLENCY                                  560 S NEWMAN ROAD                                                                              LAKE ORION       MI    48362‐2133
LILLIAN G JAMISON                                 101 DELAND DR                                                                                  EATON            OH    45320‐1606
LILLIAN G RENDFREY                                11 WIGWAM PATH                                                                                 MANASQUAN        NJ    08736‐3423
LILLIAN GARNER                                    11741 COYLE                                                                                    DETROIT          MI    48227‐2425
LILLIAN GEBHARDT                                  PO BOX 40                                                                                      VALRICO          FL    33595‐0040
LILLIAN GOBY & KENNETH F GOBY JR JT TEN           1106 E NORTHLINE RD                   APT 39                                                   TUSCOLA          IL    61953‐7838
LILLIAN GOLDNER TR DAVID BRIAN GOLDNER UA         4727 LYNNFIELD LN                                                                              ALLENTOWN        PA    18104‐9090
5/30/63
LILLIAN GOLDNER TR JONATHAN ANDREW GOLDNER UA 4727 LYNNFIELD LN                                                                                  ALLENTOWN        PA    18104‐9090
5/30/63
LILLIAN GOLDNER TR MICHAEL ROSS GOLDNER UA        4727 LYNNFIELD LN                                                                              ALLENTOWN        PA    18104‐9090
5/30/63
LILLIAN GOULD                                     226‐26 UNION TURNPIKE APT 6L                                                                   FLUSHING         NY    11364‐3105
LILLIAN GUCCIARDO                                 91 LOGANS RU                                                                                   ROCHESTER        NY    14626‐4311
LILLIAN H DRURY                                   39 BLOSSOMCREST RD                                                                             LEXINGTON        MA    02421‐7103
LILLIAN H GASPER                                  1716 N PARK AVE                                                                                ALEXANDRIA       IN    46001‐8189
LILLIAN H GLASS TR ROBERT V GLASS BYPASS TRUST UA PO BOX 730                                                                                     COLFAX           NC    27235
03/03/92
LILLIAN H KEEN                                    7085 BRISTOL RD                                                                                SWARTZ CREEK     MI    48473‐7905
LILLIAN H KLIMCZAK TOD SANDRA M GEORGE            29363 MERRICK                                                                                  WARREN           MI    48092
LILLIAN H LINDSAY                                 308 E GASTON ST                                                                                SAVANNAH         GA    31401‐5614
LILLIAN H SOBOLAK TR LILLIAN H SOBOLAK REV TRUST  29648 CITY CENTER DR APT 3                                                                     WARREN           MI    48093‐2415
UA 08/08/97
LILLIAN H STEFFENS                                17554 LAUREL AVE                                                                               LAKE MILTON      OH    44429‐9640
LILLIAN HENDRICKS                                 PO BOX 437                                                                                     YONKERS          NY    10703‐0437
LILLIAN HOURULA & JOYCE ANN JACOBSON JT TEN       PO BOX 634                                                                                     HARWICH PORT     MA    02646‐0634

LILLIAN I MAC LEAN                                  16351 ROTUNDA                                                                                DEARBORN         MI    48120‐1170
LILLIAN I POWLESS CUST ERIN M MC CUSKER UGMA MI     871 E PEPPERGRASS LANE                                                                       TUCSON           AZ    85719‐1058
                                                09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 4 of 8 Pg 793 of 855
Name                                                   Address1                               Address2             Address3          Address4          City              State Zip

LILLIAN I ROLLO JAMES A ROLLO & CHARLES L ROLLO JT     2857 NEAHTAWANTA RD                                                                             TRAVERSE CITY     MI    49686‐9710
TEN
LILLIAN I SANCHES                                      6219 WEST MENLO AVE                                                                             FRESNO            CA    93722‐8508
LILLIAN I ZACHARIAS TR DECL OF TRUST 10/10/91          RD #1 BOX 131                                                                                   FORD CITY         PA    16226‐9412
LILLIAN J BATES                                        1765 CLIFFVIEW DR APT 1014                                                                      ROCHESTER HILLS   MI    48306‐4275
LILLIAN J BLAINE                                       4820 WAVEWOOD                                                                                   COMMERCE          MI    48382‐1360
                                                                                                                                                       TOWNSHIP
LILLIAN J CARACO                                       7501 CONGRESSIONAL DR                                                                           LOCKPORT          NY    14094‐9073
LILLIAN J CHITWOOD                                     C/O ESTEL BOND                         177 BOND HILL DR                                         PIONEER           TN    37847‐2552
LILLIAN J DRYBURGH                                     255 ROBERT DR                                                                                   N TONAWANDA       NY    14120‐6406
LILLIAN J LEIGH                                        17616 AVON ST                                                                                   DETRIOT           MI    48237
LILLIAN J LINDHURST                                    86 WHEELER STREET                                                                               TONAWANDA         NY    14150‐1928
LILLIAN J MAHONEY TR MAHONEY REVOCABLE TRUST           5636 HONORS DR                                                                                  SAN DIEGO         CA    92122‐4124
UA 06/03/97
LILLIAN J MORGAN                                       14001 TURNBERRY LANE                                                                            MIDLOTHIAN        VA    23113
LILLIAN J PARSONS                                      181 ALTON ROAD                                                                                  GALLOWAY          OH    43119‐9377
LILLIAN J PRAGLE                                       8218 WHEATON HILL                      BOX 191                                                  SPRINGWATER       NY    14560‐0191
LILLIAN J RICCARDI                                     125 LORIAN DRIVE                                                                                N SYRACUSE        NY    13212‐4248
LILLIAN J SMITH                                        10007 FALCON CREEK DR                                                                           HGHLNDS RANCH     CO    80130
LILLIAN J STONE                                        6364 PEBBLEBROOK LANE                                                                           WILLIAMSON        NY    14589‐9007
LILLIAN J SURPICK                                      8292 STERLING                                                                                   CENTERLINE        MI    48015‐1714
LILLIAN J VEATOR                                       25 COLUMBIA RD                                                                                  MEDFORD           MA    02155‐4506
LILLIAN J ZUKOWSKI                                     4 NIANTIC RIVER RD                                                                              WATERFORD         CT    06385‐3119
LILLIAN K DALTON                                       PO BOX 764                                                                                      PULASKI           VA    24301‐0764
LILLIAN K DITTRICH                                     27569 DETROIT RD. AT. 225                                                                       WESTLAKE          OH    44145
LILLIAN K GREENBERG & JUSTIN BERMAN JT TEN             144‐03 CRONSTON AVE                                                                             NEPONSIT          NY    11694‐1123
LILLIAN K HAASE                                        1517 ROCKLAND ROAD                     UNIT 103                                                 WILMINGTON        DE    19803
LILLIAN K MEHAFFEY                                     RT #1 BOX 220                                                                                   LUCASVILLE        OH    45648‐9734
LILLIAN K POPPLETON                                    201 RIDGEWOOD RD                                                                                ROCHESTER         NY    14626‐3323
LILLIAN K WINKOPP & WILLIAM O WINKOPP JT TEN           306 PAOLI POINTE DR                                                                             PAOLI             PA    19301‐1381

LILLIAN KAPERA                                         19324 PINECREST                                                                                 ALLEN PARK        MI    48101‐2367
LILLIAN KAUFER TR LILLIAN KAUFER DECLARATION OF        4953 OAKTON STREET APT 311                                                                      SKOKIE            IL    60077
TRUST UA 2/4/88
LILLIAN KOWALSKI                                       934 OLD MILL ROAD                                                                               FRANKLIN LAKES    NJ    07417‐1906
LILLIAN KRAMER                                         523 SOUTH WEBSTER AVENUE                                                                        SCRANTON          PA    18505‐1381
LILLIAN KRASICKY & ELAINE P STEVENS & JEAN MARIE       10111 GRATIOT AVE                                                                               COLUMBUS          MI    48063‐4005
MAHAFFY JT TEN
LILLIAN L ANGELL                                       44 MILLER PLACE                                                                                 MERRICK           NY    11566‐3418
LILLIAN L BEELER                                       N293 LISA LN                                                                                    STODDARD          WI    54658‐9715
LILLIAN L DOLLENS                                      5009 PENDLETON AVE                                                                              ANDERSON          IN    46013‐2328
LILLIAN L HAAS                                         418 W FISHER                                                                                    SAGINAW           MI    48603
LILLIAN L IPPOLITO                                     405A OXFORD LANE                                                                                MONROE            NJ    08831‐1731
                                                                                                                                                       TOWNSHIP
LILLIAN L LAWRENCE                                     949 N ABREGO DR                                                                                 GREEN VALLEY      AZ    85614‐3331
LILLIAN L LAZZARINI                                    ATTN LILLIAN L BEATTY                  4136 AUBURN DRIVE                                        ROYAL OAK         MI    48073‐6339
LILLIAN L MCKEE                                        27 S BERKSHIRE RD                                                                               BLOOMFIELD        MI    48302‐0409
LILLIAN L MOHR                                         6 YORK COURT                                                                                    NORTHPORT         NY    11768‐3346
LILLIAN L PATTY & WILLIAM L PATTY TR LILLIAN L PATTY   PO BOX 103                                                                                      OREGONIA          OH    45054‐0103
TRUST UA 03/19/90
LILLIAN L SANNES                                       3420 SR 133                                                                                     BATAVIA           OH    45103
LILLIAN L SCHOENBERGER                                 1418 S 39                                                                                       KANSAS CITY       KS    66106‐1916
LILLIAN L SHORT                                        618 NEW YORK AVE                                                                                CLAYMONT          DE    19703‐1958
LILLIAN L SMART                                        22808 JEB STUART HWY                                                                            STUART            VA    24171‐2722
LILLIAN L STRATINGH                                    88 EASTMANVILLE ST                     APT C                                                    COOPERSVILLE      MI    49404‐1268
LILLIAN L VANDERKUUR & JOHN L VANDERKUUR JT TEN        8074 PERRY RD                                                                                   GRAND BLANC       MI    48439‐9724

LILLIAN L WORTHY CUST HENRY L WORTHY A MINOR           2400 FREDERICA RD                                                                               SAINT SIMONS      GA    31522‐1913
UNDER THE LAWS OF GEORGIA                                                                                                                              ISLAN
                                             09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                      Part 4 of 8 Pg 794 of 855
Name                                              Address1                             Address2                       Address3   Address4          City              State Zip

LILLIAN LEE HOM TR LILLIAN LEE HOM TRUST UA      1236 42ND AVE                                                                                     SACRAMENTO        CA    95822‐2945
08/24/89
LILLIAN LEE HOM TR REVOCABLE TRUST 09/24/89 U‐A  1236 42ND AVE                                                                                     SACRAMENTO        CA    95822‐2945
LILLIAN LEE HOM
LILLIAN LOUISE GREGORY                           3915 AUGUSTA ST                                                                                   FLINT             MI    48532‐5268
LILLIAN M ALLEN                                  664 MANOAH DR                                                                                     BETHEL PARK       PA    15102‐1348
LILLIAN M BAUMGARDNER                            PO BOX 91                                                                                         AU GRES           MI    48703‐0091
LILLIAN M CLARK                                  10 MADISON LN                                                                                     AVON              CT    06001‐4567
LILLIAN M DI NATALE                              77 HYLAN BLVD                                                                                     STATEN ISLAND     NY    10305‐2081
LILLIAN M DIENER                                 249 MYRTLE AVE                                                                                    ELMHURST          IL    60126‐2651
LILLIAN M DOLAN                                  45 HUNTINGTON PKWY                                                                                HAMLIN            NY    14464‐9320
LILLIAN M FOUREZ & KATHRYN M SCHANTZ JT TEN      1760 OAKLEY PARK RD                                                                               WALLED LAKE       MI    48390
LILLIAN M FOUREZ & MARY ANN GROSS JT TEN         1760 OAKLEY PARK RD                                                                               WALLED LAKE       MI    48390
LILLIAN M GILLER                                 4546 S CARVERS ROCK RD                                                                            CLINTON           WI    53525‐8719
LILLIAN M GLIENKE                                2542 AMHERST AVE                                                                                  LOS ANGELES       CA    90064‐2712
LILLIAN M HARMAN                                 PO BOX 203                                                                                        OCEAN CITY        MD    21843‐0203
LILLIAN M HENDRICK                               3300 BENNETT                                                                                      COOKEVILLE        TN    38506‐6455
LILLIAN M HUSSEY                                 133 CUMBERLAND ST                     APT 106                                                     CORNISH           ME    04020‐3267
LILLIAN M JAMES                                  PO BOX 24379                          79 PENNSVILLE PEDRICKTOWN RD                                PEDRICKTOWN       NJ    08067‐3315
LILLIAN M JEFFERY                                3021 ELEVENTH ST NW                                                                               ALBERQURQUE       NM    87107‐1116
LILLIAN M KOCIENSKI                              79 CORNELL AVE                                                                                    MASSENA           NY    13662‐1425
LILLIAN M KOCKA                                  8520 SELWICK DR                                                                                   PARMA             OH    44129‐6059
LILLIAN M LAKOWICZ TOD TERESA L LAVINGE SUBJECT 57715 W EIGHTH MILE RD                                                                             NORTHVILLE        MI    48167‐9139
TO STA TOD RULES
LILLIAN M LANNING                                405 WILLIAMS ST                                                                                   HOWARD CITY       MI    49329‐9663
LILLIAN M MADISON                                438 N MAIN ST                                                                                     WILKINSON         IN    46186‐9720
LILLIAN M MAHONEY TR UA 12/18/84 LILLIAN M       21 WARREN AVE APT 485                                                                             WOBURN            MA    01801‐4982
MAHONEY TRUST
LILLIAN M MCAULEY & PHILIP C MCAULEY & DEBORAH K 2607 STURGES ST                                                                                   PORT HURON        MI    48060‐6655
VISGA JT TEN
LILLIAN M MOROZ                                  8 FORDHAM RD                                                                                      PARLIN            NJ    08859‐1235
LILLIAN M MULLINS                                7 OAKLAND CT                                                                                      ESSEXVILLE        MI    48732‐1247
LILLIAN M PIPKIN                                 108 TIGER LN                                                                                      SUMMERVILLE       SC    29483‐7511
LILLIAN M PORTER                                 89 FOREST ST                                                                                      MIDDLEBORO        MA    02346‐2019
LILLIAN M REYNOLDS                               4100 E DONATO DRIVE                                                                               GILBERT           AZ    85297‐8641
LILLIAN M RITTER                                 9 HILLSIDE AVE                                                                                    PLYMOUTH          CT    06782‐2305
LILLIAN M SMITH                                  706 BOLER ROAD                        LONDON ON                                 N6K 4M7 CANADA
LILLIAN M STERNER                                2409 G OLD BETHLEMEN PIKE                                                                         SELLERSVILLE      PA    18960‐1700
LILLIAN M STERNER                                2409 G OLD BETHLEHAM PIKE                                                                         SELLERSVILLE      PA    18960‐1700
LILLIAN M SWIFT                                  2336 WHITE OAK RD                                                                                 BAKERSVILLE       NC    28705‐8181
LILLIAN M THOMAS & JOHN C THOMAS JT TEN          4400 EBERHART                                                                                     HARRISON          MI    48625‐8946
LILLIAN M WARE                                   C/O LILLIAN BARTON                    8615 PETTY RD                                               CHATTANOOGA       TN    37421‐3375
LILLIAN M WARREN                                 238 COMMONWEALTH AVENUE                                                                           FLINT             MI    48503‐2156
LILLIAN M WESLEY                                 3444 S AHMEDI AVE                                                                                 MILWAUKEE         WI    53207‐3639
LILLIAN MAINE & WILFRED MAINE JT TEN             20 COVENTRY RD                                                                                    TOMS RIVER        NJ    08757‐4719
LILLIAN MARIE PETERS & DONALD E PETERS JT TEN    8518 CENTRAL AVE                                                                                  BROOKSVILLE       FL    34613‐5021

LILLIAN MARK                                      6210 SUN BLVD                        APT 607                                                     ST PETERSBURG     FL    33715‐1044
LILLIAN MAXINE HENDERSON                          R R 11 BOX 1644                                                                                  BEDFORD           IN    47421‐9727
LILLIAN MCFADDEN                                  PO BOX 352                                                                                       WILLIAMSTON       MI    48895‐0352
LILLIAN MISCHUK & IRENE MISCHUK JT TEN            3‐J GARDEN TERR                                                                                  NORTH ARLINGTON   NJ    07031‐6233

LILLIAN MORRIS                                     119‐13 225 ST                                                                                   CAMBRIA HGTS      NY    11411‐2115
LILLIAN MORTS TR THE LILLIAN MORTS LIVING TRUST UA 3305 SHAWNEE LANE                                                                               WATERFORD         MI    48329‐4349
09/28/90
LILLIAN MULLER                                     59 SPRING LAKE GARDENS                                                                          SPRING LAKE       NJ    07762‐2525
LILLIAN MYDLARZ                                    6539 WOODMERE RD                                                                                JACKSON           MI    49201‐9408
LILLIAN N BESSER                                   1314 CHEROKEE                                                                                   ROYAL OAK         MI    48067‐3386
LILLIAN NELSON                                     62 WENDOVER RD                                                                                  YONKERS           NY    10705‐2547
                                                 09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 4 of 8 Pg 795 of 855
Name                                                  Address1                               Address2             Address3          Address4          City            State Zip

LILLIAN O DURST                                       33932 VALENCIA PL                                                                               DANA POINT      CA    92629‐2227
LILLIAN O MC MICHAEL                                  PO BOX 19111                                                                                    DETROIT         MI    48219‐0111
LILLIAN O THOMSEN                                     812 PARK ST                                                                                     BRANDON         VT    05733‐8815
LILLIAN P BAILEY                                      731 FARMHOUSE RD                                                                                MICKLETON       NJ    08056‐1473
LILLIAN P CHAMBERLIN                                  455 HURFFDILLE‐CROSS KEY RD            APT 109                                                  SEWELL          NJ    08080
LILLIAN P NEAL                                        18529 KELLY RD                                                                                  DETROIT         MI    48224‐1053
LILLIAN P RUSSELL                                     15490 VINCENT ST                                                                                CLINTON TWP     MI    48038‐5807
LILLIAN P SOROKA & JOANN SOROKA JT TEN                11109 BROUGHAM DR                                                                               STERLING HTS    MI    48312
LILLIAN P SOROKA & JOANN SOROKA JT TEN                11109 BROUGHAM DR                                                                               STERLING HTS    MI    48312
LILLIAN P WOJTALAK                                    1200 CRITTENDON RD                                                                              ROCHESTER       NY    14623‐2306
LILLIAN PERCIVAL                                      19116 WAYNE DR                                                                                  TRIANGLE        VA    22172‐2140
LILLIAN PERRI                                         4232 MARCELLO DR                                                                                COMMERCE        MI    48382‐1661
                                                                                                                                                      TOWNSHIP
LILLIAN PLAVKO                                        1120 DENNIS AVE                                                                                 MONESSEN        PA    15062‐1825
LILLIAN POIRIER                                       922 S BROADWAY                                                                                  PENDLETON       IN    46064‐9570
LILLIAN POSEY                                         1577 COVINGTON XING                                                                             COMMERCE TWP    MI    48390‐2844
LILLIAN PROSSER                                       403 S BARBOUR ST                                                                                BEVERLY HILLS   FL    34465
LILLIAN R ARNESON                                     140 HILLSIDE COURT                                                                              JANESVILLE      WI    53545‐4342
LILLIAN R ASIMAKOPOULOS                               2991 SPRINGMEADOW CIRCLE                                                                        AUSTINTOWN      OH    44515‐4952
LILLIAN R B HAINES & WILLIAM L HAINES JT TEN          1316 E LINCOLN HWY                                                                              COATESVILLE     PA    19320‐3546
LILLIAN R FILL                                        6405 STUMPH RD APT 5                                                                            CLEVELAND       OH    44130‐2942
LILLIAN R FRITH TR LILLIAN R FRITH TRUST UA 8/25/98   125 WALTER SE                                                                                   WYOMING         MI    49548‐3241

LILLIAN R SIMON CUST DENISE JANE SIMON UNDER THE      3675 N COUNTRY CLUB DR                 APT 2501                                                 MIAMI           FL    33180‐1710
PAU‐G‐M‐A
LILLIAN R SIMONS CUST STEPHEN BRIAN SAFER UGMA        3675 N COUNTRY CLUB DR                 APT 2501                                                 MIAMI           FL    33180‐1710
PA
LILLIAN R TALBOT                                      18181 BRITTANY DR SW                                                                            SEATTLE         WA    98166‐3809
LILLIAN R TONE                                        302 HERBERT ST                                                                                  SYRACUSE        NY    13208‐2908
LILLIAN R WUNSCH                                      4944 EVANS ST                                                                                   OMAHA           NE    68104
LILLIAN RANDALL & CLARK D RANDALL & BRETT A           1111 SONMAN AVE                                                                                 PORTAGE         PA    15946‐1933
RANDALL JT TEN
LILLIAN REESE                                         2034 EAST 72ND PLACE                                                                            CHICAGO         IL    60649‐3027
LILLIAN REICHERT                                      170 REDWOOD TRAIL                                                                               YOUNGSTOWN      OH    44512
LILLIAN ROTH TR UA 11/16/93 LILLIAN ROTH TRUST        24903 MOULTON PARKWAY                  APT 345                                                  LAGUNA HILLS    CA    92653

LILLIAN RUTH WILLIAMS                                 168 NEW HAMPSHIRE COURT                                                                         MOCKSVILLE      NC    27028
LILLIAN RYVOLD                                        ONO 21 WINDERMERE ROAD                                                                          WINFIELD        IL    60190
LILLIAN S BEHRENS                                     163 HIGHWOOD AVE                                                                                WEEHAWKEN       NJ    07086‐7010
LILLIAN S CORBETT                                     160 OAT ST                                                                                      ASHLAND         MA    01721‐1059
LILLIAN S CZAPLA                                      70 HARMUND PL                                                                                   WETHERSFIELD    CT    06109‐1207
LILLIAN S FAIR                                        ATTN LILLIAN S SCUTILLO                1413 RACCOON DRIVE                                       WARREN          OH    44484‐1431
LILLIAN S MATSUO & JAMES J MATSUOTR LILLIAN S         4125 PAKOLU PL                                                                                  HONOLULU        HI    96816‐3930
MATSUO TRUST UA 10/20/97
LILLIAN S RICHMOND                                    5560 OAK HILL DR NW                                                                             WARREN          OH    44481
LILLIAN S SHORTT                                      PO BOX 2302                                                                                     IDYLLWILD       CA    92549‐2302
LILLIAN SCHWARTZ                                      3485 FENTON AVE                                                                                 BRONX           NY    10469‐2004
LILLIAN SHAPIRO                                       3900 BAILEY AVE 3L                                                                              BRONX           NY    10463‐2732
LILLIAN SHINAULT                                      270 N BROADWAY                         APT 3D                                                   YONKERS         NY    10701‐2672
LILLIAN SHIPMAN & PAUL SHIPMAN JT TEN                 69 SHIPMAN LANE                                                                                 MOUNT IDA       AR    71957‐8099
LILLIAN SPOHR & KENNETH L BLOCK & ROBERT H BLOCK      4295A PEARTREE CIRCLE                                                                           BOYNTON BEACH   FL    33436‐3734
JT TEN
LILLIAN T HOPKINS                                     26733 LONESOME RD                                                                               SEAFORD         DE    19973‐4673
LILLIAN T KILLINGS                                    829 SEVEN SPRINGS DR                                                                            BIRMINGHAM      AL    35215‐5129
LILLIAN T KOTCHEK                                     118 N PRICE ST                                                                                  KINGWOOD        WV    26537‐1119
LILLIAN T RENO                                        2171 U S 23                                                                                     KAWKAWLIN       MI    48631
LILLIAN T TOWLES                                      714 ALMOND AVE                                                                                  DAYTON          OH    45417‐1207
LILLIAN T ZIMMERMAN                                   C/O LILLIAN T KARWOWSKI                305 COURT BLVD                                           MILLVILLE       NJ    08332‐6415
LILLIAN THERESA VAN EXEL                              135 EASTERN PKWY #6H                                                                            BROOKLYN        NY    11238‐6027
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit E
                                                                                        Part 4 of 8 Pg 796 of 855
Name                                              Address1                               Address2                      Address3                       Address4             City              State Zip

LILLIAN THOMAS                                    227‐15 111 AVE                                                                                                           QUEENS VILLAGE    NY    11429‐2804
LILLIAN TREACY                                    375 SADDLE RIVER ROAD                                                                                                    MONSEY            NY    10952‐5026
LILLIAN TREACY & MISS ARLINE TREACY JT TEN        375 SADDLE RIVER ROAD                                                                                                    MONSEY            NY    10952‐5026
LILLIAN TRUJILLO                                  9406 ROYALTON DR                                                                                                         SHREVEPORT        LA    71118‐3613
LILLIAN V FALASCA                                 4790 BOND AVE NW                                                                                                         WARREN            OH    44483‐1746
LILLIAN V FRANZ & BRIAN E FRANZ JT TEN            140 HARROGATE PL                                                                                                         LONGWOOD          FL    32779‐4569
LILLIAN V JOHNSON                                 1517 S FRANKLIN AVE                                                                                                      FLINT             MI    48503‐6417
LILLIAN V MAYFIELD                                PO BOX 841                                                                                                               FLOWERY BRANCH    GA    30542‐0015

LILLIAN V MCNALLY TOD LYNE E BISHOP SUBJ TO STA   20267 FAIRWOOD DR                                                                                                        NEVIS             MN    56467‐4224
TOD RULES
LILLIAN W HUNTER                                  441 E 20TH ST                                                                                                            NEW YORK          NY    10010‐7512
LILLIAN W LEVIN                                   2511 SAINT CHARLES AVE                 APT 204                                                                           NEW ORLEANS       LA    70130‐5956
LILLIAN W LINDAHL                                 2254 BEACON POINT BLVD                                                                                                   PALM HARBOR       FL    34683‐3901
LILLIAN WATERMAN                                  3535 STONY ST                                                                                                            MOHEGAN LAKE      NY    10547‐1423
LILLIAN WEITZNER                                  523 SCOTLAND RD                                                                                                          UNION             NJ    07083‐7909
LILLIAN WOGOMAN                                   8815 APPLEKNOLL LN                                                                                                       CINCINNATI        OH    45236‐2103
LILLIAN WOODS                                     17225 MACARTHUR                                                                                                          REDFORD           MI    48240‐2240
LILLIAN Y CHEN                                    6 WARNKE LANE                                                                                                            SCARSDALE         NY    10583‐3114
LILLIAN YCAZA                                     2150 SAN SOUCI BLVD                    APT 307N                                                                          NORTH MIAMI       FL    33181‐3035
LILLIAN ZABLOCKI                                  ALON SHVNT 90433                       GUSH ETZION ISREAL                                           ISRAEL
LILLIAN ZIENTY CUST MARK ZIENTY UGMA IL           222 OAK BROOK RD                                                                                                         OAK BROOK         IL    60523‐2316
LILLIAS JEANNETTE WEST & GUSTAF EDWARD WEST JR    6 VANE STREET                                                                                                            WELLESLEY         MA    02482‐6912
JT TEN
LILLIE B ARRINGTON                                8751 MARTZ PAULIN RD                                                                                                     FRANKLIN          OH    45005‐4025
LILLIE B COLEMAN                                  1501 WAYNE ST                          APT B                                                                             TOLEDO            OH    43609‐2040
LILLIE B DANIELS                                  4215 N LEAVITT DR                                                                                                        WARREN            OH    44485‐1106
LILLIE B JEFFERSON                                94 ADENA RD                                                                                                              W NEWTON          MA    02465‐1221
LILLIE B KNOWLES                                  7142 MOORLAND DR                                                                                                         CLARKSVILLE       MD    21029‐1735
LILLIE B MOTLEY                                   5515 LESLIE DRIVE                                                                                                        FLINT             MI    48504‐7041
LILLIE B PHILLIPS                                 4335 MCCORD LINSEY RD                                                                                                    SNELLVILLE        GA    30039‐6749
LILLIE B RICHARDSON                               904 N WASHINGTON AVE                                                                                                     BATTLE CREEK      MI    49017‐2626
LILLIE B THOMAS                                   3618 CIRCLE DR                                                                                                           FLINT             MI    48507‐1886
LILLIE BELLE THIEDE                               2511 WEDGLEA DR                        APT 816                                                                           DALLAS            TX    75211‐2043
LILLIE BURGESS                                    PO BOX 717                                                                                                               NEW ALBANY        IN    47151‐0717
LILLIE C WALSH                                    62500 SILVER LAKE ROAD                                                                                                   SOUTH LYON        MI    48178‐9255
LILLIE CALLEBS                                    25630 TECLA                                                                                                              WARREN            MI    48089‐4108
LILLIE CHRISTIAN                                  906 HOLTEN ST                                                                                                            LANSING           MI    48915‐2012
LILLIE DAVIDSON                                   1086 FOREST AVENUE                                                                                                       BURTON            MI    48509‐1902
LILLIE DAVIES CHERRY                              637 HOLMDEL RD                                                                                                           HAZLET            NJ    07730‐1345
LILLIE E CONWAY                                   668 MIA AVE                                                                                                              DAYTON            OH    45427‐3029
LILLIE E ENGLAND                                  142 BRICK MEETING HOUSE RD                                                                                               RISING SUN        MD    21911‐1705
LILLIE E VOGEL                                    5021 COUNLY RD 14                                                                                                        WATERLOO          AL    35672
LILLIE E WALKER                                   58 FAIR PLACE                                                                                                            ROCHESTER         NY    14609‐6120
LILLIE EDWARDS                                    ATTN RONNEY E HAMMONDS                 PERSONAL REPRESENTATIVE FOR   THE ESTATE OF LILLIE EDWARDS   PO BOX 13            GALLOWAY          OH    43119‐0013
LILLIE F TIEMEYER                                 506 SMITH DRIVE                                                                                                          RAYMORE           MO    64083‐9119
LILLIE FULLER                                     650 DEERFIELD CT                                                                                                         ROCHESTER HILLS   MI    48309‐2690
LILLIE G WITT                                     7824 MAPLELEAF DR                                                                                                        CINCINNATI        OH    45243‐1941
LILLIE H MONTGOMERY                               3314 CLAYTON WOODS DR                                                                                                    HOUSTON           TX    77082‐4072
LILLIE HARRINGTON                                 3301 DUPONT ST                                                                                                           FLINT             MI    48504‐2675
LILLIE HORTON                                     4268 STURTEVANT                                                                                                          DETROIT           MI    48204‐1432
LILLIE I THRONDSET & BRENDA J MCCONNAUGHHAY JT    10238 PRIMROSE DR                                                                                                        DAVISON           MI    48423
TEN
LILLIE J ADAMS                                    3688 RON LN                                                                                                              YOUNGSTOWN        OH    44505‐4343
LILLIE J BYRD                                     4548 SAHARA DRIVE S W                                                                                                    ATLANTA           GA    30331‐7127
LILLIE J JACKSON                                  3530 SANDY WOODS LN                                                                                                      STONE MOUNTAIN    GA    30083‐4054

LILLIE JOHNSON ROBINSON                           PO BOX 2546                                                                                                              WAYCROSS          GA    31502‐2546
LILLIE L CALDWELL                                 3401 JASPER LANE                                                                                                         FORT WAYNE        IN    46816‐2764
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 797 of 855
Name                                                 Address1                            Address2             Address3          Address4          City               State Zip

LILLIE M ALLEN                                       9370 WINDSOR LAKE BLVD              APT 150                                                  COLUMBIA           SC    29223
LILLIE M BEALS TR BEALS FAMILY TRUST A UA 06/01/97   22214 VANOWEN STREET                                                                         WOODLAND HILLS     CA    91303‐2401

LILLIE M CASTLEBERRY                            2957 MOORINGS PKWY                                                                                SNELLVILLE         GA    30039‐7313
LILLIE M CORTNER CUST MARLESE A CORTNER UTMA KS 5131 W BELLFORT AVE                                                                               HOUSTON            TX    77035‐3134

LILLIE M CUNNINGHAM                               2732 W LAFAYETTE AVE                                                                            BALTIMORE          MD    21216‐4734
LILLIE M GENTRY                                   4444 WINDSOR CT                        APT 107                                                  SWARTZ CREEK       MI    48473‐1830
LILLIE M HARP                                     19753 APPOLINE                                                                                  DETROIT            MI    48235‐1116
LILLIE M HARRISON                                 365 JOSLYN STREET                                                                               PONTIAC            MI    48342‐1518
LILLIE M HUDSON                                   6650 W BELDEN AVE                      APT 314                                                  CHICAGO            IL    60707‐3447
LILLIE M LOOKABILL & DONNA S HARRIS & DONA D EADS 977 SENECA PARK RD                                                                              BALTIMORE          MD    21220
JT TEN
LILLIE M MADISON                                  3360 S EDSEL                                                                                    DETROIT            MI    48217‐1029
LILLIE M MORRIS CUST CRAIG CLINTON MORRIS UND MA 26 VESTA ROAD                                                                                    DORCHESTER         MA    02124‐1609
U‐G‐T‐M‐A
LILLIE M PETERSON                                 422 EVRINTOWN ROAD                     CASTLWOOD                                                CASTLEWOOD         VA    24224‐5701
LILLIE M RIGGS                                    507 LEWIS DR                                                                                    FAIRBORN           OH    45324‐5518
LILLIE M SANDLIN & DWAYNE L SANDLIN JT TEN        2230 KAJEAN AVE                                                                                 DAYTON             OH    45439‐2724
LILLIE M SPRAGGINS                                12206 SANTA ROSA                                                                                DETROIT            MI    48204‐5316
LILLIE M WHEELER                                  3009 WILFORD PACK CT                                                                            ANTIOCH            TN    37013‐1379
LILLIE MAE ADAMS CUST DARNELL ADAMS UGMA NJ       73 VAN NOSTRAND AVE                                                                             JERSEY CITY        NJ    07305‐3021

LILLIE MAE ADAMS CUST DWAYNE LA VAR GOSS UGMA 73 VAN NOSTRAND AVE                                                                                 JERSEY CITY        NJ    07305‐3021
NJ
LILLIE MAE DYSON                                     2310 TOBY BETH DRIVE                                                                         FLINT              MI    48505‐1079
LILLIE MAE HOGANS                                    324 IDLEWOOD ROAD                                                                            WAYNESBORO         GA    30830‐5815
LILLIE MAE TEMPLE                                    2425 PHOENIX                                                                                 SAGINAW            MI    48601‐2464
LILLIE MARIE CARPER                                  136 HOLDSWORTH                                                                               WILLIAMSBURG       VA    23185‐5514
LILLIE MARIE CORTNER CUST MARLESE ANN CORTNER        5131 W BELLFORT AVE                                                                          HOUSTON            TX    77035‐3134
UGMA KAN
LILLIE MILLER                                        5330 POPLAR SPRINGS RD                                                                       CHARLOTTE          NC    28269
LILLIE N BAIN & VIOLA Y SIDERS & BONNIE L AUQUIER JT 5521 TUBBS                                                                                   WATERFORD          MI    48327‐1367
TEN
LILLIE O CURRAN TR REVOCABLE LIVING TRUST 08/10/91 2307 MOCKINGBIRD DR                                                                            ROUND ROCK         TX    78681‐2711
U‐A LILLIE O CURRAN
LILLIE P MOORE                                       26720 WHITEWAY DR                   APT 213                                                  CLEVELAND          OH    44143
LILLIE P SCOTT                                       2033 W 64TH STREET                                                                           INDIANAPOLIS       IN    46260‐4312
LILLIE R HATFIELD                                    739 HENSLEY RD                                                                               OLIVER SPGS        TN    37840‐1321
LILLIE R IVESTER                                     16251 EDGE OF THE EARTH RD                                                                   LEXINGTON          OK    73051‐6417
LILLIE S RODWELL                                     693 SMITH‐GRADY ROAD                                                                         SEVEN SPRINGS      NC    28578‐9519
LILLIE S SHELTON                                     1008 BOULEVARD                                                                               COLONIAL HEIGHTS   VA    23834‐3239

LILLIE SAMPSON                                       12686 ROSELAWN                                                                               DETROIT            MI    48238‐3147
LILLIE SUE FRAZER                                    764 MONTICELLO RD                                                                            EATONTON           GA    31024‐2713
LILLIE SULLIVAN                                      1078 HOLMDEN                                                                                 CLEVELAND          OH    44109
LILLIE T HOYLE                                       632 MIDWAY DRIVE                                                                             SPENCER            VA    24165‐3414
LILLIE T ROWE                                        19251 PALMER ST                                                                              MELVINDALE         MI    48122‐1836
LILLION L JOHNSON                                    3723 SKYLINE DR                                                                              JACKSON            MS    39213‐6046
LILLO S CRAIN                                        PO BOX 1674                                                                                  HANALEI KAUAI      HI    96714‐1674
LILLON B GREENE                                      592 CUPP RD                                                                                  NEW TAZEWELL       TN    37825‐4262
LILLY A TRIMBLE                                      917 CENTER ST E                                                                              WARREN             OH    44481‐9306
LILLY B JOHNSON                                      9270 YARROW ST #3309                                                                         WESTMINSTER        CO    80021‐8639
LILLY C LONGERE                                      11027 N LOWER LAKE SHORE DR                                                                  MONTICELLO         IN    47960‐8136
LILLY C THOMPSON                                     4909 FLETCHER                                                                                WAYNE              MI    48184‐2011
LILLY D WELEHODSKY                                   7157 ADELLE ST                                                                               FLUSHING           MI    48433‐8818
LILLY G GOSDA                                        3808 NORTH WRIGHT ROAD              APT 221                                                  JANESVILLE         WI    53545
LILLY GILLETTE                                       11101 LINKSIDE DR                                                                            PORT RICHEY        FL    34668‐2415
LILLY M MCMILLAN                                     428 MICHAEL COURT                                                                            DES PLAINES        IL    60016‐2434
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit E
                                                                                     Part 4 of 8 Pg 798 of 855
Name                                            Address1                              Address2                      Address3              Address4          City               State Zip

LILLY POON                                     2107 LARKIN ST APT 8                                                                                         SAN FRANCISCO      CA    94109‐1946
LILLY ZBOROWSKI GUTMAN CUST ORI ABRAHAM        44 FLEET ST                                                                                                  FOREST HILLS       NY    11375‐5173
GUTMAN UGMA NY
LILLY ZBOROWSKI‐GUTMAN CUST TAMAR RINA         44 FLEET ST                                                                                                  FOREST HILLS       NY    11375‐5173
GUTMAN UGMA NY
LILLY ZBOROWSKI‐GUTTMAN                        44 FLEET ST                                                                                                  FOREST HILLS       NY    11375‐5173
LILMON B RATCLIFF JR                           1231 DUFRAIN                                                                                                 PONTIAC            MI    48342‐1932
LILO BACHARACH ADMIN ESTATE OF DAVID BACHARACH 6027 BERKELEY AVE                                                                                            BALTIMORE          MD    21209‐4013

LILY BAUDRY                                     BOX 100                               ST AGATHE MB                                        T0G 1Y0 CANADA
LILY BLASKE                                     8300 ELDORADO PARKWAY                                                                                       MC KINNEY          TX    75070‐5946
LILY C LIM & ARNOLD N LIM JT TEN                18 VILLAGE LANE                                                                                             COLMA              CA    94015‐1640
LILY C NELSON                                   524 Q‐CALLE ARAGON                                                                                          LAGUNA WOODS       CA    92637‐3872
LILY D STOUFFER                                 1428 W SOUTH BLVD                                                                                           ROCHESTER HILLS    MI    48309‐4366
LILY G LEAVELL                                  2201 CRESTWOOD DRIVE                                                                                        ANDERSON           IN    46016‐2751
LILY HABER & DEBORAH HABER JT TEN               1203 SUMMIT CIRCLE DR                                                                                       ROCHESTER          NY    14618‐3961
LILY HABER & SUZANNE HABER JT TEN               1203 SUMMIT CIRCLE DR                                                                                       ROCHESTER          NY    14618‐3961
LILY HILL E WILLIAMSON                          15652 LEE HWY                                                                                               BUCHANAN           VA    24066‐4609
LILY J CHAMBERS                                 25600 FORBES RD                                                                                             BEDFORD HT         OH    44146‐5610
LILY J DIXON                                    405 W WENGER RD                                                                                             ENGLEWOOD          OH    45322‐1831
LILY J HOLLIS                                   11‐A VICKSBURG ST                                                                                           SAN FRANCISCO      CA    94114‐3324
LILY M ALLEN                                    6550 PISGAH RD                                                                                              TIPP CITY          OH    45371‐8732
LILY M SIMPSON                                  11385 SPENCER RD                                                                                            SAGINAW            MI    48609‐9729
LILY MAE GOODPASTURE                            1358 W 206TH ST                                                                                             SHERIDAN           IN    46069‐9149
LILY OGAN FERALTA                               C/O WILLIAM OGAN                      408 DANARRA METROPOLITAN ST   MAKATI METRO MANILA   PHILIPPINES
LILY S BLOW                                     620 BLUE HILLS RD                                                                                           DURHAM             CT    06422‐3108
LILY WONG                                       12307 MEADOW LAKE                                                                                           HOUSTON            TX    77077‐5903
LILY Y KAWAFUCHI & ALLAN N KAWAFUCHI JT TEN     3430 RANCHO VISTA CT                                                                                        GILROY             CA    95020‐9412

LILY ZBOROWSKI                                  44 FLEET ST                                                                                                 FOREST HILLS       NY    11375‐5173
LIMESTONE COUNTY UNITED WAY                     419 S MARION                                                                                                ATHENS             AL    35611‐2507
LIMMIE LASTER                                   483 THORS STREET                                                                                            PONTIAC            MI    48342‐1968
LIN B GRONVOLD‐WESTRAN & CLIFFORD B WESTRAN     8645 SW BOHMAN PKWY                                                                                         PORTLAND           OR    97223‐7227
TEN COM
LIN COX MURPHY & RICHARD H MURPHY JT TEN        873 KINGSTON LN                                                                                             BARTLETT           IL    60103‐4561
LIN FRASER                                      400 EDGEHILL WAY                                                                                            SAN FRANCISCO      CA    94127‐1050
LIN R MCKIVITZ                                  5919 ROBIN HILL NE                                                                                          BELMONT            MI    49306
LINA GACKSTATTER & ERIKA COYNE JT TEN           91598 COLMBERG                        ROTHENBURGERSTR 18                                  GERMANY
LINA J ROLPH                                    413 ELM DR                                                                                                  SEAFORD           DE     19973‐2011
LINA L HENZE                                    5160 GRASSY CREEK RD                                                                                        LUTTS             TN     38471‐5209
LINA L SIMMONS                                  RR1 BOX 41                                                                                                  PRAIRIE DU ROCHER IL     62277

LINA LEE                                        SUITE #304                            767 N HILL STREET                                                     LOS ANGELES        CA    90012‐2376
LINA M SPARGUR LIFE TENANT U‐W‐O JAMES FRANKLIN 3614 ST RT 734 N W                                                                                          JEFFERSONVILLE     OH    43128‐9753
SPARGUR
LINA MONTANINI & CHRISTINE M SLOWINSKI JT TEN   33 CHURCHILL ST                                                                                             SPRINGFIELD        MA    01108‐2018

LINA MONTANINI & ELAINE J ROCHE JT TEN          58 DUNN RD                                                                                                  HAMDEN             CT    06518‐1505
LINA MORROCCO                                   2679 FARMDALE                                                                                               STERLING HEIGHTS   MI    48314‐3869

LINA PIONTEK CUST LINDA PIONTEK UGMA IL         330 WISCONSIN DR                                                                                            DES PLAINES        IL    60016‐2047
LINA S WOODALL & JONATHAN H WOODALL JT TEN      3132 ELMENDORF DR                                                                                           OAKTON             VA    22124‐1730

LINAS KASPARAITIS                               2630 VALE COURT                                                                                             DOWNERS GROVE      IL    60516‐2122
LINCIE GRAY                                     440 LAFAYETT AVE                                                                                            CINCINNATI         OH    45220‐1022
LINCOLN A KING                                  19 BUTTERFLY LANE                                                                                           LEVITTOWN          PA    19054‐2807
LINCOLN B CAMPBELL                              111 MASTERS DR                                                                                              POTTSTOWN          PA    19464‐3493
LINCOLN B MAINE                                 221 EAST NORTH B STREET                                                                                     GAS CITY           IN    46933‐1439
LINCOLN BOWLING                                 7240 FRAZIER ST                                                                                             DAYTON             OH    45427‐1922
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                        Part 4 of 8 Pg 799 of 855
Name                                               Address1                              Address2             Address3              Address4          City                State Zip

LINCOLN C CLAY                                5564 IVANHOE                                                                                            DETROIT             MI    48204‐3602
LINCOLN CLARK 3RD                             54 WESTFORD ST                                                                                          CHELMSFORD          MA    01824‐2619
LINCOLN DAVIS WHITE                           33604 4TH AVE SW                                                                                        FEDERAL WAY         WA    98023‐8302
LINCOLN EDWARD SMITH                          7936 BAYARD ST                                                                                          PHILADELPHIA        PA    19150‐1306
LINCOLN F KILBOURNE                           51 SPRING ST                                                                                            KEESEVILLE          NY    12944‐3521
LINCOLN G BERRI                               2815 TENNYSON AVE                                                                                       OVERLAND            MO    63114‐3134
LINCOLN G KINNEY                              3614 ALDON LANE                                                                                         FLINT               MI    48506‐2680
LINCOLN H MC GHEE                             4476 WINTERGREEN                                                                                        TROY                MI    48098‐4371
LINCOLN HANDFORD CUST HARRISON P LANDERS UGMA 7 HARDING ST                                                                                            EAST NORTHPORT      NY    11731‐1407
NY
LINCOLN HANDFORD CUST HUNTER P LANDERS UGMA 7 HARDING ST                                                                                              EAST NORTHPORT      NY    11731‐1407
NY
LINCOLN J SEHOYAN & CAMILLE R SEHOYAN JT TEN  19206 COVENTRY DR                                                                                       RIVERVIEW           MI    48192‐7810

LINCOLN J WARD JR & DONNA E WARD JT TEN            2601 CIRCLE DRIVE                                                                                  FLINT               MI    48507‐1807
LINCOLN L MANSFIELD                                160 N BRYANT ST                                                                                    KANSAS CITY         MO    64119‐1763
LINCOLN PIERCE & HENRY C PIERCE TR A U‐W ETHEL     6520 RAINBOW                                                                                       MISSION HILLS       KS    66208‐1966
PIERCE
LINCOLN R STURDIVANT & CELIA M STURDIVANT JT TEN   111 N CLAY ST                                                                                      SOUTH HILL          VA    23970‐1917

LINCOLN S JALELIAN                                 263 PARK AVE                                                                                       ARLINGTON           MA    02476‐7439
LINCOLN W PAVEY                                    8650 SHAWNEE RUN ROAD                                                                              CINCINNTI           OH    45243‐2812
LINCOLN ZILHAVER                                   29325 HOGBACK WEST RD                                                                              CAMBRIDGE           PA    16403‐4909
                                                                                                                                                      SPRINGS
LINDA A ADAMS & HOLLY M ROSS JT TEN            1828 PACER CT                                                                                          CIRCLEVILLE         OH    43113‐8820
LINDA A ALLISON                                5437 WHITE HALL CIR                                                                                    W BLOOMFIELD        MI    48323‐3461
LINDA A ARTIANO CUST MARISSA ANNE ARTIANO UGMA 6 MASONGATE DR                                                                                         ROLLING HILLS EST   CA    90274‐1506
NY
LINDA A BAUMANN                                2234 49TH ST NW                                                                                        WASHINGTON          DC    20007‐1057
LINDA A BELL                                   1045 WOODSHIRE CIRCLA                                                                                  SHREVEPORT          LA    71107
LINDA A BLISS                                  4524 CAROL CT                                                                                          CONCORD             NC    28025‐0414
LINDA A BORZILLERI                             836 W COY DRIVE                                                                                        FLAGSTAFF           AZ    86001‐8942
LINDA A BOSCO & ANTHONY J BOSCO JT TEN         2611 BAINBRIDGE LN                                                                                     THE VILLAGES        FL    32162
LINDA A BROWN                                  134 WHITE OAK LANE                                                                                     DAHLONEGA           GA    30533‐4484
LINDA A BROWN                                  134 WHITE OAK LANE                                                                                     DAHLONEGA           GA    30533‐4484
LINDA A BUCHHOLZ                               ATTN LINDA A CAMLIN                       1132 W WARREN RD                                             WEST CHESTER        PA    19382‐5267
LINDA A CAMERON                                8 JOHN ST                                                                                              MILFORD             MA    01757‐2253
LINDA A CAMLIN                                 1132 W WARREN RD                                                                                       WEST CHESTER        PA    19382‐5267
LINDA A CATELLI                                14 DORSET ROAD                                                                                         SOUTHAMPTON         NY    11968‐1150
LINDA A CESCHAN                                1611 HOPE AVE                                                                                          BENSALEM            PA    19020‐3615
LINDA A CHOTA                                  3955 KIRKLAND CT                                                                                       BLOOMFIELD          MI    48302‐1314
LINDA A CODOMO                                 1056 EGRET LAKE WAY                                                                                    MELBOURNE           FL    32940‐6862
LINDA A COLLAZO                                4907 WHITE MILL DR                                                                                     SHELBY TOWNSHIP     MI    48317‐1621

LINDA A CRAWFORD                                   1 COLONY POINT DR                     APT 8A                                                       PUNTA GORDA         FL    33950‐5058
LINDA A CUNNINGHAM                                 40368 NEWPORT DRIVE                                                                                PLYMOUTH            MI    48170‐4736
LINDA A DANTONIO                                   45536 BROWNELL                                                                                     UTICA               MI    48317
LINDA A DOLLISON                                   8520 SHERWOOD DRIVE                                                                                LIBERTY             MO    64068‐8329
LINDA A DORSEY & AMY L DORSEY JT TEN               1911 LADY ELLEN                                                                                    CINCINNATI          OH    45230‐2130
LINDA A EARLS                                      16 IVY LANE                                                                                        SETAUKET            NY    11733‐3114
LINDA A ESSLINGER                                  RADWYN APARTMENTS                     E‐49                 275 S BRYN MAWR AVE                     BRYNMAWR            PA    19010‐4202
LINDA A EVANS & HEATHERLUN S UPHOLD JT TEN         9115 BURNING TREE                                                                                  GRAND BLANC         MI    48439
LINDA A EWER                                       2405 PALMHURST DRIVE                                                                               MISSION             TX    78573
LINDA A FASTMAN                                    116 CHESTNUT HILL RD                                                                               WOODSTOCK           NY    12498‐2417
LINDA A FESLER                                     6677 LANDERSDALE RD                                                                                CAMBY               IN    46113‐8445
LINDA A FINDLATER                                  1110 SW 14TH DR                                                                                    BOCA RATON          FL    33486‐6702
LINDA A FULLER                                     45‐802 RIVER DR S                                                                                  JERSEY CITY         NJ    07310‐1741
LINDA A GADDIS                                     79 SOUTH ST                                                                                        HIGHLAND            NY    12528‐2418
LINDA A GARDNER                                    1108 VANNOY DR                                                                                     CHATTANOOGA         TN    37411‐2412
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 800 of 855
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

LINDA A GARDNER                               442 TOILSOME HILL RD                                                                             FAIRFIELD         CT    06825‐1627
LINDA A GARRITY & ROBERT J GARRITY JT TEN     200 MYSTIC ST                                                                                    ARLINGTON         MA    02474‐1113
LINDA A GAVATORTA & RONALD M GAVATORTA JT TEN 118 PARKEDGE RD                                                                                  PITTSBURGH        PA    15220‐2608

LINDA A GERLACH                                 1731 ELIZABETH COURT                                                                           CONYERS           GA    30094‐4724
LINDA A GOLEN                                   6866 ROSEMONT                                                                                  DETROIT           MI    48228‐5405
LINDA A GREIG CUST BRANDON R GREIG UGMA NY      7292 AKRON RD                                                                                  LOCKPORT          NY    14094‐6206

LINDA A GROSSMAN                                410 W ROY ST APT E401                                                                          SEATTLE           WA    98119‐3870
LINDA A GROVES                                  278 LOCUST ST                                                                                  LOCKPORT          NY    14094‐4941
LINDA A HARRIS                                  107 EDGAR JAMES ST                    # 103                                                    KANE              PA    16735‐5609
LINDA A HART                                    21 SEA MEADOW DR                                                                               SANDWICH          MA    02563‐2817
LINDA A HOFFMAN                                 11699 STROHMS DR                                                                               MISHAWAKA         IN    46545
LINDA A HOKE                                    8 REBECCA DRIVE                                                                                APALACHIN         NY    13732‐3909
LINDA A HOOVER                                  1813 MARKET STREET                                                                             ERIE              PA    16510‐1643
LINDA A HUSSEY                                  44 YALE PL                                                                                     BUFFALO           NY    14210‐2326
LINDA A JOHNSON                                 7033 OAK POINT CURVE                                                                           BLOOMINGTON       MN    55438‐3402
LINDA A JOHNSON                                 471 SPRING GROVE RD                                                                            STANTON           MI    48888‐9175
LINDA A JOHNSTON                                709 DELMAR AVE                                                                                 GLEN BURNIE       MD    21061‐3915
LINDA A KLINE                                   5801 SUMMERSET DRIVE                                                                           MIDLAND           MI    48640‐2932
LINDA A KORTESOJA & JOHN G KORTESOJA JT TEN     38492 NORTHFIELD AVE                                                                           LIVONIA           MI    48150‐3327
LINDA A LAKE                                    612 VINEWOOD STREET                                                                            DURAND            MI    48429‐1729
LINDA A LUDWIG                                  27 CARRIE MARIE LN                                                                             HILTON            NY    14468‐9408
LINDA A MACLEOD                                 588 ARNHEM DR                         OSHAWA ON                              L1G 2J6 CANADA
LINDA A MACLEOD                                 588 ARNHEM DR                         OSHAWA ON                              L1G 2J6 CANADA
LINDA A MACLEOD                                 588 ARNHEM DR                         OSHAWA ON                              L1G 2J6 CANADA
LINDA A MANIAGO                                 1131 RIDGEWAY DR                                                                               ROCHESTER         MI    48307
LINDA A MARTIN                                  1442 SPRING GARDEN                                                                             LAKEWOOD          OH    44107‐3410
LINDA A MARTINSKI                               8049 CARDIGAN WAY                                                                              SHREVEPORT        LA    71129‐4902
LINDA A MATTINGLY                               515 N 3RD ST                                                                                   JACKSBORO         TX    76458‐1130
LINDA A MAZZOLA                                 4422 FOREST BL                                                                                 JACKSONVILLE      FL    32246‐6453
LINDA A MCHUGH                                  1204 TULAMORE CIR                                                                              CHESTER SPRINGS   PA    19425‐1214
LINDA A MEIKLE & HENRY C MEIKLE JT TEN          2900 SWARTHOUT RD                                                                              PINCKNEY          MI    48169‐9207
LINDA A MILES                                   6814 FIELD MASTER DR                                                                           SPRINGFIELD       VA    22153‐1022
LINDA A MITCHELL                                8 WINTHROP DR                                                                                  EAST LYME         CT    06333‐1032
LINDA A MOODY                                   17436 PRAIRIE ST                                                                               NORTHRIDGE        CA    91325‐2430
LINDA A MOORE                                   26600 BERG RD APT 1512                                                                         SOUTHFIELD        MI    48034‐5379
LINDA A MORDEN                                  10 LAWNDALE CRESCENT                  BRAMPTON ON                            L6S 3L4 CANADA
LINDA A MUSGROVE                                7550 DYSINGER RD                                                                               LOCKPORT          NY    14094‐9326
LINDA A NAGEL                                   284 SPEZIA                                                                                     OXFORD            MI    48371
LINDA A NAGLE                                   125 LOST TREE RD                                                                               PINEHURST         NC    28374‐8325
LINDA A NEFF                                    2373 HUCKLEBRRY RD                                                                             ALLENTOWN         PA    18104‐1343
LINDA A NESS                                    154 S ALWARD AVE                                                                               BASKING RIDGE     NJ    07920‐1848
LINDA A PARM                                    7300 WHEELER DR                                                                                WHITMORE LAKE     MI    48189‐9694
LINDA A PAYNTER EX UW ELIZABETH A KERKO         4632 QUEEN MARY DR                                                                             SOUTH EUCLID      OH    44121‐3420
LINDA A PETRILAK                                24 MCKINLEY AVE                                                                                COLONIA           NJ    07067‐2310
LINDA A PLEWNIAK                                68 WEST BIHRWOOD DR                                                                            WEST SENECA       NY    14224‐3626
LINDA A POTTER                                  95 GREENHORN GULCH RD                                                                          HAILEY            ID    83333‐5108
LINDA A RADA CUST AMIT RADA UTMA MI             4001 N OCEAN BLVD B 1005                                                                       BOCA RATON        FL    33431‐5391
LINDA A REECE                                   45 HARRIET ST                                                                                  TONAWANDA         NY    14150‐2309
LINDA A RINALDI                                 33 KENT ST W                                                                                   W WARWICK         RI    02893‐5130
LINDA A ROBERTS & RONALD B EMETERIO JT TEN      8600 BELLA OAKS DR                                                                             SPARKS            NV    89436‐7287
LINDA A ROPELEWSKI                              1015 SOUTHPORT DR                                                                              MEDINA            OH    44256‐3019
LINDA A SALYERS                                 3640 MONTERREY ST                                                                              CRP CHRISTI       TX    78411‐1712
LINDA A SCHOENWALD                              103 DEWITT RD                                                                                  SYRACUSE          NY    13214‐2004
LINDA A SCOBLE                                  242 COMMODORE TER                                                                              BUFFALO           NY    14225‐1509
LINDA A SEARCY                                  23401 GEOFFREY CT                                                                              OAK PARK          MI    48237‐2012
LINDA A SKINNER                                 3312 MILL CREEK RD                                                                             NEWPORT           NC    28576
LINDA A SOUTHARD                                4109 OAK RIDGE ROAD                                                                            SUMMERFIELD       NC    27358‐8603
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 801 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

LINDA A SPIRES                                  1100 AMELIA RD                                                                                  LOCUST GROVE      GA    30248‐4217
LINDA A STEPHENS                                859 LOCHMOOR                                                                                    GROSSE PT WDS     MI    48236‐1756
LINDA A STUART                                  C/O L GARNO                            5389 EAST M 55                                           CADILLAC          MI    49601‐8941
LINDA A SUCHYTA                                 47605 KATHY COURT                                                                               SHELBY TOWNSHIP   MI    48315‐4656

LINDA A SUCHYTA & EDWARD S SUCHYTA JT TEN       47605 KATHY COURT                                                                               SHELBY TOWNSHIP   MI    48315‐4656

LINDA A TARBILL                                 5614 DEERBORN AVE                                                                               MENTOR            OH    44060‐2008
LINDA A TAYLOR TOD THOMAS H EVANS SUBJECT TO    1775 VALLEY DR                                                                                  HIGHLAND          MI    48356
STA TOD RULES
LINDA A TOBEY                                   12 WALLOP SCHOOL ROAD                                                                           ENFIELD           CT    06082‐5726
LINDA A TOY & RAYMOND TOY JT TEN                67 BRIARWOOD DRIVE                                                                              SAN RAFAEL        CA    94901
LINDA A TRURAN                                  7598 VENICE DR N E                                                                              WARREN            OH    44484‐1502
LINDA A TURNER CUST ALLAN A TURNER UGMA CT      104 STANDISH AVE                                                                                NORTH HAVEN       CT    06473‐2632
LINDA A VALLEE                                  5792 YAHN RD                                                                                    FARMINGTON        NY    14425‐9555
LINDA A VALLEE & RICHARD E VALLEE JT TEN        5792 YAHN RD                                                                                    FARMINGTON        NY    14425
LINDA A VIGNEAU                                 3228 E EDGEVALE                                                                                 LAMBERTVILLE      MI    48144‐9734
LINDA A WALSH                                   4612 CASTLE CT                                                                                  HOLLAND           MI    49423‐8966
LINDA A WAYNE & DONNA M LOCHNER JT TEN          212 S RIDGEWOOD AVE                                                                             DELAND            FL    32720
LINDA A WESTPHAL                                1834 CARHART AVE                       PEEK SKILL                                               PEEKSKILL         NY    10566
LINDA A WINDISCH CUST SAMUEL M WINDISCH UTMA    2141 LACEY DR                                                                                   MILPITAS          CA    95035‐6116
CA
LINDA A WINKLE                                  168 WEST LAKE DRIVE                                                                             LYNDENHURST       NY    11757‐6126
LINDA A WITTMAN                                 13330 HUNTINGTON DR                                                                             APPLE VALLEY      MN    55124‐9475
LINDA A WOLEK                                   99 BOYLE AVE                                                                                    TOTOWA            NJ    07512‐2712
LINDA A WORKMAN                                 9991 BECKER                                                                                     ALLEN PARK        MI    48101‐1336
LINDA ABRAMSON                                  3216 BROOKSIDE LN                                                                               ENCINITAS         CA    92024‐6903
LINDA ALVAREZ                                   63 HEATHER RD                                                                                   CHEEKTOWAGA       NY    14225‐2113
LINDA ANCONA                                    17 BENEDICT ST                                                                                  MIDDLETOWN        NY    10940‐4206
LINDA ANDERSEN                                  1227 EDS PL                                                                                     MACHESNEY PK      IL    61115
LINDA ANDERSON                                  8804 ANNE TUCKER LANE                                                                           ALEXANDRIA        VA    22309‐2204
LINDA ANDREA POULIOT & PAUL WILSON POULIOT JT   160 DAILY DR                                                                                    FRANKLIN          MA    02038
TEN
LINDA ANGELA MOSCH                              11 N STAR DR                                                                                    MORRISTOWN        NJ    07960‐2511
LINDA ANN BLATZ                                 17010 S LIMPING WATER ROW                                                                       BARBEAU           MI    49710‐9762
LINDA ANN FRANKLIN                              23503 CANYON LAKE                                                                               SPRING            TX    77373‐7707
LINDA ANN MC JUNKIN                             152 CHURCH ST                                                                                   GUILFORD          CT    06437‐2402
LINDA ANN MURRAY SIMMS TR LINDA ANN MURRAY      1710 BACHMAN VALLEY DR                                                                          WESTMINSTER       MD    21157‐3347
SIMMS TRUST UA 03/29/93
LINDA ANN RAMSEY                                1280 AIKINS WAY                                                                                 BOULDER           CO    80305
LINDA ANN RHEAD                                 724 BATH COURT                                                                                  FORT MILL         SC    29708
LINDA ANN SCHULZ                                6183 HUNTER LANE                                                                                MATTHEWS          NC    28104
LINDA ANN SMITH                                 5499 YELLOWSTONE DR                                                                             FAIRFIELD         OH    45014‐3868
LINDA ANN SNELLING                              509 LENNON WAY                                                                                  WEST CHESTER      PA    19380‐1093
LINDA ANNE MURRAY                               6 RIDGEVIEW CIR                                                                                 MILAN             OH    44846‐9530
LINDA ARATA TOY                                 73 BIRCH ST                                                                                     PORT READING      NJ    07064‐1126
LINDA ATKINSON                                  1440 BURNLEY COURT                                                                              COLUMBUS          OH    43229‐2609
LINDA B ADRIANCE                                PO BOX 2456                                                                                     PITTSFIELD        MA    01202‐2456
LINDA B BREECE                                  14289 N CENTER                                                                                  CLIO              MI    48420‐7908
LINDA B BULLARD                                 2395 GLADYS                                                                                     BEAUMONT          TX    77702‐1314
LINDA B CACCIATO CUST LEA CACCIATO UGMA CA      1536 OLYMPIC DRIVE                                                                              DAVIS             CA    95616‐6643
LINDA B CACCIATO CUST RYAN CACCIATO UGMA CA     1536 OLYMPIC DRIVE                                                                              DAVIS             CA    95616‐6643

LINDA B CASTOR                                  464 E STATE ST                                                                                  PENDLETON         IN    46064‐1033
LINDA B CHAFIN                                  PO BOX 792                                                                                      SCOTT DEPOT       WV    25560‐0792
LINDA B COBBS                                   1076 DARTMOUTH LANE                                                                             WATERFORD         MI    48327‐4086
LINDA B CONNELL                                 BOX 115                                                                                         LISBON            NY    13658‐0115
LINDA B DARDEN                                  3508 REDMONT RD                                                                                 BIRMINGHAM        AL    35213‐2836
LINDA B DEBORD                                  12794 STATE ROUTE 122 WEST                                                                      SOMMERVILLE       OH    45064‐9623
                                            09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 802 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

LINDA B DIAZ                                     4501 GULF SHORE BLVD NORTH             1005                                                     NAPLES             FL    34103
LINDA B DICKERHOOF                               69 PARKS MILL RD                                                                                AUBURN             GA    30011‐2934
LINDA B FENLON & WILLIAM G FENLON JT TEN         5566 LYTLE RD                          BOX 372                                                  WAYNESVILLE        OH    45068‐0372
LINDA B FITZSIMMONS & JOHN A FIRTZSIMMONS JT TEN 51 SKYVIEW DR                                                                                   POUGHKEEPSIE       NY    12603‐1426

LINDA B GRINDAHL                                 5661 NOEL COURT                                                                                 SAGINAW            MI    48603‐3673
LINDA B HENDERSON & WALTER E HENDERSON JT TEN    856 WILHELM                                                                                     HERMITAGE          PA    16148‐3749

LINDA B KAPLAN                                   BOX 415                                                                                         LINCOLNDALE        NY    10540‐0415
LINDA B KIRSCHE TR MACKENZIE BULLOCK FAM TRUST   310 MAIN RD                                                                                     GRANVILLE          MA    01034‐9479
UA 11/26/96
LINDA B MARCUS                                   57 STAGECOACH RD                                                                                BELL CANYON        CA    91307‐1043
LINDA B MAROUS                                   5582 HOLLYTHORN DR                                                                              BRECKSVILLE        OH    44141‐4128
LINDA B MC CREADY                                3641 W 44TH TERRACE                                                                             INDIANAPOLIS       IN    46228‐6769
LINDA B MCNAB                                    8069 DESERT CLOUD AVE                  LAS VEGAS LV                                             LAS VEGAS          NV    89131
LINDA B PINES                                    240 SOUTH ST                                                                                    CHESTNUT HILL      MA    02467
LINDA B PLOTKIN CUST DANIEL ADAM PLOTKIN UGMA    2110 NORFOLK CT                                                                                 MEQUON             WI    53092
WI
LINDA B POWERS                                   3730 OLD PATH CROSSING                                                                          SUWANEE            GA    30024
LINDA B RAULSTON                                 1290 HEATHER WOODE RD                                                                           FLINT              MI    48532‐2337
LINDA B RAYBURG                                  9540 GRANGER ST                                                                                 ANGOLA             NY    14006‐9334
LINDA B RICE                                     239 OLCOTT ST                                                                                   LOCKPORT           NY    14094‐1511
LINDA B ROBAKEWICZ                               116 SADDLE RIDGE CIRCLE SE                                                                      WARREN             OH    44484‐2325
LINDA B ROUTH                                    29 E BAYBERRY CT                                                                                DURHAM             NC    27713‐9438
LINDA B SANFORD                                  3251 HUNTERS GLEN DRIVE                                                                         MISSOURI CITY      TX    77459‐3615
LINDA B SIMON                                    5134 DUNES COURT                                                                                CHARLOTTE          NC    28226‐7918
LINDA B STODDARD                                 PO BOX 655                                                                                      AIKEN              SC    29802‐0655
LINDA B TAYLOR                                   11338 INWOOD DR                                                                                 HOUSTON            TX    77077‐6438
LINDA B TECLER                                   10025 LLOYD RD                                                                                  POTOMAC            MD    20854‐1943
LINDA B THORPE                                                                                                                                   TANNERSVILLE       NY    12485
LINDA B WILLIS                                   5329 LAKE RD                                                                                    GENEVA             OH    44041‐9422
LINDA B ZAPATA                                   2427 BALMORAL ST                                                                                UNION CITY         CA    94587‐1829
LINDA B ZIMMERMAN                                2554 RIDGEVIEW DR                                                                               HIGH RIDGE         MO    63049‐1566
LINDA BAFUMI                                     230 NORTHFIELD RD                                                                               MERIDEN            CT    06450‐6932
LINDA BAILEY                                     287 FARRELL EXT RD                                                                              W HENRIETTA        NY    14586
LINDA BAILEY & JOHN BAILEY JT TEN                287 FARRELL EXT RD                                                                              W HENRIETTA        NY    14586
LINDA BAILEY CUST DANIEL VANHUBEN UGMA NY        RTE 287 FARRELL EXTENSION RD                                                                    W HENRIETTA        NY    14586
LINDA BAKSA & ROBERT BAKSA JT TEN                2506 ILLINOIS AVE                                                                               FLINT              MI    48506‐3730
LINDA BARBARA STAFFORD                           ATTN LINDA B SPEAS                     186 SPORTSMAN DR                                         WELAKA             FL    32193‐0584
LINDA BATES                                      BOX 721                                                                                         HARTSELLE          AL    35640‐0721
LINDA BEASLEY                                    14150 SAWYER RANCH RD                                                                           DRIPPING SPRINGS   TX    78620

LINDA BEGOLA                                     14309 ROBINSON ST                                                                               OVERLAND PARK      KS    66223
LINDA BENTLEY & JAMES BENTLEY JT TEN             PO BOX 624                                                                                      CLAY CITY          KY    40312
LINDA BERGSTROM                                  ATTN LINDA GOSSAGE                     3313 15TH ST                                             LEWISTON           ID    83501‐5605
LINDA BERNADYN & JOHN M WONSOCK JT TEN           91 S CATAWISSA ST                                                                               MAHANOY CITY       PA    17948‐2565
LINDA BETH HANSON                                5240 E LOS FLORES ST                                                                            LONG BEACH         CA    90815
LINDA BETH TERRY                                 PO BOX 414                                                                                      SEASIDE PARK       NJ    08752‐0414
LINDA BICKES CUST BREANNE BICKES UTMA AZ         77 N MULESHOE RD                                                                                APACHE JUNCTION    AZ    85219‐9667

LINDA BLACK                                      17145 FIELDING ST                                                                               DETROIT            MI    48219‐3905
LINDA BLACKLEY CUST EMMA BLACKLEY UTMA/NY        697 EAST AVE                                                                                    LOCKPORT           NY    14094

LINDA BLACKWELDER                                12103 REGENT RIDGE LN                                                                           CHARLOTTE          NC    28278
LINDA BOGGIA                                     81 CYMAN DR                                                                                     CHICOPEE           MA    01013
LINDA BONNEAU                                    6464 SEWELLS ORCHARD                                                                            COLUMBIA           MD    21045‐4480
LINDA BOUCHER                                    2484 18TH ST                                                                                    WYANDOTTE          MI    48192‐4422
LINDA BRATT                                      515 E MAIN ST                                                                                   LEIPSIC            OH    45856
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 803 of 855
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

LINDA BRENCHER CUST KRISTY BRENCHER UGMA CT       464 RTE 148                                                                                     KILLINGWORTH     CT    06419‐1161

LINDA BRIM                                        BOX 211                                                                                         DOWNEY           ID    83234‐0211
LINDA BROMLEY                                     51393 ALLISON LANE                                                                              ROCKPORT         WA    98283‐9785
LINDA BROUSSARD                                   4603 SOUTH CRYSTAL WAY                 UNIT F                                                   AURORA           CO    80015‐3929
LINDA BROWN ROBINSON                              311 PARKWAY DRIVE                                                                               SYRACUSE         NY    13207‐1841
LINDA BRUNDAGE GROFF                              8806 FOUR SEASONS COURT                                                                         ALEXANDRIA       VA    22309‐2215
LINDA BRYANT                                      529 S RIVERVIEW                                                                                 MIAMISBURG       OH    45342‐3027
LINDA BULGRIN PYLE                                PO BOX 355                                                                                      WHITEHALL        MI    49461‐0355
LINDA BURR LONG                                   831 AUSTIN STREET                                                                               ALBEMARLE        NC    28001‐3705
LINDA C BARTNIK                                   86 DAYTON                                                                                       OXFORD           MI    48371‐4625
LINDA C BARTNIK TR UW WALTER BARTNIK              86 DAYTON                                                                                       OXFORD           MI    48371‐4625
LINDA C BECA                                      2015 CELESTIAL DR NE                                                                            WARREN           OH    44484‐3972
LINDA C BICKES CUST BREANNE F BICKES UTMA AZ      77 N MULESHOE RD                                                                                APACHE JCT       AZ    85219‐9667
LINDA C BICKES CUST BRIAN C BICKES UTMA AZ        77 N MULESHOE RD                                                                                APACHE JCT       AZ    85219‐9667
LINDA C BIDELMAN                                  1840 KINGSBURY DRIVE                                                                            LAPEER           MI    48446‐9795
LINDA C BRANCH                                    1319 SPRING DR                                                                                  HERCULANEUM      MO    63048‐1544
LINDA C BURKE                                     2212 MORTON ST                                                                                  INDIANAPOLIS     IN    46221‐1939
LINDA C CHAPMAN                                   630 N COOPER ST                                                                                 KOKOMO           IN    46901‐3152
LINDA C COOPER AS GUARDIAN OF AMY E COOPER        342 NORTH LA GRANGE RD                                                                          LA GRANGE PARK   IL    60526‐5637

LINDA C COOPER AS GUARDIAN OF WILLIAM A COOPER 342 NORTH LA GRANGE ROAD                                                                           LA GRANGE PARK   IL    60526‐5637
IV
LINDA C COOPER CUST AMY E COOPER UTMA IL        342 NORTH LA GRANGE RD                                                                            LA GRANGE PARK   IL    60526‐5637
LINDA C COOPER CUST WILLIAM A COOPER IV UTMA IL 342 NORTH LA GRANGE RD                                                                            LA GRANGE PARK   IL    60526‐5637

LINDA C COSTELLO                                  350 E VISTA RIDGE MALL DR 1321                                                                  LEWISVILLE       TX    75067‐4092
LINDA C COX                                       24153 VIRGINIA                                                                                  WARREN           MI    48091‐5821
LINDA C CUNNINGHAM                                179 HERRMANN DR                                                                                 AVON LAKE        OH    44012‐1774
LINDA C DOWHAN                                    110 NEW YORK AVE                                                                                BERGENFIELD      NJ    07621‐1427
LINDA C DRESLINSKI                                C/O LINDA C HART                       249 SECRET WAY                                           CASSELBERRY      FL    32707‐3364
LINDA C FOSTER                                    300 CAMERON STREET                                                                              WHITE HOUSE      TX    75791‐3558
LINDA C FOSTER & EDWARD P FOSTER JT TEN           1204 GREEN ACRES RD                                                                             JOELTON          TN    37080‐4829
LINDA C FOX                                       1833 ADDALEEN DRIVE                                                                             HIGHLAND         MI    48357‐3007
LINDA C FRACASSINI                                55 MISTY LANE                                                                                   MONROE           CT    06468‐3216
LINDA C GARDNER                                   26434 MONTESELLO DR                                                                             INKSTER          MI    48141
LINDA C GARRISON                                  30151 AUSTIN DRIVE                                                                              WARREN           MI    48092‐1829
LINDA C GILKES                                    11 DEB ELLEN DR                                                                                 ROCHESTER        NY    14624‐5413
LINDA C GOULD                                     8106 EMERALD LN W                                                                               WESTLAND         MI    48185‐7644
LINDA C GREENFIELD                                5 DOGWOOD LN                                                                                    MAYS LANDING     NJ    08330‐8937
LINDA C GRIEBNER                                  108 SOUTHGATE DR                                                                                BUFFALO          NY    14224‐3446
LINDA C HALLIDAY                                  576 MAPLE ST                                                                                    SAN MATEO        CA    94402‐2017
LINDA C HAMILTON                                  615 BOWLING GREEN CIRCLE                                                                        ELYRIA           OH    44035‐7221
LINDA C HARPER                                    10094 FERGUSON AVE                                                                              SAVANNAH         GA    31406‐8529
LINDA C HART                                      ATTN LINDA GREEN                       29594 KINGS PT CT                                        FARMINGTON HILLS MI    48331‐2160

LINDA C HENRY                                     2829 BAMLET ROAD                                                                                ROYAL OAK        MI    48073‐2980
LINDA C HENRY JAMES HENRY & ELVADA HENRY JT TEN   2829 BAMLET ROAD                                                                                ROYAL OAK        MI    48073‐2980

LINDA C JOHNSON                                   2572 SYCAMORE DR                                                                                CONYERS          GA    30094
LINDA C LARSON                                    22 W MULBERRY HILL RD                                                                           CARLISLE         PA    17013‐8417
LINDA C MADDEN & ROBERT J MADDEN JT TEN           126 PARTRIDGEBERRY LN                                                                           SWANZEY          NH    03469‐3707
LINDA C MARABLE                                   3409 STONEBROOK PL                                                                              SHREVEPORT       LA    71105‐2510
LINDA C MCCLELLAND & DIANA L MCCLELLAND JT TEN    8427 HUNTERS TRAIL SE                                                                           WARREN           OH    44484‐2408

LINDA C MILLER                                    2830 SHILOH WAY                                                                                 SNELLVILLE       GA    30039‐7397
LINDA C MOORE                                     5132 THORNCROFT                                                                                 ROYAL OAK        MI    48073‐1110
LINDA C MURRAY                                    7814 VILLA PALMS DR                                                                             HOUSTON          TX    77095‐1609
LINDA C PALMER                                    1554 DUFFUS DR N E                                                                              WARREN           OH    44484‐1103
                                         09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 804 of 855
Name                                           Address1                            Address2             Address3          Address4          City            State Zip

LINDA C PHILLIPS & JAMES D PHILLIPS JT TEN     677 HEDGEGATE SOUTH CT                                                                       TIFFIN          OH    44883‐3186
LINDA C SCHMIDT                                3014 E SECOND ST                                                                             DAYTON          OH    45403‐1239
LINDA C SIMMONS                                264 COLONY CENTER DRIVE                                                                      WOODSTOCK       GA    30188‐4684
LINDA C SMITH                                  826 CAPITOL                                                                                  LINCOLN PARK    MI    48146‐2928
LINDA C SULLIVAN                               2889 BRIDGESTONE CIR                                                                         KOKOMO          IN    46902‐7007
LINDA C SWENSON                                97 RILEY RD                                                                                  GILFORD         NH    03249‐6769
LINDA C SWICHTENBERG                           335 LAPRAIRIE                                                                                FERNDALE        MI    48220‐3212
LINDA C TERWILLIGER                            277 DANDRIDGE DR                                                                             FRANKLIN        TN    37067‐4099
LINDA C THOMPSON                               1959 LOVELL COURT                                                                            MILFORD         MI    48381
LINDA C VAUGHN                                 9181 SPRINGWOOD CT                                                                           HOWELL          MI    48843‐6119
LINDA C WILLIAMS                               2316 FM 935                                                                                  CHILTON         TX    76632‐3116
LINDA C WINTER                                 10225 CAPITOL VIEW AVE                                                                       SILVER SPRING   MD    20910‐1014
LINDA CAIN                                     69 MEADOWGATE ST                                                                             WETHERSFIELD    CT    06109
LINDA CARDOZO FEDER                            5300 LEE ST                                                                                  SKOKIE          IL    60077‐5102
LINDA CARLTON                                  9959 MAPLE VALLEY DRIVE                                                                      CLARKSTON       MI    48348‐4167
LINDA CAROL FLAKE                              4108 GENESSEE                                                                                KANSAS CITY     MO    64111‐4109
LINDA CAROL SMITH                              17618 REXWOOD ST                                                                             LIVONIA         MI    48152‐3420
LINDA CARROLL‐JANKOWSKY                        303 IVY STONE DRIVE                                                                          GREENVILLE      SC    29615‐5471
LINDA CAUZILLO & MICHAEL J CAUZILLO JT TEN     438 EATON DR                                                                                 NORTHVILLE      MI    48167‐1310
LINDA CHAPLIN BECK                             40 BEECH DRIVE                                                                               BRUNSWICK       ME    04011
LINDA CHENAULT                                 550 N MAIN ST                                                                                BRITTON         MI    49229‐9514
LINDA COAN                                     34 SENECA DRIVE                                                                              RINGWOOD        NJ    07456‐2529
LINDA COBURN                                   8714 N ESTON RD                                                                              CLARKSTON       MI    48348‐3515
LINDA COLLISTER NIEDERHOFER                    4776 FREER RD                                                                                ROCHESTER       MI    48306‐1702
LINDA COMER                                    5915 W 1400 N                                                                                ELWOOD          IN    46036‐9265
LINDA CONRAD                                   2321 W MASON RD                                                                              OWOSSO          MI    48867‐9376
LINDA COOK                                     6330 ELDORADO PINES AV                                                                       LAS VEGAS       NV    89139‐5312
LINDA COOK & ROBERT A COOK JR JT TEN           RD 1                                                                                         DAYTON          PA    16222‐9801
LINDA CORCORAN                                 333 E 238TH ST                                                                               BRONX           NY    10470‐1806
LINDA COSGRIFF WOKURKA                         10681 EQUESTRIAN DRIVE                                                                       SANTA ANA       CA    92705‐2425
LINDA CRESAP                                   5835 TENNESSEE AVE                                                                           WILLOWBROOK     IL    60514‐1705
LINDA CROOKS                                   23410 GRAYSON DR                                                                             SOUTHFIELD      MI    48045‐3692
LINDA CULBERSON CUST MEGHAN E CULBERSON UTMA   7301 PRINCE DRIVE                                                                            DUBLIN          CA    94568‐2134
CA
LINDA D BARNES                                 6451 RED FOX LN                                                                              PERRY           MI    48872‐8778
LINDA D BELL                                   3164 ROSELAWN                                                                                WALLED LAKE     MI    48390‐1460
LINDA D BLAIR                                  610 PAUL AVE                                                                                 FLORISSANT      MO    63031‐5351
LINDA D BLIVEN                                 2950 QUAKER RD                      P O BOX 194                                              GASPORT         NY    14067
LINDA D BODY                                   5072 GARLAND ST                     #1                                                       DETROIT         MI    48213‐3317
LINDA D BRADLEY                                31233 COUNTRY RIDGE CIR                                                                      FARMINGTN HLS   MI    48331
LINDA D CHAN                                   40 TAMARACK CRESCENT                LONDON ON                              N6K 3J7 CANADA
LINDA D COHEN                                  10094 FERGUSON AVE                                                                           SAVANNAH        GA    31406‐8529
LINDA D DAVIS                                  89 NORTH WINDING                                                                             WATERFORD       MI    48328‐3068
LINDA D DIXON                                  326 WILLOWWOOD DR                                                                            DAYTON          OH    45405‐2927
LINDA D DODDS                                  5649 HOLLANSBURG‐SAMPSON                                                                     ARCANUM         OH    45304‐9211
LINDA D DONOVAN                                1021 N FOREST DR                                                                             KOKOMO          IN    46901‐1875
LINDA D DUNCAN EX EST LENDEN F ROBINS          655 OAK SHADOW DR                                                                            NEW JOHSONVLE   TN    37134
LINDA D EHRLICH                                49545 COLLYER CT                                                                             BELLEVUE        MI    48111‐9301
LINDA D FRANK                                  330 S SHELDON ST                                                                             CHARLOTTE       MI    48813‐1842
LINDA D FRAZIER                                1104 RIVER AVE                                                                               JONESBORO       IN    46938‐1643
LINDA D GALLOWAY                               ATTN DOUGLAS A SMITHERS             #A                   4260 CEDROS AVE                     SHERMAN OAKS    CA    91403‐4122
LINDA D GRETT                                  4502 CONNIES COURT LN                                                                        MISSOURI CITY   TX    77459‐2936
LINDA D HALL                                   PO BOX 723                                                                                   BADIN           NC    28009‐0723
LINDA D HAMMEL                                 4081 HUNT RD                                                                                 LAPEER          MI    48446‐2949
LINDA D HANNON                                 5100 BREEZEWOOD DR                                                                           MUNCIE          IN    47302‐9190
LINDA D HILLA                                  30233 SHARON LANE                                                                            WARREN          MI    48093‐5865
LINDA D HOAG                                   4072 W BEECHER RD                                                                            ADRIAN          MI    49221‐9785
LINDA D JONES                                  5709 SPICEWOOD LANE                                                                          LOUISVILLE      KY    40219‐1024
LINDA D KOLTISKA                               6511 GLENCOE AVE                                                                             BROOKLYN        OH    44144‐3712
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 805 of 855
Name                                                 Address1                             Address2             Address3          Address4          City             State Zip

LINDA D LAWRENCE                                     4387 HALLOCK YOUNG ROAD                                                                       NEWTON FALLS     OH    44444‐8719
LINDA D LEDERMAN                                     2139 EAST 14 MILE ROAD               BLDG 6 #212                                              STERLING HTS     MI    48310
LINDA D LEWIS                                        424 SCHELL RD                                                                                 WILMINGTON       OH    45177‐9038
LINDA D MARTINEZ‐MORALES                             145 RIDGEVIEW DR                                                                              PULASKI          TN    38478‐8121
LINDA D MCDERMOTT                                    3 SHAGBARK WAY                                                                                FAIRPORT         NY    14450‐8919
LINDA D MCGEE TR LINDA D MCGEE LIV TRUST UA          30519 MOULIN                                                                                  WARREN           MI    48088‐3149
07/11/91
LINDA D MT CASTLE                                    10042 PAINT CREEK RD                                                                          GREENFIELD       OH    45123‐9431
LINDA D MUNGER                                       2163 BRADY STREET                                                                             BURTON           MI    48529‐2426
LINDA D NEWMAN                                       300 RAVEN RD                                                                                  GREENVILLE       SC    29615‐4248
LINDA D O NEAL                                       14268 CLOVERLAWN                                                                              DETROIT          MI    48238‐2430
LINDA D PALMER                                       2181 SKINNER HIGHWAY                                                                          CLAYTON          MI    49235‐9682
LINDA D PATE                                         9815 VINSON CT                                                                                LITTLE ROCK      AR    72205‐1532
LINDA D PETTWAY                                      13211 ROSEMARY BLVD                                                                           OAK PARK         MI    48237‐2052
LINDA D PHILLIPS                                     4417 CLOVER DRIVE                                                                             INDIANAPOLIS     IN    46228‐3039
LINDA D PRASHUN                                      4929 WYCLIFF DR                                                                               INDIANAPOLIS     IN    46221
LINDA D REED                                         6417 E CALLE DEL NORTE                                                                        ANAHEIM          CA    92807‐4203
LINDA D REID                                         702 ST ANDREWS CT                                                                             PONTIAC          MI    48340‐1340
LINDA D ROBINSON                                     11912 S TROJAN AVE                                                                            LOS ANGELES      CA    90047
LINDA D ROSS‐PRITCHETT                               2215 OWEN ST                                                                                  SAGINAW          MI    48601
LINDA D RUTH                                         8 BRENTWOOD RD                                                                                CLARK            NJ    07066‐3004
LINDA D SCHADEK                                      1975 WILMINGTON PLACE                                                                         COLUMBUS         OH    43220‐2458
LINDA D SHAFFER                                      191 ACADIA AVE                                                                                FRANKLIN         TN    37064‐4848
LINDA D STAFFORD                                     4242 JONES RD                                                                                 NORTH BRANCH     MI    48461‐8914
LINDA D SUTHERLAND                                   376 COCHRANE CRESCENT                PORT PERRY ON                          L9L 1N1 CANADA
LINDA D TORRE                                        116 S 10TH ST                                                                                 FERNANDINA BEACH FL    32034‐3641

LINDA DA CRUZ                                        421 W FRECH AVE                                                                               MANVILLE         NJ    08835‐1961
LINDA DARNELL GROCE                                  584A FAIRWAYS CIR                                                                             OCALA            FL    34472‐8516
LINDA DAVIS                                          122 WAYLAND ST                                                                                NORTH HAVEN      CT    06473‐4352
LINDA DAVIS LITTLE                                   330 WINNEBAGO DR                                                                              JANESVILLE       WI    53545‐4337
LINDA DAVIS THOMAS                                   3734 SUMMERWIND CIR                                                                           BRADENTON        FL    34209‐5809
LINDA DEAM                                           10912 BRIDLESPUR DR                                                                           LOVELAND         OH    45140‐7765
LINDA DEE FULLER                                     5303 HUGHES ROAD                                                                              LANSING          MI    48911‐3506
LINDA DENISE WINESETT JOHANSON & DAVID M             3216 AUBURN PKWY                                                                              GULF BREEZE      FL    32563‐2706
JOHANSON JT TEN
LINDA DENISE WINESETT JOHANSON & DAVID M             3216 AUBURN PKWY                                                                              GULF BREEZE      FL    32563‐2706
JOHANSON JT TEN
LINDA DENKER CUST NOWELL DENKER UGMA NY              23‐35 BELL BLVD                                                                               BAYSIDE          NY    11360‐2038
LINDA DESPAIN & NIKOLAUS DESPAIN JT TEN              13628 W 87TH TER                                                                              ARVADA           CO    80005‐1405
LINDA DEWITT                                         11623 PLEASANT RIDGE PLACE                                                                    STRONGSVILLE     OH    44136‐4523
LINDA DIANA WHITNEY                                  13431 MAUNA LOA COURT                                                                         SPRING HILL      FL    34609
LINDA DIANE MILES                                    2754 MEANWELL ROAD                                                                            PETERSBURG       MI    49270‐9525
LINDA DOBSO                                          6951 SW 2ND ST                                                                                WEST HOLLYWOOD   FL    33023‐1107

LINDA DORIEN SCHWARTZ                                11001 ROUNDTABLE CT                                                                           ROCKVILLE        MD    20852‐4560
LINDA DRAW                                           6015 GARLAND ST                                                                               DETROIT          MI    48213‐3305
LINDA DUDGEON CUST KEITH DUDGEON UGMA IL             214 S PARK                                                                                    WESTMONT         IL    60559‐1940
LINDA DULIN                                          PO BOX 641                                                                                    ODESSA           DE    19730
LINDA E ABRAMS                                       207 W 86TH ST                        APT 816                                                  NEW YORK         NY    10024‐3342
LINDA E ARMINGTON                                    4584 N PERRY DRIVE                                                                            BEVERLY HILLS    FL    34465‐2967
LINDA E BIXBY TR UA 06/10/2009 LINDA E BIXBY TRUST   6032 WEATHERED OAK COURT                                                                      WESTERVILLE      OH    43082

LINDA E BURTON                                       20182 MACKAY ST                                                                               DETROIT          MI    48234‐1448
LINDA E CRAUGH                                       183 ACACIA ST                                                                                 PACIFIC GROVE    CA    93950‐3627
LINDA E GIOANNINI                                    3208 COURT ST                                                                                 SAGINAW          MI    48602‐3434
LINDA E GRISE                                        468 E MARKET ST                                                                               GERMANTOWN       OH    45327‐1424
LINDA E GUERRA                                       ATTN LINDA E COOPER                  2713 TOPLEY AVE                                          LAS CRUCES       NM    88005‐1331
LINDA E HANAWAY                                      4855 BRANNAN DR W                                                                             SPRINGFIELD      OH    45502‐9262
                                            09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 806 of 855
Name                                               Address1                               Address2              Address3         Address4          City             State Zip

LINDA E HEALY                                      119 W 7TH ST                                                                                    MEDIA            PA    19063‐2410
LINDA E KEENER                                     6131 MECHANIC ST                       BOX 143                                                  ROCKFORD         MN    55373‐0143
LINDA E LIMBO                                      2980 THOMPSON MILL RD                                                                           BUFORD           GA    30519‐5433
LINDA E LOKER & CHARLES J LOKER JT TEN             208 TOWER RD                                                                                    ANDERSON         IN    46011‐1754
LINDA E MCCLENDON                                  2511 BULL RUN DR                                                                                DECATUR          GA    30034‐2766
LINDA E MCDONNELL & KEVIN T MCDONNELL JT TEN       4226 SUMMERWOOD LANE                                                                            SAGINAW          MI    48603‐8703

LINDA E MILLS                                      5941 FOREST ISLE DR                    APT 318                                                  NEW ORLEANS      LA    70131‐7548
LINDA E NELSON                                     704 SALEM DRIVE                                                                                 KOKOMO           IN    46902‐4924
LINDA E NODGE                                      157 WINTER LANE                                                                                 CORTLAND         OH    44410‐1129
LINDA E NYE                                        7748 SELPH RD                                                                                   HILLSBORO        OH    45133‐8253
LINDA E OLDS                                       616 BUENA VISTA                                                                                 LAKE ORION       MI    48362‐2303
LINDA E ORLOWSKI CUST DARREN M ORLOWSKI UGMA       5207 S ATLANTIC AVE                    APT 921                                                  NEW SMYRNA       FL    32169‐4555
NY
LINDA E RAUCH                                      C/O LINDA SPRINGER                     36320 UNION LAKE RD   # 203                              HARRISON         MI    48045
                                                                                                                                                   TOWNSHIP
LINDA E REESE                                      634 WEST CENTER ST                                                                              WARREN           OH    44481‐9314
LINDA E RILEY                                      1300 E BROADWAY                        APT 4                                                    LOGANSPORT       IN    46947‐3256
LINDA E ROUCHKA EX UW GEORGE L ROUCHKA             22700 STATE HWY K                                                                               GALLATIN         MO    64640‐8208
LINDA E STAPLETON                                  73 JADEWOOD DR                                                                                  JACKSON          TN    38305
LINDA EADS                                         4354 W STATE RD 18                                                                              KOKOMO           IN    46901
LINDA ELAINA CHADBOURNE                            2 SAVAGE COURT                                                                                  PEMBROKE         NH    03275‐1312
LINDA ELAINE IRWIN                                 PO BOX 397                                                                                      POTTER VALLEY    CA    95469‐0397
LINDA ELAINE LEE                                   4291 KINGS TROOP RD                                                                             STONE MOUNTAIN   GA    30083‐4706

LINDA ELAINE MOYER                                 1616 RUSSELL DRIVE                                                                              DOWNINGTOWN      PA    19335‐3578
LINDA ELAINE STEVENSON                             8001 GREENHILL DR                                                                               PORT ARTHUR      TX    77642‐8247
LINDA ELLEN JARVIS                                 3292 NC HIGHWAY 47                                                                              LEXINGTON        NC    27292‐8631
LINDA ELMORE                                       100 HIGHLAND DRIVE                                                                              WARNER ROBINS    GA    31088‐6002
LINDA ELMORE                                       10301 S NASHVILLE AVE                                                                           CHICAGO RIDGE    IL    60415‐1415
LINDA ERBY                                         4216 HESS                                                                                       SAGINAW          MI    48601‐6763
LINDA F BELL                                       4449 WINDSOR CT                        APT 101                                                  SWARTZ CREEK     MI    48473‐1826
LINDA F BONZACK                                    3730 N EAGER RD                                                                                 HOWELL           MI    48843‐9778
LINDA F BROWN                                      4819 MALOW                                                                                      WARREN           MI    48092‐4608
LINDA F BUTLER                                     7324 WINTHROP                                                                                   DETROIT          MI    48228‐3691
LINDA F DOWEN & EDWARD L DOWEN JT TEN              12049 W COLDWATER RD                                                                            FLUSHING         MI    48433‐9703
LINDA F EVANS                                      PO BOX 1934                                                                                     BUFFALO          NY    14225‐8934
LINDA F FRANK                                      31 YACHT HARBOR CT                                                                              ISLE OF PALMS    SC    29451‐2600
LINDA F GIROUARD                                   8051 ELAINE                                                                                     KEITHVILLE       LA    71047‐8856
LINDA F GORDON                                     89 CLOVER AVE                                                                                   FLORAL PARK      NY    11001‐2530
LINDA F GREEN                                      PO BOX 944                                                                                      MANSFIELD        TX    76063‐0944
LINDA F HARDIN                                     79 GREENDALE DR                                                                                 JACKSON          TN    38305‐7531
LINDA F HENDRIX                                    121 RAMADA CIR                                                                                  GOOSE CREEK      SC    29445‐4837
LINDA F HILL                                       G 6206 DETROIT ST                                                                               MOUNT MORRIS     MI    48458
LINDA F HUTCHINGS                                  BOX 895                                                                                         SOLDOTNA         AK    99669‐0895
LINDA F HUTCHINGS CUST JERRAD S HUTCHINGS UTMA     BOX 895                                                                                         SOLDOTNA         AK    99669‐0895
AK
LINDA F JENKINS                                    2534 PALISADE DRIVE                                                                             FORT WAYNE       IN    46806‐5317
LINDA F KISH & DAWN MARIE MARTIN JT TEN            5690 WEST HOUGHTON LAKE DRIVE                                                                   HOUGHTON LAKE    MI    48629
LINDA F KROLL                                      8320 INDEPENDENCE AVE                                                                           CADILLAC         MI    49601‐8232
LINDA F MCNULTY                                    30356 WARREN RD 49N                                                                             WESTLAND         MI    48185‐2969
LINDA F MILITELLO                                  45696 GUNNISON DR                                                                               CLINTON TOWNSHIP MI    48038‐1335

LINDA F O'HAGAN TR UA 12/19/2009 LINDA F O'HAGAN   23 LARKSPUR DRIVE                                                                               BREWSTER         NY    10509
LIVING TRUST
LINDA F PATTERSON                                  ROUTE 2                                1322 WAHINI WAY                                          GALVESTON        TX    77554‐6197
LINDA F PIERCE                                     328 KNIGHT LANE                                                                                 ORANGE           CT    06477‐3307
LINDA F PRYOR                                      3706 PROVIDENCE                                                                                 FLINT            MI    48503‐4549
                                           09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                       Part 4 of 8 Pg 807 of 855
Name                                              Address1                              Address2                  Address3          Address4          City            State Zip

LINDA F RATHGEB‐SEIMETZ CUST ERICH JAMES SEIMETZ 1701 HARTMANN DRIVE                                                                                  SCHAUMBURG      IL    60193‐3473
UTMA IL
LINDA F RENAUD CUST JEANINE L RENAUD UGMA AL     6 SAVANT COURT                                                                                       MANCHESTER      MO    63011‐3915

LINDA F RICKS                                     17591 ANNCHESTER                                                                                    DETROIT         MI    48219‐3527
LINDA F RIGGS                                     5521 KENDALL DRIVE                                                                                  NASHVILLE       TN    37209‐4544
LINDA F SMITH CUST ALESIA M SMITH UTMA PA         258 E MAIN ST                                                                                       FAWN GROVE      PA    17321‐9546
LINDA F STEPHENS                                  180 WILSON LN                                                                                       HARROGATE       TN    37752‐7900
LINDA F SUMA TOD STEVEN S SUMA SUBJECT TO STA     3313 VERNON AVE                                                                                     BROOKFIELD      IL    60513‐1444
TOD RULES
LINDA F TASBY                                     6109 CRANE                                                                                          DETROIT         MI    48213‐2643
LINDA F TASBY & ALBERTA JONES JT TEN              6109 CRANE                                                                                          DETROIT         MI    48213‐2643
LINDA F VAIL                                      10 VILLAGE DR                                                                                       OVIEDO          FL    32765‐8516
LINDA F WARREN                                    469 S MARSHALL                                                                                      PONTIAC         MI    48342‐3435
LINDA F YANCA                                     20008 CHURCHILL                                                                                     TRENTON         MI    48183‐5007
LINDA FAMULARO & VINCENT FAMULARO JT TEN          3305 BAY FRONT DRIVE                                                                                BALDWIN         NY    11510‐5103
LINDA FANKBONER                                   800 PEARL ST #1006                                                                                  DENVER          CO    80203‐3344
LINDA FAUL                                        538 VAIL RD                                                                                         LANDING         NJ    07850‐1239
LINDA FAYE MC COMB                                3838 SHERMAN BLVD                                                                                   FT WAYNE        IN    46808‐4017
LINDA FEHR CUST JEREMY GREEN UTMA IL              828 BALLY BUNION DR                                                                                 DAYTON          NV    89403‐8816
LINDA FEHR CUST WESLEY GREEN UTMA IL              828 BALLY BUNION DR                                                                                 DAYTON          NV    89403‐8816
LINDA FENNER ZIMMER                               56 ROBERTS RD                                                                                       MARLBOUGH       CT    06447‐1454
LINDA FISCH CUST ALLISON FISCH UGMA NY            415 LEVERETT AVE                                                                                    STATEN ISLAND   NY    10308‐1332
LINDA FISCH CUST RANDI FISCH UGMA NY              415 LEVERETT AVE                                                                                    STATEN ISLAND   NY    10308‐1332
LINDA FISCH CUST SHERYL FISCH UGMA NY             415 LEVERETT AVE                                                                                    STATEN ISLAND   NY    10308‐1332
LINDA FISHER LAINE TR CREDIT TRUST 07/10/89 U‐A   520 LUNALILO HOME RD #261                                                                           HONOLULU        HI    96825‐1728
NICHOLAS LAINE
LINDA FITCH SUTTON                                2816 HAMPTON WOODS DR                                                                               RICHMOND        VA    23233‐8902
LINDA FORTUNATO GAMBLE CUST ANN MARIE GAMBLE      709 SHARPLY RD                                                                                      WILMINGTON      DE    19803‐2101
UGMA DE
LINDA FOX                                         C/O LINDA FOX VALLELY                 21890 HICKORY HILL DR                                         KILDEER         IL    60047‐8663
LINDA FRAN COHEN                                  517 MAITLAND AVE                                                                                    TEANECK         NJ    07666‐2920
LINDA FRANCES CADMAN                              74 OROSALL PARK RD                    RETFORD NOTTS DN                            GREAT BRITAIN
LINDA FRISCONE                                    11281 VILLA GRANDE DRIVE                                                                            N ROYALTON      OH    44133‐3258
LINDA G ALLEN                                     182 COURT                                                                                           PONTIAC         MI    48342‐2510
LINDA G AZELTON                                   115 BUCHANAN LN                                                                                     MT AIRY         NC    27030‐4916
LINDA G BARTOL                                    PO BOX 758                                                                                          ALEX CITY       AL    35011‐0758
LINDA G BOWMAN EX EST BERNIECE E MOSES            1305 E PARK ROW DR                                                                                  ARLINGTON       TX    76010
LINDA G BRINSON                                   5225 WOODBINE AVE                                                                                   DAYTON          OH    45432‐3631
LINDA G CANDLER                                   2704 OLIVER DR                                                                                      HAYWARD         CA    94545
LINDA G COMISKEY & JAMES E COMISKEY JR JT TEN     10653 HEWITT                                                                                        BROOKLYN        MI    49230‐9751

LINDA G COX                                       401 COUNTY ROAD 504                                                                                 LEXINGTON       AL    35648‐4125
LINDA G CRUZ                                      20950 WAHRMAN                                                                                       NEW BOSTON      MI    48164‐9426
LINDA G DAVIS CUST DENA M DAVIS UTMA OH           4241 E GALBRAITH RD                                                                                 CINCINNATI      OH    45236‐2414
LINDA G DRUMGOLD                                  19424 STRATFORD RD                                                                                  DETROIT         MI    48221‐1898
LINDA G GILBERT                                   10312 CASA LINDA                                                                                    OKLAHOMA CITY   OK    73139‐5513
LINDA G GOERGE                                    49225 HANFORD RD                                                                                    CANTON          MI    48187‐5425
LINDA G GREEN                                     3142 PLUM SPRINGS RD                                                                                BOWLING GREEN   KY    42101‐0764
LINDA G HANSEN                                    7375 LAKE LAKOTA CIR                                                                                WEST CHESTER    OH    45069‐2640
LINDA G HOPKINS                                   8712 CASTLEROCK CT                                                                                  LAUREL          MD    20723‐2702
LINDA G HUDSON                                    810 SANDY BAY COVE                                                                                  NEWPORTNEWS     VA    23602‐9130
LINDA G KYRIAKOU                                  19 OAKWOOD RD                                                                                       ROCKY POINT     NY    11778‐9123
LINDA G LATTY                                     40 SOMERSET                           TURRAMURRA                NEW SOUTH WALES   2074 AUSTRALIA
LINDA G LEWIS                                     129 DELLA LN                                                                                        TAZEWELL        TN    37879‐3968
LINDA G MAYO                                      2026 BRASHER RD                                                                                     BILOXI          MS    39532
LINDA G MISSAVAGE STEELY                          2126 REHOBOTH RD                                                                                    COTTAGEVILLE    SC    29435‐3954
LINDA G NICHOLS                                   923 WEDGEWOOD AVE                                                                                   LEWISBURG       TN    37091‐4151
LINDA G PUDLOCK                                   C/O LINDA A SLANY                     18761 SOUTH INLET DRIVE                                       STRONGSVILLE    OH    44136‐8000
                                               09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 808 of 855
Name                                             Address1                              Address2             Address3          Address4          City                State Zip

LINDA G RAY                                      17719 BLUE SPRUCE LN                                                                           EAGLE RIVER         AK    99577‐9201
LINDA G RENEW                                    201 GLENRIDGE COURT                                                                            COLUMBIA            SC    29212‐8201
LINDA G ROBERTS                                  2287 CALLAHAN AVE                                                                              SIMI VALLEY         CA    93065‐2151
LINDA G ROSEN                                    ATT S WEISS                           22 QUEENSBRIDGE DR                                       EAST HANOVER        NJ    07936‐3563
LINDA G ROUDEBUSH                                71 ARTIST DR                                                                                   NASHVILLE           IN    47448‐8101
LINDA G SANDERS                                  6100 BERMUDA LANE                                                                              MT MORRIS           MI    48458‐2621
LINDA G SCHIBEL CUST MICHEAL S SCHIBEL UTMA CA   16862 EDGER ST                                                                                 PACIFIC PALISADES   CA    90272‐3227

LINDA G SMITH                                    2797 AUSTINTOWN‐WARREN RD                                                                      WARREN              OH    44481‐9615
LINDA G SNAPP                                    1 S MAIN ST #A                                                                                 STEWARTSTOWN        PA    17363‐4016
LINDA G SOWINSKI                                 4536 OXBOW DR                                                                                  SACRAMENTO          CA    95864‐0830
LINDA G STAUFFER                                 5354 COPELAND AVE N W                                                                          WARREN              OH    44483‐1232
LINDA G TANKSLEY                                 8708 SW 80TH                                                                                   OKLAHOMA CITY       OK    73169‐1402
LINDA G WAGNER                                   3932 BRENNER LANE                                                                              EAGLE RIVER         WI    54521‐9418
LINDA G WARD                                     658 ROOSEVELT NW                                                                               WARREN              OH    44483‐3140
LINDA GAIL BAROVICK & STUART BAROVICK JT TEN     7 LYNCREST DR                                                                                  PARAMUS             NJ    07652‐3834

LINDA GEIS                                    8720 CYPRESS ROAD                                                                                 DOS PALOS           CA    93620‐9708
LINDA GERTSEN                                 #11 1450 MCCALLUM RD                     ABBOTSFORD BC                          V2S 8A5 CANADA
LINDA GETLAN                                  11 LEATHERSTOCKING LANE                                                                           SCARSDALE           NY    10583‐6924
LINDA GIANINO & SAM GIANINO JT TEN            662 SW BLUE STEM WAY                                                                              STUART              FL    34997‐4208
LINDA GILLIAM                                 6544 MENLO WAY                                                                                    HUBER HEIGHTS       OH    45424‐3426
LINDA GLOSS FATICA                            1521 RIVERCREST                                                                                   PERRYSBURG          OH    43551‐1096
LINDA GOLBURGH CUST VICKI BETH GOLBURGH UGMA 270 SUNDERLAND ROAD #11                                                                            WORCESTER           MA    01604‐2549
MA
LINDA GOLDEN                                  2141 SAFE HARBOUR CT                                                                              ALVA                FL    33920‐3823
LINDA GOODWIN                                 14525 ACORN DRIVE                                                                                 LOCKPORT            IL    60441‐9389
LINDA GORDON PRICE                            269 CARDINAL RD                                                                                   MILL VALLEY         CA    94941‐3618
LINDA GRABEL CUST JENNIFER GRABEL UTMA FL     1801 E PARKCOURT PL                      BLDG H                                                   SANTA ANA           CA    92701‐5028
LINDA GRABEL CUST JOSHUA GRABEL UTMA FL       1801 E PARKCOURT PL BLDG H                                                                        SANTA ANA           CA    92701‐5028
LINDA GRUMLEY DUFOUR CUST JACK DUFOUR UTMA KY 2212 STRATHMOOR BLVD                                                                              LOUISVILLE          KY    40205‐2657

LINDA GUSTIN                                     8795 COLEMAN RD                                                                                BARKER              NY    14012‐9679
LINDA H BEAN                                     330 W JERSEY ST                       8L                                                       ELIZABETH           NJ    07202‐1866
LINDA H BOTEN & GARY L HOSKINSON JT TEN          900 WYLDEWOOD RD                                                                               DURHAM              NC    27704‐1602
LINDA H BUSH                                     906 ACCENT PARK DR                                                                             DAYTON              OH    45427‐2712
LINDA H CARPENTER                                401 MULBERRY COVE                                                                              HEBER SPRINGS       AR    72543‐6518
LINDA H COLE                                     2309 MARSH LAKE COURT                                                                          CHARLESTON          SC    29414‐6499
LINDA H COX                                      10157 N KELLER LN                                                                              MOORESVILLE         IN    46158‐6459
LINDA H CURRIN                                   4510 HWY 96                                                                                    OXFORD              NC    27565
LINDA H DIXON                                    6 WOODBINE PL                                                                                  NEWNAN              GA    30265‐1216
LINDA H GILBERT                                  17211 COMMUNITY ST                                                                             LANSING             IL    60438‐1339
LINDA H HOLMES                                   3660 GRAND AVE                        UNIT 510                                                 DES MOINES          IA    50312‐4347
LINDA H LANNING                                  129 FAYSSOUX                                                                                   BLACKSBURG          SC    29702‐8515
LINDA H LAWLER                                   6049 SUNNYDALE RD                                                                              CLARKSTON           MI    48346‐2343
LINDA H MCGRATH & JOHN M MCGRATH SR JT TEN       7019 KATHLEEN RD                                                                               LAKELAND            FL    33810‐4708

LINDA H MERCHANT                              364 BURTON RD                                                                                     HOLLY SPRINGS       MS    38635
LINDA H MOORE                                 151 POPLAR ST                                                                                     PARSON              WV    26287‐1251
LINDA H OUSLEY                                317 OXFORD ROAD                                                                                   ANDERSON            IN    46012‐3924
LINDA H RATLIFF                               2305 INVERNESS DRIVE                                                                              PENSACOLA           FL    32503‐5049
LINDA H REMINGTON CUST SCOTT F REMINGTON UGMA 30575 LINCOLNSHIRE E                                                                              BIRMINGHAM          MI    48025‐4753
MI
LINDA H SARLO                                 9600 KLING RD                                                                                     MABELVALE           AR    72103‐3690
LINDA H SCHULER                               108 WILSON AVE                                                                                    KINGSTON            NY    12401‐2030
LINDA H SHAW                                  176 BEAVER CT                                                                                     AMHERST             OH    44001‐2102
LINDA H SKALKA                                335 E END AVE                                                                                     BEAVER              PA    15009
LINDA H STILL                                 431 S TOBY CREEK RD                                                                               BARNWELL            SC    29812‐6117
LINDA H THOMSON                               3003 OAK LN                                                                                       STEVENSVILLE        MI    49127‐9346
                                                09-50026-mg            Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 809 of 855
Name                                              Address1                            Address2                 Address3      Address4          City            State Zip

LINDA H WROBLESKI                               103 CYPRESS ST                                                                                 PARK RIDGE      NJ    07656‐2107
LINDA HANESSIAN CUST BENJAMIN HANESSIAN UTMA IL 5659 S WOODLAWN                                                                                CHICAGO         IL    60637‐1622

LINDA HANSELMAN                                   2575 SKYVIEW DRIVE                                                                           CENTERVILLE     TN    37033‐9519
LINDA HARMS                                       39547 WINESAP ST                                                                             PLYMOUTH        MI    48170‐4551
LINDA HARRIS                                      1303 NORMANDY DRIVE                                                                          SOUTHLAKE       TX    76092‐7128
LINDA HARRISON DUTTON                             564 WOODLEA LANE                                                                             BERWYN          PA    19312‐1459
LINDA HAWK                                        2310 VILLA W                                                                                 FINDLAY         OH    45840‐0820
LINDA HEGESTWEILER                                7961 FRONTENAC                                                                               PHILADELPHIA    PA    19111‐2937
LINDA HEKKALA                                     21 BROOKLINE ST                     BOX 366                                                  PEPPERELL       MA    01463‐0366
LINDA HENDERSON                                   75 WEST LANE                                                                                 SAYVILLE        NY    11782‐2810
LINDA HEPWORTH                                    510 I ST                                                                                     PETALUMA        CA    94952‐5139
LINDA HINER                                       1988 HOLLIDAY DR SW                                                                          GRAND RAPIDS    MI    49509‐4278
LINDA HO                                          238 DALE RD                                                                                  WETHERSFIELD    CT    06109
LINDA HOBGOOD                                     PO BOX 888                                                                                   CLINTON         LA    70722‐0888
LINDA HOFFMANN WEISSKOPF                          137 E MAIN ST                                                                                ELBRIDGE        NY    13060‐9707
LINDA HOULIHAN                                    3200 S 4TH AVE                                                                               SIOUX FALLS     SD    57105‐5812
LINDA HOWARD                                      305 N SCRANTON ST                                                                            RAVENNA         OH    44266‐1427
LINDA HURTA                                       PO BOX 753                                                                                   YORKTOWN        TX    78164‐0753
LINDA I BUCHFINK                                  2121 E 52ND ST #11                                                                           INDIANAPOLIS    IN    46205‐1471
LINDA I COLLINS                                   214 PARK TERRACE COURT SE           APARTMENT 82                                             VIENNA          VA    22180
LINDA I COOPER TR UA 03/15/1999 COOPER LIVING     7564 LEVY ACRES CIR E                                                                        BURLESON        TX    76028
TRUST
LINDA I DRYFUSE & CAROL A SIBETO JT TEN           538 VIRGINIA AVENUE                                                                          ROCHESTER       PA    15074‐1838
LINDA I ERLICH                                    2655 NORTHFIELD                                                                              WHITE LAKE      MI    48383
LINDA I RODRIQUEZ                                 723 2ND AVE                                                                                  PONTIAC         MI    48340‐2838
LINDA I WHITED                                    ATTN LINDA I GENCO                  1236 CARRIE WOOD DR                                      VALRICO         FL    33594‐7133
LINDA J ALLEN                                     7722 E PERALTA AVENUE                                                                        MESA            AZ    85212‐1724
LINDA J ALSTOTT                                   3336 KNEELAND CIRCLE4                                                                        HOWELL          MI    48843‐4506
LINDA J ALTERSON                                  9 SURREY DRIVE                                                                               NORTH MERRICK   NY    11566‐2315
LINDA J ANDRUS                                    633 CHICAGO DRIVE                                                                            HOWELL          MI    48843‐1727
LINDA J ARNOLD                                    28 E HOME AVE                                                                                DAYTON          OH    45449
LINDA J BANDERA                                   ATTN LINDA J CHECK                  160 SUNSET DRIVE                                         WESTFIELD       MA    01085‐1227
LINDA J BENNETT                                   6913 TOUSLEY DR                                                                              INDIANAPOLIS    IN    46256‐3241
LINDA J BILLINGS                                  2314 PUMPKIN CREEK LN                                                                        SPRING HILL     TN    37174‐7502
LINDA J BIXBY                                     108 HOWARD AVENUE                                                                            WORTHINGTON     OH    43085‐3653
LINDA J BOEHM                                     PO BOX 16                                                                                    VALHALLA        NY    10595‐0016
LINDA J BURNETT                                   ATTN LINDA B MC DANIEL              12260 SUG HARBOR CT #8                                   WELLINGTON      FL    33414‐5567
LINDA J CALDWELL                                  607 N BERKLEY RD                                                                             KOKOMO          IN    46901‐1846
LINDA J CAMPBELL                                  2490 JACOB ROAD                                                                              CARO            MI    48723‐9394
LINDA J CAMPBELL                                  4718 LONE TREE DR                                                                            LOVELAND        CO    80537‐9003
LINDA J CAREY                                     514 FERNDALE N W                                                                             GRAND RAPIDS    MI    49544‐3530
LINDA J CASTLE                                    7415 CHARLES CT                                                                              LINDEN          MI    48451‐8614
LINDA J CHALAT CUST RACHEL M CHALAT UTMA CO       33212 MEADOW MN RD                                                                           EVERGREEN       CO    80439‐9714

LINDA J CONREY                                    PO BOX 695                                                                                   SHERWOOD        OR    97140‐0695
LINDA J CREAGER                                   4679 CORDELL DR                                                                              DAYTON          OH    45439‐3004
LINDA J CROUSE                                    11516 CANTERBURY CIR                                                                         LEAWOOD         KS    66211‐2917
LINDA J CUENY                                     3589 PORT COVE DRIVE                                                                         WATERFORD       MI    48328‐4583
LINDA J D AVIGNON                                 10338 LOVERS LANE                                                                            GRAND RAPIDS    MI    49544‐9600
LINDA J DOYLE                                     1609 ARLINGTON                                                                               FLINT           MI    48506‐3752
LINDA J EVAN                                      7961 E COUNTY ROAD 200N                                                                      AVON            IN    46123‐8558
LINDA J EVANS                                     317 W SPRINGFIELD AVE                                                                        UNION           MO    63084‐1758
LINDA J EXTON                                     6168 BARKWOOD COURT                                                                          FARMINGTON      NY    14425‐1139
LINDA J FAIVRE & CHARLES J FAIVRE JT TEN          1212 ELIZABETH ST                                                                            DEKALB          IL    60115‐4443
LINDA J FITZWATER                                 730 LUSTED LANE                                                                              BATAVIA         IL    60510
LINDA J FRIEDLEY                                  3319 CAYMAN LN                                                                               NAPLES          FL    34119‐1608
LINDA J GLATZ                                     9300 BATH RD                                                                                 LAINGSBURG      MI    48848‐9302
LINDA J GODDARD                                   516 GRANADA DR                                                                               GARLAND         TX    75043‐5118
                                           09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 810 of 855
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

LINDA J GUETERSLOH                                300 N SIMS ST                                                                                    ROYALTON         IL    62983‐1001
LINDA J GURSKY‐ROLON & FRED ROLON JT TEN          39 STEVENS AVE                                                                                   OLD BRIDGE       NJ    08857‐2243
LINDA J HAMPTON                                   3663 N SHADY LN                                                                                  DECATUR          IN    46733‐9314
LINDA J HANESSIAN CUST BENJAMIN DAVID HANESSIAN   5659 S WOODLAWN AVE                                                                              CHICAGO          IL    60637‐1622
UTMA IL
LINDA J HARBER                                    8562 MURRAY HILL RD                                                                              BOSTON           NY    14025‐9756
LINDA J HARRISON                                  8763 COLE RD                                                                                     DURAND           MI    48429‐9427
LINDA J HARVEY                                    6889 CLEARY DR                                                                                   MEMPHIS          TN    38141‐7879
LINDA J HAYES                                     16189 CHAPEL                                                                                     DETROIT          MI    48219‐3847
LINDA J HEAPS                                     2816 PIER DRIVE                                                                                  RUSKIN           FL    33570‐6138
LINDA J HEICKLEN                                  2807 GRASSELLI AVE                                                                               LINDEN           NJ    07036‐3519
LINDA J HENSLEE                                   5323 WILDLIFE DR NE                                                                              REMER            MN    56672‐3141
LINDA J HIMES                                     813 LONSVALE DRIVE                                                                               ANDERSON         IN    46013‐3220
LINDA J HOFMEISTER                                4839 MARBLE CLIFF BLVD                                                                           SYLVANIA         OH    43560‐4335
LINDA J HOLLANDER                                 6408 BELLE CREST DR                                                                              RALEIGH          NC    27612
LINDA J KARLEY                                    48 CAMPFIRE RD N                                                                                 HENRIETTA        NY    14467‐9521
LINDA J KOGER CUST KOLE AUSTIN KOGER UTMA IN      1833 N COUNTY RD 75 W                                                                            NEW CASTLE       IN    47362‐9197

LINDA J KRAATZ                                10737 SHERBORNE RD                                                                                   FISHERS          IN    46038‐2670
LINDA J KUHL & HERBERT E KUHL III JT TEN      1506 E PENNY DR                                                                                      ELIZABETH CITY   NC    27909‐6638
LINDA J KYLE                                  1730 PALM DRIVE #35                                                                                  MT PROSPECT      IL    60056‐4573
LINDA J LANGRIDGE                             86 SHAFFER DR                                                                                        GROVEPORT        OH    43125‐1362
LINDA J LASSITER                              141 OLGA ROAD                                                                                        WILMINGTON       DE    19805
LINDA J LEVINE                                15 EATON RD                                                                                          FRAMINGHAM       MA    01701‐3317
LINDA J LHOTA                                 25040 GLENBROOKE DR                                                                                  SOUTHFIELD       MI    48034‐2514
LINDA J LINGG                                 749 LAPARA AVE                                                                                       PALO ALTO        CA    94306
LINDA J LITTLE & STEVEN G PENNINGTON & LISA M 2298 SAVANNA WAY                                                                                     PALM SPRINGS     CA    92262‐8834
PENNINGTON JT TEN
LINDA J LYNCH                                 1878 GRAEFIELD                                                                                       BIRMINGHAM       MI    48009‐7543
LINDA J MAGUIRE                               625 HERON POINT CIR                                                                                  VIRGINIA BEACH   VA    23452‐2600
LINDA J MALVICH                               15500 SILVER PKWY                           APT 106                                                  FENTON           MI    48430‐3475
LINDA J MARTIN                                2668 LUCAS TURNPIKE                                                                                  HIGH FALLS       NY    12440‐5904
LINDA J MC NAMARA                             2203 BIG GULLY RD                                                                                    MARYVILLE        TN    37801‐1315
LINDA J MCCLAIN                               118 MONTROSE DR                                                                                      DURHAM           NC    27707
LINDA J MCCLAUGHRY                            7035 STARLING DR                                                                                     SCHERERVILLE     IN    46375‐4437
LINDA J MIDEKE                                13024 GREEN VALLEY DR                                                                                OKLAHOMA CITY    OK    73120‐8857
LINDA J MILLER                                251 SWOPE STREET                                                                                     BETHEL           PA    19507‐9548
LINDA J MONTAGUE                              5545 S CLINTON TRL                                                                                   EATON RAPIDS     MI    48827‐8917
LINDA J MONTGOMERY                            3771 BRAVER                                                                                          OXFORD           MI    48371‐1915
LINDA J MOORE                                 PO BOX 113                                                                                           THOROFARE        NJ    08086‐0113
LINDA J MOWELL                                ATTN LINDA J EVERETT                        8058 ARVADA PLACE                                        INDIANAPOLIS     IN    46236
LINDA J NEILL                                 9495 DEVILS LAKE HWY                                                                                 MANITOU BEACH    MI    49253‐9643
LINDA J NETHERLAND                            435 MORNING GLORY DR                                                                                 CADIZ            KY    42211‐8680
LINDA J NEUBERGER                             6605 EDGEVALE RD                                                                                     KANSAS CITY      MO    64113‐2330
LINDA J NEWNUM                                379 LEAH WAY                                                                                         GREENWOOD        IN    46142‐1985
LINDA J OLANDER CUST ANDREW W OLANDER UGMA NY 87 E POINTE                                                                                          FAIRPORT         NY    14450‐9786

LINDA J PERRY                                     473 WILLOW DR S E                                                                                WARREN           OH    44484‐2456
LINDA J PICKENS                                   4152 AILEY COURT                                                                                 NORCROSS         GA    30092‐2453
LINDA J PIERCE                                    3202 ALSTON CT                                                                                   ROSWELL          GA    30075‐6120
LINDA J POST                                      2646 RICHARDSON ST                                                                               MADISON          WI    53711‐5431
LINDA J QUEREC                                    120 TAMARISK LN                                                                                  PINEHURST        NC    28374‐8302
LINDA J REDMAN                                    1092 BAY POINTE WAY SW                                                                           LILBURN          GA    30047‐8917
LINDA J RENDA                                     4439 N MEADOW DR                                                                                 WATERFORD        MI    48329‐4643
LINDA J RILEY                                     3900 COUNTY ROAD 307                                                                             GRANDVIEW        TX    76050‐3396
LINDA J ROSENBERG                                 516 HUPP CROSS                                                                                   BLOOMFIELD       MI    48301‐2432
LINDA J ROSS                                      PO BOX 1277                                                                                      ELEPHANT BTTE    NM    87935‐1277
LINDA J RYDING                                    13201 FOX HOLLOW DR                                                                              EDINBORO         PA    16412‐1778
LINDA J SALMON                                    1681 CARNELIAN CT                                                                                LINCOLN          CA    95648‐8752
                                             09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 811 of 855
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

LINDA J SCHATTON                                   ATTN LINDA J GARTENBERG              6 MAPLEWOOD LANE                                         NEW CITY           NY    10956‐3118
LINDA J SIMON                                      7020 BEAGLE COURT                                                                             HAMILTON           OH    45011‐6549
LINDA J SMITH                                      16189 CHAPEL                                                                                  DETROIT            MI    48219‐3847
LINDA J STRICKLAND CUST HEATH G STRICKLAND UTMA 802 OAK VISTA DR                                                                                 SARASOTA           FL    34232‐1706
FL
LINDA J STRICKLAND CUST TRAVIS L STICKLAND UTMA FL 802 OAK VISTA DR                                                                              SARASOTA           FL    34232‐1706

LINDA J TALAROWSKI                               51 JACKSON AVE                                                                                  NORTH EAST         MD    21901‐2019
LINDA J TEACHOUT                                 ATTN LINDA J WATSON                    7140 W 700 S                                             JAMESTOWN          IN    46147‐9486
LINDA J TROEDSON                                 3390 HAYES TOWER RD                                                                             GAYLORD            MI    49735‐9612
LINDA J VANDEVENDER                              ATTN LINDA J ARNOLD                    134 ELMWOOD PL                                           JACKSON            MS    39212‐3516
LINDA J VERBERKMOES                              14359 LEONARD RD                                                                                SPRING LAKE        MI    49456‐9532
LINDA J VINCENT                                  PO BOX 378                                                                                      ROBARDS            KY    42452‐0378
LINDA J WAWRZYNIAK                               33695 SOMERSET DRIVE                                                                            STERLING HEIGHTS   MI    48312‐6069

LINDA J WEATHERBY                                1955 OLD BUSH MILL RD                                                                           BREMEN             GA    30110‐3866
LINDA J WHEATLEY                                 ATTN LINDA J WHEATLEY SCHULTZ          270 LONG POINTE CT                                       VERO BEACH         FL    32966
LINDA J WHITNEY                                  498 W SYCAMORE COURT                                                                            LOUISVILLE         CO    80027‐2229
LINDA J WHITWORTH                                11741 NW 23RD ST                                                                                PLANTATION         FL    33323‐2040
LINDA J WILLEN                                   3006 MILITARY RD                                                                                ARLINGTON          VA    22207
LINDA J WOLCOTT                                  125 WOODHAVEN DR                                                                                LANSING            MI    48917‐3534
LINDA J WOOLEY                                   121 BLAKE LANE                                                                                  MARION             KY    42064‐1739
LINDA J WORBOY                                   462 NORTHWEST CORNER RD                                                                         NORTH              CT    06359‐1033
                                                                                                                                                 STONINGTON
LINDA J WORDEN                                   9 CORCORAN DR                                                                                   TYNGSBORO          MA    01879‐2138
LINDA J YOUNG                                    150 PINE NEEDLE STREET                                                                          HOWELL             NJ    07731‐2687
LINDA JANE KISSLING                              7931 SOUTHWEST THIRD ST                                                                         NORTH              FL    33068‐1103
                                                                                                                                                 LAUDERDALE
LINDA JANE LEITCH                                803 NICHOLAS PKWY W                                                                             CAPE CORAL         FL    33991
LINDA JARVINEN                                   124 WEST CALAVERAS ST                                                                           ALTADENA           CA    91001‐5004
LINDA JASKO TRZASKA                              5427 THOMAS ST                                                                                  BOKEELIA           FL    33922‐3221
LINDA JEAN ADLER & MARK R ADLER JT TEN           33 WOODPARK CIRCLE                                                                              LEXINGTON          MA    02421‐7207
LINDA JEAN CRAVEN                                6805 MORRISON LAKE RD                                                                           SARANAC            MI    48881‐9627
LINDA JEAN DRIES                                 4670 MARBLE MANOR                                                                               ROCKFORD           IL    61102‐4736
LINDA JEAN DUCKWORTH                             13831 REVA ST                                                                                   CERRITOS           CA    90703‐9061
LINDA JEAN PIJANOWSKI                            27 MUNSEE DR                                                                                    CRANFORD           NJ    07016‐3413
LINDA JEAN SAVELAND                              1113 FALLSMEAD WAY                                                                              POTOMAC            MD    20854‐5531
LINDA JEAN STEWART                               33445 MINA DR                                                                                   STERLING HEIGHTS   MI    48312‐6649

LINDA JEANNE SELDON                              20512 CHARLTON SQ BLDG #7              APT 206                                                  SOUTHFIELD         MI    48076‐4058
LINDA JILL DREEBEN                               4610 NORWOOD DRIVE                                                                              CHEVY CHASE        MD    20815‐5349
LINDA JO CASTORENA                               9019 SOUTH CALLE AZTECA                                                                         GAUDALUPE          AZ    85283‐2525
LINDA JO FRANCOEUR                               5741 SHEPHERD RD                                                                                ADRIAN             MI    49221
LINDA JO LONAS                                   BOX 107                                                                                         MANASSAS           VA    20108‐0107
LINDA JOAN BROWN                                 170 LENSDALE AVE                                                                                DAYTON             OH    45427‐2323
LINDA JOHNSON                                    402 HENDRY ST                                                                                   SANDUSKY           OH    44870‐3464
LINDA JOHNSON                                    10441 LAKESHORE DR                                                                              FENTON             MI    48430‐2421
LINDA JONES                                      PMB 2985                               PO BOX 2340                                              PENSACOLA          FL    32513
LINDA JORN & JANE C PIERSON JT TEN               678 W REO SAN PEDRO                                                                             GREEN VALLEY       AZ    85614‐3973
LINDA JOYCE MOORE                                PO BOX 761                                                                                      PAHOA              HI    96778‐0761
LINDA JOYCE ROCHE                                2233 KILMORY DR NW                                                                              KENNESAW           GA    30152‐5834
LINDA JOZWIAKOWSKI                               1807 TAYLOR DRIVE                                                                               GASTONIA           NC    28052‐7674
LINDA K ALLEN                                    2380 E 1150 S                                                                                   KOKOMO             IN    46901‐7794
LINDA K ANDERSON                                 10142 E 1000 NORTH                                                                              BROWNSBURG         IN    46112
LINDA K BABCOCK                                  738 TERRACE DR                                                                                  WILLISTON          VT    05495‐2133
LINDA K BARNETT                                  3733 JAY LN                                                                                     SPRING HILL        TN    37174‐2179
LINDA K BITKER                                   10946 W WILBUR HWY                                                                              EATON RAPIDS       MI    48827‐9336
LINDA K BRANDANA                                 11791 PARDEE                                                                                    TAYLOR             MI    48180‐4223
LINDA K BROCK                                    8605W 550N                                                                                      SHARPSVILLE        IN    46068‐8934
                                                 09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 812 of 855
Name                                               Address1                               Address2              Address3         Address4          City              State Zip

LINDA K BROWN CUST ANNA C BROWN UGMA GA      134 WHITE OAK LANE                                                                                    DAHLONEGA         GA    30533‐4484
LINDA K BROWN CUST KATHERINE E BROWN UGMA GA 134 WHITE OAK LANE                                                                                    DAHLONEGA         GA    30533‐4484

LINDA K BRUBAKER CUST BRIAN KEITH BRUBAKER    1316 LAKE SHORE RD                                                                                   CHAZY             NY    12921‐1912
UGMA PA
LINDA K BRUBAKER CUST MATTHEW J BRUBAKER UGMA 1316 LAKE SHORE RD                                                                                   CHAZY             NY    12921‐1912
PA
LINDA K CAMPBELL                              9415 MCWAIN RD                                                                                       GRAND BLANC       MI    48439‐8363
LINDA K CANCILLERI                            C/O LINDA K JUNG                            63 RIDGEWAY ESTATES                                      ROCHESTER         NY    14626‐4284
LINDA K CARLS                                 1025 POTEET                                                                                          LEWISBURG         TN    37091‐5239
LINDA K CHAMPAGNE                             12016 CAROL AVE                                                                                      WARREN            MI    48093‐4620
LINDA K CONNOR                                224 LIBERTY AVE                                                                                      CLARKSBURG        WV    26301‐4120
LINDA K CRISLIP PERS REP UW EVALO MC CAMMON   3405 BRECKENRIDGE DR                                                                                 INDIANAPOLIS      IN    46228‐2751

LINDA K DAGNAN & JAMES F DAGNAN JT TEN             135 E OVERLOOK DR                                                                               EASTLAKE          OH    44095‐1107
LINDA K DAVIS                                      3352 TENNYSON STREET NW                                                                         WASHINGTON        DC    20015‐2443
LINDA K DAVIS                                      2880 MAXWELL DR                                                                                 TRENTON           MI    48183‐3412
LINDA K DENNEHY                                    9338 RAYNA DR                                                                                   DAVISON           MI    48423‐2854
LINDA K DESKINS & RICHARD KEITH DESKINS JT TEN     34268 CORTLANDURT                                                                               FARMINGTON        MI    48335‐3510

LINDA K DEVRIES                                    7136 MADISON                                                                                    GRAND RAPIDS      MI    49548‐7710
LINDA K DONNERSTAG                                 819 DEVON AVE                                                                                   LA                CA    90024‐2507
LINDA K EDMOND & MARK E EDMOND JT TEN              9155 MILLS AVE                                                                                  WHITTIER          CA    90603
LINDA K EMERSON                                    117 UNION STREET                                                                                ADRIAN            MI    49221‐2936
LINDA K FARRINGTON                                 2205 CANTERBURY DR                                                                              KOKOMO            IN    46902‐3174
LINDA K FISCHER                                    7359 CLOVERMEAD AVE                                                                             YOUNGSTOWN        OH    44514‐3722
LINDA K GILLMAN                                    28063 WILDWOOD TRL                                                                              FARMINGTN HLS     MI    48336‐2269
LINDA K GRAMMER                                    2791 S STATE ROAD 227                                                                           RICHMOND          IN    47374‐7384
LINDA K GRAY                                       900 SANDY CT                                                                                    GRAIN VALLEY      MO    64029‐8459
LINDA K GREENE                                     6427 ODESSA DRIVE                                                                               WEST BLOOMFIELD   MI    48324‐1363

LINDA K HAEMMERLE                                  180 INGLESIDE DR                                                                                BEREA             OH    44017
LINDA K HAWKINS                                    7390 OLD MORGANTOWN RD                                                                          MARTINSVILLE      IN    46151‐7181
LINDA K HILLENBRAND                                5402 TIFFIN AVE                                                                                 CASTALIA          OH    44824‐9434
LINDA K HINDERS                                    1216 WIGWAM DR                                                                                  KOKOMO            IN    46902‐5480
LINDA K JAMESON                                    538 E MCARTHUR STREET                                                                           CORUNNA           MI    48817
LINDA K JOHNSON                                    1144 MICHELLE SW                                                                                WARREN OHIO       OH    44485
LINDA K JUNG                                       63 RIDGEWAY ESTATES                                                                             ROCHESTER         NY    14626‐4284
LINDA K KOZICKI                                    1607 LINDEN                                                                                     DEARBORN          MI    48124‐5005
LINDA K KRAUSS                                     51924 HUTCHINSON RD                                                                             THREE RIVERS      MI    49093‐9029
LINDA K KRIPPEL                                    414 NATIONAL DRIVE                                                                              SHOREWOOD         IL    60431‐9557
LINDA K KUBINSKI                                   2852 CANTERBURY CT                                                                              MILFORD           MI    48381‐4445
LINDA K MAULDIN                                    2401 TIVOLI TERR                                                                                OKLAHOMA CITY     OK    73170‐3228
LINDA K MC HARD                                    2800 STERLING DRIVE                                                                             IOWA CITY         IA    52240‐3045
LINDA K MCALLISTER                                 5085 SULLIVANT                                                                                  COLUMBUS          OH    43228‐1751
LINDA K MCDANIEL                                   PO BOX 25                                                                                       BURLESON          TX    76097‐0025
LINDA K MEISTER TOD KENNETH DALE CROSS SUBJECT     1525 GYPSY LANE                                                                                 NILES             OH    44446
TO STA TOD RULES
LINDA K MONTI                                      418 EAST 36TH STREET                                                                            ERIE             PA     16504‐1614
LINDA K MORRIS                                     117 SANDPIPER AVE                                                                               ROYAL PALM BEACH FL     33411‐2917

LINDA K MYERS                                      51 FOREST ROAD                                                                                  ESSEX JUNCTION    VT    05452‐3804
LINDA K NICKOLA CUST MICHAEL D NICKOLA UGMA MI     9801 BURNING TREE                                                                               GRAND BLANC       MI    48439‐9588

LINDA K NICKOLA CUST NICHOLAS D NICKOLA UGMA MI 9801 BURNING TREE                                                                                  GRAND BLANC       MI    48439‐9588

LINDA K ORTMAN                                     4901 OLD STATE RD                                                                               NORWALK           OH    44857‐9135
LINDA K POTTER                                     PO BOX 504                                                                                      GRAND BLANC       MI    48439‐0504
LINDA K PRESTON & TIMOTHY C WHITE JT TEN           2049 S WAVERLY                                                                                  EATON RAPIDS      MI    48827‐9717
                                             09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 813 of 855
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

LINDA K REIST                                    2379 REGENCY HILLS DRIVE                                                                      SHELBY TOWNSHIP   MI    48316‐2063

LINDA K RICE & ROGER RICE JT TEN             28229 COUNTY ROAD 33                     LOT C19                                                  LEESBURG          FL    34748‐4530
LINDA K SANTALA                              6243 ENGLEWOOD DR                                                                                 CLARKSTON         MI    48346‐1103
LINDA K SCHMITT                              1535 E 9TH ST 21                                                                                  ROCHESTER         IN    46975‐8972
LINDA K SELLNER                              8607 SPRUCE RUN CT                                                                                ELLICOTT CITY     MD    21043‐6944
LINDA K SHOEMAKER                            3520 JERROLD BLVD                                                                                 BRUNSWICK         OH    44212‐2228
LINDA K SIMMONS CUST LEIGHTON W SIMMONS UGMA 16153 E 111TH ST N                                                                                OWASSO            OK    74055‐6005
OK
LINDA K SIZEMORE                             ATTN LINDA K BEHYMER                     216 SE CHICAGO ST                                        BLUE SPRINGS      MO    64014‐3108
LINDA K SMITH                                2742 COSTA MESA                                                                                   WATERFORD         MI    48329‐2433
LINDA K SPRENZEL                             4206 GRAND AVE                                                                                    WESTERN SPRINGS   IL    60558‐1434

LINDA K STORANDT CUST DEVIN D HOWARD UTMA WI     1927 LIBERTY LN                                                                               JANESVILLE        WI    53545‐0917

LINDA K STOUT                                    5711 ARROWHEAD BLVD                                                                           KOKOMO            IN    46902‐5502
LINDA K THOMAS                                   11351 RIVER RIDGE DR                                                                          ALLENDALE         MI    49401‐9585
LINDA K THOMAS                                   ATTN LINDA K SANTALA                 6243 ENGLEWOOD                                           CLARKSTON         MI    48346‐1103
LINDA K TOELLE                                   60 BAY MEADOWS DR                                                                             HOLLAND           MI    49424‐6497
LINDA K TURNAGE                                  455 GARDEN VALLEY DR                                                                          YOUNGSTOWN        OH    44512‐6544
LINDA K VAN DUSEN                                555 VAN DUSEN LN                                                                              MIO               MI    48647‐9799
LINDA K VAN SCHAICK                              263 HONE RD                                                                                   CHERRY VALLEY     NY    13320
LINDA K VENTRESCO EX EST MARY A HALL             181 OAKWOOD COURT                                                                             WESTERVILLE       OH    43081
LINDA K WELCH                                    6942 HTS RAVENNA ROAD                                                                         FRUITPORT         MI    49415‐9732
LINDA K WILSON                                   2901 HAGEN DRIVE                                                                              SIERRA VISTA      AZ    85650‐5243
LINDA K WRIGHT                                   1650 1ST AVENUE W                    303B                                                     BRADENTON         FL    34205
LINDA K YOUNG                                    1153 BELLA VISTA AVE                                                                          OAKLAND           CA    94610‐4038
LINDA K ZUKAUCKAS                                50 ROLLING HILL DR                                                                            CHATHAM           NJ    07928‐1644
LINDA KADRICH TR UA 08/13/1997 LESTER H REISEM   8620 E GREEN ACRES DRIVE                                                                      TUCSON            AZ    85715
TRUST
LINDA KAINES                                     4331 ISLAND VIEW                                                                              FENTON            MI    48430‐9145
LINDA KARAMANIS                                  C/O ANTONIA K MILONAS                171 W 57TH ST 11C                                        NEW YORK          NY    10019‐2222
LINDA KAROSAS CUST DANIELLE KAROSAS UTMA FL      4431 NORTHSIDE CHASE NW                                                                       ATLANTA           GA    30327‐3567

LINDA KAY DAUM                                    3306 S ST RD 267                                                                             PLAINFIELD        IN    46168‐3013
LINDA KAY DAVIS                                   6910 FM 879                                                                                  PALMER            TX    75152‐9102
LINDA KAY JARVIS                                  4124 N 400 W                                                                                 SHARPSVILLE       IN    46068‐9162
LINDA KAY KALB EX EST MARVIN K KALB               710 MAIN ST                                                                                  JASPER            IN    47546
LINDA KAY KOSZELA                                 1373 SHANNON RD                                                                              GIRARD            OH    44420‐1413
LINDA KAY KOZICKI CUST DEREK JAMES KOZICKI UND MI 1607 LINDEN                                                                                  DEARBORN          MI    48124‐5005
U‐G‐T‐M‐A
LINDA KAY KOZICKI CUST LEANNE RENEE KOZICKI UGMA 1607 LINDEN                                                                                   DEARBORN          MI    48124‐5005
MI
LINDA KAY KUCEWESKY                               9634 DEERFIELD RD                                                                            FRANKTOWN         CO    80116‐8835
LINDA KAY MINER                                   301 KILLINGTON DRIVE                                                                         RALEIGH           NC    27609‐3712
LINDA KAY REESE                                   176 PARKDALE AVE                                                                             PONTIAC           MI    48340‐2550
LINDA KAYE STURGIS & BEVERLY J STURGIS JT TEN     26070 AIRPORT RD                                                                             STURGIS           MI    49091‐9772
LINDA KAYE SUMMEY                                 8921 N W 83                                                                                  OKLAHOMA CITY     OK    73132‐4028
LINDA KECK                                        289 ANDOVER RIDGE CT                                                                         HENDERSON         NV    89012‐3128
LINDA KEEGAN                                      1238 PINEREST CIRCLE                                                                         SILVER SPRINGS    MD    20910‐1626
LINDA KING                                        1120 OAK CLUSTER DR                                                                          HOWELL            MI    48843‐7351
LINDA KOSLOWSKI                                   ATTN LINDA A BENDIAN                57 HIDDEN GLEN RD                                        U SADDLE RIV      NJ    07458
LINDA KRAJEWSKI                                   6654 NIGHTINGALE DR                                                                          GAYLORD           MI    49735‐9081
LINDA KREMLICK                                    80 BOBBIE NEAL DR                                                                            FRANKLIN          NC    28734‐8026
LINDA KUPPE                                       2941 REMINGTON OAKS LN                                                                       WEST BLOOMFIELD   MI    48324‐4787

LINDA KUSZAK CUST MICHAEL KUSZAK UTMA IL         120 LAMPLIGHTER LOOP SE                                                                       POPLAR GROVE      IL    61065‐9184
LINDA L ABAR                                     733 TROMBLEY                                                                                  GROSSE POINTE     MI    48230‐1845
LINDA L ADDIS                                    21360 BEACONSFIELD                                                                            ST CLAIR SHORES   MI    48080‐1675
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 814 of 855
Name                                              Address1                               Address2               Address3        Address4          City               State Zip

LINDA L AKERS                                     5849 W 900 N                                                                                    FRANKTON           IN    46044‐9448
LINDA L ALDRICH BOWLING                           420 W SCHLEIER ST                                                                               FRANKENMUTH        MI    48734
LINDA L ALMA                                      PO BOX 1317                                                                                     SPRING HILL        TN    37174‐1317
LINDA L ALVERSON                                  ATTN LINDA L BOVEE                     2385 KENWOOD DR                                          ADRIAN             MI    49221‐4504
LINDA L ATKINS                                    2245 DANDRIGE DR                                                                                YORK               PA    17403‐4513
LINDA L BAKER                                     8535 W 59TH AVE                                                                                 ARVADA             CO    80004‐5496
LINDA L BAKER                                     1744 LARAMY LANE                                                                                HUDSONVILLE        MI    49426‐8727
LINDA L BALAS                                     9000 WESTWOOD                                                                                   KIRTLAND           OH    44094‐9318
LINDA L BALDWIN                                   12399 BRADT ROAD                                                                                CATO               NY    13033‐3322
LINDA L BALLARD                                   17 PASILLO WAY                                                                                  HOT SPRINGS        AR    71909‐3831
LINDA L BANKS                                     2478 STATE RTE 130 S                                                                            MORGANFIELD        KY    42437‐6213
LINDA L BEATHE                                    684 N LEAVITT RD                                                                                LEAVITTSBURG       OH    44430‐9772
LINDA L BESS                                      1270 LAUREL CIRCLE                                                                              WEBSTER            NY    14580‐9552
LINDA L BIRDSALL                                  1790 ARIEL DR                                                                                   OTSEGO             MI    49078‐9687
LINDA L BLOODSWORTH                               3670 SEYMOUR LAKE RD                                                                            ORTONVILLE         MI    48462‐9236
LINDA L BRADY TOD LISA L STEARNS SUBJECT TO STA   111 SIESTA COURT                                                                                DELAND             FL    32724
TOD RULES
LINDA L BRAMAN                                    1234 E GRANT RD                                                                                 ASHLEY             MI    48806‐9733
LINDA L BRANNON                                   6577 COTTAGE TRL                                                                                GAYLORD            MI    49735‐9627
LINDA L BROCK                                     20707 SW SUNSET RIDGE RD                                                                        ROSE HILL          KS    67133‐8604
LINDA L BROCK                                     12137 STONE MILL RD                                                                             CINCINNATI         OH    45251‐4133
LINDA L BROOKS                                    6488 BARRIE CIR                                                                                 BRIGHTON           MI    48114‐7430
LINDA L BROWN                                     701 E SOUTH B ST                                                                                GAS CITY           IN    46933‐2102
LINDA L BROWN                                     ATTN LINDA LEE PYARD                   15005 NORTH DIVISION                                     CEDAR SPRINGS      MI    49319‐9637
LINDA L BROWN                                     2291 HILL HOUSE RD                                                                              CHESTERFIELD       MO    63017‐7270
LINDA L BROWN                                     16301 TUCKER RD                                                                                 HOLLY              MI    48442‐9743
LINDA L BROWN TR LINDA L BROWN REV LIV TRUST UA   PO BOX 724                                                                                      VANDALIA           OH    45377‐0724
6/26/00
LINDA L BUCHANAN                                  1524 PLUM PLACE                                                                                 MANSFIELD          OH    44905
LINDA L BURGAN                                    7691 S 100 W                                                                                    FAIRMOUNT          IN    46928‐9713
LINDA L BURT                                      11263 RANDOM WAY                                                                                LAFAYETTE          CO    80026‐9642
LINDA L BUTTIGIEG                                 25144 PAMELA                                                                                    TAYLOR             MI    48180‐4522
LINDA L CAMPBELL & JAMES R CAMPBELL JT TEN        52428 ANTLER DR                                                                                 MACOMB             MI    48042‐3406
LINDA L CARLSON                                   4707 CLAREMONT STREET                                                                           KANSAS CITY        MO    64133‐2449
LINDA L CHAPMAN                                   4856 THOMAS RD                                                                                  METAMORA           MI    48455‐9342
LINDA L CHENAULT & WILLIAM H CHENAULT JT TEN      8122 NW MIAMI                                                                                   WEATHERBY LAKE     MO    64152‐1508

LINDA L CHUTKO                                    8437 CARROLL ROAD                                                                               GASPORT            NY    14067‐9437
LINDA L CLARK TR LINDA L CLARK REVOCABLE LIVING   2444 FERNCLIFF                                                                                  ROYAL OAK          MI    48073‐3820
TRUST UA 11/25/98
LINDA L COLLER                                    801 N ROAD 400 W                                                                                BARGERSVILLE       IN    46106‐9349
LINDA L COOK                                      4752 STATE RT 160                                                                               HIGHLAND           IL    62249‐3476
LINDA L CRAWFORD‐REED                             3217 5TH AVENUE                                                                                 SIOUX CITY         IA    51106‐2704
LINDA L DAMATO                                    227 STONEHOUSE ROAD                                                                             TRUMBULL           CT    06611‐1625
LINDA L DAVES                                     132 PECAN CREEK DR                                                                              MARBLE FALLS       TX    78654‐9001
LINDA L DAVIS                                     600 E WILLIAMSBURG RD                  APT 303                                                  SANDSTON           VA    23150‐1729
LINDA L DAY                                       6 PALOMINO CT                                                                                   WENTZVILLE         MO    63385‐4512
LINDA L DEETER                                    306 WARREN ST                                                                                   VERSAILLES         OH    45380‐1368
LINDA L DEFAUW                                    2578 CHESLEY                                                                                    STERLING HEIGHTS   MI    48310‐4828

LINDA L DELANCEY                                  332 RATLEDGE RD                                                                                 TOWNSEND           DE    19734‐9548
LINDA L DIETZ                                     4907 SW 45TH ST                                                                                 OCALA              FL    34474‐9760
LINDA L DIEUDONNE                                 2951 DARRELL DR SW                                                                              SUPPLY             NC    28462‐2527
LINDA L DUERSON                                   239 SHELFORD AVE                                                                                SAN CARLOS         CA    94070‐1859
LINDA L DUXBURY TR UA 04/30/91 THE LINDA L        PO BOX 5468                                                                                     FORT WAYNE         IN    46895‐5468
DUXBURY TRUST
LINDA L DYGERT                                    191 COLE TRESTLE RD                                                                             BLAIR              SC    29015‐9179
LINDA L EASTON                                    2110 SMITH CRT                                                                                  ROCHESTER          IN    46975‐9728
LINDA L FELT                                      25306 HASS                                                                                      DEARBORN HTS       MI    48127‐3017
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 815 of 855
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

LINDA L FERGUS                                    1321 SUNNINGDALE LN N                                                                         ORMOND BEACH    FL    32174‐2495
LINDA L FLYNN                                     6838 WINDEMERE DR                                                                             ZIONSVILLE      IN    46077‐8551
LINDA L FOSTER                                    2229 N WALNUT AVE                                                                             TUCSON          AZ    85712
LINDA L FRAZIER                                   PO BOX 421                                                                                    PRAIRIE CITY    IA    50228‐0421
LINDA L FRITZ                                     3460 LOON LAKE COURT                                                                          LINDEN          MI    48451
LINDA L GAINES CUST REBECCA GAINES UGMA IL        24W651 LAKEWOOD DRIVE                                                                         NAPERVILLE      IL    60540‐3613
LINDA L GARDINER                                  5027 MONTGOMERY                                                                               SHELBY TWP      MI    48316‐4119
LINDA L GILLISON                                  PO BOX 141                                                                                    FAIRFIELD       IL    62837‐0141
LINDA L GOOD                                      3113 MEADOW LN                                                                                WARREN          OH    44483‐2631
LINDA L GORDINIER                                 13081 COVE RIDGE DR                                                                           SOUTH LYON      MI    48178‐9590
LINDA L GRAHL                                     2010 WINDSOR DR                                                                               COLUMBIA        TN    38401‐4953
LINDA L GRAMMATICO                                22150 GRANDY                                                                                  CLINTON TWP     MI    48035‐3136
LINDA L GREEN                                     3043 SIMPSON ROAD                                                                             FORT GRATIOT    MI    48059‐4238
LINDA L HANSEN                                    610 MEADOWVIEW LN                                                                             ELK RAPIDS      MI    49629‐9558
LINDA L HARDIN                                    12550 ROME RD                                                                                 MANITOU BEACH   MI    49253‐9714
LINDA L HARRISON                                  35069 SOFIA CT                                                                                FREMONT         CA    94536‐5462
LINDA L HART                                      1645 LULU ST                                                                                  WICHITA         KS    67211‐4544
LINDA L HEMMERT                                   645 BOONE ST                                                                                  PIQUA           OH    45356‐2043
LINDA L HENDERSHOT                                117 DORSEY AVE                                                                                ORWELL          OH    44076‐9570
LINDA L HERTEL & W RAY HERTEL JT TEN              80 WALNUT ST                                                                                  LEETONIA        OH    44431‐1153
LINDA L HINCHEY                                   6693 S WASHINGTON ST                                                                          LITTLETON       CO    80121‐2353
LINDA L HOFFMAN                                   410 MAIN ST                                                                                   CASTALIA        OH    44824‐9786
LINDA L HOVIOUS                                   1718 HEMLOCK LN                                                                               PLAINFIELD      IN    46168‐1831
LINDA L HUFFMAN                                   170 HAMBURG ROAD                                                                              GREENVILLE      PA    16125‐1517
LINDA L HUNTER                                    304 E 37TH ST                                                                                 ANDERSON        IN    46013‐4640
LINDA L HUTCHINSON                                7441 WILDWOOD                                                                                 WESTLAND        MI    48185‐6909
LINDA L JENNINGS                                  14004 POPLAR AVENUE                                                                           GRANT           MI    49327‐9352
LINDA L JENNINGS & JAMES F JENNINGS JT TEN        3636 W 109 ST                                                                                 CHICAGO         IL    60655‐3213
LINDA L JOHNSON                                   2600 GRACE COURT                                                                              SAGINAW         MI    48603‐2840
LINDA L JONES                                     6464 NIGHTINGALE DRIVE                                                                        FLINT           MI    48506
LINDA L KASPERT                                   553 RIVERBANK                                                                                 LINCOLN PARK    MI    48146‐4315
LINDA L KEARNEY                                   12130 DIAMOND LN                                                                              WASHINGTON      MI    48094‐3130
LINDA L KEARNEY & JOHN V KEARNEY JT TEN           12130 DIAMOND LN                                                                              WASHINGTON      MI    48094‐3130
LINDA L KECK                                      1264 PLANTATION BLVD                                                                          JACKSON         MS    39211‐2709
LINDA L KELLER                                    206 S 6TH ST                                                                                  WRIGHTSVILLE    PA    17368‐1513
LINDA L KERR                                      302 AUTUMN TRL                                                                                PORT ORANGE     FL    32129‐7803
LINDA L KETTLER                                   8104 E FRANCIS RD                                                                             OTISVILLE       MI    48463‐9422
LINDA L KNOEFERL                                  2389 SPENCERPORT RD                                                                           SPENCERPORT     NY    14559‐2028
LINDA L KOSOSKI                                   11695 FARLEY                                                                                  REDFORD         MI    48239‐2470
LINDA L KOWALSKI                                  9304 WATERS COURT                                                                             FORT WAYNE      IN    46825‐7008
LINDA L KRONEMANN                                 2438 CENTRAL PARK DR                                                                          LODI            CA    95242‐3205
LINDA L KUHN                                      687 HICKORY PINE DR                                                                           NEW WHITELAND   IN    46184
LINDA L KUIPER                                    12500 WOODLAND PARK DR                                                                        BELDING         MI    48809‐9393
LINDA L LABUDA                                    1967 ARTHUR DR NW                                                                             WARREN          OH    44485
LINDA L LACOMB CUST PATRICK LACOMB UGMA OH        PO BOX 1491                                                                                   VALRICO         FL    33595‐1491

LINDA L LANE                                      1945 NW 13TH ST 101 CB 107                                                                    DELRAY BEACH    FL    33445‐1405
LINDA L LASTER                                    PO BOX 1745                                                                                   LITHONIA        GA    30058‐1020
LINDA L LEE                                       818 E 1ST ST                                                                                  HOPE            AR    71801
LINDA L LEGG & ROBERT J LEGG & BRENDA L LEGG JT   194 W RIVER RD                                                                                UXBRIDGE        MA    01569
TEN
LINDA L LESHER                                    2820 COUNTRY CLUB DRIVE                                                                       CHICKASHA       OK    73018‐6914
LINDA L LINDOLPH                                  1965 CORAL ISLE DR                                                                            BULLHEAD CITY   AZ    86442‐5137
LINDA L LOMBARDI                                  2909 LAND PARK DR                                                                             SACRAMENTO      CA    95818‐3421
LINDA L LOUDEN                                    225 CLEARWATER ROAD                                                                           SATSUMA         FL    32189‐2108
LINDA L LOVELL                                    2947 OLD STATE ROAD 37 N             APT 37                                                   SPRINGVILLE     IN    47462‐5082
LINDA L LUCAS                                     2548 BINGHAM AVENUE                                                                           KETTERING       OH    45420‐3725
LINDA L MARTIN                                    290 E LONG LAKE RD                                                                            TROY            MI    48085‐4759
LINDA L MARTIN                                    22749 ROXANA                                                                                  EAST DETROIT    MI    48021‐1921
                                               09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 816 of 855
Name                                               Address1                               Address2              Address3         Address4          City            State Zip

LINDA L MARVIN                                     6571 DEERFIELD ROAD                                                                             PALMYRA         MI    49268‐9719
LINDA L MC CANN                                    3066 SANDYWOOD DRIVE                                                                            KETTERING       OH    45440‐1503
LINDA L MCPHERSON & LAURA JEAN BERGER JT TEN       10070 RIVER OAKS DRIVE                                                                          STOCKTON        CA    95209‐4121

LINDA L MCQUEEN CUST RICHARD K SOWLES UGMA MI 170 VIA MADONNA                                                                                      ENGLEWOOD       FL    34224‐5125

LINDA L MILLAY                                     74 BLANCHARD CROSS RD                                                                           BOWDOIN         ME    04287‐7455
LINDA L MILLER                                     22615 W 46TH TER                                                                                SHAWNEE         KS    66226‐2449
LINDA L MOGILKA                                    5649 SOUTH 25TH STREET                                                                          MILWAUKEE       WI    53221‐4219
LINDA L MOLONEY                                    1431 NORTH FOSTER                                                                               LANSING         MI    48912‐3312
LINDA L MOORE                                      2061 GREEN RD                                                                                   SAINT JOHNS     MI    48879‐9184
LINDA L MORRISON                                   30575 OAKLEAF LANE                                                                              FRANKLIN        MI    48025‐1466
LINDA L MORROW                                     803 N WALNUT ST                                                                                 MILFORD         DE    19963‐1234
LINDA L MOTT                                       16852 COACH LN                                                                                  HUNTINGTON      CA    92649‐4015
                                                                                                                                                   BEACH
LINDA L NORDQUIST                                  2040 SOUTHWYCK DR                                                                               FLINT           MI    48507‐3922
LINDA L O'ROKE                                     116 TAVERN ROAD                                                                                 MARTINSBURG     WV    25401‐2842
LINDA L OLSON                                      1136 KENSINGTON NW                                                                              GRAND RAPIDS    MI    49544‐2173
LINDA L PAINTER TR UA 06/19/2001 LINDA L PAINTER   10103 DENTON HILL ROAD                                                                          FENTON          MI    48430
TRUST
LINDA L PALMER CUST LAURA E PALMER UGMA MI         1357 LEISURE DRIVE                                                                              FLINT           MI    48507‐4048

LINDA L PATTERSON                                  ATTN LINDA EAGLE                       340 E SHERMAN DRIVE                                      CARSON          CA    90746‐1159
LINDA L PERRIN‐RODRIGUEZ                           253 REEDER DR                                                                                   BUTLER          OH    44822‐9621
LINDA L PETERSEN                                   12011 FERDEN RD                                                                                 OAKLEY          MI    48649‐9722
LINDA L PETERSEN & JAMES C PETERSEN JT TEN         9335 MADISON RD                                                                                 MONTVILLE       OH    44064‐8721
LINDA L PHILLIPS                                   12345 C CEDAR CIN                                                                               AWRORA          CO    80012
LINDA L PHIPPS                                     2811 BRIDGESTONE CIRCLE                                                                         KOKOMO          IN    46902‐7007
LINDA L PILLOT & IVO PILLOT & KRISTEN S KLENK &    5134 CHERYL DR                                                                                  ALMONT          MI    48003‐8765
MATEO S PILLOT JT TEN
LINDA L PIPER                                      7405 ST PATRICIA CT                                                                             BALTIMORE       MD    21222‐3516
LINDA L POWERS                                     5304 GREENBRIAR RD                                                                              LANSING         MI    48917‐1338
LINDA L QUINN                                      RR 1 BOX 341                                                                                    CARBON          IN    47837‐9801
LINDA L RAINSBERGER                                217 WELCH ST                                                                                    DENNISON        OH    44621‐1255
LINDA L RAMIREZ                                    88 N ROSELAWN STREET                                                                            PONTIAC         MI    48342‐2748
LINDA L RAYMOND                                    12302 CREEKSIDE DRIVE                                                                           CLIO            MI    48420‐8227
LINDA L RECORD TR RECORD FAM TRUST UA 04/03/97     1645 W LINCOLN ST                                                                               BIRMINGHAM      MI    48009‐1831

LINDA L RECORD TR RECORD SURVIVORS TRUST UA        1645 W LINCOLN                                                                                  BIRMINGHAM      MI    48009‐1831
04/03/97
LINDA L RIZZO                                      985 BEACH RD                                                                                    BUFFALO         NY    14225
LINDA L ROBERTSON & JOSEPH M DEBEVIC JT TEN        9185 RIDGE ROAD                                                                                 GOODRICH        MI    48438‐8842
LINDA L RUGE & GEORGE R RUGE JT TEN                6706 60TH STREET CIR E                                                                          PALMETTO        FL    34221‐8204
LINDA L SCHNOBRICK                                 2606 CARAMBOLA CIRCLE NORTH                                                                     COCONUT CREEK   FL    33066‐2424
LINDA L SCHWARTZ CUST HILARY ELLEN SCHWARTZ        623 LAGUNA RD                                                                                   PASADENA        CA    91105‐2222
UTMA CA
LINDA L SCHWARTZ CUST SETH ANDREW SCHWARTZ         623 LAGUNA RD                                                                                   PASADENA        CA    91105‐2222
UTMA CA
LINDA L SEARLE                                     5114 BENSETT TR                                                                                 DAVISON         MI    48423‐8766
LINDA L SHAFFER                                    BOX 92                                                                                          W ALEXANDRIA    OH    45381‐0092
LINDA L SHAVER                                     4906D INDEPENDENCE CIRCLE                                                                       STOW            OH    44224‐2044
LINDA L SHEPARD                                    941 CAMERON                                                                                     PONTIAC         MI    48340‐3215
LINDA L SOCKO                                      11481 SW 53RD AVE                                                                               OCALA           FL    34476‐9567
LINDA L SPOTH                                      100 HUBBARDSTON PLACE                                                                           AMHERST         NY    14228‐2833
LINDA L STAMMER                                    2ND FLOOR                              3113 PHILLIPS                                            CINCINNATI      OH    45205‐2324
LINDA L STANLEY                                    7717 CURRIE HILL CT                                                                             FORT WAYNE      IN    46804‐3520
LINDA L STEFANIAK                                  3606 SCHUMANN RD                                                                                BAY CITY        MI    48706‐2120
LINDA L TEASLEY                                    97 HARDEE ST                                                                                    LABELLE         FL    33935‐5227
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                        Part 4 of 8 Pg 817 of 855
Name                                               Address1                              Address2                     Address3   Address4          City            State Zip

LINDA L TOPOLSKI                                   48787 HUNTER DR                                                                                 MACOMB          MI    48044‐5569
                                                                                                                                                   TOWNSHIP
LINDA L TRACY                                      6231 CANTER CREEK TRAIL                                                                         GRAND BLANC     MI    48439‐7440
LINDA L TRAGESER CUST GREGORY LEWIS TRAGESER       113 QUINCY STREET                                                                               CHEVY CHASE     MD    20815‐3320
UTMA MD
LINDA L TROSPER                                    5008 W TAYLOR RD                                                                                CHENEY          WA    99004‐8517
LINDA L VALE                                       PO BOX 41                                                                                       LIGONIER        PA    15658‐0041
LINDA L VAN POPERIN                                23941 E LE BOST                                                                                 NOVI            MI    48375‐3534
LINDA L VAN WERT & FREDRIC R VAN WERT JT TEN       1134 KELSEY DRIVE                                                                               SUNNYVALE       CA    94087‐2006

LINDA L VANDERGRIFF                                3174 SANDWALK DR                                                                                KOKOMO          IN    46902‐5649
LINDA L VINCENTI & JOHN J VINCENTI JT TEN          7237 PARKWAY CT                                                                                 CANTON          MI    48187‐1513
LINDA L VITT                                       10 WYTHE ST                                                                                     STAUNTON        VA    24401‐3976
LINDA L WEBB                                       15047 N AGUA FRIA DR                                                                            SUN CITY        AZ    85351‐1560
LINDA L WILD CUST ANGELA WILD UTMA FL              2443 52ND AVE N                                                                                 ST PETERSBURG   FL    33714‐2603
LINDA L WILKERSON & RONALD D WILKERSON JT TEN      2563 LISA DR                                                                                    COLUMBIAVILLE   MI    48421‐8910

LINDA L WILKINS                                    10301 NASHVILLE AV                                                                              CHICAGO RIDGE    IL   60415‐1415
LINDA L WILMOTH                                    3207 KAISER ROAD                                                                                FORT LORAMIE     OH   45845‐8741
LINDA L WILSON                                     7437 WOERNER ROAD                                                                               ADRIAN           MI   49221‐9531
LINDA L WOOD                                       38031 ERIC COURT                                                                                FARMINGTON HILLS MI   48335‐2731

LINDA L WOOD                                       4141 WINDMERE DR                                                                                HANNIBAL        MO    63401‐2477
LINDA L YOHO                                       16493 AKRON‐CANFIELD RD                                                                         BERLIN CENTER   OH    44401‐9715
LINDA L YORKE                                      5361 BARNES RD                                                                                  MILLINGTON      MI    48746‐8709
LINDA L ZACCAGNINO                                 84 OAKBROOK DRIVE                                                                               WEST SENECA     NY    14224‐4437
LINDA L ZURSCHMIT                                  1689 TALLMADGE ROAD                                                                             KENT            OH    44240‐6813
LINDA LANGE & LAWRENCE R LANGE JT TEN              17740 FOX GLEN                                                                                  RIVERVIEW       MI    48192‐8125
LINDA LAPP WOJCIECHOWSKI                           4254 BERKELEY DRIVE                                                                             SHEFFIELD       OH    44054‐2916
LINDA LARSON MELIN                                 BOX 15612                                                                                       SARASOTA        FL    34277‐1612
LINDA LATTY GDN BRENDAN H LATTY                    40 SOMERSET                           TURRAMURRA NEW SOUTH WALES              2074 AUSTRALIA
LINDA LATTY GDN CAITLYN N LATTY                    40 SOMERSET                           TURRAMURRA NEW SOUTH WALES              2074 AUSTRALIA
LINDA LATTY GDN CAMERON H L LATTY                  40 SOMERSET                           TURRAMURRA NEW SOUTH WALES              2074 AUSTRALIA
LINDA LATTY GDN JESSICA N LATTY                    40 SOMERSET                           TURRAMURRA NEW SOUTH WALES              2074 AUSTRALIA
LINDA LATTY GDN KIERAN R LATTY                     40 SOMERST                            TURRAMURRA NEW SOUTH WALES              2074 AUSTRALIA
LINDA LAURE WARDWELL                               65 WILTON AVE                         #1                                                        NORWALK         CT    06851‐4516
LINDA LAUTEN                                       527 HAMPTON LANE                                                                                TOWSON          MD    21286‐1311
LINDA LAWLOR                                       18 LAKEMONT ST                                                                                  BAYSHORE        NY    11706‐4616
LINDA LEE                                          PO BOX 422                                                                                      GREEN RIVER     WY    82935‐0422
LINDA LEE CAMP BROCHU                              5 ALLEE SAINT MARIE                   35700 RENNES                            FRANCE
LINDA LEE DIEBERT                                  12030 N 62ND STREET                                                                             SCOTTSDALE      AZ    85254‐4953
LINDA LEE DUXBURY TR LINDA LEE DUXBURY LIV TRUST   PO BOX 5468                                                                                     FORT WAYNE      IN    46895‐5468
UA 4/30/91
LINDA LEE MILLER                                   7350 BARD RD                                                                                    TIPP CITY       OH    45371‐7625
LINDA LEE SOMERS                                   100 NORTH AVE                                                                                   ORCUTT          CA    93455‐4714
LINDA LEE TOUP                                     110 TREGARONE RD                                                                                TIMONIUM        MD    21093‐2522
LINDA LEHNERT SCHMIDT                              688 FIELD DAYS ROAD                                                                             NEW HAVEN       VT    05472‐1064
LINDA LEMONS CUST DAVID LEMONS UGMA MI             10151 PENTECOST HWY                                                                             ONSTED          MI    49265‐9722
LINDA LEMONS CUST MICHAEL LEMONS UGMA MI           10151 PENTECOST HWY                                                                             ONSTED          MI    49265‐9722

LINDA LESLIE SPEARS                                47 CROTON ST                                                                                    WELLESLEY       MA    02481‐3133
LINDA LEVINE                                       22 BEARBROOK LANE                                                                               LIVINGSTON      NJ    07039
LINDA LEWIS                                        44555 BAYVIEW AVE                     APT 8216                                                  CLINTON TWP     MI    48038‐6280
LINDA LIU                                          2293 MAYWIND WAY                                                                                HACIENDA HGTS   CA    91745‐5518
LINDA LOFTIS MOORE                                 411 WASHINGTON ST                     APT 6                                                     BROOKLINE       MA    02446‐6120
LINDA LONG                                         111 HYDE PARK                                                                                   HUTCHINSON      KS    67502‐2825
LINDA LONGO & MICHAEL LONGO JT TEN                 14 SUMMIT DR                                                                                    TABERNACLE      NJ    08088‐9141
LINDA LOU ANDERSON                                 5212 SE 140TH AVE                                                                               PORTLAND        OR    97236‐3863
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 818 of 855
Name                                               Address1                              Address2                  Address3     Address4          City              State Zip

LINDA LOU RIEHL TR RIEHL LIVING TRUST UA 8/21/00   31450 FAIRFAX                                                                                  LIVONIA           MI    48152‐1543

LINDA LOU SMARSH                                   191 LAUREL AVE                                                                                 ROCHESTER         NY    14624‐3208
LINDA LOU TATMAN                                   ATTN LINDA LOU ASHCRAFT               2080 PARSLOW DR APT 124                                  MUSKEGON          MI    49441‐2742
LINDA LOUISE EGGERS                                1688 N W 143RD                                                                                 PORTLAND          OR    97229‐4302
LINDA LOUISE JUNGA                                 51828 SHADYWOOD DR                                                                             MACOMB            MI    48042‐4294
LINDA M AMUNDSON                                   6343 LOCKWOOD DR RR#2                                                                          JANESVILLE        WI    53545‐8856
LINDA M ARNTSON                                    ATTN L M RENNIE                       7700 TIMBERLINE RD                                       WILLIAMSBURG      MI    49690‐9760
LINDA M BALDERRAMA                                 C/O CARTER                            4613 CUPID DR                                            EL PASO           TX    79924‐1725
LINDA M BALFOUR                                    17058 SYCAMORE CT                                                                              NORTHVILLE        MI    48167‐4424
LINDA M BARBRET                                    3857 HOLLOW CORNERS                                                                            DRYDEN            MI    48428‐9727
LINDA M BAUER                                      2780 WOODVIEW CT                                                                               EAST TROY         WI    53120‐1369
LINDA M BAUGH                                      1954 REO AVE                                                                                   LINCOLN PARK      MI    48146‐1288
LINDA M BERENCSI                                   PO BOX 104                                                                                     MINERAL RIDGE     OH    44440‐0104
LINDA M BETHKE                                     1204 PARTRIDGE DR                                                                              PLAINFIELD        IL    60586‐5781
LINDA M BINEK                                      10716 MAPLE SPRINGS CV                                                                         FORT WAYNE        IN    46845‐2130
LINDA M BINKOWSKI                                  380 SAW MILL RD                                                                                GUILFORD          CT    06437‐1959
LINDA M BLAIR                                      10014 BURGUNDY BLVD                                                                            DIMONDALE         MI    48821‐9546
LINDA M BLUMENFELD                                 7 BROOK LANE                                                                                   BROOKVILLE        NY    11545‐3100
LINDA M BODINE                                     PO BOX 92064                                                                                   PORTLAND          OR    97292‐2064
LINDA M BOOTH & BRIAN A LECLAIR JT TEN             1477 TRANSUE AVE                                                                               BURTON            MI    48509‐2425
LINDA M BOWEN                                      9560 SKY VISTA DRIVE                                                                           SEMMES            AL    36575‐7138
LINDA M BOZZA CUST CHRISTOPHER J BOZZA UGMA NY     815 DEAN AVE                                                                                   BRONX             NY    10465‐1625

LINDA M BOZZA CUST JOSEPH G BOZZA UGMA NY          815 DEAN AVE                                                                                   BRONX             NY    10465‐1625
LINDA M BOZZA CUST NICHOLAS A BOZZA UGMA NY        815 DEAN AVE                                                                                   BRONX             NY    10465‐1625

LINDA M BRAGG                                      2640 MCCLEARY‐JACOBY RD                                                                        CORTLAND          OH    44410‐1708
LINDA M BURDGICK                                   3109 WAGON TRL                                                                                 FLINT             MI    48507‐1213
LINDA M BURRIS & ROSHUNDA R STEELE & JADEN C       18312 FAUST                                                                                    DETROIT           MI    48219
BURRIS JT TEN
LINDA M CADOGAN                                    PO BOX 2387                           SANTA CLARA                                              SUNNYVALE         CA    94086
LINDA M CAREY & WILLIAM H CAREY JT TEN             6786 MISSION RDG                                                                               TRAVERSE CITY     MI    49686‐6131
LINDA M CARTER                                     20230 PURLINGBROOK                                                                             LIVONIA           MI    48152‐1879
LINDA M CARTER CUST REGINALD L CARTER UGMA MI      4577 APPLETREE COURT                                                                           WEST BLOOMFIELD   MI    48323‐3910

LINDA M CASEY                                      S14 W32768 FOREST HILLS DR                                                                     DELAFIELD         WI    53018
LINDA M CASTAGNA                                   4201 VIEJA DRIVE                                                                               SANTA BARBARA     CA    93110‐2238
LINDA M CHORYAN                                    1169 22ND                                                                                      WYANDOTTE         MI    48192‐3023
LINDA M CLARKE                                     4214 MAPLE AVE                                                                                 BROOKFIELD        IL    60513‐1918
LINDA M CLEARY                                     2970 BOGEY LN                                                                                  SLINGER           WI    53086‐9721
LINDA M COLLETTA                                   10151 WOODBURY DR                                                                              MANASSAS          VA    20109‐3723
LINDA M CONNER & WILLIAM D CONNER JT TEN           179 12TH ST                                                                                    BETHPAGE          NY    11714‐1706
LINDA M CURTIS                                     553 SCEPTRE RD                                                                                 FORISTELL         MO    63348
LINDA M DEPRISCO CUST JENNIFER A DEPRISCO UGMA     711 CURTIS AVE                                                                                 WILMINGTON        DE    19804‐2109
DE
LINDA M DERRICO                                    190 N DEPAOLI RD                                                                               MCDONALD          PA    15057‐2830
LINDA M DEYLE                                      153 ELIZABETH STREET                                                                           MEDINA            NY    14103‐1030
LINDA M DINGER                                     4695 BRADFORD ST NE                                                                            GRAND RAPDIS      MI    49526‐3334
LINDA M DINKINS                                    PO BOX 4505                                                                                    AUBURN HILLS      MI    48326
LINDA M DIX                                        W1595 PARK RD                                                                                  BRODHEAD          WI    53520‐8616
LINDA M DONLEY                                     3824 ROD PL                                                                                    LAWRENCEVILLE     GA    30044‐3366
LINDA M DUDDLES                                    4170 MORGAN RD                                                                                 ORION             MI    48359‐1913
LINDA M FEULA                                      118 RTE 46 RD #2                                                                               HACKETTSTOWN      NJ    07840‐4932
LINDA M FRAME & CHERIE A BROWN JT TEN              5 KITCHENER RD                                                                                 JOHNSTON          RI    02919
LINDA M FRITZ                                      1258 MADDOX LN                                                                                 VERONA            KY    41092‐9333
LINDA M GASSETT                                    150 CLINTON ST                                                                                 HOPKINTON         MA    01748‐2618
LINDA M GEISENDORFER                               1066 RIVER RD                                                                                  LINDLEY           NY    14858‐9718
LINDA M GEORGE                                     8403 WHITEFORD RD                                                                              OTTAWA LAKE       MI    49267‐9737
                                              09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 819 of 855
Name                                              Address1                              Address2               Address3        Address4          City               State Zip

LINDA M GRANDY                                    3719 IVY LN                                                                                    DEWITT             MI    48820‐9231
LINDA M GREEN                                     7669 STEWART ST                                                                                SCURRY             TX    75158‐2350
LINDA M GREENE                                    3420 WHITTAKER AVENUE                                                                          CHATTANOOGA        TN    37415‐4618
LINDA M GREIGG                                    509 NOTLEY RD                                                                                  SILVER SPRING      MD    20904
LINDA M GUY & PHYLLIS ANN WISLHIRE JT TEN         4108 HIGHWAY 20 EAST                                                                           MC DONOUGH         GA    30252‐4115
LINDA M HANSON                                    ATTN LINDA M CARROLL                  325 BURROUGHS AVENUE                                     FLINT              MI    48507‐2708
LINDA M HASKINS                                   32 TOWNSEND CT                        C/O LINDA WARWICK                                        FRANKLIN PARK      NJ    08823‐1520
LINDA M HEALY                                     9830 S SAYRE UNIT #8                                                                           CHICAGO RIDGE      IL    60415‐1116
LINDA M HEIDL                                     4620 VENICE HEIGHTS BLVD              UNIT # 151                                               SANDUSKY           OH    44870‐1684
LINDA M HELLAND‐BURNS                             1796 E 1100 N                                                                                  ROANOKE            IN    46783‐9422
LINDA M HICKS & TARA M SCHREIBER JT TEN           217 3RD AVE                                                                                    TAWAS CITY         MI    48763‐9201
LINDA M HILL                                      8012 US HIGHWAY 14 WEST                                                                        JANESVILLE         WI    53545‐9319
LINDA M HOLTE                                     2029 BOND PLACE                                                                                JANESVILLE         WI    53545‐3415
LINDA M HRENKO                                    237 BANE STREET                                                                                NEWTON FALLS       OH    44444‐1504
LINDA M HUDOR                                     3566 CAMINO DE VISTA                                                                           TUCSON             AZ    85745‐9798
LINDA M HUNT                                      1449 SANZON DR                                                                                 FAIRBORN           OH    45324‐2069
LINDA M HYNES                                     ONE EBBTIDE AVENUE #3                                                                          SAUSALITO          CA    94965‐1302
LINDA M JAMES                                     311 ALLISON PL                                                                                 BRANDON            MS    39047‐9512
LINDA M JANIESCH & HENRY JANIESCH JT TEN          31 EMILIE DR                                                                                   CTR MORICHES       NY    11934
LINDA M JENNINGS                                  3012 PARKWOOD BL                                                                               KANSAS CITY        KS    66104‐5247
LINDA M JOHNNY                                    4358 MISTY COVE PL                                                                             STOCKTON           CA    95219‐2000
LINDA M JOHNSON                                   412 FERRIS                                                                                     YPSILANTI          MI    48197‐5302
LINDA M JONES                                     1830 CHARLES ST                                                                                ANDERSON           IN    46013‐2700
LINDA M KLIMIS CUST ALTHENA ROSE KLIMIS UGMA MI   6102 BEEBE                                                                                     WARREN             MI    48092‐1679

LINDA M KLIMIS CUST ANGELA ELENA KLIMIS UGMA MI 6102 BEEBE                                                                                       WARREN             MI    48092‐1679

LINDA M KLIMIS CUST ANGELA ELENA KLIMIS UGMA MI 6102 BEEBE                                                                                       WARREN             MI    48092‐1679

LINDA M KLOPF & JAMES H KLOPF JT TEN              521 VICTOR DR                                                                                  SAGINAW            MI    48609‐5185
LINDA M KOSICH                                    19980 CRESCENT CT                                                                              MONTGOMERY         TX    77356‐4943
LINDA M KUSCH                                     640 BRIARCLIFF DRIVE                                                                           GROSSE POINTE      MI    48236‐1120
                                                                                                                                                 WOOD
LINDA M LAMB                                      2309 POLLY AVENUE                                                                              LANSING            MI    48906‐4143
LINDA M LAWRENCE                                  21 QUAIL POINT PLACE                                                                           CARMICHAEL         CA    95608‐5230
LINDA M LESAGE                                    2120 PARNELL SE                                                                                ADA                MI    49301‐8923
LINDA M LILLY                                     38225 CHARWOOD                                                                                 STERLING HGTS      MI    48312‐1226
LINDA M LOHRER CUST JENNIFER K LOHRER UGMA MI     41301 BAYHAVEN                                                                                 HARRISON TWP       MI    48045‐1436

LINDA M LOHRER CUST MATTHEW R LOHRER UGMA MI 41301 BAYHAVEN                                                                                      HARRISON TWP       MI    48045‐1436

LINDA M MACKAY CUST GREGORY R MACKAY UNDER        47175 11 MILE ROAD                                                                             NOVI               MI    48374‐2315
FLORIDAGIFTS TO MINORS ACT
LINDA M MACKAY CUST TAMRA L MACKAY UNDER          47175 11 MILE ROAD                                                                             NOVI               MI    48374‐2315
FLORIDA GIFTS TO MINORS ACT
LINDA M MAIMONE & LISA R MAIMONE JT TEN           110 W COLLINS COURT                                                                            BLACKWOOD          NJ    08012‐4905
LINDA M MAISH                                     3772 MCGRATH DRIVE                                                                             DUBLIN             OH    43016‐4168
LINDA M MANSFIELD                                 116 N STEWART AVE                                                                              BIG RAPIDS         MI    49307‐1428
LINDA M MARTINEAU                                 37692 BAYLOR                                                                                   STERLING HEIGHTS   MI    48310‐4038

LINDA M MARTINEZ                                  29294 NANTUCKET WAY                                                                            HAYWARD            CA    94544‐6434
LINDA M MATUZAK & JOHN F MATUZAK JT TEN           409 SUNBURST DR                                                                                FRANKENMUTH        MI    48734‐1240
LINDA M MC CAULEY                                 870 CEDARGATE COURT                                                                            WATERFORD          MI    48328‐2606
LINDA M MC CONNELL                                8790 W BRITTON RD                                                                              LAINGSBURG         MI    48848‐9741
LINDA M MELLO                                     6316 LAURELWOOD DR                                                                             BRENTWOOD          TN    37027‐4811
LINDA M MEYERS                                    5020 BOWERMAN                                                                                  TECUMSEH           MI    49286‐9543
LINDA M MIHALKO                                   223 YACHT POINT RD                                                                             LUCAS              OH    44843‐9630
LINDA M MILLER                                    6254 URBAN DR                                                                                  EAST CHINA         MI    48054‐4746
LINDA M MILLER & CHRISTOPHER D SEARS JT TEN       1935 S TOWNSHIP ROAD 113                                                                       TIFFIN             OH    44883‐9382
                                              09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 820 of 855
Name                                            Address1                             Address2              Address3         Address4          City               State Zip

LINDA M MILLS                                   37‐24 BROOKSIDE ST                                                                            LITTLE NECK      NY      11363‐1421
LINDA M MONTICELLO                              574 YALE AVE                                                                                  HILLSIDE         NJ      07205‐1911
LINDA M MUCHA                                   425 WEST MALVERN                                                                              FULLERTON        CA      92832‐1445
LINDA M NEMETH                                  6670 BEECH DALY RD                                                                            TAYLOR           MI      48180‐1542
LINDA M NOVELLO & RONALD NOVELLO JT TEN         518 SPRUCE RD                                                                                 BOLINGBROOK      IL      60440‐2505
LINDA M NOYOLA                                  799 GRACELAND AVE APT 606                                                                     DES PLAINES      IL      60016‐6442
LINDA M OLIVER                                  14575 W MOUNTAIN VIEW BLVD           UNIT 11215                                               SURPRISE         AZ      85374‐8675
LINDA M OLIVER                                  5830 CURSON DR                                                                                TOLEDO           OH      43612‐4009
LINDA M OTEHAM                                  450 W CO LINE RD RR 2 /#247                                                                   RUSSIAVILLE      IN      46979‐9802
LINDA M PANNUTO & JOHN W PANNUTO JT TEN         1375 HATHAWAY RISING                                                                          ROCHESTER        MI      48306‐3945
LINDA M PEITZ                                   29200 S JONES LOOP RD #384                                                                    PUNTA GORDA      FL      33950‐9324
LINDA M PESONEN                                 11821 DEER CREEK CIR                                                                          PLYMOUTH         MI      48170‐2824
LINDA M PHIPPS                                  ATTN LINDA M BONIFIELD               113 FEATHERSTONE DR                                      FRANKLIN         TN      37069‐6405
LINDA M PIETRAS                                 15736 VALERIE COURT                                                                           MACOMB           MI      48044‐2473
                                                                                                                                              TOWNSHIP
LINDA M POTEREK                                 3555 BARG DR                                                                                  STERLING HGTS    MI      48310‐6911
LINDA M PROUX                                   281 PINEVIEW                                                                                  SAGINAW          MI      48609
LINDA M PULTORAK                                ATTN LINDA CONTI                     7683 W CR 150 S                                          COATESVILLE      IN      46121‐9136
LINDA M PUTMAN                                  36 RIDGEVIEW AVE                                                                              GREENWICH        CT      06830‐4749
LINDA M RAKER & MICHAEL R RAKER JT TEN          PO BOX 60353                                                                                  FAIRBANKS        AK      99706
LINDA M REED                                    PO BOX 80206                                                                                  LANSING          MI      48908‐0206
LINDA M REPPKE & GLORIA J REPPKE JT TEN         5720 CHARLESWORTH                                                                             DEARBORN HEIGHTS MI      48127‐3978

LINDA M RIEGELMAYER                             7099 ANTHONY LANE                                                                             PARMA              OH    44130‐4660
LINDA M RILEY                                   1281 S 750 E                                                                                  GREENTOWN          IN    46936‐9725
LINDA M RILING                                  24382 CHRISTIAN DR                                                                            BROWNSTOWN         MI    48134‐9109
LINDA M ROBINSON                                8305 HIRAM PLACE                                                                              WARREN             OH    44484
LINDA M ROTHACKER                               13935 DIAGONAL                                                                                LAGRANGE           OH    44050‐9525
LINDA M RUSSELL                                 10262 DAYFLOWER DR                                                                            TWINSBURG          OH    44087‐3305
LINDA M SAVINA                                  134 PERUVIAN AVE                                                                              PALM BEACH         FL    33480‐4427
LINDA M SAVOIE                                  9037 ROYSTON RD                                                                               GRAND LEDGE        MI    48837‐9414
LINDA M SCHACHE                                 5496 S COUNTY RD 700 EAST                                                                     WALTON             IN    46994‐8932
LINDA M SCHAIBLE                                870 GRAND MARAIS                                                                              GROSSE POINTE      MI    48230‐1847
LINDA M SHERMAN                                 919 ELYSIAN                                                                                   TOLEDO             OH    43607‐3271
LINDA M SMITS                                   25209 FEATHERSTONE                                                                            STURGIS            MI    49091‐9310
LINDA M SOFIA CUST MICHAEL H SOFIA UGMA NY      257 WOOD RUN                                                                                  ROCHESTER          NY    14612‐2264
LINDA M SORDYL & HARVEY P SORDYL JT TEN         5517 LIPPINCOTT BLVD                                                                          BURTON             MI    48519‐1247
LINDA M SPITLER                                 120 FIORD DR                                                                                  EATON              OH    45320‐2708
LINDA M ST ONGE                                 8000 GROVE DR                                                                                 JENISON            MI    49428‐8317
LINDA M STELZER                                 39765 EDGEMONT DR                                                                             STERLING HEIGHTS   MI    48310‐2326

LINDA M STICKEL                                 5531 N CHIPMAN                                                                                OWOSSO             MI    48867‐9451
LINDA M STIER                                   6092 GORDON RD                                                                                WATERFORD          MI    48327‐1737
LINDA M SUNDBERG                                5866 LOCUST ST EXT                                                                            LOCKPORT           NY    14094
LINDA M SUTTERFIELD                             1725 SINGING PALM DRIVE                                                                       APOPKA             FL    32712‐2467
LINDA M TASCIONE                                120 GILLIS RD                                                                                 MAYSVILLE          NC    28555‐9436
LINDA M TAYLOR                                  20401 TERRELL                                                                                 DETROIT            MI    48234‐3208
LINDA M THOMPSON                                524 E 550 NORTH                                                                               KOKOMO             IN    46901‐8537
LINDA M THURSTON                                7370 E FLORIDA AV 1057                                                                        DENVER             CO    80231‐5674
LINDA M TOUCHIE                                 13949 KNOLLVIEW CT                                                                            PLYMOUTH           MI    48170‐5267
LINDA M VANASDALE                               501 BACON TERR                                                                                PORT ST LUCIE      FL    34983
LINDA M VILLANUEVA                              822 MULLER RD                                                                                 WESTMINSTER        MD    21157‐8126
LINDA M VOYLES                                  59092 PINE BAY LN                                                                             LACOMBE            LA    70445‐3666
LINDA M WALDEN                                  35 SYLVIA CIRCLE                                                                              COVINGTON          GA    30016‐7289
LINDA M WATSON                                  1432 DUNBAR RD                       LOT 136                                                  BYRON              GA    31008‐3604
LINDA M WELLS                                   6630 ANDERSON RD                                                                              HALE               MI    48739‐9073
LINDA M WICKS                                   110 ALICE ST                                                                                  PORT JEFFERSON     NY    11777‐2006
LINDA M WIGMAN                                  6997 CHESTERFIELD DR                                                                          WATERFORD          MI    48327‐3528
LINDA M WOJTYNA & LAURIE J WHITCRAFT JT TEN     1807 STEWART                                                                                  LINCOLN PARK       MI    48146‐3555
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 821 of 855
Name                                            Address1                            Address2               Address3        Address4          City            State Zip

LINDA M WOOLWINE TR UA DTD 10/06/2005 THADEUS 25502 WESSEX                                                                                   FARMINGTON      MI    48336
A WOOLWINE LIVING TRUST
LINDA M ZAMBELLI                                53 GORDON AVE                                                                                BEDFORD         NY    10506‐1400
LINDA M ZANGER                                  3475 LOVEJOY RD                     BRYON                                                    BYRON           MI    48418
LINDA MACK                                      8302 N SCAMPER GREY COURT                                                                    SUMMERFIELD     NC    27358‐9403
LINDA MAE HIRSCH CUST CHRISTOPHER HIRSCH UTMA 1025 N NORTH SHORE BLVD                                                                        WICHITA         KS    67212‐7206
OH
LINDA MAE MEARS                                 433 E HEMPHILL RD                                                                            FLINT           MI    48507‐2628
LINDA MALLON                                    2212 S WESTWOOD CIRCLE                                                                       MESA            AZ    85210‐7134
LINDA MALLOY CUST DANIEL PATRICK MALLOY JR UGMA 35 SUMMIT ROAD                                                                               OAK RIDGE       NJ    07438‐9531
NY
LINDA MARGARET RAE NOLAN HIRSCH                 2179 SE GLENDALE COURT                                                                       HILLSBORO       OR    97123
LINDA MARGUERITE OLIVER                         561 DOUBLE CHURCHES RD                                                                       COLUMBUS        GA    31904‐2308
LINDA MARIANO                                   170 COTTAGE ROAD                                                                             WINDHAM         ME    04062‐4407
LINDA MARIE ASH                                 972 LEES RUN                                                                                 PALESTINE       WV    26160
LINDA MARIE BRICKLEY CUST MARK NELSON BRICKLEY 677 RUE AVALON                                                                                CHULA VISTA     CA    91913‐1209
UTMA CA
LINDA MARIE FALLON                              82 CINDY CREST DR                                                                            SCHENECTADY     NY    12306‐3411
LINDA MARIE GAY                                 C/O LINDA MARIE GAY PETERSON        538 WHITTIER AVE                                         GLEN ELLYN      IL    60137‐4766
LINDA MARIE HARTMAN                             206 MEETINGHOUSE LN                                                                          PHOENIXVILLE    PA    19460‐5615
LINDA MARIE HOFFMAN                             2420 W SHORT SPUR TR                                                                         PRESCOTT        AZ    86305‐8981
LINDA MARIE LUCKEN CUST KERRI M LUCKEN UGMA TX 112 COUNTRY LANE                                                                              HAUGHTON        LA    71037‐9202

LINDA MARIE LUCKEN CUST KIMBERLYN MARIE LUCKEN 112 COUNTRY LANE                                                                              HAUGHTON        LA    71037‐9202
UGMA TX
LINDA MARIE MCCLUSKEY                          13530 55TH STREET                                                                             BLOOMER         WI    54724
LINDA MARIE SHAMIE                             593 HEATHER LANE                                                                              GROSSE POINTE   MI    48236‐1509
                                                                                                                                             WOOD
LINDA MARIE VERRILLI                          2642 ARBORWOOD DR                                                                              LOVELAND        OH    45140
LINDA MARKLUND TOD MICHAEL J MARKLUND & AMY L 6054 HORIZON DR                                                                                EAST LANSING    MI    48823‐2237
TAYLOR
LINDA MARTIN                                  3014 SW 21ST TER                      #35C1                                                    DELRAY BEACH    FL    33445‐7329
LINDA MARY MORROW                             446 CORINTH RD                                                                                 ALBERTVILLE     AL    35951‐4448
LINDA MARY TRUMM                              3260 CAIRN CROSS                                                                               OAKLAND         MI    48363‐2706
LINDA MASON                                   6211 SW 37TH ST UNIT 104                                                                       DAVIE           FL    33314‐2572
LINDA MATHIS                                  3228 KNOB CREEK RD                                                                             COLUMBIA        TN    38401‐1481
LINDA MAY PHEIFER                             C/O LINDA MAY THOMAS                  4086 QUAKERTOWN ROAD                                     WARSAW          NY    14569‐9743
LINDA MC COLGAN CUST MICHAEL JONATHAN MC      2253 DEER OAK WAY                                                                              DANVILLE        CA    94506‐2018
COLGAN UGMA MI
LINDA MC FARLAND                              3431 EAST 100 N                                                                                HUNTINGTON      IN    46750
LINDA MC KEE BONNEY                           3652 E NORTHERN DANCER RD                                                                      TUCSON          AZ    85739‐8358
LINDA MC KELVEY                               PO BOX 614                                                                                     ARVADA          CO    80001‐0614
LINDA MC REYNOLDS                             1730 MARION COURT                                                                              WHEATON         IL    60187
LINDA MCCONNELL CUST WILLIAM MCCONNELL UTMA 1237 ST CHARLES AVE                                                                              LAKEWOOD        OH    44107‐2532
OH
LINDA MCGOON                                  626 28TH ST NW                                                                                 ROCHESTER       MN    55901‐2368
LINDA MENTUEK                                 SUITE 12                              178 MACHRAY ST         WINNIPEG MB     R2P 0Z7 CANADA
LINDA MILBURN                                 944 WEST DRIVE                                                                                 INDIANAPOLIS    IN    46201‐1954
LINDA MILLER                                  11135 PORTLANCE ST                                                                             DETROIT         MI    48205‐3257
LINDA MILLER                                  W6626 CTH T                                                                                    HOLMEN          WI    54636
LINDA MILLS                                   19365 BILTONEN ROAD                                                                            LANSE           MI    49946
LINDA MITCHELL MORRIS                         7 CLUB DR                                                                                      NEWNAN          GA    30263‐3363
LINDA MITTELSTEDT & JOHN MITTELSTEDT JT TEN   33704 JANET                                                                                    FRASER          MI    48026‐4309
LINDA MORALES                                 726 S PYLE                                                                                     KANSAS CITY     KS    66105‐2029
LINDA MORRISSEY                               27 ICHABOD RD                                                                                  SIMSBURY        CT    06070‐2812
LINDA MORROW                                  10151 WOODBURY DR                                                                              MANASSAS        VA    20109
LINDA MOURIKIS                                10013 BELLAMY LO                                                                               BRONX           NY    10475‐3769
LINDA MUEHLENHAUPT                            2290 APACHE PASS                                                                               SOMERSET        CA    95684‐9222
LINDA MULLINS                                 2944 WINTERS RD                                                                                ORWELL          OH    44076‐9710
                                             09-50026-mg                    Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 4 of 8 Pg 822 of 855
Name                                               Address1                                Address2             Address3          Address4          City             State Zip

LINDA MUMMEY TR UA 06/23/03 LINDA MUMMY TRUST 1731 EAST 14TH PLACE                                                                                  TULSA            OK    74104

LINDA MUNRO                                        240 MARYS LANE                                                                                   YOUNGSTOWN       NY    14174‐1329
LINDA MURPHY CUST ALANA E MURPHY UGMA TX           36 MAIN STREET                                                                                   DOVER            MA    02030‐2027
LINDA N CATOR                                      205 PAULO DR NE                                                                                  WARREN           OH    44483‐4665
LINDA N LOTH                                       4644 RITA ST                                                                                     YOUNGSTOWN       OH    44515‐3830
LINDA N WARREN                                     1210 SPRINGHILL ROAD                                                                             HANAHAN          SC    29406‐2028
LINDA NAPOLITAN                                    24 FERNWOOD COURT                                                                                COLOMBUS         NJ    08022‐1027
LINDA NEMCICK                                      94 HOMESTEAD AVE                                                                                 AVENEL           NJ    07001‐2046
LINDA NEUZOF                                       845 REVERE AVE                                                                                   BRONX            NY    10465‐2224
LINDA NICHOLSON                                    6314 N 132ND DR                                                                                  LITCHFIELD PK    AZ    85340‐5301
LINDA O CAMPBELL                                   7643 E FLOSSMOORUL AVE                                                                           MESA             AZ    85208‐5626
LINDA O JOHNSTON                                   3978 FREDONIA DR                                                                                 HOLLYWOOD        CA    90068‐1214
LINDA O RICKS                                      1822 MASTERS LN                                                                                  LAKELAND         FL    33810‐5725
LINDA O RUCKMAN                                    1309 VIENNA RD                                                                                   NILES            OH    44446‐3528
LINDA OHST                                         406 SEVENTH ST                                                                                   EAST NORTHPORT   NY    11731‐2828
LINDA OLLER                                        6269 W BRISTOL RD                                                                                SWARTZ CREEK     MI    48473‐7919
LINDA P ADAMS                                      PO BOX 37                                                                                        ROUND TOP        TX    78954‐0037
LINDA P ANDREW                                     2931 LEACH RD                                                                                    ESPYVILLE        PA    16424‐3043
LINDA P AUZENNE                                    453 BIFROST AVE                                                                                  PLEASANT HILL    CA    94523‐1813
LINDA P BURR                                       2474 BLACKFOREST TR SW                                                                           ATLANTA          GA    30331‐2704
LINDA P CALLIHAN                                   7215 PARKWOOD AVE                                                                                CONNEAUT         OH    44030‐3261
LINDA P COLE                                       6582 N BETHMAUR LANE                                                                             GLENDALE         WI    53209‐3320
LINDA P DITZ                                       1621 MULBERRY LANE                                                                               FAIRVIEW         PA    16415
LINDA P DOLAN CUST JAMES B DOLAN UGMA DE           BOX 516                                                                                          MILLSBORO        DE    19966‐0516
LINDA P DUSING                                     3997 E 200 N                                                                                     ANDERSON         IN    46012‐9788
LINDA P EVANS                                      1218 WEST BOULEVARD                                                                              KOKOMO           IN    46902‐6103
LINDA P KROL                                       2436 NORTHVIEW DR                                                                                CORTLAND         OH    44410‐1744
LINDA P LANNIN                                     7 GATHERING RD                                                                                   WANTAGE          NJ    07461‐3344
LINDA P MAUGANS                                    2917 BURTON DRIVE                                                                                KOKOMO           IN    46902‐3279
LINDA P SMITH                                      ATTN LINDA P SMITH WAGNER               1334 PARKRIDGE DR                                        EL SOBRANTE      CA    94803‐1234
LINDA P THOMAS                                     613 BLUMHOFF                                                                                     WENTZVILLE       MO    63385‐1103
LINDA P WILSON‐WINN TOD WILLIAM R WINN             1550 REUBEN BOISE RD                                                                             DALLAS           OR    97338‐9234
LINDA PA ANDERSON                                  PO BOX 1607                                                                                      BELLFLOWER       CA    90707‐1607
LINDA PAGANO CUST DINA PAGANO UTMA NJ              6 SPRUCE ST                                                                                      ELMWOOD PARK     NJ    07407‐2733
LINDA PALENKAS                                     1056 FORD BLVD                          WINDSOR ON                             N8S 2G1 CANADA
LINDA PALLANTE & KAREN L STENARD & DAVID RUFF JT   49 PRISCILLA LN                                                                                  SCHENECTADY      NY    12306
TEN
LINDA PALMER                                       6121 ALMOND TERR                                                                                 PLANTATION       FL    33317‐2505
LINDA PARKER                                       15 EDMOND ST                                                                                     PUTNAM           CT    06260‐2205
LINDA PATRICIA MILLER                              JORDAN'S EDGE                                                                                    TUXEDO           NY    10987
LINDA PETERSON                                     11143 PEMBROKE RIDGE DR                                                                          HOUSTON          TX    77065‐1848
LINDA PILLER                                       6493 KABEKONA BEACH RD NW                                                                        WALKER           MN    56484
LINDA PLATZ                                        19460 TODD RD                                                                                    PETERSBURG       MI    49270‐9336
LINDA POPE                                         2406 POST OAK                                                                                    MANOR            TX    78653
LINDA PORE CUST DARREN PORE UTMA OH                951 KENWICK                                                                                      COLUMBUS         OH    43209‐2516
LINDA PRICE                                        9892 MCCREARY RD                                                                                 SHIPPENSBURG     PA    17257‐9285
LINDA PYTEL MCDOWELL                               28318 BAYBERRY RD                                                                                FARMINGTON HILLS MI    48331‐3318

LINDA QUERL                                        15712 18TH AVE CT E #E                                                                           TACOMA           WA    98445‐3369
LINDA QUESENBURY                                   664 NE 20TH ST                                                                                   GUYMON           OK    73942
LINDA R ATKINSON                                   127 AVOCADO CREST                                                                                ESCONDIDO        CA    92025‐6601
LINDA R BELL & THOMAS K BELL JT TEN                1022 ADKINS RD                                                                                   RICHMOND         VA    23236‐3840
LINDA R BENNETT                                    9 TIMBERLAKE RD                                                                                  PITTSBURGH       KS    66762‐7256
LINDA R BERARDUCCI                                 410 N WATER ST                          FILBERN MANOR                                            W NEWTON         PA    15089‐1660
LINDA R BEYER CUST KIHM RICHARDSON BEYER UGMA      10438 CROSS ST                                                                                   HAMMONDSPORT     NY    14840‐9676
NY
LINDA R BRADY                                      326 PARK AVE                                                                                     OLD BRIDGE       NJ    08857‐1324
LINDA R BROWN                                      680 HILLCREST DRIVE                                                                              GREENWOOD        IN    46142‐1827
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 823 of 855
Name                                             Address1                                Address2                 Address3      Address4          City              State Zip

LINDA R CADRIN                                   ATTN LINDA SANTANDREA                   2109 COUNTRY CLUB LANE                                   COLUMBIA          TN    38401‐5125
LINDA R CHMIELEWSKI                              10 WYNNFIELD CIR                                                                                 SOUTHWICK         MA    01077‐9270
LINDA R COLE                                     514 WOODS DR                                                                                     COLUMBIA          TN    38401‐4747
LINDA R COMINS                                   13 UNION ST                                                                                      BRANFORD          CT    06405‐6245
LINDA R DEXTER & DAVID B DEXTER TEN ENT          19 MEADOW CREEK LANE                                                                             GLENMORE          PA    19343‐2017
LINDA R ELDRIDGE                                 7413 RAMBLEWOOD DR                                                                               GARLAND           TX    75044‐2646
LINDA R FENZEL                                   5180 SHERRY LANE                                                                                 FAIRFIELD         OH    45014‐2494
LINDA R FORISSO CUST ABIGAIL R CORBLY UTMA NH    62 PERKINS ST                                                                                    SPRINGFIELD       MA    01118‐2044

LINDA R GRANT                                    6017 COUNTY RD # 457                                                                             NEWBERRY          MI    49868‐7761
LINDA R HENLEY                                   14607 COYLE                                                                                      DETROIT           MI    48227‐2588
LINDA R HERRERA                                  8749 BANDERA CIRCLE N                                                                            JACKSONVILLE      FL    32244‐5970
LINDA R HILL                                     14838 VAUGHN                                                                                     DETROIT           MI    48223‐2133
LINDA R JACKSON                                  208 BRIARWOOD COURT                                                                              LEAGUE CITY       TX    77573‐5500
LINDA R KHOYAN EX ESTATE ROSALINA MARYKWAS       179 BELLVILLE AVE                                                                                BLOOMFIELD        NJ    07003

LINDA R KLAWES                                   N 9033 ARMY LAKE RD                                                                              E TROY           WI     53120‐2116
LINDA R LEBO                                     19012 HUNTINGTOWER CASTLE BLVD                                                                   PFLUGERVILLE     TX     78660‐7466
LINDA R LUCAS                                    1888 SQAW LAGOON DR                                                                              OXFORD           MI     48371‐4461
LINDA R M HURLEY                                 7277 SMITHBROOKE DR                                                                              LAKE WORTH       FL     33467
LINDA R MCMASTER                                 6155 SILVERY LANE                                                                                DEARBORN HEIGHTS MI     48127‐3128

LINDA R MELLOR TOD VICTOR A MELLOR                341 LAKELAND DR                                                                                 PALOS PARK        IL    60464‐2538
LINDA R MILLER                                    8803 EDINBURGH CIR                                                                              LITTLETON         CO    80129‐2241
LINDA R MILLER                                    11800 E 60TH ST                                                                                 KANSAS CITY       MO    64133‐4325
LINDA R MIRELES                                   1516 NEW MADRID ST                                                                              CAPE GIRARDEAU    MO    63701‐3912
LINDA R NEIDER CUST DAVID A NEIDER UGMA IL        408 W DELAWARE                                                                                  URBANA            IL    61801‐4909
LINDA R PARKER                                    4233 W HANOVER RD                                                                               JANESVILLE        WI    53545‐9205
LINDA R PETTYJOHN                                 9521 W SANDY VIEW DR                                                                            MEARS             MI    49436‐9805
LINDA R POSTLE CUST RYAN POSTLE UTMA NY           341 E OAK ORCHARD ST                                                                            MEDINA            NY    14103‐1650
LINDA R PYNE                                      5902 MT EAGLE DR                       #107                                                     ALEXANDRIA        VA    22303‐2514
LINDA R RILEY                                     555 EAST MAIN ST                                                                                WESTFIELD         IN    46074‐9495
LINDA R ROBBINS                                   123 ELLINGTON RD                                                                                DAYTON            OH    45431‐1936
LINDA R ROSS                                      5311 THREASA ST                                                                                 SAGINAW           MI    48603‐3669
LINDA R SIEGEL                                    860 CLUB CHASE CT                                                                               ROSWELL           GA    30076‐4481
LINDA R SMITH                                     4408 W 25TH ST                                                                                  ANDERSON          IN    46011‐4559
LINDA R SPOONER & DAVID L SPOONER JT TEN          PO BOX 280                                                                                      CLIO              MI    48420‐0280
LINDA R TROZZI & ALFRED J TROZZI JT TEN           456 N SHANTEL DRIVE                                                                             TUCSON            AZ    85745‐5239
LINDA R TUCKER                                    608 WHITE OAK                                                                                   BROOKHAVEN        MS    39601‐2450
LINDA R VANCE                                     C/O L R FENZEL                         5180 SHERRY LANE                                         FAIRFIELD         OH    45014‐2494
LINDA R VANNELLI                                  2799 NORTH RD NE                                                                                WARREN            OH    44483‐3048
LINDA R WALLEMAN                                  22943 VIOLET                                                                                    ST CLAIR SHORES   MI    48082‐2760
LINDA R WATKINS                                   1417 CRESTWOOD DR                                                                               LOUISVILLE        TN    37777‐4616
LINDA R WEBER & GARY WEBER JT TEN                 2569 NEWBRIDGE RD                                                                               BELLMORE          NY    11710‐2232
LINDA R WOIDA                                     10670 S AUSTON STREET                                                                           OAK CREEK         WI    53154‐6404
LINDA R WORKMAN & DALE C WORKMAN JT TEN           3844 HOLLYBERRY                                                                                 KNOXVILLE         TN    37938
LINDA RAE LICORISH                                424 PRINCETON AVE                      PORT MOODY BC                          V3H 3L3 CANADA
LINDA RAE MARENTETTE                              34024 AZTEC DR                                                                                  WESTLAND          MI    48185‐2734
LINDA RAE MURPHY                                  532 CATALAPA RD                                                                                 ARCADIA           CA    91007‐6017
LINDA RAE RYLE                                    2000 N CARPENTER RD                                                                             TITUSVILLE        FL    32796‐1118
LINDA RAHAUSER                                    8342 DYNASTY DR                                                                                 BOCA RATON        FL    33433‐6839
LINDA RAKESTRAW                                   4304 ARBOR OAKS CIR                                                                             ORLANDO           FL    32804
LINDA REED                                        6910 WISCONSIN AVE                                                                              LA MESA           CA    91942‐1202
LINDA RHOTON CUST JASON RHOTON                    PO BOX 1647                                                                                     MARIPOSA          CA    95338‐1647
LINDA RHOTON CUST WILLIAM RHOTON IV               PO BOX 1647                                                                                     MARIPOSA          CA    95338
LINDA RICE                                        210 RICE DR                                                                                     BEAN STATION      TN    37708‐9414
LINDA RICE & ROSALIE FRIEDBERG JT TEN             539 BERNITA DR                                                                                  RIVER VALE        NJ    07675‐5903
LINDA RICH TR UA 05/28/1998 ARLENE E MUNITZ TRUST 28149 FAIRMOUNT                                                                                 PEPPER PIKE       OH    44124
                                             09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 824 of 855
Name                                             Address1                            Address2                   Address3    Address4          City             State Zip

LINDA RIDENOUR                                10395 W 700 N                                                                                   RUSSIAVILLE      IN    46979‐9319
LINDA RIFFLE                                  1207 BUCKINGHAM ROAD                                                                            GARNER           NC    27529
LINDA RISE MASLOW CUST CHELSEA BRIE MASLOW    7912 DEEPWELL DR                                                                                BETHESDA         MD    20817‐1928
OWENS UGMA VA
LINDA ROARK CUST SCOTT C ROARK UGMA TX        101 MONTERREY                                                                                   BULLARD          TX    75757‐9387
LINDA ROBERTS                                 PO BOX 41374                                                                                    DAYTON           OH    45441‐0374
LINDA ROBINSON                                231 CALUMET CT                         UNIT B                                                   BOLINGBROOK      IL    60440‐5709
LINDA ROGERS                                  518 WHITE OAK RD                                                                                BOLINGBROOK      IL    60440‐2507
LINDA ROGERS                                  3837 E CARSON                                                                                   PHOENIX          AZ    85040
LINDA ROOT                                    11 ILEX LANE                                                                                    ALVA             FL    33920‐5582
LINDA ROSE LENC                               4041 12TH AVE S                                                                                 MINNEAPOLIS      MN    55407‐3239
LINDA ROSS                                    20210 LAHSER                                                                                    DETROIT          MI    48219‐1236
LINDA ROSSI HAYGOOD                           15706 CANDELERIA CT                                                                             WHITTIER         CA    90603‐1002
LINDA ROUNDING                                338 WILCOX ST                                                                                   FLUSHING         MI    48433‐1767
LINDA ROWAN                                   2324 WILSON AVE                                                                                 BRISTOL          PA    19007‐4433
LINDA ROWEN & LYLE SWISHER JT TEN             350 GRAND VIEW DR                      TRAILER 30                                               TWIN FALLS       ID    83301‐5462
LINDA RUNSTROM                                6476 WATERS WAY                                                                                 CLARKSTON        MI    48346‐3486
LINDA RUSSIAN ADANALIAN                       39 SQUIRE ROAD                                                                                  WINCHESTER       MA    01890‐3211
LINDA RUTH DIENER & GARY E DIENER JT TEN      PO BOX 1632                                                                                     CHARLESTON       SC    29402‐1632
LINDA S ABNER                                 BOX 1059                               HATTON CREEK DR                                          STANTON          KY    40380‐1059
LINDA S ARNOLD                                C/O LINDA S FONNER                     6524 FRENCH COURT                                        INDIANAPOLIS     IN    46278‐1369
LINDA S AYRES                                 2738 RIVERSIDE DRIVE                                                                            WATERFORD        MI    48329‐3677
LINDA S BAFFORD                               PO BOX 1762                                                                                     SISTERS          OR    97759‐1762
LINDA S BATEH & ISSA ABRAHAM BATEH JT TEN     8224 WOODGROVE RD                                                                               JACKSONVILLE     FL    32256‐7317
LINDA S BEERS                                 2341 GATESBORO DR E                                                                             SAGINAW          MI    48603‐3770
LINDA S BISSELL                               69 WASHINGTON ST 14C                                                                            TOPSFIELD        MA    01983‐1743
LINDA S BIVENS                                3103 WILLIAMS DRIVE                                                                             KOKOMO           IN    46902‐3965
LINDA S BLOOM                                 2580 LINDA AVE                                                                                  SAGINAW          MI    48603‐3034
LINDA S BOWSHER                               544 SURREY LN                                                                                   MARYSVILLE       OH    43040‐1298
LINDA S BRADY                                 3531 ST RT 5                                                                                    NEWTON FALLS     OH    44444‐9565
LINDA S BRUBAKER CUST MATTHEW J BRUBAKER UGMA 1316 LAKE SHORE RD                                                                              CHAZY            NY    12921‐1912
PA
LINDA S BUCSH                                 4763 CURWOOD AVE SE                                                                             KENTWOOD         MI    49508‐4667
LINDA S BURNETTE                              4324 W 250 S                                                                                    RUSSIAVILLE      IN    46979‐9454
LINDA S CHAMPLIN                              5007 STARR STREET                                                                               NEWTON FALLS     OH    44444‐9409
LINDA S CHESSER                               4685 S 50 E                                                                                     KOKOMO           IN    46902‐9783
LINDA S CLODFELTER & ADAM S CLODFELTER JT TEN C/O LINDA S GOULD                      8029 GREEN VALLEY                                        GRAN BLANC       MI    48439‐8146

LINDA S COLE                                     9020 JASON RD RT 2                                                                           LAINGSBURG       MI    48848‐9238
LINDA S CONNER                                   2909 SHEILA DR APT H                                                                         KOKOMO           IN    46902‐3544
LINDA S COOPER                                   14887 LINDSAY                                                                                DETROIT          MI    48227
LINDA S CORNELL                                  242 S WINTER ST                     #1                                                       ADRIAN           MI    49221‐2620
LINDA S CREECH                                   7025 LEWISBURG OZIAS RD                                                                      LEWISBURG        OH    45338‐7726
LINDA S CUTLIP                                   702 S BELLE VISTA                                                                            YOUNGSTOWN       OH    44509‐2250
LINDA S DANCER                                   ATTN LINDA S CONDON                 107 WEST MILLSTREAM ROAD                                 CREAM RIDGE      NJ    08514‐2315
LINDA S DANIELS                                  15107 INTERLACHEN DR                APT 919                                                  SILVER SPRING    MD    20906‐5634
LINDA S DAVIS                                    138 PALISADES DR                                                                             SIGNAL MTN       TN    37377‐3045
LINDA S DE LOSH                                  1158 W FRANCES RD                                                                            MT MORRIS        MI    48458‐1043
LINDA S DILLON                                   3701 HIGHWAY 76                                                                              COTTONTOWN       TN    37048‐5039
LINDA S DORMAN                                   3041 BISHOP RD                                                                               DRYDEN           MI    48428‐9750
LINDA S DUCHAM                                   19503 BISHOP RD                                                                              NEW LOTHROP      MI    48460‐9630
LINDA S ELLIS                                    204 GENEVA CIR                                                                               LANSING          MI    48917‐3074
LINDA S FAY CUST SYDNEY RICHARDSON UTMA IL       4045 N KILDARE AVE                                                                           CHICAGO          IL    60641‐1940
LINDA S FINDER‐VERAGHEN                          22881 CHERRY HILL                                                                            DEARBORN         MI    48124‐1020
LINDA S FITZWATER                                730 LUSTED LANE                                                                              BATAVIA          IL    60510
LINDA S FLAHERTY                                 771 SHOREHAM RD                                                                              GROSSE PTE WDS   MI    48236‐2443
LINDA S FOGT                                     14151 E DR                                                                                   PLYMOUTH         MI    48170‐2309
LINDA S FORRER TR UA 02/13/2003 LINDA S FORRER   6478 SAW BRIDGE COURT                                                                        GRAND BLANC      MI    48439
TRUST
                                              09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 825 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

LINDA S FOWLER                                     PO BOX 69                                                                                      FRANKTON          IN    46044‐0069
LINDA S FRENCH                                     1981 SW ST GEORGE ST                                                                           STUART            FL    34997
LINDA S FREY                                       110 OGDEN CENTER RD                                                                            SPENCERPORT       NY    14559‐2094
LINDA S FRIEDMAN CUST DAVID FRIEDMAN UGMA NY       18 COOPER ROAD                                                                                 SCARSDALE         NY    10583‐2802

LINDA S GELDZAHLER                                 8 HOMESTEAD TERRACE                                                                            LIVINGSTON        NJ    07039‐1106
LINDA S GIBSON                                     1439 CAPEWOOD DR                                                                               HUDDLESTON        VA    24104‐3453
LINDA S GORMAN                                     419 WESTERFIELD WAY                                                                            LEXINGTON         KY    40503‐2879
LINDA S GRIFFITH                                   19260 AUSTIN VARNADO RD                                                                        FRANKLINTON       LA    70438‐2942
LINDA S GRIFFITH                                   8751 BURNETH DR                                                                                MILAN             MI    48160‐9748
LINDA S GRING & ROBERT GRING JT TEN                2509 STRATFORD ST                                                                              FLINT             MI    48504‐4421
LINDA S HALEY                                      2 WILLIAMS COURT                                                                               NEWARK            DE    19702‐5309
LINDA S HALL & JAMES HALL JT TEN                   56870 STONEWYCK DR                                                                             SHELBY TOWNSHIP   MI    48316‐4853

LINDA S HAYNES CUST MORGAN S HAYNES UTMA NC        BOX 100                                                                                        TRYON             NC    28782‐0100

LINDA S HESS                                       147 TOWERS LANE                                                                                WOODBURY          TN    37190‐5983
LINDA S HOFFMAN                                    7335 LATCHA ROAD                                                                               PERRYSBURG        OH    43551
LINDA S JAITE                                      PO BOX 725                                                                                     INDIAN RK BCH     FL    33785‐0725
LINDA S JOHNSON                                    5721 CRESTWOOD CIR W                                                                           N RICHLD HLS      TX    76180‐6425
LINDA S JOHNSON                                    1430 N MADISON AVE                                                                             ANDERSON          IN    46011‐3450
LINDA S JOHNSON & MARSHALL H JOHNSON JT TEN        5025 PEMBERTON BOX 74108                                                                       LEWISVILLE        TX    75056‐2074

LINDA S JONES                                      6632 CEDAR CREEK RD                                                                            DELTON            MI    49046‐9624
LINDA S JONES                                      330 MINK ROAD                                                                                  PATASKALA         OH    43062
LINDA S KEELEY                                     3311 ROBERTS ST                                                                                SAGINAW           MI    48601‐3165
LINDA S KEEN                                       1304 RIVERMONT DR                                                                              GALLATIN          TN    37066
LINDA S KELLY                                      810 E SHERMAN ST                                                                               MARION            IN    46952‐2926
LINDA S KETTINGER                                  3771 BOHNSACK                                                                                  COTTAGE GROVE     WI    53527‐9567
LINDA S KILE                                       106 ROSETTA                                                                                    AUBURN HILLS      MI    48326‐2965
LINDA S KINCAID CUST COURTNEY MICHELL KINCAID      815 WEBB PIERCE ROAD                                                                           JACKSON           OH    45640‐9312
UTMA OH
LINDA S KINCAID CUST ROBERT CRAIG KINCAID UTMA     815 WEBB PIERCE ROAD                                                                           JACKSON           OH    45640‐9312
OH
LINDA S KINCAID CUST SARAH CHRISTIN KINCAID UTMA   815 WEBB PIERCE ROAD                                                                           JACKSON           OH    45640‐9312
OH
LINDA S KINTZEL                                    1049 BLAKELEY RD                                                                               EAST AURORA       NY    14052‐9717
LINDA S LAMB                                       4560 POWELL RD                                                                                 HUBER HEIGHTS     OH    45424‐5859
LINDA S LANGAN & PATRICK J LANGAN JT TEN           6419 TAMMARACK                                                                                 PEORIA            IL    61615‐2762
LINDA S LAX CUST RICHARD L LAX UGMA MI             4583 FAIRWAY RIDGE                                                                             WEST BLOOMFIELD   MI    48323‐3307

LINDA S LETSCH                                     5 MADISON AVENUE                                                                               AVENEL            NJ    07001‐1418
LINDA S LOOKER                                     40 PALM BEACH AVE                                                                              NARRAGANSETT      RI    02882‐4439
LINDA S LOVE                                       854 SUNSET CIR                                                                                 CRANBERRY TWP     PA    16066‐6766
LINDA S MAIER                                      2474 SUTTON DR                                                                                 TEMPERANCE        MI    48182‐2412
LINDA S MCCLURE                                    127 LITTLEBROOK DR                                                                             FAIRFIELD         OH    45014‐1523
LINDA S MCDONALD                                   8588 CORAN DR                                                                                  CINCINNATI        OH    45255
LINDA S MCLANE                                     3419 COSTA VERDE ST                                                                            LAS VEGAS         NV    89146‐6556
LINDA S MEADE                                      318 HAYDEN AVENUE                                                                              DAYTON            OH    45431‐1972
LINDA S METCALF                                    7070 E CARPENTER RD                                                                            DAVISON           MI    48423‐8957
LINDA S MILITO                                     141 HEMLOCK BROOK                                                                              BRISTOL           NH    03222‐5316
LINDA S MOODY                                      1007 HAMPSHIRE RD                                                                              DAYTON            OH    45419‐3714
LINDA S MOORE                                      4887 LUSTERLEAF CIR                   UNIT 405                                                 MYRTLE BEACH      SC    29577‐8792
LINDA S NEELY                                      217 W 3RD ST                                                                                   RECTOR            AR    72461‐1307
LINDA S OAKES                                      12500 WALDEN RUN DRIVE                                                                         FORT MYERS        FL    33913‐8148
LINDA S OVERMYER                                   16624 S 11TH AVE                                                                               PHOENIX           AZ    85045
LINDA S PALMS                                      3304 NORWOOD HILLS RD                                                                          AUSTIN            TX    78723‐5432
LINDA S PAPPA                                      2502 W ANTHONY CIR SE                                                                          HUBBARD           OH    44425‐3102
LINDA S PARLOW                                     64 VILLAGE HILL DRIVE                                                                          DIX HILLS         NY    11746‐8337
                                            09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 826 of 855
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

LINDA S PEARSON                                2438 EAST 3750 SOUTH                                                                            SALT LAKE CITY   UT    84109‐3448
LINDA S PENCE                                  C/O JULIE KNAPP                        PO BOX 7023                                              MANSFIELD        OH    44905‐0423
LINDA S PENNIMAN                               PO BOX 134                                                                                      JERICHO          VT    05465‐0134
LINDA S POMERANTZ                              PO BOX 184                                                                                      MARYVILLE        IL    62062‐0184
LINDA S RAGAN                                  2212 KITCHEN DR                                                                                 ANDERSON         IN    46017‐9794
LINDA S RITTER                                 20048 KENSINGTON                                                                                TAYLOR           MI    48180‐3838
LINDA S ROETHLISBERGER CUST EDWARD             970 CARRIE AVE                                                                                  PLAINWELL        MI    49080‐9517
ROETHLISBERGER UGMA MI
LINDA S ROLLER                                 ATTN LINDA S COPELAND                  1191 N MATHEWS RD                                        GREENWOOD       IN     46143‐8342
LINDA S ROSS                                   1992 SEDAN AVE                                                                                  OBETZ           OH     43207‐4327
LINDA S SEAGLE                                 4907 HEATHMORE DR W                                                                             INDIANAPOLIS    IN     46237‐2197
LINDA S SHANNON                                1294 CYPRESS POINT DR                                                                           O FALLON        MO     63366‐5585
LINDA S SHERMAN                                3505 MAE DRIVE                                                                                  HUNTSVILLE      AL     35801‐6120
LINDA S SIEBER                                 8 DEBRA DRIVE                                                                                   BEAR            DE     19701‐1761
LINDA S SIEBER & ROBERT T SIEBER JT TEN        8 DEBRA DR                                                                                      BEAR            DE     19701‐1761
LINDA S SLAWINSKI                              3180 SAN JUAN TRL                                                                               BROOKFIELD      WI     53005‐7626
LINDA S SOPER                                  921 PARK                                                                                        WINTHROP HARBOR IL     60096‐1737

LINDA S SPANGLER                               3402 GROVEPARK DR                                                                               GROVE CITY       OH    43123‐1883
LINDA S STARNES                                ATTN LINDA S GREEN                     6734 W 800 N                                             FAIRLAND         IN    46126‐9560
LINDA S STOUT                                  4042 E CTY RD 700 S                                                                             CLOVERDALE       IN    46120
LINDA S STRAHM                                 9740 DOWNING RD                                                                                 BIRCH RUND       MI    48415‐9211
LINDA S SZPENDA                                ATTN LINDA S MCFERRAN                  912 GREENLEAF                                            ROYAL OAK        MI    48067‐1260
LINDA S TAYLOR                                 4908 GILRAY DRIVE                                                                               BALTIMORE        MD    21214‐2134
LINDA S TENUTO                                 ATTN LINDA S BRODSKY                   131 E VILLAGE DR                                         NORTH LAKE       IL    60134
LINDA S THIEKEN                                911 N RIVER DR                                                                                  MARION           IN    46952‐2610
LINDA S THOMAS                                 190 QUAIL VALLEY DR                                                                             LEESBURG         GA    31763‐4298
LINDA S THOMAS                                 302 LABIAN DR                                                                                   FLUSHING         MI    48433‐1755
LINDA S THOMPSON & JOHN E THOMPSON JT TEN      4527 WOODWORTH LANE                                                                             ST LOUIS         MO    63128‐2222
LINDA S VAN GANSBEKE                           241 GRAND LEDGE HIGHWAY                                                                         SUNFIELD         MI    48890‐9781
LINDA S VANENWYCK                              341 PERETZ CIRCLE                                                                               MORRISTOWN       AZ    85342
LINDA S VIETH                                  330 HAYDEN BL                                                                                   ELK CITY         OK    73644‐2825
LINDA S VILARINHO                              2337 RIDGE RD E APT 24                                                                          ROCHESTER        NY    14622
LINDA S WAY                                    314 GOLDENGATE ST                                                                               LAKE ORION       MI    48362‐3409
LINDA S WEBSTER                                4666 KINGS GRAVES RD                                                                            VIENNA           OH    44473‐9700
LINDA S WEIGEL                                 C/O MCKINNON                           4136 FLAJOLE RD                                          RHODES           MI    48652‐9509
LINDA S WELLS                                  150 MASON DR                                                                                    ORANGEBURG       SC    29118‐3226
LINDA S WEST                                   4763 CURWOOD AVE SE                                                                             KENTWOOD         MI    49508‐4667
LINDA S WIGGS                                  16624 S 11TH AVE                                                                                PHOENIX          AZ    85045‐0731
LINDA S WILLIAMS                               2277 DALZELL RD                                                                                 WHIPPLE          OH    45788‐5255
LINDA S WILSON                                 3205 SPRING GROVE RD                                                                            BEDFORD          TX    76021‐4238
LINDA S WILSON                                 PO BOX 467                                                                                      LONG BEACH       MS    39560‐0467
LINDA S WORTMAN                                642 PORT AU PRINCE                                                                              PHOENIX          AZ    85023‐5292
LINDA S ZABEL                                  5463 S 46TH ST                                                                                  MILWAUKEE        WI    53220‐5007
LINDA S ZUCCA                                  20 BEACH DRIVE                                                                                  NEW MILFORD      CT    06776‐4102
LINDA SACKETT                                  14105 COOSA CT                                                                                  CLERMONT         FL    34711
LINDA SANTORA CUST JONATHAN SANTORA UTMA DE    303 SOUTH DUPONT RD                                                                             WILMINGTON       DE    19805‐1416

LINDA SANTORA CUST JOSEPH SANTORA UTMA DE      303 SOUTH DUPONT RD                                                                             WILMINGTON       DE    19805‐1416
LINDA SANTORA CUST KRISTIN M SANTORA UTMA DE   303 SOUTH DUPONT RD                                                                             WILMINGTON       DE    19805‐1416

LINDA SAUERS ENSMINGER                         9012 PHILADELPHIA RD                                                                            BALTIMORE        MD    21237
LINDA SCHAEFER                                 9500 HAVENWAY DR                                                                                ARGYLE           TX    76226‐4237
LINDA SCHMIDT CUST SAMUEL SCHMIDT UTMA WI      3452 S 38TH ST                                                                                  MILWAUKEE        WI    53215‐4013

LINDA SCHMITT                                  230 BERTHOUD TRL                                                                                BROOMFIELD       CO    80020‐9676
LINDA SCHWAMBERGER                             1858 MANITOU ROAD                                                                               SPENCERPORT      NY    14559‐9579
LINDA SEABOURNE                                604 TYLER ST                                                                                    DESLOGE          MO    63601‐3446
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 827 of 855
Name                                           Address1                             Address2                 Address3      Address4          City               State Zip

LINDA SEDOSKEY CUST JORDAN MARIE SEDOSKEY UGMA 2957 CRESTWOOD CT                                                                             LAKE ORION         MI    48359‐1582
MI
LINDA SEIPEL CUST LINDSAY SEIPEL UGMA NY       169 BULLIS RD                                                                                 COWLESVILLE        NY    14037‐9783
LINDA SHAPIRO                                  2200 SILVER FOX LANE NE                                                                       WARREN             OH    44484‐1143
LINDA SHARON MIER                              PO BOX 30954                                                                                  SANTA BARBARA      CA    93130‐0954
LINDA SIEVERS                                  ATTN LINDA S VOLK                    333 HULSE AVE                                            BRICK              NJ    08724‐1577
LINDA SIMON                                    367 ARBORETUM DR                                                                              LOMBARD            IL    60148‐7111
LINDA SKEENS‐DAVIS                             16 HILLTOP ROAD                                                                               ACCORD             NY    12404‐5427
LINDA SLOAN                                    20851 SUMMIT RD                                                                               NOBLESVILLE        IN    46062‐8314
LINDA SLOSBERG                                 18 CLINTON DR                                                                                 MANALAPAN          NJ    07726‐2929
LINDA SMALLWOOD                                37175 ADAMS GREEN LA                                                                          MIDDLEBURG         VA    20117‐2843
LINDA SMIGIELSKI                               50 DWYER                                                                                      WEST SENECA        NY    14224‐1114
LINDA SOLOMON                                  639 PURDY ST                                                                                  BIRMINGHAM         MI    48009‐1738
LINDA STAHR TORNELLO CUST ANTHONY DANIEL       5001 PACIFIC VILLAGE DR                                                                       CARPINTERIA        CA    93013‐1463
TORNELLO UTMA CA
LINDA STANCHFIELD                              PO BOX 59                                                                                     EMIGRANT GAP       CA    95715‐0059
LINDA STEPHAN BLAIR TR JENNIFER MARTIN U‐W     9803 VISTA RIDGE CT                                                                           IJAMSVILLE         MD    21754‐9151
DELPHIA E STEPHAN
LINDA STEVENS‐NADEAU                           101 COBURN AVENUE                                                                             NEWINGTON          CT    06111‐3333
LINDA STEWART                                  ATTN LINDA STEWART PATTERSON         1933 DREXEL HILL COURT                                   DES PERES          MO    63131‐3647
LINDA STILL                                    836 E CEDAR AV                                                                                BURBANK            CA    91501‐1526
LINDA STRATTON                                 ATTN LINDA YELLIN                    5901 WILCKE WAY                                          DAYTON             OH    45459‐1641
LINDA STRUNK SWANSON                           2382 LAKESIDE DR                                                                              ASHVILLE           NY    14710‐9738
LINDA SUE BRUSSEL                              1667 BERRIDGE RD                                                                              GREENVILLE         MI    48838‐9290
LINDA SUE DINGEL                               35638 KENSINGTON AVE                                                                          STERLING HEIGHTS   MI    48312‐3739

LINDA SUE JONES                                  806 BALBOA LANE                                                                             FOSTER CITY        CA    94404‐2932
LINDA SUE KINCANNON                              4639 MARIAN                                                                                 WARREN             MI    48092‐2573
LINDA SUE KOLB BECKER                            2577 E US HIGHWAY 224                                                                       DECATUR            IN    46733‐7152
LINDA SUE LIMBACHER                              ATTN LINDA SUE THOMPSON            6816 STONEYBROOKE LN                                     ALEXANDRIA         VA    22306‐1342
LINDA SUE MONTGOMERY                             3211 WOODROW WAY NE                                                                         ATLANTA            GA    30319‐2421
LINDA SUE PARZYCH TR THE PARZYCH FAMILY TRUST UA 5221 MAHOGANY RUN AVE              UNIT 212                                                 SARASOTA           FL    34241‐9185
07/16/91
LINDA SUE PIFER                                  1096 COLEGATE DR                                                                            MARIETTA           OH    45750‐1505
LINDA SUNDLOF                                    2511 W DOWNER PLACE                                                                         AURORA             IL    60506
LINDA SUZANNE ADAMS BURKE                        624 WOODSTONE DRIVE                                                                         BATON ROUGE        LA    70808‐5100
LINDA SZYMKIEWICZ                                1200 COLE AVE                                                                               ROCK HILL          SC    29732‐8960
LINDA T BECTON                                   2014 LAND HBR                                                                               NEWLAND            NC    28657‐7923
LINDA T CHAMBERLIN                               692 NORTH BROOK WAY                                                                         WEBSTER            NY    14580‐2677
LINDA T HUTCHINS TR HUTCHINS MARITIAL TRUST UA   1228 E PEBBLE BEACH DR                                                                      TEMPE              AZ    85282‐5530
11/02/00
LINDA T SHOOP                                    250 GOTSCHAL RD                                                                             DANVILLE         PA      17821‐9151
LINDA T STRINE                                   3147 BROOKFIELD RD                                                                          HARRISBURG       PA      17109
LINDA T THOMAS                                   PO BOX 343                                                                                  CLAYTON          OH      45315‐0343
LINDA T THOMAS & CHARLES E THOMAS JT TEN         PO BOX 343                                                                                  CLAYTON          OH      45315‐0343
LINDA T WALLACE                                  1911 OAKWAY DR                                                                              RICHMOND         VA      23233‐3513
LINDA T WIDDIFIELD                               526 ELLENHURST ST                                                                           ANDERSON         IN      46012‐3747
LINDA T ZAPPIA                                   46 TIMBER CI 46                                                                             HUBBARD          OH      44425‐8733
LINDA TEER                                       330 KRAFT CT                                                                                HADDON TWP       NJ      08107‐1076
LINDA TESTANI                                    6626 EVANGELINE                                                                             DEARBORN HEIGHTS MI      48127

LINDA THOMSON CUST CASANDRA L THOMSON UGMA     3003 OAK LANE                                                                                 STEVENSVILLE       MI    49127‐9346
MI
LINDA TOURIAN                                  521 UNION AVE                                                                                 BELLEVILLE         NJ    07109‐2215
LINDA TRAPP                                    340 N HELEN                                                                                   ROCHESTER          MI    48307‐1832
LINDA TRBIZAN IN TRUST FOR HAYDEN MACKENZIE    22108 TROOPS RD                      MOUNT BRIDGES ON                       N0L 1W0 CANADA
TRBIZAN
LINDA TRBIZAN IN TRUST FOR JORDAN ALEXANDRA    22108 TROOPS ROAD                    MOUNT BRIDGES ON                       N0L 1W0 CANADA
TRBIZAN
                                            09-50026-mg                 Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 828 of 855
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

LINDA TROIA                                       14 HILL ROAD                                                                                  EFFORT           PA    18330‐9378
LINDA TUCK PENDERGAST                             34 TUCKS RD                                                                                   BROOKFIELD       CT    06804
LINDA TURNAGE BARR TR UA 06/25/93 VIOLET          #4 EVE PLACE                                                                                  TOMS RIVER       NJ    08757‐4570
TURNAGE TRUST
LINDA TURNER                                      907 BLACK AVE                                                                                 FLINT            MI    48505‐3565
LINDA TVARDEK                                     7755 HALLEYS DR                                                                               LITTLETON        CO    80125‐8903
LINDA U CROSBY                                    246 SCUPPO RD                                                                                 WOODBURY         CT    06798‐3822
LINDA U MCKEON                                    32600 COLONY HILL                                                                             FRANKLIN         MI    48025‐1016
LINDA UNDERWOOD                                   1850 2ND ST 1017                                                                              CUYAHOGA FALLS   OH    44221‐3928
LINDA V CHAVEZ                                    905 ASTI ST                                                                                   DELANO           CA    93215‐2608
LINDA V HAAG                                      274 S REYNOLDS RD                                                                             WINSLOW          ME    04901‐0807
LINDA V M SEMERARO                                150 HUMBERT AVE                                                                               SYRACUSE         NY    13224‐2260
LINDA V PAUGH                                     30 SPRING CREEK DR                                                                            CORTLAND         OH    44410‐1674
LINDA V SMITH                                     1566 MADELINE ST                                                                              MASURY           OH    44438‐1536
LINDA VANDEGIESSEN                                3530 N DRAKE RD APT C136                                                                      KALAMAZOO        MI    49006‐1343
LINDA VANVLEET                                    216 W 6TH ST                                                                                  REDFIELD         SD    57469‐1026
LINDA VANVOORHIS                                  709 PENNSYLVANIA AVE                                                                          STORY CITY       IA    50248‐1207
LINDA VERNER                                      6592 PHILLIPS RICE RD                                                                         CORTLAND         OH    44410‐9631
LINDA VEST BLACKWOOD                              66 NE BLACKWOOD RD                                                                            SOMERVILLE       AL    35670
LINDA VOLLMER                                     693 GLACIERPASS                                                                               WESTERVILLE      OH    43081‐1295
LINDA W ABBOTT                                    422 SAINT JOHNS RD                                                                            TAVARES          FL    32778‐5166
LINDA W BLAKE                                     2130 BUCK RUN CIRCLE                                                                          OSAGE BEACH      MO    65065‐3812
LINDA W BUJAK                                     113 CHELTON CT                                                                                COLUMBIA         SC    29212‐8522
LINDA W CALVERT                                   423 HOMESTEAD RD                     APT 1                                                    LA GRANGE PK     IL    60526‐2130
LINDA W DAVIS                                     796 OLD FALL RIVER RD                                                                         NORTH            MA    02747‐1204
                                                                                                                                                DARTMOUTH
LINDA W KELLEY                                    64 SILHOUETTE CT                                                                              NEWNAN           GA    30265‐3128
LINDA W LEE                                       18 CINNAMON RIDGE                                                                             OLD SAYBROOK     CT    06475‐1082
LINDA W LOPEZ                                     3356 DELLWOOD ROAD                                                                            CLEVELAND        OH    44118‐3405
                                                                                                                                                HEIGHTS
LINDA W SHOMO                                     431 MYRTLE AVE                                                                                NEPTUNE          NJ    07753‐4637
LINDA W STEVENSON CUST SANDRA JEAN STEVENSON      833 CASTLE CREEK DR                                                                           COPPELL          TX    75019‐6109
UGMA IL
LINDA W WRIGHT                                    3338 MARVIN D LOVE FWY               # 140                                                    DALLAS           TX    75224‐5800
LINDA WARRINGTON                                  526 E MITHOFF STREET                                                                          COLUMBUS         OH    43206‐2829
LINDA WASSERMAN                                   2361 ALMERIA CT                                                                               LAJOLLA          CA    92037‐7201
LINDA WHITMIRE                                    PO BOX 451                                                                                    FENTRESS         TX    78622‐0451
LINDA WILLIAMS                                    7 WEXFORD GLEN                                                                                PITTSFORD        NY    14534‐4204
LINDA WILLIAMS‐ALLEN                              3812 FAIRHAVEN RD                                                                             EAGAN            MN    55123
LINDA WILTFONG PER REP EST ISABELLE H FAVEL       2211 HAYWARD DRIVE                                                                            CLIO             MI    48420
LINDA WINSTON & RONALD E WINSTON JT TEN           7228 EMERALD BEND DR                                                                          SAINT LOUIS      MO    63129‐5620
LINDA WITMER                                      2690 FENTON RD                                                                                HARTLAND         MI    48353‐3112
LINDA WREN                                        21 PHILLIPS RD                                                                                SUDBURY          MA    01776‐1271
LINDA WRIGHT JR                                   716 LINCOLN DR #2015                                                                          ARLINGTON        TX    76006‐2080
LINDA Y REID                                      1471 CLEARBROOK DR                   OSHAWA ON                              L1K 2S2 CANADA
LINDA YOUNG NG                                    6 PENDLETON PLACE                                                                             EDISON           NJ    08820‐2736
LINDA ZACCARIA CUST JAMIE ROSE ZACCARIA UTMA NJ   13 HIXON DRIVE                                                                                BURLINGTON       NJ    08016‐3918

LINDA ZANVILLE                                    110 MC GAFFIGAN MILL RD                                                                       BOULDER CREEK    CA    95006‐9016
LINDA ZIEBER                                      2115 SWINNEN DR                                                                               WILMINGTON       DE    19810‐4117
LINDA‐ANN BULL NOZELL BURROUGHS                   35 FREELAND ST                                                                                MONROE           NY    10950‐4113
LINDALE L MILLER                                  2938 FOREST AVE                                                                               DOVER            DE    19904‐5315
LINDBERG ROSATO                                   61 DANIELS AVE                                                                                RUTHERFORD       NJ    07070‐2704
LINDBERGH CLARK                                   6036 N WOODSIDE DR                                                                            INDIANAPOLIS     IN    46228‐1266
LINDBERGH COMPTON                                 22 PEBBLE CREEK WAY                                                                           TAYLORS          SC    29687‐6627
LINDBERGH PARKER                                  15318 PREST                                                                                   DETROIT          MI    48227‐2321
LINDBURGH ROBINSON                                ROUTE 1 BOX 292                                                                               LAPINE           AL    36046‐9737
LINDE E FINCHER                                   318 BEACON POINT LN                                                                           GROVER           MO    63040‐1808
                                            09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 829 of 855
Name                                            Address1                            Address2                    Address3   Address4          City              State Zip

LINDEL LEE YOUNG                                7879 STEPHEN FOSTER AVE                                                                      FANNING SPRINGS   FL    32693‐9442

LINDELL D WRIGHT                                28580 ALLEN RD                                                                               TRENTON           MI    48183‐4968
LINDELL F KOONCE                                510 KOONCE RD                                                                                MURPHYSBORO       IL    62966‐6046
LINDELL L BRADY & PEGGY R BRADY JT TEN          6647 RUSTIC RIDGE TR TR                                                                      GRAND BLANC       MI    48439‐4952
LINDELL R CHILDERS                              1100 REYNOLDS ROAD                                                                           PARAGOULD         AR    72450‐2234
LINDELL R KOSITZKE                              821 DRYER FARM RD                                                                            LANSING           MI    48917‐2388
LINDELL ROAM                                    RT 3 BOX 3                          207 E WASHINGTON                                         RICHLAND          MO    65556‐8300
LINDEN A MCBAIN                                 9850 SE 27TH AVE                                                                             OCALA             FL    34476‐7516
LINDEN C DAMPIER                                11990 E CO RD 400S                                                                           SELMA             IN    47383‐9716
LINDEN FOSTER                                   5975 DANIELS                                                                                 TAYLOR            MI    48180‐1001
LINDEN J TORCHIA & DIANE M TORCHIA JT TEN       529 TUDOR DR                                                                                 GROVETOWN         GA    30813
LINDLE C PHELPS                                 1060 BONNER AVE                                                                              FREMONT           CA    94536‐4006
LINDLE L CLARK                                  330 E 53RD ST                                                                                ANDERSON          IN    46013‐1721
LINDLE M WATSON                                 40 THOMPSON COVE                                                                             CAMDEN            TN    38320‐6519
LINDLE R CLEMENT                                1930 PARIS                                                                                   LINCOLN PK        MI    48146‐1374
LINDLEY H BALES                                 2692 NE HIGHWAY 70 LOT 477                                                                   ARCADIA           FL    34266
LINDON B MORSE                                                                                                                               ROXBURY           NY    12474
LINDSAY A RUNDLES                               ATTN LINDSAY TATUM                  749 ELMWOOD DR                                           FENTON            MI    48430‐1474
LINDSAY ANNE BALDWIN                            5360 WEST PRINCETON DR                                                                       DENVER            CO    80235‐3160
LINDSAY CAROL COLUMNA                           1341 S LINCOLN ST                                                                            DENVER            CO    80210‐2208
LINDSAY FITE                                    C/O MOLE HOLE INC                   I N FOREST BEACH DR # 205                                HILTON HEAD ISLAN SC    29928‐6496

LINDSAY H RICE JR                               1 ACACIA AVE                                                                                 HOBBINSVILLE      NJ    08691‐3664
LINDSAY HARVEY                                  26 CRABAPPLE CT                                                                              OLIVETTE          MO    63132‐3416
LINDSAY HOLLANDSWORTH                           32218 CAMBORNE LN                                                                            LIVONIA           MI    48154‐3176
LINDSAY J EGAN CUST DIANE MCKEDY EGAN UTMA MA   PO BOX 732                                                                                   MARLBOROUGH       MA    01752‐0732

LINDSAY J GEIST                                   126 LAFFAYETTE CT                                                                          COLLEGEVILLE      PA    19426‐2232
LINDSAY JOSEPHINE DAVID                           82 BALFOUR AVE                    TM R PROVINCE QC                       H3P 1L6 CANADA
LINDSAY KAPLAN                                    146 HEDGEROW DRIVE                                                                         WARWICK           RI    02886‐9515
LINDSAY M COLLINS TR REVOCABLE TRUST 09/08/89 U‐A 544 LAKESHORE DR                  PO BOX 300                                               ELKINS            NH    03233‐0300
LINDSAY M COLLINS
LINDSAY M KNAUER & MARY J KNAUER JT TEN           1020 WHEATLAND DR                                                                          COATESVILLE       PA    19320
LINDSAY MCKEE                                     820 HANOVER RD                                                                             GETTYSBURG        PA    17325
LINDSAY NEWELL                                    2114 ADAMS OVERLOOK NW                                                                     ATLANTA           GA    30318
LINDSAY PATYON LEWIS                              2234 NE CALKINS RD                                                                         ROSEBURG          OR    97470‐1800
LINDSAY PETERSON                                  3859 SATURN AV                                                                             LOMPOC            CA    93436‐1921
LINDSAY RENEE DECKER                              3209 KNIGHT DR                                                                             BUCHANAN          MI    49107‐9430
LINDSAY SCOTT                                     1138 HUNTERS GLEN BLVD                                                                     WAYLAND           MI    49348‐8928
LINDSAY W ASH                                     13848 TWIN RIDGE RD                                                                        EDMOND            OK    73034‐1942
LINDSAY WEST                                      ATTN LINDSEY E YOUNGER            1960 MILLER RD                                           FLINT             MI    48503‐4767
LINDSAY Z FLETCHER III                            845 LONGVIEW RD                                                                            HILLSBOROUGH      CA    94010‐6954
LINDSEY C MILLER                                  46 OAKDALE RD                                                                              STAMFORD          CT    06906‐1421
LINDSEY E DIXSON                                  4272 N MARGARETTA                                                                          ST LOUIS          MO    63115
LINDSEY G EVANS                                   620 DOGWOOD CT                                                                             DUNEDIN           FL    34698‐7728
LINDSEY J WILLIAMS                                911 GOFORTH RD                                                                             SPENCER           TN    38585‐4415
LINDSEY JONES & GENEVIEVE JONES JT TEN            7 SPRINGFIELD PK                                                                           CINCINNATI        OH    45215‐4265
LINDSEY JONES JR CUST STEPHANIE ELIZABETH JONES   7 SPRINGFIELD PIKE                                                                         WYOMING           OH    45215‐4265
UTMA OH
LINDSEY K PACE                                    4329 AUTOBON                                                                               DETROIT           MI    48224
LINDSEY K PEAT TR LINDSEY K PEAT LIVING TRUST UA  5570 PINCKNEY RD                                                                           HOWELL            MI    48843‐7804
06/18/04
LINDSEY KELLY & BRIAN KELLYJT TEN COM             702 PIN OAK PL                                                                             MOSCOW            PA    18444
LINDSEY L GRIEBEL                                 111 STONERIDGE DR                                                                          BRANSON           MO    65616‐3713
LINDSEY L HOWARD                                  ATTN LINDSEY L GRIEBEL            111 STONERIDGE DR                                        BRANSON           MO    65616‐3713
LINDSEY M SIEGELE CUST ROBERT L SIEGELE UGMA MI 4088 SHOALES DR                                                                              OKEMAS            MI    48864‐3467

LINDSEY PEARLMAN                                14 MARION ST                                                                                 DANBURY           CT    06810‐8323
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 830 of 855
Name                                             Address1                                Address2               Address3        Address4          City            State Zip

LINDSEY R STEPHENS                               8733 HARRISON PIKE                                                                               CLEVES          OH    45002‐8707
LINDY D ROBERTSON & DILLARD MICHAEL ROBERTSON    2965 A L PHILPOTT HIGHWAY                                                                        AXTON           VA    24054‐2670
JT TEN
LINDY L BUBLITZ JR                               878 W MUNGER RD                                                                                  BAY CITY        MI    48708‐9634
LINDY L PELON                                    C/O LINDY WILES                         442 PLEASANT ST                                          IONIA           MI    48846‐1218
LINDY N JORGENSON                                1335 EL CAMINO REAL                     APT 304                                                  BURLINGAME      CA    94010‐4772
LINETTE J PFEIFFER                               215 WELCH ST                                                                                     MILAN           MI    48160‐1135
LINETTE M MAC FADYEN                             621 FOREST DRIVE                                                                                 FENTON          MI    48430‐1811
LINETTE MONG                                     700 E LAKE DR                           # 48                                                     ORANGE          CA    92866‐2756
LING A CHAN                                      7 HAVAGAL CRESCENT                      UNIONVILLE ON                          L3P 7E7 CANADA
LINLEA ANN WILSON                                5581 CR 79                                                                                       ROBSTOWN        TX    78380‐9801
LINN A DUESTERBECK                               N630 BLACKAVE BLUFF                                                                              MILTON          WI    53563‐9802
LINN C SONKENS & MRS NILA C SONKENS JT TEN       90 COUNTY ROAD 964                                                                               MOUNTAIN HOME   AR    72653‐6711

LINN F MC CONARTY                                55 TOWN FARM ROAD                                                                                SUTTON          MA    01590‐1225
LINN L HARE TOD HEATHER A HARE                   1222 DEATON CIRCLE                                                                               RAYMORE         MO    64083
LINN W PHILSON                                   4017 65TH ST                                                                                     DES MOINES      IA    50322‐2709
LINNEA E GUNDERSON                               8420 EMERSON AVE S                                                                               MINNEAPOLIS     MN    55420‐2120
LINNEA J PETER                                   3238 ZINNIA CT                                                                                   GOLDEN          CO    80401‐1656
LINNEA M ANDERSON                                5402 ROSEROCK                                                                                    SPRING          TX    77379‐6044
LINNEA M LAHLUM & MAJID H ESFAHANI JT TEN        1262 SANDHURST DR                                                                                BUFFALO GROVE   IL    60089‐6816
LINNFORD M JOHNSON PATRICIA A JOHNSON & JAY J    1200 LINCOLN ST                         #143                                                     BELLINGHAM      WA    98229
JOHNSON JT TEN
LINNIE JORDAN                                    3607 LABRADOR LN                                                                                 SUFFOLK         VA    23434‐7057
LINNIE M NELSON                                  PO BOX 2427                                                                                      SANDUSKY        OH    44871‐2427
LINNON WASHINGTON                                649 CALDER                                                                                       YPSILANTI       MI    48198‐8031
LINO FERRARI & FRANCO FERRARI JT TEN             31‐57 33 ST                                                                                      ASTORIA         NY    11106‐2032
LINO P DEZAN                                     9506 NE 141ST PL                                                                                 BOTHELL         WA    98011‐5138
LINO PASQUALONE & VITTORIA PASQUALONE TEN ENT    168 ROUTE 6N                                                                                     MAHOPAC         NY    10541‐3270

LINO SOSIC                                       2827 TRABAR DRIVE                                                                                WILLOUGHBY HILLS OH   44092‐2621

LINO SPAGNOLI                                    1907 HERING AVE                                                                                  BRONX           NY    10461‐1835
LINSEY E RICHMOND                                49993 WATLING STREET                                                                             SHELBY TWP      MI    48317
LINTON G REID                                    105 SPOTTED FAWN RD                                                                              MADISON         AL    35758
LINTON H HERRON                                  998 PAVAN STREET                        WINDSOR ON                             N9G 2X5 CANADA
LINTON NEWTON                                    2165 LEMAY                                                                                       DETROIT         MI    48214‐3143
LINTON S HUSBAND & MRS MABEL A HUSBAND JT TEN    C/O DR THOMAS P HUSBAND                 138 LITTLE REST ROAD                                     KINGSTON        RI    02881

LINTON W GAINES                                  PO BOX 80749                                                                                     CHAMBLEE        GA    30366‐0749
LINUEL L BELOTE                                  3597 N SHIMMONS CIR                                                                              AUBURN HILLS    MI    48326‐3911
LINUS BOLLIG                                     15 E WHITE CHAPEL                                                                                MAZOMANIE       WI    53560‐9577
LINUS DANIEL BRUNO                               10218 FOREST MEADOW CIR                                                                          FORTVILLE       IN    46040‐0048
LINUS M SHEA & MARY LOUISE SHEA JT TEN           1433 CADIEUX RD                                                                                  GROSSE POINTE   MI    48230‐1233
LINUS M WEGMAN & MARGARET WEGMAN JT TEN          84 WESTFALL ROAD                                                                                 ROCHESTER       NY    14620‐4632

LINUS S BLACKWELL & DORIS M BLACKWELL JT TEN     RFD2                                                                                             PORTERSVILLE    PA    16051‐9802

LINVAL C KING                                    4211 NEWMAN ELLIS RD                                                                             DOUGLASVILLE    GA    30134‐2916
LINVAL KELLEM                                    1624 LILAC LANE                                                                                  WARSAW          IN    46580‐2228
LINVILLE BRIGHT                                  4275 PHEASANT TRAIL CT                                                                           HAMILTON        OH    45011‐8127
LINWOOD A COTHRAN                                307 WASHINGTON CRT                                                                               HIGHLAND SPGS   VA    23075
LINWOOD BURCHETT                                 PO BOX 586                                                                                       ALLEN           KY    41601‐0586
LINWOOD CARR                                     18001 MACKAY                                                                                     DETROIT         MI    48234‐1423
LINWOOD CLARK & THELMA R CLARK JT TEN            3400 CRANSTON AVE                                                                                WILIMINGTON     DE    19808‐6104
LINWOOD DUNN                                     4708 26TH ST E                                                                                   TUSCALOOSA      AL    35404‐5177
LINWOOD E BUNCH                                  44766 ASPEN RIDGE DR                                                                             NORTHVILLE      MI    48167‐4434
LINWOOD H PHAUP                                  1601 BLOOMFIELD ROAD                                                                             RICHMOND        VA    23225‐2104
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 831 of 855
Name                                             Address1                              Address2                 Address3      Address4          City            State Zip

LINWOOD IRVIN WILLIAMS & CAROL HARRIS WILIAMS JT 3805 OVERLOOK COURT                                                                            POWHATAN        VA    23139
TEN
LINWOOD J BOYKIN                                 24015 CREEKSIDE DR                                                                             FARMINGTON HILLS MI   48336‐2732

LINWOOD K IRONS                                  108 W 23RD ST                         #1                                                       WILMINGTON      DE    19802‐4124
LINWOOD L FLACK III                              271 HUNTERS RILL                                                                               OXFORD          MI    48371‐5289
LINWOOD L FLACK JR                               1199 FEATHERSTONE RD                                                                           PONTIAC         MI    48342‐1937
LINWOOD L MOODY & JUNE O'BRIEN MOODY JT TEN      R R 1 BOX 6430                                                                                 THOMASTON       ME    04861‐9707

LINWOOD M HARTON JR                              1311 RONDO DR                                                                                  GREENVILLE      NC    27858
LINWOOD MALONE                                   6430 JONES RD                                                                                  COLLEGE PARK    GA    30349‐1567
LINWOOD W THROCKMORTON                           530 DISPATCH RD                                                                                QUINTON         VA    23141‐1910
LINZY BURGE                                      PO BOX 59                                                                                      KINGWOOD        WV    26537‐0059
LIO R MARSH                                      PO BOX 241                                                                                     DIMONDALE       MI    48821‐0241
LIOBARDO R HUANTES                               3100 CATALPA                                                                                   PONTIAC         MI    48326‐1604
LIONEL A LAMOUREUX                               3672 W CAPA PATH                                                                               BEVERLY HILLS   FL    34465‐2900
LIONEL BRITT CARNEY                              3030 DAVIS RD                         APT C35                                                  FAIRBANKS       AK    99709‐5285
LIONEL C COOPER JR                               17516 VAUGHAN ST                                                                               DETROIT         MI    48219‐3440
LIONEL CHAVEZ                                    850 BEACH BUGGY LANE                                                                           LINDEX          MI    48451‐9695
LIONEL E DICKERSON                               PO BOX 772                                                                                     SANDY HOOK      KY    41171‐0772
LIONEL E DRAPER                                  PO BOX 134                                                                                     CONESUS         NY    14435‐0134
LIONEL E FRAM                                    4725 CREEKBEND DR                                                                              HOUSTON         TX    77035‐4905
LIONEL ETRA                                      262 CENTRAL PARK W                                                                             NEW YORK        NY    10024‐3512
LIONEL HAMIN                                     4227 FORT DUPONT SE TE                APT 302                                                  WASHINGTON      DC    20020‐6015
LIONEL HUESTON                                   2000 OAKWOOD AVENUE                                                                            TOLEDO          OH    43607‐1548
LIONEL J STANSBERRY JR                           12527 S QUINN DR                                                                               ALSIP           IL    60803‐1098
LIONEL JEROME BOOKER                             15361 KENTFIELD                                                                                DETROIT         MI    48223‐1748
LIONEL LEE MOSS                                  APT 2‐B                               2222 ASHLEY RIVER ROAD                                   CHARLESTON      SC    29414‐4707
LIONEL M JOHNSON                                 7922 S INGLESIDE                                                                               CHICAGO         IL    60619‐4206
LIONEL M NATHAN TR LIONEL M NATHAN TRUST UA      115 S DEERE PARK                                                                               HIGHLAND PARK   IL    60035‐5340
10/25/89
LIONEL OLAND LINDSAY                             4175 LEITH ST                                                                                  BURTON          MI    48509‐1032
LIONEL P COCO                                    1413 E 124TH ST                                                                                LOS ANGELES     CA    90059‐2921
LIONEL PEREZ                                     11423 E HUFFMAN RD                    APT 5                                                    CLEVELAND       OH    44130‐2252
LIONEL SOUZA                                     54 JULIETTE ST                                                                                 NORTH           MA    02747‐1943
                                                                                                                                                DARTMOUTH
LIONEL T HURST                                   1421 COMMISSIONERS ROAD W             LONDON ON                              N6K 1E2 CANADA
LIONEL TRAVIS                                    16939 MERRIMEN L A I                                                                           LIVONIA         MI    48154‐3115
LIONEL V MALONEY                                 6370 BUNCOMBE RD                                                                               SHREPORTN       LA    71129‐4304
LIONEL W HAISCHER & CAROL J HAISCHER JT TEN      220 KEARSARGE ST                                                                               LAURIUM         MI    49913‐2110
LIONEL W PAYNE                                   30 SHAFTER ST                                                                                  DORCHESTER      MA    02121‐2132
LIONEL ZARETSKY & VIVIAN ZARETSKY JT TEN         5180 WOODLAND LAKES DRIVE                                                                      PALM BEACH      FL    33418‐3966
                                                                                                                                                GARDENS
LIONELLA DEGIROLAMO                              8665 ESCONDIDO WAY E                                                                           BOCA RATON      FL    33433‐2510
LIONIEL D BALDWIN JR                             314 CHERRY ST                                                                                  JANESVILLE      WI    53548‐4604
LIPMAN I HAIGHT                                  7533 LOUISE AVE                                                                                VAN NUYS        CA    91406‐2430
LISA A BARANKO                                   635 PINE FOREST DR                                                                             ATHENS          GA    30606‐2443
LISA A BELTER                                    1101 EDENBRIDGE WAY                                                                            KNOXVILLE       TN    37923‐6616
LISA A BELTER CUST ELISABETH A BELTER UTMA TN    1101 EDENBRIDGE WAY                                                                            KNOXVILLE       TN    37923‐6616
LISA A BELTER CUST MICHAEL D BELTER JR UTMA TN   1101 EDENBRIDGE WAY                                                                            KNOXVILLE       TN    37923‐6616

LISA A BENSON CUST DYLAN T BENSON‐ADAMUSIK       1719 SEMORAN NORTH CIRCLE                                                                      WINTER PARK     FL    32792
UTMA NJ
LISA A BERNABEI                                  656 EDINBURG RD                                                                                TRENTON          NJ   08619‐1722
LISA A BOLAND                                    1160 LODI HILL ROAD                                                                            UPPOR BLACK EDDY PA   18972‐9714

LISA A BREITENWISCHER                            4045 THROCKMORTON ST                                                                           DALLAS          TX    75219‐3045
LISA A BRUNER                                    25 WASHINGTON LN 73702                                                                         WYNCOTE         PA    19095‐1403
LISA A CASTLE CUST GUS CASTLE UGMA MI            5419 HARCUS COURT                                                                              ALGONAC         MI    48001‐4336
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 832 of 855
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

LISA A CASTLE CUST ZACHARY CASTLE UGMA MI       5419 HARCUS COURT                                                                               ALGONAC           MI    48001‐4336
LISA A CHISSUS                                  46 GRAND AVE                                                                                    MOUNT CLEMENS     MI    48043‐5531
LISA A CLARK                                    8855 SE 137TH AV                                                                                HAPPY VALLEY      OR    97086‐5624
LISA A CROYLE                                   PO BOX 92                                                                                       JACKSON CENTER    PA    16133‐0092
LISA A CZARNECKI                                7334 WESTCHESTER                                                                                W BLOOMFIELD      MI    48322‐2873
LISA A DEROSIER                                 13654 SUMMER GLEN VIS                                                                           EL CAJON          CA    92021‐1993
LISA A DIFFLEY & DAVID B DIFFLEY JT TEN         1250 AUTUMN WIND WAY                                                                            HENDERSON         NV    89052
LISA A EILERTSEN                                312 EAGLEHEAD RD                                                                                E ROCHESTER       NY    14445
LISA A EMBRY                                    PO BOX 40534                                                                                    REDFORD           MI    48240‐0534
LISA A FERCANO                                  2754 GALLANT HILLS DRIVE                                                                        LAS VEGAS         NV    89135‐1757
LISA A FERRELL                                  6273 ROSELAWN AVE                                                                               RAVENNA           OH    44266‐1719
LISA A FREEMAN                                  122 EDGEMONT RD                                                                                 SCARSDALE         NY    10583‐2751
LISA A GARABEDIAN                               3285 KNIARD                                                                                     OXFORD            MI    48370‐3025
LISA A GEORGE                                   11109 MARKET STREET                                                                             BIRMINGHAM        OH    44816
LISA A GIEFER                                   21561 REGNART RD                                                                                CUPERTINO         CA    95014‐4818
LISA A GRAHAM                                   54114 EGO DR                                                                                    MACOMB            MI    48042‐2209
LISA A HAIRSTON                                 2635 ORCHARD LN                                                                                 FLINT             MI    48504‐4501
LISA A HAYWOOD                                  1987 WOOD MANOR WAY                                                                             ST CHARLES        MO    63304‐8401
LISA A HOWARD                                   619 S ELLICOTT CREEK RD                                                                         AMHERST           NY    14228‐2813
LISA A ILLIG CUST AMBER ILLIG UTMA IN           7642 TIMBER SPRINGS DR                                                                          FISHERS           IN    46038‐3205
LISA A KESSELL                                  7525 QUAIL WOOD DR                     APT M                                                    CHARLOTTE         NC    28226‐7152
LISA A KULESZA                                  249 CHRISTIANA RD                                                                               NEW CASTLE        DE    19720‐2907
LISA A LEIMBACH                                 508 WALKER ST SW                                                                                VIENNA            VA    22180‐6533
LISA A LEONARD                                  29 CHESTERFIELD CT                                                                              MONKTON           MD    21111‐1537
LISA A LUKS                                     1101 EAGLE NEST DR                                                                              ROCHESTER         MI    48306‐1215
LISA A MATHE & JOSEPH E MATHE JT TEN            1650 E VISTA DE MONTANA                                                                         COTTONWOOD        AZ    86326‐6955
LISA A MCCOOK                                   9616 SHEPHERD RD                                                                                DALLAS            TX    75242
LISA A MERTI                                    ATTN COTTINGHAM                        1443 MADISON CT                                          MOUNT PLEASANT    SC    29466‐7962

LISA A METZ                                     4018 TROPICAL DR                                                                                SAN ANTONIO       TX    78218‐3428
LISA A MILLER                                   PO BOX 4283                                                                                     CERRITOS          CA    90703‐4283
LISA A MILLER                                   113 BITTER SWEET RD                                                                             JEFFERSONVILLE    IN    47130‐8455
LISA A MUSTAKE                                  14559 SPARROW DRIVE                                                                             SHELBY TOWNSHIP   MI    48315

LISA A NATOLI & WILLIAM M ROUX JT TEN           2536 N LIPKEY RD                                                                                NORTH JACKSON     OH    44451
LISA A O'CONNOR                                 9000 WILLOW GLEN LN                                                                             TEXARKANA         TX    75503‐8800
LISA A PATEN                                    7290 RONRICK                                                                                    FRANKENMUTH       MI    48734
LISA A PAWLIK                                   7254 DARK LAKE DRIVE                                                                            CLARKSTON         MI    48346‐1202
LISA A PETER                                    4389 DENTON RD                                                                                  DOTHAN            AL    36303‐1169
LISA A PFLUEGER                                 3000 W BLVD                                                                                     KOKOMO            IN    46902‐5909
LISA A PORTER CUST RYAN THOMAS PORTER UGMA MI   4453 CROISSANT                                                                                  ARBORN HEIGHTS    MI    48125‐3323

LISA A RICHARDSON                               PO BOX 339                                                                                      NAPOLEON          MI    49261‐0339
LISA A ROGERS                                   207 FAWN COURT                                                                                  PITTSBURGH        PA    15239‐2557
LISA A RUTHERFORD                               8012 LIPSCOMB CT                                                                                BRENTWOOD         TN    37027‐7009
LISA A SARKISIAN                                17 HAMMOCK PARKWAY                                                                              CLINTON           CT    06413‐2304
LISA A SCHNEIDER                                PO BOX 457                                                                                      VAUGHN            WA    98394‐0457
LISA A SCHROEDER & KEVIN J SCHROEDER JT TEN     165 ELMWOOD PARK W                                                                              TONAWANDA         NY    14150‐3324
LISA A SHIPP                                    2447 MEADOW DR                                                                                  ZEELAND           MI    49464‐9159
LISA A SMITH                                    34484 MARINA CT                                                                                 WESTLAND          MI    48185‐1490
LISA A SPEAKER                                  4042 BARTON PARK PLACE                                                                          RALEIGH           NC    27613‐8400
LISA A STACEY                                   787 PINE TREE RD                                                                                LAKE ORION        MI    48362‐2553
LISA A TOENNIGES CUST ALEXANDRA ELISABETH       4470 DOW RIDGE RD                                                                               ORCHARD LAKE      MI    48324
TOENNIGES UGMA MI
LISA A TOENNIGES CUST KATHERINE A TOENNIGES     4470 DOW RIDGE RD                                                                               ORCHARD LAKE      MI    48324
UGMA MI
LISA A UNGER                                    3117 BOXLEY VALLEY RD                                                                           FRANKLIN          TN    37064‐9372
LISA A VAN APELDOORN                            9 OSTROM AVE                                                                                    ROCHESTER         NY    14606‐3339
LISA A VASSELE                                  4264 W CO RD 50 S                                                                               KOKOMO            IN    46902
                                             09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 833 of 855
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

LISA A WARD                                       680 POPES VALLEY DR                                                                              COLORADO SPGS     CO    80919‐7947
LISA A WORDEN                                     66 KNAPP STREET                                                                                  STAMFORD          CT    06907‐1728
LISA A ZINCK                                      126 PHEASANT HILL RD                                                                             DEER PARK         IL    60010‐3632
LISA ALBERT                                       29 MARK LANE                                                                                     NEW CITY          NY    10956‐6734
LISA AMOROSO                                      1132 MCKENNA WAY                                                                                 GREENSBURG        PA    15601‐3760
LISA AMY KRIVOSHEY                                507 FISHERS RD                                                                                   BRYN MAWR         PA    19010‐3623
LISA ANN BARNES                                   722 PRESTON ST #REAR                                                                             BEDFORD           PA    15522‐1942
LISA ANN BARZILAI                                 100 DARLING AVE                                                                                  NEW ROCHELLE      NY    10804‐1222
LISA ANN BOUNDS A MINOR U/GDNSHP OF DALE F        2052 GRAVEL HILL STREET                 UNIT 207                                                 LAS VEGAS         NV    89117‐6971
BOUNDS
LISA ANN FREDERICK                                7196 GLENCAIRN DR                                                                                CLEVELAND         OH    44134‐4738
LISA ANN GILBERT                                  14 RIVERS DRIVE                                                                                  LAKE SUCCESS      NY    11020‐1417
LISA ANN GORDON                                   2 DENNY PL                                                                                       CINCINNATI        OH    45227‐4248
LISA ANN LENT                                     4156 47TH AVE NE                                                                                 SALEM             OR    97305‐3603
LISA ANN MORRISON                                 226 WILLIAMS DR                                                                                  BONAIRE           GA    31005‐3825
LISA ANN NUNN                                     3670 NE OLD HIGHWAY 13                                                                           OSCEOLA           MO    64776‐2422
LISA ANN PIEJAK                                   5628 PATTERSON                                                                                   TROY              MI    48098‐3924
LISA ANN SCHOENBRUN                               6609 CAMINO FUENTE                                                                               EL PASO           TX    79912‐2407
LISA ANN TISCHLER                                 904 LARRIWOOD AVENUE                                                                             DAYTON            OH    45429
LISA ANN YOUNGBLOOD                               1309 HELFORD LANE                                                                                CARMEL            IN    46032‐8335
LISA ANN ZAHNISER                                 201 S CATHERINE AVE                                                                              LAGRANGE          IL    60525‐2313
LISA ANNE DILABIO                                 62415 DANA ROSE DR                                                                               WASHINGTON        MI    48094‐1329
LISA ANNE SMALE                                   34 CMR 460                                                                                       APO               AE    09752‐0001
LISA ANNE TURBEN CUST TANNER ETHAN TURBEN         104 MEADOWLARK LN                                                                                WESTEY            WI    54667‐1053
UTMA WI
LISA ANNE TURBEN CUST TYLER ERIC TURBEN UTMA WI   104 MEADOWLARK LANE                                                                              WESTBY            WI    54667‐1053

LISA ANNE WILLIAMS                                3520 HILLCREST AVE NW                                                                            ROANOKE           VA    24012‐7625
LISA ANNETTE MCLAIN                               3040 MCLAIN LANE                                                                                 LIBERTY           MS    39645‐5329
LISA ANNETTE NEWMAN                               3008 CLIPPERSHIP DRIVE                                                                           STAFFORD          VA    22554‐2612
LISA B COLLINS                                    72 WILLOWOOD CIRCLE                                                                              HURRICANE         WV    25526
LISA B SHEARS CUST JASON R SHEARS UTMA MD         108 SYCAMORE RD                                                                                  LINTHICUM HTS     MD    21090
LISA B SHEARS CUST NATHAN M SHEARS UTMA MD        108 SYCAMORE RD                                                                                  LINTHICUM HTS     MD    21090

LISA BARSZCZEWSKI                                 16 BARNYARD CT                                                                                   PLAINSBORO        NJ    08536‐3137
LISA BETH POLSKY                                  126 OAKRIDGE DR                                                                                  ROCHESTER         NY    14617‐2508
LISA BETH UNGERLEIDER                             6313 CANYON HEAD LANE                                                                            COLUMBIA          MD    21045‐2281
LISA BETH WICHMAN & IAN JONATHAN WICHMAN JT       7 ORMAND ST                                                                                      DIX HILLS         NY    11746‐6331
TEN
LISA BIANCO CUST MELISSA F BIANCO UTMA NY         12 WEDGEWOOD COURT                                                                               GLEN HEAD         NY    11545‐2231
LISA BIANCO CUST WILLIAM A BIANCO UTMA NY         12 NEDGEWOOD COURT                                                                               GLEN HEAD         NY    11545
LISA BISCHOFF                                     1205 16TH AVE SOUTH                                                                              BIRMINGHAM        AL    35205‐6001
LISA BLACKWOOD                                    1989 BLAIR CT                                                                                    BEL AIR           MD    21015‐1675
LISA BLANK                                        30 SNODEN LN                                                                                     WATCHUNG          NJ    07069‐6253
LISA BODZIO                                       707 MAIN ST                                                                                      SUGAR NOTCH       PA    18706‐2110
LISA BRADLEY‐SCHROECK                             1153 WEST 28TH ST                                                                                ERIE              PA    16508
LISA BRAND CUST JACK V BRAND UTMA NJ              PO BOX 268                                                                                       BERKLEY HEIGHTS   NJ    07922‐0268
LISA BRAND CUST OLIVIA R BRAND UTMA NJ            PO BOX 268                                                                                       BERKLEY HEIGHTS   NJ    07922‐0268
LISA BRITTON PARKER                               1348 WAVERLY RD                                                                                  SAN MARINO        CA    91108‐2011
LISA BROSSIA                                      520 MCBRIDE ST                                                                                   DUNDEE            MI    48131‐1123
LISA BURTON                                       35 OXEN DR                                                                                       OAKLAND           ME    04963‐4653
LISA C BALDWIN                                    1070 COLONY CIR                                                                                  MARIETTA          GA    30068‐2805
LISA C BENSON                                     3600 WELBORNE LN                                                                                 FLOWER MOUND      TX    75022‐8452
LISA C BISHOP                                     1412 LIZZY CT                                                                                    KELLER            TX    76248‐8741
LISA C BROWN                                      911 NORTH RD                                                                                     NILES             OH    44446‐2115
LISA C CHISLETT                                   91 LOCUST STREET                                                                                 BURLINGTON        MA    01803
LISA C DAVIS                                      1709 E 85TH ST #2                                                                                CHICAGO           IL    60617‐2212
LISA C GREIF                                      1135 CHAR WAY                                                                                    MEDFORD           OR    97501‐8135
LISA C KOHR                                       190 APPLE TREE RD                                                                                WINNETKA          IL    60093‐3704
                                                09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 4 of 8 Pg 834 of 855
Name                                              Address1                             Address2                Address3       Address4          City             State Zip

LISA C MARTIN CUST MATTHEW J MARTIN UTMA OH       7291 CHAMPIONS LANE                                                                           WEST CHESTER     OH    45069‐4673

LISA C RUNYON                                     ATTN LISA C BROWN                    391 E HURON RIVER DR                                     BELLEVILLE       MI    48111‐2761
LISA C STIVER                                     1115 KINGSLEA RD                                                                              COLUMBUS         OH    43209‐2909
LISA C STREHL                                     PO BOX 4896                                                                                   OAK BROOK        IL    60522‐4896
LISA C VEITCH                                     6607 JUPITER HILLS CIRCLE #F                                                                  ALEXANDRIA       VA    22312‐3221
LISA C WAGNER                                     ATTN LISA C JONES                    121 CAMELOT CRES                                         YORKTOWN         VA    23693‐3217
LISA CARI NOTTONSON                               ATTN LISA N LECKO                    4489 FOURTH STREET                                       LA MESA          CA    91941‐6511
LISA CAROLINE GILPIN                              959 PRINCETON                                                                                 BERKLEY          MI    48072‐3026
LISA CECILE                                       1805 BYNG RD                         WINDSOR ON                             N8W 3E1 CANADA
LISA CELZO                                        141 GLOVER AVE                                                                                YONKERS          NY    10704‐4234
LISA CHAMBERS                                     PO BOX 41732                                                                                  PLYMOUTH         MN    55441‐0732
LISA CICCOLINI & MICHAEL CICCOLINI JT TEN         10 CHERIE LN                                                                                  FRANKLIN         MA    02038‐2793
LISA CRANNIE                                      10340 FRANCES RD                                                                              FLUSING          MI    48433‐9221
LISA CRIM CUST EVAN DUANE CRIM UTMA FL            13606 FAWN RIDGE BLVD                                                                         TAMPA            FL    33626‐2928
LISA CUNEO WRENN                                  1311 STRATHMORE COURT                                                                         CONCORD          CA    94518‐3937
LISA CURRAN & EDWARD T BANNER JT TEN              6 PENNSGROVE' PENDRICKTOWN RD        PENDRICKTOWN                                             PEDRICKTOWN      NJ    08067
LISA CZARNIAK & VERNA E CZARNIAK JT TEN           627 FERNWOOD TERRACE                                                                          LINDEN           NJ    07036‐5818
LISA D BELMER                                     1117 BELMAR DR                                                                                MANSFIELD        OH    44907‐3010
LISA D JAMES                                      34162 JEROME ST                                                                               CHESTERFIELD     MI    48047‐4454
LISA D MYERS & GERALD J MYERS JT TEN              21 AUDETTE ST                                                                                 WINOOSKI         VT    05404
LISA D NOWICKI                                    600 RED FOX LN                       APT 3A                                                   NEWARK           DE    19711‐5975
LISA D PAYNE                                      3020 PRESERVE LANDING DR                                                                      JACKSONVILLE     FL    32226‐4459
LISA D REESE                                      10408 E 68TH TE                                                                               RAYTOWN          MO    64133‐6021
LISA D TREBTOSKE                                  5281 OAKHILL DR                                                                               SWARTZ CREEK     MI    48473‐8607
LISA D VAVRO                                      13868 ELMBROOK DR                                                                             SHELBY TWP       MI    48315‐6060
LISA DEGNORE                                      4641 COLLINSWOOD                                                                              LEXINGTON        KY    40515‐6202
LISA DELLAMORA                                    2950 MIDDLEBURY LN                                                                            BLOOMFIELD       MI    48301‐4171
LISA DENISE PICARD                                3803 KEYSTONE CT                                                                              CARRLLTON        TX    75007‐1909
LISA DIANNE KOLB                                  609 VALEN COURT                                                                               CHAPEL HILL      NC    27516‐9489
LISA DIANNE LEMAY                                 10613 E SCARRITT AVE                                                                          SUGAR CREEK      MO    64054‐1062
LISA DICKERSON                                    3821 LUMAR DRIVE                                                                              FT WASHINGTON    MD    20744‐1225
LISA DONNELLY                                     9000 WILLOW GLEN LN                                                                           TEXARKANA        TX    75503‐8800
LISA DONNELLY & THOMAS DONNELLY JT TEN            9000 WILLOW GLEN LN                                                                           TEXARKANA        TX    75503‐8800
LISA E ABANY                                      40 STANDISH RD                                                                                NEW MILFORD      CT    06776‐3917
LISA E DAHLGREN                                   C/O LISA ELLEN FEUSTLE               4605 CARROLL MANOR RD                                    BALDWIN          MD    21013‐9750
LISA E DICKERSON & MICHAEL E DICKERSON JT TEN     72 OVERLOOK CIRCLE                                                                            BOOTHWYN         PA    19061‐2249

LISA E DORAIS                                     23 DUANE LN                                                                                   BURLINGTON       CT    06013‐1307
LISA E HOWIE‐RIGBY                                3319 ABEL AVE                                                                                 PACE             FL    32571‐9560
LISA E LEWIS                                      7234 REISLING STREET                                                                          MATTAWAN         MI    49071‐8409
LISA E MCGILLIS                                   11851 FAIRWAY DR                                                                              SOUTH LYON       MI    48178‐9349
LISA ELANE PEARLMAN                               2831 CARDASSI DR                                                                              OCOEE            FL    34761
LISA F WAGNER                                     300 E 75TH ST 16J                                                                             NEW YORK         NY    10021‐3324
LISA F WENTWORTH & DAVID J WENTWORTH JT TEN       6615 N BRUSH COLLEGE RD                                                                       DECATUR          IL    62526

LISA FAYE CANTOR                                  3141 S WALKUP                                                                                 FLAGSTAFF        AZ    86001‐8529
LISA FILOMIA                                      2 DATER LANE                                                                                  SADDLE RIVER     NJ    07458‐2913
LISA FREED                                        10 W 15TH ST APT 805/806                                                                      NEW YORK         NY    10011‐6823
LISA FRETTI RICHARD                               3030 HASTY RD                                                                                 TOLEDO           OH    43615‐2120
LISA G BEEMAN                                     13921 S E 71 PL                                                                               OKLAHOMA CITY    OK    73150‐8014
LISA G ELLES                                      2766 OBERHELMAN RD                                                                            FORISTELL        MO    63348‐2017
LISA G HORNGREN                                   2539 BARWOOD DR                                                                               GREENBRIER       TN    37073‐4648
LISA G KAHLE                                      18 HICKS HILL RD                                                                              MCGRAW           NY    13101‐9500
LISA G KARNES                                     1256 PRESQUE ISLE DR                                                                          PORT CHARLOTTE   FL    33952‐2763
LISA G MINIAT                                     22430 WINDSMYTHE DRIVE                                                                        MATTAWAN         MI    49071‐9595
LISA G PIERCE                                     24231 LAMBRECHT AVE                                                                           EASTPOINTE       MI    48021‐1211
LISA G ROBBINS                                    700 LANDING LANE                                                                              KNOXVILLE        TN    37934‐4836
LISA G SCHMUTZ & MICHAEL A SCHMUTZ JT TEN         1234 DICKERSON RD                                                                             NORTH WALES      PA    19454‐2321
                                                 09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 835 of 855
Name                                               Address1                             Address2                 Address3      Address4          City              State Zip

LISA G ZIMMERMAN                                   4251 SPRECHER RD                                                                              MADISON           WI    53718‐6657
LISA GARCIA                                        ATTN LISA SCHIFFMAN                  6123 FROST LN                                            LAKE OSWEGO       OR    97035‐4591
LISA GATOFF CUST OLIVIA D GATOFF UGMA NY           35 HORSESHOE                                                                                  ROSLYN HEIGHTS    NY    11577‐2725
LISA GIANNINI                                      PO BOX 69                                                                                     HICKMAN           CA    95323
LISA GITELSON                                      70 E 10TH ST 8‐T                                                                              NEW YORK          NY    10003‐5111
LISA GODINA                                        6704 HUGHES CT                                                                                WATAUGA           TX    76148‐1952
LISA GRACE                                         2199 WARRINGTON                                                                               ROCHESTER HILLS   MI    48307‐3775
LISA GRAY                                          261 W WOOD ST                                                                                 NEW LENOX         IL    60451‐1151
LISA GREASON ARONIN CUST GEORGE T GREASON JR       3316 DANDELION DR                                                                             FINKSBURG         MD    21048‐2138

LISA GURA                                          14 PINE VIEW DR                                                                               TOMS RIVER        NJ    08755‐8049
LISA H BROTSCH                                     6768 ALDRIDGE RD                                                                              VICTOR            NY    14564‐9319
LISA H LEE                                         181 SHERBURNE AVENUE                                                                          SAINT PAUL        MN    55103‐2038
LISA HAAS                                          203 PLEASANT ST                                                                               MARINE CITY       MI    48039‐3480
LISA HAGIE CUST BRANDON HAGIE UTMA IA              2275 LEE AVE                                                                                  CLARION           IA    50525
LISA HAMILTON                                      921 WELSH AYRES WY                                                                            DOWNINGTOWN       PA    19335‐1689
LISA HARRISON                                      5310 CROOKED STICK COURT                                                                      GREENWOOD         IN    46142‐9105
LISA HENDRICKSON                                   791 CORNWALLIS DR                                                                             MOUNT LAUREL      NJ    08054‐3209
LISA HERSHEY                                       257 STANNARD HILL RD                                                                          CHERRY VALLEY     NY    13320‐3427
LISA HERTEL CUST GINA HERTE UGMA NY                30 APPLETON ROAD                                                                              GLEN RIDGE        NJ    07028‐2204
LISA HOFFMAN                                       10 MIDVALE AVE                                                                                MILLINGTON        NJ    07946‐1323
LISA HOLZMARK WHALEN                               1727 WESTMINSTER CIR                                                                          DAVENPORT         IA    52807‐1123
LISA I BRANER                                      103 RHODA AVE                                                                                 NUTLEY            NJ    07110‐1417
LISA I LONG                                        204 CARRIAGE LN                                                                               NEWTOWN SQ        PA    19073‐2322
LISA INDJEIAN                                      785 EDGEWOOD LN                                                                               CLIFFSIDE PK      NJ    07010‐2629
LISA J ANEX                                        3049 CHATEAU WAY                                                                              LIVERMORE         CA    94550‐6827
LISA J BIRD                                        820 NE ASH CT                                                                                 OAKLAND           OR    97462‐9517
LISA J CHADDERDON                                  1754 NOTTINGHAM                                                                               HIGHLAND          MI    48356
LISA J CLEMENT                                     12239 GRAND BLANC ROAD                                                                        DURAND            MI    48429‐9304
LISA J CONTANT                                     1070 COLONY CIR                                                                               MARIETTA          GA    30068‐2805
LISA J CRABTREE                                    ATTN LISA J SHERMAN                  3631 WEST CINDY STREET                                   CHANDLER          AZ    85226‐3834
LISA J CROWTHER                                    66 CHERRY STREET                                                                              EASTHAMPTON       MA    01027‐2340
LISA J DANDREA                                     2579 N 67TH ST                                                                                WAUWATOSA         WI    53213‐1442
LISA J ELLIOTT                                     19428 SOUTH EAST                     342ND STREET                                             AUBURN            WA    98092
LISA J GRECO                                       50 LAFAYETTE PL                      APT 4B                                                   GREENWICH         CT    06830
LISA J HENNING                                     267 BARCELONA ST                                                                              PUNTA GORDA       FL    33983‐5719
LISA J HOFFMAN                                     28104 WEXFORD DR                                                                              WARREN            MI    48092‐4166
LISA J HORITA                                      25 LAUREL TRAIL                                                                               WHEELING          IL    60090‐4415
LISA J HORNER                                      1580 SUNSET BREEZE LANE                                                                       BURLINGTON        NC    27217‐7394
LISA J INGRAM                                      321 HIGHLAND MEADOWS PL                                                                       WENTZVILLE        MO    63385‐3174
LISA J LINARES                                     42441 CASTLE CT                                                                               CANTON            MI    48188‐1118
LISA J MCCULLOUGH & SHAWN L MCCULLOUGH JT TEN      2428 UNION RD                                                                                 ANDERSON          IN    46017‐9368

LISA J PRICE                                       1122 W CHURCH ST                                                                              UKIAH             CA    95482‐4603
LISA J REED                                        27351 GAIL                                                                                    WARREN            MI    48093‐4447
LISA J TOUSA                                       2649 OAKMEADE DR                                                                              CHARLOTTE         NC    28270‐9743
LISA JACQUELINE KING                               48 SPIERS CRES                       AJAX ON                                L1S 6Y7 CANADA
LISA JANE SCHELLER                                 751 BENNER ROAD                                                                               ALLENTOWN         PA    18104
LISA JANICE MCKEE                                  686 KENNESAW                                                                                  BIRMINGHAM        MI    48009‐5791
LISA JO CARROLL                                    8505 EUCALYPTUS AVE                                                                           MUNCIE            IN    47304‐9305
LISA JO MILLER                                     32010 PENDLEY ROAD                                                                            WILLOWICK         OH    44095
LISA JOLLEY THOMPSON & MICHAEL J JOLLEY JT TEN     9105 GEORGIA BELL DRIVE                                                                       PERRY HALL        MD    21128

LISA JONES & JAMES L JONES JT TEN                 113 WADE CT                                                                                    MT STERLING       KY    40353‐8245
LISA K AULERICH                                   249 GAGE RD                                                                                    RIVERSIDE         IL    60546‐2348
LISA K BIXLER TR UW DWIGHT M LONG FBO LOIS L LONG 2244 GETTYSBURG‐PITSBURG ROAD                                                                  ARCANUM           OH    45304‐9462
TRUST UA 06/06/84
LISA K BRADY                                      13547 LAKEBROOK RD                                                                             FENTON            MI    48430‐8402
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 836 of 855
Name                                            Address1                            Address2                Address3       Address4          City             State Zip

LISA K GOODYEAR CUST DARBY ROSE GOODYEAR UTMA   3100 FENWOOD TRAIL                                                                           ROSWELL          GA    30075‐6004
GA
LISA K GRAHAM                                   915 E RIVER RD                                                                               FLUSHING         MI    48433‐2222
LISA K HOUSE                                    201 W BROAD ST                                                                               LINDEN           MI    48451‐8657
LISA K KALAMA CUST KENDRA E KALAMA UTMA CO      1477 S YORK ST                                                                               DENVER           CO    80210‐2410

LISA K MARCZEWSKI                                166 WELLAND AVE                    ST CATHARINES ON                       L2R 2N6 CANADA
LISA K MCCORMICK A MINOR                         66 SYMORE RD                                                                                RISING SUN       IN    47040‐9560
LISA K NELSON                                    1720 ORION RD                                                                               OAKLAND          MI    48363‐1828
LISA K ROCKAFELLOW & CLARKE D ROCKAFELLOW JT TEN 15823 HIGHWAY 82                                                                            BUHL             AL    35446‐9303

LISA KARP                                       88 LEXINGTON AVENUE                 APT 15A                                                  NEW YORK         NY    10016‐8910
LISA KAY MOORE                                  4124 WEST HIGHLAND RD                                                                        HIGHLAND         MI    48357‐4008
LISA KAY PITCHER                                455 CONNIE CIR                                                                               LAKE GENEVA      WI    53147‐2246
LISA KAY ROBINSON‐ROUX                          902 PARKSIDE PLACE                                                                           MC DONALD        OH    44437
LISA KORTEN                                     830 N THORPE AVE                                                                             ORANGE CITY      FL    32763
LISA KUNTASHIAN                                 239 MANHATTAN AVENUE                                                                         CRESTWOOD        NY    10707‐1612
LISA KUNTZ                                      2511 BEN DORAN CT                                                                            CEDAR PARK       TX    78613‐4335
LISA L EWALD                                    35961 PERTH                                                                                  LIVONIA          MI    48154‐5259
LISA L FAMIGIETTI                               3 HACIENDA WAY                                                                               ANDOVER          MA    01810‐4239
LISA L GAGE                                     820 LINCOLN RD                                                                               GROSSE POINTE    MI    48230‐1287
LISA L JONES                                    ATTN MRS DAVIS JONES                194 OUGCHITA 576                                         LOUANN           AR    71751‐8606
LISA L LIEBAL                                   ATTN LISA L STRICKLIN               2698 EVELYN RD                                           YOUNGSTOWN       OH    44511‐1802
LISA L MARTIN                                   7195 FAWN LAKE DR                                                                            ALPHARETTA       GA    30005‐3667
LISA L MASON                                    2800 MISTY SHORE LN                                                                          PFLUGERVILLE     TX    78660‐7744
LISA L MORELAND                                 2301 RACQUET CLUB DR                                                                         MURFREESBORO     TN    37128‐4830
LISA L NICODEMUS                                1109 S OCOTILLO DR                                                                           COTTONWOOD       AZ    86326‐4360
LISA L PAUL                                     408 BARNUM ST                                                                                DUNDEE           MI    48131‐1158
LISA L PENNINGTON                               1968 JACKSON RD                                                                              VANDALIA         OH    45377‐9527
LISA L PERKINS                                  74 SOUTH MAIN ST                                                                             NEW LONDON       OH    44851‐1143
LISA L PROWANT                                  938 W NORTH ST                                                                               LIMA             OH    45805‐2458
LISA L SANCHEZ                                  149 DAFFODIL TRL                                                                             ROCHESTER        NY    14626‐4728
LISA L SANCHEZ CUST GABRIELA SANCHEZ UGMA NY    149 DAFFODIL TRL                                                                             ROCHESTER        NY    14626‐4728

LISA L SMETANA                                  PO BOX 1111                                                                                  LAKE ARROWHEAD   CA    92352‐1111

LISA L STEWART‐ANKTON                            2800 MISTY SHORE LANE                                                                       PFLUGERVILLE     TX    78660‐7744
LISA L WHALEN                                    PO BOX 9022                                                                                 WARREN           MI    48090‐9022
LISA L WHITE & RANDALL C WHITE JT TEN            169 LEEWARD LANE                                                                            HAMPSTEAD        NC    28443
LISA LANGLEY                                     CUST JOSEPH LANGLEY UTMA ME        484 LITTLE RIVER ROAD                                    LEBANON          ME    04027
LISA LECLERE TOWEL                               6075 PINE OAKS TRAIL                                                                        BRIGHTON         MI    48116‐9424
LISA LEES                                        1618 BETHEL RD                                                                              BOOTHWYN         PA    19061‐2007
LISA LENNING                                     5658 MAPLERIDGE DRIVE                                                                       CINCINNATI       OH    45227‐1322
LISA LETTIE                                      1827 WATERWOOD RD                                                                           ARLINGTON        TX    76012‐5744
LISA LINN ANDERSON                               180 DELAWARE DR                                                                             BRECKENRIDGE     CO    80424‐8805
LISA LINN LEWIS                                  180 DELAWARE DR                                                                             BRECKENRIDGE     CO    80424
LISA LYNN BATTLE                                 1127 OAK DR                                                                                 FLOWER MOUND     TX    75028‐1422
LISA LYNN MITTER CUST AARON ARTHUR ALLEN MITTER 2373 S 99 ST                                                                                 WEST ALLIS       WI    53227‐2225
UTMA WI
LISA LYNN MITTER CUST KATHRYN LOUISE LYNN MITTER 2373 S 99 ST                                                                                WEST ALLIS       WI    53227‐2225
UTMA WI
LISA LYONS                                       8824 RANCHERO RD                                                                            CEDAR FALLS      IA    50613
LISA M ANDERSON                                  C/O LISA A BROWN                   402 BIRCHWOOD DR                                         SANDUSKY         OH    44870‐7320
LISA M BALLANTYNE                                ATTN LISA B MCDONALD               8 BROOKRIDGE WAY                                         NEWNAN           GA    30263‐1076
LISA M BALLARD                                   1422 CEDARWOOD                                                                              FLUSHING         MI    48433‐1809
LISA M BASIL                                     47 THE CMN                                                                                  BUFFALO          NY    14221‐5818
LISA M BENNETT                                   7101 OAKVIEW CIRCLE                                                                         NOBLESVILLE      IN    46060‐9419
LISA M BEST                                      12010 SECOR RD                                                                              PETERSBURG       MI    49270‐9795
LISA M BURDEN                                    9580 BLATY ST                                                                               TAYLOR           MI    48180‐3552
                                           09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 4 of 8 Pg 837 of 855
Name                                            Address1                            Address2                Address3       Address4          City              State Zip

LISA M CARAVELLA‐MUNDY                          6 BUTTONWOOD PL                                                                              U SADDLE RIV      NJ    07458
LISA M CHAPPELL                                 3300 VERA CT                                                                                 OAKLAND           MI    48363‐2823
LISA M CLUNE                                    129 ELM ST                                                                                   LEADVILLE         CO    80461‐3641
LISA M CROUCH & BRIAN D CROUCH JT TEN           4446 BRIDLEWOOD                                                                              TRAVERSE CITY     MI    49684‐8238
LISA M DAVENPORT                                13150 ROHN RD                                                                                FENTON            MI    48430‐9473
LISA M DIAS                                     821 YANKEE RUN RD                                                                            MASURY            OH    44438‐8722
LISA M DUBOIS & ANASTASIA SCHWARZ JT TEN        401 OVERLOOK DRIVE                                                                           KENT              OH    44240‐2854
LISA M DUNN                                     14345 BROOKINGS COURT                                                                        STERLING HTS      MI    48313
LISA M ERB                                      4020 GLASGOW ROAD                                                                            VALENCIA          PA    16059‐1724
LISA M FAIR                                     6133 STEM LANE                                                                               MT MORRIS         MI    48458‐2653
LISA M FEEBACK                                  1379 WILLIAMS FARM RD                                                                        KING GEORGE       VA    22485‐7667
LISA M FINLAYSON                                9890 N LOOP RD                      APT 632                                                  PENSACOLA         FL    32507‐7224
LISA M FULTON                                   300 E WILSON BRIDGE RD                                                                       WORTHINGTON       OH    43085‐2300
LISA M GERHARDY CUST ALEXANDRIA J GERHARDY      1500 KENDALL RD                                                                              CHURCHVILLE       NY    14428‐9102
UGMA NY
LISA M GERHARDY CUST NICHOLAS J GERHARDY UGMA   1500 KENDALL RD                                                                              CHURCHVILLE       NY    14428‐9102
NY
LISA M GROSSI                                   34 BERTSON AVENUE                                                                            WEST ROXBURY      MA    02132‐3221
LISA M GROULX                                   ATTN LISA M LARSEN                  5346 PLYMOUTH AVE                                        GRAND BLANC       MI    48439‐5118
LISA M HASS                                     601 HIDDEN ACRES DR                                                                          MADISON           TN    37115‐5626
LISA M HUEY                                     32416 FIRWOOD DR                                                                             WARREN            MI    48088‐6219
LISA M INCOLLINGO                               125 PEACH BLOSSOM LANE                                                                       WARMINSTER        PA    18974‐1283
LISA M JUDGE                                    204 DEBBIE DR                                                                                COLLINSVILLE      IL    62234‐3749
LISA M KARASH                                   50600 BRADY                                                                                  NEW BALTIMORE     MI    48047‐1603
LISA M KARR                                     ATTN LISA M BURGGRAF                1021 MARIANNA DR                                         MANSFIELD         OH    44903‐8872
LISA M KASPEROWICZ                              218 STAFFORD WAY                                                                             ROCHESTER         NY    14626‐1693
LISA M KLOSSNER                                 C/O LISA M KLOSSNER‐GERHARDY        1500 KENDALL ROAD                                        CHURCHVILLE       NY    14428‐9102
LISA M KNICELEY                                 3320 HARVEY LAKE RD                                                                          HIGHLAND          MI    48356‐1771
LISA M LANG                                     4951 SUSANS WAY                                                                              BLOOMFIELD        MI    48302‐2364
LISA M LAZAR                                    107 RICHARDSON DRIVE                                                                         MILL VALLEY       CA    94941‐2470
LISA M LEVESQUE CUST KRISTIN LEVESQUE DECOUTO   10313 E BILLINGS ST                                                                          APACHE JCT        AZ    85220‐4230
UTMA WA
LISA M MARCHESE CUST ANNA J MARCHESE UTMA NJ    150 THIRD STREET                                                                             FAIR HAVEN        NJ    07704

LISA M MARCHESE CUST JULIA B MARCHESE UTMA NJ   150 THIRD STREET                                                                             FAIR HAVEN        NJ    07704

LISA M MARTIN                                   5055 FAIRFIELD DR                                                                            FORT MYERS        FL    33919‐1903
LISA M MEYER & SAMUEL A MEYER JT TEN            510 S LOUIS ST                                                                               MT PROSPECT       IL    60056‐3937
LISA M MIZE                                     2821 CLAYTON DR                                                                              VALDOSTA          GA    31602‐7202
LISA M MORIN                                    9 COLONEL THOMAS LN                                                                          BEDFORD           NY    10506‐1520
LISA M NELSON                                   5440 DELAND RD                                                                               FLUSHING          MI    48433‐2902
LISA M NOWICKI                                  510 QUINCY AVE APT 1                                                                         SCRANTON          PA    18510‐2139
LISA M PARKER                                   12400 N SAGINAW RD                  #3                                                       CLIO              MI    48420‐2205
LISA M PLAGGEMIER                               1804 STONE RIDGE CIRCLE                                                                      AUSTIN            TX    78746‐7809
LISA M RAMELS                                   16775 W BRIDLINGTON AVE                                                                      SURPRISE          AZ    85374‐6864
LISA M RITZEL & DAVID M RITZEL JT TEN           1329 BROOKEDGE DR                                                                            HAMLIN            NY    14464‐9360
LISA M RODRIGUEZ                                1921 DERBYWOOD DR                                                                            BRANDON           FL    33510‐2616
LISA M ROSE                                     139 CHERRYWOOD LANE                                                                          BATTLE CREEK      MI    49015
LISA M RUSS                                     143 SAGAMORE DR                                                                              PLAINVIEW         NY    11803
LISA M SCOTT‐SOKOLOSKY                          46256 PALMER DR                                                                              SHELBY TOWNSHIP   MI    48315‐5740

LISA M SEALSCOTT                                1741 GINTER RD                                                                               DEFIANCE          OH    43512‐9077
LISA M SIMMONS                                  171 HIGH ST                                                                                  CARVER            MA    02330‐1018
LISA M STONE                                    21123 NE 43 RD CT                                                                            SAMMAMISH         WA    98074‐6025
LISA M STRASSER                                 ATTN LISA M BORTZ                   3953 GOLDEN WOOD WAY                                     UNIONTOWN         OH    44685‐9559
LISA M STRAUSS                                  8514 HUCKLEBERRY LN                                                                          LANSING           MI    48917‐8841
LISA M TOLIVER                                  ATTN LISA M SCHAFER BROWN           240 BUCKINGHAM CIRCLE                                    LAFAYETTE         IN    47909‐6921
LISA M VENEZIANO                                12243 MARGARET DR                                                                            FENTON            MI    48430‐8805
LISA M WAGNER                                   ATTN LISA DE SIMONE                 115 BROW STREET                                          LIVERPOOL         NY    13088‐5105
                                                09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 838 of 855
Name                                              Address1                                Address2              Address3         Address4          City              State Zip

LISA M WAGNER                                     686 KENNESAW ST                                                                                  BIRMINGHAM        MI    48009‐5791
LISA M WAGNER                                     686 KENNESAW                                                                                     BIRMINGHAM        MI    48009‐5791
LISA M WALDEN                                     4482 ELEANOR DRIVE                                                                               FENTON            MI    48430‐9141
LISA M WEAVER                                     PO BOX 1061                                                                                      QUITMAN           TX    75783‐1061
LISA M WEST                                       33 GATEWAY DRIVE                                                                                 GREAT NECK        NY    11021‐1821
LISA M WHITE                                      4627 PINECOMB WOODS                                                                              SAN ANTONIO       TX    78249‐1828
LISA M WILLIAMS                                   PO BOX 16814                                                                                     BOISE             ID    83715‐6814
LISA M WILLIAMS                                   617 TIMBERLINE DR                                                                                WATERLOO          IL    62298‐2764
LISA M WINN                                       2169 POTPOURRI PT                                                                                ROCK HILL         SC    29732‐9355
LISA M ZDUNSKI CUST DALE E ZDUNSKI UTMA PA        8135 MOREHOUSE RD                                                                                ERIE              PA    16509‐5905
LISA MANGIARELLI                                  3368 ROBERT TRENT JONES DR              UNIT 207                                                 ORLANDO           FL    32835‐2394
LISA MANZELLA PRESEREN                            1659 RUSHTON RD                                                                                  S EUCLID          OH    44121‐3737
LISA MARCINEK                                     14 AUTUMN RIDGE CT                                                                               KATONAH           NY    10536‐3350
LISA MARIE BALZ MILLS & ROBERT T MILLS JT TEN     4153 SOUTH ATLANTIC AVE                 APT 104                                                  NEW SMYRNA        FL    32169‐3716
                                                                                                                                                   BEACH
LISA MARIE CLARK                                  231 AARON CIR                                                                                    VACAVILLE         CA    95687‐6908
LISA MARIE COLLINS                                36801 GREENBUSH                                                                                  WAYNE             MI    48184
LISA MARIE CORTON                                 ATTN LISA MARIE GORTON                  1301 ROYAL CRESCENT                                      ROCHESTER         MI    48306‐4051
LISA MARIE DEANGELIS CUST STEPHEN DAVID OKIN      400 E 56TH ST APT 23N                                                                            NEW YORK          NY    10022‐4339
UGMA NY
LISA MARIE DORNER                                 1432 COMMANCHE AVE                                                                               GREEN BAY         WI    54313‐5938
LISA MARIE GORTON                                 1301 ROYAL CRESCENT                                                                              ROCHESTER HILLS   MI    48306‐4051
LISA MARIE MORI & MICHAEL WILLIAM JAMESON TEN     9300 BILLINGSLEY RD                                                                              WHITE PLAINS      MD    20695‐2659
COM
LISA MARIE NICCOLAI                               35 VAN DOREN AVE                                                                                 CHATHAM           NJ    07928‐2211
LISA MARIE PAULUS                                 645 LOCKMORE CT                                                                                  ROCHESTER HILLS   MI    48307‐4229
LISA MARYE EVANS EX EST CAMPBELL K EVANS          1602 MAYFAIR RD                                                                                  CHAMPAIGN         IL    61821‐5527
LISA MASTROBERARDINO                              460 W HAVRVEY ST                                                                                 STRUTHERS         OH    44471‐1335
LISA MAUREEN OMALLEY                              5936 CARPENTER STREET                                                                            DOWNERS GROVE     IL    60516‐1842
LISA MAZZEO                                       54 WEST AVE S                                                                                    BRIDGETON         NJ    08302‐2354
LISA MCCRAW CUST ZACHARY MCCRAW UTMA MD           113 WHEATLEY RD                                                                                  NORTH EAST        MD    21901‐2005

LISA MCDONALD                                     623 N SAN FRANCISCO ST                                                                           FLAGSTAFF         AZ    86001‐3230
LISA MELIN CUST TIMOTHY R MELIN UTMA CA           BOX 5604                                                                                         TAHOE CITY        CA    96145‐5604
LISA MELIN CUST TROY T MELIN UTMA CA              PO BOX 5604                                                                                      TAHOE CITY        CA    96145‐5604
LISA MENSCEL CUST NICOLE MENSCEL UGMA NY          7 STARR AVE WEST                                                                                 ANDOVER           MA    01810‐4288
LISA MERGY                                        155 WATERFORD DRIVE                                                                              INMAN             SC    29349‐6704
LISA MERMOD & DENIS MERMOD JT TEN                 542 WET SAND DR                                                                                  SEVERN            MD    21144
LISA MEYER                                        4662 SLUMBERWOOD LN                                                                              SAINT LOUIS       MO    63128‐2424
LISA MICHAEL SCHWARZ                              401 OVERLOOK DR                                                                                  KENT              OH    44240‐2854
LISA MILLER                                       530 FIRST ST #8                                                                                  BROOKLYN          NY    11215‐2309
LISA MILLER                                       268 LAKE ST                                                                                      BELMONT           MA    02478‐4604
LISA NELEZEN                                      2713 AUTUMNWOOD LN                                                                               HOPKINS           MN    55305‐3488
LISA O FIELDS                                     1294 RIVERLOCH WA                                                                                LAWRENCEVILLE     GA    30043
LISA ODDO                                         663 KATHERINE LANE                                                                               ADDISON           IL    60101‐1593
LISA OLDACK                                       30449 LORAIN RD                                                                                  NORTH OLMSTED     OH    44070‐3929
LISA OVERGAARD GILLIAM                            390 ROCK SPRINGS RD                                                                              CASTALIAN SPRINGS TN    37031‐4729

LISA P ALLAN                                      1455 MAXWELL                                                                                     FLINT             MI    48532‐4340
LISA P JOHNSON                                    1510 W FM219                                                                                     HICO              TX    76457‐9012
LISA PAINCHAUD                                    3524 ROLLING SPRINGS DR                                                                          CARMEL            IN    46033‐4453
LISA PARKS CUST CHARLES W PARKS III UTMA FL       1630 ROYAL GROVE WAY                                                                             WESTON            FL    33327‐1605
LISA PARKS CUST CHRISTOPHER K PARKS UTMA FL       1630 ROYAL GROVE WAY                                                                             WESTON            FL    33327‐1605
LISA PERRINO                                      4721 TOD AVE SW                                                                                  WARREN            OH    44481‐9789
LISA PETERS MUSTAPICH & CHARLES A MUSTAPICH TEN   1 CLARK RD                                                                                       BEDFORD           MA    01730‐1504
COM
LISA POHR                                         PO BOX 792                                                                                       MANITOU SPGS      CO    80829‐0792
LISA PORTNER                                      22326 ESSEX VIEW DR                                                                              GAITHERSBURG      MD    20882‐4102
LISA R AUDET                                      701 CROWNWOOD CT                                                                                 STREETSBORO       OH    44241‐3915
                                              09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 4 of 8 Pg 839 of 855
Name                                               Address1                            Address2               Address3          Address4          City              State Zip

LISA R BOLARD CUST NINA B M BOLARD UTMA‐CT         119 BILL ROGERS DR                                                                             GUILFORD          CT    06437‐4105
LISA R BOLARD CUST ZORI S D BOLARD UTMA CT         119 BILL ROGERS DR                                                                             GUILFORD          CT    06437‐4105
LISA R BRYANT                                      97 HAWTHORNE DR                     APT 27                                                     FARMINGTON        MO    63640‐9777
LISA R FLOYD                                       45299 INDIAN CREEK DR                                                                          CANTON            MI    48187‐2533
LISA R FRIED                                       20 BROWER AVE                                                                                  WOODMERE          NY    11598‐1711
LISA R GIBBS                                       124 JOHN PRESTON DRIVE                                                                         LEXINGTON         SC    29072‐7714
LISA R HOWELL                                      ATTN LISA H KOUSTIS                 4587 W 213                                                 FAIRVIEW PARK     OH    44126‐2139
LISA R MEADOWS                                     463 PEBBLE CREEK DR                                                                            FRAZIERS BTM      WV    25082‐9781
LISA R MILLS                                       30029 AVONDALE DR                                                                              MADISON HEIGHTS   MI    48071‐2223

LISA R PAYNE                                       PO BOX 249                                                                                     UNIONVILLE        PA    19375‐0249
LISA R ROACH                                       905 SHADOW RIDGE DR                                                                            LEWISVILLE        TX    75077‐1805
LISA R ROTOLANTE                                   5701 SW 77TH TERR                                                                              SOUTH MIAMI       FL    33143‐5410
LISA R SHAMES CUST ANDREW V PRICE UTMA MD          11112 RALSTON RD                                                                               ROCKVILLE         MD    20852‐3665
LISA R SHAMES CUST SARA A PRICE UTMA MD            11112 RALSTON RD                                                                               ROCKVILLE         MD    20852‐3665
LISA R SUSS & RONALD S SUSS JT TEN                 48 COLLAMORE TERRACE                                                                           WEST ORANGE       NJ    07052‐3933
LISA R THOMAS                                      530 STERLING RD                                                                                KENILWORTH        IL    60043‐1067
LISA RENEE BROWN                                   23571 MAJESTIC                                                                                 OAK PARK          MI    48237‐2293
LISA RENEE GILBERT                                 28625 LEONA ST                                                                                 GARDEN CITY       MI    48135‐2757
LISA RENEE HUST                                    ATTN LISA MATTOX                    7395 OLD CORYDON RD                                        HENDERSON         KY    42420‐9378
LISA ROGERS                                        234 STONEBROOKE OVAL                                                                           CHAGRIN FALLS     OH    44022‐2174
LISA RUTH HOLIHAN                                  ATTN LISA HOLIHAN MAYE              139 ELM STREET                                             ANDOVER           MA    01810‐1606
LISA S BARBER                                      124 VILLA RD                                                                                   SAINT MARYS       PA    15857‐3054
LISA S FLEMING CUST ZACHARY THOMAS FLEMING         2407 RETREAT CLOSE                                                                             MARIETTA          GA    30066‐5176
UTMA GA
LISA S LICATA                                      11504 RIVEREDGE RD                                                                             DOSWELL           VA    23047‐2232
LISA S MILES                                       378 BETHMOUR RD                                                                                BETHANY           CT    06524‐3318
LISA S STEWART                                     224 N WATER                                                                                    CHESTERFIELD      IN    46017‐1225
LISA S SUDDRETH & JAY E SUDDRETH JT TEN            2127 W 116TH ST                                                                                SHAWNEE MISSION   KS    66211‐2954

LISA S WATSON                                      4125 ENGLAND BCH                                                                               WHITE LAKE        MI    48383‐1718
LISA SCHULZE                                       C/O ANNEMARIE HOFFMAN               GRAF GERLACH‐STR 1A    D‐65191 WIESANY   GERMANY
LISA SCHWARZBAUM                                   562 WEST END AVE #2E                                                                           NEW YORK          NY    10024‐2716
LISA SHEA                                          541 E 7TH ST APT 1                                                                             SO BOSTON         MA    02127‐4128
LISA SHERI PETERSON                                3010 S PACIFIC AVE                                                                             SANTA ANA         CA    92704‐6723
LISA SIBBITT CUST DANIELLE LAUREN SPARKS UTMA IN   14175 AVIAN WAY                                                                                CARMEL            IN    46033‐8307

LISA SIBBITT CUST WESTON TAYLOR SPARKS UTMA IN     14175 AVIAN WAY                                                                                CARMEL            IN    46033‐8307

LISA SOMMER                                        285 COMPTON ROAD                                                                               CINCINNATI        OH    45215‐4116
LISA SOUTHERS                                      5587 ODUM SMALLWOOD RD                                                                         GAINESVILLE       GA    30506‐2739
LISA STAIF                                         32457 NEWCASTLE DR                                                                             WARREN            MI    48093‐6152
LISA STARKS                                        1107 DRAKE ST                                                                                  JANESVILLE        WI    53546‐5308
LISA STEWART BOYCE                                 5004 LONDONDERRY DR                                                                            TAMPA             FL    33647‐1337
LISA SVENSSON                                      FALLINGE 40 AGARD                   33391 SMALANDSSTENAR                     SWEDEN
LISA T HEWETT                                      15625 BRITENBUSH CT                                                                            WATERFORD         VA    20197‐1001
LISA T JOHNSON                                     101 HETHERTON LN                                                                               NEW CASTLE        DE    19720‐6749
LISA T MCFARLAND CUST MEGHAN K MCFARLAND           10 PITT COURT                                                                                  ROCKVILLE         MD    20850‐1027
UTMA NC
LISA T MCFARLAND CUST MEGHAN K MCFARLAND           10 PITT COURT                                                                                  ROCKVILLE         MD    20850‐1027
UTMA NC
LISA T MOYNIHAN                                    76 KINGS HIGHWAY                                                                               WARWICK           NY    10990‐3111
LISA T MOYNIHAN & PATRICK D MOYNIHAN JT TEN        76 KINGS HIGHWAY                                                                               WARWICK           NY    10990‐3111

LISA TAYLOR                                        711 OAK RIDGE DR                                                                               SAND SPRINGS      OK    74063‐7012
LISA THOMAS                                        1460 TRENT CT                                                                                  CHEYENNE          WY    82009
LISA V GREENE                                      51232 NORTH RIDGE ROAD                                                                         VERMILION         OH    44089
LISA V PEARL                                       512 KEPLAR ROAD                                                                                DAYTON            OH    45414‐1322
LISA VOERMANS                                      1198 SW 12TH ROAD                                                                              BOCA RATON        FL    33486
                                                 09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 840 of 855
Name                                               Address1                              Address2              Address3         Address4          City           State Zip

LISA W BLAKE                                       222 ROSE DALE LN                                                                               DOVER          DE    19904‐1603
LISA W HOFFMAN CUST GRAHAM LLOYD HOFFMAN           102 N HAMILTON ST                     APT N                                                    DOYLESTOWN     PA    18901‐3619
UGMA PA
LISA W HUNTER                                      12352 TIERRA LIMPIA                                                                            EL PASO        TX    79938
LISA W SCHAFFNER                                   8740 SCHOOLHOUSE PL                                                                            MAINEVILLE     OH    45039‐9518
LISA WILLIAMS                                      4020 MORNINGSIDE DR                                                                            BLOOMINGTON    IN    47408‐3127
LISA YANNIOS                                       36 MAPLE ST                                                                                    PLAINVILLE     CT    06062‐2229
LISA YVETTE WATSON                                 11503 STONEY FALLS DR                                                                          HOUSTON        TX    77095‐4882
LISABETH S PUNG                                    4258 BELLE MEADE CIRCLE                                                                        BELMONT        NC    28012‐6506
LISBETH L HIMES                                    246 S 31ST ST                                                                                  HARRISBURG     PA    17109‐4601
LISBETH L SELSOR CUST MARGARET B SELSOR UGMA DE    805 GREENWOOD RD                                                                               WILMINGTON     DE    19807‐2937

LISBETH L SELSOR CUST STEPHEN R SELSOR UGMA DE     805 GREENWOOD RD                                                                               WILMINGTON     DE    19807‐2937

LISBETH L TAYLOR                                   9632 DEERHORN CT APT 86                                                                        PARKER         CO    80134‐3128
LISBON E ALLEN                                     18 SHADOW LANE                                                                                 HOPEWELL       NY    12533‐5706
                                                                                                                                                  JUNCTION
LISE A BORDELEAU                                   6407 BELANGER EAST                    MONTREAL QC                            H1T 3S3 CANADA
LISE D ANDERHEGGEN                                 6804 47TH AVE NE                                                                               SEATTLE        WA    98115‐7636
LISE D B‐CARRIVEAU                                 2790 CHEMIN VAIL                      DUNHAM QC                              J0E 1M0 CANADA
LISE I WALLACE                                     3819 CLINTONVILLE                                                                              WATERFORD      MI    48329‐2418
LISE LAVOIE                                        2050 JOSEPH RAYMER                    VAUDREUIL DORION QC                    J7V 8P7 CANADA
LISE LEMIEUX                                       16 VAL SOLEIL                         POINTE CLAIRE QC                       H9S 5N1 CANADA
LISE M EMERY                                       5 E LEASURE AVE                                                                                NEW CASTLE     PA    16105‐2581
LISE ROY                                           3735 PACIFIC                          ST HUBERT QC                           J3Y 5K2 CANADA
LISE WOLLENBERG & ALBERT C WOLLENBERG JR JT TEN    3786 HAPPY VALLEY RD                                                                           LAFAYETTE      CA    94549‐3041

LISE Y NEILSON                                     1105 ST‐LOUIS                         SHERBOOKE QC                           J1H 4P3 CANADA
LISELOT PEREZ                                      2205 NORTHWEST BLVD NW                                                                         WARREN         OH    44485‐2306
LISELOTTE LEHNERER & HINRICH W LEHNERER JT TEN     115 MARTINS KEY                                                                                RIDGELAND      MS    39157

LISLE ANN MC KINNON                                C/O LISLE ANNE WHITELEY               25 RED GATE ROAD                                         CUMBERLAND     RI    02864‐5010
LISLE E BRUMMELL                                   735 SIMONEAU ST                                                                                SAGINAW        MI    48601
LISLE WOOD                                         RTE ONE 4051 STATE STREET                                                                      BUTTE          MT    59701‐6620
LISSA HUGHES                                       2821 24TH AVE NE                                                                               NAPLES         FL    34120‐3524
LITA B SALDARINI                                   APT 20R                               1530 PALISADE AVE                                        FORT LEE       NJ    07024‐5423
LITA K HOFBERG                                     13635 E BATES AVE APT 307                                                                      AURORA         CO    80014‐3688
LITHA L HOWARD TR LITHA L HOWARD TRUST UA          11618 CIMARRON AVE                                                                             HAWTHORNE      CA    90250
12/10/02
LITHER M AILOR                                     4119 W BARBERRY LN                                                                             PERU           IN    46970‐8982
LITLFELLER LLC                                     BOX 291                                                                                        TRILBY         FL    33593‐0291
LITTLE SAIGON INVESTMENT CLUB                      A PARTNERSHIP C/O SANDRA TAN          21 HICKORY LANE                                          GARNERVILLE    NY    10923‐1917
LITZABEL C NAVAL                                   615 EAST HUNTER DRIVE                                                                          PAYSON         AZ    85541‐5682
LIU YANG                                           117 W 58TH STREET APT 4D                                                                       NEW YORK       NY    10019
LIVIA A SARACENI                                   128 ROTTERDAM ST                                                                               SCHENECTADY    NY    12306‐1524
LIVIA BIELLO                                       1292 KAREN OVAL SE                                                                             VIENNA         OH    44473‐9610
LIVIA DONOVAN & MARTIN DONOVAN JT TEN              360 S BURNSIDE AVE                    APT 9D                                                   LOS ANGELES    CA    90036‐5415
LIVIA FRIEDMAN                                     70‐25 YELLOW STONE BLVD               APT 19‐X                                                 FOREST HILLS   NY    11375‐3178
LIVIA NELSON                                       30775 MARROCCO DRIVE                                                                           WARREN         MI    48093‐5939
LIVIE O AGBARAJI                                   737 W 2ND STREET                                                                               FLORENCE       NJ    08518‐1103
LIVING LORD LUTHERAN CHURCH                        851 NILES CORTLAND RD NE                                                                       WARREN         OH    44484‐1002
LIVINGSTON B MORRIS                                135 OLD LANCASTER RD                                                                           DEVON          PA    19333‐1439
LIVISTON ESTELL JR                                 68 FALMOUTH WAY                                                                                BLUFFTON       SC    29909‐5005
LIVISTON ESTELL JR & GWENDOLYN A ESTELL JT TEN     68 FALMOUTH WAY                                                                                BLUFFTON       SC    29909‐5005

LIVO C LYLES                                       4433 E FOUNTAIN WAY                                                                            FRESNO         CA    93726‐7118
LIZA B TURNER                                      52 OAKRIDGE DRIVE                                                                              BINGHAMTON     NY    13903‐2125
LIZA J SMALLWOOD                                   14590 CRAFT                                                                                    HERSEY         MI    49639‐8562
LIZA K BRISCOE                                     60 SHEPHERD COURT                                                                              LOVELAND       OH    45140
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 841 of 855
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

LIZABETH A MARSAN CUST JEREMY J MARSAN UTMA IL   332 ADDISON                                                                                      ELMHURST         IL    60126‐2306

LIZABETH A MARSAN CUST KATHERINE M MARSAN      332 ADDISON                                                                                        ELMHURST         IL    60126‐2306
UTMA IL
LIZABETH A MARSAN CUST MADELINE M MARSAN       332 ADDISON                                                                                        ELMHURST         IL    60126‐2306
UTMA IL
LIZABETH A MARSAN CUST ROBERT J MARSAN UTMA IL 332 ADDISON                                                                                        ELMHURST         IL    60126‐2306

LIZABETH A MULLOY                                ATTN LIZABETH MULLOY WILLIAMS           37855 JACKSON RD                                         MORELAND HILLS   OH    44022‐1913
LIZABETH A STEVENSON                             HCR1 BOX 4514                                                                                    SHELL KNOB       MO    65747‐9423
LIZABETH LEDWITH CUST PATRICK LEDWITH UTMA NY    124 PARK BLVD                                                                                    MALVERNE         NY    11565‐1717

LIZABETH MCDONALD EX EST HELEN LADYNE FAIR       102 INDIAN TR                                                                                    EATONTON         GA    31024
LIZABETH SUSAN FISCHER CAMPBELL                  206 HEHMWOOD DR                                                                                  ELIZABETHTOWN    KY    42701‐2836
LIZANNE CAPPER CAMPBELL                          8 HILL ROAD                                                                                      HOPKINTON        MA    01748‐1505
LIZBETH A PURDY                                  8897 MCNAIR DR                                                                                   ALEXANDRIA       VA    22309‐3956
LIZZIE GATSON                                    16603 TALFORD AVE                                                                                CLEVELAND        OH    44128‐1423
LIZZIE J DISMAN                                  PO BOX 29065                                                                                     INDIANAPOLIS     IN    46229‐0065
LIZZIE L JOHNSON                                 1811 HENRY RD                                                                                    ANNISTON         AL    36207‐6240
LIZZIE L TAYLOR                                  2819 QUEENSROAD AVE                                                                              JACKSON          MS    39213‐4637
LIZZIE M MASSEY                                  3500 MEADOWBROOK DR                                                                              LORAIN           OH    44053‐2744
LIZZIE M WILLIAMS                                8836 GOLDFIELDS DR                                                                               CHARLOTTE        NC    28227
LIZZIE R WATKINS                                 800 COUNTY RD 733                                                                                FLAT ROCK        AL    35966‐8002
LIZZIE R WILLIAMS                                318 WILLIAMS ST                                                                                  TROY             AL    36081‐1816
LIZZIETTA A BOOKER                               4146 12TH STREET                                                                                 ECORSE           MI    48229‐1224
LJUBICA GABRIC                                   10847 AVE E                                                                                      CHICAGO          IL    60617‐6749
LJUBICA PUPUCEVSKI                               53 ALGER DR                                                                                      ROCHESTER        NY    14624‐4842
LJUBICA STAJDUHAR                                1119 BUTTERMILK LN                                                                               PORT ORANGE      FL    32119‐4003
LJUBICA VALERIO                                  2913 TERRACE DR                                                                                  CHEVY CHASE      MD    20815‐3807
LJUBINKA POPOVIC                                 483 MARLPOOL DR                                                                                  SALINE           MI    48176‐1519
LJUBISA MILENOVIC                                6430 W BERTEAU AVE APT 203                                                                       CHICAGO          IL    60634‐6247
LJUBKA N KARAPASHEV TR LJUBKA NICEVSKA           704 VILLAGE PKWY                                                                                 FAIRLAWN         OH    44333‐9114
KARAPASHEV TRUST UA 02/26/01
LJUBO SARIC                                      9533 MCDOUGALL                                                                                   HAMTRAMCK        MI    48212‐3566
LJUBOMIR MORIC                                   29171 CHARDON RD                                                                                 WILLOUGHBY HILLS OH    44092‐1407

LJUDMILE SCHWEIGER                               8857 EAGLE RD                                                                                    KIRTLAND         OH    44094‐9328
LL BUNNIN                                        1600 AUTO CENTER DR                                                                              OXNARD           CA    93030
LL GARGANO                                       PO BOX 682                                                                                       NOLENSVILLE      TN    37135‐0682
LLDA E MORRIS                                    2110 NW 107TH AVE                                                                                PEMBROKE PINES   FL    33026‐2321
LLEWELLYN G HAVRILLA                             1316 WESTBEND DR                                                                                 SAINT CHARLES    MO    63304‐8624
LLEWELLYN HALL                                   510 PARKCLIFF                                                                                    YOUNGSTOWN       OH    44511‐3148
LLEWELLYN J BROWN                                19840 W 12 MILE RD                                                                               SOUTHFIELD       MI    48076‐2544
LLEWELLYN J KRIZAN                               2543 MARTIN AVE SE                                                                               GRAND RAPIDS     MI    49507
LLEWELLYN V LEAPER                               2780 MOROCCO RD                                                                                  IDA              MI    48140‐9533
LLOYD A BARCROFT                                 7449 PEDDLER LAKE RD                                                                             CLARKSVILLE      MI    48815‐9748
LLOYD A BARDFELD                                 21 ALBRO LANE                                                                                    LAWRENCE         NY    11559‐2800
LLOYD A BEAVER                                   645 EAST BESSINGER RD                                                                            TWINING          MI    48766‐9606
LLOYD A BROOKS                                   315 W MORGAN AVENUE                                                                              CHESTERTON       IN    46304‐2353
LLOYD A BROWN                                    27318 PIONEER RD                                                                                 WINDLAKE         WI    53185‐2712
LLOYD A CHAMBERS                                 340 ETHELROB CIR                                                                                 CARLISLE         OH    45005‐4295
LLOYD A DEAN                                     515 HEISS RD                                                                                     CEDAR SPRINGS    MI    49319‐9627
LLOYD A DROGMILLER                               12500 RATTALEE LAKE RD                                                                           DAVISBURG        MI    48350‐1210
LLOYD A FRAM                                     8618 WYNLEA                                                                                      HOUSTON          TX    77061‐3314
LLOYD A HALE                                     5805 LAKESHORE DR                                                                                NEWAYGO          MI    49337‐9025
LLOYD A HICKS                                    5921 VELMA AVE                                                                                   LAS VEGAS        NV    89108‐2481
LLOYD A HOCHSTETLER                              1083 HANCOCK AVE                                                                                 AKRON            OH    44314‐1064
LLOYD A JOHNSON                                  245 BEECHWOOD LANE                                                                               INDIANAPOLIS     IN    46227‐2169
                                                09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 842 of 855
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

LLOYD A MALWITZ TR LLOYD A MALWITZ FAMILY LIVING 14426 GRAFTON RD                                                                                 CARLETON           MI    48117‐9219
TRUST UA 05/10/05
LLOYD A N LARSON                                 3126 SALEM CHURCH RD                                                                             PUTNAM             IL    61560‐5007
LLOYD A NORTH                                    501 ELK SE DR                                                                                    ALBUQUERQUE        NM    87123‐3536
LLOYD A PICKEREL                                 72 MARY ST                                                                                       OZARK              AL    36360‐7735
LLOYD A POTTER                                   450‐80TH ST                                                                                      NIAGARA FALLS      NY    14304‐3364
LLOYD A SMITH                                    1520 E 40TH                                                                                      WHITE CLOUD        MI    49349‐9758
LLOYD A TAPP                                     3096 BROWNING RD                                                                                 ROCKMART           GA    30153‐4638
LLOYD A WELLS CUST LLOYD EWAN WELLS UTMA MN      623 8TH AVE S W                                                                                  ROCHESTER          MN    55902‐2000

LLOYD A WOLEVER                                   PO BOX 95                                                                                       VERMONTVILLE       MI    49096‐0095
LLOYD A WOLF & MRS HELEN R WOLF JT TEN            3838 RISEDORPH                                                                                  FLINT              MI    48506‐3130
LLOYD ADAMS                                       20187 TIPSICO LAKE RD                                                                           HOLLY              MI    48442‐9138
LLOYD ALBERT DICKINSON                            901 SENA DR                                                                                     METAIRIE           LA    70005‐1624
LLOYD ARNOLD RICHARDS                             1048 W CASS AVE                                                                                 FLINT              MI    48505‐1341
LLOYD B ARNOLD                                    PO BOX 14449                                                                                    SAGINAW            MI    48601‐0449
LLOYD B DOWN                                      1687 BASELINE ROAD                     COURTICE ON                            L1E 2S6 CANADA
LLOYD B HARRISON III                              3165 HICKORY RIDGE RD                                                                           DUNKIRK            MD    20754‐9673
LLOYD B HEMINGWAY                                 PO BOX 44                                                                                       OTTER LAKE         MI    48464‐0044
LLOYD B LITTLE                                    2865 CLUB FOREST DR                                                                             CONYERS            GA    30013‐4904
LLOYD B MC MAHAN                                  2504 JEFFERSON AVE                                                                              KNOXVILLE          TN    37914‐5228
LLOYD B SERVICE                                   402 N DEERFIELD                                                                                 LANSING            MI    48917‐2986
LLOYD B WILLIAM & MRS JOAN G WILLIAM JT TEN       231 HUNTER TRAIL                                                                                PIKE ROAD          AL    36064‐3415
LLOYD B WOODY                                     9205 MUELLER                                                                                    TAYLOR             MI    48180‐3512
LLOYD B WOODY & ELLA S WOODY JT TEN               9205 MUELLER                                                                                    TAYLOR             MI    48180‐3512
LLOYD BEST                                        840 MORTON PL                                                                                   EDWARDSVILLE       IL    62025‐2149
LLOYD BEVERLEY                                    18 ANVIL LN                                                                                     WARRINGTON         PA    18976‐1001
LLOYD BLUMENFELD CUST MICHAEL BLUMENFELD          11506 HUNTERS RUN DR                                                                            COCKEYSVILLE       MD    21030‐1941
UGMA MD
LLOYD C BERTRAND                                  915 RILEY CENTER RD                                                                             RILEY              MI    48041‐3510
LLOYD C HARMAN & MARGARET A HARMAN JT TEN         24 MANGAN PL                                                                                    HICKSVILLE         NY    11801‐2835

LLOYD C HILL                                      7083 SO GRAPE WAY                                                                               LITTLETON          CO    80122‐2535
LLOYD C HORLACHER                                 1203 WESLEY CT                                                                                  THORNTOWN          IN    46071‐8955
LLOYD C KOROLESKI                                 464 CALLAHAN RD                                                                                 BAY CITY           MI    48708‐9196
LLOYD C MCCUMBER                                  5314 WRIGHT AVE                                                                                 BALTIMORE          MD    21205‐3243
LLOYD C MCQUEEN JR                                6031 CONCORD PASS                                                                               FLINT              MI    48506‐1642
LLOYD CHARLES CREGOR                              #229                                   4820 AMESBURY DR                                         DALLAS             TX    75206‐4754
LLOYD CULLEN                                      894 WEATHERWOOD RD                                                                              SYMSONIA           KY    42082‐9526
LLOYD D BARRY                                     RR 1                                   HALIBURTON ON                          K0M 1S0 CANADA
LLOYD D CLARK                                     46717 SCHIMMEL CT                                                                               SHELBY TOWNSHIP    MI    48317‐3880

LLOYD D FRITZ & DORIS J FRITZ AS SURVIVORSHIP     2031 HIGHLAND AVE                                                                               WAUKESHA           WI    53186‐2527
MARITAL PROPERTY
LLOYD D GIFFORD                                   160 WILKINSON RD                                                                                OWOSSO             MI    48867‐1251
LLOYD D GOSS TR LLOYD D GOSS LIVING TRUST UA      731 MELLOWOOD DR                                                                                INDIANAPOLIS       IN    46217‐4843
04/20/95
LLOYD D HEALEY                                    129 TACOMA AVE                                                                                  LOGANSPORT         IN    46947‐2639
LLOYD D HOBBS                                     439 1/256TH ST‐2                                                                                GRAND JUNCTON      MI    49056
LLOYD D JACOBS                                    810 MIAMI BLVD                                                                                  KOKOMO             IN    46902‐5339
LLOYD D JOHNSTON                                  13608 14TH ST SE                                                                                PAGE               ND    58064‐9707
LLOYD D KAAKE                                     2929 E MAIN ST                         LOT 71                                                   MESA               AZ    85213‐9317
LLOYD D KERR                                      17565 PAMELA DR                                                                                 ATHENS             AL    35614‐5834
LLOYD D MCMAHAN                                   5797 BROAD BLVD                                                                                 NORTH RIDGEVILLE   OH    44039‐2211

LLOYD D MITCHELL                                  8186 LINDEN RD                                                                                  SWARTZ CREEK       MI    48473‐9151
LLOYD D REEDER                                    857 GARROW RD                                                                                   NEWPORT NEWS       VA    23608‐3387
LLOYD D REVIS                                     3600 WOODSIDE DR NW                                                                             WARREN             OH    44483‐2144
LLOYD D REYNOLDS                                  10453 SEYMOUR                                                                                   MONTROSE           MI    48457‐9015
                                              09-50026-mg               Doc 7123-46      Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 843 of 855
Name                                              Address1                               Address2              Address3         Address4          City               State Zip

LLOYD D SINGER                                    13548 S COUNTY ROAD 400 W                                                                       KOKOMO             IN    46901‐7514
LLOYD D SLATE                                     1717 WINDSOR LN                                                                                 LIBERTY            MO    64068‐3241
LLOYD D SMITH                                     2850 WALBRIDGE DR                                                                               ROCHESTER HILLS    MI    48307‐4457
LLOYD D SOWDERS                                   2183 COVEY VILLE RD                                                                             BEDFORD            IN    47421‐7265
LLOYD D STARIN                                    1200 N. MARTIN LUTHER KING JR. BLVD                                                             LANSING            MI    48915
LLOYD D TYSON                                     208 CADDO DRIVE                                                                                 ATLANTA            TX    75551‐3002
LLOYD DAVIS                                       15011 OAKFIELD                                                                                  DETROIT            MI    48227‐1405
LLOYD DAVIS                                       5805 CRIMSON OAK CT                                                                             HARRISBURG         NC    28075‐7595
LLOYD DORRIS JR                                   1044 BATES SE ST                                                                                GRAND RAPIDS       MI    49506‐2681
LLOYD E ADAMS                                     ROUTE 1                                BOX 155                                                  THOMPSONVILLE      IL    62890‐9635
LLOYD E AUSTIN                                    8850 N LOSTCREEK SHELBY RD                                                                      FLETCHER           OH    45326‐9716
LLOYD E BLAHNIK                                   623 LARK DRIVE                                                                                  LAKELAND           FL    33813‐1146
LLOYD E BLAHNIK & MRS LA VERNE D BLAHNIK JT TEN   623 LARK DR                                                                                     LAKELAND           FL    33813‐1146

LLOYD E BONZO                                     104 SWIFT DEER TRL                                                                              PRUDENVILLE        MI    48651‐9561
LLOYD E BRANE                                     1706 E 300 N                                                                                    HARTFORD CITY      IN    47348‐9067
LLOYD E COLEMAN & VIRGINIA COLEMAN JT TEN         5125 BRIDGEWATER LN                                                                             BRUNSWICK          OH    44212‐6262
LLOYD E CONNER                                    10101 W DIVISION ROAD                                                                           YORKTOWN           IN    47396‐9659
LLOYD E DOBBINS                                   7094 N 300 E                                                                                    GREENFIELD         IN    46140‐8047
LLOYD E EMMETT                                    317 FRANKLIN                                                                                    FREDERICKTOWN      MO    63645‐1555
LLOYD E FLIPPIN                                   32384 FERTILE RD                                                                                WARSAW             MO    65355‐4762
LLOYD E GIBSON                                    801 ST JOSEPH ST                                                                                ATCHISON           KS    66002‐3038
LLOYD E HILMANOWSKI                               24090 GANDER DR                                                                                 PARK RAPIDS        MN    56470‐6276
LLOYD E KEMPER                                    6840 RHINEVIEW CT                                                                               DAYTON             OH    45459‐1228
LLOYD E KIRBY                                     5150 N COUNTY ROAD 400 E                                                                        PITTSBORO          IN    46167‐9353
LLOYD E KIRBY JR                                  5150 N CO RD 400 E                                                                              PITTSBORO          IN    46167
LLOYD E KOONS & SCOTT HINKLEY JT TEN              2 SUNSET DRIVE                                                                                  RICHMOND           IN    47374‐1927
LLOYD E LACEY JR                                  13391 CAMP COMFORT RD                                                                           GREENE             IA    50636‐9127
LLOYD E LEATHERS                                  9692 NORTH STATE ROAD 39                                                                        LIZTON             IN    46149‐9552
LLOYD E LEWIN                                     1137 NIAGARA SE                                                                                 GRAND RAPIDS       MI    49507‐1466
LLOYD E LONG                                      3507 LAUREL RIDGE RD NW                                                                         ROANOKE            VA    24017‐1001
LLOYD E MARTINDALE                                62 PARKVIEW STREET                                                                              LEAVITTSBURG       OH    44430‐9704
LLOYD E MC ANANY                                  35417 ROCKVILLE RD                                                                              LOUISBURG          KS    66053‐4515
LLOYD E MC ANANY & DONNA M MC ANANY JT TEN        35417 ROCKVILLE RD                                                                              LOUISBURG          KS    66053‐4515

LLOYD E MILLER                                    223 PORTER ST                                                                                   NEW IBERIA      LA       70560‐4472
LLOYD E PROCTOR                                   1037 EASTLAWN DR                                                                                NEW WHITELAND   IN       46184‐1040
LLOYD E PRUSZ TR LLOYD E PRUSZ UA 04/20/83        10069 S 800 W                                                                                   HOLLAND         IN       47541‐9723
LLOYD E PULDA                                     820 OLIVER COURT                                                                                NORTH BRUNSWICK NJ       08902‐5549

LLOYD E QUEEN                                     4341 FOX COURT                                                                                  TRENTON            MI    48183‐4003
LLOYD E REUSS CUST CHARLENE F REUSS UGMA MI       ATTN CHARLENE GRANDELIUS               3747 THORNBRIER WAY                                      BLOOMFIELD HILLS   MI    48302‐1570

LLOYD E ROBINSON                                  905 OSAGE AVE                                                                                   WEST COLUMBIA      SC    29169‐6913
LLOYD E SCHNABELRAUCH                             855 ONONDAGA RD                                                                                 HOLT               MI    48842‐9664
LLOYD E SLOAN                                     4251 HUDSON DR                         # 129                                                    OAKWOOD            GA    30566‐2557
LLOYD E SWAFFORD                                  202 REDBUD CT                                                                                   WARRENTON          MO    63383‐5253
LLOYD E THEIMER                                   1591 COUNTY RD H                                                                                COLBY              KS    67701‐9365
LLOYD E WING                                      1701 FREDERICK ST                                                                               OWOSSO             MI    48867‐4017
LLOYD F CHANEY                                    0056 W 200 S                                                                                    HARTFORD CITY      IN    47348‐9732
LLOYD F CURRY                                     221 RATTLESNAKE POINT ROAD                                                                      ROCKPORT           TX    78382‐9544
LLOYD F HARLESS                                   7332 NEWTON FALLS RD                                                                            RAVENNA            OH    44266‐9688
LLOYD F KING                                      3144 W DARTMOUTH                                                                                FLINT              MI    48504‐2467
LLOYD F LEDET JR & SALVA ANN FAILLA TEN COM       3728 SEVERN AVENUE                                                                              METAIRIE           LA    70002‐1671
LLOYD F RAKE                                      PO BOX 639                                                                                      LAKE COMO          FL    32157‐0639
LLOYD F SMITH                                     105 MOUNTAIN VIEW DR                                                                            BEDFORD            TX    76021‐4172
LLOYD F WILSON                                    11029 PHYLLIS DR                                                                                CLIO               MI    48420‐1544
LLOYD G BLANKENSHIP                               2100 LEFEVRE ROAD                                                                               TROY               OH    45373‐2010
LLOYD G BRINK                                     5403 WARREN‐SHARON RD BOX192                                                                    VIENNA             OH    44473‐9721
                                               09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 4 of 8 Pg 844 of 855
Name                                               Address1                             Address2             Address3          Address4          City              State Zip

LLOYD G BULLOCK JR                                 PO BOX 1271                                                                                   BENTON            LA    71006‐1271
LLOYD G CARPENTER                                  4056 MAGNOLIA DR                                                                              BRUNSWICK         OH    44212‐1573
LLOYD G CRUTHERS & DIANA L CRUTHERS JT TEN         2938 ARIZONA AVE                                                                              FLINT             MI    48506‐2440
LLOYD G DEITZ JR                                   505 ANN AVE                                                                                   HARRISON          MI    48625‐9720
LLOYD G ENGERT                                     908 BALD CYPRESS DR                                                                           MANDEVILLE        LA    70448‐1092
LLOYD G HAZEN                                      42415 SARATOGA RD                                                                             CANTON            MI    48187‐3071
LLOYD G LAFFERTY                                   19760 IVEY RD                                                                                 CHELSEA           MI    48118
LLOYD G LINDSEY                                    3421 LEVEE                                                                                    WATERFORD         MI    48329‐2251
LLOYD G NOBLITT                                    RT 1 BOX 181 G                                                                                KIRBYVILLE        TX    75956‐9719
LLOYD G ROYCE                                      PO BOX 128                                                                                    MONTROSE          MI    48457‐0128
LLOYD G SCHEFFEL TR THOMAS LLOYD SCHEFFEL TR NO    1404 APPLE CT APT B                                                                           MT PROSPECT       IL    60056‐6310
01‐DTD 4/24/74
LLOYD G SMITH                                      5299 NW 4TH TER                                                                               POMPANO BEACH     FL    33064‐2357
LLOYD G SMITH                                      W16104 SIMMONS WOODS RD                                                                       GOULD CITY        MI    49838
LLOYD G SMYTH                                      5505 POWELL RD                                                                                DAYTON            OH    45424‐4152
LLOYD G SOLARZ & MARY I SOLARZ TR SOLARZ FAM       35358 ELM ST                                                                                  WAYNE             MI    48184‐1214
TRUST UA 06/18/98
LLOYD G STAMM                                      16713 TROWBRIDGE RD                                                                           WOLVERINE         MI    49799‐9704
LLOYD G TRUAN                                      7677 TERRI DR                                                                                 WESTLAND          MI    48185‐9449
LLOYD G TRUAN & DELORES E TRUAN JT TEN             7677 TERRI DR                                                                                 WESTLAND          MI    48185‐9449
LLOYD GLAZE JR                                     1111 SAGECREST DR                                                                             COLUMBUS          OH    43229‐5510
LLOYD H CAGLE                                      1350 E BRIARWOOD TERR                                                                         PHOENIZ           AZ    85048‐8689
LLOYD H CAGLE & HELEN M CAGLE JT TEN               1350 E BRIARWOOD TERR                                                                         PHOENIZ           AZ    85048‐8689
LLOYD H FLECTCHER                                  1012 PINETTA RD                                                                               OCILLA            GA    31774‐3002
LLOYD H GRUVER                                     6948 MEANDER RESERVE CT                                                                       CANFIELD          OH    44406‐8680
LLOYD H LEWIS                                      1991 S 750 W                                                                                  RUSSIAVILLE       IN    46979‐9736
LLOYD H MCCOIN                                     8031 CALLA KNOLL CIRCLE                                                                       SPRINGFIELD       VA    22153
LLOYD H MCINTIRE                                   4074 ASHEVILLE DR                                                                             BUFORD            GA    30519‐6902
LLOYD H MCINTIRE & ELIZABETH ANN MCINTIRE JT TEN   4074 ASHEVILLE DR                                                                             BUFORD            GA    30519‐6902

LLOYD H MCNABB                                     31607 ECORSE RD                                                                               ROMULUS           MI    48174‐1923
LLOYD H RHULE                                      3713 W 1000 S                                                                                 PENDLETON         IN    46064‐9523
LLOYD H RICHARDSON                                 PO BOX 2838                                                                                   GRAND JCT         CO    81502
LLOYD H ROGERS & PATRICIA A ROGERS JT TEN          1717 MILLWOOD AVE                                                                             ROSEVILLE         MN    55113‐1430
LLOYD H SANDERS JR                                 6712 SCOTTEN AVE                                                                              DETROIT           MI    48210‐1334
LLOYD H SCHMIDT                                    2690 NO CENTER                                                                                SAGINAW           MI    48603‐2947
LLOYD H SWIFT                                      2210 SEWELL ST                                                                                LINCOLN           NE    68502‐3850
LLOYD H TRIPP                                      21 ROLLING GREEN CT                                                                           FAIRFIELD GLADE   TN    38558‐8748
LLOYD H WILKINSON & AMY L WILKINSON JT TEN         1505 N 112TH CT                      APT 5320                                                 OMAHA             NE    68154‐5803
LLOYD HAROLD HOLLINGSWORTH                         1659 S RIDGEVIEW RD                                                                           LOGANSPORT        IN    46947‐8256
LLOYD HARROLD GOODING JR                           4990 WOODROSE LANE                                                                            ANDERSON          IN    46011‐8761
LLOYD HATHAWAY                                     1211 E FARRAGUT ST                                                                            CROWN POINT       IN    46307‐3505
LLOYD HAWKINS                                      RR 1 BOX 326                                                                                  SALT ROCK         WV    25559‐9729
LLOYD HENSLEY                                      175 LLOYD HENSLEY LN                                                                          ERWIN             TN    37650‐4527
LLOYD HUGHES                                       3701 WILDER RD                                                                                VASSAR            MI    48768‐9734
LLOYD I ATNIP                                      2200 WISMER                                                                                   ST LOUIS          MO    63114‐3515
LLOYD J BLANEY                                     605 OWEN ROAD                                                                                 MONONA            WI    53716‐3441
LLOYD J BOISSENIN                                  7410 OLD DYSINGER RD                                                                          LOCKPORT          NY    14094‐9324
LLOYD J BRUCE                                      8463 FLETCHER RD                                                                              GRAND BLANC       MI    48439‐8908
LLOYD J ENGMAN & MRS ANNE BIRD ENGMAN JT TEN       920 PLANTATION BLVD #14                                                                       FAIRHOPE          AL    36532‐2930

LLOYD J FIRMIN TR UA 01/31/07 LLOYD J FIRMIN       602 LAFAYETTE ST                                                                              FLINT             MI    48503‐5332
REVOCABLE TRUST
LLOYD J GETZEN JR                                  6188 GREEN RD                                                                                 HASLETT           MI    48840‐9788
LLOYD J GONYEA & LOUISE J GONYEA JT TEN            19101 S HIGHLITE DR                                                                           CLINTON TWP       MI    48035‐2548
LLOYD J HERMAN & JUDY L DELANIS JT TEN             4808 S SEDGEWICK RD                                                                           CLEVELAND         OH    44124‐1109
LLOYD J HILL                                       9027 S YOUNG RD                                                                               FALMOUTH          MI    49632‐9718
LLOYD J KELLAM                                     PO BOX 567                                                                                    EXMORE            VA    23350‐0567
LLOYD J MCCLIGGOTT                                 3067 RUMSEY ROAD                                                                              AUGRES            MI    48703‐9490
                                               09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 4 of 8 Pg 845 of 855
Name                                                 Address1                               Address2             Address3          Address4          City             State Zip

LLOYD J MIZURA                                       9616 E 56TH ST                                                                                  COUNTRYSIDE      IL    60525‐7219
LLOYD J NELSON                                       7205 E BOWERS LAKE RD                                                                           MILTON           WI    53563‐9788
LLOYD J ROUHIER & VILMA A ROUHIER JT TEN             5222 MAD RIVER RD                                                                               DAYTON           OH    45429‐2028
LLOYD J ROWELL                                       1375 EGGLESTON DRIVE                                                                            FLINT            MI    48504
LLOYD J TIEDE                                        6840 E BAY RD                                                                                   WOLCOTT          NY    14590‐9373
LLOYD J WARNER                                       C/O HILDA WARNER                       420 HOWTHORNE ST                                         ELYRIA           OH    44035‐3737
LLOYD J WOMBOLD                                      240 E MAIN STREET BOX 693                                                                       VERONA           OH    45378‐0693
LLOYD J ZIEGLER                                      10705 PORTER ST                                                                                 CROWN POINT      IN    46307‐2840
LLOYD JOHNSON JR                                     138 CHESTNUT HILL RD                                                                            NEW TAZEWELL     TN    37825‐2422
LLOYD JOSEPH DUFEK                                   46 INDEPENDENCE DR                                                                              DAVISON          MI    48423‐2657
LLOYD JUNIOR UPDIKE                                  2841 TENNYSON STREET                                                                            LINCOLN          NE    68516‐2787
LLOYD K COOLEY                                       SHANGHAI                               PO BOX 9022                                              WARREN           MI    48090‐9022
LLOYD K LAMBERT                                      1270 S L ST                            APT 1                                                    ELWOOD           IN    46036‐2764
LLOYD K LYNN                                         12280 SPRINKLE RD                                                                               VICKSBURG        MI    49097‐8466
LLOYD KJOS JR                                        1388 CINDY DRIVE                                                                                OAKDALE          CA    95361‐3282
LLOYD L CARSON SR                                    4946 HADLEY RD                                                                                  MOORESVILLE      IN    46158‐6618
LLOYD L COCKING & DOLORES A COCKING JT TEN           3191 BLAINE AVE                                                                                 TRENTON          MI    48183‐3401
LLOYD L DAVIS                                        2214 GRAFTON RD                                                                                 GRAFTON          OH    44044‐9781
LLOYD L DAVIS                                        536 MELODY LANE                                                                                 MANSFIELD        OH    44905‐2754
LLOYD L DAVIS & FAY M DAVIS JT TEN                   2214 GRAFTON RD                                                                                 GRAFTON          OH    44044‐9781
LLOYD L FALK                                         123 BETTE RD                                                                                    WILMINGTON       DE    19803‐3430
LLOYD L GIBBS                                        2451 SODOM RD                                                                                   ORWELL           OH    44076
LLOYD L KUCK                                         2644 VINELAND TRAIL                                                                             DAYTON           OH    45430‐1819
LLOYD L LEWIS                                        1614 WEXFORD DRIVE                                                                              MURFREESBORO     TN    37129‐5846
LLOYD L LOAR                                         PO BOX 133                                                                                      VERMONTVILLE     MI    49096‐0133
LLOYD L MINCEY                                       2446 MEDLOCK CMNS                                                                               DECATUR          GA    30030‐1599
LLOYD L PETERS                                       783 SHETLAND AVENUE                                                                             BOWLING GREEN    KY    42104‐7542
LLOYD L SCHMELZLE                                    7705 EAST BRITTON DRIVE                                                                         NIAGARA FALLS    NY    14304‐5411
LLOYD L THOMAS                                       8202 ROSSMAN HWY                                                                                DIMONDALE        MI    48821‐9715
LLOYD L TURNER                                       4901 RIOVIEW                                                                                    CLARKSTON        MI    48346‐3675
LLOYD L WILLIS & MARGARET S WILLIS JT TEN            5756 APPLE GROVE LANE                                                                           CROZET           VA    22932‐3500
LLOYD LASKE & MILDRED LASKE JT TEN                   6 HORIZON RD                                                                                    FORT LEE         NJ    07024‐6652
LLOYD LAVERN EMPEY                                   7124 HESS RD                                                                                    MILLINGTON       MI    48746‐9127
LLOYD LINCOLN                                        315 HOWLAND AVE                                                                                 INGLEWOOD        NJ    07631‐3208
LLOYD M ARGOE JR                                     306 S CASS ST                                                                                   MIDDLETOWN       DE    19709‐1309
LLOYD M ARMSTRONG & LAREN L ARMSTRONG JT TEN         13276 DARNELL AVE                                                                               PORT CHARLOTTE   FL    33981‐6124

LLOYD M BENTLEY                                      420 CUNNINGHAM RD                                                                               JEFFERSONVILLE   KY    40337‐9336
LLOYD M COOKE                                        453 SWEETWATER WY                                                                               HAINES CITY      FL    33844‐6367
LLOYD M ELLIS                                        1500 HAMPSHIRE PIKE                    APT J3                                                   COLUMBIA         TN    38401‐5605
LLOYD M HUDDLESTON                                   4005 HWY 100 SOUTH                                                                              BOWDON           GA    30108‐3129
LLOYD M MOORE                                        925 RHODES ST NW                                                                                HARTSELLE        AL    35640‐4438
LLOYD M NYHUS                                        1460 N SANDBURG TER                    APT 2605                                                 CHICAGO          IL    60610‐5572
LLOYD M PETRIE JR & MRS BETTY PETRIE JT TEN          #6 ENCORE                                                                                       ORANGE           TX    77630
LLOYD MALLER                                         479 GREENBRIAR COURT                                                                            NORTH HILLS      NY    11576‐3071
LLOYD MILLER                                         620 WATER ST                                                                                    PHILO            OH    43771‐9710
LLOYD N THOMAS                                       3514 BENNETT                                                                                    FLINT            MI    48506‐4704
LLOYD NEARING & ELIZABETH ANNE NEARING JT TEN        13418 LONG CYPRESS TR                                                                           JACKSONVILLE     FL    32223‐5577

LLOYD NELSON CLICKNER                                206 PIERRE DR BOX 10                   EMERYVILLE ON                          N0R 1C0 CANADA
LLOYD NOBLE                                          6122 EAST ROUTE 40                                                                              LEWISBURG        OH    45338‐9731
LLOYD NOBLE II TR LLOYD NOBLE II TRUST UA 06/16/82   20 E FIFTH STE 1212                                                                             TULSA            OK    74103‐4461

LLOYD O BANKS & VEATRICE M BANKS JT TEN              57 JOES CREEK RD                                                                                COMFORT          WV    25049‐9621
LLOYD O BRADLEY                                      105 PAMELA DR                                                                                   VERSAILLES       MO    65084‐2013
LLOYD O LEGRAND JR                                   15 LAKE FOREST CIR                                                                              LAKE ST LOUIS    MO    63367‐1348
LLOYD P BECKLEY                                      901 E 168TH ST                                                                                  SOUTH HOLLAND    IL    60473‐3027
LLOYD P GANSS                                        21 CHISOLM TRAIL                                                                                GREENVILLE       SC    29607‐3701
LLOYD P GRAVES                                       1726 COUNTRY CLUB ROAD                                                                          INDIANAPOLIS     IN    46234‐1827
                                               09-50026-mg                Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 846 of 855
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

LLOYD P WILLIAMS                                 12615 JUDD ST                                                                                    PACOIMA         CA    91331‐1319
LLOYD PAUL IRISH                                 7041 SPEAR STREET                                                                                SHELBURNE       VT    05482‐6584
LLOYD POSEY WEBRE JR                             5943 RIVERVIEW WAY                                                                               HOUSTON         TX    77057‐1433
LLOYD R BENNETT                                  13638 NANCY ST                                                                                   PAULDING        OH    45879‐8869
LLOYD R BLACKA                                   27733 RUBIDOUX                                                                                   MISSION VIEJO   CA    92692‐5202
LLOYD R BLAIR                                    21 ROBINSON ST                                                                                   MASSENA         NY    13662‐2400
LLOYD R DAVIS JR                                 308 36TH ST                                                                                      BAY CITY        MI    48708‐8225
LLOYD R DE YEAR CUST DANIEL E DE YEAR UGMA NY    6613 OAKMONT CT                                                                                  PLANO           TX    75093‐6334

LLOYD R DOYENS & VIRGINIA B DOYENS JT TEN        807 DONCASTER DR                                                                                 MAINEVILLE       OH   45039‐7526
LLOYD R EDWARDS                                  13472 ST ANDREWS                                                                                 WARREN           MI   48089‐2844
LLOYD R KINARD                                   12898 US HWY 82 WEST                                                                             BROOKSTON        TX   75421‐2418
LLOYD R LOTZ JR                                  1500 MC CARTHY CT                                                                                LOUISVILLE       KY   40222‐4325
LLOYD R MARTIN                                   2980 HAINES BAYSHORE RD                 APT 149                                                  CLEARWATER       FL   33760‐1524
LLOYD R MILLET                                   322 HIGHLAND AVE                                                                                 SYRACUSE         NY   13203‐1608
LLOYD R OPPER                                    12270 E BURT RD                                                                                  BIRCH RUN        MI   48415‐9326
LLOYD R PANTHER                                  2806 SAGE ST                                                                                     COLORADO SPRINGS CO   80907‐5866

LLOYD R REASONER                                C/O SANDY COLOMBINI                      6076 NEWBURY CT                                          COLUMBUS        OH    43229‐1939
LLOYD R SIMMONS JR                              APT 9H                                   100‐9 ALCOTT PL                                          BRONX           NY    10475
LLOYD R TROYER                                  3402 HOGARTH                                                                                      FLINT           MI    48503‐3423
LLOYD R WILLIAMS                                3408 RIDGECLIFFE DR                                                                               FLINT           MI    48532‐3738
LLOYD RABKIN CUST SHERYL R RABKIN UGMA CA       2309 MAR EAST ST                                                                                  BEL TIBURON     CA    94920‐1925
LLOYD REMELIUS COLEMAN                          2706 ELMWOOD AVE                                                                                  SAGINAW         MI    48601‐7407
LLOYD ROSE                                      29482 OAKHILL CT                                                                                  ROCKWOOD        MI    48173‐1271
LLOYD ROSENBERG                                 PMB 633                                  1350 E FLAMINGO RD                                       LAS VEGAS       NV    89119‐5263
LLOYD S CHASE & MRS RUIE E CHASE JT TEN         9418 LINDA DRIVE                                                                                  DAVISON         MI    48423‐1797
LLOYD S LUCAS                                   9036 MERRIMAN RD                                                                                  LIVONIA         MI    48150‐3987
LLOYD S PETERS                                  4236 N 104TH ST 7                                                                                 MILWAUKEE       WI    53222‐1222
LLOYD S SORENSEN                                644 HILLSIDE DRIVE                                                                                SOLVANG         CA    93463‐2165
LLOYD S TERRY                                   292 W MARION ST                                                                                   DANVILLE        IN    46122‐1756
LLOYD S WEBB                                    624 TIMOTHY LANE                                                                                  CLEVELAND       OH    44109‐3731
LLOYD SING‐TAD YANG CUST THEODORE E YANG UGMA 25585 EL CAPITAN LANE                                                                               LAGUNA HILLS    CA    92653‐5304
CA
LLOYD SMITH                                     29 WAINWRIGHT DR                                                                                  DAYTON          OH    45431‐1317
LLOYD T BORON                                   9877 GRAFTON                                                                                      CARLOTON        MI    48117‐9046
LLOYD T EAGLE & MRS JOAN M EAGLE JT TEN         3878 KINGSTON BLVD                                                                                SARASOTA        FL    34238‐2646
LLOYD T JENKINS                                 20200 STRATHMOOR                                                                                  DETROIT         MI    48235‐1692
LLOYD T SCOTT & PHIIOWN C SCOTT JT TEN          PO BOX 90148                                                                                      LOS ANGELES     CA    90009‐0148
LLOYD V CUMMINS                                 9124 WEST 52ND ST                                                                                 INDIANAPOLIS    IN    46234‐2807
LLOYD V HOLT                                    5345 EAST 100 NORTH                                                                               KOKOMO          IN    46901‐8313
LLOYD V PHILLIPS                                2873 CARIE HILL CIRCLE NW                                                                         MASSILLON       OH    44646‐2362
LLOYD V ROBERTSON                               RR 3 BOX 302                                                                                      BLOOMFIELD      IN    47424‐9654
LLOYD W CLARK                                   8700 S HEMLOCK RD                                                                                 ST CHARLES      MI    48655‐9712
LLOYD W CUSKADEN                                6 SANDRA LN                                                                                       ATHENS          AL    35611‐4852
LLOYD W EAKER & GLORIA HERMONETTA REED EAKER JT 4235 E TER CREEK CIRCLE                                                                           HOUSTON         TX    77014‐2024
TEN
LLOYD W FISHER                                  418 MARSHALL RD                                                                                   MCDONALD        OH    44437
LLOYD W GERSTUNG                                244 WINDERMERE RD                                                                                 LOCKPORT        NY    14094‐3434
LLOYD W GERSTUNG & JUDITH E GERSTUNG JT TEN     244 WINDERMERE RD                                                                                 LOCKPORT        NY    14094‐3434

LLOYD W GREEN & CAROLYN GREEN JT TEN             #28 GLEN FALLS VILLAGE                                                                           GOFFSTOWN       NH    03045
LLOYD W HOPKINS JR & PHOEBE L HOPKINS JT TEN     69 BERTOLET MILL RD                                                                              OLEY            PA    19547‐8902

LLOYD W KILBREATH                                7501 COLE RD                                                                                     DURAND          MI    48429‐9426
LLOYD W KNIFFEN                                  295 MARY LOU AVE #2                                                                              YONKERS         NY    10703‐1903
LLOYD W MOORE                                    108 SAWMILL RD                                                                                   LYONS           OH    43533‐9759
LLOYD W OLIVER                                   7815 E M21                                                                                       CORUNNA         MI    48817‐9530
LLOYD W RAPELJE                                  111 W GUY ST                                                                                     LINWOOD         MI    48634‐2519
                                               09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 4 of 8 Pg 847 of 855
Name                                             Address1                             Address2               Address3        Address4          City            State Zip

LLOYD W RAPELJE JR                               200 SOUTH LAWN                                                                                AUBURN          MI    48611‐9329
LLOYD W SCHRADER                                 1801 U S 27 S                                                                                 LAKE PLACID     FL    33852‐8405
LLOYD W SWAN                                     9340 MILLER RD                                                                                SWARTZ CREEK    MI    48473‐8572
LLOYD W WILSON                                   2572 ST HWY 11B                                                                               POTSDAM         NY    13676‐3327
LLOYD WAYNE SAYLAND                              BOX 298                                                                                       MAYSVILLE       NC    28555‐0298
LLOYD WELLS & MICHELLE SHEPHERD WELLS JT TEN     2324 COLTS BROOK DRIVE                                                                        HERNDON         VA    20191‐5850

LLOYD WHITAKER                                   7069 LAVENDER LN                                                                              WATERFORD       MI    48327‐4416
LLOYD WIEGHMINK & DALE WIEGHMINK JT TEN          865 HARVEST DR                                                                                HOLLAND         MI    49423‐7802
LLOYD WILLIAM CAUDILL                            ESTELLE F CAUDILL                    19357 MILWAUKEE ROAD                                     MILAN           MI    48160‐9263
LLOYD WILLIAM PENDER                             2 WATROUS LN                                                                                  MILFORD         CT    06460‐3750
LLWAYNE A BERRINGER                              17329 RT 36                                                                                   PUNXSUTAWNEY    PA    15767‐3310
LLYOD H SELLE                                    16300 SILVER PKWY APT 143                                                                     FENTON          MI    48430
LO WILLA J WILSON                                6811 S 230 E AVE                                                                              BROKEN ARROW    OK    74014‐2118
LOA ELAINE HAYES                                 C/O L ELAINE KOURTAKIS               884 CLARA                                                WALLED LAKE     MI    48390‐1018
LOA P TODD                                       280 LISTON ROAD                                                                               KENMORE         NY    14223‐1325
LOAN BLINNE CUST PETER DANG TRUONG UTMA MO       212 PRAIRIE RIDGE DR                                                                          HERMANN         MO    65041‐3012

LOANN L HAEGELE TOD IRWIN E HAEGELE SUBJECT TO   23122 ERWIN ST                                                                                WOODLAND HLS    CA    91367
STA TOD RULES
LOANNA M PLOTNER                                 411 MEADOWOOD DR                                                                              GREENSBURG      PA    15601‐7803
LOC B HUYNH                                      972 N LARRABEE ST 220                                                                         W HOLLYWOOD     CA    90069‐3938
LOC FARMS INCORPORATED                           C/O ROBERT CRIBBS                    1622 MT VERNON RD W                                      MOUNT VERNON    IA    52314‐9533
LOCKETT TERRY                                    18630 NADOL DRIVE                                                                             SOUTHFIELD      MI    48075‐5823
LOCKLYN WHYNOT                                   6472 CORK STREET                     HALIFAX NS                             B3K 1Z4 CANADA
LOCKPORT TOWN & COUNTRY CLUB                     717 EAST AVE                                                                                  LOCKPORT        NY    14094‐3328
LOCKWOOD EDDY CUST ERICA ROSE EDDY UTMA CA       30851 WEST AGOURA ROAD               SUITE 305                                                AGOURA HILLS    CA    91301‐4346

LOCKWOOD YOUNG & MRS GERALDINE W YOUNG JT        2475 AHA AINA PL                                                                              HONOLULU        HI    96821‐1001
TEN
LOE J TACKETT                                    241 LEAVER ST                        PO BOX 67                                                VERNON          MI    48476‐0067
LOELLA KLEITZ                                    2603 NW 3RD TER                                                                               BLUE SPRINGS    MO    64014‐1201
LOENNA J MCFARLAND                               2100 BRACEY DRIVE                                                                             SPRINGFIELD     TN    37172‐4730
LOETTAMARY HOYLE                                 4104 N BELSAY RD                                                                              FLINT           MI    48506‐1636
LOGAN B ADAIR & CATHERINE M HANSEN JT TEN        4121N BLOOM RD                                                                                MANISTIQUE      MI    49854
LOGAN BAGLEY & MAGGIE BAGLEY JT TEN              PO BOX 13538                                                                                  DETROIT         MI    48213‐0538
LOGAN JOSSELYN SCROGGY                           430 PATTERSON                                                                                 MONROVIA        CA    91016‐1623
LOGAN KELLEY                                     4603 S CRYSTAL WAY UNIT F                                                                     AURORA          CO    80015‐3929
LOGAN MCFADDEN                                   77 HOWINGTON LN                                                                               CORBIN          KY    40701‐9541
LOGAN SMITH JR                                   1618 BUNKER HILL RD                                                                           COLUMBUS        GA    31907‐7415
LOHMAN C SQUIBBS                                 2923 WILOW OAKS DR                                                                            EDGEWATER       FL    32141‐5630
LOI E PENROSE & ANITA L PENROSE JT TEN           PO BOX 3692                                                                                   MANSFIELD       OH    44907‐0692
LOI V NGO                                        2117 SW 63RD ST                                                                               OKLAHOMA CITY   OK    73159‐1819
LOICE J BARNES                                   78238 SUNRISE CANYON AVE                                                                      PALM DESERT     CA    92211‐2742
LOIE C VANWINKLE                                 C/O WAYNE VANWINKLE                  3083 PAINTED HILLS                                       LAS VEGAS       NV    89120‐3433
LOIRENE S HARRISON                               7811 BRONZE LN                                                                                PRINCE GEORGE   VA    23875‐3120
LOIS A ALEXANDER                                 10197 DAR LANE                                                                                GOODRICH        MI    48438‐9403
LOIS A ARMSTRONG & THOMAS H ARMSTRONG JT TEN     525 S TIPSICO LAKE RD                                                                         MILFORD         MI    48380‐1441

LOIS A BELL                                      13526 SANDERLING PLACE                                                                        GERMANTOWN       MD   20874‐3468
LOIS A BITTLE                                    2600 MARGIE STREET                                                                            METAIRIE         LA   70003‐3529
LOIS A BOWERS                                    2200 VERSAILLES DR                                                                            KOKOMO           IN   46902‐2964
LOIS A BRIDGFORD                                 255 COURTYARD BLVD                   APT 214                                                  SUN CITY CTR     FL   33573‐5798
LOIS A CAMPEAU                                   23205 BREST                                                                                   TAYLOR           MI   48180‐4117
LOIS A CARLEY                                    159 PRINCETON RD                                                                              ROCKVILLE CENTRE NY   11570‐2140

LOIS A CHAMBLEE                                  3800 SW BLVD                                                                                  FORT WORTH      TX    76116
LOIS A CHANDLER                                  9724 W HAYES PL                                                                               WEST ALLIS      WI    53227‐2220
LOIS A CIBA & CHRISTINE MUSFELT JT TEN           34726 N OAK AVE                                                                               INGLESIDE       IL    60041‐9542
                                              09-50026-mg                     Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 4 of 8 Pg 848 of 855
Name                                                 Address1                                Address2                  Address3     Address4          City              State Zip

LOIS A CRAWFORD                                      231 FOXWOOD DR                                                                                   BAYTOWN           TX    77520
LOIS A CRAWFORD CUST ANDREA M CRAWFORD UGMA          322 NORTH FAIRVIEW AVE                                                                           LANSING           MI    48912
OH
LOIS A CRAWFORD CUST KIMBERLY M CRAWFORD             4848 PIN OAK PARK APT 216                                                                        HOUSTON           TX    77081‐2275
UGMA OH
LOIS A CRAWFORD CUST NATHAN R CRAWFORD UGMA          1107 RYCHOAKS LN                                                                                 MOUNT PLEASANT    TX    75455‐9794
OH
LOIS A CROUSE                                        ATTN LOIS A CROUSE WYDNER               122 GORITZ ROAD                                          MILFORD           NJ    08848‐2022
LOIS A DEBES                                         3833 ORION COURT                                                                                 BOULDER           CO    80304‐1024
LOIS A DELK                                          C/O PECK & PECK                         PO BOX 1448                                              ANDERSON          IN    46015‐1448
LOIS A DRODGE & JOHN A DRODGE JT TEN                 6411 ALP COURT                                                                                   HUBER HEIGHTS     OH    45424‐3404
LOIS A DUDLEY                                        228 HAYDEN AVE                                                                                   SYRACUSE          NY    13204
LOIS A FAVALO                                        5963 ALASTAIR                                                                                    CLAY              NY    13039‐9066
LOIS A FEICK                                         746 PINE TRAIL                                                                                   ARNOLD            MD    21012‐1630
LOIS A FENOGLIO                                      253 ASPEN DR                                                                                     NEW LENOX         IL    60451‐1473
LOIS A FINKLER                                       501 MARSH RIDGE DR APT 202                                                                       GRAND RAPIDS      MI    49504‐5879
LOIS A FINNEY                                        C/O LOIS A YOUNG                        4647 LEIX ROAD                                           MAYVILLE          MI    48744‐9690
LOIS A FONCE                                         30 MILLCREEK DR                                                                                  NILES             OH    44446‐3208
LOIS A GEARHART & BRYAN GEARHART JT TEN              1301 6TH ST                                                                                      KIRKLAND          WA    98033‐5658
LOIS A GILBERT                                       13800 FAIRHILL RD #502                                                                           CLEVELAND         OH    44120‐1280
LOIS A GOGUEN & ROBERT O GOGUEN JT TEN               PO BOX 104                                                                                       ASHBY             MA    01431‐0104
LOIS A GORDON CUST L ALLEN GORDON UGMA NY            75 ELIZABETH ST                                                                                  DOVER             NJ    07801‐4412

LOIS A GREENFIELD                                    5976 S JASMINE ST                                                                                ENGLEWOOD         CO    80111‐4229
LOIS A GREY & KATHLEEN T GREY JT TEN                 1009 JEROME AVE RFD                                                                              BRISTON           CT    06010‐2489
LOIS A GROSS                                         5571 HWY M                                                                                       WEST BEND         WI    53095‐9752
LOIS A HATHAWAY                                      PO BOX 67                                                                                        DUGGER            IN    47848
LOIS A HENGENIUS                                     14214 CEDAR RD APT 307                                                                           UNIVERSITY HTS    OH    44121‐3223
LOIS A HENRY                                         125 W NORTH ST                          PO BOX 94                                                GALVESTON         IN    46932‐0094
LOIS A HORNER                                        4809 FOXCROFT                                                                                    TROY              MI    48098‐3568
LOIS A KESSLER TOD PATRICIA A DUPKE SUBJECT TO STA   3140 FOREST RD                          APT 610                                                  SPRING HILL       FL    34606‐3379
TOD RULES
LOIS A KRAFVE TR LOIS A KRAFVE LIVING TRUST UA       8566 W PETERSON POINT RD                                                                         LAKE CITY         MI    49651‐8675
08/29/00
LOIS A LECHMAN                                       7418 GERALD DRIVE                                                                                MIDDLEBURGH       OH    44130‐5729
                                                                                                                                                      HEIGHT
LOIS A MAC KAY                                       3423 NANDALE DRIVE                                                                               CINCINNATI        OH    45239‐4072
LOIS A MAYNARD                                       408 MARION AV                                                                                    WATERFORD         MI    48328‐3232
LOIS A MCCLAUGHRY                                    1344 MELBROOK                                                                                    MUNSTER           IN    46321‐3115
LOIS A POHL                                          3224 VELTE RD                                                                                    WOODLAND          MI    48897‐9734
LOIS A PORCELLO                                      16 DUNNINGS DR                                                                                   TARRYTOWN         NY    10591‐5022
LOIS A RAY                                           PO BOX 448                                                                                       TWAIN HARTE       CA    95383‐0448
LOIS A REAM                                          5429 FREDANNA ST                                                                                 PITTSBURGH        PA    15207‐2305
LOIS A ROBINS                                        25616 NUGGET DR                                                                                  LEBANON           MO    65536‐6807
LOIS A SAMAN                                         18 HAMPTON CRT                                                                                   BRISTOL           CT    06010‐4738
LOIS A SAUERS                                        265 IVES RD                                                                                      MASON             MI    48854‐9240
LOIS A SCHMUHL                                       N5748 RADIO RD                                                                                   BRANDON           WI    53919‐9745
LOIS A SCHWAB                                        80 N PLEASANT ST                                                                                 HOLYOKE           MA    01040‐2617
LOIS A SHAUGHNESSY                                   13 DOUGLAS DRIVE                                                                                 RUSHVILLE         NY    14544‐9757
LOIS A SOUTHALL                                      108 PARK HEIGHTS                                                                                 LEBANON           KY    40033
LOIS A STOWELL                                       5519 DUMFRIES                                                                                    HOUSTON           TX    77096‐4003
LOIS A SUTTER & R EUGENE SUTTER JT TEN               28606 ROCKWOOD                                                                                   ST CLAIR SHORES   MI    48081‐3246
LOIS A SWEET                                         40782 CORTE LOS REYES                                                                            INDIO             CA    92203‐7488
LOIS A SWIER EX                                      EST THERESE SRAY                        5687 FOREST RIDGE DRIVE                                  NORTH OLMSTED     OH    44070
LOIS A WICKE                                         1150 MCFARLAND ST                       APT N7                                                   MORRISTOWN        TN    37814‐3467
LOIS A WILLS & THOMAS L WILLS JT TEN                 6080 LONDON GROVEPORT ROAD                                                                       GROVE CITY        OH    43123‐8947
LOIS A YOUNG & ROBERT M SELLERS JT TEN               4647 LEIX RD                                                                                     MAYVILLE          MI    48744‐9690
LOIS ADDISON & GRADEN ADDISON JT TEN                 6946 MULBERRY AVE                                                                                CINCINNATI        OH    45239‐4421
LOIS AHL                                             7 STANGER RD                                                                                     BRIDGETON         NJ    08302‐3859
                                            09-50026-mg               Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 4 of 8 Pg 849 of 855
Name                                            Address1                             Address2                 Address3      Address4          City             State Zip

LOIS AM MACHESKY                                3332 LATONIA AVE                                                                              PITTSBURGH       PA    15216‐2208
LOIS AMATRUDA & DAVID AMATRUDA JT TEN           7 CIR DR                                                                                      E HAVEN          CT    06513‐2007
LOIS ANN BAKER                                  72 VERNIER RD                                                                                 GROSSE POINTE    MI    48236‐1517
                                                                                                                                              SHRS
LOIS ANN CARDINI                                1301 BARTONWOOD CIRCLE                                                                        CHARLOTTE        NC    28212‐7012
LOIS ANN CORRITORE                              39113 ELSIE                                                                                   LIVONIA          MI    48154‐4712
LOIS ANN DICK                                   4580 BRIGHTON LAKE DR                                                                         CUMMING          GA    30040‐7350
LOIS ANN FEWKES                                 RR 3 BOX 324                                                                                  ALBION           IL    62806‐9406
LOIS ANN FRANSEE                                9833 NORTH THORNAPPLE LANE 5W                                                                 MEQUON           WI    53092‐6265
LOIS ANN HIRST                                  1035 E APPLE WAY                                                                              FLAGSTAFF        AZ    86001‐3325
LOIS ANN HOBBS CUST ELISE M HOBBS UGMA NC       6724 PARK KICKORY DR                                                                          CHARLOTTE        NC    28227‐1067
LOIS ANN IRVIN                                  4219 9TH ST                                                                                   SAINT SIMONS     GA    31522‐3302
                                                                                                                                              ISLAND
LOIS ANN L NIX                                    1330 EUDORA ST                                                                              DENVER           CO    80220‐2521
LOIS ANN RUCKER                                   7415 E 3RD                                                                                  TULSA            OK    74112‐2109
LOIS ANN VICTOR & MRS ELLA VICTOR JT TEN          2406 GEORGELAND                                                                             DRAYTON PLAINS   MI    48020
LOIS ANN WRIGHT                                   427 JEFFERSON                                                                               DIMONDALE        MI    48821
LOIS ANNE AUSTIN                                  901 N PARK AVE                                                                              ALEXANDRIA       IN    46001‐1248
LOIS B ALDRICH                                    33917 HAWK CREEK RANCH ROAD N                                                               DAVENPORT        WA    99122‐8769
LOIS B DAY                                        2116 FLOYD ST SW                                                                            GRAND RAPIDS     MI    49519‐3620
LOIS B HAILEY                                     410 CLEARVIEW AVE                                                                           FRIENDSWOOD      TX    77546
LOIS B MARKS                                      10 EAST 70TH ST                                                                             NEW YORK         NY    10021‐4913
LOIS B MEDEIROS                                   387 BURT STREET                                                                             TAUNTON          MA    02780‐5138
LOIS B MONTGOMERY                                 535 MATLOCK RD                                                                              CAVE CITY        AR    72521‐9039
LOIS B MOREHOUSE TR B THE MOREHOUSE LIVING        C/O FREDERICK R MOREHOUSE          1701 RIDGEWOOD ROAD                                      ALAMO            CA    94507‐1037
TRUST UA 10/03/83
LOIS B STERN & RALPH C STERN JT TEN               1437 RAYMOND                                                                                LA GRANGE PARK   IL    60526‐1358
LOIS BANNING                                      2103 MICHAEL AVE S W                                                                        GRAND RAPIDS     MI    49509‐1841
LOIS BANNING TR REVOCABLE TRUST 12/21/87 U‐A LOIS 12520 ALSWELL LANE                                                                          SAINT LOUIS      MO    63128‐2508
BANNING
LOIS BEECH                                        28418 RALEIGH CRESCENT DR                                                                   CHESTERFIELD     MI    48051‐2309
LOIS BIANCHI                                      200 W 70TH ST                                                                               NY               NY    10023‐4323
LOIS BIBER                                        9480 PRINCETON SQUARE BLVD S       APT 904                                                  JACKSONVILLE     FL    32256‐8310
LOIS BOOTH GWYNNE                                 315 COWESETT ROAD                                                                           WARWICK          RI    02886‐8532
LOIS BRILL                                        C/O JOHN BRILL                     740 HEEKIN RD                                            WILLIAMSTOWN     KY    41097
LOIS BRUDER                                       P O BOX 85                                                                                  LEROY            IN    46355
LOIS BURKHEIMER                                   864 COWBOY CIR                                                                              DEWEY            AZ    86327‐5900
LOIS C BONES                                      1015 TROTTER ROAD                                                                           PICKENS          SC    29671‐9375
LOIS C BROOKS                                     1100 COVERED BRIDGE RD                                                                      HOLLAND          PA    18966‐4807
LOIS C BYERLY                                     418 BROAD STREET                   PO BOX 69                                                CRUMPTON         MD    21628‐0069
LOIS C COCKEY                                     224 BENTONS PLEASURE RD                                                                     CHESTER          MD    21619‐2216
LOIS C DIMITRY                                    EL DORA DO MOBILE COUNTRY CLUB     126 TCHEFUNCTE PARC DR                                   MADISONVILLE     LA    70447‐9759
LOIS C FUNKE                                      5932 SW LURADEL ST                                                                          PORTLAND         OR    97219‐5734
LOIS C GREENLEE                                   1201 IMPERIAL BLVD                                                                          DAYTON           OH    45419‐2437
LOIS C HAWKINS                                    3235 CLEAR CREEK RD                                                                         HIGHLANDS        NC    28741
LOIS C HURLEY                                     C/O JAMES R HURLEY                 18631 SANTA BARBARA                                      DETROIT          MI    48221‐2149
LOIS C JADACH & JOHN JADACH JT TEN                14664 W WHITTON AVE                                                                         GOODYEAR         AZ    85338‐8890
LOIS C JONES                                      316A S JEFFERSON ST                                                                         WATERFORD        WI    53185‐4212
LOIS C KNOWLTON                                   1143 E HIGHLAND DR                                                                          LAKELAND         FL    33813‐1774
LOIS C MILLER & HAROLD Q MILLER JT TEN            894 DRIFTWOOD LN                                                                            LA MARQUE        TX    77568
LOIS C STALDER                                    121 N SHORE CIRCLE                                                                          CASSLEBERRY      FL    32707‐3300
LOIS C STANTON                                    3237 WEST PARNELL AVE                                                                       MILWAUKEE        WI    53221‐4048
LOIS C TODD                                       2849 SHACKTOWN RD                                                                           YADKINVILLE      NC    27055‐5704
LOIS C TOSTO & LORI ANN HALE JT TEN               3405 LAKEVIEW DR                                                                            ORTONVILLE       MI    48462‐9278
LOIS C TOSTO & RICHARD C TOSTO JT TEN             3405 LAKEVIEW DR                                                                            ORTONVILLE       MI    48462‐9278
LOIS C TUCKER                                     40 S 250 E                                                                                  WARSAW           IN    46580‐7289
LOIS C WIRGLER TOD BOBBIE J ALLEN SUBJECT TO STA  6519 SINGLETREE WAY                                                                         PLEASANTON       CA    94588‐4466
TOD RULES
LOIS C WYANT                                      1871 HAMBLETONIAN CT                                                                        MIAMISBURG       OH    45342‐6377
                                            09-50026-mg             Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 4 of 8 Pg 850 of 855
Name                                          Address1                             Address2             Address3          Address4          City             State Zip

LOIS CARUSO                                   100 GEORGE ENDRIES DR                                                                         SCHENECTADY      NY    12303‐2440
LOIS CAUGHRON                                 3110 PINEY LEVEL RD                                                                           MARYVILLE        TN    37803‐7940
LOIS CHRISTINE VON BARGEN                     149‐26 SEVENTH AVE                                                                            WHITESTONE       NY    11357‐1635
LOIS CLOWNEY                                  14425 MANSFIELD                                                                               DETROIT          MI    48227‐4908
LOIS COLLEEN LEWIS                            405 AIRLINE PARK BLVD                                                                         METAIRIE         LA    70003‐4807
LOIS D BRITTON                                C/O MRS LOIS D DE WATERS             625 WHITTIER RD                                          SPENCERPORT      NY    14559‐9742
LOIS D BROWN                                  2401 S E KING ARTHUR'S COURT         CAMELOT GAR                                              PORT ST LUCIE    FL    34952‐6797
LOIS D CORDARO & JESSICA L CORDARO JT TEN     102 C ST                                                                                      SEASIDE PARK     NJ    08752‐1607
LOIS D DOLES                                  6709 FARMSTEAD LN                                                                             FREDERICKSBURG   VA    22407‐1744
LOIS D FLYNN                                  21 W CENTER ST                                                                                FARMERSVILLE     OH    45325‐1005
LOIS D GIANNONI                               36738 CABRILLO DRIVE                                                                          FREMONT          CA    94536‐5622
LOIS D HARTSOCK                               420 MEADOWVIEW COURT                                                                          SPRINGBORO       OH    45066‐8752
LOIS D MARKS EX EST CLIFFORD K MARKS          2 QUADRINI DRIVE                                                                              ALBANY           NY    12208
LOIS D MIDDLETON                              RT 2 BOX 148                                                                                  HAMILTON         TX    76531‐9501
LOIS D PETERSON TOD JOHN R PETERSON           5740 E PRICE RD                                                                               SAINT JOHNS      MI    48879
LOIS D SORENSON                               908 CHRISTINE AVE                    APT 201                                                  BROOKINGS        SD    57006‐3988
LOIS DAVIS                                    32 BROADWAY BOX 542                                                                           FONDA            NY    12068‐4809
LOIS DEBORAH HAWKINS                          18981 SANTA BARBARA                                                                           DETROIT          MI    48221‐2151
LOIS DUHON                                    7080 CALDER AVE B106                                                                          BEAUMONT         TX    77706
LOIS E ACKLEY                                 4200 SANDPIPER DRIVE                                                                          FLINT            MI    48506‐1616
LOIS E BALL TR BALL FAMILY TRUST 07/25/84     10 WILDE RD                                                                                   WELLESLEY        MA    02481‐2429
LOIS E BERLIN                                 16636 SPANGLER RD                                                                             PLAINFIELD       IL    60586‐9633
LOIS E BERRES                                 3612 NORTH 81 STREET                                                                          MILWAUKEE        WI    53222‐2928
LOIS E BOUCK                                  8160 BURPEE RD                                                                                GRAND BLANC      MI    48439‐7409
LOIS E BRETZ                                  2325 S PARK AVE                                                                               SPRINGFIELD      IL    62704‐4354
LOIS E COLEMAN                                4225 MILLER RD                                                                                FLINT            MI    48507‐1257
LOIS E COOLEY                                 386 CREPE MYRTLE DRIVE                                                                        GREER            SC    29651‐7402
LOIS E DERBY                                  270 DARLINGTON DR                                                                             BUFFALO          NY    14223‐2107
LOIS E DERBY                                  270 DARLINGTON DRIVE                                                                          KENMORE          NY    14223‐2107
LOIS E DUNN                                   PO BOX 395                                                                                    ELYSIAN FLDS     TX    75642‐0395
LOIS E FLETT                                  5080 REGIONAL ROAD 57 RR #1          BOWMANVILLE ON                         L1C 3K2 CANADA
LOIS E FROST                                  11991 E ADAMS                        PO BOX 413                                               MERRILL          MI    48637‐0413
LOIS E GALLAGHER                              142 SLATER DR                                                                                 PITTSBURGH       PA    15236‐4218
LOIS E GIBSON                                 19 GIBSON DR                         PORT PERRY ON                          L9L 1C9 CANADA
LOIS E GIGSTEAD                               4584 VIA CLARICE                                                                              SANTA BARBARA    CA    93111‐1348
LOIS E HARING                                 1000 15TH AVE SOUTH                                                                           CLINTON          IA    52732‐6123
LOIS E HARWOOD TR HARWOOD SUB TRUST B UA      1053 BELLEZA ST                                                                               CAMARILLO        CA    93012‐8163
02/15/95
LOIS E HERR                                   1519 NORTH IVANHOE STREET                                                                     ARLINGTON        VA    22205‐2742
LOIS E HUME & HARRY E HUME JT TEN             127 CARSON AVE                                                                                DALTON           MA    01226‐1526
LOIS E KITSON                                 RR 13 BOX 604                                                                                 EDINBURG         TX    78541
LOIS E LARSON & BERNARD LARSON JT TEN         73030 BIRCH GROVE RD                                                                          WASHBURN         WI    54891‐5833
LOIS E LUKENS                                 7 CEDARWOOD CT                                                                                RACINE           WI    53402‐2603
LOIS E MALOTT CUST SHANNON MOORE UTMA FL      2505 FLORIDA BLVD                                                                             BRADENTON        FL    34207‐5731
LOIS E MARDIROSIAN                            7812 TUSCANY DR                                                                               DUBLIN           CA    94568‐3859
LOIS E MURRAY                                 5865 MOUNT MARIA RD                                                                           HUBBARD LAKE     MI    49747‐9684
LOIS E MUSSELMAN                              13855 STATE ROAD 38 E                                                                         NOBLESVILLE      IN    46060‐8593
LOIS E POLING                                 16196 LINCOLN ROAD                   HWY                                                      VAN WERT         OH    45891‐9620
LOIS E RITSEMA & DONALD L RITSEMA JT TEN      3308 RED CLOVER ROAD                                                                          KALAMAZOO        MI    49004‐3391
LOIS E RYAN                                   2520 W STATE RD 28                                                                            TIPTON           IN    46072‐9787
LOIS E SHARE                                  304 SWEET POTATO RIDGE                                                                        UNION            OH    45322‐9768
LOIS E SMITH                                  8151 BULL CREEK RD                                                                            TARENTUM         PA    15084‐3410
LOIS E STEVENSON                              24188 CHAPEL BRANCH ROAD                                                                      SEAFORD          DE    19973‐6927
LOIS E TUNSTALL                               12350 ESCADA DRIVE                                                                            CHESTERFIELD     VA    23832‐3800
LOIS E WASHBURN                               6429 W ALLERTON AVE                                                                           MILWAUKEE        WI    53220‐3411
LOIS E WETZEL                                 5 FLINT AVE                                                                                   HEMPSTEAD        NY    11550‐7107
LOIS ELAINE ABERNATHY                         6107 PEBBLESHIRE DR                                                                           GRAND BLANC      MI    48439‐4842
LOIS ELAINE JONES                             407 S HOLLY RD                                                                                FENTON           MI    48430‐2979
LOIS ELAINE MUSTONEN                          3252 N E 103RD ST                                                                             SEATTLE          WA    98125‐7821
                                              09-50026-mg                 Doc 7123-46     Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 4 of 8 Pg 851 of 855
Name                                               Address1                               Address2                 Address3      Address4          City              State Zip

LOIS ELLEN ISAACS                                  ATTN LOIS ISAACS GUSHIN                11746 LAURELVIEW DRIVE                                   CINCINNATI        OH    45249‐2710
LOIS ELWOOD                                        3901 INDUSTRY ROAD                                                                              ROOTSTOWN         OH    44272
LOIS EMILY BORIGHT                                 ATTN TERKHORN                          1747 KEVIN STREET                                        IRONTON           OH    45638‐1115
LOIS F ALEXANDER                                   143 WEST 96TH ST                                                                                NEW YORK          NY    10025‐6403
LOIS F BELGAN TR UA 12/22/2007 LOIS F BELGAN REV   535 CHARLOTTE                                                                                   ROYAL OAK         MI    48073
LIV TRUST
LOIS F COLLIER                                     PO BOX 2434                                                                                     ANDERSON          IN    46018‐2434
LOIS F FACHER                                      34 ATHENS RD                                                                                    SHORT HILLS       NJ    07078‐1352
LOIS F FINK CUST SUSAN E FINK UGMA TN              PO BOX 729                                                                                      NORRIS            TN    37828‐0729
LOIS F GEREMIA                                     6 MAPLE ST                                                                                      NEW MILFORD       CT    06776‐2912
LOIS F GRAHAM                                      517 SW 85                                                                                       OKLAHOMA CITY     OK    73139‐9352
LOIS F MALOTT CUST MICHAEL WASKOM UTMA FL          2505 FLORIDA BLVD                                                                               BRADENTON         FL    34207‐5731
LOIS FAVREAU                                       7934 48TH STREET SE                                                                             GRAND RAPIDS      MI    49512‐9721
LOIS FAYE ESTEP                                    290 HENDERSON RD                                                                                EUBANK            KY    42567‐9768
LOIS FAYNETTE GRIFFITH                             4586 TALONA RD                                                                                  TALKING ROCK      GA    30175‐1628
LOIS FORSCH                                        155 E 76TH ST                                                                                   NEW YORK          NY    10021‐2810
LOIS FRANKEL                                       4 INTERLACHEN CIRCLE                                                                            WEST PALM BEACH   FL    33401‐1021

LOIS G CARWILE                                     2346 RIDGEVIEW AVE                                                                              LOS ANGELES    CA       90041‐2932
LOIS G PATTERSON                                   1003 E ROCKSPRING RD                                                                            GREENVILLE     NC       27858‐3518
LOIS G POLSON & BARBARA P EVANS JT TEN             23 FRESHET ROAD                                                                                 MADBURY        NH       03820‐7003
LOIS G POLSON & DOUGLAS E POLSON JT TEN            23 FRESHET RD                                                                                   MADBURY        NH       03820‐7003
LOIS G REED                                        144 VIRGINIA AVENUE                                                                             DANVILLE       VA       24541‐3726
LOIS G ROOSA & STANLEY R ROOSA JT TEN              PO BOX 348                                                                                      BEAR LAKE      MI       49614‐0348
LOIS GAROFOLO                                      35 JACKSON CIR                                                                                  WINTER SPRING  FL       32708‐3423
LOIS GAYLE SEROTA                                  52 HALYARD RD                                                                                   NORTH WOODMERE NY       11581‐2813

LOIS GILLETTE                                      7 IRVING PARKWAY                                                                                OAKFIELD          NY    14125
LOIS GORDON CUST ANTHONY GORDON UGMA NJ            22 ANJOU COURT                                                                                  MANCHESTER        NJ    08759‐6269

LOIS GRACE CHAMMINGS                               PO BOX 205                                                                                      STILLWATER        NJ    07875‐0205
LOIS GRAHAM                                        4755 HURSCH RD                                                                                  ARCANUM           OH    45304‐9275
LOIS H BROADBENT                                   47 RIDGETOP CIRCLE UNIT 201                                                                     BREVARD           NC    28712‐3088
LOIS H CLINE                                       12 NORTON DR                                                                                    VIENNA            OH    44473‐9516
LOIS H CRABTREE                                    2218 COUNTRY DR                                                                                 FREMONT           CA    94536‐5315
LOIS H CREAMER                                     11624 HAVENNER RD                                                                               FAIRFAX STATION   VA    22039‐1223
LOIS H KIELKOPF                                    27 GREENFIELD DR                                                                                CARLISLE          PA    17015‐7611
LOIS H LESSER                                      3 PINK CLOUD LN                                                                                 WESTON            CT    06883
LOIS H MOORE                                       PO BOX 196                                                                                      HARRISONVILLE     NJ    08039‐0196
LOIS H QUIMBY                                      1001 PARKVIEW BLVD                     APT 325                                                  COLUMBUS          OH    43219‐2273
LOIS H RUSCH                                       217 CECIL ST                                                                                    BUCHANAN          MI    49107‐1703
LOIS H SCHUE & RICHARD R SCHUE JT TEN              10303 CANTERBURY                                                                                WESTCHESTER       IL    60154‐3503
LOIS H STRASSBURG                                  9117 E LOS GATOS DR                                                                             SCOTTSDALE        AZ    85255‐5053
LOIS H WEBSTER                                     905 GROVE ST                           PO BOX 104                                               DELMAR            DE    19940‐0104
LOIS H WHITE                                       PO BOX 214                                                                                      MILLSBORO         DE    19966‐0214
LOIS H WYATT                                       557 COUNCIL BLUFF                                                                               LILBURN           GA    30047‐2116
LOIS H WYATT & ROY C WYATT JT TEN                  557 COUNCIL BLUFF                                                                               LILBURN           GA    30047‐2116
LOIS HAMBROCK                                      300 BUFALLO HILLS LANE APT 80                                                                   BRAINERD          MN    56401
LOIS HELLER QUILL                                  5345 WINCHESTER ROAD                                                                            FORT WAYNE        IN    46819‐1019
LOIS HENSELMEIER RUNDLE                            2200 HAMILTON DR                       UNIT 404                                                 AMES              IA    50014‐3274
LOIS HIGHLESTER                                    604 TAYLOR ST                                                                                   CLARKSVILLE       AR    72830‐3540
LOIS HILLSMAN                                      205 CARLISLE AVENUE                                                                             YARDVILLE         NJ    08620‐1211
LOIS HUBER WILLIAMSON                              1127 W 2ND ST                                                                                   ANDERSON          IN    46016‐2315
LOIS HUSNEY TOD RONALD HUSNEY                      2320 CANYONVILLE DR                                                                             HENDERSON         NV    89044‐4498
LOIS I NUSBAUM                                     1504 E 126TH ST                                                                                 CARMEL            IN    46033‐3047
LOIS I THOMAS‐DEUPREE                              6437 SOUTH OSWEGO                                                                               TULSA             OK    74136‐1512
LOIS IRENE BARRANCE                                18 MURRAY AVE                                                                                   ANNAPOLIS         MD    21401‐2837
LOIS J BACK                                        6608 CRAWFORDVILLE CAMPBELLSTOWN RD                                                             EATON             OH    45320‐8666
                                            09-50026-mg                   Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 852 of 855
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

LOIS J BLOWER                                      802 HUTCHINSON DRIVE                                                                           COLORADO SPRINGS CO   80910‐3209

LOIS J BOORSMA                                 8505 FRUIT RIDGE AVE NW                                                                            SPARTA          MI    49345‐9724
LOIS J BOZARTH                                 8121 HOLDER                                                                                        BUENA PARK      CA    90620‐2933
LOIS J COLBURN & RODNEY P COLBURN TR COLBURN   1829 44TH STREET CT NW                                                                             GIG HARBOR      WA    98335‐1427
FAMILY TRUST UA 12/19/96
LOIS J CORWIN                                  22378 BANNER SCHOOL RD                                                                             DEFIANCE        OH    43512‐9719
LOIS J DURIE                                   50 REED DR S                                                                                       PRINCETON JCT   NJ    08550‐2013
LOIS J GILLETTE                                704 JASMINE CRESCENT                      OSHAWA ON                              L1G 3C3 CANADA
LOIS J GOLDSMITH                               598 WESTFIELD WAY                                                                                  OAKLAND         CA    94619‐2342
LOIS J GREENAWALT & EDWARD A GREENAWALT JT TEN BOX 114                                                                                            RIMERSBURG      PA    16248‐0114

LOIS J HALLMARK                                    6040 KANSAS AVE                       LOT 9                                                    KANSAS CITY     KS    66111‐2149
LOIS J HUFF                                        4445 CORINTH BLVD                                                                              DAYTON          OH    45410‐3474
LOIS J HUMMON TR LOIS J HUMMON TRUST UA            6702 GOLFCREST DR                                                                              SAN DIEGO       CA    92119‐2428
09/09/86
LOIS J JACKSON                                     1711 BURNSIDE DRIVE                                                                            SPARKS          NV    89434‐0787
LOIS J KANE & SUSAN J HAUSER JT TEN                411 PRAIRIEVIEW DR                                                                             OSWEGO          IL    60543‐8761
LOIS J KELLY                                       2804 MARVIN DR                                                                                 CARSON CITY     NV    89703‐1509
LOIS J KELSEY                                      753 DECORAH LANE                                                                               MENDOTA HEIGHTS MN    55120‐1619

LOIS J KING                                        1532 CALIFORNIA AVE                                                                            MCKEESPORT      PA    15131‐2102
LOIS J LANDER                                      812 KOHLERSBURG ROAD                                                                           NEW BETHLEHEM   PA    16242‐7428
LOIS J LAWRENCE                                    36 KEITH TER                                                                                   NORTH CHILI     NY    14514‐1142
LOIS J LINGEMAN                                    3810 LEAHI AVE 209                                                                             HONOLULU        HI    96815‐4496
LOIS J MACKLIN                                     3464 CURTIS AVE SE                                                                             WARREN          OH    44484
LOIS J MC MILLIAN                                  1642 MARTIN LUTHER KING DR                                                                     SHREVEPORT      LA    71107‐5016
LOIS J MCMULLEN                                    211 WASHINGTON ST                                                                              CUMBERLAND      MD    21502‐2826
LOIS J MORGAN                                      267 VOORHEIS ST                                                                                PONTIAC         MI    48341‐1946
LOIS J PATTON                                      5805 BALFOUR RD                                                                                DETROIT         MI    48224‐3108
LOIS J PETERSON                                    30 NEWTON SQ UNIT 1                                                                            CANFIELD        OH    44406‐1166
LOIS J PLOOF                                       313 GLENGARY                                                                                   MT MORRIS       MI    48458‐8912
LOIS J REOHR                                       2491 STATE RD                                                                                  HILLSDALE       MI    49242
LOIS J RICE                                        15604 E 25TH ST                                                                                INDEPENDENCE    MO    64055‐1929
LOIS J ROCHE                                       15825 VIA TOLEDO                                                                               SAN LORENZO     CA    94580‐2512
LOIS J RUMMINS                                     13726 LITEWOOD DR                                                                              HUDSON          FL    34669‐3922
LOIS J SABATH                                      1766 OLD BRIAR RD                                                                              HIGHLAND PARK   IL    60035‐4359
LOIS J SIMMONS                                     302 CRANBERRY CT                                                                               WARREN          OH    44483‐1546
LOIS J STEWART                                     1046 N MAIN                                                                                    TIPTON          IN    46072‐1049
LOIS J VANDERMAST                                  176 DAVIDSON DR                                                                                LACONIA         NH    03246‐2099
LOIS J YEAGER                                      5720 WEST BOGART ROAD                                                                          CASTALIA        OH    44824‐9723
LOIS J ZACCAGNINI                                  4499 LINCOLN AVE                                                                               SHADYSIDE       OH    43947‐1238
LOIS J ZAWACKI                                     819 BEACHCRAFT AVE                                                                             GRAND PRAIRIE   TX    75051‐1578
LOIS JAGGARD                                       6959 MOUNT TABOR ROAD                                                                          CHILLICOTHE     OH    45601‐8557
LOIS JASKO PETE                                    61 CANAL VIEW DR                                                                               LAWRENCEVILLE   NJ    08648‐1320
LOIS JEAN DOANE                                    1475 ROSEVIEW ST                                                                               DAYTON          OH    45432‐3816
LOIS JEAN SLOAN                                    221 VIVIAN DR                                                                                  MUNHALL         PA    15120‐2936
LOIS JEAN STUTSO & STEPHANIE ISSA JT TEN           9392 N ELMS RD                                                                                 CLIO            MI    48420‐8540
LOIS JEAN TAFT                                     PO BOX 523                                                                                     ELMORE          OH    43416‐0523
LOIS JEAN ZACCAGNINI CUST DEBRA ELLEN ZACCAGNINI   173 N DELAPLAINE RD                                                                            RIVERSIDE       IL    60546‐2060
UGMA OH
LOIS JEANETTE TURNER                               425 RAINBOW CIR                                                                                KOKOMO          IN    46902‐3632
LOIS JONES                                         519 NORTH JACKSON                                                                              GARDNER         IL    60424‐7040
LOIS JUNE SMITH TOD KATHERINE M PERUSKO SUBJECT    778 MANNERING RD                                                                               EASTLAKE        OH    44095
TO STA TOD RULES
LOIS K BELDING‐WELLS                               715 PEARL STREET                                                                               BELDING         MI    48809‐1954
LOIS K FREDERICK & WILLIAM A FREDERICK JT TEN      321 S 25TH ST                                                                                  ALLENTOWN       PA    18104‐6507
                                              09-50026-mg              Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                     Part 4 of 8 Pg 853 of 855
Name                                             Address1                             Address2                      Address3   Address4          City           State Zip

LOIS K SCHROEDER & EDWIN W SCHROEDER JT TEN      40 LOWER WESTFIELD RD BOX 459                                                                   HOLYOKE        MA    01040‐2750

LOIS K WASHBURN & KENNETH L WASHBURN JT TEN      14750 LAKESIDE CIR                   APT 407                                                    STERLING HTS   MI    48313‐1380

LOIS K WASHBURN & RANDY J WASHBURN JT TEN        14750 LAKESIDE CIR                   APT 407                                                    STERLING HTS   MI    48313‐1380
LOIS K WASHBURN & THOMAS M WASHBURN JT TEN       14750 LAKESIDE CIR                   APT 407                                                    STERLING HTS   MI    48313‐1380

LOIS KERN EISCHER & ROY E EISCHER JT TEN         8436 E TOWNLINE                                                                                 BRIDGEPORT      MI   48722‐9774
LOIS L BECKLER                                   1309 MELROSE DR                                                                                 ABERDEEN        SD   57401‐7854
LOIS L BURNELL                                   344 MOUNTAIN TERRACE CIR                                                                        MAUMELLE        AR   72113‐7103
LOIS L CARTER                                    45512 CHEROKEE LANE                                                                             FREMONT         CA   94539‐6847
LOIS L CARYL                                     16308 TUCKER RD                                                                                 HOLLY           MI   48442‐9743
LOIS L FARBER                                    2017 NW CROWN ST                                                                                GRANTS PASS     OR   97526
LOIS L GARDINER                                  10420 W BURNS DR                                                                                SUN CITY        AZ   85351‐1641
LOIS L HABRAT                                    4104 FLEETWOOD DR                                                                               WEST MIFFLIN    PA   15122‐2764
LOIS L JOHNSTON                                  7125 SE 32ND AVENUE                                                                             DES MOINES      IA   50317‐5136
LOIS L JOHNSTON & RACHEL D FILZER JT TEN         7125 SE 32ND AVE                                                                                DES MOINES      IA   50317‐5136
LOIS L LAWCEWICZ                                 PO BOX 24                                                                                       POLLOCK         LA   71467‐0024
LOIS L MC CORMICK                                3125 S STATE RD                                                                                 DAVISON         MI   48423‐8705
LOIS L MCCAMY                                    5463 PARLIAMENT LN                                                                              WAUNAKEE        WI   53597‐9083
LOIS L PARKS                                     PO BOX 23                                                                                       JEROME          PA   15937‐0023
LOIS L POPADAK                                   757 STATE RD W                                                                                  WARREN          OH   44483‐1631
LOIS L SALAKE                                    54 GREENBRIAR AVE                                                                               HAMPTON         VA   23661‐3132
LOIS L SCHREITER                                 104 BROOKDALE DR                                                                                SOUTH MILWAUKEE WI   53172‐1215

LOIS L SCHWARZ                                    2117 CRESTBROOK LN                                                                             FLINT          MI    48507‐2204
LOIS L THORNE                                     122 GREENWAY BLVD                                                                              CHURCHVILLE    NY    14428‐9209
LOIS L WRIGHT                                     39 SOMERSET ST                                                                                 SWARTZ CREEK   MI    48473‐1149
LOIS LAURENCE                                     38 DEPOT ROAD                                                                                  STRATHAM       NH    03885
LOIS LEE ALBERS                                   PSC 558                             BOX 3363                      FPO AP 1                     FPO            AP    96375‐0558
LOIS LEE SPEED & JOHN H SOMERVILLE TR UW FLETCHER C/O WHITEFORD TAYLOR & PRESTON      SEVEN ST PAUL ST SUITE 1400                                BALTIMORE      MD    21202‐1654
B SPEED JR
LOIS LEVITON                                      8470 NENTRA STREET                                                                             LA MESA        CA    91942‐2713
LOIS LISS                                         2401 PENNSYLVANIA AVE                                                                          WILMINGTON     DE    19806‐1401
LOIS LOW LOVELL                                   267 W LINCOLN ST                                                                               KNIGHTSTOWN    IN    46148‐1177
LOIS M ALEX CUST DANIEL J LIPSITT UGMA MA         15 OAKLAND RD                                                                                  BROOKLINE      MA    02445‐6725
LOIS M ARNOLD                                     5113 DIANE COURT                                                                               ROCKFORD       IL    61108‐2374
LOIS M AUDAS                                      3843 FERNWALD DR                                                                               DAYTON         OH    45440‐3429
LOIS M BERRY                                      196 MAIN ST                                                                                    BUXTON         ME    04093‐6133
LOIS M BLEVINS                                    3831 MOTOR WAY                                                                                 WATERFORD      MI    48328‐3542
LOIS M BOZACKI‐MATZ                               17855 MAPLE AVE                                                                                LANSING        IL    60438‐2445
LOIS M BRAKE & MELVIN S DICKSON JT TEN            3417 WJ ROBINSON RD                                                                            COOKEVILLE     TN    38506‐3117
LOIS M BRICKLEY                                   572 LAGRANGE ST                                                                                WEST ROXBURY   MA    02132‐3239
LOIS M CONLOW                                     800 E SADDLE RIVER RD                                                                          HO‐HO‐KUS      NJ    07423‐1730
LOIS M DICKINSON                                  3895 UTES DRIVE                                                                                TITUSVILLE     FL    32796‐2943
LOIS M DIGIANTOMASSO                              27273 GREAT OAKS CT                                                                            CLINTON TWSP   MI    48036
LOIS M DIPPOLD                                    228 S WATKINS                                                                                  PERRY          MI    48872
LOIS M DONALD                                     29 SISTER KERN TERRACE              HAMILTON ON                              L9B 2M1 CANADA
LOIS M EAKER                                      7049 E CARPENTER RD                                                                            DAVISON        MI    48423‐8957
LOIS M EDWARDS                                    1849 RIVERSIDE DR                                                                              CONWAY         SC    29526‐8016
LOIS M FREDERIKSEN                                5697 WILLOW CREEK DR                                                                           SARANAC        MI    48881‐8723
LOIS M HAEFNER TR LOIS M HAEFNER TRUST UA         18930 BAY WOODS LAKE DR APT 202                                                                FORT MYERS     FL    33908‐4794
06/12/87
LOIS M HERRMANN CUST DAVID A HERRMANN UGMA 1100 HARBOR HAVEN                                                                                     SOUTHLAKE      TX    76092‐2811
TX
LOIS M HITCHINGS                                  4155 N DRAKE PL                                                                                TUCSON         AZ    85749‐9457
LOIS M HOUSMAN                                    231 LINDEN AVE                      APT 10                                                     CARPINTERIA    CA    93013‐2316
LOIS M HUDDLESTON                                 147 TOWNSHIP RD 1154                                                                           SOUTH POINT    OH    45680‐8906
LOIS M HUTCHINSON                                 1 FITZ TERRACE                                                                                 CHELSEA        MA    02150
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 854 of 855
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

LOIS M JENSEN                                    22866 HWY 92 SE                                                                                  BROOKS             MN    56715
LOIS M KENDALL & PERRY E KENDALL JT TEN          717 N 6TH ST                                                                                     ORLEANS            IN    47452‐9784
LOIS M KOLOMITZ & MICHAEL J KOLOWITZ JT TEN      3668 MANDARIN WOODS DR NORTH                                                                     JACKSONVILLE       FL    32223‐8720
LOIS M LANE                                      1170 LYNCH RD                                                                                    EATON              OH    45320‐9299
LOIS M LARDNER                                   544 DEBONAIRE DR SE                                                                              LOS LUNAS          NM    87031‐6711
LOIS M LAWSON                                    5247 RUSTIC WAY                                                                                  OLD HICKORY        TN    37138‐1339
LOIS M MCGEE                                     1581 GALEN ROAD                                                                                  LAFAYETTE          TN    37083‐5073
LOIS M MERRILL                                   9213 CLIO RD BOX 206                                                                             CLIO               MI    48420‐8556
LOIS M MILLER & RONALD E MILLER JT TEN           2820 KENNELY                                                                                     SAGINAW            MI    48609‐9642
LOIS M MITMAN                                    132 ST CROIX AVE                                                                                 COCOA BCH          FL    32931‐3335
LOIS M MITMAN TR UA 04/12/93 LOIS M MITMAN       132 ST CROIX AVE                                                                                 COCOA BEACH        FL    32931‐3335
FAMILY TRUST
LOIS M MORSE                                     435 UNION AVE                           # 102                                                    LACONIA            NH    03246‐2814
LOIS M PENNELL                                   50041 SR 78                                                                                      CLARINGTON         OH    43915
LOIS M PRESS                                     64 SEYMOUR AVE                          ST CATHARINES ON                       L2P 1A7 CANADA
LOIS M REED                                      1072 SOUTH CHAPEL ST                                                                             NEWARK             DE    19702
LOIS M RETTIG & JAMES H RETTIG JT TEN            1825 ESSEX AVE                                                                                   LINDEN             NJ    07036‐1413
LOIS M RICCI                                     4415 DOVER CT #503                                                                               NAPLES             FL    34105‐6635
LOIS M RUSSELL                                   46 OLD CLOSE RD                                                                                  POTSDAM            NY    13676‐3258
LOIS M RYAN                                      PO BOX 74                                                                                        HACKBERRY          AZ    86411‐0074
LOIS M SCOTT                                     31957 RIDGEVIEW CIRCLE                                                                           POLSON             MT    59860‐7566
LOIS M SCOTT TR UA 06/13/89 LOIS M SCOTT TRUST   141 BALSAM APT 12                                                                                PETOSKEY           MI    49770‐2448

LOIS M SHUNK                                     118 RUE JEAN TALON                      SHERBROOKE QC                          J1G 3B2 CANADA
LOIS M SHUNK                                     118 RUE JEAN TALON                      SHERBROOKEE QC                         J1G 3B2 CANADA
LOIS M SPRATT CUST GRACE C MODDE UNDER MO MO     10038 BELLE FONTAINE ROAD                                                                        SAINT LOUIS        MO    63137‐1936
TRANSFERS TO MONORS LAW
LOIS M STEEDE                                    1142 FAIRWAY DRIVE                      PO BOX 477                                               LINDEN             MI    48451‐0477
LOIS M STONE                                     1377 BANNISTER HOLLOW RD                                                                         CLIMAX SPRING      MO    65324‐2800
LOIS M STORCH                                    RD 3 BOX 144                                                                                     WHEELING           WV    26003‐9406
LOIS M WALZ                                      3741 NORTH OAKLAND ST                                                                            ARLINGTON          VA    22207‐4838
LOIS M WILSON                                    686 LARSON CRT                                                                                   ROSCOMMON          MI    48653‐9780
LOIS M ZIMMERMAN                                 5379 SUMMIT RD                                                                                   LYNDHURST          OH    44124‐2815
LOIS MABEUS                                      197 W FLINT ST                                                                                   LAKE ORION         MI    48362‐3033
LOIS MAE BALLARD & GEORGE W BALLARD JT TEN       935 SUNSET DRIVE                                                                                 VERMILLION         SD    57069‐3335
LOIS MAE SMITH                                   3257 MORRISH                                                                                     SWARTZ CREEK       MI    48473
LOIS MARES                                       117 MANZANITA                                                                                    S SAN FRANCISCO    CA    94080‐4505
LOIS MARGARET REYNOLDS HOUGHTON                  7685 TROUT RD                                                                                    LAKE TOMAHAWK      WI    54539‐9477
LOIS MARIE HOMEWOOD                              10711 FALLS POINT DRIVE                                                                          GREAT FALLS        VA    22066
LOIS MARR                                        7782 OSAGE                                                                                       DENVER             CO    80221‐3451
LOIS MARY BROWN                                  6884 TANGLE WOOD                                                                                 WATERFORD          MI    48327‐3515
LOIS MARY DIEHL                                  23 LEXINGTON AVE                                                                                 CAMBRIDGE          MA    02138‐3318
LOIS MATICHAK                                    508 BALTIMORE STREET                                                                             PHILLIPSBURG       NJ    08865‐1846
LOIS MCCRAVEY                                    5501 DEMARET AVENUE                                                                              BAKERSFIELD        CA    93309‐2525
LOIS MERKLE TR UA 02/18/05 MERKLE LIVING TRUST   12036 SCHONBORN PLACE                                                                            CLIO               MI    48420

LOIS MONCIER                                     282 SWAN CT                                                                                      WHITE LAKE         MI    48386‐1992
LOIS MYRUSKI                                     7 RIDGEWAY                                                                                       GOSHEN             NY    10924‐1407
LOIS N BRUST & ROBERT P BRUST JT TEN             9100 BELVOIR WOOD PRKWAY                APT# 209                                                 FORTBELVOIR        VA    22760
LOIS N COX                                       20 CHERRY TREE LN                                                                                AVON               CT    06001‐4333
LOIS NAYLOR BERL                                 1709 NORTH UNION STREET                                                                          WILMINGTON         DE    19806‐2501
LOIS O MACKEY                                    115 KENWOOD RD                                                                                   CHAMBERSBURG       PA    17201
LOIS OWENS IRVIN                                 4219 9TH ST EB                                                                                   ST SIMONS ISLAND   GA    31522‐3302

LOIS P BRUCE                                     C/O MELODY LOIS BRUCE WHITE             8796 SE ALABAMA PL                                       HOBE SOUND         FL    33455‐4304
LOIS P GOACHER                                   2909 W CROSS ST                                                                                  ANDERSON           IN    46011‐8754
LOIS P HARNER & HARN W HARNER JT TEN             4103 EASTVEIW DR                                                                                 WILMINGTON         DE    19802‐1759
LOIS P HARRISON                                  3535 WESTPHALIA RD                                                                               MATTITUCK          NY    11952‐2527
LOIS P HAWKS                                     3521 EVANGELINE ST                                                                               NORFOLK            VA    23502‐3106
                                             09-50026-mg                  Doc 7123-46    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 4 of 8 Pg 855 of 855
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

LOIS P WALKER                                      515 LANTZ AVE                                                                                  SALISBURY         NC    28144‐2331
LOIS PADGETT VANDYKE                               202 BURLEIGH CT                                                                                LOUISVILLE        KY    40245‐4105
LOIS PLUMMER                                       8270 NECTAR DR                        APT 763                                                  CANTON            MI    48187‐4189
LOIS POWELL & MARK POWELL SR JT TEN                5152 MUNHALL ST                                                                                PT CHARLOTTE      FL    33981‐1675
LOIS PROSSER                                       1741 MIDWAY PL                        APT F                                                    MENASHA           WI    54952‐3721
LOIS R ANGELUS & RICHARD N ANGELUS JT TEN          104 WARWICK TURNPIKE                                                                           WARWICK           NY    10990‐3918
LOIS R BOECKELMAN                                  808 MONROE                                                                                     OREGON            IL    61061‐1118
LOIS R COX                                         1324 WOODSIDE DR                                                                               ANDERSON          IN    46011‐2464
LOIS R DORNFELD TR UA 01/19/2008 LOIS R DORNFELD   29684 ARBUTUS DR                                                                               DANBURY           WI    54830
REVOCABLE TRUST
LOIS R GARVIN                                      8753 S 425 W                                                                                   KNIGHTSTOWN      IN     46148
LOIS R GILBERT                                     2 RAMSEY CT                                                                                    MOUNT LAUREL     NJ     08054‐4954
LOIS R GREENE                                      4180 ENGLAND BEACH                                                                             WHITE LAKE       MI     48383‐1719
LOIS R HALEY                                       1233 MILAN AVE                                                                                 PITTSBURGH       PA     15226‐1831
LOIS R LANGE & SUSAN R HARKINS JT TEN              4446 MARYWOOD DR                                                                               MONROEVILLE      PA     15146‐1326
LOIS R MAYNARD                                     8855 FULTON                                                                                    DETROIT          MI     48209‐2661
LOIS R PFEIFFER                                    2024 ARKANSAS VALLEY DR               STE 301                                                  LITTLE ROCK      AR     72212
LOIS R RISSER                                      600 HIGHLAWN AVE                                                                               ELIZABETHTOWN    PA     17022‐1307
LOIS R ROSS                                        406 HENRY ST                                                                                   GREENSBURG       KY     42743‐1216
LOIS R SIMS                                        2231 RIDGEMOOR COURT                                                                           BURTON           MI     48509‐1391
LOIS R SMITH & WILFORD C SMITH JT TEN              36002 CADRE                                                                                    CLINTON TOWNSHIP MI     48035‐2907

LOIS R TIMMER                                      2108 COLLINGWOOD SW                                                                            WYOMING           MI    49509‐1646
LOIS RAND                                          6820 W 84TH CI 20W                                                                             ARVADA            CO    80003‐1137
LOIS REITZ                                         11430 ARROW POINT DRIVE               BAIN BRIDGE ISLAND                                       BAINBRIDGE IS     WA    98110
LOIS RINI                                          22101 E 13 MILE RD                                                                             ST CLR SHORES     MI    48082‐2402
LOIS ROBINSON                                      820 TAYLOR AVE                                                                                 SCRANTON          PA    18510‐1324
LOIS RUSSELL SCHRADER                              3200 BENSALEM BLVD APT L102                                                                    BENSALEM          PA    19020‐1953
LOIS S BENTON                                      3314 SANDWOOD WAY                                                                              MADISON           WI    53713‐3476
LOIS S COOK                                        1708 JACKSON TERRACE                                                                           JOHNSON CITY      TN    37604‐7629
LOIS S DAVIS                                       652 S RIPPLE CREEK DR                                                                          HOUSTON           TX    77057‐1075
LOIS S DEVER                                       5870 WEST HOMESTEAD DR                                                                         FRANKTON          IN    46044‐9481
LOIS S HAM                                         1790 OLD BASE RD                                                                               RHOME             TX    76078‐5267
LOIS S HARVEY                                      3688 LOMOND CT                                                                                 APOPKA            FL    32712‐5697
LOIS S KAUFMAN                                     154 N BELLFIELD APT 64                                                                         PITTSBURGH        PA    15213‐2648
LOIS S LITZOW                                      4001 19TH AVE NW                                                                               ROCHESTER         MN    55901‐4505
LOIS S MATTHEWS & FRED W MATTHEWS JT TEN           9524 E LONG LAKE RD                                                                            HARRISON          MI    48625‐9669
LOIS S MCCANN                                      630‐C CHURCHILL AVE                                                                            COLUMBUS          OH    43214‐1967
LOIS S MUSTERER TR UA 11/16/2007 LOIS S MUSTERER   4601 KETTERING DR                                                                              ROSWELL           GA    30075
LIVING TRUST
LOIS S OWEN TR LOIS S OWEN TRUST UA 08/29/94       310 S MICHIGAN AVE                    UNIT 1413                                                CHICAGO           IL    60604‐4204

LOIS S PATTERSON                                   235 CHARLESTON DR                                                                              WILMINGTON        DE    19808‐4358
LOIS S POLAKOFF                                    12 RIPPLING BROOK DR                                                                           SHORT HILLS       NJ    07078‐1327
LOIS S POTTER                                      4927 PARKMAN NW                                                                                WARREN            OH    44481‐9144
LOIS S RAINWATER                                   2144 STONYVALE RD                                                                              TUJUNGA           CA    91042‐1018
LOIS S RIGGLE                                      100 WESTVIEW AVE                                                                               HUBBARD           OH    44425‐1961
LOIS S SMITH                                       2166 W ROYALTON RD                                                                             BROADVIEW         OH    44147‐2476
                                                                                                                                                  HEIGHTS
LOIS SAGMEISTER                                    3035 SHADOW LN                                                                                 OSHKOSH           WI    54901‐1437
LOIS SAYLES                                        895 HENDERSON                                                                                  WATERFORD         MI    48328‐2511
LOIS SCHULER                                       1404 GAIL AVE                                                                                  ALBANY            GA    31707‐2611
LOIS SELIGER & MARVIN G SELIGER JT TEN             430 DEERPATH DR                                                                                SCHERNVILLE       IN    46375‐2500
LOIS SPEIGHT & JOHN O SPEIGHT JR JT TEN            1724 S LAKESIDE CT                                                                             VENICE            FL    34293‐1928
LOIS STATZER                                       29 FRANKLIN ST                                                                                 NORWALK           OH    44857‐1718
LOIS STRICKER                                      10215 STUCKI RD                                                                                ELBERTA           AL    36530
LOIS SUCHOMSKI                                     45 INVERNESS RD                                                                                SPRINGFIELD       IL    62704‐3110
LOIS T COPELAND                                    18 HILLSIDE DR                                                                                 CLIFTON SPRINGS   NY    14432‐9371
